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Name                             Address1                         Address2                        Address3               Address4             City               State Zip
NUTTER, DONALD R                 12301 OAKRIDGE                                                                                               PLAINWELL           MI 49080
NUTTER, ELVA M                   6020 JENNAGATE LANE                                                                                          HUBER HEIGHTS       OH 45424‐6428
NUTTER, HERBERT                  2918 BAILEY AVE                                                                                              LINCOLN PARK        MI 48146
NUTTER, JAMES E                  10753 AMITY RD                                                                                               BROOKVILLE          OH 45309‐9322
NUTTER, JAMES R                  544 N 11TH ST                                                                                                POPLAR BLUFF        MO 63901‐4827
NUTTER, JIMMY W                  408 EARLY DR E                                                                                               MIAMISBURG          OH 45342‐3302
NUTTER, JOAN                     272 E MAIN ST                                                                                                NORWALK             OH 44857‐1653
NUTTER, JOEL E                   3012 BRADLEY RD                                                                                              WESTLAKE            OH 44145‐1713
NUTTER, KENNETH D                278 E MAIN ST                                                                                                NORWALK             OH 44857‐1652
NUTTER, MARY P                   8425 COUNTRY VIEW LN                                                                                         PLAIN CITY          OH 43064‐8401
NUTTER, MERNA E                  3313 FRANCES LN                                                                                              KOKOMO              IN 46902‐9709
NUTTER, NEAL A                   5745 GATEWAY LN                                                                                              BROOK PARK          OH 44142‐2053
NUTTER, NICOLE R                 7409 BERGERAC CT APT A                                                                                       CENTERVILLE         OH 45459‐5387
NUTTER, RALPH E                  MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                                               PITTSBURGH          PA 15219
                                                                  SUITE 500
NUTTER, RALPH E                  THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD         SUITE 44                                    CORAL GABLES       FL   33146
NUTTER, RENATE L                 6465 ROCKY BLUFF PT APT 102                                                                                  COLORADO SPRINGS   CO   80918‐6268
NUTTER, RENATE L                 6465 ROCKY BLUFF POINT           APT 102                                                                     COLORADO SPRINGS   CO   80918‐0918
NUTTER, ROBERT E                 1931 SOUTHERN BLVD NW APT 2      PARK PLAZA APTS                                                             WARREN             OH   44485‐1632
NUTTER, ROY L                    1060 FORMAN RD                                                                                               AUSTINBURG         OH   44010‐9727
NUTTER, SHIRLEY A                1060 FORMAN RD                                                                                               AUSTINBURG         OH   44010‐9727
NUTTER, TIMOTHY E                3324 CANTERBURY DR                                                                                           BAY CITY           MI   48706
NUTTER, WILLIAM F                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
NUTTER, WILLIAM F                109 LLANGOLLEN BLVD                                                                                          NEW CASTLE         DE 19720‐4709
NUTTIN DUFRESNE CHRISTINE        157 AVENUE DE LA LANTERNE                                                               06200 NICE FRANCE
NUTTIN DUFRESNE CHRISTINE        157 AVENUE DE LA LANTERNE
NUTTING, PATRICIA L              29759 ROBERT DRIVE                                                                                           LIVONIA            MI   48150‐3082
NUTTING, THOMAS C                365 CHILTERN DR                                                                                              LAKE FOREST        IL   60045‐2059
NUTTLE, ARTHUR E                 5 ROCKRIDGE CT                                                                                               FENTON             MI   48430‐8772
NUTTLE, BRIAN C                  6914 MARATHON RD                                                                                             FOSTORIA           MI   48435‐9630
NUTTLE, CLARENCE O               709 LA GRANGE AVE                                                                                            PORT ORANGE        FL   32129‐3620
NUTTLE, CLARENCE O               709 LA‐GRANGE                                                                                                PORT ORANGE        FL   32119‐3620
NUTTLE, RHEA A                   4468 62ND AVE                                                                                                BLANCHARD          MI   49310‐9418
NUTZKI, MARILYN J                316 W PARISH ST                                                                                              SANDUSKY           OH   44870‐4848
NUUSOLIA MAAE                    6331 INDIANA AVE                                                                                             LONG BEACH         CA   90805‐3826
NUVELL (SATURN)                  1225 W WASHINGTON ST STE 400                                                                                 TEMPE              AZ   85281‐1240
NUVELL CREDIT CO LLC             17500 CHENAL PKWY                                                                                            LITTLE ROCK        AR   72223‐9131
NUVELL CREDIT COMPANY, LLC       GENERAL COUNSEL                  17500 CHENAL PKWY                                                           LITTLE ROCK        AR   72223‐9131
NUVELL FINANCIAL SERVICES CORP   FIRST TENNESSEE BANK             17500 CHENAL PKWY               ARKSYS PLAZA STE 200                        LITTLE ROCK        AR   72223‐9131
NUVEMAN JARED                    419 MILL POND DR                                                                                             FENTON             MI   48430‐2335
NUVEMAN, JAMES R                 5056 COLBY RD                                                                                                OWOSSO             MI   48867‐9715
NUVEMAN, JARED H                 419 MILL POND DR                                                                                             FENTON             MI   48430‐2335
NUVEMAN, JUSTIN T                5056 COLBY RD                                                                                                OWOSSO             MI   48867‐9715
NUVERA FUEL CELLS                135 ACOM PARK                                                                                                CAMBRIDGE          MA   02140
NUVERA FUEL CELLS, INC.          ROBERTO CORDARO, PRESIDENT AND   129 CONCORD RD BLDG 1                                                       BILLERICA          MA   01821‐4600
                                 CHIEF EXECUTIVE OFFICER
NUVISION TECHNOLOGIES INC        21477 BRIDGE ST STE E                                                                                        SOUTHFIELD         MI 48033‐4079
NUWANDA S JONES                  641 YALE AVE                                                                                                 DAYTON             OH 45407
NUWAY CONCESSIONAIRES
NUXHALL, DONALD L                4496 TRENTON OXFORD RD                                                                                       HAMILTON           OH 45011‐9616
NUXHALL, STEPHEN M               101 GILLESPIE DR APT 13204                                                                                   FRANKLIN           TN 37067‐7557
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Name                                Address1                         Address2                         Address3      Address4               City             State Zip
NUXHALL, STEPHEN M                  876 E BENJAMIN DR                                                                                      FRANKLIN          TN 37067‐5648
NUZUM, JEFFREY A                    5646 GLASGOW RD                                                                                        SYLVANIA          OH 43560‐1404
NUZUM, JEFFREY ALAN                 5646 GLASGOW RD                                                                                        SYLVANIA          OH 43560‐1404
NUZZI, ALBERT G                     735 BATTLES AVE                                                                                        NILES             OH 44446‐1305
NUZZI, FIO J                        8464 OLD ORCHIRD RD SE                                                                                 WARREN            OH 44484‐4484
NUZZI, JOSEPH B                     1338 PHEASANT CT                                                                                       BOARDMAN          OH 44512‐4095
NUZZIE, KATHERINE T                 641 ANGILINE DR                                                                                        BOARDMAN          OH 44512‐6569
NUZZO, MICHAEL M                    119 FELIX ST                                                                                           GEORGETOWN        KY 40324‐8010
NUZZO, MICHAEL M                    119 FELIX STREET                                                                                       GEORGETOWN        KY 40324‐8010
NUZZO, RICHARD                      112 LEONARD DR                                                                                         SYRACUSE          NY 13209‐1806
NUZZOLILO, ROSE M                   APT 4                            2804 KENDRICK AVENUE                                                  CHARLOTTE         NC 28269‐4488
NV BUGA ANTWERPEN                   HARINGRODESTRAAT 21                                                             ANTWERPEN 2018
NV ENERGY                           PO BOX 10100                     6100 NEIL RD                                                          RENO             NV    89520
NV ENERGY USA                       PO BOX 10100                     6100 NEIL RD RENO                                                     RENO             NV    89520‐0024
NVG                                 418B CLOVERLEAF DR                                                                                     BALDWIN PARK     CA    91706‐6511
NVHG HOTEL OPERATOR LLC             HAWKS CAY RESORT                 61 HAWKS CAY BLVD                                                     DUCK KEY         FL    33050
NVMS LLC                            100 BLUEGRASS COMMONS                                                                                  HENDERSONVILLE   TN    37075
NVP ASSOCIATES INC                  UNIVERSAL ELECTRONIC SUPPLY CO   127‐129 S WHITE HORSE PIKE                                            AUDUBON          NJ    08106
NVR, INC.                           KEVIN BARRY                      11700 PLAZA AMERICA DR STE 500                                        RESTON           VA    20190‐4792

NW DALLAS FCD                       SONJA DODDS/ASSESSOR/COLLECTOR   820 S. MACARTHUR SUITE 105‐391                                        COPPELL           TX   75019

NW HARRIS COUNTY MUD #19            PO BOX 73109                                                                                           HOUSTON          TX    77273‐3109
NW HARRIS COUNTY MUD 29             6935 BARNEY RD STE 110                                                                                 HOUSTON          TX    77092‐4443
NW HITECH                           TECHONOLOBY SOLUTIONS            9978 SE BRANDEIS ST                                                   CLACKAMAS        OR    97015‐9192
NW NATURAL GAS COMPANY              STEVEN COLE                      7100 MCEWAN RD                                                        LAKE OSWEGO      OR    97035‐7838
NW NATURAL GAS/TRANS SECT           7100 MCEWAN RD                                                                                         LAKE OSWEGO      OR    97035‐7838
NW NATURAL GAS/TRANS SECT           220 NW 2ND AVE                                                                                         PORTLAND         OR    97209‐3942
NW OHIO FIREMEN ASSOC               450 N STADIUM RD                                                                                       OREGON           OH    43616‐1402
NW OHIO KOMEN FOR THE CURE          3100 W CENTRAL AVENUE 2ND FLR                                                                          TOLEDO           OH    43606
NW PATHOLOGY CONSULT                PO BOX 55114                                                                                           DETROIT          MI    48255‐01
NWABUGWU, MARIA                     688 TAUNTON PL                                                                                         BUFFALO          NY    14214‐1024
NWACHUKWU, GERALD I                 UNIT 102                         3119 WISTERIA LANE                                                    FAYETTEVILLE     NC    28314‐7104
NWEKWO, KANAYO P                    1903 RIVER RUN TRL                                                                                     FORT WAYNE       IN    46825‐6042
NY CITY POLICE DEPT
NY CITY SHERIFF OFFICE              31 CHAMBERS ST                                                                                         NEW YORK         NY 10007
NY DEPT OF TAX AND FINANCE          ACCT OF OLLIE V ANDERSON         STATE CAMP TAX FINANCE #8‐438                                         ALBANY           NY 12227‐0001

NY DEPT OF TAXATION & FINANCE ‐ NYSD ACCT OF GEORGE BUSBY            PO BOX 5149                      INC EXEC ID   TAX COM DIV CO ATC     ALBANY           NY 12227‐0001
149
NY DEPT OF TRANSPORTATION                                            4717 SOUTHWESTERN BLVD                                                                 NY 14075
NY INTERCONNECT                      PO BOX 19252                                                                                          NEWARK           NJ 07195‐0252
NY ROCHESTER ‐ LEE RD PLANT ‐ TAX &  NO ADVERSE PARTY
ZONING DISPUTES
NY STATE DEPARTMENT OF TAXATION AND STATE CAMP TAX FINANCE #8‐438                                                                          ALBANY           NY 12227‐0001
FINANCE
NY STATE DEPT OF ENVIRONMENTAL       CONSERVATION ATTN JACK MCKEON   50 WOLF RD RM 260A                                                    ALBANY           NY    12233‐0001
NY STATE POLICE TROOP A              4525 W SAILE DR                                                                                       BATAVIA          NY    14020‐1046
NY STATE POLICE TROOP B              1097 ROUTE 86                                                                                         RAY BROOK        NY    12977
NY STATE POLICE TROOP C              823 STATE ROUTE 7                                                                                     SIDNEY           NY    13838
NY STATE POLICE TROOP D              PO BOX 30                                                                                             ONEIDA           NY    13421‐0030
NY STATE POLICE TROOP E              1569 ROCHESTER RD                                                                                     CANANDAIGUA      NY    14425
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Name                                Address1                         Address2                     Address3   Address4         City               State Zip
NY STATE POLICE TROOP F             55 CRYSTAL RUN RD                                                                         MIDDLETOWN          NY 10941‐4039
NY STATE POLICE TROOP G             504 LOUDON RD                                                                             LOUDONVILLE         NY 12211‐1448
NY STATE POLICE TROOP H             1220 WASHINGTON AVENUE BLDG 18                                                            ALBANY              NY 12226
NY STATE POLICE TROOP K             2541 ROUTE 44                                                                             SALT POINT          NY 12578‐8004
NY STATE POLICE TROOP L             STATE CAMPUS BLDG 22                                                                      ALBANY              NY 12226
NY STATE POLICE TROOP L             7140 REPUBLIC AIRPORT                                                                     FARMINGDALE         NY 11735‐3930
NY&NJ PORT AUTHORITY                                                 777 JERSEY AVE                                                               NJ 07310
NYA KELLER                          19457 HELEN STREET                                                                        DETROIT             MI 48234‐3080
NYACK COLLEGE SCHOOL OF ADULT AND   1 S BOULEVARD                    STUDENT FINANCIAL SERVICES                               NYACK               NY 10960‐3604
CONTINUING EDUCATION
NYACK HOSPITAL FOUNDATION           160 N MIDLAND AVE                                                                         NYACK              NY   10960‐1912
NYAKAIRU, VINCENT K                 31057 LAKEVIEW BLVD APT 6108                                                              WIXOM              MI   48393
NYAKO, DONALD                       16870 HEADLAND AVENUE                                                                     LAKE MILTON        OH   44429‐9617
NYAKO, GREGORY J                    4940 WOODROW AVENUE NORTHWEST                                                             WARREN             OH   44483‐1360

NYAKO, JEFFREY A                    415 PINEVIEW DR NE 415                                                                    WARREN             OH   44484
NYAKO, JILL R                       1904 BONNIE BRAE AVE NORTHEAST                                                            WARREN             OH   44483‐3516
NYAKO, ROBERT                       4940 WOODROW AVE NW                                                                       WARREN             OH   44483‐1360
NYAL BROWN                          405 HILER RD                                                                              COLUMBUS           OH   43228‐2218
NYALKA, FLORA M                     4538 ALDERWOOD DRIVE                                                                      CANFIELD           OH   44406‐9202
NYAMADI‐AMABLE, COMFORT             47432 GLENGARRY BLVD                                                                      CANTON             MI   48188‐6272
NYAMEKYE ANDREW                     731 CONCORD ST                                                                            FRAMINGHAM         MA   01702‐6085
NYARADY, ANNA J                     200 DASHVIEW DR APT E23                                                                   SUFFERN            NY   10901
NYARKO, HENRY                       12012 234TH ST                                                                            CAMBRIA HEIGHTS    NY   11411‐2318
NYARKO‐ALLOTEY, ERNEST              929 DESOTO AVE                                                                            YPSILANTI          MI   48198‐6174
NYASHA WELLS                        6262 ROHNS ST                                                                             DETROIT            MI   48213‐2655
NYBAKKEN, TRUMAN                    467 KINGS WAY                                                                             GOLETA             CA   93117‐2101
NYBERG ASSOCIATES INC               HOLLINGSWORTH DIV                6020 BURNHAM CT                                          BLOOMFIELD HILLS   MI   48302‐4022
NYBERG FLETCHER INC                 6020 BURNHAM CT                                                                           BLOOMFIELD HILLS   MI   48302‐4022
NYBERG LISA                         NYBERG, LISA                     5901 CEDAR LAKE RD S                                     MINNEAPOLIS        MN   55416‐1488
NYBERG, ED C                        22120 DICKINSON RD                                                                        NEW BOSTON         MI   48164‐9455
NYBERG, EDWIN O                     16309 WHITEHEAD DR                                                                        LINDEN             MI   48451‐8775
NYBERG, GLEN A                      2040 MEMORY LN                                                                            SILVER CITY        NM   88061
NYBERG, ROXY A                      16309 WHITEHEAD DR                                                                        LINDEN             MI   48451‐8775
NYBERG, WILLIAM A                   135 SPRING VALLEY DR                                                                      ANDERSON           IN   46011‐1926
NYBOER CHARLES A                    284 ROSARIO LN                                                                            WHITE LAKE         MI   48386‐3464
NYBOER, CHARLES A                   284 ROSARIO LN                                                                            WHITE LAKE         MI   48386‐3464
NYBOER, CHERYL C                    284 ROSARIO LN                                                                            WHITE LAKE         MI   48386‐3464
NYBOER, JOHN A                      4848 PARTRIDGE PL                                                                         CHIPLEY            FL   32428‐5625
NYBOER, VICTORIA L                  1128 SANDRA DR                                                                            ANDERSON           IN   46013‐1341
NYBOER, VICTORIA LYNN               1128 SANDRA DR                                                                            ANDERSON           IN   46013‐1341
NYBOER, VINCENT N                   1023 ROLLING BARREL RD                                                                    PENDLETON          IN   46064‐9136
NYBOER, WILLIAM M                   408 E 37TH ST                                                                             ANDERSON           IN   46013‐4642
NYBORG, ARLIN O                     1802 CENTER AVE                                                                           BRODHEAD           WI   53520
NYBORG, DAVID A                     136 1ST AVE                                                                               RED LION           PA   17356
NYBORG, DAVID ALLEN                 136 1ST AVE                                                                               RED LION           PA   17356
NYBORG, GARY L                      9815 CHESAPEAKE PT                                                                        FORT WAYNE         IN   46819‐2654
NYBORG, GEORGE E                    1922 MUNSEY DR                                                                            FOREST HILL        MD   21050‐2746
NYBORG, HUGO J                      104 STONE HARBOR CT                                                                       JOPPA              MD   21085‐4537
NYBORG, KENNETH O                   1624 E 950 N                                                                              OSSIAN             IN   46777‐9344
NYBORG, LESTER M                    1927 HANCOCK LN                                                                           JANESVILLE         WI   53545‐0911
NYBORG, WHITNEY L                   9815 CHESAPEAKE PT                                                                        FORT WAYNE         IN   46819‐2654
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Name                               Address1                               Address2                      Address3                Address4             City             State Zip
NYC DENT WERKS                     PO BOX 1455                                                                                                       YNKERS            NY 10704
NYC DEPARTMENT OF FINANCE          RED LIGHT CAMERA MONTORING             PO BOX 3674                   CHURCH STREET STATION                        NEW YORK          NY 10008‐3674
NYC DEPARTMENT OF FINANCE          PO BOX 92                                                                                                         NEW YORK          NY 10008‐0092
NYC DEPARTMENT OF FINANCE PARKING PO BOX 2023                             PECK SLIP STATION                                                          NEW YORK          NY 10272‐2023
VIOLATIONS
NYC DEPARTMENT OF FINANCE PARKING PO BOX 3600                             CHURCH STREET STATION                                                      NEW YORK         NY 10008‐3600
VIOLATIONS OPERATIONS
NYC DEPT OF ENVIRONMENTAL          5601 55TH AVE                                                                                                     MASPETH          NY 11378‐1104
PROTECTION
NYC DEPT OF FINANCE
NYC DEPT OF FINANCE PARKING        CITY OF NEW YORK, DEPT OF FINANCE      59 MAIDEN LANE, 28TH FL                                                    NEW YORK         NY 10038
VIOLATIONS
NYC DEPT. OF FINANCE               PO BOX 5150                                                                                                       KINGSTON         NY 12402‐5150
NYC FIRE DEPARTMENT                CHURCH STREET STATION                  PO BOX 840                                                                 NEW YORK         NY 10008‐0840
NYC FIRE DEPARTMENT CHURCH STREET  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 840                                                                 NEW YORK         NY 10008‐0840
STATION
NYC INDUSTRIAL DEVELOPMENT AGENCY 2ND AVENUE AND 127TH STREET                                                                                        NEW YORK         NY 10019
(HARLEM AUTOMALL)
NYC METRO SPORTS INC               TEAM REGISTRATION‐SPR LEAGUE           4027 218TH ST                                                              BAYSIDE          NY    11361‐2333
NYC TRANSIT AUTHORITY              750 ZEREGA AVE                                                                                                    BRONX            NY    10473
NYC WATER BOARD                    PO BOX 410                             CHURCH STREET STATION                                                      NEW YORK         NY    10008‐0410
NYCE JOSEPHINE ANNA (630853)       PAUL REICH & MYERS P.C.                1608 WALNUT ST STE 500                                                     PHILADELPHIA     PA    19103‐5446
NYCE, DEBORAH A                    110 BUCKTOWN XING                                                                                                 POTTSTOWN        PA    19465‐7760
NYCEK, THOMAS A                    6700 STURBRIDGE LN                                                                                                CANTON           MI    48187‐2641
NYCEK, THOMAS ALLEN                6700 STURBRIDGE LN                                                                                                CANTON           MI    48187‐2641
NYCH, CHARLENE R                   18 OLD BEDFORD RD                                                                                                 WEST MIDDLESEX   PA    16159‐3516
NYCH, JOHN M                       3227 BETHEL N WILMINGTON RD                                                                                       NEW WILMINGTON   PA    16142
NYCH, JOHN MICHAEL                 3227 BETHEL N WILMINGTON RD                                                                                       NEW WILMINGTON   PA    16142
NYCH, NATHAN A                     18 OLD BEDFORD RD                                                                                                 WEST MIDDLESEX   PA    16159‐3516
NYCHOLE BIBENS                     620 EUGENE ST                                                                                                     YPSILANTI        MI    48198‐8034
NYCUM PATRICK                      NO 5 LANE 32 SONGCUEI RD               #5, LANE 32 SONGCUEI RD.      BOASHAN TOWNSHIP        TAIWAN 30844 CHINA
NYCUM, FREDERICK J                 137 HARMONY CREST DR                                                                                              NEWARK           DE    19713‐1989
NYCUM, JERRY A                     2613 HENN HYDE RD NE                                                                                              WARREN           OH    44484‐1250
NYCUM, PATRICK M                   PO BOX 803338                                                                                                     CHICAGO          IL    60680
NYCZ, LAWRENCE J                   W329S10080 WESTPOINTE DR                                                                                          MUKWONAGO        WI    53149‐9564
NYDA WELSH                         511 SELLRUS CT                                                                                                    FALLSTON         MD    21047‐2409
NYDAHL, DORIS M                    5408 FORT PIERCE BLVD                                                                                             FORT PIERCE      FL    34951‐1963
NYDAM, EARL R                      10 BURDON ST                                                                                                      WHITINSVILLE     MA    01588‐1602
NYDAM, HENRY                       PO BOX 550                                                                                                        LINWOOD          MA    01525‐0550
NYDEGGER ERNEST G (ESTATE OF)      GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA    23510
(493419)                                                                  STREET, SUITE 600
NYDEGGER PAUL & CHARLOTTE NYDEGGER ICO THE LANIER LAW FIRM PC             6810 FM 1960 WEST                                                          HOUSTON           TX   77069

NYDEGGER PAUL (635411)              LANIER LAW FIRM                      6810 FM 1960 WEST SUITE 1550                                                HOUSTON          TX 77069
NYDEGGER, ERNEST G                  GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA 23510‐2212
                                                                         STREET, SUITE 600
NYDEGGER, PAUL                      LANIER LAW FIRM                      6810 FM 1960 WEST SUITE 1550                                                HOUSTON          TX    77069
NYDIA CORREA                        35051 DRAKESHIRE LN                  APT 101                                                                     FARMINGTN HLS    MI    48335‐3222
NYDICK SCOTT                        4 STOCKTON DR                                                                                                    CRANBURY         NJ    08512‐3106
NYE CATHERINE A                     NYE, CATHERINE A                     30 E BUTLER AVE                                                             AMBLER           PA    19002‐4514
NYE FORD INC.                       WILLIAM NYE                          1421 GENESEE ST                                                             ONEIDA           NY    13421‐2728
NYE LUBRICANTS INC                  12 HOWLAND RD                                                                                                    FAIRHAVEN        MA    02719
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Name                                 Address1                     Address2                Address3       Address4         City               State Zip
NYE PONTIAC‐GMC                      WILLIAM NYE                  1421 GENESEE ST                                         ONEIDA              NY 13421‐2728
NYE PONTIAC‐GMC                      1421 GENESEE ST                                                                      ONEIDA              NY 13421‐2728
NYE PONTIAC‐GMC/UNITED AUTO SUPPLY   1479 GENESEE ST                                                                      ONEIDA              NY 13421‐2728
(UAS)
NYE VERA P                           1700 BAYVIEW DR APT 2013                                                             FORT WAYNE         IN   46815
NYE'S AUTOMOTIVE                     3701 E MCGALLIARD RD                                                                 MUNCIE             IN   47303‐1536
NYE, BERTHA A                        4165 WEISS ST                                                                        SAGINAW            MI   48603‐4145
NYE, BLAKE B                         4310 CURRY DR                                                                        STERLING HEIGHTS   MI   48314‐3924
NYE, BONNIE L.                       6515 TIPPECANOE RD STE B     C/O SKY TRUST                                           CANFIELD           OH   44406‐9129
NYE, BRADFORD                        515 WILDBERRY CT                                                                     SAN ANTONIO        TX   78258‐2519
NYE, CATHERINE A                     KIMMEL & SILVERMAN           30 E BUTLER AVE                                         AMBLER             PA   19002‐4514
NYE, DALE D                          6891 N PARK AVE                                                                      BRISTOLVILLE       OH   44402‐9759
NYE, DELPHYNE M                      52811 MOUND RD               C/O BARBARA CHURCHILL                                   SHELBY TWP         MI   48316‐3264
NYE, DONALD D                        11870 E GRAND RIVER AVE                                                              PORTLAND           MI   48875‐8443
NYE, DONALD DAVID                    11870 E GRAND RIVER AVE                                                              PORTLAND           MI   48875‐8443
NYE, DONALD W                        153 N MECCA ST                                                                       CORTLAND           OH   44410‐1036
NYE, DOYLE D                         6559 W BROADWAY                                                                      LAKE CITY          MI   49651‐8523
NYE, GARNET E                        2412 WICKHAM RD                                                                      KERNERSVILLE       NC   27284‐4353
NYE, GARNET E                        2412 WICKHAM ROAD                                                                    KERNERSVILLE       NC   27284‐4353
NYE, GARY L                          53152 SPRINGHILL MEADOWS                                                             MACOMB TWP         MI   48042
NYE, GERALD D                        1238 W BLAIR PIKE RD                                                                 PERU               IN   46970‐8031
NYE, GERALD DEAN                     1238 W BLAIR PIKE RD                                                                 PERU               IN   46970‐8031
NYE, GREGORY H                       5757 FARAGHER RD                                                                     OVID               MI   48866‐9620
NYE, HERBERT E                       715 JODY LN                                                                          HOFFMAN EST        IL   60169‐2709
NYE, IRENE N                         37342 DERBYSHIRE                                                                     ZEPHYRHILLS        FL   33542‐7961
NYE, LA VON E                        PO BOX 1145                                                                          KENOSHA            WI   53141‐1145
NYE, MARCELLA M                      256 DELLWOOD DR                                                                      FAIRBORN           OH   45324‐4225
NYE, MARGARET A                      PO BOX 923                                                                           WEST BROOKFIELD    MA   01585‐0923
NYE, MARGRET R                       4002 LAMONT DR                                                                       WATERFORD          MI   48329‐2021
NYE, MARLENE D                       133 NORTH MECCA ST                                                                   CORTLAND           OH   44410
NYE, MERVIN E                        3694 GALAXY BLVD                                                                     STERLING HTS       MI   48314‐3184
NYE, NATHAN                          PO BOX 923                                                                           W BROOKFIELD       MA   01585‐0923
NYE, PETER W                         6007 BARKER DR                                                                       WATERFORD          MI   48329‐3101
NYE, RANDALL M                       75 NAUGATUCK WAY APT B                                                               WATERVILLE         OH   43566‐1171
NYE, RICHARD D                       6900 LEFFINGWELL RD                                                                  CANFIELD           OH   44406‐9189
NYE, ROBERT M                        2115 BRINKMAN RD                                                                     QUAKERTOWN         PA   18951‐2033
NYE, ROBERT R                        1147 PARK AVE                                                                        GIRARD             OH   44420‐1804
NYE, ROMAINE O                       2661 SPRING RD                                                                       CARLISLE           PA   17013‐8712
NYE, RONALD E                        2996 MALIBU DR SW                                                                    WARREN             OH   44481‐9242
NYE, ROSEMARY                        GRAYLING HOUSING COMMISION   308 LAWNDALE            APT22                           GRAYLING           MI   49738
NYE, SANDRA K                        5127 OLDE SAYBROOKE RD                                                               GRAND BLANC        MI   48439‐8759
NYE, SHIRLEY M                       2280 KETWOOD PL APT H                                                                KETTERING          OH   45420‐3593
NYE, SHIRLEY M                       2280 H KITWOOD PLACE                                                                 KETTERING          OH   45420‐3593
NYE, SUSAN A                         1009 WOODLAWN PARK DR                                                                FLINT              MI   48503‐2762
NYE, THOMAS E                        6431 OAKBROOK DR                                                                     WHITEHOUSE         OH   43571‐9441
NYE, V R                             1147 PARK AVE                                                                        GIRARD             OH   44420‐1804
NYE, V R                             33 ROYAL PALM CIR                                                                    PORT ORANGE        FL   32127‐5358
NYE, WAYNE C                         193 BRENTWOOD DR                                                                     BRISTOL            CT   06010‐2510
NYE, WILLIAM L                       7559 AMBERWOOD AVE                                                                   CADILLAC           MI   49601‐8797
NYEGARD, RONALD L                    1881 LAKESIDE DR                                                                     MADISON            OH   44057‐2166
NYEHOLT, CHRISTOPHER C               72575 OMO RD                                                                         ARMADA             MI   48005‐3921
NYEHOLT, SARAH A                     72575 OMO RD                                                                         ARMADA             MI   48005‐3921
                                         09-50026-mg              Doc 7123-30    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                                    Address1                          Address2                      Address3         Address4                City              State Zip
NYEMASTER GOODE VOIGTS WEST             HANSELL & O BRIEN                 700 WALNUT ST STE 1600        A PROFESSIONAL                           DES MOINES          IA 50309‐3800
                                                                                                        CORPORATION
NYEN, BERTHOLD                          9790 66TH ST LOT 11                                                                                      PINELLAS PARK     FL    33782‐2800
NYENHUIS CAYLA                          807 SOUTH POPLAR STREET                                                                                  GLASFORD          IL    61533‐8908
NYENHUIS, DOUGLAS J                     582 28TH AVE                                                                                             HUDSONVILLE       MI    49426‐9616
NYENHUIS, WAYNE B                       3873 41ST ST SW                                                                                          GRANDVILLE        MI    49418‐2405
NYESTE, JOHN E                          60 PINE GROVE DR                                                                                         FRANKENMUTH       MI    48734‐1355
NYESTE, MARILYN A                       60 PINE GROVE DR                                                                                         FRANKENMUTH       MI    48734‐1355
NYGAARD DONALD                          820 4TH ST SW                                                                                            BAKER             MT    59313
NYGAARDS AUTO AS                        BARSTOLVEIEN 40                                                                  KRISTIANSAND S. N‐463
                                                                                                                         NORWAY
NYGARD HJALNER E (660921)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                            NORFOLK           VA 23510
                                                                          STREET, SUITE 600
NYGARD, EDWARD W                        11096 DUFFIELD RD                                                                                        MONTROSE          MI 48457‐9401
NYGARD, HJALNER E                       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                            NORFOLK           VA 23510‐2212
                                                                          STREET, SUITE 600
NYGARD, ROBERT D                        35114 UTICA RD                                                                                           CLINTON TWP        MI   48035‐2143
NYGREN SUZANNE                          600 CASA FUERTA LN                                                                                       ST AUGUSTINE       FL   32080‐7107
NYHAN BAMBRICK KINZIE & LOWRY PC        20 N CLARK ST STE 1000                                                                                   CHICAGO            IL   60602‐4195
NYHAN, PFISTER, BAMBRICK & KINZIE, PC   20 N CLARK ST STE 1000                                                                                   CHICAGO            IL   60602‐4195

NYHART, STEVE W                         10831 W 76TH ST                                                                                          SHAWNEE           KS    66214‐2937
NYHEIM, DAVID W                         UNIT 3                            700 WOODSIDE LANE EAST                                                 SACRAMENTO        CA    95825‐4319
NYHOLM, BETTY A                         236 PONCHARTRAIN DR                                                                                      FENTON            MI    48430‐1733
NYHOLM, MARC W                          2303 WILDWOOD CIRCLE DR                                                                                  GRAND BLANC       MI    48439‐4346
NYHOLM, ROSE L                          8200 4 MILE RD                                                                                           FRANKSVILLE       WI    53126
NYHUIS, ANTONIUS H                      2379 ANZA AVE                                                                                            SPRING HILL       FL    34609‐3502
NYHUIS, LINDA
NYHUS CHEVROLET/BUICK, INC.             RONALD BIEBIGHAUSER               120 2ND AVE NE                                                         STAPLES           MN    56479‐2534
NYHUS CHEVROLET/BUICK, INC.             120 2ND AVE NE                                                                                           STAPLES           MN    56479‐2534
NYHUS, DAVID H                          W 2507 COUNTY RD I                                                                                       LACROSSE          WI    54601‐2815
NYHUS, DAVID H                          W2507 COUNTY ROAD I                                                                                      LA CROSSE         WI    54601‐2815
NYHUS, KENNETH P                        2202 HUBBARD ST                                                                                          JANESVILLE        WI    53546‐3155
NYHUS, SCOTT A                          507 CAMPUS ST APT 1                                                                                      MILTON            WI    53563‐3712
NYHUS, TERRY A                          N4198 EAGLE DR                                                                                           BRODHEAD          WI    53520‐9664
NYHUS, TIMOTHY G                        4714 N KATHERINE DR                                                                                      JANESVILLE        WI    53548‐8867
NYHUS, TIMOTHY G                        8459 BIG CYPRESS CT                                                                                      FORT WORTH        TX    76137‐5900
NYIRI, LOTTIE M                         11645 N 25TH PL APT 234                                                                                  PHOENIX           AZ    85028‐1851
NYITRAY, RODOLFO L                      1496 MCKAIL RD                                                                                           LEONARD           MI    48367‐1426
NYITRAY, RODOLFO LUIZ                   1496 MCKAIL RD                                                                                           LEONARD           MI    48367‐1426
NYK LINE NORTH AMERICA INC              300 LIGHTING WAY 5TH FL                                                                                  SECAUCUS          NJ    07094
NYKAMP, DAVID H                         729 S LAKESIDE DR                                                                                        MICHIGAN CENTER   MI    49254‐1528
NYKANEN, EVA E                          307 W MEYERS AVE                                                                                         HAZEL PARK        MI    48030‐2046
NYKANEN, JAMES A                        30932 PARDO ST                                                                                           GARDEN CITY       MI    48135‐1846
NYKANEN, JAMES ALAN                     30932 PARDO ST                                                                                           GARDEN CITY       MI    48135‐1846
NYKANEN, JOHN A                         307 W MEYERS AVE                                                                                         HAZEL PARK        MI    48030‐2046
NYKIEL FAMILY LP                        C/O FRANK NYKIEL                  PO BOX 1070                                                            WASHINGTON        MO    63090
NYKIEL, HENRY J                         2371 N HACKER RD                                                                                         HOWELL            MI    48855‐9079
NYKLEWICZ, EVELYN M                     3156 S 16TH ST                                                                                           MILWAUKEE         WI    53215‐4525
NYKODYM, MARY                           3101 STILLWATER DR                                                                                       TECUMSEH          MI    49286
NYLA MAY                                15020 NE 35TH AVENUE RD                                                                                  CITRA             FL    32113‐4702
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Name                                   Address1                         Address2                        Address3            Address4            City            State Zip
NYLA R EDGARS REV LIVING TRUST NE TTEE NYLA R EDGAR TRUSTEE FOR THE     NYLA R EDGAR REV LIVING TRUST   28222 VIA HERRERA                       MISSION VIEJO    CA 92692‐1721

NYLA SAUNDERS                         221 VERSTREET DR                                                                                          ROCHESTER       NY 14616
NYLANDER FRED E (360430)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA 23510
                                                                        STREET, SUITE 600
NYLANDER, FRED E                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA 23510
                                                                        STREET, SUITE 600
NYLANDER, KENNETH C                   6294 TANGLEWOOD LN                                                                                        GRAND BLANC     MI   48439‐9706
NYLANDER, RAYMOND E                   2311 OAK ST                                                                                               MCKEESPORT      PA   15132‐4917
NYLANDER, STEVEN M                    16127 AMBER ROCK CT                                                                                       PARKER          CO   80134‐3556
NYLE BROWN                            1200 RIVER RD LOT 35                                                                                      SPARTA          WI   54656‐2295
NYLE CRILLY                           5298 THORNAPPLE LAKE RD                                                                                   NASHVILLE       MI   49073‐8759
NYLE KINNEY                           2522 S MOONLIGHT DR                                                                                       GOLD CANYON     AZ   85218‐2054
NYLE MAXWELL PONTIAC‐GMC              3000 N INTERSTATE 35                                                                                      ROUND ROCK      TX   78681‐2406
NYLE MAXWELL PONTIAC‐GMC, LTD.        THOMAS MAXWELL                    3000 N INTERSTATE 35                                                    ROUND ROCK      TX   78681‐2406
NYLE TRELOAR                          PO BOX 775                                                                                                NASHVILLE       MI   49073‐0775
NYLE VAN SICKLE                       6453 YOUNG RD                                                                                             BELLEVUE        MI   49021‐9404
NYLEN, DAVID L                        1700 BRISTOL AVE NW                                                                                       GRAND RAPIDS    MI   49504‐2704
NYLES ANSON                           4624 CLIFTY DR                                                                                            ANDERSON        IN   46012‐9706
NYLIN, MATTHEW E                      3536 ELMHURST AVE                                                                                         ROYAL OAK       MI   48073‐2344
NYLIN, MICHAEL E                      310 OAK RIDGE TERRACE                                                                                     ALPHARETTA      GA   30005‐2580
NYLOK FASTENER CORP                   15260 HALLMARK CT                                                                                         MACOMB          MI   48042‐4007
NYLOMATIC                             BARBARA GODSHALK                  10 HEADLEY PLACE                                                        HOUSTON         TX   77002
NYLON CRAFT/MISHAWKA                  616 W MCKINLEY AVE                P.O. BOX 6636                                                           MISHAWAKA       IN   46545‐5518
NYLON MOLDING CORPORATION             ANGELA SALAS                      1617 S CALIFORNIA AVE                                                   MONROVIA        CA   91016‐4621
NYLON MOLDING CORPORATION             ANGELA SALAS                      1617 SOUTH CALIFORNIA                                                   HOLLAND         MI   49423
NYLONCRAFT INC                        1640 E CHICAGO RD                                                                                         JONESVILLE      MI   49250‐9110
NYLONCRAFT INC                        MIKKI SKRZYPIECX222               616 W MCKINLEY AVE                                                      MISHAWAKA       IN   46545‐5518
NYLONCRAFT INC                        MIKKI SKRZYPIECX222               616 WEST MCKINLEY AVENUE                                                EL PASO         TX   79906
NYLONCRAFT INC                        TRACEY KREPS X110                 1640 US 12 EAST                                     WHITBY ON CANADA
NYLONCRAFT INC                        616 W MCKINLEY AVE                                                                                        MISHAWAKA       IN 46545‐5597
NYLONCRAFT OF MICHIGAN INC            616 W MCKINLEY AVE                                                                                        MISHAWAKA       IN 46545‐5518
NYLONCRAFT OF MICHIGAN INC            1640 E CHICAGO RD                                                                                         JONESVILLE      MI 49250‐9110
NYLONCRAFT, INC.                      TRACEY KREPS X110                 1640 US 12 EAST                                     WHITBY ON CANADA
NYLONCRAFT/MISHAWAKA                  616 W MCKINLEY AVE                                                                                        MISHAWAKA       IN   46545‐5518
NYLUND, JACQUELINE                    20261 WASHINGTON ST                                                                                       ROSEVILLE       MI   48066‐2248
NYLUND, STANLEY L                     25723 OVERLAKE DR                                                                                         SPRING          TX   77380‐2028
NYMAN RAYMOND R (626690)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA   23510
                                                                        STREET, SUITE 600
NYMAN, DONALD J                       7335 KESSLING ST                                                                                          DAVISON         MI   48423‐2449
NYMAN, DORIS D                        8489 PEPPER RIDGE DR                                                                                      GRAND BLANC     MI   48439‐1958
NYMAN, GARY L                         2492 LANNING DR                                                                                           BURTON          MI   48509‐1029
NYMAN, GORDON B                       9243 COPPER RIDGE DR                                                                                      DAVISON         MI   48423‐8647
NYMAN, HELEN L                        7695 CURRIER DR                                                                                           PORTAGE         MI   49002‐8800
NYMAN, KATHLEEN H                     3634 MILAN                                                                                                WYOMING         MI   49509‐3959
NYMAN, KATHLEEN H                     3634 MILAN AVE SW                                                                                         WYOMING         MI   49509‐3959
NYMAN, LORETTA M                      5515 CORVETTE PASS                                                                                        GRAND BLANC     MI   48439‐9144
NYMAN, LOUIS H                        1 E FOWLER AVE                                                                                            MIDDLETOWN      CT   06457‐5343
NYMAN, RAYMOND R                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA   23510‐2212
                                                                        STREET, SUITE 600
NYMAN, STEVEN D                       9811 13TH AVE S                                                                                           BLOOMINGTON     MN 55425‐2601
NYMAN, ZACHARY                        440 BOWEN ST                                                                                              SAVANNA         IL 61074‐2106
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Name                                    Address1                             Address2                        Address3                 Address4                 City             State Zip
NYMAT MACHINE TOOL CORP                 2650 BAIRD RD                                                                                                          FAIRPORT          NY 14450‐1224
NYMBERG, DANIEL D                       182 COUNTRY CLUB LN                                                                                                    CANTON            MI 48188‐3036
NYNA KOPPICH TTEE                       NYNA KOPPICH TRUST                   DTD 5/19/98                     61 BAYVIEW RD                                     KENTFIELD         CA 94904‐2029
NYNEX RM 1125                           720 LARKFIELD RD                                                                                                       COMMACK           NY 11725
NYNEX RM 1125                           2755 MILLERSPORT HWY                                                                                                   GETZVILLE         NY 14068‐1222
NYNEX RM 1125                           100 GAY ST                                                                                                             MANCHESTER        NH 03103‐6815
NYNEX RM 1125                           770 11TH AVE                                                                                                           NEW YORK          NY 10019
NYNEX RM 1125                           95 BROOKDALE DR                                                                                                        SPRINGFIELD       MA 01104‐3205
NYNEX/ARI‐FLT.MGT.                      95 BROOKDALE DR                                                                                                        SPRINGFIELD       MA 01104‐3205
NYNEX/ARI‐FLT.MGT.                      720 LARKFIELD RD                                                                                                       COMMACK           NY 11725
NYNEX/ARI‐FLT.MGT.                      2755 MILLERSPORT HWY                                                                                                   GETZVILLE         NY 14068‐1222
NYNEX/ARI‐FLT.MGT.                      100 GAY ST                                                                                                             MANCHESTER        NH 03103‐6815
NYNEX/ARI‐FLT.MGT.                      770 11 AVENUE                                                                                                          NEW YORK          NY 10019
NYOKA M WILLIAMS                        1418 HARLEM AVE                                                                                                        GADSDEN           AL 35903‐3536
NYOKA SCOTT                             910 HERITAGE CT                                                                                                        SAINT CHARLES     MO 63303
NYOKA SUMMERS                           1113 KAMMER AVE                                                                                                        DAYTON            OH 45417‐1512
NYPD FLEET SERVICES                     5315 58TH ST                                                                                                           WOODSIDE          NY 11377‐7405
NYPERT, HENRY J                         5 LESLIE ST                                                                                                            TERRYVILLE        CT 06786‐6621
NYQUIST, CHRISTY L                      4538 NW BRAMBLE TRL                                                                                                    LEES SUMMIT       MO 64064‐1481
NYQUIST, GEORGE A                       6197 WILDROSE LN                                                                                                       BURTCHVILLE       MI 48059‐4313
NYQUIST, GERALD A                       11459 FAWN VALLEY TRL                                                                                                  FENTON            MI 48430‐4008
NYQUIST, GERALD W                       23579 FOXBORO ST                                                                                                       MACOMB            MI 48042‐4854
NYQUIST, JEFFREY P                      7003 TIMBERCREST                                                                                                       WASHINGTON TWP    MI 48094‐2194
NYQUIST, JOHN H                         6515 CLAREMONT AVE                                                                                                     RAYTOWN           MO 64133‐5438
NYS ASSESSMENT RECEIVABLES              PO BOX 4127                                                                                                            BINGHAMTON        NY 13902‐4127
NYS CS PROCESSING CENTER                PO BOX 15363                                                                                                           ALBANY            NY 12212‐5363
NYS DEC‐BUREAU OF PESTICIDES            317 WASHINGTON ST                    DULLES STATE OFFICE BUILDING                                                      WATERTOWN         NY 13601
NYS DEPARTMENT OF ENVIRONMENTAL         MAUREEN F LEARY ESQ ASST ATTORNEY    ENVIRONMENTAL PROTECTION        OFFICE OF THE ATTORNEY   THE CAPITOL              ALBANY            NY 12224
CONSERVATION                            GENERAL                              BUREAU                          GENERAL
NYS DEPARTMENT OF ENVIRONMENTAL         MAUREEN F LEARY ESQ                  ASSTANT ATTORNEY GENERAL        ENVIRONMENTAL            OFFICE OF THE ATTORNEY   ALBANY           NY 12224
CONSERVATION                                                                                                 PROTECTION BUREAU        GENERAL
NYS DEPARTMENT OF ENVIRONMENTAL         MAUREEN F LEARY ESQ                  ASSISTANT ATTORNEY GENERAL      ENVIRONMENTAL            OFFICE OF THE ATTORNEY   ALBANY           NY 12224
CONSERVATION                                                                                                 PROTECTION BUREAU        GENERAL THE CAPITOL
NYS DEPARTMENT OF ENVIRONMENTAL         ENVIRONMENTAL PROTECTION BUREAU ‐    ATTN MAUREEN F LEARY ESQ        THE CAPITOL                                       ALBANY           NY 12224
CONSERVATION                            OFFICE OF THE ATTORNEY GENERAL       ASSISTANT ATTORNEY GENERAL

NYS DEPARTMENT OF STATE                 DIVISION OF CORPORATIONS             41 STATE ST                                                                       ALBANY           NY 12231‐0002
NYS DEPARTMENT OF TAXATION AND          BANKRUPTCY SECTION                   PO BOX 5300                                                                       ALBANY           NY 12205
FINANCE
NYS DEPT OF ENV CONSERVATION            DIVISION OF WATER                    625 BROADWAY FL 4                                                                 ALBANY           NY 12233‐3508
NYS DEPT OF ENV CONSERVATION            625 BROADWAY                                                                                                           ALBANY           NY 12233
NYS DEPT OF ENV CONSERVATION REGION     615 ERIE BLVD WEST                                                                                                     SYRACUSE         NY 13204
7
NYS DEPT OF ENVIRONMENTAL               MAUREEN F LEARY ESQ, ASST ATTORNEY   ENVIRONMENTAL PROTECTION        OFFICE OF THE ATTORNEY   THE CAPITOL              ALBANY           NY 12224
CONSERVATION                            GENERAL                              BUREAU                          GENERAL
NYS DEPT OF ENVIRONMENTAL               SUSAN EDWARDS                        625 BROADWAY FL 12                                                                ALBANY           NY 12233‐7016
CONSERVATION, REMEDIAL BUREAU D
NYS DEPT OF TAX AND FINANCE             ACCT OF CLARON J NEWVINE             O STATE CAMPUS                  RM 438                                            ALBANY           NY 12227‐0001
NYS DEPT OF TAXATION & FIN ‐ NYSD 149   ACCT OF JOEL WILLIAMS                PO BOX 5149                     O STATE CAMPUS RM 438                             ALBANY           NY 12227‐0001

NYS DEPT OF TAXATION & FINANCE          ACCT OF ETHEL WORTH                  STATE CAMP TAX FINANCE #8‐438                                                     ALBANY           NY 12227‐0001
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NYS DEPT OF TAXATION & FINANCE   ACCT OF BETTY L ZENECKY               STATE CAMP TAX FINANCE #8‐438                                                ALBANY              NY 12227‐0001

NYS DEPT OF TAXATION & FINANCE   ACCT OF DOUGLAS J CHIRICO             STATE CAP TAX FINANCE #8‐438                                                 ALBANY             NY 12227‐0001
NYS DEPT OF TAXATION & FINANCE   ACCT OF BETTY R JACKSON               STATE CAMP TAX FINANCE #8‐438                                                ALBANY             NY 12227‐0001

NYS DEPT OF TAXATION & FINANCE   PO BOX 5350                                                                                                        ALBANY             NY 12205‐0350
NYS DEPT OF TAXATION & FINANCE   MISC TAX RETURNS PROCESSING           WA HARRIMAN CAMPUS                                                           ALBANY             NY 12227‐0001
NYS DEPT OF TAXATION‐FINANCE     ACCT OF PEACE BRUCE                   STATE CAMP TAX FINANCE #8‐438                                                ALBANY             NY 12227‐0001

NYS DEPT OF TAXATION/FINANCE     ACCT OF GREGORY NOBLE                 STATE CAMP TAX FINANCE #8‐438                                                ALBANY             NY 12227‐0001

NYS ENVIRONMENTAL CONSERVATION   REGULATORY FRI DETERMINTN UNIT        625 BROADWAY FL 10                                                           ALBANY             NY 12233‐5013

NYS ENVIRONMENTAL CONSERVATION   REGULATORY FEE DETERMINATION          PO BOX 5973                                                                  NEW YORK           NY 10087‐5973

NYS LLC/LLP FEE                  PO BOX 22076                          STATE PROCESSING CENTER                                                      ALBANY             NY 12201‐2076
NYS LLC/LLP FEE                  STATE PROCESSING CTR                  P.O. BOX 61000                                                               ALBANY             NY 12261‐0001
NYS OFFICE OF GENERAL SERVICES
NYS PROMPTAX ‐ SALES TAX         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 4130                                                                 BINGHAMTON         NY 13902‐4130

NYS PROMPTAX ‐ SALES TAX         PO BOX 4130                                                                                                        BINGHAMTON         NY   13902‐4130
NYS SALES TAX PROCESSING         JAF BUILDING                          PO BOX 15172                                                                 ALBANY             NY   12212‐5172
NYS SALES TAX PROCESSING         JAF BUILDING                          P.O. BOX 1208                                                                NEW YORK           NY   10116
NYS STATE TAXATION & FINANCE     ACT H RASTELLI                        O STATE CAMPUS RM 438                                                        ALBANY             NY   12227‐0001
NYS TAX & FINANCE DEPT           ACCT OF ROY H HAFNER                  STATE CAMP TAX FINANCE #8‐438                                                ALBANY             NY   12227‐0001

NYS TAX DEPT TAX COM DIV         ACCT OF A MERCURIO JR                 STATE BLDG 8                                                                 ALBANY             NY   12227‐0001
NYS THURWAY AUTH BUFFALO                                               1870 WALDEN AVE                                                                                 NY   14225
NYSADA                           PO BOX 7347                           37 ELK STREET                                                                ALBANY             NY   12224‐0347
NYSCHICK, A K                    807 JOHN DALY ST                                                                                                   INKSTER            MI   48141‐1386
NYSDEC                           REGIONAL ADMIN REGION 6               DULLES STATE OFFICE BUILDING    317 WASHINGTON STREET                        WATERTOWN          NY   13601
NYSE MARKET INC                  PO BOX 8500                                                                                                        PHILADELPHIA       PA   19178‐8500
NYSEG                            PO BOX 5550                                                                                                        ITHACA             NY   14852‐5550
NYSEG SOLUTIONS                  50 METHODIST HILL                                                                                                  ROCHESTER          NY   14623
NYSEG SOLUTIONS                  NYSEG SOLUTIONS, INC                  ATTN: SHAUNA FISKE              31 LEWIS STREET SUITE 401                    BINGHAMTON         NY   13901
NYSERDA                          ELSIE BEAGLE                          17 COLUMBIA CIR                 NYSERDA                                      ALBANY             NY   12203‐5156
NYSEWANDER, BEVERLY S            7745 S COUNTY ROAD 600 E                                                                                           MOORESVILLE        IN   46158‐7768
NYSEWANDER, JOSEPH A             7745 S COUNTY ROAD 600 E                                                                                           MOORESVILLE        IN   46158‐7768
NYSEWANDER, SHARON L             6342 S COUNTY ROAD 521 E                                                                                           PLAINFIELD         IN   46168‐8614
NYSTROM JR, ERICK L              19008 WOODCREST ST                                                                                                 HARPER WOODS       MI   48225‐2058
NYSTROM DANA                     NYSTROM, DANA                         322 NORTH OLD WOODWARD                                                       BIRMINGHAM         MI   48009
                                                                       AVENUE
NYSTROM JOHN                     3043 OLIVE BRANCH ROAD                                                                                             GREENWOOD          IN   46143‐8885
NYSTROM JR, ERICK L              19008 WOODCREST ST                                                                                                 HARPER WOODS       MI   48225‐2058
NYSTROM, BERTIL W                8201 N SWENSON ST                                                                                                  PORTLAND           OR   97203‐1221
NYSTROM, DANIEL L                1332 CAMELOT DR                                                                                                    LIBERTY            MO   64068‐1004
NYSTROM, DENNIS L                1800 FLYING CLOUD DR                                                                                               CHASKA             MN   55318‐2435
NYSTROM, JUDY L                  8201 N SWENSON                                                                                                     PORTLAND           OR   97203‐1221
NYSTROM, LARRY T                 10753 W MAIN ST                                                                                                    KALAMAZOO          MI   49009‐8220
NYSTROM, LINDA                   424 KENYON AVE                                                                                                     ROMEOVILLE         IL   60446‐1510
NYSTROM, LINDA                   424 KENYON                                                                                                         ROMEOVILLE         IL   60446‐1510
NYSTROM, MIKAEL J                35606 ASHTON CT                                                                                                    CLINTON TOWNSHIP   MI   48035‐2175
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NYSTROM, RANDY J       215 E 48TH ST                                                                                        MINNEAPOLIS        MN 55419‐5647
NYSTROM, RICHARD J     30 MAY APPLE DR                                                                                      DOWNINGTOWN        PA 19335‐3442
NYSTROM, STACY R       1649 SW 5TH ST                                                                                       GRESHAM            OR 97080‐6722
NYSTROM, SUZETTE M     2536 N BURDICK RD                                                                                    JANESVILLE         WI 53548‐8965
NYSTROM, SYLVIA I      13439 185TH LN NW APT 207                                                                            ELK RIVER          MN 55330‐2742
NYSTROM, YVONNE J      3858 N CITRUS CIR                                                                                    ZELLWOOD           FL 32798‐9600
NYSWANER ROBERT        3338 PIEDMONT LAKE RD                                                                                PINE MOUNTAIN      GA 31822‐3571
NYSWANER, GLENN W      4409 5TH ST                                                                                          COLUMBIAVILLE      MI 48421‐9368
NYTKO, CHRIS           55195 JEWELL RD                                                                                      SHELBY TWP         MI 48315‐1059
NYTKO, MARGARET A      48203 FERAL DR                                                                                       MACOMB             MI 48044‐2267
NYTKO, MARGARET ANNA   48203 FERAL DR                                                                                       MACOMB             MI 48044‐2267
NYTKO, VICKIE          55195 JEWELL RD                                                                                      SHELBY TOWNSHIP    MI 48315‐1059
NYVOLD, DONALD T       8322 ARCHER LN N                                                                                     MAPLE GROVE        MN 55311‐1816
NYX CHERRY HILL        VITTAL KUDVA X484               1000 MANUFACTURERS DR   NYX INC                                      WESTLAND           MI 48186‐4064
NYX CHERRY HILL        VITTAL KUDVA X484               NYX INC                 1000 MANUFACTURER'S DR                       MILWAUKEE          WI 53223
NYX FORT WAYNE LLC     5727 INDUSTRIAL RD                                                                                   FORT WAYNE         IN 46825‐5127
NYX FORT WAYNE LLC     VITTAL KUDVA X484               5727 INDUSTRIAL RD                                                   FORT WAYNE         IN 46825‐5127
NYX INC
NYX INC                                                30111 SCHOOLCRAFT RD                                                 LIVONIA           MI   48150
NYX INC                118 ROSE ST                                                                                          LOBELVILLE        TN   37097‐3278
NYX INC                140 SHAFFER DR                                                                                       ROMEO             MI   48065‐4907
NYX INC                36667 SCHOOLCRAFT RD                                                                                 LIVONIA           MI   48150‐1175
NYX INC                4200 W INDUSTRIES RD                                                                                 RICHMOND          IN   47374‐1385
NYX INC                5727 INDUSTRIAL RD                                                                                   FORT WAYNE        IN   46825‐5127
NYX INC                VITTAL KUDVA                    NYX LOGISTICS           21800 PLYMOUTH RD                            LIVONIA           MI   48150
NYX INC                VITTAL KUDVA X484               #1 BATES DRIVE                                                       PORT HURON        MI   48060
NYX INC                VITTAL KUDVA X484               1000 MANUFACTURERS DR   NYX INC                                      WESTLAND          MI   48186‐4064
NYX INC                VITTAL KUDVA X484               28320 PLYMOUTH RD       NYX LOGISTICS                                LIVONIA           MI   48150‐2790
NYX INC                VITTAL KUDVA X484               30111 SCHOOLCRAFT RD                                                 LIVONIA           MI   48150‐2006
NYX INC                VITTAL KUDVA X484               38700 PLYMOUTH ROAD                                                  LITITZ            PA
NYX INC                VITTAL KUDVA X484               5727 INDUSTRIAL RD                                                   FORT WAYNE        IN   46825‐5127
NYX INC                VITTAL KUDVA X484               NYX INC                 1000 MANUFACTURER'S DR                       MILWAUKEE         WI   53223
NYX INC                VITTAL KUDVA X484               NYX LOGISTICS           28320 PLYMOUTH ROAD                          HANOVER PARK      IL   60133
NYX INC                1000 MANUFACTURERS DR                                                                                WESTLAND          MI   48186‐4064
NYX INC                13179 W STAR DR                                                                                      SHELBY TOWNSHIP   MI   48315‐2736
NYX INC                28100 PLYMOUTH RD                                                                                    LIVONIA           MI   48150‐2328
NYX INC                30111 SCHOOLCRAFT RD                                                                                 LIVONIA           MI   48150‐2006
NYX INC                38700 PLYMOUTH RD                                                                                    LIVONIA           MI   48150‐1055
NYX INC                5295 BURKE DR                                                                    WINDSOR ON N9A 6
                                                                                                        CANADA
NYX INC                ATTN: CHAIN S SANDHU            38700 PLYMOUTH RD                                                    LIVONIA           MI 48150‐1055
NYX INC.               VITTAL KUDVA X484               28320 PLYMOUTH RD       NYX LOGISTICS                                LIVONIA           MI 48150‐2790
NYX INC.               VITTAL KUDVA X484               NYX LOGISTICS           28320 PLYMOUTH ROAD                          HANOVER PARK      IL 60133
NYX INCORPORATE
NYX REDFORD            ATTN KAREN SPARKS               38700 PLYMOUTH RD                                                    LIVONIA           MI   48150‐1055
NYX SHREVEPORT LLC     38700 PLYMOUTH RD                                                                                    LIVONIA           MI   48150‐1055
NYX, INC.              VITTAL KUDVA X484               30111 SCHOOLCRAFT RD                                                 LIVONIA           MI   48150‐2006
NYX, INC.              36800 PLYMOUTH RD.                                                                                   LIVONIA           MI   48150
NYX, LENNY L           18051 ALGONAC ST                                                                                     DETROIT           MI   48234‐3829
NYX/21800 PLYMOUTH     36800 PLYMOUTH RD                                                                                    LIVONIA           MI   48150‐1136
NYX/LIVONIA            36800 PLYMOUTH RD               ATTN: VITTAL KUDVA                                                   LIVONIA           MI   48150‐1136
NYX/PLYMOUTH           VITTAL KUDVA X484               38700 PLYMOUTH ROAD                                                  LITITZ            PA
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NYX/REDFORD                        C/O NYX INC.                      24555 CAPITAL                                                 REDFORD             MI 48234
NYX/REDFORD                        24555 CAPITOL                                                                                   REDFORD             MI 48239‐2447
NYX/WARREN                         36800 PLYMOUTH RD                 ATTN: VITTAL KUDVA                                            LIVONIA             MI 48150‐1136
NYX/WESTLAND                       1000 MANUFACTURERS DR                                                                           WESTLAND            MI 48186‐4064
NYYSOLA, AUNE K                    7821 N COVE RD                                                                                  BALTIMORE           MD 21219‐1919
NYYSOLA, AUNE K                    7821 NORTH COVE RD                                                                              BALTIMORE           MD 21219‐1919
NYZNYK, GERALD                     22420 WOODFIELD TRL                                                                             STRONGSVILLE        OH 44149‐9239
NYZNYK, RANDOLPH S                 35609 BRADFORD CT                                                                               FARMINGTON HILLS    MI 48331‐1978
NZEOGU BERT                        3248 RACE ST                                                                                    COLUMBUS            OH 43204‐1822
O CONNOR, MARK W                   561 GREY ACRES LN                                                                               FRIENDSVILLE        TN 37737‐3245
O DONNELL, LAURA C                 4608 W OLD SHAKOPEE RD                                                                          BLOOMINGTON         MN 55437‐3064
O & G SPRING & WIRE FORMS          4500 W DIVISION ST                                                                              CHICAGO              IL 60651‐1632
O & G SPRING & WIRE FORMS          RICHARD GREGG                     4500 W. DIVISION                                              TINLEY PARK          IL 60487
O & G SPRING WIRE FORM SPECIALTY   RICHARD GREGG                     4500 W. DIVISION                                              TINLEY PARK          IL 60487
O & I TRANSPORT INC                PO BOX 807                                                                                      DEARBORN            MI 48121‐0807
O & S TRUCKING INC                 PO BOX 51043                                                                                    SPRINGFIELD         MO 65803
O ADDINGTON                        104 PONY CREEK RD                                                                               NORTH MANCHESTER    IN 46962‐1747
O AND J CAR REPAIR INC.            307 S CHESTER AVE                                                                               RIVERSIDE           NJ 08075‐4018
O B GRIFFIN                        PO BOX 66                                                                                       BARNEY              GA 31625
O B HUTCHISON                      5312 BENT TREE DR                                                                               DALLAS              TX 75248
O B HUTCHISON (8865)               5312 BENT TREE DR                                                                               DALLAS              TX 75248
O B MATTHEWS                       PO BOX 1092                                                                                     SAGINAW             MI 48606‐1092
O BANAR                            209 BRASSIE DR                                                                                  MC CORMICK          SC 29835‐2829
O BANION, JAMES M                  7250 LEWISVILLE RD                                                                              QUINCY              IN 47456‐8651
O BANION, SANDRA                   7250 LEWISVILLE RD                                                                              QUINCY              IN 47456‐8651
O BANKS                            21553 NEWCASTLE RD                                                                              HARPER WOODS        MI 48225‐2314
O BARA, CATHERINE J                8401 SE 72ND PL                                                                                 MERCER ISLAND       WA 98040‐5412
O BARA, CATHERINE J                8401 SOUTH EAST                   72ND PLACE                                                    MERCER ISLAND       WA 98040‐5412
O BERRY SHARON                     2491 GOLDEN SHORE CT                                                                            FENTON              MI 48430‐1060
O BERRY, LARRY L                   6595 NW 37TH AVE                                                                                COCONUT CREEK       FL 33073‐3216
O BERRY, SANDRA                    6300 W MICHIGAN AVE APT D19                                                                     LANSING             MI 48917‐4730
O BOYD                             THE MADEKSHO LAW FIRM             8866 GULF FREEWAY STE 440                                     HOUSTON             TX 77017
O BOYLE, DAVID J                   1735 BRANTLEY RD APT 1513                                                                       FORT MYERS          FL 33907‐3919
O BOYLE, THOMAS J                  7457 WICKLOW NORTH DR                                                                           DAVISON             MI 48423‐8390
O BOYLE, THOMAS JAMES              7457 WICKLOW NORTH DR                                                                           DAVISON             MI 48423‐8390
O BRIAN CELINE                     3366 GREENWOOD LANE                                                      PLACERVILLE CA 95667
                                                                                                            CANADA
O BRIANT KIMBY                     48 BRIDGE FIELD DRIVE                                                                           SHERWOOD           AR   72120‐9411
O BRIANT, LAWRENCE D               831 BEACH ST                                                                                    LAPEER             MI   48446‐2404
O BRIANT, LEON P                   12214 FRANCES RD                                                                                OTISVILLE          MI   48463‐9742
O BRIEN BONNIE                     4141 DEVONSHIRE LN SE                                                                           SOUTHPORT          NC   28461‐8508
O BRIEN DAN                        7603 WISTERIA WAY                                                                               BRIGHTON           MI   48116‐6203
O BRIEN DANIEL E                   11857 E SALISBURY RD                                                                            WHITEWATER         WI   53190‐3353
O BRIEN MICHELE                    12 ARROWHEAD TRL                                                                                MEDIA              PA   19063‐4706
O BRIEN TIMOTHY                    18338 E POWERS PL                                                                               CENTENNIAL         CO   80015‐3071
O BRIEN VICTOR                     32 BLUE HERON DR                                                                                TOMS RIVER         NJ   08753‐2008
O BRIEN, ARLENE T                  201 SOUTH AVENUE                                                                                MEDINA             NY   14103‐1541
O BRIEN, ARTHUR W                  9210 EDGEWATER DR                                                                               STANWOOD           MI   49346‐9383
O BRIEN, BEATRICE                  340 OLD MILL RD SPC 159                                                                         SANTA BARBARA      CA   93110‐3819
O BRIEN, BETTY K                   5426 DUNBAR DR                                                                                  GRAND BLANC        MI   48439‐9152
O BRIEN, BRENDA J                  4061 S MEADOW LN                                                                                MOUNT MORRIS       MI   48458‐9311
O BRIEN, CHARLES E                 26 GUILD RD                                                                                     SAUGUS             MA   01906‐1833
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O BRIEN, CLARA A       PO BOX 1148                                                                                        JANESVILLE            WI 53547‐1148
O BRIEN, CONNIE D      10536 GARRISON RD                                                                                  DURAND                MI 48429‐1814
O BRIEN, CRAIG D       5431 SEYMOUR LAKE RD                                                                               OXFORD                MI 48371‐4148
O BRIEN, DANIEL J      5147 OLD HAVERHILL RD                                                                              GRAND BLANC           MI 48439‐8684
O BRIEN, DANIEL W      40 HOLCOMB ST                                                                                      ROCHESTER             NY 14612‐5418
O BRIEN, DAVID J       610 ANDERSON AVE APT 1A                                                                            CLIFFSIDE PK          NJ 07010‐1845
O BRIEN, DAVID M       PO BOX 1711                                                                                        WARREN                MI 48090‐1711
O BRIEN, DENIS M       9321 W TIMBERVIEW DR                                                                               NEWPORT               MI 48166‐9550
O BRIEN, DENNIS K      1025 RIVERLAND WOODS              PLACE #724                                                       CHARLESTON            SC 29412
O BRIEN, DONALD J      3448 BYRD ST                                                                                       DEARBORN              MI 48124‐4172
O BRIEN, DONALD L      130 E CAROLYN ST                  P O BOX 3315                                                     SOUTH PADRE ISLAND    TX 78597
O BRIEN, DONNA E       1494 E 6015 S                                                                                      SALT LAKE CITY        UT 84121‐1855
O BRIEN, DORA L        11035 GULFSTREAM BLVD                                                                              ENGLEWOOD             FL 34224‐9223
O BRIEN, ELEANOR C     304‐1561 STOCKTON CRES                                                   VICTORIA BC CANADA V8P‐
                                                                                                3B9
O BRIEN, ETHEL M       8949 N 97TH ST APT A18                                                                             MILWAUKEE            WI   53224‐1664
O BRIEN, F M           4520 N SCENIC MOUNTAIN D                                                                           TUCSON               AZ   85750
O BRIEN, F MICHAEL     4520 N SCENIC MOUNTAIN D                                                                           TUCSON               AZ   85750
O BRIEN, FRANCIS L     1325 CLEAVLAND RD. WEST                                                                            HURON                OH   44839
O BRIEN, GAIL L        4855 BECKWITH ST P/B 353                                                                           MILLINGTON           MI   48746‐9673
O BRIEN, GARY T        3631 DALEY RD                                                                                      ATTICA               MI   48412‐9235
O BRIEN, GEORGIA M     2950 STATE ROUTE CC                                                                                WEST PLAINS          MO   65775‐5123
O BRIEN, HERBERT W     1574 EATON RD                                                                                      BERKLEY              MI   48072‐2028
O BRIEN, JAMES J       5221 WORCHESTER DR                                                                                 SWARTZ CREEK         MI   48473‐1267
O BRIEN, JAMES K       5767 NORTHFIELD PKWY                                                                               TROY                 MI   48098‐5125
O BRIEN, JAMES S       65 PINECREST DRIVE                                                                                 GILFORD              NH   03249‐2222
O BRIEN, JANE M        197 STONY POINT TRL                                                                                WEBSTER              NY   14580‐1322
O BRIEN, JEANNE M      4449 E COLDWATER RD                                                                                FLINT                MI   48506‐1055
O BRIEN, JOHN A        2207 FIRWOOD DR                                                                                    DAVISON              MI   48423‐9524
O BRIEN, JOHN ALLEN    2207 FIRWOOD DR                                                                                    DAVISON              MI   48423‐9524
O BRIEN, JOHN F        27598 E ECHO VLY UNIT 148                                                                          FARMINGTON HILLS     MI   48334‐4408
O BRIEN, JOHN M        1401 TERRACE DR                                                                                    DEFIANCE             OH   43512‐3046
O BRIEN, JOHN P        3930 RIVER RD UNIT 47                                                                              EAST CHINA           MI   48054‐2926
O BRIEN, JOSEPH F      321 BEACH 102 ST                                                                                   ROCKAWAY BEACH       NY   11694
O BRIEN, JOSEPHINE G   3617 S ADAMS RD                                                                                    ROCHESTER HILLS      MI   48309
O BRIEN, JULIA D       6429 LOTUS CT                                                                                      WATERFORD            MI   48329‐1346
O BRIEN, KERMIT D      2004 HUDSON AVE                                                                                    KALAMAZOO            MI   49008‐1810
O BRIEN, MARJORIE S    G 4160 W COURT ST                                                                                  FLINT                MI   48532
O BRIEN, MARY A        659 ADAMS RD                                                                                       MONTICELLO           WI   53570‐9733
O BRIEN, MARY A        15521 WEST HOLT ROAD                                                                               BROOKLYN             WI   53521
O BRIEN, MARY W        3132 FOSTER DR NE                 C/O WILLIAM W WATSON                                             WARREN               OH   44483‐5646
O BRIEN, MICHAEL P     5418 BELMONT RD                                                                                    DOWNERS GROVE        IL   60515‐4446
O BRIEN, MICHAEL T     4881 SE 130TH PL                                                                                   BELLEVIEW            FL   34420‐5027
O BRIEN, PATRICIA K    958 OXFORD ST                                                                                      DOWNERS GROVE        IL   60516‐2913
O BRIEN, PATRICK E     119 RIVERVIEW DR                                                                                   LACHINE              MI   49753‐9788
O BRIEN, PATRICK H     588 RANDOLPH ST                                                                                    NORTHVILLE           MI   48167‐1466
O BRIEN, PATRICK N     646 STRATFORD LN                                                                                   THE VILLAGES         FL   32162‐4356
O BRIEN, PAUL J        41 WOODVIEW AVE                                                                                    HAMBURG              NY   14075‐6216
O BRIEN, PAULETTE      1378 RIVER OAKS CT                                                                                 OLDSMAR              FL   34677‐4828
O BRIEN, PHYLLIS J     11269 37 MILE RD                                                                                   BRUCE TWP            MI   48065‐1304
O BRIEN, RICHARD F     PO BOX 6127                                                                                        SANTA BARBARA        CA   93160‐6127
O BRIEN, RICHARD J     PO BOX 400                                                                                         COULTERVILLE         IL   62237‐0400
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Name                                Address1                        Address2                       Address3   Address4         City               State Zip
O BRIEN, RICHARD J                  25734 GRACELAND CIR                                                                        DEARBORN HTS        MI 48125‐1067
O BRIEN, RICHARD W                  2701 BIDWELL RD                                                                            MUSCATINE            IA 52761‐3662
O BRIEN, ROBERT A                   19901 PRAIRIE AVE #2311                                                                    TORRANCE            CA 90503
O BRIEN, ROBERT C                   55 RIVER FRONT DR UNIT 113                                                                 MANCHESTER          NH 03102‐3251
O BRIEN, ROBERT L                   W10987 LAKE VIEW DR                                                                        LODI                WI 53555‐1535
O BRIEN, ROGER L                    555 E LAKEVILLE RD                                                                         OXFORD              MI 48371‐5147
O BRIEN, TERRY J                    14435 N CENTER RD                                                                          CLIO                MI 48420‐7934
O BRIEN, THOMAS R                   4290 SWEET RD                                                                              HOWELL              MI 48843‐8817
O BRIEN, THOMAS R                   3344 CHESTNUT ST                                                                           DEARBORN            MI 48124‐4370
O BRIEN, TIMOTHY A                  8196 FAULKNER DR                                                                           DAVISON             MI 48423‐9535
O BRIEN, TIMOTHY ALLAN              8196 FAULKNER DR                                                                           DAVISON             MI 48423‐9535
O BRIEN, TIMOTHY P                  32535 NEWCASTLE DR                                                                         WARREN              MI 48093‐1275
O BRIEN, TIMOTHY P.                 32535 NEWCASTLE DR                                                                         WARREN              MI 48093‐1275
O BRIEN, W P
O BRIEN, WILLIAM                    14 DARBY RD                                                                                MASSAPEQUA         NY    11758‐5955
O BRIEN, WILLIAM C                  17825 N 7TH ST LOT 109                                                                     PHOENIX            AZ    85022‐1114
O BRIEN, WILLIAM J                  610 MARINE ST                                                                              FAIRPORT HARBOR    OH    44077‐5610
O BRIEN, WILLIAM J                  40 FURMAN DR                                                                               WAYNE              NJ    07470‐5323
O BRIENS AGENCY INC                 PO BOX 14238                                                                               LANSING            MI    48901‐4238
O BROOKS                            8100 GRATIOT AVE APT 412                                                                   DETROIT            MI    48213‐2971
O BROWNLEE                          703 JAMESTOWN RD                                                                           AUBURN HILLS       MI    48326‐3418
O BRYAN, CHARLES M                  357 COUNTY ROAD 3340                                                                       KEMPNER            TX    76539‐8742
O BRYAN, DONNA M                    4744 HADDINGTON DR                                                                         BLOOMFIELD HILLS   MI    48304‐3637
O BRYAN, MARY J                     10258 SPRINGBORN ROAD                                                                      CASCO              MI    48064‐3404
O BRYANT                            842 E 103RD ST                                                                             LOS ANGELES        CA    90002‐3244
O BRYANT, ALBERT L                  4520 WHEATLAND ST                                                                          ENID               OK    73703‐6054
O BRYANT, DANIEL F                  14399 WARNER RD                                                                            HASLETT            MI    48840‐9218
O BRYANT, JAMES L                   1149 N 92ND ST LOT 184                                                                     SCOTTSDALE         AZ    85256‐5031
O BRYANT, WILLIAM C                 8601 S HIWASSEE RD                                                                         OKLAHOMA CITY      OK    73150‐7115
O BUSHART                           1936 SWARANNE DR                                                                           W BLOOMFIELD       MI    48324‐1054
O C OLDS                            119 CAMBRIDGE DR APT #115                                                                  DAVISON            MI    48423
O C S GROUP LTD
O C TERRY JR                        366 E ATHERTON RD                                                                          FLINT              MI 48507‐2733
O C WILEY                           C/O G PATTERSON KEAHEY PC       ONE INDEPENDENCE PLAZA SUITE                               BIRMINGHAM         AL 35209
                                                                    612
O CALLAHANS RESTAURANT & CATERING   780 LINDSAY BLVD                ATTN ACCOUNTS RECEIVABLE                                   IDAHO FALLS         ID   83402‐1822

O CARWARDINE                        932 ADAMS CASTLE DR                                                                        BLOOMFIELD HILLS   MI    48304‐3713
O CLAIR, JACK                       PO BOX 98                                                                                  FRANKLIN           VA    23851‐0098
O CLAIRE, RAYMOND F                 1022 E 10TH AVE                                                                            MESA               AZ    85204‐4220
O CLARK                             358 OAKWOOD TER                                                                            CHICKAMAUGA        GA    30707‐2777
O CONNELL ELECTRIC CO               830 PHILLIPS RD                                                                            VICTOR             NY    14564‐9417
O CONNELL, BERNARD                  556 GRIER AVE                                                                              ELIZABETH          NJ    07202‐3105
O CONNELL, BRENDAN D                17192 MERRYWEATHER ST                                                                      CLINTON TWP        MI    48038‐2839
O CONNELL, CARMELLA L               615 BARBADOS DR                                                                            WILLIAMSTOWN       NJ    08094‐3002
O CONNELL, CHARLES G                3688 ESTATES DR                                                                            TROY               MI    48084‐1123
O CONNELL, DAVID G                  5870 REIMER RD                                                                             BRIDGEPORT         MI    48722‐9410
O CONNELL, DOLORES A                8394 JEFFERSON CT                                                                          WARREN             MI    48093‐6786
O CONNELL, ELFRIEDE M               345 AUBURN AVENUE                                                                          ROCHESTER          NY    14606‐4107
O CONNELL, ELFRIEDE M               345 AUBURN AVE                                                                             ROCHESTER          NY    14606‐4107
O CONNELL, GEORGE S                 6 WELLESLEY DR                                                                             PLEASANT RDG       MI    48069‐1240
O CONNELL, J P                      3700 GAILYNN DR                                                                            CINCINNATI         OH    45211‐2514
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O CONNELL, JOHN P          412 BERMUDA ISLES CIR                                                                  VENICE                FL 34292‐4509
O CONNELL, JOHN R          3536 LAYTON RIDGE DR                                                                   APEX                  NC 27539‐6836
O CONNELL, LUCY N          4463 JENA LANE                 LOT #20                                                 FLINT                 MI 48507
O CONNELL, MICHAEL C       5526 DUNMORE RD                                                                        WILMINGTON            NC 28409‐2740
O CONNELL, OPAL M          846 DESALES ST                                                                         VANDALIA              OH 45377‐1124
O CONNELL, PATRICK T       6 WELLESLEY DR                                                                         PLEASANT RIDGE        MI 48069‐1240
O CONNELL, ROBERT E        6635 BANDLE ST                                                                         SAUGATUCK             MI 49453‐9729
O CONNELL, ROBERT J        2656 N BRANCH RD                                                                       NORTH BRANCH          MI 48461‐8066
O CONNELL, ROBERT T        20 LOUISBURG SQ                                                                        BOSTON                MA 02108‐1203
O CONNELL, THOMAS R        1130 CONCORD CT                                                                        NORTHVILLE            MI 48157‐3309
O CONNELL, THOMAS R        43261 CITATION                                                                         NOVI                  MI 48375‐4134
O CONNELL, THOMAS W        2528 BIG STONE BEACH RD                                                                MILFORD               DE 19963‐7223
O CONNELL, WILLIAM R       846 DESALES ST                                                                         VANDALIA              OH 45377‐1124
O CONNER, DONALD R         14 JOHN KIRK RD                                                                        BLUFFTON              SC 29909‐4468
O CONNER, THOMAS E         1200 N CHANNEL DR                                                                      HARSENS IS            MI 48028‐9508
O CONNOR CHEVROLET INC     PO BOX 2129                                                                            ORLAND PARK            IL 60462‐1085
O CONNOR CLAUDE            250 ROYAL DR                                                                           GULF SHORES           AL 36542‐2726
O CONNOR JR, DONALD J      27423 OAKCREST DR                                                                      BROWNSTOWN TWP        MI 48183‐5904
O CONNOR SAAB OF AUGUSTA   268 STATE ST                                                                           AUGUSTA               ME 04330‐6914
O CONNOR, ALBERT D         1401 EVE ST S                                                                          MENA                  AR 71953‐7910
O CONNOR, BARBARA C        300 WOODHAVEN DR APT 1301                                                              HILTON HEAD ISLAND    SC 29928‐7514
O CONNOR, CHARLES J        4 RUGBY CT                                                                             NOBLESVILLE           IN 46060‐4350
O CONNOR, CHARLES R        5446 SAVOY DR                                                                          WATERFORD             MI 48327‐2769
O CONNOR, DANIEL K         3719 NEW BOSTON DR                                                                     STERLING HTS          MI 48314‐2809
O CONNOR, DANIEL T         162 ROYAL DR                                                                           BRICK                 NJ 08723‐6733
O CONNOR, DAVID C          644 NORTHLIGHT CIR                                                                     WEBSTER               NY 14580‐9409
O CONNOR, DENNIS C         PO BOX 439                                                                             HEMLOCK               MI 48626‐0439
O CONNOR, DENZIL L         307 PRAIRIE ST                                                                         BUCKNER               MO 64016‐9711
O CONNOR, DIANE M          198 GLENSIDE TRL                                                                       SPARTA                NJ 07871‐1215
O CONNOR, DONALD J         1355 N BALDWIN RD                                                                      OXFORD                MI 48371‐3007
O CONNOR, DONALD L         4708 KELLY GREEN ST                                                                    SHAWNEE               OK 74804‐1473
O CONNOR, DONALD V         13955 RATTALEE LAKE RD                                                                 DAVISBURG             MI 48350‐1245
O CONNOR, FRANCIS J        302 ROBIN LN                                                                           NORRISTOWN            PA 19401‐2024
O CONNOR, FRANCIS M        7554 N HENDERSON FORD RD                                                               MOORESVILLE           IN 46158‐6639
O CONNOR, GERALDINE B      16670 17TH RD                                                                          WHITESTONE            NY 11357‐3309
O CONNOR, GLORIA R         303 EAST WASHINGTON            APT 105                                                 BENSENVILLE            IL 60106
O CONNOR, GLORIA R         303 E WASHINGTON ST APT 105                                                            BENSENVILLE            IL 60106‐3516
O CONNOR, HERBERT J        13244 LAZZARO COURT                                                                    ESTERO                FL 33928‐6390
O CONNOR, JAMES A          4926 MIKES DRIVE                                                                       CASEVILLE             MI 48725‐9761
O CONNOR, JAMES A          1 JACKSON CREEK RD PMB 2046                                                            MONTANA CITY          MT 59634‐9714
O CONNOR, JAMES O          105 N SCOUGLE ST                                                                       DURAND                MI 48429‐1131
O CONNOR, JAMES OWEN       105 N SCOUGLE ST                                                                       DURAND                MI 48429‐1131
O CONNOR, JANET T          1952 N HACKER RD                                                                       HOWELL                MI 48843‐9181
O CONNOR, JANICE M         15924 MORGAN CT                                                                        CLINTON TWP           MI 48035‐1015
O CONNOR, JEANETTE         814 LORETTA ST                                                                         TONAWANDA             NY 14150‐8741
O CONNOR, JOHN A           6 LENORE AVE                                                                           HICKSVILLE            NY 11801‐5929
O CONNOR, JOHN D           5130 DUSTINE DR N                                                                      SAGINAW               MI 48603‐1846
O CONNOR, JOHN J           11584 CLAYTON CT                                                                       THORNTON              CO 80233‐2301
O CONNOR, JOHN M           1722 E HAMILTON AVE                                                                    FLINT                 MI 48506‐4402
O CONNOR, JOHN T           3108 BRADWAY BLVD                                                                      BLOOMFIELD            MI 48301‐2504
O CONNOR, JOSEPH T         323 OLD ROUTE 55                                                                       POUGHQUAG             NY 12570‐5838
O CONNOR, KATHLEEN F       33636 KRAUTER ST                                                                       WESTLAND              MI 48185‐3052
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Name                      Address1                     Address2              Address3         Address4         City                  State Zip
O CONNOR, KATHLEEN L      601 VIA PRESA                                                                        SAN CLEMENTE           CA 92672‐9479
O CONNOR, MARY J          7 BLAINE AVE                                                                         WORCESTER              MA 01603‐1402
O CONNOR, MICHAEL J       22010 COOLIDGE HWY                                                                   OAK PARK               MI 48237‐2849
O CONNOR, NEAL E          300 WOODHAVEN DR APT 1301                                                            HILTON HEAD ISLAND     SC 29928‐7514
O CONNOR, PATRICIA M      3212 SUNCREST VILLAGE LN                                                             RALEIGH                NC 27616‐9034
O CONNOR, PATRICK A       637 PELTON AVE                                                                       STATEN ISLAND          NY 10310‐3009
O CONNOR, PAUL R          195 COLONIAL DR                                                                      GRAND ISLAND           NY 14072‐1838
O CONNOR, RAYMOND J       1 RYLAND PL                                                                          PALM COAST             FL 32164‐6415
O CONNOR, RICHARD D       1425 SEMINARY VIEW DR                                                                CENTERVILLE            OH 45458‐2920
O CONNOR, ROBERT J        4512 KELLY GREEN ST                                                                  SHAWNEE                OK 74804‐1453
O CONNOR, ROBERT W        5153 MANGROVE DR                                                                     SAGINAW                MI 48603‐1143
O CONNOR, ROSEMARY        11522 E LANSING RD                                                                   DURAND                 MI 48429‐9745
O CONNOR, SANDRA D        1364 YUKON WAY APT 48                                                                NOVATO                 CA 94947‐4558
O CONNOR, SUE             25 WHITNEY CIRCLE            APT 25                                                  AUBURN                 MA 01501
O CONNOR, SUZANNE C.      3294 GORSE CT                                                                        PALM HARBOR            FL 34684‐3407
O CONNOR, TERRENCE J      735 DELAWARE RD #173                                                                 TONAWANDA              NY 14223
O CONNOR, THOMAS M        7848 RUBY ST                                                                         UTICA                  MI 48317‐5346
O CONNOR, TODD A          10007 STONEHAVEN DR                                                                  SHREVEPORT             LA 71118‐4533
O CONNOR, VERONICA        16843 RIVERSIDE DR                                                                   TINLEY PARK             IL 60477‐2890
O CONNOR, WILLIAM F       3199 BROOKSIDE DR                                                                    WATERFORD              MI 48328‐2596
O CONNOR, WILLIAM F       1005 E RIVER RD                                                                      FLUSHING               MI 48433‐2224
O CONNOR, WILLIAM H       6 OVERHILL RD                                                                        STANHOPE               NJ 07874‐2861
O CONNOR, WILLIAM J       24 LAKEVIEW DR                                                                       MULBERRY               FL 33860‐9393
O CONNORS EXPRESS         506 UNDERWOOD AVE                                                                    ELMIRA                 NY 14905‐1337
O CURTIS                  8534 PARK LN                                                                         SAINT LOUIS            MO 63147‐1336
O D M TOOL & MFG CO INC   EMILY FLEMING                9550 JOLIET ROAD                                        CORUNNA                MI 48817
O D ROBINSON              1536 HICKORY GLEN DR                                                                 MIAMISBURG             OH 45342‐2012
O D TRENT                 556 S GEBHART CHURCH RD                                                              MIAMISBURG             OH 45342‐3924
O DANIELL, JEAN M         7890 E SPRING STREET #19 K                                                           LONG BEACH             CA 90815
O DASKEVICIUS             7254 S TROY ST                                                                       CHICAGO                 IL 60629‐3042
O DAY, SHIRLEY L          PO BOX 964                                                                           PARIS                   IL 61944
O DEA, EDWARD J           285 GREVE DR                                                                         NEW MILFORD            NJ 07646‐1512
O DEA, EDWARD M           85 BARRETT LN                                                                        WYCKOFF                NJ 07481‐3411
O DEA, EUGENE M           1648 BELGRADE SWANSBORO RD                                                           MAYSVILLE              NC 28555‐9604
O DEA, JAMES F            13060 N LINDEN RD                                                                    CLIO                   MI 48420‐8206
O DEA, JOHN M             2500 MANN RD LOT 131                                                                 CLARKSTON              MI 48346‐4249
O DEA, JOSEPH W           4244 SPRINGFIELD ST                                                                  BURTON                 MI 48509‐1784
O DEA, LOIS               1162 PARKWOOD BLVD                                                                   SCHENECTADY            NY 12308
O DEA, NICHOLAS D         PO BOX 307                                                                           CLARKSTON              MI 48347‐0307
O DEAL GONZALES JR        907 KETTERING AVE                                                                    PONTIAC                MI 48340‐3256
O DELL JR, CLAUDE E       10 HENDAYE LN                                                                        HOT SPRINGS VILLAGE    AR 71909‐7804
O DELL SNACKS & VENDING   702 W KALAMAZOO ST                                                                   LANSING                MI 48915‐1609
O DELL, CARRIE F          5480 BAKER RD                                                                        BRIDGEPORT             MI 48722‐9593
O DELL, DELORES M         11761 SUNDROP CIR                                                                    ALLENDALE              MI 49401‐8446
O DELL, DENNIS M          49 WOODSON BEND RESORT                                                               BRONSTON               KY 42518‐9728
O DELL, DENNIS W          8245 BEEMAN RD                                                                       CHELSEA                MI 48118‐9443
O DELL, ERNEST D          111 N PENNSYLVANIA AVE                                                               BROOKFIELD             MO 64628‐1538
O DELL, FRANKLIN D        1282 JUNCTION DR                                                                     SPARKS                 NV 89434‐4022
O DELL, FREDRICK L        1006 BUTLER DR                                                                       ATHENS                 AL 35611‐1302
O DELL, GARY A            1200 E FREELAND RD                                                                   MERRILL                MI 48637
O DELL, GRACE E           222 W MORRIS AVE APT 3                                                               LINDEN                 NJ 07036‐4321
O DELL, JOANNE E          1183 GLENNIE ST                                                                      MIO                    MI 48647‐9408
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Name                      Address1                       Address2              Address3         Address4         City             State Zip
O DELL, LAWRENCE          389 STEWART WILSON RD                                                                  TELLICO PLAINS    TN 37385‐5393
O DELL, MARILYN           806 E MILLER RD                                                                        PAYSON            AZ 85541‐4943
O DELL, MARION S          314 FAIRVIEW RD                                                                        CROSSVILLE        TN 38571‐3751
O DELL, MARJORIE L        4635 HEATHERBROOK DR                                                                   TROY              MI 48098‐4666
O DELL, PAUL T            PO BOX 37                                                                              PRESQUE ISLE      MI 49777‐0037
O DELL, ROGER P           2709 NE 68TH ST                                                                        GLADSTONE         MO 64119‐1125
O DELL, THERESA A         3223 GREEN TURTLE DR                                                                   DAYTON            OH 45414‐1731
O DELL, WILLIAM C         733 ERCAMA ST                                                                          LINDEN            NJ 07036‐5725
O DELL, WILLIAM L         6155 GARRISON RD                                                                       DURAND            MI 48429‐9723
O DESS, N. B              7232 SARAH ST APT 3‐6                                                                  SAINT LOUIS       MO 63143‐2434
O DIXON                   525 N 500 W                                                                            ANDERSON          IN 46011‐1477
O DOHERTY, CAROL A        34629 SPRING VALLEY DR                                                                 WESTLAND          MI 48185‐9461
O DONNEL, ALFRED S        15010 SCENIC DR                                                                        CASNOVIA          MI 49318‐9630
O DONNELL III, THOMAS P   3868 MCCARTY DR                                                                        CANFIELD          OH 44406‐9352
O DONNELL JR, CON J       1973 N AUSTIN DR                                                                       FAYETTEVILLE      AR 72703‐2739
O DONNELL SHARYL          1020 EMERSON ST                                                                        UPLAND            CA 91784‐1237
O DONNELL, ELSIE P        121 E WALNUT ST                                                                        CHATSWORTH        GA 30705‐2547
O DONNELL, GERTRUDE       31 BEE ST                                                                              MERIDEN           CT 06450‐4731
O DONNELL, HARRY M        7 MURDOCK CT                                                                           FORDS             NJ 08863‐1227
O DONNELL, JAMES P        4385 SLY CT                                                                            BLOOMFIELD        MI 48301‐2951
O DONNELL, JOSEPH         4977 YOUNG DR                                                                          PITTSBURGH        PA 15227‐3744
O DONNELL, KENITH C       5740 FOREST GREEN DR                                                                   PERRY             MI 48872‐9197
O DONNELL, LINDA G        128 SEABURY RD                                                                         BOLINGBROOK        IL 60440‐2410
O DONNELL, PATRICIA A     7 FRANCINE DR                                                                          ROCHESTER         NY 14606‐3342
O DONNELL, PAUL B         118 ARONIMINK DR                                                                       NEWARK            DE 19711‐3834
O DONNELL, PEARL E        81 HIGHWAY 54                                                                          MONTEVALLO        AL 35115‐7298
O DONNELL, THOMAS N       9104 S FRONT NINE DR                                                                   BLOOMINGTON       IN 47401‐8147
O DONOHUE LAURA           119 CANDLELITE DR                                                                      INGRAM            TX 78025‐3403
O DRISCOLL, GRACE         10 RIPLEY LN                                                                           BELMAR            NJ 07719‐2922
O DRISCOLL, HERBERT V     44‐14 NEWTOWN ROAD                                                                     ASTORIA           NY 11103
O DWYER, ANNA A           410 E TERACE TRAIL                                                                     KANSAS CITY       KS 66106
O FARRILL, PEDRO          PO BOX 3008                                                                            GUTTENBERG        NJ 07093‐6008
O FEE, VIRGINIA           34 21 62 STREET                                                                        WOODSIDE          NY 11377
O FLAHERTY, DENNIS M      46665 DARWOOD CT                                                                       PLYMOUTH          MI 48170‐3473
O FLANAGAN MARY           2497 SE 8TH ST                                                                         POMPANO BEACH     FL 33062‐6735
O FLYNN, MICHAEL L        19805 FREELAND ST                                                                      DETROIT           MI 48235‐1581
O FOLK                    113 NOTTINGHAM DR                                                                      WILLINGBORO       NJ 08046‐1922
O GILVIE TAMARA           9649 PINEAPPLE PRESERVE CT                                                             FORT MYERS        FL 33908‐9725
O GRADY EDWARD            3 FOSTER AVE                                                                           WOBURN            MA 01801
O GRADY, HILARY F         8066 VANDEN DR                                                                         WHITE LAKE        MI 48386‐2547
O GRADY, MICHAEL F        39190 CLEARVIEW ST                                                                     HARRISON TWP      MI 48045‐1821
O GRADY, PETER T          678 PARK AVE                                                                           LINCOLN PARK      MI 48146‐2626
O GRADY, ROBERT           12519 W MESA VERDE DR                                                                  SUN CITY WEST     AZ 85375‐4261
O GRADY, RONALD L         2451 WHITNEY AVE                                                                       NIAGARA FALLS     NY 14301‐1429
O GRAYS                   2800 LOWELL AVE                                                                        SAGINAW           MI 48601‐3914
O GRIFFIN                 PO BOX 66                                                                              BARNEY            GA 31625‐0066
O GUIN, GEORGE P          3753 OAKVIEW RD                                                                        WATERFORD         MI 48329‐1846
O GUIN, KELLY A           7416 VIEW CT                                                                           WATERFORD         MI 48327‐3793
O GUIN, LOUELLA J         3753 OAKVIEW RD                                                                        WATERFORD         MI 48329‐1846
O GWIN, ROY               45520 CHALET DR                                                                        BAY MINETTE       AL 36507‐7439
O HAGAN SPENCER LLC       6806 PARAGON PLACE STE 420                                                             RICHMOND          VA 23230
O HAGAN, TERRENCE P       PO BOX 25061                                                                           PHOENIX           AZ 85002‐5061
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Name                           Address1                       Address2              Address3        Address4         City                  State Zip
O HAIR, ROLAND S               1067 DAYS RD                                                                          LAFAYETTE              TN 37083‐1035
O HALLORAN, LUKE F             8 TENNYSON AVE                                                                        DOVER                  NH 03820‐4120
O HAMILTON                     64 SHARON AVE                                                                         COURTLAND              AL 35618‐3952
O HAMM JR                      3460 HAWTHORNE DR                                                                     FLINT                  MI 48503‐4649
O HANDLEY, W A                 641 W MAIN ST APT 312                                                                 MADISON                WI 53703‐4712
O HARA CHRIS                   7153 WHITE OAK BLVD                                                                   MOUNT MORRIS           MI 48458‐9321
O HARA CORP/FRASER             33254 GROESBECK HWY                                                                   FRASER                 MI 48026‐1597
O HARA ELAINE                  15100 BRUNSWICK AVE                                                                   CLEVELAND              OH 44137‐3826
O HARA ENTERPRISES INC         DBA ALPHAGRAPHICS              801 HAMILTON STREET                                    ALLENTOWN              PA 18101
O HARA FRANCIS                 18 PENDER ST                                                                          WEST ROXBURY           MA 02132‐3210
O HARA JR, H R                 C/O LAURA S O'HARA             11155 SE 59TH ST                                       BELLEVUE               WA 98006‐2605
O HARA MICHAEL                 2515 N POLMYRO RD                                                                     CANFIELD               OH 44406
O HARA TERESA                  219 DELLFIELD LN                                                                      GAHANNA                OH 43230‐3222
O HARA WENDIE                  LEGO LAB TEAM                  544 MEADOWBRIAR RD                                     ROCHESTER              NY 14616‐1118
O HARA, DANIEL E               10910 MORTENVIEW DR                                                                   TAYLOR                 MI 48180‐3771
O HARA, EUGENE R               510 GREENVIEW DR                                                                      NORTHAMPTON            PA 18067‐1969
O HARA, FLORENCE R             7147 SONORA AVE                                                                       NEW PORT RICHEY        FL 34653‐4043
O HARA, JAY E                  17462 DORIS ST                                                                        LIVONIA                MI 48152‐3481
O HARA, JOHN G                 5505 N OCEAN BLVD              APT LANCASTER 9‐105                                    OCEAN RIDGE            FL 33435
O HARA, MARY A                 402 E SUGAR BAY LN                                                                    CEDAR                  MI 49621‐9724
O HARA, W J                    424 HATTERTOWN RD                                                                     MONROE                 CT 06468‐1019
O HARE DEAN                    1319 THE PLAZA                                                                        CHARLOTTE              NC 28205‐3427
O HARE, BETTY J                121 OLD SETTLERS DR                                                                   BASTROP                TX 78602‐3572
O HAVER, DELORIS A             3598 POTATO FARM RD                                                                   CROSSVILLE             TN 38571‐0790
O HEAR, BRIAN L                38138 MOUNT KISCO DR                                                                  STERLING HEIGHTS       MI 48310‐3421
O HEAR, BRIAN L.               38138 MOUNT KISCO DR                                                                  STERLING HEIGHTS       MI 48310‐3421
O HEARN, EARL D                18776 50TH AVE                                                                        BARRYTON               MI 49305‐9751
O HEARN, WENONA H              4929 SHORELINE BLVD                                                                   WATERFORD              MI 48329‐1663
O HEREN, JON D                 481 PRESIDENTIAL CT                                                                   YOUNGSTOWN             OH 44512‐4759
O HERRON, EDMUND J             178 WESTWOOD LANE                                                                     WAYZATA                MN 55391‐1543
O HORA ELLEN                   15 CHELSEA COURT                                                                      GLEN MILLS             PA 19342‐1786
O HORA, ANNA J                 10901 WORRELL RD                                                                      KIRTLAND               OH 44094‐9414
O J ROUDEBUSH                  130 S HARRIS RD                                                                       YPSILANTI              MI 48198‐5934
O J TRANSPORT CO INC           4005 W FORT ST                                                                        DETROIT                MI 48209‐3223
O JONES                        20611 BALFOUR ST APT 1                                                                HARPER WOODS           MI 48225
O K & MARGARET L JOYNER        928 DITCHLEY RD                                                                       VIRGINIA BEACH         VA 23451
O K TRUCKING CO                PO BOX 2177                                                                           SAN LEANDRO            CA 94577‐0217
O KANE, JAMES C                48431 BEN FRANKLIN DR                                                                 SHELBY TWP             MI 48315‐4021
O KEEFE JR, JOHN F             760 JACQUELINE CT                                                                     TOMS RIVER             NJ 08753‐5695
O KEEFE KURT A AND             FERMIN LABARCENA               1593 TORREY RD                                         GROSSE POINTE WOODS    MI 48236‐2330
O KEEFE MATTHEW J              PO BOX 891                                                                            ROLLA                  MO 65402‐0891
O KEEFE, DENNIS J              76 PARKWAY RD                                                                         BRONXVILLE             NY 10708‐3017
O KEEFE, DENNIS P              1440 SOUTHWESTERN BLVD APT 1                                                          WEST SENECA            NY 14224‐4475
O KEEFE, JOSEPH D              1448 BEAUMONT CIR                                                                     FLUSHING               MI 48433‐1872
O KEEFE, PATRICK D             25720 SOMERSET RD                                                                     PAOLA                  KS 66071‐8413
O KEEFE, RONALD C              27656 LEGGTOWN RD                                                                     ELKMONT                AL 35620‐6910
O KEEFE, RONALD W              26324 GROVELAND ST                                                                    MADISON HTS            MI 48071‐3604
O KEEFE, STEVE J               21315 NALL AVE                                                                        BUCYRUS                KS 66013‐9505
O KEEFE, THOMAS P              3700 BAL HARBOR BLVD APT 103                                                          PUNTA GORDA            FL 33950‐8256
O KEEFE, WILLIAM J             4461 BERKSHIRE DR                                                                     STERLING HEIGHTS       MI 48314‐1217
O KELLER TOOL ENGINEERING CO   12701 INKSTER RD                                                                      LIVONIA                MI 48150‐2216
O KLINE                        15221 KENTON AVE                                                                      OAK FOREST              IL 60452‐2419
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Name                            Address1                         Address2               Address3       Address4         City                  State Zip
O KRESIK LAWRENCE               699 GREENFIELD RD                                                                       MERCER                 PA 16137‐2605
O KRESIK, LAWRENCE M            699 GREENFIELD RD                                                                       MERCER                 PA 16137‐2605
O KWON                          6723 COLLEGE PARK                                                                       CLARKSTON              MI 48346‐1067
O LALDE, SALVADOR               1284 E LOCKWOOD RD                                                                      PORT CLINTON           OH 43452‐9645
O LAUGHLIN, RONALD M            3339 OLD KAWKAWLIN RD                                                                   BAY CITY               MI 48706‐1679
O LEAR, DOROTHY M               10820 CENTER RD                                                                         GRAND BLANC            MI 48439‐1035
O LEARY BARB                    35351 ERIE DR                                                                           BROWNSTOWN TOWNSHIP    MI 48173‐9672

O LEARY JACK M                  5250 MILWAUKEE RD                                                                       TECUMSEH              MI   49286‐9695
O LEARY, ARTHUR                 3381 OLD LAKEVIEW RD                                                                    HAMBURG               NY   14075‐6142
O LEARY, BARBARA L              8652 RUSHSIDE DR                                                                        PINCKNEY              MI   48169‐9164
O LEARY, DELORES                38539 GRANDON ST                                                                        LIVONIA               MI   48150‐3385
O LEARY, FLORENCE M             2980 S BONAPARTE ST                                                                     CHICAGO               IL   60608‐5515
O LEARY, JAMES W                9182 FRANCES RD                                                                         OTISVILLE             MI   48463‐9411
O LEARY, JAMES WILLIAM          9182 FRANCES RD                                                                         OTISVILLE             MI   48463‐9411
O LEARY, JOHN W                 2030 CHARTER AVE                                                                        PORTAGE               MI   49024‐4944
O LEARY, MARY J                 717 WAVELAND RD                                                                         JANESVILLE            WI   53548‐6716
O LEARY, MICHAEL O              7200 E EVANS AVE APT 120                                                                DENVER                CO   80224‐2441
O LEARY, ROBERT E               8832 TWIN LAKE RD NE                                                                    MANCELONA             MI   49659‐8998
O LEARY, SUSAN T                5 RESOVOIR CIRCLE                                                                       BRAINTREE             MA   02184
O LEARY, TERRANCE J             8691 DEADSTREAM RD                                                                      HONOR                 MI   49640‐9771
O LONG JR                       PO BOX 232                                                                              CHARLESTON            MO   63834‐0232
O M F TRUCKING INC              125 CANNERY RD                                                                          WHITESBURG            TN   37891
O M VIMERCATI                   C/O MICHIGAN TECHNICAL SERVICE   32036 EDWARDS STREET                                   MADISON HEIGHTS       MI   48071
O MALIA, FRANK W                478 SAINT JOHNS RD                                                                      FREDONIA              PA   16124‐1320
O MALLEY MICHAEL                1921 JOSIE AVENUE                                                                       LONG BEACH            CA   90815‐3434
O MALLEY, EDDIE L               44 TIGHT BARK RD                                                                        PETERSBURG            TN   37144
O MALLEY, HARRIET               1821 INNERCIRCLE DR                                                                     CREST HILL            IL   60403‐2309
O MALLEY, MARY ALICE            117 RENFREW AVE                                                                         MOUNT MORRIS          MI   48458‐8894
O MALLEY, PATRICK W             2814 MILLBROOK RD                                                                       LITTLE ROCK           AR   72227‐3038
O MALLEY, R M
O MALLEY, RALPH J               5401 DOOLEY DRIVE                                                                       LINDEN                MI   48451‐8901
O MALLEY, SANDRA M              3710 PARKMAN ROAD NW                                                                    SOUTHINGTON           OH   44470
O MARA MOHAMED                  266 RARITAN CENTER PKWY                                                                 EDISON                NJ   08837‐3610
O MARA, ALBERT J                14118 SHOAL DR                                                                          HUDSON                FL   34667‐8051
O MATTHEWS JR                   PO BOX 1092                                                                             SAGINAW               MI   48606‐1092
O MAX SLOAN & MILDRED E SLOAN   629 N FISHER ST UNIT B‐101                                                              KENNEWICK             WA   99336‐2500
O MCDANIEL JR                   4209 ROSEWOOD AVE                                                                       RICHMOND              CA   94804‐4476
O MEALIA, JEAN                  214 LONGVIEW AVE                                                                        HASBROUCK HEIGHTS     NJ   07604‐2313
O MEARA, CHARLES E              4410 SNOWSHOE LN                                                                        RENO                  NV   89502‐6431
O MEARA, GERALD E               867 AUGUSTA DR                                                                          ROCHESTER HILLS       MI   48309‐1533
O MEARA, MARTIN M               875 ROLLING HILLS LN APT 1                                                              LAPEER                MI   48446‐4779
O MELIA, EDWARD J               PO BOX 125                                                                              LAKE HARMONY          PA   18624‐0125
O MELVENY & MYERS LLP           TIMES SQUARE TOWER               7 TIMES SQUARE                                         NEW YORK              NY   10036
O MINCEY                        23610 EMILS DR                                                                          BROWNSTOWN            MI   48174‐9647
O MORE COLLEGE OF DESIGN INC    423 S MARGIN ST                                                                         FRANKLIN              TN   37064‐2816
O MURPHY                        19203 N 29TH AVE LOT 121                                                                PHOENIX               AZ   85027‐4932
O NEAL BURRELL                  2159 COUNTRYWOOD DR SE                                                                  KENTWOOD              MI   49508‐5028
O NEAL JR, THEODORE             20231 STOUT ST                                                                          DETROIT               MI   48219‐1427
O NEAL YATES                    PO BOX 2336                                                                             DETROIT               MI   48202‐0336
O NEAL, CECELIA                 17469 PLAZA DEL CURTIDOR #202                                                           SAN DIEGO             CA   92128
O NEAL, EARMA                   19970 BRAILE ST                                                                         DETROIT               MI   48219‐2031
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Name                        Address1                       Address2                 Address3      Address4         City            State Zip
O NEAL, EVELYN R            43 RATHBONE ST                                                                         MOUNT CLEMENS    MI 48043‐5959
O NEAL, FORESTINA           5575 NEWPORT ST                                                                        DETROIT          MI 48213‐3742
O NEAL, FORESTINA           5575 NEW PORT                                                                          DETROIT          MI 48213‐3742
O NEAL, GARY R              9067 SUNSET BLFS                                                                       CLARKSTON        MI 48348‐2589
O NEAL, GENOVA              2467 ROANOKE DR                                                                        YPSILANTI        MI 48197‐7456
O NEAL, JAMES K             337 S MAIN ST                                                                          OREGON           WI 53575‐1538
O NEAL, KATHRYN L           PO BOX 493                                                                             ARDMORE          TN 38449‐0493
O NEAL, KENNETH A           5934 S WOOD ST                                                                         CHICAGO           IL 60636‐1609
O NEAL, LAWRENCE E          52 MICHIGAN AVE                                                                        PONTIAC          MI 48342‐2734
O NEAL, LINDA D             14268 CLOVERLAWN ST                                                                    DETROIT          MI 48238‐2430
O NEAL, MAGGIE J            1216 WESTWOOD DR                                                                       FLINT            MI 48532‐2663
O NEAL, NANCY F             52 MICHIGAN AVE                                                                        PONTIAC          MI 48342‐2734
O NEAL, SHERRY E            4027 KING ARTHUR PL                                                                    COLUMBUS         GA 31907‐1131
O NEAL, THELMA F            4899 HARVARD DR                                                                        GENEVA           OH 44041
O NEAL, VERNA               1715 MORAN AVE                                                                         LINCOLN PARK     MI 48146‐3855
O NEAL, VERNA               1715 MORAN                                                                             LINCOLN PARK     MI 48146‐3855
O NEAL, WILLIAM             2259 QUINDARO BLVD                                                                     KANSAS CITY      KS 66104‐4533
O NEAL, WILLIE              19327 MONTROSE ST                                                                      DETROIT          MI 48235‐2312
O NEIL BUICK GMC            869 W STREET RD                                                                        WARMINSTER       PA 18974‐3126
O NEIL JR, WILLIS F         13380 RIDGE RD                                                                         N HUNTINGDON     PA 15642‐2161
O NEIL, CAROL S             14532 DEBBIE DR                                                                        STERLING HTS     MI 48313‐4314
O NEIL, CHRISTINA F         61334 HERITAGE BLVD                                                                    SOUTH LYON       MI 48178‐1034
O NEIL, DOLORES M           472 TREMAINE AVE                                                                       KENMORE          NY 14217‐2538
O NEIL, DONNA M             5452 25TH AVE S                                                                        MINNEAPOLIS      MN 55417‐1946
O NEIL, EDWARD P            4646 KINGSTON ST                                                                       DEARBORN HTS     MI 48125‐3242
O NEIL, FRANK M             8385 SW 109TH ST                                                                       OCALA            FL 34481‐9745
O NEIL, HAZEL B             26436 BERTRAM RD                                                                       BROOKSVILLE      FL 34602‐7167
O NEIL, JOHN F              2740 PTARMIGAN DR APT 4                                                                WALNUT CREEK     CA 94595‐3121
O NEIL, JOSEPH M            1889 WINDING BROOK WAY                                                                 SCOTCH PLAINS    NJ 07076‐4717
O NEIL, JULIETTE T          110 WEMBLY ROAD                                                                        ROCHESTER        NY 14616‐4616
O NEIL, JULIETTE T          110 WEMBLY RD                                                                          ROCHESTER        NY 14616‐2404
O NEIL, MARJORIE A          1357 43RD AVE UNIT 37                                                                  GREELEY          CO 80634‐2408
O NEIL, MARTHA R            901 HURON ST                                                                           FLINT            MI 48507‐2554
O NEIL, PHILIP C            1024 S GRINNELL ST                                                                     JACKSON          MI 49203‐2976
O NEIL, RAYMOND A           10610 CORINTHIAN DR                                                                    STONE HARBOR     NJ 08247‐1235
O NEIL, RUSSELL R           913 HEATHER GLENN TRR                                                                  NORMAN           OK 73072
O NEIL, WALTER G            10459 GREENWOOD RD                                                                     GLADWIN          MI 48624‐9119
O NEILL DONNA               APT 312                        5445 CARUTH HAVEN LANE                                  DALLAS           TX 75225‐8144
O NEILL JOAN                2011 SUNDERLAND RD                                                                     MAITLAND         FL 32751‐3532
O NEILL JOHANNA ESTATE OF   18931 INKSTER RD                                                                       LIVONIA          MI 48152‐3876
O NEILL JR, NARCISO         727 SAN YSIDRO BLVD APT415                                                             SAN YSIDRO       CA 92173
O NEILL JR., LEONARD O      25 DOVER CLIFF WAY                                                                     ALPHARETTA       GA 30022‐3202
O NEILL, ANNETTE            73 GLENBRIAR DRIVE                                                                     ROCHESTER        NY 14616‐4616
O NEILL, BRIAN J            15880 INTERURBAN RD                                                                    PLATTE CITY      MO 64079‐9185
O NEILL, CHERYL J           205 E LOS FELIZ RD                                                                     GLENDALE         CA 91205‐3118
O NEILL, EDWARD M           PO BOX 232                                                                             GROVER           MO 63040‐0232
O NEILL, GREGORY M          GM BLDG ROOM 3‐220 (EGYPT)                                                             DETROIT          MI 48202
O NEILL, JAMES A            4575 LONSBERRY RD                                                                      COLUMBIAVILLE    MI 48421‐9148
O NEILL, JAMES C            16224 FIVE POINTS ST                                                                   DETROIT          MI 48240‐2407
O NEILL, JOAN M             727 PETTIBONE AVE                                                                      FLINT            MI 48507‐1759
O NEILL, JOAN M             727 PETTIBONE                                                                          FLINT            MI 48507‐1759
O NEILL, JOHN J             1946 EAST MAIN ST # 12                                                                 ROCHESTER        NY 14609‐7572
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Name                             Address1                          Address2              Address3         Address4         City             State Zip
O NEILL, JOHN J                  1946 E MAIN ST APT 12                                                                     ROCHESTER         NY 14609‐7572
O NEILL, KAZUKO                  5191 BROKEN ARROW DR N                                                                    JACKSONVILLE      FL 32244‐2270
O NEILL, LUCILLE                 2056 CLARENCE AVE                                                                         LAKEWOOD          OH 44107‐6204
O NEILL, MARGARET M              17256 VILLAGE DR                                                                          REDFORD           MI 48240‐1694
O NEILL, MARIA E                 2556 RICHARD ST                                                                           DETROIT           MI 48209‐1035
O NEILL, MARK J                  2502 GREEN ACRES DR                                                                       GRAND BLANC       MI 48439‐8150
O NEILL, MARK JOHN               2502 GREEN ACRES DR                                                                       GRAND BLANC       MI 48439‐8150
O NEILL, MICHAEL A               1110 W FAIRWAY RD                                                                         PEMBROKE PINES    FL 33026‐3038
O NEILL, MICHAEL C               84 ALBERT DR                                                                              LANCASTER         NY 14086‐2802
O NEILL, PATRICK                 49 STANFORD DR                                                                            HAZLET            NJ 07730‐2313
O NEILL, REBECCA A               4598 CABBAGE POND DR                                                                      JACKSONVILLE      FL 32257‐3399
O NEILL, ROBERT B                5505 WALLING DR                                                                           WATERFORD         MI 48329‐3264
O NEILL, THOMAS J                87 PHYLLIS LN                                                                             MANAHAWKIN        NJ 08050‐4141
O NEILL, WILLIAM B               PO BOX 788                        14530 JAMAICA LANE                                      HELENDALE         CA 92342‐0788
O NEILL, WILLIAM J               287 LARCHLEA DR                                                                           BIRMINGHAM        MI 48009‐4412
O NETTER JR                      207 E JESSAMINE ST                                                                        FITZGERALD        GA 31750‐2919
O OLSON                          514 E BASIN RD                                                                            NEW CASTLE        DE 19720‐4217
O P C FOUNDATION                 16101 N 82ND ST STE 3B                                                                    SCOTTSDALE        AZ 85260‐1868
O P DEVELOPMENT CORP             28TH FLOOR                        708 THIRD AVE                                           NEW YORK          NY 10017
O PERRY                          6214 LEBEAU ST                                                                            MOUNT MORRIS      MI 48458‐2728
O QUIN, JESS                     PO BOX 5177                                                                               HUDSON            FL 34674
O QUIN, JESS                     PO BOX 272144                                                                             TAMPA             FL 33688‐2144
O R'S AUTO REPAIR                1294 N MARKET ST                                                                          SHREVEPORT        LA 71107‐6636
O RAWE, BARBARA M                51 LINDBERGH COURT                                                                        CHEEKTOWAGA       NY 14225‐4119
O RAWE, BARBARA M                51 LINDBERGH CT                                                                           CHEEKTOWAGA       NY 14225‐4119
O REAR J THARP                   130 MACREADY AVE                                                                          DAYTON            OH 45404‐2107
O REAR THARP                     130 MACREADY AVE                                                                          DAYTON            OH 45404‐2107
O REAR, DANNY M                  24524 BARNES RD                                                                           ARDMORE           AL 35739
O REILLY & DANKO TRUST ACCOUNT   1900 O FARRELL STREET SUITE 360                                                           SAN MATEO         CA 94403
O REILLY JR, EDWARD F            42 OCEAN PALM VILLA S                                                                     FLAGLER BEACH     FL 32136‐4201
O REILLY, LAWRENCE P             4905 STONY CREEK RD                                                                       URBANA            OH 43078‐8455
O RIORDAN, DANIEL E              2391 WESTCHESTER BLVD                                                                     SPRING HILL       FL 34606‐3652
O ROARK, NORMA J                 2458 SW MARQUIS TER               ST LUCIE FALLS                                          STUART            FL 34997‐1323
O ROBINSON                       1536 HICKORY GLENN DR                                                                     MIAMISBURG        OH 45342‐2012
O ROURKE JR, JAMES C             8841 HARVEY ST                                                                            LIVONIA           MI 48150‐3516
O ROURKE, BARBARA A              22097 TREDWELL AVE                                                                        FARMINGTON HLS    MI 48336‐3868
O ROURKE, BRIAN P                1061 W TOBIAS RD                                                                          CLIO              MI 48420‐1770
O ROURKE, CATHERINE              14591 MERCURY DR                                                                          GRAND HAVEN       MI 49417‐8741
O ROURKE, CONSTANCE M            2704 S CHASE DR                                                                           SPRINGFIELD        IL 62704‐6450
O ROURKE, DANIEL J               19676 TELEGRAPH RD                                                                        DETROIT           MI 48219‐1624
O ROURKE, DENNIS M               10105 GOLFSIDE DR                                                                         GRAND BLANC       MI 48439‐9417
O ROURKE, GREGORY G              1471 MALLARD DR                                                                           BURTON            MI 48509‐1554
O ROURKE, JOAN F                 4277 159TH CT W                                                                           ROSEMOUNT         MN 55068‐1576
O ROURKE, MARY                   4261 WEST GARDEN TERRACE                                                                  VERO BEACH        FL 32967‐1803
O ROURKE, MENA S                 1028 BRYCE LN                                                                             VIRGINIA BEACH    VA 23464‐4501
O ROURKE, ROBERT E               2411 MILLINGTON RD                                                                        SILVERWOOD        MI 48760‐9507
O ROURKE, SOPHIE B               1225 UNIVERSITY DR                                                                        PONTIAC           MI 48342‐1875
O ROURKE, THOMAS F               4857 HUBBARD DR                                                                           TROY              MI 48085‐5016
O ROURKE, WILMA I                129 APPLE LANE DR                                                                         MIDDLETOWN        NY 10940‐6977
O S SALESCO                      11030 O ST                                                                                OMAHA             NE 68137‐2346
O S WALKER CO INC                17 ROCKDALE ST                                                                            WORCESTER         MA 01606‐1921
O SHANA HIRMIZ                   8451 SAN LEANDRO ST                                                                       OAKLAND           CA 94621
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Name                            Address1                       Address2              Address3         Address4         City                 State Zip
O SHAUGHNESSY, ALAN J           45330 STONEHEDGE DR                                                                    PLYMOUTH              MI 48170‐3991
O SHAUGHNESSY, ALVIN C          11745 BRANDYWINE DR                                                                    BRIGHTON              MI 48114‐9011
O SHAUGHNESSY, PATRICK          4506 WILLOW BEND COURT                                                                 CHINO HILLS           CA 91709‐3396
O SHEA, BONNIE LYNN             58 GREAT OAK LN                                                                        PLEASANTVILLE         NY 10570‐2011
O SHEA, JAMES G                 30624 DOVER AVE                                                                        WARREN                MI 48088‐3169
O SHEA, JEANNE R                9314 RIDGE RD                                                                          MIDDLEPORT            NY 14105‐9713
O SHEA, JERRY T                 980 WILMINGTON AVE. APT 823                                                            DAYTON                OH 45420‐1623
O SHEA, MARTIN T                5600 MEADOW DR                                                                         HAMBURG               NY 14075‐6946
O SHEA, MIKE C                  21613 ROSEDALE ST                                                                      ST CLAIR SHRS         MI 48080‐3558
O SHENSKY, CARL A               30 PORTER HILL RD                                                                      ITHACA                NY 14850‐9342
O SHEPHERD                      693 FIELDING LN SW                                                                     ATLANTA               GA 30311‐2024
O SHESKY, EDWARD J              2734 MANLEY DR                                                                         LANSING               MI 48910‐3724
O SHIELDS, FRED C               5873 MEADOW VIEW LN                                                                    FLOWERY BRANCH        GA 30542‐2735
O SHOUP                         1214 RUNAWAY BAY DR            APT 1A                                                  LANSING               MI 48917‐8902
O SHRABLE                       PO BOX 2346                    HIGHWAY 139                                             PARAGOULD             AR 72450
O SIMMONS                       274 PIPER BLVD                                                                         DETROIT               MI 48215‐3036
O STANDOAK                      623 E DARTMOUTH ST                                                                     FLINT                 MI 48505‐4341
O STEEN JR, ERNEST A            4128 FOUNTAINBLEAU DR                                                                  NEW ORLEANS           LA 70125
O STEEN, ANN E                  21895 MADA AVE                                                                         SOUTHFIELD            MI 48075‐7506
O STEPHENS TRUCKING CO INC      1185 POPLAR GROVE RD                                                                   FLEMINGSBURG          KY 41041‐7507
O SUCH DAVID                    26761 ROBLEDA CT                                                                       LOS ALTOS HILLS       CA 94022‐3492
O SUCH, FRANCIS                 1331 EAGLES NEST CT                                                                    STEWARTSVILLE         NJ 08886‐2925
O SULLIVAN, ELLEN M             790 W BARRYMORE DR                                                                     BEVERLY HILLS         FL 34465‐4766
O SULLIVAN, PATRICIA A          25225 RAMPART BLVD APT 207                                                             PUNTA GORDA           FL 33983‐6410
O SULLIVAN, ROBERT D            69 SAINT FELIX AVE                                                                     BUFFALO               NY 14227‐1223
O SULLIVAN, SHEILA              22933 HOFFMAN                                                                          ST CLAIR SHORES       MI 48082‐2710
O SULLIVAN, SHEILA              22933 HOFFMAN ST                                                                       SAINT CLAIR SHORES    MI 48082‐2710
O SYKES                         84 MEADLE ST                                                                           MOUNT CLEMENS         MI 48043‐2429
O TERRY                         2302 OREN AVE                                                                          FLINT                 MI 48505‐4348
O THOMAS                        27242 YALE ST                                                                          INKSTER               MI 48141‐2552
O TINA BRAUCKMILLER‐SALAMIN     30134 HAYES RD                                                                         ROSEVILLE             MI 48066‐4033
O TINA M BRAUCKMILLER‐SALAMIN   BRAUCKMILLER‐SALAMI ' TINA M                                                           ROSEVILLE             MI 48066‐4033
O TOOLE, GERALD D               8264 E DESERT TRL                                                                      MESA                  AZ 85208‐4735
O TOOLE, JAMES S                713 OAKTON ST                                                                          PARK RIDGE             IL 60068‐2007
O TOOLE, PATRICK J              159 CLUB VILLAS LN                                                                     KISSIMMEE             FL 34744‐8438
O TOOLE, PATRICK T              7349 PLAYERS CLUB DR                                                                   LANSING               MI 48917‐9656
O TOOLE, PATRICK TERRANCE       7349 PLAYERS CLUB DR                                                                   LANSING               MI 48917‐9656
O TOOLE, PENNY K                13377 BISHOP RD                                                                        SAINT CHARLES         MI 48655‐9631
O TOOLE, PENNY KATY             13377 BISHOP RD                                                                        SAINT CHARLES         MI 48655‐9631
O TOOLE, RITA S                 713 OAKTON ST                                                                          PARK RIDGE             IL 60068‐2007
O TOOLE, THOMAS M               2851 COLLINGWOOD DR                                                                    BAY CITY              MI 48706‐1508
O TRENT                         556 S GEBHART CHURCH RD                                                                MIAMISBURG            OH 45342‐3924
O TUCKER                        1208 GAGE CT                                                                           JOLIET                 IL 60432‐1121
O TUNGET                        1909 WHITTIER AVE                                                                      ANDERSON              IN 46011‐2103
O W BAILEY                      222 LIBERTY RD                                                                         BLOUNTSVILLE          AL 35031‐5606
O W SIMMONS                     274 PIPER BLVD                                                                         DETROIT               MI 48215‐3036
O WATTS                         1684 BOWMAN DR                                                                         XENIA                 OH 45385‐3806
O WERNER                        2221 PITTNER LN                                                                        PLANO                 TX 75025‐2461
O WHITE                         9301 W 55TH ST                                                                         MC COOK                IL 60525‐3214
O WILLIAMS                      5316 PHILIP ST                                                                         DETROIT               MI 48224‐2981
O WILLIS JR                     3417 NW 111TH ST                                                                       OKLAHOMA              OK 73120‐7217
O' CONNOR, M L                  2693 VIENNA ESTATES DR                                                                 DAYTON                OH 45459‐5459
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Name                         Address1                         Address2             Address3         Address4         City                State Zip
O' DONNELL, DEBRA A          PO BOX 946                                                                              GLENS FALLS          NY 12801‐0946
O' DONNELL, MURIEL C         2081 SE HIDEAWAY CIR                                                                    PORT ST LUCIE        FL 34952‐4801
O' DONNELL, MURIEL C         10 TORTUGA LANE                                                                         PORT ST. LUCIE       FL 34952‐3219
O' HARA ACQUISITIONS, LLC.   ROBERT O' HARA                   908 E SHERIDAN ST                                      ELY                  MN 55731‐1636
O' HARA, ANN                 3201 E ORANGE DR                                                                        PHOENIX              AZ 85018‐1432
O' KELLEY, BOBBIE J          935 CEDAR ST                                                                            POPLAR BLUFF         MO 63901‐5651
O' PIELA, MICHAEL L          37624 CASTLE DR                                                                         ROMULUS              MI 48174‐1098
O' REAR, DORIS P             173 SHENANDOAH DR                                                                       FITZGERALD           GA 31750‐8625
O'APOS;NEAL, WILLIE
O'BANION, DEMETRIA L         11678 BRUSH RIDGE CIRCLE SOUTH                                                          JACKSONVILLE         FL   32225‐3602
O'BANION, JANICE H           2231 PARK AVE                                                                           ANDERSON             IN   46016‐3861
O'BANION, JASON E
O'BANNER, CLEAVE             8635 PINE CT                                                                            YPSILANTI           MI    48198‐3239
O'BANNER, COLUMBUS           GUY WILLIAM S                    PO BOX 509                                             MCCOMB              MS    39649‐0509
O'BANNION, ROBERT            12974 HUFFMAN RD                                                                        PARMA               OH    44130‐1864
O'BANNON, EUGENE             302 WILKINSON ST                                                                        SHREVEPORT          LA    71104‐3322
O'BANNON, JEARIDEAN          129 KELTINGHAM CT                                                                       RIDGELAND           MS    39157‐1212
O'BANNON, TARUS N            302 WILKINSON ST                                                                        SHREVEPORT          LA    71104‐3322
O'BANNON, TARUS NORSELL      302 WILKINSON ST                                                                        SHREVEPORT          LA    71104‐3322
O'BAR, ROBERT T              1312 SIMS AVE                                                                           EDMOND              OK    73013‐6352
O'BERG, ERIC A               220 FIR TREE PL                                                                         GOLETA              CA    93117‐1110
O'BERRY, DOUGLAS J           1194 CLAYTON CT                                                                         MASON               MI    48854‐9206
O'BERRY, DOUGLAS J           2591 S EDGAR RD                                                                         MASON               MI    48854‐9276
O'BERRY, LA MAR B            1250 W CHURCH RD                                                                        MORRICE             MI    48857‐9759
O'BERRY, MICHAEL C           1800 E ROUND LAKE RD                                                                    DEWITT              MI    48820‐9723
O'BERRY, PATRICIA A          8310 PARKSIDE DR                                                                        GRAND BLANC         MI    48439‐7436
O'BERRY, SANDY               6128 BALFOUR DRIVE                                                                      LANSING             MI    48911
O'BERRY, SHARON E            2491 GOLDEN SHORE CT                                                                    FENTON              MI    48430‐1060
O'BERRY, TONIA L             712 LENORE AVE                                                                          LANSING             MI    48910‐2765
O'BERRY, TONIA L             712 LENORE AVENUE                                                                       LANSING             MI    48910‐2765
O'BLENES, RUSSELL D          4266 CENTER RD                                                                          LINDEN              MI    48451‐8513
O'BOYLE JR, JOHN D           607 W 20TH ST                                                                           WILMINGTON          DE    19802‐3901
O'BOYLE JR, JOHN DAVID       607 W 20TH ST                                                                           WILMINGTON          DE    19802‐3901
O'BOYLE, DAVID T             14895 NELSON RD                                                                         SAINT CHARLES       MI    48655‐9766
O'BOYLE, GERALD G            PO BOX 238                                                                              OMER                MI    48749‐0238
O'BOYLE, JERRY B             PO BOX 143                                                                              RAPID CITY          MI    49676‐0143
O'BOYLE, JOHN D              3203 BRISTOL DR                                                                         WILMINGTON          DE    19808‐2415
O'BOYLE, MICHAEL S           3203 BRISTOL DR                                                                         WILMINGTON          DE    19808‐2415
O'BOYLE, NEIL                3580 REDSTONE RD                                                                        SAINT LOUIS         MI    48880‐9104
O'BRADOVICH, KEVIN           2809 WASHINGTON CT                                                                      THOMPSONS STATION   TN    37179‐5007
O'BRADOVICH, KURT L          612 HARRISON ST                                                                         GARDEN CITY         MI    48135‐3125
O'BRADOVICH, KURT LINDSAY    612 HARRISON ST                                                                         GARDEN CITY         MI    48135‐3125
O'BRADOVICH, PHILIP K        22611 STRAWBERRY CT APT 108                                                             NOVI                MI    48375‐4675
O'BRIAN, DOROTHY D           PO BOX 13246                                                                            MEXICO BEACH        FL    32410‐3246
O'BRIAN, EMMA S              2849 SPRING MEADE BOULEVARD                                                             COLUMBIA            TN    38401‐7284
O'BRIAN, EMMA SUE            2849 SPRING MEADE BOULEVARD                                                             COLUMBIA            TN    38401‐7284
O'BRIAN, JOHN B              392 LAKESHORE DR                                                                        NORWOOD             NY    13668‐3202
O'BRIAN, JOSEPH D            2370 TANGLEWOOD DR                                                                      SALEM               OH    44460‐2529
O'BRIAN, JOSEPH DOUGLAS      2370 TANGLEWOOD DR                                                                      SALEM               OH    44460‐2529
O'BRIAN, RITA M              11242 N SARAH LANE                                                                      MOORESVILLE         IN    46158‐7067
O'BRIANT, MISTY R            390 CONSTITUTION AVE 390                                                                DAVISON             MI    48423
O'BRIEN & GERE ENGINEERS     37000 GRAND RIVER AVENUE                                                                FARMINGTON HILLS    MI    48335
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Name                             Address1                          Address2                        Address3               Address4             City               State Zip
O'BRIEN & GERE ENGINEERS INC     PO BOX 4873                       5000 BRITTONFIELD PKY                                                       SYRACUSE            NY 13221‐4873
O'BRIEN & GERE ENGINEERS INC     37000 GRAND RIVER AVE STE 260                                                                                 FARMINGTON HILLS    MI 48335‐2887
O'BRIEN & GERE ENGINEERS, INC.   DEPT. NO. 956, P.O. BOX 8000                                                                                  BUFFALO             NY 14267
O'BRIEN & GERE ENGINEERS, INC.   ATTN: TERRY L. BROWN              PO BOX 4873                                                                 SYRACUSE            NY 13221‐4873
O'BRIEN & GERE LTD               37000 GRAND RIVER AVE STE 260                                                                                 FARMINGTON HILLS    MI 48335‐2887
O'BRIEN & GERE LTD               PO BOX 4873                       5000 BRITTONFIELD PKY                                                       SYRACUSE            NY 13221‐4873
O'BRIEN AUBREY W (429550)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK             VA 23510
                                                                   STREET, SUITE 600
O'BRIEN AUTOMOTIVE INC.          402 N CENTRAL AVE                                                                                             MARSHFIELD         WI 54449‐2113
O'BRIEN CHARLES P (429551)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510
                                                                   STREET, SUITE 600
O'BRIEN CHEVROLET‐CADILLAC       1395 DALLES MILITARY RD                                                                                       WALLA WALLA        WA 99362‐4300
O'BRIEN DON (459235)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510
                                                                   STREET, SUITE 600
O'BRIEN HERBERT A (439371)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510
                                                                   STREET, SUITE 600
O'BRIEN JOSEPH D (404125)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510
                                                                   STREET, SUITE 600
O'BRIEN JR, ROBERT V             1075 HEMINGWAY RD                                                                                             LAKE ORION         MI 48360‐1227
O'BRIEN JR, RUPERT W             54 N JOHNSON ST                                                                                               PONTIAC            MI 48341‐1326
O'BRIEN LARRY (446711)           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                               NORTHFIELD         OH 44067
                                                                   PROFESSIONAL BLDG
O'BRIEN MALCOLM L (429552)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510
                                                                   STREET, SUITE 600
O'BRIEN MARTIN                   LYNNE KIZIS, ESQ                  WILENTZ, GOLDMAN, AND SPITZER   90 WOODBRIDGE CENTER                        WOODBRIDGE          NJ   07095
                                                                                                   DRIVE
O'BRIEN MOTORS, INC.             WILLIAM O'BRIEN                   1395 DALLES MILITARY RD                                                     WALLA WALLA        WA    99362‐4300
O'BRIEN ORTHOPEDICS              PO BOX 790                                                                                                    KILLEN             AL    35645‐0790
O'BRIEN SR, THOMAS M             1410 BRADSHAW DR                                                                                              COLUMBIA           TN    38401‐9225
O'BRIEN, ADAM                    3225 BON AIR AVE NW                                                                                           WARREN             OH    44485‐1302
O'BRIEN, AGNES P                 59 COOLIDGE ST                                                                                                MALVERNE           NY    11565‐1807
O'BRIEN, ARTHUR E                62 FRANK ST                                                                                                   UNION              MO    63084‐2010
O'BRIEN, AUBREY W                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA    23510‐2212
                                                                   STREET, SUITE 600
O'BRIEN, BALKA & ELRICK          ATTN: ANDREW M. ELRICK            219 KING ST E                                          OSHAWA ONTARIO L1H
                                                                                                                          1C5
O'BRIEN, BETTY B                 14 ZWICKS FARM RD                                                                                             PLANTSVILLE        CT    06479‐1925
O'BRIEN, BRADLEY J               2855 BISHOP ROAD                                                                                              GILLETTE           WY    82718‐9356
O'BRIEN, BRANDY                  5100 FLUSHING RD                                                                                              FLUSHING           MI    48433‐2522
O'BRIEN, BRENDA D                65 PINEHURST AVE                                                                                              DAYTON             OH    45405
O'BRIEN, BRUCE E                 299 KINGSTON CLUB RD                                                                                          LATROBE            PA    15650
O'BRIEN, CAROLYN S               11857 E SALISBURY RD                                                                                          WHITEWATER         WI    53190‐3353
O'BRIEN, CATHERINE               6 ALBURY WAY                                                                                                  NORTH BRUNSWICK    NJ    08902‐4200
O'BRIEN, CESANDRA L              201 PIEDMONT LN                                                                                               GEORGETOWN         TX    78633‐5150
O'BRIEN, CHAD M                  54220 QUEENS ROW                                                                                              SHELBY TOWNSHIP    MI    48316‐1525
O'BRIEN, CHAD MATTHEW            54220 QUEENS ROW                                                                                              SHELBY TOWNSHIP    MI    48316‐1525
O'BRIEN, CHARLES P               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA    23510‐2212
                                                                   STREET, SUITE 600
O'BRIEN, CHERYL L                5849 LAKE CREST DR                                                                                            COLUMBIAVILLE      MI    48421‐8971
O'BRIEN, CONSTANCE I             9238 RAWSONVILLE RD                                                                                           BELLEVILLE         MI    48111‐9200
O'BRIEN, CYNTHIA                 1005 DUNBAR HILL RD                                                                                           HAMDEN             CT    06514‐1409
O'BRIEN, DANIEL E                11857 E SALISBURY RD                                                                                          WHITEWATER         WI    53190‐3353
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Name                      Address1                        Address2                         Address3   Address4         City                 State Zip
O'BRIEN, DANIEL J         6318 BUCKSHORE DR                                                                            WHITMORE LAKE         MI 48189‐9109
O'BRIEN, DANIEL JOHN      6318 BUCKSHORE DR                                                                            WHITMORE LAKE         MI 48189‐9109
O'BRIEN, DARLENE L        5816 LYNNAWAY DR                                                                             DAYTON                OH 45415‐2530
O'BRIEN, DAVID E          8749 BRAY RD                                                                                 VASSAR                MI 48768‐9647
O'BRIEN, DAVID F          2741 LYCEUM PL                                                                               TOLEDO                OH 43613‐2024
O'BRIEN, DAVID FRANKLIN   2741 LYCEUM PL                                                                               TOLEDO                OH 43613‐2024
O'BRIEN, DAVID W          3481 BROADWAY ST                                                                             SAGINAW               MI 48601‐5401
O'BRIEN, DON              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK               VA 23510‐2212
                                                          STREET, SUITE 600
O'BRIEN, DONALD K         7005 GRANADA DR                                                                              FLINT                MI   48532‐3023
O'BRIEN, DONALD P         130 CURTIS AVE                                                                               CANFIELD             OH   44406‐9612
O'BRIEN, DONNA J          PO BOX 83                                                                                    SAINT DAVID          AZ   85630‐0083
O'BRIEN, EARL T           30 COTTAGE COVE                                                                              PLYMOUTH             MA   02360‐6603
O'BRIEN, ELIZABETH A      401 MELROSE LANE                                                                             MT MORRIS            MI   48458‐8924
O'BRIEN, ELIZABETH A      435 W SURF ST APT 1B                                                                         CHICAGO              IL   60657‐6136
O'BRIEN, ELIZABETH A      401 MELROSE LN                                                                               MOUNT MORRIS         MI   48458‐8924
O'BRIEN, ELIZABETH J      11305 LONDON CT NE                                                                           BLAINE               MN   55449‐6132
O'BRIEN, ELMA R           6894 E COUNTY ROAD 100 N                                                                     FRANKFORT            IN   46041‐8978
O'BRIEN, ELMA R           715 S LOCKE                                                                                  KOKOMO               IN   46901‐5557
O'BRIEN, ERMA L           258 LECHNER AVE                                                                              COLUMBUS             OH   43223
O'BRIEN, EVELYN           4488 S HAMETOWN RD                                                                           NORTON               OH   44203‐5425
O'BRIEN, EVELYN           4488 SOUTH HAMETOWN                                                                          NORTON               OH   44203‐5425
O'BRIEN, FLORENCE L       510 ASHMUN ST APT 214                                                                        SAULT SAINTE MARIE   MI   49783‐1999
O'BRIEN, FREDERICK D      237 COMMERCIAL ST                                                                            ROCKPORT             ME   04856
O'BRIEN, GAIL L           6813 BROL RD                                                                                 GREAT VALLEY         NY   14741‐9798
O'BRIEN, GERALD J         12375 BENTON RD                                                                              GRAND LEDGE          MI   48837‐9789
O'BRIEN, GREG             BRAYTON PURCELL                 621 SW MORRISON ST STE 950                                   PORTLAND             OR   97205‐3824
O'BRIEN, HELEN J          22 MAPLEWOOD AVE                                                                             MARLBOROUGH          MA   01752‐2112
O'BRIEN, HERBERT A        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA   23510‐2212
                                                          STREET, SUITE 600
O'BRIEN, IAN B            APT 9                           4439 KINKEAD COURT                                           FAYETTEVILLE         NC   28314‐2417
O'BRIEN, III              C/O KIMBERLE BENNETT            424 MILL ST. @ CANAL'S END PLZ                               BRISTOL              PA   19007
O'BRIEN, JACK R           9012 N VASSAR RD                                                                             MOUNT MORRIS         MI   48458‐9766
O'BRIEN, JAMES M          14045 TRENTON RD                                                                             SUNBURY              OH   43074‐8953
O'BRIEN, JAMES P          205 N 1ST ST                                                                                 HOLLY                MI   48442‐1202
O'BRIEN, JANE M           10363 BROWN RD                                                                               LAKE ODESSA          MI   48849
O'BRIEN, JEFFREY L        86 HOLIDAY HL                                                                                LEXINGTON            OH   44904‐1106
O'BRIEN, JILL M           24 MARY VISTA CT                                                                             TONAWANDA            NY   14150‐1303
O'BRIEN, JOHN J           5214 APPLEWOOD DR                                                                            FLUSHING             MI   48433‐1193
O'BRIEN, JOHN JEFFREY     5214 APPLEWOOD DR                                                                            FLUSHING             MI   48433‐1193
O'BRIEN, JOHN K           7284 TONAWANDA CREEK RD                                                                      LOCKPORT             NY   14094‐9039
O'BRIEN, JOHN P           1207 N PLEASANT ST                                                                           ROYAL OAK            MI   48067‐1233
O'BRIEN, JOSEPH D         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA   23510‐2212
                                                          STREET, SUITE 600
O'BRIEN, JOSEPH J         958 CAMINO DEL RETIRO                                                                        SANTA BARBARA        CA   93110‐1005
O'BRIEN, JUDITH           PO BOX 548                                                                                   NORTH WEBSTER        IN   46555‐0548
O'BRIEN, JUDITH A         PO BOX 85                                                                                    CHARTLEY             MA   02761
O'BRIEN, JULIE L          11532 ROOT RD                                                                                COLUMBIA STA         OH   44028‐9506
O'BRIEN, KAREN M          225 W OAK ORCHARD                                                                            MEDINA               NY   14103
O'BRIEN, KATRINA G        319 WHIPPLE ST                                                                               SOUTH LYON           MI   48178‐1115
O'BRIEN, KATRINA GALE     319 WHIPPLE ST                                                                               SOUTH LYON           MI   48178‐1115
O'BRIEN, KENNETH C        31029 WELLSTON DR                                                                            WARREN               MI   48093‐1754
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Name                   Address1                        Address2                       Address3   Address4             City            State Zip
O'BRIEN, KEVIN A       16514 HERON COACH WAY                                                                          FORT MYERS       FL 33908‐5500
O'BRIEN, KIM P         655 HIDDEN VALLEY DR APT318                                                                    ANN ARBOR        MI 48104
O'BRIEN, KNUTE P       17421 COUNTRY CLUB CT                                                                          LIVONIA          MI 48152‐2985
O'BRIEN, LARRY         BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                   NORTHFIELD       OH 44067
                                                       PROFESSIONAL BLDG
O'BRIEN, LILLIAN M     3925 GLENVIEW DR                                                                               INDIANAPOLIS    IN 46240‐3643
O'BRIEN, LORETTA K     11103 BISMARK HWY                                                                              VERMONTVILLE    MI 49096‐9757
O'BRIEN, MALCOLM L     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA 23510‐2212
                                                       STREET, SUITE 600
O'BRIEN, MARJORIE U    2685 RICKSHAW DRIVE                                                                            CLEARWATER      FL   33764‐1036
O'BRIEN, MARK A        6721 W 138TH TER APT 1723                                                                      OVERLAND PARK   KS   66223‐7853
O'BRIEN, MARK P        22047 ROUGEMONT DR                                                                             SOUTHFIELD      MI   48033‐3666
O'BRIEN, MARY A        30685 RED MAPLE LN                                                                             SOUTHFIELD      MI   48076‐1071
O'BRIEN, MARY J        16514 HERON COACH WAY                                                                          FORT MYERS      FL   33908‐5500
O'BRIEN, MARY L        5662 N TULLIS AVE                                                                              KANSAS CITY     MO   64119‐4140
O'BRIEN, MICHAEL D     1736 WHITE TAIL COURT                                                                          WEST BRANCH     MI   48661‐9744
O'BRIEN, MICHAEL L     2399 N IRWIN ST                                                                                INDIANAPOLIS    IN   46219‐2224
O'BRIEN, MICHAEL L     STE 105                         5001 MAYFIELD ROAD                                             CLEVELAND       OH   44124‐2608
O'BRIEN, MICHAEL LEE   2399 N IRWIN ST                                                                                INDIANAPOLIS    IN   46219‐2224
O'BRIEN, MICHAEL P     5760 ASHBY DRIVE                                                                               INDIANAPOLIS    IN   46221‐4031
O'BRIEN, MYRTLE I      4496 EDMUND                                                                                    WAYNE           MI   48184‐2159
O'BRIEN, MYRTLE I      4496 EDMUND ST                                                                                 WAYNE           MI   48184‐2159
O'BRIEN, NANCY E       3450 DOUGALL AVENUE                                                       WINDSOR ON N9E 1T1
                                                                                                 CANADA
O'BRIEN, NANCY M       2409 N CANAL RD                                                                                LANSING         MI   48917‐8652
O'BRIEN, NANCY MARIE   2409 N CANAL RD                                                                                LANSING         MI   48917‐8652
O'BRIEN, NANETTE M     4720 BAYBERRY CIR                                                                              ANN ARBOR       MI   48105‐9762
O'BRIEN, NEIL T        119 E 9TH ST                                                                                   WELLINGTON      KS   67152‐4063
O'BRIEN, NELLIE A      546 S OXFORD AVE                                                                               INDEPENDENCE    MO   64053‐1018
O'BRIEN, NELLIE A      546 OXFORD                                                                                     INDEPENDENCE    MO   64053‐1018
O'BRIEN, NORA C        18016 SAN MATEO COURT                                                                          EDMOND          OK   73012‐4246
O'BRIEN, PATRICK J     9940 S OCEAN DR APT 603                                                                        JENSEN BEACH    FL   34957‐2410
O'BRIEN, PATRICK M     9309 W WESTERN RESERVE RD                                                                      CANFIELD        OH   44406‐9425
O'BRIEN, PATRICK P     1101 4TH ST E                                                                                  SOUTH POINT     OH   45680‐9519
O'BRIEN, PATRICK R     4379 PONTIFF ST                                                                                WATERFORD       MI   48329‐1554
O'BRIEN, PHYLLIS F     13750 W. NATIONAL AVE.          APT# 2016                                                      NEW BERLIN      WI   53151
O'BRIEN, PHYLLIS F     13750 W NATIONAL AVE APT 2016                                                                  NEW BERLIN      WI   53151‐4553
O'BRIEN, RACHEL A      4343 SW 16TH ST                                                                                LOVELAND        CO   80537
O'BRIEN, RANDY D       3547 E GRESHAM HWY                                                                             POTTERVILLE     MI   48876‐9753
O'BRIEN, RICHARD F     1818 ARGOSY CT                                                                                 BLOOMFIELD      MI   48302‐2500
O'BRIEN, RICHARD J     176 JOHNSON ST APT 6B                                                                          BROOKLYN        NY   11201‐3034
O'BRIEN, ROBERT W      15592 NW SAINT ANDREWS DR                                                                      PORTLAND        OR   97229‐7810
O'BRIEN, RONALD C      3543 SHARON WAY                                                                                WILLIAMSTON     MI   48895‐9169
O'BRIEN, ROSEMARIE     4830 BERINO DR                                                                                 LAS VEGAS       NV   89147‐5605
O'BRIEN, ROXANNE       10200 BARRICKS ROAD                                                                            LOUISVILLE      KY   40229
O'BRIEN, RUTH A        2593 HALLMAN AVE                                                                               WATERFORD       MI   48328‐2728
O'BRIEN, RUTHANN R     5793 M 72 NW                                                                                   WILLIAMSBURG    MI   49690‐9650
O'BRIEN, SHAWN D       5 THORNCLIFF RD S                                                                              SPENCERPORT     NY   14559
O'BRIEN, SHEILA A      31016 EAGLE DR                                                                                 NOVI            MI   48377‐1570
O'BRIEN, SHIRLEY L     3428 RONALD RD                                                                                 CRETE           IL   60417‐1336
O'BRIEN, SUSAN C       3509 PLEASANT VALLEY RD                                                                        PLACERVILLE     CA   95667‐7840
O'BRIEN, SUSIE         2013 THOM ST                                                                                   FLINT           MI   48506‐2860
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Name                          Address1                       Address2               Address3        Address4         City                 State Zip
O'BRIEN, TARAH M              1121 SPRUCE ST                                                                         DELAVAN               WI 53115‐1591
O'BRIEN, THERESA A            3351 RED FOX CT                                                                        WEST BLOOMFIELD       MI 48324‐3242
O'BRIEN, THOMAS               27 MONELL AVE                                                                          POUGHKEEPSIE          NY 12603‐4613
O'BRIEN, THOMAS P             8079 S BYAM RD                                                                         BANCROFT              MI 48414‐9713
O'BRIEN, TIMOTHY F            319 WHIPPLE ST                                                                         SOUTH LYON            MI 48178‐1115
O'BRIEN, TIMOTHY FRANCIS      319 WHIPPLE ST                                                                         SOUTH LYON            MI 48178‐1115
O'BRIEN, VINCENT W            141 TRIPPANY RD                                                                        MASSENA               NY 13662‐3230
O'BRIEN, VIOLET J             1372 LAKESHORE DR                                                                      COLUMBIAVILLE         MI 48421‐9772
O'BRIEN, WANDA R              306 WEST CARPENTER STREET                                                              MIDLAND               MI 48640
O'BRIEN, WANDA R              306 W CARPENTER ST                                                                     MIDLAND               MI 48640‐4376
O'BRIEN, WILLIAM J            3347 ROUTE #98                                                                         VARYSBURG             NY 14167
O'BRIEN, WILLIAM JOHN         3347 ROUTE #98                                                                         VARYSBURG             NY 14167
O'BRIEN, WILLIAM S            28 MOUNTAIN VIEW RD                                                                    AMENIA                NY 12501‐5200
O'BRIEN,KNUTE P               17421 COUNTRY CLUB CT                                                                  LIVONIA               MI 48152‐2985
O'BRIEN‐FOSLIN, ISABEL R      320 W CHURCH ST                                                                        BELLEVILLE            WI 53508‐9333
O'BRIEN‐MITCHELL, BRIDGET M   490 SHAGBARK DR                                                                        ROCHESTER HILLS       MI 48309‐1821
O'BRIENS AGENCY               924 TERMINAL RD                PO BOX 14238                                            LANSING               MI 48906‐3063
O'BRIGHT, ALEXANDRIA C        1708 TIMBER RIDGE CIRCLE                                                               LEESBURG              FL 34748
O'BRYAN, CHRISTOPHER P        250 RIVARD BLVD                                                                        WATERFORD             MI 48327‐2659
O'BRYAN, CHRISTOPHER P        315 W WASHINGTON AVE                                                                   ALPENA                MI 49707
O'BRYAN, CRYSTAL N            1915 LAFAYETTE AVE SE                                                                  GRAND RAPIDS          MI 49507‐2535
O'BRYAN, CRYSTAL N.           1915 LAFAYETTE AVE SE                                                                  GRAND RAPIDS          MI 49507‐2535
O'BRYAN, HUGH E               150 MOSS CREEK LN                                                                      CEDAR GROVE           TN 38321‐7418
O'BRYAN, KATHLEEN L           124 S KENWOOD AVE                                                                      ROYAL OAK             MI 48067‐3942
O'BRYAN, KATHY A              109 BON HARBOR HLS                                                                     OWENSBORO             KY 42301‐8763
O'BRYAN, MILLARD K            1891 KIEFER RD                                                                         DANSVILLE             NY 14437
O'BRYAN, SHARLYN K            COUNTRY SIDE VILLAGE           PO BOX 164                                              OWOSSO                MI 48867‐0164
O'BRYAN, WILLIAM B            477 TOWANDA CIR                                                                        DAYTON                OH 45431‐2132
O'BRYAN‐FEBREY, FRANCINE J    4748 ROYALTON RD                                                                       NORTH ROYALTON        OH 44133‐4078
O'BRYANT JR, THOMAS E         401 W 30TH ST                                                                          WILMINGTON            DE 19802‐3061
O'BRYANT JR, THOMAS EDGAR     401 W 30TH ST                                                                          WILMINGTON            DE 19802‐3061
O'BRYANT SR, JACK D           841 MYRTLE AVE                                                                         CUYAHOGA FALLS        OH 44221‐4103
O'BRYANT, CHARLOTTE A         8850 N KREPPS RD                                                                       ELSIE                 MI 48831‐9790
O'BRYANT, JAMES W             8850 N KREPPS RD                                                                       ELSIE                 MI 48831‐9790
O'BRYANT, JEFFREY A           8834 DOW RD                                                                            MULLIKEN              MI 48861‐9745
O'BRYANT, JERRY L             6867 W SAGINAW HWY                                                                     SUNFIELD              MI 48890‐9735
O'BRYANT, JERRY LEE           6867 W SAGINAW HWY                                                                     SUNFIELD              MI 48890‐9735
O'BRYANT, JUSTIN B            26073 BRETTONWOODS ST                                                                  MADISON HTS           MI 48071‐3550
O'BRYANT, MARY E              2810 S VALLEY RD                                                                       SOUTHSIDE             AL 35907‐8046
O'BRYANT, TIMOTHY J           14765 S BRIDGER RD                                                                     PERRY                 MI 48872‐9554
O'BRYANT, YOLONDA M           7324 W MOUNT HOPE HWY                                                                  MULLIKEN              MI 48861‐9626
O'BYRNE, BRENDAN J            1018 BEACONSFIELD AVE                                                                  GROSSE POINTE PARK    MI 48230‐1348
O'BYRNE, JIMMY M              6806 BLOOMSBURY LN                                                                     SPOTSYLVANIA          VA 22553‐1918
O'BYRNE, SHIRLEY M            15 N BUCKLES AVE LOT 4                                                                 JAMESTOWN             OH 45335‐1640
O'BYRNE, SHIRLEY M            15‐4 N. BUCKLES AVE                                                                    JAMESTOWN             OH 45335‐1556
O'CALLAGHAN, DONALD C         3 NORMAL ST                                                                            WORCESTER             MA 01605‐3020
O'CALLAGHAN, DOUGLAS W        PO BOX 248                                                                             CHINESE CAMP          CA 95309‐0248
O'CALLAGHAN, DOUGLAS W        PO BOX 248                     13388 RED HILLS ROAD                                    CHINESE CAMP          CA 95309‐0248
O'CALLAGHAN, GEORGIA L        8511 TOCOI PATH                                                                        LAKELAND              FL 33810‐1350
O'CALLAGHAN, LAWRENCE E       PO BOX 1645                                                                            NOCATEE               FL 34268
O'CALLAGHAN, MARTHA W         2153 OAK GROVE DR                                                                      ZELLWOOD              FL 32798‐9601
O'CALLAGHAN, MARY G           3E BRIGHAM CIRCLE              APT # 2                                                 HUDSON                MA 01749
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Name                         Address1                        Address2                      Address3   Address4         City                State Zip
O'CALLAGHAN, MARY G          3E BRIGHAM CIR APT 2                                                                      HUDSON               MA 01749‐2441
O'CALLAGHAN, STEPHEN F       9295 E COUNTY ROAD 600 N                                                                  BROWNSBURG           IN 46112‐9604
O'CALLAGHAN, STEPHEN F       155 SUMMERHILL CIR                                                                        ST AUGUSTINE         FL 32095‐5924
O'CALLAGHAN, SUSAN J         18775 CHELTON DR                                                                          BEVERLY HILLS        MI 48025‐5205
O'CAMPO, JESS B              6011 PENNSYLVANIA AVE                                                                     ARLINGTON            TX 76017‐1931
O'CAUSE, CAROL ANN           3 DUNEDIN CIR                                                                             PINEHURST            NC 28374‐6892
O'CAUSE, CAROL ANN           3 DUNEDIN CIRCLE                                                                          PINE HURST           NC 28374
O'CLAIR, CARMEN              8141 JUDD RD                                                                              WILLIS               MI 48191‐9632
O'CONKE, ERIN R              7520 LEWIS RD                                                                             OLMSTED FALLS        OH 44138‐1568
O'CONNELL ELECTRIC CO.                                       830 PHILLIPS RD                                                                NY 14564
O'CONNELL MYRON E (439372)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                             STREET, SUITE 600
O'CONNELL, ALBERT J          19 WETMORE DR                                                                             STRUTHERS           OH   44471
O'CONNELL, ANN M             906 YORICK PATH                                                                           WIXOM               MI   48393‐4521
O'CONNELL, ANN MARIE         906 YORICK PATH                                                                           WIXOM               MI   48393‐4521
O'CONNELL, BRIAN             633 MARKETVIEW                                                                            IRVINE              CA   92602
O'CONNELL, DANIEL B          6985 HACKNEY CIR                                                                          VICTOR              NY   14564‐9570
O'CONNELL, DANIEL R          27 HAZELHURST DR APT E                                                                    ROCHESTER           NY   14606‐4434
O'CONNELL, DAVID A           3138 WILLARD RD                                                                           BIRCH RUN           MI   48415‐9404
O'CONNELL, DAVID ALLEN       3138 WILLARD RD                                                                           BIRCH RUN           MI   48415‐9404
O'CONNELL, DOLORES           217 MONCLAY CRT                 APT. 1 SOUTH                                              KIRKWOOD            MO   63122
O'CONNELL, DONNA M           345 AUBURN AVE                                                                            ROCHESTER           NY   14606‐4107
O'CONNELL, DONNA M           3027 REED LAKE DR                                                                         COMMERCE TOWNSHIP   MI   48390‐1256
O'CONNELL, FRANK P           PO BOX 45                                                                                 WRENTHAM            MA   02093‐0045
O'CONNELL, GEORGE MICHAEL    4901 WEAVER RD                                                                            BERLIN CENTER       OH   44401‐8714
O'CONNELL, GEORGINE          638 DARBY TER                                                                             DARBY               PA   19023‐2206
O'CONNELL, GEORGINE          638 DARBY TERRACE                                                                         DARBY               PA   19023
O'CONNELL, GLENN P           4047 WORTHINGTON DR                                                                       TROY                MI   48085‐5723
O'CONNELL, JAMES M           PO BOX 1143                                                                               ORCHARD PARK        NY   14127‐8143
O'CONNELL, JAMES R           2803 WOODLAND ST NE                                                                       WARREN              OH   44483‐4419
O'CONNELL, JOLENE M          6208 CUMBRE VISTA WAY                                                                     COLORADO SPRINGS    CO   80924‐6018
O'CONNELL, JOSEPH P          6317 WALLARD DR APT D                                                                     INDIANAPOLIS        IN   46224‐4438
O'CONNELL, JOSEPH P          PO BOX 1674                                                                               MARTINSVILLE        IN   46151‐0674
O'CONNELL, LISA A            4901 WEAVER ROAD                                                                          BERLIN CENTER       OH   44401‐8714
O'CONNELL, MARK W            1315 SHANNON RD                                                                           GIRARD              OH   44420‐1413
O'CONNELL, MARY F            6298 CYPRESS SPRINGS PKWY PY                                                              PORT ORANGE         FL   32128
O'CONNELL, MICHAEL J         230 COUNTY RD. #545                                                                       MARQUETTE           MI   49855
O'CONNELL, MICHAEL V         1602 SKYVIEW DR                                                                           BRIGHTON            MI   48114‐8921
O'CONNELL, MYRON E           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                             STREET, SUITE 600
O'CONNELL, MYRON L           359 NICHOLSON RD                                                                          BALTIMORE           MD   21221
O'CONNELL, PATRICIA R        PO BOX 686                                                                                GALION              OH   44833‐0686
O'CONNELL, PEARL             472 GRAMATAN AVE.                                                                         MOUNT VERNON        NY   10552
O'CONNELL, SEAN M.           406 JEFF SCOTT CT                                                                         HAMILTON            OH   45013‐9638
O'CONNELL, SEAN P            4 HUCKLEBERRY LN                                                                          NEW EGYPT           NJ   08533‐2800
O'CONNELL, SEAN P.           4 HUCKLEBERRY LN                                                                          NEW EGYPT           NJ   08533‐2800
O'CONNELL, SHAWN D           2360 HOWLAND WILSON RD NE                                                                 WARREN              OH   44484‐3925
O'CONNELL, SHERELLE J        15431 GARFIELD AVE                                                                        ALLEN PARK          MI   48101‐2049
O'CONNELL, THOMAS            3629 E 1000 S‐92                                                                          ROANOKE             IN   46783‐9222
O'CONNELL, THOMAS B          35 COLLEEN WAY                                                                            PITTSFORD           NY   14534‐2643
O'CONNER, LORRAINE           9225 SOUTH CREGIER AVE                                                                    CHICAGO             IL   60617
O'CONNER, LORRAINE           9225 S CREGIER AVE                                                                        CHICAGO             IL   60617‐3602
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Name                               Address1                          Address2                        Address3   Address4         City               State Zip
O'CONNOR CHEV BUICK PONT GMC                                                                                                     AUGUSTA             ME 04330‐4133
O'CONNOR CHEV BUICK PONT GMC       187 RIVERSIDE DR                                                                              AUGUSTA             ME 04330‐4133
O'CONNOR CHEVROLET BUICK PONTIAC   187 RIVERSIDE DR                                                                              AUGUSTA             ME 04330‐4133
GM
O'CONNOR CHEVROLET BUICK PONTIAC   RANDALL HUTCHINS                  187 RIVERSIDE DR                                            AUGUSTA            ME 04330‐4133
GMC
O'CONNOR CHEVROLET BUICK PONTIAC   187 RIVERSIDE DR                                                                              AUGUSTA            ME 04330‐4133
GMC CADILLAC, INC.
O'CONNOR CHEVROLET, INC.           PO BOX 2129                                                                                   ORLAND PARK        IL   60462‐1085
O'CONNOR CHEVROLET, INC.           3850 W HENRIETTA RD                                                                           ROCHESTER          NY   14623‐3704
O'CONNOR CHEVROLET, INC.           MARK O'CONNOR                     3850 W HENRIETTA RD                                         ROCHESTER          NY   14623‐3704
O'CONNOR FRANK E (439373)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510
                                                                     STREET, SUITE 600
O'CONNOR I I I, ROBERT E           960 W BARNES RD                                                                               FOSTORIA           MI   48435‐9713
O'CONNOR II, ROBERT E              886 S ASH ST                                                                                  GILBERT            AZ   85233‐7731
O'CONNOR III, ROBERT E             960 W BARNES RD                                                                               FOSTORIA           MI   48435‐9713
O'CONNOR JR, DONALD D              7234 BYRON CENTER AVE SW                                                                      BYRON CENTER       MI   49315‐9411
O'CONNOR JR, RICHARD D             1188 WALLOON WAY                                                                              LAKE ORION         MI   48360‐1320
O'CONNOR JR., MICHAEL J            1362 TANGLEWOOD DR                                                                            N TONAWANDA        NY   14120‐2357
O'CONNOR MICHAEL (446713)          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                     PROFESSIONAL BLDG
O'CONNOR MICHAEL R (429553)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                     STREET, SUITE 600
O'CONNOR MOTOR CO.                 299 WARREN AVE                                                                                PORTLAND           ME 04103‐1106
O'CONNOR ROLIN (464232)            KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                               CLEVELAND          OH 44114
                                                                     BOND COURT BUILDING
O'CONNOR SAAB OF AUGUSTA           HUTCHINS, RANDALL B.              268 STATE ST                                                AUGUSTA            ME   04330‐6914
O'CONNOR SR., ROBERT E             12948 WOODRUSH CT                                                                             GRAND HAVEN        MI   49417‐8318
O'CONNOR, ANITA A                  29997 VALLEY SIDE DR                                                                          FARMINGTON HILLS   MI   48334‐2067
O'CONNOR, ANNA M                   439 E 74TH ST.                                                                                NEW YORK           NY   10021‐3959
O'CONNOR, ANNE                     930 WALLACE AVE                                                                               NORTH BALDWIN      NY   11510‐2147
O'CONNOR, BARRY C                  305 ROSEWOOD DR                                                                               NEWARK             DE   19713‐3348
O'CONNOR, BARRY CRAIG              305 ROSEWOOD DR                                                                               NEWARK             DE   19713‐3348
O'CONNOR, BELINDA ‐                224 RIVIERA DR                                                                                BROOKLYN           MI   49230‐9777
O'CONNOR, BRIAN J                  8237 BROOKHAVEN DRIVE                                                                         FRANKFORT          IL   60423‐8581
O'CONNOR, BRIAN M                  6132 DEER PARK PASS                                                                           GRAND BLANC        MI   48439‐9611
O'CONNOR, BRIAN M                  860 EDDY RD                                                                                   BEAVERTON          MI   48612‐8573
O'CONNOR, BRIAN M                  9015 CHURCH DR                                                                                VASSAR             MI   48768‐9400
O'CONNOR, BRIAN MICHAEL            6132 DEER PARK PASS                                                                           GRAND BLANC        MI   48439‐9611
O'CONNOR, BRUCE P                  298 HOLLY LN                                                                                  BELLEVILLE         MI   48111‐1761
O'CONNOR, CAROL                    29618 CUNNINGHAM                                                                              WARREN             MI   48092‐4204
O'CONNOR, CAROL J                  5049 S BILOXI WAY                                                                             AURORA             CO   80016
O'CONNOR, CHARLENE M               111 COACH RD                                                                                  NORTH ATTLEBORO    MA   02760‐2754
O'CONNOR, CHERYL C                 5856 MONONGAHELA AVE                                                                          BETHEL PARK        PA   15102‐2438
O'CONNOR, CHRISTOPHER P            2695 N WILLIAMS LAKE RD                                                                       WATERFORD          MI   48329‐2661
O'CONNOR, COLLEEN P                505 ODEN DR                                                                                   WASKOM             TX   75692‐4033
O'CONNOR, CORINNA L                P.O BOX 734                                                                                   FOWLERVILLE        MI   48836‐0734
O'CONNOR, CORINNA L                PO BOX 734                                                                                    FOWLERVILLE        MI   48836‐0734
O'CONNOR, DANIEL R                 5370 OAKTREE CT                                                                               FLINT              MI   48532‐3335
O'CONNOR, DAVID H                  105 ARABIAN DR                                                                                MADISON            AL   35758‐6634
O'CONNOR, DAVID L                  5505 NORWOOD CT                                                                               EL PASO            TX   79924‐2410
O'CONNOR, DESMOND J                819 TRENTON RD                                                                                FAIRLESS HILLS     PA   19030‐2501
                        09-50026-mg            Doc 7123-30    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                    Address1                       Address2                            Address3   Address4         City               State Zip
O'CONNOR, DIANE L       8728 BLOCK RD                                                                                  BIRCH RUN           MI 48415‐8005
O'CONNOR, DIANE LYNN    8728 BLOCK RD                                                                                  BIRCH RUN           MI 48415‐8005
O'CONNOR, DOLORES M     52192 SOUTHVIEW RDG                                                                            MACOMB              MI 48042‐1121
O'CONNOR, DONNA JEAN    PO BOX 373                                                                                     LAKE GEORGE         MI 48633‐0373
O'CONNOR, DORIS F       25984 CEDAR HILL CT                                                                            BONITA SPRINGS      FL 34135‐9403
O'CONNOR, DORIS M       12294 W MOUNT MORRIS RD                                                                        FLUSHING            MI 48433‐9219
O'CONNOR, DORIS M       12294 MT. MORRIS RD                                                                            FLUSHING            MI 48433‐9219
O'CONNOR, DOROTHY A     P O BOX 58                                                                                     INDIAN RIVER        MI 49749
O'CONNOR, DOROTHY A     PO BOX 58                                                                                      INDIAN RIVER        MI 49749‐0058
O'CONNOR, DOUGLAS A     122 SAINT LOUIS CT                                                                             KOKOMO              IN 46902‐5942
O'CONNOR, ETTY W        1633 W 6TH ST                                                                                  ANDERSON            IN 46016‐2639
O'CONNOR, EUGENE T      1560 PINNACLE EAST DR SW                                                                       WYOMING             MI 49509‐5042
O'CONNOR, FRANK E       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
O'CONNOR, GENE D        5501 DELTA RIVER DR                                                                            LANSING            MI   48906‐9049
O'CONNOR, GERALD G      2471 COOMER RD                                                                                 BURT               NY   14028‐9738
O'CONNOR, GERTRUDE M    1722 EAST HAMILTON AVENUE                                                                      FLINT              MI   48506‐4402
O'CONNOR, GERTRUDE P    7 ROYAL DR                                                                                     EUSTIS             FL   32726‐6747
O'CONNOR, GLENDA N      195 COLONIAL DR                                                                                GRAND ISLAND       NY   14072‐1838
O'CONNOR, GREGORY S     512 CHOICE CT                                                                                  TROY               MI   48085‐4767
O'CONNOR, HENRY L       11505 CLEVELAND AVE                                                                            NUNICA             MI   49448
O'CONNOR, JACK T        12628 MELODY RD                                                                                GRAND LEDGE        MI   48837‐8902
O'CONNOR, JAMES         915 E GARDENIA AVE                                                                             MADISON HTS        MI   48071‐3431
O'CONNOR, JAMES D       1S282 DILLON LN                                                                                OAKBROOK TERRACE   IL   60181‐3831
O'CONNOR, JAMES E       2295 BRYANT DR                                                                                 CARLSBAD           CA   92008‐7105
O'CONNOR, JAMES L       PO BOX 212                     1946 EAST ST                                                    REESE              MI   48757‐0212
O'CONNOR, JAMES M       1920 BONNIE BROOK LN                                                                           WENTZVILLE         MO   63385‐3265
O'CONNOR, JAMIE L       960 WEST BARNES ROAD                                                                           FOSTORIA           MI   48435‐9713
O'CONNOR, JANET         321 SANDY BROOK DR                                                                             HAMLIN             NY   14464‐9123
O'CONNOR, JASON M       116 E WATERBURY RD                                                                             INDIANAPOLIS       IN   46227‐2472
O'CONNOR, JOHN          WILENTZ GOLDMAN & SPITZER      88 PINE STREET, WALL STREET PLAZA                               NEW YORK           NY   10005

O'CONNOR, JOHN B        840 ALBRIGHT MCKAY RD NE                                                                       BROOKFIELD         OH   44403‐9740
O'CONNOR, JOHN J        15 WILLOWGROVE CT                                                                              TONAWANDA          NY   14150‐4524
O'CONNOR, JOHN J        4312 RIDGEWAY DR                                                                               SAN DIEGO          CA   92116‐2051
O'CONNOR, JOHN J.       15 WILLOWGROVE CT                                                                              TONAWANDA          NY   14150‐4524
O'CONNOR, JOSEPH C      25984 CEDAR HILL CT                                                                            BONITA SPRINGS     FL   34135‐9403
O'CONNOR, KATHLEEN M    210 N DENWOOD ST                                                                               DEARBORN           MI   48128‐1510
O'CONNOR, KENNETH B     29035 HILLVIEW ST                                                                              ROSEVILLE          MI   48066‐2023
O'CONNOR, KERRY F       961 S 500 W                                                                                    ANDERSON           IN   46011‐9769
O'CONNOR, LAURIE J      11356 AUTUMN BREEZE TRL                                                                        CLIO               MI   48420‐1592
O'CONNOR, LAURIE JEAN   11356 AUTUMN BREEZE TRL                                                                        CLIO               MI   48420‐1592
O'CONNOR, LEO F         14960 COLLIER BLVD                                                                             NAPLES             FL   34119‐7713
O'CONNOR, MARGARET M    816 SMITH AVE                                                                                  LANSING            MI   48910‐1356
O'CONNOR, MARILYN L     18 ROSE PETAL CT.                                                                              MT. CLEMENS        MI   48043‐1400
O'CONNOR, MARK A        4790 N UNION RD                                                                                TROTWOOD           OH   45426‐3712
O'CONNOR, MARK K        1430 HERITAGE LNDG APT 306                                                                     SAINT CHARLES      MO   63303‐6114
O'CONNOR, MARK L        2050 W DUNLAP AVE LOT L280                                                                     PHOENIX            AZ   85021‐2930
O'CONNOR, MARY A        1196 LORD DUNMORE DR                                                                           VIRGINIA BEACH     VA   23464‐5446
O'CONNOR, MARY L        1040 BANYAN RD APT 301C                                                                        BOCA RATON         FL   33432‐7691
O'CONNOR, MICHAEL       BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                    NORTHFIELD         OH   44067
                                                       PROFESSIONAL BLDG
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Name                        Address1                         Address2                       Address3   Address4         City                 State Zip
O'CONNOR, MICHAEL A         7131 KALAMATH ST                                                                            DENVER                CO 80221‐3056
O'CONNOR, MICHAEL L         208 GOODEMOOTE RD                                                                           PORTLAND              MI 48875‐9798
O'CONNOR, MICHAEL P         11 FRITZ RD                                                                                 STERLING              MI 48659‐9404
O'CONNOR, MICHAEL P         113 PHEASANT TRAIL                                                                          TROY                  MO 63379‐4977
O'CONNOR, MICHAEL R         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA 23510‐2212
                                                             STREET, SUITE 600
O'CONNOR, MICHAEL T         2303 BLACK FOREST LN                                                                        TRAVERSE CITY        MI   49686‐8608
O'CONNOR, NEELIE A          1403 E 5TH ST                                                                               ROYAL OAK            MI   48067‐2914
O'CONNOR, NEELIE ANNE       1403 E 5TH ST                                                                               ROYAL OAK            MI   48067‐2914
O'CONNOR, OWEN F            193 RUE GRAND DR                                                                            LAKE ST LOUIS        MO   63367‐1033
O'CONNOR, PHILIP A          2321 W MICHIGAN AVE                                                                         LANSING              MI   48917‐2963
O'CONNOR, PHILIP ALAN       2321 WEST MICHIGAN AVENUE                                                                   LANSING              MI   48917‐2963
O'CONNOR, RICHARD D         7730 TRUMBOWER TRL                                                                          MILLINGTON           MI   48746‐9066
O'CONNOR, RICHARD D.        7730 TRUMBOWER TRL                                                                          MILLINGTON           MI   48746‐9066
O'CONNOR, RICHARD E         8588 SHADY GLEN TRAIL                                                                       YOUNGSTOWN           OH   44514‐5835
O'CONNOR, RICHARD E         7879 TUSCANY DR                                                                             POLAND               OH   44514‐5331
O'CONNOR, RITA H            162 GROVE ST                                                                                RUTLAND              VT   05701‐3109
O'CONNOR, RITA M            7301 JASMINE BLVD                                                                           PORT RICHEY          FL   34668‐3122
O'CONNOR, ROBERT A          632 15TH AVE                                                                                PROSPECT PARK        PA   19076‐1110
O'CONNOR, ROBERT ALOYSIUS   632 15TH AVE                                                                                PROSPECT PARK        PA   19076‐1110
O'CONNOR, ROBERT K          2001 6TH ST                                                                                 BAY CITY             MI   48708‐6795
O'CONNOR, ROBERT L          627 RILEY ST                                                                                DUNDEE               MI   48131‐1034
O'CONNOR, ROLIN             KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND            OH   44114
                                                             BOND COURT BUILDING
O'CONNOR, ROSE              1104 STOCKELL ST                                                                            NASHVILLE            TN   37207
O'CONNOR, RYAN S            8245 BURLEIGH RD                                                                            GRAND BLANC          MI   48439‐9764
O'CONNOR, SANDRA K          1217 DEER CREEK TRL                                                                         GRAND BLANC          MI   48439‐9264
O'CONNOR, SHIRLEY I         184 YEAGER DR                                                                               CHEEKTOWAGA          NY   14225‐1777
O'CONNOR, SHIRLEY I         184 YEAGER DRIVE                                                                            CHEECKTOWAGA         NY   14225‐1777
O'CONNOR, STEPHEN F         7315 KHRISTOPHER CT                                                                         CONCORD TWP          OH   44077‐2265
O'CONNOR, THOMAS C          PO BOX 1284                                                                                 WASKOM               TX   75692‐1284
O'CONNOR, THOMAS C.         PO BOX 1284                                                                                 WASKOM               TX   75692‐1284
O'CONNOR, THOMAS F          2449 BAILEY RD                                                                              FOREST HILL          MD   21050‐1211
O'CONNOR, THOMAS G          19949 S ROSEWOOD DR                                                                         FRANKFORT            IL   60423‐8169
O'CONNOR, THOMAS P          705 BOUTELL DR                                                                              GRAND BLANC          MI   48439‐1922
O'CONNOR, TIMOTHY           8590 THORNBROOK DR                                                                          JENISON              MI   49428‐9555
O'CONNOR, TONYA M           9015 CHURCH DR                                                                              VASSAR               MI   48758‐9400
O'CONNOR,MARK A             4790 N UNION RD                                                                             TROTWOOD             OH   45426‐3712
O'DANIEL, BETTY J           22200 BLACKBURN ST                                                                          SAINT CLAIR SHORES   MI   48080‐3904
O'DANIEL, GREGORY F         10235 ANDERSONVILLE RD                                                                      DAVISBURG            MI   48350‐3146
O'DANIEL, JULIUS C          4435 OAK BAY DR W                                                                           JACKSONVILLE         FL   32277‐1014
O'DANIEL, MARY E            10235 ANDERSONVILLE RD                                                                      DAVISBURG            MI   48350‐3146
O'DANIELS GARAGE            2914 MASSEY TOMPKINS RD                                                                     BAYTOWN              TX   77521‐2829
O'DANIELS, CLINZO           1338 DILLON ST                                                                              SAGINAW              MI   48601‐1326
O'DANIELS, HARRY L          1118 S 25TH ST                                                                              SAGINAW              MI   48601‐6526
O'DAY, ANN M                9 BERT ROAD                                                                                 BUFFALO              NY   14225‐1360
O'DAY, HELEN                SPRING LAKE VILLAGE 434 LAKE V                                                              SOUTHINGTON          CT   06489‐3476
O'DAY, MARY M               3673 PRESTWICK CIR                                                                          GULF SHORES          AL   36542‐2748
O'DAY, MICHAEL J            1626 CAPITOL TRAIL                                                                          NEWARK               DE   19711
O'DAY, MICHAEL P            8213 VERNON AVE                                                                             OMAHA                NE   68134‐2186
O'DAY, STANLEY              GORI JULIAN & ASSOCIATES PC      156 N MAIN ST                                              EDWARDSVILLE         IL   62025
O'DAY, TERENCE J            647 YALE CT                                                                                 BENSALEM             PA   19020‐8221
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Name                        Address1                         Address2                      Address3   Address4         City               State Zip
O'DAY, TERENCE J.           647 YALE CT                                                                                BENSALEM            PA 19020‐8221
O'DEA, DANIEL T             8735 SASHABAW RD                                                                           CLARKSTON           MI 48348‐2921
O'DEA, JAMES D              650 S HURD RD                                                                              OXFORD              MI 48371‐2834
O'DEA, JAMES P              6350 KNOB HILL CT                                                                          GRAND BLANC         MI 48439‐7460
O'DEA, KEVIN A              3137 EARLMOORE LN                                                                          ANN ARBOR           MI 48105‐4116
O'DEA, LEGONA A             17718 DRACENA CIR                                                                          FORT MYERS          FL 33917‐2011
O'DEA, SHERRY L             945 WARD DR SPC 91                                                                         SANTA BARBARA       CA 93111‐2967
O'DEAN SMITH                PO BOX 149                                                                                 SASSAFRAS           KY 41759‐0149
O'DEAN SMITH, JR            58 NIMITZ                                                                                  RIVERSIDE           OH 45431
O'DEAR, DAVID L             1837 MELVILLE CIR                                                                          BRUNSWICK           OH 44212‐4244
O'DEAR, DENISE L            4709 DORAL DR                                                                              BRUNSWICK           OH 44212‐6436
O'DELL JAMES                29195 SPRING ST                                                                            FARMINGTON HILLS    MI 48334‐4139
O'DELL JR, GEORGE E         162 E. GAINSBORG AVE. APT B                                                                WEST HARRISON       NY 10604
O'DELL JR, JERRY R          409 HOLLAND RD                                                                             FLUSHING            MI 48433‐2115
O'DELL JR, JOHN C           425 CLAIRPOINTE WOODS DR                                                                   DETROIT             MI 48215‐4118
O'DELL JR, ROBERT           8452 MORRISH RD                                                                            FLUSHING            MI 48433‐8850
O'DELL WILLIAM D (472132)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                             STREET, SUITE 600
O'DELL, ALVIN R             755 CRALL RD                                                                               MANSFIELD          OH   44903‐9519
O'DELL, BONNIE E            1814 BROADWAY BOULEVARD                                                                    FLINT              MI   48506‐4460
O'DELL, BRIAN D             218 JUNE PL                                                                                BROOKVILLE         OH   45309‐1519
O'DELL, DELL L              1451 W BROCKER RD                                                                          METAMORA           MI   48455‐8965
O'DELL, DELORES M           3728 MARYLAND AVE                                                                          FLINT              MI   48506‐3175
O'DELL, DORIS M             5455 LEWISBURG RD                                                                          LEWISBURG          OH   45338‐9755
O'DELL, ELIZABETH A         1013 BEARD ST                                                                              FLINT              MI   48503‐5393
O'DELL, ELIZABETH ANN       1013 BEARD ST                                                                              FLINT              MI   48503‐5393
O'DELL, ELLA M              4861 STATE ROUTE 248                                                                       CANISTEO           NY   14823‐9790
O'DELL, GEORGE E            814 E KEARSLEY ST APT 515                                                                  FLINT              MI   48503‐1959
O'DELL, GLEN P              64504 WICKLOW HILL DR                                                                      WASHINGTON         MI   48095‐2593
O'DELL, GWEN M              5321 CONIFER DR                                                                            COLUMBIAVILLE      MI   48421‐8988
O'DELL, JOHN                RR 1 BOX 1349                                                                              WAYNE              WV   25570‐9723
O'DELL, JOHN J              PO BOX 134                                                                                 HALE               MI   48739‐0134
O'DELL, JOHN J              P. O. BOX 134                                                                              HALE               MI   48739‐0134
O'DELL, LORRAINE M          1013 BEARD ST                                                                              FLINT              MI   48503‐5393
O'DELL, LYLE A              8839 RICKERT ROAD                                                                          SARANAC            MI   48881‐9415
O'DELL, LYNN E              4934 GRINDERS WAY NE                                                                       LELAND             NC   28451‐9096
O'DELL, OLEN D              2115 STENGER RD                                                                            DOUGLASVILLE       GA   30135‐1429
O'DELL, PAULINE W           1873 BRANDONHALL DR.                                                                       MIAMISBURG         OH   45342‐6327
O'DELL, RANDY W             9629 FERNWOOD DR APT J214                                                                  OLMSTED FALLS      OH   44138‐2680
O'DELL, RAYMOND L           19940 HIGH STAKES VW                                                                       PUEBLO             CO   81008‐3742
O'DELL, RICHARD G           7204 LEAF CIR                                                                              MOUNT MORRIS       MI   48458‐9459
O'DELL, ROBERT D            1331 BEECH ST                                                                              SUMNER             MI   48889‐9769
O'DELL, ROBERT J            1900 REDBUD LN APT 210                                                                     LANSING            MI   48917‐7642
O'DELL, ROGER P             2709 NORTHEAST 68TH STREET                                                                 KANSAS CITY        MO   64119‐1125
O'DELL, ROGER PAUL          2709 NORTHEAST 68TH STREET                                                                 KANSAS CITY        MO   64119‐1125
O'DELL, RONALD J            G1069 N BALLENGER HWY            ROOM 117                                                  FLINT              MI   48504
O'DELL, ROY D               1627 LINDY DR                                                                              LANSING            MI   48917‐8635
O'DELL, RUTH M              9535 QUAILWOOD TRL                                                                         CENTERVILLE        OH   45458‐9697
O'DELL, SANDRA K            14146 LANDINGS WAY                                                                         FENTON             MI   48430‐1316
O'DELL, THELMA L            1344 SW 750TH RD                                                                           HOLDEN             MO   64040‐9189
O'DELL, THELMA L            1344 S W 750                                                                               HOLDEN             MO   64040‐9189
O'DELL, WALTER I            5122 HICKORY CT                                                                            SAGINAW            MI   48603‐9661
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Name                                  Address1                         Address2                        Address3   Address4         City               State Zip
O'DELL, WILLIAM D                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510‐2212
                                                                       STREET, SUITE 600
O'DELL, WILLIAM G                    6155 GARRISON ROAD                                                                            DURAND             MI    48429‐9723
O'DIAM, DONALD E                     1519 WARNKE RD NW                                                                             CULLMAN            AL    35055‐2220
O'DIERNO, MILDRED R                  2010 KENSINGTON ST                                                                            JANESVILLE         WI    53546‐5752
O'DOHERTY, KEVIN W                   2645 EARL LAKE RD                                                                             HOWELL             MI    48843‐8613
O'DOHERTY, PATRICK A                 152 LAKESHORE VIS                                                                             HOWELL             MI    48843‐7561
O'DONNAL, JOANNE L                   24 ROAD 6785                                                                                  FRUITLAND          NM    87416‐9700
O'DONNAL, JOANNE L                   24 COUNTY RD 6785                                                                             FRUITLAND          NM    87416‐9700
O'DONNELL CHEVROLET‐BUICK            100 S SAN GABRIEL BLVD                                                                        SAN GABRIEL        CA    91776‐1645
O'DONNELL CHEVROLET/NATIONAL RENT‐A‐ 100 S SAN GABRIEL BLVD                                                                        SAN GABRIEL        CA    91776‐1645
CAR
O'DONNELL JR, CHARLES                251 LAUREL ST                                                                                 YOUNGSTOWN         OH    44505‐1923
O'DONNELL JR, RAYMOND J              9 CALABASH DR                                                                                 CAROLINA SHORES    NC    28467‐2530
O'DONNELL JR, WALDROP L              20915 BALINSKI DR                                                                             CLINTON TOWNSHIP   MI    48038‐5615
O'DONNELL RAYMOND (464233)           KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                               CLEVELAND          OH    44114
                                                                       BOND COURT BUILDING
O'DONNELL'S QUALITY PONTIAC BUICK     1825 KING ST                                                                                 COCOA               FL   32926‐5125
O'DONNELL'S QUALITY PONTIAC BUICK G   1825 KING ST                                                                                 COCOA               FL   32926‐5125

O'DONNELL'S QUALITY PONTIAC BUICK G   EDWARD O'DONNELL                 1825 KING ST                                                COCOA               FL   32926‐5125

O'DONNELL'S QUALITY PONTIAC BUICK     1825 KING ST                                                                                 COCOA               FL   32926‐5125
GMC TRUCK
O'DONNELL, BERNADINE G                700 EAST STONEGATE DR.           APT. 207                                                    OAK CREEK          WI    53154
O'DONNELL, BERNADINE G                700 E STONEGATE DR APT 318                                                                   OAK CREEK          WI    53154‐8627
O'DONNELL, CHARLES E                  APT 1B                           7423 RIDGE BOULEVARD                                        BROOKLYN           NY    11209‐2330
O'DONNELL, CHARLES E                  7423 RIDGE BLVD APT 1B                                                                       BROOKLYN           NY    11209‐2330
O'DONNELL, CRAIG MD                   5419 W CULLOM AVE                                                                            CHICAGO            IL    60641‐1313
O'DONNELL, DALE E                     815 N WHITTIER PL                                                                            INDIANAPOLIS       IN    46219‐4413
O'DONNELL, DALE E                     815 NORTH WHITTIER PLACE                                                                     INDIANAPOLIS       IN    46219‐4413
O'DONNELL, DENNIS                     ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                                   PHILADELPHIA       PA    19107
                                                                       WANAMAKER BUILDING
O'DONNELL, DENNIS J                   12042 TWIN BROOK DR                                                                          ROMEO              MI    48065‐5444
O'DONNELL, DENNIS J                   23030 BLACKBIRD AVE                                                                          MATTAWAN           MI    49071‐8725
O'DONNELL, FERNANDE Y                 APT 408                          400 EAST MAIN STREET                                        MIDLAND            MI    48640‐6508
O'DONNELL, FREIDA J                   9212 CAIN DR NE                                                                              WARREN             OH    44484‐1709
O'DONNELL, IDA M                      1549 N COUNTY ROAD 1050 E                                                                    INDIANAPOLIS       IN    46234‐9030
O'DONNELL, JAMES D                    42195 FAIRVIEW DR                                                                            CANTON             MI    48187‐3741
O'DONNELL, JAMES DENNIS               42195 FAIRVIEW DR                                                                            CANTON             MI    48187‐3741
O'DONNELL, JAMES E                    3402 BRIGHTON ST                                                                             PHILADELPHIA       PA    19149‐2006
O'DONNELL, JAMES E.                   3402 BRIGHTON ST                                                                             PHILADELPHIA       PA    19149‐2006
O'DONNELL, JOHN D                     7015 RUSHMORE WAY                                                                            PAINESVILLE        OH    44077‐2301
O'DONNELL, JOHN H                     135 EAGLESFIELD WAY                                                                          FAIRPORT           NY    14450‐4406
O'DONNELL, JOHN J                     6207 BIRMINGHAM ST                                                                           CHICAGO RIDGE      IL    60415‐1501
O'DONNELL, JONATHAN D                 4599 JOHNSVILLE BROOKVILLE RD                                                                BROOKVILLE         OH    45309‐9305
O'DONNELL, KENNETH                    286 SUNSHINE DR                                                                              BOLINGBROOK        IL    60490‐1436
O'DONNELL, KEVIN M                    31545 ROBINHOOD DR                                                                           BEVERLY HILLS      MI    48025‐3532
O'DONNELL, MARGARET M                 838 PLUCKEMIN PARK CT                                                                        BEDMINSTER         NJ    07921‐1550
O'DONNELL, MARK A                     1659 LINWOOD AVE                                                                             NIAGARA FALLS      NY    14305‐2905
O'DONNELL, MARY K                     1495 GREAT OAK DR                                                                            PITTSBURGH         PA    15220‐2015
O'DONNELL, NANCY J                    42195 FAIRVIEW DR                                                                            CANTON             MI    48187‐3741
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Name                       Address1                       Address2                       Address3   Address4               City                  State Zip
O'DONNELL, PAMELA S        7636 ANGELINE DR                                                                                NEW HOPE               MN 55428‐4220
O'DONNELL, PATRICIA A      22200 RIVERGATE DR.                                                                             ROCKY RIVER            OH 44116‐3718
O'DONNELL, PATRICK G       41131 DUNSWOOD CT                                                                               NORTHVILLE             MI 48168
O'DONNELL, RAYMOND         KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                                     CLEVELAND              OH 44114
                                                          BOND COURT BUILDING
O'DONNELL, RICHARD A       8670 TAMARACK DR                                                                                SHELBY TOWNSHIP       MI   48317‐1476
O'DONNELL, ROBERT H        5381 BELLE RIVER RD                                                                             ATTICA                MI   48412‐9655
O'DONNELL, ROSE MARY       8670 TAMARACK DR                                                                                SHELBY TOWNSHIP       MI   48317‐1476
O'DONNELL, STEPHEN F       1223 CHATHAM LN                                                                                 BLOOMINGTON           IL   61704‐8229
O'DONNELL, SUSIE M         4486 GREYSTONE VILLAGE DR                                                                       COLUMBUS              OH   43228‐6419
O'DONNELL, SUZANNE         3402 BRIGHTON ST                                                                                PHILADELPHIA          PA   19149‐2006
O'DONNELL, TIMOTHY M       795 SENECA CREEK RD                                                                             BUFFALO               NY   14224
O'DONNELL, VIOLET          54 TANGELO CT                                                                                   LEHIGH ACRES          FL   33936
O'DONNELL‐SULLIVAN INC     1888 E MITCHELL RD                                                                              PETOSKEY              MI   49770‐9686
O'DONOGHUE, ANN K          54654 ASHFORD CT                                                                                SHELBY TWP            MI   48316‐1294
O'DONOGHUE, PATRICK C      1352 BISHOP RD                                                                                  GROSSE POINTE PARK    MI   48230‐1146
O'DONOHUE, ARTHUR L        6087 GOLFVIEW DR                                                                                CASS CITY             MI   48726‐9018
O'DONOHUE, BRIAN J         2145 S CAVALIER DR                                                                              CANTON                MI   48188‐1830
O'DONOHUE, BRIAN JOHN      2145 S CAVALIER DR                                                                              CANTON                MI   48188‐1830
O'DONOHUE, CHERYL A        50821 GEDDES RD                                                                                 CANTON                MI   48188‐2129
O'DONOHUE, RICHARD J       APT 301                        25075 MEADOWBROOK ROAD                                           NOVI                  MI   48375‐2899
O'DONOHUE, SEAN ELLIOTT    2145 S CAVALIER DR                                                                              CANTON                MI   48188‐1830
O'DONOVAN, SEAN P          16453 CHATHAM DR                                                                                MACOMB                MI   48044‐4071
O'DOWD, TERRY F            1418 SPRINGWOOD LN                                                                              ROCHESTER HILLS       MI   48309‐2609
O'DRAS, SANDRA P           32060 DOHANY DR                                                                                 FARMINGTON HILLS      MI   48336‐1820
O'DRISCOLL, ELIZABETH M    140 JACKSON CRES                                                                                CENTERPORT            NY   11721‐1055
O'DRISCOLL, ELLEN          10 RIPLEY LN                                                                                    BELMAR                NJ   07719‐2922
O'FARRELL, CHRISTOPHER M   PO BOX 225                                                                                      ALLEN PARK            MI   48101‐0225
O'FARRELL, RUBY J.         PO BOX 324                                                                                      UNION                 WV   24983‐0324
O'FARRELL, RUBY J.         P. O. BOX 324                                                                                   UNION                 WV   24983‐0324
O'FLAHERTY, CHARLES T      9865 TENNYSON DR                                                                                PLYMOUTH              MI   48170‐3643
O'FLAHERTY, CHARLES T      164 GRAPEVINE CT                                                                                AUSTIN                TX   79737‐4633
O'FLAHRITY, JOHN L         4028 BORDEAUX DR                                                                                JANESVILLE            WI   53546
O'FLAHRITY, RYAN J         4028 BORDEAUX DR                                                                                JANESVILLE            WI   53546‐1782
O'FLYNN, JOHN A            615 TARRINGTON RD                                                                               ROCHESTER             NY   14609‐5753
O'GAVAGAN, JOSEPH A        2506 MARYLAND AVE                                                                               FLINT                 MI   48506‐2894
O'GEEN, JOSHUA A           221 MCGINNIS RD                                                                                 WADDINGTON            NV   13694‐3107
O'GEEN, JOSHUA ADAM        221 MCGINNIS RD                                                                                 WADDINGTON            NY   13694‐3107
O'GEEN, MICHAEL A          221 MCGINNIS RD                                                                                 WADDINGTON            NY   13694‐3107
O'GORMAN MOTORS INC.       983 CHANCELLOR AVE                                                                              IRVINGTON             NJ   07111‐1236
O'GORMAN, GRACE            PO BOX 101                                                                                      CULPEPER              VA   22701‐0101
O'GRADY BROS LTD.          PO BOX 666                                                               EGANVILLE ON K0J 1T0
                                                                                                    CANADA
O'GRADY SR, MICHAEL P      5140 BRIDGEMAN RD                                                                               SANBORN               NY   14132‐9359
O'GRADY, CATHERINE J       127 MUIR RD                                                                                     GROSSE POINTE FARMS   MI   48236‐3616
O'GRADY, DENNIS P          1024 E MARQUETTE AVE                                                                            OAK CREEK             WI   53154‐2242
O'GRADY, GERALD J          1254 ASHOVER DR                                                                                 BLOOMFIELD            MI   48304‐1211
O'GRADY, GERTRUDE          1232 BLUE HERON DR                                                                              SAGINAW               MI   48609‐8910
O'GRADY, MICHAEL K         4755 LIBERTY CT                                                                                 STERLING HEIGHTS      MI   48310‐1942
O'GRADY, PATRICIA J        1238 COUNTY ROAD 100                                                                            FLORENCE              CO   81226‐9544
O'GRADY, PATRICK A         3411 SOUTHAMPTON DR                                                                             JEFFERSONTON          VA   22724‐1751
O'GRADY, ROBERT J          25421 S MICHIGAN CT                                                                             SUN LAKES             AZ   85248‐6567
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Name                         Address1                            Address2                         Address3   Address4         City              State Zip
O'GRADY, TIMOTHY R           3421 PINE AVE                                                                                    NIAGARA FALLS      NY 14301‐2622
O'GREEN, AUGUSTUS L          1778 WHITE SPRUCE DR                                                                             SHERIDAN           MI 48884‐8366
O'GREEN, ROBERT G            36786 MILLBROOK CT                                                                               CLINTON TWP        MI 48035‐1146
O'GUIN, MARJORIE A           124 SPRINGHILL DR                                                                                WHITE LAKE         MI 48386‐1972
O'HAGAN SPENCER              ATTN: CHRISTOPHER C. SPENCER ESQ.   6806 PARAGON PL STE 200                                      RICHMOND           VA 23230‐1824
O'HAGAN SPENCER              CHRISTOPER C. SPENCER, ESQ.         6806 PARAGON PL STE 200                                      RICHMOND           VA 23230‐1824
O'HAGAN SPENCER              CHRISTOPHER C. SPENCER              6806 PARAGON PL                  STE 200                     RICHMOND           VA 23230‐1824
O'HAIL, JUDY M.              570 VONHOF BLVD                                                                                  MANSFIELD          OH 44905‐2058
O'HAIL, JUDY M.              570 VON HOFF BLVD                                                                                MANSFIELD          OH 44905‐2058
O'HAIR, EDNA R               18 O HAIR LN                                                                                     FRENCHBURG         KY 40322‐8508
O'HAIR, EDNA R               HCR 69 BOX 1530                                                                                  FRENCHBURG         KY 40322‐9714
O'HAIR, JAMES M              11107 TIMBERTREE LN                                                                              HOUSTON            TX 77070‐2865
O'HAIR, NORMA J              679 WESTOVER RD                                                                                  AVON               IN 46123
O'HAIR, REVA                 PO BOX 343                                                                                       STANTON            KY 40380‐0380
O'HAIRE, EDWARD M            226 HIGHLAND GOLF DR                                                                             FLAT ROCK          NC 28731‐7504
O'HALLORAN, MARILYN E        2860 PINE KNOLL DR APT 300A                                                                      AUBURN HILLS       MI 48326‐3777
O'HARA JACK JAMES (429554)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                 STREET, SUITE 600
O'HARA JARROD                O'HARA, JARROD                      640 S SAN VICENTE BLVD STE 230                               LOS ANGELES       CA   90048‐4654
O'HARA MEYERS, JOYCE L       9014 PINE COVE DR                                                                                WHITMORE LAKE     MI   48189‐9473
O'HARA, BRENDAN J            16181 RONNIE LN                                                                                  LIVONIA           MI   48154‐2243
O'HARA, BRIAN E              1004 BUCKINGHAM ROAD                                                                             DAYTON            OH   45419‐3745
O'HARA, CHARLES M            7095 BRANCH ST # 180                                                                             MOUNT MORRIS      MI   48458
O'HARA, CHARLES MARTIN       7095 BRANCH ST # 180                                                                             MOUNT MORRIS      MI   48458
O'HARA, CHRISTINE A          7153 WHITE OAK BLVD                                                                              MOUNT MORRIS      MI   48458‐9321
O'HARA, CHRISTINE E          3264 N WENDOVER CIR                                                                              YOUNGSTOWN        OH   44511‐2156
O'HARA, DANIEL R             8750 N PALMYRA RD                                                                                CANFIELD          OH   44406‐9792
O'HARA, DENISE M             6884 BERRY BLOSSOM DR                                                                            CANFIELD          OH   44406‐9635
O'HARA, DENNIS P             411 N OBERT ST                                                                                   DURAND            MI   48429‐1358
O'HARA, EVELYN J             510 GREENVIEW DR                                                                                 NORTHAMPTON       PA   18067‐1969
O'HARA, FRANCES              12744 LAKE DORA CIRCLE                                                                           TAVARES           FL   32778‐4200
O'HARA, FRANCES E            1824 FINSBURY LN                                                                                 VIRGINIA BEACH    VA   23454‐5018
O'HARA, FUGARIA              404 HAWTHORNE CIR                                                                                STOCKBRIDGE       GA   30281‐1624
O'HARA, GLENDON E            6769 FOX CROSSING CT                                                                             AUSTINTOWN        OH   44515‐5614
O'HARA, JACK JAMES           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                                 STREET, SUITE 600
O'HARA, JEFFREY C            853 TURNBRIDGE CIR                                                                               NAPERVILLE        IL   60540‐8342
O'HARA, JOHN A               39764 GLENVIEW CT                                                                                NORTHVILLE        MI   48168‐3439
O'HARA, JOHN C               99 EAST14TH STR                                                                                  HOLLAND           MI   49423
O'HARA, MARGARET J.          965 FLORIDA AVE                                                                                  MC DONALD         OH   44437‐1611
O'HARA, MARGARET J.          4699 CONTINENTAL DRIVE              LOT 62                                                       HOLIDAY           FL   34690‐4690
O'HARA, MICHAEL P            7515 N PALMYRA RD                                                                                CANFIELD          OH   44406‐9709
O'HARA, NEVA E               7622 SANDY BEACH ROAD                                                                            FOND DU LAC       WI   54935
O'HARA, NEVA E               676 N RIDGE CT                                                                                   COLGATE           WI   53017
O'HARA, PATRICK E            4465 WILLOW CREEK DR SE                                                                          WARREN            OH   44484‐2963
O'HARA, PATRICK J            26 JEFFERSON AVE                                                                                 MASSAPEQUA PARK   NY   11762‐2614
O'HARA, ROBERT H             10298 LISBON RD                                                                                  CANFIELD          OH   44406‐9414
O'HARA, SANDRA J             528 CLARK ST                                                                                     MILFORD           OH   45150‐1210
O'HARA, SHANNON P            12217 MARGARET DR                                                                                FENTON            MI   48430‐8805
O'HARA, TERESA S             219 DELLFIELD LN                                                                                 GAHANNA           OH   43230‐3222
O'HARA, THOMAS S             3760 AYRSHIRE DR                                                                                 YOUNGSTOWN        OH   44511‐1120
O'HARA, TIMOTHY M            6884 BERRY BLOSSOM DR                                                                            CANFIELD          OH   44406‐9635
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Name                        Address1                           Address2                       Address3   Address4         City                  State Zip
O'HARA, VIOLET P            3800 SUMMIT GLEN RD                C/O DEWAYNE RAY SPADAFORA                                  DAYTON                 OH 45449‐3647
O'HARA, WILLIAM J           354 N MAIN ST                                                                                 COHASSET               MA 02025‐1365
O'HARA, WILLIAM P           2357 HOGAN WAY                                                                                CANTON                 MI 48188‐6303
O'HARE HILTON/CHICAG        PO BOX 66414                       O'HARE INTERNATIONAL AIRPORT                               CHICAGO                 IL 60666‐0414

O'HARE, CATHLEEN B          621 WOODS LN                                                                                  GROSSE POINTE WOODS   MI   48236‐1160
O'HARE, CATHLEEN BIENIEK    621 WOODS LN                                                                                  GROSSE POINTE WOODS   MI   48236‐1160
O'HARE, JAMES V             18 PINEGROVE PARK                                                                             HAMBURG               NY   14075‐5870
O'HARE, JEFFREY P           4152 SCENIC DR E                                                                              SAGINAW               MI   48603‐9624
O'HARE, KEITH A             4600 CHURCH RD                                                                                RHODES                MI   48652‐9737
O'HARE, MICHAEL G           PO BOX 9022                        C/O SHANGHAI                                               WARREN                MI   48090‐9022
O'HARE, MICHAEL J           1251 N WALDEN LN                                                                              ANAHEIM               CA   92807‐2423
O'HARE, MICHAEL P           17030 SHARON RD                                                                               CHESANING             MI   48616‐9567
O'HARE, MYLES A             PO BOX 492                                                                                    GENESEE               MI   48437‐0492
O'HARRIS, ROSEMARY F        34585 WINSLOW                                                                                 WAYNE                 MI   48184‐2390
O'HAVER, ROBERT D           187 N POST RD                                                                                 INDIANAPOLIS          IN   46219‐5537
O'HEA, DANIEL J             7 OPAL ST                                                                                     HOLBROOK              NY   11741‐4709
O'HEARN, FRANCIS F          146 EREAN STREET BOX 151                                                                      MONTROSE              MI   48457
O'HEARN, KARA               1720 N BALLENGER HWY                                                                          FLINT                 MI   48504‐3072
O'HEREN, LORI E             25 BUENA VISTA AVE                                                                            BOARDMAN              OH   44512‐4607
O'HEREN, LORI E             4524 JAYLIN ST                                                                                FT WORTH              TX   76244‐9029
O'HERN, PATRICK J           10139 WOODLAWN ST                                                                             TAYLOR                MI   48180‐3291
O'HERRON, CHARLES L         8825 HYNE RD                                                                                  BRIGHTON              MI   48114‐4955
O'HERRON, MICHELLE N        8825 HYNE RD                                                                                  BRIGHTON              MI   48114‐4955
O'HEY, MARLENE M.           7 ARBOR LANE                                                                                  LEVITTOWN             PA   19055‐1201
O'KANE HARRY J (411359)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA   23510
                                                               STREET, SUITE 600
O'KANE WILLIAM J (356260)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA 23510
                                                               STREET, SUITE 600
O'KANE, B J                 199 KEATS AVE                                                                                 ELIZABETH             NJ 07208‐1059
O'KANE, BRIGID P            1610 E MCMILLAN ST                                                                            CINCINNATI            OH 45206‐2110
O'KANE, HARRY J             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA 23510‐2212
                                                               STREET, SUITE 600
O'KANE, JAMES C             12345 INDEPENDENCE AVE                                                                        SHELBY TWP            MI 48315‐4633
O'KANE, KIMBERLY L          11230 HILLMAN                                                                                 DAVISBURG             MI 48350‐3508
O'KANE, WILLIAM J           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA 23510‐2212
                                                               STREET, SUITE 600
O'KEEF, ROBERT F            276 HOBART AVENUE                                                                             SHORT HILLS           NJ   07078‐2235
O'KEEF, ROBERT F            276 HOBART AVE                                                                                SHORT HILLS           NJ   07078‐2235
O'KEEFE CHEVROLET, INC.     101 ARCH ST FL 9                                                                              BOSTON                MA   02110‐1131
O'KEEFE, CHARLES E          2857 BLUE LEVEL RD                                                                            BOWLING GREEN         KY   42101‐9008
O'KEEFE, COLLEEN M          4304 TONAWANDA AVENUE                                                                         ROYAL OAK             MI   48073‐1634
O'KEEFE, GLORIA             9701 AMERICAN FARMS RD                                                                        MILTON                FL   32583‐9457
O'KEEFE, JANICE M           2075 GULLIVER                                                                                 TROY                  MI   48085‐1031
O'KEEFE, JANICE M           2075 GULLIVER DR                                                                              TROY                  MI   48085‐1031
O'KEEFE, JOSEPH R           1518 HONEYSUCKLE DR                                                                           BEL AIR               MD   21014‐1905
O'KEEFE, KENNETH M          103 COLONIAL DR                                                                               GRAND ISLAND          NY   14072‐1850
O'KEEFE, MICHAEL R          2749 BENT TREE DR                                                                             DEXTER                MI   48130‐9403
O'KEEFE, MICHAEL W          1280 RAHMIER RD                                                                               MOSCOW MILLS          MO   63362‐2808
O'KEEFE, ROBERT W           10915 E GOODALL RD UNIT 42                                                                    DURAND                MI   48429
O'KEEFE, SEAN M             103 COLONIAL DR                                                                               GRAND ISLAND          NY   14072‐1850
O'KEEFE, SEAN R             19503 SCENIC HARBOUR DR                                                                       NORTHVILLE            MI   48167‐1978
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Name                                  Address1                        Address2                 Address3     Address4         City             State Zip
O'KEEFE, STEVEN P                     1416 CAREY CT                                                                          CARMEL            IN 46032‐9224
O'KEEFE, TIMOTHY C                    9398 WHARF DR                                                                          IRA               MI 48023‐2835
O'KEEFE,MICHAEL R                     2749 BENT TREE DR                                                                      DEXTER            MI 48130‐9403
O'KELLEY, CYNTHIA A                   8733 S COCHRAN RD                                                                      OLIVET            MI 49076‐9633
O'KELLEY, CYNTHIA ANN                 8733 S COCHRAN RD                                                                      OLIVET            MI 49076‐9633
O'KELLEY, DANNY E                     20548 CLARK RD                                                                         BELLEVILLE        MI 48111‐9173
O'KELLEY, DELORES                     4730 CLARKS BRIDGE RD                                                                  GAINESVILLE       GA 30506‐2947
O'KELLEY, JAMES A                     4734 MIDLAND AVE                                                                       WATERFORD         MI 48329‐1839
O'KELLEY, JEFFREY M                   8733 S COCHRAN RD                                                                      OLIVET            MI 49076‐9633
O'KELLEY, JOE T                       616 LAKEVIEW DR                                                                        MONROE            GA 30656‐1555
O'KELLEY, RICHARD J                   2726 CLEARWATER SPRINGS DR                                                             BUFORD            GA 30519‐8021
O'KELLY, C                            100 BARNSDALE                                                                          WEST SENECA       NY 14224‐1104
O'KELLY, WESLEY M                     172 ROESCH AVE UPPR                                                                    BUFFALO           NY 14207
O'KIEF, PATRICK J                     3310 SHILOH DR                                                                         LIMA              OH 45801‐2131
O'LAUGHLIN CONSTRUCTION CO            ATTN: MARK O'LAUGHLIN           7700 2ND AVE                                           DETROIT           MI 48202‐2411
O'LAUGHLIN PONTIAC‐BUICK‐CADILLAC‐G   4580 RTE 219                                                                           GREAT VALLEY      NY 14741

O'LAUGHLIN PONTIAC‐BUICK‐CADILLAC‐    4580 RTE 219                                                                           GREAT VALLEY     NY 14741
GMC TRUCK, INC.
O'LAUGHLIN PONTIAC‐BUICK‐CADILLAC‐    LAWRENCE O'LAUGHLIN             4580 RTE 219                                           GREAT VALLEY     NY 14741
GMC TRUCK, INC.
O'LAUGHLIN, BETTY J                   1861 E PREVO RD                                                                        LINWOOD          MI   48634‐9494
O'LAUGHLIN, JAMES B                   2812 COMANCHE DR                                                                       KETTERING        OH   45420‐3831
O'LAUGHLIN, TIMOTHY L                 10036 ALONDRA ST                                                                       SHREVEPORT       LA   71115‐3403
O'LAUGHLIN, TIMOTHY LAWRENCE          10036 ALONDRA ST                                                                       SHREVEPORT       LA   71115‐3403
O'LEAR, ANDREW J                      2225 HAMPDEN DR                                                                        LANSING          MI   48911‐1636
O'LEAR, DAVID F                       PO BOX 239                                                                             LINDEN           MI   48451‐0239
O'LEAR, ELSIE E                       4340 MEADOWS AVE                                                                       GRAND BLANC      MI   48439‐8689
O'LEARY TURNER, BARBARA J             35351 ERIE DR                                                                          ROCKWOOD         MI   48173‐9672
O'LEARY TURNER, BARBARA JANE          35351 ERIE DR                                                                          ROCKWOOD         MI   48173‐9672
O'LEARY, ANNA C                       1253 ST JOHN RD                                                                        ST JOHN PLT      ME   04743
O'LEARY, BARBARA F                    11224 DAVISON RD                                                                       DAVISON          MI   48423‐8102
O'LEARY, BREEDA K                     35351 ERIE DR                                                                          ROCKWOOD         MI   48173‐9672
O'LEARY, CHRISTOPHER A                480 ANDREWS RD                                                                         MINEOLA          NY   11501‐1002
O'LEARY, CINDY LUCILLE                3424 CLARK ST                                                                          WAYNE            MI   48184‐1158
O'LEARY, CLARA G                      3248E 900 N                                                                            ROANOKE          IN   46783
O'LEARY, DANIEL E                     2543 FRISCO DR                  C/O D. MICHAEL O'LEARY                                 CLEARWATER       FL   33761‐3821
O'LEARY, DEBORAH A                    1855 HOLLYWOOD ST NE                                                                   WARREN           OH   44483‐4483
O'LEARY, DOUGLAS J                    4108 ONTARIO CENTER RD                                                                 WALWORTH         NY   14568‐9323
O'LEARY, ERIN GRACE                   1212 SHADOWOOD PKWY SOUTHEAST                                                          ATLANTA          GA   30339‐2323
O'LEARY, GEORGE                       14 LINCOLN WALK                                                                        ROCKAWAY POINT   NY   11697‐1710
O'LEARY, GERALD                       2535 APPLEGATE RD                                                                      APPLEGATE        MI   48401
O'LEARY, GORDON E                     10911 POSSUM TRAIL RD           ROUTE 1                                                HARRISON         TN   37341‐7993
O'LEARY, JAMES J                      801 W ANN ARBOR TRL STE 310                                                            PLYMOUTH         MI   48170‐1680
O'LEARY, JAMES T                      13622 N HAWTHORN DR                                                                    SUN CITY         AZ   85351‐2319
O'LEARY, JILL ELAINE                  10280 LAPEER RD                                                                        DAVISON          MI   48423‐8151
O'LEARY, JOHN N                       6177 N STATE RD                                                                        DAVISON          MI   48423‐9364
O'LEARY, KEITH D                      703 JACOBS RD                                                                          MACEDON          NY   14502‐9350
O'LEARY, KELLY A                      751 ELMWOOD TER                                                                        ROCHESTER        NY   14620‐3715
O'LEARY, KEVIN D                      6316 ORIOLE DR                                                                         FLINT            MI   48506‐1721
O'LEARY, KEVIN DALE                   6316 ORIOLE DR                                                                         FLINT            MI   48506‐1721
O'LEARY, MARJORIE P                   55 VICTORIA ST                                                                         WASHINGTON       PA   15301‐4348
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Name                        Address1                      Address2                 Address3     Address4         City               State Zip
O'LEARY, MARTHA M           BOX682 CENTER SOUTH RD                                                               LEAVITTSBURG        OH 44430‐4430
O'LEARY, MARTIN D           1694 WEYHILL DR                                                                      WIXOM               MI 48393‐1122
O'LEARY, MARY JO            11091 BUBB RD                                                                        CUPERTINO           CA 95014‐4977
O'LEARY, MICHAEL F          1360 STARLIGHT CT                                                                    HOWELL              MI 48843‐6153
O'LEARY, MICHAEL P          7292 BERNE RD                                                                        PIGEON              MI 48755‐9709
O'LEARY, MICHAEL W          4431 NE 20TH AVE APT 4                                                               OAKLAND PARK        FL 33308‐5139
O'LEARY, NANCY A            3817 LAKE LAPEER DR                                                                  METAMORA            MI 48455‐9613
O'LEARY, PATRICIA A         16258 WHITTAKER RD                                                                   LINDEN              MI 48451‐9096
O'LEARY, PATRICK J          19405 APPLE CREEK DR                                                                 CLINTON TOWNSHIP    MI 48038‐1404
O'LEARY, PATRICK M          3248 E 900 N                                                                         ROANOKE             IN 46783‐9142
O'LEARY, ROSE L             2062 GARNER RD                                                                       MT PLEASANT         TN 38474‐2824
O'LEARY, STEVEN             8014 SHADY LAKE CT                                                                   FORT WAYNE          IN 45804‐7865
O'LEARY, TIMOTHY Q          8384 N BRAY RD                                                                       MOUNT MORRIS        MI 48458‐8929
O'LEARY, VIRGINIA A         PO BOX 607                                                                           DOUGLAS             MI 49406‐0607
O'LEARY, WILLIAM L          5294 E ATHERTON RD                                                                   BURTON              MI 48519‐1530
O'LEARY,JAMES J             801 W ANN ARBOR TRL STE 310                                                          PLYMOUTH            MI 48170‐1680
O'LEARY,MARTIN D            1694 WEYHILL DR                                                                      WIXOM               MI 48393‐1122
O'LEARY‐HAYES, KRISTINE E   7745 WAGON WHEEL DR                                                                  GOLETA              CA 93117‐1006
O'LESKE, MARVIN J           5213 RANCH ACRES DR                                                                  LOVELAND            CO 80538‐1639
O'LOUGHLIN BIRD, JANE E     PO BOX 5985                                                                          BRADENTON           FL 34281‐5985
O'LOUGHLIN BIRD, JANE E     P.O. BOX 5985                                                                        BRADENTON           FL 34281‐5985
O'LOUGHLIN, JAMES E         12915 W MEADOW LN                                                                    NEW BERLIN          WI 53151‐1835
O'LOUGHLIN, SEAN P          9133 BOWMAN FARMS LN                                                                 SYLVANIA            OH 43560‐9242
O'MAHONEY, CHARLES L        PAUL REICH & MYERS P.C.       1608 WALNUT ST STE 500                                 PHILADELPHIA        PA 19103‐5446
O'MALIA JR, FRANK L         9664 DUCK CREEK RD                                                                   SALEM               OH 44460‐9637
O'MALLEY AUTOMOTIVE INC.    3405 STEWART AVE                                                                     WAUSAU              WI 54401‐3943
O'MALLEY AUTOMOTIVE INC.    JOHN O'MALLEY                 3405 STEWART AVE                                       WAUSAU              WI 54401‐3943
O'MALLEY, ANNMARIE K        53241 BUTTERNUT ST                                                                   CHESTERFIELD        MI 48051‐2756
O'MALLEY, CAROL A           14001 JOEL CT                                                                        LARGO               FL 33774‐5107
O'MALLEY, DANIEL B          7765 SUTTON PLACE DR                                                                 WARREN              OH 44484
O'MALLEY, DEBRA J           1026 AIRPORT RD NW                                                                   WARREN              OH 44481‐9318
O'MALLEY, GWEN M            5401 DOOLEY DR                                                                       LINDEN              MI 48451‐8901
O'MALLEY, JAMES J           1341 MARLOWE AVE APT 803                                                             LAKEWOOD            OH 44107‐2667
O'MALLEY, JOHN K            4673 FOXCROFT AVE NW                                                                 COMSTOCK PARK       MI 49321‐9321
O'MALLEY, LAWRENCE E        1026 AIRPORT RD NW                                                                   WARREN              OH 44481‐9318
O'MALLEY, LUCY              521 FORTH AVE.                                                                       SCRANTON            PA 18505
O'MALLEY, MICHAEL R         7060 YARMY DR                                                                        SWARTZ CREEK        MI 48473‐1546
O'MALLEY, PATRICK A         5017 VIA JACINTO                                                                     SANTA BARBARA       CA 93111‐2739
O'MALLEY, PATRICK J         304 MAPLE AVE                                                                        DELANCO             NJ 08075‐4828
O'MALLEY, PENNY             6306 VINCENT RD                                                                      GRANT TOWNSHIP      MI 48032‐3907
O'MALLEY, ROBERT B          28 MAHONING CT UNIT B                                                                NEWTON FALLS        OH 44444‐2904
O'MALLEY, SHIRLEY A         1388 SUGARBERRY CT                                                                   MOORESVILLE         IN 46158‐7637
O'MALLEY, TERRANCE M        5401 DOOLEY DR                                                                       LINDEN              MI 48451‐8901
O'MALLEY, THOMAS L          6850 KLUG PINES RD LOT 59                                                            SHREVEPORT          LA 71129‐2423
O'MALLEY, WILLIAM J         600 W GALBRAITH                                                                      MELVIN              MI 48454
O'MARA, CHRISTY M           9025 PINE HILL TRL                                                                   FENTON              MI 48430‐9217
O'MARA, DANIEL L            5543 W ISABELLA RD                                                                   MOUNT PLEASANT      MI 48858‐9302
O'MARA, DAVID C             537 BEAHAN RD                                                                        ROCHESTER           NY 14624‐3403
O'MARA, JOHN                3258 LAKESHORE RD                                                                    DECKERVILLE         MI 48427‐9630
O'MARA, MICHAEL P           16728 KENMORE RD                                                                     KENDALL             NY 14476‐9626
O'MARY, HENRY L             SUNSET MANNER NURSEING HOME   251 SUNSET PLACE                                       GUIN                AL 35563
O'MEARA, JOHN M             2903 MCARTHUR DR                                                                     FORT WAYNE          IN 46809‐2845
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Name                         Address1                             Address2                  Address3       Address4         City               State Zip
O'MEARA, PATRICK C           4950 COAL ROAD                                                                                 VIENNA              OH 44473‐9677
O'MEARA, SHARON P            48615 ROMA VALLEY                    APT B10                                                   SHELBY TWP          MI 48317
O'MEARA, SUSAN L             21743 SUE ELLEN DR                                                                             MACOMB              MI 48044‐2955
O'MEARA, THOMAS P            1423 CABRILLO AVE APT A                                                                        VENICE              CA 90291‐5746
O'MEARA, THOMAS P            1423 CABRILLO AVE                    APT A                                                     VENICE              CA 90291‐5745
O'MELIA, CAROL K             1985 BRITTAINY OAKS TRL NE                                                                     WARREN              OH 44484‐3959
O'MELIA, RUTH M              1985 BRITTAINY OAKS TRL NE                                                                     WARREN              OH 44484‐3959
O'MELIA, WILLIAM L           1985 BRITTAINY OAKS TRL NE                                                                     WARREN              OH 44484‐3959
O'MICHAEL, JOSEPH L          703 SWINGING SPEAR RD                                                                          ROSWELL             NM 88201‐7822
O'MORROW, CHRISTOPHER D      6884 NORTHCREST WAY E                                                                          CLARKSTON           MI 48346‐2744
O'MORROW, CHRISTOPHER DALE   6884 NORTHCREST WAY E                                                                          CLARKSTON           MI 48346‐2744
O'MORROW, ELDON L            229 ESTHER ST                                                                                  LAKELAND            FL 33815‐7411
O'MORROW, PATRICK M          9488 GALE RD                                                                                   GOODRICH            MI 48438‐9457
O'MORROW, THOMAS A           5595 E IRLO BRONSON HIGHWAY LOT                                                                SAINT CLOUD         FL 34771
O'MORROW, THOMAS ARTHUR      5595 E IRLO BRONSON HIGHWAY LOT #8                                                             SAINT CLOUD         FL 34771

O'NAGHTEN, MARIA C           1012 S GREENWAY DR                                                                             CORAL GABLES       FL   33134‐4763
O'NEAL ALLEN                 279 S MARSHALL ST                                                                              PONTIAC            MI   48342‐3247
O'NEAL CAR CARE CENTER       3855 ONEAL LN                                                                                  BATON ROUGE        LA   70816‐0902
O'NEAL GIBBS                 8812 UNDERWOOD AVE                                                                             CALIFORNIA CITY    CA   93505‐3930
O'NEAL JR, CLARENCE H        920 RED CARROUSEL CT                                                                           NORTH LAS VEGAS    NV   89031‐7257
O'NEAL JR, EDMOND C          1137 BURNT LEAF LN                                                                             GRAND BLANC        MI   48439‐4969
O'NEAL JR, WILLIAM H         3601 N NEW LOTHROP RD                                                                          CORUNNA            MI   48817‐9738
O'NEAL JR, WILLIAM HARVEY    3601 N NEW LOTHROP RD                                                                          CORUNNA            MI   48817‐9738
O'NEAL MARSHALL              508 BOWMAN ST                                                                                  MANSFIELD          OH   44903‐1207
O'NEAL ROSS                  1704 PLUMB DR                                                                                  MIDWEST CITY       OK   73130‐6505
O'NEAL STEEL, INC.           DEANNA TAYLOR                        745 41ST ST N                                             BIRMINGHAM         AL   35222‐1123
O'NEAL, ALETA O              20245 HUNTINGTON RD                                                                            DETROIT            MI   48219‐1413
O'NEAL, ANGELA               C/O GOLDENBERG HELLER ANTOGNOLI &    2227 S STATE RTE 157                                      EDWARDSVILLE       IL   62025
                             ROWLAND P C
O'NEAL, ANITA L              4404 ARIZONA AVENUE                                                                            BALTIMORE          MD   21206‐3609
O'NEAL, ANNA B               4808 WALNUT SQUARE BLVD.                                                                       FLINT              MI   48532‐2428
O'NEAL, AURELIA M            2807 HERBERT DR                                                                                WILMINGTON         DE   19808‐2418
O'NEAL, BERNICE              PO BOX 2112                                                                                    SAGINAW            MI   48605‐2112
O'NEAL, BETTY M              655 E MAIN ST                                                                                  RUSSIAVILLE        IN   46979‐9131
O'NEAL, BILLY C              4500 47TH CT E                                                                                 TUSCALOOSA         AL   35405‐4774
O'NEAL, CAROLYN S            590 N LIBERTY ST                                                                               RUSSIAVILLE        IN   46979‐9793
O'NEAL, CHARLES              PORTER & MALOUF PA                   4670 MCWILLIE DR                                          JACKSON            MS   39206‐5621
O'NEAL, CHARLES D            BILMS KEVIN P                        430 CRAWFORD ST STE 202                                   PORTSMOUTH         VA   23704‐3813
O'NEAL, CHARLIE M            124 STRAFFORD ST                                                                               JACKSON            MS   39209‐2434
O'NEAL, CLARA B              10660 LITHOPOLIS RD                                                                            CANAL WINCHESTER   OH   43110‐8804
O'NEAL, CLARENCE             10097 WEST LISBON AVENUE                                                                       MILWAUKEE          WI   53222‐2441
O'NEAL, DAISY M              1108 BUICK AVE                                                                                 YPSILANTI          MI   48198‐6276
O'NEAL, DAISY M              1108 BUICK                                                                                     YPSILANTI          MI   48197
O'NEAL, DENNIS J             1305 OAK ST                                                                                    BETHANY            MO   64424‐1521
O'NEAL, DENNIS W             16009 CAVANAUGH LAKE RD                                                                        CHELSEA            MI   48118‐9758
O'NEAL, DOROTHY J            416 MORGAN FORK CHURCH                                                                         ROXIE              MS   39661‐9661
O'NEAL, E STANLEY            230 W 55TH ST APT 28E                                                                          NEW YORK           NY   10019‐5206
O'NEAL, EVELYN L             PO BOX 193                                                                                     ALGOMA             MS   38820‐0193
O'NEAL, GARY                 1108 BUICK AVE                                                                                 YPSILANTI          MI   48198‐6276
O'NEAL, GLORIA               912 HUNTINGTON PL                                                                              PEACHTREE CITY     GA   30269‐3607
O'NEAL, HAROLD B             3891 BLACK FOREST DR                                                                           MEMPHIS            TN   38128‐2845
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Name                       Address1                         Address2                       Address3   Address4         City               State Zip
O'NEAL, JAMES B            7360 NATIONAL RD                                                                            BROOKVILLE          OH 45309‐9217
O'NEAL, JASON L            4309 GLENDALE ST                                                                            DETROIT             MI 48238‐3224
O'NEAL, JAYNE W            1417 WHITE DAISY WAY                                                                        NORTH LAS VEGAS     NV 89081‐6765
O'NEAL, JEANNE E           1105 S MASONIC ST                                                                           DELPHI              IN 46923‐1625
O'NEAL, JEANNE R           8965 COCKERHAM CIR                                                                          INDIANAPOLIS        IN 46278‐5044
O'NEAL, JEFFREY J          23122 ROCHELLE ST                                                                           MACOMB              MI 48042‐5162
O'NEAL, JOHNNIE R          570 INDIAN CREEK ROAD                                                                       HUNTLAND            TN 37345‐3011
O'NEAL, JOHNNY R           7209 SOUTHERN AVE                                                                           SHREVEPORT          LA 71106‐4353
O'NEAL, JOHNNY RAY         7209 SOUTHERN AVE                                                                           SHREVEPORT          LA 71106‐4353
O'NEAL, JOSHUA W           26238 TIMBERLINE DR                                                                         WARRENTON           MO 63383‐6545
O'NEAL, JR.,AVERY          PO BOX 629                                                                                  CEDARVILLE          OH 45314‐0629
O'NEAL, KARLOUS Y          1137 BURNT LEAF LN                                                                          GRAND BLANC         MI 48439‐4969
O'NEAL, KATHRYN V          P O BOX 1864                                                                                NEW SMYRNA BEACH    FL 32170‐1864
O'NEAL, LA J               3880 CATLINA ST                                                                             TITUSVILLE          FL 32796
O'NEAL, LAURA M            15868 ILENE ST                                                                              DETROIT             MI 48238‐1047
O'NEAL, LEONARD            1904 W ALEXIS RD APT C                                                                      TOLEDO              OH 43613
O'NEAL, LESLEE A           3601 N NEW LOTHROP RD                                                                       CORUNNA             MI 48817‐9738
O'NEAL, LINDA B            3108 NE 90TH TER                                                                            KANSAS CITY         MO 64156
O'NEAL, LISA M             7360 NATIONAL RD                                                                            BROOKVILLE          OH 45309‐9217
O'NEAL, MARCIA S           6008 N HOWARD AVE                                                                           GLADSTONE           MO 64118‐5563
O'NEAL, MARION B           235 W GLOUCESTER DR                                                                         SAGINAW             MI 48609‐9427
O'NEAL, MARION B           235 WEST GLOUCESTER                                                                         SAGINAW             MI 48609
O'NEAL, MARY M             1416 BENTEEN AVE SE                                                                         ATLANTA             GA 30315‐4430
O'NEAL, MICHAEL J          5341 W COURT ST                                                                             FLINT               MI 48532‐3344
O'NEAL, PATRICIA J         801 MANITOU RD                                                                              HILTON              NY 14468‐9786
O'NEAL, PEGGY M            8749 COUNTY ROAD 46                                                                         GALION              OH 44833‐9666
O'NEAL, PHYLLIS A          1117 N ORIANNA ST                                                                           PHILADELPHIA        PA 19123‐1506
O'NEAL, RAYMOND            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                            PROFESSIONAL BLDG
O'NEAL, REITHA M           6032 POWCAN RD                                                                              BRUINGTON          VA   23023‐2007
O'NEAL, RETTA M            1055 JUDSON COURT                                                                           GREENCASTLE        IN   46135
O'NEAL, RETTA M            1055 JUDSON CT                                                                              GREENCASTLE        IN   46135‐1426
O'NEAL, RHONDA             8749 COUNTY ROAD 46                                                                         GALION             OH   44833‐9666
O'NEAL, RONALD W           184 HOUSTON CT                                                                              GRIFFIN            GA   30224‐9594
O'NEAL, S T                909 REDWOOD DR                                                                              ANDERSON           IN   46011‐1061
O'NEAL, SHINO H            12325 MAGNOLIA CIR                                                                          ALPHARETTA         GA   30005‐4691
O'NEAL, STEPHANIE M        397 PRIVATE ROAD 5524                                                                       CELINA             TX   75009‐2193
O'NEAL, SUE                10097 WEST LISBON AVENUE                                                                    MILWAUKEE          WI   53222‐2441
O'NEAL, TRINA N            4464 FAIRWAY DRIVE                                                                          SHREVEPORT         LA   71109‐4002
O'NEAL, TROY D             101 CLINTON AVE APT 2T                                                                      MINEOLA            NY   11501‐2808
O'NEAL, WILLIAM P          12325 MAGNOLIA CIR                                                                          ALPHARETTA         GA   30005‐4691
O'NEAL, WILLIE T           465 44TH ST                                                                                 COPIAGUE           NY   11726‐1009
O'NEAL‐KAWOLO, WAVIE L     35859 GARNER ST                                                                             ROMULUS            MI   48174‐4111
O'NEAL‐WINTERS, DANITA G   7231 RAWLINS SQ                                                                             INDIANAPOLIS       IN   46260‐3715
O'NEALL, WILLIAM F         7755 RUSH BRANCH RD                                                                         SOMERSET           KY   42501
O'NEIL BUICK GMC           MICHAEL O'NEIL                   869 W STREET RD                                            WARMINSTER         PA   18974‐3126
O'NEIL BUICK PONTIAC GMC   869 W STREET RD                                                                             WARMINSTER         PA   18974‐3126
O'NEIL BUICK‐GMC           MICHAEL O'NEIL                   869 W STREET RD                                            WARMINSTER         PA   18974‐3126
O'NEIL COZART              506 OAKCREST DR                                                                             IRWIN              PA   15642‐3272
O'NEIL DAVIDSON            7899 COUNTRY VIEW LANE                                                                      BROOKVILLE         OH   45309
O'NEIL JR, GERRY L         10485 E COLE RD                                                                             DURAND             MI   48429‐9494
O'NEIL JR, PATRICK M       PO BOX 243                                                                                  CLARKDALE          GA   30111‐0243
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Name                              Address1                          Address2                           Address3   Address4         City                State Zip
O'NEIL VINCENT (446716)           CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND            OH 44115
                                  GAROFOLI                          FL
O'NEIL, ALLEN C                   1854 WINDWOOD APT 102                                                                            ROCHESTER HILLS     MI   48307‐5678
O'NEIL, ASHLEY                    1934 PORTWAY RD                                                                                  SPRING HILL         TN   37174‐9293
O'NEIL, BRENDA                    101 NEW VALENCIA (VALENCIA)                                                                      BRONX               NY   10469
O'NEIL, BRIAN M                   614 WATERSEDGE DR                                                                                ANN ARBOR           MI   48105‐2515
O'NEIL, CHRISTINE L               22163 BEECH ST                                                                                   DEARBORN            MI   48124‐2701
O'NEIL, DANIEL L                  995 DAY RD                                                                                       VASSAR              MI   48768‐9264
O'NEIL, DELORES M                 1113 CHICAGO LN                                                                                  FRIENDSHIP          WI   53934‐9742
O'NEIL, DORIS M                   RR 1 BOX 257                                                                                     RONCEVERTE          WV   24970‐9734
O'NEIL, DORIS M                   RT 1 BOX 257                                                                                     RONCEVERTE          WV   24970‐9734
O'NEIL, ELAINE E                  330 CHERRY ST                                                                                    POTTERVILLE         MI   48876
O'NEIL, ELAINE E                  330 W CHERRY ST                                                                                  POTTERVILLE         MI   48876‐9737
O'NEIL, GWEN E                    24 CORTLAND CIR                                                                                  LUNENBURG           MA   01462‐1493
O'NEIL, JASON P                   1027 HURON ST                                                                                    FLINT               MI   48507‐2325
O'NEIL, JOYCE                     6733 ASCOT DR                                                                                    ANTIOCH             TN   37013‐1169
O'NEIL, JOYCE C                   760 TERNI LN # B                                                                                 SANTA BARBARA       CA   93105‐4431
O'NEIL, JR, LARRY R               30325 BARNES LN                                                                                  WATERFORD           WI   53185
O'NEIL, KEVIN S                   PO BOX 9022                       C/O ADAM OPEL                                                  WARREN              MI   48090‐9022
O'NEIL, KREED F                   4033 SHAWNEE RD                                                                                  WELLSVILLE          KS   66092‐8752
O'NEIL, MARY A                    13380 RIDGE RD                                                                                   N HUNTINGDON        PA   15642‐2161
O'NEIL, MARY N                    10454 SMITH RD                                                                                   GAINES              MI   48436‐9752
O'NEIL, MICHAEL                   7485 DEER XING                                                                                   ROSCOE              IL   61073‐9755
O'NEIL, MICHAEL J                 18W218 LOWELL LN                                                                                 VILLA PARK          IL   60181‐3814
O'NEIL, PATRICIA A                PO BOX 9022                       C/O ADAM OPEL                                                  WARREN              MI   48090‐9022
O'NEIL, PHILIP                    10515 GREEN RD                                                                                   GOODRICH            MI   48438‐9415
O'NEIL, ROBERT G                  3612 VALLEY VIEW LANE RT#3                                                                       ROANOKE             TX   76262
O'NEIL, ROBERT L                  12109 W GRAND BLANC RD                                                                           DURAND              MI   48429‐9308
O'NEIL, RONALD D                  PO BOX 52                                                                                        GOULD CITY          MI   49838‐0052
O'NEIL, ROSE                      3963 BASSWOOD AVE,                                                                               GROVE CITY          OH   43123
O'NEIL, SAMUEL F                  12 WATERVILLE ST                                                                                 NORTH GRAFTON       MA   01536‐1823
O'NEIL, SANDRA                    1933 MANHATTAN AVE                                                                               YOUNGSTOWN          OH   44509‐1533
O'NEIL, TERRY L                   901 HURON ST                                                                                     FLINT               MI   48507‐2554
O'NEIL, THOMAS L                  6672 CLEVELAND RD                                                                                RAVENNA             OH   44266‐1840
O'NEIL, THOMAS L                  3963 BASSWOOD AVE                                                                                GROVE CITY          OH   43123‐9203
O'NEIL, TIMOTHY J                 4802 E RAY RD STE23‐168                                                                          PHOENIX             AZ   85044
O'NEIL, TIMOTHY M                 38467 PALMER RD                                                                                  WESTLAND            MI   48186‐3959
O'NEIL, TIMOTHY MICHAEL           38467 PALMER RD                                                                                  WESTLAND            MI   48186‐3959
O'NEIL, TIMOTHY R                 3223 SHERMAN ST                                                                                  EAU CLAIRE          WI   54701‐6665
O'NEIL, TONYA A                   87 PINEVIEW DRIVE                                                                                FLINT               MI   48506‐5290
O'NEIL, WESLEY                    1223 CRAWFORD ST                                                                                 FLINT               MI   48507‐5311
O'NEIL, WILLIAM R                 47 W RIVER DR                                                                                    GLADWIN             MI   48624‐9729
O'NEIL, WJ CO                     35457 INDUSTRIAL RD                                                                              LIVONIA             MI   48150‐1233
O'NEILL I I I, WILLIAM H          9920 NW 38TH ST                                                                                  CORAL SPRINGS       FL   33065‐2830
O'NEILL METAL FORMING INC         1098 RIG ST                                                                                      COMMERCE TOWNSHIP   MI   48390‐2264
O'NEILL'S CHEVROLET & BUICK INC   LAWRENCE SULLIVAN                 5 W MAIN ST                                                    AVON                CT   06001‐3717
O'NEILL'S CHEVROLET & BUICK INC   5 W MAIN ST                                                                                      AVON                CT   06001‐3717
O'NEILL, BOBBIE H                 310 E 39TH ST                                                                                    ANDERSON            IN   46013‐4655
O'NEILL, CHRISTINE A              84 ALBERT DR                                                                                     LANCASTER           NY   14086‐2802
O'NEILL, CHRISTINE M.             55 JOANNE LN                                                                                     CHEEKTOWAGA         NY   14227‐1345
O'NEILL, CRAIG J                  16054 SILVERWOOD DR                                                                              FENTON              MI   48430‐9113
O'NEILL, DARLENE                  170 FLEMING DR                                                                                   VINCENT             OH   45784‐5588
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Name                       Address1                         Address2             Address3         Address4         City                  State Zip
O'NEILL, EDNA M            365 WIMBLEDON CT                                                                        WEST SENECA            NY 14224‐1951
O'NEILL, EDWARD W          3622 MALLOW DR                                                                          ORMOND BEACH           FL 32174‐2851
O'NEILL, ELIZABETH J       5505 WALLING DR                                                                         WATERFORD              MI 48329‐3264
O'NEILL, ESTHER W          333 TAFT ST                                                                             BRISTOL                PA 19007‐4317
O'NEILL, IRENE A           702 SEAHORSE RD                                                                         FRIPP ISLAND           SC 29920‐7370
O'NEILL, IRMA              505 LAMANCHA DRIVE                                                                      BROWNSVILLE            TX 78521‐1685
O'NEILL, JAMES J           4816 WYNWOOD DR                                                                         TAMPA                  FL 33615‐4945
O'NEILL, JANE              66 SPRING LAKE BLVD                                                                     WARETOWN               NJ 08758‐2657
O'NEILL, JENNA             210 MALIBU CANYON DR                                                                    COLUMBIA               TN 38401
O'NEILL, JOAN A            6233 CRANE DR                                                                           LAKELAND               FL 33809‐5627
O'NEILL, JOHN E            365 WIMBLEDON CT                                                                        WEST SENECA            NY 14224‐1951
O'NEILL, JOSEPH C          231 CYPRESS LN                                                                          HATBORO                PA 19040‐1610
O'NEILL, JOSEPH F          9035 DUNMORE DR                                                                         DALLAS                 TX 75231‐4007
O'NEILL, JOYCE T           1600 THUNDERBIRD LN APT 45                                                              DAYTON                 OH 45449‐2577
O'NEILL, JR.,ROBERT E      226 CREST HILL AVE                                                                      VANDALIA               OH 45377‐1723
O'NEILL, JULIEANNE         117 SE 43RD TER                                                                         CAPE CORAL             FL 33904‐8357
O'NEILL, KASANDRA L        10515 GREEN RD                                                                          GOODRICH               MI 48438‐9415
O'NEILL, KASANDRA LEE      10515 GREEN RD                                                                          GOODRICH               MI 48438‐9415
O'NEILL, KATHRYN A         2696 S STATE ROAD 39                                                                    DANVILLE               IN 46122
O'NEILL, KATHRYN L         3743 INFIRMARY RD                                                                       MORAINE                OH 45418‐1857
O'NEILL, KEITH J           22119 CHESTNUT LN                                                                       WOODHAVEN              MI 48183‐3211
O'NEILL, KEITH P           11860 E 13 MILE RD                                                                      WARREN                 MI 48093‐3097
O'NEILL, KELLY             6993 W RIDGE DR                                                                         BRIGHTON               MI 48116‐8867
O'NEILL, KELLY M           2894 DUBLIN ARBOR LN                                                                    DUBLIN                 OH 43017‐2047
O'NEILL, KEVIN J           345 SCHOOL ST                                                                           CHEBANSE                IL 60922‐8039
O'NEILL, KEVIN S           4869 DRIFTWOOD DR                                                                       COMMERCE TWP           MI 48382‐1367
O'NEILL, KEVIN SUTCLIFFE   4869 DRIFTWOOD DR                                                                       COMMERCE TWP           MI 48382‐1367
O'NEILL, LAVERNE J         1035 W ATHERTON RD                                                                      FLINT                  MI 48507‐5301
O'NEILL, MARGARET M        600 BREEZE PARK DRIVE APT.#168                                                          ST. CHARLES            MO 63304
O'NEILL, MARK T            2544 S WAVERLY RD                                                                       EATON RAPIDS           MI 48827‐9786
O'NEILL, MARY J            72320 LASSIER ROAD                                                                      ROMEO                  MI 48065‐3526
O'NEILL, MARY M            2874 E 194TH ST                                                                         BRONX                  NY 10461‐3911
O'NEILL, MAUREEN A         17 FALLING BROOK RD                                                                     FAIRPORT               NY 14450‐8957
O'NEILL, MICHAEL A         1018 MASTER GUNNER CT                                                                   INDIAN TRAIL           NC 28079‐3432
O'NEILL, MICHAEL J         100 MARTINIQUE DR                                                                       CHEEKTOWAGA            NY 14227‐3149
O'NEILL, NADINE R          12729 OLYMPUS WAY                                                                       STRONGSVILLE           OH 44149‐3237
O'NEILL, NICOLE C.         385 MCKINLEY AVE                                                                        MORRISVILLE            PA 19067‐2359
O'NEILL, PATRICK J         7121 KENDAL ST                                                                          DEARBORN               MI 48126‐1853
O'NEILL, PATRICK J.        7121 KENDAL ST                                                                          DEARBORN               MI 48126‐1853
O'NEILL, PATRICK S         52 WALDEN CREEK DR. APT.52                                                              BATAVIA                NY 14020
O'NEILL, RITA K            159 MARK CT                                                                             GERMANTOWN             OH 45327‐9356
O'NEILL, ROBERT H          117 SE 43RD TER                                                                         CAPE CORAL             FL 33904‐8357
O'NEILL, ROSEMARY          6013 N BLACK RIVER RD                                                                   CHEBOYGAN              MI 49721‐9527
O'NEILL, ROY F             5062 KENDALL DR                                                                         BURTON                 MI 48509‐1908
O'NEILL, SARAH K           4775 FOX CHASE DR                                                                       WHITE LAKE             MI 48383‐1683
O'NEILL, SCOTT C           67 MILLIKEN AVE #12B                                                                    FRANKLIN               MA 02038
O'NEILL, STEPHEN P         311 HILLCLIFF DR                                                                        WATERFORD              MI 48328‐2522
O'NEILL, TIMOTHY H         534 ROSLYN RD                                                                           GROSSE POINTE WOODS    MI 48236‐1346
O'NEILL, TIMOTHY J         17555 DOLORES ST                                                                        LIVONIA                MI 48152‐3809
O'NEILL, WILLIAM E         9 CAPT ISIAH RD P O 1871                                                                COTUIT                 MA 02635
O'NEILL‐CLOSE, MAUREEN M   1026 ROYAL AVE                                                                          ROYAL OAK              MI 48073‐3225
O'NEST, ALAN L             191 FOXHILL LN                                                                          PERRYSBURG             OH 43551‐2505
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Name                                Address1                          Address2               Address3        Address4               City              State Zip
O'NIEL, PHILIP D                    245 LAKE VILLAGE DR APT 103                                                                     ANN ARBOR          MI 48103‐6541
O'NIEL, PHILIP D                    245 LAKE VILLAGE DR               APT 103                                                       ANN ARBOR          MI 48103‐6541
O'QUIN, GENEVIEVE E                 3147 MAGNOLIA HOLMESVILLE RD                                                                    MAGNOLIA           MS 39652‐9731
O'QUIN, GENEVIEVE E                 3147 MAGNOLIA‐HOLMESVILLE RD                                                                    MAGNOLIA           MS 39652‐9731
O'QUIN, MICHAEL A                   572 WEEPING WAY LN                                                                              AVON               IN 46123‐8207
O'QUIN, MICHAEL ALLEN               572 WEEPING WAY LN                                                                              AVON               IN 46123‐8207
O'QUIN, MICHAEL DELERO              5929 MAGNIFICENT LN                                                                             INDIANAPOLIS       IN 46234‐9041
O'QUINN JR, LACEY                   1264 DEER RUN                                                                                   GRASS LAKE         MI 49240‐9379
O'QUINN JR, RICE                    3240 SNOW RD                                                                                    YPSILANTI          MI 48198‐9222
O'QUINN, GARLAND J                  11603 BETHANY STATE LINE RD                                                                     BETHANY            LA 71007‐9754
O'QUINN, GARLAND JOSEPH             11603 BETHANY STATE LINE RD                                                                     BETHANY            LA 71007‐9754
O'QUINN, IMOGENE L                  3433 CHAMPAIGN ST                                                                               CHARLOTTE          NC 28210‐6325
O'QUINN, JUDY ANN                   1121 COLWICK DR APT A                                                                           DAYTON             OH 45420‐2205
O'QUINN, LARRY N                    GUY WILLIAM S                     PO BOX 509                                                    MCCOMB             MS 39649‐0509
O'QUINN, PATRICK S                  1557 BOGUE CHITTO RD SE                                                                         MEADVILLE          MS 39653‐0100
O'QUINN, TERRANCE E                 PO BOX 234                                                               NORTH SYDNEY NOVA SC
                                                                                                             CANADA B2A‐3M3
O'QUINN, VIRGINIA                   1001B CRIMSON TREE WAY                                                                          EDGEWOOD          MD 21040
O'QUINN, WILLIAM R                  49573 CABOT TRAIL HWY             RURAL ROUTE 4                          BADDECK NOVA SCOTIA
                                                                                                             CANADA B0E‐1B0
O'RAFFERTY, MARIA                   235 CREEKWOOD CIR                                                                               LINDEN            MI 48451‐9104
O'REAR, DEBBIE S                    331 COUNTY ROAD 563                                                                             ROGERSVILLE       AL 35652‐5435
O'REAR, ELIZABETH L                 630 WITHINGTON                                                                                  FERNDALE          MI 48220‐1216
O'REGAN'S CHEVROLET CADILLAC LTD.   P.O. BOX 2598                     STATION A                              HALIFAX NS B3K 5M2
                                                                                                             CANADA
O'REGAN, IRENE V                    16590 N ELKINS RD                                                                               TUCSON            AZ   85739‐4230
O'REGAN, JOHN F                     43 SNEAD DR                                                                                     MASHPEE           MA   02649‐3218
O'REILLY AUTO PARTS                 SAUNDRA WILKINSON                 233 S PATTERSON AVE                                           SPRINGFIELD       MO   65802‐2210
O'REILLY PONTIAC‐BUICK‐GMC          3960 W CHESTER PIKE                                                                             NEWTOWN SQUARE    PA   19073‐3209
O'REILLY, AIMEE M                   12031 PRINCEWOOD DR                                                                             FENTON            MI   48430‐9651
O'REILLY, BRYAN                     20 HEIDI LN                                                                                     CHESTER SPRINGS   PA   19425‐3312
O'REILLY, EDWARD W                  33 PERRY RD                                                                                     PENNELLVILLE      NY   13132‐3212
O'REILLY, ERLENE                    231 PIONEER DR                                                                                  PONTIAC           MI   48341‐1850
O'REILLY, JANE L                    33 PERRY RD                                                                                     PENNELLVILLE      NY   13132‐3212
O'REILLY, WILLIAM J                 9321 COLBY LAKE RD                                                                              LAINGSBURG        MI   48848‐8756
O'RIELLY CHEVROLET, INC.            6160 E BROADWAY BLVD                                                                            TUCSON            AZ   85711‐4023
O'RIELLY CHEVROLET, INC.            RICHARD O'RIELLY                  6160 E BROADWAY BLVD                                          TUCSON            AZ   85711‐4023
O'RIELLY CHEVROLET, INC.                                                                                                            TUCSON            AZ   85711‐4083
O'RIELLY JR, JAMES M                3220 E SELLS DR                                                                                 PHOENIX           AZ   85018‐3924
O'RILEY, MICHAEL E                  6820 W 10TH ST                                                                                  INDIANAPOLIS      IN   46214‐3556
O'ROARK, TIMOTHY L                  24823 ROCKWELL AVE                                                                              BLANCHARD         OK   73010‐3453
O'ROKE, LINDA L                     116 TAVERN RD                                                                                   MARTINSBURG       WV   25401‐2842
O'RORKE, AUSTIN C                   2008 SE 8TH ST                                                                                  OKLAHOMA CITY     OK   73160‐6725
O'ROURKE J, AMY A                   4237 120TH AVE SE                                                                               BELLEVUE          WA   98006‐1149
O'ROURKE, ANNETTE E                 9389 MILLER RD                                                                                  SWARTZ CREEK      MI   48473‐8572
O'ROURKE, ARTISHA A                 6495 ROGUE RAPIDS CT NE                                                                         BELMONT           MI   49306‐9514
O'ROURKE, BARBARA J                 9421 TASCO DR NE                                                                                ALBUQUERQUE       NM   87111‐2221
O'ROURKE, BRENDA D                  1471 MALLARD DR                                                                                 BURTON            MI   48509‐1554
O'ROURKE, CINDY M                   1061 W TOBIAS RD                                                                                CLIO              MI   48420‐1770
O'ROURKE, DAVID B                   5775 VINCENT TRL                                                                                SHELBY TOWNSHIP   MI   48316‐5268
O'ROURKE, DEANNE K                  5862 CLARK RD                                                                                   BATH              MI   48808‐9707
O'ROURKE, DEANNE KAY                5862 CLARK RD                                                                                   BATH              MI   48808‐9707
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Name                           Address1                          Address2                      Address3   Address4         City                 State Zip
O'ROURKE, DENNIS S             7454 SMILEY AVE                                                                             SHELBY TWP            MI 48316‐3504
O'ROURKE, DENNIS STEPHEN       7454 SMILEY AVE                                                                             SHELBY TWP            MI 48316‐3504
O'ROURKE, DONALD J             6035 FERNDOWN CT                                                                            MORROW                OH 45152‐8626
O'ROURKE, DONALD L             205 N ATHLETIC ST                                                                           WHITE PIGEON          MI 49099‐9725
O'ROURKE, DOROTHY L            PO BOX 5                                                                                    JOHANNESBURG          MI 49751‐0005
O'ROURKE, DOROTHY T            4404 MAPLEWOOD MEADOWS                                                                      GRAND BLANC           MI 48439‐8666
O'ROURKE, GEORGE P             3620 POTHOUR WHEELER RD                                                                     HUBBARD               OH 44425‐9781
O'ROURKE, GEORGE R             1722 TURKEY FARM RD                                                                         N HUNTINGDON          PA 15642‐5607
O'ROURKE, JAMES J              503 SKYLINE LAKE DR                                                                         RINGWOOD              NJ 07456‐1926
O'ROURKE, JERRY J              755 S NEWMAN RD                                                                             LAKE ORION            MI 48362‐2138
O'ROURKE, MICHAEL D            3920 OAK GROVE RD                                                                           NORTH BRANCH          MI 48461‐8910
O'ROURKE, MICHAEL J            60 ELIZABETH LN                                                                             PALOS PARK             IL 60464‐1470
O'ROURKE, NANCY K              761 MILLINGTON RD                                                                           MAYVILLE              MI 48744‐9392
O'ROURKE, NANCY K              PO BOX 999                                                                                  SANTA CRUZ            NM 87567‐0999
O'ROURKE, NANCY K              761 E MILLINGTON RD                                                                         MAYVILLE              MI 48744‐9392
O'ROURKE, RICHARD F            4326 82ND ST SW                                                                             BYRON CENTER          MI 49315‐8648
O'ROURKE, SEAN P               GMAC                              PO BOX 650300                                             DALLAS                TX 75265‐0300
O'ROURKE, SHAWN                5862 CLARK RD                                                                               BATH                  MI 48808‐9707
O'ROURKE, VERA I               364 W MAIN ST                                                                               MAYVILLE              MI 48744‐8603
O'RYAN, THOMAS J               RR 3 BOX 133                                                                                MONTICELLO            KY 42633‐9520
O'SAILE, SUSAN J               3411 NEW HOPE RD                                                                            HENDERSONVILLE        TN 37075‐8620
O'SAKO, RANDALL J              9450 EDGEWOOD DR                                                                            WINDHAM               OH 44288‐1019
O'SHANNON, JADIE L.            3705 CORALBERRY CT                APT 536                                                   ARLINGTON             TX 76014‐4271
O'SHANNON, MICHAEL G           4005 TWIN CREEK DR                                                                          ARLINGTON             TX 76015‐4036
O'SHANNON, MICHAEL G           3705 CORALBERRY CT                APT 535                                                   ARLINGTON             TX 76014‐4271
O'SHAUGHNESSEY, JANET M        14420 LIMERICK                                                                              SOMERSET              MI 49281
O'SHAUGHNESSEY, MICHAEL
O'SHAUGHNESSY, COLMAN D        9401 STAPLES MILL DR                                                                        JACKSONVILLE         FL   32244‐6336
O'SHAUGHNESSY, EDWARD J        8907 GROUNDHOG WAY                                                                          TOBYHANNA            PA   18466‐3434
O'SHAUGHNESSY, JULIA F         3 STERN CT                                                                                  HUNTINGTON STATION   NY   11746‐1324
O'SHAUGHNESSY, MARK            235 HALVERSON WAY                                                                           DULUTH               GA   30097‐5911
O'SHEA, JOANNA LYNN            9 SAVOY AVE                                                                                 W CARROLLTON         OH   45449‐1722
O'SHEA, JOSEPHINE M            11618 WILDROSE DR                                                                           HUNTLEY              IL   60142‐7608
O'SHEA, MARGARET               6 ANDERSON SCHOOL RD #408                                                                   STAATSBURG           NY   12580‐5842
O'SHEA, MARION V               33 DANENBERG PL                                                                             WEST HAVEN           CT   06516‐6906
O'SHEA, PATRICK L              4101 CURUNDU AVE                                                                            DAYTON               OH   45416‐1445
O'SHEA, RONALD E               52635 ARAGON DR                                                                             SHELBY TOWNSHIP      MI   48315‐2506
O'SHEA, SHANE P                4113 CURUNDU AVE                                                                            TROTWOOD             OH   45416‐1445
O'SHEA, STEPHANIE A            2745 HOLMAN ST                                                                              MORAINE              OH   45439‐1633
O'SHEA, THOMAS L               7240 KIRKVIEW DR                                                                            DAYTON               OH   45424
O'SHESKY, THOMAS CHESTER       4145 DRUMHELLER RD                                                                          BATH                 MI   48808‐9750
O'SHIELDS, GARY H              4956 GLENN DR                                                                               NEW PORT RICHEY      FL   34652‐4459
O'SHIELDS, MARLENE E           1104 SHEPPARD RD                                                                            BURKBURNETT          TX   76354‐3104
O'SHINSKI, MARY J              3432 W 80TH ST                                                                              NEWAYGO              MI   49337‐9760
O'STEEN HAROLD J JR (439380)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510
                                                                 STREET, SUITE 600
O'STEEN, HAROLD J              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                                 STREET, SUITE 600
O'SULLIVAN, CHRISTINE          PO BOX 9022                       C/O SHANGHAI MAIL POUCH                                   WARREN               MI   48090‐9022
O'SULLIVAN, EDWARD K           96 AIRLINE RD                                                                               CLINTON              CT   06413‐1069
O'SULLIVAN, ELIZABETH J        21913 SNOW AVE BUILDING H APT#1                                                             DEARBORN             MI   48124
O'SULLIVAN, GERALD             242 STARIN AVE                                                                              BUFFALO              NY   14214‐1536
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Name                              Address1                        Address2                        Address3   Address4              City              State Zip
O'SULLIVAN, JOHN M                9198 CAMBRIDGE DR                                                                                SALINE             MI 48176‐9437
O'SULLIVAN, JOHN MICHAEL          9198 CAMBRIDGE DR                                                                                SALINE             MI 48176‐9437
O'SULLIVAN, PATRICK M             5245 MAPLE AVE                                                                                   SWARTZ CREEK       MI 48473‐8271
O'SULLIVAN, SANDRA J              11903 HIDDEN HILLS DR                                                                            JACKSONVILLE       FL 32225‐1657
O'SULLIVAN, SHEILA P              48 CROTTY AVE                                                                                    YONKERS            NY 10704‐2731
O'SULLIVAN, THOMAS                24 ARUNDEL RD                                                                                    BUFFALO            NY 14216
O'SUNA, MAURICE                   PO BOX 90193                                                                                     BURTON             MI 48509‐0193
O'TOOLE DEBORAH                   O'TOOLE, DEBORAH                1930 E MARLTON PIKE SUITE Q29                                    CHERRY HILL        NJ 08003
O'TOOLE JOSEPH JOHN SR (439382)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510
                                                                  STREET, SUITE 600
O'TOOLE, DAVID P                  10228 ROLAND LN                                                                                  FT WASHINGTON     MD   20744‐4023
O'TOOLE, DEBRA L                  2409 ADAIR ST                                                                                    FLINT             MI   48506‐3417
O'TOOLE, DEBRA L                  3446 W FARRAND RD                                                                                CLIO              MI   48420
O'TOOLE, DENNIS M                 54188 SHADY LN                                                                                   SHELBY TOWNSHIP   MI   48315‐1641
O'TOOLE, ELLEN A                  596 PONTIAC LN                                                                                   BOLINGBROOK       IL   60440‐1726
O'TOOLE, ELLEN A                  596 PONTIAC LANE                                                                                 BOLINGBROOK       IL   60440‐1726
O'TOOLE, GABRIELLE G              3236 WEST STANLEY RD                                                                             MT MORRIS         MI   48458‐9316
O'TOOLE, GABRIELLE G              3236 W STANLEY RD                                                                                MOUNT MORRIS      MI   48458‐9316
O'TOOLE, JANET C                  626 ENSENADA CT                                                                                  BEREA             OH   44017‐2633
O'TOOLE, JOSEPH JOHN              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510‐2212
                                                                  STREET, SUITE 600
O'TOOLE, KEVIN D                  3646 SOMERSET LN                                                                                 HAMBURG           NY   14075‐2222
O'TOOLE, KEVIN DANIEL             3646 SOMERSET LN                                                                                 HAMBURG           NY   14075‐2222
O'TOOLE, MARGIE D                 1110 NETTLE CREEK CT                                                                             MIAMISBURG        OH   45342‐6329
O'TOOLE, SHARON A                 1504 SUMMIT OAKS CT                                                                              BURNSVILLE        MN   55337
O'TOOLE, STEPHEN E                2014 HOMER TER                                                                                   RESTON            VA   20191‐1343
O'TOOLE, TIMOTHY R                327 JOHN BLISS RD                                                                                WILMINGTON        NY   12997‐2813
O'TOOLE, WILLIAM E                8968 LANTREE DR                                                                                  HOWELL            MI   48855‐7167
O, BRIEN, MARGUERITE J            9338 E LIPPINCOTT BLVD                                                                           DAVISON           MI   48423‐8358
O, CHONG Y                        15215 MAGNOLIA BLVD.            UNIT 207                                                         SHERMAN OAKS      CA   91403
O, CHONG Y                        15215 MAGNOLIA BLVD UNIT 207                                                                     SHERMAN OAKS      CA   91403‐1121
O, CHONG YOL                      3040 1/2 JAMES M WOOD BLVD                                                                       LOS ANGELES       CA   90006
O.                                PO BOX 182394                   OBO: THOMAS FANTOZZI                                             COLUMBUS          OH   43218‐2394
O. ALPAY ANKARA                   C/O MET . E.DEPT                MIDDLE EAST TECH. UNIV.                    ANKARA 06531 TURKEY
O. ANDERSON                       1902 WADSWORTH AVE                                                                               SAGINAW           MI   48601‐1631
O. C WHITING                      PO BOX 14783                                                                                     SAGINAW           MI   48601‐0783
O. C. SHREFFLER, INC.             GREGORY DRALLE                  103 N HARLEM AVE                                                 PEOTONE           IL   60468‐9185
O. D HAMILTON                     64 SHARON AVE                                                                                    COURTLAND         AL   35618‐3952
O. HUNT                           4401 E OUTER DR #M                                                                               DETROIT           MI   48234
O. JOHNSON                        4914 FALL BROOK LN                                                                               FORT WAYNE        IN   46835‐9331
O. LAWRENCE                       1415 BRANDY DR                                                                                   MARSHALL          TX   75672‐4115
O. MITCHELL                       19929 FREELAND ST                                                                                DETROIT           MI   48235‐1514
O. P. FURE AS                     SIVERT NIELSENSGT. 80                                                      BODO N‐800 NORWAY
O. PIERCE                         7712 VENICE HEIGHTS DR NE                                                                        WARREN            OH   44484‐1506
O. WEDDLE                         1738 STETSON LN                                                                                  GREENWOOD         IN   46143‐7855
O. WHITING                        PO BOX 14783                                                                                     SAGINAW           MI   48601‐0783
O. Z JOHNSON                      4914 FALL BROOK LN                                                                               FORT WAYNE        IN   46835‐9331
O.B. GRAHAM & SONS TEXACO         1505 W ADAMS AVE                                                                                 TEMPLE            TX   76504‐2451
O.C. ELLINGSON, INC.              205 N KINGSTON ST                                                                                CALEDONIA         MN   55921‐1254
O.C. ELLINGSON, INC.              OREN ELLINGSON                  205 N KINGSTON ST                                                CALEDONIA         MN   55921‐1254
O/E LEARNING INC                  2125 BUTTERFIELD DR STE 300N                                                                     TROY              MI   48084‐3441
O<BRIEN, PHILIP T                 2402 COOLIDGE ST                                                                                 MADISON           WI   53704‐4505
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Name                          Address1                              Address2                        Address3               Address4         City               State Zip
O<BRIEN, WILLIAM C            6476 LAHRING RD                                                                                               GAINES              MI 48436‐9758
O<NEIL, ALBERT L              159 FERNWOOD AVE                                                                                              ROCHESTER           NY 14621‐5652
O`BRIEN, ERIN
O`BRIEN, GERALD R             5150 JAMACA AVE N                                                                                             LAKE ELMO          MN 55042
O`DONNELL INDUSTRIES
O`DONNELL, WINNIE             336 86TH ST                                                                                                   BROOKLYN           NY   11209‐5002
O`KEEFE, CYNTHIA D            3281 BALSAM ST SW                                                                                             PRIOR LAKE         MN   55372‐2722
O`KEEFE, GREGORY              5240 W 111TH ST                                                                                               BLOOMINGTON        MN   55437‐3302
O`MALLEY, JOHN W              1961 BRIARCLIFFE BLVD                                                                                         WHEATON            IL   60189‐8503
O`MALLEY, JUDITH O            2722 CRESTWOOD DR.                                                                                            WARREN             OH   44485‐1227
OA SYSTEMS INC                40 HAZELWOOD DRIVE                                                                                            AMHERST            NY   14228
OACAR W LARSON NMA COMPANY    10080 DIXIE HIGHWAY                                                                                           CLARKSTON          MI   48348
OACAR W LARSON NMA COMPANY    ATTN: CORPORATE OFFICER/AUTHORIZED 10080 DIXIE HWY                                                            CLARKSTON          MI   48348‐2412
                              AGENT
OACHS, PATRICIA               620 AVON ST                                                                                                   WISCONSIN RAPIDS   WI   54494‐4438
OAE CORP‐ELEVATOR             7 N SAGINAW ST                                                                                                PONTIAC            MI   48342‐2182
OAG WORLDWIDE                 75 REMITTANCE DR DEPT 1570                                                                                    CHICAGO            IL   60675‐1570
OAHU TRANSIT SERVICES, INC.   811 MIDDLE STREET                                                                                             HONOLULU           HI   96819
OAK BROOK BANK                1400 SIXTEENTH STREET                                                                                         OAK BROOK          IL   60523
OAK BROOK BANK                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1400 SIXTEENTH STREET                                                  OAK BROOK          IL   60523

OAK BROOK HILLS RESORT        MARRIOTT                              3500 MIDWEST RD                 ATTN K WILLIAMS                         OAK BROOK          IL   60523‐2573
OAK BUSINESS CTR              ATTN: WILLIAM WOOD                    2712 N SAGINAW ST # 106                                                 FLINT              MI   48505‐4470
OAK CREEK AUTOMOTIVE          7948 S 27TH ST                                                                                                OAK CREEK          WI   53154‐2601
OAK ELECTRIC SERVICE INC      5492 DIXIE HWY STE 1                                                                                          WATERFORD          MI   48329‐1675
OAK HARBOR                    DAVE NEELY                            1339 W VALLEY HWY N                                                     AUBURN             WA   98001‐4123
OAK HARBOR                    1339 WEST VALLEY HIGHWAY NORTH                                                                                AUBURN             WA   98001
OAK HILL AUTOMOTIVE           9301 W HIGHWAY 71                                                                                             AUSTIN             TX   78735‐8024
OAK HILL CEMETERY             ATTN: CHARLES ANTHONY                 216 UNIVERSITY DR                                                       PONTIAC            MI   48342‐2367
OAK HOLLOW HOMEOWNERS ASSOC   1445 OAK HOLLOW DR                                                                                            MILFORD            MI   48380‐4264
OAK SHELL                     22295 MULHOLLAND HWY                                                                                          CALABASAS          CA   91302‐5138
OAK TREE INTL HOLD INC        1209 LOWELL ST                                                                                                ELYRIA             OH   44035‐4803
OAK, FRANCIS G                218 SAINT IVES N                                                                                              LANSING            MI   48906‐1512
OAK, GARY L                   142 PLEASANT MANOR DR                                                                                         WATERFORD          MI   48327‐3695
OAK, ROBERT A                 2777 WIXOM TRL                                                                                                MILFORD            MI   48381‐2574
OAK, ROBERT ALLAN             2777 WIXOM TRL                                                                                                MILFORD            MI   48381‐2574
OAK, SANDRA K                 2805 SLEETH RD                                                                                                COMMERCE TWP       MI   48382‐1756
OAKDALE THEATER CONCERTS      CLEARCHANNEL ENTERTAINMENT            MS. LINDA WEMMELL               95 SOUTH TURNPIKE RD                    WALLINGFORD        CT   06492
OAKES GLEN (491259)           BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                           NORTHFIELD         OH   44067
                                                                    PROFESSIONAL BLDG
OAKES JR, ROBERT              717 FREBIS AVE                                                                                                COLUMBUS           OH   43206‐3705
OAKES LARRY                   30350 N 1980 EAST RD                                                                                          GRIDLEY            IL   61744‐8804
OAKES ROBERT                  OAKES, ROBERT                         116 ORANGE ST                                                           GALLIANO           LA   70354‐3566
OAKES STEPHEN                 PO BOX 985                                                                                                    ABERDEEN           SD   57402‐0985
OAKES VAN R SR (494059)       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA   23510
                                                                    STREET, SUITE 600
OAKES WELDING AND REPAIR      2728 N 500 W                                                                                                  MARION             IN   46952‐9770
OAKES, AGNES F                806 BRIARCREST LANE                                                                                           DALTON             OH   44618‐9052
OAKES, ALAINA C               15 MOSE COOK RD                                                                                               AKWESASNE          NY   13655‐2111
OAKES, ANDREA R               PO BOX 1039                                                                                                   CUMMING            GA   30028‐1039
OAKES, CHARLES E              1536 LAKEWOOD RD                                                                                              JACKSBORO          TN   37757‐4402
OAKES, CRAIG A                8314 N 400 W                                                                                                  MIDDLETOWN         IN   47356
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Name                   Address1                       Address2                      Address3   Address4         City             State Zip
OAKES, DANNY E         9605 OHIO ST                                                                             DETROIT           MI 48204‐4131
OAKES, DAVID G         PO BOX 122                                                                               TYRONE            NY 14887‐0122
OAKES, DIANNE K        116 SHIPMAN DR                                                                           TEMPLE            GA 30179‐5462
OAKES, DONNA L         47240 HENNINGS ST                                                                        CHESTERFIELD      MI 48047‐4915
OAKES, DOREENE F       3130 ELLIOT RD                                                                           HOLLY             MI 48442‐9490
OAKES, EDITH M         30 RANSOM RD                                                                             HOGANSBURG        NY 13655‐3129
OAKES, EDITH MELVINA   30 RANSOM RD                                                                             HOGANSBURG        NY 13655‐3129
OAKES, EDWARD          43291 PECK WADSWORTH RD                                                                  WELLINGTON        OH 44090‐9666
OAKES, EDWARD E        2738 EDDY ST                                                                             SAGINAW           MI 48604‐2411
OAKES, EUGENE F        6479 CLOVERLEAF DR                                                                       LOCKPORT          NY 14094‐6120
OAKES, EVA M           723 OTTILIE                                                                              KERRVILLE         TX 78028‐5010
OAKES, HOLLIS B        6331 BRUSH RUN                                                                           INDIANAPOLIS      IN 46268‐4030
OAKES, J R             100 GASPER RIVER CT                                                                      BOWLING GREEN     KY 42101‐4231
OAKES, JAMES A         5107 W THISTLEPOPPY LOOP                                                                 MARANA            AZ 85658‐4048
OAKES, JAMES C         436 DEOLA RD                                                                             BESSEMER          AL 35022‐4520
OAKES, JENNIE          26118 FAIRFIELD                                                                          WARREN            MI 48089‐4520
OAKES, JOANNA          248 SHIELDS RD                 SCOTT TOWNSHIP                                            SCOTT TOWNSHIP    PA 18447
OAKES, JUANITA M       14355 MADDELEIN ST                                                                       DETROIT           MI 48205‐2401
OAKES, LACEY B         2216 LANDAU LN                                                                           BOSSIER CITY      LA 71111‐5533
OAKES, LARRY D         PO BOX 402                                                                               MIO               MI 48647
OAKES, LARRY E         13390 GROSBEAK CT                                                                        CARMEL            IN 46033‐9275
OAKES, LOIS L          APT 8A                         17011 CEDAR PLAZA                                         OMAHA             NE 68130‐2368
OAKES, LORNA N         2240 TOBACCO RD                                                                          GLASGOW           KY 42141‐8487
OAKES, LOU ELLEN       26 JAMESTOWN CT                                                                          AUSTINTOWN        OH 44515‐1918
OAKES, MARJORIE        4231 STERLING STATION DRIVE                                                              BRUNSWICK         OH 44212‐3996
OAKES, MICHAEL         237 AUSTIN DR                                                                            AVON              IN 46123‐5419
OAKES, MICHAEL B       315 W HAVENS ST                                                                          KOKOMO            IN 46901
OAKES, MILDRED         225 BIBB AVE                                                                             BECKLEY           WV 25801‐6337
OAKES, MILDRED         225 BIBB AVENUE                                                                          BECKLEY           WV 25801‐6337
OAKES, MYRON E         257 JACKSON ST                                                                           LAWRENCEVILLE     GA 30045‐5705
OAKES, PATRICIA A      3303 SHERMAN PARK DR                                                                     SAINT CHARLES     MO 63303‐4243
OAKES, RICHARD K       607 LATHROP ST                                                                           LANSING           MI 48912‐2413
OAKES, ROBERT          116 ORANGE ST                                                                            GALLIANO          LA 70354‐3566
OAKES, ROBERT C        86 CENTRE ST                                                                             CONCORD           NH 03301‐4141
OAKES, ROBERT E        637 VAILL POINT RD                                                                       ST AUGUSTINE      FL 32086‐6810
OAKES, ROBERT L        G1407 MITSON BLVD                                                                        FLINT             MI 48504
OAKES, ROBERT W        19990 ALMY RD                                                                            HOWARD CITY       MI 49329‐9768
OAKES, RONALD E        16017 INDIAN CREEK PKWY                                                                  OLATHE            KS 66062‐4217
OAKES, RONALD EUGENE   16017 INDIAN CREEK PKWY                                                                  OLATHE            KS 66062‐4217
OAKES, RONNIE G        1381 PLEASANT VALLEY RD SE                                                               SILVER CREEK      GA 30173‐2506
OAKES, RUTH            6996 CREEKVIEW DR                                                                        LOCKPORT          NY 14094‐9574
OAKES, RYAN THOMAS     249 BEECHVIEW DR                                                                         GREENWOOD         IN 46142‐3103
OAKES, SHARON K        23560 WALDEN CENTER DR 108                                                               BONITA SPRINGS    FL 34134
OAKES, SHIRLEY M       117 HUTCHINGS RD                                                                         ROCHESTER         NY 14624‐1019
OAKES, TERESA M        2315 S CANAL ST                                                                          NEWTON FALLS      OH 44444‐1815
OAKES, TERESA MARIE    2315 S CANAL ST                                                                          NEWTON FALLS      OH 44444‐1815
OAKES, THOMAS E        931 W 3RD ST                                                                             ANDERSON          IN 46016‐2321
OAKES, THOMAS W        KOLEGRAFF WILLIAM J            3119 TUMBERRY WAY                                         JAMUL             CA 91935
OAKES, VAN R           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                      STREET, SUITE 600
OAKES, VIRGIL L        4798 WHITCOMB ST                                                                         GARY             IN 46408‐4061
OAKES, WAYNE R         3036 PRIMROSE PL                                                                         ALLEGAN          MI 49010‐9618
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Name                                 Address1                         Address2                       Address3            Address4         City               State Zip
OAKES, WENDELL A                     1635 WEST LAKEVIEW LANE                                                                              CANTON              MI 48187‐6643
OAKES, WENDELL A                     1635 W LAKEVIEW LN                                                                                   CANTON              MI 48187‐6643
OAKES, WILLIAM D                     4222 RUNDELL DR                                                                                      TROTWOOD            OH 45415‐1419
OAKES, WILLIAM N                     3113 ROLLINGLEN LN                                                                                   LAKELAND            FL 33810‐2622
OAKES, WILLIAM T                     PO BOX 2662                                                                                          CUMMING             GA 30028‐6508
OAKESON, DAVID O                     2855 E GALVESTON ST                                                                                  CHANDLER            AZ 85225
OAKEY, MELINDA S                     PO BOX 9022                                                                                          WARREN              MI 48090‐9022
OAKEY, MELINDA SUE                   PO BOX 9022                                                                                          WARREN              MI 48090‐9022
OAKIE SMITH                          118 CONATSER RD.                                                                                     GRIMSLEY            TN 38565‐5004
OAKIE, MARILYN A                     4705 BISON WAY                                                                                       CALDWELL            ID 83607‐1549
OAKLAND ATHLETICS BASEBALL CO        ATTN JILL GOLDEN                 7000 COLISEUM WAY                                                   OAKLAND             CA 94621
OAKLAND AUTO RECONDITIONING          436 E 14 MILE RD                                                                                     MADISON HTS         MI 48071‐1404
OAKLAND AUTOMOTIVE CENTER, INC.      PO BOX 4357                                                                                          TRDY                MI 48099‐4357
OAKLAND AVENUE MSSNRY BAPT CHR       ATTN: LARRY WALKER SR            309 HARPER AVE                                                      DETROIT             MI 48202‐3500
OAKLAND BONE & JOINT                 44038 WOODWARD AVE STE 100                                                                           BLOOMFIELD          MI 48302‐5036
OAKLAND BUSINESS TAX CITY OF OAKLAND PO BOX 61000                                                                                         SAN FRANCISCO       CA 94161‐0001

OAKLAND CAR SALES & SVC INC         ATTN: MIKE JOHN                   644 CESAR E CHAVEZ AVE                                              PONTIAC            MI 48342‐1057
OAKLAND CATHOLIC CREDIT UNION       FOR DEPOSIT IN THE ACCOUNT OF     255 E MAPLE RD                 A ROSS                               TROY               MI 48083‐2717
OAKLAND CITY COLLEGE CENTER FOR     143 N LUCRETIA ST                                                                                     OAKLAND CITY       IN 47660‐1037
LIFELONG EDUCATION
OAKLAND CITY TAX COLLECTOR          PO BOX 56                                                                                             OAKLAND            TN   38060‐0056
OAKLAND CITY UNIVERSITY             BEDFORD COLLEGE CENTER            PO BOX 455                                                          BEDFORD            IN   47421‐0455
OAKLAND CITY UNIVERSITY             ATTN: KAY COLLINS                 405 I ST                                                            BEDFORD            IN   47421‐2215
OAKLAND CNTY FOC ACCT OF            M P SEDMAN                        PO BOX 436012                                                       PONTIAC            MI   48343‐6012
OAKLAND CNTY FOC ACCT OF            DAVID BARNEY                      PO BOX 436012                                                       PONTIAC            MI   48343‐6012
OAKLAND CNTY FOC ACCT OF            T J LAMREAUX                      PO BOX 436012                                                       PONTIAC            MI   48343‐6012
OAKLAND CNTY FOTC                   ACCT OF THOMAS J MORTIMORE        1200 N TELEGRAPH RD DEPT 434                                        PONTIAC            MI   48341‐1036
OAKLAND CNTY FOTC                   ACCT OF DEON R DINKINS            PO BOX 77257                                                        DETROIT            MI   48277‐0257
OAKLAND CNTY FOTC                   ACCT OF TIMOTHY J CLEVER          PO BOX 77257                                                        DETROIT            MI   48277‐0257
OAKLAND CNTY FRIEND OF COURT        ACCT OF JOHN R SMITH              1200 N TELEGRAPH RD                                                 PONTIAC            MI   48341
OAKLAND CNTY REIMBURSEMENT DIV      ACCT OF SANDRA A COATS            1200 N TELEGRAPH RD                                                 PONTIAC            MI   48341
OAKLAND CO. DEPT. OF PUBLIC WORKS   MARGARET B. DEVLIN, SECRETARY     767 FIFTH AVENUE                                                    NEW YORK           NY   10153

OAKLAND COMMUNITY COLLEGE         27055 ORCHARD LAKE RD                                                                                   FARMINGTON HILLS   MI   48334‐4556
OAKLAND COMMUNITY COLLEGE         7350 COOLEY LAKE RD                                                                                     WATERFORD          MI   48327‐3864
OAKLAND COMMUNITY COLLEGE         C/O WORKFORCE DEVELOPMENT SERV      M‐TEC BLDG 2900 FEATHERSTONE   RD                                   AUBURN HILLS       MI   48326
OAKLAND COMMUNITY COLLEGE         2480 OPDYKE RD                      PO BOX 55000                                                        BLOOMFIELD HILLS   MI   48304‐2223
OAKLAND COMMUNITY COLLEGE         2480 OPDYKE RD                                                                                          BLOOMFIELD HILLS   MI   48304‐2223
OAKLAND COMMUNITY COLLEGE         HIGHLAND LAKES CAMPUS               7350 COOLEY LAKE RD            ATTN ROGER STEELE                    WATERFORD          MI   48327‐3864
OAKLAND COMMUNITY COLLEGE         ATTN: CLARENCE BRANTLEY             17 S SAGINAW ST                                                     PONTIAC            MI   48342‐2227
OAKLAND COMMUNITY COLLEGE         PO BOX 55000                                                                                            DETROIT            MI   48255‐0001
DEPARTMENT 245301
OAKLAND COMMUNITY COLLEGE         27055 ORCHARD LAKE RD                                                                                   FARMINGTON HILLS   MI 48334‐4556
WOMENCENTER
OAKLAND COUNTY                                                        1200 N TELEGRAPH RD BLDG 16E   BLDG. 16E                                               MI   48341
OAKLAND COUNTY CLERKS OFFICE      1200 NORTH TELEGRAPH ROAD                                                                               PONTIAC            MI   48341
OAKLAND COUNTY CREDIT UNION       FOR DEPOSIT TO THE ACCOUNT OF       1220 COUNTY CENTER DR W        J BRENNAN                            WATERFORD          MI   48328‐1904
OAKLAND COUNTY DEPARTMENT OF      WATER SEWAGE OPERATIONS DIVISION    1 PUBLIC WORKS DR                                                   WATERFORD          MI   48328‐1907
PUBLIC WORKS
OAKLAND COUNTY DRAIN COMMISSIONER ATTN: WILLIAM N. ECKSTEIN ‐ CIVIL   550 S TELEGRAPH RD                                                  PONTIAC            MI 48341‐2375
                                  ENGINEER
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OAKLAND COUNTY DRAIN COMMISSIONER 550 S TELEGRAPH RD                                                                                        PONTIAC      MI 48341‐2375

OAKLAND COUNTY DRAIN COMMISSIONER NO. 1 PUBLIC WORKS DRIVE                                                                                  PONTIAC     MI 48054

OAKLAND COUNTY DRAIN COMMISSIONER PUBLIC WORKS DRIVE                                                                                        PONTIAC     MI 48054

OAKLAND COUNTY DRAIN COMMISSIONER 1 PUBLIC WORKS DR                  WATER & SEWER BILLING                                                  WATERFORD   MI 48328‐1907

OAKLAND COUNTY ECONOMIC OUTLOOK    ATTN NANCY NAGY TECHNIACL ASSI    2100 PONTIAC LAKE RD BLDG 41W                                          WATERFORD   MI 48328
LUNCHEON
OAKLAND COUNTY EMPLOYMENT          DIVERSITY COUNIL (0CEDC)          28 N SAGINAW ST STE 909         C/O ANDREW PETTRESS                    PONTIAC     MI   48342‐2142
OAKLAND COUNTY FOC                 ACCT OF FREDERICK J POLLOCK       PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FOC                 ACT PF J PETTUS                   PO BOX 436012                                                          PONTIAC     MI   48343‐6012
OAKLAND COUNTY FOC                 ACT OF D J SIRENA                 PO BOX 436012                                                          PONTIAC     MI   48343‐6012
OAKLAND COUNTY FOC                 ACT C NEWELL                      PO BOX 436012                                                          PONTIAC     MI   48343‐6012
OAKLAND COUNTY FOC                 PO BOX 436012                                                                                            PONTIAC     MI   48343‐6012
OAKLAND COUNTY FOC                 ACT D J TAYLOR                    PO BOX 436012                                                          PONTIAC     MI   48343‐6012
OAKLAND COUNTY FOC                 ACCT OF ROBERT D. SHAFTO          1200 N TELEGRAPH RD                                                    PONTIAC     MI   48341
OAKLAND COUNTY FOC ACCT OF         R L STINSON                       PO BOX 436012                                                          PONTIAC     MI   48343‐6012
OAKLAND COUNTY FOC ACT OF          D Q JACKSON                       PO BOX 436012                                                          PONTIAC     MI   48343‐6012
OAKLAND COUNTY FOOD BANK           120 E COLUMBIA AVE                                                                                       PONTIAC     MI   48340‐2714
OAKLAND COUNTY FOTC                ACCT OF PRESTON PATTERSON         PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FOTC                ACCT OF ERIC MATHIESON            PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FOTC                ACCT OF MICHAEL MORGESON          1200 N TELEGRAPH RD DEPT 434                                           PONTIAC     MI   48341‐1036
OAKLAND COUNTY FOTC                ACCT OF ROBERT PARKER             PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FOTC                ACCT OF MICHAEL MADSEN            PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FRIEND OF COURT     ACCT OF JOHN NAVARRO              1200 N TELEGRAPH RD DEPT 434                                           PONTIAC     MI   48341‐1036
OAKLAND COUNTY FRIEND OF COURT     ACCT OF ROY A DOSTER              1200 N TELEGRAPH RD DEPT 431                                           PONTIAC     MI   48341‐1036
OAKLAND COUNTY FRIEND OF COURT     ACCT OF MYRON J NOLTE             PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FRIEND OF COURT     ACCT OF MICHAEL MUNDTH            PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FRIEND OF COURT     ACCT OF JIMMY R PARTRIDGE         PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FRIEND OF COURT     ACCT OF RONALD A CARPENTER        PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FRIEND OF COURT     ACCT OF FELIX MONROE              PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FRIEND OF COURT     ACCT OF RICHARD K DONAHUE         PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FRIEND OF COURT     ACCT OF BRUCE L MADER             DEPT 77257                                                             DETROIT     MI   50260
OAKLAND COUNTY FRIEND OF COURT     ACCT OF GREGORY G NAUSEDA         PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FRIEND OF COURT     ACCT OF WILLIAM E O'TOOLE         1200 N TELEGRAPH RD DEPT 434                                           PONTIAC     MI   48341‐1036
OAKLAND COUNTY FRIEND OF COURT     ACCT OF JAY L JONES               PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FRIEND OF COURT     ACCT OF FRANK G YOUD              DEPT 77257                                                             DETROIT     MI   37546
OAKLAND COUNTY FRIEND OF COURT     ACCT OF GUS NIX JR                DEPT 77257                                                             DETROIT     MI   24962
OAKLAND COUNTY FRIEND OF COURT     ACCT OF GEORGE L MUNN             PO BOX 77257                                                           DETROIT     MI   48277‐0257
OAKLAND COUNTY FRIEND OF COURT     ACCT OF RAY M MOORE               1200 N TELEGRAPH RD DEPT 434                                           PONTIAC     MI   48341‐1036
OAKLAND COUNTY FRIEND OF COURT     ACCT OF MARK S DENNIS             1200 N TELEGRAPH RD                                                    PONTIAC     MI   48341
OAKLAND COUNTY FRIEND OF COURT     ACCT OF CATHERINE L PARADISE      DEPT 77257                                                             DETROIT     MI   36950
OAKLAND COUNTY FRIEND OF COURT     ACCT OF CATHERINE L PARADISE      1200 N TELEGRAPH RD DEPT 434                                           PONTIAC     MI   48341‐1036
OAKLAND COUNTY FRIEND OF COURT     ACCT OF CLIFFORD P MILLER         DEPT 77257                                                             DETROIT     MI   36544
OAKLAND COUNTY FRIEND OF COURT     ACCT OF DONALD MC MILLAN          DEPT 77257                                                             DETROIT     MI   38260
OAKLAND COUNTY FRIEND OF COURT     ACCT OF ALAN P OPPENHEISER        1200 N TELEGRAPH RD DEPT 434                                           PONTIAC     MI   48341‐1036
OAKLAND COUNTY FRIEND OF COURT     ACCT OF LOUIS T MC CLAIN          1200 N TELEGRAPH RD                                                    PONTIAC     MI   48341
OAKLAND COUNTY FRIEND OF COURT     ACCT OF EDWARD L NASREY           DEPT 77257                                                             DETROIT     MI   36746
OAKLAND COUNTY FRIEND OF COURT     ACCT OF JAMES NICHOLS             DEPT 77257                                                             DETROIT     MI   37942
OAKLAND COUNTY FRIEND OF COURT     ACCT OF JOSEPH OSEI‐BONSU         DEPT 77257                                                             DETROIT     MI   07342
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Name                             Address1                        Address2                       Address3   Address4         City      State Zip
OAKLAND COUNTY FRIEND OF COURT   ACCT OF ROGER MC NUTT           DEPT 77257                                                 DETROIT    MI 48480
OAKLAND COUNTY FRIEND OF COURT   ACCT OF CORNELIU NASTASE        DEPT 77257                                                 DETROIT    MI 49388
OAKLAND COUNTY FRIEND OF COURT   ACCT OF LAMONT S POWELL         DEPT 77257                                                 DETROIT    MI 38542
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JAMES V DE BRINCAT      DEPT 77257                                                 DETROIT    MI 37570
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MAYNARD D MULLINS       DEPT 77257                                                 DETROIT    MI 40974
OAKLAND COUNTY FRIEND OF COURT   ACCT OF STEVEN LAMOURIA         DEPT 77257                                                 DETROIT    MI 37372
OAKLAND COUNTY FRIEND OF COURT   ACCT OF PAUL E GARLAND          1200 N TELEGRAPH RD DEPT 434                               PONTIAC    MI 48341‐1036
OAKLAND COUNTY FRIEND OF COURT   ACCT OF BRADFORD H STROHM       DEPT 77257                                                 DETROIT    MI 38056
OAKLAND COUNTY FRIEND OF COURT   ACCT OF RUFUS WASHINGTON        DEPT 77257                                                 DETROIT    MI 48277‐0001
OAKLAND COUNTY FRIEND OF COURT   ACCT OF GLENN C VAN HORN        DEPT 77257                                                 DETROIT    MI 36962
OAKLAND COUNTY FRIEND OF COURT   ACCT OF LENARD LAVENDER         DEPT 77257                                                 DETROIT    MI 36452
OAKLAND COUNTY FRIEND OF COURT   ACCT OF HERMAN PHLEGM           DEPT 77257                                                 DETROIT    MI 37372
OAKLAND COUNTY FRIEND OF COURT   ACCT OF VICKIE VAICIUNAS        1200 N TELEGRAPH RD                                        PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF GREGORY ERICKSON        DEPT 77257                                                 DETROIT    MI 37366
OAKLAND COUNTY FRIEND OF COURT   ACCT OF GREGORY ERICKSON        1200 N TELEGRAPH RD                                        PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JAMES KLEIN             DEPT 77257                                                 DETROIT    MI 37172
OAKLAND COUNTY FRIEND OF COURT   ACCT OF THOMAS J BENNETT        DEPT 77257                                                 DETROIT    MI 37564
OAKLAND COUNTY FRIEND OF COURT   ACCT OF RAY HANSELMAN           DEPT 77257                                                 DETROIT    MI 37342
OAKLAND COUNTY FRIEND OF COURT   ACCT OF FRANK L GRANDBERRY SR   DEPT 77257                                                 DETROIT    MI 40980
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DAVID J LEGOWSKY        DEPT 77257                                                 DETROIT    MI 37660
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOHN W GRAYBEAL         DEPT 77257                                                 DETROIT    MI 37366
OAKLAND COUNTY FRIEND OF COURT   ACCT OF RONALD A CARPENTER      PO BOX 436012                                              PONTIAC    MI 48343‐6012
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MARK MATTIS             DEPT 77257                                                 DETROIT    MI 37880
OAKLAND COUNTY FRIEND OF COURT   ACCT OF WARREN J PARSONS        DEPT 77257                                                 DETROIT    MI 38164
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOHN R RICHARDS         1200 N TELEGRAPH RD DEPT 434                               PONTIAC    MI 48341‐1036
OAKLAND COUNTY FRIEND OF COURT   ACCT OF CHRISTOPHER MANNOR      1200 N TELEGRAPH RD DEPT 434                               PONTIAC    MI 48341‐1036
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MILTON JOHNSON          DEPT 77257                                                 DETROIT    MI 38464
OAKLAND COUNTY FRIEND OF COURT   ACCT OF L MARINO                DEPT 77257                                                 DETROIT    MI 38048
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MASOUD SATTARIPOUR      DEPT 77257                                                 DETROIT    MI 47174
OAKLAND COUNTY FRIEND OF COURT   ACCT OF S RAGHUMA REDDY         DEPT 77257                                                 DETROIT    MI 55333
OAKLAND COUNTY FRIEND OF COURT   ACCT OF GARBIEL MC CLENDON SR   DEPT 77257                                                 DETROIT    MI 38146
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOHN MC CONNELL         DEPT 77257                                                 DETROIT    MI 37144
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MARK NABOZNY            1200 N TELEGRAPH RD                                        PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF FRANCIS STEINBERGER     DEPT 77257                                                 DETROIT    MI 38544
OAKLAND COUNTY FRIEND OF COURT   ACCT OF PAUL L FERMAN           DEPT 77257                                                 DETROIT    MI 36658
OAKLAND COUNTY FRIEND OF COURT   ACCT OF NEWTON BAREFOOT         1200 N TELEGRAPH                                           PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DENNIS MC GLONE         DEPT 77257                                                 DETROIT    MI 36754
OAKLAND COUNTY FRIEND OF COURT   ACCT OF SYLVIA TOBALSKI         DEPT 77257                                                 DETROIT    MI 38274
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JAMES ZAMJAHN           1200 N TELEGRAPH                                           PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF EDGAR K FAISON          DEPT 77257                                                 DETROIT    MI 57770
OAKLAND COUNTY FRIEND OF COURT   ACCT OF CARL E JONES            DEPT 77257                                                 DETROIT    MI 34542
OAKLAND COUNTY FRIEND OF COURT   ACCT OF VERLINDA BROOME         DEPT 77257                                                 DETROIT    MI 37768
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JAMES CARRIGAN          1200 N TELEGRAPH RD                                        PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JAMES FRANK             DEPT 77257                                                 DETROIT    MI 37652
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DERRICK S WEBB          DEPT 77257                                                 DETROIT    MI 36258
OAKLAND COUNTY FRIEND OF COURT   ACCT OF PAMELA RYALLS           1200 N TELEGRAPH RD                                        PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOHN P FILAR            DEPT 77257                                                 DETROIT    MI
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MARK ROBERTS            DEPT 77257                                                 DETROIT    MI 36774
OAKLAND COUNTY FRIEND OF COURT   FOR ACCT OF S L KILLINGSWORTH   DEPT. 77257                                                DETROIT    MI 00000
OAKLAND COUNTY FRIEND OF COURT   ACCT OF GARY WESTERN            DEPT 77257                                                 DETROIT    MI 38146
OAKLAND COUNTY FRIEND OF COURT   ACCT OF NIKI S WAGONER          DEPT 77257                                                 DETROIT    MI
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JAMES E BEALL           DEPT 77257                                                 DETROIT    MI 36858
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Name                             Address1                      Address2                       Address3   Address4         City      State Zip
OAKLAND COUNTY FRIEND OF COURT   ACCT OF HELMUT J KOLKE        DEPT 77257                                                 DETROIT    MI 37350
OAKLAND COUNTY FRIEND OF COURT   ACCOUNT OF BILLIE R KEELS     DEPT. 77257                                                DETROIT    MI 37638
OAKLAND COUNTY FRIEND OF COURT   ACCT OF ANDREZE J PAWLAK      DEPT 77257                                                 DETROIT    MI 53588
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JEFFERY V CHAMBERS    DEPT 77257                                                 DETROIT    MI 38052
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOHNNY M BUSH         DEPT 77257                                                 DETROIT    MI 37438
OAKLAND COUNTY FRIEND OF COURT   ACCT OF LOYDE W GOODE         DEPT 77257                                                 DETROIT    MI 37470
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DENTON MORGAN         DEPT 77257                                                 DETROIT    MI 36740
OAKLAND COUNTY FRIEND OF COURT   ACCT OF PAUL DRAKE            1200 N TELEGRAPH RD                                        PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF GERALD MARKLIN        DEPT 77257                                                 DETROIT    MI 38536
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DAVID A DARROW        DEPT 77257                                                 DETROIT    MI 36842
OAKLAND COUNTY FRIEND OF COURT   ACCT OF KELLEY HARBERT        DEPT 77257                                                 DETROIT    MI 44732
OAKLAND COUNTY FRIEND OF COURT   ACCT OF GILBERT L MARTINEZ    1200 N TELEGRAPH RD                                        PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF VINCENT KELLY         DEPT 77257                                                 DETROIT    MI 25131
OAKLAND COUNTY FRIEND OF COURT   ACCT OF TIMOTHY G SAUTER      DEPT 77257                                                 DETROIT    MI 37050
OAKLAND COUNTY FRIEND OF COURT   ACCT OF LAWRENCE A FIRLIK     DEPT 77257                                                 DETROIT    MI 36656
OAKLAND COUNTY FRIEND OF COURT   ACCT OF GILLIAM CLARK         DEPT 77257                                                 DETROIT    MI 37166
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOHN FEKIN            DEPT 77257                                                 DETROIT    MI 37054
OAKLAND COUNTY FRIEND OF COURT   ACCT OF LARRY K DRAKE         DEPT 77257                                                 DETROIT    MI 44738
OAKLAND COUNTY FRIEND OF COURT   ACCT OF BRADLEY L KRAUSE      DEPT 77257                                                 DETROIT    MI 49958
OAKLAND COUNTY FRIEND OF COURT   ACCT OF CLARK POWELL          DEPT 77257                                                 DETROIT    MI 38558
OAKLAND COUNTY FRIEND OF COURT   ACCT OF ERNEST A DODSON JR    DEPT 77257                                                 DETROIT    MI 38372
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MARK A CHURAY         DEPT 77257                                                 DETROIT    MI 37262
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOHN BRONIK           DEPT 77257                                                 DETROIT    MI 37654
OAKLAND COUNTY FRIEND OF COURT   ACCT OF STEVEN KLEPCHAK       1200 N TELEGRAPH RD DEPT 434                               PONTIAC    MI 48341‐1036
OAKLAND COUNTY FRIEND OF COURT   ACCT OF TODD DAILEY           PO BOX 77257                                               DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF PAUL H DEESEN         1200 N TELEGRAPH RD DEPT 434                               PONTIAC    MI 48341‐1036
OAKLAND COUNTY FRIEND OF COURT   ACCT OF GARRY R FREYBURGHER   PO BOX 77257                                               DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DENNIS ARMOUR         PO BOX 77257                                               DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOSEPH C GLENN        PO BOX 77257                                               DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DENIS MORGAN FLAGG    PO BOX 77257                                               DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF VICTOR R QUINCE       DEPT 77257                                                 DETROIT    MI 48277‐0001
OAKLAND COUNTY FRIEND OF COURT   ACCT OF THEODORE J REYNOLDS   DEPT 77257                                                 DETROIT    MI 38052
OAKLAND COUNTY FRIEND OF COURT   ACCT OF STEPHEN BONNER        DEPT 77257                                                 DETROIT    MI 40876
OAKLAND COUNTY FRIEND OF COURT   ACCT OF RANDOLPH CARTER       DEPT 77257                                                 DETROIT    MI 36858
OAKLAND COUNTY FRIEND OF COURT   ACCT OR ROY A DOSTER          DEPT 77257                                                 DETROIT    MI 43576
OAKLAND COUNTY FRIEND OF COURT   ACCT OF KENNETH L HOUSTON     DEPT 77257                                                 DETROIT    MI 36976
OAKLAND COUNTY FRIEND OF COURT   ACCT OF BILLY HUGHES          DEPT 77257                                                 DETROIT    MI 56964
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOHN M IVANKO         DEPT 77257                                                 DETROIT    MI 37840
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MATTHEW B JESHURUN    DEPT 77257                                                 DETROIT    MI 26531
OAKLAND COUNTY FRIEND OF COURT   ACCT OF R C MARTINEZ          DEPT 77257                                                 DETROIT    MI 37040
OAKLAND COUNTY FRIEND OF COURT   FOR ACCOUNT OF J OLSHANSKY    DEPT. 77257                                                DETROIT    MI 37754
OAKLAND COUNTY FRIEND OF COURT   ACCT OF CLYDE M DOWNER        DEPT 77257                                                 DETROIT    MI 38264
OAKLAND COUNTY FRIEND OF COURT   ACCT OF OVERTON HIGH          DEPT 77257                                                 DETROIT    MI 43584
OAKLAND COUNTY FRIEND OF COURT   ACCT OF SUVIT MILLER          DEPT 77257                                                 DETROIT    MI 38380
OAKLAND COUNTY FRIEND OF COURT   ACCT OF FRANK W RIDLEY        DEPT 77257                                                 DETROIT    MI 37948
OAKLAND COUNTY FRIEND OF COURT   ACCT OF PHILLIP E THOR        DEPT 77257                                                 DETROIT    MI 38360
OAKLAND COUNTY FRIEND OF COURT   ACCT OF FORREST J WARD        DEPT 77257                                                 DETROIT    MI 37554
OAKLAND COUNTY FRIEND OF COURT   FOR ACCT OF L T WASHINGTON    DEPT. 77257                                                DETROIT    MI 00000
OAKLAND COUNTY FRIEND OF COURT   FOR ACCT OF A T BAILEY        DEPT. 77257                                                DETROIT    MI 00000
OAKLAND COUNTY FRIEND OF COURT   ACCT OF FREDDIE D BONDS       DEPT 77257                                                 DETROIT    MI 40972
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MERRICK GREENHOUSE    DEPT 77257                                                 DETROIT    MI 43766
OAKLAND COUNTY FRIEND OF COURT   ACCT OF ELBERT HALL           DEPT 77257                                                 DETROIT    MI
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OAKLAND COUNTY FRIEND OF COURT   ACCT OF PAUL HOFFMASTER          DEPT 77257                                                            DETROIT    MI 38544
OAKLAND COUNTY FRIEND OF COURT   ACCT OF ROGER J TEASDALE         DEPT 77257                                                            DETROIT    MI 38432
OAKLAND COUNTY FRIEND OF COURT   ACCOUNT C V GREEN                DEPT 77257                                                            DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MARIO R BUENO            DEPT 77257                                                            DETROIT    MI 36754
OAKLAND COUNTY FRIEND OF COURT   ACCOUNT OF J ANDERSON            DEPT 77257                                                            DETROIT    MI 00000
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JAMES R HARTSOCK         DEPT 77257                                                            DETROIT    MI 36746
OAKLAND COUNTY FRIEND OF COURT   ACCT OF STANLEY KINNEY           DEPT 77257                                                            DETROIT    MI 36564
OAKLAND COUNTY FRIEND OF COURT   ACCT OF RONALD THOMPSON          DEPT 77257                                                            DETROIT    MI
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DAVID F WELTON           DEPT 77257                                                            DETROIT    MI 36358
OAKLAND COUNTY FRIEND OF COURT   ACCT OF GUY A RICHIE             DEPT 77257                                                            DETROIT    MI 40519
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DINO S ROTONDO           DEPT 77257                                                            DETROIT    MI
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DEBORAH L WOOD           DEPT 77257                                                            DETROIT    MI 36762
OAKLAND COUNTY FRIEND OF COURT   ACCT OF ROBERT A FEDORKO         DEPT 77257                                                            DETROIT    MI 37748
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOHN D TRAWICK           DEPT 77257                                                            DETROIT    MI 42390
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JOHN WEILAND             DEPT 77257                                                            DETROIT    MI 37748
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DEAN BLOOM               PO BOX 77257                                                          DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JAMES K BOUGATSOS        PO BOX 436012                                                         PONTIAC    MI 48343‐6012
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MARK WILLIAMS            PO BOX 77257                                                          DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF KENNETH WILAMOWSKI       PO BOX 77257                                                          DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF ANTHONY R WHITE          PO BOX 77257                                                          DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF ANTHONY WHITE            1200 N TELEGRAPH RD DEPT 434                                          PONTIAC    MI 48341‐1036
OAKLAND COUNTY FRIEND OF COURT   ACCT OF ALBERT SHERRINGTON       PO BOX 77257                                                          DETROIT    MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MICHAEL G CHOLY          DEPT 77257                                                            DETROIT    MI 38250
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JACK W BIGGER            DEPT 77257                                                            DETROIT    MI 37042
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DENISE CHAVEZ            DEPT 77257                                                            DETROIT    MI 36564
OAKLAND COUNTY FRIEND OF COURT   ACCT OF CHARLES ASKIN            DEPT 77257                                                            DETROIT    MI 06340
OAKLAND COUNTY FRIEND OF COURT   ACCT OF KEVIN W COBB             DEPT 77257                                                            DETROIT    MI 37350
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MARK L CHAFFIN           DEPT 77257                                                            DETROIT    MI 48434
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DWIGHT CABRA             DEPT 77257                                                            DETROIT    MI 02642
OAKLAND COUNTY FRIEND OF COURT   ACCT OF JEROME M COLITON         DEPT 77257                                                            DETROIT    MI 38444
OAKLAND COUNTY FRIEND OF COURT   ACCT OF WESLEY ANDERSON          DEPT 77257                                                            DETROIT    MI 37972
OAKLAND COUNTY FRIEND OF COURT   ACCT OF CHRIS A EDDY             DEPT 77257                                                            DETROIT    MI 31666
OAKLAND COUNTY FRIEND OF COURT   ACCT OF ROGER R BOELIO           DEPT 77257                                                            DETROIT    MI 36746
OAKLAND COUNTY FRIEND OF COURT   ACCT OF RICHARD DILES            DEPT 77257                                                            DETROIT    MI 38264
OAKLAND COUNTY FRIEND OF COURT   ACCT OF RICHARD DILES            1200 N TELEGRAPH RD                                                   PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF LEONARD BALTZER          DEPT 77257                                                            DETROIT    MI 37034
OAKLAND COUNTY FRIEND OF COURT   ACCT OF WILLIAM JOHN ZABRITSKI   DEPT 77257                                                            DETROIT    MI 37948
OAKLAND COUNTY FRIEND OF COURT   ACCOUNT OF GREGORY WINDELER      1200 N TELEGRAPH RD                                                   PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   ACCT OF EDDIE J WALKER           1200 N TELEGRAPH RD                                                   PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   FOR ACCT OF ALEXANDER C TASCA    DEPT. 77257                                                           DETROIT    MI 00000
OAKLAND COUNTY FRIEND OF COURT   ACCT OF BRAD L FUNK              DEPT 77257                                                            DETROIT    MI 37554
OAKLAND COUNTY FRIEND OF COURT   FOR ACCT OF EARL W MILLER        DEPT. 77257                                                           DETROIT    MI 43292
OAKLAND COUNTY FRIEND OF COURT   ACCOUNT OF DAVID GIRARD          DEPT. 77257                                                           DETROIT    MI 00000
OAKLAND COUNTY FRIEND OF COURT   ACCT OF RALPH W BRAZEL           DEPT 77257                                                            DETROIT    MI 37468
OAKLAND COUNTY FRIEND OF COURT   FOR ACCT OF ALLAN JAWORS         CS#                            1200 N TELEGRAPH RD                    PONTIAC    MI 48341
OAKLAND COUNTY FRIEND OF COURT   FOR ACCT OF DAVID VRABEL         DEPT. 77257                                                           DETROIT    MI 00000
OAKLAND COUNTY FRIEND OF COURT   ACCT OF MARVIN WHITING           DEPT 77257                                                            DETROIT    MI 38452
OAKLAND COUNTY FRIEND OF COURT   ACCOUNT OF LOUIS MCCLAIN         DEPT. 77257                                                           DETROIT    MI 00000
OAKLAND COUNTY FRIEND OF COURT   FOR ACCT OF STANLEY L PETERSON   DEPT. 77257                                                           DETROIT    MI 00000
OAKLAND COUNTY FRIEND OF COURT   ACCT OF LYNN HOWARD              DEPT 77257                                                            DETROIT    MI 36456
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DANIEL R GEE             DEPT 77257                                                            DETROIT    MI 50692
OAKLAND COUNTY FRIEND OF COURT   ACCT OF DARYL JACKSON            DEPT 77257                                                            DETROIT    MI 38170
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OAKLAND COUNTY FRIEND OF COURT       ACCT OF FRED W GLIME                 DEPT 77257                                                              DETROIT             MI 37366
OAKLAND COUNTY FRIEND OF COURT       ACCT OF LEWIS Z LEVY                 DEPT 77257                                                              DETROIT             MI 12336
OAKLAND COUNTY FRIEND OF COURT       ACCT OF KENT A HAUSAUER              DEPT 77257                                                              DETROIT             MI 36370
OAKLAND COUNTY FRIEND OF COURT       ACCT OF PETER J FABBRI               DEPT 77257                                                              DETROIT             MI 38350
OAKLAND COUNTY FRIEND OF COURT       ACCT OF ALTON HARRIS                 DEPT 77257                                                              DETROIT             MI 43670
OAKLAND COUNTY FRIEND OF COURT       ACCT OF ALFRED GUY                   DEPT. 77257                                                             DETROIT             MI 38452
OAKLAND COUNTY FRIEND OF COURT       ACCT OF LESLIE DAVID HALL            PO BOX 77257                                                            DETROIT             MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT       ACCT OF DALE E JOHNSON               DEPT #77257                                                             DETROIT             MI 38236
OAKLAND COUNTY FRIEND OF COURT       ACCT OF RICHARD R KEMP               DEPT #77257                                                             DETROIT             MI 36252
OAKLAND COUNTY FRIEND OF COURT       ACCT OF DAVID HRESKO                 PO BOX 77257                                                            DETROIT             MI 48277‐0257
OAKLAND COUNTY FRIEND OF COURT       ACCT OF PETER KUDLICK                PO BOX 77257                                                            DETROIT             MI 48277‐0257
OAKLAND COUNTY FRIEND OF CRT         ACT OF R A ELLIS                     PO BOX 436012                                                           PONTIAC             MI 48343‐6012
OAKLAND COUNTY FRIEND OF THE COURT   PO BOX 436012                                                                                                PONTIAC             MI 48343‐6012

OAKLAND COUNTY HEALTH DIVISION       1200 N TELEGRAPH ROAD                                                                                        PONTIAC            MI 48341
OAKLAND COUNTY INTERNATIONAL         ATTN: CORPORATE OFFICER/AUTHORIZED   6500 HIGHLAND RD                                                        WATERFORD          MI 48327‐1607
                                     AGENT
OAKLAND COUNTY MICHIGAN              1200 N TELEGRAPH ROAD                                                                                        PONTIAC            MI 48341
OAKLAND COUNTY PARKS & RECREATION    9501 SASHABAW RD                                                                                             CLARKSTON          MI 48348‐2064
COMMISSION
OAKLAND COUNTY REIMBURSEMENT         ACCT OF AUDREY BRITTON‐GIPSON        1200 N TELEGRAPH RD                                                     PONTIAC            MI 48341
OAKLAND COUNTY REIMBURSEMENT DIV     PO BOX 430628                                                                                                PONTIAC            MI 48343‐0628

OAKLAND COUNTY REIMBURSEMNT DI       ACCOUNT OF MACK E BROOKS III         1200 N TELEGRAPH ROAD                                                   PONTIAC            MI 48341
OAKLAND COUNTY ROAD COMMISSION

OAKLAND COUNTY ROAD COMMISSION       31001 LAHSER ROAD                                                                                            BEVERLY HILLS      MI 48025

OAKLAND COUNTY TREASURER             1200 NORTH TELEGRAPH ROAD                                                                                    PONTIAC            MI 48341
OAKLAND COUNTY TREASURER             CHIEF TAX ADMINISTRATOR              1200 N TELEGRAPH RD                                                     PONTIAC            MI 48341
OAKLAND COUNTY TREASURER             CHIEF TAX ADMINISTRATOR              ATTN: LEGAL OFFICER / BANKRUPTCY 1200 N TELEGRAPH RD                    PONTIAC            MI 48341
                                                                          DEPT.
OAKLAND COUNTY TREASURER             1200 N TELEGRAPH RD                  DEPARTMENT 479                                                          PONTIAC            MI   48341
OAKLAND COUNTY W&S                   1 PUBLIC WORKS DR                                                                                            WATERFORD          MI   48328‐1907
OAKLAND COUNTYF FRIEND OF COUR       ACCT OF WILLIAM SOWERBY              DEPT 77257                                                              DETROIT            MI   36896
OAKLAND COURT REPORTERS INC          39520 WOODWARD AVE STE 50                                                                                    BLOOMFIELD HILLS   MI   48304‐5055
OAKLAND CTY FOC                      ACCT OF DAVID R LANCASTER            PO BOX 77257                                                            DETROIT            MI   48277‐0257
OAKLAND CTY FOC                      ACCT OF DAVID C BRAULT               DEPT 77257                                                              DETROIT            MI   37954
OAKLAND CTY FOC                      ACCT OF THOMAS J KIIHR               1200 N TELEGRAPH                                                        PONTIAC            MI   48341
OAKLAND CTY FOC                      ACCT OF J L TUTTLE                   1200 N TELEGRAPH RD                                                     PONTIAC            MI   48341
OAKLAND CTY FOC                      ACCT OF LINDA M WHITE                PO BOX 77257                                                            DETROIT            MI   48277‐0257
OAKLAND CTY FOC                      ACCT OF ROBERT M COGAL               1200 N TELEGRAPH RD DEPT 434                                            PONTIAC            MI   48341‐1036
OAKLAND CTY FOC                      ACCT OF DARWIN EUGENE ALLEN          1200 N TELEGRAPH RD DEPT 434                                            PONTIAC            MI   48341‐1036
OAKLAND CTY FRIEND OF COURT          ACCT OF AARON L WILLIAMS             1200 N TELEGRAPH RD                                                     PONTIAC            MI   48341
OAKLAND CTY FRIEND OF COURT          ACCOUNT OF WILLIAM WHITE             1200 N TELEGRAPH RD                                                     PONTIAC            MI   48341
OAKLAND CTY FRIEND OF COURT          ACCT OF KENNETH WISEHEART            PO BOX 436012                                                           PONTIAC            MI   48343‐6012
OAKLAND CTY FRIEND OF COURT          ACCT OF E KELVIN FAISON              1200 N TELEGRAPH RD DEPT 434                                            PONTIAC            MI   48341‐1036
OAKLAND CTY FRIEND OF THE COUR       FOR ACCT OF A G PENA                 DEPT 77257                                                              DETROIT            MI   00000
OAKLAND CTY FRIEND OF THE COUR       FOR ACCT OF V R QUINCE               COURT TOWER                                                             PONTIAC            MI   00000
OAKLAND CTY FRIEND OF THE COUR       FOR ACCT OF F T CHURCH               DEPT. 77257                                                             DETROIT            MI   28044
OAKLAND CTY FRIEND OF THE COUR       FOR ACCT OF C N CONTOR               DEPT. 77257                                                             DETROIT            MI   00000
OAKLAND CTY FRIEND OF THE COUR       FOR ACCT OF J F THOMPSON             DEPT. 77257                                                             DETROIT            MI   00000
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OAKLAND CTY FRIEND OF THE CT        ACCT OF TERENCE S THIEL         1200 N TELEGRAPH RD                                                   PONTIAC            MI 48341
OAKLAND CTY REIMBURSEMENT DIV       FOR ACCT OF A RIVERA            1200 N TELEGRAPH RD                                                   PONTIAC            MI 48341
OAKLAND CTY REIMBURSEMENT DIV       ACCT OF JANET W MC SHEFFREY     1200 NORTH TELEGRAPH RD                                               PONTIAC            MI 48341
OAKLAND CTY REIMBURSEMENT DIV       RICHARD SHORT                   PO BOX 430628                                                         PONTIAC            MI 48343‐0628
OAKLAND CTY REIMBURSEMENT DIV       ACCT OF WILLIAM C SHELLS        1200 N TELEGRAPH RD                                                   PONTIAC            MI 48341
OAKLAND DODG/MAD HTS                101 W 14 MILE RD                                                                                      MADISON HEIGHTS    MI 48071‐1308
OAKLAND EXCAVATING CO               ATTN: PAUL MC INTOSH            PO BOX 1954                                                           NOKOMIS            FL 34274‐1954
OAKLAND EYE CARE PC                 5825 SOUTH MAIN STREET                                                                                CLARKSTON          MI 48346
OAKLAND FAMILY SVC                  ATTN: MICHAEL EARL              114 ORCHARD LAKE RD                                                   PONTIAC            MI 48341‐2244
OAKLAND FED CR UN‐ MSU              FOR DEPOSIT IN THE ACCOUNT OF   3265 FIVE POINTS DR       K MCMAHON                                   AUBURN HILLS       MI 48326‐2337
OAKLAND FRIEND OF THE COURT         ACCT OF EDWARD A LINDSEY        DEPT 77257                                                            DETROIT            MI 15954
OAKLAND FRIEND OF THE COURT         ACCT OF ROBERT A FEDORKO        DEPT 77257                                                            DETROIT            MI 37748
OAKLAND LIVINGSTON HUMAN SVCS       196 CESAR E CHAVEZ                                                                                    PONTIAC            MI 48342
AGENCY
OAKLAND ORTHOPAEDIC                 30575 WOODWARD AVE              #100                                                                  ROYAL OAK         MI   48073
OAKLAND ORTHOPEDIC A                2465 KOSCIUSZKO AVE                                                                                   BAY CITY          MI   48708‐7655
OAKLAND ORTHOPEDIC P                44555 WOODWARD AVE STE 407                                                                            PONTIAC           MI   48341‐5036
OAKLAND PHOTOGRAPHIC REPAIR SERVICE 30575 DEQUINDRE RD                                                                                    MADISON HEIGHTS   MI   48071‐2245
INC
OAKLAND PHYSIATRY                   PO BOX 44047                                                                                          DETROIT           MI   48244‐0047
OAKLAND PHYSICIANS                  4947 RELIABLE PKWY                                                                                    CHICAGO           IL   60686‐0001
OAKLAND POOL & SPA                  1017 E WEST MAPLE RD                                                                                  WALLED LAKE       MI   48390‐3572
OAKLAND PRECISION TOOLING INC       8110 SANDMAR LN                                                                                       DAVISBURG         MI   48350‐2442
OAKLAND PRESS                       ATTN: JERRY BAMMEL              PO BOX 436009                                                         PONTIAC           MI   48343‐6009
OAKLAND PRIMARY HEALTH SVC          ATTN: MIYOSHI SHAW              46 N SAGINAW ST                                                       PONTIAC           MI   48342‐2155
OAKLAND RAIDERS                     C/O FINANCE DEPT                1220 HARBOR BAY PKWY                                                  ALAMEDA           CA   94502‐6501
OAKLAND RAMP                        1776 MIDDLE HARBOR RD                                                                                 OAKLAND           CA   94623
OAKLAND REG HOSPITAL                PO BOX 674073                                                                                         DETROIT           MI   48267‐4073
OAKLAND SURGICAL CENTER             2820 CROOKS ROAD                                                                                      ROCHESTER HILLS   MI   48309
OAKLAND TOOL & MANUFACTURING CORP                                   PO BOX 705                                                            ROSEVILLE         MI   48066‐0705

OAKLAND TOOL & MFG CO               PO BOX 705                                                                                            ROSEVILLE         MI   48066‐0705
OAKLAND TOOL/FRASER                 PO BOX 705                                                                                            ROSEVILLE         MI   48066
OAKLAND TOWNSHIP UNITED WAY         C/O UNITED WAY COMMUNITY SERV   4393 COLLINS RD                                                       ROCHESTER         MI   48306‐1619
OAKLAND TRUCK CENTER, INC.          ATTN: MARK KANE                 1444 MARINA BLVD                                                      SAN LEANDRO       CA   94577‐3327
OAKLAND TRUCK CENTER, INC.          MARK KANE                       1444 MARINA BLVD                                                      SAN LEANDRO       CA   94577‐3327
OAKLAND TRUCK CENTER, INC.          8099 S COLISEUM WAY                                                                                   OAKLAND           CA   94621‐1937
OAKLAND TRUCK COMPANY               1444 MARINA BLVD                                                                                      SAN LEANDRO       CA   94577‐3327
OAKLAND UNIVERSITY                  118 OAKLAND CTR                                                                                       ROCHESTER         MI   48309‐4409
OAKLAND UNIVERSITY                  MEADOW BROOK HALL                                                                                     ROCHESTER         MI   48309
OAKLAND UNIVERSITY                  ATTN ZISSIMOS MOURELATOS        111 DODGE HALL            DEPT OF MECHANICAL ENGRG                    ROCHESTER         MI   48309‐4408

OAKLAND UNIVERSITY                  SCH OF BUSINESS ADMIN APPLIED   341 ELLIOTT HALL          TECH IN BUSINESS PROGRAM                    ROCHESTER         MI 48309‐4424

OAKLAND UNIVERSITY                  BRITISH STUDIES AT OXFORD       322 WILSON HALL                                                       ROCHESTER         MI   48309‐4422
OAKLAND UNIVERSITY                  STUDENT ACCTS                   120 N FOUNDATION HALL                                                 ROCHESTER         MI   48309‐4410
OAKLAND UNIVERSITY                  DIVISION OF CONTINUING EDUC     270 S FOUNDATION HALL                                                 ROCHESTER         MI   48309‐4434
OAKLAND UNIVERSITY                  GRANTS CONTRACTS & SPONSORED    WALTON & SQUIRREL RD      544 O DOWD HALL                             ROCHESTER         MI   48309
OAKLAND UNIVERSITY                  427 ELLIOTT HALL                                                                                      ROCHESTER         MI   48309‐4424
OAKLAND UNIVERSITY                  2200 N SQUIRREL RD DS           110 N FOUNDATION HALL                                                 ROCHESTER         MI   48309
OAKLAND UNIVERSITY                  WALTON & SQUIRREL RDS                                                                                 ROCHESTER         MI   48309
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OAKLAND UNIVERSITY CENTER FOR        320 ODOWD HALL                                                                                          ROCHESTER           MI 48309‐4423
AMERICAN ENGLISH
OAKLAND UNIVERSITY COLLEGE OF ARTS   207 VARNER HALL                  LEGAL ASSISTANT AND TEST PREP                                          ROCHESTER          MI 48309‐4437
AND SCIENCES
OAKLAND UNIVERSITY DEPARTMENT OF     PROFESSOR JACK NACHMAN           368 SEB                                                                ROCHESTER          MI 48309
MATH & STATIST
OAKLAND UNIVERSITY OFFICE OF GRAD    432 ELLIOTT HALL                                                                                        ROCHESTER          MI 48309‐4424
BUS PROGRAMS
OAKLAND UNIVERSITY OFFICE OF         120 N FOUNDATION HALL            STUDENT ACCOUNTS ‐ ATTN DELLA                                          ROCHESTER          MI 48309‐4410
STUDENTS BUSINESS SE
OAKLAND UNIVERSITY PARKING           PO BOX 594                                                                                              GRAND BLANC        MI 48480‐0594
ENFORCEMENT CENTER
OAKLAND UNIVERSITY SCHOOL OF         OFFICE OF CONTINUING EDUCATION   AND PROFESSIONAL DEVELOPMENT                                           ROCHESTER          MI 48309
BUSINESS ADMIN
OAKLAND UNIVERSITY SCHOOL OF         238 ELLIOTT HALL                 CNTR FOR EXEC TRNG AND CONT ED                                         ROCHESTER          MI 48309‐4424
BUSINESS ADMIN
OAKLAND UNVSTY ACCT #30864           INTELLIGENT GROUND VEH COMPETN   102 SEB DEPT OF ELECTRICAL &     SYSTEM ENGINEERING                    ROCHESTER          MI 48309
OAKLAND WELDING INDUSTIRES INC       PO BOX 732                                                                                              NEW BALTIMORE      MI 48047‐0732
OAKLEY B FRANK (460091)              KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                          CLEVELAND          OH 44114
                                                                      BOND COURT BUILDING
OAKLEY BURRIS                        9676 W MOUNTAIN VIEW RD APT B                                                                           PEORIA             AZ 85345‐6997
OAKLEY E PORREY                      526 GLENVIEW CT                                                                                         WEBSTER            NY 14580‐1502
OAKLEY HARLEY R (429555)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                            NORFOLK            VA 23510
                                                                      STREET, SUITE 600
OAKLEY HERALD                        595 E JUDDVILLE RD                                                                                      OWOSSO             MI    48867‐9468
OAKLEY I I I, WARREN B               1628 BRIAR HILL WAY                                                                                     MARYVILLE          TN    37803‐2540
OAKLEY IND/CLINTON                   35166 AUTOMATION DR                                                                                     CLINTON TOWNSHIP   MI    48035‐3113
OAKLEY IND/MT CLEMEN                 35166 AUTOMATION DRIVE                                                                                  MOUNT CLEMENS      MI    48043
OAKLEY INDUSTRIES                    4333 MATTHEW                                                                                            FLINT              MI    48507‐3160
OAKLEY INDUSTRIES                    7199 AL BOURLAND DR                                                                                     SHREVEPORT         LA    71129‐9412
OAKLEY INDUSTRIES INC                MICHAEL MCAVOY X221              35166 AUTOMATION DR.                                                   MOUNT CLEMENS      MI    48043
OAKLEY INDUSTRIES INC                35166 AUTOMATION DR                                                                                     CLINTON TOWNSHIP   MI    48035‐3113
OAKLEY INDUSTRIES INC.               MICHAEL MCAVOY X221              35166 AUTOMATION DR.                                                   MOUNT CLEMENS      MI    48043
OAKLEY INDUSTRIES SUB ASSEMBLY DIV   128 W SHEFFIELD AVE                                                                                     PONTIAC            MI    48340‐1850
INC
OAKLEY INDUSTRIES SUB ASSEMBLY DIV   7199 AL BOURLAND DR                                                                                     SHREVEPORT          LA   71129‐9412
INC
OAKLEY KAYEEJAH                      NO ADVERSE PARTY
OAKLEY LINDA                         100 SATURN PKWY                  MD 371‐995‐K09                                                         SPRING HILL        TN    37174‐2492
OAKLEY MOTORS, INC.                  611 S FREEMAN AVE                                                                                       OAKLEY             KS    67748‐8934
OAKLEY MOTORS, INC.                  DANIEL ROBBEN                    611 S FREEMAN AVE                                                      OAKLEY             KS    67748‐8934
OAKLEY PONTIAC‐BUICK, INC.           DAVID OAKLEY                     PO BOX 938                                                             BARTLESVILLE       OK    74005‐0938
OAKLEY PONTIAC‐BUICK, INC.           PO BOX 938                                                                                              BARTLESVILLE       OK    74005‐0938
OAKLEY PORREY                        526 GLENVIEW CT                                                                                         WEBSTER            NY    14580‐1502
OAKLEY SESTER                        5230 WARREN AVE                                                                                         NORWOOD            OH    45212‐1418
OAKLEY SMITH                         5418 HUNTER AVE                                                                                         NORWOOD            OH    45212‐1032
OAKLEY SPENCER (ESTATE OF)           LEVY PHILLIPS & KONIGSBERG       800 3RD AVE 13TH FL                                                    NEW YORK           NY    10022
OAKLEY SUB ASSEMBLY INC              7199 AL BOURLAND DR                                                                                     SHREVEPORT         LA    71129‐9412
OAKLEY TANK LINES                    5115 PRINCE GEORGE DR                                                                                   PRINCE GEORGE      VA    23875‐2626
OAKLEY THOMAS                        124 WYNDHAM DR                                                                                          WINTER HAVEN       FL    33884‐4123
OAKLEY VALERIE                       6570 KENNARD RD                                                                                         MEDINA             OH    44256‐8557
OAKLEY WILLARD JR                    250 SW PERSHING AVE                                                                                     GLEN BURNIE        MD    21061‐3956
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Name                     Address1                        Address2                       Address3   Address4         City                State Zip
OAKLEY, ANGELA           2200 16TH ST                                                                               GREENSBORO           NC 27405‐5124
OAKLEY, ANNA P           1023 BURGER AVE                                                                            MANSFIELD            OH 44906‐3909
OAKLEY, AVERY R          2390 FLORIDA AVE                                                                           TITUSVILLE           FL 32796‐2026
OAKLEY, B FRANK          KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND            OH 44114
                                                         BOND COURT BUILDING
OAKLEY, BENNY D          PO BOX 162                                                                                 WARREN              IN   46792‐0162
OAKLEY, BETTY            27 VIOLET DR                                                                               HENDERSONVILLE      NC   28792‐9590
OAKLEY, BETTY L          1707 HIGHLAND MOUNTAIN RD                                                                  RICKMAN             TN   38580
OAKLEY, BETTY R          1200 CALDWELL ST                                                                           MANSFIELD           OH   44906‐1963
OAKLEY, BILLY R          217 LEE HOLLOW RD                                                                          SPARTA              TN   38583‐5329
OAKLEY, BRUCE TRUCKING   DBA OAKLEY TRUCKING             PO BOX 17880                                               NORTH LITTLE ROCK   AR   72117‐0880
OAKLEY, CATHERINE L      PO BOX 242                                                                                 KETTLE FALLS        WA   99141
OAKLEY, CHAD L           427 W LINCOLN ST                                                                           LUVERNE             MN   56156‐1431
OAKLEY, CHARLES W        3207 VICTOR ST                                                                             KANSAS CITY         MO   64128‐1224
OAKLEY, CONSTANCE F      2801 S STONE RD LOT 43          STONECREST MANOR                                           MARION              IN   46953‐4716
OAKLEY, CONSTANCE F      STONECREST MANOR                2801 STONE ROAD SOUTH LOT 43                               MARION              IN   46953‐4709
OAKLEY, DENNIS R         1715 FLETCHER ST                                                                           LANSING             MI   48910‐1336
OAKLEY, DONALD D         8870 SASHABAW RD                                                                           CLARKSTON           MI   48348‐2922
OAKLEY, DONNA J          16911 HEATHER LANE RD                                                                      MOUNT CLEMENS       MI   48038
OAKLEY, DOUGLAS          175 OAK LN                                                                                 RICKMAN             TN   38580‐2066
OAKLEY, ETHAN            5334 STATE ROUTE 630                                                                       SLAUGHTERS          KY   42456‐9256
OAKLEY, GERALD H         5839 CHILI AVE                                                                             CHURCHVILLE         NY   14428
OAKLEY, HARLEY R         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA   23510
                                                         STREET, SUITE 600
OAKLEY, HELEN M          7331 HUNTINGTON RD                                                                         HUDSON              OH   44236‐2433
OAKLEY, JAMES C          6 HUDSON RIVER LN                                                                          GARRISON            NY   10524‐3015
OAKLEY, JAMES D          125 WESTFIELD DR                                                                           COLUMBIA            TN   38401‐6518
OAKLEY, JAMES G          PO BOX 1371                                                                                MARTINSVILLE        IN   46151‐0371
OAKLEY, JAMES G          45010 HARRIS RD                                                                            BELLEVILLE          MI   48111‐8938
OAKLEY, JANET E          11136 WOODFIELD PKWY                                                                       GRAND BLANC         MI   48439‐9452
OAKLEY, JEFFERY R        3115 W ALTO RD                                                                             KOKOMO              IN   46902‐4688
OAKLEY, JOHN C           110 CEDAR POINT DR                                                                         FAIR HOPE           AL   36532
OAKLEY, JOSEPHINE A      APT 245                         1915 BALDWIN AVENUE                                        PONTIAC             MI   48340‐3407
OAKLEY, JOYCE M          14130 MURRAY CLARK RD.                                                                     DANVILLE            IL   61834‐7885
OAKLEY, LONNIE W         391 MORIAH CHURCH RD                                                                       LONDON              KY   40741‐9676
OAKLEY, LOREN R          150 WINTERDALE DR                                                                          LAKE ALFRED         FL   33850‐9408
OAKLEY, LOUIE E          1153 IOWA AVE                                                                              MC DONALD           OH   44437‐1645
OAKLEY, MARGIE M         14109 W MAIN ST                                                                            DALEVILLE           IN   47334‐9758
OAKLEY, MICHAEL D        1093 NASH RD                                                                               XENIA               OH   45385‐9432
OAKLEY, NORMA J          3806 N SPRUCE AVE                                                                          WHITE CLOUD         MI   49349‐9619
OAKLEY, ORA E            30076 POINTE DR                                                                            GIBRALTAR           MI   48173‐9554
OAKLEY, ORVILLE E        ALLEN VILLA APARTMENT           6355 PELHAM RD                 #C4                         ALLEN PARK          MI   48101
OAKLEY, PATRICIA         8676 RIVERDALE ST                                                                          DEARBORN HTS        MI   48127‐1516
OAKLEY, RANDALL C        165 RANDALL LN                                                                             LONDON              KY   40741‐6602
OAKLEY, ROBERT G         416 CHAPMAN LN                                                                             LEXINGTON           OH   44904‐1083
OAKLEY, ROBERT S         802 CANDLELIGHT DR APT 2A                                                                  BEL AIR             MD   21014‐3058
OAKLEY, RONALD           39310 GARY LANE                                                                            MOUNT CLEMENS       MI   48043
OAKLEY, SHIRLEY M        995 LOWER BELLBROOK RD                                                                     XENIA               OH   45385‐7307
OAKLEY, SHIRLEY M        995 LWR BELLBROOK RD                                                                       XENIA               OH   45385‐7307
OAKLEY, SPENCER          LEVY PHILLIPS & KONIGSBERG      520 MADISON AVE, 31ST FLOOR                                NEW YORK            NY   10022
OAKLEY, STANLEY J        7067 LINN RD                                                                               LIBERTY TOWNSHIP    OH   45044
OAKLEY, STEPHANIE A      602 CREYTS RD                                                                              DIMONDALE           MI   48821‐9609
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Name                                Address1                             Address2                          Address3        Address4                City                State Zip
OAKLEY, STEPHEN J                   346 SARATOGA DR                                                                                                PITTSBURGH           PA 15236‐4455
OAKLEY, STEPHEN T                   11136 WOODFIELD PKWY                                                                                           GRAND BLANC          MI 48439‐9452
OAKLEY, STEVEN                      5334 STATE ROUTE 360                                                                                           SLAUGHTERS           KY 42456
OAKLEY, STEVEN D                    3141 LINDA MARIE WAY                                                                                           COMMERCE TOWNSHIP    MI 48390‐1165
OAKLEY, SUSAN B                     1318 WILLOWIDGE DRIVE                                                                                          BEAVERCREEK          OH 45434‐6749
OAKLEY, SUSAN B                     1318 WILLOWRIDGE DR                                                                                            BEAVERCREEK          OH 45434‐6749
OAKLEY, TRENDA K                    7114 SMITHS GROVE SCOTTSVILLE RD                                                                               SMITHS GROVE         KY 42171‐9434
OAKLEY, WILBUR J                    6746 CARINTHIA DR                                                                                              DAYTON               OH 45459‐1210
OAKLEY,MICHAEL D                    1093 NASH RD                                                                                                   XENIA                OH 45385‐9432
OAKLEY‐SMITH, NORMA J               5146 JONES LANDING RD                                                                                          PETOSKEY             MI 49770
OAKMAN JR, GARY L                   1037 E LIBERTY ST                                                                                              GIRARD               OH 44420‐2407
OAKMAN, GREGORY A                   731 PURDUE AVE                                                                                                 YOUNGSTOWN           OH 44515‐4220
OAKMAN, PAUL E                      G 1235 W REID RD                                                                                               FLINT                MI 48507
OAKMAN, RONALD W                    45 EMMA ST                                                                                                     GIRARD               OH 44420‐3202
OAKMAN, WALTER L                    112 THORNWOOD DR                                                                                               CLINTON              MS 39056‐6227
OAKMONT INDUSTRIAL GROUP I LP       3520 PIEDMONT ROAD SUITE 365                                                                                   ATLANTA              GA 30305
OAKMONT INDUSTRIAL GROUP I, L.P.    STEPHEN L. NELSEN                    3520 PIEDMONT ROAD                                                        ATLANTA              GA 30305
OAKMOORE PTY LTD                    84 EVANS RD                          PO BOX 191                                        SALISBURY QL 4107
                                                                                                                           AUSTRALIA
OAKMOORE PTY LTD                    DAVID CAMERLENGO                     EGR                               84 EVANS ROAD   ARTEAGA COAH CZ 25350
                                                                                                                           MEXICO
OAKRIDGE DISTRIBUTION INC           PO BOX 151436                                                                                                  LUFKIN              TX 75915‐1436
OAKS AMBER LEHIGH                   OAKS, AMBER LEHIGH                   2325 GRANT BUILDING 310 GRANT                                             PITTSBURGH          PA 15219
                                                                         STREET
OAKS BRAEMAR APARTMENTS             ATTN: CORPORATE OFFICER/AUTHORIZED   7150 CAHILL RD                                                            EDINA               MN 55439‐2025
                                    AGENT
OAKS JR., LEGETTE T                 20016 NEGAUNEE                                                                                                 REDFORD             MI   48240‐1646
OAKS LA ROCHE, CHERYL A             2045 DEVONSHIRE DR                                                                                             WIXOM               MI   48393‐4412
OAKS MICHAEL                        2 E SKYLINE DR                                                                                                 GREENBRIER          AR   72058‐9525
OAKS WILLARD (ESTATE OF) (651428)   COONEY & CONWAY                      120 NORTH LASALLE STREET , 30TH                                           CHICAGO             IL   60602
                                                                         FLOOR
OAKS, BARBARA                       1255 WEST STATE                      ROUTE 571                                                                 TIPP CITY           OH   45371
OAKS, BILLY E                       PO BOX 40                                                                                                      NEWLAND             NC   28657‐0040
OAKS, CAN M                         816 KNOLLS LANDING DR                                                                                          MILFORD             MI   48381‐1889
OAKS, DALLAS W                      2250 7TH ST                                                                                                    WYANDOTTE           MI   48192‐4316
OAKS, DOROTHY M                     468 SUNNYBROOK RD                    PO BOX 533                                                                HEIDRICK            KY   40949
OAKS, DUANE L                       8370 FRANCES RD                                                                                                OTISVILLE           MI   48463‐9470
OAKS, ELMER H                       923 S 520 W                                                                                                    RUSSIAVILLE         IN   46979
OAKS, FREDDIE D                     25324 HASKELL ST                                                                                               TAYLOR              MI   48180‐2083
OAKS, GARY A                        647 N COUNTY LINE HWY                                                                                          DEERFIELD           MI   49238‐9603
OAKS, JAMES                         2630 CRESTWELL PLACE                                                                                           DAYTON              OH   45420‐3735
OAKS, JAMES KENDAL                  2909 US 70 E LOT 3                                                                                             MORGANTON           NC   28655
OAKS, JAMES L                       6105 E 400 S                                                                                                   KOKOMO              IN   46902‐9212
OAKS, JANET                         1766 E M‐30                                                                                                    ALGIER              MI   48610‐9510
OAKS, JANET S                       42647 REDFERN ST                                                                                               CANTON              MI   48187‐3453
OAKS, JANET SUE                     42647 REDFERN ST                                                                                               CANTON              MI   48187‐3453
OAKS, JOSEPHINE                     153 KILHOFFER ST                                                                                               BUFFALO             NY   14211‐1720
OAKS, KENDAL H                      3151 MYRTON ST                                                                                                 BURTON              MI   48529‐1021
OAKS, LILLIAN R                     PO BOX 49686                                                                                                   W CARROLLTON        OH   45449‐0686
OAKS, MADELYN F                     3048 E LAKE RD                                                                                                 JAMESTOWN           PA   16134‐4428
OAKS, MARVIN                        187 WESTON AVE                                                                                                 BUFFALO             NY   14215‐3538
OAKS, MARY A                        27484 JOANN DR                                                                                                 BONITA SPRINGS      FL   34135‐7143
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Name                               Address1                             Address2                         Address3   Address4                 City               State Zip
OAKS, MAYNARD G                    PO BOX 49686                                                                                              W CARROLLTON        OH 45449‐0686
OAKS, MILDRED D                    9650 SAINT CLAIR RD                                                                                       HAINES CITY         FL 33844‐9031
OAKS, MILDRED D                    9650 ST CLAIR RD                                                                                          HAINE CITY          FL 33844‐9031
OAKS, PAUL                         875 STAHLHEBER RD                                                                                         HAMILTON            OH 45013‐1963
OAKS, PAUL K                       2927 MACKIN RD                                                                                            FLINT               MI 48504‐3262
OAKS, ROBERT M                     305 E HIGH ST                        C/O PATRICIA LEITZ                                                   EDGERTON            WI 53534‐2113
OAKS, ROSE E                       14436 HUPP RD.                                                                                            TIMBERVILLE         VA 22853
OAKS, THOMAS R                     2730 VOLLMER DR                                                                                           YOUNGSTOWN          OH 44511‐1958
OAKS, TIMOTHY C                    85 FISHER ST                                                                                              BUFFALO             NY 14215‐3907
OAKS, VICKI R                      240 WILEMAN DR                                                                                            EDGERTON            WI 53534
OAKS, VIOLET S                     2694 E 400 S                                                                                              ANDERSON            IN 46017‐9549
OAKS, VIOLET S                     2694 E. 400S                                                                                              ANDERSON            IN 46017‐9549
OAKS, VIRGINIA R                   5209 ROSE CITY RD D101                                                                                    LUPTON              MI 48635
OAKS, WILLARD                      COONEY & CONWAY                      120 NORTH LASALLE STREET, 30TH                                       CHICAGO              IL 60602
                                                                        FLOOR
OAKS, WILLIAM H                    5949 KATHERINE ST                                                                                         TAYLOR             MI   48180‐1303
OAKS, WILLIAM L                    9772 W 189 N                                                                                              CONVERSE           IN   46919
OAKTON COMMUNITY COLLEGE           1600 E GOLF RD                                                                                            DES PLAINES        IL   60016‐1234
OAKTREE CAPITAL MANAGEMENT, L.P.   333 SOUTH GRAND AVE., 28TH FLOOR     HERMANN DAMBACH, HEAD OF                                             LOS ANGELES        CA   90071
                                                                        GERMAN OFFICE
OAKTREE MEDICAL CENT               PO BOX 484                                                                                                EASLEY             SC 29641‐0484
OAKTREE MOTORS D/B/A CORVETTE      DENNIS HAND                          4225 BANKHEAD HWY                                                    DOUGLASVILLE       GA 30134‐2948
ORIGINALS
OAKVILLE AUTOMOTIVE INC.           3001 TELEGRAPH RD                                                                                         SAINT LOUIS        MO 63125‐5547
OAKVILLE HYDRO                     861 REDWOOD SQUARE                                                               OAKVILLE CANADA ON L6J
                                                                                                                    5E3 CANADA
OAKWOOD BRIAN                      2522 TRINITY PASS                                                                                         SAN ANTONIO        TX   78261‐2344
OAKWOOD CANTON IMAGI               PO BOX 77000                                                                                              DETROIT            MI   48277‐2000
OAKWOOD COLLEGE                    STUDENT ACCOUNTS OFFICE              7000 ADVENTIST BLVD                                                  HUNTSVILLE         AL   35896‐0001
OAKWOOD CORPORATE HOUSING          4217 COLLECTION CENTER DR                                                                                 CHICAGO            IL   60693‐0042
OAKWOOD CORPORATE HOUSING          7622 WOODWIND DR                                                                                          HUNTINGTON BEACH   CA   92647‐7164
OAKWOOD CORPORATE HOUSING          ATTN: CORPORATE OFFICER/AUTHORIZED   4217 COLLECTION CENTER DR                                            CHICAGO            IL   60693‐0042
                                   AGENT
OAKWOOD CUSTOM COATING INC         12023 DELTA ST                                                                                            TAYLOR             MI 48180‐4082
OAKWOOD ENERGY MANAGEMENT INC      1100 OAKWOOD BLVD                                                                                         DEARBORN           MI 48124

OAKWOOD ENERGY MANAGEMENT INC      ATTN: CORPORATE OFFICER/AUTHORIZED   1100 OAKWOOD BLVD                                                    DEARBORN           MI 48124‐2820
                                   AGENT
OAKWOOD ENERGY MANAGEMENT, INC     ATTN: CORPORATE OFFICER/AUTHORIZED   9755 INKSTER RD                                                      TAYLOR             MI 48180‐3048
                                   AGENT
OAKWOOD ENERGY MANAGEMENT, INC     9755 INKSTER ROAD                                                                                         TAYLOR             MI 48180

OAKWOOD ENERGY MANAGMENT INC       9755 INKSTER RD                                                                                           TAYLOR             MI   48180‐3048
OAKWOOD GROUP                      1100 OAKWOOD BLVD                                                                                         DEARBORN           MI   48124‐2820
OAKWOOD HEALTHCARE G               PO BOX 67000                                                                                              DETROIT            MI   48267‐0002
OAKWOOD HEALTHCARE INC             5450 FORT ST                         OAKWOOD SOUTHSHORE MED CTR                                           TRENTON            MI   48183‐4601

OAKWOOD HEALTHCARE INC             DBA OAKWOOD HOSP & MED CTR           PO BOX 2805                                                          DEARBORN           MI   48123‐2803
OAKWOOD METAL FABRICATING CO       12023 DELTA ST                                                                                            TAYLOR             MI   48180‐4082
OAKWOOD METAL FABRICATING CO       SHEILA SHELTON                       9755 INKSTER RD                                                      TAYLOR             MI   48180‐3048
OAKWOOD METAL FABRICATING CO       SHEILA SHELTON                       12801 UNIVERSAL DRIVE                                                LANSING            MI
OAKWOOD METAL FABRICATING CO       9755 INKSTER RD PLT 1                                                                                     TAYLOR             MI   48180
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Name                                   Address1                             Address2                      Address3   Address4            City                 State Zip
OAKWOOD METAL FABRICATING CO           1100 OAKWOOD BLVD                                                                                 DEARBORN              MI 48124‐2820
OAKWOOD METAL FABRICATING              110 FORTON COURT                                                                                  CLINTON TOWNSHIP      MI 48035
COMPANY
OAKWOOD METAL FABRICATING              1100 OAKWOOD                                                                                      DEARBORN             MI 48124
COMPANY
OAKWOOD METAL FABRICATING              ATTN: CORPORATE OFFICER/AUTHORIZED   1100 OAKWOOD BLVD                                            DEARBORN             MI 48124‐2820
COMPANY                                AGENT
OAKWOOD METAL FABRICATING              ATTN: CORPORATE OFFICER/AUTHORIZED   110 FORTON COURT                                             CLINTON TOWNSHIP     MI 48035
COMPANY                                AGENT
OAKWOOD PRODUCTS INC                   FLUOROCHEM USA                       1741 OLD DUNBAR RD                                           WEST COLUMBIA        SC 29172‐1901
OAKWOOD SERVICE CENTER                 1644 STATE ROUTE 326                                                                              AUBURN               NY 13021‐8106
OAKWOOD TRANSPORT                      PO BOX 120                                                                    THAMESFORD ON N0M
                                                                                                                     2M0 CANADA
OAKWOOD WORLDWIDE                      RENEE CUMMINGS                       7622 WOODWIND DR                                             HUNTINGTON BEACH     CA   92647‐7164
OAKWOOD, MARY JO                       4131 PAXTON WOODS DR                                                                              CINCINNATI           OH   45209‐1416
OALDON, EDNA C                         1222 N COUNTY ROAD 475 E                                                                          AVON                 IN   46123‐8673
OALDON, LORRAINE M                     4228 OLD DOMINION RD                                                                              ORLANDO              FL   32812‐7932
OALDON, RONALD E                       314 STONER DR                                                                                     ANDERSON             IN   46013‐3752
OANA, MICHAEL H                        379 LELEIHOKU ST                                                                                  WAILUKU              HI   96793
OANH H NGUYEN                          1732 DUTCHESS AVE                                                                                 DAYTON               OH   45420‐1340
OARD, BARBARA M                        PO BOX 283                                                                                        ATTICA               MI   48412‐0283
OARD, BARBARA M                        PO BOX 83                                                                                         ATTICA               MI   48412‐0083
OARD, JACK L                           PO BOX 83                                                                                         ATTICA               MI   48412‐0083
OARD, JAMES L                          4510 W MULBERRY RD                                                                                MORENCI              MI   49256‐9515
OARD, JENNIFER                         3675 CLARKSTON RD                                                                                 CLARKSTON            MI   48348‐4069
OARD, JENNIFER ELIANE                  3675 CLARKSTON RD                                                                                 CLARKSTON            MI   48348‐4069
OARD, TIMOTHY L                        3675 CLARKSTON RD                                                                                 CLARKSTON            MI   48348‐4069
OARLEE STEVENS                         1322 N SAND LAKE RD                                                                               NATIONAL CITY        MI   48748‐9619
OARSMAN SPORTSWEAR, A DIVISION OF
PARAMOUNT APPAREL INTERNATIONAL

OAS, DALE A                         1729 SHANNON DR                                                                                      JANESVILLE           WI 53546‐1494
OASAN, MARY MAE I                   52 PINE HILL AVE                                                                                     MANCHESTER           NH 03102‐1321
OASIS AUTO COMPLETE SYSTEMS LIMITED 4056 MEADOWBROOK DRIVE                  SUITE 131                                LONDON ON N6L 1E3
                                                                                                                     CANADA
OASIS CENTER                           1704 CHARLOTTE AVE                   STE 200                                                      NASHVILLE            TN   97209‐2979
OASIS CHEVROLET, L.L.C.                1292 US HIGHWAY 9                                                                                 OLD BRIDGE           NJ   08857‐2841
OASIS CHEVROLET, L.L.C.                ROBIN ROSEN                          1292 US HIGHWAY 9                                            OLD BRIDGE           NJ   08857‐2841
OASIS, ROBERT                          5071 MAGNOLIA BAY CIR                                                                             PALM BEACH GARDENS   FL   33418‐6733
OATERS HUDDLESTON                      15317 RUTHERFORD ST                                                                               DETROIT              MI   48227‐1919
OATES CHARLES W (ESTATE OF) (505490)   GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                   EDWARDSVILLE         IL   62025‐0959
                                       ANTOGNOLI
OATES CHEVROLET, TOM
OATES GARY                             621 BIGHORN COURT                                                                                 WINDSOR              CO 80550‐3178
OATES III, WILLIAM A                   10286 N COONEY RD                                                                                 MOORESVILLE          IN 46158‐6427
OATES JOSEPH L (439370)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA 23510
                                                                            STREET, SUITE 600
OATES JR, JOSEPH H                     4479 STRATHDALE LN                                                                                W BLOOMFIELD         MI   48323‐2854
OATES JR, MAX O                        100 N RALEIGH ST                                                                                  MARTINSBURG          WV   25401‐2753
OATES MELVIN A (634916)                ANGELOS PETER G LAW OFFICE           1300 N MARKET ST STE 212                                     WILMINGTON           DE   19801‐1813
OATES WILLIAM (459236)                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA   23510
                                                                            STREET, SUITE 600
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Name                     Address1                            Address2                      Address3   Address4         City            State Zip
OATES, ALICE H           126 EUCLID BLVD                                                                               YOUNGSTOWN       OH 44505‐2014
OATES, ARCHIE            24 BROOKFIELD LN UNIT 6                                                                       CHEEKTOWAGA      NY 14227‐1982
OATES, BARBARA J         1716 E WARDLOW RD                                                                             HIGHLAND         MI 48356‐2220
OATES, CAROLYN A         375 E WENTWORTH CIR                                                                           ENGLEWOOD        FL 34223‐3045
OATES, CHARLES W         GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                EDWARDSVILLE      IL 62025‐0959
                         ANTOGNOLI
OATES, CHARLES WILLIAM   C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                      EDWARDSVILLE     IL   62025
                         ROWLAND P C
OATES, CHERYL LYNNE      9730 NIVER AVE                                                                                ALLEN PARK      MI    48101‐1347
OATES, CONNIE L          2691 N LAPEER RD                                                                              LAPEER          MI    48446‐8632
OATES, DOROTHY A         103 SCHAD ST                                                                                  EAST BREWTON    AL    36426‐4321
OATES, DOROTHY A         103 SCHAD STREET                                                                              EAST BREWTON    AL    36426‐4321
OATES, DOROTHY H         135 AMBERWOOD CIRCLE                                                                          CONYERS         GA    30094‐4202
OATES, EDWARD D          1850 CHELAN ST                                                                                FLINT           MI    48503‐4308
OATES, ERNEST W          PO BOX 11958                                                                                  NEWPORT BEACH   CA    92658‐5047
OATES, FLORENCE          250 E HARBORTOWN DR                                                                           DETROIT         MI    48207
OATES, FLORENCE M        5830 BURTON S E                                                                               GRAND RAPIDS    MI    49546‐6710
OATES, FREDERICK J       6230 THREE LAKES DR                                                                           BRIGHTON        MI    48116‐9525
OATES, GARY M            621 BIGHORN COURT                                                                             WINDSOR         CO    80550‐3178
OATES, GARY MICHAEL      621 BIGHORN COURT                                                                             WINDSOR         CO    80550‐3178
OATES, GERALD W          104 GINGER DR                                                                                 KEARNEYSVILLE   WV    25430‐2570
OATES, HENRY L           9951 CHATHAM                                                                                  DETROIT         MI    48239‐1307
OATES, HUGH
OATES, JAMES H           901 HAZELWOOD AVE                                                                             SYRACUSE        NY    13224‐1314
OATES, JESSE             1418 FEDERAL                                                                                  SAGINAW         MI    48601‐1813
OATES, JESSE             1418 FEDERAL AVE                                                                              SAGINAW         MI    48601‐1813
OATES, JOHN M            15034 ANGELIQUE AVE                                                                           ALLEN PARK      MI    48101‐1847
OATES, JOSEPH H          1623 HARDING AVE                                                                              GIRARD          OH    44420‐1515
OATES, JOSEPH L          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510‐2212
                                                             STREET, SUITE 600
OATES, JOYCE M           52 WILKINS CT                                                                                 MARTINSBURG     WV    25404‐0751
OATES, KATHRYN J         APT 204                             101 2ND STREET                                            HOT SPRINGS     AR    71913‐3646
OATES, KATHRYN J         101 2ND ST APT 402                                                                            HOT SPRINGS     AR    71913‐3648
OATES, KENNETH M         114 N RODNEY ST                                                                               WILMINGTON      DE    19805‐3527
OATES, LUCY M            218 SANDY WOOD CT                                                                             MADISON         AL    35758‐6645
OATES, MELVIN A          ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                  WILMINGTON      DE    19801‐1813
OATES, ODATOR            1568 HIGHWAY Y                                                                                FOLLEY          MO    63347‐3111
OATES, ODESSA L          3916 E 47TH TERR                                                                              KANSAS CITY     MO    64130‐2423
OATES, OLEN R            751 E GILCHRIST CT                                                                            HERNANDO        FL    34442‐8308
OATES, RICHARD F         8759 MAIN ST. (UPPER)                                                                         WILLIAMSVILLE   NY    14221
OATES, RONALD A          16773 SILVERADO DR                                                                            SOUTHGATE       MI    48195‐3928
OATES, SERITA I          1709 TIMBERLANE DR                                                                            FLINT           MI    48507‐1408
OATES, TERRY B           PO BOX 13341                                                                                  FLINT           MI    48501‐3341
OATES, THOMAS W          4079 FAIRVIEW PKWY                                                                            BLASDELL        NY    14219‐2434
OATES, THOMAS WILLIAM    4079 FAIRVIEW PKWY                                                                            BLASDELL        NY    14219‐2434
OATES, WILLIAM           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510‐2212
                                                             STREET, SUITE 600
OATEY JOHN               2900 SADDLEBROOK                                                                              QUINCY          IL    62305
OATHER JACKSON           603 N 5TH ST                                                                                  AVA             IL    62907‐1002
OATHER JONES             5715 ROCKSPRING RD                                                                            BALTIMORE       MD    21209‐4319
OATHER MCPHERSON         9201 CHESTERFIELD DR                                                                          SWARTZ CREEK    MI    48473‐1007
OATHER SPADE             PO BOX 252                                                                                    ALDERSON        WV    24910‐0252
                          09-50026-mg           Doc 7123-30          Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                      Address1                             Address2              Address3        Address4                 City                 State Zip
OATHER WAGERS             27073 BARRA                                                                                         NOVI                  MI 48377‐3773
OATHOUT, LYLE R           PO BOX 984                                                                                          SPRING HILL           TN 37174‐0984
OATIES, JOSIE W           1153 WILLIAMS BROTHERS ROAD                                                                         SMITHDALE             MS 39664‐9664
OATIES, JOSIE W           RR 1 BOX 128A                                                                                       SMITHDALE             MS 39664
OATIS WAGERS              1227 1ST AVE                                                                                        CINCINNATI            OH 45205‐1427
OATIS, EDNA E             107 ELMWOOD AVE                                                                                     DANVILLE               IL 61832‐6507
OATIS, ROBERT C           PO BOX 163                                                                                          CARSON                MS 39427‐0163
OATIS, TERESA A           505 EAST 5TH STREET                                                                                 DANVILLE               IL 61832‐7213
OATIS, TERESA A           505 E FIFTH ST                                                                                      DANVILLE               IL 61832
OATLEY VIGMOND            ATTN: JAMES L. VIGMOND               200‐151 FERRIS LANE                   BARRIE ONTARIO L4M 6C1
OATLEY, MARTHA J          1112 S OHIO ST                                                                                      KOKOMO               IN   46902‐1866
OATLEY, RODNEY L          3119 SHERMAN RD                                                                                     EAST TAWAS           MI   48730‐9784
OATMAN, CRAIG M           1731 HIDDEN BROOK DRIVE                                                                             GRAND PRAIRIE        TX   75050‐8333
OATMAN, EUNICE            7490 HEATHER WALK DR                                                                                WEEKEWACHEE          FL   34613‐5143
OATMAN, MABLE L           36879 BENNETT ST                                                                                    LIVONIA              MI   48152‐2795
OATMAN, ROBERT L          25200 ROCKSIDE ROAD                  APT. 421C                                                      BEDFORD HEIGHTS      OH   44146
OATMAN, RUFUS D           10 HAMPSHIRE LN                                                                                     WILLINGBORO          NJ   08046‐1706
OATMAN, THOMAS A          13506 PINEY OAKS DR                                                                                 HOUSTON              TX   77065‐3758
OATRIDGE, ROBERT E        1553 SHERIDAN AVE NE                                                                                WARREN               OH   44483‐3969
OATRIDGE, ROBERT E        1553 SHERIDAN N.E.                                                                                  WARREN               OH   44483‐3969
OATRIDGE, WILDA R         4211 W 20TH APT 102‐K                                                                               CLEVELAND            OH   44109‐8994
OATS, EZELL               6431 BARTON ST                                                                                      DETROIT              MI   48210‐1144
OATS, INC                                                      2501 MAGUIRE BLVD                                                                   MO   65201
OATSVALL, CHARLES E       35 PETUNIA CIR                                                                                      MATTESON             IL   60443‐1586
OATTS, CONNIE A           13981 BARNETT PL                                                                                    FISHERS              IN   46038
OATTS, DONALD E           1826 WELLESLEY COMMONS                                                                              INDIANAPOLIS         IN   46219‐2428
OATTS, FLORENCE M         9004 BROOK GARDEN CT APT 201                                                                        RALEIGH              NC   27615‐5498
OATTS‐LUCAS, FLORENCE F   1725 NIMROD BLVD                                                                                    LOVELAND             OH   45140‐9380
OAXACA, JOSE I            4241 RUSTIC DR                                                                                      GRAPEVINE            TX   76051
OB‐C GROUP LLC            1350 I ST NW STE 690                                                                                WASHINGTON           DC   20005‐3382
OBA MILLER                3475 E 1150 S                                                                                       AMBOY                IN   46911‐9489
OBACKA, WILLARD W         4655 JUNIPER SADDLE DR                                                                              RENO                 NV   89510‐9121
OBAD, CHARLES             4822 CHAPMAN PKWY                                                                                   HAMBURG              NY   14075‐3214
OBADIAH FITZPATRICK       1325 BISHOP RD                                                                                      GROSSE POINTE PARK   MI   48230‐1145
OBADIAH W GIBBS           21418 N 87TH DR                                                                                     PEORIA               AZ   85382
OBANION, JAMES R          412 W 500 S                                                                                         ANDERSON             IN   46013‐5408
OBAR, DONALD W            3401 CABRILLO CT                                                                                    TRACY                CA   95376
OBARA CORP                HERCULES WELDING PRODUCTS CO         11478 TIMKEN AVE                                               WARREN               MI   48089‐3862
OBARA CORP                11478 TIMKEN AVE                                                                                    WARREN               MI   48089‐3862
OBARA CORP                1346 JAMIKE AVE                                                                                     ERLANGER             KY   41018‐3114
OBARA CORP                ATTN: CORPORATE OFFICER/AUTHORIZED   1346 JAMIKE AVE                                                ERLANGER             KY   41018‐3114
                          AGENT
OBARA JR, WALTER A        71 CHESAPEAKE CT                                                                                    HANOVER              MD   21076
OBARA, CLEMENT K          17501 SE 91ST ST                                                                                    NEWALLA              OK   74857‐8190
OBARA, MARIA A            337 N ARROYO ST                                                                                     OLATHE               KS   66061‐6013
OBARD, FRANK              633 S 29TH ST                                                                                       SAGINAW              MI   48601‐6549
OBARD, MICHAEL E          509 BLUEWATER DR                                                                                    NASHVILLE            TN   37217‐4203
OBARK, DWIGHT T           105 FAIRMEADOW DR                                                                                   ROCHESTER            NY   14618‐4246
OBARS MACHINE & TOOL CO   ATTN: GREG OBARSKI                   5655 OPPORTUNITY DR                                            TOLEDO               OH   43612‐2940
OBARSKI, FRANK A          441 BOXHALL RD                                                                                      TOLEDO               OH   43612‐3405
OBARSKI, GARY F           4834 BURNHAM AVE                                                                                    TOLEDO               OH   43612‐2460
OBAT, JOHN N              1765 PONTIAC DRIVE                                                                                  EUCLID               OH   44117‐2228
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Name                               Address1                         Address2                      Address3   Address4         City               State Zip
OBAUGH CHEVROLET BUICK, INC.       ERIC OBAUGH                      2551 W MAIN ST                                            WAYNESBORO          VA 22980‐1613
OBAUGH CHEVROLET BUICK, INC.       2551 W MAIN ST                                                                             WAYNESBORO          VA 22980‐1613
OBAYA, MARY E                      235 STINER RD                                                                              SHARPS CHAPEL       TN 37866‐2808
OBBIE BROWN                        19340 SUNSET ST                                                                            DETROIT             MI 48234‐2050
OBBIE DRAPER                       2133 WINDING WAY DR                                                                        DAVISON             MI 48423‐2024
OBBIE HARRIS                       5904 DRESSELL AVE                                                                          SAINT LOUIS         MO 63120‐1408
OBBISH, SHIRLEY A                  2752 W MIRA DR                                                                             QUEEN CREEK         AZ 85142‐6747
OBBISH, SHIRLEY A                  10034 PLEASANT LAKE BLVD         APT J18                                                   PARMA               OH 44130‐7453
OBD ‐ CARB ‐ TOYOTA LITIGATION     NO ADVERSE PARTY
OBD ‐ EPA ‐ 4/93 SEMA LITIGATION   NO ADVERSE PARTY
OBDIE HAMMOND                      990 CHELSEA LN                                                                             AURORA              IL   60504‐8926
OBEAR ELMER WILLIAM (ESTATE OF)    (NO OPPOSING COUNSEL)
(645111)
OBEAR, ELMER WILLIAM
OBED
OBED GAYTAN                        2738 E JEROME AVE                                                                          MESA               AZ    85204‐7129
OBED, MARGARET                     25943 RIDGEWOOD DR                                                                         FARMINGTON HILLS   MI    48336‐1064
OBEDEEN WALKER                     3080 BAKER PARK DR SE            SOUTHEAST                                                 GRAND RAPIDS       MI    49508‐1417
OBEDIA DANIELS                     91 S SHIRLEY ST                                                                            PONTIAC            MI    48342‐2850
OBEDIAH HERNDON                    2000 GERARD PARK LN                                                                        HAZELWOOD          MO    63042‐1323
OBEDIAH WASHINGTON                 3045 N 85TH ST                                                                             KANSAS CITY        KS    66109‐1000
OBEE, DENNIS F                     1215 CRESCENT LAKE RD                                                                      WATERFORD          MI    48327‐2413
OBEIDI, JOSEPH M                   35350 OLD HOMESTEAD DR                                                                     FARMINGTON HILLS   MI    48335‐1340
OBEL CHARLES R (429556)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510
                                                                    STREET, SUITE 600
OBEL, CHARLES R                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
OBELTON, EDWARD                    1793 TULIP AVE                                                                             HAYWARD            CA    94545‐4947
OBEN, CHESTER R                    6674 AURORA DR                                                                             TROY               MI    48098‐2069
OBEN, FRANK A                      5447 SUN VALLEY DR                                                                         GRAND BLANC        MI    48439‐9161
OBEN, SHIRLEY J                    620 PARTRIDGE ST                                                                           FLINT              MI    48503‐3836
OBEN, SHIRLEY J                    620 PARTRIDGE                                                                              FLINT              MI    48503‐3836
OBENAUER, WILLIAM J                402 PICKETT LN                                                                             HERNDON            VA    20170‐5433
OBENAUF, ALAN D                    104 E MUSKEGON ST                                                                          KENT CITY          MI    49330‐9790
OBENAUF, CLAUDE F                  4632 DRIFTWOOD LN                                                                          YOUNGSTOWN         OH    44515‐4831
OBENAUF, LYMAN D                   16505 BAILEY RD                                                                            BAILEY             MI    49303‐9728
OBENAUF, RANDAL L                  2128 LYON BLVD                                                                             POLAND             OH    44514‐1565
OBENCHAIN, RONALD E                6112 BRADSHAW ST                                                                           SHAWNEE            KS    66216‐1739
OBENDORFER, MICHAEL K              5303 RIVA RIDGE DR                                                                         WESLEY CHAPEL      FL    33544‐5525
OBENOUR, JACK E                    810 DEBBY LN E                                                                             MANSFIELD          OH    44906‐1006
OBENOUR, RICHARD L                 13088 ROAD 51                                                                              ANTWERP            OH    45813‐9552
OBENOUR, STEVEN A                  5367 BLOOMINGGROVE RD                                                                      GALION             OH    44833‐9545
OBENSHAIN, VICTOR L                4820 PLANTATION SOUTH APT 1                                                                BLAIRSVILLE        GA    30512
OBER THOMAS W (352002)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510
                                                                    STREET, SUITE 600
OBER WEIS DAIRY INC                12809 PREMIER CENTER CT                                                                    PLYMOUTH           MI    48170‐3212
OBER, CHRISTOPHER J                1866 MT. OLIVE MT RD                                                                       LYNNVILLE          TN    38472
OBER, ELIZABETH A                  5874 GERMANTOWN PIKE                                                                       DAYTON             OH    45418‐5418
OBER, JEROME M                     PO BOX 1760                                                                                SPRING HILL        TN    37174‐1760
OBER, JOHN R                       2926 CARROLL AVENUE                                                                        CLEVELAND          OH    44113‐3427
OBER, JR.,ROBERT E                 5874 GERMANTOWN PIKE                                                                       DAYTON             OH    45418‐1814
OBER, KENNETH L                    15624 SW MOUNT VIEW WAY                                                                    MCMINNVILLE        OR    97128‐8568
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Name                          Address1                         Address2                      Address3   Address4            City            State Zip
OBER, LEON J                  242 LAKESHORE DR                                                                              NORWOOD          NY 13668‐3201
OBER, PHYLLIS L               2926 CARROLL AVENUE                                                                           CLEVELAND        OH 44113‐3427
OBER, SHARON A.               8149B STATE HIGHWAY 11                                                                        POTSDAM          NY 13676
OBER, THOMAS W                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                               STREET, SUITE 600
OBERA C WELLBORN              C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                    HOUSTON          TX   77007
                              BOUNDAS LLP
OBERACKER, KARL               3118 HILLCREST AVE                                                                            CLEVELAND       OH    44109‐4917
OBERACKER, WILLIAM F          P.0 BOX 38514                                                                                 OLMSTED FALLS   OH    44138
OBERAI LISA                   4 CANTERBURY ROAD                                                                             DENVILLE        NJ    07834‐9614
OBERAITIS, MICHAEL K          PO BOX 1117                      561 FRIAR TUCK                                               LAKE SHERWOOD   MO    63357‐1117
OBERBANK BRAUNAU AUSTRIA      WILLFRIED & ANITA OSSWALD        THILLSTR 22                              74336 BRACKENHEIM
                                                                                                        GERMANY
OBERC, MAUREEN S              17397 BROOKVIEW DR                                                                            LIVONIA         MI    48152‐4539
OBERC, MAUREEN SHEEN          17397 BROOKVIEW DR                                                                            LIVONIA         MI    48152‐4539
OBERCASH, DONNA H             1820 DEER RUN DR                                                                              HUMMELSTOWN     PA    17036‐7007
OBERDORF, DONALD E            4244 N JUNIPER DR                                                                             JANESVILLE      WI    53545‐8915
OBERDORF, GARY                2423 DEWYSE RD                                                                                BAY CITY        MI    48708‐9125
OBERDORF, PATRICIA M          4244 N JUNIPER DR                                                                             JANESVILLE      WI    53545‐8915
OBERDORF, SHARI‐LYN A         13351 NEAL RD                                                                                 DAVISBURG       MI    48350‐3301
OBERER, WILLIAM J             507 OVERLA BLVD                                                                               ENGLEWOOD       OH    45322‐2021
OBERG JOHN                    741 BEAVER ST                                                                                 ROCHESTER       PA    15074‐1144
OBERG, DAVID O                48 EDGERTON RD                                                                                EDGERTON        WI    53534‐9568
OBERG, DONALD P               4342 S GULF CIR                                                                               N FT MYERS      FL    33903‐5046
OBERG, GILBERT E              PO BOX 103                                                                                    GRAY SUMMIT     MO    63039‐0103
OBERG, JOHN                   741 BEAVER ST                                                                                 ROCHESTER       PA    15074‐1144
OBERG, MARGARET               604 E BOUSE DR                                                                                MIDWEST CITY    OK    73110‐7806
OBERG, SALLY L                6875 HITCHCOCK RD                                                                             WHITE LAKE      MI    48383‐2040
OBERG, SIGFRID J              29660 BONNIE DR                                                                               WARREN          MI    48093‐3549
OBERG, WARREN C               12817 SE 73RD ST                                                                              OKLAHOMA CITY   OK    73150‐7404
OBERG, WILMA J                12817 SE 73RD ST                                                                              OKLAHOMA CITY   OK    73150‐7404
OBERGEFELL, ALWINE M          880 MORNINGSIDE DR APT M213                                                                   FULLERTON       CA    92835‐3555
OBERGEFELL, CHARLES A         121 LAKELAND DR                                                                               SANDUSKY        OH    44870‐5415
OBERGEFELL, ROBERT E          2238 WOODS EDGE CT                                                                            TOLEDO          OH    43615‐2439
OBERGFELL, JOHN E             6998 OPPOSSUM DR                                                                              NINEVEH         IN    46164‐9547
OBERHAUSEN, DEBORAH A         1017 LIBERTY AVE                                                                              LINCOLN PARK    MI    48146‐3609
OBERHAUSEN, JOHN D            667 BUCKSVILLE RD                                                                             AUBURN          KY    42206‐9024
OBERHEIDE, HAROLD J           813 SUNNY ACHERS DRIVE                                                                        PRINCETON       IL    61356
OBERHELMAN, GREGORY W         8410 EDGERTON RD                                                                              DE SOTO         KS    66018‐9008
OBERHELMAN, HARVEY W          2816 N 58TH ST                                                                                KANSAS CITY     KS    66104‐2019
OBERHEU JANE                  125 ANDOVER PL                                                                                DANVILLE        VA    24541‐5201
OBERHOLTZER, DALTON           336 BROAD ST                                                                                  EAST EARL       PA    17519‐9333
OBERHOLTZER, KENNETH H        5375 SILVERSTONE DR NE                                                                        COMSTOCK PARK   MI    49321‐9609
OBERHOLTZER, LAURA B          761 SANDALWOOD DR                                                                             TROY            MI    48085‐1643
OBERHOLTZER, LAURA BETH       761 SANDALWOOD DR                                                                             TROY            MI    48085‐1643
OBERHOLTZER, RALPH O          672 EASTGATE DR                                                                               FRANKENMUTH     MI    48734‐1202
OBERHOLZER BYRON L (481935)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA    23510
                                                               STREET, SUITE 600
OBERHOLZER JR, HARRY C        358 NOVA DR                                                                                   GREENCASTLE     PA 17225‐1546
OBERHOLZER, BYRON L           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA 23510‐2212
                                                               STREET, SUITE 600
OBERIA FOSTER                 6904 PASSERES CT                                                                              CHARLOTTE       NC 28215‐8022
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Name                                Address1                       Address2              Address3         Address4         City                 State Zip
OBERKFELL, HAROLD L                 1006 OBERKFELL DR                                                                      MARYVILLE              IL 62062‐6687
OBERKIRCHER, MARK C                 1562 NW 120TH ST                                                                       CLIVE                  IA 50325‐8210
OBERLANDER, CRAIG A                 541 VALERIE LN                                                                         HAUGHTON              LA 71037‐9704
OBERLANDER, KONDA K                 7010 E 106TH ST                                                                        FISHERS               IN 46038
OBERLANDER, KSENIJA                 5225 CALLE CRISTOBAL                                                                   SANTA BARBARA         CA 93111‐2501
OBERLANDER, PAUL R                  2605 MAIN RD                                                                           E PEMBROKE            NY 14056
OBERLE HAROLD                       25816 WEXFORD AVENUE                                                                   WARREN                MI 48091‐1354
OBERLE, ALLEN M                     14061 REED RD                                                                          SWANTON               OH 43558‐9109
OBERLE, DARREL L                    7880 WHITEFORD CENTER RD                                                               OTTAWA LAKE           MI 49267‐9538
OBERLE, GENEVA E                    2577 HAVERKNOLL DR                                                                     CINCINNATI            OH 45231‐1001
OBERLE, JOAN                        5954 METEOR AVE                                                                        TOLEDO                OH 43623‐1172
OBERLE, JOAN                        5954 METEOR                                                                            TOLEDO                OH 43623
OBERLE, JOYCE A                     9222 GARRISON DR APT 310A                                                              INDIANAPOLIS          IN 46240‐4243
OBERLE, MARJORIE I                  PO BOX 340                                                                             ENGLEWOOD             OH 45322
OBERLE, MIKE                        1047 WHITECLIFF RD                                                                     THOUSAND OAKS         CA 91360‐5249
OBERLE, NORMAN G                    16 BARBARA CT                                                                          INDIANAPOLIS          IN 46222‐1414
OBERLE, RICHARD H                   665 S BISSELL RD                                                                       AURORA                OH 44202‐6818
OBERLE, ROBERT J                    1239 E 11TH ST                                                                         SALEM                 OH 44460‐1305
OBERLE, RONALD L                    1200 HOME PARK AVE                                                                     JANESVILLE            WI 53545‐4814
OBERLEE, CARL P                     69 PLUM CREEK RD                                                                       LAPEER                MI 48446‐7740
OBERLEE, EDWIN J                    6142 HINCKLEY ST                                                                       COMMERCE TOWNSHIP     MI 48382‐2556
OBERLEE, JAMES L                    20192 RENFREW RD                                                                       DETROIT               MI 48221‐1334
OBERLEE, JAMES L.                   20192 RENFREW RD                                                                       DETROIT               MI 48221‐1334
OBERLEE, LEO W                      3431 CUTLER DR                                                                         WATERFORD TOWNSHIP    MI 48329‐3226
OBERLENE MORGAN                     2327 LEDYARD ST                                                                        SAGINAW               MI 48601‐2446
OBERLIESEN, JAMES A                 47352 MEADOWBROOK DR                                                                   MACOMB                MI 48044‐2748
OBERLIESEN, RONALD L                3651 PALMER RD                                                                         LUZERNE               MI 48636‐9754
OBERLIN COLLEGE OFFICE OF STUDENT   52 W LORAIN ST                 CARNEGIE 122                                            OBERLIN               OH 44074‐1044
ACCOUNTS
OBERLIN FILTER/WAUKE                404 PILOT CT                                                                           WAUKESHA             WI   53188‐2439
OBERLIN JR, CLAUDE G                PO BOX 653                                                                             PERRY                MI   48872‐0653
OBERLIN MOTEL                       ATTN: PATRICK PATEL            11355 N SAGINAW ST                                      MT MORRIS            MI   48458‐2008
OBERLIN, ANGELA J                   2320 PRAY RD                                                                           CHARLOTTE            MI   48813‐8308
OBERLIN, BEVERLY A                  PO BOX 80951                                                                           LANSING              MI   48908‐0951
OBERLIN, DAVE L                     2320 PRAY RD                                                                           CHARLOTTE            MI   48813‐8308
OBERLIN, DAVE LEE                   2320 PRAY RD                                                                           CHARLOTTE            MI   48813‐8308
OBERLIN, DONALD L                   10940 REEDER AVE NE                                                                    ALLIANCE             OH   44601‐9738
OBERLIN, GARY S                     2502 MISSOURI AVE                                                                      FLINT                MI   48506‐3881
OBERLIN, GERALD E                   1441 TERRAWENDA DR                                                                     DEFIANCE             OH   43512‐3701
OBERLIN, GWENDOLYN                  164 S BUCKHORN TRL                                                                     FREDERICKSBURG       TX   78624‐5796
OBERLIN, JACK H                     11220 S MCCLELLAND RD                                                                  BANNISTER            MI   48807‐9719
OBERLIN, LYNNETTE K                 PO BOX 653                                                                             PERRY                MI   48872‐0653
OBERLIN, NEYSA                      P.O BOX 215                                                                            COLON                MI   49040
OBERLIN, NORMAN J                   917 DEER PARK CT                                                                       GAYLORD              MI   49735
OBERLIN, PATRICIA A                 4285 CHAPEL LN                                                                         SWARTZ CREEK         MI   48473‐1703
OBERLIN, RICHARD E                  6 MARY DR                                                                              LANSING              MI   48906‐2312
OBERLIN, ROBERT F                   145 W MAPLE ST                                                                         ELSIE                MI   48831‐9761
OBERLINK, RALPH M                   10015 W ROYAL OAK RD APT 155                                                           SUN CITY             AZ   85351‐3116
OBERLITNER, CHRIS A                 2416 FOX HILLS DR                                                                      SHELBY TWP           MI   48316‐2721
OBERLITNER, DAVID E                 312 N GROVER AVE                                                                       ALMA                 MI   48801‐2516
OBERLITNER, DAVID EUGENE            312 N GROVER AVE                                                                       ALMA                 MI   48801‐2516
OBERLITNER, FRANCIS D               109 ELBA ST. BOX 1                                                                     BANNISTER            MI   48807
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Name                          Address1                         Address2                  Address3           Address4         City             State Zip
OBERLY, MARGARET              1059 BLANCHARD DR. S.W.                                                                        WYOMING           MI 49509‐2813
OBERMANN, SHERRY L            S63W27801 POINT DR                                                                             WAUKESHA          WI 53189‐9044
OBERMARK, JOHN E              29476 WALNUT GROVE LN                                                                          WRIGHT CITY       MO 63390‐3187
OBERMARK, JOHN E              9020 WHITEHAVEN DR                                                                             SAINT LOUIS       MO 63123‐2042
OBERMAYER REBMANN MAXWELL &   1617 JOHN F KENNEDY BLVD FL 19                                                                 PHILADELPHIA      PA 19103‐1833
HIPPEL LLP
OBERMEIER, ALAN C             3922 CRANBERRY LN                                                                              SAINT LOUIS      MO   63121‐3741
OBERMEYER, JEROME L           2323 TOPSWOOD LN                                                                               SOUTH BEND       IN   46614
OBERMEYER, MARK M             2038 SPRING MEADOW CIR                                                                         SPRING HILL      TN   37174‐9273
OBERMEYER, RITA               140 EMS W17 LN                                                                                 NORTH WEBSTER    IN   46555‐9500
OBERMILLER, ARLENE            4269 MONITOR RD                                                                                BAY CITY         MI   48706‐9211
OBERMILLER, JAMES W           4283 MONITOR RD                                                                                BAY CITY         MI   48706‐9211
OBERMILLER, JAMES W           PO BOX 335                                                                                     HARTLAND         MI   48353‐0335
OBERMILLER, LAURENCE D        4445 3 MILE RD                                                                                 BAY CITY         MI   48706‐9288
OBERMILLER, SHIRLEY G         4283 MONITOR RD                                                                                BAY CITY         MI   48706‐9211
OBERMILLER, THELMA            901 NORTH BANGOR STREET                                                                        BAY CITY         MI   48706‐3907
OBERMILLER, THOMAS G          3151 CREEKWOOD CIR                                                                             BAY CITY         MI   48706‐5627
OBERMIRE, GARY                BOONE ALEXANDRA                  205 LINDA DR                                                  DAINGERFIELD     TX   75638‐2107
OBERMIYER, MICHAEL J          6099 MERWIN CHASE ROAD                                                                         BROOKFIELD       OH   44403‐9781
OBERMYER, GARY D              961 SPY GLASS HL                                                                               WATERFORD        WI   53185‐3996
OBERN POWELL                  9495 E COLE RD                                                                                 DURAND           MI   48429‐9480
OBERNEDER, ANTHONY J          7026 SANDY SPRINGS RD                                                                          MAUMEE           OH   43537‐9773
OBEROI SUPRIYA                UJWALA KUKREJA                   APT 4G                    200 RECTOR PLACE                    NEW YORK         NY   10280‐1158
OBERON PROPERTIES, L.L.C.     JEFFREY NESTER                   7566 W HOUGHTON LAKE DR                                       HOUGHTON LAKE    MI   48629‐9182
OBERPRILLER, LORETTA H        4175 LOUIS DR                                                                                  FLINT            MI   48507‐1207
OBERRIEDER, RICHARD J         4017 NE BITTERSWEET DR                                                                         LEES SUMMIT      MO   64064‐1663
OBERRY JR, JAMES F            PO BOX 89                        3041 3RD ST                                                   SIX LAKES        MI   48886‐0089
OBERRY, JASPER V              764 IVES RD                                                                                    MASON            MI   48854‐9614
OBERRY, MICHAEL D             1903 GREENWAY DR                                                                               SEBRING          FL   33870‐4714
OBERRY, TIMOTHY D             3442 ROLFE RD                                                                                  MASON            MI   48854‐9749
OBERRY, WALTER L              58268 CULPEPPER                                                                                WASHINGTON       MI   48094‐3644
OBERSCHLAKE, KENNETH A        8871 YORKSHIRE DR                                                                              WEST CHESTER     OH   45069‐3303
OBERSKI, GERALD E             1030 LOTUS DR                                                                                  ERIE             MI   48133‐9629
OBERSKI, PAUL C               20023 WASHINGTON ST                                                                            ROSEVILLE        MI   48066‐2295
OBERSKI, ROSE H               36338 CLIFFORD DR                                                                              STERLING HTS     MI   48312‐3116
OBERSON, LARRY R              11911 MAHONEY RD                                                                               SAINT CHARLES    MI   48655‐9647
OBERST, DENISE A              9129 HARTEL RD                                                                                 GRAND LEDGE      MI   48837‐9417
OBERST, DOLORIS J             1360 YANKEE VINEYARDS                                                                          CENTERVILLE      OH   45458‐3116
OBERST, MICHAEL L             1105 WILLOW CT                                                                                 TECUMSEH         MI   49286‐1656
OBERST, ROBERT D              305 MCDONALD MEADOW PKWY                                                                       BULL SHOALS      AR   72619
OBERST, TIMOTHY D             14251 HILLSIDE DR                                                                              NORTH ROYALTON   OH   44133‐4742
OBERSTADT, ALLAN L            417 142ND AVE                                                                                  HOLLAND          MI   49424‐6629
OBERSTADT, WILLIAM B          10143 W BOLIVAR DR                                                                             SUN CITY         AZ   85351‐2304
OBERT HARRISON                18690 MANSFIELD ST                                                                             DETROIT          MI   48235‐2932
OBERT VAN OVER                RR 1 BOX 227‐2                                                                                 GORE             OK   74435‐9510
OBERTEIN, CHERYL D            6745 S KINGSTON RD                                                                             CLIFFORD         MI   48727‐9516
OBERTEIN, DAVID W             2782 N 9 MILE RD                                                                               PINCONNING       MI   48650‐8985
OBERTEIN, JOHN A              2908 EVERGREEN DR                                                                              BAY CITY         MI   48706‐6315
OBERTEIN, MARGARET E          2908 EVERGREEN DR                                                                              BAY CITY         MI   48706‐6315
OBERTEIN, PAUL J              6745 S KINGSTON RD                                                                             CLIFFORD         MI   48727‐9516
OBERTING BARBARA              4833 FRANKLIN VILLAS PL                                                                        INDIANAPOLIS     IN   46237‐5024
OBERTO, WILLIAM J             1519 1/2 MCCOLLUM ST                                                                           LOS ANGELES      CA   90026‐2388
                                     09-50026-mg             Doc 7123-30    Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                Address1                          Address2                        Address3      Address4                City                 State Zip
OBERTYNIUK, JENNIE M                23032 ALLOR ST                                                                                          SAINT CLAIR SHORES    MI 48082‐2105
OBERTZ, MICHAEL E                   877 PRATT ST                                                                                            RAHWAY                NJ 07065‐1817
OBERY I I, MED C                    4652 OLIVE BRANCH RD                                                                                    GREENWOOD             IN 46143‐8603
OBERY ROBINSON                      3416 SUMMER DR                                                                                          MODESTO               CA 95355‐7329
OBESHAW RICHARD (446730)            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD            OH 44067
                                                                      PROFESSIONAL BLDG
OBESTER, CHERYL L                   3825 SPRINGWOOD CT                                                                                      AUBURN HILLS         MI 48326‐1887
OBEY, GARY L                        4337 MORAWA TRL                                                                                         HALE                 MI 48739‐9040
OBEY, RITA                          GRANDE VILLE SENIOR LIVING        555 MAIDEN LN                                                         ROCHESTER            NY 14616‐4616
                                    COMMUNITY
OBGURN, DORITRA                     3510 PIN GREE AVE.                                                                                      FLINT                MI   48503
OBGURN, GEORGE D                    3510 PINGREE AVE                                                                                        FLINT                MI   48503‐4545
OBGURN, NEINA                       79 MARY DAY                                                                                             PONTIAC              MI   48341
OBI MANASSEH O                      5306 W MORRIS HILL RD APT 202                                                                           BOISE                ID   83706‐1651
OBIDZINSKI, KENNETH J               7399 GERALDINE DR                                                                                       SWARTZ CREEK         MI   48473‐7644
OBIDZINSKI, KENNETH JOHN            7399 GERALDINE DR                                                                                       SWARTZ CREEK         MI   48473‐7644
OBIDZINSKI, ZYGMUND E               31253 CARMODY DR                                                                                        WARREN               MI   48092‐1374
OBIE AGEE                           2137 HAMMEL ST                                                                                          SAGINAW              MI   48601‐2254
OBIE BANKS                          117 BELNEL RD                                                                                           MATTAPAN             MA   02126‐1969
OBIE BLACK                          1134 W 16TH ST                                                                                          MUNCIE               IN   47302‐3079
OBIE BRIDGES                        470 PEARSALL AVE                                                                                        PONTIAC              MI   48341‐2659
OBIE EWING                          70 S SHIRLEY ST                                                                                         PONTIAC              MI   48342‐2848
OBIE G WARREN                       417 E ALMA AVE                                                                                          FLINT                MI   48505‐2111
OBIE GOFF                           9100 S 7TH AVE                                                                                          INGLEWOOD            CA   90305‐2726
OBIE HARBIN                         22800 CIVIC CENTER DR APT 338‐B                                                                         SOUTHFIELD           MI   48033‐7161
OBIE JOHNSON                        35704 GARNER STREET               UNIT #336                                                             ROMULUS              MI   48174
OBIE K NOLAND                       MOTLEY RICE LLC                   28 BRIDGESIDE BLVD              PO BOX 1792                           MT PLEASANT          SC   29465
OBIE L AGEE                         2137 HAMMEL ST                                                                                          SAGINAW              MI   48601‐2254
OBIE MCGHEE                         1756 PRINCETON DR                                                                                       DAYTON               OH   45406‐4615
OBIE MCKINNEY                       1242 E 600 S                                                                                            FRANKLIN             IN   46131‐8602
OBIE OWENS JR                       4457 LA BEAN CT                                                                                         FLINT                MI   48506‐1447
OBIE REED                           3409 WASHINGTON BLVD                                                                                    CLEVELAND HEIGHTS    OH   44118‐2542
OBIE SMITH                          15405 RIDER RD                                                                                          BURTON               OH   44021‐9704
OBIE STACKER                        PO BOX 57                                                                                               INKSTER              MI   48141‐0057
OBIE TRICE                          20301 REGENT DR                                                                                         DETROIT              MI   48205‐1226
OBIE W MCGHEE                       1756 PRINCETON DR                                                                                       DAYTON               OH   45406‐4615
OBIE WARREN                         417 E ALMA AVE                                                                                          FLINT                MI   48505‐2111
OBIE WASHINGTON JR                  2591 BALDWIN ST                                                                                         SAGINAW              MI   48601‐6712
OBIE WILSON                         9933 HOYT CIR                                                                                           RANDALLSTOWN         MD   21133‐1614
OBIE'S CHEVRON                      600 HIGHWAY 80 W                                                                                        CLINTON              MS   39056‐4168
OBIE, ALICE J                       8618 WINCHESTER AVE                                                                                     KANSAS CITY          MO   64138‐2865
OBIERIKA, CHARLES                   PO BOX 16426                                                                                            ATLANTA              GA   30321‐0426
OBIHIRO MATSUSHITA ELECTRIC WORKS   1‐2‐1 NISHI 25 JO KITA                                                          OBIHIRO HOKKAIDO 080‐
                                                                                                                    2465 JAPAN
OBIL PEREZ                          1706 UNIVERSITY DR                                                                                      COLUMBIA             TN   38401‐6412
OBINGER, ANITA LOUISE               550 SOUTH RACCOON ROAD            APT H3                                                                YOUNGSTOWN           OH   44515
OBINGER, WILLIAM R                  821 WILKINSON AVE                                                                                       YOUNGSTOWN           OH   44509‐2154
OBION COUNTY TRUSTEE                PO BOX 187                                                                                              UNION CITY           TN   38281‐0187
OBIORA, GEORGE                      6717 WATERSIDE CT                                                                                       INDIANAPOLIS         IN   46278‐1100
OBIREK JOSEPH W (477257)            KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                         CLEVELAND            OH   44114
                                                                      BOND COURT BUILDING
                                    09-50026-mg             Doc 7123-30    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                Address1                         Address2                       Address3   Address4         City             State Zip
OBIREK, JOSEPH W                    KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND         OH 44114
                                                                     BOND COURT BUILDING
OBJECTIVE INTERFACE SYSTEMS, INC.
OBLAK JR, STANLEY J                 26720 ACADEMY ST                                                                            ROSEVILLE        MI   48066‐3224
OBLAK, ANDREW                       432 LAKEVIEW HEIGHTS DR                                                                     HOWARD           OH   43028‐9565
OBLAK, EDWARD                       512 N MONROE ST                                                                             LOYAL            WI   54446‐9552
OBLAK, EDWARD R                     9353 BEECHCREST STREET                                                                      WHITE LAKE       MI   48386‐3207
OBLAK, FRANK R                      9036 UNICORN AVE                                                                            PORT RICHEY      FL   34668‐4855
OBLAK, GEORGE H                     3841 MARTHA RD                                                                              KENT             OH   44240‐6533
OBLAK, JOSEPH R                     4943 E CIRCLR DRIVE                                                                         CRESTWOOD        IL   60445
OBLENIS, JOHN P                     3631 HUBBARD WEST MIDDLESEX RD                                                              WEST MIDDLESEX   PA   16159
OBLENIS, LAWRENCE L                 12252 KING RD                                                                               THOMPSONVILLE    MI   49683‐9186
OBLETON, TOMMY L                    5802 GENE AVE                                                                               COLUMBUS         GA   31909‐3865
OBLINGER DOUGLAS A                  3674 S SALEM WARREN RD                                                                      NORTH JACKSON    OH   44451‐8713
OBLINGER, JOAN L                    5462 VIA BELLO                                                                              SAN DIEGO        CA   92111‐4518
OBLINSKY, GENE D                    2795 LYDIA ST SW                                                                            WARREN           OH   44481‐9619
OBLINSKY, RICHARD D                 2914 MALIBU DR SW                                                                           WARREN           OH   44481‐9229
OBLISK, KENNETH L                   PO BOX 14                        12000 GERMAN CHURCH RD                                     LIMAVILLE        OH   44640‐0014
OBLIX INC
OBLIX INC                           ATTN: GENERAL COUNSEL            18922 FORGE DR                                             CUPERTINO        CA 95014‐0701
OBLIX, INC
OBLIX, INC.                         ATTN: GENERAL COUNSEL            18922 FORGE DR                                             CUPERTINO        CA   95014‐0701
OBLIZAJEK, KENNETH L                4545 CLARKE DR                                                                              TROY             MI   48085‐4947
OBLOCK, TAMARA J                    18 AYRES ST                                                                                 MC DONALD        PA   15057‐4802
OBLOJ JR, VINCENT                   719 W JACKSON AVE                                                                           FLINT            MI   48504‐2850
OBLOJ, MARK A                       3135 BERKLEY ST                                                                             FLINT            MI   48504‐3205
OBLOJ, MARK ANTHONY                 3135 BERKLEY ST                                                                             FLINT            MI   48504‐3205
OBLOJ, SCOTT V                      8279 BENNETT LAKE RD                                                                        FENTON           MI   48430‐9088
OBLOJ, SCOTT VINCENT                8279 BENNETT LAKE RD                                                                        FENTON           MI   48430‐9088
OBLON, THADDEUS A                   8 CROSS ST                                                                                  CROMWELL         CT   06416‐1649
OBOCZKY, JOHN G                     9700 WILLIAMS RD                                                                            DIAMOND          OH   44412‐9782
OBOJSKI, JENNIE J                   14245 PAWNEE TRAIL                                                                          MIDDLEBURG HTS   OH   44130‐6626
OBONONOIDEM, DOMINIC A              5500 AUTUMN HILLS DR APT 10                                                                 TROTWOOD         OH   45426‐1317
OBOYLE ROBERT N (502788)            ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                   WILMINGTON       DE   19801‐1813
OBOYLE, DOREEN C                    12870 ONEIDA RD                                                                             GRAND LEDGE      MI   48837‐9494
OBOYLE, DUANE C                     12870 ONEIDA RD                                                                             GRAND LEDGE      MI   48837‐9494
OBOYLE, JED                         10950 N REID RD                                                                             ALMA             MI   48801‐9576
OBOYLE, KIM L                       4796 E TAFT RD                                                                              SAINT JOHNS      MI   48879‐9158
OBOYLE, ROBERT J                    8985 HOGAN RD                    ROUTE 1                                                    MUIR             MI   48860‐9789
OBOYLE, ROBERT N                    ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                   WILMINGTON       DE   19801‐1813
OBOYLE, TIM L                       5302 KYSER RD                                                                               LOWELL           MI   49331‐9217
OBOZA, MICHAEL J                    468 SUNNINGDALE DR                                                                          INKSTER          MI   48141‐4006
OBOZA, MICHAEL JOSEPH               468 SUNNINGDALE DR                                                                          INKSTER          MI   48141‐4006
OBR COOLING TOWERS INC              912 MILL ST                                                                                 TOLEDO           OH   43609‐2424
OBRADOR, GILBERTO S                 701 FLOUNDER DRIVE                                                                          BURLESON         TX   76028‐8149
OBRADOVIC, MANDA                    13842 ANTIGUA DR                                                                            SEMINOLE         FL   33776‐1328
OBRADOVIC, MATO                     8315 S 79TH AVE                                                                             JUSTICE          IL   60458‐2339
OBRADOVIC, SNEZANA                  44547 S CAROLINA DR              BLDG29 #24                                                 CLINTON TWP      MI   48038‐1015
OBRADOVICH JR, STEVE                103 BANE STREET SOUTHWEST                                                                   WARREN           OH   44485‐4002
OBRADOVICH, CHRISTOPHER S           2739 S DUCK CREEK RD                                                                        NORTH JACKSON    OH   44451‐9661
OBRADOVICH, YVONNE D.               593 LINCOLN AVENUE                                                                          BARBERTON        OH   44203‐2976
OBRAKTA, EDWARD J                   13447 S AVENUE O                                                                            CHICAGO          IL   60633‐1533
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Name                                  Address1                         Address2                        Address3                     Address4         City                 State Zip
OBRAY MOSLEY JR                       18010 ILENE ST                                                                                                 DETROIT               MI 48221‐2437
OBRECHT, EUGENIA                      68752 VILLA DR                                                                                                 WASHINGTON            MI 48095‐2931
OBRECHT, JOHN H                       8661 N DUTCHESS DR                                                                                             BRUCE TWP             MI 48065‐4344
OBRECHT, NORMAN J                     PO BOX 145                                                                                                     ORESTES               IN 46063‐0145
OBRECHT, RONALD L                     535 COUNTY ROAD 2302                                                                                           LOUDONVILLE           OH 44842‐9316
OBRECHT, VIRGINIA L                   11949 ELLSWORTH RD.                                                                                            NORTH JACKSON         OH 44451‐9761
OBREGON, IGNACIO C                    20104 SALISBURY ST                                                                                             SAINT CLAIR SHORES    MI 48080‐1661
OBREMSKI, CARL A                      PO BOX 506                                                                                                     WAUTOMA               WI 54982‐0506
OBREMSKI, FRANCES P                   8000 STATE ROUTE 13 NE ROUTE=1                                                                                 SOMERSET              OH 43783‐9722
OBREMSKI, JAMES F                     11225 CALYPSO DR                                                                                               ALPHARETTA            GA 30009‐7616
OBREMSKI, KAREN A                     11225 CALYPSO DR                                                                                               ALPHARETTA            GA 30009‐7616
OBRENOVICH, WILDENE                   26130 W LOOMIS RD                                                                                              WIND LAKE             WI 53185‐1460
OBRIAN, DAVID
OBRIAN, DONALD B                      4832 E 600 S                                                                                                   MONTGOMERY           IN   47558‐5446
OBRIAN, DOROTHY D                     PO BOX 13246                                                                                                   MEXICO BEACH         FL   32410‐3246
OBRIAN, ERNEST E                      206 WATER DRIVE                  PO BOX 13246                                                                  MEXICO BEACH         FL   32456
OBRIAN, JAMES J                       11242 N SARAH LN                                                                                               MOORESVILLE          IN   46158‐7067
OBRIAN, JAMES J                       2849 SPRING MEADE BOULEVARD                                                                                    COLUMBIA             TN   38401‐7284
OBRIAN, ROBERT B                      966 FULWELL DR                                                                                                 MANSFIELD            OH   44906‐1111
OBRIAN, TIMOTHY P                     2154 MORROW BRANCH RD                                                                                          LYNNVILLE            TN   38472‐8138
OBRIANT, LOUIS J                      146 MEMORIAL DR                                                                                                POTTERVILLE          MI   48876‐9543
OBRIEN & BAILS                        141 E MICHIGAN STE 602                                                                                         KALAMAZOO            MI   49007
OBRIEN & GERE ENGINEERS INC           PO BOX 8000                                                                                                    BUFFALO              NY   14267‐0002
OBRIEN & GERE ENGINEERS INC           OBRIEN & GERE CO                 5000 BRITTONFIELD PKWY                                                        EAST SYRACUSE        NY   13057
OBRIEN BEATRICE (413343)              ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                           NEW YORK             NY   10006‐1638
OBRIEN BLANDFORD, DEBORAH A           21466 OXFORD                     APT 203C                                                                      FARMINGTON HILLS     MI   48336
OBRIEN BLANDFORD, DEBORAH A           21466 OXFORD AVE APT 203C                                                                                      FARMINGTON HILLS     MI   48336‐6176
OBRIEN GREG (452992) ‐ O'BRIEN GREG   BRAYTON PURCELL                  621 SW MORRISON ST STE 950                                                    PORTLAND             OR   97205‐3824
OBRIEN JAMES                          OBRIEN, JAMES                    640 S SAN VICENTE BLVD          STE 230                                       LOS ANGELES          CA   90048‐4654
OBRIEN JAMES                          OBRIEN, JAMES                    MIKHOV LAW OFFICES OF STEVE     640 S SAN VICENTE BLVD STE                    LOS ANGELES          CA   90048‐4654
                                                                                                       230
OBRIEN JAMES K                        300 ENTERPRISE CT STE 200A                                                                                     BLOOMFIELD HILLS     MI 48302‐0378
OBRIEN JOHN J (460751)                WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                               NEW YORK             NY 10038
OBRIEN JOSEPH (492099)                BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD           OH 44067
                                                                       PROFESSIONAL BLDG
OBRIEN JR, JOHN S                     3721 SOUTH COUNTY ROAD D                                                                                       JANESVILLE           WI   53548‐8526
OBRIEN JR, RICHARD T                  302 WAVERLY PLACE CT                                                                                           CHESTERFIELD         MO   63017‐7819
OBRIEN KATHERINE F                    OBRIEN, BRIAN J                  1717 PARK AVE                                                                 SAINT LOUIS          MO   63104‐2941
OBRIEN KATHERINE F                    OBRIEN, KATHERINE F              1717 PARK AVE                                                                 SAINT LOUIS          MO   63104‐2941
OBRIEN KEITH                          OBRIEN, KEITH                    33900 W 8 MILE RD STE 149                                                     FARMINGTON HILLS     MI   48335‐5204
OBRIEN LAW FIRM                       RE: DUNCAN CHARLES (ESTATE OF)   815 GEYER AVE                                                                 SAINT LOUIS          MO   63104‐4047
OBRIEN LILLIAN                        3925 GLENVIEW DR                                                                                               INDIANAPOLIS         IN   46240‐3643
OBRIEN MICHAEL (652460)               BRAYTON PURCELL                  PO BOX 6169                                                                   NOVATO               CA   94948‐6169
OBRIEN MICHAEL L (485178)             GEORGE & SIPES                   151 N DELAWARE ST STE 1700                                                    INDIANAPOLIS         IN   46204‐2503
OBRIEN MORRIS (492100)                BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD           OH   44067
                                                                       PROFESSIONAL BLDG
OBRIEN PAT                            19240 NORTHFLEET WAY                                                                                           TARZANA              CA   91356‐5807
OBRIEN PATRICK                        2983 OLD STATE RD                                                                                              BOYNE CITY           MI   49712‐9165
OBRIEN PATRICK JR                     11815 CALI DR                                                                                                  PAINESVILLE          OH   44077‐9235
OBRIEN PAUL E (463270)                ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                    BALTIMORE            MD   21202
                                                                       CHARLES CENTER 22ND FLOOR
OBRIEN ROBERT                         APT 1004                         3706 KING STREET                                                              ENID                 OK 73703‐4950
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Name                      Address1                            Address2                        Address3   Address4         City           State Zip
OBRIEN SHANNON            OBRIEN, SHANNON                     1804 39TH SOUTH WEST 303                                    FARGO           ND 58103
OBRIEN TERRENCE M,        ILLINOIS STATE ATTORNEY GENERAL     100 WEST RANDOLPH STREET 12TH                               CHICAGO          IL 60601
                                                              FLOOR
OBRIEN, ANNA J            5307 STATE HIGHWAY 303 NE TRLR 60                                                               BREMERTON      WA   98311‐3654
OBRIEN, ANNA R            8309 MAY ST                                                                                     DALEVILLE      IN   47334‐9317
OBRIEN, ANNA R            8309 S MAY ST                                                                                   DALEVILLE      IN   47334‐9317
OBRIEN, ANTHONY E         6552 W IMLAY CITY RD                                                                            IMLAY CITY     MI   48444‐8503
OBRIEN, BEATRICE          ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                         NEW YORK       NY   10006‐1638
OBRIEN, BETTY
OBRIEN, BONNIE J          4425 JULEP ST                                                                                   JUNEAU         AK   99801‐8863
OBRIEN, BRIAN J           MEYERKORD RINEBERG & GRAHAM         1717 PARK AVE                                               SAINT LOUIS    MO   63104‐2941
OBRIEN, CARL D            29163 CRAWFORD AVE                                                                              PUNTA GORDA    FL   33982‐8553
OBRIEN, CHARLES F         2400 ORKLA DR                                                                                   MINNEAPOLIS    MN   55427‐3438
OBRIEN, CHARLES H         243 CAVE HILL RD                                                                                WINCHESTER     OH   45697‐9599
OBRIEN, CHARLES L         318 EAST HILL VALLEY DRIVE                                                                      INDIANAPOLIS   IN   46227‐2631
OBRIEN, CHARLES T         4793 WILSON RD                                                                                  LOCKPORT       NY   14094‐1631
OBRIEN, CHERYL            6429 MURDOCH AVE                                                                                SAINT LOUIS    MO   63109‐2605
OBRIEN, CHRISTOPHER J     105 ROCKRIDGE CIR                                                                               DURANGO        CO   81301
OBRIEN, CONSTANCE M       2552 GRACEWOOD RD                                                                               TOLEDO         OH   43613‐3339
OBRIEN, CONSTANCE MARIE   2552 GRACEWOOD RD                                                                               TOLEDO         OH   43613‐3339
OBRIEN, DALE F            2211 NEBRASKA AVE                                                                               SAGINAW        MI   48601‐5327
OBRIEN, DANIEL T          11420 DELMAR DR                                                                                 FENTON         MI   48430‐9018
OBRIEN, DANIEL THOMAS     11420 DELMAR DR                                                                                 FENTON         MI   48430‐9018
OBRIEN, DAVID K           HC 4 BOX 5470‐D                                                                                 TEHACHAPI      CA   93561
OBRIEN, DAVID L           PO BOX 333                          302 W MAIN ST                                               WESTPHALIA     MI   48894‐0333
OBRIEN, DAVID M           2953 E COUNTY ROAD 700 S                                                                        CLAYTON        IN   46118‐9466
OBRIEN, DAVID M
OBRIEN, DENNIS E          6118 SLEUTH CIR                                                                                 INDIANAPOLIS   IN   46221‐4542
OBRIEN, DENNIS E          4440 DUFFIELD RD                                                                                FLUSHING       MI   48433‐9710
OBRIEN, DENNIS EDWARD     4440 DUFFIELD RD                                                                                FLUSHING       MI   48433‐9710
OBRIEN, DENNIS J          5530 NEWBERRY RD                                                                                DURAND         MI   48429‐9172
OBRIEN, DENNIS P          752 RISINGHURST LN                                                                              OXFORD         PA   19363
OBRIEN, DONALD W          1527 CHESTERFIELD AVENUE                                                                        ANDERSON       IN   46012‐4459
OBRIEN, EDWARD H          125 BELOIT ST                                                                                   DELAVAN        WI   53115‐1601
OBRIEN, ELENA C           260 OLD STAGECOACH ROAD                                                                         MERIDEN        CT   06450‐6631
OBRIEN, ELIZABETH G       707 SOUTH MAIN ST                                                                               WEST MILTON    OH   45383
OBRIEN, ELLEN M           19302 SPANISH NEEDLE DR                                                                         HOUSTON        TX   77084‐4344
OBRIEN, EUGENE I          APT 2016                            13750 WEST NATIONAL AVENUE                                  NEW BERLIN     WI   53151‐4553
OBRIEN, FRANCIS           1001 STARKEY RD. LOT 739                                                                        LARGO          FL   33771‐5433
OBRIEN, FRANCIS J         157 APOLLO AVE                                                                                  FLUSHING       MI   48433‐9320
OBRIEN, GAIL L            10170 E JENKS                                                                                   CARSON CITY    MI   48811‐9720
OBRIEN, GAIL L            10170 E JENKS RD                                                                                CARSON CITY    MI   48811‐9720
OBRIEN, GARY J            751 OSTRANDER RD                                                                                EAST AURORA    NY   14052‐1201
OBRIEN, GENEVA M          113 GREENWAY RD                                                                                 FLEMINGSBURG   KY   41041‐1214
OBRIEN, GENEVA M          113 GREENWAY DR                                                                                 FLEMINGSBURG   KY   41041‐1214
OBRIEN, GERALD L          PO BOX 194                                                                                      WESTPHALIA     MI   48894‐0194
OBRIEN, GREGORY
OBRIEN, HAROLD S          5532 DUFFIELD RD                                                                                SWARTZ CREEK   MI   48473‐8604
OBRIEN, HELEN D           3721 SOUTH COUNTY ROAD D                                                                        JANESVILLE     WI   53548‐8526
OBRIEN, HELEN D           3721 S COUNTY RD D                                                                              JANESVILLE     WI   53548‐8526
OBRIEN, INEZ M            5650 FIRETHORNE DR                                                                              BAY CITY       MI   48706‐5635
OBRIEN, IRENE M           265 C ST APT 7                                                                                  BOSTON         MA   02127‐1950
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Name                   Address1                          Address2                       Address3   Address4            City            State Zip
OBRIEN, IRIS B         21708 MIMS WAY                                                                                  LUTZ             FL 33549‐8750
OBRIEN, JAMES          MIKHOV LAW OFFICES OF STEVE       425 S FAIRFAX AVE STE 308                                     LOS ANGELES      CA 90036‐3148
OBRIEN, JAMES E        PO BOX 4013                                                                                     FREMONT          CA 94538
OBRIEN, JAMES J        15048 MILITARY RD SE                                                                            TENINO           WA 98589‐9673
OBRIEN, JANET M        4095 TRIWOOD RD                                                                                 BRIDGEPORT       MI 48722‐9576
OBRIEN, JENNIFER       C/O EDELMAN KRASIN & JAYE PLLC    1 OLD COUNTRY RD STE 210                                      CARLE PLACE      NY 11514
OBRIEN, JOHN           223 WOODBRIDGE RD                                                                               CLIFTON HTS      PA 19018‐1225
OBRIEN, JOHN           1905 25TH AVE W                                                                                 BRADENTON        FL 34205‐5670
OBRIEN, JOHN J         WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                               NEW YORK         NY 10038
OBRIEN, JOHN J         964 ELLENBERGER PARKWAY WEST DR                                                                 INDIANAPOLIS     IN 46219‐4440
OBRIEN, JOHN W         22 MAPLEWOOD AVE                                                                                MARLBOROUGH      MA 01752‐2112
OBRIEN, JOSEPH P       32865 FAIRCREST ST                                                                              BEVERLY HILLS    MI 48025‐2937
OBRIEN, KATHERINE F    1701 GALLAGHER ST                                                                               CHARLESTON       MO 63301
OBRIEN, KATHERINE F    MEYERKORD RINEBERG & GRAHAM       1717 PARK AVE                                                 SAINT LOUIS      MO 63104‐2941
OBRIEN, KERRY A        1109 S MARYLIN ST                                                                               MARTINSVILLE     IN 46151‐2840
OBRIEN, LAURA R        2573 IRVING PL                                                                                  NORWOOD          OH 45212‐1701
OBRIEN, LAWRENCE R     4023 MCKINLEY AVE                                                                               ANDERSON         IN 46013‐5052
OBRIEN, LEE J          3416 JEWEL CAVE DR                                                                              LAS VEGAS        NV 89122‐4049
OBRIEN, MARGARET       11249 RICHARD DR                                                                                PARMA            OH 44130‐1342
OBRIEN, MARGARET       4576 BOSTON RD                                                                                  BRECKSVILLE      OH 44141
OBRIEN, MARGARET L     9 SNOWBIRD CT                                                                                   O'FALLON         MO 63366
OBRIEN, MARY C.        1224 WILLOW WAY                                                                                 NOBLESVILLE      IN 46062‐8534
OBRIEN, MATHEW A       3721 S COUNTY ROAD D                                                                            JANESVILLE       WI 53548‐8526
OBRIEN, MICHAEL        BRAYTON PURCELL                   PO BOX 6169                                                   NOVATO           CA 94948‐6169
OBRIEN, MICHAEL J      5490 WILSON RD                                                                                  COLUMBIAVILLE    MI 48421‐8937
OBRIEN, MICHAEL J      8132 RAINBOW RD                                                                                 LAKE TOMAHAWK    WI 54539
OBRIEN, MICHAEL L      7358 SILO MEADOWS DR                                                                            TEMPERANCE       MI 48182‐1577
OBRIEN, MICHAEL L      GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                    INDIANAPOLIS     IN 46204‐2503
OBRIEN, MICHAEL S      4348 HEDGETHORN CIR                                                                             BURTON           MI 48509‐1257
OBRIEN, MORRIS         BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                  NORTHFIELD       OH 44067
                                                         PROFESSIONAL BLDG
OBRIEN, NANCY E        3450 DOUGALL AVE                                                            WINDSOR ONTARIO
                                                                                                   CANADA N9E‐1T1
OBRIEN, NEAL           1150 ORTH RD                                                                                    SAGINAW         MI 48601‐9326
OBRIEN, NEIL J         5315 RAUBINGER RD                                                                               SWARTZ CREEK    MI 48473‐1620
OBRIEN, NEIL P         1527 CHESTERFIELD AVE                                                                           ANDERSON        IN 46012‐4459
OBRIEN, NICHOLAS
OBRIEN, PATRICK F      2313 MORRISH RD                                                                                 SWARTZ CREEK    MI   48473‐9723
OBRIEN, PATRICK F      3876 DUNFORD WAY                                                                                SANTA CLARA     CA   95051‐4260
OBRIEN, PATRICK FRED   2313 MORRISH RD                                                                                 SWARTZ CREEK    MI   48473‐9723
OBRIEN, PATRICK J      3804 BRYN MAWR DR                                                                               JANESVILLE      WI   53546‐2045
OBRIEN, PATRICK L      11103 BISMARK HWY                                                                               VERMONTVILLE    MI   49096‐9757
OBRIEN, PATRICK W      210 SOUTH ST                                                                                    DUNDEE          MI   48131‐1039
OBRIEN, PAUL E         ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                     BALTIMORE       MD   21202
                                                         CHARLES CENTER 22ND FLOOR
OBRIEN, PAUL P         6033 HOPKINS RD                                                                                 FLINT           MI   48506
OBRIEN, PAUL V         EDELMAN KRASIN & JAYE PLLC        1 OLD COUNTRY RD STE 210                                      CARLE PLACE     NY   11514‐1845
OBRIEN, PHILLIP        11 APOLLO DR                                                                                    TYNGSBORO       MA   01879‐1225
OBRIEN, PHILLIP L      5701 BRANCH RD                                                                                  FLINT           MI   48506‐1369
OBRIEN, RICHARD L      1367 EASTLAND AVE. SE                                                                           WARREN          OH   44484‐4547
OBRIEN, ROBERT J       104 SWAN DR                                                                                     PARK HILLS      MO   63601‐1951
OBRIEN, ROSA K         1424 FAIRLANE DR                                                                                ADRIAN          MI   49221‐9404
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Name                      Address1                         Address2                      Address3   Address4             City            State Zip
OBRIEN, ROSEMARY          2584 MAIN ST                                                                                   NEWFANE          NY 14108‐1021
OBRIEN, RUSSELL D         1372 LAKESHORE DR                                                                              COLUMBIAVILLE    MI 48421‐9772
OBRIEN, SHANNON           1804 39TH ST S APT 303                                                                         FARGO            ND 58103‐7403
OBRIEN, SHIRLEY           1367 EASTLAND AVE. SE                                                                          WARREN           OH 44484‐4547
OBRIEN, STEVEN            CADEAUX TAGLIERI & NOTARIUS PC   SUITE 800, 1100 CONNECTICUT                                   WASHINGTON       DC 20036
                                                           AVENUE, NW
OBRIEN, THOMAS            BARTON & WILLIAMS                3007 MAGNOLIA ST                                              PASCAGOULA      MS   39567‐4126
OBRIEN, THOMAS            1410 BRADSHAW DR                                                                               COLUMBIA        TN   38401‐9225
OBRIEN, THOMAS G          12503 W WASHINGTON AVE                                                                         MOUNT MORRIS    MI   48458‐1529
OBRIEN, THOMAS J          10536 GARRISON RD                                                                              DURAND          MI   48429‐1814
OBRIEN, TIMOTHY J         52689 WESTCREEK DR 111                                                                         MACOMB          MI   48042
OBRIEN, TIMOTHY S         1966 MEECH RD                                                                                  WILLIAMSTON     MI   48895‐9742
OBRIEN, TOMMY L           3496 LIDO                                                                                      HIGHLAND        MI   48356‐1737
OBRIEN, VIRGINIA M        G7202 N CENTER RD                                                                              MOUNT MORRIS    MI   48458
OBRIEN, WANDA F           1410 BRADSHAW DR                                                                               COLUMBIA        TN   38401‐9225
OBRIEN, WILLIAM C         304 SUMMERCHASE LN                                                                             WOODSTOCK       GA   30189
OBRIEN, WILLIAM G         36 WAGNER RD                                                                                   WEST MILTON     OH   45383‐1612
OBRIEN, WILLIAM S         113 GREENWAY ROAD                                                                              FLEMINGSBURG    KY   41041‐1214
OBRIEN, WILLIAM S         113 GREENWAY DR                                                                                FLEMINGSBURG    KY   41041‐1214
OBRIEN‐GILMAN, NANCY      3051 UNDERPASS RD                                                                              SUTTON          VT   05867‐9688
OBRIEN‐JOHNSON, ALICE L   1444 N CHESTER RD                                                                              CHARLOTTE       MI   48813‐8866
OBRIGKEIT, MATTHEW R      974 GRACE STREET                                                                               NORTHVILLE      MI   48167‐1138
OBRIN JEFFERSON           6301 VICTOR ST APT 42                                                                          BAKERSFIELD     CA   93308‐2975
OBRINGER, JOHN A          5233 GLENMINA DR                                                                               DAYTON          OH   45440‐2209
OBRIOT, KEVIN R           562 ECHO CT                                                                                    SALINE          MI   48176‐1269
OBRIST ENGINEERING GMBH   RHEINSTR 26‐27                                                            LUSTENAU AT 6890
                                                                                                    AUSTRALIA
OBRYAN BROWN & TONER      STARKS BUILDING                  455 S 4TH AVE STE 1500                                        LOUISVILLE      KY   40202
OBRYAN CHARLES            10344 E HIGHWAY 190 #A                                                                         KEMPNER         TX   76539
OBRYAN JR, HUBERT B       1105 REDLEAF LN                                                                                YPSILANTI       MI   48198‐3152
OBRYAN, BOBBY J           1622 STANFORD DR                                                                               AVON            IN   46123‐6857
OBRYAN, CHARLES D         313 REMY AVE                                                                                   MANSFIELD       OH   44902‐7746
OBRYAN, EVERETT E         1609 MARTIN ST                                                                                 FLATWOODS       KY   41139‐1261
OBRYAN, EVON              12146 E CARPENTER RD                                                                           DAVISON         MI   48423‐9361
OBRYAN, JOHN E            619 BOND AVE                                                                                   SWANSEA         IL   62226‐4513
OBRYAN, KATHERINE S       2076 LYNN DR                                                                                   KOKOMO          IN   46902‐6505
OBRYAN, RONALD D          2076 LYNN DR                                                                                   KOKOMO          IN   46902‐6505
OBRYAN, WILLARD T         1603 GARFIELD ST                                                                               LEBANON         IN   46052‐1416
OBRYANT, BENNIE C         1370 LORENZO DR SW                                                                             ATLANTA         GA   30310‐3948
OBRYANT, DOROTHY S        31 METRO BLVD                                                                                  ANDERSON        IN   46016‐5829
OBRYANT, ELLISON          640 GILLCREST DR                                                                               ALBANY          IN   47320‐1367
OBRYANT, FLOSSIE E        1280 SURREY RD                                                                                 TROY            OH   45373‐1237
OBRYANT, JESSIE           1750 W LAMBERT RD SPC 78                                                                       LA HABRA        CA   90631‐1726
OBRYANT, JUNE M           59 EDGEWATER AVE                                                                               SHREWSBURY      MA   01545‐5725
OBRYANT, KATHLEEN         837 HATTIE DR                                                                                  ANDERSON        IN   46013
OBRYANT, LARRY N          8649 N 400 W                                                                                   FRANKTON        IN   46044‐9388
OBRYANT, LESSIE M         3664 E COUNTY ROAD 570                                                                         LUXORA          AR   72358‐5008
OBRYANT, MOSS             1750 W LAMBERT RD SPC 78                                                                       LA HABRA        CA   90631‐1726
OBRYANT, NANCY I          2818 DELAWARE                                                                                  ANDERSON        IN   46016
OBRYANT, PHILLIS M        4010 MOUNT VERNON DR                                                                           WOODSTOCK       GA   30189‐5257
OBRYANT, PHYLLIS M        4010 MOUNT VERNON DR                                                                           WOODSTOCK       GA   30189‐5257
OBRYANT, REBA C           3214 IBERIS RD                                                                                 ABILENE         TX   79606‐6644
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Name                                Address1                        Address2             Address3         Address4                City               State Zip
OBRYANT, TOMMIE L                   1222 IRVING WAY                                                                               ANDERSON            IN 46016‐3044
OBRYCKI, DOLORES                    5500 JEANNE MARIE DR                                                                          WHITE LAKE          MI 48383‐4107
OBRZUT, FLORENCE T                  9530 MARIGOLD LANE                                                                            MUNSTER             IN 46321‐3724
OBRZUT, LORRAINE A                  20360 21 MILE RD                                                                              MACOMB              MI 48044‐2805
OBSNIUK, GLENN M                    31141 WESTFIELD ST                                                                            LIVONIA             MI 48150‐5911
OBST, JOHN E                        114 BRECKENRIDGE                                                                              GEORGETOWN          TX 78633‐4998
OBST, LINDORA C                     353 CLUB HOUSE DR                                                                             BLOOMINGDALE         IL 60108‐3024
OBSTARCZYK, ALICE P                 937 PRESCOTT LANE                                                                             FT MYERS BEACH      FL 33931
OBSTARCZYK, ALICE P                 937 PRESCOTT ST                                                                               FORT MYERS BEACH    FL 33931‐2215
OBSTARCZYK, RICHARD E               97 COLUMBUS ST                                                                                CHEEKTOWAGA         NY 14227‐1248
OBUCH, JOHN E                       9013 BUTTERNUT RD                                                                             WHITMORE LAKE       MI 48189‐9519
OBUCH, JOSEPH A                     99 VICTORIA DR                                                                                CLARK               NJ 07066‐2020
OBUCH, LARRY J                      33 E ARIZONA                                                                                  BELLEVILLE          MI 48111‐9025
OBUCH, ROBERT D                     745 WALTHAM DR                                                                                MOUNT MORRIS        MI 48458‐8715
OBUCHOWSKI, CASIMIR E               241 SAINT LOUIS ST                                                                            FERNDALE            MI 48220‐2434
OBUCHOWSKI, STEPHEN F               743 CENTURY DR                                                                                TROY                MI 48083‐1318
OBUGENE, EDWARD                     7002 SNOW RD                                                                                  PARMA               OH 44129‐3247
OBUKOWICZ, THOMAS G                 3531 W OLD OAKS DR                                                                            GREENFIELD          WI 53221‐3011
OBURN BAKER                         406 FRONT ST                                                                                  VANCEBURG           KY 41179‐1019
OBX LOGISTICS                       9900 HARRISON RD                                                                              ROMULUS             MI 48174
OBY SIMMONS                         412 CHERYL ANN DR                                                                             WENTZVILLE          MO 63385‐1307
OBYDEE MC KNIGHT                    3043 LUDLOW RD                                                                                SHAKER HTS          OH 44120‐2812
OBYRNE, JAMES M                     7366 ROCHESTER RD                                                                             LOCKPORT            NY 14094‐1628
OC BROOKS JR.                       622 N CORRINE BLVD                                                                            CANTON              MI 48187‐3263
OC OERLIKON CORPORATION AG PFAFFIKO

OC OERLIKON CORPORATION AG PFAFFIKO 2511 INDUSTRIAL TECHNOLOGY DR   STE 114                                                       ELGIN               IL   60124

OC OERLIKON CORPORATION AG PFAFFIKO 463 LAKESHORE PKWY                                                                            ROCK HILL           SC   29730‐4205

OC OERLIKON CORPORATION AG PFAFFIKO CHURERSTRASSE 120                                                     PFAFFIKON SCHWYZ 8808
                                                                                                          SWITZERLAND
OC OERLIKON CORPORATION AG PFAFFIKO LHOTA 261                                                             CERVENY KOSTELEC CZ
                                                                                                          54941 CZECH (REP)
OC OERLIKON CORPORATION AG PFAFFIKO VIA CUMIANA 14 FRAZ             CASCINE VICA                          RIVOLI IT 10098 ITALY

OC OERLIKON CORPORATION AG PFAFFIKO ATTN: JEFF HERRIMAN             CHURERSTRASSE 120                     PFAFFIKON SCHWYZ 8808   PFAFFIKON SCHWYZ         8808
                                                                                                          SWITZERLAND
OC OLDS                             119 CAMBRIDGE DRIVE APT #115                                                                  DAVISON             MI 48423
OC TANNER RECOGNITION COMPANY
OC TANNER/SALT LAKE                 1930 S STATE ST                                                                               SALT LAKE CITY     UT    84115‐2311
OCA SHIRLEY JR                      PO BOX 503                                                                                    GRINDSTONE         PA    15442‐0503
OCAL BOONE                          1427 CHESANING RD                                                                             MONTROSE           MI    48457‐9323
OCALLAGHAN, PATRICK J               5084 POTAWATAMI TRL                                                                           FLUSHING           MI    48433‐1030
OCALLAGHAN, WILLIAM G               2153 OAK GROVE DR                                                                             ZELLWOOD           FL    32798‐9601
OCAMPO EDDIE                        98 W MOLTKE ST                                                                                DALY CITY          CA    94014‐2232
OCAMPO JR, RUBEN                    410 SWEET ST                                                                                  SAGINAW            MI    48602‐1661
OCAMPO, DAVID F                     1053 ARUBA CIR                                                                                CHARLESTON         SC    29412
OCAMPO, DULCE
OCAMPO, EDUARDO A                   78 CHARLEVOIX ST                                                                              CLAWSON            MI 48017‐2032
OCAMPO, ELIZABETH M                 779 CORWIN CT                                                                                 PONTIAC            MI 48340‐2415
OCAMPO, ERIKA
                                      09-50026-mg            Doc 7123-30     Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                  Address1                         Address2                        Address3   Address4         City               State Zip
OCAMPO, FERNANDO                      171 WHITMAN AVE # 2                                                                          WEST HARTFORD       CT 06107
OCAMPO, KATARI
OCAMPO, LEO
OCAMPO, LEONIDES
OCAMPO, MARY                          1743 W MICHIGAN AVE                                                                          SAGINAW            MI 48602‐1136
OCAMPO, MIGUEL
OCAMPO, NAELI
OCAMPO, NANCY
OCAMPO, OFELIA
OCAMPO, ROGELIO
OCAMPO, SERGIO
OCAMPO, SILVIA                        POHL MICHAEL A LAW OFFICES OF    1717 SAINT JAMES PL STE 500                                 HOUSTON            TX   77056‐3474
OCAMPO, SILVIA                        RON SIMON ESQUIRE                2929 ALLEN PKWY FL 42                                       HOUSTON            TX   77019‐7101
OCAMPO, VICTOR A                      9733 FERN CANYON AVE                                                                         LAS VEGAS          NV   89117‐0226
OCANAS ROBERTO MEZQUITI (ESTATE OF)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
(643086)                                                               PROFESSIONAL BLDG
OCANAS, DAVID                         3514 E CANTON RD                                                                             EDINBURG           TX 78542‐9159
OCANAS, ROBERTO MEZQUITI              BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD         OH 44067
                                                                       PROFESSIONAL BLDG
OCANAS, ROSAN K                       919 ALTA VISTA DR                                                                            ALAMO              TX   78516‐9558
OCASEK, DAVID M                       513 HARDING ST                                                                               MEDINA             OH   44256‐1641
OCASIO NEREIDA                        313 NORTHSIDE DR                                                                             MILTON             WI   53563‐1387
OCASIO, FRANK                         7693 E PARKSIDE DR                                                                           BOARDMAN           OH   44512‐5309
OCASIO, GERMAIN                       625 KEARNY AVE APT 5                                                                         KEARNY             NJ   07032‐2808
OCASIO, IRIS L                        556 SWAN ST                                                                                  BUFFALO            NY   14204‐1934
OCASIO, IRIS L                        556 SWAN STREET                                                                              BUFFALO            NY   14204‐1934
OCASIO, JUAN                          2216 KENILWORTH AVE                                                                          BERWYN             IL   60402‐2211
OCASIO, MARIO                         15033 MILL CREEK DR                                                                          STERLING HEIGHTS   MI   48312‐5782
OCASIO, NELSON                        1127 WALNUT HILL CT                                                                          ABINGDON           MD   21009‐4308
OCASIO, NEREIDA                       313 NORTHSIDE DR                                                                             MILTON             WI   53563‐1387
OCAT INCORPORATION                    801 10TH STREET FLOOR 5                                                                      MODESTO            CA   95354
OCCASIONS CATERERS INC                5458 3RD ST NE                                                                               WASHINGTON         DC   20011‐6316
OCCHI, EDISON C                       239 CHRISTIAN LN                                                                             BERLIN             CT   06037‐1419
OCCHI, HENRIETTA S                    239 CHRISTIAN LN                                                                             BERLIN             CT   06037‐1419
OCCHINO, DENNIS J                     41 ERMANN DR                                                                                 KENMORE            NY   14217‐1141
OCCHINO, MARGARET                     2699 WEHRLE DR                   HARRIS HILL NURSING HOME                                    WILLIAMSVILLE      NY   14221‐7332
OCCHIOGROSSI, THOMAS                  81 STONE AVENUE                                                                              OSSINING           NY   10562‐3715
OCCHIOGROSSI, THOMAS P                81 STONE AVE                                                                                 OSSINING           NY   10562‐3715
OCCHIOLINI VINCENT (457100)           HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST , 17TH FLOOR                                 PHILADELPHIA       PA   19103

OCCHIOLINI, VINCENT                   HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST, 17TH FLOOR                                  PHILADELPHIA       PA 19103

OCCHIPINTI, GIORGIO                   24 HAMILTON PL                                                                               TARRYTOWN          NY   10591‐3404
OCCHIPINTI, JOSEPHINE                 11 DAYTON RD                                                                                 SOUTH YARMOUTH     MA   02664
OCCHIPINTO, FRANK J                   6864 N OLIVE ST                                                                              GLADSTONE          MO   64118‐2893
OCCHIUTO, ADA                         1602 RILEY RIDGE                                                                             LANSING            MI   48917
OCCHIUTO, MARY                        6580 AUTUMN COVE DR                                                                          ORLANDO            FL   32822
OCCIDENTAL CHEMICAL CORPORATION ,     LISA COTTEN                      5005 LBJ FREEWAY                                            DALLAS             TX   75244
ITS SUBSIDIARIES AND AFFILIATES

OCCIDENTAL PETROLEUM (CALEDONIA)      BAWDEN INTERNATIONAL LIMITED
LIMITED
                                    09-50026-mg             Doc 7123-30       Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
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Name                               Address1                             Address2                      Address3               Address4         City               State Zip
OCCIDENTAL PETROLEUM (CALEDONIA)   BECHTEL GREAT BRITAIN LIMITED
LIMITED
OCCIDENTAL PETROLEUM (CALEDONIA)   C J B OFFSHORE LIMITED
LIMITED
OCCIDENTAL PETROLEUM (CALEDONIA)   INGERSOLL RAND COMPANY LIMITED
LIMITED
OCCIDENTAL PETROLEUM (CALEDONIA)   LAWRENCE ALLISON & ASSOCIATES CORP
LIMITED
OCCIDENTAL PETROLEUM (CALEDONIA)   LLOYDS REGISTER OF SHIPPING
LIMITED
OCCIDENTAL PETROLEUM (CALEDONIA)   MCDERMOTT ENGINEERING LONDON
LIMITED                            LIMITED
OCCIDENTAL PETROLEUM (CALEDONIA)   MCDERMOTT HUDSON ENGINEERING
LIMITED                            LIMITED
OCCIDENTAL PETROLEUM (CALEDONIA)   OCCIDENTAL PETROLEUM (CALEDONIA)
LIMITED                            LIMIT
OCCIDENTAL PETROLEUM (CALEDONIA)
LIMITED
OCCIDENTAL PETROLEUM (CALEDONIA)   TEXACO NORTH SEA UK COMPANY
LIMITED
OCCIDENTAL PETROLEUM CORPORATION   PO BOX 809050                                                                                              DALLAS              TX   75380‐9050

OCCIDENTAL PRIVATE CARRIAGE         155 WOODWARD AVE W                                                                                        TONAWANDA          NY    14150‐7878
OCCIE CREDIT                        5100 WOODCLIFF DR                                                                                         FLINT              MI    48504‐1257
OCCIE LONG                          210 MEADOW CREEK CHURCH RD                                                                                LOCUST             NC    28097‐9508
OCCMEDS BILLING SVCS                30798 FELLA                                                                                               SAN FRANCISCO      CA    94160‐0001
OCCSPECIALISTS CORP                 PO BOX 3700                                                                                               RANCHO CUCAMONGA   CA    91729‐3700
OCCUHEALTH @ DRMC                   1200 RALSTON AVE                                                                                          DEFIANCE           OH    43512‐1396
OCCUHEALTH CONCEPTS                 PO BOX 22748                                                                                              BEACHWOOD          OH    44122‐0748
OCCUPATION THERAPY STUDENT
OCCUPATIONAL HEALTH                 PO BOX 5106                                                                                               SOUTHFIELD         MI    48086‐5106
OCCUPATIONAL HEALTH                 6133 ROCKSIDE RD STE 202            CONCENTRA MEDICAL CENTERS                                             INDEPENDENCE       OH    44131‐2242
OCCUPATIONAL HEALTH & SAFETY C      2851 W AURORA LN                                                                                          MONROVIA           IN    46157‐9577
OCCUPATIONAL HEALTH & SAFETY CONSUL 2851 W AURORA LN                                                                                          MONROVIA           IN    46157‐9577

OCCUPATIONAL HEALTH & SAFETY       2851 W AURORA LN                                                                                           MONROVIA            IN   46157‐9577
CONSULTING INC
OCCUPATIONAL HEALTH CENTERS        PO BOX 9005                                                                                                ADDISON             TX   75001‐9005
OCCUPATIONAL HEALTH CENTERS OF     SOUTHWEST PA                         DBA CONCENTRA MEDICAL CENTERS PO BOX 169 ADD UPDTE                    LOMBARD             IL   60148
                                                                                                      11/13/06
OCCUPATIONAL HEALTH CENTERS OF     PO BOX 3700                          CONCENTRA MEDICAL CENTERS                                             RANCHO CUCAMONGA    CA 91729‐3700
CALIFORNIA
OCCUPATIONAL HEALTH CENTERS OF     PO BOX 5106                          CONCENTRA MEDICAL CENTERS                                             SOUTHFIELD          MI 48086‐5106
MICHIGAN PC
OCCUPATIONAL HEALTH CENTERS OF     PO BOX 97587                                                                                               DALLAS              TX   75397‐0001
SOUTHWEST PA
OCCUPATIONAL HEALTH CENTERS        DBA CONCENTRA MEDICAL CENTERS        PO BOX 3700                                                           RANCHO CUCAMONGA    CA 91729
OFCALIFORNIA A MEDICAL CORP
OCCUPATIONAL HEALTH CENTERS        DBA CONCENTRA MEDICAL CENTERS        302 QUADRUM DR                                                        OKLAHOMA CITY       OK 73108
OFOKLAHOMA LLC
OCCUPATIONAL HEALTH CTR OF SOU     DBA CONCENTRA MEDICAL CENTER         83 PROGRESS PKWY                                                      MARYLAND HEIGHTS   MO 63043‐3701
OCCUPATIONAL HEALTH CTRS OF GA     DBA CONCENTRA MEDICAL CENTERS        PO BOX 82730                                                          HAPEVILLE          GA 30354‐0730
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Name                                  Address1                               Address2                      Address3   Address4                City             State Zip
OCCUPATIONAL HEALTH CTRS OF MI        DBA CONCENTRA MEDICAL CENTERS          30800 TELEGRAPH RD STE 3900                                      BINGHAM FARMS     MI 48025‐4583
OCCUPATIONAL HEALTH CTRS OF MI        DBA CONCENTRA MEDICAL CENTERS          PO BOX 5106                                                      SOUTHFIELD        MI 48086‐5106
OCCUPATIONAL HEALTHOF THE             PO BOX 9010                                                                                             BROOMFIELD        CO 80021‐9010
SOUTHWEST, PA
OCCUPATIONAL LICENSING                P.O. BOX 932342 L224                                                                                    SACRAMENTO       CA 94232‐3420
OCCUPATIONAL LICENSING                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. P.O. BOX 932342 L224                                             SACRAMENTO       CA 94232‐3420

OCCUPATIONAL MARKETING INC            19424 PARK ROW STE 110                                                                                  HOUSTON          TX    77084‐4683
OCCUPATIONAL MARKETING INC            1235 NORTHLOOP WEST STE 217                                                                             HOUSTON          TX    77008
OCCUPATIONAL MED CON                  PO BOX 380                                                                                              LONG LAKE        MN    55356‐0380
OCCUPATIONAL MEDICIN                  9411 N OAK TRKWY STE LL1                                                                                KANSAS CITY      MO    64155
OCCUPATIONAL MEDICINE ASSOCIATES OF   MEDPRO GROUP                           2201 BENDEN DRIVE                                                WOOSTER          OH    44691
WAYNE COU
OCCUPATIONAL MEDICINE CONSULTA        PO BOX 380                             6515 BARRIE RD STE 150                                           LONG LAKE        MN 55356‐0380
OCCUPATIONAL MEDICINE CONSULTANTS     PO BOX 380                             6515 BARRIE RD STE 150                                           LONG LAKE        MN 55356‐0380

OCCUPATIONAL MEDICINE CONSULTANTS     6515 BARRIE RD                                                                                          EDINA            MN 55435‐2305
LTD
OCCUPATIONAL PHYSICIAN SERVICE        8033 E VIA BONITA                                                                                       SCOTTSDALE       AZ 85258‐2837
OCCUPATIONAL SAFETY & HEALTH          MADISON AREA OSHA OFFICE               4802 E BROADWAY                                                  MADISON          WI 53716‐4141
OCCUPATIONAL SAFETY & HEALTH          3300 VICKERY ROAD                                                                                       NORTH SYRACUSE   NY 13212
ADMINISTRATION
OCE                                   5450 N CUMBERLAND AVE                                                                                   CHICAGO           IL   60656‐1469
OCE CANADA INC                        4711 YONGE ST STE 1100                                                          NORTH YORK ON M2N 6K8
                                                                                                                      CANADA
OCE FINANCIAL SERVICES INC            ATTN: LEGAL DEPT                       5600 BROKEN SOUND BLVD                                           BOCA RATON        FL   33487
OCE FINANCIAL SERVICES INC            ATTN LEGAL DEPT                        5600 BROKEN SOUND BLVD                                           BOCA RATON        FL   33487
OCE FINANCIAL SERVICES, INC.          ATTN: CORPORATE OFFICER/AUTHORIZED     5450 N CUMBERLAND AVE                                            CHICAGO           IL   60656‐1469
                                      AGENT
OCE FINANCIAL SERVICES, INC.          5450 NORTH CUMBERLAND AVE                                                                               CHICAGO           IL   60654
OCE IMAG/DENVER                       7555 E HAMPDEN AVE STE 200                                                                              DENVER           CO    80231‐4833
OCE IMAGISTICS INC                    1346 RANKIN DR                                                                                          TROY             MI    48083‐2826
OCE IMAGISTICS INC                    100 OAKVIEW DR                                                                                          TRUMBULL         CT    06611‐4724
OCE NORTH AMERICA INC                 5450 N CUMBERLAND AVE                                                                                   CHICAGO          IL    60656‐1469
OCE NORTH AMERICA INC                 ATTN LEE ANN PETERICK                  5600 BROKEN SOUND BLVD                                           BOCA RATON       FL    33487
OCE NORTH AMERICA, INC.               5450 N CUMBERLAND AVE                                                                                   CHICAGO          IL    60656
OCE NORTH AMERICA, INC.               JACK NEEDHAM                           5450 N CUMBERLAND AVE                                            CHICAGO          IL    60656‐1469
OCE NORTH AMERICA, INC.               ATTN: CORPORATE OFFICER/AUTHORIZED     5450 N CUMBERLAND AVE                                            CHICAGO          IL    60656‐1469
                                      AGENT
OCE NV                                1346 RANKIN DR                                                                                          TROY             MI 48083‐2826
OCE NV                                5450 N CUMBERLAND AVE                                                                                   CHICAGO          IL 60656‐1469
OCE‐CANADA INCORPORATED               4711 YONGE ST.                         SUITE 1100                               TORONTO ON M2N 6K8
                                                                                                                      CANADA
OCE‐USA INC                           12255 DELTA ST                                                                                          TAYLOR           MI 48180‐4082
OCE‐USA INC.                          5450 N CUMBERLAND AVENUE                                                                                CHICAGO          IL 60656
OCE‐USA INC.                          ATTN: CORPORATE OFFICER/AUTHORIZED     5450 N CUMBERLAND AVE                                            CHICAGO          IL 60656‐1469
                                      AGENT
OCEAN 7 ENTERPRISES                   3530 S JONES BLVD                                                                                       LAS VEGAS        NV    89103‐1115
OCEAN AIR AUTO #2                     3642 HOLLAND RD                        STE 103                                                          VIRGINIA BEACH   VA    23452‐3000
OCEAN AIR AUTO #2                     376 N WITCHDUCK RD                                                                                      VIRGINIA BEACH   VA    23462
OCEAN AIR AUTO REPAIR                 3642 HOLLAND RD STE 103                                                                                 VIRGINIA BEACH   VA    23452‐3000
OCEAN AIR TRANSPORTATION INC          135 AMERICAN LEGION HWY                                                                                 REVERE           MA    02151‐2405
                                      09-50026-mg             Doc 7123-30       Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                  Address1                            Address2                     Address3   Address4             City                 State Zip
OCEAN CADILLAC INC                    1000 KANE CONCOURSE                                                                              BAY HARBOR ISLANDS    FL 33154‐2107
OCEAN CADILLAC INC.                   1000 KANE CONCOURSE                                                                              BAY HARBOR ISLANDS    FL 33154‐2107
OCEAN CADILLAC INC.                   C. GREGORY FEIL                     1000 KANE CONCOURSE                                          BAY HARBOR ISLANDS    FL 33154‐2107
OCEAN CITY CHEVROLET                  2366 OCEAN HWY W                                                                                 SHALLOTTE             NC 28459
OCEAN COUNTY COLLEGE                  PO BOX 2001                                                                                      TOMS RIVER            NJ 08754‐2001
OCEAN COUNTY PROBATION DEPT           ACCT OF LEONARD A KUMINSKI          119 HOOPER AVE CN 2011                                       TOMS RIVER            NJ 08753
OCEAN CREST CHEVROLET, CADILLAC, BU   855 ALTERNATE HWY 101                                                                            WARRENTON             OR

OCEAN CREST CHEVROLET, CADILLAC,      855 ALTERNATE HWY 101                                                                            WARRENTON            OR 97146
BUICK, OLDSMOBILE, INC.
OCEAN CREST CHEVROLET, CADILLAC,      CHRISTOPHER HAYWARD                 855 ALTERNATE HWY 101                                        WARRENTON            OR 97146
BUICK, OLDSMOBILE, INC.
OCEAN DRIVE                           404 WASHINGTON AVE STE 650                                                                       MIAMI BEACH          FL   33139‐6606
OCEAN DRIVE MEDIA GROUP               JOSEF VANN                          404 WASHINGTON AVE STE 650                                   MIAMI BEACH          FL   33139‐6606
OCEAN MOTORS, INC.                    DONALD TORESCO                      386 ROUTE 37 E                                               TOMS RIVER           NJ   08753‐5538
OCEAN OPTICS INC                      PO BOX 850001                                                                                    ORLANDO              FL   32885‐0001
OCEAN OPTICS INC                      PO BOX 2249                                                                                      DUNEDIN              FL   34697‐2249
OCEAN STATE REHAB                     2138 MENDON RD STE 103B                                                                          CUMBERLAND           RI   02864‐3832
OCEAN WORLD LINES                     8350 NW 52ND TER STE 304                                                                         DORAL                FL   33166‐7708
OCEANA COUNTY KIDS AND COPS           3793 W POLK RD                                                                                   HART                 MI   49420‐8132
OCEANEERING INTERNATIONAL             530 FIFTH AVENUE                                                                                 NEW YORK             NY   10036
OCEANEERING SPACE SYSTEMS             16665 SPACE CENTER BLVD, HOUSTO                                                                  HOUSTON              TX   77058
OCEANEX INC                           630 RENE‐LEVESQUE BLVD W STE 2550                                           MONTREAL CANADA PQ
                                      UPDTE PER AFC 03/07/0                                                       H3B 1S6 CANADA
OCEANWAY HOLDINGS SA                  C/O ULTRAMONT PROPERTIES USA INC    115 SE 2ND ST 2ND FLOOR                                      MIAMI                FL   33131
OCEDEK, ANTONIA A                     905 HUNTINGTON DR.                                                                               OWOSSO               MI   48867‐1907
OCEDEK, MARTIN J                      G5143 WOODHAVEN CT                                                                               FLINT                MI   48532
OCELEE ADKINS                         FOSTER & SEAR, LLP                  817 GREENVIEW DRIVE                                          GRAND PRAIRIE        TX   75050
OCELL WHITE JR                        142 SANTA CLARA AVE APT 1                                                                        DAYTON               OH   45405
OCELLO'S AUTOMOTIVE CENTER            8151 NW 88TH AVE                                                                                 TAMARAC              FL   33321‐1543
OCELNIK, PAUL G                       3086 SIMSBURY DR                                                                                 PINCKNEY             MI   48169‐8454
OCELNIK, SHERRY A                     1178 E SOUTH BLVD                                                                                TROY                 MI   48085‐1064
OCENASEK, ANTHONY P                   9080 LENNON RD                                                                                   SWARTZ CREEK         MI   48473‐9703
OCENASEK, DAVID N                     8050 HILLCREST RD                                                                                ROSCOMMON            MI   48653‐9519
OCENASEK, FRANK J                     2296 MORRISH ROAD                                                                                SWARTZ CREEK         MI   48473‐9755
OCENASEK, LYNN E                      5320 DUFFIELD RD                                                                                 FLUSHING             MI   48433‐9765
OCENASEK, MARK C                      336 LINCOLN AVE                                                                                  MOUNT MORRIS         MI   48458
OCENASEK, MARY                        PO BOX 67                                                                                        FOREMAN              AR   71836‐0067
OCENASEK, MARY M                      41 HERON BAY DR                                                                                  FENTON               MI   48430‐8752
OCENASEK, MARY M                      11645 HERON BAY DR                                                                               FENTON               MI   48430‐8612
OCENASEK, STANLEY T                   750 SCHARRER DR                                                                                  FLUSHING             MI   48433‐1313
OCENASEK, STEVEN A                    5320 DUFFIELD RD                                                                                 FLUSHING             MI   48433‐9765
OCESTOLO, STEVEN P                    169 GENESEE ST                                                                                   LOCKPORT             NY   14094‐4425
OCEY WOODS                            7705 STAR AVE                                                                                    CLEVELAND            OH   44103‐2839
OCF SUBSID 1                          520 MADISON AVE 18TH FLOOR                                                                       NEW YORK             NY   10022
OCHA, DOROTHA R                       19373 CRYSTAL LAKE DR                                                                            NORTHVILLE           MI   48167‐2516
OCHAB ANTHONY                         44129 MARLSON AVE                                                                                NOVI                 MI   48375‐1634
OCHAB, ANTHONY F                      44129 MARLSON AVE                                                                                NOVI                 MI   48375‐1634
OCHAB, JOHN B                         703 BOSCO DR                                                                                     LAKE ORION           MI   48362‐2101
OCHAB, STEVE                          8259 ROSSI ROAD                                                                                  BRENTWOOD            TN   37027‐8368
OCHABA, BETTY                         70 RIVIERA DRIVE                                                                                 ROGERS               AR   72756‐8204
OCHABA, BETTY                         70 RIVIERA DR                                                                                    ROGERS               AR   72756‐8204
                                      09-50026-mg              Doc 7123-30       Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                                  Address1                             Address2                    Address3             Address4         City               State Zip
OCHADLEUS, MARGUERITE L               37957 ROSEDALE DR                                                                                      CLINTON TOWNSHIP    MI 48036‐3900
OCHAL JR, JOSEPH V                    23 ROSEMONT AVE                                                                                        BRISTOL             CT 06010‐7217
OCHALA, ROBERT J                      588 PINE ST                                                                                            ALLIGATOR POINT     FL 32346‐5176
OCHALEK JR, WILLIAM J                 345 CHANDLER ST                                                                                        ROMEO               MI 48065‐4603
OCHALEK, CHESTER C                    304 STATE ROUTE 94 E                                                                                   SEDALIA             KY 42079‐9129
OCHALEK, E S                          18280 BIRWOOD AVE                                                                                      BEVERLY HILLS       MI 48025‐3137
OCHALEK, E SUSAN                      18280 BIRWOOD AVE                                                                                      BEVERLY HILLS       MI 48025‐3137
OCHALEK, IRENE L                      9805 S ISTACHACTA RD                                                                                   FLORAL CITY         FL 34436
OCHALEK, PHYLLIS A                    304 STATE ROUTE 94 E                                                                                   SEDALIA             KY 42079‐9129
OCHALEK, TERRY L                      34005 GLOVER ST                                                                                        WAYNE               MI 48184‐2905
OCHALEK, TERRY LEE                    34005 GLOVER ST                                                                                        WAYNE               MI 48184‐2905
OCHALEK, THOMAS I                     1644 SE GAINSWOOD CT                                                                                   PORT ST LUCIE       FL 34952‐4103
OCHALEK, WILLIAM J                    5567 CLEARLAKE DR                                                                                      HICKORY             NC 28601‐9485
OCHANEY, GUL S                        7318 WINTHROP WAY UNIT 4                                                                               DOWNERS GROVE        IL 60516
OCHANI KISHORE                        1431 PROVINCIAL DRIVE                                                                                  TROY                MI 48084‐1575
OCHAR, DOLORES M                      1110 BEECH ST                                                                                          WILMINGTON          DE 19805‐4323
OCHAR, DOLORES M                      1110 BEECH STREET                                                                                      WILMINGTON          DE 19805‐4323
OCHAZKA ESTATE OF MICHAEL PR          1804 S HAWTHORNE PARK DR                                                                               JANESVILLE          WI 53545‐2066
OCHENATLI MANUEL                      15053 BURROWS DR                                                                                       HOLLY               MI 48442‐1136
OCHENKOWSKI, GENEVIEVE S              26235 TALLMAN                                                                                          WARREN              MI 48089‐1064
OCHENKOWSKI, GENEVIEVE S              26235 TALLMAN AVE                                                                                      WARREN              MI 48089‐1064
OCHENKOWSKI, WALTER                   786 W OXHILL DR                                                                                        WHITE LAKE          MI 48386‐2351
OCHENSKI, BRUCE L                     758 WILLOWSPRINGS BLVD                                                                                 FRANKLIN            TN 37064‐4717
OCHILTREE COUNTY APPRAISAL DISTRICT   825 S MAIN ST STE 100                                                                                  PERRYTON            TX 79070‐3558

OCHLAN, VASIL                         211 MIDWOOD WAY                                                                                        COLONIA            NJ   07067‐3118
OCHLECH, CHARLES W                    108 RODEO CIR                                                                                          BALTIMORE          MD   21220‐2141
OCHMAN, RUTH B                        3302 CILLY AVENUE                                                                                      SPRING HILL        FL   34609‐7979
OCHMANEK, FRANK R                     1603 WILDWOOD RD                                                                                       TOLEDO             OH   43614‐4026
OCHMANN, JOHN C                       SPC 42                               8301 MISSION GORGE ROAD                                           SANTEE             CA   92071‐3577
OCHMANSKI JERRY & STEPHANIE           6751 DEERHURST DR                                                                                      WESTLAND           MI   48185‐6976
OCHMANSKI, JEROME S                   6751 DEERHURST DR                                                                                      WESTLAND           MI   48185‐6976
OCHMANSKI, NELLIE                     8501 ROBINDALE AVE                                                                                     DEARBORN HTS       MI   48127‐1275
OCHOA ARMANDO                         OCHOA, ARMANDO                       5068 W PLANO PKWY STE 300                                         PLANO              TX   75093‐4409
OCHOA ARMANDO                         OCHOA, DALILA                        5068 W PLANO PKWY STE 300                                         PLANO              TX   75093‐4409
OCHOA BRAVO, FRANCISCO                SAPETTO LIONEL CIRO LAW OFFICES OF   11001 VALLEY MALL STE 302                                         EL MONTE           CA   91731‐2620

OCHOA JR, ALFREDO                     6832 MIDDLEPOINTE ST                                                                                   DEARBORN           MI   48126‐1947
OCHOA JR, FRANK                       935 S HOLMES ST                                                                                        LANSING            MI   48912‐1942
OCHOA MARIA                           OCHOA, MARIA                         9047 FLOWER ST                                                    BELLFLOWER         CA   90706‐5605
OCHOA MARIA                           OCHOA, JOSE DE JESUS                 FATONE TIMOTHY F            9047 FLOWER STREET                    BELLFLOWER         CA   90706
OCHOA MARIA GABRIELA                  CHAVEZ, HECTOR ALFONSO               11100 VALLEY BLVD STE 104                                         EL MONTE           CA   91731‐2533
OCHOA MARIA GABRIELA                  GONZALEZ, LUIS ALBERTO               11100 VALLEY BLVD STE 104                                         EL MONTE           CA   91731‐2533
OCHOA MARIA GABRIELA                  GONZALEZ, MIGUEL ANGEL               11100 VALLEY BLVD STE 104                                         EL MONTE           CA   91731‐2533
OCHOA MARIA GABRIELA                  OCHOA BRAVO, FRANCISCO               11100 VALLEY BLVD STE 104                                         EL MONTE           CA   91731‐2533
OCHOA MARIA GABRIELA                  OCHOA, RAMONA CHAVEZ                 11100 VALLEY BLVD STE 104                                         EL MONTE           CA   91731‐2533
OCHOA MARY JADE                       FRIAS, BEATRIZ                       1010 2ND AVE STE 1750                                             SAN DIEGO          CA   92101‐4969
OCHOA MARY JADE                       OCHOA, ABLE                          1010 2ND AVE STE 1750                                             SAN DIEGO          CA   92101‐4969
OCHOA MARY JADE                       OCHOA, JUAN                          1010 2ND AVE STE 1750                                             SAN DIEGO          CA   92101‐4969
OCHOA MARY JADE                       OCHOA, MARY JADE                     1010 2ND AVE STE 1750                                             SAN DIEGO          CA   92101‐4969
OCHOA MARY JADE                       OCHOA, RAUL                          1010 2ND AVE STE 1750                                             SAN DIEGO          CA   92101‐4969
OCHOA MARY JADE                       SOTELO, EMMA OCHOA                   1010 2ND AVE STE 1750                                             SAN DIEGO          CA   92101‐4969
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Name                  Address1                            Address2                      Address3   Address4               City             State Zip
OCHOA NORMA B         CHAVEZ, FRANCISCO OCHOA             27951 SMYTH DRIVE SUITE 101                                     VALENCIA          CA 91355
OCHOA NORMA B         FRANCO, MARICELA VELEZ              27951 SMYTH DRIVE SUITE 101                                     VALENCIA          CA 91355
OCHOA PEDRO NINO      DE LA LUZ REYES, MARIA              15 N NORTHWEST HWY                                              PARK RIDGE         IL 60068‐3339
OCHOA PEDRO NINO      DEL SOCORRO PUENTES, MARIA          15 N NORTHWEST HWY                                              PARK RIDGE         IL 60068‐3339
OCHOA PEDRO NINO      GUAJARDO, MARIA DEL SOCORRO ORTIZ   15 N NORTHWEST HWY                                              PARK RIDGE         IL 60068‐3339

OCHOA PEDRO NINO      HERRERA, GABRIELA NINO              15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA PEDRO NINO      MARQUEZ, MARIA ESTELA               15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA PEDRO NINO      NINO, MATILDE                       15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA PEDRO NINO      NINO ORTIZ, ANGELICA MARIA          15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA PEDRO NINO      NINO ORTIZ, ROSA ELENA              15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA PEDRO NINO      OCHOA, JULIAN NINO                  15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA PEDRO NINO      OCHOA, PEDRO NINO                   900 FROST BANK PLAZA 802 N.                                     CORPUS CHRISTI    TX   78470
                                                          CARANCAHUA
OCHOA PEDRO NINO      ORTIZ, EFREN NINO                   15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA PEDRO NINO      ORTIZ, ERIBERTO NINO                15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA PEDRO NINO      ORTIZ, MARTIN NINO                  15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA PEDRO NINO      ORTIZ, PEDRO NINO                   15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA PEDRO NINO      REGIS, FERNANDO ALVARADO            900 FROST BANK PLAZA 802 N.                                     CORPUS CHRISTI    TX   78470
                                                          CARANCAHUA
OCHOA, ABLE           TAMEZ DANIEL R LAW OFFICES OF       1010 2ND AVE STE 1750                                           SAN DIEGO        CA    92101‐4969
OCHOA, AMELIA         897 S OAKGLEN AVE                                                                                   NIPOMO           CA    93444‐9009
OCHOA, ANATH G        5443 STANFORD CT                                                                                    WARREN           MI    48091‐3839
OCHOA, ANTOINETTE M   4150 MILDRED ST                                                                                     WAYNE            MI    48184‐2202
OCHOA, ANTOINETTE M   4150 MILDRED                                                                                        WAYNE            MI    48184‐2202
OCHOA, AURELIA        223 W COLUMBIA AVE                                                                                  PONTIAC          MI    48340
OCHOA, DANIEL J       6745 TRANSPARENT AVE                                                                                CLARKSTON        MI    48346‐1653
OCHOA, DIANA
OCHOA, DIEGO V        1327 E THACKERY AVE                                                                                 WEST COVINA      CA    91790‐4345
OCHOA, ELLEN          11051 MATTHEWS HWY                                                                                  CLINTON          MI    49236‐9757
OCHOA, ESEQUIET       PO BOX 431094                                                                                       PONTIAC          MI    48343‐1094
OCHOA, EVELYN G       4114 VILLAGER DR                                                                                    LAKE ORION       MI    48359‐1886
OCHOA, FRANCISCO M    1817 W 33RD ST                                                                                      CHICAGO          IL    60608‐6801
OCHOA, GEORGE V       2481 OAKRIDGE DR                                                                                    FLINT            MI    48507‐6213
OCHOA, GILBERT        14210 GANDESA RD                                                                                    LA MIRADA        CA    90638‐3845
OCHOA, GLORIA         4388 GILBERT ST                                                                                     DETROIT          MI    48210‐2427
OCHOA, INOCENCIO S    3304 KERRIA AVE                                                                                     MCALLEN          TX    78501‐3331
OCHOA, JAVIER         3630 OLYMPIC BLVD W                                                                                 UNIVERSITY PL    WA    98466‐1410
OCHOA, JEFFREY P      138 SPRINGHILL DR                                                                                   WHITE LAKE       MI    48386‐1990
OCHOA, JESSIE         3609 N ARIZONA ST                                                                                   KINGMAN          AZ    86409‐0749
OCHOA, JOE M          MANUEL M DIEQUEZ #120               COL PALMITA CD. TUXPAN                   JALISCO MEXICO
OCHOA, JOHN B         16800 COVELLO ST                                                                                    VAN NUYS         CA    91406‐2713
OCHOA, JOHN E         1102 HAVENBROOK DR                                                                                  ARLINGTON        TX    76001‐7844
OCHOA, JOHN V         1102 HAVENBROOK DR                                                                                  ARLINGTON        TX    76001‐7844
OCHOA, JOHN VICTOR    1102 HAVENBROOK DR                                                                                  ARLINGTON        TX    76001‐7844
OCHOA, JUAN           TAMEZ DANIEL R LAW OFFICES OF       1010 2ND AVE STE 1750                                           SAN DIEGO        CA    92101‐4969
OCHOA, JULIAN
OCHOA, JULIAN NINO    BELLAS & WACHOWSKI                  15 N NORTHWEST HWY                                              PARK RIDGE        IL   60068‐3339
OCHOA, LARRY J        514 E SUNNYBROOK DR                                                                                 ROYAL OAK         MI   48073‐2676
OCHOA, LUCIO R        1200 W WINTON AVE SPC 47                                                                            HAYWARD           CA   94545‐1411
OCHOA, LUIS           45755 HANFORD RD                                                                                    CANTON            MI   48187‐4780
OCHOA, LUIS R         2830 N THOMAS RD                                                                                    SAGINAW           MI   48609‐9313
                                    09-50026-mg               Doc 7123-30      Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                Address1                             Address2                        Address3   Address4         City               State Zip
OCHOA, MARIA                        6405 S HARLEM AVE                                                                                CHICAGO              IL 60638‐4615
OCHOA, MARIA                        6405 S HARLEM                                                                                    CHICAGO              IL 60638‐4615
OCHOA, MARIA                        3500 MCKINNEY RD TRLR 21                                                                         BAYTOWN             TX 77521‐4751
OCHOA, MARIA C                      1817 W 33RD ST                                                                                   CHICAGO              IL 60608‐6801
OCHOA, MARIA GABRIELA
OCHOA, MARIO                        6405 S HARLEM AVE                                                                                CHICAGO             IL   60638‐4615
OCHOA, MARY
OCHOA, MARY JADE                    DANIEL TAMEZ                         1010 2ND AVE STE 1750                                       SAN DIEGO          CA 92101‐4969
OCHOA, NORMA
OCHOA, NORMA B
OCHOA, OMAR A                       APT 103                              3111 TOM GREEN STREET                                       AUSTIN              TX   78705‐3060
OCHOA, PEDRO
OCHOA, PEDRO NINO                   L. MATTHEW DOTIN                     900 FROST BANK PLAZA 802 N.                                 CORPUS CHRISTI      TX   78470
                                                                         CARANCAHUA
OCHOA, RAMONA
OCHOA, RAMONA CHAVEZ                SAPETTO LIONEL CIRO LAW OFFICES OF   11001 VALLEY MALL STE 302                                   EL MONTE            CA 91731‐2620

OCHOA, RAMONA CHAVEZ                LAW OFFICES OF LIONEL CIRO SAPETTO   11001 VALLEY MALL STE 302                                   EL MONTE            CA 91731‐2620

OCHOA, RAUL                         TAMEZ DANIEL R LAW OFFICES OF        1010 2ND AVE STE 1750                                       SAN DIEGO          CA    92101‐4969
OCHOA, RAUL G                       4383 HATCHERY RD                                                                                 WATERFORD          MI    48329‐3628
OCHOA, ROBERT                       31040 GERALDINE ST                                                                               WESTLAND           MI    48185
OCHOA, ROBERT J                     PO BOX 834                                                                                       LAKE ORION         MI    48361‐0834
OCHOA, ROSA                         PO BOX 608                                                                                       SAN JOSE           CA    95106‐0608
OCHOA, ROSA                         1668 MIAMI DR                                                                                    SAN JOSE           CA    95122
OCHOA, ROY R                        5020 ENGLISH VILLAGE DR              VILLAGES OF BRENTWOOD                                       NASHVILLE          TN    37211‐6262
OCHOA, SALVADOR                     6405 S HARLEM AVE                                                                                CHICAGO            IL    60638‐4615
OCHOA, SOCORRO ADRIANA
OCHOA, WILSON H                     67 LIBRARY ST                                                                                    REVERE             MA    02151
OCHODNICKY, ELLA                    4550 DICKERSON AVENUE                                                                            WATERFORD          MI    48328‐2813
OCHODNICKY, JAMES F                 601 S NORTON ST APT C25                                                                          CORUNNA            MI    48817‐1241
OCHODNICKY, JAMES FRANKLIN          601 S NORTON ST APT C25                                                                          CORUNNA            MI    48817‐1241
OCHODNICKY, MARSHA L                14107 LANDINGS WAY                                                                               FENTON             MI    48430‐1315
OCHODNICKY, THOMAS A                1301 ALLENDALE AVE                                                                               OWOSSO             MI    48867‐3817
OCHODNICKY, WILLIAM R               14107 LANDINGS WAY                                                                               FENTON             MI    48430‐1315
OCHOTECO, MERCEDES G                PO BOX 104                                                                                       CATANO             PR    00963‐0104
OCHOVSKY, SHIRLEY A                 315 HICKORY AVENUE                                                                               ROMEOVILLE         IL    60446‐1629
OCHOVSKY, VINCENT
OCHS DEBORAH A                      2633 RAMBLING WAY                                                                                BLOOMFIELD HILLS   MI 48302‐1041
OCHS DONALD (ESTATE OF) (489172)    BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
OCHS EDWARD D (497521)              BARON & BUDD                         PLAZA SOUTH TWO ‐ SUITE 200 ‐                               CLEVELAND          OH 44130
                                                                         7261 ENGLE ROAD
OCHS RICHARD (ESTATE OF) (635139)   HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                                   ANTIOCH             CA 94509‐2323

OCHS ROBERTO (415319)               WEITZ & LUXENBERG                    180 MAIDEN LANE                                             NEW YORK           NY    10038
OCHS TYSON                          BUCKLE, DEBRA JO                     4717 GRAND AVE STE 820                                      KANSAS CITY        MO    64112‐2258
OCHS TYSON                          OCHS, DAVID JOHN                     4717 GRAND AVE STE 820                                      KANSAS CITY        MO    64112‐2258
OCHS, BONNIE                        2555 S 650 E                                                                                     MONTGOMERY         IN    47558
OCHS, BRENT A                       4387 SOUTH DARRELL DRIVE                                                                         BLOOMINGTON        IN    47403‐9306
OCHS, CHRISTINE                     6892 EDWARDS RD                                                                                  BELLEVILLE         MI    48111‐1136
OCHS, DAVID                         2141 HOLLAND AVE APT 4G                                                                          BRONX              NY    10462‐1716
                        09-50026-mg             Doc 7123-30    Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                    Address1                         Address2                        Address3                  Address4         City               State Zip
OCHS, DAVID JOHN        MONSEES MILLER MAYER PRESLEY &   4717 GRAND AVE STE 820                                                     KANSAS CITY         MO 64112‐2258
                        AMICK
OCHS, DOROTHY T         26 KETTERING RD                                                                                             NORWOOD            MA 02062‐1603
OCHS, EDWARD D          BARON & BUDD                     PLAZA SOUTH TWO ‐ SUITE 200 ‐                                              CLEVELAND          OH 44130
                                                         7261 ENGLE ROAD
OCHS, FRANK H           400 FOREST ST                                                                                               WESTLAND           MI    48186‐4510
OCHS, GARY L            106 EDGEWOOD DR                                                                                             BEDFORD            IN    47421‐3977
OCHS, GREGORY J         4015 BALD MOUNTAIN RD                                                                                       AUBURN HILLS       MI    48326‐1844
OCHS, HELEN J           12459 NEFF RD                                                                                               CLIO               MI    48420‐1822
OCHS, HERBERT H         20450 NAVES DR                                                                                              CLINTON TWP        MI    48038‐6422
OCHS, JOHN E            2040 W JAGGER RD                                                                                            LUDINGTON          MI    49431‐9000
OCHS, JOHN L            2555 S 650 E                                                                                                MONTGOMERY         IN    47558‐5568
OCHS, JUDITH P          828 ALDON ST SW                                                                                             WYOMING            MI    49509‐1920
OCHS, LAVERN A          401 MUSGRAVE RD                                                                                             COLFAX             WA    99111‐9601
OCHS, ROBERT C.
OCHS, ROBERTO           WEITZ & LUXENBERG                180 MAIDEN LANE                                                            NEW YORK           NY    10038
OCHS, STEVEN E          32293 WOODFIELD DR                                                                                          AVON LAKE          OH    44012‐2557
OCHS, TYSON             506 KINGS RDG                                                                                               LIBERTY            MO    64068‐1113
OCHSENBINE, DOROTHY     6055 TOD AVE SW                                                                                             WARREN             OH    44481‐9768
OCHSENBINE, KAREN L     1631 RUSTIC RUN RD SW                                                                                       WARREN             OH    44481‐9756
OCHSENBINE, LARRY A     40 RUSSELL AVE                                                                                              NILES              OH    44446‐3724
OCHSNER, DAVID W        21544 DREXEL ST                                                                                             CLINTON TWP        MI    48036‐2503
OCHSNER, DAVID WESLEY   21544 DREXEL ST                                                                                             CLINTON TWP        MI    48036‐2503
OCHSNER, WILFRIED       3620 GALLOWAY CT APT 2602                                                                                   ROCHESTER HLS      MI    48309‐2790
OCHSS, GEORGE           46190 SNOWBIRD DR                                                                                           MACOMB             MI    48044‐4706
OCHSTEIN SAM            OCHSTEIN, JENNIFER               120 WEST MADISON STREET 10TH                                               CHICAGO            IL    60602
                                                         FLOOR
OCHSTEIN SAM            OCHSTEIN, SAM                    120 WEST MADISON STREET 10TH                                               CHICAGO             IL   60602
                                                         FLOOR
OCHSTEIN SAM            OCHSTEIN, JENNIFER               KROHN & MOSS ‐ IN               120 WEST MADISON STREET                    CHICAGO             IL   60602
                                                                                         10TH FLOOR
OCHSTEIN SAM            OCHSTEIN, SAM                    KROHN & MOSS ‐ IN               120 WEST MADISON STREET                    CHICAGO             IL   60602
                                                                                         10TH FLOOR
OCHSTEIN, JENNIFER      KROHN & MOSS ‐ IN                120 WEST MADISON STREET 10TH                                               CHICAGO             IL   60602
                                                         FLOOR
OCHSTEIN, SAM           KROHN & MOSS ‐ IN                120 WEST MADISON STREET 10TH                                               CHICAGO             IL   60602
                                                         FLOOR
OCHTINSKY, ERNEST J     PO BOX 557                                                                                                  WARREN             MI    48090
OCHTINSKY, JULIUS V     1053 S ADAMS RD                                                                                             ROCHESTER HLS      MI    48309‐2802
OCHTINSKY, MARK J       52853 D W SEATON DR                                                                                         CHESTERFIELD       MI    48047‐4518
OCHTINSKY, WILLIAM E    16532 CONCORD DR                                                                                            CLINTON TWP        MI    48035‐1124
OCHTYUN, IDA M          MANOR OF AUTUMN HILL             2567 NILES VIENNA RD.           APT. 207                                   NILES              OH    44446
OCHTYUN, RICHARD G      1505 WOODHILL CIR NE                                                                                        WARREN             OH    44484‐3932
OCHUN O OJUMU           PO BOX 261                                                                                                  BUFFALO            NY    14225‐0261
OCHUN OJUMU             PO BOX 261                                                                                                  CHEEKTOWAGA        NY    14225‐0261
OCIA JOHNSON            PO BOX 310473                                                                                               FLINT              MI    48531‐0473
OCIE AVERY              74 COLUMBIA AVE                  ATTN: MELISSA AVERY (POA)                                                  NEWARK             NJ    07106‐2102
OCIE BARD               78679 PALM TREE AVE                                                                                         PALM DESERT        CA    92211‐1851
OCIE BOCH               9272 TUSCARORA DR                                                                                           CLARKSTON          MI    48348‐3151
OCIE BRUNSON            1155 ASHOVER DR                                                                                             BLOOMFIELD HILLS   MI    48304‐1103
OCIE CONRAD             7906 E 118TH ST                                                                                             KANSAS CITY        MO    64134‐4047
OCIE DUGAN              8320 HWY 1187 WEST                                                                                          BENBROOK           TX    76126
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Name                      Address1                           Address2                        Address3   Address4         City           State Zip
OCIE F HENDERSON          13355 N BRAY RD                                                                                CLIO            MI 48420‐9108
OCIE HENDERSON            13355 N BRAY RD                                                                                CLIO            MI 48420‐9108
OCIE HILL                 4700 KATHYLEE CT                                                                               DAYTON          OH 45416‐1629
OCIE JOHNSON              7013 DARYLL DR                                                                                 FLINT           MI 48505‐1952
OCIE JOHNSON              175 RIVERBANK LN                                                                               PASO ROBLES     CA 93446
OCIE KING                 1200 E SMITH ST                                                                                BAY CITY        MI 48706‐4034
OCIE L BURTON             C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                   HOUSTON         TX 77007
                          BOUNDAS, LLP
OCIE L HILL               4700 KATHYLEE CT                                                                               DAYTON         OH   45416‐1629
OCIE LEWIS                G5420 CLUBOK DRIVE                                                                             FLINT          MI   48505
OCIE LINDSEY              2055 CHADWICK DR                                                                               CUMMING        GA   30028‐3791
OCIE M BRUNSON            1155 ASHOVER DR                                                                                BLOOMFIELD     MI   48304‐1103
OCIE M PINCKARD           13208 CHARLOTTE ANN LN                                                                         HASLET         TX   76052‐3254
OCIE MIDDLEBROOK          436 EVERETT DR                                                                                 LANSING        MI   48915‐1106
OCIE MILLER               8650 S OCEAN DR APT 306                                                                        JENSEN BEACH   FL   34957‐2152
OCIE MORRIS               112 W MCCLELLAN ST                                                                             FLINT          MI   48505‐4073
OCIE NICHOLES             6 HAWN GAP RD                                                                                  BARBOURVILLE   KY   40906‐7529
OCIE P NICHOLES           6 HAWN GAP RD                                                                                  BARBOURVILLE   KY   40906‐7529
OCIE PHILLIPS             9629 PINEHURST ST                                                                              DETROIT        MI   48204‐4653
OCIE PINCKARD             13208 CHARLOTTE ANN LN                                                                         HASLET         TX   76052‐3254
OCIE ROBBINS              PO BOX 1695                                                                                    NEW TAZEWELL   TN   37824‐1695
OCIE SMITH                PO BOX 1081                                                                                    JACKSON        GA   30233‐0023
OCIE STEWARD              8585 AMERICAN ST                                                                               DETROIT        MI   48204
OCIE TELLIS               3127 W 12TH ST                                                                                 ANDERSON       IN   46011‐2476
OCIE TRAYLOR              APT 1701                           2600 WHISPER MEADOW LANE                                    ARLINGTON      TX   76006‐3328
OCIE W BRYANT JR          C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                   HOUSTON        TX   77007
                          BOUNDAS LLP
OCIE YARBROUGH            PO BOX 13                                                                                      DAYTON         OH   45406‐0013
OCIEPKA, CHRISTOPHE R     5132 GREENDALE DR                                                                              TROY           MI   48085‐3474
OCILKA, FLORENCE A        319 COWAN DR                                                                                   ELIZABETH      PA   15037‐2229
OCKAJIK GEORGE (493069)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD     OH   44067
                                                             PROFESSIONAL BLDG
OCKENFELS, ANDREA L       2292 YOUNGSTOWN KINGSVILLE RD NE                                                               VIENNA         OH   44473‐9709
OCKENFELS, ANN H          2258 YOUNGSTOWN KINGSVILLE RD NE                                                               VIENNA         OH   44473‐9709
OCKER, KEITH E            10474 BEERS RD                                                                                 SWARTZ CREEK   MI   48473
OCKER, LE ROY M           4014 JOSLYN RD                                                                                 ORION          MI   48359‐1631
OCKERMAN JR, FOREST R     6424 OAKHURST PL                                                                               DAYTON         OH   45414‐2866
OCKERMAN JR, THOMAS R     2601 COPAS RD                                                                                  OWOSSO         MI   48867‐9043
OCKERMAN, CAROLYN M       1243 CARLSON DR                                                                                BURTON         MI   48509‐2320
OCKERMAN, CAROLYN M.      1243 CARLSON DR                                                                                BURTON         MI   48509‐2320
OCKERMAN, DALE D          8205 BARDEN RD                                                                                 DAVISON        MI   48423‐2417
OCKERMAN, DOUGLAS J       9443 COUNTRY CLUB LN                                                                           DAVISON        MI   48423‐8367
OCKERMAN, DOUGLAS JAMES   9443 COUNTRY CLUB LN                                                                           DAVISON        MI   48423‐8367
OCKERMAN, KATIE M         PO BOX 853                                                                                     MOUNT MORRIS   MI   48458‐0853
OCKERMAN, KENNETH P       29382 MEADOW LN                                                                                GIBRALTAR      MI   48173‐1262
OCKERMAN, PHILIP G        2398 STOCKBRIDGE ST                                                                            BURTON         MI   48509‐1150
OCKERMAN, PHILLIP D       PO BOX 7382                                                                                    HILO           HI   96720‐8944
OCKERMAN, THOMAS R        119 N. WEST ST. BOX 22                                                                         HENDERSON      MI   48841
OCKERMAN, WILLIAM J       1021 EAST BOYCE AVENUE                                                                         FORT WORTH     TX   76115‐2709
OCKERT, WILMA B           200 LAKESHORE CIR                                                                              OXFORD         MI   48371‐6303
OCKLETREE, JAMES D        6134 MARILYN RD                                                                                INDIANAPOLIS   IN   46226‐4941
OCKOMON, KATHY L
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Name                                  Address1                        Address2                        Address3   Address4                 City            State Zip
OCKOMON, MARY H                       1015 MONTICELLO DR              MONTECELLO HOUSE                                                    ANDERSON         IN 46011‐1223
OCKOMON, RICHARD F                    PO BOX 293                                                                                          PENDLETON        IN 46064‐0293
OCKULY, MARGARET C                    525 BAYRIDGE BLVD                                                                                   WILLOWICK        OH 44095‐3853
OCKULY, RAY J                         4016 48TH AVE S                                                                                     ST PETERSBURG    FL 33711‐4606
OCKWOOD, MARK J                       2565 S 64TH ST                                                                                      MILWAUKEE        WI 53219‐2630
OCM TEST LAB/ANAHEIM                  3883 E EAGLE DR                                                                                     ANAHEIM          CA 92807‐1722
OCMAND, CYNTHIA
OCMAND, RONALD                        PENDLEY PATRICK W LAW OFFICE    PO BOX 71                                                           PLAQUEMINE      LA   70765‐0071
OCMAND, RONALD                        199 E SAINT FRANCIS ST                                                                              BRUSLY          LA   70719‐2544
OCMAR LTD                             18508 PEACH TREE CT                                                                                 MINNETONKA      MN   55345‐6090
OCMAR LTD                             13020 MAYWOOD LN                                                                                    EDEN PRAIRIE    MN   55343‐8793
OCON, JOSEPH R                        4319 ADOBE DR                                                                                       PALMDALE        CA   93552‐3079
OCONEE COUNTY FLEET                                                   3070 RAYS CHURCH ROAD                                                               GA   30677
OCONEE COUNTY TREASURER               PO BOX 429                                                                                          WALHALLA        SC   29691‐0429
OCONNEL, CHARLES E                    23114 14 1/2 MILE RD                                                                                BELLEVUE        MI   49021‐9509
OCONNEL, WILLIAM C                    345 AUBURN AVE                                                                                      ROCHESTER       NY   14606‐4107
OCONNELL & VAN SHELLENBECK            10313 LAKE CREEK PKWY STE 200                                                                       AUSTIN          TX   78750
OCONNELL ALBERT L (484875)            KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                       CLEVELAND       OH   44114
                                                                      BOND COURT BUILDING
OCONNELL BRENDAN D                    17192 MERRYWEATHER ST                                                                               CLINTON TWP     MI 48038‐2839
OCONNELL JR., THOMAS W                1660 UNION AVE                                                                                      HAZLET          NJ 07730‐2402
OCONNELL MICHAEL J & LORNA J          ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                                   HOUSTON         TX 77069
OCONNELL
OCONNELL PATRICK JOSEPH (ESTATE OF)   ZAMLER, MELLEN & SHIFFMAN       23077 GREENFIELD RD STE 557                                         SOUTHFIELD      MI 48075‐3727
(653720)
OCONNELL ROBERT                       PO BOX 956                                                                                          CHAPPAQUA       NY   10514‐0956
OCONNELL SHERELLE                     15431 GARFIELD AVE                                                                                  ALLEN PARK      MI   48101
OCONNELL WILLIAM A (642342)           COADY LAW FIRM                  205 PORTLAND ST                                                     BOSTON          MA   02114‐1721
OCONNELL, ALBERT L                    KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                        CLEVELAND       OH   44114
                                                                      BOND COURT BUILDING
OCONNELL, CHARLES B                   5033 HIGHLAND CLUB DR                                                                               MARIETTA        GA 30068‐4621
OCONNELL, DANIEL J                    38 BROOKE LAWN APARTMENTS       STRANDVILLE AVE EAST                       DUBLIN 3 IRELAND
OCONNELL, DOLORES P                   P.O. BOX 55                                                                                         N.JACKSON       OH   44451‐0055
OCONNELL, DOLORES P                   PO BOX 55                                                                                           NORTH JACKSON   OH   44451‐0055
OCONNELL, DONNA M                     22221 MEADOWNORTH CT                                                                                STRONGSVILLE    OH   44149‐2260
OCONNELL, ELZORA P                    116 ABNEY DR                                                                                        PRATTVILLE      AL   36067‐4427
OCONNELL, GARY L                      235 CHERRY ST                                                                                       FRANKENMUTH     MI   48734‐1704
OCONNELL, GEORGE A                    1070 TITTABAWASSEE RD                                                                               SAGINAW         MI   48604‐1048
OCONNELL, GERALD F                    1006 MARYCREST LN                                                                                   KETTERING       OH   45429‐5818
OCONNELL, GERALD J                    6281 COUNTY ROAD 41                                                                                 HELENA          OH   43435‐9777
OCONNELL, GERALDINE J                 968 KREHL AVE                                                                                       GIRARD          OH   44420‐1904
OCONNELL, JAMES                       171 SANDBURG PL                                                                                     PINE BUSH       NY   12566‐6724
OCONNELL, JAMES A                     4041 N CONNER DR                                                                                    MARION          IN   46952
OCONNELL, JOHN E                      2287 PINE HOLLOW TRL                                                                                BRIGHTON        MI   48114‐8960
OCONNELL, JOHN F                      3429 IRONTOWN DR                                                                                    ROACH           MO   65787‐8037
OCONNELL, JOHN F                      968 KREHL AVE                                                                                       GIRARD          OH   44420‐1904
OCONNELL, JOHN J                      4509 TROON TRL                                                                                      KETTERING       OH   45429‐1858
OCONNELL, JOSEPH C                    8060 HIDDEN SHORES DR                                                                               FENTON          MI   48430‐9074
OCONNELL, LINDA                       8168 NORTHRIDGE DR                                                                                  BRIGHTON        MI   48116‐8290
OCONNELL, MARTIN J                    8616 MARQUETTE RD 7                                                                                 SCHERERVILLE    IN   46375
OCONNELL, MARY                        6298 CYPRESS SPRINGS PKWY PY                                                                        PORT ORANGE     FL   32128
OCONNELL, MICHAEL A                   3115 OLEANDER DRIVE                                                                                 SUMTER          SC   29154‐1682
                                     09-50026-mg              Doc 7123-30    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                 Address1                         Address2                        Address3   Address4         City               State Zip
OCONNELL, MICHAEL D                  241 MARSHA JEANNE WAY                                                                        CENTERVILLE         OH 45458‐4027
OCONNELL, MICHAEL W                  11313 S BARRY RD                                                                             BANNISTER           MI 48807‐9754
OCONNELL, MILDRED M                  PO BOX 648122                                                                                VERO BEACH          FL 32964‐8122
OCONNELL, PATRICIA J                 4041 NORTH CONNER DRIVE                                                                      MARION              IN 46952‐8605
OCONNELL, PATRICIA J                 4041 CONNER DR                                                                               MARIONNE            IN 46952
OCONNELL, PATRICK J                  40511 GREENBRIAR LN                                                                          PLYMOUTH            MI 48170‐2722
OCONNELL, PATRICK JOSEPH             ZAMLER, MELLEN & SHIFFMAN        23077 GREENFIELD RD STE 557                                 SOUTHFIELD          MI 48075‐3727
OCONNELL, PATRICK S                  6348 ROMEO DR                                                                                AVON                IN 46123‐7272
OCONNELL, RAYMOND A                  8556 HARPERS FERRY RD                                                                        SPRINGWATER         NY 14560‐9757
OCONNELL, ROBERT S                   3198 MORRISH RD                                                                              FLUSHING            MI 48433‐2215
OCONNELL, RODERICK D                 652 S PETERMAN RD                                                                            GREENWOOD           IN 46142‐8569
OCONNELL, STEPHEN J                  2242 E EASY ST                                                                               BELOIT              WI 53511‐1806
OCONNELL, STEVEN                     15205 CHARLUENE DR                                                                           FENTON              MI 48430‐1405
OCONNELL, WILBUR J                   PO BOX 686                                                                                   GALION              OH 44833‐0686
OCONNELL, WILLIAM A                  C/O COADY LAW FIRM               205 PORTLAND ST                                             BOSTON              MA 02114‐1721
OCONNELL, WILLIAM K                  1158 COBRIDGE DR                                                                             ROCHESTER HILLS     MI 48306‐3719
OCONNER, LISA                        408 ALTA RIDGE DR                                                                            KELLER              TX 76248‐5609
OCONNER, THINALD                     7301 DONCASTER DR                                                                            SAINT LOUIS         MO 63133‐1709
OCONNOR & HANNAN LLP                 510 GROVELAND AVE                                                                            MINNEAPOLIS         MN 55403‐3220
OCONNOR & HANNAN LLP                 1666 K ST NW STE 500                                                                         WASHINGTON          DC 20006‐1218
OCONNOR CAVANAGH MOLLOY JONES        33 N STONE AVE STE 2100                                                                      TUCSON              AZ 85701‐1415
OCONNOR DENNIS M (494060)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                      STREET, SUITE 600
OCONNOR ESTATE OF, TAMULAH
OCONNOR III, DENNIS M                16430 PARK LAKE RD LOT 205                                                                   EAST LANSING       MI 48823‐9471
OCONNOR JAMES                        OCONNOR, JAMES                   18830 JORDAN LN.                                            GRANGE             IA 50109
OCONNOR JAMES D (481258)             KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND          OH 44114
                                                                      BOND COURT BUILDING
OCONNOR JERRY (631284)               BRAYTON PURCELL                  PO BOX 6169                                                 NOVATO             CA 94948‐6169
OCONNOR JOHN GREGORY (ESTATE OF)     SIMONS EDDINS & GREENSTONE
(662167)
OCONNOR JR., MICHAEL B               5175 BOTTLE BRANCH ROAD                                                                      CONWAY             SC 29527‐3905
OCONNOR MINNIE FRANCES (ESTATE OF)   DONALDSON & BLACK                208 W WENDOVER AVE                                          GREENSBORO         NC 27401‐1307
(624442)
OCONNOR RICHARD J (464880)           WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                             NEW YORK           NY 10038
OCONNOR WILLIAM                      OCONNOR, MELODY                  445 BUSH STREET 6TH FLOOR ,                                 SAN FRANCISCO      CA 94108
                                                                      PACIFIC STATES BUILDING
OCONNOR WILLIAM                      OCONNOR, WILLIAM                 445 BUSH STREET 6TH FLOOR ,                                 SAN FRANCISCO      CA 94108
                                                                      PACIFIC STATES BUILDING
OCONNOR WILLIAM K (494061)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                      STREET, SUITE 600
OCONNOR, BETTE M                     41 LEXINGTON CT                                                                              LOCKPORT           NY   14094‐5365
OCONNOR, BETTY N                     4625 LANCELOT LN                                                                             JACKSONVILLE       FL   32210‐8131
OCONNOR, BEVERLY J                   600 DERBY RUN                                                                                WILLOUGHBY HILLS   OH   44092‐2676
OCONNOR, BRIAN D                     607 ERBER CT                                                                                 INDIANAPOLIS       IN   46217‐3639
OCONNOR, CHARLES E                   4159 E RINKER RD                                                                             MOORESVILLE        IN   46158‐6693
OCONNOR, CHARLOTTE                   5355 E DECKERVILLE RD                                                                        DEFORD             MI   48729‐9654
OCONNOR, CHARLOTTE                   5355 DECKERVILLE RD                                                                          DEFORD             MI   48729‐9654
OCONNOR, DANNY L                     5210 NOAHS PL                                                                                HOPE               MI   48628‐9633
OCONNOR, DANNY L                     5210 NOAHS PLACE                                                                             HOPE               MI   48628‐9633
OCONNOR, DARLENE G                   255 CAMBRIDGE                                                                                DIAMONDDALE        MI   48821
OCONNOR, DARLENE G                   255 CAMBRIDGE DR                                                                             DIMONDALE          MI   48821‐9775
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Name                      Address1                          Address2                           Address3   Address4         City             State Zip
OCONNOR, DENNIS M         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK           VA 23510‐2212
                                                            STREET, SUITE 600
OCONNOR, DONALD           1423 92ND STREET R R 3                                                                           BYRON CENTER     MI   49315
OCONNOR, DOREEN A         2089 ROCKLEDGE DR                                                                                ROCKLEDGE        FL   32955
OCONNOR, FRANCIS L        1159 CALRSON DR                                                                                  BURTON           MI   48509‐2305
OCONNOR, HARRY B          5060 W 100 S                                                                                     ANDERSON         IN   46011‐8742
OCONNOR, JAMES            18830 JORDAN LN                                                                                  GRANGER          IA   50109‐5514
OCONNOR, JAMES
OCONNOR, JAMES D          KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                   CLEVELAND        OH 44114
                                                            BOND COURT BUILDING
OCONNOR, JERRY            BRAYTON PURCELL                   PO BOX 6169                                                    NOVATO           CA 94948‐6169
OCONNOR, JESSICA          MORRIS JAMES                      16 POLLY DRUMMOND HILL RD                                      NEWARK           DE 19711‐5703
OCONNOR, JESSICA          COURTNEY LAW FIRM                 THE DORN BUILDING ‐ 7206 SW 59TH                               SOUTH MIAMI      FL 33143
                                                            AVENUE
OCONNOR, JOANN            4765 S WASHINGTON RD                                                                             SAGINAW          MI   48601‐5756
OCONNOR, JOHN C           816 RICHMOND ST NW                                                                               GRAND RAPIDS     MI   49504‐3035
OCONNOR, JOHN D           121 HAZELWOOD DR APT E32                                                                         HENDERSONVILLE   TN   37075
OCONNOR, JOHN GREGORY     SIMONS EDDINS & GREENSTONE        3232 MCKINNEY AVE STE 610                                      DALLAS           TX   75204‐8583
OCONNOR, JOHN J           29298 JOSEPHINE DR                                                                               NORTH OLMSTED    OH   44070‐5004
OCONNOR, JOHN M           PRO SE
OCONNOR, JOHN W           4 DEEPWOOD CT                                                                                    DEPEW            NY   14043‐4244
OCONNOR, JOSEPH P         1217 DEER CREEK TRL                                                                              GRAND BLANC      MI   48439‐9264
OCONNOR, JOSEPHINE D      3005 GRAND OAKS TER                                                                              RICHMOND         VA   23233‐2041
OCONNOR, JOYCE            4759 COUNTRY WAY W.                                                                              SAGINAW          MI   48603‐4216
OCONNOR, KENNETH A        5707 MCKEE RD                                                                                    NEWFANE          NY   14108‐9612
OCONNOR, KENNETH P        205 EAGLE DR                                                                                     FORSYTH          MO   65653
OCONNOR, KEVIN J          1064 REMINGTON DR                                                                                N TONAWANDA      NY   14120‐2977
OCONNOR, MARY             2194 TYLER AVE                                                                                   BERKLEY          MI   48072‐4024
OCONNOR, MARY E           1423 92ND STREET R R 3                                                                           BYRON CENTER     MI   49315
OCONNOR, MELODY           KEMNITZER ANDERSON BARRON &       445 BUSH STREET 6TH FLOOR,                                     SAN FRANCISCO    CA   94108
                          OGILVIE                           PACIFIC STATES BUILDING
OCONNOR, MICHAEL E        PO BOX 155                                                                                       KENT CITY        MI   49330‐0155
OCONNOR, MICHAEL F        3 PARK LN                                                                                        WILMINGTON       DE   19809‐2011
OCONNOR, MICHAEL P        754 QUINCE ORCHARD BLVD APT 102                                                                  GAITHERSBURG     MD   20878‐1528
OCONNOR, MINNIE FRANCES   DONALDSON & BLACK                 208 W WENDOVER AVE                                             GREENSBORO       NC   27401‐1307
OCONNOR, MURIEL           5 SAINT PIERRI CT                 HOLIDAY CITY                                                   TOMS RIVER       NJ   08757‐4030
OCONNOR, NAOMI I          2600 S FINLEY RD APT 3513                                                                        LOMBARD          IL   60148‐7011
OCONNOR, PATRICK D        11305 SARLE RD                                                                                   FREELAND         MI   48623‐9702
OCONNOR, RETTA            5492 BAILEY RD                                                                                   MOUNT SHERMAN    KY   42764‐8502
OCONNOR, RETTA            5492 BAILY RD.                                                                                   MT SHERMAN       KY   42764‐8502
OCONNOR, RICHARD J        WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                NEW YORK         NY   10038
OCONNOR, RICHARD J        PO BOX 11222                                                                                     SYRACUSE         NY   13218‐1222
OCONNOR, ROBERT B         1016 SHABBONA TRL                                                                                BATAVIA          IL   60510‐1154
OCONNOR, ROGER E          11420 65TH AVE                                                                                   SEMINOLE         FL   33772‐6607
OCONNOR, ROLAND J         N1353 CASSIDY RD                                                                                 LYNDON STATION   WI   53944‐9752
OCONNOR, RONALD A         795 DALE RD                                                                                      BEAVERTON        MI   48612‐8587
OCONNOR, RONALD E         1371 BENNETT RD                                                                                  LANSING          MI   48906‐1872
OCONNOR, THOMAS E         20 SHADY OAKS DR                                                                                 EUREKA           MO   63025‐2809
OCONNOR, THOMAS E         2631 E BRADBURY AVE                                                                              INDIANAPOLIS     IN   46203‐4504
OCONNOR, TIM H            2530 BOTELLO AVE 24                                                                              THE VILLAGES     FL   32162
OCONNOR, TIMOTHY B        2364 JOHNSON CREEK RD                                                                            BARKER           NY   14012‐9626
OCONNOR, TIMOTHY J        PO BOX 268                                                                                       LOCKPORT         NY   14095‐0268
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Name                           Address1                      Address2                      Address3   Address4         City            State Zip
OCONNOR, WILLIAM               KEMNITZER ANDERSON BARRON &   445 BUSH STREET 6TH FLOOR,                                SAN FRANCISCO    CA 94108
                               OGILVIE                       PACIFIC STATES BUILDING
OCONNOR, WILLIAM K             GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                             STREET, SUITE 600
OCONNORS HOME DECORATING       5355 GRATIOT RD                                                                         SAGINAW         MI   48638‐6036
OCOONOR JOHN                   65 TONER ST                                                                             RUMFORD         RI   02916‐1740
OCPHER BRYANT                  343 MONTGOMERY ST                                                                       TROY            AL   36081‐1726
OCS AMERICA INC                210 MYSTIC AVE                                                                          MEDFORD         MA   02155‐4652
OCSKASY, EDWARD J              8 CAROL CT                                                                              MANCHESTER      NJ   08759‐6654
OCSPC                          PO BOX 182394                 OBO: CURTIS WILLIAMS                                      COLUMBUS        OH   43218‐2394
OCSPC                          PO BOX 182394                 OBO: ANTHONY KIRKLAND                                     COLUMBUS        OH   43218‐2394
OCSPC                          PO BOX 182394                 OBO EARL KENDALL                                          COLUMBUS        OH   43218‐2394
OCTA                                                         11790 CARDINAL CIR                                                        CA   92843
OCTAGON SPORTS MARKETING USA   919 3RD AVE                                                                             NEW YORK        NY   10022‐3902
OCTARVE GREEN                  2223 DEL BAY ST                                                                         LAKEWOOD        CA   90712‐2865
OCTAVA HUGHES                  495 FILDEW AVE                                                                          PONTIAC         MI   48341‐2628
OCTAVE BRADLEY                 901 E PHILADELPHIA BLVD                                                                 FLINT           MI   48505‐3583
OCTAVE LEDUFF                  765 2ND AVE                                                                             PONTIAC         MI   48340‐2838
OCTAVIA BERRY                  150 WOODSIA LN                                                                          JACKSON         MS   39206‐3968
OCTAVIA BURLEY                 1305 N SPRING ST LOT 61                                                                 GLADWIN         MI   48624‐1060
OCTAVIA HOWARD                 1053 DANNER AVE                                                                         DAYTON          OH   45408‐1805
OCTAVIA JARVIS                 215 HARALSON LN                                                                         ATKINS          AR   72823‐7585
OCTAVIA KYTLE                  939 DOUGLAS CT                                                                          NORCROSS        GA   30093‐4726
OCTAVIA LYONS                  15483 RUTHERFORD ST                                                                     DETROIT         MI   48227‐1921
OCTAVIA MOURER                 12760 DUNDEE DR                                                                         GRAND LEDGE     MI   48837‐8956
OCTAVIA THOMAS                 522 GLENWOOD ST                                                                         BOSSIER CITY    LA   71111‐2205
OCTAVIA TOOKES                 2481 WINKLEMAN DR                                                                       WATERFORD       MI   48329‐4451
OCTAVIA YUKER                  40649 HEATHERBROOK                                                                      NOVI            MI   48375
OCTAVIAN BRAUN                 3327 MILLER CREEK CT                                                                    BUFORD          GA   30519‐6927
OCTAVIAN GRECU                 137 GRACE LN                                                                            HOT SPRINGS     AR   71913‐8438
OCTAVIAN SMIGELSCHI            THEDOR HAUBACH STRASSE 2      65197 WIESBADEN
OCTAVIANO CORDOBA              PO BOX 87523                                                                            CAROL STREAM    IL   60188‐7523
OCTAVIANO MARTINEZ             1011 MADRID LN                PO BOX 104                                                WEIDMAN         MI   48893‐8824
OCTAVIANO MOLINA               PO BOX 6415                                                                             BROWNSVILLE     TX   78523‐6415
OCTAVIANO RECIO                THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                               HOUSTON         TX   77017
OCTAVINE HOLLAND               1422 W COURT ST                                                                         FLINT           MI   48503‐5008
OCTAVIO C GODINEZ              6724 LYNVALE DR                                                                         FORT WAYNE      IN   46804‐4626
OCTAVIO GODINEZ                6724 LYNVALE DR                                                                         FORT WAYNE      IN   46804‐4626
OCTAVIO HERNANDEZ              10815 HADDON AVE                                                                        PACOIMA         CA   91331‐2838
OCTAVIO LEDESMA                22429 PROVINCIAL ST                                                                     WOODHAVEN       MI   48183‐3782
OCTAVIO LEON                   9411 SHONWAY CIR                                                                        SHREVEPORT      LA   71118‐3626
OCTAVIO LOPEZ                  648 N PINECREST RD                                                                      BOLINGBROOK     IL   60440‐1264
OCTAVIO MONTES                 6314 BROADWAY                                                                           WEST NEW YORK   NJ   07093‐3010
OCTAVIO ORTIZ                  706 LOWER HUNTINGTON RD                                                                 FORT WAYNE      IN   46819‐1447
OCTAVIO PERDOMO                6619 N NAVAJO AVE                                                                       LINCOLNWOOD     IL   60712‐3110
OCTAVIO RAMIREZ                1564 HUBBARD ST                                                                         DETROIT         MI   48209‐3317
OCTAVIO RAMOS                  3913 LANKFORD TRL                                                                       KELLER          TX   76248‐9573
OCTAVIO ROLFE                  13808 E PEPPERTREE ST                                                                   WICHITA         KS   67228‐8720
OCTAVIO SR, LOUIS M            PO BOX 2603                                                                             WILMINGTON      DE   19805‐0603
OCTAVIO TORRES                 1229 KRISTA DRIVE                                                                       BURLESON        TX   76028‐8611
OCTAVIO VIVEROS                4920 MISSION RD                                                                         SHAWNEE MSN     KS   66205‐1633
OCTAVIOUS MURRAY               4815 PENNY ST.                                                                          LANSING         MI   48910
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Name                                 Address1                           Address2                       Address3   Address4                City             State Zip
OCTAVIUS ANDERSON JR                 3600 KATHERINE CT                                                                                    EDMOND            OK 73013‐8126
OCTAVIUS J ANDERSON JR               3600 KATHERINE CT.                                                                                   EDMOND            OK 73013‐8126
OCTAVUIS HARRIS                      823 TOLEDO AVE                                                                                       TOLEDO            OH 43609‐1921
OCTIVE PIANO                         5698 RUSSELL ROAD                                                                                    WILLIAMSON        NY 14589‐9303
OCTO FREINS & SILENCIEUX             80 RUE DES GRANDES‐FOURCHES N                                                SHERBROOKE QC J1H 5G2
                                                                                                                  CANADA
OCTO INCORPORATED                    10711 GLEN HANNAH DR                                                                                 LAUREL           MD    20723
OCTOBER GALLERY                      505 E GORGAS LN                                                                                      PHILADELPHIA     PA    19119‐1322
OCUCARE INC                          1915 W MARKET ST STE 500                                                                             AKRON            OH    44313‐6936
OCULOFACIAL PLAS & O                 PO BOX 112                                                                                           MUNCIE           IN    47308‐0112
OCWIEJA, CHRISTOPHE N                4828 ROBE MENZEL RD                                                                                  GRANITE FALLS    WA    98252
OCZEPEK, EDWARD F                    3346 CHURCH ST                                                                                       SAGINAW          MI    48604‐2245
OCZEPEK, JOANN M                     5558 SHERMAN RD                                                                                      SAGINAW          MI    48604‐1137
OCZEPEK, JOHN E                      1762 LIBERTY RD                                                                                      SAGINAW          MI    48604‐9261
OCZEPEK, PILAR S                     PO BOX 48                          4464 NORTH M65                                                    HALE             MI    48739‐0048
OCZEPEK, PILAR S                     4464 NORTH M65                     PO BOX 48                                                         HALE             MI    48739‐9083
OCZEPEK, ROBERT J                    1315 S MONROE ST                                                                                     BAY CITY         MI    48708‐8071
OCZEPEK, RONALD J                    4775 DRESDEN CT                                                                                      SAGINAW          MI    48601‐6607
OCZEPEK, STANLEY F                   1302 S JACKSON ST                                                                                    BAY CITY         MI    48708‐8066
ODA FLEMING                          3672 DENLINGER RD                                                                                    DAYTON           OH    45426‐2324
ODA KING                             9208 JOOS ROAD                                                                                       JACKSONVILLE     FL    32220‐1982
ODA UTZ, CHERIE L                    5055 PIQUA TROY RD                                                                                   PIQUA            OH    45356‐9252
ODA UTZ, CHERIE L                    5055 N PIQUA TROY RD                                                                                 PIQUA            OH    45356‐9252
ODA, BONNIE L                        1109 XENIA AVE                                                                                       YELLOW SPRINGS   OH    45387‐1102
ODA, F L                             4095 PETERSON RD                                                                                     FLETCHER         OH    45326‐8731
ODA, JAMES E                         20 CLOVE CT                                                                                          SPRINGBORO       OH    45066‐1009
ODA, JAMES E                         20 CLOVE CT.                                                                                         SPRINGBORO       OH    45066‐1009
ODA, JOHNNIE R                       3498 MORNING GLORY DR                                                                                DAYTON           OH    45449‐5449
ODAFF, EUGENE G                      8326 E EDGEWOOD AVE                                                                                  MESA             AZ    85208‐4621
ODAHARA, GARY                        5 BLUE HERON CT                                                                                      MIDDLE RIVER     MD    21220‐7519
ODAINE O BOOKAL                      10908 COREYS WAY                                                                                     FREDERICKSBRG    VA    22408‐2071
ODALOVICH, DAVID M                   8492 MAPLEVIEW DR                                                                                    DAVISON          MI    48423‐7804
ODALOVICH, MIKE                      1575 NORTHBROOK DRIVE                                                                                ANN ARBOR        MI    48103‐6193
ODALYS TRUCKING & DELIVERY SERVICE   6301 OLD LANSING RD                                                                                  LANSING          MI    48917‐8504

ODAM, WILLIAM J                      PO BOX 230337                      7840 INGLEWOOD                                                    FAIR HAVEN       MI 48023‐0337
ODANIEL, EDDIE A                     20 ROBIN HOOD LN                                                                                     CROSSVILLE       TN 38558‐6330
ODANIEL, MARY                        10235 ANDERSONVILLE RD                                                                               DAVISBURG        MI 48350‐3146
ODANIEL, PATRICK
ODANIEL, TIMOTHY
ODANIELS, JOYCE D                    3051 SHATTUCK ARMS BLVD            APT 8                                                             SAGINAW          MI    48603‐2114
ODANIELS, JOYCE D                    3051 SHATTUCK ARMS BLVD APT 8                                                                        SAGINAW          MI    48603‐2114
ODANIELS, LEAH                       PO BOX 14268                                                                                         SAGINAW          MI    48601‐0268
ODANIELS, LUTHER M                   APT 8                              3051 SHATTUCK ARMS BOULEVARD                                      SAGINAW          MI    48603‐2114

ODAS MOSES                           1212 RAINBOW RD                                                                                      MOUNTAIN CITY    TN    37683‐2142
ODATOR OATES                         1568 HIGHWAY Y                                                                                       FOLEY            MO    63347‐3111
ODAY HASSAN                          28900 SAVOIE CT                                                                                      LIVONIA          MI    48154‐3376
ODAY STANLEY (655203)                WISE & JULIAN                      PO BOX 1108                                                       ALTON            IL    62002‐1108
ODD FELLOWS CEMETERY ASSOCIASTION    1405 W PINE ST                                                                                       COAL TOWNSHIP    PA    17866

ODDA, FRANCES N                      9980 STOCKBRIDGE DR                C/O JOSEPH A ODDA                                                 TAMPA             FL   33626‐1842
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Name                  Address1                           Address2              Address3                Address4                City                 State Zip
ODDEN II, VERNON R    207 COGSHALL ST                                                                                          HOLLY                 MI 48442‐1716
ODDEN, ARTHUR E       PO BOX 143                                                                                               HINGHAM               MT 59528‐0143
ODDEN, CRAIG S        5580 LAKE GROVE DR                                                                                       WHITE LAKE            MI 48383‐1219
ODDEN, DAVID A        2254 COLE RD                                                                                             LAKE ORION            MI 48362‐2108
ODDEN, ROBERT E       4109 NELSEY RD                                                                                           WATERFORD             MI 48329‐4639
ODDEN, VELMA          1468 E RIDGEVIEW DR                                                                                      LAPEER                MI 48446‐1455
ODDEN, VERNON R       5580 LAKE GROVE DR                                                                                       WHITE LAKE            MI 48383‐1219
ODDESSA GARRISON      1108 S ETHEL ST                                                                                          DETROIT               MI 48217‐1616
ODDI, DEAN J          5707 MICHIGAN RD                                                                                         ARCADE                NY 14009‐9733
ODDI, DEAN JOSEPH     5707 MICHIGAN RD                                                                                         ARCADE                NY 14009‐9733
ODDI, INGEBORG B      C/O JOSEPH P BUTTIGLIERI           KEMP KLEIN            201 W BIG BEAVER ROAD                           TROY                  MI 48084
                                                                               SUITE 600
ODDI, MICHAEL E       32428 DUNFORD ST                                                                                         FARMINGTON HILLS     MI   48334‐2724
ODDI, PATRICK I       307 ZOERB AVE                                                                                            CHEEKTOWAGA          NY   14225‐4837
ODDIE HAYES           21408 ERBEN ST                                                                                           SAINT CLAIR SHORES   MI   48081‐3120
ODDIE SMITH           20643 DONNY BROOK RD                                                                                     MAPLE HEIGHTS        OH   44137‐3109
ODDIE, MICHAEL E      54 ROMIGA LN                                                                                             PALOS PARK           IL   60464‐1568
ODDIS COLVIN          3806 MONTEREY RD                                                                                         BALTIMORE            MD   21218‐2143
ODDLEY COOPER         6038 NATCHEZ DR                                                                                          MOUNT MORRIS         MI   48458‐2743
ODDO JOSEPH           ODDO, JOSEPH                       89 N HADDON AVE                                                       HADDONFIELD          NJ   08033‐2423
ODDO, ALLEN A         68 GRANT ST                                                                                              TONAWANDA            NY   14150‐2414
ODDO, JAMES           10940 LAKE MINNEOLA SHRS                                                                                 CLERMONT             FL   34711‐9415
ODDO, MARY ANN        212 SMITH AVE                                                                                            BELLEVUE             OH   44811‐1863
ODDO, MARY ANN        212 SMITH AVE.                                                                                           BELLEVUE             OH   44811‐1863
ODDO, MICHAEL J       55513 CAESARS DRIVE                                                                                      SHELBY TWP           MI   48315‐6630
ODDO, RENEE           9820 CHERRY HILLS DR                                                                                     CANFIELD             OH   44406‐8166
ODDO, RICHARD F       787 FLAT ROCK RD                                                                                         BELLEVUE             OH   44811‐9410
ODDO, VINCENZO        VIA VESPRI #239 VALDERICE                                                        TRAPANI SICILIA ITALY
ODDSON JR. TEXAS M.   ODDSON JR., TEXAS M.
ODDY, GEORGE W        17638 ODYSSEY                                                                                            BELLEVILLE           MI 48111‐9152
ODDY, JAMES
ODE JR, CHARLES L     133 LOCK DR                                                                                              BALLWIN              MO   63011‐3710
ODE, SHARON L         40260 LANGTON DR                                                                                         STERLING HEIGHTS     MI   48310‐6939
ODE, SHIRLEY J        4652 OLD LEMAY FERRY RD APT C                                                                            IMPERIAL             MO   63052‐1328
ODEA NOWDEN           PO BOX 10045                                                                                             DETROIT              MI   48210‐0045
ODEA, BEATRICE        DURST LAW FIRM PC                  319 BROADWAY                                                          NEW YORK             NY   10007
ODEA, DONNA           9014 OLD TOM MORRIS CIR                                                                                  HIGHLANDS RANCH      CO   80129‐2247
ODEA, EDMOND          DURST LAW FIRM PC                  319 BROADWAY                                                          NEW YORK             NY   10007
ODEA, JULIE A         4061 TEAKWOOD                                                                                            SARASOTA             FL   34232‐3355
ODEA, JULIE A         4061 TEAKWOOD LN                                                                                         SARASOTA             FL   34232‐3355
ODEA, MICHAEL F       3459 BLUE LAKE DR                                                                                        FLINT                MI   48506‐2083
ODEAL SHARP           707 SCHEURMANN ST                                                                                        ESSEXVILLE           MI   48732‐1286
ODEAN DAVIS           6207 BOCAGE DR                                                                                           SHREVEPORT           LA   71119‐6202
ODEAN FUSON           PO BOX 340388                                                                                            DAYTON               OH   45434‐0388
ODEAN JOHNSON         440 S 11TH ST                                                                                            SAGINAW              MI   48601‐1945
ODEAN MADDEN          4059 JAYSVILLE ST JOHNS RD                                                                               GREENVILLE           OH   45331‐9747
ODEAN SMITH           PO BOX 149                                                                                               SASSAFRAS            KY   41759‐0149
ODEANIA CARRUTH       3013 S WASHINGTON AVE                                                                                    SAGINAW              MI   48601‐4354
ODEAR, RUTH T         3208 AVENUE L                                                                                            FORT WORTH           TX   76105‐3118
ODEAS FOUNTAIN        14 E BRANCH RD                                                                                           JASPER               GA   30143‐5546
ODEFA, ALI A          22711 DONCASTER AVE                                                                                      BROWNSTOWN           MI   48193‐8217
ODEFA, ALLEN A        9014 RUTH AVE                                                                                            ALLEN PARK           MI   48101‐3904
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Name                     Address1                      Address2                        Address3   Address4         City             State Zip
ODEFA, KALIL A           22711 DONCASTER AVE                                                                       BROWNSTOWN        MI 48193‐8217
ODEFEY, WILLIAM J        24684 BRIGHTON DR UNIT A                                                                  VALENCIA          CA 91355‐4400
ODEGAARD, GORDON P       1617 N PARKER CT                                                                          JANESVILLE        WI 53545‐0768
ODEGAARD, RYAN J         264 OAK RIDGE LN                                                                          DEFIANCE          OH 43512‐9206
ODEGARD TIMOTHY E        11380 FAWN VALLEY TRL                                                                     FENTON            MI 48430‐4017
ODEGARD, DORIS D         6392 MCKENZIE DR                                                                          FLINT             MI 48507‐3889
ODEGARD, THOMAS A        5295 CALKINS RD                                                                           FLINT             MI 48532‐3305
ODEGARD, TIMOTHY E       11380 FAWN VALLEY TRL                                                                     FENTON            MI 48430‐4017
ODEH FAKHOURY            2000 N LAFAYETTE ST                                                                       DEARBORN          MI 48128‐1148
ODEH FRANK               12839 ROSE GROVE DR                                                                       HERNDON           VA 20171‐1752
ODEH MAHOON              ODEH, MAHOON                  12122 TESSON FERRY RD STE 101                               SAINT LOUIS       MO 63128‐1772
ODEH, KAMAL              2417 NAHUA LN                                                                             VENTURA           CA 93001‐4417
ODEKIRK, CLELAND P       SAND CREEK MBL‐HM‐PK          4855 MCLEOD DR APT 3                                        LAS VEGAS         NV 89121
ODEKIRK, MAUREEN         3642 BOULDER HWY TRLR 389                                                                 LAS VEGAS         NV 89121‐1617
ODELIA BENNETT‐GOERGEN   5590 HICKORY CIR                                                                          FLUSHING          MI 48433‐2454
ODELIA MACON             3023 FULLERTON                                                                            DETROIT           MI 48238‐3314
ODELIA NELSON            123 PINE BAY DR                                                                           JACKSON           MS 39206‐3233
ODELL SR., ANNA          3540 SOUTH CRUZEN                                                                         MIKADO            MI 48745
ODELL ADAMS              BOX 43‐A                                                                                  PINE TOP          KY 41843‐0043
ODELL AUTRY              9 IRIS DR                                                                                 JACKSON           NJ 08527‐2006
ODELL BEASLEY            PO BOX 931                                                                                SAGINAW           MI 48606‐0931
ODELL BRAY               606 S MAIN ST                                                                             FAIRMOUNT          IL 61841‐9701
ODELL BROWN              7313 GLEN HAVEN DR                                                                        FORT WORTH        TX 76133‐7703
ODELL BULLOCK            3081 THORNTON AVE                                                                         FLINT             MI 48504‐1805
ODELL CAMPBELL           PO BOX 204                                                                                CARTHAGE          MS 39051‐0204
ODELL CAMPBELL JR        114 KRISTIN RD                                                                            SHAWNEE           OK 74804‐8820
ODELL CAMPELL            6916 REBEL RD                                                                             FOREST HILL       TX 76140‐1816
ODELL CANTRELL           4095 W COUNTY RD 950 SOUTH                                                                PENDLETON         IN 46064
ODELL CHAMBERLAIN        PO BOX 2667                                                                               ANDERSON          IN 46018‐2667
ODELL CLARK              301 E BAKER ST                                                                            FLINT             MI 48505‐4970
ODELL COOK               800 PALUXY RD                                                                             GRANBURY          TX 76048
ODELL COOPER             19999 MAGNOLIA PKWY                                                                       SOUTHFIELD        MI 48075‐3905
ODELL DEATON             2333 MARDELL DR                                                                           DAYTON            OH 45459‐3635
ODELL EARL (446732)      BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                       PROFESSIONAL BLDG
ODELL ELIZABETH          DBA FALCON RIDGE LAWNSCAPES   PO BOX 1793                                                 SPOTSYLVANIA     VA   22553‐6793
ODELL FLEMING            2709 STATE ROUTE 183                                                                      ATWATER          OH   44201‐9598
ODELL FOSTER             167 CLARENCE AVE                                                                          BUFFALO          NY   14215‐2203
ODELL GRAVES             6613 DESHON CIR                                                                           LITHONIA         GA   30058‐3047
ODELL GRAVES             2416 GREENHEART LN                                                                        EDGEWOOD         MD   21040‐2802
ODELL GREENE             2250 HOWERTON DR                                                                          MORRISTOWN       TN   37814‐5948
ODELL GREER              63771 MOUND ROAD                                                                          WASHINGTON       MI   48095‐2308
ODELL GRIFFIN            PO BOX 970016                                                                             YPSILANTI        MI   48197‐0801
ODELL GUFFEY             115 S E ST                                                                                MARION           IN   46952‐3640
ODELL HAGER              109 DEER TRACE DR                                                                         WALTON           KY   41094‐8401
ODELL HICKS              44 DAYTON LN                                                                              ESSIE            KY   40827
ODELL JOHNSON            PO BOX 44321                                                                              INDIANAPOLIS     IN   46244‐0321
ODELL JOHNSON            BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                  BOSTON HEIGHTS   OH   44236
ODELL JONES              22530 PEMBROKE AVE                                                                        DETROIT          MI   48219‐1158
ODELL JR, FITZHUGH B     104 HICKORY KNOB HILL ROAD                                                                IRMO             SC   29063‐9782
ODELL KERMANS            11104 DUDLEY ST                                                                           TAYLOR           MI   48180‐4207
ODELL LEE                PO BOX 1866                                                                               CEDAR HILL       TX   75106‐1866
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Name                  Address1                           Address2             Address3                 Address4         City                State Zip
ODELL LEWIS           250 YOST RD                                                                                       WEST ALEXANDRIA      OH 45381‐9308
ODELL LEWIS           250 YOST RD.                                                                                      W. ALEXANDRIA        OH 45381‐9308
ODELL LINDA D         ODELL, BRIAN E
ODELL LINDA D         ODELL, LINDA D
ODELL LOFTIS          3225 POWHATTAN PL                                                                                 KETTERING           OH   45420‐1242
ODELL M BEASLEY       PO BOX 931                                                                                        SAGINAW             MI   48606‐0931
ODELL MCDOWELL        17053 EGO AVE                                                                                     EASTPOINTE          MI   48021‐3005
ODELL MILES JR        3207 SKANDER DR                                                                                   FLINT               MI   48504‐1231
ODELL MOORE           844 BOUTELL DR                                                                                    GRAND BLANC         MI   48439‐1943
ODELL MORGAN          11298 COUNTY ROAD 236                                                                             MOULTON             AL   35650‐8814
ODELL MOSS            2142 HIGHWAY 151 S                                                                                CALHOUN             LA   71225‐9045
ODELL ODOM            4934 TUDOR AVE                                                                                    E SAINT LOUIS       IL   62207‐1325
ODELL PHILLIP         ODELL, PHILLIP                     P.O. BOX 431                                                   GAULEY BRIDGE       WV   25085‐0431
ODELL PORTER          1212 SHEPARD ST                                                                                   LANSING             MI   48912‐2533
ODELL PRINCE JR       2362 HARMONY DRIVE                                                                                XENIA               OH   45385‐5900
ODELL RICHARD         608 LOWES HILL RD                                                                                 MUNSON              PA   16860‐9422
ODELL RUFFIN          33 CRESCENT DR                                                                                    KALAMAZOO           MI   49001‐6132
ODELL RUFFIN          1026 E RUSSELL AVE                                                                                FLINT               MI   48505‐2202
ODELL SANDERS         12 AIRWAY CIR APT 2A                                                                              TOWSON              MD   21286‐3425
ODELL SANDERSON       2204 ROBBIE AVE                                                                                   MUSCLE SHOALS       AL   35661‐2656
ODELL SCOTT           701 S MIRAMAR WAY                                                                                 MUNCIE              IN   47304‐6724
ODELL SHELTON         301 STAMPERS RD                                                                                   ERWIN               TN   37650‐4134
ODELL SMITH           634 ELEANOR AVE                                                                                   DAYTON              OH   45408‐1225
ODELL SR., ANNA       3540 S CRUZEN RD                                                                                  MIKADO              MI   48745‐8705
ODELL STANTON JR      3743 CONKLIN DR                                                                                   SAGINAW             MI   48603‐3129
ODELL STONER          838 S LOGAN ST                                                                                    ELYRIA              OH   44035‐6549
ODELL STURDIVANT      13806 WADSWORTH ST                                                                                DETROIT             MI   48227‐3065
ODELL THOMAS          8736 E VERNOR HWY                                                                                 DETROIT             MI   48214‐2826
ODELL WALKER          10121 RR 1355                                                                                     PHILADELPHIA        MS   39350
ODELL WAYNE           ODELL, TAMMY
ODELL WAYNE           ODELL, WAYNE
ODELL WAYNE           ODELL, TAMMY                       HEWITT & SALVATORE   204 NORTH COURT STREET                    FAYETTEVILLE        WV   25840
ODELL WHITE           19409 ANGLIN ST                                                                                   DETROIT             MI   48234‐1475
ODELL WILBERT         9224 HOLMES AVE                                                                                   LOS ANGELES         CA   90002‐2439
ODELL WILLIAM         616 HENCHBARGER ST                                                                                CLEARFIELD          PA   16830‐3059
ODELL WILLIAMS        140 DEVONSHIRE CT                                                                                 FOLEY               MO   63347‐2881
ODELL WOODEN III      5855 2ND ST                                                                                       ROMULUS             MI   48174‐1869
ODELL Y WILLIAMS      3890 MEADOWLARK DR                                                                                MIDDLETOWN          OH   45044‐2921
ODELL YOUNG           PO BOX 27                                                                                         CRYSTAL SPRINGS     MS   39059‐0027
ODELL YOUNG           1461 COUNTY ROAD 706                                                                              CULLMAN             AL   35055‐9479
ODELL, ALLAN          PO BOX 202                                                                                        HIGHLAND FALLS      NY   10928‐0202
ODELL, BERNADETTE G   5276 N STATE RD                                                                                   DAVISON             MI   48423‐8414
ODELL, BERNADETTE G   5276 N STATE                                                                                      DAVISON             MI   48423‐8414
ODELL, BETTY A        3000 SWIFT AVENUE                  APT. 219                                                       NORTH KANSAS CITY   MO   64116‐2958
ODELL, BETTY A        3000 SWIFT AVE APT 219                                                                            NORTH KANSAS CITY   MO   64116‐2958
ODELL, BONNIE M       PO BOX 121                                                                                        EVANS               GA   30809‐0121
ODELL, BRIAN E        HAMILTON BURGESS YOUNG & POLLARD   PO BOX 959                                                     FAYETTEVILLE        WV   25840‐0959
                      PLLC
ODELL, BRUCE A        13291 HARBORVIEW DR 46                                                                            LINDEN              MI   48451
ODELL, CHARLES E      440 SAINT JOSEPH ST                                                                               HERCULANEUM         MO   63048‐1114
ODELL, DAVID          8774 PRIVATE ROAD 6290 6290                                                                       WEST PLAINS         MO   65775
ODELL, DAVID C        3708 STETSON RD                                                                                   BLOOMFIELD          NY   14469‐9214
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Name                        Address1                           Address2                       Address3   Address4         City                State Zip
ODELL, DENNIS D             3493 E STATE ROAD 236                                                                         ANDERSON             IN 46017‐9414
ODELL, DENNIS K             5594 S COREY RD                                                                               PERRY                MI 48872‐9310
ODELL, DONALD E             527 W VIENNA ST                                                                               CLIO                 MI 48420‐5000
ODELL, DORIS ANN            8452 MORRISH RD                                                                               FLUSHING             MI 48433‐8850
ODELL, EARL                 BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD           OH 44067
                                                               PROFESSIONAL BLDG
ODELL, EARL J               4644 LANIER BLVD                                                                              OAKWOOD             GA   30566‐2309
ODELL, EDMOND JUNIOR        408 W FRONT ST APT 39                                                                         MONROE              MI   48161‐2343
ODELL, EDWARD J             5341 SHERIDAN RD                                                                              SAGINAW             MI   48601‐9357
ODELL, EDWARD JAY           5341 SHERIDAN RD                                                                              SAGINAW             MI   48601‐9357
ODELL, ELLEN J              9 GILMORE AVENUE                                                                              CAMBRIDGE           NY   12816‐1012
ODELL, FLOYD P              2204 N OAK RD                                                                                 DAVISON             MI   48423‐8170
ODELL, FRANCES A            23340 CARLYSLE                                                                                DEARBORN            MI   48124‐3331
ODELL, GARY R               210 MILL ST                                                                                   COLEMAN             MI   48618‐9791
ODELL, GERALD A             20591 MARANATHA RD                                                                            TUOLUMNE            CA   95379‐9620
ODELL, GERALD R             19 HIAWATHA TRL                                                                               SPENCERPORT         NY   14559‐2007
ODELL, GOLDIE L             4295 W MICHIGAN                                                                               SAGINAW             MI   48603‐6641
ODELL, GREGORY R            11067 E MOUNT MORRIS RD LOT 35                                                                DAVISON             MI   48423‐9341
ODELL, HORACE J             2792 MAYFAIR RD                                                                               AKRON               OH   44312‐5412
ODELL, HULDA F              4331 CHATEAU MORSE DR                                                                         COLUMBUS            OH   43231‐6150
ODELL, JAMES A              W8545 30TH ST                                                                                 NEW LISBON          WI   53950‐9705
ODELL, JAMES R              5296 JACALA STREET                                                                            LAS VEGAS           NV   89122‐7666
ODELL, JEAN                 400 SHARON DR                                                                                 FLUSHING            MI   48433‐1507
ODELL, JEFFREY P            15808 PRETTY LAKE DR                                                                          MECOSTA             MI   49332‐9617
ODELL, JENNIFER S
ODELL, KENNETH A            6144 LUCAS RD                                                                                 FLINT               MI 48506‐1247
ODELL, KENNETH D            38 MARCH AVE                                                                                  BROOKVILLE          OH 45309‐1605
ODELL, LINDA D              HAMILTON BURGESS YOUNG & POLLARD   PO BOX 959                                                 FAYETTEVILLE        WV 25840‐0959
                            PLLC
ODELL, LLOYD D              3050 BEAVER DAM RD                                                                            MORGANTOWN          KY   42261‐8910
ODELL, MARK R               8220 GODFREY RD                                                                               SHREVEPORT          LA   71129‐9732
ODELL, N M                  314 FAIRVIEW RD                                                                               CROSSVILLE          TN   38558‐3761
ODELL, PHILLIP              PO BOX 431                                                                                    GAULEY BRIDGE       WV   25085‐0431
ODELL, PHYLLIS J            1280 MISSOURI CT                   APT 806                                                    LIBERTY             MO   64069‐2681
ODELL, PHYLLIS S            6500 N WILLIAMSON RD                                                                          MUNCIE              IN   47303‐9517
ODELL, PHYLLIS S            6500 N. WILLIAMSON RD.                                                                        MUNCIE              IN   47303‐9517
ODELL, RAYMOND E            1352 WILLIAMSBURG RD                                                                          FLINT               MI   48507‐5628
ODELL, RENDIA N             351 COTTON WOOD RD                                                                            NASHVILLE           NC   27856
ODELL, RICHARD C            13331 BLOOMINGDALE RD                                                                         AKRON               NY   14001‐9603
ODELL, ROBERT F             107 GREGORY CT                                                                                DEPEW               NY   14043‐4630
ODELL, ROBERT F             6161 HENDERSON RD                                                                             COLUMBIAVILLE       MI   48421‐8803
ODELL, SCOTT
ODELL, SHARON KAY           4105 SANDUSKY RD                                                                              PECK                MI   48466‐9703
ODELL, SHARON KAY           4105 SOUTH SANDUSKY RD                                                                        PECK                MI   48466‐9703
ODELL, TAMMY                HEWITT & SALVATORE                 204 N COURT ST                                             FAYETTEVILLE        WV   25840‐1212
ODELL, TERRY L              5283 FLORA DR                                                                                 LEWISBURG           OH   45338‐9741
ODELL, TIMOTHY              2811 WINDY WAY                                                                                THOMPSONS STATION   TN   37179‐9264
ODELL, WAYNE R              2792 N 10 1/2 MILE RD                                                                         SANFORD             MI   48657‐9662
ODELL, WILLIAM T            6412 BUCKEYE PATH DR N                                                                        GROVE CITY          OH   43123‐9526
ODELL‐HAMMONDS, BARBARA J   518 WESLEY AVE                                                                                ELYRIA              OH   44035‐3849
ODELLA COX                  397 PASADENA DR                                                                               LEXINGTON           KY   40503‐2257
ODELLA LANCASTER            11900 NW 6TH ST                                                                               YUKON               OK   73099‐6528
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Name                        Address1                         Address2                        Address3   Address4         City             State Zip
ODELLA PRITCHARD            3362 N HAMMOCK DUNES VILG PT P                                                               LECANTO           FL 34461‐8462
ODELLA SWIFT                620 NORTON DR                                                                                KALAMAZOO         MI 49001‐3731
ODELLA WILSON               1511 LOCUST ST                                                                               ANDERSON          IN 46016‐3442
ODEMS, ELLA M               15700 PROVIDENCE DR APT 408                                                                  SOUTHFIELD        MI 48075‐3127
ODEN CHEVROLET, INC.        221 S MAIN ST                                                                                FLOYDADA          TX 79235‐2725
ODEN CHEVROLET, INC.        STEPHEN FYFFE                    221 S MAIN ST                                               FLOYDADA          TX 79235‐2725
ODEN DEBORAH                13421 WATERS EDGE WAY                                                                        GULFPORT          MS 39503‐8392
ODEN DOUGLASS, JEANNE       13711 S LAKE DR                                                                              PLAINFIELD         IL 60544‐8113
ODEN GREENLEE JR            12721 BEACH HWY                                                                              GREENWOOD         DE 19950‐5158
ODEN HOWARD PAUL (429557)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                             STREET, SUITE 600
ODEN WESTON                 6434 GRAND BLANC RD                                                                          SWARTZ CREEK     MI 48473‐9403
ODEN WILLIE A (446736)      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                             PROFESSIONAL BLDG
ODEN, AUBREY D              115 NORTHWOOD AVE                                                                            SAN JACINTO      CA   92582‐3761
ODEN, BOBBIE R              3623 SUMMIT TRCE                                                                             DECATUR          GA   30034
ODEN, BOBBIE RAY            3623 SUMMIT TRCE                                                                             DECATUR          GA   30034
ODEN, BROOKE                ERSKINE BLAKE C                  PO BOX 3485                                                 LONGVIEW         TX   75606
ODEN, CARLIS E              PO BOX 1935                                                                                  ANTIOCH          TN   37011‐1935
ODEN, CARLIS EARL           PO BOX 1935                                                                                  ANTIOCH          TN   37011‐1935
ODEN, CARLIS L              123 IVANHOE DR APT J‐2                                                                       SAGINAW          MI   48603
ODEN, CARTER E              2384 MATTOS DR                                                                               MILPITAS         CA   95035‐6126
ODEN, DANIEL F              3991 RED ROOT RD                                                                             LAKE ORION       MI   48360‐2627
ODEN, DONALD G              11355 WINDING WOOD CT                                                                        INDIANAPOLIS     IN   46235‐9774
ODEN, DOROTHY E             10408 KENDAL AVE                                                                             YUKON            OK   73099‐7815
ODEN, ERNIE L               57 PARK RD                                                                                   UNION GROVE      AL   35175‐5210
ODEN, GARY E                672 CORK CT.                                                                                 FLINT            MI   48506‐5217
ODEN, GILBERT D             345 NEWBERRY AVE                                                                             LA GRANGE PARK   IL   60526‐6009
ODEN, GWENDOLYN N           1315 MEADOW CREEK DR APT 255                                                                 IRVING           TX   75038
ODEN, HELEN I               705 W OAK ST                                                                                 ZIONSVILLE       IN   46077‐1206
ODEN, HERMAN L              143 GLENN MERRITT RD                                                                         WRAY             GA   31798‐4031
ODEN, HOWARD PAUL           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA   23510‐2212
                                                             STREET, SUITE 600
ODEN, J B                   211 TROWBRIDGE ST                                                                            DETROIT          MI   48202
ODEN, JAMES L               2516 15TH ST N                                                                               BESSEMER         AL   35023
ODEN, KATHY L               3804 WINDOVER DR                                                                             EDMOND           OK   73013‐6964
ODEN, KAYLA                 207 NATCHEZ ST                                                                               FRANKLIN         TN   37064‐2838
ODEN, LARRY                 1705 LYNBROOK DR                                                                             FLINT            MI   48507‐2229
ODEN, LARRY                 PO BOX 7285                                                                                  FLINT            MI   48507‐0285
ODEN, LEONARD               ERSKINE BLAKE C                  PO BOX 3485                                                 LONGVIEW         TX   75606
ODEN, LUCIOUS L             8205 SHORE LN                                                                                FLINT            MI   48504‐1792
ODEN, MAXINE F              125 HARVEY ODEN RD                                                                           EVA              AL   35621‐7408
ODEN, MICHAEL J             3241 PLAINS ROAD                                                                             MASON            MI   48854‐9214
ODEN, MITCHELL B            21851 ORION AVE                                                                              SAUK VILLAGE     IL   60411‐5176
ODEN, OSSIE J               918 SE 36TH ST                                                                               MOORE            OK   73160‐7732
ODEN, OSSIE J               913 SE 36TH ST                                                                               MOORE            OK   73160
ODEN, RICHARD C             3264 S CENTER RD                                                                             BURTON           MI   48519‐1460
ODEN, ROBERT L              4041 YEAGER DR                                                                               BURTON           MI   48519‐1418
ODEN, RONALD D              10408 KENDAL AVE                                                                             YUKON            OK   73099‐7815
ODEN, RONALD D
ODEN, SANDRA A              38045 JOHN P ST                                                                              CLINTON TWP       MI 48036‐1740
ODEN, SANDRA L              1414 MOSS CHAPEL RD NW                                                                       HARTSELLE         AL 35640‐7764
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Name                                  Address1                           Address2                       Address3   Address4            City               State Zip
ODEN, SUSAN E                         BANNER BRILEY & WHITE L.L.P.       4245 KEMP BLVD STE 200                                        WICHITA FALLS       TX 76308‐2833
ODEN, WILLIE A                        BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                  NORTHFIELD          OH 44067
                                                                         PROFESSIONAL BLDG
ODEN, YVONNE M                        115 NORTHWOOD AVE                                                                                SAN JACINTO        CA   92582‐3761
ODENA WADSWORTH                       3757 WORCHESTER DR                                                                               FLINT              MI   48503‐4576
ODENBACH, BRUCE L                     10019 MAPLE RIDGE RD                                                                             GARRISON           MN   56450‐2009
ODENBACH, LAURA                       16602 EASTLAKE PKWY                                                                              LOCKPORT           IL   60441‐5057
ODENBAUGH, ELIZABETH A                326 S SAGINAW ST                                                                                 CHESANING          MI   48616‐1349
ODENDAHL, CHERYLL L                   42586 BLAIRMOOR CT                                                                               STERLING HEIGHTS   MI   48313‐2610
ODENDAHL, JAMES A                     5425 ROSEWALL CIRCLE BOX 373                                                                     LEESBURG           FL   34748
ODENDAHL, RICHARD A                   42586 BLAIRMOOR CT                                                                               STERLING HEIGHTS   MI   48313‐2610
ODENEAL, BEVERLY                      885 BURLINGAME ST                                                                                DETROIT            MI   48202‐1006
ODENEAL, CALVERT                      20261 WESTMORELAND RD                                                                            DETROIT            MI   48219‐1420
ODENWALD CHEMIE GMBH                  HIRSCHHORNER STR 43                                                          NECKARSTEINACH HE
                                                                                                                   69239 GERMANY
ODENWALD CHEMIE GMBH                  ZIEGELHAEUSERSTR 25                                                          SCHOENAU BW 69250
                                                                                                                   GERMANY
ODENWALD, MICHAEL E                   7422 OBRIEN RD                                                                                   HUBBARDSTON        MI   48845‐9529
ODENWALDER, MARY E                    3805 DONA CT                                                                                     CARMEL             IN   46033‐4431
ODER, BEVERLY D                       1715 HUFFMAN AVE                                                                                 DAYTON             OH   45403‐3109
ODER, CHARLES D                       1715 HUFFMAN AVE                                                                                 DAYTON             OH   45403‐3109
ODER, JEREMY D                        1715 HUFFMAN AVE                                                                                 DAYTON             OH   45403‐3109
ODER, LARRY V                         14200 188TH PL NE                                                                                WOODINVILLE        WA   98072‐9345
ODER, LEROY                           4463 HICKORY NUT CT                                                                              CINCINNATI         OH   45241‐4521
ODER, SUSAN M                         14200 188TH PL NE                                                                                WOODINVILLE        WA   98072‐9345
ODER, TRACEY A                        1715 HUFFMAN AVENUE                                                                              DAYTON             OH   45403‐3109
ODER,CHARLES D                        1715 HUFFMAN AVE                                                                                 DAYTON             OH   45403‐3109
ODERKIRK, TERRELL L                   8915 DEADSTREAM RD                                                                               HONOR              MI   49640‐9768
ODERMAN, MARY A                       615 HUPP CROSS RD                                                                                BLOOMFIELD HILLS   MI   48301‐2435
ODES CARPENTER                        534 WATER WORKS RD                                                                               FORT THOMAS        KY   41075‐1348
ODES CARTER                           THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                   HOUSTON            TX   77017
ODES DUPREE SR                        464 SALLIOTTE RD                   UNIT # 2                                                      ECORSE             MI   48229
ODES EARLS                            3519 CLOVER RD                                                                                   BETHEL             OH   45106‐8301
ODES POSEY                            11236 E GRAND RIVER AVE                                                                          PORTLAND           MI   48875‐8438
ODESSA AUCTION                        ATTN PAM COSKO                     2950 E MAIN ST                                                PLAINFIELD         IN   46168‐2723
ODESSA AUSTIN                         2400 CAMPBELLTON RD SW APT C4                                                                    ATLANTA            GA   30311‐3848
ODESSA BEELER                         6110 FOREST VIEW DR                                                                              INDIANAPOLIS       IN   46228‐1304
ODESSA BOWEN                          2723 FREEMANS MILL RD                                                                            DACULA             GA   30019‐1339
ODESSA CARWELL                        2679 TREMAINSVILLE RD APT 202                                                                    TOLEDO             OH   43613‐5316
ODESSA CAVER                          2438 INDIANA AVE                                                                                 SAGINAW            MI   48601‐5513
ODESSA CHEVROLET BUICK PONTIAC, LL    1000 W US HIGHWAY 40                                                                             ODESSA             MO   64076‐9567

ODESSA CHEVROLET BUICK PONTIAC, LLC   1000 WEST US HIGHWAY 40                                                                          ODESSA             MO 64076‐9567

ODESSA CHEVROLET BUICK PONTIAC, LLC   CHRISTOPHER PAYNE                  1000 W US HIGHWAY 40                                          ODESSA             MO 64076‐9567

ODESSA COLLEGE                        201 W UNIVERSITY BLVD                                                                            ODESSA             TX   79764‐7105
ODESSA COOPER                         430 ANCHOR LN                                                                                    GUN BARREL CITY    TX   75156‐5624
ODESSA COVELL                         1307 SCHAVEY RD                                                                                  DEWITT             MI   48820‐8704
ODESSA EVANS                          2740 EVERGREEN LN                                                                                EAST CHICAGO       IN   46312‐2931
ODESSA FLUKER                         13558 SAINT MARYS ST 212                                                                         DETROIT            MI   48227
ODESSA GRADY                          PO BOX 14864                                                                                     SAGINAW            MI   48601‐0864
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ODESSA GREEN          PO BOX 1103                                                                                 HENDERSON           KY 42419‐1103
ODESSA HARRIS         907 KINNEY BLVD                                                                             SAGINAW             MI 48601‐6137
ODESSA HEARN          2221 CHIPPEWA ST                                                                            FLINT               MI 48505‐4329
ODESSA JONES          4010 WEBBER ST                                                                              SAGINAW             MI 48601‐4145
ODESSA JUSTIS         1702 E 31ST ST                                                                              BALTIMORE           MD 21218‐3752
ODESSA LEE            PO BOX 2                        C/O MARLENE THOMPSON                                        WINCHESTER          OH 45697‐0002
ODESSA M GRADY        PO BOX 14864                                                                                SAGINAW             MI 48601‐0864
ODESSA MARSHALL       2880 NORTHWEST BLVD NW                                                                      WARREN              OH 44485‐2232
ODESSA MATTHIS        APT 10                          2301 TIMBERBROOK DR SOUTHEAST                               GRAND RAPIDS        MI 49546‐8101

ODESSA MC CALL        48669 WILLIS RD                                                                             BELLEVILLE         MI   48111‐9388
ODESSA MITCHELL       957 GLENWOOD AVE                                                                            BUFFALO            NY   14211‐1419
ODESSA MOTORS, INC.   JOSEFINA HOOKER                 5251 E 42ND ST                                              ODESSA             TX   79762‐5248
ODESSA OATES          3916 E 47TH TER                                                                             KANSAS CITY        MO   64130‐2423
ODESSA P LEE          1076 GRACES RUN RD PO BOX 2     C/O MARLENE THOMPSON                                        WINCHESTER         OH   45697‐0002
ODESSA PATTERSON      8535 S DANTE AVE                                                                            CHICAGO            IL   60619‐6513
ODESSA PETRO          13460 SAINT CLAIR DR                                                                        NORTH HUNTINGDON   PA   15642‐5109
ODESSA RICHARDSON     1334 WOODPATH DR                                                                            FLORISSANT         MO   63031‐1238
ODESSA ROGERS         430 CONNECTICUT AVE                                                                         TRENTON            NJ   08629‐1203
ODESSA SHELTON        124 SHERMAN ST                                                                              BUFFALO            NY   14206‐1614
ODESSA SIMMONS        15536 WILLOW DR                                                                             BASEHOR            KS   66007‐9245
ODESSA SMITH          535 S WARREN AVE APT 611                                                                    SAGINAW            MI   48607‐1694
ODESSA SMITH          7002 GREENWAY AVE                                                                           SAINT LOUIS        MO   63121‐5130
ODESSA STAPP          11117 S PAYNE RD                                                                            MUSTANG            OK   73064‐9798
ODESSA STEWARD        1166 BURNT LEAF LN                                                                          GRAND BLANC        MI   48439‐4970
ODESSA TARVER         238 TOWN CENTER DR                                                                          HIGHLAND PARK      MI   48203‐3683
ODESSA TATE           1014 HASKELL AVE                                                                            KANSAS CITY        KS   66104‐5561
ODESSA THOMPSON       10 W CLEVELAND DR                                                                           BUFFALO            NY   14215‐1817
ODESSA THOMPSON       35 P ST                                                                                     BUFFALO            NY   14214
ODESSA TOLIVER        2004 S 5TH ST                                                                               MONROE             LA   71202‐4342
ODESSA WALKER         4600 QUAILS LN                                                                              FORT WORTH         TX   76119‐3740
ODESSA WILCOX         1215 W OREGON ST                                                                            LAPEER             MI   48446‐1214
ODESSA WILLIAMS       8005 S STEWART AVE                                                                          CHICAGO            IL   60620‐1721
ODESSEL A HALE        1136 JOHNSVILLE‐BROOKVILLE                                                                  BROOKVILLE         OH   45309‐9381
ODESSEL HALE          1136 JOHNSVILLE BROOKVILLE RD                                                               BROOKVILLE         OH   45309‐9381
ODESSIA COSTER        1703 DEXTER AVE                                                                             CINCINNATI         OH   45206
ODESSIA GRANT         511 FULLER RD APT 206                                                                       ELYRIA             OH   44035‐8067
ODESSIA LANE          817 W HAMILTON AVE                                                                          FLINT              MI   48504‐7251
ODESSIA PETERSON      1142 BARRINGTON DR                                                                          FLINT              MI   48503‐2949
ODESSIE ALLEN         1825 ROSELAWN DR                                                                            FLINT              MI   48504‐5420
ODEST BEE             10631 S PARNELL AVE                                                                         CHICAGO            IL   60628‐2437
ODESTER BOULDIN       418 CATLETT RD                                                                              MADISON            MS   39110‐7960
ODESTER BROWN         2855 WILLIAMSBURG ST NW                                                                     WARREN             OH   44485‐2252
ODESTER WHITIKER      1068 W KURTZ AVE                                                                            FLINT              MI   48505‐1204
ODESTIA LEWIS         1821 SANDRINGHAM DR                                                                         TOLEDO             OH   43615‐3931
ODETA RIDER           PO BOX 573                                                                                  SHADY GROVE        FL   32357‐0573
ODETE FRAGA           45 WINDLE PARK                                                                              TARRYTOWN          NY   10591‐3935
ODETTA P ASHBURN      4432 SUE ELISON CT.                                                                         HUBER HEIGHTS      OH   45424‐5535
ODETTE JR, GEORGE     97 SHOREWOOD LN                                                                             HOWELL             MI   48843‐7560
ODETTE PATRICK        238 W 700 N                                                                                 VALPARAISO         IN   46385‐8534
ODETTE WAGNER         7453 DONEGAL DR                 C/O MARTINE POTRYKUS                                        ONSTED             MI   49265‐9623
ODETTE WATTS          330 LABURNUM RD                                                                             EDGEWOOD           MD   21040‐3512
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ODETTE, ELAINE C       97 SHOREWOOD LN                                                                            HOWELL              MI 48843‐7560
ODETTE, FRANCES        11378 KINGSLEY DR                                                                          GRAND BLANC         MI 48439‐1226
ODETTE, JOSEPH R       11901 FLEMING RD                                                                           FOWLERVILLE         MI 48836‐9689
ODETTE, MARK O         11343 BERKSHIRE DR                                                                         CLIO                MI 48420‐2124
ODETTE, MARY LOU       639 ARBUTUS DR.                                                                            CADILLAC            MI 49601‐8965
ODETTE, MARY LOU       639 ARBUTUS DR                                                                             CADILLAC            MI 49601‐8965
ODETTE, NORMA E        5177 WOODHAVEN CT                                                                          FLINT               MI 48532‐4183
ODETTE, OMAR J         6205 WOODLAND DR                                                                           GRAND BLANC         MI 48439‐4880
ODETTE, STEVEN M       10388 N LINDEN RD                                                                          CLIO                MI 48420‐8500
ODETTE, TERRY L        2125 HENRY ST                                                                              WEST BRANCH         MI 48661‐9592
ODETTE, TIMOTHY D      PO BOX 5155                                                                                SAGINAW             MI 48603‐0155
ODETTE, TIMOTHY K      14717 NELSON DR                                                                            LAKE ODESSA         MI 48849‐9465
ODEVAH BROCK           PO BOX 221                                                                                 COLDIRON            KY 40819‐0221
ODEY VICTOR            602 N FAIRVIEW DR                                                                          TACOMA              WA 98406
ODGERS, DARLENE A      6850 OWEN HILL RD                                                                          COLLEGE GROVE       TN 37046‐9123
ODGERS, LORRAINE       5475 60TH WAY N                                                                            SAINT PETERSBURG    FL 33709‐1839
ODHAM, JAMES T         MORTON & MORTON PLLC
ODIAM JR, CLARENCE D   1730 ITAWAMBA TRAIL              LAKE CHOCTAW                                              LONDON             OH   43140‐3140
ODIE BREWER            16355 RAMSAY CIR                                                                           STEWARTSTOWN       PA   17363‐9374
ODIE BRYER             C/O THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                               HOUSTON            TX   77017
ODIE BYRD              4074 CARROLLTON VILLA RICA HWY                                                             CARROLLTON         GA   30116‐4900
ODIE C BROWN           518 BOWMAN                                                                                 CANTON             MS   39046‐3635
ODIE CARRUTH           3013 S WASHINGTON AVE                                                                      SAGINAW            MI   48601‐4354
ODIE CORK JR           2520 NORTHROP AVE APT 3                                                                    SACRAMENTO         CA   95825‐4853
ODIE DOTSON            7159 BRICK ST                                                                              SHREVEPORT         LA   71119‐9750
ODIE GRAYER            1838 GILMARTIN ST                                                                          FLINT              MI   48503‐4410
ODIE GRISSOM           185 HATTON SCHOOL RD                                                                       LEIGHTON           AL   35646‐3421
ODIE HOUSTON           833 N OUTER DR                                                                             SAGINAW            MI   48601‐6238
ODIE KELLY             11461 ROAD 571                                                                             PHILADELPHIA       MS   39350‐7226
ODIE L MARTIN          ODIE MARTIN                      3188 KEARNS CORNER                                        THE VILLAGES       FL   32162
ODIE MASH              3354 JEROME LN                   ATRIUM HEALTH CENTER                                      CAHOKIA            IL   62206‐2604
ODIE MATLOCK           4086 HALWORTH RD                                                                           DAYTON             OH   45405‐1501
ODIE MC REYNOLDS       PO BOX 12074                                                                               LUBBOCK            TX   79452‐2074
ODIE PHILLIPS          94 OAK RIDGE DR                                                                            BENTON             KY   42025‐6572
ODIE PRUITT JR         3367 PERKINS ST                                                                            SAGINAW            MI   48601‐6568
ODIE ROLLINS           1970 GENEVA ST                                                                             HIGHLAND PARK      MI   48203‐2651
ODIE SKEEN             703 DIVOT CT                                                                               SAINT AUGUSTINE    FL   32080‐9173
ODIER, JOHANNA M       6708 W MAPLE GROVE RD                                                                      HUNTINGTON         IN   46750‐8926
ODIES WILSON JR        2401 N 83RD TER                                                                            KANSAS CITY        KS   66109‐2142
ODIGIE, VICTOR U       575 SLOCUM DR                                                                              AUBURN HILLS       MI   48326‐3841
ODIL, JAMES R          2660 LANSDOWNE RD                                                                          WATERFORD          MI   48329‐2942
ODILA MANDUJANO        APT 31                           650 HARRISON BOULEVARD                                    LINCOLN PARK       MI   48146‐4368
ODILE TROMBLEY         3351 SHERWOOD RD                                                                           BAY CITY           MI   48706‐1527
ODILIA BRUBAKER        8599 N FISHTRAP LAKE RD                                                                    WINTER             WI   54896
ODILIA HARRIS          800 E COURT ST APT 133                                                                     FLINT              MI   48503‐6211
ODILON HUERTA          2239 BRAE LN                                                                               LEAGUE CITY        TX   77573‐2703
ODIN FINK              307 PEARL ST                                                                               JANESVILLE         WI   53548
ODINA, OLADAYO O       2899 E. BIG BEAVER #143                                                                    TROY               MI   48083
ODIO, MANUEL A         2100 CASCADE DR                                                                            CORONA             CA   92879‐7760
ODIO, REINALDO R       14262 160 TERRA                                                                            MIAMI              FL   33177
ODIORNE, DAVID B       5344 MILLS HWY                                                                             EATON RAPIDS       MI   48827‐9024
ODIS ADKINS            5301 COTTEY ST                                                                             FORT WORTH         TX   76105‐4518
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Name                      Address1                            Address2                      Address3         Address4             City            State Zip
ODIS ALEXANDER            8425 N DORT HWY                                                                                         MOUNT MORRIS     MI 48458‐1212
ODIS BROWN                34854 MORADIAN DR                   APT 114                                                             STERLING         MI 48312
ODIS C ADKINS             5301 COTTEY ST                                                                                          FORT WORTH       TX 76105‐4518
ODIS C ADKINS             2750 FORT APACHEE TRL                                                                                   DACULA           GA 30019‐4854
ODIS CANADAY              PO BOX 7881                                                                                             FLINT            MI 48507‐0881
ODIS CHEATOM              5015 M L KING AVE                                                                                       FLINT            MI 48505‐3341
ODIS CLARK                436 OAKWOOD TER                                                                                         CHICKAMAUGA      GA 30707‐2790
ODIS CROFT                1578 WESTPORT DR                                                                                        SAINT LOUIS      MO 63146‐3926
ODIS DAVIS                2639 TUXEDO ST                                                                                          DETROIT          MI 48206‐1123
ODIS DOYLE                819 WILLIAMS ST                                                                                         MIAMISBURG       OH 45342‐1761
ODIS F MATNEY             2461 N LONG LAKE RD                                                                                     FENTON           MI 48430‐8839
ODIS FELDER               112 DEVON RD                                                                                            ROCHESTER        NY 14619‐2404
ODIS GEORGE               C/O THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                         HOUSTON          TX 77701
ODIS GRAY                 214 SAGE RD E                                                                                           WHITE HOUSE      TN 37188‐9129
ODIS GRAY                 501 MARANGO ST                                                                                          FLINT            MI 48505
ODIS HARRIS               421 ANTHEM RD                                                                                           STAR CITY        AR 71667‐9652
ODIS HINSON               3883 N 200 E                                                                                            ANDERSON         IN 46012‐9584
ODIS HOUSTON              10221 EDGEFIELD DR                                                                                      SAINT LOUIS      MO 63136‐5621
ODIS JACKSON              C/O EDWARD O MOODY PA               801 WEST 4TH STREET                                                 LITTLE ROCK      AR 72201
ODIS JOHNSON              1668 MOCKINGBIRD LN                                                                                     ANDERSON         IN 46013‐9644
ODIS KNIGHT               18061 TEPPERT ST                                                                                        DETROIT          MI 48234‐3858
ODIS L DOYLE              819 WILLIAMS ST                                                                                         MIAMISBURG       OH 45342‐1761
ODIS MULLINIX             1232 KING MOUNTAIN RD                                                                                   JAMESTOWN        TN 38556‐6441
ODIS MURPHY               PO BOX 5133                                                                                             FLINT            MI 48505‐0133
ODIS PHIPPS               7824 KY 1232                                                                                            CORBIN           KY 40701‐6268
ODIS RIGDON               9341 PLEASANT RIDGE RD                                                                                  COLLINSVILLE     MS 39325‐9120
ODIS ROGERS               C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS       OH 44236
ODIS SCALES               6708 WENDY SUE DR                                                                                       HUBER HEIGHTS    OH 45424‐3438
ODIS SMITH                15675 HELEN ST                                                                                          SOUTHGATE        MI 48195‐2018
ODIS SMITH JR             330 WALDORF AVE.                                                                                        ROCHESTER        NY 14606‐3738
ODIS SUMLER               382 UNIVERSITY DR                                                                                       PONTIAC          MI 48342‐2461
ODIS TAYLOR JR            PO BOX 69                                                                                               TIMBO            AR 72680‐0069
ODIS WILKERSON            4739 WARWICK DRIVE                                                                                      GAINESVILLE      GA 30506‐4613
ODIS WOOLRIDGE            9417 MANCHESTER AVE                                                                                     KANSAS CITY      MO 64138‐4262
ODISHAW & ODISHAW         ATTN: BEN GUIDO                     2200 SUNLIFE PL               10123 99 ST NW   EDMONTON AB CANADA
                                                                                                             T5J 3H1
ODISHOOE, FREDERICK       2518 STONEBROOK DR                                                                                      DAVISON         MI   48423‐8620
ODISHOOE, FREDERICK J     7018 DONELSON TRL                                                                                       DAVISON         MI   48423‐2320
ODISHOOE, FREDERICK JAY   7018 DONELSON TRL                                                                                       DAVISON         MI   48423‐2320
ODIST SMITH               PO BOX 19082                                                                                            FORT WORTH      TX   76119‐1082
ODISTER, KENNETH B        740 ELLSWORTH DR                                                                                        TROTWOOD        OH   45426‐2516
ODISTER, ONEAL            2433 CLIFTON SPRINGS MNR                                                                                DECATUR         GA   30034‐3734
ODISTER, RONALD           6146 WEYBRIDGE DR                                                                                       TROTWOOD        OH   45426‐1440
ODITH CLARK               14964 SEACRIST RD                                                                                       SALEM           OH   44460‐7607
ODITT, CATHERINE          65 DOVER STREET                                                                                         DAYTON          OH   45410‐1851
ODITT, ELIZABETH J        77 MARCUM DR                                                                                            BEATTYVILLE     KY   41311‐9107
ODITT, GLEN E             8747 FRANKLIN TRENTON RD                                                                                FRANKLIN        OH   45005‐3934
ODITT, JIMMY              6888 WAYNE TRACE                                                                                        SOMERVILLE      OH   45064‐9491
ODLE JR, EDWIN H          128 APOLLO AVE                                                                                          FLUSHING        MI   48433‐9304
ODLE JR, JOHN E           1015 FARNUM AVE                                                                                         FLINT           MI   48503‐3122
ODLE, BRENT A             1728 BRUCE LN                                                                                           ANDERSON        IN   46012‐1906
ODLE, CARSON L            701 COOL SPRINGS RD                                                                                     MORGANTOWN      KY   42261‐9316
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ODLE, DAWN A                     1930 DONNA DR                                                                                 ANDERSON            IN 46017‐9698
ODLE, JAMES O                    5217 FM 1840                                                                                  NEW BOSTON          TX 75570‐5512
ODLE, JOANNE M                   3200 N. RANGE RD                                                                              PORT HURON          MI 48060‐1610
ODLE, JOANNE M                   3200 RANGE RD                                                                                 PORT HURON          MI 48060‐1610
ODLE, LORI J                     3360 HIDDEN RIDGE DR                                                                          DEWITT              MI 48820‐8767
ODLE, MICHAEL K                  3360 HIDDEN RIDGE DR                                                                          DEWITT              MI 48820‐8767
ODLE, REBECCA L                  522 SYCAMORE LN                                                                               EAST LANSING        MI 48823‐4431
ODLE, ROBERT J                   4546 MAIN ST                                                                                  GASPORT             NY 14067‐9371
ODLE, ROBERT L                   112 SASSY LANE                                                                                INVERNESS           FL 34450‐4206
ODLE, VIRGINIA W                 1835 S 700 E                                                                                  ELWOOD              IN 46036‐8437
ODLING, JON E                    10148 ARAGON DR                                                                               WACO                TX 76708
ODLUM, ZELMA F                   3101 PARTRIDGE POINT RD                                                                       ALPENA              MI 49707‐5173
ODM TOOL & MFG CO INC            9550 JOLIET RD                   PO BOX 1529                                                  HODGKINS             IL 60525‐4148
ODNEAL JR, J B                   375 WARREN ST                                                                                 FLINT               MI 48505‐4349
ODNEAL WILLIE                    311 W HOPKINS AVE                                                                             PONTIAC             MI 48340‐1719
ODNEAL, ANNIE M                  8 CHARLES LN                                                                                  PONTIAC             MI 48341‐2925
ODNEAL, BILLIE L                 2320 WOODROW WILSON BLVD APT 3                                                                WEST BLOOMFIELD     MI 48324‐1712
ODNEAL, CARRIE W                 530 BLOOMFIELD                                                                                PONTIAC             MI 48341‐2808
ODNEAL, CHARLES L                195 WITTMAN DR                                                                                PETERSBURG          MI 49270‐9502
ODNEAL, CHARLIE C                591 1ST AVE                                                                                   PONTIAC             MI 48340‐2806
ODNEAL, CLARICE                  123 WILLARD ST                                                                                PONTIAC             MI 48342‐3075
ODNEAL, CURTIS                   1910 14TH AVE N                                                                               NASHVILLE           TN 37208
ODNEAL, DEWAYNE D                530 BLOOMFIELD AVE                                                                            PONTIAC             MI 48341‐2808
ODNEAL, EDDIE L                  199 E SILVERBELL RD                                                                           LAKE ORION          MI 48360‐2525
ODNEAL, JENNIFER K               APT 1616                         2901 SOUTH KING DRIVE                                        CHICAGO              IL 60616‐3349
ODNEAL, JOHN B                   PO BOX 19381                                                                                  DETROIT             MI 48219‐0381
ODNEAL, JOHN D                   187 N ADAMS RD                                                                                BIRMINGHAM          MI 48009‐5988
ODNEAL, MARY                     204 CEDARDALE AVE                                                                             PONTIAC             MI 48341‐2724
ODNEAL, MATTIE L                 252 RUSSELL ST                                                                                PONTIAC             MI 48342‐3375
ODNEAL, RONALD L                 530 BLOOMFIELD AVE                                                                            PONTIAC             MI 48341‐2808
ODNEAL, TOM                      180 BLOOMFIELD BLVD                                                                           BLOOMFIELD HILLS    MI 48302‐0508
ODNEAL, VERLINDA J               2715 BERKLEY ST                                                                               FLINT               MI 48504‐3372
ODNEAL, WESA M                   199 E SILVERBELL RD                                                                           LAKE ORION          MI 48360‐2525
ODNEAL, ZANE G                   123 WILLARD ST                                                                                PONTIAC             MI 48342‐3075
ODNEY, MARK H                    2951 WHEELER RD                                                                               BAY CITY            MI 48706‐9294
ODOGUARDI, JEROME F              4566 SHEFFIELD DR                                                                             AUSTINTOWN          OH 44515‐5352
ODOHERTY, KAREN L                2305 HUNTINGTON DR                                                                            ARLINGTON           TX 76010‐7724
ODOL WALTER J (300807)           BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG , 233 EAST                               JACKSONVILLE        FL 32202
                                 MCCLAMMA & YEGELWEL P.A.         BAY STREET
ODOL, WALTER J                   BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                                JACKSONVILLE        FL   32202
                                 MCCLAMMA & YEGELWEL P.A.         BAY STREET
ODOM BEN                         2475 VILLA DR NW                                                                              CLEVELAND          TN    37312‐2522
ODOM BILLY                       ODOM, BILLY                      831 DESOTO ST                                                ALEXANDRIA         LA    71301‐7634
ODOM BILLY                       ODOM, KEESHA                     831 DESOTO ST                                                ALEXANDRIA         LA    71301‐7634
ODOM CHARLES C (494062)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA    23510
                                                                  STREET, SUITE 600
ODOM CHEVROLET, INC.             130 GREENSBORO ST                                                                             EUTAW               AL   35462‐5400
ODOM CHEVROLET, INC.             MARK ODOM                        130 GREENSBORO ST                                            EUTAW               AL   35462‐5400
ODOM EDWARD MORGAN JR (424851)   BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                               DALLAS              TX   75219
ODOM FRANK                       ODOM, FRANK
ODOM I I I, WILLIAM T            6213 SUGARBERRY LN                                                                            TOLEDO             OH 43615‐5748
ODOM III, WILLIAM T              6213 SUGARBERRY LN                                                                            TOLEDO             OH 43615‐5748
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ODOM JAMES               102 PRESTWICK CT                                                                               BROUSSARD            LA 70518‐6152
ODOM JONATHAN            MASSOMGA, KEVIN                    4403 PENDOT LN                                              FRIENDSWOOD          TX 77546‐4232
ODOM JONATHAN            ODOM, JONATHAN                     4403 PENDOT LN                                              FRIENDSWOOD          TX 77546‐4232
ODOM JR, DOZIER          214 E YORK AVE                                                                                 FLINT                MI 48505‐2147
ODOM JR., HERMON W       1716 BAYLOR AVE                                                                                BAY CITY             TX 77414‐4618
ODOM MARVIN J (345313)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510
                                                            STREET, SUITE 600
ODOM MICHAEL             MPO ENTERPRISES                    310 CHANEY ST                                               WINGATE             NC   28174‐6711
ODOM PAIGE               102 GAYOSO DR                                                                                  CARUTHERSVILLE      MO   63830‐1232
ODOM PATRICIA            ODOM, PATRICIA                     850 COUNTY RD 57                                            HALEYVILLE          AL   35565‐6233
ODOM PHYLLIS             1991 CHITTENDEN RD                                                                             SAN JUAN BAUTISTA   CA   95045‐9660
ODOM THOMAS C (429558)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510
                                                            STREET, SUITE 600
ODOM, AARON J            242 MESA TRL                                                                                   SPARTA              TN   38583‐2979
ODOM, ALICE M            8646 CO LINE RD                                                                                SPARTA              IL   62286‐4002
ODOM, ANTHONY B          4717 WISNER ST                                                                                 FLINT               MI   48504‐2091
ODOM, ANTHONY BERNARD    4717 WISNER ST                                                                                 FLINT               MI   48504‐2091
ODOM, BILLY B            535 CHURCH ST                                                                                  SAREPTA             LA   71071‐3109
ODOM, BRADY              1052 VIVIAN TRAIL                                                                              FLINT               MI   48532‐3249
ODOM, BRADY              1052 VIVIAN TRL                                                                                FLINT               MI   48532‐3249
ODOM, BRENDAL L          653 E ELDRIDGE AVE                                                                             FLINT               MI   48505‐5338
ODOM, CHARLES C          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510‐2212
                                                            STREET, SUITE 600
ODOM, CHARLES F          101 ASHLEY ST                                                                                  ALVORD              TX   76225‐5639
ODOM, CHARLES L          LEE WILLIAM L JR                   PO BOX 14047                                                JACKSON             MS   39236‐4047
ODOM, CHARLIE            653 E ELDRIDGE AVE                                                                             FLINT               MI   48505‐5338
ODOM, CLAUD J            3237 N DEQUINCY ST                                                                             INDIANAPOLIS        IN   46218‐2342
ODOM, DAN                5525 S CLARENDON ST                                                                            DETROIT             MI   48204‐2928
ODOM, DARRIS A           521 ANDENWOOD CT                                                                               EVERMAN             TX   76140‐4701
ODOM, DAVID              1911 NORMAN RD                                                                                 NEWTON              MS   39345‐9775
ODOM, DAVID D            4333 E SHORE DR NE                                                                             KALKASKA            MI   49646‐9096
ODOM, DAVID H            320 SOUTH UCLID AVE                                                                            DAYTON              OH   45402
ODOM, DAVID L            5880 RIDGEWOOD RD APT C                                                                        JACKSON             MS   39211
ODOM, DIMPLE D           3760 CONWAY DR                                                                                 COLUMBUS            OH   43227‐3323
ODOM, DON                PORTER & MALOUF PA                 4670 MCWILLIE DR                                            JACKSON             MS   39206‐5621
ODOM, DONALD R           515 W MADISON ST                                                                               ALEXANDRIA          IN   46001‐1513
ODOM, DOROTHY H          PO BOX 228                                                                                     OPELIKA             AL   36803‐0228
ODOM, DOYLE O            353 BRANNON RD                                                                                 GREENBRIER          AR   72058‐9649
ODOM, EARNESTINE J       PO BOX 1564                                                                                    WASKOM              TX   75692‐1564
ODOM, EDWARD MORGAN      BARON & BUDD                       3102 OAK LANE AVE, SUITE 1100                               DALLAS              TX   75219
ODOM, ELIZABETH          1337 RIDGEDALE DR                                                                              RICHMOND            IN   47374‐1126
ODOM, ELIZABETH          MUNCIE HEALTH AND REHABILITATION   4301 N WALNUT ST                                            MUNCIE              IN   47303
                         CENTER
ODOM, ELLEASE Z          1364 W HUMPHREY AVE                                                                            FLINT               MI   48505‐1027
ODOM, ELLEN              PORTER & MALOUF PA                 4670 MCWILLIE DR                                            JACKSON             MS   39206‐5621
ODOM, ESTHER D           310 CHISM TRAIL APT 211                                                                        ROUND ROCK          TX   78681
ODOM, ESTHER P           3627 ENFIELD RD                                                                                CHARLOTTE           NC   28205‐4409
ODOM, FONZIE E           305 SPRING RD                                                                                  COVINGTON           GA   30016‐1786
ODOM, FONZIE E           305 SPRING ROAD                                                                                COVINGTON           GA   30016‐1786
ODOM, FRANCIS R          1911 NORMAN RD                                                                                 NEWTON              MS   39345‐9775
ODOM, FRANK              7061 SENATOR ST                                                                                DETROIT             MI   48209‐1546
ODOM, GRANT R            3265 WHITNEY AVE                                                                               FLINT               MI   48532‐5154
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ODOM, GUY              4395 HIRAM LITHIA SPGS R                                                                 POWDER SPRINGS    GA 30127
ODOM, HELEN L          2357 SANDY LN                                                                            ALPENA            MI 49707
ODOM, HELGA            980 MOLDOVIA DR                                                                          WHITE LAKE        MI 48386‐4511
ODOM, HENRY L          302 E JOPPA RD                                                                           TOWSON            MD 21286
ODOM, HOUSTON E        PO BOX 1564                                                                              WASKOM            TX 75692‐1564
ODOM, IDA M            3225 W 30TH ST                                                                           INDIANAPOLIS      IN 46222‐2136
ODOM, IDELLA           5136 MCKELLAR WOODS DR APT 3                                                             MEMPHIS           TN 38116
ODOM, J B
ODOM, JAMES            PORTER & MALOUF PA             4670 MCWILLIE DR                                          JACKSON          MS   39206‐5621
ODOM, JAMES E          19311 SCHAEFER HWY                                                                       DETROIT          MI   48235‐1275
ODOM, JAMES G          5108 STATE ROUTE 131                                                                     HICKORY          KY   42051‐8614
ODOM, JAMES H          514 WISSAHICKON AVE                                                                      CEDARTOWN        GA   30125‐2532
ODOM, JAMES R          4333 UNION CHURCH RD                                                                     MCDONOUGH        GA   30252‐8132
ODOM, JEFFERY S        3528 TRACEY DRIVE                                                                        DULUTH           GA   30096‐3861
ODOM, JERRY P          610 THEOS LOGOS                                                                          CHESTER          SC   29706
ODOM, JEWEL M          PO BOX 90623                                                                             BURTON           MI   48509‐0623
ODOM, JOHN E           5960 W HILLCREST DR                                                                      FRANKTON         IN   46044‐9483
ODOM, JOHN G           5601 DUNCAN RD APT 128                                                                   PUNTA GORDA      FL   33982
ODOM, JOHN L           13515 SAMMY ST                                                                           DEFIANCE         OH   43512‐8871
ODOM, JOHN LEE         13515 SAMMY ST                                                                           DEFIANCE         OH   43512‐8871
ODOM, JONATHAN         240 EL DORADO BLVD APT 1102                                                              WEBSTER          TX   77590
ODOM, JONATHAN         11810 ALGONQUIN DR APT 216                                                               HOUSTON          TX   77089‐6266
ODOM, JOYCE            251 COPS CREEK RD.                                                                       BUTLER           TN   37640‐9564
ODOM, JOYCE E          10915 MURR WAY                                                                           HOUSTON          TX   77048‐1525
ODOM, KENNETH L        1386 WHISTLE VALLEY RD                                                                   NEW TAZEWELL     TN   37825‐6313
ODOM, KENNETH W        2327 PONTOON RD                                                                          GRANITE CITY     IL   62040‐4022
ODOM, KEVIN            BARON LAW FIRM                 1515 SW 5TH AVE STE 808                                   PORTLAND         OR   97201‐5447
ODOM, KEVIN EARL
ODOM, LAWANA           PO BOX 391733                                                                            SNELLVILLE       GA   30039‐0029
ODOM, LAWRENCE D       2609 NORWOOD LN                                                                          ARLINGTON        TX   76013‐1246
ODOM, LEONOR           4562 SUNFLOWER CIR                                                                       CLARKSTON        MI   48346‐4956
ODOM, MARTY LLOYD      SHANNON LAW FIRM               100 W GALLATIN ST                                         HAZLEHURST       MS   39083‐3007
ODOM, MARVIN J         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                      STREET, SUITE 600
ODOM, MARY A           PO BOX 417                                                                               COLLINSVILLE     MS   39325‐0417
ODOM, MERRILEE         PO BOX 714                                                                               MOUNT MORRIS     MI   48458‐0714
ODOM, MICHAEL          630 KIMBERTON DR                                                                         FORT WAYNE       IN   46816‐1151
ODOM, MICHELLO         6941 ROGERS PT                                                                           LITHONIA         GA   30058‐7057
ODOM, NAPOLEON         610 W JAMIESON ST                                                                        FLINT            MI   48505‐4060
ODOM, ODELL            4934 TUDOR AVE                                                                           E SAINT LOUIS    IL   62207‐1325
ODOM, ORALEEN          21307 ITHACA AVE                                                                         FERNDALE         MI   48220‐2156
ODOM, PAIGE            102 GAYOSO DR                                                                            CARUTHERSVILLE   MO   63830‐1232
ODOM, PAMELA R         1418 HATCHCOVER CIR                                                                      JONESBORO        GA   30238‐6520
ODOM, PATRICIA         850 COUNTY RD 57                                                                         HALEYVILLE       AL   35565‐6233
ODOM, RANDALL C        743 MAPLEWOOD LN               UNIT 7                                                    KEWADIN          MI   49648
ODOM, RANDALL C        110 AMES ST 13                                                                           ELK RAPIDS       MI   49629
ODOM, RONALD D         879 E INMAN PKWY                                                                         BELOIT           WI   53511‐1743
ODOM, RONALD R         2423 SUNSET BLVD                                                                         ANDERSON         IN   46013‐2246
ODOM, RONNIE J         1600 NANDINA DR APT 1724                                                                 ARLINGTON        TX   76014‐4255
ODOM, RONNIE JEFFERY   1600 NANDINA DR APT 1724                                                                 ARLINGTON        TX   76014‐4255
ODOM, RUSSELL G        11777 CHARLOTTE HWY                                                                      PORTLAND         MI   48875‐9496
ODOM, SCOTT K          1515 E 400 N                                                                             ANDERSON         IN   46012‐9396
                                      09-50026-mg             Doc 7123-30    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                 Address1                         Address2                        Address3   Address4         City              State Zip
ODOM, SEAN                           2323 LONG REACH DR APT 2106                                                                  SUGAR LAND         TX 77478‐4191
ODOM, SHERI L                        743 MAPLEWOOD LN UNIT 4          UNIT 7                                                      KEWADIN            MI 49648‐9407
ODOM, SUSAN                          1376 MONTEREY RD                                                                             FLORENCE           MS 39073‐9707
ODOM, TAMERA                         2348 MAGNOLIA DR                                                                             LITTLE ELM         TX 75068‐5679
ODOM, TERRANCE J                     2879 CHANCERY CT                                                                             ROCHESTER HILLS    MI 48306‐3017
ODOM, THERESA J                      5210 SUSAN ST                                                                                FLINT              MI 48505‐2578
ODOM, THERESE M                      11242 RIPPLING MEADOWS DR                                                                    HOUSTON            TX 77064‐4503
ODOM, THOMAS C                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                                      STREET, SUITE 600
ODOM, THOMAS W                       221 NESMITH ST SW                                                                            HARTSELLE         AL   35640‐5228
ODOM, TIMOTHY L                      747 MOON RD APT A                                                                            COLUMBUS          OH   43224‐3183
ODOM, TOMMY R                        8226 KENSINGTON BLVD APT 277                                                                 DAVISON           MI   48423‐2932
ODOM, TROY A.                        8155 NORTH OAKLEY AVENUE                                                                     KANSAS CITY       MO   64119‐7838
ODOM, VANNA L                        2913 S 700 E                                                                                 ELWOOD            IN   46036‐8469
ODOM, WALTER L                       653 E ELDRIDGE AVE                                                                           FLINT             MI   48505‐5338
ODOM, WANDA M                        9712 N 400 E                                                                                 ALEXANDRIA        IN   46001‐8278
ODOM, WILLIAM                        5384 WARWICK TRL                                                                             GRAND BLANC       MI   48439‐9578
ODOM, WILLIAM F                      87 GORE RD                                                                                   LAWRENCEBURG      TN   38464‐7021
ODOM, WILLIAM M                      5571 CARY DR                                                                                 YPSILANTI         MI   48197‐6766
ODOM, WILLIAM MCHENRY                5571 CARY DRIVE                                                                              YPSILANTI         MI   48197‐6766
ODOM, YVONNE B                       5960 W HILLCREST DR                                                                          FRANKTON          IN   46044‐9483
ODOMS, BOBBY                         733 SPRING ST                                                                                TOLEDO            OH   43608‐2553
ODOMS, CHARLES L                     2092 GREENFIELD RD                                                                           BERKLEY           MI   48072‐1025
ODOMS, FLORENCE C                    19165 SANTA BARBARA DR                                                                       DETROIT           MI   48221‐1624
ODOMS, GERALDEAN G                   1047 WILLIAMSON ST S                                                                         FAIRFAX           SC   29827
ODOMS, JOANN                         104 CAROL LN                                                                                 TOLEDO            OH   43615‐6021
ODOMS, JOHN E                        952 HIALEA CT                                                                                HOLLAND           OH   43528‐7006
ODOMS, KENNETH                       SHANNON LAW FIRM                 100 W GALLATIN ST                                           HAZLEHURST        MS   39083‐3007
ODOMS, MUDLIA LEE                    SHANNON LAW FIRM                 100 W GALLATIN ST                                           HAZLEHURST        MS   39083‐3007
ODOMS, SHARLINE                      24712 PEMBROOKE DR                                                                           SOUTHFIELD        MI   48033‐3163
ODONELL, JAIME                       1571 FOX FARM ROAD                                                                           TRINIDAD          CA   95570‐9734
ODONNELL ALICIA                      FRIGAARD BURGESS, KRISTINA       2700 NORTH CENTRAL AVENUE                                   PHOENIX           AZ   85004
                                                                      SUITE 1400
ODONNELL ALICIA                      ODONNELL, ALICIA                 2700 N CENTRAL AVE STE 1400                                 PHOENIX           AZ   85004‐1176
ODONNELL ALICIA                      ODONNELL, JOHN                   2700 NORTH CENTRAL AVENUE                                   PHOENIX           AZ   85004
                                                                      SUITE 1400
ODONNELL CRAIG D                     5419 W CULLOM AVE                                                                            CHICAGO           IL 60641‐1313
ODONNELL DENNIS (436506) ‐ O'DONNELL ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST , THE                                  PHILADELPHIA      PA 19107
DENNIS                                                                WANAMAKER BUILDING
ODONNELL HARRY L (629592)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                                      STREET, SUITE 600
ODONNELL HENRY                       5410 WARMAN LN                                                                               TEMPLE CITY       CA 91780‐3254
ODONNELL JACK G (629593)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                                      STREET, SUITE 600
ODONNELL JAMES DENNIS                42195 FAIRVIEW DR                                                                            CANTON            MI   48187‐3741
ODONNELL JAMES R                     222 MARENGO DR                                                                               TEMPERANCE        MI   48182‐9334
ODONNELL JR, JOHN F                  9603 AMBERLEIGH LN APT G                                                                     PERRY HALL        MD   21128‐9599
ODONNELL JR, WILLIAM D               1046 MESA VERDE CT                                                                           CLERMONT          FL   34711‐6229
ODONNELL MARY                        106 S BOBBY LN                                                                               MOUNT PROSPECT    IL   60056‐2965
ODONNELL PATRICK J                   ODONNELL, PATRICK J              2325 GRANT BUILDING 310 GRANT                               PITTSBURGH        PA   15219
                                                                      STREET
ODONNELL REALTY LLC                  C/O FIRST MARINER BANK           106 TAPLOW RD                                               BALTIMORE         MD 21212‐3312
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Name                             Address1                         Address2                      Address3   Address4         City               State Zip
ODONNELL STEEL CO                3212 LAKESIDE AVE E                                                                        CLEVELAND           OH 44114‐3750
ODONNELL, AIDAN P                2702 THOMAS ST                                                                             FLINT               MI 48504‐4532
ODONNELL, ALICIA
ODONNELL, ALICIA                 LINDA WILLIAMSON                 2700 N CENTRAL AVE STE 1400                               PHOENIX            AZ 85004‐1176
ODONNELL, BERNARD E              1221 W 500 N                                                                               ANDERSON           IN 46011‐9225
ODONNELL, CHARLES                DURST LAW FIRM PC                319 BROADWAY                                              NEW YORK           NY 10007
ODONNELL, DANIEL                 NO ADDRESS IN FILE
ODONNELL, ELLEN                  DURST LAW FIRM PC                319 BROADWAY                                              NEW YORK           NY   10007
ODONNELL, ERNA P                 2408 E 7TH ST                                                                              BLOOMINGTON        IN   47408‐4202
ODONNELL, GARY J                 340 NEWCOMB N B 2                                                                          WHITEWATER         WI   53190
ODONNELL, HARRY L                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
ODONNELL, IRENE                  101 LUTHER DR                                                                              MANCHESTER         NJ 08759‐6211
ODONNELL, IRENE L                15304 CHATFIELD AVE                                                                        CLEVELAND          OH 44111‐4307
ODONNELL, JACK G                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
ODONNELL, JAMES R                222 MARENGO DR                                                                             TEMPERANCE         MI   48182‐9334
ODONNELL, JAMES ROBERT           222 MARENGO DR                                                                             TEMPERANCE         MI   48182‐9334
ODONNELL, JOHN                   LUCIA STARK WILLIAMSON LLP       2700 N CENTRAL AVE STE 1400                               PHOENIX            AZ   85004‐1176
ODONNELL, JOHN A                 1506 W SUTTON RD                                                                           METAMORA           MI   48455‐9616
ODONNELL, JOSEPH E               7500 MIKE CT                                                                               N RICHLND HLS      TX   76180‐6742
ODONNELL, KATHLEEN A             10006 CIRCLEWOOD DR                                                                        FORT WAYNE         IN   46804‐4615
ODONNELL, KIMBERLY A             2459 CHELSEA DR                                                                            TROY               MI   48084‐1208
ODONNELL, MARY                   17 MILL ST APT 321                                                                         ARLINGTON          MA   02476‐4747
ODONNELL, MICHAEL                109 MAIN ST                                                                                TAUNTON            MA   02780‐2734
ODONNELL, MICHAEL E              3387 EVERETT HULL RD                                                                       CORTLAND           OH   44410‐9706
ODONNELL, PATRICK                1018 MOORE ST                                                                              BELOIT             WI   53511‐5042
ODONNELL, PATRICK J              11910 ESTY WAY                                                                             CARMEL             IN   46033
ODONNELL, PATRICK J              250 S TOMAHAWK RD                SPC 125                                                   APACHE JUNCTION    AZ   85219
ODONNELL, PAUL E                 9212 CAIN DR NE                                                                            WARREN             OH   44484‐1709
ODONNELL, RICHARD J              8493 STAMFORD DR                                                                           YPSILANTI          MI   48198‐9622
ODONNELL, TERRY                  5866 N COUNTY ROAD 250 E                                                                   PITTSBORO          IN   46167‐9335
ODONNELL, THOMAS                 6971 CLINTON ST                                                                            ELMA               NY   14059‐9722
ODONNELL, THOMAS F               533 N CHERRY ST                                                                            CELINA             OH   45822‐1512
ODONNELL, TIMOTHY M              16732 LUDLOW ST                                                                            GRANADA HILLS      CA   91344‐5135
ODONNELL, VIRGINIA I             925 SOUTH RIVER ROAD             APT B11                                                   ENGLEWOOD          FL   34223
ODONNELL, WILLIAM T              6221 CO ROAD 612                                                                           LEWISTON           MI   49756
ODONOHUE, LAURALEE               1822 BIRCH CREST ROAD                                                                      WATERFORD          MI   48328
ODONOHUE, LAURALEE               1822 BIRCHCREST RD                                                                         WATERFORD          MI   48328‐1600
ODOR SCIENCE & ENGINEERING INC
ODOR SCIENCE & ENGINEERING INC   1350 BLUE HILLS AVE                                                                        BLOOMFIELD         CT   06002
ODOR SCIENCE/BLOOMFI             1350 BLUE HILLS AVENUE                                                                     BLOOMFIELD         CT   06002
ODOR, CHRIS LOYD                 870 CARMEN LN                                                                              GREENWOOD          IN   46143‐2517
ODORICO, JEFFERY J               2777 S LAKE PLEASANT RD                                                                    METAMORA           MI   48455‐9264
ODORISIO, LAWRENCE E             115 ELMUR DR APT 57                                                                        GREENSBURG         PA   15601‐6163
ODORIZZI, BETTY J                2101 APALACHEE TRL                                                                         MONROE             GA   30656‐4414
ODORIZZI, DOREEN V               6573 NORTHVIEW DR                                                                          CLARKSTON          MI   48346‐1529
ODOSKA HURST                     2700 ELIZABETH LAKE RD APT 231                                                             WATERFORD          MI   48328‐3283
ODOWD, ROGER A                   8041 MEADOW BEND LN                                                                        INDIANAPOLIS       IN   46259‐6775
ODOWSKI DAVID                    4325 NW 13TH ST                                                                            GAINESVILLE        FL   32609‐1804
ODRA ROSENBECK                   8640 BUNCOMBE RD                                                                           SHREVEPORT         LA   71129‐9766
ODRAS SANDRA P                   32060 DOHANY DR                                                                            FARMINGTON HILLS   MI   48336‐1820
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Name                            Address1                         Address2              Address3       Address4                City               State Zip
ODREN STRONG                    120 S COUNTY ROAD 400 E                                                                       MUNCIE              IN 47302‐9229
ODREN, EDWARD S                 G‐7145 W CARPENTER RD                                                                         FLUSHING            MI 48433
ODREN, FREDERICK D              1565 8 MILE RD NW                                                                             COMSTOCK PARK       MI 49321‐9722
ODREN, FREDERICK D.             1565 8 MILE RD NW                                                                             COMSTOCK PARK       MI 49321‐9722
ODREN, LYDIA L                  7145 CARPENTER RD                                                                             FLUSHING            MI 48433‐9032
ODREN, MICHAEL E                9484 ASPEN VIEW DR                                                                            GRAND BLANC         MI 48439‐8037
ODREN, MICHAEL EDWARD           9484 ASPEN VIEW DR                                                                            GRAND BLANC         MI 48439‐8037
ODRI, ALICE M                   634 WOOD DR                                                                                   KISSIMMEE           FL 34759‐4126
ODRIOZOLA, MARIA M              18600 COLIMA RD                  APT# Y104                                                    ROWLAND HEIGHTS     CA 91748
ODRIOZOLA, MARIA M              18600 COLIMA RD APT Y104                                                                      ROWLAND HEIGHTS     CA 91748‐2870
ODROBINA, BERNICE M             16845 LINCOLN AVE                                                                             EASTPOINTE          MI 48021‐3087
ODRZYWOLSKI, ALBERTA A          6129 CROSBY RD                                                                                LOCKPORT            NY 14094‐7949
ODST DEAN                       PO BOX 194                                                                                    LESTERVILLE         MO 63654‐0194
ODUM JR, ALVIN                  PO BOX 217                                                                                    FITZGERALD          GA 31750‐0217
ODUM, ALAN R                    2014 SAINT FRANCIS AVE                                                                        NILES               OH 44446‐4546
ODUM, JENNIFER M                # 36                             18189 PINE WEST                                              BROWNSTOWN          MI 48193‐8316
ODUM, JENNIFER M                8621 MONROE BLVD                                                                              TAYLOR              MI 48180‐7211
ODUM, KEVIN G                   9851 ROSEDALE BLVD                                                                            ALLEN PARK          MI 48101‐1307
ODUM, KEVIN G.                  9851 ROSEDALE BLVD                                                                            ALLEN PARK          MI 48101‐1307
ODUM, NATHANIEL                 7909 SOUTHVIEW DR                                                                             GRANDVIEW           MO 64030‐1455
ODUM, PEGGY A                   6004 S BENTON AVE                                                                             KANSAS CITY         MO 64130‐3761
ODUM, ROY L                     100 SHARP MOUNTAIN PKWY                                                                       JASPER              GA 30143‐4846
ODUM, RUTH E                    836 HODAPP AVE                                                                                DAYTON              OH 45410‐2905
ODUMODU, KENNEDY U              1948 HARLEY CT                                                                                ANN ARBOR           MI 48103‐8980
ODUMS, FREDDIE                  8‐165 SERVILLE POINTE COURT                                                                   PONTIAC             MI 48340
ODUMS, LOUISE                   8335 ZENITH DR                                                                                BALDWINSVILLE       NY 13027‐6205
ODUNUGA, LOLA D                 309 VILLAGE DR                                                                                LANSING             MI 48911‐3760
ODUNUGA, LOLA DASHELL           309 VILLAGE DR                                                                                LANSING             MI 48911‐3760
ODUNUGA, MARY A                 PO BOX 27184                                                                                  LANSING             MI 48909‐7184
ODUNUGA, MOLARA                 2623 BEDFORD RD                                                                               LANSING             MI 48911‐1704
ODUS CALLAHAN                   66 OLD FARM RD                                                                                BEDFORD             IN 47421‐8458
ODUS CUMMINGS                   7838 MANN RD                                                                                  INDIANAPOLIS        IN 46221‐9642
ODUS G RUDD                     9169 MCQUIRE LANE                                                                             FRANKLIN            OH 45005‐1439
ODUS RICHESON                   6705 NW GRADEN RD                                                                             PARKVILLE           MO 64152‐2643
ODUS RUDD                       9169 MCGUIRE LN                                                                               FRANKLIN            OH 45005‐1439
ODUS VAUGHT                     9430 E GABLE CT                                                                               INVERNESS           FL 34450‐1916
ODUYEMI, SHARON Y               1335 PARMER DR                                                                                FLORISSANT          MO 63031‐1966
ODW LOGISTICS / DIST‐TRANS CO   DOUG MIGHT                       1580 WILLIAMS RD                                             COLUMBUS            OH 43207‐5183
ODWYER, MICHELLE L              29939 RICHMOND HL                                                                             FARMINGTON HILLS    MI 48334‐2332
ODYKIRK, RICHARD H              10180 E CLARENCE RD                                                                           HARRISON            MI 48625‐9037
ODYSSEY HOUSE                   C/O KIM SHUMAKER                 529 M L KING AVE                                             FLINT               MI 48502‐2002
ODYSSEY INDUSTRIES INC          3020 INDIANWOOD RD                                                                            LAKE ORION          MI 48362‐1113
ODYSSEY INTERNATIONAL LTD       PO BOX 22177 BAYERS RPO                                               HALIFAX CANADA NS B3L
                                                                                                      4T7 CANADA
ODYSSEY INTERNATIONAL LTD
OE CONNECTION                   4205 HIGHLANDER PKWY                                                                          RICHFIELD          OH   44286‐9077
OE CONNECTION LLC               CHARLE HAMLIN                    4150 HIGHLANDER PKY                                          WILLIS             TX   77378
OE FILTERS‐PUR053               3200 NATAL ST                                                                                 FAYETTEVILLE       NC   28306‐2845
OE PUSH RODS INC                DONALD A. EAREHART               150 GRAND AVENUE                                             LAPEER             MI   48446
OE SALES                        2750 LIPPINCOTT BLVD                                                                          FLINT              MI   48507
OE SUNSHADES LTD                UNIT 7A LONG STOOP WAY                                                MANSFIELD NG19 OFQ
                                                                                                      GREAT BRITAIN
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OE SUNSHADES/MANSFIE        UNIT 7A LONG STOOP WAY            CROWN FARM INDUSTRIAL PARK              MANSFIELD NO NG19 OFQ
                                                                                                      GREAT BRITAIN
OEB SRL                     MR. GROSSO                        VIA PAPA GIOVANNI XXIII 36                                     BOWLING GREEN     KY   42103
OEB SRL                     VIA PAPA GIOVANNI XXIII 36                                                LISSONE IT 20035 ITALY
OECHSLE, SHERYL H           2075 MEADOWS RD                                                                                  NEWBORN          GA    30056‐2685
OECHSLE, VICTOR L           1820 S COUNTY ROAD 525 E                                                                         AVON             IN    46123
OECHSLEIN, WAYNE K          1520 CRITCHFIELD DR                                                                              BRIDGEVILLE      PA    15017‐2634
OECHSLIN, BRENDA J          3603 HILLCREEK RD                                                                                LOUISVILLE       KY    40220‐2103
OECHSNER, DAPHNE D          1818 FOXBORO RD                                                                                  LA GRANGE        KY    40031‐9246
OECIA SWINNEY               2002 BOARDWALK PLACE DR APT 103                                                                  O FALLON         MO    63368‐3902
OECONNECTION                RON COILL ‐ CFO                   4205 HIGHLANDER PKWY                                           RICHFIELD        OH    44286‐9077
OECONNECTION LLC            ATTN: VICE PRESIDENT & CHIEF      4150 HIGHLANDER PARKWAY                                        RICHFIELD        OH    44286
                            ADMINISTRATIVE OFFICER
OECONNECTION LLC            CHARLE HAMLIN                     4150 HIGHLANDER PKY                                           WILLIS            TX    77378
OECONNECTION LLC            4150 HIGHLANDER PARKWAY                                                                         RICHFIELD         OH    44286
OECONNECTION LLC            4205 HIGHLANDER PKWY                                                                            RICHFIELD         OH    44286‐9077
OEDER, CHARLES K            606 BRYAN RD                                                                                    MILAN             OH    44846‐9594
OEDER, IRENE M              2034 PUTNAM ST                                                                                  SANDUSKY          OH    44870‐7708
OEDER, IRENE M              2034 PUTNAM STREET                                                                              SANDUSKY          OH    44870‐7708
OEDER, KENNETH G            2958 S ECKHARDT RD                                                                              BELLAIRE          MI    49615‐8441
OEDEWALDT, JUDITH L         172 WOODLANDS DR                                                                                HARRAH            OK    73045‐9425
OEFFNER, LEO J              1910 BAMBY LN                                                                                   MILFORD           MI    48381‐2107
OEFFNER, MARY J             4940 POLISH LINE ROAD                                                                           CHEYBOYGAN        MI    49721
OEHLBECK, CAROL L           321 VILLAGE WALK CIR                                                                            SPENCERPORT       NY    14559‐1446
OEHLBERG, CAROL             PO BOX 436                                                                                      SOMERSET CENTER   MI    49282
OEHLENSCHLAGER, RICHARD L   11180 N CASSEL RD                                                                               VANDALIA          OH    45377‐9432
OEHLER SR, MICHAEL F        603 DAKOTA PL                                                                                   DEFIANCE          OH    43512‐3695
OEHLER, BENJAMIN A          PO BOX 749                                                                                      REPUBLIC          WA    99166‐0749
OEHLER, KATHRYN J           603 DAKOTA PLACE                                                                                DEFIANCE          OH    43512
OEHLER, LINDA M             5848 46TH AVE S                                                                                 MINNEAPOLIS       MN    55417‐3026
OEHLER, STANLEY W           11106 HOFFMAN RD                                                                                FORT WAYNE        IN    46816‐9554
OEHLER, STEVEN H            1341 OLYMPIA DR                                                                                 ROCHESTER HILLS   MI    48306‐3738
OEHLERKING, ERIC A          PO BOX 696                                                                                      MADISON           MS    39130‐0696
OEHLERT, MILLIE S           4603 W 33RD AVE                                                                                 DENVER            CO    80212‐1803
OEHLMAN, LAWRENCE S         25153 OBELISK CT                                                                                PUNTA GORDA       FL    33983‐5944
OEHM, WILLIAM G             7731 EVANWOOD CT                                                                                FORT WAYNE        IN    46816‐2657
OEHMAN, DANIEL M            5665 SALT RD                                                                                    CLARENCE          NY    14031‐1360
OEHME, CLIFFORD H           6861 ROMEO DR                                                                                   AVON              IN    46123‐8468
OEHME, JULIE M              6861 ROMEO DR                                                                                   AVON              IN    46123‐8468
OEHMKE, ALVA M              3908 VILLMOOR LN                                                                                FORT MYERS        FL    33919‐6953
OEHMKE, ROBERT C            304 PARAGON DR                                                                                  TROY              MI    48098‐4630
OEHRING, DEBORAH J          6980 CANADA RD                                                                                  BIRCH RUN         MI    48415‐8465
OEHRING, FREDERICK H        6980 CANADA RD                                                                                  BIRCH RUN         MI    48415‐8465
OEHRING, HERMAN W           701 NYLON ST                                                                                    SAGINAW           MI    48604‐2122
OEHRING, RAY T              4810 LEASIDE DR                                                                                 SAGINAW           MI    48603‐2932
OEHRING, STEPHEN            6215 PIERCE RD                                                                                  FREELAND          MI    48623‐9051
OEHRING, WILLIAM R          3555 TRIMM RD                                                                                   SAGINAW           MI    48609‐9768
OEHRKE, MARGARET B          1700 S RIVER RD APT 146                                                                         JANESVILLE        WI    53546
OEHRL, RICHARD E            4644 FENNESSEY ST SW                                                                            GRAND RAPIDS      MI    49534‐6576
OEHRTMAN, MARK
OEHUS, SANDRA               4735 W BROWN                                                                                    VASSAR             MI 48768‐9101
OEHUS, SANDRA               4735 BROWN RD                                                                                   VASSAR             MI 48768‐9101
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Name                               Address1                         Address2                        Address3   Address4               City               State Zip
OEKELS, CHARLES G                  1679 HOLLANDALE DR                                                                                 BENSALEM            PA 19020‐3816
OELFKE, REBECCA A                  5370 THUNDERBIRD PASS                                                                              GRAND BLANC         MI 48439‐9146
OELFKE, REBECCA ANNE               5370 THUNDERBIRD PASS                                                                              GRAND BLANC         MI 48439‐9146
OELKERS WALLACE                    12050 SOUTH HYACINTH POINT                                                                         FLORAL CITY         FL 34436‐4518
OELSNER, RICHARD A                 16126 ANDOVER DR                                                                                   CLINTON TOWNSHIP    MI 48035‐1101
OELZE LESTER C (476925)            KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                     CLEVELAND           OH 44114
                                                                    BOND COURT BUILDING
OELZE, LESTER C                    KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                      CLEVELAND          OH 44114
                                                                    BOND COURT BUILDING
OEM ERIE INC                       1001 STATE ST STE 1300                                                                             ERIE               PA   16501‐1832
OEM ERIE INC                       MIKE SWEENEY                     1001 STATE ST                   STE 1300                          ERIE               PA   16501‐1896
OEM ERIE INC                       MIKE SWEENEY                     1810 W. 20TH STREET                                               GRAND HAVEN        MI
OEM ERIE INC                       1001 STATE ST                    STE 1300                                                          ERIE               PA   16501‐1832
OEM ERIE INC                                                        1100 EAST BIG BEAVER ROAD                                                            MI   48083
OEM FABRICATORS                    300 MCMILLAN RD                                                                                    WOODVILLE          WI   54028‐9578
OEM HEALTH INFORMATION INC         8 WEST ST                                                                                          BEVERLY            MA   01915‐2226
OEM‐ERIE                           MIKE SWEENEY                     1001 STATE ST                   STE 1300                          ERIE               PA   16501‐1832
OEM‐ERIE                           MIKE SWEENEY                     1810 W. 20TH STREET                                               GRAND HAVEN        MI
OEM‐ERIE                           MIKE SWEENEY                     1810 W 20TH ST                                                    ERIE               PA   16502‐2001
OEM/ERIE                           1100 E BIG BEAVER RD                                                                               TROY               MI   48083‐1934
OEM/ERIE INC/PA                    1001 STATE ST STE 1300                                                                             ERIE               PA   16501‐1832
OEMCKE TRUST                       ALBERT OEMCKE TRUSTEE            2427 RIM DR                                                       SPRING HILL        FL   34609
OEMIG, JON V                       4065 CAPE COLE BLVD                                                                                PUNTA GORDA        FL   33955‐3823
OEMKE REBECCA A                    250 NORTH HOLBROOK STREET                                                                          PLYMOUTH           MI   48170‐1484
OEMKE, REBECCA A                   250 N HOLBROOK ST                                                                                  PLYMOUTH           MI   48170‐1484
OEMLER, GLENDORA W                 3607 FOREST GLEN CT                                                                                ANDERSON           IN   46011‐1660
OEMLER, MARK W                     750 RACE COURSE RD                                                                                 WARRENTON          VA   20186
OEMLER, WILLIAM K                  3607 FOREST GLEN CT                                                                                ANDERSON           IN   46011‐1660
OENICK, JOHN N                     6842 CORRIGAN DR                                                                                   BRIGHTON           MI   48116‐8852
OENNING, ADELAIDE A                9414 LE CLAIRE AVE                                                                                 SKOKIE             IL   60077‐1216
OERLIKON BALZERS COATING USA I     2511 INDUSTRIAL TECHNOLOGY DR    STE 114                                                           ELGIN              IL   60124
OERLIKON BALZERS COATING USA INC   463 LAKESHORE PKWY                                                                                 ROCK HILL          SC   29730‐4205
OERLIKON BALZERS VST               109 PARKWAY E                                                                                      PELL CITY          AL   35125‐2749
OERLIKON GRAZIANO SPA              VIA CUMIANA 14 FRAZ              CASCINE VICA                               RIVOLI 10098 ITALY
OERLIKON LEYBOLD VACUUM USA IN     5700 MELLON RD                                                                                     EXPORT             PA   15632‐8900
OERLIKON LEYBOLD VACUUM USA INC    5700 MELLON RD                                                                                     EXPORT             PA   15632‐8900
OERLY, OWEN L                      PO BOX 25724                     PTY 13011                                                         MIAMI              FL   33102‐5724
OERTEL DIANE                       OERTEL, DIANE                    1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL        NJ   08003
OERTEL, A N                        3405 WESTCLIFFE CT                                                                                 ANTIOCH            TN   37013‐2525
OERTEL, EIKE M                     7588 EVERGREEN DR                                                                                  GOLETA             CA   93117‐1111
OERTEL, JAMES L                    26 LAPIDARY LN                                                                                     JANESVILLE         WI   53548‐9127
OERTHER WALTER G (409174)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510
                                                                    STREET, SUITE 600
OERTHER, JOHN K                    8159 GRAFTON RD                                                                                    NEWPORT            MI 48166‐9436
OERTHER, WALTER G                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
OERTLI GERALD E (494063)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                    STREET, SUITE 600
OERTLI, GERALD E                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
OESCH, ANNE E                      2936 UNION S E                                                                                     GRAND RAPIDS       MI 49548
OESCH, ANNE E                      2936 UNION AVE SE                                                                                  GRAND RAPIDS       MI 49548‐1216
                                     09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                                Address1                         Address2                           Address3       Address4                City                State Zip
OESCH, JAMES A                      12881 SHADY LANE DR                                                                                        STERLING HTS         MI 48313‐1132
OESCH, JENNAVEE M                   18850 CARTER RD                                                                                            ATLANTA              MI 49709‐8982
OESCH, KATHERINE M                  PO BOX 5024                                                                                                SHELBY               OH 44875
OESCH, KENNETH J                    3981 126TH AVENUE                                                                                          ALLEGAN              MI 49010‐9425
OESCH, KENNETH J                    3981 126TH AVE                                                                                             ALLEGAN              MI 49010‐9425
OESCH, LARRY G                      PO BOX 1                                                                                                   SALEM                OH 44460‐0001
OESCH, ROSA M                       16445 MARVINDALE ST SE                                                                                     MINERVA              OH 44657‐8526
OESCHGER, DONALD J                  1240 KLEM RD                                                                                               WEBSTER              NY 14580‐8630
OESCHGER, MICHAEL J                 2119 BEAR CREEK DR                                                                                         ONTARIO              NY 14519‐9730
OESCHGER, RONALD J                  136 IROQUOIS ST                                                                                            WEBSTER              NY 14580‐3543
OEST, RUDOLPH H                     1822 HOLLY AVE                                                                                             DARIEN                IL 60561‐3517
OESTERLE PAUL                       555 N SEARLS RD                                                                                            WEBBERVILLE          MI 48892‐9730
OESTERLE, BARBARA E                 7401 ROSEBAY ST                                                                                            ERIE                 PA 16509‐6636
OESTERLE, BETTY J                   9 PRISCILLA LN                                                                                             LOCKPORT             NY 14094‐3320
OESTERLE, BEVERLY N                 1426 JAMES ST                                                                                              BURTON               MI 48529‐1232
OESTERLE, CARLTON L                 159 LA ENTRADA RD                                                                                          LOS LUNAS            NM 87031‐7000
OESTERLE, JAMES R                   7401 ROSEBAY ST                                                                                            ERIE                 PA 16509‐6636
OESTERLE, KAREN K                   742 GALLOWAY RD                                                                                            GALLOWAY             OH 43119‐9108
OESTERLE, LAWRENCE D                2271 MUMFORD RD                                                                                            PINCKNEY             MI 48169‐9309
OESTERLE, LAWRENCE DANIEL           2271 MUMFORD RD                                                                                            PINCKNEY             MI 48169‐9309
OESTERLE, PAUL D                    555 NORTH SEARLS RD#1                                                                                      WEBBERVILLE          MI 48892
OESTERLE, PAUL K                    1803 WALLINE RD                                                                                            MASON                MI 48854‐9450
OESTERLE, PAUL KEVIN                1803 WALLINE RD                                                                                            MASON                MI 48854‐9450
OESTERLE, WYNARD R                  11591 E BENNINGTON RD                                                                                      DURAND               MI 48429‐9750
OESTERLING, CHARLES C               3546 LANTERN VIEW CT                                                                                       HOWELL               MI 48843‐8913
OESTERLING, CHRISTOPHER L           3928 WARDLOW CT                                                                                            TROY                 MI 48083‐6808
OESTERLING, FRANK A                 18233 FLORAL ST                                                                                            LIVONIA              MI 48152‐3717
OESTERLING, RONALD L                LOT 90                           16400 UPTON ROAD                                                          EAST LANSING         MI 48823‐9447
OESTERR. FAHRZEUGBAUGESSELLSCHAFT   INNSBRUCKER BUNDESSTR 128                                                          5020 SAL/GLAN AUSTRIA
M.
OESTRATEGIES INC                    PO BOX 190721                                                                                              MIAMI BEACH          FL   33119‐0721
OESTRATEGIES, INC.                  PO BOX 190721                                                                                              MIAMI BEACH          FL   33119‐0721
OESTREICH BRET                      OESTREICH, BRET                  GUIDE ONE INS.                     PO BOX 14543                           DES MOINES           IA   50306
OESTREICH SANDRA                    28606 BENDERWOOD CT                                                                                        SPRING               TX   77386‐1786
OESTREICH, ALLAN L                  11349 CENTER LAKE DR UNIT 4112                                                                             WINDERMERE           FL   34786‐5544
OESTREICH, ALLISON K                12783 FEDERAL PL                                                                                           FISHERS              IN   46037‐7834
OESTREICH, ARTHUR H                 12470 RATTALEE LAKE RD                                                                                     DAVISBURG            MI   48350‐1223
OESTREICH, BRET
OESTREICH, BRET                     GUIDE ONE INS.                   PO BOX 14543                                                              DES MOINES          IA    50306‐3543
OESTREICH, EARL R                   44 ROOSEVELT DR                                                                                            LOCKPORT            NY    14094‐5026
OESTREICHER JR, JAMES G             955 MISSOURI RD # 104B                                                                                     PRINCETON           KS    66078
OESTRICHER, MIRIAM L                1131 VIRGINIA AVE                                                                                          ALTAMONTE SPRINGS   FL    32701‐7622
OESWEIN JR, GEORGE L                HILLSPRING                       325 E CENTRAL AVE STATE ROUTE 73                                          SPRINGBORO          OH    45066

OETH, DAVID R                       4921 W 22ND ST                                                                                             SPEEDWAY            IN 46224‐5107
OETIA E RESTUCCIO                   1576 MAPLE DR                                                                                              HUBBARD             OH 44425‐2845
OETIA RESTUCCIO                     1576 MAPLE DR                                                                                              HUBBARD             OH 44425‐2845
OETIKER LTD                         203 DUFFERIN ST S                                                                  ALLISTON ON L9R 1W7
                                                                                                                       CANADA
OETIKER LTD.                        PETER SUTER VP                   203 DUFFERIN ST. S.                               BRADFORD ON CANADA
OETJENS THOMAS                      6592 GLENDALE DR                                                                                           TROY                MI 48098‐1714
OETJENS, THOMAS J                   6592 GLENDALE DR                                                                                           TROY                MI 48098‐1714
                                09-50026-mg           Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                            Address1                        Address2             Address3                      Address4                 City                  State Zip
OETKER, AUGUST DR               JEFF RAVEN                      465 SOUTH STREET                                                            MORRISTOWN             NJ 07960
OETTE, WILLIAM E                120 SCOTCH LN                                                                                               ROCHESTER              NY 14617‐2519
OETTEL, FRANK H                 1056 IDLEWILD DR                                                                                            SPARTA                 TN 38583‐3119
OETTEL, MINNIE V                1056 IDLEWILD DR                                                                                            SPARTA                 TN 38583‐3119
OETTING, ELIZABETH F            1601 LIPPER AVE                                                                                             HIGGINSVILLE           MO 64037‐1336
OETTING, JOHN K                 1234 ASHFORD PLACE DR                                                                                       O FALLON               MO 63366‐2006
OETTINGER, JOSEPH T             581 WINDSOR AVE                                                                                             GOLETA                 CA 93117‐1603
OETTINGER, MARY A               W164N9091 WATER ST APT 406                                                                                  MENOMONEE FALLS        WI 53051‐7938
OETTINGER, MARY A               W164 N 9091 WATER ST            APT 406                                                                     MENOMONEE FALLS        WI 53051‐7938
OETTINGER, ROBERT P             4651 PYRAMID PEAK DR                                                                                        LAS CRUCES             NM 88012‐6288
OETTINGER, THOMAS E             6529 S 17TH ST                                                                                              MILWAUKEE              WI 53221‐5203
OETZEL, EDWARD H                3233 PERCENTUM RD                                                                                           TOLEDO                 OH 43617‐1128
OETZEL, JUNE K                  2200 INDIAN CREEK BLVD W        APT P C W 257                                                               VERO BEACH             FL 32966‐1331
OETZEL, THOMAS W                5216 S SARATOGA AVE                                                                                         AUSTINTOWN             OH 44515‐4076
OEY, HIN G                      20733 MARTHA ST                                                                                             WOODLAND HLS           CA 91367‐6729
OF GARDNER JAMES ESTATE         202 ROSETTE ST                                                                                              HOLLY                  MI 48442‐1327
OF HITTLE DENISE ESTATE         1945 MIDLAND ROAD                                                                                           DUNDALK                MD 21222‐4643
OFACK, JEAN J                   10832 EAST ONYX COURT                                                                                       SCOTTSDALE             AZ 85259‐4865
OFC OF CHILD SUP ENFORCEMENT    ACCT OF DONALD C BURBAS         615 4TH ST                                                                  INTERNATIONAL FALLS    MN 56649
OFC OF STANDING CH 13 TRUSTEE   ACCT OF ELOISE WOODS            26555 EVERGREEN RD   STE 1100                                               SOUTHFIELD             MI 48076‐4251
OFCANSKY, WILLIAM               1010 JACOB ST                                                                                               NORTH VERSAILLES       PA 15137‐2120
OFCHAR, JOHN T                  10921 WOODEN RD                                                                                             HANOVER                MI 49241‐9770
OFCHAR, JOHN THOMAS             10921 WOODEN RD                                                                                             HANOVER                MI 49241‐9770
OFELDT, RICHARD F               903 WOODCREST DR                                                                                            SPRING LAKE            NJ 07762‐2249
OFELIA AGUILAR                  1271 S DYE RD                                                                                               FLINT                  MI 48532‐3317
OFELIA CAO                      PO BOX 6292                                                                                                 SOUTH BEND             IN 46660‐6292
OFELIA ELIZALDE                 3550 WILLIAMSON RD                                                                                          SAGINAW                MI 48601‐5665
OFELIA GLASGOW                  10699 HOLMES HWY                                                                                            EATON RAPIDS           MI 48827‐9509
OFELIA GONZALEZ                 JOSE CLEMENTE OROSCO 260                                                           JUAREZ CHIHUAHUA 32320
                                                                                                                   MEXICO
OFELIA GUADERRAMA               U S 20E 1720                                                                                                NORWALK               OH   44857
OFELIA HERNANDEZ                PO BOX 285                                                                                                  LEIPSIC               OH   45856‐0285
OFELIA JENKINS                  2445 MONARCH DR UNIT 302                                                                                    LAREDO                TX   78045‐6428
OFELIA JIMENEZ                  951 OLIVER ST                                                                                               FILLMORE              CA   93015‐1766
OFELIA MARTINEZ                 2307 W 47TH PL                                                                                              CHICAGO               IL   60609‐4006
OFELIA NIEVES                   284 PATTONWOOD DR                                                                                           ROCHESTER             NY   14617‐1422
OFELIA OLMEDA                   1602 4TH ST                                                                                                 SAN FERNANDO          CA   91340‐2322
OFF OF FAMILY SECURITY CHILD    SUPPORT ENFORCEMENT SERV‐ FOR   PO BOX 18590         ACCT OF LL CAIN CASE# 32648                            SHREVEPORT            LA   71138‐1590

OFF, FRANCES J                  3411 MELODY LANE W                                                                                          KOKOMO                IN   46902‐3947
OFF, FRANCES J                  3411 MELODY LN W                                                                                            KOKOMO                IN   46902‐3947
OFF, SHEILA K                   1201 BELVEDERE DR                                                                                           KOKOMO                IN   46902‐5602
OFFAK, RICHARD J                7388 BELLFLOWER RD                                                                                          MENTOR                OH   44060‐3945
OFFAK, RICHARD J.               7388 BELLFLOWER RD                                                                                          MENTOR                OH   44060‐3945
OFFEN, NANCY L                  5452 MUIRWOOD TRL                                                                                           POWDER SPRINGS        GA   30127‐3000
OFFENBACKER, JOHN H             109 NIKKI LN                                                                                                LEWISBURG             OH   45338‐9330
OFFENBACKER, MARK T             187 DOYLE AVE                                                                                               BROOKVILLE            OH   45309‐1510
OFFENBECHER, HEINZ J            PO BOX 3022                                                                                                 ALLIANCE              OH   44601‐7022
OFFENBECHER, KAREN L            1605 PARKWAY DR                                                                                             CARO                  MI   48723‐1335
OFFENBECKER, WALTER J           905 E KNOX RD                                                                                               BEAVERTON             MI   48612‐8728
OFFENBORN JR, ROBERT G          1199 S AURELIUS RD                                                                                          MASON                 MI   48854‐8700
OFFENHAUSER, EILEEN C           14421 N CAMEO DR                                                                                            SUN CITY              AZ   85351‐2472
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Name                               Address1                              Address2                           Address3                       Address4             City             State Zip
OFFENHAUSER, ROBERT L              7340 TWIN EAGLE LN                                                                                                           FORT MYERS        FL 33912‐1753
OFFENSTINE, ROSS                   5316 W 103RD TER                                                                                                             OVERLAND PARK     KS 66207‐3904
OFFER, AMANDA S                    324 ARTHUR ST                                                                                                                PLYMOUTH          MI 48170‐1121
OFFER, DOROTHY M                   4908 JEFFERSON ST NE                                                                                                         MINNEAPOLIS       MN 55421‐1768
OFFER, GEORGE E                    4618 TEMA RD                                                                                                                 PIKESVILLE        MD 21208
OFFER, IAN C                       852 N COUNTY ROAD 600 W                                                                                                      KOKOMO            IN 46901
OFFERDAHL, INGVALD J               3929 W CEMETERY RD                                                                                                           JANESVILLE        WI 53548‐9221
OFFERDAHL, ROSELLA M               2700 ALEXANDRIA PLACE                                                                                                        JANESVILLE        WI 53548‐3316
OFFETT, EUGENE H                   17633 WRIGHT STREET                                                                                                          LANSING            IL 60438‐2072
OFFETT, JOHN I                     828 N CALIFORNIA ST                                                                                                          INDIANAPOLIS      IN 46202‐3046
OFFICE & PROFESSIONAL EMPLOYEE     1209 LOWELL ST                                                                                                               ELYRIA            OH 44035‐4803
OFFICE CENTER WEST                 C\O MORGAN CONSTRUCTION CO            5454 GATEWAY CTR STE C                                                                 FLINT             MI 48507‐3932
OFFICE CONCEPTS                    ZAIDA SOTO                            3 DOGWOOD LN                                                                           DEMAREST          NJ 07627
OFFICE DEPOT                       PO BOX 77000                                                                                                                 DETROIT           MI 48277‐2000
OFFICE DEPOT                       80 STEMMERS LN                                                                                                               WESTAMPTON        NJ 08060‐5652
OFFICE DEPOT                       30700 TELEGRAPH RD STE 4515                                                                                                  BINGHAM FARMS     MI 48025‐4528
OFFICE DEPOT                       ATTN: PAUL WERTH                      29320 PLYMOUTH RD                                                                      LIVONIA           MI 48150‐2399
OFFICE DEPOT INC                   PO BOX 30292 DEPT56 6183854631                                                                                               SALT LAKE CITY    UT 84130
OFFICE DEPOT INC                   2200 GERMANTOWN RD                                                                                                           DELRAY BEACH      FL 33445‐8223
OFFICE DEPOT/PLYMOUT               OFFICE DEPOT                          BUSINESS SERVICES DIVISION         17335 HAGGERTY RD                                   NORTHVILLE        MI 48168‐9542
OFFICE FURNITURE LIQUIDATIONS      29055 PLYMOUTH RD                                                                                                            LIVONIA           MI 48150‐2338
OFFICE INTERIORS                   291 EVANS WAY                                                                                                                BRANCHBURG        NJ 08876‐3766
OFFICE KIRKPATRICK                 AVENUE WOLFERS 32 B 1310              LA HULPE                                                          BRUSSELS BELGIUM
                                                                                                                                           BELGIUM
OFFICE MAIN SER/TROY               850 STEPHENSON HWY STE 605                                                                                                   TROY             MI 48083‐1127
OFFICE MART                        A LEE ALLEN & ASSOCIATES CO           2002 S EAST ST STE 1                                                                   INDIANAPOLIS     IN 46225‐2800
OFFICE OF ACQUISTION MANAGEMENT    DOT/NHTSA/NPO‐320                     1200 NEW JERSEY AVE, SE                                                                WASHINGTON       DC 20590‐0001

OFFICE OF ATTORNEY GENERAL         700 W JEFFERSON ST                    P.O. BOX 83720                                                                         BOISE            ID    83720‐0001
OFFICE OF ATTORNEY GENERAL         STATE OF FLORIDA                      THE CAPITOL PL‐01                                                                      TALLAHASSEE      FL    32399‐1050
OFFICE OF ATTORNEY GENERAL         120 SW 10TH AVE FL 2                                                                                                         TOPEKA           KS    66612‐1237
OFFICE OF ATTORNEY GENERAL         323 CENTER ST                         200 CATLETT PRIEN BLDG                                                                 LITTLE ROCK      AR    72201‐2603
CONSUMER PROTECTION DIV
OFFICE OF ATTORNEY GENERAL FOR     ATTY FOR COMMONWEALTH OF PA., DEPT ATT: CAROL E. MOMJIAN, SENIOR         21 S. 12TH STREET, 3RD FLOOR                        PHILADELPHIA      PA 19107‐3603
PENNSYLVANIA                       OF REVENUE, BUREAU OF ACCTS SETTLEM DEPUTY ATTY GENERAL

OFFICE OF CH13 STAND TRUSTEE       ACCT OF ROGER D HAMILTON              26555 EVERGREEN RD STE 1100                                                            SOUTHFIELD       MI    48076‐4251
OFFICE OF CHAPTER 13 TRUSTEE       ACCT OF LAURIE A MOORE‐SWAIN          26555 EVERGREEN RD                 STE 1100                                            SOUTHFIELD       MI    48076‐4251
OFFICE OF CHAPTER 13 TRUSTEE       ACCT OF KATIE J SIMS‐BENNING          26555 EVERGREEN RD STE 1100                                                            SOUTHFIELD       MI    48076‐4251
OFFICE OF CHAPTER 13 TRUSTEE       ACCT OF HELEN E BILBREY               26555 EVERGREEN RD STE 1100                                                            SOUTHFIELD       MI    48076‐4251
OFFICE OF CHIEF JUDGE              ST. CLAIR COUNTY BUILDING             10 PUBLIC SQUARE                                                                       BETTEVILLE       IL    62220
OFFICE OF CHPT 13 STAND TRUSTE     ACCOUNT OF LARRY J MORSE              26555 EVERGREEN RD STE 1100                                                            SOUTHFILED       MI    48076‐4251
OFFICE OF CHPT13 STAND TRUSTEE     ACCOUNT OF JAMES RICHARDS             26555 EVERGREEN RD STE 1100                                                            SOUTHFIELD       MI    48076‐4251
OFFICE OF CHPT13 STAND TRUSTEE     ACCT OF GORDON M CARTER               26555 EVERGREEN RD STE 1100                                                            SOUTHFIELD       MI    48076‐4251
OFFICE OF CHPT13 TRUSTEE           ACCT OF CAROL B MC FERRIN             26555 EVERGREEN RD STE 1100                                                            SOUTHFIELD       MI    48076‐4251
OFFICE OF CHPT13 TRUSTEE           ACCT OF RICHARD J MC FERRIN SR        26555 EVERGREEN RD STE 1100                                                            SOUTHFIELD       MI    48076‐4251
OFFICE OF CHPT13 TRUSTEE           ACCT OF WILLIAM J SHERMAN             26555 EVERGREEN RD STE 1100                                                            SOUTHFIELD       MI    48076‐4251
OFFICE OF COUNTY COUNSEL           WASHINGTON COUNTY                     155 N FIRST AVE, SUITE 340, MS24                                                       HILLSBORO        OR    97124
OFFICE OF CRIMINAL DEFENSE         ATTN: MARK JANER                      1230 WASHINGTON AVE # 630                                                              BAY CITY         MI    48708‐5734
OFFICE OF EMPLOYMENT SECURITY LA
OFFICE OF FAYETTE COUNTY SHERIFF   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 34148                      PERSONAL PROPERTY                                   LEXINGTON         KY   40588‐4148
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Name                                  Address1                              Address2                        Address3                    Address4                 City            State Zip
OFFICE OF FAYETTE COUNTY SHERIFF      PO BOX 34148                          PERSONAL PROPERTY                                                                    LEXINGTON        KY 40588‐4148
OFFICE OF FRIEND OF COURT             ACCOUNT OF RALPH NIXON                1100 CADILLAC TOWER                                                                  DETROIT          MI 48226
OFFICE OF FRIEND OF COURT             ACCOUNT OF JULIUS YELDER JR           65 CADILLAC SQUARE                                                                   DETROIT          MI 48226
OFFICE OF FRIEND OF COURT             ACCOUNT OF FRANK WESTLEY              400 CADILLAC TOWER BLDG                                                              DETROIT          MI 48226
OFFICE OF GUARDIAN AD LITEM           ACCT OF MICHAEL J SMITH               PO BOX 551269                                                                        DALLAS           TX 75355‐1269
OFFICE OF LANSING CITY ATTORNEY       ATTN: WM. BURT BURLESON               124 W MICHIGAN AVE FL 5                                                              LANSING          MI 48933‐1670
OFFICE OF MACOMB COUNTY PUBLIC        115 S GROESBECK HWY                   P.O. BOX 806                                                                         MOUNT CLEMENS    MI 48043‐2166
WORKS COMMISSIONER ANTHONY V.
MARROCCO
OFFICE OF MOTOR VEHICLES              PO BOX 1272 ROOM 102                                                                                                       LITTLE ROCK     AR 72203
OFFICE OF ND STATE TREASURER          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 600 E BOULEVARD AVE DEPT 120   STATE CAPITOL ‐ 3RD FLOOR                            BISMARCK        ND 58505‐0602

OFFICE OF ND STATE TREASURER          600 E BOULEVARD AVE DEPT 120          STATE CAPITOL ‐ 3RD FLOOR                                                            BISMARCK        ND 58505‐0602
OFFICE OF PUBLISHING & MEMBER         SITE LICENSING DEPT                   1200 NEW YORK AVENUE NW                                                              WASHINGTON      DC 20005
SERVICES
OFFICE OF RESEARCH AFFAIRS YON        134 SINCHON‐DONG                                                                                  SEOUL KR 120 749 KOREA
                                                                                                                                        (REP)
OFFICE OF RESEARCH AFFAIRS YONSEI U   134 SINCHON‐DONG                                                                                  SEOUL KR 120 749 KOREA
                                                                                                                                        (REP)
OFFICE OF REVENUE                     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 23050                                                                        JACKSON         MS 39225‐3050

OFFICE OF REVENUE                     PO BOX 23050                                                                                                               JACKSON         MS    39225‐3050
OFFICE OF STAND CH13 TRUSTEE          ACCT OF OLLIE GRANT                   26555 EVERGREEN RD STE 1100                                                          SOUTHFIELD      MI    48076‐4251
OFFICE OF STAND CH13 TRUSTEE          ACCOUNT OF THOMAS N DUPUIS            26555 EVERGREEN RD              STE 1100                                             SOUTHFIELD      MI    48076‐4251
OFFICE OF STAND CHPT13 TRUSTEE        ACCOUNT OF KEITH E LIDDY              26555 EVERGREEN RD STE 1100                                                          SOUTHFIELD      MI    48076‐4251
OFFICE OF STAND CHPT13 TRUSTEE        ACCT OF ELIZABETH A RAGAN             26555 EVERGREEN RD STE 1100                                                          SOUTHFIELD      MI    48076‐4251
OFFICE OF STAND CHPT13 TRUSTEE        ACCT OF WILMA K BAKER                 26555 EVERGREEN RD              STE 1100                                             SOUTHFIELD      MI    48076‐4251
OFFICE OF STANDING CH 13 TRUST        ACCOUNT OF JAMES WARREN               26555 EVERGREEN RD STE 1100                                                          SOUTHFIELD      MI    48075‐4231
OFFICE OF STANDING CH13 TRUSTE        ACCOUNT OF CONSTANCE E JOHNSON        26555 EVERGREEN RD              STE 1100                                             SOUTHFIELD      MI    48076‐4251
OFFICE OF STANDING TRUSTEE            ACCT OF CLAYTON MONTGOMERY            PO BOX 3254                                                                          GRAND RAPIDS    MI    49501‐3254
OFFICE OF STATE CONTROLLER            UNCLAIMED PROPERTY DIVISION           500 EAST CAPITOL AVENUE                                                              PIERRE          SD    57501
OFFICE OF STATE CONTROLLER            DIV OF COLLECTIONS                    PO BOX 942850                   BUREAU OF UNCLAIMED                                  SACRAMENTO      CA    94250‐0001
                                                                                                            PROPERTY
OFFICE OF STATE TAX COMMISSION        STATE CAPITOL                          600 EAST BOULEVARD AVE                                                              BISMARCK        ND    58505
OFFICE OF STATE TAX COMMISSION        600 EAST BOULEVARD AVE                                                                                                     BISMARCK        ND    58505
OFFICE OF STATE TAX COMMISSIONER      600 E. BOULEVARD AVE.                                                                                                      BISMARCK        ND    58505
OFFICE OF STATE TAX COMMISSIONER      STATE CAPITOL BUILDING                 600 E. BOULEVARD AVENUE                                                             BISMARCK        ND    58505
OFFICE OF STATE TAX COMMISSIONER      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 600 E. BOULEVARD AVE.                                                               BISMARCK        ND    58505

OFFICE OF TAX AND REVENUE             ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 941 NORTH CAPITOL STREET, NE                                                        WASHINGTON      DC 20002

OFFICE OF TAX AND REVENUE             941 NORTH CAPITOL STREET, NE                                                                                               WASHINGTON      DC 20002
OFFICE OF TAX AND REVENUE DC
OFFICE OF TAX COLLECTOR               70 W RIVER ST                         PO BOX 3025                                                                          MILFORD         CT    06460‐3317
OFFICE OF THE ATTORNEY GENERAL        ANDREW M. CUOMO                       120 BROADWAY                                                                         NEW YORK        NY    10271
OFFICE OF THE ATTORNEY GENERAL        ATTY FOR THE STATE OF ALABAMA         ATTN: TROY R KING              500 DEXTER AVENUE                                     MONTGOMERY      AL    36130
OFFICE OF THE ATTORNEY GENERAL        JEFFREY M. DIKMAN                     OFFICE OF THE ATTORNEY GENERAL THE CAPITOL PL‐00                                     TALLAHASSEE     FL    32399‐1050

OFFICE OF THE ATTORNEY GENERAL        GIL FERGUS                            OFFICE OF THE ATTORNEY GENERAL 100 WEST RANDOLPH STREET                              CHICAGO          IL   60601

OFFICE OF THE ATTORNEY GENERAL        ALLISON REARDON                       OFFICE OF THE ATTORNEY GENERAL CARVEL STATE OFFICE          820 N. FRENCH STREET     WILMINGTON      DE 19801
                                                                                                           BUILDING
                                  09-50026-mg           Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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Name                             Address1                       Address2                       Address3                    Address4                City         State Zip
OFFICE OF THE ATTORNEY GENERAL   LEIGH BRASLOW ALTMAN           OFFICE OF THE ATTORNEY GENERAL 40 CAPITOL SQUARE, SW                               ATLANTA       GA 30334

OFFICE OF THE ATTORNEY GENERAL   BILL BRAUCH                    OFFICE OF THE ATTORNEY GENERAL 1305 E. WALNUT STREET                               DES MOINES    IA   50319

OFFICE OF THE ATTORNEY GENERAL   NICK RANTIS                    OFFICE OF THE ATTORNEY GENERAL 100 WEST RANDOLPH STREET                            CHICAGO       IL   60601

OFFICE OF THE ATTORNEY GENERAL   MARGARITA PADILLA              ATTORNEY GENERAL'S OFFICE      ATTN: PUBLIC INQUIRY UNIT   P.O. BOX 944255         SACRAMENTO   CA 94244

OFFICE OF THE ATTORNEY GENERAL   ANN INFINGER                   GOVERNOR'S OFFICE OF CONSUMER SUITE 356, EAST TOWER        2 MARTIN LUTHER KING JR. ATLANTA     GA 30334
                                                                AFFAIRS                                                    DRIVE
OFFICE OF THE ATTORNEY GENERAL   JOAN PILVER                    OFFICE OF THE ATTORNEY GENERAL 55 ELM STREET                                        HARTFORD    CT    06106

OFFICE OF THE ATTORNEY GENERAL   PAUL SILVER                    OFFICE OF THE ATTORNEY GENERAL 1125 WASHINGTON STREET      P.O. BOX 40100          OLYMPIA      WA 98504‐0001

OFFICE OF THE ATTORNEY GENERAL   MARGARET REITER                ATTORNEY GENERAL'S OFFICE      ATTN: PUBLIC INQUIRY UNIT   P.O. BOX 944255         SACRAMENTO   CA 94244

OFFICE OF THE ATTORNEY GENERAL   AL SHELDEN                     ATTORNEY GENERAL'S OFFICE      ATTN: PUBLIC INQUIRY UNIT   P.O. BOX 944255         SACRAMENTO   CA 94244

OFFICE OF THE ATTORNEY GENERAL   GARTH LUCERO                   1525 SHERMAN ST STE 7          ATTORNEY GENERAL'S OFFICE                           DENVER       CO 80203‐1700

OFFICE OF THE ATTORNEY GENERAL   NEIL FISHMAN                   OFFICE OF THE ATTORNEY GENERAL 55 ELM STREET                                       HARTFORD     CT    06106

OFFICE OF THE ATTORNEY GENERAL   JIM NEWBOLD                    OFFICE OF THE ATTORNEY GENERAL REVENUE LITIGATION BUREAU 100 W. RANDOLPH STREET CHICAGO          IL   60601

OFFICE OF THE ATTORNEY GENERAL   SANDY ARENAS                   OFFICE OF THE ATTORNEY GENERAL 55 ELM STREET                                       HARTFORD     CT    06106

OFFICE OF THE ATTORNEY GENERAL   OHLA RYBAKOFF                  OFFICE OF THE ATTORNEY GENERAL CARVEL STATE OFFICE         820 N. FRENCH STREET    WILMINGTON   DE 19801
                                                                                               BUILDING
OFFICE OF THE ATTORNEY GENERAL   JENNIFER RAWLS                 PO BOX 20207                   OFFICE OF THE ATTORNEY                              NASHVILLE    TN 37202‐4015
                                                                                               GENERAL
OFFICE OF THE ATTORNEY GENERAL   MARVIN CLEMENTS                PO BOX 20207                   OFFICE OF THE ATTORNEY                              NASHVILLE    TN 37202‐4015
                                                                                               GENERAL
OFFICE OF THE ATTORNEY GENERAL   LEELA FIRESIDE                 PO BOX 12548                   OFFICE OF THE ATTORNEY                              AUSTIN       TX    78711‐2548
                                                                                               GENERAL
OFFICE OF THE ATTORNEY GENERAL   DAVE IRVIN                     OFFICE OF THE ATTORNEY GENERAL ANTITRUST & CONSUMER        900 EAST MAIN STREET    RICHMOND     VA 23219
                                                                                               LITITGATION SECTION
OFFICE OF THE ATTORNEY GENERAL   ELLIOT BURG                    OFFICE OF THE ATTORNEY GENERAL 109 STATE STREET                                    MONTPELIER   VT    05609‐1001

OFFICE OF THE ATTORNEY GENERAL   HERSCHEL ELKINS                ATTORNEY GENERAL'S OFFICE      ATTN: PUBLIC INQUIRY UNIT   P.O. BOX 944255         SACRAMENTO   CA 94244

OFFICE OF THE ATTORNEY GENERAL   FRITZ CLARK                    OFFICE OF THE ATTORNEY GENERAL 1125 WASHINGTON STREET      P.O. BOX 40100          OLYMPIA      WA 98504‐0001

OFFICE OF THE ATTORNEY GENERAL   JOHN WALL                      1275 W WASHINGTON ST           OFFICE OF THE ATTORNEY                              PHOENIX      AZ    85007‐2926
                                                                                               GENERAL
OFFICE OF THE ATTORNEY GENERAL   JULIA COSTER                   1031 W 4TH AVE STE 200         OFFICE OF THE ATTORNEY                              ANCHORAGE    AK    99501‐5903
                                                                                               GENERAL
OFFICE OF THE ATTORNEY GENERAL   NORMAN GOOGEL                  PO BOX 1789                    OFFICE OF THE ATTORNEY                              CHARLESTON   WV 25326‐1789
                                                                                               GENERAL
OFFICE OF THE ATTORNEY GENERAL   NANCY A. PIGGUSH               G. MENNEN WILLIAMS BUILDING,   525 W. OTTAWA ST.           P.O. BOX 30212          LANSING      MI 48909
                                                                7TH FLOOR
OFFICE OF THE ATTORNEY GENERAL   DIANE LAWTON                   OFFICE OF THE ATTORNEY GENERAL ONE ASHBURTON PLACE                                 BOSTON       MA 02108
                                  09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
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Name                             Address1                          Address2                       Address3                   Address4               City             State Zip
OFFICE OF THE ATTORNEY GENERAL   JIM SHACKELFORD                   OFFICE OF THE ATTORNEY GENERAL THE CAPITOL, SUITE 118     700 CAPITOL AVENUE     FRANKFORT         KY 40601

OFFICE OF THE ATTORNEY GENERAL   FRAN BRUNNER                      OFFICE OF THE ATTORNEY GENERAL 301 S.W. 10TH AVENUE                              TOPEKA           KS   66612

OFFICE OF THE ATTORNEY GENERAL   JAMES MCCARBRIA                   OFFICE OF THE ATTORNEY GENERAL MEMORIAL HALL, 2ND FLOOR 120 SW 10TH STREET       TOPEKA           KS   66612

OFFICE OF THE ATTORNEY GENERAL   TISHA MORRIS                      PO BOX 20207                   OFFICE OF THE ATTORNEY                            NASHVILLE        TN 37202‐4015
                                                                                                  GENERAL
OFFICE OF THE ATTORNEY GENERAL   STEVEN SAKAMOTO‐WENGEL            OFFICE OF THE ATTORNEY GENERAL CONSUMER PROTECTION        200 ST. PAUL PLACE     BALTIMORE        MD 21202
                                                                                                  DIVISION
OFFICE OF THE ATTORNEY GENERAL   PRENTISS COX                      OFFICE OF THE ATTORNEY GENERAL 1400 BREMER TOWER          445 MINNESOTA STREET   SAINT PAUL       MN 55101

OFFICE OF THE ATTORNEY GENERAL   PATRICIA MOLTENI                  PO BOX 899                     OFFICE OF THE ATTORNEY                            JEFFERSON CITY   MO 65102‐0899
                                                                                                  GENERAL
OFFICE OF THE ATTORNEY GENERAL   VICTORIA VOIGHT                   OFFICE OF THE ATTORNEY GENERAL 9001 MAIL SERVICE CENTER                          RALEIGH          NC 27699‐0001

OFFICE OF THE ATTORNEY GENERAL   PETER C. L. ROTH                  33 CAPITOL ST                  OFFICE OF THE ATTORNEY                            CONCORD          NH 03301‐6310
                                                                                                  GENERAL
OFFICE OF THE ATTORNEY GENERAL   LORRAINE RAK                      PO BOX 80                      OFFICE OF THE ATTORNEY                            TRENTON          NJ   08625‐0080
                                                                                                  GENERAL
OFFICE OF THE ATTORNEY GENERAL   TRACY RICHARDSON                  PO BOX 80                      OFFICE OF THE ATTORNEY                            TRENTON          NJ   08625‐0080
                                                                                                  GENERAL
OFFICE OF THE ATTORNEY GENERAL   ROBERT HART                       OFFICE OF THE ATTORNEY GENERAL 30 E. BROAD STREET, 17TH                          COLUMBUS         OH 43215
                                                                                                  FLOOR
OFFICE OF THE ATTORNEY GENERAL   CAROL JACOBSON                    PO BOX 80                      OFFICE OF THE ATTORNEY                            TRENTON          NJ   08625‐0080
                                                                                                  GENERAL
OFFICE OF THE ATTORNEY GENERAL   MARGARET HOLLAND                  PO BOX 80                      OFFICE OF THE ATTORNEY                            TRENTON          NJ   08625‐0080
                                                                                                  GENERAL
OFFICE OF THE ATTORNEY GENERAL   ALICE SMALL                       PO BOX 80                      OFFICE OF THE ATTORNEY                            TRENTON          NJ   08625‐0080
                                                                                                  GENERAL
OFFICE OF THE ATTORNEY GENERAL   JOSHUA HICKS                      100 N CARSON ST                OFFICE OF THE ATTORNEY                            CARSON CITY      NV 89701‐4717
                                                                                                  GENERAL
OFFICE OF THE ATTORNEY GENERAL   JOHN MURPHY & C. H. JONES JR.     PO BOX 11549                   OFFICE OF THE ATTORNEY                            COLUMBIA         SC   29211‐1549
                                                                                                  GENERAL
OFFICE OF THE ATTORNEY GENERAL   NANCY LORD                        OFFICE OF THE ATTORNEY GENERAL THE CAPITOL                                       ALBANY           NY 12224

OFFICE OF THE ATTORNEY GENERAL   LESLIE NEUSTADT                   OFFICE OF THE ATTORNEY GENERAL THE CAPITOL                                       ALBANY           NY 12224

OFFICE OF THE ATTORNEY GENERAL   MOZELLE DANIELS                   OFFICE OF THE ATTORNEY GENERAL 16TH FLOOR, STRAWBERRY                            HARRISBURG       PA 17120‐0001
                                                                                                  SQUARE
OFFICE OF THE ATTORNEY GENERAL   LARRY NYDES                       OFFICE OF THE ATTORNEY GENERAL 16TH FLOOR, STRAWBERRY                            HARRISBURG       PA 17120‐0001
                                                                                                  SQUARE
OFFICE OF THE ATTORNEY GENERAL   CHERYL PELLEGRINI                 1162 COURT ST NE               OREGON DEPARTMENT OF                              SALEM            OR 97301‐4095
                                                                                                  JUSTICE
OFFICE OF THE ATTORNEY GENERAL   LIZ WYMAN                         OFFICE OF THE ATTORNEY GENERAL 6 STATE HOUSE STATION                             AUGUSTA          ME 04333‐0001

OFFICE OF THE ATTORNEY GENERAL   100 N CARSON ST                   OLD SUPREME COURT BUILDING                                                       CARSON CITY      NV   89701‐4717
OFFICE OF THE ATTORNEY GENERAL   25 CAPITOL STREET                 STATE HOUSE ANNEX                                                                CONCORD          NH   03301
OFFICE OF THE ATTORNEY GENERAL   DEPUTY AG JEFF KOZIAR             PO BOX 80                                                                        TRENTON          NJ   08625‐0080
OFFICE OF THE ATTORNEY GENERAL   PO BOX 1508                                                                                                        SANTA FE         NM   87504‐1508
OFFICE OF THE ATTORNEY GENERAL   THE CAPITOL û 2ND FLOOR                                                                                            ALBANY           NY   12224
OFFICE OF THE ATTORNEY GENERAL   9001 MAIL SERVICE CTR                                                                                              RALEIGH          NC   27699‐9000
                                 09-50026-mg            Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
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Name                             Address1                           Address2                         Address3                    Address4         City             State Zip
OFFICE OF THE ATTORNEY GENERAL   PO BOX 629                                                                                                       RALEIGH           NC 27602‐0629
OFFICE OF THE ATTORNEY GENERAL   600 E BOULEVARD AVE DEPT 125       STATE CAPITOL                                                                 BISMARCK          ND 58505‐0602
OFFICE OF THE ATTORNEY GENERAL   313 NE 21ST ST                                                                                                   OKLAHOMA CITY     OK 73105‐3207
OFFICE OF THE ATTORNEY GENERAL   1162 COURT ST NE                   OREGON DEPARTMENT OF JUSTICE                                                  SALEM             OR 97301‐4095

OFFICE OF THE ATTORNEY GENERAL   STRAWBERRY SQ                                                                                                    HARRISBURG       PA 17120‐0001
OFFICE OF THE ATTORNEY GENERAL   150 S MAIN ST                                                                                                    PROVIDENCE       RI 02903‐2907
OFFICE OF THE ATTORNEY GENERAL   REMBERT DENNIS BUILDING            1000 ASSEMBLY STREET, ROOM 519                                                COLUMBIA         SC 29201

OFFICE OF THE ATTORNEY GENERAL   PO BOX 11549                                                                                                     COLUMBIA         SC   29211‐1549
OFFICE OF THE ATTORNEY GENERAL   1302 E HIGHWAY 14 STE 1                                                                                          PIERRE           SD   57501‐8501
OFFICE OF THE ATTORNEY GENERAL   500 CHARLOTTE AVE                                                                                                NASHVILLE        TN   37243‐1401
OFFICE OF THE ATTORNEY GENERAL   UTAH STATE CAPITOL COMPLEX         EAST OFFICE BLDG, SUITE 320                                                   SALT LAKE CITY   UT   84114
OFFICE OF THE ATTORNEY GENERAL   STATE CAPITOL, ROOM 236                                                                                          SALT LAKE CITY   UT   84114
OFFICE OF THE ATTORNEY GENERAL   109 STATE ST                                                                                                     MONTPELIER       VT   05609‐1001
OFFICE OF THE ATTORNEY GENERAL   900 EAST MAIN STREET                                                                                             RICHMOND         VA   23219
OFFICE OF THE ATTORNEY GENERAL   1125 WASHINGTON ST SE              P.O. BOX 40100                                                                OLYMPIA          WA   98504‐0100
OFFICE OF THE ATTORNEY GENERAL   1900 KANAWHA BLVD E RM E26                                                                                       CHARLESTON       WV   25305‐0029
OFFICE OF THE ATTORNEY GENERAL   PO BOX 7857                        WISCONSIN DEPARTMENT OF                                                       MADISON          WI   53707‐7857
                                                                    JUSTICE
OFFICE OF THE ATTORNEY GENERAL   123 CAPITOL                        200 W. 24TH STREET                                                            CHEYENNE         WY 82002‐0001
OFFICE OF THE ATTORNEY GENERAL   ALABAMA STATE HOUSE                11 SOUTH UNION STREET, THIRD                                                  MONTGOMERY       AL 36130‐0001
                                                                    FLOOR
OFFICE OF THE ATTORNEY GENERAL   323 CENTER ST STE 200              200 TOWER BUILDING                                                            LITTLE ROCK      AR 72201‐2610
OFFICE OF THE ATTORNEY GENERAL   CALIFORNIA DEPARTMENT OF JUSTICE   PO BOX 944255                    ATTN: PUBLIC INQUIRY UNIT                    SACRAMENTO       CA 94244‐2550

OFFICE OF THE ATTORNEY GENERAL   1300 I ST STE 1740                                                                                               SACRAMENTO       CA   95814‐2954
OFFICE OF THE ATTORNEY GENERAL   1525 SHERMAN ST., 5TH FLOOR                                                                                      DENVER           CO   80203
OFFICE OF THE ATTORNEY GENERAL   PO BOX 120                                                                                                       HARTFORD         CT   06141‐0120
OFFICE OF THE ATTORNEY GENERAL   55 ELM STREET                                                                                                    HARTFORD         CT   06106
OFFICE OF THE ATTORNEY GENERAL   820 N FRENCH ST                    CARVEL STATE OFFICE BUILDING                                                  WILMINGTON       DE   19801‐3536
OFFICE OF THE ATTORNEY GENERAL   40 CAPITOL SQUARE SW                                                                                             ATLANTA          GA   30334
OFFICE OF THE ATTORNEY GENERAL   425 QUEEN ST                                                                                                     HONOLULU         HI   96813‐2903
OFFICE OF THE ATTORNEY GENERAL   100 WEST RANDOLPH STREET                                                                                         CHICAGO          IL   60601
OFFICE OF THE ATTORNEY GENERAL   INDIANA GOVERNMENT CENTER SOUTH‐   402 W. WASHINGTON ST.                                                         INDIANAPOLIS     IN   46204
                                 5TH FLOOR
OFFICE OF THE ATTORNEY GENERAL   THE CAPITOL, ROOM 116              700 CAPITOL AVENUE                                                            FRANKFORT        KY   40601
OFFICE OF THE ATTORNEY GENERAL   STATE CAPITOL, 24TH FLOOR          300 CAPITOL DRIVE                                                             BATON ROUGE      LA   70802
OFFICE OF THE ATTORNEY GENERAL   PO BOX 94095                                                                                                     BATON ROUGE      LA   70804‐9095
OFFICE OF THE ATTORNEY GENERAL   6 STATE HOUSE STA                                                                                                AUGUSTA          ME   04333‐0006
OFFICE OF THE ATTORNEY GENERAL   200 ST. PAUL PLACE                                                                                               BALTIMORE        MD   21202
OFFICE OF THE ATTORNEY GENERAL   MCCORMACK BUILDING                 ONE ASHBURTON PLACE                                                           BOSTON           MA   02108
OFFICE OF THE ATTORNEY GENERAL   G. MENNEN WILLIAMS BUILDING, 7TH   525 W OTTAWA ST                  P.O. BOX 30212                               LANSING          MI   48933‐1067
                                 FLOOR
OFFICE OF THE ATTORNEY GENERAL   445 MINNESOTA ST                   1400 NCL TOWER                                                                SAINT PAUL       MN   55101‐2121
OFFICE OF THE ATTORNEY GENERAL   STATE CAPITOL STE 102                                                                                            SAINT PAUL       MN   55155‐0001
OFFICE OF THE ATTORNEY GENERAL   CARROLL GARTIN JUSTICE BUILDING    450 HIGH STREET                                                               JACKSON          MS   39201
OFFICE OF THE ATTORNEY GENERAL   PO BOX 220                                                                                                       JACKSON          MS   39205‐0220
OFFICE OF THE ATTORNEY GENERAL   SUPREME COURT BUILDING             207 W HIGH ST                    P.O. BOX 899                                 JEFFERSON CITY   MO   65101‐1516
OFFICE OF THE ATTORNEY GENERAL   PO BOX 201401                      DEPARTMENT OF JUSTICE                                                         HELENA           MT   59620‐1401
OFFICE OF THE ATTORNEY GENERAL   215 N SANDERS ST                   JUSTICE BUILDING                                                              HELENA           MT   59601‐4522
OFFICE OF THE ATTORNEY GENERAL   JULIA COSTER
                                 09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                             Address1                         Address2            Address3         Address4         City     State Zip
OFFICE OF THE ATTORNEY GENERAL   JOHN WALL
OFFICE OF THE ATTORNEY GENERAL   HERSCHEL ELKINS
OFFICE OF THE ATTORNEY GENERAL   MARGARITA PADILLA
OFFICE OF THE ATTORNEY GENERAL   MARGARET REITER
OFFICE OF THE ATTORNEY GENERAL   AL SHELDEN
OFFICE OF THE ATTORNEY GENERAL   GARTH LUCERO
OFFICE OF THE ATTORNEY GENERAL   NEIL FISHMAN
OFFICE OF THE ATTORNEY GENERAL   JOAN PILVER
OFFICE OF THE ATTORNEY GENERAL   SANDY ARENAS
OFFICE OF THE ATTORNEY GENERAL   OHLA RYBAKOFF
OFFICE OF THE ATTORNEY GENERAL   ALLISON REARDON
OFFICE OF THE ATTORNEY GENERAL   JEFFREY M. DIKMAN
OFFICE OF THE ATTORNEY GENERAL   LEIGH BRASLOW ALTMAN
OFFICE OF THE ATTORNEY GENERAL   ANN INFINGER
OFFICE OF THE ATTORNEY GENERAL   BILL BRAUCH
OFFICE OF THE ATTORNEY GENERAL   GIL FERGUS
OFFICE OF THE ATTORNEY GENERAL   NICK RANTIS
OFFICE OF THE ATTORNEY GENERAL   JIM NEWBOLD
OFFICE OF THE ATTORNEY GENERAL   JAMES MCCARBRIA
OFFICE OF THE ATTORNEY GENERAL   FRAN BRUNNER
OFFICE OF THE ATTORNEY GENERAL   JIM SHACKELFORD
OFFICE OF THE ATTORNEY GENERAL   DIANE LAWTON
OFFICE OF THE ATTORNEY GENERAL   STEVEN SAKAMOTO‐WENGEL
OFFICE OF THE ATTORNEY GENERAL   LIZ WYMAN
OFFICE OF THE ATTORNEY GENERAL   NANCY A. PIGGUSH
OFFICE OF THE ATTORNEY GENERAL   PRENTISS COX
OFFICE OF THE ATTORNEY GENERAL   PATRICIA MOLTENI
OFFICE OF THE ATTORNEY GENERAL   VICTORIA VOIGHT
OFFICE OF THE ATTORNEY GENERAL   PETER C. L. ROTH
OFFICE OF THE ATTORNEY GENERAL   LORRAINE RAK
OFFICE OF THE ATTORNEY GENERAL   TRACY RICHARDSON
OFFICE OF THE ATTORNEY GENERAL   CAROL JACOBSON
OFFICE OF THE ATTORNEY GENERAL   MARGARET HOLLAND
OFFICE OF THE ATTORNEY GENERAL   ALICE SMALL
OFFICE OF THE ATTORNEY GENERAL   JOSHUA HICKS
OFFICE OF THE ATTORNEY GENERAL   NANCY LORD
OFFICE OF THE ATTORNEY GENERAL   LESLIE NEUSTADT
OFFICE OF THE ATTORNEY GENERAL   ROBERT HART
OFFICE OF THE ATTORNEY GENERAL   CHERYL PELLEGRINI
OFFICE OF THE ATTORNEY GENERAL   LARRY NYDES
OFFICE OF THE ATTORNEY GENERAL   MOZELLE DANIELS
OFFICE OF THE ATTORNEY GENERAL   JOHN MURPHY & C. H. JONES JR.
OFFICE OF THE ATTORNEY GENERAL   TISHA MORRIS
OFFICE OF THE ATTORNEY GENERAL   JENNIFER RAWLS
OFFICE OF THE ATTORNEY GENERAL   MARVIN CLEMENTS
OFFICE OF THE ATTORNEY GENERAL   LEELA FIRESIDE
OFFICE OF THE ATTORNEY GENERAL   DAVE IRVIN
OFFICE OF THE ATTORNEY GENERAL   ELLIOT BURG
OFFICE OF THE ATTORNEY GENERAL   FRITZ CLARK
OFFICE OF THE ATTORNEY GENERAL   PAUL SILVER
OFFICE OF THE ATTORNEY GENERAL   NORMAN GOOGEL
OFFICE OF THE ATTORNEY GENERAL   1412 MAIN ST STE 810                                                                   DALLAS    TX   75202‐4065
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Name                             Address1                            Address2                       Address3                    Address4                 City            State Zip
OFFICE OF THE ATTORNEY GENERAL   DEPUTY AG JEFF KOZIAR               25 MARKET ST                   CN 080                                               TRENTON          NJ 08611‐2148
OFFICE OF THE ATTORNEY GENERAL   30 E BROAD ST FL 17                 STATE OFFICE TOWER                                                                  COLUMBUS         OH 43215‐3414
OFFICE OF THE ATTORNEY GENERAL   PO BOX 110300                       DIAMOND COURTHOUSE                                                                  JUNEAU           AK 99811‐0300
OFFICE OF THE ATTORNEY GENERAL   1275 W WASHINGTON ST                DEPARTMENT OF LAW                                                                   PHOENIX          AZ 85007‐2926
OFFICE OF THE ATTORNEY GENERAL   HOOVER STATE OFFICE BUILDING        1305 E. WALNUT STREET                                                               DES MOINES        IA 50319
OFFICE OF THE ATTORNEY GENERAL   PO BOX 98920                        STATE CAPITOL                                                                       LINCOLN          NE 68509‐8920
OFFICE OF THE ATTORNEY GENERAL   W. RUSHING PAYNE                    OFFICE OF THE ATTORNEY GENERAL 300 DEXTER AVENUE                                    MONTGOMERY       AL 36130‐0001

OFFICE OF THE ATTORNEY GENERAL   FEPULEA'I AFA RIPLEY, JR.           DEPARTMENT OF LEGAL AFFAIRS    AMERICAN SAMOA              EXECUTIVE OFFICE         PAGO PAGO       AS
                                                                                                    GOVERNMENT                  BUILDING, UTULEI
OFFICE OF THE ATTORNEY GENERAL   DUSTIN MCDANIEL                     323 CENTER ST                  OFFICE OF THE ATTORNEY      SUITE 200                LITTLE ROCK     AR 72201‐2603
                                                                                                    GENERAL
OFFICE OF THE ATTORNEY GENERAL   PETER J. NICKLES                    ONE JUDICIARY SQUARE           441 4TH STREET, NW          SUITE 1145S              WASHINGTON      DC 20001
OFFICE OF THE ATTORNEY GENERAL   J. PATRICK MASON                    287 W OBRIEN DR                OFFICE OF THE ATTORNEY                               HAGATNA         GU 96910‐5151
                                                                                                    GENERAL
OFFICE OF THE ATTORNEY GENERAL   MARK BENNETT                        425 QUEEN ST                   DEPARTMENT OF THE                                    HONOLULU         HI   96813‐2903
                                                                                                    ATTORNEY GENERAL
OFFICE OF THE ATTORNEY GENERAL   BRETT DELANGE                       OFFICE OF THE ATTORNEY GENERAL 700 W. STATE STREET         P.O. BOX 83720           BOISE            ID   83720‐0010

OFFICE OF THE ATTORNEY GENERAL   GREG ZOELLER                        OFFICE OF THE ATTORNEY GENERAL 302 WEST WASHINGTOM ST.                              INDIANAPOLIS     IN   46204

OFFICE OF THE ATTORNEY GENERAL   JAMES D. "BUDDY" CALDWELL           PO BOX 94005                   OFFICE OF THE ATTORNEY                               BATON ROUGE      LA   70804‐9005
                                                                                                    GENERAL
OFFICE OF THE ATTORNEY GENERAL   POSSESI S. BLOOMFIELD               PO BOX 890                     OFFICE OF THE ATTORNEY                               MAJURO          MH 96960‐0890
                                                                                                    GENERAL
OFFICE OF THE ATTORNEY GENERAL   JIM HOOD                            WALTER SILLERS BUILDING        550 HIGH STREET, SUITE 1200 P.O. BOX 220             JACKSON         MS 39201

OFFICE OF THE ATTORNEY GENERAL   STEVE BOLLOCK                       PO BOX 201401                  DEPARTMENT OF JUSTICE                                HELENA          MT 59620‐1401
OFFICE OF THE ATTORNEY GENERAL   LESLIE C. LEVY                      OFFICE OF THE ATTORNEY GENERAL 2115 STATE CAPITOL                                   LINCOLN         NE 68509

OFFICE OF THE ATTORNEY GENERAL   GARY KING                           408 GALISTEO STREET            VILLAGRA BUILDING           P.O. DRAWER 1508         SANTA FE        NM 87501
OFFICE OF THE ATTORNEY GENERAL   WAYNE STENEHJEM                     STATE CAPITOL                  600 E. BOULEVARD            DEPT. 125                BISMARCK        ND 58505
OFFICE OF THE ATTORNEY GENERAL   ADMINISTRATION BUILDING             P.O. BOX 501298                                                                     SAIPAN          MP
OFFICE OF THE ATTORNEY GENERAL   JANE WHEELER                        313 NE 21ST ST                 OFFICE OF THE ATTORNEY                               OKLAHOMA CITY   OK 73105‐3207
                                                                                                    GENERAL
OFFICE OF THE ATTORNEY GENERAL   MICHAEL COPELAND                    OFFICE OF THE ATTORNEY GENERAL P.O. BOX 1365                                        KOROR           PW

OFFICE OF THE ATTORNEY GENERAL   ANTONIO SAGARDIA                    OFFICE OF THE ATTORNEY GENERAL P.O. BOX 192                SAN JUAN PR 00902‐0192

OFFICE OF THE ATTORNEY GENERAL   JIM LEE                             150 S MAIN ST                  OFFICE OF THE ATTORNEY                               PROVIDENCE       RI   02903‐2907
                                                                                                    GENERAL
OFFICE OF THE ATTORNEY GENERAL   THE HONORABLE HENRY MCMASTER        REMBERT C. DENNIS OFFICE       1000 ASSEMBLY STREET,       P.O. BOX 11549           COLUMBIA         SC   29211
                                                                     BUILDING                       ROOM 519
OFFICE OF THE ATTORNEY GENERAL   LARRY LONG                          OFFICE OF THE ATTORNEY GENERAL 500 EAST CAPITOL                                     PIERRE          SD    57501

OFFICE OF THE ATTORNEY GENERAL   RAY HINTZE                          OFFICE OF THE ATTORNEY GENERAL UTAH STATE CAPITOL          350 NORTH STATE STREET, SALT LAKE CITY   UT 84114
                                                                                                    COMPLEX                     SUITE 230
OFFICE OF THE ATTORNEY GENERAL   DEPARTMENT OF JUSTICE               G.E.R.S. COMPLEX               48B‐50C KRONPRINSDENS                               ST THOMAS         VI   00802
                                                                                                    GADE
OFFICE OF THE ATTORNEY GENERAL   RAYMOND P. TAFFORA                  DEPARTMENT OF JUSTICE          STATE CAPITOL               P.O. BOX 7857            MADISON         WI 53707
OFFICE OF THE ATTORNEY GENERAL   BRUCE A. SALZBURG                   OFFICE OF THE ATTORNEY GENERAL 123 CAPITOL BUILDING                                 CHEYENNE        WY 82002‐0001
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Name                                   Address1                               Address2                         Address3                    Address4                City              State Zip
OFFICE OF THE ATTORNEY GENERAL         FSM DEPARTMENT OF JUSTICE              P.O. BOX PS 105                                              PALIKIR POHNPEI
                                                                                                                                           MICRONESIA
OFFICE OF THE ATTORNEY GENERAL ‐    PO BOX 12548                              CAPITOL STATION                                                                      AUSTIN             TX   78711‐2548
TEXAS
OFFICE OF THE CALIFONIA ATTORNEY    ATTY FOR STATE OF CALIFORNIA              ATTN: MARGARITA PADILLA          1515 CLAY STREET , 20TH     P.O BOX 70550           OAKLAND            CA 94612‐0550
GENERAL SUPERVISING DEPUTY ATTORNEY                                                                            FLOOR
G
OFFICE OF THE CHAPTER 13 TRUSTEE    1899 PAYSPHERE CIR                                                                                                             CHICAGO            IL 60674‐0018
OFFICE OF THE CHIEF COUNSEL         ATTN: CHARLES L. FINKE, ANDREA WONG,      ATTY FOR CREDITOR PENSION        1200 K STREET, NW, 3RD                              WASHINGTON         DC 20005‐4026
                                    AND MICHAEL A. MARICCO                    BENEFIT GUARANTY CORPORATION     FLOOR

OFFICE OF THE CITY CLERK CITY OF NEW   1 CENTRE ST RM 265                     ATTN ENROLLMENT                                                                      NEW YORK           NY 10007‐1696
YORK
OFFICE OF THE COLORADO ATTORNEY        ATTENTION: JAMES B. HOLDEN             1525 SHERMAN STREET, 7TH FLOOR                                                       DENVER             CO 80203
GENERAL
OFFICE OF THE COUNTY ATTORNEY          2100 CLARENDON BLVD.                   SUITE 403                                                                            ARLINGTON          VA   22201
OFFICE OF THE COUNTY ATTORNEY          304 N. OLIVE AVENUE                                                                                                         WEST PALM BEACH    FL   33401
OFFICE OF THE COUNTY ATTORNEY          7530 LITTLE ROAD, SUITE 340                                                                                                 NEW PORT RICHEY    FL   34654
OFFICE OF THE COUNTY ATTORNEY          302 N. OLIVE AVENUE                                                                                                         WEST PALM BEACH    FL   33401
OFFICE OF THE COUNTY ATTORNEY          301 N. OLIVE AVENUE                                                                                                         WEST PALM BEACH    FL   33401
OFFICE OF THE COUNTY ATTORNEY          1801 27TH ST                                                                                                                VERO BEACH         FL   32960‐3388
OFFICE OF THE COUNTY ATTORNEY          303 N. OLIVE AVENUE                                                                                                         WEST PALM BEACH    FL   33401
OFFICE OF THE COUNTY ATTORNEY          67 ATHENS ST                                                                                                                JEFFERSON          GA   30549‐1401
OFFICE OF THE COUNTY COUNSEL           MAIN OFFICE                            70 WEST HEDDING STREET, 9TH                                                          SAN JOSE           CA   95110
                                                                              FLOOR, EAST WING
OFFICE OF THE COUNTY COUNSEL‐ COUNTY ANN MILLER RAVEL, COUNTY COUNSEL         NEYSA A. FLIGOR, DEPUTY COUNTY   70 WEST HEDDING STREET,                             SAN JOSE           CA 95110
OF SANTA CLARA                                                                COUNSEL                          EAST WING, NINTH FLOOR
OFFICE OF THE DIST ATTORNEY          PO BOX 989067                                                                                                                 W SACRAMENTO      CA    95798‐9067
OFFICE OF THE DISTRICT ATTORNEY      DELAWARE COUNTY COURTHOUSE               201 W FRONT ST                                                                       MEDIA             PA    19063‐2708
OFFICE OF THE FAYETTE                COUNTY SHERIFF                           PO BOX 34148                                                                         LEXINGTON         KY    40588‐4148
OFFICE OF THE MISSISSIPPI            STATE TREASURER                          PO BOX 201                                                                           JACKSON           MS    39205‐0201
OFFICE OF THE OHIO ATTORNEY GENERAL ATTY FOR STATE OF OHIO                    ATT: LUCAS WARD, ESQ.            150 EAST GAY STREET, 21ST                           COLUMBUS          OH    43215
                                                                                                               FLOOR
OFFICE OF THE RHODE ISLAND GENERAL     FRANK CAPRIO, GENERAL TREASURER        82 SMITH ST STE 102                                                                  PROVIDENCE         RI   02903‐1121
TREASURER
OFFICE OF THE SECRETARY OF STATE       VEHICLE SERVICES DEPARTMENT            501 SOUTH SECOND STREET                                                              SPRINGFIELD       IL    62756‐7000
OFFICE OF THE STAND CHP13 TRUS         ACCOUNT OF JAY A HOLLEBRANDS           26555 EVERGREEN RD STE 1100                                                          SOUTHFIELD        MI    48076‐4251
OFFICE OF THE STANDING TRUSTEE         ACCOUNT OF ANDREW J O LEAR             PO BOX 3254                                                                          GRAND RAPIDS      MI    49501‐3254
OFFICE OF THE STANDING TRUSTEE         ACCOUNT OF JOHN ROSENDAHL              PO BOX 3254                                                                          GRAND RAPIDS      MI    49501‐3254
OFFICE OF THE STANDING TRUSTEE         ACCT OF HENRY A ZALOKAR                PO BOX 931238                                                                        CLEVELAND         OH    44193‐1469
OFFICE OF THE STANDING TRUSTEE         ACCOUNT OF MAXIE ROBINSON              PO BOX 3254                                                                          GRAND RAPIDS      MI    49501‐3254
OFFICE OF THE STANDING TRUSTEE         ACCOUNT OF SAMUEL JOHNSON              PO BOX 3254                                                                          GRAND RAPIDS      MI    49501‐3254
OFFICE OF THE STANDING TRUSTEE         ACCT OF MICHAEL H HONSOWITZ            PO BOX 3254                                                                          GRAND RAPIDS      MI    49501‐3254
OFFICE OF THE STANDING TRUSTEE         ACCT OF GRADY WALKER JR                PO BOX 3254                                                                          GRAND RAPIDS      MI    49501‐3254
OFFICE OF THE STANDING TRUSTEE         ACCT OF LORI MILBOURNE                 PO BOX 3254                                                                          GRAND RAPIDS      MI    49501‐3254
OFFICE OF THE STANDING TRUSTEE         ACCT OF PAUL FRANCIS STANO             PO BOX 931238                                                                        CLEVELAND         OH    44193‐1469
OFFICE OF THE STANDING TRUSTEE         ACCT OF EVA M FLEMING                  PO BOX 3254                                                                          GRAND RAPIDS      MI    49501‐3254
OFFICE OF THE STATE TREASURER          SOUTH DAKOTA                           UNCLAIMED PROPERTY DIV           500 E CAPITOL AVE                                   PIERRE            SD    57501
OFFICE OF THE STATE TREASURER          JACK MARKELL                           820 SILVER LAKE BLVD STE 100                                                         DOVER             DE    19904‐2464
OFFICE OF THE STATE TREASURER          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 24 BEACON ST STE 227                                                                 BOSTON            MA    02133‐1099

OFFICE OF THE STATE TREASURER          24 BEACON ST STE 227                                                                                                        BOSTON            MA 02133‐1099
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Name                                  Address1                               Address2                       Address3                    Address4              City            State Zip
OFFICE OF THE STATE TREASURER MICHAEL LEGISLATIVE BUILDING                   PO BOX 5089                                                                      OLYMPIA          WA 98504‐0200
J. MURPHY
OFFICE OF THE TAX COLLECTOR           TOWN OF HOULTON                        21 WATER ST                                                                      HOULTON         ME 04730‐2104
OFFICE OF THE TREASURER               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 364 W LANE AVE                 RIVERWATCH TOWER, SUITE B                         COLUMBUS        OH 43201‐4350

OFFICE OF THE TREASURER              364 W LANE AVE                         RIVERWATCH TOWER, SUITE B                                                         COLUMBUS        OH 43201‐4350
OFFICE OF THE TREASURER CARY KENNEDY ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 140 STATE CAPITOL                                                                 DENVER          CO 80203

OFFICE OF THE TREASURER CARY KENNEDY 140 STATE CAPITOL                                                                                                        DENVER          CO 80203

OFFICE OF THE TRUSTEE                 ACCT OF ROBERT A DOLLENMEYER          LOCATION 859                                                                      CINCINNATI      OH 29340
OFFICE OF THE UNITED STATES TRUSTEE   TRACY HOPE DAVIS                      33 WHITEHALL STREET             21ST FLOOR                                        NEW YORK        NY 10004

OFFICE OF THE UNITED STATES TRUSTEE   GEORGE F. MCELREATH, ESQ.             1100 COMMERCE ST STE 976                                                          DALLAS           TX   75242‐1011

OFFICE OF WESTCHESTER COUNTY ATTY     ATT: MELISSA‐JEAN ROTINI, ESQ.        148 MARTINE AVENUE, 6TH FLOOR                                                     WHITE PLAINS    NY 10601

OFFICE OF WILLIAM M RUDOW             2 HOPKINS PLZ STE 620                                                                                                   BALTIMORE       MD    21201‐2908
OFFICE OF WORKERS COMPENSATION        ATTN: B CLARY                         PO BOX 94040                                                                      BATON ROUGE     LA    70804‐9040
OFFICE ONE LLC                        3303 W SAGINAW ST # C3                                                                                                  LANSING         MI    48917‐2303
OFFICE RESOURCE/TROY                  2470 INDUSTRIAL ROW                                                                                                     TROY            MI    48084
OFFICE STAND CHAP 13 TRUSTEE          ACCT OF CARL D BUSSEY                 26555 EVERGREEN RD STE 1100                                                       SOUTHFIELD      MI    48076‐4251
OFFICE STUDY/ANN ARB                  2901 BAXTER RD                                                                                                          ANN ARBOR       MI    48109‐2150
OFFICE SUPPLY/VN NUY                  6141 KESTER AVE                                                                                                         VAN NUYS        CA    91411‐2148
OFFICE TEAM                           PO BOX 6248                                                                                                             CAROL STREAM    IL    60197‐6248
OFFICE TEAM                           FILE 73484                            PO BOX 60000                                                                      SAN FRANCISCO   CA    94160‐0001
OFFICE ZONE LLC                       461 W 200 N                                                                                                             BOUNTIFUL       UT    84010
OFFICE, CHAPTER 13 TRUSTEE            ACCT OF GREGORY J ERICKSON            26555 EVERGREEN RD              STE 1100                                          SOUTHFIELD      MI    48076‐4251
OFFICE‐DISTRICT ATTORNEY              ACCT OF HAROLD A FORWITH SR           PO BOX 697                                                                        SANTA BARBARA   CA    93102‐0697
OFFICEMAX                             ATTN: CREDIT                          263 SHUMAN BLVD                                                                   NAPERVILLE      IL    60563‐1255
OFFICEMAX INC                         263 SHUMAN BLVD                                                                                                         NAPERVILLE      IL    60563
OFFICEMAX INC                         13301 STEPHENS RD                                                                                                       WARREN          MI    48089‐4341
OFFICER DAVID P CARROLL               ACCT OF TAMARA PINON                  DOCKET#                         PO BOX 1196                                       FAIRFIELD       NJ    15570
OFFICER JOSEPH ESPOSITO               ACCT OF CRAIG A MATTICE               DOCKET# DC840‐94                287 BLOOMFIELD AVE                                CALDWELL        NJ    07006
OFFICER ZACHARY ROMANO                ACCT OF DIANNE MAYO                   49 WOODLAWN AVE                                                                   BRIDGEWATER     NJ    08807‐2028
OFFICER ZACHARY ROMANO ACCT OF        C A MATTICE VJ‐00793‐98               PO BOX 565                                                                        FREWSBURG       NY    14738‐0565
OFFICER, JOHN L                       816 RIDGE RD                                                                                                            ENGLEWOOD       OH    45322‐2209
OFFICER, JOHN RUSSELL                 178 MARRETT FARM RD                                                                                                     UNION           OH    45322‐3445
OFFICER, LOVADA M                     1223 MOUNT BROOK CT                                                                                                     GREENWOOD       IN    46143‐9272
OFFICER, MELISSA A                    11080 N STATE ROAD 1 LOT 153                                                                                            OSSIAN          IN    46777‐9779
OFFICER, MELISSA ANN                  11080 N STATE ROAD 1 LOT 153                                                                                            OSSIAN          IN    46777‐9779
OFFICER, OLIVER L                     64 GILLESPIE                                                                                                            PONTIAC         MI    48341
OFFICER, PHILLIP M                    19 BEAUDETTE AVE                                                                                                        PONTIAC         MI    48341‐2181
OFFICER, VELMA B                      815 RIDGE RD                                                                                                            ENGLEWOOD       OH    45322‐2209
OFFICER, WILLIA M                     543 E 109TH ST                                                                                                          CLEVELAND       OH    44108‐1439
OFFICER,JOHN L                        816 RIDGE RD                                                                                                            ENGLEWOOD       OH    45322‐2209
OFFICEWORKS INC                       PO BOX 6069 DEPT 96                                                                                                     INDIANAPOLIS    IN    46206
OFFICEWORKS INC                       12000 EXIT 5 PKWY                                                                                                       FISHERS         IN    46037‐7940
OFFICIAL AIRLINE/IL                   2000 CLEARWATER DR                                                                                                      OAK BROOK       IL    60523‐8809
OFFICIAL CITY PREP INC                49 VIRGINIA PARK ST                                                                                                     DETROIT         MI    48202‐2009
OFFICINE MECCANICHE REZZATESI SRL     BRESCIA                                                                                           REZZATO 25086 ITALY
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Name                                  Address1                         Address2                      Address3   Address4                  City                 State Zip
OFFICINE MOLLO DI MOLLO ANTONIO E C   VIA CATTANEO 4‐10048                                                      NICHELINO TO‐ITALIA ITALY

OFFICINE MOLLO DI MOLLO SAS           VIA GOITO 36                                                              ITALY
OFFICINE PELLI S.P.A.                 VIA G. ARCOLEO, 14‐28                                                     NAPOLI 80121 ITALY
OFFIE BROOKS                          7351 E 39TH ST                                                                                       TUCSON               AZ   85730‐1766
OFFIE FOWLER                          203 GLENN WINKLES DR                                                                                 SHARPSBURG           GA   30277‐3346
OFFIE WILLIAMS                        720 N WALCO RD APT 213                                                                               MALVERN              AR   72104‐2630
OFFIELD JAMES                         7439 HOYT RD                                                                                         HARBOR POINT         MI   49740‐9605
OFFILL, GREGORY G                     PO BOX 38                                                                                            PENCIL BLUFF         AR   71965‐0038
OFFILL, ROBERT M                      502 W VERDE WOODS ST                                                                                 GRAND PRAIRIE        TX   75052‐6655
OFFIN RIVER'S ACCESSORIES ETC         ATTN: SHARON YAMOAH              6080 WOODWARD AVE                                                   DETROIT              MI   48202‐3518
OFFLEY JR, WAYNE E                    1754 N WELLMAN RD                                                                                    WOODLAND             MI   48897‐9771
OFFMAN, MICHAEL L                     534 HOPE ST                                                                                          BRIGHTON             MI   48116‐1822
OFFNER JR, ROBERT E                   4203 PORTALES DR                                                                                     ARLINGTON            TX   76016‐4613
OFFNER, DANIEL I                      7433 LAURIE DR                                                                                       FORT WORTH           TX   76112‐4408
OFFNER, DANIEL IVAN                   7433 LAURIE DR                                                                                       FORT WORTH           TX   76112‐4408
OFFNER, DAVID D                       24500 FLORENCE RD                                                                                    ARMADA               MI   48005‐2101
OFFNER, DAVID DALE                    24500 FLORENCE RD                                                                                    ARMADA               MI   48005‐2101
OFFNER, ROBERT E                      7453 LAURIE DR                                                                                       FORT WORTH           TX   76112‐4408
OFFRINK, MARY L                       1770 EAST MADGE ST                                                                                   HAZEL PARK           MI   48030
OFFSITE INDUSTRIES LTD                225 ONTARIO ST                   4 QUEEN ST PO BOX 1582                   SAINT CATHARINES ON L2R
                                                                                                                7J9 CANADA
OFFSITE INDUSTRIES LTD
OFFSITE INDUSTRIES LTD                225 ONTARIO ST                                                            ST CATHARINES ON L2R 7J2
                                                                                                                CANADA
OFFUTT MOTORS, INC.                   6610 HIGHWAY 32                                                                                      LISBON              ND 58054‐9701
OFFUTT ROBERT D (358165)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA 23510
                                                                       STREET, SUITE 600
OFFUTT, CHERYL M                      2703 PALACE CT                                                                                       THOMPSONS STATION   TN    37179‐9290
OFFUTT, DARRELL G                     480 GLOUCESTER CIR                                                                                   BRUNSWICK           OH    44212‐1878
OFFUTT, KATHLEEN M                    480 GLOUCESTER CIR                                                                                   BRUNSWICK           OH    44212‐1878
OFFUTT, ROBERT D                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA    23510‐2212
                                                                       STREET, SUITE 600
OFI SUBSID 3                          520 MADISON AVENUE 18TH FLOOR                                                                        NEW YORK            NY    10022
OFIARA, EDWARD J                      10900 CENTRAL PARK AVE                                                                               NEW PORT RICHEY     FL    34655‐2240
OFIELD, ETHEL V                       10603 GARNISH DR                                                                                     DOWNEY              CA    90241‐2831
OFIELD, HAROLD L                      1333 E 36TH ST                                                                                       KANSAS CITY         MO    64109‐2467
OFILIA LUNA                           1069 W SCOTTWOOD AVE                                                                                 FLINT               MI    48507‐3640
OFLAHRITY, JOHN L                     4028 BORDEAUX DR                                                                                     JANESVILLE          WI    53546‐1782
OFLYNN, JAMES WILLIAM                 12412 OLD CORUNNA RD                                                                                 LENNON              MI    48449‐9738
OFOE, NATHANIEL                       6970 WIGWAM WAY                                                                                      REYNOLDSBURG        OH    43068‐4810
OFORI MARTIN                          OFORI, MARTIN                    1476 SHAKESPERE AVE                                                 BRONX               NY    10452
OFREDA R WORTHY                       21381 INDIAN CREEK DR                                                                                FARMINGTON HLS      MI    48335‐5514
OFREDA WORTHY                         21381 INDIAN CREEK DR                                                                                FARMINGTON HLS      MI    48335‐5514
OFSANKO, JOHN L                       PO BOX 503                                                                                           FORKED RIVER        NJ    08731‐0503
OFSANKO, LAWERENCE J                  213 PREDMORE AVE                                                                                     LANOKA HARBOR       NJ    08734‐2433
OFSANKO, RONALD A                     13441 WYNDEMERE CIR                                                                                  STERLING HTS        MI    48313‐2655
OFSTEDAL, JANET F                     1765 KYLLO LN                                                                                        EAGAN               MN    55122‐1148
OFSTUN, MARVIN J                      604 CORNELIA ST                                                                                      JANESVILLE          WI    53545‐2418
OFSWCD‐ENVIROTHON                     JEANNE RUSSEL                    2045 MORSE RD B‐3                                                   COLUMBUS            OH    43229
OFT/CONCORD                           561 VIRGINIA RD                                                                                      CONCORD             MA    01742‐2727
OFTEDAHL, KENT R                      315 1/2 S MAIN ST                                                                                    VIROQUA             WI    54665
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Name                                   Address1                        Address2                         Address3   Address4         City              State Zip
OFUNNE, JOEL I                         PO BOX 115401                                                                                ATLANTA            GA 30310‐8401
OFZKY, WILHELM                         6214 ALTER RD                                                                                DAYTON             OH 45424‐3546
OG, POK S                              125 CAVERSHAM WOODS                                                                          PITTSFORD          NY 14534‐2842
OGALE, SAMEER H                        3423 CONNORS DR                                                                              ROCHESTER HILLS    MI 48307‐5076
OGAN HOWARD & DOREEN                   OGAN, DOREEN                    120 WEST MADISON STREET 10TH                                 CHICAGO             IL 60602
                                                                       FLOOR
OGAN HOWARD & DOREEN                   OGAN, HOWARD                    120 WEST MADISON STREET 10TH                                 CHICAGO            IL   60602
                                                                       FLOOR
OGAN, GENE                             265 IRONWOOD DR                                                                              W CARROLLTON      OH    45449‐1542
OGAN, GERALD P                         PO BOX 653                                                                                   FRANKTON          IN    46044‐0653
OGAN, JACK W                           PO BOX 331                                                                                   O FALLON          MO    63366‐0331
OGAN, LEON                             PO BOX 300                                                                                   ARJAY             KY    40902‐0300
OGAN, STANLEY E                        17101 E HART AVE                                                                             INDEPENDENCE      MO    64055‐3043
OGAN, THOMAS L                         2844 N 300 W                                                                                 WABASH            IN    46992‐8501
OGANES KIRAKOS‐SHIRVANYAN
OGANESYAN AURTYAN                      OGANESYAN, ARUTYAN              5055 WILSHIRE BLVD STE 300                                   LOS ANGELES       CA    90036‐6101
OGANESYAN, ARUTYAN                     KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                                   LOS ANGELES       CA    90036‐6101
OGANS, BEVERLY D                       5736 MARY SUE ST                                                                             CLARKSTON         MI    48346‐3249
OGANYAN VAAG                           OGANYAN, VAAG                   5055 WILSHIRE BLVD STE 300                                   LOS ANGELES       CA    90036‐6101
OGANYAN, VAAG                          KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                                   LOS ANGELES       CA    90036‐6101
OGAR, LILLIAN K                        20311 RIVER OAK DR                                                                           DEARBORNHEIGHTS   MI    48127‐2754
OGARA JAMES (474823)                   DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                      NEW YORK          NY    10022‐5456
OGARA JAMES (474823) ‐ BECKER GEORGE   DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                      NEW YORK          NY    10022‐5456

OGARA JAMES (474823) ‐ DAVIS RUDOLPH DEARIE & ASSOCIATES JOHN C        515 MADISON AVE RM 1118                                      NEW YORK          NY 10022‐5456

OGARA JAMES (474823) ‐ ESMOND        DEARIE & ASSOCIATES JOHN C        515 MADISON AVE RM 1118                                      NEW YORK          NY 10022‐5456
ROBERT
OGARA JAMES (474823) ‐ HARRIS EDWARD DEARIE & ASSOCIATES JOHN C        515 MADISON AVE RM 1118                                      NEW YORK          NY 10022‐5456

OGARA JAMES (474823) ‐ PHILIP JAMES    DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                      NEW YORK          NY 10022‐5456
OGARA JAMES (474823) ‐ POINTEK         DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                      NEW YORK          NY 10022‐5456
THOMAS
OGARA JAMES (474823) ‐ SMALLWOOD       DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                      NEW YORK          NY 10022‐5456
NATHANIEL
OGARA JAMES (474823) ‐ TWYMAN          DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                      NEW YORK          NY 10022‐5456
THOMAS
OGARA JAMES (474823) ‐ WASHINGTON      DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                      NEW YORK          NY 10022‐5456
WILLIAM
OGARA, JAMES                           DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                      NEW YORK          NY 10022‐5456
OGARA, STEVEN GERARD
OGARA, STEVEN GERARD                   GEARHART R DENNING              215 E LOCUST ST                                              CLEARFIELD        PA    16830‐2422
OGAREK, ANTHONY M                      22015 CLOVE DR                                                                               FRANKFORT         IL    60423‐7876
OGARRO, CLIFFORD S                     2240 CLEARWATER DR                                                                           DELTONA           FL    32738‐5048
OGAS, EDWARD D                         N79W22235 BRAMBLE DR                                                                         SUSSEX            WI    53089‐2105
OGAS, EDWARD DON                       N79W22235 BRAMBLE DR                                                                         SUSSEX            WI    53089‐2105
OGAS, RICARDO                          N84W17458 MENOMONEE AVE                                                                      MENOMONEE FALLS   WI    53051‐2669
OGATA, LORI ANN S                      APT 1533                        5303 VILLAGE PARK DR SOUTHEAST                               BELLEVUE          WA    98006‐5585

OGAWA, FREMONT T                       341 E JAMESTOWN RD UNIT 67                                                                   GREENVILLE        PA 16125‐7310
OGAZ, MARIA                            15947 LITTLE BEAVER ST                                                                       VICTORVILLE       CA 92395‐9543
OGAZ, RAYMOND A                        10 E HAWTHORN PKWY APT 241                                                                   VERNON HILLS      IL 60061‐1436
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Name                              Address1                          Address2                      Address3   Address4         City             State Zip
OGAZ, RAYMOND A                   10EAST HAWTHORN PKWY              APT 241                                                   VERNON HILLS       IL 60061‐1436
OGBIN, SARAH                      22 W 22ND ST                                                                                BAYONNE           NJ 07002‐3616
OGBORN, JUDITH A                  9980 AREND RD                                                                               MARTINSVILLE      IN 46151‐8545
OGBORN, JUDITH A                  9980 AREND RD.                                                                              MARTINSVILLE      IN 46151‐8545
OGBURN, ANTHONY A                 178 ROBERTA DR                                                                              HENDERSONVILLE    TN 37075‐5320
OGBURN, CHARLES E                 3117 CHEROKEE AVE                                                                           FLINT             MI 48507‐1909
OGBURN, CHARLES ELBERT            3117 CHEROKEE AVE                                                                           FLINT             MI 48507‐1909
OGBURN, EUNICE M                  3034 E STANLEY RD                 C/O ROOSEVELT BROWN                                       MOUNT MORRIS      MI 48458‐8805
OGBURN, EUNICE M                  C/O ROOSEVELT BROWN               3034 E STANLEY RD                                         MT MORRIS         MI 48458‐8805
OGBURN, GERTIE M                  3614 PROVIDENCE ST                                                                          FLINT             MI 48503‐7002
OGBURN, HOWARD R                  3211 OAK CT                                                                                 ANDERSON          IN 46011‐3952
OGBURN, IRMA F                    4883 WESTCHESTER AVE APT 3                                                                  AUSTINTOWN        OH 44515‐6518
OGBURN, JAMES                     3855 PHILIP ST                                                                              DETROIT           MI 48215‐2323
OGBURN, JAMES E                   11 QUINCY MANOR LN                                                                          BURLINGTON        NJ 08016‐5117
OGBURN, LEE D                     3614 PROVIDENCE ST                                                                          FLINT             MI 48503‐7002
OGBURN, RODNEY                    PO BOX 88083                                                                                INDIANAPOLIS      IN 46208‐0083
OGBURN, ROY D                     PO BOX 456                                                                                  ANDERSON          IN 46015‐0456
OGBURN, WILLIE J                  PO BOX 183                                                                                  IDEAL             GA 31041‐0183
OGDEN AUTOMOTIVE CENTER                                             430 N OGDEN AVE                                                              IL 60642
OGDEN CHEVROLET, INC.             MARC IOZZO                        100 W OGDEN AVE                                           WESTMONT           IL 60559‐1304
OGDEN CHEVROLET, INC.             100 W OGDEN AVE                                                                             WESTMONT           IL 60559‐1304
OGDEN COLEMAN                     7323 CAMPFIELD RD                                                                           PIKESVILLE        MD 21208‐5817
OGDEN EARL L (439374)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                    STREET, SUITE 600
OGDEN FITZGERALD I I I            3027 PEARL ST                                                                               FRANKLIN PARK    IL   60131‐2711
OGDEN GEORGE JR                   PO BOX 2937                                                                                 LK HAVASU CTY    AZ   86405‐2937
OGDEN JR, MOSES L                 2800 OLD SURRENCY RD                                                                        BAXLEY           GA   31513‐7377
OGDEN MARTIN SYSTEMS              NOT AVAILABLE                     2320 S HARDING ST                                         INDIANAPOLIS     IN   46221‐2028
OGDEN NEWELL WELCH PLLC           1700 PNC PLZ                      500 W JEFFERSON ST                                        LOUISVILLE       KY   40202‐2825
OGDEN NEWSPAPERS                  1500 MAIN STREET                                                                            WHEELING         WV   26003‐2826
OGDEN NEWSPAPERS                  1500 MAIN ST                                                                                WHEELING         WV   26003‐2826
OGDEN OLDS NISSAN BMW INC, BERT
OGDEN SONIA C                     OGDEN, SONIA C                    3333 LEE PKWY STE 600                                     DALLAS           TX   75219‐5117
OGDEN, AVA M                      100 ROSEWOOD DR                                                                             TIPTON           IN   46072‐9291
OGDEN, BERNADETTE                 560 CALM LAKE CIR APT D                                                                     ROCHESTER        NY   14612‐2638
OGDEN, BERNARD M                  15651 ELLEN DR                                                                              LIVONIA          MI   48154‐2321
OGDEN, BETTY J                    21 PINE BURR CIR                                                                            MARSHALL         TX   75672‐4767
OGDEN, CARL L                     1593 COMMONWEALTH                                                                           XENIA            OH   45385‐4811
OGDEN, CATHERINE O                6 BRUCE CT                                                                                  GERMANTOWN       OH   45327‐9330
OGDEN, CATHERINE O                6 BRUCE COURT                                                                               GERMANTOWN       OH   45327‐9330
OGDEN, CHAD D                     16254 SILVERSHORE DR                                                                        FENTON           MI   48430‐9157
OGDEN, DAVID B                    7523 NORMANDY BLVD                                                                          INDIANAPOLIS     IN   46278‐1551
OGDEN, DAVID C                    2412 KEY AVE                                                                                SANFORD          FL   32771‐4648
OGDEN, DEBORAH J                  805 SALEM DR                                                                                KOKOMO           IN   46902‐4982
OGDEN, DONALD W                   238 E MAPLE ST                                                                              MONTROSE         MI   48457‐9063
OGDEN, DOYLE D                    126 TIDD DR                                                                                 GALION           OH   44833‐1042
OGDEN, EARL L                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                                    STREET, SUITE 600
OGDEN, EBONIE L                   PO BOX 7568                                                                                 LAS VEGAS        NV   89125‐7568
OGDEN, EDGAR H                    2691 W 600 S                                                                                ANDERSON         IN   46013‐9402
OGDEN, ELIZABETH R                1099 MEADOW BRANCH RD                                                                       BEAN STATION     TN   37708
OGDEN, EVA S                      1901 AMADOR AVE                                                                             DAVIS            CA   95616‐3010
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Name                      Address1                        Address2            Address3         Address4         City            State Zip
OGDEN, FRANCES A          6839 SPRINGTREE LN                                                                    LANSING          MI 48917‐9663
OGDEN, FRANK A            20257 WILDCAT RUN DR                                                                  ESTERO           FL 33928‐2011
OGDEN, FRANKLIN A         PO BOX 422                                                                            SAGLE            ID 83860‐0422
OGDEN, GARY D
OGDEN, GENEVA             6116 FOUNTAIN POINTE                                                                  GRAND BLANC     MI   48439‐7751
OGDEN, GEOFFREY J         2128 E GONDOLA LN                                                                     GILBERT         AZ   85234‐2836
OGDEN, GEORGE D           710 FAIRVIEW ST                                                                       RAVENNA         OH   44266‐2429
OGDEN, GEORGE E           134 ROYAL AVE                                                                         BUFFALO         NY   14207‐1540
OGDEN, GREGORY R          3970 DEER CROSSING CT APT 105                                                         NAPLES          FL   34114‐6419
OGDEN, GUY D              5919 CLAYBOURNE DR                                                                    BARGERSVILLE    IN   46106‐8391
OGDEN, HELEN M            2938 E STATE ROAD 236                                                                 ANDERSON        IN   46017‐9757
OGDEN, HELEN M            2001 LITTLE ELLIJAY ROAD                                                              FRANKLIN        NC   28734‐9496
OGDEN, JAMES
OGDEN, JAMES A            21 PINE BURR CIR                                                                      MARSHALL        TX   75672‐4767
OGDEN, JAMES L            1735 WHEELER RD                                                                       GULF BREEZE     FL   32563‐8823
OGDEN, JEFFREY C          6111 SE 8TH LN                                                                        OCALA           FL   34472‐7840
OGDEN, JERRY M            100 ROSEWOOD DR                                                                       TIPTON          IN   46072‐9291
OGDEN, JOHN M             4109 MORNINGVIEW DR                                                                   SHELBY TWP      MI   48316‐3927
OGDEN, JUDITH E           212 ASH RDG                                                                           MASON           MI   48854
OGDEN, KENNETH R          PO BOX 314                                                                            SWEETSER        IN   46987‐0314
OGDEN, KRISTY L           2730 4TH ST                                                                           MONROEVILLE     PA   15146‐4625
OGDEN, LARRY L            17251 KENTFIELD ST                                                                    DETROIT         MI   48219‐3480
OGDEN, LAURA M            6900 HOPEFUL RD. APT 127        COLONIAL HEIGHTS                                      FLORENCE        KY   41042‐9450
OGDEN, LORAINE M          1218 REX AVE.                                                                         JOPLIN          MO   64801‐5654
OGDEN, LORAINE M          1218 REX AVE                                                                          JOPLIN          MO   64801‐5654
OGDEN, MARSHA L           16505 TURNER ST                                                                       DETROIT         MI   48221‐2979
OGDEN, MARY P.            2500 WHISPERING HILLS                                                                 WASHINGTON      MI   48094‐1037
OGDEN, MICHAEL C          1721 TUTTLE AVE                                                                       DAYTON          OH   45403‐3427
OGDEN, MICHAEL D          137 GUENTHER LN                                                                       APOLLO          PA   15613‐1731
OGDEN, NORMAN C           2681 EPPINGER BLVD                                                                    THORNTON        CO   80229‐8114
OGDEN, PATRICIA A         3216 2ND ST                                                                           EAST MOLINE     IL   61244‐3013
OGDEN, PATRICK T          5965 W MICHIGAN AVE UNIT C3                                                           SAGINAW         MI   48638‐5931
OGDEN, REUBEN C           4521 BROKEN BOW DR                                                                    GREENWOOD       IN   46143‐8728
OGDEN, RITA M             8724 N W STAGECOACH RD                                                                KANSAS CITY     MO   64154
OGDEN, ROBERT C           6902 APOPO CT                   HOLIDAY PARK                                          NORTH PORT      FL   34287‐2410
OGDEN, ROBERT CLEVELAND   6902 APOPO CT                                                                         NORTH PORT      FL   34287
OGDEN, ROBERT E           6 BRUCE CT                                                                            GERMANTOWN      OH   45327‐9330
OGDEN, ROBERT J           782 E SANFORD RD                                                                      MIDLAND         MI   48642‐9449
OGDEN, ROBERT JAMES       782 E SANFORD RD                                                                      MIDLAND         MI   48642‐9449
OGDEN, ROBERT L           805 SALEM DR                                                                          KOKOMO          IN   46902‐4982
OGDEN, ROBERT N           835 MILL ST                                                                           TIPTON          IN   46072‐1057
OGDEN, SALLY J            51 WEST GIRARD BLVD.                                                                  KENMORE         NY   14217
OGDEN, SCOTT G            20 DAUPHINE DR                                                                        LAKE ST LOUIS   MO   63367‐1739
OGDEN, SHARRON E          15 N HOOD ST                                                                          PERU            IN   46970‐2038
OGDEN, SHERRAN
OGDEN, SUSAN              46825 S CHIGWIDDEN DR                                                                 NORTHVILLE      MI   48167‐1041
OGDEN, TERRY M            2800 OLD SURRENCY RD                                                                  BAXLEY          GA   31513‐7377
OGDEN, TERRY MICKEL       2800 OLD SURRENCY RD                                                                  BAXLEY          GA   31513‐7377
OGDEN, TERRY W            4740 TEALTOWN RD                                                                      MILFORD         OH   45150
OGDEN, W D                311 CRYSTAL TRAIL CT                                                                  WENTZVILLE      MO   63385‐3765
OGDEN, WAYNE L            16768 MOOREPARK RD                                                                    THREE RIVERS    MI   49093‐9627
OGDEN, WESLEY T           751 BLAINE AVE                                                                        PONTIAC         MI   48340‐2401
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Name                                  Address1                         Address2                         Address3                  Address4              City              State Zip
OGDEN, WILLIAM R                      7142 COUNTY ROAD 179 # R2                                                                                         FREDERICKTOWN      OH 43019
OGEE JR, PHILLIP S                    16156 SE 15TH ST                                                                                                  CHOCTAW            OK 73020‐6930
OGEEN, KATHRYN B                      163 MCKINLEY AVE                                                                                                  MASSENA            NY 13662‐1200
OGELLA, RAYMOND J                     4868 RHOADS AVE                                                                                                   SANTA BARBARA      CA 93111‐2847
OGEMAW COUNTY UNITED WAY              PO BOX 588                                                                                                        WEST BRANCH        MI 48661‐0588
OGEMAW TOWNSHIP                       PO BOX 5                                                                                                          WEST BRANCH        MI 48661‐0005
OGEMAW TOWNSHIP OGEMAW CO             HAZEL BUTLER TREASURER           4372 W M76                                                                       WEST BRANCH        MI 48661
OGER, ALBERT H                        34480 COLVILLE PL                                                                                                 FREMONT            CA 94555‐3313
OGG DAVID                             OGG, DAVID                       120 WEST MADISON STREET , 10TH                                                   CHICAGO             IL 60602
                                                                       FLOOR
OGG JR, WILMER L                      4431 CRAWFORD RD                                                                                                  DRYDEN            MI   48428‐9717
OGG, ALBERT M                         3623 MERRITT LAKE DR                                                                                              METAMORA          MI   48455‐8981
OGG, ANNETTE                          10233 VASSAR RD                                                                                                   GRAND BLANC       MI   48439‐9533
OGG, ARMIDA J                         158 LOOMIS STREET                                                                                                 SPARTA            MI   49345‐1158
OGG, ARMIDA J                         158 LOOMIS ST                                                                                                     SPARTA            MI   49345‐1158
OGG, BECKY J                          45 E CHICAGO AVE                                                                                                  PONTIAC           MI   48340‐1216
OGG, BETTIE J                         1901 COVINGTON AVE., #71                                                                                          PIQUA             OH   45356‐2640
OGG, DARYL L                          2907 NEW GERMANY TREBEIN RD                                                                                       DAYTON            OH   45431‐8532
OGG, DAVID                            KROHN & MOSS ‐ IL                120 WEST MADISON STREET, 10TH                                                    CHICAGO           IL   60602
                                                                       FLOOR
OGG, DON A                            43820 E HIGHWAY F                                                                                                 RICHMOND          MO   64085‐8428
OGG, ELLEN K                          1302 E SAGUARO DR                                                                                                 GLOBE             AZ   85501‐3002
OGG, JAMES W                          506 LAKESIDE DR                                                                                                   WATERFORD         MI   48328‐4042
OGG, JERRY G                          311 E BARNES RD                                                                                                   FOSTORIA          MI   48435‐9654
OGG, JOHN P                           6454 CLARKSTON RD                                                                                                 CLARKSTON         MI   48346‐1500
OGG, JULIA M                          3106 GRIESMER AVE                                                                                                 HAMILTON          OH   45015‐1729
OGG, KATHRYN B                        5481 CHAMBERSBURG RD                                                                                              DAYTON            OH   45424‐3871
OGG, KATIE R                          6559 MILLHOFF DR                                                                                                  DAYTON            OH   45424‐3157
OGG, MICHAEL D                        7243 E MAPLE AVE                                                                                                  GRAND BLANC       MI   48439‐9762
OGG, MICHAEL J                        W9278 LAMISE WAY                                                                                                  HORTONVILLE       WI   54944‐9234
OGG, MICHAEL P                        2999 S.R. EAST 35                                                                                                 XENIA             OH   45385
OGG, PETER M                          1315 CHOCTAW ST                                                                                                   WATERFORD         MI   48327‐3323
OGG, PETER M.                         1315 CHOCTAW ST                                                                                                   WATERFORD         MI   48327‐3323
OGG, RICHARD L                        6817 CLINTONVILLE RD                                                                                              CLARKSTON         MI   48348‐4917
OGG, ROBERT F                         7020 VILLA DR APT 5                                                                                               WATERFORD         MI   48327‐4034
OGG, STEVEN                           320 S ROSLYN RD                                                                                                   WATERFORD         MI   48328‐3557
OGG, VIRGINIA M                       7631 TALL TREE CT                                                                                                 PORT RICHEY       FL   34668‐5850
OGG‐MURRAY, CINDY E                   475 LAKESIDE DR                                                                                                   WATERFORD         MI   48328‐4039
OGHIARA PROEZA MEXICO S DE RL DE CV   PROL MADERO 4215 OTE COL         FIERRO MONTERREY NL CP 64590                               MONTERREY NL 64590
                                                                                                                                  MEXICO
OGIE BROWN                            12104 LIHOU CT                                                                                                    FORT WASHINGTON   MD   20744‐6027
OGIE JERNAGAN                         5310 S GREENVILLE RD                                                                                              GREENVILLE        MI   48838‐9264
OGIELA, STELLA P                      181 DARTWOOD DR                                                                                                   CHEEKTOWAGA       NY   14227‐3165
OGIHARA                               KELLY GIFFORD                    1480 MCPHERSON PARK DR                                                           HOWELL            MI   48843‐1936
OGIHARA AMERICA CORP                  OSCAR GARCIA                     DIV. OF OGIHARA INN WORKS        1480 W. MCPHERSON PARK    ISESAKI GUNMA JAPAN
                                                                                                        DR.
OGIHARA AMERICA CORP                  OSCAR GARCIA                     1480 MCPHERSON PARK DR           DIV. OF OGIHARA INN WORKS                       HOWELL            MI 48843‐1936

OGIHARA AMERICA CORP                  1480 MCPHERSON PARK DR                                                                                            HOWELL            MI   48843‐3997
OGIHARA AMERICA CORPORATION           6945 RELIABLE PKWY                                                                                                CHICAGO           IL   60686‐0001
OGIHARA AMERICA CORPORATION           1480 MCPHERSON PARK DR                                                                                            HOWELL            MI   48843‐1936
OGIHARA CORP                          1480 MCPHERSON PARK DR                                                                                            HOWELL            MI   48843‐1936
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Name                                Address1                           Address2                    Address3                    Address4                City           State Zip
OGIHARA CORP                        KELLY GIFFORD                      1480 MCPHERSON PARK DR                                                          HOWELL          MI 48843‐1936
OGIHARA CORP                        OSCAR GARCIA                       1480 MCPHERSON PARK DR      DIV. OF OGIHARA INN WORKS                           HOWELL          MI 48843‐1936

OGIHARA CORP                        OSCAR GARCIA                       DIV. OF OGIHARA INN WORKS   1480 W. MCPHERSON PARK      ISESAKI GUNMA JAPAN
                                                                                                   DR.
OGIHARA CORP                        891‐1 MINAMIYAJIMA                                                                         OTA GUNMA 373‐0861
                                                                                                                               JAPAN
OGIHARA/AMERICA                     1480 MCPHERSON PARK DR                                                                                             HOWELL         MI 48843‐1936
OGIHARA/BIRMINGHAM                  1480 MCPHERSON PARK DR                                                                                             HOWELL         MI 48843‐1936
OGILVIE'S AUTO & FLEET              R.R. #2 714 KILMANOCK RD                                                                   JASPER ON K0G 1G0
                                                                                                                               CANADA
OGILVIE, CARY D                     11259 S BAILEY VALLEY DR NE                                                                                        GREENVILLE     MI   48838‐8331
OGILVIE, EDWARD K                   3431 S PACIFIC HWY UNIT 74                                                                                         MEDFORD        OR   97501‐8826
OGILVIE, FLORENCE J                 2529 LONGPINE LN                                                                                                   SAINT CLOUD    FL   34772‐8813
OGILVIE, HUGH A                     1200 E SQUARE LAKE RD                                                                                              BLOOMFIELD     MI   48304‐1543
OGILVIE, LONNIE L                   5809 LOST PRAIRIE RD                                                                                               SWANWICK       IL   62237‐3731
OGILVIE, NORENE C                   220 COOPER ST APT 10A                                                                                              HOT SPRINGS    AR   71913‐3265
OGILVIE, WILLIAM A                  2580 KENTMOOR RD                                                                                                   BLOOMFIELD     MI   48304‐1522
OGILVIE, YOLANDA                    100 GREEN TREE CT                                                                                                  COLUMBIA       TN   38401‐5295
OGILVY PUBLIC RELATIONS WORLDWIDE   PO BOX 85003900                                                                                                    PHILADELPHIA   PA   19178‐0001

OGILVY RENAULT LLP                  200 BAY ST STE 3800                SOUTH TOWER                                             TORONTO CANADA ON M5J
                                                                                                                               2Z4 CANADA
OGILVY, MARGARET P                  2865 WILDMAN TRAIL                                                                                                 LEWISTON       MI   49756‐9348
OGILVY, WILLIAM E                   664 MANOTIC                                                                                                        LEONARD        MI   48367‐3426
OGINNI PROPERTIES LLC               ATTN SAMUEL OGINNI                 6305 NORTHWEST HWY                                                              CRYSTAL LAKE   IL   60014‐7934
OGINNI PROPERTIES, LLC              SAMEUL OGINNI                      6305 NORTHWEST HWY                                                              CRYSTAL LAKE   IL   60014‐7934
OGINSKY MIKE                        30605 PALOMINO DR                                                                                                  WARREN         MI   48093‐5023
OGINSKY, ANITA A                    7345 RILEY RD                                                                                                      CORUNNA        MI   48817
OGINSKY, BERNADINE                  7115 MILLER RD                                                                                                     SWARTZ CREEK   MI   48473‐1533
OGINSKY, DAVID B                    10425 CRONK RD                                                                                                     LENNON         MI   48449‐9647
OGINSKY, DAVID BARNEY               10425 CRONK RD                                                                                                     LENNON         MI   48449‐9647
OGINSKY, ELIZABETH H                8097 NORTHWOOD                     PO BOX 165                                                                      NEW LOTHROP    MI   48460‐0165
OGINSKY, FRANK R                    PO BOX 155                                                                                                         GOODRICH       MI   48438‐0155
OGINSKY, FRED D                     1248 S GRAHAM RD                                                                                                   FLINT          MI   48532‐3535
OGINSKY, HELEN I                    419 LAURIE DR                                                                                                      FLUSHING       MI   48433‐2114
OGINSKY, HENRY B                    2800 N BYRON RD                                                                                                    LENNON         MI   48449‐9606
OGINSKY, HENRY M                    7345 RILEY RD                                                                                                      CORUNNA        MI   48817‐9725
OGINSKY, JOHN L                     11060 EASTON RD                                                                                                    NEW LOTHROP    MI   48460
OGINSKY, JOSEPH N                   2364 MEADOWDOWN DR                                                                                                 OWOSSO         MI   48867‐1231
OGINSKY, JUDITH M                   914 CHIPMAN LN                                                                                                     OWOSSO         MI   48867‐4962
OGINSKY, JULIE M                    509 E SOUTH HOLLY RD                                                                                               FENTON         MI   48430‐2981
OGINSKY, MICHAEL J                  30605 PALOMINO DR                                                                                                  WARREN         MI   48093‐5023
OGINSKY, NICHOLAS D                 PO BOX 320321                                                                                                      FLINT          MI   48532‐0005
OGINSKY, NICHOLAS DEAN              PO BOX 320321                                                                                                      FLINT          MI   48532‐0006
OGINSKY, PAUL D                     G‐9026 CALKINS ROAD                                                                                                FLINT          MI   48532
OGINSKY, PHILLIP M                  7345 RILEY RD                                                                                                      CORUNNA        MI   48817‐9725
OGINSKY, ROBERT J                   G5079 W COURT ST                                                                                                   FLINT          MI   48532
OGINSKY, STANLEY T                  3401 N DURAND RD                                                                                                   CORUNNA        MI   48817‐9759
OGINSKY,MICHAEL J                   30605 PALOMINO DR                                                                                                  WARREN         MI   48093‐5023
OGLAGEO, VIVIAN I                   515 E 7TH ST                                                                                                       BURLINGTON     IN   46915‐9442
OGLE BARGO                          976 COLEMAN RD                                                                                                     TAZEWELL       TN   37879
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Name                       Address1                              Address2                         Address3   Address4         City                State Zip
OGLE CLARK (656226)        BRAYTON PURCELL                       PO BOX 6169                                                  NOVATO               CA 94948‐6169
OGLE DORCAS                OGLE, DORCAS                          120 WEST MADISON STREET , 10TH                               CHICAGO               IL 60602
                                                                 FLOOR
OGLE EARNEST               OGLE, EARNEST                         733 ELLIS OGLE RD                                            GATLINBURG          TN   37738‐5035
OGLE EQUIPMENT SALES INC   1936 CAMPUS PL                                                                                     LOUISVILLE          KY   40299‐2307
OGLE KENNETH               PO BOX 625                                                                                         WATERVILLE          WA   98858‐0625
OGLE LARRY                 5405 HEATHER LN                                                                                    BRENTWOOD           TN   37027‐4423
OGLE TUCKER                116 DARLA CT                                                                                       MOSCOW MILLS        MO   63362‐1301
OGLE, BERTHA               5051 WISSMAN RD                                                                                    TOLEDO              OH   43615‐4779
OGLE, BETTY S              443 SOUTHGATE DR                                                                                   GREENWOOD           IN   46143‐1206
OGLE, CHRISTOPHER D        235 STONEBRIDGE CT                                                                                 OXFORD              MI   48371‐6237
OGLE, CLARK                BRAYTON PURCELL                       PO BOX 6169                                                  NOVATO              CA   94948‐6169
OGLE, CYNTHIA              413 HENDERSON ST                                                                                   GADSDEN             AL   35904‐2309
OGLE, DEVITA R             PO BOX 242                                                                                         BUNKER HILL         IN   46914‐0242
OGLE, DONALD               GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                 PITTSBURGH          PA   15219

OGLE, DONALD G             4035 W LAKE RD                                                                                     CLIO                MI   48420‐8820
OGLE, DOROTHY L            1109 SCHLEICHER AVE                                                                                INDIANAPOLIS        IN   46229
OGLE, EARNEST              733 ELLIS OGLE RD                                                                                  GATLINBURG          TN   37738‐5035
OGLE, EARNEST G            1006 COSTELLO RD                                                                                   OAK GROVE           LA   71263‐7349
OGLE, EDWARD L             7113 W 950 N                                                                                       MIDDLETOWN          IN   47356
OGLE, ELAINE B             5541 EAST ROWLAND ROAD                                                                             TOLEDO              OH   43613‐2221
OGLE, ELAINE B             5541 E ROWLAND RD                                                                                  TOLEDO              OH   43613
OGLE, EMMA E               6035 SOUTH MAIN ST                                                                                 CLARKSTON           MI   48346
OGLE, EMMA E               6035 S MAIN ST                                                                                     CLARKSTON           MI   48346‐2360
OGLE, EMMA L               6532 THOROUGHBRED LOOP                                                                             ODESSA              FL   33556‐1860
OGLE, GARY W               3648 SHADDICK RD                                                                                   WATERFORD           MI   48328‐2351
OGLE, HOLLY RENEE          BOYD & BROWN, PC                      1215 PRUITT PL                                               TYLER               TX   75703‐1144
OGLE, JACK D               1814 OLD LOST MOUNTAIN RD                                                                          POWDER SPRINGS      GA   30127‐1225
OGLE, JACK T               364 WILLIAMS RD                                                                                    VILLA RICA          GA   30180‐3806
OGLE, JAMES A              4785 EDGEWORTH DR                                                                                  MANLIUS             NY   13104‐2105
OGLE, JAMES R              5541 E ROWLAND RD                                                                                  TOLEDO              OH   43613‐2221
OGLE, JOHNNY B             9533 FAIR HAVEN ST                                                                                 FORT WORTH          TX   76179‐3206
OGLE, LARRY R              2410 IIDS WAY                                                                                      ORTONVILLE          MI   48462‐8506
OGLE, MARGARET M           875 W AVON RD APT 233C                                                                             ROCHESTER           MI   48307‐2778
OGLE, MAXIE E              PO BOX 243                                                                                         GREENBACK           TN   37742‐0243
OGLE, MAXINE               8138 DUESLER LN                                                                                    DOWNEY              CA   90242‐2462
OGLE, MICHAEL C            906 ALHAMBRA DR                                                                                    ANDERSON            IN   46012‐4221
OGLE, NANCY M              17635 HENDERSON PASS                  APT 118                                                      SAN ANTONIO         TX   78232
OGLE, NANCY M              APT 118                               17635 HENDERSON PASS                                         SAN ANTONIO         TX   78232‐1574
OGLE, PATRICK W            504 E MAPLE ST                                                                                     HOLLY               MI   48442‐1650
OGLE, RAFORD               5531 PAWNEE LN                                                                                     GREELEY             CO   80634‐9307
OGLE, ROBERT J             384 N PETERMAN RD                                                                                  GREENWOOD           IN   46142‐8556
OGLE, ROSE M               1 ESCONDIDO CIR UNIT 171                                                                           ALTAMONTE SPRINGS   FL   32701‐4553
OGLE, WILLIAM D            211 E HIGH ST                                                                                      CRIDERSVILLE        OH   45806‐2401
OGLEMA DODD                5173 HELMSLEY DRIVE                                                                                SWARTZ CREEK        MI   48473‐1139
OGLES JR, KENNETH L        5412 MAURA DR                                                                                      FLUSHING            MI   48433‐1058
OGLES JR, KENNETH LYLE     5412 MAURA DR                                                                                      FLUSHING            MI   48433‐1058
OGLES, DAVID A             3046 W 1050 N                                                                                      FOUNTAINTOWN        IN   46130‐9749
OGLES, DAVID C             1339 EUSTIS DR                                                                                     INDIANAPOLIS        IN   46229‐2317
OGLES, DEBRA T             5412 MAURA DR                                                                                      FLUSHING            MI   48433‐1058
OGLES, DEBRA THERESE       5412 MAURA DR                                                                                      FLUSHING            MI   48433‐1058
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Name                  Address1                         Address2                    Address3                  Address4         City               State Zip
OGLES, E J            3906 SHELBY CT                                                                                          WATERFORD           MI 48328‐1268
OGLES, HELEN A        1436 WINFIELD DRIVE                                                                                     SWARTZ CREEK        MI 48473‐9709
OGLES, JAMES N        8563 PONTIAC LAKE RD                                                                                    WHITE LAKE          MI 48386‐1639
OGLES, MARION L       823 N 33RD ST                                                                                           GADSDEN             AL 35904‐1301
OGLES, MICHAEL R      1709 WINTER PARK CIR                                                                                    VAN BUREN           AR 72956‐2157
OGLES, PAUL           5859 LOCHLEVEN DR                                                                                       WATERFORD           MI 48327‐1845
OGLES, PHOEBE F       6191 TURNER DR                                                                                          CLAYTON             IN 46118‐9332
OGLES, PHOEBE F       6191 TURNER DRIVE                                                                                       CLAYTON             IN 46118‐9332
OGLES, ROBERT B       6318 GRACELY DR APT 1                                                                                   CINCINNATI          OH 45233‐1309
OGLESBEE, DAVID L     927 E ALLEGAN ST                                                                                        MARTIN              MI 49070‐9797
OGLESBEE, DONNIE P    5670 W 900 N                                                                                            FRANKTON            IN 46044‐9446
OGLESBEE, JAMES D     937 N DALE DR                                                                                           LIMA                OH 45805‐1627
OGLESBEE, JON S       102 CLEMONS ST                                                                                          MARBLEHEAD          OH 43440‐2211
OGLESBEE, KAREN E.    319 N ERIE BEACH RD                                                                                     MARBLEHEAD          OH 43440‐1308
OGLESBEE, KAREN E.    319 NORTH ERIE BEACH RD                                                                                 MARBLEHEAD          OH 43440‐1308
OGLESBEE, MABEL E     4425 DOGWOOD AVE                                                                                        SEAL BEACH          CA 90740‐3039
OGLESBEE, TERESA D    6620 RIDGEWOOD DR                                                                                       CASTALIA            OH 44824‐9754
OGLESBY ANTWIN        OGLESBY, ANTWIN                  601 SLEEPY HOLLOW RD                                                   OLIVER SPRINGS      TN 37840‐2343
OGLESBY DURHAM        29809 ABERDEEN LN                                                                                       SOUTHFIELD          MI 48076‐2265
OGLESBY JOYCE         OGLESBY, JOYCE
OGLESBY JR, CLAUDE    876 SAVANNAH TOWN RD                                                                                    SPRINGFIELD        GA   31329‐3136
OGLESBY RUDOLF        OGLESBY, RUDY                    8270 WOODLAND CENTER BLVD                                              TAMPA              FL   33614‐2401
OGLESBY RUDOLF        OGLESBY, JONATHAN                KAHN & ASSOCIATES LLC       101 NE 3RD AVE STE 1500                    FT LAUDERDALE      FL   33301‐1181
OGLESBY, ALISA L      14 COTTONWOOD DR                                                                                        LUMBERTON          NJ   08048
OGLESBY, ANTWIN       601 SLEEPY HOLLOW RD                                                                                    OLIVER SPRINGS     TN   37840‐2343
OGLESBY, ARZIE        27 STRAND AVE                                                                                           DAYTON             OH   45427‐2830
OGLESBY, AVA R        2829 YALE ST                                                                                            FLINT              MI   48503‐4637
OGLESBY, BETTY L      304 GREENLAWN AVE                                                                                       MANSFIELD          OH   44902‐7731
OGLESBY, BEVERLY A    2920 OLD TROY PIKE APT 319                                                                              DAYTON             OH   45404‐2390
OGLESBY, BEVERLY A    2920‐OLD TROY PIKE               319                                                                    DAYTON             OH   45404
OGLESBY, BOBBY R      3908 WEBBER ST                                                                                          SAGINAW            MI   48601‐4143
OGLESBY, CANDRA S     2856 SAGE AVE                                                                                           DAYTON             OH   45408‐2231
OGLESBY, CARRIE E     1389 E LARNED ST APT 102                                                                                DETROIT            MI   48207‐3077
OGLESBY, CHARLES H    701 E 41ST ST                                                                                           BALTIMORE          MD   21218‐1215
OGLESBY, CHARLES L    101 EAGLE HARBOR IS                                                                                     CENTERVILLE        GA   31028‐8548
OGLESBY, DARNELL      1705 PROSPECT ST                                                                                        SAGINAW            MI   48601‐6845
OGLESBY, JAMES E      1743 W CARIBAEA TRL SE                                                                                  ATLANTA            GA   30316‐4441
OGLESBY, JANIS        3744 TRENT RD                                                                                           RANDALLSTOWN       MD   21133‐2807
OGLESBY, JEAN L       4032 N MAIN ST                   BROOKVIEW PL                                                           DAYTON             OH   45405‐1605
OGLESBY, JOYCE A      5713 HILLARY                                                                                            DAYTON             OH   45426‐1473
OGLESBY, LARRY G      11827 N 40TH DR                                                                                         PHOENIX            AZ   85029‐3009
OGLESBY, LEOLA E      2211 PINGREE ST APT 304                                                                                 DETROIT            MI   48206
OGLESBY, MARTHA J     6376 PINE FROST DR                                                                                      DOUGLASVILLE       GA   30135‐3348
OGLESBY, NANCY A      5245 WILDWOOD DR                                                                                        HOWELL             MI   48843‐9146
OGLESBY, PAUL E       78 AVON ST                                                                                              TOCCOA             GA   30577‐3465
OGLESBY, RAYMOND W    6376 PINE FROST DR                                                                                      DOUGLASVILLE       GA   30135‐3348
OGLESBY, REGINALD D   PO BOX 1251                                                                                             OKEMOS             MI   48805‐1251
OGLESBY, ROBERT N     424 STREAMVIEW CT                                                                                       ROCHESTER HILLS    MI   48309‐1806
OGLESBY, RONALD       9511 MEADOWS FARMS DR                                                                                   OWINGS MILLS       MD   21117‐4886
OGLESBY, RONALD L     712 N 88TH ST                                                                                           EAST SAINT LOUIS   IL   62203‐2104
OGLESBY, RONALD W     1300 SANCTUARY DR APT 24                                                                                BRANDON            MS   39042‐7430
OGLESBY, RONALD W.    1300 SANCTUARY DR APT 24                                                                                BRANDON            MS   39042‐7430
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Name                            Address1                      Address2                        Address3     Address4         City              State Zip
OGLESBY, SHIRLEY W              816 N AUGUSTA AVE                                                                           WAYCROSS           GA 31503‐5906
OGLESBY, STANFORD B             PO BOX 713                                                                                  SAINT ROBERT       MO 65584‐0713
OGLESBY, VIRGINIA R             7114 ROOT ST                                                                                MOUNT MORRIS       MI 48458‐9481
OGLESBY, VIVIAN V               1239 W DOWNEY AVE                                                                           FLINT              MI 48505‐1432
OGLESBY, WALKER                 99 MANCHESTER PKWY APT 103                                                                  HIGHLAND PARK      MI 48203‐3689
OGLESBY, WILLIAM E              1239 W DOWNEY AVE                                                                           FLINT              MI 48505‐1432
OGLETHORPE POWER CO                                           2100 E EXCHANGE PL STE 203                                                       GA 30084
OGLETHORPE POWER CORP           2100 E EXCHANGE PL                                                                          TUCKER             GA 30084
OGLETHORPE UNIVERSITY           BUSINESS OFFICE               4484 PEACHTREE RD NE                                          ATLANTA            GA 30319‐2737
OGLETREE ABRAHAM (639095)       ZAMLER, MELLEN & SHIFFMAN     23077 GREENFIELD RD STE 557                                   SOUTHFIELD         MI 48075‐3727
OGLETREE CLARENCE               OGLETREE, CLARENCE            13762 TIMBERWYCK                                              SHELBY TOWNSHIP    MI 48315
OGLETREE DEAKINS NASH SMOAK &   ATTN: MARSHA PHILLIPS         918 S PLEASANTBURG DR           PO BOX 167                    GREENVILLE         SC 29602
STEWART P C
OGLETREE JR, INMAN              3235 LONG IRON DR                                                                           LAWRENCEVILLE     GA 30044‐2581
OGLETREE ROY (492101)           BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD        OH 44067
                                                              PROFESSIONAL BLDG
OGLETREE, ABRAHAM               ZAMLER, MELLEN & SHIFFMAN     23077 GREENFIELD RD STE 557                                   SOUTHFIELD        MI   48075‐3727
OGLETREE, ALMA                  12 W WARNER ST                                                                              YPSILANTI         MI   48197‐4709
OGLETREE, ARTHUR J              126 BRADLEY CIR                                                                             BARNESVILLE       GA   30204‐1815
OGLETREE, CALLIE D              5311 W OUTER DR                                                                             DETROIT           MI   48235‐1356
OGLETREE, CARL M                2128 W 2ND ST                                                                               DAYTON            OH   45417‐2459
OGLETREE, CAROL A               6108 WEYBRIDGE DR                                                                           DAYTON            OH   45426‐1440
OGLETREE, CLARENCE              13762 TIMBERWYCK DR                                                                         SHELBY TOWNSHIP   MI   48315‐2403
OGLETREE, DALE E                6551 RIVERBEND DR                                                                           DAYTON            OH   45415‐5415
OGLETREE, DONALD E              9615 CRESTVIEW TER                                                                          GAINESVILLE       GA   30506‐6768
OGLETREE, DONNETTA D            304 MEYERS CT 16                                                                            STOCKBRIDGE       GA   30281
OGLETREE, DORIAN G              1131 CLAYBOURNE RD                                                                          KETTERING         OH   45429‐4440
OGLETREE, FRANK A               14955 TAYLOR BLVD                                                                           LIVONIA           MI   48154‐4065
OGLETREE, GEORGE                7365 ARTESIAN STREET                                                                        DETROIT           MI   48228‐3374
OGLETREE, GERALD                14320 CORBETT ST                                                                            DETROIT           MI   48213‐2083
OGLETREE, HARRIETTE             865 SCOTTSWOOD RD                                                                           DAYTON            OH   45427‐2239
OGLETREE, JACQUELINE E          720 KELFORD PLACE                                                                           DAYTON            OH   45426‐2294
OGLETREE, JACQUELINE E          1218 ROSSITER DR.                                                                           DAYTON            OH   45418‐1964
OGLETREE, JAMES                 15728 FERGUSON ST                                                                           DETROIT           MI   48227‐1569
OGLETREE, JAMES A               924 JUNEAU ROAD                                                                             YPSILANTI         MI   48198‐6324
OGLETREE, JAMES L               4977 MAPLECREEK DR APT H                                                                    DAYTON            OH   45426‐1658
OGLETREE, JAMES W               19675 SUNSET ST                                                                             DETROIT           MI   48234‐2066
OGLETREE, JESSICA M             6108 WEYBRIDGE DR                                                                           TROTWOOD          OH   45426‐1440
OGLETREE, JOSEPHINE             780 HARGROVE WAY                                                                            CINCINNATI        OH   45240‐1940
OGLETREE, JOYCE A               2128 W 2ND ST                                                                               DAYTON            OH   45417‐2459
OGLETREE, LAWRENCE              1218 ROSSITER DR                                                                            DAYTON            OH   45418‐1964
OGLETREE, LAWRENCE V            1160 INFIRMARY ROAD                                                                         DAYTON            OH   45418‐1420
OGLETREE, LILLIE B              125 UNION RIDGE DR.                                                                         UNION             OH   45322‐5322
OGLETREE, LUTHER W              630 N SHERRY DR                                                                             TROTWOOD          OH   45426‐3618
OGLETREE, MARGARET B            373 QUEEN ALIESE                                                                            JONESBORO         GA   30236‐1725
OGLETREE, MARY                  11642 ASHTON ST.                                                                            DETROIT           MI   48228‐1138
OGLETREE, MARY                  11642 ASHTON AVE                                                                            DETROIT           MI   48228‐1138
OGLETREE, MICHAEL N             2391 CLIFTON SPRINGS RD                                                                     DECATUR           GA   30034‐2911
OGLETREE, MOREAN                6820 WILLOW CREEK DR                                                                        HUBER HEIGHTS     OH   45424‐2487
OGLETREE, MOZELL                16150 LA SALLE AVE                                                                          DETROIT           MI   48221‐3113
OGLETREE, QUIN M                1531 W SPARROW RD                                                                           SPRINGFIELD       OH   45502‐8758
OGLETREE, ROGER E               5046 SCOFIELD PLACE                                                                         DAYTON            OH   45418‐2014
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OGLETREE, ROY                      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                                  NORTHFIELD         OH 44067
                                                                    PROFESSIONAL BLDG
OGLETREE, RUFUS                    PO BOX 47349                                                                                                   OAK PARK          MI   48237‐5049
OGLETREE, SHEREE R                 1475 HARPST ST                                                                                                 ANN ARBOR         MI   48104‐6324
OGLETREE, WILLIAM E                PO BOX 1199                                                                                                    WOODSTOCK         GA   30188‐1199
OGLETREE, WILLIE S                 4221 SHENANDOAH DR                                                                                             DAYTON            OH   45417‐1156
OGLETREE, ZALLINE                  1506 MCLAIN AVE                                                                                                LINCOLN PARK      MI   48146‐2356
OGLETREE,CLARENCE                  13762 TIMBERWYCK DR                                                                                            SHELBY TOWNSHIP   MI   48315‐2403
OGLETREE,DORIAN G                  1131 CLAYBOURNE RD                                                                                             KETTERING         OH   45429‐4440
OGLIARULO, PRISCILLA G             1600 BLACK ROCK RD                                                                                             ROYERSFORD        PA   19468
OGLINA MICHELE                     C/O LA SCALA                     STUDIO LEGALE E TRIBUTARIO     CORSO MAGENTA N 42        20123 MILANO ITALY
OGNENOVSKI, ALEXANDER K            10 GATEWAY RD                                                                                                  ROCHESTER         NY   14624‐4434
OGNENOVSKI, ALEXANDER K            10 GATEWAY ROAD                                                                                                ROCHESTER         NY   14624‐4434
OGNENOVSKI, JIM D                  41 BRASSER DR                                                                                                  ROCHESTER         NY   14624‐4408
OGNENOVSKI, KOCHO                  20 SADDLEBACK TRL                                                                                              ROCHESTER         NY   14624‐3918
OGNENOVSKI, LEE                    170 OLD WELL RD                                                                                                ROCHESTER         NY   14626‐3718
OGNENOVSKI, VLADO                  2621 BRINLEY DR                                                                                                TRINITY           FL   34655‐5140
OGNYAN YANAKIEV                    41817 CONNERWOOD CT                                                                                            CANTON            MI   48187‐3592
OGONEK, PIOTR J                    9986 SAINT CLAIR HWY                                                                                           CASCO             MI   48064‐1112
OGONOWSKI, FLORENCE R              NURSING CARE CENTER OF BRISTOL   FBO FLORENCE OGONOWSKI                                                        BRISTOL           CT   06010
OGONOWSKI, HELEN E                 682 NEW CHURCHMANS RD                                                                                          NEWARK            DE   19702
OGONOWSKI, HENRY G                 120 GLEN BERNE DR                                                                                              WILMINGTON        DE   19804‐3408
OGONOWSKI, STANLEY                 169 LITTLE BRITAIN RD                                                                                          NEWBURGH          NY   12550
OGORCHOCK DAVID                    OGORCHOCK, DAVID
OGORCHOCK DAVID                    OGORCHOCK, DAVID                 LABOR COMMISSION               6150 VAN NUYS BOULEVARD                        VAN NUYS          CA 91401
                                                                                                   ROOM 206
OGORZALEK, WALTER E                101 BUSH ST                                                                                                    BUFFALO           NY 14207‐2849
OGOZALY, JAMES C                   16515 HUFF ST                                                                                                  LIVONIA           MI 48154‐1263
OGRADY, DEREK
OGRADY, JAMES M                    30 W WOODWARD ST                                                                                               ECORSE            MI   48229‐1539
OGRADY, SANDRA L                   2833 SPRING DR                                                                                                 FREMONT           MI   49412‐9542
OGRAIN, CARL F                     3276 GREENACRE DR                                                                                              SANTA MARIA       CA   93455‐2450
OGRAYENSEK, TIMOTHY C              8729 MORTENVIEW DR                                                                                             TAYLOR            MI   48180‐2801
OGRAYENSEK, TIMOTHY CHARLES        8729 MORTENVIEW DR                                                                                             TAYLOR            MI   48180‐2801
OGREN, NANCY
OGRETER WELLS                      26 PINE TREE DR                                                                                                JACKSON           TN 38301‐3416
OGRODNICK MARK A & DAVID GORBERG   32 PARKING PLZ STE 700                                                                                         ARDMORE           PA 19003‐2440
AND ASSOCIATES
OGRODOWSKI, ELEANOR C              4609 DEWEY AVE                                                                                                 ROCHESTER         NY   14612‐3905
OGRODOWSKI, SUE                    5767 RENVILLE ST                                                                                               DETROIT           MI   48210
OGRODZINSKI, ANGELINE H            7950 S CECILY DR                                                                                               OAK CREEK         WI   53154‐3096
OGRODZINSKI, STANLEY D             1056 WOODROW AVE NW                                                                                            GRAND RAPIDS      MI   49504‐3946
OGS PROCUREMENT                    801 EVANS AVE                                                                                                  AKRON             OH   44305‐1016
OGSTON, EARL W                     17878 W ABBIE LN                                                                                               BRIMLEY           MI   49715‐9388
OGSTON, THOMAS A                   124 DIVISION ST                                                                                                EATON RAPIDS      MI   48827‐1016
OGUIN, CLARA                       2750 ‐ 76TH AVE                                                                                                OAKLAND           CA   94605‐2810
OGUIN, FREDDIE L                   2750 76TH AVE                                                                                                  OAKLAND           CA   94605‐2810
OGUINN WILLIE EARL                 C/O EDWARD O MOODY PA            801 WEST FOURTH STREET                                                        LITTLE ROCK       AR   72201
OGUINN, WILLIE EARL                MOODY EDWARD O                   801 W 4TH ST                                                                  LITTLE ROCK       AR   72201‐2107
OGUNSUSI, CHIEF ANTHONY            3020 PADAGO CT                                                                                                 FORT WAYNE        IN   46815‐6332
OGUNTI, DEBORAH R                  6946 ROLAND BLVD                                                                                               SAINT LOUIS       MO   63121‐2724
OGUREK, MARIE                      2718 HATTON                                                                                                    PONTIAC           MI   48326‐1913
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Name                            Address1                        Address2                     Address3   Address4         City               State Zip
OGUREK, MARIE                   2718 HATTON RD                                                                           LAKE ANGELUS        MI 48326‐1913
OGUREK, WARNER L                48 HICKORY RDG                                                                           DAVISON             MI 48423‐9166
OGUZ CELEBI
OGUZ DAGCI                      34415 SANDPEBBLE DR                                                                      STERLING HEIGHTS   MI    48310‐5559
OH ASSOC OF CHIEFS OF POLICE    6277 RIVERSIDE DR STE 2N                                                                 DUBLIN             OH    43017‐5067
OH DEPT OF JOBS & FAMILY SVCS   TRADE/UC BENEFITS ATTN: JAMES   PO BOX 182153                                            COLUMBUS           OH    43218‐2153
OH HILARIO L                    2899 HASTINGS CT                                                                         OAKLAND TOWNSHIP   MI    48306‐4903
OH JAIME                        OH, MICHELLE                    1037 US HIGHWAY 46 STE 105                               CLIFTON            NJ    07013‐2461
OH KONG T & GIM SAIK            9780 SPRINGFIELD RD                                                                      YOUNGSTOWN         OH    44514‐3146
OH SEOG‐CHAN                    6160 BRITTANY TREE DRIVE                                                                 TROY               MI    48085‐1084
OH TECHNOLOGY                   9300 PROGRESS PARKWAY                                                                    MENTOR             OH    44060
OH, BYUNG Y                     1321 HOLLINS HALL LN                                                                     TROY               MI    48085‐6742
OH, CAROLYN K                   2929 CASHEL LANE                                                                         VIENNA             VA    22181‐6067
OH, DAVID D                     5410 WHITE HALL CIR                                                                      W BLOOMFIELD       MI    48323‐3459
OH, DUK W                       12639 SPARWOOD LN                                                                        LA MIRADA          CA    90638‐2527
OH, ESTHER                      2055 SW 198TH AVE                                                                        ALOHA              OR    97006‐2536
OH, GLORIA C                    12 NANDINA DR                                                                            NEWARK             DE    19702‐3936
OH, GLORIA C                    12 NANDINA DR.                                                                           NEWARK             DE    19702
OH, HILARIO L                   2899 HASTINGS CT                                                                         OAKLAND TOWNSHIP   MI    48306‐4903
OH, KONG P                      2211 HAVERFORD DR                                                                        TROY               MI    48098‐5336
OH, PAHNGROC                    1642 ABIGAIL WAY                                                                         ANN ARBOR          MI    48103‐8948
OH, SE H                        1126 ROBERTSON DR                                                                        TROY               MI    48085‐4921
OH, SE HYUCK                    1126 ROBERTSON DR                                                                        TROY               MI    48085‐4921
OH, SEJOONG                     5650 STONEHAVEN BLVD                                                                     OAKLAND TOWNSHIP   MI    48306‐4939
OH, SEOG‐CHAN                   6160 BRITTANY TREE DR                                                                    TROY               MI    48085‐1084
OH, THOMAS K                    4448 N OZANAM AVE                                                                        NORRIDGE           IL    60706‐4508
OHAGAN SMITH & AMUNDSEN         150 N MICHIGAN AVE STE 3300                                                              CHICAGO            IL    60601‐7621
OHAGAN, MICHAEL J               159 ORA RD                                                                               OXFORD             MI    48371‐3229
OHALA, FRANCIS E                1211 IRWIN DR                                                                            WATERFORD          MI    48327‐2023
OHALL, SARA M                   2206 WINTER WOODS BLVD.                                                                  WINTER PARK        FL    32792‐1933
OHALLA, MARIANNE                341 BRUNSWICK DR                                                                         HURON              OH    44839‐1553
OHALLORAN, GARY M               825 5TH ST                      C/O RAMON HERRERA                                        EUREKA             CA    95501‐1107
OHALLORAN, HARVEY A             25163 FRONTIER CIR                                                                       FLAT ROCK          MI    48134‐1092
OHANESSIAN, GINA                1N510 MAIN ST                                                                            GLEN ELLYN         IL    60137‐3566
OHANISAIN, TERRANCE L           714 N CHEVROLET AVE                                                                      FLINT              MI    48504‐5209
OHANNASIAN, KASPER              38340 S HURON RD                                                                         NEW BOSTON         MI    48164‐9661
OHAR, DANIEL J                  1970 DODGE RD                                                                            EAST AMHERST       NY    14051‐1304
OHAR, DANIEL JAMES              1970 DODGE RD                                                                            EAST AMHERST       NY    14051‐1304
OHARA HOLLY                     OHARA, CHAD                     3102 OAK LAWN AVE STE 600                                DALLAS             TX    75219‐4271
OHARA HOLLY                     OHARA, HOLLY                    3102 OAK LAWN AVE STE 600                                DALLAS             TX    75219‐4271
OHARA HOLLY                     OHARA, MICHELLE                 3102 OAK LAWN AVE STE 600                                DALLAS             TX    75219‐4271
OHARA HUDSON                    PO BOX 1305                                                                              LITHONIA           GA    30058‐1305
OHARA JR, JOHN P                PO BOX 85131                                                                             WESTLAND           MI    48185‐0131
OHARA JR, THOMAS J              45 QUAKER RIDGE RD                                                                       TONAWANDA          NY    14150‐9309
OHARA ROBERT J DBA TRANS‐DATA   2511 FOX CHASE DR                                                                        TROY               MI    48098‐2329
ENGINEERING
OHARA RUBERG TAYLOR SLOAN &     PO BOX 17411                                                                             COVINGTON           KY   41017‐0411
SERGENT
OHARA, AMANDA                   4991 MEADOW RUN DR                                                                       HILLIARD           OH    43026‐7163
OHARA, BOBBY L                  169 COUNTY ROAD 506                                                                      NEWELL             AL    36280‐4831
OHARA, CHAD                     RUSSELL LEON R                  3102 OAK LAWN AVE STE 600                                DALLAS             TX    75219‐4271
OHARA, DENNIS P                 411 N OBERT ST                                                                           DURAND             MI    48429‐1358
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Name                                   Address1                        Address2                    Address3                     Address4            City               State Zip
OHARA, DENNIS P                        3760 AYRSHIRE DR                                                                                             YOUNGSTOWN          OH 44511‐1120
OHARA, DONALD V                        400 N LINN ST                                                                                                BAY CITY            MI 48706‐4832
OHARA, EDNA B                          819 RICHMOND DR                                                                                              HERMITAGE           PA 16148‐1508
OHARA, FREDA A                         4465 WILLOW CREEK DRIVE                                                                                      WARREN              OH 44484‐4484
OHARA, HELEN V                         PO BOX 1730                                                                                                  BRADENTON           FL 34206
OHARA, HOLLY                           RUSSELL LEON R                  3102 OAK LAWN AVE STE 600                                                    DALLAS              TX 75219‐4271
OHARA, JAMES M                         326 IDDINGS AVE SE                                                                                           WARREN              OH 44483‐5918
OHARA, JAMES R                         30400 THIEROFF RD                                                                                            HOLGATE             OH 43527‐9600
OHARA, MAUREEN A                       34 TALL TIMBER DRIVE                                                                                         BRICK               NJ 08723‐5668
OHARA, MICHELLE                        RUSSELL LEON R                  3102 OAK LAWN AVE STE 600                                                    DALLAS              TX 75219‐4271
OHARA, ROBERT J                        1300 FORESTGLEN CT                                                                                           BLOOMFIELD HILLS    MI 48304‐1505
OHARA, ROBERT L                        127 CLYDE ST                                                                                                 TOLEDO              OH 43605‐1932
OHARA, THOMAS                          9402 CANADICE TOWNLINE RD                                                                                    SPRINGWATER         NY 14560‐9673
OHARA, THOMAS E                        2610 COOMER RD                                                                                               BURT                NY 14028‐9738
OHARA, VERNELL                         12011 MILLER RD                                                                                              LENNON              MI 48449‐9406
OHARE JACKIE                           8075 WOODPECKER TRL                                                                                          JACKSONVILLE        FL 32256‐7332
OHARE, DAVID O                         385 INDEPENDENCE DR                                                                                          ORCHARD PARK        NY 14127‐3436
OHARE, JULIA E                         311 E 17TH AVE                                                                                               HOMESTEAD           PA 15120‐2066
OHARE, JULIA E                         311 EAST 17TH AVENUE                                                                                         HOMESTEAD           PA 15120‐2066
OHARE, ROBERT H                        648 LAWNDALE DR                                                                                              PLAINFIELD          IN 46168
OHAROLD, GLENN D                       1635 HART RD                                                                                                 LEBANON             OH 45036‐9621
OHAROLD, JOHN D                        621 CRESTVIEW DR                                                                                             LEBANON             OH 45036‐1613
OHARRA, AMANDA                         UMR                             ATTN: SUBROGATION UNIT      5151 PFEIFFER ROAD, ML 400                       CINCINNATI          OH 45242‐4805

OHARRA, HARRY L                        3769 ADELL RD                                                                                                COLUMBUS           OH   43228‐3103
OHARRA, PAUL D                         6681 JOHNSON RD                                                                                              GALLOWAY           OH   43119‐8890
OHARRAH, EDNA G                        6020 CINDY DR                                                                                                DAYTON             OH   45449‐3254
OHARRIS, ROBERT L                      35419 HARROUN ST                                                                                             WAYNE              MI   48184‐2377
OHARRIS, ROBERT LEROY                  35419 HARROUN ST                                                                                             WAYNE              MI   48184‐2377
OHARROW, LINDA M                       490 CHERRY ST                                                                                                DUNLAP             TN   37327
OHASHI USA INC                         5555 INTERSTATE VIEW DR                                                                                      MORRISTOWN         TN   37813‐3780
OHAUS/FLORHAM PARK                     29 HANOVER RD                                                                                                FLORHAM PARK       NJ   07932‐1408
OHAVER, MILDRED W                      14591 E 196TH ST                                                                                             NOBELSVILLE        IN   46060‐9512
OHBSONS VENTURES LIMITED               PLOT D102T GIRING,DAGON KA                                                               JOS NIGERIA
OHC OF OKLAHOMA LLC                    DBA CONCENTRA MEDICAL CENTERS   238 S QUADRUM DR                                                             OKLAHOMA CITY      OK 73108‐1101
OHC OF OKLAHOMA, LLC                   238 S QUADRUM DR                                                                                             OKLAHOMA CITY      OK 73108‐1101
OHD LLC                                197 CAHABA VALLEY PKWY                                                                                       PELHAM             AL 35124‐1144
╥HDQ└ └LKHF└LSK                        KJ╥KG╥K                         ╥KG╥KG╥                     LKG╥KLG
OHEARN ALFRED T (ESTATE OF) (651429)   THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                                         BOSTON             MA 02110‐2104

OHEARN, ALFRED T                       THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                                         BOSTON             MA   02110‐2104
OHEARN, WILLIAM H                      14841 DEVONSHIRE AVE                                                                                         TUSTIN             CA   92780‐6679
OHEIM, DAVID L                         1220 TEE CEE DR                                                                                              WATERFORD          MI   48328‐2049
OHERON, FLORENCE M                     1850 SHIRLENE                                                                                                FLORISSANT         MO   63031‐3126
OHERON, FLORENCE M                     1850 SHIRLENE DR                                                                                             FLORISSANT         MO   63031‐3126
OHERON, JANET L                        1018 S THOMAN ST                                                                                             CRESTLINE          OH   44827‐1860
OHERON, MICHAEL P                      407 HICKORY POST CT                                                                                          WENTZVILLE         MO   63385‐3786
OHERON, WILLIAM F                      1110 N MARKET ST                                                                                             GALION             OH   44833‐1458
OHERRICK, JANET A                      4093 BRAYSVILLE RD                                                                                           SPENCER            IN   47460‐5118
OHI AUTOMOTIVE OF AMERICA CORP         C/O GECOM CORPORATION           1025 BARACHEL LN                                                             GREENSBURG         IN   47240‐1269
OHI AUTOMOTIVE OF AMERICA CORP         3005 CORPORATE DR                                                                                            WINCHESTER         KY   40391‐8489
OHI AUTOMOTIVE OF AMERICA CORP         RON WOODS                       1030 HOOVER BLVD.                                                            HOPKINSVILLE       KY   42240
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Name                                  Address1                             Address2                        Address3                       Address4                 City               State Zip
OHI CO                                PSP & TRUST DTD 7‐1‐80               ATTN: TOM HUBBARD               PO BOX 622                                              STOCKTON            CA 95201
OHI SEISAKUSHO CO LTD                 1‐14‐7 MARUYAMA ISOGO‐KU                                                                            KANAGAWA 231‐0813
                                                                                                                                          JAPAN
OHI SEISAKUSHO CO LTD                 RON WOODS                            1030 HOOVER BLVD.                                                                       HOPKINSVILLE       KY   42240
OHI0 TECHNICAL INSTITUTE              1374 E 51ST ST                                                                                                               CLEVELAND          OH   44103‐1228
OHINS, ANDREA V                       5259 TWIN OAKS DR                                                                                                            STERLING HEIGHTS   MI   48314‐3159
OHIO & MICHIGAN PAPER CO              PO BOX 621                                                                                                                   TOLEDO             OH   43697‐0621
OHIO ALLIANCE FOR CIVIL JUSTICE       OHIO CHAMBER OF COMMERCE             230 E TOWN ST                                                                           COLUMBUS           OH   43215
OHIO ANESTHESIA GROU                  PO BOX 715128                                                                                                                COLUMBUS           OH   43271‐5128
OHIO ART CO THE                       PO BOX 111                                                                                                                   BRYAN              OH   43506‐0111
OHIO ASSEMBLY OF COUNCILS             OHIO BUSINESS OPPORTUNITY FAIR       37 N HIGH ST                                                                            COLUMBUS           OH   43215‐3008
OHIO ASSISTANT ATTORNEY GENERAL       ATTY FOR BUREAU OF MOTOR VEHICLES    ATTN: JOHN PATTERSON            30 EAST BROAD STREET, 26TH                              COLUMBUS           OH   43215
                                                                                                           FL
OHIO ASSISTANT ATTORNEY GENERAL       ATTY FOR OHIO DEPARTMENT OF PUBLIC   ATTN: RONN ROSENBLUM            150 EAST GAY STREET, 21ST FL                            COLUMBUS           OH 43215
                                      SAFETY
OHIO ASSN OF METAL FINISHERS          C/O SEMINAR REGISTRATION             190 CLARK ST                                                                            BEREA              OH 44017‐2122
OHIO ASSOCIATED ENTERPRISES IN        1382 W JACKSON ST                    PO BOX 8003                                                                             PAINESVILLE        OH 44077‐1306
OHIO ATTORNEY GENERAL                 ATTY FOR OHIO ENVIRONMENTAL          ATT: MICHELLE T. SUTTER, PRINCIPAL ENVIRONMENTAL               30 E. BROAD STREET, 25TH COLUMBUS           OH 43215
                                      PROTECTION AGENCY ("OEPA")           ASST. ATTORNEY GENERAL             ENFORCEMENT SECTION         FLOOR

OHIO ATTORNEY GENERALS OFFICE         COLLECTIONS ENFORCEMENT              150 E GAY ST FL 21                                                                      COLUMBUS           OH   43215‐3191
OHIO AUTO SUPPLY                      1128 TUSCARAWAS ST W                                                                                                         CANTON             OH   44702‐2055
OHIO AUTO SUPPLY CO                   1128 TUSCARAWAS ST W                                                                                                         CANTON             OH   44702‐2055
OHIO AUTO SUPPLY CO                                                        1128 TUSCARAWAS ST W                                                                                       OH   44702
OHIO AUTO TRANSPORT LTD               55 PUBLIC SQ STE 650                                                                                                         CLEVELAND          OH   44113‐1909
OHIO AUTOMOBILE DEALERS ASSOC         655 METRO PL S STE 270                                                                                                       DUBLIN             OH   43017‐3393
OHIO BARBRI BAR REVIEW                1370 ONTARIO ST STE 410                                                                                                      CLEVELAND          OH   44113‐1736
OHIO BELL CORPORATION                 3233 WOODMAN DRIVE                                                                                                           DAYTON             OH   45420
OHIO BELL TELEPHONE COMPANY           GENERAL MOTORS CORPORATION           45 ERIEVIEW PLZ                                                                         CLEVELAND          OH   44114‐1801
OHIO BELL TELEPHONE COMPANY           GENERAL MOTORS CORPORATION           DIRECTOR GM FACILITIES          3044 W GRAND BLVD                                       DETROIT            MI   48202
OHIO BOARD OF PHARMACY                77 SOUTH HIGH STREET ROOM 170                                                                                                COLUMBUS           OH   43215
OHIO BUREAU OF EMPLOYMENT SERVICES

OHIO BUREAU OF EMPLOYMENT SVCS
OHIO BUREAU OF MOTOR VEHICLES         1970 W BROAD ST                                                                                                              COLUMBUS           OH 43223‐1102
OHIO BUREAU OF MOTOR VEHICLES         DEALER AND SALESPERSON LICENSING     P.O. BOX 16520                                                                          COLUMBUS           OH 43216‐6520
                                      UNIT
OHIO BUREAU OF WORKERS COMP           BWC STATE INSURANCE FUND             30 W SPRING ST L25                                                                      COLUMBUS           OH 43271‐0977
OHIO BUREAU OF WORKERS                LEGAL DIVISION BANKRUPTCY UNIT       PO BOX 15567                                                                            COLUMBUS           OH 43215
COMPENSATION
OHIO BUSINESS WEEK FOUNDATION         236 E TOWN ST STE 110                                                                                                        COLUMBUS           OH   43215
OHIO C.S.P.C.                         PO BOX 182394                                                                                                                COLUMBUS           OH   43218‐2394
OHIO CARRIER CORPORATION              PO BOX 429                                                                                                                   DOVER              OH   44622‐0429
OHIO CAST METALS ASSOCIATION          2969 SCIOTO PL                                                                                                               COLUMBUS           OH   43221‐4753
OHIO CAST PRODUCTS INC                2408 13TH ST NE                                                                                                              CANTON             OH   44705‐1924
OHIO CASUALTY INSURANCE COMPANY       MEYER JAN LAW OFFICES OF             1029 TEANECK ROAD ‐ SECOND                                                              TEANECK            NJ   07666
                                                                           FLOOR
OHIO CENTER FOR BROADCASTING          9000 SWEET VALLEY DR                                                                                                         VALLEY VIEW        OH   44125‐4220
OHIO CENTRAL RAILROAD INC             PO BOX 1180                                                                                                                  COSHOCTON          OH   43812‐6180
OHIO CHEST PHYSICIAN                  PO BOX 74145                                                                                                                 CLEVELAND          OH   44194‐4145
OHIO CHILD SUPPORT PAYMEN T CENTRAL   PO BOX 182394                                                                                                                COLUMBUS           OH   43218‐2394
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Name                                 Address1                               Address2                        Address3                    Address4            City           State Zip
OHIO CHILD SUPPORT PAYMENT CENTRAL   PO BOX 182394                                                                                                          COLUMBUS        OH 43218‐2394

OHIO CHILD SUPPORT PMT CENTER        PO BOX 182394                                                                                                          COLUMBUS       OH 43218‐2394
OHIO COLLEGE OF PODIATRIC MEDICINE   10515 CARNEGIE AVE                     BUSINESS OFFICE                                                                 CLEVELAND      OH 44106‐3016

OHIO CONCRETE SAWING AND DRILLING    1100 EVANS AVE                                                                                                         AKRON          OH 44305
OF AKRON INC
OHIO CONCRETE SAWING AND DRILLING    ATTN: CORPORATE OFFICER/AUTHORIZED 1100 EVANS AVE                                                                      AKRON          OH 44305‐1023
OF AKRON INC                         AGENT
OHIO CONNECTION                      4330 CLIME RD N                        PO BOX 28429                                                                    COLUMBUS       OH 43228‐3439
OHIO CSPC                            PO BOX 182394                                                                                                          COLUMBUS       OH 43218‐2394
OHIO DECORATIVE PRODUCTS             HANK WATERS                            PO BOX 125                                                                      HORSE CAVE     KY 42749‐0125
OHIO DECORATIVE PRODUCTS             HANK WATERS                            P.O. BOX 125/S. 21 W. HIGHWAY                               GUELPH ON CANADA
OHIO DECORATIVE PRODUCTS INC         220 S ELIZABETH ST                     PO BOX 126                                                                      SPENCERVILLE   OH 45887‐1315
OHIO DECORATIVE PRODUCTS INC         220 S ELIZABETH ST                                                                                                     SPENCERVILLE   OH 45887‐1315
OHIO DECORATIVE PRODUCTS INC         HANK WATERS                            P.O. BOX 125/S. 21 W. HIGHWAY                               GUELPH ON CANADA
OHIO DECORATIVE PRODUCTS INC         HANK WATERS                            PO BOX 125                                                                      HORSE CAVE     KY 42749‐0125
OHIO DEPARTMENT OF COMMERCE          DIVISION OF UNCLAIMED FUNDS            PO BOX 18305                                                                    COLUMBUS       OH 43218
OHIO DEPARTMENT OF COMMERCE,         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 8895 E MAIN ST                                                                  REYNOLDSBURG   OH 43068‐3340
DIVISION OF STATE FIRE MARSHAL
OHIO DEPARTMENT OF DEVELOPMENT       SBDC WOMENS BUSINESS SVCS              77 S HIGH ST FL 28                                                              COLUMBUS       OH 43215‐6108
OHIO DEPARTMENT OF TAXATION
OHIO DEPARTMENT OF TAXATION          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 4485 NORTHLAND RIDGE BLVD                                                       COLUMBUS       OH 43229‐5404

OHIO DEPARTMENT OF TAXATION          PO BOX 16561                                                                                                           COLUMBUS       OH   43216‐6561
OHIO DEPARTMENT OF TAXATION          PO BOX 27                                                                                                              COLUMBUS       OH   43216‐0027
OHIO DEPARTMENT OF TAXATION          4485 NORTHLAND RIDGE BLVD                                                                                              COLUMBUS       OH   43229‐5404
OHIO DEPARTMENT OF TAXATION          C/O LUCAS C. WARD                      OFFICE OF THE OHIO ATTORNEY     150 EAST GAY STREET, 21ST                       COLUMBUS       OH   43215
                                                                            GENERAL                         FLOOR
OHIO DEPARTMENT OF TAXATION          BANKRUPTCY DIVISION                    30 EAST BROAD STREET            23RD FLOOR                                      COLUMBUS       OH 43216
OHIO DEPARTMENT OF TAXATION          OHIO DEPARTMENT OF TAXATION,           30 EAST BROAD STREET, 23RD                                                      COLUMBUS       OH 43216
                                     BANKRUPTCY DIVISION                    FLOOR
OHIO DEPARTMENT OF TRANSPORTATION                                           505 S SR 741                                                                                   OH 45036
#8
OHIO DEPT OF COMMERCE                DIV OF INDUSTRIAL COMPLIANCE           6606 TUSSING RD                                                                 REYNOLDSBURG   OH 43068‐4004
OHIO DEPT OF COMMERCE DIVN OF FIRE   BUR OF UNDERGROUND STORAGE TANKS       MICHELLE T SUTTER, ASSISTANT    30 EAST BROAD STREET 25TH                       COLUMBUS       OH 43215
MARSHAL                                                                     ATTORNEY GENERAL                FLOOR
OHIO DEPT OF HEALTH                  RADIOLOGICAL HEALTH PROG.              246 N HIGH ST                                                                   COLUMBUS       OH 43266‐0001
OHIO DEPT OF PUBLIC SAFETY           ATTN REVENUE MANAGEMENT                PO BOX 16521 DEPT 505                                                           COLUMBUS       OH 43216
OHIO DEPT OF TAXATION                PO BOX 182101                          COMMERCIAL ACTIVITY TAX                                                         COLUMBUS       OH 43218‐2101
                                                                            REGISTRATION
OHIO DEPT OF TAXATION                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 182101                   COMMERCIAL ACTIVITY TAX                         COLUMBUS       OH 43218‐2101
                                                                                                            REGISTRATION
OHIO DEPT OF TRANS
OHIO DEPT OF TRANS‐RAIL DIV          25 SOUTH FRONT ST                      PO BOX 899                                                                      COLUMBUS       OH   43216‐0899
OHIO DEPT. OF TAXATION               COMMERCIAL ACTIVITY TAX                P.O. BOX 16158                                                                  COLUMBUS       OH   43216
OHIO DIV OF UNCLAIMED FUNDS          77 S HIGH ST FL 20                                                                                                     COLUMBUS       OH   43215‐6108
OHIO DOMINICAN COLLEGE               ODC SERVICE CENTER                     1216 SUNBURY RD                                                                 COLUMBUS       OH   43219‐2086
OHIO DOMINICAN COLLEGE LEAD          1216 SUNBURY RD                        RM 103                                                                          COLUMBUS       OH   43219
PROGRAM
OHIO DOMINICAN UNIVERSITY            LEAD ACCOUNTING DEPARTMENT             4449 EASTON WAY STE 100                                                         COLUMBUS       OH 43219‐6113
OHIO EDISON                          PO BOX 3637                                                                                                            AKRON          OH 44309‐3637
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Name                                  Address1                              Address2                           Address3                  Address4         City               State Zip
OHIO EDISON CO                        76 S MAIN ST                                                                                                        AKRON               OH 44308
OHIO EDISON COMPANY                   2525 W 4TH ST                                                                                                       MANSFIELD           OH 44906‐1208
OHIO EDISON COMPANY                   2300 HALLOCK YOUNG RD SW                                                                                            WARREN              OH 44481‐9238
OHIO EDISON COMPANY                   PO BOX 3637                                                                                                         AKRON               OH 44309‐3637
OHIO EDISON COMPANY                   ATTN MGR OF REAL ESTATE               76 SOUTH MAIN STREET                                                          AKRON               OH 44308
OHIO EDISON COMPANY                   PO BOX 3687                                                                                                         AKRON               OH 44309‐3687
OHIO EDISON COMPANY                   47 N MAIN ST                                                                                                        AKRON               OH 44308‐1925
OHIO EDISON COMPANY                   76 S. MAIN STREET                                                                                                   AKRON               OH 44308
OHIO ENVIRONMENTAL PROTECTION         50 WEST TOWN ST., SUITE 700                                                                                         COLUMBUS            OH 43215
AGENCY
OHIO ENVIRONMENTAL PROTECTION         2110 E AURORA RD                                                                                                    TWINSBURG          OH 44087
AGENCY
OHIO ENVIRONMENTAL PROTECTION         P.O. BOX 1049                                                                                                       COLUMBUS           OH 43216‐1049
AGENCY
OHIO ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2110 E AURORA RD                                                             TWINSBURG          OH 44087‐1924
AGENCY
OHIO ENVIRONMENTAL PROTECTION         MICHELLE T SUTTER, ASSISTANT ATTORNEY 30 EAST BROAD STREET 25TH FLOOR                                               COLUMBIA           OH 43215
AGENCY                                GENERAL
OHIO ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 50 W TOWN ST STE 700                                                         COLUMBUS           OH 43215‐4173
AGENCY
OHIO ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1049                                                                  COLUMBUS           OH 43216‐1049
AGENCY
OHIO ENVIRONMENTAL PROTECTION         REGION 5                              122 S FRONT ST                                                                COLUMBUS           OH 43215‐3425
AGENCY
OHIO ENVIRONMENTAL PROTECTION         C/O MICHELLE T SUTTER ASSISTANT        30 EAST BROAD STREET 25TH FLOOR                                              COLUMBUS           OH 43215
AGENCY                                ATTORNEY GENERAL
OHIO ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 401 E 5TH ST                                                                 DAYTON             OH 45402‐2911
AGENCY, SW DISTRICT OFFICE
OHIO EPA OFFICE OF FISCAL             PO BOX 1049                                                                                                         COLUMBUS           OH 43216‐1049
ADMINISTRATIO
OHIO EXCISE TAX AND ASSESSMENT UNIT   PO BOX 530                                                                                                          COLUMBUS           OH 43216‐0530

OHIO EXCISE TAX AND ASSESSMENT UNIT   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 530                                                                   COLUMBUS           OH 43216‐0530

OHIO EXECUTIVE TRANSPORTATION         760 STELZER RD                                                                                                      COLUMBUS           OH 43219‐3738
SERVICES INC.
OHIO EYE ASSOCIATES                   466 S TRIMBLE RD                                                                                                    MANSFIELD          OH 44906‐3416
OHIO EYE ASSOCIATES INC               ACCT OF CLIFTON JONES
OHIO FALLEN HEROES BENEFIT CONCERT    75 COUNTY RD 170                                                                                                    MARENGO            OH 43334‐9609

OHIO FARMERS INSURANCE                PO BOX 5001                                                                                                         WESTFIELD CTR      OH   44251‐5001
OHIO FARMERS INSURANCE (SATURN)       1225 W WASHINGTON ST STE 400                                                                                        TEMPE              AZ   85281‐1240
OHIO FARMERS INSURANCE COMPANY        BRIAN MCKEIGHEN                       ONE PARK CIRCLE                                                               WESTFIELD CENTER   OH
OHIO FFA FOUNDATION                   717A E 17TH AVE                                                                                                     COLUMBUS           OH   43211‐2489
OHIO FINGERPRINTING BUREAU            ATTN: TERRY FLANAGAN                  12000 SNOW RD # 12                                                            CLEVELAND          OH   44130‐9314
OHIO FORUM                            ATTN JOEL BAILEY                      C/O FIRSTENERGY CORP               801 PENNSYLVANIA AVE NW                    WASHINGTON         DC   20004
                                                                                                               NO 31
OHIO GEAR & TRANSMISSION INC          33050 LAKELAND BLVD                                                                                                 WILLOUGHBY         OH 44095‐5203
OHIO GEAR & TRANSMISSION INC          ATTN: CORPORATE OFFICER/AUTHORIZED    33050 LAKELAND BLVD                                                           EASTLAKE           OH 44095‐5203
                                      AGENT
OHIO IMAGING ASSOCIA                  PO BOX 74691                                                                                                        CLEVELAND          OH 44194‐0002
OHIO INDUSTRIAL PARKS INC             7620 MARKET ST                                                                                                      YOUNGSTOWN         OH 44512‐6078
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Name                                Address1                         Address2                        Address3                   Address4         City                State Zip
OHIO INDUSTRIAL SUPPLY INC          PO BOX 372                       915 LAKE RD                                                                 MEDINA               OH 44258‐0372
OHIO INST FOR COMP P                PO BOX 711382                                                                                                CINCINNATI           OH 45271‐82
OHIO INSTITUTE OF CARDIACCARE INC   1416 W 1ST ST                    DBA OICC ADVANCED CARDIOLOGY                                                SPRINGFIELD          OH 45504‐1923

OHIO INSTITUTE OF PHOTOGRAPHY       2029 EDGEFIELD RD                                                                                            MORAINE             OH 45439‐1917
OHIO INSTITUTE OF PHOTOGRAPHY AND   2029 EDGEFIELD RD                                                                                            MORAINE             OH 45439‐1917
TECHNOLOGY
OHIO INTRA EXPRESS INC              852 LYLE DR                                                                                                  HERMITAGE           PA   16148‐1523
OHIO JACOBSON/MEDINA                941 LAKE RD                                                                                                  MEDINA              OH   44256‐2453
OHIO KENTUCKY STEEL CORP            2001 COMMERCE CENTER DR                                                                                      FRANKLIN            OH   45005‐1478
OHIO MACHINERY CO                   900 KENMAR DRIVE                                                                                             BROADVIEW HEIGHTS   OH   44147
OHIO MAGNETICS INC                  5400 DUNHAM RD                                                                                               MAPLE HEIGHTS       OH   44137‐3653
OHIO MAINTENANCE CO INC             13831 TRISKETT RD                                                                                            CLEVELAND           OH   44111‐1523
OHIO MANUFACTURERS ASSOCIATION      33 N HIGH ST                                                                                                 COLUMBUS            OH   43215
OHIO MOULDING CORP                  30396 LAKELAND BLVD                                                                                          WICKLIFFE           OH   44092‐1748
OHIO MOWING COMPANY LLC             5130 ARBOR WAY                                                                                               SYLVANIA            OH   43560‐2528
OHIO NORTHERN EXPRESS               PO BOX 447                                                                                                   BEREA               OH   44017‐0447
OHIO NORTHERN TRANSIT CO            3775 RIDGE RD                                                                                                CLEVELAND           OH   44144‐1126
OHIO NORTHERN UNIVERSITY            OFFICE OF THE CONTROLLER                                                                                     ADA                 OH   45810
OHIO OIL AND GAS ASSOCIATION        PO BOX 535                                                                                                   GRANVILLE           OH   43023‐0535
OHIO PIPE & SUPPLY CO INC           14615 LORAIN AVE                                                                                             CLEVELAND           OH   44111‐3166
OHIO PROFESSIONAL CTRS INC          CONVISER DUFFY CPA REVIEW        820 W SUPERIOR AVE STE 920                                                  CLEVELAND           OH   44113
OHIO QUALITY AND PRODUCTIVITY FORUM 1973 EDISON DR                                                                                               PIQUA               OH   45356‐9239

OHIO QUARTER HORSE ASSOCIATION      101 TAWA RD                                                                                                  RICHWOOD            OH 43344‐1287
OHIO RAILWAY COMPANY
OHIO RUBB/TROY                      C/O GLEN SCHLEMOIR               275 BIG BEAVER ROAD             SUITE 205                                   TROY                MI 48084
OHIO SAVINGS BANK                   6290 PEARL RD                                                                                                PARMA               OH 44130‐3062
OHIO SCHOOL DISTRICT                INCOME TAX
OHIO SCHOOL DISTRICTS               INCOME TAX
OHIO SECRETARY OF STATE OFFICE      PO BOX 670                       UPTD AS PER AFC 02/08/05 GJ                                                 COLUMBUS            OH   43216‐0670
OHIO SELF INSURERS ASSOCIATION      52 EAST GRAY STREET                                                                                          COLUMBUS            OH   43216
OHIO SKATE                          ATTN: JOE YAMBOR                 5735 OPPORTUNITY DR                                                         TOLEDO              OH   43612‐2902
OHIO SPORTS & SPINE                 1265 BOARDMAN CANFIELD RD                                                                                    BOARDMAN            OH   44512‐4004
OHIO SPORTS & SPINE INSTITUTE       1265 BOARDMAN CANFIELD RD                                                                                    BOARDMAN            OH   44512‐4004
OHIO STATE BOARD OF PHARMACY        77 S HIGH ST RM 1702                                                                                         COLUMBUS            OH   43215‐6108
OHIO STATE RESEARCH FOUNDATION      1960 KENNY RD                                                                                                COLUMBUS            OH   43210‐1016
OHIO STATE UNIVERSITY               ATTN DR AHMET KAHRAMAN           201 W 19TH AVE                  DEPT OF MECHANICAL                          COLUMBUS            OH   43210‐1142
                                                                                                     ENGINEERING
OHIO STATE UNIVERSITY               DEPT OF MECHANICAL ENGINEERING   PETER L AND CLARA M SCOTT LA    201 W 19TH AVENUE SUITE                     COLUMBUS            OH 43210
                                                                                                     N350
OHIO STATE UNIVERSITY               DEPT OF MAT SCI & ENGINEERING    2041 N COLLEGE RD               ATTN MEI WANG                               COLUMBUS            OH   43210‐1124
OHIO STATE UNIVERSITY               ATTN TAYLAN ALTAN                1971 NEIL AVE                   339 BAKER SYSTEMS                           COLUMBUS            OH   43210‐1273
OHIO STATE UNIVERSITY               DEPT OF MATLS SCI & ENG          2041 N COLLEGE RD               ATTN ROBERT H WAGONER                       COLUMBUS            OH   43210‐1124
OHIO STATE UNIVERSITY               UNIV STAFF ADVISORY COMMITTEE    BLDG 1 650 ACKERMAN ROAD        ROOM 325D                                   COLUMBUS            OH   43202
OHIO STATE UNIVERSITY               C/O GIORGIO RIZZONI              930 KINNEAR RD                  ME & CENTER FOR AUTO                        COLUMBUS            OH   43212‐1443
                                                                                                     RESEARCH
OHIO STATE UNIVERSITY               ATTN DR ALI KEYHANI              DEPT OF ELEC ENG MECHATRONICS   2015 NEIL AVE 205 DREESE                    COLUMBUS            OH 43210
                                                                                                     LAB
OHIO STATE UNIVERSITY               DON BUTLER                       CENTER FOR AUTOMOTIVE           930 KINNEAR RD                              COLUMBUS            OH 43212
                                                                     RESEARCH
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Name                                 Address1                              Address2                        Address3                  Address4               City           State Zip
OHIO STATE UNIVERSITY                220 LINCOLN TOWER                     1800 CANNON DR ADD CHG/AFC                                                       COLUMBUS        OH 43210
                                                                           MW
OHIO STATE UNIVERSITY                T BASIL DIRECTOR 152 MT HALL          OFFICE OF CONTINUING ED         1050 CARMACK RD ADD CHG                          COLUMBUS       OH 43210
                                                                                                           4/98
OHIO STATE UNIVERSITY                ACCOUNTING DEPARTMENT 4TH FL          1960 KENNY RD                                                                    COLUMBUS       OH    43210‐1016
OHIO STATE UNIVERSITY                FISHER COLLEGE OF BUSINESS            280 W WOODRUFF AVE              110 PFHAL HALL                                   COLUMBUS       OH    43210‐1133
OHIO STATE UNIVERSITY                VETERINARY CONTINUING EDUCATIO        601 VERNON L THARP ST                                                            COLUMBUS       OH    43210‐4007
OHIO STATE UNIVERSITY                PROF. GLENN DAEHN, MATERIAL SCIENCE   2042 COLLEGE ROAD                                                                COLUMBUS       OH    43210
                                     AND ENGINEERING
OHIO STATE UNIVERSITY GATE PROGRAM   930 KINNEAR RD                        ATTN G RIZZONI DIRECTOR                                                          COLUMBUS       OH 43212‐1443

OHIO STATE UNIVERSITY HEALTH SCIENCES 370 W 9TH AVE                        MEILING HALL                                                                     COLUMBUS       OH 43210‐1238
CENTER
OHIO STATE UNIVERSITY OFFICE OF FEES  1800 CANNON DR                       230 LINCOLN TOWER ADD CHG CV                                                     COLUMBUS       OH 43210‐1209
AND DEPOSITS
OHIO STATE UNIVERSITY OFFICE OF       1216 KINNEAR RD                                                                                                       COLUMBUS       OH 43212‐1154
TECHNOLOGY LICENSING
OHIO STATE UNIVERSITY OFFICE OF THE   1800 CANNON DR                       238 LINCOLN TOWER                                                                COLUMBUS       OH 43210‐1209
TREASURER
OHIO STATE UNIVERSITY OFFICE OF THE   1800 CANNON DR                       220 LINCOLN TOWER                                                                COLUMBUS       OH 43210‐1209
TREASURER
OHIO STATE UNIVERSITY RESEARCH        1960 KENNY RD                                                                                                         COLUMBUS       OH 43210‐1016
OHIO STATE UNIVERSITY RESEARCH FOUN 1960 KENNY RD                                                                                                           COLUMBUS       OH 43210‐1016

OHIO STATE UNIVERSITY             2036 NEIL AVE                            ENGR RESEARCH SVCS ATTN CYNDY                                                    COLUMBUS       OH 43210‐1226
RESEARCHFOUNDATION
OHIO STATE UNIVERSITY, THE        2041 N COLLEGE RD                                                                                                         COLUMBUS       OH    43210‐1124
OHIO STATE UNIVERSITY, THE        ENGR RESEARCH SVCS                       ATTN CYNDY                      2036 NEIL AVE             224B BOLZ HALL         COLUMBUS       OH    43210‐1226
OHIO STATE UNIVERSITY‐ERC/NSM     ATTN TAYLAN ALTAN                        1971 NEIL AVE                   339 BAKER SYSTEMS                                COLUMBUS       OH    43210‐1273
OHIO STATE UNIVERSTIY SOCIETY OF  2070 NEIL AVE                            122 HITCHCOCK HALL                                                               COLUMBUS       OH    43210‐1226
WOMEN ENGINEERS
OHIO STATE UNVERSITY COLLEGE OF   CENTER FOR AUTOMOTIVE RESEARCH           930 KINNEAR RD ROOM 220A                                                         COLUMBUS       OH 43212
ENGINEERING
OHIO TOOL SYSTEMS                 6818 WALES RD                                                                                                             NORTHWOOD      OH    43619
OHIO TOOL SYSTEMS                 3863 CONGRESS PKWY                                                                                                        RICHFIELD      OH    44286‐9745
OHIO TOOL SYSTEMS INC             4779 TRANSIT RD UNIT 168                                                                                                  DEPEW          NY    14043
OHIO TOOL SYSTEMS INC             3863 CONGRESS PKWY                                                                                                        RICHFIELD      OH    44286‐9745
OHIO TRANSMISSION & PUMP CO OF    6500 DAVIS INDUSTRIAL PKWY                                                                                                CLEVELAND      OH    44139‐3562
OHIO TRANSMISSION CORP            3192 N SHADELAND AVE                                                                                                      INDIANAPOLIS   IN    46226‐6292
OHIO TRANSMISSION CORP            11771 BELDEN CT                                                                                                           LIVONIA        MI    48150‐1446
OHIO TRANSMISSION CORP            1900 JETWAY BLVD                                                                                                          COLUMBUS       OH    43219
OHIO TRANSMISSION CORP HYDROPOWER 3601 N FRUITRIDGE AVE                                                                                                     TERRE HAUTE    IN    47804‐1756

OHIO TRANSMISSION CORP HYDROPOWER 3192 N SHADELAND AVE                                                                                                      INDIANAPOLIS    IN   46226‐6292

OHIO TREASURER                       RICHARD CORDRAY                       PO BOX 16521                    REVENUE MANAGEMENT‐                              COLUMBUS       OH 43216‐6521
                                                                                                           PREPAID
OHIO TURNPIKE COMMISION              682 PROSPECT ST                                                                                                        BEREA          OH    44017‐2711
OHIO TURNPIKE COMMISSION             682 PROSPECT ST                                                                                                        BEREA          OH    44017‐2711
OHIO UNIVERSITY                      CASHIERS OFFICE                                                                                                        ATHENS         OH    45701
OHIO UNIVERSITY                      WITHOUT BOUNDARIES                    42 W UNION ROOM 111                                                              ATHENS         OH    45701
OHIO UNIVERSITY                      STUDENT FINANCIAL AID AND             SCHOLARSHIPS                    020 CHUBB HALL                                   ATHENS         OH    45701
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Name                                 Address1                         Address2                 Address3   Address4         City             State Zip
OHIO UNIVERSITY                      GRANTS & CONTRACTS ACTG OFFICE   HDL CENTER                                           ATHENS            OH 45701
OHIO UNIVERSITY                      108 CUTLER HALL                                                                       ATHENS            OH 45701
OHIO UNIVERSITY INDEPENDENT STUDY    TUPPER HALL 302                                                                       ATHENS            OH 45701

OHIO UNIVERSITY LIFE LONG LEARNING   HANING HALL ROOM 129                                                                  ATHENS           OH 45701

OHIO VALLEY AUDIO VISUAL LLC         958 DISTRIBUTION DR                                                                   DAYTON           OH 45434‐7174
OHIO VALLEY VOICES                   6642 BRANCH HILL GUINEA PIKE                                                          LOVELAND         OH 45140‐9141
OHIO WATER DEVELOPMENT AUTHORITY     ATTN: EXECUTIVE DIRECTOR         88 E BROAD ST STE 1300                               COLUMBUS         OH 43215‐3525

OHIO WELDED BLANK DIVISION           MIKE MOLINSKY                    5569 INNOVATION DR                                   VALLEY CITY      OH   44280‐9369
OHIO WESLEYAN UNIVERSITY             FIN AID OFFICE                   61 S SANDUSKY ST                                     DELAWARE         OH   43015‐2333
OHIO WINE PRODUCERS ASSOCIATION      822 TOTE RD                                                                           AUSTINBURG       OH   44010‐9781
OHL, EDWIN V                         4891 MESSERLY RD                                                                      CANFIELD         OH   44406‐9367
OHL, EUGENE J                        6407 S RACCOON RD                                                                     CANFIELD         OH   44406‐9270
OHL, G R                             12 SADDLER CT                                                                         BEDFORD          IN   47421‐3443
OHL, GINGER K                        2458 PETERSON RD                                                                      MANSFIELD        OH   44903‐9664
OHL, GLENN W                         1461 BURNETT ST                                                                       MINERALRIDGE     OH   44440
OHL, KATHLEEN F                      526 PERKINS DRIVE NW                                                                  WARREN           OH   44483‐4483
OHL, KATHLEEN F                      526 PERKINS DR NW                                                                     WARREN           OH   44483‐4616
OHL, MELBA C                         3897 BURKEY RD                                                                        AUSTINTOWN       OH   44515‐3340
OHL, RAYE A                          1529 FISHER DR                                                                        HUBBARD          OH   44425‐3304
OHL, RICHARD B                       1748 ROSALYN DR                                                                       MINERAL RIDGE    OH   44440‐9570
OHL, SHARON P                        2311 BRISBANE ST APT 25                                                               CLEARWATER       FL   33763
OHL, VIOLET M                        1601 SHADOW MOUNTAIN PL                                                               LAS VEGAS        NV   89108‐2474
OHL, WILLIAM H                       550 S SCHAU RD LOT 36                                                                 PORT CLINTON     OH   43452‐9529
OHLANDT GREELEY RUGGIERO & PERLE LLP 1 LANDMARK SQ FL 10                                                                   STAMFORD         CT   06901‐2619

OHLEMACHER JR, RICHARD C             17365 KEYSTONE RD                                                                     SUMMERLAND KEY   FL   33042‐3650
OHLEMACHER, PHILLIS J                1520 N INDIANA AVE                                                                    KOKOMO           IN   46901
OHLEMACHER, THOMAS K                 1922 ADRIAN CIR                                                                       SANDUSKY         OH   44870‐5027
OHLEN, GERTRUDE C                    751 OLD GATE RD NW                                                                    GRAND RAPIDS     MI   49504‐4735
OHLENDORF JR, HARRY A                3544 CROWNDUN DR                                                                      SAINT LOUIS      MO   63129‐2302
OHLENDORF, CHARLES L                 31511 UMBRIA LN                                                                       WINCHESTER       CA   92596
OHLER CHAPPELL                       1012 E WABASH ST                                                                      CONVERSE         IN   46919
OHLER L CHAPPELL                     1012 E WABASH ST                                                                      CONVERSE         IN   46919
OHLER, CARRIE L                      3210 WESTMONT AVENUE                                                                  LANSING          MI   48906‐2548
OHLER, DONALD K                      315 N BRIDGE ST                                                                       DIMONDALE        MI   48821‐8702
OHLER, FRANCES K                     606 BEDFORD RD                                                                        WEST MIDDLESEX   PA   16159‐2502
OHLER, FRANCES K                     606 BEDFORD RD.                                                                       W. MIDDLESEX     PA   16159‐2502
OHLER, GREGORY L                     204 E 29TH ST                                                                         ANDERSON         IN   46016‐5313
OHLER, KATHRYN A                     1003 TINDALAYA DR                                                                     LANSING          MI   48917‐4130
OHLER, MARSHA K                      5219 PEARL ST                                                                         ANDERSON         IN   46013‐4867
OHLER, NANCY L                       6851 50TH ST                                                                          SAN DIEGO        CA   92120‐1101
OHLER, ROBERT B                      55 BURROWS ROAD                                                                       W MIDDLESEX      PA   16159‐2401
OHLERICH JR, GAYLORD R               1191 LINCOLN DRIVE                                                                    FLINT            MI   48507‐4223
OHLERICH, SALLY JO                   G1191 LINCOLN DRIVE                                                                   FLINT            MI   48507
OHLERT, JAMES M                      21830 BORDMAN RD                                                                      ARMADA           MI   48005‐1400
OHLERT, PATRICK J                    3721 SHOEMAKER RD                                                                     ALMONT           MI   48003‐7946
OHLIN STEVEN                         160 FRUITVALE RD                                                                      VACAVILLE        CA   95688‐2766
OHLIN, JACK V                        6750 COLUMBIANA NEW CASTLE RD                                                         NEW MIDDLETOWN   OH   44442‐9795
OHLIN, MARYJO                        5204 CRAIG AVE NW                                                                     WARREN           OH   44483‐1238
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OHLINGER, J F                   4990 E CEDAR LAKE DR                                                                     GREENBUSH       MI 48738‐9731
OHLINGER, JERRY L               22880 BURLINGTON GARDENS ST                                                              ARCHBOLD        OH 43502‐9114
OHLINGER, WILMA L               1013 HARRIS STATION RD                                                                   BAINBRIDGE      OH 45612‐8903
OHLMAN, DIANA L                 934 LINCOLN AVE                                                                          ADRIAN          MI 49221‐3230
OHLRICH, BRAD A                 8491 ZEERCO BOULEVARD                                                                    DAVISBURG       MI 48350‐1948
OHLRICH, DELPHINE               35643 FAIRCHILD                                                                          WESTLAND        MI 48186‐4142
OHLRICH, JULIANNE H             1868 MICHAYWE DR                                                                         GAYLORD         MI 49735‐9030
OHLRICH, KENNETH E              34216 ROSSLYN ST                                                                         WESTLAND        MI 48185‐3662
OHLRICH, MARVIN G               18024 EASTLAND ST                                                                        ROSEVILLE       MI 48066‐4682
OHLRICH, WILLIAM D              3826 BARNES MILL RD                                                                      SMITHVILLE      TN 37166‐5426
OHLROGGE, RANDALL R             PO BOX 61                                                                                PICKENS         SC 29671‐0061
OHLS, JACK D                    68 PINEWOOD DRIVE                                                                        WHITE LAKE      MI 48386‐1959
OHLSON COREY                    OHLSON, COREY                 340 W SCHOOL ST                                            COLUMBUS        WI 53925‐1455
OHLSON, COREY                   340 W SCHOOL ST                                                                          COLUMBUS        WI 53925‐1455
OHLSSON, BJORN H                8774 CROSBY LAKE RD                                                                      CLARKSTON       MI 48346‐2561
OHLSSON, BJORN HUGO             8774 CROSBY LAKE RD                                                                      CLARKSTON       MI 48346‐2561
OHLSSON, GUN E                  1098 HARRIET AVE                                                                         MT MORRIS       MI 48458‐1615
OHLSSON, GUN E                  1098 HARRIET ST                                                                          MOUNT MORRIS    MI 48458‐1615
OHLY, DONALD E                  909 YALE AVE                                                                             MANSFIELD       OH 44905‐1517
OHM CURTIS                      OHM, CURTIS                   119 RACINE ST STE 200C                                     MEMPHIS         TN 38111‐2726
OHM LOADS INC                   313 EVANS AVE                                                      ETOBICOKE CANADA ON
                                                                                                   M8Z 1K2 CANADA
OHM MICHELLE                    399 HARROGATE LOOP WEST                                                                  WESTERVILLE    OH   43082‐6365
OHM REMEDIATION SERVICES CORP   100 W 22ND ST STE 101                                                                    LOMBARD        IL   60148‐4877
OHM SERVICE                     903 S LATSON RD 110                                                                      HOWELL         MI   48843
OHM SERVICE LLC                 903 S LATSON RD #110                                                                     HOWELL         MI   48843
OHM, BRADLEY J                  11333 GROVELAND AVE                                                                      WHITTIER       CA   90604‐3525
OHM, CURTIS                     LANE, JANET M                 119 RACINE ST STE 200C                                     MEMPHIS        TN   38111‐2726
OHM, FLORA J                    5447 ALLEGAN RD                                                                          VERMONTVILLE   MI   49096‐8726
OHM, SCOTT                      300 KINDERKAMACK RD                                                                      WESTWOOD       NJ   07675‐1635
OHMAN, ALFRED J                 4334 W SAGINAW RD                                                                        VASSAR         MI   48768‐9580
OHMAN, DOYLE R                  201 EAST LAMM                 BOX 297                                                    AMBOY          IN   46911
OHMAN, RANDY J                  7945 SHERIDAN RD                                                                         MILLINGTON     MI   48746‐9619
OHMAN, ROXANNE                  964 W HURON AVE                                                                          VASSAR         MI   48768‐9484
OHMAN, STEPHEN E                4009 SKYVIEW DR                                                                          JANESVILLE     WI   53546‐2018
OHMAN, THOMAS J                 647 E GUNN RD                                                                            ROCHESTER      MI   48306‐1815
OHMART/VEGA CORPORATION         ATTN NATALIE R SCHMIDT        4241 ALLENDORF DRIVE                                       CINCINNATI     OH   45209
OHMER JOE                       5491 OLD FRANKLIN RD                                                                     GRAND BLANC    MI   48439‐8623
OHMER JR, THEODORE L            PO BOX 52                                                                                EATON RAPIDS   MI   48827‐0052
OHMER JR, THEODORE LEE          PO BOX 52                                                                                EATON RAPIDS   MI   48827‐0052
OHMER, JOBE A                   5491 OLD FRANKLIN RD                                                                     GRAND BLANC    MI   48439‐8623
OHMER, ROBERT B                 218 N WEST ST                                                                            VASSAR         MI   48768‐1121
OHMER‐CARR, HANFORD K           926 BENNINGTON DR                                                                        LANSING        MI   48917‐3918
OHMER‐CARR, MELINDA L           926 BENNINGTON DR                                                                        LANSING        MI   48917‐3918
OHMES, CHARLES S                134 ORCHARDVIEW DR                                                                       TROY           MO   63379‐5666
OHMES, PAUL D                   1111 W HIGHWAY N                                                                         WENTZVILLE     MO   63385‐5201
OHMS, DANIEL L                  6136 SWEET GRASS DR                                                                      ROSCOE         IL   61073‐8515
OHMS, DANIEL LEE                6136 SWEET GRASS DR                                                                      ROSCOE         IL   61073‐8515
OHNESORGE, LEON K               1701 FIR ST                                                                              SWEET HOME     OR   97386‐2658
OHNGREN, RICHARD L              3810 BRIMFIELD AVE                                                                       AUBURN HILLS   MI   48326‐3341
OHNHEISER, SUSANNA              2615 E 5TH ST                                                                            ANDERSON       IN   46012‐3762
OHNMACHT CHARLES JR             213 CHIMNEY LN                                                                           WILMINGTON     NC   28409‐4911
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OHNMACHT, CLEMENCIA     APT 303                              3833 SOUTH BANANA RIVER BLVD                                                            COCOA BEACH         FL 32931‐4133

OHNMEISS, CARL H        3546 ADALINE DR                                                                                                              STOW               OH   44224‐3929
OHOL JR, ADAM J         326 LOCUST ST                                                                                                                LOCKPORT           NY   14094‐4945
OHOL, DANIEL K          5994 E MAIN ST                                                                                                               OLCOTT             NY   14126
OHOL, JR,MICHAEL J      5722 OTTO PARK PL APT B                                                                                                      LOCKPORT           NY   14094‐4150
OHOL, MICHAEL J         6559 LINCOLN PL APT B                                                                                                        LOCKPORT           NY   14094‐6173
OHORODNIK, DANIEL M     18094 RED OAKS DR                                                                                                            MACOMB             MI   48044‐2770
OHOTNICKY, STEPHEN T    14393 SHORELINE DR                                                                                                           GRANGER            IN   46530‐4855
OHRABLO, KENNETH
OHRAN HOLDING AS
OHRAN HOLDING AS        190 COUNTY HOME RD                                                                                                           PARIS              TN 38242‐6625
OHRAN HOLDING AS        2120 S DEFIANCE ST                                                                                                           ARCHBOLD           OH 43502‐9326
OHRAN HOLDING AS        AV CFE NO 800 CIRCUITO INT 105                                                                    SAN LUIS POTOSI SL 78395
                                                                                                                          MEXICO
OHRAN HOLDING AS        AV CFE NO 800 CIRCUITO INT 105       PARQUE INDUSTRIAL MILLENIUM                                  SAN LUIS POTOSI SL 78395
                                                                                                                          MEXICO
OHRAN HOLDING AS        JON BALL                             190 COUNTY HOME RD                                                                      PARIS              TN 38242‐6625
OHRAN HOLDING AS        JON BALL                             2120 S DEFIANCE ST                                                                      ARCHBOLD           OH 43502‐9326
OHRAN HOLDING AS        JON BALL                             2120 S. DEFIANCE ST.                                                                    HOLLAND            MI 49423
OHRAN HOLDING AS        JON BALL                             HOSE & TUBING PRODUCTS DIV      AV CFE NO 800 CIRCUITO INT   SAN LUIS POTOSI SL 78395
                                                                                             105                          MEXICO
OHRAN HOLDING AS        NO 65 YENI YALOVA                                                                                 OVAAKCA, BU 16335
                                                                                                                          TURKEY
OHRAN HOLDING AS        ATTN: CORPORATE OFFICER/AUTHORIZED   611 WOODWARD AVE                                                                        DETROIT            MI 48226‐3408
                        AGENT
OHREN, DEAN K           855 E SANTEE HWY                                                                                                             CHARLOTTE          MI   48813‐8664
OHREN, HERBERT W        8522 DOE PASS                                                                                                                LANSING            MI   48917‐8839
OHRENBERG, HERBERT W    718 PINE ST                                                                                                                  SWEET SPRINGS      MO   65351‐1422
OHRN, THOMAS G          USPO BOX 13                                                                                                                  INDIANAPOLIS       IN   46206
OHRT, GUNTHER K         60 LOVELAND DR                                                                                                               ELKTON             MD   21921‐2439
OHRT, GUNTHER KENNETH   60 LOVELAND DR                                                                                                               ELKTON             MD   21921‐2439
OHRT, RALPH E           19400 N 85TH DR                                                                                                              PEORIA             AZ   85382‐8820
OHRUM, DANIEL L         1301 PIERCE AVE                                                                                                              NORTH TONAWANDA    NY   14120‐3027
OHRUM, THOMAS L         1151 SWEENEY ST                                                                                                              N TONAWANDA        NY   14120‐4856
OHRYN, OLGA             5438 KEBBE DR                                                                                                                STERLING HEIGHTS   MI   48310‐5161
OHS LP                  2990 RICHMOND AVE #500                                                                                                       HOUSTON            TX   77098
OHS, BARBARA M.         7730 ELK LAKE ROAD                                                                                                           WILLIAMSBURG       MI   49690‐9501
OHS, MARK S             6268 MAPLEVIEW LN                                                                                                            YPSILANTI          MI   48197‐9482
OHS, MARK STEPHEN       6268 MAPLEVIEW LN                                                                                                            YPSILANTI          MI   48197‐9482
OHSE, JEAN A            968 S DANTE DR                                                                                                               PUEBLO WEST        CO   81007‐3035
OHSE‐COVE, ADA J        PO BOX 6238                                                                                                                  MOORE              OK   73153‐0238
OHSFELDT MORRIS         APT 704                              5055 WEST PANTHER CREEK DRIVE                                                           SPRING             TX   77381‐3535

OHSNER, JOHN W          7720 SCARFF RD                                                                                                               NEW CARLISLE       OH   45344‐8684
OHSOWSKI, FRANK         4061 HAYES ST                                                                                                                WAYNE              MI   48184‐1964
OHST, ARNOLD A          3508 MUIRFIELD DR                                                                                                            LANSING            MI   48911‐1258
OHWELL CAROL GENE       C/O G PATERSON KEAHEY PC             ONE INDEPENDENCE PLAZA SUITE                                                            BIRMINGHAM         AL   35209
                                                             612
OI LAN LO               155 WATERSIDE CIR                                                                                                            SAN RAFAEL         CA 94903
OI MEN FUNG             25001 PENNSYLVANIA AVE APT 732                                                                                               PHILADELPHIA       PA 19130‐2334
OICD                    3044 W GRAND BLVD                                                                                                            DETROIT            MI 48202‐3037
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OIE, JULIE A                        18720 ENGLEWOOD WAY                                                                                                  FARMINGTON          MN 55024
OIE, ROBERT G                       522 LONG BRANCH CT                                                                                                   KOKOMO              IN 46901‐4025
OIL & ALE LLC                       PO BOX 65                                                                                                            SHREVEPORT          LA 71161‐0065
OIL CHEM INC                        711 W 12TH ST                                                                                                        FLINT               MI 48503‐3851
OIL CHEM INC COMML INDL CHEMICALS   PO BOX 7438                                                                                                          FLINT               MI 48507‐0438
INC
OIL CITY IRON WORKS INC             PO BOX 1560                                                                                                          CORSICANA           TX   75151‐1560
OIL EQUIPMENT SUPPLY CORP           PO BOX 21188                                                                                                         INDIANAPOLIS        IN   46221‐0188
OIL MOP LLC                         131 KEATING DR                                                                                                       BELLE CHASSE        LA   70037‐1629
OIL RECOVERY EF                     DIV OF SAFETY KLEEN CANADA INC     265 N FRONT ST STE 502          FRMLY BRESLUBE SAFETY KL     SARNIA ON N7T 7X1
                                                                                                       CDA                          CANADA
OIL SKIMMERS INC                    PO BOX 33092                                                                                                         CLEVELAND          OH 44133‐0092
OIL SKINNONS INC CO                 BOB BIRD SALES CO                  2432 INGLEHILL PT                                                                 BLOOMFIELD HILLS   MI 48304‐1462
OIL STEERING COMMITTEE              C/O ALLAN H ICKOWITZ ESQ           NOSSAMAN LLP                    445 S FIGUEROA STREET 31ST                        LOS ANGELES        CA 90071
                                                                                                       FLOOR
OILA, PAUL R                        29477 JAMES ST                                                                                                       GARDEN CITY        MI 48135‐2047
OILER FRANK (ESTATE OF) (489173)    BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD         OH 44067
                                                                       PROFESSIONAL BLDG
OILER, DOLORES E                    435 GARDEN GLEN LN                                                                                                   COLUMBUS           OH    43228‐4343
OILER, DORIS                        7342 MCSMITH LN                                                                                                      DAYTON             OH    45414‐2482
OILER, PHILIP B                     646 N RANGELINE RD                                                                                                   PLEASANT HILL      OH    45359‐9757
OILES AMERICA CORP                  DAVE GUGIN                         4510 ENTERPRISE DRIVE                                                             HOPKINSVILLE       KY    42240
OILES AMERICA CORP                  44099 PLYMOUTH OAKS BLVD STE 109                                                                                     PLYMOUTH           MI    48170‐6527
OILES AMERICA CORPORATION           DAVE GUGIN                         4510 ENTERPRISE DRIVE                                                             HOPKINSVILLE       KY    42240
OILGEAR CO                          2300 S 51 STREET RCLE              PO BOX 343924 8/1/7 AM                                                            MILWAUKEE          WI    53219
OILGEAR CO, THE                     2300 S 51ST ST                     PO BOX 343924                                                                     MILWAUKEE          WI    53219‐2340
OINK, JOHANNES C                    5629 CEDAR LAKE RD                                                                                                   OSCODA             MI    48750‐9497
OINNE PIER                          3717 S OSAGE ST                                                                                                      INDEPENDENCE       MO    64055‐3254
OIPM LLC                            PO BOX 108835                                                                                                        OKLAHOMA CITY      OK    73101‐8835
OITA RAYMOND J                      OITA, RAYMOND J
OITA RAYMOND J                      6327 119TH ST E                                                                                                      PUYALLUP           WA    98373
OIUM, DEAN D                        5630 N RIDGE VIEW DR                                                                                                 JANESVILLE         WI    53548‐9395
OIUM, DOROTHY A                     5642 N COUNTY ROAD H                                                                                                 JANESVILLE         WI    53548‐9409
OIUM, LARRY M                       2286 N RANGELINE RD                                                                                                  HUNTINGTON         IN    46750‐9094
OIUM, RHONDA M                      202 S WISCONSIN ST                                                                                                   JANESVILLE         WI    53545‐4056
OJA, STEVEN J                       29305 W NOTTINGHAM CIR             WEST                                                                              WARREN             MI    48092‐2269
OJAI UNIFIED SCHOOL DISTRICT                                           413 E ALISO ST                                                                                       CA    93023
OJAI VALLEY INN & SPA               905 COUNTRY CLUB RD                                                                                                  OJAI               CA    93023‐3734
OJALA, VON L                        1101 WEST ST                                                                                                         TONGANOXIE         KS    66086‐9109
OJC TRUCKING INC                    624 E WASHINGTON ST                                                                                                  HARTFORD CITY      IN    47348‐2249
OJCZENASZ, THADDEUS J               84 WESTMONT DR NW                                                                                                    GRAND RAPIDS       MI    49504‐6032
OJEDA, ALBERTO M                    3440 SW 129TH AVE                                                                                                    MIAMI              FL    33175‐2720
OJEDA, ANGEL G                      398 E DEARBORN ST                                                                                                    ENGLEWOOD          FL    34223‐3410
OJEDA, CARLOS                       266 E 1ST ST                                                                                                         IMLAY CITY         MI    48444‐1310
OJEDA, JERI M                       20653 CHESTNUT CIR                                                                                                   LIVONIA            MI    48152‐2087
OJEDELE, ABOJERIN                   1442 SOMERSET PL NW #10 2                                                                                            WASHINGTON         DC    20011
OJESHINA, STEPHEN O                 3388 EDMUNTON DR                                                                                                     ROCHESTER HILLS    MI    48306‐2900
OJEZUA, VICTOR E                    3106 MILFORD CHASE SW                                                                                                MARIETTA           GA    30008‐6884
OJI INTERTECH INC                   PO BOX 67000                                                                                                         DETROIT            MI    48267‐2041
OJI INTERTECH INC                   906 W HANLEY RD                                                                                                      NORTH MANCHESTER   IN    46962‐9705
OJIDA, THERESA                      PO BOX 73                          1680 ST RT 95                                                                     BOMBAY             NY    12914‐0073
OJIDA, THERESA                      1680 ST RT 95 PO BOX 73                                                                                              BOMBAY             NY    12914‐0073
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OJITA LLC                              SHEKHAR TEWATIA                 VEETHREE NORTH AMERICA    1717 PARK ST STE 110                             CHARLESTOWN      IN 47111
OJITO, JOSE E                          27 BARNHART AVE                                                                                            SLEEPY HOLLOW    NY 10591‐2203
OJO, FEMI ISOKEN                       2001 HOLLEY PKWY APT 521                                                                                   ROANOKE          TX 75252‐4456
OJSC AO AVTOVAZ                        CHAIRMAN                        36 YUZHNOYE SHOSSE                               TOGLIATTI 445633
                                                                                                                        RUSSIAN FEDERATION
OJUMU, OCHUN O                         PO BOX 261                                                                                                 BUFFALO         NY    14225‐0261
OK AUTO PARTS & EQUIPMENT INC          101 3RD ST SE                                                                                              MINOT           ND    58701‐3930
OK AUTO SERVICE                        4014 ROSSVILLE BLVD                                                                                        CHATTANOOGA     TN    37407‐2545
OK CHEVROLET, INC.                     TONY BOOTH                      512 S WHITCOMB AVE                                                         TONASKET        WA    98855
OK FASTENERS                           815 INDUSTRIAL DR                                                                                          TROY            IL    62294‐2442
OK FASTENERS INC                       815 INDUSTRIAL DR                                                                                          TROY            IL    62294‐2442
OK K KANG                              1104 S LINDEN RD                                                                                           FLINT           MI    48532‐3452
OK KIM                                 8550 ELMHURST ST                                                                                           CANTON          MI    48187‐1956
OK KIM                                 504 MEADOWS DR                                                                                             GREENTOWN       IN    46936‐1369
OK ONE STOP SERVICE, LTD               209 HIGHWAY 60 BLVD S                                                                                      HOSPERS         IA    51238
OK PEARSON                             2474 BINGHAM RD                                                                                            CLIO            MI    48420‐1972
OK SUN HAN SWIFT                       700 NE 113TH TER                                                                                           KANSAS CITY     MO    64155‐1234
OK TIRE                                101‐2211 LOUIE DR                                                                WESTBANK BC V4T 2S2
                                                                                                                        CANADA
OK TIRE                                2129 E MAIN AVE                                                                                            BISMARCK        ND 58501‐4937
OK TIRE & AUTO (1339293 ALBERTA LTD)   42 RIEL DR                                                                       ST. ALBERT AB T8N 5C4
                                                                                                                        CANADA
OK TIRE & AUTO SERVICE                 8137 OLD WANETA RD                                                               TRAIL BC V1R 4X1 CANADA
OK TIRE & AUTO SERVICE                 8525 109 ST                                                                      GRANDE PRAIRIE AB T8V
                                                                                                                        8H7 CANADA
OK TIRE & AUTO SERVICE                 640 NEWBOLD ST                                                                   LONDON ON N6E 2T6
                                                                                                                        CANADA
OK TIRE & AUTO SERVICE                 2141 COLUMBIA AVE                                                                CASTLEGAR BC V1N 2W9
                                                                                                                        CANADA
OK TIRE & AUTO SERVICE                 6‐10 WASHBURN DR                                                                 KITCHENER ON N2R 1S2
                                                                                                                        CANADA
OK TIRE & AUTO SERVICE                 200 VAN HORNE ST N                                                               CRANBROOK BC V1C 3P4
                                                                                                                        CANADA
OK TIRE & BATTERY                      1701 19TH ST N                                                                                             BESSEMER         AL   35020‐3240
OK TIRE ‐ ST.GEORGE                    244 BRANT RD HWY 24                                                              ST.GEORGE ON N0E 1N0
                                                                                                                        CANADA
OK TIRE AND AUTO                       61 SHORNCLIFFE ROAD                                                              TORONTO ON M8Z 2R7
                                                                                                                        CANADA
OK TIRE STORE                          590 8TH AVE N                                                                                              CARRINGTON      ND    58421‐1238
OK TIRE STORE WILLISTON                5010 138TH AVE NW                                                                                          WILLISTON       ND    58801
OK TIRE STORES INC                     2224 MAIN AVE                                                                                              FARGO           ND    58103‐1338
OK TIRE STORES INC.                    10636 CHICAGO DR                                                                                           ZEELAND         MI    49464
OK TIRE STORES INC                     2224 MAIN AVE                                                                                              FARGO           ND    58103‐1338
OK TIRE STORES INC.                    10636 CHICAGO DR                                                                                           ZEELAND         MI    49464
OK TRUCKING CO                         JOHN R NORDMEYER                3000 E CRESCENTVILLE RD                                                    CINCINNATI      OH    45241
OKA MOSE                               6996 W BURT RD                                                                                             SAINT CHARLES   MI    48655‐9633
OKA SHULER                             7525 FLORAL ST                                                                                             WESTLAND        MI    48185‐2618
OKA, ALFRED                            DURST LAW FIRM PC               319 BROADWAY                                                               NEW YORK        NY    10007
OKA, FRANCES                           DURST LAW FIRM PC               319 BROADWAY                                                               NEW YORK        NY    10007
OKABAYASHI, CLAY E                     23417 APPLEGATE CT                                                                                         MURRIETA        CA    92562‐5025
OKABE CO INC                           645 FOREST EDGE DR                                                                                         VERNON HILLS    IL    60061‐4104
OKABE INTL PATENT OFFICE               NO 602 FUJI BLDG                2‐3 MARUNOUCHI 3‐CHOME    CHIYODA‐KU             TOKYO 100‐0005 JAPAN
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OKABE INTL PATENT OFFICE          NO 602 FUJI BLDG                       MARUNOICHI 3‐CHOME                           TOKYO 100‐0005 JAPAN
OKABE TOMONAGA                    21‐1‐507 TSUTSUJIGAOKA                                                              JAPAN
OKADA, YUKIYE                     3826 SOMERSET DR                                                                                           LOS ANGELES        CA    90008‐1804
OKAFOR, BARTHOLOMEW O             50 NORTHTOWN DR APT 14G                                                                                    JACKSON            MS    39211
OKAIN, GEORGE                     209 SMOKEY DR                                                                                              COLUMBIA           TN    38401‐6125
OKAL, BILLY S                     811 CONSERVATION DR                                                                                        HEDGESVILLE        WV    25427‐5441
OKAL, GLENNA W                    1765 HARRISON ST APT 104                                                                                   TITUSVILLE         FL    32780‐4679
OKAL, KAREN D                     811 CONSERVATION DR                                                                                        HEDGESVILLE        WV    25427‐5441
OKAL, MARGARET C                  442 SANDEHURST DR 116                                                                                      GRAND BLANC        MI    48439
OKAL, PAUL                        47 NANLYN TER                                                                                              TOMS RIVER         NJ    08753‐4233
OKALOOSA COUNTY FLORIDA           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1390                  TAX COLLECTOR                          NICEVILLE          FL    32588‐1390

OKALOOSA COUNTY FLORIDA           PO BOX 1390                           TAX COLLECTOR                                                        NICEVILLE           FL   32588‐1390
OKALOOSA COUNTY SHERRIFS OFFICE                                         1250 N EGLIN PKWY                                                                        FL   32579
OKALOOSA COUNTY TAX COLLECTOR     PO BOX 1390                                                                                                NICEVILLE           FL   32588‐1390
OKALOOSA COUTNY                   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1387                  TAX COLLECTOR                          NICEVILLE           FL   32588‐1387

OKALOOSA COUTNY                   PO BOX 1387                           TAX COLLECTOR                                                        NICEVILLE           FL 32588‐1387
OKALSKI, KATHRYN L                3074 SOBSOM DR                                                                                             STERLING HEIGHTS    MI 48310‐4983
OKAMOTO, JUNICHI
OKAMOTO, KATHY                    GRIFFIN FIRM LLC                      136 N MAIN ST                                                        ANDERSON            SC   29621‐5609
OKAN ALTAY                        DITZINGER STR. 21                                                                   70839 GERLINGEN
                                                                                                                      GERMANY
OKANAGAN PROPANE & AUTOMOTIVE     2243B LECKIE RD                                                                     KELOWNA BC V1X 6Y5
                                                                                                                      CANADA
OKANE BRIAN (406461)              DEARIE & ASSOCS JOHN C                3265 JOHNSON AVE                                                     BRONX               NY 10463
OKANE FRANCIS J (626691)          GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA 23510
                                                                        STREET, SUITE 600
OKANE, BRIAN                      DEARIE & ASSOCS JOHN C                3265 JOHNSON AVE                                                     RIVERDALE           NY 10463
OKANE, FRANCIS J                  GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA 23510‐2212
                                                                        STREET, SUITE 600
OKANOGAN COUNTY TREASURER         PO BOX 111                                                                                                 OKANOGAN           WA    98840‐0111
OKARSKI, REGINA                   13500 LEITH COURT                                                                                          CHANTILLY          VA    20151‐3316
OKASINSKI THEODORE T (462503)     BELLUCK & FOX LLP                     546 5TH AVE #4                                                       NEW YORK           NY    10036‐5000
OKASINSKI, THEODORE T             BELLUCK & FOX LLP                     546 5TH AVE #4                                                       NEW YORK           NY    10036‐5000
OKAZAKI, BERNICE Y                15400 SE BEVINGTON AVE                                                                                     MILWAUKIE          OR    97267‐3351
OKAZEN, VERDA                     4197 WEDDINGTON RD.                                                                                        CONCORD            NC    28027
OKAZIN, DOLORES J                 4064 SQUIRE HILL DR                                                                                        FLUSHING           MI    48433‐3101
OKAZIN, GARY C                    4144 W 54TH ST # 189                                                                                       MOUNT MORRIS       MI    48458
OKC PEOPLES STORE                 1324 RANKIN DR #48000000                                                                                   TROY               MI    48083‐2826
OKCHA CONLEY                      506 GARRISON LOT 105                                                                                       KANSAS CITY        MO    64163
OKCHA YI                          5526 ORLENA DR                                                                                             ANDERSON           IN    46013‐3030
OKCUOGLU, MURAT
OKD FOUR LTD                      PO BOX 633242                                                                                              CINCINNATI         OH    45263‐3242
OKD FOUR, LTD                     250 EAST FIFTH STREET, SUITE 1200                                                                          CINCINNATI         OH    45202
OKD FOUR, LTD.                    55 TRI‐COUNTY PKWY.                                                                                        CINCINNATI         OH    45246
OKD FOUR, LTD.                    TARGET MGMT. LEASING INC              110 BOGGS LAKE, SUITE 244                                            CINCINNATI         OH    45246
OKD FOUR, LTD.                    110 BOGGS LN STE 244                                                                                       CINCINNATI         OH    45246‐3156
OKD FOUR, LTD.                    TARGET MANAGEMENT & LEASING, INC.     PO BOX 1250                                                          WEST CHESTER       OH    45071‐1250

OKDIE, RAYMOND M                  59225 HUDSON CREEK LN                                                                                      NEW HUDSON          MI 48165‐8590
                                   09-50026-mg                Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                              Address1                            Address2            Address3         Address4               City               State Zip
OKE'S AUTO & WASH                 3237 NAUVOO RD.                                                          ALVINSTON ON N0N 1A0
                                                                                                           CANADA
OKE, DOROTHY A                    19965 OAK LEAF CIR                                                                              CORNELIUS          NC    28031‐9632
OKE, JOHN R                       910 OBENOUR CT                                                                                  MONROE             OH    45050‐1679
OKE, MICHAEL W                    48 GRANGE ST                                                                                    LEXINGTON          OH    44904‐1221
OKE, THOMAS A                     HC 5 BOX 49‐79                                                                                  STAR VALLEY        AZ    85541
OKEAGU, BENJAMIN N                40615 HARMON DR                                                                                 STERLING HEIGHTS   MI    48310‐1978
OKECHUKU, CHINY U                 975 LEMONWOOD CRES.                                                      WINDSOR ON N9G 2R7
                                                                                                           CANADA
OKEECHOBEE COUNTY TAX COLLECTOR   307 NW 5TH AVE RM B                                                                             OKEECHOBEE          FL   34972‐2501
OKEEFE CHEVROLET                  NO ADVERSE PARTY
OKEEFE CONTROLS CO                PO BOX Q                                                                                        TRUMBULL           CT    06611‐0382
OKEEFE JR, THOMAS A               8338 ANALEE AVE                                                                                 BALTIMORE          MD    21237‐1649
OKEEFE LYONS & HYNES LLC          30 N LA SALLE ST STE 4100                                                                       CHICAGO            IL    60602‐2507
OKEEFE MICHAEL J                  OKEEFE, MICHAEL J                   30 E BUTLER AVE                                             AMBLER             PA    19002‐4514
OKEEFE STEVEN P                   1416 CAREY CT                                                                                   CARMEL             IN    46032‐9224
OKEEFE, CAROL S                   1448 BEAUMONT CIR                                                                               FLUSHING           MI    48433‐1872
OKEEFE, DANIEL                    1028 N UNION ST                                                                                 LIMA               OH    45801‐2943
OKEEFE, DENNIS                    11056 JERRYSON DR                                                                               GRAND LEDGE        MI    48837‐9179
OKEEFE, EMILY                     22048 AQUA CT                                                                                   BOCA RATON         FL    33428‐4705
OKEEFE, JOHN                      GUY WILLIAM S                       PO BOX 509                                                  MCCOMB             MS    39649‐0509
OKEEFE, KATHY                     5240 W 111TH ST                                                                                 BLOOMINGTON        MN    55437‐3302
OKEEFE, LARRY A                   6112 CONDREN RD                                                                                 NEWFANE            NY    14108‐9606
OKEEFE, MICHAEL J                 KIMMEL & SILVERMAN                  30 E BUTLER AVE                                             AMBLER             PA    19002‐4514
OKEEFE, WILLIAM J                 1400 PACELLI                                                                                    SAGINAW            MI    48603‐6559
OKEEFE, WILLIAM J                 1400 PACELLI ST                                                                                 SAGINAW            MI    48638‐6559
OKEEFFE EMILY                     OKEEFFE, EMILY                      1212 SE 3RD AVE                                             FT LAUDERDALE      FL    33316‐1906
OKEEFFE EMILY                     OKEEFFE, MAUREEN                    1212 SE 3RD AVE                                             FT LAUDERDALE      FL    33316‐1906
OKEEFFE EMILY                     OKEEFFE, MEL                        1212 SE 3RD AVE                                             FT LAUDERDALE      FL    33316‐1906
OKEEFFE, EMILY                    SCHLESINGER SHELDON J               1212 SE 3RD AVE                                             FT LAUDERDALE      FL    33316‐1906
OKEEFFE, MAUREEN                  SCHLESINGER SHELDON J               1212 SE 3RD AVE                                             FT LAUDERDALE      FL    33316‐1906
OKEEFFE, MEL                      SCHLESINGER SHELDON J               1212 SE 3RD AVE                                             FT LAUDERDALE      FL    33316‐1906
OKEEFFE, ROBERT F                 12 ROSE WAY                                                                                     HOLBROOK           MA    02343‐1123
OKEELANTA CORP                                                        HWY 27                                                                         FL    33402
OKEKE, ANDREW O                   902 SAINT JOHNS PL                                                                              BROOKLYN           NY    11216‐4306
OKEKPE, PATRICK O                 3292 BLACKWOOD LN                                                                               ATLANTA            GA    30349
OKELLEY, CLARENCE J               432 PLACER PL                                                                                   WOODLAND           CA    95695‐5442
OKELLEY, JAMES
OKELLEY, JAMES T                  3225 LINCOLN PL                                                                                 LAWRENCEVILLE       GA   30044‐5617
OKELLEY, SHIRLEY W                DEETMAN & ASSOCIATES LAW OFFICES    515 N HIGHWAY 101                                           SOLANA BEACH        CA   92075‐1132
OKELLY, LEONARD F                 208 BROOKSIDE LN APT C                                                                          WILLOWBROOK         IL   60527‐2906
OKELLY, RICHARD D                 2220 S FLYING Q LN                                                                              TUCSON              AZ   85713‐6727
OKELLY, ROBERT P                  301 CASS RIVER DR                                                                               CARO                MI   48723‐1222
OKEMO MOUNTAIN INC                77 OKEMO RIDGE RD                                                                               LUDLOW              VT   05149‐9692
OKENKA, JAMES A                   30 WILLIAMSON DR                                                                                RICHMOND HILL       GA   31324‐4818
OKENKA, JULIA                     613 FITZGERALD ST                                                                               DURAND              MI   48429‐1519
OKENKA, JULIA                     613 W FITZGERALD ST                                                                             DURAND              MI   48429‐1519
OKENKA, MILDRED B                 3035 S DUFFIELD RD                                                                              LENNON              MI   48449‐9407
OKENKA, MILDRED B                 3035 DUFFIELD RD                                                                                LENNON              MI   48449‐9407
OKENKA, TIMOTHY E                 47157 WILLINGHAM WAY                                                                            SHELBY TOWNSHIP     MI   48315‐4842
OKER, HILDA W                     17003 N 97TH AVE                                                                                SUN CITY            AZ   85373‐2265
OKER, HILDA W                     17003 NORTH 97TH AVE                                                                            SUN CITY            AZ   85373‐2265
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Name                                  Address1                       Address2                     Address3   Address4         City             State Zip
OKERA HUFF                            5042 SCHOEDEL RD               P O BOX 765                                              MANISTEE          MI 49660‐9692
OKERSON, JOSEPH E                     11342 N COUNTY ROAD 800 W                                                               MONROVIA          IN 46157‐9375
OKERSON, RAYMOND E                    1809 FORSYTHIA DR                                                                       INDIANAPOLIS      IN 46219‐2873
OKERSTROM, JUDE DANIEL                2229 FALCON AVE                                                                         SAINT PAUL        MN 55119‐5035
OKEY BRAGG                            5113 MELLWOOD DR                                                                        FLINT             MI 48507‐4529
OKEY CRITES                           280 SPRAGUE RD                                                                          BEREA             OH 44017‐2720
OKEY CRITES                           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS    OH 44236
OKEY HOLCOMB                          PO BOX 334                                                                              MIDDLEFIELD       OH 44062‐0334
OKEY KNIGHT                           10595 SILICA SAND RD                                                                    WINDHAM           OH 44288‐9716
OKEY L LAWSON                         213 E BOITNOTT DR                                                                       UNION             OH 45322‐3204
OKEY LAWSON                           213 E BOITNOTT DR                                                                       UNION             OH 45322‐3204
OKEY PHILLIPS                         BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH 44236
OKEY R BOONE                          1665 NEW YORK AVE                                                                       LINCOLN PARK      MI 48146‐3811
OKEY ROBERTS                          6347 HAZ DR                                                                             AFTON             MI 49705‐9792
OKEY SOMERVILLE JR                    PO BOX 147                     931 DEERWOOD LANE                                        LAINGSBURG        MI 48848‐0147
OKEY WILLIAMS JR                      10703 NILES AVE                                                                         NEWTON FALLS      OH 44444‐9241
OKEY, MICHAEL W                       750 W PINE ST                                                                           ZIONSVILLE        IN 46077‐1729
OKEY, MICHAEL WAYNE                   750 W PINE ST                                                                           ZIONSVILLE        IN 46077‐1729
OKEY, SHARLA R                        5170 N COUNTY ROAD 1000 E                                                               BROWNSBURG        IN 46112‐9702
OKFUSKEE COUNTY TREASURER             PO BOX 308                                                                              OKEMAH            OK 74859‐0308
OKI SYSTEMS LTD                       10685 MEDALLION DR                                                                      CINCINNATI        OH 45241‐4827
OKIE FITCH                            15121 COUNTY ROAD 191                                                                   DEFIANCE          OH 43512‐9306
OKIE STOUT                            1016 MAIN ST                                                                            GRAFTON           OH 44044‐1413
OKIMOTO'S AUTOMOTIVE CENTER           16400 PIONEER BLVD                                                                      NORWALK           CA 90650‐7049
OKIMOTO, EILEEN H                     14312 HARRIS RD                                                                         MILLINGTON        MI 48746‐9219
OKIMOTO, SAM S                        29448 BRENTWOOD ST                                                                      SOUTHFIELD        MI 48076
OKINAKA, DALE                         7538 ASTORIA PL                                                                         GOLETA            CA 93117‐2436
OKIPNEY, ELIZABETH M                  302 DEEP SPRINGS DRIVE                                                                  CHITTENANGO       NY 13037‐9793
OKITA, SUEKO                          412 FRANKLIN ROAD                                                                       DENVILLE          NJ 07834‐3602
OKLA JACKSON                          4718 CRESCENT BEACH RD                                                                  ONEKAMA           MI 49675‐8702
OKLAHOMA AIDS CARE FUND               LORETTA BROWER                 6608 N WESTERN STE 219                                   OKLAHOMA CITY     OK 73116
OKLAHOMA AIR FILTER                   101 E HILL ST                                                                           OKLAHOMA CITY     OK 73105‐2613
OKLAHOMA AIR FILTER SALES & SE        101 E HILL ST                                                                           OKLAHOMA CITY     OK 73105‐2613
OKLAHOMA AIR FILTER SALES & SE        320 W HEFNER RD                                                                         OKLAHOMA CITY     OK 73114‐6727
OKLAHOMA AIR FILTER SALES & SERVICE   101 E HILL ST                                                                           OKLAHOMA CITY     OK 73105‐2613

OKLAHOMA ANESTHESIA                  1111 N LEE                                                                               OKLAHOMA CITY    OK   73103
OKLAHOMA ARCADIAN UTILITIES LLC      139 E 4TH ST                                                                             CINCINNATI       OH   45202‐4003
OKLAHOMA ARCADIAN UTILITIES, LLC     CHARLES O'DONNELL               139 E 4TH ST                                             CINCINNATI       OH   45202‐4003
OKLAHOMA ARCADIAN UTILITIES, LLC C/O CHARLES O'DONNELL               139 E 4TH ST                                             CINCINNATI       OH   45202‐4003
CINERGY CORP.
OKLAHOMA ARCADIAN UTILITIES. LLC C/O CHARLES O'DONNELL               139 E 4TH ST                                             CINCINNATI       OH 45202‐4003
CINERGY CORP.
OKLAHOMA BAPTIST UNIVERSITY          BUSINESS OFFICE                 500 W UNIVERSITY ST                                      SHAWNEE          OK   74804‐2522
OKLAHOMA BAR ASSOCIATION             PO BOX 53036                    STATE CAPITAL STATION                                    OKLAHOMA CITY    OK   73152‐3036
OKLAHOMA BAR ASSOCIATION             PO BOX 53036                    1901 NORTH LINCOLN BLVD                                  OKLAHOMA CITY    OK   73152‐3036
OKLAHOMA CARDIOVASCU                 PO BOX 268842                                                                            OKLAHOMA CITY    OK   73126‐8842
OKLAHOMA CENTENNIAL                  133 W MAIN ST STE 10                                                                     OKLAHOMA CITY    OK   73102‐9036
COMMEMORATION FUND INC
OKLAHOMA CENTRALIZED SUPPORT         REGISTRY                        PO BOX 268809                                            OKLAHOMA CITY    OK 73126‐8809
OKLAHOMA CHEVELLE & CAMINO OWNERS 5001 EAST 118TH PLACE                                                                       TULSA            OK 74137‐6108
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Name                                 Address1                              Address2                        Address3               Address4         City            State Zip
OKLAHOMA CHRISTIAN UNIVERSITY OF     PO BOX 11000                                                                                                  OKLAHOMA CITY    OK 73136‐1100
SCIENCE AND ARTS
OKLAHOMA CITY ‐ MECHANICAL LICENSING NO ADVERSE PARTY

OKLAHOMA CITY COMM COLLEGE           7777 S MAY AVE                        ROOM 1A2                                                                OKLAHOMA CITY   OK 73159
OKLAHOMA CITY COMMUNITY COLLEGE      7777 SOUTH MAY AVE                    ROOM 1A2                                                                OKLAHOMA CITY   OK 73159

OKLAHOMA CITY COMMUNITY COLLEGE      7777 S MAY AVE                                                                                                OKLAHOMA CITY   OK 73159‐4419

OKLAHOMA CITY PLANT              HOLD FOR RECONSIGNMENT                                                                                            OKLAHOMA CITY   OK   73101
OKLAHOMA CITY UNIV ATHLETICS     ATTN OCU SPORTS SPECTACULAR               2501 N BLACKWELDER AVE                                                  OKLAHOMA CITY   OK   73106‐1402
OKLAHOMA CITY UNIVERSITY         2501 N BLACKWELDER AVE                                                                                            OKLAHOMA CITY   OK   73106‐1402
OKLAHOMA COMPENSATION COURT      1915 NORTH STILES AVENUE                                                                                          OKLAHOMA CITY   OK   73105
OKLAHOMA CONSERVATION COMMISSION REGION 6                                  2800 N LINCOLN BLVD STE 160                                             OKLAHOMA CITY   OK   73105‐4201

OKLAHOMA CORPORATION COMMISSIO       ATTN ROOM 250                         PO BOX 52000                                                            OKLAHOMA CITY   OK 73152‐2000

OKLAHOMA COUNTY TREASURER            PO BOX 268875                                                                                                 OKLAHOMA CITY   OK 73126‐8875
OKLAHOMA COUNTY TREASURER            ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 268875                                                          OKLAHOMA CITY   OK 73126‐8875

OKLAHOMA COUNTY TREASURER            ATTN: GRETCHEN CRAWFORD               320 ROBERT S KERR AVE STE 307   ASSISTANT DISTRICT                      OKLAHOMA CITY   OK 73102‐3441
                                                                                                           ATTORNEY
OKLAHOMA DEPARTMENT OF               ATTN: PAM DIZIKES                     707 N ROBINSON AVE                                                      OKLAHOMA CITY   OK 73102
ENVIRONMENTAL QUALITY
OKLAHOMA DEPARTMENT OF               REGION 6                              PO BOX 1677                     707 N. ROBINSON                         OKLAHOMA CITY   OK 73101‐1677
ENVIRONMENTAL QUALITY
OKLAHOMA DEPT OF ENVIRONMENTAL       QUALITY FINANCIAL & HUMAN             1000 NE 10TH ST                 RESOURCES MANAGEMENT                    OKLAHOMA CITY   OK 73117‐1207

OKLAHOMA DIAGNOSTIC                 PO BOX 268822                                                                                                  OKLAHOMA CITY   OK 73126‐8822
OKLAHOMA ELECTRICAL SUPPLY CO       4901 N SEWELL AVE                      PO BOX 349                                                              OKLAHOMA CITY   OK 73118‐7822
OKLAHOMA ELECTRICAL SUPPLY CO OESCO 4901 N SEWELL AVE                                                                                              OKLAHOMA CITY   OK 73118‐7822

OKLAHOMA EMPLOYMENT SECURITY
COMMISSION
OKLAHOMA FARM BUREAU MUTUAL INS
CO
OKLAHOMA FARM BUREAU MUTUAL          ELLIOTT AND PEDERSON                  CITY PLACE BUILDING SECOND                                              OKLAHOMA CITY   OK 73102
INSURANCE COMPANY                                                          ROBINSON AVE FLOOR TWENTY
OKLAHOMA GAS & ELECTRIC              PO BOX 321                                                                                                    OKLAHOMA CITY   OK   73101‐0321
OKLAHOMA GAS & ELECTRIC              SAM HERD                              1200 E I 240 SERVICE RD                                                 OKLAHOMA CITY   OK   73149‐4403
OKLAHOMA GAS & ELECTRIC CO           PO BX 321 ATTN: M E FLYNN                                                                                     OKLAHOMA CITY   OK   73101
OKLAHOMA GAS AND ELECTRIC                                                  220 E WILSHIRE BLVD                                                                     OK   73105
OKLAHOMA GAS AND ELECTRIC CO.        RIGHT OF WAY DEPARTMENT               321 N HARVEY AVE                P.O. BOX 321                            OKLAHOMA CITY   OK   73102‐3405
OKLAHOMA GAS AND ELECTRIC COMPANY    PO BOX 321                                                                                                    OKLAHOMA CITY   OK   73101‐0321

OKLAHOMA HEART HOSPI                 PO BOX 268864                                                                                                 OKLAHOMA CITY   OK 73126‐8864
OKLAHOMA INDUSTRIAL ENERGY           320 S BOSTON AVE STE 400                                                                                      TULSA           OK 74103‐3704
CONSUMERS
OKLAHOMA                             7666 E 61ST ST STE 335                                                                                        TULSA           OK 74133
MEDIATION\ARBITRATIONSERVICE TRIAD
CENTER I
                                    09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                               Address1                               Address2                        Address3              Address4         City            State Zip
OKLAHOMA MOTOR VEHICLE             4334 NW EXPRESSWAY STE 183                                                                                    OKLAHOMA CITY    OK 73116
COMMISSION
OKLAHOMA MOTOR VEHICLE             ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 4334 NW EXPRESSWAY, SUITE 183                                          OKLAHOMA CITY   OK 73116‐1515
COMMISSION
OKLAHOMA NATURAL GAS                                                      4901 N SANTA FE AVE                                                                    OK   73118
OKLAHOMA NATURAL GAS EAST          5848 E 15TH ST                                                                                                TULSA           OK   74112‐6402
OKLAHOMA NATURAL GAS‐WEST          4901 N SANTA FE AVE                                                                                           OKLAHOMA CITY   OK   73118‐7911
OKLAHOMA OFFICE OF                 STATE TREASURER                        4545 N LINCOLN BLVD STE 106     UNCLAIMED PROPERTY                     OKLAHOMA CITY   OK   73105‐3413
                                                                                                          DIVISION
OKLAHOMA PUBLISHING COMPANY        DAVID THOMPSON                         9000 NORTH BROADWAY                                                    OKLAHOMA CITY   OK   73114‐7311
OKLAHOMA PUBLISHING COMPANY        DAVID THOMPSON                         9000 BROADWAY EXT                                                      OKLAHOMA CITY   OK   73114‐3799
OKLAHOMA RADIOLOGY G               PO BOX 26064                                                                                                  OKLAHOMA CITY   OK   73126‐0064
OKLAHOMA SECRETARY OF STATE        101 STATE CAPITOL                                                                                             OKLAHOMA CITY   OK   73105
OKLAHOMA SOCCER MARKETING INC      ATTN RANDALL ROBISON                   13201 WILLOWCREST LN                                                   OKLAHOMA CITY   OK   73170‐1149
OKLAHOMA SOUTHERN TRANSPORT INC    PO BOX 687                                                                                                    TAHLEQUAH       OK   74465‐0687

OKLAHOMA SPINE HOSPI               PO BOX 25943                                                                                                  OKLAHOMA CITY   OK   73125‐0943
OKLAHOMA SPINE HOSPITAL            PO BOX 25943                                                                                                  OKLAHOMA CITY   OK   73125‐0943
OKLAHOMA SPORTS AND                PO BOX 5995                                                                                                   NORMAN          OK   73070‐5995
OKLAHOMA STATE BOARD OF MEDICA     LICENSURE & SUPERVISION                PO BOX 18256                                                           OKLAHOMA CITY   OK   73154‐0256
OKLAHOMA STATE HEALTH DEPARTMENT   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1000 NE 10TH ST                 CONSUMER PROTECTION                    OKLAHOMA CITY   OK   73117‐1207

OKLAHOMA STATE HEALTH DEPARTMENT   1000 NE 10TH ST                        CONSUMER PROTECTION                                                    OKLAHOMA CITY   OK 73117‐1207

OKLAHOMA STATE TREASURER           STATE CAPITOL STE. 217                 2300 N. LINCOLN BLVD.                                                  OKLAHOMA CITY   OK 73105
OKLAHOMA STATE UNIVERSITY          NSF GOALI GRANT                        GRANTS & CONTRACTS FINANCIAL    PO BOX 645                             STILLWATER      OK 74076

OKLAHOMA STATE UNIVERSITY           TRAINING AND DEVELOPMENT              900 N PORTLAND AVE                                                     OKLAHOMA CITY   OK 73107‐6120
OKLAHOMA STATE UNIVERSITY           OKMULGEE                              1801 E 4TH ST                   BURSARS OFFICE                         OKMULGEE        OK 74447‐3942
OKLAHOMA STATE UNIVERSITY           COM BUSINESS OFFICE                   1111 W 17TH ST                                                         TULSA           OK 74107‐1800
OKLAHOMA STATE UNIVERSITY (OKSU)
OKLAHOMA STATE UNIVERSITY BUSINESS 215 COLLEGE OF BUSINESS                ADMINISTRATION                                                         STILLWATER      OK 74078‐0001
EXTENSION
OKLAHOMA STATE UNIVERSITY OFFICE OF ACCOUNTING AND SCHOLARSHIPS                                                                                  STILLWATER      OK 74078‐0001
THE BURSAR
OKLAHOMA STATE UNIVERSITY           900 N PORTLAND AVE                    BUSINESS OFFICE                                                        OKLAHOMA CITY   OK 73107‐6120
OKLAHOMA CITY
OKLAHOMA STATE UNIVERSITY OSU TRANS 113 MOTOR POOL                                                                                               STILLWATER      OK 74078‐2060

OKLAHOMA STATE UNIVERSITY OSU      FARM ROAD & HALL OF FAME AVE                                                                                  STILLWATER      OK 74078‐0001
TRANSPORTATION DEPARTMENT
OKLAHOMA STATE UNIVERSITY OSU      113 MOTOR POOL                                                                                                STILLWATER      OK 74078‐2060
TRANSPORTATION DEPARTMENT
OKLAHOMA TAX COMMISSION            PO BOX 271376                                                                                                 OKLAHOMA CITY   OK   73137‐1376
OKLAHOMA TAX COMMISSION            PO BOX 26800                                                                                                  OKLAHOMA CITY   OK   73126‐0800
OKLAHOMA TAX COMMISSION            BUSINESS TAX DIVISION                  PO BOX 26850                                                           OKLAHOMA CITY   OK   73126‐0850
OKLAHOMA TAX COMMISSION            PO BOX 26930                           BUSINESS TAX DIV. (FRANCHISE)                                          OKLAHOMA CITY   OK   73126‐0930
OKLAHOMA TAX COMMISSION            409 NE 28TH ROOM 201                                                                                          OKLAHOMA CITY   OK   73105
OKLAHOMA TAX COMMISSION            MOTOR VEHICLE DIVISION                 DEALER LICENSE PLATES           2501 N LINCOLN BLVD                    OKLAHOMA CITY   OK   73194‐0001
OKLAHOMA TAX COMMISSION
OKLAHOMA TAX COMMISSION            2501 LINCOLN BLVD                                                                                             OKLAHOMA CITY   OK 73194
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Name                              Address1                               Address2                     Address3                Address4         City              State Zip
OKLAHOMA TAX COMMISSION           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 26850                 BUSINESS TAX DIVISION                    OKLAHOMA CITY      OK 73126‐0850

OKLAHOMA TAX COMMISSION           ATTN: CORPORATE OFFICER/AUTHORIZED    2501 LINCOLN BLVD                                                      OKLAHOMA CITY     OK 73194‐1001
                                  AGENT
OKLAHOMA TAX COMMISSION           PO BOX 26850                          BUSINESS TAX DIVISION                                                  OKLAHOMA CITY     OK   73126‐0850
OKLAHOMA TAX COMMISSION           PO BOX 26930                                                                                                 OKLAHOMA CITY     OK   73126‐0930
OKLAHOMA TAX COMMISSION           PO BOX 26850                                                                                                 OKLAHOMA CITY     OK   73126‐0850
OKLAHOMA TAX COMMISSION           2501 N LINCOLN BLVD                                                                                          OKLAHOMA CITY     OK   73194‐1000
OKLAHOMA TAX COMMISSION CENTRAL   2501 LINCOLN BLVD                                                                                            OKLAHOMA CITY     OK   73194‐1000
PROCESSING DIVISION
OKLAHOMA WORKERS COMP COURT       1915 NORTH STILES                                                                                            OKLAHOMA CITY     OK 73105
OKLAHOMA, SECRETARY OF STATE      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2300 N LINCOLN BLVD RM 101   ANNUAL AFFIDAVIT                         OKLAHOMA CITY     OK 73105‐4801

OKLAHOMA, SECRETARY OF STATE      2300 N LINCOLN BLVD RM 101            ANNUAL AFFIDAVIT                                                       OKLAHOMA CITY     OK   73105‐4801
OKLE AUSTIN                       #1                                    1683 NORTH STATE ROUTE 134                                             WILMINGTON        OH   45177‐9646
OKLEY ROBERTS                     3116 N STATE ROUTE 72                                                                                        SABINA            OH   45169‐9741
OKLEY ROBERTS                     3116 NORTH ST RT 72                                                                                          SABINA            OH   45169‐9741
OKMULGEE COUNTY TREASURER         314 WEST SEVENTH                      COURTHOUSE ROOM 201                                                    OKMULGEE          OK   74447
OKOBOJI GM                        2720 17TH ST                                                                                                 SPIRIT LAKE       IA   51360‐1081
OKOBOJI MOTOR COMPANY             LOREN HOLUB                           2720 17TH ST                                                           SPIRIT LAKE       IA   51360‐1081
OKOE, ABUBAKAR A                  PO BOX 53229                                                                                                 CHICAGO           IL   60653‐0229
OKOLOTKIEWICZ, STANLEY T          10 PURCELL DRIVE                                                                                             CHELMSFORD        MA   01824‐4321
OKOLOVITCH, JOHN                  3552 SHELBY STREET                                                                                           WATERFORD         MI   48328‐1374
OKOLOVITCH, MARY                  PO BOX 5224                                                                                                  ENGLEWOOD         FL   34224‐0224
OKOLOVITCH, MICHAEL M             3445 PERRY LAKE RD                                                                                           ORTONVILLE        MI   48462‐9153
OKON, GARY R                      1420 LAKE DR                                                                                                 NATIONAL CITY     MI   48748‐9569
OKON, HELEN R                     2017 MICHIGAN AVENUE                                                                                         BAY CITY          MI   48708‐8456
OKON, LOIS M                      1048 S. PHILEMA RD                                                                                           LEES BURG         GA   31763‐3318
OKON, LOIS M                      1048 PHILEMA RD S                                                                                            LEESBURG          GA   31763‐3318
OKON, PATRICIA M                  P.O. BOX 536                                                                                                 HIGGINS LAKE      MI   48627‐0536
OKON, PATRICIA M                  PO BOX 536                                                                                                   HIGGINS LAKE      MI   48627‐0536
OKONCZAK, PAULINE                 130 GLENHAVEN DR.                                                                                            AMHERST           NY   14228‐1868
OKONEK, MARITA                    6730 CHOCTAW RIDGE RD NE                                                                                     CEDAR RAPIDS      IA   52411‐7618
OKONESKI, LEONARD M               16567 BORTON DR                                                                                              CHESANING         MI   48616‐1741
OKONEY, THOMAS J                  30901 CHERRY HILL RD                                                                                         WESTLAND          MI   48186‐5057
OKONIEWSKI, DANNY E               6484 NIGHTINGALE DR                                                                                          FLINT             MI   48506‐1719
OKONIEWSKI, DANNY EDWIN           5305 MARATHON RD.                                                                                            COLUMBIAVILLE     MI   49421‐9380
OKONIEWSKI, JAMES E               4067 RHEA ST                                                                                                 BURTON            MI   48509‐1037
OKONIEWSKI, JENNIFER S            7336 DODGE RD                                                                                                MONTROSE          MI   48457‐9192
OKONIEWSKI, JENNIFER SUE          7336 DODGE RD                                                                                                MONTROSE          MI   48457‐9192
OKONIEWSKI, JIM J                 PO BOX 405                                                                                                   OTISVILLE         MI   48463‐0405
OKONIEWSKI, JUDY C                11425 E LYTLE RD                                                                                             LENNON            MI   48449‐9514
OKONIEWSKI, JUDY CLAUDEAN         11425 E LYTLE RD                                                                                             LENNON            MI   48449‐9514
OKONIEWSKI, L M                   G 3223 W SHERMAN                                                                                             FLINT             MI   48504
OKONIEWSKI, LARRY W               4858 W LAKE RD                                                                                               LAPEER            MI   48446‐9039
OKONIEWSKI, LARRY WILLIAM         4858 W LAKE RD                                                                                               LAPEER            MI   48446‐9039
OKONIEWSKI, LORETTA               7474 21 MILE RD                                                                                              SHELBY TOWNSHIP   MI   48317‐4302
OKONIEWSKI, PAUL J                71970 LASSIER RD                                                                                             BRUCE TWP         MI   48065‐3521
OKONIEWSKI, SHIRLEY A             4451 LAKEVIEW DR F                                                                                           BEAVERTON         MI   48612‐8812
OKONKOWSKI, PATRICK E             54821 BURLINGTON DRIVE                                                                                       SHELBY TWP        MI   48315‐1607
OKONKOWSKI, PATRICK EUGENE        54821 BURLINGTON DRIVE                                                                                       SHELBY TWP        MI   48315‐1607
OKONOSKI, DAVID J                 21207 BRIERSTONE ST                                                                                          HARPER WOODS      MI   48225‐2306
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Name                             Address1                        Address2            Address3         Address4             City               State Zip
OKONOWSKI, LORETTA T             33433 SCHOENHERR RD APT 221                                                               STERLING HEIGHTS    MI 48312‐6366
OKONSKI, DAVID A                 3716 MOUNT VERNON DR                                                                      LAKE ORION          MI 48360‐2712
OKONSKI, MICHAEL L               3760 WINGTIP CT                                                                           LAKE ORION          MI 48360‐2502
OKONY, DELORES E                 2550 W SAGINAW RD                                                                         MAYVILLE            MI 48744‐9422
OKOPNY, CHRISTOPHER J            5169 WHIPPLE LAKE RD                                                                      CLARKSTON           MI 48348‐3159
OKOPNY, PATRICK F                5262 COPLEY SQUARE RD                                                                     GRAND BLANC         MI 48439‐8726
OKOPSKI, BETTY                   10410 HORIZON DR                C/O BETTY OKOPSKI                                         SPRING HILL         FL 34608‐5757
OKOPSKI, RUBY G                  30 GREENVIEW CIRCLE                                                                       BOLIVAR             TN 38008
OKORN, JOHN A                    29070 UTLEY RD                                                                            FARMINGTN HLS       MI 48334‐4142
OKPARA TOLBERT I I               PO BOX 98                                                                                 WHITEVILLE          TN 38075‐0098
OKRAKU, BIRIKORANG A             10090 POTTER RD                                                                           FLUSHING            MI 48433‐9722
OKRAKU, DORIS L                  10090 POTTER RD                                                                           FLUSHING            MI 48433‐9722
OKRAY, CAROL M                   4153 W COON LAKE RD                                                                       HOWELL              MI 48843‐8939
OKRAY, CAROL MARIE               4153 W COON LAKE RD                                                                       HOWELL              MI 48843‐8939
OKRAY, CORNELIA                  15393 15 MILE ROAD              APT 209                                                   CLINTON TOWNSHIP    MI 48035
OKRAY, CORNELIA                  15393 15 MILE RD APT 209                                                                  CLINTON TOWNSHIP    MI 48035‐2196
OKRAY, DONALD M                  24805 HARMON ST                                                                           ST CLAIR SHRS       MI 48080‐3137
OKRAY, GLORIA D                  1518 STRATFORD DR                                                                         MANSFIELD           TX 76063‐3352
OKRAY, GLORIA DENISE             1518 STRATFORD DR                                                                         MANSFIELD           TX 76063‐3352
OKRAY, JEROME J                  2535 TUSCANY                                                                              MILFORD             MI 48380‐3961
OKRAY, KENNETH J                 42121 MENDEL DR                                                                           STERLING HTS        MI 48313‐2581
OKRAY, RICHARD S                 20220 DRESDEN ST                                                                          DETROIT             MI 48205‐1017
OKRAY, SUSAN J                   24805 HARMON ST                                                                           ST CLAIR SHRS       MI 48080‐3137
OKRAY, THOMAS B                  PO BOX 9022                     C/O GM KOREA                                              WARREN              MI 48090‐9022
OKRUTSKY, ANTHONY J              5086 TALBOT ST                                                                            DETROIT             MI 48212‐2811
OKSANA CARTER                    802 RED MAPLE LN                                                                          WIXOM               MI 48393‐4527
OKSANA IAMMARINO                 P. O. 2761                                                                                NORTH CANTON        OH 44720
OKSANA OMECINSKY                 9 OXFORD BOULEVARD                                                                        PLEASANT RDG        MI 48069‐1112
OKSANA SMITH                     3218 SENECA STREET              UNIT #9                                                   WEST SENECA         NY 14224
OKSANA WADE                      13924 RIVER BIRCH WAY                                                                     CARMEL              IN 46033‐9566
OKSOON EAGAN                     5701 CATHEDRAL DR                                                                         SAGINAW             MI 48603‐2868
OKSOON WOODBY                    PO BOX 118                                                                                SPRING HILL         TN 37174‐0118
OKSTER, EUGENE J                 16775 COBBLESTONE WEST BLVD                                                               MACOMB              MI 48042‐1128
OKTIBBEHA COUNTY TAX COLLECTOR   101 E MAIN ST                                                                             STARKVILLE          MS 39759‐2927
OKTIBBEHA CTY DEPT HUMAN SVCS    ACCT OF ALPHEHUS ALLEN          PO BOX 865                                                STARKVILLE          MS 39760‐0865
OKUBO GEAR CO LTD                3030 KAMI ECHI ATSUGI SHI                                            KANAGAWA KEN JAPAN
                                                                                                      243 JAPAN
OKUHARA AUTO & TRUCK REPAIR      1714 HOMERULE ST STE B                                                                    HONOLULU           HI   96819‐3174
OKULEY, CHAD A                   ROAD I‐18                                                                                 CLOVERDALE         OH   45831
OKULEY, CHAD ALLAN               ROAD I‐18                                                                                 CLOVERDALE         OH   45831
OKULEY, DENNIS J                 CO RD C1                                                                                  NEW BAVARIA        OH   43548
OKULEY, DENNIS JAMES             CO RD C1                                                                                  NEW BAVARIA        OH   43548
OKULEY, NANCY E                  5803 W CANDLESTICK CT                                                                     TOLEDO             OH   43615
OKULEY, RUSSELL D                15 509 COUNTY RD Y                                                                        NEW BAVARIA        OH   43548
OKULEY, THOMAS A                 C027 STATE ROUTE 108                                                                      NEW BAVARIA        OH   43548‐9737
OKULEY, THOMAS A                 C‐027 ST RT 108                                                                           NEW BAVARIA        OH   43548‐9737
OKULY, BRENDA S.                 17430 HARRIS RD                                                                           DEFIANCE           OH   43512‐8097
OKULY, BRENDA SUE                17430 HARRIS RD                                                                           DEFIANCE           OH   43512‐8097
OKULY, DANIEL R                  1646 FAIRLAWN ST                                                                          DEFIANCE           OH   43512‐4013
OKULY, JEFF A                    28194 AYERSVILLE/PLES BEND RD                                                             DEFIANCE           OH   43512
OKULY, RONALD E                  18287 ROAD C                                                                              CONTINENTAL        OH   45831‐9722
OKULY, RONALD EUGENE             18287 ROAD C                                                                              CONTINENTAL        OH   45831‐9722
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Name                                 Address1                                Address2                   Address3   Address4         City            State Zip
OKUMA AMERICA                        11900 WESTHALL DR                                                                              CHARLOTTE        NC 28278‐7127
OKUMURA, EIKO                        44965 PAINE DR                                                                                 NOVI             MI 48377‐2543
OKUN, JIMMY A                        SHRADER JUSTIN                          16903 RED OAK DR STE 220                               HOUSTON          TX 77090‐3916
OKUN, JOHN                           C/O PAMELA S WILKENS                    5622 WALTHER DRIVE                                     FAIRFIELD        OH 45014
OKUN, JOHN                           5622 WALTHER DRIVE                                                                             FAIRFIELD        OH 45014‐3951
OKURIBIDO ANTHONY ‐ HUMMER H2 2008 ‐ CADILLAC ESCALADE 2007 ‐ CADILLAC CTS   NO ADVERSE PARTY
                                     2008
OKUSSICK, ANTHONY J                  107 STORK ST                                                                                   MEDINA          NY   14103‐1237
OKUSSICK, LEON F                     334 SOUTH AVE                                                                                  MEDINA          NY   14103‐1544
OKUSSICK, PATRICIA                   434 OAK ORCHARD EST                                                                            ALBION          NY   14411‐1038
OKUSSICK, ROSE                       334 SOUTH AVE                                                                                  MEDINA          NY   14103‐1544
OKUSZKA, ROBERT J                    103 W MECHANIC ST APT 112                                                                      YALE            MI   48097‐3370
OKUYAMA, KIYOYUKI                    11861 ELLICE ST APT E                                                                          MALIBU          CA   90265‐2229
OKVATH, NETTIE M                     1369 MEADOW DRIVE                                                                              LENNON          MI   48449‐9624
OKVATH, NETTIE M                     1369 S MEADOW DR                                                                               LENNON          MI   48449‐9624
OKWAE ASARE                          824 JASON DR                                                                                   BENSALEM        PA   19020‐4045
OKWILAGWE, STEPHEN O                 5074 FORTMAN DR                                                                                DAYTON          OH   45418‐2233
OLA B ARNOLD                         123 VARIAN LANE                                                                                ROCHESTER       NY   14624‐1740
OLA BECK                             4730 NORWAY DR                                                                                 JACKSON         MS   39206‐3207
OLA BELL                             PO BOX 517                                                                                     PRINCESS ANNE   MD   21853‐0517
OLA BENGE                            1929 FLORENCE RD                                                                               ROANOKE         TX   76262‐8921
OLA BILBREY                          5504 PATTERSON LN                                                                              ANDERSON        IN   46017‐9568
OLA BISCHOFF                         90 BISCHOFF RD                                                                                 WARSAW          KY   41095‐9243
OLA BISHOP                           3449 N LAYMAN AVE                                                                              INDIANAPOLIS    IN   46218‐1843
OLA BOONE                            18609 DESHANE AVE                                                                              NOBLESVILLE     IN   46060‐9793
OLA BOWEN                            104 WINDY HILL CT                                                                              ALPHARETTA      GA   30004‐2938
OLA BRODIE                           364 RUSSELL UNION RD                                                                           NORLINA         NC   27563‐9180
OLA BROOKS                           405 DALE AVE                                                                                   MANSFIELD       OH   44902‐7718
OLA BROWN‐ADAMS                      3205 MOUNT OLIVE RD                                                                            PINE BLUFF      AR   71602‐9397
OLA CHANCE                           198 GAGE ST                                                                                    PONTIAC         MI   48342‐1636
OLA CUMMINGS                         4218 COMSTOCK AVE                                                                              FLINT           MI   48504‐2172
OLA D CHANCE                         198 GAGE ST                                                                                    PONTIAC         MI   48342‐1636
OLA DAMRON                           2340 W RHEAD CIR                                                                               WESTLAND        MI   48186‐9316
OLA DAVIDSON                         3501 SHAD DR E                                                                                 MANSFIELD       OH   44903‐9125
OLA DAVIS                            RIDGEWOOD SENIOR VILLAS                 1065 E. BEAL AVE                                       BUCYRUS         OH   44820
OLA DAVIS                            104 BRUNSWICK BLVD                                                                             BUFFALO         NY   14208‐1547
OLA EATON                            PO BOX 447                                                                                     MADISON         OH   44057‐0447
OLA EDWARDS                          5718 OXLEY DR                                                                                  FLINT           MI   48504‐7091
OLA FOSTER                           1481 JOSLYN AVE                                                                                PONTIAC         MI   48340‐1312
OLA FREY                             11837 N 105TH AVE                                                                              SUN CITY        AZ   85351‐3814
OLA GADBERRY                         8716 W COUNTY ROAD 550 N                                                                       MIDDLETOWN      IN   47356‐9727
OLA GRAY                             215 SPRUCE ST                                                                                  ELYRIA          OH   44035‐3244
OLA GULLEY                           1617 CRESTBROOK LN                                                                             FLINT           MI   48507‐5332
OLA HARPER                           197 FRENCH ST                                                                                  BUFFALO         NY   14211‐1514
OLA HILL                             9952 ROBSON ST                                                                                 DETROIT         MI   48227‐2417
OLA HOBSON                           23011 WREXFORD DR                                                                              SOUTHFIELD      MI   48033‐6575
OLA HURTT                            182 S COUNTY ROAD 550 E APT 303                                                                AVON            IN   46123‐7060
OLA J MCCOY                          2249 WICK, S.E.                                                                                WARREN          OH   44484‐5440
OLA JONES                            909 PINGREE AVE                                                                                FLINT           MI   48503‐4015
OLA KAHEE                            1926 M L KING AVE                                                                              FLINT           MI   48503‐1024
OLA KING                             PO BOX 3964                                                                                    EDMOND          OK   73083‐3964
OLA KUSLAK                           8325 PETZ RD                                                                                   IMLAY CITY      MI   48444‐9520
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Name                Address1                               Address2             Address3   Address4         City             State Zip
OLA L ROBERTSON     5121 WELLFLEET DRIVE                                                                    TROTWOOD          OH 45426‐1419
OLA LEFLORE         1156 E GRAND BLVD                                                                       FLINT             MI 48505‐1522
OLA LEWIS           1909 GOLDENROD LN                                                                       MIDWEST CITY      OK 73130‐7044
OLA LUCKIE          95 CLEVELAND AVE                                                                        MANSFIELD         OH 44902‐8618
OLA LYNCH           2807 PHARR RD NE                                                                        ATLANTA           GA 30317‐2932
OLA M DAVIDSON      3501 SHAD DR E                                                                          MANSFIELD         OH 44903‐9125
OLA M KING          PO BOX 3964                                                                             EDMOND            OK 73083‐3964
OLA M LEFLORE       1156 E GRAND BLVD                                                                       FLINT             MI 48505‐1522
OLA M NELSON        P O BOX 60762                                                                           DAYTON            OH 45406
OLA M NELSON        PO BOX 60762                                                                            DAYTON            OH 45406‐0762
OLA M WATSON        28326 SAN MARINO DR                                                                     SOUTHFIELD        MI 48034‐1531
OLA MABRY           1384 ROY SELLERS RD                                                                     COLUMBIA          TN 38401‐1300
OLA MCCOY           2249 WICK ST SE                                                                         WARREN            OH 44484‐5440
OLA MCLENNAN        6720 PLANTATION RD                                                                      FOREST HILL       TX 76140‐1222
OLA MCNEAL          2244 LOUISE ST                                                                          ANDERSON          IN 46016‐3744
OLA MILLS JR        1610 WAYNE ST                                                                           FLINT             MI 48503‐4254
OLA MITCHELL        1132 MERIDEN RD                        C/O MERIDIAN MANOR                               WATERBURY         CT 06705‐3629
OLA MOPKINS         16500 N PARK DR APT 303                                                                 SOUTHFIELD        MI 48075‐4744
OLA MORRIS          6125 KENBROOK RD                                                                        LANSING           MI 48911‐5419
OLA MOSLEY          1840 CLYDE MOSLEY RD                                                                    MERIDIAN          MS 39301‐9209
OLA OTT             4548 HAWTHORNE AVE                                                                      SHEFFIELD LAKE    OH 44054‐1353
OLA RANCE           4729 W POLK ST                                                                          CHICAGO            IL 60644‐5236
OLA RAY             PO BOX 5831                                                                             SAGINAW           MI 48603‐0831
OLA RIDDLE          2121 BONBRIGHT ST                                                                       FLINT             MI 48505‐4661
OLA ROBERTS         HC 73 BOX 688                                                                           KINGSTON          OK 73439‐8717
OLA ROBERTSON       28718 LOUISVILLE RD                                                                     CAVE CITY         KY 42127‐9478
OLA ROBERTSON       5121 WELL FLEET DR                                                                      TROTWOOD          OH 45426‐1419
OLA ROBINSON        1011 E 192ND PL                                                                         GLENWOOD           IL 60425‐2027
OLA SAMUEL          2423 MARTIN LUTHER KING JR DR SW APT                                                    ATLANTA           GA 30311‐1785
                    2215
OLA SHIFLETT        PO BOX 707                                                                              HOLLAND          OH   43528‐0707
OLA SMITH           16830 MONTE VISTA STREET                                                                DETROIT          MI   48221‐2835
OLA STRAHAN         39 STRAHAN RD                                                                           RAYVILLE         LA   71269
OLA SWOVELAND       816 E DUNN AVE                                                                          MUNCIE           IN   47303‐2036
OLA T BECK          4730 NORWAY DR                                                                          JACKSON          MS   39206‐3207
OLA T BECK          4730 NORWAY DR. NW                                                                      JACKSON          MS   39206‐3207
OLA THOMAS          2202 HAWTHORNE ST                                                                       MIDDLETOWN       OH   45042‐2706
OLA TUCKER          11256 MIDDLE AVE                                                                        ELYRIA           OH   44035‐7968
OLA VOLSTROMER      17499 N LAUREL PK DR #220                                                               LIVONIA          MI   48152
OLA WALKER          1019 LENNOX ST                                                                          ANDERSON         IN   46012‐4421
OLA WATTS           3029 CARTER ST                                                                          DETROIT          MI   48206‐4103
OLA WEDDLE          7535 WESTMORE CIR                                                                       INDIANAPOLIS     IN   46214‐2669
OLA WHITFIELD       1290 COUNTY RD # 123                                                                    FRUITHURST       AL   36262
OLA WILKES          2660 CHILI AVE BLDG 12 APT 12                                                           ROCHESTER        NY   14624
OLA WOODS           801 CHATHAM DR                                                                          FLINT            MI   48505‐1948
OLA WRIGHT          11075 N FENTON RD                                                                       FENTON           MI   48430‐9714
OLA'S BARBER SHOP   ATTN: MICHAEL WASHINGTON               148 E HOWARD ST                                  PONTIAC          MI   48342‐1438
OLA, BETTY J        C/O.LOREEN MIZEK                       7 RIVER PARKE                                    ROCKY RIVER      OH   44116
OLA, BETTY J        7 RIVER PARKE DR                       C/O.LOREEN MIZEK                                 ROCKY RIVER      OH   44116‐2000
OLABELLE PENOYER    2392 BLARNEY DR                                                                         DAVISON          MI   48423‐9503
OLAD, ADEN F        633 CRUTCHER ST                                                                         NASHVILLE        TN   37206‐1400
OLADAYO ODINA       2899 E. BIG BEAVER #143                                                                 TROY             MI   48083
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Name                                Address1                       Address2                 Address3          Address4                 City              State Zip
OLADIJI IYUN                        PO BOX 328939                                                                                      COLUMBUS           OH 43232‐8939
OLAES ENTERPRISES, INC. D/B/A ODM
OLAF BENTLEY                        3221 N CENTER RD                                                                                   FLINT             MI 48506‐2683
OLAF BLECK/NAHANT                   8 SPOUTING HORN RD                                                                                 NAHANT            MA 01908‐1635
OLAF BUCHHOLZ                       AMMERSEESTRA▀E 30              D‐12527 BERLIN
OLAF BUCHHOLZ                       AMMERSEESTRASSE 30             D‐12527 BERLIN
OLAF CLASEN                         8501 LAWRENCE AVE                                                                                  YPSILANTI         MI 48197‐9329
OLAF HANSEN                         HIRTENWEG 16                   24558 HENSTEDT‐ULZBURG
OLAF KEXEL                          EN DE SIEP 62                                                             47802 KREFELD, GERMANY
OLAF OLSON                          1527 ALDEN RD                                                                                      JANESVILLE        WI 53545‐1039
OLAF PETER GAHL                     AM NACHBARSBERG 20                                                                                 HAAN                 42781
OLAF PETER MECHTOLD                 RADICKESTRASSE 47E                                                        21079 HAMBURG
OLAF, JOHN J                        7816 FLETCHER RD                                                                                   AKRON             NY   14001‐9727
OLAF, RICHARD W                     8128 MAPLE RD                                                                                      AKRON             NY   14001‐9626
OLAFSON, MARY L                     6420 JAMES AVE. SO.                                                                                RICHFIELD         MN   55423
OLAFSON, SANDRA L                   12583 CHURCH ST APT 5                                                                              BIRCH RUN         MI   48415
OLAH JR, ALBERT J                   10173 COLDWATER RD                                                                                 FLUSHING          MI   48433‐9761
OLAH QASEM AND JIHAD QASEM, AS      GUARDIANS OF MINOR, MOHAMMED   GUNN LAW GROUP P A       400 N ASHLEY DR   STE 2050                 TAMPA             FL   33602‐4344
PARENTS AND NATURAL                 QASEM
OLAH SR, CARL J                     2020 1/2 GRAFTON RD                                                                                ELYRIA            OH   44035‐8320
OLAH, BRIAN J                       1709 CRESTHILL AVE                                                                                 ROYAL OAK         MI   48073‐1901
OLAH, DALE J                        6312 CLARKSVILLE RD                                                                                PORTLAND          MI   48875‐9770
OLAH, ELEONORE T                    2618 GOLD KEY EST                                                                                  MILFORD           PA   18337
OLAH, JAMES F                       15705 S MIDWAY AVE                                                                                 ALLEN PARK        MI   48101‐1186
OLAH, JOSEPH                        18 LOREN LN                                                                                        NEW HAMPTON       NY   10958
OLAH, LOUIS J                       3631 WALLWERTH DR                                                                                  TOLEDO            OH   43612‐1074
OLAH, PAUL E                        8161 PENNIMAN RD                                                                                   ORWELL            OH   44076‐9591
OLAH, ROBERT M                      H‐49 WESTVIEW                                                                                      YPSILANTI         MI   48197
OLAH, SANDRA L                      10173 COLDWATER RD                                                                                 FLUSHING          MI   48433‐9761
OLAH, SHEILA M                      120 W 7TH ST                                                                                       GLADWIN           MI   48624
OLAH, STEPHEN                       3725 LARCHMONT PKWY                                                                                TOLEDO            OH   43613‐4939
OLAH, WILLIAM M                     5245 GREYWING CT                                                                                   TERRE HAUTE       IN   47803
OLAIZOLA, JULIO O                   PO BOX 646                                                                                         ELIZABETH         NJ   07207‐0646
OLAKER, ANDERSON E                  8036 S BLACKSTONE AVE                                                                              CHICAGO           IL   60619‐4615
OLAMAE SULLIVAN                     1702 WELCOME AVE                                                                                   NATIONAL CITY     MI   48748‐9566
OLAN ADAMS                          6734 WEIDNER RD                                                                                    SPRINGBORO        OH   45066‐7403
OLAN BAILEY                         HC 1 BOX 484                                                                                       FAIRDEALING       MO   63939‐9736
OLAN BOWEN                          1195 SHOMAN ST                                                                                     WATERFORD         MI   48327‐1858
OLAN CRYER                          3000 CLARCONA RD LOT 2016                                                                          APOPKA            FL   32703‐8758
OLAN FRANKLIN                       PO BOX 428                                                                                         SPENCER           OK   73084‐0428
OLAN HAYES                          2612 S TACOMA AVE                                                                                  MUNCIE            IN   47302‐4601
OLAN HENSON                         2270 S TERM ST                                                                                     BURTON            MI   48519‐1031
OLAN JAVIER A ALCAZAR               301 MAPLE AVE APT K4                                                                               ITHACA            NY   14850‐4954
OLAN LEFAN                          1189 DEER TRACK RD                                                                                 WEATHERFORD       TX   76085‐3762
OLAN LUDWICK                        4478 BECKLEY RD                                                                                    BATTLE CREEK      MI   49015‐9326
OLAN MILLS                          13000 MIDDLEBELT RD                                                                                LIVONIA           MI   48150‐2200
OLAN NOE                            3507 W JOLLY RD                                                                                    LANSING           MI   48911‐3355
OLAN SMITH                          49216 GLENVILLE CT                                                                                 SHELBY TWP        MI   48315‐3930
OLAN ZARBECK                        11400 N DIVISION AVE                                                                               SPARTA            MI   49345‐9569
OLAN, MARIE C                       W152N6912 WESTWOOD DR                                                                              MENOMONEE FALLS   WI   53051‐5046
OLANCE, ROBERT J                    9213 COLEMAN RD                                                                                    HASLETT           MI   48840‐9326
OLAND B LINDSAY                     3582 STATE RD. 5 N.E.                                                                              CORTLAND          OH   44410‐1631
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Name                                  Address1                           Address2                      Address3   Address4               City            State Zip
OLAND DURST                           210 RAINBOW DR PMB 11022                                                                           LIVINGSTON       TX 77399‐2010
OLAND LINDSAY                         3582 STATE RD. 5 N.E.                                                                              CORTLAND         OH 44410
OLANDER ARLENE E (442455)             SIMMONS FIRM                       PO BOX 559                                                      WOOD RIVER        IL 62095‐0559
OLANDER BRADSHAW                      1500 BURT ST                                                                                       SAGINAW          MI 48601‐1968
OLANDER ENTERPRISES, INC., DBA ROCK
REBEL AND JOHN OLANDER
OLANDER ROBERT J (351312)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA 23510
                                                                         STREET, SUITE 600
OLANDER RONALD (403033)               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA 23510
                                                                         STREET, SUITE 600
OLANDER, ARLENE E                     SIMMONS FIRM                       PO BOX 559                                                      WOOD RIVER      IL    62095‐0559
OLANDER, DOUGLAS D                    2671 WINDSOR DR                                                                                    TROY            MI    48085‐3727
OLANDER, ELIN M                       BRIGHTON GARDENS                   21 RIDGEDALE AVE APT 227                                        FLORHAM PARK    NJ    07932
OLANDER, EVERETT L                    21451 ABBEY LN                                                                                     CREST HILL      IL    60403‐1492
OLANDER, KENNETH N                    221 N WILLARD AVE                                                                                  JANESVILLE      WI    53548‐3363
OLANDER, LILI                         69 W WASHINGTON ST STE 700                                                                         CHICAGO         IL    60602‐3044
OLANDER, OSCAR J                      1151 N JEFFERSON ST UNIT 27                                                                        MEDINA          OH    44256‐6622
OLANDER, ROBERT B                     30 N MONMOUTH ST                                                                                   DAYTON          OH    45403‐1305
OLANDER, ROBERT J                     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA    23510‐2212
                                                                         STREET, SUITE 600
OLANDER, RONALD                       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA 23510‐2212
                                                                         STREET, SUITE 600
OLANDER, WILLIAM C                    508 SHARPE DR                                                                                      FRANKLIN        TN    37064‐0712
OLANDIS M WIMBS                       506 NEBRASKA AVE                                                                                   PONTIAC         MI    48341‐2543
OLANDIS WIMBS                         506 NEBRASKA AVE                                                                                   PONTIAC         MI    48341‐2543
OLANGER, ALEX P                       1173 OXFORD RD                                                                                     BERKLEY         MI    48072‐2013
OLANGER, PHILLIP S                    1173 OXFORD RD                                                                                     BERKLEY         MI    48072‐2013
OLANGER, WILLIAM                      11263 MUSGROVE MILL DR                                                                             SPRING HILL     FL    34609‐0204
OLAR CLAIBORNE                        15781 SAINT MARYS ST                                                                               DETROIT         MI    48227‐1929
OLARIU, MIHAELA                       41022 ROSE LN                                                                                      CLINTON TWP     MI    48036‐1481
OLAS, AUDREY E                        127 WEXFORD PL                                                                                     WEBSTER         NY    14580‐1937
OLAS, JAMES V                         24 TERESA CIR                                                                                      ROCHESTER       NY    14624‐1114
OLASKEY, JOANN C                      6960 LYMAN RD                                                                                      BERGEN          NY    14416‐9716
OLASKY, JULIA                         11300 RONALD DRIVE                                                                                 PARMA           OH    44130‐7217
OLATHE MEDICAL CENTE                  P0 BOX 219294                                                                                      KANSAS CITY     MO    64121
OLATHE UNITED WAY                     12351 W 96TH TER STE 201                                                                           LENEXA          KS    66215‐4410
OLAUGHLIN JR, JOHN M                  110 BETSEY ANNE CT                                                                                 BOWLING GREEN   KY    42103‐8424
OLAUGHLIN, ALDEN S                    747 HIGHWAY W                                                                                      FORISTELL       MO    63348‐1112
OLAUGHLIN, BEULAH L                   5302 SOUTHVIEW DR                                                                                  LOCKPORT        NY    14094‐5331
OLAV
OLAV RECKER & ANGELA RECKER           ROSENTHALERSTRASSE 45                                                       41849 WASSENBERG
                                                                                                                  GERMANY
OLAV W PEDERSEN                       LILLE STRANDEN 7                   N‐ 0252 OSLO
OLAV W PEDERSEN                       LILLE STRANDEN 7                                                            N‐0252 OSLO NORWAY
OLAVARRIA, IRIS M                     3651 E BARBARA CT APT 7                                                                            OAK CREEK       WI    53154‐8025
OLAVE, FERNANDO A                     19196 OSMUS ST                                                                                     LIVONIA         MI    48152‐1569
OLAVI W NISKANEN                      WEITZ & LUXENBERG P C              700 BROADWAY                                                    NEW YORK CITY   NY    10003
OLAWSKI, DONALD J                     748 DEVON ST APT 9                                                                                 KEARNY          NJ    07032‐3771
OLAWSKI, DOUGLAS                      617 HARRISON AVE                                                                                   HARRISON        NJ    07029‐1824
OLAWSKY NORBERT, OLAWSKY BRIGITTE     BACHSTR.22                                                                  12623 BERLIN GERMANY

OLAWUMI, THOMAS                       PO BOX 1137                                                                                        MONTGOMERY       IL   60538‐7137
                                      09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                  Address1                              Address2                Address3      Address4                City              State Zip
OLAY JR, ANDREW J                     7423 GALE RD                                                                                        OTISVILLE          MI 48463‐9414
OLAY, JOHN A                          2000 HILLSDALE DR                                                                                   DAVISON            MI 48423‐2330
OLAY, JULIA                           5444 LIPPINCOTT BLVD                                                                                BURTON             MI 48519‐1250
OLAYINKA, VICTOR V                    723 2ND AVE                                                                                         PONTIAC            MI 48340‐2838
OLB OLB                               STAU 15‐17                                                                                          OLDENBURG          DE 26131
OLBINA, MILAN C                       1601 FLAMINGO LN                                                                                    SUN CITY CENTER    FL 33573‐5704
OLBRES, SUSAN                         1201 W KERRY LN                                                                                     PHOENIX            AZ 85027‐5574
OLBRICH, KARL H                       730 WALLACE ST                                                                                      BIRMINGHAM         MI 48009‐3744
OLBRICH, LAURA E                      1160 SPENCER RD                                                                                     BRIGHTON           MI 48116‐1637
OLBRICH, WILLIAM A                    1160 SPENCER RD                                                                                     BRIGHTON           MI 48116‐1637
OLCHASKEY, FRANCIS E                  54 WEBER AVE                                                                                        SAYREVILLE         NJ 08872‐1048
OLCHAWA JR, FRED J                    10460 N LINDEN RD                                                                                   CLIO               MI 48420‐8500
OLCHAWA, KENNETH KARL                 2757 TIMBERLANE RD                                                                                  HARRISON           MI 48625‐9214
OLCHAWA, MYONG                        10460 N LINDEN RD                                                                                   CLIO               MI 48420‐8500
OLCHOVY, JANET E                      10061 DIAGONAL RD                                                                                   MANTUA             OH 44255‐9414
OLCOTT, HELENE                        130 STONEBROOK DR                                                                                   LUMBERTON          NJ 08048
OLCOTT, JOHN F                        210 DORCHESTER DR                                                                                   SELLERSVILLE       PA 18960‐2893
OLCOZ‐VERDUN, PEDRO                   PO BOX 526250                                                                                       MIAMI              FL 33152‐6250
OLCSVARY, FRANK J                     4505 THOUSAND OAKS DR                                                                               ARLINGTON          TX 76017‐1334
OLCSVAY, ETHEL                        57 W AMHERST ST                                                                                     EAST BRUNSWICK     NJ 08816
OLCSVAY, JOHN                         1419 OSAGE RD                                                                                       NORTH BRUNSWICK    NJ 08902‐1517
OLCZAK, BERNICE                       751 BISHOPS LN                                                                                      WEBSTER            NY 14580‐2459
OLCZAK, CHRISTINA                     2322 EDGEMERE DR                                                                                    ROCHESTER          NY 14612‐1105
OLCZAK, RICHARD                       219 AMELIA CREEK WAY                                                                                LAWRENCEVILLE      GA 30045‐5255
OLCZAK, ROBERT                        23802 DOUGLAS DR                                                                                    PLAINFIELD          IL 60585‐8428
OLCZAK, ROSELLA B                     46863 CHARRING CROSS COURT                                                                          SHELBY TOWNSHIP    MI 48317‐3023
OLCZAK, VIRGINIA R                    2105 CICOTTE AVE                                                                                    LINCOLN PARK       MI 48146‐1355
OLD DOMINION ENVIRONMENTAL            ATTN: GLEN CROMBIE                    11047 PIERSON DR # M                                          FREDERICKSBURG     VA 22408‐2062
OLD DOMINION ENVIRONMENTAL            ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 341                                                    MIDLOTHIAN         VA 23113‐0341
SERVICES INC                          AGENT
OLD DOMINION FREIGHT LINE INC         14933 COLLECTION CENTER DR                                                                          CHICAGO           IL   60693‐0149
OLD DOMINION FREIGHT LINE, INC.       ED RICHARDSON                         4715 EVANS TOWN RD                                            GREENSBORO        NC   27406‐9558
OLD DOMINION FREIGHTLINE INC          500 OLD DOMINION WAY                                                                                THOMASVILLE       NC   27360‐8923
OLD DOMINION NATIONALEASE             1708 MOUNT ZION AVE                                                                                 GADSDEN           AL   35904‐4533
OLD DOMINION NATIONALEASE             2612 MIDDLEBURY ST                                                                                  ELKHART           IN   46516‐5511
OLD DOMINION TIRE SERVICES, INC       3111 WARBORO RD                                                                                     MIDLOTHIAN        VA   23112
OLD DOMINION UNIVERSITY               5215 HAMPTON BLVD                                                                                   NORFOLK           VA   23529‐0001
OLD FASHIONED AUTO SERVICE            1209 HOMESTEAD RD N UNIT 1                                                                          LEHIGH ACRES      FL   33936‐6062
OLD FASHIONED SERVICE                 A‐2028 SNYDER'S RD EAST, R.R. #2                                            PETERSBURG ON N0B 2H0
                                                                                                                  CANADA
OLD GLORY FLAGS AND FLAGPOLES         34375 PLYMOUTH RD                                                                                   LIVONIA           MI   48150‐1539
OLD HOUSE VENTURES INC                2109 PAYSPHERE CIR                                                                                  CHICAGO           IL   60674‐0021
OLD KENT BANK                         200 REGENCY DR                                                                                      GLENDALE HTS      IL   60139
OLD LINE/SOUTHFIELD                   20100 CIVIC CENTER DRIVE               SUITE 320                                                    SOUTHFIELD        MI   48076
OLD MONROE LUMBER CO                  1380 MEIER RD                                                                                       OLD MONROE        MO   63369‐2413
OLD MONROE LUMBER CO INC              1380 MEIER RD                                                                                       OLD MONROE        MO   63369‐2413
OLD NEWSBOYS ASSOCIATION              PO BOX 14058                                                                                        LANSING           MI   48901‐4058
OLD NEWSBOYS OF FLINT INC             6255 TAYLOR DRIVE                                                                                   FLINT             MI   48507‐4665
OLD NORTH STATE TRUST TTEE FBO J.M.   SMITH, JR. FAMILY T/U/W DTD 03/08/1999 C/O WHITENER CAPITAL   PO BOX 7743                           ROCKY MOUNT       NC   27804
                                                                             MANAGEMENT, INC.
OLD ORCHARD CHEVROLET INC             C\O L SHEPARD                          855 JENNIFER CT                                              LAKE FOREST       IL 60045‐4313
OLD RIVER GMC                         139 OLD HIGHWAY 49 S                                                                                RICHLAND          MS 39218‐9487
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OLD RIVER TRUCK SALES, INC.     LEE WHITE                            139 OLD HIGHWAY 49 S                                        RICHLAND              MS 39218‐9487
OLD SAGINAW CITY INC            410 MACKINAW ST                                                                                  SAGINAW               MI 48602‐1553
OLD SECOND NATIONAL BANK        37 S RIVER ST                                                                                    AURORA                 IL 60506
OLD SECOND NATIONAL BANK        ATTN: CORPORATE OFFICER/AUTHORIZED   37 S RIVER ST                                               AURORA                 IL 60506‐4172
                                AGENT
OLD SOUTH FREIGHT SERVICE INC   PO BOX 167                                                                                       PLEASANT VIEW        TN 37146‐0167
OLD TIME EXPRESS INC            600 INDUSTRIAL PARK DR                                                                           HARTSVILLE           TN 37074‐3354
OLD TOWN BUSINESS & ART         1208 TURNER ST                                                                                   LANSING              MI 48906‐4340
DEVELOPMENT ASSOCIATION
OLD TOWN SHELL                  4905 REYNOLDA RD                                                                                 WINSTON SALEM        NC 27106‐9643
OLD TOWN TIRE AND AUTOMOTIVE    1001 RIO GRANDE BLVD NW                                                                          ALBUQUERQUE          NM 87104‐2031
SERVICE
OLD VINTAGE JEWELRY             209 ELLIOTT ST                                                                                   JANESVILLE           WI   53546‐2539
OLD WORLD GONDOLIERS            6360 KNYGHTON RD                                                                                 INDIANAPOLIS         IN   46220‐4962
OLD, DONALD J                   14072 TOWERING OAKS DR                                                                           SHELBY TWP           MI   48315‐1957
OLDACRES, RUTH E                78 COLETTE AVE                                                                                   BUFFALO              NY   14227‐3402
OLDAG, ADAM J                   6607 IRA AVE                                                                                     BROOKLYN             OH   44144‐3774
OLDAG, BRIAN A                  6607 IRA AVE                                                                                     BROOKLYN             OH   44144‐3774
OLDAG, CHRISTOPHER A            6607 IRA AVE                                                                                     BROOKLYN             OH   44144‐3774
OLDAG, ROBERT A                 6607 IRA AVE                                                                                     BROOKLYN             OH   44144‐3774
OLDAK, DIANE C                  21 EDMUNDS ST                                                                                    CAMBRIDGE            MA   02140‐1607
OLDAK, HEDWIG T                 3738 FIFE LN                                                                                     WEST BLOOMFIELD      MI   48323‐1709
OLDAKER BIDEN & BELAIR LLP      818 CONNECTICUT AVE NW STE 1100                                                                  WASHINGTON           DC   20006‐2702
OLDAKER JR, DONALD L            6956 COUNTY ROAD 47                                                                              WEST LIBERTY         OH   43357‐9591
OLDAKER WALTER W (439375)       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA   23510
                                                                     STREET, SUITE 600
OLDAKER, WALTER W               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510‐2212
                                                                     STREET, SUITE 600
OLDAKER, WILLIAM L              117 GLIDER DR                                                                                    BALTIMORE            MD   21220‐4614
OLDANI, JAMES J                 913 MEDINAH DR                                                                                   ROCHESTER HILLS      MI   48309‐1036
OLDANI, JOHN P                  3253 DORAL DR                                                                                    ROCHESTER HILLS      MI   48309‐1283
OLDANI, MARY S                  655 BALFOUR ST                                                                                   GROSSE POINTE PARK   MI   48230‐1809
OLDANI, STEFANIA                41265 CILANTRO DR                                                                                STERLING HTS         MI   48314‐4070
OLDAUGH, DENNIS G               2128 W NAYLOR RD                                                                                 ALPENA               MI   49707‐9376
OLDAUGH, LINDA                  3654 N W 105TH ST                                                                                OCALA                FL   34475
OLDCASTLE, INC.                 JEFF ROSS.                           375 NORTHRIDGE ROAD                                         ATLANTA              GA   30350
OLDE SALEM GARAGE               23B DIXIE DR                                                                                     SALEM                VA   24153‐2441
OLDE TOWN EXPRESS               C/O MICKEY ONKS                      PO BOX 833                                                  JONESBOROUGH         TN   37659‐0833
OLDECK, ANDREW J                6061 BIRCHVIEW DR                                                                                SAGINAW              MI   48609‐7002
OLDECK, JOSEPH F                1058 OTTAWAS LN                                                                                  EAST TAWAS           MI   48730‐9448
OLDECK, SHIRLEY L               7148 BRITTWOOD LN                                                                                FLINT                MI   48507‐4622
OLDECK, WALTER J                1932 BOBWHITE RD                                                                                 OSCODA               MI   48750‐9204
OLDEN GREEN JR                  689 E PIKE ST                                                                                    PONTIAC              MI   48342‐2976
OLDEN SR, JOHNNY L              7228 MILLERS GLEN WAY                                                                            MEMPHIS              TN   38125‐4158
OLDEN T WATSON JR               1727 W RIVERVIEW AVE                                                                             DAYTON               OH   45402‐5917
OLDEN WAGONER JR                5027 THRUSH ST                                                                                   DALLAS               TX   75209‐4822
OLDEN WATSON JR                 1727 W RIVERVIEW AVE                                                                             DAYTON               OH   45402‐5917
OLDEN, DARRYL T                 21508 DEQUINDRE RD APT 103                                                                       WARREN               MI   48091‐2249
OLDEN, DARRYL TYRONE            21508 DEQUINDRE RD APT 103                                                                       WARREN               MI   48091‐2249
OLDEN, GAIL                     4199 COUNT FLEET DR                                                                              NEWBURGH             IN   47630‐2259
OLDEN, MARTIN D                 8100 S HARLEM AVE                    BRIDGEVIEW HEALTH CARE CENTER                               BRIDGEVIEW           IL   60455‐1690
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Name                         Address1                       Address2            Address3         Address4               City               State Zip
OLDEN, RUBY                  19444 KLINGER ST                                                                           DETRIOT             MI 48234‐1771
OLDEN, THOMAS A              46309 PINEHURST DR                                                                         NORTHVILLE          MI 48168‐8492
OLDENBURG JR, LAWRENCE E     5234 FRANKWILL AVE                                                                         CLARKSTON           MI 48346‐3720
OLDENBURG, CLAUS W           330 PROSPECT DR                                                                            BROOKFIELD          WI 53005‐4075
OLDENBURG, DONALD E          747 N LOMBARD ST                                                                           ELMHURST             IL 60126‐1727
OLDENBURG, DONALD H          PO BOX 465                                                                                 LIVONIA             NY 14487‐0465
OLDENBURG, ELEANOR G         PO BOX 4249                                                                                OVERLAND PARK       KS 66204‐0249
OLDENBURG, JAMES F           10260 GRATIOT RD                                                                           SAGINAW             MI 48609‐9481
OLDENBURG, JAMES W           452 EAST WATTS SPRINGS ROAD                                                                EDGERTON            WI 53534‐8926
OLDENBURG, JAMES W           452 E WATTS SPRINGS RD                                                                     EDGERTON            WI 53534‐8926
OLDENBURG, JANET L           7220 SWAN CREEK RD                                                                         SAGINAW             MI 48609
OLDENBURG, KENNETH           2810 S RIVER RD                                                                            SAGINAW             MI 48609‐5387
OLDENBURG, NANCY J           9267 CAMELOT ST                                                                            WHITE LAKE          MI 48386‐1531
OLDENBURG, ORLENE            3522 CRAIG DRIVE                                                                           FLINT               MI 48506‐2644
OLDENBURG, RICHARD L         4900 JUNIPER DR                                                                            COMMERCE TWP        MI 48382‐1544
OLDENBURG, SHIRLEY M         19737 BENTLER ST                                                                           DETROIT             MI 48219‐1917
OLDENBURG, WILLIAM F         9267 CAMELOT ST                                                                            WHITE LAKE          MI 48386‐1531
OLDENBURG, WILLIAM P         15632 35TH AVE NE                                                                          LAKE FOREST PARK    WA 98155‐6618
OLDENBURG, WILMER G          7265 E HOLLAND RD                                                                          SAGINAW             MI 48601‐9412
OLDENBURGER, JOHN            5566 W 96TH ST                                                                             OAK LAWN             IL 60453‐2985
OLDENDICK, MICHAEL T         4312 N SHORE DR                                                                            WEST CHESTER        OH 45069‐9420
OLDENHOUSE, JILL M.          4375 EAGLE LN                                                                              BURTON              MI 48519‐1490
OLDENKAMP H J CO INC         4669 E 8 MILE RD                                                                           WARREN              MI 48091‐2709
OLDENKAMP, HEIDI J           13122 ROSSELO AVE                                                                          WARREN              MI 48088‐3145
OLDENKAMP, THOMAS F          201 EUCLID ST                                                                              WABASH              IN 46992‐1101
OLDENSKI, VIOLET R           48 PATRICE TER                                                                             WILLIAMSVILLE       NY 14221‐4758
OLDER ESTATE OF THOMAS R H   1803 ALCOVY MOUNTAIN RD SE                                                                 MONROE              GA 30655‐7467
OLDER, BARBARA CLAIRE        1204 AZTEC CT                                                                              VIRGINIA BEACH      VA 23454‐6552
OLDER, BRADLEY C             PO BOX 1510                                                         STRAWBERRY HILLS NSW
                                                                                                 AUSTRALIA 2012
OLDER, JOSEPH W              1550 RORY LN SPC 271                                                                       SIMI VALLEY        CA   93063‐5597
OLDER, TAMARRA G             9857 S CORK RD                                                                             MORRICE            MI   48857
OLDER, THOMAS F              1071 E MANDEVILLE ST                                                                       BURTON             MI   48529‐1124
OLDFATHER, BRAD L            5164 S WEBSTER ST APT A                                                                    KOKOMO             IN   46902‐4955
OLDFATHER, DONNA M           2142 W COUNTY RD 400S                                                                      PERU               IN   46970
OLDFATHER, LANA S            2695 S COUNTY ROAD 400 E                                                                   KOKOMO             IN   46902
OLDFATHER, LLOYD E           2142 W COUNTY RD 400 S                                                                     PERU               IN   46970
OLDFATHER, STEVEN S          2695 S.CO.RD.‐ 400 E                                                                       KOKOMO             IN   46902
OLDFIELD, ALICE O            12024 VIENNA RD                                                                            MONTROSE           MI   48457‐9405
OLDFIELD, BETTY              1845 FERRIS RD                                                                             COLUMBUS           OH   43224‐2245
OLDFIELD, BETTY              3173 HOWEY RD                                                                              COLUMBUS           OH   43224
OLDFIELD, BLODMAN E          10535 YORK RD APT 117                                                                      COCKEYSVILLE       MD   21030‐2365
OLDFIELD, BLODMAN E          10535 YORK ROAD                APT 117                                                     COCKEYSVILLE       MD   21030‐2365
OLDFIELD, DOUG N             6273 CHABLIS DR                                                                            LIBERTY TWP        OH   45011‐5258
OLDFIELD, JAMES E            2607 W LIBERTY ST                                                                          GIRARD             OH   44420‐3114
OLDFIELD, JERRY L            4503 EAST 500 SOUTH                                                                        CUTLER             IN   46920‐9376
OLDFIELD, JERRY L            4503 E 500 S                                                                               CUTLER             IN   46920‐9376
OLDFIELD, LESTER T           6375 RAVENA DR                                                                             HAMILTON           OH   45011‐5035
OLDFIELD, LUCILLE L          7 IRONWOOD DRIVE                                                                           ROCHESTER          NY   14616‐1343
OLDFIELD, LUCILLE L          7 IRONWOOD DR                                                                              ROCHESTER          NY   14616‐1343
OLDFIELD, MARY L             1500 WINDING HOLLOW LN                                                                     PLANO              TX   75093‐4803
OLDFIELD, RALPH W            830 CHELSEA DR                                                                             CARLISLE           OH   45005‐3809
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OLDFIELD, SARAH P           12528 N STATE ROAD 9                                                                       ALEXANDRIA         IN 46001‐8927
OLDFIELD, SHERRI L          405 S MORRISON RD APT 310                                                                  MUNCIE             IN 47304
OLDFIELD, THOMAS R          APT 9                            6801 BUFFALO AVENUE                                       NIAGARA FALLS      NY 14304‐3975
OLDFIELD, VERTA J           67 PENHURST ST                                                                             ROCHESTER          NY 14619‐1517
OLDFIELD, VIRGINIA LEE      206 SOUTH WASHINGTON, BOX 61                                                               GASTON             IN 47342‐0061
OLDFIELD, WILLIAM G         12528 N STATE ROAD 9                                                                       ALEXANDRIA         IN 46001‐8927
OLDFORD, BETSY J            28677 AUBURN CT                                                                            FARMINGTN HLS      MI 48331‐1163
OLDHAM COUNTY SHERIFF       100 WEST JEFFERSON STREET                                                                  LAGRANGE           KY 40031
OLDHAM FAMILY ALLIANCE      1811 PORTAL ST STE A                                                                       BALTIMORE          MD 21224‐6547
OLDHAM JR, JOSEPH C         12107 N MAGNETIC ACRES ST                                                                  MOORESVILLE        IN 46158‐6580
OLDHAM JR, MELVIN K         659 CROWN AVE.                                                                             DAYTON             OH 45427‐3023
OLDHAM JR, MELVIN K         659 CROWN AVE                                                                              DAYTON             OH 45427‐3023
OLDHAM JR, THOMAS W         4121 SPRUCE PINE CT                                                                        DAYTON             OH 45424‐4653
OLDHAM JR, WENDELL M        257 KENNEDY AVE                                                                            GRAMBLING          LA 71245‐3205
OLDHAM JR,THOMAS W          4121 SPRUCE PINE CT                                                                        DAYTON             OH 45424‐4653
OLDHAM LUCIAN               1105 LITTLE TEXAS VALLEY RD NW                                                             ROME               GA 30165‐9587
OLDHAM RALPH A (429559)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                             STREET, SUITE 600
OLDHAM SR., WILLIAM C       5270 DERBY RD                                                                              DAYTON            OH 45418‐2204
OLDHAM WILLIAM E (429560)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                             STREET, SUITE 600
OLDHAM, BETTY J             73 LANG AVE                                                                                BUFFALO           NY   14215‐3841
OLDHAM, BRYANT E            6260 RANGEVIEW DR                                                                          DAYTON            OH   45415‐1926
OLDHAM, BRYANT EUGENE       6260 RANGEVIEW DR                                                                          DAYTON            OH   45415‐1926
OLDHAM, CECIL M             9230 MACKEY ST                                                                             OVERLAND PARK     KS   66212‐3157
OLDHAM, CHARLES D           4994 LAKE VIEW DR                                                                          PENINSULA         OH   44264‐9591
OLDHAM, CHARLES D           RT 3 BOX 441A                                                                              NEVADA            MO   64772‐9317
OLDHAM, CHARLES D           22851 S 1525 RD                                                                            NEVADA            MO   64772‐5499
OLDHAM, CHARLES F           3325 FORENT AVE                                                                            DAYTON            OH   45408‐1513
OLDHAM, CLINTON             8044 ST. RT. 350                                                                           CLARKSVILLE       OH   45113‐9441
OLDHAM, CLINTON             8044 STATE ROUTE 350                                                                       CLARKSVILLE       OH   45113‐9441
OLDHAM, DANIEL L            5263 TERRI LN                                                                              NORTH TONAWANDA   NY   14120‐9595
OLDHAM, DENNIS M            501 WHITE OAK LN                                                                           BURLESON          TX   76028‐6248
OLDHAM, DENNIS MICHAEL      501 WHITE OAK LN                                                                           BURLESON          TX   76028‐6248
OLDHAM, DOROTHY L           659 CROWN AVE                                                                              DAYTON            OH   45427‐3023
OLDHAM, DOROTHY L           659 CROWN AVENUE                                                                           DAYTON            OH   45427‐3023
OLDHAM, EDWINA E            19515 COYLE ST                                                                             DETROIT           MI   48235‐2075
OLDHAM, IRMA L.             221 COMSTOCK AVE                                                                           BUFFALO           NY   14215
OLDHAM, ISABELLE R          992 CASTLEBERRY LN                                                                         LINCOLN           CA   95648‐8439
OLDHAM, JAMES E             2809 MORGAN TRAIL                                                                          MARTINSVILLE      IN   46151‐6696
OLDHAM, JOHN M              2550 YEAGER ROADBLDG 8 A         PT 2                                                      W LAFAYETTE       IN   47906
OLDHAM, JOHNIFEE E          2800 OLIVE ST APT F19                                                                      ST LOUIS          MO   63103‐1490
OLDHAM, JOHNIFEE E          11 THORNBY PL                                                                              SAINT LOUIS       MO   63112
OLDHAM, JR,WILLIAM H        414 REDWOOD AVE                                                                            DAYTON            OH   45405‐5136
OLDHAM, LARRY A             8243 FILLY LN.                                                                             PLAINFIELD        IN   46168
OLDHAM, LARRY L             8255 BAILEY MILL RD                                                                        GAINESVILLE       GA   30506‐5630
OLDHAM, LARRY R             4578 E LANSING RD                                                                          BANCROFT          MI   48414‐9719
OLDHAM, MILDRED             8701 SLEEPY HOLLOW LN            C/O MARY ROBERTS‐PEARSON                                  ELK GROVE         CA   95624‐9673
OLDHAM, MILDRED             C/O MARY ROBERTS‐PEARSON         8701 SLEEPY HOLLOW LANE                                   ELK GROVE         CA   95624‐5624
OLDHAM, PATRICIA A          1230 BRENTWOOD DR                                                                          DAYTON            OH   45406‐5713
OLDHAM, RALPH A             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
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Name                         Address1                         Address2                      Address3   Address4         City            State Zip
OLDHAM, RICHARD G            7353 MEADOWHAVEN DR                                                                        CHIPPEWA LAKE    OH 44215‐9804
OLDHAM, RUTH V               5888 NW 80TH AVENUE RD                                                                     OCALA            FL 34482‐2024
OLDHAM, RYAN M               14925 W 90TH TER                                                                           LENEXA           KS 66215
OLDHAM, STANLEY              60 W BROADWAY ST                                                                           SOUTH LEBANON    OH 45065‐1206
OLDHAM, THOMAS J             719 N BUFFALO AVE                                                                          CLEBURNE         TX 76033‐3837
OLDHAM, TOMMY K              10257 NORRELL RD                                                                           VENUS            TX 76084‐4818
OLDHAM, TOMMY KEITH          10257 NORRELL RD                                                                           VENUS            TX 76084‐4818
OLDHAM, VERNA GERALDINE      154 COUNTY ROAD 1662                                                                       JEFFERSON        TX 75657‐3067
OLDHAM, VERNA GERALDINE      154 CO RD 1662                                                                             JEFFERSON        TX 75657‐3067
OLDHAM, VERONICA S           3093 SHAW STREET                                                                           BURTON           MI 48529‐1028
OLDHAM, VERONICA S           3093 SHAW ST                                                                               BURTON           MI 48529‐1028
OLDHAM, WILLIAM E            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
OLDHAM, WILLIAM H            536 HURON AVE                                                                              DAYTON          OH 45417‐1509
OLDHORN ROBERT               PO BOX 1115                                                                                CROW AGENCY     MT 59022‐1115
OLDIGES ANTHONY J (358769)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                              STREET, SUITE 600
OLDIGES, ANTHONY J           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                              STREET, SUITE 600
OLDING, DANIEL R             565 S TIPSICO LAKE RD                                                                      MILFORD         MI   48380‐1441
OLDING, SUE                  3724 HUNTINGTON AVE                                                                        COVINGTON       KY   41015‐1621
OLDINSKI, JOSEPH             48 PATRICE TER                                                                             WILLIAMSVILLE   NY   14221‐4758
OLDRHAM, DOYLE L             1529 DORELLEN AVE                                                                          FLINT           MI   48532‐5341
OLDRHAM, VIRGINIA L          1529 DORELLEN AVE                                                                          FLINT           MI   48532‐5341
OLDRICH CECH                 2627 W M 21 LOT 83                                                                         OWOSSO          MI   48867‐8123
OLDRICH PESIK                PO BOX 277                                                                                 LENNON          MI   48449‐0277
OLDS ROSA                    106 N GLENWOOD AVE                                                                         PONTIAC         MI   48342‐1505
OLDS SHAWN                   3629 BURKEHILL DRIVE                                                                       MEMPHIS         TN   38135‐2305
OLDS, ANNA M                 313 W FRONT ST                                                                             GRAND LEDGE     MI   48837‐1017
OLDS, ANTHONY                1116 BROOKLEY BLVD                                                                         TOLEDO          OH   43607‐3048
OLDS, CLINTON D              5571 HILLVIEW DR                                                                           ELMIRA          MI   49730‐9338
OLDS, DAVID A                8020 MABLEY HILL RD                                                                        FENTON          MI   48430‐9470
OLDS, DAVID G                15474 S US HIGHWAY 27                                                                      LANSING         MI   48906‐5907
OLDS, DONALD C               2528 MUCKLE RD                                                                             CENTRAL LAKE    MI   49622‐9527
OLDS, ETHEL R                1429 NORTH BANK SWALLOW ROAD                                                               GREEN VALLEY    AZ   85614‐6020
OLDS, ETHEL R                1429 N BANK SWALLOW RD                                                                     GREEN VALLEY    AZ   85614
OLDS, FLOYD J                1560 RAGSDALE LN                                                                           PULASKI         TN   38478‐8133
OLDS, HAROLD J.              7447 MOYER RD                                                                              CHARLOTTE       MI   48813‐7809
OLDS, HELEN E                22583 DOWSETT TRAIL                                                                        ATLANTA         MI   49709‐9696
OLDS, JAMES E                11357 S PRAIRIE AVE                                                                        CHICAGO         IL   60628‐5026
OLDS, JEFF A                 11245 WEST SHORE DRIVE                                                                     HOUGHTON LAKE   MI   48629‐9782
OLDS, JEFF ALLEN             11245 WEST SHORE DRIVE                                                                     HOUGHTON LAKE   MI   48629‐9782
OLDS, JEFFREY P              3028 RASKOB ST                                                                             FLINT           MI   48504‐3227
OLDS, MARILYN J              18026 N CAVE CREEK RD LOT 68                                                               PHOENIX         AZ   85032‐1619
OLDS, MARK E                 5112 CHICKASAW TRL                                                                         FLUSHING        MI   48433‐1079
OLDS, MARSHA S               2173 W REID RD                                                                             FLINT           MI   48507‐4659
OLDS, MARVIN E               8020 MABLEY HILL RD                                                                        FENTON          MI   48430‐9470
OLDS, MARY S                 5112 CHICKASAW TRL                                                                         FLUSHING        MI   48433‐1079
OLDS, MILTON E               43181 HARRIS RD                                                                            BELLEVILLE      MI   48111‐9188
OLDS, NANCY L                362 JOHNSON PLANK RD NE                                                                    WARREN          OH   44481‐9301
OLDS, O C                    PO BOX 55                                                                                  MILLINGTON      MI   48746‐0055
OLDS, ROSA W                 106 N GLENWOOD AVE                                                                         PONTIAC         MI   48342‐1505
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Name                             Address1                       Address2                        Address3   Address4               City            State Zip
OLDS, ROSCHEL M                  1208 WALNUT ST                                                                                   GADSDEN          AL 35901
OLDS, THEDA                      7706 HOMER AVE                                                                                   HUDSON           FL 34667‐1227
OLDS, VAN V                      2103 W 2ND ST                                                                                    MARION           IN 46952‐3251
OLDS, WENDELL H                  10554 CORCORAN RD                                                                                HASLETT          MI 48840‐9227
OLDS, WILBERT J                  1130 N JAMESTOWN RD APT 103                                                                      DECATUR          GA 30033‐3620
OLDS, WILLIAM H                  6456 WATERS EDGE WAY                                                                             CLARKSTON        MI 48346‐3486
OLDSMOBILE SUBACCOUNT            NO ADVERSE PARTY
OLDYS COX                        1473 E MCKAY RD APT 213                                                                          SHELBYVILLE      IN   46176‐8751
OLE A. IGLEBAEK A/S              OSTRE STRANDT, 67                                                         4600 KRISTIAN NORWAY
OLE CHRISTIAN SIMON              ZUM ACKER 14                   51709 MARIENHEIDE
OLE DIRKSEN                      WALDSTRASSE 12                 25355 BARMSTEDT                 GERMANY
OLE JUUL                         881 SAINT MARYS AVE                                                                              SAN LEANDRO     CA    94577‐3853
OLE OLSEN                        604 SOUTH 3RD STREET                                                                             MONTROSE        CO    81401‐4208
OLE STAMPER                      9247 SUNSHINE CT                                                                                 SAINT HELEN     MI    48656‐9718
OLEA COUCH                       1106 MAIN ST                                                                                     MOULTON         AL    35650‐1100
OLEA, ARNOLD                     34753 WABASH RIVER PL                                                                            FREMONT         CA    94555‐3267
OLEAN BODIFORD                   207 N 4TH AVE                                                                                    SAGINAW         MI    48607‐1408
OLEAN KEYSTONE TOOL & DIE CO I   PO BOX 604                     RTE 417                                                           WESTONS MILLS   NY    14788‐0604
OLEAN RANDALL                    205 COACH LN                                                                                     N FT MYERS      FL    33917‐3097
OLEAN SEXTON                     4590 S KESSLER FREDERICK RD                                                                      WEST MILTON     OH    45383‐9791
OLEAN W SEXTON                   4590 KESSLER FREDERICK RD                                                                        WEST MILTON     OH    45383‐9791
OLEAR, MICHAEL                   2315 CHILDRESS LN                                                                                CHIPLEY         FL    32428‐3638
OLEAR, RONALD A                  PO BOX 489                                                                                       LOCKPORT        NY    14095‐0489
OLEARCHIK, DONALD D              2 STATE PARK DRIVE                                                                               TITUSVILLE      NJ    08560‐1111
OLEARCHIK, NELL A                2 STATE PARK DRIVE                                                                               TITUSVILLE      NJ    08560‐1111
OLEARCZYK, WALTER J              1092A CANTERBURY DR            LEISURE VILLAGE WEST (ENCORE)                                     MANCHESTER      NJ    08759‐5263
OLEARTCHICK, JOHN                723 ROOSEVELT AVE                                                                                CARTERET        NJ    07008‐2846
OLEARY DONALD E (481934)         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA    23510
                                                                STREET, SUITE 600
OLEARY JAMES                     41043 N ELIME RD                                                                                 ANTIOCH         IL    60002‐9776
OLEARY, ANDREW W                 200 GARDEN CITY DR                                                                               MATTYDALE       NY    13211‐1412
OLEARY, ANNA M                   SWANHAVEN MANOR                300 KENNELY ROAD                                                  SAGINAW         MI    48609
OLEARY, BETTY L                  1026 MARGO ST                                                                                    TAWAS CITY      MI    48763‐9307
OLEARY, BOBBIE J                 2621 AUTUMN LANE                                                                                 JANESVILLE      WI    53546‐4345
OLEARY, CHARLES E                1547 ASHLAND AVE                                                                                 JANESVILLE      WI    53548‐1504
OLEARY, DIANE
OLEARY, DONALD E                 GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA 23510‐2212
                                                                STREET, SUITE 600
OLEARY, DOUGLAS J                12154 E RICHFIELD RD                                                                             DAVISON         MI    48423‐8406
OLEARY, ELEANOR B                3564 ELMORA AVE                                                                                  BALTIMORE       MD    21213‐1933
OLEARY, GREGORY A                PO BOX 293                                                                                       GENESEE         MI    48437‐0293
OLEARY, GREGORY A                66 EUCALYPTUS CT                                                                                 FLINT           MI    48506‐5287
OLEARY, JAMES T                  4210 N TARRANT RD                                                                                MILTON          WI    53563‐9754
OLEARY, JOAN A                   9525 LEAFTOP CIR                                                                                 EDEN PRAIRIE    MN    55347‐3057
OLEARY, JON J                    2103 CLOVER LN                                                                                   JANESVILLE      WI    53545‐0619
OLEARY, MICHAEL H                3750 LANG RD                                                                                     BEAVERTON       MI    48612‐9725
OLEARY, MICHAEL J                15 CALLAWAY DR                                                                                   BUCHANAN        TN    38222‐3573
OLEARY, MICHAEL J                3478 FAIR OAKS AVE                                                                               BOWLING GREEN   KY    42104‐5529
OLEARY, NANCY A                  3817 LAKE LAPEER DR                                                                              METAMORA        MI    48455‐9613
OLEARY, PATRICK M                2015 ARTHUR ST                                                                                   SAGINAW         MI    48602‐1006
OLEARY, PHILLIP W                3012 AYRE CT                                                                                     FLINT           MI    48506‐5402
OLEARY, RUSSELL J                907 HILLTOP DR                                                                                   MILTON          WI    53563‐1660
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Name                        Address1                          Address2            Address3         Address4               City               State Zip
OLEARY, TEDDY L             40512 CINNAMON CIR                                                                            CANTON              MI 48187‐4590
OLEARY, TEDDY L             4706 POND RUN                                                                                 CANTON              MI 48188‐2198
OLEARY, TERRY F             3813 BRUNSWICK LN                                                                             JANESVILLE          WI 53546‐2080
OLEARY, TIMOTHY F           68 SUNFLOWER LN                                                                               TOMS RIVER          NJ 08755‐4020
OLEARY, WANDA A             7437 N LINDEN RD                                                                              MOUNT MORRIS        MI 48458‐9487
OLEARY, WAYNE J             3500 S VASSAR RD                                                                              BURTON              MI 48519‐1678
OLEARY, WILLARD S           682 CENTER SOUTH RD                                                                           LEIVITTSBURG        OH 44430‐4430
OLEARY, WILLIAM T           401 IVY CT                                                                                    EATON               OH 45320‐2029
OLECH, GRACE                6440 TENNESSEE AVE                                                                            WILLOWBROOK          IL 60527‐1859
OLECH, GRACE                6440 S TENNESSEE AVE                                                                          WILLOWBROOK          IL 60527‐1859
OLECH, ROBERT M             1313 LE BLANC                                                                                 PLYMOUTH            MI 48170
OLECHOWSKI, DANIEL P        89 STANLEY DR                                                                                 BAY CITY            MI 48708‐9118
OLEE ROBERSON               3317 FLAMINGO DR                                                                              SAGINAW             MI 48601‐5758
OLEE, SHERRILL K            308 TIMBER CREEK CIR NW                                                                       COMSTOCK PARK       MI 49321‐8544
OLEFERUK, ALFREDA           48 DEHAVEN DR APT 1D                                                                          YONKERS             NY 10703
OLEFF, MARY                 4729 E 86TH ST                                                                                GARFIELD HTS        OH 44125‐1331
OLEFF, MARY                 4729 EAST 86 ST                                                                               GARFIELD HTS        OH 44125‐1331
OLEG BASIN                  30520 RUSHMORE CIR                                                                            FRANKLIN            MI 48025‐2301
OLEG BRODSKI                AM EICHELKAMP 105                                                      40723 HILDEN GERMANY
OLEG MAKSIMOV
OLEGA COLEMAN               354 ROY HUIE RD                                                                               RIVERDALE          GA   30274‐1824
OLEGARIO BARRERA            527 SANCHES                                                                                   PLEASANTON         TX   78064‐3125
OLEGARIO VELA               1000 PARKER ST                                                                                LANSING            MI   48912‐1625
OLEJAR, ANNA                7211 NORTHFIELD CIR                                                                           FLUSHING           MI   48433‐9427
OLEJAR, CHERYL A            1168 SHENANDOAH DR                                                                            ROCHESTER HILLS    MI   48306‐3850
OLEJAR, CHERYL ANN          1168 SHENANDOAH DR                                                                            ROCHESTER HILLS    MI   48306‐3850
OLEJAR, MARY                7211 NORTHFIELD CIR                                                                           FLUSHING           MI   48433‐9427
OLEJARCZYK, DENNIS H        34271 WHITTAKER ST                                                                            CLINTON TWP        MI   48035‐3379
OLEJARCZYK, DENNIS J        240 CLAIR ST                                                                                  GARDEN CITY        MI   48135‐2618
OLEJARCZYK, DENNIS JOHN     240 CLAIR ST                                                                                  GARDEN CITY        MI   48135‐2618
OLEJARCZYK, HOLLI B         55410 WHITNEY DR                                                                              SHELBY TOWNSHIP    MI   48315‐6662
OLEJARCZYK, KAZIMIERZ J     7313 EMANON ST                                                                                DEARBORN           MI   48126‐1683
OLEJNICKI, WILLIAM          12033 LAKE VIEW DR                                                                            ORLAND PARK        IL   60467‐1063
OLEJNICKI, WILLIAM          12033 LAKEVIEW DRIVE                                                                          ORLAND PARK        IL   60467‐1063
OLEJNICZAK JR, MITCHELL J   3073 REAMER RD                                                                                LAPEER             MI   48446‐7711
OLEJNICZAK, ALOYSIUS J      50336 OXFORD DR                                                                               MACOMB             MI   48044‐1268
OLEJNICZAK, DOLORES A       2681 ROUTE 394                                                                                CRETE              IL   60417‐4353
OLEJNICZAK, FRANK J         45282 STERRITT ST                                                                             UTICA              MI   48317‐5826
OLEJNICZAK, JACQUELINE A    35430 OSAGE DR                                                                                GLEN ELLYN         IL   60137‐7422
OLEJNICZAK, JUDY A          3807 BELLOWS DR                                                                               CAMP HILL          PA   17011‐1402
OLEJNICZAK, JULIUS R        2491 DUNLAP RD                                                                                DUCK RIVER         TN   38454‐3431
OLEJNICZAK, LEANN E         2491 DUNLAP RD                                                                                DUCK RIVER         TN   38454‐3431
OLEJNICZAK, MARY A          445 MOUNT ROYALL DR                                                                           MOUNT PLEASANT     SC   29464
OLEJNIK, DAVID J            55844 NICKELBY S                                                                              SHELBY TWP         MI   48316‐1008
OLEJNIK, EDNA M             3539 WALLACE AVE                                                                              STEGER             IL   60475‐1752
OLEK, TIMOTHY F             6180 LILLYPOND WAY                                                                            ONTARIO            NY   14519‐8620
OLEK, ZYGMUND A             41174 HARVARD DR                                                                              STERLING HEIGHTS   MI   48313‐4443
OLEKSA, DIANE M             4127 RUSH BLVD                                                                                YOUNGSTOWN         OH   44512‐1236
OLEKSIAK RONALD W           29191 ALINE DR                                                                                WARREN             MI   48093‐2692
OLEKSIAK, PATRICK J         18233 HENRY ST                                                                                MELVINDALE         MI   48122‐1428
OLEKSIAK, ROBERT            43089 AVON RD                                                                                 CANTON             MI   48187‐3301
OLEKSINSKI, JAMES E         11572 COLPAERT DR                                                                             WARREN             MI   48093‐1107
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Name                           Address1                         Address2                         Address3   Address4         City                 State Zip
OLEKSINSKI, JULIA              28644 ARSENAL AVE                                                                             WARREN                MI 48093‐2760
OLEKSINSKI, JULIA              28644 ARSENAL                                                                                 WARREN                MI 48093‐2760
OLEKSIUK ROMAN                 OLEKSIUK, ROMAN                  120 WEST MADISON STREET , 10TH                               CHICAGO                IL 60602
                                                                FLOOR
OLEKSIUK, JANE A               1620 PRICE RD                                                                                 YOUNGSTOWN           OH   44509‐1938
OLEKSIUK, JANE A               1620 PRICE RD.                                                                                YOUNGSTOWN           OH   44509‐1938
OLEKSIUK, RALPH E              113 GILBERT AVE                                                                               NILES                OH   44446‐3306
OLEKSIUK, STEPHEN H            1620 PRICE RD                                                                                 YOUNGSTOWN           OH   44509‐1938
OLEKSIW, PAUL J                613 ORRTANNA RD                                                                               ORRTANNA             PA   17353‐9787
OLEKSIY POOKHYNEYCHENKO        824 E 9TH ST APT 3A                                                                           BROOKLYN             NY   11230
OLEKSY, ALFRED J               3339 FOREST TER                                                                               ANDERSON             IN   46013‐5255
OLEKSY, ANITA                  37238 INGLESIDE                                                                               CLINTON TWP          MI   48036‐2615
OLEKSY, EDWARD L               9679 BLUE HORIZON RD                                                                          PRESQUE ISLE         MI   49777‐9087
OLEKSY, FLORA                  20113 GAUKLER                                                                                 ST CLAIR SHORES      MI   48080‐1765
OLEKSY, FLORA                  20113 GAUKLER ST                                                                              SAINT CLAIR SHORES   MI   48080‐1765
OLEKSY, LADONNA M              269 LAKEVIEW AVE                                                                              ORCHARD PARK         NY   14127‐1027
OLEKSY, LEO A                  1038 E 167TH PL                                                                               SOUTH HOLLAND        IL   60473‐3103
OLEKSY, LEONARD T              1814 CRITTENDEN RD                                                                            ALDEN                NY   14004‐1028
OLEKSYK, WALTER J              3290 NORTON RD                                                                                HOWELL               MI   48843‐8982
OLEKSYK, WALTER JOSEPH         3290 NORTON RD                                                                                HOWELL               MI   48843‐8982
OLEMA STONE‐TANNER             4178 OLD TROY PIKE                                                                            DAYTON               OH   45404‐1326
OLEN BILLINGS                  999 CREED WRIGHT RD                                                                           WALLING              TN   38587‐5131
OLEN FLEENOR                   22822 CRAIG AVE                                                                               NOBLESVILLE          IN   46060‐6977
OLEN HAM                       5532 FIESTA PASS                                                                              GRAND BLANC          MI   48439‐9151
OLEN HECK                      1290 JONES RIDGE RD                                                                           SPEEDWELL            TN   37870‐7126
OLEN INGRAM                    2249 AUTUMN TRACE PKWY                                                                        WENTZVILLE           MO   63385‐3067
OLEN JACKSON                   4101 N 110TH ST                  T                                                            KANSAS CITY          KS   66109‐4115
OLEN JOHNSON JR                622 E PASADENA AVE                                                                            FLINT                MI   48505‐4275
OLEN LEE                       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.          OH   44236
OLEN MCGLOTHREN & NICOLAS PC   166 GOVERNMENT ST STE 200                                                                     MOBILE               AL   36602‐3108
OLEN MILLER JR                 10721 MORTON RD                                                                               MANISTEE             MI   49660‐9537
OLEN MOORE                     7891 HIGHWAY 131                                                                              ODESSA               MO   64076‐7308
OLEN MOORE                     1544 ACADEMY PL                                                                               DAYTON               OH   45406‐4718
OLEN PALMER                    705 SAINT ANDREWS BLVD                                                                        LADY LAKE            FL   32159‐2261
OLEN SHIVE                     1806 WINCHESTER DR                                                                            INDIANAPOLIS         IN   46227‐5974
OLEN SMITH                     110 PARKER DR                                                                                 MONROE               GA   30656‐4752
OLEN T MOORE                   1544 ACADEMY PL                                                                               DAYTON               OH   45406‐4718
OLEN THORNTON                  7898 GARFIELD RD                                                                              MECOSTA              MI   49332‐9776
OLEN TODD                      717 ISABELLE DR                                                                               ANDERSON             IN   46013‐1637
OLEN VANCE                     PO BOX 3206                      139 N SAGINAW ST                                             MONTROSE             MI   48457‐0906
OLEN WOODALL JR                9805 COUNTY ROAD 214                                                                          TRINITY              AL   35673‐5219
OLEN, DOROTHY                  2922 FORTUNE AVENUE                                                                           PARMA                OH   44134‐2239
OLENCHAK                       13479 NORTHLINE RD                                                                            SOUTHGATE            MI   48195‐1064
OLENDER, EDWARD                1175 HARRIS RD                                                                                COLUMBIA             TN   38401‐8221
OLENDER, FRANK                 47 PIER ST                                                                                    YONKERS              NY   10705‐1747
OLENDER, HENRY R               326 CANTERBURY TPKE                                                                           NORWICH              CT   06360‐1710
OLENDER, IRENE                 47 PIER ST                                                                                    YONKERS              NY   10705‐1747
OLENDER, JANINE                1175 HARRIS RD                                                                                COLUMBIA             TN   38401
OLENDERSKI, JOHN A             767 SALEM CHURCH RD                                                                           NEWARK               DE   19702‐3612
OLENDORF JR, KENNETH H         4491 W OVERLOOK DR                                                                            WILLIAMSVILLE        NY   14221‐6328
OLENE CAGLE                    1541 E 191ST BLDG K#107                                                                       EUCLID               OH   44117
OLENE FRANKLIN                 2004 E PARK ROW DR                                                                            ARLINGTON            TX   76010‐4762
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OLENE GLASSCOCK         83 COUNTY ROAD 459                                                                  TRINITY             AL 35673‐5439
OLENE GRANDBERRY        UNIT 103                      3410 BELLISIMA PLACE                                  LOUISVILLE          KY 40245‐7644
OLENE POPE              121 MARKET RD                                                                       TIPTON              IN 46072‐1051
OLENEACK, BEVERLY K     5695 N 39TH ST                                                                      AUGUSTA             MI 49012‐9762
OLENEACK, SUSAN K       3935 40TH ST SW                                                                     GRANDVILLE          MI 49418‐2403
OLENEACK, SUSAN KAY     3935 40TH ST SW                                                                     GRANDVILLE          MI 49418‐2403
OLENIACZ, PHYLLIS A     6417 RUTLAND ST                                                                     DETROIT             MI 48228‐4703
OLENIACZ, PHYLLIS ANN   6417 RUTLAND ST                                                                     DETROIT             MI 48228‐4703
OLENICK JR, STEVEN L    587 SPENGLER DR                                                                     BAY CITY            MI 48708‐7651
OLENICK, BURCHELL T     3387 RIPPLING LAKE CT                                                               HAMILTON            OH 45011‐8192
OLENICK, DOROTHY S      4015 W LAKE RD                                                                      CLIO                MI 48420‐8820
OLENICK, DOROTHY S      14701 SOUTHWEST DIVOT DRIVE   INDIAN WOOD                                           INDIANTOWN          FL 34956‐3681
OLENICK, GARY B         3905 MEANDER DR                                                                     MINERAL RIDGE       OH 44440‐9026
OLENICK, JAMES G        608 SHERBOURNE GRN                                                                  FRANKLIN            TN 37069‐7167
OLENICK, JAMES M        520 WINTER RD                                                                       NEW CASTLE          PA 16101‐1033
OLENICK, LOUISE C       4211 SLAUGHTER RD                                                                   UNIONTOWN           OH 44685‐9526
OLENICK, MICHAEL W      12829 GARDENSIDE DR                                                                 NORTH ROYALTON      OH 44133‐1017
OLENICK, RONALD L       4016 W LAKE RD                                                                      CLIO                MI 48420
OLENICK, SOPHIE M       12829 GARDENSIDE DRIVE                                                              NORTH ROYALTON      OH 44133‐1017
OLENICK‐KULKA, JOANN    5659 MACINTOSH DR                                                                   BAY CITY            MI 48706‐5637
OLENICZAK, CYNTHIA J.   310 E EVANDALE DR                                                                   OAK CREEK           WI 53154‐3016
OLENICZAK, JOSEPH S     2827 W FOREST TRAIL RD                                                              FREE SOIL           MI 49411‐9755
OLENICZAK, ROBERT L     3603 S 3RD ST                                                                       MILWAUKEE           WI 53207‐3243
OLENICZAK, ROBERT W     2050 EAST NORWOOD DRIVE                                                             OAK CREEK           WI 53154‐1214
OLENIK, DAVID A         1265 E 9TH ST                                                                       SALEM               OH 44460‐1717
OLENIK, MICHAEL S       5324 YOUNGSTOWN POLAND RD                                                           POLAND              OH 44514‐1269
OLENO, STEVEN C         631 E ROCKLAND RD                                                                   LIBERTYVILLE         IL 60048‐3367
OLENSKI LAUREL LEA      8393 HOLCOMB RD                                                                     CLARKSTON           MI 48348‐4317
OLENSKI, LAUREL L       8393 HOLCOMB RD                                                                     CLARKSTON           MI 48348‐4317
OLENSKI, LAUREL LEA     8393 HOLCOMB RD                                                                     CLARKSTON           MI 48348‐4317
OLENSKI, THOMAS J       8393 HOLCOMB RD                                                                     CLARKSTON           MI 48348‐4317
OLENYCH, HAZEL M        1380 BEACON DR                                                                      PORT CHARLOTTE      FL 33952‐2912
OLENYK, TERESA          C/O CHARLES R OLENYK          6416 EGYPT VALLEY RD                                  ROCKFORD            MI 49341
OLENYK, TERESA          6416 EGYPT VALLEY AVE NE      C/O CHARLES R OLENYK                                  ROCKFORD            MI 49341‐8109
OLENZEK, RICHARD F      29729 HIGHMEADOW RD                                                                 FARMINGTON HILLS    MI 48334‐3007
OLEORA MCGEE            5917 BELLE OAKS PL                                                                  ANTIOCH             TN 37013‐4956
OLER, CLARENCE EDGAR    BOONE ALEXANDRA               205 LINDA DR                                          DAINGERFIELD        TX 75638‐2107
OLER, DAVID C           PO BOX 125                    309 SHORT ST                                          MAXWELL              IA 50161‐0125
OLER, SHEILA M          18571 DURRANCE RD                                                                   NORTH FORT MYERS    FL 33917
OLERICH, BRIAN G        7807 FOUNTAIN HILLS LN                                                              DAVISBURG           MI 48350‐2444
OLES DYLAN              3240 WARICK RD                                                                      ROYAL OAK           MI 48073‐6912
OLES, CALVIN D          111 HAMILTON LN                                                                     DOWLING             MI 49050‐9736
OLES, DANIEL D          9299 DUFFIELD RD                                                                    GAINES              MI 48436‐9637
OLES, DAVID R           9648 5 MILE RD                                                                      EVART               MI 49631‐8451
OLES, DYLAN             3240 WARICK RD                                                                      ROYAL OAK           MI 48073‐6912
OLES, ERIC J            61 PICKFORD RD                                                                      KIMBALL             MI 48074‐4523
OLES, ERIC J            8312 SPLIT RAIL LN                                                                  HUDSON              FL 34667
OLES, FREDERICK G       30241 BOEWE DR                                                                      WARREN              MI 48092‐1987
OLES, JEANNE L          2340 GOLDEN ST SW                                                                   WYOMING             MI 49519‐3232
OLES, JOHN G            14440 LESSINGWELL RD.                                                               BERLIN CENTER       OH 44401
OLES, MARION C          8783 NW SHONTEL CRT                                                                 SILVERDALE          WA 98383
OLES, ROBERT L          6175 DELAND RD                                                                      FLUSHING            MI 48433‐1197
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Name                                Address1                        Address2                      Address3                     Address4         City                  State Zip
OLES, THEODORE L                    59224 GLACIER CLUB DR                                                                                       WASHINGTON TOWNSHIP    MI 48094‐4320
OLES, THOMAS H                      1638 S RIVERSIDE AVE                                                                                        SAINT CLAIR            MI 48079‐5141
OLES, ZACHARY T                     6582 HARVEST RIDGE DR                                                                                       AUSTINTOWN             OH 44515‐5560
OLESCZUK FRANK P (356014)           ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                                         NEW YORK               NY 10006‐1638
OLESCZUK, FRANK P                   ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                                         NEW YORK               NY 10006‐1638
OLESEK, R V                         3910 BRIMFIELD                                                                                              AUBURN HILLS           MI 48326‐3343
OLESEN CHEVROLET‐OLDSMOBILE, INC.   J.CHRISTOPHER OLESEN            126 N ELM ST                                                                AVOCA                   IA 51521‐3510

OLESEN CHEVROLET‐OLDSMOBILE, INC.   126 N ELM ST                                                                                                AVOCA                  IA   51521‐3510

OLESEN, DONNA M                     26 SHENANDOAH DR                                                                                            NEWARK                DE 19711‐3767
OLESEN, GERALD F                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                 NORFOLK               VA 23510
                                                                    STREET STE 600
OLESEN, STEVEN K                    1502 BRENTWOOD DRIVE                                                                                        TROY                  MI    48098‐2713
OLESH, LINDA G                      259 TERRE HILL DR                                                                                           CORTLAND              OH    44410‐1634
OLESH, MILDRED G                    3810 NORTHWOODS CT NE UNIT 2                                                                                WARREN                OH    44483‐4574
OLESH, MILDRED G                    3810 N. WOODS COURT             APT #2                                                                      WARREN                OH    44483‐4574
OLESINSKI, GERTRUDA                 600 ISLAND COTTAGE RD APT 112                                                                               ROCHESTER             NY    14612‐2339
OLESINSKI, GRACE M                  320 E ELM ST                                                                                                LINDEN                NJ    07036‐2847
OLESKI KATHY                        OLESKI, KATHY                   5841 OLD SHERWOOD DR                                                        COMMERCE TOWNSHIP     MI    48382
OLESKI, ARMOND S                    4900 HOUGHTON DR                                                                                            PINCKNEY              MI    48169‐9399
OLESKI, CARL J                      3170 OLD CARRIAGE TRL                                                                                       BRIGHTON              MI    48116‐7404
OLESKIE, ANGELA R                   57866 RUBY LN                                                                                               WASHINGTON            MI    48094‐3136
OLESKIE, PETER N                    8316 SPEEDWAY DR                                                                                            SHELBY TOWNSHIP       MI    48317‐3341
OLESKIE, RAYMOND                    7001 REBER DR                                                                                               SHELBY TOWNSHIP       MI    48317‐2454
OLESKO JR, FRANK                    369 AVON BELDEN RD                                                                                          AVON LAKE             OH    44012‐2203
OLESKOVIC, DOROTHY M                49 AUSTIN AVE                                                                                               YONKERS               NY    10710‐2201
OLESKOVIC, DOROTHY M                49 AUSTIN AVENUE                                                                                            YONKERS               NY    10710‐2201
OLESKY NEIL                         9345 RIVIERA HILLS DR                                                                                       GREENWOOD VILLAGE     CO    80111‐3453
OLESKY, ALAN R                      219 BROAD ST                                                                                                BROWNSVILLE           PA    15417‐2103
OLESKY, FRANCES M                   PO BOX 92                                                                                                   HILLER                PA    15444‐0092
OLESKY, FRANCES M                   BOX 92                                                                                                      HILLER                PA    15444‐0092
OLESKY, FRANCIS T                   125 COURTLAND AVE                                                                                           CAMPBELL              OH    44405‐1058
OLESKY, IAN R                       219 BROAD ST                                                                                                BROWNSVILLE           PA    15417‐2103
OLESKY, JOYCE L                     5911 COUNTRY TRL                                                                                            YOUNGSTOWN            OH    44515‐5609
OLESKY, MARTHA A                    2944 CEDAR KEY DR                                                                                           LAKE ORION            MI    48360‐1832
OLESKY, MARTHA F                    766 HIGH ST                                                                                                 CALIFORNIA            PA    15419‐1426
OLESKY, NOREEN                      12253 COLUMBIANA CANFIELD RD                                                                                COLUMBIANA            OH    44408‐9776
OLESKY, ROSILYN J                   218 W 14TH ST                                                                                               LAPEL                 IN    46051‐9527
OLESON, EUGENE E                    2509 W BURBANK AVE                                                                                          JANESVILLE            WI    53546‐5906
OLESON, ROBERT H                    1398 SUNNY RD                                                                                               LANSING               MI    48906‐6407
OLESTON, CONRAD A                   2020 BOND PL                                                                                                JANESVILLE            WI    53548‐3416
OLESTON, JEROME C                   4128 EASTRIDGE DR                                                                                           JANESVILLE            WI    53546‐1724
OLESZAK, JOHN L                     6300 CLINTON ST                                                                                             ELMA                  NY    14059‐9486
OLESZAK, RONALD G                   W225S8265 WOODVIEW LN                                                                                       BIG BEND              WI    53103
OLESZCZAK, MICHAEL A                48761 FIFTH AVE                                                                                             CANTON                MI    48188‐8308
OLESZCZUK, EDWARD S                 54748 WAUBAY                                                                                                MACOMB TWP            MI    48092
OLESZCZUK, MICHAEL A                5647 COPPER SANDS RUN                                                                                       FRUITPORT             MI    49415‐8877
OLESZCZUK, ROBERT F                 7412 ALVAH AVE APT D                                                                                        BALTIMORE             MD    21222‐2015
OLESZCZUK, STEPHAN E                21 HIGHBURY DR                                                                                              ELGIN                  IL   60120‐4514
OLESZEWSKI, PAMELA                  1532 SOMERSET DRIVE                                                                                         FOREST                VA    24551‐1784
OLESZKOWICZ KEITH                   OLESZKOWICZ, KEITH              LIBLANG & ASSOCIATES          346 PARK STREET, SUITE 200                    BIRMINGHAM            MI    48009
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OLESZKOWICZ, KEITH        LIBLANG & ASSOCIATES             346 PARK STREET, SUITE 200                                      BIRMINGHAM       MI 48009
OLESZKOWICZ, KEITH        LIBLANG & ASSOCIATES             346 PARK ST STE 200                                             BIRMINGHAM       MI 48009‐3436
OLESZKOWICZ, STANLEY W    48472 SAVOY CT                                                                                   SHELBY TWP       MI 48315‐4279
OLETA ANGUISH             16528 MAHONING AVE                                                                               LAKE MILTON      OH 44429‐9612
OLETA BINGAMAN            103 ERSKINE SQUARE                                                                               AIKEN            SC 29803‐6222
OLETA BUSCHUR             3717 WHITTIER AVE                                                                                FLINT            MI 48506‐3133
OLETA BUTCHER             1336 LARAMIE DR                                                                                  DAYTON           OH 45432‐3146
OLETA CAMPBELL            424 SUNNYMEDE DR                                                                                 KOKOMO           IN 46901‐5029
OLETA CASTEEL             5507 MAURICE AVE                                                                                 CLEVELAND        OH 44127‐1241
OLETA GIBSON              14830 W LUPINE LN                                                                                SURPRISE         AZ 85374‐3470
OLETA HASSELSCHWERT       20534 COUNTY ROAD 10                                                                             DEFIANCE         OH 43512‐8354
OLETA HOWARD              4084 S WINDING OAKS DR                                                                           HOMOSASSA        FL 34446‐1437
OLETA MANSHIP             1667 SHERIDAN RD                 THE LODGE, #44                                                  NOBLESVILLE      IN 46062‐8723
OLETA TAYLOR              7825 SONGBIRD LN                                                                                 FORT WORTH       TX 76133‐7453
OLETHA CARTER             1622 CLIFTVIEW AVE                                                                               BALTIMORE        MD 21213‐1310
OLETHA R HARDAWAY         4602 FRIDEN CT                                                                                   DAYTON           OH 45417
OLETIA SHOOK              8500 COUNTY ROAD 89                                                                              ANDERSON         AL 35610‐4508
OLETTA K LINVILLE         301 COLONIAL BLVD                                                                                PALM HARBOR      FL 34684‐1309
OLETTA LINVILLE           301 COLONIAL BLVD                                                                                PALM HARBOR      FL 34684‐1309
OLETU OKEZI               [NULL]                           10 PORTHARCOURT DRIVE,DSC               OVWIAN/ALADJA NIGERIA   OVWIAN/ALADJA
OLEVIA HELAIRE            6114 MASTERS DR                                                                                  SHREVEPORT      LA   71129‐4118
OLEWIN, DAVID H           48620 HARBOR DR                                                                                  CHESTERFIELD    MI   48047‐3471
OLEWINE, HARRY F          5536 MAPLETON RD                                                                                 LOCKPORT        NY   14094‐9296
OLEWINE, HARRY FRANKLIN   5536 MAPLETON ROAD                                                                               LOCKPORT        NY   14094‐9296
OLEWINSKI, BERNICE L      2043 FOXBORO CT NW                                                                               GRAND RAPIDS    MI   49504‐2361
OLEX DIV TNT CANADA INC   710 SPRUCEWOOD AVE               P O BOX 7217                            WINDSOR ON N9C 3Z1
                                                                                                   CANADA
OLEX SHUNTING DIV         TNT CANADA INC                   501 EXETER RD                           LONDON ON N6E 2Z3
                                                                                                   CANADA
OLEX TNT CANADA INC       PO BOX 970                                                                                       DEARBORN        MI   48121‐0970
OLEX, CHARLOTTE H         20 DEWAR DR                                                                                      TRENTON         NJ   08620‐2435
OLEX, CHARLOTTE H         20 DEWAR DRIVE                                                                                   GROVEVILLE      NJ   08620‐2435
OLEX, GREGORY A           712A JUNIPER DR                                                                                  MYRTLE BEACH    SC   29575‐3430
OLEXA, JAMES              7015 W BLOOMFIELD RD                                                                             PEORIA          AZ   85381‐9544
OLEXA, PAULINE G          7015 W BLOOMFIELD RD                                                                             PEORIA          AZ   85381‐9544
OLEXO, VERNA              9000 MUNICH DR                                                                                   PARMA           OH   44130‐7604
OLEXO, VERNA              9000 MUNICH DRIVE                                                                                PARMA           OH   44130‐7604
OLEXSEY, TIMOTHY R        1300 W FILION RD                                                                                 FILION          MI   48432‐9784
OLEY, DAVID R             4815 STADLER RD                                                                                  MONROE          MI   48162‐9424
OLEYAR, DAVID             PO BOX 1                                                                                         FLUSHING        MI   48433‐0001
OLEYAR, JOSEPH E          3253 DUFFIELD RD                                                                                 FLUSHING        MI   48433‐9709
OLEYAR, MICHAEL           404 VIRGINIA AVE APT 6                                                                           ROYAL OAK       MI   48057‐4101
OLEYER, MICHAEL           467 QUAKER FARMS ROAD                                                                            OXFORD          CT   06478‐1306
OLEYNIK JR, PAUL          4173 DAUNCY RD                                                                                   FLAT ROCK       MI   48134‐9643
OLFIE BISHOP              1115 SHADOW WOOD TRL             C/O MALCOLM ENGLEBY                                             DESOTO          TX   75115‐7406
OLGA A FODCZUK            7114 W FARRAND RD                                                                                CLIO            MI   48420‐9424
OLGA A SERDA              112 W FAIRMOUNT AVE                                                                              PONTIAC         MI   48340‐2736
OLGA AGALAKOVA            1887 UPLAND DR                                                                                   ANN ARBOR       MI   48105‐2109
OLGA ALBER                7523 HAVILAND DR                                                                                 LINDEN          MI   48451
OLGA ANDERSON             409 E PALMER ST                  C/O BETTY JEAN POWELL                                           DETROIT         MI   48202‐3825
OLGA ANDERSON             PO BOX 93181                                                                                     LAS VEGAS       NV   89193‐3181
OLGA B TREVINO            2315 SOWELL MILL PIKE                                                                            COLUMBIA        TN   38401‐8044
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Name                 Address1                         Address2               Address3    Address4            City              State Zip
OLGA BAILEY          PO BOX 378823                                                                           CHICAGO             IL 60637‐8823
OLGA BARNABO         1261 ASHOVER DRIVE                                                                      BLOOMFIELD         MI 48304‐1212
OLGA BEHM            13075 N STATE ROAD 9                                                                    ALEXANDRIA         IN 46001‐8836
OLGA BENZING         1206 SE 5TH ST                                                                          CAPE CORAL         FL 33990‐1655
OLGA BONDOWSKI       927 S OLD 11                                                                            JANESVILLE         WI 53548‐8419
OLGA BORRAS          140 ROUTE 9W APT 221                                                                    HAVERSTRAW         NY 10927‐1419
OLGA BOTTS           4419 ANSON PL E                                                                         JACKSONVILLE       FL 32246‐6513
OLGA BROWN           3710 LAKEWOOD DR                                                                        WATERFORD          MI 48329‐3948
OLGA BURK            707 W CASS ST                                                                           SAINT JOHNS        MI 48879‐1718
OLGA BURL            250 RAINBOW BLVD APT 105                                                                NIAGARA FALLS      NY 14303‐1224
OLGA C CASTRO        505 N BUTTONWOOD ST                                                                     ANAHEIM            CA 92805‐2226
OLGA CALDWELL        1653 ABNER FLAT RD                                                                      BEATTYVILLE        KY 41311‐9544
OLGA CARAFFI         1119 E 174TH ST                                                                         CLEVELAND          OH 44119‐3107
OLGA CASTIGLION      4819 ARDEN AVE                                                                          WARREN             MI 48092‐1183
OLGA CASTRO          505 N BUTTONWOOD ST                                                                     ANAHEIM            CA 92805‐2226
OLGA CHANACKI        722 EAST CANEEL DRIVE                                                                   TECUMSEH           MI 49286‐9570
OLGA CHARBONNEAU     9363 HUBERT AVE                                                                         ALLEN PARK         MI 48101‐1677
OLGA CHARNEY         APT 8                            1420 WATERFORD PLACE                                   MANHATTAN          KS 66502‐2794
OLGA COLLAZO         579 CARLISLE DR                                                                         MORRISVILLE        PA 19067‐6803
OLGA COOPER          167 GEORGE ST                                                                           LAMBERTVILLE       NJ 08530‐1613
OLGA CUMMINGS        9032 LAKEVIEW BLVD                                                                      RODNEY             MI 49342‐9678
OLGA CURTIS          231 SYDNEY ROAD                                                                         SOUTHAMPTON        PA 18966‐2894
OLGA CZERNIEJEWSKI   1911 CHRISTIAN AVE                                                                      TOLEDO             OH 43613‐2806
OLGA DELEON          14301 DUNDEE ST                                                                         RIVERVIEW          MI 48193‐7540
OLGA DELGADO         APT S                            4332 DELL ROAD                                         LANSING            MI 48911‐8127
OLGA DIAZ            3012 PALMARIE DR                                                                        POLAND             OH 44514‐2103
OLGA DIPIRRO         5150 E TIMROD ST                                                                        TUCSON             AZ 85711‐7424
OLGA DRUMMOND        4812 N TERRITORIAL RD E                                                                 ANN ARBOR          MI 48105‐9322
OLGA DUMBRA          2410 KEN JAMES COURT                                                                    NAPOLEON           OH 43545‐9176
OLGA DUNAWAY         285 WATKINS ROAD                                                                        BLANCHESTER        OH 45107‐1057
OLGA ELASIVICH       4101 S SHERIDAN RD LOT 9                                                                LENNON             MI 48449‐9412
OLGA ENGLE           3720 SIMPSON AVE                                                                        CINCINNATI         OH 45227‐3641
OLGA FIEBIG          6032 MEAD ST                                                                            DEARBORN           MI 48126‐2038
OLGA FLORES          5005 PALISADE DR                                                                        LANSING            MI 48917‐1578
OLGA FODCZUK         7114 W FARRAND RD                                                                       CLIO               MI 48420‐9424
OLGA FYLYPIW         24005 222ND AVENUE SOUTHEAST                                                            MAPLE VALLEY       WA 98038‐5880
OLGA GALDO           18140 SW 136TH CT                                                                       MIAMI              FL 33177‐7138
OLGA GOMEZ           PO BOX 2543                                                                             ELIZABETH          NJ 07207‐2543
OLGA GONZALEZ        1127 CROES AVE.                                                                         BRONX              NY 10472
OLGA GONZALEZ        2390 QUEENSWOOD CIR                                                                     KISSIMMEE          FL 34743‐3410
OLGA GONZALEZ        1894 SW 156TH AVE                                                                       MIRAMAR            FL 33027‐4321
OLGA GRUND           4458 WOOD ST                                                                            WILLOUGHBY         OH 44094‐5818
OLGA HANNAH          CARRINGTON PLACE NURSING FACIL   600 FULWOOD LANE                                       MATTHEWS           NC 28105
OLGA HELMS           9001 LAKEVIEW DR                                                                        NEW PORT RICHEY    FL 34654‐3449
OLGA HERNANDEZ       492 N ANNA LN                                                                           ROMEOVILLE          IL 60446‐5283
OLGA HORVAT          2304 CLINTON ST                                                                         MUNHALL            PA 15120‐2643
OLGA HOWITT          1268 CARRIAGE LANE                                                  WINDSOR ON N9H1Z8
                                                                                         CANADA
OLGA HOZESKA         221 S MASON ST                                                                          SAGINAW           MI   48602‐2347
OLGA HUMPHRIES       407 3RD ST                                                                              FENTON            MI   48430‐1940
OLGA ILNICKI         218 LEEDOM AVE                                                                          BRISTOL           PA   19007‐3003
OLGA J KURITAR       8440 FREDERICK PIKE              C/O GAIL J. BROCKMAN                                   DAYTON            OH   45414‐1231
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OLGA J. ROBERTS
OLGA JIMENEZ         140 VERNON DR                                                                                     BOLINGBROOK          IL    60440‐2460
OLGA JUERGENSMEYER   60 LYNN MEADOWS LN                                                                                FLORISSANT           MO    63033‐5841
OLGA KASPRZYK        33439 ELGIN CT                                                                                    STERLING HEIGHTS     MI    48310‐6091
OLGA KOBELLA         4802 GRANTWOOD DR                                                                                 PARMA                OH    44134‐3760
OLGA KONDEJ          202 RAMBLER ST                                                                                    BRISTOL              CT    06010‐3326
OLGA KONOPAS         121 W MAIN ST APT 114                                                                             VERNON ROCKVILLE     CT    06066‐3525
OLGA KOPACZ          28412 SAN MARINO DR                                                                               SOUTHFIELD           MI    48034‐5674
OLGA KORUNOVSKI      2878 OAK MEADOW DR                                                                                HOWELL               MI    48843‐9485
OLGA KOVL            5914 OAKMAN BLVD                                                                                  DEARBORN             MI    48126‐2385
OLGA KOZAK           APT 231                           31800 VAN DYKE AVENUE                                           WARREN               MI    48093‐7919
OLGA KOZEN           2650 N FOREST RD APT M211                                                                         GETZVILLE            NY    14068‐1542
OLGA KOZSEY          1454 LAKEWOOD AVE                                                                                 LAKEWOOD             OH    44107‐4925
OLGA KRAMER          7506 WILLIAMSON ST                                                                                DEARBORN             MI    48126‐1495
OLGA KRESIC          10422 BRIGHTON RD                                                                                 BRATENAHL            OH    44108‐1032
OLGA KUNES           N8384 E SNOW CREEK RD                                                                             MERRILLAN            WI    54754‐8208
OLGA KUNZE           7819 WEDGEMONT CT SE                                                                              ALTO                 MI    49302‐9777
OLGA KURITAR         8440 FREDERICK PIKE                                                                               DAYTON               OH    45414‐1231
OLGA LAMB            29 DOVE DR                                                                                        MERIDEN              CT    06451‐3709
OLGA LENOIR          144 CAMP BRANCH RD                C/O JERRY W LENOIR                                              BLACK MOUNTAIN       NC    28711‐9756
OLGA LESZKIEWICZ     646 KIRKWOOD DR                                                                                   VANDALIA             OH    45377‐1314
OLGA LESZKIEWICZ     646 KIRKWOOD DR                                                                                   VANDALIA             OH    45377‐1314
OLGA LODICO          C/O MERRILL LYNCH                 1325 FRANKLIN AVE., SUITE 400                                   GARDEN CITY          NY    11530
OLGA LOPEZ           424 S 9TH ST                                                                                      SAGINAW              MI    48601‐1941
OLGA LOVSIN          499 S BRIER PATCH LN                                                                              MADISON              OH    44057‐3160
OLGA LUCAS           7 ENCINITAS DR                                                                                    TOMS RIVER           NJ    08757‐5758
OLGA LUCIO           13217 MERCIER ST                                                                                  SOUTHGATE            MI    48195‐1223
OLGA LYLYK           10500 HOLLAND ROAD                                                                                TAYLOR               MI    48180‐3045
OLGA M SMITH         194 WADSWORTH AVE                                                                                 TONAWANDA            NY    14150‐5119
OLGA M VELEZ         5920 PATRICIA RYAN DR                                                                             CHARLOTTE            NC    28216
OLGA MALLICK         1016A ABERDEEN DR                                                                                 LAKEWOOD             NJ    08701‐7912
OLGA MANUS           1312 MEADOWBROOK AVE SE                                                                           WARREN               OH    44484‐4564
OLGA MARTINEZ        2834 HAMPSHIRE ST                                                                                 SAGINAW              MI    48601‐4563
OLGA MARTINEZ        5900 BRIDGE RD APT 601                                                                            YPSILANTI            MI    48197‐7009
OLGA MATUSIK         125 ACACIA CIRCLE #207E                                                                           INDIAN HEAD PARK     IL    60525
OLGA MCGANN          83 SUMMER HILL GLN                                                                                MAYNARD              MA    01754‐1557
OLGA MEIXNER         20375 CENTER RIDGE RD APT 335                                                                     ROCKY RIVER          OH    44116‐3564
OLGA MEYER           44 CURRY RD                                                                                       HASTINGS ON HUDSON   NY    10706‐4019
OLGA MICHAEL         5648 3 MILE RD                    C/O CAROL L TAYLOR                                              BAY CITY             MI    48706‐9031
OLGA MILEWSKI        8738 S 81ST CT                                                                                    HICKORY HILLS        IL    60457‐1440
OLGA MILLER          APARTMENT BUILDING                517‐20 S PORT ST                           TORONTO ON M6S‐4Y8
                                                                                                  CANADA
OLGA MOBERG          628 SPOKANE AVE                                                                                   LANSING              MI    48910‐5478
OLGA MOCKBEE         500 SUNNYCLIFF PL                                                                                 CENTERVILLE          OH    45459‐4433
OLGA MORABITO        3 HOGAN PL                                                                                        YONKERS              NY    10706‐2805
OLGA N SAMPLE        842 CEDER WAY                                                                                     BOARDMAN             OH    44512
OLGA NEFF            255 MAYER RD APT 284                                                                              FRANKENMUTH          MI    48734‐1372
OLGA NICKOLENKO      9400 CONANT STREET                                                                                HAMTRAMCK            MI    48212‐3538
OLGA NIKOLSKY        1118 E ROWLAND ST                                                                                 FLINT                MI    48507‐4147
OLGA OUBINA          9 LIBERTY CIR                                                                                     PALM COAST           FL    32164‐8711
OLGA PASCOE          1354 DELTONA BLVD                                                                                 SPRING HILL          FL    34606‐4411
OLGA PELAEZ          7021 SW 129TH AVE APT 6                                                                           MIAMI                FL    33183‐5296
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Name                  Address1                      Address2            Address3         Address4              City             State Zip
OLGA PEZIK            3000 ESSEX RD                 APT FT 215                                                 TINTON FALLS      NJ 07753‐2631
OLGA PORTER           155 INDEPENDENCE AVE                                                                     PALM HARBOR       FL 34684‐1415
OLGA PRESTON          2121 4TH ST APT 6                                                                        MONROE            WI 53566‐1270
OLGA PROCYK           4679 LEHIGH DR                                                                           TROY              MI 48098‐4405
OLGA PTASZNYK         1347 VAN VLEET RD                                                                        SWARTZ CREEK      MI 48473‐9708
OLGA PURINGTON        2487 SPRINGBROOK ST                                                                      THOUSAND OAKS     CA 91362‐1147
OLGA RAJKOVIC         4295 W COLLEGE AVE                                                                       MILWAUKEE         WI 53221‐4548
OLGA RAKUN            904 JEFFERSON AVENUE                                                                     SHEBOYGAN         WI 53081‐4421
OLGA REYNOLDS         7482 COUNTRY MEADOW DR                                                                   SWARTZ CREEK      MI 48473‐1410
OLGA RICKENS          7890 N PORT WASHINGTON CT                                                                MILWAUKEE         WI 53217‐3126
OLGA ROBLEDO          9967 MERCEDES                                                                            REDFORD           MI 48239‐2341
OLGA ROCHA            121 E WAYNE ST                                                                           PAULDING          OH 45879‐1503
OLGA ROEMENSKY        INDEPENDENT VILLAGE           8690 SHARON DR                                             WHITE LAKE        MI 48386‐3473
OLGA RUTH             13 BETHANY CT                                                                            TRENTON           NJ 08610‐1722
OLGA SAMPLE           842 CEDAR WAY                                                                            BOARDMAN          OH 44512‐5109
OLGA SCIPIONI         4 MARSHALL PL                                                                            OSSINING          NY 10562‐3518
OLGA SHEPRAK          27955 SUTHERLAND DR                                                                      WARREN            MI 48088‐4850
OLGA SIBO             3614 CAMDEN CT                                                                           AUBURN HILLS      MI 48326‐1885
OLGA SIPPERT          6467 BALDWIN RD                                                                          SWARTZ CREEK      MI 48473‐9104
OLGA SLATINA          14164 SHADY WOOD APT F 77                                                                PLYMOUTH          MI 48170
OLGA SMITH            194 WADSWORTH AVE                                                                        TONAWANDA         NY 14150‐5119
OLGA SPARKMAN         824 S 50TH ST                                                                            BALTIMORE         MD 21222‐1229
OLGA TAYLOR           847 JACOBS CT                                                                            CHICO             CA 95926‐8661
OLGA TAYLOR           847 JACOBS COURT                                                                         CHICO             CA 95926‐8661
OLGA TELLEZ           15332 LEAHY AVE                                                                          BELLFLOWER        CA 90706‐3730
OLGA TOMASZ           72 ELIOT ST                                                                              ASHLAND           MA 01721‐2208
OLGA TREVINO          2315 SOWELL MILL PIKE                                                                    COLUMBIA          TN 38401‐8044
OLGA VAN HULLE        19363 MACINTOSH DRIVE                                                                    CLINTON TWP       MI 48036‐1858
OLGA VARNAS           696 WOLVERINE DR                                                                         WOLVERINE LAKE    MI 48390‐2367
OLGA VESCIO           11508 W KANSAS AVE                                                                       YOUNGTOWN         AZ 85363‐1629
OLGA VIRA             579 SIDORSKE AVE                                                                         MANVILLE          NJ 08835‐1903
OLGA WALCZAK          7040 SW 25TH ST                                                                          MIRAMAR           FL 33023‐3739
OLGA WILLIAMS         1021 23RD ST                                                                             OKEECHOBEE        FL 34974‐0208
OLGA WILLIBY          6072 EVERGREEN LN                                                                        GRAND BLANC       MI 48439‐9642
OLGA WILSON           9650 S 200 W                                                                             BUNKER HILL       IN 46914‐9437
OLGA WINTERS          3852 WATERBURY DR                                                                        DAYTON            OH 45439‐2441
OLGA WINTERS          3852 WATERBURY DR                                                                        DAYTON            OH 45439‐2441
OLGA WYSZOMIERSKI     VIA APPIANO #8                                                     ROME FA ITALY 00136
OLGA ZACHARIJ         3861 DORA DR                                                                             WARREN           MI 48091‐6106
OLGA ZWAIG            3500 MYSTIC POINT DR          APT 1002                                                   AVENTURA         FL 33180
OLGA, LYLYK
OLGAARD, GLORIA M     635 MAPLE CREST DR                                                                       FRANKENMUTH      MI   48734‐9333
OLGER, JAMIE L        71 W SHERWOOD RD                                                                         OKEMOS           MI   48864‐1234
OLGER, JERRY A        PO BOX 1294                                                                              BRIGHTON         MI   48116‐2894
OLGER, LYNN E         2406 DIVINE HWY                                                                          LYONS            MI   48851‐9775
OLGER, RICHARD L      1383 E STATE RD                                                                          LANSING          MI   48906‐5603
OLGES MICHAEL R       9433 HARRODSBURG RD                                                                      HARRODSBURG      IN   47434
OLGINE JR, TIBURCIO   9308 LEWIS RD                                                                            PORTLAND         MI   48875‐1944
OLGINE, ANTONIO       3460 S GLEANER RD                                                                        SAGINAW          MI   48609‐9149
OLGINE, KATIE V       4665 S MICHELLE                                                                          SAGINAW          MI   48601‐6632
OLGINE, LORELEI H     9308 LEWIS RD                                                                            PORTLAND         MI   48875‐1944
OLGINE, PETER         4898 LAVONNE COURT SOUTH                                                                 FARGO            ND   58104‐6039
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Name                  Address1                        Address2                   Address3             Address4           City             State Zip
OLGUIN, ALVARO F      13609 JUSTICE CT                                                                                   EULESS            TX 76040‐8967
OLGUIN, JOSE C        3535 GREENS MILL ROAD                                                                              SPRING HILL       TN 37174‐2126
OLGUIN, JOSE C        PO BOX 1684                                                                                        SPRING HILL       TN 37174‐1684
OLGUIN, RONALD        3924 LA SOMBRA RD SW                                                                               ALBUQUERQUE       NM 87105‐6135
OLGUIN, THOMAS A      PO BOX 40097                                                                                       FORT WORTH        TX 76140‐0097
OLICE MONDAY          399 SHADY BROOK HTS                                                                                GREENWOOD         IN 46142
OLICH, GARY G         9500 MEDLAR WOODS CT                                                                               MIAMISBURG        OH 45342‐4366
OLIE BACON            28186 UNIVERSAL DR                                                                                 WARREN            MI 48092‐2432
OLIE BOAK             900 FRANKLIN AVE                                                                                   CAMPBELL          MO 63933‐2006
OLIE MC MILLIAN       9054 NORTHLAWN ST                                                                                  DETROIT           MI 48204‐2786
OLIE PETTIE           113 HEMLOCK WAY                                                                                    BLUEFIELD         VA 24605‐1341
OLIE SINGLETON        147 MAIN ST NW                                                                                     LILBURN           GA 30047‐5059
OLIER, CORA I         SHANNON LAW FIRM                100 W GALLATIN ST                                                  HAZLEHURST        MS 39083‐3007
OLIETA BOULDREY       4742 BONANZA DR NE                                                                                 SALEM             OR 97305‐3308
OLIF JONES            252 DOVER CT                                                                                       DIMONDALE         MI 48821‐9776
OLIGER, FREDERICK W   6637 GLENEAGLES CIR                                                                                TEMPERANCE        MI 48182‐2222
OLIGNEY, JEREMY
OLIJNYK, NATALIA      13719 ENGER RD                                                                                     POSEN            MI   49776‐9218
OLIJNYK, NATALIA      13719 ENGER RD.                                                                                    POSEN            MI   49776‐9218
OLILLIAN ELLIS        2830 ASH GLEN AVE                                                                                  LANCASTER        CA   93536‐5800
OLIMPIA COSTA         15321 ISABELLA CT                                                                                  CORPUS CHRISTI   TX   78418‐6968
OLIMPIA HERNANDEZ     APT 17C                         1230 NORTH STATE PARKWAY                                           CHICAGO          IL   60610‐2287
OLIMPIO, MANUEL A     13745 CARL ST                                                                                      PACOIMA          CA   91331‐3719
OLIN SR, MATTHEW J    3707 FALCON RIDGE DR                                                                               JANESVILLE       WI   53548
OLIN ALLEN            16461 TURNER RD                                                                                    LANSING          MI   48906‐2370
OLIN ARMISTEAD        135 COLQUITT ST                                                                                    MONROE           GA   30655‐2517
OLIN BRASS            SHEDRICK FOSTER                 427 N SHAMROCK ST                                                  EAST ALTON       IL   62024‐1174
OLIN BROADWATER       PO BOX 208                                                                                         MIDLAND          MD   21542‐0208
OLIN BURKE            871 N HIX RD                                                                                       WESTLAND         MI   48185‐8803
OLIN CHASTAIN JR      2385 BRASELTON HWY                                                                                 BUFORD           GA   30519‐5210
OLIN CONRAD           334 GEORGE AVE                                                                                     BALTIMORE        MD   21221‐3733
OLIN ELLISON          250 IMAD CT                                                                                        FAIRBURN         GA   30213‐3164
OLIN FLOWERS          237 HANNAH LN                                                                                      MADISONVILLE     TN   37354‐6997
OLIN HARKLEROAD       11349 MAHONING AVE                                                                                 NORTH JACKSON    OH   44451‐9618
OLIN J FLOWERS        237 HANNAH LANE                                                                                    MADISONVILLE     TN   37354‐6997
OLIN MALLORY          2351 ROSEWAE DR                                                                                    YOUNGSTOWN       OH   44511‐2240
OLIN MC CLURE         2451 SE 178TH AVE                                                                                  SILVER SPRINGS   FL   34488‐6298
OLIN NEVELS           11432 GRAVENHURST DR                                                                               CINCINNATI       OH   45231‐1237
OLIN RICHARD          1934 PASO ROBLE WAY                                                                                MADISON          WI   53716‐2421
OLIN SKINNER          5121 TIMBERCREST DR                                                                                GAINESVILLE      GA   30504‐9040
OLIN SORRELLS         8344 WINDOVERS DR                                                                                  INDIANAPOLIS     IN   46259‐6787
OLIN SR, MATTHEW J    3707 FALCON RIDGE DR                                                                               JANESVILLE       WI   53548
OLIN W PHILLIPS       ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON       IL   62024
                                                      ANGELIDES & BARNERD LLC
OLIN, ANTHONY S       3370 E HARTMAN RD                                                                                  COLUMBIA CITY    IN   46725‐9056
OLIN, CARL A          716 67TH ST W                                                                                      BRADENTON        FL   34209‐3534
OLIN, DEAN M          155 BEAVER LAKE DR                                                                                 WEST UNION       SC   29696‐3201
OLIN, HELEN R         1685 LEISURE DR                                                                                    CLEARWATER       FL   33756‐1829
OLIN, JACK G          996 CLELAND DR                                                                                     CHAPEL HILL      NC   27517‐5622
OLIN, JEFFREY R       W2025 GIESE RD                                                                                     JUDA             WI   53550‐9800
OLIN, KAREN E.        202 12TH ST                                                                                        NILES            OH   44446‐4320
OLIN, KAREN E.        202 12TH STREET                                                                                    NILES            OH   44446‐4320
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Name                        Address1                          Address2                      Address3   Address4         City                 State Zip
OLIN, MARIAN H              3707 FALCON RIDGE DR.                                                                       JANESVILLE            WI 53548
OLIN, MARJORIE D            1865 YOSEMITE DRIVE                                                                         OKEMOS                MI 48864‐3852
OLIN, MATTHEW J             6715 BRIDLE TRAIL LN                                                                        HIGH RIDGE            MO 63049‐2061
OLIN, MAY R                 131 PALM AVE APT 47                                                                         JUPITER               FL 33477‐5134
OLIN, MURIEL A              6052 OAK CREEK DR                                                                           SWARTZ CREEK          MI 48473‐8869
OLIN, RICHARD B             608 CONCORD RD                                                                              MARLBOROUGH           MA 01752‐1675
OLIN, RICHARD W             16011 W FALCON RIDGE DR                                                                     SUN CITY WEST         AZ 85375‐6689
OLIN, ROBERT F              633 HILL ST                                                                                 ORFORDVILLE           WI 53576‐9607
OLIN, ROBERT N              W209 HALFWAY TREE RD                                                                        BRODHEAD              WI 53520‐9107
OLIN, ROBERT P              8744 NORTHSTAR CIR                                                                          SEVILLE               OH 44273‐9170
OLIN, RUSSELL E             1113 CEDAR LAKE DR                                                                          HORSESHOE BEND        AR 72512‐3608
OLIN, STEPHEN R             6231 S IVY LN                                                                               BELOIT                WI 53511‐9430
OLIN, TERRY L               1128 NANTUCKET DR                                                                           JANESVILLE            WI 53546‐1784
OLINATZ, RICHARD
OLIND, TYLER                2901 MONAD RD APT 94                                                                        BILLINGS             MT   59102‐6128
OLINDA FRENCH               3612 IVY ST                                                                                 EAST CHICAGO         IN   46312‐2125
OLINDA MCNEAL               5063 WELL FLEET DR                                                                          TROTWOOD             OH   45426‐1417
OLINDA MCNEAL               5063 WELLFLEET DR                                                                           TROTWOOD             OH   45426
OLINDE, DARYL L             SHANNON LAW FIRM                  100 W GALLATIN ST                                         HAZLEHURST           MS   39083‐3007
OLINDO SANDONA              4112 N STATE RD                                                                             DAVISON              MI   48423‐8501
OLINDO SPINOSI              3833 KARL RD                                                                                COLUMBUS             OH   43224‐2855
OLINE RANISZEWSKI           4180 CROOKS ST                                                                              WEST BLOOMFIELD      MI   48323‐1225
OLINEK, GARY N              4672 TURNER ST                                                                              TRENTON              MI   48183‐4538
OLINEK, GARY NESTOR         4672 TURNER ST                                                                              TRENTON              MI   48183‐4538
OLINGER JR, CHARLES E       886 RIPLEY TER NE                                                                           PALM BAY             FL   32907‐1651
OLINGER JR, OTTIS F         9930 OWENSMOUTH AVE UNIT 13                                                                 CHATSWORTH           CA   91311‐3808
OLINGER JR, WALLACE         260 ASHWAY CT                                                                               DAYTON               OH   45440
OLINGER RONALD E (358183)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510
                                                              STREET, SUITE 600
OLINGER, AARON E            23 STUBBS DR                                                                                TROTWOOD             OH   45426‐3018
OLINGER, BARBARA J          5335 S CAMBRIDGE LN                                                                         GREENFIELD           WI   53221‐3236
OLINGER, CARL C             860 E HILL ST                                                                               WABASH               IN   46992‐2803
OLINGER, CATHI A            127 CONCORD WAY                                                                             CRANBERRY TOWNSHIP   PA   16066‐3701
OLINGER, ELBERT J           1634 KIPLING DR                                                                             DAYTON               OH   45406‐4135
OLINGER, ELBERT JAMES       1634 KIPLING DR                                                                             DAYTON               OH   45406‐4135
OLINGER, GEORGE A           317 W KANSAS ST                                                                             LIBERTY              MO   64068‐2120
OLINGER, GEORGE A           825 TOURAINE AVE                                                                            EAST LANSING         MI   48823‐3044
OLINGER, JACKIE D           435 WEST SCHLEIER                 PO BOX 354                                                FRANKENMUTH          MI   48734
OLINGER, JEFFREY L          11362 NS 3600                                                                               SEMINOLE             OK   74868‐6835
OLINGER, JERRY L            2396 CARAWAY DR                                                                             VENICE               FL   34292‐4175
OLINGER, JESSE J            155 S COURT AVE                   UNIT 2511                                                 ORLANDO              FL   32801‐3217
OLINGER, JOHN E             1422 BENTON RD                                                                              SALEM                OH   44460‐9680
OLINGER, ROBERT R           4434 S DAVIDSON DR                                                                          INDEPENDENCE         MO   64055‐6784
OLINGER, RONALD E           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510‐2212
                                                              STREET, SUITE 600
OLINGER, RUTH E             400 S. MAIN                                                                                 LEWISBURG            OH   45338‐8025
OLINGER, RUTH E             400 S MAIN ST                                                                               LEWISBURG            OH   45338‐8025
OLINGER, SHARON A           5426 MEADOWCREST DR                                                                         FLINT                MI   48532‐4041
OLINGER, SHENELL V          4000 PALOS VERDES CT                                                                        TROTWOOD             OH   45426‐3865
OLINICENCO, LOUISA          32 FIRST ST                                                                                 OXFORD               MI   48371‐4603
OLINICENCO, LOUISA          32 1ST ST                                                                                   OXFORD               MI   48371‐4603
OLINIK, MARY                65 MEYERHILL CIRCLE W                                                                       ROCHESTER            NY   14617‐5113
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Name                     Address1                          Address2             Address3        Address4         City                State Zip
OLINN, COLETTE           7828 MEAD                                                                               DEARBORN             MI 48126‐1033
OLINN, COLETTE           7828 MEAD ST                                                                            DEARBORN             MI 48126‐1033
OLINTHIA SMALL           131 WINTHROP AVE                                                                        ELMSFORD             NY 10523‐1909
OLINTO GRASSESCHI        2516 OAKMONT CT                                                                         SIDNEY               OH 45365‐3657
OLINZOCK, THOMAS J       23411 FILMORE ST                                                                        TAYLOR               MI 48180‐2342
OLION MCCOOL             PO BOX 2                                                                                WINDFALL             IN 46076‐0002
OLIONE SIMPSON JR        11372 JENNINGS RD                                                                       LINDEN               MI 48451‐9432
OLIPHANT, DONALD W       3534 SHENANDOAH AVE                                                                     PORT HURON           MI 48060‐8803
OLIPHANT, ELLEN E        9186 ROCKLAND                                                                           REDFORD              MI 48239‐1835
OLIPHANT, GARY L         215 W 13TH ST                                                                           SALEM                OH 44460‐1103
OLIPHANT, GARY LEE       215 W 13TH ST                                                                           SALEM                OH 44460‐1103
OLIPHANT, JOE D          2451 BLAIRS LANDING RD                                                                  KARNACK              TX 75661‐1707
OLIPHANT, NATHAN L       104 CELIA CIR                                                                           EXCELSIOR SPRINGS    MO 64024‐1113
OLIPHANT, NATHAN LEE     104 CELIA CIR                                                                           EXCELSIOR SPRINGS    MO 64024‐1113
OLIPHANT, RICHARD L      5407 RUSKIN PL W                                                                        INDIANAPOLIS         IN 46224‐1445
OLIPHANT, ROBERT T       7222 NOSTALGIA LN                                                                       INDIANAPOLIS         IN 46214‐3800
OLIPHANT, RUBY IRENE     646 HAYES                                                                               LEXINTON             TN 38351‐1614
OLIPHANT, RUBY IRENE     646 HAYES ST                                                                            LEXINGTON            TN 38351‐1614
OLIPHANT, TERRY G        PO BOX 81                                                                               TURNEY               MO 64493‐0081
OLIPHANT, WILLIAM J      1745 HALBERT DR                                                                         YOUNGSTOWN           OH 44514‐1317
OLIS ELLISON             1350 SMITH RD                                                                           TEMPERANCE           MI 48182‐1034
OLIS M SCHWARZ           200 APPLE BLOSSOM WAY                                                                   CHAMBERSBURG         PA 17201
OLIS, DORA               18611 GINA CT                                                                           CLINTON TWP          MI 48036‐2056
OLISECK, ALTHEA          3320 KEENE RD                                                                           PLANT CITY           FL 33565‐5400
OLISECK, EVELYN          6255 JAMESON                                                                            WATERFORD            MI 48329‐3078
OLISECK, EVELYN          6255 JAMESON DR                                                                         WATERFORD            MI 48329‐3078
OLISECK, LINDA S         479 WILLOW LANE DR                                                                      LAPEER               MI 48446‐8724
OLISECK, STEVEN A        801 HOLLY BUSH DR                                                                       HOLLY                MI 48442‐1322
OLISH, MICHAEL J         1402 PRINCETON DR                                                                       BRUNSWICK            OH 44212‐3572
OLISON, SIGRETT K        3632 MARBLE DR                                                                          INDIANAPOLIS         IN 46227‐8067
OLITA TSATOKE            1276 E COOK RD                                                                          GRAND BLANC          MI 48439‐8369
OLIVA ANTHONY & EILEEN   2 LITTLE FOX CIR                                                                        FAYETTEVILLE         NY 13066‐1732
OLIVA BARKER             6124 UNIT 7 CHESHAM DR.                                                                 NEW PORT RICHEY      FL 34653
OLIVA BUNDRAGE           3845 SPRINGSIDE LN                                                                      COLLEGE PARK         GA 30349‐3553
OLIVA S BUNDRAGE         3845 SPRINGSIDE LN                                                                      COLLEGE PARK         GA 30349‐3553
OLIVA SHAKOOR            16151 SAINT MARYS ST                                                                    DETROIT              MI 48235‐3649
OLIVA, ARIEL
OLIVA, CATHERINE
OLIVA, DANY              320 RICHARD AVENUE                                                                      LANSING             MI 48917‐2716
OLIVA, DENISE
OLIVA, EVA A             1835 WOODLAND AVE                                                                       ADDISON              IL   60101‐1750
OLIVA, EVA A             1835 W WOODLAND AVE                                                                     ADDISON              IL   60101‐1750
OLIVA, FRANCO            101 TERRACE WAY                                                                         ELIZABETH CITY      NC    27909
OLIVA, GREGORY D         2 CERRITO ROJO ROAD                                                                     PLACITAS            NM    87043‐9002
OLIVA, JOHN R            6165 OLD ROSE DR                                                                        LAS VEGAS           NV    89148‐4711
OLIVA, JUANO
OLIVA, JUOQUIN L         1209 TARPON LN                                                                          LADY LAKE           FL 32159‐2475
OLIVA, LUIS              ARRAZOLO LAW PC                   715 TIJERAS AVE NW                                    ALBUQUERQUE         NM 87102‐3076
OLIVA, LUIS              RAGAN JAMES B PC                  723 COLEMAN AVE                                       CORPUS CHRISTI      TX 78401‐3414
OLIVA, LUIS JR
OLIVA, MARGARITA
OLIVA, MARTHA            13010 SW 52ND ST                                                                        MIAMI                FL   33175‐5324
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Name                        Address1                          Address2                      Address3   Address4         City              State Zip
OLIVA, MARTHA               13010 SW 52 ST                                                                              MIAMI              FL 33175‐5324
OLIVA, MICHAEL J            3636 SW 9TH ST APT 17                                                                       MIAMI              FL 33135‐4267
OLIVA, MIGUEL
OLIVA, ODO                  375 W CALEDONIA ST                                                                          LOCKPORT          NY    14094‐2044
OLIVA, PHILIP R             16679 MOCK RD                                                                               BERLIN CENTER     OH    44401‐8713
OLIVA, RAUL O               2105 SW 93RD CT                                                                             MIAMI             FL    33165‐8166
OLIVA, RICHARD P            3349 LINDEN PL                                                                              CANFIELD          OH    44406‐8471
OLIVA, RICHARD P            3349 LINDEN PLACE                                                                           CANFIELD          OH    44406‐8471
OLIVA, VICTOR
OLIVA, VINCENT J            9131 DEWBERRY LN                                                                            ORLAND PARK        IL   60462‐7723
OLIVAR CREDIT CORPORATION   ACCT OF JAMES WOOD
OLIVARES REYNA              OLIVARES, REYNA                   5055 WILSHIRE BLVD STE 300                                LOS ANGELES       CA    90036‐6101
OLIVARES, ESMEREGILDA R     1730 KENDRICK                                                                               SAGINAW           MI    48602‐1125
OLIVARES, ESMEREGILDA R     1730 KENDRICK ST                                                                            SAGINAW           MI    48602‐1125
OLIVARES, EUGENE            65 BENTON RD                                                                                SAGINAW           MI    48602‐1905
OLIVARES, GLADYS            4904 LA PERA CT SE                                                                          RIO RANCHO        NM    87124‐1365
OLIVARES, JOSEFINA          PO BOX 430052                                                                               LAREDO            TX    78043‐0052
OLIVARES, MARIA TERESA      PO BOX 430052                                                                               LAREDO            TX    78043‐0052
OLIVARES, RAMON R           4032 HIGH STREET                                                                            EVERETT           WA    98201‐4830
OLIVARES, RAMON R           165 S OPDYKE RD APT 179                                                                     AUBURN HILLS      MI    48326
OLIVARES, WILLIE            11671 COUNTY ROAD 461                                                                       TYLER             TX    75706‐4821
OLIVAREZ, ANTHONY M         5266 PARK LAKE RD                                                                           EAST LANSING      MI    48823‐3800
OLIVAREZ, BARBARA K         180 S COLONY DR APT 224                                                                     SAGINAW           MI    48638‐6057
OLIVAREZ, DAVID
OLIVAREZ, EDWIN             ROUTE 16 BOX 439‐P                                                                          EDINBURG          TX    78539
OLIVAREZ, EDWIN             RR 16 BOX 439P                                                                              EDINBURG          TX    78542‐8111
OLIVAREZ, EMILIO G          180 S COLONY DR APT 224                                                                     SAGINAW           MI    48538‐5057
OLIVAREZ, ERNEST M          1011 WEMBLEY RD                                                                             ARLINGTON         TX    76014‐2328
OLIVAREZ, ERNESTO           4060 E EVANS RD                                                                             SAN ANTONIO       TX    78259‐1714
OLIVAREZ, ESIQUIEL P        1012 E BUTLER ST                                                                            FORT WORTH        TX    76110‐5705
OLIVAREZ, GILBERTO          7671 STATE RD                                                                               SAGINAW           MI    48609‐9553
OLIVAREZ, HENRY R           1901 E 152ND ST                                                                             OLATHE            KS    66062‐2932
OLIVAREZ, HENRY RICARDO     1901 E 152ND ST                                                                             OLATHE            KS    66062‐2932
OLIVAREZ, JUAN R            PO BOX 8102                                                                                 GRAND RAPIDS      MI    49518‐8102
OLIVAREZ, JUAN REYNA        3107 WLTERS DR                                                                              SAGINAW           MI    48601‐4657
OLIVAREZ, JULIE J           RR 1 BOX 152‐B‐1                                                                            GALVESTON         IN    46932
OLIVAREZ, MANUEL            2060 INTERBAY DR                                                                            SAN JOSE          CA    95122‐1731
OLIVAREZ, MARCELO M         10749 COUNTRYSIDE DR                                                                        GRAND LEDGE       MI    48837‐9146
OLIVAREZ, PATRICIA L        504 HARMONY DR                                                                              BLISSFIELD        MI    49228‐1075
OLIVAREZ, RENE              ERNSTER CLETUS P III              2700 POST OAK BLVD STE 1350                               HOUSTON           TX    77056‐5785
OLIVAREZ, RONALD            900 SPARROW AVE                                                                             LANSING           MI    48910‐1366
OLIVAS, CONSEPCION          HOUSSIERE DURANT HOUSSIERE LLP    1990 POST OAK BLVD STE 800                                HOUSTON           TX    77056‐3851
OLIVAS, CONSEPCION          SILVA LAW FIRM                    1100 S GRANT AVE                                          ODESSA            TX    79761‐6614
OLIVAS, HENRY J             2395 KEITH RD                                                                               W BLOOMFIELD      MI    48324‐3645
OLIVAS, HERLINDA
OLIVAS, JAMES E             PO BOX 18356                                                                                OKLAHOMA CITY     OK    73154‐0356
OLIVAS, JAMES E             829 NW 38TH ST                                                                              OKLAHOMA CITY     OK    73118‐7113
OLIVAS, MARK                22710 STATE HWY 80 80                                                                       RICHLAND CENTER   WI    53581
OLIVAS, NANETTE M           2719 FEDERAL AVE                                                                            EL PASO           TX    79930‐3103
OLIVAS, RAUL
OLIVE ALEXANDER             2957 BERWICK CT                                                                             SAINT CHARLES     MO 63303‐3180
OLIVE ALLPORT               4330 CALEDONIA WAY                                                                          LOS ANGELES       CA 90065‐4814
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Name                          Address1                          Address2                   Address3                  Address4         City              State Zip
OLIVE ARMSTRONG               995 BROADWAY NORTH DR                                                                                   PLAINFIELD         IN 46168‐9302
OLIVE B PYKARE                2975 VAN WYE SE                                                                                         WARREN             OH 44484‐5418
OLIVE BENEDEK                 4057 CRESCENT DR APT 105                                                                                NORTH TONAWANDA    NY 14120‐3714
OLIVE C HERALD                1000 NORTH 16TH ST.RM 338         THE WATERS                                                            NEW CASTLE         IN 47362‐4319
OLIVE CADD                    3965 S GLADWIN RD                                                                                       PRUDENVILLE        MI 48651‐9231
OLIVE CARROLL                 118 POPLAR DR                                                                                           GREENWOOD          SC 29649‐9538
OLIVE CHEATHAM                11 HUNTER ST                                                                                            OSSINING           NY 10562‐4612
OLIVE COFFEY                  106 GARDENDALE RD                                                                                       TERRE HAUTE        IN 47803‐1732
OLIVE DAVIS                   15645 N 35TH AVE APT 172                                                                                PHOENIX            AZ 85053‐3899
OLIVE DENNY                   PO BOX 454                                                                                              CONVERSE           IN 46919‐0454
OLIVE DILLON                  396 HYKES RD                                                                                            GREENCASTLE        PA 17225‐8541
OLIVE DRIVE SMOG AND REPAIR   4525 STATE RD                                                                                           BAKERSFIELD        CA 93308‐4543
OLIVE ELLIOTT                 570 E GOUNDRY ST                                                                                        N TONAWANDA        NY 14120‐6211
OLIVE FEARNOW                 383 BRIARWOOD RD LOT 26                                                                                 MERIDIAN           MS 39305‐9650
OLIVE FRISBEE                 1326 BARHAM AVE                                                                                         JANESVILLE         WI 53548‐1507
OLIVE FRITZ                   105 DEBBIE LN                                                                                           MOUNT MORRIS       MI 48458‐1248
OLIVE FUSCO                   5 WOODCHUCK LN                                                                                          BRISTOL            CT 06010‐2574
OLIVE GEARREN                 19 MAGNOLIA LN                                                                                          TRENTON            NJ 08610‐2314
OLIVE GENE W (401562)         ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                                   NEW YORK           NY 10006‐1638
OLIVE GOINES                  3 WOODY LN                                                                                              PRINTER            KY 41655‐9052
OLIVE GOLNBIEWSKI             8760 E COLONVILLE RD                                                                                    CLARE              MI 48617‐9620
OLIVE GRIFFIN                 1803 E 151ST AVE                                                                                        LUTZ               FL 33549‐3678
OLIVE GRIMALDI                APT 219                           55 RALSTON AVENUE                                                     BUFFALO            NY 14217‐1341
OLIVE H REESE                 P.O. BOX 3228                                                                                           WARREN             OH 44485‐0228
OLIVE HARVEY COLLEGE          10001 S WOODLAWN AVE                                                                                    CHICAGO             IL 60628‐1645
OLIVE HERALD                  1000 NORTH 16TH ST.RM 338         THE WATERS                                                            NEW CASTLE         IN 47362
OLIVE HOWES                   44293 PROVIDENCE DR                                                                                     CLINTON TWP        MI 48038‐1059
OLIVE HUDSON                  1113 NEUBERT AVE                                                                                        FLINT              MI 48507‐1526
OLIVE JARED                   115 4TH AVE S                                                                                           BAXTER             TN 38544‐5150
OLIVE JONES                   315 STEVENS AVE                                                                                         ARNOLD             MD 21012‐1547
OLIVE K GRIFFIN               4436 WILMINGTON PIKE                                                                                    KETTERING          OH 45440‐1961
OLIVE KEITH                   16416 US HIGHWAY 19 N LOT 1006                                                                          CLEARWATER         FL 33764‐6733
OLIVE KEY                     1916 5TH ST                                                                                             BEDFORD            IN 47421‐1902
OLIVE KISSANE                 2220 E LYNN ST                                                                                          ANDERSON           IN 46016‐4635
OLIVE KLINE                   1211 BRABBS ST                                                                                          BURTON             MI 48509‐1919
OLIVE KOSECK                  332 COLLINS AVENUE                                                                                      BUFFALO            NY 14224‐1188
OLIVE KRASZEWSKI              1455 E PIERSON RD                                                                                       FLUSHING           MI 48433‐1814
OLIVE KRUPSKI                 335 GRANDA VISTA DR                                                                                     MILFORD            MI 48380‐3405
OLIVE LAGARDE                 2404 STARLIGHT DR                                                                                       ANDERSON           IN 46012‐1948
OLIVE LE BEAU                 APT 130                           3085 NORTH GENESEE ROAD                                               FLINT              MI 48506‐2191
OLIVE LITTLE                  2141 LILAC LN                                                                                           FLINT              MI 48532‐4181
OLIVE LUTZ                    1109 BERT CIR                                                                                           PENN               PA 15675‐9530
OLIVE MCCAUGHAN               APT A5                            22770 CIVIC CENTER DRIVE                                              SOUTHFIELD         MI 48033‐7151
OLIVE MOUNTAIN MARKET         28795 PLYMOUTH RD                                                                                       LIVONIA            MI 48150‐2335
OLIVE MULLENIX                RR 3                                                                                                    ARCANUM            OH 45304
OLIVE MURPHY (ESTATE OF)      ATTN AARON J DELUCA               DELUCA & NEMEROFF LLP      21021 SPRINGBROOK PLAZA                    SPRING             TX 77379
                                                                                           DR SUITE 150
OLIVE NICHOLSON               PO BOX 195                                                                                              PEKIN             IN   47165‐0195
OLIVE PAGELS                  41150 FOX RUN ROAD                #521 WOOD BRIDGE                                                      NOVI              MI   48377
OLIVE PAINTER                 220 E 2ND AVE                                                                                           ALEXANDRIA        IN   46001‐9012
OLIVE PAPPAS                  423 PATTIE DRIVE                                                                                        BEREA             OH   44017‐2432
OLIVE PLAZERINE               205 OCTOBER SCENIC ROAD                                                                                 WAYNESVILLE       NC   28785‐7226
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Name                              Address1                         Address2                        Address3   Address4                 City               State Zip
OLIVE PRICE                       5830 W IMLAY CITY RD                                                                                 IMLAY CITY          MI 48444‐8501
OLIVE PYKARE                      2975 VAN WYE ST SE                                                                                   WARREN              OH 44484‐5418
OLIVE RATLIFF                     9912 CANDY RD                                                                                        CAMBRIDGE           OH 43725‐9575
OLIVE REDDISH                     205 SIESTA DR APT E                                                                                  TIFFIN              OH 44883‐3473
OLIVE REESE                       PO BOX 3228                                                                                          WARREN              OH 44485‐0228
OLIVE RICHARDS                    9518 JACHURST LN                                                                                     AFFTON              MO 63123‐6332
OLIVE RODGERSON                   10480 E PITTSBURG RD                                                                                 DURAND              MI 48429‐9405
OLIVE RUTLEDGE                    6248 BENNETT RD                                                                                      HUBBARD LAKE        MI 49747‐9607
OLIVE SCHOONOVER                  2820 NAPLES DRIVE                                                                                    HURST               TX 76054‐2261
OLIVE SCOTT                       2527 BLOOMDALE STREET                                                                                DUARTE              CA 91010‐2202
OLIVE SEIBOLD                     1603 S PATRIOT DR                                                                                    YORKTOWN            IN 47396‐9382
OLIVE SIMMONS                     300 CLYDE LN APT 113                                                                                 DUNEDIN             FL 34698‐5914
OLIVE SMITH                       389 NORTH 2ND STREET                                                                                 WEST BRANCH         MI 48661‐1069
OLIVE SORENSON                    13174 N WEBSTER RD                                                                                   CLIO                MI 48420‐8238
OLIVE SUMMITT                     200 W SOUTH ST APT A25                                                                               DAVISON             MI 48423‐1593
OLIVE TAYLOR                      4457 ROBINDALE DR                                                                                    BURTON              MI 48519‐1265
OLIVE THOMAS                      4232 HEATHER LOUISE CT                                                                               GROVE CITY          OH 43123‐1020
OLIVE THOMPSON                    2507 E 35TH ST                                                                                       ANDERSON            IN 46013‐2206
OLIVE THOMPSON                    6070 NORTH RD                                                                                        W JEFFERSON         OH 43162‐9724
OLIVE VANOSS                      277 N HAMILTON RD                                                                                    GAHANNA             OH 43230‐2605
OLIVE WARD                        6121 E AVALON RD                                                                                     JANESVILLE          WI 53546‐9203
OLIVE WELLS                       1304 W SYLVAN CT                                                                                     MUNCIE              IN 47304‐2251
OLIVE WELLS                       814 SORRELL CT                                                                                       LEBANON             IN 46052‐1994
OLIVE WENDELL K (481259)          KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                       CLEVELAND           OH 44114
                                                                   BOND COURT BUILDING
OLIVE WILSON                      1600 DOVER RD                                                               CORNWALL ON K6J1V8
                                                                                                              CANADA
OLIVE WRISTON                     17775 PITTS RD                                                                                       WELLINGTON         OH   44090‐9141
OLIVE ZEDAKER                     511 N UNION ST LOT 13                                                                                BRYAN              OH   43506‐1490
OLIVE, ANDREW W                   1516 EAST 43RD STREET                                                                                ANDERSON           IN   46013‐2508
OLIVE, DAVID                      419 W 10TH ST                                                                                        ANDERSON           IN   46016‐1325
OLIVE, GENE W                     ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                 NEW YORK           NY   10006‐1638
OLIVE, HUGH L                     701 MARKET ST APT 203                                                                                OXFORD             MI   48371‐3574
OLIVE, JOHN C                     89 HAMLIN RD                                                                                         BUFFALO            NY   14208‐1537
OLIVE, ORELL                      371 OLYMPIC AVE                                                                                      BUFFALO            NY   14215‐2746
OLIVE, RICHARD H                  10995 BIG LAKE RD                                                                                    DAVISBURG          MI   48350‐3610
OLIVE, ROBERT E                   14081 FIREWOOD DR                                                                                    BAXTER             MN   56425‐7931
OLIVE, ROBERT G                   2033 NASHBORO BLVD                                                                                   NASHVILLE          TN   37217‐3743
OLIVE, SALLIE                     4306 15 MILE RD                                                                                      STERLING HEIGHTS   MI   48310‐5409
OLIVE, SALVADOR E                 9700 QUAKERTOWN AVE                                                                                  CHATSWORTH         CA   91311‐5524
OLIVE, SARAH                      701 MARKET ST APT 203                                                                                OXFORD             MI   48371‐3574
OLIVE, SARAH                      701 MARKET STREET                #203                                                                OXFORD             MI   48371‐8371
OLIVE, VIVIAN MAY                 7006 S BLUEWATER DR                                                                                  CLARKSTON          MI   48348‐4275
OLIVE, WENDELL K                  KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                        CLEVELAND          OH   44114
                                                                   BOND COURT BUILDING
OLIVE‐FEE FEE AUTOCARE            12909 OLIVE BLVD                                                                                     SAINT LOUIS        MO 63141‐6149
OLIVEAUX, RICHARD                 2559 HIGHWAY 594                                                                                     MONROE             LA 71203‐7317
OLIVEAUX, WALTER L
OLIVEIRA MAFRA, ANDREZZA FREIRE   OSMAR BRINA CORREA LIMA          2583 CURITIBA STREET                       LOURDES BELO HORIZONTE
                                                                                                              MG BRAZIL
OLIVEIRA, BRUNO M                 2778 GARDNER AVE                                                                                     BERKLEY            MI 48072‐1369
OLIVEIRA, DAVID                   1 HIGHLAND AVE                                                                                       DARTMOUTH          MA 02747‐1105
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Name                            Address1                          Address2                        Address3   Address4                City            State Zip
OLIVEIRA, EDWARD                117 VAN TASSEL AVE                                                                                   SLEEPY HOLLOW    NY 10591‐1943
OLIVEIRA, FERNANDO E            197 STACY LN                                                                                         STONEWALL        LA 71078‐9320
OLIVEIRA, JOE M                 36841 NEWARK BLVD APT A                                                                              NEWARK           CA 94560‐3163
OLIVEIRA, LIBERAL
OLIVEIRA, LYDIA                 8 ROBERTSON CT                    C/O ARLENE POMAR                                                   MORRISTOWN      NJ    07960‐5963
OLIVEIRA, MANUEL                140 WAVERLY STREET                                                                                   YONKERS         NY    10701
OLIVEIRA, MARGARET A            30 EUCLID BLVD                                                                                       YOUNGSTOWN      OH    44505‐2012
OLIVEIRA, NELSON V              144 STUYVESANT AVE                                                                                   KEARNY          NJ    07032
OLIVENCIA JAIME (491261)        BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD      OH    44067
                                                                  PROFESSIONAL BLDG
OLIVENE WISSMAN                 174 CANDLE CT                                                                                        ENGLEWOOD       OH    45322‐2743
OLIVER COUGHLIN                 316 BOOTH BAY CT                                                                                     SAINT CHARLES   MO    63304‐5510
OLIVER A & LAVETA P BLACKBURN   1834 JEFFERSON DR                                                                                    MOUNT VERNON    IN    47620
OLIVER ADKINS                   PO BOX 216                                                                                           BOYNE CITY      MI    49712‐0216
OLIVER ALTIG                    GARTENWEG 7                                                                  76707 HAMBR▄CKEN
                                                                                                             GERMANY
OLIVER ARNOLD                   KARL‐THEODOR‐STRASSE 85                                                      MUENCHEN 80796
                                                                                                             GERMANY
OLIVER ARTHUR                   G 4438 W DODGE RD                                                                                    CLIO            MI    48420
OLIVER AVE LAUNDROMAT           ATTN: RAY HALE                    1285 OLIVER AVE                                                    INDIANAPOLIS    IN    46221‐1264
OLIVER BABROW                   1884 MONTGOMERY ST                                                                                   RAHWAY          NJ    07065‐4535
OLIVER BAILEY                   222 LIBERTY RD                                                                                       BLOUNTSVILLE    AL    35031‐5606
OLIVER BAINES                   815 CENTINELA AVE APT 101                                                                            INGLEWOOD       CA    90302‐6221
OLIVER BALL                     BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.     OH    44236
OLIVER BARBEAU                  2800 SW 41ST ST APT 108                                                                              OCALA           FL    34474
OLIVER BARBEE                   4014 ROOKWOOD AVE                                                                                    INDIANAPOLIS    IN    46208‐3840
OLIVER BECK                     PO BOX 34                                                                                            WESTON          MI    49289‐0034
OLIVER BEEMER                   6280 DUNHAM RD                                                                                       HARRISON        MI    48625‐9684
OLIVER BENNETT                  501 NICHOLAS ST                                                                                      DEFIANCE        OH    43512‐1545
OLIVER BLEVINS                  300 E PIKE ST                                                                                        SOUTH LEBANON   OH    45065‐1334
OLIVER BLOCKER JR               25910 FORESTVIEW DR                                                                                  SOUTHFIELD      MI    48033‐6439
OLIVER BONESTEEL & MARGUERITE   13612 WILLIAMSPORT PIKE                                                                              GREENCASTLE     PA    17225
BONESTEEL
OLIVER BOYER                    944 REYNOLDS RD LOT 254           ANGLER COVE WEST                                                   LAKELAND         FL   33801‐6431
OLIVER BRAUN                    AUSTR 14                                                                     96047 BAMBERG GERMANY
OLIVER BROOKS                   8933 BRANDON DR                                                                                      SHREVEPORT      LA    71118‐2341
OLIVER BROOKS JR                1633 W 20TH ST                                                                                       ANDERSON        IN    46016‐3818
OLIVER BROWN                    PO BOX 482                                                                                           BELLEVIEW       FL    34421‐0482
OLIVER BROWN                    7378 KIPLING ST                                                                                      DETROIT         MI    48206‐2625
OLIVER BROWN                    3425 S DAYTON AVE                                                                                    MUNCIE          IN    47302‐5881
OLIVER BROWN                    35211 SHEFFIELD ST                                                                                   WESTLAND        MI    48185‐4443
OLIVER BROWN                    1729 ALVIN ST                                                                                        TOLEDO          OH    43507‐1402
OLIVER BRUMMETT                 515 SAYLOR POINT RD                                                                                  CORINTH         KY    41010
OLIVER BRYANT                   3614 BERWICK DR                                                                                      LANSING         MI    48911‐2100
OLIVER BRYANT                   1512 E 33RD ST                                                                                       MARION          IN    46953‐3837
OLIVER BURNS                    PO BOX 3417                                                                                          HIGHLAND PARK   MI    48203‐0417
OLIVER BUTLER                   520 E MAIN ST SE                                                                                     CALEDONIA       MI    49316‐8227
OLIVER C KENDRICK               5381 SALEM‐BEND DR APT F                                                                             TROTWOOD        OH    45426‐1634
OLIVER C TAYLOR                 116 W 38TH ST                                                                                        WILMINGTON      DE    19802‐2726
OLIVER CHANTELOIS               HC 1 BOX 2002                                                                                        MICHIGAMME      MI    49861‐9610
OLIVER CHAPMAN                  615 N. CAPITOL                                                                                       LANSING         MI    48933
OLIVER CLARK                    844 N 82ND ST                                                                                        E SAINT LOUIS   IL    62203‐1834
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Name                                Address1                         Address2                      Address3            Address4                City            State Zip
OLIVER CLEVINGER JR                 1522 E DRYDEN RD                                                                                           METAMORA         MI 48455‐9308
OLIVER CLINE                        PO BOX 922                                                                                                 MANSFIELD        OH 44901‐8870
OLIVER CONDRA                       656 LINCOLN AVE                                                                                            OWOSSO           MI 48867‐4624
OLIVER CONEY JR                     2726 N CHEVROLET AVE                                                                                       FLINT            MI 48504‐2846
OLIVER CONN                         5109 KIRK RD                                                                                               YOUNGSTOWN       OH 44515‐5025
OLIVER DAUGHERTY                    443 TIMBERLAND DR                                                                                          GEPP             AR 72538‐9644
OLIVER DAVID (ESTATE OF) (453665)   BILMS KEVIN P                    430 CRAWFORD ST STE 202                                                   PORTSMOUTH       VA 23704‐3813
OLIVER DAVIS                        15351 LAWTON ST                                                                                            DETROIT          MI 48238‐2803
OLIVER DAVIS                        1220 E WILLIAMS ST                                                                                         DANVILLE          IL 61832‐4140
OLIVER DAVIS JR                     1706 GREENWOOD CEMETARY RD                                                                                 DANVILLE          IL 61833‐7747
OLIVER DE LONG                      11 SPRAY DR                                                                                                MUNROE FALLS     OH 44262‐1322
OLIVER DILLON                       PO BOX 558                                                                                                 TYLERTOWN        MS 39667‐0558
OLIVER DIXON JR                     4791 LIBERTY CT                                                                                            STERLING HTS     MI 48310‐1942
OLIVER DODSON                       1118 NO PONE VALLEY RD NW                                                                                  GEORGETOWN       TN 37336‐4838
OLIVER DORIS                        123 COUNTY ROAD 1095                                                                                       STREETMAN        TX 75859‐5207
OLIVER DUDLEY                       63 MIAMI RD                                                                                                PONTIAC          MI 48341‐1554
OLIVER DUNCAN                       1500 BARBER HIGHWAY                                                                                        CUMBERLND CTY    TN 37050‐6068
OLIVER E DUDLEY                     63 MIAMI RD                                                                                                PONTIAC          MI 48341‐1554
OLIVER EDISON                       5628 HIGHWAY 15                                                                                            LOUIN            MS 39338‐4219
OLIVER EDWARDS                      1124 SOMERSET LN                                                                                           FLINT            MI 48503‐2926
OLIVER EICHLER                      OBERE REGENSTRASSE 14            93059 REGENSBURG
OLIVER ELDER JR                     994 VALLEY DR                                                                                              GREENSBURG      PA    15601‐1026
OLIVER ENTERPRISES LLC              DBA FABRICATING ENGINEERS CO     4416 N STATE RD                                                           DAVISON         MI    48423‐8538
OLIVER ENTERPRISES LLC              4416 N STATE RD                                                                                            DAVISON         MI    48423‐8538
OLIVER EUGENE (344060)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA    23510
                                                                     STREET, SUITE 600
OLIVER FAMILY MOTORS                1202 N SHADELAND AVE                                                                                       INDIANAPOLIS    IN    46219‐3633
OLIVER FLEMING                      52 S TRUMBULL RD                                                                                           BAY CITY        MI    48708‐9120
OLIVER FOWLER                       1608 DEVERLY DR 850                                                                                        LAKELAND        FL    33801
OLIVER FOY                          3671 W 108TH ST                                                                                            INGLEWOOD       CA    90303‐1913
OLIVER FREGEAU                      3254 RIDGEFIELD CT                                                                                         LOCKPORT        IL    60441‐3971
OLIVER G BLEVINS                    300 E PIKE                                                                                                 SO LEBANON      OH    45065‐1334
OLIVER GAVIN LTD                    1 BLACKWELLS YARD                YARDLEY HASTINGS              NN7 1JX NORTHANTS   ENGLAND GREAT BRITAIN
OLIVER GEORGE                       NEED BETTER ADDRESS 10/03/06CP   931 WEST 75TH STREET                                                      NAPERVILLE      IL    60565
OLIVER GIBBS                        630 CRAZE RD                                                                                               HARTSELLE       AL    35640‐7557
OLIVER GOODWIN                      3623 SADDLEBROOK DR                                                                                        LOGANVILLE      GA    30052‐9105
OLIVER GRAY                         340 WILLOUGHBY RD                                                                                          BEECH BLUFF     TN    38313‐9336
OLIVER GREGORY                      2423 JODI CT                                                                                               MANASQUAN       NJ    08736‐1132
OLIVER GUTTER JR                    334 ORCHARD LAKE RD                                                                                        PONTIAC         MI    48341‐2143
OLIVER H VAN HORN CO LLC            4100 EUPHROSINE ST               REINSTATE 4‐7‐99                                                          NEW ORLEANS     LA    70125‐1313
OLIVER HAGANS                       3715 VICKSBURG DR                                                                                          BIRMINGHAM      AL    35213‐1759
OLIVER HARDY                        5740 EMERALD RIDGE PKWY # A                                                                                SOLON           OH    44139‐1894
OLIVER HAROLD (460093) ‐ OLIVERL    DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                           NORTH OLMSTED   OH    44070
HAROLD
OLIVER HARPER                       3490 CROWN POINT PL                                                                                        DECATUR         GA    30032‐6018
OLIVER HAWVER JR                    29439 JAMES ST                                                                                             GARDEN CITY     MI    48135‐2047
OLIVER HAYES                        2336 FILLMORE AVE                                                                                          BUFFALO         NY    14214‐2102
OLIVER HILLIKER                     11179 ZIEGLER ST                                                                                           TAYLOR          MI    48180‐4321
OLIVER HIXENBAUGH                   1659 DONOVANS PASS NW                                                                                      KENNESAW        GA    30152‐7686
OLIVER HOLCOMBE                     2778 WILLIAM CIR                                                                                           DACULA          GA    30019‐1457
OLIVER HOLMES                       10 ROSARY PLACE MIDLETON                                                           COUNTY CORK IRELAND
OLIVER HOLMES                       MOTLEY RICE LLC                  28 BRIDGESIDE BLVD            P O BOX 1792                                MT PLEASANT      SC   29465
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Name                          Address1                           Address2                      Address3          Address4              City              State Zip
OLIVER HOLMES                 BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.        OH 44236
OLIVER HOOD                   820 SULLIVAN ST                                                                                          DELTONA            FL 32725‐3502
OLIVER HUMPHREYS              600 BELLWOOD DR                                                                                          PARAGOULD          AK 72450
OLIVER I I, ALPHONSO          3170 LODWICK DR NW APT 6                                                                                 WARREN             OH 44485‐1555
OLIVER I I, KENNETH C         7503 LIQUORI CT                                                                                          INDIANAPOLIS       IN 46214‐2204
OLIVER II, ALPHONSO           3170 LODWICK DR NW APT 6                                                                                 WARREN             OH 44485‐1555
OLIVER II, JEFFREY M          5849 CHICKASAW LANE                                                                                      BRASELTON          GA 30517‐6039
OLIVER JACKIE                 1800 W JAMESTOWN DR                                                                                      ENNIS              TX 75119‐2128
OLIVER JASCHOB                WORMERSDORFER STR. 9                                                               MECKENHEIM 53340
                                                                                                                 GERMANY
OLIVER JENKS                  97 STATE ST                                                                                              HOLLEY            NY    14470‐1226
OLIVER JERRY                  49 S GLADE RD                                                                                            FORT OGLETHORPE   GA    30742‐3936
OLIVER JOAN                   488 OLIVER RD                                                                                            CADIZ             KY    42211‐6603
OLIVER JOHNSON                5616 SUNDIAL DR                                                                                          JACKSONVILLE      FL    32209‐2310
OLIVER JOHNSON                16215 WARD ST                                                                                            DETROIT           MI    48235‐4287
OLIVER JOHNSON                PO BOX 842                                                                                               ANDERSON          SC    29622‐0842
OLIVER JOHNSON                C/O NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                         DANGERFIELD       TX    75638
OLIVER JOHNSTON               3562 COUNTY ROAD 1101                                                                                    DAINGERFIELD      TX    75638‐6938
OLIVER JONES                  2545 LIVERPOOL ST                                                                                        AUBURN HILLS      MI    48326‐3426
OLIVER JOSEPH L SR (401522)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                           NORFOLK           VA    23510
                                                                 STREET, SUITE 600
OLIVER JR, COURTNEY           2241 E STATE ROAD 236                                                                                    CHESTERFIELD      IN    46017‐9757
OLIVER JR, EDWARD             7829 BIG BUCK DR                                                                                         BALTIMORE         MD    21244‐2068
OLIVER JR, IKE                604 UNIVERSITY ST                                                                                        TALLULAH          LA    71282‐2036
OLIVER JR, J. D               4463 CAMPBELL AVE                                                                                        INDIANAPOLIS      IN    46226‐3326
OLIVER JR, J. D.              4463 CAMPBELL AVE                                                                                        INDIANAPOLIS      IN    46226‐3326
OLIVER JR, JACK               1833 LOSANTIVILLE AVE              APT# C ‐211                                                           CINCINNATI        OH    45237
OLIVER JR, JOHN               300 PRICE ST                                                                                             AUBURN            MI    48611‐9457
OLIVER JR, JOHN               16504 TRACEY ST                                                                                          DETROIT           MI    48235‐4021
OLIVER JR, LARRY              2319 CALDERWOOD CT                                                                                       MURFREESBORO      TN    37130‐1812
OLIVER JR, LUTHER             938 FRANKLIN LAKES BLVD                                                                                  FRANKLIN          IN    46131‐7462
OLIVER JR, PAUL L             814 S 20TH ST                                                                                            NEWARK            NJ    07108‐1127
OLIVER JR, ROBERT E           383 COLONY DR S                                                                                          ELLENTON          FL    34222‐3342
OLIVER JR, TOMMIE             PO BOX 70621                                                                                             TOLEDO            OH    43607‐0621
OLIVER JR., BENJAMIN          4146 13TH ST                                                                                             ECORSE            MI    48229‐1289
OLIVER JR., CHARLES A         214 SMALLWOOD DR                   C/O CHRISTINE OLIVER LEWIS                                            SNYDER            NY    14226‐4065
OLIVER KAEMER                 ZWENKAUER STR.4
OLIVER KAGLEAR                2454 HATFIELD LN                                                                                         JACKSON           LA    70748‐3310
OLIVER KEAGY                  298 HUNT MASTER TRL                                                                                      ASHEBORO          NC    27205‐2551
OLIVER KENDRICK               5381 SALEM BEND DR APT F                                                                                 TROTWOOD          OH    45426‐1634
OLIVER KIEFFER I I I          10181 MCWAIN RD                                                                                          GRAND BLANC       MI    48439‐2519
OLIVER KIRK                   309 HARGRAVE RD                                                                                          TOLEDO            OH    43615‐5233
OLIVER KLEIN                  FLACHSLAND 16                      22083 HAMBURG
OLIVER KROPF
OLIVER L BATIESTE             C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY, STE 600                                            HOUSTON            TX   77007
                              BOUNDAS LLP
OLIVER L PAUL                 1140 TIMBERCREST DR.                                                                                     YOUNGSTOWN        OH 44505‐1264
OLIVER L STEWART JR           1204 E GENESEE AVE                                                                                       FLINT             MI 48505‐1637
OLIVER LAFONTAINE             12347 N JENNINGS RD                                                                                      CLIO              MI 48420‐8245
OLIVER LAMPERT                ANNOSTR 6                                                                          41462 NEUSS GERMANY
OLIVER LARKIN                 638 SHERWOOD ST                                                                                          HOLLAND           MI 49424
OLIVER LAWRENCE
                           09-50026-mg                Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                       Address1                           Address2                         Address3   Address4                 City            State Zip
OLIVER LAYNE JR            11163 BLOOM RD                                                                                          GARRETTSVILLE    OH 44231‐9774
OLIVER LEACH DONNA         OLIVER LEACH, DONNA                30 E BUTLER AVE                                                      AMBLER           PA 19002‐4514
OLIVER LEE JR              5006 DRIFTWOOD DR                                                                                       LIVERPOOL        NY 13088‐5936
OLIVER LENARDO             1025 VALLEYVIEW DR                                                                                      CLARKSTON        MI 48348‐5202
OLIVER LEWIS               47 VICTORIA BLVD                                                                                        CHEEKTOWAGA      NY 14225‐4012
OLIVER LEWIS               5806 WINTHROP BLVD                                                                                      FLINT            MI 48505‐5103
OLIVER LIKE                14053 LANDINGS WAY                                                                                      FENTON           MI 48430‐1313
OLIVER LONG                702 W CLAY ST                                                                                           HARRISONVILLE    MO 64701‐2104
OLIVER LOWERY              191 W KENNETT RD APT 203                                                                                PONTIAC          MI 48340‐2680
OLIVER M RATLIFF           202 ROYAL OAK DR                                                                                        CLINTON          MS 39056‐5830
OLIVER MAHANA              PO BOX 4                                                                                                ALEDO            TX 76008‐0004
OLIVER MAHONE              5616 LIBERTY CREEK DR E                                                                                 INDIANAPOLIS     IN 46254‐1005
OLIVER MATTISSECK          BEETHOVENSTRASSE 20A                                                           12307 BERLIN GERMANY
OLIVER MAXWELL             8055 NESTLE AVE                                                                                         RESEDA          CA    91335‐1326
OLIVER MAYS                31 COLUMBUS DR                                                                                          MONESSEN        PA    15062‐2201
OLIVER MC DONALD           350 28TH ST N                                                                                           SPRINGFIELD     MI    49037‐4808
OLIVER MCCLELLAN           2701 N GRANVILLE AVE                                                                                    MUNCIE          IN    47303‐2118
OLIVER MCFADDEN            30 LUFFING CT                                                                                           BALTIMORE       MD    21221‐2935
OLIVER MEADOWS             32891 MACKENZIE DR                                                                                      WESTLAND        MI    48185‐1551
OLIVER MELVIN P (481937)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA    23510
                                                              STREET, SUITE 600
OLIVER MILLER              3711 VISTA BLVD                                                                                         SPARKS          NV 89436‐6700
OLIVER MOELLER             AUF DEM MUEHLENBUNGERT 53                                                      D‐53347 ALFTER GERMANY
OLIVER MORRIS              1361 E 110TH ST                                                                                         CLEVELAND       OH 44106‐1301
OLIVER MOUZON              2426 JOHN R RD APT 105                                                                                  TROY            MI 48083‐2584
OLIVER MUELLER             VIRGINIASTRASSE 10                                                             66482 ZWEIBRUCKEN
                                                                                                          GERMANY
OLIVER MURWIN              S1903 COUNTY ROAD A LOT 42                                                                              BARABOO         WI    53913‐9384
OLIVER MYERS JR            9458 WEST RD 400 NORTH                                                                                  SHARPSVILLE     IN    46068
OLIVER NEPHEW              255 MAYER RD APT 121C                                                                                   FRANKENMUTH     MI    48734‐1393
OLIVER NORRIS JR           420 HALF MOON LN                                                                                        BOSSIER CITY    LA    71111‐5570
OLIVER P HARDEN            61 SHORELINE DR                                                                                         COLUMBIA        SC    29229
OLIVER PARKO               2454 HEARTHSIDE DR                                                                                      YPSILANTI       MI    48198‐9215
OLIVER PAUL                1140 TIMBERCREST ST                                                                                     YOUNGSTOWN      OH    44505‐1264
OLIVER PHILLIP (491262)    BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD      OH    44067
                                                              PROFESSIONAL BLDG
OLIVER PICQUET             7949 S LOOMIS BLVD                                                                                      CHICAGO         IL    60620‐3842
OLIVER PITTMAN             36 HUNTINGTON LN                                                                                        COMMERCE        GA    30529‐7735
OLIVER POTTINGER           1834 COLLEEN DR                                                                                         N HUNTINGDON    PA    15642‐4402
OLIVER POWELL              6451 KINDRED SQ                                                                                         DAYTON          OH    45449‐3521
OLIVER PRUDHOMME           188 W FAIRMOUNT AVE                                                                                     PONTIAC         MI    48340‐2738
OLIVER QUARLES             417 N 20TH ST                                                                                           SAGINAW         MI    48601‐1310
OLIVER R ABERNATHY III     4558 GARDENDALE AVE                                                                                     DAYTON          OH    45427
OLIVER R FOWLER            1608 DEVERLY DR                                                                                         LAKELAND        FL    33801‐0384
OLIVER R SPILLMAN          3170 E STROOP RD APT 209                                                                                KETTERING       OH    45440‐1365
OLIVER RICHARD             OLIVER, RICHARD                    120 WEST MADISON STREET , 10TH                                       CHICAGO         IL    60602
                                                              FLOOR
OLIVER RIDGE               607 NE MAIN ST                                                                                          LEES SUMMIT     MO 64063‐2338
OLIVER RINGER              3 N STONE AVE                                                                                           ELLSINORE       MO 63937‐8216
OLIVER ROBERT R (416947)   PERSKY JOEL                        4901 TOWNE CENTRE ROAD , STE                                         SAGINAW         MI 48604
                                                              310
OLIVER S HAGANS            3716 VICKSBURG DRIVE                                                                                    BIRMINGHAM       AL   35213
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Name                        Address1                         Address2                          Address3             Address4            City            State Zip
OLIVER S PATTERSON          PO BOX 320728                                                                                               FLINT            MI 48532‐0013
OLIVER S STALLINGS          6050 N CALLE MIO                                                                                            PHOENIX          AZ 85014
OLIVER SANDERS JR           13935 METTETAL ST                                                                                           DETROIT          MI 48227‐1746
OLIVER SAWYERR
OLIVER SMITH                50 LAKE ST JAMES AP 13‐004                                                                                  CONYERS         GA    30094
OLIVER SMITH                1607 SOLITUDE DR                                                                                            DALLAS          TX    75241‐2735
OLIVER SPILLMAN             3170 E STROOP RD APT 209                                                                                    KETTERING       OH    45440‐1365
OLIVER SR, LARRY            24 S ROSELAWN ST                                                                                            PONTIAC         MI    48342‐2838
OLIVER SR, LARRY D          9438 WINDHAM PARKMAN RD                                                                                     WINDHAM         OH    44288‐9704
OLIVER STALLWORTH           1370 KENNETH ST                                                                                             YOUNGSTOWN      OH    44505‐3826
OLIVER STEGMAN              7482 ZION HILL RD                                                                                           CLEVES          OH    45002‐9694
OLIVER STEWART JR           1204 E GENESEE AVE                                                                                          FLINT           MI    48505‐1637
OLIVER T POWELL             6451 KINDRED SE                                                                                             DAYTON          OH    45449‐3521
OLIVER TAYLOR               7239 E RIVER RD                                                                                             RUSH            NY    14543‐9747
OLIVER TAYLOR               1642 S GRANT AVE                                                                                            INDIANAPOLIS    IN    46203‐3419
OLIVER TAYLOR               116 W 38TH ST                                                                                               WILMINGTON      DE    19802‐2726
OLIVER TAYLOR               5917 WINNER AVE                                                                                             BALTIMORE       MD    21215‐3801
OLIVER THOMAS               44819 GREENBRIAR DR                                                                                         VAN BUREN TWP   MI    48111‐5136
OLIVER THOMAS               C/O BRAD THOMAS                  1618 CHARLES AVE APT 7                                                     SAINT PAUL      MN    55104‐2279
OLIVER THOMPSON             PO BOX 3043                                                                                                 ANDERSON        IN    46018‐3043
OLIVER THOMPSON JR          812 BETHANY ST                                                                                              SAGINAW         MI    48601‐1418
OLIVER TORRENCE             4273 SHERIDAN RD                                                                                            SAGINAW         MI    48601‐5026
OLIVER TOWNSEND             3933 HILAND ST                                                                                              SAGINAW         MI    48601‐4160
OLIVER TOWNSHIP             PO BOX 205                                                                                                  ELKTON          MI    48731‐0205
OLIVER TRANSPORTATION INC   PO BOX 720                                                                                                  MEXICO          MO    65265‐0720
OLIVER TRUCKING LLC         1101 HARDING CT                                                                                             INDIANAPOLIS    IN    46217‐9531
OLIVER TUCKER II            3214 RUST AVE                                                                                               SAGINAW         MI    48601‐3147
OLIVER TURNAGE              2125 LAMBDEN RD                                                                                             FLINT           MI    48532‐4643
OLIVER VALIANT JR           10124 ELBA LN                                                                                               SAINT LOUIS     MO    63137‐2915
OLIVER W HODGE              1263A HODGE RD                                                                                              JACKSON         MS    39209
OLIVER WANDA                210 IBERIS DR                                                                                               ARLINGTON       TX    76018‐1405
OLIVER WANTIN               1001 ERIE ST                                                                                                PORT HURON      MI    48060‐3605
OLIVER WAY & JONES          110 E KALISTE SALOOM RD          PO BOX 80655                                                               LAFAYETTE       LA    70508
OLIVER WEEKLEY              901 RAYMOND RD                                                                                              OWOSSO          MI    48867‐1549
OLIVER WEISS                BERGHOELZLEWEG 12                                                                       78357 MUEHLINGEN
                                                                                                                    GERMANY
OLIVER WHITAKER CO.         1510 DAIRY AVE                                                                                              CORCORAN        CA 93212‐2746
OLIVER WICKLUND             C/O COONEY AND CONWAY            120 NORTH LASALLE 30TH FLOOR                                               CHICAGO         IL 60602
OLIVER WILLIAM              OLIVER, WILLIAM                  110 E KALISTE SALOOM RD STE 101                                            LAFAYETTE       LA 70508‐8509

OLIVER WILLIAM LARSON       ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS          707 BERKSHIRE BLVD   PO BOX 521          EAST ALTON       IL   62024
                                                             ANGELIDES & BARNERD LLC
OLIVER WILLIAMS             43873 PINOT NOIR DR                                                                                         STERLING HTS    MI    48314‐1801
OLIVER WOODS                PO BOX 306                                                                                                  SMITHS GROVE    KY    42171‐0306
OLIVER WREN                 630 SPENCER ST                                                                                              FLINT           MI    48505‐4277
OLIVER, AARON               APT 202                          11035 MOLLERUS DRIVE                                                       SAINT LOUIS     MO    63138‐3938
OLIVER, ADRIENNE            3637 EVERGREEN PKWY                                                                                         FLINT           MI    48503‐4531
OLIVER, ALFRED D            7439 WILSON RD                                                                                              MONTROSE        MI    48457‐9171
OLIVER, ALICE Y             1883 NISKEY LAKE RD SW                                                                                      ATLANTA         GA    30331‐6414
OLIVER, ALLEN L             1470 HILLSDALE DR                                                                                           DAVISON         MI    48423‐2326
OLIVER, ALLEN W             9921 FRAZIER DR                                                                                             HILLSBORO       MO    63050‐3552
OLIVER, ALONZA M            3677 BENSON ST                                                                                              DETROIT         MI    48207‐2424
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Name                    Address1                      Address2                        Address3   Address4         City               State Zip
OLIVER, ALPHONSO        128 ASPEN DR NW                                                                           WARREN              OH 44483‐1175
OLIVER, ALTHEA M        PO BOX 72                                                                                 CARROLLTON          MI 48724‐0072
OLIVER, ALVIN A         9261 OAK RD                                                                               OTISVILLE           MI 48463‐9745
OLIVER, ALYCE L         6613 PARKBELT DR              C/O SANDRA DEMPS                                            FLINT               MI 48505‐1930
OLIVER, AMANDA          10054 WESTWOOD ST                                                                         DETROIT             MI 48228‐1329
OLIVER, AMELIA L        PO BOX 595                                                                                DULUTH              GA 30096‐0011
OLIVER, ANDREA A        419 WINIFRED AVE                                                                          LANSING             MI 48917‐2753
OLIVER, ANDREA L        6822 REGENTS PARK BLVD                                                                    TOLEDO              OH 43617‐1247
OLIVER, ANNETTE M       5740 DEER CREEK LN                                                                        WESTMONT             IL 60559‐2113
OLIVER, ARTHUR J        17 GENTIAN WAY                                                                            FAIRPORT            NY 14450‐9210
OLIVER, B A             W287N8610 CENTER OAK RD                                                                   HARTLAND            WI 53029‐9581
OLIVER, BARBARA J       3294 HARTLEY DR                                                                           ADRIAN              MI 49221‐9247
OLIVER, BEATRICE B      RT 2 9375 SCOTT RD                                                                        ROSWELL             GA 30076
OLIVER, BENJAMIN E      415 DOVER PARK TRL                                                                        MANSFIELD           TX 76063‐8804
OLIVER, BETH E          5182 CONNECTICUT DR           UNIT 2                                                      SACRAMENTO          CA 95841
OLIVER, BETH E          5182 CONNECTICUT DR APT 2                                                                 SACRAMENTO          CA 95841‐3938
OLIVER, BETTY           2319 CALDERWOOD CT                                                                        MURFREESBORO        TN 37130‐1812
OLIVER, BETTY           1701 W COMMERCE AVE LOT 188                                                               HAINES CITY         FL 33844‐3284
OLIVER, BETTY J         RT 1 2848 HOCKADAY RD                                                                     GLADWIN             MI 48624‐9759
OLIVER, BETTY KATHRYN   26595 SCHERER AVE                                                                         ARCADIA             IN 46030‐9481
OLIVER, BILLIE          9165 CHATWELL CLUB DR APT5                                                                DAVIDSON            MI 48423‐2856
OLIVER, BILLIE A        801 18TH ST                                                                               JACKSON             MI 49203‐1419
OLIVER, BILLY J         6232 BALFOUR DR                                                                           LANSING             MI 48911‐5438
OLIVER, BONNIE M        905 TAYLOR RD                                                                             GLENCOE             AL 35905‐1227
OLIVER, BOOKER          2981 E OUTER DR                                                                           DETROIT             MI 48234‐2226
OLIVER, BOYD T          7688 BANCROFT RD                                                                          BANCROFT            MI 48414‐9427
OLIVER, CALEB A.M       9245 LITTLE RICHMOND RD                                                                   BROOKVILLE          OH 45309‐9396
OLIVER, CARL E          400 TEAKWOOD LN                                                                           SPRINGBORO          OH 45066‐9709
OLIVER, CARL E          400 TEAKWOOD LANE                                                                         SPRINGBORO          OH 45066‐9709
OLIVER, CAROL A         510 E KNIGHT ST                                                                           EATON RAPIDS        MI 48827‐1357
OLIVER, CAROL A         510 E KNIGHT                                                                              EATON RAPIDS        MI 48827‐1357
OLIVER, CAROLYN J       95 COLUMBIAVILLE RD                                                                       COLUMBIAVILLE       MI 48421‐9788
OLIVER, CARROL F        6159 STATE ROUTE 46                                                                       CORTLAND            OH 44410‐9666
OLIVER, CATHERINE       11031 SUGAR PINES CT APT C                                                                FLORISSANT          MO 63033‐8263
OLIVER, CATHERINE       6114 NEFF RD                                                                              MOUNT MORRIS        MI 48458‐2753
OLIVER, CATHERINE M     354 MORRISON AVE                                                                          SALEM               NJ 08079‐2120
OLIVER, CHAREE L        5961 BIG NANCE DR 301                                                                     RALEIGH             NC 27616
OLIVER, CHARLES E       2473 CASHES VALLEY RD                                                                     CHERRY LOG          GA 30522‐2014
OLIVER, CHARLES E       983 VASSAR CT                                                                             FAIRFIELD           OH 45014‐2838
OLIVER, CHERYL L        751 10TH STREET EAST          APT 120                                                     PALMETTO            FL 34221
OLIVER, CHERYL L        751 10TH ST E LOT 120                                                                     PALMETTO            FL 34221‐5353
OLIVER, CHRIS A         510 W MARKET ST                                                                           SPRINGBORO          OH 45066‐1152
OLIVER, CHRISTOPHER J   12415 STATE ROUTE 774                                                                     BETHEL              OH 45106‐8641
OLIVER, CLARABELLE R    6107 W 250 S                                                                              DELPHI              IN 46923‐8888
OLIVER, CLARENCE E      22840 TWYCKINGHAM WAY                                                                     SOUTHFIELD          MI 48034
OLIVER, CLARENCE M      C/O MARIE P HICKS‐OLIVER      1901 S. BROOKSTONE VILLAGE DR   APT 301                     INDEPENDENCE        MO 64057
OLIVER, CLAUDE M        885 DURSLEY RD                                                                            BLOOMFIELD HILLS    MI 48304‐2011
OLIVER, CLAUDIA L       APT 1118                      3091 COBB PARKWAY NORTHWEST                                 KENNESAW            GA 30152‐8002

OLIVER, CLEE R          PO BOX 1012                                                                               KOKOMO             IN 46903‐1012
OLIVER, CONCETTA F      2640 MARISSA WAY                                                                          SHELBY TOWNSHIP    MI 48316‐1296
OLIVER, CONNIE          341 7TH ST APT 8                                                                          DECATUR            MS 39327‐9664
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Name                     Address1                      Address2                  Address3   Address4         City                   State Zip
OLIVER, CRAIG T          6742 SQUAW LAKE RD NE                                                               KALKASKA                MI 49646‐9721
OLIVER, CYNTHIA Y        121 W CHAPPELL ST                                                                   GRIFFIN                 GA 30223‐2922
OLIVER, CYNTHIA YVONNE   121 W CHAPPELL ST                                                                   GRIFFIN                 GA 30223‐2922
OLIVER, DANA M           1070 PATIENCE DR                                                                    FLORISSANT              MO 63034
OLIVER, DANIEL           8625 CANTERBERRY LN APT 8                                                           NEWPORT                 MI 48166‐9340
OLIVER, DANIEL           PO BOX 1224                                                                         MONROE                  MI 48161
OLIVER, DANIEL L         359 WARBURTON AVE.                                                                  YONKERS                 NY 10701
OLIVER, DANIEL S         62 HARVEST POINT CT                                                                 SAINT PETERS            MO 63376‐7318
OLIVER, DARLA            COLLETT SAM J JR              602 WILLIS AVE                                        BOGALUSA                LA 70427‐3002
OLIVER, DARRELL R        3018 YALE DR                                                                        JANESVILLE              WI 53548‐6715
OLIVER, DAVID            4095 MONYIVRLLO NLBF                                                                CLEVELAND HTS           OH 44121
OLIVER, DAVID            1683 POPLAR DR                                                                      TROY                    MI 48098‐1916
OLIVER, DAVID            BILMS KEVIN P                 430 CRAWFORD ST STE 202                               PORTSMOUTH              VA 23704‐3813
OLIVER, DAVID E          14544 CROFTON DR                                                                    SHELBY TWP              MI 48315‐4417
OLIVER, DAVID G          PO BOX 1543                                                                         HOLMES BEACH            FL 34218‐1543
OLIVER, DAVID J          6457 LOTUS CT                                                                       WATERFORD               MI 48329‐1346
OLIVER, DAVID L          226 COUNTY ROAD 3436                                                                ATLANTA                 TX 75551‐5705
OLIVER, DAVID L          41975 WILLIS RD                                                                     BELLEVILLE              MI 48111‐8718
OLIVER, DAVID M          4944 LITTLE RICHMOND RD                                                             TROTWOOD                OH 45426‐3206
OLIVER, DAVID M          4635 HIGHWAY Z                                                                      BATES CITY              MO 64011‐8335
OLIVER, DAVID W          9804 HOWLAND SPRINGS RD SE                                                          WARREN                  OH 44484‐3111
OLIVER, DEBORAH D        3300 SWANEE DR                                                                      LANSING                 MI 48911‐3325
OLIVER, DEBORAH M        1322 LINDEN AVE                                                                     JANESVILLE              WI 53548‐2882
OLIVER, DEMETRIUS J      14020 ROBINSON ST APT 1001                                                          OVERLAND PARK           KS 66223
OLIVER, DENNIS K         2404 RITA CT                                                                        ANDERSON                IN 46012‐9647
OLIVER, DENNIS L         3553 BRIAR CREST DR                                                                 JANESVILLE              WI 53546‐9323
OLIVER, DERRICK L        637 TRUMBULL DR                                                                     NILES                   OH 44446
OLIVER, DEVON            5143 CRANE ST                                                                       DETROIT                 MI 48213‐2966
OLIVER, DOLORES J        4153 CARNATION CT                                                                   FLINT                   MI 48506‐2019
OLIVER, DONALD           BALDWIN & BALDWIN             PO DRAWER 1349                                        MARSHALL                TX 75670
OLIVER, DONALD E         76814 MARY GRACE DR                                                                 BRUCE TWP               MI 48065‐2644
OLIVER, DONALD K         634 TOMAHAWK TRL                                                                    HIGHLAND                MI 48357‐2761
OLIVER, DONALD K         2707 W 39TH ST                                                                      ANDERSON                IN 46011‐5046
OLIVER, DONNA J          19146 OMIRA ST                                                                      DETROIT                 MI 48203‐1614
OLIVER, DORIS M          258 GRANADA AVE                                                                     YOUNGSTOWN              OH 44504‐1820
OLIVER, DOROTHY M        759 VALLEY FORGE AVE                                                                TRENTON                 NJ 08648‐4663
OLIVER, DOUG K           7287 CHEYENNE ST                                                                    WESTLAND                MI 48185‐5297
OLIVER, DOYLE W          203 BIRCHWOOD DR                                                                    SAINT PETERS            MO 63376‐7044
OLIVER, DUSTAN J         8116 TURNER DR                                                                      NORTH RICHLAND HILLS    TX 76180‐3550
OLIVER, DYANE            4212 SPRUCE AVE                                                                     KANSAS CITY             MO 64130‐1554
OLIVER, EDWARD A         2115 GLENWOOD DR                                                                    PT PLEASANT             NJ 08742‐5124
OLIVER, EDWARD C         33 FOXGLOVE LN                                                                      SIDNEY                  ME 04330‐1813
OLIVER, ELAINE M         589 BROMLEY RD                                                                      CHURCHVILLE             NY 14428‐9610
OLIVER, ELBERT E         1202 IMMACULATE LN                                                                  CINCINNATI              OH 45255‐4416
OLIVER, ELIZABETH        2520 WADSWORTH                                                                      SAGINAW                 MI 48601‐1482
OLIVER, ELLA             3627 LISBURN RD                                                                     MECHANICSBURG           PA 17055‐6710
OLIVER, EMMA L           22840 TWYCKINGHAM WAY                                                               SOUTHFIELD              MI 48034‐6260
OLIVER, ENOCH            94 STENELLE RD                                                                      RUSSELL SPRINGS         KY 42642‐8938
OLIVER, ERNEST WAYNE     COON & ASSOCS BRENT           917 FRANKLIN ST STE 210                               HOUSTON                 TX 77002‐1751
OLIVER, ERNESTINE M      832 WILLIAMS ST                                                                     MIAMISBURG              OH 45342‐1721
OLIVER, ERNESTINE M      832 WILLIAM ST                                                                      MIAMISBURG              OH 45342‐1721
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OLIVER, EUGENE        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                        STREET, SUITE 600
OLIVER, EVELYN C      2473 CASHES VALLEY RD                                                                       CHERRY LONG       GA   30522
OLIVER, FLOYD E       708 TRENTON ST                    C/O BRENDA WALKER                                         ALEXANDRIA        IN   46001‐2159
OLIVER, FRANCES J     PO BOX 1123                                                                                 RAINIER           WA   98576‐1123
OLIVER, FRANCES R     812 FIVE POINTS DR                                                                          FRANKLIN          IN   46131‐2570
OLIVER, FREDDIE D     1987 COUNTY ROAD 1220                                                                       TUTTLE            OK   73089‐3035
OLIVER, GARY D        915 ORMSBY ST                                                                               VISTA             CA   92084‐1435
OLIVER, GARY E        6515 FAIRWOOD DR                                                                            DEARBORN HTS      MI   48127‐3964
OLIVER, GARY W        709 LARCHMONT ST                                                                            DEWITT            MI   48820‐9500
OLIVER, GEEMA C       1041 MOSSWOOD DR                                                                            WATKINSVILLE      GA   30677‐4207
OLIVER, GENEVA E      925 YOUNGSTOWN WARREN RD          APT 95                                                    NILES             OH   44446‐4633
OLIVER, GENEVA E      925 YOUNGSTOWN WARREN RD APT 95                                                             NILES             OH   44446‐4633

OLIVER, GENEVIEVE M   1636 WELLESLEY CT #2                                                                        INDIANAPOLIS      IN   46219‐2443
OLIVER, GEORGE E      3824 W NORTH TERRITORIAL RD                                                                 WHITMORE LAKE     MI   48189‐9685
OLIVER, GEORGE L      961 CENTENNIAL RD                                                                           MARTINSVILLE      IN   46151‐6637
OLIVER, GEORGE W      469 SHAGBARK DR                                                                             ROCHESTER HILLS   MI   48309‐1822
OLIVER, GERALD T      534 BLUEBERRY CT                                                                            SAINT HELEN       MI   48656‐9484
OLIVER, GEROD         3403 SPRINGDALE AVE                                                                         BALTIMORE         MD   21216‐1443
OLIVER, GLENDA        17940 IRWIN RD                                                                              ARMADA            MI   48005‐1731
OLIVER, GLENN A       4316 E MONTPELIER PIKE                                                                      MARION            IN   46953
OLIVER, GORDON D      49 COUNTRY BROOK EST                                                                        ROCHESTER         NH   03839‐5636
OLIVER, GRACE E       7439 WILSON RD                                                                              MONTROSE          MI   48457‐9171
OLIVER, GRACIE L      2451 N ELBA RD                                                                              LAPEER            MI   48446‐8030
OLIVER, GREGORY L     2444 MALVERN AVE                                                                            DAYTON            OH   45406‐1946
OLIVER, HARLAN A      1322 LINDEN AVE                                                                             JANESVILLE        WI   53548‐2882
OLIVER, HAROLD F      3070 PALMER PLACE                                                                           GRAYLING          MI   49738‐7899
OLIVER, HAROLD F      3070 PALMER PL                                                                              GRAYLING          MI   49738‐7899
OLIVER, HARRY L       891 MOUNT MORIAH RD                                                                         AUBURN            GA   30011‐2202
OLIVER, HELEN C       546 N GRANT AVE                                                                             JANESVILLE        WI   53548‐2722
OLIVER, HELEN C       546 N GRANT                                                                                 JANESVILLE        WI   53548‐2722
OLIVER, HELEN J       1786 STATE HIGHWAY 119                                                                      STOCKDALE         TX   78160‐6776
OLIVER, HENRY A       686 3RD AVE                                                                                 PONTIAC           MI   48340‐2008
OLIVER, HUBERT A      2404 RITA CT                                                                                ANDERSON          IN   46012‐9647
OLIVER, HYMAN         326 BRIDGE PLAZA NO.                                                                        FORT LEE          NJ   07024
OLIVER, IRENE M       3025 BROOKFIELD CIR                                                                         CUMMING           GA   30040‐7117
OLIVER, IRIS E        1202 IMMACULATE LN                                                                          CINCINNATI        OH   45255‐4416
OLIVER, ISABELL D     4580 CLIPPER BAY RD.                                                                        DULUTH            GA   30096‐6202
OLIVER, JACK          5731 BOGUS RD                                                                               GAINESVILLE       GA   30506‐2971
OLIVER, JACK L        519 MOORE ST                                                                                OWOSSO            MI   48867‐1854
OLIVER, JACK R        3820 W COUNTY ROAD 700 S                                                                    MUNCIE            IN   47302‐9532
OLIVER, JACKIE D      PO BOX 1631                                                                                 MC KINNEY         TX   75070‐8156
OLIVER, JAMES A       9800 N STATE ROAD 39                                                                        ROSSVILLE         IN   46065‐9783
OLIVER, JAMES A       854 BRISTOL PIKE                                                                            BENSALEM          PA   19020‐6358
OLIVER, JAMES B       1184 PIPERS GAP RD                                                                          MOUNT AIRY        NC   27030
OLIVER, JAMES D       2245 W FORK RD                                                                              LAPEER            MI   48446‐8039
OLIVER, JAMES DAVID   2245 W FORK RD                                                                              LAPEER            MI   48446‐8039
OLIVER, JAMES E       2020 SEQUOIA CT                                                                             WEIDMAN           MI   48893‐8833
OLIVER, JAMES E       2764 SARDIS DR                                                                              BUFORD            GA   30519‐4134
OLIVER, JAMES E       32150 MEADOWBROOK ST                                                                        LIVONIA           MI   48154‐3576
OLIVER, JAMES F       642 OAK CREEK DR                                                                            RENO              NV   89511‐1086
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Name                 Address1                          Address2                      Address3   Address4         City               State Zip
OLIVER, JAMES L      7776 CLAYBURN ST                                                                            DETROIT             MI 48228‐3536
OLIVER, JAMES S      142 AUGUSTA AVE                                                                             DAVENPORT           FL 33837‐2593
OLIVER, JAMES W      3040 WILLOWBROOK WAY                                                                        BEAVERCREEK         OH 45431‐7703
OLIVER, JANET F      33 RINGGOLD ST                                                                              DAYTON              OH 45403
OLIVER, JANET F      33 RINGGOLD STREET                                                                          DAYTON              OH 45403‐5403
OLIVER, JANICE       15248 FORD ST                                                                               KENT                NY 14477‐9723
OLIVER, JEANETTE M   1513 FOSTER AVE                                                                             JANESVILLE          WI 53545‐1042
OLIVER, JENNIE C.    1029 WALTON AVE                                                                             DAYTON              OH 45407‐1336
OLIVER, JENNIFER L   732 BIRCHWOOD DRIVE                                                                         FLUSHING            MI 48433‐1357
OLIVER, JEREMY G     3840 FARNSWORTH DR                                                                          LANSING             MI 48906‐9209
OLIVER, JEROME C     5155 WAGON WHEEL RD SE                                                                      DEMING              NM 88030‐2214
OLIVER, JEROME W     3637 EVERGREEN PKWY                                                                         FLINT               MI 48503‐4531
OLIVER, JIM L        8728 HIGHWAY 79                                                                             LOUISIANA           MO 63353‐3211
OLIVER, JOAN M       143 REPUBLIC AVENUE NORTHWEST                                                               WARREN              OH 44483‐1607
OLIVER, JOE L        1064 SHERMAN ST SE                                                                          GRAND RAPIDS        MI 49506‐2610
OLIVER, JOHN
OLIVER, JOHN C       502 N 11TH ST                                                                               MIDDLETOWN         IN   47356‐1241
OLIVER, JOHN D       14600 STURDIVANT RD                                                                         NEWALLA            OK   74857‐8630
OLIVER, JOHN D       5811 BELLCHASE RD                                                                           INDIAN RIVER       MI   49749‐9718
OLIVER, JOHN H       23 N DIETERLE RD                                                                            FOWLERVILLE        MI   48836‐8989
OLIVER, JOHN L       19192 MARX ST                                                                               DETROIT            MI   48203‐1336
OLIVER, JOHN P       3605 RANDLEMAN RD                                                                           GREENSBORO         NC   27406‐9101
OLIVER, JOHN R       3401 PENROSE DR                                                                             LANSING            MI   48911‐3332
OLIVER, JOHN S       3020 CHAPEL RD                                                                              ANDERSON           IN   46012‐9412
OLIVER, JOHN T       5628 BROADWAY ST                                                                            INDIANAPOLIS       IN   46220‐3073
OLIVER, JOHNNY H     2628 E MADDOX RD                                                                            BUFORD             GA   30519‐4328
OLIVER, JOSE         WEITZ & LUXENBERG                 180 MAIDEN LANE                                           NEW YORK           NY   10038
OLIVER, JOSEPH L     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                       STREET, SUITE 600
OLIVER, JOSH E       27079 RIDGEWOOD ST                                                                          ROSEVILLE          MI   48066‐3024
OLIVER, JOSH W       27079 RIDGEWOOD ST                                                                          ROSEVILLE          MI   48066‐3024
OLIVER, JR,TERRY T   510 E KNIGHT ST                                                                             EATON RAPIDS       MI   48827‐1357
OLIVER, JUAN A       16 CALUMET LN                                                                               DAYTON             OH   45427
OLIVER, JUDITH E     5601 DUNCAN RD #179                                                                         PUNTA GORDA        FL   33982‐4759
OLIVER, KAREN M      5836 PRINCE EDWARD WAY                                                                      HUBER HEIGHTS      OH   45424‐5451
OLIVER, KATHLEEN D   32 EAST ST                                                                                  OXFORD             MI   48371‐4939
OLIVER, KATHY F      1250 REDLEAF LN                                                                             YPSILANTI          MI   48198‐3159
OLIVER, KATRINA M    1530 TAIT RD SW                                                                             WARREN             OH   44481‐9644
OLIVER, KENNETH E    17224 WAYZATA CT                                                                            NORTH FORT MYERS   FL   33917‐3869
OLIVER, KENNETH L    1846 HAVERHILL DR                                                                           LAPEER             MI   48446‐9792
OLIVER, KEVIN J      12460 CHERRY LN                                                                             GRAND LEDGE        MI   48837‐8914
OLIVER, KEVIN M      3023 DANBURY DR                                                                             FLORENCE           KY   41042‐4769
OLIVER, KHALILAH A   3979 FORESTER BLVD                                                                          AUBURN HILLS       MI   48326‐3054
OLIVER, KHELLADAWN   2735 N A ST                                                                                 ELWOOD             IN   46036‐1739
OLIVER, LARRY B      2013 POWELL DR                                                                              CULLEOKA           TN   38451‐2734
OLIVER, LARRY C      HARRIS PENN & LOWRY LLP           405 E PERRY ST                                            SAVANNAH           GA   31401‐4000
OLIVER, LARRY M      960 LIVINGSTON DR                                                                           XENIA              OH   45385‐9783
OLIVER, LARRY R      6831 S GILPIN CIR W                                                                         CENTENNIAL         CO   80122‐1324
OLIVER, LAURA M      4496 PLEASANTVIEW CT NE                                                                     ROCKFORD           MI   49341‐9648
OLIVER, LENARDO Q    1025 VALLEYVIEW DR                                                                          CLARKSTON          MI   48348‐5202
OLIVER, LEONA        C/O MARTIN A TYCKOSKI             624 SOUTH GRAND TRAVERSE                                  FLINT              MI   48502
OLIVER, LEONA M      1124 LEISURE DR                                                                             FLINT              MI   48507‐4010
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Name                   Address1                       Address2                      Address3   Address4         City             State Zip
OLIVER, LILLIAN M      PO BOX 174                                                                               LAKE ORION        MI 48361‐0174
OLIVER, LINDA M        1111 E SUB STATION RD                                                                    TEMPERANCE        MI 48182‐9574
OLIVER, LINDA M        5830 CURSON DR                                                                           TOLEDO            OH 43612
OLIVER, LINDA M        2135 ELYSIUM AVE                                                                         EUGENE            OR 97401‐7425
OLIVER, LISA A         419 BUNKER HILL RD                                                                       PULASKI           TN 38478‐7342
OLIVER, LLOYD W        7815 E M 21                                                                              CORUNNA           MI 48817‐9530
OLIVER, LOIS R         941 PIN OAK WAY                                                                          LAWRENCEVILLE     GA 30045
OLIVER, LOLITA         831 E CENTER RD                                                                          KOKOMO            IN 46902‐5366
OLIVER, LONNIE G       PO BOX 88                                                                                LEASBURG          MO 65535‐0088
OLIVER, LONNIE R       PO BOX 34                                                                                OXFORD            MI 48371‐0034
OLIVER, LORRIN D       783 SUNSET COURT                                                                         VIROQUA           WI 54665‐2127
OLIVER, LUSTER L       945 W 26TH ST                                                                            INDIANAPOLIS      IN 46208‐5419
OLIVER, M A            2504 FOWLER                                                                              ANDERSON          IN 46012‐3714
OLIVER, MARGARET A     4021 WALNUT HILL DR                                                                      TROY              MI 48098‐4220
OLIVER, MARGARET G     560 MILLER HOLLOW RD                                                                     ATTALLA           AL 35954‐5525
OLIVER, MARIO V        2609 CEDAR AVE                                                                           CLEVELAND         OH 44115‐2906
OLIVER, MARJORIE L     2196 CHURCHILL AVE                                                                       TRENTON           MI 48183‐1799
OLIVER, MARK A         1607 RANDOLPH CT                                                                         MONROE            GA 30655‐6268
OLIVER, MARK AUSTIN    1607 RANDOLPH CT                                                                         MONROE            GA 30655‐6268
OLIVER, MARLYND L      1380 DOVER PL                                                                            SAGINAW           MI 48638‐5514
OLIVER, MARTHALEEN E   5288 ROBINWOOD AVENUE                                                                    DAYTON            OH 45431‐2836
OLIVER, MARVIN P       20301 SOUTHEAST 39TH STREET                                                              HARRAH            OK 73045‐6024
OLIVER, MARY           3146 N 60TH ST                                                                           FAIRMONT CITY      IL 62201‐2404
OLIVER, MARY           6036 PROTHROW ST                                                                         FORT WORTH        TX 76112‐7929
OLIVER, MARY           3146 N 60TH                                                                              FAIRMONT CITY      IL 62201‐2404
OLIVER, MARY           6036 PROTHROW                                                                            FT WORTH          TX 76112‐7929
OLIVER, MARY A         19744 STAHELIN AVE                                                                       DETROIT           MI 48219
OLIVER, MARY E         1048 S MEADOW LN                                                                         MUSTANG           OK 73064‐4217
OLIVER, MARY E         185 PETERSON DRIVE                                                                       VINCENT           AL 35178‐6504
OLIVER, MARY J         9007 GUTHRIE                                                                             BERKELEY          MO 63134‐3425
OLIVER, MARY J         9007 GUTHRIE AVE                                                                         BERKELEY          MO 63134‐3425
OLIVER, MARY L         842 SE DAMASK ST                                                                         PORT ST LUCIE     FL 34983‐4011
OLIVER, MARY L         842 SE DAMASK AVE                                                                        PORT ST LUCIE     FL 34983‐4011
OLIVER, MARY M         P O BOX 14                                                                               OOLITIC           IN 47451‐0014
OLIVER, MARY M         PO BOX 14                                                                                OOLITIC           IN 47451‐0014
OLIVER, MATTHEW L      5759 RED PINE TRL                                                                        DRYDEN            MI 48428‐9402
OLIVER, MAX            6226 E COLDWATER RD                                                                      FLINT             MI 48506‐1212
OLIVER, MAX E          4307 S LEONARD SPRINGS RD                                                                BLOOMINGTON       IN 47403‐4078
OLIVER, MELVIN         349 E MOUNT PLEASANT RD                                                                  WILMINGTON        OH 45177‐9642
OLIVER, MELVIN C       3294 HARTLEY DR                                                                          ADRIAN            MI 49221‐9247
OLIVER, MELVIN P       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                      STREET, SUITE 600
OLIVER, MICHAEL        3281 HARTLAND RD                                                                         GASPORT          NY 14067‐9418
OLIVER, MICHAEL
OLIVER, MICHAEL E      530 N UNION ST APT 4                                                                     WESTFIELD        IN   46074‐9591
OLIVER, MICHAEL R      2700 KEYSTONE DR                                                                         JONESBORO        AR   72401‐8554
OLIVER, MICHAEL V      15959 FARMINGTON RD                                                                      LIVONIA          MI   48154‐2856
OLIVER, MILLICENT D    246 RALPH ST                                                                             JACKSON          OH   45640‐2035
OLIVER, MILTON J       3977 SNOWBERRY RD                                                                        BRIDGEPORT       MI   48722‐9539
OLIVER, MINNIE         217 EAST DELAVAN                                                                         BUFFALO          NY   14208
OLIVER, MYRON W        PO BOX 829                                                                               CLAYTON          GA   30525‐0021
OLIVER, MYRTLE A       1521 CRESTMARK BLVD                                                                      LITHIA SPRINGS   GA   30122‐4431
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Name                    Address1                         Address2                          Address3   Address4         City                   State Zip
OLIVER, NANCY E         2310 MOCKINGBIRD DR                                                                            GRAPEVINE               TX 76051‐2815
OLIVER, NATHANIEL E     4410 HILLCROFT DR                                                                              WARRENSVILLE HEIGHTS    OH 44128‐4902
OLIVER, NATHANIEL E.    9413 DUNLAP AVE                                                                                CLEVELAND               OH 44105‐2330
OLIVER, NOAM N          1467 COVE DR                                                                                   PROSPECT HEIGHTS         IL 60070‐1908
OLIVER, O C             APT C                            11031 SUGAR PINES COURT                                       FLORISSANT              MO 63033‐8263
OLIVER, OLIN            PO BOX 14                                                                                      OOLITIC                 IN 47451‐0014
OLIVER, ORBA D          696 W GREENWOOD RD                                                                             ALGER                   MI 48610‐9602
OLIVER, PAMELA J        203 BIRCHWOOD DR                                                                               SAINT PETERS            MO 63376‐7044
OLIVER, PATRICIA A      PO BOX 868                                                                                     HIGHLAND                MI 48357‐0868
OLIVER, PATRICIA A      108 ALPENA TRL                                                                                 HOUGHTON LAKE           MI 48629‐9358
OLIVER, PATRICK K       6086 N CROWN ST                                                                                WESTLAND                MI 48185‐2247
OLIVER, PAUL            2304 MADALINE DR                                                                               AVENEL                  NJ 07001‐1371
OLIVER, PAUL A          48 SCOTT LAKE RD                                                                               WATERFORD               MI 48328‐3144
OLIVER, PAUL J          13700 COURTSIDE WAY APT 201                                                                    SOUTHGATE               MI 48195‐3402
OLIVER, PAULINE J       2013 POWELL DR                                                                                 CULLEOKA                TN 38451‐2734
OLIVER, PHILIP F        6215 WINDSONG DR                                                                               ARLINGTON               TX 76001‐5728
OLIVER, PHYLLIS B       4865 NORTON RD                                                                                 GROVE CITY              OH 43123‐8801
OLIVER, RALPH E         9843 N 775 E                                                                                   WILKINSON               IN 46186‐9502
OLIVER, RALPH L         1568 STATE RD NW                                                                               WARREN                  OH 44481‐9132
OLIVER, RANDY B         1092 CLIFF WHITE RD                                                                            COLUMBIA                TN 38401‐6759
OLIVER, RANDY C         165 LAGRANGE ST                                                                                NEWNAN                  GA 30263‐2951
OLIVER, RANDY R         38 WESTBROOK DR                                                                                O FALLON                MO 63366‐2453
OLIVER, RAYMOND C       PO BOX 276                                                                                     SOMERSET                NJ 08875
OLIVER, RAYMOND E       5255 BOWERS RD                                                                                 ATTICA                  MI 48412‐9686
OLIVER, REBECCA L       1207 CHERRY B LN                                                                               NEW BERN                NC 28562
OLIVER, REBECCA L       2011 EYMER                                                                                     SAGINAW                 MI 48602‐2723
OLIVER, REBECCA L       2011 EYMER ST                                                                                  SAGINAW                 MI 48602‐2723
OLIVER, RICHARD         KROHN & MOSS ‐ CA                10474 SANTA MONICA BLVD STE 401                               LOS ANGELES             CA 90025‐6932

OLIVER, RICHARD         1530 TAIT RD SW                                                                                WARREN                 OH   44481‐9644
OLIVER, RICHARD A       PO BOX 172454                                                                                  KANSAS CITY            KS   66117‐1454
OLIVER, RICHARD B       2927 ST JUDE                                                                                   DRAYTON PLAINS         MI   48329
OLIVER, RICHARD E       5601 DUNCAN RD LOT 179                                                                         PUNTA GORDA            FL   33982‐4759
OLIVER, RICHARD F       3436 SHAY LAKE RD                                                                              MAYVILLE               MI   48744‐9525
OLIVER, RICHARD H       310 PAUL AVE                                                                                   YERINGTON              NV   89447‐2108
OLIVER, RICHARD J       15653 CORSO DR                                                                                 CLINTON TWP            MI   48035‐2191
OLIVER, ROBERT A        PO BOX 88636                                                                                   INDIANAPOLIS           IN   46208‐0636
OLIVER, ROBERT A        2406 FAIRMONT DR                                                                               GRAND PRAIRIE          TX   75052‐4118
OLIVER, ROBERT E        342 POR LA MAR CIR                                                                             SANTA BARBARA          CA   93103‐3790
OLIVER, ROBERT J        7980 HOOVER CT                                                                                 INDIANAPOLIS           IN   46260‐4920
OLIVER, ROBERT L        PO BOX 403                                                                                     FLUSHING               MI   48433‐0403
OLIVER, ROBERT L        12769 JULMAR DR                                                                                BYRON                  MI   48418‐9123
OLIVER, ROBERT L        1808 STAGE COACH CIR                                                                           BIRMINGHAM             AL   35215‐4177
OLIVER, ROBERT L        5288 ROBINWOOD AVE                                                                             DAYTON                 OH   45431‐2836
OLIVER, ROBERT L        11701 STATE ROUTE 644                                                                          KENSINGTON             OH   44427‐9717
OLIVER, ROBERT LESLIE   12769 JULMAR DR                                                                                BYRON                  MI   48418‐9123
OLIVER, ROBERT R        PERSKY JOEL                      4901 TOWNE CENTRE ROAD, STE 310                               SAGINAW                MI   48604

OLIVER, ROLLAND L       10736 CARDINAL CIR                                                                             INDIANAPOLIS           IN   46231‐1004
OLIVER, ROMANETHA H     2981 E OUTER DR                                                                                DETROIT                MI   48234‐2226
OLIVER, RONALD C        37936 MULBERRY ST                                                                              CLINTON TWP            MI   48036‐2590
OLIVER, RONALD CURT     37936 MULBERRY ST                                                                              CLINTON TWP            MI   48036‐2590
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Name                     Address1                        Address2            Address3         Address4         City              State Zip
OLIVER, RONALD R         2475 PRATT RD                                                                         CORFU              NY 14036‐9644
OLIVER, RONALD W         1676 SALT SPRINGS RD                                                                  MINERAL RIDGE      OH 44440‐9528
OLIVER, RONNIE           17741 CHESTER STREET                                                                  DETROIT            MI 48224‐1203
OLIVER, ROSEMARY         2622 BURD AVE                                                                         SAINT LOUIS        MO 63112‐4410
OLIVER, ROSEMARY         2622A BURD AVE                                                                        SAINT LOUIS        MO 63112‐4410
OLIVER, ROSEMARY A       401 N BITTERSWEET LN                                                                  MUNCIE             IN 47304‐3734
OLIVER, ROSIE L          1034 E ELM ST                                                                         KOKOMO             IN 46901‐3129
OLIVER, RUTH I           1211 JOLIET ST                                                                        JANESVILLE         WI 53546‐5887
OLIVER, RUTH M           20201 LORAIN RD APT 211                                                               FAIRVIEW PARK      OH 44126‐3401
OLIVER, SALLIE H         712 15TH AVE APT 1202                                                                 IRVINGTON          NJ 07111‐3833
OLIVER, SAMUEL           302 E AUSTIN AVE                                                                      FLINT              MI 48505‐2886
OLIVER, SAMUEL F         610 PARKLAND DR                                                                       CANONSBURG         PA 15317‐1206
OLIVER, SCOTT A          5680 WILLOW GROVE DR                                                                  TROY               MI 48085‐6102
OLIVER, SHARON D         9410 E 65TH ST APT 1805                                                               TULSA              OK 74133‐1427
OLIVER, SHAWNA M         510 W SHERRY DR                                                                       TROTWOOD           OH 45426‐3616
OLIVER, SHIRLEY A        148 AUGUSTA DR                                                                        ELYRIA             OH 44035‐8876
OLIVER, SHIRLEY A        4413 SPRINGBROOK DR.                                                                  SWARTZ CREEK       MI 48473‐1487
OLIVER, SHIRLEY H        5577 BURKESVILLE ROAD                                                                 GLASGOW            KY 42141‐8863
OLIVER, STACI L          54 STRATFORD LN                                                                       ROCHESTER HILLS    MI 48309‐2066
OLIVER, STEPHEN W        3614 N HARTMAN DR                                                                     INDIANAPOLIS       IN 46226‐5808
OLIVER, STEVE R          3021 PRATT RD                                                                         METAMORA           MI 48455‐9710
OLIVER, STEVEN C         2000 S MUSTANG RD APT 2611                                                            YUKON              OK 73099‐0334
OLIVER, SUSAN L          6457 LOTUS CT                                                                         WATERFORD          MI 48329‐1346
OLIVER, SUSAN M          1612 MILVERTON DR                                                                     TROY               MI 48083‐2528
OLIVER, SUSAN MICHELLE   1612 MILVERTON DR                                                                     TROY               MI 48083‐2528
OLIVER, SYLVESTER        19741 SAINT MARYS ST                                                                  DETROIT            MI 48235‐2328
OLIVER, TED J            2579 DAVID LN                                                                         LAPEER             MI 48446‐8330
OLIVER, TERESA A         14544 CROFTON DR                                                                      SHELBY TWP         MI 48315‐4417
OLIVER, TERESA ANN       14544 CROFTON DR                                                                      SHELBY TWP         MI 48315‐4417
OLIVER, TERESA LYNN      PO BOX 554                                                                            XENIA              OH 45385‐0554
OLIVER, TERRY M          732 BIRCHWOOD DRIVE                                                                   FLUSHING           MI 48433‐1357
OLIVER, THEOLA           2100 BROOKEN HILL DR APT H3                                                           FORT SMITH         AR 72908‐8793
OLIVER, THOMAS E         777 N MAIN ST                                                                         WEBBERVILLE        MI 48892‐9709
OLIVER, THOMAS J         3341 OLIVERS' POINTE                                                                  WATERFORD          MI 48328
OLIVER, THOMAS R         2246 TOUCHDOWN CT UNIT 7                                                              YPSILANTI          MI 48197‐1561
OLIVER, TIMOTHY J        PO BOX 352                                                                            OAK HILL           WV 25901‐0352
OLIVER, TIMOTHY K        1100 N JOSSMAN RD                                                                     ORTONVILLE         MI 48462‐9014
OLIVER, TIMOTHY R        4041 N SPRUCE AVE                                                                     KANSAS CITY        MO 64117‐1845
OLIVER, TIMOTHY W        377 CREEK MANOR WAY                                                                   SUWANEE            GA 30024‐6565
OLIVER, TYSON D          PO BOX 6072                                                                           ARLINGTON          TX 76005‐6072
OLIVER, VICKIE R         11230 BIGELOW RD                                                                      DAVISBURG          MI 48350‐1805
OLIVER, VIRGINIA D       238 E MUSKEGON ST                                                                     CEDAR SPRINGS      MI 49319‐9327
OLIVER, VIVIAN R         HEMPFIELD TOWERS                APARTMENT 717                                         GREENSBURG         PA 15601‐000
OLIVER, WALTER W         318 WARD RD                                                                           NORTH TONAWANDA    NY 14120‐2554
OLIVER, WANDA N          210 IBERIS DR                                                                         ARLINGTON          TX 76018‐1405
OLIVER, WARREN A         1948 MORGANS MILL RD                                                                  BLUEMONT           VA 20135‐5112
OLIVER, WARREN B         PO BOX 422                                                                            COLLEGEDALE        TN 37315‐0422
OLIVER, WARREN T         7300 N WEBSTER RD                                                                     MOUNT MORRIS       MI 48458‐8400
OLIVER, WAYNE            2450 WERBE LANE APT 190                                                               CARMICHAEL         CA 95608‐4951
OLIVER, WAYNE            2450 WERBE LN APT 190                                                                 CARMICHAEL         CA 95608‐4951
OLIVER, WAYNE E          13505 RIKER RD                                                                        CHELSEA            MI 48118‐9597
OLIVER, WAYNE EDMUND     13505 RIKER RD                                                                        CHELSEA            MI 48118‐9597
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Name                             Address1                          Address2                        Address3                Address4         City             State Zip
OLIVER, WILEY H                  8189 LULA RD                                                                                               LULA              GA 30554‐2207
OLIVER, WILLARD R                207 CATO DR                                                                                                XENIA             OH 45385‐3815
OLIVER, WILLARD R                207 CATO DRIVE                                                                                             XENIA             OH 45385‐5385
OLIVER, WILLIAM                  385 S BURGESS AVE                                                                                          COLUMBUS          OH 43204‐3111
OLIVER, WILLIAM B                6788 PALOVERDE RD                                                                                          CASTRO VALLEY     CA 94552‐9652
OLIVER, WILLIAM B                6525 STATE HIGHWAY 198                                                                                     MABANK            TX 75156‐7113
OLIVER, WILLIAM D                3550 CAPITOL AVE                                                                                           WARREN            MI 48091‐1986
OLIVER, WILLIAM D                6837 HOLLY SPRINGS RD                                                                                      CLERMONT          GA 30527‐1665
OLIVER, WILLIAM GEORGE           COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                  HOUSTON           TX 77002‐1751
OLIVER, WILLIAM J                PO BOX 7939                                                                                                LULA              GA 30554
OLIVER, WILLIAM K                5904 HORSESHOE LAKE RD                                                                                     STERLINGTON       LA 71280‐3161
OLIVER, WILLIAM R                6250 LANWAY RD                                                                                             KINGSTON          MI 48741‐9786
OLIVER, WILLIAM S                393 S BICKETT RD                                                                                           XENIA             OH 45385‐9608
OLIVER, WILLIAM T                913 NEW HAMPSHIRE AVE                                                                                      BRISTOL           VA 24201‐5098
OLIVER, WILLIE A                 PO BOX 711                                                                                                 CLEVELAND         GA 30528‐0012
OLIVER, WILLIE L                 3176 DESHONG DR                                                                                            STONE MOUNTAIN    GA 30087‐4021
OLIVER, WILLIE LEE               3176 DESHONG DR                                                                                            STONE MOUNTAIN    GA 30087
OLIVER, WILMOT W                 11 S CENTER ST                                                                                             BELLINGHAM        MA 02019
OLIVER, WINSTON A                202 MILLER AVE                                                                                             EATON             OH 45320
OLIVER, YVONNE S                 5 W WINGED FOOT CT                                                                                         HOMOSASSA         FL 34446‐4639
OLIVER, ZILPHA G                 2527 LIMERICK CIR                                                                                          HOLT              MI 48842‐8788
OLIVER, ZILPHA G                 200 WEST EDGEWOOD BLVD            APT 255                                                                  LANSING           MI 48911
OLIVER,CHRISTOPHER J             12415 STATE ROUTE 774                                                                                      BETHEL            OH 45106‐8641
OLIVER‐BYRD, GUSTAVIA            5368 EMERSON AVE                                                                                           SAINT LOUIS       MO 63120‐2512
OLIVER‐MITCHELL, MARY A          23619 PARKLAWN ST                                                                                          OAK PARK          MI 48237‐3605
OLIVERA DAVID (499361)           LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                  MIAMI             FL 33143‐5163
OLIVERA JOHNSON                  35924 JOAN ST                                                                                              ROMULUS           MI 48174‐4017
OLIVERA VIVAN FELICIANO          OLIVERA VIVAN, FELICIANO          D. KIRK JOYCE, ESQUIRE          440 N. COLLEGE AVENUE                    FAYETTVILLE       AR 72701
                                                                                                   SUITE 2
OLIVERA VIVAN, FELICIANO         D. KIRK JOYCE, ESQUIRE            440 N COLLEGE AVE STE 2                                                  FAYETTEVILLE     AR   72701‐4275
OLIVERA'S AUTO REPAIR & TOWING   611 AVENUE OF THE FLAGS                                                                                    BUELLTON         CA   93427
OLIVERA, DAVID                   LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                  MIAMI            FL   33143‐5163
OLIVERA, DAVID                   THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD         SUITE 44                                 CORAL GABLES     FL   33146
OLIVERA, GONZALO
OLIVERA, JUAN J                  201 BERKLEY RD APT 210                                                                                     HOLLYWOOD        FL   33024‐1133
OLIVERA, YOLANDA L               2099 CORNELL RD                                                                                            MIDDLEBURG       FL   32068‐5181
OLIVERAS, VICTORIA               PO BOX 140454                                                                                              GRAND RAPIDS     MI   49514‐0454
OLIVERI, ANTHONY                 170 JUDY ANN DR                                                                                            ROCHESTER        NY   14616‐1942
OLIVERI, BETH K                  1866 WEST HOPPE ROAD                                                                                       UNIONVILLE       MI   48767‐9674
OLIVERI, BETH K                  1866 W HOPPE RD                                                                                            UNIONVILLE       MI   48767‐9674
OLIVERI, DANIEL S                545C NORWICH CT                                                                                            MANCHESTER       NJ   08759‐7017
OLIVERI, DOMENICO                743 STOWELL DR APT 3                                                                                       ROCHESTER        NY   14616‐1832
OLIVERI, JOHN                    214 POINTE VINTAGE DR                                                                                      ROCHESTER        NY   14626‐1762
OLIVERI, JOSEPH A                2508 ROY TER                                                                                               FALLSTON         MD   21047‐2024
OLIVERI, MARGARET                356 WILLIAMSON STREET                                                                                      ELIZABETH        NJ   07202‐3660
OLIVERI, ROBERT F                13 MIDDLETON ST                                                                                            MILFORD          MA   01757‐3509
OLIVERI, VINCENT                 708 N RIVER DR APT 316                                                                                     MARION           IN   46952‐2683
OLIVERIO CHEVROLET BUICK INC.    1110 LAUREL HILL RD                                                                                        MC DONALD        PA   15057‐3532
OLIVERIO CHEVROLET BUICK INC.    WILLIAM OLIVERIO                  1110 LAUREL HILL RD                                                      MC DONALD        PA   15057‐3532
OLIVERIO JOSEPH (446748)         KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                            CLEVELAND        OH   44114
                                                                   BOND COURT BUILDING
OLIVERIO, CLARICE                6041 ROCKLAND ST                                                                                           DEARBORN HTS     MI 48127‐2910
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Name                                   Address1                          Address2                       Address3        Address4         City              State Zip
OLIVERIO, DAVID S                      15420 SPRINGS VILLAGE BLVD 101                                                                    TAYLOR             MI 48180
OLIVERIO, DEBRA A                      1790 SANDY CREEK LN                                                                               ANN ARBOR          MI 48103
OLIVERIO, GARY J                       8000 COIT RD                      #300‐341                                                        PLANO              TX 75025
OLIVERIO, GRACE A                      2010 W SAN MARCOS BLVD UNIT 112                                                                   SAN MARCOS         CA 92078‐3981
OLIVERIO, JOE F                        6821 FRANKE RD                                                                                    MIDDLEBRG HTS      OH 44130‐2641
OLIVERIO, JOSEPH                       KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                    CLEVELAND          OH 44114
                                                                         BOND COURT BUILDING
OLIVERIO, LINDA D                      351 PENLAND ST                    APT 201                                                         ELLIJAY           GA   30540‐0467
OLIVERIO, LINDA D                      351 PENLAND STREET                APT. 201                                                        ELLIJAY           GA   30540‐0540
OLIVERIO, STEVE C                      2777 COOK CREEK DR                                                                                ANN ARBOR         MI   48103‐8962
OLIVERIO, WILLIAM G                    4225 VIA ARBOLADA UNIT 513                                                                        LOS ANGELES       CA   90042‐5109
OLIVERO LAWRENCE                       715 LION ST                                                                                       ROCHESTER HILLS   MI   48307‐4223
OLIVERO, LAWRENCE F                    715 LION ST                                                                                       ROCHESTER HLS     MI   48307‐4223
OLIVERO, PATRICIA M                    8656 THORS BAY RD                                                                                 EL CERRITO        CA   94530‐2570
OLIVERO, RICHARD                       2821 N ROCKWELL ST APT 1                                                                          CHICAGO           IL   60618‐7803
OLIVEROS, JESUS T                      7838 WILLIAMS AVE                                                                                 FRISCO            TX   75034‐3607
OLIVEROS, JESUS T                      8917 E AVENUE T APT 6                                                                             LITTLEROCK        CA   93543
OLIVEROS, JESUS T                      8917 AVE T6                                                                                       LITTLE ROCK       CA   93543
OLIVEROS, SEBASTIAN                    4690 ERSKINE CREEK RD                                                                             LAKE ISABELLA     CA   93240‐8600
OLIVET COLLEGE                         BUSINESS OFFICE                                                                                   OLIVET            MI   49076
OLIVET NAZARENE UNIVERSITY             FINANCIAL AID OFFICE              PO BOX 592                                                      KANKAKEE          IL   60901‐0505
OLIVET NAZARENE UNIVERSITY             GRAD AND ADULT STUDIES ACCTNG     PO BOX 592                                                      KANKAKEE          IL   60901‐0505
OLIVET PETTIES                         PO BOX 426                                                                                        LEGGETT           TX   77350‐0426
OLIVETAN BENEDICTINE SISTERS INC       GENERAL FUND                      WARREN B SHULL ‐ BUSINESS      PO DRAWER 130                    JONESBORO         AR   72403‐0130
                                                                         MANAGER
OLIVETI ORNELLO                        PIAZZALE ARDEATINO 1/F
OLIVETO, RICHARD W                     18281 HEARTHSIDE LN                                                                               CLINTON TWP       MI 48038‐2153
OLIVETTE SHEA                          1188 ROSS BROOK TRCE                                                                              YORK              SC 29745‐8139
OLIVETTI NORMAN (ESTATE OF) (654412)   ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                                BETHLEHEM         PA 18018

OLIVETTI, ALEXANDER J                  301 N BEELINE HWY                                                                                 PAYSON            AZ   85541
OLIVETTI, MAURI                        205 SWINNICK DR                                                                                   DUNMORE           PA   18512‐2072
OLIVETTI, NORMAN                       ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                                BETHLEHEM         PA   18018‐5737
OLIVEWARD HUNZICKER                    APT 107                           109 NORTH KEENE STREET                                          COLUMBIA          MO   65201‐6887
OLIVIA A BOYD                          6035 E 40TH TER                                                                                   KANSAS CITY       MO   64129‐1717
OLIVIA A LINE                          3495 COOLWATER AVE                                                                                JOHANNESBURG      MI   49751‐9501
OLIVIA A PICKLER                       1446 WEST LAKEVIEW DR                                                                             JACKSON           MS   39212‐4334
OLIVIA A RICHARD                       4263 KNOLLCROFT RD                                                                                TROTWOOD          OH   45426‐1931
OLIVIA AGUILAR                         3337 LYNNE AVE                                                                                    FLINT             MI   48506‐2119
OLIVIA ALLEN                           14940 HUBBELL ST                                                                                  DETROIT           MI   48227‐2981
OLIVIA ANDERSON                        9503 SEA VIEW CV                                                                                  FORT WAYNE        IN   46835‐9604
OLIVIA ARENS                           4314 ODONAHUE DR                                                                                  JOLIET            IL   60431‐8960
OLIVIA B CAMPBELL                      409 LYNWOOD LN                                                                                    JACKSON           MS   39206‐3934
OLIVIA BAILEY                          3804 HICKORY DR                                                                                   DAYTON            OH   45426‐2086
OLIVIA BAKER                           406 S ELM ST                                                                                      TUSKEGEE          AL   36083‐2117
OLIVIA BENNETT                         3919 SHERMAN TOWNE DRIVE                                                                          INDIANAPOLIS      IN   46237‐1563
OLIVIA BRACY                           PO BOX 511764                                                                                     MILWAUKEE         WI   53203‐0301
OLIVIA BRADLEY                         15010 GLENDALE AVE                                                                                CLEVELAND         OH   44128‐1141
OLIVIA BRISENO                         5400 SCOTTS VALLEY ST                                                                             KELLER            TX   76248‐6276
OLIVIA C WILBURN                       115 MAYHAW ST                                                                                     MONROE            LA   71203
OLIVIA CAMPBELL                        409 LYNWOOD LN                                                                                    JACKSON           MS   39206‐3934
OLIVIA CARTER                          78 S FRANCIS AVE                                                                                  PONTIAC           MI   48342‐2809
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Name                      Address1                        Address2                     Address3             Address4           City              State Zip
OLIVIA CARTER             205‐12 109TH AVE                                                                                     HOLLIS             NY 11412
OLIVIA CASILLAS           707 CORK ST                                                                                          SYLMAR             CA 91342‐5410
OLIVIA CERVANTES          4900 REID WAY                                                                                        SACRAMENTO         CA 95819‐2266
OLIVIA COLEMAN            255 E EDSEL FORD FWY APT 6                                                                           DETROIT            MI 48202‐3705
OLIVIA CONNER             4384 DEPOT DR                                                                                        SWARTZ CREEK       MI 48473‐1404
OLIVIA CRITTENDEN         921 MAIN ST APT 405                                                                                  BUFFALO            NY 14203‐1159
OLIVIA DANTZLER           3624 KIMBALL AVE                                                                                     KANSAS CITY        KS 66104‐2534
OLIVIA DAWKINS‐LONG       PO BOX 835                                                                                           INKSTER            MI 48141‐0835
OLIVIA E COBB             134 W BEVERLY AVE                                                                                    PONTIAC            MI 48340‐2620
OLIVIA E WEEKLY           4019 OLD A&P RD                                                                                      GEORGETOWN         OH 45121
OLIVIA EGERER             1101 NANTUCKET DR                                                                                    BAY CITY           MI 48706‐3993
OLIVIA F HOLLEN           3101 CLOISTER LN                                                                                     DAYTON             OH 45449‐3505
OLIVIA GADSON             235 S LEXINGTON AVE APT 2E                                                                           WHITE PLAINS       NY 10606‐2531
OLIVIA GAINES             2517 PINGREE ST                                                                                      DETROIT            MI 48206‐2495
OLIVIA GARLAND            31 ANDORRA TER                                                                                       FREEHOLD           NJ 07728‐2820
OLIVIA GENWRIGHT          2118 N DRURY LN                                                                                      PEORIA              IL 61604‐3040
OLIVIA GILLIAM            7704 S VERNON AVE                                                                                    CHICAGO             IL 60619‐2923
OLIVIA GUERREIRO          16200 VERMONT AVE APT C207                                                                           PARAMOUNT          CA 90723‐5070
OLIVIA H ILES ‐ HOLLAND   7581 ARUNDEL RD                                                                                      TROTWOOD           OH 45426‐3801
OLIVIA HARDIMAN           82 RUTH AVE                                                                                          PONTIAC            MI 48341‐1926
OLIVIA HERNANDEZ          3526 LIONS HEAD LN                                                                                   SAGINAW            MI 48601‐7033
OLIVIA HIGH               624 MARKLE AVE                                                                                       PONTIAC            MI 48340‐3023
OLIVIA HOLCOMB            5872 SUWANEE DAM RD                                                                                  SUGAR HILL         GA 30518‐5679
OLIVIA HOLLEN             3101 CLOISTER LN                                                                                     DAYTON             OH 45449‐3505
OLIVIA ILES ‐ HOLLAND     402 PEBBLE COURT                                                                                     ENGLEWOOD          OH 45322‐2262
OLIVIA INGRAM             573 W GOLDEN GATE                                                                                    DETROIT            MI 48203‐4543
OLIVIA JOHNSON            348 MARGARET LN                                                                                      GOOSE CREEK        SC 29445‐7607
OLIVIA L BUCKLEY          PO BOX 11616                                                                                         JACKSON            MS 39283
OLIVIA L BUTTS            18 SWEET VERNAL CT                                                                                   ROCHESTER          NY 14623‐3624
OLIVIA L MUSTIN           4004 N SHADYBROOK DR                                                                                 OKLAHOMA CITY      OK 73110‐3431
OLIVIA LEVEN              2416 PARK ST                                                                                         LANSING            MI 48917‐4424
OLIVIA LINE               3495 COOLWATER AVE                                                                                   JOHANNESBURG       MI 49751‐9501
OLIVIA M BAILEY           3804 HICKORY DRIVE                                                                                   DAYTON             OH 45426
OLIVIA MCDANIEL           2212 STONE ST                                                                                        SAGINAW            MI 48602‐5666
OLIVIA MEYER              C/O ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON          IL 62024
                                                          ANGELIDES & BARNERD LLC
OLIVIA MILLER             10 BRIARWOOD RD                                                                                      SHREWSBURY        PA   17361‐1802
OLIVIA MILLER             1400 PATCHEN AVE SE                                                                                  WARREN            OH   44484‐2803
OLIVIA MITCHELL           2516 GLYNN CT                                                                                        DETROIT           MI   48206‐3022
OLIVIA MONIZ              2205 BRIDWELL WAY                                                                                    HAYWARD           CA   94545‐4821
OLIVIA MONTANO            2233 LONDON BRIDGE DR.          UNIT 38J                                                             ROCHESTER HILLS   MI   48307
OLIVIA MOORE              BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS        OH   44236
OLIVIA MORGAN             4121 HANNA ST                                                                                        FORT WAYNE        IN   46806‐1823
OLIVIA MOSLEY             850 OSMOND AVE                                                                                       DAYTON            OH   45402‐5239
OLIVIA MULL               130 DOLORES DR                                                                                       ROCHESTER         NY   14626‐4046
OLIVIA MUNDEN             12726 MEMORIAL ST                                                                                    DETROIT           MI   48227‐1227
OLIVIA MURPHY             2225 LAKE RIDGE DR                                                                                   FORT WAYNE        IN   46804‐3820
OLIVIA MUSTIN             4004 N SHADYBROOK DR                                                                                 OKLAHOMA CITY     OK   73110‐3431
OLIVIA OVERTON            2936 WINTHROP AVE                                                                                    INDIANAPOLIS      IN   46205‐4041
OLIVIA P BARR             4021 FOXBORO DR                                                                                      DAYTON            OH   45416‐1624
OLIVIA P DAWKINS          PO BOX 835                                                                                           INKSTER           MI   48141‐0835
OLIVIA PALMER             348 HIGHLAND RD                                                                                      PITTSBURGH        PA   15235
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Name                                 Address1                            Address2             Address3     Address4               City                  State Zip
OLIVIA PIERCE                        823 ARLINGTON ST                                                                             INKSTER                MI 48141‐4014
OLIVIA PLESCHER                      9930 BLUE MOUND DR                                                                           FORT WAYNE             IN 46804‐5987
OLIVIA PRESTON                       267 RIDGEDALE CIR                                                                            ROCHESTER              NY 14616‐5307
OLIVIA R HUIZAR                      1825 WOODSIDE CT                                                                             BAY CITY               MI 48708‐5497
OLIVIA RAMIREZ                       2865 JAMES RD                                                                                AUBURN HILLS           MI 48326‐2111
OLIVIA RICHARD                       5974 CHAMBERSBURG RD                                                                         HUBER HEIGHTS          OH 45424‐3853
OLIVIA RODRIGUEZ                     2530 N CENTER RD                                                                             SAGINAW                MI 48603‐2942
OLIVIA ROSS                          6315 CHAMBERLAIN ST                                                                          ROMULUS                MI 48174‐1813
OLIVIA SALAMINO                      702 CHERRY HOLLOW RD                                                                         COLUMBUS               OH 43228‐2789
OLIVIA SANSOM                        175 N MICHIGAN AVE LOT 20                                                                    COLDWATER              MI 49036‐1577
OLIVIA SEAY                          APT 304                             3744 KAREN PARKWAY                                       WATERFORD              MI 48328‐4683
OLIVIA SEWARD                        20011 BLOOM ST                                                                               DETROIT                MI 48234‐2406
OLIVIA SMITH                         2020 PHILADELPHIA DR.                                                                        DAYTON                 OH 45406‐2720
OLIVIA STANFIELD                     434 FAITH DR                                                                                 GIBSONVILLE            NC 27249‐2675
OLIVIA THOMAS                        2716 E HOLLAND AVE                                                                           SAGINAW                MI 48601‐2433
OLIVIA VELASCO                       9443 KROETZ DR                                                                               SHREVEPORT             LA 71118‐4042
OLIVIA VERA                          5671 BABBITT ST                                                                              HASLETT                MI 48840‐8414
OLIVIA VILLARREAL                    5280 APPLEWOOD DR                                                                            FLUSHING               MI 48433‐1193
OLIVIA WAGNER                        8 OLD RTE 518 W                                                                              LAMBERTVILLE           NJ 08530‐2617
OLIVIA WEST                          25045 5 MILE RD APT C                                                                        REDFORD                MI 48239‐3756
OLIVIA WILBURN                       115 MAYHAW ST                                                                                MONROE                 LA 71203‐2908
OLIVIA WILSON                        28211 KENDALLWOOD DR                                                                         FARMINGTON HILLS       MI 48334‐3457
OLIVIA YOVA                          2205 WHISPERING MDWS NE             DR                                                       WARREN                 OH 44483‐3672
OLIVIER & OLIVIER                    ACT OF K L ECKSTEIN GCA98‐25        PO BOX 2427                                              FARMINGTON HILLS       MI 48333‐2427
OLIVIER ANGEL                        PO BOX 10114                                                                                 NEW IBERIA             LA 70562‐0114
OLIVIER B DICKENS                    PO BOX 490285                                                                                CHICAGO                 IL 60649‐0285
OLIVIER DICKENS                      905 BRENDON DR                                                                               SCHAUMBURG              IL 60194‐2416
OLIVIER GILBERT                      RUE DU WAINAGE 81                                                     6220 FLEURUS BELGIUM
OLIVIER GILBERT                      RUE DU WAINAGE 81                   BE‐6220 FLEURUS
OLIVIER VERDU                        1788 MADISON AVENUE                 4TH FLOOR                                                NEW YORK              NY 10035
OLIVIER, AUGUST                      5760 BECKER DR                                                                               ROCHESTER             MI 48306‐2610
OLIVIER, CAROL A
OLIVIER, JOHN S                      432 DETROIT AVE                                                                              ROYAL OAK             MI   48073‐3642
OLIVIER, MARK A                      3296 PALM AIRE CT                                                                            ROCHESTER HILLS       MI   48309‐1037
OLIVIER, ROMONA B                    6211 E ADMIRAL DOYLE DR                                                                      JEANERETTE            LA   70544‐6503
OLIVIER, ROY V                       3513 CAMPBELL ST                                                                             DEARBORN              MI   48124‐3715
OLIVIER, SUE M                       2023 BUSHVILLE HWY                                                                           ARNAUDVILLE           LA   70512‐4103
OLIVIERI NICOLETTA F                 OLIVIERI, NICOLETTA F               9047 FLOWER ST                                           BELLFLOWER            CA   90706‐5605
OLIVIERI, ANDREW                     4789 COVENTRY PKWY                                                                           FORT WAYNE            IN   46804‐7131
OLIVIERI, ANDREW                     92 ARDMORE DR                                                                                WAPPINGERS FL         NY   12590‐4319
OLIVIERI, DANIEL A                   57426 HAWTHORN DR                                                                            WASHINGTON TOWNSHIP   MI   48094‐3233
OLIVIERI, MICHAEL D                  PO BOX 50458                                                                                 IRVINE                CA   92619‐0458
OLIVIERI, NICOLETTA F                FATONE TIMOTHY F                    9047 FLOWER ST                                           BELLFLOWER            CA   90706‐5605
OLIVINE HOOPER                       269 FARMINGTON AVE                                                                           PLAINVILLE            CT   06062‐1335
OLIVIO BUSCARINI                     C/O AVV. PIETRO PAOLO MENNEA, VIA
                                     SILLA
OLIVIO BUSCARINI & CARLA BARTOLI     C/O AVV PIETRO PAOLO MENNEA         VIA SILLA NO 7                    00192 ROME ITALY
OLIVIO BUSCARINI AND CARLA BARTOLI   C/O AVV. PIETRO PAOLO MENNEA, VIA                                                            ROME
                                     SILLA
OLIVIO GONZALEZ JR                   PO BOX 3697                                                                                  ARLINGTON             TX 76007‐3697
OLIVO JR, CHUCK J                    3903 SKYVIEW DR                                                                              BRUNSWICK             OH 44212‐1230
OLIVO JR, ROBERT A                   1017 E TOBIAS RD                                                                             CLIO                  MI 48420‐1766
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Name                      Address1                       Address2              Address3       Address4         City            State Zip
OLIVO, ANGELO             7215 ALLEGAN DR                                                                      DAVISON          MI 48423‐2379
OLIVO, BEVERLY            1633 KING CT                                                                         GREEN BROOK      NJ 08812‐1729
OLIVO, CESAR              PO BOX 178                                                                           NAPOLEON         MI 49261
OLIVO, CHRISTINE J        6005 NATCHEZ TRCE                                                                    WICHITA FALLS    TX 76310‐2823
OLIVO, JERRY J            40 FOREST AVE                                                                        ROSELLE           IL 60172‐2914
OLIVO, JESSE G            6005 NATCHEZ TRCE                                                                    WICHITA FALLS    TX 76310‐2823
OLIVO, JESSICA A          10151 DUFFIELD RD                                                                    GAINES           MI 48436‐9701
OLIVO, JESSIE G           2423 W WOODLAWN AVE                                                                  SAN ANTONIO      TX 78228‐5319
OLIVO, JESUS              10482 NICHOLS RD                                                                     GAINES           MI 48436‐8914
OLIVO, JOHNNY J           1417 NORFOLK AVE                                                                     GRAND BLANC      MI 48439‐5173
OLIVO, JOSE A             620 BARSTON LN                                                                       ALPHARETTA       GA 30022‐7550
OLIVO, JOSEPH             4928 DELRAY DR                                                                       LANSING          MI 48910‐5318
OLIVO, JOSEPHINE          4928 DELRAY DR                                                                       LANSING          MI 48910‐5318
OLIVO, LEO C              1331 LEISURE DR                                                                      FLINT            MI 48507‐4013
OLIVO, LOUIS              2018 VOORHIES AVE APT A20                                                            BROOKLYN         NY 11235‐2938
OLIVO, LUIS GABRIEL       3260 SO. 59TH AVE.                                                                   CICERO            IL 60804
OLIVO, MELISSA A          7096 BERESFORD AVE                                                                   PARMA HEIGHTS    OH 44130‐5053
OLIVO, REBECCA
OLIVO, ROBERT             10297 REID RD                                                                        SWARTZ CREEK    MI   48473‐8518
OLIVO, SHEILAH            3415 MACKIN RD                                                                       FLINT           MI   48504‐3271
OLIVO, SIXTO              5171 OTSEGO ST                                                                       BURTON          MI   48509‐2023
OLIVO, STEVEN             2614 REGENCY COVE CT                                                                 LAS VEGAS       NV   89121‐3969
OLIVO, STEVEN             909 DANCING VINES AVE                                                                LAS VEGAS       NV   89183‐6367
OLK, CHARLES H            1928 VAN BLVD                                                                        LEONARD         MI   48367‐3328
OLK, MICHAEL C            6481 W BURT RD                                                                       SAINT CHARLES   MI   48655‐9633
OLK, PATRICK R            5501 VOLKMER RD                                                                      CHESANING       MI   48616‐9477
OLK, PATRICK RAYMOND      5501 VOLKMER RD                                                                      CHESANING       MI   48616‐9477
OLKA JR, NORMAN L         5948 SHAWNEE RD                                                                      SANBORN         NY   14132‐9222
OLKA, RICHARD W           160 VINE ST                                                                          LOCKPORT        NY   14094‐3035
OLKES, ROSALYN L          5065 N 83RD ST                                                                       SCOTTSDALE      AZ   85250‐7301
OLKO FREDERICK (667473)   SIMMONS FIRM                   PO BOX 521                                            EAST ALTON      IL   62024‐0519
OLKO, DAVID J             16622 WINCHESTER DR                                                                  NORTHVILLE      MI   48168‐2373
OLKO, FREDERICK           SIMMONS FIRM                   PO BOX 521                                            EAST ALTON      IL   62024‐0519
OLKOWSKI, JOHN J          5791 SUNNY HILL DR                                                                   OXFORD          MI   48371‐4157
OLKOWSKI, MICHAEL J       2401 W RATTALEE LAKE RD                                                              HOLLY           MI   48442‐9104
OLLA MATTHEWS             233 W BAKER ST                                                                       FLINT           MI   48505‐4155
OLLABELLE URMSTON         504 FLORENCE ST                                                                      MIDDLETOWN      OH   45044‐4821
OLLAR, WILLIAM A          42650 HOTSPUR CT                                                                     CANTON          MI   48188‐2663
OLLE, MARY E              117 BALSAM CT                                                                        CHAPEL HILL     NC   27514‐1609
OLLECH, NGA V             6632 WILLOWMERE CT                                                                   HUBER HEIGHTS   OH   45424‐7310
OLLEMAN, EDITH G          944 N COUNTY ROAD 600 E                                                              AVON            IN   46123‐7921
OLLEN HAYES               311 CARDINAL DR                                                                      MC MINNVILLE    TN   37110‐1541
OLLEN WOODS               25520 EUREKA DR                                                                      WARREN          MI   48091‐1422
OLLENBURG MOTORS, INC.    525 W US HIGHWAY 18                                                                  GARNER          IA   50438‐1017
OLLENBURG MOTORS, INC.    DANIEL OLLENBURG               525 W US HIGHWAY 18                                   GARNER          IA   50438‐1017
OLLENBURGER, ALLEN        408 W WILLARD AVE                                                                    LANSING         MI   48910‐2849
OLLENBURGER, MARY G       417 W WILLARD AVE                                                                    LANSING         MI   48910‐0805
OLLER ERNEST              20527 WOODSIDE NORTH DRIVE                                                           BEND            OR   97702‐9455
OLLER JEFFERY SCOTT       PO BOX 7006                                                                          GREENWOOD       IN   46142‐6421
OLLER, CHERYL             705 E 4TH ST                                                                         PANA            IL   62557‐1661
OLLER, DAVID L            3708 BRIGHTON DR                                                                     LANSING         MI   48911‐2123
OLLER, EDWARD L           68 GANGES BLVD                                                                       SWARTZ CREEK    MI   48473‐1605
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Name                              Address1                           Address2                      Address3                   Address4         City              State Zip
OLLER, ELFRIEDE                   8 W SUFFOLK CT                                                                                               FLINT              MI 48507‐4205
OLLER, IRMA O                     6483 MAPLE AVE                                                                                               SWARTZ CREEK       MI 48473‐8230
OLLER, JEFFERY S                  PO BOX 7006                                                                                                  GREENWOOD          IN 46142‐6421
OLLER, LIND K                     6269 W BRISTOL RD                                                                                            SWARTZ CREEK       MI 48473‐7901
OLLER, ROBERT J                   6529 ASHLEY CT                                                                                               GRANBURY           TX 76049‐1744
OLLER, ROBERT W                   1025 HARBOR DR                                                                                               HURON              OH 44839‐2669
OLLER, ROBIN H                    15692 MAUMEE RD                                                                                              DEFIANCE           OH 43512‐8206
OLLERHEAD, WILLIAM S              175 MARKET ST APT 405                                                                                        CHARLESTON         SC 29401‐6917
OLLERTON, MARLENE D               2209 BRIAR LN                                                                                                BURTON             MI 48509‐1232
OLLERTON, MARLENE D               2209 BRIAR LANE                                                                                              BURTON             MI 48509‐1232
OLLES JOSEPH C & WANDA MARGERET   ICO THE LANIER LAW FIRM PC         6810 FM 1960 WEST                                                         HOUSTON            TX 77069
OLLES
OLLES, JOHN C                     203 PINE HOV CIR APT D‐2                                                                                     GREENACRES        FL   33463‐9088
OLLES, JOHN C                     203 PINE HOV CIR                   APT D2                                                                    GREEN ACRES       FL   33463
OLLES, JOHN L                     1789 OAK ORCHARD RD                                                                                          ALBION            NY   14411‐9005
OLLESHEIMER, CATHERINE L          2865 EAGLE DR                                                                                                ROCHESTER HILLS   MI   48309‐2852
OLLETTE, MICHAEL J                12292 DELLA DR                                                                                               BRIGHTON          MI   48114‐8106
OLLEY, BRIAN S                    617 CHARLEMAGNE BLVD                                                                                         NAPLES            FL   34112‐7048
OLLEY, GREGORY M                  445 FITZ RD                                                                                                  WALES             MI   48027‐4214
OLLEY, TIMOTHY P                  2457 ORCHARD ST                                                                                              BLUE ISLAND       IL   60406‐1527
OLLI, GERALD M                    23523 GLENITA ST                                                                                             WARREN            MI   48091‐3204
OLLI, JAMES H                     59207 CONIFER CT                                                                                             WASHINGTON        MI   48094‐3757
OLLI, KEVIN                       5027 JUNE DR                                                                                                 ALMONT            MI   48003
OLLI, MILDRED H                   5 MOA CT                                                                                                     FT MYERS          FL   33912‐2022
OLLIA LAY                         1468 N 400 W                                                                                                 PERU              IN   46970‐7575
OLLIA PETOSKEY                    10244 E LIPPINCOTT BLVD                                                                                      DAVISON           MI   48423‐9192
OLLICE HIGGINS                    7783 ARBOR DR                                                                                                PARMA             OH   44130‐7602
OLLICK CARL A (403419)            SWEENEY ROBERT E CO                1500 ILLUMINATING BLDG , 55                                               CLEVELAND         OH   44113
                                                                     PUBLIC SQUARE
OLLICK, CARL A                    SWEENEY ROBERT E CO                1500 ILLUMINATING BLDG, 55                                                CLEVELAND         OH 44113
                                                                     PUBLIC SQUARE
OLLIE ALEX                        4654 BURKHARDT AVE APT 1                                                                                     DAYTON            OH   45431
OLLIE ANDERSON                    4344 W HIGHLAND DR APT 67                                                                                    MACON             GA   31210‐5686
OLLIE ARNOLD                      3511 DANDRIDGE AVE                                                                                           DAYTON            OH   45402‐4115
OLLIE B EVANS                     16401 TALFORD AVE                                                                                            CLEVELAND         OH   44128‐1323
OLLIE B MARTIN                    1312 CANFIELD AVE                                                                                            DAYTON            OH   45406‐4309
OLLIE B PEARSON                   GLASSER AND GLASSER                CROWN CENTER                  580 EAST MAIN ST STE 600                    NORFOLK           VA   23510
OLLIE B ROSS                      2333 STEPHEN AVE N.W.                                                                                        WARREN            OH   44485
OLLIE BAKER                       3118 PROCTOR AVE                                                                                             FLINT             MI   48504‐2648
OLLIE BARRY                       1533 OWEN STREET                                                                                             SAGINAW           MI   48601‐2851
OLLIE BARRY                       3724 DIAMONDALE DR E                                                                                         SAGINAW           MI   48601‐5805
OLLIE BENBERRY                    3833 CAMPBELL AVE                                                                                            INDIANAPOLIS      IN   46226‐4834
OLLIE BENNETT                     5334 ALTO VISTA AVE                                                                                          SHREVEPORT        LA   71109‐7100
OLLIE BISHOP                      168 WATERFRONT CV                  C/O VALERIE BISHOP                                                        CONWAY            AR   72032‐9095
OLLIE BLACK                       8750 S ERIE AVE                                                                                              KNIGHTSTOWN       IN   46148‐9630
OLLIE BLAIR                       1024 LAPEER AVE                                                                                              SAGINAW           MI   48607‐1536
OLLIE BOLTON                      2028 WERON LN                                                                                                CINCINNATI        OH   45225‐1232
OLLIE BRENT III                   5551 MAPLE PARK DR                                                                                           FLINT             MI   48507‐3904
OLLIE BROWN                       725 S ELIZABETH ST                                                                                           KOKOMO            IN   46901‐5640
OLLIE BRYANT                      200 W PROSPECT ST                                                                                            GIRARD            OH   44420‐1718
OLLIE BURTON                      1413 W DECKARD DR                                                                                            MITCHELL          IN   47446‐1046
OLLIE CAIN                        RR1 BOX 312                                                                                                  CANTON            MS   39046‐9801
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Name                 Address1                       Address2             Address3       Address4         City            State Zip
OLLIE CAINE          PO BOX 330533                                                                       HOUSTON          TX 77233‐0533
OLLIE CAPSHAW        526 N EMERSON AVE                                                                   INDIANAPOLIS     IN 46219‐5618
OLLIE CARSON JR      14208 CLOVERLAWN ST                                                                 DETROIT          MI 48238‐2430
OLLIE CHASE          7390 MILAN AVE                                                                      SAINT LOUIS      MO 63130‐1400
OLLIE CLARRY         12862 DRESDEN ST                                                                    DETROIT          MI 48205‐3350
OLLIE CLAYTON JR     326 RYAN DR                                                                         FAIRVIEW HTS      IL 62208‐3730
OLLIE CONAWAY        1607 W 61ST ST                                                                      INDIANAPOLIS     IN 46228‐1213
OLLIE COOMER         2419 KEWANNA LN                                                                     BEAVERCREEK      OH 45434‐6919
OLLIE CORNER         1001 W ELM ST                                                                       HARTFORD CITY    IN 47348‐1959
OLLIE COTTON         31130 STEPHEN AVE                                                                   WESTLAND         MI 48185‐1637
OLLIE CROSS          17874 NW ANASTASIA DR                                                               PORTLAND         OR 97229‐3095
OLLIE CROSS          17874 NORTHWEST ANASTASIA DR                                                        PORTLAND         OR 97229‐3095
OLLIE D TUCKER       4228 EULALEE DRIVE                                                                  WEST MEMPHIS     AR 72301
OLLIE DANIELS        15364 TULLER ST                                                                     DETROIT          MI 48238‐1949
OLLIE DAWKINS        2002 PERKINS ST                                                                     SAGINAW          MI 48601‐2050
OLLIE DIRCK          825 MAGIE AVE                                                                       FAIRFIELD        OH 45014‐1721
OLLIE DIXON          1005 ATWOOD LN                                                                      ANDERSON         IN 46016‐2742
OLLIE DIXON          239 GATSEY LN                                                                       BEAUFORT         NC 28516‐7695
OLLIE DONOVAN        MOTLEY RICE LLC                28 BRIDGESIDE BLVD   PO BOX 1792                     MT PLEASANT      SC 29465
OLLIE DRYDEN         27327 WYLY ST                                                                       CHESTERFIELD     MI 48047‐4938
OLLIE EPPS           24 GLENWOOD AVE                                                                     POUGHKEEPSIE     NY 12603‐3302
OLLIE EVANS          PO BOX 728                                                                          GORDONVILLE      TX 76245‐0728
OLLIE EVANS          16401 TALFORD AVE                                                                   CLEVELAND        OH 44128‐1323
OLLIE F BENNETT      5334 ALTO VISTA AVE                                                                 SHREVEPORT       LA 71109‐7100
OLLIE FARRAR         3317 GLENDALE ST                                                                    DETROIT          MI 48238‐3351
OLLIE FLEENOR        13346 LANTANA RD                                                                    CROSSVILLE       TN 38572‐5906
OLLIE FOWLER         1306 JAMES ST                                                                       LAKELAND         FL 33815‐4232
OLLIE FRITZ          4610 FOX TRAIL CIR                                                                  CINCINNATI       OH 45245‐1150
OLLIE FRYER          429 W FOSS AVE                                                                      FLINT            MI 48505‐2005
OLLIE FULLER         20551 MOTOR DR APT C3                                                               DETROIT          MI 48235‐1860
OLLIE GARNER         102 HIGHLAND DR                                                                     FLORENCE         MS 39073‐8977
OLLIE GEETER         PO BOX 901643                                                                       MEMPHIS          TN 38190‐1643
OLLIE GHOLSTON       6750 WILLOW TREE LN                                                                 SOLON            OH 44139‐2166
OLLIE GILLY JR       5210 FIRE WATER LN                                                                  INDIAN LAND      SC 29707‐6468
OLLIE GILMORE        50 DURHAM AVE                                                                       BUFFALO          NY 14215‐3008
OLLIE GRANT          11521 HALAWA LN                                                                     CYPRESS          CA 90630‐5706
OLLIE GRAVITT        4565 OLD NORCROSS RD                                                                DULUTH           GA 30096‐4217
OLLIE GREEN          1448 N 1403RD LN                                                                    FOWLER            IL 62338‐2114
OLLIE GROSS          1316 LEON RD                                                                        WALLED LAKE      MI 48390‐3612
OLLIE H JOHNSON JR   110 FRYE RD                                                                         HATTIESBURG      MS 39401
OLLIE HAIRSTON       219 EUBANKS RD                                                                      MONROE           NC 28112‐8213
OLLIE HALE           2904 MOSSDALE DR                                                                    ANTIOCH          TN 37013‐1323
OLLIE HALL           4403 WRANGLER DR SW                                                                 CONCORD          NC 28027‐3969
OLLIE HARPER         121 MARCUS UNDERWOOD ST                                                             BRANDON          MS 39042‐8706
OLLIE HARRISON       PO BOX 67                                                                           COOKS            MI 49817‐0067
OLLIE HARTLEY        941 MARKHAM ST                                                                      FLINT            MI 48507‐2568
OLLIE HENRY          727 CATALPA AVE                                                                     LIMA             OH 45804‐2565
OLLIE HERRON         221 S ANDERSON AVE                                                                  PONTIAC          MI 48342‐3201
OLLIE HOELTJE        2522 PHILWOOD DR                                                                    INDIANAPOLIS     IN 46224‐3359
OLLIE HOLMES         16149 OHIO ST                                                                       DETROIT          MI 48221‐2953
OLLIE HOSKINS        402 E 14TH ST                                                                       GEORGETOWN        IL 61846‐1222
OLLIE HOWARD         5320 RIVERSIDE DR                                                                   TRENTON          OH 45067‐9762
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Name                     Address1                             Address2                   Address3   Address4         City              State Zip
OLLIE HOWARD             11111 KENNEBEC ST                                                                           DETROIT            MI 48205‐3297
OLLIE HUDSON             11210 SHUETZ RD. APT#202                                                                    SAINT LOUIS        MO 63146
OLLIE HUTCHINSON         902 SAYBROOK DR                                                                             WATERFORD          MI 48327‐2587
OLLIE J ARNOLD           3511 DANDRIDGE AVE                                                                          DAYTON             OH 45402‐4115
OLLIE J ARNOLD           3511 DANDRIDGE AVE                                                                          DAYTON             OH 45402‐4115
OLLIE J MURPHY           3570 RUE FORET APT 83                                                                       FLINT              MI 48532‐2841
OLLIE J WILLIAMS         3416 BENTWILLOW LANE                                                                        YOUNGSTOWN         OH 44511
OLLIE JAMES              5551 RICHARDSON ST                                                                          FORT WORTH         TX 76119‐1707
OLLIE JEFFERSON JR       3943 168TH PL                                                                               CNTRY CLB HLS       IL 60478‐2133
OLLIE JENT               870 TAM O SHANTER WAY                                                                       MONROE             OH 45050‐1628
OLLIE JOHNSON            700 E COURT ST APT 219                                                                      FLINT              MI 48503‐6222
OLLIE JONES              245 BROOKLYN AVE                                                                            DAYTON             OH 45417‐2238
OLLIE KISER              128 RAWCEL HTS                                                                              MOREHEAD           KY 40351‐1054
OLLIE KNOX               6226 GASTON ST                                                                              HOUSTON            TX 77016‐1313
OLLIE KYLE               20508 HANSEN RD                                                                             MAPLE HEIGHTS      OH 44137‐2001
OLLIE L SUTTON VAUGHNS   1816 RUSSETT PL                                                                             FLINT              MI 48504‐1602
OLLIE L VAUGHNS          1816 RUSSETT PLACE                                                                          FLINT              MI 48504‐1602
OLLIE LANGHAM            387 W HIGHWAY B                                                                             RAYMONDVILLE       MO 65555‐8412
OLLIE LAWRENCE           APT 301                              1320 NORTH MONROE STREET                               STOCKTON           CA 95203‐2569
OLLIE LEE LANDON         5819 S DAMEN                                                                                CHICAGO             IL 60636
OLLIE LEWIS              8600 ALPINE ST                                                                              DETROIT            MI 48204‐3373
OLLIE LEWIS              5090 N SHORE DR                                                                             LAPEER             MI 48446‐8056
OLLIE LIGHTNER           1 COUNTRY LN APT F109                                                                       BROOKVILLE         OH 45309‐7202
OLLIE LINDSEY            124 LARKSPUR LN                                                                             COLUMBIA           SC 29229‐8173
OLLIE LOCKLEAR           680 BROWNTOWN RD                                                                            ROCKMART           GA 30153‐6342
OLLIE LONG               2724 W 11TH ST                                                                              ANDERSON           IN 46011‐2467
OLLIE M CAINE            PO BOX 330533                                                                               HOUSTON            TX 77233‐0533
OLLIE M HERRON           221 S ANDERSON AVE                                                                          PONTIAC            MI 48342‐3201
OLLIE M MITCHELL         5000 DRESDEN CT                                                                             MONROE             NC 28110‐6386
OLLIE M SAVAGE           660 SEWARD ST APT 115                                                                       DETROIT            MI 48202‐4436
OLLIE M WALLEN           936 FRANKLIN COMMONS CIR                                                                    FRANKLIN           OH 45005
OLLIE MANNING            108 QUEEN ANDRIA LN                                                                         JACKSON            MS 39209‐3136
OLLIE MANSHACK           193 FRANWOOD RD                                                                             ELM GROVE          LA 71051‐8121
OLLIE MARTIN             2709 N LOCKE ST                                                                             KOKOMO             IN 46901‐1513
OLLIE MAY                8551 STAWELL ST                                                                             DETROIT            MI 48204‐2725
OLLIE MCCONNELL          3108 CARVER ROAD                                                                            MODESTO            CA 95350‐0502
OLLIE MCGEE              354 LINDA BLVD                                                                              YAZOO CITY         MS 39194‐5142
OLLIE MEDCALF            198 MEDCALF LN                                                                              MENA               AR 71953‐7717
OLLIE MERRIWEATHER       910 SURRY DR                                                                                SHELBY             NC 28152‐7131
OLLIE MICHAEL            3924 BEATTIE RD                                                                             HOWELL             MI 48843‐7800
OLLIE MICHAEL LESLIE     2504 PATRICIA ROBERTS HARRIS PL NE                                                          WASHINGTON         DC 20018‐1633
OLLIE MITCHELL           5000 DRESDEN CT                                                                             MONROE             NC 28110‐6386
OLLIE MITCHELL JR        233 CHARLES LN                                                                              PONTIAC            MI 48341‐2930
OLLIE MORGAN             3785 RAMBLEWOOD DR                                                                          PORT HURON         MI 48060‐1577
OLLIE MOTON              32 ERSKINE AVE                                                                              BUFFALO            NY 14215‐3320
OLLIE MOZJESIK           800 WEB ST                                                                                  ARLINGTON          TX 76011‐5833
OLLIE MURPHY             3570 RUE FORET APT 83                                                                       FLINT              MI 48532‐2841
OLLIE NEECE              3634 MORNING GLORY DR                                                                       CASTLE ROCK        CO 80109‐7510
OLLIE NEWHOUSE           2107 SW GREEN OAKS BLVD                                                                     ARLINGTON          TX 76017‐2738
OLLIE NOBLE              5032 MOBILE DR                                                                              FLINT              MI 48507‐3801
OLLIE OLLIE              18155 MARGATE AVE                                                                           LATHRUP VILLAGE    MI 48076‐4507
OLLIE OSBORN             710 W HIGH ST                                                                               DEFIANCE           OH 43512‐1408
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Name                   Address1                        Address2                     Address3                   Address4         City               State Zip
OLLIE P ASHLEY         GLASSER AND GLASSER             CROWN CENTER                 580 EAST MAIN STREET STE                    NORFOLK             VA 23510
                                                                                    600
OLLIE PETERSON         2513 BONBRIGHT ST                                                                                        FLINT              MI   48505‐4908
OLLIE PETERSON         174 SOUTHERN SHORES RD                                                                                   JACKSON            GA   30233‐3365
OLLIE PHLEGM           317 MICHIGAN AVE                                                                                         PONTIAC            MI   48342‐2537
OLLIE PIPPEN JR        NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                             DAINGERFIELD       TX   75638
OLLIE PLASKY           155 LAKESHORE VIS                                                                                        HOWELL             MI   48843‐7558
OLLIE POUNDS           934 MARTIN LUTHER KING RD                                                                                FULTON             MS   38843‐6963
OLLIE RAINGE JR        C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                HOUSTON            TX   77007
                       BOUNDAS LLP
OLLIE RAY              PO BOX 631                                                                                               JACKSON            GA   30233‐0013
OLLIE REID             1516 BURT ST                                                                                             SAGINAW            MI   48601‐1968
OLLIE RICE             162 OLIVE RD                                                                                             DAYTON             OH   45427‐2053
OLLIE RICHARDSON       36335 AVONDALE ST                                                                                        WESTLAND           MI   48186‐8223
OLLIE ROACH            2169 ABERDEEN CIR                                                                                        MURFREESBORO       TN   37130‐2003
OLLIE ROBINSON         PO BOX 144                                                                                               TERRY              MS   39170‐0144
OLLIE ROOT             18665 COLVIN RD                                                                                          SAINT CHARLES      MI   48655‐9783
OLLIE ROSS             2333 STEPHENS AVE NW                                                                                     WARREN             OH   44485‐2318
OLLIE RUFFIN           1026 E RUSSELL AVE                                                                                       FLINT              MI   48505‐2202
OLLIE RUSZALA          15436 SUNSET ST                                                                                          LIVONIA            MI   48154‐3216
OLLIE RUTHERFORD       1133 E 360 N                                                                                             ANDERSON           IN   46012‐9212
OLLIE S BRUNSON        62 HALLWOOD AVENUE                                                                                       DAYTON             OH   45417‐2402
OLLIE SANDERS          416 JAMES STREET                                                                                         GREENVILLE         KY   42345‐2228
OLLIE SANDERS          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS         OH   44236
OLLIE SHEPARD          1591 SUMMIT RD APT 1                                                                                     CINCINNATI         OH   45237‐1912
OLLIE SHREWSBERRY      102 PORTER ST                                                                                            BECKLEY            WV   25801‐4830
OLLIE SKAGGS           5180 RADFORD DR                                                                                          MORROW             OH   45152‐1330
OLLIE SLATES           3173 BIRCH RUN                                                                                           ADRIAN             MI   49221
OLLIE SMITH            3202 WINONA ST                                                                                           FLINT              MI   48504‐2569
OLLIE SMITH            5260 COBBLEGATE BLVD APT C                                                                               MORAINE            OH   45439‐6130
OLLIE SMITH            ACCOUNT OF VERTRUS T SMITH      2110 JUNCTION AVE                                                        EL CERRITO         CA   94530‐1730
OLLIE SMITH            5260 COBBLEGATE DRIVE           APT C                                                                    MORANE             OH   45408
OLLIE STENNIS          8049 S INDIANA AVE                                                                                       CHICAGO            IL   60619‐3506
OLLIE STEWART          144 OTTAWA ST                                                                                            OAKLEY             CA   94561‐1673
OLLIE SUTTON‐VAUGHNS   1816 RUSSETT PL                                                                                          FLINT              MI   48504‐1602
OLLIE TABRON           245 NEW MILFORD RD                                                                                       RAVENNA            OH   44266‐3301
OLLIE TATUM            3934 JUSTIN BROOK LN                                                                                     WALKERTOWN         NC   27051‐9625
OLLIE TOWERY           3 DOOLITTLE DR                                                                                           DAYTON             OH   45431‐1305
OLLIE TRAYLOR          24566 WESTMORELAND DR                                                                                    FARMINGTON HILLS   MI   48336‐1958
OLLIE TUCKER           4228 EULALEE DR                                                                                          WEST MEMPHIS       AR   72301‐5009
OLLIE TURNER           1416 JEFFERSON AVE                                                                                       KALAMAZOO          MI   49006‐3132
OLLIE V COOMER         2419 KEWANNA LN                                                                                          BEAVERCREEK        OH   45434‐6919
OLLIE WAGERS           PO BOX 412                                                                                               HEIDRICK           KY   40949‐0412
OLLIE WALKER           435 W 125TH PL                                                                                           CHICAGO            IL   60628‐7133
OLLIE WATERS           183 CRYSTAL LAKE DR                                                                                      PONTIAC            MI   48341‐2406
OLLIE WATKINS          204 BAY RIDGE DR                                                                                         PENDLETON          IN   46064‐9478
OLLIE WEBB             42 MARY DAY AVE                                                                                          PONTIAC            MI   48341‐1729
OLLIE WEST             395 RIDGE RD APT A                                                                                       NORTH ARLINGTON    NJ   07031‐5389
OLLIE WHITE            3004 POST MEADOWS CT                                                                                     O FALLON           MO   63368‐7046
OLLIE WHITE            PO BOX 342                      1201 ELLIS ROAD                                                          MENARD             TX   76859‐0342
OLLIE WHITE            18575 HULL ST                                                                                            DETROIT            MI   48203‐2127
OLLIE WHITMORE         PO BOX 16                                                                                                MOUNT MORRIS       MI   48458‐0016
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Name                    Address1                        Address2                        Address3      Address4         City              State Zip
OLLIE WILDER            113 SAMMY CIRCLE                                                                               GRIFFIN            GA 30223‐8798
OLLIE WILKERSON         504 N CLEBURNE WHITNEY RD                                                                      RIO VISTA          TX 76093‐2704
OLLIE WILLIAMS          32 HALLER AVE                                                                                  BUFFALO            NY 14211‐2725
OLLIE WILLIAMS          3416 BENTWILLOW LN                                                                             YOUNGSTOWN         OH 44511‐2503
OLLIE WILLIAMS          5715 HOLWAY CT                                                                                 OAKLAND            CA 94621‐4252
OLLIE WILLIAMS          MOTLEY RICE LLC                 28 BRIDGESIDE BLVD              PO BOX 1792                    MT PLEASANT        SC 29465
OLLIE WILLIAMS JR       50 E 150TH ST                                                                                  HARVEY              IL 60426‐2147
OLLIE WILSON            222 BROAD ST                    APT. 303B                                                      JELLICO            TN 37762
OLLIE WOOD              11687 CASCADE ST                                                                               DETROIT            MI 48204‐1488
OLLIE WRIGHT            2809 N WINSTON DR                                                                              MUNCIE             IN 47304‐2179
OLLIE WRIGHT JR         810 KING PLACE                                                                                 JACKSONVILLE       AR 72076‐9245
OLLIE, COLUMBUS         10300 TIREMAN ST                                                                               DETROIT            MI 48204‐3147
OLLIE, DONALD S         4312 LOTUS DR                                                                                  WATERFORD          MI 48329‐1236
OLLIE, JAMES E          18239 STAHELIN AVE                                                                             DETROIT            MI 48219‐2802
OLLIE, OLLIE MAE        18155 MARGATE                                                                                  LATHRUP VILLAGE    MI 48076‐4507
OLLIE, OLLIE MAE        18155 MARGATE AVE                                                                              LATHRUP VILLAGE    MI 48076‐4507
OLLIE, ORA LEE          12374 CLOVERLAND                                                                               DETROIT            MI 48204
OLLIE, RUBY L.          981 HIGHWAY 12                                                                                 TCHULA             MS 39169‐4724
OLLIENE LOCK            1645 COW BRANCH RD                                                                             WEST LIBERTY       KY 41472‐8702
OLLIER SR, THOMAS K     3528 W. COUNTY RD. 6005                                                                        CLAYTON            IN 46118
OLLIER, GREGG A         3528 W COUNTY ROAD 600 S                                                                       CLAYTON            IN 46118‐9418
OLLIER, MARK S          310 HUDSON AVENUE                                                                              STILLWATER         NY 12170‐1301
OLLIER, PIERRE          5739 CREEK DR                                                                                  STERLING HTS       MI 48314‐3015
OLLIEWAY BYERS JR       4050 LAWN AVE                                                                                  KANSAS CITY        MO 64130‐1626
OLLIKAINEN, DOUGLAS W   1469 LANCASTER LN                                                                              ZIONSVILLE         IN 46077‐3814
OLLILA JR, NEIL D       48566 GOLDEN OAKS LN                                                                           SHELBY TOWNSHIP    MI 48317‐2610
OLLILA, CHERYL A        PO BOX 182280                                                                                  SHELBY TOWNSHIP    MI 48318‐2280
OLLILA, DOROTHY P       4123 DAWSON AVE                                                                                WARREN             MI 48092‐4318
OLLILA, ERIC M          251 GREENBRIAR DR                                                                              CORTLAND           OH 44410‐1612
OLLILA, JACK E          5625 CHEROKEE                                                                                  WASHINGTN TWP      MI 48094‐2013
OLLILA, MARK E          53527 BRUCE HILL DR                                                                            SHELBY TWP         MI 48316‐2119
OLLILA, MATT A          3550 APACHE RD                                                                                 VASSAR             MI 48768‐9562
OLLILA, ROBERT L        3404 LOON LAKE CT                                                                              WATERFORD          MI 48329‐4278
OLLIN ADKINS            25 GRACE ANN DR                                                                                CONOWINGO          MD 21918‐1428
OLLIN STARNES           480 HIGHWAY 93                                                                                 FALL BRANCH        TN 37656‐2020
OLLINGER, JOHN A        5403 HAZEN AVE                                                                                 KANSAS CITY        KS 66106‐3229
OLLINGS, ANDREW         813 ADDISON ST                                                                                 FLINT              MI 48505‐3912
OLLIO, GERALDINE L      28 WILSON ST                                                                                   LAMBERTVILLE       NJ 08530‐1814
OLLIS CLAY (446751)     BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD         OH 44067
                                                        PROFESSIONAL BLDG
OLLIS E FOMBY           C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                      HOUSTON            TX   77007
                        BOUNDAS LLP
OLLIS GARY              5094 COUNTY ROAD 81                                                                            FLAT ROCK          AL   35966‐4830
OLLIS PERRY III         9227 HEMPHILL DR                                                                               FORT WAYNE         IN   46819‐2325
OLLIS R IRELAND         C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                      HOUSTON            TX   77007
                        BOUNDAS LLP
OLLIS WRIGHT            BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH    44236
OLLIS, KENNETH E        1482 BRIDLE WAY BLVD                                                                           COLUMBUS          IN    47201‐8434
OLLIS, KENNETH E        51 W MILLER RD                                                                                 LA FONTAINE       IN    46940‐9100
OLLIS, KENNY R          981 SOMERVILLE JACKSONBURG RD                                                                  SOMERVILLE        OH    45064‐9456
OLLISON CLEROY          C/O EDWARD O MOODY PA           801 WEST FOURTH STREET                                         LITTLE ROCK       AR    72201
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Name                        Address1                         Address2                        Address3   Address4         City               State Zip
OLLISON GRANT (493070)      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                             PROFESSIONAL BLDG
OLLISON, CLEROY             MOODY EDWARD O                   801 W 4TH ST                                                LITTLE ROCK        AR   72201‐2107
OLLISON, DEBRA              54 MONTICELLO PL                                                                             BUFFALO            NY   14214‐2712
OLLISON, LESTER             16232 LAMPLIGHTER CT APT 4                                                                   SOUTHFIELD         MI   48075
OLLISON, RAYMOND            20686 RITCHIE RD                                                                             VERSAILLES         MO   65084‐5321
OLLIVIER DAVID F            OLLIVIER, DAVID F                452 STOKES ROAD                                             SHAMONG            NJ   08086
OLLIVIER, DAVID F           452 STOKES RD                                                                                SHAMONG            NJ   08088‐8414
OLLMANN, THOMAS R           1810 MONROE AVE                                                                              S MILWAUKEE        WI   53172‐1842
OLM, BARBARA J              523 ACLAND BLVD                                                                              BALLSTON SPA       NY   12020‐3077
OLMA PRATT                  764 NEALY CREEK RD                                                                           PINE TOP           KY   41843‐9081
OLMACK, RUTH M              24501 PANAMA AVE                                                                             WARREN             MI   48091‐4497
OLMEDA, ALFREDO             21018 MILBURY DR                                                                             WOODHAVEN          MI   48183‐1612
OLMEDA, FRANCISCO           610 N OLDEN AVE                                                                              TRENTON            NJ   08638‐4332
OLMEDA, GILBERT
OLMEDA, JOYCE M             3492 MEADOW HILL CIR                                                                         HOLLY              MI   48442‐8841
OLMEDA, OFELIA G            1602 FOURTH ST                                                                               SAN FERNANDO       CA   91340‐2322
OLMEDO, JOSE                1794 N ARROWHEAD AVE                                                                         RIALTO             CA   92376‐1507
OLMEDO, RODRIGO E           PO BOX 210533                                                                                AUBURN HILLS       MI   48321‐0533
OLMESTEAD KIMBERLY          STE 110                          90 GROVE STREET                                             RIDGEFIELD         CT   06877‐4129
OLMIN, IRIS                 2810 S CHANNEL DR                                                                            HARSENS ISLAND     MI   48028‐9515
OLMO, NICHOLAS M            2616 MAJESTIC OAK DR                                                                         MODESTO            CA   95355‐9401
OLMOS, ANTONIO D            7022 BOER AVE                                                                                WHITTIER           CA   90606‐1816
OLMOS, EVERARDO D           929 W ALFRED PL                                                                              MONTEBELLO         CA   90640‐2506
OLMSTEAD DAVID J (477258)   KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND          OH   44114
                                                             BOND COURT BUILDING
OLMSTEAD JAMES              4000 PINE LAKE RD                                                                            LINCOLN            NE   68516‐5484
OLMSTEAD LANA               OLMSTEAD, LANA                   24832 JOHN SUTTON LANE                                      ASTATULA           FL   34705‐9480
OLMSTEAD, ARDEN C           525 DEWEY ST                                                                                 ROYAL OAK          MI   48067‐1312
OLMSTEAD, AUDREY L          9465 N LINDEN RD                                                                             CLIO               MI   48420‐8554
OLMSTEAD, CHARLENE A        847 BAXTER ST                                                                                EAST LIVERPOOL     OH   43920‐1603
OLMSTEAD, CYNTHIA H         4224 N HENDERSON RD                                                                          DAVISON            MI   48423‐8401
OLMSTEAD, CYNTHIA HOPE      4224 N HENDERSON RD                                                                          DAVISON            MI   48423‐8401
OLMSTEAD, DAVID J           KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                CLEVELAND          OH   44114
                                                             BOND COURT BUILDING
OLMSTEAD, DICK E            5297 FAIRVIEW DR                                                                             GRAND BLANC        MI   48439‐5147
OLMSTEAD, DONALD D          541 EAST 9TH STREET                                                                          LOVELAND           CO   80537‐4923
OLMSTEAD, DONALD D          541 E 9TH                                                                                    LOVELAND           CO   80537‐4923
OLMSTEAD, DONALD LEE        9465 N LINDEN RD                                                                             CLIO               MI   48420‐8554
OLMSTEAD, DONALD W          847 BAXTER ST                                                                                EAST LIVERPOOL     OH   43920‐1603
OLMSTEAD, DOROTHY M.        221 N LAKEVIEW                                                                               GLADWIN            MI   48624‐8450
OLMSTEAD, EILEEN M          14 ACORN LN                                                                                  YORKTOWN HEIGHTS   NY   10598
OLMSTEAD, ELLA M            1449 EAST BALDWIN ROAD                                                                       GRAND BLANC        MI   48439‐8361
OLMSTEAD, FAY               1108 ALLARDE HIGHWAY                                                                         JAMESTOWN          TN   38556‐2560
OLMSTEAD, FRED E            2123 GOODRICH AVE                                                                            SAINT PAUL         MN   55105‐1021
OLMSTEAD, GARY M            10369 BAKER DR                                                                               CLIO               MI   48420‐7720
OLMSTEAD, GARY MICHAEL      10369 BAKER DR                                                                               CLIO               MI   48420‐7720
OLMSTEAD, GERALD L          7212 W DYER RD                                                                               TWINING            MI   48766‐9773
OLMSTEAD, GERALD LLOYD      7212 W DYER RD                                                                               TWINING            MI   48766‐9773
OLMSTEAD, IVAN F            888 MORNINGSIDE DR                                                                           LAKE ODESSA        MI   48849‐1239
OLMSTEAD, JAN E             1029 OTTAWAS LN                                                                              EAST TAWAS         MI   48730‐9448
OLMSTEAD, JERRY W           108 E SUE LN                                                                                 INDEPENDENCE       MO   64050‐1649
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Name                     Address1                               Address2       Address3         Address4         City            State Zip
OLMSTEAD, JEWELL C       1108 ALLARDT HWY                                                                        JAMESTOWN        TN 38556‐2560
OLMSTEAD, JUDD A         6215 E CLINTON TRL                                                                      EATON RAPIDS     MI 48827‐9004
OLMSTEAD, KATHLEEN       37 COPELAND PL                                                                          BUFFALO          NY 14207‐2140
OLMSTEAD, KATHLEEN       37 COPELAND PLACE                                                                       BUFFALO          NY 14207‐2140
OLMSTEAD, KATHRYN A      304 N GRACE ST                                                                          LANSING          MI 48917‐2948
OLMSTEAD, LANA           24832 JOHN SUTTON LN                                                                    ASTATULA         FL 34705‐9480
OLMSTEAD, LAURA M        233 ROGUE RIVER HWY PMB 1226                                                            GRANTS PASS      OR 97527‐5429
OLMSTEAD, LEO E          2306 27 1/2 AVE                                                                         RICE LAKE        WI 54868‐9762
OLMSTEAD, LIDA J         750 MISSISSIPPI RIVER BLVD S APT 227                                                    SAINT PAUL       MN 55116‐1071
OLMSTEAD, MARILYN J      5297 FAIRVIEW DR                                                                        GRAND BLANC      MI 48439‐5147
OLMSTEAD, PHYLLIS E      888 MORNINGSIDE DR                                                                      LAKE ODESSA      MI 48849‐1239
OLMSTEAD, ROBERT WAYNE   BOONE ALEXANDRA                        205 LINDA DR                                     DAINGERFIELD     TX 75638‐2107
OLMSTEAD, ROGER P        2207 SAN MARCO RD                                                                       MARCO ISLAND     FL 34145‐6904
OLMSTEAD, RORY J         7533 SQUIRES RD                                                                         MILLINGTON       MI 48746‐9772
OLMSTED AUTO CARE        27098 COOK RD                                                                           OLMSTED FALLS    OH 44138‐1111
OLMSTED PRODUCTS CO      1424 INTERNATIONAL DR                                                                   TRAVERSE CITY    MI 49686‐8751
OLMSTED, JAIME T         5496 CHATHAM LN                                                                         GRAND BLANC      MI 48439‐9801
OLMSTED, JAIME THOMAS    5496 CHATHAM LN                                                                         GRAND BLANC      MI 48439‐9801
OLMSTED, JAMES M         12859 W PARKWAY ST                                                                      DETROIT          MI 48223‐3017
OLMSTED, JOHN M          6444 LINCOLN LAKE RD NE                                                                 BELDING          MI 48809‐9637
OLMSTED, JUDITH D        6254 MERCURY AVE                                                                        BURTON           MI 48509‐2364
OLMSTED, THOMAS J        3407 S GENESEE RD                                                                       BURTON           MI 48519‐1427
OLMSTED, THOMAS W        2560 SCHOOL ST                                                                          BALLARD          CA 93463‐9754
OLNA WHEELER             426 MAIN ST                                                                             MOUNT MORRIS     MI 48458‐3124
OLNEY ELEANORE           412 BUCKEYE LN E                                                                        SAINT JOHNS      FL 32259‐4372
OLNEY GRAY               1577 WALDORF CIR NE                                                                     PALM BAY         FL 32905‐4534
OLNEY JR, THOMAS E       9257 WILBUR HWY                                                                         EATON RAPIDS     MI 48827‐9322
OLNEY, ANDREW S          9638 ALWARD RD                                                                          LAINGSBURG       MI 48848‐9297
OLNEY, ANDREW SCOTT      9638 ALWARD RD                                                                          LAINGSBURG       MI 48848‐9297
OLNEY, BARBARA J         15802 BROOK RD                                                                          LANSING          MI 48906‐1464
OLNEY, BELINDA K         11169 JERRYSON DR                                                                       GRAND LEDGE      MI 48837‐9181
OLNEY, CHERYL L          710 HOGSBACK RD                                                                         MASON            MI 48854‐9541
OLNEY, CLARENCE D        3222 BIBER ST                                                                           EAST LANSING     MI 48823‐1524
OLNEY, DOUGLAS J         710 HOGSBACK RD                                                                         MASON            MI 48854‐9541
OLNEY, DOYLE L           1111 HARDING AVE                                                                        OWOSSO           MI 48867‐4912
OLNEY, GEORGE W          3590 ROUND BOTTOM RD                                                                    CINCINNATI       OH 45244‐3026
OLNEY, GREGORY S         2222 N RIVER RD NW                                                                      WARREN           OH 44483
OLNEY, GREGORY SCOTT     2222 N RIVER RD NW                                                                      WARREN           OH 44483
OLNEY, JAMES E           7391 EMBURY RD                                                                          GRAND BLANC      MI 48439‐8133
OLNEY, JEFFREY N         3399 DUFFIELD RD                                                                        FLUSHING         MI 48433‐9709
OLNEY, JEFFREY NORMAN    3399 DUFFIELD RD                                                                        FLUSHING         MI 48433‐9709
OLNEY, JEFFREY S         890 N COLLEGE RD                                                                        MASON            MI 48854‐9325
OLNEY, JILL A            5096 SLEIGHT RD                                                                         BATH             MI 48808‐8410
OLNEY, JILL ANGELA       5096 SLEIGHT RD                                                                         BATH             MI 48808‐8410
OLNEY, JOHN L            2472 NW 50TH AVE                                                                        OKEECHOBEE       FL 34972
OLNEY, LEO R             9065 E RICHFIELD RD                                                                     DAVISON          MI 48423‐8413
OLNEY, LEOTA E           3325 ZION RD                                                                            JACKSON          MI 49201‐9599
OLNEY, NORMAN E          1716 S RIVERSIDE DR                                                                     AU GRES          MI 48703‐9794
OLNEY, PAUL A            28225 BRIAR HILL DRIVE                                                                  FARMINGTN HLS    MI 48336‐2219
OLNEY, PAUL ALLEN        28225 BRIAR HILL DRIVE                                                                  FARMINGTN HLS    MI 48336‐2219
OLNEY, RUTH A            220 EAST SYRINGA DRIVE                                                                  LANSING          MI 48910‐7444
OLNEY, RUTH A            220 E SYRINGA DR                                                                        LANSING          MI 48910‐7444
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Name                                     Address1                         Address2                       Address3                   Address4               City               State Zip
OLNEY, THOMAS E                          9321 WILBUR HWY                                                                                                   EATON RAPIDS        MI 48827‐9322
OLNEY, TIMOTHY E                         216 S SHERMAN ST                                                                                                  LESLIE              MI 49251‐9340
OLNEY, VIVIAN L                          7391 EMBURY RD                                                                                                    GRAND BLANC         MI 48439‐8133
OLOANE, JEFFERY L                        5162 HAWK HOLLOW DR E                                                                                             BATH                MI 48808‐9604
OLOFF, DONNA JEAN                        23725 WILMOT AVE                                                                                                  EASTPOINTE          MI 48021‐1860
OLOFF, RAYMOND S                         23725 WILMOT AVE                                                                                                  EAST DETROIT        MI 48021‐1860
OLOFF, SUZANNE M                         23725 WILMOT AVE                                                                                                  EASTPOINTE          MI 48021‐1860
OLOFSON ROLAND EUGENE (439376)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK             VA 23510
                                                                          STREET, SUITE 600
OLOFSON, DORIS L                         25231 SHOOK RD                                                                                                    HARRISON TWP       MI 48045‐3729
OLOFSON, KENNETH R                       5983 HIDDEN HIGHLANDS DR                                                                                          RENO               NV 89502‐8702
OLOFSON, ROLAND EUGENE                   C/O GLASSER AND GLASSER          CROWN CENTER, 580 EAST MAIN                                                      NORFOLK            VA 23510‐2212
                                                                          STREET, SUITE 600
OLOFSSON LP                              2727 LYONS AVE                                                                                                    LANSING            MI 48910‐3338
OLOFSSON LP                              1676 EAGLE LINKS DR                                                                                               MARION             OH 43302‐8135
OLOFSSON/LANSING                         2727 LYONS AVE                   P.O. BOX 27308                                                                   LANSING            MI 48910‐3338
OLOGY & TRAI/MD                          GENERAL PHYSICS CORP             P.O. BOX 752375                                                                  BALTIMORE          MD 21275‐0001
OLOL OLPLPL                              PLLPLP                                                                                                                                  47890
OLON BROWN                               615 WASHINGTON DR                                                                                                 ARLINGTON          TX 76011‐2255
OLON HALE JR.                            18046 MENDOTA ST                                                                                                  DETROIT            MI 48221‐2332
OLONE, JOHN J                            PO BOX 385                                                                                                        MT PROSPECT        IL 60056‐0385
OLORUNFENI OJUMU                         FAMILY SUPPORT FOR ACCOUNT OF    209 E FERRY ST                 OCHUN O OJUMU #F‐2498‐85                          BUFFALO            NY 14208‐1416

OLOSKY, CHARLES J                        17 HADLEY DR                                                                                                      FAIRPORT           NY    14450‐3066
OLOUGHLIN, DENNIS F                      8 ORIENT ST                                                                                                       WORCESTER          MA    01604
OLOUGHLIN, DENNIS W                      13905 YOUNG DR                                                                                                    HUDSON             MI    49247‐8261
OLOUGHLIN, MARTIN A                      145 MARBROOK DR                                                                                                   KETTERING          OH    45429‐5436
OLOUGHLIN, MARTIN T                      6780 JULIA DR                                                                                                     LAMBERTVILLE       MI    48144‐9409
OLOV STRANDENHOLT                        OLOV STRANDENHOLT                GOTEBORG                                                  64020 SWEDEN
OLOWNIK, SOPHIE B                        911 PARKWAY AVE                                                                                                   EWING              NJ    08618‐2307
OLOWSKI, MARGARET                        257 SIERRA VISTA RD                                                                                               SANTA BARBARA      CA    93108‐1744
OLOYEDE OLALEKAN                         12 BALL FARM WAY                                                                                                  WILMINGTON         DE    19808
OLPH J. HNILO JR. TO THE ESTATE OF RUD   4220 WALL AVE                                                                                                     ALLEN PARK         MI    48101‐3035

OLQUIN, PATRICIA                         CADDELL & CHAPMAN                1331 LAMAR ST STE 1070                                                           HOUSTON            TX    77010‐3036
OLREE, ROBERT M                          136 ECKFORD DR                                                                                                    TROY               MI    48085‐4745
OLRICH, GILBERT R                        7623 BECK RD                                                                                                      OTTAWA LAKE        MI    49267‐8728
OLRICH, LINDSAY A                        5904 CLOVER LN                                                                                                    TOLEDO             OH    43623‐1131
OLRICH, LINDSAY ALLEN                    5904 CLOVER LN                                                                                                    TOLEDO             OH    43623‐1131
OLS, AGNES M                             5105 WEATHERSTONE DR                                                                                              NORTH RIDGEVILLE   OH    44039‐1059
OLS, RALPH T                             5105 WEATHERSTONE DR                                                                                              NORTH RIDGEVILLE   OH    44039‐1059
OLS, THOMAS J                            PO BOX 3658                                                                                                       SAN DIMAS          CA    91773‐7658
OLSA SPA                                 KYLE BORING                      EREDI BOSCO                    CORSO ALLAMANO 70                                 LAKEWOOD           NJ    08701
                                                                                                         CASCINE VICA
OLSA SPA                                 26211 CENTRAL PARK BLVD          SUITE 507                                                                        SOUTHFIELD         MI 48076
OLSA SPA                                 CORSO ALLAMANO 70 CASCINE VICA                                                             RIVOLI 10090 ITALY
OLSA, SPA                                KYLE BORING                      EREDI BOSCO                    CORSO ALLAMANO 70                                 LAKEWOOD            NJ   08701
                                                                                                         CASCINE VICA
OLSA, SRL                                                                 C/O NEW TECHNOLOGIES NETWORK                                                                        MI 48076

OLSA, SRL/SOUTHFIELD                     C/O NEW TECHNOLOGIES NETWORK     26211 CENTRAL PARK BLVD.       SUITE 507                                         SOUTHFIELD         MI 48076
OLSABECK, LEROY L                        177 STONEWOOD CROSSING DR                                                                                         BOILING SPRINGS    SC 29316‐4830
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Name                              Address1                        Address2                     Address3   Address4         City                 State Zip
OLSABECK, ROBERT K                917 SW JEREMKO AVE                                                                       PORT ST LUCIE         FL 34953‐5666
OLSAN ALVIN                       530 ELMWOOD ST                                                                           SHREVEPORT            LA 71104‐5012
OLSAN, HELEN S                    2885 VOORHEIS RD                                                                         WATERFORD             MI 48328‐3254
OLSAN, IDA M                      N104W20913 WILLOW CREEK RD                                                               COLGATE               WI 53017‐9501
OLSAVSKY, MARY J                  1004 S QUIET BAY CIR                                                                     CICERO                IN 46034‐9565
OLSAVSKY, ROBERT N                8326 PENINSULA DR                                                                        FENTON                MI 48430
OLSAVSKY, ROSEMARY M              256 MATTA AVE                                                                            YOUNGSTOWN            OH 44509‐2907
OLSCHEFSKY, JAMES L               5234 SHELBYSHIRE DR                                                                      SHELBY TWP            MI 48316‐4165
OLSCHEWSKI, GLORIA F              PO BOX 686                                                                               ROCK HALL             MD 21661‐0686
OLSCHEWSKI, GLORIA F              20654 MERCER AVE                PO BOX 686                                               ROCK HALL             MD 21661
OLSCHEWSKI, HILDEGARD             281 OLD MEADOW DRIVE                                                                     ROCHESTER             NY 14626‐3548
OLSCHEWSKI, JANICE                837A LIVERPOOL CIRCLE                                                                    MANCHESTER            NJ 08759
OLSCHEWSKI, SIEGMUND              187 DEAN ROAD                                                                            SPENCERPORT           NY 14559‐9503
OLSCHEWSKI, SIEGMUND              187 DEAN RD                                                                              SPENCERPORT           NY 14559‐9503
OLSEN ‐ GERN, URSULA PAULA        1678 CHERRY ST                                                                           LAKE CITY             PA 16423‐1211
OLSEN CATHERINE                   OLSEN, CATHERINE                13325 WESSEL CT                                          STERLING HTS          MI 48313
OLSEN FILORAMO JARVI &            504 LUDINGTON ST                                                                         ESCANABA              MI 49829‐3926
OLSEN GARY                        13660 2ND AVE                                                                            GRAND RAPIDS          MI 49534
OLSEN GARY                        4049 N FRESNO ST                                                                         FRESNO                CA 93726‐4004
OLSEN GUY W (667474)              GOLDENBERG, MILLER, HELLER &    PO BOX 959                                               EDWARDSVILLE           IL 62025‐0959
                                  ANTOGNOLI
OLSEN IMPLEMENT, INC.             2025 US HIGHWAY 14 W                                                                     HURON                SD   57350‐5008
OLSEN IMPLEMENT, INC.             NELS OLSEN                      2025 US HIGHWAY 14 W                                     HURON                SD   57350‐5008
OLSEN JEROLD                      12 N STONE MOUNTAIN DR                                                                   SAINT GEORGE         UT   84770‐8010
OLSEN JERRY                       PO BOX 1178                                                                              ROSAMOND             CA   93560‐1178
OLSEN JR, ROGER K                 23312 RECREATION ST                                                                      ST CLAIR SHRS        MI   48082‐1317
OLSEN LAURA                       OLSEN, LAURA                    5901 CEDAR LAKE RD S                                     MINNEAPOLIS          MN   55416‐1488
OLSEN MANUFACTURING COMPANY INC   4353 DELEMERE BLVD                                                                       ROYAL OAK            MI   48073‐1806

OLSEN MARY B                      OLSEN, MARY B                   5901 CEDAR LAKE RD S                                     MINNEAPOLIS          MN 55416‐1488
OLSEN REPAIR                      635 US HIGHWAY 69                                                                        GARNER               IA 50438‐1437
OLSEN RICHARD (463442)            (NO OPPOSING COUNSEL)
OLSEN SCOTT                       OLSEN, SCOTT                    1797 SERPENTINE DRIVE                                    EAGAN                MN   55122‐1630
OLSEN STEPHEN                     OLSEN, STEPHEN                  5055 WILSHIRE BLVD STE 300                               LOS ANGELES          CA   90036‐6101
OLSEN STEVEN P                    OLSEN, STEVEN P                 649 N YORK ST                                            ELMHURST             IL   60126‐1604
OLSEN, ALAN R                     565 W CENTER ST                                                                          LA VERKIN            UT   84745‐5417
OLSEN, ALAN R                     5176 N ENOCH RD                                                                          ENOCH                UT   84721‐7620
OLSEN, ALBERT L                   719 BLAINE AVE                                                                           PONTIAC              MI   48340‐2401
OLSEN, ALICE                      2245 BLACKPOOL PL                                                                        SAN LEANDRO          CA   94577‐6045
OLSEN, ALICE                      2245 BLACK POOL PL                                                                       SAN LEANDO           CA   94577‐6045
OLSEN, ANN L                      4438 OPAL CT                                                                             SARASOTA             FL   34233‐2070
OLSEN, ANNE                       PO BOX 109                                                                               NASHVILLE            IN   47448‐0109
OLSEN, ARTHUR J                   331 W 12TH ST                                                                            TRAVERSE CITY        MI   49684‐4003
OLSEN, BARBARA Q                  1009 BALFOUR ST                                                                          GROSSE POINTE PARK   MI   48230‐1324
OLSEN, BERNADINE A                25 S SHAMROCK DR                                                                         JACKSON SPGS         NC   27281‐9713
OLSEN, BIRGER F                   77252 PINEWOOD LN                                                                        SOUTH HAVEN          MI   49090‐9488
OLSEN, BRIAN W                    1313 CHARLES ST                                                                          DE PERE              WI   54115
OLSEN, CARL H                     3352 BLOSSOM LN                                                                          NORTH TONAWANDA      NY   14120‐1272
OLSEN, CHARLES                    BOONE ALEXANDRA                 205 LINDA DR                                             DAINGERFIELD         TX   75638‐2107
OLSEN, CHARLES P                  67 HILLTOP RD                                                                            HOWELL               NJ   07731‐1973
OLSEN, CHERYL L                   3251 CHRISTOPHER LN             APT 210                                                  KEEGO HARBOR         MI   48320‐1360
OLSEN, CHRIS M                    23840 CEDAR RIDGE DR                                                                     ROMULUS              MI   48174‐9329
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Name                   Address1                            Address2               Address3   Address4         City                 State Zip
OLSEN, CHRISTOPHER A   115 POTTER AVE                                                                         ROYAL OAK             MI 48067‐1919
OLSEN, CHRISTOPHER D
OLSEN, DAVID E         1542 N GREEN CREEK RD                                                                  MUSKEGON             MI    49445‐8698
OLSEN, DEBRA L         4310 SHALLOW LAKE DR                                                                   JACKSONVILLE         FL    32258‐4185
OLSEN, DEXTER H        7090 SOUTH M52                                                                         OWOSSO               MI    48867
OLSEN, DONALD B        34024 WILLIAMSBURG CT                                                                  STERLING HTS         MI    48312‐4663
OLSEN, DONALD L        512 N MAIN BOX 313                                                                     MORRICE              MI    48857
OLSEN, DOROTHY J       16501 N EL MIRAGE RD LOT 517                                                           SURPRISE             AZ    85374‐3798
OLSEN, EDWARD J        1009 BALFOUR ST                                                                        GROSSE POINTE        MI    48230‐1324
OLSEN, EDWIN O         BOONE ALEXANDRA                     205 LINDA DR                                       DAINGERFIELD         TX    75638‐2107
OLSEN, ELEANOR R.      2537 SE 7TH CT                                                                         HOMESTEAD            FL    33033‐5211
OLSEN, ERVIE M         204 HILLHURST DR                                                                       SELMER               TN    38375‐1905
OLSEN, EUNICE L        48 S MERRIMAC ST                                                                       PONTIAC              MI    48340‐2534
OLSEN, GARY T          1881 BROADSMORE DR                                                                     ALGONQUIN            IL    60102‐6619
OLSEN, GLENN E         1025 SARAH ST                                                                          GRAND BLANC          MI    48439‐8931
OLSEN, GREGORY G       578 WOODWAY CT                                                                         BLOOMFIELD HILLS     MI    48302‐1572
OLSEN, GUY W           GOLDENBERG, MILLER, HELLER &        PO BOX 959                                         EDWARDSVILLE         IL    62025‐0959
                       ANTOGNOLI
OLSEN, GUY W           C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                               EDWARDSVILLE          IL   62025
                       ROWLAND P C
OLSEN, GWENDOLYN J     9351 FIFTEEN MILE RD                                                                   RODNEY               MI    49342‐9784
OLSEN, GWENDOLYN J     9351 15 MILE RD                                                                        RODNEY               MI    49342‐9784
OLSEN, GWENDOLYN M     2504 MISSION CIR                    COTTAGE #11                                        BILLINGS             MT    59102‐0163
OLSEN, HARRY G         41150 FOX RUN APT 622                                                                  NOVI                 MI    48377‐5028
OLSEN, HELEN M         2343 COWAN RD                                                                          IONIA                MI    48846‐9521
OLSEN, IRETA L         7052 TREETOP LN NE                                                                     ROCKFORD             MI    49341‐9685
OLSEN, ISABELLA        458 LAKEWOOD AVE                                                                       BRUNSWICK            OH    44212‐1808
OLSEN, JAMES           1206 6TH ST W                                                                          ASHLAND              WI    54806‐1214
OLSEN, JAMES A         149 JASPER DR                                                                          CROSSVILLE           TN    38558‐8665
OLSEN, JAMES P         912 GAINSBOROUGH DR                                                                    EAST LANSING         MI    48823‐1836
OLSEN, JAMES PAUL      912 GAINSBOROUGH DR                                                                    EAST LANSING         MI    48823‐1836
OLSEN, JAMES W         3911 EMBARCADERO ST                                                                    WATERFORD TOWNSHIP   MI    48329‐2247
OLSEN, JANE R          2250 N. CAROLINA ST.                                                                   SAGINAW              MI    48602‐3869
OLSEN, JANE R          2250 N CAROLINA ST                                                                     SAGINAW              MI    48602‐3869
OLSEN, JANICE          12016 RACHAEL                                                                          MONTROSE             MI    48457
OLSEN, JANICE L        330 SNEAD DR                                                                           CROSSVILLE           TN    38558‐8039
OLSEN, JAY L           PO BOX 460                                                                             ASHLAND              OH    44805‐0460
OLSEN, JEAN O          104 NORTH RAUM                                                                         LAWSON               MO    64062‐9389
OLSEN, JEAN O          104 N RAUM ST                                                                          LAWSON               MO    64062‐9389
OLSEN, JEFFREY D       4170 E LAKE RD                                                                         CLIO                 MI    48420‐9121
OLSEN, JEFFREY DAVID   4170 E LAKE RD                                                                         CLIO                 MI    48420‐9121
OLSEN, JEFFREY L       35865 WEST 182ND STREET                                                                LAWSON               MO    64062‐7012
OLSEN, JOANNE M        14233 SUSANNA ST                                                                       LIVONIA              MI    48154‐5914
OLSEN, JOHN A          21540 LUJON DR                                                                         NORTHVILLE           MI    48167‐9080
OLSEN, JOHN E          25 S SHAMROCK DR                                                                       FOXFIRE VILLAGE      NC    27281‐9713
OLSEN, JON M           920 VINE ST                                                                            LANSING              MI    48912‐1528
OLSEN, JOSEPH E        1771 ACKLEY AVE                                                                        WESTLAND             MI    48186‐4498
OLSEN, JULIE A         2101 S YELLOW WOOD UNIT 89                                                             MESA                 AZ    85209‐1491
OLSEN, KATHLEEN M      1735 ROSEWOOD DR                                                                       PISCATAWAY           NJ    08854
OLSEN, KENNETH M       5660 N LAKE RD                                                                         COLUMBIAVILLE        MI    48421‐9327
OLSEN, KENNETH W       9350 LOCHMOOR DR                                                                       DAVISON              MI    48423‐8711
OLSEN, LARITA K        1600 NE 61ST TER                                                                       GLADSTONE            MO    64118‐4915
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Name                      Address1                        Address2                     Address3              Address4                 City               State Zip
OLSEN, LARITA K           1600 NE 61 TERR                                                                                             GLADSTONE           MO 64118‐4915
OLSEN, LAWRENCE C         PO BOX 1584                                                                                                 INVERNESS           FL 34451‐1584
OLSEN, LAWRENCE P         3127 S SCHUMAN RD                                                                                           ORFORDVILLE         WI 53576‐9530
OLSEN, LIMA M             3486 GOLDA CIRCLE                                                                                           NORTH FORT MYERS    FL 33917
OLSEN, M L                34024 WILLIAMSBURG CT                                                                                       STERLING HEIGHTS    MI 48312‐4663
OLSEN, M LYNN             34024 WILLIAMSBURG CT                                                                                       STERLING HEIGHTS    MI 48312‐4663
OLSEN, MARC A             APT 4                           820 EAST JEFFERSON STREET                                                   BLOOMINGTON          IL 61701‐4177
OLSEN, MARIA ALICE P      R. COL.CELSO WERNECK 51‐301                                                        BELO HORIZON MG BRAZIL
                                                                                                             30350010
OLSEN, MARY J             9910 US 23 HWY SOUTH                                                                                        OSSINEKE           MI   49766‐9614
OLSEN, MARYLEE            18539 EDGEWOOD CT                                                                                           FARMINGTON         MN   55024‐8608
OLSEN, MELODY D           2832 MARTEL DR                                                                                              DAYTON             OH   45420‐2244
OLSEN, MICHAEL J          3002 PEASE LN                                                                                               SANDUSKY           OH   44870‐5977
OLSEN, MICHAEL J          2207 34 1/2 AVE S                                                                                           FARGO              ND   58104
OLSEN, MONICA A           512 MAIN ST                                                                                                 MORRICE            MI   48857‐2525
OLSEN, NANCY              27667 26 MILE RD                                                                                            NEW HAVEN          MI   48048‐2432
OLSEN, OLE D              604 SOUTH 3RD STREET                                                                                        MONTROSE           CO   81401‐4208
OLSEN, P P                PO BOX 422                                                                                                  GAYLORD            MI   49734‐0422
OLSEN, PAUL               2765 FURBECK RD                                                                                             ALTAMONT           NY   12009‐5805
OLSEN, PAUL               2926 WINDERMERE RD                                                                                          SCHENECTADY        NY   12304‐3631
OLSEN, PAUL S             205 DICKSON ST                                                                                              ORFORDVILLE        WI   53576‐9405
OLSEN, PAULETTE           14214 PLYMOUTH AVE                                                                                          BURNSVILLE         MN   55337‐5785
OLSEN, RAYMOND A          3269 NORTHMOR DR W                                                                                          ADRIAN             MI   49221‐9135
OLSEN, RHONDA L           PO BOX 94                                                                                                   TWINSBURG          OH   44087
OLSEN, RHONDA LEE         PO BOX 94                                                                                                   TWINSBURG          OH   44087
OLSEN, RICHARD            C/O BRAYTON PURCELL             PO BOX 6169                  222 RUSH LANDING RD                            NOVATO             CA   94948‐6169
OLSEN, RICHARD L          8938 MANTON AVE                                                                                             PLYMOUTH           MI   48170‐4121
OLSEN, RICK J             5040 CARIBEE DR                                                                                             SAINT LOUIS        MO   63128‐2926
OLSEN, RICK L             420 THOMAS AVE S                                                                                            MINNEAPOLIS        MN   55405
OLSEN, RICKEY L           133 S PENNSYLVANIA AVE                                                                                      LAWSON             MO   64062
OLSEN, ROBERT C           4478 SW FENWICK LN                                                                                          PALM CITY          FL   34990‐4436
OLSEN, ROBERT E           C/O BJARNE OLSEN                9437 SHORE RD                                                               BROOKLYN           NY   11209
OLSEN, ROBERT G           3300 COIN ST                                                                                                BURTON             MI   48519‐1542
OLSEN, ROBERT M           495 W LIBERTY ST                                                                                            EVANSVILLE         WI   53536‐1225
OLSEN, RONALD G           20591 RIVER DR                                                                                              ESTERO             FL   33928‐3609
OLSEN, RONALD J           120 LOUNSBERRY HOLLOW RD        ROAD                                                                        SUSSEX             NJ   07461‐4914
OLSEN, RONALD R           5674 ROBINDALE AVE                                                                                          DEARBORN HTS       MI   48127‐3143
OLSEN, ROY                BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                                 WILMINGTON         DE   19899‐2165
OLSEN, ROYAL R            3594 HENRY HWY                                                                                              LEWISTON           MI   49756‐7908
OLSEN, RUSSELL G          1011 E BALDWIN RD                                                                                           GRAND BLANC        MI   48439‐8318
OLSEN, SALLY A            9162 LUEA LN                                                                                                SWARTZ CREEK       MI   48473‐1076
OLSEN, SANDRA E           300 PINE CREEK CT                                                                                           WATERFORD          MI   48327‐1585
OLSEN, SANDRA ELIZABETH   300 PINE CREEK CT                                                                                           WATERFORD          MI   48327‐1585
OLSEN, SCOTT              1797 SERPENTINE DR                                                                                          EAGAN              MN   55122‐1630
OLSEN, SHARYN S           3234 RT 7 # 126                                                                                             HARTFORD           OH   44424‐4424
OLSEN, SHARYN S           3234 #126 RT 7                                                                                              HARTFORD           OH   44424
OLSEN, SHIRLEY L          323 BLACK RIVER AVE                                                                                         WESTBY             WI   54667‐1127
OLSEN, STANLEY J          1154 SALIDO AVE                                                                                             LADY LAKE          FL   32159‐9452
OLSEN, STEPHEN            KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                                                  LOS ANGELES        CA   90036‐6101
OLSEN, STEPHEN V          344 IMAGINATION DR                                                                                          ANDERSON           IN   46013‐1049
OLSEN, STEVEN P           CONSUMER LEGAL SERVICES         649 N YORK ST                                                               ELMHURST           IL   60126‐1604
OLSEN, SUSAN M.           450 SUNSET DR                                                                                               JANESVILLE         WI   53548
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Name                             Address1                             Address2                      Address3              Address4         City           State Zip
OLSEN, SUZANNE                   14551 EAGLE RIDGE DR                                                                                      FORT MYERS      FL 33912‐1804
OLSEN, SYDNEY W                  205 DICKSON ST                                                                                            ORFORDVILLE     WI 53576‐9405
OLSEN, TERRANCE W                2419 YORKSHIRE DR                                                                                         LAPEER          MI 48446‐9011
OLSEN, THEODORE R                2679 CANAL RD                                                                                             AVON PARK       FL 33825‐9098
OLSEN, THERESA C                 69 W 11TH ST                                                                                              BAYONNE         NJ 07002‐1361
OLSEN, THERESA C                 69 WEST 11TH ST                                                                                           BAYONNE         NJ 07002‐1361
OLSEN, THOMAS E                  641 W PLUMB ST                                                                                            AURORA          MO 65605‐1829
OLSEN, V R                       WALKER HIGHWAY                                                                                            MILLERSBURG     MI 49759
OLSEN, VICTOR G                  784 NORWICH RD                                                                                            VANDALIA        OH 45377‐1630
OLSEN, VICTORIA L                575 S BRIARVALE DR                                                                                        AUBURN HILLS    MI 48326‐3378
OLSEN, VIRGINIA E                PO BOX 1866                                                                                               FAYETTEVILLE    AR 72702‐1866
OLSEN, WESLEY C                  392 POINSETTIA AVE                   P.O. BOX 1171                                                        SEBRING         FL 33870‐3749
OLSEN, WILLIAM A                 4702 LA CHENE DR                                                                                          WARREN          MI 48092‐1924
OLSEN, WILLIAM E                 14 S RANDALL AVE                                                                                          JANESVILLE      WI 53545‐2664
OLSEN, WILLIAM J                 3579 W HURON RD                                                                                           STANDISH        MI 48658‐9162
OLSEN,JEFFREY J                  12189 BLANCHARD ST                                                                                        OSSINEKE        MI 49766‐9785
OLSEN‐MOROSO, KRISTIN K          14332 BLUEBIRD TRL NE                                                                                     PRIOR LAKE      MN 55372‐1204
OLSEWSKI, MARY                   329 LAFAYETTE STREET                                                                                      LINDEN          NJ 07036‐5061
OLSEY, DEBORAH M                 14119 N CLIO RD                                                                                           CLIO            MI 48420‐8804
OLSEY, EMALY JANE                G6443 SUMMIT ST                                                                                           MT MORRIS       MI 48458‐2318
OLSEY, JOHN G                    14391 TUSCOLA RD                                                                                          CLIO            MI 48420‐8849
OLSEY, JOHN GEORGE               14391 TUSCOLA RD                                                                                          CLIO            MI 48420‐8849
OLSEY, LORI A                    20681 WINDHAM DR                                                                                          MACOMB          MI 48044‐3544
OLSEY, MARGARET J                3422 HOLLY AVE                                                                                            FLINT           MI 48506‐4714
OLSEY, RAYMOND P                 14119 N CLIO RD                                                                                           CLIO            MI 48420‐8804
OLSEY, RAYMOND PATRICK           14119 N CLIO RD                                                                                           CLIO            MI 48420‐8804
OLSEY, RONALD N                  6121 W VIENNA RD                                                                                          CLIO            MI 48420‐9404
OLSEY, RONALD NORMAN             6121 W VIENNA RD                                                                                          CLIO            MI 48420‐9404
OLSEY, RUSSELL L                 6508 CHICAGO RD                                                                                           FLUSHING        MI 48433‐9014
OLSEY, STEPHANIE L               1612 COLORADO AVE                                                                                         FLINT           MI 48506‐2701
OLSHAN GRUNDMAN FROME            ANDREA FISCHER (AF 2591)             PARK AVENUE TOWER             66 EAST 55TH ST                        NEW YORK        NY 10022
ROSENZWEIG & WOLOSKY LLP
OLSHAN GRUNMAN FROM ROSENZWEIG & ATTORNEYS FOR THE SHERWIN‐WILLIAMS   ATTN: ANDREA FISCHER          65 EAST 55TH STREET                    NEW YORK       NY 10022
WOLOSKY LLP                      COMPANY
OLSHANSKY, HELEN M               5575 MCKEACHIE RD                                                                                         WHITE LAKE     MI   48383‐1339
OLSHAVSKY, BERTHA R              14772 RICHMOND                                                                                            SOUTHGATE      MI   48195‐3706
OLSHAVSKY, PAUL D                1239 MEADOWBROOK BLVD                                                                                     BRUNSWICK      OH   44212‐2828
OLSHEFSKI, DAVID J               51 PASADENA DR                                                                                            ROCHESTER      NY   14606‐4606
OLSHEFSKI, JOSEPHINE A           37 CASSANDRA CIRCLE                                                                                       CHURCHSVILLE   NY   14428‐9776
OLSHOVE, CYNTHIA D               20052 NEWCASTLE CT                                                                                        MACOMB         MI   48044‐2157
OLSHOVE, DOLORES K               5021 HIGHWAY 9 NORTH                                                                                      SPRINGFIELD    AR   72157‐9670
OLSICK, JAMES E                  12490 E ATHERTON RD                                                                                       DAVISON        MI   48423
OLSICK, JOSEPH A                 3255 N HENDERSON RD                                                                                       DAVISON        MI   48423‐8166
OLSICK, LOIS L                   12336 TUSCOLA ROAD                                                                                        CLIO           MI   48420‐1063
OLSIE EKLEBERRY                  7642 N HONEYSUCKLE LN                                                                                     EDGERTON       WI   53534‐9718
OLSON BERT A (660923)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                          NORFOLK        VA   23510
                                                                      STREET, SUITE 600
OLSON CASEY                       OLSON, CASEY                        110 5TH ST                                                           TROY           MO 63379
OLSON CHAD                        OLSON, CHAD                         3541 45TH AVE S                                                      MINNEAPOLIS    MN 55406‐2926
OLSON CHESTER R (439377)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK        VA 23510
                                                                      STREET, SUITE 600
OLSON DAVE                        5943 BORDMAN RD                                                                                          DRYDEN         MI 48428‐9300
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Name                                  Address1                             Address2                          Address3         Address4         City             State Zip
OLSON DAVID (431471)                  THALER STEVEN                        115 BROADWAY FRNT 3                                                 NEW YORK          NY 10006‐1638
OLSON DONNA                           7352 E TUCKEY LN                                                                                         SCOTTSDALE        AZ 85250‐4528
OLSON DOROTHEA                        PO BOX 415                                                                                               DEVILS LAKE       ND 58301‐0415
OLSON EARLE F (342533)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA 23510
                                                                           STREET, SUITE 600
OLSON FLOYD C (629594)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA 23510
                                                                           STREET, SUITE 600
OLSON HARLAN C (467037)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA 23510
                                                                           STREET, SUITE 600
OLSON I I, CLINTON W                  845 MOCK RD                                                                                              BELLVILLE        OH    44813‐9198
OLSON II, ALLEN A                     5879 VERTA DR NE                                                                                         BELMONT          MI    49306‐9753
OLSON II, CLINTON W                   845 MOCK RD                                                                                              BELLVILLE        OH    44813‐9198
OLSON III, LAWRENCE W                 320 MARCUS ST                                                                                            MANSFIELD        OH    44903‐8602
OLSON JACK (658787)                   BRAYTON PURCELL                      PO BOX 6169                                                         NOVATO           CA    94948‐6169
OLSON JEFFREY R                       122 AUSTIN ST                                                                                            HYDE PARK        MA    02136‐1536
OLSON JOHN                            8684 E ILIFF DR                                                                                          DENVER           CO    80231‐3809
OLSON JOHN A (459237)                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA    23510
                                                                           STREET, SUITE 600
OLSON JR, ALBERT T                    41505 CARLOTTA DR APT 211                                                                                PALM DESERT      CA    92211‐3272
OLSON JR, ANO H                       PO BOX 164                                                                                               ORTONVILLE       MI    48462‐0164
OLSON JR, CARL J                      3219 E HAZELTINE WAY                                                                                     CHANDLER         AZ    85249‐9068
OLSON JR, HERBERT G                   6163 MOSS OAK WAY                                                                                        SAN JOSE         CA    95120‐2729
OLSON JR, JOHN                        6156 W ADAMS                                                                                             BELLEVILLE       MI    48111‐4200
OLSON JR, LAWRENCE W                  1737 DOUGWOOD DR                                                                                         MANSFIELD        OH    44904‐1806
OLSON JR, ROY E                       5415 ALDORAN RD                                                                                          SAGINAW          MI    48638‐5537
OLSON KENNETH D (407391)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA    23510
                                                                           STREET, SUITE 600
OLSON LELAND (459238)                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA 23510
                                                                           STREET, SUITE 600
OLSON LEONARD S (626692)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA 23510
                                                                           STREET, SUITE 600
OLSON LIVING TRUST                    RODGER H OLSON                       PHYLLIS KAY OLSON TTEES           1284 S ELMS RD                    FLINT            MI 48532
OLSON LOGISTICS SOLUTIONS INC         125 3RD ST                                                                                               WILMETTE         IL 60091‐3447
OLSON ORIEN (459239)                  GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA 23510
                                                                           STREET, SUITE 600
OLSON PAUL H (439378)                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA 23510
                                                                           STREET, SUITE 600
OLSON PHYLLIS                         2210 DOUGLAS DR N                                                                                        GOLDEN VALLEY    MN 55422‐3357
OLSON REGINALD (ESTATE OF) (625566)   BOECHLER PC                          1120 28TH AVENUE ‐ SUITE P O N                                      FARGO            ND 58107
                                                                           BOX A
OLSON RICHARD L                       119 N OAK GROVE DR # 18A                                                                                 MADISON          WI 53717
OLSON RICK                            17315 OAK FOREST DR                                                                                      MABELVALE        AR 72103‐4895
OLSON RODNEY (459240)                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA 23510
                                                                           STREET, SUITE 600
OLSON ROSEMARY                        10465 SOUTHWEST 52ND STREET                                                                              COOPER CITY       FL   33328‐4912
OLSON ROSEMARY                        ATTN: CORPORATE OFFICER/AUTHORIZED   20131 NORTHWEST 15TH AVE                                            MIAMI             FL   33016
                                      AGENT
OLSON STEPHEN (462201)                BRAYTON PURCELL                      215 S STATE ST STE 900                                              SALT LAKE CITY   UT 84111‐2353
OLSON TABITHA                         OLSON, TABITHA A                     16855 WEST BERNARDO DRIVE SUITE                                     SAN DIEGO        CA 92127
                                                                           380
OLSON THEODORE                        OLSON, THEODORE                      131 SAGEBRUSH STREET                                                ROCKPORT         TX 78382
OLSON THOMAS (635645)                 BRAYTON PURCELL                      PO BOX 6169                                                         NOVATO           CA 94948‐6169
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Name                              Address1                          Address2                      Address3   Address4         City           State Zip
OLSON WALTER MARVIN (ESTATE OF)   STE 163W                          1 RICHMOND SQUARE                                         PROVIDENCE       RI 02906‐5172
(644706)
OLSON WAREHOUSE &                 1717 PEARL ST                                                                               WAUKESHA       WI 53186‐5626
DISTRIBUTIONCOMPANY
OLSON'S AUTO REPAIR               251 W 7TH AVE                                                                               EUGENE         OR   97401
OLSON'S AUTO SERVICE              630 15TH ST                                                                                 MOLINE         IL   61265‐2025
OLSON'S AUTOMOTIVE                721 W BRECKINRIDGE ST                                                                       LOUISVILLE     KY   40203‐2107
OLSON'S CAR CARE                  2033 W UNIVERSITY DR STE 113                                                                MESA           AZ   85201‐5200
OLSON'S REPAIR                    4 N MAIN STREET                                                                             KARLSRUHE      ND   58744
OLSON, ANGIE J                    3609 COVENTRY DR                                                                            JANESVILLE     WI   53546‐9666
OLSON, ANITA G                    4424 MARIPOSA RD                                                                            CASTLE ROCK    CO   80104
OLSON, ANTHONY C                  113 GARFIELD ST                                                                             EDGERTON       WI   53534‐1715
OLSON, APRIL
OLSON, ARLENE W                   2485 GOLFVIEW CIRCLE                                                                        FENTON         MI   48430‐9633
OLSON, ARTHUR J                   8385 FOLDENAUER DR                                                                          HOWELL         MI   48843‐7200
OLSON, AUDREY O                   3605 CHICKASAW DR                                                                           EDMOND         OK   73013‐6854
OLSON, BARBARA A                  3600 SEFFNER DR                                                                             HOLIDAY        FL   34691‐3337
OLSON, BARBARA A                  4338 WOODSIDE MEADOW CT                                                                     DORR           MI   49323‐8025
OLSON, BARBARA A                  3292 SE STEPHENS                                                                            PORTLAND       OR   97214‐5053
OLSON, BARBARA J                  47480 COLONY CT                                                                             SHELBY TWP     MI   48315‐4623
OLSON, BEATRICE H                 1834 MISSISSIPPI RIVER BLVD S                                                               SAINT PAUL     MN   55116
OLSON, BENJAMIN O                 4703 N US HIGHWAY 51                                                                        JANESVILLE     WI   53545‐9606
OLSON, BENNY C                    6610 1ST AVE E                                                                              BRADENTON      FL   34208‐6066
OLSON, BERT A                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510
                                                                    STREET, SUITE 600
OLSON, BERT T                     8229 W DAY FOREST RD                                                                        EMPIRE         MI   49630‐9708
OLSON, BERTHA                     363 LARUE RD                                                                                MASSENA        NY   13662‐3370
OLSON, BEVERLY B                  2110 HWY 27 S H26                                                                           CLERMONT       FL   34714
OLSON, BOYDEN R                   5347 N HUBBARD LAKE RD                                                                      SPRUCE         MI   48762‐9308
OLSON, BRADD M                    1256 WOODLAND DR                                                                            MILTON         WI   53563‐1814
OLSON, BRET M                     521 WOODSTONE CT                                                                            WHITE LAKE     MI   48386‐3786
OLSON, BRIAN L                    PO BOX 9022                       C/O JOHANNESBURG                                          WARREN         MI   48090‐9022
OLSON, BRIAN LEE                  PO BOX 9022                       C/O JOHANNESBURG                                          WARREN         MI   48090‐9022
OLSON, BRUCE A                    1714 WOODGATE DR                                                                            TROY           MI   48083‐5525
OLSON, BRYAN R                    523 DURKEE ST                                                                               LAWTON         MI   49065
OLSON, BURNELL M                  5671 STATE HIGHWAY DD                                                                       REEDS SPRING   MO   65737‐7709
OLSON, C J                        1278 LILAC LN                                                                               WATERFORD      MI   48327‐4409
OLSON, C J                        1278 LILAC LANE                                                                             WATERFORD      MI   48327‐4409
OLSON, C M                        7223 STATE ROUTE 71                                                                         YORKVILLE      IL   60560
OLSON, CARL A                     2213 S OAKHILL AVE                                                                          JANESVILLE     WI   53546‐9050
OLSON, CARL J                     40914 GROVELAND DR                                                                          CLINTON TWP    MI   48038‐2914
OLSON, CARL R                     PO BOX 4419                                                                                 PRESCOTT       MI   48756‐4419
OLSON, CAROLINE S                 3487 HIGHLAND FAIRWAYS BLVD                                                                 LAKELAND       FL   33810‐5756
OLSON, CAROLYN                    40 LAMMERS AVE                                                                              DAYTON         OH   45459‐1820
OLSON, CASEY                      110 5TH ST                                                                                  TROY           MO   63379‐1154
OLSON, CHARLENE P                 202 S MINNESOTA ST                                                                          MUSCODA        WI   53573‐9017
OLSON, CHARLES L                  2539 E 900 N                                                                                ROANOKE        IN   46783‐9141
OLSON, CHARLES L                  6850 HOLLILYNN DR                                                                           BOISE          ID   83709‐7269
OLSON, CHARLES O                  927 COVERT RD                                                                               LESLIE         MI   49251‐9330
OLSON, CHESTER O                  3140 WALTON AVE                                                                             FLINT          MI   48504
OLSON, CHESTER R                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                                    STREET, SUITE 600
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Name                             Address1                            Address2                      Address3   Address4         City             State Zip
OLSON, CHRISTOPHER W             2362 BELLE MEADE DR                                                                           DAVISON           MI 48423‐2054
OLSON, CLARENCE R                C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                      EDWARDSVILLE       IL 62025
                                 ROWLAND P C
OLSON, CLIFFORD                  6109 ARCOLA ST                                                                                GARDEN CITY      MI   48135‐2526
OLSON, CONSTANCE M               29 S RINGOLD ST                                                                               JANESVILLE       WI   53545‐2560
OLSON, CURTIS D                  12537 DORFF BEACH ROAD                                                                        AUDUBON          MN   56511
OLSON, CURTIS M                  8935 ONANDAGA RD                                                                              CLARKSTON        MI   48348‐3347
OLSON, DALE A                    615 E MARSHALL AVE                                                                            OAK CREEK        WI   53154‐2143
OLSON, DANIEL                    10300 W LAIRD RD                                                                              BELOIT           WI   53511
OLSON, DANIEL J                  7148 159TH LN NW                                                                              RAMSEY           MN   55303‐6923
OLSON, DANIEL J                  4118 N TALLGRASS AVE                                                                          MERIDIAN         ID   83646‐2597
OLSON, DANIEL R                  10909 ILLINOIS ROAD                                                                           FORT WAYNE       IN   46814‐9101
OLSON, DAVID                     THALER STEVEN                       115 BROADWAY FRNT 3                                       NEW YORK         NY   10006‐1638
OLSON, DAVID C                   9601 S HILLCREST DR                                                                           OKLAHOMA CITY    OK   73159‐6859
OLSON, DAVID H                   7863 S ROYSTON RD                                                                             EATON RAPIDS     MI   48827‐9534
OLSON, DAVID M                   5943 BORDMAN RD                                                                               DRYDEN           MI   48428‐9300
OLSON, DAVID R                   3599 TIMBER CREEK DR NW                                                                       COMSTOCK PARK    MI   49321
OLSON, DAVID R                   HC 67 BOX 50                                                                                  MOUNTAIN VIEW    MO   65548
OLSON, DAVID S                   9431 E SUNBURST DR                                                                            SUN LAKES        AZ   85248‐5909
OLSON, DAVID W                   5130 MEADOWBROOK LN                                                                           FLUSHING         MI   48433
OLSON, DENEISE M                 8315 E LIPPINCOTT BLVD                                                                        DAVISON          MI   48423‐8319
OLSON, DENNIS C                  2335 DEWEY AVE                                                                                BELOIT           WI   53511‐2520
OLSON, DENNIS D                  215 HIGHLAND MEADOWS DR                                                                       WENTZVILLE       MO   63385‐2670
OLSON, DENNIS E                  10475 MILLER RD                                                                               SWARTZ CREEK     MI   48473‐8588
OLSON, DIANA                     1038 S TERRACE ST                                                                             JANESVILLE       WI   53546‐5327
OLSON, DONALD
OLSON, DONALD                    10750 LA TERRAZA AVE                                                                          FOUNTAIN VLY     CA   92708‐3919
OLSON, DONALD D                  207 N MAIN ST                                                                                 ORFORDVILLE      WI   53576‐9447
OLSON, DONALD D                  3677 CHATHAM WAY                                                                              ANN ARBOR        MI   48105‐2873
OLSON, DONALD L                  2022 LEISURE WORLD                                                                            MESA             AZ   85206‐5330
OLSON, DONALD N                  6498 MISSION RDG                                                                              TRAVERSE CITY    MI   49686‐6121
OLSON, DONALD T                  W213N16680 GLEN BROOKE DR                                                                     JACKSON          WI   53037‐9492
OLSON, DONNA M                   N1669 ‐ COUNTY HWY HH                                                                         LYNDON STATION   WI   53944
OLSON, DOREEN D                  35785 LOU BLVD                                                                                WHITEHALL        WI   54773‐8459
OLSON, DORIS L                   7108 ROSEWOOD DR                                                                              FLUSHING         MI   48433‐2277
OLSON, DOROTHY A                 611 NE BELLEVUE DRIVE               APPT #224                                                 BEND             OR   97701
OLSON, DOROTHY J                 9316 4TH AVE W # A                                                                            EVERETT          WA   98204‐7131
OLSON, DOUGLAS                   117 GREENRIDGE CT                                                                             PETALUMA         CA   94952‐4705
OLSON, DOUGLAS C                 22789 LAKE DR                                                                                 PIERSON          MI   49339
OLSON, DOUGLAS F                 5459 FARLEY RD                                                                                CLARKSTON        MI   48346‐1737
OLSON, DOUGLAS R                 3220 ASH TER                        OAKWOOD MANOR                                             SARASOTA         FL   34237‐6403
OLSON, DWIGHT T                  38040 CIRCOLO ST                                                                              HARRISON TWP     MI   48045‐3418
OLSON, EARLE B                   408 WOBURN ST                                                                                 WILMINGTON       MA   01887‐2504
OLSON, EARLE F                   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                                     STREET, SUITE 600
OLSON, EDWARD J                  588 STATE ROAD 73                                                                             EDGERTON         WI   53534‐9373
OLSON, EDWARD S                  15524 MANGO DR                                                                                PUNTA GORDA      FL   33955‐1225
OLSON, ELSA L.                   120 WINDSOR PARK DR APT A313                                                                  CAROL STREAM     IL   60188‐1993
OLSON, ELSIE                     1200 W MONTANA ST                                                                             LIVINGSTON       MT   59047‐1620
OLSON, ERIC G                    N1975 US 41                                                                                   TRENARY          MI   49891
OLSON, ERIC H                    THORNTON EARLY & NAUMES             100 SUMMER ST LBBY 3                                      BOSTON           MA   02110‐2104
OLSON, ERIC MARTIN LIEUTENANT,
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Name                   Address1                          Address2                      Address3   Address4         City               State Zip
OLSON, ERIN A          151 FISHER CT                                                                               CLAWSON             MI 48017‐1681
OLSON, ERNEST S        109 MARSH LANDING DR                                                                        HOLLY SPRINGS       NC 27540‐5507
OLSON, EUGENE G        48 SPRINGMILL DR                                                                            MIDDLETOWN          DE 19709‐5804
OLSON, EVELYN E        603 WILLIAMS ST                                                                             JANESVILLE          WI 53545‐2455
OLSON, EVELYN T        PO BOX 1328                                                                                 HARRISON            TN 37341‐1328
OLSON, FLORENCE I      3471 E BONNIE DR                                                                            OAK CREEK           WI 53154‐4111
OLSON, FLOYD C         C/O GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
OLSON, FLOYD H         PO BOX 296                                                                                  FOOTVILLE          WI   53537‐0296
OLSON, FRANCES O       745 MOHAWK HILLS DR APT B                                                                   CARMEL             IN   46032‐4705
OLSON, FRANCIS E       PO BOX 222                                                                                  COLUMBIAVILLE      MI   48421‐0222
OLSON, FRANK           254 STARR AVE                                                                               PONTIAC            MI   48341‐1860
OLSON, GARY F          W9298 US HIGHWAY 10                                                                         ELLSWORTH          WI   54011‐4602
OLSON, GARY FRANKLIN   W9298 US HIGHWAY 10                                                                         ELLSWORTH          WI   54011‐4602
OLSON, GEORGE A        1623 LESLIE ST                                                                              WESTLAND           MI   48186‐4472
OLSON, GEORGE A        122 ANDROMEDA CIR                                                                           LAKE ARIEL         PA   18436‐4757
OLSON, GEORGE AUGUST   1623 LESLIE ST                                                                              WESTLAND           MI   48186‐4472
OLSON, GERALD C        7240 E VERMONTVILLE HWY                                                                     DIMONDALE          MI   48821‐9760
OLSON, GLADYS E        4140 4TH AVE S APT 1318                                                                     FARGO              ND   58103‐1195
OLSON, GLENDA S        PO BOX 15254                                                                                OKLAHOMA CITY      OK   73155‐5254
OLSON, GLENN N         18 CHARTRES CT                                                                              LAKE ST LOUIS      MO   63367‐1230
OLSON, GLORIA A        2122 EDGEWOOD DR                                                                            GRAFTON            WI   53024‐9637
OLSON, GLORIA L        1837 E TIERRA BUENA LN                                                                      PHOENIX            AZ   85022‐3351
OLSON, GREGORY R       4190 ORION RD                                                                               ROCHESTER          MI   48306‐1651
OLSON, HANNAH A        PO BOX 473                                                                                  STRUM              WI   54770‐0473
OLSON, HARLAN C        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                         STREET, SUITE 600
OLSON, HARLAN W        506 N MAIN ST                                                                               EDGERTON           WI   53534‐1636
OLSON, HAROLD M        414 EDELWEISS CIRCLE                                                                        NEW GLARUS         WI   53574‐9429
OLSON, HAZEL           PO BOX 7                                                                                    NORTHVILLE         MI   48167‐0007
OLSON, HAZEL           BOX 7                                                                                       NORTHVILLE         MI   48167‐0007
OLSON, HAZEL E         G‐5175 W BRISTOL RD                                                                         FLINT              MI   48507‐2921
OLSON, HELEN L         6039 NORTHRUP DR                                                                            WATERFORD          MI   48329‐1431
OLSON, HELEN L         2304 PINEHURST LN                                                                           KOKOMO             IN   46902‐3196
OLSON, HELMER          6253 CRAMLANE DR                                                                            CLARKSTON          MI   48346‐2407
OLSON, HERBERT W       5729 MANCHESTER HILLS DR SE                                                                 GRAND RAPIDS       MI   49546‐9036
OLSON, HOWARD G        2365 PLEASANT VALLEY RD.                                                                    NILES              OH   44446‐4420
OLSON, IAN R           20 S PONTIAC DR                   APT 104                                                   JANESVILLE         WI   53545‐2251
OLSON, JACK            BRAYTON PURCELL                   PO BOX 6169                                               NOVATO             CA   94948‐6169
OLSON, JACK T          2104 S 36TH ST                                                                              MILWAUKEE          WI   53215‐2309
OLSON, JACK W          6033 STATE ROUTE 19                                                                         GALION             OH   44833‐9771
OLSON, JACQUELINE M    4039 N HALL RD                                                                              WHITEWATER         WI   53190‐3525
OLSON, JAMES DOUGLAS   632 S FOSTER AVE                                                                            LANSING            MI   48912‐3812
OLSON, JAMES H         1280 S OVERLAND DR                                                                          LENNON             MI   48449‐9673
OLSON, JAMES P         5647 JUDGE RD                                                                               BETTENDORF         IA   52722‐1211
OLSON, JAMES R         5503 ORTMAN DR                                                                              STERLING HEIGHTS   MI   48314‐2072
OLSON, JAMESON         11310 N GOSHEN RD                                                                           HUNTINGTON         IN   46750‐8864
OLSON, JAMESON         1055 HENRY ST                                                                               HUNTINGTON         IN   46750‐3746
OLSON, JANICE E        1820 MARQUETTE ST                                                                           SAGINAW            MI   48602
OLSON, JANICE K        2856 NE 25TH CT                                                                             FT LAUDERDALE      FL   33305‐1713
OLSON, JASON L         8935 ONANDAGA RD                                                                            CLARKSTON          MI   48348‐3347
OLSON, JEFFREY D       2713 6 3/16 AVENUE                                                                          NEW AUBURN         WI   54757‐8768
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Name                  Address1                           Address2                      Address3   Address4         City               State Zip
OLSON, JEFFREY D      2713 6 AND 3/16 AVE                                                                          NEW AUBURN          WI 54757
OLSON, JEFFREY J      3223 MCGREGOR ST                                                                             GRAND BLANC         MI 48439‐8190
OLSON, JEFFREY R      2102 DUPONT DR                                                                               JANESVILLE          WI 53546‐3127
OLSON, JEFFREY R      122 AUSTIN ST                                                                                HYDE PARK           MA 02136‐1536
OLSON, JEFFREY T      945 ELIRA RD                                                                                 WATERFORD           MI 48328‐2321
OLSON, JERE A         1886 CARPENTER DR                                                                            TROY                MI 48098‐4364
OLSON, JERRY          10792 W FRANKLIN RD                                                                          BOISE               ID 83709‐0255
OLSON, JOANNE R       3503 BEECHWOOD LN                                                                            ANDERSON            IN 46011‐3807
OLSON, JOBENIA A      912 HENDRICKSON BLVD                                                                         CLAWSON             MI 48017‐2306
OLSON, JOHN           8361 E RIVER RD NW                                                                           COON RAPIDS         MN 55433‐6006
OLSON, JOHN A         2316 S HUBBARD RD                                                                            LOWELLVILLE         OH 44436‐9525
OLSON, JOHN A         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
OLSON, JOHN E         407 S BARCLAY ST                                                                             BAY CITY           MI   48706‐4227
OLSON, JOHN F         4105 RANDOLPH RD                                                                             JANESVILLE         WI   53546
OLSON, JOHN H         2129 MOLE AVE                                                                                JANESVILLE         WI   53548‐1487
OLSON, JOHN R         APT 207                            812 BLUFFCREEK LANE                                       ARLINGTON          TX   76006‐3743
OLSON, JOHN W         2080 WASHINGTON RD ROUTE 2                                                                   STOUGHTON          WI   53589
OLSON, JOSEPH F       13358 WINONA DR                                                                              STERLING HTS       MI   48312‐1560
OLSON, JOSHUA C       541 STADIUM DR                                                                               FORT WAYNE         IN   46805‐2555
OLSON, JOSHUA CAGEN   541 STADIUM DR                                                                               FORT WAYNE         IN   46805‐2555
OLSON, JOSHUA D       1664 SOUTH CREEK DRIVE                                                                       MILFORD            MI   48380‐3128
OLSON, JOYCE M        38415 EVERGREEN VILLAGE DR APT 9                                                             ZEPHYRHILLS        FL   33542‐7555
OLSON, JOYCE M        1308 SUNSET BLV                                                                              FLINT              MI   48507‐4061
OLSON, JUANITA M      2539 E 900 N                                                                                 ROANOKE            IN   46783‐9141
OLSON, JUDD W         3401 57TH ST N                                                                               SAINT PETERSBURG   FL   33710
OLSON, JUDD WYATT     3401 57TH ST N                                                                               SAINT PETERSBURG   FL   33710
OLSON, JUDITH A       1611 TIMBER TRL                                                                              SHAWANO            WI   54166
OLSON, JUDITH A       11685 BROOKSHIRE                                                                             TEMPERANCE         MI   48182‐9697
OLSON, JUNIOR M       23 GRANDIE ST                                                                                PONTIAC            MI   48342‐1227
OLSON, JUNIOR T       4132 WESTWOOD RD NE                                                                          MANCELONA          MI   49659‐9256
OLSON, KATIE J        12733 CHANCEL CT                                                                             FORT WAYNE         IN   46845‐2357
OLSON, KEITH A        4219 SOUTHWYCK DR                                                                            JANESVILLE         WI   53546‐2120
OLSON, KEITH E        14957 XAVIER DR                                                                              STERLING HEIGHTS   MI   48313‐2977
OLSON, KEITH F        3503 BEECHWOOD LN                                                                            ANDERSON           IN   46011‐3807
OLSON, KEITH L        13747 ADAMS AVE                                                                              WARREN             MI   48088‐1474
OLSON, KEITH N        15026 ALEXANDER ST                                                                           LIVONIA            MI   48154‐4000
OLSON, KEITH R        12733 CHANCEL CT                                                                             FORT WAYNE         IN   46845‐2357
OLSON, KEITH W        19031 WACO ST NW                                                                             ELK RIVER          MN   55330‐1050
OLSON, KELLY R        5130 MEADOWBROOK LN                                                                          FLUSHING           MI   48433‐1386
OLSON, KENDALL        BRAYTON PURCELL                    PO BOX 6169                                               NOVATO             CA   94948‐6169
OLSON, KENNETH        BOONE ALEXANDRA                    205 LINDA DR                                              DAINGERFIELD       TX   75638‐2107
OLSON, KENNETH C      31411 IROQUOIS DR                                                                            WARREN             MI   48088‐7010
OLSON, KENNETH D      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                         STREET, SUITE 600
OLSON, KENNETH J      N8661 JOHNSON RD                                                                             IRONWOOD           MI   49938‐9660
OLSON, KENNETH J      6322 S LUTHER VALLEY RD                                                                      BELOIT             WI   53511‐9466
OLSON, KENNETH J      RR 4                                                                                         BELOIT             WI   53511
OLSON, KENNETH R      1506 KILLDEER LN                                                                             JANESVILLE         WI   53546‐2953
OLSON, KENNETH T      7292 LEDGEWOOD DR                                                                            FENTON             MI   48430
OLSON, KEVIN J        PO BOX 2255                                                                                  JANESVILLE         WI   53547‐2255
OLSON, LANA A         4013 47TH ST                                                                                 SIOUX CITY         IA   51108‐1107
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Name                Address1                      Address2                      Address3   Address4         City                State Zip
OLSON, LARRY E      7730 VISGER AVENUE                                                                      WATERFORD            MI 48329‐1066
OLSON, LARRY G      1301 W SOUTH ST                                                                         STOUGHTON            WI 53589‐2361
OLSON, LEANNE       411 S FORK DR                                                                           HUDSON               WI 54016‐8042
OLSON, LEANNE       411 S FORK DRIVE                                                                        HUDSON               WI 54016‐8042
OLSON, LELAND       GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                  STREET, SUITE 600
OLSON, LEONARD L    3700 S TOMAHAWK RD LOT 101                                                              APACHE JUNCTION     AZ 85219‐9243
OLSON, LEONARD S    GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                  STREET, SUITE 600
OLSON, LEROY O      4061 223RD PL SE                                                                        ISSAQUAH            WA   98029‐7207
OLSON, LESLIE R     W16486 SJUGGERUD COULEE RD                                                              WHITEHALL           WI   54773‐8805
OLSON, LEVI O       4039 N HALL RD                                                                          WHITEWATER          WI   53190‐3525
OLSON, LINDA L      1136 KENSINGTON ST NW                                                                   GRAND RAPIDS        MI   49534‐2173
OLSON, LINDA L      16653 135TH ST                                                                          LEMONT              IL   60439‐4718
OLSON, LOIS M       301 TILSON PL                                                                           HILLSBORO           IL   62049‐1418
OLSON, LONNIE R     10024 BUTTERNUT ST NW                                                                   COON RAPIDS         MN   55448‐5243
OLSON, LORINDA M    44 IDA RED AVE APT 103                                                                  SPARTA              MI   49345‐1282
OLSON, LORINDA M    44 IDA RED AVE. APT. 103                                                                SPARTA              MI   49345‐1282
OLSON, LUCILLE M    759 HACHMUTH DR NW                                                                      COMSTOCK PARK       MI   49321‐8517
OLSON, LYNDA L      1517 GAINEY AVE                                                                         FLINT               MI   48503‐3565
OLSON, MARGIE L.    6305 EMERSON DR                                                                         NEW PT RICHEY       FL   34653‐1712
OLSON, MARIAN A     PO BOX 217                                                                              FOOTVILLE           WI   53537‐0217
OLSON, MARILYN F    2600 HUB DR                   APT 215A                                                  INDEPENDENCE        MO   64055
OLSON, MARILYN F    2600 S HUB DR APT 215A                                                                  INDEPENDENCE        MO   64055‐2198
OLSON, MARION F     6849 W STANTON RD                                                                       STANTON             MI   48888‐9750
OLSON, MARJORIE E   1203 E MALLWOOD DR                                                                      EDGERTON            WI   53534‐8718
OLSON, MARJORIE E   1203 MALLWOOD DRIVE                                                                     EDGERTON            WI   53534‐8718
OLSON, MARLENE K    PO BOX 4419                                                                             PRESCOTT            MI   48756‐4419
OLSON, MARTIN W     44 S HULBERT ST                                                                         WHITE LAKE          MI   48386‐2738
OLSON, MARTIN W     319 CAROLINE APT A                                                                      MILFORD             MI   48381‐2332
OLSON, MARVIN C     45 N 8 MILE RD                                                                          LINWOOD             MI   48634‐9541
OLSON, MARY J       22 6TH STREET NORTHEAST                                                                 LE MARS             IA   51031‐3268
OLSON, MARY JANE    295B SOUTH BROADWAY                                                                     TARRYTOWN           NY   10591‐5301
OLSON, MICHAEL J    2736 NOTTINGHAM CT                                                                      THOMPSONS STATION   TN   37179‐9291
OLSON, MICHAEL J    101 HOLLOWOOD CT                                                                        CHAPEL HILL         NC   27514‐9574
OLSON, MICHAEL K    3216 SEEBALDT AVE                                                                       WATERFORD           MI   48329‐4154
OLSON, MICHAEL L    RR 2 BOX 60                                                                             HIXTON              WI   54635
OLSON, MIKE         452 BONIFAY DR                                                                          HAMPTON             VA   23666‐2838
OLSON, MILO S       8373 POTTER RD                                                                          FLUSHING            MI   48433‐9413
OLSON, MILTON L     4942 S 45TH E                                                                           IDAHO FALLS         ID   83406‐8056
OLSON, MOLLY K      23161 BRITNER CT                                                                        BINGHAM FARMS       MI   48025‐4707
OLSON, NANCY D      7362 JEANELLEN RD                                                                       WEST BEND           WI   53090‐8652
OLSON, NANCY K      170 BUTEN ST                                                                            MILTON              WI   53563
OLSON, NATHAN P     3220 W 915 N                                                                            HUNTINGTON          IN   46750‐7952
OLSON, NELS R       862 DUNEDIN DR                                                                          ROCHESTER HILLS     MI   48309‐1059
OLSON, NILES E      3295 S BALDWIN RD                                                                       ORION               MI   48359‐1030
OLSON, NINA B       7730 VISGER AVE                                                                         WATERFORD           MI   48329‐1066
OLSON, NORMAN L     7633 E MEADOWBROOK AVE                                                                  SCOTTSDALE          AZ   85251‐1522
OLSON, O            514 E BASIN RD                                                                          NEW CASTLE          DE   19720‐4217
OLSON, OLAF W       1527 ALDEN RD                                                                           JANESVILLE          WI   53545‐1039
OLSON, ORIEN        GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                  STREET, SUITE 600
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Name                   Address1                          Address2                           Address3   Address4         City            State Zip
OLSON, OWEN G          2402 W SAINT LAWRENCE AVE                                                                        BELOIT           WI 53511‐5701
OLSON, PATRICIA A      329 ROSELAND DR                                                                                  CANTON           MI 48187‐3952
OLSON, PAUL H          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA 23510‐2212
                                                         STREET, SUITE 600
OLSON, PAUL K          616 S WEST ST                                                                                    ROYAL OAK       MI    48067‐2541
OLSON, PAUL L          3545 SULGRAVE PL                                                                                 ANN ARBOR       MI    48105‐2840
OLSON, PAULA J         13222 S 215TH WEST AVE                                                                           SAPULPA         OK    74066‐7972
OLSON, PHILLIP LEROY   PO BOX 93                         209 W ADELAIDE ST                                              MAPLE RAPIDS    MI    48853‐0093
OLSON, RALPH           BOONE ALEXANDRA                   205 LINDA DR                                                   DAINGERFIELD    TX    75638‐2107
OLSON, REGINALD        BOECHLER PC                       1120 28TH AVENUE NORTH ‐ SUITE A                               FARGO           ND    58107
                                                         P O BOX 1932
OLSON, REID H          5124 PORTLAND AVE. SO.                                                                           MINNEAPOLIS     MN    55417
OLSON, RICHARD A       333 FOREST PARK BLVD                                                                             JANESVILLE      WI    53545‐4107
OLSON, RICHARD D       110 CAROL MARY LN                                                                                DAVISON         MI    48423‐1700
OLSON, RICHARD K       4555 PASTURE LN                                                                                  WHITE LAKE      MI    48383‐1844
OLSON, RICHARD L       16431 112TH AVE                                                                                  NUNICA          MI    49448‐9711
OLSON, RICHARD P       1664 S CREEK DR                                                                                  MILFORD         MI    48380‐3128
OLSON, RICHARD W       309 GLENMOOR DR                                                                                  FORT WAYNE      IN    46804‐6492
OLSON, RICHARD W       12061 RIVER VW                                                                                   DUNNELLON       FL    34432‐6095
OLSON, RICKEY L        1645 S SUMAC AVE                                                                                 WHITE CLOUD     MI    49349‐9525
OLSON, RICKEY L        2125 WOODBURN DR SE, APT 9                                                                       GRAND RAPIDS    MI    49546
OLSON, ROBERT A        1461 WORCHESTER CT                                                                               SANTA MARIA     CA    93455‐6648
OLSON, ROBERT D        2464 EGLESTON AVE                                                                                BURTON          MI    48509‐1128
OLSON, ROBERT E        9701 S. E. C‐25 #219                                                                             BELLEVIEW       FL    34420
OLSON, ROBERT E        6005 EDEN PRAIRIE RD APT 209                                                                     EDINA           MN    55436‐1242
OLSON, ROBERT J        121 S HIGH ST                                                                                    JANESVILLE      WI    53548‐3801
OLSON, ROBERT M        1044 PUTNAM AVE                                                                                  JANESVILLE      WI    53546‐2617
OLSON, ROBERT N        32824 HEES ST                                                                                    LIVONIA         MI    48150‐3723
OLSON, ROBIN F         16145 LINDEN ST                                                                                  OVERLAND PARK   KS    66085‐9399
OLSON, RODGER H        1284 S ELMS RD                                                                                   FLINT           MI    48532‐5344
OLSON, RODNEY          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA    23510‐2212
                                                         STREET, SUITE 600
OLSON, RODNEY J        1593 RABBIT TRACK RD                                                                             ALGER           MI    48610‐9329
OLSON, RODNEY J        2429 OAKRIDGE DR                                                                                 FLINT           MI    48507‐6213
OLSON, RODNEY W        12277 DRAKE ST NW                                                                                COON RAPIDS     MN    55448‐2081
OLSON, ROGER A         9 1/2 ‐ 10 1/2 ST                                                                                DALLAS          WI    54733
OLSON, ROGER D         1117 LILLY PAD DRIVE                                                                             SALISBURY       NC    28146‐7318
OLSON, ROGER D         50781 GOOD OAK LOOP                                                                              FRAZEE          MN    56544‐8993
OLSON, ROGER J         2339 CENTER AVE                                                                                  JANESVILLE      WI    53546‐8959
OLSON, ROGER O         7822 W MINERAL POINT RD                                                                          JANESVILLE      WI    53548‐9459
OLSON, RONALD A        10024 BUTTERNUT ST NW                                                                            COON RAPIDS     MN    55448‐5243
OLSON, RONALD J        1132 ROBERTS DR                                                                                  METAMORA        MI    48455
OLSON, ROSALIE         3 LILAC AVE APT 423                                                                              FOX LAKE         IL   60020‐1888
OLSON, ROSEMARIE D     8241 XERXES AVE S                                                                                BLOOMINGTON     MN    55431‐1002
OLSON, ROY R           21 HILLTOP DR                                                                                    SANBORNVILLE    NH    03872‐4369
OLSON, ROYCE E         2381 COUNTY ROAD 38                                                                              CENTRE          AL    35960‐7259
OLSON, RUDOLPH F       7436 VIA COMETA SW                                                                               ALBUQUERQUE     NM    87121‐6200
OLSON, RUTH O          1510 CYPRESS GARDEN               ATTN: BUSINESS MGR                                             WINTER HAVEN    FL    33884
OLSON, RUTH O          5601 CYPRESS GARDEN                                                                              WINTER HAVEN    FL    33884
OLSON, RUTH R          30090 HAY CREEK TRL                                                                              RED WING        WI    35066‐7169
OLSON, RUTH R          2000 S. DAYTON ST.                APT # 118 S                                                    DENVER          CO    80247
OLSON, SALLY A         126 MEADOW LN                                                                                    ITHACA          MI    48847‐1830
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Name                   Address1                         Address2                      Address3   Address4         City                  State Zip
OLSON, SALLY A         126 MEADOW LANE                                                                            ITHACA                 MI 48847
OLSON, SANDRA J        1278 DARLENE AVE                                                                           MADISON HEIGHTS        MI 48071‐2971
OLSON, SANDRA L        5 MOAT RD                                                                                  STERLING               MA 01564‐2208
OLSON, SANDRA M        G 1210 N LINDEN RD                                                                         FLINT                  MI 48532
OLSON, SHANE           8935 ONANDAGA RD                                                                           CLARKSTON              MI 48348‐3347
OLSON, SHANE A         PO BOX 9022                      C/O SHANGHAI                                              WARREN                 MI 48090‐9022
OLSON, SHARI L         5214 PINECONE DR                                                                           LAPEER                 MI 48446‐3522
OLSON, SHARON L        10722 LAKE ST                                                                              OSSINEKE               MI 49766‐9544
OLSON, SHARON L        10722 LAKE AVE                                                                             OSSINEKE               MI 49766‐9544
OLSON, SHERRILYN D     7863 S ROYSTON RD                                                                          EATON RAPIDS           MI 48827‐9534
OLSON, SHIRLEY A       2018 BECKWITH CT                                                                           FLINT                  MI 48503‐5403
OLSON, SHIRLEY A       10 COTTONWOOD CIR                                                                          OROVILLE               CA 95965‐5827
OLSON, SHIRLEY ANN     PO BOX 35                                                                                  OUTING                 MN 56662‐0035
OLSON, SHIRLEY MARIE   7292 WEST FRANKENMUTH ROAD                                                                 VASSAR                 MI 48768‐9498
OLSON, SHIRLEY MARIE   7292 FRANKENMUTH RD                                                                        VASSAR                 MI 48768‐9017
OLSON, STANLEY D       3118 ANN ARBOR CT                                                                          SUGAR LAND             TX 77478‐3709
OLSON, STANLEY L       2500 E HOWARD AVE APT 421                                                                  SAINT FRANCIS          WI 53235‐4145
OLSON, STEPHEN         BRAYTON PURCELL                  215 S STATE ST STE 900                                    SALT LAKE CITY         UT 84111‐2353
OLSON, STEVEN B        1405 S 2ND ST                                                                              DUNCAN                 OK 73533‐7862
OLSON, STEVEN J        814 EISENHOWER AVE                                                                         JANESVILLE             WI 53545‐1742
OLSON, SUSAN E         26 COLONIAL DR                                                                             EPSOM                  NH 03234‐4407
OLSON, TABITHA A       MCGEE WILLIAM R LAW OFFICES OF   16855 W BERNARDO DR STE 380                               SAN DIEGO              CA 92127‐1626
OLSON, TAMMY L         13010 GARVIN BROOK LN                                                                      APPLE VALLEY           MN 55124‐7246
OLSON, TERESA L        417 WHISPERING DR                                                                          SPRING HILL            TN 37174‐9600
OLSON, TERRY D         11157 E CARPENTER RD                                                                       DAVISON                MI 48423‐9303
OLSON, TERRY D         2431 TITTABAWASSEE ST                                                                      ALGER                  MI 48610
OLSON, TERRY O         3609 COVENTRY DR                                                                           JANESVILLE             WI 53546‐9666
OLSON, THEODORE        131 W SAGEBRUSH ST                                                                         ROCKPORT               TX 78382‐9536
OLSON, THERESA G       PO BOX 9022                      ADAM OPEL                                                 WARREN                 MI 48090‐9022
OLSON, THOMAS F        3530 LYNMAR LN                                                                             BAY CITY               MI 48706‐1305
OLSON, THOMAS J        2310 E BALL RD APT 2                                                                       ANAHEIM                CA 92806‐5357
OLSON, THOMAS M        102 CHERRYLANE DR                                                                          MILAN                  MI 48160‐1093
OLSON, THOMAS W        1473 HAY RD                                                                                BEAVERTON              MI 48612‐8252
OLSON, THORFINN E      2608 E RACINE ST APT 16                                                                    JANESVILLE             WI 53545‐5228
OLSON, TIMOTHY L       1453 HAWTHORNE RD                                                                          GROSSE POINTE WOODS    MI 48236‐1472
OLSON, TOBY R          252 N PLUM ST                                                                              ALBANY                 IN 47320
OLSON, TREVIS A        1143 MAKIAN PLACE NORTHWEST                                                                ALBUQUERQUE            NM 87120‐1073
OLSON, TREVIS A        408 3RD AVE SOUTH                RTE 121                                                   BROOKINGS              SD 57006
OLSON, VELMA K         4052 S HEMLOCK LN                BOX 238 WHITE OAKS EST                                    MOUNT MORRIS           MI 48458‐9306
OLSON, VERA T          8482 HIGHWAY 67                                                                            FREDERICKTOWN          MO 63645‐7107
OLSON, VICKIE M        10300 W LAIRD RD                                                                           BELOIT                 WI 53511‐8359
OLSON, VIRGIL D        PO BOX 1006                                                                                CAMPBELL               CA 95009
OLSON, WALTER MARVIN   DEATON LAW FIRM                  1 RICHMOND SQ STE 134C                                    PROVIDENCE              RI 02906‐5166
OLSON, WALTER R        6263 MIDNIGHT PASS RD APT 202                                                              SARASOTA               FL 34242
OLSON, WALTER W        9995 PALMOOR ST                                                                            WHITE LAKE             MI 48386‐2843
OLSON, WAYNE E         936 SUSSEX CT                                                                              NEKOOSA                WI 54457‐8946
OLSON, WAYNE H         13222 S 215TH WEST AVE                                                                     SAPULPA                OK 74066‐7972
OLSON, WAYNE L         2551 N LEXINGTON DR                                                                        JANESVILLE             WI 53545‐0586
OLSON, WENDY M         56806 KIRKRIDGE TRL                                                                        SHELBY TOWNSHIP        MI 48316
OLSON, WILLIAM A       100 W WILLIAMSBURG MNR                                                                     ARLINGTON              TX 76014‐1044
OLSON, WILLIAM E       45 SUTTON DR                                                                               MANALAPAN              NJ 07726
OLSON, WILLIAM H       1234 S US 23                                                                               HARRISVILLE            MI 48740‐9558
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Name                          Address1                          Address2                    Address3   Address4         City               State Zip
OLSON‐MULLOY, BARBARA ANN     2553 WILLARD AVE SE                                                                       GRAND RAPIDS        MI 49507‐3588
OLSON‐VERMILLION, KAREN E     1543 COUNTY ROAD B                                                                        SWANTON             OH 43558‐8609
OLSON‐VERMILLION, RICKY L     1543 COUNTY ROAD B                                                                        SWANTON             OH 43558‐8609
OLSOWSKI, EDNA                5496 E BOSTON ST                                                                          MESA                AZ 85205‐8146
OLSOWY, PATRICK L             30508 PALMER ST                                                                           MADISON HTS         MI 48071‐5117
OLSSON, PAMELA K              4107 POMPEY CENTER RD                                                                     MANLIUS             NY 13104‐8758
OLSSON, ROBERT E              7620 SCIOTO RIDGE DR                                                                      POWELL              OH 43065‐8037
OLSTAD, JOYCE M               9895 EDGWOOD SHORE RD                                                                     EDGERTON            WI 53534‐8960
OLSTAD, JOYCE M               9895 N EDGEWOOD SHORES RD                                                                 EDGERTON            WI 53534‐8960
OLSTAD, WILLIAM C             409 1ST ST                                                                                EDGERTON            WI 53534‐1113
OLSTADT, DEXTER D             1412 E BUTTERFIELD RD                                                                     PRESCOTT            AZ 86303‐5843
OLSTEN CORP                   ATTN JOAN ZOLLO                   175 BROADHOLLOW RD                                      MELVILLE            NY 11747‐4902
OLSUN ELECTRICS CORPORATION   C/O FIRST DUPAGE BANK             10901 COMMERCIAL ST                                     RICHMOND             IL 60071‐9642
OLSWAY, MARY T                643 LELAND ST                                                                             FLINT               MI 48507‐2429
OLSZAK, MADELINE              16410 27 MILE RD                                                                          RAY                 MI 48096‐3412
OLSZE JR, RICHARD M           1528 DOUGLAS DR                                                                           TAWAS CITY          MI 48763‐9440
OLSZE, ROBERT J               1404 E GREEN BAY ST                                                                       SHAWANO             WI 54166‐2258
OLSZEWSKA, JANE L             1496 212TH ST                                                                             BAYSIDE             NY 11360‐1108
OLSZEWSKI GERALD              4093 WESTERN AVE                                                                          WESTERN SPRINGS      IL 60558‐1045
OLSZEWSKI JAMES P (469355)    PARKER DUMLER & KIELY             111 S CALVERT ST STE 1705                               BALTIMORE           MD 21202‐6137
OLSZEWSKI RONALD              1061 GLADE PARK EAST                                                                      KITTANNING          PA 16201‐1741
OLSZEWSKI, ALTA J             3744 BELLWOOD DRIVE                                                                       WARREN              OH 44484‐2937
OLSZEWSKI, ANNE B             126 KNECHT DR                                                                             DAYTON              OH 45405‐2628
OLSZEWSKI, BERNARD            3781 MARIAN DR                                                                            TRENTON             MI 48183‐3915
OLSZEWSKI, CRAIG A            4311 N WAYSIDE DR                                                                         SAGINAW             MI 48603‐3074
OLSZEWSKI, DAVID J            100 PINE TREE RIDGE DR UNIT 3                                                             WATERFORD           MI 48327‐4315
OLSZEWSKI, DOLORES R          737 PATTON STREET EXT                                                                     MONROEVILLE         PA 15146‐4530
OLSZEWSKI, DOLORES R          737 PATTON ST EXT                                                                         MONROEVILLE         PA 15146‐4530
OLSZEWSKI, EILEEN C           13451 TREVOSE ROAD                                                                        PHILADELPHIA        PA 19116‐1706
OLSZEWSKI, ELINOR             9231 HICKORYWOOD                                                                          WHITE LAKE          MI 48386
OLSZEWSKI, FELICE M           119 W GRAMERCY AVE                                                                        TOLEDO              OH 43612‐2540
OLSZEWSKI, FRANK              406 PROSPECT ST                                                                           SOUTH AMBOY         NJ 08879‐1942
OLSZEWSKI, FRANK              406 PROSPECT                                                                              SOUTH AMBOY         NJ 08879‐8879
OLSZEWSKI, GENE T             63 LENAPE TRL                                                                             ALBRIGHTSVILLE      PA 18210‐3901
OLSZEWSKI, GEORGE G           96 LEONARDINE AVE                                                                         SOUTH RIVER         NJ 08882‐2507
OLSZEWSKI, GERALD             6520 COLE RD                                                                              SAGINAW             MI 48601‐9718
OLSZEWSKI, GERALD E           4093 WESTERN AVE                                                                          WESTERN SPRGS        IL 60558‐1045
OLSZEWSKI, HAROLD E           18094 VENTURA CT                                                                          LIVONIA             MI 48152‐3128
OLSZEWSKI, JAMES P            PARKER DUMLER & KIELY             111 S CALVERT ST            STE 1705                    BALTIMORE           MD 21202
OLSZEWSKI, JOAN               37661 SCHOOLCRAFT RD                                                                      LIVONIA             MI 48150
OLSZEWSKI, JOHN A             24904 W PRAIRIE DR                                                                        PLAINFIELD           IL 60544‐1540
OLSZEWSKI, JOSEPH P           33168 ARBOR RIDGE CIR                                                                     LILLIAN             AL 36549‐3944
OLSZEWSKI, LILLIAN            2216 FIRWOOD DR                                                                           DAVISON             MI 48423‐9524
OLSZEWSKI, MARILYN S          19441 HEIDEN DR                                                                           BROWNSTOWN          MI 48174‐2537
OLSZEWSKI, MARY ANN           16171 CHATHAM DRIVE                                                                       CLINTON TOWNSHIP    MI 48035‐1117
OLSZEWSKI, MICHAEL S          1434 LAKE DR                                                                              NATIONAL CITY       MI 48748‐9569
OLSZEWSKI, MICHAEL S          1434 LAKE DRIVE                                                                           NATIONAL CITY       MI 48748‐9569
OLSZEWSKI, NORMAN A           18 HARRIS CT                                                                              CHEEKTOWAGA         NY 14225‐3812
OLSZEWSKI, NORMAN A           18 HARRIS COURT                                                                           CHEEKTOWAGA         NY 14225‐3812
OLSZEWSKI, PATRICIA A         1384 S CUMMINGS RD                                                                        DAVISON             MI 48423‐9100
OLSZEWSKI, PAUL               3904 S PRAIRIE HILL LN APT 107                                                            GREENFIELD          WI 53228‐2350
OLSZEWSKI, REGINA P           13349 WHITTIER DR                                                                         STERLING HEIGHTS    MI 48312‐6913
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Name                          Address1                          Address2                      Address3   Address4         City               State Zip
OLSZEWSKI, RICHARD J          16171 CHATHAM DR                                                                            CLINTON TWP         MI 48035‐1117
OLSZEWSKI, ROBERT B           2224 GEORGE URBAN BLVD                                                                      DEPEW               NY 14043‐1922
OLSZEWSKI, ROBERT J           G3060 RIDGELAWN DR                                                                          CLIO                MI 48420
OLSZEWSKI, ROBERT J           4335 HEARTHRIDGE DR                                                                         JANESVILLE          WI 53546‐2168
OLSZEWSKI, STANLEY R          764 EAGLEDALE CIRCLE                                                                        DAYTON              OH 45429‐5222
OLSZEWSKI, STANLEY S          213 RED OAK DR                                                                              MC MURRAY           PA 15317‐2632
OLSZEWSKI, TEDDY A            19441 HEIDEN DR                                                                             BROWNSTOWN          MI 48174‐2537
OLSZEWSKI, WALTER E           1384 S CUMMINGS RD                                                                          DAVISON             MI 48423‐9100
OLSZEWSKI, WALTRAUD           3705 PARMAN RD                                                                              STOCKBRIDGE         MI 49285‐9512
OLSZEWSKI, WARNEIDA A         323 APPLE ST                                                                                SYRACUSE            NY 13204‐2107
OLSZEWSKI, WILLIAM EDWARD     BOONE ALEXANDRA                   205 LINDA DR                                              DAINGERFIELD        TX 75638‐2107
OLSZEWSKI‐ROBERTS, JODI A     5275 TIFFANY CT                                                                             CAPE CORAL          FL 33904‐5875
OLSZEWSKI‐ROBERTS, JODI ANN   5275 TIFFANY CT                                                                             CAPE CORAL          FL 33904‐5875
OLSZEWSKY, ERIC               APT B502                          406 GAYLEY STREET                                         MEDIA               PA 19063‐3779
OLSZOWKA, LAWRENCE A          13651 W MEATH DR                                                                            LOCKPORT             IL 60491‐9113
OLSZOWKA, WILLIAM R           3 BARLEY LN                                                                                 PALM COAST          FL 32137‐8832
OLSZOWY, KEVIN G              416 BLAKE DR                                                                                FORT WAYNE          IN 46804‐1004
OLSZOWY, STANLEY J            1020 BLUFFHAVEN WAY NE                                                                      ATLANTA             GA 30319‐4817
OLSZOWY, THOMAS M             121 W WINSPEAR AVE                                                                          BUFFALO             NY 14214‐1161
OLSZTYN, JOSEPH T             812 EASTLAWN AVE                                                                            MADISON HTS         MI 48071‐2989
OLSZYK, CHRISTOPHER D         RR 7 BOX 7567                                                                               MOSCOW              PA 18444‐9249
OLSZYK, GEORGE S              501 E MARYLAND AVE                                                                          CREWE               VA 23930‐2021
OLSZYK, JUDY B                501 E MARYLAND AVE                                                                          CREWE               VA 23930‐2021
OLSZYK, JUDY B                310 CUSTIS ST                                                                               CREWE               VA 23930
OLT JR, CHARLES E             12543 SPRING VIOLET PL                                                                      CARMEL              IN 46033‐9144
OLT, BARBARA L                4113 CENTRAL AVE                                                                            MIDDLETOWN          OH 45044‐5044
OLTEAN, CORNEL D              569 RURAL HILL RD                                                                           NASHVILLE           TN 37217‐4120
OLTEAN, MITCHELL J            4201 SILVER SWORD CT                                                                        NORTH FORT MYERS    FL 33903‐3800
OLTEAN, VICTORIA              14 N 754                          LAC DU BEATRICE                                           DUNDEE               IL 60118
OLTEAN, VIRGINIA B            452 HIGH POINT DR APT B                                                                     DELRAY BEACH        FL 33445‐3339
OLTERS, MIRIAM H              645 ELINOR PL                                                                               RAHWAY              NJ 07065‐3603
OLTERS, STANLEY C             645 ELINOR PL                                                                               RAHWAY              NJ 07065‐3603
OLTERSDORF, DAVID L           19614 KORTE DR                                                                              CLINTON TWP         MI 48038‐3036
OLTERSDORF, DAVID LYTLE       19614 KORTE DR                                                                              CLINTON TWP         MI 48038‐3036
OLTERSDORF, EUGENE G          14244 MERRIWEATHER PL                                                                       WARREN              MI 48089‐2138
OLTERSDORF, FREDERICK H       12175 E OLD ORCHARD TRL                                                                     SUTTONS BAY         MI 49682‐9618
OLTERSDORF, JUNE              14244 MERRIWEATHER PL                                                                       WARREN              MI 48089‐2138
OLTERSDORF, WILLIAM K         11562 LOCUST LN                                                                             WHITMORE LAKE       MI 48189‐9134
OLTERZEWSKI, JOSEPH E         40 KING ST                                                                                  CLARK               NJ 07066‐1519
OLTESVIG JR, EARL J           70101 LOWE PLANK RD                                                                         RICHMOND            MI 48062‐5348
OLTHOFF, JAMES W              5997 ASHWOOD CT                                                                             CLARKSTON           MI 48346‐3181
OLTHOFF, KENNETH E            16039 BAIRD DR                                                                              SPRING LAKE         MI 49456
OLTHOFF, ROBERT C             234 GINGER LN                                                                               WAYNESVILLE         NC 28785‐9534
OLTHOFF, WILLIAM D            6874 WILLARD AVE SE                                                                         GRAND RAPIDS        MI 49548‐7354
OLTMAN ANTHONY G (429561)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                STREET, SUITE 600
OLTMAN, ANTHONY G             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
OLTMAN, EDNA MAE              285 BROWN ROAD                                                                              MUNGER              MI   48747
OLTMAN, EDNA MAE              285 E BROWN RD                                                                              MUNGER              MI   48747‐9303
OLTMAN, RUSSELL G             7496 WYNGATE DR                                                                             CLARKSTON           MI   48348‐4769
OLTMAN, SUSAN                 915 E SPRAKER ST                                                                            KOKOMO              IN   46901‐2439
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Name                        Address1                          Address2                         Address3                Address4             City              State Zip
OLTMANS CONSTRUCTION CO     10005 MISSION MILL RD                                                                                           WHITTIER           CA 90601‐1739
OLTRAMARI PAOLA             LA SCALA                          STUDIO LEGALE E TRIBUTANO        CORSO MAGENTA N 42      20123 MILANO ITALY
OLTZ, AGNES EILEEN          1826 E 9TH ST                                                                                                   LYNN HAVEN        FL   32444‐3146
OLUREMI ADEYEYE             208 HICKORY TRL                                                                                                 RIVERDALE         GA   30274‐3326
OLUREMI, ADEYEYE            208 HICKERY TRAIL                                                                                               RIVERDALE         GA   30274
OLUREMI, ADEYEYE            208 HICKORY TRL                                                                                                 RIVERDALE         GA   30274‐3326
OLVER, WILLIAM R            270 HAYBROOK DR                                                                                                 YORK              PA   17406‐3139
OLVERA JR, EDUARDO          1729 N O'CONNOR RD                                                                                              IRVING            TX   75061
OLVERA JR, PEDRO B          1407 MCCORMICK ST                                                                                               BAY CITY          MI   48708‐8321
OLVERA NICHOLAS A           OLVERA, NICHOLAS A                7400 W STATE ST                                                               WAUWATOSA         WI   53213‐2736
OLVERA SAMUEL NSAT          924 BANYAN DR                                                                                                   LEMOORE           CA   93245‐2114
OLVERA, ANDREA              1125 OTTAWA AVE                                                                                                 DEFIANCE          OH   43512‐3001
OLVERA, CYNTHIA O           1639 BRENNER ST                                                                                                 SAGINAW           MI   48602‐3618
OLVERA, DAVID A             4188 BARNEY DR                                                                                                  FAIRGROVE         MI   48733‐9748
OLVERA, JIMMY LOU           AMMONS & AMMONS LAW FIRM LLP      3700 MONTROSE BLVD                                                            HOUSTON           TX   77006‐4624
OLVERA, JODEE               307 CHURCH ST                     PO BOX 108                                                                    STRYKER           OH   43557‐8601
OLVERA, JOSE                719 LINDEN ST                                                                                                   DEFIANCE          OH   43512‐2730
OLVERA, LAZARO              5584 N EASY ST                                                                                                  SANFORD           MI   48657‐9310
OLVERA, MARIA               1729 N O'CONNOR RD                                                                                              IRVING            TX   75061
OLVERA, MARIA G.            1729 N O CONNOR RD                                                                                              IRVING            TX   75061‐2423
OLVERA, MARIANA             2205 REMYNSE DR APT 628                                                                                         ARLINGTON         TX   76010‐6746
OLVERA, MICHAEL K           PO BOX 112379                                                                                                   CAMPBELL          CA   95011
OLVERA, NICHOLAS A          HORIZONS LAW GROUP LLC            7400 W STATE ST                                                               WAUWATOSA         WI   53213‐2736
OLVERA, OSCAR               16873 SILVERADO DR                                                                                              SOUTHGATE         MI   48195‐3929
OLVERA, ROSENDO             11807 GRAYSTONE AVE                                                                                             NORWALK           CA   90650‐7807
OLVERA, SYLVIA              10712 HADDON AVE                                                                                                PACOIMA           CA   91331‐2833
OLVERSON, JAMES L           621 H. DINSMORE DR                APT H                                                                         CINCINNATI        OH   45240
OLVEY II, WILLIAM B         29606 N STRACKS CHURCH RD                                                                                       WRIGHT CITY       MO   63390‐2600
OLVEY, JAMES W              315 E MAIN ST                                                                                                   REDKEY            IN   47373‐9405
OLVEY, KENNETH L            4008 MAY ST                                                                                                     ANDERSON          IN   46011‐5044
OLVEY, ROSALIE B            4008 MAY ST                                                                                                     ANDERSON          IN   46011‐5044
OLVIN HOWARD JR             139 PALLADIUM LN                                                                                                SHREVEPORT        LA   71115‐3256
OLVIN STEPHENS              10105 ROAD 444                                                                                                  PHILADELPHIA      MS   39350‐4365
OLVIS HARVILLE              2275 NEWBERRY RD                                                                                                WATERFORD         MI   48329‐2339
OLVIS O HARVILLE            2275 NEWBERRY RD                                                                                                WATERFORD         MI   48329‐2339
OLVIS, GRACE K              7416 LIBERTY WOODS LANE                                                                                         CENTERVILLE       OH   45459‐3985
OLWEEAN, DONNA M            36619 AVONDALE ST                                                                                               WESTLAND          MI   48186‐4074
OLWEEAN, GERTRUDE G         34203 FRANCES                                                                                                   WESTLAND          MI   48185‐3656
OLWEEAN, GERTRUDE G         34203 FRANCES ST                                                                                                WESTLAND          MI   48185‐3656
OLWEEAN, ROBERT             8246 GARY AVE                                                                                                   WESTLAND          MI   48185‐1746
OLWEN MUSSER                314 MEADOW DR                                                                                                   ESSEXVILLE        MI   48732‐1622
OLWINE DEBORAH              OLWINE, DEBORAH                   120 WEST MADISON STREET , 10TH                                                CHICAGO           IL   60602
                                                              FLOOR
OLWINE, DARRELL G           11 SEMINOLE LN                                                                                                  ARCANUM           OH 45304‐1349
OLWINE, DEBORAH             KROHN & MOSS ‐ IL                 120 WEST MADISON STREET, 10TH                                                 CHICAGO           IL 60602
                                                              FLOOR
OLY BOAZ                    9875 N 1000 E                                                                                                   MARKLEVILLE       IN   46056‐9627
OLYCE LOZIER                9520 E. CLARENCE RD.IVE                                                                                         HARRISON          MI   48625
OLYMPIA C HIONAS            2861 MERCER RD.                                                                                                 WEST MIDDLESEX    PA   16159‐3034
OLYMPIA CREDIT FUND INC     2525 RIVER RD                                                                                                   NORTH TONAWANDA   NY   14120
OLYMPIA ENTERTAINMENT INC   ATTN MILLIE WILSON                ACCOUNTING DEPT                  2211 WOODWARD AVE 5TH                        DETROIT           MI   48201
                                                                                               FLOOR
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Name                               Address1                         Address2                         Address3                Address4             City                State Zip
OLYMPIA ENTERTAINMENT INC          ATTN MILLIE WILSON               600 CIVIC CENTER DR              ACCOUNTING DEPARTMENT                        DETROIT              MI 48226‐4408

OLYMPIA KOCH                       10819 SW 53RD CIR                                                                                              OCALA               FL   34476‐7732
OLYMPIC AUTO                       1161 W STATE ROAD 436                                                                                          ALTAMONTE SPRINGS   FL   32714‐2747
OLYMPIC AUTO REPAIR                608 N TERRACE AVE                                                                                              MOUNT VERNON        NY   10552‐2702
OLYMPIC DISTRIBUTING                                                1803 S VERMONT AVE                                                                                CA   90006
OLYMPIC FREIGHT SERVICES INC       23 ADAM CT                                                                                                     RED BANK            NJ   07701‐5234
OLYMPIC MARKET                     ATTN: JOHN HAN                   3530 DIVISION AVE S                                                           GRAND RAPIDS        MI   49548‐2113
OLYMPIC MATERIALS HANDLING LTD     300 BRADWICK DR                                                                           CONCORD ON L4K 1K8
                                                                                                                             CANADA
OLYMPIC PROPERTIES OF THE UNITED   UNITED STATES OLYMPIC COMM       1 OLYMPIC PLAZA                                                               COLORADO SPRINGS    CO 80909
STATES
OLYMPIC REGIONAL DEVELOPMENT       MR. JEFF POTTER                  OLYMPIC CENTER, LAKE PLACID                                                   LAKE PLACID         NY 12946
AUTHORITY (ORDA)
OLYMPIC STEEL INC                  5096 RICHMOND RD                                                                                               CLEVELAND           OH   44146‐1329
OLYMPIC STEEL LAFAYETTE INC EF     3600 MILITARY ST                                                                                               DETROIT             MI   48210‐2964
OLYMPUS AMERICA                    3500 CORPORATE PKWY                                                                                            CENTER VALLEY       PA   18034‐8229
OLYMPUS AMERICA INC                400 RABRO DR                                                                                                   HAUPPAUGE           NY   11788‐4258
OLYMPUS AMERICA, INC.              DEBRA LADENHEIM                  400 RABRO DR                                                                  HAUPPAUGE           NY   11788‐4258
OLYMPUS CORP                       3500 CORPORATE PKWY                                                                                            CENTER VALLEY       PA   18034‐8229
OLYMPUS CORP                       1 CORPORATE DR                                                                                                 ORANGEBURG          NY   10962‐2615
OLYMPUS CORP/STRONGV               8370 DOW CIRCLE                                                                                                STRONGSVILLE        OH   44136
OLYMPUS INDUSTRIAL AMERICA INC     3500 CORPORATE PKWY                                                                                            CENTER VALLEY       PA   18034‐8229
OLYMPUS NDT CORP                   48 WOERD AVE                     PO BOX 822196                                                                 PHILADELPHIA        PA   19182‐0001
OLYMPUS NDT INC                    STAVELEY INSTRUMENTS INC         48 WOERD AVE UPDATE 11/7/05 AM                                                WALTHAM             MA   02453

OLYMPUS NDT INC                    48 WOERD AVE                                                                                                   WALTHAM             MA   02453
OLYMPUS PARTNERS                   1000 N OPDYKE RD STE C                                                                                         AUBURN HILLS        MI   48326‐2672
OLYMPUS SURGICAL                   400 RABRO DR                                                                                                   HAUPPAUGE           NY   11788‐4258
OLYMPUS/WOODBURY                   125 FROEHLICH FARM BLVD                                                                                        WOODBURY            NY   11797‐2906
OLYN ELLIS                         36524 FAIRCHILD ST                                                                                             WESTLAND            MI   48186‐4019
OLYN YOUNG                         18491 BUFFALO ST                                                                                               DETROIT             MI   48234‐2436
OLZA ICE                           4220 W 200 N                                                                                                   ANDERSON            IN   46011‐8787
OLZAK MARCELLA                     4617 BANCROFT ST                                                                                               PITTSBURGH          PA   15201‐1741
OLZALEA WILKINS                    401 HOLDERMAN PL                                                                                               NEW LEBANON         OH   45345‐1513
OLZEM, JOY L                       6077 PRESS RD                                                                                                  SMITHTON            IL   62285‐3019
OLZIE IVORY                        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS.         OH   44236
OLZMANN, ARTHUR H                  17381 CONTESTI DR                                                                                              CLINTON TWP         MI   48035‐2334
OLZNOI, JO ANN M                   306 WESTWOOD DR                                                                                                SHOREWOOD           IL   60404‐9424
OM P GULATI                        4625 WAYCROSS ST                                                                                               HOUSTON             TX   77035‐3723
OM UNIVERSITY AVENUE TRUST         C\O CABOT CABOT & FORBES         125 SUMMER ST STE 1800                                                        BOSTON              MA   02110‐1613
OMA ADKINS                         12300 VONN RD APT 8105                                                                                         LARGO               FL   33774‐3428
OMA BAILEY                         9705 APPLEWOOD TRL                                                                                             DENTON              TX   76207‐8628
OMA BROWNING                       1283 RESACA LAFAYETTE RD NW                                                                                    RESACA              GA   30735‐6172
OMA BUSH                           2707 N CONWAY AVE UNIT 522                                                                                     MISSION             TX   78574‐2135
OMA CHYBA                          2885 MULBERRY DR                                                                                               CLARKSTON           MI   48348‐5305
OMA DAVIS                          17053 FISH LAKE ROAD                                                                                           HOLLY               MI   48442‐8367
OMA DEFRATIES                      102 N RIVER ST APT 212                                                                                         JANESVILLE          WI   53548‐2974
OMA E SMITH                        2805 US HIGHWAY 60 E TRLR 41                                                                                   MOREHEAD            KY   40351
OMA HOWARD                         406 CRESTVIEW DR                                                                                               KENDALLVILLE        IN   46755‐2287
OMA MOORE                          350 CROWN POINT EST                                                                                            LONDON              KY   40741‐7531
OMA MORIN                          1809 GLEN CARY DR                                                                                              PORT CLINTON        OH   43452‐1409
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OMA NAPIER                         600 N HIGH ST APT 7                                                                        BROWNSTOWN          IN 47220‐1429
OMA PITTMAN                        7115 MUNGER RD                                                                             YPSILANTI           MI 48197‐9322
OMA RAINEY                         1118 S. M13                                                                                LENNON              MI 48449
OMA UNDERWOOD                      3124 N 50 E                                                                                KOKOMO              IN 46901‐8592
OMA WILLIAMS                       PO BOX 101                                                                                 HUMBOLDT            TN 38343‐0101
OMADELL JOLLEY                     36280 BEHM DR                                                                              NORTH RIDGEVILLE    OH 44039‐3751
OMAH HAYES                         761 DOVER GLEN DR                                                                          ANTIOCH             TN 37013‐1863
OMAH KILBREATH                     5090 LUM RD                                                                                LUM                 MI 48412‐9324
OMAHA AUTO AUCTION                 9201 S 144TH ST                                                                            OMAHA               NE 68138‐3634
OMAHA AUTO AUCTION                                                   9201 S 144TH ST                                                              NE 68138
OMAHA PUBLIC POWER DIST            PO BOX 3995                                                                                OMAHA               NE 68103‐0995
OMAHA PUBLIC POWER DISTRICT                                          1101 N 180TH ST                                                              NE 68022
OMAHA PUBLIC SCHOOL                                                  3833 N 72ND ST                                                               NE 68134
OMAHA TRUCK CENTER ‐ GMC           4522 S 108TH ST                                                                            OMAHA               NE 68137‐1204
OMAHA TRUCK CENTER INC.            4522 S 108TH ST                                                                            OMAHA               NE 68137‐1204
OMAHA TRUCK CENTER, INC.           TREY MYTTY                        4522 S 108TH ST                                          OMAHA               NE 68137‐1204
OMAHA WORLD HAROLD                 1314 DOUGLAS ST                                                                            OMAHA               NE 68102
OMAHEN, EDWARD J                   47868 CHELTENHAM DR                                                                        NOVI                MI 48374‐4326
OMAHEN, RICHARD M                  128 EL DOMINGO                                                                             EDGEWATER           FL 32141‐7674
OMAHEN, SONIA V                    22770 FAIRLAWN DR                                                                          EUCLID              OH 44117‐2011
OMAHEN, VIDA F                     1781 SPINO DR                                                                              EUCLID              OH 44117‐2043
OMAHEN, WILLIAM J                  26729 PEAJAY WAY                                                                           CANYON CNTRY        CA 91351‐4828
OMAHONEY CHARLES L SR (472554) ‐   PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                   PHILADELPHIA        PA 19103‐5446
O'MAHONEY CHARLES L
OMAI, EUNICE MWANGO                323 FAIRCREST DR                                                                           ARLINGTON          TX    76018‐4029
OMAIRA TORRES                      21361 STATE ROUTE 18                                                                       DEFIANCE           OH    43512‐8215
OMAITS, VIRGINIA                   1864 TWIN SUN CIRCLE                                                                       WALL LAKE          MI    48390‐4403
OMAJEAN SPRONG                     2435 W 12TH ST                                                                             MARION             IN    46953‐1066
OMALLEY CARLON                     PO BOX 37                                                                                  WAVERLY            PA    18471‐0037
OMALLEY JANET                      1080 WILHAGGIN PARK LN                                                                     SACRAMENTO         CA    95864‐5377
OMALLEY SHAWN                      3825 HIGHGATE DR                                                                           VALRICO            FL    33594‐5336
OMALLEY, CASSIE                    16100 N HAGGERTY RD APT 224                                                                PLYMOUTH           MI    48170
OMALLEY, CHARLES R                 2790 GIBSON DR                                                                             ROCKY RIVER        OH    44116‐3009
OMALLEY, EDWARD C                  28753 TUDOR DR                                                                             NORTH OLMSTED      OH    44070‐3047
OMALLEY, FRANCES T                 2151 E LINCOLN HWY #0‐1                                                                    LEVITTOWN          PA    19056‐1228
OMALLEY, JAMES J                   3104 W NORTHFIELD CHURCH RD                                                                ANN ARBOR          MI    48105
OMALLEY, JOSEPH L                  1700 WARWOOD AVE                                                                           WHEELING           WV    26003‐7113
OMALLEY, JUDITH A                  2794 BROOKS RD                                                                             BROWN CITY         MI    48416‐8652
OMALLEY, KAREN S                   364 WASHINGTON BLVD                                                                        LAKE PLACID        FL    33852
OMALLEY, MARGARET S                29 SOUTH CRANDON AVE.                                                                      NILES              OH    44446‐3343
OMALLEY, MARGARET S                29 S CRANDON AVE                                                                           NILES              OH    44446‐3343
OMALLEY, MARY LOU                  2300 PLAZA AVE NE APT 623                                                                  WARREN             OH    44483‐3551
OMALLEY, PATRICK J                 2128 E WILLIAMSON ST                                                                       BURTON             MI    48529‐2444
OMALLEY, PENNY                     6306 VINCENT RD                                                                            JEDDO              MI    48032‐3907
OMALLEY, SHIRLEY A                 1388 SUGARBERRY CT                                                                         MOORESVILLE        IN    46158‐7637
OMALLEY, SHIRLEY M                 406 SPRING BROOKE DR                                                                       BRIGHTON           MI    48116
OMALLEY, WILLIAM
OMALLEY, WILLIAM J                 162 BROOKFIELD RD                                                                          AVON LAKE          OH 44012‐1545
OMAN TRADING (OTE)                 NIZWA                                                                  NIZWA OMAN
OMAN TRADING ESTABLISHMENT         P.O. BOX 175                                                           MUSCAT CODE‐ OMAN
OMAN TRADING ESTABLISHMENT         PO BOX 175                                                             MUSCAT CODE‐ OMAN
OMAN, ALAN P                       2138 WATERFORD PL                                                                          INDIANAPOLIS        IN   46260
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Name                        Address1                          Address2                     Address3   Address4             City             State Zip
OMAN, JOHN M                1763 CASS LAKE ROAD                                                                            KEEGO HARBOR      MI 48320
OMAN, JOHN W                24 LOWRY DR                                                                                    WILMINGTON        DE 19805‐1165
OMAN, LILLIAN L             12624 PAGELS DR APT 115                                                                        GRAND BLANC       MI 48439
OMAN, ROBERT L              385 LAIRD ST                                                                                   MOUNT MORRIS      MI 48458‐8872
OMAN, ROGER K               12831 W 66TH TER                                                                               SHAWNEE           KS 66216‐2558
OMAN, WILLIAM J             15247 PLAZA SOUTH DRIVE                                                                        TAYLOR            MI 48180
OMAND, ALASTAIR I           1571 MARYLAND BLVD                                                                             BIRMINGHAM        MI 48009‐4123
OMANS, AGATHI A             3111 AIRPORT RD                                                                                WATERFORD         MI 48329‐3009
OMANS, AMY M                606 MADISON ST                                                                                 LAKE GENEVA       WI 53147‐1408
OMANS, AMY MARIA
OMANS, AMY MARIE            606 MADISON ST                                                                                 LAKE GENEVA      WI   53147‐1408
OMANS, ANDREW J             2385 WATKINS LAKE RD                                                                           WATERFORD        MI   48328‐1442
OMANS, HELEN M              6311 GRACE K CT                                                                                WATERFORD        MI   48329‐1323
OMANS, MERLENE M            715 W MICHIGAN AVE APT 205                                                                     JACKSON          MI   49201‐1925
OMANS, MICHAEL J            291 W MAPLEHURST ST                                                                            FERNDALE         MI   48220‐2716
OMANS, THOMAS F             3207 S LAKEVIEW CIR APT 203                                                                    FORT PIERCE      FL   34949
OMAR
OMAR A SAWYER               1412 CEDAR ST                                                                                  SAGINAW          MI 48601‐2608
OMAR A. BALUBAID CO. LTD.   WALI AL AHAD ROAD PO BOX 213                                              JEDDAH 21411 SAUDI
                                                                                                      ARABIA
OMAR A. BALUBAID CO. LTD.   P.O. BOX 213                                                              JEDDAH 21411 SAUDI
                                                                                                      ARABIA
OMAR ABDULKADIR             OMAR, ABDULKADIR                  PO BOX 11326                                                 ALEXANDRIA       VA 22312
OMAR ALSAKKAF               9910 OMAR ST                                                                                   DEARBORN         MI 48120‐1412
OMAR ARAYA                  3161 DIDIER RD                                                                                 VALLEY SPRINGS   CA 95252‐9648
OMAR BHOLAT
OMAR CALL                   4005 S MERIDIAN ST                                                                             MARION           IN   46953‐5152
OMAR COOPER                 5583 CREEKHILL DR                                                                              HASTINGS         MI   49058‐8959
OMAR DAWAN                  1238 COBB AVE                                                                                  SPRINGFIELD      OH   45506‐1904
OMAR DESSOUKI               17114 KINROSS AVE                                                                              BEVERLY HILLS    MI   48025‐4131
OMAR EL                     25101 PINEHURST ST                                                                             ROSEVILLE        MI   48066‐3822
OMAR ELKOLALY               3939 WARREN CT                                                                                 ANN ARBOR        MI   48105‐9771
OMAR ENGLAND                313 BRANDED BLVD                                                                               KOKOMO           IN   46901‐4045
OMAR GADDIS                 6144 FOUNTAIN POINTE                                                                           GRAND BLANC      MI   48439‐7753
OMAR GARCIA                 3107 N WILSON AVE                                                                              ROYAL OAK        MI   48073‐3538
OMAR GOMEZ                  7341 IRONWOOD DR                                                                               SWARTZ CREEK     MI   48473‐9450
OMAR GOMEZ                  2368 OAKRIDGE DR                                                                               FLINT            MI   48507‐3560
OMAR GUTIERREZ              26690 GENA DR                                                                                  CHESTERFIELD     MI   48051‐1531
OMAR IBANEZ                 2332 S AVERS AVE                                                                               CHICAGO          IL   60623‐3040
OMAR J ODETTE               6205 WOODLAND DR                                                                               GRAND BLANC      MI   48439‐4880
OMAR LYONS JR               4315 S 1150 E                                                                                  UPLAND           IN   46989‐9406
OMAR M SILVER               747 DELAWARE ST                                                                                DETROIT          MI   48202‐2451
OMAR MOHAMMED               OMAR, MOHAMMED                    2001 US HIGHWAY 46 STE 310                                   PARSIPPANY       NJ   07054‐1315
OMAR MORA                   163 W TENNYSON AVE                                                                             PONTIAC          MI   48340‐2673
OMAR NAVA                   3321 WAYSIDE STREET                                                                            EL PASO          TX   79936‐1920
OMAR ODETTE                 6205 WOODLAND DR                                                                               GRAND BLANC      MI   48439‐4880
OMAR OROPEZA
OMAR PRANKE                 7520 EMH TOWNLINE RD                                                                           MILTON           WI   53563
OMAR QUINTANILLA            3123 HOLLY AVE                                                                                 FLINT            MI   48506‐3054
OMAR RIVERA                 1712 WOOD TRL                                                                                  OXFORD           MI   48371‐6067
OMAR RUIZ                   2032 MANORHAVEN ST                                                                             ORTONVILLE       MI   48462‐8542
OMAR SAWYER                 1412 CEDAR ST                                                                                  SAGINAW          MI   48601‐2608
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Name                               Address1                               Address2                   Address3         Address4             City               State Zip
OMAR STEPHENS                      1220 PICKWICK RD                                                                                        KNOXVILLE           TN 37914‐5739
OMAR VAZQUEZ                       7406 SEASON CT                                                                                          KINGWOOD            TX 77346‐3327
OMAR WILLIAMS                      7608 E 118TH ST                                                                                         KANSAS CITY         MO 64134‐3937
OMAR'S AUTO REPAIR                 2520 W 59TH ST                                                                                          CHICAGO              IL 60629‐1104
OMAR, ABDULKADIR                   PO BOX 11326                                                                                            ALEXANDRIA          VA 22312‐0926
OMAR, AHMAD M                      3307 EDSEL ST                                                                                           DEARBORN            MI 48120‐1444
OMAR, DARWICH                      6812 OAKMAN BLVD                                                                                        DEARBORN            MI 48126‐1827
OMAR, DOROTHY M                    2947 WELLAND DR                                                                                         SAGINAW             MI 48601‐6942
OMAR, FATEMA                       3307 EDSEL ST                                                                                           DEARBORN            MI 48120‐1444
OMAR, ISMAIL B                     3020 SAINT CLAIR ST                                                                                     DETROIT             MI 48214‐5401
OMAR, RONALD H                     PO BOX 327                                                                                              BEULAH              MI 49617‐0327
OMAR, ROUCHDIYEH                   6812 OAKMAN BLVD                                                                                        DEARBORN            MI 48126‐1827
OMARA PATRICIA                     PO BOX 154                                                                                              PORT SANILAC        MI 48469
OMARA, JAMES E                     5780 GLEN ORA DR                                                                                        BETHEL PARK         PA 15102‐2426
OMARA, LYNN A                      110 ROANOKE LN                                                                                          ROCHESTER HILLS     MI 48309
OMARA, RICHARD J                   110 ROANOKE LANE                                                                                        ROCHESTER HLS       MI 48309‐1426
OMARCLIFF
OMARI ROBERSON                     110 PHEASANT RUN DR APT 1A                                                                              LANSING            MI   48917‐6866
OMARI, BILLY J                     2701 SW 122ND CT                                                                                        OKLAHOMA CITY      OK   73170‐4738
OMARI, MOHAMMED                    39842 SPITZ DR                                                                                          STERLING HTS       MI   48313‐4980
OMARION PATE                       1137 AMOS ST                                                                                            PONTIAC            MI   48342‐1883
OMARK INDUSTRIES, INC.             CORSO G. AGNELLI, 200 û 10135 TORINO                                               ITALY

OMARK INDUSTRIES, INC.             5550 SW MACADAM AVE                                                                                     PORTLAND           OR 97239
OMAS HOLDINGS LTD                  UBS (LUXEMBOURG) S A                 33A AVENUE J F KENNEDY                        L‐1855 LUXEMBOURG
OMB PROFESSIONALS INC              20403 CLIFTONS POINT ST                                                                                 STERLING           VA   20165‐3106
OMBRES, PATRICIA                   ROHN LEE J                           1101 KING STREET ‐ SUITE 2                                         CHRISTIANSTED      VI   00820
OMDAHL, ERIC K                     2992 CEDAR KEY DR                                                                                       LAKE ORION         MI   48360‐1508
OMDALEN JR, CARL W                 32331 LOON DR                                                                                           VERGAS             MN   56587‐9403
OMEARA, ALAN G                     429 CASSANDRA CIR                                                                                       LAKELAND           FL   33809‐3702
OMEARA, TIMOTHY J                  42169 WATERFALL RD                                                                                      NORTHVILLE         MI   48168‐2254
OMECCA HOWARD                      1634 BLOOMFIELD PLACE DR APT 233C                                                                       BLOOMFIELD HILLS   MI   48302‐0864
OMECINSKY, OKSANA                  9 OXFORD BOULEVARD                                                                                      PLEASANT RDG       MI   48069‐1112
OMECINSKY, OKSANA                  9 OXFORD BLVD                                                                                           PLEASANT RDG       MI   48059‐1112
OMEGA A WYNN                       5994 DOWNS RD NW                                                                                        WARREN             OH   44481‐9417
OMEGA APPLETON                     1509 CHESTNUT GROVE DR SW                                                                               DECATUR            AL   35603‐3141
OMEGA CAPITAL LTD                  C/O MERRILL LYNCH INTERNATIONAL BANK ATTENTION TAU DEPARTMENT     2 RAFFLES LINK   MARINA BAYFRONT
                                   LIMITED                                                                            SINGAPORE 039392
OMEGA COLE
OMEGA CORP                         6192 WEBSTER ST K ALDERMAN             REINSTATE ON 6‐14‐99                                             DAYTON             OH   45414
OMEGA DIAGNOSTICS LL               PO BOX 9600                                                                                             TEXARKANA          TX   75505‐9600
OMEGA EN/PO BOX 2669               PO BOX 2669                            ONE OMEGA DRIVE                                                  STAMFORD           CT   06906‐0669
OMEGA EN/PO BOX 4047               ONE OMEGA DRIVE                        P.O. BOX 4047                                                    STAMFORD           CT   06907
OMEGA ENGINEERING INC              PO BOX 14001                           CHURCH ST STATION                                                NEW YORK           NY   10249‐4001
OMEGA GROUP                        30 BEEKMAN PL                                                                                           NEW YORK           NY   10022‐8060
OMEGA GUTHERIDGE                   1222 S FAYETTE ST                                                                                       SAGINAW            MI   48602‐1445
OMEGA INTERNATIONAL TECHNOLOGY INC 1506 BULL CREEK DR                                                                                      LIBERTYVILLE       IL   60048‐1028

OMEGA MATTHEWS                     1133 WISCONSIN BLVD                                                                                     DAYTON             OH   45408‐1944
OMEGA MODELS/TROY                  2701 INDUSTRIAL ROW DR                                                                                  TROY               MI   48084‐7015
OMEGA PACIFI/REDMOND               7114‐180TH AVENUE                      NE #B107                                                         REDMOND            WA   98052
OMEGA PATENTS LLC                  PO BOX 3791, ORLANDO                                                                                    ORLANDO            FL   32802
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Name                                Address1                           Address2                         Address3          Address4                 City              State Zip
OMEGA PATENTS, LLC                  5326 PRESLEY PL                                                                                                DOUGLASVILLE       GA 30135‐1201
OMEGA PLAST/MT CLMNS                21358 CARLO DRIVE                                                                                              MACOMB             MI 48044
OMEGA PRODUC/ROCH HI                2925 WATERVIEW DR                                                                                              ROCHESTER HILLS    MI 48309‐4600
OMEGA PRODUCTIVE SERVICES INC       2100 COE CT                                                                                                    AUBURN HILLS       MI 48326
OMEGA PRODUCTIVE SERVICES INC       2100 COE COURT                                                                                                 AUBURN HILLS       MI 48326‐2798
OMEGA PSI PHI FRATERNITY            TAU RHO CHAPTER                    PO BOX 1321                      COLLEGE STATION                            FREDERICKSBURG     VA 22402‐1321
OMEGA SLOWIK                        17500 WOODRIDGE DR                                                                                             BROWNSTOWN         MI 48193‐8621
OMEGA STEEL CO                      10 WASHINGTON AVE                                                                                              MADISON             IL 62060‐1463
OMEGA TOOL CORP                     2045 SOLAR CRES                                                                       OLDCASTLE ON N0R 1L0
                                                                                                                          CANADA
OMEGA TOOL/OLDCASTLE                PO BOX 1068                                                                                                    WARREN            MI   48090‐1068
OMEGA TOOL/WARREN                   PO BOX 1068                                                                                                    WARREN            MI   48090‐1068
OMEGA WATKINS                       APT 4                              5446 EASTGATE DRIVE                                                         FAIRFIELD         OH   45014‐3411
OMEGA WELDING & FABRICATING         1183 OLD US 23                                                                                                 BRIGHTON          MI   48114
OMEGA WYNN                          5994 DOWNS RD NW                                                                                               WARREN            OH   44481‐9417
OMEIR BIN YOUSSEF & SONS            PO BOX 15931                                                                          AL AIN UNITED ARAB
                                                                                                                          EMIRATES
OMEIR BIN YOUSSEF & SONS            P.O.BOX 267                                                                           ABU DHABI UNITED ARAB
                                                                                                                          EMIRATES
OMELIAN, JAMES G                    1608 N CONCORD DR                                                                                              JANESVILLE        WI   53545‐1218
OMELIAN, JOHN J                     2900 W 900 S                                                                                                   SOUTH WHITLEY     IN   46787‐9713
OMELIAN, LYNN A                     2900 W 900 S                                                                                                   SOUTH WHITLEY     IN   46787‐9713
OMELL, WILLIAM J                    62713 CRIMSON DR                                                                                               WASHINGTON        MI   48094‐1743
OMELVENY & MYERS                    153 E 53RD ST                                                                                                  NEW YORK          NY   10022
OMELVENY & MYERS LLP                400 SOUTH HOPE ST STE 1050                                                                                     LOS ANGELES       CA   90071
OMELVENY & MYERS LLP                STE 2800                           2 EMBARCADERO CENTER                                                        SAN FRANCISCO     CA   94111‐3903
OMEN HIGH PRESSURE DIE CASTING LP   KIBBUTZ HATZOR                                                                        HATZOR IL 60970 ISRAEL
OMEN HIGH PRESSURE DIE              KIBBUTZ HATZOR 60970               RLSE HOLD 04/04/08 TW 15715901                     KIBBUZ HATZOR 60970
CASTINGLIMITED PARTNERSHIP                                                                                                ISRAEL
OMEN HOLDINGS AGRICULTURAL SOC      KIBBUTZ HATZOR                                                                        HATZOR IL 60970 ISRAEL
OMER
OMER ARVIN                          1695 DALE DR                                                                                                   PLAINFIELD        IN   46168‐9499
OMER BARBER                         2950 TURKEYFOOT RD                 BRIGHTON GARDENS                                                            EDGEWOOD          KY   41017‐5104
OMER BARKALOW                       8364 LAKEVALLEY DR                                                                                             CINCINNATI        OH   45247‐3595
OMER C BARBER                       BRIGHTON GARDENS                   2950 TURKEYFOOT RD                                                          EDGEWOOD          KY   41017
OMER COOK                           9049 SMITHS GROVE SCOTTSVILLE RD                                                                               SMITHS GROVE      KY   42171‐9369
OMER D BREWER                       86 W BEVERLY AVE                                                                                               PONTIAC           MI   48340‐2618
OMER DENNEY                         883 HORNBEAM RD                                                                                                SABINA            OH   45169‐8011
OMER DIXON                          3011 HOFFMAN CIR NE                                                                                            WARREN            OH   44483‐3013
OMER E HICKS                        4540 S YORK HWY                                                                                                JAMESTOWN         TN   38556‐5327
OMER ELWER                          1742 AYERSVILLE AVE                                                                                            DEFIANCE          OH   43512‐3609
OMER F KINNEY                       3934 ROSLAN AVE                                                                                                KETTERING         OH   45429
OMER FUGATE                         855 KETCH DR APT 205                                                                                           NAPLES            FL   34103‐2704
OMER G TIPTON                       25 SUNBURST DR                                                                                                 FAIRBORN          OH   45324‐2530
OMER H MAYO                         1111 EAST OLD LAGUARDO ROAD                                                                                    LEBANON           TN   37087
OMER HAYES                          140 STILLWATER ST                                                                                              WEST MILTON       OH   45383‐1425
OMER HEATER                         1012 N 10TH ST                                                                                                 ELWOOD            IN   46036‐1046
OMER HICKS                          4540 S YORK HWY                                                                                                JAMESTOWN         TN   38556‐5327
OMER HOLLINGSWORTH                  1526 JOHNSON AVE                                                                                               ANDERSON          IN   46016‐1960
OMER JONES                          740 BELGIAN AVE                                                                                                BALTIMORE         MD   21218‐1218
OMER KEITH MORROW IRA               FCC AS CUSTODIAN, ACCOUNT #2       8255 CAMINITO MODENO                                                        LA JOLLA          CA   92037‐2922
OMER LABRECQUE                      102 STOCKTON PL                                                                                                SYRACUSE          NY   13219‐2852
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Name                     Address1                              Address2                       Address3          Address4               City            State Zip
OMER LAWSON              8623 ADAMS RD                                                                                                 HUBER HEIGHTS    OH 45424‐4034
OMER LAWSON              8623 ADAMS ROAD                                                                                               HUBER HEIGHTS    OH 45424‐4034
OMER LEDFORD             3538 N RIDGE RD                                                                                               PERRY            OH 44081‐9577
OMER LOZO                478 HI RIDGE DR                                                                                               KILLEEN          TX 76549‐4059
OMER MALENFANT           206 LAKE AVE #                                                                                                BRISTOL          CT 06010
OMER MCINTOSH            780 NEW LEWISBURG HWY                                                                                         COLUMBIA         TN 38401‐6347
OMER NISLEY
OMER P DIXON             3011 HOFFMAN CIRCLE N.E.                                                                                      WARREN          OH   44483‐3013
OMER POOLE               14237 SPANISH WELLS DR                                                                                        HUDSON          FL   34667‐8014
OMER RAY                 415 CATHERINE AVE                                                                                             W CARROLLTON    OH   45449‐1339
OMER SAMYN               640 N ELIZABETH ST                                                                                            DEARBORN        MI   48128‐1705
OMER SULLINS             10237 TREAT HWY                                                                                               JASPER          MI   49248‐9707
OMER T FUGATE            855 KETCH DR                          APT 205                                                                 NAPLES          FL   34103‐2704
OMER THOMAS              17392 SANTA ROSA DR                                                                                           DETROIT         MI   48221‐2608
OMER TIPTON              25 SUNBURST DR                                                                                                FAIRBORN        OH   45324‐2530
OMER TIPTON JR           145 FURNACE JCT                                                                                               RAVENNA         KY   40472‐8811
OMER VAUGHT              4660 INDEPENDENCE DR                                                                                          CLARKSTON       MI   48346‐3730
OMER VERHAS              GALEIDESTRAAT 13                                                                                              DENDERMONDE          9200
OMER WARE                433 SO 81 STREET                                                                                              KANSAS CITY     KS   66111
OMER WEBSTER             7169 SE 173RD ARLINGTON LOOP                                                                                  THE VILLAGES    FL   32162‐5330
OMER WESTBROOK           1706 S TRAIL RIDGE DR                                                                                         INDEPENDENCE    MO   64050‐4873
OMER, KELBY E            6 LOTT PL                                                                                                     KETTERING       OH   45420‐2924
OMERA TIM                42169 WATERFALL RD                                                                                            NORTHVILLE      MI   48168‐2254
OMERINE LOWERY           13367 TOMSON DR                                                                                               STRONGSVILLE    OH   44149‐4034
OMERZA, BLANCHE C        828 E HILLSDALE AVE                                                                                           SEVEN HILLS     OH   44131‐2620
OMERZA, RAYMOND J        7343 EAGLE RD                                                                                                 WAITE HILL      OH   44094
OMERZO, LOUIS            3908 RIDGE ROAD                                                                                               CORTLAND        OH   44410‐9704
OMERZO, MARY ANN         131 AMY PLACE                                                                                                 CORTLAND        OH   44410‐1314
OMERZO, MARY ANN         131 AMY PL                                                                                                    CORTLAND        OH   44410‐1314
OMEX MANUFACTURING ULC   P O BOX 546                           251 LORNE AVENUE W                               STRATFORD CANADA ON
                                                                                                                N5A 6T7 CANADA
OMEX MANUFACTURING ULC   251 LORNE AVE W                                                                        STRATFORD ON N5A 6S4
                                                                                                                CANADA
OMEX MANUFACTURING ULC   MARK DREMAK                           AC PRECISION COMPONENTS STRATF 251 LORNE AVE W                          DAYTON          OH 45420

OMG AG & CO KG           DMC2 DIVISION                         PO BOX 1351                                      HANAU WOLFGANG D‐
                                                                                                                63403 GERMANY
OMI TRANSPORTATION INC   PO BOX 944                                                                                                    TOLEDO          OH   43697‐0944
OMIA GRIMES              5988 LAKE ACWORTH DR NW                                                                                       ACWORTH         GA   30101‐5092
OMIA VOILES              2576 E 100 N                                                                                                  ANDERSON        IN   46012‐9230
OMICCIOLI, DEVA G        19 GREEN ST                                                                                                   NATICK          MA   01760‐4216
OMICH, GARY R            437 AUGLAIZE ST                                                                                               DEFIANCE        OH   43512‐2204
OMICH, GARY RICHARD      437 AUGLAIZE ST                                                                                               DEFIANCE        OH   43512‐2204
OMICK, DENNIS F          517 NAUTICAL WAY                                                                                              ANDERSON        SC   29625‐6359
OMICO INC                1500 BLUFF AVE                                                                                                OWENSBORO       KY   42303‐1005
OMICO INC                ROGER EVANS                           2025 RAGU DR                                                            BROWNSVILLE     TX   78521
OMICO PLASTICS           ROGER EVANS                           2025 RAGU DR                                                            BROWNSVILLE     TX   78521
OMICO/OWENSBORO          PO BOX 1405                                                                                                   OWENSBORO       KY   42302‐1405
OMICRON RES/BROOMALL     201 ARDEN RD                                                                                                  BROOMALL        PA   19008‐2004
OMIE BROWN               1130 TROUP AVE APT 1                                                                                          KANSAS CITY     KS   66104‐5871
OMIE COLVIN              3715 WARRENSVILLE CENTER RD APT 135                                                                           BEACHWOOD       OH   44122
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Name                            Address1                             Address2              Address3   Address4         City                    State Zip
OMIE DIGGS                      4025 FREDERICK AVE APT 303                                                             BALTIMORE                MD 21229‐4240
OMIE GOWER                      1544 BRASELTON HWY                                                                     LAWRENCEVILLE            GA 30043‐2807
OMIE MC MILLAN                  3141 CHICAGO PL                                                                        SOUTH CHICAGO HEIGHTS     IL 60411‐5404
OMIECINSKI, SLAWOMIR            436 OAKBRIDGE DR                                                                       ROCHESTER                MI 48306‐4633
OMIGER SIMPSON                  1064 E CASS AVE                                                                        FLINT                    MI 48505‐1607
OMIKA SIMPSON                   7743 KENNETT SQ                                                                        WEST BLOOMFIELD          MI 48322‐5008
OMILIAN, BERNARDEAN N           3140 HOEHN ST NW                                                                       GRAND RAPIDS             MI 49504‐2488
OMILIAN, JAMES G                30539 DELL LN                                                                          WARREN                   MI 48092‐1815
OMILIAN, REBECCA L              12426 ELDORADO DR                                                                      STERLING HTS             MI 48312‐4040
OMILIAN, REBECCA LEBEAU         12426 ELDORADO DR                                                                      STERLING HTS             MI 48312‐4040
OMILIN'S AUTO SERVICE           1040 CLIMAX AVE                                                                        SCHENECTADY              NY 12304‐3711
OMILION, HELEN                  12123 TUCSON DRIVE                                                                     PARMA                    OH 44130‐1848
OMILION, JANINA                 7116 THORNCLIFFE BLVD                                                                  PARMA                    OH 44134‐5365
OMILION, THADDEUS J             11083 TOEPFER RD                                                                       WARREN                   MI 48089‐3022
OMIOTEK COIL SPRING CO          833 N RIDGE AVE                                                                        LOMBARD                   IL 60148‐1235
OMIOTEK COIL SPRING CO INC      VICTOR OMIOTEK                       833 N RIDGE AVE                                   LOMBARD                   IL 60148‐1235
OMIOTEK COIL SPRING CO INC      VICTOR OMIOTEK                       833 N. RIDGE AVENUE                               WIXOM                    MI 48393
OMIOTEK COIL SPRING CO.         VICTOR OMIOTEK                       833 N RIDGE AVE                                   LOMBARD                   IL 60148‐1235
OMIOTEK COIL SPRING CO.         VICTOR OMIOTEK                       833 N. RIDGE AVENUE                               WIXOM                    MI 48393
OMLEY CHAVERS                   5153 BROADWAY AVE                                                                      JACKSONVILLE             FL 32254‐2946
OMLIE, DONALD E                 950 SO.RIDGE GREENS BLVD.#29                                                           FT COLLINS               CO 80525
OMLOR, DAVID L                  2116 WESTWIND DR                                                                       SANDUSKY                 OH 44870‐7009
OMLOR, EARL H                   5790 DENLINGER RD                    APT 162                                           DAYTON                   OH 45426
OMLOR, JOHN C                   1375 N LAKE RD                                                                         NEW CARLISLE             OH 45344‐9720
OMLOR, JOHN J                   2268 ROYAL PALM AVE                                                                    DEFIANCE                 OH 43512‐3536
OMLOR, JOHN W                   41 BOEHLER ST                                                                          TIFFIN                   OH 44883‐2116
OMLOR, RAYMOND A                3817 VILLANOVA DR                                                                      KETTERING                OH 45429‐4541
OMLOR, ROBERT E                 1317 E PASADENA LN                                                                     FORT MOHAVE              AZ 86426‐9272
OMLOR, ROBERT J                 46 CAPRI RD                                                                            DEFIANCE                 OH 43512‐3214
OMLOR, ROBERT JOHN              46 CAPRI RD                                                                            DEFIANCE                 OH 43512‐3214
OMLOR, STEPHEN                  648 MERCER AVE                                                                         DECATUR                  IN 46733‐2331
OMMAYA, AYUB K
OMMEN, CATHY L                  109 E STEEL ST                                                                         SAINT JOHNS             MI   48879‐1343
OMMEN, TERRI L.                 4948 W BEAL CITY RD                                                                    WEIDMAN                 MI   48893‐9758
OMMEN, WILLIAM L                3921 W ISLAND RD                                                                       SAINT JOHNS             MI   48879‐9422
OMMERT, EUGENE C                3409 BOOS RD                                                                           HURON                   OH   44839‐2039
OMMERT, JENNIFER A              2044 BLAIR DR                                                                          LEBANON                 OH   45036‐8232
OMMERT, JEREMY D                2044 BLAIR DR                                                                          LEBANON                 OH   45036‐8232
OMMIE RUFFIN                    209 W DEWEY ST                                                                         FLINT                   MI   48505‐6608
OMNI AIRWAYS INC                7002 HIGHLAND ROAD                                                                     PONTIAC                 MI   48054
OMNI CONTROLS INC               23192 COMMERCE DR                                                                      FARMINGTON HILLS        MI   48335‐2722
OMNI CONTROLS INC               ATTN: CORPORATE OFFICER/AUTHORIZED   23192 COMMERCE DR                                 FARMINGTON HILLS        MI   48335‐2722
                                AGENT
OMNI ENERGY SERVICES, CORP.     JACK SMITH                           PO BOX 3761                                       LAFAYETTE               LA   70502‐3761
OMNI FINISHING SYSTEMS INC      163 RAILROAD DRIVE                                                                     IVYLAND                 PA   18974
OMNI GROUP                      PO BOX 278                                                                             WALLED LAKE             MI   48390‐0278
OMNI GROUP                      PO BOX 278                           29183 LORIE LN                                    WALLED LAKE             MI   48390‐0278
OMNI GROUP                      29183 LORIE LN                                                                         WIXOM                   MI   48393‐3680
OMNI HOTEL/CHARLTTVL            235 W MAIN ST                                                                          CHARLOTTESVILLE         VA   22902‐5047
OMNI HOTELS DETROIT MI          1000 RIVER PLACE DR                                                                    DETROIT                 MI   48207‐4243
OMNI HYPNOSIS TRAINING CENTER   197 GLENWOOD RD                                                                        DELAND                  FL   32720‐1624
OMNI INDIANA/INDIANA            8181 N SHADELAND AVE                                                                   INDIANAPOLIS            IN   46250‐2046
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Name                                 Address1                              Address2                         Address3                Address4              City            State Zip
OMNI INTEGRATED TECHNOLOGIES INC     275 NORTHPOINTE DR                                                                                                   FAIRFIELD        OH 45014‐5445

OMNI INTERNATIONAL CORP              611 INDUSTRIAL PKWY                   RC 8/06/01 BT                                                                  IMLAY CITY      MI 48444
OMNI INTERNATIONAL CORP              611 INDUSTRIAL PKY                                                                                                   IMLAY CITY      MI 48444
OMNI LINGUAL SERVICES INC DBA        OMNI INTERPRETING & TRANSLATIN        1329 E THOUSAND OAKS BLVD #224                                                 THOUSAND OAKS   CA 91362

OMNI LOGISTICS INC                   20857 HAWTHORNE ST                                                                                                   HARPER WOODS    MI    48225‐1133
OMNI LOS ANGELES HOTEL               251 S OLIVE ST                                                                                                       LOS ANGELES     CA    90012‐3002
OMNI NORTH AMERICA                   PO BOX 745                                                                                                           HACKETTSTOWN    NJ    07840‐0745
OMNI OFFICES\DALLAS LAS              COLINAS INC                           222 LAS COLINAS BLVD W           XEROX CENTRE STE 1650                         IRVING          TX    75039‐5403
OMNI OFFICES\NEWPORT BEACH           MGMT WEST TOWER                       5000 BIRCH ST STE 3000                                                         NEWPORT BEACH   CA    92660‐2140
OMNI PHYSICIAN SERV                  PO BOX 74424                                                                                                         CLEVELAND       OH    44192‐0001
OMNI RENT A CAR INC.                 519 SOUTH BREA BLVD.                                                                                                 BREA            CA    92821
OMNI SERV/BOX 3271                   PO BOX 3271                                                                                                          RICEVILLE       TN    37370‐3271
OMNI SOURCE CORP                     ATTN: BRENT MEININGER                 1414 N MADISON AVE                                                             BAY CITY        MI    48708‐5445
OMNI SOURCE CORPORATION              1414 N MADISON AVE                                                                                                   BAY CITY        MI    48708‐5445
OMNI TECH SALES                      31189 SCHOOLCRAFT RD                                                                                                 LIVONIA         MI    48150‐2027
OMNI TECH/FENTON                     100 S ALLOY DR                                                                                                       FENTON          MI    48430‐1702
OMNI TECH/NON                        100 S ALLOY DR                                                                                                       FENTON          MI    48430‐1702
OMNI TECH/WARRN                      3560 E. NINE MILE ROAD                                                                                               WARREN          MI    48091
OMNI TECHNICAL SERVICES INC          203 E TOLLES DR                                                                                                      SAINT JOHNS     MI    48879‐1166
OMNI TOOL LTD                        5495 OUTER DR                                                                                  WINDSOR ON N9A 6J3
                                                                                                                                    CANADA
OMNI TOOL LTD
OMNI TRANSPORT INC                   1501 S PENNSYLVANIA AVE                                                                                              MORRISVILLE     PA 19067‐2505
OMNI TRANSPORTATION SERVICES         14020 US 20A                                                                                                         MONTPELIER      OH 43543
OMNI TRANSPORTATION SERVICES INC     BLDG D STE 222                        14 INVERNESS DR E                                                              ENGLEWOOD       CO 80112

OMNI‐TECH CALIBRATION SERVICES INC   1490 TORREY RD STE A                                                                                                 FENTON          MI 48430‐3323

OMNI‐TECH CALIBRATION SERVICES INC   100 S ALLOY DR                        FRMLY OMNI TECH CORP                                                           FENTON          MI 48430‐1702

OMNI‐TECH CORP                       1490 TORREY RD STE A                                                                                                 FENTON          MI 48430‐3323
OMNI‐TECH CORP                       1490 TORREY ROAD, SUITE A                                                                                            FENTON          MI 48430
OMNI‐TECH SALES INC                  31189 SCHOOLCRAFT RD                                                                                                 LIVONIA         MI 48150‐2027
OMNIBUS B.B. TRANSPORTES S.A. á      PANAMERICANA NORTE KM. 5 1/2 Y JOSE   GONZALO COBA á                                           QUITO ECUADOR
                                     DE LA REA á
OMNIBUS BB TRANSPORTES SA            PANAMERICANA NORTE KM 5 1/2 Y JOSE                                                             QUITO ECUADOR
                                     DE LA REA
OMNIBUS BB TRANSPORTES, S.A.         PANAMERICANA NORTE KM 5 1/2 Y JOSE                                                             QUITO ECUADOR
                                     DE LA REA
OMNIBUS BB TRANSPORTES, S.A.         CARRETERA PANAMERICANA NORTE KM                                                                JOSE DE LA REA, Q
                                     5.5 Y JOSE DE LA REA                                                                           ECUADOR
OMNICOM GROUP INC                    130 5TH AVE FL 2                                                                                                     NEW YORK        NY 10011‐4360
OMNICOM GROUP INC                    130 FIFTH AVE                                                                                                        NEW YORK        NY 10011
OMNIFLIGHT HELICOPTERS INC
OMNILINGUA INC                       306 6TH AVE SE                                                                                                       CEDAR RAPIDS     IA   52401‐2014
OMNILINGUA WORLDWIDE LLC             1010 1ST ST NW                                                                                                       CEDAR RAPIDS     IA   52405‐2555
OMNIMED LLC                          DBA ARROWOOD MEDICAL CENTER           1393 CELANESE RD                 OCCUMED RIVERVIEW                             ROCK HILL        SC   29732‐1722
                                                                                                            MEDICAL CTR
OMNIMED PA INC                       9720 S TRYON ST                                                                                                      CHARLOTTE       NC 28273‐6578
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OMNIMOTORES, S.A.                  461                                                                                             SAN SALVADOR EL
                                                                                                                                   SALVADOR
OMNIPRINT INC                      9700 PHILADELPHIA CT                                                                                                    LANHAM             MD    20706‐4405
OMNISOURCE CORP                    7575 W JEFFERSON BLVD                                                                                                   FORT WAYNE         IN    46804‐4131
OMNISOURCE CORPORATION             OMNISOURCE BRKRGE CANADA 16292      7575 W JEFFERSON BLVD                                                               FORT WAYNE         IN    46804‐4131
OMNISOURCE CORPORATION             7575 W JEFFERSON BLVD                                                                                                   FORT WAYNE         IN    46804‐4131
OMNISOURCE CORPORATION
OMNISYN/COLUMBUS                   PO BOX 26196                                                                                                            COLUMBUS           OH    43226‐0196
OMNITECH SALES CO                  2370 YORK RD                                                                                                            JAMISON            PA    18929
OMNITECH SALES CO                  2370 YORK RD STE A7                 PO BOX 278                                                                          JAMISON            PA    18929‐1031
OMNITRAK LEARNING SYSTEMS INC      270 N MAIN ST STE 100                                                                                                   ALPINE             UT    84004
OMNITRAK/HONOLULU                  220 S KING ST STE 975               CENTRAL PACIFIC PLAZA                                                               HONOLULU           HI    96813‐4502
OMNITRANS                                                              1700 W 5TH ST                                                                                          CA    92411
OMNITRAX                           JOE HENDERLONG                      50 SOUTH STEELE STREET                                                              DENVER             CO    80209
OMNITURE                           550 TIMPANOGOS CIR                                                                                                      OREM               UT    84097‐6215
OMNITURE INC                       550 TIMPANOGOS CIR                                                                                                      OREM               UT    84097‐6215
OMNITURE INC                       STEPHEN C TINGEY                    36 SOUTH STATE STREET            PO BOX 45385                                       SALT LAKE CITY     UT    84145‐0385
OMNO VISION INC                    168 N BRANDON DR                                                                                                        GLENDALE HEIGHTS   IL    60139‐2025
OMOOMIAN, CYRUS                    APT 105                             1820 UNION STREET                                                                   SAN FRANCISCO      CA    94123‐4322
OMOWALE WALKER                     404 VIRGINIA DR                                                                                                         MIDDLETOWN         DE    19709‐9656
OMRANI MANSOUR
OMRON (GUANGZHOU) AUTOMOTIVE       NANXIANG NO 1 RD SOUTH OF SCIENCE                                                               GUANGZHOU CN 510730
ELECTR                                                                                                                             CHINA (PEOPLE'S REP)
OMRON (GUANGZHOU) AUTOMOTIVE       NANXIANG NO 1 RD SOUTH OF SCIENCE   HI‐TECH INDUSTRIAL DEVELOPMENT                              GUANGZHOU, CN 51073
ELECTR                                                                                                                             CHINA
OMRON AUTO/FARMINGTN               DETROIT SALES                       ATTN: JOSEPH WASH                30600 NORTHWESTERN HWY.                            FARMINGTN HLS       MI 48334
                                                                                                        STE#250
OMRON AUTO/NOVI                    29185 CABOT DR                                                                                                          NOVI               MI    48377‐2936
OMRON AUTO/ST CHARLE               3709 OHIO AVE                                                                                                           SAINT CHARLES      IL    60174‐5437
OMRON AUTOMOTIVE ELECTRONICS       SHANNON LAMBERT                     3709 OHIO AVE ‐ DOCK A                                                              MANSFIELD          OH    44906
OMRON AUTOMOTIVE ELECTRONICS       STEVE BENNETT                       HI TECH INDUSTRIAL DEVELOPMENT YIHENG RD SOUTH OF SCIENCE                           BROWNSVILLE        TX    78521
                                                                                                      C‐Z
OMRON AUTOMOTIVE ELECTRONICS I     3709 OHIO AVE                                                                                                           SAINT CHARLES       IL   60174‐5437
OMRON AUTOMOTIVE ELECTRONICS INC   3709 OHIO AVE                                                                                                           SAINT CHARLES       IL   60174‐5437

OMRON AUTOMOTIVE ELECTRONICS       492 GAYUI RI BOKYE MYEON                                                                        ANSONG GYUNGKI DO KR
KOREA                                                                                                                              456 871 KOREA (REP)
OMRON AUTOMOTIVE ELECTRONICS, INC.

OMRON AUTOMOTIVE ELECTRONICS, INC. DALE MORRISON                       2291 WINSTON PARK DRIVE                                   ONTARIO ON L6H6R7
                                                                                                                                 CANADA
OMRON CORP                                                             SHIOKOJIDORI HORIKAWA                                     HIGASHIIRU SHIMOGYO‐
                                                                                                                                 KU,JP,600‐8234,JAPAN
OMRON CORP                         STEVE BENNETT                       HI TECH INDUSTRIAL DEVELOPMENT YIHENG RD SOUTH OF SCIENCE GUANGZHOU CHINA
                                                                                                      C‐Z                        (PEOPLE'S REP)
OMRON CORP                         SHIOKOJIDORI HORIKAWA               HIGASHIIRU SHIMOGYO‐KU JP 600‐                            JAPAN
                                                                       8234
OMRON CORP                         2270 BRISTOL CIR                                                                              OAKVILLE ON L6H 5S3
                                                                                                                                 CANADA
OMRON CORP                         2291 WINSTON PARK DR                                                                          OAKVILLE ON L6H 6R7
                                                                                                                                 CANADA
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OMRON CORP                         2440 WINSTON PARK DR                                                                           OAKVILLE ON L6H 7V2
                                                                                                                                  CANADA
OMRON CORP                         3709 OHIO AVE                                                                                                           SAINT CHARLES    IL   60174‐5437
OMRON CORP                         492 GAYUI RI BOKYE MYEON                                                                       ANSONG GYUNGKI DO KR
                                                                                                                                  456 871 KOREA (REP)
OMRON CORP                         SHANNON LAMBERT                     2440 WINSTON PARK DR                                                                GRAND RAPIDS     MI 49534
OMRON CORP                         MARJI MORTIMER                      AUTOMOTVE ELECTONICS INC.        2270 BRISTOL CIRCLE       WINDSOR ON CANADA
OMRON CORP                         NANXIANG NO 1 RD SOUTH OF SCIENCE                                                              GUANGZHOU CN 510730
                                                                                                                                  CHINA (PEOPLE'S REP)
OMRON CORP                         NANXIANG NO 1 RD SOUTH OF SCIENCE   HI‐TECH INDUSTRIAL DEVELOPMENT                             GUANGZHOU 510730
                                                                                                                                  CHINA (PEOPLE'S REP)
OMRON CORP                         SHANNON LAMBERT                     3709 OHIO AVE ‐ DOCK A                                                              ST CHARLES       IL 60174
OMRON CORP                         SHANNON LAMBERT                     SWITCH/ECU DIV                   2291 WINSTON PARK DRIVE                            SAINT MARYS      PA 15857
OMRON CORP                         SHIOKOJIDORI HORIKAWA                                                                          HIGASHIIRU, SH 600‐8
                                                                                                                                  JAPAN
OMRON DUALTEC                      MARJI MORTIMER                      AUTOMOTVE ELECTONICS INC.        2270 BRISTOL CIRCLE       WINDSOR ON CANADA
OMRON DUALTEC AUTO ELECTRONICS INC 2291 WINSTON PARK DR                                                                           OAKVILLE CANADA ON L5H
                                                                                                                                  6R7
OMRON DUALTEC AUTOMOTIVE
OMRON DUALTEC AUTOMOTIVE ELECT     SHANNON LAMBERT                     SWITCH/ECU DIV                   2291 WINSTON PARK DRIVE                            SAINT MARYS      PA 15857
OMRON DUALTEC AUTOMOTIVE ELECT     SHANNON LAMBERT                     2440 WINSTON PARK DR                                                                GRAND RAPIDS     MI 49534
OMRON DUALTEC AUTOMOTIVE           2440 WINSTON PARK DR                                                                           OAKVILLE ON L6H 7V2
ELECTRONIC                                                                                                                        CANADA
OMRON DUALTEC AUTOMOTIVE           2291 WINSTON PARK DR                                                                           OAKVILLE ON L6H 6
ELECTRONIC                                                                                                                        CANADA
OMRON DUALTEC AUTOMOTIVE           2270 BRISTOL CIR                                                                               OAKVILLE ON L6H 5S3
ELECTRONIC                                                                                                                        CANADA
OMRON ELECTRONICS LLC              1 COMMERCE DR                                                                                                           SCHAUMBURG       IL   60173‐5302
OMRON GUANGZHOU AUTOMOTIVE         HI‐TECH INDUSTRIAL DEVELOPMENT      GUANG ZHOU 510 663 GUANG                                   CHINA DCN16421906
ELECTRONICS CO                                                         DONG                                                       CHINA
OMRON SCIENTIFIC TECHNOLOGIES      6550 DUMBARTON CIR                                                                                                      FREMONT         CA    94555‐3605
OMRON/2440 WINSTON P               29185 CABOT DR                      SHANNON LAMBERT                                                                     NOVI            MI    48377‐2936
OMRON/NOVI                         29185 CABOT DR                                                                                                          NOVI            MI    48377‐2936
OMSBERG, PHILIP H                  201 PARK HILL POINT RD                                                                                                  BELGRADE        ME    04917
OMSC C/O GENAUTO                   2510 GRANDE ALLEE BLVD                                                                         STE THERESE PQ J7E4
                                                                                                                                  CANADA
OMSC, INC                          175 CROSSWAYS PARK DR W                                                                                                 WOODBURY         NY 11797‐2002
OMSTEDE LTD                        DAN EATON                           895 N MAIN ST                                                                       BEAUMONT         TX 77701‐1813
OMTRONIX ENGINEERING               6197 KENNEDY ROAD                                                                              MISSISSAUGA CANADA ON
                                                                                                                                  L5T 2S8 CANADA
OMTVEDT, JOHN R                    PO BOX 80602                                                                                                            ROCHESTER        MI   48308‐0602
OMUNDSON, DAVID L                  PO BOX 794                                                                                                              MANTENO          IL   60950‐0794
ON MY OWN OF MICHIGAN              2145 CROOKS RD STE 103                                                                                                  TROY             MI   48084‐5538
ON SITE REPRESENTATION LLC         330 INTERTECH PKWY STE 229                                                                                              ANGOLA           IN   46703‐7226
ON SPOT PORTABLE MACHINE           ATTN: JAMES BURNETT                 12489 HARTEL ST                                                                     LIVONIA          MI   48150‐2379
ON TARGET MEDIA                    1314 S LINDEN RD                                                                                                        FLINT            MI   48532‐3456
ON TARGET TAX & BOOKKEEPING        ATTN: ANEDRA LEWIS                  G3492 S SAGINAW ST                                                                  BURTON           MI   48529‐1217
ON THE DOUBLE INC                  6900 TRANMERE DR                                                                               MISSISSAUGA CANADA ON
                                                                                                                                  L5S 1L9 CANADA
ON THE EDGE                        300 RICE INDUSTRIAL PKWY                                                                                                AMHERST         OH 44001‐2464
ON THE RECORD REPORTING            24626 MICHIGAN AVE                                                                                                      DEARBORN        MI 48124‐1742
ON THE SIDE AUDIO                  3500 COURT ST                                                                                                           SYRACUSE        NY 13206‐1053
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Name                              Address1                             Address2                     Address3   Address4         City                 State Zip
ON TIME COURIER INC               3260 MILLER PIKE                                                                              LEBANON               KY 40033‐9263
ON TIME DELIVERY                  PO BOX 81202                                                                                  CLEVELAND             OH 44181‐0202
ON TIME EXPRESS                   34443 INDUSTRIAL RD                                                                           LIVONIA               MI 48150‐1305
ON TIME EXPRESS INC               733 W 22ND ST                                                                                 TEMPE                 AZ 85282‐1905
ON TIME EXPRESS INC               ANDY MINELLI                         13101 ECKLES RD                                          PLYMOUTH              MI 48170‐4245
ON TIME EXPRESS INC               TIM SISUNG                           733 W 22ND ST                                            TEMPE                 AZ 85282‐1905
ON TIME PACKAGE DELIVERY INC      1791 STANLEY AVE                                                                              VANDALIA              OH 45377
ON TIME SERVICES INC              1159 N ELLIS ST                                                                               BENSENVILLE            IL 60106‐1115
ON TIME SUPPORT INC               25132 OAKHURST DR STE 185                                                                     SPRING                TX 77386‐1497
ON TIME SUPPORT/TX                25132 OAKHURST DR STE 185                                                                     SPRING                TX 77386‐1497
ON TRACK AUTOMOTIVE, INC.         1129 CALIFORNIA DR                                                                            BURLINGAME            CA 94010‐3505
ON WHEELS INC                     1522 POINTER RIDGE PLACE SUITE 1                                                              BOWIE                 MD 20716
ON WHEELS INC                     RANDI PAYTON                         1522 POINTER RIDGE PLACE     SUITE 1                     BOWIE                 MD 20716
ON‐LINE ADMINISTRATORS INC        ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 4539                                              CHATSWORTH            CA 91313‐4539
                                  AGENT
ON‐SITE ANALYSIS INC              7108 FAIRWAY DR STE 130                                                                       PALM BEACH GARDENS   FL   33418‐3768
ON‐SITE COMMUNICATIONS INC        350 ELDRIDGE AVE STE 2                                                                        ORANGE PARK          FL   32073‐2964
ON‐SITE PROC/FLOWERY              4521 NOHL CREST DR                                                                            FLOWERY BRANCH       GA   30542‐4610
ON‐SITE STORAGE SOLUTIONS         4555 GIDDINGS RD                                                                              LAKE ORION           MI   48359‐1713
ON‐SITE SUPPLY                    5546 SHOREWOOD DR STE 101                                                                     INDIANAPOLIS         IN   46220‐3663
ON‐SPOT PORTABLE MACHINE CO INC   12489 HARTEL ST                                                                               LIVONIA              MI   48150‐2379
ON‐TIME EXPEDITING INC            PO BOX 681                                                                                    SOUTH LYON           MI   48178‐0681
ON‐TIME EXPRESS & LOGISTICS INC   34443 INDUSTRIAL RD                                                                           LIVONIA              MI   48150‐1305
ONA ADOMAITIS                     2122 PARKTON ST                                                                               SUNNY HILLS          FL   32428‐3005
ONA ALYNE GRIGGS                  BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.          OH   44236
ONA BELT                          1251 E HUMPHREY AVE                                                                           FLINT                MI   48505‐1760
ONA BONNER                        2939 SUNNY DR                                                                                 BEAVERCREEK          OH   45434‐6333
ONA COPIN                         1744 LARAMY LN                                                                                HUDSONVILLE          MI   49426‐8727
ONA DURKES                        3403 S HOME AVE                                                                               MARION               IN   46953‐4447
ONA FIELDS                        522 DELRAY ST                                                                                 KOKOMO               IN   46901‐7038
ONA HAYSE                         5866 CHEROKEE DR                                                                              MILTON               FL   32570‐6514
ONA HEDRICK                       HC 72 BOX 202‐A                                                                               FRANKLIN             WV   26807
ONA HITE                          3600 ASTER DR                                                                                 SARASOTA             FL   34233‐2105
ONA K SHELTON                     108 W CHIPAWAY DR                                                                             ALEXANDRIA           IN   46001‐2808
ONA KROSS                         6945 CURTWOOD DR                                                                              TIPP CITY            OH   45371‐2640
ONA LANYS                         62 SANDCASTLE DR                                                                              ORMOND BEACH         FL   32176‐4157
ONA M BELT                        1251 E HUMPHREY AVE                                                                           FLINT                MI   48505‐1760
ONA M HALL                        704 CENTRAL AVE                                                                               TILTON               IL   61833‐7910
ONA MURRIELL                      6532 BOWER DR                                                                                 INDIANAPOLIS         IN   46241‐1862
ONA PROPST                        134 SHELLY RD                                                                                 GLEN BURNIE          MD   21061‐1622
ONA R UPSHAW                      3212 GERMANTOWN ST                                                                            DAYTON               OH   45408‐2122
ONA SEREIKA                       1310 W 87TH ST                                                                                WILLOW SPRINGS       IL   60480‐1386
ONA SHELTON                       108 W CHIPAWAY DR                                                                             ALEXANDRIA           IN   46001‐2808
ONA SIMUTIS                       5733 OLD CHURCH CT                                                                            ANN ARBOR            MI   48105‐9565
ONA THURSTON                      419 S CLEARVIEW DR                                                                            NEW CASTLE           IN   47362‐8919
ONA VAICIUNAS                     1310 W 87TH ST HOUSE                                                                          WILLOW SPRINGS       IL   60480
ONA YORK                          28 CLEARVIEW DR                                                                               LILY                 KY   40740‐3007
ONADY, NORMA R                    6012 BAINBRIDGE CT                                                                            HAMILTON             OH   45011‐9157
ONADY, NORMA R                    1490 FIELDCREST CT                                                                            CINCINNATI           OH   45231
ONAK, JOAN M                      3715 SUNRISE DR                                                                               SEBRING              FL   33872‐2096
ONAK, MICHAEL F                   3715 SUNRISE DR                                                                               SEBRING              FL   33872‐2096
ONAK, WALTER J                    5340 S LARAMIE AVE                                                                            CHICAGO              IL   60638‐3044
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Name                                Address1                        Address2                Address3     Address4               City           State Zip
ONAKA PATENT OFFICE                 13‐11 NISHINIPPORI 5 CHOME      ARAKAWA ‐ KU                         TOKYO 116‐0013 JAPAN
ONALEA C EVANS                      219 1/2 MAPLE STREET                                                                        NILES          OH    44446‐‐ 17
ONALEA EVANS                        219 1/2 MAPLE ST                                                                            NILES          OH    44446‐1720
ONALEE BAILEY                       82 FRANKLIN ST                  N MORRIS ESTATES                                            MOUNT MORRIS   MI    48458‐3116
ONALEE BALLINGER                    704 S SCOTT RD                                                                              SAINT JOHNS    MI    48879‐9093
ONALEE GYDE                         48344 JOY RD                                                                                PLYMOUTH       MI    48170‐3320
ONALEE LADER                        824 KRUST DR                                                                                OWOSSO         MI    48867‐1918
ONALEE MABREY                       581 CLARION ST                                                                              CLIO           MI    48420‐1259
ONALEE MEYERS                       4584 LAFRANCE                                                                               PORT HURON     MI    48060
ONALEE NICKERSON                    1855 CORUNNA AVE                                                                            OWOSSO         MI    48867‐3911
ONALEE ROCKWELL                     3408 HUGGINS AVE                                                                            FLINT          MI    48506‐2602
ONALEE SAUVE                        7215 LAKE RD                                                                                MONTROSE       MI    48457‐9719
ONALEE SHARP                        920 HUNTERS CREEK DR APT 4109                                                               DELAND         FL    32720‐0977
ONALEE TAYLOR                       7740 E WEST BRANCH RD                                                                       SAINT HELEN    MI    48656‐8546
ONALENE LIKES                       PO BOX 1899                                                                                 SANDUSKY       OH    44871‐1899
ONAN, CONNIE A                      8265 RAMBLER DR                                                                             BROOKSVILLE    FL    34601‐2723
ONAS SMITH                          3690 BURWOOD LN                                                                             HIGHLAND       MI    48357‐3029
ONASSIS MATTHEWS                    24031 BROADMOOR PARK LN                                                                     NOVI           MI    48374‐4317
ONATTU, SOSA P                      55 ROSSETTO DR                                                                              MANCHESTER     CT    06042
ONAWAY ESTATE OF ROBERT J C         571 OLD POND ST                                                                             SOUTH LYON     MI    48178‐1013
ONCAY, RICHARD E                    PO BOX 131                                                                                  HORNTOWN       VA    23395‐0131
ONCEA, WILLIAM                      4642 GLENGARRY CIR                                                                          GREENSBORO     NC    27410‐7917
ONCENTER                            800 S STATE ST                                                                              SYRACUSE       NY    13202‐3015
ONCEVSKI, ZLATE                     7750 DIXIE HWY                                                                              IRA            MI    48023‐2728
ONCOR ELECTRIC DELIVERY             GERALD OWENS                    1201 S SYLVANIA AVE                                         FORT WORTH     TX    76111‐1051
ONCOR ELECTRIC DELIVERY CO LLC      2118 S BOWEN RD                                                                             PANTEGO        TX    76013‐5921
ONCOR ELECTRIC DELIVERY COMPANY
ONCOR ELECTRICAL DELIVERY COMPANY
LLC
ONDA STROUP                         71 N 700 W                                                                                  SWAYZEE        IN    46986‐9763
ONDA, ALEX                          24 HUQUENIN LN                                                                              BLUFFTON       SC    29909‐4546
ONDA‐LAY PIPE                                                       4407 W INDUSTRIAL AVE                                                      TX    79703
ONDARZA, FRANK J                    501 PENNSYLVANIA AVE                                                                        KENNEDALE      TX    76060‐5614
ONDASH, KAREN M                     4689 CRABWOOD DR                                                                            YOUNGSTOWN     OH    44515‐5134
ONDASH, KENNETH                     2565 ARROWAE DR                                                                             YOUNGSTOWN     OH    44511‐2225
ONDECK, JOHN J                      510 NOLLMEYER RD                                                                            BALTIMORE      MD    21220‐3032
ONDECKO, JOSEPH F                   1725 E 291ST ST                                                                             WICKLIFFE      OH    44092‐2403
ONDEO NALCO COMPANY                 ONDEO NALCO CTR                                                                             NAPERVILLE     IL    60563‐1198
ONDER ANDREW & INEZ                 1847 ESTABROOK AVE NW                                                                       WARREN         OH    44485‐1940
ONDER JR, ANDREW                    1 LINCOLN DR                                                                                LOCKPORT       NY    14094‐5549
ONDER, ANDREW P                     850 SANDPIPER TRL SE                                                                        WARREN         OH    44484‐2482
ONDER, CAROL A                      1 LINCOLN DR                                                                                LOCKPORT       NY    14094‐5549
ONDER, MARY T                       8683 WARWICK DRIVE                                                                          WARREN         OH    44484‐4484
ONDER, MICHAEL W                    8683 WARWICK DRIVE                                                                          WARREN         OH    44484‐3060
ONDERDONK, THOMAS F                 528 ROBERTSON RD                                                                            CHURCHVILLE    NY    14428‐9406
ONDERKA, MARIAN                     13480 BLOOM                                                                                 DETROIT        MI    48212‐1826
ONDERKO, LINDA M                    3073 MASSENA ST                                                                             COMMERCE TWP   MI    48382‐4631
ONDICH, CATHERINE P                 413 INDIANA AVENUE                                                                          FARRELL        PA    16121‐6121
ONDICK, DOUGLAS R                   7841 OAKVIEW LN                                                                             LENEXA         KS    66216‐4243
ONDIE ALEXANDER                     13024 SIMMS ST                                                                              DETROIT        MI    48205‐3264
ONDINA CAH                          164 BRUSH RD                                                                                RICHMOND HTS   OH    44143‐1128
ONDIS BRANTLEY                      3116 W 100 S CO RD                                                                          RUSSIAVILLE    IN    46979
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Name                        Address1                      Address2                        Address3   Address4         City               State Zip
ONDISH, ALBERT J            307 BROADWAY AVE                                                                          NORTH VERSAILLES    PA 15137‐1828
ONDISH, DOLORES             28 WILLIAMS ST                                                                            CRANFORD            NJ 07016‐2835
ONDISHIN JR, GEORGE         118 FERNWOOD TER                                                                          LINDEN              NJ 07036‐4916
ONDO JAMES                  4221 EVERGREEN DR                                                                         WOODBRIDGE          VA 22193‐2721
ONDO, HELEN K               3667 RIDGE RD                                                                             CORTLAND            OH 44410‐9432
ONDO, HELEN K               3667 RIDGE ROAD NE                                                                        CORTLAND            OH 44410‐9432
ONDO, JOHN                  PO BOX 215                                                                                LONG BEACH          MS 39560‐0215
ONDO, JOHN R                379 KINSMAN RD                                                                            GREENVILLE          PA 16125‐9234
ONDO, TONY C                503 MISTY LN                                                                              RAINBOW CITY        AL 35906‐6519
ONDOCSIN, MICHAEL L         14365 N CENTER RD                                                                         CLIO                MI 48420‐7934
ONDOCSIN, SUSAN             4131 CHESTERLAND BOULEVARD                                                                STOW                OH 44224‐1820
ONDOVCSIK, ANDREW A         2184 W FRANCES RD                                                                         MOUNT MORRIS        MI 48458‐8215
ONDOVCSIK, ANDREW A         2184 W. FRANIS RD                                                                         MOUNT MORRIS        MI 48458
ONDOVCSIK, DUSTIN L         3246 PONEMAH DRIVE                                                                        FENTON              MI 48430‐1347
ONDOVCSIK, EVA A            6239 W VIENNA RD                                                                          CLIO                MI 48420‐9455
ONDOVCSIK, GEORGE J         8408 E POTTER RD                                                                          DAVISON             MI 48423
ONDOVCSIK, HELEN M          PO BOX 789                                                                                LINDEN              MI 48451‐0789
ONDOVCSIK, KATHY            3246 PONEMAH DR                                                                           FENTON              MI 48430‐1347
ONDOVCSIK, LILLIAN          2184 FRANCIS RD                                                                           MT MORRIS           MI 48458‐8215
ONDOVCSIK, LILLIAN          2184 W FRANCES RD                                                                         MOUNT MORRIS        MI 48458‐8215
ONDOVCSIK, MICHAEL C        PO BOX 369                                                                                TREGO               MT 59934‐0369
ONDOVSCIK, LINDA FOURNIER   PO BOX 211                                                                                LINDEN              MI 48451‐0211
ONDRE, BRIAN M              2660 LOWELL BLVD                                                                          DENVER              CO 80211‐4068
ONDRE, EMIL M               3473 GALAXY BLVD                                                                          STERLING HEIGHTS    MI 48314‐3183
ONDREJ ROMAN                4163 INDEPENDENCE DR                                                                      FLINT               MI 48506‐1629
ONDREJKA, DENNIS D          6434 HARVARD LN B111                                                                      LITTLETON           CO 80130
ONDREJKO, MARIE L           285 GILLCREST DR                                                                          ALBANY              IN 47320
ONDREJKO, MARTIN G          5247 COTTAGE DR                                                                           CORTLAND            OH 44410‐9521
ONDREY JR, JOSEPH S         4307 KING EDWARD DR                                                                       ORLANDO             FL 32826‐2648
ONDREYKO, ANNA              5423 S GILMORE RD                                                                         FAIRFIELD           OH 45014‐4003
ONDRIA BURKETT              15079 PETOSKEY AVE                                                                        DETROIT             MI 48238
ONDRIA D GILLESPIE          6225 HATHAWAY DR                                                                          FLINT               MI 48505‐2434
ONDRIA GILLESPIE            6225 HATHAWAY DR                                                                          FLINT               MI 48505‐2434
ONDRIAS, ALVERA E           120 DEERFIELD COURT APT 11                                                                PRUDENTVILLE        MI 48651
ONDRIAS, ALVERA E           100 DEERFIELD CT APT 11                                                                   PRUDENVILLE         MI 48651‐9203
ONDRIAS, BARBARA J          712 NIETLING ST                                                                           CHESANING           MI 48616‐1721
ONDRIAS, MICHAEL            919 SUNNY SLOPE RD                                                                        WOODBURY            TN 37190‐5955
ONDRIAS, SHIRLEY A          2960 E HOWE RD                                                                            DE WITT             MI 48820‐8477
ONDRICK STEVE JR (491263)   BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                          PROFESSIONAL BLDG
ONDRICK, ANDREW C           398 STATE RD RT 511 SOUTH                                                                 NOVA               OH   44859
ONDRICK, CHARLES J          2879 HWY 160 WEST             SUITE 4104                                                  FORT MILL          SC   29708
ONDRICK, CHRISTINE A        PO BOX 39                     12083 PA BE SHAN                                            CHARLEVOIX         MI   49720‐0039
ONDRISEK, OPAL J            2086 WOODLAND PASS                                                                        BURTON             MI   48519‐1326
ONDROVICH, BESSIE M         1005 WEST VIEW AVE.                                                                       HAMILTON           OH   45013‐2447
ONDROVICH, BESSIE M         1005 WESTVIEW AVE                                                                         HAMILTON           OH   45013‐2447
ONDROVICK, LINDA L          4948 ELKNER ST                                                                            NEW PORT RICHEY    FL   34652‐3421
ONDRUS, KEVIN F             810 HOLLYWOOD DR                                                                          OWOSSO             MI   48867‐1184
ONDRUSEK JESSICA            ONDRUSEK, JESSICA             55 PUBLIC SQ STE 650                                        CLEVELAND          OH   44113‐1909
ONDUS NORRIS                PO BOX 1402                                                                               JAMESTOWN          TN   38556‐1402
ONDUSKO, MICHAEL L          18619 SOUTHWEST HIDEO COURT                                                               BEAVERTON          OR   97006‐2998
ONE BANK & TRUST NA         300 W CAPITOL AVE                                                                         LITTLE ROCK        AR   72201‐3506
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Name                                 Address1                                 Address2                    Address3   Address4              City              State Zip
ONE BEACON INSURANCE COMPANY
ONE BEACON INSURANCE GROUP           REGAN & REGAN                            438 MAIN ST STE 910                                          BUFFALO            NY 14202‐3210
ONE BEACON INSURANCE GROUP LLC       ELLISON, NIELSEN, KNIBBS, ZEHE & ANTAS   100 W MONROE ST FL 18                                        CHICAGO            IL 60603‐1912

ONE BEACON INSURANCE GROUP LLC       NORRIS CHOPLIN & SCHROEDER               101 WEST OHIO STREET                                         INDIANAPOLIS      IN    46204
ONE BEACON INSURANCE GROUP LLC       THE LAW OFFICES OF KEVIN F GILLIS        323 WASHINGTON ST STE 1                                      WESTWOOD          MA    02090‐1801
ONE CALL MEDCL INC                   PO BOX 822534                                                                                         PHILADELPHIA      PA    19182‐2534
ONE CALL MEDICAL                     20 WATERVIEW BLVD.                                                                                    PARSIPPANY        NJ    07054
ONE CALL MEDICAL INC                 PO BOX 822534                                                                                         PHILADELPHIA      PA    19182‐34
ONE CALL MEDICAL, INC.               PO BOX 822534                                                                                         PHILADELPHIA      PA    19182‐34
ONE DIAGNOSTIC SERVICE, INC          8102 NEW UTRECHT AVE                                                                                  BROOKLYN          NY    11214‐2128
ONE EQUITY PARTNERS III, L.P.        320 PARK AVE FL 18                                                                                    NEW YORK          NY    10022‐6815
ONE EQUITY PARTNERS III, LP          320 PARK AVE FL 18                                                                                    NEW YORK          NY    10022‐6815
ONE FLEET SOURCE                     3838 TROOST AVE                                                                                       KANSAS CITY       MO    64109‐2659
ONE FLEET SOURCE                     CHRIS BROCK                              3838 TROOST AVE                                              KANSAS CITY       MO    64109‐2659
ONE IAM                              3118 WESTAIRE CT                                                                                      COLUMBUS          OH    43232‐3604
ONE IMAGE COLLISION                  860 CESAR E CHAVEZ AVE                                                                                PONTIAC           MI    48340‐2332
ONE NORTHWESTERN PLAZA               28411 NORTHWESTERN HWY #900                                                                           SOUTHFIELD        MI    48034
ONE ONE ZERO SEVEN TRANSPORT ATION   PO BOX 602099                                                                                         CLEVELAND         OH    44102‐0099

ONE PATH SYSTEMS LLC                 JEFF SPRANGER                            1765 WEST OAK PARKWAY                                        MARIETTA          GA    30062
ONE SOURCE EQUIPMENT RENTALS L       1602 VALLEY ST STE A                                                                                  DAYTON            OH    45404‐2296
ONE SOURCE GLOBAL G                  PO BOX 1935                                                                                           EDWARDS           CO    81632‐1935
ONE SOURCE RENTALS‐SALES‐SERVICE     1602 VALLEY STREET                                                                                    DAYTON            OH    45404
ONE SOURCE TRANSPORT LTD             PO BOX 1326                                                                                           MEDINA            OH    44258‐1326
ONE STOP AUTO & DIESEL REPAIR        7591 N 74TH AVE                                                                                       GLENDALE          AZ    85303
ONE STOP AUTO & HITCH                9609 76 AVE NW                                                                  EDMONTON AB T6C 0K4
                                                                                                                     CANADA
ONE STOP AUTO CARE                   4695 EAGLE ROCK BLVD                                                                                  EAGLE ROCK        CA    90041‐3036
ONE STOP AUTO CARE CENTER                                                     SANTA ROSA SHOPPING MALL                                                       PR    00960
ONE STOP AUTO REPAIR                 312 N MONTELLO ST                                                                                     BROCKTON          MA    02301‐3529
ONE STOP AUTOMOTIVE                  ATTN: WILLIE DURHAM                      105 E MONTCALM ST                                            PONTIAC           MI    48342‐1354
ONE STOP BUS STOP INC                425 S LOOP 12                                                                                         IRVING            TX    75060‐3349
ONE STOP CAR CARE CENTER                                                      873 E 3RD ST                                                                   GA    30233
ONE STOP FOOD STORE                  ATTN: KATHY MEMMER                       11536 N SAGINAW ST                                           MT MORRIS         MI    48458‐2013
ONE STOP MARKETING
ONE THREE SIX INC                    110 WEST COMMERCIAL AVENUE                                                                            WOOD DALE         IL    60191
ONE TIME ONLY PAINTING SVC           ATTN: LARRY PHILLIPS                     PO BOX 430013                                                PONTIAC           MI    48343‐0013
ONE TOUCH SYSTEMS INC                40 AIRPORT PKWY                                                                                       SAN JOSE          CA    95110‐1009
ONE VISION UTILITY SERVICES          JOHN COOK                                975 COBB BLVD.                                               KENNESAW          GA
ONE WAY EXPRESS                      380 SOLON RD STE 5                                                                                    BEDFORD           OH    44146‐3809
ONE WAY/MADISON HGTS                 845 E MANDOLINE AVE                                                                                   MADISON HEIGHTS   MI    48071‐1472
ONE WORLD LOGISTICS                  5630528A
ONE WORLD LOGISTICS INC              PO BOX 632892                                                                                         CINCINNATI        OH 45263‐2892
ONE WORLD LOGISTICS INC              ATTN SHARLYN SMITH                       11590 T R 298                                                EAST LIBERTY      OH 43319
ONEAL ANGELA (ESTATE OF) (624443)    GOLDENBERG, MILLER, HELLER &             PO BOX 959                                                   EDWARDSVILLE      IL 62025‐0959
                                     ANTOGNOLI
ONEAL BOSLEY                         C/O WILLIAMS KHERKHER HART AND           8441 GULF FREEWAY STE 600                                    HOUSTON            TX   77007
                                     BOUNDAS LLP
ONEAL BOYKIN JR                      8303 W COPPER VILLAGE DR                                                                              HOUSTON           TX 77095‐4540
ONEAL BROWN III                      2118 FERNDALE AVE SW                                                                                  WARREN            OH 44485
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Name                                   Address1                         Address2                        Address3               Address4               City              State Zip
ONEAL CHARLES D SR (456572) ‐ O'NEAL   BILMS KEVIN P                    430 CRAWFORD ST STE 202                                                       PORTSMOUTH         VA 23704‐3813
CHARLES D
ONEAL E MATHIS                         1000 LORILEA DR E                                                                                              NORTHPORT         AL    35473‐7670
ONEAL GARY                             1108 BUICK AVE                                                                                                 YPSILANTI         MI    48198‐6276
ONEAL GREEN                            2666 CLUB FOREST DR SE                                                                                         CONYERS           GA    30013‐1906
ONEAL J CHAPMAN II                     307 SAGINAW ST                                                                                                 SAGINAW           MI    48602‐1432
ONEAL JOHNNY A JR (660924)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                   NORFOLK           VA    23510
                                                                        STREET, SUITE 600
ONEAL JONES                            1299 WESTPHAL AVE                                                                                              COLUMBUS          OH    43227‐2040
ONEAL JONES                            7934 HOLLY RIDGE DR                                                                                            HORN LAKE         MS    38637‐8121
ONEAL JR, CHARLEY                      185 PURITAN ST                                                                                                 HIGHLAND PARK     MI    48203‐2729
ONEAL JR, EARL F                       1414 BRADSHAW DR                                                                                               COLUMBIA          TN    38401‐9225
ONEAL JR, FRED A                       105 SKYLINE DR                                                                                                 HAMPTON           GA    30228‐3139
ONEAL MARTIN                           5249 CLINTON BLVD                                                                                              JACKSON           MS    39209‐3226
ONEAL MATHIS                           1000 LORILEA DR E                                                                                              NORTHPORT         AL    35473‐7670
ONEAL METALS                           G PATRICK THORNTON               PO BOX 2623                                                                   BIRMINGHAM        AL    35202‐2623
ONEAL PATRICK (634713)                 SIMMONS FIRM                     PO BOX 521                                                                    EAST ALTON        IL    62024‐0519
ONEAL RAYMOND (ESTATE OF) (643087) ‐   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD        OH    44067
O'NEAL RAYMOND                                                          PROFESSIONAL BLDG
ONEAL RICHARD                          ONEIL, RICHARD                   917 CLOVER ST                                                                 LAKE GENEVA       WI    53147
ONEAL TIMERJIN                         DICELLIS, BETTY JEAN             850 US HIGHWAY ONE                                                            NORTH BRUNSWICK   NJ    08902
ONEAL TIMERJIN                         DICELLIS, MICHAEL                850 US HIGHWAY ONE                                                            NORTH BRUNSWICK   NJ    08902
ONEAL TIMERJIN                         ONEAL, TIMERJIN                  24 COMMERCE STREET                                                            NEWARK            NJ    07102
ONEAL WEBSTER ONEAL MYERS              FLETCHER & GORDON                PO BOX 961 SUMMONS BLDG         30 DECASTRO ROADTOWN   BRITISH VIRGIN ISLAN
                                                                                                        TORTOLA                VIRGIN ISLANDS
ONEAL, ALFRED L                        453 DUNES DRIVE                  INDIES UNIT 203                                                               GULF SHORES        AL   36542
ONEAL, ANGELA                          GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                                    EDWARDSVILLE       IL   62025‐0959
                                       ANTOGNOLI
ONEAL, ARCHIE L                        5315 E. COUNTY RD                700 S.                                                                        GREENCASTLE       IN    46135
ONEAL, AURTHA M                        2910 NORTHWEST 187TH STREET                                                                                    MIAMI GARDENS     FL    33056‐3133
ONEAL, AZZILEE                         4481 MACKINAW RD                                                                                               SAGINAW           MI    48603‐3115
ONEAL, BENJAMIN                        1819 E 43RD ST                                                                                                 ANDERSON          IN    46013‐2513
ONEAL, BENJAMIN E                      1819 E 43RD ST                                                                                                 ANDERSON          IN    46013‐2513
ONEAL, BETTY A                         3542 WESTFIELD DRIVE                                                                                           ANDERSON          IN    46011‐3855
ONEAL, CAROL W                         107 WALL ST                                                                                                    HURON             OH    44839‐1632
ONEAL, CHARLES A                       267 E MAIN ST                                                                                                  MOORESVILLE       IN    46158‐1437
ONEAL, CHARLES E                       528 WHITLOCK AVE                                                                                               TOLEDO            OH    43605‐1344
ONEAL, CHARLES E                       3800 RICHFIELD RD APT 222                                                                                      FLINT             MI    48506‐2663
ONEAL, CHERRY L                        27204 THORNRIDGE DR                                                                                            GRAND BLANC       MI    48439‐9284
ONEAL, CHERRY LYNN                     27204 THORNRIDGE DR                                                                                            GRAND BLANC       MI    48439‐9284
ONEAL, CHRISTOPHE                      18651 BLOOM ST                                                                                                 DETROIT           MI    48234‐2424
ONEAL, DANIEL MATTHEW
ONEAL, DAVID L                         2191 COUNTY ROAD 3690                                                                                          MOUNTAIN VIEW     MO    65548
ONEAL, DEBRA A.                        528 WHITLOCK AVE                                                                                               TOLEDO            OH    43605‐1344
ONEAL, DORIS J                         6616 SUNSHINE VALLEY DR                                                                                        ARLINGTON         TX    76016‐4210
ONEAL, ELMER R                         224 CHERRY HILL TRL APT 102                                                                                    INKSTER           MI    48141‐1052
ONEAL, ERNEST                          173 LAKEVIEW DR                                                                                                ROANOKE           AL    36274‐1471
ONEAL, G. L                            PO BOX 1302                                                                                                    WARREN            OH    44482‐4482
ONEAL, G. L                            PO BOX 58                                                                                                      LEAVITTSBURG      OH    44430‐0058
ONEAL, HAROLD D                        396 30 RD                                                                                                      GRAND JUNCTION    CO    81504‐7605
ONEAL, IDA L                           64 EATON PL                                                                                                    BEAR              DE    19701‐2371
ONEAL, JACK W                          1225 ROUGHSHOD HOLLOW RD                                                                                       BYRDSTOWN         TN    38549‐4785
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Name                        Address1                            Address2                            Address3   Address4         City              State Zip
ONEAL, JOHN B               PETERS MURDAUGH PARKER ELTZROTH &   PO BOX 457                                                      HAMPTON            SC 29924‐0457
                            DETRICK
ONEAL, JOHN B               KNIGHT LAW FIRM                     207 EAST THIRD NORTH STREET ‐ P O                               SUMMERVILLE        SC   29484
                                                                BOX 280
ONEAL, JOHNNY A             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
ONEAL, JUDITH J             2555 S 600 W                                                                                        RUSSIAVILLE       IN    46979‐9475
ONEAL, KAREN D              1682 ALLENDALE DR                                                                                   SAGINAW           MI    48638‐4400
ONEAL, KARINE               10341 ELIZABETH ST                                                                                  WESTCHESTER       IL    60154‐3515
ONEAL, LANA S               301 1ST AVE W                                                                                       FRANKLIN          KY    42134
ONEAL, LARRY F              1102 ROYAL HILL LN                                                                                  ARLINGTON         TX    76014‐3328
ONEAL, LARRY L              2902 LUCERN CT                                                                                      ARLINGTON         TX    76012‐2735
ONEAL, LARRY T              1279 BELLVIEW DR                                                                                    MANSFIELD         OH    44905‐1613
ONEAL, MADELINE E           644 S 12TH ST                                                                                       SAGINAW           MI    48601‐1911
ONEAL, MADELINE E           644 S. 12TH ST.                                                                                     SAGINAW           MI    48601‐1911
ONEAL, MARK A               5469 E US HIGHWAY 40                                                                                FILLMORE          IN    46128‐9412
ONEAL, MICHAEL D            1120 ORCHARD HLS                                                                                    MARTINSVILLE      IN    46151‐8100
ONEAL, MICHEAL              105 DUDLEY CV                                                                                       BYHALIA           MS    38611‐6993
ONEAL, MILTON C             4977 BRAID HILLS DR                                                                                 SAINT PETERS      MO    63304‐7543
ONEAL, NANCY J.             2450 KROUSE RD LOT 368                                                                              OWOSSO            MI    48867‐8143
ONEAL, NITA Y
ONEAL, PATRICIA L           6576 N DORT HWY LOT 12                                                                              FLINT             MI    48505‐2365
ONEAL, RANDALL M            11023 CARR RD                                                                                       DAVISON           MI    48423‐9317
ONEAL, RHONDA M             PO BOX 2089                                                                                         SOUTHFIELD        MI    48037‐2089
ONEAL, RICHARD              917 CLOVER ST                                                                                       LAKE GENEVA       WI    53147‐1013
ONEAL, ROBERT M             64 EATON PL                                                                                         BEAR              DE    19701‐2371
ONEAL, RONALD F             2072 KENT DR                                                                                        LOS ALTOS         CA    94024‐7029
ONEAL, RUTH C               135 SOUTH CENTER ST RM 307B         ST MARYS LIFE CENTER                                            ORANGE            NJ    07050
ONEAL, RYAN
ONEAL, SAMMIE L             418 BIRCHLAWN BOULEVARD                                                                             MANSFIELD         OH    44907‐2768
ONEAL, SAMUEL               PO BOX 901                                                                                          SAGINAW           MI    48606‐0901
ONEAL, SANDRA LEE           10 DRIFTWOOD LN                                                                                     FRUITLAND PARK    FL    34731‐6328
ONEAL, SANDRA LEE           10 DRIFTWOOD LANE                                                                                   FRUITLAND PARK    FL    34731
ONEAL, SELENA               2203 FESTIVAL LANE                                                                                  MONTGOMERY        AL    36117‐1742
ONEAL, STANLEY W            1417 WHITE DAISY WAY                                                                                NORTH LAS VEGAS   NV    89081
ONEAL, STEVEN K             301 W 1ST AVE                                                                                       FRANKLIN          KY    42134‐8621
ONEAL, TERRY L              26285 INGRAM DR                                                                                     BROWNSTOWN        MI    48174‐5916
ONEAL, TERRY W              3925 FM 934                                                                                         ITASCA            TX    76055‐4905
ONEAL, TERRY WAYNE          3925 FM 934                                                                                         ITASCA            TX    76055‐4905
ONEAL, THOMAS R             12471 GATELY RD S                                                                                   JACKSONVILLE      FL    32225‐3950
ONEAL, TIM D                6280 MAPLE GROVE RD                                                                                 MARTINSVILLE      IN    46151‐9038
ONEAL, WILLIAM
ONEAL, WILLIAM L            3629 MAXTON RD                                                                                      DAYTON            OH    45414‐2433
ONEATER TAYLOR              2006 GILMARTIN ST                                                                                   FLINT             MI    48503‐4462
ONEBEACON INSURANCE GROUP   JOHN FERRARI                        ONE BEACON STREET                                               BOSTON            MA    02108
ONEDA COOKE                 9135 S LA SALLE ST                                                                                  CHICAGO           IL    60620‐1410
ONEDA J SANDUSKY            248 W KENNETT RD                                                                                    PONTIAC           MI    48340‐2654
ONEDA ORNDUFF               5599 MOUNT ZION RD                                                                                  EAST BERNSTADT    KY    40729
ONEDA SANDUSKY              248 W KENNETT RD                                                                                    PONTIAC           MI    48340‐2654
ONEDA SHELBY                1732 HOGAN DRIVE                                                                                    KOKOMO            IN    46902‐5078
ONEDRA ROBERTS              208 W 20TH ST                                                                                       WILMINGTON        DE    19802‐4022
ONEEDA BARKER               223 GREENBRIAR ST                                                                                   KOKOMO            IN    46901‐5034
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Name                                Address1                          Address2                      Address3   Address4         City            State Zip
ONEIDA BOSTON                       1737 INVERNESS AVE                                                                          BALTIMORE        MD 21222‐4835
ONEIDA CAUDLE                       600 W WALTON BLVD APT 306                                                                   PONTIAC          MI 48340‐3500
ONEIDA IMBERG                       702 MILBY DR                                                                                CHESAPEAKE       VA 23325‐5010
ONEIDA LAWHON                       2067 OAK DR                                                                                 ARNOLD           MO 63010‐2421
ONEIDA LENZ                         3320 CROMER AVE NW APT 109                                                                  CANTON           OH 44709‐2874
ONEIDA SERVICE CENTER               68 LENOX AVE                                                                                ONEIDA           NY 13421‐1700
ONEIDA TONY (ESTATE OF) (665261)    SAYRE SCOTT A LAW OFFICE OF       2003 WESTERN AVE STE 203                                  SEATTLE          WA 98121‐2162
ONEIDA TOOL CORP                    12700 INKSTER RD                                                                            REDFORD          MI 48239‐3003
ONEIDA, TONY                        SAYRE SCOTT A LAW OFFICE OF       2003 WESTERN AVE STE 203                                  SEATTLE          WA 98121‐2162
ONEIL DOLORES                       472 TREMAINE AVE                                                                            BUFFALO          NY 14217‐2538
ONEIL EDWARD PAUL (463705)          EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                   NEW YORK         NY 10017‐6530
ONEIL JACK P (ESTATE OF) (497235)   WELLBORN HOUSTON ADKISON MANN     PO BOX 1109                                               HENDERSON        TX 75653‐1109
                                    SADLER & HILL
ONEIL JOAN                          74641 PALO VERDE DR                                                                         INDIAN WELLS    CA   92210‐7317
ONEIL JOHN                          1 CONANT ST                                                                                 DANVERS         MA   01923‐2902
ONEIL MICHELLE                      ONEIL, MICHELLE                   12 HARDING STREET SUITE 110                               LAKEVILLE       MA   02347
ONEIL PARISH                        6326 SOUTHCREST DR                                                                          SHREVEPORT      LA   71119‐7244
ONEIL SCOTT                         6074 MARTINS POINT RD                                                                       KITTY HAWK      NC   27949‐3821
ONEIL SR, JOHN M                    106 ANCHOR CT                                                                               HOUGHTON LAKE   MI   48629‐9302
ONEIL WILEY                         1660 WOODBERRY DR                                                                           MOBILE          AL   36695‐6110
ONEIL, BILLIE L                     2076 DIAMOND AVE                                                                            FLINT           MI   48532‐4536
ONEIL, CHARLES A                    2124 W 2ND, APT 227C                                                                        MARION          IN   46952
ONEIL, DANIEL                       8492 CEDAR CREEK RD                                                                         FAYETTEVILLE    NC   28312‐7774
ONEIL, DANIEL                       PO BOX 531                                                                                  STEDMAN         NC   28391‐0531
ONEIL, EDWARD PAUL                  EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                   NEW YORK        NY   10017‐6530
ONEIL, FRANCINE                     101 MANDALAY DR                                                                             POUGHKEEPSIE    NY   12603‐2634
ONEIL, GARY H                       3057 BOY SCOUT RD                                                                           BAY CITY        MI   48706‐1210
ONEIL, GERRY L                      1027 HURON ST                                                                               FLINT           MI   48507‐2325
ONEIL, JACK P                       WELLBORN HOUSTON ADKISON MANN     PO BOX 1109                                               HENDERSON       TX   75653‐1109
                                    SADLER & HILL
ONEIL, KAREN DENISE                 COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                   HOUSTON         TX   77002‐1751
ONEIL, KATHLEEN MARIE               6922 S NANTUCKET ST                                                                         CHANDLER        AZ   85249‐4458
ONEIL, KENNETH D                    8512 BELLECHASSE DR                                                                         DAVISON         MI   48423‐2142
ONEIL, MABEL D                      1355 CHURCHILL HUBBARD RD         C/O WINSOR HOUSE LIBERTY                                  YOUNGSTOWN      OH   44505‐1346
                                                                      HEALTH CARE CENTER
ONEIL, MARGERY J                    300 W OAK ST                                                                                VASSAR          MI   48768‐1226
ONEIL, MARGERY J                    300 W OAK STREET                                                                            VASSAR          MI   48768‐1226
ONEIL, MARILYN M                    323 SELKIRK                                                                                 PALESTINE       TX   75803‐6819
ONEIL, MARILYN M                    323 SELKIRK AVE                                                                             PALESTINE       TX   75803‐6819
ONEIL, MICHAEL D                    5103 VILLAGE LANE CT                                                                        TRAVERSE CITY   MI   49684‐6916
ONEIL, NELSON H                     1611 4 GEORGES CT APT 4B                                                                    BALTIMORE       MD   21222‐1949
ONEIL, NIXON P                      2592 SODOM HUTCHINGS RD                                                                     FOWLER          OH   44418‐9729
ONEIL, RICHARD                      917 CLOVER ST                                                                               LAKE GENEVA     WI   53147‐1013
ONEIL, ROBERT J                     1934 PORTWAY RD                                                                             SPRING HILL     TN   37174‐9293
ONEIL, ROBERT J                     3163 BRIMSTEAD DR                                                                           FRANKLIN        TN   37064‐6233
ONEIL, STEPHEN M                    703 S DIVISION                                                                              OWOSSO          MI   48867
ONEIL, TIMOTHY J                    33321 GROTH DR                                                                              STERLING HTS    MI   48312‐6711
ONEIL, TIMOTHY JAY                  33321 GROTH DR                                                                              STERLING HTS    MI   48312‐6711
ONEIL, VIRGINIA                     1137 BURNT LEAF LN                                                                          GRAND BLANC     MI   48439‐4959
ONEIL, WAYNE A                      2834 ROBERT SKELLEY RD                                                                      COLUMBIA        TN   38401‐1455
ONEIL, WILLIAM L                    5286 N MCKINLEY RD                                                                          FLUSHING        MI   48433‐1126
ONEILL                              211 N 1ST ST                                                                                LEESBURG        FL   34748‐5150
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Name                       Address1                         Address2                          Address3                  Address4         City                  State Zip
ONEILL CHARLES             ONEILL, CHARLES                  8270 WOODLAND CENTER BLVD                                                    TAMPA                  FL 33614‐2401
ONEILL CHARLES             ONEILL, SUNJA                    KAHN & ASSOCIATES LLC             101 NE 3RD AVE STE 1500                    FT LAUDERDALE          FL 33301‐1181
ONEILL ISABLE              ONEILL, ISABLE                   92 S BROAD ST                                                                NORWICH                NY 13815‐1737
ONEILL ISABLE              ONEILL, PAUL                     92 S BROAD ST                                                                NORWICH                NY 13815‐1737
ONEILL JR, CHARLES T       3186 PORTSMOUTH AVENUE           UNIT A                                                                       CINCINNATI             OH 45208
ONEILL MARIBETH            APT 6                            1612 MORNINGSIDE DRIVE                                                       JANESVILLE             WI 53546‐1253
ONEILL MARY P              ONEILL, LIAM P                   120 N LASALLE STREET 31ST FLOOR                                              CHICAGO                 IL 60602

ONEILL MARY P              ONEILL, MARY P                   120 N LASALLE STREET 31ST FLOOR                                              CHICAGO                IL   60602

ONEILL SARAH               4775 FOX CHASE DRIVE                                                                                          WHITE LAKE            MI 48383‐1683
ONEILL THOMAS F (498297)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                  NORFOLK               VA 23510
                                                            STREET, SUITE 600
ONEILL WILLIAM W MD        66 LAKESHORE DR                                                                                               GROSSE POINTE FARMS   MI    48236
ONEILL, BEVERLY M          435 S ANAHEIM HILLS RD APT 141                                                                                ANAHEIM               CA    92807‐4232
ONEILL, CAROL A            409 SEQUOIA DR                                                                                                DAVISON               MI    48423‐1929
ONEILL, CAROL A            1331 CEDARWOOD DR                                                                                             MINERAL RIDGE         OH    44440‐9425
ONEILL, DANIEL J           14941 CARRINGTON RIDGE DR                                                                                     HUNTERSVILLE          NC    28078‐1223
ONEILL, DANIEL JAMES       14941 CARRINGTON RIDGE DR                                                                                     HUNTERSVILLE          NC    28078‐1223
ONEILL, DAVID J            2913 HORSE HILL EAST DR                                                                                       INDIANAPOLIS          IN    46214‐1539
ONEILL, DAVID R            5463 FAIRVIEW DR                                                                                              GRAND BLANC           MI    48439‐5151
ONEILL, DENNIS J           3269 WENDOVER DR                                                                                              TOLEDO                OH    43606‐1863
ONEILL, EDNA W             4116 MAHONING AVE NW                                                                                          WARREN                OH    44483‐1927
ONEILL, EDWINA L           5123 DOBBS DR                                                                                                 CENTERVILLE           OH    45440‐2254
ONEILL, FRANCIS E          9 LINCOLN AVE # B                                                                                             BATAVIA               NY    14020
ONEILL, FRANCIS J          2200 W 4TH ST APT 302            C/O CYNTHIA MILLER                                                           WILMINGTON            DE    19805‐3364
ONEILL, HATTIE A           5100 NEW KENT ROAD                                                                                            WILMINGTON            DE    19808‐2706
ONEILL, HELEN C            PO BOX 1354                                                                                                   MARSHALLS CRK         PA    18335‐1354
ONEILL, HIROAKI            4611 BREMER ST SW                                                                                             GRANDVILLE            MI    49418‐2239
ONEILL, ISABLE             200 OWENS RD                                                                                                  PLYMOUTH              NY    13832
ONEILL, ISABLE             CHAMBERLAIN LAW OFFICE LLC       92 S BROAD ST                                                                NORWICH               NY    13815‐1737
ONEILL, JOHN J             105 WOODSIDE DR                                                                                               SWANTON               OH    43558
ONEILL, JOHN P             5 CRUGERS STATION RD                                                                                          CROTON ON HUDSON      NY    10520‐1205
ONEILL, JOHN P             1090 GLENEAGLES                                                                                               HIGHLAND              MI    48357‐4781
ONEILL, JOHN R             2759 MILLVILLE RD                                                                                             LAPEER                MI    48446‐9052
ONEILL, JOSEPH W           4308 KERRYBROOK DR.                                                                                           YOUNGSTOWN            OH    44511‐1035
ONEILL, JUAN E             5 GRUGUER STATION ROAD                                                                                        CROTON ON HUDSON      NY    10520
ONEILL, KAREN              4801 E COUNTY ROAD 67 LOT 234                                                                                 ANDERSON              IN    46017‐9110
ONEILL, KENNETH W          12100‐5                                                                                                       DELTA                 OH    43515
ONEILL, LARRY D            2338 VALLEY VISTA DR                                                                                          DAVISON               MI    48423‐8336
ONEILL, MARGARET A         25 STOWELL RD                                                                                                 BEDFORD               NH    03110‐4714
ONEILL, MARIBETH           1612 MORNINGSIDE DR APT 6                                                                                     JANESVILLE            WI    53546‐1253
ONEILL, MARIBETH           APT 6                            1612 MORNINGSIDE DRIVE                                                       JANESVILLE            WI    53546‐1253
ONEILL, MARY               6352 WINDMILL LN                                                                                              GRANT PARK            IL    60940
ONEILL, MARY P             CLIFFORD LAW OFFICES PC          120 N LASALLE STREET 31ST FLOOR                                              CHICAGO               IL    60602

ONEILL, PATRICK N          6146 HIDDENBROOK DR                                                                                           TOLEDO                OH    43613‐1523
ONEILL, PATRICK N          5413 FORTUNE DR                                                                                               TOLEDO                OH    46311‐1517
ONEILL, PAUL               CHAMBERLAIN LAW OFFICE LLC       92 S BROAD ST                                                                NORWICH               NY    13815‐1737
ONEILL, PAUL P             230 W EUCLID AVE                                                                                              HADDONFIELD           NJ    08033‐2604
ONEILL, RANDALL M          1331 CEDARWOOD DR                                                                                             MINERAL RIDGE         OH    44440‐9425
ONEILL, RICHARD B          404 ASBURY LANE                                                                                               NILES                 OH    44446‐4446
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Name                              Address1                          Address2                      Address3                   Address4             City                State Zip
ONEILL, RICHARD B                 404 ASBURY LN                                                                                                   NILES                OH 44446‐2851
ONEILL, ROSE M                    8195 JOHNNYCAKE RIDGE RD                                                                                        MENTOR               OH 44060‐5939
ONEILL, SANDRA L                  103 LAKEWOOD DR                                                                                                 ADRIAN               MI 49221‐4611
ONEILL, STEVE A                   864 GOLDENROD DR                                                                                                HOUGHTON LAKE        MI 48629
ONEILL, SUSAN                     18878 N HIGHLITE DR                                                                                             CLINTON TWP          MI 48035‐2529
ONEILL, TERRY L                   6712 BLACKTHORN DR                                                                                              INDIANAPOLIS         IN 46221
ONEILL, THOMAS F                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK              VA 23510‐2212
                                                                    STREET, SUITE 600
ONEILL, THOMAS W                  21 RIVERS POINT ROW               APT 12 E                                                                      CHARLESTON          SC   29412‐3619
ONEILL, TIMOTHY D                 1767 BIG TRAIL RD                                                                                               COMMERCE TOWNSHIP   MI   48390‐2801
ONEILL, VIOLA V                   91 CEDAR COURT                                                                                                  QUEENSBURY          NY   12804‐8707
ONEILL, WILLIAM W                 1350 KING HOLLOW RD                                                                                             SHEPHERDSVILLE      KY   40165‐5849
ONEILL, WILLIE L                  805 DWIGHT ST                                                                                                   MANILA              AR   72442‐8081
ONEITA DUGAS                      C/O EAST LAWN ARMS APT BUILDING   1501 E 8TH ST BLDG 3                                                          JEFFERSONVILLE      IN   47130
ONEITA JONES                      PO BOX 1613                                                                                                     BUFFALO             NY   14215‐6613
ONEITA RICHARDSON                 309 CARVER DR # B                                                                                               FORT VALLEY         GA   31030‐4468
ONEITA WHITFIELD                  18435 LANCASHIRE ST                                                                                             DETROIT             MI   48223‐1324
ONEITTA YOUNG                     1168 MAPLEKREST DR                                                                                              FLINT               MI   48532‐2228
ONEK, SABRINA                     12081 WALNUT HILL DR                                                                                            ROCKVILLE           VA   23146‐1852
ONELA, PATHANA                    42239 SABLE BLVD                                                                                                STERLING HEIGHTS    MI   48314‐1996
ONELIA D CACERES                  7726 86TH DR NE                                                                                                 MARYSVILLE          WA   98270
ONELLA BATES                      762 E BUNDY AVE                                                                                                 FLINT               MI   48505‐2229
ONEOK, INC.                       KAREN O'GORMAN                    5848 E 15TH ST                                                                TULSA               OK   74112‐6402
ONESI, CHARLES T                  25705 LORETTA AVE                                                                                               WARREN              MI   48091‐5016
ONESI, DINO
ONESIFRUS MCKEE                   PO BOX 1233                                                                                                     SPRING HILL         TN   37174‐1233
ONESIMO TRUJILLO                  3245 W MEXICO AVE                                                                                               DENVER              CO   80219‐4657
ONESOURCE FACILITY SERVICES INC   1445 MARIETTA BLVD NW 122                                                                                       ATLANTA             GA   30318
ONESOURCE INC                     1600 PARKWAY CIRCLE STE 400                                                                                     ATLANTA             GA   30339
ONESOURCE PAINTING INC            429 W 53RD ST                                                                                                   NEW YORK            NY   10019‐5603
ONESTI, DONALD L                  2026 CHESTNUT HILL DR.                                                                                          YOUNGSTOWN          OH   44511‐1228
ONET FORTENBERRY                  14276 WISCONSIN ST                                                                                              DETROIT             MI   48238‐2364
ONET FORTENBERRY                  418 WARREN ST                                                                                                   FLINT               MI   48505‐4308
ONETA GROUNDS                     5 ARABIAN CT                                                                                                    MANSFIELD           TX   76063‐5162
ONETA KUECHER                     7460 GRAND AVE APT 106                                                                                          DOWNERS GROVE       IL   60516‐4169
ONETA MCFATRIDGE                  731 GLENWAY DR                                                                                                  LOGANSPORT          IN   46947‐3814
ONETA SYMONDS                     136 DAVIS LN                                                                                                    LA FOLLETTE         TN   37766‐3118
ONETTA BUSH                       ATTN: E TODD TRACY                THE TRACY FIRM                5473 BLAIR RD, SUITE 200                        DALLAS              TX   75231
ONETTA THOMPSON                   5701 SUSAN ST                                                                                                   FLINT               MI   48505‐2549
ONEX CORP                         DALDA ARRIOLA                     PGNO IND GALARZA S/N                                                          MARKLE              IN   46770
ONEX DEBT OPPORTUNITY FUND, LTD   C/O ONEX CREDIT PARTNERS, LLC     ATTN MICHAEL I GELBLAT        910 SYLVAN AVENUE SUITE                         ENGLEWOOD CLIFFS    NJ   07632
                                                                                                  100
ONEX INC                          2200 COLONIAL AVE                 PO BOX 8436                                                                   ERIE                PA 16506‐1825
ONEX INC                          PO BOX 8436                                                                                                     ERIE                PA 16505‐0436
ONEX PARTNERS ADVISOR GP          161 BAY ST                                                                                 TORONTO ON M5J 2S1
                                                                                                                             CANADA
ONEX PARTNERS ADVISOR LP          161 BAY ST                        SUITE 4900                                               TORONTO ON M5J 2S1
                                                                                                                             CANADA
ONEXIA INC                        1220 AMERICAN BLVD                                                                                              WEST CHESTER        PA 19380‐3444
ONEY FLEMING                      14512 BRIARCLIFF DR                                                                                             OKLAHOMA CITY       OK 73170‐7210
ONEY FLOYD (ESTATE OF) (502789)   DODD RICHARD A LC                 312 S HOUSTON AVE                                                             CAMERON             TX 76520‐3935
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ONEY FLOYD (ESTATE OF) (502789) ‐ NEW   DODD RICHARD A LC               312 S HOUSTON AVE                                            CAMERON             TX 76520‐3935
VICKI
ONEY FLOYD (ESTATE OF) (502789) ‐       DODD RICHARD A LC               312 S HOUSTON AVE                                            CAMERON             TX   76520‐3935
SVRCEK JANET
ONEY STEPHANIE                          ONEY, STEPHANIE                 3 SUMMIT PARK DR STE 100                                     INDEPENDENCE       OH    44131‐2598
ONEY, ANDREW H                          8795 FARMERSVILLE W CARROL RD                                                                GERMANTOWN         OH    45327‐9504
ONEY, BERNARD L                         38170 STONEY LAKE DRIVE                                                                      N RIDGEVILLE       OH    44039‐1197
ONEY, DANNY J                           2170 SPRINGMILL RD                                                                           KETTERING          OH    45440‐2854
ONEY, DAVID L                           2590 BUSHNELL CAMPBELL RD                                                                    FOWLER             OH    44418‐9788
ONEY, DOLORES D                         2800 BUSHNELL CAMPBELL RD                                                                    FOWLER             OH    44418‐9728
ONEY, ELIZABETH                         8510 ROCKRIDGE RD.                                                                           LEWISBURG          OH    45338‐9567
ONEY, ELIZABETH J                       3055 BURRIS RD                  #279                                                         DAVIE              FL    33314
ONEY, FLOYD                             DODD RICHARD A LC               312 S HOUSTON AVE                                            CAMERON            TX    76520‐3935
ONEY, GARY L                            PO BOX 1                                                                                     COLLINS            OH    44826‐0001
ONEY, HENRY E                           BOX 2503 113 EAST                                                                            MILAN              OH    44846
ONEY, JAMES E                           284 WINCHESTER ST.                                                                           NEW CARLISLE       OH    45344‐3028
ONEY, JOHNNIE B                         1009 FRANCIS AVE                                                                             BALTIMORE          MD    21227‐4202
ONEY, JUANITA T                         5540 ALERT NEW LONDON RD                                                                     HAMILTON           OH    45013‐9248
ONEY, LARRY                             7172 BIGGER LANE                                                                             CENTERVILLE        OH    45459‐4908
ONEY, LARRY                             7172 BIGGER LN                                                                               CENTERVILLE        OH    45459‐4908
ONEY, MELINDA C                         14880 WYSTERIA TRL                                                                           ORE CITY           TX    75683
ONEY, PAUL D                            2612 ST RT #430                                                                              MANSFIELD          OH    44903
ONEY, RAYMOND H                         7882 CELESTIAL CIR                                                                           LIBERTY TOWNSHIP   OH    45044‐8211
ONEY, ROBERT L                          PO BOX 22                                                                                    COLLINS            OH    44826‐0022
ONFREIGHT LOGISITICS                    DIV 1266192 ONTARIO LIMITED     302 PATILLO ROAD RR # 1                TECUMSEH CANADA ON
                                                                                                               N8N 2L9 CANADA
ONFREIGHT LOGISTICS                     JEFF LEFRANCOIS                 302 PATILLO ROAD                       TECUMSEH ON N8N 2L9
                                                                                                               CANADA
ONG SANTOS MICHAEL VINCENT              26821 SAINT ANDREWS LANE                                                                     VALLEY CENTER      CA    92082‐6659
ONG, CATHERINE                          22151 W RIVER RD                                                                             GROSSE ILE         MI    48138‐3117
ONG, DAVID H                            1903 FLEETWOOD DR                                                                            TROY               MI    48098‐2556
ONG, DAVID HOW‐RANG                     1903 FLEETWOOD DR                                                                            TROY               MI    48098‐2556
ONG, HOWIE                              PO BOX 9022                                                                                  WARREN             MI    48090‐9022
ONG, KOJAN L                            14551 BRACKNEY LN                                                                            CARMEL             IN    46032
ONG, KOON L
ONG, PAUL CHIAU                         24180 WESTMONT DR                                                                            NOVI               MI    48374‐3660
ONG, STANLEY                            38775 JONQUIL DR                                                                             NEWARK             CA    94560‐4942
ONGENA, MICHAEL T                       1307 COUNTRY LN                                                                              DEWITT             MI    48820‐9262
ONGENA, ROBERT E                        1767 PUG RD                                                                                  SAINT CLAIR        MI    48079‐3579
ONGIE, RICK K                           4065 ALETHA LN                                                                               PORT HURON         MI    48060‐1769
ONGIE, RICK K.                          4065 ALETHA LN                                                                               PORT HURON         MI    48060‐1769
ONGKOBUDIDJOJO, ROBERT                  UNIT B                          1669 AUTUMN AVENUE                                           SCHAUMBURG         IL    60193‐6365
ONGMAN, KENNETH A                       513 SUMMER                                                                                   COLLINSVILLE       IL    62234
ONGOY, TIMMY A                          4115 FARMSIDE RD                                                                             BALTIMORE          MD    21236‐1673
ONIA LAWSON                             6753 N COUNTY RD 800 W                                                                       FARMLAND           IN    47340
ONIA TALTON                             192 COUNTY ROAD 85                                                                           HOUSTON            MS    38851‐9101
ONIAS COUTINHO                          125 BRONX RIVER ROAD APT 4 F                                                                 YONKERS            NY    10704
ONICA, LISA J                           40278 LADENE LN                                                                              NOVI               MI    48375‐5324
ONIE DIPPER                             THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                    HOUSTON            TX    77017
ONIE HINDS                              1271 N YORK HWY                                                                              JAMESTOWN          TN    38556‐6195
ONIE SCHEUERMAN                         5149 RICH VALLEY RD                                                                          BRISTOL            VA    24202‐2121
ONIE SMITH                              9933 ARBOR MONTGOMERY LANE                                                                   CINCINNATI         OH    45249‐8015
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Name                           Address1                              Address2                      Address3   Address4              City              State Zip
ONIE WILLIAMS                  31 W GOLDEN GATE                                                                                     DETROIT            MI 48203‐1955
ONIEDA CHARTER TOWNSHIP        11968 SWEETWATER DR.                                                                                 GRAND LEDGE        MI 48837
ONIEL PATTY                    ONIEL, PATTY                          839 NORTH PINEWOOD                                             CIRCLE PRICE       UT
ONIEL, PATTY                   ONIEL, PATTY (PATTI)                  839 PINEWOOD CIR                                               PRICE              UT 84501‐2016
ONIEL, PATTY                   839 PINEWOOD CIR                                                                                     PRICE              UT 84501
ONIGA, LOUIS B                 48876 LANSDOWNE CT                                                                                   SHELBY TOWNSHIP    MI 48317‐2528
ONIGKEIT, FRIDA A              5508 ROY RD                                                                                          HIGHLAND HTS       OH 44143‐3031
ONIGKEIT, MARIAN E             5508 ROY RD                                                                                          HIGHLAND HTS       OH 44143‐3031
ONIGKEIT, MARY E               25900 EUCLID AVE APT 713                                                                             EUCLID             OH 44132‐2741
ONIGKEIT, MARY E               25900 EUCLID AVE.                     APT.713                                                        EUCLID             OH 44132‐2741
ONIKA CELESTINE                18811 BUNGALOW DR                                                                                    LATHRUP VILLAGE    MI 48076‐3384
ONINKU, JONAS A                324 SPRINGBROOK BLVD                                                                                 DAYTON             OH 45405
ONIONES, LORI R                RR 2 BOX 217D                                                                                        ANDERSON           IN 46012
ONIONS, THOMAS C
ONIOUS MATTHEWS JR             3412 FULTON ST                                                                                       SAGINAW           MI    48601‐3116
ONISCH, JAY H                  3033A N BARTLETT AVE                                                                                 MILWAUKEE         WI    53211‐3215
ONISCHUK, JOSEPH               1109 SE 5TH CT                                                                                       DEERFIELD BEACH   FL    33441‐5919
ONISKO, FRANK                  8900 COUNTY ROAD 14                                                                                  WAUSEON           OH    43567‐9144
ONITA BRASS                    1061 LANTANA RD                                                                                      CROSSVILLE        TN    38555‐4962
ONITA GROOMS                   6270 AVA COURT DR                                                                                    FORT WORTH        TX    76112‐8043
ONITA L TURNER                 1311 DONAL DR                                                                                        FLINT             MI    48532‐2638
ONITA TURNER                   1311 DONAL DR                                                                                        FLINT             MI    48532‐2638
ONKAR AMBIYE                   15255 N FRNK L WRIGHT BLVD APT 1020                                                                  SCOTTSDALE        AZ    85260‐2803

ONKEN GREG                     6091 N STATE ROAD 39                                                                                 MONTICELLO         IN   47960‐7210
ONKEN, CAROL H                 771 N COUNTY ROAD 250 E                                                                              BROWNSTOWN         IN   47220‐9674
ONKEN, LANCE O                 771 N COUNTY ROAD 250 E                                                                              BROWNSTOWN         IN   47220‐9674
ONKEN, LEON E                  320 ACRE AVE                                                                                         BROWNSBURG         IN   46112‐1318
ONKES, CATHY D                 PO BOX 619                                                                                           FISHERS            IN   46038‐0619
ONKES, LARRY A                 PO BOX 6941                                                                                          KOKOMO             IN   46904‐6941
ONKES, RUBY L                  1619 WARHAWK RD                                                                                      PERU               IN   46970‐8737
ONKEY, DOROTHY M               2532 SOUTHERN CT                                                                                     MELBOURNE          FL   32901‐6813
ONKS, DONALD W                 976 BREEZY WOODS DR                                                                                  RUSSIAVILLE        IN   46979‐9447
ONKS, JANE M                   976 BREEZY WOODS DR                                                                                  RUSSIAVILLE        IN   46979‐9447
ONKSEN, MARTHA E               223 SOMERVILLE RD                                                                                    ANDERSON           IN   46011‐1680
ONKYO CORP                     2‐1 NISSHINCHO                                                                 NEYAGAWA OSAKA 572‐
                                                                                                              8540 JAPAN
ONLEY MAY BETZOLD              3268 1/2 OLD KAWKAWLIN RD                                                                            BAY CITY          MI 48706‐1653
ONLEY WILLIAM JAMES (429562)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                    NORFOLK           VA 23510
                                                                     STREET, SUITE 600
ONLEY, WILLIAM JAMES           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                    NORFOLK           VA 23510‐2212
                                                                     STREET, SUITE 600
ONLINE 1168
ONLINE 3V0057 GRIT 92095
ONLINE 3V0987
ONLINE D80006 GRIT 92001
ONLINE D80013 GRIT 89637
ONLINE D80016
ONLINE DEVELOPMENT INC         7209 CHAPMAN HIGHWAY                                                                                 KNOXVILLE         TN    37920
ONLINE DYNAMICS INC            1605 HONFLEUR DR                                                                                     SUNNYVALE         CA    94087‐5207
ONLINE FREIGHT SERVICES INC    2275 WATERS DR                                                                                       SAINT PAUL        MN    55120‐1363
ONLINE RESOURCES               JEANETTE MEADOWS‐COLLECTIONS          4795 MEADOW WOOD LN STE 300                                    CHANTILLY         VA    20151‐4209
                                   09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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Name                               Address1                         Address2                        Address3                Address4               City              State Zip
ONLINE TRANSPORT DEDICATED         6311 W STONER DR                                                                                                GREENFIELD         IN 46140‐7413
ONLINE TRANSPORT INC               TERRY MARTIN                     6311 STONER DRIVER                                                             GREENFIELD         IN 46140
ONMEDIA                            7290 N LAKE DR STE 508                                                                                          COLUMBUS           GA 31909‐2791
ONMEDIA                            1661 WHITTLESEY RD SUITE 508                                                                                    COLUMBUS           GA 31904
ONNEN, MYRA K                      1280 SCHAAP DR                                                                                                  WORTHINGTON        MN 56187‐1364
ONNIE COOPER                       450 LITTLE CREEK RD                                                                                             LAWRENCEVILLE      GA 30045‐2218
ONNIE GRINER                       7855 THORNAPPLE CLUB DR SE                                                                                      ADA                MI 49301‐9402
ONNIE HALL                         2235 PRAIRIE AVE                                                                                                BELOIT             WI 53511‐2621
ONNIE JACKSON                      1957 KATHY DR                                                                                                   FAIRBORN           OH 45324‐2513
ONNIE NIMMO                        99 S CO RD ‐ 450 E                                                                                              KOKOMO             IN 46902
ONNIE POMICTER                     7430 EVERGREEN AVE                                                                                              DETROIT            MI 48228‐3269
ONNIE SMITH                        6732 RAYMOND AVE                                                                                                SAINT LOUIS        MO 63133‐1448
ONNIE T STEVENS                    PO BOX 59063                                                                                                    JACKSON            MS 39284
ONNIS ILARIA ONNIS DAVIDE          5042646                          PIAZZA SAN GIOVANNI 6                                   8029 SINISCOLA ITALY
ONNO VAN EIKEMA HOMMES             6953 MERRICK CT                                                                                                 WEST BLOOMFIELD   MI   48322‐3088
ONNOLEE MOSES                      125 E PERRY AVE APT 16                                                                                          SILVER SPRINGS    NY   14550‐9606
ONO SOKKI/TROY                     C/O SATULLO ASSOCITES, INC.      1219 SOUTER                                                                    TROY              MI   48083
ONODY, GARY L                      3505 MILLWATER XING                                                                                             DACULA            GA   30019
ONOFRAY, MICHAEL J                 25239 PALOMINO AVE                                                                                              WARREN            MI   48089‐1341
ONOFRE HILL                        1606 WALDMAN AVE                                                                                                FLINT             MI   48507‐1509
ONOFREY, JOSEPH A                  2028 WATERBURY RD                                                                                               LAKEWOOD          OH   44107‐6213
ONOFREY, MICHAEL R                 7037 W JEFFERSON DR                                                                                             MENTOR            OH   44060‐4835
ONOFRI AGOSTINO                    LA SCALA                         STUDIO LEGALE E TRIBUTARIO      CORSO MAGENTA N 42      20123 MILANO ITALY
ONOFRI FRANCESCA                   LA SCALA                         STUDIO LEGALE E TRIBUTARIO      CORSO MAGENTA N 42      20123 MILANO ITALY
ONOFRI, GLORIA A                   PO BOX 896                                                                                                      BULLHEAD CITY     AZ 86430‐0896
ONOFRICIUK, VICTOR                 20501 CORTINA ST                                                                                                CLINTON TWP       MI 48035‐2612
ONOFRIO DANIEL (429563)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA 23510
                                                                    STREET, SUITE 600
ONOFRIO LOUIS (429564)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA 23510
                                                                    STREET, SUITE 600
ONOFRIO TARGIA                     69 CONSTITUTION AVE                                                                                             WEST SENECA       NY 14224‐3722
ONOFRIO, DANIEL                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA 23510‐2212
                                                                    STREET, SUITE 600
ONOFRIO, LOUIS                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA 23510‐2212
                                                                    STREET, SUITE 600
ONOFRY JOHN (491264)               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                  NORTHFIELD        OH 44067
                                                                    PROFESSIONAL BLDG
ONOLDA CAUDILL                    3162 REBERT PIKE                  R. R. = 1                                                                      SPRINGFIELD       OH 45502‐9737
ONONDAGA COMMUNITY COLLEGE OFFICE 4941 ONONDAGA RD                                                                                                 SYRACUSE          NY 13215‐2001
OF THE BURSAR
ONONDAGA COUNTY NEW YORK          LUIS MENDEZ SR DEPUTY COUNTY      JOHN H MULROY CIVIC CENTER 10TH 421 MONTGOMERY STREET                          SYRACUSE          NY 13202
                                  ATTORNEY                          FLOOR
ONONDAGA COUNTY SCU FAMILY SUPORT 600 S STATE ST FL 5               E WILLIAMS #AC45207G1                                                          SYRACUSE          NY 13202‐3097
FOR THE ACCOUNT OF WILLIAM

ONONDAGA COUNTY WATER AUTHORITY    1240 WOLF STREET                                                                                                SALINA            NY

ONONDAGA COUNTY WATER AUTHORITY    200 NORTHERN CONCOURSE           P.O. BOX 9                                                                     SYRACUSE          NY 13212‐4048

ONONDAGA COUNTY, NEW YORK .        LUIS MENDEZ, SR. DEPUTY COUNTY   JOHN H. MULROY CIVIC CENTER,    421 MONTGOMERY STREET                          SYRACUSE          NY 13202
                                   ATTORNEY                         10TH FLOOR
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Name                                 Address1                             Address2                         Address3                  Address4                 City             State Zip
ONONDAGA COUNTY, NEW YORK .          COUNTY OF ONONDAGA                   JOHN H. MULROY CIVIC CENTER,     421 MONTGOMERY STREET     ATTN: LUIS MENDEZ, SR.   SYRACUSE          NY 13202
                                                                          10TH FLOOR                                                 DEPT.COUNTY ATTOR
ONONDAGA CTY SHERIFFS DEPT           ACCT OF BERNARD TURZYNSKI            PO BOX 5020                                                                         SYRACUSE         NY   13220
ONOPA JR, JOE                        7585 DUDLEY ST                                                                                                           TAYLOR           MI   48180‐2587
ONORATI, ANDREW A                    23 BRECHT RD                                                                                                             HAMILTON         NJ   08690‐3212
ONORATI, ANTHONY J                   30 TASLEY CT                                                                                                             ROBBINSVILLE     NJ   08691‐3054
ONORATI, ANTHONY J                   FOXMOOR 30 TASLEY CT                                                                                                     ROBINSVILLE      NJ   08691
ONORATI, ARMANDO F                   34 PIZZULLO RD                                                                                                           HAMILTON         NJ   08690‐3207
ONORATI, DOMINICK                    17 IRVING CT                                                                                                             TRENTON          NJ   08610‐5861
ONORATI, EDWARD                      508 LOUISIANA TRL                                                                                                        BROWNS MILLS     NJ   08015‐5541
ONORATI, RONALD C                    126 ASHMORE AVE                                                                                                          TRENTON          NJ   08611‐1110
ONORATO, ANGELO A                    4300 CARDWELL AVE APT 307                                                                                                BALTIMORE        MD   21236‐4019
ONORATO, LEROY D                     29 PROSPECT STREET EXT                                                                                                   TERRYVILLE       CT   06786
ONORATO, LORRAINE R                  505 CHARMUTH CT                                                                                                          JOPPA            MD   21095‐4302
ONORATO, LORRAINE R                  598 RILEY CT APT B                                                                                                       JOPPA            MD   21085‐4674
ONORATO, MARYANNE                    45 ELBOW LN                                                                                                              LEVITTOWN        NY   11756‐5501
ONORE, CAROL A                       9355 PARKVIEW CIR                                                                                                        GRAND BLANC      MI   48439‐8059
ONORE, MARY R                        741 VICTORIA AVENUE                                                                                                      FLINT            MI   48507‐1732
ONORE, TIMOTHY J                     741 VICTORIA AVE                                                                                                         FLINT            MI   48507‐1732
ONORE, TIMOTHY JOHN                  741 VICTORIA AVE                                                                                                         FLINT            MI   48507‐1732
ONORI, FRANCES                       1528 CHEROKEE TRACE                                                                                                      TOOL             TX   75143‐1568
ONORIFIO VALENTI                     1215 MARC AVE                                                                                                            CLAWSON          MI   48017‐1264
ONORIO CATENACCI                     16782 PENN DR                                                                                                            LIVONIA          MI   48154‐1008
ONORITA PALLANTI                     39529 ROWAN CT                                                                                                           PALMDALE         CA   93551‐4071
ONQUE, EDWARD R                      239 THROWBRIDGE DR                                                                                                       SCOTCH PLAINS    NJ   07076‐2066
ONSBY CANTRELL                       7542 S 250 E                                                                                                             MARKLEVILLE      IN   46056‐9772
ONSGARD, JACK L                      1600 MAYFAIR DRIVE                                                                                                       JANESVILLE       WI   53545‐1054
ONSGARD, JERE L                      8962 COUNTY RD N                                                                                                         ALMOND           WI   54909‐9734
ONSGARD, MABEL A                     304 W BRODHEAD STREET                                                                                                    ORFORDVILLE      WI   53576‐9797
ONSGARD, MARK A                      485 N PEARL ST                                                                                                           JANESVILLE       WI   53548‐3558
ONSGARD, RENETTE L.                  3049 S TOLLEFSON RD                                                                                                      ORFORDVILLE      WI   53576‐9750
ONSITE ENERGY CORPORATION            701 PALOMAR AIRPORT RD               SUITE 200                                                                           CARLSBAD         CA   92009
ONSITE ENERGY CORPORATION            ATTN: CORPORATE OFFICER/AUTHORIZED   701 PALOMAR AIRPORT RD STE 200                                                      CARLSBAD         CA   92011‐1027
                                     AGENT
ONSLOW COUNTY TAX STAFF              PO BOX 580329                                                                                                            CHARLOTTE        NC 28258‐0329
ONSRUD‐RILEY, KAREN A                4310 HEARTHSTONE DR                                                                                                      JANESVILLE       WI 53546
ONSTAR
ONSTAR                               6 SYLVAN WAY                                                                                                             PARSIPPANY       NJ   07054
ONSTAR                               JAMES DEDON                          119 BATES TRL                                                                       WEST GREENWICH   RI   02817‐2555
ONSTAR                               400 RENAISSANCE CTR                                                                                                      DETROIT          MI   48265‐4000
ONSTAR                               GLENN UDALL                          225 BRAE BLVD                                                                       PARK RIDGE       NJ   07656‐1870
ONSTAR                               NOT AVAILABLE
ONSTAR ADT MDL LITIGATION            NO ADVERSE PARTY
ONSTAR CORP,
ONSTAR CORPORATION                   LEGAL DEPARTMENT                     SUITE 2300, P.O. BOX 222         CANADA TRUST TOWER, BCE   TORONTO ON M5J 2S1
                                                                                                           PLACE 161 BAY STREET      CANADA
ONSTAR CORPORATION                   ATTN: PRESIDENT & CEO                1500 ECKINGTON PL NE                                                                WASHINGTON       DC   20002‐2128
ONSTAR CORPORATION                   ATTN: GENERAL COUNSEL                400 RENAISSANCE CTR                                                                 DETROIT          MI   48265‐4000
ONSTAR CORPORATION                   400 RENAISSANCE CTR                                                                                                      DETROIT          MI   48265‐4000
ONSTAR CORPORATION                   GENERAL COUNSEL                      400 RENAISSANCE CTR                                                                 DETROIT          MI   48265‐4000
ONSTAR GLOBAL SERVICES CORPORATION   INTERCOMPANY
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Name                               Address1                       Address2                         Address3   Address4                 City         State Zip
ONSTAR SUBSCRIPTION CENTER         PO BOX 77000                                                                                        DETROIT       MI 48277‐2000
ONSTAR TEST                        NO ADVERSE PARTY
ONSTAR V ALPERT                    ALPERT, MARTIN                 1301 E 9TH ST STE 2200                                               CLEVELAND    OH 44114‐1850
ONSTAR V ALPERT                    ALPERT, MARTIN                 THE BRADLEY BUILDING 1220 WEST                                       CLEVELAND    OH 44113
                                                                  6TH STREET SUITE 600
ONSTAR V ALPERT                    MICRAL INC                     1301 E 9TH ST STE 2200                                               CLEVELAND    OH 44114‐1850
ONSTAR V ALPERT                    MICRAL INC                     THE BRADLEY BUILDING 1220 WEST                                       CLEVELAND    OH 44113
                                                                  6TH STREET SUITE 600
ONSTAR, LLC                        INTERCOMPANY
ONSTOTT, DAROLD L                  200 SUNSET PT                                                                                       CADILLAC     MI   49601‐9376
ONSTOTT, LARRY R                   PO BOX 66                                                                                           EDGEMONT     AR   72044‐0066
ONSTOTT, RALPH E                   10079 BERRIDGE RD                                                                                   GREENVILLE   MI   48838‐8712
ONSTOTT, ROBERT E                  8408 PINEWOOD DR                                                                                    FOLEY        AL   36535‐9000
ONSTOTT, SHIRLEY ANN               4197 LARK LN                                                                                        FLINT        MI   48506‐1708
ONSTOTT, WAYNE L                   10380 ROGER ST                                                                                      PORTAGE      MI   49002‐7147
ONSULTA/BUFFALO                    282 DELAWARE AVENUE                                                                                 BUFFALO      NY   14202
ONSUREZ SILVIA                     ONSUREZ, SILVIA                P.O. BOX 452                                                         LOVING       NM   88256
ONSUREZ, SILVIA                    PO BOX 452                                                                                          LOVING       NM   88256‐0452
ONTARIO (VILLAGE OF)               3375 MILLIGAN RD                                                                                    MANSFIELD    OH   44906‐1016
ONTARIO 4TH OF JULY COMMITTEE      PO BOX 11                                                                                           ONTARIO      OH   44862‐0011
ONTARIO AUTO REPAIR                3535 HAWKESTONE RD                                                         MISSISSAUGA ON L5C 2V1
                                                                                                              CANADA
ONTARIO BATTERY SERVICES CO LT     304 CARLINGVIEW DR                                                         ETOBICOKE ON M9W 5G2
                                                                                                              CANADA
ONTARIO BATTERY SERVICES CO LTD    304 CARLINGVIEW DR                                                         ETOBICOKE CANADA ON
                                                                                                              M9W 5G2 CANADA
ONTARIO CAMARO CLUB                PO BOX 324                                                                 WEST HILL ON M1E 4R8
                                                                                                              CANADA
ONTARIO CIVIL SERVICE CREDIT UNION 18 GRENVILLE ST.               SUITE 1                                     TORONTO ON M4Y 3B3
LTD.                                                                                                          CANADA
ONTARIO CONVENTION CENTER          2000 E CONVENTION CENTER WAY                                                                        ONTARIO      CA 91764‐5633
ONTARIO COUNTY VEHICLE MAINTENANCE                                3059 COUNTY COMPLEX DR                                                            NY 14424
DEPT.
ONTARIO COURT (PROV. DIV.)         605 ROSSLAND RD., E.                                                       WHITBY ON L1N 9G7
                                                                                                              CANADA
ONTARIO COURT OF JUSTICE           200 CHATHAM ST E               LEVEL 1                                     WINDSOR ON N9A 2W3
                                                                                                              CANADA
ONTARIO COURT OF JUSTICE FAMILY    100 ST PATRICK ST                                                          STRATFORD ON N5A 7W1                  CA
COURT                                                                                                         CANADA
ONTARIO COURT PROV DIV             440 KENT ST., N.                                                           LINDSAT ON K9V 6G8
                                                                                                              CANADA
ONTARIO DATA SUPPLIES LIMITED      1915 CLEMENTS RD                                                           PICKERING ON L1W 3V1
                                                                                                              CANADA
ONTARIO DATA SUPPLIES LTD
ONTARIO DELIVERY DISPATCH LTD      PO BOX 22052                                                               BRANTFORD ON N3S 7V1
                                                                                                              CANADA
ONTARIO DIE CO LTD                 PO BOX 70                                                                  WATERLOO CANADA ON
                                                                                                              N2J 3Z6 CANADA
ONTARIO DIE/WATERLOO               119 ROGER STREET               BOX 70                                      WATERLOO ON N2J 3Z6
                                                                                                              CANADA
ONTARIO GLOVE MFG CO LTD           500 DOTZERT COURT                                                          WATERLOO CANADA ON
                                                                                                              N2L 6A7 CANADA
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Name                                 Address1                             Address2                   Address3                Address4                 City        State Zip
ONTARIO GLOVE MFG. CO. LTD.
ONTARIO GROWTH ASSOCIATION           PO BOX 211                                                                                                       ONTARIO     OH 44862‐0211
ONTARIO HYDRO                        PROPERTY DIVISION                    200‐700 UNIVERSITY AVE                             TORONTO ON M5G 1X6
                                                                                                                             CANADA
ONTARIO LIBERAL FUND                 243 COLLEGE ST                                                                          TORONTO ON M5T 1R5
                                                                                                                             CANADA
ONTARIO LIONS CLUB                   PO BOX 103                                                                                                       ONTARIO     OH 44862‐0103
ONTARIO MINISTER OF FINANCE          500‐7 QUEEN'S PARK CRES              7 QUEEN'S PARK CRES                                TORONTO ON M7A 1Y7
                                                                                                                             CANADA
ONTARIO MINISTRY OF THE ENVIRONMENT 40 ST CLAIR AVE W                     12TH FLOOR                                         TORONTO ON M4V 1M2
                                                                                                                             CANADA
ONTARIO MUNICIPAL INCOME TAX         555 STUMBO RD                                                                                                    MANSFIELD   OH 44906‐1259
ONTARIO NURSES ASSOCIATION           SUITE 600                                                                               TORONTO ON M5S 3A2
                                                                                                                             CANADA
ONTARIO NURSES' ASSOCIATION          MR. S. LOBSINGER, LABOUR REALTIONS   85 GRENVILLE ST                                    TORONTO ON M5S 3A2
                                     OFFICER                                                                                 CANADA
ONTARIO OHIO EXPRESS LTD             5920 DIXIE RD                                                                           MISSISSAUGA CANADA ON
                                                                                                                             L4W 1X8 CANADA
ONTARIO POLICE DEPARTMENT            555 STUMBO RD                                                                                                    MANSFIELD   OH 44906‐1259
ONTARIO POWER GENERATION INC.        200‐700 UNIVERSITY AVE                                                                  TORONTO ON M5G 1X6
                                                                                                                             CANADA
ONTARIO RETAILERS MKTG ASSOC         SYRETT ASSOCIATES                    264 RYERSON CRES                                   OSHAWA CANADA ON L1G
                                                                                                                             8B7 CANADA
ONTARIO SECURTIES COMMISSIONS        20 QUEEN STREET WAY WEST             19TH FLOOR                                         TORONTO CANADA ON
                                                                                                                             M5H 3S8 CANADA
ONTARIO STONE CORP                   1246 RIVER RD                                                                                                    CLEVELAND   OH 44113‐1119
ONTARIO TRANPORTATION SYSTEM         167 APPLEWOOD CRESCENT UNIT 6                                                           CONCORD ON L4K 4K7
                                                                                                                             CANADA
ONTARIO UNION OF STATIONARY          MR. M. HILL, CHAIRMAN BARGAINING     105‐2065 DUNDAS ST E                               MISSISSAUGA ON L4X 2W1
ENGINEERS                            COMMITTEE                                                                               CANADA
ONTARIO UNION OF STATIONARY          105‐2065 DUNDAS ST E                                                                    MISSISSAUGA ON L4X 2W1
ENGINEERS                                                                                                                    CANADA
ONTARIO UNION OF STATIONARY          1288 RITSON RD N APP 8               SUITE 119                                          OSHAWA ON L1G 8B2
ENGINEERS                                                                                                                    CANADA
ONTARIO WATER WORKS ASSOCIATION      1092 ISLINGTON AVE.                  SUITE 200                                          TORONTO ON M8Z 4R9
                                                                                                                             CANADA
ONTARIO YOUTH SPORTS INC             PO BOX 125                                                                                                       ONTARIO     OH 44862‐0125
ONTARIO, OHIO LOCAL BOARD OF         457 SHELBY ONTARIO RD                                                                                            MANSFIELD   OH 44906‐1029
EDUCATION &
ONTEGRA ‐ETOBICOKE                   985 MARTIN GROVE RD                                                                     ETOBICOKE CANADA ON
                                                                                                                             M9W 4V6 CANADA
ONTEGRA‐BRIGHTON                     ERICA COMISKEY                       100 BRIGHTON INTERIOR DR   INTIER AUTOMOTIVE                                BRIGHTON     MI 48116‐7469
ONTEGRA‐BRIGHTON                     ERICA COMISKEY                       INTIER AUTOMOTIVE          100 BRIGHTON INTERIOR                            SOMERSET     KY 42503
                                                                                                     DRIVE
ONTIME EXPEDITED SERVICES INC        608 COLBY DR                                                                            WATERLOO CANADA ON
                                                                                                                             N2V 1A2 CANADA
ONTIVEROS FELIX                      712 S WHEELING AVE                                                                                               TULSA        OK 74104‐3216
ONTIVEROS, AARON                     602 LOBO LOOP                                                                                                    LAREDO       TX 78045‐8701
ONTIVEROS, CRISTINA D                PO BOX 7063                                                                                                      OXNARD       CA 93031‐7063
ONTIVEROS, EDWARD A
ONTIVEROS, MANUELA                   1605 N. CAROLINA                                                                                                 SAGINAW      MI 48602‐3928
ONTIVEROS, MANUELA                   1605 N CAROLINA ST                                                                                               SAGINAW      MI 48602‐3928
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Name                              Address1                           Address2                 Address3    Address4                 City                 State Zip
ONTIVEROS, MARTIN                 1550 RIDGE COURT LN                                                                              CHAPEL HILL           TN 37034‐2088
ONTIVEROS, ROBERT F               2148 W KRISTINA AVE                                                                              QUEEN CREEK           AZ 85142‐6708
ONTIVEROZ, JULIAN                 PO BOX 1003                                                                                      ORLAND                CA 95963‐1003
ONTIVEROZ, ROSA C                 # 215                              3161 DAVENPORT AVENUE                                         SAGINAW               MI 48602‐3413
ONTIVEROZ, ROSA C                 3161 DAVENPORT AVE #215                                                                          SAGINAW               MI 48602‐3413
ONTKO, ALOYSIUS J                 2090 S TECUMSEH BLVD                                                                             MARBLEHEAD            OH 43440‐2467
ONTKO, DENNIS P                   412 SPRING CREST DR                                                                              MARBLEHEAD            OH 43440‐9661
ONTKO, GENEVIEVE                  2090 S TECUMSEH BLVD                                                                             MARBLEHEAD            OH 43440‐2467
ONTKO, HELEN M                    34855 MELTON ST                                                                                  WESTLAND              MI 48186‐4468
ONTKO, HELEN M                    34855 MELTON                                                                                     WESTLAND              MI 48186‐4468
ONTKO, WILLIAM G                  23540 DAVID DR 103 C                                                                             NORTH OLMSTED         OH 44070
ONTONAGON TOWNSHIP TREASURER      311 N STEEL ST                                                                                   ONTONAGON             MI 49953‐1317
ONTOR LTD                         4391 HARVESTER RD UNIT 8                                                BURLINGTON ON L7L 4X1
                                                                                                          CANADA
ONTRACK DATA RECOVERY INC         9023 COLUMBINE RD                                                                                EDEN PRAIRIE         MN   55347‐4182
ONUEL DELEON                      FOSTER & SEAR, LLP                 817 GREENVIEW DRIVE                                           GRAND PRAIRIE        TX   75050
ONUFER, MINNIE D                  30430 TY VALLEY RD                 C/O DEBORA ANN STALLEY                                        LEBANON              OR   97355‐9210
ONUFRY, DAVID A                   11415 BRECKENRIDGE DR                                                                            DAVISON              MI   48423‐9335
ONUFRY, DAVID ALLEN               11415 BRECKENRIDGE DR                                                                            DAVISON              MI   48423‐9335
ONUFRY, MICHAEL L                 9276 GALE RD                                                                                     OTISVILLE            MI   48463‐9423
ONUFRYK, CHARLES J                3113 EDGEMERE DR                                                                                 ROCHESTER            NY   14612‐1123
ONULAK, WASYLINA                  PO BOX 103                                                                                       ALLENWOOD            NJ   08720‐0103
ONULAK, WASYLINA                  P.O. BOX 103                                                                                     ALLEN WOOD           NJ   08720
ONUR FIRIK
ONUSKANICH, CORRINE E             22270 QUAIL RUN CIRCLE #5                                                                        SOUTH LYON           MI   48178‐2610
ONUSKANICH, MARK F                3664 MEADOWLEIGH LN                                                                              WATERFORD            MI   48329‐2449
ONUSKO, WILLIAM M                 58 WOODCREST LANE                  P O BOX 75                                                    MILTON               NY   12547
ONUSSEIT, GARY C                  6 STARLIGHT CIR                                                                                  FAIRPORT             NY   14450‐9330
ONUZI, BLAIR                      APT 7                              404 VIRGINIA AVENUE                                           ROYAL OAK            MI   48067‐4101
ONVIA INC                         1260 MERCER ST                                                                                   SEATTLE              WA   98109
ONVLEE ENGINEERING PTY LTD        43 WRIGHT ST                                                            PORT ELIZABETH ZA 6001
                                                                                                          SOUTH AFRICA
ONWARD TECHNOLOGIES               200 W MADISON ST                   STE 1020                                                      CHICAGO              IL   60606‐1108
ONWELLER SALLY                    1771 SAUK LN                                                                                     SAGINAW              MI   48638‐4436
ONWELLER, DIANE J                 APT A                              11145 EL CAMINO REAL                                          ATASCADERO           CA   93422‐6004
ONWELLER, SALLY A                 1771 SAUK LN                                                                                     SAGINAW              MI   48638‐4436
ONY CERVANTEZ                     210 LORA LN                                                                                      FILLMORE             CA   93015‐2115
ONYEKA NATIKA NGOZIKA             2208 EVANS AVE NW                                                                                HUNTSVILLE           AL   35810‐2010
ONYEKWERE, SAUNDRA B              19415 GREENFIELD RD                                                                              DETROIT              MI   48235‐2015
ONYEMACHI, CAZEMBE BARUTI         16741 ROSEMONT AVE                                                                               DETROIT              MI   48219‐4116
ONYETT, DARLENE                   644 SCHWARTZ DR                                                                                  HAMILTON             OH   45013‐1745
ONYETT, RAYMOND E                 323 RAINBOW DR                                                                                   KOKOMO               IN   46902‐3668
ONYIA, MICHAEL C                  APT 48214                          44422 BAYVIEW AVENUE                                          CLINTON TWP          MI   48038‐1584
ONYSHCZAK, ALEXANDER D            2705 NW 157TH ST                                                                                 EDMOND               OK   73013‐8813
ONYSKI, EDWARD V                  20316 SUNNYDALE ST                                                                               SAINT CLAIR SHORES   MI   48081‐1742
ONYSKIN, DANIEL A                 7817 RAMBLEWOOD ST                                                                               YPSILANTI            MI   48197‐7171
ONYX AUTOMOTIVE GROUP             41700 6 MILE RD STE 100                                                                          NORTHVILLE           MI   48168‐3460
ONYX ENVIRONMENTAL SERVICES LLC   1 EDEN LN                                                                                        FLANDERS             NJ   07836‐8950
ONYX INDUSTRIAL SERVICES INC      3018 N HWY 146                                                                                   BAYTOWN              TX   77520
ONYX NORTH AMERICA CORPORATION
ONYX SPECIAL SERVICES INC         N104W13275 DONGES BAY RD                                                                         GERMANTOWN           WI 53022‐4417
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Name                              Address1                          Address2            Address3         Address4               City               State Zip
ONYX WASTE SERVICES               41700 6 MILE RD STE 100                                                                       NORTHVILLE          MI 48168‐3460
AUTOMOTIVEGROUP
ONYX WASTE SERVICES INC
ONYX WASTE SERVICES MIDWEST INC   4612 W LAKE ST                                                                                MELROSE PARK       IL   60160‐2747
ONZA MORGAN                       620 HEDGECOTH RD                                                                              CRAB ORCHARD       TN   37723‐1755
ONZE, WILLIAM E                   257 NIAGARA ST                                                                                TONAWANDA          NY   14150‐1004
ONZIE BAKER                       PO BOX 45                                                                                     ONEIDA             KY   40972‐0045
ONZIE BELVIN                      PO BOX 51346                                                                                  FORT WORTH         TX   76105‐8346
ONZIE WILLIAMS JR                 1402 ESSLING ST                                                                               SAGINAW            MI   48601‐1383
OO‐KOPICKO, LOO Y                 29120 GLENARDEN ST                                                                            FARMINGTON HILLS   MI   48334‐2732
OODY, MARGARET T.                 8880 JIM DYKE ROAD                                                                            LOUDON             TN   37774‐5109
OOINK, RENE P                     240 FARR ST                                                                                   COMMERCE TWP       MI   48382‐2950
OOINK, RENE P R                   240 FARR ST                                                                                   COMMERCE TWP       MI   48382‐2950
OOLEY, CAROLYN J                  6491 WARREN LN                                                                                BROWNSBURG         IN   46112‐8517
OOLEY, ROBERT D                   1108 W NORTHWOOD DR                                                                           BRAZIL             IN   47834‐1235
OOLITIC VOLUNTEER FIRE DEPT       708 MAPLE ST                                                                                  OOLITIC            IN   47451‐9749
OOM, FRED R                       2593 MCLAUGHLIN AVE                                                                           MUSKEGON           MI   49442‐4438
OOMMEN, GEORGE                    47453 GREENWICH DR                                                                            NOVI               MI   48374‐2868
OOMS, JERRY                       690 LAYPORT DR                                                                                SEBASTIAN          FL   32958‐4412
OONJAI, JANDEE                    1553 QUAIL RUN DR                                                                             KOKOMO             IN   46902
OORD HENRY                        4581 MAPLE GROVE RD                                                                           SUNNYSIDE          WA   98944‐9793
OOSTDYKE, ROBERT G                818 ANDRUS AVE                                                                                LANSING            MI   48917‐2211
OOSTERHEERT, HOWARD               1938 ALLEGAN ST                                                                               SAGINAW            MI   48602‐2759
OOSTERHEERT, SARAH J              7530 BOULDER BLUFF DR                                                                         JENISON            MI   49428‐8967
OOSTERHOF, BARBARA J              PO BOX 274                                                                                    CRYSTAL RIVER      FL   34423‐0274
OOSTERHOUSE, DOUGLAS H            8767 HIDDEN LAKE RD                                                                           HOWELL             MI   48855‐9212
OOSTERINK, EDWIN J                7684 LILAC DR                                                                                 JENISON            MI   49428‐8549
OOSTERINK, MARK R                 3806 NEWBURG RD                                                                               BANCROFT           MI   48414‐9725
OOSTERLINCK, CYRIL A              2810 GLENVIEW AVE                                                                             ROYAL OAK          MI   48073‐3119
OOSTERWAL, DANTAR P               915 LUSTED LN                                                                                 BATAVIA            IL   60510‐2783
OOSTERWAL, KATHERIEN L            915 LUSTED LN                                                                                 BATAVIA            IL   60510‐2783
OOSTINGH, ROELOF                  311 HARVEST DR                                                                                CHARLOTTESVILLE    VA   22903‐4851
OOSTMAN, DONALD R                 30W344 ARGYLL LN                                                                              NAPERVILLE         IL   60563‐1856
OOTEN, ANDY D                     5823 JASSAMINE DR                                                                             WEST CARROLLTON    OH   45449‐2942
OOTEN, CATHERINE D                5294 OLD FRANKLIN RD                                                                          GRAND BLANC        MI   48439‐8752
OOTEN, CYNTHIA                    HC 70 BOX 171                                                                                 LENORE             WV   25676‐9700
OOTEN, GENE A                     5294 OLD FRANKLIN RD                                                                          GRAND BLANC        MI   48439‐8752
OOTEN, GORDON R                   1216 EMORY ST                                                                                 DEFIANCE           OH   43512‐2908
OOTEN, GORDON RICHARD             1216 EMORY ST                                                                                 DEFIANCE           OH   43512‐2908
OOTEN, JOAN M                     5823 JASSAMINE DR                                                                             DAYTON             OH   45449‐2942
OOTEN, KAREN                      23125 EASTERLING                                                                              HAZEL PARK         MI   48030‐1452
OOTEN, KATHLEEN P                 2937 W 1350 S                                                                                 KOKOMO             IN   46901‐7769
OOTEN, MARK A                     1691 DURANGO DR                                                                               DEFIANCE           OH   43512
OOTEN, MARK A                     255 HALLOCK DR                                                                                ABINGDON           VA   24210‐3151
OOTEN, MARVIN L                   PO BOX 383                                                                                    BYRDSTOWN          TN   38549
OOTEN, MARVIN L                   1819 NORWOOD WAY                                                                              ANDERSON           IN   46011‐2611
OOTEN, MILFORD R                  206 STEPHEN AVE                                                                               LAUREL             MS   39440‐4263
OOTEN, TERESA M                   19291 ROAD 1036                                                                               OAKWOOD            OH   45873‐9061
OOTEN, TOMMY M                    5247 OLD HAVERHILL CT                                                                         GRAND BLANC        MI   48439‐8736
OOTEN, TOMMY MORRISE              5247 OLD HAVERHILL CT                                                                         GRAND BLANC        MI   48439‐8736
OOTMAR AUTOMOTIVE LTD             1229 HORNBY ST                                                         VANCOUVER BC V6Z 1W4
                                                                                                         CANADA
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Name                                 Address1                             Address2                     Address3   Address4         City            State Zip
OP DEVELOPMENT CORP                  SIVE PAGET & RIESEL P.C.             10TH FLOOR 460 PARK AVENUE                               NEW YORK         NY 10022
OP DEVELOPMENT CORP                  ATTN: CORPORATE OFFICER/AUTHORIZED   10TH FLOOR 460 PARK AVENUE                               NEW YORK         NY 10022
                                     AGENT
OP DEVELOPMENT CORP                  10TH FLOOR 460 PARK AVENUE                                                                    NEW YORK        NY 10022
OP‐TECH ENVIRONMENTAL SERVICES       14 OLD RIVER RD                      PO BOX 5182                                              MASSENA         NY 13662‐3196
OP‐TECH ENVIRONMENTAL SERVICES INC   14 OLD RIVER RD                      PO BOX 5182                                              MASSENA         NY 13662‐3196

OP‐TECH ENVIRONMENTAL SERVICES INC   1 ADLER DRIVE                                                                                 EAST SYRACUSE   NY 13057

OP‐TECH ENVIRONMENTAL SERVICESINC    6392 DEERE RD                                                                                 SYRACUSE        NY 13206

OP‐TECH ENVIRONMENTAL SERVICESINC    1 ADLER DRIVE                                                                                 EAST SYRACUSE   NY 13057

OPACHAK, MARK D                      4588 BLOSSOM LN                                                                               MILFORD         MI 48380‐2700
OPACKI, DOROTHY                      1017 HOVEY ST SW                                                                              GRAND RAPIDS    MI 49504‐6154
OPAKUNLE FOLA
OPAL A RICHARDSON                    370 DEVONSHIRE ST                                                                             YPSILANTI       MI   48198‐7816
OPAL A TABOR                         906 CENTRAL AVE                                                                               TILTON          IL   61833‐7914
OPAL ADAMS                           6112 ELDON RD                                                                                 MOUNT MORRIS    MI   48458‐2716
OPAL ADKINS                          7290 SPENCER LAKE RD                                                                          MEDINA          OH   44256‐9123
OPAL ALLEN                           1410 MALLARD COVE DR                                                                          CINCINNATI      OH   45246
OPAL ALLEN                           255 RAMSEY LN                                                                                 COOKEVILLE      TN   38501‐9116
OPAL ANDERSON                        1219 JOHNSON ST                                                                               SAGINAW         MI   48607‐1468
OPAL ANDERSON                        8712 CROSLEY RD                                                                               SPRINGBORO      OH   45066‐9365
OPAL ANDERSON                        248 BEUTELL ST                                                                                NORCROSS        GA   30071‐3925
OPAL B HOLLOWAY                      8935 EMERLDGATE DR                                                                            HUBER HEIGHTS   OH   45424‐6426
OPAL B WARNER                        2676 KINSMAN ROAD                                                                             N. BLOOMFIELD   OH   44450
OPAL BAILEY                          545 SHEFFIELD DR                                                                              DIMONDALE       MI   48821‐8707
OPAL BARTLETT                        215 BARTLETTSVILLE RD                                                                         BEDFORD         IN   47421‐7947
OPAL BEARD                           165 WILBANKS ST                                                                               BUFORD          GA   30518‐2735
OPAL BEGLEY                          11361 MAIN RD                                                                                 FENTON          MI   48430‐9747
OPAL BELLANGER                       513 W MARKLAND DR                                                                             MONTEREY PARK   CA   91754‐7009
OPAL BILOVESKY                       3720 HELSEY FUSSELMAN RD                                                                      SOUTHINGTON     OH   44470‐9739
OPAL BOLTON                          1026 MAGIE AVE                                                                                FAIRFIELD       OH   45014‐1822
OPAL BOND                            3650 ELMIRA DR                                                                                DAYTON          OH   45439‐2409
OPAL BOWLING                         219 LONGVIEW DR                                                                               NICHOLASVILLE   KY   40356‐2121
OPAL BOYER                           308 S 4TH ST                                                                                  TIPP CITY       OH   45371‐1607
OPAL BRAY                            4367 PENWOOD DR C/O CHAD WESTE                                                                ALEXANDRIA      VA   22310
OPAL BRAZEL                          6166 APPLE RIDGE RD                                                                           IUKA            IL   62849‐2234
OPAL BURTON                          615 S 8TH ST APT 1                                                                            DEEPWATER       MO   64740‐9182
OPAL BUSSELL                         4186 COUNTY ROAD 4660                                                                         POMONA          MO   65789‐9564
OPAL BUTTREE                         2894 OXFORD MILLVILLE RD                                                                      OXFORD          OH   45056‐9164
OPAL C SMITH                         1349 N OSBORNE AVE                                                                            SPRINGFIELD     IL   62702
OPAL CADE                            PO BOX 6161                                                                                   MOORE           OK   73153‐0161
OPAL CALDWELL                        1800 COLONIAL VILLAGE WAY APT 3                                                               WATERFORD       MI   48328‐1922
OPAL CAMMIN                          4918 BROCKWAY RD                                                                              SAGINAW         MI   48603
OPAL CAREY                           15 FAIRLANE DR                                                                                ROSSVILLE       GA   30741‐7682
OPAL CHESLYN                         13851 NAPLES DR                                                                               FISHERS         IN   46038‐7156
OPAL CLARK                           16432 NORTH 109TH STREET                                                                      SCOTTSDALE      AZ   85255‐9080
OPAL CLOUSE                          3016 LOCUST CAMP RD                                                                           KETTERING       OH   45419‐1230
OPAL COLE                            7755 E STATE ROUTE 571                                                                        TIPP CITY       OH   45371‐8315
OPAL CORLEW                          STONE MANOR                          122 MAPLE STREET                                         MIO             MI   48647
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Name             Address1                       Address2                   Address3             Address4           City               State Zip
OPAL COVINGTON   2229801 US19N LOT 5A                                                                              CLEARWATER          FL 33761
OPAL CUMMINGS    895 MURRAY HILL DR                                                                                XENIA               OH 45385‐7615
OPAL D CURRY     NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DR                            DAINGERFIELD        TX 75638
OPAL D WANCKET   227 W CORNELL AVE                                                                                 PONTIAC             MI 48340‐2725
OPAL DANBECK     11369 E MANZANITA TRL                                                                             DEWEY               AZ 86327
OPAL DAVIS       312 EIGHTH ST                                                                                     COTTER              AR 72626‐9756
OPAL DAVIS       1925 ELMSFORD ST                                                                                  SPRINGFIELD         OH 45506‐3307
OPAL DEAL        8237 WILDE CT                                                                                     WAYNESVILLE         OH 45068‐5007
OPAL DENNIS      4674 THOMAS RD                                                                                    METAMORA            MI 48455‐9342
OPAL DICKERSON   612 E MILL ST                                                                                     SUMMITVILLE         IN 46070‐9716
OPAL DIXON       PO BOX 794                                                                                        OAK HILL            WV 25901‐0794
OPAL DROP        1858 17TH ST SW                                                                                   AKRON               OH 44314‐2824
OPAL DUNAWAY     7604 PERRY TWP RD 81                                                                              BELLVILLE           OH 44813
OPAL DUSSEAU     3080 HIGHWAY 219                                                                                  WALLINS CREEK       KY 40873‐8922
OPAL EDWARDS     425 THOREAU TRL APT 103                                                                           HIGH RIDGE          MO 63049‐2565
OPAL ELKINS      1304 NAPIER ST                                                                                    FLATWOODS           KY 41139‐1538
OPAL FAIR        3505 ELLWOOD AVE                                                                                  BERKLEY             MI 48072‐3119
OPAL FISHER      823 RUSTIC RD                                                                                     ANDERSON            IN 46013‐1543
OPAL FOUST       1449 E DECAMP ST                                                                                  BURTON              MI 48529‐1266
OPAL FRENCH      320 ST EDWARD DR                                                                                  DANDRIDGE           TN 37725‐6370
OPAL FULLER      311 FALL CREEK DR                                                                                 ANDERSON            IN 46013‐3712
OPAL GABLE       1951 E FM 1187                                                                                    ALEDO               TX 76008‐4624
OPAL GAPPENS     100 CANDY LN                                                                                      SHARPSVILLE         IN 46068‐9336
OPAL GARNER      46650 SMITH LAKE RD                                                                               MARCELL             MN 56657
OPAL GIST        6549 WANDERING WAY                                                                                INDIANAPOLIS        IN 46241‐1071
OPAL GREGORY     1400 S MEEKER AVE                                                                                 MUNCIE              IN 47302‐3826
OPAL GRIFFITH    1981 HOMEWOOD DR                                                                                  LORAIN              OH 44055‐2617
OPAL GUSTIN      1249 DONSON DR                                                                                    KETTERING           OH 45429
OPAL GUWIN       672 KELLY FARM RD                                                                                 NEWNAN              GA 30265‐1875
OPAL H HARDING   884 WILLARD AVE SE                                                                                WARREN              OH 44484‐4432
OPAL HAMMETT     2211 S DORT HWY LOT A7                                                                            FLINT               MI 48507‐5228
OPAL HAMMOND     401 N BUTTER ST APT 116                                                                           GERMANTOWN          OH 45327
OPAL HANSEN      1216 BROOKSIDE DRIVE                                                                              LANSING             MI 48917‐9281
OPAL HARDING     884 WILLARD AVE SE                                                                                WARREN              OH 44484‐4432
OPAL HAY         37 ORCHARD AVE                                                                                    ENGLEWOOD           OH 45322‐1614
OPAL HEADRICK    3509 CELESTIAL WAY                                                                                NORTH FORT MYERS    FL 33903‐1410
OPAL HEATH       10600 S MCVETY RD                                                                                 FALMOUTH            MI 49632‐9781
OPAL HEDGES      6900 LENOX VILLAGE PKWY        APT 221                                                            NASHVILLE           TN 37211‐7290
OPAL HELTON      542 S MEDWAY CARLISLE RD                                                                          NEW CARLISLE        OH 45344‐9713
OPAL HERNDON     APT 3                          515 COUNTY ROAD 601                                                HANCEVILLE          AL 35077‐7429
OPAL HINCKLEY    2691 LAYLIN RD                                                                                    NORWALK             OH 44857‐9507
OPAL HINES       314 1ST ST                                                                                        HOT SPRINGS         AR 71913‐4455
OPAL HOLLOWAY    8935 EMERALDGATE DR                                                                               HUBER HEIGHTS       OH 45424‐6426
OPAL I HOPKINS   ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON           IL 62024
                                                ANGELIDES & BARNERD LLC
OPAL KEEN        1415 N GALE RD                                                                                    DAVISON            MI   48423‐2542
OPAL KELLEY      PO BOX 2861                                                                                       ANDERSON           IN   46018‐2861
OPAL KIGGINS     907 NOTTINGHAM DR                                                                                 MEDINA             OH   44256‐3151
OPAL KING        1235 W CROSS ST                                                                                   ANDERSON           IN   46011‐9501
OPAL L BOKROS    111 RICHMOND DRIVE                                                                                FLORENCE           MS   39073
OPAL L CADE      PO BOX 6161                                                                                       MOORE              OK   73153‐0161
OPAL L HALL      1783 FARMERSVILLE W ALEX RD                                                                       FARMERSVILLE       OH   45325‐9300
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Name               Address1                       Address2            Address3         Address4         City             State Zip
OPAL LAMB          1479 WICHITA DR S                                                                    HAMILTON          OH 45013‐1548
OPAL LAMBDIN       1101 W CENTRAL AVE                                                                   LA FOLLETTE       TN 37766‐2032
OPAL LEO           1201 GRIDLEY DR                                                                      DAYTON            OH 45432‐1703
OPAL LEWIS         130 E CO RD 360N                                                                     ANDERSON          IN 46012
OPAL LEWIS         PO BOX 105                                                                           NEW LEBANON       OH 45345‐0105
OPAL LEWIS         23 E PLEASANT ST                                                                     RIVER ROUGE       MI 48218‐1429
OPAL LEWIS         P O BOX 105                                                                          NEW LEBANON       OH 45345‐0105
OPAL LINDLEY       11 RINGWOOD WAY                                                                      ANDERSON          IN 46013‐4252
OPAL LIPPS         3956 FULTON GROVE RD                                                                 CINCINNATI        OH 45245‐2547
OPAL LOVELADY      9124 N LILLEY RD APT 126                                                             PLYMOUTH          MI 48170‐4681
OPAL LUNDY         5216 MANOR DR                                                                        CRESTWOOD         KY 40014‐8840
OPAL M BILOVESKY   3720 HELSEY FUSSELMAN RD                                                             SOUTHINGTON       OH 44470‐9739
OPAL M CLOUSE      3016 LOCUST CAMP RD                                                                  KETTERING         OH 45419‐1230
OPAL M HELTON      542 S. MEDWAY CARLISLE RD                                                            NEW CARLISLE      OH 45344‐9713
OPAL MASSEY        44 ROCKY RD NW                                                                       ADAIRSVILLE       GA 30103‐5924
OPAL MATTHEWS      4928 COLUMBUS AVE                                                                    ANDERSON          IN 46013‐5132
OPAL MAULLER       2523 S SELBY ST                                                                      MARION            IN 46953‐2956
OPAL MAZUR         5207 MCCARTNEY RD                                                                    SANDUSKY          OH 44870‐1529
OPAL MC NAIR       1239 WATKINS CV                                                                      EASTPOINT         FL 32320‐3122
OPAL MCKIBBEN      4401 CHRISTOPHER DR                                                                  KOKOMO            IN 46902‐4721
OPAL MCRILL        8800 MONROE RD APT 5                                                                 DURAND            MI 48429‐1017
OPAL MILLER        3164 NORMAN CIR                                                                      DULUTH            GA 30096‐3669
OPAL MILLER        501 FRISBY BRANCH RD                                                                 GREEN ROAD        KY 40946‐6527
OPAL MILWEE        PO BOX 766                                                                           EAST BERNSTADT    KY 40729‐0766
OPAL MINK          62 MENLO PARK DR                                                                     BELLEVILLE        MI 48111‐2917
OPAL MOBLEY        4039 HENDERSON AVE                                                                   LOUISVILLE        KY 40213
OPAL MORRIS        2400 N OLD TOWNE LN                                                                  MUNCIE            IN 47304‐9563
OPAL MOZINGO       13 FOUNTAIN LAKE DR                                                                  GREENFIELD        IN 46140‐8646
OPAL MULLINS       3218 KYLE AVE                                                                        DAYTON            OH 45429‐3520
OPAL MUNSTER       77180 MINNESOTA AVE                                                                  PALM DESERT       CA 92211‐7907
OPAL NEWELL        201 W JOLLY RD APT 326                                                               LANSING           MI 48910‐6672
OPAL O CONNELL     846 DESALES ST                                                                       VANDALIA          OH 45377‐1124
OPAL ONDRISEK      2086 WOODLAND PASS                                                                   BURTON            MI 48519‐1326
OPAL PARKER        9971 ELM RD                                                                          OVID              MI 48866‐9509
OPAL PARKS         2024 MINERAL SPRINGS RD                                                              HOSCHTON          GA 30548‐1611
OPAL PAUL          224 DOWNEY ST                                                                        HOHENWALD         TN 38462‐1652
OPAL PHILLIPS      1536 HAYWOOD AVENUE                                                                  MEMPHIS           TN 38127‐5419
OPAL POINDEXTER    1527 WESTONA DR                                                                      DAYTON            OH 45410‐3337
OPAL POORE         4517 CUMMINGS DR                                                                     FORT WORTH        TX 76180‐8273
OPAL POWERS        599 LAKENGREN DR                                                                     EATON             OH 45320‐2672
OPAL PRINGLE       2322 OLD BEAVER RD                                                                   KAWKAWLIN         MI 48631‐9192
OPAL PRITCHARD     202 VANCE LN                                                                         WEATHERFORD       TX 76088‐4414
OPAL R ALLEN       255 RAMSEY LANE                                                                      COOKEVILLE        TN 38501‐9116
OPAL R PHILLIPS    2825 CADILLAC                                                                        MORAINE           OH 45439
OPAL RENO          1905 E WABASH AVE                                                                    MUNCIE            IN 47303‐1314
OPAL RICKETTS      617 CORAL COURT                                                                      CICERO            IN 46034‐9684
OPAL RIGNEY        31929 ST. RTE. #41                                                                   PEEBLES           OH 45660
OPAL ROBERTS       PO BOX 1113                                                                          CLEVELAND         GA 30528‐0021
OPAL ROBERTS       7119 DRIFTWOOD DRIVE                                                                 FENTON            MI 48430‐4302
OPAL ROBINSON      810 AVENUE F                                                                         GREENWOOD         MS 38930
OPAL ROSENQUIST    337 E SWEDEN ST                                                                      WALNUT SPRINGS    TX 76690‐4600
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Name                       Address1                           Address2                  Address3   Address4              City                State Zip
OPAL RT TECHNOLOGIES INC   1751 RICHARDSON SUITE 2525                                              MONTREAL QC H3K 1G6
                                                                                                   CANADA
OPAL RUCKER                246 CRESTA VISTA WAY                                                                          SAN JOSE            CA    95119‐1509
OPAL S HAY                 37 ORCHARD AVE                                                                                ENGLEWOOD           OH    45322‐1614
OPAL SCHAUS                PO BOX 8004                                                                                   AMARILLO            TX    79114‐8004
OPAL SCHELL                381 ROCKFORD DR                                                                               HAMILTON            OH    45013‐2252
OPAL SELLERS               264 SMITH ST                                                                                  DETROIT             MI    48202‐2818
OPAL SEXTON                331 ESTONIA DR                                                                                NEW LEBANON         OH    45345‐1329
OPAL SIMS                  31410 W 157TH ST                                                                              EXCELSIOR SPRINGS   MO    64024‐5218
OPAL SLIGH                 4831 ROSEBURY LN NW                                                                           ACWORTH             GA    30101‐8395
OPAL SMITH                 945 MELODY LN                                                                                 NAPOLEON            OH    43545‐1187
OPAL SMITH                 2225 E WILLIAMSON ST                                                                          BURTON              MI    48529‐2447
OPAL SMITH                 675 N 5TH ST                                                                                  MIDDLETOWN          IN    47356‐1007
OPAL SORROW                161 FIVE POINTS RD                                                                            CLEVELAND           AL    35049‐3306
OPAL SPARACO               11427 CLYDE PLACE VIVIAN RD                                                                   OIL CITY            LA    71061‐9694
OPAL STERRETT              520 SNOWBERRY CT                   C/O BETTY J HALLIBURTON                                    NOBLESVILLE         IN    46062‐8719
OPAL STROUD                333 NORTH OCCIDENTAL HWY APT#157                                                              TECUMSEH            MI    49286
OPAL SUTHERLAND            6767 MAHOGANY DR                                                                              GALENA              OH    43021‐8060
OPAL SWEATT                36811 WICK RD                                                                                 ROMULUS             MI    48174‐1343
OPAL SWIMS                 800 BUENA VISTA AVE                                                                           BROOKSVILLE         FL    34601‐3600
OPAL TAYLOR                400 LONGCASTLE DR APT 3                                                                       GREENCASTLE         IN    46135‐2448
OPAL THARP                 4570 E STATE ROAD 236                                                                         MIDDLETOWN          IN    47356‐9207
OPAL TOWNSON               48 REMINGTON PKWY                                                                             ROCHESTER           NY    14623‐1038
OPAL TURNER                703 AUSTIN DR SE                                                                              SMYRNA              GA    30082‐3303
OPAL TURNER                33938 KIBILOSKI RD                                                                            BURR OAK            MI    49030‐9636
OPAL VANHOOSE              1986 SPURGEON HILL RD                                                                         WEST UNION          OH    45693‐9463
OPAL VAUGHAN               8958 BURTON AVE                                                                               OVERLAND            MO    63114‐4824
OPAL WALKER                2830 SWARTZ RD                                                                                LA SALLE            MI    48145‐9551
OPAL WALLACE               1514 E 30TH ST                                                                                ANDERSON            IN    46016‐5609
OPAL WALLER                154 N 7TH ST                                                                                  CEDAR SPRINGS       MI    49319‐9308
OPAL WALLS                 2381 HARSHAW AVE                                                                              LAWRENCEVILLE       GA    30043‐8210
OPAL WARNER                2676 KINSMAN RD NW                                                                            NORTH BLOOMFIELD    OH    44450‐9708
OPAL WAYT                  2140 CALLE VISTA DR                                                                           FLORISSANT          MO    63031‐7614
OPAL WEAVER                2014 KIMBERLY DR                                                                              SOMERSET            KY    42503‐9658
OPAL WEAVER                PO BOX 124                                                                                    ASHLEY              MI    48806‐0124
OPAL WELLS                 711 W DEWEY ST                                                                                FLINT               MI    48504‐2603
OPAL WEST                  2898 SARDIS MILL TRL                                                                          BUFORD              GA    30519‐6264
OPAL WHITE                 1821 SAINT JAMES PL                                                                           ANDERSON            IN    46012‐3191
OPAL WICKS                 2433 HUMBOLDT AVE                                                                             FLINT               MI    48504‐5104
OPAL WILBANKS              4425 ASPEN WAY                                                                                HALTOM CITY         TX    76137‐2132
OPAL WILLIAMS              8861 RESERVATION DR                                                                           ORLANDO             FL    32829‐8422
OPAL WOODRING              107 S HARRIS ST                                                                               CAMERON             MO    64429‐2129
OPAL WORKMAN               13661 KARL ST                                                                                 SOUTHGATE           MI    48195‐2417
OPAL WRAY                  721 LONG POINT DRIVE                                                                          ERIE                PA    16505‐5413
OPAL‐RT TECHNOLOGIES INC   1751 RUE RICHARDSON STE 2525                                            MONTREAL QC H3K 1G6
                                                                                                   CANADA
OPALACK, CLAIRE E          1155 STAFFORD AVE                                                                             BRISTOL             CT    06010‐2832
OPALEA VANCE               644 BURNSIDE DRIVE                                                                            MIAMISBURG          OH    45342
OPALECKY, HELEN            11131 NAOMI DR                                                                                PARMA               OH    44130‐1555
OPALEK, JOSEPHINE R        835 DEER RUN RD                    C/O RICHARD OPALEK                                         CENTERVILLE         OH    45459‐4873
OPALESKI, GILBERT J        4789 LORWOOD DR                                                                               SMITHS CREEK        MI    48074‐1553
OPALESKI, STEVEN J         4361 STONY RIVER DR                                                                           BLOOMFIELD HILLS    MI    48301‐3651
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Name                           Address1                        Address2                    Address3   Address4                  City               State Zip
OPALEWSKI DIANA                4111 LAFOREST DR                                                                                 WATERFORD           MI 48329‐1222
OPALEWSKI, DIANA L             4111 LAFOREST DR                                                                                 WATERFORD           MI 48329‐1222
OPALEWSKI, ELEANOR E           15500 18 MILE RD #214D                                                                           CLINTON TOWNSHIP    MI 48038
OPALEWSKI, HELEN E             48415 BINGHAMPTON DR                                                                             NORTHVILLE          MI 48168‐9649
OPALEWSKI, JEROME B            1548 N SILVERY LN                                                                                DEARBORN            MI 48128‐1035
OPALEWSKI, ROBERT J            13780 LAKESIDE BLVD A230                                                                         SHELBY TWP          MI 48315
OPALINE BLAIR                  7987 CUMBERLAND FALLS HIGHWAY                                                                    CORBIN              KY 40701‐8422
OPALINE HARP                   4412 TUCSON DR                                                                                   INDIANAPOLIS        IN 46241
OPALINE WILSON                 2214 RICK HIGHT RD                                                                               COLUMBIA            TN 38401‐8141
OPALINSKI, DAVID G             83 E FELTON ST                                                                                   NORTH TONAWANDA     NY 14120‐2659
OPALKA, JOSEPH M               9505 N CHURCH DR APT 119                                                                         PARMA HEIGHTS       OH 44130‐4791
OPALKA, MILDRED                880 HIGHLANDS BLVD              # 3404                                                           PALM HARBOR         FL 34684‐2827
OPALKA, STEPHEN J              103 HARWINTON CT                                                                                 CAMILLUS            NY 13031‐2065
OPALKA, VINCENT A              7384 CHERRY BROOK DR                                                                             REYNOLDSBURG        OH 43068‐3256
OPALKO, ANDREW J               4233 LYDIA ST                                                                                    PITTSBURGH          PA 15207‐1182
OPANASENKO, COLLEEN F          19179 20TH AVENUE                                                                                BARRYTON            MI 49305
OPANASENKO, COLLEEN F          19179 20TH AVE                                                                                   BARRYTON            MI 49305‐9727
OPANASENKO, GARY M             1126 W SHIAWASSEE ST                                                                             LANSING             MI 48915‐1824
OPATERNY, F
OPATIK, GARY W                 PO BOX 303                                                                                       JENISON            MI   49429
OPATKIEWICZ, EDWARD A          8919 COGSWELL ST                                                                                 ROMULUS            MI   48174‐1380
OPATOWSKI, YETTA               10600 WILSHIRE BLVD APT 506                                                                      LOS ANGELES        CA   90024‐4566
OPATOWSKI, YETTA               SUITE 506,10600 WILSHIRE BLVD                                                                    LOS ANGELES        CA   90024‐4566
OPATRNY, EDWARD J              1626 GRAY ST                                                                                     MCKEESPORT         PA   15133‐3303
OPAUSKI, TINA E                2632 SHADYCREST DR                                                                               BEAVERCREEK        OH   45431‐1632
OPAVA, ADOLPH J                5708 MAIN AVE                                                                                    NORTH RIDGEVILLE   OH   44039‐2230
OPAVSKY, PAUL                  2515 KOPER DR                                                                                    STERLING HTS       MI   48310‐5238
OPBURN II                      C\O E LINDEN JAFFE RAITT ETAL   1 WOODWARD AVE STE 2400                                          DETROIT            MI   48226‐5485
OPC FOUNDATION                 16101 N 82ND ST STE 3B                                                                           SCOTTSDALE         AZ   85260‐1868
OPCO INC                       PO BOX 101                      HARRISON AVE                                                     LATROBE            PA   15650‐0101
OPCON INC                      167 ELM ST STE 2                                                                                 OLD SAYBROOK       CT   06475‐4134
OPCON INC                      ULF LARSSON                     167‐2 ELM STREET                                                 LAREDO             TX   78040
OPCON INC                      674 SLEEPER ST                                                                                   KALAMAZOO          MI   49048‐3468
OPCZYNSKI, LINDA M             4443 COURTNEY ROAD                                                                               MONTROSE           MI   48457‐9606
OPDENDYK, ROBERT J             23100 ENCINAL CT                                                                                 LOS ALTOS HILLS    CA   94024‐6443
OPDENHOFF, CHARLES A           260 OLD BLAIRSVILLE HWY                                                                          TALKING ROCK       GA   30175‐3825
OPDENHOFF, HELEN J             835 N HORACE WALTERS RD.                                                                         RAEFORD            NC   28376‐7407
OPDENHOFF, LORI L              18300 NORBORNE                                                                                   REDFORD            MI   48240‐1862
OPDENHOFF, LORI L              18211 LATHERS ST                                                                                 LIVONIA            MI   48152‐3731
OPDENHOFF, TIMOTHY N           18211 LATHERS STREET                                                                             LIVONIA            MI   48152‐3731
OPDYCKE JODY                   OPDYCKE, JODY                   22260 HAGGERTY RD STE 250                                        NORTHVILLE         MI   48167‐8985
OPDYKE FAMILY MEDICA           719 S OPDYKE RD                                                                                  AUBURN HILLS       MI   48326‐3436
OPDYKE FAMILY MEDICAL CLINIC   ATTN: CYNTHIA HALTERMANN        719 S OPDYKE RD                                                  AUBURN HILLS       MI   48326‐3436
OPDYKE JR, ALVA W              814 HARRISON CT                                                                                  LANSING            MI   48917‐9210
OPDYKE JR, LEROY G             14 BATTLE RD                                                                                     MANCHESTER         NJ   08759‐5144
OPDYKE, GERALD T               PO BOX 757                                                                                       HOWELL             NJ   07731‐0757
OPDYKE, NANCY K                72 LIMESTONE AVE                                                       AINSLIE, ACT,2602
                                                                                                      AUSTRALIA
OPDYKE, RICHARD L              4013 CASTLE LN N                                                                                 WEIDMAN            MI   48893‐9368
OPDYKE, TIMOTHY J              230 W LEDGE DR                                                                                   LANSING            MI   48917‐9220
OPED INC                       47 LORING DR                                                                                     FRAMINGHAM         MA   01702‐8768
OPEKA AUTO REPAIR CO.          440 VALLEYBROOK RD                                                                               MCMURRAY           PA   15317‐3340
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Name                               Address1                           Address2                Address3               Address4                  City          State Zip
OPEKA, THOMAS A                    153 TOMAHAWK CT                                                                                             BOLINGBROOK     IL 60440‐2651
OPEL AUSTRIA VERTRIEB GMBH         GROSS ENZERSDORFER STRASSE 59                                                     VIENNA A‐122 AUSTRIA
OPEL BELGIUM N.V.                  PRINS BOUDEWYNLAAN 30                                                             KONTICH B‐255 BELGIUM
OPEL BELGIUM NV BOPE MARKETING     PRINS BOUDEMIJNLAAN 30             B 2550                                         KONTICH BELGIUM
SUPPORT GROUP                                                                                                        BELGIUM
OPEL C & S CZEC                    NA PANKRACI 28                                                                    PRAGUE 74000 CZECH
                                                                                                                     REPUBLIC
OPEL C&S S.P.O.L.                  NA PANKRAOL 28                                                                    PRAGUE 4 1400 CZECH
                                                                                                                     REPUBLIC
OPEL DANMARK                       TOBAKSVEJEN 22                                                                    SOBORG/COPENHAGEN DK‐
                                                                                                                     28 DENMARK
OPEL EISEMACH GMBH                 ATTN: MANAGING DIRECTOR            ADAM OPEL STRASSE 100                          EISEMACH 99817
OPEL EISENACH GMBH                 ATTN: MANAGING DIRECTOR            ADAM OPEL STRASSE 100                          EISNACH 99817 GERMANY
OPEL EISENACH GMBH                 ADAM OPEL STRASSE 100                                                             EISEMACH 99817
OPEL EISENACH GMBH                 ADAM‐OPEL‐STRASSE 100, 99817                                                      EISENACH 99817 GERMANY
                                   EISENACH
OPEL EISENACH GMBH á               ADAM OPELSTRASSE 100 á             LEO WIELS á                                    EISENACH D‐99817
                                                                                                                     GERMANY
OPEL EISENACH GMBH, ADAM OPEL      ADAM‐OPEL‐STRASSE 100, 99817                                                      EISENACH 99817 GERMANY
GMBH, GM EUROPE TREASURY COMPANY   EISENACH
AB
OPEL ESPANA ESPA                   APARJADO 375                                                                      ZARAGOZA SPAIN SPAIN
OPEL ESPANA S.A.                   PASEO DE LA CASTELLANA 91                                                         MADRID E‐280 SPAIN
OPEL FRANCE S.A.                   CEDEX BP84                                                                        ARGENTEUIL 95101 FRANCE
OPEL HELLAS SA                     56 KIFISIAS AVENUE & DELFON                                                       ATHENS GR15 GREECE
OPEL IRELAND LIMITED IRDI          OPEL HOUSE HEATHER ROAD            SANDYFORD IND ESTATE                           DUBLIN 18 IRELAND
                                                                                                                     IRELAND
OPEL IRELAND LTD.                  OPEL HOUSE, HEATHER ROAD                                                          DUBLIN 18 IRELAND
OPEL ITALIA S.P.A.                 PIAZZALE DELL'INDUSTRIA 40                                                        ROME 1‐001 ITALY
OPEL KOESTER                       1923 DELAWARE AVE                                                                                           NORWOOD       OH 45212‐3620
OPEL LIVE GMBH á                   FRIEDRICH‐LUTZMANN‐RING            DIETER KROCKER á                               R▄SSELSHEIM á HESSEN D‐
                                                                                                                     65423 GERMANY
OPEL MOTOREN KAISERSLAUTERN        STEFAN DAY                         OPELKREISEL 1‐9         KAISERSLAUTERN 67663   STAFFORDSHIRE GREAT
                                                                                                                     BRITAIN
OPEL NEDERLAND B.V.                BAANHOEK 188                                                                      SLIEDRECHT NL‐33
                                                                                                                     NETHERLANDS
OPEL NEDERLAND BV NEDL             BAANHOEK 188                       PO BOX 1100             3360 BC SLIEDRECHT     THE NETHERLANDS
                                                                                                                     NETHERLANDS
OPEL OY                            PAJUNLITYNTIA 6                                                                   HELSINKI FIN‐0 FINLAND
OPEL PORTUGAL S.A.                 QUINTA DA FONTA, EDIFICIO FERNAO                                                  OEIRAS P‐278 PORTUGAL
OPEL POWERTRAIN GMBH               ERIK NIEDERMEIER                   MAINZER STR                                    COL IND VALLEJO DF 2300
                                                                                                                     MEXICO
OPEL SOUTHEAST EUROPE LTD.         KAPAS UTCA 11‐15                                                                  BUDAPEST H‐102 HUNGARY
OPEL SPECIAL VEHICLES GMBH á       MAINZER STRA▀E                     HANS‐JUERGEN MICHEL á                          RUSSELSHEIM 65428
                                                                                                                     GERMANY
OPEL SUISSE S.A.                   SALZHAUSSTRASSE, 21                                                               BIEL‐BIEENNE CH‐25
                                                                                                                     SWITZERLAND
OPEL TURKIYE LTD. SIRKETI          KEMALPASA YOLU                                                                    TORBALI‐IZMIR TR‐35
                                                                                                                     TURKEY
OPEL, MARK D                       9216 KELLY LAKE DR 26                                                                                       CLARKSTON      MI 48348
OPEL, YUDITH I                     906 EAGLE RIDGE ROAD                                                                                        CEDAR FALLS    IA 50613‐1574
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Name                                 Address1                            Address2                           Address3                Address4                 City                  State Zip
OPEL/RUSSELSHEIM                     MAINZER STR                                                                                    RUSSELSHEIM GE 65428
                                                                                                                                    GERMANY
OPELA, CHARLES E                     5701 NW REDHAW LN                                                                                                       PLATTE WOODS          MO    64151‐1417
OPELOUSAS CITY TAX COLLECTOR         PO BOX 1879                                                                                                             OPELOUSAS             LA    70571‐1879
OPELT MICHAEL                        3079 SEMINOLE AVE                                                                                                       CAMDEN                AR    71701‐6778
OPELT, THERESA K                     3363 WEATHERED ROCK CIR                                                                                                 KOKOMO                IN    46902‐6065
OPEN CONNECT SYSTEMS, INC.           ATTN: CFO‐ CHUCK BROCKENBUSH        2711 LYNDON B JOHNSON FWY STE                                                       DALLAS                TX    75234‐7323
                                                                         700
OPEN DOOR                            546 HAYES ST                                                                                                            YPSILANTI              MI 48198‐6130
OPEN GATE CAPITAL                    215 RUE DU FAUBOURG SAINT HONOR╔    ATTN: DIONISIO LUCCHESI                                                             PARIS, FRANCE 75008

OPEN SYSTEMS TECHNOLOGY INSTITUTE    17515 W NINE MILE ROAD SUITE 225                                                                                        SOUTHFIELD             MI 48075

OPEN TEXT CORP
OPEN TEXT CORP                       100 TRI‐STATE INTERNATIONAL PK                                                                                          LINCOLNSHIRE           IL 60069
OPEN TEXT CORP                       ATTN: CONTRACTS ADMINISTRATOR       901 MARINERS ISLAND BLVD STE 725                                                    SAN MATEO              CA 94404‐5052

OPEN TEXT CORPORATION                PO BOX 66512                                                                                                            CHICAGO                IL   60666‐0512
OPEN TEXT INC                        PO BOX 85003885                                                                                                         PHILADELPHIA           PA   19178‐0001
OPEN TEXT INC                        100 TRI‐STATE INTERNATIONAL PK                                                                                          LINCOLNSHIRE           IL   60069
OPENCONNECT SYSTEMS                  PO BOX 910146                                                                                                           DALLAS                 TX   75391‐0146
OPENCONNECT SYSTEMS INC
OPENCONNECT SYSTEMS INC              ATTN: CFO‐ CHUCK BROCKENBUSH        2711 LYNDON B JOHNSON FWY STE                                                       DALLAS                 TX   75234‐7323
                                                                         700
OPENLOGIC                            10901 W 120TH AVE STE 450                                                                                               BROOMFIELD             CO 80021‐3434
OPENLOGIC CORPORATION                ATTN: CONTRACTS ADMINISTRATOR       1919 CRYSTAL PARK                                                                   HIGHLANDS RANCH        CO 80129
OPENLOGIC CORPORATION
OPENLOGIC INC                        PETE GALLIGAN                       10901 W 120TH AVE STE 450                                                           BROOMFIELD            CO    80021‐3434
OPENLOGIC INC                        10901 W 120TH AVE STE 450                                                                                               BROOMFIELD            CO    80021‐3434
OPENO, SHANE D                       3182 OAKLAWN PARK                                                                                                       SAGINAW               MI    48603‐6192
OPENSHAW, GILBERT                    39176 CADBOROUGH DR                                                                                                     CLINTON TWP           MI    48038‐2743
OPENSHAW, JOHN C                     3 HARVARD CT                                                                                                            FALLING WATERS        WV    25419‐4681
OPENSHAW, MARY                       39176 CADBOROUGH DR                                                                                                     CLINTON TWP           MI    48038‐2743
OPENSIDED MRI OF CLE                 PO BOX 503902                                                                                                           SAINT LOUIS           MO    63150‐0001
OPEQUON MOTORS INC                   838 E MOLER AVE                                                                                                         MARTINSBURG           WV    25404‐4730
OPEQUON MOTORS, INC.                 838 E MOLER AVE                                                                                                         MARTINSBURG           WV    25404‐4730
OPEQUON MOTORS, INC.                 ELLEN PARSONS                       838 E MOLER AVE                                                                     MARTINSBURG           WV    25404‐4730
OPER, EVE L                          13419 N STATE RD                                                                                                        OTISVILLE             MI    48463‐9796
OPER, JOHN A                         13419 N STATE RD                                                                                                        OTISVILLE             MI    48463‐9796
OPERADORA DE HOSPITALES              ANGELES SA DE CV                    FERNADO SANCHEZ DE ZAMORA          191 COL TANGAMANGA CP   SAN LUIS MEXICO MEXICO
                                                                                                            78269
OPERATING ENGINEERS FUNDS, INC.      LEO A. MAJICH                       100 EAST CORSON ST.                                                                 PASADENA               CA 91103
OPERATING ENGINEERS FUNDS, INC.      LEO A. MAJICH                       100 E CORSON ST                                                                     PASADENA               CA 91110‐0001
OPERATING ENGINEERS LOCAL 139 HEALTH FIRST ALBRECHT & BLONDIS            BROADWAY THEATRE CENTER 158 N                                                       MILWAUKEE              WI 53202
BENEFIT FUND                                                             BROADWAY SUITE 600
OPERATING ENGINEERS PENSION TRUST    ATTN: LEO A. MAJICH, FUND MANAGER   100 EAST CORSON AVENUE                                                              PASADENA               CA 91103

OPERATING ENGINEERS PENSION TRUST    100 E CORSON AVE                                                                                                        PASADENA               CA 91103
FUND MANAGER
OPERATION SMILE                      6435 TIDEWATER DR                                                                                                       NORFOLK                VA 23509‐1600
OPERATION TECHNOLOGY INC             17 GOODYEAR STE 100                                                                                                     IRVINE                 CA 92618‐1822
OPERATION TECHNOLOGY INC             17 GOODYEAR                                                                                                             IRVINE                 CA 92618
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Name                             Address1                          Address2                       Address3   Address4               City               State Zip
OPERATION WARM                   1653 BRINTONS BRIDGE RD                                                                            CHADDS FORD         PA 19317
OPERATIONS MANAGEMENT            PO BOX 5018                                                                                        BRENTWOOD           TN 37024‐5018
OPERATIONS PLYMOUTH              41112 CONCEPT DR                                                                                   PLYMOUTH            MI 48170‐4253
OPERSAL, RICHARD C               27272 PEMBROKE DR                                                                                  WARREN              MI 48092‐5122
OPERSTENY, WANDA M               10575 OPERSTENY LN                                                                                 BRYAN               TX 77808‐8321
OPERTI VALERIO & MERLO LUCIANA   P CARDUCCI 10                                                               12042 BRA, CN, ITALY
OPERTI, DIEGO M                  217 MYSTIC MEADOWS CT                                                                              HOWELL             MI   48843‐6307
OPERTI, LEO                      29567 GILCHREST ST                                                                                 FARMINGTN HLS      MI   48334‐1613
OPESKY, EDWARD S                 6614 W ALEXANDRIA RD                                                                               MIDDLETOWN         OH   45042‐8910
OPESKY,EDWARD S                  6614 W ALEXANDRIA RD                                                                               MIDDLETOWN         OH   45042‐8910
OPETT, MARGARET                  1361 COUNTY RD #8                                                                                  SHORTSVILLE        NY   14548
OPETT, STEPHEN                   74 CANANDAIGUA AVE                                                                                 CANANDAIGUA        NY   14424‐1123
OPFER JR, PHILIP                 11603 BELLAMY RD                                                                                   BERLIN HTS         OH   44814‐9442
OPFERMAN, LILLIAN E              4001 SHOREHAM ST                                                                                   PITTSBURGH         PA   15212‐1529
OPHA COOMBES                     19619 E 7TH STREET CT N                                                                            INDEPENDENCE       MO   64056‐4006
OPHA HAYES                       12911 110TH AVE                                                                                    EVART              MI   49631‐8365
OPHA SPARKS                      442 COOPER DR                                                                                      HARRISON           AR   72601‐8651
OPHA THORNTON                    198 COUNTRY ROAD 699                                                                               CULLMAN            AL   35055
OPHALANDUS BRASFIELD             10440 MIDDLEPOINT ST                                                                               DETROIT            MI   48204‐3058
OPHARDT SR, HOWARD H             1124 WALKER LAKE ONTARIO RD                                                                        HILTON             NY   14468‐9171
OPHARDT, MARJORIE A              215 LAKE AVE                                                                                       HILTON             NY   14468‐1104
OPHARDT, SHIRLEY M               2955 LAKE RD N                                                                                     BROCKPORT          NY   14420‐9455
OPHEIM, ARTHELLA I               G‐4606 BEACHER RD. B‐1                                                                             FLINT              MI   48532
OPHEIM, TIMOTHY A                1515 EMERSON ST                                                                                    BELOIT             WI   53511‐5603
OPHELIA ALVAREZ                  262 EVERGREEN AVE                                                                                  TRENTON            NJ   08619‐1808
OPHELIA BRYANT                   3258 TOTH RD                                                                                       SAGINAW            MI   48601‐5766
OPHELIA CURRY                    136 S CO RD 400 E                                                                                  KOKOMO             IN   46902
OPHELIA DAVIS                    APT 219                           1001 LELAND STREET                                               DETROIT            MI   48207‐4706
OPHELIA DAVIS                    PO BOX 382                                                                                         WHITEVILLE         NC   28472‐0382
OPHELIA DEAN                     24 PARK ST                                                                                         LAVONIA            GA   30553‐2151
OPHELIA DURSO                    4911 W WATERBERRY DR                                                                               HURON              OH   44839‐2256
OPHELIA HARPER                   1544 N EUCLID AVE                                                                                  DAYTON             OH   45406‐5921
OPHELIA HIGGS                    505 E AMHERST ST                                                                                   BUFFALO            NY   14215‐1537
OPHELIA HUGHES                   25381 PINEHURST ST                                                                                 ROSEVILLE          MI   48066‐3804
OPHELIA JACKSON                  194 PENNELS DR#28                                                                                  ROCHESTER          NY   14626
OPHELIA JEFFRIES                 10612 LEE AVENUE                                                                                   CLEVELAND          OH   44106‐1229
OPHELIA JOHNSON                  26502 VILLAGE HEIGHTS DR APT 23                                                                    EDWARDSBURG        MI   49112‐9288
OPHELIA KEY                      35990 WESTMINISTER AVE            C/O NORTHRIDGE HEALTH CENTER                                     NORTH RIDGEVILLE   OH   44039‐1373

OPHELIA KEY                      BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                       BOSTON HEIGHTS     OH   44236
OPHELIA KING                     35 LEOPARD ST                                                                                      ROCHESTER          NY   14615‐3227
OPHELIA M HARPER                 1544 N EUCLID                                                                                      DAYTON             OH   45406‐5921
OPHELIA M JONES                  901 PALLISTER ST APT 715                                                                           DETROIT            MI   48202‐2681
OPHELIA M MORGAN                 6150 HONEYGATE DR                                                                                  DAYTON             OH   45424‐1142
OPHELIA MATLOCK                  971 SALISBURY AVE                                                                                  FLINT              MI   48532‐3860
OPHELIA MCCARTHY                 441 S MISSOURI AVE                                                                                 MERCEDES           TX   78570‐3050
OPHELIA MERRITT                  1611 RICHLAND RICHARDSON RD                                                                        MURFREESBORO       TN   37130‐7424
OPHELIA MORGAN                   6150 HONEYGATE DR                                                                                  DAYTON             OH   45424‐1142
OPHELIA NIEVES                   4626 WOODWORTH ST                                                                                  DEARBORN           MI   48126‐3061
OPHELIA POLOVINA                 1700 CEDARWOOD DR APT 222                                                                          FLUSHING           MI   48433‐3603
OPHELIA ROMERO                   403 E SUMMIT ST                                                                                    DONIPHAN           MO   63935‐1369
OPHELIA TILLIS                   4521 TRUMBULL DR                                                                                   FLINT              MI   48504‐3758
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OPHELIA TINSLEY              125 ROXBOROUGH ROAD                                                                       ROCHESTER             NY 14619‐1417
OPHELIA WAITS                5249 N JENNINGS RD                                                                        FLINT                 MI 48504‐1135
OPHERINE MORRIS              4923 WAINWRIGHT AVE                                                                       LANSING               MI 48911‐2852
OPHIA ETHERLY                5340 TIMBERWOOD POINT DR                                                                  FLINT                 MI 48532‐2266
OPHIA FRENCH                 2108 WABASH AVE                                                                           FLINT                 MI 48504‐2956
OPHIA MCCLURE                1513 BENT DR                                                                              FLINT                 MI 48504‐1986
OPHUS VERNON (459241)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                             STREET, SUITE 600
OPHUS, VERNON                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                             STREET, SUITE 600
OPIC, ANDREW A               11535 BALCONES DR                                                                         FRISCO               TX   75034‐7383
OPIE JR, EDWARD C            5155 TAHOE CT                                                                             CLARKSTON            MI   48348‐4953
OPIE'S CHEVROLET AND BUICK   1900 CENTRAL AVE                                                                          MCKINLEYVILLE        CA   95519‐3606
OPIE'S FINE CARS, INC.       OPIE HENDRICKS                  1900 CENTRAL AVE                                          MCKINLEYVILLE        CA   95519‐3606
OPIE, JAY B                  12 GRANDVIEW AVE                                                                          OSSINING             NY   10562‐2614
OPIE, JEANETTE               9127 BUCKINGHAM ST                                                                        WHITE LAKE           MI   48386‐1515
OPIE, JOHN D                 930 TROMBLEY RD                                                                           GROSSE POINTE PARK   MI   48230‐1860
OPIE, JUNE M                 32 KENT RD                                                                                WAPPINGERS FALLS     NY   12590‐3843
OPIE, KIM M                  9511 CHERRYWOOD RD                                                                        CLARKSTON            MI   48348‐2507
OPIE, MILTON J               9127 BUCKINGHAM ST                                                                        WHITE LAKE           MI   48386‐1515
OPIE, ROBERT J               APT 10‐101 REGENCY APTS                                                                   GLENS FALLS          NY   12801
OPIE, SUSAN L                704 ALMONESSON RD                                                                         WESTVILLE            NJ   08093‐1210
OPILA, JANET Z               11281 E LIPPINCOTT BLVD                                                                   DAVISON              MI   48423‐9127
OPILA, THOMAS J              11281 E LIPPINCOTT BLVD                                                                   DAVISON              MI   48423‐9127
OPINCARNE, JOHN              2240 STEWART RD                                                                           LOWELLVILLE          OH   44436‐9537
OPINION RES/MAUMEE           ATTN: KAREN TUCKER              1690 WOODLANDS DRIVE                                      MAUMEE               OH   43537
OPINION RESEARCH CORP        PO BOX 7777W510542                                                                        PHILADELPHIA         PA   19175‐1924
OPIOLA, LENA L               3911 MUIR RD                                                                              ALMONT               MI   48003‐7916
OPIOLALA, MARY               6633 OAKRIDGE RD                                                                          SAN DIEGO            CA   92120‐2155
OPIRA, GEORGE O              59 EAGLEWOOD CIR                                                                          PITTSFORD            NY   14534‐1081
OPITECK, STEVEN A            812 HUNTINGTON DR                                                                         SOUTH LYON           MI   48178‐2529
OPITZ, HENRY K               5439 SYCAMORE LN                                                                          FLINT                MI   48532‐2263
OPITZ, KATHE                 5439 SYCAMORE LN                                                                          FLINT                MI   48532‐2263
OPKVITNE, ARNE               817 STEVENSON ST APT 105B                                                                 FLINT                MI   48504‐4726
OPLINGER, MARGARET           230 SOUTHWEST AVE                                                                         GREENSBURG           PA   15601‐3441
OPLINGER, TERRY R            44199 MANITOU DR                                                                          CLINTON TWP          MI   48038‐4429
OPLINK SOLUTIONS INC         PO BOX 3148                                                                               ALPHARETTA           GA   30023‐3148
OPLINK SOLUTIONS INC         5965 SHILOH RD E STE A                                                                    ALPHARETTA           GA   30005
OPLINUS, SYLVERTA            46726 LAKEPOINT COURT                                                                     SHELBY TWP           MI   48315
OPM PHOTOGRAPHY              5238 RIDGE FOREST DR                                                                      STONE MOUNTAIN       GA   30083‐3897
OPNET TECHNOLOGIES INC       7255 WOODMONT AVENUE                                                                      BETHESDA             MD   20814
OPOKA, OLECH                 9323 STOVER LN                                                                            BRECKSVILLE          OH   44141‐2040
OPOLKA, BEATRICE E           3103 PARKWOOD STREET                                                                      SAGINAW              MI   48601‐4414
OPOLKA, BEATRICE E           3103 PARKWOOD AVE                                                                         SAGINAW              MI   48601‐4414
OPOLKA, JASON J              7900 W COON LAKE RD                                                                       HOWELL               MI   48843‐7640
OPOLKA, JOHN R               28 E SHARLEAR DR                                                                          ESSEXVILLE           MI   48732‐1249
OPOLSKI, GEORGE J            1835 E TIME ZONE DR                                                                       MERIDIAN             ID   83642‐4509
OPP, MARJORIE A              8063 SAWGRASS TRL                                                                         GRAND BLANC          MI   48439‐1844
OPP, SHIRLEY M               17302 DOYLE RD                                                                            STOCKBRIDGE          MI   49285‐9307
OPP, TOMMY E                 8063 SAWGRASS TRL                                                                         GRAND BLANC          MI   48439‐1844
OPPEDISANO, FRANCESCA T      292 THORPE AVE.                                                                           MERIDEN              CT   06450‐8309
OPPEL SR, ROBERT D           802 HOLLY HILL CT                                                                         REISTERSTOWN         MD   21136‐2407
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Name                             Address1                          Address2                    Address3   Address4            City               State Zip
OPPEL, ALFRED I                  934 S CLINTON ST                                                                             BALTIMORE           MD 21224‐5023
OPPENHEIM ROBERT                 6959 N HAMILTON AVE UNIT E                                                                   CHICAGO              IL 60645‐4889
OPPENHEIMER & CO CUSTODIAN       FBO ALLEN BROOKS IRA              122 CRESCENT WAY                                           MONROE TOWNSHIP     NJ 08831
OPPENHEIMER & CO INC CUST FOR    FREDERICK J FALTEISEK IRA         21 STONE GATE DR                                           EAST STROUDSBURG    PA 18301
OPPENHEIMER LIVONIA ASSOCIATES   C/O HIGHLAND MANAGEMENT CO        PO BOX 308                                                 SOUTHFIELD          MI 48037‐0308
OPPENHEISER, ALAN P              3321 ROSEMONT CT                                                                             ROCHESTER HILLS     MI 48306‐4705
OPPENHEISER, ALAN PHILLIP        3321 ROSEMONT CT                                                                             ROCHESTER HILLS     MI 48306‐4705
OPPENHEISER, JOELLEN             5426 HIAWATHA DR                                                                             CHEBOYGAN           MI 49721‐9580
OPPENHEISER, PHILLIP I           5426 HIAWATHA DR                                                                             CHEBOYGAN           MI 49721‐9580
OPPENHEISER, VICKIE L            3321 ROSEMONT CT                                                                             ROCHESTER HILLS     MI 48306‐4705
OPPENHOFF & RADLER               POSTFACH 17 01 11                                                        FRANKFURT 60323
                                                                                                          GERMANY
OPPENHOFF RADLER                 MYLIUSSTRASSE 33 37                                                      FRANKFURT AM MAIN
                                                                                                          60323 GERMANY
OPPENLANDER, CRAIG J             315 CORTINA TRAIL                                                                            LANSING            MI   48917‐3069
OPPENLANDER, CRAIG J             PO BOX 9022                       C/O GMPT TURIN                                             WARREN             MI   48090‐9022
OPPENLANDER, JAMES H             5421 ROOSEVELT LOOP NE                                                                       RIO RANCHO         NM   87144‐5218
OPPENLANDER‐ISLEY, NORMA V.W.    5352 SPRING CREEK PL                                                                         INDIANAPOLIS       IN   46254‐1667
OPPENNEER, ALLORA                5761 SKYWAY DRIVE NE                                                                         COMSTOCK PARK      MI   49321‐9503
OPPENNEER, ALLORA                5761 SKYWAY DR NE                                                                            COMSTOCK PARK      MI   49321‐9503
OPPER, CHERYL K                  2288 FLORIDA LN,PO BOX 66                                                                    CAMDEN             MI   49232‐0066
OPPER, CHERYL K                  PO BOX 66                         2288 FLORIDA LN                                            CAMDEN             MI   49232‐0066
OPPER, LEWIS J                   12809 30TH AVE M66                                                                           EVART              MI   49631
OPPER, LLOYD R                   12270 BURT RD                                                                                BIRCH RUN          MI   48415‐9326
OPPER, MABEL E                   108 HIGH ST                                                                                  HURON              OH   44839‐1114
OPPER, MABEL E                   108 HIGH STREET                                                                              HURON              OH   44839‐1114
OPPER, RICHARD C                 5615 SCHENK RD                                                                               SANDUSKY           OH   44870‐9312
OPPER, THURMAN J                 183 LAKE RIDGE RD                                                                            MONTICELLO         KY   42633‐8495
OPPER, THURMAN JOHN              183 LAKE RIDGE RD                                                                            MONTICELLO         KY   42633‐8495
OPPERMAN, BETTY L                3975 MILLINGTON RD RFD 2                                                                     MILLINGTON         MI   48746‐9607
OPPERMAN, CLARENCE D             PO BOX 440                                                                                   DAVISON            MI   48423‐0440
OPPERMAN, DAROLD HENRY           3975 MILLINGTON RD RFD 2                                                                     MILLINGTON         MI   48746
OPPERMAN, GARY L                 3900 KILE RD                                                                                 VASSAR             MI   48768‐8912
OPPERMAN, JAMES R                10045 BLOCK RD                                                                               BIRCH RUN          MI   48415‐9721
OPPERMAN, MONICA                 960 EVERGREEN LN                                                                             SAGINAW            MI   48604‐2399
OPPERMAN, NICHOLAS C             3805 DURHAM RD                                                                               ROYAL OAK          MI   48073‐1922
OPPERMAN, ROBERT L               5369 MILLINGTON RD                                                                           MILLINGTON         MI   48746‐8701
OPPERMANN, JOHN E                930 STINSON DR                                                                               SAGINAW            MI   48604‐2175
OPPERT, DUSTIN O                 110 CRANE DR                                                                                 GRAND PRAIRIE      TX   75052‐3356
OPPEWALL, NELLIE                 C/O PAM VANDERMEER                3045 NEW HOLLAND ST                                        HUDSONVILLE        MI   49426
OPPEWALL, NELLIE                 3045 NEW HOLLAND ST               C/O PAM VANDERMEER                                         HUDSONVILLE        MI   49426‐8837
OPPEWALL, TAEKE                  5165 RIDGE CT 96                                                                             HUDSONVILLE        MI   49426
OPPIDO MICHAEL                   OPPIDO, MICHAEL                   PO BOX 66705                                               MOBILE             AL   36660‐1705
OPPIDO MICHAEL                   OPPIDO, MICHAEL                   639 FRONT ST FL 4                                          SAN FRANCISCO      CA   94111‐1970
OPPIDO, ELSIE D                  14825 HUNTING WAY                 C/O CHRISTINE BERLIANT                                     PHOENIX            MD   21131‐1120
OPPIDO, MICHAEL                  CUNNINGHAM BOUNDS YANCE CROWDER   PO BOX 66705                                               MOBILE             AL   36660‐1705
                                 & BROWN
OPPIDO, MICHAEL                  LEVY RAM & OLSON                  555 MONTGOMERY ST STE 820                                  SAN FRANCISCO      CA   94111‐2560
OPPIE, CLINTON J                 4209 N LINDA DR                                                                              BELLBROOK          OH   45305‐1326
OPPMANN, RICHARD C               3215 GLADE GULCH CIR                                                                         CASTLE ROCK        CO   80104‐7727
OPPORTUNITY CENTER ANNUAL        CAMPAIGN                          3030 BOWERS ST                                             WILMINGTON         DE   19802‐2405
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Name                                Address1                         Address2                        Address3        Address4                  City               State Zip
OPPOSITION ‐ ASTRA ‐ AUTOMOBILITY ‐ AUTOMOBILITY DISTRIBUTION INC    AUTOMOBILITY DISTRIBUTION INC   400 WRIGHT ST   VILLE ST LAURENT QC H4N
CANADA                                                                                                               1M6 CANADA
OPPOSITION ‐ ASTRA ‐ AUTOMOBILITY ‐ AUTOMOBILITY DISTRIBUTION INC    400 WRIGHT ST                                   VILLE ST LAURENT QC H4N
CANADA                                                                                                               1M6 CANADA
OPPY, LAWRENCE E                    238 S COUNTY ROAD 200 W                                                                                    DANVILLE            IN   46122‐8297
OPRAH WINFRY LEADERSHIP ACADEMY     PO BOX 14565                                                                                               CHICAGO             IL   60693‐0001
FOUNDATION
OPRE, GEORGE                        179 EAGLE AVE                                                                                              SWARTZ CREEK       MI    48473‐1574
OPRE, HELEN M                       4486 SPRINGBROOK DR                                                                                        SWARTZ CREEK       MI    48473‐1485
OPRE, RALPH J                       PO BOX 624                                                                                                 CAMP VERDE         AZ    86322‐0624
OPREA, DOUGLAS L                    5349 BARNES RD                                                                                             MILLINGTON         MI    48746‐8709
OPRESNIK, MARIA                     1018 SPRING CT                                                                                             DARIEN             IL    60561‐5489
OPRIAN, JOHN W                      2022 S PLAZA DRIVE                                                                                         AKRON              OH    44319‐1316
OPRICAN, AUREL                      20483 CENTRALIA                                                                                            REDFORD            MI    48240‐1105
OPRINCA, VASILICA E                 2115 HILLCRESCENT DR                                                                                       TROY               MI    48085‐3643
OPRINDICK EDWARD                    9 W CHAPMAN ST                                                                                             PITTSTON           PA    18640‐9622
OPRIS, LARRY A                      29715 WESTBROOK AVE                                                                                        WARREN             MI    48092‐5430
OPRISU, EMIL A                      5727 HOLLISTER DR                                                                                          SPEEDWAY           IN    46224‐3036
OPRITA, DANIEL J                    13351 BALFOUR DR                                                                                           WARREN             MI    48088‐4787
OPRITA, DANIEL JOSEPH               13351 BALFOUR DR                                                                                           WARREN             MI    48088‐4787
OPRITZA, DENNIS J                   20 LAUREL HILLS LN                                                                                         CANFIELD           OH    44406‐7622
OPRY, NORMAN A                      200 STEVENSON DR                                                                                           MONROE             LA    71203‐2109
OPRYLAND HOT/NSHVILL                2800 OPRYLAND DR                                                                                           NASHVILLE          TN    37214‐1200
OPS A LA CARTE                      20151 GUAVA CT                                                                                             SARATOGA           CA    95070‐3138
OPSAHL, HILDEGARD M                 1926 PARKNOLL LN                                                                                           PORT WASHINGTON    WI    53074‐1175
OPSAHL, LENORE                      62 CHESNEY DR                                                                                              HENDERSON          NV    89074‐2705
OPSASNICK, HELEN E                  34225 VICEROY DRIVE                                                                                        STERLING HEIGHTS   MI    48310‐5265
OPSITNIK, WILLIAM G                 16 DEERINGWOOD DR                                                                                          NEW MIDDLETWN      OH    44442‐9417
OPSZYNSKI, RONALD                   9257 GRAYTRAX RD                                                                                           GRAND BLANC        MI    48439‐8004
OPT COLLECTOR,BARBARA A COATES
OPTECH INC                          PENOBSCOT BLDG                   645 GRISWOLD STE 2146                                                     DETROIT            MI    48226
OPTEK TECHNOLOGY INC                1645 WALLACE DR STE 130          ATTN PURCHASING                                                           CARROLLTON         TX    75006‐6697
OPTEK TECHNOLOGY INC                1645 WALLACE DR STE 130                                                                                    CARROLLTON         TX    75006‐6697
OPTI TEMP/TRAVRS CTY                PO BOX 5246                                                                                                TRAVERSE CITY      MI    49696‐5246
OPTICAL ENG/BX 696                  PO BOX 696                                                                                                 SANTA ROSA         CA    95402‐0696
OPTICAL GAG/ATLANTA                 C/O SCOTT MACHINE TOOL COMPANY   2780 BERT ADAMS ROAD                                                      ATLANTA            GA    30339
OPTICAL GAG/ROCHESTR                850 HUDSON AVE                                                                                             ROCHESTER          NY    14621‐4839
OPTICAL GAGING PRODUCTS INC         850 HUDSON AVE                                                                                             ROCHESTER          NY    14621‐4839
OPTICAL MEAS/MAD HTS                1900 E 14 MILE RD                                                                                          MADISON HEIGHTS    MI    48071‐1545
OPTIM ELEC/GERMNTOWN                12401 MIDDLEBROOK ROAD                                                                                     GERMANTOWN         MD    20874
OPTIMA USA INC                      PO BOX 615                                                                                                 ELM GROVE          WI    53122‐0615
OPTIMA USA INC                      PO BOX 615                       3680 N 126TH ST                                                           ELM GROVE          WI    53122‐0615
OPTIMAL COMPUTER AIDED ENGINEERING 14492 N SHELDON RD STE 300                                                                                  PLYMOUTH           MI    48170‐2493
INC
OPTIMAL COMPUTER AIDED ENGRG I      14492 N SHELDON RD STE 300                                                                                 PLYMOUTH            MI 48170‐2493
OPTIMAL COMPUTER AIDED ENGRG INC    14492 N SHELDON RD STE 300                                                                                 PLYMOUTH            MI 48170‐2493

OPTIMAL COMPUTER AIDED ENGRG INC.   14492 N SHELDON RD STE 300                                                                                 PLYMOUTH            MI 48170‐2493

OPTIMAL READINGS PRO                PO BOX 11407                                                                                               BIRMINGHAM          AL 35246‐0100
OPTIMAL REHAB INC                   PO BOX 4586                      OPTIMAL REHAB INC                                                         ONTARIO             CA 91761‐0821
OPTIMAL RESULTS LLC                 PO BOX 355                                                                                                 FLUSHING            MI 48433‐0355
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Name                                    Address1                             Address2                    Address3                    Address4             City               State Zip
OPTIMATION TECHNOLOGY                   50 HIGH TECH DR                                                                                                   RUSH                NY 14543‐9746
OPTIMATION TECHNOLOGY INC               50 HIGH TECH DR                                                                                                   RUSH                NY 14543‐9746
OPTIMAX KARL SIMSON                     SKARBLACKAVAGEN 15, ENSKEDE                                                                  STOCKHOLM 122 42
                                                                                                                                     SWEDEN
OPTIMUM INC                             2100 RUE DRUMMOND                                                                            MONTREAL CANADA PQ
                                                                                                                                     H3G 1X1 CANADA
OPTIMUM LOGISTICS INC                   PO BOX 7189                                                                                  WINDSOR ON N9C 3Z1
                                                                                                                                     CANADA
OPTIMUM SURGERY CENT                    5555 PEACHTREE DUNWOODY RD NE                                                                                     ATLANTA            GA   30342‐1772
OPTION CARE ATLANTA                     1442 PAYSPHERE CIR                                                                                                CHICAGO            IL   60674‐0014
OPTION CARE INC                         485 E HALF DAY RD STE 300                                                                                         BUFFALO GROVE      IL   60089‐8806
OPTION CARE TROY LLC DBA ACTIVE         ATTN: CORPORATE OFFICER/AUTHORIZED   25219 DEQUINDRE RD                                                           MADISON HEIGHTS    MI   48071‐4211
INFUSION                                AGENT
OPTION ONE                              2001 CENTERPOINT PKWY                                                                                             PONTIAC            MI 48341‐3114
OPTIONS FOR A BETTER LIVING             717 LINCOLN AVE                                                                                                   BEDFORD            IN 47421‐2124
OPTIONS PRICE REPORTING AUTHORITY       ATTN: JULIE MENTON                   400 S LA SALLE                                                               CHICAGO            IL 60605

OPTIPRO SYSTEMS INC                     6368 DEAN PKWY                                                                                                    ONTARIO            NY   14519‐8970
OPTIQUATICS                             PO BOX 2803                                                                                                       MALIBU             CA   90265‐7803
OPTIVIEW VISION CENTER                  1040 YOUNGSTOWN / WARREN ROAD                                                                                     NILES              OH   44446
OPTOMETRIC INSTITUTE & CLINIC           ATTN: BERNARD MILLER                 3044 W GRAND BLVD # L‐350                                                    DETROIT            MI   48202‐3142
OPTOMETRIC INSTITUTE & CLINIC OF        3044 W GRAND BLVD SUITE 1‐253                                                                                     DETROIT            MI   48202
DETROIT E BLIND PROGRAM
OPTRAND INC                             46155 FIVE MILE RD                                                                                                PLYMOUTH           MI 48170‐2424
OPTRON DE MEXICO                        MARY JOHNSON                         S.A. DE C.V.                RIO BRAVO INDUSTRIAL PARK                        PHARR              TX 78577

OPTRONIC LABORATORIES                   4632 36TH ST                                                                                                      ORLANDO            FL   32811‐6538
OPTRONIC LABORATORIES INC               4632 36TH ST                                                                                                      ORLANDO            FL   32811‐6538
OPULSKI, WANDA                          189 MAYBURY AVENUE                                                                                                STATEN ISLAND      NY   10308‐3049
OPUS 1 CRUISES                          PO BOX 725227                                                                                                     ATLANTA            GA   31139‐2227
OPUS BUILDING CORPORATION               300                                  1400 KENSINGTON RD NW                                   CALGARY AB T2N 3P9
                                                                                                                                     CANADA
OPUS CORPORATION                        ATTN: LAW DEPARTMENT                 10350 BREN RD W                                                              MINNETONKA         MN 55343‐9014
OPUS DEVELOPMENT CORPORATION            300                                  1400 KENSINGTON RD NW                                   CALGARY AB T2N 3P9
                                                                                                                                     CANADA
OPUS IMAGING                            PO BOX 3027                                                                                                       CYPRESS            CA 90630‐7027
OPUS NORTHWEST, L.L.C. AND AFFILIATES   MARK WALTER                          10350 BREN RD W                                                              MINNETONKA         MN 55343‐9014

OPUS SOUTH CORP                         4200 W CYPRESS ST STE 144                                                                                         TAMPA              FL   33607‐4170
OPUS SOUTH CORPORATION                  ATTN: LAW DEPARTMENT                 10350 BREN RD W                                                              MINNETONKA         MN   55343‐9014
OPUS SOUTH CORPORATION                  OPUS CORPORATION                     ATTN: LAW DEPARTMENT        10350 BREN RD W                                  MINNETONKA         MN   55343‐9014
OPUS SOUTH CORPORATION                  ATTN: DIRECTOR OF REAL ESTATE        825 N POINT PKWY STE 450                                                     ALPHARETTA         GA   30006‐5223
OPUSAK, TILLIE                          6337 17TH AVE N                                                                                                   ST PETERSBURG      FL   33710‐5513
OPYR, CURTIS J                          4527 ASCOT CT                                                                                                     OAKLAND TOWNSHIP   MI   48306‐4720
OPYT, JAKUB                             28938 JAMES DR                                                                                                    WARREN             MI   48092‐5617
OQUENDO JULIO                           OQUENDO, JULIO                       16 COEYMAN                                                                   NEWARK             NJ   07104
OQUENDO, CRUZ                           613 N COLONY RD                      2ND FLOOR                                                                    MERIDEN            CT   06451
OQUENDO, CRUZ                           305 COOK AVE                                                                                                      MERIDEN            CT   06451‐6257
OQUENDO, JULIA R.                       3707 TEAKWOOD CT                                                                                                  HEPHZIBAH          GA   30815‐6002
OQUENDO, JULIA R.                       8216 ROYAL SAND CIRCL                APT 105                                                                      TAMPA              FL   33615
OQUINN EDDIE (627650)                   HESSION JAMES                        200 S SAGINAW ST                                                             SAINT CHARLES      MI   48655‐1400
OQUINN LAMINACK & PIRTLE
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OQUINN, CHARLES O      320 W MILL ST                                                                            OSCODA              MI 48750‐1330
OQUINN, EARNEST        8680 PLESANTPLAIN RD.                                                                    BROOKVILLE          OH 45309‐9215
OQUINN, EARNEST        8680 PLEASANT PLAIN RD                                                                   BROOKVILLE          OH 45309‐9215
OQUINN, EDDIE          HESSION JAMES                      200 S SAGINAW ST                                      SAINT CHARLES       MI 48655‐1400
OQUINN, EDNA G         1150 WESTWOOD DR                                                                         SIDNEY              OH 45365‐8975
OQUINNIE K ROBERTSON   5112 BALLARD DRIVE                                                                       DAYTON              OH 45418‐2022
OQUIST, HAROLD E       9144 LOUISVILLE RD                                                                       BOWLING GREEN       KY 42101‐8414
OQUIST, HAROLD ELTON   9144 LOUISVILLE RD                                                                       BOWLING GREEN       KY 42101‐8414
OR MOR                 345 S MANSFIELD AVE                                                                      LOS ANGELES         CA 90036‐3058
ORA A MCLEAN           3028 TIMBERLINE DR                                                                       FORT WORTH          TX 76119‐4738
ORA ACORD              3461 SAINT MARYS RD                                                                      WEST TERRE HAUTE    IN 47885
ORA ALLMOND            70 FRIENDSHIP LN                                                                         HAZARD              KY 41701‐7829
ORA ARNETT             5080 E STATE ROUTE 571                                                                   TIPP CITY           OH 45371‐8326
ORA B WOOLUMS          6456 W FRANWOOD CIRCLE                                                                   YORKTOWN            IN 47396
ORA BAUGH              1127 CONGRESS AVE                                                                        INDIANAPOLIS        IN 46208‐4853
ORA BELL               3755 ALLERTON PL APT H                                                                   INDIANAPOLIS        IN 46226‐6189
ORA BELLE HAYES        1027 GRAYSTONE DR                                                                        DAYTON              OH 45417‐8238
ORA BODIFORD           161 CHEROKEE HOUSE RD                                                                    RUTLEDGE            AL 36071‐3118
ORA BOLAN              945 CANTERBURY DR                                                                        PONTIAC             MI 48341‐2333
ORA BONDS              APT 417                            1213 LONG MEADOWS DRIVE                               LYNCHBURG           VA 24502‐5246
ORA BRADY              4004 S SCATTERFIELD RD                                                                   ANDERSON            IN 46013‐2625
ORA BREESE             329 CENTRAL AVE                                                                          LAPEL               IN 46051‐9662
ORA BROWN              4616 TARA WAY                                                                            DAYTON              OH 45426‐2127
ORA BROWNE             441 N JEFFERSON AVE                                                                      SAGINAW             MI 48607‐1349
ORA BUFORD             1310 BUNCHE AVE                                                                          GREENWOOD           SC 29646‐3003
ORA CALHOUN            207 CHANTICLEER TRL                                                                      LANSING             MI 48917‐3008
ORA CLAXTON            7483 S ROUNDHOUSE RD                                                                     SWARTZ CREEK        MI 48473‐1419
ORA CLEMONS            1345 IRON GATE BLVD                                                                      JONESBORO           GA 30238‐6521
ORA COBBLE             2205 MEADOW WAY                                                                          ANDERSON            IN 46012‐9452
ORA COOK               869 SCOTTSWOOD RD                                                                        DAYTON              OH 45427‐2239
ORA CURLEE             18033 ANNOTT ST                                                                          DETROIT             MI 48205‐2601
ORA D ALLMOND          70 FRIENDSHIP LANE                                                                       HAZARD              KY 41701‐7829
ORA D CALHOUN          207 CHANTICLEER TRL                                                                      LANSING             MI 48917‐3008
ORA D EGESTON          17379 EAST 12 MILE ROAD                                                                  ROSEVILLE           MI 48066‐2427
ORA D ESHAM JR         4141 ADDISON RD                                                                          JONESVILLE          MI 49250‐9782
ORA DAY                3145 ERIC LN                                                                             HAMILTON            OH 45011‐9581
ORA DIBRELL            1111 SEARS ST                                                                            SAGINAW             MI 48601‐1053
ORA DICKEY             42666 POSTIFF AVE APT 93                                                                 PLYMOUTH            MI 48170‐4156
ORA DIERICKS           17232 ROBERTS DR                                                                         DAVISBURG           MI 48350‐1118
ORA DOUGLAS            19549 LYNDON ST                                                                          DETROIT             MI 48223‐2141
ORA DURHAM             32344 HIGHWAY 18                                                                         UTICA               MS 39175‐9621
ORA EARNEST            2321 BROOKSIDE DR                                                                        FLINT               MI 48503‐2804
ORA EDWARDS            1519 W 20TH ST                                                                           ANDERSON            IN 46016‐3815
ORA EGESTON            17379 E 12 MILE RD                                                                       ROSEVILLE           MI 48066‐2427
ORA EGGERT             1612 EASON                                                                               WATERFORD           MI 48328‐1168
ORA ESHAM JR           4141 ADDISON RD                                                                          JONESVILLE          MI 49250‐9782
ORA EVANS              4004 SLEEPY HOLLOW RD                                                                    BRUNSWICK           OH 44212‐4042
ORA FARMER             7921 STAFFORD DR                                                                         SAGINAW             MI 48609‐4269
ORA GIPSON             3424 BRIMFIELD DR                                                                        FLINT               MI 48503‐2919
ORA GRAVES             2913 DAVID LN                                                                            ARLINGTON           TX 76013‐2027
ORA H KOETTER          5840 LYNCH LN                                                                            MIDDLETOWN          OH 45044‐9774
ORA HAGER              1215 LEMPI DR                                                                            DAVISON             MI 48423‐2885
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Name                   Address1                     Address2              Address3       Address4         City              State Zip
ORA HAMILTON           182 TIMMERMAN RD                                                                   MANSFIELD          OH 44903‐8976
ORA HANDLEY            509 E AUSTIN AVE                                                                   FLINT              MI 48505‐2823
ORA HARE ‐ LEWIS       23140 BEVERLY ST                                                                   OAK PARK           MI 48237‐2499
ORA HART               5227 RED BIRD LN                                                                   HAMILTON           OH 45011‐2020
ORA HATHORN            631 FRANKLIN RD                                                                    PONTIAC            MI 48341‐2641
ORA HAYES              1027 GRAYSTONE DR                                                                  DAYTON             OH 45427‐2138
ORA HENSLEE            1289 HATCH RD                                                                      OKEMOS             MI 48864‐3409
ORA HINES              2557 VAN DYKE ST                                                                   DETROIT            MI 48214‐4904
ORA HOLLARS            5816 BLISSFIELD CT                                                                 FORT WAYNE         IN 46818‐1602
ORA HOOKER             4417 N AUDUBON RD                                                                  INDIANAPOLIS       IN 46226‐3322
ORA HOWARD             PO BOX 348                                                                         GORDONVILLE        TX 76245‐0348
ORA HUGHES             230 ELRUTH CT APT 88                                                               GIRARD             OH 44420
ORA HUMPHREY           17 SHERMAN ST                                                                      DAYTON             OH 45403‐2531
ORA HUNLEY             8551 BRIDGE LAKE RD                                                                CLARKSTON          MI 48348‐2560
ORA IMEL               2642 E 150 S                 C/O JEAN E. EHRHART                                   ANDERSON           IN 46017‐9586
ORA J MAYO             4522 DAYVIEW AVENUE                                                                DAYTON             OH 45417‐1333
ORA JACK               5025 MICHAEL ST                                                                    ANDERSON           IN 46013‐1346
ORA JAENICKE           4411 WILLOW DR                                                                     KOKOMO             IN 46901‐6446
ORA JOHNSON            4573 POINTE AUX PEAUX                                                              NEWPORT            MI 48166‐9519
ORA JONES              1932 S OUTER DR                                                                    SAGINAW            MI 48601‐6638
ORA KAZEE              MOTLEY RICE LLC              28 BRIDGESIDE BLVD    PO BOX 1792                     MT PLEASANT        SC 29465
ORA KEYS               8540 N CLIO RD                                                                     MOUNT MORRIS       MI 48458‐8214
ORA KINSER             813 MAPLE LANE                                                                     MADISONVILLE       TN 37354‐1295
ORA KOETTER            5840 LYNCH LN                                                                      MIDDLETOWN         OH 45044‐9774
ORA L BROWN            4616 TARA‐WAY                                                                      DAYTON             OH 45426‐2127
ORA L PATTEN           5912 SUSAN ST                                                                      FLINT              MI 48505‐2576
ORA L PUCKETT          477 SUGAR CAMP RD.                                                                 BARBOURVILLE       KY 40906‐7560
ORA L WILKINS          1820 HUSEN RD                                                                      SAGINAW            MI 48601‐9733
ORA LAFFIN             LOT 37                       708 SOUTH CORY LANE                                   BLOOMINGTON        IN 47403‐2008
ORA LEE OLLIE          12374 CLOVERLAND                                                                   DETROIT            MI 48204
ORA LEWIS              4 AUTUMN LN                                                                        EWING              NJ 08638‐2318
ORA LOER               13737 CHICKENBRISTLE RD                                                            FARMERSVILLE       OH 45325‐9256
ORA MAEPARKS VEASLEY   2316 THOMAS BLVD                                                                   PORT ARTHUR        TX 77640‐5639
ORA MAITLAND           7442 LAKE RD                                                                       MILLINGTON         MI 48746‐9237
ORA MANN               4936 COULSON DR                                                                    DAYTON             OH 45418‐1960
ORA MAPLEY             3617 S ADAMS RD APT 206                                                            ROCHESTER HILLS    MI 48309‐4738
ORA MATTHEWS           1460 LOVEDAY LN                                                                    SEVIERVILLE        TN 37876‐0760
ORA MC INTOSH          8225 FREEMAN AVE                                                                   KANSAS CITY        KS 66112‐1766
ORA MCLEAN             3028 TIMBERLINE DR                                                                 FORT WORTH         TX 76119‐4738
ORA MCMURTREY          6146 BERMUDA LN                                                                    MOUNT MORRIS       MI 48458‐2623
ORA MEANS              3734 N PARK AVE                                                                    INDIANAPOLIS       IN 46205‐3520
ORA MILLIKAN           1071 JOANGAY BLVD                                                                  WATERFORD          MI 48327‐2444
ORA MITTS              4188 NORTH HERRINGTON ROAD                                                         WEBBERVILLE        MI 48892‐8704
ORA MIZE               126 MALLARD CIR                                                                    SOMERSET           KY 42503‐6302
ORA MOORE              2318 MORTON ST                                                                     ANDERSON           IN 46016‐5069
ORA MUDGET             1400 NORTH SMITH ROAD                                                              OWOSSO             MI 48867‐9392
ORA MURDOCK            3041 EAST 400 SOUTH                                                                ANDERSON           IN 46017‐9730
ORA NORRIS             3107 LILLIAN CT                                                                    MARION             IN 46953‐3427
ORA PAGE               3215 NORMA CT                                                                      FORT WAYNE         IN 46806‐2625
ORA PARSON             8764 E ALMOND ST                                                                   TUCSON             AZ 85730‐4810
ORA PATRICK            1942 HOLLYWOOD AVE                                                                 SHREVEPORT         LA 71108‐4020
ORA PATTEN             5912 SUSAN ST                                                                      FLINT              MI 48505‐2576
                    09-50026-mg            Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                Address1                       Address2            Address3         Address4         City               State Zip
ORA PHILLIPS        15541 CHEQUER DR                                                                     CHESTERFIELD        MO 63017‐5102
ORA PICKETT         2744 ASHBURY LN                                                                      CANTONMENT          FL 32533‐6626
ORA PIERCE          2462 LAKE HELEN OSTEEM RD                                                            DELTONA             FL 39738‐2418
ORA PRICE           26840 W DAVISON                                                                      REDFORD             MI 48239‐2707
ORA REED            174 DAWSON COURT                                                                     WESTLAND            MI 48186‐8636
ORA REED JR         1221 WATERMAN ST                                                                     DETROIT             MI 48209‐2257
ORA RIGGINS         1435 HOCHWALT AVE                                                                    DAYTON              OH 45408‐1823
ORA RIGGINS         23080 MARLOW ST                                                                      OAK PARK            MI 48237‐2417
ORA RIST            8223 DAVID LEE LN                                                                    CHARLOTTE           NC 28227‐5708
ORA ROBERTSON       1873 STONEBRIDGE WAY                                                                 CANTON              MI 48188‐6229
ORA ROOT            4251 GENEVA RD                                                                       SAINT LOUIS         MI 48880‐9337
ORA ROWE            720 MARTIN LUTHER KING JR DR                                                         JEFFERSON           GA 30549‐1374
ORA S SCHAFFER      1692 BEAVER RIDGE DR.                                                                KETTERING           OH 45429
ORA SCHEERER        14502 W WINDCREST DR                                                                 SUN CITY WEST       AZ 85375‐5918
ORA SHAFFER         903 LAWNDALE AVE                                                                     TILTON               IL 61833‐7967
ORA SHOEMAKER       1439 W RIDGEVIEW DR                                                                  LAPEER              MI 48446‐1458
ORA SHUCK           1924 FLETCHER ST                                                                     ANDERSON            IN 46016‐4425
ORA SIMCOX          23187 SIMCOX DR                                                                      BRISTOL             VA 24202‐4835
ORA SIMONDS         1620 W 13TH ST                                                                       ANDERSON            IN 46016‐3200
ORA SMITH           459 COUNTY ROAD 170                                                                  MOULTON             AL 35650‐6536
ORA SPARKS          3104 JUDY DR                                                                         MIDDLETOWN          OH 45044‐7533
ORA STOVER          2181 VANDYKE GREENSPRING RD                                                          SMYRNA              DE 19977‐9402
ORA STUDEBAKER      206 N ELM DR                                                                         ALEXANDRIA          IN 46001‐1029
ORA SUMMERFIELD     5160 BRUNSWICK DR                                                                    VIENNA              OH 44473‐9626
ORA SWANK           12 CLAYPOOL DR                                                                       MOUNT VERNON        OH 43050‐3804
ORA SWINFORD        PO BOX 456                                                                           DALEVILLE           IN 47334‐0456
ORA SWINNEY         14642 KENTUCKY ST                                                                    DETROIT             MI 48238‐1775
ORA SYMS            4643 KORTE AVE                                                                       SAINT LOUIS         MO 63115‐2532
ORA T CLAXTON       7483 S ROUNDHOUSE RD                                                                 SWARTZ CREEK        MI 48473‐1419
ORA TAYLOR          118 W DAYTON ST                                                                      FLINT               MI 48505‐4107
ORA TRIPLETT        5114 W CONGRESS PKWY                                                                 CHICAGO              IL 60644‐4818
ORA TUCKER          210 BENNETT RD                                                                       ROCKMART            GA 30153‐3120
ORA V SHAFFER       903 LAWNDALE AVE                                                                     TILTON               IL 61833‐7967
ORA VANOVER         409 GILDONA DR                                                                       SANDUSKY            OH 44870‐5749
ORA WALL            PO BOX 204                                                                           WENTZVILLE          MO 63385‐0204
ORA WILCOX          7458                           LEADALE                                               NORMANDY            MO 63121
ORA WILKINS         1820 HUSEN RD                                                                        SAGINAW             MI 48601‐9733
ORA WILLIAMS        P O B0X26153                                                                         LANSING             MI 48909
ORA WILLIAMS        3308 INGHAM ST                                                                       LANSING             MI 48911‐1833
ORA WILSON          1124 BARRINGTON DR                                                                   FLINT               MI 48503‐2949
ORA WOODS           11158 N ELMS RD                                                                      CLIO                MI 48420‐9447
ORA WOODSON         62990 E 281 RD                                                                       GROVE               OK 74344‐7765
ORA WRIGHT          1804 WINDWOOD DR                                                                     BEDFORD             IN 47421‐3944
ORABELLE J NEFF     5450 LOU IDA BLVD                                                                    YOUNGSTOWN          OH 44515
ORABELLE MCDUFFEE   408 ENCHANTED DR                                                                     ANDERSON            IN 46013‐1073
ORABELLE NEFF       457 S EDGEHILL AVE                                                                   YOUNGSTOWN          OH 44515‐3402
ORABONE, JANICE D   1011 LAUREL VALLEY DR                                                                NEW BERN            NC 28562‐2935
ORACIO GARZA        413 S INTERNATIONAL BLVD                                                             HIDALGO             TX 78557‐2910
ORACLE              500 ORACLE PARKWAY                                                                   REDWOOD CITY        CA 94065
ORACLE              500 ORACLE PKWY                                                                      REDWOOD CITY        CA 94065‐1675
ORACLE CORP         PO BOX 71028                                                                         CHICAGO              IL 60694‐1028
ORACLE CORP         12320 ORACLE BLVD                                                                    COLORADO SPRINGS    CO 80921‐3660
                          09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                      Address1                        Address2                    Address3       Address4         City               State Zip
ORACLE CORP               3290 W BIG BEAVER RD STE 300                                                                TROY                MI 48084‐2910
ORACLE CORP
ORACLE CORP               10 TWIN DOLPHIN DR                                                                          REDWOOD CITY       CA   94065‐1035
ORACLE CORP               1001 SUNSET BLVD                                                                            ROCKLIN            CA   95765‐3702
ORACLE CORP               1910 ORACLE WAY                                                                             RESTON             VA   20190‐4733
ORACLE CORP               ATTN: VP, LEGAL AFFAIRS         2207 BRIDGEPOINTE PARKWAY                                   FOSTER CITY        CA   94404
ORACLE CORP/TROY          3290 W BIG BEAVER RD STE 300                                                                TROY               MI   48084‐2910
ORACLE CORPORATION
ORACLE CORPORATION        ATTN: GENERAL COUNSEL           500 ORACLE PARKWAY                                          REDWOOD CITY       CA   94065
ORACLE CORPORATION        10 TWIN DOLPHIN DR                                                                          REDWOOD CITY       CA   94065‐1035
ORACLE CORPORATION        500 ORACLE PKWY                                                                             REDWOOD CITY       CA   94065‐1675
ORACLE CORPORATION        ATTN: GENERAL COUNSEL           500 ORACLE PKWY                                             REDWOOD CITY       CA   94065‐1675
ORACLE CORPORATION        NOT AVAILABLE
ORACLE USA INC            5450 GREAT AMERICA PKWY                                                                     SANTA CLARA        CA   95054‐3644
ORACLE USA INC            1001 SUNSET BLVD                                                                            ROCKLIN            CA   95765‐3702
ORACLE USA INC            PO BOX 71028                                                                                CHICAGO            IL   60694‐1028
ORACLE USA, INC.          1001 SUNSET BLVD                                                                            ROCKLIN            CA   95765‐3702
ORACLE USA, INC.          1910 ORACLE WAY                                                                             RESTON             VA   20190‐4735
ORACLE/LOS ANGELES        2034 COTNER AVENUE                                                                          LOS ANGELES        CA   90025
ORACZ, VIOLET L           2153 WEALTHY ST SE                                                                          GRAND RAPIDS       MI   49505‐2033
ORACZEWSKI, LORRAINE P    120 SONGBIRD LN                                                                             FARMINGTON         CT   06032‐3431
ORADEE WILLIAMS           5335 BUTTERNUT TREE COURT                                                                   FLINT              MI   48532‐3302
ORADENE FORDHAM           2526 GLENDALE ST                                                                            DETROIT            MI   48238‐3585
ORAHOOD, WESLEY L         6201 VALLEY CREST DR                                                                        BAKERSFIELD        CA   93308‐6553
ORAK, EDWARD R            216 LIBERTY ST                                                                              FORDS              NJ   08863‐1816
ORAKNOWLEDGE INC          381 CORBIN CT                                                                               LAKEWOOD           NJ   08701‐7450
ORAL ANDERSON             PO BOX 216                                                                                  SHERIDAN           IN   46069‐0216
ORAL BEARD                7844 CROSSGATE LN                                                                           SOUTHPORT          IN   46227‐5882
ORAL BRANDON              5724 RICHWOOD ST APT 98                                                                     LANSING            MI   48911‐5290
ORAL BRUSH                1644 LIESL CT                                                                               LAWRENCEBURG       IN   47025‐9211
ORAL ELLIOTT              4917 SINCLAIR LN                                                                            BALTIMORE          MD   21206‐6939
ORAL J MACCOMBS           102 NORTH ST                                                                                HOLLY              MI   48442‐1209
ORAL JOHNSON              12449 BERNIE LN                                                                             MARYLAND HTS       MO   63043‐2949
ORAL JONES JR             7112 POPPLEWOOD DR                                                                          DAVISON            MI   48423‐9519
ORAL MACCOMBS             102 NORTH ST                                                                                HOLLY              MI   48442‐1209
ORAL ROBERTS UNIVERSITY   ATTN STUDENT ACCOUNTS           PO BOX 700895                                               TULSA              OK   74170‐0895
ORAL ROBERTS UNIVERSITY   ATTN STUDENTS ACCOUNTS          PO BOX 700895                                               TULSA              OK   74170‐0895
ORAL WATKINS              15110 LAKETON AVE                                                                           RAVENNA            MI   49451‐9714
ORAL WILLIAM MILLER       MOTLEY RICE LLC                 28 BRIDGESIDE BLVD          P O BOX 1792                    MT PLEASANT        SC   29465
ORAL, HAMID A             48514 CASTLESIDE DR                                                                         CANTON             MI   48187‐1250
ORALEE LOVE               4307 E COURT ST                                                                             BURTON             MI   48509‐1815
ORALEEN ODOM              21307 ITHACA AVE                                                                            FERNDALE           MI   48220‐2156
ORALIA GONZALES           1814 MONTANA AVENUE                                                                         FLINT              MI   48506‐4646
ORALIA GUZMAN             21641 HOLLY ST                                                                              CLINTON TOWNSHIP   MI   48035‐1735
ORALIA MARTINEZ           30 GARDENIA DR                                                                              DYER               IN   46311‐1376
ORALIE A SMITH            PO BOX 87                                                                                   DEWITT             MI   48820‐0087
ORALIE SMITH              PO BOX 87                                                                                   DEWITT             MI   48820
ORAM, ANDREW D            2014 BIG OAK DR                                                                             SPRING HILL        TN   37174‐2588
ORAM, CHARLES A           19810 DEERING ST                                                                            LIVONIA            MI   48152‐2508
ORAM, CRAIG T             14 CONCORD ST                                                                               CRANFORD           NJ   07016‐2704
ORAM, DANIEL J            11635 ROBINWOOD BLVD                                                                        WARREN             MI   48093‐3067
ORAM, DORIS               14 CONCORD ST                                                                               CRANFORD           NJ   07016‐2704
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Name                                Address1                         Address2                   Address3       Address4         City              State Zip
ORAM, DORIS                         14 CONCORD STREET                                                                           CRANFORD           NJ 07016‐2704
ORAM, EARL D                        1217 KNICKERBOCKER AVE                                                                      FLINT              MI 48505‐1434
ORAM, RICHARD L                     1710 ARLINGTON AVE                                                                          FLINT              MI 48506‐3786
ORAMEL A BURNHAM                    1195 HEISTER RD NW                                                                          LANCASTER          OH 43130‐8340
ORAMEL BURNHAM                      1195 HEISTER RD NW                                                                          LANCASTER          OH 43130‐8340
ORAN CLARK                          2405 HUMBOLDT AVE                                                                           FLINT              MI 48504‐5104
ORAN JOHNSON                        100 PALOMINO CT                                                                             CRESSON            TX 76035‐5854
ORAN JONES                          861 QUINCY RD                                                                               QUINCY             IN 47456‐8601
ORAN JR, C K                        3487 OAK KNOLL DR                                                                           BRIGHTON           MI 48114‐4906
ORAN JR, C KENNETH                  3487 OAK KNOLL DR                                                                           BRIGHTON           MI 48114‐4906
ORAN LAWSON                         7761 TODD ST                                                                                CORBIN             KY 40701‐8629
ORAN LIVINGSTON                     575 MAC BETH DR                                                                             AVON               IN 46123‐8462
ORAN P BAUMGARDNER                  NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT   205 LINDA DR                    DAINGERFIELD       TX 75638
ORAN REESMAN                        3252 NILES CARVER RD                                                                        MC DONALD          OH 44437‐1225
ORAN ROBBINS                        PO BOX 47                                                                                   BUNKER HILL        IN 46914‐0047
ORAN ROWLAND                        1427 LASCERNE CIR S                                                                         MANSFIELD          OH 44906‐2713
ORAN SKINNER JR                     6210 S 425 W                                                                                PENDLETON          IN 46064‐9619
ORAN SPARKS                         471 TERRACE CT                                                                              KALAMAZOO          MI 49001‐2973
ORAN, JANE                          1387 MIRANDY DR                                                                             SAINT LOUIS        MO 53146‐5449
ORAN, VIRGINIA M                    6300 N PALM AVE APT 118                                                                     FRESNO             CA 93704‐1472
ORANA WALLACE                       1367 IVES AVE                                                                               BURTON             MI 48509‐1530
ORANDE BIANCHI                      14 S CALCITE DR                                                                             TUCSON             AZ 85745
ORANGE BUICK GMC
ORANGE BUICK PONTIAC GMC            3883 W COLONIAL DR                                                                          ORLANDO           FL   32808‐7929
ORANGE COAST COLLEGE                2701 FAIRVIEW RD                                                                            COSTA MESA        CA   92626‐5563
ORANGE COAST MEDICAL                PO BOX 1115                                                                                 WESTMINSTER       CA   92684‐1115
ORANGE COAST MEM MED                9920 TALBERT AVE                 PO BOX 99                                                  FOUNTAIN VALLEY   CA   92708‐5153
ORANGE COAST ORTHOPEDICS & SPORTS   PO BOX 28450                                                                                SANTA ANA         CA   92799‐8450
MEDICAL ASS
ORANGE COUNTY                       PO BOX 1438                                                                                 SANTA ANA         CA   92702‐1438
ORANGE COUNTY AUTO SHOW             C/O MOTOR TREND AUTO SHOWS INC   6405 FLANK DR                                              HARRISBURG        PA   17112
ORANGE COUNTY CHOPPERS              14 CROSSROAD CT                                                                             NEWBURCH          NY   12550‐5064
ORANGE COUNTY COLLECTOR             PO BOX 1568                                                                                 ORANGE            TX   77631‐1568
ORANGE COUNTY COMMUNITY COLLEGE     115 SOUTH ST                     BURSAR OFFICE                                              MIDDLETOWN        NY   10940‐6404

ORANGE COUNTY CONVENTION CNTR       9800 INTERNATIONAL DR                                                                       ORLANDO           FL 32819‐8111
ORANGE COUNTY FIRE AUTHORITY                                         1 FIRE AUTHORITY RD                                                          CA 92602
ORANGE COUNTY FLEET MANAGEMENT                                       4400 S VINELAND RD                                                           FL 32811

ORANGE COUNTY FLEET MANAGMENT       4400 VINELAND RD                                                                            ORLANDO           FL   32811‐7334
ORANGE COUNTY FLEET MANGMT          4400 VINELAND RD                                                                            ORLANDO           FL   32811‐7334
ORANGE COUNTY MARSHAL               ACCT OF ROXANNE D MOORE          4601 JAMBOREE RD STE 108                                   NEWPORT BEACH     CA   92660‐2527
ORANGE COUNTY SHERIFF'S DEPT.                                        2200 W COLONIAL DR                                                           FL   32804
ORANGE COUNTY TAX COLLECTOR         PO BOX 580453                                                                               CHARLOTTE         NC   28258‐0453
ORANGE COUNTY TAX COLLECTOR         PO BOX 2551                                                                                 ORLANDO           FL   32802‐2551
ORANGE COUNTY TAX COLLECTOR         PO BOX 1980                                                                                 SANTA ANA         CA   92702‐1980
ORANGE COUNTY TAX COLLECTOR         PO BOX 1982                                                                                 SANTA ANA         CA   92702‐1982
ORANGE COUNTY TREASURER             205 E MAIN ST STE 2                                                                         PAOLI             IN   47454‐1542
ORANGE COUNTY TREASURER             PO BOX 469                                                                                  ORANGE            VA   22960‐0276
ORANGE COUNTY TREASURER ‐ TAX       CHRISS W STREET                  ATTN: BANKRUPTCY UNIT      PO BOX 1438                     SANTA ANA         CA   92702‐1438
COLLECTOR
                                09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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ORANGE COUNTY TREASURER‐TAX     ATTN: BANKRUPTCY UNIT                 PO BOX 1438                                                                      SANTA ANA             CA 92702
COLLECTOR
ORANGE CTY MARSHAL HARBOR DIV   ACCT OF BILL URIETA                    4601 JAMBOREE RD STE 108                                                        NEWPORT BEACH        CA    92660‐2527
ORANGE CTY MARSHAL HARBOR DIV   ACCT OF LEAH GLENN                     4601 JAMBOREE RD STE 108                                                        NEWPORT BEACH        CA    92660‐2527
ORANGE CTY MARSHAL NORTH DIV    ACCT OF PETER L ALVAREZ                1275 NORTH BERKELEY RM 360                                                      FULLERTON            CA    92832
ORANGE CTY TAX COLLECTOR        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 2551                                                                     ORLANDO              FL    32802‐2551

ORANGE CTY TAX COLLECTOR        PO BOX 2551                                                                                                            ORLANDO              FL    32802‐2551
ORANGE ENVIRONMENT              PO BOX 25                                                                                                              GOSHEN               NY    10924‐0025
ORANGE FASHION PARK             C\O ARCO MANAGEMENT CORP              1263 S MAIN ST                                                                   CHESHIRE             CT    06410‐3422
ORANGE HUDSON JR                6553 CROWNPOINTE DR SW                                                                                                 BYRON CENTER         MI    49315‐8210
ORANGE RESEARCH INC             140 CASCADE BLVD                                                                                                       MILFORD              CT    06460‐2868
ORANGE SR, OSCAR W              PO BOX 311                                                                                                             INKSTER              MI    48141‐0311
ORANGE UNIFIED SCHOOL DIST.                                           726 W COLLINS AVE                                                                                     CA    92867
ORANGE, A D                     5400 SHATTUCK RD                                                                                                       SAGINAW              MI    48603‐2855
ORANGE, CAROL A                 789 SHIRL DRIVE                                                                                                        TIPP CITY            OH    45371‐2141
ORANGE, CHARLES H               PO BOX 1560                                                                                                            PINEVILLE            WV    24874‐1560
ORANGE, EDGAR W                 637 W 91ST ST                                                                                                          LOS ANGELES          CA    90044‐5728
ORANGE, GARY D                  2870 STONEQUARRY RD                                                                                                    DAYTON               OH    45414‐1414
ORANGE, IVAH T                  27221 CARLYSLE ST                                                                                                      INKSTER              MI    48141‐2555
ORANGE, JENNIE                  88 PENN RD                                                                                                             JEANNETTE            PA    15644
ORANGE, JOHN D                  7646 EAKER CT                                                                                                          BROWNSBURG           IN    46112‐8433
ORANGE, JOHN L                  4743 IRONWOOD ST                                                                                                       SAGINAW              MI    48638‐4511
ORANGE, LAWRENCE W              4947 DEBORAH ST                                                                                                        INDIANAPOLIS         IN    46224‐2470
ORANGE, RITA C                  1408 SW STONECREEK DR                                                                                                  BLUE SPRINGS         MO    64015‐8838
ORANGE, SAMUEL G                115 MOORE ST                                                                                                           SPRINGHILL           LA    71075‐3921
ORANGE, TOMMIE                  1314 ESSLING ST                                                                                                        SAGINAW              MI    48601‐1332
ORANGE, WANDA J                 1935 MCCLEARY RD                                                                                                       SERIERVILLE          TN    37876
ORANGEBURG COUNTY TREASURER     PO BOX 9000                                                                                                            ORANGEBURG           SC    29116
ORANGERS RICHARD                ORANGERS, RICHARD                     117 WILMINGTON PIKE, SUITE 200                                                   GLEN MILLS           PA    19342

ORANGERS, RICHARD               POWER & ASSOCIATES, P.C., ATTORNEYS   117 WILMINGTON PIKE, SUITE 200                                                   GLEN MILLS           PA 19342
                                AT LAW
ORANGEVILLE AUTOPRO             R.R. # 2                                                                                      ORANGEVILLE ON L9W 2Y9
                                                                                                                              CANADA
ORANGIE HUBBARD                 4027 WESTWOOD NORTHERN BLVD                                                                                            CINCINNATI           OH    45211‐2441
ORANGIE JOHNSON                 1413 S 11TH AVE                                                                                                        MAYWOOD              IL    60153‐1961
ORANGLE COLE                    THE MADEKSHO LAW FIRM                 8866 GULF FREEWAY SUITE 440                                                      HOUSTON              TX    77017
ORAPELLO, JOSEPH                WILENTZ GOLDMAN & SPITZER             88 PINE STREET, WALL STREET PLAZA                                                NEW YORK             NY    10005

ORAPHINE STOVALL                3923 DR MARTIN LUTHER KING JR BLVD                                                                                     ANDERSON              IN   46013‐2304
ORAPIN WILSON                   PRACETA DO ATLANTICO, LOTE 4          CASAL VALE DE ADARES                LOURINHA 2530‐086   PORTUGAL                 LOURINHA                   2530‐
ORASCHIN PAMELA                 ORASCHIN, PAMELA                      1259 ROUTE 46                                                                    PARSIPPANY           NJ    07054
ORASCHIN, PAMELA                GUTMAN HOWARD A                       10 ROOSEVELT RD                                                                  WHITEHOUSE STATION   NJ    08889
ORASCO, NANCY                   1500 ROCK RUN DR                      1A                                                                               CREST HILL           IL    60403
ORASCO, PHILIP J                1706 DEVONSHIRE LN                                                                                                     SHOREWOOD            IL    60404‐8177
ORASCO, RAYMOND C               526 SPRINGWOOD DR                                                                                                      JOLIET               IL    60431‐0647
ORASCO, STEVE                   16 CENTER ST                                                                                                           OXFORD               MI    48371‐4615
ORAVA, JACK                     927 BLOOMFIELD KNOLL DR                                                                                                BLOOMFIELD HILLS     MI    48304‐2015
ORAVEC CLIFFORD                 ORAVEC, CLIFFORD                      1801 E 9TH ST STE 1710                                                           CLEVELAND            OH    44114‐3198
ORAVEC CLIFFORD                 ORAVEC, REGINA                        1801 E 9TH ST STE 1710                                                           CLEVELAND            OH    44114‐3198
ORAVEC CONSTANCE                40826 NEWPORT DRIVE                                                                                                    PLYMOUTH             MI    48170‐4746
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Name                                   Address1                         Address2                        Address3                  Address4              City            State Zip
ORAVEC, CONSTANCE L                    40826 NEWPORT DRIVE                                                                                              PLYMOUTH         MI 48170‐4746
ORAVETS, JASON W                       1338 CAVALCADE DR                                                                                                AUSTINTOWN       OH 44515‐3844
ORAVETS, JOHN J                        4854 DARBYSHIRE CT                                                                                               CANFIELD         OH 44406‐9230
ORAVETS, JOHN J                        1338 CAVALCADE DR                                                                                                YOUNGSTOWN       OH 44515‐3844
ORAVETZ, JAMES E                       16653 CREEK VALLEY LN                                                                                            NEWALLA          OK 74857‐1208
ORAVETZ, WILLIAM K                     111 PHILLIPS DR                                                                                                  CARDWELL         MO 63829‐7175
ORAVSKY, VIOLA K                       173 OVERLOOK COURT                                                                                               WOODBRIDGE       NJ 07095‐1454
ORAZEN, DAVID                          2869 WICKLIFFE RD                                                                                                COLUMBUS         OH 43221‐1732
ORAZIO ARCIDIACONO                     1004 GRAY ST                                                                                                     NEW CASTLE       DE 19720‐6746
ORAZIO DIREZZE                         11254 HANOVER DR                                                                                                 WARREN           MI 48093‐5593
ORAZIO NASTASI                         STRADA ORTANA 21                                                                           01100 VITERBO ITALY
ORAZIO NASTASI                         STRADA ORTANA 21                 01100 VITERBO
ORBA OLIVER                            696 W GREENWOOD RD                                                                                               ALGER           MI   48610‐9602
ORBAIN, RICHARD B                      25863 ARCADIA DR                                                                                                 NOVI            MI   48374‐2446
ORBAKER DORIS                          657 CHATELAINE DR                                                                                                WEBSTER         NY   14580‐8608
ORBAN JOHN                             14624 CINNAMON CREEK LN                                                                                          LOCKPORT        IL   60491‐8766
ORBAN, ALPHONSE                        6252 GRAND POINT RD                                                                                              PRESQUE ISLE    MI   49777‐8469
ORBAN, BEVERLY A                       33917 ARGONNE RD                                                                                                 FARMINGTN HLS   MI   48335‐1411
ORBAN, HATEM Z                         2870 PINE KNOLL DR APT 300C                                                                                      AUBURN HILLS    MI   48326‐3783
ORBAN, JOHN                            725 SCHOOL ST APT 2312                                                                                           RAHWAY          NJ   07065‐3566
ORBAN, JOHN G                          1182 PLEASANT VALLEY RD                                                                                          MT PLEASANT     PA   15666‐2351
ORBAN, JUDITH D                        1465 POPLAR ST                                                                                                   FLINT           MI   48503‐4845
ORBAN, MARIA T                         8 CAROLINA AVE                                                                                                   WEST ORANGE     NJ   07052‐1825
ORBAN, THEODORE A                      33511 BAYVIEW DR                                                                                                 CHESTERFIELD    MI   48047‐2084
ORBAS, RONALD G                        7469 PEARL RD                                                                                                    CLEVELAND       OH   44130‐6612
ORBASH, GEORGE                         253 PARKVIEW DR                                                                                                  AVON LAKE       OH   44012‐1516
ORBAUGH, JEFFREY A                     114 PHARES PL                                                                                                    GOLDSMITH       IN   46045‐8010
ORBAUGH, THOMAS J                      FOREST GLEN COMMONS              BUILDING 1280 APT. 2            SOUTH L STREET                                  ELWOOD          IN   46036
ORBCOMM LLC                            ATTN ACCOUNTS RECEIVABLES        # 300                           22270 PACIFIC BOULEVARD                         STERLING        VA   20166‐6924
ORBE, ASHLEY                           2359 WALTERS RD                                                                                                  MIDDLEBURG      FL   32068‐4445
ORBE, CHEYANNE                         2359 WALTERS RD                                                                                                  MIDDLEBURG      FL   32068‐4445
ORBE, CYNTHIA                          2359 WALTERS RD                                                                                                  MIDDLEBURG      FL   32068‐4445
ORBEL CORP                             2 DANFORTH RD                                                                                                    EASTON          PA   18045‐7820
ORBEN BYROM                            1215 CIRCLE HILL DR                                                                                              SELMER          TN   38375‐2285
ORBEN COE (ESTATE OF) (493071) ‐ ORBEN BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                   NORTHFIELD      OH   44067
COE                                                                     PROFESSIONAL BLDG
ORBEN COE ANDREW (ESTATE OF)           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                   NORTHFIELD      OH 44067
(492642)                                                                PROFESSIONAL BLDG
ORBEN POWELL                           RR 1 BOX 186                                                                                                     HAMBLETON       WV 26269‐9303
ORBEN, COE                             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                                    NORTHFIELD      OH 44067
                                                                        PROFESSIONAL BLDG
ORBIE BORDEN                          3480 OLD HIGHWAY 138 NE                                                                                           CONYERS         GA   30013‐1030
ORBIK, IRENE P                        PO BOX 1471                                                                                                       ANDERSON        IN   46015‐1471
ORBIK, JAMES A                        8554 E SMITH DR                                                                                                   SYRACUSE        IN   46567‐8695
ORBIK, JOSEPH                         1810 W 53RD ST TRLR B10                                                                                           ANDERSON        IN   46013‐1158
ORBIK, LENARD                         2433 NOBLE ST                                                                                                     ANDERSON        IN   46016‐4574
ORBIK, PATRICIA P                     41 EMS 840 F LANE                                                                                                 LEESBURG        IN   46538
ORBIN BANKS JR                        7048 PIERCE RD                                                                                                    FREELAND        MI   48623‐9030
ORBIN CLEMONS                         27200 FRANKLIN RD                 APT A117                                                                        SOUTHFIELD      MI   48034
ORBIN COMBS                           3811 COUNTY ROAD A                                                                                                STOUGHTON       WI   53589‐3913
ORBIN GORDON JR                       5405 FLORIA DR                                                                                                    SWARTZ CREEK    MI   48473‐8826
ORBIN HOWARD                          5788 MIDDLEBORO RD                                                                                                MORROW          OH   45152‐7146
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Name                                    Address1                           Address2                       Address3                   Address4             City               State Zip
ORBIN MONTGOMERY                        6 HIGH POINTE CT                                                                                                  TIFFIN              OH 44883‐2650
ORBIN WILLIAM E SR (ESTATE OF) (626693) GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                    NORFOLK             VA 23510
                                                                           STREET, SUITE 600
ORBIN, WILLIAM E                      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                    NORFOLK            VA 23510‐2212
                                                                           STREET, SUITE 600
ORBIS CORP                            9050 TYLER BLVD                                                                                                     MENTOR             OH    44060‐1897
ORBIS CORPORATION                     1055 CORPORATE CENTER DR             PO BOX 389                                                                     OCONOMOWOC         WI    53066‐4829
ORBIS PLASTIC MOLDING INC             1055 CORPORATE CENTER DR             PO BOX 389                                                                     OCONOMOWOC         WI    53066‐4829
ORBIS/ OCONOMOWOC                     1055 CORPORATE CENTER DR                                                                                            OCONOMOWOC         WI    53066‐4829
ORBIS/MENASHA                         14756 COLLECTION CENTER DR                                                                                          CHICAGO            IL    60693‐0147
ORBIS/MENASHA                         1055 CORPORATE CENTER DR                                                                                            OCONOMOWOC         WI    53066‐4829
ORBIT LEASING                         1515 28TH ST SW                                                                                                     WYOMING            MI    49509‐2707
ORBIT PHARMACEUTICAL                  4955 VAN NUYS BLVD STE 615                                                                                          SHERMAN OAKS       CA    91403‐1839
ORBITAL ENGINE COMPANY PTY LTD        221 ST. GEORGE'S TERRACE             PERTH , AUSTRALIA                                         AUSTRALIA
ORBITAL ENTERPRISES LLC               PO BOX 849                                                                                                          ODESSA              FL   33556‐0849
ORBITAL ENTERPRISES LLC               ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 849                                                                     ODESSA              FL   33556‐0849
                                      AGENT
ORBITAL RPM                           215 W 2ND AVE                                                                                                       DENVER             CO    80223‐1406
ORBITFORM INC                         1600 EXECUTIVE DR                                                                                                   JACKSON            MI    49203‐3469
ORBON, JOHN P                         6272 CREE CT                                                                                                        FLINT              MI    48506‐1173
ORBRA BAKER                           1818 FERGUSON AVE                                                                                                   SAINT LOUIS        MO    63133‐1816
ORBRA FORTENBERRY                     8010 GOAT HILL RD                                                                                                   SAMSON             AL    36477‐7606
ORBSEAL LLC                           201 E HIGHWAY 10                                                                                                    RICHMOND           MO    64085‐2374
ORBSEAL LLC CONCENTRATION             201 E HIGHWAY 10                     RMVD MS                                                                        RICHMOND           MO    64085‐2374
ORBSEAL, INC.                         PETE FUCIARELLI                      201 E HIGHWAY 10                                                               RICHMOND           MO    64085‐2374
ORBSEAL, INC.                         PETE FUCIARELLI                      201 HWY 10 E.                                                                  SHELBY             NC    28150
ORBSEAL/EXCELSOR SPR                  1324 KEARNEY RD                                                                                                     EXCELSIOR SPG      MO    64024‐1759
ORBSEAL/MADISON HGTS                  32100 STEPHENSON HWY                                                                                                MADISON HEIGHTS    MI    48071‐5514
ORBSEAL/TAYLOR                        27223 NORTHLINE RD                                                                                                  TAYLOR             MI    48180‐4499
ORBY GRAY                             2529 MAPLEWOOD AVENUE                                                                                               LANSING            MI    48910‐3145
ORC PLASTICS                          ROSTONE DIVISION                     2450 SAGAMORE PKWY S                                                           LAFAYETTE          IN    47905‐5116
ORC PLASTICS‐ROSTONE FACILITY         DAN DEAR                             C/O ELITE ENTERPRISES INC      2701 S COLISEUM BLVD STE                        ARDEN              NC    28707
                                                                                                          1158
ORC WORLDWIDE                         500 FIFTH AVENUE                                                                                                    NEW YORK           NY    10110
ORC WORLDWIDE                         C/O NAVEETA J ELLIS                  1800 K ST NW STE 810                                                           WASHINGTON         DC    20006‐2226
ORC WORLDWIDE                         500 FIFTH AVE                                                                                                       NEW YORK           NY    10110
ORC/STERLING HTS                      38850 VAN DYKE AVE STE 101                                                                                          STERLING HEIGHTS   MI    48312‐1142
ORCHARD ‐ RITE                                                             1615 W AHTANUM RD                                                                                 WA    98903
ORCHARD CHILDRENS SERVICES            JACK AND JILL OF AMERICA INC         2977 EAGLE DR                  C/O CYNTHIA MARTIN                              ROCHESTER HILLS    MI    48309‐2852
                                                                                                          TREASURER
ORCHARD DONALD F                      C/O G PATTERSON KEAHEY PC            ONE INDEPENDENCE PLAZA SUITE                                                   BIRMINGHAM          AL   35209
                                                                           612
ORCHARD LAKE SCHOOLS               BUSINESS OFFICE                         3535 INDIAN TRL                                                                ORCHARD LAKE       MI 48324‐1623
ORCHARD LAKE VILLAGE               3955 ORCHARD LAKE RD                                                                                                   ORCHARD LAKE       MI 48323‐1638
ORCHARD MOTORS (SINGAPORE) PRIVATE 2 PANDAN CRESCENT,OFF WEST                                                                        SINGAPORE 128462
                                                                                                                                     SINGAPORE
ORCHARD RITE                          1615 W. AHTANUM RD                                                                                                  UNION GAP          WA 98903
ORCHARD SHELL                         1900 VANDALIA ST                                                                                                    COLLINSVILLE       IL 62234‐4846
ORCHARD VISTA PROPERTIES LLC          C/O WALTERS REALTY & DEVELOPMENT     161 OTTAWA AVE NW STE 104                                                      GRAND RAPIDS       MI 49503‐2713

ORCHARD VISTA PROPERTIES, LLC         161 OTTAWA AVE NW STE 104                                                                                           GRAND RAPIDS       MI 49503‐2713
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Name                                Address1                          Address2                          Address3   Address4                 City                State Zip
ORCHARD VISTA PROPERTIES, LLC C/O   161 OTTAWA AVE NW STE 104                                                                               GRAND RAPIDS         MI 49503‐2713
WATERS REALTY & DEVELOPMENT
ORCHARD, BARBARA A                  7506 AUGUSTA DR                                                                                         WASHINGTON          MI 48094‐1482
ORCHARD, GWYN J                     212 LOGAN ST                                                                                            BEDFORD             OH 44146‐2757
ORCHARD, HILTZ & MCCLIMENT, INC.
ORCHARD, JOHN R                     545 W FRIENDSHIP ST                                                                                     MEDINA              OH   44256‐1814
ORCHARD, NEVILLE S                  159 SKYUKA TRL                                                                                          COLUMBUS            NC   28722‐8456
ORCHARD‐RITE LTD INC                PO BOX 9308                                                                                             YAKIMA              WA   98909‐0308
ORCHE MAE                           593 RUTLAND DR                                                                                          HIGHLAND HEIGHTS    OH   44143‐2042
ORCHE, MAE W                        593 RUTLAND DR                                                                                          HIGHLAND HEIGHTS    OH   44143‐2042
ORCHESTRA OF NORTHERN NEW YORK      PO BOX 488                                                                                              POTSDAM             NY   13676‐0488
ORCHID INTERNATIONAL GROUP INC      331 ALDEN ROAD UNIT # 1           ADD CHNG 04/10/06 CS                         MARKHAM CANADA ON
                                                                                                                   L3R 3L4 CANADA
ORCHID INTERNATIONAL GROUP INC      100 WINNERS CIR                                                                                         BRENTWOOD           TN   37027
ORCHID INTERNATIONAL GROUP INC      94 BELINDA PKWY                                                                                         MOUNT JULIET        TN   37122‐3600
ORCHID/BRENTWOOD                    94 BELINDA PKWY                                                                                         MOUNT JULIET        TN   37122‐3600
ORCHOLL, DONALD L                   17406 N 125TH AVENUE                                                                                    SUN CITY WEST       AZ   85375
ORCHOLL, DONALD L                   S74W14137 SETTLER WAY                                                                                   MUSKEGO             WI   53150‐3857
ORCHULEK, RICHARD E                 FERRARO & ASSOCIATES              4000 PONCE DE LEON BLVD STE 700                                       CORAL GABLES        FL   33146‐1434

ORCIANI, ELLEN L                    3235 DUNBRATTON CT                                                                                      WALDORF             MD 20601‐2312
ORCUTT CARLE                        PO BOX 194                                                                                              PRINCETON           ME 04668‐0194
ORCUTT JEREMY                       ORCUTT, JEREMY                    120 WEST MADISON STREET 10TH                                          CHICAGO             IL 60602
                                                                      FLOOR
ORCUTT RONALD & LAURA               6201 TURNBERRY DR                                                                                       COMMERCE TOWNSHIP   MI   48382‐4811
ORCUTT, ARNOLD K                    45 ROAD 261                                                                                             GLENDIVE            MT   59330‐9528
ORCUTT, EARL                        13 WILLOW BROOK RD                                                                                      FREEHOLD            NJ   07728‐2810
ORCUTT, EARL E                      240 SYCAMORE ST                                                                                         WESTFIELD           NJ   07090‐1655
ORCUTT, ERNA W                      5680 PARLIAMENT LN APT 203                                                                              DELAVAN             WI   53115‐4242
ORCUTT, GEORGE A                    9309 W BETHEL AVE                                                                                       MUNCIE              IN   47304‐9020
ORCUTT, JACK CLAYTON                540 SLIGH BLVD NORTHEAST                                                                                GRAND RAPIDS        MI   49505‐3679
ORCUTT, JAMES F                     11221 OCEANSPRAY BLVD                                                                                   ENGLEWOOD           FL   34224‐9127
ORCUTT, JAMES R                     4609 MACK LAKE TRL                                                                                      SOUTH BRANCH        MI   48761‐9545
ORCUTT, JILL S                      2081 WOODVIEW DR                                                                                        WIXOM               MI   48393‐1169
ORCUTT, LAURA L                     6201 TURNBERRY DR                                                                                       COMMERCE TOWNSHIP   MI   48382‐4811
ORCUTT, LINDA G                     8304 N DOVIN GATE RD                                                                                    MUNCIE              IN   47303‐9371
ORCUTT, PEGGY                       1245 ROSE AVE                     P O BOX 9347                                                          FERNDALE            CA   95536
ORCUTT, RONALD C                    1712 W NORTHFIELD DR                                                                                    MUNCIE              IN   47304‐2011
ORCUTT, RONALD J                    6201 TURNBERRY DR                                                                                       COMMERCE TOWNSHIP   MI   48382‐4811
ORCUTT, THOMAS C                    4017 EAST RD                                                                                            CAZENOVIA           NY   13035‐9208
ORCUTT, TIMOTHY E                   2130 DILL AVE                                                                                           LINDEN              NJ   07036‐1012
ORCVILLE CORPORATION                24 DRAKE CHAMBERS ROAD            PROFSOUZNAYA STR 78 BLD 34‐1                 OFF 608 LATVIA BRITISH
                                                                                                                   VIRGIN ISLANDS
ORCVILLE CORPORATION                24 DRAKE CHAMBERS ROAD            PO BOX 3321 TORTOLA                          BRITISH VIRGIN ISLAN
                                                                                                                   BRITISH VIRGIN ISLANDS
ORD, MATTHEW                        590 RAVENSBURY ST                                                                                       LAKE SHERWOOD       CA   91361‐5158
ORD‐BISSLER, SARA A                 2537 PALM RD                                                                                            MOGADORE            OH   44260‐9446
ORD‐BISSLER, SARA A                 2537 PALM ROAD                                                                                          MOGADORE            OH   44260‐9446
ORDAKOWSKI, DUANE A                 28091 MAPLE FOREST‐19                                                                                   HARRISON TWP        MI   48045
ORDAZ JASON                         10526 COSMOS CANYON                                                                                     HELOTES             TX   78023‐3761
ORDAZ, BARBARA J                    1220 W GOFF DR                                                                                          MARION              IN   46953‐6331
ORDAZ, CELIA                        SPC 405                           PO BOX 920193                                                         SYLMAR              CA   91392
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Name                             Address1                      Address2                  Address3                     Address4              City               State Zip
ORDAZ, CELIA                     15230 ROXFORD #20                                                                                          SYLMAR              CA 91342‐1277
ORDAZ, DANIEL P                  17 RR 2                                                                                                    HOLGATE             OH 43527
ORDAZ, DAVID                     1701 JEFFERSON AVE                                                                                         DEFIANCE            OH 43512‐3493
ORDAZ, DAVID A                   1220 W GOFF DR                                                                                             MARION              IN 46953‐6331
ORDAZ, FRANCISCO MENDOZA         HARMON FIRM THE               2107 N BROADWAY STE 102                                                      SANTA ANA           CA 92706‐2633
ORDAZ, FRANCISCO R               D RR 2                                                                                                     LEIPSIC             OH 45856
ORDAZ, IGNACIO R                 124 SERRANIA DR                                                                                            EL PASO             TX 79932‐2123
ORDAZ, MARIA ELENA               HARMON FIRM THE               2107 N BROADWAY STE 102                                                      SANTA ANA           CA 92706‐2633
ORDAZ, PHILLIP A                 14816 SUNSET AVE                                                                                           OAK FOREST           IL 60452‐1233
ORDAZ, SAMUEL R                  392 CANNONADE CIR                                                                                          FRANKLIN            TN 37069‐1827
ORDEAN BLEGEN                    4326 S RIVER RD                                                                                            JANESVILLE          WI 53546‐9084
ORDELLA MACHACEK                 3545 MADISON ST                                                                                            DEARBORN            MI 48124‐3307
ORDEN BUTLER                     17977 ROAD C                                                                                               CONTINENTAL         OH 45831‐9519
ORDENE CARSON                    3669 W LAGRANT RD                                                                                          TWINING             MI 48766‐9768
ORDER OF THE TEACHERS OF THE     OTCG                          ATTN NANNETTE AKINS       5870 E 14TH STREET                                 TUCSON              AZ 85711
CHILDREN OF GOD
ORDER PROCESSING GROUP LLC       16957 18 MILE RD                                                                                           CLINTON TWP        MI   48038‐4639
ORDIE BOSS                       17406 HONOR HWY                                                                                            INTERLOCHEN        MI   49643‐9627
ORDING, DAVID M                  10007 LOVELAND CT                                                                                          SHREVEPORT         LA   71106‐8538
ORDING, DONALD H                 17 MADISON CIR                                                                                             MIDDLE ISLAND      NY   11953‐3002
ORDING, JOSEPH J                 4707 HILLSBORO CIR                                                                                         SANTA ROSA         CA   95405‐8776
ORDING, JOSEPH R                 1690 HASLETT RD                                                                                            WILLIAMSTON        MI   48895‐9498
ORDING, LEAH I                   1113 GORDON AVE                                                                                            LANSING            MI   48910‐2610
ORDING, MARY E                   3387 N MICHIGAN RD                                                                                         DIMONDALE          MI   48821‐8749
ORDING, MARY ELLEN               3387 N MICHIGAN RD                                                                                         DIMONDALE          MI   48821‐8749
ORDING, STEPHEN J                3610 ZIMMER RD                                                                                             WILLIAMSTON        MI   48895‐9182
ORDING, THOMAS M                 1927 DEER PARK AVE                                                                                         LOUISVILLE         KY   40205
ORDIS WEAVER                     6107 BOGART RD W                                                                                           CASTALIA           OH   44824‐9453
ORDIWAY, BEN O                   4280 E LANSING RD                                                                                          BANCROFT           MI   48414‐9722
ORDIWAY, FREDERICK L             7119 CUTLER RD                                                                                             BATH               MI   48808‐9439
ORDIWAY, LATESHIA ANDERSON       412 PROSPECT ST                                                                                            LAINGSBURG         MI   48848‐9659
ORDIWAY, MATTHEW E               237 HUME BLVD                                                                                              LANSING            MI   48917‐4243
ORDNER, JEFFREY R                107 BLUEJACKET AVE                                                                                         MANAHAWKIN         NJ   08050‐2422
ORDO, JAMES P                    7221 KINGS CROSS ST                                                                                        AVON               IN   46123‐8402
ORDO, RICHARD A                  1575 FRY RD                                                                                                GREENWOOD          IN   46142‐1101
ORDONEZ CINTIA E                 ORDONEZ, CINTIA E             CONSUMER LEGAL SERVICES   1950 SAWTELLE BLVD ‐ SUITE                         LOS ANGELES        CA   90025
                                                                                         245
ORDONEZ, ALFONSO O               3374 SPRING MEADOW CT                                                                                      TUCKER             GA   30084‐2121
ORDONEZ, CANDACE M               297 WILSHIRE DR                                                                                            BLOOMFIELD HILLS   MI   48302‐1061
ORDONEZ, EMIG M                  610 HARRISON ST                                                                                            SANTA CLARA        CA   95050‐4314
ORDONEZ, ISABEL M                3612 MOUNTAIN SHADOWS CT                                                                                   PALMDALE           CA   93551‐5648
ORDONEZ, LUIS E                  6689 SEABOARD LN                                                                                           WEST CHESTER       OH   45069
ORDRE DES COMPTABLES AGREES DU   1800‐680 RUE SHERBROOKE O     18 FLOOR                                               MONTREAL QC H3A 2S3
QUEBEC                                                                                                                CANADA
ORDUNO, HARLINE E                7904 TOPANGA CANYON UNIT #8                                                                                CANOGA PARK        CA   91304
ORDWAY FRANKLIN                  428 RANDOLPH ST                                                                                            HOLGATE            OH   43527
ORDWAY SR, ROLAND L              6464 ALBA HWY                                                                                              ELMIRA             MI   49730‐9321
ORDWAY, BRIAN S                  3125 SUFFOLK DR                                                                                            SHELBY             NC   28152
ORDWAY, CHERYL                   234 YEW ST                                                                                                 EAST DOUGLAS       MA   01516‐2343
ORDWAY, DONALD F                 74 CHELSEA CT NE                                                                                           ROCKFORD           MI   49341‐1511
ORDWAY, DOUGLAS D                1584 W SOLON RD                                                                                            DEWITT             MI   48820‐8637
ORDWAY, DOUGLAS L                15‐480 SR 18‐R1                                                                                            HOLGATE            OH   43527
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Name                             Address1                       Address2                         Address3                     Address4         City              State Zip
ORDWAY, DWIGHT J                 12501 RD 191 BOX 228                                                                                          OAKWOOD            OH 45873
ORDWAY, FRANKLIN L               PO BOX 591                     428 RANDOLPH ST                                                                HOLGATE            OH 43527‐0591
ORDWAY, GARY L                   17097 ROAD D                                                                                                  CONTINENTAL        OH 45831‐9523
ORDWAY, GARY L                   PO BOX 93                                                                                                     REESE              MI 48757‐0093
ORDWAY, HARRY E                  18024 LUNNEY RD                                                                                               HEMLOCK            MI 48626‐9611
ORDWAY, HILDA E                  64 BRIGHAM ST                                                                                                 HUDSON             MA 01749‐2710
ORDWAY, JAMES F                  3998 HEARTHSIDE DR                                                                                            HOLT               MI 48842‐9746
ORDWAY, JERRY K                  P.O BOX 53                                                                                                    ALBA               MI 49611
ORDWAY, KAREN I                  899 SUNDAY ST                                                                                                 DEFIANCE           OH 43512‐2917
ORDWAY, LARRY J                  751 N GRANDVIEW BEACH RD                                                                                      INDIAN RIVER       MI 49749‐9776
ORDWAY, LUCILE M                 AMOR LANE APT 111              NORTH POINT                                                                    ST JOHNS           MI 48879‐1279
ORDWAY, MARY                     11107 STATE ROUTE 18                                                                                          HOLGATE            OH 43527‐9587
ORDWAY, MARY                     11‐107 STATE RT 18                                                                                            HOLGATE            OH 43527
ORDWAY, MARY L                   1609 WOOD FERN DR                                                                                             BOYNTON BEACH      FL 33436‐6652
ORDWAY, MICHAEL D                A865 COUNTY ROAD 13                                                                                           NEW BAVARIA        OH 43548‐9744
ORDWAY, MICHAEL DALE             A865 COUNTY ROAD 13                                                                                           NEW BAVARIA        OH 43548‐9744
ORDWAY, PAUL H                   1397 SE CORAL REEF ST                                                                                         PORT ST LUCIE      FL 34983‐3974
ORDWAY, PEGGY                    562 DICKENSON DR                                                                                              INNWOOD            WV 25428
ORDWAY, RANDAL L                 27131 BLANCHARD RD                                                                                            DEFIANCE           OH 43512‐8985
ORDWAY, RANDAL LEE               27131 BLANCHARD RD                                                                                            DEFIANCE           OH 43512‐8985
ORDWAY, RICHARD L                7220 WHITE PINE DR                                                                                            PERRY              MI 48872‐9001
ORDWAY, ROBERT J                 900 E RIVER RD                                                                                                FLUSHING           MI 48433‐2223
ORDWAY, RUTH A                   1900 REDBUD LN #135            COVINGTON WOODS APT                                                            LANSING            MI 48917‐7645
ORDWAY, SANDRA E                 G5131 WOODHAVEN COURT                                                                                         FLINT              MI 48532
ORDWAY, TERI S                   G551 STATE ROUTE 108                                                                                          HOLGATE            OH 43527‐9710
ORDWAY, WALLACE J                7724 STEVER RD                                                                                                DEFIANCE           OH 43512‐9747
ORDYNAT, SOPHIE F                1517 S CAMPBELL RD                                                                                            ROYAL OAK          MI 48067‐3412
ORE HILL CREDIT HUB FUND LTD     C/O ORE HILL PARTNERS LLC      ATTN CLAUDE A BAUM ESQ           650 FIFTH AVENUE 9TH FLOOR                    NEW YORK           NY 10019

ORE JOSEPH                       ORE, JOSEPH                    120 WEST MADISON STREET , 10TH                                                 CHICAGO            IL   60602
                                                                FLOOR
ORE JOSEPH                       ORE, LEANNE                    120 WEST MADISON STREET , 10TH                                                 CHICAGO            IL   60602
                                                                FLOOR
ORE, JOSEPH                      KROHN & MOSS ‐ IL              120 WEST MADISON STREET, 10TH                                                  CHICAGO            IL   60602
                                                                FLOOR
ORE, JUDY E                      1701 AUBURN LN                                                                                                COLUMBIA          TN 38401‐6447
ORE, LEANNE                      KROHN & MOSS ‐ IL              120 WEST MADISON STREET, 10TH                                                  CHICAGO           IL 60602
                                                                FLOOR
ORE, MARY C                      26 DEPEYSTER ST                                                                                               SLEEPY HOLLOW     NY    10591‐2604
OREA PETERSON                    921 E 9TH ST                                                                                                  FLINT             MI    48503‐2731
OREA TAYLOR                      135 EDWIN AVE                                                                                                 FLINT             MI    48505‐3741
OREAN JAMES                      327 BUNGALOW RD                                                                                               DAYTON            OH    45417‐1303
OREAR J D (353805) ‐ OREAR J D   HANLEY DEAN A LAW OFFICES      5430 CERRO SUR                                                                 EL SOBRANTE       CA    94803‐3873
OREAR JR, RICHARD E              49249 VILLAGE POINTE DR                                                                                       SHELBY TOWNSHIP   MI    48315‐3988
OREAR, FLOYD                     21970 CLOVERLAWN ST                                                                                           OAK PARK          MI    48237‐2676
OREAR, J D                       HANLEY DEAN A LAW OFFICES      5430 CERRO SUR                                                                 EL SOBRANTE       CA    94803‐3873
OREAR, KEITH L                   1667 SHERIDAN RD               RM 210                                                                         NOBLESVILLE       IN    46062
OREATA KNUCKLES                  PO BOX 14623                                                                                                  SAGINAW           MI    48601‐0623
OREATHA DEMPS                    1316 E YALE AVE                                                                                               FLINT             MI    48505‐1753
OREBAUGH, ANDY A                 2791 W COUNTY ROAD 700 S                                                                                      MUNCIE            IN    47302‐9530
OREBAUGH, DUANE N                15 CEDAR LAWN DRIVE NORTH                                                                                     GALVESTON         TX    77551‐4633
OREBAUGH, PAUL E                 290 KIMBARY DR                                                                                                DAYTON            OH    45458‐4133
                                    09-50026-mg                Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                                Address1                              Address2                       Address3   Address4         City           State Zip
OREBAUGH, RAYMOND L                 611 S WORTH AVE                                                                                  INDIANAPOLIS    IN 46241‐0611
OREBAUGH, SAMUEL L                  4777 BEECHMONT DR                                                                                ANDERSON        IN 46012‐9540
OREBAUGH, STEPHEN W                 6903 W 11TH ST                                                                                   INDIANAPOLIS    IN 46214‐3543
OREBAUGH, VICKI L                   4844 POLEN DRIVE                                                                                 DAYTON          OH 45440‐1843
OREBEAUX, MICHAEL J                 505 BENTON DR APT 5101                                                                           ALLEN           TX 75013‐6343
OREBEAUX, MICHAEL J                 8206 RIVERVIEW DRIVE                                                                             FLINT           MI 48532‐2272
OREBO, PATSY R                      19470 MAGNOLIA PKWY                                                                              SOUTHFIELD      MI 48075‐7131
ORECHONEG, EVA B                    256 BELMONT AVE NE                                                                               WARREN          OH 44483
ORECK, BRADLEY, CRIGHTON, ADAMS &   1100 POYDRAS ST STE 1440              ENERGY CENTRE                                              NEW ORLEANS     LA 70163‐1401
CHASE
OREDA F JARRELL                     10496 STATE ROUTE 2                                                                              GREENUP        KY   41144‐7894
OREDA JARRELL                       10496 STATE ROUTE 2                                                                              GREENUP        KY   41144‐7894
OREDOR MARTEL                       502 JAMES P CASEY ROAD                                                                           BRISTOL        CT   06010‐2942
OREE GEORGE                         2523 ATKINSON ST                                                                                 DETROIT        MI   48206‐2057
OREE JACKSON JR                     3616 STONEGATE DR                                                                                FLINT          MI   48507‐2169
OREE PRICECE                        11068 BARE DR                                                                                    CLIO           MI   48420‐1538
OREE, GEORGE R                      2523 ATKINSON ST                                                                                 DETROIT        MI   48206‐2057
OREEVE STEPHENSON                   4724 14TH ST E                                                                                   TUSCALOOSA     AL   35404‐4504
OREFICE, DIANE K                    650 MAPLE ST                                                                                     MOUNT MORRIS   MI   48458
OREFICE, ELVIRA                     12 CEDAR WAY                                                                                     WOODSTOCK      NY   12498‐1206
OREFICE, GRACE                      51 FLANDERS BARTLEY RD APT 273                                                                   FLANDERS       NJ   07836‐4749
OREFICE, GRACE                      51 FLANDERS‐BARTLEY RD                APT. 273                                                   FLANDERS       NJ   07836
OREFICE, JOHN                       650 MAPLE ST                                                                                     MOUNT MORRIS   MI   48458‐1927
OREGEL, JACQUELINE                  HARMON FIRM THE                       2107 N BROADWAY STE 102                                    SANTA ANA      CA   92706‐2633
OREGEL, MARIA DELORES               HARMON FIRM THE                       2107 N BROADWAY STE 102                                    SANTA ANA      CA   92706‐2633
OREGEL, VICTOR                      HARMON FIRM THE                       2107 N BROADWAY STE 102                                    SANTA ANA      CA   92706‐2633
OREGEL, VICTORIA                    HARMON FIRM THE                       2107 N BROADWAY STE 102                                    SANTA ANA      CA   92706‐2633
OREGO JR., FRANKLIN C               677 PARKSIDE AVE                                                                                 BUFFALO        NY   14216‐2403
OREGO JR., FRANKLIN C.              677 PARKSIDE AVE                                                                                 BUFFALO        NY   14216‐2403
OREGON CAREER & TECHNOLOGY CTR      5721 SEAMAN RD                                                                                   OREGON         OH   43616‐2631
OREGON CENTRAL CREDIT UNION         306 NE 20TH AVE                                                                                  PORTLAND       OR   97232‐2805
OREGON CITY SERV CTR ‐ P G E        209 WARNER MILNE RD                                                                              OREGON CITY    OR   97045‐4043
OREGON CONVENTION CENTER            ATTN OCC OPERATIONS DEPT              777 NE MARTIN LUTHER KING JR                               PORTLAND       OR   97232
                                                                          BLVD UPTD PER AFC 4/8/5 GJ
OREGON COUNTY COLLECTOR             PO BOX 352                                                                                       ALTON          MO 65606‐0352
OREGON DEPARTMENT OF                811 SW SIXTH AVENUE                                                                              PORTLAND       OR 97204
ENVIRONMENTAL QUALITY
OREGON DEPARTMENT OF REVENUE                                                                                                         SALEM          OR
OREGON DEPARTMENT OF REVENUE        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 955 CENTER ST NE                                          SALEM          OR 97301‐2553

OREGON DEPARTMENT OF REVENUE        955 CENTER ST NE                                                                                 SALEM          OR 97301‐2553
OREGON DEPARTMENT OF STATE LAN      UNCLAIMED PROPERTY DIVISION           775 SUMMER ST NE STE 100                                   SALEM          OR 97301‐1279
OREGON DEPT OF JUSTICE              C.O.R.A.T.                            PO BOX 14506                                               SALEM          OR 97309‐0420
OREGON DEPT OF REVENUE
OREGON DEPT OF REVENUE              ACCT OF VICKI JOLLEY                   PO BOX 14725                                              SALEM          OR 97309‐5018
OREGON DEPT OF REVENUE              955 CENTER ST NE                                                                                 SALEM          OR 97310‐0001
OREGON DEPT OF REVENUE              ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 14777                                              SALEM          OR 97309‐0960

OREGON DEPT OF REVENUE          PO BOX 14777                                                                                         SALEM          OR 97309‐0960
OREGON GOVERNMENT STANDARDS AND 3218 PRINGLE RD SE                        STE 220                                                    SALEM          OR 97302‐1680
PRACTICES COMMISSION
OREGON INTERNATIONAL AIR SHOW   ATTN KASI WOIDYLA                         PO BOX 37                                                  HILLSBORO      OR 97123‐0037
                                       09-50026-mg                Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
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Name                                   Address1                               Address2                          Address3                   Address4         City              State Zip
OREGON SECRETARY OF STATE              CORPORATION DIV                        255 CAPITOL ST NE                                                             SALEM              OR 97310‐1327
OREGON SECRETARY OF STATE              ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 4353                       CORPORATION DIVISION                        PORTLAND           OR 97208‐4353

OREGON SECRETARY OF STATE              PO BOX 4353                            CORPORATION DIVISION                                                          PORTLAND          OR 97208‐4353
OREGON STATE TREASURY                  350 WINTER ST NE STE 100                                                                                             SALEM             OR 97301‐3896
OREGON STATE TREASURY                  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 350 WINTER ST NE STE 100                                                      SALEM             OR 97301‐3896

OREGON STATE UNIVERSITY                PO BOX 1086                                                                                                          CORVALLIS         OR 97339‐1086
OREILLEY DONALD (ESTATE OF) (634485)   COONEY & CONWAY                        120 NORTH LASALLE STREET , 30TH                                               CHICAGO           IL 60602
                                                                              FLOOR
OREILLEY, DONALD                       COONEY & CONWAY                        120 NORTH LASALLE STREET, 30TH                                                CHICAGO            IL   60602
                                                                              FLOOR
OREILLY BRYAN                          OREILLY PONTIAC‐BUICK‐GMC              3960 W CHESTER PIKE                                                           NEWTOWN SQUARE    PA 19073‐3209
OREILLY PETER (465610)                 EARLY LUDWICK SWEENEY & STRAUSS        360 LEXINGTON AVE FL 20                                                       NEW YORK          NY 10017‐6530
OREILLY RANCILIO NITZ ANDREWS          TURNBULL PC                            12900 HALL RD STE 350             ONE STERLING TOWN CENTER                    STERLING HTS      MI 48313‐1174

OREILLY, ARLENE M                      6928 W MORROW DR                                                                                                     GLENDALE          AZ 85308‐5792
OREILLY, DELORES K                     120 DREISER LOOP APT 10J                                                                                             BRONX             NY 10475‐2617
OREILLY, FRED J                        9538 BARKLEY RD                                                                                                      MILLINGTON        MI 48746‐9761
OREILLY, JESSICA
OREILLY, JOHN
OREILLY, PETER                         EARLY LUDWICK SWEENEY & STRAUSS        360 LEXINGTON AVE FL 20                                                       NEW YORK          NY    10017‐6530
OREILLY, ROBERT M                      426 KELLOGG ST APT 93                                                                                                ANN ARBOR         MI    48105‐1660
OREILLY, TERRENCE M                    APT C                                  37 FORTUNE LANE                                                               ROCHESTER         NY    14626‐1834
OREILLY, THOMAS B                      1017 BEDFORD DR                                                                                                      TEMPERANCE        MI    48182‐1254
OREILLY, THOMAS E                      10353 LADY CANDICE LN                                                                                                CHARLOTTE         NC    28270‐0294
OREL CARSON JR                         6210 KLAM RD                                                                                                         OTTER LAKE        MI    48464‐9659
OREL JR, STEPHEN K                     76 HENRIETTA AVE                                                                                                     BUFFALO           NY    14207‐1624
OREL PROFFITT                          245 KELLY RD APT B12                                                                                                 BOWLING GREEN     KY    42101‐9570
OREL, CAROL                            4994 W LEHMAN RD                                                                                                     DEWITT            MI    48820‐9150
OREL, DONNA M                          2680 S MEBANE ST                       APT 219                                                                       BURLINGTON        NC    27215‐6042
OREL, DONNA M                          APT 219                                2680 SOUTH MEBANE STREET                                                      BURLINGTON        NC    27215‐6042
OREL, JAMES F                          325 ROSEDALE AVE LOT 18                                                                                              SAINT CLOUD       FL    34769‐2595
OREL, MATTHEW R                        3832 STONECREST RD                                                                                                   WEST BLOOMFIELD   MI    48322‐1744
OREL, NELLIE C                         6331 TOWAR AVE                                                                                                       EAST LANSING      MI    48823‐1555
OREL, NELLIE C                         2033 EDMUND WAY                                                                                                      LANSING           MI    48917‐1396
OREL, RAYMOND S                        5525 MCCUE RD                                                                                                        HOLT              MI    48842‐9646
OREL, ROBERT C                         6501 SOMMERSET RD                                                                                                    LANSING           MI    48911‐5663
OREL, ROBERT J                         PO BOX 496                                                                                                           WESTPHALIA        MI    48894‐0496
ORELAND CITGO                          101 ALLISON RD                                                                                                       ORELAND           PA    19075‐1808
ORELEAN LANE                           42 LONSDALE RD                                                                                                       BUFFALO           NY    14208‐1510
ORELL MASHBURN                         16252 COVE DR                                                                                                        LINDEN            MI    48451‐8717
ORELL OLIVE                            371 OLYMPIC AVE                                                                                                      BUFFALO           NY    14215‐2746
ORELL, KENNETH R                       577 HAZELWOOD AVE SE                                                                                                 WARREN            OH    44483‐6141
ORELL, KENNETH R                       1328 EDGEHILL AVE SE                                                                                                 WARREN            OH    44484‐4518
ORELLANA, GILBERT                      610 N OLDEN AVE                                                                                                      TRENTON           NJ    08638‐4332
ORELLANA, JUDITH                       6255 SW ELM AVE                                                                                                      BEAVERTON         OR    97005‐4204
ORELLANA, LADY R                       81 BUNKER HILL RD                                                                                                    LAWRENCEVILLE     NJ    08648‐2828
ORELLI, MILLIE L                       9273 SHADY LAKE DR #107 I                                                                                            STREETSBORO       OH    44241‐5289
ORELSKI ANTHONY (491265)               BEVAN & ASSOCIATES                     10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD        OH    44067
                                                                              PROFESSIONAL BLDG
ORELUP, MARK J                         5 TODD TER                                                                                                           DANVILLE           IN   46122‐1043
                             09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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Name                        Address1                             Address2                        Address3                 Address4           City               State Zip
OREM CALVIN E SR (467408)   ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                                  BALTIMORE           MD 21202
                                                                 CHARLES CENTER 22ND FLOOR
OREM, CALVIN E              ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                                   BALTIMORE          MD 21202
                                                                 CHARLES CENTER 22ND FLOOR
OREM, DONALD E              7225 CRANBROOK CT                                                                                                INDIANAPOLIS       IN   46250‐2421
OREM, MARILYN J             4063 W 180 S                                                                                                     RUSSIAVILLE        IN   46979‐9499
OREM, WAYNE L               4063 W 180 S                                                                                                     RUSSIAVILLE        IN   46979‐9499
OREMS GARAGE INC.           8127 PULASKI HWY                                                                                                 BALTIMORE          MD   21237‐2843
OREN APPLEQUIST             BEVAN & ASSOCIATES, LPA, INC.           6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.        OH   44236
OREN B RAMSEY I I           P O BOX 319 1301 EAST DEBBIE LN STE 102                                                                          MANSFIELD          TX   76063

OREN B RAMSEY II            1105 MULE DEER DR                                                                                                ARLINGTON          TX 76002‐3071
OREN BARNA                  4186 WHISPERING OAK DRIVE                                                                                        FLINT              MI 48507‐5554
OREN C MADDOX               ATTN: STEPHEN C. ALBERY 2550 S.                                                                                  BLOOMFIELD HILLS   MI 48302
                            TELEGRAPH RD
OREN C VINCENT              10186 MORRISH RD                                                                                                 SWARTZ CREEK       MI 48473‐9127
OREN CAVIN                  19649 WAGON TRAIL DR                                                                                             NOBLESVILLE        IN 46060‐1151
OREN D STUTES               ANDREW MCENANEY                      HISSEY KIENTZ & HERRON PLLC     9442 CAPITAL OF TX HWY                      AUSTIN             TX 78759
                                                                                                 NORTH SUITE 420
OREN DAVIS                  45808 STERRITT ST                                                                                                UTICA              MI   48317‐5833
OREN EATON                  2399 ALCOTT ST                                                                                                   BURTON             MI   48509‐1143
OREN FLYNN                  3514 DEARBORN AVE                                                                                                FLINT              MI   48507‐4317
OREN GILKEY JR              8941 FENTON                                                                                                      REDFORD            MI   48239‐1209
OREN GRIFFITH JR            193 SCENIC SHORES DR                                                                                             DANDRIDGE          TN   37725‐6274
OREN HATFIELD               921 O ST                                                                                                         BEDFORD            IN   47421‐2541
OREN KIMBALL                2018 OLD HICKORY BLVD                                                                                            DAVISON            MI   48423‐2030
OREN MADDOX JR              2550 S TELEGRAPH RD STE 101                                                                                      BLOOMFIELD HILLS   MI   48302‐0951
OREN MITCHELL MONCEAUX      C/O ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS        707 BERKSHIRE BLVD       PO BOX 521         EAST ALTON         IL   62024
                                                                 ANGELIDES & BARNERD LLC
OREN MOSER                  2962 LEONARD ST                                                                                                  MARNE              MI   49435‐9659
OREN NESBITT                12720 NE 1248 PVT RD                                                                                             OSCEOLA            MO   64776‐2709
OREN R RICHARDS             PATRICIA RICHARDS                    16020 NW ELIZABETH CT                                                       BEAVERTON          OR   97006‐6332
OREN RAMSEY I I             1701TOWNE CROSSING#1613                                                                                          MANSFIELD          TX   76063
OREN SMALL                  5847 W HOMESTEAD DR                                                                                              FRANKTON           IN   46044‐9479
OREN SNYDER                 1680 S MAUXFERRY RD                                                                                              FRANKLIN           IN   46131‐9089
OREN STRONG                 2607 W OAK ST                                                                                                    ROGERS             AR   72758‐3946
OREN TACKETT                62 2ND ST                                                                                                        SHELBY             OH   44875‐1041
OREN VINCENT                10186 MORRISH RD                                                                                                 SWARTZ CREEK       MI   48473‐9127
OREN W SPILKER              7698 BURKEY AVE                                                                                                  REYNOLDSBURG       OH   43068‐2657
OREN WATTS                  17064 CHARLES                                                                                                    NUNICA             MI   49448‐9763
OREN WOLFINGBARGER          4011 55TH WAY N APT 934                                                                                          KENNETH CITY       FL   33709‐5656
OREN WRIGHT                 3933 S COACHMAN DR                                                                                               INDEPENDENCE       MO   64055‐4039
OREN, ALBERT L              506 W MAIN ST                                                                                                    CHESTERFIELD       IN   46017‐1114
OREN, GENEVA L              C/O LARRY D OREN                     3446 W CO ROAD 700 N                                                        ROSSVILLE          IN   46065
OREN, LARRY D               3446 W COUNTY ROAD 700 N                                                                                         ROSSVILLE          IN   46065
OREN, RODNEY R              216 N HICKORY ST                                                                                                 FARMLAND           IN   47340‐9688
OREN, WALTER                8888 WINSTON                                                                                                     REDFORD            MI   48239‐1226
OREN, WILLIAM W             1901 TAYLOR RD                       APT# I 95                                                                   COLUMBUS           IN   47203‐3908
ORENA BRANAM                155 CAVALIER DR APT B                                                                                            COOKEVILLE         TN   38501‐7407
ORENDACH, JOHN H            10343 LOCKER DR                                                                                                  SPRING HILL        FL   34608‐8491
ORENDECKA, MARY V           26390 WESTPHAL ST APT 101            CARRIAGE HILL APTS                                                          DEARBORN HEIGHTS   MI   48127‐3773
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Name                      Address1                       Address2                        Address3   Address4         City            State Zip
ORENDER KENT A (439379)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                         STREET, SUITE 600
ORENDER, KENT A           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                         STREET, SUITE 600
ORENDER, LUCY D.          7118 NEWTON DR                                                                             OVERLAND PARK   KS   66204‐1842
ORENDER, LUCY D.          7118 NEWTON DRIVE                                                                          OVERLAND PARK   KS   66204‐1842
ORENDER, MERLE A          1584 SMILEY ST                                                                             LIBERTY         MO   64068‐3298
ORENDI, LEONARD G         12679 TERRIE DR                                                                            IRWIN           PA   15642‐2827
ORENDI, SHIRLEY J         1964 HOMESTEAD DUQUESNE RD                                                                 WEST MIFFLIN    PA   15122‐3620
ORENDICK, MICHAEL N       119 ROLAND AVE                                                                             LACKAWANNA      NY   14218‐3540
ORENDORFF, LINDA L        4869 BERRY LEAF PL                                                                         HILLIARD        OH   43026‐3134
ORENE HOLLIDAY            5107 TACOMA DR                                                                             ARLINGTON       TX   76017‐1894
ORENE WILSON              326 HIGHWAY 12 W                                                                           KOSCIUSKO       MS   39090‐3209
ORENICH, LARRY M          6243 EAVENSON RD                                                                           BROOK PARK      OH   44142‐1439
ORENICK, WANDA            459 SHASTA DR APT 526                                                                      BRIDGEWATER     NJ   08807‐3752
ORENICK, WANDA            459 SHASTA DR #526                                                                         BRIDGEWATER     NJ   08807‐3752
ORENT, FLORENCE A         1718 RANCH DR NW                                                                           GRAND RAPIDS    MI   49504‐2519
ORENT, KENNETH R          6588 PINE ISLAND DR NE                                                                     COMSTOCK PARK   MI   49321‐9538
ORENTHAL MAGAZINE         1385 OAKDALE DR NW                                                                         WARREN          OH   44485‐1975
ORENZO DANIELS            51 GRAFTON AVE APT 306                                                                     DAYTON          OH   45406‐5556
ORENZO DANIELS, JR.       1580 SHILOH SPRINGS RD                                                                     TROTWOOD        OH   45426‐‐ 20
ORESKOVIC, BRANKA         8033 LONGRIDGE AVE                                                                         NO HOLLYWOOD    CA   91605‐1706
ORESKOVIC, IRENA          138 BEACHWOOD AVE                                                                          AVON LAKE       OH   44012‐1407
ORESKOVIC, THERESIA       344 CHEYENNE FLS                                                                           AVON LAKE       OH   44012‐2600
ORESKOVIC, THERESIA       344 CHEYENNE FALLS                                                                         AVON LAKE       OH   44012‐2600
ORESKOVICH, JOSEPH P      36505 49TH AVE                                                                             PAW PAW         MI   49079‐8331
ORESKOVICH, LILLIAN M     10121 BRANDON CIR                                                                          ORLANDO         FL   32283‐3712
ORESKY, BARBARA H         29217 HAYES H1                                                                             WARREN          MI   48088‐4058
ORESKY, BARBARA H         29217 HAYES RD APT H1                                                                      WARREN          MI   48088‐4058
ORESKY, DOLORES A         21730 SUSSEX ST                                                                            OAK PARK        MI   48237‐3505
ORESKY, PETER D           2567 LANSDOWNE RD                                                                          WATERFORD       MI   48329‐2939
ORESKY, SERGEN M          21730 SUSSEX ST                                                                            OAK PARK        MI   48237‐3505
OREST CHLAN               1185 TREMMA ST                                                                             GRAND BLANC     MI   48439‐9342
OREST SADYCZAK            12917 CHIPPEWA DR                                                                          WARREN          MI   48088‐1890
OREST STOROSHCHUK         1191 GAGE RD                                                                               HOLLY           MI   48442‐8334
ORESTE IELMOLI            VIA MADONNINA 23               28858 TOCENO                    VCO
ORESTE PICCONE            340 E MANITOU RD                                                                           HILTON          NY   14468‐8911
ORESTES LUGONES           5101 PARK AVENUE #7K‐N                                                                     WEST NEW YORK   NJ   07093
ORETA COTTONGIM           3257 VILLAGE DR                                                                            FAIRFIELD       OH   45014‐8112
ORETHA CAYTON             G 1295 E CASS AVE                                                                          FLINT           MI   48505
ORETHA EWELL              18578 LUMPKIN ST                                                                           DETROIT         MI   48234‐1213
ORETHA GILLILAND          2801 DANTZLER ST                                                                           MOSS POINT      MS   39563‐2005
ORETHA HAM                1310 RIVER RD. (PVT)                                                                       BEULAH          MI   49617
ORETHA J CAYTON           1295 E CASS AVE                                                                            FLINT           MI   48505‐1718
ORETHA SNYDER             922 WARRINGTON PL                                                                          DAYTON          OH   45419‐3757
ORETHIA HAMILTON          12503 WEDDEL ST                                                                            TAYLOR          MI   48180‐4378
ORETTA, LEONARD C         515 E ORANGEBURG AVE           MODESTO CONVALESCENT HOSPITAL                               MODESTO         CA   95350‐5510

OREWILER, MARGUERITE B    415 E LUTZ RD APT 56                                                                       ARCHBOLD        OH   43502‐3238
OREWILER, MARGUERITE B    415 E. LUTZ RD.                APT 56                                                      ARCHBOLD        OH   43502‐3238
OREWILER, RICHARD E       2244 MANSFIELD LUCAS RD 5                                                                  MANSFIELD       OH   44903
OREWILER, STEPHEN E       1789 LUCAS NORTH RD                                                                        LUCAS           OH   44843‐9704
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Name                                 Address1                          Address2                    Address3                 Address4         City            State Zip
OREY, ANITA L                        529 WELLINGTON DRIVE                                                                                    JACKSON          MS 39272‐3013
ORF, DONALD J                        2809 BLANCHETTE DR                                                                                      SAINT CHARLES    MO 63301‐0703
ORF, SUSANNE M                       192 ROBIN RD                                                                                            BELLFLOWER       MO 63333‐2000
ORF, THOMAS R                        111 CRYSTAL CROSSING CT                                                                                 WENTZVILLE       MO 63385‐3658
ORFEI GERI                           200 BON AIR AVE                                                                                         NEW ROCHELLE     NY 10804‐3101
ORFEI RICCARDO                       VIA DELLE CASE BASSE,93 00126                                                                           ROME
ORFF JOHN M (466049)                 EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                               NEW YORK        NY   10017‐6530
ORFF, JOHN M                         EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                               NEW YORK        NY   10017‐6530
ORFIELD JR, ROBERT L                 7114 LOBDELL RD                                                                                         LINDEN          MI   48451‐8779
ORFIELD JR, ROBERT LEE               7114 LOBDELL RD                                                                                         LINDEN          MI   48451‐8779
ORFIELD, HODA I                      34800 FAIRCHILD STREET                                                                                  WESTLAND        MI   48186‐8409
ORFIELD, TRACY A                     7114 LOBDELL RD                                                                                         LINDEN          MI   48451‐8779
ORFIELD, TRACY ANN                   7114 LOBDELL RD                                                                                         LINDEN          MI   48451‐8779
ORGAIN BELL & TUCKER                 470 ORLEANS ST                                                                                          BEAUMONT        TX   77701
ORGAN LAUREANA                       ORGAN, LAUREANA                   157 SUMMIT AVE                                                        MONTRALE        NJ   07615
ORGAN, DIANA C                       819 DUNBLANE ST                                                                                         DUQUESNE        PA   15110‐1517
ORGAN, DONALD W                      9427 BLUFFTON RD                                                                                        FORT WAYNE      IN   46809‐3032
ORGAN, EVIE                          9321 N MORRISH                                                                                          MONTROSE        MI   48457‐9016
ORGAN, EVIE                          9321 MORRISH RD                                                                                         MONTROSE        MI   48457‐9016
ORGAN, JOHN D                        3209 APPLEBLOSSOM TRL             TIMBER PINES COUNTRY CLUB                                             SPRING HILL     FL   34606‐3159
ORGAN, KARREN K                      8580 FARLEY ST APT 207                                                                                  OVERLAND PARK   KS   66212‐4622
ORGAN‐BROWN, BERNADINE               2140 PARKTON RD                                                                                         MOUNT MORRIS    MI   48458‐2652
ORGANEK, MICHAEL E                   1254 WHITES BRIDGE RD                                                                                   LOWELL          MI   49331‐9232
ORGANEK, RICHARD J                   22679 NONA ST                                                                                           DEARBORN        MI   48124‐4712
ORGANEK, RICHARD JOHN                22679 NONA ST                                                                                           DEARBORN        MI   48124‐4712
ORGANEK, STANLEY                     198 SAYBROOK APT 2                                                                                      MERCERVILLE     NJ   08619
ORGANEK, THOMAS B                    7256 PINE AIRE CT SW                                                                                    JENISON         MI   49428
ORGANIC CHEMICAL DE MINIMIS          PRP FUND                          1901 BRETON RD SE           C/O WILLIS & WILLIS PC                    GRAND RAPIDS    MI   49506‐4803
ORGANIC CHEMICALS DE MINIMIS         PRP GROUP C\O HELMHOLDT & CO      5940 TAHOE DR SE                                                      GRAND RAPIDS    MI   49546
ORGANISCAK, FRANCIS W                18849 ALEXANDER RD                                                                                      WALTON HILLS    OH   44146‐5318
ORGANISCIAK, LAURA L                 19 DELLINGER AVENUE                                                                                     BATAVIA         NY   14020
ORGANIZATION & SYSTEMS INTEGRA       26721 HAVERHILL DR                                                                                      WARREN          MI   48091‐4030
ORGANIZATION & SYSTEMS INTEGRATION   26721 HAVERHILL DR                                                                                      WARREN          MI   48091‐4030

ORGANIZATION & SYSTEMS INTERGRATION 26721 HAVERHILL DR                                                                                       WARREN          MI 48091‐4030
LLC
ORGANIZATION AND SYSTEMS            26721 HAVERHILL DR                                                                                       WARREN          MI 48091‐4030
INTEGRATION LLC
ORGANIZATION CIVIC & CULTURAL       3660 SHIRLEY RD                                                                                          YOUNGSTOWN      OH 44502‐2934
HISPANIC AMERICAN
ORGANIZATION OF CHINESE AMERICANS   1322 18TH ST NW                                                                                          WASHINGTON      DC 20036‐1803

ORGANIZATION OF MINORITY WOMEN    523 EASTLAWN AVE                                                                                           WILMINGTON      DE 19802‐2825
ORGANIZATION RESOURCES COUNSEL    1800 K ST NW STE 810                                                                                       WASHINGTON      DC 20006‐2226
ORGANIZATION RESOURCES COUNSELORS 1800 K ST NW STE 810                                                                                       WASHINGTON      DC 20006‐2226

ORGANIZATION RESOURCES COUNSELORS    1910 SUNDERLAND PL NW             ROCKEFELLER CENTER                                                    WASHINGTON      DC 20036‐1608
WORLDWIDE
ORGANIZATION REVITALIZATION INC      PO BOX 355                                                                                              FLUSHING        MI   48433‐0355
ORGANIZATION/PA                      101 BRYN MAWR AVENUE              SUITE 310                                                             BRYN MAWR       PA   19010
ORGANIZATIONAL REVITALIZATION        PO BOX 355                                                                                              FLUSHING        MI   48433‐0355
ORGANIZED JUNGLE INC                 711 CLAY ST                                                                                             WINTER PARK     FL   32789‐4553
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Name                             Address1                        Address2                  Address3   Address4         City               State Zip
ORGANIZING PONTIAC               NO ADVERSE PARTY
ORGEMAN, WILLIAM C               1275 VALLEY VIEW RD                                                                   GREEN BAY          WI    54304‐4034
ORGERON‐ROBERTS, SANDRAY         902 MOSS GLEN TRL                                                                     ARLINGTON          TX    76002‐3771
ORGERON‐ROBERTS, SANDRAY         39457 STATE HWY 59B                                                                   MACOMB             OK    74852
ORGERON‐ROBERTS, SANDRAY G       39457 HIGHWAY 59B                                                                     MACOMB             OK    74852‐9008
ORGES, SYLVESTER T               6851 LALEMANT DR                                                                      PARMA              OH    44129‐5401
ORGIAL BANNING                   210 OKLAWAHA DR                                                                       RIVERVIEW          FL    33569
ORGIL REED                       10030 US HIGHWAY 60 W                                                                 KEVIL              KY    42053‐9407
ORGOVAN DANIELLE                 ORGOVAN, DANIELLE               1801 E 9TH ST STE 1710                                CLEVELAND          OH    44114‐3198
ORGUN GURALP                     3609 BURBANK DR                                                                       ANN ARBOR          MI    48105‐2900
ORHA, SAMUEL                     968 KINGS HWY APT Y6                                                                  WEST DEPTFORD      NJ    08086‐9327
ORHALMI, MARGARET                3775 MODOC RD APT 195           VISTA DEL MONTE                                       SANTA BARBARA      CA    93105‐5424
ORHAN DEMIROVIC                  42117 TESSMER DR                                                                      STERLING HEIGHTS   MI    48314‐3059
ORIA BUSH                        5424 CAROLWOOD DR                                                                     JACKSON            MS    39211‐4205
ORIA G BUSH                      5424 CAROLWOOD DR                                                                     JACKSON            MS    39211‐4205
ORIA PRIDGEN                     517 HURON AVE                                                                         DAYTON             OH    45417‐1508
ORIA PRIDGEN                     517 HURON AVE                                                                         DAYTON             OH    45417‐1508
ORIA SAWYERS                     161 OLD HOUSE BRANCH RD                                                               TOPMOST            KY    41862‐9004
ORIAL JR, CONSTANCIO I           4104 BOLD MDWS                                                                        OAKLAND TOWNSHIP   MI    48306‐1489
ORIAN MILLER                     313 SEELEY RD                                                                         SYRACUSE           NY    13224‐1117
ORIANO SPOLTORE                  4403 FIELDING RD                                                                      WILMINGTON         DE    19802‐1101
ORIANS, CAROL A                  15 LAURA CIRCLE                                                                       LAURA              OH    45337‐8815
ORIBELLO, CHARLES F              15026 ELLEN DR                                                                        LIVONIA            MI    48154‐5149
ORIBELLO, JOEL B                 1021 PARK AVE                                                                         NEW HAVEN          IN    46774‐1615
ORIBELLO, JOEL B.                1021 PARK AVE                                                                         NEW HAVEN          IN    46774‐1615
ORICA                            OLIVER RAMIREZ                  33101 E QUINCY AVE                                    WATKINS            CO    80137‐9406
ORICK, CHARLES D                 2506 DENVER ST                                                                        GRANITE CITY       IL    62040‐3109
ORICK, DAN R                     2901 E KENDALL LN                                                                     MUNCIE             IN    47303‐9189
ORICK, DAN R.                    2901 E KENDALL LN                                                                     MUNCIE             IN    47303‐9189
ORICK, JAMES R                   5237 N 100 W                                                                          ANDERSON           IN    46011‐9285
ORICK, JAMES RONALD              5237 N 100 W                                                                          ANDERSON           IN    46011‐9285
ORICK, JENNIFER K                72 WEST 500 NORTH                                                                     ANDERSON           IN    46012‐9255
ORICK, REDA F                    186 GREENE ROAD 603                                                                   BEECH GROVE        AR    72412‐8840
ORIE BASHORE                     2508 ARLINGTON RD                                                                     LANSING            MI    48906‐3708
ORIE C DALE                      122 S. BROADWAY ST                                                                    FARMERSVILLE       OH    45325‐1108
ORIE DALE                        122 S BROADWAY ST                                                                     FARMERSVILLE       OH    45325‐1108
ORIE ERVIN                       1814 CENTER ST                                                                        CARLETON           MI    48117‐9502
ORIE HOLLABAUGH                  190 SE CROSSPOINT DR                                                                  PORT ST LUCIE      FL    34983‐3161
ORIE HOOK                        PO BOX 144                                                                            DALEVILLE          IN    47334‐0144
ORIE ISENHART                    4552 GRAND TETON DR                                                                   MEDINA             OH    44256‐7093
ORIE KALEE JR                    5513 SHERINGHAM BLVD                                                                  CLARKSTON          MI    48346‐3056
ORIE LEWIS                       9137 MCKINLEY RD                                                                      MONTROSE           MI    48457‐9185
ORIE ROSS                        816 W SUMMIT ST                                                                       DURAND             MI    48429‐1152
ORIE SMITH                       PO BOX 117                                                                            JACKSONVILLE       GA    31544‐0117
ORIEL, LAURIE B                  9013 HACKBERRY AVE                                                                    PLYMOUTH           MI    48170‐4110
ORIELLY, MARY E                  279 BEATTIE AVE APT 2                                                                 LOCKPORT           NY    14094‐5600
ORIEN GOODSON                    4495 CONGRESS TWP RD 77                                                               MOUNT GILEAD       OH    43338
ORIEN WHITWORTH                  836 PREMIER DR                                                                        PANAMA CITY        FL    32401‐6300
ORIENT OVERSEAS CONTAINER LINE   4141 HACIENDA DR                501 CHNG 10/22/04 ONEIL                               PLEASANTON         CA    94588‐8549
ORIENTAL COMMUNICATION SERVICE   1637 W BIG BEAVER RD STE E                                                            TROY               MI    48084‐3540
ORIENTALE MICHAEL                10 DEER HILL LN                                                                       BRIARCLIFF MANOR   NY    10510‐1801
ORIENTE, VICTOR                  108 WILLIS AVE.                                                                       SYRACUSE           NY    13204‐1942
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Name                                 Address1                             Address2                   Address3                Address4              City             State Zip
ORIENTE, VICTOR                      108 WILLIS AVE                                                                                                SYRACUSE          NY 13204‐1942
ORIGEL, ROBERT L                     200 WEST ST                                                                                                   STOCKBRIDGE       MI 49285
ORIGIN TECHNOLOGIES CORP             9238 MADISON BLVD BLDG 1 STE 8                                                                                MADISON           AL 35758
ORIGIN TECHNOLOGIES CORP             BLDG 1 STE 800                       9238 MADISON BLVD          GST ADDED 03/24/06 AH                         MADISON           AL 35758
ORIGINAL 2 DOLLAR CAR WASH           3471 E JEFFERSON                                                                                              DETROIT           MI 48207
ORIGINAL 3 DOLLAR CAR WASH           PO BOX 671                                                                                                    DETROIT           MI 48231‐0671
ORIGINAL EQUIPMENT COMPANY           1348 S MAIN ST                                                                                                BELLE GLADE       FL 33430‐4914
ORIGINAL FAMOUS TACO                 ATTN: ROBERTO DE LA CRUZ             3233 W SAGINAW ST                                                        LANSING           MI 48917‐2300
ORIGINAL PARTS GROUP, INC.           TONY GENTY                           1770 SATURN WAY                                                          SEAL BEACH        CA 90740‐5618
ORIHUELA ANDRES                      ORIHUELA, ANDRES                     409 N CAMDEN DR STE 200                                                  BEVERLY HILLS     CA 90210‐4423
ORIHUELA ANDRES                      ORIHUELA, MARIA TERESA               409 N CAMDEN DR STE 200                                                  BEVERLY HILLS     CA 90210‐4423
ORIHUELA, ANDRES
ORILAS BELCHER                       1225 N MILITARY RD                                                                                            NIAGARA FALLS    NY    14304‐2451
ORILEY JR, EDWARD H                  6314 OLD BARN CT                                                                                              INDIANAPOLIS     IN    46268‐4045
ORILEY, IDELL                        62 BENWOOD AVE.                                                                                               BUFFALO          NY    14214‐1814
ORILEY, IDELL                        62 BENWOOD AVE                                                                                                BUFFALO          NY    14214‐1814
ORILEY, ROBIN S                      3322 N DAWSON CT                                                                                              MARTINSVILLE     IN    46151‐6360
ORILL HALLECK                        1487 S VASSAR RD                                                                                              DAVISON          MI    48423‐2373
ORILLIA STEER & STOP                 1045 MISSISSAUGA ST. W.                                                                 ORILLIA ON L3V 6H9
                                                                                                                             CANADA
ORIN A KENNEDY                       9591 LAKESIDE DR                                                                                              YPSILANTI        MI    48197‐3032
ORIN EDWIN BOYINGTON                 MOTLEY RICE LLC                      28 BRIDGESIDE BLVD         PO BOX 1792                                   MT PLEASANT      SC    29465
ORIN EVANS                           729 CHURCH ST                                                                                                 JANESVILLE       WI    53548‐2381
ORIN M LEVY                          9625 NW 60TH DRIVE                                                                                            PARKLAND         FL    33076
ORIN SCHULTZ                         STIFEL NICOLAUS                      FBO ORIN SCHULTZ IRA       710 N BROADWAY          PO BOX 308            NEW ULM          MN    56073
ORIN WIRT                            1958 GUNN RD                                                                                                  HOLT             MI    48842‐9697
ORIN, DONALD R                       9114 BUFFALO CT                                                                                               FLUSHING         MI    48433‐1223
ORIN, JEANICE M                      1077 GREEN MEADOWS DR                                                                                         GRAND BLANC      MI    48439‐8903
ORINDA MOTORS, INC.                  63 ORINDA WAY                                                                                                 ORINDA           CA    94563‐2318
ORINE PEOPLES                        11759 WHISPER KNOLL DR                                                                                        FISHERS          IN    46037‐7511
ORINE SEABERRY                       10119 HIGHWAY 9 N                                                                                             MAMMOTH SPRING   AR    72554‐7239
ORINICK, GENEVIEVE                   200 78TH AVE N #180                                                                                           ST PETERSBURG    FL    33702‐3702
ORININ, MARGIE L                     203 INDEPENDENT DR NE                                                                                         WARREN           OH    44484‐6002
ORINNE OUSLEY                        106 S WASHINGTON ST                                                                                           SIDNEY           IN    46562‐8939
ORINNE WEARE                         8507 134TH ST                                                                                                 SEMINOLE         FL    33776‐3104
ORINSKI‐RANDOLPH, MARJORIE A         7646 WORSLEY PL                                                                                               DUBLIN           OH    43017
ORINTHA C BURGESON                   1113 N VAN BUREN ST                                                                                           BAY CITY         MI    48708‐6077
ORINTHA STAGE                        912 PARTRIDGE PL                                                                                              ZIONSVILLE       IN    46077‐9565
ORIOLA, JANE M                       39 FALKLAND ST                                                                                                BRIGHTON         MA    02135‐1840
ORIOLA, JANE M                       1087 REGENT STREET                                                                                            NISKAYUNA        NY    12309
ORIOLE CHEMICAL CARRIERS INC         PO BOX 2096                                                                                                   BALTIMORE        MD    21203‐2096
ORION (CHARTER TOWNSHIP)             2525 JOSLYN RD                                                                                                LAKE ORION       MI    48360‐1951
ORION ‐ OXFORD SOCCER LEAGUE, INC.   DOLORES GEKURE, EXECUTIVE DIRECTOR   PO BOX 263                                                               LAKE ORION       MI    48361‐0263

ORION AIR EXPRESS                    PO BOX 24                                                                                                     TAYLOR           MI    48180‐0024
ORION AREA CHAMBER OF COMMERCE       PO BOX 484                                                                                                    LAKE ORION       MI    48361‐0484
ORION AREA PARADE GROUP              PO BOX 650                                                                                                    LAKE ORION       MI    48361‐0650
ORION ENERGY SERVICES #774108        2210 WOODLAND DR                                                                                              MANITOWOC        WI    54220‐9662
ORION ENG/JACKSON                    245 W. MICHIGAN AVE                  SUITE 300                                                                JACKSON          MI    49201
ORION ENGINEERING CO INC             245 W MICHIGAN AVE STE 300                                                                                    JACKSON          MI    49201
ORION ENGINEERING CO LTD
ORION GROUP                          ORION TRANS SERVICES INC             4141 PINNACLE ST STE 217                                                 EL PASO           TX   79902‐1042
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Name                                   Address1                                 Address2                       Address3              Address4         City           State Zip
ORION IP, LLC                          THE GARDENS AT EL PASEO, STE 2204, 73‐                                                                         PALM DESERT     CA 92260
                                       545 EL PASEO BLVD, PALM DESERT
ORION KORBAL                           332 WILSON HURST ST                                                                                            TAZEWELL       TN 37879‐3336
ORION MANAGEMENT INTERNATIONAL         555 ZANG ST STE 100                                                                                            LAKEWOOD       CO 80228‐1011

ORION MARINE CORP                      79 W MONROE ST STE 1105                                                                                        CHICAGO        IL   60603‐4945
ORION OUTLET USA                       M/C 483‐900‐061                          PO BOX 1001                                                           LAKE ORION     MI   48361‐1001
ORION PARADE GROUP                     311 MORGAN HILL DR                                                                                             LAKE ORION     MI   48360‐2473
ORION PLANT                            HOLD FOR RECONSIGNMENT                                                                                         LAKE ORION     MI   48360
ORION RECREATION                       PO BOX 10001                                                                                                   LAKE ORION     MI   48361
ORION STONE DEPOT                      4888 JOSLYN RD                                                                                                 ORION          MI   48359‐2232
ORION T HICKS                          64 CHANDLER ST                                                                                                 ROCHESTER      NY   14619‐2012
ORION TEST SYSTEMS & ENGINEERI         40 ENGELWOOD DR STE D                                                                                          LAKE ORION     MI   48359‐2419
ORION TEST SYSTEMS & ENGINEERING       40 ENGELWOOD DR STE D                                                                                          LAKE ORION     MI   48359‐2419
ORION TEST SYSTEMS & ENGINEERING INC   40 ENGELWOOD DR STE D                                                                                          LAKE ORION     MI   48359‐2419

ORION TOWNSHIP                         2525 JOSLYN RD                                                                                                 LAKE ORION     MI   48360‐1951
ORION TRANSPORTATION                   9358 HARRISON                                                                                                  ROMULUS        MI   48174‐2503
ORION/OXFORD CLUB                      1801 WALDON RD                                                                                                 ORION          MI   48359‐1239
ORIORDAN, RICHARD D                    2905 EVERGREEN DR.                                                                                             BAY CITY       MI   48706‐6315
ORIS BRADFORD                          162B BEACON POINT PARKWARY                                                                                     FLUSHING       MI   48433
ORIS BROWN                             PO BOX 2292                                                                                                    STAUNTON       VA   24402‐2292
ORIS CLOUD                             8440 WILLOW RD                                                                                                 MILAN          MI   48160‐8801
ORIS DEMPSEY                           4918 W EDWARDS AVE                                                                                             INDIANAPOLIS   IN   46221‐2907
ORIS HIGHT                             83 SO. E. DEERWOOD CT                                                                                          MARION         IN   46953
ORIS JENKINS                           3025 W LAKE DR NW                                                                                              CLEVELAND      TN   37312‐2647
ORIS MCNIEL JR                         1422 W COURT ST                          FAMILY SERVICE AGENCY                                                 FLINT          MI   48503‐5008
ORIS WARNER                            8312 W 775 S                                                                                                   PENDLETON      IN   46064‐8949
ORISCHAK, DOLORES                      9021 REECK RD                                                                                                  ALLEN PARK     MI   48101‐3410
ORISLEAN JOSLIN                        APT 2                                    43335 30TH STREET WEST                                                LANCASTER      CA   93536‐5312
ORISON BLODGETT                        629 N PORTER ST                                                                                                SAGINAW        MI   48602‐4555
ORITA BAKER                            1122 W JUDD RD                                                                                                 FLINT          MI   48507‐3620
ORITHIA LEWIS                          25253 HASKELL ST                                                                                               TAYLOR         MI   48180‐2084
ORIX GF WARREN VENTURE                 LASALLE PARTNERS MGMT SERV INC           600 SUPERIOR AVE E STE 740                                            CLEVELAND      OH   44114‐2611
ORIX REAL ESTATE EQUITIES, INC.        C/O JIM PURINTON                         100 N RIVERSIDE PLZ STE 1400                                          CHICAGO        IL   60606‐1508
ORIX RENTEC CORPORATION
ORIX WARREN LLC                        C/O ORIX REAL ESTATE EQUITIES            100 N RIVERSIDE PLZ STE 1400   ATTN JAMES PURINTON                    CHICAGO        IL   60606‐1508
ORJADA, CHRISTOPHER S                  11076 MANDALE DR                                                                                               STERLING HTS   MI   48312‐4968
ORKEY WHITE                            1715 RAUSCH AVE                                                                                                DAYTON         OH   45432‐3431
ORKEY Y WHITE                          1715 ROUSCH AVE                                                                                                DAYTON         OH   45432‐‐ 34
ORKIN COMMERCIAL SERVICES              21068 BRIDGE ST                                                                                                SOUTHFIELD     MI   48033‐4087
ORKIN EXTERMINATING CO                 139 DWIGHT PARK CIR                                                                                            SYRACUSE       NY   13209‐1005
ORKIN EXTERMINATING CO INC             3179 SHATTUCK RD                                                                                               SAGINAW        MI   48603‐3258
ORKIN INC                              2170 PIEDMONT RD NE                                                                                            ATLANTA        GA   30324‐4135
ORKIN PEST CONTROL                     1212 SHREVEPORT BARKSDALE HWY                                                                                  SHREVEPORT     LA   71105‐2406
ORKISZ, MARTHA L                       3506 OAK BEND DR                                                                                               ARLINGTON      TX   76016‐3100
ORKISZ, MARTHA L.                      3506 OAK BEND DR                                                                                               ARLINGTON      TX   76016‐3100
ORKISZ, MATTHEW C                      52195 OLD FORGE LANE                                                                                           CHESTERFIELD   MI   48051‐3608
ORKISZ, NORMAN                         52195 OLD FORGE LANE                                                                                           CHESTERFIELD   MI   48051‐3608
ORKISZ, WESLEY S                       3506 OAK BEND DR                                                                                               ARLINGTON      TX   76016‐3100
ORKISZ, WESLEY STANISLAW               3506 OAK BEND DR                                                                                               ARLINGTON      TX   76016‐3100
ORKMON, CHRISTINA M                    1304 N BEVILLE AVE                                                                                             INDIANAPOLIS   IN   46201‐1238
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Name                                   Address1                            Address2                        Address3   Address4         City                State Zip
ORKMON, CHRISTINA MICHELLE             1304 N BEVILLE AVE                                                                              INDIANAPOLIS         IN 46201‐1238
ORKWIS, HEATHER
ORKWIS, RYAN S
ORLA MACDONALD                         218 SURREY DR                       APT 100                                                     BRISTOL             CT   06010‐7665
ORLA POLLOK                            38720 VULCAN CIR                                                                                ZEPHYRHILLS         FL   33542‐1642
ORLA SALISBURY JR                      235 BELEY AVE                                                                                   SYRACUSE            NY   13211‐1527
ORLAIDA SHARPE                         3251 STUART LN                                                                                  DEARBORN            MI   48120‐1332
ORLAN ADAMS                            218 CHATAM ST                                                                                   FAIRBORN            OH   45324‐4116
ORLAN BARBRE                           202 CASTLEWOOD DR                                                                               SEGUIN              TX   78155‐8193
ORLAN BROOK CONDOMINIUM OWNERS
ASSOCIATION
ORLAN BUCK                             5843 COUNTY ROAD 1‐2                                                                            SWANTON             OH   43558
ORLAND BURTNER                         708 EASTMONT DR                                                                                 GAS CITY            IN   46933‐1536
ORLAND E WARD                          15 W FERRY ST                                                                                   MIAMISBURG          OH   45342‐2370
ORLAND FREDRICK                        3515 N WOODBURY LN                                                                              JANESVILLE          WI   53545‐9682
ORLAND GOOD JR                         9177 TIMBERLINE DR                                                                              GRAND BLANC         MI   48439‐8334
ORLAND HARRINGTON                      PO BOX 102                                                                                      FOSTORIA            MI   48435‐0102
ORLAND KIPP                            6035 S TRANSIT RD LOT 124                                                                       LOCKPORT            NY   14094‐6323
ORLAND LAVRACK                         331 W PREVO RD                                                                                  LINWOOD             MI   48634‐9775
ORLAND PARK PUBLIC WORKS                                                   15655 S RAVINIA AVE                                                             IL   60462
ORLAND POWELSON                        1408 MICHIGAN AVE                                                                               GLADSTONE           MI   49837‐1322
ORLAND RAYMOND                         4060 BOBBY JONES DR                                                                             FLINT               MI   48506‐1404
ORLAND WARD                            15 W FERRY ST                                                                                   MIAMISBURG          OH   45342‐2396
ORLAND WILSON                          34230 S BERTHA ST                                                                               BLACK CANYON CITY   AZ   85324‐9711
ORLANDER BROWN JR                      16 UNIVERSITY AVE                                                                               BUFFALO             NY   14214‐1223
ORLANDER ROBERTS                       1124 BARRINGTON DR                                                                              FLINT               MI   48503‐2949
ORLANDI CHARLES (ESTATE OF) (504042)   LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                     MIAMI               FL   33143‐5163

ORLANDI, CHARLES                       LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                     MIAMI               FL 33143‐5163
ORLANDI, GREGG P                       987 S PARKWOOD DR                                                                               SOUTH LYON          MI 48178‐1676
ORLANDI, HECTOR R                      204 W EMERSON ST                                                                                KALAMAZOO           MI 49001‐2721
ORLANDI, HECTOR R                      A‐1 AVENIDA MEJICO                                                                              GUAYNABO
ORLANDI, LOUIS                         PO BOX 468                                                                                      CLARK               PA   16113‐0468
ORLANDIS D FUQUA                       4528 ST. JAMES                                                                                  DAYTON              OH   45406‐2346
ORLANDO                                14 ROMEO AVE                                                                                    MASSENA             NY   13662
ORLANDO A BOVE                         400 RIVERBOAT ROW                   UNIT 601                                                    NEWPORT             KY   41071
ORLANDO AIRPORT MARRIOT                7499 AUGUSTA NATIONAL DR                                                                        ORLANDO             FL   32822‐5015
ORLANDO ALFRED                         824 BEAVER LN                                                                                   READING             PA   19606‐1106
ORLANDO ANTHONY J (407267)             ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                         NEW YORK            NY   10006‐1638
ORLANDO ARTINO                         503 STRAYER DR                                                                                  BELLEVUE            OH   44811‐1535
ORLANDO BEIZA                          1300 KELLER PKWY                    APT 1422                                                    KELLER              TX   76248‐1612
ORLANDO BOCCIA                         69 LORI LN                                                                                      ROCHESTER           NY   14624‐1417
ORLANDO BOCCIA                         69 LORI LANE                                                                                    ROCHESTER           NY   14624‐1417
ORLANDO BUSTAMANTE                     274 N WASHINGTON ST                                                                             SLEEPY HOLLOW       NY   10591‐2313
ORLANDO CASTILLON                      2811 YORKFIELD CT                                                                               ARLINGTON           TX   76001‐6952
ORLANDO CESPEDES                       1016 CODY DR                                                                                    COLUMBIA            TN   38401‐2291
ORLANDO CHARLES (446762)               KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND           OH   44114
                                                                           BOND COURT BUILDING
ORLANDO CHARLES M (640583)             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                           STREET, SUITE 600
ORLANDO CORDERO                        1400 RAVENWOOD DR                                                                               MANSFIELD           TX 76063‐6054
ORLANDO CRUZ                           410 BRADFORD DR                                                                                 CANFIELD            OH 44406‐1005
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ORLANDO CRUZ I I                  717 STRUTHERS LIBERTY RD                                                                            CAMPBELL            OH 44405‐1428
ORLANDO D HARRISON                1202 S MICHIGAN AVE APT 1                                                                           SAGINAW             MI 48602‐1461
ORLANDO DIAZ                      6130 LAKEMONT CIR                                                                                   GREENACRES          FL 33463‐2409
ORLANDO DICILLO                   1909 VILLA PALMS CT UNIT 106                                                                        LAS VEGAS           NV 89128‐2788
ORLANDO E COLON                   201 GLENORA DRIVE #3                                                                                ROCHESTER           NY 14615‐1717
ORLANDO E RUBIO M                 AV FUERZAS ARMADAS               RESD PORTAL DEL LAGO 18    MARACAIBO, ZULIA     VENEZUELA
ORLANDO FORTINO                   5695 W PRATT RD                                                                                     DEWITT             MI   48820‐9163
ORLANDO FRED & ALICE              1015 FIR AVE                                                                                        DOS PALOS          CA   93620‐2021
ORLANDO HERRERA                   3536 W BROCKER RD                                                                                   METAMORA           MI   48455‐9330
ORLANDO HONDA ACURA SPECIALISTS   2801 E SOUTH ST                                                                                     ORLANDO            FL   32803‐5458
ORLANDO HONDA ACURA SPECIALISTS   1228 29TH ST                                                                                        ORLANDO            FL   32805‐6157
ORLANDO IMPORT SPECIALISTS                                         2801 E SOUTH ST                                                                       FL   32803
ORLANDO J HARALSON                1915 EILEEN ST                                                                                      YPSILANTI          MI   48198‐6241
ORLANDO J PERLA                   ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON         IL   62024
                                                                   ANGELIDES & BARNERD LLC
ORLANDO J SOTO                    6312 BERLINETTA DR                                                                                  ARLINGTON          TX   76001‐7443
ORLANDO J WOOD                    3731 ROLAND CR                                                                                      DAYTON             OH   45406‐3535
ORLANDO JOHNSON                   24301 ONEIDA ST                                                                                     OAK PARK           MI   48237‐1797
ORLANDO JONES                     422 MCGREGOR ST APT 5                                                                               SAGINAW            MI   48602‐1325
ORLANDO JOSEPH D (654413)         ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                                   BETHLEHEM          PA   18018
ORLANDO L ERVIN                   952 STILES ST NW                                                                                    WARREN             OH   44485‐2936
ORLANDO LOMO II                   1855 BERVILLE RD                                                                                    ALLENTON           MI   48002‐2711
ORLANDO MARTINEZ                  1211 TRENTON LN                                                                                     EULESS             TX   76040‐6367
ORLANDO MASON                     2608 JACQUELINE DR APT G20       BRANDYWINE APTS.                                                   WILMINGTON         DE   19810‐2028
ORLANDO MATIAS                    3955 PATIENT CARE DRIVE                                                                             LANSING            MI   48911
ORLANDO MELENDEZ                  28661 GREENWOOD PL                                                                                  CASTAIC            CA   91384‐4318
ORLANDO MILTON                    6368 BEECHTON ST                                                                                    DETROIT            MI   48210‐1121
ORLANDO NIEVES                    4419 SANDY DR                    KLAIR ESTATES                                                      WILMINGTON         DE   19808‐5636
ORLANDO PADILLA                   37690 BURTON DR                                                                                     FARMINGTON HILLS   MI   48331‐3062
ORLANDO PARKER                    638 MAYFLOWER DR                                                                                    WENTZVILLE         MO   63385‐3563
ORLANDO PUIG
ORLANDO R CATALANO                25 BRECKEN DRIDGE DRIVE                                                                             ROCHESTER          NY   14626‐3761
ORLANDO REBOREDO                  1104 51ST ST                                                                                        NORTH BERGEN       NJ   07047‐3108
ORLANDO REGIONAL MED              PO BOX 620000                                                                                       ORLANDO            FL   32891‐0001
ORLANDO REYES                     121 TERRACE PARK                                                                                    ROCHESTER          NY   14619‐2418
ORLANDO ROBERTSON                 215 W KENNETT RD                                                                                    PONTIAC            MI   48340‐2653
ORLANDO ROOT                      300 PRINCETON ST N                                                                                  BATTLE CREEK       MI   49014‐6068
ORLANDO RUIZ                      876 AUGUSTA BLVD                                                                                    OXFORD             MI   48371‐5095
ORLANDO SAFFOLD                   740 MAPLE ST SW                                                                                     WARREN             OH   44485‐3851
ORLANDO SAIENNI                   303 PENNEWILL DR                                                                                    NEW CASTLE         DE   19720‐1811
ORLANDO SALZEDO                   1089 GREEN MEADOWS DR                                                                               GRAND BLANC        MI   48439‐8903
ORLANDO SANTIAGO                  17667 BEACH LN                                                                                      LAKE MILTON        OH   44429‐9742
ORLANDO SOTO                      6312 BERLINETTA DR                                                                                  ARLINGTON          TX   76001‐7443
ORLANDO T DAVIS                   P.O. BOX 3                                                                                          MAGNOLIA           MS   39652‐0003
ORLANDO T GARDNER                 17 THOMAS LN                                                                                        MORGANVILLE        NJ   07751‐9769
ORLANDO TESTA                     282 NEW GARDEN RD                                                                                   TOUGHKENAMON       PA   19374‐1026
ORLANDO VALENTE                   77 EDGEWATER DR                                                                                     FRAMINGHAM         MA   01702‐5612
ORLANDO VISOCCHI                  52547 KARON DR                                                                                      MACOMB             MI   48042‐3428
ORLANDO WALTON                    4414 OAK CREEK LN                                                                                   TOLEDO             OH   43615‐7043
ORLANDO WORLD CENTER MARRIOTT     PO BOX 402751                                                                                       ORLANDO            FL   32821
ORLANDO, ANGELA                   817 NORTHSHORE DR                                                                                   ST CLAIR SHRS      MI   48080‐2829
ORLANDO, ANTHONY J                ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                NEW YORK           NY   10006‐1638
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Name                      Address1                       Address2                       Address3   Address4         City               State Zip
ORLANDO, BONITA J         23333 POWERS AVE                                                                          DEARBORN HTS        MI 48125‐2236
ORLANDO, CHARLES          KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                               CLEVELAND           OH 44114
                                                         BOND COURT BUILDING
ORLANDO, CHARLES M        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510‐2212
                                                         STREET, SUITE 600
ORLANDO, CHARLES S        498 PORTER AVE                                                                            CAMPBELL           OH   44405‐1466
ORLANDO, CITY OF          PO BOX 4990                    OCCUPATIONAL LICENSE                                       ORLANDO            FL   32802‐4990
ORLANDO, DAVID            37576 STONEGATE CIR                                                                       CLINTON TOWNSHIP   MI   48036‐2984
ORLANDO, DOMINIC J        23042 DEMLEY DR                                                                           CLINTON TWP        MI   48035‐2908
ORLANDO, DOMINIC JOHN     23042 DEMLEY DR                                                                           CLINTON TWP        MI   48035‐2908
ORLANDO, DOMINICK         9655 MACEY RD                                                                             WILLIS             MI   48191‐9765
ORLANDO, DOMINICK         6160 WARWICK DR                                                                           COMMERCE TWP       MI   48382‐5102
ORLANDO, EMILY            1375 GREENFIELD RD NW                                                                     SUPPLY             NC   28462‐3728
ORLANDO, FILOMENA M       355 CLINTON ST                                                                            LOCKPORT           NY   14094‐1501
ORLANDO, FRANK            7576 131ST WAY                                                                            SEMINOLE           FL   33776‐3922
ORLANDO, GEORGE J         396 PECK RD                                                                               SPENCERPORT        NY   14559‐9551
ORLANDO, GONDOLFO         6154 MEADOWBROOK DR                                                                       MORRISON           CO   80465‐2203
ORLANDO, JAMES            25681 ARCADIA DR                                                                          NOVI               MI   48374‐2440
ORLANDO, JAMES D          43751 RIVERGATE DR                                                                        CLINTON TOWNSHIP   MI   48038‐1359
ORLANDO, JAMES DARYL      43751 RIVERGATE DR                                                                        CLINTON TOWNSHIP   MI   48038‐1359
ORLANDO, JAMES P          22111 HALL RD                                                                             WOODHAVEN          MI   48183‐1556
ORLANDO, JOSE D           2430 QUAIL HOLLOW AVE                                                                     KISSIMMEE          FL   34744‐3022
ORLANDO, JOSEPH           34680 W SHERWOOD DR                                                                       FRANKFORD          DE   19945‐3327
ORLANDO, JOSEPH           1147 HW P                                                                                 OFALLON            MI   63366
ORLANDO, JOSEPH C         6440 EMERALD PINES CIR                                                                    FORT MYERS         FL   33966‐8323
ORLANDO, JOSEPH D         ANGELOS PETER G LAW OFFICES    60 WEST BROAD ST                                           BETHLEHEM          PA   18018‐5737
ORLANDO, JOSEPH P         2057 SHADY DR                                                                             WARREN             MI   48092‐4855
ORLANDO, KENNETH P        14764 POTOMAC DR                                                                          STERLING HTS       MI   48313‐5361
ORLANDO, LINDA K          700 FAIRVIEW AVE                                                                          WILMINGTON         DE   19809‐2966
ORLANDO, LOUIS M          5243 1/2 STATE ROUTE 225                                                                  DIAMOND            OH   44412‐9760
ORLANDO, MARGHERITA       10708 CEDAR CREEK AVE                                                                     LAS VEGAS          NV   89134‐5312
ORLANDO, MARILYN J        6160 WARWICK DR                                                                           COMMERCE TWP       MI   48382‐5102
ORLANDO, MARIO            3562 MCKINLEY RD                                                                          CHINA              MI   48054‐1725
ORLANDO, MICHAEL R        225 CAMPBELL BLVD                                                                         GETZVILLE          NY   14068‐1501
ORLANDO, MICHAEL ROBERT   225 CAMPBELL BLVD                                                                         GETZVILLE          NY   14068‐1501
ORLANDO, PHILIP J         729 S ALMANSOR ST                                                                         ALHAMBRA           CA   91801‐4508
ORLANDO, RAYMOND T        12080 SARA LN                                                                             WASHINGTON         MI   48094‐3154
ORLANDO, ROBERT D         27 W SPRING ST                                                                            WILLIAMSVILLE      NY   14221‐5438
ORLANDO, ROBERT F         1376 GREENFIELD RD NW                                                                     SUPPLY             NC   28462‐3728
ORLANDO, RONALD E         7071 TIMBERCREST                                                                          WASHINGTON         MI   48094‐2194
ORLANDO, WILLIAM A        37188 CHICKADEE LN                                                                        FARMINGTON HILLS   MI   48335‐4800
ORLANDOS SIMMONS          4423 REMUS DR                                                                             FLORISSANT         MO   63033‐7018
ORLANDRIS MC LEMORE       1327 WELCH BLVD                                                                           FLINT              MI   48504‐7303
ORLANDZ LOMAX             PO BOX 693                                                                                BELOIT             WI   53512‐0693
ORLANS, MARSHA T          5965 STRATHDON WAY                                                                        WATERFORD          MI   48327‐2056
ORLANS, SHARON L          39399 PATRINA DR                                                                          CLINTON TOWNSHIP   MI   48038‐7300
ORLASKI, JACOB W          331 MCEVOY CT                                                                             NILES              OH   44446‐3820
ORLEANS FAMILY MEDIC      243 S MAIN ST STE 135                                                                     ALBION             NY   14411‐1658
ORLEANS NIAGARA           3181 SAUNDERS SETTLEMENT RD                                                               SANBORN            NY   14132‐9522
ORLEBEKE, MICHAEL E       759 HARBOUR POINTE CT                                                                     BELLEVILLE         MI   48111‐4465
ORLEMAN, JAMES J          3254 NAPIER RD                                                                            CANTON             MI   48187‐4694
ORLEMAN, JAMES JOSEPH     3254 NAPIER RD                                                                            CANTON             MI   48187‐4694
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Name                        Address1                        Address2                     Address3   Address4         City               State Zip
ORLEN PATTON                41978 ADELBERT ST                                                                        ELYRIA              OH 44035‐2510
ORLEN PATTON                BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
ORLENE BARTH                6514 W DODGE PL                                                                          MILWAUKEE           WI 53220‐1833
ORLENE KENNY                13540 DIXIE HWY                                                                          BIRCH RUN           MI 48415‐9328
ORLENE LUKE                 1119 LAMBERT DR                                                                          HOLLY               MI 48442‐2020
ORLENIA HORTON              504 BLAIR ST                                                                             LOUDON              TN 37774‐1502
ORLESIA K ROBINSON          1562 FRANCIS AVE SE                                                                      WARREN              OH 44484‐4943
ORLESSIA CLEGHORN           4500 TRUMBULL ST APT 106                                                                 DETROIT             MI 48208‐2919
ORLETT, JOAN                4938 COLUMBIA CIR                                                                        HAMILTON            OH 45011‐9761
ORLEVIA COLEMAN             6147 DANIELS ST                                                                          DETROIT             MI 48210
ORLEY HILSABECK             5457 N SEYMOUR RD                                                                        FLUSHING            MI 48433‐1003
ORLEY REYNOLDS              54 E GLASS RD                                                                            ORTONVILLE          MI 48462‐8833
ORLEY WILLIAM BICCUM SR     C/O WEITZ & LUXENBERG PC        700 BROADWAY                                             NEW YORK CITY       NY 10003
ORLEY, MARY P               246 EDISON AVE                                                                           JANESVILLE          WI 53546‐3231
ORLICH, DONALD P            1757 SHAKER HEIGHTS DR                                                                   BLOOMFIELD          MI 48304‐1151
ORLICH, JOHN C              441 NE 56TH TER                                                                          GLADSTONE           MO 64118‐5202
ORLICH, MICHAEL A           37716 HACKER DR                                                                          STERLING HEIGHTS    MI 48310‐4064
ORLICK, DANIELLE            244 SHAWNEE DR                                                                           CAROL STREAM         IL 60188‐1977
ORLICK, ELIZABETH A         4457 REFLECTIONS DR                                                                      STERLING HEIGHTS    MI 48314‐1959
ORLICK, JULIA A             4801 RIDGE RD                                                                            BROOKLYN            OH 44144‐3328
ORLICK, ROBERT W            2420 TUMMONDS RD                                                                         ONTARIO             NY 14519‐9508
ORLIE COKLEY                2843 CIRCLEWOOD LN                                                                       DAYTON              OH 45458‐9440
ORLIE GRINDLE               12725 N BERNIE CT                                                                        WAYLAND             MI 49348‐9389
ORLIE HICKS                 2517 NE RIVER RD                                                                         LAKE MILTON         OH 44429‐9780
ORLIE MAY                   12335 GRAHAM DR                                                                          ORIENT              OH 43146‐9113
ORLIK PHILLIP & ROSE        PO BOX 718                                                                               ANDOVER             OH 44003
ORLIK, EVA M                14102 WARBLER WAY N                                                                      CARMEL              IN 46033‐9650
ORLIK, ZUZANNA Z            217 CLAUDETTE DRIVE                                                                      DEPEW               NY 14043‐1239
ORLIK, ZUZANNA Z            217 CLAUDETTE CT                                                                         DEPEW               NY 14043‐1239
ORLIKOWSKI, FLORENCE T      7793 W MARGARET LN              C/O SUSAN P MILEWSKI                                     FRANKLIN            WI 53132‐9767
ORLIKOWSKI, STANLEY V       1028 BLUEBELL LN                                                                         DAVISON             MI 48423‐7906
ORLIKOWSKI, ZELIA           43890 VIA ANTONIO DR                                                                     STERLING HTS        MI 48314‐1810
ORLIN MCLAIN                1431 GRANT ST                                                                            BELOIT              WI 53511‐3304
ORLIN VANSTEENBURG JR       8320 APPLE BLOSSOM LN                                                                    FLUSHING            MI 48433‐1112
ORLIN, DAVID S              351 FIRWOOD DRIVE, #1B                                                                   SOMERVILLE          MA 02143
ORLIN, MICHAEL D            2378 NEIBEL ST                                                                           HAMTRAMCK           MI 48212
ORLING, BARBARA L           8365 WILDWOOD TRL                                                                        KISSIMMEE           FL 34747‐1322
ORLINSKI, ROMAN J           512 WILLOW AVE                                                                           NORTH TONAWANDA     NY 14120‐1739
ORLITTA, MARK S             162 MARY AVE                                                                             FORDS               NJ 08863‐1547
ORLITTA, VICTORIA E         1216 WILDWOOD TRCE                                                                       LITHONIA            GA 30058‐3082
ORLO DEFORD                 4288 LETART AVE                                                                          WATERFORD           MI 48329‐1935
ORLO FITZHUGH               9595 7 MILE RD                                                                           NORTHVILLE          MI 48167‐9106
ORLO INSLEY                 3255 SE 164TH TER                                                                        OCKLAWAHA           FL 32179‐8402
ORLO JOHNSON                TIMBER LAKE                     1810 EAST SHORE DR                                       EAST LANSING        MI 48823
ORLO LIGHTLE                5393 ONALEAH DR                                                                          PRESCOTT            MI 48756‐9657
ORLO PELLEGRINE             22 RIVER AVE                                                                             NEWTON              MA 02464‐1325
ORLO REED                   715 24TH STREET EAST                                                                     BRADENTON           FL 34208‐2958
ORLO REED                   1415 GARDMAN AVE                                                                         BALTIMORE           MD 21209‐2122
ORLOFF LAKEWOOD FARMS LLC   9460 NATURE VIEW LN                                                                      YPSILANTI           MI 48197‐8740
ORLOFF, CONRAD F            PO BOX 58                       C/O BARBARA E JENKINS                                    MULLETT LAKE        MI 49761‐0058
ORLOFF, FRANK               30821 LONGFELLOW AVE                                                                     MADISON HEIGHTS     MI 48071‐2066
ORLOFF, JOSEPH A            42021 BAINTREE CIR                                                                       NORTHVILLE          MI 48168‐3447
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Name                         Address1                        Address2                           Address3   Address4         City               State Zip
ORLOFF, NINA                 88 NEWCOMB DR                                                                                  VENTURA             CA 93003‐8840
ORLOP, JANICE K              16680 PINE DUNES CT                                                                            GRAND HAVEN         MI 49417‐8807
ORLOSKI LEO (410662)         COHAN LAWRENCE R                1900 DELANCEY PLACE , 1710                                     PHILADELPHIA        PA 19103
                                                             SPRUCE ST
ORLOSKI, EDWARD C            12 WALNUT ST                                                                                   TERRYVILLE         CT 06786‐6004
ORLOSKI, LEO                 COHAN LAWRENCE R                1900 DELANCEY PLACE, 1710 SPRUCE                               PHILADELPHIA       PA 19103
                                                             ST
ORLOSKY JR, MARTIN J         PO BOX 640                                                                                     VIENNA             OH   44473‐0640
ORLOSKY REESE S              2693 PRITCHARD OHLTOWN RD SW                                                                   WARREN             OH   44481‐9504
ORLOSKY, BERNARD W           4115 ASHVILLE FAIRFIELD RD                                                                     ASHVILLE           OH   43103‐9773
ORLOSKY, REESE S             30 LIVE OAK AVE W                                                                              DEFUNIAK SPRINGS   FL   32435‐2333
ORLOSKY, STEVE E             1937 KILBURN RD N                                                                              ROCHESTER HLS      MI   48306‐3039
ORLOVICH, RICHARD P          14244 W DELANEY RD                                                                             MANHATTAN          IL   60442‐9453
ORLOVSKY, PAUL               3208 EMILY LANE                                                                                CARTERET           NJ   07008‐2163
ORLOVSKY, RAYMOND A          7118 GRAYSON DR                                                                                CANFIELD           OH   44406‐7637
ORLOVSKY, RICHARD            4321 NOTTINGHAM AVE                                                                            YOUNGSTOWN         OH   44511‐1021
ORLOVSKY, THOMAS E           8364 WEATHERED WOOD TRL                                                                        POLAND             OH   44514‐2876
ORLOVSKY, THOMAS E           8364 WEATHERED WOOD TRL         AIL                                                            POLAND             OH   44514‐2876
ORLOW, DAVID M               13086 FOXWOOD DR                                                                               SPARTA             MI   49345‐9577
ORLOW, GAYLE A               31057 RIVERS EDGE CT                                                                           BEVERLY HILLS      MI   48025‐3755
ORLOWSKI RONALD F (494064)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                             STREET, SUITE 600
ORLOWSKI, AGNES M            725 RANDALL ST                                                                                 LANSING            MI   48906‐4254
ORLOWSKI, AGNES M            725 E RANDALL ST                                                                               LANSING            MI   48906‐4254
ORLOWSKI, BRENDA J           8066 S 79TH ST                                                                                 FRANKLIN           WI   53132
ORLOWSKI, CRAIG E            7885 ACADEMY CT E                                                                              WATERFORD          MI   48329‐4631
ORLOWSKI, DAVID V            PO BOX 27655                                                                                   LANSING            MI   48909‐0655
ORLOWSKI, DOROTHY            39 CHERRY ST                                                                                   EDISON             NJ   08817‐4816
ORLOWSKI, EDMUND D           1769 KAPPA AVE                                                                                 SAN LEANDRO        CA   94579‐1921
ORLOWSKI, EDWARD F           21997 WENDELL CLINTON                                                                          CLINTON TOWNSHIP   MI   48036
ORLOWSKI, FLORIAN A          407 NORTH DR                                                                                   ROCHESTER          NY   14612‐1209
ORLOWSKI, GARY M             215 KENSINGTON WAY                                                                             LOS GATOS          CA   95032
ORLOWSKI, HELEN
ORLOWSKI, HELEN C            533 E HIGHLAND AVE                                                                             VILLA PARK         IL   60181‐2706
ORLOWSKI, KENNETH F          212 KIRKSWAY LN                                                                                LAKE ORION         MI   48362‐2277
ORLOWSKI, KEVIN W            2953 N SUMMERS RD                                                                              IMLAY CITY         MI   48444‐8926
ORLOWSKI, RAYMOND W          4203 SCOVILLE AVE                                                                              STICKNEY           IL   60402‐4431
ORLOWSKI, ROBERT W           5060 PINCH HWY                                                                                 POTTERVILLE        MI   48876‐9720
ORLOWSKI, RONALD F           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
ORLOWSKI, RONALD S           52364 BELLE ARBOR                                                                              SHELBY TOWNSHIP    MI   48316‐2905
ORLOWSKY STEFAN (413369)     ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                            NEW YORK           NY   10006‐1638
ORLOWSKY, ESTELLE            11438 DENO DRIVE                                                                               STERLING HEIGHTS   MI   48314‐1522
ORLOWSKY, ESTELLE            11438 DENO CT                                                                                  STERLING HEIGHTS   MI   48314‐1522
ORLOWSKY, STEFAN             ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                            NEW YORK           NY   10006‐1638
ORLUCK, FRANCES              5140 COQUINA CIRCLE                                                                            NEW PORT RICHEY    FL   34653‐4910
ORLUCK, JERRY D              5049 LAKESHORE RD LOT 11                                                                       LEXINGTON          MI   48450‐9311
ORLUMKPO, FABIAN             28059 ABERDEEN ST                                                                              SOUTHFIELD         MI   48076
ORLYN FELLURE                57 BUHL MORTON RD APT 504                                                                      GALLIPOLIS         OH   45631‐1342
ORMA ALLISON                 1609 ALDEN RD                                                                                  JANESVILLE         WI   53545‐1085
ORMAL BYCE                   5481 SHAMROCK LN                                                                               FLINT              MI   48506‐2248
ORMAN CAWLEY                 978 CHESTNUT ST                                                                                GRAFTON            OH   44044‐1405
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Name                           Address1                          Address2                    Address3   Address4            City             State Zip
ORMAN FARVER JR                8401 MILLER RD                                                                               SWARTZ CREEK      MI 48473‐1247
ORMAN HOWELL                   155 DOGWOOD DR                                                                               ERIN              TN 37061‐5102
ORMAN LACY                     2814 SHARP RD                                                                                ADRIAN            MI 49221‐9668
ORMAN LORI                     PO BOX 391                                                                                   BEEBE             AR 72012‐0391
ORMAN NUGENT                   1712 SIESTA DR                                                                               LAPEER            MI 48446‐8047
ORMAN SHOLAR                   6230 NOBLE RD                                                                                WEST PADUCAH      KY 42086‐9660
ORMAN, CHARLES                 PORTER & MALOUF PA                4670 MCWILLIE DR                                           JACKSON           MS 39206‐5621
ORMAN, CLIFFORD L              14367 N ROCK RUN CHURCH RD                                                                   ROSEDALE          IN 47874‐8001
ORMAN, JOHN H                  5386 S 350 E                                                                                 MIDDLETOWN        IN 47356
ORMAN, JOHN T                  102 MEADOW POINTE CV                                                                         BRANDON           MS 39042‐5013
ORMAN, LINDA G                 3103 FALL DR                                                                                 ANDERSON          IN 46012‐9543
ORMAN, MICHAEL S               590 N STINE RD                                                                               CHARLOTTE         MI 48813‐8857
ORMAN, MYRON L                 29737 MCINTYRE ST                                                                            LIVONIA           MI 48150‐3076
ORMANDY, JOHN                  40133 STATE ROUTE 18                                                                         WELLINGTON        OH 44090‐9627
ORMANIAN, ANDREA B             16183 CREST DR APT 4                                                                         LINDEN            MI 48451‐8699
ORMARAH MAGINITY               3512 PINE ACRES RD                                                                           GLENNIE           MI 48737‐9417
ORMCO LEASING CORPORATION      333 W FORT LOWELL RD STE 120                                                                 TUCSON            AZ 85705‐5920
ORME SANDRA                    ORME, SANDRA                      5068 W PLANO PKWY STE 300                                  PLANO             TX 75093‐4409
ORME, ANITA L                  160MAPLE AVE                                                                                 ORANGEBURG        NY 10962‐2810
ORME, ANITA L                  6150 N. PARKER                                                                               INDIANAPOLIS      IN 46220‐2932
ORME, CHARLES W                8 ROAMIN CT                                                                                  GREENWOOD         IN 46142‐8414
ORME, CHARLES WILLIAM          8 ROAMIN CT                                                                                  GREENWOOD         IN 46142‐8414
ORME, DOUGLAS                  537 BISSONETTE RD                                                                            OSCODA            MI 48750‐9010
ORME, MICHAEL                  5400 INDEPENDENCE COLONY RD                                                                  GRAND BLANC       MI 48439‐9113
ORMEL PERKINS                  4418 SHERIDAN RD                                                                             LENNON            MI 48449
ORMEROD CATHERINE              PO BOX 598                                                                                   GWYNEDD VALLEY    PA 19437‐0598
ORMEROD JR, WILLIAM W          442 CYPRESS RIDGE DR SE                                                                      BOLIVIA           NC 28422‐8187
ORMEROD WILLIAM WHITEHILL JR   442 CYPRESS RIDGE DR SOUTHEAST                                                               BOLIVIA           NC 28422‐8187
ORMEROD, DENISE D              12364 WILSON RD                                                                              OTISVILLE         MI 48463‐9763
ORMEROD, DOUGLAS E             12364 WILSON RD                                                                              OTISVILLE         MI 48463‐9763
ORMEROD, DOUGLAS EDWARD        12364 WILSON RD                                                                              OTISVILLE         MI 48463‐9763
ORMEROD, JOSEPH R              5137 OLD COVE RD                                                                             CLARKSTON         MI 48346‐3820
ORMEROD, ROBERT W              10048 N HUNT CT                                                                              DAVISON           MI 48423‐3510
ORMES, DUANE E                 512 ZAPATA AVE                                                                               RANCHO VIEJO      TX 78575‐9656
ORMES, WAYNE M                 7588 S 250 E                                                                                 MARKLEVILLE       IN 46056‐9772
ORMESHER, LEO I                1484 PARADISE VIEW ST                                                                        MANSFIELD         OH 44905‐1833
ORMIA J STEELE                 PO BOX 21745                                                                                 DETROIT           MI 48221‐0745
ORMIA STEELE                   PO BOX 21745                                                                                 DETROIT           MI 48221‐0745
ORMINSKI, JOHN K               6477 SOUTHAMPTON DR                                                                          CLARKSTON         MI 48346‐3059
ORMINTA MORGAN                 3112 CARRIAGE HILL DR             C/O ANTOINETTE S LAVERE                                    LOUISVILLE        KY 40241‐2103
ORMISTON, BENNIE E             ROAD 3053 #17                                                                                AZTEC             NM 87410
ORMISTON, NORMA J              3330 OSAGE DR                                                                                ZEPHYRHILLS       FL 33541‐2461
ORMISTON, SHIRLEY              P.O. BOX 1114                                                                                OWOSSO            MI 48867
ORMISTON, THEODORE H           14433 TUSCOLA RD                                                                             CLIO              MI 48420‐8849
ORMOND BRYER                   12031 CABERFAE HWY                                                                           MANISTEE          MI 49660‐9565
ORMONT PLAST/WESTON            700 ORMONT DRIVE                                                         WESTON ON M9L 2V4
                                                                                                        CANADA
ORMSBEE, DONALD G              2417 BLACK BRIDGE RD                                                                         JANESVILLE       WI   53545‐1272
ORMSBEE, ERNEST A              3517 S LESLIE AVE                                                                            INDEPENDENCE     MO   64055‐3449
ORMSBEE, FREDERICK J           7301 SE 180TH AVENUE RD                                                                      OCKLAWAHA        FL   32179‐3746
ORMSBEE, LINDA D               4025 REYNOLDS ST                                                                             FLINT            MI   48532‐5064
ORMSBEE, THELMA J.             37248 VARGO ST                                                                               LIVONIA          MI   48152‐2784
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Name                                Address1                            Address2                           Address3             Address4             City             State Zip
ORMSBEE, THELMA J.                  37248 VARGO                                                                                                      LIVONIA           MI 48152‐2784
ORMSBY MOTORS                       50 N MAIN ST                                                                                                     CRYSTAL LAKE       IL 60014‐4402
ORMSBY TRUCKING INC                 0888 RAILROAD ST                                                                                                 UNIONDALE         IN 46791
ORMSBY WILLIAM J III                ORMSBY, WILLIAM J                   1930 E MARLTON PIKE SUITE Q29                                                CHERRY HILL       NJ 08003
ORMSBY, ARTHUR A                    PO BOX 574                                                                                                       GALVESTON         IN 46932‐0574
ORMSBY, ARTHUR ANDREW               PO BOX 574                                                                                                       GALVESTON         IN 46932‐0574
ORMSBY, CHARLES J                   1124 N WEBSTER ST                                                                                                KOKOMO            IN 46901‐2706
ORMSBY, DON D                       14557 IDAHO ST                                                                                                   FONTANA           CA 92336‐0819
ORMSBY, FRANK H                     678 ADAMS RD                                                                                                     CHESTERFIELD      SC 29709‐6104
ORMSBY, LARRY A                     C/O LARRY ARTHUR ORMSBY JR          1503 54TH AVENUE DR W                                                        BRADENTON         FL 34207‐3344
ORMSBY, LARRY A                     1503 54TH AVENUE DRIVE WEST                                                                                      BRADENTON         FL 34207‐3344
ORMSBY, PETER F                     13306 MARVIN DR                                                                                                  FENTON            MI 48430‐1026
ORMSBY, THOMAS G                    125 CHESTNUT ST                                                                                                  MIDDLESEX         NJ 08846‐1016
ORMSBY, WILLIAM J                   KIMMEL & SILVERMAN PC               1930 E MARLTON PIKE SUITE Q29                                                CHERRY HILL       NJ 08003
ORMSON, DARWIN B                    311 PARK LN                                                                                                      EDGERTON          WI 53534‐1406
ORNAGHI UMBERTO                     LA SCALA                            STUDIO LEGALE E TRIBUTARIO         CORSO MAGENTA N 42   20123 MILANO ITALY
ORNAMENTAL PROD TOOL & SPLY IN      5105 PEARL RD                                                                                                    CLEVELAND        OH    44129‐1229
ORNAT STANLEY (425662)              SIEBEN POLK LAVERDIERE & DUSICH     999 WESTVIEW DR                                                              HASTINGS         MN    55033‐2432
ORNAT, LUCY A.                      5565 CLINTON STREET                                                                                              ELMA             NY    14059‐9478
ORNAT, STANLEY                      SIEBEN POLK LAVERDIERE & DUSICH     999 WESTVIEW DR                                                              HASTINGS         MN    55033‐2432
ORNATOWSKI, BENNIE J                30450 ROSSLYN AVE                                                                                                GARDEN CITY      MI    48135‐1313
ORNDOFF, CHARLES K                  3495 BENT TREE LANE                                                                                              STOW             OH    44224‐2968
ORNDORF, DELORES M.                 898 DAYTON RD                                                                                                    WAYNESVILLE      OH    45068‐9503
ORNDORF, DUANE F                    3320 CRAYCRAFT AVE                                                                                               DAYTON           OH    45424‐6200
ORNDORF, JANET                      5677 MAYVILLE DR                                                                                                 DAYTON           OH    45432‐1762
ORNDORF, RALPH E                    5740 WATERLOO                                                                                                    DAYTON           OH    45459‐1832
ORNDORF, RALPH E                    5740 WATERLOO RD                                                                                                 DAYTON           OH    45459‐1832
ORNDORFF & SPAID INC.                                                   11722 OLD BALTIMORE PIKE                                                                      MD    20705
ORNDORFF, BARBARA                   9218 LEE LN                                                                                                      MANVEL           TX    77578‐4210
ORNDORFF, DELCIA                    342 CONCORD AVE                                                                                                  ELYRIA           OH    44035‐6216
ORNDORFF, HAROLD G                  704 WEST ST                                                                                                      MANTEO           NC    27954‐9565
ORNDORFF, JAMES E                   5777 ROCHESTER RD                                                                                                DRYDEN           MI    48428‐9312
ORNDORFF, PAUL P                    509 PRINCETON AVE                                                                                                ELYRIA           OH    44035‐6445
ORNDORFF, REED                      11001 SHARON DR                                                                                                  PARMA            OH    44130‐1432
ORNDORFF, RUTH                      11001 SHARON DR                                                                                                  PARMA            OH    44130‐1432
ORNDORFF, TROY D                    133 TUTTLE RD                                                                                                    SPRINGFIELD      OH    45503‐5233
ORNDUFF, ONEDA                      5599 MOUNT ZION RD                                                                                               EAST BERNSTADT   KY    40729
ORNE LONNIE H (472133)              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA    23510
                                                                        STREET, SUITE 600
ORNE OTIS L (467038)                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA 23510
                                                                        STREET, SUITE 600
ORNE, LONNIE H                      C/O GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA 23510‐2212
                                                                        STREET, SUITE 600
ORNE, OTIS L                        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA 23510
                                                                        STREET, SUITE 600
ORNEKIAN, DIKRAN                    23650 MEADOWBROOK RD                                                                                             NOVI             MI 48375‐3447
ORNELAS SR, BENJAMIN                HCR 3 BOX 28D                       LA CALETA                                                                    DEL RIO          TX 78840‐9319
ORNELAS RAYMOND (494065)            CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                                        CLEVELAND        OH 44113‐1328
                                    COONE AND ASSOCIATES
ORNELAS SR, BENJAMIN                119 LA PALOMA DR                                                                                                 DEL RIO           TX   78840‐0414
ORNELAS, CASTILLO & ORNELAS, PLLC   ATT: S. ORNELAS & M. CASTILLO JR.   401 EAST HILLSIDE RD., 2ND FLOOR                                             LAREDO            TX   78041
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Name                           Address1                            Address2                 Address3         Address4         City              State Zip
ORNELAS, DELORES               2029 IOWA AVE                                                                                  SAGINAW            MI 48601‐5214
ORNELAS, ELIDA                 455 N MIDLAND ST                    PO BOX 290                                                 MERRILL            MI 48637‐9415
ORNELAS, ELISEO L              4775 VILLAGE DR APT 233                                                                        GRAND LEDGE        MI 48837‐8111
ORNELAS, FLORENZIO M           2888 LYLE RD                                                                                   BEAVERTON          MI 48612‐9120
ORNELAS, FRANK M               3532 ADAMS AVE                                                                                 SAGINAW            MI 48602‐2903
ORNELAS, FRED                  8600 S INDIANA AVE                                                                             OKLAHOMA CITY      OK 73159‐6239
ORNELAS, GLORIA L              10789 SAN JOSE                                                                                 LYNWOOD            CA 90262‐1820
ORNELAS, GUADALUPE             3532 ADAMS AVE                                                                                 SAGINAW            MI 48602‐2903
ORNELAS, JESSE J               4 EL RANCHO DR                                                                                 HANNIBAL           MO 63401‐6542
ORNELAS, JESUS A               135 S 16TH ST                                                                                  SAN JOSE           CA 95112‐2153
ORNELAS, JOSE LUIS             ALLISON DOUGLAS LAW OFFICES OF      500 N WATER ST STE 400                                     CORPUS CHRISTI     TX 78471‐0014
ORNELAS, LARRY A               7691 ANDERSON AVE NE                                                                           WARREN             OH 44484‐1524
ORNELAS, MAXINE M              196 W NORWAY,APT 9                  C/O GENERAL DELIVERY                                       HARRISON           MI 48625
ORNELAS, RAYMOND               CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                      CLEVELAND          OH 44113‐1328
                               COONE AND ASSOCIATES
ORNELAS, RENE                  13973 STROUD ST                                                                                PANORAMA CITY     CA   91402‐6515
ORNELAS, RICHARD A             5103 196TH ST                                                                                  FRESH MEADOWS     NY   11365
ORNELAS, RICHARD B             1542 PARK ST                                                                                   LODI              CA   95242‐3841
ORNELAS, RUBEN M               1911 MERSHON ST                                                                                SAGINAW           MI   48602‐4954
ORNELAS, RUDY M                2203 FORDNEY ST                                                                                SAGINAW           MI   48601‐4811
ORNELAS, SARA                  2722 ABILENE ST                                                                                SAN ANGELO        TX   76901‐1935
ORNELAS, SARA                  2722 ABILENE                                                                                   SAN ANGELO        TX   76901‐1935
ORNELIA, CHARLES M             24439 AVENIDA ARCONTE                                                                          MURRIETA          CA   92562‐3828
ORNELIA, FRANK M               PO BOX 2435                                                                                    LA HABRA          CA   90632‐2435
ORNELL MC CULLOUGH             9580 E OUTER DR                                                                                DETROIT           MI   48213‐1578
ORNELLA MONTI                  C/O FAVARO' MASSIMO                 VIA UGO FOSCOLO, 11                                        SEREGNO                20038
ORNER I I I, JOSEPH A          361 TOPTON DR                                                                                  VANDALIA          OH   45377‐1736
ORNER III, JOSEPH A            361 TOPTON DR                                                                                  VANDALIA          OH   45377‐1736
ORNER, DARYL W                 650 S MAIN ST                                                                                  WEST MILTON       OH   45383‐1409
ORNER, HAROLD R                130 ERVIN AVE                                                                                  LINWOOD           PA   19061
ORNER, MATTHEW G               126 SPRINGHOUSE DR                                                                             ENGLEWOOD         OH   45322
ORNING, CAROLYN S              6875 KNAUF RD                                                                                  CANFIELD          OH   44406‐9762
ORNL/DOE                       FRANK DAMIANO, GROUP LEADER,        1 BETHEL VALLEY RD       MAIL STOP 6196                    OAK RIDGE         TN   37830‐8050
                               SPONSORED RESEARCH PROGRAMS
OROARK DONALD                  7233 AUBURN MILL RD                                                                            WARRENTON         VA   20187‐9177
OROCCO‐HOROMIAN, FRANCISCO O   GM CORP 3‐220 (MADRID)                                                                         DETROIT           MI   48202
OROCK, GARY L                  524 WILES RD                                                                                   MANSFIELD         OH   44903‐8642
OROCK, GREGORY K               16050 BERLIN STATION RD                                                                        BERLIN CENTER     OH   44401‐9777
OROCK, LADONNA M.              16010 BERLIN STATION RD                                                                        BERLIN CENTER     OH   44401‐9777
OROFINO, JOSEPH R              PO BOX 2316                                                                                    YOUNGSTOWN        OH   44509‐0316
OROLIN, TIMOTHY J              2511 BENTLEY DR                                                                                SALEM             OH   44460‐2503
OROLOGAS, GEORGE S             2120 REDWOOD PL                                                                                CANFIELD          OH   44406‐8457
ORONA, ISMAEL P                462 N 23RD ST                                                                                  MESA              AZ   85213‐7606
ORONA, MICHAEL
ORONOKO CHARTER TOWNSHIP       ATTN: COLLECTOR'S OFFICE            PO BOX 214                                                 BERRIEN SPRINGS   MI 49103‐0214
OROPALLO, MARIA G              57 DEBRA LN                                                                                    BRISTOL           CT 06010‐2725
OROPEZA JESSIE                 OROPEZA, JESSIE
OROPEZA, FRANK J               601 ORANGE ST                                                                                  MCALLEN           TX 78501‐2409
OROPEZA, STEVEN C              921 ARMSTRONG AVE                                                                              KANSAS CITY       KS 66101‐2606
OROS LAWRENCE (494066)         CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                      CLEVELAND         OH 44113‐1328
                               COONE AND ASSOCIATES
OROS, BARBARA L                180 S COLONY PL #802                                                                           SAGINAW           MI 48603‐6059
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Name                         Address1                            Address2                        Address3   Address4         City                 State Zip
OROS, BARBARA L              180 S COLONY DR APT 802                                                                         SAGINAW               MI 48638‐6059
OROS, BENJAMIN               7391 SYLVAN DR                                                                                  KENT                  OH 44240‐6328
OROS, BRIAN J                6435 S 30TH ST                                                                                  KALAMAZOO             MI 49048‐9347
OROS, JAMES R                10108 DUFFIELD RD                                                                               MONTROSE              MI 48457‐9182
OROS, JAMES RUSSELL          10108 DUFFIELD RD                                                                               MONTROSE              MI 48457‐9182
OROS, JOANN P                5126 SAGAMORE DR                                                                                SWARTZ CREEK          MI 48473‐8209
OROS, LAWRENCE               CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                       CLEVELAND             OH 44113‐1328
                             COONE AND ASSOCIATES
OROS, LAWRENCE R             218 S NAVARRE AVE                                                                               YOUNGSTOWN           OH   44515‐3210
OROS, WILLIAM P              17615 EDDON ST                                                                                  MELVINDALE           MI   48122‐1225
OROSAN, ANDRONIC P           1230 NE 22ND ST                                                                                 WILTON MANORS        FL   33305‐2334
OROSCO, ARNULFO              TRACY FIRM                          5473 BLAIR RD STE 200                                       DALLAS               TX   75231‐4168
OROSCO, JESSE M              1625 CORNELIA ST                                                                                SAGINAW              MI   48601‐2908
OROSCO, REY C                2625 NAPOLEON ST                                                                                INDIANAPOLIS         IN   46203‐5149
OROSCO, SANJUANITA           3490 SHATTUCK RD APT 3                                                                          SAGINAW              MI   48603‐7008
OROSEY JR, JOSEPH G          2258 BRIGGS ST                                                                                  WATERFORD            MI   48329‐3705
OROSIA ADAMS                 60491 BALMORAL WAY                                                                              ROCHESTER            MI   48306‐2064
OROSS, ANDREW J              714 SCHOOL ST                                                                                   WEST MIFFLIN         PA   15122‐1849
OROSS, IMRE J                13 GEORGE ST                                                                                    AVENEL               NJ   07001‐1714
OROSTIN, MILDRED             425 SENECA ST APT 504                                                                           NILES                OH   44446‐2449
OROSZ MICHAEL                OROSZ, MICHAEL
OROSZ, ARPAD                 1466 S BYRON RD                                                                                 LENNON               MI   48449‐9621
OROSZ, BEATRICE M            2394 ANTIOCH RD                                                                                 PERRY                OH   44081‐9718
OROSZ, MARY A                4 MEINZER ST                                                                                    AVENEL               NJ   07001‐1702
OROSZ, MICHAEL               560 ELYRIA AVE                                                                                  AMHERST              OH   44001‐2322
OROSZ, MICHAEL D             96 TURTLE HILL TRL                                                                              MANSFIELD            TX   76063‐1548
OROSZ, MICHAEL D             924 BENMAR DR                                                                                   HOUSTON              TX   77032‐1804
OROSZ, MICHAEL T             20900 LAKELAND ST                                                                               SAINT CLAIR SHORES   MI   48081‐3363
OROSZ, RICKY                 1218 MALLARD DR                                                                                 FRANKLIN             TN   37064‐6804
OROSZ, RONALD M              APT 1B                              6866 TALL OAKS DRIVE                                        KALAMAZOO            MI   49009‐7240
OROSZ, SALLY ANN             1154 5TH ST                                                                                     STRUTHERS            OH   44471‐1445
OROSZ, SALLY ANN             1154 FIFTH ST                                                                                   STRUTHERS            OH   44471‐1445
OROSZ, WILLIAM               4229 MEADOW LARK DR                                                                             FLINT                MI   48532‐4342
OROSZ, WILLIAM               5651 SHERIDAN RD                                                                                SAGINAW              MI   48601‐9329
OROSZ‐SPAGNOLO, JULIE R      168 MARTIN RD                                                                                   MASSENA              NY   13662‐3115
OROSZCO RICHARD (464235)     BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH   44067
                                                                 PROFESSIONAL BLDG
OROSZCO, RICHARD             BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD           OH 44067
                                                                 PROFESSIONAL BLDG
OROSZI, ALEXANDER S          77 WALLER AVE                                                                                   VANDALIA             OH   45377‐3019
OROSZI, ESTHER C             4415 E GREENVIEW DRIVE                                                                          DAYTON               OH   45415‐1634
OROSZI, THELMA               77 WALLER AVE                                                                                   VANDALIA             OH   45377‐3019
OROURKE MICHAEL D            3920 OAK GROVE RD                                                                               NORTH BRANCH         MI   48461‐8910
OROURKE NANCY                9 LAURIE DR                                                                                     EAST BRUNSWICK       NJ   08816‐3025
OROURKE WILLIAM O (494067)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA   23510
                                                                 STREET, SUITE 600
OROURKE, ALMA M              519 HUNTINGTON RD                                                                               GREENVILLE           SC   29615‐4211
OROURKE, FRANK J             2079 DOUBLE BRANCH RD                                                                           COLUMBIA             TN   38401‐6105
OROURKE, GARY M              923 ROSELAWN DR                                                                                 ROCHESTER            MI   48307‐1842
OROURKE, H P                 6218 GOLFSIDE CT                                                                                GRAND BLANC          MI   48439‐9409
OROURKE, KENNETH E           519 HUNTINGTON RD                                                                               GREENVILLE           SC   29615‐4211
OROURKE, MARY A              4261 W GARDEN TER                                                                               VERO BEACH           FL   32967‐1803
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Name                           Address1                        Address2                        Address3   Address4         City            State Zip
OROURKE, MARY J                353 GOLFVIEW CT                                                                             MURFREESBORO     TN 37127‐7132
OROURKE, MICHAEL J             353 GOLFVIEW CT                                                                             MURFREESBORO     TN 37127‐7132
OROURKE, RAYMOND E             3612 WELWYN WAY DR                                                                          BEDFORD          TX 76021‐2536
OROURKE, WILLIAM O             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                               STREET, SUITE 600
OROVIC, VILIM                  61 PARK CIR                                                                                 WHITE PLAINS    NY   10603‐3527
OROW, JOSEPH E                 30670 N GREENBRIAR RD                                                                       FRANKLIN        MI   48025‐1415
OROW, LORAL L                  49521 NORTH DR                                                                              PLYMOUTH        MI   48170‐2331
OROW, LORAL L                  49521 NORTH DRIVE                                                                           PLYMOUTH        MI   48170‐2331
OROW, YOUSUF A                 4515 RAVINEWOOD DR                                                                          COMMERCE TWP    MI   48382‐1642
OROZCO JAIME                   MARIANO ESCOBEDO 14             COL CENTROLOS REYES MICHOACAN              MEXICO
                                                               CP 60300
OROZCO JR, REYMUNDO            140 N MCKENZIE ST                                                                           ADRIAN          MI   49221‐1904
OROZCO MAURO                   15310 RANCHO CLEMENTE DR                                                                    PARAMOUNT       CA   90723‐4576
OROZCO SPANISH SERVICES INC.   PO BOX 805                                                                                  LAKE DALLAS     TX   75065‐0805
OROZCO VERONICA                OROZCO, VERONICA P              71650 SAHARA RD STE 2                                       RANCHO MIRAGE   CA   92270‐4336
OROZCO, ARMANDA                421 E CHEVY CHASE DR APT 3                                                                  GLENDALE        CA   91205‐3267
OROZCO, ARMANDO BALA           HOFFMAN & OSORIO LLP            3350 WILSHIRE BLVD STE 855                                  LOS ANGELES     CA   90010‐1832
OROZCO, BEATRICE V             14319 HERRON ST                                                                             SYLMAR          CA   91342‐5118
OROZCO, BERTHA                 1242 N CUCAMONGA AVE                                                                        ONTARIO         CA   91764
OROZCO, CHARLES J              5848 SECOR RD APT 1                                                                         TOLEDO          OH   43623‐1461
OROZCO, CONCEPCION             3025 STATE ST                                                                               SAGINAW         MI   48602‐3654
OROZCO, ESPERANZA              13095 GLAMIS ST                                                                             PACOIMA         CA   91331‐3239
OROZCO, FRANCIS MARZO          PIUS JOSEPH                     595 E COLORADO BLVD STE 801                                 PASADENA        CA   91101‐2001
OROZCO, FRANCIS MARZO          263 DENNIS DR                                                                               DALY CITY       CA   94015‐2815
OROZCO, FREDRICK M             1300 E SAN ANTONIO ST SPC 81                                                                SAN JOSE        CA   95116‐2826
OROZCO, GUILLERMO T            1306 COASTAL BAY BLVD                                                                       BOYNTON BEACH   FL   33435‐7828
OROZCO, JOHN                   14077 BRIDLE RIDGE RD                                                                       SYLMAR          CA   91342‐1060
OROZCO, JOSE                   135 W 96TH ST APT 6C                                                                        NEW YORK        NY   10025‐9221
OROZCO, JUAN                   6004 TOWN N COUNTRY BLVD                                                                    TAMPA           FL   33615‐3445
OROZCO, JUAN B                 3719 RIVERA APT 6                                                                           EL PASO         TX   79905
OROZCO, LUIS G                 2455 WOOD HOLLOW DR                                                                         LIVERMORE       CA   94550‐8665
OROZCO, MANUEL V               6196 ORANGE AVE                                                                             CYPRESS         CA   90630‐3331
OROZCO, MARIANO C              10350 CLAYTON RD                                                                            SAN JOSE        CA   95127
OROZCO, MARY L                 1514 S NIAGARA ST                                                                           SAGINAW         MI   48602‐1338
OROZCO, ORLANDO J              PO BOX 956863                                                                               DULUTH          GA   30095‐9515
OROZCO, RICHARD                1723 BUENA VISTA ST                                                                         MESQUITE        TX   75149‐2229
OROZCO, RICHARD P              6909 SHIELDS CT                                                                             SAGINAW         MI   48609‐6855
OROZCO, ROSEMARY               1820 E 32ND ST                                                                              LORAIN          OH   44055‐1812
OROZCO, SIXTO V                2611 PEALE DR                                                                               SAGINAW         MI   48602‐3468
OROZCO, STEVEN C               3025 STATE ST                                                                               SAGINAW         MI   48602‐3654
OROZCO, STEVEN C               2802 SCHEMM ST                                                                              SAGINAW         MI   48602‐3728
OROZCO, SYLVIA                 3750 NUTTREE LANE                                                                           RIVERSIDE       CA   92501
OROZCO, SYLVIA                 3750 NUTTREE LN                                                                             RIVERSIDE       CA   92501‐1630
OROZCO, THEODORE               2389 NW SUMMERFIELD DR                                                                      LEES SUMMIT     MO   64081‐1923
OROZCO, TRACY J                103 ELMHURST LN                                                                             FILLMORE        CA   93015‐1770
OROZCO, VERONICA P             CARONNA JOHNSON & HODDICK LLP   71650 SAHARA RD STE 2                                       RANCHO MIRAGE   CA   92270‐4336
OROZCO, VICTOR                 8105 HATILLO AVE                                                                            CANOGA PARK     CA   91306‐1909
OROZCO, ZOSIMA                 263 DENNIS DR                                                                               DALY CITY       CA   94015‐2815
OROZCO, ZOSIMA                 HOFFMAN & OSORIO LLP            3350 WILSHIRE BLVD STE 855                                  LOS ANGELES     CA   90010‐1832
ORPHA B MONTGOMERY             5635 BAY STREET                                                                             VIDOR           TX   77662‐9020
ORPHA BELL                     612 MONTGOMERY ST                                                                           MIAMISBURG      OH   45342‐2958
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Name                            Address1                           Address2                        Address3   Address4         City               State Zip
ORPHA COCHRAN                   6142 DAVID BERGER ST                                                                           MOUNT MORRIS        MI 48458‐2710
ORPHA CRAIB                     216 S VINE ST                                                                                  THORNTOWN           IN 46071‐1256
ORPHA DAVIS                     8640 HAROLD DR                                                                                 BERKELEY            MO 63134‐3202
ORPHA FARNSWORTH                4586 WOODHULL DR                   C/O GLENDA G DAY                                            CLARKSTON           MI 48346‐3761
ORPHA FULTZ                     160 BLUE GILL RD                                                                               PEEBLES             OH 45660
ORPHA HAYDEN                    13031 CENTER RD                                                                                BATH                MI 48808‐8437
ORPHA KAUFFMAN                  1614 S 13TH ST                                                                                 GOSHEN              IN 46526‐4538
ORPHA MCGEE                     2009 5TH ST                                                                                    SANDUSKY            OH 44870‐3940
ORPHA TURNER                    8605 QUARRY RD                                                                                 HILLSBORO           OH 45133‐6915
ORPHI, WILLIE                   SHRADER JUSTIN                     16903 RED OAK DR STE 220                                    HOUSTON             TX 77090‐3916
ORPHUS SMITH                    4340 S FRANKLIN RD                                                                             INDIANAPOLIS        IN 46239‐1614
ORPIADA, CHRISILDA P            PO BOX 3571                                                                                    NEWPORT BEACH       CA 92659
ORPINUK, WADINA B               5200 HILLTOP DR UNIT‐F16                                                                       BROOKHAVEN          PA 19015‐1230
ORPRO PROSTHETICS & ORTHOTICS   1 ELIZABETH PLACE                  SUITE 300                                                   DAYTON              OH 45408
ORPURT, DENNIS D                3405 LEIBY OSBORNE RD                                                                          SOUTHINGTON         OH 44470‐9729
ORPURT, ROGER A                 2220 W WILLOW LN                                                                               PERU                IN 46970‐7207
ORPUT, HENRY F                  6254 STATE ROUTE 40                LOT #42                                                     TIPP CITY           OH 45371‐9438
ORPUT, HENRY F                  6254 US ROUTE 40 LOT 42                                                                        TIPP CITY           OH 45371‐9438
ORR ASSOCIATES INC              905 CANTERBURY ROAD                                                                            CLEVELAND           OH 44145
ORR BETTY                       117 BAY POINT DR NE                                                                            SAINT PETERSBURG    FL 33704‐3805
ORR BOBBY                       2 OPEN SPACE DR                                                                                SANDWICH            MA 02563‐3100
ORR BONNIE                      PO BOX 707                                                                                     HOWELLS             NY 10932‐0707
ORR BUICK‐PONTIAC‐GMC           1000 TRUMAN BAKER DR                                                                           SEARCY              AR 72143‐8343
ORR BUICK‐PONTIAC‐GMC           WILLIAM ORR                        1000 TRUMAN BAKER DR                                        SEARCY              AR 72143‐8343
ORR CADILLAC HUMMER             WILLIAM ORR                        8750 BUSINESS PARK DR                                       SHREVEPORT          LA 71105‐5610
ORR CADILLAC HUMMER             8750 BUSINESS PARK DR                                                                          SHREVEPORT          LA 71105‐5610
ORR CADILLAC, INC.              STERLING ORR                       10 MILL ST                                                  SPRINGFIELD         MA 01108‐1021
ORR CADILLAC, INC.              10 MILL ST                                                                                     SPRINGFIELD         MA 01108‐1021
ORR CADILLAC‐HUMMER             W. GREGG ORR                       8750 BUSINESS PARK DR                                       SHREVEPORT          LA 71105‐5610
ORR CHEVROLET‐CADILLAC          1000 TRUMAN BAKER DR                                                                           SEARCY              AR 72143‐8343
ORR CINDY                       150 GESSNER RD UNIT 5E                                                                         HOUSTON             TX 77024‐6138
ORR CLASSIC CHEVROLET           941 N CONSTITUTION AVE                                                                         ASHDOWN             AR 71822‐4517
ORR GLENN                       ORR, GLENN
ORR GREGG                       4333 MALL LN                                                                                   TEXARKANA          TX   75501
ORR HERBERT E                   PO BOX 209                                                                                     PAULDING           OH   45879‐0209
ORR HOCKEY GROUP                PO BOX 290836                                                                                  CHARLESTOWN        MA   02129‐0215
ORR III, CHARLES D              PO BOX 1788                                                                                    ARANSAS PASS       TX   78335‐1788
ORR III, JOHN W                 RT 4 BOX 348 B                                                                                 WINDER             GA   30680
ORR INC                         4545 N STATE LINE AVE                                                                          TEXARKANA          TX   75503‐2915
ORR JAMES                       6715 MISTY DALE DR                                                                             KATY               TX   77449
ORR JAMES                       PO BOX 327                                                                                     RUTHERFORD         TN   38369‐0327
ORR JOHN                        ORR, JOHN
ORR JOSEPH D JR                 ORR, JOSEPH D                      2325 GRANT BUILDING 310 GRANT                               PITTSBURGH         PA 15219
                                                                   STREET
ORR JR, ANDREW                  3376 FOX ORCHARD CIR                                                                           INDIANAPOLIS       IN   46214‐1879
ORR JR, DANIEL                  PO BOX 263                                                                                     ETOWAH             TN   37331‐0263
ORR JR, FRED W                  9975 N COUNTY ROAD 800 W                                                                       DALEVILLE          IN   47334‐9508
ORR JR, JAMES N                 12005 SUNDANCE MOUNTAIN RD                                                                     OKLAHOMA CITY      OK   73162‐1553
ORR JR, TRENTON                 3259 GLADSTONE ST                                                                              DETROIT            MI   48206‐2151
ORR JR, WILLIAM A               293 PIPERS LN                                                                                  MOUNT MORRIS       MI   48458‐8704
ORR JR, WILLIAM H               1846 OWEN ST                                                                                   FLINT              MI   48503‐4359
ORR JR, WILLIAM HORACE          5006 SUN LAKE DR                                                                               SAINT CHARLES      MO   63301‐3069
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Name                             Address1                           Address2                    Address3                Address4         City                   State Zip
ORR MALCOLM                      2668 PRITCHARD OHLTOWN RD SW                                                                            WARREN                  OH 44481‐9689
ORR MOTORS OF ARKANSAS, INC      WILLIAM ORR                        4555 CENTRAL AVE                                                     HOT SPRINGS NATIONAL    AR 71913‐7257
                                                                                                                                         PARK
ORR MOTORS OF ASHDOWN, INC.      WILLIAM ORR                        941 N CONSTITUTION AVE                                               ASHDOWN                AR   71822‐4517
ORR MOTORS OF SHREVEPORT, INC.   WILLIAM ORR                        8750 BUSINESS PARK DR                                                SHREVEPORT             LA   71105‐5610
ORR MOTORS SOUTH, INC.           WILLIAM ORR                        1000 TRUMAN BAKER DR                                                 SEARCY                 AR   72143‐8343
ORR PONTIAC‐CADILLAC‐TOYOTA      4555 CENTRAL AVE                                                                                        HOT SPRINGS NATIONAL   AR   71913‐7257
                                                                                                                                         PARK
ORR RICHARD M & VERA I           RD 1                               2517 NEWTON FALLS RD RD 1                                            NEWTON FALLS           OH   44444
ORR ROBERT G                     C\O THE ORR HOCKEY GROUP           ONE INTERNATIONAL PLACE     14TH FLOOR SUITE 1404                    BOSTON                 MA   02110
ORR ROBERT MD                    19350 PARKSIDE ST                                                                                       DETROIT                MI   48221‐1834
ORR SAAB                         8750 BUSINESS PARK DR                                                                                   SHREVEPORT             LA   71105‐5610
ORR SAFETY CORP                  2360 MILLERS LN                                                                                         LOUISVILLE             KY   40216‐5330
ORR SAFETY CORP                  11601 INTERCHANGE DR               PO BOX 198029                                                        LOUISVILLE             KY   40229‐2159
ORR SAFETY CORP                  1801 S LAWNDALE AVE                                                                                     INDIANAPOLIS           IN   46241‐4316
ORR SR, WALLACE L                1382 CADILLAC BLVD                                                                                      DETROIT                MI   48214‐3106
ORR WAYNE                        612 HANGING DOG RD                                                                                      DAWSONVILLE            GA   30534‐6010
ORR WENDELL                      2521 N RIVER RD NE                                                                                      WARREN                 OH   44483‐2637
ORR, ALBERT                      2431 WHITTIER ST                                                                                        SAGINAW                MI   48601‐2465
ORR, ALMA                        5500 N E 82ND AVE                  APT. 205                                                             VANCOUVER              WA   98662
ORR, ALTA L                      1802 TYLER ST                                                                                           MISSION                TX   78572‐8930
ORR, BARBARA J                   352 W. BOONE ST. BOX 32                                                                                 CLOVERDALE             IN   46120
ORR, BETTY E                     1311 RIVER RD PRIVATE              P.O. BOX 540                                                         HONOR                  MI   49640‐0540
ORR, BETTY E                     PO BOX 540                         1311 RIVER RD PRIVATE                                                HONOR                  MI   49640‐0540
ORR, BETTY M                     9848 FINCSTLE WNCHSTR RD                                                                                SARDINIA               OH   45171
ORR, BILL G                      PO BOX 2550                                                                                             GLEN ROSE              TX   76043‐2550
ORR, BOBBIE F                    3840 SAINT AUBIN ST                                                                                     DETROIT                MI   48207‐1403
ORR, BONNIE G                    4988 SPRING HILL DR                                                                                     SUGAR HILL             GA   30518‐4666
ORR, BRIAN L                     157 YOUNGSTOWN HUBBARD RD APT 15                                                                        HUBBARD                OH   44425‐1937

ORR, BRIAN N                     53552 KATARINA DR                                                                                       CHESTERFIELD           MI   48051‐1807
ORR, BRIAN T                     1196 COBBLEFIELD DRIVE                                                                                  MANSFIELD              OH   44903‐8258
ORR, BROADUS L                   605 FLEETFOOT STREET                                                                                    DAYTON                 OH   45408‐1107
ORR, BROADUS L                   605 FLEETFOOT AVE                                                                                       DAYTON                 OH   45408‐1107
ORR, BRUCE L                     502 W 36TH ST                                                                                           WILMINGTON             DE   19802‐2013
ORR, BRYAN G                     16248 SW STETSON ST                                                                                     SHERWOOD               OR   97140‐8783
ORR, CALVIN                      7801 ARENDAL DRIVE                                                                                      FLINT                  MI   48506
ORR, CAROLYN A                   1302 CASTLEMAN AVE SW                                                                                   DECATUR                AL   35601‐3604
ORR, CARROLL W                   2109 OLD LN                                                                                             WATERFORD              MI   48327‐1334
ORR, CHARLES E                   3919 HAVEN PL                                                                                           ANDERSON               IN   46011‐5003
ORR, CHARLES H                   11640 MANFORD CT                                                                                        CINCINNATI             OH   45240‐2128
ORR, CHARLES V                   29900 HIGHMEADOW RD                                                                                     FARMINGTON HILLS       MI   48334‐3010
ORR, CLARENCE J                  15 ABBINGTON DR NW                 STATLER RIDGE                                                        WARREN                 OH   44481‐9002
ORR, CLARENCE J                  15 ABBINGTON NW                    STATLER RIDGE                                                        WARREN                 OH   44481‐9002
ORR, CLAUDIA I                   423 N PEACHTREE                                                                                         NORCROSS               GA   30071‐2140
ORR, CONNIE                      9975 N CR 800 W                                                                                         DALEVILLE              IN   47334‐9508
ORR, CONNIE                      9975 N COUNTY ROAD 800 W                                                                                DALEVILLE              IN   47334‐9508
ORR, CONSTANCE D                 502 NELSON CIRCLE                                                                                       NOBLESVILLE            IN   46060
ORR, CONSTANCE D                 502 NELSON CIR                                                                                          NOBLESVILLE            IN   46060‐5601
ORR, DANIEL J                    PO BOX 335                                                                                              BYRON                  MI   48418‐0335
ORR, DANIEL V                    30441 NORWICH DR                                                                                        NOVI                   MI   48377‐3899
ORR, DANNY M                     2101 MOORESVILLE HWY APT 1403                                                                           LEWISBURG              TN   37091‐4607
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Name                Address1                        Address2             Address3       Address4         City              State Zip
ORR, DAVID A        308 OAKLAND STREET                                                                   HOLLY              MI 48442‐1222
ORR, DAVID ARTHUR   PO BOX 881                                                                           FENTON             MI 48430‐0881
ORR, DAVID F        7009 RIDGE RD                                                                        BALTIMORE          MD 21237‐3845
ORR, DAVID M        2833B CHAMBERLIN RD                                                                  RICE               WA 99167‐9704
ORR, DAVID M        19960 HOMELAND ST                                                                    ROSEVILLE          MI 48066‐1705
ORR, DAVID N        313 UPPERLANDING RD                                                                  BALTIMORE          MD 21221‐4816
ORR, DAVID R        3 HUNTING GLEN CT                                                                    IRMO               SC 29063‐8291
ORR, DEAN R         407 RIDGE HILL PL                                                                    FORT WAYNE         IN 46804‐6498
ORR, DEBBIE M.      10105 CHARTER OAKS DR                                                                DAVISON            MI 48423‐3202
ORR, DEBORAH D      2909 GIBSON ST                                                                       FLINT              MI 48503‐3041
ORR, DEBORAH E      2101 MOORESVILLE HWY APT 1403                                                        LEWISBURG          TN 37091‐4607
ORR, DELMAS J       505 DEARBORN ST                                                                      TIPTON             IN 46072‐1252
ORR, DELORES O      13000 AVONDALE ST APT 208                                                            DETROIT            MI 48215‐3094
ORR, DEWITT R       5432 WIERFIELD PL.                                                                   TROTWOOD           OH 45426‐1826
ORR, DIANA J        20869 VALERA ST                                                                      ST CLAIR SHRS      MI 48080‐1126
ORR, DONALD F       10304 MAHONING AVE                                                                   NORTH JACKSON      OH 44451‐9791
ORR, DONALD H       11640 HERON BAY DR                                                                   FENTON             MI 48430‐8612
ORR, DONALD R       3550 CHIPPEWA DR                                                                     GLENNIE            MI 48737‐9321
ORR, DONNA B        4204 ROLLING RIDGE                                                                   GILLSVILLE         GA 30543‐3031
ORR, DORIS E        3811 LONG MEADOW LANE                                                                LAKE ORION         MI 48359‐1443
ORR, DOROTHY E      B‐3‐7519 STATEN RD                                                                   SARDINIA           OH 45171‐9372
ORR, DOROTHY I      2121 OLD LAKE RD                                                                     LEWISBURG          TN 37091‐5241
ORR, DOROTHY J      11640 HERON BAY DR                                                                   FENTON             MI 48430‐8612
ORR, DOUGLAS R      372 ERSKINE AVE                                                                      BOARDMAN           OH 44512‐2339
ORR, DUANE K        14434 W 139TH PL                                                                     OLATHE             KS 66062‐6132
ORR, EARNEST B      10155 CREEL RD                                                                       FAIRBURN           GA 30213‐2160
ORR, EMILY J        225 SAGEFIELD RD                                                                     SUDLERSVILLE       MD 21668‐1538
ORR, EUNICE T       2272 HILLVIEW ST NW                                                                  HARTSELLE          AL 35640‐4214
ORR, FRANCES K      PO BOX 6723                                                                          KOKOMO             IN 46904‐6723
ORR, FRANK A        438 SAVAGE ST                                                                        SOUTHINGTON        CT 06489‐4137
ORR, FRANKLIN W     14961 CAMBRIDGE LN                                                                   ATHENS             AL 35613‐7105
ORR, FRED S         423 N PEACHTREE ST                                                                   NORCROSS           GA 30071‐2140
ORR, G J            703 FEASEL ST                                                                        EATON RAPIDS       MI 48827‐1394
ORR, GARY A         47 FOXHUNT RD                                                                        LANCASTER          NY 14086
ORR, GARY E         4799 S ORR RD                                                                        HEMLOCK            MI 48626‐9720
ORR, GARY L         325 ALPEANA ST                                                                       AUBURN HILLS       MI 48326‐4561
ORR, GARY L         12472 SAINT MICHEL AVE                                                               ROMEO              MI 48065‐3894
ORR, GEORGINA E     13923 205TH AVE NE                                                                   WOODINVILLE        WA 98077‐7627
ORR, GERALD         21251 SW MARINE BLVD                                                                 DUNNELLON          FL 34431‐4024
ORR, GERALD         9707 BALTIMORE AVE                                                                   SAINT LOUIS        MO 63114‐3113
ORR, GERALD         6410 64TH WAY                                                                        WEST PALM BEACH    FL 33409‐7127
ORR, GILBERT L      2009 W 800 N                                                                         RIDGEVILLE         IN 47380
ORR, GLENN W        5621 GREENWAY ST                                                                     DETROIT            MI 48204‐2176
ORR, HAROLD E       5602 IVY CT                                                                          KOKOMO             IN 46902‐5237
ORR, HAROLD J       6117 GAINES FERRY RD                                                                 FLOWERY BR         GA 30542‐5306
ORR, HARRIET J      5580 BERKELEY RD                                                                     SANTA BARBARA      CA 93111‐1616
ORR, HELEN          840 REDELMAN CT                                                                      NEW CASTLE         IN 47362‐4345
ORR, HELEN R        4120 POWELL AVENUE                                                                   COLUMBUS           OH 43213‐2321
ORR, HENRY D        4353 CENTRAL AVE                                                                     INDIANAPOLIS       IN 46205‐1820
ORR, HERBERT E CO   GREG JOHNSON                    335 W. WALL STREET                                   MARYSVILLE         MI 48040
ORR, HORACE M       4789 BENNETT RD                                                                      BUFORD             GA 30519‐1805
ORR, HUBERT D       7907 COLONIAL DR                                                                     OVERLAND PARK      KS 66204‐3829
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Name              Address1                        Address2                          Address3   Address4         City            State Zip
ORR, IMOGENE V    PO BOX 1104                                                                                   HARTSELLE        AL 35640
ORR, INC.         KEITH ORR                       4502 SAINT MICHAEL DR                                         TEXARKANA        TX 75503‐2300
ORR, INC.         4502 SAINT MICHAEL DR                                                                         TEXARKANA        TX 75503‐2300
ORR, IRMA R       266 ARTHUR ST                                                                                 GARY             IN 46404‐1118
ORR, IVERA E      309 E 3RD ST                                                                                  MUNCIE           IN 47302‐2345
ORR, JACK C       PO BOX 875                                                                                    HARTSELLE        AL 35640‐0875
ORR, JACKIE G     9405 W 1025 S                                                                                 FORTVILLE        IN 46040‐9210
ORR, JAMES A      119 BRADLEY DR                                                                                GERMANTOWN       OH 45327‐8330
ORR, JAMES B      134 GARWOOD DR                                                                                BEAR             DE 19701‐1501
ORR, JAMES C      100 E MICHELLE LN                                                                             PENDLETON        IN 46064‐9537
ORR, JAMES D      2165 SHADEMONT CT                                                                             COLUMBUS         OH 43235
ORR, JAMES I      PO BOX 32                                                                                     MARKLEVILLE      IN 46056‐0032
ORR, JAMES J      6715 MISTY DALE DRIVE                                                                         KATY             TX 77449‐8438
ORR, JAMES L      8634 BROOKSTEAD DR                                                                            CHARLOTTE        NC 28215‐9520
ORR, JAMES M      N3097 WILLING ROAD                                                                            JEFFERSON        WI 53549‐9740
ORR, JAMES N      716 LAWSON DR                                                                                 WESTERVILLE      OH 43081‐4642
ORR, JEFFREY W    3068G DOGWOOD LAKE RD                                                                         BAILEY           MS 39320‐9523
ORR, JERRY F      2405 LITTLE JOHN LN                                                                           CUMMING          GA 30040‐2830
ORR, JIMMY L      5162 WOODHAVEN DR                                                                             FLINT            MI 48504‐1282
ORR, JOANN S      PO BOX 2550                                                                                   GLEN ROSE        TX 76043‐2550
ORR, JOE H        778 DANVILLE RD SW                                                                            DECATUR          AL 35601
ORR, JOHN         GRANT & EISENHOFER PA           45 ROCKEFELLER CENTER 650 FIFTH                               NEW YORK         NY 10111
                                                  AVENUE
ORR, JOHN
ORR, JOHN A       935 PRINCE ST                                                                                 MILFORD         MI   48381‐1773
ORR, JOHN H       11123 OAK LN APT 5105                                                                         BELLEVILLE      MI   48111‐1488
ORR, JOHN K       7425 W 108TH PL                                                                               WORTH           IL   60482‐1054
ORR, JOHN N       11420 NORWAY DR                                                                               HARTLAND        MI   48353‐3433
ORR, JOHN P       PO BOX 3290                                                                                   CLEVELAND       GA   30528‐0058
ORR, JOHN Q       3655 N 400 W                                                                                  SHARPSVILLE     IN   46068‐9166
ORR, JON G        7563 24 MILE RD                                                                               SHELBY TWP      MI   48316‐2503
ORR, JOSEPH A     32114 PERSIMMON LN                                                                            CHESTERFIELD    MI   48047‐4539
ORR, JOSEPH K     4644 S 125 W                                                                                  TIPTON          IN   46072‐8984
ORR, JOSEPHINE    451 COVINA DRIVE SOUTHWEST                                                                    DECATUR         AL   35603‐1941
ORR, JOYCE A      716 LAWSON DR                                                                                 WESTERVILLE     OH   43081‐4642
ORR, JUANITA H    86 E. CO. RD. 360 N.                                                                          ANDERSON        IN   46012
ORR, JUDITH A     10110 GOLFSIDE DR 34                                                                          GRAND BLANC     MI   48439
ORR, KATHLEEN M   PO BOX 120                                                                                    GAINES          PA   16921‐0120
ORR, KEITH L      2909 MALONEY ST                                                                               LANSING         MI   48911‐1775
ORR, KENNETH E    7300 N FAWN LANE                                                                              EMINENCE        IN   46125
ORR, KENNETH E    PO BOX 44                                                                                     EMINENCE        IN   46125‐0044
ORR, KENNETH J    15450 TORY PINES RD                                                                           WEST OLIVE      MI   49460
ORR, KENNETH R    364 ERSKINE AVE                                                                               BOARDMAN        OH   44512‐2339
ORR, LAKIESHA R   7500 BALFOUR DR                                                                               SAINT LOUIS     MO   63133‐1210
ORR, LARRY E      2268 ELK RUN RD                                                                               GAINES          PA   16921‐9542
ORR, LARRY L      405 DAVID AVE                                                                                 LEWISBURG       TN   37091‐3605
ORR, LAURA        2668 PRITCHARD OHLTOWN RD SW    C/O BARBARA MCCOMBS                                           WARREN          OH   44481‐9689
ORR, LAWRENCE D   124 ARABIAN CT                                                                                NEW WHITELAND   IN   46184‐9226
ORR, LEONARD T    6960 DAYTON LIBERTY RD                                                                        DAYTON          OH   45418‐1439
ORR, LINDA D      5162 WOODHAVEN DR                                                                             FLINT           MI   48504
ORR, LINDA S      1030 BRIGHTON COVE DRIVE                                                                      LAWRENCEVILLE   GA   30043‐8321
ORR, LORENA M     12430 NW 45 HIGHWAY                                                                           KANSAS CITY     MO   64152‐1230
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Name               Address1                        Address2            Address3         Address4         City              State Zip
ORR, LORENA M      12430 NW HIGHWAY 45                                                                   KANSAS CITY        MO 64152‐1230
ORR, LUTHER S      4201 EATONS CREEK RD                                                                  NASHVILLE          TN 37218‐1004
ORR, MAC C         PO BOX 1532                                                                           ROBBINSVILLE       NC 28771‐1532
ORR, MACK E        31231 BEECHWOOD ST                                                                    GARDEN CITY        MI 48135‐1971
ORR, MARIAN A      4799 S ORR RD                                                                         HEMLOCK            MI 48626‐9720
ORR, MARIAN A      1685 S RIVER RD                                                                       SAGINAW            MI 48609‐5324
ORR, MARJORIE M    111 EAST ST.                    PO BOX 493                                            LINDEN             MI 48451
ORR, MARK A        PO BOX 476                                                                            ROANOKE            IN 46783‐0476
ORR, MARTHA E      2918 SILVERCLIFF DR                                                                   DAYTON             OH 45449‐3367
ORR, MARVIN E      1000 NE 60TH TER                                                                      GLADSTONE          MO 64118‐5148
ORR, MARY          608 WASHINGTON ST APT B413                                                            CAPE MAY           NJ 08204‐2370
ORR, MARY          608 WASHINGTON ST.              APT B‐413                                             CAPE MAY           NJ 08204‐2370
ORR, MARY          5042 MCLAIN ST                                                                        SWARTZ CREEK       MI 48473‐1215
ORR, MARY A        15081 FORD RD APT 202                                                                 DEARBORN           MI 48126‐4638
ORR, MARY L        37698 COLONIAL DRIVE                                                                  WESTLAND           MI 48185‐7596
ORR, MARY L        8172 W SEAPINE DR.                                                                    MEARS              MI 49436
ORR, MARY W        3930 PHALANX MILLS HERNER RD                                                          SOUTHINGTON        OH 44470‐9708
ORR, MATTHEW J     1921 STEVEN AVENUE              APT 450                                               BEDFORD            IN 47421‐3548
ORR, MATTHEW J     1301 S ADAMS ST APT 15                                                                BLOOMINGTON        IN 47403‐2197
ORR, MATTHEW W     4716 SHERMAN ST                                                                       ONONDAGA           MI 49264‐9785
ORR, MAX S         2740 INDIANA AVE STE 201                                                              KENNER             LA 70062
ORR, MAXINE L      25 ORCHARD DR                                                                         PIQUA              OH 45356‐4232
ORR, MAXINE R      4282 TOMMY ARMOUR DR                                                                  FLINT              MI 48506‐1430
ORR, NANCY F       803 WILLOW BROOK DR NE                                                                WARREN             OH 44483
ORR, NOBLE L       PO BOX 190                                                                            HAZEL              KY 42049‐0190
ORR, PAMELA J      5493 N SAWGRASS LN                                                                    LEESBURG           IN 46538‐9042
ORR, PAMELA JOAN   5493 N SAWGRASS LN                                                                    LEESBURG           IN 46538‐9042
ORR, PATRICIA A    1200 S TRUMBULL ST                                                                    BAY CITY           MI 48708‐7671
ORR, PATRICIA A    1200 SOUTH TRUMBULL                                                                   BAY CITY           MI 48708‐7671
ORR, RAYMOND J     9846 BRUTUS RD                                                                        BRUTUS             MI 49716‐9519
ORR, RETHA A       1022 MANN AVE                                                                         FLINT              MI 48503‐4942
ORR, RHONDA B      6703 WHISPERING WOODS DR                                                              WEST BLOOMFIELD    MI 48322‐5205
ORR, RICHARD H     395 WALLACE DR                                                                        BEREA              OH 44017‐2629
ORR, RICHARD J     1101 S ELLSWORTH RD; UNIT 255                                                         MESA               AZ 85208
ORR, ROBERT C DO   19350 PARKSIDE ST                                                                     DETROIT            MI 48221‐1834
ORR, ROBERT G      118 FLORA CT SE                                                                       WARREN             OH 44484
ORR, ROBERT L      158 VININGS DR SE                                                                     ROME               GA 30161‐6281
ORR, ROBERT L      3625 LYNTZ RD                                                                         LORDSTOWN          OH 44481
ORR, ROBERT L      7407 STATEN RD                                                                        SARDINIA           OH 45171‐8712
ORR, ROBERT R      2145 MARSHALL RD                                                                      MC DONALD          OH 44437
ORR, ROGER A       1022 MANN AVE                                                                         FLINT              MI 48503‐4942
ORR, ROGER B       2906 MEEK AVE                                                                         SIOUX CITY          IA 51111
ORR, RONALD C      1413 HILLSIDE DR                                                                      FLINT              MI 48532‐2420
ORR, RONALD D      2025 ANDERSON ANTHONY RD                                                              LEAVITTSBURG       OH 44430‐9787
ORR, RONALD E      42855 JUDD RD                                                                         BELLEVILLE         MI 48111‐9195
ORR, RUBY C        2121 W COUNTY ROAD 575 N                                                              MIDDLETOWN         IN 47356‐9366
ORR, RUBY C        2121 W CO RD 575 N                                                                    MIDDLETOWN         IN 47356‐9366
ORR, SANDRA A      208 COOPER DR                                                                         HURST              TX 76053‐6129
ORR, SARA L        N 3097 WILLING RD                                                                     JEFFERSON          WI 53539
ORR, SARA L        N3097 WILLING ROAD                                                                    JEFFERSON          WI 53549‐9740
ORR, SHARON O      8217 W PLEASANT RD                                                                    YORKTOWN           IN 47396‐1064
ORR, SHIRLEY G     710 INDIANA AVE.                                                                      NEW CASTLE         IN 47362‐4868
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ORR, STEPHEN L                      4101 SHERATON RD 100                                                                                                LINDEN           MI 48449
ORR, STEPHEN L                      LOT 100                              4101 SOUTH SHERIDAN ROAD                                                       LENNON           MI 48449‐9414
ORR, STEPHEN LEE                    LOT 100                              4101 SOUTH SHERIDAN ROAD                                                       LENNON           MI 48449‐9414
ORR, SUSIE                          420 MINER ST NE                                                                                                     HARTSELLE        AL 35640
ORR, TANJALA L                      2701 MACARTHUR BLVD APT 118                                                                                         LEWISVILLE       TX 75067
ORR, TED C                          4860 PLEASANT AVE                                                                                                   FAIRFIELD        OH 45014‐2560
ORR, TERESA L                       22710 LILAC ST                                                                                                      FARMINGTON       MI 48336‐4243
ORR, TERRELL D                      300 MAPLE ST                                                                                                        GRAYLING         MI 49738‐1514
ORR, TINA M                         2833B CHAMBERLIN RD                                                                                                 RICE             WA 99167‐9704
ORR, TOMEKA E                       5366 OAKTREE                                                                                                        FLINT            MI 48532
ORR, VERNE S                        10071 SKY VIEW DR                                                                                                   POLAND           IN 47868‐7486
ORR, VIVIANN B                      725 BROADWAY AVE APT 2                                                                                              NORTH CHICAGO     IL 60064‐2724
ORR, WANDA                          187 LAUREN LINDSEY LN                                                                                               MANCHESTER       TN 37355‐5888
ORR, WANETA G                       PO BOX 134                                                                                                          MARKLEVILLE      IN 46056‐0134
ORR, WANETA G                       BOX 134                                                                                                             MARKLEVILLE      IN 46056‐0134
ORR, WAYNE E                        1648 N MELITA RD                                                                                                    STERLING         MI 48659‐9766
ORR, WAYNE K                        13401 N RANCHO VISTOSO BLVD UNIT 123                                                                                ORO VALLEY       AZ 85755‐5748

ORR, WENDELL E                      2027 SCARBORO ST                                                                                                    SPRINGFIELD     OH   45506‐3339
ORR, WENDELL L                      2521 NORTH RIVER RD NE                                                                                              WARREN          OH   44483‐2637
ORR, WENDELL L                      2521 N RIVER RD NE                                                                                                  WARREN          OH   44483‐2637
ORR, WILLIAM T                      7427 STATEN RD                                                                                                      SARDINIA        OH   45171‐8712
ORR, WILLIE L                       PO BOX 472                                                                                                          COURTLAND       AL   35618
ORR,JAMES A                         119 BRADLEY DR                                                                                                      GERMANTOWN      OH   45327‐8330
ORR,TERESA DIANA                    1520 PHILLIPS AVE SW                                                                                                DECATUR         AL   35601‐4832
ORR,TILDEA NARI                     824 JEFFERSON ST                                                                                                    COURTLAND       AL   35618‐3408
ORRA ENSZER JR                      2011 REO ST                                                                                                         SAGINAW         MI   48502‐5076
ORRA SUTTON                         PO BOX 437                                                                                                          GOODRICH        MI   48438‐0437
ORRAJ, VINCENT                      301 JONES ST                                                                                                        BODFISH         CA   93205‐9707
ORRANTIA VALERIE                    10138 SALOMA AVE                                                                                                    MISSION HILLS   CA   91345‐2813
ORRE, ALLEN W                       BOX 56                                                                                                              PHILLIPSBURG    OH   45354‐0056
ORRE, ALLEN W                       PO BOX 56                                                                                                           PHILLIPSBURG    OH   45354‐0056
ORRELL, DARRYLE J                   5108 COUNTY ROAD 1010A                                                                                              GODLEY          TX   76044‐3817
ORRELL, MARY G                      618 N JEFFERSON ST                                                                                                  KNIGHTSTOWN     IN   46148‐1028
ORRELL, RICHARD E                   411 W WHARTON DR                                                                                                    MARION          IN   46952‐2004
ORRELL, WILLIAM B                   13837 HIBNER RD                                                                                                     HARTLAND        MI   48353‐2414
ORREN HELLWEGE                      6 HARRISON ST                                                                                                       TAUNTON         MA   02780‐4211
ORREN, ANNE                         25357 LARKINS ST                                                                                                    SOUTHFIELD      MI   48033‐4820
ORRETA MC KNIGHT                    4476 WESTEDGE WAY                                                                                                   GRAND BLANC     MI   48439‐9793
ORRETT A FORBES                     3041 LION POINTE                                                                                                    LITHONIA        GA   30038
ORRI CORPORATION                    6650 HIGHLAND RD STE 307                                                                                            WATERFORD       MI   48327‐1665
ORRICK HERRINGTON & SUTCLIFF LLP    ATTN: ROGER FRANKEL, ESQ                COLUMBIA CENTER                 1152 15TH STREET, N.W                       WASHINGTON      DC   20005
ORRICK HERRINGTON & SUTCLIFF LLP    ATTN: RICHARD H WYRON, ESQ.             COLUMBIA CENTER                 1152 15TH STREET, N.W                       WASHINGTON      DC   20005
ORRICK HERRINGTON & SUTCLIFFE       666 5TH AVE                                                                                                         NEW YORK        NY   10103
ORRICK HERRINGTON & SUTCLIFFE       400 SANSOME ST                          OLD FEDERAL RESERVE BANK BLDG                                               SAN FRANCISCO   CA   94111‐3304

ORRICK HERRINGTON & SUTCLIFFE LLP   39TH FLOOR GLOUCESTER TOWER             LANDMARK 15 QUEENS ROAD                                 CENTRAL HONG KONG
                                                                                                                                    HONG KONG
ORRICK HERRINGTON & SUTCLIFFE LLP   FREDERICK D. HOLDEN, JR. AND JENNA S.   THE ORRICK BUILDING             405 HOWARD STREET                           SAN FRANCISCO   CA 94105‐2669
                                    CLEMENS
                                       09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                                   Exhibit B
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Name                                  Address1                                  Address2                         Address3              Address4                 City              State Zip
ORRICK HERRINGTON & SUTCLIFFE LLP     ATT: FREDERICK D. HOLDEN, JR., JENNA S.   ATTY FOR APL CO. PTE LTD AND     666 FIFTH AVENUE                               NEW YORK           NY 10103
                                      CLEMENS                                   AMERICAN PRESIDENT LINES, LTD.

ORRICK TRAILER SVC LLC                ATTN: DAN ORRICK                          600 SUNSHINE RD                                                                 KANSAS CITY       KS 66115‐1234
ORRICK, CATHLENE                      MURPHY JAMES R JR                         221 E BRANCH ST                                                                 ARROYO GRANDE     CA 93420‐2703
ORRICK, HERRINGTON & SUTCLIFEE LLP    ATT: LORRAINE S. MCGOWEN                  ATTY FOR FISKER AUTOMOTIVE, INC. 51 WEST 52ND STREET                            NEW YORK          NY 10019

ORRICK, HERRINGTON & SUTCLIFFE LLP    ATTN: RICHARD H. WYRON & ROBERT F.        ATTY FOR FISKER AUTOMOTIVE, INC. COLUMBIA CENTER       1152 15TH STREET, N.W.   WASHINGTON        DC 20005‐1706
                                      LAWRENCE
ORRICK, HERRINGTON & SUTCLIFFE LLP    ATTY FOR HELLA KGAA HUECK; HELLA          ATTN: RICHARD H. WYRON, ESQ.     COLUMBIA CENTER       1152 15TH STREET, N.W.   WASHINGTON        DC 20005‐1706
                                      CORPORATE CENTER USA; BEHR‐HELLA
ORRICK, HERRINGTON & SUTCLIFFE LLP    ATTY FOR HELLA KGAA HUECK; HELLA          ATTN: JOHN ANSBRO                666 FIFTH AVENUE                               NEW YORK          NY 10103
                                      CORPORATE CENTER USA; BEHR‐HELLA
ORRICK, HERRINGTON & SUTCLIFFE, LLP   ATTN: ALYSSA D. ENGLUND                   666 FIFTH AVENUE                                                                NEW YORK          NY 10103‐0002

ORRICK, ISABELL E                     5219 BRONCO DR                                                                                                            CLARKSTON         MI 48346‐2607
ORRICK, JAMES L                       6760 N GERONIMO WAY                                                                                                       CHINO VALLEY      AZ 86323‐8107
ORRICK, RANDALL DALE
ORRICK, TERRY L                       4221 N LANCASTER DR                                                                                                       MUNCIE            IN   47304‐1308
ORRICK, WILLIAM A                     2626 E LAKE SHORE DR                                                                                                      GRAYLING          MI   49738‐9773
ORRICK, WINDY                         FISHER & CARRASCO                         1119 PALM ST                                                                    SAN LUIS OBISPO   CA   93401‐3113
ORRICO, FRANK J                       25 RENAISSANCE DR                                                                                                         ROCHESTER         NY   14626‐4300
ORRIE DOTSON                          603 MEADOW LANE AVE                                                                                                       WEST JEFFERSON    NC   28694‐9792
ORRILL, DANIEL W                      6852 PARK VISTA RD                                                                                                        ENGLEWOOD         OH   45322‐3717
ORRILL, DANIEL WILBUR                 6852 PARK VISTA RD                                                                                                        ENGLEWOOD         OH   45322‐3717
ORRILL, RICKY D                       3862 ARK AVE                                                                                                              DAYTON            OH   45416‐2006
ORRILL, TERRY L                       129 BLUE BELL DR                                                                                                          EATON             OH   45320‐2297
ORRILL,RICKY D                        3862 ARK AVE                                                                                                              DAYTON            OH   45416‐2006
ORRIN FRITZ                           BEVAN & ASSOCIATES, LPA, INC.             6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS.       OH   44236
ORRIN GEETING                         1609 S NIAGARA ST                                                                                                         SAGINAW           MI   48602‐1377
ORRIN JACKSON                         511 HANCHETT ST                                                                                                           SAINT CHARLES     MI   48655‐1843
ORRIN JOHNSON                         13964 GRANDMONT AVE                                                                                                       DETROIT           MI   48227‐1308
ORRIN MATTESON                        582 E MADISON AVE                                                                                                         PONTIAC           MI   48340‐2932
ORRIN MOSES                           59 FOXPOINTE CT                                                                                                           SWARTZ CREEK      MI   48473‐8282
ORRIN P MATTESON                      582 E MADISON AVE                                                                                                         PONTIAC           MI   48340‐2932
ORRIN RECTOR                          BEVAN & ASSOCIATES LPA INC                6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS        OH   44236
ORRIN SIMMONS                         PO BOX 773212                                                                                                             STEAMBOAT SPR     CO   80477‐3212
ORRIN SNIDER                          309 HOWARD ST                                                                                                             BAY CITY          MI   48708‐7090
ORRIN TUCKER                          45 MOCK ST                                                                                                                HUBBARD           OH   44425‐1429
ORRINGER, ALAN D
ORRINGER, HOWARD N                    14304 DARTS DR.                                                                                                           FENTON            MI   48430
ORRINGER, HOWARD N.                   14304 DARTS DR.                                                                                                           FENTON            MI   48430
ORRINO, ENRIGETTA                     921 GARDEN ST                                                                                                             BRISTOL           PA   19007‐3913
ORRINO, GERALD F                      1149 BELMAR AVE                                                                                                           PORT CHARLOTTE    FL   33948‐6200
ORRINO, ROBERT R                      PO BOX 380171                                                                                                             MURDOCK           FL   33938‐0171
ORRIS ADKINS                          110 PEBBLE BROOK DR                                                                                                       CLINTON           MS   39056‐5818
ORRIS EILEEN H                        2230 E SAND RD                                                                                                            PORT CLINTON      OH   43452‐1526
ORRIS HALL                            2279 W COLDWATER RD                                                                                                       FLINT             MI   48505‐4808
ORRIS JOYCE                           5391 BULL CREEK RD                                                                                                        TARENTUM          PA   15084‐3120
ORRIS JR, WILLIAM A                   2225 E SAND RD                                                                                                            PORT CLINTON      OH   43452‐1525
ORRIS REED                            4472 CROSBY RD                                                                                                            FLINT             MI   48506‐1418
ORRIS SMALLWOOD                       2036 WASHINGTON CREEK LN                                                                                                  CENTERVILLE       OH   45458‐2811
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Name                       Address1                        Address2                     Address3               Address4                City              State Zip
ORRIS, GARY S              246 PEAT MOSS RD                                                                                            WHITE HAVEN        PA 18661‐3808
ORRIS, WILLIAM S           313 GRACE HALL                                                                                              NOTRE DAME         IN 46556‐5612
ORRISON DWAYNE             ORRISON, DWAYNE                 2001 US HIGHWAY 46 STE 310                                                  PARSIPPANY         NJ 07054‐1315
ORRISON JR, T E            1042 E MAIN ST                                                                                              FLUSHING           MI 48433‐2240
ORRISON, GARY W            702 BRENDEN WAY                                                                                             OSSIAN             IN 46777‐9685
ORRISON, NORMA D           G‐6117 WENDT DRIVE                                                                                          FLINT              MI 48507‐3823
ORRISON, RONALD F          6061 BROBECK ST                                                                                             FLINT              MI 48532‐4007
ORRISS POWELL              7102 PEMBROKE AVE                                                                                           DETROIT            MI 48221‐1257
ORRISS, JUANITA L          5540 AVENUE C                                                                                               BOKEELIA           FL 33922‐3263
ORRITT, JACK K             7633 E INDIAN BEND RD                                                                                       SCOTTSDALE         AZ 85250‐4634
ORS NASCO INC              2348 E SHAWNEE RD                                                                                           MUSKOGEE           OK 74403‐1423
ORS, CARLOS                5564 S ROME WAY                                                                                             CENTENNIAL         CO 80015‐7508
ORSAG, JOHN F              8080 BLACKLEAF CT                                                                                           CENTERVILLE        OH 45458‐2910
ORSAK, HENRY R             100 JANE LN                                                                                                 BRISTOL            VA 24201‐5041
ORSBORN, HOLLIS C          4313 HIDDEN VALLEY RD                                                                                       DECATUR            GA 30035‐1426
ORSBORNE, DALLAS R         306 PAYTON AVE                                                                                              INDIANAPOLIS       IN 46219‐5124
ORSBORNE, JAMES A          2128 BIG CYPRESS BLVD                                                                                       LAKELAND           FL 33810‐2306
ORSBORNE, JAMES A          204 KILLDEER CT                                                                                             JANESVILLE         WI 53546‐2959
ORSBORNE, KATHRYN          204 KILLDEER CT                                                                                             JANESVILLE         WI 53546‐2959
ORSBORNE, WALTER A         1913 VAN AUKEN RD                                                                                           NEWARK             NY 14513‐9220
ORSBURN, THERESA L         147 W ELY ST                                                                                                ALLIANCE           OH 44601‐1703
ORSBURNE, CURTIS A         3353 COLBY LN                                                                                               JANESVILLE         WI 53546‐1953
ORSBURNE, PEGGY L          3353 C0LBY LN                                                                                               JANESVILLE         WI 53546
ORSBY WILLINGHAM           614 NORTHLAWN DR                                                                                            YOUNGSTOWN         OH 44505‐1554
ORSCHELA PRODUCTS LLC      8351 COUNTY ROAD 245                                                                                        HOLMESVILLE        OH 44633‐9724
ORSCHELL, ROBERT J         2416 NERREDIA ST                                                                                            FLINT              MI 48532‐4827
ORSCHELN CO                1177 N MORLEY ST                                                                                            MOBERLY            MO 65270‐2736
ORSCHELN LEVER SALES CO.   JAY FERNAMBERG                  1177 N MORLEY ST                                                            MOBERLY            MO 65270‐2736
ORSCHELN LEVER SALES CO.   JAY FERNAMBERG                  1177 MORLEY STREET                                                          OBERLIN            OH 44074
ORSCHELN PRODUCTS LLC      JAY FERNAMBERG                  8351 COUNTY ROAD 245         ORSCHELN SITE #84                              HOLMESVILLE        OH 44633‐9724
ORSCHELN PRODUCTS LLC      JAY FERNAMBERG                  ORSCHELN SITE #84            8351 COUNTY ROAD 245   RAMOS ARIZPE CZ 25900
                                                                                                               MEXICO
ORSCHELN PRODUCTS LLC      8351 COUNTY RD STE 245                                                                                      HOLMESVILLE       OH   44633
ORSCHELN PRODUCTS LLC      JAY FERNAMBERG                  1177 MORLEY STREET                                                          OBERLIN           OH   44074
ORSCHELN PRODUCTS LLC      JAY FERNAMBERG                  1177 N MORLEY ST                                                            MOBERLY           MO   65270‐2736
ORSCHELN PRODUCTS LLC      1177 N MORLEY ST                                                                                            MOBERLY           MO   65270‐2736
ORSCO INC                  50650 CORPORATE DR                                                                                          SHELBY TOWNSHIP   MI   48315‐3107
ORSCO/MADISON HGTS         50650 CORPORATE DR                                                                                          SHELBY TOWNSHIP   MI   48315‐3107
ORSER, CARMEN C            139 DANBURY DR                                                                                              BUFFALO           NY   14225‐2002
ORSER, JACK H              52 OLD ORCHARD DR                                                                                           DAVISON           MI   48423‐9122
ORSER, JERALD T            10117 OAK RD                                                                                                OTISVILLE         MI   48463‐9738
ORSER, JOHN L              9404 WOODSIDE TRL                                                                                           SWARTZ CREEK      MI   48473‐8589
ORSER, ROBYN L             1662 KENSINGTON PL                                                                                          THE VILLAGES      FL   32162‐6731
ORSETTO, VINCENT           46132 LOVELAND DR                                                                                           MACOMB            MI   48044
ORSHOSKI, DAVID N          1510 BOGART RD                                                                                              HURON             OH   44839‐9390
ORSHOSKI, HELEN I          5055 PROVIDENCE DR              APT 308                                                                     SANDUSKY          OH   44870‐1428
ORSHOSKI, HELEN I          5005 PROVIDENCE DR              APT 308                                                                     SANDUSKY          OH   44870
ORSI MATTHEW DAVID         MODERN STRIPPING TECHNOLOGIES   22608 GARFIELD ST                                                           ST CLR SHORES     MI   48082‐1830
ORSI, GEMMA M              9 BRU MAR DR                                                                                                ROCHESTER         NY   14606‐5317
ORSI, PHILIP L             170 WILLIAM ST                                                                                              YOUNGSTOWN        NY   14174‐1055
ORSI, SILVANO              9 BRU MAR DR                                                                                                ROCHESTER         NY   14606‐5317
ORSINE, JAMES L            1577 ROOSEVELT AVE                                                                                          NILES             OH   44446‐4105
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Name                              Address1                        Address2                            Address3   Address4                 City           State Zip
ORSINI FELICE (639096)            ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                                WILMINGTON      DE 19801‐1813
ORSINI, DANA M                    1009 MILL RACE DR                                                                                       MARTINSBURG     WV 25401‐9210
ORSINI, FELICE                    ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                                WILMINGTON      DE 19801‐1813
ORSINI, JOHN                      189 BIELAK RD                                                                                           ORCHARD PARK    NY 14127‐1011
ORSINI, NORMA M                   102 ROYAL TROON DR SE                                                                                   WARREN          OH 44484‐4664
ORSINI, PASQUALE J                54 HILLVIEW TER                                                                                         BUFFALO         NY 14224‐2817
ORSINI, PASQUALE JOSEPH           54 HILLVIEW TER                                                                                         BUFFALO         NY 14224‐2817
ORSINI, RAYMOND P                 385 JEREMIAH DR UNIT E                                                                                  SIMI VALLEY     CA 93065‐1684
ORSINI, ROSARIO D                 2831 CRANBROOK RIDGE CT                                                                                 ROCHESTER       MI 48306‐4711
ORSLEY WALKER                     2353 OZARK TRL SW                                                                                       ATLANTA         GA 30331‐7025
ORSO, DONALD A                    PO BOX 1521                                                                                             NOXON           MT 59853‐1521
ORSO, JOSEPH B                    405 N ELIZABETH AVE                                                                                     FURGESON        MO 63135‐3509
ORSO, JOSEPH B                    1 PRATT PLACE APT 242                                                                                   FLORISSANT      MO 63031
ORSO, KAREN D                     192 MILAN STREET                                                                                        LEWISVILLE      TX 75067‐4198
ORSO, LUCILLE A                   2035 NOBLE AVE.                                                                                         FLINT           MI 48532
ORSO, LUCILLE A                   2035 NOBLE AVE                                                                                          FLINT           MI 48532‐3915
ORSO, VIDMER                      ANDERSON N CALHOUN JR           340 EISENHOWER DRIVE ‐ BLDG 300 ‐                                       SAVANNAH        GA 31416
                                                                  SUITE B ‐ P O BOX 13823
ORSON BARBER JR                   1220 E DECAMP ST                                                                                        BURTON         MI    48529‐1108
ORSON BELL JR                     2705 MCLEMORE WAY                                                                                       FRANKLIN       TN    37064‐1155
ORSON BENNETT                     3184 PEBBLE BEND DR BOX 58                                                                              LAKELAND       FL    33810
ORSON WANG                        16840 FARMINGTON ROAD                                                                                   LIVONIA        MI    48154‐2947
ORSON, GLORIA N.                  914 GLENDON WAY                                                                                         CARY           NC    27519‐9704
ORSON, GLORIA N.                  900 GLENDON WAY #914                                                                                    CARY           NC    27519‐9781
ORSON, STANISLAWA S               850 SPRUCE ST                                                                                           TRENTON        NJ    08648‐4530
ORSOVA BRUNETTE                   250 BUCKINGHAM RD                                                              WINDSOR ON CANADA N8S‐
                                                                                                                 2C6
ORSUA, GEORGE                     125 W ROSE ST APT 1                                                                                     STOCKTON       CA    95202
ORSZEWSKI, BERNARD S              34 BARKALOW ST                                                                                          SOUTH AMBOY    NJ    08879‐1331
ORSZULAK, ANN M                   290 GRAND ST                                                                                            LOCKPORT       NY    14094‐2114
ORT TOOL & DIE CORP               PO BOX 5008                                                                                             TOLEDO         OH    43611‐0008
ORT TOOL & DIE CORP               PO BOX 5008                     6555 S DIXIE HWY                                                        TOLEDO         OH    43611‐0008
ORT TOOL/ERIE                     6555 S DIXIE HWY                                                                                        ERIE           MI    48133‐9691
ORT TRUCKING INC                  PO BOX 190                                                                                              NEW LONDON     WI    54961
ORT, CAROL A                      50 SUMMIT HILL DR                                                                                       ROCHESTER      NY    14612‐3828
ORT, GALE L                       3024 BLUE GRASS LN                                                                                      SWARTZ CREEK   MI    48473‐7930
ORT, JOHN R                       50 SUMMIT HILL DR                                                                                       ROCHESTER      NY    14612‐3828
ORT, LARRY G                      2431 W 800 N                                                                                            FREMONT        IN    46737‐9654
ORT, LINDA P                      5663 DONATELLO DR ‐ 92                                                                                  FORT WAYNE     IN    46818
ORT, MARTIN D                     3024 BLUE GRASS LN                                                                                      SWARTZ CREEK   MI    48473‐7930
ORTA JR, DANIEL                   456 FOREST ST                                                                                           WYANDOTTE      MI    48192‐6819
ORTA PEDRO (ESTATE OF) (637078)   GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                              EDWARDSVILLE   IL    62025‐0959
                                  ANTOGNOLI
ORTA, ARTHUR C                    1008 W FORT SCOTT ST                                                                                    BUTLER         MO    64730‐1201
ORTA, ARTHUR J                    13547 WEBSTER RD                                                                                        BATH           MI    48808‐9769
ORTA, DAVID                       5018 W 18 STREET                                                                                        CICERO         IL    60804
ORTA, GREGORIO                    5220 S JACKSON RD                                                                                       JACKSON        MI    49201‐8385
ORTA, KINA A                      407 N BAGLEY ST                                                                                         DALLAS         TX    75211‐3813
ORTA, PAUL A                      PO BOX 5154                                                                                             UVALDE         TX    78802‐5154
ORTA, PEDRO                       GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                              EDWARDSVILLE   IL    62025‐0959
                                  ANTOGNOLI
ORTA, PEDRO C                     4435 S HONORE ST                                                                                        CHICAGO         IL   60609‐3146
                                         09-50026-mg          Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                                     Exhibit B
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Name                                Address1                            Address2                            Address3                  Address4                  City                 State Zip
ORTA, STEVEN J                      408 DUTTON STREET                                                                                                           EATON RAPIDS          MI 48827‐1512
ORTAL LINDSLEY                      1018 MILDRED ST                                                                                                             FLUSHING              MI 48433‐1756
ORTAL MAGNESIUM DIECASTING 1995 LTD FMLY ORTAL DIECASTING LTD           KIBBUTZ NEVE UR MP BEIT SHEAN                                 10875 ISRAEL ISRAEL

ORTAL PRESSURE CASTING (1993) LTD    .                                                                                                KIBBUTZ NAVE OR MP BEIT
                                                                                                                                      SHEAN IL 10875 ISRAEL
ORTBACH, MILDRED                     60 BASTIAN RD                                                                                                              ROCHESTER            NY    14623‐1120
ORTBAL, ROBERT J                     6890 GUILDFORD DR                                                                                                          SHELBY TOWNSHIP      MI    48316‐3334
ORTECH                               YUHSHIN USA LTD                    2806 INDUSTRIAL RD                                                                      KIRKSVILLE           MO    63501‐4832
ORTECH                                                                  24000 GREATER MACK AVENUE                                                                                    MI    48080
ORTECH INC                           2543 SIERRA BLVD                                                                                                           SACRAMENTO           CA    95825‐4868
ORTECH/MISSISSAUGA                   2395 SPEAKMAN DRIVE                                                                              MISSISSAUGA ON L5K 1B3
                                                                                                                                      CANADA
ORTECH/ST CLAIRE SHO                 24000 GREATER MACK AVE                                                                                                     SAINT CLAIR SHORES   MI 48080‐1408
ORTEGA AUTOMOTIVE                    619 N EASTWOOD ST                                                                                                          HOUSTON              TX 77011‐1029
ORTEGA IVELISSA                      ORTEGA, IVELISSA                   CAPITOL PLACE 21 OAK STREET SUITE                                                       HARTFORD             CT 06106
                                                                        602
ORTEGA JOSE I (ESTATE OF) (642828)   GOLDENBERG, MILLER, HELLER &       PO BOX 959                                                                              EDWARDSVILLE          IL   62025‐0959
                                     ANTOGNOLI
ORTEGA JR, FELICIANO                 2626 NORMENT PL SW                                                                                                         ALBUQUERQUE          NM    87105‐7261
ORTEGA JR, LEONIDES                  4964 SHALLOW CREEK TRL NW                                                                                                  KENNESAW             GA    30144‐1491
ORTEGA LINA                          5351 NW 120TH AVE                                                                                                          CORAL SPRINGS        FL    33076‐3237
ORTEGA MIKE SR                       503 W MAIN ST                                                                                                              BISHOP               TX    78343‐2528
ORTEGA NESTOR I                      ORTEGA, NESTOR I                   BICKEL LAW FIRM INC                 750 B STREET SUITE 1950                             SAN DIEGO            CA    92101‐8107
ORTEGA PETE A (663913)               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                             NORFOLK              VA    23510
                                                                        STREET, SUITE 600
ORTEGA RAMONA D                      DURAN, MIGUEL ORTEGA               120 BIRMINGHAM DR STE 200                                                               CARDIFF              CA 92007‐1753
ORTEGA RAMONA D                      ORTEGA, ANABELEN                   5200 NORTH PALM AVENUE 4TH                                                              FRESNO               CA 93704
                                                                        FLOOR
ORTEGA RAMONA D                      ORTEGA, BULMARO                    120 BIRMINGHAM DR STE 200                                                               CARDIFF              CA 92007‐1753
ORTEGA RAMONA D                      ORTEGA, BULMARO                    5200 NORTH PALM AVENUE 4TH                                                              FRESNO               CA 93704
                                                                        FLOOR
ORTEGA RAMONA D                      ORTEGA, RAMONA D                   120 BIRMINGHAM DR STE 200                                                               CARDIFF              CA 92007‐1753
ORTEGA RAMONA D                      ORTEGA, RODRIGO                    5200 NORTH PALM AVENUE 4TH                                                              FRESNO               CA 93704
                                                                        FLOOR
ORTEGA RAMONA D                      REYES, MARIA L                     5200 NORTH PALM AVENUE 4TH                                                              FRESNO               CA 93704
                                                                        FLOOR
ORTEGA SR., ANTHONY J                9 W HIGH ST                                                                                                                PLEASANT HILL        OH    45359
ORTEGA TOM                           1310 RAINDANCE DR                                                                                                          ROCK SPRINGS         WY    82901‐4554
ORTEGA, AARON                        408 E ORANGE ST                                                                                                            ANGLETON             TX    77515‐4969
ORTEGA, ANABELEN                     LANG RICHERT & PATCH               5200 NORTH PALM AVENUE 4TH                                                              FRESNO               CA    93704
                                                                        FLOOR
ORTEGA, ARELYS
ORTEGA, BENJAMIN                     2208 NW 82ND ST                                                                                                            KANSAS CITY          MO 64151‐3713
ORTEGA, BULMARO                      GOLDSTEIN MICHAEL LAW OFFICES OF   120 BIRMINGHAM DR STE 200                                                               CARDIFF              CA 92007‐1753
ORTEGA, BULMARO                      LANG RICHERT & PATCH               5200 NORTH PALM AVENUE 4TH                                                              FRESNO               CA 93704
                                                                        FLOOR
ORTEGA, CARMEN P                     3029 GREENHAVEN CT                                                                                                         ELLICOTT CITY        MD    21042‐7830
ORTEGA, DANIEL                       1022 BROCKWAY ST                                                                                                           SAGINAW              MI    48602‐2259
ORTEGA, DANIEL F                     1605 S GRAHAM RD                                                                                                           SAGINAW              MI    48609‐8823
ORTEGA, DANIEL F                     1143 N FROST DR                                                                                                            SAGINAW              MI    48638‐5454
ORTEGA, DANIEL F                     729 WAUGH ST                                                                                                               ALLIANCE             OH    44601‐4165
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Name                  Address1                       Address2            Address3         Address4         City                   State Zip
ORTEGA, DANNY J       11531 RINCON AVE                                                                     SAN FERNANDO            CA 91340‐4142
ORTEGA, DAVID         391 W COLUMBIA AVE                                                                   PONTIAC                 MI 48340‐1619
ORTEGA, DAVID         391 WEST COLUMBIA AVENUE                                                             PONTIAC                 MI 48340‐1619
ORTEGA, DIANA E       9329 JOSEPH AVE                                                                      ALLEN PARK              MI 48101‐1678
ORTEGA, DOMINGO       1024 BOOTH AVE                                                                       TOLEDO                  OH 43608‐1407
ORTEGA, ELIZABETH A   243 KILDARE COURT                                                                    O FALLON                MO 63366‐7425
ORTEGA, ENRIQUE       3700 N CENTER RD                                                                     SAGINAW                 MI 48603‐1922
ORTEGA, FELES M       2394 S GENESEE RD                                                                    BURTON                  MI 48519‐1234
ORTEGA, FELICIA C     8603 N LATHROP DR                                                                    KANSAS CITY             MO 64155‐2699
ORTEGA, FERNANDO      4402 RAIN FOREST DR                                                                  ARLINGTON               TX 76017‐2161
ORTEGA, FRANK M       3742 2ND STREET                                                                      MOORPARK                CA 93021
ORTEGA, FRANK R       14376 ORO GRANDE ST                                                                  SYLMAR                  CA 91342‐4148
ORTEGA, FREDERICK     6724 DRIFFIELD CIR W                                                                 NORTH RICHLAND HILLS    TX 76180‐4460
ORTEGA, GEORGETTE E   4498 COCHRAN ST                                                                      SIMI VALLEY             CA 93063‐3066
ORTEGA, GERALDINE M   PO BOX 128                                                                           HOUGHTON LAKE HEIGHT    MI 48630‐0128
ORTEGA, GILBERT P     3637 GREENS MILL RD                                                                  SPRING HILL             TN 37174‐2127
ORTEGA, GILBERTA      9670 MIDLAND RD                                                                      FREELAND                MI 48623‐9762
ORTEGA, GLORIA M      43238 MONTROSE AVE                                                                   FREMONT                 CA 94538‐6002
ORTEGA, GRISEL        1421 COCHRAN DR                                                                      LAKE WORTH              FL 33461‐6011
ORTEGA, HUMBERTO G    2678 WOODACRES RD NE                                                                 ATLANTA                 GA 30345‐1645
ORTEGA, IRENE         3300 CONTINENTAL DR                                                                  LANSING                 MI 48911‐1414
ORTEGA, IVELISSA      C/O WILLCUTTS LAW GROUP LLC    PO BOX 320625                                         HARTFORD                CT 06123
ORTEGA, IVELISSE
ORTEGA, JANENE R      1326 AVOLENCIA DR                                                                    FULLERTON              CA   92835‐3703
ORTEGA, JESSE         1737 COUNCIL DR                                                                      SUN CITY CENTER        FL   33573‐5210
ORTEGA, JESSE A       1340 N MORRISH RD                                                                    FLINT                  MI   48532‐2058
ORTEGA, JESSE C       116 STEVEN CT                                                                        COLUMBIA               TN   38401‐5566
ORTEGA, JESUS         920 FRANK ST                                                                         ADRIAN                 MI   49221‐3021
ORTEGA, JOANN S       6601 BLUEWATER RD                                                                    OKLAHOMA CITY          OK   73165‐9651
ORTEGA, JOHN          616 CURVE ST SW                                                                      GRAND RAPIDS           MI   49503‐5064
ORTEGA, JOHN D        8603 N LATHROP DR                                                                    KANSAS CITY            MO   64155‐2699
ORTEGA, JOSE          GOLDENBERG, MILLER, HELLER &   PO BOX 959                                            EDWARDSVILLE           IL   62025‐0959
                      ANTOGNOLI
ORTEGA, JOSE E        28080 E 11TH ST                                                                      HAYWARD                CA 94544‐4816
ORTEGA, JOSE I        GOLDENBERG, MILLER, HELLER &   PO BOX 959                                            EDWARDSVILLE           IL 62025‐0959
                      ANTOGNOLI
ORTEGA, JOSE O        1416 IRENE AVE                                                                       FLINT                  MI   48503‐3552
ORTEGA, JOSHUA        3121 SE WISCONSIN AVE                                                                TOPEKA                 KS   66605‐2667
ORTEGA, JUANA         534 S 18TH ST                                                                        READING                PA   19606‐2615
ORTEGA, LAURA E       4964 SHALLOW CREEK TRL NW                                                            KENNESAW               GA   30144‐1491
ORTEGA, LOUIS L       19 HORIZON DR                                                                        SAINT PETERS           MO   63376‐3556
ORTEGA, LUPE F        3526 SAN PABLO LN                                                                    SANTA BARBARA          CA   93105‐3220
ORTEGA, LUPITA        43 TACOMA CT                                                                         PONTIAC                MI   48342‐1289
ORTEGA, LUPITA        43 TACOMA COURT                                                                      PONTIAC                MI   48342‐1289
ORTEGA, MACARIO C     802 S 18TH ST                                                                        MILWAUKEE              WI   53204
ORTEGA, MADELINE M    18695 SANTA ROSA DR                                                                  DETROIT                MI   48221‐2246
ORTEGA, MARIA E       5920 FRASER RD                                                                       BAY CITY               MI   48706
ORTEGA, MARTIN        5920 FRASER RD                                                                       BAY CITY               MI   48706‐9729
ORTEGA, MICHAEL A     3261 BARRINGTON CIR                                                                  SAGINAW                MI   48603‐3080
ORTEGA, MICHAEL R     243 KILDARE COURT                                                                    O FALLON               MO   63366‐7425
ORTEGA, ORLANDO       1101 SE MENDOZA AVE                                                                  PORT ST LUCIE          FL   34952‐5310
ORTEGA, OSCAR         1375 DOVER PLACE                                                                     SAGINAW                MI   48603‐5544
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Name                                   Address1                           Address2                      Address3             Address4             City              State Zip
ORTEGA, OSCAR                          1375 DOVER PL                                                                                              SAGINAW            MI 48638‐5544
ORTEGA, PATRICIA                       1509 BLOCKFORD CT E                                                                                        TALLAHASSEE        FL 32317‐8461
ORTEGA, PAUL D                         6601 BLUEWATER RD                                                                                          OKLAHOMA CITY      OK 73165‐9651
ORTEGA, PEDRO                          1450 PIUS ST                                                                                               SAGINAW            MI 48603
ORTEGA, PETE A                         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA 23510‐2212
                                                                          STREET, SUITE 600
ORTEGA, RAMONA
ORTEGA, RAMONA B                       2394 S GENESEE RD                                                                                          BURTON            MI    48519‐1234
ORTEGA, RAMONA D                       GOLDSTEIN MICHAEL LAW OFFICES OF   120 BIRMINGHAM DR STE 200                                               CARDIFF           CA    92007‐1753
ORTEGA, RICHARD L                      3810 S 48TH ST                                                                                             MILWAUKEE         WI    53220‐2102
ORTEGA, RITA L                         7331 PADOVA DR                                                                                             GOLETA            CA    93117‐1320
ORTEGA, ROBERT                         6220 CLOVER WAY S                                                                                          SAGINAW           MI    48603‐1056
ORTEGA, ROBERT J                       1707 GLENOAKS BLVD                                                                                         SAN FERNANDO      CA    91340
ORTEGA, ROBERT J                       2244 DELAWARE BLVD                                                                                         SAGINAW           MI    48602‐5226
ORTEGA, ROBERTO A                      19503 STEVENS CREEK BLVD STE 212                                                                           CUPERTINO         CA    95014‐2471
ORTEGA, ROBERTO A                      6500 CHATHAM CIR                                                                                           ROCHESTER HILLS   MI    48306‐4382
ORTEGA, RODRIGO                        LANG RICHERT & PATCH               5200 NORTH PALM AVENUE 4TH                                              FRESNO            CA    93704
                                                                          FLOOR
ORTEGA, ROSITA R                       PO BOX 5025                                                                                                DELTONA           FL    32728
ORTEGA, RUDOLFO S                      619 TONOPAH AVE                                                                                            LA PUENTE         CA    91744‐2457
ORTEGA, SANTIAGO                       3029 GREENHAVEN CT                                                                                         ELLICOTT CITY     MD    21042‐7830
ORTEGA, SILVANA                        3810 S 48TH ST                                                                                             MILWAUKEE         WI    53220‐2102
ORTEGA, SILVANA                        3810 S. 48TH ST.                                                                                           MILWAUKEE         WI    53220
ORTEGA, STEPHEN A                      449 POINTE TREMBLE RD                                                                                      ALGONAC           MI    48001‐1806
ORTEGA, TOMAS
ORTEGA, TOMASITA                       PO BOX 624                                                                                                 CHAMISAL          NM    87521
ORTEGA, VANESSA                        517 78TH ST                                                                                                NORTH BERGEN      NJ    07047‐4927
ORTEGA,DANIEL                          194 23RD AVE                                                                                               PATERSON          NJ    07513
ORTEGA‐CORRAL, GUADALUPE M             6505 HUMMINGBIRD ST                                                                                        VENTURA           CA    93003‐6908
ORTEGO DARIN                           8123 AYLSWORTH RD                                                                                          ELTON             LA    70532‐3614
ORTEGO, ROY                            6979 FOX MEADOW DR NE                                                                                      ROCKFORD          MI    49341‐7841
ORTEGON JR, ERNESTO                    4024 MAR MOOR DR                                                                                           LANSING           MI    48917‐1610
ORTEGON JR, RAMON                      PO BOX 366                                                                                                 LA PRYOR          TX    78872‐0366
ORTEGON, ALBERT L                      1016 82 AVE                                                                                                OAKLAND           CA    94621
ORTEGON, ARTHUR E                      1016 82ND AVE                                                                                              OAKLAND           CA    94621
ORTEGON, ARTURO                        1016 82ND AVE APT A                                                                                        OAKLAND           CA    94621‐2467
ORTEGON, AURORA                        5400 JEPPSON DR                                                                                            SALIDA            CA    95368‐9334
ORTEGON, AURORA                        5400 JEPPSON WAY                                                                                           SALIDA            CA    95368‐9334
ORTEGON, RAUL                          1752 E ANDERSON ST                                                                                         STOCKTON          CA    95205‐7007
ORTEL JR, JOSEPH C                     1429 MOLER AVE                     APT D                                                                   KETTERING         OH    45420‐2045
ORTEL JR, PAUL C                       8209 OLD PHILADELPHIA RD                                                                                   BALTIMORE         MD    21237‐2830
ORTEL JR., DAVID P                     1744 SANDOVAL CT                                                                                           INDIANAPOLIS      IN    46214‐2226
ORTEL, DAVID P                         61 MEADOWCREST DR                                                                                          FRANKLIN          OH    45005‐4581
ORTELIO, VINCENT                       26 CHURCH PL                                                                                               NORTH ARLINGTON   NJ    07031‐6012
ORTELLI FRANCO                         C/O LA SCALA                       STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO ITALY
ORTELLI MARIA STELLA                   LA SCALA                           STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO ITALY
ORTELLI PAOLO                          LA SCALA                           STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO ITALY
ORTEN LORENE (419203) ‐ RAGSDALE       HOHN EDWARD L                      205 LINDA DR                                                            DAINGERFIELD       TX   75638‐2107
LESLIE T
ORTEN LORENE (419203) ‐ WEEKS JOHNNY   HOHN EDWARD L                      205 LINDA DR                                                            DAINGERFIELD       TX   75638‐2107
H
ORTENZIO ELAINE                        761 S 59TH ST                                                                                              HARRISBURG        PA 17111
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Name                              Address1                             Address2             Address3   Address4         City              State Zip
ORTENZIO, LANCE A                 6581 HARVEST RIDGE DR                                                                 AUSTINTOWN         OH 44515‐5561
ORTEZ, ROBERT                     326 W IROQUOIS RD                                                                     PONTIAC            MI 48341‐1537
ORTEZ, RUDY                       3216 VARJO CT                                                                         KEEGO HARBOR       MI 48320‐1322
ORTH CHARLENE                     25408 SOUTH MONTANA AVENUE                                                            SUN LAKES          AZ 85248‐6473
ORTH JR, THEODORE W               5354 W. 62ND ST.                     APT 357E                                         INDIANAPOLIS       IN 46268
ORTH, CHRISTOPHER J               24 OXFORD DRIVE                                                                       LINCOLNSHIRE        IL 60069‐3151
ORTH, DAVID L                     2585 PERRY LAKE RD                                                                    ORTONVILLE         MI 48462‐8926
ORTH, DIANE K                     4534 BROWN DR                                                                         WARREN             MI 48092‐1449
ORTH, JAMES P                     9711 EE PT 25 RD                                                                      RAPID RIVER        MI 49878
ORTH, JOHN J                      23 MANCHESTER DRIVE                                                                   BLUFFTON           SC 29910‐7455
ORTH, PATRICIA                    981 KIRTS BLVD                                                                        TROY               MI 48084‐4837
ORTH, PHILLIP L                   73 E BASS CIR                                                                         MARBLEHEAD         OH 43440‐9770
ORTH, ROBERT J                    3106 CANYON CREEK DR                                                                  RICHARDSON         TX 75080‐1507
ORTH, ROBERT M                    35635 SHANGRI LA CT                                                                   CLINTON TWP        MI 48035‐2265
ORTH, SARAH                       135 RED TANK RD                                                                       BOILING SPRINGS    PA 17007
ORTH, SHERRY K                    1925 CARRIAGE RD APT A                                                                MUSKEGON           MI 49442‐2422
ORTH, WILLIAM T                   19 SUNSET DR                                                                          BRANDON            VT 05733‐8805
ORTHELLA BLACK                    14127 N CLIO RD                                                                       CLIO               MI 48420‐8804
ORTHMAN, WENDY M                  571 KENSINGTON COURT                                                                  VALPARAISO         IN 46385‐8551
ORTHO & NEURO CONSUL              70 SOUTH CLEVELAND AVE                                                                WESTERVILLE        OH 43081
ORTHO & NEURO CONSUL              70 S CLEVELAND AVE                                                                    WESTERVILLE        OH 43081
ORTHO AND SPORTS MED              PO BOX 44728                                                                          MIDDLETOWN         OH 45044‐0728
ORTHO ASSOC OF MARL               65 FREMONT ST                                                                         MARLBOROUGH        MA 01752
ORTHO SPECIALIST PLL              PO BOX 660046                                                                         DALLAS             TX 75266‐0046
ORTHO SPECIALISTS                 PO BOX 790051                                                                         SAINT LOUIS        MO 63179‐0051
ORTHO SURG AFFILIATE              1415 N 7TH AVE                                                                        PHOENIX            AZ 85007‐1934
ORTHOBER JOAN                     4769 SUNNY SLOPE ROAD                                                                 EGG HARBOR         WI 54209‐9112
ORTHOCAROLINA PA                  PO BOX 403572                                                                         ATLANTA            GA 30384‐3572
ORTHOFIX                          PO BOX 849806                                                                         DALLAS             TX 75284‐0001
ORTHOPAEDIC & SPINE               PO BOX 714591                                                                         COLUMBUS           OH 43271‐4591
ORTHOPAEDIC & SPORTS              PO BOX 170225                                                                         SAINT LOUIS        MO 63117‐7925
ORTHOPAEDIC & SPORTS              4140 W MEMORIAL RD STE 308                                                            OKLAHOMA CITY      OK 73120‐8300
ORTHOPAEDIC AND SPIN              751 KENMOOR AVE SE                                                                    GRAND RAPIDS       MI 49546
ORTHOPAEDIC ASSOC OF              PO BOX 30516                                                                          LANSING            MI 48919‐16
ORTHOPAEDIC ASSOCIAT              PO BOX 901854                                                                         CLEVELAND          OH 44190‐1854
ORTHOPAEDIC ASSOCIAT              PO BOX 554                                                                            WAUKESHA           WI 53187‐0554
ORTHOPAEDIC ASSOCIAT              2410 RIDGEWAY AVE                                                                     ROCHESTER          NY 14626‐4114
ORTHOPAEDIC ASSOCIATES OF         DEPT 6063                            PO BOX 30516                                     LANSING            MI 48909
ORTHOPAEDIC CENTER F              6601 CENTERVILLE BUSINESS PKWY STE                                                    CENTERVILLE        OH 45459‐2690
                                  203
ORTHOPAEDIC CENTER O              3875 BAY RD STE 2S                                                                    SAGINAW           MI   48603‐2423
ORTHOPAEDIC CENTER OF MID‐MI PC   3875 BAY RD STE 2S                   ANTHONY DE BARI MD                               SAGINAW           MI   48603‐2423
ORTHOPAEDIC INST OF               3205 WOODMAN DR                                                                       DAYTON            OH   45420‐1143
ORTHOPAEDIC INSTITUT              801 MEDICAL DR                                                                        LIMA              OH   45804
ORTHOPAEDIC MEDICAL               6850 BROCKTON AVE STE 212                                                             RIVERSIDE         CA   92506‐3815
ORTHOPAEDIC PHYSICAL              6255 INKSTER RD STE 103                                                               GARDEN CITY       MI   48135‐2538
ORTHOPAEDIC SPECIALI              PO BOX 25626                                                                          WINSTON SALEM     NC   27114‐5626
ORTHOPAEDIC SPECIALI              1000 N HOMER ST                                                                       LANSING           MI   48912‐4903
ORTHOPAEDIC SPECIALT              PO BOX 64473                                                                          BALTIMORE         MD   21264‐4473
ORTHOPAEDIC SPORTS M              80 OAK HILL RD                                                                        RED BANK          NJ   07701‐5727
ORTHOPAEDIC SURGERY               6505 MARKET STREET                                                                    BOARDMAN          OH   44512
ORTHOPAEDICS INDIANA              PO BOX 6284                                                                           INDIANAPOLIS      IN   46206‐6284
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Name                                 Address1                         Address2                    Address3   Address4         City              State Zip
ORTHOPAEDICS NORTHEA                 PO BOX 13669                     DBA: ONE ANESTHESIA                                     FORT WAYNE         IN 46865‐3669
ORTHOPAEDICS NORTHEAST PC            PO BOX 13669                     DBA: ONE ANESTHESIA                                     FORT WAYNE         IN 46865‐3669
ORTHOPEADIC SPECIALTY CENTER         2700 QUARRY LAKE DR STE 300                                                              BALTIMORE          MD 21209‐3746
ORTHOPEDIC & SPORTS                  421 CHATHAM SQUARE OFFICE PARK                                                           FREDERICKSBURG     VA 22405‐2561
ORTHOPEDIC & SPORTS MEDICINE, INC.   1001 S KIRKWOOD RD STE 120                                                               SAINT LOUIS        MO 63122‐7250

ORTHOPEDIC AND SPORT                 625 LINCOLN AVENUE                                                                       NORTH CHARLEROI   PA   15022
ORTHOPEDIC ASSOC AMB                 PO BOX 3195                                                                              OKLAHOMA CITY     OK   73101‐3195
ORTHOPEDIC ASSOC OF                  PO BOX 713126                                                                            CINCINNATI        OH   45271‐3126
ORTHOPEDIC ASSOC OF                  PO BOX 713130                                                                            CINCINNATI        OH   45271‐3130
ORTHOPEDIC ASSOC OF                  PO BOX 848836                                                                            BOSTON            MA   02284‐8836
ORTHOPEDIC ASSOC OFP                 2550 MOSSIDE BLVD STE 405                                                                MONROEVILLE       PA   15146‐3533
ORTHOPEDIC ASSOCIATE                 PO BOX 33125                                                                             HARTFORD          CT   06150‐25
ORTHOPEDIC ASSOCIATE                 PO BOX 3145                                                                              OKLAHOMA CITY     OK   73101‐3145
ORTHOPEDIC ASSOCIATE                 14350 E WHITTIER BLVD            300                                                     WHITTIER          CA   90605
ORTHOPEDIC ASSOCIATES, LLC           1050 OLD DES PERES RD STE 100                                                            SAINT LOUIS       MO   63131‐1873
ORTHOPEDIC GROUP INC                 588 PAWTUCKET AVE                                                                        PAWTUCKET         RI   02860‐6057
ORTHOPEDIC INSTITUTE                 19000 HAWTHORNE BLVD STE 100                                                             TORRANCE          CA   90503‐1517
ORTHOPEDIC INSTITUTE                 729 BEDFORD EU                   STE 112                                                 HURST             TX   76053
ORTHOPEDIC MEDICAL C                 18039 SHERMAN WAY                                                                        RESEDA            CA   91335‐4630
ORTHOPEDIC MEDICAL S                 550 HARRISON STREET                                                                      SYRACUSE          NY   13202
ORTHOPEDIC OUTFITTERS                19550 E 39TH ST S                                                                        INDEPENDENCE      MO   64057‐2303
ORTHOPEDIC RESOURCES                 PO BOX 700930                                                                            TULSA             OK   74170‐0930
ORTHOPEDIC SPECIALIS                 44555 WOODWARD AVE STE 105                                                               PONTIAC           MI   48341‐5032
ORTHOPEDIC SPECIALIS                 48 MEDICAL PRK E DR STE 255                                                              BIRMINGHAM        AL   35235
ORTHOPEDIC SPECIALIS                 1389 N BALDWIN AVE                                                                       MARION            IN   46952‐1913
ORTHOPEDIC SPECIALISTS PC            PO BOX 790051                                                                            SAINT LOUIS       MO   63179‐0051
ORTHOPEDIC SPECIALTY                 2800 WELLFORD ST STE 100                                                                 FREDERICKSBURG    VA   22401‐3176
ORTHOPEDIC SPECIALTY CLINIC          PO BOX 961                                                                               FREDERICKSBURG    VA   22404‐0961
ORTHOPEDIC SPINE SUR                 4375 BOOTH CALLOWAY RD STE 410                                                           RICHLAND HLS      TX   76180‐8365
ORTHOPEDIC SPORTS &                  330 E 7TH ST                     FL 2                                                    UPLAND            CA   91786
ORTHOPEDIC SURGEONS                  PO BOX 803345                                                                            KANSAS CITY       MO   64180‐3345
ORTHOPEDIC SURGERY A                 5315 ELLIOTT DR STE 301                                                                  YPSILANTI         MI   48197‐8634
ORTHOPEDIC SURGERY,                  1000 YOUNGS RD STE 201                                                                   WILLIAMSVILLE     NY   14221‐2644
ORTHORX INC                          PO BOX 848034                                                                            DALLAS            TX   75284‐8034
ORTHOTECH ORTHOPEDIC                 2254 SOUTH M‐30                                                                          WEST BRANCH       MI   48661
ORTHOTIC & PROSTHETI                 20650 LAKELAND BLVD                                                                      EUCLID            OH   44119‐3241
ORTHOTIC PROSTHEIC C                 419 N REYNOLDS RD                                                                        TOLEDO            OH   43615‐5221
ORTHOTIC PROSTHIC CENTER INC         2717 MANATEE AVE W                                                                       BRADENTON         FL   34205‐4939
ORTHOWEST LTD                        7255 OLD OAK BLVD STE C405                                                               CLEVELAND         OH   44130‐3331
ORTHPEDIC SPORTS & R                 6957 OLDE CREEK RD UNIT 3400                                                             ROCKFORD          IL   61114‐7427
ORTIN JUAN MIGUEL                    ORTIN, JUAN MIGUEL               10085 CARROLL CANYON ROAD                               SAN DIEGO         CA   92131
ORTIN JUAN MIGUEL                    ORTIN, PATRICIA                  10085 CARROLL CANYON ROAD                               SAN DIEGO         CA   92131
ORTIS, JESUS M                       10202 ELIZABETH CT                                                                       SAN ANTONIO       TX   78240‐3599
ORTIS, VANESSA K                     31019 DORCHESTER APT 375                                                                 NEW HUDSON        MI   48165‐9447
ORTISI, JOSEPH P                     15804 BRIDAL PATH CT                                                                     CLINTON TWP       MI   48035‐1005
ORTISI, ROSARIO J                    19542 STRATFORD DR                                                                       MACOMB            MI   48044‐1266
ORTIV, ROBERT
ORTIZ BERTA                          ORTIZ, BERTA                     2797 PARK AVE STE 201                                   SANTA CLARA       CA 95050‐6063
ORTIZ CARLOS                         9466 WOODALE AVE                                                                         ARLETA            CA 91331‐5545
ORTIZ CARLOS J                       1755 E 55TH ST                   APT 505                                                 CHICAGO           IL 60615‐5990
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ORTIZ DANIEL LOPEZ               FABIOLA SANTOS FONSECA, MARIA LAURA WEINSTEIN SCHLEIFER &         1835 MARKET STREET SUITE                    PHILADELPHIA      PA 19103
                                                                     KUPERSMITH PC                 2700
ORTIZ DANIEL LOPEZ               FABIOLA SANTOS FONSECA, MARIA LAURA ZAJAC & ARIAS LLC             1818 MARKET STREET 30TH                     PHILADELPHIA     PA 19103
                                                                                                   FLOOR
ORTIZ DANIEL LOPEZ               ORTIZ, DANIEL LOPEZ                 WEINSTEIN SCHLEIFER &         1835 MARKET STREET SUITE                    PHILADELPHIA     PA 19103
                                                                     KUPERSMITH PC                 2700
ORTIZ DANIEL LOPEZ               ORTIZ, DANIEL LOPEZ                 ZAJAC & ARIAS LLC             1818 MARKET STREET 30TH                     PHILADELPHIA     PA 19103
                                                                                                   FLOOR
ORTIZ DE ORUE, GUALBERTA         133 OLD MAMARONECK RD                                                                                         WHITE PLAINS     NY 10605‐2420
ORTIZ DE ORVE, MARIO             305 FISHER AVE                                                                                                WHITE PLAINS     NY 10606‐2703
ORTIZ DOMINGO (627050)           HOWARD BRENNER & GARRIGAN‐NASS      1608 WALNUT ST , 17TH FLOOR                                               PHILADELPHIA     PA 19103

ORTIZ ESTATE OF, FRANCISCA
ORTIZ HERBERT A                  6000 BOULDER CREEK DR                                                                                         AUSTINTOWN       OH   44515‐4270
ORTIZ JAIME                      15895 SW 6TH PL APT 201                                                                                       PEMBROKE PINES   FL   33027‐1130
ORTIZ JENNIFER                   818 HILLTOP RD                                                                                                CINNAMINSON      NJ   08077‐3322
ORTIZ JOSE                       ORTIZ, JOSE                         2850 EMORY LOOP                                                           LAREDO           TX   78043
ORTIZ JR, ABEL G                 2805 COLLINGWOOD AVE                                                                                          SAGINAW          MI   48601‐3957
ORTIZ JR, ANTONIO                240 HARDING ST                                                                                                DEFIANCE         OH   43512‐1314
ORTIZ JR, CARMELO ROSARIO        1068 SOUTH PARK                                                                                               HIGHLAND         MI   48356‐2638
ORTIZ JR, ESTEBAN                8830 MANDELL RD                                                                                               PERRYSBURG       OH   43551‐3944
ORTIZ JR, JOSEPH                 863 SEDLEY RD                                                                                                 VIRGINIA BEACH   VA   23462‐7031
ORTIZ JR, LOUIS                  226 KILBURN RD                                                                                                LANGHORNE        PA   19047‐1932
ORTIZ JR, SANTIAGO P             417 ALVA DR                                                                                                   GRAND PRAIRIE    TX   75052‐6002
ORTIZ JR, VICTOR                 4940 W MONROE RD                                                                                              ALMA             MI   48801‐9508
ORTIZ JR., EDGAR                 341 LUCINDA LN                                                                                                KERNERSVILLE     NC   27284‐9325
ORTIZ JR., ERNEST                7341 LAWRENCE ST                                                                                              GRAND BLANC      MI   48439‐9341
ORTIZ JR., JOAQUIN               APT A                               2100 PARK WILLOW LANE                                                     ARLINGTON        TX   76011‐3239
ORTIZ LUZ (636591) ‐ ORTIZ LUZ   BIFFERATO GENTILOTTI & BIDEN        PO BOX 2165                                                               WILMINGTON       DE   19899‐2165
ORTIZ MANUEL A (429565)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                               NORFOLK          VA   23510
                                                                     STREET, SUITE 600
ORTIZ MARIA DEL CARMEN           CALLE VISTA DE BRISAMAR 16‐1        FRACCIONAMIENTO JOYAS DE      ACAPULCO, GUERRERO ZIP
                                                                     BRISAMAR                      CODE 39865
ORTIZ NICOLETTE                  ORTIZ, EDITH                        3166 MATHIESON DRIVE                                                      ATLANTA          GA   30305
ORTIZ NICOLETTE                  ORTIZ, NICOLETTE                    3166 MATHIESON DRIVE                                                      ATLANTA          GA   30305
ORTIZ NICOLETTE                  ORTIZ, NICOLETTE                    PO BOX 70                                                                 BLAKELY          GA   39823‐0070
ORTIZ RAMON (406463)             DEARIE & ASSOCS JOHN C              3265 JOHNSON AVE                                                          BRONX            NY   10463
ORTIZ TERESA                     9550 BRIERFIELD ST                                                                                            PICO RIVERA      CA   90660‐1537
ORTIZ, ABRAHAM                   132 WALDON RD APT F                                                                                           ABINGDON         MD   21009
ORTIZ, ALBERTO                   3208 GRANT LN                                                                                                 MIDLAND          MI   48642‐5054
ORTIZ, ALONZO                    7756 ROSEMONT AVE                                                                                             DETROIT          MI   48228‐5426
ORTIZ, ANDREW C                  12055 TOWNLINE RD                                                                                             GRAND BLANC      MI   48439‐1660
ORTIZ, ANDREW CHARLES            12055 TOWNLINE RD                                                                                             GRAND BLANC      MI   48439‐1660
ORTIZ, ANGEL                     3490 W 58TH ST                                                                                                CLEVELAND        OH   44102‐5638
ORTIZ, ANGEL L                   608 MAYNARD LN                                                                                                COLUMBIA         TN   38401‐8900
ORTIZ, ANGEL T                   3625 SANDOVAL AVE                                                                                             PICO RIVERA      CA   90660‐1549
ORTIZ, ANNA J                    14306 CHAPARELL PL                                                                                            TAMPA            FL   33625‐3310
ORTIZ, ANNIE M                   6635 ILLINOIS AVE                                                                                             HAMMOND          IN   46323‐1728
ORTIZ, ANTHONY G                 722 WHITEWING LN                                                                                              WALNUT           CA   91789‐1849
ORTIZ, ANTHONY J                 3510 WINTER ST                                                                                                LOS ANGELES      CA   90063‐3828
ORTIZ, ANTONIO                   57696 DAKOTA DR                                                                                               NEW HUDSON       MI   48165‐9336
ORTIZ, ANTONIO A                 56135 PONTIAC TRL                                                                                             NEW HUDSON       MI   48165‐9702
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Name                   Address1                              Address2                        Address3   Address4         City              State Zip
ORTIZ, ANTONIO M       302 ANDOVER PL S APT 149                                                                          SUN CITY CENTER    FL 33573‐5934
ORTIZ, ANTONIO R       13033 JAMIE AVE                                                                                   SYLMAR             CA 91342‐4145
ORTIZ, ARACELI M       10615 PLUCHEA COVE                                                                                AUSTIN             TX 78733‐5721
ORTIZ, ASHLEY          5294 REGIMENTAL BANNER DR                                                                         GRAND BLANC        MI 48439‐8731
ORTIZ, BALEMAR         ERNSTER CLETUS P III                  2700 POST OAK BLVD STE 1350                                 HOUSTON            TX 77056‐5785
ORTIZ, BEN             7801 TERESITA LN                                                                                  JONES              OK 73049‐6138
ORTIZ, BERTA           KENNEDY LAW OFFICE OF WILLIAM E       2797 PARK AVE STE 201                                       SANTA CLARA        CA 95050‐6063
ORTIZ, BIENVENIDO      4228 W 57TH ST                                                                                    CLEVELAND          OH 44144‐1856
ORTIZ, BRENDA A        PO BOX 493                                                                                        QUEBRADILLAS       PR 00678‐0493
ORTIZ, CARLOS          9466 WOODALE AVE                                                                                  ARLETA             CA 91331‐5545
ORTIZ, CARLOS          7258 ASBURY PARK                                                                                  DETROIT            MI 48228‐3618
ORTIZ, CARLOS          385 3RD AVE APT 12B                                                                               NEW YORK           NY 10016‐9084
ORTIZ, CARMELO R       44 W CORNELL AVE                                                                                  PONTIAC            MI 48340‐2716
ORTIZ, CHARLES         1201 SW 128TH TER APT E213                                                                        PEMBROKE PINES     FL 33027‐4082
ORTIZ, CHARLES         1201 SW 128 TERRACE                   APT E‐213                                                   PEMBROKE PINE      FL 33027
ORTIZ, CHARLOTTE
ORTIZ, CONNIE P        1311 KAY LANE                                                                                     OAKLEY            CA   94561‐3870
ORTIZ, CONNIE P        1311 KAY LN                                                                                       OAKLEY            CA   94561‐3870
ORTIZ, CRYSTAL T       16101 E 41ST ST S                                                                                 INDEPENDENCE      MO   64055‐4153
ORTIZ, CYNTHIA J       1549 VERONICA PL                                                                                  SANTA BARBARA     CA   93105‐4526
ORTIZ, DANIEL          335 LOOKOUT AVE                                                                                   HACKENSACK        NJ   07601‐2803
ORTIZ, DANIEL LOPEZ    WEINSTEIN SCHLEIFER & KUPERSMITH PC   1835 MARKET ST STE 2700                                     PHILADELPHIA      PA   19103‐2929

ORTIZ, DANIEL LOPEZ    ZAJAC & ARIAS LLC                     1818 MARKET ST FL 30                                        PHILADELPHIA      PA   19103‐3653
ORTIZ, DANIEL P        1911 RUTHERFORD LN                                                                                ARLINGTON         TX   76014‐3517
ORTIZ, DANIEL PIZANA   1911 RUTHERFORD LN                                                                                ARLINGTON         TX   76014‐3517
ORTIZ, DAVID           12301 SAN FERNANDO RD SPC 317                                                                     SYLMAR            CA   91342‐7706
ORTIZ, DAVID A         20180 NW 9TH DR                                                                                   PEMBROKE PINES    FL   33029‐3422
ORTIZ, DAVID G         3620 RISHER RD                                                                                    YOUNGSTOWN        OH   44511‐3063
ORTIZ, DAVID L         103 NEW BRIDGE RD                                                                                 SALEM             NJ   08079‐3225
ORTIZ, DELFIN          80 BETH PAGE DR                                                                                   MONROE TOWNSHIP   NJ   08831‐8835
ORTIZ, DELFINA
ORTIZ, DELIA           9211 BELCHER ST                                                                                   DOWNEY            CA 90242
ORTIZ, DOMINGO         HOWARD BRENNER & GARRIGAN‐NASS        1608 WALNUT ST, 17TH FLOOR                                  PHILADELPHIA      PA 19103

ORTIZ, DOMINGO C       61 FIRELITE LANE                                                                                  PONTIAC           MI   48340‐1625
ORTIZ, EDGAR           1801 PENNINGTON AVE                                                                               DELTONA           FL   32738‐3823
ORTIZ, EDITH           BOONE & STONE                         3166 MATHIESON DRIVE                                        ATLANTA           GA   30305
ORTIZ, EDWARD          7759 VALE DR                                                                                      WHITTIER          CA   90602‐1920
ORTIZ, EDWIN           PO BOX 493                                                                                        QUEBRADILLAS      PR   00678‐0493
ORTIZ, EFREN NINO      BELLAS & WACHOWSKI                    15 N NORTHWEST HWY                                          PARK RIDGE        IL   60068‐3339
ORTIZ, ELLEN           139 N BURL AVE                                                                                    FRESNO            CA   93727‐6825
ORTIZ, EMMA M.         1631 GLENROSE AVE                                                                                 LANSING           MI   48915‐1571
ORTIZ, EMMA M.         1631 GLENROSE ST                                                                                  LANSING           MI   48915‐1571
ORTIZ, ENRIQUE         12934 GOLETA ST                                                                                   PACOIMA           CA   91331‐3244
ORTIZ, ENRIQUE         2500 PETERSON DR                                                                                  CEDAR PARK        TX   78613‐7463
ORTIZ, EREIDA          PO BOX 210553                                                                                     AUBURN HILLS      MI   48321‐0553
ORTIZ, ERIBERTO NINO   BELLAS & WACHOWSKI                    15 N NORTHWEST HWY                                          PARK RIDGE        IL   60068‐3339
ORTIZ, ESTEBAN R       BARON & BUDD                          3102 OAK LANE AVE, SUITE 1100                               DALLAS            TX   75219
ORTIZ, ESTHER          1201 SW 128 TERRACE                   APT E213                                                    PEMBROKE PINE     FL   33027
ORTIZ, ESTHER          1201 SW 128TH TER APT E213                                                                        PEMBROKE PINES    FL   33027‐4082
ORTIZ, EUSTAQUIO       4106 142ND ST                                                                                     CRESTWOOD         IL   60445‐2306
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Name                     Address1                      Address2               Address3      Address4         City              State Zip
ORTIZ, FEDERICO J        2690 TATHAM RD                                                                      SAGINAW            MI 48601
ORTIZ, FEDERICO J        636 THURMAN ST                                                                      SAGINAW            MI 48602‐2833
ORTIZ, FELIPE            53 HUMBOLDT ST                                                                      SIMI VALLEY        CA 93065‐5359
ORTIZ, FELIPE            25724 EMERSON LN                                                                    STEVENSON RANCH    CA 91381
ORTIZ, FELIX             520 STONEY CT                                                                       GILROY             CA 95020‐6234
ORTIZ, FELIX C           17307 VENTANA DR                                                                    BOCA RATON         FL 33487‐1022
ORTIZ, FERNANDO          4519 CAMERON CIR                                                                    DEXTER             MI 48130‐9407
ORTIZ, FERNANDO          6721 SILVERCREST DR                                                                 ARLINGTON          TX 76002
ORTIZ, FRANCES M         1504 EAST HAMILTON AVENUE                                                           FLINT              MI 48506‐3535
ORTIZ, FRANCES MARIE     1545 DAKOTA AVE                                                                     FLINT              MI 48506
ORTIZ, FRANCISCO         4 LAGUNA GARDEN                                                                     CAROLINA           PR 00979
ORTIZ, FRANK L           1787 CLUB CT                                                                        ORLANDO            FL 32807‐2144
ORTIZ, FRANKLIN J        10 HAILEE LN                                                                        SCARBRO            WV 25917‐8867
ORTIZ, GENARO            58 BRYANT ST                                                                        NEWARK             NJ 07104‐3412
ORTIZ, GILBERTO          1719 LAFAYETTE ST                                                                   ALAMEDA            CA 94501‐1325
ORTIZ, GILBERTO F        2964 STUTZ WAY                                                                      SAN JOSE           CA 95148‐3041
ORTIZ, GREGARIO J        805 E ARCADA ST                                                                     ITHACA             MI 48847‐1323
ORTIZ, GREGORIO B        10200 RINCON AVE                                                                    PACOIMA            CA 91331‐3833
ORTIZ, GUADALUPE         7255 MAPLE RAPIDS RD                                                                ELSIE              MI 48831‐9613
ORTIZ, GUADALUPE         7255 E MAPLE RAPIDS RD                                                              ELSIE              MI 48831‐9613
ORTIZ, GUILLERMO         12524 CORRENTI ST                                                                   PACOIMA            CA 91331‐2119
ORTIZ, GUMESINDA         1457 DELAWARE AVE                                                                   FLINT              MI 48506‐3317
ORTIZ, GUMESINDA         1457 DELAWARE                                                                       FLINT              MI 48506‐3317
ORTIZ, HECTOR J          7429 W. WILLOW RDPT 3                                                               LANSING            MI 48917
ORTIZ, HECTOR J          13126 SUNSET DR                                                                     SUNFIELD           MI 48890‐9075
ORTIZ, HERBERT A         6000 BOULDER CREEK DR                                                               AUSTINTOWN         OH 44515‐4270
ORTIZ, HERBERT ANTHONY   6000 BOULDER CREEK DR                                                               AUSTINTOWN         OH 44515‐4270
ORTIZ, HOMERO            4610 SCHANEN BLVD                                                                   CORPUS CHRISTI     TX 78413‐3521
ORTIZ, JAIME             POST 654 SUR                  GUANAJIBO CASTILLO                                    MAYAGUEZ           PR 00680
ORTIZ, JAIME P           8204 CARDIGAN WAY                                                                   SHREVEPORT         LA 71129‐4905
ORTIZ, JAMES M           3170 S GRAHAM RD                                                                    SAGINAW            MI 48609‐9733
ORTIZ, JERRY
ORTIZ, JESSE             2558 BROADWAY ST                                                                    BLUE ISLAND       IL   60406‐2953
ORTIZ, JILL E            406 W END ST                                                                        ALMA              MI   48801‐1125
ORTIZ, JOHN              2220 FRUEH ST                                                                       SAGINAW           MI   48601‐4120
ORTIZ, JOHN              215 SE 17TH ST                                                                      CAPE CORAL        FL   33990‐2290
ORTIZ, JORGE             8630 SNOW HILL ROAD                                                                 OOLTEWAH          TN   37363‐9627
ORTIZ, JOSE              3840 EVANS ST                                                                       SAGINAW           MI   48601‐5971
ORTIZ, JOSE
ORTIZ, JOSE              2850 EMORY LOOP                                                                     LAREDO            TX   78043
ORTIZ, JOSE A            HC 1 BOX 6443                                                                       AIBONITO          PR   00705‐9714
ORTIZ, JOSE G            555 S PAYNE LAKE RD                                                                 WAYLAND           MI   49348‐9307
ORTIZ, JOSE L            2156 W SILVERBELL RD                                                                LAKE ORION        MI   48359‐1251
ORTIZ, JOSE L            9057 N MARTINDALE ST                                                                DETROIT           MI   48204‐2393
ORTIZ, JOSE R            3040 NEWMARK DR                                                                     DELTONA           FL   32738‐4445
ORTIZ, JUAN R            PO BOX 3501‐218                                                                     JUANA DIAZ        PR   00795
ORTIZ, JULIO C           620 PARKWOOD RD                                                                     MANSFIELD         OH   44905‐2222
ORTIZ, KENNETH D         2205 NICHOLS RD                                                                     LENNON            MI   48449‐9321
ORTIZ, KENNETH DUWAIN    2205 NICHOLS RD                                                                     LENNON            MI   48449‐9321
ORTIZ, LADONNA E         APT 112                       5201 WOODHAVEN COURT                                  FLINT             MI   48532‐4171
ORTIZ, LADONNA E         5201 WOODHAVEN CT                                                                   FLINT             MI   48532‐4171
ORTIZ, LARRY J           4644 MONTMARTRE PARK CT                                                             FREMONT           CA   94538‐5952
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Name                                  Address1                        Address2                      Address3   Address4         City             State Zip
ORTIZ, LEIDA L                        969 LAKEVIEW ST                                                                           WATERFORD         MI 48328‐3807
ORTIZ, LEO                            4031 STANLEY BLVD APT 132                                                                 PLEASANTON        CA 94566‐8051
ORTIZ, LINDA L                        31439 CORTE MALLORCA                                                                      TEMECULA          CA 92592‐6400
ORTIZ, LORENA                         MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                             SAN ANTONIO       TX 78216‐6522
ORTIZ, LORENZO H                      14130 DAUBERT ST                                                                          SAN FERNANDO      CA 91340‐3808
ORTIZ, LOUIS G                        2052 SARASOTA AVE                                                                         SAN JOSE          CA 95122‐2371
ORTIZ, LUCIA                          9885 BRIDGE LAKE RD                                                                       CLARKSTON         MI 48348‐1626
ORTIZ, MANUEL                         1901 WABASH ST                                                                            SAGINAW           MI 48601‐4957
ORTIZ, MANUEL                         4497 CHERRYWOOD AVE                                                                       FREMONT           CA 94538‐4007
ORTIZ, MANUEL A                       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                      STREET, SUITE 600
ORTIZ, MANUEL J                       19531 E BATAVIA DR                                                                        AURORA           CO    80011‐5310
ORTIZ, MARGARIT B                     6901 MONTEREY DR                                                                          FORT WAYNE       IN    46819‐1339
ORTIZ, MARIA                          858 TITTABAWASSEE RD APT 2                                                                SAGINAW          MI    48604‐1186
ORTIZ, MARIA L                        3518 JUNCTION                                                                             DETROIT          MI    48210
ORTIZ, MARILYN                        4421 GRANADA BLVD APT 626                                                                 CLEVELAND        OH    44128‐4858
ORTIZ, MARIO                          314 CAMPO ST                                                                              GRAND PRAIRIE    TX    75051‐4906
ORTIZ, MARIO A                        53 HUMBOLDT ST                                                                            SIMI VALLEY      CA    93065‐5359
ORTIZ, MARTA                          PO BOX 6822                                                                               CAGUAS PUERTO    PR    00726
ORTIZ, MARTIN NINO                    BELLAS & WACHOWSKI              15 N NORTHWEST HWY                                        PARK RIDGE       IL    60068‐3339
ORTIZ, MARY L                         576 MORAY WAY                                                                             PATTERSON        CA    95363‐9115
ORTIZ, MERCEDES                       7091 N DELTONA BLVD                                                                       CITRUS SPRINGS   FL    34434‐8005
ORTIZ, MIGUEL
ORTIZ, MIGUEL A                       2476 ALTON RD                                                                             DELTONA          FL    32738‐4182
ORTIZ, MIKE                           12508 FAIRPORT ST                                                                         DETROIT          MI    48205‐3436
ORTIZ, MIREYA A                       3229 CORLEAR AVE.                                                                         BRONX            NY    10463
ORTIZ, MITTSE                         145 MECCA ST                                                                              PORT CHARLOTTE   FL    33954‐1545
ORTIZ, MONICA A                       19531 E BATAVIA DR                                                                        AURORA           CO    80011‐5310
ORTIZ, NANCY L                        9176 BANWELL RD                                                                           ALANSON          MI    49706‐9715
ORTIZ, NELSON                         95 CENTER ST                                                                              STRUTHERS        OH    44471‐2094
ORTIZ, NESTOR A                       14306 CHAPARELL PL                                                                        TAMPA            FL    33625‐3310
ORTIZ, NICOLETTE                      BOONE & STONE                   3166 MATHIESON DRIVE                                      ATLANTA          GA    30305
ORTIZ, NICOLETTE                      STONE WILLIAM S                 P O DRAWER 70                                             BLAKELY          GA    39823
ORTIZ, NICOLETTE BY GUARDIAN/PARENT   2310 NW 120TH TER                                                                         PEMBROKE PINES   FL    33026
EDITH ORTIZ
ORTIZ, NORMA I                        8090 OSAGE AVE                                                                            ALLEN PARK       MI    48101‐2477
ORTIZ, OCTAVIO H                      706 LOWER HUNTINGTON RD                                                                   FORT WAYNE       IN    46819‐1447
ORTIZ, OSCAR                          75 MASCOT DR                                                                              ROCHESTER        NY    14626‐1701
ORTIZ, OSVALDO                        407 E SANGER ST                                                                           PHILADELPHIA     PA    19120‐1611
ORTIZ, PATRICIA                       202 N HAMPTON RD                                                                          DALLAS           TX    75208‐5603
ORTIZ, PATRICIA                       202 NORTH HAMPTON ROAD                                                                    DALLAS           TX    75208
ORTIZ, PATRICIA A                     8571 TRAVARY WAY                                                                          ANTELOPE         CA    95843
ORTIZ, PATRICIA A                     406 LITTLE JOHN DR                                                                        IRVING           TX    75061‐6402
ORTIZ, PATRICIA P                     1439 F ST                                                                                 UNION CITY       CA    94587‐2227
ORTIZ, PAUL R                         PO BOX 482                                                                                VEGUITA          NM    87062‐0482
ORTIZ, PEDRO                          DEARIE & ASSOCS JOHN C          3265 JOHNSON AVE                                          RIVERDALE        NY    10463
ORTIZ, PEDRO NINO                     BELLAS & WACHOWSKI              15 N NORTHWEST HWY                                        PARK RIDGE        IL   60068‐3339
ORTIZ, PETE                           1549 VERONICA PLACE                                                                       SANTA BARBARA    CA    93105‐4526
ORTIZ, PETRA A                        3648 RISING RIVER LANE                                                                    GREENSBORO       NC    27409‐8957
ORTIZ, PHILIP D                       88 LITTLEFIELD AVE                                                                        BUFFALO          NY    14211‐2606
ORTIZ, RACHEL I                       1730 S PARK AVE                                                                           BUFFALO          NY    14220‐1441
ORTIZ, RAFAEL                         4850 RAYNER PARK DRIVE                                                                    LAKE ORION       MI    48359‐1923
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Name                   Address1                         Address2            Address3         Address4         City              State Zip
ORTIZ, RAFAEL A        4459 SETON AVE                                                                         BRONX              NY 10466‐1140
ORTIZ, RALPH A         1524 FAIRMONT DR                                                                       SAN LEANDRO        CA 94578‐1928
ORTIZ, RAMON           DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                      RIVERDALE          NY 10463
ORTIZ, RAMON           52826 PAINT CREEK DR                                                                   MACOMB             MI 48042‐2961
ORTIZ, RAMON A         4474 W ROSE HILL DR                                                                    LOS ANGELES        CA 90032‐2544
ORTIZ, RAMON A         690 ELIZABETH ST                                                                       PERTH AMBOY        NJ 08861‐2834
ORTIZ, RAMON H         52826 PAINT CREEK DR                                                                   MACOMB             MI 48042‐2961
ORTIZ, RAMONA          8090 OSAGE AVE                                                                         ALLEN PARK         MI 48101‐2477
ORTIZ, RAMONA A
ORTIZ, RENITA T        PO BOX 13064                                                                           ARLINGTON         TX   76094‐0064
ORTIZ, REUBEN L        4190 S MAGRUDDER RD                                                                    SAINT LOUIS       MI   48880‐9116
ORTIZ, REUBEN LIRA     4190 S MAGRUDDER RD                                                                    SAINT LOUIS       MI   48880‐9116
ORTIZ, RICARDO         1789 W 500 N                                                                           DECATUR           IN   46733‐9523
ORTIZ, RICHARD D       2425 LAWRENCE AVE                                                                      KANSAS CITY       KS   66106‐2950
ORTIZ, ROBERT Q        622 ORTMAN ST                                                                          SAGINAW           MI   48601‐3711
ORTIZ, ROBERTO M       686 HARRISON AVE                                                                       BUFFALO           NY   14223‐1848
ORTIZ, ROSE M          13126 SUNSET DR                                                                        SUNFIELD          MI   48890‐9075
ORTIZ, ROSEMARY        243 GRAY ST                                                                            DEFIANCE          OH   43512‐1644
ORTIZ, ROY             905 EUCLID AVE                                                                         ALMA              MI   48801‐1219
ORTIZ, ROYNETIS        3712 BOBBITT PL                                                                        SHREVEPORT        LA   71107‐3827
ORTIZ, ROYNETIS        3712 BOBBITT                                                                           SHREVEPORT        LA   71107‐3827
ORTIZ, RUDOLFO S       15169 NURMI ST                                                                         SYLMAR            CA   91342‐3718
ORTIZ, SANJUANA        700 PERRYSVILLE RD                                                                     DANVILLE          IL   61832‐6824
ORTIZ, SANTOS          630 EAST MADISON AVENUE                                                                PONTIAC           MI   48340‐2936
ORTIZ, SHERON D        217 RIDGEWOOD DR                                                                       MONROE            NC   28112
ORTIZ, SUSAN M         4060 SPRINGER WAY APT 1213                                                             EAST LANSING      MI   48823‐8336
ORTIZ, SUSAN MARIE     4060 SPRINGER WAY APT 1213                                                             EAST LANSING      MI   48823‐8336
ORTIZ, TAMMY LYNN      1437 W GENESEE AVE                                                                     FLINT             MI   48505‐1152
ORTIZ, TERESA          9550 BRIERFIELD ST                                                                     PICO RIVERA       CA   90660‐1537
ORTIZ, VICTOR M        26249 FLAMINGO AVE                                                                     HAYWARD           CA   94544‐3158
ORTIZ, VIRGEN S        22 CRESCENT DR                                                                         PONTIAC           MI   48342‐2511
ORTIZ, WALDA           82 FIRELITE LN                                                                         PONTIAC           MI   48340‐1628
ORTIZ, WILLIAM G       9465 LOWELL BLVD                                                                       WESTMINSTER       CO   80031‐3169
ORTIZ,BELINDA          830 AMSTERDAM                    APT 5H                                                NEW YORK          NY   10025
ORTIZ‐SMITH, LENA
ORTLAND, ARTHUR D      11800 CANTERBURY DR                                                                    WARREN            MI   48093‐1885
ORTLAND, RANDALL L     1321 GARDEN ST APT L                                                                   SANTA BARBARA     CA   93101‐1269
ORTLIEB JR, JEROME A   1995 UPPER VALLEY DR                                                                   W JEFFERSON       OH   43162‐9542
ORTLIEB, CAROL J       872 GREENVIEW CT                                                                       ROCHESTER HILLS   MI   48307‐1024
ORTLIEB, JEROME A      870 TAYLOR BLAIR RD                                                                    W JEFFERSON       OH   43162‐9554
ORTLIEB, JOSEPHINE M   46176 CUSTER AVE                                                                       UTICA             MI   48317‐5802
ORTLIEB, PAUL T        211 MAX LN                                                                             GALAX             VA   24333
ORTLIEB, STEVE J       4225 MILLER RD                   B9                                                    FLINT             MI   48507
ORTLIEB, STEVE J       4225 MILLER DR                   STE 9                                                 FLINT             MI   48507‐1257
ORTLIEB, STEVE J       4225 MILLER RD                   STE 9                                                 FLINT             MI   48507‐1257
ORTLOFF, CHESTER G     5555 W FLYING M ST                                                                     TUCSON            AZ   85713‐6418
ORTMAN JOHN            87 MILLFIELD AVE                                                                       WESTERVILLE       OH   43081‐1230
ORTMAN, CAROL J        3675 N 1000 W                                                                          KOKOMO            IN   46901‐8622
ORTMAN, JAMES W        495 WILLIS RD                                                                          SALINE            MI   48176‐1560
ORTMAN, KEITH M        6320 HILL RD                                                                           BERLIN HEIGHTS    OH   44814‐9463
ORTMAN, KEITH M        PO BOX 242                                                                             MILAN             OH   44846‐0242
ORTMAN, LINDA K        4901 OLD STATE RD N                                                                    NORWALK           OH   44857‐9135
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Name                               Address1                          Address2               Address3      Address4              City              State Zip
ORTMAN, MARILYN                    34 W WILLIAMS ST                                                                             MILAN              OH 44846‐9769
ORTMAN, MILDRED K                  110 JUDSON RD                                                                                KENT               OH 44240‐6063
ORTMAN, NORMA D                    169 VILLAGE CT                                                                               ORTONVILLE         MI 48462‐9791
ORTMAN, ROBERT T                   1535 PRUESS RD                                                                               HEMLOCK            MI 48626‐8497
ORTMAN, WALTER J                   2540 TEXTILE RD                                                                              SALINE             MI 48176‐9431
ORTMANN, JEROME P                  14852 BLUE JAY CT                                                                            SHELBY TOWNSHIP    MI 48315‐4955
ORTMANN, MILDRED L                 714 W ARAPAHO RD                  ELDORADO               APT 109                             RICHARDSON         TX 75080‐4162
ORTMANNS GMBH SPEZIALFABRIK FUER   VENLOER STR 14‐28                 41569 ROMMERSKIRCHEN                 WESTFALE GERMANY
                                                                     NORDRHEIN                            GERMANY
ORTMANNS GMBH SPEZIALFABRIK FUER                                     VENLOERSTRASSE 14                                                            GE 41569

ORTMANNS/GERMANY                   VENLOERSTRASSE 14                                                      ROMMERSKIRCHEN GE
                                                                                                          41569 GERMANY
ORTMERTL, ANTHONY E                7379 W VIENNA RD                                                                             CLIO              MI   48420‐9448
ORTMERTL, ANTHONY EMERICH          7379 W VIENNA RD                                                                             CLIO              MI   48420‐9448
ORTNER, ALEXANDER M                1770 BEECHCROFT ST                                                                           KEEGO HARBOR      MI   48320‐1107
ORTNER, CLARISSA L                 25245 BILLBERRY CT                                                                           LOS MOLINOS       CA   96055‐9675
ORTNER, DONALD J                   2970 SEQUOIA DR                                                                              MACUNGIE          PA   18062
ORTNER, GELENEA S                  11151 COVENTRY CT                                                                            TAYLOR            MI   48180‐7546
ORTNER, MARY S                     2614 TIFFIN AVE LOT 103                                                                      SANDUSKY          OH   44870‐5380
ORTNER, MARY S                     2614 TIFFEN AVE LOT 103                                                                      SANDUSKY          OH   44870
ORTO, CAROL J                      29 BERRY LN                                                                                  NORTH CHILI       NY   14514‐1101
ORTO, GEORGE                       4640 KIRK RD                                                                                 YOUNGSTOWN        OH   44515‐5401
ORTOFF, ANDREW                     45 VINE ST                                                                                   BINGHAMTON        NY   13903‐1840
ORTOLANI, FRANK L                  64 S EDISON DR # 582                                                                         MILAN             OH   44846
ORTOLANI, VINNIE
ORTOLF JR, PAUL                    335 SAW CREEK EST                                                                            BUSHKILL          PA   18324‐9457
ORTON FRANK                        946 CHEYENNE RD                                                                              CORONA            CA   92880‐9233
ORTON JONES JR                     965 ARVLE CIRCLE                  #26LR                                                      SYCAMORE          IL   60178
ORTON STANLEY                      1011 E NISHNA RD                                                                             SHENANDOAH        IA   51601‐2515
ORTON, ELLEN                       1822 CEDAR AVE                                                                               BRONX             NY   10453‐2706
ORTON, HERBERT E                   1001 JOHNS COVE LN                                                                           OAKLAND           FL   34787‐8921
ORTON, JACK M                      2317 DOWNPATRICK ST                                                                          DAVISON           MI   48423‐9557
ORTON, JANICE M                    10125 STATE ST                                                                               DALTON            NY   14836‐9603
ORTON, JANICE M                    10125 STATE ST.                                                                              DALTON            NY   14836‐9603
ORTON, NORMA J                     2317 DOWNPATRICK ST                                                                          DAVISON           MI   48423‐9557
ORTON, PATRICIA A                  720 E DIXON ST                                                                               KOKOMO            IN   46901‐3048
ORTON, PATRICIA A                  4235 FISHER HILLS DR                                                                         BRUCE TWP         MI   48065‐3635
ORTON, PHILIP A                    233 E HOME AVE                                                                               W CARROLLTON      OH   45449‐1207
ORTON, TIMOTHY S                   244 N JANESVILLE ST                                                                          MILTON            WI   53563‐1307
ORTON, TRACI A                     233 E HOME AVE                                                                               W CARROLLTON      OH   45449‐1207
ORTON, VERNON H                    8562 CREEK RD                                                                                NUNDA             NY   14517‐9739
ORTRUD & FELIX KLAMMER             ALEXANDERSFELD 42 A                                                    D 26127 OLDENBURG W
                                                                                                          GERMANY
ORTSEY, RAYMOND E                  186 STONEWOOD DR                                                                             BETHEL PARK       PA   15102‐2265
ORTT JANICE                        ORTT, JANICE                      89 N HADDON AVE                                            HADDONFIELD       NJ   08033‐2423
ORTT, JANICE                       KIMMEL & SILVERMAN                89 N HADDON AVE                                            HADDONFIELD       NJ   08033‐2423
ORTT, LEVAN                        8607 E CAMBRIDGE AVE                                                                         SCOTTSDALE        AZ   85257
ORTTECH INC                        32425 AURORA RD                                                                              SOLON             OH   44139‐2821
ORTTEL, DYMPHA M                   2507 W 1350 S                                                                                KOKOMO            IN   46901‐7772
ORTUNO, CATHERINE A                11409 RANCHO LA BREA DR                                                                      RIVERSIDE         CA   92505‐3593
ORTWEIN, DORIS A                   644 BRADDOCK COURT                                                                           EDGEWOOD          KY   41017‐9695
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Name                     Address1                         Address2                     Address3          Address4         City            State Zip
ORTWEIN, DORIS A         644 BRADDOCK CT                                                                                  EDGEWOOD         KY 41017‐9695
ORTWEIN, GEORGE L        5325 BEDFORD CT                                                                                  INDEPENDENCE     KY 41051‐7803
ORTWEIN, JERRY L         10934 MUGAN DR                                                                                   AFFTON           MO 63123‐5915
ORTWEIN, ROSALYN         98 MITCHELL DR                                                                                   TONAWANDA        NY 14150‐5140
ORTWINE, AGNES           49680 KEYCOVE CT                                                                                 CHESTERFIELD     MI 48047‐2352
ORTWINE, CORY D          137 S TILDEN AVE                                                                                 WATERFORD        MI 48328‐3871
ORTWINE, GEORGE H        3035 CADY DR                                                                                     BRIGHTON         MI 48114‐8690
ORTWINE, HAROLD W        44100 STASSEN AVE                                                                                NOVI             MI 48375‐1656
ORTWINE, JACQUELINEK K   982 N ADAMS RD UNIT 7                                                                            BIRMINGHAM       MI 48009‐5651
ORTWINE, MARK T          1764 JOHN STREET                                                                                 GAYLORD          MI 49735‐9651
ORTWINE, MARK THOMAS     1764 JOHN STREET                                                                                 GAYLORD          MI 49735‐9651
ORTWINE, ROBERT N        49680 KEYCOVE CT                                                                                 CHESTERFIELD     MI 48047‐2352
ORTWINE, TERRY D         4886 IRWINDALE DR                                                                                WATERFORD        MI 48328‐2008
ORTYL, MICHAEL L         9462 SYLVANIA AVE                                                                                SYLVANIA         OH 43560‐9664
ORUM & ROTH, LLC         ATTY FOR NICOR GAS               ATTN: MARK D. ROTH, ESQ.     53 WEST JACKSON                    CHICAGO           IL 60604
                                                                                       BOULEVARD
ORUM, LILIA              3315 FULTON ST                                                                                   SAGINAW         MI   48601‐3154
ORUS BEARDEN JR          6502 NW 19TH ST                                                                                  OKLAHOMA CITY   OK   73127‐2620
ORUS SHIVER              3599 JULIENTON DR NE                                                                             TOWNSEND        GA   31331‐5035
ORVA GROSSHART JR        22211 E 298TH ST                                                                                 HARRISONVILLE   MO   64701‐6313
ORVA LONG                13375 NW MOHAWK RD                                                                               KANSAS CITY     MO   64152‐1012
ORVA SHORT               842 SWEET TANGERINE CT                                                                           ORANGE CITY     FL   32763‐8917
ORVA WEINGARTZ           3354 N BRANCH RD                                                                                 NORTH BRANCH    MI   48461‐9391
ORVAL AUTEN              8161 S SAGINAW ST                C/O GWYN C PETRELLA                                             GRAND BLANC     MI   48439‐1825
ORVAL BAIER              5760 STONEVILLE RD                                                                               WINDSOR         OH   44099‐9748
ORVAL BORDERS            5015 EGGNERS FERRY RD                                                                            BENTON          KY   42025‐8162
ORVAL BROWN              2421 FOREST LEAF PKWY                                                                            WILDWOOD        MO   63011‐1836
ORVAL DADY               2518 HIGHWAY #2                                                                                  CORYDON         IA   50060
ORVAL DAWLEY             PO BOX 162                                                                                       GREENBUSH       MI   48738‐0162
ORVAL EISNER             1420 HAMILTON HW APT.1                                                                           GRAND RAPIDS    MI   49504
ORVAL FERGUSON           3446 HODGENS PKWY                                                                                BURTON          MI   48519‐1514
ORVAL FERRIGAN           8500 N ELMS RD                                                                                   FLUSHING        MI   48433‐8852
ORVAL G RICHARDS         218 OAKWOOD ST                                                                                   ELYRIA          OH   44035‐8002
ORVAL GEIST              3322 GARY DR                                                                                     EDEN            NY   14057‐9593
ORVAL HILL
ORVAL HOLLARS            327 B J BLVD                                                                                     BEDFORD         IN   47421‐9141
ORVAL HUDSON             639 SE STATE ROUTE 13                                                                            WARRENSBURG     MO   64093‐7525
ORVAL LAWRENCE           1129 PINE ST                                                                                     GRAND LEDGE     MI   48837‐2120
ORVAL MARKHAM            3439 WELLS RD                                                                                    PETERSBURG      MI   49270‐9439
ORVAL MARRS              4402 W ORLANDO ST                                                                                BROKEN ARROW    OK   74011‐1323
ORVAL MC CLAIN JR        4931 POWELL AVE                                                                                  KANSAS CITY     KS   66106‐1753
ORVAL MC GINNIS          666 HELEN ST                                                                                     MOUNT MORRIS    MI   48458‐1925
ORVAL NICHOLSON          5263 W BROADWAY RD                                                                               MT PLEASANT     MI   48858‐9633
ORVAL PARKER             BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS      OH   44236
ORVAL PLUMLEE            6347W 625S 90                                                                                    WARREN          IN   46792
ORVAL RICE JR            1607 BOND RD                                                                                     KAWKAWLIN       MI   48631‐9424
ORVAL RICHARDS           218 OAKWOOD ST                                                                                   ELYRIA          OH   44035‐8002
ORVAL SINNETT            BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS      OH   44236
ORVAL SMITH              3412 LASSO RD                                                                                    ROANOKE         TX   76262‐4542
ORVAL STEINLEY           3728 AGUALINDA BLVD APT 102                                                                      CAPE CORAL      FL   33914‐5522
ORVAL THOMPSON           PO BOX 233                       2013 SUNSET DRIVE                                               LUPTON          MI   48635‐0233
ORVAL WARREN             9840 SASHABAW RD                                                                                 CLARKSTON       MI   48348‐2033
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ORVAL, THOMAS J      312 HILLSIDE CIR                                                                          JOHNSON CREEK    WI 53038‐9700
ORVALL COTTON        6045 TURNER RD                                                                            FLUSHING         MI 48433‐9248
ORVEL ALFORD         12287 COLDWATER RD                                                                        FLUSHING         MI 48433‐3402
ORVEL BALLARD        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
ORVEL BIRDSEY        10714 CENTER RD                                                                           GRAND BLANC      MI 48439‐1033
ORVEL CALVERT        RR 1 BOX 29                                                                               MARSHALL         MO 55340‐9512
ORVEL DAVIS          20 SUNDALE CIR                                                                            PARAGOULD        AR 72450‐4020
ORVEL JACOBSON       10418 E LANSING RD                                                                        DURAND           MI 48429‐1805
ORVEL M MCGAREY      7620 NW 28TH TER                                                                          BETHANY          OK 73008‐4430
ORVEL MC GAREY       7620 NW 28TH TER                                                                          BETHANY          OK 73008‐4430
ORVEL MCCLAIN        4507 RHEA RD                                                                              GRANBURY         TX 76049‐2968
ORVEL STRILER        4029 SEYMOUR RD                                                                           SWARTZ CREEK     MI 48473‐8568
ORVEL W CALVERT II   1116 1/2 SOUTH LESLIE STREET                                                              INDEPENDENCE     MO 64050‐4529
ORVEN COOK           458 W SPRINGETTBURY                                                                       YORK             PA 17403
ORVEST DAVIS         4480 W CUTLER RD                                                                          DEWITT           MI 48820‐8082
ORVETTA MILLER       1410 S GENEVIEVE ST                                                                       BURTON           MI 48509‐2402
ORVIAL MIRACLE       6905 MIDNIGHT SUN DR                                                                      MAINEVILLE       OH 45039‐8953
ORVIERTO, BRADLEY
ORVIG, NORMAN        132 COUNTY ROAD 1944                                                                      EMORY           TX   75440‐7254
ORVIL BADGETT        2433 MISSOURI AVE                                                                         GRANITE CITY    IL   62040‐2014
ORVIL DELANEY        1720 HWY. 1316                                                                            SPARTA          KY   41086
ORVIL GUINN          12093 HIGHWAY 24                                                                          RUSSELLVILLE    AL   35653‐7357
ORVIL HILL           PO BOX 1                                                                                  HASLETT         MI   48840‐0001
ORVIL KELLEY         14945 STATE ROUTE 30                                                                      MALONE          NY   12953‐4820
ORVIL LIVINGSTON     622 WESTWOOD DR S APT B                                                                   FESTUS          MO   63028‐2072
ORVIL NANNEY         4261 HIGHWAY 49                                                                           GREENWAY        AR   72430‐7006
ORVIL NORROD         810 PICCADILLI RD                                                                         ANDERSON        IN   46013‐5066
ORVIL ROCKHOLD JR    4266 WOODWORTH AVE                                                                        HOLT            MI   48842‐1445
ORVIL TAYLOR         7439 GRANDWOOD DR                                                                         SWARTZ CREEK    MI   48473‐9454
ORVIL WRIGHT JR      1709 N PERRY CREEK RD                                                                     MIO             MI   48647‐9734
ORVILE DUDLEY        9469 S 225 W                                                                              PENDLETON       IN   46064‐9555
ORVILL PAUL          250 YPSILANTI ST                                                                          DUNDEE          MI   48131‐1145
ORVILLA OVERTON      456 S 8TH AVE                                                                             MOUNT VERNON    NY   10550‐4327
ORVILLE ( WILSON     21 COLIN KELLY DR                                                                         DAYTON          OH   45431‐1338
ORVILLE A WILSON     207 N. PATTON ST                                                                          XENIA           OH   45385‐2031
ORVILLE BAIR JR      4421 LAWNWOOD LN                                                                          BURTON          MI   48529‐1924
ORVILLE BAKER        27144 SHAGBARK DR                                                                         SOUTHFIELD      MI   48075‐3535
ORVILLE BALDWIN      5340 HADLEY RD                                                                            GOODRICH        MI   48438‐8913
ORVILLE BANKS        12208 DUNHAM RD                                                                           HARTLAND        MI   48353‐2104
ORVILLE BARTLEY JR   PO BOX 94                                                                                 CONTINENTAL     OH   45831‐0094
ORVILLE BASS         1904 CHAMBERLAIN DR                                                                       CARROLLTON      TX   75007‐3130
ORVILLE BATES        24222 WQUAIL DR.                                                                          CHANNAHON       IL   60410
ORVILLE BATESON      8251 WHITNEY RD                                                                           GAINES          MI   48436‐9723
ORVILLE BODMER       1117 BELLAIRE AVE                                                                         DAYTON          OH   45420‐2601
ORVILLE BOERMAN      8461 HOMERICH AVE SW                                                                      BYRON CENTER    MI   49315‐9220
ORVILLE BROWN        804 S MAIN ST                                                                             FAIRMOUNT       IN   46928‐1936
ORVILLE BRUNER       163 PHILPOT RD                                                                            LONDON          KY   40744‐9416
ORVILLE BUSH         247 WYLIE ST                                                                              SAGINAW         MI   48602‐3053
ORVILLE BUTZIN JR    49601 SHENANDOAH CIR                                                                      CANTON          MI   48187‐1163
ORVILLE C DUEITT     13200 VERNAL RIVER RD                                                                     LUCEDALE        MS   39452
ORVILLE CARGILL      11315 MOSHER RD                                                                           OTISVILLE       MI   48463‐9772
ORVILLE CAUDILL      12469 JOEL DR                                                                             CLIO            MI   48420‐1839
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ORVILLE CLARK          7508 TRINITY RD #1                                                                                     DEFIANCE               OH 43512
ORVILLE COOK           1205 NICOLET ST                                                                                        JANESVILLE             WI 53546‐5809
ORVILLE CROTHERS       4298 SPRINGBROOK DR                                                                                    SWARTZ CREEK           MI 48473‐1706
ORVILLE CURL           2517 FOLTZ ST                                                                                          INDIANAPOLIS           IN 46241‐5219
ORVILLE D THOMPSON     4349 ST RT 772                                                                                         PIKETON                OH 45661‐9610
ORVILLE DASEN          608 S VERNON RD                                                                                        CORUNNA                MI 48817‐9553
ORVILLE DAVIDSON       20 OCEAN MARSH LN                                                                                      SAINT HELENA ISLAND    SC 29920‐5003
ORVILLE DAVIS JR       2771 SEVEN SHIELDS LN                                                                                  LEWISVILLE             TX 75056‐5660
ORVILLE DENT           1134 COUNTRY CLUB LN                                                                                   LAKELAND               FL 33801‐6704
ORVILLE DICKERSON      28755 STATE ROUTE 281                                                                                  DEFIANCE               OH 43512‐6939
ORVILLE DIEHL          7130 SAINT JAMES SQ                                                                                    SAINT LOUIS            MO 63143‐3527
ORVILLE E BRIDGES      GLASSER AND GLASSER            CROWN CENTER                580 EAST MAIN ST STE 600                    NORFOLK                VA 23510
ORVILLE E HARTMAN      7343 PHILLIPSBURG UNION RD                                                                             BROOKVILLE             OH 45309‐8666
ORVILLE E HENDERSHOT   1363 MCCLURE RD                                                                                        TOLEDO                 OH 43612‐4023
ORVILLE E HURST        139 CAMBRIA DR                                                                                         BEARVERCREEK           OH 45440‐3540
ORVILLE ELLIS          2105 RANDOLPH RD                                                                                       JANESVILLE             WI 53545‐0931
ORVILLE ENGLAND        299 CLIFTON HINES RD                                                                                   LANCING                TN 37770‐1707
ORVILLE ENGLISH        1203 NW COTTONWOOD CT                                                                                  GRAIN VALLEY           MO 64029‐8371
ORVILLE FLEMING        ORVILLE FLEMING TTEE           ORVILLE FLEMING TRUST       PO BOX 37                                   ROPESVILLE             TX 79358
ORVILLE FONSTER        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                               HOUSTON                TX 77007
                       BOUNDAS LLP
ORVILLE FRANK          4472 PROCUNIAR DR                                                                                      HUBER HEIGHTS         OH   45424‐5845
ORVILLE FREEMAN        5535 SIERRA CIR E                                                                                      DAYTON                OH   45414‐3687
ORVILLE GOFF           1730 SAND RD                                                                                           PINCONNING            MI   48650‐8948
ORVILLE GOLTZ          3457 LINCOLN RD                                                                                        STANDISH              MI   48658‐9425
ORVILLE GOODWIN        4 W ST                                                                                                 LEES SUMMIT           MO   64086‐9757
ORVILLE GRAY           517 HUGHES                                                                                             CHARLOTTE             MI   48813‐8434
ORVILLE GREEN          4615 MIDDLEBURG CT                                                                                     LOUISVILLE            KY   40241‐1842
ORVILLE GREEN          4615 MIDDLEBURT CT                                                                                     LOUISVILLE            KY   40241
ORVILLE GRUBB          3361 BOOKER FARM RD                                                                                    MT PLEASANT           TN   38474‐3024
ORVILLE HALCOMB        1320 FREDRICK GINGHAM RD                                                                               TIPP CITY             OH   45371
ORVILLE HALE           7270 ENTERPRISE RD                                                                                     W ALEXANDRIA          OH   45381‐9325
ORVILLE HAMMONS        28648 BALMORAL ST                                                                                      GARDEN CITY           MI   48135‐2160
ORVILLE HARPER         3111 BEECHWOOD AVE                                                                                     FLINT                 MI   48506‐3042
ORVILLE HARRINGTON     1325 IROQUOIS TRL                                                                                      HASTINGS              MI   49058‐9756
ORVILLE HARRINGTON     147 CORNWALLIS LANE                                                                                    FLINT                 MI   48507
ORVILLE HARRIS         5031 S MILL RD                                                                                         DRYDEN                MI   48428‐9338
ORVILLE HARTMAN        7343 PHILLIPSBURG UNION RD                                                                             BROOKVILLE            OH   45309‐8666
ORVILLE HARTUNG        4100 W SAGINAW RD                                                                                      VASSAR                MI   48768‐9577
ORVILLE HATT           1059 HAVEN ST                                                                                          MOUNT MORRIS          MI   48458‐1641
ORVILLE HAYNES         693 BLUECREST DR                                                                                       FAIRBURN              GA   30213‐7900
ORVILLE HEILSHORN      1123 SCHULTZ ST                                                                                        DEFIANCE              OH   43512‐2946
ORVILLE HEIN           5140 MARSHALL RD                                                                                       DAYTON                OH   45429‐5814
ORVILLE HELMUTH        297 RAINBOW                                                                                            KOKOMO                IN   46902‐3797
ORVILLE HERLINE        4990 CAMPELL AVE                                                                                       HALE                  MI   48739‐8729
ORVILLE HILLIGOSS JR   608 W JACKSON ST                                                                                       ALEXANDRIA            IN   46001‐1315
ORVILLE HINKLE         1026 TOWNSHIP ROAD 2156                                                                                ASHLAND               OH   44805‐9437
ORVILLE HOIUM          10540 W WELSH RD                                                                                       JANESVILLE            WI   53548‐9148
ORVILLE HOLMES         PO BOX 144                                                                                             EATON RAPIDS          MI   48827‐0144
ORVILLE HOMBURG        4928 N OLD ORCHARD DR                                                                                  JANESVILLE            WI   53545‐9600
ORVILLE HUNLEY         25411 GIBRALTAR RD                                                                                     FLAT ROCK             MI   48134‐1333
ORVILLE HURST          139 CAMBRIA DR                                                                                         DAYTON                OH   45440‐3540
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ORVILLE ISENBARG         831 ACORN GROVE DR                                                                                   BLACKLICK         OH 43004
ORVILLE JACOB LEWIS      BARON & BUDD PC                THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                       DALLAS            TX 75219‐4281
ORVILLE JENNINGS JR      1500 WENDELL AVE                                                                                     LIMA              OH 45805‐3155
ORVILLE K HEIN           5140 MARSHALL RD                                                                                     DAYTON            OH 45429‐5814
ORVILLE K WEST           27684 SHERIDAN                                                                                       GARDEN CITY       MI 48135‐3173
ORVILLE KADING           8 S STATE ST APT 6                                                                                   MAZOMANIE         WI 53560‐9663
ORVILLE KALLIN JR        16381 MURRAY RD                                                                                      BYRON             MI 48418‐9041
ORVILLE KELLY            2970 VOORHEIS LAKE CT                                                                                LAKE ORION        MI 48360‐1865
ORVILLE KIESSLING        107 WIDMER ST                                                                                        DEFIANCE          OH 43512‐1843
ORVILLE KIND             200 S RANDALL AVE                                                                                    JANESVILLE        WI 53545‐4249
ORVILLE KRUSE            2512 CRANBERRY LANE                                                                                  PEACHTREE CITY    GA 30269
ORVILLE L BODMER         1117 BELLAIRE AVE                                                                                    DAYTON            OH 45420‐2601
ORVILLE L HART           3122 LODWICK DR NW                                                                                   WARREN            OH 44485
ORVILLE L MCDANIEL JR    707 GLENDALE AVE                                                                                     TILTON             IL 61833‐7941
ORVILLE LARSON           PO BOX 104                                                                                           AFTON             WI 53501‐0104
ORVILLE LEWIS            117 SHAWNEE TRL                                                                                      PRUDENVILLE       MI 48651‐9727
ORVILLE LEWIS            318 PINE ST                                                                                          LOCKPORT          NY 14094‐4929
ORVILLE LITTLE           789 E MONROE RD                                                                                      SAINT LOUIS       MI 48880‐9214
ORVILLE LUCK             2025 E TOBIAS RD                                                                                     CLIO              MI 48420‐7917
ORVILLE LYLES            15850 INVERNESS ST                                                                                   DETROIT           MI 48238‐1546
ORVILLE MADDEN           4141 HAMILTON EATON RD                                                                               HAMILTON          OH 45011
ORVILLE MCCALLISTER      1316 E 7TH ST                                                                                        MUNCIE            IN 47302‐3612
ORVILLE MCCOY            PO BOX 58                                                                                            SANTEE            SC 29142‐0058
ORVILLE MCDONALD         4795 BELDING RD                                                                                      ONAWAY            MI 49765‐8824
ORVILLE MILLER           1700 MEMORIAL DR APT 167                                                                             CALUMET CITY       IL 60409‐4342
ORVILLE MILLER           3525 NEEDHAM RD                                                                                      LEXINGTON         OH 44904‐9216
ORVILLE MITCHELL         RR 1 BOX 173                                                                                         PATTERSON         MO 63956‐9743
ORVILLE MULLINS          3620 LEGACY DR                                                                                       SPRINGFIELD       TN 37172‐6382
ORVILLE NICKELAS MUETH   ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON         IL 62024
                                                        ANGELIDES & BARNERD LLC
ORVILLE P DIXON          56 ROTH STREET                                                                                       ROCHESTER        NY   14621‐5320
ORVILLE PARROTT          9217 E BASELINE RD                                                                                   WHITE CLOUD      MI   49349‐9548
ORVILLE PEELMAN JR       4604 SW 5TH PL                                                                                       CAPE CORAL       FL   33914‐6407
ORVILLE PEIGUM           THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                           HOUSTON          TX   77017
ORVILLE PHILLIPS         5211 MICHIGAN AVE                                                                                    TIPTON           MI   49287‐9101
ORVILLE PRITT            3290 TUMWATER VALLEY DR                                                                              PICKERINGTON     OH   43147‐9831
ORVILLE QUAKENBUSH       1441 MULBERRY ST                                                                                     NOBLESVILLE      IN   46060‐2943
ORVILLE RISNER           31776 LAFLER DR                                                                                      ROCKWOOD         MI   48173‐1082
ORVILLE RIVARD           744 TREE LN                                                                                          SHREVEPORT       LA   71106‐2130
ORVILLE ROARK            1621 UPPER IRON BRIDGE RD                                                                            OAKLAND          KY   42159‐9784
ORVILLE ROBART           2804 TEXEL DR                                                                                        KALAMAZOO        MI   49048‐1345
ORVILLE ROWDEN           5511 INDEPENDENCE COLONY RD                                                                          GRAND BLANC      MI   48439‐9105
ORVILLE SANDS            691 E PACKINGHAM RD                                                                                  LAKE CITY        MI   49651‐9388
ORVILLE SATTERLEY        118 ROBIN HOOD LN                                                                                    BEDFORD          IN   47421‐6416
ORVILLE SCHAEFER         141 LEGRANDE AVE                                                                                     PONTIAC          MI   48342‐1136
ORVILLE SCHARLAU         1221 PORTLAND AVE                                                                                    BELOIT           WI   53511‐5043
ORVILLE SEALS            368 RIVA RIDGE TRL                                                                                   CORBIN           KY   40701‐8532
ORVILLE SEALS            12671 N PALMYRA RD                                                                                   NORTH JACKSON    OH   44451‐9727
ORVILLE SELLS            1270 SOUTH ST                                                                                        NOBLESVILLE      IN   46060‐3818
ORVILLE SHARP            PO BOX 284                                                                                           NOBLETON         FL   34661‐0284
ORVILLE SHAW             5652 AVON LAKE RD                                                                                    SPENCER          OH   44275‐9717
ORVILLE SHERMAN          1934 W 12TH ST                                                                                       MARION           IN   46953‐1247
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ORVILLE SLACK         1718 MONICA LN                                                                             ANDERSON           IN 46013‐2596
ORVILLE SLAGLE        211 CENTER ST                                                                              SARANAC            MI 48881‐9731
ORVILLE SMITH         RR 5 BOX 239                                                                               BUTLER             MO 64730‐9015
ORVILLE SMITH         709 DOG RD                                                                                 WICHITA FALLS      TX 76305‐3804
ORVILLE SMITH         319 W PINE ST                                                                              LANCASTER          WI 53813‐1239
ORVILLE SODDERS       106 EVERGREEN WAY                                                                          HARTFORD CITY      IN 47348‐1086
ORVILLE SOWATZKI      2432 RUTLEDGE AVE                                                                          JANESVILLE         WI 53545‐1336
ORVILLE SPIVEY        4841 TODD RD                                                                               FRANKLIN           OH 45005‐5033
ORVILLE SPIVEY        11093 E 700 N                                                                              WILKINSON          IN 46186‐9792
ORVILLE STAMM         904 ALEXANDRIA PIKE                                                                        ANDERSON           IN 46012‐2606
ORVILLE STEPHENS      2611 HIGHWAY 11                                                                            GRIFFITHVILLE      AR 72060‐8074
ORVILLE STEVENSON     250 WOODROW ST                                                                             LINCOLN            AL 35096‐3533
ORVILLE STONE         1200 KEYWOOD CT                                                                            BALTIMORE          MD 21222‐2867
ORVILLE T ABBOTT      MOTLEY RICE LLC                28 BRIDGESIDE BLVD           PO BOX 1792                    MT PLEASANT        SC 29465
ORVILLE TEAGUE        715 RAHN ST                                                                                WESTLAND           MI 48186‐4825
ORVILLE THOMPSON      4349 STATE ROUTE 772                                                                       PIKETON            OH 45661‐9610
ORVILLE TIDWELL       BEVAN AND ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS         OH 44236
ORVILLE TIPTON        100 RENWOOD PL                                                                             SPRINGBORO         OH 45066‐1072
ORVILLE UNDERWOOD     2975 PORTAGE TRAIL DR                                                                      ROCHESTER HILLS    MI 48309‐3216
ORVILLE V SPIVEY      4841 TODD RD                                                                               FRANKLIN           OH 45005‐5033
ORVILLE VILES         16199 JOLIET RD                                                                            WESTFIELD          IN 46074‐9354
ORVILLE W HALE        7270 ENTERPRISE ROAD                                                                       W ALEXANDRIA       OH 45381‐9325
ORVILLE W MCCOY       P.O. BOX 58                                                                                SANTEE             SC 29142
ORVILLE WALKER JR     1747 BAYBERRY LN                                                                           BARNHART           MO 63012‐1482
ORVILLE WENRICK       6289 DIXON RD                                                                              MONROE             MI 48161‐9711
ORVILLE WEST          27684 SHERIDAN ST                                                                          GARDEN CITY        MI 48135‐3173
ORVILLE WILLIAMS      HC 37 BOX 205                                                                              LEWISBURG          WV 24901‐9536
ORVILLE WILSON        21 COLIN KELLY DR                                                                          DAYTON             OH 45431‐1338
ORVILLE WILSON        207 N PATTON ST                                                                            XENIA              OH 45385‐2031
ORVILLE WOOD          6049 E HILL RD                                                                             GRAND BLANC        MI 48439‐9102
ORVILLE WOODHULL      1920 CIRCLE DR                                                                             FAIRGROVE          MI 48733‐9773
ORVILLE WRIGHT        4412 GRAND LIN ST                                                                          SWARTZ CREEK       MI 48473‐9133
ORVILLE WYCKOFF JR    26 PLUM TREE LN                                                                            CALAIS             ME 04619‐1133
ORVILLE YOUNG         324 MAGELLAN AVE                                                                           HOUGHTON LAKE      MI 48629‐8944
ORVILLE ZELLERS       3883 SAMUEL AVE                                                                            ROCHESTER HILLS    MI 48309‐4257
ORVIS COMPANY         178 CONSERVATION WAY                                                                       SUNDERLAND         VT 05250‐4465
ORVIS IRVINE          5425 WANDERING WAY                                                                         MASON              OH 45040‐2992
ORVIS JR, WILLIAM E   9261 IRISH RD                                                                              GOODRICH           MI 48438‐9440
ORVIS WATSON          4114 KY 10                                                                                 MAYSVILLE          KY 41056
ORVIS, AUGUST S       404 CYNTHIA DR                                                                             FLUSHING           MI 48433‐2104
ORVIS, BRETT A        9278 SUE LN                                                                                SWARTZ CREEK       MI 48473‐8548
ORVIS, BRUCE E        2871 SOMMERSBY RD                                                                          MOUNT AIRY         MD 21771‐8049
ORVIS, BURTON M       624 S. GRAND TRAVERSE                                                                      FLINT              MI 48502
ORVIS, CHAD A         9511 HILL ROAD                                                                             SWARTZ CREEK       MI 48473‐1064
ORVIS, DANIEL R       107 DENVER ST                                                                              LANSING            MI 48910‐3059
ORVIS, ELLA           858 N 96TH PL                                                                              MESA               AZ 85207‐5302
ORVIS, GARY A         9278 SUE LN                                                                                SWARTZ CREEK       MI 48473‐8548
ORVIS, IRENE L        404 CYNTHIA DR                                                                             FLUSHING           MI 48433‐2104
ORVIS, LEON E         2468 HOWALD AVE                                                                            FLINT              MI 48504‐2364
ORVIS, MARGIE F.      105 BRIGHTON CT                                                                            COLUMBIA           TN 38401
ORVIS, RENEE M        9967 ELM RD                                                                                OVID               MI 48866‐9509
ORVIS, RONALD E       886 RIDGEVIEW LN                                                                           COLUMBIA           TN 38401‐5577
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Name                           Address1                         Address2                      Address3       Address4         City                State Zip
ORVIS, SALLY                   9314 HOGAN RD                                                                                  FENTON               MI 48430‐9204
ORVIS, STELLA                  2501 E 104TH AVE UNIT G3‐3                                                                     THORNTON             CO 80233‐4401
ORVO WATIA                     4093 PRUESS RD                                                                                 FREELAND             MI 48623‐9225
ORVOS, EDWARD J                1506 RIVERGATE DR                                                                              JACKSONVILLE         FL 32223‐1760
ORWAN, RICHARD L               4104 CYPRESS SPRINGS DR                                                                        ARLINGTON            TX 76001‐5101
ORWAN, RICHARD LEE             4104 CYPRESS SPRINGS DR                                                                        ARLINGTON            TX 76001‐5101
ORWAT, HELEN H                 239 SPRING MEDOW LANE                                                                          LOUIS VILLE          KY 40243
ORWAT, HELEN H                 239 SPRING MEADOW LN                                                                           LOUISVILLE           KY 40243‐2217
ORWAT, ROBERT S                1220 SANDHILL DR                                                                               DEWITT               MI 48820‐9551
ORWAT, THOMAS S                44 FRADINE DR                                                                                  CHEEKTOWAGA          NY 14227‐3035
ORWELLER, ROBERT W             6222 TUBBS LAKE DRIVE                                                                          MECOSTA              MI 49332
ORWIG RICHARD                  ORWIG, RICHARD                   THE AVELINO LAW FIRM          V SUITE 2500                    NEW YORK             NY 10007
ORWIG, DOUGLAS J               11414 SPENCER RD                                                                               SAGINAW              MI 48609
ORWIG, GARY W                  5510 N US HIGHWAY 23                                                                           OSCODA               MI 48750‐9702
ORWIG, KENNETH                 1191 BURBANK PL                                                                                SAGINAW              MI 48603‐5673
ORWIG, MARY M                  828 SEVENTH ST. S.W.                                                                           WARREN               OH 44485‐4063
ORWIG, MARY M                  828 7TH ST SW                                                                                  WARREN               OH 44485‐4063
ORWIG, OTTO L                  787 ROBINWOOD DR                                                                               TROY                 MI 48083‐1823
ORWIG, RICHARD
ORWIG, RICHARD                 THE AVELINO LAW FIRM             225 BROADWAY STE 2500                                         NEW YORK            NY   10007‐3724
ORWIG, RICHARD                 THE AVELINO LAW FIRM             V SUITE 2500                                                  NEW YORK            NY   10007
ORWIG, STEPHANIE R             3088 W MARKET ST                                                                               WARREN              OH   44485‐3068
ORWIG, YVONNE S                PO BOX 301                                                                                     SIDELL              IL   61876‐0301
ORWIN MANSFIELD                313 TACOMA AVE                                                                                 DEFIANCE            OH   43512‐2377
ORY PENNY                      BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS          OH   44236
ORY, NORRIS J                  2015 E SOFT WIND DR                                                                            PHOENIX             AZ   85024‐8620
ORY, THOMAS K                  107 RIVENDELL LN                                                                               WEATHERFORD         TX   76088‐8439
ORYE CLEMENT D (409175)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA   23510
                                                                STREET, SUITE 600
ORYE, CLEMENT D                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA 23510‐2212
                                                                STREET, SUITE 600
ORYSZCZAK, NICHOLAS F          7052 FRANCES RD                                                                                FLUSHING            MI   48433‐8809
ORZALIA JOHNSON                6001 WELLBORN TRL                                                                              LITHONIA            GA   30058‐8350
ORZECH, PAUL F                 1515 RIDGE RD LOT 100                                                                          YPSILANTI           MI   48198‐4259
ORZECHOWSKI JR, FRANK S        5668 CURTIS AVE                                                                                CANFIELD            OH   44406‐9606
ORZECHOWSKI, ALICE G           7940 AUGUST AVE                                                                                WESTLAND            MI   48185‐2598
ORZECHOWSKI, ALICE G           7940 AUGUST                                                                                    WESTLAND            MI   48185‐2598
ORZECHOWSKI, BEVERLY F         2633 E 33RD ST                                                                                 ERIE                PA   16510‐2763
ORZECHOWSKI, BEVERLY FETZNER   2633 E 33RD ST                                                                                 ERIE                PA   16510‐2763
ORZECHOWSKI, DEBERA L          249 MANHATTAN AVE                                                                              BROOKLYN            NY   11211‐4905
ORZECHOWSKI, DENNIS            9453 GILLMAN ST                                                                                LIVONIA             MI   48150‐4150
ORZECHOWSKI, DENNIS P          1203 S STATE ST                                                                                HILLSIDE            NJ   07205‐2609
ORZECHOWSKI, GERARD T          2215 ROUTE 88 2                                                                                BRICK               NJ   08724
ORZECHOWSKI, IRENE C           70 PEORIA AVE                                                                                  CHEEKTOWAGA         NY   14206‐2633
ORZECHOWSKI, MARGRET           32662 SHERIDAN ST                                                                              GARDEN CITY         MI   48135‐3226
ORZECHOWSKI, MICHAEL           31625 WARREN RD                                                                                GARDEN CITY         MI   48135‐1722
ORZECHOWSKI, PHILLIP P         9161 AVIS ST                                                                                   DETROIT             MI   48209‐1702
ORZEL, ANNA B                  228 CENTRAL AVE                  C/O C.L WALTERS                                               HASBROUCK HEIGHTS   NJ   07604‐2006
ORZEL, ANNA B                  C/O C.L WALTERS                  228 CENTRAL AVE                                               HASBROUCK HEIGHTS   NJ   07604‐2006
ORZEL, ARTHUR W                15999 FLANAGAN ST                                                                              ROSEVILLE           MI   48066‐1491
ORZEL, HARRY T                 29215 GLOEDE DR APT A                                                                          WARREN              MI   48088‐4068
ORZEL, JOHN P                  2511 PARKWOOD LN                                                                               DES PLAINES         IL   60018‐4063
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ORZEL, NORMAN S               140 LAKE ST                                                                               WILSON              NY 14172‐9656
ORZEL, WALTER J               32549 GLOEDE DR                                                                           WARREN              MI 48088‐6228
ORZELL ECHOLS                 23071 CLOVERLAWN ST                                                                       OAK PARK            MI 48237‐2407
ORZELLA COX                   13981 CHATHAM ST                                                                          DETROIT             MI 48223‐2551
ORZO, KAREN                   640 S ROCKHILL AVE                                                                        ALLIANCE            OH 44601‐2790
ORZOL, REGINA                 833 INDIANA AVE                                                                           TRENTON             NJ 08638‐3919
OSA ADDINGTON                 PO BOX 242                                                                                FARMLAND            IN 47340‐0242
OSA ARNOLD                    32547 AVONDALE ST                                                                         WESTLAND            MI 48186‐8904
OSA BANKS                     6500 SADDLE RIDGE RD                                                                      ARLINGTON           TX 76016‐2530
OSA C TAULBEE                 1380 KYLEMORE DRIVE                                                                       XENIA               OH 45385‐3734
OSA CASE                      2001 STEGMAN AVE                                                                          DAYTON              OH 45404‐2119
OSA DEAN                      10029 MOUNTS RD                                                                           MINERAL POINT       MO 63660‐9467
OSA H CASE                    2001 STEGMAN                                                                              DAYTON              OH 45404‐2119
OSABA, CHRISTINE A            6 CHARLES DR                                                                              NEW CASTLE          DE 19720‐4699
OSAC INC.                     100 SOUTH THIRD ST.                                                                       COLUMBUS            OH 43215
OSADA, ANNETTE                6534 N CHARLESWORTH ST                                                                    DEARBORN HEIGHTS    MI 48127‐3906
OSADARK, ANASTASIA            320 COLONY ST                    C/O THE BRADLEY HOME   PO BOX 886                        MERIDEN             CT 06451‐2053
OSADCA, ROBERT W              6251 BRIARWOOD DR                                                                         BELLEVILLE          MI 48111‐5145
OSADCIW, MARIAM               2718 W DESERT COVE AVE                                                                    PHOENIX             AZ 85029‐4424
OSADCKY, ELISE H              ALDERSGATE 3800 SHAMROCK DR                                                               CHARLOTTE           NC 28215
OSADCKY, JOHN G               ALDERSGATE 3800 SHAMROCK DR                                                               CHARLOTTE           NC 28215
OSAGE CHEVROLET‐BUICK, INC.   ALLEN WISE                       425 MARKET ST                                            OSAGE CITY          KS 66523‐1155
OSAGE CHEVROLET‐BUICK, INC.   425 MARKET ST                                                                             OSAGE CITY          KS 66523‐1155
OSAGE COUNTY COLLECTOR        PO BOX 616                                                                                LINN                MO 65051‐0616
OSAGE COUNTY TREASURER        717 TOPEKA AVE                   P O BOX 210                                              LYNDON              KS 66451‐9792
OSAGHAE, VICTOR O             2327 MINNESOTA DR                                                                         XENIA               OH 45385‐4768
OSAK, DON ALBERT              313 W MECHANIC ST                                                                         SHELBYVILLE         IN 46176‐1119
OSAKA MAZDA KK                CHUCK QUEENER                    2155 S ALMONT AVE                                        ROCHESTER HILLS     MI 48309
OSAKA UNIVERSITY, JAPAN
OSAN JR, RUDOLPH M            8204 PETTYSVILLE RD                                                                       PINCKNEY           MI   48169‐9168
OSANI JONATHON (667803)       JACOBS & CRUMPLAR P.A.           PO BOX 1271            2 EAST 7TH ST                     WILMINGTON         DE   19899‐1271
OSANI, JONATHON               JACOBS & CRUMPLAR P.A.           PO BOX 1271            2 EAST 7TH ST,                    WILMINGTON         DE   19899‐1271
OSANI, JONATHON J             205 MCCAULEY RD                                                                           CONOWINGO          MD   21918‐1624
OSANI, JONATHON JAMES         205 MCCAULEY RD                                                                           CONOWINGO          MD   21918‐1624
OSANTOWSKI JR, THOMAS         6394 W GILFORD RD                                                                         FAIRGROVE          MI   48733‐9524
OSANTOWSKI, BEVERLY A         1581 STIRLING AVE                                                                         PONTIAC            MI   48340‐1335
OSANTOWSKI, EUGENE V          3045 CEDAR BEACH LN                                                                       CHEBOYGAN          MI   49721‐7500
OSANTOWSKI, JERRY T           7689 DECKERVILLE RD                                                                       FAIRGROVE          MI   48733‐9714
OSANTOWSKI, NEIL D            12889 HACK RD                                                                             REESE              MI   48757‐9303
OSANTOWSKI, PATRICK D         1591 S VAN BUREN RD                                                                       REESE              MI   48757‐9207
OSANTOWSKI, THOMAS J          6663 SEVERANCE RD                                                                         CASS CITY          MI   48726‐9367
OSANTOWSKI, WILLIAM E         7692 W GILFORD RD                                                                         REESE              MI   48757‐9527
OSAWAMICK, LIONEL             3115 GARLAND ST                                                                           LANSING            MI   48906‐2011
OSAWAMICK, RICHARD A          1711 DOWNEY ST                                                                            LANSING            MI   48906‐2822
OSB INC                       44476 PHOENIX DR                                                                          STERLING HEIGHTS   MI   48314‐1467
OSB INC/SHELBY TWP            51277 CELESTE                                                                             SHELBY TOWNSHIP    MI   48315‐2941
OSBAHR, DALE R                46901 BRIAR TOWNE BLVD                                                                    CHESTERFIELD       MI   48051‐3201
OSBAN L SEXTON                4590 KESSLER FREDERICK RD                                                                 WEST MILTON        OH   45383‐9791
OSBAN SEXTON                  4590 S KESSLER FREDERICK RD                                                               WEST MILTON        OH   45383‐9791
OSBAN, MARTHA M               708 IROQUOIS DRIVE                                                                        ANDERSON           IN   46012‐1438
OSBERG, RALPH E               751 ARLINGTON DR                                                                          SEAFORD            NY   11783‐1304
OSBERG, RICHARD P             73 GALAXY WAY                                                                             LOMPOC             CA   93436‐1133
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Name                               Address1                        Address2                        Address3   Address4         City              State Zip
OSBERG, THOMAS T                   631 N ALTA DR                                                                               BEVERLY HILLS      CA 90210‐3503
OSBERG,THOMAS T                    584 CONSTITUTION ST                                                                         CANTON             MI 48188
OSBERRY, NATHANIEL                 417 CHARITY CIR APT 107                                                                     LANSING            MI 48917‐1036
OSBERT JOSEPH                      2647 CROSSWOOD LN                                                                           SHREVEPORT         LA 71118‐5012
OSBERT S JOSEPH                    2647 CROSSWOOD LN                                                                           SHREVEPORT         LA 71118‐5012
OSBEY W BECK, JR                   4730 NORWAY DR.                                                                             JACKSON            MS 39206
OSBEY, MELVIN                      1514 E 196TH ST                                                                             EUCLID             OH 44117‐1451
OSBIE PHILLIPS                     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS         OH 44236
OSBION DANIEL                      67 VOILS CIR                                                                                RUSSELL SPRINGS    KY 42642‐4428
OSBO, BRYAN L                      3923 WILLOW RIDGE DR                                                                        HOLT               MI 48842‐9711
OSBO, IMOGENE                      APT 244                         223 NORTH MAIN STREET                                       EATON RAPIDS       MI 48827‐1282
OSBON EUBANKS                      5424 WHITE DR                                                                               LAKE CITY          GA 30260‐3773
OSBON, JOYCE E                     2965 S 200 E                                                                                TIPTON             IN 46072‐9306
OSBON, LAURIE A                    1596 SWEETWATER RD                                                                          COLUMBIA           LA 71418‐5142
OSBON, MELISSA K                   9801 ACORN DR                                                                               MANVEL             TX 77578‐5345
OSBORN CLIFFORD E (348360)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                   STREET, SUITE 600
OSBORN ENGINEERING CO              1300 E 9TH ST STE 1500                                                                      CLEVELAND         OH    44114‐1573
OSBORN ENGINEERING CO              1300 E 9TH ST                                                                               CLEVELAND         OH    44114‐1508
OSBORN GLENN (499363)              LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                     MIAMI             FL    33143‐5163
OSBORN HOWARD JR                   C/O MARGARET BRANDENBURG        717 S GRAND TRAVERSE STREET                                 FLINT             MI    48502
OSBORN I I, EDWIN E                6404 E COLDWATER RD                                                                         FLINT             MI    48506‐1216
OSBORN II, EDWIN ERVIN             6404 E COLDWATER RD                                                                         FLINT             MI    48506‐1216
OSBORN JIMMIE L (467136)           DUKE LAW FIRM                   236 WESTVIEW TER                                            ARLINGTON         TX    76013‐1620
OSBORN JR, BURL                    20001 STANSBURY ST                                                                          DETROIT           MI    48235‐1564
OSBORN JR, JAMES W                 1096 W MCEWEN DR                                                                            FRANKLIN          TN    37067‐1721
OSBORN JR, JOHN W                  619 N MONROE DR                                                                             XENIA             OH    45385‐2146
OSBORN KERRY                       8931 SPICEWOOD CT                                                                           INDIANAPOLIS      IN    46260‐1545
OSBORN POLITE JR                   1309 W COLDWATER RD                                                                         FLINT             MI    48505‐4816
OSBORN SAMUEL (473116) ‐ OSBORNE   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND         OH    44114
SAMUEL                                                             BOND COURT BUILDING
OSBORN TRANSPORTATION INC          PO BOX 1830                                                                                 GADSDEN            AL   35902‐1830
OSBORN TURNER JR                   PO BOX 18112                                                                                SHREVEPORT         LA   71138‐1112
OSBORN TWILA                       OSBORN, TWILA
OSBORN, ALBERT L                   15397 POWELL DR                                                                             WARSAW            MO    65355‐4796
OSBORN, ALVIN A                    15024 S OUTER BELT RD                                                                       LONE JACK         MO    64070‐9519
OSBORN, ANGELA L                   PO BOX 1081                                                                                 ANTIOCH           TN    37011‐1081
OSBORN, ARDITH M                   2408 STATE ST                                                                               SAGINAW           MI    48602‐3963
OSBORN, ARDITH M                   2408 STATE STREET                                                                           SAGINAW           MI    48602‐3963
OSBORN, ARIETTA J                  169 S MAPLE ST                                                                              CHANDLER          AZ    85226
OSBORN, ASTRID M                   40214 VIA CALIDAD                                                                           MURRIETA          CA    92562‐3580
OSBORN, BARBARA J.                 10705 NORTH STATE RD 267                                                                    BROWNSBURG        IN    46112‐9295
OSBORN, BARBARA J.                 10705 N STATE ROAD 267                                                                      BROWNSBURG        IN    46112‐9295
OSBORN, BETTY A                    7770 NEWCO DR                                                                               HAMLIN            NY    14464‐9722
OSBORN, BILLIE J                   13305 E 335TH ST                                                                            ARCHIE            MO    64725‐9137
OSBORN, CAROLIN F.                 1105 NEUBERT AVE                                                                            FLINT             MI    48507‐1526
OSBORN, CHARLES J                  230 N CHURCH ST                                                                             CLIMAX            MI    49034‐5126
OSBORN, CHARLES P                  1514 DELTA DR                                                                               TROY              MI    48085‐1231
OSBORN, CHRISTINE L                APT B3                          361 KENLEE CIRCLE                                           BOWLING GREEN     KY    42101‐7226
OSBORN, CHRISTOPHER M              PO BOX 1003                                                                                 HALLSVILLE        TX    75650‐1003
OSBORN, CLARENCE E                 150 W MIDWAY BLVD                                                                           BROOMFIELD        CO    80020‐1938
OSBORN, CLAUDIOUS L                2039 ARLENE DR                                                                              ARNOLD            MO    63010‐1213
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OSBORN, CLIFFORD E       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                        STREET, SUITE 600
OSBORN, D J              723 DEGROFF ST                                                                           GRAND LEDGE      MI   48837
OSBORN, DALE G           229 W 2ND ST                                                                             ALBANY           IN   47320‐1709
OSBORN, DARLEEN L        5303 NASSAR ST                                                                           FLINT            MI   48505‐1064
OSBORN, DAVID D          3818 JIM DR                                                                              BRIDGEPORT       MI   48722‐9617
OSBORN, DAVID G          6280 W ADAMS                                                                             BELLEVILLE       MI   48111‐4201
OSBORN, DAVID J          158 GENESEE AVE NE                                                                       WARREN           OH   44483‐5402
OSBORN, DAVID R          1275 BRAMBLES DR                                                                         WATERFORD        MI   48328‐4735
OSBORN, DEBORAH K        726 W LAKE AVE                                                                           NEW CARLISLE     OH   45344‐1756
OSBORN, DELPHA D         6628 N EDISON AVE                                                                        KANSAS CITY      MO   64151‐2110
OSBORN, DELPHA D         6628 NO EDISON                                                                           KANSAS CITY      MO   64151‐2110
OSBORN, DEON E           11398 EAST 27TH PLACE                                                                    YUMA             AZ   85367‐8918
OSBORN, DOLORES J        1105 LANGDALE AVE                                                                        NEW CARLISLE     OH   45344‐1557
OSBORN, DOLORES J        1105 LANGDALE ST.                                                                        NEW CARLISLE     OH   45344‐1557
OSBORN, DONNA R          662 KUYKENDALL RD                                                                        ALBERTVILLE      AL   35951
OSBORN, DOROTHY E        1454 ENGADINE AVE.                                                                       COLUMBUS         OH   43223‐3223
OSBORN, DOROTHY L        431 BURDEL DR                                                                            WILMINGTON       OH   45177‐2905
OSBORN, DUDLEY R         446 GAUT RD                                                                              JEFFERSON CITY   TN   37760‐3202
OSBORN, EDGAR E          179 CARRONBRIDGE WAY                                                                     FRANKLIN         TN   37067‐6223
OSBORN, EDITH H          5407 MOHAWK LANE                                                                         FAIRWAY          KS   66205‐2732
OSBORN, EDWIN A          3470 N EAST TORCH LAKE DR                                                                CENTRAL LAKE     MI   49622‐9606
OSBORN, ELIZABETH A      1805 SHAMROCK LN                                                                         FLINT            MI   48504‐5405
OSBORN, ELIZABETH C      4409 ORCHARD TRACE                                                                       ROSWELL          GA   30076‐6002
OSBORN, ERIC D           8735 BRIDGE HWY                                                                          DIMONDALE        MI   48821‐9726
OSBORN, ERIC DREW        8735 BRIDGE HWY                                                                          DIMONDALE        MI   48821‐9726
OSBORN, EUGENE           4525 N SOONER RD                                                                         OKLAHOMA CITY    OK   73141‐9530
OSBORN, GAIREL A         225 SWAN CT                                                                              FORTVILLE        IN   46040‐1451
OSBORN, GARRY D          18 AUTUMNWOOD DR                                                                         MOSCOW MILLS     MO   63362‐1618
OSBORN, GARY D           3436 BLOSSOM LN                                                                          BLOOMFIELD       MI   48302‐1305
OSBORN, GERALD A         1948 SADDLE HORN DRIVE                                                                   CANANDAIGUA      NY   14424‐8152
OSBORN, GEROLD B         133 N HOLLAND SYLVANIA RD                                                                TOLEDO           OH   43615‐9048
OSBORN, GEROLD BERNARD   133 N HOLLAND SYLVANIA RD                                                                TOLEDO           OH   43615‐9048
OSBORN, GLENN            C/O THE LIPMAN LAW FIRM        5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES     FL   33146
OSBORN, GLENN            LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                   MIAMI            FL   33143‐5163
OSBORN, GORDON L         2500 BOSTON BLVD                                                                         LANSING          MI   48910‐2422
OSBORN, HAROLD E         7541 GARIBALDI CT                                                                        NAPLES           FL   34114‐2641
OSBORN, HELEN P          1255 WINELEASE LANE                                                                      DEWITT           MI   48820
OSBORN, HOLLY            557 MERCER RD                                                                            FRANKLIN         PA   16323‐4615
OSBORN, IRENE A          446 GAUT RD                                                                              DANDRIDGE        TN   37725
OSBORN, JACQUELYN J      4165 SEYMOUR RD                                                                          SWARTZ CREEK     MI   48473‐8560
OSBORN, JAMES E          13381 TALL GRASS CT                                                                      FORT MYERS       FL   33912‐3821
OSBORN, JAMES R          24087 SHAKE RAG RD                                                                       DANVILLE         IL   61834‐6174
OSBORN, JAMIE L          315 S SYCAMORE ST                                                                        FAIRMOUNT        IN   46928‐2030
OSBORN, JANET S          7010 E STATE ROAD 28 28                                                                  ELWOOD           IN   46036
OSBORN, JANET S          7010 E STATE RD 28                                                                       ELWOOD           IN   46036
OSBORN, JAY L            3265 STATE ST                                                                            CALEDONIA        NY   14423‐1231
OSBORN, JESSIE J         PO BOX 43                                                                                PONETO           IN   46781‐0043
OSBORN, JEWELL E         169 S MAPLE ST                                                                           CHANDLER         AZ   85226‐3561
OSBORN, JIMMIE L         DUKE LAW FIRM                  236 WESTVIEW TER                                          ARLINGTON        TX   76013‐1620
OSBORN, JOE W            8818 NE 2ND ST                                                                           MIDWEST CITY     OK   73110‐7702
OSBORN, JOHN B           2305 W ELDORA DR                                                                         MARION           IN   46952‐1045
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Name                     Address1                          Address2               Address3      Address4         City             State Zip
OSBORN, JOHN C           4480 ELMHURST ST                                                                        SAGINAW           MI 48603‐2016
OSBORN, JONATHAN J       711 MIAMI ST                                                                            WAYNESVILLE       OH 45068‐9796
OSBORN, JUDITH L         4212 COLUMBUS AVE                                                                       ANDERSON          IN 46013‐5018
OSBORN, KENNETH G        1665 LAKE DR                                                                            HARRISON          MI 48625‐9409
OSBORN, KENNETH G        17172 MCKENNA WAY                                                                       NOBLESVILLE       IN 46062‐8512
OSBORN, KERRY A          8931 SPICEWOOD CT                                                                       INDIANAPOLIS      IN 46260‐1545
OSBORN, LARRY D          5610 N FLINT RIDGE RD                                                                   KANSAS CITY       MO 64151‐2973
OSBORN, LARRY J          562 BEACON LAKE DR APT 7                                                                MASON             MI 48854
OSBORN, LARY E           105 AVERY DR                                                                            SHILOH            NC 27974‐6205
OSBORN, LAWRENCE V       685 N ROYSTON RD                                                                        CHARLOTTE         MI 48813‐9385
OSBORN, LESTER L         8550 N GRANBY AVE APT 110                                                               KANSAS CITY       MO 64154‐1237
OSBORN, LEWIS H          334 E MAIN ST # A1                                                                      HOPKINS           MI 49328‐8506
OSBORN, LOIS F           3655 FERNWOOD LN                                                                        MASON             MI 48854‐9389
OSBORN, LOIS F           3665 FERNWOOD LANE                                                                      MASON             MI 48854‐9389
OSBORN, LUCILLE M        PO BOX 451                        C/O SHARON GILLESPIE                                  REHOBOTH BEACH    DE 19971‐0451
OSBORN, M M              7390 CROSS CREEK DR                                                                     SWARTZ CREEK      MI 48473‐1499
OSBORN, MABEL D          6910 KINGSVILLE RD NE                                                                   FARMSDALE         OH 44417
OSBORN, MARIE I          2303 KING AVE                                                                           DAYTON            OH 45420‐2363
OSBORN, MARILYN K        4861 BEECH RD                                                                           HOPE              MI 48628‐9609
OSBORN, MARK B           722 MACDONALD AVE                                                                       FLINT             MI 48507‐2847
OSBORN, MARK BRIAN       722 MACDONALD AVE                                                                       FLINT             MI 48507‐2847
OSBORN, MARY J           1204 COUNTY ROAD 367                                                                    FLORENCE          AL 35634
OSBORN, MARY LOU         1930 EDGEWOOD DR                                                                        DEFIANCE          OH 43512‐3673
OSBORN, MARY R           2020 HAVEN GLN                    C/O LEE H OSBORN                                      WHITE LAKE        MI 48383‐3340
OSBORN, MICHAEL E        19 MONROE PKWY                                                                          MASSENA           NY 13662‐1220
OSBORN, MICHAEL EDWARD   19 MONROE PKWY                                                                          MASSENA           NY 13662‐1220
OSBORN, MICHAEL S        1494 FOREST HILLS DR                                                                    OKEMOS            MI 48864‐3038
OSBORN, MILTON H         3801 VILLAGE VIEW DR APT 1214                                                           GAINESVILLE       GA 30506‐4335
OSBORN, NANCY J          2309 STARKWEATHER                                                                       FLINT             MI 48506‐4723
OSBORN, NAOMI R          619 N MONROE DR                                                                         XENIA             OH 45385‐5385
OSBORN, NORMA D          509 MARION DR                                                                           GARDENDALE        AL 35071‐2816
OSBORN, OLLIE C          710 W HIGH ST                                                                           DEFIANCE          OH 43512‐1408
OSBORN, PATRICIA         20255 RIVERHILL RD                                                                      CLINTON TWP       MI 48036
OSBORN, PATRICIA         20255 N RIVERHILL DR                                                                    CLINTON TWP       MI 48036‐1865
OSBORN, PAUL             15 AIRDRIE DR                                                                           BEAR              DE 19701‐2361
OSBORN, PAULA L          15397 POWELL DR                                                                         WARSAW            MO 65355‐4796
OSBORN, RALPH B          11930 SCIOTO DARBY RD                                                                   ORIENT            OH 43146‐9100
OSBORN, RAYMOND E        1475 W 68TH ST                                                                          NEWAYGO           MI 49337‐9738
OSBORN, RICHARD
OSBORN, RICHARD L        17075 W SHADY POOL CT                                                                   SURPRISE         AZ   85387‐2791
OSBORN, RICHARD N        12385 CLEO RD                                                                           ORIENT           OH   43146‐9109
OSBORN, RICHARD W        1449 MURPHY LANE                                                                        MOAB             UT   84532‐3243
OSBORN, RICHARD W        1449 MURPHY LN                                                                          MOAB             UT   84532‐3243
OSBORN, RICK I           4129 NEEBISH AVE                                                                        FLINT            MI   48506‐1933
OSBORN, ROBERT A         6090 SIPES LN                                                                           FLINT            MI   48532‐5319
OSBORN, ROBERT C         100 BISON TRL                                                                           LONGVIEW         TX   75601‐8704
OSBORN, ROBERT CHARLES   100 BISON TRL                                                                           LONGVIEW         TX   75601‐8704
OSBORN, ROBERT G         708 CARLOCK AVE                                                                         HARRIMAN         TN   37748
OSBORN, ROBERT W         15195 VASSAR RD                                                                         MILLINGTON       MI   48746‐9714
OSBORN, RONALD D         1940 BAMBY LN                                                                           MILFORD          MI   48381‐2107
OSBORN, RONALD L         15585 COUNTY ROAD 201                                                                   DEFIANCE         OH   43512‐9307
OSBORN, ROSS E           40302 EAST 299TH STREET                                                                 GARDEN CITY      MO   64747‐8751
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Name                           Address1                         Address2                           Address3   Address4         City            State Zip
OSBORN, RUSSELL L              9235 GLEN MOOR LN                                                                               PORT RICHEY      FL 34668‐4911
OSBORN, RUTH                   3265 STATE ST                                                                                   CALEDONIA        NY 14423‐1231
OSBORN, RUTH O                 243 WEST ST                                                                                     PENDLETON        IN 46064‐1161
OSBORN, SANDRA S               136 RITA ST                                                                                     DAYTON           OH 45404‐2058
OSBORN, SARA E                 2430 N PURDUM ST                                                                                KOKOMO           IN 46901‐1439
OSBORN, SCOTT L                7305 UNIVERSITY DR                                                                              MOORPARK         CA 93021‐3241
OSBORN, SHARLENE M             17763 SUMIT AVE                                                                                 BARRYTON         MI 49305‐9573
OSBORN, SHARLENE M             17763 SUMMIT ST                                                                                 BARRYTON         MI 49305‐9573
OSBORN, SHARON                 179 CARRONBRIDGE WAY                                                                            FRANKLIN         TN 37067‐6223
OSBORN, SHARON J               1700 N WASHINGTON ST                                                                            KOKOMO           IN 46901‐2208
OSBORN, SHARON K               179 CARRONBRIDGE WAY                                                                            FRANKLIN         TN 37067‐6223
OSBORN, SPIDOLA                62 N MISTY MORNING TRCE                                                                         SPRING           TX 77381‐3862
OSBORN, STEVE                  20255 N RIVERHILL DR                                                                            CLINTON TWP      MI 48036‐1865
OSBORN, SUSAN E                2246 RIDGEMOOR CT                                                                               BURTON           MI 48509‐1391
OSBORN, THELMA L               2121 GARY AVE                                                                                   LANSING          MI 48906‐4127
OSBORN, THELMA L               2121 GARY ST                                                                                    LANSING          MI 48906‐4127
OSBORN, THERESA A              11545 APPLEWOOD CIR                                                                             CARMEL           IN 46032‐6941
OSBORN, THERESA B              31395 SHAMBO RD                                                                                 SPANISH FORT     AL 36527‐5747
OSBORN, THOMAS L               1101 N COUNTY ROAD 600 W                                                                        KOKOMO           IN 46901
OSBORN, THOMAS R               16897 W OUTER DR                                                                                DEARBORN HTS     MI 48127‐2491
OSBORN, TWILA                  1851 MANSFIELD RD                                                                               BIRMINGHAM       MI 48009‐7293
OSBORN, VELIA G                127 WILSON ST                                                                                   DEFIANCE         OH 43512‐1439
OSBORN, VIRGIL A               HC 1 BOX 28                                                                                     WILLIAMSVILLE    MO 63967‐9501
OSBORN, W MARILYN              495 WEST AVE                                                                                    BROCKPORT        NY 14420‐1121
OSBORN, WANDA L                PO BOX 464                                                                                      LYNCHBURG        OH 45142‐0464
OSBORN, WANDA L                BOX 464                                                                                         LYNCHBURG        OH 45142‐0464
OSBORN, WARREN F               2900 N APPERSON LOT 75 B                                                                        KOKOMO           IN 46901
OSBORN, WILLIAM C              PO BOX 446                                                                                      NEOGA             IL 62447‐0446
OSBORN, ZOLA J                 19551 U.S. 41 S.E.                                                                              FT MYERS         FL 33908
OSBORN,TWILA                   1851 MANSFIELD RD                                                                               BIRMINGHAM       MI 48009‐7293
OSBORNE AUTO UPHOLSTERY        ATTN: DANA OSBORNE               1208 N WASHINGTON ST                                           KOKOMO           IN 46901‐2802
OSBORNE CARINGTON E (429566)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA 23510
                                                                STREET, SUITE 600
OSBORNE CAUDILL                920 CLOVERDALE AVE                                                                              CRESTLINE       OH 44827‐1947
OSBORNE CHARLES W (360252)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA 23510
                                                                STREET, SUITE 600
OSBORNE CONCRETE CO            37500 NORTHLINE RD                                                                              ROMULUS         MI   48174‐1180
OSBORNE CONCRETE CO INC        37500 NORTHLINE RD                                                                              ROMULUS         MI   48174‐1180
OSBORNE COUNTY TREASURER       PO BOX 160                                                                                      OSBORNE         KS   67473‐0160
OSBORNE DEBORAH                PO BOX 2438                                                                                     FLORISSANT      MO   63032‐2438
OSBORNE DONALD J (355983)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA   23510
                                                                STREET, SUITE 600
OSBORNE DRINDA MAE             9157 GROVE DR                                                                                   WHITMORE LAKE    MI 48189
OSBORNE ELEANOR FRANCES        OSBORNE, ELEANOR FRANCES         555 WEST FIFTH STREET 30TH FLOOR                               LOS ANGELES      CA 90013

OSBORNE ELEANOR FRANCES        OSBORNE, MARTIN PATRICK          1126 WILSHIRE BLVD                                             LOS ANGELES      CA 90017‐1904
OSBORNE ELEANOR FRANCES        OSBORNE, MARTIN PATRICK          555 WEST FIFTH STREET 30TH FLOOR                               LOS ANGELES      CA 90013

OSBORNE ELEANOR FRANCES        OSBORNE, STEVEN EUGENE           555 WEST FIFTH STREET 30TH FLOOR                               LOS ANGELES     CA 90013

OSBORNE ELEANOR FRANCES        WILLIAMS, COLLEEN AYN            555 WEST FIFTH STREET 30TH FLOOR                               LOS ANGELES     CA 90013
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Name                                   Address1                          Address2                         Address3   Address4         City               State Zip
OSBORNE GOGGINS                        PO BOX 403                                                                                     ROCKMART            GA 30153‐0403
OSBORNE GRUNDER                        BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.         OH 44236
OSBORNE HARRY E (ESTATE OF) (355277)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA 23510
                                                                         STREET, SUITE 600
OSBORNE I I I, EDWARD R                26 COUNTRY PL                                                                                  LANCASTER          NY   14086‐3232
OSBORNE III, EDWARD RICHARD            26 COUNTRY PL                                                                                  LANCASTER          NY   14086‐3232
OSBORNE III, REUBEN L                  3181 RANDOLPH ST NW                                                                            WARREN             OH   44485‐2526
OSBORNE JAMES                          55 HEMPLE RD                                                                                   FARMERSVILLE       OH   45325‐1205
OSBORNE JAMES                          3751 HURON ST                                                                                  DEARBORN           MI   48124‐3821
OSBORNE JESSICA                        OSBORNE, JESSICA                  109 FIRETOWER ROAD                                           BALD KNOB          AR   72010
OSBORNE JOE (490911)                   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD         OH   44067
                                                                         PROFESSIONAL BLDG
OSBORNE JOHN (474136)                  ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                             PHILADELPHIA       PA 19103‐6612
                                       P.C.
OSBORNE JOHN C (343376)                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                         STREET, SUITE 600
OSBORNE JR, EDWARD R                   36 JOHN BRIAN LN                                                                               BUFFALO            NY   14227‐3616
OSBORNE JR, FORREST                    5862 RAVINE CREEK DR                                                                           GROVE CITY         OH   43123‐8597
OSBORNE JR, FRANKLIN D                 3840 MAX PL APT 103                                                                            BOYNTON BEACH      FL   33436‐2064
OSBORNE JR, FRANKLIN D                 7908 LAKEWOOD COVE CT                                                                          LAKE WORTH         FL   33467‐7888
OSBORNE JR, IVAN H                     PO BOX 339                                                                                     MAVISDALE          VA   24627‐0339
OSBORNE JR, JESSE D                    5313 SE 12TH ST                                                                                DEL CITY           OK   73115‐4507
OSBORNE JR, JOE L                      9580 WARD ST                                                                                   DETROIT            MI   48227‐3735
OSBORNE JR, JOHN B                     7184 PERIWINKLE CT                                                                             BROOKSVILLE        FL   34602‐7712
OSBORNE JR, JOHN L                     PO BOX 592                                                                                     FELDA              FL   33930‐0592
OSBORNE JR, ROBERT L                   1415 ALBRITTON DRIVE                                                                           DAYTON             OH   45408‐2403
OSBORNE JR, TAYLOR                     128 W DOMINION BLVD                                                                            COLUMBUS           OH   43214‐2608
OSBORNE KELL, PATRICIA                 1690 FREEDOM CT                                                                                HENDERSON          NV   89014‐7526
OSBORNE KEVIN                          OSBORNE, KEVIN                    STATE FARM INSURANCE COMPANY PO BOX 122                      CONCORDVILLE       PA   19331

OSBORNE MATTHEW                        101 MEADOW LAKE DRIVE                                                                          YOUNGSVILLE        LA   70592‐5530
OSBORNE OLDSMOBILE‐GMC, INC.           1325 SPARTANBURG HWY                                                                           HENDERSONVILLE     NC   28792‐6441
OSBORNE OLDSMOBILE‐GMC, INC.           KIMBERLY OSBORNE                  1325 SPARTANBURG HWY                                         HENDERSONVILLE     NC   28792‐6441
OSBORNE PALMER                         516 PAGE ST                                                                                    FLINT              MI   48505‐4734
OSBORNE PATRICIA                       OSBORNE, PATRICIA                 117 WILMINGTON PIKE, SUITE 200                               GLEN MILLS         PA   19342

OSBORNE PAUL                           PO BOX 545                                                                                     HELENDALE          CA 92342
OSBORNE PAUL ISAAC (429567)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                         STREET, SUITE 600
OSBORNE PUGH                           2102 WALNUT ST                                                                                 SAGINAW            MI 48601‐2033
OSBORNE S W (429568) ‐ OSBORNE SW      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                         STREET, SUITE 600
OSBORNE STOTHART                       1196 RUXBURY CT                                                                                DOUGLASVILLE       GA   30134‐6429
OSBORNE TRANSFORMER CORP               21481 CARLO DR                                                                                 CLINTON TOWNSHIP   MI   48038‐1513
OSBORNE TRUCKING CO INC                325 OSBORNE DR                                                                                 FAIRFIELD          OH   45014‐2250
OSBORNE V PALMER                       516 PAGE ST                                                                                    FLINT              MI   48505‐4734
OSBORNE WALKER                         20184 VOTROBECK CT                                                                             DETROIT            MI   48219‐2619
OSBORNE WHITEMAN                       212 WILLOWBEND ROAD                                                                            ROCHESTER          NY   14618‐4049
OSBORNE WILLIAMS                       3693 TROUSDALE LANE                                                                            COLUMBIA           TN   38401‐8964
OSBORNE WILLIAMS JR                    PO BOX 964                                                                                     WOODBINE           GA   31569‐0964
OSBORNE, ABIGAIL N                     7773 LANG ST                                                                                   ROSCOMMON          MI   48653‐8140
OSBORNE, ALLISON LEIGH
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OSBORNE, AMY
OSBORNE, ANNA            4760 EAST 65TH STREET                                                                       INDIANAPOLIS     IN    46220‐4540
OSBORNE, ANNA J          1432 MELROSE AVE                                                                            DAYTON           OH    45409‐1626
OSBORNE, ANNA J          1307 MARSHA DR                                                                              MIAMISBURG       OH    45342
OSBORNE, ANTHONY W       4235 E 38TH ST                                                                              INDIANAPOLIS     IN    46218‐1581
OSBORNE, ANTONIO P       7954 GLEN OAKS DR NE                                                                        WARREN           OH    44484‐1574
OSBORNE, AREMINA         853 CATALINA AVE                                                                            PASADENIA        CA    91104‐2807
OSBORNE, AREMINA         1183 N GARFIELD AVE                                                                         PASADENA         CA    91104‐2807
OSBORNE, BARBARA G       3850 SCENIC RDG APT 414                                                                     TRAVERSE CITY    MI    49684‐9788
OSBORNE, BARBARA K       842 54TH ST                                                                                 OAKLAND          CA    94608‐3210
OSBORNE, BENNIE R        23 FRANKLIN AVE                                                                             MONTCLAIR        NJ    07042‐2407
OSBORNE, BEULAH C        217 COCHRAN ST                                                                              COCHRANVILLE     PA    19330
OSBORNE, BEVERLY         5245 WILLIAMS                                                                               WAYNE            MI    48184‐2066
OSBORNE, BEVERLY         5245 WILLIAMS ST                                                                            WAYNE            MI    48184‐2066
OSBORNE, BILLIE L        9850 S PALMER RD                                                                            NEW CARLISLE     OH    45344‐2024
OSBORNE, BILLIE L        9850 SOUTH PALMER ROAD                                                                      NEW CARLISLE     OH    45344‐2024
OSBORNE, BILLY F         1280 THREE SPRINGS RD                                                                       RUSSELLVILLE     TN    37860‐8713
OSBORNE, BILLY J         1528 BAY ST                                                                                 SAGINAW          MI    48602‐3905
OSBORNE, BONNIE L        416 XENIA AVE APT K                                                                         DAYTON           OH    45410‐1542
OSBORNE, BRENDA          HODGES DAVID A                    124 W CAPITOL AVE STE 1550                                LITTLE ROCK      AR    72201‐3757
OSBORNE, BRENDA          SCHMIDT & ASSOCIATES PAUL A       PO BOX 564                                                CABOT            AR    72023‐0564
OSBORNE, C O             413 GOAT HILL RD                                                                            PEACH BOTTOM     PA    17563‐9698
OSBORNE, CARA L          502 5TH AVE NW                                                                              ATTALLA          AL    35954‐1805
OSBORNE, CARINGTON E     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA    23510‐2212
                                                           STREET, SUITE 600
OSBORNE, CAROLYN H       448 S COLONIAL                                                                              CORTLAND         OH    44410‐1306
OSBORNE, CAROLYN L       3531 PETERS CREEK RD NW APT 301                                                             ROANOKE          VA    24019‐2818
OSBORNE, CAROLYN M       871 EAST M72                                                                                GRAYLING         MI    49738‐6984
OSBORNE, CATHERINE M     18890 HIGHWAY 59 TRLR 11                                                                    COUNTRY CLUB     MO    64505‐8538
OSBORNE, CHARLES E       15840 W FALCON RIDGE DR                                                                     SUN CITY WEST    AZ    85375‐6686
OSBORNE, CHARLES R       280 WOLFE BRANCH RD                                                                         BULLS GAP        TN    37711‐3924
OSBORNE, CHARLES W       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA    23510‐2212
                                                           STREET, SUITE 600
OSBORNE, CHARLOTTE Z     633 LEWISHAM AVE                                                                            KETTERING        OH    45429‐5944
OSBORNE, CHRISTOPHER R   16541 HOWARD CITY EDMORE RD                                                                 HOWARD CITY      MI    49329
OSBORNE, CLARENCE H      409 GABRIEL ST                                                                              VANDALIA         OH    45377‐1834
OSBORNE, CLARENCE H      409 GABRIEL                                                                                 VANDALIA         OH    45377‐1834
OSBORNE, CLAUDE E        801 GEORGIA DRIVE                                                                           DAYTON           OH    45404‐2335
OSBORNE, CLAUDE J        21 W LAKE BLVD                                                                              DANVILLE         IL    61832‐1112
OSBORNE, CLAYTON R       2932 WOODSTOCK CIR                                                                          PORT HURON       MI    48060‐2678
OSBORNE, CURTIS L        PO BOX 236                                                                                  IONIA            MI    48846‐0236
OSBORNE, DAISY           1103 BLACKBERRY CRK 1                                                                       BURTON           MI    48519
OSBORNE, DANIEL J        2616 LONG WINTER LN                                                                         OAKLAND          MI    48363‐2154
OSBORNE, DARYLE E        9 MARY LN                                                                                   MINERAL RIDGE    OH    44440‐9414
OSBORNE, DAVID A         1210 NAST CHAPEL RD                                                                         MARTINSVILLE     IN    46151‐7800
OSBORNE, DAVID D         78 SCOTT RD                                                                                 NEW PROVIDENCE   PA    17560‐9710
OSBORNE, DAVID DALLAS    78 SCOTT RD                                                                                 NEW PROVIDENCE   PA    17550‐9710
OSBORNE, DAVID R         917 ROYAL BONNET DR                                                                         WILMINGTON       NC    28405‐8388
OSBORNE, DEBORAH A       18520 MANSEL AVENUE                                                                         REDONDO BEACH    CA    90278‐4643
OSBORNE, DEBORAH D       PO BOX 2438                                                                                 FLORISSANT       MO    63032‐2438
OSBORNE, DELL            320 3RD ST APT 245                                                                          SPARKS           NV    89431‐5119
OSBORNE, DELLA           6595 HALL RD                                                                                GALLOWAY         OH    43119‐9399
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OSBORNE, DENNIE G          7727 TIMBERCREST DR.                                                                            DAYTON              OH 45424‐5424
OSBORNE, DENNIS W          3380 BIG RUN RD                                                                                 LUCASVILLE          OH 45648
OSBORNE, DENNIS W          13715 S DEER CREEK AVE                                                                          KOKOMO              IN 46901‐9430
OSBORNE, DONA B            3645 RANSOMVILLE RD                                                                             RANSOMVILLE         NY 14131
OSBORNE, DONALD G          3936 AQUARINA ST                                                                                WATERFORD           MI 48329‐2114
OSBORNE, DONALD J          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510‐2212
                                                            STREET, SUITE 600
OSBORNE, DONALD J          1115 WALCREST DRIVE R 13                                                                        MANSFIELD          OH   44903
OSBORNE, DONALD R          11434 APALACHIAN WAY                                                                            FISHERS            IN   46037‐8456
OSBORNE, DONIRA            1117 HIGH ST                                                                                    MIDDLETOWN         IN   47356‐1718
OSBORNE, DORA S            1520 BUCKINGHAM AVE                                                                             LINCOLN PARK       MI   48146‐3502
OSBORNE, DORIS F           6 BANBURY AVE                                                                                   MANCHESTER         NJ   08759‐6702
OSBORNE, DORLAND C         631 E ATHERTON RD                                                                               FLINT              MI   48507‐2796
OSBORNE, DOROTHY I         5359 GRESHAM HWY                                                                                POTTERVILLE        MI   48876‐9704
OSBORNE, DOYLE E           1863 S 400 W                                                                                    RUSSIAVILLE        IN   46979‐9444
OSBORNE, DRINDA M          9157 GROVE DR                                                                                   WHITMORE LAKE      MI   48189
OSBORNE, DRINDA MAE        9157 GROVE DR                                                                                   WHITMORE LAKE      MI   48189
OSBORNE, EARL T            4171 LONDON DOCK RD                                                                             LONDON             KY   40744‐9731
OSBORNE, EARNEST C         3426 BROOKGATE DR                                                                               FLINT              MI   48507‐3213
OSBORNE, EDWIN D           6235 BRAYTON RD                                                                                 MUIR               MI   48860‐9723
OSBORNE, ELEANOR           5352 HORSHAM AVENUE                                                                             WESTMINSTER        CA   92683‐4159
OSBORNE, ELEANOR FRANCES   HARRISON TIBOR & CASTILLO        555 WEST FIFTH STREET 30TH FLOOR                               LOS ANGELES        CA   90013

OSBORNE, ELMER E           18 W HARRY AVE                                                                                  HAZEL PARK         MI   48030‐2038
OSBORNE, EUGENE C          PO BOX 144                                                                                      TRADE              TN   37691‐0144
OSBORNE, EUGENE T          312 N CHESTNUT ST                                                                               BARNESVILLE        OH   43713‐1250
OSBORNE, EUNICE            2687 WILSHIRE ST                                                                                WESTLAND           MI   48186‐5479
OSBORNE, EVA H             15335 POPLAR ST                                                                                 SOUTHGATE          MI   48195‐3807
OSBORNE, EVETTA A          19193 SPENCER ST                                                                                DETROIT            MI   48234‐3127
OSBORNE, EWELL             COON BRENT W                     PO BOX 4905                                                    BEAUMONT           TX   77704‐4905
OSBORNE, EWELL E           661 AIRPORT RD                                                                                  LEITCHFIELD        KY   42754‐5800
OSBORNE, FLORENCE R        11 EAST SPUR ROAD                                                                               MOULTONBORO        NH   03254‐4605
OSBORNE, FOREST            202 E WAITS RD                                                                                  KENDALLVILLE       IN   46755‐3629
OSBORNE, FRANCES           1929 ROBERT HALL BLVD APT 2008                                                                  CHESAPEAKE         VA   23324‐4329
OSBORNE, FRANKLIN D        6910 SCHOLL RD                                                                                  FRANKLIN           OH   45005‐4553
OSBORNE, FRANKLIN D        1111 HOLLINGSWORTH RD                                                                           JOPPA              MD   21085‐1205
OSBORNE, GARY G            115 FAIRWAY DR                                                                                  ELK CITY           OK   73644‐9791
OSBORNE, GARY L            10803 JESSUP RD                                                                                 MUIR               MI   48860‐8701
OSBORNE, GARY W            6114 HAUSER DR                                                                                  SHAWNEE            KS   66216‐1710
OSBORNE, GARY W.           6114 HAUSER DR                                                                                  SHAWNEE            KS   66216‐1710
OSBORNE, GENNY C           175 CALIFORNIA DR                                                                               XENIA              OH   45385‐5385
OSBORNE, GEORGE H          2412 CROWN CT                                                                                   CHESAPEAKE         VA   23325‐4410
OSBORNE, GEORGIA           BOX 334                                                                                         DUNGANNON          VA   24245‐0334
OSBORNE, GERALDINE         2310 AMERICAN DR                                                                                MARION             IN   46952‐9402
OSBORNE, GERALDINE B       345 IRONS PARK DRIVE                                                                            WEST BRANCH        MI   48661‐9461
OSBORNE, GLENITH R         26290 VAN HORN RD                                                                               FLAT ROCK          MI   48134‐9545
OSBORNE, GRANT T           338 N BRINKER AVE                                                                               COLUMBUS           OH   43204‐2036
OSBORNE, GURNEY R          946 AUSTIN ST SW                                                                                DECATUR            AL   35601‐5725
OSBORNE, HALLIE M          2098 WILKIE RD                                                                                  ALPHARETTA         GA   30004‐2566
OSBORNE, HALLIE M          2098 WILKE RD.                                                                                  ALPHARETTA         GA   30004‐2566
OSBORNE, HAROLD A          25 LAMAR AVE                                                                                    EDISON             NJ   08820‐2046
OSBORNE, HAROLD D          403 D ST                                                                                        NORTH WILKESBORO   NC   28659‐4347
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Name                    Address1                          Address2                      Address3   Address4         City            State Zip
OSBORNE, HARRY E        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                          STREET, SUITE 600
OSBORNE, HERSHEL        2104 WILKIE RD                                                                              ALPHARETTA      GA   30004‐2530
OSBORNE, HOWARD E       802 S 3RD ST                                                                                CLARKSVILLE     MO   63336‐3032
OSBORNE, HOWARD P       38025 GRANTLAND ST                                                                          LIVONIA         MI   48150
OSBORNE, IRMA J         2504 LANDEAU CIR                                                                            TUCKER          GA   30084‐3228
OSBORNE, IRMA J         2869 PITTMAN CIRCLE                                                                         NORCROSS        GA   30071‐2727
OSBORNE, J G            2645 ELIZAVILLE RD                                                                          LEBANON         IN   46052‐1282
OSBORNE, J H            193 W ROUTZONG DR                                                                           FAIRBORN        OH   45324‐3335
OSBORNE, JACK D         2364 CADWALLADER‐SONK RD                                                                    CORTLAND        OH   44410
OSBORNE, JACQUELYN B    1885 IRENE AVE NE 904                                                                       WARREN          OH   44483
OSBORNE, JAMES          2525 HAMILTON PARC LN                                                                       BUFORD          GA   30519‐6205
OSBORNE, JAMES A        1794 BASIL AVE                                                                              YOUNGSTOWN      OH   44514‐1312
OSBORNE, JAMES E        1929 WHITTLESEY ST                                                                          FLINT           MI   48503‐4346
OSBORNE, JAMES E        POX BOX 214                                                                                 MILFORD         MI   48381
OSBORNE, JAMES E        6520 RAVENSWOOD RD                                                                          KIMBALL         MI   48074‐2900
OSBORNE, JAMES E        PO BOX 214                                                                                  MILFORD         MI   48381‐0214
OSBORNE, JAMES E        26413 MANSFIELD RD                                                                          DEFIANCE        OH   43512‐8910
OSBORNE, JAMES L        55 HEMPLE RD                                                                                FARMERSVILLE    OH   45325‐1205
OSBORNE, JAMES M        2197 IRONWOOD RIDGE CT                                                                      DACULA          GA   30019‐2900
OSBORNE, JAMES M        26625 MANSFIELD RD                                                                          DEFIANCE        OH   43512‐8911
OSBORNE, JAMES R        120 W TAMI CIRCLE APT#A302                                                                  WESTLAND        MI   48186
OSBORNE, JANE           36 JOHN BRIAN LANE                                                                          BUFFALO         NY   14227‐3616
OSBORNE, JANE E         825 DEN HERTOG ST SW                                                                        WYOMING         MI   49509‐2817
OSBORNE, JANE H         5862 RAVINE CREEK DRIVE                                                                     GROVE CITY      OH   43123‐8597
OSBORNE, JANICE K       313 MOUNTAIN CREST DR                                                                       LA FOLLETTE     TN   37766
OSBORNE, JASON R        400 S FAIRGROUND CT                                                                         LIBERTY         IN   47353‐1457
OSBORNE, JERRY L        23527 RED ARROW HWY                                                                         MATTAWAN        MI   49071‐9701
OSBORNE, JESSE C        130 BULLDOG HOLW                                                                            ELIZABETHTON    TN   37643‐6952
OSBORNE, JESSICA        109 FIRE TOWER RD                                                                           BALD KNOB       AR   72010‐9735
OSBORNE, JIMMIE L       2319 BANANA ST                                                                              ST JAMES CITY   FL   33956‐2072
OSBORNE, JIMMY J        3214 S BELSAY RD                                                                            BURTON          MI   48519‐1622
OSBORNE, JOAN C         64 CLAY FURNACE RD                                                                          SHARON          PA   16148‐5002
OSBORNE, JOAN T         11429 TRAILS NORTH DR                                                                       FORT WAYNE      IN   46845‐1314
OSBORNE, JOANNE         2461 135TH AVE                                                                              HERSHEY         MI   49639‐8748
OSBORNE, JOE L          9984 BRAILE ST                                                                              DETROIT         MI   48228‐1212
OSBORNE, JOHN           ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                          PHILADELPHIA    PA   19103‐6612
                        P.C.
OSBORNE, JOHN C         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                          STREET, SUITE 600
OSBORNE, JOHNNY B       30 MONTCEAU DR                                                                              NEWARK          DE 19702‐5531
OSBORNE, JONATHAN
OSBORNE, JOSEPH F       4368 GLENMORE CREEK DRIVE                                                                   WINSTON SALEM   NC 27107‐3802
OSBORNE, JOSEPH L       160 EASTWOOD CT SE                                                                          CORYDON         IN 47112‐1716
OSBORNE, JOSEPHINE      300 S REED RD                                                                               CORUNNA         MI 48817‐9529
OSBORNE, JOSHUA
OSBORNE, JOY A          999 PEPPERMILL RUN,                                                                         GREENWOOD       IN   46143
OSBORNE, JUSTIN K       1674 19TH ST                                                                                WYANDOTTE       MI   48192‐3510
OSBORNE, JUSTIN KEITH   1674 19TH ST                                                                                WYANDOTTE       MI   48192‐3510
OSBORNE, KAREN K        4092 ALEESA DR SE                                                                           WARREN          OH   44484‐2914
OSBORNE, KAREN K        4092 ALEESA DRIVE SE                                                                        WARREN          OH   44484‐2914
OSBORNE, KAREN L        1715 CHRISTOPHER LN                                                                         SPEEDWAY        IN   46224‐5512
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Name                      Address1                         Address2                           Address3                      Address4         City               State Zip
OSBORNE, KAREN P          5299 TWIN CT                                                                                                       GRAND BLANC         MI 48439‐5141
OSBORNE, KAREN S          PO BOX 592                                                                                                         FELDA               FL 33930‐0592
OSBORNE, KAREN S          4380 27TH CT SW APT 309                                                                                            NAPLES              FL 34116
OSBORNE, KATHRYN E        1249 E KITCHEL RD                                                                                                  LIBERTY             IN 47353‐8801
OSBORNE, KENNETH          213 ALBERS AVE                                                                                                     DAYTON              OH 45427‐1702
OSBORNE, KEVIN            STATE FARM INSURANCE COMPANY     PO BOX 122                                                                        CONCORDVILLE        PA 19331‐0122
OSBORNE, KIM K            1064 JUNEAU RD                                                                                                     YPSILANTI           MI 48198‐6369
OSBORNE, KIM KEITH        1064 JUNEAU RD                                                                                                     YPSILANTI           MI 48198‐6369
OSBORNE, KIMBERLEE L      4106 KIMBERLY WOODS DR                                                                                             FLINT               MI 48504‐1124
OSBORNE, KIMBERLY         ELLEM LAW OFFICE                 PO BOX 322                         914 MARKET STREET SUITE 207                    PARKERSBURG         WV 26102‐0322

OSBORNE, L. C             9005 MASON ST                                                                                                      TAYLOR             MI   48180
OSBORNE, LARRY G          6237 OVERTURE DR                                                                                                   DAYTON             OH   45449‐3340
OSBORNE, LARRY R          100 COUNTY ROAD 1100                                                                                               WEST SALEM         OH   44287‐9607
OSBORNE, LARRY T          150 CONCORD RD                                                                                                     VERONA             KY   41092‐9012
OSBORNE, LARRY TODD       150 CONCORD RD                                                                                                     VERONA             KY   41092‐9012
OSBORNE, LAURA O          18721 WIMBLEDON CIR                                                                                                LUTZ               FL   33558‐5318
OSBORNE, LAWRENCE F       1772 CLAYTON RD                                                                                                    BROOKVILLE         OH   45309‐9389
OSBORNE, LEROY E          1521 EDGEWOOD DR                                                                                                   ANDERSON           IN   46011‐3023
OSBORNE, LESLIE A         2319 BANANA ST                                                                                                     SAINT JAMES CITY   FL   33956‐2072
OSBORNE, LESTER           31 BANK ST                                                                                                         RED BANK           NJ   07701‐1304
OSBORNE, LIDIA D          2291 FARMER ST APT 116                                                                                             SAGINAW            MI   48601‐4665
OSBORNE, LIDIA D          2291 FARMER ST                   APT 116                                                                           SAGINAW            MI   48601
OSBORNE, LINDA B          2518 N SHERMAN BLVD                                                                                                MILWAUKEE          WI   53210‐2948
OSBORNE, LINDA D          2317 FRANCIS AVE                                                                                                   FLINT              MI   48505‐4916
OSBORNE, LINDA DENISE     2317 FRANCIS AVE                                                                                                   FLINT              MI   48505‐4916
OSBORNE, LINDA K          PO BOX 36                                                                                                          AFTON              WI   53501‐0036
OSBORNE, LINDA L          218 S MAIN ST                                                                                                      MOUNT GILEAD       OH   43338‐1412
OSBORNE, LOLA             PO BOX 873                                                                                                         SCOTTSBURG         IN   47170
OSBORNE, LORENE B         PO BOX 44294                                                                                                       LAS VEGAS          NV   89116
OSBORNE, LORENE B         867 N LAMB BLVD SPC 109                                                                                            LAS VEGAS          NV   89110‐2326
OSBORNE, LOUIS N          567 PURDUE AVE                                                                                                     YOUNGSTOWN         OH   44515‐4124
OSBORNE, LOVEDA S         6701 OAKFIELD DRIVE                                                                                                DAYTON             OH   45415‐5415
OSBORNE, LUANN            2625 SODOM HUTCHINGS RD                                                                                            FOWLER             OH   44418‐9729
OSBORNE, LUCILLE A        1839 S MARION AVE                                                                                                  JANESVILLE         WI   53546‐5935
OSBORNE, LUCILLE A        1839 S MARION ST                                                                                                   JANESVILLE         WI   53546‐5935
OSBORNE, MARCIA L         160 EASTWOOD COURT SOUTHEAST                                                                                       CORYDON            IN   47112‐1716
OSBORNE, MARGARET A       129 E ALCOTT RD                                                                                                    COLUMBUS           OH   43207‐3008
OSBORNE, MARGARET A       129 E ALCOTT ROAD                                                                                                  COLUMBUS           OH   43207‐3008
OSBORNE, MARGARET R       663 CLARA AVE                                                                                                      PONTIAC            MI   48340‐2035
OSBORNE, MARK A           9079 SEAVER CT                                                                                                     GRAND BLANC        MI   48439‐8098
OSBORNE, MARTIN PATRICK   GIRARDI AND KEESE                1126 WILSHIRE BLVD.                                                               LOS ANGELES        CA   90017
OSBORNE, MARTIN PATRICK   HARRISON TIBOR & CASTILLO        555 WEST FIFTH STREET 30TH FLOOR                                                  LOS ANGELES        CA   90013

OSBORNE, MARY             1521 EDGEWOOD DR                                                                                                   ANDERSON           IN   46011‐3023
OSBORNE, MARY L           6863 OAK HILL DR.                                                                                                  W. FARMINGTON      OH   44491‐9755
OSBORNE, MARY LEE         2624B CLOVER LN                                                                                                    BEDFORD            IN   47421
OSBORNE, MARY P           2136 BONNIEDALE DR.                                                                                                BELLBROOK          OH   45305‐1515
OSBORNE, MARY R           2432 TENNESSEE DR                                                                                                  XENIA              OH   45385‐4765
OSBORNE, MATTHEW          2801 SCHLEY AVE APT 2B                                                                                             BRONX              NY   10465‐2700
OSBORNE, MAZZIE K         4220 VANNEST AVE                                                                                                   MIDDLETOWN         OH   45042‐2750
OSBORNE, MAZZIE K         455 GILPIN DR APT 2                                                                                                SPRINGBORO         OH   45066‐1451
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Name                     Address1                         Address2                      Address3                      Address4         City              State Zip
OSBORNE, MICHAEL A       2714 REFLECTION WAY                                                                                           GREENWOOD          IN 46143‐7838
OSBORNE, MICHAEL ALLEN   2714 REFLECTION WAY                                                                                           GREENWOOD          IN 46143‐7838
OSBORNE, MICHAEL L       264 HORMELL RD                                                                                                WILMINGTON         OH 45177‐8368
OSBORNE, MONIQUE D       19193 SPENCER ST                                                                                              DETROIT            MI 48234‐3127
OSBORNE, MONROE          8740 WASHINGTON COLONY DRIVE                                                                                  CENTERVILLE        OH 45458‐3313
OSBORNE, NANCY B         6875 LANCASTER LAKE CT APT 129                                                                                CLARKSTON          MI 48346‐4431
OSBORNE, NANCY C         6395 AMANDA LN LOT#167                                                                                        RAVENNA            OH 44266‐9649
OSBORNE, NATHAN W        299 HUMMINGBIRD LN                                                                                            DUNGANNON          VA 24245‐3560
OSBORNE, NELLIE F        6350 HOMESTEAD RD                                                                                             MORGANTOWN         IN 46160‐8895
OSBORNE, NONA E          661 AIRPORT RD                                                                                                LEITCHFIELD        KY 42754‐5800
OSBORNE, NORMA L         6910 SCHOLL RD                                                                                                FRANKLIN           OH 45005‐4553
OSBORNE, OLIVER K        6234 ARROWHEAD DR N                                                                                           SCOTTS             MI 49088‐8744
OSBORNE, OUIDA C         2020 W BOGART RD                                                                                              SANDUSKY           OH 44870‐5303
OSBORNE, PATRICIA J      129 1/2 N CRESTMOOR AVE                                                                                       LOUISVILLE         KY 40206‐2734
OSBORNE, PATRICIA L      5761 RUDY RD                                                                                                  TIPP CITY          OH 45371‐8400
OSBORNE, PATRICIA W      1927 CARDIGAN ST                                                                                              NILES              OH 44446‐3905
OSBORNE, PAUL ISAAC      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
OSBORNE, PAUL J          2276 HALES WAY APT 133                                                                                        WILLIAMSBURG      OH   45176‐5176
OSBORNE, PAUL J          APT 133                          2276 HALES WAY                                                               WILLIAMSBURG      OH   45176‐8710
OSBORNE, PAUL L          369 KENYON DR                                                                                                 HAMILTON          OH   45015‐1935
OSBORNE, PAUL R          814 WOODVILLE AVE                                                                                             MONROE            MI   48161‐1818
OSBORNE, PETER A         27037 ARLINGTON DR                                                                                            SOUTHFIELD        MI   48076‐3105
OSBORNE, PHILLIP L       5299 TWIN CT                                                                                                  GRAND BLANC       MI   48439‐5141
OSBORNE, RALPH R         10801 OLD DAYTON RD                                                                                           NEW LEBANON       OH   45345‐9688
OSBORNE, RANDALL E       12 S FAIRWAY DR                                                                                               ALEXANDRIA        IN   46001‐2812
OSBORNE, RAYMOND C       4010 BEE CREEK RD                                                                                             CORBIN            KY   40701‐8817
OSBORNE, RAYMOND P       121 RIDGE AVE                                                                                                 DAYTON            OH   45405‐3846
OSBORNE, RAYMOND S       PO BOX 1091                                                                                                   SEYMOUR           TN   37865‐1091
OSBORNE, REBECCA B       1671 MOOREFIELD AVE                                                                                           AUSTINTOWN        OH   44515‐4509
OSBORNE, REBECCA B       72 S ROANOKE AVE                                                                                              YOUNGSTOWN        OH   44515‐3545
OSBORNE, REGINA A        22 S EDITH ST                                                                                                 PONTIAC           MI   48342‐2937
OSBORNE, REGINALD E      1975 10TH ST                                                                                                  DANVILLE          IN   46122
OSBORNE, REUBEN          2659 BRIER ST SE                                                                                              WARREN            OH   44484‐5206
OSBORNE, RICHARD         13986 TIMBERVIEW DR                                                                                           SHELBY TOWNSHIP   MI   48315‐2064
OSBORNE, RICHARD W       1489 E DEXTER TRL                                                                                             DANSVILLE         MI   48819‐9776
OSBORNE, ROBERT          333 SHERIDAN RD                                                                                               WINNETKA          IL   60093
OSBORNE, ROBERT D        5130 N 300 W                                                                                                  UNIONDALE         IN   46791‐9733
OSBORNE, ROBERT D        462 TRINITY MARSH                                                                                             COLUMBUS          OH   43228‐8911
OSBORNE, ROBERT D        9000 W WILDERNESS WAY APT 108                                                                                 SHREVEPORT        LA   71106‐6841
OSBORNE, ROBERT DUPREE   9000 W WILDERNESS WAY APT 108                                                                                 SHREVEPORT        LA   71106‐6841
OSBORNE, ROBERT E        10301 BUFFALO SPRINGS CT                                                                                      FORT WORTH        TX   76140‐5737
OSBORNE, ROBERT E        1526 E SEA AVE                                                                                                INDEPENDENCE      MO   64050‐4708
OSBORNE, ROBERT E        5380 MISTY OAKS TRL                                                                                           SWARTZ CREEK      MI   48473‐1083
OSBORNE, ROBERT J        1679 HILLMAN DR                                                                                               TROY              MI   48083‐6902
OSBORNE, ROBERT L        111 FIETZ ORCHARD RD                                                                                          SOMERSET          KY   42501‐5815
OSBORNE, ROBERT S        333 SHERIDAN RD                                                                                               WINNETKA          IL   60093
OSBORNE, ROBERT S        329 W BROWN ST                                                                                                BIRMINGHAM        MI   48009‐1467
OSBORNE, RODERICK L      5212 HEATHERTON DR.                                                                                           DAYTON            OH   45426‐2346
OSBORNE, ROGER           3372 BOOKER RIDGE RD                                                                                          MT PLEASANT       TN   38474‐3005
OSBORNE, ROLAND          ELLEM LAW OFFICE                 PO BOX 322                    914 MARKET STREET SUITE 207                    PARKERSBURG       WV   26102‐0322
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Name                      Address1                         Address2                           Address3                   Address4         City            State Zip
OSBORNE, RONALD B         24360 ROSITA LN                                                                                                 NORTH OLMSTED    OH 44070‐1520
OSBORNE, RONALD E         5864 MAYBURN BARCLAY RD.         P.O BOX 6                                                                      FARMDALE         OH 44417
OSBORNE, RONALD GREGORY
OSBORNE, RONALD L         50802 23RD ST                                                                                                   MATTAWAN        MI   49071‐9326
OSBORNE, RONDEL H         429 HAWTHORNE AVE                                                                                               ANDERSON        IN   46011‐2115
OSBORNE, RONNEY E         1520 BUCKINGHAM AVE                                                                                             LINCOLN PARK    MI   48146‐3502
OSBORNE, RONNIE L         6982 SALON CIR                                                                                                  HUBER HEIGHTS   OH   45424‐1578
OSBORNE, RONNIE L         97 HOMER COCHRAN RD                                                                                             DALLAS          GA   30132‐2863
OSBORNE, RONNIE L         6982 SALON CIR.                                                                                                 HUBER HEIGHTS   OH   45424‐5424
OSBORNE, RONNIE S         26200 YEARSLEY RD                                                                                               RAYMOND         OH   43067‐9009
OSBORNE, ROSALIE          1209 COLEMAN ST                                                                                                 TALLAHASEE      FL   32310‐6009
OSBORNE, ROSE             640 S FORK CHURCH RD                                                                                            PINEY CREEK     NC   28663
OSBORNE, ROSINA A.        4610 WILLIAMS RD                                                                                                MARTINSVILLE    IN   46151‐8224
OSBORNE, ROY L            1844 E BEARDSLEE RD                                                                                             SHERIDAN        MI   48884‐9304
OSBORNE, ROY R            3802 S KESSLER FREDERICK RD                                                                                     WEST MILTON     OH   45383‐9795
OSBORNE, ROY R            3802 KESSLER‐FREDRICK RD.                                                                                       WEST MILTON     OH   45383‐5383
OSBORNE, RUBY             535 HIGH ST                                                                                                     HARROGATE       TN   37752‐7113
OSBORNE, RUBY E           12444 MARGARET DRIVE                                                                                            FENTON          MI   48430‐8856
OSBORNE, RUBY L           22 S EDITH ST                                                                                                   PONTIAC         MI   48342‐2937
OSBORNE, RUSS J           2164 W GARFIELD RD                                                                                              COLUMBIANA      OH   44408‐9786
OSBORNE, RUSS J.          2164 W GARFIELD RD                                                                                              COLUMBIANA      OH   44408‐9786
OSBORNE, RUSSELL          6386 BRANCHEAU RD                                                                                               NEWPORT         MI   48166‐9769
OSBORNE, SALLIE J         1749 E M 21 21                                                                                                  SAINT JOHNS     MI   48879
OSBORNE, SAMUEL           PO BOX 310574                                                                                                   FLINT           MI   48531‐0574
OSBORNE, SAMUEL           KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                                   CLEVELAND       OH   44114
                                                           BOND COURT BUILDING
OSBORNE, SANDRA D         372 HARLAND DR                                                                                                  COLUMBUS        OH   43207‐5340
OSBORNE, SANDRA J         5130 N 300 W                                                                                                    UNIONDALE       IN   46791‐9733
OSBORNE, SARA C           3802 KESSLER‐FREDRICK RD.                                                                                       WEST MILTON     OH   45383‐9796
OSBORNE, SARA C           3802 S KESSLER FREDERICK RD                                                                                     WEST MILTON     OH   45383‐9795
OSBORNE, SCOTT
OSBORNE, SEAN M           7614 ATHLONE DR                                                                                                 BRIGHTON        MI   48116‐8847
OSBORNE, SHARON           PO BOX 1233                                                                                                     MCCAYSVILLE     GA   30555‐1233
OSBORNE, SHARON A         9984 BRAILE ST                                                                                                  DETROIT         MI   48228‐1212
OSBORNE, SHARON P         6237 OVERTURE DR                                                                                                W CARROLLTON    OH   45449‐3340
OSBORNE, SHELLIE S        1839 SOUTH MARION AVENUE                                                                                        JANESVILLE      WI   53546‐5935
OSBORNE, SHERRI LYNN
OSBORNE, SHIRLEY F        24380 WOODLAND DR                                                                                               BROWNSTOWN      MI   48134‐9412
OSBORNE, SHIRLEY J        1394 PARISH RD                                                                                                  KAWKAWLIN       MI   48631
OSBORNE, SHIRLEY K        479 FOWLER ST.                                                                                                  CORTLAND        OH   44410‐1333
OSBORNE, SHIRLEY K        479 FOWLER ST                                                                                                   CORTLAND        OH   44410‐1333
OSBORNE, STANLEY G        1051 FORESTSTONE WAY SW                                                                                         MARIETTA        GA   30064‐3079
OSBORNE, STEPHEN L        18890 HIGHWAY 59 TRLR 11                                                                                        COUNTRY CLUB    MO   64505‐8538
OSBORNE, STEVEN EUGENE    HARRISON TIBOR & CASTILLO        555 WEST FIFTH STREET 30TH FLOOR                                               LOS ANGELES     CA   90013

OSBORNE, STEVEN M         19508 SIX POINTS RD                                                                                             SHERIDAN        IN   46069‐9150
OSBORNE, SUSAN K          8386 MOWATT RD                                                                                                  SILVERWOOD      MI   48760‐9521
OSBORNE, SUSIE M          PO BOX 18943                                                                                                    SHREVEPORT      LA   71138
OSBORNE, SW               GLASSER AND GLASSER              CROWN CENTER                       580 EAST MAIN STREET STE                    NORFOLK         VA   23510
                                                                                              600
OSBORNE, TASHA            2107 STONEY BROOK COURT                                                                                         FLINT           MI 48507‐6037
OSBORNE, THEODORE L       491 NILES VIENNA RD.                                                                                            VIENNA          OH 44473‐9500
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Name                                  Address1                           Address2                        Address3   Address4         City            State Zip
OSBORNE, THOMAS C                     136 MARCHESTER DR                                                                              KETTERING        OH 45429‐1702
OSBORNE, THOMAS C                     1249 E KITCHEL RD                                                                              LIBERTY          IN 47353‐8801
OSBORNE, THOMAS E                     14366 W FRENCH RD                                                                              PEWAMO           MI 48873‐9622
OSBORNE, THOMAS J                     126 ELM ST                                                                                     UPTON            MA 01568‐1125
OSBORNE, THOMAS P                     10 S PHILADELPHIA ST 3                                                                         DAYTON           OH 45403
OSBORNE, TIMOTHY                      3130 MILLER MCL                                                                                LANSING          MI 48910
OSBORNE, TIMOTHY L                    1315 S DUKANE WAY                                                                              INDIANAPOLIS     IN 46241‐3011
OSBORNE, TIMOTHY L                    PO BOX 109                                                                                     AFTON            WI 53501‐0109
OSBORNE, TODD M                       APT 13210                          2770 BARDIN ROAD                                            GRAND PRAIRIE    TX 75052‐7323
OSBORNE, TODD M                       2770 BARDIN RD APT 13210                                                                       GRAND PRAIRIE    TX 75052‐7323
OSBORNE, TOMMY                        39 CHESTNUT DR                                                                                 ELKTON           MD 21921‐4017
OSBORNE, TONY G                       7307 E STATE ROAD 42                                                                           CLOVERDALE       IN 46120‐8746
OSBORNE, TRACY A                      1341 LOHR RD                                                                                   GALION           OH 44833‐9557
OSBORNE, TURNER E                     22110 CUMBERLAND DR                                                                            NORTHVILLE       MI 48167
OSBORNE, VALENCIA E                   700 E COURT ST APT 237                                                                         FLINT            MI 48503‐6223
OSBORNE, VALENCIA E                   700 E CT ST                        APT 237                                                     FLINT            MI 48503
OSBORNE, VINCENT                      5125 ELDRED ST                                                                                 FLINT            MI 48504‐1237
OSBORNE, VIOLET A                     1601 N JAY ST                                                                                  KOKOMO           IN 46901‐2443
OSBORNE, VIRGINIA                     3830 BENFIELD DRIVE                                                                            DAYTON           OH 45429‐4565
OSBORNE, VIVIAN K                     121 RIDGE AVENUE                                                                               DAYTON           OH 45405‐3846
OSBORNE, VIVIAN K                     121 RIDGE AVE                                                                                  DAYTON           OH 45405‐3846
OSBORNE, WALLACE D                    1027 CATHEDRAL ST APT 7L                                                                       BALTIMORE        MD 21201‐5455
OSBORNE, WALTER R                     4687 STATE ROUTE 133                                                                           BATAVIA          OH 45103‐9466
OSBORNE, WILHELMINA E                 2317 FRANCIS AVE                                                                               FLINT            MI 48505‐4916
OSBORNE, WILHELMINA EYVONNE           2317 FRANCIS AVE                                                                               FLINT            MI 48505‐4916
OSBORNE, WILLA F                      7140 CAMELOT CT                                                                                INDIANAPOLIS     IN 46214‐3650
OSBORNE, WILLIAM                      9932 W 3RD ST                                                                                  DAYTON           OH 45427‐1133
OSBORNE, WILLIAM E                    999 PEPPERMILL RUN                                                                             GREENWOOD        IN 46143‐9053
OSBORNE, WILLIAM J                    14 HILLTOP DR                                                                                  DANVILLE         IN 46122
OSBORNE,JAMES L                       55 HEMPLE RD                                                                                   FARMERSVILLE     OH 45325‐1205
OSBORNE,SHARON P                      6237 OVERTURE DR                                                                               W CARROLLTON     OH 45449‐3340
OSBORNE‐MCCANN CADILLAC, INC          6416 18TH STREET EAST                                                                          FIFE             WA 98424
OSBOURN, DAVID A                      813 S VAN BUREN ST                                                                             BAY CITY         MI 48708‐7316
OSBOURN, MILTON E                     4577 CADE RD                                                                                   IMLAY CITY       MI 48444‐9471
OSBOURNE HOLT                         105 CHESTNUT DR                                                                                EASLEY           SC 29642‐3004
OSBUN, RUSSELL W                      7828 OAKMONT CT NE                                                                             ROCKFORD         MI 49341‐9583
OSBUN, STEVEN W                       207 ROLLINGWOOD DR                                                                             ROCKFORD         MI 49341‐1194
OSBURG, FRED                          226 RIDGEPOINTE DR                                                                             COLD SPRING      KY 41076‐8540
OSBURN BUICK PONTIAC GMC TRUCK, INC   501 LIBERTY BLVD                                                                               DU BOIS          PA 15801‐2409

OSBURN BUICK PONTIAC GMC TRUCK, INC. 501 LIBERTY BLVD                                                                                DU BOIS         PA 15801‐2409

OSBURN BUICK PONTIAC GMC TRUCK, INC. JAMES OSBURN                        501 LIBERTY BLVD                                            DU BOIS         PA 15801‐2409

OSBURN CLARENCE (446769)              BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                         PROFESSIONAL BLDG
OSBURN GREGORY (446771)               BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                         PROFESSIONAL BLDG
OSBURN HOWARD (446773)                BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                         PROFESSIONAL BLDG
OSBURN MURPHY                         9580 SMITH RD                                                                                  GOSPORT         IN 47433‐7974
OSBURN, ALEXANDER M                   4842 BRADEN RD                                                                                 BYRON           MI 48418‐8809
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Name                      Address1                        Address2                       Address3   Address4         City                 State Zip
OSBURN, ALICE M           869 EDGEMONT PARK                                                                          GROSSE POINTE PARK    MI 48230‐1854
OSBURN, ALICE MCCANN      869 EDGEMONT PARK                                                                          GROSSE POINTE PARK    MI 48230‐1854
OSBURN, BOBBY             9206 APPOLINE ST                                                                           DETROIT               MI 48228‐2626
OSBURN, BRUCE J           APT 305                         4645 ALDUN RIDGE AVE                                       COMSTOCK PARK         MI 49321‐9030
                                                          NORTHWEST
OSBURN, BRUCE J           4645 ALDUN RIDGE AVE NW         APT 305                                                    COMSTOCK PARK        MI   49321‐9030
OSBURN, CHAD R            1308 CYNTHIA AVE                                                                           MADISON HTS          MI   48071‐2695
OSBURN, CHARLES D         273 SQUIRREL RD                                                                            DEFUNIAK SPRINGS     FL   32433‐7684
OSBURN, CHRISTOPHE A      2015 W MAPLEWOOD DR                                                                        MARION               IN   46952‐1539
OSBURN, CHRISTOPHE ALAN   2015 W MAPLEWOOD DR                                                                        MARION               IN   46952‐1539
OSBURN, CLARENCE          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD           OH   44067
                                                          PROFESSIONAL BLDG
OSBURN, DAVE A            10457 GORDON AVE                                                                           GRANT                MI   49327‐9076
OSBURN, DONALD E          2363 ALVARADO DR                                                                           KETTERING            OH   45420‐1007
OSBURN, FRANCIE L         3606 ARBOR DR                                                                              FENTON               MI   48430
OSBURN, GALEN             4711 RIDGEWAY PL                                                                           NORMAN               OK   73072‐1720
OSBURN, GARRY D           158 CAROLINA RIDGE                                                                         PITTSBORO            NC   27312‐7896
OSBURN, GORDON E          5395 PURCELL RD                                                                            HEMLOCK              NY   14466‐9609
OSBURN, GREGORY           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD           OH   44067
                                                          PROFESSIONAL BLDG
OSBURN, GREGORY R         908 MCDIARMID LN                                                                           GRAND LEDGE          MI 48837‐2060
OSBURN, HAROLD N          12449 CATALPA AVE                                                                          GRANT                MI 49327‐9320
OSBURN, HOWARD            BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD           OH 44067
                                                          PROFESSIONAL BLDG
OSBURN, JERRY L           2218 INDIAN AVE S                                                                          BELLEAIR BLUFFS      FL   33770‐2076
OSBURN, JOHN E            10702 NORTHWEST 58TH STREET                                                                KANSAS CITY          MO   64152‐3312
OSBURN, JOSEPH R          PO BOX 474                                                                                 SWEETSER             IN   46987‐0474
OSBURN, JOSEPH ROY        PO BOX 474                                                                                 SWEETSER             IN   46987‐0474
OSBURN, JOYCE             4505 NE 73RD ST                                                                            KANSAS CITY          MO   64119‐1576
OSBURN, LARRY             PO BOX 353                                                                                 BIXBY                OK   74008‐0353
OSBURN, MAXINE P          2416 E 6TH ST                                                                              ANDERSON             IN   46012
OSBURN, MICHAEL F         14 COLONIAL DRIVE                                                                          MARION               IN   46953
OSBURN, PAUL J            33233 GREEN WING LN                                                                        BROWNSTOWN           MI   48173‐8641
OSBURN, PAUL JEFFREY      33233 GREEN WING LN                                                                        BROWNSTOWN           MI   48173‐8641
OSBURN, THOMAS W          7692 N COUNTY ROAD 800 W 800W                                                              MIDDLETOWN           IN   47356
OSBURN, TIMOTHY L         PO BOX 42                                                                                  FRANKTON             IN   46044‐0042
OSBURN, TIMOTHY LEE       PO BOX 42                                                                                  FRANKTON             IN   46044‐0042
OSBURN, VIRGINIA          2960 PRENTICE DR                                                                           KETTERING            OH   45420‐3417
OSBURN, WALTER E          4343 SAWYER AVE                                                                            INDIANAPOLIS         IN   46226‐3535
OSBURN, WALTER EARL       4343 SAWYER AVE                                                                            INDIANAPOLIS         IN   46226‐3535
OSBURNE, ANDREA           124 RICHTON ST                                                                             HIGHLAND PARK        MI   48203‐3505
OSBURNE, ANDREA           332 ROSEDALE CT 1                                                                          DETROIT              MI   48202
OSBURNE, JOSEPH A         838 LANDSDOWN N.W.                                                                         WARREN               OH   44485‐2226
OSBURNE, JOSEPH A         838 LANDSDOWNE AVE NW                                                                      WARREN               OH   44485‐2226
OSBURNE, LAWRENCE D       12835 LA SALLE BLVD APT 27                                                                 DETROIT              MI   48238
OSBY THOMAS JR            1479 E LARNED ST APT 201                                                                   DETROIT              MI   48207‐3062
OSBY, ARTIS L             1054 DEN HERTOG ST SW                                                                      WYOMING              MI   49509‐2822
OSBY, RICKY LYNN          5245 E BERRY ST                                                                            FORT WORTH           TX   76119‐7723
OSBY, ROBERT L            3060 HARDALE BLVD APT 4                                                                    OTTAWA HILLS         OH   43606‐2264
OSBY, SABRINA R           12873 WINSTON                                                                              REDFORD              MI   48239‐2613
OSCAR A BILLINGSLEY       5128 DERBY ROAD                                                                            DAYTON               OH   45418‐2229
OSCAR A CUJAR             2572 TIMBERWICK                                                                            TROY                 MI   48098
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Name                    Address1                      Address2                      Address3   Address4         City             State Zip
OSCAR A RUIZ            13353 LOWELL RD                                                                         DEWITT            MI 48820‐9215
OSCAR A. SCHIERLINGER   C/O FOSTER & SEAR, LLP        817 GREENVIEW DR.                                         GRAND PRAIRIE     TX 75050
OSCAR ACENCIO           1655 NIDIA WAY                                                                          OXNARD            CA 93030‐5082
OSCAR ALBRIGHT          89 PARKEDGE AVE                                                                         TONAWANDA         NY 14150‐7729
OSCAR ALLEN             1335 FETZNER ROAD                                                                       ROCHESTER         NY 14626‐1856
OSCAR ANDERSON          1461 BUTTERFIELD CIR                                                                    NILES             OH 44446‐3577
OSCAR AUGURSON          209 MARX ST                                                                             MONROE            LA 71202‐3419
OSCAR B MOORE           10 EAST 138 STREET # 11 G                                                               NEW YORK          NY 10037
OSCAR B UNDERWOOD       893 ESTHER AVE. NORTH WEST                                                              WARREN            OH 44483
OSCAR BACCUS JR         6800 CARAWAY CT                                                                         HUBER HEIGHTS     OH 45424‐7007
OSCAR BADILLO           636 HARRISON AVE                                                                        DEFIANCE          OH 43512‐2022
OSCAR BAKER             2199 STEWART RD                                                                         XENIA             OH 45385‐9323
OSCAR BAKER             225 ROUNDTOP RD                                                                         LANSING           MI 48917‐9679
OSCAR BAKER             PO BOX 893                                                                              BUFFALO           NY 14215‐0893
OSCAR BALAN             49 BRISTOL LN                                                                           NEWARK            DE 19711‐2998
OSCAR BARNES JR         2710 S WALNUT ST                                                                        MUNCIE            IN 47302‐5064
OSCAR BARNETT           849 E 7TH ST                                                                            FLINT             MI 48503‐2740
OSCAR BARRICKMAN        PO BOX 12                                                                               IBERIA            MO 65486‐0012
OSCAR BARTOLO           2684 N KY 11                                                                            HEIDRICK          KY 40949‐5953
OSCAR BASS              29 CHESTNUT HILL LANE                                                                   REISTERSTOWN      MD 21136
OSCAR BAZLLE            C/O THE MADEKSHO LAW FIRM     8866 GULF FREEWAY SUITE 440                               HOUSTON           TX 77017
OSCAR BILLINGSLEY       5128 DERBY RD                                                                           DAYTON            OH 45418‐2229
OSCAR BLACKMON          2611 BEECHWOOD AVE                                                                      SAGINAW           MI 48601‐7402
OSCAR BLANKENSHIP       4139 GUM BRANCH RD                                                                      JACKSONVILLE      NC 28540‐9182
OSCAR BLUE              2702 BURT ST                                                                            SAGINAW           MI 48601‐1564
OSCAR BOLIN             1268 HEATHERWOOD LN                                                                     PONTIAC           MI 48341‐3173
OSCAR BOWLING           PO BOX 433                                                                              VICCO             KY 41773‐0433
OSCAR BRADLEY JR        849 COOPER RD                                                                           WEST UNION        OH 45693‐9741
OSCAR BRITT             521 E JAMIESON ST                                                                       FLINT             MI 48505‐4279
OSCAR BRODUS JR         41 BARBARA LN                                                                           SAGINAW           MI 48601‐9469
OSCAR BROTHERTON        820 OLD CAPE RD                                                                         JACKSON           MO 63755‐2259
OSCAR BROWN             7154 HOPKINS RD                                                                         MAINEVILLE        OH 45039‐8696
OSCAR BROWN             2320 COPEMAN BLVD                                                                       FLINT             MI 48504‐2904
OSCAR BROWN             C/O THE MADEKSHO LAW FORM     8866 GULF FREEWAY STE 440                                 HOUTSON           TX 77017
OSCAR BUNCH             8177 BRIANS CT                                                                          LAMBERTVILLE      MI 48144‐9583
OSCAR BURKEY            3403 ORCHARD HILL DR                                                                    CANFIELD          OH 44406‐9251
OSCAR BURRELL           PO BOX 4998                                                                             SAN DIMAS         CA 91773‐8998
OSCAR BYRD              1903 PARKDALE AVE                                                                       TOLEDO            OH 43607‐1633
OSCAR C LANGE           2050 WALNUT ST                                                                          ALLENTOWN         PA 18104
OSCAR C MARSHALL        115 MENDY CT                                                                            ENGLEWOOD         OH 45322
OSCAR CARSON            1826 DUCK CREEK RD                                                                      CINCINNATI        OH 45207‐1642
OSCAR CARTY             7002 MASON RD                                                                           BERLIN HEIGHTS    OH 44814‐9469
OSCAR CASE              15040 CHETWYN DR                                                                        LANSING           MI 48906‐1379
OSCAR CASTEEL           545 GREEVER HOLLOW RD                                                                   TAZEWELL          TN 37879‐4818
OSCAR CHACON            2420 W VIA CAMILLE                                                                      MONTEBELLO        CA 90640‐2352
OSCAR CHAFFIN           20 WHITE OAK CIRCLE                                                                     SEARCY            AR 72143‐4505
OSCAR CHAMPOD JR        5021 DELRAY DR                                                                          LANSING           MI 48910‐5364
OSCAR CHATTMAN          2741 LEXINGTON AVE NW                                                                   WARREN            OH 44485‐1535
OSCAR CLEVELAND         1231 WESTRIDGE RD SW                                                                    ATLANTA           GA 30311‐3431
OSCAR COFFEY            7403 LAKE LAKOTA CIR                                                                    WEST CHESTER      OH 45069‐2638
OSCAR COTTON            88 JANET AVE                                                                            CARLISLE          OH 45005‐5804
OSCAR COTTON            2726 W 40TH ST                                                                          ANDERSON          IN 46011‐5021
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Name                   Address1                       Address2            Address3         Address4         City            State Zip
OSCAR COWLEY           2715 LEXINGTON AVE SW                                                                DECATUR          AL 35603‐1165
OSCAR CREED JR         2070 W STOKER DR                                                                     SAGINAW          MI 48604‐2442
OSCAR CRESS            9701 E HASKET LN                                                                     DAYTON           OH 45424‐1615
OSCAR CROUCH           22882 PONTCHARTRAIN DR                                                               SOUTHFIELD       MI 48034‐6207
OSCAR CUELLAR          9201 NIEMAN RD                                                                       OVERLAND PARK    KS 66214‐1807
OSCAR CUENTAS          10703 HADDON AVE                                                                     PACOIMA          CA 91331‐2834
OSCAR CUJAR            2572 TIMBERWICK                                                                      TROY             MI 48098
OSCAR CUNNINGHAM       2346 WILLOW DR SW                                                                    WARREN           OH 44485‐3346
OSCAR CUNNINGHAM       PO BOX 189                                                                           LEAVITTSBURG     OH 44430‐0189
OSCAR D BAKER          2199 STEWART RD                                                                      XENIA            OH 45385‐9323
OSCAR D BAKER          2199 STEWART RD                                                                      XENIA            OH 45385‐9323
OSCAR D CRESS          9701 E. HASKETT LANE                                                                 DAYTON           OH 45424‐1615
OSCAR D SAMPLES JR     1015 DERRINGER DR                                                                    ENGLEWOOD        OH 45322‐2463
OSCAR DAUGHERTY        525 26TH ST SE                                                                       MASSILLON        OH 44646‐5029
OSCAR DAVIS            1005 ELBERTA RD APT 79                                                               WARNER ROBINS    GA 31093‐4704
OSCAR DAVIS            7418 BEAUBIEN ST                                                                     DETROIT          MI 48202‐3102
OSCAR DE LEON          PO BOX 7074                                                                          SAN ANTONIO      TX 78207‐0074
OSCAR DEAN             803 W BERGERA RD                                                                     BRAIDWOOD         IL 60408‐1656
OSCAR DEANGELO         3329 MAE DR SW                                                                       WARREN           OH 44481‐9210
OSCAR DELGADO          1750 KNOX CT                                                                         NAPERVILLE        IL 60565‐1714
OSCAR DEVAUGHN         3761 S UNION RD                                                                      DAYTON           OH 45418‐1340
OSCAR DEWBERRY I I I   PO BOX 1532                                                                          ELYRIA           OH 44036‐1532
OSCAR DICKINSON        PO BOX 17                                                                            FREDERIC         MI 49733‐0017
OSCAR DIXON JR         4316 CORTLAND ST                                                                     DETROIT          MI 48204‐1556
OSCAR DODDER           1229 N GOULD ST                                                                      OWOSSO           MI 48867‐1962
OSCAR DOZIER           9703 HIGHWAY 21                                                                      FOREST           MS 39074‐8447
OSCAR DUFFEY           5780 MAGNOLIA RD                                                                     THEODORE         AL 36582‐4090
OSCAR DUKES            801 LANGLEY AVE                                                                      HAMPTON          VA 23669‐3024
OSCAR DUMAS            11165 PEGGY LN                                                                       KEITHVILLE       LA 71047‐8739
OSCAR DUNCAN           4 ESTABROOK PARK RD                                                                  WESTMINSTER      MA 01473‐1720
OSCAR DUNN             528 MERRITT RD                                                                       MARYVILLE        TN 37804‐5333
OSCAR DURDEN           PO BOX 583                                                                           GREENWOOD        LA 71033‐0583
OSCAR DYER             1116 JEFFERSON AVE                                                                   EAST POINT       GA 30344‐2824
OSCAR E FUGATE JR      1700 WOODSIDE WAY                                                                    XENIA            OH 45385
OSCAR EDWARDS          18530 ASHTON AVE                                                                     DETROIT          MI 48219‐2900
OSCAR ELIZANDO         7248 MIDDLETON RD                                                                    CORUNNA          MI 48817‐9534
OSCAR ESTRADA          11148 JACKSON ST                                                                     BELLEVILLE       MI 48111‐3422
OSCAR FERNANDEZ        753 WOLCOTT AVE                                                                      BEACON           NY 12508‐4168
OSCAR FILLPOT          ROUTE 1 BOX 144                                                                      HUME             MO 64752
OSCAR FLETCHER         PO BOX 61082                                                                         DAYTON           OH 45406‐9082
OSCAR FLETCHER         135 N HAZELWOOD AVE                                                                  YOUNGSTOWN       OH 44509‐2304
OSCAR FLETCHER         P O BOX 61082                                                                        DAYTON           OH 45406‐9082
OSCAR FLORES           6799 FOX LN                                                                          WATERFORD        MI 48327‐3501
OSCAR FLORES           PO BOX 681193                                                                        SAN ANTONIO      TX 78268‐1193
OSCAR FLOYD JR         17147 GREENLAWN ST                                                                   DETROIT          MI 48221‐2534
OSCAR FORTI            PO BOX 434                                                                           PLATTEKILL       NY 12568‐0434
OSCAR FORTNER          1302 SMITH RD                                                                        TEMPERANCE       MI 48182‐1004
OSCAR FOX              PO BOX 978                                                                           WHITNEY          TX 76692‐0978
OSCAR FREEMAN          540 SELKIRK DR                                                                       MOUNT MORRIS     MI 48458‐8920
OSCAR FUENTES          PO BOX 2987                                                                          SILVER CITY      NM 88062‐2987
OSCAR FUGATE JR        1700 WOODSIDE WAY                                                                    XENIA            OH 45385‐9660
OSCAR FULLER           12118 BECKFORD ESTATES DR                                                            MARYLAND HTS     MO 63043‐4219
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Name                  Address1                         Address2                      Address3             Address4           City            State Zip
OSCAR G ALBRIGHT      89 PARKEDGE AVE                                                                                        TONAWANDA        NY 14150‐7729
OSCAR G BADILLO       636 HARRISON AVE                                                                                       DEFIANCE         OH 43512‐2022
OSCAR G CUELLAR       9201 NIEMAN RD                                                                                         OVERLAND PARK    KS 66214‐1807
OSCAR G DOZIER        9703 HIGHWAY 21                                                                                        FOREST           MS 39074
OSCAR G MORALES       743 N GOODMAN STREET                                                                                   ROCHESTER        NY 14609‐4635
OSCAR G TRIPLETT      871 NEWGARDEN AVENUE                                                                                   SALEM            OH 44460‐3603
OSCAR GARCIA          788 NE 62ND AVE                                                                                        HILLSBORO        OR 97124‐7265
OSCAR GARCIA          1918 WILSON AVE                                                                                        SAGINAW          MI 48638‐6704
OSCAR GARDNER         556 PROSPERITY LAKE DR                                                                                 ST AUGUSTINE     FL 32092‐1033
OSCAR GARLINGTON      6324 COLLEGE AVE                                                                                       KANSAS CITY      MO 64132‐1208
OSCAR GARNER JR       312 HUNTERS HOLW                                                                                       BOSSIER CITY     LA 71111‐2367
OSCAR GARZA           622 GRIFFITH ST                                                                                        SAN FERNANDO     CA 91340‐4011
OSCAR GEE JR          351 SAINT ANDREWS CT                                                                                   MANSFIELD        OH 44903‐9237
OSCAR GERARDO         12000 HORTON ST APT 45                                                                                 OVERLAND PARK    KS 66209‐3732
OSCAR GIPSON          APT 201                          7595 BAYMEADOWS CIRCLE WEST                                           JACKSONVILLE     FL 32256‐1850
OSCAR GOMEZ           51943 EMIL DR                                                                                          MACOMB           MI 48042‐4032
OSCAR GOMEZ           PO BOX 151                                                                                             CARROLLTON       MI 48724‐0151
OSCAR GONZALES        1312 1ST ST                                                                                            LAKE ODESSA      MI 48849‐1187
OSCAR GONZALES        5962 WILLOWBROOK DR                                                                                    SAGINAW          MI 48638‐5487
OSCAR GONZALEZ        2701 BENT TREE LN                                                                                      ARLINGTON        TX 76016‐1612
OSCAR GONZALEZ JR     1835 HIDDEN BROOK DR                                                                                   GRAND PRAIRIE    TX 75050‐2671
OSCAR GRAY            7103 WINDRIDGE LN                                                                                      FLINT            MI 48507‐0514
OSCAR GREENE          3962 GRACELAND AVE                                                                                     INDIANAPOLIS     IN 46208‐3904
OSCAR GRIFFIN         11665 BLACKWATER CHAPEL RD                                                                             LA MONTE         MO 65337‐2126
OSCAR GUERRA JR       1625 JACQUELINE DR                                                                                     HOLT             MI 48842‐2078
OSCAR GUERRERO        10859 AQUEDUCT AVE                                                                                     GRANADA HILLS    CA 91344‐5504
OSCAR GUERRERO        19106 SUNLAKE BLVD                                                                                     LUTZ             FL 33558‐4928
OSCAR GUZMAN          2020 RUTH ST                                                                                           ARLINGTON        TX 76010‐2137
OSCAR HABERSHAM       19 HARRISON ST                                                                                         MOUNT VERNON     NY 10550‐3611
OSCAR HALL            4606 DICKSON RD                                                                                        INDIANAPOLIS     IN 46226‐2112
OSCAR HALL JR         233 W HIGH ST                                                                                          JACKSON          MI 49203‐3159
OSCAR HALLE JR        16656 E 196TH ST                                                                                       NOBLESVILLE      IN 46060‐9530
OSCAR HAMILTON        4850 72ND STREET                                                                                       URBANDALE         IA 50322
OSCAR HARGIS          512 EVANS AVE                                                                                          MIAMISBURG       OH 45342‐3308
OSCAR HARRIS          C/O MARTIN A TYCKOSKI            624 SOUTH GRAND TRAVERSE                                              FLINT            MI 48502
OSCAR HARRIS JR       622 E FOSS AVE                                                                                         FLINT            MI 48505‐2123
OSCAR HARRISON SR     5140 PEBBLE CREEK DR                                                                                   ANTIOCH          TN 37013‐1870
OSCAR HARVEY          2153 PARKTON RD                                                                                        MOUNT MORRIS     MI 48458‐2646
OSCAR HAWKINS JR      26853 FREDERICK AVE                                                                                    COLUMBIA STA     OH 44028‐9804
OSCAR HAWTHORNE       1841 SPRINGFIELD ST                                                                                    FLINT            MI 48503‐4579
OSCAR HAYES           167 SHERMAN ST                                                                                         SABINA           OH 45169
OSCAR HEIDER          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.      OH 44236
OSCAR HELMREICH       6544 JUDD RD                                                                                           BIRCH RUN        MI 48415‐8513
OSCAR HENDERSON       17441 WESTHAMPTON RD                                                                                   SOUTHFIELD       MI 48075‐4354
OSCAR HENRY BLAKELY   ATTN ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON        IL 62024
                                                       ANGELIDES & BARNERD LLC
OSCAR HERNANDEZ JR    85515 D DRIVE NORTH                                                                                    BATTLE CREEK    MI   49017
OSCAR HILL            6321 SANDSTONE DR                                                                                      ARLINGTON       TX   76001‐8100
OSCAR HILL            3219 LYNWOOD RD                                                                                        LYNWOOD         CA   90262‐4237
OSCAR HINOTE          114 S PERRY ST                                                                                         VEEDERSBURG     IN   47987‐1562
OSCAR HOLDEN          35455 HAZELWOOD ST                                                                                     WESTLAND        MI   48186‐4135
OSCAR HOPE            239 TERRY JAK DR                                                                                       WEST BEND       WI   53090‐7500
                          09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                      Address1                            Address2                    Address3   Address4         City             State Zip
OSCAR HOPKINS JR          127 WICKHAM FARM DR                                                                         UNION             OH 45322‐2948
OSCAR HOWARD              2108 DELAFORD DR. BOX 5                                                                     ARLINGTON         TX 76002
OSCAR HUBBARD             1833 S 13TH AVE                                                                             MAYWOOD            IL 60153‐3125
OSCAR HUGHES              7415 S CLAREMONT AVE                                                                        CHICAGO            IL 60636‐3629
OSCAR HULBER              3558 CASTLE DR                                                                              ZEPHYRHILLS       FL 33540‐6510
OSCAR HUNTER              PO BOX 611                                                                                  ROCKWAY BCH       MO 65740‐0611
OSCAR J BUTLER            537 ONANDAGO ST                                                                             YPSILANTI         MI 48198‐6112
OSCAR J DUKES             801 LANGLEY AVE                                                                             HAMPTON           VA 23669‐3024
OSCAR J HARGIS            512 EVANS AVE                                                                               MIAMISBURG        OH 45342‐3308
OSCAR J MOTEN             PO BOX 302                                                                                  SAGINAW           MI 48606‐0302
OSCAR J TURNER            4207 FREE PIKE                                                                              DAYTON            OH 45416‐1235
OSCAR JAIME               2051 24TH ST                                                                                DETROIT           MI 48216‐1065
OSCAR JARAMILLO           4006 GIVERNY CT                                                                             CONVERSE          TX 78109‐3650
OSCAR JOHNSON             5113 E MOUNT MORRIS RD                                                                      MOUNT MORRIS      MI 48458‐9721
OSCAR JONES               7222 KIM CIR S                                                                              TIPP CITY         OH 45371‐2527
OSCAR JONES               6145 MAGNOLIA DR                                                                            MOUNT MORRIS      MI 48458‐2815
OSCAR JONES               4336 DEBRA CT                                                                               TOLEDO            OH 43615‐6239
OSCAR K WHITEAKER         30 MORRELL COURT                                                                            MURRELLS INLET    SC 29576
OSCAR KAMMERUDE           5109 LEWIS LN                                                                               MC FARLAND        WI 53558‐9249
OSCAR KAY JR.             10512 BOXMEER CT                                                                            FREDERICKSBURG    VA 22408‐0271
OSCAR KELSEY              124 S MENARD AVE                                                                            CHICAGO            IL 60644‐3836
OSCAR KENNEDY             879 TYLER RD                                                                                LENNON            MI 48449‐9309
OSCAR KERR                8055 MORROW WOODVILLE RD                                                                    PLEASANT PLAIN    OH 45162‐9715
OSCAR KNUCKLES            1167 W COLDWATER RD                                                                         FLINT             MI 48505‐4812
OSCAR KRIETEMEYER         24375 ROAD 0 ROUTE 1                                                                        CLOVERDALE        OH 45827
OSCAR L COTTON            88 JANET AVE                                                                                CARLISLE          OH 45005‐5804
OSCAR L DAVIS             1005 ELBERTA RD APT 79                                                                      WARNER ROBINS     GA 31093‐4704
OSCAR L DEVAUGHN          3761 SOUTH UNION RD                                                                         DAYTON            OH 45418‐1340
OSCAR L JONES             7222 KIM CIRCLE SOUTH                                                                       TIPP CITY         OH 45371‐2527
OSCAR L LOPEZ             875 HOLLYWOOD AVE                                                                           PONTIAC           MI 48340‐2524
OSCAR L PERRY             C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                               HOUSTON           TX 77007
                          BOUNDAS LLP
OSCAR L SNYDER            1118 SOMERSET LN                                                                            FLINT            MI   48503‐2926
OSCAR LACEY               20191 COOLEY ST                                                                             DETROIT          MI   48219‐1273
OSCAR LANKFORD            651 RADCLIFF ST                                                                             GARDEN CITY      MI   48135‐1050
OSCAR LARSON/CLARKST      10100 DIXIE HWY                                                                             CLARKSTON        MI   48348‐2414
OSCAR LAVALAIS            814 MELROSE ST                                                                              PONTIAC          MI   48340‐3123
OSCAR LEHMAN JR           711 N WATER ST                                                                              PAULDING         OH   45879‐1028
OSCAR LEMKE               3815 E SHAFFER RD                                                                           MIDLAND          MI   48642‐9794
OSCAR LIVINGSTON          6408 FOGGY OAK DR                                                                           FAIRBURN         GA   30213‐4687
OSCAR LOMAX               14700 N 875 EAST RD                                                                         FAIRMOUNT        IL   61841‐6311
OSCAR LONG I I            7544 VALLEY RD NW                                                                           RAPID CITY       MI   49676‐9524
OSCAR LOPEZ               1827 ELKTON DR                                                                              MONROE           MI   48162‐9525
OSCAR LOPEZ               792 S SALT PL                                                                               GOLDEN VALLEY    AZ   86413‐6744
OSCAR LOPEZ               875 HOLLYWOOD AVE                                                                           PONTIAC          MI   48340‐2524
OSCAR LUTZ                3604 NEW SPRING BRANCH RD SE                                                                ROANOKE          VA   24014‐6422
OSCAR LYKO LIVING TRUST   OSCAR LYKO TTEE, GLORIA LYKO TTEE   3076 SERENITY LANE                                      NAPERVILLE       IL   60564
OSCAR M CHRISTOF          PO BOX 1719                                                                                 BROOKINGS        OR   97415
OSCAR M DURAN             122 CORNER ROAD                                                                             UNDERWOOD        WA   98651
OSCAR M MIRANDA           29025 CALLE DEL BUHO                                                                        MURRIETA         CA   92563‐5661
OSCAR MALACARA            1914 STATE ST                                                                               SAGINAW          MI   48602‐5028
OSCAR MARCHBANKS          20492 HIGHWAY 28 LOT A                                                                      DIXON            MO   65459‐8392
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Name                     Address1                        Address2                   Address3          Address4         City               State Zip
OSCAR MASSEY JR          1240 N COUNTY ROAD 500 W                                                                      NORTH VERNON        IN 47265‐7991
OSCAR MAY                2623 VILLAGE AVE                                                                              CHESAPEAKE          VA 23323‐1706
OSCAR MAYER FOODS CORP   PO BOX 7188                                                                                   MADISON             WI 53707‐7188
OSCAR MAYVILLE           2130 E COUNTY ROAD 910 S                                                                      MARENGO             IN 47140‐7522
OSCAR MC GUIRE           15744 SUSSEX ST                                                                               DETROIT             MI 48227‐2659
OSCAR MCCOWANS           2651 S HOME AVE                                                                               MARION              IN 46953‐3760
OSCAR MCDOLE             642 S 31ST ST                                                                                 SAGINAW             MI 48601‐6552
OSCAR MCELHANEY          1948 FAIRBURN RD SW                                                                           ATLANTA             GA 30331‐4811
OSCAR MCGIVERN           43243 NORMANDY AVE                                                                            STERLING HTS        MI 48314‐2254
OSCAR MCMILLIAN          16816 RUTHERFORD ST                                                                           DETROIT             MI 48235‐3518
OSCAR MEJIA              207 FENTON ST                                                                                 LANSING             MI 48910‐4581
OSCAR MELENDEZ           1775 N MARENGO AVE                                                                            PASADENA            CA 91103‐1818
OSCAR MELLER             41354 S ANNAPOLIS CIR.          LOT #1                                                        CANTON              MI 48188
OSCAR MENDEZ             129 CANTERBURY DR                                                                             SAGINAW             TX 76179‐6324
OSCAR MERCADO            3809 PALISADE AVE APT 2                                                                       UNION CITY          NJ 07087‐4836
OSCAR MESSER             104 S RALLY RD                                                                                AVON PARK           FL 33825‐5300
OSCAR MILES              720 EUGENE ST                                                                                 YPSILANTI           MI 48198‐6145
OSCAR MIRANDA            11045 HILLSBOROUGH CT                                                                         ADELANTO            CA 92301‐6141
OSCAR MITCHELL           5917 CRESTVIEW AVE                                                                            FAIRFIELD           OH 45014‐5107
OSCAR MONTEVERDE         AV. 1 CONJUNTO ALTO PATIO,      CASA 2‐2, LA BOYERA,                                          CARACAS                  1080
OSCAR MOORE              405 NEVADA AVE NW                                                                             WARREN              OH 44485‐2626
OSCAR MORALES            743 GOODMAN ST N                                                                              ROCHESTER           NY 14609‐4635
OSCAR MOTEN SR           PO BOX 302                                                                                    SAGINAW             MI 48606‐0302
OSCAR MYERS              426 HULBERT ST                                                                                DAYTON              OH 45410‐2221
OSCAR N RICHARD          85 FERNWALD DR                                                                                DAYTON              OH 45440
OSCAR N WHITEAKER        304 E. SYCAMORE ST.                                                                           MIAMISBURG          OH 45342
OSCAR N WHITEAKER        PO BOX 964                                                                                    MIAMISBURG          OH 45343‐0964
OSCAR N WHITEAKER JR     119 N. WOLFCREEK RD                                                                           BROOKVILLE          OH 45309
OSCAR NAYLOR             243 VICTORY DR                                                                                PONTIAC             MI 48342‐2565
OSCAR NEAL               3410 KALAMAZOO AVE SE                                                                         GRAND RAPIDS        MI 49508‐2530
OSCAR NELSON             27344 CRANFORD LN                                                                             DEARBORN HEIGHTS    MI 48127‐3684
OSCAR NELSON             16861 WORMER ST                                                                               DETROIT             MI 48219‐3627
OSCAR NEUMEYER           13201 FRANDSCHE RD                                                                            CHESANING           MI 48616‐9440
OSCAR NEVAREZ            8055 DINSDALE ST                                                                              DOWNEY              CA 90240‐3813
OSCAR NITZ               3352 CHISWICK CT APT 1F                                                                       SILVER SPRING       MD 20906‐1641
OSCAR O WILSON           RT 1 BOX 13                                                                                   PINELAND            TX 75968‐9701
OSCAR OLVERA             16873 SILVERADO DR                                                                            SOUTHGATE           MI 48195‐3929
OSCAR ORANGE SR          PO BOX 311                                                                                    INKSTER             MI 48141‐0311
OSCAR ORTEGA             1375 DOVER PL                                                                                 SAGINAW             MI 48638‐5544
OSCAR ORTIZ              75 MASCOT DR                                                                                  ROCHESTER           NY 14626‐1701
OSCAR OWENBY             127 POPLAR MILL RD                                                                            DEMOREST            GA 30535
OSCAR PADILLA            4580 SKYHAWK DR NE                                                                            ROCKFORD            MI 49341‐9607
OSCAR PAGE               8965 MIAMISBURG SPRINGBORO RD                                                                 MIAMISBURG          OH 45342‐3225
OSCAR PAIZ               5348 TAHOE PINE CT SW                                                                         WYOMING             MI 49519‐9608
OSCAR PARRISH            NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD        TX 75638
OSCAR PATE               201 RIVERVIEW PLACE                                                                           LILLINGTON          NC 27546‐9530
OSCAR PAULK              1322 MCDONALD RD                                                                              DOUGLAS             GA 31533‐1860
OSCAR PAULSEN            917 E EVERGREEN ST                                                                            GREENVILLE          MI 48838‐2541
OSCAR PEDROZA            308 NORTHFIELD AVE                                                                            DEFIANCE            OH 43512‐1415
OSCAR PHILLIPS           4302 WESTERN RD LOT 22                                                                        FLINT               MI 48506‐1885
OSCAR PICKENS            71 PEARIDGE LN                                                                                CANTON              GA 30114‐2010
OSCAR POMPA              30 FM 3292                                                                                    CRYSTAL CITY        TX 78839‐1518
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Name                  Address1                         Address2                     Address3   Address4         City                State Zip
OSCAR PRUITT          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS           OH 44236
OSCAR PURVEY          2896 ACR 335                                                                              PALESTINE            TX 75801
OSCAR R BELL JR       319 MAGNOLIA CIRCLE                                                                       SOUTHERN PINES       NC 28387
OSCAR R BERNAL        2703 BRANDONVIEW                                                                          BRANDON              FL 33511
OSCAR RAMOS           1087 AVENUE SEVILLE                                                                       RIO RICO             AZ 85648
OSCAR REMINGTON       W8105 FROHMADER RD                                                                        ELROY                WI 53929‐9428
OSCAR RICHARD         85 FERNWALD DR                                                                            DAYTON               OH 45440‐3416
OSCAR RICHARDSON      15615 SANDEL AVE                                                                          GARDENA              CA 90248‐2338
OSCAR RICHARDSON      14358 REDWING DR                                                                          MORENO VALLEY        CA 92553‐4950
OSCAR RIDLEY          36400 VALLEY RIDGE DR                                                                     FARMINGTON HILLS     MI 48331‐1231
OSCAR RIOS JR         2406 W HOLMES RD                                                                          LANSING              MI 48911‐2406
OSCAR RIVERA C/O      7624 BAY PKWY                                                                             BROOKLYN             NY 11214‐1516
OSCAR ROAD SERVICE    728 1/2 E 19TH ST                                                                         BAKERSFIELD          CA 93305‐5602
OSCAR ROBINSON        761 HIGHLAND AVE                                                                          ROCHESTER            NY 14620
OSCAR ROBINSON        119 WICKHAM LN                                                                            CROSSVILLE           TN 38558‐8702
OSCAR ROBINSON        PO BOX 3303                                                                               HOT SPRINGS          AR 71914‐3303
OSCAR ROBITAILLE      52 CIRCUIT AVE                   C/O BETTY SMITH                                          WATERBURY            CT 06708‐2160
OSCAR RODRIGUEZ       915 CLAYTON ST                                                                            LANSING              MI 48915‐2003
OSCAR RODRIGUEZ       1006 N HAZEL ST                                                                           DANVILLE              IL 61832‐3022
OSCAR RODRIGUEZ       16589 WAKEFIELD CT                                                                        TRACY                CA 95304‐9424
OSCAR ROMANS JR       231 HERMER CIR NW                                                                         ATLANTA              GA 30311‐1103
OSCAR ROSA            1218 EVERGREEN AVE APT 4B                                                                 BRONX                NY 10472‐2355
OSCAR RUIZ            13353 LOWELL RD                                                                           DEWITT               MI 48820‐9215
OSCAR RYMER           5239 MILLCREEK RD                                                                         KETTERING            OH 45440‐2531
OSCAR S KNUCKLES      1167 W COLDWATER RD                                                                       FLINT                MI 48505‐4812
OSCAR SALEHI          205 TROPHY CT                                                                             THOMPSONS STATION    TN 37179‐9296
OSCAR SAMPLES JR      1015 DERRINGER DR                                                                         ENGLEWOOD            OH 45322‐2463
OSCAR SANCHEZ         3001 AVERILL DR                                                                           LANSING              MI 48911‐1411
OSCAR SANCHEZ         662 E BEVERLY AVE                                                                         PONTIAC              MI 48340‐2909
OSCAR SCHABB
OSCAR SCHAUER         PO BOX 529                                                                                GAINES              MI   48436‐0529
OSCAR SCHAUER JR      9786 CINDER HILL RD                                                                       MANCELONA           MI   49659‐8926
OSCAR SCHILDWACHTER   603 SEENA RD                                                                              BALTIMORE           MD   21221‐6842
OSCAR SCHMIDT         6472 STATE RD                                                                             VASSAR              MI   48768‐9215
OSCAR SCHROCK JR      100 LAGUNA CIR                                                                            DAPHNE              AL   36526‐7866
OSCAR SCOTT           4807 MERRITT ST                                                                           DETROIT             MI   48209‐1354
OSCAR SCOTT JR        645 NEBRASKA AVE                                                                          KANSAS CITY         KS   66101‐2256
OSCAR SELKE           64 PUTTER DR                                                                              PALM COAST          FL   32164‐4700
OSCAR SHAHEER         737 CLIFTON BLVD                                                                          TOLEDO              OH   43607‐2227
OSCAR SHARPE          C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH   44236
OSCAR SHORT‐RIDGE
OSCAR SLEEPER         16702 MOORES LANDING RD                                                                   LACHINE             MI   49753‐9440
OSCAR SMITH           8325 BONNIE CT                                                                            GRAND BLANC         MI   48439‐1872
OSCAR SNYDER          1118 SOMERSET LN                                                                          FLINT               MI   48503‐2926
OSCAR SOBEL TRUST     ATTN MARTIN SOBEL                7040 TREYMORE CT                                         SARASOTA            FL   34243‐5500
OSCAR SOLIS           2220 BASSETT AVE #38‐114                                                                  EL PASO             TX   79901‐2020
OSCAR SOSA            13140 MORTENVIEW DR                                                                       TAYLOR              MI   48180‐4957
OSCAR SPEIGHT         12770 HUBBELL ST                                                                          DETROIT             MI   48227‐2817
OSCAR SPENCER         1556 RUMMEL RD                                                                            LUCAS               OH   44843‐9761
OSCAR SPIRES          67 HERON DR                                                                               LOUISA              KY   41230‐7762
OSCAR STALLA          C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS      OH   44236
OSCAR STEWART         6000 E CAROLYN DR                                                                         MUNCIE              IN   47303‐4445
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Name                           Address1                             Address2                     Address3   Address4               City                 State Zip
OSCAR STEWART                  9180 COMPTON COURT                                                                                  PINCKNEY              MI 48169‐9193
OSCAR SUMMERS                  9636 OAKWOOD HILLS CT                                                                               NEW PORT RICHEY       FL 34655‐1180
OSCAR SUTTON JR                2175 W AUBURN RD                                                                                    ROCHESTER HILLS       MI 48309‐3633
OSCAR SUTTON JR                PO BOX 214123                                                                                       AUBURN HILLS          MI 48321‐4123
OSCAR T DEAN                   573 WEST BERGERA                                                                                    BRAIDWOOD              IL 60408
OSCAR TANSINGCO                1358 REVERE DR                                                                                      TROY                  MI 48083‐6116
OSCAR TARVER JR                C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY            STE 600                           HOUSTON               TX 77007
                               BOUNDAS L L P
OSCAR TATE                     948 BURLINGTON ST                                                                                   YOUNGSTOWN           OH   44510‐1261
OSCAR TAYLOR                   3291 CARTER ST                                                                                      DETROIT              MI   48206‐2141
OSCAR TAYLOR JR                1409 W 14TH ST                                                                                      ANDERSON             IN   46016‐3313
OSCAR THOMAS                   BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS           OH   44236
OSCAR TIPTON                   951 REMINGTON AVE                                                                                   FLINT                MI   48507‐1625
OSCAR TOBAR                    1532 PECAN AVE                                                                                      NORMAN               OK   73072‐5747
OSCAR TOFTE                    706 DICKINSON ST                                                                                    EDGERTON             WI   53534‐1513
OSCAR TRIPLETT                 871 NEWGARDEN AVE                                                                                   SALEM                OH   44460‐3603
OSCAR TUCKER                   27769 STAR HALL RD                   27769 STARR HALL RD                                            DEXTER               OH   45741‐9547
OSCAR TURNER                   4207 FREE PIKE                                                                                      DAYTON               OH   45416‐1235
OSCAR UGUETO                   3154 OAKHILL DR                                                                                     TROY                 MI   48084‐1238
OSCAR UMANA                    E 82 APT 801A CALLE 5                                                        CALI VALLE DEL CAUCA
                                                                                                            COLOMBIA
OSCAR UNDERWOOD                893 ESTHER AVE NW                                                                                   WARREN               OH   44483‐1242
OSCAR URIVEZ                   744 DEERWOOD DR                                                                                     DEFIANCE             OH   43512‐8126
OSCAR UTLEY                    PO BOX 607                                                                                          BENAVIDES            TX   78341‐0607
OSCAR VALDEZ                   501 N PINECREST RD                                                                                  BOLINGBROOK          IL   60440‐2139
OSCAR VAN DE VELDE             28050 LOIS DR                                                                                       TAVARES              FL   32778‐9639
OSCAR VELA                     15459 19 MILE RD                                                                                    MARSHALL             MI   49068‐9350
OSCAR VERCRUYSSE               22318 CENTENNIAL ST                                                                                 SAINT CLAIR SHORES   MI   48081‐2071
OSCAR W LARSON CO              10100 DIXIE HIGHWAY                                                                                 CLARKSTON            MI   48348
OSCAR W LARSON CO              10100 DIXIE HWY                                                                                     CLARKSTON            MI   48348‐2414
OSCAR W LARSON NMA COMPANY     10080 DIXIE HIGHWAY                                                                                 CLARKSTON            MI   48348
OSCAR W LARSON NMA COMPANY     ATTN: CORPORATE OFFICER/AUTHORIZED   10080 DIXIE HWY                                                CLARKSTON            MI   48348‐2412
                               AGENT
OSCAR W. AND FRANCES J. TATE   PO BOX 555                                                                                          RICHMOND             VA 23218‐0555
OSCAR WASHINGTON               C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY, STE 600                                     HOUSTON              TX 77007
                               BOUNDAS, LLP
OSCAR WASHINGTON               1710 SHEPHERD DR                                                                                    SHREVEPORT           LA   71107‐4962
OSCAR WATKINS                  PO BOX 111                                                                                          MOULTON              AL   35650‐0111
OSCAR WAYCASTER                PO BOX 527                                                                                          GENESEE              MI   48437‐0527
OSCAR WEAVER                   2318 ARLINGTON AVE                                                                                  FLINT                MI   48506‐3421
OSCAR WEBB                     3067 N 33RD ST                                                                                      KANSAS CITY          KS   66104‐4037
OSCAR WEBB                     8830 LA SALLE BLVD                                                                                  DETROIT              MI   48206‐2226
OSCAR WEBB JR                  849 ASHLEY ST                                                                                       WESTON               MO   64098‐1001
OSCAR WEST                     APT 6A                               495 EAST 178TH STREET                                          BRONX                NY   10457‐4441
OSCAR WHITEAKER                119 N WOLF CREEK ST                                                                                 BROOKVILLE           OH   45309
OSCAR WHITEAKER                30 MORRELL CT                                                                                       MURRELLS INLET       SC   29576‐5080
OSCAR WHITEAKER JR             119 N WOLF CREEK ST                                                                                 BROOKVILLE           OH   45309‐1842
OSCAR WICKER                   1928 CODD AVE                                                                                       BALTIMORE            MD   21222‐4706
OSCAR WILLIAMS                 2825 W AUBURN DR                                                                                    SAGINAW              MI   48601‐4500
OSCAR WILLIAMS                 570 OAKRIDGE WAY                                                                                    GREENWOOD            IN   46142‐1241
OSCAR WILLIAMS JR              7103 N ALTER ST                                                                                     BALTIMORE            MD   21207‐6419
OSCAR WILLIAMS JR              2825 W AUBURN DR                                                                                    SAGINAW              MI   48601‐4500
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Name                            Address1                          Address2                     Address3                 Address4         City            State Zip
OSCAR WILLIAMS JR               1203 HIGHWAY J                                                                                           TROY             MO 63379‐3803
OSCAR WILMINGTON                4316 HAYES RD                                                                                            RAVENNA          OH 44266‐3708
OSCAR WILSON                    145 FREDERICK DR                                                                                         EATON            OH 45320‐8546
OSCAR WILSON JR                 2404 LEDYARD ST                                                                                          SAGINAW          MI 48601‐2445
OSCAR WITTIG                    8404 S HILLSIDE SCHOOL RD                                                                                OAK GROVE        MO 64075‐8246
OSCAR WOLFBRANDT                15595 PRETTY LAKE DR                                                                                     MECOSTA          MI 49332‐9490
OSCAR WOOD                      2559 PARKER BLVD                                                                                         TONAWANDA        NY 14150‐4529
OSCAR WOOD                      511 MONROE ST                                                                                            CHARLOTTE        MI 48813‐1934
OSCAR WOODS                     BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS       OH 44236
OSCAR WRIGHT                    2951 N TRINITY ST                                                                                        DECATUR          TX 76234‐6317
OSCAR YOUNG JR                  3655 DIAMONDALE DR E                                                                                     SAGINAW          MI 48601‐5806
OSCAR ZVACEK JR                 PO BOX 602                                                                                               BLUE SPRINGS     MO 64013‐0602
OSCAR, CHARLOTTE A              10521 YALE RD                                                                                            DEERFIELD        OH 44411‐8754
OSCAR, IRA L                    G‐5436 SILVERTON DR                                                                                      GRAND BLANC      MI 48439
OSCAR, PAMELA L                 4631 OLD CANTON RD                                                                                       JACKSON          MS 39211‐5528
OSCAR, RAYMOND M                4657 KESTREL CT                                                                                          DEXTER           MI 48130‐9369
OSCENDOSKY, DENNIS L            5153 PRATT RD                                                                                            METAMORA         MI 48455‐9609
OSCEOLA BYERS                   2618 BALES AVE                                                                                           KANSAS CITY      MO 64127‐4342
OSCEOLA COUNTY SHERIFFS DEPT.                                     400 SIMPSON RD                                                                          FL 34744
OSCEOLA COUNTY TAX COLLECTOR    PO BOX 422105                                                                                            KISSIMMEE        FL 34742‐2105
OSCEOLA FARMS CO                                                  US 98 & HATTON HWY                                                                      FL 33476
OSCIDA AREA UNITED WAY          5671 N SKEEL AVE STE 32                                                                                  OSCODA           MI 48750‐1535
OSCILOWICZ, ANDRZEJ             210 HORIZONS E                    211                                                                    BOYNTON BEACH    FL 33435
OSCILOWICZ, ANDRZEJ             210 HORIZONS E                    APT 211                                                                BOYNTON BEACH    FL 33435‐5150
OSE KUE                         3583 YARDLY CT                                                                                           STERLING HTS     MI 48310‐4962
OSE/WSSR/WASHINGTON             ACCOUNT OF CARL LODDER            CAUSE #                      402 W WASHINGTON ST RM                    INDIANAPOLIS     IN 46204
                                                                                               W362
OSECKI, WALTER V                5890 E COUNTY ROAD 500 N                                                                                 BROWNSBURG      IN   46112
OSEGUEDA, MARIO E               45811 SCOTT ST                                                                                           MACOMB          MI   48044‐4523
OSEGUERA, MOLLIE                335 NORTH DR                                                                                             DAVISON         MI   48423‐1628
OSEI BONSU, JOSEPH              5730 GLEN CREEK DR                                                                                       ANN ARBOR       MI   48108‐9112
OSEI, DORIS M                   2402 OVERBROOK DR                                                                                        ARLINGTON       TX   76014‐2732
OSEI, LAWRENCE K                4539 WESTCHESTER GLEN DR                                                                                 GRAND PRAIRIE   TX   75052‐3550
OSEI, TONY                      2402 OVERBROOK DR                                                                                        ARLINGTON       TX   76014
OSEI‐BOATENG, KWASI             6218 WHITE OAK DR                                                                                        TOLEDO          OH   43615‐5741
OSELAND, ARTHUR H               6206 S ILLINOIS AVE                                                                                      CUDAHY          WI   53110‐2927
OSELAND, CHRISS T               1116 W MAPLE ST                                                                                          RIVER FALLS     WI   54022‐2058
OSELETT, MARY H                 4 4 3RD ST APT APT 0                                                                                     LA MESA         CA   91941
OSELETTO, BETTY R               4522 SPENCER DR                                                                                          WICHITA FALLS   TX   76308‐3364
OSELL, CRAIG S                  1188 PURPLE SAGE LOOP                                                                                    CASTLE ROCK     CO   80104‐7845
OSELLA, MASSIMO                 5837 FOLKSTONE DR                                                                                        TROY            MI   48085‐3148
OSEMLAK, JEROME M               6040 STAHELIN AVE                                                                                        DETROIT         MI   48228‐3831
OSENBAUGH, BETTY J              722 W 2ND ST                                                                                             MARION          IN   46952‐3755
OSENBAUGH, CECIL H              6333 W KALAMO HWY                                                                                        CHARLOTTE       MI   48813‐9557
OSENBAUGH, GARY E               8950 W DEER CREEK WAY                                                                                    MIDDLETOWN      IN   47356‐9775
OSENBAUGH, VIVIAN H             1213 LINDBERG RD                                                                                         ANDERSON        IN   46012‐2635
OSENGA, ROBERT                  12605 MAPLEVIEW ST APT 53         APT 53                                                                 LAKESIDE        CA   92040‐2434
OSENKO, BRENDA J                9125 BARKY BOYS ROAD                                                                                     WILLIS          MI   48191‐9401
OSENKOWSKI, JOHN                37231 WILLOW CREEK LN                                                                                    NEW BALTIMORE   MI   48047‐6394
OSENKOWSKI, NORMAN T            41310 RAYBURN DR                                                                                         NORTHVILLE      MI   48168‐3453
OSENKOWSKI, NORMAN THOMAS       41310 RAYBURN DR                                                                                         NORTHVILLE      MI   48168‐3453
OSENKOWSKI, WALTER E            13139 STAMFORD AVE                                                                                       WARREN          MI   48089‐1349
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Name                                  Address1                       Address2                    Address3   Address4         City                  State Zip
OSENTOSKI JOHN                        OSENTOSKI, JOHN                55 PUBLIC SQ STE 650                                    CLEVELAND              OH 44113‐1909
OSENTOSKI JOHN                        OSENTOSKI, JOHN                22260 HAGGERTY RD STE 250                               NORTHVILLE             MI 48167‐8985
OSENTOSKI, ARTHUR J                   2310 S FLETCHER RD                                                                     CHELSEA                MI 48118‐9620
OSENTOSKI, CARMELLE                   16055 FOREST AVE                                                                       EASTPOINTE             MI 48021‐1134
OSENTOSKI, CARMELLE                   16055 FOREST                                                                           EAST POINTE            MI 48021‐1134
OSENTOSKI, CHARLES W                  114 WINDSOR RD                                                                         CROSSVILLE             TN 38558‐4510
OSENTOSKI, DALE E                     63 LAKEVIEW DR                                                                         OXFORD                 MI 48370‐3031
OSENTOSKI, EDWARD A                   2870 LOEFFLER RD                                                                       CHELSEA                MI 48118‐9638
OSENTOSKI, EVELYN                     3643 SAGINAW TRAIL                                                                     WATERFORD              MI 48329‐4243
OSENTOSKI, HENRY R                    3409 WYNNS MILL RD                                                                     METAMORA               MI 48455‐9628
OSENTOSKI, HERSHEL R                  626 E BEVERLY AVE                                                                      PONTIAC                MI 48340‐2909
OSENTOSKI, JOHN                       KAHN & ASSOCIATES LLC          55 PUBLIC SQ STE 650                                    CLEVELAND              OH 44113‐1909
OSENTOSKI, JOHN                       KAHN & ASSOCIATES              55 PUBLIC SQ STE 650                                    CLEVELAND              OH 44113‐1909
OSENTOSKI, KAREN                      5180 BARRYWOOD RD                                                                      GOODRICH               MI 48438
OSENTOSKI, KAREN                      5181 BARRYWOOD DR                                                                      GOODRICH               MI 48438
OSENTOSKI, KENNETH A                  206 MAPLEWOOD DR               PO BOX 407                                              OTISVILLE              MI 48463‐7716
OSENTOSKI, KENNETH B                  5140 N LAKESHORE RD                                                                    PORT HOPE              MI 48468‐9702
OSENTOSKI, MARIE                      3301 B C FORRESTVILLE RD                                                               UBLY                   MI 48475
OSENTOSKI, MARIE A                    6662 FEED ST.                                                                          BASS CITY              MI 48726
OSENTOSKI, MICHAEL J                  2865 RED ARROW DR                                                                      COMMERCE TWP           MI 48382‐3470
OSENTOSKI, MICHAEL JOHN               2865 RED ARROW DR                                                                      COMMERCE TWP           MI 48382‐3470
OSENTOSKI, PAUL C                     1220 DONALD AVE                                                                        ROYAL OAK              MI 48073‐2088
OSER, ANDREW H                        1031 BAYWOOD DR APT B                                                                  SPARKS                 NV 89434‐3673
OSER, STEVEN P                        1124 S 600 E                                                                           MARION                 IN 46953‐9544
OSETKOWSKI JR, STANLEY M              1423 FORBES ST                                                                         NORTH TONAWANDA        NY 14120‐1858
OSEWALT, EARL C                       2311 DEL WEBB BLVD W                                                                   SUN CITY CENTER        FL 33573‐4861
OSEY BRYANT JR                        1304 VICKSBURG SOUTH DR                                                                GREENWOOD              IN 46143‐7791
OSF MEDICAL GROUP                     PO BOX 1712                                                                            PEORIA                  IL 61656‐1712
OSGA JR, RAYMOND A                    157 W BROOKLYN AVE                                                                     PONTIAC                MI 48340‐1123
OSGA, CUMI E                          2109 DAVID MILLER RD                                                                   JOHNSON CITY           TN 37604‐3511
OSGA, DONALD E                        7133 W CUTLER RD                                                                       DEWITT                 MI 48820‐9127
OSGA, RAYMOND A                       2109 DAVID MILLER RD                                                                   JOHNSON CITY           TN 37604‐3511
OSGARD, RUSSELL A                     410 THOMAS CIR                                                                         SEYMOUR                TN 37865‐5507
OSGARD, SHARON K                      410 THOMAS CIR                                                                         SEYMOUR                TN 37865‐5507
OSGATHORPE, EAGLE D                   123 MOSEY PURCELL RD                                                                   RED BOILING SPRINGS    TN 37150‐6103
OSGOOD JR, VERN W                     1341 N MORRISH RD                                                                      FLINT                  MI 48532‐2073
OSGOOD, DAVID C                       1754 ZIMMERMAN RD                                                                      HONOR                  MI 49640‐9743
OSGOOD, DENISE L                      3622 ELDER RD S                                                                        W BLOOMFIELD           MI 48324‐2530
OSGOOD, ELIZABETH J                   7106 BLACKBERRY CREEK DRIVE                                                            BURTON                 MI 48519
OSGOOD, JOHN M                        14182 VALLEY VIEW DRIVE                                                                WHITE OAK              PA 15131‐4233
OSGOOD, MICHAEL J                     PO BOX 855                     1118 FRENCH TRAIL                                       ROSCOMMON              MI 48653‐0855
OSGOOD, PHILIP J                      4141 N GALE RD                                                                         DAVISON                MI 48423‐8951
OSGOOD, PHILIP JAMES                  4141 N GALE RD                                                                         DAVISON                MI 48423‐8951
OSGOOD, RICHARD L                     3078 MAUMEE TRL                                                                        CLYDE                  MI 48049‐4518
OSGOOD, RICHARD LLOYD                 3078 MAUMEE TRL                                                                        CLYDE                  MI 48049‐4518
OSGOOD, TERRY W                       38209 FRENCH POND                                                                      FARMINGTN HLS          MI 48331‐2958
OSHA ‐ ELECTRICAL LICENSING &         NO ADVERSE PARTY
PERMITTING/FLINT
OSHA ‐ LICENSING ‐ BERNINE & WILDE    NO ADVERSE PARTY
OSHA‐VIOL‐STATE ‐ DE ‐ FIRE MARSHAL
KILEY ‐ WILMINGTON PLANT
OSHABEN, JOHN D                       4824 JODY LYNN DR                                                                      MENTOR                OH 44060‐1313
                                        09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
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Name                                   Address1                            Address2                          Address3   Address4                City            State Zip
OSHABEN, RICHARD L                     2340 PARMALEE DR                                                                                         SEVEN HILLS      OH 44131‐4111
OSHAUGHNESSY, THOMAS F                 8377 HIDDEN CREEK DR                                                                                     FLUSHING         MI 48433‐9434
OSHAWA 14007
OSHAWA INTERIOR SUPPLIES               434 SIMCOE ST S                                                                  OSHAWA CANADA ON L1H
                                                                                                                        4J6 CANADA
OSHAWA PATTERN & MODEL LTD             760 TECHNOLOGY DRIVE                                                             PETERBOROUGH CANADA
                                                                                                                        ON K9J 6X7 CANADA
OSHAWA VEHICLE ASSEMBLY PLANT          PARK ST S GATE 1 PLANT O DOCK B                                                  OSHAWA ON L1H8 CANADA
OSHEA CHARLES                          116 LIGHTHOUSE DR                                                                                        JUPITER         FL   33469‐3511
OSHEA KEVIN (357374)                   EARLY & STRAUSS                     420 LEXINGTON AVE RM 840                                             NEW YORK        NY   10170‐0840
OSHEA, HOWARD                          814 ERSKINE AVE                                                                                          SAINT LOUIS     MO   63125‐1828
OSHEA, HOWARD                          814 ERSKINE                                                                                              ST LOUIS        MO   63125‐1828
OSHEA, JANET C                         304 EARLSFIELD                                                                                           ST LOUIS        MO   63125‐3311
OSHEA, KEVIN                           EARLY & STRAUSS                     GRAYBAR BUILDING SUITE 840, 420                                      NEW YORK        NY   10170
                                                                           LEXINGTON AVENUE
OSHEA, TIMOTHY P                       2529 TAFT AVE                                                                                            OREGON          OH   43616‐3829
OSHEA, TIMOTHY PETER                   2529 TAFT AVE                                                                                            OREGON          OH   43616‐3829
OSHEL, RUBY A                          8015 W 79TH ST                                                                                           OVERLAND PARK   KS   66204‐2804
OSHELL, TAMMY                          2305 HAZELWOOD TER APT B                                                                                 LAKE VIEW       NY   14085‐9791
OSHER, CLARENCE J                      146 GUNTHER ST                                                                                           BELLEVUE        OH   44811‐1513
OSHEROFF MARC A                        DBA OSHEROFF & WITTELS MGMT LP      16400 NW 2ND AVE STE 203                                             MIAMI           FL   33169‐6035
OSHIA D HOLCOMB                        5471 CHEVROLET BLVD APT A411                                                                             PARMA           OH   44130‐1488
OSHIER, EARL G                         3215 E 67TH ST                                                                                           ANDERSON        IN   46013‐9511
OSHIKA, EDGAR M                        11453 PORTER VALLEY DR                                                                                   NORTHRIDGE      CA   91326‐1707
OSHINSKI, MARK S                       12415 BOWENS MILL RD                                                                                     WAYLAND         MI   49348‐9304
OSHINSKI, NORBERT F                    6851 PINE EDGE DR SE                                                                                     ALTO            MI   49302‐9723
OSHINSKI, PHYLLIS J                    12415 BOWENS MILL RD                                                                                     WAYLAND         MI   49348‐9304
OSHINSKY THOMAS S (490553)             ANGELOS PETER G                    100 N CHARLES STREET , ONE                                            BALTIMORE       MD   21201
                                                                          CHARLES CENTER
OSHINSKY, THOMAS S                     ANGELOS PETER G                    100 N CHARLES STREET, ONE                                             BALTIMORE       MD 21201‐3812
                                                                          CHARLES CENTER
OSHIP ELLIOTT G (ESTATE OF) (401335)   TREVETTE LENWEAVER & VAN STRYDONCK 700 REYNOLDS ARCADE , 16 EAST                                         ROCHESTER       NY 14614
                                                                          MAIN ST
OSHIP, ELLIOTT G                       TREVETTE LENWEAVER & VAN STRYDONCK 700 REYNOLDS ARCADE, 16 EAST                                          ROCHESTER       NY 14614
                                                                          MAIN ST
OSHIP, NANCY                           1431 DOEBLER DRIVE                                                                                       N TONAWANDA     NY   14120‐2207
OSHIRAK, MARY F                        44 AMES AVENUE                                                                                           TONAWANDA       NY   14150‐8206
OSHIRAK, PAUL T                        94 KOENIG RD                                                                                             TONAWANDA       NY   14150‐7402
OSHIRO, JOHN M                         3221 LAUREL CANYON RD                                                                                    SANTA BARBARA   CA   93105‐2015
OSHIRO, TODD K                         4092 PLEASANT VALLEY LN                                                                                  CANFIELD        OH   44406
OSHIYAMA, JERRY S                      10427 JIMENEZ ST                                                                                         LAKE VIEW TER   CA   91342‐6930
OSHIYAMA, MARK A                       4908 PACES TRL APT 1115                                                                                  ARLINGTON       TX   76017‐0834
OSHIYAMA, MARK AKIRA                   4908 PACES TRL APT 1115                                                                                  ARLINGTON       TX   76017‐0834
OSHKOSH CITY TREASURER                 PO BOX 1128                                                                                              OSHKOSH         WI   54903‐1128
OSHKOSH CORPORATION                    TIM TROM                           1067 4TH STREET NE                                                    BYRON           MN   55920
OSHKOSH FLOOR DESIGNS
OSHKOSH TRUCK CORPORATION              1067 FORT STREET NE ‐ SUITE 350                                                                          BYRON           MN   55920
OSHTEMO TOWNSHIP TAX COLLECTOR         7275 W MAIN ST                                                                                           KALAMAZOO       MI   49009‐8210
OSHUST DAVE                            969 SUCHAVA DR                                                                                           WHITE LAKE      MI   48386‐4558
OSHUST, CHARLES J                      969 SUCHAVA DR                                                                                           WHITE LAKE      MI   48386‐4558
OSHUST, DAVID T                        969 SUCHAVA DR                                                                                           WHITE LAKE      MI   48386‐4558
OSHUST, KRISTA K                       6329 RICHFIELD RD                                                                                        FLINT           MI   48506‐2209
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Name                             Address1                      Address2              Address3       Address4         City               State Zip
OSHUST, MICHAEL H                G6329 RICHFIELD RD                                                                  FLINT               MI 48506
OSI COLLECTION SERVICE INC       ACCOUNTING DEPT               200 S EXECUTIVE DR                                    BROOKFIELD          WI 53005
OSI COLLECTION SERVICES          PO BOX 931053                                                                       CLEVELAND           OH 44193‐1398
OSI COLLECTION SERVICES INC      ATTN: AAFES‐GAR               PO BOX 15270                                          WILMINGTON          DE 19850‐5270
OSI COLLECTIONS SERVICES, INC    ACCOUNTING DEPT.              180 N EXECUTIVE DR.                                   BROOKFIELD          WI 53005
OSIADLO, HELEN                   66 GROTE STREET                                                                     BUFFALO             NY 14207‐2418
OSIADLO, HELEN                   66 GROTE ST                                                                         BUFFALO             NY 14207‐2418
OSIAS DUTDUT                     3274 ROTH RD                                                                        OSWEGO               IL 60543‐9773
OSICK, RITA R                    PO BOX 462                                                                          WESTMONT             IL 60559‐0462
OSICKEY, GREGORY J               44340 WHITHORN DR                                                                   STERLING HTS        MI 48313‐1060
OSIE JOHNSON                     5113 E MOUNT MORRIS RD                                                              MOUNT MORRIS        MI 48458‐9721
OSIE KNIGHT                      361 VARDAMAN ST                                                                     JACKSON             MS 39213‐7642
OSIE MOORE JR                    PO BOX 702                                                                          QUEEN CREEK         AZ 85242‐0702
OSIECKI, DIANE C                 278 N MAIN ST                                                                       WHITINSVILLE        MA 01588‐1816
OSIECKI, DIANE C                 278 NO MAIN ST                                                                      WHITINSVILLE        MA 01588‐1816
OSIER LANDSCAPING & CONSTR INC   PO BOX 656                                                                          SYRACUSE            NY 13206‐0656
OSIER, EUGENE W                  368 E PEARL ST                                                                      POTTERVILLE         MI 48876‐9792
OSIER, JAMES E                   4200 N MACKINAW RD                                                                  PINCONNING          MI 48650‐8474
OSIER, JOHN B                    3017 DEVON DR                                                                       FORT WAYNE          IN 46815‐6705
OSIER, JOHN BERNARD              3017 DEVON DR                                                                       FORT WAYNE          IN 46815‐6705
OSIER, JOHN L                    54815 ARROWHEAD DR                                                                  SHELBY TOWNSHIP     MI 48315‐1215
OSIER, LLOYA                     3017 DEVON DR                                                                       FORT WAYNE          IN 46815‐6705
OSIER, LLOYA L                   3017 DEVON DR                                                                       FORT WAYNE          IN 46815‐6705
OSIER, MARK E                    4232 DEEP RIVER RD                                                                  STANDISH            MI 48658‐9449
OSIER, VIRGIL P                  4461 JOHNSFIELD RD                                                                  STANDISH            MI 48658‐9406
OSIFAT, GEORGE O                 38 S LINCOLN ST                                                                     MCADOO              PA 18237‐2122
OSIKA JR, FRANCIS J              9152 E M 21                                                                         CORUNNA             MI 48817‐9521
OSIKA JR, VINCENT M              650 N NEW LOTHROP RD                                                                LENNON              MI 48449‐9646
OSIKA, ANDREW J                  1749 N NEW LOTHROP RD                                                               LENNON              MI 48449‐9660
OSIKA, ANDREW JOSEPH             1749 N NEW LOTHROP RD                                                               LENNON              MI 48449‐9660
OSIKA, BERNADETTE                3131 DUFFIELD RD                                                                    FLUSHING            MI 48433‐9793
OSIKA, BERNADETTE M              3131 DUFFIELD RD                                                                    FLUSHING            MI 48433‐9793
OSIKA, CHRISTINE M               6430 DUCHESS CT                                                                     FLUSHING            MI 48433‐3535
OSIKA, CHRISTINE M.              6430 DUCHESS CT                                                                     FLUSHING            MI 48433‐3535
OSIKA, HELEN                     1064 S M‐13 BOX 157                                                                 LENNON              MI 48449‐9317
OSIKA, JOANN D                   4475 LENROSE AVE                                                                    FLINT               MI 48532‐4337
OSIKA, PATRICK                   5375 CALKINS RD                                                                     FLINT               MI 48532‐3305
OSIKA, PAUL V                    4358 HIGHFIELD RD                                                                   WATERFORD           MI 48329‐3839
OSIKA, ROBERT L                  4241 SPRAGUE AVE                                                                    HAMBURG             NY 14075‐3024
OSIKA, STEVEN A                  9601 COPAS RD                                                                       LENNON              MI 48449‐9650
OSIKA, STEVEN ALBERT             9601 COPAS RD                                                                       LENNON              MI 48449‐9650
OSIKA, TERESA M                  1749 N NEW LOTHROP RD                                                               LENNON              MI 48449‐9660
OSIKA, VERNA L                   10025 COPAS RD                                                                      LENNON              MI 48449‐9699
OSIKA, VINCENT                   720 N NEW LOTHROP RD                                                                LENNON              MI 48449‐9646
OSIKOWICZ, JEFFREY M             38653 STACEY CT                                                                     LIVONIA             MI 48154‐1025
OSIMITZ THOMAS G                 1159 RIVER CHASE RDG                                                                CHARLOTTESVILLE     VA 22901‐0644
OSINIAK, ROBERT A                218 RENEE DR                                                                        STRUTHERS           OH 44471‐1522
OSINSKI, AGNES C                 45528 DOVER CL                                                                      MOUNT CLEMENS       MI 48044
OSINSKI, ALFRED L                4800 SOUTH BRENNAN ROAD                                                             HEMLOCK             MI 48626‐9747
OSINSKI, DAVID A                 1520 W BURT RD                                                                      MONTROSE            MI 48457‐9354
OSINSKI, DAVID A                 40330 LA GRANGE DR                                                                  STERLING HEIGHTS    MI 48313‐5433
OSINSKI, JOSEPH G                1335 FLEMING AVE LOT 234                                                            ORMOND BEACH        FL 32174‐8246
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Name                                Address1                          Address2               Address3    Address4                  City          State Zip
OSINSKI, LEONARD                    35870 HAWTHORNE DR                                                                             CLINTON TWP    MI 48035‐6201
OSINSKI, LEONARD M                  52724 STAG RIDGE DR                                                                            MACOMB         MI 48042‐3483
OSINSKI, PAUL M                     4146 SCHINTZIUS RD                                                                             EDEN           NY 14057‐9769
OSINSKI, PAUL MIKE                  4146 SCHINTZIUS RD                                                                             EDEN           NY 14057‐9769
OSINSKI, RONALD E                   500 E 12TH AVE                                                                                 MUNHALL        PA 15120‐2012
OSINSKI, THOMAS E                   8720 ELIZABETH PKWY                                                                            EDEN           NY 14057‐1418
OSINSKI, THOMAS EDMOND              8720 ELIZABETH PKWY                                                                            EDEN           NY 14057‐1418
OSIP, DOROTHY B                     34415 SPRING VALLEY DR                                                                         WESTLAND       MI 48185‐1453
OSIPOVITCH, ROSE                    170 BAY VIEW RD                                                                                ROCHESTER      NY 14609‐2006
OSIRIS ALMONTE                      10710 LACROSSE ST                                                                              HOUSTON        TX 77029
OSISEK, JODI E                      10920 HARRINGHAM LN                                                                            CHARLOTTE      NC 28269‐5005
OSISEK, JODI ELIZABETH              10920 HARRINGHAM LN                                                                            CHARLOTTE      NC 28269‐5005
OSIUS, BERTHA L                     36750 JOY RD                                                                                   LIVONIA        MI 48150‐3566
OSKA POTTER                         4139 MIDDLEGATE DR                                                                             KISSIMMEE      FL 34746‐6419
OSKA, JOSEPHINE E                   23464 BAKER                                                                                    TAYLOR         MI 48180‐3432
OSKANIAN, CHARLES                   4042 3 OAKS DR APT 3A                                                                          TROY           MI 48098‐4547
OSKANIAN, SONDRA J                  1858 COLONIAL VILLAGE WAY APT 4                                                                WATERFORD      MI 48328‐1951
OSKANIAN, VASILIKI                  4042 3 OAKS DR APT 3A                                                                          TROY           MI 48098‐4547
OSKANIAN, VASILIKI                  4042 THREE OAKS BLVD #3A                                                                       TROY           MI 48098‐4547
OSKAR GRUBER                        WURZACHER STR 14                                                     88299 LEUTKIRCH
OSKAR KHARKOVSKY                    3514 57TH AVENUE CIR W                                                                         BRADENTON      FL   34210‐3553
OSKAR KORATH                        LEOBERSDORFERSTR 7                                                   2552 HIRTENBERG AUSTRIA
OSKAR LINING                        1225 ROBSON LN                                                                                 BLOOMFIELD    MI 48304‐1536
OSKAR LTD                           60 MARKET SQUARE                  PO BOX 364                         BELIZE CITY BELIZE
OSKAR ZOLLER                        FORSTSTR 70 A                                                        13467 BERLIN GERMANY
OSKAR‐GOTTFRIED HOFFMANN            HOHERODSKOPFSTR. 8                60435 FRANKFURT/MAIN
OSKAR‐GOTTFRIED HOFFMANN            HOHERODSKOPFSTR 8                                                    60435 FRANKFURT/MAIN
                                                                                                         GERMANY
OSKER LEE                           2123 BENJAMIN ST                                                                               SAGINAW       MI    48602‐5602
OSKER WILLIAMS                      2437 MCLARAN AVE                                                                               SAINT LOUIS   MO    63136‐2678
OSKERA, ROBERT                      16137 W LATHAM ST                                                                              GOODYEAR      AZ    85338‐2743
OSKEY BROTHERS CONSTRUCTION COINC   5240 GREEB MEADOWS RD                                                                          GRAND BLANC   MI    48439‐9551

OSKEY JR, ERMIL M                   6570 LANDIS RD                                                                                 BROOKVILLE    OH    45309‐8212
OSKEY JR, ERMIL MORRIS              6570 LANDIS RD                                                                                 BROOKVILLE    OH    45309‐8212
OSKEY TRACEY                        3581 MARQUETTE ST                                                                              DECKERVILLE   MI    48427
OSKEY, BEATRICE G                   7390 BREWER RD                                                                                 FLINT         MI    48507‐4614
OSKEY, CAMIELLE L                   5186 CORTLAND DR                                                                               FLINT         MI    48507‐4507
OSKI, GAIL M                        196 LE GRAND CT                                                                                WHITE LAKE    MI    48383‐2623
OSKI, MICHAEL J                     2114 OAKDALE DR                                                                                WATERFORD     MI    48329‐3858
OSKIAN, AHARON                      107 ROBIN CT                                                                                   COLUMBIA      TN    38401‐5572
OSKIAN, MANASEL                     107 ROBIN CT                                                                                   COLUMBIA      TN    38401‐5572
OSKO, JOSEPH                        1810 MAPLE RD                                                                                  KIMBALL       MI    48074‐2625
OSL SETTLEMENT OUI                  AEC INC C\O RANDY C SMITH         30 PURGATORY RD                                              MONT VERNON   NH    03057
OSL\SRS GENERATORS                  OSL SITE PRP\AM ENVIR CONSULT     30 PURATORY RD                                               MONT VERNON   NH    03057
OSL\SRS GENERATORS                  SRSNE SITE PRP\AMER ENV CONSUL    30 PURGATORY RD                                              MONT VERNON   NH    03057
OSL\SRS JOINT DEFENSE GROUP         C\O AMER ENVIRON CONSULTANTS      30 PURGATORY RD                                              MONT VERNON   NH    03057
OSLAND, DARRELL D                   7074 OLD ENGLISH RD                                                                            LOCKPORT      NY    14094‐5410
OSLAND, JANET L.                    16 KING ST                                                                                     LOCKPORT      NY    14094‐4108
OSLER MC BRIDE                      50478 NAGY CT                                                                                  MACOMB        MI    48044‐1363
OSLER, HOSKIN & HARCOURT            1 FIRST CANADIAN PLACE                                               TORONTO CANADA ON
                                                                                                         M5X 1B8 CANADA
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Name                              Address1                             Address2                         Address3                  Address4               City               State Zip
OSLER, HOSKIN & HARCOURT          1 CANADIAN PLACE                     61ST FLOOR, BOX 50                                         TORONTO ON M5X 1B8
                                                                                                                                  CANADA
OSLER, HOSKIN & HARCOURT LLP      BOX 50 1 FIRST CANADIAN PLACE                                                                   TORONTO ON M5X 1B1
                                                                                                                                  CANADA
OSLER, HOSKIN & HARCOURT LLP      FINANCE & ACCOUNTING DEPT            PO BOX 50                        1 FIRST CANADIAN          TORONTO CANADA ON
                                                                                                                                  M5X 1B8 CANADA
OSLER, HOSKIN & HARCOURT LLP      ATTN: TRACY C SANDLER, ESQ.          100 KING STREET WEST             1 FIRST CANADIAN PLACE,   TORONTO, ONTARIO M5X
                                                                                                        SUITE 6100                1B8
OSLER, HOSKIN & HARCOURT, LLP     MARK TRACHUK                         BOX 50 STN 1ST CAN PLACE                                   TORONTO ON M5X 1B8
                                                                                                                                  CANADA
OSLER, HOSKIN AND HARCOURT        MARK TRACHUK                         BOX 50, 1 FIRST CANADIAN PLACE                             TORONTO ON MX5 1B8
                                                                                                                                  CANADA
OSLER, HOSKIN AND HARCOURT, LLP   MARK TRACHUK                         BOX 50 STN 1ST CAN PLACE                                   TORONTO ON M5X 1B8
                                                                                                                                  CANADA
OSLER, HOSKIN HARCOURT            100 KING STREET WEST                 1 FIRST CANADIAN PLACE, SUITE    P.O. BOX 50               TORONTO, ONTARIO M5X
                                                                       6100                                                       1B8 CANADA
OSLEY, ALICE P                    1621 ANOCHE GLN                                                                                                        ESCONDIDO          CA    92026
OSLEY, DAVID                      N2499 BLACKBERRY RD                                                                                                    MELROSE            WI    54642‐8203
OSLEY, MARY A                     19150 ROBSON STREET                                                                                                    DETROIT            MI    48235‐1949
OSLEY, ROSEMARY                   319 W WILSON AVE                                                                                                       PONTIAC            MI    48341‐2472
OSLIN, DANIEL E                   8105 PARSHALLVILLE RD.                                                                                                 FENTON             MI    48430‐8430
OSLIN, TERRY J                    6430 LAKE MICHIGAN RD                                                                                                  HONOR              MI    49640‐9514
OSLOWSKI, STANLEY J               715 SUMMIT ST                                                                                                          GLASSPORT          PA    15045‐1246
OSLUND GUNNARD                    1806 DAIRY LN 40                                                                                                       GRAND HAVEN        MI    49417
OSLUND, MICHELE S                 PO BOX 179                                                                                                             GALLATIN GATEWAY   MT    59730‐0179
OSMAK, ANGELA E                   7550 POLK ST                                                                                                           TAYLOR             MI    48180‐2552
OSMAK, DOUGLAS J                  50 GERALD AVE                                                                                                          CLAWSON            MI    48017‐1932
OSMAK, JAMES A                    7550 POLK ST                                                                                                           TAYLOR             MI    48180‐2552
OSMAK, PHILIP                     DEARIE & ASSOCS JOHN C               3265 JOHNSON AVE                                                                  RIVERDALE          NY    10463
OSMAK, ROBERT J                   1955 CLUB HOUSE DR                                                                                                     HARBOR SPRINGS     MI    49740‐8729
OSMAN AKAD
OSMAN ALPAY ANKARA                MESA KORU SITESI SARICAM SOK         11‐A CAYYOLU                                                                       06530 ANKARA            06530
OSMAN ALTAN                       UNIT 78C                             1920 KLINGENSMITH ROAD                                                            BLOOMFIELD         MI    48302‐0261
OSMAN BRUMMELL                    735 SIMONEAU ST                                                                                                        SAGINAW            MI    48601‐2313
OSMAN HABIB                       5150 BANTRY DR                                                                                                         WEST BLOOMFIELD    MI    48322‐1532
OSMAN JR, MARSHA F                6030 DEERFIELD ST                                                                                                      DAYTON             OH    45414‐2809
OSMAN STEVE                       7650 S MCCLINTOCK DR SUITE 103‐144                                                                                     TEMPE              AZ    85284
OSMAN, CHRISTINA                  6820 HOUSTON RD                                                                                                        LOWELLVILLE        OH    44436‐9544
OSMAN, DRUCILLA J                 1908 PATTERSON RD                                                                                                      DAYTON             OH    45420‐3027
OSMAN, EVELYN G                   3138 VILLAS DR S                                                                                                       KOKOMO             IN    46901‐7061
OSMAN, IMOGENE C                  3704 FLYING GULCH DR                                                                                                   HOLT               MI    48842‐9584
OSMAN, JAMES H                    3073 N STEWART RD                                                                                                      CHARLOTTE          MI    48813‐9737
OSMAN, JAMES HAROLD               3073 N STEWART RD                                                                                                      CHARLOTTE          MI    48813‐9737
OSMAN, JAMES P                    8000 EL MANOR AVE                                                                                                      WESTCHESTER        CA    90045‐1434
OSMAN, JILL M                     1890 S 820 W                                                                                                           RUSSIAVILLE        IN    46979‐9731
OSMAN, KENNETH B                  13616 KENYON RD                                                                                                        GRAND LEDGE        MI    48837‐9733
OSMAN, MARILYN S                  207 EAST AVE                                                                                                           EAST ROCHESTER     NY    14445‐1505
OSMAN, MARY D                     462 W MAIN ST,                                                                                                         GRAND LEDGE        MI    48837‐1040
OSMAN, MARY D                     462 W MAIN ST                                                                                                          GRAND LEDGE        MI    48837‐1040
OSMAN, PATRICIA E.                3116 LAMPLIGHTER LN                                                                                                    KOKOMO             IN    46902‐8127
OSMAN, REFIKA                     4330 44TH ST APT 2A                                                                                                    SUNNYSIDE          NY    11104‐4651
OSMAN, REFIKA                     43‐30 44TH ST #2A                                                                                                      SUNNYSIDE          NY    11104‐4651
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Name                             Address1                          Address2            Address3         Address4         City               State Zip
OSMAN, ROBERT E                  462 W MAIN ST                                                                           GRAND LEDGE         MI 48837‐1040
OSMAN, WILFRED D                 3704 FLYING GULCH DR                                                                    HOLT                MI 48842‐9584
OSMAN, WILLIAM R                 4541 SHENANDOAH AVE                                                                     ALLEN PARK          MI 48101‐3131
OSMANSKI, DIANE L                1706 4TH AVE E                                                                          WEST FARGO          ND 58078‐2345
OSMANSON, ROBERT D               7673 N 9TH ST                                                                           FRESNO              CA 93720‐2629
OSMAR TAVARES                    140 ROBERTS LN                                                                          YONKERS             NY 10701‐1532
OSMENT, PORTIA M                 3335 ABBEY LN                                                                           PALMDALE            CA 93551‐3595
OSMER HAWLEY                     4495 CALKINS RD APT 334                                                                 FLINT               MI 48532‐3578
OSMER SUSAN                      530 ACUFF RD                                                                            GURLEY              AL 35748‐9704
OSMER, HAROLD J                  2881 CROCKERY SHORES RD                                                                 CASNOVIA            MI 49318‐9518
OSMER, WILLIAM
OSMIALOWSKI, NORMA               8130 SUZANNE ST                                                                         DETROIT            MI   48234‐3338
OSMON RONALD                     126 STATE ROUTE 94                                                                      BLAIRSTOWN         NJ   07825‐2210
OSMON, CAROL A                   30 JAMES ST, LOWER APT                                                                  TONAWANDA          NY   14150
OSMON, CO‐ANN E                  1596 WARREN AVE                                                                         NILES              OH   44446‐1189
OSMON, DANNY W                   3202 EASTGATE ST                                                                        BURTON             MI   48519‐1555
OSMON, DOUGLAS J                 1596 WARREN AVE                                                                         NILES              OH   44446‐1189
OSMON, ELIJAH L                  223 WILMINGTON AVE                                                                      TONAWANDA          NY   14150
OSMON, MATTIE N                  5162 DORTCH DR                                                                          BURTON             MI   48519‐1224
OSMON, MICHAEL J                 3325 STARKWEATHER ST                                                                    FLINT              MI   48506‐2615
OSMON, RITA A                    2275 N VASSAR RD                                                                        BURTON             MI   48509‐1382
OSMOND LARRY                     1594 AUSTIN AVE                                                                         IDAHO FALLS        ID   83404‐5580
OSMOND SANDFORD                  633 ARCADE ST APT 1                                                                     GLADWIN            MI   48624
OSMOND SMITH                     10036 WILKINSON RD                                                                      OVID               MI   48866‐9500
OSMOND, DENNIS D                 4400 FEHN RD                                                                            HEMLOCK            MI   48626‐8603
OSMOND, FRANK H                  639 WILMOT ST                                                                           VASSAR             MI   48768‐1519
OSMOND, JERE L                   13 NORTH JOHN PAUL ROAD                                                                 MILTON             WI   53563‐1214
OSMOND, JOSEPH F                 1710 S CROSBY AVE                                                                       JANESVILLE         WI   53546‐5614
OSMOND, MARK W                   1700 HIGHLAND AVE                                                                       JANESVILLE         WI   53548‐2829
OSMOND, THOMAS F                 3005 HARRISON ST                                                                        SAGINAW            MI   48604‐2383
OSMOND, THOMAS J                 4113 S BELDING RD                                                                       JANESVILLE         WI   53546‐9571
OSMOSE HOLDINGS, INC.            MICHAEL NADIG                     980 ELLICOTT ST                                       BUFFALO            NY   14209‐2323
OSMULSKI ROBERT/MARIE OSMULSKI   ICO THE LANIER LAW FIRM PC        6810 FM 1960 WEST                                     HOUSTON            TX   77069
OSMULSKI, LARRY                  ICO THE LANIER LAW FIRM PC        6810 FM 1960 WEST                                     HOUSTON            TX   77069
OSMUM MILLS                      9260 OAKHILL RD                                                                         HOLLY              MI   48442‐8723
OSMUN, AARON C                   5220 MAYBEE RD                                                                          CLARKSTON          MI   48346‐4122
OSMUN, BENNY J                   5930 BIRCH RUN RD                                                                       MILLINGTON         MI   48746‐9738
OSMUN, FREDERICK F               2421 MEADOWBROOK LN                                                                     CLIO               MI   48420‐1988
OSMUN, GAIL E                    5220 MAYBEE RD                                                                          CLARKSTON          MI   48346‐4122
OSMUN, GORDON E                  7044 CASCADE RD SE                                                                      GRAND RAPIDS       MI   49546‐7305
OSMUN, JOHN F                    1442 LYLE ST                                                                            BURTON             MI   48509‐1641
OSMUN, JOHN FREDERICK            1442 LYLE ST                                                                            BURTON             MI   48509‐1641
OSMUN, ROGER D                   7468 W 5 MILE RD                                                                        GRAYLING           MI   49738‐8073
OSMUN, WILLIAM GERALD            1442 LYLE ST                                                                            BURTON             MI   48509‐1641
OSMUNDO ALFARO JR                7435 SAINT AUBURN DR                                                                    BLOOMFIELD HILLS   MI   48301‐3714
OSMUNDO MOLANO                   7012 N BRAY RD                                                                          MOUNT MORRIS       MI   48458‐8988
OSMUNDSON, DALE C                3102 MONTANA AVE                                                                        FLINT              MI   48506‐2540
OSMUNDSON, ROY J                 1712 PETERSON AVE                                                                       JANESVILLE         WI   53548‐1541
OSNER, DAVID C                   4500 PENHURST PLACE                                                                     DAYTON             OH   45424‐5826
OSNER, MARCELLUS A               817 W TURTLECREEK UNION RD                                                              LEBANON            OH   45036‐9230
OSNER, ROBERT G                  579 WYNDCLIFT CIR                                                                       AUSTINTOWN         OH   44515‐4365
OSNER, TIMOTHY M                 7228 PRINCETON RD                                                                       LIBERTY TOWNSHIP   OH   45044‐9793
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Name                      Address1                             Address2                        Address3         Address4             City                State Zip
OSO TRADITION SP          C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT             2 RAFFLES LINK   MARINA BAYFRONT
                          LIMITED                                                                               SINGAPORE 039392
OSOLNICK, FRANCIS J       1304 BARKSDALE DR NE                                                                                       LEESBURG             VA   20176‐4904
OSON, ANTHONY A           4293 DEXEL DR                                                                                              BURTON               MI   48519‐1119
OSON, MARC A              5384 LAMP LIGHTER LN                                                                                       FLUSHING             MI   48433‐2458
OSON, MARC ANTHONY        5384 LAMP LIGHTER LN                                                                                       FLUSHING             MI   48433‐2458
OSONTOSKI, CHARLES A      504 WARREN AVE                                                                                             FLUSHING             MI   48433‐1462
OSORIA, PEDRO             8125 S KOLMAR AVE                                                                                          CHICAGO              IL   60652‐2013
OSORIA, PEDRO             8125 SOUTH KOLMAR AVENUE                                                                                   CHICAGO              IL   60652‐2013
OSORIO, JIMMY
OSORIO, JORGE G           PO BOX 451958                                                                                              FT LAUDERDALE       FL    33345‐1958
OSORIO, MARIA             1430 THIERIOT AVE #2‐E,                                                                                    BRONX               NY    10472
OSORIO, MARIO             9601 FONTAINEBLEAU BLVD APT 205                                                                            MIAMI               FL    33172‐6851
OSORIO, RAFAEL G          1975 S ICE BEAR WAY                                                                                        MERIDIAN            ID    83642‐8134
OSORIO, RAFAEL G          1734 FOREST LAKES CIR APT D                                                                                WEST PALM BEACH     FL    33406
OSORIO, RAUL              1430 THIERIOT AVE APT 2E                                                                                   BRONX               NY    10460‐3803
OSORIO‐TIRADO, LUIS J     2840 LEXINGTON CT                                                                                          OVIEDO              FL    32765‐8465
OSOSKI, AARON S           2185 ROLLINS ST                                                                                            GRAND BLANC         MI    48439‐4358
OSOSKI, AARON S.          2185 ROLLINS ST                                                                                            GRAND BLANC         MI    48439‐4358
OSOSKI, CATHY L           1775 WILDER RD                                                                                             BAY CITY            MI    48706‐9207
OSOSKI, CYNTHIA D         3225 COLORADO AVE                                                                                          FLINT               MI    48506‐2531
OSOSKI, DONALD L          354 BROWNING AVE                                                                                           FLINT               MI    48507‐2621
OSOSKI, EDWARD P          273 S EAGLE ST                                                                                             TERRYVILLE          CT    06786‐6109
OSOSKI, ERVIN             2909 HYDE PARK                                                                                             BAY CITY            MI    48706‐1574
OSOSKI, FRANK L           87 LINCOLN ST                                                                                              MOUNT CLEMENS       MI    48043‐5537
OSOSKI, JACK C            2929 WINTERSET RD                                                                                          LAS CRUCES          NM    88005‐4694
OSOSKI, KEVIN J           6464 W 1000 N                                                                                              HUNTINGTON          IN    46750‐9748
OSOSKI, LAWRENCE F        3870 WHEELER RD                                                                                            STANDISH            MI    48658
OSOSKI, MARLENE I         4436 SUNSET BLVD                                                                                           GRAND BLANC         MI    48439‐9055
OSOSKI, MARY K            1110 S SHERIDAN ST                                                                                         BAY CITY            MI    48708‐8035
OSOSKI, PAUL L            4436 SUNSET BLVD                                                                                           GRAND BLANC         MI    48439‐9055
OSOSKI, ROBERT L          32262 GLEN ST                                                                                              WESTLAND            MI    48186‐4916
OSOSKI, ROGER E           1110 S SHERIDAN ST                                                                                         BAY CITY            MI    48708‐8035
OSOSKI, STELLA D          29 RANDOLPH AVE                                                                                            THOMASTON           CT    06787‐1531
OSOSKI, THOMAS L          7239 TIMBERWOOD DR                                                                                         DAVISON             MI    48423‐9581
OSOSKI, THOMAS LLOYD      7239 TIMBERWOOD DR                                                                                         DAVISON             MI    48423‐9581
OSOSKI, WAYNE R           1775 WILDER RD                                                                                             BAY CITY            MI    48706‐9207
OSOSKY, EVELYN L          19354 ACORN LN                                                                                             CLINTON TOWNSHIP    MI    48038‐4989
OSOWIECKI, HENRY J        17 RENWICK AVE                                                                                             STATEN ISLAND       NY    10301‐4215
OSOWSKI EUGENE (663702)   COONEY & CONWAY                    120 NORTH LASALLE STREET , 30TH                                         CHICAGO              IL   60602
                                                             FLOOR
OSOWSKI, ELEANOR T        17837 POINTE CIR                                                                                           CLINTON TWP          MI 48038‐4839
OSOWSKI, EUGENE           COONEY & CONWAY                    120 NORTH LASALLE STREET, 30TH                                          CHICAGO              IL 60602
                                                             FLOOR
OSOWSKI, FRANK M          PO BOX 194                                                                                                 MAYVILLE             MI   48744‐0194
OSOWSKI, FRANK MICHAEL    PO BOX 194                                                                                                 MAYVILLE             MI   48744‐0194
OSOWSKI, KYLE M           5098 MOCERI LN                                                                                             GRAND BLANC          MI   48439‐4307
OSOWSKI, LEO W            5545 S KOMENSKY AVE                                                                                        CHICAGO              IL   60629‐4415
OSOWSKI, ROBERT A         28690 OLD NORTH RIVER RD                                                                                   HARRISON TOWNSHIP    MI   48045‐1619
OSOWSKI, STANLEY D        5372 N GEORGETOWN RD                                                                                       GRAND BLANC          MI   48439‐8773
OSPALSKI, DAWN M          18205 MANORWOOD CIRCLE             APT 712                                                                 CLINTON TOWNSHIP     MI   48038
OSPINA NELSON (499364)    LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                                 MIAMI                FL   33143‐5163
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OSPINA, DANIEL
OSPINA, NELSON                      LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                        MIAMI              FL   33143‐5163
OSPINA, NELSON                      C/O THE LIPMAN LAW FIRM           5915 PONCE DE LEON BLVD         SUITE 44                                       CORAL GABLES       FL   33146
OSPINA, RAUL                        3135 W STONYBROOK DR                                                                                             ANAHEIM            CA   92804‐3107
OSPREY SA LTD                       305 E MAIN ST                                                                                                    BRIGHTON           MI   48116‐1613
OSRAM CANADA LIMITED                2001 DREW ROAD                                                                          MISSISSAUGA ON L5S 1S4
                                                                                                                            CANADA
OSRAM GMBH                          HELLABRUNNER STR 1                                                                      MUENCHEN BY 81543
                                                                                                                            GERMANY
OSRAM SYLVANIA INC                  100 ENDICOTT ST                                                                                                  DANVERS           MA    01923‐3781
OSRAM SYLVANIA INC                  275 W MAIN ST                                                                                                    HILLSBOROUGH      NH    03244‐5233
OSRAM SYLVANIA INC.                 TOM IZBICKI                       275 WEST MAIN STREET                                                           ELIZABETHTOWN     NC    28337
OSRAM SYLVANIA/NH                   275 W MAIN ST                                                                                                    HILLSBORO         NH    03244‐5233
OSRENE FERGUSON                     16170 HARTWELL ST                                                                                                DETROIT           MI    48235‐4236
OSRETKAR, FRANK C                   1809 TARLTON AVE                                                                                                 CLEVELAND         OH    44109‐3423
OSRETKAR, KELLY L                   1809 TARLTON AVE                                                                                                 CLEVELAND         OH    44109‐3423
OSROE ARNOLD                        5901 EDWARDS AVE                                                                                                 FLINT             MI    48505‐5161
OSROW PRINCE                        PO BOX 278                                                                                                       WINDFALL          IN    46076‐0278
OSS, MARY A                         3340 BERKSHIRE                                                                                                   BLOOMFIELD        MI    48301
OSSANNA, ALFRED L                   11040 BLACKWOOD DR                                                                                               NEW PORT RICHEY   FL    34654‐1906
OSSEGE, RONALD F                    203 N SMITH ST                                                                                                   NEW CARLISLE      OH    45344‐1741
OSSELAER, JACK BARY                 2334 E 35TH ST                                                                                                   ANDERSON          IN    46013‐2203
OSSELAER, JOHN M                    908 MAPLEWOOD AVE                                                                                                ANDERSON          IN    46012‐3033
OSSELAER, SARAH A                   5804 INVERLITH CIRCLE                                                                                            FORT WAYNE        IN    46814‐7570
OSSELLO, SHARON K                   12285 W CONNECTICUT DR                                                                                           LAKEWOOD          CO    80228‐3632
OSSENKOP SCOT                       21063 MCKELVIE RD                                                                                                ALVO              NE    68304‐1710
OSSIAN PLANT                        SHAWN BREWER X1465                1200 BAKER DR                   TI GROUP AUTOMOTIVE                            OSSIAN            IN    46777‐9106
                                                                                                      SYSTEMS
OSSIAN PLANT                        SHAWN BREWER X1465                TI GROUP AUTOMOTIVE SYSTEMS     1200 BAKER DRIVE                               BOWLING GREEN     KY    42101
OSSIE AVERY                         423 LAWRENCE RD C ‐ 408                                                                                          TRENTON           NJ    08648
OSSIE B MCFERRIN                    4211 E LABADIE AVE                                                                                               SAINT LOUIS       MO    63115‐3213
OSSIE BARGER                        8001 OLD RICHMOND RD                                                                                             LEXINGTON         KY    40515‐9324
OSSIE BOLTON                        2617 CLEMENT ST                                                                                                  FLINT             MI    48504‐7311
OSSIE BRADLEY                       1705 SOUTHWEST BLVD SW                                                                                           WARREN            OH    44485‐3969
OSSIE BRANHAM                       1442 TERRAWENDA DR                                                                                               DEFIANCE          OH    43512‐3210
OSSIE HARRIS                        1510 W MOTT AVE                                                                                                  FLINT             MI    48505‐2528
OSSIE JACKSON                       3582 COLUMBIA PKWY                                                                                               DECATUR           GA    30034‐3349
OSSIE JONES                         1325 E JULIAH AVE                                                                                                FLINT             MI    48505‐1714
OSSIE L BOLTON                      2617 CLEMENT ST                                                                                                  FLINT             MI    48504‐7311
OSSIE L SNOW                        4555 DOGWOOD LN                                                                                                  SAGINAW           MI    48603‐1929
OSSIE LEWIS                         PO BOX 48302                                                                                                     OAK PARK          MI    48237‐5902
OSSIE MCFERRIN                      4211 E LABADIE AVE                                                                                               SAINT LOUIS       MO    63115‐3213
OSSIE MERRIWEATHER                  3101 N GLADSTONE AVE                                                                                             INDIANAPOLIS      IN    46218‐2265
OSSIE ODEN                          918 SE 36TH ST                                                                                                   MOORE             OK    73160‐7732
OSSIE SNOW                          4555 DOGWOOD LN                                                                                                  SAGINAW           MI    48603‐1929
OSSIE TURNER                        PO BOX 18112                                                                                                     SHREVEPORT        LA    71138‐1112
OSSIE WARNER                        3713 PREAKNESS DR                                                                                                DECATUR           GA    30034‐3343
OSSIE WHITTINGTON                   226 LAKESHIRE PKWY                                                                                               CANTON            MS    39046‐5326
OSSIG, PAUL H                       1518 WALTONVILLE RD                                                                                              MOUNT VERNON      IL    62864‐6013
OSSMAN ANN D (ESTATE OF) (635140)   ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                                       WILMINGTON        DE    19801‐1813
OSSMAN JIM (491266)                 BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                  NORTHFIELD        OH    44067
                                                                      PROFESSIONAL BLDG
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Name                                    Address1                       Address2                       Address3   Address4               City               State Zip
OSSMAN, ANN D                           ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                         WILMINGTON          DE 19801‐1813
OSSMAN, BARBARA A                       19975 APPOLINE                                                                                  DETROIT             MI 48235‐1118
OSSMAN, JEANNETTE B                     3183 ROLAND DR                                                                                  NEWFANE             NY 14108‐9720
OSSMAN, KENNETH L                       3505 ASBURY DR                                                                                  PARRISH             FL 34219‐9390
OSSMAN, TIMOTHY G                       3805 KENSINGTON AVE                                                                             DETROIT             MI 48224‐2725
OSSMAN, WARREN J                        8459 GREENLEAF DR                                                                               CINCINNATI          OH 45255‐5609
OSSMAN, WILLIAM F                       48005 BREWSTER CT                                                                               PLYMOUTH            MI 48170‐3351
OSSO ELECTRIC SUPPLIER INC              725 BLOOR STREET WEST                                                    OSHAWA CANADA ON L1J
                                                                                                                 5Y6 CANADA
OSSO ELECTRIC SUPPLIES INC
OSSO ELECTRIC SUPPLIES LIMITED          209 BLOOR ST E                                                           OSHAWA ON L1H 3M3
                                                                                                                 CANADA
OSSO JR, FRANK                          193 MCINTOSH CT                                                                                 RICHLAND           WA   99352‐8512
OSSO, LEONARD J                         122 FAIRBORN DR                                                                                 HAMILTON           OH   45013‐3522
OSSO, PATRICIA A                        609 WEST ST                                                                                     THREE RIVERS       MI   49093‐2360
OSSOWSKI, LEONARD J                     19931 KEATS CT                                                                                  MACOMB             MI   48044‐1744
OSSOWSKI, RICHARD                       PO BOX 334                                                                                      FLUSHING           MI   48433‐0334
OSSTYN, GAIL L                          8025 ELDORA BLVD                                                                                COMMERCE TWP       MI   48382‐4617
OSSTYN, TOM A                           2707 ORCHARD ST                                                                                 HALE               MI   48739‐9278
OSSTYN, TOM C                           8025 ELDORA BLVD                                                                                COMMERCE TWP       MI   48382‐4617
OSSWALD, BERNICE A                      3315 S 46TH ST                                                                                  GREENFIELD         WI   53219‐4825
OSSWALD, CHARLOTTE L                    3085 N SULPHUR SPRINGS RD                                                                       WEST ALEXANDRIA    OH   45381‐9605
OST LEO R (403026) ‐ OST LEO R          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510
                                                                       STREET, SUITE 600
OST, C F                                3015 BROWN RD                                                                                   LAKE ODESSA        MI 48849‐9605
OST, LEO R                              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510‐2212
                                                                       STREET, SUITE 600
OSTA, MURIEL G                          890 N FEDERAL HWY              HIDDEN HARBOR #502                                               LANTANA            FL   33462‐1848
OSTACH, JOSEPH J                        14807 PARK ST                                                                                   LIVONIA            MI   48154‐5156
OSTACH, THERESA I                       41560 HERITAGE CT                                                                               CANTON             MI   48188‐1234
OSTACOLI INNOCENZO (441178) ‐ KEILICH   WILENTZ GOLDMAN & SPITZER      88 PINE STREET , WALL STREET                                     NEW YORK           NY   10005
WALTER H                                                               PLAZA
OSTAHOWSKI, JAY M                       3515 SUTTON PL                                                                                  BLOOMFIELD HILLS   MI   48301‐2050
OSTANEK, JEAN F                         2250 GREEN RIDGE DR                                                                             WICKLIFFE          OH   44092‐2013
OSTAP MATSYUK                           30 W 56TH PL                                                                                    WESTMONT           IL   60559‐2305
OSTAP WDOWYCZYN                         29 OAKHURST DR                                                                                  ROCHESTER          NY   14617‐5423
OSTAPCHUK, THEODORE G                   7590 DEAN RD                                                                                    FENTON             MI   48430‐9044
OSTAPENKO, WILLIAM M                    2411 N QUEBEC ST                                                                                ARLINGTON          VA   22207‐5003
OSTAPIUK, IHOR W                        10 LARKWOOD DR                                                                                  ROCHESTER          NY   14626‐4265
OSTAPIUK, WILLIAM                       111 SETH LAND DR                                                                                ROCHESTER          NY   14617‐5325
OSTAPOWICZ, JILL                        11 HILLSIDE LN                                                                                  WALLINGFORD        CT   06492‐2225
OSTAPOWICZ, THEODORE V                  52 1/2 PARKER FARMS RD                                                                          WALLINGFORD        CT   06492‐2972
OSTARCHVIC BRIAN & JAN                  1446 E STATE ST                                                                                 SALEM              OH   44460‐2329
OSTARCHVIC JAN                          1446 E STATE ST                                                                                 SALEM              OH   44460‐2329
OSTARCHVIC, MARK W                      829 AETNA ST                                                                                    SALEM              OH   44460‐3854
OSTARCHVIC, WILLIAM N                   2056 E 11TH ST                                                                                  SALEM              OH   44460‐1840
OSTASH, ROBERT S                        2436 W GERMAN RD                                                                                BAY CITY           MI   48708
OSTASZEWSKI, GARY A                     48153 VIRGINIA DR                                                                               MACOMB             MI   48044‐4906
OSTASZEWSKI, RAYMOND F                  8142 E M‐48                                                                                     STALWART           MI   49736
OSTBY, BERNADETTE M                     117 S STATE ST                                                                                  ARGYLE             WI   53504
OSTBY, GARY B                           35736 DEARING DR                                                                                STERLING HTS       MI   48312‐3716
OSTBY, HOGNE                            102 COLONEL DUNOVANT CT                                                                         BLUFFTON           SC   29909‐4429
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Name                               Address1                           Address2                         Address3   Address4         City                 State Zip
OSTBY, NILS K                      9766 BURNING TREE DR                                                                            GRAND BLANC           MI 48439‐9568
OSTBY, STEVE B                     7150 WHITE OAK BLVD                                                                             MOUNT MORRIS          MI 48458‐9322
OSTDIEK, MARK R                    2645 CRABTREE AVE                                                                               WOODRIDGE              IL 60517‐2843
OSTDIEK, MARK RICHARD              2645 CRABTREE AVE                                                                               WOODRIDGE              IL 60517‐2843
OSTEEN BRITTANY                    OSTEEN, BRITTANY                   120 WEST MADISON STREET , 10TH                               CHICAGO                IL 60602
                                                                      FLOOR
OSTEEN JEFFERY                     PO BOX 358                                                                                      LAKELAND             GA 31635‐0353
OSTEEN JR, BEN                     8600 WARWICK ST                                                                                 DETROIT              MI 48228‐3033
OSTEEN, BRITTANY                   KROHN & MOSS ‐ FL                  120 WEST MADISON STREET, 10TH                                CHICAGO              IL 44114
                                                                      FLOOR
OSTEEN, JULIUS B                   16844 ROCKDALE ST                                                                               DETROIT              MI   48219‐3866
OSTEEN, JUNE C                     4238 DON FELIPE DR                                                                              LOS ANGELES          CA   90008‐4209
OSTELLA, LENA                      29 WALNUT ST                                                                                    MONTCLAIR            NJ   07042‐4911
OSTEMA, KATHLEEN                   5529 HAUGHEY S.W.                                                                               GRAND RAPIDS         MI   49548‐5779
OSTEMA, KATHLEEN                   5529 HAUGHEY AVE SW                                                                             GRAND RAPIDS         MI   49548‐5779
OSTEN, RENATA A                    4231 N 78 ST                                                                                    MILWAUKEE            WI   53222‐2029
OSTENDORF JOSEPH A SR (480098)     ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                   BALTIMORE            MD   21202
                                                                      CHARLES CENTER 22ND FLOOR
OSTENDORF, DAVID B                 16883 AUDRAIN ROAD 827                                                                          MEXICO               MO   65265‐7053
OSTENDORF, DIANE K                 6949 CROSS CREEK LANE                                                                           LIBERTY TWP          OH   45011‐6620
OSTENDORF, JANET E                 2121 EDELWEISS CT                                                                               DAYTON               OH   45459‐1307
OSTENDORF, JOSEPH A                ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                    BALTIMORE            MD   21202
                                                                      CHARLES CENTER 22ND FLOOR
OSTENDORF, LOUIS K                 7644 PYRMONT RD                                                                                 LEWISBURG            OH   45338‐9325
OSTENDORF, ROBERT J                211 EGE AVE                                                                                     JERSEY CITY          NJ   07304‐1412
OSTENDORF, VICKI A                 7644 PYRMONT RD                                                                                 LEWISBURG            OH   45338‐9325
OSTENFELD, SCOTT R                 155 HALLETTE DR                                                                                 SHREVEPORT           LA   71115‐2959
OSTEOGENESIS IMPERFECTA FOUNDATION 804 W DIAMOND AVE STE 210                                                                       GAITHERSBURG         MD   20878‐1414

OSTEOPATHIC MEDICAL BOARD OF       1300 NATIONAL DR STE 150                                                                        SACRAMENTO            CA 95834‐1991
CALIFORNIA
OSTER CHIRO CLINIC                 27101 HARPER AVE                                                                                SAINT CLAIR SHORES   MI   48081‐1917
OSTER, BARRY                       2775 RIVERSIDE DR                                                                               WANTAGH              NY   11793‐4634
OSTER, CHARLES A                   2907 HARDY PL                                                                                   ARLINGTON            TX   76010‐2410
OSTER, CHRISTINE O                 6911 ALDEN DR                                                                                   WEST BLOOMFIELD      MI   48324‐2015
OSTER, ELLEN                       345 E 86TH ST APT 7G                                                                            NEW YORK             NY   10028‐4749
OSTER, ELLIS F                     LA CASA GRANDE                     6400 TROUBLE CREEK RD M105                                   NEW PORT RICHEY      FL   34653
OSTER, HELEN M                     393 ENCHANTED DR                                                                                ANDERSON             IN   46013‐1072
OSTER, JAMES JAMIE                 GUY WILLIAM S                      PO BOX 509                                                   MCCOMB               MS   39649‐0509
OSTER, JAY C                       1013 BROADWAY ST                                                                                ANDERSON             IN   46012‐2525
OSTER, JEFFREY L                   639 REDBUD BLVD S                                                                               ANDERSON             IN   46013‐1173
OSTER, JOHN C                      35605 BRUSH ST                                                                                  WAYNE                MI   48184
OSTER, JOSEPH F                    33 HUXLEY WAY                                                                                   FAIRPORT             NY   14450‐3335
OSTER, KENNETH E                   10265 W EATON HWY                                                                               GRAND LEDGE          MI   48837‐9001
OSTER, KEVIN L                     3905 WALLWERTH DR                                                                               TOLEDO               OH   43612‐1128
OSTER, KEVIN LEE                   3905 WALLWERTH DR                                                                               TOLEDO               OH   43612‐1128
OSTER, LUDMILA                     2960 BETHEL CHURCH RD.APT.205                                                                   BETHEL PARK          PA   15102‐1679
OSTER, RICHARD JAMES               50356 LINCOLN DR 42C                                                                            PLYMOUTH             MI   48170
OSTER, ROBERT J                    12 EFNER DR                                                                                     HILTON               NY   14468‐1145
OSTERBECK SR, RICHARD H            4149 MANKE DR ROUTE 1                                                                           FAIRGROVE            MI   48733
OSTERBECK SR, RICHARD H            4149 MANKE DR ROUTE 1                                                                           FAIRGROVE            MI   48733
OSTERBERG, ANNETTE R               56 JASPER LN                                                                                    DAYTON               NV   89403
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Name                       Address1                      Address2            Address3         Address4         City                  State Zip
OSTERBERG, LARRY           1027 VETO ST NW                                                                     GRAND RAPIDS           MI 49504‐5401
OSTERBERG, MATTHEW W       815 THOMAS ST                                                                       FLUSHING               MI 48433‐1761
OSTERBERGER, ANNABELLE L   923 OXFORD MIDDLETOWN RD                                                            HAMILTON               OH 45013‐9726
OSTERBERGER, ANNABELLE L   923 OXFORD‐MIDDLETOWN RD                                                            HAMILTON               OH 45013‐9726
OSTERBERGER, DWAYNE L      3171 HARRIS RD                                                                      HAMILTON               OH 45013‐9690
OSTERBERGER, ROBERT        351 N COLE ST                                                                       INDIANAPOLIS           IN 46224‐8807
OSTERBERGER, WILLIAM J     2248 CASTLE PINES CT                                                                HAMILTON               OH 45013‐7006
OSTERBUR, NICOLE A         1805 APPLE RIDGE CT                                                                 ROCHESTER HILLS        MI 48306‐3206
OSTERBUR, STEFAN D         1805 APPLE RIDGE COURT                                                              ROCHESTER HLS          MI 48306‐3206
OSTERDAY, GILBERT F        148 CHAMPLAIN BLVD                                                                  HOWELL                 MI 48843‐6831
OSTERDAY, JEANETTE P       8366 SAINT FRANCIS CT                                                               DAYTON                 OH 45458‐2762
OSTERDAY, JOHN R           3114 LENOX DR                                                                       DAYTON                 OH 45429‐1461
OSTERDAY, TERESA M.        11923 NATIONAL RD                                                                   BROOKVILLE             OH 45309‐8757
OSTERDAY, THOMAS M         103 GUNCKEL AVE                                                                     DAYTON                 OH 45410‐1724
OSTERFELD, MICHAEL J       615 GRAY GOOSE CT                                                                   W CARROLLTON           OH 45449‐2220
OSTERHAGE, ALAN L          10433 DORVAL AVE                                                                    MIAMISBURG             OH 45342‐4814
OSTERHOFF, DANIEL J        15886 HICKORY RIDGE DR                                                              NORTHVILLE             MI 48168‐2013
OSTERHOFF, DOUGLAS A       2413 AVONDALE ST W                                                                  SYLVAN LAKE            MI 48320‐1603
OSTERHOFF, MICHAEL D       791 SADDLE CLUB LANE                                                                HOWELL                 MI 48843‐7195
OSTERHOLM, DENNIS P        1671 DENNETT LN                                                                     ROCHESTER HILLS        MI 48307‐3333
OSTERHOLT, DAVID W         16344 EDENWOOD DR                                                                   EDEN PRAIRIE           MN 55346‐3811
OSTERHOLZER, ANDREW D      9643 CYPRESS WAY                                                                    CARMEL                 IN 46032‐9287
OSTERHOUSE, SHERI L        10075 COLUMBIA HIGHWAY                                                              EATON RAPIDS           MI 48827‐8307
OSTERHOUSE, WILLIAM H      4910 BLUE LAKE RD NE                                                                KALKASKA               MI 49646
OSTERHOUT, ANN M           390 WOOD VINE TRL                                                                   HIGDEN                 AR 72067‐8368
OSTERHOUT, CAROL A.        3006 LAVENDER LANE                                                                  KILLEEN                TX 76549‐4937
OSTERHOUT, DAVID A         1625 DEAN DR NW                                                                     KALKASKA               MI 49646‐8437
OSTERHOUT, FRANKLIN D      PO BOX 74376                                                                        ROMULUS                MI 48174‐0376
OSTERHOUT, JACQUELINE I    2153 RIVER RD                                                                       KAWKAWLIN              MI 48631‐9409
OSTERHOUT, JAMES J         5436 MICHAEL RD                                                                     BAY CITY               MI 48706‐3004
OSTERHOUT, JOHN B          26400 WICK RD                                                                       TAYLOR                 MI 48180‐3013
OSTERHOUT, LARRY M         4435 RAINBOW LN                                                                     FLINT                  MI 48507‐6232
OSTERHOUT, RONNIE G        N7147 COUNTY ROAD H33                                                               GOULD CITY             MI 49838‐9048
OSTERHOUT, RONNIE GENE     N7147 COUNTY ROAD H33                                                               GOULD CITY             MI 49838‐9048
OSTERHOUT, ROY H           3487 BENMARK PL                                                                     FLINT                  MI 48506‐1945
OSTERKAMP, DALE F          45674 CIDER MILL RD                                                                 NOVI                   MI 48374‐3012
OSTERKAMP, DAVID S         3812 JOSLYN RD                                                                      ORION                  MI 48359‐1241
OSTERKAMP, HENRY F         4897 GEORGIA DR                                                                     ORION                  MI 48359‐2129
OSTERLAND, BERNARD H       4316 STARVILLE RD                                                                   CHINA                  MI 48054‐2319
OSTERLAND, GERALD P        7014 LINDSEY RD                                                                     CHINA                  MI 48054‐2300
OSTERLAND, GERALDINE       1213 W PLAINFIELD RD                                                                LA GRANGE HIGHLANDS     IL 60525‐3455
OSTERLAND, RICHARD P       458 S ELIZABETH ST                                                                  MARINE CITY            MI 48039‐3412
OSTERLOH, GEORGE F         9345 GEDDES RD                                                                      SAGINAW                MI 48609‐9207
OSTERLOH, MARY A           1948 HILL RD                                                                        WENTZVILLE             MO 63385‐2615
OSTERLOH, MARY ANN         1948 HILL RD                                                                        WENTZVILLE             MO 63385‐2615
OSTERLOH, RAINER           1948 HILL RD                                                                        WENTZVILLE             MO 63385‐2615
OSTERMAIR, MARLENE V       2141 GERARDO AVE                                                                    LADY LAKE              FL 32159‐9430
OSTERMAN JIM               4909 SE INTERNATIONAL WAY                                                           PORTLAND               OR 97222‐4601
OSTERMAN LAURA & SCOTT     243 SCOFIELD DR                                                                     MORAGA                 CA 94556‐1544
OSTERMAN LINDA LEE         OSTERMAN, LINDA LEE           2190 GATEWAY DR                                       FAIRBORN               OH 45324‐6356
OSTERMAN LINDA LEE         OSTERMAN, LINDA LEE           6909 E GREENWAY                                       SCOTTSDALE             AZ 85254
OSTERMAN, ARTHUR J         10325 FARRAND RD                                                                    MONTROSE               MI 48457‐9733
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Name                             Address1                          Address2                 Address3    Address4                 City              State Zip
OSTERMAN, CHARLES M              621 N BARNARD ST                                                                                HOWELL             MI 48843‐1602
OSTERMAN, CHRISTINE E            14422 SWANEE BEACH DR                                                                           FENTON             MI 48430‐1467
OSTERMAN, DAVID E                4977 MENOMINEE LN                                                                               CLARKSTON          MI 48348‐2276
OSTERMAN, DOUGLAS D              5639 INDIAN AVE                                                                                 SAN JOSE           CA 95123‐3238
OSTERMAN, DOUGLAS J              469 6TH ST                                                                                      CEDAR SPRINGS      MI 49319‐8495
OSTERMAN, HELEN E                6865 DIXIE HIGHWAY                                                                              BRIDGEPORT         MI 48722‐9759
OSTERMAN, HELEN E                6865 DIXIE HWY                                                                                  BRIDGEPORT         MI 48722‐9759
OSTERMAN, JAMES L                22943 AVALON ST                                                                                 ST CLAIR SHRS      MI 48080‐2480
OSTERMAN, JEANNINE               4309 TILLIE DR                                                                                  FLINT              MI 48504‐1036
OSTERMAN, LAWRENCE C             14422 SWANEE BEACH DR                                                                           FENTON             MI 48430‐1467
OSTERMAN, LINDA LEE              BROWN & ROWLAND                   2190 GATEWAY DR                                               FAIRBORN           OH 45324‐6356
OSTERMAN, LINDA LEE              SHUMWAY G LYNN LAW OFFICES        4647 N 32ND ST           STE 230                              PHOENIX            AZ 85018‐3347
OSTERMAN, MARGARET L             5639 INDIAN AVE                                                                                 SAN JOSE           CA 95123‐3238
OSTERMAN, RANDALL C              3502 W MOTT AVE                                                                                 FLINT              MI 48504‐6953
OSTERMAN, SANDRA G               3483 VILLAGE GREEN DRIVE                                                                        DAYTON             OH 45414
OSTERMAN, SHARON K               10287 FARRAND RD                                                                                MONTROSE           MI 48457‐9733
OSTERMAN, STEVE F                3204 STATE HIGHWAY M35                                                                          BARK RIVER         MI 49807‐9631
OSTERMAN, VIRGINIA L             209 HARBOR LNDG                                                                                 BRAIDWOOD           IL 60408‐1763
OSTERMANN, DOUGLAS R             11916 CHEROKEE LN                                                                               LEAWOOD            KS 66209‐1000
OSTERMEIER, EDITH S              7646 W. US 40                                                                                   CUMBERLAND         IN 46229
OSTERMILLER, MICHAEL R           8748 SOUTHRIDGE DR                                                                              HOWELL             MI 48843‐8014
╓STERREICHSCHISCHE
FORSCHUNGSF╓RDERUNGSGESELLSCHAFT
MBH
OSTERSPEY FRAUKE                 ALBRECHT‐ACHILLES‐STR54                                                10709 BERLIN GERMANY
OSTERTAG MARLIES                 HINTER DEN HOEFEN 9A                                                                            EGESTORF               21272
OSTERTAG WILHELM                 AN DEN WEIDEN 5                                                        60433 FRANKFURT/M
                                                                                                        GERMANY
OSTERTAG, PAUL F                 4039 WATERS LN                                                                                  GIBSONIA           PA 15044‐9303
OSTERTAG‐HOPPE MARLIES           HINTER DEN HOEFEN 9A                                                   21272 EGESTORF GERMANY
OSTERWYK, DONNA L.               14021 SQUAW LAKE DR                                                                             LINDEN             MI 48451‐9451
OSTES SIMONE                     AGEVIS GMBH                       ALTENHOF 1                           53804 MUCH GERMANY
OSTETRICO, GRAIG D               1454 GROVE AVE NW                                                                               WARREN            OH   44483‐3341
OSTGULEN, JEROME                 PO BOX 265                                                                                      HOWARD LAKE       MN   55349
OSTHEIMER, DAVID T               7226 SOUTHEASTERN AVE                                                                           INDIANAPOLIS      IN   46239‐1215
OSTHEIMER, FRANKLIN J            3205 FOX RD OFF HAYES                                                                           SANDUSKY          OH   44870
OSTHEIMER, HELEN A               PO BOX 1525                                                                                     POMPANO BEACH     FL   33061‐1525
OSTHEIMER, JERMEY
OSTHEIMER, KEITH R               PO BOX 313                                                                                      MILAN             OH   44846‐0313
OSTHEIMER, WILLIAM D             36146 ALLISON DR                                                                                STERLING HTS      MI   48310‐4601
OSTHOFF, DAVID P                 7639 NOTTINGHAM DR                                                                              TINLEY PARK       IL   60477‐1448
OSTHOFF, DAVID PAUL              7639 NOTTINGHAM DR                                                                              TINLEY PARK       IL   60477‐1448
OSTHOFF, GLENN R                 2786 REVERE MAIN NW                                                                             KENNESAW          GA   30144‐7383
OSTHOLTHOFF, CHARLES E           10501 MARGATE TER                                                                               CINCINNATI        OH   45241‐3148
OSTI ANTHONY J (492643)          PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                        PHILADELPHIA      PA   19103‐5446
OSTI GEORGE F (469562)           PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                        PHILADELPHIA      PA   19103‐5446
OSTI, ANTHONY J                  PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                        PHILADELPHIA      PA   19103‐5446
OSTI, GEORGE F                   PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                        PHILADELPHIA      PA   19103‐5446
OSTI, HENRY C                    6101 AQUA AVE APT 401                                                                           MIAMI BEACH       FL   33141
OSTIC, RICHARD                   23187 HAWTHORNE ST                                                                              FARMINGTON        MI   48336‐3332
OSTIN, MARK J                    30 GERALD AVE                                                                                   CLAWSON           MI   48017‐1932
OSTIN, PAUL J                    3412 INNSBROOK DR                                                                               ROCHESTER HILLS   MI   48309‐1221
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Name                                  Address1                       Address2                      Address3   Address4         City               State Zip
OSTING JAMES E (ESTATE OF) (498299)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
OSTING, JAMES E                       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
OSTING, LOIS J                        184 SCOTT DRIVE                                                                          ANDERSON           IN   46016‐5850
OSTING, LOIS J                        184 SCOTT DR                                                                             ANDERSON           IN   46016‐5850
OSTING, MITCHELL G                    825 W BLUELICK RD                                                                        LIMA               OH   45801‐1711
OSTIPOW, DAVID L                      7691 WINDOGA LAKE DR                                                                     WEIDMAN            MI   48893‐8207
OSTIPOW, DAVID LEE                    7691 WINDOGA LAKE DR                                                                     WEIDMAN            MI   48893‐8207
OSTIPOW, GERALD S                     3996 ALLAN RD                                                                            OWOSSO             MI   48867‐9635
OSTIPOW, GERALD STEPHE                3996 ALLAN RD                                                                            OWOSSO             MI   48867‐9635
OSTIPOW, JANIS L.                     8995 N FRIEGEL RD                                                                        HENDERSON          MI   48841
OSTIPOW, MICHAEL J                    4010 ALLAN RD                                                                            OWOSSO             MI   48867‐9636
OSTIPOW, WILLIAM J                    14585 SHARON RD                                                                          CHESANING          MI   48616‐9409
OSTLIE, ADELINE E                     2 MOUNTAINVIEW TER UNIT 4113                                                             DANBURY            CT   06810‐4183
OSTLUND AXEL                          PO BOX 989                                                                               GILLETTE           WY   82717‐0989
OSTLUND, VERA                         208 COLONIAL AVE                                                                         PORTAGE            MI   49002‐1418
OSTMAN, DALE W                        171 JUNO PL                                                                              RICE               MN   56367‐4402
OSTOS, FRANK C                        735 N SPARKS ST                                                                          BURBANK            CA   91506‐1637
OSTOSH, PATRICIA                      22700 BAYVIEW                                                                            ST CLAIR SHORES    MI   48081
OSTOVICH, PETE                        1332 HIGH RD                                                                             JEFFERSON HILLS    PA   15025‐3526
OSTRAM, EDWARD W                      3221 MILLS ACRES ST                                                                      FLINT              MI   48506‐2130
OSTRAM, KAY H                         3061 COLTON RIDGE DR                                                                     LANCASTER          SC   29720
OSTRAM, KAY HAZEL                     3061 COLTON RIDGE                                                                        LANCASTER          SC   29720‐7897
OSTRAM, MONICA M                      3221 MILLS ACRES                                                                         FLINT              MI   48506‐2130
OSTRAM, ROBERT E                      3061 COLTON RIDGE                                                                        LANCASTER          SC   29720‐7897
OSTRAM, RONALD E                      3221 MILLS ACRES ST                                                                      FLINT              MI   48506‐2130
OSTRAM, RONALD EDWARD                 3221 MILLS ACRES ST                                                                      FLINT              MI   48506‐2130
OSTRAND, BARBARA K                    518 W RIVER CT                                                                           GLADWIN            MI   48624‐9726
OSTRAND, JAMES C                      26490 32 MILE RD                                                                         LENOX              MI   48050‐1440
OSTRAND, JANICE K                     31910 HARPER AVENUE                                                                      ST CLR SHORES      MI   48082‐1450
OSTRAND, JIM T                        34510 COASTAL DR                                                                         STERLING HEIGHTS   MI   48310‐5562
OSTRAND, JOHN W                       4500 HILLSBORO ROAD                                                                      DAVISBURG          MI   48350‐3811
OSTRANDER DANIEL E SR (626694)        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                     STREET, SUITE 600
OSTRANDER JANA                        OSTRANDER, CONNER              4809 COLE AVE STE 212                                     DALLAS             TX   75205‐5598
OSTRANDER JANA                        OSTRANDER, CORDELL             4809 COLE AVE STE 212                                     DALLAS             TX   75205‐5598
OSTRANDER JANA                        OSTRANDER, DUNCAN              4809 COLE AVE STE 212                                     DALLAS             TX   75205‐5598
OSTRANDER JANA                        OSTRANDER, JANA                4809 COLE AVE STE 212                                     DALLAS             TX   75205‐5598
OSTRANDER JANA                        OSTRANDER, KENNITH             4809 COLE AVE STE 212                                     DALLAS             TX   75205‐5598
OSTRANDER JANA                        SCATES, KRISTIN                4809 COLE AVE STE 212                                     DALLAS             TX   75205‐5598
OSTRANDER JANA                        SCATES, MELISSA                4809 COLE AVE STE 212                                     DALLAS             TX   75205‐5598
OSTRANDER JR, GERALD L                9160 E POTTER RD                                                                         DAVISON            MI   48423‐8111
OSTRANDER JR, RICHARD D               24760 GLENDA ST                                                                          NOVI               MI   48375‐2210
OSTRANDER JR, RICHARD DARE            24760 GLENDA ST                                                                          NOVI               MI   48375‐2210
OSTRANDER ROBERT                      2553 LYDIUN STREET                                                                       SCHENECTADY        NY   12303
OSTRANDER, ALLEN K                    1525 POSSUM TRACK RD                                                                     ALGER              MI   48610‐9331
OSTRANDER, AUDREY                     6096 PRINCESS ST                                                                         TAYLOR             MI   48180‐1083
OSTRANDER, BARBARA A                  2680 ORCHARD AVE SE                                                                      WARREN             OH   44484‐3230
OSTRANDER, BENJAMIN W                 7704 GARY RD                                                                             CHESANING          MI   48616‐9453
OSTRANDER, BRIAN
OSTRANDER, CATHERINE A                2171 PRAIRIE VW                                                                          GRAND BLANC        MI 48439‐8097
                             09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                         Address1                         Address2                      Address3   Address4         City               State Zip
OSTRANDER, CATHY             2837 E SALZBURG ROAD                                                                       BAY CITY            MI 48706
OSTRANDER, CECELIA S         205 MILL OAKS LN                                                                           HOLLY               MI 48442‐8999
OSTRANDER, CHARLES B         10203 LAKESHORE DR                                                                         EVART               MI 49631‐9639
OSTRANDER, CHLOIE A          2771 SWAFFER RD                                                                            MILLINGTON          MI 48746
OSTRANDER, CLARENCE          505 S CHAPMAN ST                                                                           CHESANING           MI 48616‐1371
OSTRANDER, CONNER            MCELROY B THOMAS                 3333 LEE PKWY STE 600                                     DALLAS              TX 75219‐5117
OSTRANDER, CORDELL           MCELROY B THOMAS                 3333 LEE PKWY                 STE 600                     DALLAS              TX 75219‐5117
OSTRANDER, DANIEL E          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                              STREET, SUITE 600
OSTRANDER, DANNY R           NO ADDRESS
OSTRANDER, DAVID K           4712 BRUNK DR                                                                              OTTER LAKE         MI   48464‐9755
OSTRANDER, DEBORAH J         1214 GREENWOOD AVE                                                                         LANSING            MI   48915‐1543
OSTRANDER, DENNIS D          5824 W SR 44                                                                               LAKE PANASOFFKEE   FL   33538
OSTRANDER, DEVERE D          1241 CARMAN ST                                                                             BURTON             MI   48529‐1119
OSTRANDER, DONALD E          183 DOUBLE EAGLE RD                                                                        BURGAW             NC   28425‐8561
OSTRANDER, DONALD L          14582 BLUE SKIES ST                                                                        LIVONIA            MI   48154‐4966
OSTRANDER, DORANCE C         10209 LAKE RD                                                                              OTISVILLE          MI   48463‐9714
OSTRANDER, DOROTHY M         12139 YALE ROAD                                                                            BROCKWAY           MI   48097‐2713
OSTRANDER, DOUGLAS D         10375 DAVISON RD                                                                           DAVISON            MI   48423‐1230
OSTRANDER, DOUGLAS DUANE     10375 DAVISON RD                                                                           DAVISON            MI   48423‐1230
OSTRANDER, DOUGLAS S         11418 LA SALLE ST                                                                          BROCKWAY           MI   48097‐2939
OSTRANDER, DOUGLAS STEWART   11418 LA SALLE ST                                                                          BROCKWAY           MI   48097‐2939
OSTRANDER, DUANE E           4648 HUNTERS CREEK RD                                                                      ATTICA             MI   48412‐9762
OSTRANDER, DUNCAN            MCELROY B THOMAS                 4809 COLE AVE STE 212                                     DALLAS             TX   75205‐5598
OSTRANDER, EARL D            PO BOX 694                                                                                 BIRCH RUN          MI   48415‐0694
OSTRANDER, ELIZABETH         115 LINCOLN AVE E                                                                          CRANFORD           NJ   07016‐2820
OSTRANDER, ELIZABETH         3110 46TH ST                                                                               MOLINE             IL   61265‐5632
OSTRANDER, EMILIE R          4888 WORTH ST                                                                              MILLINGTON         MI   48746‐9504
OSTRANDER, EMILIE R          4888 WORTH STREET                                                                          MILLINGTON         MI   48746‐9504
OSTRANDER, GARY L            412 BONNIE BRAE AVE SE                                                                     WARREN             OH   44484‐4207
OSTRANDER, GARY R            19075 PURLINGBROOK ST                                                                      LIVONIA            MI   48152‐3317
OSTRANDER, GERTRUDE L        112 W ARBOR VIEW DR                                                                        SPRING ARBOR       MI   49283‐9633
OSTRANDER, GORDON B          1298 RAE ST                                                                                MOUNT MORRIS       MI   48458‐1751
OSTRANDER, GORDON BRUCE      1298 RAE ST                                                                                MOUNT MORRIS       MI   48458‐1751
OSTRANDER, HARVEY G          16553 PORTER RD                                                                            DEFIANCE           OH   43512‐8945
OSTRANDER, HELEN G           8995 BONNET WAY                                                                            WEEKI WACHEE       FL   34613
OSTRANDER, ILAH R            8611 KOKOSING RD 7                                                                         LONG LAKE          MI   48743
OSTRANDER, IRENE B           5717 HILLIARD RD                                                                           LANSING            MI   48911‐4924
OSTRANDER, JAMES             C/O PATTI J OSTRANDER            4621 CAMBERWELL CIRCLE                                    CLARENCE           NY   14031
OSTRANDER, JAMES             4621 CAMBERWELL CIR              C/O PATTI J OSTRANDER                                     CLARENCE           NY   14031‐2515
OSTRANDER, JAMES C           4550 FOREST ST                   P.O. BOX 62                                               LEONARD            MI   48367‐1931
OSTRANDER, JAMES H           778 4TH AVE                                                                                PONTIAC            MI   48340‐2028
OSTRANDER, JAMES L           1448 STINSON ST                                                                            OWOSSO             MI   48867‐1458
OSTRANDER, JANA              MCELROY B THOMAS                 3333 LEE PKWY STE 600                                     DALLAS             TX   75219‐5117
OSTRANDER, JANA J            6791 FOX RD                                                                                LUBBOCK            TX   79407‐8011
OSTRANDER, JANA M            1578 IRONWOOD DRIVE                                                                        ADRIAN             MI   49221‐9118
OSTRANDER, JANET K           14670 MERRILL RD                                                                           ELSIE              MI   48831‐9227
OSTRANDER, JANET K           14670 S MERRILL RD                                                                         ELSIE              MI   48831‐9227
OSTRANDER, JIMMIE L          5120 EAST RD                                                                               SAGINAW            MI   48601‐9787
OSTRANDER, JOLYNN            4751 W SAGINAW RD                                                                          VASSAR             MI   48768‐9510
OSTRANDER, KARL S            661 JESSICA CIR                                                                            FOWLERVILLE        MI   48836‐8592
OSTRANDER, KATHLEEN M        952 E BRITTON RD                                                                           MORRICE            MI   48857‐9720
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Name                        Address1                           Address2                         Address3   Address4         City                 State Zip
OSTRANDER, KATHY L          243 S SHERIDAN                                                                                  VASSAR                MI 48768
OSTRANDER, KENNITH          MCELROY B THOMAS                   4809 COLE AVE STE 212                                        DALLAS                TX 75205‐5598
OSTRANDER, KEVIN A          2765 BULLOCK RD                                                                                 BROWN CITY            MI 48416‐8449
OSTRANDER, KEVIN ANDREW     2765 BULLOCK RD                                                                                 BROWN CITY            MI 48416‐8449
OSTRANDER, KIM BENDALL      BEAN TED E                         10751 S SAGINAW ST STE G                                     GRAND BLANC           MI 48439
OSTRANDER, KIM BENDALL      GAULT DAVISON P.C.                 10TH FLOOR, NORTHBANK CENTER ,                               FLINT                 MI 48502
                                                               432 NORTH SAGINAW STREET

OSTRANDER, KIM L            4751 W SAGINAW RD                                                                               VASSAR               MI   48768‐9510
OSTRANDER, KRISTY M         44583 S CAROLINA DR                                                                             CLINTON TWP          MI   48038‐1015
OSTRANDER, LARRY E          15777 BOLESTA RD LOT 227                                                                        CLEARWATER           FL   33760‐3467
OSTRANDER, LARRY M          12104 SANDCASTLE DR                                                                             PERRY                MI   48872‐9170
OSTRANDER, MARCIA L         24760 GLENDA ST                                                                                 NOVI                 MI   48375‐2210
OSTRANDER, MARLENE A        2480 BONNIE MAE RD                                                                              HARRISON             MI   48625‐9535
OSTRANDER, MARLENE J        6305 WHITE LAKE RD                                                                              WHITE LAKE           MI   48383‐1138
OSTRANDER, MARVIN P         4200 S STATE RD                                                                                 DURAND               MI   48429‐9152
OSTRANDER, MARVIN PATRICK   4200 S STATE RD                                                                                 DURAND               MI   48429‐9152
OSTRANDER, MAX L            PO BOX 698                                                                                      MIO                  MI   48647‐0698
OSTRANDER, MICHAEL D        952 E BRITTON RD                                                                                MORRICE              MI   48857‐9720
OSTRANDER, MICHELE T        1413 OTTER DR                                                                                   ROCHESTER HILLS      MI   48306‐4335
OSTRANDER, PATRICIA A       6413 TORREY ROAD                                                                                FLINT                MI   48507‐3849
OSTRANDER, PATRICIA A       6413 TORREY RD                                                                                  FLINT                MI   48507‐3849
OSTRANDER, PATRICIA A       12104 SANDCASTLE DR                                                                             PERRY                MI   48872‐9170
OSTRANDER, PATSY L          8406 FARRAND RD                                                                                 MONTROSE             MI   48457‐9779
OSTRANDER, PAUL W           278 MIDLAND AVE                                                                                 BUFFALO              NY   14223
OSTRANDER, PETER L          2171 PRAIRIE VW                                                                                 GRAND BLANC          MI   48439‐8097
OSTRANDER, RALEIGH N        3333 GERNADA DR                                                                                 CLIO                 MI   48420‐1912
OSTRANDER, RANDY            538 W. 30TH ST.                                                                                 HOLLAND              MI   49423‐7200
OSTRANDER, RAYMOND L        16940 S OAKLEY RD                  LOT 78                                                       CHESANING            MI   48616‐9571
OSTRANDER, RAYMOND L        16940 OAKLEY RD LOT 78                                                                          CHESANING            MI   48616‐9571
OSTRANDER, REBECCA L        2765 BULLOCK RD                                                                                 BROWN CITY           MI   48416‐8449
OSTRANDER, RICHARD C        13304 N WEBSTER RD                                                                              CLIO                 MI   48420‐8250
OSTRANDER, RICHARD E        4405 2ND ST                        P.O. BOX 204                                                 COLUMBIAVILLE        MI   48421‐7702
OSTRANDER, RICHARD P        5065 RICHFIELD RD                                                                               FLINT                MI   48506‐2156
OSTRANDER, ROBERT J         1312 SIPPIHAW DRIVE                                                                             FUQUAY VARINA        NC   27526‐7796
OSTRANDER, ROBERT J         1095 HARDING DR                                                                                 FLINT                MI   48507‐4228
OSTRANDER, ROBERT JOHN      1095 HARDING DR                                                                                 FLINT                MI   48507‐4229
OSTRANDER, RONALD           1728 PINEBERRY COURT                                                                            SAINT LOUIS          MO   63146‐4254
OSTRANDER, RONALD D         8701 S KOLB RD # 11‐225                                                                         TUCSON               AZ   85756
OSTRANDER, RONALD E         PO BOX 1082                                                                                     MIDLAND              MI   48641‐1082
OSTRANDER, RONALD F         2935 N LAPEER RD                                                                                LAPEER               MI   48446‐8774
OSTRANDER, RONALD L         5490 E OLIVE RD                                                                                 BRECKENRIDGE         MI   48615‐9787
OSTRANDER, STEVE W          23117 ELAINE ST                                                                                 SAINT CLAIR SHORES   MI   48080
OSTRANDER, SUE              236 N PINE ST                                                                                   HEMLOCK              MI   48626‐9324
OSTRANDER, THEDA J          P.O. BOX 573                                                                                    NEW TAZEWELL         TN   37824‐0573
OSTRANDER, THEDA J          PO BOX 573                                                                                      NEW TAZEWELL         TN   37824‐0573
OSTRANDER, THOMAS L         2050 AQUETONG RD APT C                                                                          NEW HOPE             PA   18938‐1114
OSTRANDER, TIFFANY N        412 BONNIE BRAE AVE SE                                                                          WARREN               OH   44484‐4207
OSTRANDER, VIOLA M          2050 AQUETONG RD APT C                                                                          NEW HOPE             PA   18938‐1114
OSTRANDER, VIOLA M          2050 AQUETONG ROAD                 APARTMENT C                                                  NEW HOPE             PA   18938
OSTRANDER, WILLIS F         PO BOX 408                                                                                      MILLINGTON           MI   48746‐0408
OSTRANDER, WILMA            8465 N MASON RD                                                                                 WHEELER              MI   48662‐9742
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OSTRANDER, WILMA M        310 BEACH ST                                                                              FENTON            MI 48430‐1835
OSTRIHON, GLENN R         3609 PALMER RD                                                                            RANSOMVILLE       NY 14131‐9514
OSTRIKER VON SIMSON INC   220 E 61ST ST                                                                             NEW YORK          NY 10065‐8506
OSTRO, JOHN               989 SUNRISE PARK ST                                                                       HOWELL            MI 48843‐7501
OSTRO, RODGER             1133 ELM DR                                                                               SUMMERTON         SC 29148‐8473
OSTROFF, JACOB L          103 SORREL DR                                                                             WILMINGTON        DE 19803‐1930
OSTROLENCKI, CHESTER      PO BOX 81                           3954 SHELDON STREET                                   CARSONVILLE       MI 48419‐0081
OSTROLUCKY, JOHN P        3709 NE 5TH ST                                                                            OCALA             FL 34470‐1347
OSTROM CHEVROLET          310 W WHITTIER BLVD                                                                       MONTEBELLO        CA 90640‐5324
OSTROM, BARRY D           3406 ARAGON DR                                                                            LANSING           MI 48906‐3505
OSTROM, CARL W            4846 GENESEE RD                                                                           LAPEER            MI 48446‐3634
OSTROM, CARL WAYNE        4846 GENESEE ROAD                                                                         LAPEER            MI 48446‐3634
OSTROM, CHARLES V         3919 LOTUS DR                                                                             WATERFORD         MI 48329‐1391
OSTROM, DANIEL J          PO BOX 5113                                                                               SAGINAW           MI 48603‐0113
OSTROM, DARLENE KAY       14087 PLACID DR                                                                           HOLLY             MI 48442‐8308
OSTROM, DAVID E           5166 N SHORE DR                                                                           LAPEER            MI 48446‐8069
OSTROM, DEREK K           4725 E RIVER RD                                                                           GRAND ISLAND      NY 14072‐1138
OSTROM, DIANE M           6210 TRIPP RD                                                                             HOLLY             MI 48442‐9726
OSTROM, DONALD D          4715 2ND ST                                                                               COLUMBIAVILLE     MI 48421‐9142
OSTROM, DORIS M           5166 N SHORE DR                                                                           LAPEER            MI 48446‐8069
OSTROM, DOUGLAS V         1933 HANLEY DR                                                                            LAKE VIEW         NY 14085‐9704
OSTROM, ERIC R            14046 IBBETSON AVE                                                                        BELLFLOWER        CA 90706‐2526
OSTROM, FRED K            841 BRIAR CT                                                                              ROCHESTER HLS     MI 48309‐2447
OSTROM, GARY L            1521 N YOUNGS RD                                                                          ATTICA            MI 48412‐9396
OSTROM, GLENN E           6659 N LAPEER RD                                                                          FOSTORIA          MI 48435‐9683
OSTROM, GORDON S          9518 TIMBER RIDGE DR                                                                      GRAND BLANC       MI 48439‐7380
OSTROM, HELEN B           727 W ATHERTON RD                                                                         FLINT             MI 48507‐2408
OSTROM, HELEN L           500 SOUTH ST APT B                                                                        LOCKPORT          NY 14094‐3981
OSTROM, JAMES M           123 LANSING ST                                                                            GAINES            MI 48436‐8938
OSTROM, LARRY L           2230 WOODSTEAD ST                                                                         FLINT             MI 48509‐1056
OSTROM, MABEL             200 TREALOUT APT 14                                                                       FENTON            MI 48430
OSTROM, MABEL             200 TREALOUT DR APT 14                                                                    FENTON            MI 48430‐3281
OSTROM, MARJORIE G        5435 LEWELLEN RD                    32                                                    LAKELAND          FL 33810
OSTROM, MARJORIE G        LOT 32                              5435 LEWELLYN ROAD                                    LAKELAND          FL 33810‐0714
OSTROM, NANCY M           4308 BROOKSIDE AVE                                                                        MINNEAPOLIS       MN 55436
OSTROM, ROBERT B          10117 STOVER RD                                                                           OTISVILLE         MI 48463‐9404
OSTROM, ROBERT F          PO BOX 152                                                                                GASPORT           NY 14067
OSTROM, SARA J            117 BRITTANY MNR APT E                                                                    AMHERST           MA 01002‐3124
OSTROM, TAMARA M          841 BRIAR CT                                                                              ROCHESTER HLS     MI 48309‐2447
OSTROMECKI, WALTER A      5914 HESPERIA AVE                                                                         ENCINO            CA 91316‐1014
OSTROMEK, KENNETH J       6116 IRA AVE                                                                              BROOKLYN          OH 44144‐3850
OSTROSKI, LUCY T          7 MELVILLE ST                                                                             BRISTOL           CT 06010‐6408
OSTROSKI, ROBERT J        546 EAST RD                                                                               BRISTOL           CT 06010
OSTROSKI, ROBERT N        402 WOODALE CT                                                                            NORTH PORT        FL 34287‐3330
OSTROSKIE, MICHAEL W      6427 HUNTLEIGH ST                                                                         GARDEN CITY       MI 48135‐2014
OSTROSKY, BERNARD J       9016 ALTURA DR NE                                                                         WARREN            OH 44484‐1732
OSTROSKY, EDWARD D        1548 LARCHMONT AVE NE                                                                     WARREN            OH 44483‐3956
OSTROSKY, LINDA M         1548 LARCHMONT AVE NE                                                                     WARREN            OH 44483‐3956
OSTROSKY, PATRICIA L      3473 MARBLE ARCH DR                                                                       PASADENA          MD 21122‐7307
OSTROSKY, VICTORIA R      16354 E PALISADES BLVD UNIT 4‐103                                                         FOUNTAIN HILLS    AZ 85268‐3740
OSTROV KAREN PHD          DBA KONECT CONSULTING LLC           7818 BIG SKY DR STE 103                               MADISON           WI 53719‐2840
OSTROV, RICHARD M         1164 SOLANO AVE                     #432                                                  ALBANY            CA 94706
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Name                                   Address1                           Address2                      Address3   Address4         City               State Zip
OSTROV, RICHARD M                      1164 SOLANO AVENUE                                                                           ALBANY              CA 94706‐1639
OSTROVETZ, SERGE R                     18686 WILLIAMS ST                                                                            LIVONIA             MI 48152‐2842
OSTROVETZ, SERGE ROBERT                18686 WILLIAMS ST                                                                            LIVONIA             MI 48152‐2842
OSTROVSKIY IGOR                        OSTROVSKIY, IGOR                   4433 W TOUGHY AVE SUITE 405                               LINCOLNWOOD          IL
OSTROWSKI & CO INC                     ATTN: PETER OSTROWSKI              1150 RARITAN RD # 100                                     CRANFORD            NJ 07016‐3369
OSTROWSKI ALICE (ESTATE OF) (643680)   GOLDENBERG, MILLER, HELLER &       PO BOX 959                                                EDWARDSVILLE         IL 62025‐0959
                                       ANTOGNOLI
OSTROWSKI JR, HARRY                    20504 ELLEN DR                                                                               LIVONIA            MI   48152‐1179
OSTROWSKI JR, JOHN                     7 KETTERING CT                                                                               ROBBINSVILLE       NJ   08691‐3105
OSTROWSKI JR, JOHN J                   1096 SUGAR CREEK DR                                                                          ROCHESTER HILLS    MI   48307‐4686
OSTROWSKI REBECCA                      20 DE PAUL DRIVE                                                                             E ROCHESTER        NY   14445‐1202
OSTROWSKI WILLIAM                      8310 TOWER RD                                                                                WILLOW SPRINGS     IL   60480‐1167
OSTROWSKI, ALICE                       GOLDENBERG, MILLER, HELLER &       PO BOX 959                                                EDWARDSVILLE       IL   62025‐0959
                                       ANTOGNOLI
OSTROWSKI, ALICE                       C/O GORI JULIAN & ASSOCIATES P C   156 N MAIN ST                                             EDWARDSVILLE       IL   62025
OSTROWSKI, ANTHONY S                   5824 REGA DR                                                                                 TOLEDO             OH   43623‐1222
OSTROWSKI, ANTHONY SCOTT               5824 REGA DR                                                                                 TOLEDO             OH   43623‐1222
OSTROWSKI, ARTHUR R                    11638 CHAREST ST                                                                             HAMTRAMCK          MI   48212‐3027
OSTROWSKI, ARTUR                       2770 BRAEBURN RD                                                                             ROCHESTER HILLS    MI   48309‐1936
OSTROWSKI, BRIAN J                     7224 SAINT AUBURN DR                                                                         BLOOMFIELD HILLS   MI   48301
OSTROWSKI, CHRISTINE H                 3928 N 79TH ST                                                                               MILWAUKEE          WI   53222‐2916
OSTROWSKI, DANIEL M                    203 BOMAN ST                                                                                 FLUSHING           MI   48433‐1788
OSTROWSKI, DANIEL M.                   203 BOMAN ST                                                                                 FLUSHING           MI   48433‐1788
OSTROWSKI, DAVID E                     6368 NOFFKE DR                                                                               CALEDONIA          MI   49316‐8814
OSTROWSKI, DENNIS G                    1733 NAVARRE LN                                                                              HENDERSON          NV   89014‐3579
OSTROWSKI, DOUGLAS E                   29771 SIERRA POINT CIR                                                                       FARMINGTON HILLS   MI   48331‐1484
OSTROWSKI, EDWARD F                    116 WILBOURN DR                                                                              CROSSVILLE         TN   38558‐2820
OSTROWSKI, EDWARD J                    2078 LOWERY RD NE                                                                            ARAB               AL   35016‐3995
OSTROWSKI, ELIZABETH B                 24323 WARD ST                                                                                TAYLOR             MI   48180‐2132
OSTROWSKI, ELIZABETH B                 24323 WARD                                                                                   TAYLOR             MI   48180‐2132
OSTROWSKI, EUGENE T                    7866 STARK DR                                                                                CLAY               MI   48001‐3030
OSTROWSKI, EUGENE T                    8500 DIXIE HWY                                                                               IRA                MI   48023‐2402
OSTROWSKI, FRANK A                     235 W GLOUCESTER DR                                                                          SAGINAW            MI   48609‐9427
OSTROWSKI, FRANK J                     34154 BIRCHWAY CIR                                                                           STERLING HEIGHTS   MI   48312‐5300
OSTROWSKI, FREDERICK H                 5930 CHIPPEWA RD                                                                             TOLEDO             OH   43613‐1120
OSTROWSKI, FREDERICK HENRY             5930 CHIPPEWA RD                                                                             TOLEDO             OH   43613‐1120
OSTROWSKI, GREGORY E                   42320 BRADNER RD                                                                             NORTHVILLE         MI   48168‐3262
OSTROWSKI, GREGORY E                   42320 BRADNER                                                                                NORTHVILLE         MI   48167‐3262
OSTROWSKI, HELEN P                     121 N WOODBRIDGE ST APT 1‐9                                                                  SAGINAW            MI   48602‐4157
OSTROWSKI, IWONA                       725 DUNEDIN DR                                                                               ROCHESTER HILLS    MI   48309‐1058
OSTROWSKI, JOANN M                     8 PINEHURST CT                                                                               TRENTON            NJ   08690‐1360
OSTROWSKI, JOANNE B                    W 297 S 9075 HWY 83                                                                          MUKWONAGO          WI   53149
OSTROWSKI, JOANNE B                    3120 S 9TH PL                                                                                MILWAUKEE          WI   53215‐4727
OSTROWSKI, JOHN A                      21721 CHAMPAIGN ST                                                                           TAYLOR             MI   48180‐2842
OSTROWSKI, JOSEPH A                    4507 COUNTY LINE RD                                                                          CALEDONIA          WI   53108‐9792
OSTROWSKI, JOSEPH F                    93 CAMVET DR                                                                                 CAMPBELL           OH   44405‐1936
OSTROWSKI, JOSEPH F                    24874 PETERSBURG AVE                                                                         EASTPOINTE         MI   48021‐1451
OSTROWSKI, JOSEPH F                    5723 HAYES ST                                                                                HOLLYWOOD          FL   33021‐5182
OSTROWSKI, JOSEPH FRANCIS              24874 PETERSBURG AVE                                                                         EASTPOINTE         MI   48021‐1451
OSTROWSKI, JOSEPH P                    2918 GRIER NURSERY RD                                                                        FOREST HILL        MD   21050
OSTROWSKI, LEONARD S                   16 JOYCE ST                                                                                  WEBSTER            MA   01570‐2708
OSTROWSKI, LISA M                      5838 ANNA DR 36                                                                              KIMBALL            MI   48074
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Name                                Address1                           Address2                        Address3      Address4         City              State Zip
OSTROWSKI, MARTHA                   44940 TYLER RD                                                                                    BELLEVILLE         MI 48111‐1359
OSTROWSKI, MARY                     413 CHESTNUT ST                                                                                   FLUSHING           MI 48433‐1409
OSTROWSKI, MICHAEL A                625 HIGHVIEW ST                                                                                   DEARBORN           MI 48128‐1558
OSTROWSKI, MICHELLE                 9296 SHERWOOD DR                                                                                  DAVISBURG          MI 48350‐1949
OSTROWSKI, NORMAN                   8310 SILVERY LANE                                                                                 DEARBORN           MI 48127‐1317
OSTROWSKI, PAMELA A                 400 FAIRFIELD AVE                                                                                 BUFFALO            NY 14223‐2530
OSTROWSKI, PATRICK                  1035 N OAKWOOD LN                  UNIT A                                                         BROOKFIELD         WI 53045
OSTROWSKI, PATRICK                  1035 OAKWOOD LN UNIT A                                                                            BROOKFIELD         WI 53045‐2828
OSTROWSKI, RANDY WILLIAM            7574 MESTER RD                                                                                    CHELSEA            MI 48118‐9519
OSTROWSKI, RAYMOND                  C/O STATE FARM INSURANCE COMPANIES ATTN: BARB BAUER                PO BOX 2373                    BLOOMINGTON         IL 61702‐2373

OSTROWSKI, RAYMOND                  C/O STATE FARM INSURANCE COMPANIES PO BOX 9609                                                    WINTER HAVEN       FL   33883‐9609

OSTROWSKI, RICHARD K                1779 HIGLEY RD                                                                                    LAPEER            MI    48446‐9438
OSTROWSKI, RICHARD KIRK             7655 KOPPERNICK RD                                                                                CANTON            MI    48187‐4215
OSTROWSKI, ROBERT R                 16595 ELWELL RD                                                                                   BELLEVILLE        MI    48111‐2501
OSTROWSKI, ROSE                     8310 N SILVERY LN                                                                                 DEARBORN HTS      MI    48127‐1317
OSTROWSKI, RUTH J                   1615 DIVISION AVE                                                                                 PISCATAWAY        NJ    08854‐1818
OSTROWSKI, STELLA                   5930 CHIPPEWA RD                                                                                  TOLEDO            OH    43613‐1120
OSTROWSKI, STELLA                   339 E MANHATTAN BLVD.                                                                             TOLEDO            OH    43608‐1214
OSTROWSKI, THEODORE                 44 RYECROFT LN                                                                                    PALM COAST        FL    32164‐6426
OSTROWSKI, THOMAS M                 5824 OAK HILL RD                                                                                  ORTONVILLE        MI    48462‐8912
OSTROWSKI, WALTER J                 300 ESSER AVE                                                                                     BUFFALO           NY    14207
OSTROWSKI, WILLIAM T                8310 TOWER RD                                                                                     WILLOW SPRINGS    IL    60480‐1167
OSTROWSKI, WOJTEK R                 725 DUNEDIN DR                                                                                    ROCHESTER HILLS   MI    48309‐1058
OSTROWSKI‐BANKSTAHL, JANICE         6091 ADA VAN DR                                                                                   DRYDEN            MI    48428‐9751
OSTROWSKY JR, JOHN                  23299 WESTWOOD RD                                                                                 WESTLAKE          OH    44145‐4350
OSTRUM, CRETTA C.                   1325 CLARENCE STR                                                                                 WESTLAKE          LA    70669
OSTRUM, GEORGE E                    4631 BROUSSEAU RD                                                                                 OSSINEKE          MI    49766
OSTRUM, MATIE L                     4631 BROUSSEAU RD                                                                                 OSSINEKE          MI    49766‐9753
OSTRUM, PAMELA M                    3277 WILSON ST                                                                                    MARLETTE          MI    48453‐1415
OSTRUM, PAMELA MARIE                3277 WILSON ST                                                                                    MARLETTE          MI    48453‐1415
OSTRUM, RONALD E                    9307 OAK RD                                                                                       OTISVILLE         MI    48463‐9745
OSTUN, RUTH O                       4954 PINCKNEY RD                                                                                  HOWELL            MI    48843‐7807
OSTUNI, PAUL A                      11207 NW 68TH PL                                                                                  PARKLAND          FL    33076‐3841
OSTUNI, PAUL ANDREW                 11207 NW 68TH PL                                                                                  PARKLAND          FL    33076
OSTUNI, VITO J                      2037 SUNFLOWER DRIVE                                                                              SPRING HILL       TN    37174‐2279
OSTWALD, EDWARD H                   57719 BLAKE CT                                                                                    LENOX             MI    48048‐3150
OSTWALD, EVELYN D                   450 N C ST                                                                                        CHEBOYGAN         MI    49721‐1245
OSTYN, JAMES J                      2106 HUBBARD RD                                                                                   CHARLOTTE         MI    48813‐8648
OSU ‐ OKLAHOMA CITY                 ATTN MAC MCCRORY                   900 NORTH PORTLAND AVE AD 200                                  OKLAHOMA CITY     OK    73107

OSU HEALTH SYSTEM AN                PO BOX 711823                                                                                     COLUMBUS          OH    43271‐1823
OSU ORTHO SVCS                      PO BOX 71 3134                                                                                    COLUMBUS          OH    43271
OSU RADIOLOGY LLC                   PO BOX 634129                                                                                     CINCINNATI        OH    45263‐4129
OSULA A KIRBY                       213 WHITE LN                                                                                      BEDFORD           IN    47421‐9224
OSULLIVAN BEAUCHAMP KELLY & WHIPPLE 627 FORT ST                                                                                       PORT HURON        MI    48060‐3904

OSULLIVAN CHERYL                    1361 LONDON RD                                                                                    NEW LENOX         IL    60451
OSULLIVAN, DANIEL J                 819 HIGH POINT RIDGE RD                                                                           FRANKLIN          TN    37069‐4768
OSULLIVAN, JUDITH                   5780 GLENDALE DR                                                                                  LOCKPORT          NY    14094‐5850
OSULLIVAN, KEVIN M                  35620 FERNWOOD ST                                                                                 WESTLAND          MI    48186‐4108
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Name                      Address1                         Address2                      Address3                    Address4             City               State Zip
OSULLIVAN, THOMAS         CHURCH RD                                                                                  KILNALECK CO CAVAN
                                                                                                                     IRELAND
OSUMANA CASSELL SR        3029 ICRCLE DR NE                                                                                               CEDAR RAPIDS        IA   52402
OSUNA JR, ABEL            1424 MOUNT VERNON RD                                                                                            SAGINAW             MI   48601‐5141
OSUNA, ABEL               8695 W SUNDANCE DR                                                                                              QUEEN CREEK         AZ   85242‐9259
OSUNA, OFELIA             2818 MORRIS ST                                                                                                  SAGINAW             MI   48601‐7431
OSUNA, YADIRA
OSUOHA, CYPRIAN           52515 ANTLER DR                                                                                                 MACOMB             MI    48042‐3408
OSVALDO AGUILAR           1916 RIBBLE ST                                                                                                  SAGINAW            MI    48601‐6858
OSVALDO ALVAREZ           290 174 ST APT 309                                                                                              N MIAMI BEACH      FL    33160‐3245
OSVALDO BOSCH             V32 CALLE TUREY                                                                                                 CAGUAS             PR    00725‐3337
OSVALDO COLON             764 YOUNG ST                                                                                                    PONTIAC            MI    48340‐2676
OSVALDO CRESPO            185 WILLARD CLARK CIR                                                                                           SPOTSWOOD          NJ    08884
OSVALDO ORTIZ             407 E SANGER ST                                                                                                 PHILADELPHIA       PA    19120‐1611
OSVALDO P MAZZULLI        9 COLDSPRINGS CIRCLE                                                                                            ROCHESTER          NY    14624‐2451
OSVALDO QUINONES          1005 DONNAWOOD DR                                                                                               JOPPA              MD    21085‐1603
OSVALDO R AGUILAR         1916 RIBBLE ST                                                                                                  SAGINAW            MI    48601‐6858
OSVALDO RAMOS             1529 39TH ST                                                                                                    BROOKLYN           NY    11218‐4413
OSVALDO RAPETTI           5125 W TOTHILL CIR                                                                                              STERLING HEIGHTS   MI    48310‐7214
OSVALDO SALINAS JR.       144 COLISEUM ST                                                                                                 PERRIS             CA    92571‐0808
OSVALDO TORRES            809 TIMBERLINE LN                                                                                               CALERA             AL    35040‐4690
OSVALDO, DOROTHY P        26836 BLUMFIELD                                                                                                 ROSEVILLE          MI    48066‐3282
OSVATH JR, LOUIS          1440 WINCHESTER AVE                                                                                             LINCOLN PARK       MI    48146‐3843
OSWALD A LESLIE           3040 E GRAND BLVD                                                                                               DETROIT            MI    48202‐3134
OSWALD DEAN SCHMIDT       ATTN ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD PO BOX                        EAST ALTON         IL    62024
                                                           ANGELIDES & BARNERD LLC       521
OSWALD DONOVAN            4800 PELTON RD                                                                                                  CLARKSTON          MI    48346‐3661
OSWALD GALINAITIS         380 S SEARLS RD                                                                                                 WEBBERVILLE        MI    48892‐9281
OSWALD HARDING            187 WINDSOR ST                                                                                                  CAMBRIDGE          MA    02139‐2802
OSWALD JAMES (459242)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK            VA    23510
                                                           STREET, SUITE 600
OSWALD JAMES N (633050)   ANGELOS PETER G                  100 N CHARLES STREET , ONE                                                     BALTIMORE          MD 21201
                                                           CHARLES CENTER
OSWALD KELM               BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                     BOSTON HEIGHTS     OH    44236
OSWALD L CRESPO           171 MARY AVENUE                                                                                                 FORDS              NJ    08863
OSWALD MEINZER            7069 ROSEWOOD DR                                                                                                FLUSHING           MI    48433‐2280
OSWALD SAMS               7090 LINDALE DR                                                                                                 MOUNT MORRIS       MI    48458‐9737
OSWALD SCOTT              3259 WINTERSET DR                                                                                               DAYTON             OH    45440‐3629
OSWALD, AARON H           4613 NORTHWEST 31ST STREET                                                                                      CAPE CORAL         FL    33993‐8029
OSWALD, AARON H           4613 NW 31ST ST                                                                                                 CAPE CORAL         FL    33993‐8029
OSWALD, ANNETTE D         201 CLEVELAND LN                                                                                                ROCKAWAY           NJ    07866‐5801
OSWALD, BERNARD J         1796 SUN GAZER DR                                                                                               ROCKLEDGE          FL    32955‐6351
OSWALD, BETTY G           8103 BRISTOL                                                                                                    WESTLAND           MI    48185‐1830
OSWALD, BETTY G           8103 BRISTOL ST                                                                                                 WESTLAND           MI    48185‐1830
OSWALD, BEVERLY KAMMER    PO BOX 71                                                                                                       LAKE WALES         FL    33859‐0071
OSWALD, CALVIN L          4553 DUDLEY ST                                                                                                  DEARBORN HTS       MI    48125‐2633
OSWALD, CAROLYN S         1229 ALIMA TER                                                                                                  LA GRANGE PK       IL    60526‐1328
OSWALD, CATHERINE M       41234 SAVAGE RD                                                                                                 BELLVILLE          MI    48111
OSWALD, CHRISTIAN J       13029 AUGUSTA COURT                                                                                             FORT MILL          SC    29707‐5887
OSWALD, CORA W            22808 LONGACRE ST                                                                                               FARMINGTON HILLS   MI    48335‐4055
OSWALD, DANIEL L          1477 ARTHUR DR NW                                                                                               WARREN             OH    44485‐1847
OSWALD, DARLENE H         8834 N COUNTY RD H                                                                                              EDGERTON           WI    53534‐8868
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OSWALD, DARRELL C         7778 DUERS MILL RD                                                                         ORLINDA             TN 37141‐9008
OSWALD, DOLORES JANICE    2245 WENONAH DR                                                                            STANDISH            MI 48658‐9765
OSWALD, DOLORES JANICE    2245 W WENONAH DR                                                                          STANDISH            MI 48658‐9765
OSWALD, DONALD G          5725 OVERLOOK WAY                                                                          NORTH RIDGEVILLE    OH 44039‐5157
OSWALD, DONALD J          32921 HARGROVE CT                                                                          FARMINGTON HILLS    MI 48334‐1962
OSWALD, DONNA B           1694 N M 52 APT 113                                                                        OWOSSO              MI 48867‐1287
OSWALD, DOROTHY G         5460 ERNEST RD                                                                             LOCKPORT            NY 14094‐5404
OSWALD, DUANE L           5925 HOWARD RD                                                                             PANAMA CITY         FL 32404‐8855
OSWALD, EARL D            3070 MARIUS ST                                                                             LEWISTON            MI 49756‐8854
OSWALD, EDISON R          1471 BELVO ESTATES DR                                                                      MIAMISBURG          OH 45342‐3891
OSWALD, ELAYNA N          1471 BELVO ESTATES DR                                                                      MIAMISBURG          OH 45342‐3891
OSWALD, ELMER C           60799 US131                                                                                THREE RIVERS        MI 49093
OSWALD, ERIC J            20 AREND AVE                                                                               WILLIAMSVILLE       NY 14221‐5102
OSWALD, ESTHER K          11025 LARKIN LN                                                                            OKLAHOMA CITY       OK 73130‐3809
OSWALD, ESTHER KIMBERLY   11025 LARKIN LN                                                                            OKLAHOMA CITY       OK 73130‐3809
OSWALD, GALE R            230 N 7 MILE RD                                                                            MIDLAND             MI 48640‐9049
OSWALD, GARY A            1708 E FISHER RD                                                                           BAY CITY            MI 48706‐9420
OSWALD, GERHARDT L        393 N COTTER RD                                                                            ESSEXVILLE          MI 48732‐9761
OSWALD, GLENDA            4553 DUDLEY ST                                                                             DEARBORN HTS        MI 48125‐2633
OSWALD, GLENN M           2036 GRANGE HALL RD                                                                        FENTON              MI 48430‐1628
OSWALD, HEATHER M         1421 WHITE OAK DR NE                                                                       WARREN              OH 44484‐1651
OSWALD, JAMES             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                           STREET, SUITE 600
OSWALD, JAMES A           1421 WHITE OAK DR NE                                                                       WARREN             OH   44484‐1651
OSWALD, JAMES D           187 SEMINOLE ST                                                                            PONTIAC            MI   48341‐1643
OSWALD, JAMES J           18050 S TAMIAMI TRL LOT 100                                                                FORT MYERS         FL   33908‐8602
OSWALD, JAMES N           ANGELOS PETER G                  100 N CHARLES STREET, ONE                                 BALTIMORE          MD   21201‐3812
                                                           CHARLES CENTER
OSWALD, JENNIFER L        5915 W 59TH ST                                                                             CHICAGO            IL 60638‐3634
OSWALD, JENNIFER L        11023 W BRANDHERM RD                                                                       BELOIT             WI 53511
OSWALD, JOANNE A          6331 PASEO CORONO                                                                          CARLSBAD           CA 92009‐3012
OSWALD, JOSHUA
OSWALD, JUANITA E         265 SAINT PATRICK LN                                                                       FLORISSANT         MO   63031‐6850
OSWALD, JUSTIN A          2806 PARKWAY CIR                                                                           STERLING HTS       MI   48310‐7124
OSWALD, KARL L            1612 LOUDEN DR                                                                             EATON              OH   45320‐1298
OSWALD, KEITH M           101 E COLLEGE ST                                                                           SUMMERTOWN         TN   38483‐7553
OSWALD, LAWRENCE J        2895 CHESTNUT RUN DR                                                                       BLOOMFIELD         MI   48302‐1105
OSWALD, LONNIE R          4651 S WISNER RD                                                                           ITHACA             MI   48847‐9583
OSWALD, MARGARET A        42134 WATERFALL RD                                                                         NORTHVILLE         MI   48168‐2247
OSWALD, MARGARET ANN      42134 WATERFALL RD                                                                         NORTHVILLE         MI   48168‐2247
OSWALD, MARTIN M          7610 SPRING GARDEN RD                                                                      PARMA              OH   44129‐3628
OSWALD, MAY R             38950 PARKER RIDGE WAY                                                                     PALM DESERT        CA   92260‐1050
OSWALD, MICHAEL R         5456 ERNEST RD                                                                             LOCKPORT           NY   14094‐5404
OSWALD, NATHANAEL C       PO BOX 182                                                                                 ADRIAN             MI   49221‐0182
OSWALD, PAUL S            7802 WENDY LN                                                                              PORTAGE            MI   49024‐4964
OSWALD, RICHARD C         10749 E MEDINA AVE                                                                         MESA               AZ   85209‐3212
OSWALD, ROBERT W          20524 SUNNYSIDE ST                                                                         ST CLAIR SHRS      MI   48080‐4240
OSWALD, RONALD L          702 W FLORENCE ST                                                                          WINDSOR            MO   65360‐1135
OSWALD, RONNIE D          1009 ESSEX DR                                                                              WEIDMAN            MI   48893‐9362
OSWALD, RUTH M            ATT: RUTH M OSWALD               4050 WILLISON ROAD                                        SAGNAW             MI   48601
OSWALD, SANDRA L          164 S JACKSON ST                                                                           DENVER             CO   80209‐3126
OSWALD, STEPHEN C         2117 COMMOTION DR                                                                          SANDY              UT   84093‐1029
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OSWALD, SUZANNE                        2723 ERICKSON RD                                                                            RHODES               MI 48652‐9501
OSWALD, TERRI A                        349 WESTBROOK DR                                                                            O FALLON             MO 63366‐2464
OSWALD, THERESA                        8576 SOUTH ADRIAN HWY                                                                       JASPER               MI 49248
OSWALD, THOMAS A                       10829 HENRY ABBOTT ROAD                                                                     BRISTOW              VA 20136‐2805
OSWALD, THOMAS E                       195 MILL ST                                                                                 WILLIAMSVILLE        NY 14221‐5146
OSWALD, THOMAS EDWARD                  195 MILL ST                                                                                 WILLIAMSVILLE        NY 14221‐5146
OSWALD, THOMAS J                       63641 NORTH AVE                                                                             RAY                  MI 48096‐2709
OSWALD, TIMOTHY J                      11023 W BRANDHERM RD                                                                        BELOIT               WI 53511‐8270
OSWALD, TIMOTHY W                      5044 ALVA AVE NW                                                                            WARREN               OH 44483‐1208
OSWALD, VERNA                          605 FOREST RUN DR                                                                           EUREKA               MO 63025
OSWALD, WILLIAM                        SIMMONS FIRM                   PO BOX 521                                                   EAST ALTON            IL 62024‐0519
OSWALD, WILLIAM D                      PO BOX 1896                                                                                 WOODSTOCK            GA 30188‐1369
OSWALD, WILLIAM H                      13610 11TH TER                                                                              GRANDVIEW            MO 64030‐3621
OSWALD, WILMA J                        702 W FLORENCE                                                                              WINDSOR              MO 65360‐1135
OSWALDO GARZA                          1129 PINO ST                                                                                PENITAS              TX 78576‐7235
OSWALDO JUGO                           434 VITTORIO AVE                                                                            CORAL GABLES         FL 33146
OSWALDO MELENDEZ                       9609 WOODFORD ST                                                                            PICO RIVERA          CA 90660‐1558
OSWALT MICHAEL (665814)                BRAYTON PURCELL                PO BOX 6169                                                  NOVATO               CA 94948‐6169
OSWALT SR, ROBERT C                    2461 COUNTY ROAD 129                                                                        WATERLOO             AL 35677‐3635
OSWALT WILLODENE H (407612) ‐ PARKER   BARON & BUDD                   3102 OAK LANE AVE , SUITE 1100                               DALLAS               TX 75219
WILLIAM OLIVER
OSWALT, CHRIS M                        408 W SOUTH ST                                                                              ARCANUM             OH   45304‐1043
OSWALT, CHRISTY M                      1390 WITTMER RD                                                                             MANSFIELD           OH   44903‐9402
OSWALT, CHRISTY M                      10921 N LANE AVE                                                                            KANSAS CITY         MO   64157‐9402
OSWALT, GARY A                         10921 N LANE AVE                                                                            KANSAS CITY         MO   64157‐9402
OSWALT, GARY ALLEN                     10921 N LANE AVE                                                                            KANSAS CITY         MO   54157‐1172
OSWALT, JAMES R                        427 MAIN ST                                                                                 BELLVILLE           OH   44813‐1216
OSWALT, JAMES R                        5313 N STAR FORT LORAMIE RD                                                                 NEW WESTON          OH   45348‐9766
OSWALT, JOANN                          220 SANDS ST                                                                                PANAMA CITY BEACH   FL   32413‐4925
OSWALT, JOHN L                         2713 TWP 937                                                                                PERRYSVILLE         OH   44864
OSWALT, JOHNNIE W                      581 HARBOUR SHORES DR                                                                       JACKSON             GA   30233‐6379
OSWALT, LOTTA M                        2009 W THERLOW DR                                                                           MARION              IN   46952‐2303
OSWALT, MICHAEL                        BRAYTON PURCELL                PO BOX 6169                                                  NOVATO              CA   94948‐6169
OSWALT, ROXANNE                        LAMARCA & LANDRY PC            1820 NW 118TH ST STE 200                                     DES MOINES          IA   50325‐8266
OSWALT, STEPHEN A                      3507 W 075 S                                                                                HARTFORD CITY       IN   47348‐9500
OSWALT, STERLING M                     94 ANKARA AVE                                                                               BROOKVILLE          OH   45309‐1208
OSWALT, TRUDY A                        3201 SPRINGBROOK DR                                                                         LAMBERTVILLE        MI   48144‐9625
OSWALT, WALTER                         LAMARCA & LANDRY PC            1820 NW 118TH ST STE 200                                     DES MOINES          IA   50325‐8266
OSWE LAWRENCE                          401 REBECCA DR                                                                              SAINT CHARLES       MO   63301‐1337
OSWELL ARNOLD JR                       143 STEEPLECHASE RD                                                                         LEXINGTON           SC   29072‐9245
OSWELL, GARY L                         43355 SILVERWOOD DR 45                                                                      CANTON              MI   48188
OSWELL, MARC L                         5 COBBLESTONE CT                                                                            MOORESTOWN          NJ   08057
OSWILL, DAVID S                        1118 1/2 JENNE ST                                                                           GRAND LEDGE         MI   48837‐1809
OSWILL, JOHN M                         204 W JEFFERSON ST                                                                          GRAND LEDGE         MI   48837
OSYPIAN, ALFRED T                      410 81ST ST                                                                                 NIAGARA FALLS       NY   14304‐3306
OSZMAN, BEVERLY                        11746 MINOT DR                                                                              BRIDGETON           MO   63044
OSZTROGONACZ, ELIZABETH                3106 TRAVISTON DR                                                                           FRANKLIN            TN   37064‐6223
OSZTROGONACZ, JOHN                     80 PARK AVE                                                                                 ISELIN              NJ   08830‐2244
OSZUST, DEBORAH K                      11044 MORRISH RD                                                                            MONTROSE            MI   48457‐9003
OSZUST, JEROME                         27650 BERTRAND ST                                                                           CHESTERFIELD        MI   48051‐1635
OSZUST, MARTIN J                       71 LAVEIANAN CT                                                                             MARTINSVILLE        IN   46151
OSZVART, JOHN                          121 REGINA AVE                                                                              TRENTON             NJ   08619‐2203
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OTA CERVENKA             350 LEICESTER CT                                                                                   BOLINGBROOK          IL 60440‐2117
OTA MARTIN E (439381)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                            STREET, SUITE 600
OTA PEKLO                ZAHRADNICKOVA 1220/20C                                                      15000 PRAHA 5, CZECH
                                                                                                     REBPULIC
OTA, MARTIN E            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
OTA, MASANORI
OTA, STEVEN K            PO BOX 6215                                                                                        SANTA BARBARA      CA   93160
OTAK INC                 17355 BOONES FERRY RD                                                                              LAKE OSWEGO        OR   97035‐5217
OTANEZ PAUL              2871 TROY CENTER DR P12                                                                            TROY               MI   48084
OTANEZ, PAUL G           2871 TROY CENTER DR. P12                                                                           TROY               MI   48084
OTANI, ERNEST M          4205 BARCROFT WAY 248                                                                              WEST BLOOMFIELD    MI   48323
OTANO‐GARCIA CARLO S     PO BOX 5273                        CUC STATION                                                     CAYEY              PR   00736
OTBERG, LLOYD H          2035 FOX HILL DR APT 3                                                                             GRAND BLANC        MI   48439‐5214
OTBERG, MARTHA           839 REMINGTON AVE                                                                                  FLINT              MI   48507‐1632
OTC DIV/FARMINGTON       23400 INDUSTRIAL PARK CT                                                                           FARMINGTON HILLS   MI   48335‐2848
OTC GROUP/OWATONNA       655 EISENHOWER DR                                                                                  OWATONNA           MN   55060‐1100
OTCASEK, CHARLES K       1978 RICHWOOD DR                                                                                   MANSFIELD          OH   44904‐1646
OTEHAM, LINDA M          10475 W 700 N                                                                                      RUSSIAVILLE        IN   46979‐9320
OTELIA BRANK             1634 BELLE AVE                                                                                     FLINT              MI   48506‐3379
OTEMAN REVOCABLE TRUST   GEORGE OTEMAN, TRUSTEE             1106 HIALEAH DR                                                 RACINE             WI   53402
OTENBAKER, DIANE         2065 AVALON DR                                                                                     STERLING HTS       MI   48310‐7810
OTENBAKER, JOSEPH W      33758 KING RICHARD DR                                                                              STERLING HTS       MI   48310‐6345
OTENBAKER, WILLIAM H     5924 ANGLERS DR                                                                                    ORTONVILLE         MI   48462‐9507
OTENBAKER, WILLIAM H     5924 ANGLERS RD                                                                                    ORTONVILLE         MI   48462‐9507
OTENEY, DALE M           5330 STAPLE RD                                                                                     TWIN LAKE          MI   49457
OTENEY, FAY L            5330 STAPLE RD                                                                                     TWIN LAKE          MI   49457‐9059
OTERA RASHAD             1922 BEVERLY CT                                                                                    ANDERSON           IN   46011‐4035
OTERO COUNTY TREASURER   1000 NEW YORK AVE STE 110                                                                          ALAMOGORDO         NM   88310‐6904
OTERO JOSE L (629597)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                            STREET, SUITE 600
OTERO ROBERTO            OTERO, ROBERT                      2216 RIO PIAAR LAKES BLVD                                       ORLANDO            FL   32822
OTERO, AFORTUNADO        362 E HARVEST LN                                                                                   MIDDLETOWN         DE   19709‐3037
OTERO, AFORTUNADO        162 KILLORAN DR                                                                                    NEW CASTLE         DE   19720‐2762
OTERO, ANTHONY           2703 SQUEALER LAKE TRAIL                                                                           MYRTLE BEACH       SC   29588‐8452
OTERO, ANTONIO J         8754 MONTEREY BAY LOOP                                                                             BRADENTON          FL   34212‐6318
OTERO, FERNANDO          1 CALLE JOSE VALIENTE                                                                              COROZAL            PR   00783‐1916
OTERO, HECTOR            120 ELGAR PL APT 9D # 09                                                                           BRONX              NY   10475‐5141
OTERO, JOSE G            3473 KINGSGATE RD                                                                                  TOLEDO             OH   43606‐2872
OTERO, JOSE G.           3473 KINGSGATE RD                                                                                  TOLEDO             OH   43606‐2872
OTERO, JOSE L            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                            STREET, SUITE 600
OTERO, MANUEL            1590 UNDERCLIFF AVE APT 9H                                                                         BRONX              NY   10453‐7118
OTERO, MARIA I           7901 THAMES LN                                                                                     RIVERVIEW          FL   33578‐4960
OTERO, MARIA I           7901 THAMES LANE                                                                                   RIVERVIEW          FL   33578
OTERO, PAUL D            38 HARVARD CT                                                                                      WILLIAMSVILLE      NY   14221‐6638
OTERO, PAUL DANIEL       38 HARVARD CT                                                                                      WILLIAMSVILLE      NY   14221‐6638
OTERO, ROBERT            2216 RIO PINAR LAKES BLVD                                                                          ORLANDO            FL   32822
OTERO, VICTORIA N        910 GEORGIA ST                                                                                     SOUTH HOUSTON      TX   77587‐3960
OTERO, VICTORIA NICOLE   910 GEORGIA ST                                                                                     SOUTH HOUSTON      TX   77587‐3960
OTEST LYONS              2035 MORRISH RD                                                                                    FLUSHING           MI   48433‐9402
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OTEY, STEPHEN A         10109 W 54TH ST                                                                                       MERRIAM         KS 66203‐1981
OTEYZA, LEONARD B       46499 GALWAY DR                                                                                       NOVI            MI 48374‐3853
OTEYZA, RENATO A        46499 GALWAY DR                                                                                       NOVI            MI 48374‐3853
OTEYZA, RENATO ACOSTA   46499 GALWAY DR                                                                                       NOVI            MI 48374‐3853
OTFRIED KINZEL          SCHLEHENSTRASSE 1                                                               MOERS GERMANY 47445
OTHA A ROUNTREE JR.     2417 JOHN GLENN RD                                                                                    DAYTON         OH   45420
OTHA ADKINS             825 BEARDSLEY RD                                                                                      GALION         OH   44833‐1309
OTHA BASS               420 W 30TH ST                                                                                         MARION         IN   46953‐3553
OTHA BOONE              2207 WALNUT ST SW                                                                                     HUNTSVILLE     AL   35805‐3451
OTHA CARR JR            625 PEARSALL AVE                                                                                      PONTIAC        MI   48341‐2667
OTHA CHILDRESS          18425 SPRUCE ST                                                                                       GARDNER        KS   66030‐9467
OTHA COBBS SR           APT 104                              253 HAWTHORNE GROVES                                             ORLANDO        FL   32835‐6862
                                                             BOULEVARD
OTHA COLE               4011 ELDORADO AVE                                                                                     BALTIMORE      MD   21215‐4825
OTHA D SMITH            142 GREENFIELD RD                                                                                     PROSPECT       TN   38477‐6323
OTHA DAVIS              3545 GREENWAY CHASE DR                                                                                FLORISSANT     MO   63031‐1112
OTHA DENNIS             677 S C R 135                                                                                         MORTON         MS   39117
OTHA DOUGLAS            816 ROY BROOKS WAY                                                                                    CLINTON        OK   73601‐4862
OTHA DURHAM JR.         496 WURLITZER DR                                                                                      N TONAWANDA    NY   14120‐2329
OTHA HILSON JR          918 CUDDY AVE                                                                                         YOUNGSTOWN     OH   44505‐3303
OTHA JAMES SR           682 JAMESTOWN RD                                                                                      AUBURN HILLS   MI   48326‐3415
OTHA JENKINS            991 PAMER RD                                                                                          ATWATER        OH   44201‐9347
OTHA L DAVIS            3545 GREENWAY CHASE DR                                                                                FLORISSANT     MO   63031‐1112
OTHA L DENNIS           677 S C R 135                                                                                         MORTON         MS   39117‐9213
OTHA L HARGROVE SR      C/O WILLIAMS KHERKHER HART BOUNDAS   8441 GULF FREEWAY STE 600                                        HOUSTON        TX   77007
                        LLP
OTHA LEE MCCOY          NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT    205 LINDA DR                         DAINGERFIELD   TX   75638
OTHA MATTHEWS           126 W ELDRIDGE AVE                                                                                    FLINT          MI   48505‐3211
OTHA MERTZ              1024 KETTERING STREET                                                                                 BURTON         MI   48509‐2350
OTHA MINTON             4153 COLLEGE AVE                                                                                      KANSAS CITY    MO   64130‐1449
OTHA MYLES              347 S 22ND ST                                                                                         SAGINAW        MI   48601‐1452
OTHA NELSON             6300 CABANNE AVE                                                                                      SAINT LOUIS    MO   63130‐3325
OTHA PERRIN             1106 PEARL MILL RD                                                                                    ELBERTON       GA   30635‐5144
OTHA PITCHFORD          7076 N LINCOLNSHIRE CIR                                                                               MILWAUKEE      WI   53223‐6343
OTHA PROTHRO            10755 KINA CIR                                                                                        KEITHVILLE     LA   71047‐7019
OTHA RAMSEUR            1454 E 110TH ST                                                                                       CLEVELAND      OH   44106‐1375
OTHA SHAW JR            1543 WENDELL WILLIAMS AVE                                                                             LAS VEGAS      NV   89105‐2454
OTHA SHAW JR            1643 WENDELL WILLIAMS AVENUE                                                                          LAS VEGAS      NV   89106‐2454
OTHA SMITH              142 GREENFIELD RD                                                                                     PROSPECT       TN   38477‐6323
OTHA SMITH              3776 N DEARBORN ST                                                                                    INDIANAPOLIS   IN   46218‐1244
OTHA SOWELS             3021 SANTA FE TRL                                                                                     FORT WORTH     TX   76116‐3325
OTHA WEST               1006 FORRESTER AVE NW                                                                                 ALBUQUERQUE    NM   87102‐1908
OTHA WILKINS            28543 AVONDALE ST                                                                                     INKSTER        MI   48141‐1687
OTHA ZACHARY JR         2621 CRYSTAL STREET                                                                                   ANDERSON       IN   46012‐1305
OTHAL J SHARP           1029 RICHARD ST                                                                                       MIAMISBURG     OH   45342
OTHAL SHARP             1029 RICHARD ST                                                                                       MIAMISBURG     OH   45342‐1846
OTHALEAN MC KEE         4385 W VASSAR AVE                                                                                     FRESNO         CA   93722‐8001
OTHEA TREADWELL         3800 SUMMIT GLEN RD                  C/O WOODGLEN NURSING HOME                                        DAYTON         OH   45449‐3647
OTHEA TREADWELL         2514 NICHOLAS RD                                                                                      DAYTON         OH   45418
OTHEL FOUTS             1606 S LEEDY LANE RD                                                                                  ANDREWS        IN   46702‐9404
OTHEL GRAHAM            14605 SAINT ANDREWS DR                                                                                GRANDVIEW      MO   64030‐4171
OTHEL STINES            OAK BROOK                            179 SUBSTATION LOOP                                              ERIN           TN   37061
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Name                             Address1                              Address2                      Address3   Address4         City                State Zip
OTHEL THOMASON                   1621 TUNSTILL RD                                                                                HARTSELLE            AL 35640
OTHELIA GOLOMBISKY               19625 BURT RD RT # 1                                                                            BRANT                MI 48614
OTHELIA HURST                    1035 BRUSHYSTONE DR                                                                             LOGANVILLE           GA 30052‐8720
OTHELIA KING                     8190 KENSINGTON BLVD APT 757                                                                    DAVISON              MI 48423‐3161
OTHELIA M KING                   8190 KENSINGTON BLVD                  APT 757                                                   DAVISON              MI 48423‐3151
OTHELIA THOMPSON                 2022 N 86TH TER                                                                                 KANSAS CITY          KS 66109‐2062
OTHELL FLOWERS                   7300 CRYSTAL LAKE DR APT 5                                                                      SWARTZ CREEK         MI 48473‐8954
OTHELL PEEBLES                   606 W RUTH AVE                                                                                  FLINT                MI 48505‐2644
OTHELL R LEE                     C/O WEITZ & LUXENBERG PC              700 BROADWAY                                              NEW YORK CITY        NY 10003
OTHELL R LEE                     C/O WETIZ AND LUXENBERG PC            700 BROADWAY                                              NEW YORK CITY        NY 10003
OTHELLA BUCKNER                  7193 BURNING BUSH LN                                                                            FLUSHING             MI 48433‐2292
OTHELLA CANNON                   8260 COYOTE TRL                                                                                 TEXARKANA            TX 75503‐9656
OTHELLA COX                      20190 WILLOWICK DR                                                                              SOUTHFIELD           MI 48076‐5078
OTHELLA DARRINGTON               14409 N PENNSYLVANIA AVE APT F                                                                  OKLAHOMA CITY        OK 73134‐6020
OTHELLA JORDAN                   PO BOX 195202                                                                                   LITTLE ROCK          AR 72219‐5202
OTHELLA L DARRINGTON             14409 N PENNSYLVANIA AVE APT F                                                                  OKLAHOMA CITY        OK 73134
OTHELLO JAMES                    301 S TELEGRAPH RD APT 1                                                                        PONTIAC              MI 48341‐1961
OTHELLO U JAMES                  301 S TELEGRAPH RD APT 1                                                                        PONTIAC              MI 48341‐1961
OTHER PRIVATELY HELD COMPANIES
OTHERLIA HALL                    4256 LARCHMONT DR                                                                               DAYTON              OH   45417‐1217
OTHERSEN, CHARLES D              218 FORRER BLVD                                                                                 DAYTON              OH   45419‐3235
OTHERSEN, HERMAN D               1503 S CENTRAL DR                                                                               DAYTON              OH   45432‐2907
OTHERSEN, JACQUELINE M           416 TRIANGLE AVENUE                                                                             DAYTON              OH   45419‐1734
OTHIA BELL                       3286 E OVERLOOK RD                                                                              CLEVELAND HTS       OH   44118‐2114
OTHIC MICHAEL C (429569)         GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510
                                                                       STREET, SUITE 600
OTHIC, MICHAEL C                 GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                       STREET, SUITE 600
OTHIE BEAVERS                    2604 SQUIRE ST                                                                                  IRVING              TX   75062‐5226
OTHMAN NADER                     OTHMAN, NADER                         4624 ORCHARD AVE                                          DEARBORN            MI   48126
OTHMAN, HUSSEIN                  1408 AVALON DR                                                                                  MIDLAND             MI   48642‐3170
OTHMAN, HUSSEIN                  1409 AVALON DR                                                                                  MIDLAND             MI   48642‐3170
OTHMAN, MAHMOUD                  CONSUMER LEGAL SERVICES P.C.          30928 FORD RD                                             GARDEN CITY         MI   48135‐1803
OTHMAR E & VERLIN C BRINKER      OTHMAR E BRINKER & VERLIN C BRINKER   5260 CEDAR LANE                                           WASHINGTON          MO   63090
                                 TTEES
OTHO BUSH                        715 ROLLING ROAD DR                                                                             FRANKLIN            KY   42134‐2448
OTHO CASTO                       3679 W 137TH ST                                                                                 CLEVELAND           OH   44111‐3347
OTHO DULANEY                     1420 RYAN ST                                                                                    FLINT               MI   48532‐3745
OTHO FRANTZ                      9069 FRANCES RD                                                                                 OTISVILLE           MI   48463‐9411
OTHO JACKSON                     1225 WALKER AVE                                                                                 BALTIMORE           MD   21239‐1741
OTHO JEAN MARLAR                 1005 WEST A AVE                                                                                 NORTH LITTLE ROCK   AR   72116
OTHO SMITH                       4502 DUNTON TERRACE                                                                             PERRY HALL          MD   21128
OTHO WELLER                      917 MARSHFIELD CIR UNIT 102                                                                     MYRTLE BEACH        SC   29579‐9485
OTHON ZAMORA                     341 N CHERRY ST                                                                                 WHITEWATER          WI   53190‐1403
OTHONIEL HERAS                   2501 OLD HIGHWAY 79                                                                             O FALLON            MO   63366‐1137
OTHONIEL MARTINEZ                5562 S SAGINAW RD                                                                               FLINT               MI   48507‐4421
OTHOR ANDERSON                   29801 CHELMSFORD RD                                                                             SOUTHFIELD          MI   48076‐5705
OTHRESSA DANIEL                  4726 RICHMOND ST                                                                                LANSING             MI   48911‐2913
OTIE BARRETT                     2560 DUG HILL RD                      C/O OTIE WIRICK                                           BROWNSBORO          AL   35741‐9257
OTIEPKA, PAUL K                  11656 SCHRAM ST                                                                                 GRAND BLANC         MI   48439‐1318
OTILA BORJAS                     1373 N MIDDLESEX DR W                                                                           GENOA               OH   43430‐1265
OTILIA ELMASIAN                  9877 WATERTOWER RD                                                                              INTERLOCHEN         MI   49643‐9526
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Name                    Address1                          Address2                       Address3             Address4            City           State Zip
OTILIA LICARI           23034 NORMANDY AVE                                                                                        EAST DETROIT    MI 48021‐1856
OTILIA SILVA            5404 CHRONICLE CT                                                                                         RIVERBANK       CA 95367‐9577
OTIS                    2500 LAKE LANSING RD STE A        OTIS P.C.                                                               LANSING         MI 48912‐3694
OTIS ABEL               4742 PRIMROSE AVE                                                                                         INDIANAPOLIS    IN 46205‐2133
OTIS ALLEN              88 GARFIELD ST                                                                                            ROCHESTER       NY 14611
OTIS AMOS               2337 DISCOVERY DR                                                                                         ANDERSON        IN 46017‐9527
OTIS B DIXON            13084 APPLE TREE LANE                                                                                     DEWITT          MI 48820‐9638
OTIS BAGWELL            2535 BAGWELL DR                                                                                           CUMMING         GA 30040‐6336
OTIS BAKER              1865 W G TALLEY RD                                                                                        ALVATON         KY 42122‐8719
OTIS BALL               4904 BEDFORD ST                                                                                           DEARBORN HTS    MI 48125‐3404
OTIS BANKS JR.          18609 SAINT AUBIN ST                                                                                      DETROIT         MI 48234‐1292
OTIS BENJAMIN           529 BARON RD                                                                                              NORTH EAST      MD 21901‐2738
OTIS BENNETT            PO BOX 6423                                                                                               ALEXANDRIA      LA 71307‐6423
OTIS BLOODSAW           PO BOX 631                                                                                                JOLIET           IL 60434‐0631
OTIS BOBO               7946 S GREEN ST                                                                                           CHICAGO          IL 60620‐2555
OTIS BOTTOMS            7445 QUARTER HORSE LN                                                                                     GAINESVILLE     GA 30506‐5699
OTIS BRISCOE            4010 GROVE TRL                                                                                            LOGANVILLE      GA 30052‐4219
OTIS BRYANT             PO BOX 370154                                                                                             DECATUR         GA 30037‐0154
OTIS BUTTERFIELD        3795 WADSWORTH RD                                                                                         SAGINAW         MI 48601‐9694
OTIS BYRD               ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD   PO BOX 521          EAST ALTON       IL 62024
                                                          ANGELIDES & BARNERD LLC
OTIS BYRD (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C    ONE CENTRY TOWER, 11TH FLOOR,                                           NEW HAVEN       CT   06510
                                                          265 CHURCH
OTIS BYRD (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                          NEW HAVEN       CT   06510
                                                          265 CHURC
OTIS BYRD ESTATE OF     EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                          NEW HAVEN       CT   06510
                                                          265 CHURC
OTIS C ALLEN            14 SOUTHRIDGE DRIVE                                                                                       ROCHESTER      NY    14626‐4219
OTIS CALDWELL           36 WILLIAMSTOWNE CT APT 6                                                                                 CHEEKTOWAGA    NY    14227‐2067
OTIS CAMPBELL           APT 4                             1186 RIVER VALLEY DRIVE                                                 FLINT          MI    48532‐2948
OTIS CAMPBELL           2189 E SOCIAL ROW RD                                                                                      CENTERVILLE    OH    45458‐4803
OTIS CANADA INC         1 FARM SPRINGS RD                                                                     FARMINGTON CT
                                                                                                              060322500 CANADA
OTIS CANNON             900 BAY ST                                                                                                PONTIAC         MI 48342‐1904
OTIS CARTER             2620 MANCHESTER DR                                                                                        BRYAN           TX 77802‐4843
OTIS CAUTHEN JR         C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                               HOUSTON         TX 77007
                        BOUNDAS LLP
OTIS CHEATOM JR         5316 DUPONT ST                                                                                            FLINT          MI    48505‐2649
OTIS CLARK              3600 S CHAMPION AVE                                                                                       COLUMBUS       OH    43207‐5143
OTIS CLARK              4715 NORTON AVE                                                                                           KANSAS CITY    MO    64130‐2439
OTIS CLEVELAND          4632 CHRISTOPHER AVE                                                                                      DAYTON         OH    45406‐1316
OTIS COLVIN             3095 WEILACHER                                                                                            WARREN         OH    44481‐9105
OTIS COMBS              943 WHALEY RD                                                                                             NEW CARLISLE   OH    45344‐9711
OTIS COOK               2692 LARRY TIM DR                                                                                         SAGINAW        MI    48601‐5667
OTIS CORLEY             325 ROSEBERY RD                                                                                           COVINGTON      GA    30016‐5156
OTIS CORLEY JR          65 PINE VALLEY LN                                                                                         COVINGTON      GA    30016‐5134
OTIS CORTHELL           LEVY PHILLIPS & KONIGSBERG        800 3RD AVE 13 FLOOR                                                    NEW YORK       NY    10022‐4213
OTIS COTHRON            9008 SAW HORSE ST                                                                                         LAS VEGAS      NV    89143‐5421
OTIS CROFT              5955 E 1156 N                                                                                             DEMOTTE        IN    46310‐8967
OTIS CURRY              4150 N SHERMAN DR                                                                                         INDIANAPOLIS   IN    46226‐4465
OTIS D HENDRICK         NIX, PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                          DAINGERFILED   TX    75638
OTIS DALE MCCLAMROCH    BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS     OH    44236
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Name                    Address1                         Address2                       Address3                     Address4         City                State Zip
OTIS DARBY              6244 BEECHFIELD DR                                                                                            LANSING              MI 48911‐5731
OTIS DAVIS              697 BARG SALT RUN RD                                                                                          CINCINNATI           OH 45244‐1137
OTIS DAVIS              9365 FIRESTONE DR SE                                                                                          WARREN               OH 44484‐2117
OTIS DODSON             1812 S VALLEY AVE                                                                                             MARION               IN 46953‐2908
OTIS DOMKE              39555 COUNTY ROAD 227A                                                                                        CAMPBELL             MO 63933‐6367
OTIS DOTY               2480 N IRISH RD                                                                                               DAVISON              MI 48423‐9507
OTIS E LONG             5002 TWIN LAKES CIRCLE                                                                                        CLAYTON              OH 45315‐8761
OTIS E MORTON           ATTN ROBERT W PHILLIPS           C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                     EAST ALTON            IL 62024
                                                         ANGELIDES & BARNERD LLC      521

OTIS EDWARDS JR         G1092 LINCOLN DRIVE                                                                                           FLINT               MI   48507
OTIS ELEVATOR CO        ACCTS REC                        105 FAIRFIELD RD                                                             FAIRFIELD           NJ   07004‐2404
OTIS ELEVATOR CO        1 FARM SPRINGS RD                                                                                             FARMINGTON          CT   06032‐2572
OTIS ELEVATOR CO        PO BOX 73579                                                                                                  CHICAGO             IL   60673‐0001
OTIS ELEVATOR CO        PO BOX 905454                                                                                                 CHARLOTTE           NC   28290‐5454
OTIS ELEVATOR CO        1450 FIRESTONE PKWY STE A                                                                                     AKRON               OH   44301‐1655
OTIS ELEVATOR CO        25365 INTERCHANGE CT                                                                                          FARMINGTON HILLS    MI   48335‐1021
OTIS ELEVATOR COMPANY   4700 SMITH RD STE G                                                                                           CINCINNATI          OH   45212‐2776
OTIS ELEVATOR COMPANY   PO BOX 730400                                                                                                 DALLAS              TX   75373‐0400
OTIS ELEVATOR COMPANY   OTIS ELEVATOR COMPANY, ET AL     ATTN: TREASURY SERVICES ‐ T    1 FARM SPRINGS                                FARMINGTON          CT   06032
                                                         WIAFE 3RD FLOOR
OTIS EUTSY              2316 TOBY BETH DR                                                                                             FLINT               MI   48505‐1079
OTIS F ROBINSON         1817 KIPLING DRIVE                                                                                            DAYTON              OH   45406‐3917
OTIS FLETCHER           117 COTTONWOOD DR                                                                                             MURFREESBORO        TN   37128‐4603
OTIS FOUCHE JR          6012 CLEMENS AVE                                                                                              SAINT LOUIS         MO   63112‐2015
OTIS FOUNTAINE JR       4825 BELCOURT DR                                                                                              DAYTON              OH   45418‐2107
OTIS FOUNTAINE JR       4825 BELCOURT DR                                                                                              DAYTON              OH   45418‐2107
OTIS FRANKLIN JR        220 LEIGH DR                                                                                                  ELLENWOOD           GA   30294‐2690
OTIS G LAWRENCE         3210 N 11TH ST                                                                                                MILWAUKEE           WI   53206
OTIS G PEARCE           15425 JUNIPER LN                                                                                              BASEHOR             KS   66012‐8215
OTIS G WHITE            7038 N ORA PITTS RD                                                                                           WILLIAMSBURG        IN   47393‐9502
OTIS GALE               4075 WILDWOOD CT                                                                                              COMMERCE TOWNSHIP   MI   48382‐1080
OTIS GAMBLE             14248 ROSELAWN ST                                                                                             DETROIT             MI   48238‐2457
OTIS GILES              223 W HOWE AVE                                                                                                LANSING             MI   48906‐3137
OTIS GLOVER II          C/O THOMAS P WILLINGHAM          ALVIS & WILLINGHAM LLP         1400 URBAN CENTER DR SUITE                    BIRMINGHAM          AL   35242
                                                                                        475
OTIS GOODNIGHT          7921 S 100 E                                                                                                  LA FONTAINE         IN   46940‐8927
OTIS GREEN              124 E BUSBEE ST                                                                                               EAST CAMDEN         AR   71701‐7102
OTIS GREEN              6237 SELLERS ST                                                                                               OTTAWA LAKE         MI   49267‐9618
OTIS GULLEY             C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                                 NEW YORK CITY       NY   10003
OTIS GULLEY             WEITZ & LUXENBERG PC             700 BROADWAY                                                                 NEW YORK CITY       NY   10003
OTIS HALL               1712 REO RD                                                                                                   LANSING             MI   48910‐5118
OTIS HAMON              THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                                  HOUSTON             TX   77017
OTIS HAMPTON            4201 VICTORY PKWY APT 202                                                                                     CINCINNATI          OH   45229‐1669
OTIS HARRIS             2021 BLADES AVE                                                                                               FLINT               MI   48503‐4211
OTIS HARRIS             PO BOX 7164                                                                                                   BLOOMFIELD          MI   48302‐7164
OTIS HAYDEN             31 MICHAEL CT                                                                                                 MOORESVILLE         IN   46158‐8445
OTIS HAYES              9940 HIGHWAY 147                                                                                              STEWART             TN   37175‐7032
OTIS HAYES JR           78 SWANSON TER                                                                                                WILLIAMSVILLE       NY   14221‐1330
OTIS HENSLEY            84 LINDALE DR                                                                                                 FAIRFIELD           OH   45014‐1554
OTIS HIGHTOWER          1882 ALLANDALE AVE                                                                                            E CLEVELAND         OH   44112‐2036
OTIS HITT JR            11303 HOGAN RD                                                                                                GAINES              MI   48436‐9729
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Name                 Address1                        Address2                      Address3   Address4         City               State Zip
OTIS HOGANS          17565 STOEPEL                                                                             DETROIT             MI 48221
OTIS HOLMES          9660 APPOLINE ST                                                                          DETROIT             MI 48227‐3714
OTIS HOWARD          10337 SE 178TH ST                                                                         SUMMERFIELD         FL 34491‐7443
OTIS HOWELL          1231 MITCHELL RD                                                                          PARK HILLS          MO 63601‐8175
OTIS HUBBARD         8414 RICHARD AVE                                                                          SAINT LOUIS         MO 63132‐2804
OTIS HUNTER          59 GRIGGS ST SW                                                                           MARIETTA            GA 30064‐3415
OTIS IVORY           3323 WARD DR SW                                                                           ATLANTA             GA 30354‐2626
OTIS J. LINDSAY
OTIS JACKSON         5005 CEDARBROOK DR                                                                        SAGINAW            MI   48603‐1178
OTIS JACKSON         1420 SLOANE BOULEVARD                                                                     PLAINFIELD         NJ   07060‐2946
OTIS JACKSON         604 4TH ST                                                                                UNION SPRINGS      AL   36089‐1801
OTIS JACKSON         228 KEITH CT                                                                              MILLERSVILLE       MD   21108‐1035
OTIS JACKSON JR      662 HOPKINS CEMETERY RD                                                                   LILY               KY   40740‐3336
OTIS JAMES           23046 MIDDLEBELT RD APT 103                                                               FARMINGTON HILLS   MI   48336‐3679
OTIS JOHNSON         PO BOX 244                                                                                EDGERTON           WI   53534‐0244
OTIS JOHNSON         PO BOX 231103                                                                             DETROIT            MI   48223‐9103
OTIS JOHNSON         1489 PATTY CT SE                                                                          CONYERS            GA   30013‐1832
OTIS JONES           11 QUEEN RD                                                                               ROODHOUSE          IL   62082‐3001
OTIS JR LIGGINS      2041 SEYMOUR AVE                                                                          FLINT              MI   48503‐4342
OTIS KEENE           3115 CARLSBAD DR                                                                          INDIANAPOLIS       IN   46241‐6210
OTIS L FLETCHER      117 COTTONWOOD DR                                                                         MURFREESBORO       TN   37128‐4603
OTIS L HAMPTON       4201 VICTORY PKWY APT 202                                                                 CINCINNATI         OH   45229
OTIS L HIGHTOWER     1882 ALLANDALE AVE                                                                        CLEVELAND          OH   44112‐2036
OTIS L IVORY         3323 WARD DR SW                                                                           ATLANTA            GA   30354‐2626
OTIS L WARNEKE       1465 LEMCKE ROAD                                                                          BEAVER CREEK       OH   45434
OTIS LATTA           10607 ELMARGE AVE                                                                         CLEVELAND          OH   44105‐5318
OTIS LAWSON          22818 FELCH ST                                                                            CLEVELAND          OH   44128‐4739
OTIS LEFEVERS JR     1404 E SOUTHPORT RD                                                                       INDIANAPOLIS       IN   46227‐5319
OTIS LEWIS           4024 WINONA ST                                                                            FLINT              MI   48504‐2117
OTIS LONG            5002 TWIN LAKES CIR                                                                       CLAYTON            OH   45315‐8761
OTIS LOUDEN JR       PO BOX 13561‐3561                                                                         FLINT              MI   48501
OTIS LYLE            PO BOX 5512                                                                               FLINT              MI   48505‐0512
OTIS M. SMITH
OTIS MADISON         3138 ROLLA PL                                                                             SAINT LOUIS        MO   63115‐3207
OTIS MARSHALL        3214 PROSPECT ST                                                                          FLINT              MI   48504‐3290
OTIS MARTIN          5245 LIPPINCOTT BLVD                                                                      BURTON             MI   48519‐1251
OTIS MARTIN JR       715 17TH AVE                                                                              MIDDLETOWN         OH   45044‐5634
OTIS MASSEY          17 LAKE ST                                                                                PONTIAC            MI   48341‐2121
OTIS MATLOCK         PO BOX 112                                                                                PIGGOTT            AR   72454‐0112
OTIS MC GAUGHEY JR   1213 NW CHESWICK PL                                                                       LAWTON             OK   73505‐4014
OTIS MC GLOTHIN      19480 ROBSON ST                                                                           DETROIT            MI   48235‐1953
OTIS MC LANE         5201 PECK RD                                                                              NORTH BRANCH       MI   48461‐9367
OTIS MCDANIEL        806 E ALMA AVE                                                                            FLINT              MI   48505‐2226
OTIS MCDANIEL        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS         OH   44236
OTIS MCDONALD JR     45157 UTICA GREEN E BLDG 9                                                                SHELBY TWP         MI   48317
OTIS MCDONALD, JR.   45157 UTICA GRN W                                                                         SHELBY TWP         MI   48317‐5150
OTIS MCKINLEY        4850 FOX CRK E APT 43                                                                     CLARKSTON          MI   48346‐4921
OTIS MCNABB          THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                               HOUSTON            TX   77017
OTIS MIRACLE         5240 WASHBURN RD                                                                          VASSAR             MI   48768‐8901
OTIS MITCHELL        10426 N 97TH DR APT B                                                                     PEORIA             AZ   85345‐3233
OTIS MITCHELL        991 YORKWOOD RD                                                                           MANSFIELD          OH   44907‐2434
OTIS MOONEY          2416 SW 141ST TER                                                                         OKLAHOMA CITY      OK   73170‐5755
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OTIS MORROW           1100 BELCHER RD S # 399                                                                LARGO             FL 33771‐3351
OTIS MOYER JR         815 N DEWEY ST                                                                         OWOSSO            MI 48867‐1836
OTIS MURPHY           3829 E CENTENARY RD                                                                    MOORESVILLE       IN 46158‐6854
OTIS NELSON           9540 STUART ST                                                                         OLIVE BRANCH      MS 38654‐2617
OTIS PACE JR          PO BOX 7562                                                                            BLOOMFIELD        MI 48302‐7562
OTIS PARAMORE         908 PEARL HARBOR ST                                                                    BRIDGEPORT        CT 06610‐2327
OTIS PARHAM JR        3210 VILLAGE COURT DR                                                                  FORT WAYNE        IN 46806‐2643
OTIS PARK MENS CLUB   1102 16TH ST                                                                           BEDFORD           IN 47421‐3722
OTIS PEARCE           15425 JUNIPER LN                                                                       BASEHOR           KS 66012‐8215
OTIS PERRY            3107 OLNEY RD                                                                          KALAMAZOO         MI 49006‐2905
OTIS PETTIS JR        4830 FLAGSTONE CT                                                                      HUBER HEIGHTS     OH 45424‐1906
OTIS PHARR JR         45 DACULA RD                                                                           DACULA            GA 30019‐2135
OTIS PHILLIPS         BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS    OH 44236
OTIS PORTER           1137 MORNINGSIDE DR                                                                    KOKOMO            IN 46901‐1962
OTIS POWELL           850 WALDSMITH WAY                                                                      VANDALIA          OH 45377‐9671
OTIS POWELL           2525 MERRILL RD                                                                        DAYTON            OH 45414‐1647
OTIS PRESTAGE JR      PO BOX 471374                                                                          FORT WORTH        TX 76147‐1376
OTIS QUINN            12533 S YOUNGS PL                                                                      OKLAHOMA CITY     OK 73170‐3409
OTIS R HITT JR        11303 HOGAN RD                                                                         GAINES            MI 48436‐9729
OTIS RANSBY           2465 UNION RD SW                                                                       ATLANTA           GA 30331‐2700
OTIS REED             G 5170 EAST ATHERTON RD                                                                BURTON            MI 48519
OTIS REED JR          6411 SANTA ANITA DR                                                                    SAGINAW           MI 48603‐6178
OTIS RENFORD          66 BLAINE AVE                                                                          BUFFALO           NY 14208‐1057
OTIS ROBINSON         1817 KIPLING DR                                                                        DAYTON            OH 45406‐3917
OTIS RODGERS          PO BOX 573                    1809 HWY 33                                              CASSCOE           AR 72026‐0573
OTIS ROGERS           1461 JOLSON AVE                                                                        BURTON            MI 48529‐2029
OTIS ROGERS JR        521 LINDEN ST                                                                          LIMA              OH 45804‐1336
OTIS SALYER           37122 ILENE ST                                                                         CLINTON TWP       MI 48036‐2567
OTIS SAMUEL           35 S ASTOR ST                                                                          PONTIAC           MI 48342‐2910
OTIS SHACKLEFORD      2859 BEAVER RD                                                                         UNION             KY 41091‐9038
OTIS SHAFFER          102 BOY SCOUT RD                                                                       MASONTOWN         PA 15461‐2564
OTIS SMILEY           1440 NE 34TH ST                                                                        OKLAHOMA CITY     OK 73111‐4704
OTIS SMITH            PO BOX 7008                                                                            BAINBRIDGE        GA 39818‐7008
OTIS SMITH            2493 BROWNSVILLE RD                                                                    POWDER SPRINGS    GA 30127‐6612
OTIS SNELL            6819 CRANWOOD DR                                                                       FLINT             MI 48505‐1956
OTIS SPURLING         BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH 44236
OTIS STANLEY          PO BOX 42                                                                              WASHINGTON TWP    MI 48094‐0042
OTIS STILL            6409 N 100 E                                                                           OSSIAN            IN 46777‐9668
OTIS STRICKLAND       5210 GLADDEN RD                                                                        FAIRBURN          GA 30213‐2805
OTIS SUMMERS          55980 WOODROW LN                                                                       CUMBERLAND        OH 43732‐9325
OTIS TAYLOR           16 PATTERSON DR                                                                        GEORGETOWN        DE 19947‐9468
OTIS TERRY            1414 HIGHLAND AVE APT 9                                                                SHREVEPORT        LA 71101‐4866
OTIS THAMES           15 STANSBURY CV.                                                                       HUMBOLDT          TN 38343
OTIS THOMAS           5319 E 33RD ST                                                                         INDIANAPOLIS      IN 46218‐2427
OTIS THOMAS JR        16661 BRANDT ST                                                                        ROMULUS           MI 48174‐3214
OTIS THREET           1314 ERIE CHURCH RD                                                                    BEDFORD           IN 47421‐7599
OTIS TIPPINS          133 ODETTE ST                                                                          FLINT             MI 48503‐1063
OTIS TIPTON JR        9850 WASHINGTON CHURCH RD                                                              MIAMISBURG        OH 45342‐4512
OTIS TUBBS            4719 N ASHFORD WAY                                                                     YPSILANTI         MI 48197‐6124
OTIS TUBBS            4412 S. LAWLER                                                                         CHICAGO            IL 60638‐1954
OTIS TURNER           3108 CANNOCK LN                                                                        COLUMBUS          OH 43219‐3000
OTIS VILES JR         5775 E ROOSEVELT RD                                                                    ASHLEY            MI 48806‐9755
                                  09-50026-mg            Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                              Address1                       Address2                   Address3   Address4                  City            State Zip
OTIS W CROMARTIE SR & MAE JOYCE   JOINT TENANTS                  3007 19TH PLACE                                                 NORTH CHICAGO     IL 60064‐1905
CROMARTIE
OTIS W TIPTON JR                  9850 WASHINGTON CHURCH RD                                                                      MIAMISBURG      OH   45342‐4512
OTIS WADE                         PO BOX 18306                                                                                   RIVER ROUGE     MI   48218‐0306
OTIS WALKER                       20031 TRINITY ST                                                                               DETROIT         MI   48219‐1353
OTIS WALKER                       160 E NEWALL ST                                                                                FLINT           MI   48505‐5030
OTIS WARNEKE                      1465 LEMCKE RD                                                                                 DAYTON          OH   45434‐6728
OTIS WASHINGTON                   3339 SOUTHFIELD DR                                                                             SAGINAW         MI   48601‐5679
OTIS WEBB                         1670 STIRLING AVE                                                                              PONTIAC         MI   48340‐1344
OTIS WHITED                       4701 S PENINSULA DR                                                                            PONCE INLET     FL   32127‐7127
OTIS WHITFORD                     9711 UPTON RD                                                                                  LAINGSBURG      MI   48848‐9620
OTIS WILLIAMS                     363 CORNWALL AVE                                                                               BUFFALO         NY   14215‐3101
OTIS WILLIAMS                     1106 CLEVELAND AVE                                                                             DANVILLE        IL   61832‐6409
OTIS WILLIAMS                     30320 SOUTHFIELD RD APT 65A                                                                    SOUTHFIELD      MI   48076‐1329
OTIS WILLIAMS                     2307 WINONA ST                                                                                 FLINT           MI   48504‐7106
OTIS WILLIAMS                     1427 SENTINEL RIDGE DR                                                                         FLINT           MI   48532‐3750
OTIS WILLIAMS SR                  256 OAK DR                                                                                     MOBILE          AL   36617‐3713
OTIS WILLIAMSON                   PO BOX 898                                                                                     HOUGHTON LAKE   MI   48629‐0898
OTIS WILSON                       5435 FORCE RD                                                                                  BALTIMORE       MD   21206‐4617
OTIS WINSTON                      2423 BLUE HARBOR DR                                                                            FORT WAYNE      IN   46804‐8406
OTIS, AMANDA M                    UNIT 340                       401 WEST SHORELINE DRIVE                                        SANDUSKY        OH   44870‐0912
OTIS, CHASON D                    5133 POST OAK RD                                                                               JACKSON         MS   39206‐3127
OTIS, DAVID EARL                  RR 7 213                                                                                       EDINBURG        TX   78541
OTIS, ELIZABETH                   749 WESTLAKE CIR                                                                               SARASOTA        FL   34232‐1944
OTIS, HELEN H                     903 RANDOLPH AVENUE                                                                            DAYTON          OH   45408‐1734
OTIS, HELEN H                     903 RANDOLPH ST                                                                                DAYTON          OH   45408‐1734
OTIS, JAMES E                     122 GRAY RD                                                                                    LAPEER          MI   48446‐2853
OTIS, JESSIE R                    83 SOLOMON LN                                                                                  PRENTISS        MS   39474‐3085
OTIS, LAWRENCE J                  1067 URANA AVE                                                                                 COLUMBUS        OH   43224‐3334
OTIS, LENORA F                    316 N MILLER AVE                                                                               MARION          IN   46952‐2307
OTIS, LUCILLE                     1051 TANGLEWOOD DR                                                                             SAINT HELEN     MI   48656‐9536
OTIS, RACHEL                      802 S MASON ST                                                                                 SAGINAW         MI   48602‐2239
OTIS, RICHARD E                   650 AUGUSTA AVE                                                                                COLUMBUS        OH   43228‐2902
OTIS, SHAWN Y                     417 E YORK AVE                                                                                 FLINT           MI   48505‐2158
OTIS, SUSY A                      1067 URANA AVE                                                                                 COLUMBUS        OH   43224‐3334
OTIS, SUSY A                      1067 URANA AVENUE                                                                              COLUMBUS        OH   43224‐3334
OTIS, TAMARA L                    2772 E 5 POINT HWY                                                                             CHARLOTTE       MI   48813‐9163
OTIS, WALTER C                    104 GILLIS AVE                                                                                 LIVERPOOL       NY   13088‐6018
OTIS, WILLARD G                   4352 N OAK RD                                                                                  DAVISON         MI   48423‐9301
OTIS, WILLIAM A                   2772 E 5 POINT HWY                                                                             CHARLOTTE       MI   48813‐9163
OTIS, WILLIE H                    PO BOX 18352                                                                                   SHREVEPORT      LA   71138‐1352
OTIS, WILLIE HARRIS               PO BOX 18352                                                                                   SHREVEPORT      LA   71138‐1352
OTIS‐CLAYBORNE ROBIN NICOLE       1007 PINE ST                                                                                   WAUKEGAN        IL   60085‐2725
OTJEN, RENEE M                    2550 RICHARDS DR                                                                               WHITE LAKE      MI   48383‐3256
OTLER, VERNICE                    802 E PIERSON RD                                                                               FLINT           MI   48505‐3559
OTLOSKI, EDWARD C                 2529 N CHEVROLET AVE                                                                           FLINT           MI   48504‐2843
OTMAN ZIEGER                      TAUKA 117/1                                                          A‐8384 MINIHOF‐LIEBAU
                                                                                                       AUSTRIA
OTMAR SPALT                       PESTALOZZISTR 76                                                     D‐66578 SCHIFFWEILER
                                                                                                       GERMANY
OTMAR SPALT                       PESTALOZZISTRASSE 76                                                 D 66578 SCHIFFWEILER DE
                                                                                                       GERMANY
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Name                                   Address1                           Address2                        Address3        Address4         City               State Zip
OTMAR ZIEGER                           TAUKA 117/1
OTMER STARCHER                         PO BOX 3                           12128 GREENWICH RD                                               HOMERVILLE         OH    44235‐0003
OTOCKI, HELEN A                        4529 ELM AVE                                                                                        BROOKFIELD         IL    60513‐2364
OTOCKI, JOHN S                         4529 ELM AVE C                                                                                      BROOKFIELD         IL    60513
OTOCKI, RAYMOND G                      3361 BREWER RD                                                                                      DARIEN             IL    60561‐1751
OTOE COUTNY TREASURER                  PO BOX 723                                                                                          NEBRASKA CITY      NE    68410‐0723
OTONIEL HINOJOSA                       42 GEORGETOWN CT                                                                                    DEARBORN           MI    48126‐3482
OTOO, ERASMUS A                        2896 CHIPPEWA CT                                                                                    TROY               MI    48085‐1104
OTOOLE DAVID                           10228 ROLAND LN                                                                                     FT WASHINGTON      MD    20744‐4023
OTOOLE PRINTING INC                    1300 LINCOLN HWY                                                                                    NORTH VERSAILLES   PA    15137‐2128
OTOOLE, DAVID J                        13377 BISHOP RD                                                                                     SAINT CHARLES      MI    48655‐9631
OTOOLE, JOHN T                         456 S 80TH PL                                                                                       MESA               AZ    85208‐4701
OTOOLE, ROBERT H                       217 CEDARWOOD DR                                                                                    FLUSHING           MI    48433‐1803
OTOOLE, RUTH                           32058 HAZELWOOD                                                                                     WESTLAND           MI    48186‐4931
OTOOLE, STEPHEN E                      2014 HOMER TER                                                                                      RESTON             VA    20191‐1343
OTOOLE, TIMOTHY R                      626 ENSENADA CT                                                                                     BEREA              OH    44017‐2633
OTOUPAL, WENDY J                       PO BOX 549                                                                                          BROWNSBURG         IN    46112
OTRAS, ETHEL A                         83 SEMINARY DR                                                                                      MAHWAH             NJ    07430‐2558
OTREMBA, EUGENE J                      4651 BUCHANAN AVE                                                                                   WARREN             MI    48092‐1704
OTREMBA, KYLE W                        1625 E 13 MILE RD APT 107                                                                           MADISON HTS        MI    48071‐5021
OTREMBA, LEONA                         2043 CORAL LN                                                                                       EAGAN              MN    55122‐2008
OTREMBA, LEONA                         2043 CORAL LANE                                                                                     EAGAN              MN    55122‐2008
OTREMBA, MICHAEL J                     8206 SAINT JAMES CT                                                                                 GROSSE ILE         MI    48138‐1774
OTREMBA, ROBERT R                      2502 LIVERNOIS AVE                                                                                  DETROIT            MI    48209‐1228
OTROSHINA, JOSEPH                      85 CLEAR LAKE RD                                                                                    WHITING            NJ    08759‐2981
OTS EVENTS                             745 FIIFTH AVENUE STE 1707                                                                          NEW YORK           NY    10151
OTS SIGNS L.P.                         745 5TH AVE STE 1707                                                                                NEW YORK           NY    10151‐1700
OTS SIGNS LP                           C/O HERRICK FEINSTEIN LLP          ATTN GLORIA HUANG               2 PARK AVENUE                    NEW YORK           NY    10016
OTSEGO AUTOMOTIVE, INC.                55 ONEIDA ST                                                                                        ONEONTA            NY    13820‐2107
OTSEGO MEMORIAL HOSP                   825 N CENTER AVE                                                                                    GAYLORD            MI    49735‐1592
OTSEIDU, KODWO                         62 FORESTBROOK COURT                                                                                GETZVILLE          NY    14068‐1407
OTSTOT, DAVID W                        1007 HILLSIDE DR                                                                                    OOLITIC            IN    47451‐9744
OTSTOT, JEFFERY A                      27537 CHERRY CREEK DR                                                                               VALENCIA           CA    91354
OTT CHARLES (625691)                   ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                       BALTIMORE          MD    21202
                                                                          CHARLES CENTER 22ND FLOOR
OTT EDWIN                              121 SANDSTONE LN                                                                                    CANFIELD           OH 44406
OTT FILLMORE (125906)                  FEDULO WILLIAM                     THE CURTIS CENTER , SUITE 770                                    PHILADELPHIA       PA 19106
                                                                          WEST
OTT FILMORE (302887) ‐ OTT GEORGE      FEDULO WILLIAM                     THE CURTIS CENTER , SUITE 770                                    PHILADELPHIA        PA 19106
                                                                          WEST
OTT HERMAN                             17583 N SHORE ESTATES RD                                                                            SPRING LAKE         MI 49456‐9111
OTT JOHN (308296) ‐ HASTY WILLIAM      BARON & BUDD                       3102 OAK LAWN AVE STE 1100                                       DALLAS              TX 75219‐4283
CLAUDY
OTT JOHN (308296) ‐ OTT JOHN WARREN    BARON & BUDD                       3102 OAK LAWN AVE STE 1100                                       DALLAS              TX   75219‐4283

OTT JOHN (308296) ‐ SHELL BILL ALLEN   BARON & BUDD                       3102 OAK LAWN AVE STE 1100                                       DALLAS             TX    75219‐4283
OTT JR, CHARLES S                      1890 LUFBERRY ST                                                                                    RAHWAY             NJ    07065‐4514
OTT JR, NORMAN D                       1015 S GRAND AVE                                                                                    LANSING            MI    48910‐1611
OTT JR, RICHARD A                      1806 STONEY POINT DR                                                                                LANSING            MI    48917‐1412
OTT JR, ROBERT W                       2650 W UNION HILLS DR LOT 266                                                                       PHOENIX            AZ    85027‐5022
OTT JR, WILLIAM J                      2110 TEAKWOOD DR                                                                                    AUSTIN             TX    78757‐7751
OTT ROBERT                             10711 96TH AVE N                                                                                    MAPLE GROVE        MN    55369‐3742
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Name               Address1                           Address2                       Address3    Address4               City            State Zip
OTT ROSEMARIE      OTT ROSEMARIE                      GORLITZER STR 49                           10997 BERLIN GERMANY
OTT, BESSIE L      806 N SIXTH ST                                                                                       FESTUS          MO    63028
OTT, BLANCHE A     4755 SHATTUCK                                                                                        SAGINAW         MI    48603‐2960
OTT, BLANCHE A     4755 SHATTUCK RD                                                                                     SAGINAW         MI    48603‐2960
OTT, CAROL E       2965 MIDLAND RD                                                                                      SAGINAW         MI    48603‐2775
OTT, CHARLES       ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                         BALTIMORE       MD    21202
                                                      CHARLES CENTER 22ND FLOOR
OTT, CHARLES       WEITZ & LUXENBERG                  180 MAIDEN LANE                                                   NEW YORK        NY    10038
OTT, CHARLES B     709 STONESIGN DR                                                                                     FENTON          MO    63026‐3325
OTT, CHARLES M     1691 N MICHIGAN RD                                                                                   EATON RAPIDS    MI    48827‐9220
OTT, CHARLES W     11965 RD 5 LOT #3                                                                                    DELTA           OH    43515
OTT, CHERI L       49474 PINE RIDGE CT                                                                                  PLYMOUTH        MI    48170‐6306
OTT, COLLEEN E     1691 N MICHIGAN RD                                                                                   EATON RAPIDS    MI    48827‐9220
OTT, DAISY D       943 FAIRVIEW AVE                                                                                     PONTIAC         MI    48340‐2522
OTT, DALE W        2425 WESLEY AVE                                                                                      JANESVILLE      WI    53545‐2244
OTT, DARRYL E      29232 FIELDSTONE                                                                                     FARMINGTN HLS   MI    48334‐4102
OTT, DAVID         KROHN & MOSS ‐ IN                  120 WEST MADISON STREET 10TH                                      CHICAGO         IL    60602
                                                      FLOOR
OTT, DAVID G       108 TIGER LILLY DR                                                                                   PARRISH         FL    34219‐9114
OTT, DELMAR V      37969 CHESTNUT RIDGE RD                                                                              ELYRIA          OH    44035
OTT, DENNIS D      1004 NEWMAN ST                                                                                       JANESVILLE      WI    53545‐1083
OTT, DENNIS L      4719 S PORTER RD                                                                                     ONAWAY          MI    49765
OTT, DIANE         1540 OVERLOOK CIR                                                                                    CICERO          IN    46034‐9627
OTT, DONALD F      4518 DOGWOOD LN                                                                                      SAGINAW         MI    48603‐1990
OTT, DONALD J      210 SAINT IVES N                                                                                     LANSING         MI    48906‐1512
OTT, DONNA J       2425 WESLEY AVE                                                                                      JANESVILLE      WI    53545‐2244
OTT, DORIS M       559 DIAMOND RD                                                                                       MASON           MI    48854‐9601
OTT, DOUGLAS L     559 S DIAMOND RD                                                                                     MASON           MI    48854‐8605
OTT, EARL L        GUARDIANSHIP SERVICES OF SAGINAW   100 S. JEFFERSON AVE           SUITE 102                          SAGINAW         MI    48607
                   COUNTY INC
OTT, EDWARD C      4909 CROOKS RD APT E4                                                                                ROYAL OAK       MI    48073‐1247
OTT, EDWARD G      943 FAIRVIEW AVE                                                                                     PONTIAC         MI    48340‐2522
OTT, ELIZABETH     635 E MARKET ST                                                                                      SANDUSKY        OH    44870‐2833
OTT, ELIZABETH M   9640 JUNCTION RD                                                                                     FRANKENMUTH     MI    48734‐9579
OTT, ELIZABETH M   9640 WEST JUNCTION ROAD                                                                              FRANKENMUTH     MI    48734‐9579
OTT, ELVIS J       230 MCGARRY DR                                                                                       LANSING         MI    48911‐5049
OTT, FILLMORE      FEDULO WILLIAM                     THE CURTIS CENTER, SUITE 770                                      PHILADELPHIA    PA    19106
                                                      WEST
OTT, FLORENCE R    1639 BOXFORD ST                                                                                      TRENTON         MI    48183‐1871
OTT, FRANCIS J     114 ARGONNE AVE                                                                                      YARDVILLE       NJ    08620‐1653
OTT, FRANK R       PO BOX 561                                                                                           TAZEWELL        TN    37879‐0561
OTT, FRIEDRICH     6 HANOVER DR                                                                                         FRANKENMUTH     MI    48734‐2003
OTT, GARY H        59 ROME DR                                                                                           MARTINSBURG     WV    25403‐1472
OTT, GARY L        5273 STEWART RD                                                                                      LAPEER          MI    48446‐9695
OTT, GEORGE        FEDULO WILLIAM                     THE CURTIS CENTER, SUITE 770                                      PHILADELPHIA    PA    19106
                                                      WEST
OTT, GEORGE W      1340 PIUS ST                                                                                         SAGINAW         MI    48638‐6501
OTT, GLENNYS M     105 DANA LN                                                                                          BOSSIER CITY    LA    71111‐6321
OTT, GREGORY J     210 LOCUST ST                                                                                        EMSWORTH        PA    15202‐1517
OTT, GRETCHEN A    266 GARDEN ROAD                                                                                      COLUMBUS        OH    43214‐2162
OTT, HANS M        10459 AUDIE BROOK DRIVE                                                                              SPRING HILL     FL    34608‐8462
OTT, HAROLD W      22379 PAUL DRIVE                                                                                     BROOKSVILLE     FL    34601‐7081
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Name                 Address1                         Address2                     Address3   Address4               City                    State Zip
OTT, HAROLD W        106 BELVEDERE RD.                                                        CRYSTAL BEACH ONTARI
                                                                                              CANADA L0S‐1B0
OTT, HENRIETTA L     910 SOUTHVIEW DR                                                                                INDIANAPOLIS            IN    46227‐2318
OTT, HENRY N         710 ROYAL SUNSET DR                                                                             WEBSTER                 NY    14580‐2566
OTT, HERMAN E        3533 GLENWOOD AVE                                                                               LANSING                 MI    48910‐4707
OTT, IRIS G          31 S TRANSIT HILL DR                                                                            DEPEW                   NY    14043‐4803
OTT, JACK            PO BOX 457                                                                                      WALESKA                 GA    30183‐0457
OTT, JACK            2 INDRIO BLVD                                                                                   INDIAN HARBOUR BEACH    FL    32937‐4370
OTT, JAMES H         W12659 BYRON ROAD                                                                               MUSKEGO                 WI    53150
OTT, JAMES L         11 MAPLEVIEW DR                                                                                 GLADSTONE               MI    49837‐2352
OTT, JAMES M         6828 SALINE DR                                                                                  WATERFORD               MI    48329‐1255
OTT, JANET E         4486 CLARK SHAW RD                                                                              POWELL                  OH    43065‐9715
OTT, JANICE          1738 E PIONEER RD                                                                               ROSCOMMON               MI    48653‐9729
OTT, JASON D         266 GARDEN ROAD                                                                                 COLUMBUS                OH    43214‐2162
OTT, JEAN M          5156 W 96TH ST                                                                                  BLOOMINGTON             MN    55437‐2006
OTT, JOAN            32001 CHERRYHILL RD # 1006                                                                      WESTLAND                MI    48186‐7930
OTT, JOHN A          13040 N WEBSTER RD                                                                              CLIO                    MI    48420‐8210
OTT, JOHN WARREN     BARON & BUDD                     THE CENTRUM, 3102 OAK LAWN                                     DALLAS                  TX    75219
                                                      AVE, STE 1100
OTT, JOSEPH E        3020 RUSHLAND DR                                                                                KETTERING               OH    45419‐2138
OTT, JOSEPH H        5739 RIDGEWOOD DR                                                                               WESTERN SPRGS            IL   60558‐2128
OTT, JULIA G         7484 N RAIDER RD                                                                                MIDDLETOWN              IN    47356‐9448
OTT, JUSTIN C        2860 COVE CROSSING DR                                                                           LAWRENCEVILLE           GA    30045‐8619
OTT, KENNETH D       14743 POWER DAM RD                                                                              DEFIANCE                OH    43512‐6807
OTT, KENNETH DALE    14743 POWER DAM RD                                                                              DEFIANCE                OH    43512‐6807
OTT, LARRY E         49474 PINE RIDGE CT                                                                             PLYMOUTH                MI    48170‐6306
OTT, LARRY L         190 OVERLOOK LN                                                                                 CLINTON                 TN    37716‐6180
OTT, LAVERNE E INC   PO BOX 352                       61 FILLMORE AVE                                                TONAWANDA               NY    14151‐0352
OTT, LAWRENCE A      HC‐32 BOX 19                                                                                    TRUTH OR CONSEQUENCE    NM    87901‐9776
OTT, LAWRENCE A      HC 32 BOX 19                                                                                    TRUTH OR CONSEQUENCES   NM    87901‐9776

OTT, LINDA J         HC32 BOX 19                                                                                     TRUTH OR CONSEQUENCE    NM 87901‐9776
OTT, LINDA J         HC 32 BOX 19                                                                                    TRUTH OR CONSEQUENCES   NM 87901‐9776

OTT, LOUISE          11391 N. GENESSEE RD.                                                                           CLIO                    MI    48420‐9754
OTT, LOUISE          11391 N GENESEE RD                                                                              CLIO                    MI    48420‐9754
OTT, LYNN L          5864 SHORE CT                                                                                   CLARKSTON               MI    48346‐2755
OTT, MADONNA A       2375 SIEBER TRACE                                                                               XENIA                   OH    45385‐9377
OTT, MARGARET P      236 PORTAL DR                                                                                   CORTLAND                OH    44410‐1523
OTT, MARGARET P      236 PORTAL DRIVE                                                                                CORTLAND                OH    44410‐1523
OTT, MARJORIE A      5929 E HILLCREST DR                                                                             EATON RAPIDS            MI    48827‐8583
OTT, MARSHA J        PO BOX 561                                                                                      TAZEWELL                TN    37879
OTT, MICHAEL F       47632 ZUNIC DR                                                                                  FREMONT                 CA    94539‐7552
OTT, MICHAEL W       5575 KNOLLWOOD DRIVE R           T1                                                             LEWISBURG               OH    45338
OTT, MICHELE L       221 S RIVER ST                                                                                  EATON RAPIDS            MI    48827‐1503
OTT, MURITA          908 WARREN ST                                                                                   SANDUSKY                OH    44870‐3759
OTT, NORMAN D        39210 E AL GOSSETT RD                                                                           LONE JACK               MO    64070‐8525
OTT, NORMAN D        2116 JAYMIE WAY                                                                                 LAS VEGAS               NV    89106‐3930
OTT, NORMAN L        1860 MARLBORO LN APT B                                                                          CREST HILL              IL    60403‐2332
OTT, OLA M           4548 HAWTHORNE AVE                                                                              SHEFFIELD LAKE          OH    44054‐1353
OTT, PAUL J          71 GRASSPOINTE DRIVE                                                                            BUFFALO                 NY    14228‐2819
OTT, PHILIP M        6706 BRECKENRIDGE RD                                                                            LISLE                   IL    60532
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Name                            Address1                      Address2                 Address3         Address4               City                   State Zip
OTT, RAYMOND F                  PO BOX 95                                                                                      FARMERSVILLE STATION    NY 14060‐0095
OTT, RAYMOND L                  454 KIRKWOOD DR                                                                                OXFORD                  MI 48371‐6145
OTT, RENATA M                   12557 SCOTT RD                                                                                 FREELAND                MI 48623‐9532
OTT, RICHARD A                  23 LITTLE CEDAR CT                                                                             ASHEVILLE               NC 28805‐2487
OTT, RICHARD A                  5929 E HILLCREST DR                                                                            EATON RAPIDS            MI 48827‐8583
OTT, RICHARD CASPER             BOONE ALEXANDRA               205 LINDA DR                                                     DAINGERFIELD            TX 75638‐2107
OTT, RICHARD L                  7484 N RAIDER RD                                                                               MIDDLETOWN              IN 47356‐9448
OTT, RICHARD M                  11384 N GENESEE RD                                                                             CLIO                    MI 48420‐9754
OTT, RITA L                     269 SUNSET DR                                                                                  JANESVILLE              WI 53548‐3248
OTT, RODNEY R                   1540 OVERLOOK CIR                                                                              CICERO                  IN 46034‐9627
OTT, RONALD E                   26 MELBERRY TRL                                                                                ORCHARD PARK            NY 14127‐1124
OTT, RUTH                       724 N CENTER ST                                                                                NORTHVILLE              MI 48167
OTT, SHIRLEE A                  11200 WEST US 23                                                                               MACKINAW CITY           MI 49701
OTT, STANLEY E                  3680 EAST M‐72                                                                                 GRAYLING                MI 49738
OTT, STANLEY F                  361 SHUMMARD BR                                                                                OXFORD                  MI 48371‐6365
OTT, STEFAN V                   52156 NAUGATUCK DR                                                                             MACOMB                  MI 48042‐3842
OTT, STEVEN P                   3885 DURANGO GREEN DR                                                                          CLEVES                  OH 45002‐1388
OTT, SUE                        118 NORTH THIRD ST                                                                             TIPP CITY               OH 45371‐5371
OTT, SUE                        118 N 3RD ST                                                                                   TIPP CITY               OH 45371‐1916
OTT, TANG                       621 REED RD                                                                                    MANSFIELD               OH 44903‐9278
OTT, THOMAS G                   5757 METZGER CT                                                                                SAGINAW                 MI 48603‐2674
OTT, THOMAS G                   5757 METZGER                                                                                   SAGINAW                 MI 48603‐2674
OTT, THOMAS J                   731 PANORAMA DR                                                                                MILFORD                 MI 48381‐1553
OTT, THOMAS J                   5156 W 96TH ST                                                                                 BLOOMINGTON             MN 55437‐2006
OTT, TIMOTHY D                  3350 SWEETWATER RD APT 1014                                                                    LAWRENCEVILLE           GA 30044
OTT, TIMOTHY J                  332 W CALLE DEL ESTRIBO                                                                        SAHUARITA               AZ 85629‐8531
OTT, WERNER                     165 KOEPENICKER STR                                                     12355 BERLIN GERMANY
OTT, WILLIAM E                  DONALDSON & BLACK             208 W WENDOVER AVE                                               GREENSBORO             NC   27401‐1307
OTT, WILLIAM H                  4964 SAUNDERS SETTLEMENT RD                                                                    LOCKPORT               NY   14094‐9657
OTT,JOSEPH E                    3020 RUSHLAND DR                                                                               KETTERING              OH   45419‐2138
OTTAIFA, ALI M                  1554 WYOMING ST                                                                                DEARBORN               MI   48120‐1736
OTTARSON, KENNETH R             8647 CULEBRA AVE                                                                               NORTH PORT             FL   34287‐5433
OTTARSON, LUCILE F              2450 FOREST OAK TRL                                                                            WILLIAMSTON            MI   48895‐9030
OTTARSON, PATRICIA A            1113 LESLIE ST                                                                                 LANSING                MI   48912‐2509
OTTAUNICK, CIPRIANA             152 FRANKLIN STREET                                                                            TRENTON                NJ   08611‐3650
OTTAVI, EUGENE J                5677 S TRANSIT RD PMB 256                                                                      LOCKPORT               NY   14094‐5842
OTTAVIA A FAVA                  2058 MAIDEN LN                                                                                 ROCHESTER              NY   14626‐1251
OTTAVIA FAVA                    2058 MAIDEN LN                                                                                 ROCHESTER              NY   14626‐1251
OTTAVIAN, FRANK N               2314 JOHNSTON RD                                                                               MONROEVILLE            PA   15146‐4503
OTTAVIANI, GEORGE K             233 ROGERS AVE                                                                                 TONAWANDA              NY   14150‐5229
OTTAVIANI, GEORGE KENNETH       233 ROGERS AVE                                                                                 TONAWANDA              NY   14150‐5229
OTTAVIANI, ROBERT A             41609 N SIGNAL HILL CT                                                                         ANTHEM                 AZ   85086‐1914
OTTAVIANI, RUTH A               9 TWO MILE CREEK ROAD                                                                          TONAWANDA              NY   14150‐7740
OTTAVIANO, ANTHONY P            648 CLEVELAND AVE                                                                              ELIZABETH              NJ   07208‐1517
OTTAVIANO, GINO                 26 REGINA DR                                                                                   ROCHESTER              NY   14606‐3508
OTTAVIANO, LOUIS A              144 EAGLE STREET                                                                               LYNDONVILLE            NY   14098
OTTAVIO CASTELLI                VIA MONTEGANI 18                                                                               MILAN                  IA   20141
OTTAVIO GHERSA                  4083 BAILEY AVE                                                                                AMHERST                NY   14226‐3210
OTTAWA COUNTY CSEA              ACCT OF DOUGLAS M GANNON      8444 WEST STATE‐RT 163                                           OAK HARBOR             OH   43449
OTTAWA COUNTY FRIEND OF COURT   ACCT OF GERALD J SMITH        PO BOX 566                                                       GRAND HAVEN            MI   49417‐0566
OTTAWA COUNTY FRIEND OF COURT   CHARLES M PHILO               PO BOX 566                                                       GRAND HAVEN            MI   49417‐0566
OTTAWA COUNTY FRIEND OF COURT   ACCT OF ROGER D BROERSMA      PO BOX 566               414 WASHINGTON                          GRAND HAVEN            MI   49417‐0566
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Name                             Address1                               Address2                       Address3                        Address4              City           State Zip
OTTAWA COUNTY TREASURER          PO BOX 1024                                                                                                                 MIAMI           OK 74355‐1024
OTTAWA COUNTY TREASURER          307 NORTH CONCORD                                                                                                           MINNEAPOLIS     KS 67467
OTTAWA COUNTY TREASURER          315 MADISON ST STE 201                                                                                                      PORT CLINTON    OH 43452‐1942
OTTAWA CTY COMMON PLEAS CRT      315 MADISON ST                                                                                                              PORT CLINTON    OH 43452‐1920
OTTAWA CTY FOC                   ACCT OF GERALD J SMITH                 PO BOX 566                     414 WASHINGTON AVE                                    GRAND HAVEN     MI 49417‐0566
OTTAWA PLACE ASSOCIATES          20500 CIVIC CENTER                     SUITE 3000                                                                           SOUTHFIELD      MI 48076
OTTAWA PLACE ASSOCIATES          13155 CLOVERDALE ST                                                                                                         OAK PARK        MI 48237‐3205
OTTAWA PLACE ASSOCIATES          3001 WEST BIG BEAVER RD.               SUITE 230                                                                            TROY            MI 48084
OTTAWA PLACE ASSOCIATES          3155 W BIG BEAVER RD STE 218                                                                                                TROY            MI 48084‐3007
OTTAWA PLACE ASSOCIATES          ARGONAUT REALTY                        DIRECTOR, GM FACILITIES        485 W MILWAUKEE ST                                    DETROIT         MI 48202‐3220
OTTAWA PLACE ASSOCIATES          THE HAYMAN COMPANY                     22255 GREENFIELD RD.                                                                 SOUTHFIELD      MI 48075
OTTAWA PLACE ASSOCIATES          C/O MARTIN R. GOLDMAN                  755 W. BIG BEAVER RD.          STE. 2204                                             TROY            MI 48084
OTTAWA PLACE ASSOCIATES F/K/A    ANDREA L. MANSOUR OR EXECUTIVE         17 S SAGINAW ST                                                                      PONTIAC         MI 48342‐2227
DOWNTOWN PONTIAC DEVELOPMENT CO. DIRECTOR

OTTAWA PLACE ASSOCIATES F/K/A    3155 W BIG BEAVER RD STE 218                                                                                                TROY           MI 48084‐3007
DOWNTOWN PONTIAC DEVELOPMENT CO.

OTTAWA PLACE ASSOCIATES LIMITED     20500 CIVIC CENTER DR.              SUITE 3000                                                                           SOUTHFIELD     MI 48076
PARTNERSHIP
OTTAWA PLACE ASSOCIATES LIMITED     13155 CLOVERDALE ST                                                                                                      OAK PARK       MI 48237‐3205
PARTNERSHIP
OTTAWA PLACE ASSOCIATES LLC         20500 CIVIC CENTER DR STE 3000                                                                                           SOUTHFIELD     MI 48076
OTTAWA PLACE ASSOCIATES LLC         C/O RICHARD KRUGER ESQ              JAFFE RAITT HEUER & WEISS PC   27777 FRANKLIN RD STE 2500                            SOUTHFIELD     MI 48034

OTTAWA PLACE ASSOCIATES, LLC        18860 WEST TEN MILE RD.                                                                                                  SOUTHFIELD     MI   48075
OTTAWA PLACE ASSOCIATES, LLC        20500 CIVIC CENTER DR.              SUITE 3000                                                                           SOUTHFIELD     MI   48076
OTTAWA PLACE ASSOCIATES, LLC        13155 CLOVERDALE ST                                                                                                      OAK PARK       MI   48237‐3205
OTTAWA PLACE ASSOCIATION D/B/A      ANDREA L. MANSOUR OR EXECUTIVE      17 S SAGINAW ST                                                                      PONTIAC        MI   48342‐2227
DOWNTOWN PONTIAC DEVELOPMENT        DIRECTOR
COMPANY
OTTAWA PLACE ASSOCIATION D/B/A      3155 W BIG BEAVER RD STE 218                                                                                             TROY           MI 48084‐3007
DOWNTOWN PONTIAC DEVELOPMENT
COMPANY
OTTAWA RAILCAR SERVICES             PO BOX 4254                                                                                                              NAPERVILLE     IL 60567‐4254
OTTAWA RIVER GROUP                  C/O RALPH E CASCARILLA ESQ          WALTER & HAVERFIELD LLP        1301 E 9TH STREET STE 3500                            CLEVELAND      OH 44114
OTTAWA RIVER GROUP                  C/O RALPH E. CASCARILLA, ESQ.       WALTER & HAVERFIELD LLP        1301 E. 9TH STREET, STE. 3500                         CLEVELAND      OH 44114

OTTAWA RIVER STEEL CO               7055 INTERVALE ST                                                                                                        DETROIT        MI 48238‐2401
OTTAWA RUB/BOX 553                  PO BOX 553                                                                                                               HOLLAND        OH 43528‐0553
OTTAWA RUBBER CO                    PO BOX 553                                                                                                               HOLLAND        OH 43528‐0553
OTTAWA RUBBER CO                    JEFF BRETZ                          1600 COMMERCE ROAD                                             KITCHENER ON CANADA
OTTAWA RUBBER CO                    1600 COMMERCE RD                                                                                                         HOLLAND        OH 43528‐8689
OTTAWA RUBBER COMPANY               JEFF BRETZ                          1600 COMMERCE ROAD                                             KITCHENER ON CANADA
OTTAWA SENATORS HOCKEY CLUB         MR. MARK BONNEAU, VICE PRESIDENT OF 110‐1000 PALLADIUM DR                                          KANATA ON K2V 1A5
CORPORATION                         SALES                                                                                              CANADA
OTTAWA SHELL SERVICE                241 N ELM ST                                                                                                             OTTAWA         OH   45875‐1713
OTTAWA UNIVERSITY                   8400 S KYRENE                                                                                                            TEMPE          AZ   85284
OTTAWA UNIVERSITY                   1001 S CEDAR 4                                                                                                           OTTAWA         KS   66067
OTTAWA UNIVERSITY                   10020 N 25TH AVE                                                                                                         PHOENIX        AZ   85021‐1660
OTTAWA UNIVERSITY AT LAKE PHOENIX   2340 W MISSION LN                                                                                                        PHOENIX        AZ   85021‐2807
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Name                            Address1                        Address2                      Address3      Address4               City               State Zip
OTTAWA UNIVERSITY KANSAS CITY   10865 GRANDVIEW ST STE 2000                                                                        OVERLAND PARK       KS 66210‐1500
OTTAWA UNIVERSITY MILWAUKEE     245 S EXECUTIVE DR              STE 110                                                            BROOKFIELD          WI 53005‐4204
MILWAUKEE
OTTAWAY MOTOR EXPRESS           SHAWN MCMAHON                   714880 CT. ROAD 4                           WOODSTOCK ON N4S 7W3
                                                                                                            CANADA
OTTAWAY MOTOR EXPRESS           SHAWN MCMAHON                   COUNTY ROAD #4 RR#8                         WOODSTOCK ON L4B 1H2
                                                                                                            CANADA
OTTAWAY MOTOR EXPRESS LTD
OTTAWAY MOTOR EXPRESS LTD       SHAWN MCMAHON                   714880 CT. ROAD 4                           WOODSTOCK ON N4S 7W3
                                                                                                            CANADA
OTTAWAY MOTOR EXPRESS LTD       95 WEST BEAVER CREEK SUITE 13                                               RICHMOND HILL ON L4B
                                                                                                            1H2 CANADA
OTTAWAY MOTOR EXPRESS LTD       714880 COUNTY ROAD 4            WOODSTOCK, ONT                              N4S 7W3 CANADA
OTTAWAY NEWSPAPERS INC.         PO BOX 580                                                                                         MIDDLETOWN         NY   10940‐0580
OTTAWAY, BRENDA                 1228 CRYSTAL POINTE CIRCLE                                                                         FENTON             MI   48430
OTTAWAY, DORA                   1043 INGLESIDE AVE                                                                                 FLINT              MI   48507‐2343
OTTAWAY, DORA                   974 JERALD DR                                                                                      FLINT              MI   48506
OTTAWAY, JAMES E                G‐5191 WOODHAVEN COURT          APT 721                                                            FLINT              MI   48532
OTTAWAY, RONALD W               6223 RUTH ST                                                                                       GLADWIN            MI   48624‐9789
OTTAWAY, TONI LEE               1123 JUNGLE CT                                                                                     LAKELAND           FL   33801‐2598
OTTE, CHARLES E                 315 PCR 808                                                                                        PERRYVILLE         MO   63775‐7434
OTTE, EDWARD J                  5075 TACORA TRL                                                                                    BRIDGEPORT         MI   48722‐9527
OTTE, JEAN M                    328 WHITE RD                                                                                       LITTLE SILVER      NJ   07739‐1137
OTTE, JERRY W                   30565 COUNTY ROAD 424                                                                              DEFIANCE           OH   43512‐9017
OTTE, KAREN A                   238 HOYT ST                                                                                        OWOSSO             MI   48867‐2038
OTTE, NAOMI                     19802 SWITZER RD                                                                                   DEFIANCE           OH   43512‐9730
OTTE, VINCENZA                  12702 BARBARA AVE                                                                                  GARDEN GROVE       CA   92841‐4758
OTTE, WILLIAM J                 5627 N PENNSYLVANIA ST                                                                             INDIANAPOLIS       IN   46220‐3025
OTTEE HARPER                    148 PARK DR                                                                                        DECATUR            GA   30030‐4481
OTTEN JOHNSON ROBINSON NEFF &   RAGONETTI PC                    1600 COLORADO NATIONAL BLDG   950 17TH ST                          DENVER             CO   80202

OTTEN, CECILIA L                885 AUGUSTA DR                                                                                     ROCHESTER HILLS    MI   48309‐1533
OTTEN, DORIS L                  5312 CARDINAL RIDGE CIR                                                                            SAINT LOUIS        MO   63119‐5013
OTTEN, GARY R                   7834 N DAWN AVE                                                                                    KANSAS CITY        MO   64151‐2409
OTTEN, JAMES M                  6937 GLEN CREEK DR SE                                                                              CALEDONIA          MI   49316‐9155
OTTEN, JOSEPH C                 313 OXFORD AVE                                                                                     ELYRIA             OH   44035‐6417
OTTEN, MICHAEL G                3602 TODDS RUN APT 2                                                                               WILLIAMSBURG       OH   45176
OTTEN, ONEY R                   218 S GRIFFITH ST                                                                                  HANNIBAL           MO   63401
OTTEN, RICHARD A                11535 GERALD DR                                                                                    WARREN             MI   48093‐6429
OTTEN, RONALD L                 190 CALBREATH CT                                                                                   FLORISSANT         MO   63031‐8004
OTTEN, ROSETTA                  28724 HANGING MOSS LOOP                                                                            WESLEY CHAPEL      FL   33543
OTTEN, SHARON                   7834 N DAWN AVE                                                                                    KANSAS CITY        MO   64151‐2409
OTTEN, THOMAS L                 42 TOWERBRIDGE PLACE                                                                               SAINT CHARLES      MO   63303‐4802
OTTENBACHER, MARY A             47082 HUNTERS CHASE DR 5                                                                           MACOMB             MI   48042
OTTENBACHER, MICHAEL C          46896 SPRINGHILL DR                                                                                SHELBY TOWNSHIP    MI   48317‐4068
OTTENI, FRANCIS T               3 JANSEN CT                     PIGEON RUN                                                         BEAR               DE   19701‐1541
OTTENSCHOT, MARTIN J            267 BERG RD                                                                                        ONTARIO            NY   14519‐9373
OTTENTHAL, STEFAN               3660 NEW BOSTON DR                                                                                 STERLING HEIGHTS   MI   48314‐2807
OTTENWESS, IRIS M               118 HIGH RIDGE CT                                                                                  MIDDLEVILLE        MI   49333‐8002
OTTER                           146 MONROE CENTER NW STE 1400                                                                      GRAND RAPIDS       MI   49503
OTTER TAIL CORPORATION AND      CHAD OSTBY                      4334 18TH AVE SW                                                   FARGO              ND   58103
SUBSIDIARIES
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Name                               Address1                              Address2                         Address3               Address4                City             State Zip
OTTER TAIL POWER COMPANY           DEAN SWANSON                          215 S CASCADE ST                                                                FERGUS FALLS      MN 56537‐2801
OTTER, DAVID P                     3625 PANAMA DR                                                                                                        CORPUS CHRISTI    TX 78415‐3327
OTTER, GLORIA C                    1215 MAIDEN CHOICE LANE                                                                                               BALTIMORE         MD 21229‐5414
OTTER, GREGORY J                   544 NORTHVIEW DR                                                                                                      FRANKENMUTH       MI 48734‐9304
OTTER, JOHN F                      10272 LEHRING RD                                                                                                      BYRON             MI 48418‐9170
OTTER, MARY M                      5300 NUTH AVE                                                                                                         BALTIMORE         MD 21206‐5123
OTTER, MICHAEL A                   2687 BRYANWOOD DR NW                                                                                                  GRAND RAPIDS      MI 49544‐1773
OTTER, MICHAEL J                   283 E ANN ARBOR TRL APT D                                                                                             PLYMOUTH          MI 48170
OTTER, PATRICIA A                  710 EASTGATE DR                                                                                                       FRANKENMUTH       MI 48734‐1204
OTTER, SUSAN K                     35104 COLLEGE ST                                                                                                      WESTLAND          MI 48185‐3696
OTTER, WILHELM J                   THEODOR HEUSS STRASSE 41                                                                      MURR GERMANY 71711
OTTER, WILLIAM M                   9203 NONPARIEL RD                                                                                                     FREDERICKSBURG   OH   44627‐9504
OTTERBACHER, VINCENT R             8705 SEELEY LN                                                                                                        BAYONET POINT    FL   34667‐6904
OTTERBERG, BRUCE A                 N5215 WOODPECKER LN                                                                                                   IRMA             WI   54442‐9631
OTTERBIEN COLLEGE                  BUSINESS OFFICE                       88 COCHRAN ALY                                                                  WESTERVILLE      OH   43081‐1468
OTTERBINE, JAMES A                 106 N MACOMB AVE                                                                                                      EL RENO          OK   73036‐2820
OTTERBLAD ANTON W (439383)         GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                     NORFOLK          VA   23510
                                                                         STREET, SUITE 600
OTTERBLAD, ANTON W                 GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                     NORFOLK          VA 23510‐2212
                                                                         STREET, SUITE 600
OTTERBOURG STEINDLER HOUSTON &     230 PARK AVE 29TH FL                                                                                                  NEW YORK         NY 10169
ROSEN PC
OTTERBOURG STEINDLER HOUSTON &     ATTN: JONATHAN N. HELFAT, ESQ., STEVEN 230 PARK AVENUE                                                                NEW YORK         NY 10169‐0075
ROSEN PC                           SOLL, ESQ.
OTTERBOURG, STEINDLER, HOUSTON &   ATTY FOR GMAC LLC AND ITS AFFILIATES   ATT: DANIEL WALLEN, MELANIE L. STEVEN B. SOLL, ESQS.   230 PARK AVENUE         NEW YORK         NY 10169
ROSEN, P.C.                                                               CYGANOWSKI, JONATHAN N. HELFAT
                                                                          &
OTTERMAN MERRILL W PC              208 S FOREST DR                                                                                                       KOKOMO           IN   46901
OTTERMAN, AMY I                    2418 MISSOURI AVE                                                                                                     FLINT            MI   48506‐3829
OTTERMAN, GEORGE R                 2850 HENRY HUSKEY LN                                                                                                  SEVIERVILLE      TN   37862‐8542
OTTERSON, SCOTT W                  18072 N LAUREN DR                                                                                                     CLINTON TWP      MI   48038‐5226
OTTERSON,SCOTT W                   18072 N LAUREN DR                                                                                                     CLINTON TWP      MI   48038‐5226
OTTERSTROM, JAMES R                1030 DEEP WOODS TRL                                                                                                   BRENTWOOD        TN   37027‐6309
OTTESEN, DELMER E                  842 CENTRAL AVE                                                                                                       BELOIT           WI   53511‐5516
OTTEVAERE, ROGER J                 1989 SENECA TRL                                                                                                       WEST BRANCH      MI   48661‐9723
OTTEWELL, LARRY E                  5426 W MOUNT MORRIS RD                                                                                                MOUNT MORRIS     MI   48458‐9483
OTTEWELL, SAMUEL R                 8424 WIXON OAKS DR                                                                                                    BRYAN            TX   77808‐9066
OTTGEN JR, DON L                   4619 KESSLER DR                                                                                                       LANSING          MI   48910‐6212
OTTICE AUSTIN                      1744 JORDAN LAKE AVE                                                                                                  LAKE ODESSA      MI   48849‐9761
OTTICE HALL                        10415 N VIRGINIA AVE                                                                                                  KANSAS CITY      MO   64155‐5036
OTTIE BURNS                        9208 MANOR ST                                                                                                         DETROIT          MI   48204‐2695
OTTIE CUMMINGS JR                  393 S DENNY DR                                                                                                        NEW CASTLE       IN   47362‐9137
OTTIE FINLEY                       4743 SHAUNEE CREEK DR                                                                                                 DAYTON           OH   45415‐3355
OTTING, GERALD L                   18539 158TH ST                                                                                                        BONNER SPRINGS   KS   66012‐7341
OTTING, ROBERT L                   5909 CHIPPEWA RD                                                                                                      TOLEDO           OH   43613‐1119
OTTING, SARAH                      4547 BLOOMING WAY                                                                                                     FLOWERY BRANCH   GA   30542‐4652
OTTINGER JERRY                     PO BOX 125                                                                                                            WHITESTOWN       IN   46075‐0125
OTTINGER, BRYAN T                  2002 OAK GROVE COURT RT 2                                                                                             MARTINSBURG      WV   25404
OTTINGER, DAREEN E                 420 HIGH ST                                                                                                           CHESTERTOWN      MD   21620
OTTINGER, ERIC
OTTINGER, GREGORY N                311 CHRIS CT                                                                                                          NOBLESVILLE      IN 46062‐8884
OTTINGER, KENNETH C                13561 YOUNG DR                                                                                                        HUDSON           MI 49247‐9329
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Name                           Address1                        Address2                  Address3            Address4             City            State Zip
OTTINGER, MARI M               311 CHRIS CT                                                                                       NOBLESVILLE      IN 46062‐8884
OTTINGER, ROBERT E             130 BEACH ANN DR                                                                                   TROY             MO 63379‐2906
OTTINGER, ROBERT L             612 W GOSSETT RD                                                                                   FRANKFORT        IN 46041‐7646
OTTINGER, RUSSELL G            4543 W 176TH ST                                                                                    ZIONSVILLE       IN 46077‐9605
OTTINGER, TIMOTHY D            22524 PORT ST                                                                                      ST CLR SHORES    MI 48082‐1411
OTTINGER, W D                  3588 E ARBUTUS DR                                                                                  OKEMOS           MI 48864‐4061
OTTIS ALLEN                    339 ATWATER ST                                                                                     LAKE ORION       MI 48362‐3310
OTTIS BAKER                    3031 UPPER HILHAM RD                                                                               LIVINGSTON       TN 38570‐8835
OTTIS BURROW                   3636 SEVEN OAKS DR                                                                                 TUSCALOOSA       AL 35406‐3653
OTTIS CARR                     HC 1 BOX 40A                                                                                       GRANDIN          MO 63943‐9703
OTTIS DOBSON                   5903 JEANS DR                                                                                      HURLOCK          MD 21643
OTTIS GODDARD                  PO BOX 142                                                                                         FAIRBURN         GA 30213
OTTIS GOZA                     25372 BRAID LN                                                                                     WARSAW           MO 65355‐6626
OTTIS GUNTER JR                PO BOX 177                                                                                         ELYSIAN FLDS     TX 75642‐0177
OTTIS JACKSON                  2425 ECKHOUSE ST                                                                                   ANDERSON         IN 46016‐3647
OTTIS LUKE                     PO BOX 634                                                                                         WILLACOOCHEE     GA 31650‐0634
OTTIS MCDANIEL JR              9265 FULMER RD                                                                                     MILLINGTON       MI 48746‐9703
OTTIS RAMSEY                   3006 MADISON PLACE                                                                                 COOKVILLE        TN 38501‐6693
OTTIS RELERFORD                4144 TOWNVIEW DR                                                                                   FLINT            MI 48532‐2731
OTTIS SHULTZ                   1237 FAITH LN                                                                                      DANDRIDGE        TN 37725‐4347
OTTIS SPARKS                   7067 HIGHWAY 3                                                                                     BENTON           LA 71006‐3905
OTTIS STANTON                  3904 MACKINAW ST                                                                                   SAGINAW          MI 48602‐3314
OTTIS TERRY                    1912 W 61ST ST                                                                                     INDIANAPOLIS     IN 46228‐1216
OTTIS W SPARKS                 7067 HIGHWAY 3                                                                                     BENTON           LA 71006‐3905
OTTIS WILLIAMS                 1090 OLD CUMMING RD                                                                                SUGAR HILL       GA 30518‐2122
OTTIS WILSON                   BARON & BUDD PC                 THE CENTRUM SUITE 1100    3102 OAK LAWN AVE                        DALLAS           TX 75219‐4281
OTTIS, FRANK V                 1731 MOUNTAIN SPGS                                                                                 CANYON LAKE      TX 78133‐2361
OTTIST BINION                  10623 1ST ST N                                                                                     ST PETERSBURG    FL 33716
OTTJEPKA, STEVEN J             26885 S RIVER RD                                                                                   HARRISON TWP     MI 48045‐2160
OTTKE, ROBERT R                721 WILLOW SPRINGS DR                                                                              OWOSSO           MI 48867
OTTLEY III, GEORGE B           239 GRANGER VIEW CIR                                                                               FRANKLIN         TN 37064‐2973
OTTLEY, CHARLIE M              1309 BONNY VIEW AVE                                                                                ALBANY           GA 31705‐2234
OTTLEY, CHARLIE M              1309 BONNYVIEW AVE                                                                                 ALBANY           GA 31705‐2234
OTTLEY, DANIEL R               4163 RT 364                                                                                        CANANDAIGUA      NY 14424
OTTMAN, ANTHONY A              7 CENTENNIAL DR                                                                                    GARNERVILLE      NY 10923‐1105
OTTMAN, PRISCILLA J            32734 COACH DR                                                                                     CHESTERFIELD     MI 48047‐4030
OTTMAN, ROBERT M               3555 LINCOLNSHIRE RD                                                                               WATERFORD        MI 48328‐3536
OTTMAR & GERTRUD BRENNER       C/O JULIA B KLEIN ESQ           225 W 14TH STREET                             19801 WILMINTON DE
                                                                                                             GERMANY
OTTMAR & GERTRUD BRENNER       AN DER SCHIESSMAUER 44          89231 NEU‐ULM
OTTMAR & GERTRUD BRENNER       C/O JULIA B. KLEIN, ESQ.        225 W 14TH STREET                                                  WILMINGTON      DE 19801
OTTMAR & ISABEL BEIHSWINGERT   5916 SW 11ST                                                                                       WEST MIAMI      FL 33144
OTTMAR GARY L                  3526 SHELBY ST                                                                                     WATERFORD       MI 48328‐1374
OTTMAR HOFMANN                 STALBURGSTRASSE 19              60318 FRANKFURT AM MAIN
OTTMAR HOLLEY I I              7706 S ROYSTON RD                                                                                  EATON RAPIDS    MI 48827‐8597
OTTMAR HUDSON                  129 VIRGINIA PARK ST                                                                               DETROIT         MI 48202‐2000
OTTMAR P                       SCHLOSSSTR. 20                                                                                     NUERNBERG
OTTMAR PREUSSINGER             OTTMAR PREUSSINGER & HELGA      SCHLOSSSTR. 20                                NUERNBERG 90478
                               PREUSSINGER                                                                   GERMANY
OTTMAR PREUSSINGER             SCHLOSSSTR. 20                                                                                     N▄RNBERG
OTTMAR, GARY L                 3526 SHELBY ST                                                                                     WATERFORD       MI 48328‐1374
OTTMAR, ROYAL W                1800 HIGH RD                                                                                       ROSCOMMON       MI 48653‐7507
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Name                                Address1                         Address2                        Address3         Address4                 City              State Zip
OTTMERS AUTO SERVICE                4602 RIGSBY AVE                                                                                            SAN ANTONIO        TX 78222‐1212
OTTNEY, JOANNE F                    10 OAK GROVE AVE                                                                                           LOS GATOS          CA 95030‐7021
OTTNEY, MICHAEL A                   417 NORTH ST                                                                                               MASON              MI 48854‐1531
OTTO A KNAPP TRUST                  OTTO A KNAPP TRUSTEE             MICHELINA KNAPP CO‐TRUSTEE      4812 SUNSET DR                            VERO BEACH         FL 32963
OTTO ADOMEIT                        37675 IRENE DR                                                                                             STERLING HTS       MI 48312‐1933
OTTO AND CHRISTEL ROHDE             FRANK‐OTTO ROHDE                 AM ROTHBUSCH 16                                  34497 KORBACH‐LELBACH
                                                                                                                      GERMANY
OTTO BARTA                          475 N CASS AVE APT 112                                                                                     WESTMONT          IL 60559‐1567
OTTO BENNETT                        707 ASH ST                                                                                                 OWOSSO            MI 48867‐3366
OTTO BIDEN                          C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST                22ND FL                                   BALTIMORE         MD 21201
                                    ANGELOS
OTTO BOCK                           MATT SWIGGUM                     TWO CARLSON PKWY N                                                        MINNEAPOLIS       MN    55447
OTTO BOCK HEALTHCARE                DEPT 1735                                                                                                  DENVER            CO    80291‐35
OTTO BRECHTL                        3070 GLENSHAW DR                                                                                           BEAVERCREEK       OH    45434‐5827
OTTO BROWN                          17552 ARDMORE ST                                                                                           DETROIT           MI    48235‐2603
OTTO BUTZIN                         31910 FLORENCE ST                                                                                          GARDEN CITY       MI    48135‐3330
OTTO CADILLAC, INC.                 WALTER OTTO                      1730 CENTRAL AVE                                                          ALBANY            NY    12205‐4701
OTTO CADILLAC‐PONTIAC               1730 CENTRAL AVE                                                                                           ALBANY            NY    12205‐4701
OTTO CHANEY                         1101 E HEMPHILL RD                                                                                         FLINT             MI    48507‐2835
OTTO CHARLES DENNIS (429570)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK           VA    23510
                                                                     STREET, SUITE 600
OTTO CHRISTENSEN                    6 AMPHLETT TER                                                                                             IONIA             MI 48846‐1502
OTTO CLARK                          3300 S G ST                                                                                                ELWOOD            IN 46036‐9776
OTTO CLESS                          ESCHERS 10                       D 87496 UNTRASRIED
OTTO DEAN                           C/O MCKENNA & CHIODO             436 BOULEVARD OF THE ALLIES ‐                                             PITTSBURGH        PA 15219
                                                                     SUITE 500
OTTO DEAN (507042) ‐ OTTO DEAN      (NO OPPOSING COUNSEL)
OTTO DRACHENBERG                    6035 THOMPSON RD                                                                                           CLARENCE CTR      NY 14032‐9755
OTTO E CHANEY                       1101 E HEMPHILL RD                                                                                         FLINT             MI 48507‐2835
OTTO E HRABOWY                      PO BOX 427                                                                                                 CORTLAND          OH 44410‐0427
OTTO EGELHOF GMBH & CO              POSTFACH 1306                                                                     FELLBACH D‐70703
                                                                                                                      GERMANY
OTTO EGELHOF GMBH & CO              STUTTGARTER STR 60                                                                FELLBACH BW 70736
                                                                                                                      GERMANY
OTTO ENK                            355 COPE RD                                                                                                MARTINSVILLE       IN   46151‐7199
OTTO FURTH                          ALLEESTRASSE 52                  D‐65239 HOCHHEIM AM MAIN
OTTO GATH                           11445 PRIOR RD                                                                                             SAINT CHARLES     MI    48655‐8536
OTTO GRENKE                         6724 FRONTIER AVE                                                                                          NIAGARA FALLS     NY    14304‐3240
OTTO GROUP BV                                                        KLAUS‐AEPFELBACH ‐ STRASS 3                                                                 GE    98673
OTTO HELDEROP                       1808 PRESCOTT DR                                                                                           BILLINGS          MT    59105‐4720
OTTO HORVATH                        1920 NEW BEDFORD DR                                                                                        SUN CITY CENTER   FL    33573‐6125
OTTO HURLEY                         9490 N POLK AVE                                                                                            HARRISON          MI    48625‐8737
OTTO II, JOSEPH E                   7595 SHEILA DR                                                                                             BROWNSBURG        IN    46112‐8414
OTTO INDUSTRIES INC                 12700 GENERAL DR                                                                                           CHARLOTTE         NC    28273‐6415
OTTO INDUSTRIES NORTH AMERICA INC   12700 GENERAL DR                                                                                           CHARLOTTE         NC    28273‐6415

OTTO INVESTMENTS HOLDING SA         12700 GENERAL DR                                                                                           CHARLOTTE         NC 28273‐6415
OTTO INVESTMENTS HOLDING SA         35 BOULEVARD DU PRINCE HENRI                                                      LUXEMBOURG 1724
                                                                                                                      LUXEMBOURG
OTTO INVESTMENTS HOLDING SA         KLAUS AEPFELBACH STRASSE 3                                                        CROCK TH 98673 GERMANY
OTTO J GRAGNANI                     4103 POPLAR GROVE RD                                                                                       MIDLOTHIAN        VA 23112‐4739
OTTO J HACKER                       1922 SOUTH 58TH AVENUE                                                                                     CICERO            IL 60804‐2112
                                     09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                                Address1                         Address2                      Address3   Address4                 City             State Zip
OTTO J OLSSON MARITAL TRUST         DAVID OLSSON, TRUSTEE            3240 DAPPLE WAY                                                   EUGENE            OR 97401‐5704
OTTO JACOBSEN TRUST                 OTTO JACOBSEN TTEE               200 DEER VALLEY RD            APT 2E                              SAN RAFAEL        CA 94903
OTTO JODY                           2118 COUNTRY CLUB DRIVE                                                                            GROSSE POINTE     MI 48236‐1606
OTTO JONES                          43 N GLASPIE ST                                                                                    OXFORD            MI 48371‐5115
OTTO JR, HENRY H                    3481 BAUER DR                                                                                      SAGINAW           MI 48604‐2101
OTTO KIHM TIRE & SERVICE            335 W KALAMAZOO AVE                                                                                KALAMAZOO         MI 49007‐3331
OTTO KLAUS LOIBL                    F.W.RAIFFEISENPLATZ 1            A‐1020 WIEN
OTTO KLUGE                          491 WESTMOUNT ST                                                                                   ROCHESTER        NY   14615‐3217
OTTO KNAPP                          4812 SUNSET DR.                                                                                    VERO BEACH       FL   32963
OTTO KNAPP                          4812 SUNSET DR                                                                                     VERO BEACH       FL   32963
OTTO KOCH JR                        1964 TURNBULL RD                                                                                   BEAVERCREEK      OH   45432‐2326
OTTO KOZMA                          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                        BOSTON HEIGHTS   OH   44236
OTTO KROEGER ASSOCIATES             3605 CHAIN BRIDGE RD                                                                               FAIRFAX          VA   22030
OTTO KROEGER ASSOCIATES LLC OKA     3605 CHAIN BRIDGE ROAD                                                                             FAIRFAX          VA   22030
OTTO KUNS/GERMANY                   KLAUS‐AEPFELBACH ‐ STRASS 3                                               CROCK GE 98673 GERMANY
OTTO KUNSTSTOFFVERARBEITUNG         CROCK GMBH                       FRIEDRICH‐BUCKLING STRABE 8              0 NEURUPPIN 16816
                                                                                                              GERMANY
OTTO KUNSTSTOFFVERARBEITUNG CROCK   FRIEDRICH‐BUCKLING STRABE 8                                               16816 NEURUPPIN
GMBH                                                                                                          GERMANY
OTTO L BRECHTL                      3070 GLENSHAW DR                                                                                   BEAVERCREEK      OH 45434‐5827
OTTO L NOEL                         2603 EDGEWATER DR.                                                                                 CORTLAND         OH 44410‐8602
OTTO LANGELS                        RAMPENWEG 1                                                               31860 EMMERTHAL
                                                                                                              GERMANY
OTTO LAWRENCE SR                    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.      OH 44236
OTTO LICHTFUSZ                      14568 FORD AVE                                                                                     ALLEN PARK       MI 48101‐1002
OTTO LINDEMEYER                     3001 SHOTWELL RD                                                                                   GERALD           MO 63037‐2610
OTTO LOGH                           HASBACHSTR 7                                                              D 55743 IDAR OBERSTEIN
                                                                                                              GERMANY
OTTO LORINCZ                        C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST              22ND FL                             BALTIMORE        MD 21201
                                    ANGELOS
OTTO LUNDAY                         PO BOX 831                                                                                         DECATUR          TX   76234‐0831
OTTO MAIER                          21 ROBBINS AVE                                                                                     ELMSFORD         NY   10523‐3310
OTTO MAKI                           12451 HELEN ST                                                                                     SOUTHGATE        MI   48195‐3511
OTTO MARCOUX                        11575 CARLETON RD                                                                                  CLAYTON          MI   49235‐9739
OTTO MARYANN                        55 W GRANADA AVE                                                                                   HERSHEY          PA   17033
OTTO MATTHIES JR                    16367 TUCKER RD # 1                                                                                HOLLY            MI   48442
OTTO MCDONALD JR                    718 WESTMORELAND AVE                                                                               SYRACUSE         NY   13210‐2636
OTTO MEIER                          MUSTER E                                                                                           HIER             AR
OTTO MEIER                          AUTOSTR. 9
OTTO MILLER                         7740 FIR DR                                                                                        TEMPERANCE       MI 48182‐1537
OTTO MISSO JR                       67 CAESAR BLVD                                                                                     AMHERST          NY 14221‐5901
OTTO MULLINS                        1563 BLACKHALL LN SE                                                                               DECATUR          AL 35601‐6917
OTTO NATHEN                         GNOBEMZELLERSTR 29                                                        D 82178 PUCHHEIM
                                                                                                              GERMANY
OTTO NEMECEK                        16104 104TH AVE                                                                                    NUNICA           MI 49448‐9713
OTTO NOEL                           2603 EDGEWATER DR                                                                                  CORTLAND         OH 44410‐8602
OTTO NOETZEL                        214 E MAIN ST                                                                                      VERNON           MI 48476‐9120
OTTO NORMALB▄RGER                   BEISPIELSWEG 1                   01234 MUSTERSTADT
OTTO ORWIG                          787 ROBINWOOD DR                                                                                   TROY             MI   48083‐1823
OTTO OWENS                          PO BOX 8542                                                                                        SPRINGFIELD      MO   65801‐8542
OTTO PABERS                         13009 BALLARD DR                                                                                   EXMORE           VA   23350‐2544
OTTO PARISHO                        4241 RIVERVIEW RD                                                                                  FORT MYERS       FL   33905‐2802
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Name                   Address1                           Address2                        Address3        Address4           City             State Zip
OTTO PELSHENKE         CLOERATHER MUEHLE 39                                                                                  VIERSEN                41749
OTTO PELSHENKE         CL╓RATHER M▄HLE 39                                                                                    41749 VIERSEN
OTTO PETZOLD           PO BOX 322                                                                                            MILLINGTON       MI    48746‐0322
OTTO PIEPER            3402 SOUTHGATE DR                                                                                     FLINT            MI    48507‐3223
OTTO RAHACH            10495 ASBURY RD                                                                                       MANTUA           OH    44255‐9760
OTTO RETTKOWSKI JR     N2901 TOWER RD                                                                                        TIGERTON         WI    54486‐9274
OTTO RICHTER           914 ASH ST                                                                                            SAGINAW          MI    48602‐5731
OTTO ROBINSON          11635 FARLEY                                                                                          REDFORD          MI    48239‐2470
OTTO ROSEBROCK         1260 ORCHARD RD                                                                                       ESSEXVILLE       MI    48732‐1914
OTTO ROSS I I I        4924 LARAMIE LN                                                                                       KANSAS CITY      MO    64129‐2254
OTTO ROSS JR           7605 E 50TH TER                                                                                       KANSAS CITY      MO    64129‐2009
OTTO RUSCH             1322 MATHESON ST                                                                                      JANESVILLE       WI    53545‐1819
OTTO SCHROEDER         1315 LAFAYETTE AVE NE                                                                                 GRAND RAPIDS     MI    49505‐5043
OTTO SCHUBERT          3300 PITZER RD                                                                                        BETHEL           OH    45106‐8527
OTTO SIGMUND           11106 CHAFFEE TER                                                                                     JACKSONVILLE     FL    32221‐1845
OTTO SMITH             11 HARRIS LINVILLE RD                                                                                 SOMERSET         KY    42501‐5528
OTTO SPIEKERMAN        701 SHEPARD ST                                                                                        SAGINAW          MI    48604‐1235
OTTO STIEBER           19172 NORBORNE                                                                                        REDFORD          MI    48240‐1411
OTTO STOUT JR          2650 COLLEGE RD                                                                                       HOLT             MI    48842‐8706
OTTO T RICHTER         914 ASH ST                                                                                            SAGINAW          MI    48602‐5731
OTTO TALLMAN           5855 E M 71                                                                                           CORUNNA          MI    48817‐9596
OTTO TATE              2121 BERKLEY ST                                                                                       FLINT            MI    48504‐3419
OTTO THAUS             17 W 085 ELM ST                                                                                       HINSDALE         IL    60521
OTTO TOWNSEND          PO BOX 911                                                                                            DECATUR          MS    39327‐0911
OTTO TYSON             10311 VIOLETLAWN ST                                                                                   DETROIT          MI    48204‐2530
OTTO UND HELGA FURTH   RA FRANZ BRAUN                     GLLS RECHTSANWAELTE             LIEBIGSTR. 21   80538 MUENCHEN
                                                                                                          GERMANY
OTTO VOGLER            2871 OHINA ST                                                                                         KIHEI             HI   96753‐8529
OTTO W JETTER
OTTO WAHL JR           29 HICKORY LN                                                                                         NEWTOWN SQ       PA    19073‐3321
OTTO WARD              6726 CLIFTON ST                                                                                       DETROIT          MI    48210‐1175
OTTO WENDT             4482 REID RD                                                                                          SWARTZ CREEK     MI    48473‐8859
OTTO WOOLF             23251 HARTLEY RD                                                                                      ALLIANCE         OH    44601‐9014
OTTO WRIGHT            5932 DWIGHT AVE                                                                                       WATERFORD        MI    48327‐1329
OTTO ZEISE III         1513 JACOBS RD                                                                                        COLUMBIA         TN    38401‐1358
OTTO, ARLENE M         203 W WATER ST                                                                                        MONDOVI          WI    54755‐1546
OTTO, BRADLEY D        3720 MAPLETON RD                                                                                      SANBORN          NY    14132‐9290
OTTO, BRANDEN D        22872 EDGERTON RD                                                                                     EDGERTON         KS    66021‐9247
OTTO, CHARLES DENNIS   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA    23510‐2212
                                                          STREET, SUITE 600
OTTO, CHARLES P        4132 ROAD 12                                                                                          LEIPSIC          OH    45856‐9443
OTTO, CHARLES R        1102 CENTRAL AVE APT 109                                                                              ANDERSON         IN    46016‐1788
OTTO, DANIEL H         16330 E CRYSTAL POINT DR                                                                              FOUNTAIN HILLS   AZ    85268‐8419
OTTO, DEAN             C/O THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD         SUITE 44                           CORAL GABLES     FL    33146
OTTO, DEAN             MCKENNA & CHIDO                    436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH       PA    15219
                                                          SUITE 500
OTTO, DEBORAH R        PO BOX 13                                                                                             OXFORD           MI    48371‐0013
OTTO, DENNIS O         3463 EDEN WAY                                                                                         CARMEL           IN    46033
OTTO, DIANA R          5109 S MEGAN CT                                                                                       INDEPENDENCE     MO    64055‐6822
OTTO, DOUG C           5112 CONCHOS TRL                                                                                      ARLINGTON        TX    76017‐3024
OTTO, ELEANOR M        21425 W GLENGARRY RD                                                                                  NEW BERLIN       WI    53146‐5208
OTTO, ERIC C           9651 KNAUF RD                                                                                         CANFIELD         OH    44406‐9429
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Name                  Address1                        Address2                        Address3   Address4         City              State Zip
OTTO, ERIC D          16706 GLENSHANNON DR                                                                        HOUSTON            TX 77059
OTTO, GAIL A          147 CAROLINE ST                                                                             ALBION             NY 14411‐1005
OTTO, GERALD W        5082 COUNTY ROAD 12                                                                         OTTAWA             OH 45875
OTTO, GERALDINE L     APT 2                           168 MORNINGSIDE ORCHARD DRIVE                               OCONOMOWOC         WI 53066‐3571

OTTO, HARRY J         1700 WINDEMERE DR                                                                           DAYTON            OH   45429‐4243
OTTO, HELEN M         6008 WEDGEWOOD WAY                                                                          INDIANAPOLIS      IN   46254‐3472
OTTO, HELEN T         649 RHODA AVE                                                                               YOUNGSTOWN        OH   44509‐1826
OTTO, JAMES C         708 NE CORONADO ST                                                                          LEES SUMMIT       MO   64086‐5527
OTTO, JAMES E         2004 WALHALA DR                                                                             RICHMOND          VA   23236‐1597
OTTO, JAMES W         1414 CAMELOT DR                                                                             JANESVILLE        WI   53548‐1403
OTTO, JIMMIE J        707 GARDEN CT                                                                               ANDERSON          IN   46011‐1819
OTTO, JOAN E          1764 KRESSWOOD DR #4C                                                                       WEST CHICAGO      IL   60185
OTTO, JOAN L          3481 BAUER                                                                                  SAGINAW           MI   48604‐2101
OTTO, JOHN W          518 GROVE ST                                                                                LA PORTE          IN   46350‐2635
OTTO, JOSEPHINE       21653 BENNETT ST                                                                            DETROIT           MI   48219‐2537
OTTO, JUDITH K
OTTO, KATHLEEN J      6040 S HATELY AVE                                                                           CUDAHY            WI   53110‐3120
OTTO, KATHY L         1467 W FRANCES RD                                                                           MOUNT MORRIS      MI   48458‐1039
OTTO, KATHY LEE       1467 W FRANCES RD                                                                           MOUNT MORRIS      MI   48458‐1039
OTTO, KENNETH A       1161 CLIFFORD LAKE DRIVE                                                                    STANTON           MI   48888‐9369
OTTO, KENNETH E       355 RADCLIFFE TRCE                                                                          COVINGTON         GA   30016‐1764
OTTO, L               488 OAKLAND AVE                                                                             PONTIAC           MI   48342
OTTO, LARRY T         4440 COUNTY ROAD 12                                                                         LEIPSIC           OH   45856
OTTO, LEONA           2052 S REESE RD                                                                             REESE             MI   48757‐9331
OTTO, LORETTA R       435 E HENRIETTA RD                                                                          ROCHESTER         NY   14620‐4629
OTTO, LORI J          9651 KNAUF RD                                                                               CANFIELD          OH   44406‐9429
OTTO, LOWELL EUGENE   BOONE ALEXANDRA                 205 LINDA DR                                                DAINGERFIELD      TX   75638‐2107
OTTO, MARGARET E      211 2ND ST NW APT 1216                                                                      ROCHESTER         MN   55901‐2897
OTTO, MARTIN R        193 YAM GANDY RD                                                                            SAVANNAH          GA   31411‐2545
OTTO, MARVIN W        4200 ARBOR DR                                                                               LOCKPORT          NY   14094‐1104
OTTO, MICHAEL D       9580 PORT SHELDON ST                                                                        ZEELAND           MI   49464
OTTO, MILTON C        708 HENDRICKS ST                                                                            ANDERSON          IN   46016‐1264
OTTO, MILTON G        13541 ELM ST                                                                                ORLAND PARK       IL   60462‐1505
OTTO, NANCY P         PO BOX 641                                                                                  IRWIN             PA   15642‐0641
OTTO, NANCY P         P.O. BOX 641                                                                                IRWIN             PA   15642‐0641
OTTO, NORMA J         9517 PINE NEEDLE TRL                                                                        FLUSHING          MI   48433‐1263
OTTO, P K             9839 GRACKLE LOOP                                                                           LAKELAND          FL   33810‐2314
OTTO, RALPH E         24566 ALMOND AVE                                                                            EAST DETROIT      MI   48021‐1325
OTTO, RALPH R         9848 BROOKVILLE PHILLIPSBG RD                                                               BROOKVILLE        OH   45309‐6909
OTTO, RALPH R         2725 ONTARIO AVE                                                                            DAYTON            OH   45414‐5174
OTTO, RALPH R         4220 US ROUTE 40 APT 33                                                                     TIPP CITY         OH   45371
OTTO, RICHARD H       3403 CRISTINA DR                                                                            NEW CARLISLE      OH   45344‐9120
OTTO, RICHARD H       3403 CHRISTINA DR                                                                           NEW CARLISLE      OH   45344‐9120
OTTO, RICHARD H       2750 COLLEGE HEIGHTS BLVD                                                                   ALLENTOWN         PA   18104‐4242
OTTO, RICHARD R       215 MONTMORENCY RD                                                                          ROCHESTER HILLS   MI   48307‐3848
OTTO, ROBERT B        6471 N 100 W                                                                                ALEXANDRIA        IN   46001‐8222
OTTO, ROBERT C        9625 PRESERVE PL                                                                            CENTERVILLE       OH   45458‐3934
OTTO, ROBERT W        303 SOUTH ADAMS STREET                                                                      SAGINAW           MI   48604‐1303
OTTO, RONALD M        1329 GREENLEAF DR                                                                           ROCHESTER HILLS   MI   48309‐1726
OTTO, RONNIE L        30 ENERGY DR                                                                                MARTINSBURG       WV   25404‐4346
OTTO, RUDRICK G       1841 FAIRVIEW FARMS RD                                                                      CAMPOBELLO        SC   29322‐8906
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Name                                   Address1                           Address2                         Address3   Address4               City                     State Zip
OTTO, SHARON L                         7737 NOFFKE DR                                                                                        CALEDONIA                 MI 49316‐8817
OTTO, STANLEY R                        20546 BUFFALO STREET                                                                                  DETROIT                   MI 48234‐2415
OTTO, TERRY L                          3748 CATHERINE ANNE                                                                                   HOLLY                     MI 48442‐8112
OTTO, THOMAS F                         2052 S REESE RD                                                                                       REESE                     MI 48757‐9331
OTTO, THOMAS H                         2553 SHIRLEY AVE                                                                                      JENNINGS                  MO 63136‐2627
OTTO, WALTER F                         224 N WHEATON AVE                                                                                     WHEATON                    IL 60187
OTTO, WAYNE R                          9501 ALLAN RD                                                                                         NEW LOTHROP               MI 48460‐9769
OTTO, WILLIAM                          27720 CORDOBA APT 2202                                                                                FARMINGTN HLS             MI 48334‐3971
OTTO, WILLIAM                          23329 ELMGROVE ST                                                                                     FARMINGTON HILLS          MI 48336‐3721
OTTO‐VERSAND GMBH                      WANDSBEKER STRASSE 3‐7                                                         22179 HAMBURG,
                                                                                                                      GERMANY
OTTOLINI, ALBERT C                     APT 126                            31800 VAN DYKE AVENUE                                              WARREN                   MI    48093‐7916
OTTOLINI, JACQUELYN P                  60678 PENNINGTON WAY                                                                                  ROCHESTER                MI    48306‐2065
OTTOLINI, LOUIS B                      37328 ALPER DR                                                                                        STERLING HEIGHTS         MI    48312‐2204
OTTOLINI, MARTHA ANN                   17975 UNIVERSITY PARK DR                                                                              LIVONIA                  MI    48152‐3929
OTTOLINI, PAUL A                       3268 SPRINGBROOK CT                                                                                   W BLOOMFIELD             MI    48324‐3251
OTTOLINI, ROBERT M                     60678 PENNINGTON WAY                                                                                  ROCHESTER                MI    48306‐2065
OTTOMAR KIEL                           14278 SHADYWOOD DR                                                                                    STERLING HEIGHTS         MI    48312‐3426
OTTORINO GIOVANNI PASINI               VIA DURANDO 52
OTTORINO MORRESI                       VIA ANNIBAL CARO 18                                                                                   CIVITANOVA MARCHE (MC)         62012

OTTORINO ZAMPARINI E PELLEGRINI        VIA MARTIRI DELLA LIBERTA' 81                                                  FABRIANO 60044
ROLANDA                                                                                                               (ANCONA) ITALY
OTTOW, MARIAN J                        7391 ROCK CANYON DR SW                                                                                BYRON CENTER             MI 49315‐8032
OTTOWAY TURRENTINE                     42500 HARRIS RD                                                                                       BELLEVILLE               MI 48111‐8728
OTTOWELL AUTOMOTIVE                    7012 82 AVE NW                                                                 EDMONTON AB T6B 0E7
                                                                                                                      CANADA
OTTOY, CHRISTINE                       10015 TALBOT AVE                                                                                      HUNTINGTON WOODS         MI    48070‐1134
OTTOY, JOSEPH                          27936 RUEHLE ST                                                                                       ST CLAIR SHRS            MI    48081‐3527
OTTOY, KATHLEEN S                      42715 CHIPPEWA DR                                                                                     CLINTON TOWNSHIP         MI    48038‐5564
OTTOY, ROGER E                         21841 LAKELAND ST                                                                                     SAINT CLAIR SHORES       MI    48081‐3707
OTTS GARAGE AND SERVICE STATION LTD.   166 QUEEN ST W                                                                 CAMBRIDGE ON N3C 1G4
                                                                                                                      CANADA
OTTS WILLIAM DELTON (323135) ‐ BROWN BARON & BUDD                         3102 OAK LANE AVE , SUITE 1100                                     DALLAS                    TX   75219
ESTATE OF WAYNE B
OTTS, WILLIAM DELTON                 BARON & BUDD                         3102 OAK LANE AVE, SUITE 1100                                      DALLAS                   TX    75219
OTTWELL PAUL                         PO BOX 9233                                                                                             GREENVILLE               TX    75404‐9233
OTTWELL, DOROTHY M                   P.O. BOX 538                                                                                            PITSFIELD                IL    62363
OTTWELL, DOROTHY M                   PO BOX 538                                                                                              PITTSFIELD               IL    62363‐0538
OTUCE CRADDOCK                       RR 1 BOX 754                                                                                            FAYETTEVILLE             WV    25840‐9711
OTWAY JR, JOHN F                     PO BOX 36                                                                                               SAINT CHARLES            MI    48655‐0036
OTWAY, MARGARET J                    1305 N MAIN ST                                                                                          ST CHARLES               MI    48655‐1028
OTWELL, KENT W                       200 RAYMALEY RD                                                                                         HARRISON CITY            PA    15636‐1401
OTWINOWSKI, GEORGE A                 3204 W GREENBRIAR LN                                                                                    LA PORTE                 IN    46350
OTWINOWSKI, MICHELLE                 3204 W GREENBRIAR LN                                                                                    LA PORTE                 IN    46350‐1911
OTY, ANGELA                          3543 US HIGHWAY 76                                                                                      LITTLE MYN               SC    29075‐9428
OTYLIA RYPYSC                        86 SUZETTE DR                                                                                           CHEEKTOWAGA              NY    14227‐3716
OTYVEE BOUIE                         10027 WINDBURN TRL                                                                                      CONVERSE                 TX    78109‐1721
OTZELBERGER, DANIEL J                2021 W PLAINFIELD AVE                                                                                   MILWAUKEE                WI    53221‐1915
OTZELNAIS, BRONISLAVA                2505 SUNNY MDWS                                                                                         MCKINNEY                 TX    75070
OU PHYSICIANS                        PO BOX 269025                                                                                           OKLAHOMA CITY            OK    73126‐9025
OU YONG                              1845 PIONEER DRIVE                                                                                      SEWICKLEY                PA    15143‐8586
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Name                                 Address1                             Address2                          Address3          Address4         City                State Zip
OUACHITA BAPTIST UNIVERSITY          BUSINESS OFFICE BOX 3756                                                                                  ARKADELPHIA          AR 71998‐0001
OUACHITA COUNTY TAX COLLECTOR        PO BOX 217                                                                                                CAMDEN               AR 71711‐0217
OUACHITA PARISH                      SHERIFF & TAX COLLECTOR              PO BOX 1803                                                          MONROE               LA 71210‐1803
OUACHITA PARISH SHERIFF              PO BOX 1803                                                                                               MONROE               LA 71210‐1803
OUACHITA TAXATION AND REVENUE DEPT   PO BOX 123                                                                                                MONROE               LA 71210‐0123

OUACHITA TAXATION AND REVENUE DEPT ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 123                                                           MONROE               LA   71210‐0123

OUBINA, OLGA C                       9 LIBERTY CIR                                                                                             PALM COAST          FL    32164‐8711
OUBINA, OLGA C                       9 LIBERTY CIRCLE                                                                                          PALM COAST          FL    32164‐8711
OUBRE JR, MELVIN L                   1343 HWY 19 S                                                                                             MERIDIAN            MS    39307
OUC/NAPA                                                                  6025 PERSHING AVE                 PERSHING AVENUE                                        FL    32822
OUCHI, ALISON T                      6935 E THIRSTY CACTUS LN                                                                                  SCOTTSDALE          AZ    85266‐7303
OUCHI, MASASHI                       2724 KAHOALOHA LN APT 1604                                                                                HONOLULU            HI    96826‐3337
OUDBIER, JEFFREY S                   13180 104TH AVE                                                                                           GRAND HAVEN         MI    49417‐8756
OUDBIER, JEFFREY SCOTT               13180 104TH AVE                                                                                           GRAND HAVEN         MI    49417‐8756
OUDEMOLEN, HILBERT                   2104 S 350 W                                                                                              RUSSIAVILLE         IN    46979‐9451
OUDENDYK, ESTHER                     PO BOX 138                                                                                                METAMORA            MI    48455
OUDENDYK, ESTHER                     1936 ORCHARD LANE NORTHEAST                                                                               GRAND RAPIDS        MI    49505‐5704
OUDENDYK, JAMES W                    5387 CARAVEL DR SW                                                                                        WYOMING             MI    49418‐9122
OUDENSHA AMERICA                     TAKA FUKUDA                          2901 E. OLD HIGGINS                                                  BROWNSVILLE         TX    78521
OUDENSHA AMERICA                     TAKA FUKUDA                          2901 OLD HIGGINS RD                                                  ELK GROVE VILLAGE   IL    60007‐6507
OUDENSHA AMERICA INC                 1894 S ELMHURST RD                                                                                        MOUNT PROSPECT      IL    60056‐5711
OUDENSHA CO LTD                      1894 S ELMHURST RD                                                                                        MOUNT PROSPECT      IL    60056‐5711
OUDENSHA CO LTD                      TAKA FUKUDA                          2901 E. OLD HIGGINS                                                  BROWNSVILLE         TX    78521
OUDENSHA CO LTD                      TAKA FUKUDA                          2901 OLD HIGGINS RD                                                  ELK GROVE VILLAGE   IL    60007‐6507
OUDERKIRK, AMY J                     SULLIVAN LAW OFFICES                 94 EAST BRIDGE STREET                                                OSWEGO              NY    13126
OUDERKIRK, BOB                       312 W LINCOLN ST                                                                                          CHARLEVOIX          MI    49720‐1221
OUDERKIRK, ELEANOR K                 1149 LATIMER HILL RD                                                                                      CANAJOHARIE         NY    13317‐3732
OUDERKIRK, JAMES                     2438 MERIDA CIR                                                                                           THE VILLAGES        FL    32162‐0165
OUDERKIRK, JASON                     312 W LINCOLN ST                                                                                          CHARLEVOIX          MI    49720‐1221
OUDERKIRK, RENE S
OUDETTE, DARLENE M                   219 COTTAGE ST                                                                                            LOCKPORT            NY    14094‐4901
OUDETTE, JASON W                     6111 TACHI DRIVE                                                                                          NEWFANE             NY    14108‐9517
OUDETTE, RICHARD E                   8784 BRADLEY RD                                                                                           GASPORT             NY    14067‐9461
OUDHOFF JR., CHARLES R               9350 DEAN RD                                                                                              SHREVEPORT          LA    71118‐2810
OUDHOFF, CHARLES R                   814 ANTHONY ST                                                                                            BOSSIER CITY        LA    71112‐2106
OUDHOFF, YVONNE                      7288 23RD AVE                                                                                             JENISON             MI    49428‐8749
OUDIN, EDMUND F                      301 SCARSDALE RD                                                                                          TUCKAHOE            NY    10707‐2114
OUDINOT WARREN E JR (ESTATE OF)      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA    23510
(481938)                                                                  STREET, SUITE 600
OUDINOT, WARREN E                    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA 23510‐2212
                                                                          STREET, SUITE 600
OUEDRAOGO, APRIL N                   7440 S BLACKHAWK ST UNIT 7204                                                                             ENGLEWOOD           CO    80112‐4340
OUELLET, TERESA C                    5 CARIATI BLVD                                                                                            MERIDEN             CT    06451‐3676
OUELLETTE GEORGE                     5 SOUTHPINE RED                                                                                           FRANKLIN            MA    02038
OUELLETTE JR, DEAN C                 5083 TERRITORIAL RD                                                                                       GRAND BLANC         MI    48439‐2046
OUELLETTE JR, JOSEPH E               8438 E VIRGINIA AVE                                                                                       SCOTTSDALE          AZ    85257‐1822
OUELLETTE JR, RUSSELL J              1960 DEGURSE AVE                                                                                          MARINE CITY         MI    48039‐1530
OUELLETTE MARGARET (ESTATE OF)       EARLY LUDWICK & SWEENEY L.L.C.       ONE CENTURY TOWER, 11TH FLOOR ,                                      NEW HAVEN           CT    06510
(665585)                                                                  265 CHURCH STREET
OUELLETTE MARTIN                     OUELLETTE, MARTIN                    PO BOX 231                                                           DUXBURY             MA 02331‐0231
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Name                            Address1                         Address2                          Address3                  Address4            City              State Zip
OUELLETTE MARTIN                OUELLETTE, TRACY                 GRANT LAURIE                      459 WASHINGTON STREET P O                     DUXBURY            MA 02331
                                                                                                   BOX 231
OUELLETTE RANDOLPH A (498848)   EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR ,                                                 NEW HAVEN         CT   06510
                                                                 265 CHURCH STREET
OUELLETTE RENE                  511 MERROW RD                                                                                                    AUBURN            ME   04210‐8897
OUELLETTE, ARCHIE               PO BOX 115                                                                                                       PLANTSVILLE       CT   06479‐0115
OUELLETTE, BARBARA J            73 SANDRA LN                                                                                                     PLANTSVILLE       CT   06479‐1315
OUELLETTE, CAROL                351 ISLAND DR                                                                                                    BEAVERTON         MI   48612‐8525
OUELLETTE, CHARLES W            734 DARWIN ST                                                                                                    WESTLAND          MI   48196‐4506
OUELLETTE, CONNIE J             103 DEERVIEW DR                                                                                                  COLUMBIA          TN   38401‐5288
OUELLETTE, DALE A               4280 WHEELER RD                                                                                                  BAY CITY          MI   48706‐1836
OUELLETTE, DONALD A             154 MAPLEWOOD RD                                                                                                 SOUTHINGTON       CT   06489‐2457
OUELLETTE, DONALD L             699 PIKE AVE                                                                                                     ATTLEBORO         MA   02703‐4330
OUELLETTE, DONNA J              4280 WHEELER RD                                                                                                  BAY CITY          MI   48706‐1836
OUELLETTE, EDWARD J             5130 BACHMAN ROAD                                                                                                OSCODA            MI   48750‐8830
OUELLETTE, EMIL A               57 NESENKEAG DR                                                                                                  LITCHFIELD        NH   03052‐2424
OUELLETTE, FOREST J             3259 OLD KAWKAWLIN RD                                                                                            BAY CITY          MI   48706‐1615
OUELLETTE, FOREST JOHN          3259 OLD KAWKAWLIN RD                                                                                            BAY CITY          MI   48706‐1615
OUELLETTE, GALE R               5085 RICHFIELD RD                                                                                                FLINT             MI   48506‐2156
OUELLETTE, GEORGIA M            8901 SW 98TH STREET RD                                                                                           OCALA             FL   34481‐9391
OUELLETTE, GERALD L             2988 GRANGER RD                                                                                                  LEWISTON          MI   49756‐8530
OUELLETTE, GERARD               4604 CYPERT RD                                                                                                   YUKON             OK   73099‐3149
OUELLETTE, HELEN M              6600 PORTAGE LAKE RD LOT 32                                                                                      MUNITH            MI   49259‐9612
OUELLETTE, JACQUELYN P          PO BOX 55644                                                                                                     PHOENIX           AZ   85078‐5644
OUELLETTE, JACQUELYN P          P.O. BOX 55644                                                                                                   PHOENIX           AZ   85078‐5644
OUELLETTE, KENNETH D            1106 NEWMAN RD                                                                                                   OXFORD            MI   48371‐5908
OUELLETTE, LARRY E              2340 GREENWOOD RD                                                                                                PRESCOTT          MI   48756‐9655
OUELLETTE, LEO E                38 SMITH ST                                                                                                      BRISTOL           CT   06010‐2933
OUELLETTE, LEO J                3 LOVELY ST                                                                                                      TERRYVILLE        CT   06786‐4602
OUELLETTE, LESHA L              18637 LENNANE                                                                                                    REDFORD           MI   48240‐1748
OUELLETTE, MARGARET             EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                                  NEW HAVEN         CT   06508
                                                                 265 CHURCH STREET
OUELLETTE, MARILYN              784 STATE ROAD 82                                                                                                WISCONSIN DELLS   WI   53965‐8506
OUELLETTE, MARJORIE M           4518 PARNELL ST                                                                                                  CLARKSTON         MI   48346‐4053
OUELLETTE, MARK                 27 WESTON ST                                                                                                     CARVER            MA   02330
OUELLETTE, MARK S               20519 FOXWORTH CIR                                                                                               ESTERO            FL   33928‐4407
OUELLETTE, MARTIN               GRANT LAURIE                     PO BOX 231                                                                      DUXBURY           MA   02331‐0231
OUELLETTE, PATRICIA G           509 CHEVAL DR                                                                                                    VENICE            FL   34292‐4606
OUELLETTE, PHIL J               7873 PARK LANE AVE                                                                                               JENISON           MI   49428‐9110
OUELLETTE, RALPH H              629 VANIER                                                                                   WINDSOR ONTARIO
                                                                                                                             CANADA N8X‐3E4
OUELLETTE, RANDOLPH A           EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                                  NEW HAVEN         CT   06508
                                                                 265 CHURCH STREET
OUELLETTE, RAYMOND J            21 ASHLEY RD                                                                                                     BRISTOL           CT   06010‐2604
OUELLETTE, REGINA E             635 WALNUT PLAIN RD                                                                                              ROCHESTER         MA   02770‐1225
OUELLETTE, RICHARD A            103 DEERVIEW DR                                                                                                  COLUMBIA          TN   38401‐5288
OUELLETTE, ROBERT A             2176 JARVIS RD                                                                                                   FORISTELL         MO   63348‐1429
OUELLETTE, ROBERT G             8989 DEVILS LAKE HWY                                                                                             ADDISON           MI   49220‐9304
OUELLETTE, ROBERT J             PO BOX 115                                                                                                       MARINE CITY       MI   48039‐0115
OUELLETTE, ROBERTA A            1322 N ADAMS RD                                                                                                  ROCHESTER HLS     MI   48306‐3803
OUELLETTE, ROLAND               414 HUNTER AVE                                                                                                   NILES             OH   44446‐1625
OUELLETTE, ROLAND A             1615 E RIDGELINE PATH                                                                                            INVERNESS         FL   34453‐9005
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Name                                 Address1                        Address2            Address3         Address4             City               State Zip
OUELLETTE, RYAN A                    5700 PINEWOOD DR                                                                          WHITE LAKE          MI 48383‐1235
OUELLETTE, SHARON BERTHA             5039 E FRANCES RD                                                                         MOUNT MORRIS        MI 48458‐9727
OUELLETTE, STANLEY T                 3358 N GENESEE RD                                                                         FLINT               MI 48506‐2166
OUELLETTE, STEVEN J                  6326 FOSTORIA RD                                                                          OTTER LAKE          MI 48464‐9784
OUELLETTE, TRACY                     GRANT LAURIE                    PO BOX 231                                                DUXBURY             MA 02331‐0231
OUELLETTE, VERNA A                   15 WITCHES ROCK RD                                                                        BRISTOL             CT 06010
OUELLETTE, VIRGINIA                  1897 BELLE RIVER RD                                                                       EAST CHINA          MI 48054
OUELLETTE, WAYNE T                   54 POPPLE BRIDGE RD                                                                       GRISWOLD            CT 06351‐3533
OUELLETTE, WILLIAM J                 1257 CRESCENT RD                                                                          HARRISVILLE         MI 48740‐9556
OUIDA BOCQUET                        818 HILBERG ST                                                                            OXFORD              MI 48371‐4531
OUIDA DANIELS                        1826 BUCHANAN ST                                                                          SANDUSKY            OH 44870‐4563
OUIDA F MCGEE                        3686 DIAMONDALE DR W                                                                      SAGINAW             MI 48601‐5807
OUIDA MCGEE                          3686 DIAMONDALE DR W                                                                      SAGINAW             MI 48601‐5807
OUIDA OSBORNE                        2020 W BOGART RD                                                                          SANDUSKY            OH 44870‐5303
OUILETTE, HAZEL M                    114 E ERIE ST APT10                                                                       JEFFERSON           OH 44047‐1449
OUILLETTE, ALAN D                    5191 CHAMBERS RD                                                                          MAYVILLE            MI 48744‐9768
OUILLETTE, ALAN DALE                 5191 CHAMBERS RD                                                                          MAYVILLE            MI 48744‐9768
OUILLETTE, GERALD A                  9614 APT A MISSOURI STREET                                                                OSCODA              MI 48750
OUILLETTE, RUSSEL D                  6655 E SENECA ST                                                                          INVERNESS           FL 34452‐8263
OUILLETTE, TERRENCE D                3049 N GARFIELD RD                                                                        PINCONNING          MI 48650‐7002
OUIMET, EDWARD J                     228 BAYLEY RD                                                                             MASSENA             NY 13662‐3258
OUIMET, JOSEPH F                     3906 GALAXY DR                                                                            JANESVILLE          WI 53546‐4200
OUIMET, LARRY J                      3051 BURLINGTON CT                                                                        ROCHESTER HILLS     MI 48306‐3013
OUIMET, LUC                          8011 HUNTERS CV                                                                           BOARDMAN            OH 44512‐8115
OUIMET, MICHAEL F                    228 BAYLEY RD                                                                             MASSENA             NY 13662‐3258
OUIMET, MICHAEL FRED                 228 BAYLEY RD                                                                             MASSENA             NY 13662‐3258
OUIMET, WENDY L                      3051 BURLINGTON CT                                                                        ROCHESTER HILLS     MI 48306‐3013
OUIMETTE GOLDSTEIN & ANDR EWS PC     88 MARKET ST                                                                              POUGHKEEPSIE        NY 12601‐4014
OUIMETTE, JEANNETTE
OUIMETTE, MICHAEL L                  3195 S ORTONVILLE RD                                                                      CLARKSTON          MI   48348‐1231
OUJESKY JR, CLEM                     826 COLLIN DR                                                                             EULESS             TX   76039‐3304
OUJESKY MARK                         1105 BRYAN CIR                                                                            BEDFORD            TX   76022‐7504
OULDER ESTATE OF JERRY L. M          3298 DAVENPORT RD                                                                         DULUTH             GA   30096‐3511
OULDS, SARAH                         1728 BRIARWOOD DR                                                                         FLINT              MI   48507‐1434
OULDS, SARAH                         1728 BRIERWOOD DRIVE                                                                      FLINT              MI   48507
OULIN ROBERTSON                      824 E 5TH ST                                                                              MUNCIE             IN   47302‐3560
OULUN AUTOLIIKE OY                   KEMPELEENTIE, 9                                                      OULU 90400 FINLAND
OULUN AUTOLIIKE OY                   KEMPELEENTIE 9                                                       OULU 90400 FINLAND
OUMELLAL YASSINE                     2896 PARKWAY CIR                                                                          STERLING HEIGHTS   MI   48310‐7127
OUMP WIMBUSH                         15525 COLLINSON AVE                                                                       EASTPOINTE         MI   48021‐2903
OUNKEO, JUSTIN S                     100 ARALIA CT                                                                             HERCULES           CA   94547‐1001
OUPER, JEROME O                      6510 FAIRFIELD AVE                                                                        BERWYN             IL   60402‐3539
OUR LADY ELEMENTARY SCHOOL           404 S WOOD ST                                                                             CHESANING          MI   48616‐1358
OUR LADY OF HOLY CROSS COLLEGE       4123 WOODLAND DR                                                                          NEW ORLEANS        LA   70131‐7337
OUR LADY OF THE LAKE HOSPITAL
OUR LADY OF THE LAKE UNIV            STUDENT ACCOUNTS OFFICE         411 SW 24TH ST                                            SAN ANTONIO        TX 78207‐4617
OUR LADY OF THE LAKES BUILDINGFUND   5481 DIXIE HWY                                                                            WATERFORD          MI 48329‐1614

OUR LADY OF THE ROSARY PARISH        ATTN: ROBERT MORAND             5930 WOODWARD AVE                                         DETROIT            MI   48202‐3516
OUR LADYS INN                        PO BOX 18741                                                                              SAINT LOUIS        MO   63118‐0741
OUR TEAM AUTO & TRUCK, INC.          25449 RUFF ST                                                                             PLAINFIELD         IL   60585‐5836
OURADA TRUCK LINE INC                PO BOX 257                                                                                ELM CREEK          NE   68836‐0257
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Name                                Address1                           Address2                      Address3                 Address4         City              State Zip
OURANIA REAM FRED REAM              MRS OURANIA REAM                   MR FRED REAM                  6150 VALLEY STATION DR                    PELHAM             AL 35124
OURISMAN CHEVROLET CO., INC.                                                                                                                   MARLOW HEIGHTS     MD 20748‐1899
OURISMAN CHEVROLET CO., INC.        JOHN OURISMAN                      4400 BRANCH AVE                                                         MARLOW HEIGHTS     MD 20748‐1802
OURISMAN CHEVROLET CO., INC.        4400 BRANCH AVE                                                                                            MARLOW HEIGHTS     MD 20748‐1802
OURISMAN CHEVROLET OF BOWIE         16610 GOVERNOR BRIDGE RD                                                                                   BOWIE              MD 20716‐3617
OURISMAN CHEVROLET OF BOWIE, INC.   DENNIS RIPPEON                     16610 GOVERNOR BRIDGE RD                                                BOWIE              MD 20716‐3617

OURISMAN'S ROCKMONT CHEVROLET                                                                                                                  ROCKVILLE         MD   20850
OURISMAN'S ROCKMONT CHEVROLET       15301 FREDERICK RD                                                                                         ROCKVILLE         MD   20855‐2120
OURISMAN'S ROCKMONT CHEVROLET       #20 SOUTHLAWN COURT                                                                                        ROCKVILLE         MD   20850
OURISMAN'S WHEATON PLAZA            11180 VEIRS MILL RD                                                                                        WHEATON           MD   20902‐2553
CHEVROLET,
OURISMAN'S WHEATON PLAZA            11180 VEIRS MILL RD                                                                                        WHEATON           MD 20902‐2553
CHEVROLET, INC.
OURISMAN'S WHEATON PLAZA            DENNIS RIPPEON                     11180 VEIRS MILL RD                                                     WHEATON           MD 20902‐2553
CHEVROLET, INC.
OURISMAN'S WHEATON PLAZA CHEVROLET‐ WHEATON PLAZA REGIONAL SHOPPING    VIERS MILL ROAD                                                         WHEATON           MD 20902
GEO, INC.                           CENTER
OURS JAMES E (347215)               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                             NORFOLK           VA 23510
                                                                       STREET, SUITE 600
OURS JR, BERNARD G                  104 FRIENDSHIP DR                                                                                          MARTINSBURG       WV   25405‐2514
OURS, HAROLD G                      248 DEER DR                                                                                                CHARDON           OH   44024‐8690
OURS, HILDA J                       6080 LONDON GROVEPORT RD                                                                                   GROVE CITY        OH   43123‐8947
OURS, JAMES E                       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                             NORFOLK           VA   23510‐2212
                                                                       STREET, SUITE 600
OURS, JASON R                       1157 MICK RD                                                                                               WELLSVILLE        OH   43968‐1855
OURS, JASON ROGER                   1157 MICK RD                                                                                               WELLSVILLE        OH   43968‐1855
OURS, JOY                           248 DEER DR                                                                                                CHARDON           OH   44024‐8690
OURS, K ROGER                       16892 FORBES RD                                                                                            WELLSVILLE        OH   43968‐9719
OURS, KENNETH R.                    16892 FORBES RD                                                                                            WELLSVILLE        OH   43968‐9719
OURY, ANDREW P                      2543 WEXFORD DR                                                                                            TROY              MI   48084‐2744
OURY, CHRISTINE A                   2543 WEXFORD DR                                                                                            TROY              MI   48084‐2744
OUSACHI, MARK                       4156 HARDWOODS DR                                                                                          WEST BLOOMFIELD   MI   48323
OUSLEY ESTATE OF, FAYETTA
OUSLEY JR, RAYMOND                  2796 IVANHOE RD                                                                                            SHARPSVILLE       PA   16150‐4130
OUSLEY, BEATRICE                    5182 KENSINGTON                                                                                            ST LOUIS          MO   63108‐1012
OUSLEY, CAROL                       367 MITCHELL RD                                                                                            WILMINGTON        OH   45177‐8774
OUSLEY, ELLA F                      PO BOX 55                                                                                                  TOUGALOO          MS   39174‐0055
OUSLEY, ESTELLA                     1968 AMERICAN WAY                                                                                          HERMITAGE         PA   16148‐7706
OUSLEY, FRANKLIN D                  4306 OPDYKE RD                                                                                             PLYMOUTH          OH   44865‐9708
OUSLEY, GLORIA J                    5590 PLEASANT HILL AVE APT 205‐3                                                                           LAS VEGAS         NV   89103
OUSLEY, HAGER                       831 CLEARFIELD ST                                                                                          MOREHEAD          KY   40351‐1415
OUSLEY, JAMES D                     744 CENTRAL AVE                                                                                            CARLISLE          OH   45005‐3332
OUSLEY, JESSIE C                    4433 S DEER PARK LN                                                                                        HARRAH            OK   73045‐6089
OUSLEY, JOHN P
OUSLEY, LARRY D                     2706 SAINT DENNIS CT                                                                                       KOKOMO            IN   46902‐2922
OUSLEY, LARRY DEAN                  2706 SAINT DENNIS CT                                                                                       KOKOMO            IN   46902‐2922
OUSLEY, LEE W                       24900 HIGHWAY 17                                                                                           WAYNESVILLE       MO   65583‐8305
OUSLEY, LINDA H                     317 OXFORD RD                                                                                              ANDERSON          IN   46012‐3924
OUSLEY, MARSHA G                    1203 WHALEYS OVERLOOK                                                                                      KODAK             TN   37764‐2604
OUSLEY, ORINNE                      106 S WASHINGTON ST                                                                                        SIDNEY            IN   46562‐8939
OUSLEY, RAYMOND                     1120 BALDWIN AVE                                                                                           SHARON            PA   16146‐2516
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Name                                 Address1                        Address2                        Address3   Address4                City              State Zip
OUSLEY, RICHARD                      18062 PREST ST                                                                                     DETROIT            MI 48235‐2806
OUSLEY, RICHARD J                    1203 WHALEYS OVERLOOK                                                                              KODAK              TN 37764‐2604
OUSLEY, RUTH P                       PO BOX 417                                                                                         ETOWAH             TN 37331‐0417
OUSLEY, WILLIAM                      3117 JANE LN                                                                                       HALTOM CITY        TX 76117‐4025
OUSLEY, WILLIE N                     10540 E APACHE TRL LOT 130                                                                         APACHE JUNCTION    AZ 85220‐3350
OUSLEY, WILLIE N                     6204 W SHERMAN LAKE DR                                                                             AUGUSTA            MI 49012
OUSNAMER, NEIL G                     372 WOODLAND DR                                                                                    OAKLAND            MI 48363‐1364
OUSNAMER, SAMUEL J                   3142 KINGS CORNER RD                                                                               OSCODA             MI 48750‐9667
OUSNAMER, WILLARD D                  1059 CHERRYLAWN DR                                                                                 PONTIAC            MI 48340‐1701
OUSTERHOUT, GARY L                   304 N JOHNSON ST                                                                                   BAY CITY           MI 48708‐6776
OUSTERHOUT, JARRETT D                2224 S CROSBY AVE                                                                                  JANESVILLE         WI 53546‐5622
OUSTON                               5215 HOLLISTER ST               ATTN: BARBARA HARRISON                                             HOUSTON            TX 77040‐6205
OUT & EQUAL                          ATTN BEATRIZ RINCON             155 SANSOME ST STE 450                                             SAN FRANCISCO      CA 94104‐3646
OUT OF THE DARKNESS AMERIC FOUND     44 PIERREPONT AVE               SUNY POTS CTR FOR CAMPUS LIFE                                      POTSDAM            NY 13676‐2200
FOR SUICIDE PREVE
OUT PT DIAGNOSTIC CT                 PO BOX 973024                                                                                      DALLAS            TX   75397‐3024
OUTBACK CATERING                     6801 MIAMI AVE                                                                                     CINCINNATI        OH   45243‐3113
OUTBOARD MARINE CORPORATION          100 E SEA HORSE DR                                                                                 WAUKEGAN          IL   60085‐2141
OUTBOARD RECYCLE PARTS AND MARINE,                                   7851 CRARY STATION ROAD                                                              AL   36575
INC. (AKA OBR)
OUTBOUND EXPRESS                     PO BOX 36                                                                                          GARDEN CITY       MI   48136‐0036
OUTBOUND GROUP                       9900 HARRISON ROAD                                                                                 ROMULUS           MI   48174
OUTBOUND TECH/NOVI                   30026 RESEARCH DR                                                                                  NEW HUDSON        MI   48165‐8543
OUTBOUND TECHNOLOGIES INC            30025 RESEARCH DR                                                                                  NEW HUDSON        MI   48165‐8543
OUTBOUND TECHNOLOGIES INC            22530 HESLIP DR                                                                                    NOVI              MI   48375‐4139
OUTCALT, ARTHUR A                    1522 N BUTLER AVE               C/O LINDA S LOWE                                                   INDIANAPOLIS      IN   46219‐2926
OUTCALT, DENNIS                      2865 WESTHOLLOW DR APT 35                                                                          HOUSTON           TX   77082‐3320
OUTCALT, FREDERICK C                 1044 TWIN BR                                                                                       MARTINSVILLE      IN   46151‐8944
OUTCALT, HELEN                       1522 N BUTLER AVE               C/O LINDA S LOWE                                                   INDIANAPOLIS      IN   46219‐2926
OUTCALT, LEONARD R                   9158 WESTDRUM CT                                                                                   INDIANAPOLIS      IN   46231‐3108
OUTCAULT JR, ROBERT H                48 FLINTSHIRE TER                                                                                  MANCHESTER        NJ   08759‐6812
OUTDOOR CAP COMPANY, INC.
OUTDOOR CONNECTION INC               ATTN RON SHANNON                2835 STRATHMORE DR                                                 CUMMING           GA   30041‐7455
OUTDOOR KITCHEN                      2005 HIGHWAY 163                                                                                   DOYLINE           LA   71023‐3727
OUTDOOR SHOWROOMS INC                1685 H STREET #970                                                                                 BLAINE            WA   98230
OUTDOOR SYSTEMS, INC.                88 CUSTER ST                                                                                       DETROIT           MI   48202‐3106
OUTDOOR WRITERS ASSOCIATION          121 HICKORY ST STE 1                                                                               MISSOULA          MT   59801‐1896
OFAMERICA
OUTEN, ARTIS E                       14423 DIXIE                                                                                        REDFORD           MI   48239‐3366
OUTEN, CALVIN                        1300 MARTIN LUTHER KING BLVD                                                                       DETROIT           MI   48201
OUTEN, DANIEL G                      1185 W SLOAN RD                                                                                    BURT              MI   48417‐9726
OUTEN, GILBERT R                     124 BROOKGATE DR                                                                                   MYRTLE BEACH      SC   29579‐7809
OUTEN, M                             2907 200TH AVENUE                                                                                  REED CITY         MI   49677‐8047
OUTEN, MARTHA J                      3442 S CENTER RD                                                                                   BURTON            MI   48519‐1456
OUTEN, RANDELL W                     289 KINGS WAY                                                                                      CANTON            MI   48188‐1187
OUTEN, VENICE D                      15176 MILLER ST                                                                                    OAK PARK          MI   48237‐3015
OUTERLIGHT ENTERTAINMENT             13095 MORNINGPARK CIR                                                                              ALPHARETTA        GA   30004‐7331
OUTHAI PATTHANACHAROENPHON           3245 BENDING BROOK DR                                                                              FLUSHING          MI   48433‐3013
OUTIL & MATRICE HARRINGTON INC       2555 MATTE BLVD                                                            LONGUEUIL QC J4Y 2H1
                                                                                                                CANADA
OUTIL ET MATRICE                     HARRINGTON INC                  755 1ST AVE                                LACHINE CANADA PQ H8S
                                                                                                                2S7 CANADA
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OUTILLAGE ET CAOUTCHAOUC POUR   SEVERINE BIHANIC                24 RUE MAX TOURAILLES                                     WESTFIELD              IN 46074
OUTING BERNICE                  OUTING, BERNICE                 197 OZZIE ST                                              ALLENDALE              SC 29810‐6001
OUTING JR, JOHN                 1203 RIVER FOREST DR APT 1227                                                             FLINT                  MI 48532‐2879
OUTING, BERNICE                 197 OZZIE ST                                                                              ALLENDALE              SC 29810‐6001
OUTLAND LEWIS, WANDA L          160 PEACH BLOSSOM LN                                                                      BOWLING GREEN          KY 42103‐7057
OUTLAND ROBERT J                1716 SEVERN RD                                                                            GROSSE POINTE WOODS    MI 48236‐1996
OUTLAND, BILLIE J               3928 BOULDER DR                                                                           TROY                   MI 48084‐1152
OUTLAND, CRAIG
OUTLAND, DARLENE L              1113 PEARL ST                                                                             YPSILANTI             MI   48197‐4620
OUTLAND, DARLENE LOUISE         1113 PEARL ST                                                                             YPSILANTI             MI   48197‐4620
OUTLAND, MARY F                 115 HENNESSEE STREET                                                                      LAKELAND              FL   33805‐2019
OUTLAND, RICHARD A              1744 CIRCLEWOOD DR                                                                        RACINE                WI   53402‐1528
OUTLAND, ROBERT D               38 TIMBERVIEW DR                                                                          TROY                  MI   48084‐1740
OUTLAND, ROBERT J               1716 SEVERN RD                                                                            GROSSE POINTE WOODS   MI   48236‐1996
OUTLAW BUFUS (110225)           BLANK ROME COMISKY & MCCAULEY   1200 FOUR PENN CENTER PLAZA                               PHILADELPHIA          PA   19103
OUTLAW JR, JESSE                1245 MIDDLE RD                                                                            CALEDONIA             NY   14423‐9638
OUTLAW JR, MASON                6929 GLENMORE AVE                                                                         SAINT LOUIS           MO   63121‐5111
OUTLAW, ANGELUS M               892 OAK DR                                                                                RIVERDALE             GA   30274
OUTLAW, BRYAN T                 2777 ALGONQUIN DR                                                                         MELBOURNE             FL   32935‐8807
OUTLAW, BUFUS                   BLANK ROME COMISKY & MCCAULEY   1200 FOUR PENN CENTER PLAZA                               PHILADELPHIA          PA   19103
OUTLAW, CHARLES L               15411 HARTWELL ST                                                                         DETROIT               MI   48227‐3328
OUTLAW, CLARENCE                118 W JOHN ST                                                                             WARSAW                NC   28398‐2323
OUTLAW, CYNTHIA D               1132 CHELSEA ST                                                                           LANSING               MI   48915
OUTLAW, EDDIE W                 4907 FAIRFOREST DR                                                                        STONE MTN             GA   30088‐1609
OUTLAW, FRANKIE L               1336 HYDE PARK BLVD                                                                       MEMPHIS               TN   38108‐2274
OUTLAW, GENEVA M                PO BOX 541                                                                                DIXON                 MO   65459‐0541
OUTLAW, J E                     537 PAVONIA AVE                                                                           JERSEY CITY           NJ   07306‐1803
OUTLAW, JAMES E                 812 TULANE DR                                                                             FLINT                 MI   48503‐5253
OUTLAW, LINDA K                 3054 OLD FARM RD                                                                          FLINT                 MI   48507‐1258
OUTLAW, MARTY                   401 THOMAS DR                                                                             FYFFE                 AL   35971‐5309
OUTLAW, SHAQUONNA               4403 WESTCHESTER CT                                                                       DECATUR               GA   30035‐4223
OUTLAW, SHIRLEY                 4401 N EMERSON AVE                                                                        INDIANAPOLIS          IN   46226‐3217
OUTLAW, SHIRLEY                 4401 EMERSON AVE.                                                                         INDIANAPOLIS          IN   46226‐3217
OUTLAW, SOLOMON                 3054 OLD FARM RD                                                                          FLINT                 MI   48507‐1258
OUTLAW, THURNEL                 540 CAIRO ST NW                                                                           ATLANTA               GA   30314‐2733
OUTLAW, TIWAN J                 1024 BENTWATER PKWY                                                                       CEDAR HILL            TX   75104‐6908
OUTLAW, TIWAN JERMALE           1024 BENTWATER PKWY                                                                       CEDAR HILL            TX   75104‐6908
OUTLAW, WILHELMENIA F           73 WILDBRIAR RD                                                                           ROCHESTER             NY   14623‐3904
OUTLAW, WYONNA                  13207 PARKVIEW LN                                                                         ALPHARETTA            GA   30005‐5422
OUTLAW‐THOMPSON, KATE M         61 CARPENTER RD N APT G5        APT G5                                                    TIFTON                GA   31793‐7844
OUTLEY, CARLECEA D              3818 TALTON ST                                                                            SHREVEPORT            LA   71119‐7013
OUTLEY, DOROTHY S               23401 W 8 MILE RD APT 101                                                                 DETROIT               MI   48219‐1136
OUTLING, DOROTHY M              594 KENSINGTON AVE                                                                        BUFFALO               NY   14214‐2816
OUTLOOK NASHVILLE               3004 TUGGLE AVE                                                                           NASHVILLE             TN   37211‐2522
OUTMAN, GERALD D                2337 STATE HIGHWAY 184                                                                    HEUVELTON             NY   13654‐3231
OUTOKUMPU COPPER NIPPERT INC    801 PITTSBURGH DR               FRMLY NIPPERT CO                                          DELAWARE              OH   43015‐2860
OUTPATIENT ANESTHESI            PO BOX 32550                                                                              PIKESVILLE            MD   21282‐2550
OUTPATIENT ANESTHESI            71 OMEGA DR BLDG D                                                                        NEWARK                DE   19713‐2063
OUTPATIENT ANESTHESI            PO BOX 70013                                                                              SHAWNEE MISSION       KS   66207‐1313
OUTPLACEMENT PROJECTS INC       1832A MIDPARK RD                                                                          KNOXVILLE             TN   37921‐5960
OUTRAKIS, ANGELINE K            1086 FRENCH STREET                                                                        SHARON                PA   16146‐2851
OUTRAKIS, ANGELINE K            1086 FRENCH ST                                                                            SHARON                PA   16146‐2851
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Name                               Address1                           Address2                          Address3     Address4             City                 State Zip
OUTRAM, ROBERT L                   32860 STATE ROUTE 41                                                                                   PEEBLES               OH 45660‐9573
OUTSELL INC                        330 PRIMROSE RD STE 510                                                                                BURLINGAME            CA 94010‐4031
OUTSELL, INC.                      330 PRIMROSE RD STE 510                                                                                BURLINGAME            CA 94010‐4031
OUTSIDE HUB LLC                    DAVID FARBMAN                      28400 NORTHWESTERN HIGHWAY        4TH FLOOR                         SOUTHFIELD            MI 48034

OUTSOURCE AMERICA INC               PO BOX 126                                                                                            ELLENTON             FL 34222‐0126
OUTT, ROBERT L                      8509 HIGHWAY P                                                                                        NEOSHO               MO 64850‐6152
OUTTARA, JEAN
OUTTEN BUICK‐PONTIAC, INC.          WILLIE OUTTEN                     1080 S 4TH ST                                                       HAMBURG              PA 19526‐9208
OUTTEN BUICK‐PONTIAC, INC.
OUTTEN BUICK‐PONTIAC‐CHEVROLET‐OLDS 1080 S 4TH ST                                                                                         HAMBURG              PA 19526‐9208

OUTTEN BUICK‐PONTIAC‐CHEVROLET‐    1080 S 4TH ST                                                                                          HAMBURG              PA 19526‐9208
OLDSMOBILE
OUTTEN CHEVROLET, INC.             1701 W TILGHMAN ST                                                                                     ALLENTOWN            PA   18104‐4158
OUTTEN CHEVROLET, INC.             WILLIE OUTTEN                      1701 W TILGHMAN ST                                                  ALLENTOWN            PA   18104‐4158
OUTTEN, CARLYLE                    1505 W RIVERSIDE DR                                                                                    ATLANTIC CITY        NJ   08401‐1629
OUTTEN, STEVEN A                   8614 QUENTIN AVE                                                                                       PARKVILLE            MD   21234‐3831
OUTTERSIDE, IRENE M                8250 E GOLF LINKS RD APT 144                                                                           TUCSON               AZ   85730‐1247
OUTWARD BOUND                      2946 NORTHERN BLVD                                                                                     LONG ISLAND CITY     NY   11101‐2813
OUTWARD INSIGHTS                   3K00 BRICKSTONE SQ                 STE 201                                                             ANDOVER              MA   01810‐1497
OUTZ, KIMBERLY                     JOHNSON & WARD ATTORNEYS AT LAW    2100 THE EQUITABLE BUILDING 100                                     ATLANTA              GA   30303
                                                                      PEACHTREE STREET NORTH WEST

OUVERSON JAMIE                     1310 KARLO ST                                                                                          SEBRING              FL 33875‐5700
OUVERSON, LARRY D                  2104 M.C. 2061                                                                                         YELLVILLE            AR 72687
OUVINA, MARIA                      EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR               PO BOX 200                        DETROIT              MI 48265‐2000

OUWELEEN, DAVID M                  245 STOTTLE RD                                                                                         CHURCHVILLE          NY   14428‐9739
OUWENEEL, RICHARD A                7071 HARBOR DR                                                                                         PENTWATER            MI   49449‐9616
OUWERKERK, DAVID B                 23323 IRIS AVE                                                                                         TORRANCE             CA   90505‐3130
OUYAND STANLEY                     767 FIFTH AVE 16TH FLOOR                                                                               NEW YORK             NY   10153
OUYANG WEN                         3325 YELLOWSTONE DR                                                                                    ANN ARBOR            MI   48105
OUYANG, STANLEY L                  APT 3J                             10 CLENT ROAD                                                       GREAT NECK           NY   11021‐3491
OUYANG, XIN                        644 MCKAY AVE                                                                     WINDSOR ON N9B 2A1
                                                                                                                     CANADA
OUZINIAN, JANET A                  2759 WATCHHILL DR                                                                                      LAPEER               MI   48446‐8793
OUZTS CHEVROLET COMPANY            PO BOX 609                                                                                             WINDER               GA   30680‐0609
OUZTS, CECIL E                     45 S RIVER DR                                                                                          CLARKSTON            MI   48346‐4145
OUZTS, JANIS K                     4620 KEMPF ST                                                                                          WATERFORD            MI   48329‐1806
OUZTS, WILLIAM R                   3387 ARDRETH DR                                                                                        WATERFORD            MI   48329‐3201
OVA BREWER                         642 LINCOLN AVE                                                                                        OWOSSO               MI   48867‐4624
OVA CAMPBELL                       25 SECORE CT                                                                                           DAYTON               OH   45440‐3619
OVA GRIFFITH JR                    2950 GARFIELD ST                                                                                       WATERFORD            MI   48329‐3134
OVA JOHNSON                        290 HOLLADAY LN                                                                                        WACO                 KY   40385‐9719
OVA L ASHLEY                       2246 TWIN CREEK RD                                                                                     W ALEXANDRIA         OH   45381‐9524
OVA LOWREY                         3524 S WALNUT ST                                                                                       MUNCIE               IN   47302‐5647
OVA NICKELL                        PO BOX 174863                                                                                          ARLINGTON            TX   76003‐4863
OVA O NICKELL                      PO BOX 174863                                                                                          ARLINGTON            TX   76003‐4863
OVA PETERS                         4042 WOODMERE DR                                                                                       WATERFORD TOWNSHIP   MI   48329‐1972
OVA RITCHEY                        654 ARCOLA ST                                                                                          GARDEN CITY          MI   48135‐3130
OVA STEPHENS                       1767 LEFFLE WEBB RD                                                                                    CROSSVILLE           TN   38572‐3362
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Name                                Address1                        Address2                     Address3   Address4                City              State Zip
OVA WALTON                          2003 SOUTH HEMLOCK ROAD                                                                         MUNCIE             IN 47302‐1960
OVA WARE                            690 SCOTTWOOD ST                                                                                PONTIAC            MI 48340‐3149
OVA WEST                            6673 S COUNTY ROAD 100 W                                                                        CLAYTON            IN 46118‐9237
OVADEK, AGNES A                     1031 ANGOLA AVE                                                                                 MOUNT MORRIS       MI 48458‐2101
OVADEK, DENISE R                    1352 S OAK RD                                                                                   DAVISON            MI 48423‐9129
OVADEK, RUTHANN                     45009 MITCHELL ST                                                                               GRAND BLANC        MI 48439‐7218
OVADER NELSON                       PO BOX 310134                                                                                   FLINT              MI 48531
OVAITT, FANETTA J                   5380 N PASEO DE LA PEREZA                                                                       TUCSON             AZ 85750‐1455
OVAITT, ROBERT M                    PO BOX 321                                                                                      CHINO VALLEY       AZ 86323‐0321
OVAL ADAMS                          404 N TEPEE DR                                                                                  INDEPENDENCE       MO 64056‐3519
OVAL BADGETT                        4081 COUNTYLINE RD                                                                              NEWTON FALLS       OH 44444
OVAL D STANAFORD                    923 MILBURN AVENUE                                                                              DAYTON             OH 45404‐1628
OVAL GLINN                          211 E 110TH ST                                                                                  KANSAS CITY        MO 64114‐5015
OVAL HARDWICK SR                    BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS     OH 44236
OVAL LESTER                         PO BOX 444                                                                                      BIG ROCK           VA 24603
OVAL REPAIR LLC                     ATTN: JEFF SCHEMBRI             28735 PLYMOUTH RD                                               LIVONIA            MI 48150‐2335
OVAL STANAFORD                      923 MILBURN AVE                                                                                 DAYTON             OH 45404‐1628
OVAL STRAP/FT PAYNE                 109 6TH ST SE                   P.O. BOX 717                                                    FORT PAYNE         AL 35967‐1703
OVAL WESTERFIELD                    12455 MCWHORTER RD                                                                              LONDON             KY 40741‐8726
OVALENE CASSEL                      50991 7 MILE RD                                                                                 NORTHVILLE         MI 48167‐9274
OVALLE JR, EDUARDO                  1057 HOLGATE AVE                                                                                DEFIANCE           OH 43512‐2068
OVALLE JR, FIDEL                    1401 E KALAMAZOO ST APT 2                                                                       LANSING            MI 48912‐2048
OVALLE, EDUARDO                     1057 HOLGATE AVE                                                                                DEFIANCE           OH 43512
OVALLE, GREGORIO C                  32 PORTAGE ST                                                                                   PONTIAC            MI 48341‐1636
OVALLE, HECTOR M                    7766 OAKHILL PARK DR                                                                            SAN ANTONIO        TX 78249‐4454
OVALLE, JOSE H                      160 S M‐99                                                                                      EATON RAPIDS       MI 48827
OVALLE, VERONICA M                  1057 HOLGATE AVE                                                                                DEFIANCE           OH 43512‐2068
OVALLE, VERONICA MARIE              1057 HOLGATE AVE                                                                                DEFIANCE           OH 43512‐2068
OVANDO, WILLIAM A                   PO BOX 226                                                                                      E ROCHESTER        NY 14445‐0226
OVANS, DAVID E                      1124 LAPHAM ST                                                                                  JANESVILLE         WI 53546‐5507
OVAR, GEORGE A                      13170 CHIPPEWA TRL                                                                              MIDDLEBRG HTS      OH 44130‐5721
OVARA MILLER                        5302 CLEVELAND AVE                                                                              KANSAS CITY        MO 64130‐4008
OVARIAN CANCER RESEARCH FUND        ATTN JAMIE BORIS                225 W 34TH ST STE 1400                                          NEW YORK           NY 10122‐1491
OVE ARUP & PARTNERS INTERNATIONAL   13 FITZROY STREET               LONDON W1T 4BQ                          UNITED KINGDOM GREAT
LIMITED                                                                                                     BRITAIN
OVE ARUP & PARTNERS INTL LTD        13 FITZROY ST                                                           LONDON ENGLAND GB W1T
                                                                                                            4BQ GREAT BRITAIN
OVE ARUP/TROY                       1960 RING DR                                                                                    TROY              MI   48083‐4228
OVE RIVERA                          295 4TH AVE                                                                                     PONTIAC           MI   48340‐2850
OVEAN HENDERSON                     5112 W BRADBURY AVE                                                                             INDIANAPOLIS      IN   46241‐5175
OVEDIA POPE                         1464 STOCKTON AVE                                                                               DAYTON            OH   45409‐1851
OVEDIA PREVATT                      6114 S COUNTY ROAD 229          GLEN ST                                                         GLEN SAINT MARY   FL   32040‐5438
OVEIDA NORRIS                       21 E 21ST ST APT 3D                                                                             NEW YORK          NY   10010‐6206
OVEIDO, WEIZMAN                     WEITZ & LUXENBERG               180 MAIDEN LANE                                                 NEW YORK          NY   10038
OVEL CANTRELL                       3158 W CLEAR LAKE RD                                                                            WEST BRANCH       MI   48661‐9598
OVEL DOBBS                          PO BOX 273                                                                                      LAWSON            MO   64062‐0273
OVELGONE, EVELYN A                  3807 LYNDALE AVE                                                                                BALTIMORE         MD   21213‐1938
OVELGONE, HENRY G                   8157 KAVANAGH RD                                                                                BALTIMORE         MD   21222‐4716
OVELINE ROBERTS                     35 PALM FOREST DR                                                                               LARGO             FL   33770‐7441
OVELL TATUM                         704 GRAYCROFT DRIVE SOUTHWEST                                                                   HUNTSVILLE        AL   35802‐1755
OVEN, ELIZABETH                     1922 GREENBRIAR LN                                                                              FLINT             MI   48507‐2284
OVEN, RICHARD H                     22420 KINGSLEY LN                                                                               LAND O LAKES      FL   34639
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Name                        Address1                          Address2                   Address3               Address4         City            State Zip
OVENA HOADE                 331 W 39TH ST                                                                                        INDIANAPOLIS     IN 46208‐3922
OVENHOUSE, ADAM MICHAEL     720 E FREDERICK AVE                                                                                  LANSING          MI 48906‐2006
OVENHOUSE, EUGENE B         720 E FREDERICK AVE                                                                                  LANSING          MI 48906‐2006
OVENHOUSE, MARK A           6595 BUCKSKIN CT                                                                                     DIMONDALE        MI 48821
OVENHOUSE, SCOTT B          15715 TURNER RD                                                                                      LANSING          MI 48906
OVENHOUSE, STEPHEN E        8780 BASS ST                                                                                         MECOSTA          MI 49332‐9766
OVENHOUSE, STEPHEN EUGENE   8780 BASS ST                                                                                         MECOSTA          MI 49332‐9766
OVENIA FARRIS               712 W 12TH ST                                                                                        ANDERSON         IN 46016‐1235
OVENSHIRE, HAROLD N         4623 BUCKINGHAM DR                                                                                   WARREN           MI 48092‐3007
OVENSHIRE, JAY H            493 SPRINGVIEW DR                                                                                    ROCHESTER        MI 48307‐1738
OVER, ELISA M               7954 ANDERSON AVE NE                                                                                 WARREN           OH 44484‐1529
OVER, ELISA M               7954 ANDERSON DRIVE, N.E.                                                                            WARREN           OH 44484‐1529
OVER, JAMES F               2547 E 500 N                                                                                         GREENFIELD       IN 46140‐7973
OVERA SCOTT                 4106 E 151ST ST                                                                                      CLEVELAND        OH 44128‐1924
OVERACKER JR, WILLIAM E     14028 N 52ND DR                                                                                      GLENDALE         AZ 85306‐4815
OVERACKER, ARTHUR L         322 W 7TH ST                                                                                         MARYSVILLE       OH 43040‐1535
OVERACKER, MARGUERITE       322 WEST 7TH ST                                                                                      MARYSVILLE       OH 43040‐1535
OVERACKER, MARGUERITE       322 W 7TH ST                                                                                         MARYSVILLE       OH 43040‐1535
OVERAITIS, EVELYN L         6769 MAIN ST                                                                                         CASS CITY        MI 48726‐1556
OVERAITIS, JOSEPH P         14192 BLACKBURN ST                                                                                   LIVONIA          MI 48154‐4247
OVERAITIS, LYNN D           41997 SARATOGA CIR                                                                                   CANTON           MI 48187‐3537
OVERAITIS, MARGARET HELEN   30825 DAWSON ST                                                                                      GARDEN CITY      MI 48135‐1920
OVERAITIS, PETER T          6490 WELCH LAKE RD                                                                                   GRASS LAKE       MI 49240‐9544
OVERALL, EDMOND J           27167 TREMBLEY LN                                                                                    WRIGHT CITY      MO 63390‐4378
OVERALL, HIRAM E            ATTN BUSINESS OFFICE              HARBOUR HEALTH MULTICARE   1205 DELAWARE AVENUE                    BUFFALO          NY 14209
                                                              CENTER
OVERALL, JANET K            13374 LAKE POINT BLVD                                                                                BELLEVILLE      MI   48111‐2286
OVERALL, JOHN B             3739 S LIDDESDALE ST                                                                                 DETROIT         MI   48217‐1164
OVERALL, KELLY K            1851 VILLA RD                                                                                        BIRMINGHAM      MI   48009‐6562
OVERBAUGH GARY (436882)     WEITZ & LUXENBERG                 180 MAIDEN LANE                                                    NEW YORK        NY   10038
OVERBAUGH VERONICA F        1928 FAIRWAY DRIVE                                                                                   WICKLIFFE       OH   44092‐1153
OVERBAUGH, GARY             WEITZ & LUXENBERG                 180 MAIDEN LANE                                                    NEW YORK        NY   10038
OVERBAUGH, GERALD E         116 W FAIRMOUNT AVE                                                                                  PONTIAC         MI   48340‐2736
OVERBAUGH, KENNETH J        501 E DANIA BCH BLVD BLDG 4‐3C                                                                       DANIA           FL   33004
OVERBAUGH, LEO J            9681 PINE KNOB RD                                                                                    CLARKSTON       MI   48348‐2141
OVERBAUGH, RUTH M           645 COURT ST                                                                                         CARO            MI   48723‐1609
OVERBAY, BOBBY L            353 LONGWOOD DR                                                                                      VENICE          FL   34285
OVERBAY, GRANVILLE          1387 S KY 3438                                                                                       CANNON          KY   40923
OVERBAY, HELEN L            205 WATER ST                                                                                         WEST MILTON     OH   45383‐1437
OVERBAY, HELEN L            205 WEST WATER STREET,                                                                               WEST MILTON     OH   45383‐5383
OVERBAY, HENRY M            205 WATER ST                                                                                         WEST MILTON     OH   45383‐1437
OVERBAY, J C                146 JAYNES RD                                                                                        TAZEWELL        TN   37879‐4611
OVERBAY, JOHN B             15262 SPARKLIN SPRINGS LN                                                                            AIRVILLE        PA   17302‐9382
OVERBAY, LARRY J            264 HILLSIDE AVE                                                                                     ROANOKE         IN   46783‐9190
OVERBAY, MICHAEL D          5812 LANE AVE                                                                                        RAYTOWN         MO   64133‐3218
OVERBECK, MARY F            2410 COLVIN BOULEVARD EXT APT 4                                                                      TONAWANDA       NY   14150‐4438
OVERBECK, MICHAEL F         1525 AMHURST MANOR DR             APT 610                                                            WILLIAMSVILLE   NY   14221
OVERBECK, MICHAEL F         1525 AMHERST MANOR DR APT 610                                                                        WILLIAMSVILLE   NY   14221‐2014
OVERBECK, SHARON M          629 BRIGHTON RD                                                                                      TONAWANDA       NY   14150‐7033
OVERBECK, TIMOTHY C         12811 BULLOCK GREENWAY BLVD                                                                          CHARLOTTE       NC   28277
OVERBECK, TIMOTHY C         631 E JOHN ST                                                                                        MATTHEWS        NC   28105
OVERBECK, TIMOTHY C         502 BRACKENBURY LN                                                                                   CHARLOTTE       NC   28270‐0820
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Name                         Address1                          Address2                      Address3   Address4         City              State Zip
OVERBEE, LINDA S             650 BAGLEY AVE                                                                              YPSILANTI          MI 48198‐3849
OVERBEE, LINDA S.            650 BAGLEY AVE                                                                              YPSILANTI          MI 48198
OVERBEEK, ROBERT D           4023 BELLE GROVE DR SW                                                                      HUNTSVILLE         AL 35802‐4476
OVERBERG, ERIK H             1860 N VERNON ST                                                                            DEARBORN           MI 48128‐2505
OVERBERG, NANETTE L          1860 N VERNON ST                                                                            DEARBORN           MI 48128‐2505
OVERBEY, BARBARA             1318 POPLAR AVE                                                                             VENICE             FL 34285‐7943
OVERBEY, GARY L              7175 DOUGLAS ST                                                                             WEST CHESTER       OH 45069‐2257
OVERBEY, JIMMIE M            10175 WILDFIRE RD                                                                           CADET              MO 63630‐8305
OVERBEY, LARRY K             7800 CIDERMILL DR SE                                                                        GRAND RAPIDS       MI 49508‐7608
OVERBEY, MAZEL               550 18TH ST                                                                                 CARLYLE             IL 62231
OVERBEY, PATRICIA A          15091 GOLFVIEW DR                                                                           LIVONIA            MI 48154‐5187
OVERBEY, REDA M              7381 FIELDS ERTEL RD                                                                        CINCINNATI         OH 45241‐1748
OVERBEY, REDA M              178 BALSAM CT.                                                                              CINCINNATI         OH 45246
OVERBEY, VERNAL              3300 GUION RD                                                                               INDIANAPOLIS       IN 46222‐1610
OVERBOE, GARY L              603 YORK RD                                                                                 EDGERTON           WI 53534‐1558
OVERBOE, GERALD R            1709 25TH AVE S APT 129                                                                     FARGO              ND 58103‐5359
OVERBY CLARENCE R (429571)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                               STREET, SUITE 600
OVERBY GORDON                OVERBY, GORDON                    1050 101ST AVE NE                                         BINFORD           ND   58416‐9316
OVERBY II, ROY M             2581 OLD HARRISBURG RD TRLR 45                                                              GETTYSBURG        PA   17325‐8186
OVERBY, ALEX C               463 S OPDYKE RD                                                                             AUBURN HILLS      MI   48326‐3140
OVERBY, CHARLES R            PO BOX 425                                                                                  BREMEN            GA   30110‐0425
OVERBY, CLARENCE R           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                               STREET, SUITE 600
OVERBY, DENNIS R             10009 CARR RD                                                                               SAINT CHARLES     MI   48655‐8629
OVERBY, EUGENE E             6329 WAIKIKI WAY                                                                            FOREST PARK       GA   30297‐3458
OVERBY, EUNICE L             715 N SULLIVAN ST                                                                           ALEXANDRIA        IN   46001‐1421
OVERBY, EUNICE L             715 SULLIVAN ST                                                                             ALEXANDRIA        IN   46001‐1421
OVERBY, GORDON               1050 101ST AVE NE                                                                           BINFORD           ND   58416‐9316
OVERBY, HELEN L              1655 INDIANA AVE                                                                            FLINT             MI   48506‐3521
OVERBY, JOHNNY D             PO BOX 286                                                                                  ENTERPRISE        MS   39330‐0286
OVERBY, JUSTIN LEE           2234 MALIBU CT                                                                              ANDERSON          IN   46012‐4716
OVERBY, KENNETH              PO BOX 207                                                                                  BINFORD           ND   58416
OVERBY, LILLY D              3212 JAY DR                                                                                 ANDERSON          IN   46012‐1218
OVERBY, LORAINE              12511 PINE ISLAND DRIVE                                                                     LEESBURG          FL   34788‐2324
OVERBY, MICHAEL E            1311 GARNET DR                                                                              ANDERSON          IN   46011‐9507
OVERBY, MICHAEL S            PO BOX 331                                                                                  LIVINGSTON        IL   62058‐0331
OVERBY, MICHAEL S            1260 SAINT LOUIS RD                                                                         COLLINSVILLE      IL   62234‐1940
OVERBY, MYRTLE               9205 S HIGHWAY 379                                                                          JAMESTOWN         KY   42629‐6539
OVERBY, MYRTLE               9205 S HWY 379                                                                              JAMESTOWN         KY   42629‐6539
OVERBY, NORMA L              31615 NORTHWOOD                                                                             FRASER            MI   48026‐2495
OVERBY, ROBERT A             821 E MULBERRY                                                                              KOKOMO            IN   46901‐4720
OVERBY, RUTH                 973 SOUTH LINWOOD BEACH ROAD                                                                LINWOOD           MI   48634‐9433
OVERBY, RUTH                 973 S LINWOOD BEACH RD                                                                      LINWOOD           MI   48634‐9433
OVERBY, VERNA G              38 NOTTINGHAM DR                                                                            NASHUA            NH   03062‐3138
OVERBY, WILLIAM H            2932 HAZEL AVE                                                                              DAYTON            OH   45420‐3011
OVERCASH, DONALD W           241 E MAIN ST                                                                               VERONA            OH   45378
OVERCASH, EDNA               2450 KROUSE RD LOT 279                                                                      OWOSSO            MI   48867‐9313
OVERCASH, FREDRICK S         8 FURMAN CT                                                                                 RANCHO MIRAGE     CA   92270‐3706
OVERCASH, JAMES E            PO BOX 504                                                                                  ROYSTON           GA   30662‐0504
OVERCASH, JOHN R             4325 E SACATON ST                                                                           PHOENIX           AZ   85044‐1923
OVERCASHIER, FRANK A         9438 STONEWALL LN                                                                           NEW PORT RICHEY   FL   34655‐1525
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Name                              Address1                          Address2                 Address3   Address4         City                State Zip
OVERCASHIER, JACK E               1065 HEMINGWAY LN                                                                      TRAVERSE CITY        MI 49686‐5068
OVERCASHIER, MARY J               9438 STONEWALL LANE                                                                    NEW PORT RICHEY      FL 34655‐1525
OVERCAST, LAVENIA L               8455 HIGHWAY 69 NORTH                                                                  COTTAGE GROVE        TN 38224‐5282
OVERDECK, LORETTA L               4211 LANCE CT 18                                                                       KOKOMO               IN 46902
OVERDECK, MICHAEL T               4211 LANCE CT                                                                          KOKOMO               IN 46902‐4109
OVERDICK‐ROTH, DIRK               4781 TURTLEWOOD CT                                                                     COMMERCE TOWNSHIP    MI 48382‐5402
OVERDIS WARREN                    612 E KENNETT ST                                                                       PONTIAC              MI 48340‐3003
OVERDORF JR, ERNEST S             53 S PORTLAND AVE                                                                      YOUNGSTOWN           OH 44509‐2817
OVERDORF, ALLEN G                 682 EAGLE PARKWAY                                                                      BROWNSBURG           IN 46112‐9780
OVERDORF, GERALDINE K             604 S 8TH ST                                                                           FRANKTON             IN 46044‐9320
OVERDORF, JORDAN S.               120 8 MAIN ST.                                                                         ELWOOD               IN 46036
OVERDORF, JUNE A                  2106 E MAIN ST                                                                         ELWOOD               IN 46036‐2102
OVERDORF, MARGARET R              7606 DESOTO CT                                                                         TAMPA                FL 33615‐2928
OVERDORF, SCOTT W                 2008 N B ST                                                                            ELWOOD               IN 46036‐1746
OVERDORF, SCOTT WILSON            2008 N B ST                                                                            ELWOOD               IN 46036‐1746
OVERDORF, TIMOTHY W               1041 N MAIN ST                                                                         TIPTON               IN 46072‐1050
OVERDORF, WARREN L                PO BOX 52                                                                              SHERIDAN             IN 46069‐0052
OVERDORF, WILLIAM H               16240 N 200 E                                                                          SUMMITVILLE          IN 46070‐9135
OVERFIELD JR, LLOYD F             74 VICTORIA BLVD                                                                       CHEEKTOWAGA          NY 14225‐4015
OVERFIELD, BARBARA A              29811 BOEWE DR                                                                         WARREN               MI 48092‐2222
OVERFIELD, BOBBY E                3155 E SHORE DR                                                                        COLUMBIAVILLE        MI 48421‐8919
OVERFIELD, BRENDA L               5458 SUN VALLEY DR                                                                     GRAND BLANC          MI 48439‐9161
OVERFIELD, BUDDY J                5890 W 550 N                                                                           SHARPSVILLE          IN 46068‐9365
OVERFIELD, CHRISTINE M            215 ELLER AVE                                                                          ENGLEWOOD            OH 45322‐1728
OVERFIELD, DANIEL E               3142 TAMARACK RD                                                                       HILLSDALE            MI 49242‐9298
OVERFIELD, DANIEL EDWARD          3142 TAMARACK RD                                                                       HILLSDALE            MI 49242‐9298
OVERFIELD, GERALD G               2728 ORENDA ST                                                                         COMMERCE TWP         MI 48382‐3477
OVERFIELD, JOHN W                 APT 7                             420 STRATFORD SQUARE                                 DAVISON              MI 48423‐1663
                                                                    BOULEVARD
OVERFIELD, JOHN W                 13 STILLMEADOW DR                                                                      ROCHESTER           NY   14624
OVERFIELD, JOSEPH M               438 STRATFORD SQUARE BLVD APT 7                                                        DAVISON             MI   48423‐3004
OVERFIELD, KRISTEN R              9038 FORREST PINE DR                                                                   CLIO                MI   48420‐8513
OVERFIELD, SCOTT J                PO BOX 587                                                                             FENTON              MI   48430‐0587
OVERFIELD, SUSAN K                239 GREENBRIAR DRIVE                                                                   CORTLAND            OH   44410‐1612
OVERFIELD, TOM W                  2307 PARENTAL HOME RD                                                                  JACKSONVILLE        FL   32216‐5251
OVERFIELD, VICTORIA L             74 VICTORIA BLVD                                                                       CHEEKTOWAGA         NY   14225‐4015
OVERGAARD, ROBERT W               47 OAK POINT DR 6                                                                      EUREKA SPRINGS      AR   72631
OVERGAARD, SUSAN M                7813 NW 81ST ST                                                                        OKLAHOMA CITY       OK   73132‐3310
OVERHARDT, JOSEPHINE S            19652 JEROME ST APT 154           MACOMB MANOR                                         ROSEVILLE           MI   48066‐1241
OVERHEAD CONVEYOR CO              1330 HILTON RD                                                                         FERNDALE            MI   48220‐2837
OVERHEAD CONVEYOR COMPANY         1330 HILTON RD                                                                         FERNDALE            MI   48220‐2837
OVERHEAD CRANE SERVICE & SUPPLY
OVERHEAD DOOR CO OF KANSAS CITY   PO BOX 12517                                                                           NORTH KANSAS CITY   MO   64116‐0517
OVERHEAD DOOR CO OF MASSENA       10164 STATE HIGHWAY 56                                                                 MASSENA             NY   13662‐3403
OVERHEAD DOOR CO OF ST LOUIS      3924 SHREWSBURY AVE               PO BOX 30102                                         SAINT LOUIS         MO   63119‐2112
OVERHEAD DOOR COMMERCIAL INC      CORPORATE OFFICE                  2001 DALLAVO DR STE 3A                               COMMERCE TOWNSHIP   MI   48390‐1653
OVERHEAD DOOR COMPANY OF FORT     4621 EXECUTIVE BLVD                                                                    FORT WAYNE          IN   46808‐1138
OVERHEAD DOOR OF FORT WAYNE       4621 EXECUTIVE BLVD                                                                    FORT WAYNE          IN   46808‐1138
OVERHEAD DOOR OF LANSING          2045 E‐M78                                                                             EAST LANSING        MI   48823
OVERHEAD DOOR OF WINCHESTER       274 TYSON DR # 1                                                                       WINCHESTER          VA   22603‐4654
OVERHEAD DOOR/DRYTN               4680 HATCHERY RD.                                                                      DRAYTON PLAINS      MI   48330
OVERHEAD DOOR/WARREN              50850 CENTRAL INDUSTRIAL DR                                                            SHELBY TOWNSHIP     MI   48315‐3118
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Name                                 Address1                          Address2               Address3              Address4         City              State Zip
OVERHEAD MATERIAL HANDLING INC       7747 S 6TH ST                                                                                   OAK CREEK          WI 53154‐2021
OVERHISER, DENNIS
OVERHOLSER JR, DONALD E              8121 ANDREAS PATH                                                                               SEYMOUR           IN   47274‐8213
OVERHOLSER, CARMEN M                 1305 N STATE ROUTE 201                                                                          CASSTOWN          OH   45312‐9753
OVERHOLSER, CHRISTOPHER S            760 DIAHANN DR                                                                                  TIPP CITY         OH   45371‐2116
OVERHOLSER, CRAIG A                  149 WYATT ST                                                                                    BRADFORD          OH   45308‐1043
OVERHOLSER, DONALD W                 1305 N STATE ROUTE 201                                                                          CASSTOWN          OH   45312‐9753
OVERHOLSER, JEAN                     2250 W WHIPP RD                                                                                 KETTERING         OH   45440‐2617
OVERHOLSER, JEAN                     2260 E WHIPP RD                                                                                 KETTERING         OH   45440‐2617
OVERHOLSER, JERRY L                  832 CAMP ST                                                                                     PIQUA             OH   45356‐1604
OVERHOLSER, JOSEPH B                 3118 HONEYCUTT CIR                                                                              DAYTON            OH   45414‐2323
OVERHOLSER, LEONARD E                39 VIKING DRIVE                                                                                 EATON             OH   45320‐5320
OVERHOLSER, LEONARD E                39 VIKING DR                                                                                    EATON             OH   45320‐2635
OVERHOLSER, SHARON S                 1118 W MONROE ST                                                                                KOKOMO            IN   46901‐3254
OVERHOLSER, STELLA M                 10520 RUSTIC RDG                                                                                FENTON            MI   48430‐8414
OVERHOLT, DAVID J                    3480 KENNETH RD                                                                                 PORT CHARLOTTE    FL   33953‐5728
OVERHOLT, EVELYN A                   1011 5TH ST NW                                                                                  GRAND RAPIDS      MI   49504‐5012
OVERHOLT, LEONA H                    7640 QUAIL RUN                                                                                  GRAND RAPIDS      MI   49508
OVERHOLT, MARIAN L                   APT 114A                          1210 ABBE ROAD SOUTH                                          ELYRIA            OH   44035‐7284
OVERHOLT, MARIAN L                   1210 ABBE RD S APT 114A                                                                         ELYRIA            OH   44035‐7284
OVERHOLT, ROBERT P                   7121 SHALIMAR DR NE                                                                             COMSTOCK PARK     MI   49321‐9646
OVERHOLT, RONALD E                   1337 BLACK FOREST DR.                                                                           W. CARROLLTON     OH   45449‐2361
OVERHOLT, SAMUEL E                   42078 ZACHARY ST                                                                                BELLEVILLE        MI   48111‐1408
OVERHOLT, STEVEN M                   2287 S APACHE DR                                                                                SHELBY            MI   49455‐9380
OVERHOLT, VELMA                      65 PLAIN LANE                                                                                   CALLAO            VA   22435
OVERHOLT, VELMA                      # 28                              65 PLAIN LANE                                                 CALLAO            VA   22435‐2816
OVERHOLT, VIVIAN F                   7250 E LOBO WAY                                                                                 PRESCOTT VALLEY   AZ   86314‐5353
OVERHOLTS, CATHERINE M               26 MILTON POTSDAM RD                                                                            WEST MILTON       OH   45383
OVERHOLTS, FAE L                     755 E 16TH ST APT 213                                                                           HOLLAND           MI   49423‐8008
OVERHOLTS, TONYA L                   2316 WIENBURG DRIVE                                                                             MORAINE           OH   45418‐2945
OVERHOLTZ, GEORGIANA                 2815 MERSEY LN APT G                                                                            LANSING           MI   48911‐1427
OVERHOLTZ, GEORGIANA                 2815 MERSEY LANE                  APT. G                                                        LANSING           MI   48911
OVERHOLTZ, MARGARET B                7115 W RALSTON ROAD                                                                             INDIANAPOLIS      IN   46221‐9688
OVERHOLTZ, STEVEN L                  2600 LANSING RD LOT 66                                                                          CHARLOTTE         MI   48813‐8439
OVERKAMP, EVELYN M                   RR 1                                                                                            RHINELAND         MO   65069
OVERLA, FAY L                        4549 AMESBOROUGH RD.                                                                            DAYTON            OH   45420‐5420
OVERLA, ROBERT H                     4549 AMESBOROUGH RD                                                                             DAYTON            OH   45420‐3347
OVERLAND TRANSPORTATION CO INC       PO BOX 15210                                                                                    HOUSTON           TX   77220‐5210
OVERLAND TRANSPORTATION SYSTEM INC   6500 E 30TH ST                                                                                  INDIANAPOLIS      IN   46219‐1102

OVERLAND WEST INC.(HERTZ)            1573 N MAIN ST                                                                                  LAYTON            UT   84041‐1832
OVERLAND WEST INC.(HERTZ)            1573 WASHINGTON BLVD                                                                            LAYTON            UT   84041
OVERLAND WEST, INC.(HERTZ)           1520 N SKYLINE DR                                                                               IDAHO FALLS       ID   83402‐1614
OVERLAND, LINDA                      1129 KENSINGTON AVE                                                                             FLINT             MI   48503‐5313
OVERLAND, OTTIS                      PORTER & MALOUF PA                4670 MCWILLIE DR                                              JACKSON           MS   39206‐5621
OVERLAND, PATRICK J                  550 76TH ST                                                                                     FRANKSVILLE       WI   53126‐9713
OVERLAND, PATRICK S                  816 15TH AVE                                                                                    UNION GROVE       WI   53182‐1426
OVERLAND, PATRICK SCOTT              816 15TH AVE                                                                                    UNION GROVE       WI   53182‐1426
OVERLAND, ROGER D                    5833 COBBLESTONE DR                                                                             NORTH BRANCH      MI   48461‐8887
OVERLAND, VICTORIA J                 14376 MIRANNA ST                                                                                BROOKSVILLE       FL   34613‐5976
OVERLANDER KELLY S                   OVERLANDER, KELLY S               30 E BUTLER AVE                                               AMBLER            PA   19002‐4514
OVERLANDER KELLY S                   OVERLANDER, HARRY                 KIMMEL & SILVERMAN     30 EAST BUTLER PIKE                    AMBLER            PA   19002
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OVERLANDER, GRACE CATHERINE      APT 1205                          555 SOUTH OLD WOODWARD                                    BIRMINGHAM       MI 48009‐6677
                                                                   AVENUE
OVERLANDER, HARRY                KIMMEL & SILVERMAN                30 E BUTLER AVE                                           AMBLER          PA   19002‐4514
OVERLANDER, KELLY S              KIMMEL & SILVERMAN                30 E BUTLER AVE                                           AMBLER          PA   19002‐4514
OVERLANDER, MARSHALL W           555 S OLD WOODWARD AVE APT 1205                                                             BIRMINGHAM      MI   48009‐6677
OVERLEY, CLAIR W                 6820 EAST HARBOR DRIVE                                                                      ELK RAPIDS      MI   49629‐9777
OVERLEY, CLAIR W                 6820 E HARBOR DR                                                                            ELK RAPIDS      MI   49529‐9777
OVERLEY, JANET M                 250 S COATS RD                                                                              OXFORD          MI   48371‐4209
OVERLIN, LAURALEE                215 SLACK DR                                                                                ANDERSON        IN   46013‐3728
OVERLY HAUTZ MOTOR BASE CO       215 S WEST ST                                                                               LEBANON         OH   45036‐2152
OVERLY LLOYD (664651)            ZAMLER, MELLEN & SHIFFMAN         23077 GREENFIELD RD STE 557                               SOUTHFIELD      MI   48075‐3727
OVERLY, ALLAN R                  980 WILMINGTON AVE APT 722                                                                  DAYTON          OH   45420‐1622
OVERLY, CLAUDE C                 3650 DONNA LN                                                                               CADILLAC        MI   49601‐8153
OVERLY, DEREK M                  7241 LEDGEWOOD DR                                                                           FENTON          MI   48430‐9351
OVERLY, EDWARD D                 PO BOX 1694                                                                                 ANDERSON        SC   29622‐1694
OVERLY, FENTON G                 9072 SW 96TH LN UNIT A                                                                      OCALA           FL   34481‐6663
OVERLY, FLORENCE I               125 COMMONS LANE                                                                            WILMINGON       OH   45177‐5177
OVERLY, KAZIMIERA L              48834 PARK PLACE DR               C/O JUDITH OVERLY‐KOLLOEN                                 MACOMB          MI   48044‐2241
OVERLY, LLOYD                    ZAMLER, MELLEN & SHIFFMAN         23077 GREENFIELD RD STE 557                               SOUTHFIELD      MI   48075‐3727
OVERLY, PHYLLIS J                5102 FORD ST                                                                                SPEEDWAY        IN   46224‐6932
OVERLY, SANDRA                   76 BROOKVIEW DR                                                                             BELLEVILLE      MI   48111‐9726
OVERLY, THEODORE M               2355 W ROPER LN                                                                             COTTONWOOD      AZ   86326‐7345
OVERLY‐HAUTZ MOTOR BASE CO, TH   215 S WEST ST                     PO BOX 837                                                LEBANON         OH   45036‐2152
OVERMAN JR., JOHN L              816 MARY KNOLL RD                                                                           ALEXANDRIA      IN   46001‐8133
OVERMAN, BETTY J                 6504 TORREY RD                                                                              FLINT           MI   48507‐3850
OVERMAN, BRENDA J                8059 E POTTER RD                                                                            DAVISON         MI   48423‐8112
OVERMAN, BUELL J                 1331 DENIES ST                                                                              BURTON          MI   48509‐2120
OVERMAN, DARIN L                 3157 N IRISH RD                                                                             DAVISON         MI   48423‐9582
OVERMAN, DAVID A                 246 PONCHARTRAIN DR                                                                         FENTON          MI   48430‐1733
OVERMAN, DEREK D                 3475 MILLS ACRES ST                                                                         FLINT           MI   48506‐2171
OVERMAN, DONALD J                4514 TOMAHAWK DR                                                                            SAINT LOUIS     MO   63123‐5747
OVERMAN, EDWARD J                816 HODAPP AVE                                                                              DAYTON          OH   45410
OVERMAN, GEORGE H                6045 SW 56TH CT                                                                             OCALA           FL   34474‐5688
OVERMAN, GUY J                   PO BOX 721                                                                                  OZARK           AR   72949‐0721
OVERMAN, JEFFREY A               126 APPLE BLOSSOM CT                                                                        BELTON          MO   64012‐4729
OVERMAN, JEFFREY ALAN            126 APPLE BLOSSOM CT                                                                        BELTON          MO   64012‐4729
OVERMAN, JERI L                  214 S 6TH ST                      UPPER WEST APT                                            ELWOOD          IN   46036‐1802
OVERMAN, JOHN L                  4739 EAST ROAD 200 S                                                                        AVON            IN   46123
OVERMAN, MARTHA                  11213 N 200 E                                                                               ALEXANDRIA      IN   46001
OVERMAN, ROBERT H                419 BONNIE BRAE RD                                                                          VIENNA          OH   44473‐9675
OVERMAN, SUSAN M                 3475 MILLS ACRES ST                                                                         FLINT           MI   48506‐2171
OVERMAN, WILLIAM E               9534 PHEASANT WOOD TRAIL                                                                    DAYTON          OH   45458‐9634
OVERMAN, WILLIAM P               975 N LAYMAN AVE                                                                            INDIANAPOLIS    IN   46219‐4434
OVERMAN, WILLIAM S               1202 W EUCLID AVE                                                                           MARION          IN   46952‐3487
OVERMAN‐PLANTE, DEBORAH          124 GLENGARRY LN                                                                            HAINESPORT      NJ   08036‐2260
OVERMANN, DENNIS F               6825 GORDON BLVD                                                                            BURLINGTON      KY   41005‐6562
OVERMANN, WILLIAM                29253 BELMONT FARM RD                                                                       PERRYSBURG      OH   43551‐3782
OVERMEYER, DOLORES J             6603 PACKARD ROAD                                                                           MORENCI         MI   49256
OVERMEYER, DOLORES J             6603 PACKARD RD                                                                             MORENCI         MI   49256‐9551
OVERMILLER JR, LEVERE            5 STONE RUN DR                                                                              MECHANICSBURG   PA   17050‐7809
OVERMIRE, BEATRICE I             350 E SUPERIOR ST                                                                           WAYLAND         MI   49348‐1144
OVERMYER HELEN                   PO BOX 611                                                                                  FRANCESVILLE    IN   47946‐0611
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Name                                 Address1                          Address2                        Address3   Address4                City             State Zip
OVERMYER JR, ROBERT L                5929 COLONIAL CT                                                                                     SYLVANIA          OH 43560‐1249
OVERMYER JULIE                       16416 W STATE ROUTE 105                                                                              ELMORE            OH 43416‐9748
OVERMYER, ALICE C                    PO BOX 53                         450 PARKWAY                                                        LAKE GEORGE       MI 48633‐0053
OVERMYER, BETTY L                    11697 KINNEVILLE RD                                                                                  EATON RAPIDS      MI 48827‐9766
OVERMYER, BRADLEY K                  3984 OAK ST                                                                                          NATIONAL CITY     MI 48748‐9669
OVERMYER, BRADLEY KURT               3984 OAK STREET                                                                                      NATIONAL CITY     MI 48748‐9669
OVERMYER, ERIC                       4013 STONEGATE DR                                                                                    MISHAWAKA         IN 46544‐9141
OVERMYER, GERALD L                   10653 ROAD 192                                                                                       CECIL             OH 45821‐9317
OVERMYER, GERALD LEE                 10653 ROAD 192                                                                                       CECIL             OH 45821‐9317
OVERMYER, GERRY V                    5306 SIERRA                                                                                          LANSING           MI 48917‐4056
OVERMYER, JAMES B                    5430 PAPAYA DR                                                                                       PUNTA GORDA       FL 33982‐1944
OVERMYER, JAMES M                    147 2ND ST                                                                                           BONITA SPRINGS    FL 34134‐7304
OVERMYER, JAMES M                    147 2ND STREET                                                                                       BONITA SPGS       FL 34134‐7304
OVERMYER, LINDA J                    147 2ND ST                                                                                           BONITA SPRINGS    FL 34134‐7304
OVERMYER, NORMA JEAN                 620 N RICHMOND                                                                                       HARTFORD CITY     IN 47348‐1538
OVERMYER, STEVEN H                   1410 N STATE ROUTE 48                                                                                PLEASANT HILL     OH 45359‐9710
OVERMYER, SUSAN A                    5229 GREEN MEADOWS RD                                                                                GRAND BLANC       MI 48439‐9503
OVERMYER, TERRY L                    12905 COUNTY LINE RD. 8                                                                              CECIL             OH 45821
OVERNITE EXPRESS INC                 656 PELHAM BLVD                                                                                      SAINT PAUL        MN 55114
OVERNITE TRANSPORTATION CO           ATTN WANDA HASTINGS               PO BOX 1216                                                        RICHMOND          VA 23218‐1216
OVERPECK, ALICE M                    987 E OVERPECK RD                                                                                    MOORESVILLE       IN 46158‐6149
OVERPECK, DOUGLAS A                  2160 S WALKER RAMP RD                                                                                ROCKVILLE         IN 47872‐8044
OVERPECK, EDDIE R                    1442 N 600 E                                                                                         AVON              IN 46123
OVERS III, RONALD R                  25705 CIRCLE DRIVE                                                                                   SOUTHFIELD        MI 48075‐6129
OVERSEAS MILITARY SALES CO. (OMSC)   17000 FEDERAL DR                                                                                     ALLEN PARK        MI 48101‐3615

OVERSEAS MILITARY SALES CO. (OMSC)   PO BOX 616                                                                   OSHAWA ON 9700 CANADA

OVERSEAS MILITARY SALES CORP LTD     175 CROSSWAYS PARK DR W                                                                              WOODBURY         NY 11797‐2002
OVERSEAS MILITARY SALES CRP‐OMSC LTD 175 CROSSWAYS PARK DR W                                                                              WOODBURY         NY 11797‐2002

OVERSEAS PRESS CLUB OF AMERICA       40 W 45TH ST                                                                                         NEW YORK         NY   10036‐4202
OVERSHINER, DENNIS F                 12123 KINGFISHER CT                                                                                  INDIANAPOLIS     IN   46236‐9048
OVERSHINER, LAQUETA                  1820 W 27T ST                                                                                        ANDERSON         IN   46016‐4806
OVERSHINER, WILLIAM D                1820 W 27T ST                                                                                        ANDERSON         IN   46016
OVERSMITH, ANNA M                    PO BOX 326                                                                                           LAINGSBURG       MI   48848‐0326
OVERSMITH, ANNA M                    9600 S FRANCIS                                                                                       DEWITT           MI   48820
OVERSMITH, DELORES M                 2055 SCOUT RD R 3                                                                                    EATON RAPIDS     MI   48827‐9344
OVERSMITH, JUDY A                    11241 BROADBENT RD                                                                                   LANSING          MI   48917‐9627
OVERSMITH, TERRY R                   9600 S FRANCIS RD                                                                                    DEWITT           MI   48820‐9139
OVERSON JACKSON                      5729 TERESA ST                                                                                       COLUMBUS         GA   31907‐4639
OVERSON WARREN G (492102)            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD       OH   44067
                                                                       PROFESSIONAL BLDG
OVERSON, WARREN G                    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD       OH 44067
                                                                       PROFESSIONAL BLDG
OVERSTREET CATHY SUE                 OVERSTREET, CATHY SUE             PO BOX 1036                                                        NATCHITOCHES     LA   71458‐1036
OVERSTREET CATHY SUE                 OVERSTREET, CATHY SUE             PO BOX 603                                                         NATCHITOCHES     LA   71458‐0603
OVERSTREET EDWARD                    202 SHADOW OAKS DR                                                                                   EASLEY           SC   29642‐7826
OVERSTREET II, ROBERT E              PO BOX 9                                                                                             GALVESTON        IN   46932‐0009
OVERSTREET II, ROBERT EDWARD         PO BOX 9                                                                                             GALVESTON        IN   46932‐0009
OVERSTREET LUBIE C (476926)          KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                      CLEVELAND        OH   44114
                                                                       BOND COURT BUILDING
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OVERSTREET MEGAN            OVERSTREET, CATHY SUE                 PO BOX 1036                                                                NATCHITOCHES    LA 71458‐1036
OVERSTREET MEGAN            OVERSTREET, CATHY SUE                 PO BOX 603                                                                 NATCHITOCHES    LA 71458‐0603
OVERSTREET MEGAN            OVERSTREET, KATLYN                    PO BOX 603                                                                 NATCHITOCHES    LA 71458‐0603
OVERSTREET MEGAN            OVERSTREET, MEGAN                     PO BOX 603                                                                 NATCHITOCHES    LA 71458‐0603
OVERSTREET, ANDREA JEAN     8633 MANOR DRIVE                                                                                                 FORT WAYNE      IN 46825‐2823
OVERSTREET, AUGUSTINA B     29208 CAMBRIDGE ST                                                                                               GARDEN CITY     MI 48135‐2175
OVERSTREET, BETTY L         3240 JOEY WAY APT E                                                                                              INDIANAPOLIS    IN 46241‐6290
OVERSTREET, BETTY L         3240 JOEY WAY                         APT# E                                                                     INDIANAPOLIS    IN 46241
OVERSTREET, CATHY SUE       CORKERN & CREWS                       PO BOX 1036                                                                NATCHITOCHES    LA 71458‐1036
OVERSTREET, CATHY SUE       HARRINGTON BILLY JOE LAW OFFICES OF   PO BOX 603                                                                 NATCHITOCHES    LA 71458‐0603

OVERSTREET, CATHY SUE       PO BOX 2552                                                                                                      JENA           LA 71342‐2552
OVERSTREET, CHARMAIN        BYRD DAVIS & EISENBERG            506 N CHARLES ST                                                               SEARCY         AR 72143
OVERSTREET, CHARMAIN        MCMATH, VEHIK, DRUMMOND, HARRISON 711 W 3RD ST                                                                   LITTLE ROCK    AR 72201‐2201
                            & LEDBETTER, P.A.
OVERSTREET, DOROTHY         1300 LAFAYETTE EAST               APT. 1710‐11                                                                   DETROIT        MI 48207
OVERSTREET, EUGENE G        8633 MANOR DR                                                                                                    FORT WAYNE     IN 46825‐2823
OVERSTREET, FERMON H        APT 323                           700 CEDAR LAKE ROAD SOUTHWEST                                                  DECATUR        AL 35603‐1931

OVERSTREET, GARY L          7713 MORRIS RD                                                                                                   HAMILTON       OH    45011‐8041
OVERSTREET, GWENDOLYN S     465 CAMELLIA COURT                                                                                               BARGERSVILLE   IN    46106
OVERSTREET, GWENDOLYN S     465 CAMELLIA CT                                                                                                  BARGERSVILLE   IN    46106‐8335
OVERSTREET, ILENE           PO BOX 55                                                                                                        EKRON          KY    40117‐0117
OVERSTREET, JAMES P         6225 ONYX DR N                                                                                                   FORT WORTH     TX    76180‐8761
OVERSTREET, JANET E         1703 KYLE CT                                                                                                     KOKOMO         IN    46902
OVERSTREET, JUANITA S       22301 E BUNDSCHU RD                                                                                              INDEPENDENCE   MO    64056‐2652
OVERSTREET, KAITLIN         PO BOX 2552                                                                                                      JENA           LA    71342‐2552
OVERSTREET, KATLYN          HARRINGTON BILLY JOE LAW OFFICES OF   PO BOX 603                                                                 NATCHITOCHES   LA    71458‐0603

OVERSTREET, LUBIE C         KELLEY & FERRARO LLP                  1300 EAST NINTH STREET, 1901                                               CLEVELAND      OH 44114
                                                                  BOND COURT BUILDING
OVERSTREET, MARTHA          2902 VINYARD DR.                                                                                                 ARLINGTON       TX   76015
OVERSTREET, MARTHA M        535 W WASHINGTON ST                                                                                              GALVESTON       IN   46932‐9491
OVERSTREET, MEGAN           HARRINGTON BILLY JOE LAW OFFICES OF   PO BOX 603                                                                 NATCHITOCHES    LA   71458‐0603

OVERSTREET, MEGAN           PO BOX 2552                                                                                                      JENA           LA    71342‐2552
OVERSTREET, NORVELL S       1141 N LECLAIRE AVE                                                                                              CHICAGO        IL    60651‐3030
OVERSTREET, PRICILLA PEGG   2134 114TH AVE                                                                                                   ALLEGAN        MI    49010‐9071
OVERSTREET, ROSEMARY        257 MOUNT VERNON DR                                                                                              VENICE         FL    34293‐4018
OVERSTREET, SHADRICK M      414 SAINT CHRISTOPHER DR                                                                                         O FALLON       MO    63366‐2220
OVERSTREET, SHERRY          1998 SOUTHPORT RD                                                                                                CULLEOKA       TN    38451‐2003
OVERSTREET, THOMAS H        2519 HIGHWAY 25                                                                                                  COTTONTOWN     TN    37048‐5028
OVERSTREET, THOMAS V        7530 TINSEL AVE                                                                                                  INDIANAPOLIS   IN    46237‐3436
OVERSTREET, TODD R          1349 SCHLUERSBURG ROAD                                                                                           AUGUSTA        MO    63332‐1215
OVERSTREET, WILLIAM A       1075 BROAD RIPPLE AVE                 STE 174                                                                    INDIANAPOLIS   IN    46220
OVERTON BROOKS              2701 SAINT PAUL RD                                                                                               VENUS          TX    76084‐3516
OVERTON CHARLES             6243 W COURT ST                                                                                                  FLINT          MI    48532‐5332
OVERTON COUNTY TRUSTEE      317 E UNIVERSITY ST STE 30                                                                                       LIVINGSTON     TN    38570‐1547
OVERTON EDWARD              OVERTON, ASHLEY                       VILLARI BRANDES & KLINE PC     8 TOWER BRIDGE 4TH FLOOR                    CONSHOHOCKEN   PA    91428
                                                                                                 161 WASHINGTON STREET
                                09-50026-mg           Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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Name                            Address1                            Address2                      Address3                   Address4         City            State Zip
OVERTON EDWARD                  OVERTON, EDWARD                     VILLARI BRANDES & KLINE PC    8 TOWER BRIDGE 4TH FLOOR                    CONSHOHOCKEN     PA 91428
                                                                                                  161 WASHINGTON STREET

OVERTON EDWARD                  OVERTON, ASHLEY
OVERTON EDWARD                  OVERTON, EDWARD
OVERTON ERIC                    102 SUNNYBROOK RD                                                                                             SPRINGFIELD     MA 01119‐2212
OVERTON HERBRET E SR (626695)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510
                                                                    STREET, SUITE 600
OVERTON HIGH                    3725 OLD PLAIN DEALING RD                                                                                     PLAIN DEALING   LA   71064‐3427
OVERTON JOSH                    426 SUNSET COVE LN                                                                                            LITTLE ELM      TX   75068
OVERTON JR, ISIAH               79 COPELAND ST 14609                                                                                          ROCHESTER       NY   14609
OVERTON JR, SAMUEL              10937 BRANDONWOOD LN                                                                                          MATTHEWS        NC   28105‐2131
OVERTON NELSON                  4530 HORATIO ST                                                                                               DETROIT         MI   48210‐2625
OVERTON PASSONS                 7589 CAMPBELL ST                                                                                              TAYLOR          MI   48180‐2566
OVERTON ROBERT N                14470 HORSESHOE TRCE                                                                                          WELLINGTON      FL   33414‐8227
OVERTON VALLEY                  3105 BERTHA DR                                                                                                SAGINAW         MI   48601‐6906
OVERTON ZENOBIA                 24771 MANISTEE ST                                                                                             OAK PARK        MI   48237‐1767
OVERTON, AARON D                113 WILLIAM OWENS WAY                                                                                         GREER           SC   29651‐5069
OVERTON, ALAN M                 19480 POTTERS BRIDGE RD                                                                                       NOBLESVILLE     IN   46060
OVERTON, ALFRED                 7135 NORTHVIEW DR                                                                                             LOCKPORT        NY   14094‐5340
OVERTON, ALTON W                212 WALTERS ST                                                                                                LONGVIEW        TX   75603‐9473
OVERTON, ANNIE B                2626 CONCORD ST                                                                                               FLINT           MI   48504‐7320
OVERTON, ARTHUR M               6668 E 16TH ST                                                                                                WHITE CLOUD     MI   49349‐9184
OVERTON, BETTY                  3147 MONROE ST                                                                                                DEARBORN        MI   48124‐3653
OVERTON, BETTY J                5617 GLENN AVE                                                                                                FLINT           MI   48505‐5134
OVERTON, BOYD J                 5440 LEATONVILLE RD                                                                                           GLADWIN         MI   48624‐7213
OVERTON, CANDICE L.             332 BASKET DR                                                                                                 OXFORD          MI   48371‐6359
OVERTON, CARL E                 3920 TODD RD                                                                                                  INDIANAPOLIS    IN   46237‐9371
OVERTON, CHARLES                6243 W COURT ST                                                                                               FLINT           MI   48532‐5332
OVERTON, CHARLES C              3600 SW WINDSONG DR                                                                                           LEES SUMMIT     MO   64082‐4001
OVERTON, CHARLES CLETIS         3600 SW WINDSONG DR                                                                                           LEES SUMMIT     MO   64082‐4001
OVERTON, CHESTER A              6942 CORNELL ST                                                                                               TAYLOR          MI   48180‐1723
OVERTON, CLINTON A              96 WATERBURY PKWY                                                                                             CORTLANDT MNR   NY   10567‐1713
OVERTON, DANIEL                 5617 GLENN AVE                                                                                                FLINT           MI   48505‐5134
OVERTON, DEWITT D               108 ELMER AVE                                                                                                 BUFFALO         NY   14215‐2220
OVERTON, EDWARD A               1 DEVONSHIRE DR                                                                                               WESTAMPTON      NJ   08060‐2432
OVERTON, EDWARD H               3512 HUDSON DR                                                                                                ARLINGTON       TX   76015‐3667
OVERTON, EDWARD HOLLIS          3512 HUDSON DR                                                                                                ARLINGTON       TX   76015‐3667
OVERTON, ELAINE R               5706 PLAINFIELD AVE                                                                                           BALTIMORE       MD   21206‐3313
OVERTON, ELISE                  7502 GREENVIEW RD                                                                                             NIAGARA FALLS   NY   14304‐1333
OVERTON, ELOIS                  1006 4TH STREET SE                                                                                            RED BAY         AL   35582‐4120
OVERTON, ELOIS                  1006 4TH ST SE                                                                                                RED BAY         AL   35582‐4120
OVERTON, EUGENE                 C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                    EDWARDSVILLE    IL   62025
                                ROWLAND PC
OVERTON, FREDERICK E            1720 W TIMBERVIEW DR                                                                                          MARION          IN   46952‐1602
OVERTON, FREEMAN B              409 PLYMOUTH DR                                                                                               DAVISON         MI   48423‐1727
OVERTON, FREEMAN B.             409 PLYMOUTH DR                                                                                               DAVISON         MI   48423‐1727
OVERTON, GARY J                 2871 N STEWART RD                                                                                             CHARLOTTE       MI   48813‐9775
OVERTON, GARY R                 1436 WOLF RD                                                                                                  W ALEXANDRIA    OH   45381‐9339
OVERTON, GEARLDINE              165 W DELASON AVE                                                                                             YOUNGSTOWN      OH   44507‐1026
OVERTON, GLADYS                 363 GATES AVE FL 1                                                                                            BROOKLYN        NY   11216‐1308
OVERTON, HAYWOOD LEE            5410 SUSAN ST                                                                                                 FLINT           MI   48505‐5806
                                      09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                 Address1                          Address2                      Address3   Address4         City              State Zip
OVERTON, HERBRET E                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                       STREET, SUITE 600
OVERTON, ISIAH M                     12 CHESTNUT CRES                                                                            ROCHESTER         NY    14624‐4372
OVERTON, JAMES                       88 PATRIOTS LNDG APT A                                                                      ROCHESTER         NY    14626‐3931
OVERTON, JAMES A                     37 N SANFORD ST                                                                             PONTIAC           MI    48342‐2753
OVERTON, JAMES D                     PO BOX 4756                                                                                 EAST LANSING      MI    48826‐4756
OVERTON, JAMES E                     332 BASKET DR                                                                               OXFORD            MI    48371‐6359
OVERTON, JAMES E                     96 WATERBURY PKWY                                                                           CORTLANDT MANOR   NY    10567‐1713
OVERTON, JAMES EDWARD                332 BASKET DR                                                                               OXFORD            MI    48371‐6359
OVERTON, JAMIE
OVERTON, JIM                         193 SIOUX TRAIL                                                                             JACKSBORO         TN    37757‐5134
OVERTON, JIM                         193 SIOUX TRL                                                                               JACKSBORO         TN    37757‐5134
OVERTON, JOHNNY M                    1403 E MADISON ST                                                                           KOKOMO            IN    46901‐3108
OVERTON, JOSEPH A                    1109 SIOUX TER                                                                              MADISON           TN    37115‐5551
OVERTON, JOY M                       10827 LEMAY DR                                                                              CLERMONT          FL    34711‐8033
OVERTON, KATHERINE                   6516 CRANWOOD DR                                                                            FLINT             MI    48505‐1951
OVERTON, KATHERINE M                 75 S EDITH ST                                                                               PONTIAC           MI    48342‐2940
OVERTON, KENT M                      3401 COUNTRY VILLAGE LN                                                                     TRENTON           MI    48183‐1765
OVERTON, L'SHAUN R                   11088 SHETLAND LOOP                                                                         ARLINGTON         TN    38002‐8454
OVERTON, L'SHAUN RENEE               16835 WILDEMERE ST                                                                          DETROIT           MI    48221‐3162
OVERTON, LORENZO D                   108 ALF KING RD                                                                             SPRUCE PINE       AL    35585‐3643
OVERTON, LYNDIA Y                    350 E HOLBROOK AVE                                                                          FLINT             MI    48505‐2131
OVERTON, MARGARETTE I                3410 FOOT HILLS DR                                                                          WEATHERFORD       TX    76087‐2234
OVERTON, MICHAEL B                   712 PICCADILLY ROW                                                                          ANTIOCH           TN    37013‐1767
OVERTON, MILDRED B                   1914 GREENBRIER RD                                                                          FLORENCE          AL    35630‐1630
OVERTON, MILDRED J                   5839 RED FOX DR                                                                             WINTER HAVEN      FL    33884
OVERTON, OLIVIA                      2936 WINTHROP AVENUE                                                                        INDIANAPOLIS      IN    46205‐4041
OVERTON, ORVILLA                     456 S 8TH AVE                                                                               MOUNT VERNON      NY    10550‐4327
OVERTON, ORVILLA                     456 SO 8TH AVE                                                                              MT VERNON         NY    10550‐4327
OVERTON, ROBERT C                    29 RIDERWOOD RD                                                                             BARRINGTON         IL   60010‐6903
OVERTON, TED D                       1914 GREENBRIAR DR                                                                          FLORENCE          AL    35630
OVERTON, THOMAS A                    4600 BRITTON RD LOT 302                                                                     PERRY             MI    48872‐9723
OVERTON, TWANDA D                    17677 LAKE AZALEA DRIVE                                                                     BATON ROUGE       LA    70817‐0817
OVERTON, UNAV C                      5440 LEATONVILLE RD                                                                         GLADWIN           MI    48624‐7213
OVERTON, VEDA V                      1004 W CENTRAL AVE                                                                          LA FOLLETTE       TN    37766‐3325
OVERTON, VERA E                      1006 BARRINGTON DR                                                                          FLINT             MI    48503‐2916
OVERTON, WALTER G                    5769 HENDERSON DR                                                                           BROWNSBURG        IN    46112‐8681
OVERTON, WAYNE J                     53 MAPLE CT                                                                                 FRANKLIN          TN    37064‐5240
OVERTON, WILLIAM E                   3905 N COUNTY ROAD 1000 E                                                                   BROWNSBURG        IN    46112‐9389
OVERTON, WILLIAM T                   611 WESTERN HWY                                                                             BLAUVELT          NY    10913‐1341
OVERTON, WILLIE M                    G‐4136 WEST COURT STREET                                                                    FLINT             MI    48532
OVERTON, YVONNE V                    2221 AITKEN AVE                                                                             FLINT             MI    48503‐5802
OVERTURF MCGATH HULL & DOHERTY, P.C. MICHAEL MIRABELLA                 625 E. 16TH AVENUE            STE 100                     DENVER            CO    80203

OVERTURF ROBERT L (419451)           SIMMONS LAW FIRM
OVERTURF, CHARLES B                  3775 LAKE POINT BLVD                                                                        SUWANEE           GA    30024‐1804
OVERTURF, CLYDE F                    PO BOX 252                                                                                  GALLOWAY          OH    43119‐0252
OVERTURF, DAVID R                    105 FOX RUN DR                                                                              WILMINGTON        OH    45177
OVERTURF, FRED                       398 S ERMEN LN                                                                              OSCEOLA           AR    72370‐2309
OVERTURF, JANE A                     18788 MARSH LN APT 1422                                                                     DALLAS            TX    75287‐3548
OVERTURF, KEITH W                    3910 BEACON HILL DR                                                                         JANESVILLE        WI    53546‐2063
OVERTURF, ROBERT L                   SIMMONS LAW FIRM                  PO BOX 521                                                EAST ALTON        IL    62024‐0519
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Name                     Address1                       Address2                      Address3   Address4         City              State Zip
OVERVOLD, FERN L         6302 CHASTAIN DR NE                                                                      ATLANTA            GA 30342‐4180
OVERWAY, SANDRA J        7270 WELLINGTON PL                                                                       WASHINGTON         MI 48094‐1461
OVERWEG REPAIR           725 S MAIN ST                                                                            KIMBALL            SD 57355‐2156
OVERWEG, MARTHA          500 PARKSIDE DR.               UNIT 113                                                  ZEELAND            MI 49464
OVERWEG, MARTHA          500 PARKSIDE DR APT 113                                                                  ZEELAND            MI 49464‐2052
OVERWEG, MARTINA         8176 36TH AVENUE                                                                         HUDSONVILLE        MI 49426‐9709
OVERWEG, MARTINA         8176 36TH AVE                                                                            HUDSONVILLE        MI 49426‐9709
OVERWEIN, MARTHA A       5284 MAYBERRY PL                                                                         DAYTON             OH 45415‐2812
OVERY, SHIRLEY M         1620 JUANITA DR                                                                          BARNHART           MO 63012‐2305
OVERYETT GRAY            1509 STEWART RD                                                                          MOBILE             AL 36605‐3630
OVESNY, VICTORIA         25855 AUDREY AVE                                                                         WARREN             MI 48091‐3817
OVETT, LOREN A           215 SPRING RIDGE CT                                                                      ROSWELL            GA 30076‐2609
OVIATT CHAD              OVIATT, CHAD                   55 PUBLIC SQ STE 650                                      CLEVELAND          OH 44113‐1909
OVIATT ENGINEERING INC   116S 4TH AVE                                                                             LOGAN               IA 51546
OVIATT JR, ROBERT L      6921 STATE ROUTE 45                                                                      BRISTOLVILLE       OH 44402‐9778
OVIATT, CHAD             KAHN & ASSOCIATES              55 PUBLIC SQ STE 650                                      CLEVELAND          OH 44113‐1909
OVIATT, DORIS E.         138 MAIN ST APT 6                                                                        DEEP RIVER         CT 06417‐1744
OVIATT, LEE V            2294 E LAKE MITCHELL DR                                                                  CADILLAC           MI 49601‐8543
OVIATT, MARY V           8501 LONDON GROVEPORT RD                                                                 GROVE CITY         OH 43123‐9765
OVIATT, PAMELA M         116 S 4TH AVE                                                                            LOGAN               IA 51546‐1337
OVIATT, RODERICK A       8501 LONDON GROVEPORT RD                                                                 GROVE CITY         OH 43123‐9765
OVIATT, RUTH C           4175 W RIDGE RD APT 4                                                                    ERIE               PA 16506‐1753
OVIATT, STACIE M         16738 MACKMAN RD                                                                         MARYSVILLE         OH 43040‐9406
OVIATT, THOMAS           208 W MAGILL CT                                                                          GREER              SC 29651‐4929
OVICK, MARILYN           6417 BARRIE RD                                                                           EDINA              MN 55435‐2301
OVICK, STEVE             635 NORTHRIDGE DR NW STE 100                                                             PINE CITY          MN 55063‐5981
OVID AMOS                2221 CAREFUL AVE                                                                         AGOURA HILLS       CA 91301‐3001
OVID CHARLES             OVID, CHARLES                  250 SOUTH PLUM STREET                                     BATON ROUGE        LA 70819
OVID CREQUE              3220 BRUNER AVE                                                                          BRONX              NY 10469‐3125
OVID ECKELBARGER         3218 PROVIDENCE LN                                                                       KOKOMO             IN 46902‐4581
OVID MC BROOM            1725 N FIRE RD                                                                           TWINING            MI 48766‐9741
OVID RIFE                6170 E 400 N                                                                             KOKOMO             IN 46901‐9311
OVID SCOTT               6760 N 450 E                                                                             LEBANON            IN 46052‐9342
OVID WINNINGHAM          3265 NEELEY HOLLOW RD                                                                    COLUMBIA           TN 38401‐8435
OVID WINNINGHAM          149 E MCCORMICK RD                                                                       LIVINGSTON         TN 38570‐6176
OVID, CHARLES            250 SOUTH PLUM STREET                                                                    BATON ROUGE        LA 70819
OVIDA HALL               THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                               HOUSTON            TX 77017
OVIDIA VALLEJO           211 BALTIMORE ST                                                                         PLAINVIEW          TX 79072‐8425
OVIDIO GONZALEZ          313 LITTLE CREEK                                                                         CEDAR HILL         TX 75104
OVIDIO LUGONES           2808 MARGOT AVE                                                                          WAKE FOREST        NC 27587‐1606
OVIDIO LUGONES           3033 BARDIN RD APT 814                                                                   GRAND PRAIRIE      TX 75052‐3870
OVIDIO SALINAS           411 HALLER AVE                                                                           ROMEOVILLE          IL 60446‐1723
OVIDIU KOWALSKI          55602 PARKVIEW DR                                                                        SHELBY TOWNSHIP    MI 48316‐1032
OVIDON/HOWELL            1200 GRAND OAKS DR                                                                       HOWELL             MI 48843‐8578
OVIE AYANRU              35876 CRANBROOK CT                                                                       NEW BALTIMORE      MI 48047‐4297
OVIE ROONEY              PO BOX 158                                                                               GUY                AR 72061‐0158
OVIE TIPTON              1590 OTTAWA DR                                                                           XENIA              OH 45385‐4365
OVIE TIPTON              1590 OTTAWA DRIVE                                                                        XENIA              OH 45385‐4365
OVIEDA, INEZ M           63 1ST ST                                                                                SOLVANG            CA 93463‐2834
OVIEDO FRANK             OVIEDO, FRANK
OVIEDO JUAN              503 ROLLING HILL DRIVE                                                                   LA GRANGE          TX   78945‐5756
                                        09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                                    Address1                         Address2                        Address3                   Address4                City                State Zip
OVIEDO WEIZMAN (ESTATE OF) (483199) ‐   WEITZ & LUXENBERG                180 MAIDEN LANE                                                                    NEW YORK             NY 10038
OVEIDO WEIZMAN
OVIEDO, ANTONIO ALVAREZ
OVIEDO, EMMA
OVIEDO, FRANCES                         2322 HAZELWOOD                                                                                                      SAGINAW             MI   48601‐3627
OVIEDO, JOSE T                          2719 NEW PORT ROYAL RD                                                                                              THOMPSONS STATION   TN   37179‐9293
OVIEDO, JOSEPH O                        5501 KAYNORTH RD APT 11                                                                                             LANSING             MI   48911‐3825
OVIEDO, JOSEPH O                        5501 KAY NORTH RD                APT 11                                                                             LANSING             MI   48911
OVIELEEN ALLEN                          252 TOLBERT ST                                                                                                      CUMMING             GA   30040‐2337
OVINGTON CORINNA                        OVINGTON, CORINNA                700 E MAIN ST STE 1600                                                             RICHMOND            VA   23219‐2604
OVIST, GRANT J                          2090 ORPINGTON DR                                                                                                   TROY                MI   48083‐5671
OVIST, JAMES A                          28905 PICKFORD ST                                                                                                   LIVONIA             MI   48152‐3566
OVIST, JAMES AURTHER                    28905 PICKFORD ST                                                                                                   LIVONIA             MI   48152‐3566
OVITSKY, MARGARET                       916 WASHINGTON ST                                                                                                   MOUNT PLEASANT      PA   15666‐1742
OVITSKY, MARGARET                       916 WEST WASHINGTON                                                                                                 ST MT PLEASANT      PA   15666‐1742
OVITT, MARION                           10769 MERRY CANYON RD                                                                                               LEAVENWORTH         WA   98826‐8716
OVRID, GORDON S                         519 DURHAM AVE BOX 234                                                                                              HATTON              ND   58240
OW STORY                                6555 MONTANA AVE                                                                                                    EL PASO             TX   79925‐2128
OWAINI, KAREEM                          47194 LABANA DR                                                                                                     CANTON              MI   48187‐1477
OWCZARCZAK, GERALD P                    12172 CREEKRIDGE DR                                                                                                 EAST AURORA         NY   14052‐9531
OWCZARCZAK, GERALD P.                   12172 CREEKRIDGE DR                                                                                                 EAST AURORA         NY   14052‐9531
OWCZARCZAK, THOMAS A                    359 WOODWARD DR                                                                                                     WEST SENECA         NY   14224‐3646
OWCZAREK, JOHN T                        62 FOUNTAIN PARK                                                                                                    TONAWANDA           NY   14223‐1823
OWCZARZAK, ALLEN R                      6067 3 MILE RD                                                                                                      BAY CITY            MI   48706‐9043
OWCZARZAK, ALLEN ROY                    6067 3 MILE RD                                                                                                      BAY CITY            MI   48706‐9043
OWCZARZAK, RICHARD P                    2743 BULLOCK RD                                                                                                     BAY CITY            MI   48708‐4916
OWCZARZAK, SUSAN M                      52925 KARON DR                                                                                                      MACOMB              MI   48042‐5644
OWCZARZAK, THOMAS J                     2717 22ND ST                                                                                                        BAY CITY            MI   48708‐7615
OWCZARZAK, THOMAS JOHN                  2717 22ND ST                                                                                                        BAY CITY            MI   48708‐7615
OWCZARZAK, WENDY S                      120 S MASON ST APT 1                                                                                                SAGINAW             MI   48602‐2365
OWE ESTATE OF DENNIS L R                4031 DALLAS ST                                                                                                      BURTON              MI   48519‐1750
OWEEDAH BUTCHER                         583 GUTHRIE RD                                                                                                      BEDFORD             IN   47421‐6911
OWEJAN, JEANETTE E                      5185 COUNTY ROAD 36                                                                                                 HONEOYE             NY   14471‐9375
OWEJAN, JON                             5185 COUNTY ROAD 36                                                                                                 HONEOYE             NY   14471‐9375
OWEN AND JOYCE JOHNSON TRUSTEES         OWEN AND JOYCE JOHNSON           4386 DUBLIN ROAD                                                                   COLUMBUS            OH   43221
OWEN AND RUTH ABLE                      C/O CHRISTOPHER J FREEMAN ESQ    PO BOX 401                                                                         MEDINA              OH   44258‐0401
OWEN AND WANTA HANKS                    C/O JASON A ITKIN                ARNOLD & ITKIN LLP              1401 MCKINNEY STREET STE                           HOUSTON             TX   77010
                                                                                                         2550
OWEN ATWOOD JR                          PO BOX 484                                                                                                          WINFIELD            MO   63389‐0484
OWEN B HUBBARD                          1115 EAST RICHARD DR.                                                                                               XENIA               OH   45385
OWEN BANKS                              1925 ROMMEL DR                                                                                                      MARYVILLE           TN   37804‐6233
OWEN BENJAMIN                           PO BOX 824                       95 NASH DR                                                                         MIO                 MI   48647‐0824
OWEN BIGHAM                             6100 W 200 S                                                                                                        YORKTOWN            IN   47396
OWEN BIRD LAW CORPORATION               D. BARRY KIRKHAM, Q.C.           THREE BENTALL CENTRE            2900‐595 BURRARD STREET    VANCOUVER, BC, CANADA
                                                                                                                                    V7X 1J5
OWEN BIRD LLP                           ATTN: BARRY KIRKHAM QC FOR THE   29TH FLOOR THREE BENTALL CENTRE 595 BURRARD ST, PO BOX     VANCOUVER BRITISH
                                        PLAINTIFFS                                                       49130                      COLUMBIA CANADA V7X
                                                                                                                                    1J5
OWEN BLOODWORTH                         18551 PRESCOTT ST                                                                                                   ATHENS              AL   35614‐5207
OWEN BOLDS                              3322 EMERSON ST                                                                                                     FLINT               MI   48504
OWEN BRAGG                              930 MAPLE ST                                                                                                        PIQUA               OH   45356‐1638
OWEN BRAGG                              930 MAPLE ST.                                                                                                       PIQUA               OH   45356‐1638
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Name                          Address1                         Address2                     Address3   Address4         City              State Zip
OWEN BRISCOE                  BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
OWEN BROWN                    32253 COWAN RD                                                                            WESTLAND           MI 48185‐6946
OWEN BURTON                   8025 TALBROOK CT                                                                          CENTERVILLE        OH 45458‐2911
OWEN BUSKE                    9250 S 46TH ST                                                                            FRANKLIN           WI 53132‐9273
OWEN CAMPBELL                 6399 TALBOT ST                                                                            NORTH PORT         FL 34287‐2154
OWEN CHESTER ENTERPRISE INC   1322 MOUNTAIN GLEN CIR                                                                    MORGANTON          NC 28655‐9632
OWEN COLE                     2550 PIERCE RD                                                                            MIO                MI 48647‐9525
OWEN COLLINS                  602 W VERMONTVILLE HWY                                                                    POTTERVILLE        MI 48876‐9764
OWEN CONNER                   7147 GEORGE BARNES RD                                                                     MURRAYVILLE        GA 30564‐1327
OWEN CORNING/TIFFIN           145 HERITAGE DR                                                                           TIFFIN             OH 44883‐9503
OWEN COUNTY TREASURER         OWEN COUNTY COURTHOUSE                                                                    SPENCER            IN 47460
OWEN COX                      1225 OLDE BRIDGE RD                                                                       EDMOND             OK 73034‐4930
OWEN COX JR                   7034 MONTROFF CIR                                                                         INDIANAPOLIS       IN 46256‐2349
OWEN D DAWSON JR              3754 HERMOSA DRIVE                                                                        DAYTON             OH 45416‐1120
OWEN D PERKINS                15 GILBERT AVE APT B                                                                      DAYTON             OH 45403
OWEN DARLENE                  95 E UNITY CHURCH RD                                                                      HARDIN             KY 42048‐9217
OWEN DAWSON
OWEN E RESH                   628 WADE CT                                                                               ROCHESTER HILLS   MI   48307‐5067
OWEN EDWARDS                  137 CARR ST                                                                               PONTIAC           MI   48342‐1768
OWEN EGGERS                   10918 WALKER ST                                                                           GRAND BLANC       MI   48439‐1052
OWEN ERIN                     21 EVANS CT                                                                               HARRISON          OH   45030‐1885
OWEN FAGAN                    250 W GOLDENTUFT CT                                                                       BEVERLY HILLS     FL   34465
OWEN FARLEY                   2116 JOSEPHINE BLVD                                                                       BRUNSWICK         OH   44212‐4056
OWEN GOODPASTURE              4575 FILBURN LN                                                                           TROTWOOD          OH   45426‐1829
OWEN GRADUATE/NSHVIL          401 21ST AVE S                                                                            NASHVILLE         TN   37203‐2405
OWEN GRAHAM                   11141 LANGDON DR                                                                          CLIO              MI   48420‐1566
OWEN HARRIS                   12663 S CUSTER RD                                                                         DUNDEE            MI   48131‐9786
OWEN HELWIG                   6442 DRAW LN                                                                              SARASOTA          FL   34238‐5136
OWEN HENDERSON                3926 S 170 W                                                                              KINGMAN           IN   47952‐8177
OWEN HENRY                    4918 AICKATOO DRIVE                                                                       KOKOMO            IN   46902
OWEN HOBBS                    4052 STONINGTON RD                                                                        ORLEANS           IN   47452‐7257
OWEN HOYT                     9407 NEFF RD                                                                              CLIO              MI   48420‐1628
OWEN HUBBARD                  1115 RICHARD DR                                                                           XENIA             OH   45385‐2565
OWEN I I, NILES L             7105 RIVERVIEW DRIVE                                                                      FLINT             MI   48532‐2274
OWEN IAN                      464 200TH ST                                                                              BALDWIN           WI   54002‐5323
OWEN II, WILLIAM E            6153 GAITWAY DR                                                                           GRAND BLANC       MI   48439‐7437
OWEN INMAN                    1459 TRACKWOOD DR                                                                         LAPEER            MI   48446‐8702
OWEN JACKSON                  3817 SENECA ST                                                                            FLINT             MI   48504‐2192
OWEN JACKSON                  333 W SOUTH ST                   C/O BRENDA SUE JACKSON                                   BLOOMFIELD        IN   47424‐1327
OWEN JACKSON                  3513 HUMMINGBIRD DR                                                                       GRAND PRAIRIE     TX   75052‐6648
OWEN JACKSON                  11176 WHISPERING OAKS DR                                                                  SAINT LOUIS       MO   63136‐5827
OWEN JOHNSON                  6751 OAKFIELD DR                                                                          DAYTON            OH   45415‐1526
OWEN JR, CARL E               1401 ASPEN CT                                                                             RICHMOND          IN   47374‐1790
OWEN JR, WILLIAM A            5470 LINDEN RD                                                                            SWARTZ CREEK      MI   48473‐8275
OWEN JR., CHARLES T           10343 WASHBURN RD                                                                         GOODRICH          MI   48438‐9631
OWEN JULIE                    899 REYNOSO PKWY                                                                          BREA              CA   92821‐2340
OWEN KENNEDY                  2244 STATE ROUTE 763                                                                      ABERDEEN          OH   45101‐9736
OWEN KILBURN                  4526 AIRWAY RD                                                                            DAYTON            OH   45431‐1331
OWEN KLINE III                14113 SWANEE BEACH DR                                                                     FENTON            MI   48430‐3249
OWEN KOPPELBERGER             2330 WAGON RD                                                                             MAYVILLE          MI   48744‐9516
OWEN LANHAM                   1605 SAMUELS LOOP                                                                         COXS CREEK        KY   40013‐7537
OWEN LEWIS                    1012 N ESTES AVE                                                                          YELLVILLE         AR   72687‐9302
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Name               Address1                         Address2                         Address3          Address4                  City              State Zip
OWEN LEWIS         22301 PARALLEL RD                                                                                             TONGANOXIE         KS 66086‐4463
OWEN LIBURD        2516 BROOKHAVEN DR                                                                                            BOSSIER CITY       LA 71111‐5720
OWEN LINDAMAN      3432 SE 34TH AVE                                                                                              OKEECHOBEE         FL 34974‐7107
OWEN M ATWOOD JR   PO BOX 484                                                                                                    WINFIELD           MO 63389‐0484
OWEN MARTIN        6907 W 700 N                                                                                                  KOKOMO             IN 46902‐9314
OWEN MARTIN        PO BOX 826                                                                                                    DONIPHAN           MO 63935‐0826
OWEN MCNAMARA      2080 BARCELONA DRIVE                                                                                          FLORISSANT         MO 63033
OWEN MIKE          23399 CURRIE RD                                                                                               SOUTH LYON         MI 48178‐8922
OWEN MILES         PO BOX 244                                                                                                    DEFIANCE           OH 43512‐0244
OWEN MOORE         133 GREENFIELD DR                                                                                             IONIA              MI 48846‐2109
OWEN OLSON         2402 W SAINT LAWRENCE AVE                                                                                     BELOIT             WI 53511‐5701
OWEN ONEILL        THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                                  HOUSTON            TX 77017
OWEN PACE          3415 SANTA CLARA CT                                                                                           FLINT              MI 48504‐3234
OWEN PACE JR       113 BRIER ROSE LN                                                                                             HARVEST            AL 35749‐5600
OWEN PETERS        1310 S WALNUT ST                                                                                              JANESVILLE         WI 53546‐5545
OWEN PHIL          5130 HUNTERS CHASE RD                                                                                         LAS CRUCES         NM 88011‐2554
OWEN PORTER        1302 RICHWOOD DR                                                                                              AVON               IN 46123‐9029
OWEN PUCKETT       106 WALNUT ST                                                                                                 CINCINNATI         OH 45216‐2455
OWEN R KILBURN     4526 AIRWAY ROAD                                                                                              DAYTON             OH 45431‐1331
OWEN RANDY         5053 COUNTY ROAD 255                                                                                          FORT PAYNE         AL 35967‐6906
OWEN RATEAU        9665 E BROOKS RD                                                                                              LENNON             MI 48449‐9677
OWEN REAGAN        1616 W 9TH ST                                                                                                 MUNCIE             IN 47302‐2199
OWEN REED          77 LAKE HINSDALE DR APT 206                                                                                   WILLOWBROOK         IL 60527‐2229
OWEN RESH          628 WADE CT                                                                                                   ROCHESTER HILLS    MI 48307‐5067
OWEN RIGSBY        6636 CARNATION WAY                                                                                            PORT RICHEY        FL 34668‐5204
OWEN ROBBINS       AVENIDA WASHINGTON LUIS          APTO 42, EDIFICIO YPE                              SAO PAULO BRAZIL 04671‐
                                                                                                       160
OWEN ROBERTS       10499 W 56TH ST                  P O BOX 125                                                                  BRANCH            MI    49402‐8430
OWEN SANDERS       2211 RUSSELL HOLLOW CIR                                                                                       HARDY             AR    72542‐8908
OWEN SCHROER       137 CAPPSHIRE RD LOT 119                                                                                      CROSSVILLE        TN    38558
OWEN SHELTON       5985 NORTHFIELD ST                                                                                            DETROIT           MI    48210‐1270
OWEN SMITHY        PO BOX 284                                                                                                    BROHMAN           MI    49312‐0284
OWEN SR, JOHN W    525 MIAMI ST                                                                                                  JOLIET            IL    60432‐2124
OWEN STANDFEST     14854 PALAIS DR                                                                                               SHELBY TWP        MI    48315‐2567
OWEN STERNER       NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                             DAINGERFIELD      TX    75638
OWEN STEWART JR    194 DEARDOFF RD                                                                                               FRANKLIN          OH    45005‐1454
OWEN STRICKLAND
OWEN STURM         18 SCENIC FALLS RD                                                                                            LONG VALLEY       NJ    07853‐3171
OWEN T MC NINCH    320 KNOX AVENUE                                                                                               DAYTON            OH    45427‐1727
OWEN TACEY         245 CIRCLE DR                                                                                                 FLORISSANT        CO    80816‐7099
OWEN TIMOTHY C     OWEN, GLORIA J                   4301 ANCHOR PLAZA PKWY STE 300                                               TAMPA             FL    33634‐7521

OWEN TIMOTHY C     OWEN, TIMOTHY C                  4301 ANCHOR PLAZA PKWY STE 300                                               TAMPA              FL   33634‐7521

OWEN TURNER JR     1173 CHARLES AVE                                                                                              FLINT             MI    48505‐1641
OWEN V JOHNSON     6751 OAK FIELD DR                                                                                             DAYTON            OH    45415‐1526
OWEN W FRANKE      3924 CIRCLE DRIVE                                                                                             MASON             MI    48854‐9533
OWEN WALLACE       832 MOUNT OLIVE RD                                                                                            STARKVILLE        MS    39759‐7988
OWEN WEINRICH      1279 BELLFLOWER AVE                                                                                           COLUMBUS          OH    43204‐2229
OWEN WILSON        15431 EASTWOOD RD                                                                                             WILLIAMSBURG      OH    45176‐9267
OWEN WOOD          13924 S PAULEN RD                                                                                             CARBONDALE        KS    66414‐9153
OWEN, ALBERT E     2148 SUNNYSIDE GOTT RD                                                                                        BOWLING GREEN     KY    42103‐9531
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Name                Address1                           Address2               Address3   Address4            City                State Zip
OWEN, ALLEN L       3700 S WESTPORT AVE                NUMBER 3145                                           SIOX FALLS           SD 57106
OWEN, ALLEN L       8708 WEST PLEASANT HARBOR BLVD L                                                         PEORIA               AZ 85383
OWEN, ALLENE B      5722 WEST 8TH COURT                                                                      STILLWATER           OK 74074‐1174
OWEN, ANTHONY J     582 GLENWOOD DR                                                                          VALPARAISO           IN 46385‐8877
OWEN, ARIC J        1971 N MICHIGAN RD                                                                       EATON RAPIDS         MI 48827‐9220
OWEN, BEATRICE L    1781 S OGEMAW TRL                                                                        WEST BRANCH          MI 48661‐9735
OWEN, BERTA M       2052 BERNICE AVE                                                                         FLINT                MI 48532‐3911
OWEN, BERTHA L      124 W MARSHALL DR                                                                        MIDWEST CITY         OK 73110‐5540
OWEN, BETTY J       4315 SUSSEX DR                                                                           ANDERSON             IN 46013‐4460
OWEN, BETTY J       4315 SUSSEX DR.                                                                          ANDERSON             IN 46013
OWEN, BETTY JANE    4625 HIGH                                                                                ECORSE               MI 48229‐1423
OWEN, BETTY JANE    4625 HIGH ST                                                                             ECORSE               MI 48229‐1423
OWEN, BEULAH M      PO BOX 477                         155 ROSS CARTER BLVD                                  DUFFIELD             VA 24244‐0477
OWEN, BEULAH M      155 ROSS CARTER BLVD PO BOX 477                                                          DUFFIELD             VA 24244
OWEN, BEVERLY J     408 PENDLETON DR                                                                         VENICE               FL 34292‐3909
OWEN, BILLIE L      1137 S EAST ST                                                                           LEBANON              IN 46052‐2915
OWEN, BRANDON       8307 UNDERWOOD ARBOR PL                                                                  CARY                 ND 27518‐7131
OWEN, BRUCE E       9298 PARK CT                                                                             SWARTZ CREEK         MI 48473‐8537
OWEN, CAROLE A      12175 FORREST LN                                                                         EXCELSIOR SPRINGS    MO 64024‐5361
OWEN, CAROLYN E     405 MILL POND DR                                                                         FENTON               MI 48430‐2335
OWEN, CARROLL C     PO BOX 297                                                                               OTISVILLE            MI 48463‐0297
OWEN, CHARLES H     2823 ANGLING RD                                                                          MEDINA               NY 14103‐9651
OWEN, CHRISTOPHER   3082 N GRAVEL RD                                                                         MEDINA               NY 14103‐9414
OWEN, CONSTANCE     108 DONNA DR                                                                             PORTLAND             MI 48875‐1115
OWEN, D MARLENE     7034 MONTE CARLO DR                                                                      ENGLEWOOD            OH 45322
OWEN, DALE A        269 FALCON AVE                                                                           LONG BEACH           CA 90802‐4049
OWEN, DAN R         405 PRINCETON ST                                                                         BAY CITY             MI 48708‐6934
OWEN, DARRELL E     6471 E EDNA MILLS DR                                                                     CAMBY                IN 46113‐9699
OWEN, DARRELL G     4599 CONTINENTAL DR LOT 133                                                              HOLIDAY              FL 34590‐5604
OWEN, DARROLD H     331 OLD SWAMP RD                                                                         SOUTH MILLS          NC 27976‐9575
OWEN, DAVID         7930 272ND ST NW APT 213                                                                 STANWOOD             WA 98292‐7487
OWEN, DAVID B       1007 KILLIAN DR                                                                          MOORESVILLE          IN 46158‐7995
OWEN, DAVID BRIAN   1007 KILLIAN DR                                                                          MOORESVILLE          IN 46158‐7995
OWEN, DAVID G       11201 FAIRWAY DR                                                                         ROSCOMMON            MI 48653‐8463
OWEN, DAVID H       122 PEBBLE BEACH DR                                                                      BENTON               LA 71006‐9555
OWEN, DAVID L       NO. 8 JALAN MELOR‐6E DESA          MELOR 48200 SERENDAH              SELANGOR 00000
                                                                                         MALAYSIA
OWEN, DAVID L       NO 8 JALAN MELOR‐6E DESA           MELOR 48200 SERENDAH              SELANGOR MALAYSIA
OWEN, DAVID M       6226 TILDEN STREET                                                                       FORT COLLINS        CO   80528‐7118
OWEN, DAVID S       405 MILL POND DR                                                                         FENTON              MI   48430‐2335
OWEN, DELORIS F     5300 WEST 96TH ST APT 101                                                                INDIANAPOLIS        IN   46268
OWEN, DENISE        3819 S RANGELINE RD                                                                      ANDERSON            IN   46017
OWEN, DENNIS C      9901 W ROLLING MEADOWS DR                                                                MUSTANG             OK   73064‐9642
OWEN, DENNIS J      9350 CRAFTON DR                                                                          SWARTZ CREEK        MI   48473‐9734
OWEN, DIANE A       5201 WOODHAVEN CT APT 501                                                                FLINT               MI   48532‐4173
OWEN, DINO G        2675 NASHVILLE HWY                                                                       LEWISBURG           TN   37091‐6230
OWEN, DON E         1420 E LORETTA DR                                                                        INDIANAPOLIS        IN   46227‐4813
OWEN, DON R         7642 PONTIAC LAKE RD                                                                     WATERFORD           MI   48327‐1427
OWEN, DONA          907 PENTON ST                                                                            BIRMINGHAM          AL   35214‐1806
OWEN, DONALD E      170 COUNTY ROAD 3330                                                                     CLIFTON             TX   76634‐3224
OWEN, DONALD L      1520 LINWOOD AVE                                                                         FLINT               MI   48503‐5316
OWEN, DONALD L      154 N GATES RD                                                                           SANDUSKY            MI   48471‐9753
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Name                            Address1                        Address2           Address3         Address4         City              State Zip
OWEN, DOROTHY                   5150 WOODRUFF                   PO BOX 343                                           TOPINABEE          MI 49791‐0343
OWEN, DOROTHY                   PO BOX 343                      5150 WOODRUFF                                        TOPINABEE          MI 49791‐0343
OWEN, DOROTHY D                 530 CLIFFS DRIVE                APT. 104 C                                           YPSILANTI          MI 48198‐7339
OWEN, DOROTHY J                 586 ASHMONT ST                                                                       DORCHESTER         MA 02122‐2317
OWEN, DOUGLAS C                 12550 ERIKA ST                                                                       HARTLAND           MI 48353‐3024
OWEN, DOUGLAS D                 1443 TRACKWOOD DR                                                                    LAPEER             MI 48446‐8702
OWEN, DOUGLAS W                 174 AUBURN AVE                                                                       PONTIAC            MI 48342‐3008
OWEN, DUANE G                   1615 N SUMAC DR                                                                      JANESVILLE         WI 53545‐1266
OWEN, DWAYNE D                  1928 ARDMORE HWY                                                                     ARDMORE            TN 38449‐3094
OWEN, DWIGHT C                  4179 BUDD RD                                                                         LOCKPORT           NY 14094‐9711
OWEN, EDNA B                    1424 CERULEAN HOPKINSVILLE                                                           CERULEAN           KY 42215‐7613
OWEN, EDWARD E                  2371 STANLEY CREEK RD                                                                CHERRY LOG         GA 30522‐3109
OWEN, ELAINE M                  15437 N OAK DR                                                                       CHOCTAW            OK 73020‐7065
OWEN, ELMER W                   29081 US HIGHWAY 19 N APT 262                                                        CLEARWATER         FL 33761
OWEN, ELSIE M                   4438 E ATHERTON RD                                                                   BURTON             MI 48519‐1442
OWEN, ESTHER K                  15 PIPER RD RM C316                                                                  SCARBOROUGH        ME 04074‐7577
OWEN, EVERETT G                 PO BOX 66                                                                            MILTON             KY 40045‐0066
OWEN, GARY M                    45 SHARON AVE                                                                        COURTLAND          AL 35618‐3951
OWEN, GEORGE O                  PO BOX 116                      723 W MAIN ST                                        FELICITY           OH 45120‐0116
OWEN, GERALD E                  976 CHAPPS FORK RD                                                                   CHARLESTON         WV 25312‐9602
OWEN, GREGORY M                 CORTEZ WINDMILL VILLAGE         90 VILLAGE BLVD                                      BRADENTON          FL 34207
OWEN, GWILYM J                  10613 BERLIN STATION RD                                                              CANFIELD           OH 44406‐9776
OWEN, HAROLD W                  1363 GADY RD                                                                         ADRIAN             MI 49221‐9382
OWEN, HELEN L                   718 MACDONALD AVE                                                                    FLINT              MI 48507‐2847
OWEN, HOLLAND R                 1132 LANDMARK DR                                                                     YUKON              OK 73099‐3302
OWEN, HOWARD P                  5315 SUNDOWN ACRES                                                                   MARTINSVILLE       IN 46151‐7272
OWEN, JAMES E TRUCKING CO INC   1091 BLACKWATER RD                                                                   FOREST             VA 24551‐3478
OWEN, JAMES L                   13725 SE 89TH ST                                                                     OKLAHOMA CITY      OK 73150‐8405
OWEN, JAMES W                   47514 WINTHROP ST                                                                    SHELBY TOWNSHIP    MI 48317‐2968
OWEN, JANET K                   504 FRANKLYNN DR                                                                     LANSING            MI 48917‐2403
OWEN, JANICE V                  3456 W CAMPO BELLO DR                                                                PHOENIX            AZ 85053‐1872
OWEN, JERRY L                   9010 CIRCLE LAKE DR                                                                  GRAND BLANC        MI 48439‐9310
OWEN, JERRY L.                  9010 CIRCLE LAKE DR                                                                  GRAND BLANC        MI 48439‐9310
OWEN, JILL A                    17461 DELAWARE AVE                                                                   REDFORD            MI 48240‐2339
OWEN, JIMMIE A                  5889 N COUNTY ROAD 700 W                                                             FAIRBANKS          IN 47849‐8041
OWEN, JIMMIE F                  1506 WILDWOOD CT                                                                     FLINT              MI 48532‐2079
OWEN, JOAN G                    11476 JENNINGS RD                                                                    CLIO               MI 48420‐1569
OWEN, JOAN G                    11476 N JENNINGS RD                                                                  CLIO               MI 48420‐1569
OWEN, JOHN A                    12550 ERIKA ST 48353                                                                 HARTLAND           MI 48353
OWEN, JOHN I                    4841 WESTCHESTER DR APT 222                                                          AUSTINTOWN         OH 44515‐2553
OWEN, JOHN I                    821 WATER RIDGE DR                                                                   DEBARY             FL 32713‐1929
OWEN, JONATHAN H                32444 SHERIDAN DR                                                                    BEVERLY HILLS      MI 48025‐4253
OWEN, JONELL                    22803 WISPERING WILLOW DRIVE                                                         SPRING             TX 77373‐6477
OWEN, JOSEPH B                  8200 S MAY ST                                                                        DALEVILLE          IN 47334‐9365
OWEN, JUANITA G                 3945 S KESSLER FREDERICK RD                                                          WEST MILTON        OH 45383‐9705
OWEN, JUANITA G                 3945 S KESSLER‐FREDERICK RD                                                          WEST MILTON        OH 45383‐9705
OWEN, KAREN                     1100 JOSEPH ST                                                                       BAY CITY           MI 48706‐5509
OWEN, KAROL M                   7661 NEWPORT                                                                         RICHLAND           MI 49083‐9715
OWEN, KENNETH                   4801 E EATON ALBANY PIKE                                                             EATON              IN 47338‐8906
OWEN, KENNETH J                 736 S 74TH TER                                                                       KANSAS CITY        KS 66111‐2712
OWEN, KENNETH L                 1340 S MEADE PL                                                                      MIDWEST CITY       OK 73130‐5510
OWEN, KENNITH J                 2142 RINGGOLD AVE                                                                    INDIANAPOLIS       IN 46203‐3922
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Name                     Address1                           Address2                       Address3   Address4         City              State Zip
OWEN, KENNITH J          5509 W MARKET                                                                                 INDIANAPOLIS       IN 46224
OWEN, KEVIN F            1418 LONGHORN DRIVE                                                                           FARMINGTON         UT 84025‐2671
OWEN, KIRK A             6655 JACKSON RD UNIT 624                                                                      ANN ARBOR          MI 48103‐9675
OWEN, KRIS A             10318 ELMS RD                                                                                 MONTROSE           MI 48457‐9195
OWEN, LANSON J           6671 LILA                                                                                     FORT PIERCE        FL 34951‐4426
OWEN, LAURA R            3933 PLATTE DR                                                                                FORT COLLINS       CO 80526‐5369
OWEN, LAWRENCE L         647 COCHISE CIR                                                                               BOLINGBROOK         IL 60440‐2685
OWEN, LEONARD FRANKLIN   FOSTER & SEAR                      360 PLACE OFFICE PARK, 1201                                ARLINGTON          TX 76006
                                                            NORTH WATSON, SUITE 145
OWEN, LILLIE L           1527 LAURENTIAN PASS                                                                          FLINT             MI   48532
OWEN, MARGARET C         915 S. BRIARWOOD DRIVE                                                                        BROWNSBURG        IN   46112‐1809
OWEN, MARGARET C         915 BRIARWOOD DR                                                                              BROWNSBURG        IN   46112‐1809
OWEN, MARGARET M         9283 WOODSIDE TRAIL                                                                           SWARTZ CREEK      MI   48473‐8565
OWEN, MARK J             34238 ALCINA ST                                                                               CLINTON TWP       MI   48035‐5425
OWEN, MARTIN M           2395 TUBBS RD                                                                                 CHARLOTTE         MI   48813‐9154
OWEN, MARVIN M           2060 S STEWART RD                                                                             CHARLOTTE         MI   48813‐9310
OWEN, MARVIN S           2810 SILVER FOX DR SW                                                                         WARREN            OH   44481‐9236
OWEN, MARY               2747 W BLACKMORE RD                                                                           MAYVILLE          MI   48744‐9416
OWEN, MARY               PO BOX 214                                                                                    URICH             MO   64788
OWEN, MARY E             2841 MARATHON RD                                                                              COLUMBIAVILLE     MI   48421
OWEN, MARY F             1443 SPRING VALLEY CIR                                                                        HUNTINGTON        WV   25704‐9576
OWEN, MARY J             600 CHERRY LN APT 43                                                                          TEHACHAPI         CA   93561‐2189
OWEN, MARY LOU           925 SAWMILL RD                                                                                NEW WHITELAND     IN   46184‐1148
OWEN, MARY LOU           925 SAWMILL ROAD                                                                              NEW WHITELAND     IN   46184‐1148
OWEN, MAUREENE A         3500 MULBERRY ROAD                                                                            DAYTON            OH   45414‐1512
OWEN, MAVIS N            577 MORAN RD                                                                                  DRESDEN           TN   38225‐1241
OWEN, MERILEE J          PO BOX 72                                                                                     OTISVILLE         MI   48463‐0072
OWEN, MICHAEL A          8046 W 81ST CIR                                                                               ARVADA            CO   80005‐2554
OWEN, MICHAEL B          1216 TWIN CREEK RD                                                                            APEX              NC   27523‐9417
OWEN, MICHAEL J          23399 CURRIE RD                                                                               SOUTH LYON        MI   48178‐8922
OWEN, MICHAEL L          126 HAZY CT                                                                                   GREENWOOD         IN   46142‐7491
OWEN, MICHAEL P          9225 WOODRIDGE DR                                                                             DAVISON           MI   48423‐8393
OWEN, MICHELE ANNE       PO BOX 482 APT 4                   10236 HEGEL RD                                             GOODRICH          MI   48438
OWEN, MILDRED            1363 GADY ROAD                                                                                ADRIAN            MI   49221‐9382
OWEN, MILDRED            1363 GADY RD                                                                                  ADRIAN            MI   49221‐9382
OWEN, MILDRED S          517 W PENN ST                                                                                 HOOPESTON         IL   60942‐1141
OWEN, MILDRED S          517 W PEN ST                                                                                  HOOPESTON         IL   60942‐1141
OWEN, MORRIS A           6912 TALLADAY RD                                                                              MILAN             MI   48160‐8817
OWEN, NANCY J            126 HAZY CT                                                                                   GREENWOOD         IN   46142‐7491
OWEN, NANCY L            PO BOX 988                                                                                    INTERLACHEN       FL   32148‐0988
OWEN, NICETA             47514 WINTHROP ST                                                                             SHELBY TOWNSHIP   MI   48317‐2968
OWEN, NOREEN M           486 NIMICK ST                                                                                 SHARON            PA   16146‐1238
OWEN, OLYMPIA L.         1734 SONORA ST                                                                                LADY LAKE         FL   32159‐9241
OWEN, PALMER             G PATTERSON KEAHEY PC              ONE INDEPENDENCE PLAZA SUITE                               BIRMINGHAM        AL   35209
                                                            612
OWEN, PATRICIA A         10466 M‐52                                                                                    SAINT CHARLES     MI   48655
OWEN, PATRICIA A         2810 W 9TH ST                                                                                 MUNCIE            IN   47302‐1665
OWEN, PATRICIA B.        2321 GIBSON RD                                                                                GRAND BLANC       MI   48439‐8548
OWEN, PATRICIA L         PO BOX 1235                                                                                   ROCKY MOUNT       MO   65072‐1235
OWEN, PAUL E             5054 W 15TH ST                                                                                SPEEDWAY          IN   46224‐6508
OWEN, PAUL G             2539 ISLAND DR                                                                                HARRISON          MI   48625‐9235
OWEN, PHILIP R           1735 E THOMPSON RD                                                                            INDIANAPOLIS      IN   46227‐4505
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Name                    Address1                       Address2            Address3         Address4             City            State Zip
OWEN, RAYMOND J         9978 ELK LAKE TRL                                                                        WILLIAMSBURG     MI 49690
OWEN, RAYMOND R         5478 S SYCAMORE DR                                                                       BURTON           MI 48509‐1388
OWEN, RICHARD D         PO BOX 261                                                                               CURTIS           MI 49820‐0261
OWEN, RICHARD E         205 RAZORBACK DR                                                                         MORRILTON        AR 72110‐1523
OWEN, RICHARD E         1324 W STOCKWELL RD                                                                      HARRISON         MI 48625‐9741
OWEN, RICHARD K         12 LOCUST DR                                                                             MIDDLEPORT       NY 14105‐1310
OWEN, RICK C            1211 CATALINA DR                                                                         FLINT            MI 48507‐3313
OWEN, ROBBIN M          990679 S 3380 RD                                                                         MEEKER           OK 74855‐8014
OWEN, ROBERT A          572 FISHERS BRANCH RD                                                                    CHEROKEE         NC 28719
OWEN, ROBERT E          3696 18TH ROAD                                                                           ESCANABA         MI 49829‐9715
OWEN, ROBERT E          5761 WARNER RD                                                                           MIDDLETON        MI 48856‐9747
OWEN, ROBERT J          1121 SPRINGRIDGE CT                                                                      MILFORD          OH 45150‐2782
OWEN, ROGER L           153 W FAIRMOUNT AVE                                                                      PONTIAC          MI 48340‐2737
OWEN, ROLLAND L         7737 TURTLE DOVE DR SE                                                                   GRAND RAPIDS     MI 49508‐7224
OWEN, RONALD            3082 N GRAVEL RD                                                                         MEDINA           NY 14103‐9414
OWEN, RONALD W          PO BOX 585                                                                               HALE             MI 48739‐0585
OWEN, ROSELLA O         1132 LANDMARK DR                                                                         YUKON            OK 73099‐3302
OWEN, SAMUEL T          1405 CIRCLE DR                                                                           PARAGOULD        AR 72450‐4820
OWEN, SHAWN M           1220 HOUGHTON TRL                                                                        ORTONVILLE       MI 48462‐9029
OWEN, STEVEN D          8605 S SHARTEL AVE                                                                       OKLAHOMA CITY    OK 73139‐9307
OWEN, SUSAN H           32444 SHERIDAN DR                                                                        BEVERLY HILLS    MI 48025‐4253
OWEN, SYDNEY C          3623 SILVER SANDS DR                                                                     WATERFORD        MI 48329‐4259
OWEN, TERESA L          11275 S COUNTY ROAD 300 E                                                                WALTON           IN 46994‐9276
OWEN, TERRY W           990679 S 3380 RD                                                                         MEEKER           OK 74855‐8014
OWEN, THOMAS J          801 JACKSON ST                                                                           EATON RAPIDS     MI 48827‐1969
OWEN, THOMAS L          3724 BRIGHTON LN                                                                         ANDERSON         IN 46012‐9689
OWEN, THOMAS L          PO BOX 148                                                                               ROANOKE          IN 46783‐0148
OWEN, THOMAS L          2100 N BOYD ST                                                                           OKLAHOMA CITY    OK 73141‐1026
OWEN, THOMAS P          409 LAKE CIR                                                                             COLUMBIA         TN 38401‐8881
OWEN, THOMAS W          6090 PORTER AVE                                                                          EAST LANSING     MI 48823‐1544
OWEN, TREVOR LTD        80 BARBADOS BLVD UNIT 5                                             SCARBOROUGH ON M1J
                                                                                            1K9 CANADA
OWEN, VIRGINIA R        383 DIXIE HWY.                                                                           MITCHELL        IN   47446‐6730
OWEN, VIRGINIA R        383 DIXIE HWY                                                                            MITCHELL        IN   47446‐6730
OWEN, WARD R            215 E MASON ST                                                                           LANSING         MI   48910‐4591
OWEN, WILLIAM A         1309 HERMAN ST                                                                           OWOSSO          MI   48867‐4132
OWEN, WILLIAM D         8170 EUPHEMIA CASTINE RD                                                                 LEWISBURG       OH   45338‐9712
OWEN, WILLIAM E         12187 HOISINGTON RD                                                                      GAINES          MI   48436‐9608
OWEN, WILLIAM T         7708 BLUE JUNIPER DR                                                                     WESTERVILLE     OH   43082‐7075
OWEN, WILLIAM T         2301 NW 122ND ST APT 1709                                                                OKLAHOMA CITY   OK   73120‐8452
OWEN, WILLIE D          441 S 15TH ST                                                                            SAGINAW         MI   48601‐2006
OWEN, WINSTON D         5778 HIGHWAY 36 W                                                                        ROSE BUD        AR   72137‐9705
OWEN, YVONIA            1820 BEINEKE RD                                                                          FORT WAYNE      IN   46808‐1628
OWENBY RICK             PO BOX 19659                                                                             ASHEVILLE       NC   28815‐1659
OWENBY, DILLARD         12192 OAK RD                                                                             OTISVILLE       MI   48463‐9722
OWENBY, JR., REX LANE   1204 DORIS ST                                                                            MOUNT MORRIS    MI   48458‐1710
OWENBY, JR.,REX L       1204 DORIS ST                                                                            MOUNT MORRIS    MI   48458‐1710
OWENBY, KATHRINE R      11392 PETERSON RD                                                                        CLIO            MI   48420‐9419
OWENBY, OSCAR E         127 POPLAR MILL RD                                                                       DEMOREST        GA   30535‐2841
OWENBY, PATRICIA        2143 STILLHOUSE RD                                                                       DANDRIDGE       TN   37725‐6736
OWENBY, RAY W           9252 LAKE RD                                                                             OTISVILLE       MI   48463‐9611
OWENBY, REX L           11392 PETERSON RD                                                                        CLIO            MI   48420‐9419
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Name                                Address1                           Address2                          Address3      Address4         City            State Zip
OWENBY, SUSAN K                     2630 INVITATIONAL DR 100                                                                            OAKLAND          MI 48363
OWENBY, WILLIAM G                   11392 PETERSON RD                                                                                   CLIO             MI 48420‐9419
OWENBY, WILLIAM GARNET              11392 PETERSON RD                                                                                   CLIO             MI 48420‐9419
OWENS & ASSOCIATES PC               225 FRANKLIN ST 26TH FL                                                                             BOSTON           MA 02110
OWENS ALFRED C (343877)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510
                                                                       STREET, SUITE 600
OWENS AUTO REPAIR                   211 N MOJAVE RD                                                                                     LAS VEGAS       NV    89101‐4803
OWENS BARBARA                       OWENS, BARBARA                     12 W LINCOLN ST                                                  BELLEVILLE      IL    62220‐2018
OWENS BARBARA                       OWENS, BARBARA                     707 BERKSHIRE BLVD P O BOX 521                                   EAST ALTON      IL    62024
OWENS BETTY & CHRISTINE HICKS       4762 COLLINS LN                                                                                     YORBA LINDA     CA    92886‐3611
OWENS CAMISHA                       OWENS, CAMISHA                     30928 FORD RD                                                    GARDEN CITY     MI    48135‐1803
OWENS CHARLES R (326417)            SWEENEY ROBERT E CO                1500 ILLUMINATING BLDG , 55                                      CLEVELAND       OH    44113
                                                                       PUBLIC SQUARE
OWENS CLARENCE E SR (404819)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA 23510
                                                                       STREET, SUITE 600
OWENS COMMUNITY COLLEGE OFFICE OF   PO BOX 10000                                                                                        TOLEDO          OH 43699‐1947
BUSINESS AFFAIRS
OWENS CORNIN/SOLTECH                203 CHARLES RALPH DR               C/O SOLTECH                                                      SPRINGFIELD     TN    37172‐5875
OWENS CORNIN/SOLTECH                303 N HURSTBOURNE LANE             STE 295                           C/O SOLTECH                    LOUISVILLE      KY    40222
OWENS CORNING                                                          303 N HURSTBOURNE LANE                                                           KY    40222
OWENS CORNING                       KELLEY JASONS MCGUIRE & SPINELLI   ONE PENN CENTER ‐ SUITE 1400,                                    PHILADELPHIA    PA    19103
                                                                       1617 JFK BLVD
OWENS CORNING                       ATTN: JOHN BECKER                  300 SUNSHINE RD                                                  KANSAS CITY     KS    66115‐1293
OWENS CORNING FIBERGLAS CORP        TYDING & ROSENBERG LLP             100 EAST PRATT STREET                                            BALTIMORE       MD    21202
OWENS CORNING SALES LLC             DBA OWENS CORNING                  1 OWENS CORNING PKWY                                             TOLEDO          OH    43659‐1000
OWENS CORNING/LAMBER                6683 WILLIAMS PL                                                                                    LAMBERTVILLE    MI    48144‐9466
OWENS CRAIG                         2600 HESTON ROAD                                                                                    VIRGINIA BCH    VA    23451‐1706
OWENS CURTIS E (467039)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA    23510
                                                                       STREET, SUITE 600
OWENS DAVID
OWENS DAVID S MD PC                 3200 DOWNWOOD CIRCLE STE 350                                                                        ATLANTA         GA    30327
OWENS DENICE                        7603 BREEZEWAY BEND LN                                                                              KATY            TX    77494‐1118
OWENS DESSIE MAE                    C/O EDWARD O MOODY PA              801 WEST FOURTH STREET                                           LITTLE ROCK     AR    72201
OWENS DONALD                        17 SPORTSMAN DR                                                                                     GRAY            KY    40734‐6701
OWENS DONNA MARIE                   OWENS, DONNA MARIE                 ONE MARK TWAIN PLAZA SUITE                                       EDWARDSVILLE    IL    62025
                                                                       325D
OWENS DONNA MARIE 2ND ACTION        OWENS, DONNA MARIE                 ONE MARK TWAIN PLAZA SUITE                                       EDWARDSVILLE     IL   62025
                                                                       325D
OWENS EARNEST                       1001 NW 5TH AVE                                                                                     BOYNTON BEACH   FL    33426‐3524
OWENS FENCE INC                     17114 DIX TOLEDO HWY                                                                                BROWNSTOWN      MI    48193‐8414
OWENS FRED (507574)                 COON BRENT W                       PO BOX 4905                                                      BEAUMONT        TX    77704‐4905
OWENS FREDERICK J (356476)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA    23510
                                                                       STREET, SUITE 600
OWENS GARY W SR (429572)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA 23510
                                                                       STREET, SUITE 600
OWENS GAYLON AND FRAN               ALEX SIMANOVSKY AND ASSOCIATES     2300 HENDERSON MILL RD NE STE                                    ATLANTA         GA 30345‐2704
                                                                       300
OWENS GEORGE                        OWENS, GEORGE                      53037 SYCAMORE DR                                                CHESTERFIELD    MI 48047
OWENS GINA                          3913 NORTHVIEW DR                                                                                   MODESTO         CA 95355‐1243
OWENS HAROLD I (419452)             SIMMONS LAW FIRM
OWENS HERBERT JR                    OWENS, HERBERT                     101 MULBERRY STREET EAST PO BOX                                  HAMPTON          SC   29924
                                                                       457
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Name                                    Address1                         Address2                         Address3   Address4         City              State Zip
OWENS II, BENNIE LEE                    3137 STUART ST                                                                                INDIANAPOLIS       IN 46218‐2138
OWENS III, HOWARD S                     209 SHADY LN                                                                                  AUBURN             MI 48611‐9467
OWENS ILLINOIS INC                      TYDING & ROSENBERG LLP           100 EAST PRATT STREET                                        BALTIMORE          MD 21202
OWENS ILLINOIS INC
OWENS ILLINOIS INC (433298) ‐ STEMMEL   TYDING & ROSENBERG LLP           100 EAST PRATT STREET                                        BALTIMORE         MD 21202
DONALD
OWENS IVARNA BRIDGET                    OWENS, IVARNA BRIDGET            1930 E MARLTON PIKE SUITE Q29                                CHERRY HILL       NJ   08003
OWENS JEFFREY                           2606 BLUE SPRING RD                                                                           DECHERD           TN   37324‐3998
OWENS JOHN (658788)                     LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                 HOUSTON           TX   77069
OWENS JOHN (ESTATE OF) (511087)         WEITZ & LUXENBERG                180 MAIDEN LANE                                              NEW YORK          NY   10038
OWENS JR, ARNOLD L                      3300 SUBURBAN DR                                                                              BEAVERCREEK       OH   45432‐2746
OWENS JR, BEN W                         407 BROOKSIDE RD                                                                              WAXAHACHIE        TX   75167‐2209
OWENS JR, EARNEST                       16141 MUIRLAND ST                                                                             DETROIT           MI   48221‐3010
OWENS JR, EDDIE                         12585 EVENING SHADE DR                                                                        FLORISSANT        MO   63033‐8513
OWENS JR, EDWIN G                       PO BOX 8877                                                                                   APACHE JUNCTION   AZ   85178‐0071
OWENS JR, FORDHAM                       114 MIDDLEBURY LN                                                                             WILLINGBORO       NJ   08046‐2917
OWENS JR, FRED                          1439 HENDRICKS RD                                                                             BETHEL SPRINGS    TN   38315‐4177
OWENS JR, GEORGE                        PO BOX 766                                                                                    LYNCHBURG         OH   45142‐0766
OWENS JR, JAMES                         4266 E OUTER DR                                                                               DETROIT           MI   48234‐3123
OWENS JR, JOHN B                        5760 LEONA ST                                                                                 OAKLAND           CA   94605‐1234
OWENS JR, JOHN W                        2613 GALEMEADOW DR                                                                            FORT WORTH        TX   76123‐1116
OWENS JR, LOUIS                         1518 RANDY CT                                                                                 FLINT             MI   48505‐2523
OWENS JR, OBIE                          4457 LA BEAN CT                                                                               FLINT             MI   48506‐1447
OWENS JR, PROCTOR                       PO BOX 2451                                                                                   WATERBURY         CT   06722‐2451
OWENS JR, RALPH W                       311 ELMEAD CT APT 2014                                                                        GREENWOOD         IN   46142‐4033
OWENS JR, RALPH WENDELL                 311 ELMEAD CT APT 2014                                                                        GREENWOOD         IN   46142‐4033
OWENS JR, RAYMOND                       PO BOX 1293                                                                                   ZEBULON           GA   30295‐1293
OWENS JR, ROBERT E                      4217 MOUNDS RD                                                                                ANDERSON          IN   46017‐1836
OWENS JR, RONNIE                        598 STULL AVE APT 2                                                                           GIRARD            OH   44420
OWENS JR, ROY A                         4079 CHALFONTE DR                                                                             DAYTON            OH   45440‐3218
OWENS JR, THOMAS M                      PO BOX 180362                                                                                 ARLINGTON         TX   76096‐0362
OWENS JR, WILL                          PO BOX 372                                                                                    CALUMET CITY      IL   60409
OWENS JR., PENCY W                      PO BOX 602                                                                                    ZEPHYRHILLS       FL   33539‐0602
OWENS JUDYANN WARNER                    PO BOX 934                                                                                    FRAZIER PARK      CA   93225‐0934
OWENS KATHLEEN                          OWENS, KATHLEEN                  30 E BUTLER AVE                                              AMBLER            PA   19002‐4514
OWENS LAURA                             OWENS, LAURA                     9369 SHERIDAN STREET SUITE 656                               HOLLYWOOD         FL   33024
OWENS LESLIE T (429573)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                                         STREET, SUITE 600
OWENS LINDA                             OWENS, LINDA                     503 CANTON RD                                                AKRON             OH 44312‐1647
OWENS MYRON V (626696)                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510
                                                                         STREET, SUITE 600
OWENS NATHAN (491267)                   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD        OH 44067
                                                                         PROFESSIONAL BLDG
OWENS OTTO                              OWENS, OTTO                      PO BOX 8542                                                  SPRINGFIELD       MO   63801‐8542
OWENS PATRICK                           OWENS, PATRICK                   103 BRADY RUN ROAD                                           BRANDON           MS   39047
OWENS PHIL                              3747 BAYBROOK LN                                                                              TOLEDO            OH   43623‐2204
OWENS RAY                               DBA OWENS SERVICE CO             8376 FM 3396                                                 KEMP              TX   75143
OWENS RICHARD C (494068)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                                         STREET, SUITE 600
OWENS RONALD LEE (657156)               BRAYTON PURCELL                  PO BOX 6169                                                  NOVATO            CA 94948‐6169
OWENS SUSAN                             2600 HESTON ROAD                                                                              VIRGINIA BCH      VA 23451‐1706
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Name                         Address1                           Address2                        Address3   Address4         City               State Zip
OWENS TASHA                  OWENS, TASHA                       120 WEST MADISON STREET 10TH                                CHICAGO              IL 60602
                                                                FLOOR
OWENS TECHNICAL COLLEGE      CONTROLLERS OFFICE                                                                             TOLEDO             OH 43699
OWENS TOMMY M (626697)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                STREET, SUITE 600
OWENS WALTER L JR (401530)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                STREET, SUITE 600
OWENS WESLEY H & DOROTHY I   8062 HIGHLAND AVE SW                                                                           WARREN             OH 44481‐8616
OWENS WILBERT (490912)       BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                PROFESSIONAL BLDG
OWENS, AARON C               4909 EATON LEWISBURG RD                                                                        LEWISBURG          OH   45338‐9777
OWENS, ADISON                25460 CATALINA ST                                                                              SOUTHFIELD         MI   48075‐1791
OWENS, AIDA                  38189 CORBETT DR                                                                               STERLING HEIGHTS   MI   48312‐1254
OWENS, ALAN S                3117 W WILLIAMS DR                                                                             PHOENIX            AZ   85027‐1617
OWENS, ALDA M                607 EDGEWATER DR                   SPRING CHASE                                                SALISBURY          MD   21804‐8605
OWENS, ALFRED C              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
OWENS, ALFRED N              5214 KERMIT STREET                                                                             FLINT              MI   48505‐2504
OWENS, ALICE                 1502 SYCAMORE DR                                                                               FORT WAYNE         IN   46825‐4733
OWENS, ALICE                 1502 SCYAMORE DR                                                                               FT WAYNE           IN   46825
OWENS, ALICE M               333 LAKE HOWARD DRIVE              112‐B                                                       WINTER HAVEN       FL   33880
OWENS, ALLIE B               5158 TILLMAN ST                                                                                DETROIT            MI   48208‐1942
OWENS, ALLIE B               5158 TILLMAN                                                                                   DETROIT            MI   48208‐1942
OWENS, ALMA M                2212 MADISON AVE                                                                               NORWOOD            OH   45212‐3225
OWENS, AMY B                 174B S MORAINE VIEW PKWY APT 204                                                               WHITEWATER         WI   53190
OWENS, ANDREW                19941 EVERGREEN RD                                                                             DETROIT            MI   48219‐2004
OWENS, ANGELYN               1023 HUNTERS MOUNTAIN PKWY                                                                     TROY               AL   36079‐5868
OWENS, ANN                   55 SHOALS AVE                                                                                  KILLEN             AL   35645‐9243
OWENS, ANN DOROTHY H         16356 SE WIDGEON CT                                                                            DAMASCUS           OR   97089‐6810
OWENS, ANN O                 373 THIRD ST. S.W.                                                                             WARREN             OH   44483‐6415
OWENS, ANN O                 373 3RD ST SW                                                                                  WARREN             OH   44483‐6415
OWENS, ANNA B                2101 TREASURE HILLS BLVD           APT 510                                                     HARLIMGEN          TX   78550
OWENS, ANNAMAE V             2857 LEIBY OSBORNE RD                                                                          SOUTHINGTON        OH   44470‐9502
OWENS, BARBARA               COOK YSURSA BARTHOLOMEW BRAUER &   12 W LINCOLN ST                                             BELLEVILLE         IL   62220‐2085
                             SHEVLIN LTD
OWENS, BARBARA               SIMMONSCOOPER                      PO BOX 521                                                  EAST ALTON         IL   62024‐0519
OWENS, BARBARA J             10675 6TH ST                                                                                   LEIGHTON           AL   35646‐3441
OWENS, BARBARA JOHNSON       10675 6TH ST                                                                                   LEIGHTON           AL   35646‐3441
OWENS, BARBARA W             1507 HOMEWOOD AVE SE                                                                           WARREN             OH   44484‐4912
OWENS, BARBARA W             1507 HOMEWOOD S.E.                                                                             WARREN             OH   44484‐4912
OWENS, BARRY A               5744 E 18TH ST                                                                                 INDIANAPOLIS       IN   46218‐5060
OWENS, BENJAMIN L            6988 MCKEAN RD LOT 74                                                                          YPSILANTI          MI   48197‐9785
OWENS, BENNIE L              1810 N ALABAMA ST                                                                              INDIANAPOLIS       IN   46202‐1507
OWENS, BERNARD               8352 MAYFAIR PL                                                                                SAINT LOUIS        MO   63136
OWENS, BERNICE               1305 CHATHAM DR                                                                                FLINT              MI   48505‐2585
OWENS, BERNICE M             3900 HAMMERBERG RD APT 308                                                                     FLINT              MI   48507‐6026
OWENS, BERT                  920 DOVER AVE                                                                                  WILMINGTON         DE   19805‐2506
OWENS, BETTY C               12003 104TH CT                                                                                 LARGO              FL   33778‐3524
OWENS, BETTY J               7350 E BOWERS LAKE RD                                                                          MILTON             WI   53563‐9739
OWENS, BETTY L               1772 WOODCREST RD                                                                              COLUMBUS           OH   43232‐2761
OWENS, BEVERLY A             223 WESTCHESTER BLVD                                                                           NOBLESVILLE        IN   46062‐7497
OWENS, BILLIE C              202 MADISON LN                                                                                 FOLEY              AL   36535‐2906
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OWENS, BILLY J        77 WILLOWBROOK ST                                                                                DECATUR            AL 35603‐6204
OWENS, BIRTIE M       13423 N 111TH AVE                                                                                SUN CITY           AZ 85351‐2512
OWENS, BOBBY G        PO BOX 472                                                                                       OAKWOOD            OH 45873‐0472
OWENS, BONITA K       2558 RIDGE RD                                                                                    XENIA              OH 45385‐7502
OWENS, BONNA‐VEAR M   1233 94TH ST                                                                                     NIAGARA FALLS      NY 14304‐2610
OWENS, BRENDA         PO BOX 292895                                                                                    KETTERING          OH 45429‐8895
OWENS, BRENDA         1254 26TH ST #B                                                                                  SANTA MONICA       CA 90404‐1404
OWENS, BRENDA J       5507 THORNHAM DR                                                                                 COLUMBUS           OH 43228‐4566
OWENS, BRENDA J       9495 S HURON RIVER DR                                                                            YPSILANTI          MI 48197‐6934
OWENS, BRENDA K       1414 W HOME AVE                                                                                  FLINT              MI 48505‐2532
OWENS, BRION T        4035 HILL DR APT 105                                                                             SHELBY TOWNSHIP    MI 48317‐4809
OWENS, BRUCE E        1115 MOSS RD                                                                                     MOSCOW             TN 38057‐7143
OWENS, BRYAN F        5480 HAM RICHMOND RD                                                                             HAMILTON           OH 45013
OWENS, BUFORD S       34993 CURRIER ST                                                                                 WAYNE              MI 48184‐2394
OWENS, BUMMEL         4471 FULTON RD                                                                                   CLEVELAND          OH 44144‐2930
OWENS, CANEY          GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH         PA 15219

OWENS, CANEY          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                 SAGINAW           MI 48604‐2602
                                                          260
OWENS, CARL G         13420 GUY ST                                                                                     DEFIANCE          OH   43512‐8750
OWENS, CARMEN M       1041 W HURON RIVER DR                                                                            BELLEVILLE        MI   48111‐4299
OWENS, CAROL E        5414 KEEPORT DR APT 5                                                                            PITTSBURGH        PA   15236‐3040
OWENS, CAROLYN        969 RAMPART PL                                                                                   STONE MOUNTAIN    GA   30088‐2519
OWENS, CAROLYN M      2117 N NAIL PKWY                                                                                 MOORE             OK   73160‐4528
OWENS, CEDRIC A       20233 PATTON ST                                                                                  DETROIT           MI   48219‐1429
OWENS, CHARLES        SWEENEY ROBERT E CO                 1500 ILLUMINATING BLDG, 55                                   CLEVELAND         OH   44113
                                                          PUBLIC SQUARE
OWENS, CHARLES C      1610 HOLMES DR SW                                                                                CONYERS           GA   30094‐4810
OWENS, CHARLES C      213 AUGUSTA DR APT 1                                                                             SYRACUSE          NY   13212‐3260
OWENS, CHARLES E      2210 VICTORIA DR SW                                                                              DECATUR           AL   35603‐1820
OWENS, CHARLES F      221 GLENVIEW TRL                                                                                 GRIFFIN           GA   30224‐7625
OWENS, CHARLES W      7174 JOHNSON RD                                                                                  FLUSHING          MI   48433‐9048
OWENS, CHARLEY O      10257 BAYRIDGE RD                                                                                MINERAL POINT     MO   63660‐8558
OWENS, CHARLIE W      512 E AVONDALE RD                                                                                WEST GROVE        PA   19390‐9704
OWENS, CHARLOTTE V    16141 MUIRLAND ST                                                                                DETROIT           MI   48221‐3010
OWENS, CHERI ANN      8091 VANTINE RD                                                                                  GOODRICH          MI   48438‐9422
OWENS, CHERYL D       1507 HOMEWOOD AVE SE                                                                             WARREN            OH   44484‐4912
OWENS, CHONG          556 HARRY S TRUMAN DR                                                                            UPPER MARLBORO    MD   20774
OWENS, CHRIS C        9008 GREY POINTE CT                                                                              BRENTWOOD         TN   37027‐8141
OWENS, CHRIS C.       9008 GREY POINTE CT                                                                              BRENTWOOD         TN   37027‐8141
OWENS, CHRIS F        1520 WALKER LAKE RD                                                                              MANSFIELD         OH   44906‐1824
OWENS, CLARA L        1114 E VIENNA RD                                                                                 CLIO              MI   48420‐1835
OWENS, CLARENCE E     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                          STREET, SUITE 600
OWENS, CLAUDE E       542 RED BUD CIR                                                                                  WEST CARROLLTON   OH   45449‐1721
OWENS, CLEVELAND L    310 W 31ST ST 2                                                                                  RICHMOND          VA   23225
OWENS, COLLINS        16110 JUDSON DR                                                                                  CLEVELAND         OH   44128‐2158
OWENS, CRAIG          1402 W HOME AVE                                                                                  FLINT             MI   48505‐2532
OWENS, CRYSTAL V      5206 S NEW COLUMBUS RD                                                                           ANDERSON          IN   46013‐9568
OWENS, CURNETUS       1401 N ROMINE ST                                                                                 URBANA            IL   61801‐1335
OWENS, CURTIS         C/O THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD          SUITE 44                    CORAL GABLES      FL   33146
OWENS, CURTIS D       4783 PETTIBONE AVE                                                                               SAGINAW           MI   48601‐6666
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Name                   Address1                           Address2                         Address3   Address4         City             State Zip
OWENS, CURTIS E        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510‐2212
                                                          STREET, SUITE 600
OWENS, CURTIS L        6049 SHADOW PINES CT                                                                            HOWELL           MI   48843‐7188
OWENS, CYNTHIA L       909 SHROYER RD                                                                                  DAYTON           OH   45419‐3633
OWENS, D B             2901 S VICTORIA LN DR                                                                           BLUE SPRINGS     MO   64015‐7308
OWENS, DAISY L         2940 WINGATE AVE                                                                                AKRON            OH   44314‐1069
OWENS, DANIEL L        633 FRENCHTOWN RD                                                                               ARGYLE           TX   76226‐6811
OWENS, DARREN J        2142 ARMSTRONG RD                                                                               MOUNT MORRIS     MI   48458‐2619
OWENS, DAVID           LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                      MIAMI            FL   33143‐5163
OWENS, DAVID           PORTER & MALOUF PA                 4670 MCWILLIE DR                                             JACKSON          MS   39206‐5621
OWENS, DAVID           PRITCHARD MCCALL JONES SPENCER &   901 BROWN‐MARX BUILDING                                      BIRMINGHAM       AL   35203
                       O'KELLEY
OWENS, DAVID L         2609 NW 4TH ST                                                                                  BLUE SPRINGS     MO   64014‐1215
OWENS, DAVID L         3969 BROWN RD                                                                                   VASSAR           MI   48768‐9251
OWENS, DAVID LEE       3969 BROWN RD                                                                                   VASSAR           MI   48768‐9251
OWENS, DAVID M         135 LAUREL LANE                                                                                 MOUNT CARMEL     PA   17851‐1235
OWENS, DAVID R         1767 GREENBRIAR DR                                                                              PORTAGE          MI   49024‐5771
OWENS, DAVID T         2730 OLD COUNTRY CLUB RD                                                                        PEARL            MS   39208‐5820
OWENS, DEBORAH S       396 CIRCUIT LN UNIT F                                                                           NEWPORT NEWS     VA   23608‐2925
OWENS, DEBRA           ABERNATHY, GISELLE                 1134 KING STREET 2ND FLOOR BOX                               CHRISTIANSTED    VI   00822
                                                          PO
OWENS, DEBRA A         56 PAGETT DR                                                                                    GERMANTOWN       OH   45327‐9308
OWENS, DEBRA A         2208 W MCCLELLAN ST                                                                             FLINT            MI   48504‐2551
OWENS, DEBRA E         1752 FOREST GREEN RD                                                                            SOUTHSIDE        AL   35907‐5739
OWENS, DENNY L         2558 RIDGE RD                                                                                   XENIA            OH   45385‐7502
OWENS, DERRICK L       2560 ANNCHESTER DR SE                                                                           GRAND RAPIIDS    MI   49506‐5415
OWENS, DERRICK L       223 WOODLAND AVE                                                                                COLUMBUS         OH   43203‐1741
OWENS, DESSIE MAE      C/O MOODY                          801 WEST FOURTH ST                                           LITTLE ROCK      AR   72201
OWENS, DEWEY           237 CROSBY DR                                                                                   INDIANAPOLIS     IN   46227‐2805
OWENS, DIANA M         305 COKE DR APT 3A                                                                              MONTROSE         MI   48457‐9422
OWENS, DIONE Y         1535 CANFIELD AVE                                                                               DAYTON           OH   45406‐4208
OWENS, DIONE YUVETTE   1535 CANFIELD AVE                                                                               DAYTON           OH   45406‐4208
OWENS, DON E           3317 RIDGEHAVEN ST                                                                              IRVING           TX   75062‐4116
OWENS, DONALD          6601 FOUNTAIN SPRINGS BLVD                                                                      INDIANAPOLIS     IN   46236‐7216
OWENS, DONALD A        753 N COUNTY ROAD 25A                                                                           TROY             OH   45373‐1311
OWENS, DONALD E        2815 MARSHA DR                                                                                  ANDERSON         IN   46012‐9640
OWENS, DONALD F        28 W STATE ST APT 15                                                                            COLDWATER        MI   49036‐1083
OWENS, DONALD J        23 CRESTWOOD DR                                                                                 MIDDLETOWN       IN   47356‐9315
OWENS, DONALD R        2640 W WINSTON DR                                                                               CRAWFORDSVILLE   IN   47933‐8669
OWENS, DONNA A         PO BOX 531                                                                                      BOLTON           MS   39041‐0531
OWENS, DONNA L         346 S EAST ST                                                                                   PENDLETON        IN   46064‐1214
OWENS, DONNA L         346 S EAST                                                                                      ST PENDLETON     IN   46064
OWENS, DONNIE E        3415 DEBRA DR                                                                                   ANDERSON         IN   46012‐9624
OWENS, DONNIE G        1403 MEADOW BRIDGE DR                                                                           DAYTON           OH   45432‐2604
OWENS, DOROTHY         576 PEARSALL AVE                                                                                PONTIAC          MI   48341‐2663
OWENS, DOROTHY         576 PEARSALL                                                                                    PONTIAC          MI   48341‐2663
OWENS, DOROTHY M       4676 NORWAY DR.                                                                                 JACKSON          MS   39206‐9206
OWENS, DOROTHY M       4676 NORWAY DR                                                                                  JACKSON          MS   39206‐3356
OWENS, DOROTHY R.      8807 N TIMOTHY LN                                                                               FOUNTAINTOWN     IN   46130‐9740
OWENS, DOYLE D         440 BROOKHOLLOW DR                                                                              OXFORD           MI   48371‐6144
OWENS, DOYLE M         107 BATHURST LN                                                                                 SIMPSONVILLE     SC   29681‐4684
OWENS, DUANE M         16110 JUDSON DR                                                                                 CLEVELAND        OH   44128‐2158
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Name                    Address1                         Address2          Address3         Address4         City            State Zip
OWENS, DUANE MICHAEL    16110 JUDSON DR                                                                      CLEVELAND        OH 44128‐2158
OWENS, EDDIE M          22 N ROSELAWN ST                                                                     PONTIAC          MI 48342‐2772
OWENS, EDGAR H          193 E CANNONSVILLE RD                                                                STANTON          MI 48888‐9431
OWENS, EDNA E           15 FAIRHAVEN DR NW                                                                   ROME             GA 30165
OWENS, EDWARD J         3261 HOTTIS RD                                                                       HALE             MI 48739‐9252
OWENS, EDWARD J         5952 BRIGHAM RD                                                                      GOODRICH         MI 48438‐9646
OWENS, ELBERT V         4908 OLD EDGAR RD                                                                    SOPHIA           NC 27350‐9205
OWENS, ELDON J          1623A TOWNSHIP ROAD 1323                                                             ASHLAND          OH 44805‐9266
OWENS, ELEANOR J        3145 W. MT HOPE AVE.RM29                                                             LANSING          MI 48911
OWENS, ELIZABETH        432 WISHBONE CIR                                                                     HEDGESVILLE      WV 25427‐5458
OWENS, ELIZABETH L      5451 CLUBOK DR                                                                       FLINT            MI 48505‐1030
OWENS, ELIZABETH R      2839 WINSTEAD DR                                                                     TITUSVILLE       FL 32796‐1961
OWENS, ELLA             19036 HUNTINGTON AVE                                                                 HARPER WOODS     MI 48225
OWENS, ELLA M           105 ROBERTS ST                                                                       BELLE VERNON     PA 15012‐2041
OWENS, ELLA W           4720 KATHYLEE CT                                                                     DAYTON           OH 45416‐1629
OWENS, ELLEN            693 HATCHERY RD                                                                      DOVER            DE 19901‐1508
OWENS, ELOISE           124 N TRANSIT RD                                                                     LOCKPORT         NY 14094‐1416
OWENS, ELSIE N          4059 BENSON AVE N                                                                    ST PETERSBURG    FL 33713‐2248
OWENS, ELVEN M          2881 PLANET DRIVE                                                                    SAGINAW          MI 48601‐7027
OWENS, EMMA L           13071 WILSHIRE                                                                       DETROIT          MI 48213‐1975
OWENS, ERIC             THOMPSON DAVID G                 PO BOX 40                                           PINEVILLE        WV 24874‐0040
OWENS, ERNEST W         11679 SAGEWOOD DR                                                                    MOORPARK         CA 93021‐3729
OWENS, ERVIN            1355 WAGON WHEEL LN                                                                  GRAND BLANC      MI 48439‐4863
OWENS, ESSIE L          17551 WOODINGHAM DR                                                                  DETROIT          MI 48221‐2558
OWENS, ETHEL            160 JONQUIL ST                                                                       DAYTON           OH 45427‐1742
OWENS, ETHELDRA L       7 ARNETT BOULEVARD                                                                   ROCHESTER        NY 14611‐3501
OWENS, ETHELDRA L       7 ARNETT BLVD                                                                        ROCHESTER        NY 14611‐3501
OWENS, EUNICE M         786 MARTHA DR                                                                        FRANKLIN         OH 45005‐2020
OWENS, EUNICE M         786 MARTHA DRIVE                                                                     FRANKLIN         OH 45005‐2020
OWENS, EVELYN V         2030 PIERCE ST                                                                       FLINT            MI 48503‐2831
OWENS, EVERETT          3335 N SHERMAN DR                                                                    INDIANAPOLIS     IN 46218‐2104
OWENS, EVERETT          3866 N SHERMAN DR                                                                    INDIANAPOLIS     IN 46226
OWENS, EVERETT L        3540 FOLTZ ST                                                                        INDIANAPOLIS     IN 46221‐2400
OWENS, FALICE A         1150 TRAILS EDGE DR                                                                  HUBBARD          OH 44425‐3359
OWENS, FANNIE B         3072 E STATE ROUTE 73                                                                WAYNESVILLE      OH 45068‐8741
OWENS, FANNIE B         3072 E ST RT 73                                                                      WAYNESVILLE      OH 45068‐8741
OWENS, FERRELL R        6262 BAIN BLVD                                                                       KEITHVILLE       LA 71047‐7960
OWENS, FERRELL ROSTEN   6262 BAIN BLVD                                                                       KEITHVILLE       LA 71047‐7960
OWENS, FLORA M          275 CARRIAGE CT                                                                      FRANKLIN         IN 46131‐8832
OWENS, FLORA M          275 CARRIAGE COURT                                                                   FRANKLIN         IN 46131
OWENS, FLOYD W          31469 CARLISLE PKWY                                                                  WAYNE            MI 48184‐1938
OWENS, FRANCES          7135 COLONIAL DR                                                                     NIAGARA FALLS    NY 14305‐1460
OWENS, FRANCES S        PO BOX 71                                                                            HILLSBORO        AL 35643‐0071
OWENS, FRANCES W        615 S WAYNE ST                                                                       ALEXANDRIA       IN 46001‐2443
OWENS, FRANK E          1429 LYNNWOOD DRIVE                                                                  ANDERSON         IN 46012‐5403
OWENS, FRANK EUGENE     1429 LYNNWOOD DRIVE                                                                  ANDERSON         IN 46012‐5403
OWENS, FRANK N          4228 BUCHANAN AVE SW                                                                 GRAND RAPIDS     MI 49548‐3152
OWENS, FRANKLIN D       3942 GOLFLINKS DRIVE NORTHWEST                                                       ACWORTH          GA 30101‐3892
OWENS, FRED             COON BRENT W                     PO BOX 4905                                         BEAUMONT         TX 77704‐4905
OWENS, FRED             706 S OAKLEY BLVD                                                                    CHICAGO           IL 60612‐3511
OWENS, FRED D           2440‐12 HUNTER AVENUE                                                                BRONX            NY 10475
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Name                     Address1                        Address2                        Address3    Address4         City            State Zip
OWENS, FREDERICK J       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                         STREET, SUITE 600
OWENS, GARY B            4225 HAYES ST                                                                                WAYNE           MI   48184‐2221
OWENS, GARY D            30754 WOODMONT DR                                                                            MADISON HTS     MI   48071‐5236
OWENS, GARY L            26541 W DEER PATH                                                                            CHANNAHON       IL   60410‐8765
OWENS, GARY L            1787 MANOR DR                                                                                SOUTH BELOIT    IL   61080‐9241
OWENS, GARY L            1016 OAT LN                                                                                  BUCKNER         MO   64016‐9403
OWENS, GARY L            27416 SELKIRK ST                                                                             SOUTHFIELD      MI   48076‐5145
OWENS, GARY M            1415 HIRA ST                                                                                 WATERFORD       MI   48328‐1521
OWENS, GARY W            13120 GRANT CIR                                                                              CLIO            MI   48420‐8100
OWENS, GARY W            14351 DUFFIELD RD                                                                            BYRON           MI   48418‐9037
OWENS, GARY W            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA   23510‐2212
                                                         STREET, SUITE 600
OWENS, GENEVA A          278 SUNSET BLVD.                                                                             GREENWOOD       IN   46142‐3916
OWENS, GEORGE            642 DEANNA DR                                                                                LAPEER          MI   48446‐3320
OWENS, GEORGE            3728 S DEERFIELD AVE                                                                         LANSING         MI   48911‐2317
OWENS, GEORGE            11469 BALFOUR RD                                                                             DETROIT         MI   48224‐1190
OWENS, GEORGE A          4550 KNOTTY OAKS DRIVE                                                                       MEMPHIS         TN   38141‐7622
OWENS, GEORGE L          6117 PENWOOD RD                                                                              MOUNT MORRIS    MI   48458‐2731
OWENS, GEORGE M          180 WOODLAND DR                                                                              CROMWELL        CT   06416‐1162
OWENS, GEORGE S          9080 OPOSSUM RUN RD                                                                          LONDON          OH   43140‐8628
OWENS, GEORGIA L         5745 CRABAPPLE WAY DR                                                                        MILFORD         OH   45150‐2551
OWENS, GERALD            GERALD OWENS                    N US HIGHWAY 41, LOT 79                                      LUTZ            FL   33549
OWENS, GERALD D          2200 ADAMS AVE                                                                               NORWOOD         OH   45212‐3209
OWENS, GERALD E          LOT 79A                         18118 NORTH US HIGHWAY 41                                    LUTZ            FL   33549‐4450
OWENS, GERALD E          18118 N US HIGHWAY 41 LOT 79A                                                                LUTZ            FL   33549‐4450
OWENS, GERALD EUGENE     LOT 79A                         18118 NORTH US HIGHWAY 41                                    LUTZ            FL   33549‐4450
OWENS, GERALD L          805 NW OXFORD DR                                                                             BLUE SPRINGS    MO   64015‐2866
OWENS, GERALDINE G       8285 S QUARTER MOON DR                                                                       PENDLETON       IN   46064‐8641
OWENS, GERTRUDE L        1194 S MIAMI ST                                                                              WEST MILTON     OH   45383‐1219
OWENS, GERTRUDE L        1194 MIAMI ST                                                                                WEST MILTON     OH   45383‐1219
OWENS, GLADYS            8733 TRAVERSE ST                                                                             DETROIT         MI   48213‐1159
OWENS, GLENDA F          431 ROBINSON RD.                                                                             CYNTHIANA       KY   41031
OWENS, GLENN A           20 CLERTOMA DR                                                                               MILFORD         OH   45150‐1606
OWENS, GRADY L           529 WINWOOD CIR                                                                              WALLED LAKE     MI   48390‐3575
OWENS, GREGORY S         1041 W HURON RIVER DR                                                                        BELLEVILLE      MI   48111‐4299
OWENS, GREGORY W         PO BOX 352123                                                                                TOLEDO          OH   43635‐2123
OWENS, HAROLD            SIMMONS LAW FIRM                PO BOX 521                                                   EAST ALTON      IL   62024‐0519
OWENS, HAROLD B          1820 W HOUGHTON LAKE RD                                                                      LAKE CITY       MI   49651‐9794
OWENS, HAROLD C          C/O TERRY K SULLIVAN            10 N CALVERT STREET SUITE 200                                BALTIMORE       MD   21206
OWENS, HAROLD C          10 N CALVERT ST STE 200         C/O TERRY K SULLIVAN                                         BALTIMORE       MD   21202‐1833
OWENS, HARRY A           8757 ORANGELAWN ST                                                                           DETROIT         MI   48204‐2580
OWENS, HARRY M           1240 RIDENOUR BLVD NW                                                                        KENNESAW        GA   30152
OWENS, HARRY N           5125 DYEMEADOW CT                                                                            FLINT           MI   48532‐2313
OWENS, HARVEL A          1193 HILLCREST CROSSNG E                                                                     MOBILE          AL   36695
OWENS, HAZEL L           100 W MCCREIGHT AVE                                                                          SPRINGFIELD     OH   45504
OWENS, HAZEL W           20233 PATTON ST                                                                              DETROIT         MI   48219‐1429
OWENS, HAZEL WILKERSON   20233 PATTON ST                                                                              DETROIT         MI   48219‐1429
OWENS, HAZZIE J          4550 NUTTY OAK DR                                                                            MEMPHIS         TN   38141
OWENS, HELEN             23012 N 146TH LN                                                                             SUN CITY WEST   AZ   85375‐2773
OWENS, HELEN P           2210 RED BUD CIR                                                                             EVANSVILLE      IN   47714‐4226
OWENS, HENRY             C/O THE RAWLINGS COMPANY        ATTN: MARIA IGLESIAS            PO BOX 49                    LAGRANGE        KY   40031‐0049
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Name                    Address1                            Address2                        Address3   Address4         City                State Zip
OWENS, HENRY            103 BRANDY RUN RD                                                                               BRANDON              MS 39047‐6645
OWENS, HENRY A          3438 E 103RD ST                                                                                 CLEVELAND            OH 44104‐5625
OWENS, HENRY E          5231 BROMWICK DR                                                                                TROTWOOD             OH 45426‐1909
OWENS, HENRY EDWARD     5231 BROMWICK DR                                                                                TROTWOOD             OH 45426‐1909
OWENS, HERBERT          PETERS MURDAUGH PARKER ELTZROTH &   PO BOX 457                                                  HAMPTON              SC 29924‐0457
                        DETRICK
OWENS, HERBERT A        2028 OAKRIDGE DR                                                                                DAYTON              OH   45417‐2344
OWENS, HERBERT H        16136 WHITCOMB ST                                                                               DETROIT             MI   48235‐3856
OWENS, HERBERT JR       996 BEST LOOP                                                                                   ALLENDALE           SC   29810
OWENS, HERBERT W        262 GREAT PINES DR                                                                              OXFORD              MI   48371‐3457
OWENS, HERCHEL E        95 N EDITH ST                                                                                   PONTIAC             MI   48342‐2936
OWENS, HOMER D          110 STONEGATE CT                                                                                BEDFORD             IN   47421‐6705
OWENS, HOWARD C         4519 WALBRIDGE TRL                                                                              DAYTON              OH   45430‐1832
OWENS, HOWARD E         6070 OAKBROOK LN                                                                                INDIANAPOLIS        IN   46254‐1126
OWENS, HOWARD L         115 ROGUE RIVER HWY APT 309                                                                     GRANTS PASS         OR   97527‐5483
OWENS, HUGH A           346 S EAST ST                                                                                   PENDLETON           IN   46064‐1214
OWENS, IDA E            2076 NEDRA                                                                                      FLINT               MI   48532‐5138
OWENS, IDA E            2076 NEDRA ST                                                                                   FLINT               MI   48532‐5138
OWENS, IDA F            815 N EAGLE RD RM 207                                                                           EAGLE               ID   83616‐5758
OWENS, IDA L            18062 WILDEMERE                                                                                 DETROIT             MI   48221‐2729
OWENS, IDA M            295 REED ST                                                                                     BUFFALO             NY   14211‐3260
OWENS, IRA D            610 COLEMAN AVE                                                                                 POTOSI              MO   63664‐1140
OWENS, IRA L            1620 MESCALERO APT II                                                                           EL PASO             TX   79925
OWENS, IVARNA BRIDGET   KIMMEL & SILVERMAN PC               1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL         NJ   08003
OWENS, IVELLA S         759 BASSWOOD RD                                                                                 COLUMBUS            OH   43207‐3947
OWENS, JACK D           1 TOWERS PARK LN APT 1005                                                                       SAN ANTONIO         TX   78209‐6435
OWENS, JACK R           44149 PROVIDENCE DR                                                                             CLINTON TOWNSHIP    MI   48038‐1052
OWENS, JACKIE R         364 TOPAZ AVENUE                                                                                MANSFIELD           OH   44907‐1462
OWENS, JACQUELINE E     15440 STAHELIN                                                                                  DETROIT             MI   48223‐2225
OWENS, JAMES            5157 ROSEWOOD PL                                                                                FAIRBURN            GA   30213‐5110
OWENS, JAMES A          2142 WHITTIER ST                                                                                SAGINAW             MI   48601‐2264
OWENS, JAMES A          651 RILEY ST                                                                                    BUFFALO             NY   14211‐1221
OWENS, JAMES A          1875 S GRAHAM RD                                                                                SAGINAW             MI   48609‐9459
OWENS, JAMES A          19777 RUTHERFORD ST                                                                             DETROIT             MI   48235‐2351
OWENS, JAMES A          1984 OLIVESBURG RD                                                                              MANSFIELD           OH   44903‐9745
OWENS, JAMES C          117 GARMON SUTHERLAND ST                                                                        HAYSI               VA   24256‐5208
OWENS, JAMES C          505 PIERSON ST                                                                                  EXCELSIOR SPRINGS   MO   64024‐1216
OWENS, JAMES C          5505 HIGHWAY 472                                                                                MANCHESTER          KY   40962‐4944
OWENS, JAMES C          827 HARVEST RIDGE DR                                                                            AVON                IN   46123‐7941
OWENS, JAMES CURTIS     827 HARVEST RIDGE DR                                                                            AVON                IN   46123‐7941
OWENS, JAMES D          872 CLOYDS CHURCH RD                                                                            GREENBACK           TN   37742‐3022
OWENS, JAMES D          381 CHERRYWOOD DRIVE                                                                            FAIRBORN            OH   45324‐4012
OWENS, JAMES E          10119 WELLINGTON DR                                                                             CLARKSTON           MI   48348‐1556
OWENS, JAMES E          5574 NORQUEST BLVD                                                                              YOUNGSTOWN          OH   44515‐1939
OWENS, JAMES E          3912 HOLLETTS CORNER RD                                                                         CLAYTON             DE   19938‐3143
OWENS, JAMES E          24680 LARGES DR                                                                                 SOUTHFIELD          MI   48033‐3220
OWENS, JAMES E          7179 MANLIUS CENTER RD                                                                          EAST SYRACUSE       NY   13057‐9534
OWENS, JAMES E          25005 CHERNICK ST                                                                               TAYLOR              MI   48180‐2005
OWENS, JAMES E          2120 KINGSWOOD DR                                                                               FLINT               MI   48507‐3525
OWENS, JAMES E.         2120 KINGSWOOD DR                                                                               FLINT               MI   48507‐3525
OWENS, JAMES EDWARD     3912 HOLLETTS CORNER RD                                                                         CLAYTON             DE   19938‐3143
OWENS, JAMES EDWARD     24680 LARGES DR                                                                                 SOUTHFIELD          MI   48033‐3220
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Name               Address1                            Address2                       Address3   Address4         City                State Zip
OWENS, JAMES F     5801 THOMAS DR UNIT 426                                                                        PANAMA CITY BEACH    FL 32408‐6721
OWENS, JAMES F     4812 FRANLOU AVE                                                                               DAYTON               OH 45432‐3118
OWENS, JAMES H     18054 STRASBURG ST                                                                             DETROIT              MI 48205‐2629
OWENS, JAMES K     4245 PLATT AVE                                                                                 LYNWOOD              CA 90262‐3820
OWENS, JAMES L     10545 GODDARD ST APT 341                                                                       OVERLAND PARK        KS 66214‐3714
OWENS, JAMES L     8113 N MERIDIAN RD                                                                             HUNTINGTON           IN 46750‐9650
OWENS, JAMES L     841 S MAIN ST APT A                                                                            FRANKLIN             OH 45005‐2847
OWENS, JAMES L     522 TIMBERMILL LN                                                                              HOWELL               MI 48843‐7010
OWENS, JAMES M     26461 W PONTIAC DR                                                                             BUCKEYE              AZ 85396‐9249
OWENS, JAMES M     1056 NORTH IOWA STREET                                                                         OLATHE               KS 66061‐6310
OWENS, JAMES M     719 WATCH POINT DR                                                                             CINCINNATI           OH 45230‐3737
OWENS, JAMES R     3691 S BELL CREEK RD                                                                           YORKTOWN             IN 47396‐9585
OWENS, JAMES W     18044 FREELAND                                                                                 DETROIT              MI 48235‐2571
OWENS, JANET L     742 SPENCER LANE                                                                               LINDEN               MI 48451‐8507
OWENS, JANET L     742 SPENCER LN                                                                                 LINDEN               MI 48451‐8507
OWENS, JANET L     440 BROOKHOLLOW DR                                                                             OXFORD               MI 48371‐6144
OWENS, JANET M     1340 GAHAN DR                                                                                  FLORISSANT           MO 63031‐7808
OWENS, JANET M     1340 GAHAN DRIVE                                                                               FLORISSANT           MO 63031‐7808
OWENS, JANETTE M   33511 FLORENCE ST                                                                              GARDEN CITY          MI 48135‐1097
OWENS, JANICE L    106 CAMPGROUND RD                                                                              LAKE CITY            TN 37769‐5126
OWENS, JANICE S    54 MADDOX RD                                                                                   PIEDMONT             AL 36272‐6380
OWENS, JASMIN      3318 ASH DR APT 11308                                                                          ORION                MI 48359‐1067
OWENS, JEAN M      557 UPPER PIKE CREEK RD                                                                        NEWARK               DE 19711‐4338
OWENS, JEANNIE
OWENS, JEFFREY L   8091 VANTINE RD                                                                                GOODRICH            MI   48438‐9422
OWENS, JERRY       8059 TUBSPRING RD                                                                              ALMONT              MI   48003‐8220
OWENS, JERRY L     2248 CECIL AVE                                                                                 BALTIMORE           MD   21218‐6304
OWENS, JERRY L     1206 PENDLE HILL AVE                                                                           PENDLETON           IN   46064‐9124
OWENS, JERRY W     6204 BELFRY WAY                                                                                INDIANAPOLIS        IN   46237‐3564
OWENS, JESS J      2382 FARRAND RD                                                                                CLIO                MI   48420
OWENS, JESSE       7544 LATHROP AVE                                                                               KANSAS CITY         KS   66109‐1653
OWENS, JESSE       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW             MI   48604‐2602
                                                       260
OWENS, JESSE J     3154 W ELLIS RD                                                                                GRIFFIN             GA   30223‐6814
OWENS, JESSE L     21 WOODS RD                                                                                    INDIANOLA           MS   38751‐2634
OWENS, JESSIE M    4019 ASHBOURNE LN                                                                              INDIANAPOLIS        IN   46226‐3018
OWENS, JESSIE M    2440 12 HUNTER AVENUE                                                                          BRONX               NY   10475
OWENS, JIMMIE D    3197 DELANEY ST                                                                                FLINT               MI   48506‐2068
OWENS, JIMMIE H    1422 W COURT ST                     FAMILY SERVICE AGENCY                                      FLINT               MI   48503‐5008
OWENS, JIMMY J     PO BOX 1991                                                                                    KELLER              TX   76244‐1991
OWENS, JIMMY L     10219 CALLE MARAVILLA CT NW                                                                    ALBUQUERQUE         NM   87114‐5453
OWENS, JIMMY R     2970 OAK DR                                                                                    ROCKWALL            TX   75032‐5834
OWENS, JOAN        339 S OAK ST                                                                                   MOUNT CARMEL        PA   17851‐2149
OWENS, JOAN        339 S. OAK STREET                                                                              MOUNT CARMEL        PA   17851‐2149
OWENS, JOAN C      43 CONCORD AVE                                                                                 MERCERVILLE         NJ   08619‐2401
OWENS, JOE         16901 FREELAND ST                                                                              DETROIT             MI   48235‐4520
OWENS, JOE ANN     5440 BEACON AVE                                                                                SAINT LOUIS         MO   63120‐2504
OWENS, JOHN        LANIER LAW FIRM                     6810 FM 1960 WEST SUITE 1550                               HOUSTON             TX   77069
OWENS, JOHN        WEITZ & LUXENBERG                   180 MAIDEN LANE                                            NEW YORK            NY   10038
OWENS, JOHN        BARTON & WILLIAMS                   3007 MAGNOLIA ST                                           PASCAGOULA          MS   39567‐4126
OWENS, JOHN
OWENS, JOHN A      3513 EAGLES RIDGE DR                                                                           BELOIT              WI 53511‐9108
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Name                   Address1                        Address2                  Address3   Address4         City                State Zip
OWENS, JOHN A          3410 CYPRESS LAKE DR                                                                  OLIVE BRANCH         MS 38654‐8644
OWENS, JOHN B          703 WESTMINSTER CT                                                                    AUGUSTA              GA 30909‐3475
OWENS, JOHN B          ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                     HOUSTON              TX 77069
OWENS, JOHN D          819 LAFAYETTE ST                                                                      ANDERSON             IN 46012‐2941
OWENS, JOHN D          1024 OCEANBREEZE CT                                                                   ORLANDO              FL 32828‐8626
OWENS, JOHN E          21794 MERIDIAN LN                                                                     NOVI                 MI 48375‐4941
OWENS, JOHN E          38299 AVONDALE ST                                                                     WESTLAND             MI 48186‐3829
OWENS, JOHN F          4012 SEMINOLE AVE                                                                     TAMPA                FL 33603‐3844
OWENS, JOHN F          4012 N SEMINOLE AVE                                                                   TAMPA                FL 33603‐3844
OWENS, JOHN J          630 CALLAWAY RIDGE DR                                                                 DEFIANCE             MO 63341‐1632
OWENS, JOHN N          31000 NOTTINGHAM DR                                                                   FRANKLIN             MI 48025‐1247
OWENS, JOHN P          8091 VANTINE RD                                                                       GOODRICH             MI 48438‐9422
OWENS, JOHN R          195 TEMPLE HILL RD                                                                    GLASGOW              KY 42141‐7812
OWENS, JOHN S          APT 10                          5015 PEBBLE CREEK EAST                                SHELBY TWP           MI 48317‐4897
OWENS, JOHN T          280 E WINDING RIVER DR.                                                               ATLANTA              GA 30350
OWENS, JOHNNY C        12248 APPOLINE ST                                                                     DETROIT              MI 48227‐3848
OWENS, JOHNNY RAY      MOODY EDWARD O                  801 W 4TH ST                                          LITTLE ROCK          AR 72201‐2107
OWENS, JOHNNY RAY      C/O EDWARD O MOODY P A          801 W 4TH ST                                          LITTLE ROCK          AR 72201
OWENS, JOHNNY W        707 HAZARD AVE                                                                        KALAMAZOO            MI 49048‐1988
OWENS, JONATHAN W      2809 ECKLEY BLVD                                                                      DAYTON               OH 45449‐3374
OWENS, JOSEPH L        474 W 1200 N                                                                          OREM                 UT 84057‐2947
OWENS, JOSEPH L        58 MAPLE WOOD DRIVE                                                                   BREWSTER             NY 10509‐5003
OWENS, JOSEPH P        2140 E STEWART RD                                                                     MIDLAND              MI 48640‐8926
OWENS, JOSEPH W        4532 LAFAYETTE AVE                                                                    NORWOOD              OH 45212‐3136
OWENS, JOYCE R         114 W STEWART AVE                                                                     FLINT                MI 48505‐3206
OWENS, JR.,CHARLES J   611 10TH AVE SW                                                                       ATTALLA              AL 35954‐2537
OWENS, JR.,ROBERT H    501 TABERNACLE RD                                                                     COVINGTON            TN 38019‐7811
OWENS, JUDITH A        5801 THOMAS DR UNIT 426                                                               PANAMA CITY BEACH    FL 32408‐6721
OWENS, JUDITH S        10705 WHITEHALL BLVD                                                                  OKLAHOMA CITY        OK 73162‐6998
OWENS, JUDY            955 LOST XING                                                                         CINCINNATI           OH 45231‐3858
OWENS, JULIET
OWENS, JUSTINE M       2223 E JUDD RD                                                                        BURTON              MI 48529
OWENS, KANDI
OWENS, KARAN L         1403 MEADOW BRIDGE DRIVE                                                              DAYTON              OH   45432‐2604
OWENS, KAREN           7440 BRENTWOOD STAIR RD                                                               FORT WORTH          TX   76112‐4407
OWENS, KATHLEEN        KIMMEL & SILVERMAN              30 E BUTLER AVE                                       AMBLER              PA   19002‐4514
OWENS, KATHY           66 FENWICK PL NE                                                                      ATLANTA             GA   30328‐1057
OWENS, KATHY L         314 PRAIRIE ST                                                                        BUCKNER             MO   64016
OWENS, KEITH W         940 4TH ST NW                                                                         NEW PHILADELPHIA    OH   44663‐1751
OWENS, KENNETH         7247 TOMOTLEY RD                                                                      MARYVILLE           TN   37801‐1449
OWENS, KENNETH         568 WARDS CORNER RD                                                                   LOVELAND            OH   45140‐9134
OWENS, KENNETH         C/O THE LIPMAN LAW FIRM         5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES        FL   33146
OWENS, KENNETH A       1631 MIDDLEWAY PIKE                                                                   BUNKER HILL         WV   25413‐3533
OWENS, KENNETH C       4016 LINK DR                                                                          BRIGHTON            MI   48114‐8696
OWENS, KENNETH D       2402 W 1 MILE RD                                                                      WHITE CLOUD         MI   49349‐9708
OWENS, KENNETH G       5949 ASHWOOD CT                                                                       CLARKSTON           MI   48346‐3178
OWENS, KENNETH P       318 HOLLY DR                                                                          BUFFALO             MO   65622‐6527
OWENS, KENNETH R       56 PAGETT DR                                                                          GERMANTOWN          OH   45327‐9308
OWENS, KENNETH W       PO BOX 1426                                                                           WILMINGTON          DE   19899‐1426
OWENS, KERWIN D        50373 VICTORIA PL                                                                     MACOMB              MI   48044‐6338
OWENS, KEVIN M         221 HUNTERS HILL LN                                                                   ALVATON             KY   42122‐9689
OWENS, KEVIN MICHAEL   221 HUNTERS HILL LN                                                                   ALVATON             KY   42122‐9689
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Name                     Address1                        Address2                      Address3   Address4         City               State Zip
OWENS, KEVIN S           179 IRON RIDGE                                                                            FENTON              MI 48430‐8603
OWENS, KEVIN W           38189 CORBETT DR                                                                          STERLING HEIGHTS    MI 48312‐1254
OWENS, KIMBERLY H        111 MAITRE ST                                                                             GADSDEN             AL 35904‐4017
OWENS, KIMBERLY M        8151 CARIBOU LAKE LN                                                                      CLARKSTON           MI 48346‐1984
OWENS, KRISTY R          193 GLENVIEW DR                                                                           MANSFIELD           OH 44906‐2270
OWENS, KRISTY RENEA      193 GLENVIEW DR                                                                           MANSFIELD           OH 44906‐2270
OWENS, LARRY B           9495 S HURON RIVER DR                                                                     YPSILANTI           MI 48197‐6934
OWENS, LARRY L           5008 N CORNWALL DR                                                                        MUNCIE              IN 47304‐1093
OWENS, LARRY M           256 CUMBERLAND TRL                                                                        SENOIA              GA 30276‐3314
OWENS, LARRY W           1527 LAURENTIAN PASS                                                                      FLINT               MI 48532‐2051
OWENS, LAWRENCE J        1423 BEAVER OAKS DR                                                                       MACON               GA 31220‐5182
OWENS, LEANDER           988 COOMER RD                                                                             EDMONTON            KY 42129‐9016
OWENS, LEE               8733 TRAVERSE ST                                                                          DETROIT             MI 48213‐1159
OWENS, LEE               8733 TRAVERSE                                                                             DETROIT             MI 48213‐1159
OWENS, LEE A             1425 S 17TH ST                                                                            SAGINAW             MI 48601‐2225
OWENS, LEE V             4117 WAINWRIGHT AVE                                                                       LANSING             MI 48911‐2247
OWENS, LEIJHETTE         377 WEATHERSTONE PL                                                                       ALPHARETTA          GA 30004‐5705
OWENS, LELA M            904 WINDING RIDGE DR                                                                      SOMERSET            KY 42503‐6267
OWENS, LEONARD
OWENS, LESLIE F          2531 N LA SALLE GDNS                                                                      DETROIT            MI 48206‐2506
OWENS, LESLIE T          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                         STREET, SUITE 600
OWENS, LESSIE T          225 W PATERSON ST                                                                         KALAMAZOO          MI   49007‐2559
OWENS, LESTER T          19036 HUNTINGTON AVE                                                                      HARPER WOODS       MI   48225‐2088
OWENS, LETTERIA          1057 PARMA AVE                                                                            COLUMBUS           OH   43204
OWENS, LEWIS R           301 W GREEN MEADOWS DR                                                                    GREENFIELD         IN   46140
OWENS, LILLIAN           706 S OAKLEY                                                                              CHICAGO            IL   60612‐3511
OWENS, LILLIAN           706 S OAKLEY BLVD                                                                         CHICAGO            IL   60612‐3511
OWENS, LILLIAN I         4634 SAINT ANTOINE STREET                                                                 DETROIT            MI   48201‐1920
OWENS, LINDA             3532 FERN STREET                                                                          MARION             IN   46953‐4609
OWENS, LINDA             3532 S FERN ST                                                                            MARION             IN   46953‐4609
OWENS, LINDA J           22920 WELLINGTON ST                                                                       DEARBORN           MI   48124‐1090
OWENS, LLOYD J           2355 S SHERIDAN AVE                                                                       INDIANAPOLIS       IN   46203‐5064
OWENS, LOIS              366 COBB BRIDGE RD                                                                        WESTMINSTER
OWENS, LOISTINE P.       707 HAZARD AVE                                                                            KALAMAZOO          MI   49048‐1988
OWENS, LORAINE M         4755 ELDER LANE                                                                           SAGINAW            MI   48604‐9536
OWENS, LORI A            7302 CHATLAKE DR                                                                          HUBER HEIGHTS      OH   45424‐3262
OWENS, LORRAINE          227 BASSWOOD AVE APT A                                                                    DAYTON             OH   45405
OWENS, LOUIS             8833 SAINT CATHERINE AVE                                                                  CLEVELAND          OH   44104‐5233
OWENS, LOUISE            9458 KNODELL ST                                                                           DETROIT            MI   48213‐1127
OWENS, LOUISE            9458 KNODELL                                                                              DETROIT            MI   48213‐1127
OWENS, LOUISE            3710 MINNESOTA                                                                            DETROIT            MI   48212‐1145
OWENS, LOWELL C          212 JACOBS RD                                                                             HUBBARD            OH   44425‐1967
OWENS, LUCILLE KUKLENS   3000 SHERMAN ST                                                                           ANDERSON           IN   46016‐5918
OWENS, LUCINDA R         3981 FERNWALD DRIVE                                                                       DAYTON             OH   45440‐3431
OWENS, LUCY F            7323 DELTA COMMERCE DR                                                                    LANSING            MI   48917‐1069
OWENS, LUNY H            367 OWENS LN                                                                              CHEROKEE           AL   35616‐3248
OWENS, LUTHER T          1712 CLEVELAND AVE                                                                        NORWOOD            OH   45212‐2824
OWENS, MACHELLE C        4331 MAMMOTH AVE                APT 12                                                    SHERMAN OAKS       CA   91423‐3699
OWENS, MACHELLE C        4331 MAMMOTH AVE APT 12                                                                   SHERMAN OAKS       CA   91423‐3699
OWENS, MALCOMB T.        7004 WHITEFIELD ST                                                                        DEARBORN HEIGHTS   MI   48127‐4712
OWENS, MAMIE             6613 CRANWOOD DR                                                                          FLINT              MI   48505‐1950
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Name                     Address1                         Address2                       Address3   Address4         City               State Zip
OWENS, MARGARET          52 MEADOW BROOKE LANE                                                                       ORMOND BEACH        FL 32174
OWENS, MARGARET          26 RED WOOD CIRCLE                                                                          PENSACOLA           FL 32506
OWENS, MARGARET          2307 CLEAR LAKE CIR                                                                         RICHARDSON          TX 75080‐2501
OWENS, MARGRETTA M       3415 DEBRA DR                                                                               ANDERSON            IN 46012‐9624
OWENS, MARJORIE L        3633 BREHOB RD                                                                              INDIANAPOLIS        IN 46217‐3213
OWENS, MARK A            2713 WILLOWRIDGE DR                                                                         DAYTON              OH 45414‐2839
OWENS, MARK ALAN         2713 WILLOWRIDGE DR                                                                         DAYTON              OH 45414‐2839
OWENS, MARKLIN H         5165 W. CO. RD.                  800 SOUTH                                                  GREENSBURG          IN 47240
OWENS, MARSHA M          4397 HUNTING TRL                                                                            LAKE WORTH          FL 33467‐3505
OWENS, MARSHA W          3470 N. MERIDIAN ST.,APT 904                                                                INDIANAPOLIS        IN 46208
OWENS, MARSHALL H        4532 SPRINGBORO RD                                                                          LEBANON             OH 45036‐9608
OWENS, MARSHALL M        110 OWENS HOLLOW RD                                                                         SPEEDWELL           TN 37870‐7255
OWENS, MARTHA            916 W 1ST ST                                                                                ANDERSON            IN 46016‐2304
OWENS, MARTIN C          33284 SOMERSET DR                                                                           STERLING HEIGHTS    MI 48312‐6060
OWENS, MARVIN            30219 LUND AVE                                                                              WARREN              MI 48093‐2278
OWENS, MARVIN C          34800 MELTON ST                                                                             WESTLAND            MI 48186‐9721
OWENS, MARVIN CLIFFORD   34800 MELTON ST                                                                             WESTLAND            MI 48186‐9721
OWENS, MARVIN E          107 W 100 S                                                                                 FRANKLIN            IN 46131‐8464
OWENS, MARY A            14504 SAINT ANDREWS DR                                                                      GRANDVIEW           MO 64030‐4168
OWENS, MARY B            12686 N 600 W                                                                               ELWOOD              IN 46036‐8992
OWENS, MARY E            2108 BRADY AVE                                                                              BURTON              MI 48529‐2425
OWENS, MARY E            1523 CAMBRIDGE DR SE                                                                        GRAND RAPIDS        MI 49506‐3945
OWENS, MARY J            17334 BELAND ST                                                                             DETROIT             MI 48234‐3834
OWENS, MARY J            PO BOX 4231                                                                                 DAYTON              OH 45401‐4231
OWENS, MARY L            APT 813                          2241 SOUTH STATE HIGHWAY 121                               LEWISVILLE          TX 75067‐3757
OWENS, MARY M            730 PARK VIEW                                                                               CLIO                MI 48420‐2305
OWENS, MARY M            4420 LIBERTY LOOP RD                                                                        MARTINSVILLE        IN 46151‐8768
OWENS, MARY M            BOX 437‐A R#2                                                                               WARDELL             MO 63879
OWENS, MARY M            730 PARK VW                                                                                 CLIO                MI 48420‐2305
OWENS, MARY S            20907 NATIONAL DR                                                                           LAGO VISTA          TX 78645‐6229
OWENS, MATTIE F          100 OLIVER ST #624               CAROUSEL PARK APTS                                         NORTH TONAWANDA     NY 14120
OWENS, MATTIE F          100 OLIVER ST APT 624            CAROUSEL PARK APTS                                         NORTH TONAWANDA     NY 14120‐5435
OWENS, MATTIE L          25586 SAINT JAMES                                                                           SOUTHFIELD          MI 48075‐1248
OWENS, MELODY L          1308 S HARDING ST                                                                           ALBANY              GA 31701‐2964
OWENS, MICHAEL           161 E BUNKERHILL RD                                                                         MOORESVILLE         IN 46158‐6804
OWENS, MICHAEL A         10196 KLEINHEN RD                                                                           DEFIANCE            OH 43512‐9739
OWENS, MICHAEL C         161 E BUNKERHILL RD                                                                         MOORESVILLE         IN 46158‐6804
OWENS, MICHAEL E         196 ALMER DR                                                                                CARO                MI 48723‐1239
OWENS, MICHAEL L         2202 WINDEMERE AVE                                                                          FLINT               MI 48503‐2258
OWENS, MICHAEL L         7609 HEARTHSTONE WAY                                                                        INDIANAPOLIS        IN 46227‐7914
OWENS, MICHAEL L         105 WALNUT DR                                                                               GAS CITY            IN 46933‐1138
OWENS, MICHAEL L
OWENS, MICHAEL LEO       2202 WINDEMERE AVE                                                                          FLINT              MI   48503‐2258
OWENS, MICHAEL R         56 MANSFIELD AVE                                                                            MANSFIELD          OH   44902‐7881
OWENS, MICHAEL R         5587 PLUM RUN CT                                                                            MILFORD            OH   45150‐9791
OWENS, MICHAEL W         559 HALL ROAD                                                                               JEFFERSON          TX   75657‐7103
OWENS, MICHAEL WAYNE     559 HALL ROAD                                                                               JEFFERSON          TX   75657‐7103
OWENS, MILES B           1141 COUTANT ST                                                                             FLUSHING           MI   48433‐1771
OWENS, MILES C           1141 COUTANT ST                                                                             FLUSHING           MI   48433‐1771
OWENS, MILES L           106 CAMPGROUND RD                                                                           LAKE CITY          TN   37769‐5126
OWENS, MINNIE            16 ALFA TER                                                                                 MORTON             PA   19070‐1135
OWENS, MISTY M           7805 REGENT DR                                                                              ARLINGTON          TX   76001‐7381
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Name                    Address1                      Address2                       Address3   Address4         City               State Zip
OWENS, MISTY MICHELLE   7805 REGENT DR                                                                           ARLINGTON           TX 76001‐7381
OWENS, MONROE           712 CORTWRIGHT ST                                                                        PONTIAC             MI 48340‐2302
OWENS, MONTY J          7426 RIVERSIDE DR                                                                        SAINT HELEN         MI 48656
OWENS, MORRIS L         4156 W MICHIGAN AVE                                                                      GLENDALE            AZ 85308
OWENS, MYRON V          GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510‐2212
                                                      STREET, SUITE 600
OWENS, NANCY A          5952 BRIGHAM RD                                                                          GOODRICH           MI   48438‐9646
OWENS, NANCY K          PO BOX 9022                                                                              WARREN             MI   48090‐9022
OWENS, NANCY K          435 STONERIDGE LN                                                                        BLOOMFIELD         MI   48302‐1168
OWENS, NANCY L          3 SEA ISLAND LN                                                                          DAUFUSKIE ISLAND   SC   29915
OWENS, NATALJA R        4 E 107TH ST                                                                             NEW YORK           NY   10029
OWENS, NATHAN           BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH   44067
                                                      PROFESSIONAL BLDG
OWENS, NATHAN K         1233 BRENTWOOD HIGHLANDS DR                                                              NASHVILLE          TN   37211‐7972
OWENS, NELLIE M         4 HARPER AVE                                                                             WATERBURY          CT   06705‐1224
OWENS, NORMA J          7324 S WASHTENAW AVE                                                                     CHICAGO            IL   60629‐2044
OWENS, NORMA J          7324 S. WASHTENAW AVE.                                                                   CHICAGO            IL   60629‐2044
OWENS, NORMAN           84 COUNTRY RD. 341                                                                       MOULTON            AL   35650
OWENS, NORMAN L         225 E VINYARD ST                                                                         ANDERSON           IN   46012‐2522
OWENS, ORVILLE L        2012 HIGHLANDS DR                                                                        RICHMOND           KY   40475‐3836
OWENS, OTTO             PO BOX 8542                                                                              SPRINGFIELD        MO   65801‐8542
OWENS, PAIGE            11069 PENINSULA LN                                                                       KELLER             TX   76248‐4856
OWENS, PAMELA S         609 CHANDLER DR                                                                          TROTWOOD           OH   45426‐2507
OWENS, PARKS W          11606 DOUGLAS RD                                                                         TEMPERANCE         MI   48182‐9694
OWENS, PARKS WILLIE     11606 DOUGLAS RD                                                                         TEMPERANCE         MI   48182‐9694
OWENS, PATRICIA A       429 N 9TH ST                                                                             ELWOOD             IN   46036
OWENS, PATRICIA N       1800 HILLCREST ST                                                                        LANSING            MI   48910‐0310
OWENS, PATRICK          103 BRANDY RUN RD                                                                        BRANDON            MS   39047‐6645
OWENS, PATRICK B        29681 ARMADA RIDGE RD                                                                    RICHMOND           MI   48062‐4524
OWENS, PAUL R           123 WABASH AVE                                                                           DEFIANCE           OH   43512‐1633
OWENS, PAUL R           1045 W ROWLAND ST                                                                        FLINT              MI   48507‐4046
OWENS, PAUL RAY         123 WABASH AVE                                                                           DEFIANCE           OH   43512‐1633
OWENS, PAUL RICHARD     1045 W ROWLAND ST                                                                        FLINT              MI   48507‐4046
OWENS, PAULA J          2186 STUDSTILL RD                                                                        QUITMAN            GA   31643‐4673
OWENS, PAULETTE S       16585 TRINITY ST                                                                         DETROIT            MI   48219‐3931
OWENS, PEGGY H          2730 OLD COUNTRY CLUB RD                                                                 PEARL              MS   39208‐5820
OWENS, PEGGY L          11545 NW LINCOLN RD                                                                      RIVERDALE          MI   48877‐9205
OWENS, PHILIP F         3747 BAYBROOK LN                                                                         TOLEDO             OH   43623‐2204
OWENS, PHILLIP          241 EMERSON AVE                                                                          YPSILANTI          MI   48198‐4209
OWENS, RACHEL A         827 HARVEST RIDGE DR                                                                     AVON               IN   46123
OWENS, RALPH            71 E SOUTH ST                                                                            BELLBROOK          OH   45305‐1945
OWENS, RALPH L          3946 SW 66TH AVE                                                                         PALM CITY          FL   34990‐5355
OWENS, RALPH N          6325 TONAWANDA CREEK RD                                                                  LOCKPORT           NY   14094‐9524
OWENS, RALPH O          14767 WESTPOINT ST                                                                       TAYLOR             MI   48180‐8207
OWENS, RALPH P          937 ROSS ST                                                                              RAHWAY             NJ   07065‐2151
OWENS, RALPH W          1003 HONEYSUCKLE DR                                                                      MOORESVILLE        IN   46158‐2033
OWENS, RANDALL A        10911 E 800 S                                                                            NEW ROSS           IN   47968‐8028
OWENS, RANDALL D        11545 NW LINCOLN RD                                                                      RIVERDALE          MI   48877‐9205
OWENS, RAY E            1705 NE 24TH ST                                                                          OKLAHOMA CITY      OK   73111‐3216
OWENS, RAY M            1018 KINGS LOOP                                                                          JAMESTOWN          TN   38556‐6068
OWENS, RAYMOND J        PO BOX 62                                                                                EMPIRE             MI   49630‐0062
OWENS, REGINA L         3917 BRUMBAUGH BLVD                                                                      DAYTON             OH   45416
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Name                  Address1                         Address2                      Address3   Address4         City              State Zip
OWENS, REUBEN         304 WALTON AVE                                                                             DAYTON             OH 45417‐1670
OWENS, RHONDA K.      16173 OAKFIELD ST                                                                          DETROIT            MI 48235‐3408
OWENS, RICHARD        980 WILMINGTON AVE APT 923                                                                 DAYTON             OH 45420‐5420
OWENS, RICHARD C      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                       STREET, SUITE 600
OWENS, RICHARD D      2016 STONELEA STREET                                                                       PITTSBURGH        PA   15212‐1723
OWENS, RICKY L        7487 ROGER THOMAS DR                                                                       MOUNT MORRIS      MI   48458‐8934
OWENS, RICKY LEN      7487 ROGER THOMAS DR                                                                       MOUNT MORRIS      MI   48458‐8934
OWENS, ROBERT         2194 VIRGINIA DR                                                                           TROY              MI   48083‐2543
OWENS, ROBERT         WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                             NEW BRUNSWICK     NJ   08901‐2011
OWENS, ROBERT A       138 WOODLAWN AVE                                                                           NEWARK            DE   19711‐5530
OWENS, ROBERT C       1606 PARKER DR                                                                             MAYFIELD HTS      OH   44124‐3619
OWENS, ROBERT E       994 SPIREA                                                                                 HOWELL            MI   48843‐6872
OWENS, ROBERT E       321 COOK AVE                                                                               MIDDLESEX         NJ   08846‐2002
OWENS, ROBERT J       4755 ELDER LN                                                                              SAGINAW           MI   48604‐9536
OWENS, ROBERT JAMES   APT 624                          15727 CUTTEN ROAD                                         HOUSTON           TX   77070‐3944
OWENS, ROBERT L       4705 TAMPA DOWNS BLVD                                                                      LUTZ              FL   33559‐8503
OWENS, ROBERT L       184 CEDARDALE AVE                                                                          PONTIAC           MI   48341‐2722
OWENS, ROBERT L       922 BRENTWOOD AVE                                                                          YOUNGSTOWN        OH   44511‐1451
OWENS, ROBERT L       12461 GLASGOW DR                                                                           BRUCE TWP         MI   48065‐4478
OWENS, ROBERT L       2314 TEMPLE AVE                                                                            ALBANY            GA   31707‐2662
OWENS, ROBERT L       PARKS CHRISTOPHER M              1 PLAZA SQUARE                                            PORT ARTHUR       TX   77642
OWENS, ROBERT W       5435 VINCENT AVE                                                                           WATERFORD         MI   48327‐2482
OWENS, RODNEY J       3361 VALERIE ARMS DR APT 317                                                               DAYTON            OH   45405‐2126
OWENS, RONALD         PO BOX 581                                                                                 CAPAC             MI   48014‐0581
OWENS, RONALD E       6645 COUNTY ROAD 206                                                                       GRANDVIEW         TX   76050‐3618
OWENS, RONALD E       2513 WESLEY DR                                                                             SAGINAW           MI   48601‐4547
OWENS, RONALD F       9716 BOVILL DR                                                                             ELK GROVE         CA   95624‐4425
OWENS, RONALD H       5 BERKSHIRE RD                                                                             OLD BRIDGE        NJ   08857‐1601
OWENS, RONALD L       2507 ALEXANDER AVE                                                                         BALTIMORE         MD   21219‐1822
OWENS, RONALD LEE     2507 ALEXANDER AVE                                                                         BALTIMORE         MD   21219‐1822
OWENS, RONALD LEE     BRAYTON PURCELL                  PO BOX 6169                                               NOVATO            CA   94948‐6169
OWENS, RONALD R       979 WYE DRIVE                                                                              SEYMORE           TN   37865‐7865
OWENS, RONALD R       979 WYE DR                                                                                 SEYMOUR           TN   37865‐6552
OWENS, ROOSEVELT      9134 PROSPECT ST                                                                           INDIANAPOLIS      IN   46239‐9637
OWENS, ROOSEVELT      PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON           MS   39206‐5621
OWENS, ROSENA         513 EAST EDGEWOOD                APARTMENT #103                                            LANSING           MI   48911
OWENS, ROSENA         513 E EDGEWOOD BLVD APT 103                                                                LANSING           MI   48911‐6900
OWENS, ROXANNA M      PO BOX 140615                                                                              NASHVILLE         TN   37214‐0615
OWENS, ROXIE D        APT 104                          4443 EAGLE CREEK PARKWAY                                  INDIANAPOLIS      IN   46254‐4371
OWENS, ROXIE D        4443 EAGLE CREEK PKWY            APT 104                                                   INDIANAPOLIS      IN   46254
OWENS, ROY A          3981 FERNWALD DRIVE                                                                        DAYTON            OH   45440‐3431
OWENS, RUBIN J        PO BOX 3831                                                                                CHAMPAIGN         IL   61826‐3831
OWENS, RUBY A         1916 KING AVE                                                                              HAMILTON          OH   45015‐1326
OWENS, RUBY GAIL      1107 TROGDON LANE                                                                          BEDFORD           IN   47421‐8151
OWENS, RUBY GAIL      1107 TROGDON LN                                                                            BEDFORD           IN   47421‐8151
OWENS, RUBY N         715 SKYVIEW DR                                                                             WEST CARROLLTON   OH   45449‐1634
OWENS, RUBY N         715 SKYVIEW DRIVE                                                                          WEST CARROLLTON   OH   45449‐1634
OWENS, RUPERT G       659 FOX GROVE CT W                                                                         VIRGINIA BEACH    VA   23464‐2618
OWENS, RUSSELL R      313 E WATER ST                                                                             WELLSVILLE        MO   63384‐1736
OWENS, RUTH A         2900 N APPERSON WAY TRLR 330                                                               KOKOMO            IN   46901‐1488
OWENS, RUTH A         1327 COLONIAL LN                                                                           BRYAN             OH   43506‐9365
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Name                       Address1                      Address2                         Address3   Address4         City               State Zip
OWENS, RUTH E              31650 MACKENZIE DR                                                                         WESTLAND            MI 48185‐1607
OWENS, RUTH M              2698 EDMONTON ROAD                                                                         GLASGOW             KY 42141‐8131
OWENS, SAHABIA A           4015 COVINGTON HWY APT X6                                                                  DECATUR             GA 30032
OWENS, SAMUEL P            617 SHADOW GROVE CT                                                                        NORMAN              OK 73072‐5302
OWENS, SANDRA              3454 BEWICK                                                                                DETROIT             MI 48214‐2124
OWENS, SANDRA              3454 BEWICK ST                                                                             DETROIT             MI 48214‐2124
OWENS, SARA E              1555 KIRKWOOD PIKE                                                                         KIRKWOOD            PA 17536‐9629
OWENS, SARA E              228 LIMESTONE ROAD                                                                         OXFORD              PA 19363‐1231
OWENS, SARAH E.            11276 GREEN ROAD                                                                           GOODRICH            MI 48438‐9764
OWENS, SAVANNAH            125 OSCEOLA DR                                                                             PONTIAC             MI 48341‐1155
OWENS, SCOTT A             3916 RHODE ISLAND TRL                                                                      GRANBURY            TX 76048‐3042
OWENS, SCOTT E             3325 PINE RUN DR                                                                           SWARTZ CREEK        MI 48473‐8636
OWENS, SHAMEKA S           9764 N LEWIS AVE                                                                           KANSAS CITY         MO 64157‐7802
OWENS, SHARON R            405 SUNFLOWER DR                                                                           PFLUGERVILLE        TX 78660
OWENS, SHEILA L            PO BOX 305                                                                                 EAST LANSING        MI 48826‐0305
OWENS, SHERRY M            7487 ROGER THOMAS DR                                                                       MOUNT MORRIS        MI 48458‐8934
OWENS, SHERRY MARIE        7487 ROGER THOMAS DR                                                                       MOUNT MORRIS        MI 48458‐8934
OWENS, SHERYL A            143 WONDERWOOD DR                                                                          CHARLOTTE           NC 28211‐4009
OWENS, SHIRLEY A           3977 BEAL RD                                                                               FRANKLIN            OH 45005‐4623
OWENS, SHIRLEY E           15751 VAN AVE                                                                              FRASER              MI 48026‐2710
OWENS, SHIRLEY K           8811 COUNTY ROAD 203                                                                       DANVILLE            AL 35619‐9068
OWENS, SHIRLEY M           204 LANSDOWN WAY                                                                           ANDERSON            IN 46012‐3231
OWENS, SHIRLEY M           204 S LANSDOWN WAY                                                                         ANDERSON            IN 46012‐3231
OWENS, STACY               7501 GRANDMONT AVE                                                                         DETROIT             MI 48228‐4804
OWENS, STANLEY B           ROUTE 8 BOX 26                                                                             RUSSELLVILLE        AL 35653
OWENS, STANLEY P           311 LAKE ST #11                                                                            TAWAS CITY          MI 48763‐9297
OWENS, STANLEY W           1507 HOMEWOOD AVE SE                                                                       WARREN              OH 44484‐4912
OWENS, STELLA P            1705 SYLVAN DR                                                                             MARION              IN 46953‐2508
OWENS, STEPHANIE           1615 SAINT JAMES RD                                                                        HEMINGWAY           SC 29554‐6458
OWENS, STEPHEN P           6600 RALPH CT                                                                              NIAGARA FALLS       NY 14304‐1385
OWENS, STEWART A           209 S HARRISON                                                                             SHERWOOD            OH 43556
OWENS, SYLVIA A            9031 E 39TH PL APT 4                                                                       INDIANAPOLIS        IN 46235‐2037
OWENS, TAMIKO M            205 MINTY DR                                                                               DAYTON              OH 45415‐3014
OWENS, TASHA               KROHN & MOSS ‐ MN             120 WEST MADISON STREET 10TH                                 CHICAGO              IL 60602
                                                         FLOOR
OWENS, TAUREAN R           APT 8107                      44539 BAYVIEW AVENUE                                         CLINTON TWP        MI   48038‐6276
OWENS, TEDDY R             2107 NERREDIA ST                                                                           FLINT              MI   48532‐4818
OWENS, TEDDY RAY           2107 NERREDIA ST                                                                           FLINT              MI   48532‐4818
OWENS, TERANCE A           26420 WHITE RD                                                                             RICHMOND HTS       OH   44143‐1425
OWENS, TERISA A            APT 4303                      575 SOUTH VIRGINIA HILLS DRIVE                               MCKINNEY           TX   75070‐2838
OWENS, TERRY C             35663 STRATHCONA ST                                                                        CLINTON TOWNSHIP   MI   48035‐2767
OWENS, TERRY CHRISTOPHER   35663 STRATHCONA ST                                                                        CLINTON TOWNSHIP   MI   48035‐2767
OWENS, TERRY E             2105 BRUSHY MOUNTAIN RD                                                                    WILKESBORO         NC   28697‐8030
OWENS, TERRY E             2105 BRUSHY MTN RD                                                                         WILKESBORO         NC   28597
OWENS, TERRY G             142 PINE GROVE DR                                                                          FLORENCE           MS   39073‐7916
OWENS, TERRY L             132 NIMITZ DR                                                                              DAYTON             OH   45431‐1365
OWENS, TERRY M             516 STATE DOCKS RD                                                                         DECATUR            AL   35601‐7532
OWENS, THERESA             3130 RUCKLE ST                                                                             SAGINAW            MI   48601‐3166
OWENS, THERESA             518 PIONEER DRIVE                                                                          ST PETERS          MO   63376‐5003
OWENS, THERESA             518 PIONEER DR                                                                             SAINT PETERS       MO   63376‐5003
OWENS, THOMAS A            3004 HAVERHILL DR                                                                          INDIANAPOLIS       IN   46240‐3504
OWENS, THOMAS D            3817 WEDGEWOOD DR SW                                                                       WYOMING            MI   49519‐3135
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Name                 Address1                        Address2                      Address3   Address4         City             State Zip
OWENS, THOMAS D      6085 TRACHT DR                                                                            GALION            OH 44833‐9331
OWENS, THOMAS H      3565 W COUNTY ROAD 500 S                                                                  COATESVILLE       IN 46121‐9565
OWENS, THOMAS J      24700 WALDEN RD W APT 615                                                                 SOUTHFIELD        MI 48033‐3152
OWENS, THOMAS J      2381 HUNTING RUN ROAD                                                                     LUCASVILLE        OH 45648‐9524
OWENS, THOMAS M      240 HOPEWELL DR                                                                           STRUTHERS         OH 44471‐1441
OWENS, THOMAS M      205 SOUTH HIGHVIEW ROAD                                                                   MIDDLETOWN        OH 45044‐5030
OWENS, THOMAS R      2518 JARVIS ST SW                                                                         DECATUR           AL 35603‐2623
OWENS, THOMAS W      10620 MONTGOMERY RD             APT 113                                                   CINCINNATI        OH 45242‐4428
OWENS, TIMOTHY       1100 HIP POCKET RD                                                                        PEACHTREE CITY    GA 30269‐2025
OWENS, TIMOTHY E     3661 PADDOCK RD                                                                           PLAINFIELD        IN 46168‐7765
OWENS, TIMOTHY M     PO BOX 2345                                                                               ANDERSON          IN 46018‐2345
OWENS, TOMMIE        BOONE ALEXANDRA                 205 LINDA DR                                              DAINGERFIELD      TX 75638‐2107
OWENS, TOMMIE J      16173 OAKFIELD ST                                                                         DETROIT           MI 48235‐3408
OWENS, TOMMY M       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                     STREET, SUITE 600
OWENS, TONY L        401 W HOME AVE                                                                            FLINT            MI 48505‐2633
OWENS, TONY LEE      401 W HOME AVE                                                                            FLINT            MI 48505‐2633
OWENS, TOWANNAH      8411 CHRISTIANA AVE APT 5                                                                 SKOKIE           IL 60076
OWENS, TRACEY
OWENS, TRICIA L      346 S EAST ST                                                                             PENDLETON        IN   46064‐1214
OWENS, TYCHICUS T    10717 DREXEL AVE                                                                          CLEVELAND        OH   44108‐3606
OWENS, VANESSA C     50 WEBSTER ST                                                                             HARTFORD         CT   06114‐1281
OWENS, VANN K        44 SIMS RD SW                                                                             DECATUR          AL   35603‐4401
OWENS, VELMA H       130 ADAMS ST                                                                              PENDLETON        IN   46064‐1110
OWENS, VELMA S       1317 CADILLAC DR                                                                          JACKSON          MS   39213‐4811
OWENS, VELMA S       156 GREEN FOREST DR                                                                       CLINTON          MS   39056‐9056
OWENS, VERDIS L      4670 BUNNY TRL                                                                            CANFIELD         OH   44406‐9387
OWENS, VERNESSA      1515 BOYNTON DR                                                                           LANSING          MI   48917‐1707
OWENS, VERONICA S
OWENS, VICKIE        5058 ROSELAWN DR APT 2A                                                                   INDIANAPOLIS     IN   46226‐4567
OWENS, VICTORIA      746 SOUTH 4TH ST                                                                          SAGINAW          MI   48601‐2134
OWENS, VICTORIA      746 S 4TH AVE                                                                             SAGINAW          MI   48601‐2134
OWENS, VICTORIA J    30759 MAPLEWOOD ST                                                                        GARDEN CITY      MI   48135‐2088
OWENS, VIOLA R       LEE WILLIAM L JR                PO BOX 14047                                              JACKSON          MS   39236‐4047
OWENS, VIOLET I      241 N 300 W                                                                               KOKOMO           IN   46901‐3984
OWENS, VIRGINIA      15708 CHERRYLAWN                                                                          DETROIT          MI   48238‐1143
OWENS, VIRGINIA      9036 VIRGIL                                                                               REDFORD          MI   48239‐1254
OWENS, VIRGINIA      251 COUNTY ROAD 635                                                                       BAY              AR   72411‐9676
OWENS, VIVIAN        1612 W 10TH ST                                                                            MARION           IN   46953‐1429
OWENS, VIVIAN S      2105 BRUSHY MTN RD                                                                        WIKESBORO        NC   28597
OWENS, VIVIAN S.     2105 BRUSHY MOUNTAIN RD                                                                   WILKESBORO       NC   28697‐8030
OWENS, WALTER B.     12248 DARGIE DR                                                                           ARLINGTON        TN   38002‐9869
OWENS, WALTER L      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                     STREET, SUITE 600
OWENS, WALTER T      116 WOODCREST CT                                                                          ELYRIA           OH   44035‐1635
OWENS, WANETTE J     725 BENTON AVE                                                                            JANESVILLE       WI   53545‐1729
OWENS, WARREN C      3167 WORLEY RD                                                                            FARMINGTON       MO   63640‐8546
OWENS, WENDY R       1520 WALKER LAKE RD                                                                       MANSFIELD        OH   44906‐1824
OWENS, WENDY RENEE   1520 WALKER LAKE RD                                                                       MANSFIELD        OH   44906‐1824
OWENS, WESLEY        5509 TREVOR DR                                                                            SHREVEPORT       LA   71129
OWENS, WESLEY        5633 GRANTHAM ST                                                                          SHREVEPORT       LA   71129‐4509
OWENS, WESLEY H      2811 RACHEL DR SW                                                                         WARREN           OH   44481‐9660
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Name                        Address1                        Address2                        Address3                    Address4           City              State Zip
OWENS, WILBUR M             2724 BACK VALLEY RD                                                                                            SPEEDWELL          TN 37870‐7428
OWENS, WILFRED L            2078 MILL ST                                                                                                   LINCOLN PARK       MI 48146‐2233
OWENS, WILLA M              362 WINDY DR                                                                                                   WATERBURY          CT 06705‐2529
OWENS, WILLARD D            8649 CLARABELLA RD                                                                                             CLARE              MI 48617‐8505
OWENS, WILLARD L            26226 MEADOWBROOK WAY                                                                                          LATHRUP VILLAGE    MI 48076‐4414
OWENS, WILLARD LUCAS        26226 MEADOWBROOK WAY                                                                                          LATHRUP VILLAGE    MI 48076‐4414
OWENS, WILLIAM              418 LINCOLN RD                                                                                                 MONROE             LA 71203‐4250
OWENS, WILLIAM              BARON & BUDD PC                 9015 BLUEBONNET BLVD                                                           BATON ROUGE        LA 70810‐2812
OWENS, WILLIAM              BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                                  DALLAS             TX 75219
OWENS, WILLIAM              DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                                                MONROE             LA 71201‐5622
                            GARNER LLP
OWENS, WILLIAM C            339 ERIE ST                                                                                                    LAPEL             IN   46051‐9685
OWENS, WILLIAM C            3327 BOWERS RD                                                                                                 LEWISBURG         TN   37091‐5313
OWENS, WILLIAM E            207 COMMODORE DR                                                                                               HAMPTON           VA   23669‐1043
OWENS, WILLIAM E            6260 NW 18TH PL                                                                                                SUNRISE           FL   33313‐4619
OWENS, WILLIAM E            12003 104TH CT                                                                                                 LARGO             FL   33778‐3524
OWENS, WILLIAM E            55 FRANKLIN AVE 4                                                                                              LOCKPORT          NY   14094
OWENS, WILLIAM I            6108 KNOWLTON CT                                                                                               CENTERVILLE       OH   45459‐1907
OWENS, WILLIAM J            1084 W BUDER AVE                                                                                               FLINT             MI   48507‐3610
OWENS, WILLIAM J            7501 DAVIDSON AVE                                                                                              LEMON GROVE       CA   91945‐3207
OWENS, WILLIAM M            6397 GUNNELL RD                                                                                                MILLINGTON        MI   48746‐9767
OWENS, WILLIAM M            418 S TITUS AVE                                                                                                EXCLSOR SPRGS     MO   64024‐2663
OWENS, WILLIAM S            418 LINCOLN RD                                                                                                 MONROE            LA   71203‐4250
OWENS, WILLIE               2812 64TH AVE APT 2                                                                                            OAKLAND           CA   94605‐2040
OWENS, WILLIE               2972 PALMDALE ST                                                                                               JACKSONVILLE      FL   32208‐2935
OWENS, WILLIE E             1869 E 59TH ST                                                                                                 KANSAS CITY       MO   64130‐3329
OWENS, WILLIE F             1766 DEERFIELD AVE SW                                                                                          WARREN            OH   44485‐3939
OWENS, WILLIE J             746 S 4TH AVE                                                                                                  SAGINAW           MI   48601‐2134
OWENS, WILLIE L             6613 CRANWOOD DR                                                                                               FLINT             MI   48505‐1950
OWENS, WILLIE L             5775 RIVERVIEW                                                                                                 ST LOUIS          MO   63147‐1022
OWENS, WILLIE M             1916 N 62ND ST                                                                                                 KANSAS CITY       KS   66102‐1208
OWENS, WILLIS V             2349 LANCASTER RD                                                                                              RICHMOND          KY   40475‐9675
OWENS, WILMA L              2713 WILLOWRIDGE DR                                                                                            DAYTON            OH   45414‐2839
OWENS, WILMA LEE            2713 WILLOWRIDGE DR                                                                                            DAYTON            OH   45414‐2839
OWENS, WILMA M.             5056 BUNKER RD                                                                                                 MASON             MI   48854
OWENS, WINSLOW              11234 MARBELLA DR APT 10                                                                                       SAINT LOUIS       MO   63138‐2239
OWENS, WINSLOW              4211 WARNE AVE                                                                                                 SAINT LOUIS       MO   63107‐1526
OWENS, WINSTON D            17433 WESTOVER RD                                                                                              SOUTHFIELD        MI   48075‐4332
OWENS, XAVIER A             17306 SHERFIELD PL                                                                                             SOUTHFIELD        MI   48075‐7032
OWENS, YOLANDA L            127 HEATHERLYNN CIR                                                                                            CLINTON           MS   39056‐5329
OWENS, ZOLA M               8408 SWAMP CREEK RD                                                                                            LEWISBURG         OH   45338‐8713
OWENS,CYNTHIA L             909 SHROYER RD                                                                                                 DAYTON            OH   45419‐3633
OWENS,KAISHEK Z             1571 FULTON AVE                 APT 1A                                                                         BRONX             NY   10457
OWENS,MARK ALAN             2713 WILLOWRIDGE DR                                                                                            DAYTON            OH   45414‐2839
OWENS,MICHAEL R             5587 PLUM RUN CT                                                                                               MILFORD           OH   45150‐9791
OWENS,WILMA LEE             2713 WILLOWRIDGE DR                                                                                            DAYTON            OH   45414‐2839
OWENS‐CORNING FIBERGLAS     FIBERGLAS TOWER T‐14                                                                                           TOLEDO            OH   43659‐0001
OWENS‐FOWLER, GWENDOLYN E   532 N SAGINAW ST                                                                                               PONTIAC           MI   48342‐1464
OWENS‐GORDON, CAROL A       4409 BUTLER DR                                                                                                 DECATUR           IL   62526‐1108
OWENS‐ILLINIOS INC          PEPPER HAMILTON LLP             C/O THOMAS P WILCZAK            100 RENAISSANCE CENTER      SUITE 3600         DETROIT           MI   48243
OWENS‐ILLINOIS INC          RONALD E BAYLOR ESQ             MILLER CANFIELD PADDOCK AND     277 SOUTH ROSE STREET STE                      KALAMAZOO         MI   49007
                                                            STONE PLC                       5000
                                     09-50026-mg            Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
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Name                                 Address1                       Address2                       Address3                  Address4             City               State Zip
OWENS‐ILLINOIS, INC                  C/O SUSAN L SMITH              ONE MICHAEL OWENS WAY, PLAZA 3                                                PERRYSBURG          OH 43551

OWENS‐ILLINOIS, INC.                 C/O SUSAN L. SMITH             ONE MICHAEL OWENS WAY, PLAZA 3                                                PERRYSBURG         OH 43551

OWENS‐ILLINOIS, INC.                 C/O SUSAN SMITH                THREE O‐I PLAZA                  ONE MICHAEL OWENS WAY                        PERRYSBURG         OH   43551
OWENS‐MOORE, KATHY L                 50 GRAND BLVD                                                                                                ELLINGTON          CT   06029‐3895
OWENS‐MUSIC, LULA B                  9043 N 200 W                                                                                                 N MANCHESTER       IN   46962‐8791
OWENS‐PIERCE, RE JEANIA A            1524 CORNELL DR                                                                                              DAYTON             OH   45406‐4728
OWENSBORO RIVERPORT AUTHORITY        2300 HARBOR RD                                                                                               OWENSBORO          KY   42301
OWENSBY JAMES F JR (439384)          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA   23510
                                                                    STREET, SUITE 600
OWENSBY JIMMY (ESTATE OF) (492644)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD         OH 44067
                                                                    PROFESSIONAL BLDG
OWENSBY, CECELIA G                   428 GRAMONT AVE                                                                                              DAYTON             OH   45417‐2328
OWENSBY, CHARLES E                   703 W 28TH ST                                                                                                MARION             IN   46953‐3502
OWENSBY, GARY E                      4919 W MARKWOOD AVE                                                                                          INDIANAPOLIS       IN   46221‐2949
OWENSBY, GARY K                      1611 SPRING WATER CT                                                                                         ORANGE PARK        FL   32003‐8673
OWENSBY, JAMES D                     3204 SOUTHWEST DR                                                                                            INDIANAPOLIS       IN   46241‐6258
OWENSBY, JAMES E                     2484 NOLEN DR                                                                                                FLINT              MI   48504‐4679
OWENSBY, JAMES EDWARD                2484 NOLEN DR                                                                                                FLINT              MI   48504‐4679
OWENSBY, JAMES F                     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA   23510‐2212
                                                                    STREET, SUITE 600
OWENSBY, JOHN M                      14332 MERCI LANE DRIVE                                                                                       STERLING HEIGHTS   MI   48313
OWENSBY, LEGERTHA                    PO BOX 241004                                                                                                INDIANAPOLIS       IN   46224‐9204
OWENSBY, LEROY                       11475 LANSDOWNE ST                                                                                           DETROIT            MI   48224‐1646
OWENSBY, MAE                         1978 RESTING CREEK DRIVE                                                                                     DECATUR            GA   30035‐2215
OWENSBY, MILDRED                     9 MARIO DR                                                                                                   DAYTON             OH   45426‐2914
OWENSBY, MOSES                       75 S ARDMORE AVE                                                                                             DAYTON             OH   45417‐2103
OWENSBY, SHARON A                    2484 NOLEN DR                                                                                                FLINT              MI   48504‐4679
OWENSBY, SHARON ANCYNTHIA            2484 NOLEN DR                                                                                                FLINT              MI   48504‐4679
OWENSBY, VERNON L                    206 E JEFFERSON ST                                                                                           BOSWORTH           MO   64623‐8285
OWILDA PAGE                          1069 E WARREN ST                                                                                             MARTINSVILLE       IN   46151‐2653
OWINGS, BEULAH A                     101 MAIN ST APT 223                                                                                          PARK FOREST        IL   60466‐2382
OWINGS, BEULAH A                     101 MAIN ST                    APT 223                                                                       PARK FOREST        IL   60466‐2382
OWINGS, GLENNA J                     14703 PATRICK HENRY RD                                                                                       N. FT. MEYERS      FL   33917‐9043
OWINGS, JILL M                       139 PICCADILLY PL APT D                                                                                      SAN BRUNO          CA   94066‐2132
OWINGS, RANDY L                      631 NORTH LANCELOT DRIVE                                                                                     MARION             IN   46952‐2461
OWINSBY, ELIZA J                     4640 SLYVAN OAK DR                                                                                           TROTWOOD           OH   45426‐2124
OWL'S NEST                           ATTN: TOM LEWIS                702 LINCOLN AVE                                                               BEDFORD            IN   47421‐2169
OWLER ROBERT                         19135 MAPLE LEAF DR                                                                                          EDEN PRAIRIE       MN   55346‐3339
OWMA & MITRA                         PLAZA MASHILL 18TH FL          JIN JENDRAL SUDIRMAN KAV 25                              JAKARTA INDONESIA
                                                                                                                             INDONESIA
OWNBEY, EVELINE                      393 HELMHURST DR SE                                                                                          CLEVELAND          TN   37323‐9157
OWNBEY, LESTER                       393 HELMHURST DR SE                                                                                          CLEVELAND          TN   37323
OWNBEY, WILLIAM O                    58 BASS CT                                                                                                   LAGRANGE           OH   44050‐9600
OWNBY, GEORGE R                      3019 ENDICOTT AVE                                                                                            SAINT LOUIS        MO   63114‐4532
OWNBY, LAWRENCE J                    RR 2                                                                                                         SWEET SPRINGS      MO   65351
OWNBY, LAWRENCE J                    RURAL ROUTE 2                                                                                                SWEET SPRINGS      MO   65351‐9802
OWNBY, WILLIAM V                     PO BOX 864                                                                                                   BOURBON            MO   65441‐0864
OWNER ELLIES JOYSTAR TRAVEL          131 TENNESSE RD                                                                                              TIMPSON            TX   75975
OWNES, LOUISE M                      ROSE HILL                      1150 WASHINGTON BLVD                                                          ROBBINSVILLE       NJ   08691
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Name                               Address1                              Address2                       Address3   Address4               City               State Zip
OWNES, WARD E                      GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH          PA 15219

OWNSBY, JAMES W                    398 COUNTY ROAD 656                                                                                    ATHENS             TN 37303‐6215
OWOLABI IBUKUN E
OWOSSO AUTOMATION INC              1507A WEST OLIVER STREET                                                                               OWOSSO             MI 48867
OWOYEMI MOTORS FINANCE CO., LTD.   186                                                                             IBADAN NIGERIA
OWSIAK, JOSEPHINE                  6154 LAKEVIEW PK DR.                                                                                   LINDEN             MI   48451‐9098
OWSIANIK, JOHN A                   42 PINECREST DR                                                                                        SOUTHINGTON        CT   06489‐3943
OWSIANY, BEATRICE                  39708 SOUTHWIND LN                                                                                     NORTHVILLE         MI   48168‐3494
OWSIANY, JOHN A                    65920 32ND ST                                                                                          LAWTON             MI   49065‐8493
OWSIANY, STEVEN R                  67565 51ST ST                                                                                          LAWRENCE           MI   49064‐8790
OWSIK, EDWARD P                    202 PEBBLE BEACH DR                                                                                    MAYS LANDING       NJ   08330‐5400
OWSINEK, PATRICIA A                631 GODDARD ST                                                                                         WYANDOTTE          MI   48192‐2821
OWSINSKI, LEOKADIA H               26977 ROCHELLE ST                                                                                      DEARBORN HEIGHTS   MI   48127‐3671
OWSLEY CROWE                       8358 MARIE PL                                                                                          CARLISLE           OH   45005‐4126
OWSLEY JR, SILAS                   90 W STATE ST                                                                                          SPRINGBORO         OH   45066‐1238
OWSLEY JR, SILAS                   90 STATE ST                                                                                            SPRINGBORO         OH   45066‐5066
OWSLEY O CROWE                     8358 MARIE PLACE                                                                                       CARLISLE           OH   45005
OWSLEY, BOBBY F                    8644 SW REESE ST                                                                                       ARCADIA            FL   34269‐4477
OWSLEY, CARLOS B                   158 DICKEY AVE NW                                                                                      WARREN             OH   44485‐2731
OWSLEY, CHARLES M                  22248 INDIAN TRCE                                                                                      ATHENS             AL   35613‐2879
OWSLEY, DEWEY E                    RR 3 BOX 406                                                                                           BRANCHLAND         WV   25506‐9770
OWSLEY, DONALD R                   5117 N 200 W                                                                                           HARTFORD CITY      IN   47348‐9572
OWSLEY, DOROTHY L                  1930 BEACON ST                                                                                         WASHINGTON COURT   OH   43160‐1700
                                                                                                                                          HOUSE
OWSLEY, DOTTI F                    3259 RAVENWOOD RD                                                                                      FAIRBORN           OH   45324‐2227
OWSLEY, HAROLD D                   6363 TRENTON FRANKLIN RD                                                                               MIDDLETOWN         OH   45042‐1747
OWSLEY, JAMES E                    6205 N STATE ROUTE 48                                                                                  LEBANON            OH   45036‐9482
OWSLEY, JOHN                       18706 GOLDEN HAWK CT                                                                                   HUDSON             FL   34667‐6485
OWSLEY, LINDA D                    1038 E FIRMIN ST                                                                                       KOKOMO             IN   46902‐2338
OWSLEY, LOUIS E                    5629 BRENDON WAY CT                                                                                    INDIANAPOLIS       IN   46226‐1101
OWSLEY, MARK                       312 S COUNTY ROAD 200 E                                                                                KOKOMO             IN   46902
OWSLEY, MARY L                     2932 CAROLINE AVE                                                                                      INDIANAPOLIS       IN   46218‐2715
OWSLEY, SUSAN L                    8249 EATON DR                                                                                          NORTHVILLE         MI   48167‐8666
OWSLEY, TERRY F                    4721 DERWENT DR                                                                                        DAYTON             OH   45431‐1013
OWSLEY, VIVIAN                     8644 S.W. REESE ST.                   LOT 150                                                          ARCADIA            FL   34269‐4477
OWSLEY, WILLIAM J                  8249 EATON DR                                                                                          NORTHVILLE         MI   48167‐8666
OWUNWANNE, IHUOMA N                50 LEFFERTS PL APT 4                                                                                   BROOKLYN           NY   11238‐2709
OWUNWANNE, IHUOMA N                20 W 119TH ST APT 1                                                                                    NEW YORK           NY   10026
OWUSU, DANIEL K                    9056 NEWCASTLE CT                                                                                      GRAND BLANC        MI   48439‐7346
OWUSU, MICHAEL DEBRAH              8920 SCIROCCO CIR                                                                                      OKLAHOMA CITY      OK   73135‐6510
OWUSU, MICHAEL O                   8920 SCIROCCO CIR                                                                                      OKLAHOMA CITY      OK   73135‐6510
OWUSU, NANA A                      829 SANSOME DR                                                                                         ARLINGTON          TX   76018‐2315
OWUSU, ROBERT                      110 W GAZEBO LN                                                                                        SAVANNAH           GA   31410‐3949
OWUSU‐ANSAH, GEORGE                300 CREEK POINT LN                                                                                     ARLINGTON          TX   76002‐3328
OXANA RISCA                        5855 GLASGOW DR                                                                                        TROY               MI   48085‐3146
OXBOW CARBON & MINERALS LLC        MS JAN PATTEN                         1601 FORUM PLACE 12TH FL                                         WEST PALM BEACH    FL   33401
OXBOW CARBON & MINERALS LLC        551 FIFTH AVE STE 3600                                                                                 NEW YORK           NY   10176
OXBOW CARBON & MINERALS LLC        1601 FORUM PL STE 1400                                                                                 WEST PALM BEACH    FL   33401‐8104
OXBOW CARBON & MINERALS LLC        ATTN: CORPORATE OFFICER/AUTHORIZED    1601 FORUM PL STE 1400                                           WEST PALM BEACH    FL   33401‐8104
                                   AGENT
OXBOW MACH/LIVONIA                 12777 MERRIMAN RD                                                                                      LIVONIA            MI 48150‐1800
                              09-50026-mg                 Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
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Name                          Address1                            Address2                         Address3               Address4                   City                 State Zip
OXENBERG, LARRY D             2632 VALLEY VIEW DR                                                                                                    LANCASTER             PA 17601
OXENDALE, JACK L              6264 MARYWOOD AVE                                                                                                      LANSING               MI 48911‐5537
OXENDALE, NELL J              3008 BAYWOOD DRIVE                                                                                                     LANSING               MI 48906‐9016
OXENDALE, RALPH E             14211 CLINTONIA RD                                                                                                     PORTLAND              MI 48875‐9322
OXENDER, CHARLES L            53578 PARKVILLE RD                                                                                                     THREE RIVERS          MI 49093‐8604
OXENDINE CYNTHIA              CYNTHIA, OXENDINE                   190 GEORGETOWN SHORTCUT ROAD                                                       CRESCENT CITY         FL 32112‐4508

OXENDINE JR, BRYANT D         858 SHADY HOLLOW CIR                                                                                                   BLOOMFIELD HILLS     MI   48304‐3766
OXENDINE JR, EVERETTE B       2225 ROSEANN DR                                                                                                        STERLING HTS         MI   48314‐2725
OXENDINE, DARREL              1230 RED HILL RD                                                                                                       MAXTON               NC   28364‐8361
OXENDINE, EVERITT B           28936 BOSTON ST                                                                                                        SAINT CLAIR SHORES   MI   48081‐1028
OXENDINE, FRANCES HUNT
OXENDINE, FRANK L             503 TOURMALINE DR                                                                                                      BLACKLICK            OH   43004‐8216
OXENDINE, HENRY W             2050 CABINET SHOP RD                                                                                                   ROWLAND              NC   28383‐8326
OXENDINE, JOHN PHILIP         ANDERSON & HERLONG                  PO BOX 2105                                                                        GREENVILLE           SC   29602‐2105
OXENDINE, JOHN PHILIP         MARK C JOYE, JOYE LAW FIRM LLP      5861 RIVERS AVE STE 101                                                            NORTH CHARLESTON     SC   29406‐6044
OXENDINE, JOHN W              PO BOX 544                                                                                                             PEMBROKE             NC   28372‐0544
OXENDINE, LAWTON              9621 ENDICOTT RD                                                                                                       TOMAH                WI   54660‐4346
OXENDINE, MARION PEARL        13 DEVONSHIRE LN                                                                                                       LANCASTER            NY   14086‐9455
OXENDINE, MARTIN L            39716 CAMP ST                                                                                                          HARRISON TWP         MI   48045‐1718
OXENDINE, MICHAEL V           683 N RIVERSIDE AVE                                                                                                    SAINT CLAIR          MI   48079‐5418
OXENDINE, STEVIE              2082 CABINET SHOP ROAD                                                                                                 ROWLAND              NC   28383‐8326
OXENDORF, ROBERT              3023 S 84TH ST                      APT F8                                                                             MILWAUKEE            WI   53227‐3712
OXENDORF, RUTH                6900 W OKLAHOMA AVE                                                                                                    MILWAUKEE            WI   53219‐2940
OXENRIDER, CARMON J           12636 WARD DR                                                                                                          CHESTERLAND          OH   44026‐2529
OXENRIDER, JAMES P            4435 ABOITE LAKE DR                                                                                                    FORT WAYNE           IN   46804‐4018
OXENRIDER, JOHN               DONEGAL INSURANCE GROUP             PO BOX 302                                                                         MARIETTA             PA   17547‐0302
OXENRIDER, JOHN & ELIZABETH   C/O DONEGAL INSURANCE GROUP         1195 RIVER RD                    P.O. BOX 302                                      MARIETTA             PA   17547‐0302
OXENRIDER, TERRY L            115 YAWMETER DR                                                                                                        BALTIMORE            MD   21220‐4531
OXFAM ‐ AMERICA               226 CAUSEWAY ST FL 5                                                                                                   BOSTON               MA   02114‐2155
OXFORD APPLIED RESEARCH       UNIT 31 CRAWLEY MILL INDSTRL        ESTATE DRY LANE CRAWLEY WITNEY                          OXFORDSHIRE OX29 9SP
                                                                                                                          GREAT BRITAIN
OXFORD AUTO/BENSALEM          4529 ADAMS CIR                      C/O C A SPALDING                                                                   BENSALEM             PA 19020‐3927
OXFORD AUTO/BLOOMFIE          2190 LANDMARK AVE NE                                                                                                   CORYDON              IN 47112‐2016
OXFORD AUTO/CAMBRDG           1574 EAGLE STREET                   P.O. BOX 3068                                           CAMBRIDGE ON N3H 4S5
                                                                                                                          CANADA
OXFORD AUTO/CORYDON           370 MANHATTAN RD                                                                                                       GREENCASTLE          IN 46135
OXFORD AUTO/CORYDON           1250 STEPHENSON HWY                                                                                                    TROY                 MI 48083‐1115
OXFORD AUTO/GREENCAS          1250 STEPHENSON HWY                                                                                                    TROY                 MI 48083‐1115
OXFORD AUTO/LA VESPI          CHEMIN DE CHAMBRAIS                                                                         LA VESPIERE 14290 FRANCE
OXFORD AUTO/MI                1250 STEPHENSON HWY                                                                                                    TROY                 MI   48083‐1115
OXFORD AUTO/TROY              1250 STEPHENSON HWY                                                                                                    TROY                 MI   48083‐1115
OXFORD AUTOMOTIVE             1250 STEPHENSON HWY                                                                                                    TROY                 MI   48083‐1115
OXFORD AUTOMOTIVE                                                 1250 STEPHENSON HWY.                                                                                    MI   48083
OXFORD AUTOMOTIVE APS                                             CHEMIN DE CHAMBRAIS                                                                                          14290
OXFORD AUTOMOTIVE GROUP       566 RIVERVIEW DR 4 2649             PO BOX 2012                                             CHATHAM CANADA ON
                                                                                                                          N7M 5L9 CANADA
OXFORD AUTOMOTIVE INC                                             1250 STEPHENSON HWY                                                                                     MI 48083
OXFORD AUTOMOTIVE INC         KENNEDY FULTON KOONTZ & FARINASH    320 N HOLTZCLAW AVE                                                                CHATTANOOGA          TN 37404

OXFORD BANK                   FOR DEPOSIT IN THE A/C OF           A MATTSON                        7199 ORTONVILLE ROAD                              CLARKSTON            MI 48348
OXFORD BANK                   ORTONVILLE BRANCH                   345 S ORTONVILLE ROAD M‐15                                                         ORTONVILLE           MI 48462
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Name                              Address1                         Address2             Address3       Address4               City               State Zip
OXFORD BANK                       FOR DEPOSIT IN THE ACCOUNT OF:   PO BOX 17            A BROWER                              OXFORD              MI 48371‐0017
OXFORD CIVIC ASSOCIATION          PO BOX 34                                                                                   OXFORD              PA 19363‐0034
OXFORD COMMUNICATIONS LTD
OXFORD ECONOMICS USA INC          303 W LANCASTER AVE STE 1B                                                                  WAYNE              PA 19087‐3938
OXFORD ENTERPRISES                PO BOX 5                                                             INGERSOLL ON N5C 3K1
                                                                                                       CANADA
OXFORD INSTRUMENTS AMERICA INC    300 BAKER AVE STE 150                                                                       CONCORD            MA 01742‐2124
OXFORD INSTRUMENTS MEASUREMENT    300 BAKER AVE STE 150                                                                       CONCORD            MA 01742‐2124

OXFORD NEIL                       14333 PRESTON RD APT 1603                                                                   DALLAS             TX   75254‐8512
OXFORD POLICE DEPARTMENT          DIVISION OF PARKING              101 E HIGH ST                                              OXFORD             OH   45056
OXFORD PRINCETON PROGRAMME        116 VILLAGE BLVD STE 230                                                                    PRINCETON          NJ   08540‐5700
OXFORD PRODUCT/OXFRD              PO BOX 652                                                                                  OXFORD             MI   48371‐0652
OXFORD PRODUCTS INTERNATIONAL                                      544 LAKEVILLE ROAD                                                            MI   48371
OXFORD PROPERTIES FLORIDA INC     2701 N ROCKY POINT DR STE 1000                                                              TAMPA              FL   33607‐5925
OXFORD PROPERTIES FLORIDA, INC.   2701 N ROCKY POINT DR STE 1000                                                              TAMPA              FL   33607‐5925
OXFORD TECHNOLOGIES               1250 STEPHENSON HWY                                                                         TROY               MI   48083‐1115
OXFORD TOWNSHIP TREASURER         18 W BURDICK ST                                                                             OXFORD             MI   48371‐4609
OXFORD UNIV/NEW YORK              200 MADISON AVENUE                                                                          NEW YORK           NY   10016
OXFORD WHITT                      649 MERRICK DR                                                                              BEAVERCREEK        OH   45434‐5815
OXFORD, BEULAH M                  3472 W CLARICE AVE                                                                          HIGHLAND           MI   48356‐2324
OXFORD, DOUGLAS C                 PO BOX 8128                                                                                 GADSDEN            AL   35902‐8128
OXFORD, GAILON E                  6063 SUGARLOAF DR                                                                           GRAND BLANC        MI   48439‐9157
OXFORD, GAYLON R                  RR 1 BOX 1440                                                                               URBANA             MO   65767‐9629
OXFORD, JAMES F                   2800 DEL CASA CIR                                                                           MIDWEST CITY       OK   73110‐6908
OXFORD, JAMES R                   9529 BUCKINGHAM CIR                                                                         LAINGSBURG         MI   48848‐9215
OXFORD, ROGER L                   RR BX 319                                                                                   CAVE IN ROCK       IL   62919
OXIE, DANIEL J                    38659 STURBRIDGE DR                                                                         STERLING HEIGHTS   MI   48310‐2955
OXLEY, BEVERLY A                  102 COVE RD                                                                                 SATSUMA            FL   32189‐2209
OXLEY, BILLIE L                   17601 WILLOW POND RD                                                                        ALVIN              TX   77511‐0602
OXLEY, EDWARD W                   102 COVE RD                                                                                 SATSUMA            FL   32189‐2209
OXLEY, GARY L                     9 WILL ROGERS CT                                                                            KETTERING          OH   45420‐2936
OXLEY, GARY L                     9 WILL ROGERS PL                                                                            KETTERING          OH   45420‐2936
OXLEY, GERAD M                    3253 PERRY CT                                                                               GRAND BLANC        MI   48439‐8151
OXLEY, JOHN P                     6213 TERRYDALE ST                                                                           MERRIAM            KS   66202‐2943
OXLEY, JOHN R                     104 LUDLOW ST                                                                               LAURA              OH   45337‐7714
OXLEY, JOHN R                     104 LUDLOW ST.                                                                              LAURA              OH   45337‐5337
OXLEY, KENNETH L                  9771 S COUNTY ROAD 300 E                                                                    MUNCIE             IN   47302‐8730
OXLEY, KERMIT L                   41856 GLEN ARBOR ST                                                                         CANTON             MI   48188‐2602
OXLEY, LISA R                     580 HERITAGE WOODS DR                                                                       DACULA             GA   30019
OXLEY, MARY                       15423 BLAIR AVE                                                                             BROOKSVILLE        FL   34609‐8503
OXLEY, MARY R                     4929 W CALEB CT                                                                             MUNCIE             IN   47302‐8948
OXLEY, MICHAEL B                  4126 WINTER HUE LN                                                                          DAVISON            MI   48423‐8923
OXLEY, PHILLIP E                  9065 LAKE RD                                                                                OTISVILLE          MI   48463‐9781
OXLEY, PHILLIP EDWARD             9065 LAKE RD                                                                                OTISVILLE          MI   48463‐9781
OXLEY, PHILLIP L                  25 SARAWAK RD                                                                               FRANKLIN           NC   28734‐8605
OXLEY, ROBERT P                   1023 GRANGE HALL RD                                                                         FENTON             MI   48430‐1615
OXLEY, RONALD L                   5013 W FRANCES AVE                                                                          MUNCIE             IN   47302‐8942
OXLEY, RONALD LEE                 5013 W FRANCES AVE                                                                          MUNCIE             IN   47302‐8942
OXLEY, ROSE M                     9270 ETON CT                                                                                SWARTZ CREEK       MI   48473‐1012
OXLEY, STEVEN J                   1105 BONE RD                                                                                FENTON             MI   48430‐8507
OXLEY, TIMOTHY L                  9221 S 300 E                                                                                MUNCIE             IN   47302
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Name                                  Address1                         Address2                        Address3   Address4                 City                State Zip
OXLO SYSTEMS                          11101 W 120TH AVE STE 240                                                                            BROOMFIELD           CO 80021‐3436
OXNARD CAM ANESTH GR                  11999 SAN VICENTE BLVD STE 440                                                                       LOS ANGELES          CA 90049‐5042
OXNARD VALLEY MED GR                  26500 W AGOURA RD STE 102‐581                                                                        CALABASAS            CA 91302
OXNARD, HARRY                         120 DIXIE DR                                                                                         CHAPEL HILL          NC 27514‐6615
OXNER, CLARA H                        58 S PLEASANT AVE                                                                                    FAIRBORN             OH 45324
OXNER, VELMA E                        9073 MINOCK ST                                                                                       DETROIT              MI 48228‐1757
OXON HILL SHELL                       6222 LIVINGSTON RD                                                                                   OXON HILL            MD 20745‐3007
OXTRA, ANTON ARTHUR                   3342 SANDY SHORE DR                                                                                  METAMORA             MI 48455‐8973
OXTRA, CORA L                         3342 SANDY SHORE DR                                                                                  METAMORA             MI 48455‐8973
OXX, JEFFREY P                        630 3RD AVE                                                                                          LYNDHURST            NJ 07071‐1232
OXY LIFE INTERNATIONAL SA DE CV       AV CEYLAN NO 697                                                            MEXICO DF 02300 MEXICO
OY                                    1450 SOUTER DR                                                                                       TROY                MI 48083‐2824
OY AUTO BIL AB                        TIETAJANTIE, 8                                                              ESPOO 13 02131 FINLAND
OY INTERNATIONAL BUSINESS MACHINES    LEE ROSZCZYNSKI                  18000 W. NINE MILE ROAD                                             SOUTHFIELD          MI 48075
AB / IBM GLOBAL FINANCING

OY METRO‐AUTO AB                      HERNEPELLONKUJA 12                                                          HELSINKI FIN‐0 FINLAND
OY TURUN AUTOHALLI AB                 RAUHANKATU, 11                                                              TURKU 10 20100 FINLAND
OY‐NA. IMPORT, AB.                    HERNEPELLONKUJA 12                                                          HELSINKI 00560 FINLAND
OYA S AGABIGUM                        5040 VILLA LINDE PKWY STE A                                                                          FLINT               MI   48532‐3445
OYAMA, LARRY K                        41912 MERRIMAC CIR                                                                                   CLINTON TWP         MI   48038‐2280
OYANGUREN, JESSIE                     9539 DELCO AVE                                                                                       CHATSWORTH          CA   91311‐5318
OYARZUN, JOSE L                       303 SANFORD RD                                                                                       UPPER DARBY         PA   19082‐4716
OYE, ELISABETH M                      516 BLOOMFIELD COURT                                                                                 BIRMINGHAM          MI   48009‐1303
OYENAME, SARA J                       14232 MARSH LN # 281                                                                                 ADDISON             TX   75001
OYER SR, GARY M                       6 FILLNER AVE                                                                                        N TONAWANDA         NY   14120‐3103
OYER, BETTY J                         2316 WILLOWSIDE                                                                                      GROVE CITY          OH   43123‐8848
OYER, DWIGHT D                        8499 E M 71 LOT 75                                                                                   DURAND              MI   48429‐1005
OYER, JUNE A                          1215 DELAWARE AVE                                                                                    MONTPELIER          OH   43543‐1816
OYER, JUNE A                          1215 DELAWARE                                                                                        MONTPELIER          OH   43543‐1816
OYER, THOMAS J                        2315 WILLOW LAKES EAST BLVD                                                                          GREENWOOD           IN   46143‐8633
OYERLY JR, CHARLES W                  943 POINTVIEW CIR                                                                                    MOUNT JULIET        TN   37122‐2224
OYERLY, C FAYE                        943 POINTVIEW CIR                                                                                    MOUNT JULIET        TN   37122‐2224
OYERLY, MYRA C                        4015 NO THOMAS                                                                                       FREELAND            MI   48623
OYLEAR DONALD                         PO BOX 208                                                                                           DAYTON              MT   59914‐0208
OYLER BROS CO/ECI                     58 CANAL BLVD                                                                                        PONTE VEDRA BEACH   FL   32082
OYLER CHARLES (459243)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA   23510
                                                                       STREET, SUITE 600
OYLER MARGARET (ESTATE OF) (463261)   KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                       CLEVELAND           OH 44114
                                                                       BOND COURT BUILDING
OYLER, CHARLES                        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA 23510‐2212
                                                                       STREET, SUITE 600
OYLER, CHRISTA K                      1513 DIANE DR                                                                                        FLUSHING            MI   48433‐1826
OYLER, JANET R                        135 SCOTT ST                                                                                         HOLLISTER           MO   65672‐5188
OYLER, JANET R                        135 SCOTT STREET                                                                                     HOLISTER            MO   65672‐5672
OYLER, JASON A                        2218 MONTEITH ST                                                                                     FLINT               MI   48504‐4656
OYLER, JASON ALAN                     2218 MONTEITH ST                                                                                     FLINT               MI   48504‐4656
OYLER, JUDITH A                       PO BOX 313                                                                                           BURLINGTON          IN   46915‐0313
OYLER, MARGARET                       KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                        CLEVELAND           OH   44114
                                                                       BOND COURT BUILDING
OYLER, MARTHA S                       1203 BRITTANY CIRCLE                                                                                 BROWNSBURG          IN 46112‐8333
OYLER, RONALD A                       1441 ALLEN ST                                                                                        BURTON              MI 48529‐1268
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Name                               Address1                             Address2                 Address3        Address4                    City              State Zip
OYLER, RONALD ALAN                 1441 ALLEN ST                                                                                             BURTON             MI 48529‐1268
OYLER, SANDRA                      820 W PERRY ST                                                                                            PAULDING           OH 45879‐1366
OYNA IMPART AB                     HERNEPELLON KUJA 12 PB 12                                                     HELSINKI FI‐00560 FINLAND
OYNOIAN, M R                       8084 MILLS ST                                                                                             TAYLOR            MI   48180‐2010
OYOLA, WILFREDO                    127 W F ST                                                                                                FROSTPROOF        FL   33843‐1605
OYSTEIN HEKNEBY                    9874 HILLCREST ST                                                                                         LIVONIA           MI   48150‐2920
OYSTER MEGAN                       OYSTER, MEGAN                        STATE FARM               P.O. BOX 3020                               NEWARK            OH   43058‐3020
OYSTER, GLADYS M                   230 MYERS AVE                                                                                             BELLVILLE         OH   44813‐1132
OYSTER, MEGAN                      STATE FARM                           PO BOX 3020                                                          NEWARK            OH   43058‐3020
OYSTER, MEGAN                      4209 MEADOWLARK TRAIL                                                                                     STOW              OH   44224‐2405
OZ BLACKALLER
OZA CAMPBELL                       2022 STATE ST                                                                                             EAST CARONDELET   IL   62240‐1328
OZA LIVESAY                        561 609 FIFTH ST                                                                                          DELAWARE CITY     DE   19706
OZA WALDRUP                        202 NE NOELEEN LN                                                                                         LEES SUMMIT       MO   64086‐3022
OZAB, DONALD E                     3775 MODOC RD                        APT LP‐214                                                           SANTA BARBARA     CA   93105
OZAN REBECCA                       OZAN, REBECCA                        1801 E 9TH ST STE 1710                                               CLEVELAND         OH   44114‐3198
OZANA, MARY M                      2532 N OAKLEY ST                                                                                          SAGINAW           MI   48602‐5427
OZANICH, CARL F                    PO BOX 502                                                                                                LEAVITTSBURG      OH   44430‐0502
OZANICH, CONNIE T                  15574 BEALFRED DR                                                                                         FENTON            MI   48430‐1714
OZANICH, RALPH A                   4643 S MORRICE RD RTE 1                                                                                   OWOSSO            MI   48867
OZANICH, RANDY L                   2325 BENNETT AVE                                                                                          FLINT             MI   48506‐3656
OZANICH, THOMAS J                  6071 RIDGE RUN DR NW                                                                                      WARREN            OH   44481‐9022
OZANICH, THOMAS JAMES              6071 RIDGE RUN DR NW                                                                                      WARREN            OH   44481‐9022
OZANICH, WALTER J                  316 WOODHAVEN DR                                                                                          LANSING           MI   48917‐3537
OZANICK, EDITH M                   11630 PINEHURST DR                                                                                        CHARDON           OH   44024
OZANICK, LEONARD F                 1560 DOUGLAS RD                                                                                           WICKLIFFE         OH   44092‐1002
OZARK COUNTY COLLECTOR             PO BOX 25                                                                                                 GAINESVILLE       MO   65655‐0025
OZARK, DONALD J                    6142 ROCK RD                                                                                              LAKE              MI   48632‐9737
OZARKIW, KATERYNA                  4341 MCKINLEY                                                                                             WARREN            MI   48091‐1175
OZARKIW, KATERYNA                  4341 MCKINLEY AVE                                                                                         WARREN            MI   48091‐1175
OZARKS GP INCORPORATED
OZARKS NEWS DIST., INC.            KENNETH GIDDENS                      1631 N. ELDON                                                        SPRINGFIELD       MO 65803
OZARKS TECHNICAL COMMUNITY COLLEGE PO BOX 5958                                                                                               SPRINGFIELD       MO 65801‐5958

OZASKY DIANE                        26107 MCBEAN PKWY UNIT 62                                                                                VALENCIA          CA   91355‐3710
OZAYDIN, DAN                        PETERS LAW FIRM PC                  PO BOX 1078                                                          COUNCIL BLUFFS    IA   51502‐1078
OZAYDIN, DEANN                      PETERS LAW FIRM PC                  PO BOX 1078                                                          COUNCIL BLUFFS    IA   51502‐1078
OZAZEWSKI, NORMAN J                 1003 VERNON CT                                                                                           ABINGDON          MD   21009‐1234
OZBEKI, MOHAMMAD A                  22346 CARLISLE CT                                                                                        NOVI              MI   48374‐3854
OZBEKI,MOHAMMAD A                   22346 CARLISLE CT                                                                                        NOVI              MI   48374‐3854
OZBOLT, MARK D                      31 LIVINGSTONE LANE                                                                                      DECATUR           AL   35603‐5752
OZBURN HESSEY LOGISTICS             300 SANFORD ROAD                                                                                         LA VERGNE         TN   37086
OZBURN, ANTHONY D                   523 S RIVER DR                                                                                           JACKSON           GA   30233‐3221
OZCO LIMITED INC                    1795 RIVERVIEW DRIVE                                                                                     SAN BERNARDINO    CA   92408
OZDEMIR, STEVEN S                   10001 WOODCREEK OAKS BLVD APT 124                                                                        ROSEVILLE         CA   95747

OZDYCH, ANTOINETTE                  36656 HAVERHILL ST                                                                                       STERLING HTS      MI   48312‐2728
OZEL COON                           PO BOX 37                                                                                                MANTON            MI   49663‐0037
OZEL, HASAN                         625 WATERVIEW TRL                                                                                        ALPHARETTA        GA   30022‐7015
OZELA STEWART                       8542 MARLOWE ST                                                                                          DETROIT           MI   48228‐2432
OZELIA HARRIS                       1007 MICHIGAN AVE                                                                                        MUSCLE SHOALS     AL   35661‐2443
OZELIA M WASHINGTON                 2010 LOGAN ST                                                                                            SHREVEPORT        LA   71101‐2102
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Name                    Address1                         Address2                         Address3   Address4                City               State Zip
OZELIA WASHINGTON       2010 LOGAN ST                                                                                        SHREVEPORT          LA 71101‐2102
OZELL ( EARLY           839 JESSIE STREET                                                                                    DAYTON              OH 45410‐2109
OZELL FLEMING           296 HUMBOLDT PKWY                                                                                    BUFFALO             NY 14214‐2729
OZELL FOWARD            1353 W 5TH ST                                                                                        DAYTON              OH 45402‐8222
OZELL FOWARD            1353 W 5TH ST                                                                                        DAYTON              OH 45407‐3222
OZELL JOHNSON           338 BYRD VEST RD                                                                                     HARTSELLE           AL 35640‐8020
OZELL K FOWARD          1353 W 5TH ST                                                                                        DAYTON              OH 45407‐3222
OZELL L REYNOLDS        2840 LAS VEGAS TRL APT 139                                                                           FORT WORTH          TX 76116‐3013
OZELL LEWIS             PO BOX 311011                                                                                        FLINT               MI 48531‐1011
OZELL NORTHERN JR       1918 BENSON DR                                                                                       DAYTON              OH 45406‐4404
OZELL RAY               RR 4 BOX 67E                                                                                         RUSK                TX 75785‐9408
OZELL REYNOLDS          2840 LAS VEGAS TRL APT 139                                                                           FORT WORTH          TX 76116‐3013
OZELL SIMPSON           PO BOX 513                                                                                           GENESEE             MI 48437‐0513
OZELL WATERS            2818 LAPEER RD                                                                                       FLINT               MI 48503‐4355
OZELL WILLIAMS          327 NELSON ST                                                                                        DANVILLE             IL 61832‐7027
OZELLA ALLISON          491 E 123RD ST                                                                                       CLEVELAND           OH 44108‐1869
OZELLA COLLUM           609 CALDER AVE                                                                                       YPSILANTI           MI 48198‐8031
OZELLA LEE              PO BOX 883                                                                                           RISON               AR 71665‐0883
OZELLA MAYS             3370 9TH ST                                                                                          MUSKEGON HTS        MI 49444‐2862
OZELLA TATE             1123 CONGRESS ST                                                                                     MONTGOMERY          AL 36108‐2928
OZELLA WILLIAMS         6130 ELMO RD                                                                                         CUMMING             GA 30028‐3191
OZELLA, FRANKIE L       21885 E SUNSET DR                                                                                    MACOMB              MI 48044‐3715
OZELLIA COLLINS         PO BOX 175                                                                                           BENTONIA            MS 39040‐0175
OZENBAUGH, JUNIOR D     820 N 16TH ST                                                                                        ELWOOD              IN 46036‐1315
OZENGHAR, JUDITH P      5616 S PRICETOWN RD                                                                                  BERLIN CENTER       OH 44401‐9717
OZENGHAR, ROBERT A      437 CASA GRANDE                                                                                      EDGEWATER           FL 32141‐7669
OZENGHAR, SAMUEL J      10413 STRATTON RD                                                                                    SALEM               OH 44460‐9641
OZENNE JOSEPH           3724 YALE ST                                                                                         LAKE CHARLES        LA 70607‐3050
OZER, IRWIN
OZERANIC JR, THOMAS A   1160 WILDWOOD LN                                                                                     CANTON             MI   48188‐5082
OZERITIES, DOROTHEA J   2609 COLEMAN PLACE                                                                                   LEESBURG           FL   34748‐6264
OZERITIES, HENRY B      4840 WEISS ST                                                                                        SAGINAW            MI   48603‐3854
OZETTA EWING            3208 COUNTRY MEADOW RD                                                                               ANTIOCH            TN   37013‐1229
OZGA, ANNA              7221 HAWTHORNE CIR                                                                                   GOODRICH           MI   48438‐9239
OZGA, KENNETH J         1555 BIRCHWOOD CIR                                                                                   FRANKLIN           TN   37064‐6866
OZGA, LAWRENCE M        3338 PALM AIRE CT                                                                                    ROCHESTER HILLS    MI   48309‐1038
OZGA, WILLIAM T         19 PIEDMONT ST                                                                                       PROVIDENCE         RI   02909‐1045
OZGO, EUGENIA           19681 SUMMERLIN RD LOT D‐56                                                                          FORT MYERS         FL   33908‐3873
OZGUR TAN               [NULL]                           ESKI BAGDAT CD. GENCARSLAN AP.              ISTANBUL 34840 TURKEY
                                                         NO:9 D:8 ALTINTEPE
OZGUR WROE              APT 413                          20331 BLUFFSIDE CIRCLE                                              HUNTINGTN BCH      CA   92646‐8527
OZIA BROWN              2720 PALMYRA RD SW                                                                                   WARREN             OH   44481‐9102
OZIAS BOWLING           1904 COUNTY ROAD 227                                                                                 MOULTON            AL   35650‐7130
OZIAS GATES             106 MAGNOLIA DR                                                                                      ANDERSON           IN   46012‐1015
OZIAS, ALAN M           13940 THAMES DR                                                                                      SHELBY TWP         MI   48315‐5432
OZIAS, DAVID L          3492 BELINDA DR                                                                                      STERLING HEIGHTS   MI   48310‐1788
OZIAS, DONALD E         2900 APPLETON AVE                                                                                    INDEPENDENCE       MO   64052‐2939
OZIAS, GREG A           745 S MARIAS AVE                                                                                     CLAWSON            MI   48017‐1858
OZIAS, JEAN             680 DELPHINIUM DR                                                                                    VENICE             FL   34293‐6922
OZIAS, JEANNETTE        15524 ORCHARD RIDGE DR                                                                               CLINTON TOWNSHIP   MI   48038‐1695
OZIAS, ROBERT W         4675 NEW RD                                                                                          YOUNGSTOWN         OH   44515‐3814
OZIAS, ROBERT WILLIAM   4675 NEW RD                                                                                          YOUNGSTOWN         OH   44515‐3814
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Name                       Address1                           Address2                      Address3   Address4                 City             State Zip
OZIAS, ROGER E             195 FAIRMEADOW DR                                                                                    YOUNGSTOWN        OH 44515‐2218
OZIE BATES                 14515 SUSSEX ST                                                                                      DETROIT           MI 48227‐2508
OZIE DAVIS                 19414 HEALY ST                                                                                       DETROIT           MI 48234‐2154
OZIE GIBBS                 PO BOX 1732                                                                                          ELIZABETH CITY    NC 27906‐1732
OZIE HARRIS                5219 MAXSON DR                     APT 05                                                            SAGINAW           MI 48603
OZIE HAYES                 2725 W MIRA DR                                                                                       QUEEN CREEK       AZ 85242‐6747
OZIE KEYS                  1611 EDDY RD                                                                                         CLEVELAND         OH 44112‐4207
OZIE LOGAN                 3007 IROQUOIS AVE                                                                                    FLINT             MI 48505‐4045
OZIE M REYNOLDS            9086 PLAINVIEW AVE                                                                                   DETROIT           MI 48228‐1764
OZIE PAGE                  WEITZ & LUXENBERG PC               700 BROADWAY                                                      NEW YORK CITY     NY 10003
OZIE PAYNE                 816 PALMER DR                                                                                        PONTIAC           MI 48342‐1858
OZIE REED                  816 E 8TH ST                                                                                         FLINT             MI 48503‐2779
OZIE REYNOLDS              9086 PLAINVIEW AVE                                                                                   DETROIT           MI 48228‐1764
OZIE SMITH                 16301 LOTUS DR                                                                                       CLEVELAND         OH 44128‐2438
OZILDA SABAROFF            853 DUKE                                                                                             MILFORD           MI 48381‐1105
OZIMEK, BARBARA A          APT 14                             6485 DYSINGER ROAD                                                LOCKPORT          NY 14094‐9059
OZIMEK, DANIEL E           2016 SANTO DOMINGO DR                                                                                LADY LAKE         FL 32159‐9556
OZIMEK, JOHN E             4645 EAGLE CREEK RD                                                                                  LEAVITTSBURG      OH 44430‐9464
OZIMINSKI, THADDEUS X      12850 W STATE ROAD 84 LOT 18‐27                                                                      DAVIE             FL 33325‐3312
OZINA ARCHER               2803 BATON ROUGE DR                                                                                  KOKOMO            IN 46902‐2907
OZITE HALL                 PO BOX 21                                                                                            DOVER             MO 64022‐0021
OZKAN BURC                 221 TRUMBALL ST                    APT 709                                                           HARTFORD          CT 06103‐1511
OZLA PLASTOCRAFT PVT LTD   A‐28‐A MAYAPURI INDUSTRIAL         AREA PHASE 2                             NEW DELHI 110084 INDIA
OZLE JACKSON               1329 DWIGHT ST                                                                                       SAGINAW          MI 48601‐1159
OZLOS REPAIR SHOP          1049 HWY 56, RR #1                                                          HANNON ON L0R 1P0
                                                                                                       CANADA
OZMENT, DARRELL J          39394 PENN RD                                                                                        PONCHATOULA      LA   70454‐4526
OZMENT, LOREDA S           230 WINDING RIDGE DR # A                                                                             W JEFFERSON      NC   28694‐8531
OZMENT, MELODY A           643 S BELL ST                                                                                        KOKOMO           IN   46901‐5526
OZMENT, PAUL H             30130 BRISTOL LN                                                                                     BINGHAM FARMS    MI   48025‐4603
OZMENT, ROBERT L           1455 90TH AVE LOT 196                                                                                VERO BEACH       FL   32966‐6630
OZMENT, THOMAS L           230A WINDING RIDGE DR                                                                                WEST JEFFERSON   NC   28694‐8531
OZMENT, VIRGINIA           ICO THE LANIER LAW FIRM PC         6810 FM 1960 WEST                                                 HOUSTON          TX   77069
OZMINSKI, ALVIN A          2896 HADLEY RD                                                                                       LAPEER           MI   48446‐9689
OZMINSKI, WILMA I          2896 HADLEY RD                                                                                       LAPEER           MI   48446‐9689
OZMON, JOHN D              504 PERWINKLE WAY                                                                                    CASWELL BEACH    NC   28465‐8454
OZOG JR, JOSEPH            9403 BARRY DR                                                                                        ROMULUS          MI   48174‐1572
OZOG, RONALD A             47181 BARBARA RD                                                                                     MACOMB           MI   48044‐2405
OZRE GREENVILLE LLC        150 EXECUTIVE CENTER DRIVE, #B10                                                                     GREENVILLE       SC   29615
OZRE GREENVILLE LLC        PO BOX 53320                                                                                         ATLANTA          GA   30355
OZRE GREENVILLE LLC        P.O. BOX 533220                                                                                      CHARLOTTE        NC   28290
OZRE GREENVILLE LLC        NAI EARLE FURMAN, LLC              101 E WASHINGTON ST STE 400                                       GREENVILLE       SC   29601‐4815
OZROVITZ, BRUCE A          14230 LINCOLN ST                                                                                     OAK PARK         MI   48237‐1396
OZTURK, HAKAN
OZTURK, MELISSA
OZUNA ABEL A (440325)      PAUL REICH & MYERS                 1608 WALNUT ST STE 500                                            PHILADELPHIA     PA 19103‐5446
OZUNA, ABEL A              PAUL REICH & MYERS                 1608 WALNUT ST STE 500                                            PHILADELPHIA     PA 19103‐5446
OZUNA, JOSE                C/O THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD       SUITE 44                            CORAL GABLES     FL 33146
OZUNA, LYDIA
OZUNA, VIVIANO             C/O THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD       SUITE 44                            CORAL GABLES     FL 33146
OZVALD, JOZEF              2150 KELLOGG RD                                                                                      HINCKLEY         OH 44233‐9780
OZVATH, JANET M            993 PRINCEWOOD AVE                                                                                   DAYTON           OH 45429‐5859
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Name                                    Address1                         Address2                     Address3              Address4             City                State Zip
OZWALDA, JOSEPH H                       382 ELMWOOD DR                                                                                           CORUNNA              MI 48817‐1133
OZYJOWSKI, ALEXANDER                    1045 MARLSTONE PL                                                                                        COLORADO SPRINGS     CO 80904‐2988
OZZIA F WASHINGTON                      32317 HIGHWAY 18                                                                                         UTICA                MS 39175‐9618
OZZIE B SMITH                           WEITZ LUXENBERG PC               700 BROADWAY                                                            NEW YORK CITY        NY 10003
OZZIE B SMITH                           C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                            NEW YORK CITY        NY 10003
OZZIE B STOVALL                         7631 BRUSH ST                                                                                            DETROIT              MI 48202‐2843
OZZIE BARTON                            10317 S MCKINLEY AVE                                                                                     OKLAHOMA CITY        OK 73139‐2955
OZZIE BUCKHEART                         262 E DAVIS ST                                                                                           PIGGOTT              AR 72454‐2717
OZZIE DOUGLAS                           17 OAKWOOD DR                                                                                            MONROE               LA 71203‐2754
OZZIE JONES                             1036 PEARCE DR                                                                                           MANSFIELD            OH 44906‐2936
OZZIE MCLEMORE                          1950 ARLINGTON AVE                                                                                       SAINT LOUIS          MO 63112‐4368
OZZIE MITCHELL                          701 S PATTERSON DR                                                                                       MOORE                OK 73160‐7286
OZZIMO, ROBERT C                        6945 CAMPBELL BLVD                                                                                       NORTH TONAWANDA      NY 14120‐9605
P & A CONVEYOR SALES INC                PO BOX 2145                                                                                              RIVERVIEW            MI 48193‐1145
P & A FREIGHT CONNECTIONS INC           9110 WILD TRAILS                                                                                         SAN ANTONIO          TX 78250
P & A INDUSTRIES INC                    PO BOX 631005                                                                                            CINCINNATI           OH 45263‐1005
P & A METAL SERVICES INC                362 N WESTWOOD AVE                                                                                       TOLEDO               OH 43607‐3343
P & A/MONROE                            ONE LYMAN E HOYT DRIVE           (MIDWAY)                                                                MONROE               MI 48161
P & B CONSTRUCTION                      ATTN: TRACY BLACKWELL            1 CORY LN                                                               BEDFORD              IN 47421‐9231
P & B INVESTMENTS                       675 SEWARD ST                                                                                            DETROIT              MI 48202‐2490
P & B TRANSPORTATION INC                601 MARCO RD                                                                                             APOLLO               PA 15613‐8854
P & B TRUCKING INC                      1038 N 2ND ST                                                                                            DECATUR              IN 46733‐1187
P & D TRANSPORTATION                    PO BOX 3327                                                                                              ZANESVILLE           OH 43702
P & E FARMS                             C\O PAUL F PERKINS               3579 STANHOPEKELLOGSVL RD                                               DORSET               OH 44032
P & E HAULING                           3065 SLAVIK RD                                                                                           COLDWATER            OH 45828‐8720
P & E MICROCOMPUTER SYSTEMS INC         PO BOX 2044                                                                                              WOBURN               MA 01888‐0044
P & F TOOL & DIE, DIV. OF COSMA INT'L   STEVE NOBLE                      210 CITATION DR                                    CONCORD ON L4K 2V2
                                                                                                                            CANADA
P & G SPEEDWAY INC                      1070 WILLOBY LN                                                                                          ELGIN               IL   60120‐4924
P & J DELIVERY SERVICE INC              PO BOX 2975                                                                                              GRAND RAPIDS        MI   49501‐2975
P & J HOLDING CORP                      200 ATLANTIC ISLE                                                                                        SUNNY ISLES BEACH   FL   33160
P & K ENTERPRISE LLC                    DBA SKY HARBOR AIRPORT PARKING   402 S 40TH ST                                                           PHOENIX             AZ   85034‐3800
P & K PROPERTY LLC
P & M AUTOMOTIVE INC.                   1110 S 90TH ST                                                                                           TAMPA               FL   33619‐4902
P & M CONSULTING GROUP INC              501 W EUCLID AVE                                                                                         TAMPA               FL   33602‐1215
P & M MACHINE CO                        18789 AVON WOOSTER RD                                                                                    GRAFTON             OH   44044
P & M MACHINE INC                       8184 SMITHS CREEK RD                                                                                     WALES               MI   48027‐3816
P & M TRUCKING INC                      ASSIGNMENT TERMINATED 10/16/06   5280 BURTCH RD                                                          GRANT TWP           MI   48032‐2908
P & O NEDLLOYD                          1 MEADOWLANDS PLAZA              14 FLR                                                                  EAST RUTHERFORD     NJ   07073
P & P TRANSPORT                         45 EAST PARK DRIVE                                                                                       MOUNT HOLLY         NJ   08060‐5123
P & R COMMUNICATIONS SERVICE INC        731 E 1ST ST                                                                                             DAYTON              OH   45402‐1302
P & R FAST/PORT HURO                    ATTN. WENDY HEAROLD              C/O OLDFORD & ASSOC., INC.   1012 HOLLAND AVENUE                        PORT HURON          MI   48060
P & R FAST/SOMERSET                     325 PIERCE ST                                                                                            SOMERSET            NJ   08873‐1229
P & R FASTENERS INC                     325 PIERCE ST                                                                                            SOMERSET            NJ   08873‐1229
P & R FASTENERS INCORPORATED            BRIAN ISSAKSON                   325 PIERCE ST                                                           SOMERSET            NJ   08873‐1229
P & R FASTENERS INCORPORATED            BRIAN ISSAKSON                   325 PIERCE STREET                                                       BROWNSVILLE         TX   78521
P & R INDUSTRIES                        1524 CLINTON AVE N                                                                                       ROCHESTER           NY   14621‐2206
P & R INDUSTRIES INC                    1524 CLINTON AVE N                                                                                       ROCHESTER           NY   14621‐2206
P & R INDUSTRIES INC                    ATTN ACCOUNTS RECEIVABLES        PO BOX 8000                                                             BUFFALO             NY
P & R SUPPLY CO INC                     PO BOX 690094                                                                                            TULSA               OK   74169‐0094
P & T AUTO PARTS & PAINTS CO            ATTN: JULIO TI                   4828 MICHIGAN AVE                                                       DETROIT             MI   48210‐3250
P A C E INC                             PO BOX 6599                                                                                              IRVINE              CA   92616‐6599
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P A INDUSTRIES INC                    522 COTTAGE GROVE RD                                                                                       BLOOMFIELD          CT 06002
P A M TRANSPORTATION SERVICES INC     JACK CANZONETTA                  297 WEST HENRI DE TONTI BLVD.                                             TONTITOWN           AR 72770
P A M TRANSPORTATION SERVICES INC     PO BOX 188                                                                                                 TONTITOWN           AR 72770
P AND G CHEVROLET, INC.               HUBERT PARKS                     6441 N TRYON ST                                                           CHARLOTTE           NC 28213‐7920
P AND W FOREIGN CAR SERVICES          DBA P AND W SAAB                 4801 BAUM BLVD                                                            PITTSBURGH          PA 15213‐1305
P AYR PRODUCTS                        719 DELAWARE ST                                                                                            LEAVENWORTH         KS 66048‐2472
P B JENKINS                           8104 SOUTH UNION RD                                                                                        MIAMISBURG          OH 45342‐4042
P BARNETT CONSTRUCTION CO LTD         D‐860542                                                                                                   ORLANDO             FL 32886‐0542
P BARRETT JR                          47 CHATSWORTH CT                                                                                           LAKE ST LOUIS       MO 63367‐1954
P BLAINE & PATRICIA B CLEMENS         33 MEADOW LN                     PO BOX 246                                                                SMOKETOWN           PA 17576
P BROOKS                              2033 PERKINS ST                                                                                            SAGINAW             MI 48601‐2071
P C MCCUTCHEON                        344 1/2 MAIN ST                                                                                            MASSENA             NY 13662‐2546
P CARTER                              4001 AGNES AVE                                                                                             KANSAS CITY         MO 64130‐1407
P CHAMBERS JR                         435 SUNSET RIDGE LN                                                                                        WASHINGTON          MO 63090‐5774
P CHRISTIAN                           8258 JANIS ST                                                                                              SHELBY TOWNSHIP     MI 48317
P D DAFLER                            6853 GEORGETOWN VERONA RD                                                                                  LEWISBURG           OH 45338
P D Q TRANSPORT INC                   PO BOX 246                                                                                                 CHEYENNE            WY 82003‐0246
P D TODD                              549 W COLLEGE                                                                                              STANTON             KY 40380‐2229
P DAVIS                               3641 NE HIGHWAY 33                                                                                         GUTHRIE             OK 73044‐8994
P DILL                                967 RAHWAY DR                                                                                              NEWARK              DE 19711‐2690
P DONALD FRY                          18 LANTERN LANE                                                                                            SHIPPENSBURG        PA 17257
P E HANDLEY WALKER INC                6000 FREEDOM SQUARE DR STE 140                                                                             INDEPENDENCE        OH 44131‐2554
P E MASON                             1242 BELTLINE RD SW APT 404                                                                                DECATUR             AL 35601‐6254
P E SHERIDAN                          8474 LAUVER RD                                                                                             PLEASANT HILL       OH 45359‐9716
P ESTATE OF GARY DUNLA                3830 N DENVER CT                                                                                           KANSAS CITY         MO 64117‐2884
P F LUXNER                            2784 PANSY ROAD                                                                                            CLARKSVILLE         OH 45113‐8642
P F ZYLSTRA                           74 BURLINGAME                                                                                              IRVINE              CA 92602‐1003
P FRONEBARGER                         PO BOX 1045                                                                                                CANTON              GA 30169‐1045
PGE                                   726 SW LOWER BEND RD                                                                                       MADRAS              OR 97741‐9372
P GARRISON                            409 CHERRY ST NW                                                                                           HARTSELLE           AL 35640‐2142
P GREEN                               13628 MEADE GLEN CT                                                                                        CHARLOTTE           NC 28273‐4897
P H PRECISION PRODUCTS CORP           340 COMMERCE WAY                                                                                           PEMBROKE            NH 03275‐3718
P HADLEY                              6017 TRUMAN DR                                                                                             FORT WORTH          TX 76112‐7937
P I E NATIONWIDE INC                  2050 KINGS RD                                                                                              JACKSONVILLE        FL 32209‐5356
P INMAN                               1405 WESTBROOK AVENUE                                                                                      ODESSA              TX 79761‐3443
P J PATEL & REKHA P PATEL             1003 MOCKINGBIRD WAY                                                                                       SUGAR LAND          TX 77478
P J SMIT                              VINCENT V GOGHSTRAAT #46         1382VH WEESP                     NETHERLANDS
P J WALLBANK MFG CO LTD               PO BOX 99                                                                         PLATTSVILLE ON N0J 1S0
                                                                                                                        CANADA
P J WALLBANK/PLATTSV                  OXFORD RD 8 HWY 97                                                                PLATTSVILLE ON N0J 1S0
                                                                                                                        CANADA
P J'S AUTO TRANSPORT LLC              ATTN: PETE DALY                  PO BOX 80014                                                              LANSING            MI 48908‐0014
P J'S AUTO VILLAGE                    CHOINIERE, II, PAUL H            2073 WILLISTON RD                                                         SOUTH BURLINGTON   VT 05403‐6009
P JEFF MARTIN LETTER RE CLIENT AUTO   MARTIN, P JEFF                   1180 HIGHWAY NORTH SUITE 2 P O                                            LITTLE RIVER       SC 29566
CONCEPT SUBMISSION                                                     BOX 250
P JOHN BRADY                          SHUGHART THOMSON & KILROY PC     TWELVE WYANDOTTE PLAZA           120 W 12TH ST                            KANSAS CITY        MO   64105‐1922
P JOUNAGIN                            626 E DAYTON ST                                                                                            FLINT              MI   48505‐4327
P K CONTRACTING INC                   1965 BARRETT DR                                                                                            TROY               MI   48084‐5372
P K G EQUIPMENT INC                   367 PAUL RD                                                                                                ROCHESTER          NY   14624‐4925
P KRAFCZYK                            PETER KRAFCZYK                   HINDEMITHWEG 3                                   50829 KOLN, GERMANY
P L STEPHENS                          215 S 21ST                                                                                                 SAGINAW            MI 48601
P LOPEZ                               1906 WEST ST                                                                                               UNION CITY         NJ 07087‐3308
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Name                                Address1                           Address2                      Address3                  Address4         City              State Zip
P MAFATAU                           1620 S GHARKEY ST                                                                                           MUNCIE             IN 47302‐3179
P MASON                             PO BOX 39                                                                                                   COURTLAND          AL 35618‐0039
P MICELI                            406 N GIDDINGS AVE                                                                                          JERSEYVILLE         IL 62052‐1722
P MOORHEAD                          1565 PORTAL DR NE                                                                                           WARREN             OH 44484‐1132
P MYERS                             EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                                      DETROIT            MI 48265‐2000

P N P EXPRESS                       750 N GARDNER ST                                                                                            SCOTTSBURG        IN   47170‐1412
P NEWINGHAM                         5551 E ALYSSA CT                                                                                            WHITE LAKE        MI   48383‐4001
P POINTER                           1089 DYEMEADOW LN                                                                                           FLINT             MI   48532‐2315
P PORTELL                           1155 OAK HOLLOW DR                                                                                          IMPERIAL          MO   63052‐3456
P REDING                            200 HOWARD ST BOX 136                                                                                       SUMMITVILLE       IN   46070
P RILEY‐HAWKINS                     1744 BUCK DANIELS RD                                                                                        CULLEOKA          TN   38451‐2703
P RON TARULLO                       30 MOUNTAIN VIEW DR                                                                                         WOLCOTT           CT   06716
P SCHMID                            53003 BAYBERRY DR                                                                                           MACOMB            MI   48042‐2839
P SMITH                             7615 KIM ST                                                                                                 SAN ANTONIO       TX   78209‐3059
P STALEY                            4011 TUNNELTON RD                                                                                           BEDFORD           IN   47421‐8897
P SWARTOUT                          2146 N 400 W                                                                                                ANDERSON          IN   46011‐8733
P T DAVIS                           3641 NE HIGHWAY 33                                                                                          GUTHRIE           OK   73044‐8994
P T PROMOTIONS LLC                  395 W LINCOLN AVE                                                                                           MADISON HEIGHTS   MI   48071
P THORNTON                          112 WHITE ROW AVE                                                                                           GIDEON            MO   63848‐9210
P TODD                              549 W COLLEGE AVE                                                                                           STANTON           KY   40380‐2229
P V OIL & GAS INC                   5584 FOOTVILLE RICHMOND RD                                                                                  ANDOVER           OH   44003‐9436
P V RENTAL INC                      5810 S RICE AVE                                                                                             HOUSTON           TX   77081‐2912
P V S PROCESS EQUIPMENT INC         4074 TASSEFF TER                   PO BOX 59                                                                HAMBURG           NY   14075‐6420
P VORREITER & JOHN VORREITER TTEE   VORREITER FAMILY TRUST             937 ASTER CT                                                             SUNNYVALE         CA   94086‐6701
P WARE                              6028 E 40TH TER                                                                                             KANSAS CITY       MO   64129‐1718
P WEDDLE                            13337 FOUR WILLOWS DR                                                                                       FRISCO            TX   75035‐0044
P WILHELM                           3308 S G ST                                                                                                 ELWOOD            IN   46036‐9776
P WINCHESTER                        C/O VILLAGE WOODS                  2881 S ROUTE 394                                                         CRETE             IL   60417
P WOODARD                           2201 E SCHUMACHER ST                                                                                        BURTON            MI   48529‐2439
P ZYLSTRA                           74 BURLINGAME                                                                                               IRVINE            CA   92602‐1003
P&A INDUSTRIES INC.                 G.W. (JERRY) UFFORD                600 CRYSTAL AVE                                                          FINDLAY           OH   45840‐4600
P&A STEEL SERVICES INC              362 N WESTWOOD AVE                                                                                          TOLEDO            OH   43607‐3343
P&B WHSE/MC GREGOR CARTAGE CO INC   21000 TROLLEY INDUSTRIAL DR                                                                                 TAYLOR            MI   48180‐1841

P&C GROUP I INC                     MARY WRIGHT                        LORAIN COUNTY AUTO SYS INC.   7470 INDUSTRIAL PARKWAY                    SAN DIEGO         CA
P&C GROUP I INC                     PAM COOPER                         PO BOX 879                    COLUMBUS MANUFACTURING                     GRAND RAPIDS      MI 49588‐0879

P&C GROUP I INC                     RICHARD MILLER                     MARIANNA PLANT                1000 OLIVE ST.                             GRABILL           IN
P&D AUTO REPAIR                     280 S MISSION RIDGE AVE                                                                                     COLBY             KS   67701‐3242
P&K EQUIPMENT INC                   1‐35 & HWY 9 WEST                                                                                           NORMAN            OK   73072
P&M MACHINE CO INC                  8184 SMITHS CREEK RD                                                                                        WALES             MI   48027‐3816
P&P TRANSPORT INC                   45 EAST PARK DRIVE                                                                                          MOUNT HOLLY       NJ   08060‐5123
P&R AUTO REPAIR                     1000 FLOWERS LN                                                                                             MARYSVILLE        PA   17053‐9760
P&R FASTENERS INC
P&R FASTENERS INC                   BRIAN ISSAKSON                     325 PIERCE ST                                                            SOMERSET          NJ   08873‐1229
P&R FASTENERS INC                   BRIAN ISSAKSON                     325 PIERCE STREET                                                        BROWNSVILLE       TX   78521
P&R FASTENERS INC                   325 PIERCE ST                                                                                               SOMERSET          NJ   08873‐1229
P'SIMER, VAN                        279 P'SIMER RD                                                                                              OLIVE HILL        KY   41164
P‐A CHEVROLET COMPANY               WILLIAM AUBREY                     807 NW SHERIDAN RD                                                       LAWTON            OK   73505‐5249
P‐J EXPRESS INC                     PO BOX 196                                                                                                  SEWARD            NE   68434‐0196
P. BETH GLASGOW                     3413 HAGGARTY WAY                                                                                           CUYAHOGA FALLS    OH   44223
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Name                                 Address1                             Address2                        Address3                Address4                   City               State Zip
P. BURBARY
P. CLACK JR                          5902 HURON CT                                                                                                           HOSCHTON            GA 30548‐4019
P. HUGHES                            202 HICKMAN ST                                                                                                          BOERNE              TX 78006‐2612
P. J. WALLBANK                       DEBORAH POMMER                       HWY 97 / OXFORD RD                                      WINDSOR, ONTARIO C ON
                                                                                                                                  CANADA
P. J. WALLBANK SPRINGS INC.          WALT PIONTOWSKI                      2121 BEARD ST                                                                      PORT HURON          MI   48060‐6422
P. J. WALLBANK SPRINGS INC.          WALT PIONTOWSKI                      2121 BEARD STREET                                                                  SPRINGFIELD         TN   37172
P. K. SMITH MOTORS, INC.             KENNETH SMITH                        1103 W COURT ST                                                                    WINNFIELD           LA   71483‐2680
P. K. SMITH MOTORS, INC.             1103 W COURT ST                                                                                                         WINNFIELD           LA   71483‐2680
P. L. RECTOR, D.D.S.                 553 W COMMERCE ST                                                                                                       LEWISBURG           TN   37091‐3219
P. RENEE FROST
P. RICHARD HARTLEY                   415 E. COMMERCE STREET, SUITE 101    POST OFFICE BOX 583                                                                GREENVILLE          AL   36037
P. T. GARMAK MOTOR (LTD)             TEDJA BUANA BUILDING,JL. M                                                                   JAKART PUSAT INDONESIA
P. T. GENERAL MOTORS INDONESIA       JL. RAYA BEKASI KM. 27 PONDOK UNGU   KEL. MEDAN SATRIA KEC. MEDAN                            KOTA BEKASI 17132
                                                                          SATRIA                                                  INDONESIA
P.A. AUGENSTEIN
P.A.D. KEERTHISENA
P.C. WOO, INC., D/B/A MEGATOYS
P.F.M., INC.                         MICHAEL MONTELEONE                   631 N DIXIE HWY                                                                    MOMENCE            IL    60954‐1225
P.H.H. FLEET AMERICA CORP.           PO BOX 2256                                                                                                             BALTIMORE          MD    21203‐2256
P.J. MIRABELLI ENTERPRISES                                                182 DAY ST                                                                                            CT    06111
P.J.W. AUTOMOTIVE                    2087 OLD HIGHWAY 8 NW                                                                                                   NEW BRIGHTON       MN    55112‐1825
P.MANUEL
P.S.I. PUMPS/DEARBOR                 6256 N TELEGRAPH RD                                                                                                     DEARBORN HEIGHTS    MI 48127‐3223
P.T GENERAL MOTORS INDONESIA         NOT SPECIFIED                        JI. RAYA BEKASI KM. 27 PONDOK                           KEL MEDAN SARIA KEC
                                                                          UNGU                                                    KOTA BEKASIA 17132 INDIA
P.T GM AUTOWORLD INDONESIA           NOT SPECIFIED                        JI. RAYA BEKASI KM. 27 PONDOK                           KEL MEDAN SARIA KEC
                                                                          UNGU                                                    KOTA BEKASIA 17132 INDIA
P.T. GENERAL MOTORS INDONESIA        BEKASSI                                                                                      INDONESIA
P.T. GM AUTO WORLD INDONESIA         BEKASSI                                                                                      INDONESIA
P.V. RENTAL, INC.                    ODIS PEAVY                           5810 S RICE AVE                                                                    HOUSTON             TX 77081‐2912
P/M INDUSTRIES INC                   14320 NW SCIENCE PARK DR                                                                                                PORTLAND            OR 97229‐5419
P/M INDUSTRIES INC
P2R ASSOCIATES                       39201 SCHOOLCRAFT RD                                                                                                    LIVONIA             MI   48150‐5037
P55 LTD                              ANDREW BRAMMER                       FASTCOURT LTD                   FOLGATE ROAD                                       EL PASO             TX   79928
PA AUTOMATED SERVICE                 PO BOX 340                                                                                                              IRWIN               PA   15642‐0340
PA DEPARTMENT OF REVENUE             DEPT 280434                                                                                                             HARRISBURG          PA   17128‐0434
PA DEPT OF LABOR & INDUSTRY          BUREAU OF OCCUP & SAFETY             1606 LABOR & INDUS SAFETY       7TH & FORSTER STREETS                              HARRISBURG          PA   17120‐0001
PA DEPT OF REVENUE
PA DISTRIBUTORS                      7300 WESTMORE RD STE 5                                                                                                  ROCKVILLE          MD    20850‐5223
PA H LO                              151 W PRINCETON AVE                                                                                                     PONTIAC            MI    48340‐1841
PA HAZ MATL RESPONSE FUND            BUREAU OF PENNSAFE                   155 EL & I RM BLDG              7TH & FORSTER ST                                   HARRISBURG         PA    17120‐0001
PA L YANG                            69 W KENNETT RD                                                                                                         PONTIAC            MI    48340‐2643
PA MUNICIPAL SERVICE
PA OFFICE OF UNEMPLOYMENT            IU COMPENSATION TAX SERVICE
PA QUITO                             PERO MIRA Q
PA SCDU                              PO BOX 69112                                                                                                            HARRISBURG          PA   17106‐9112
PA SCDU ACCT OF M BARNES JR          PO BOX 69112                                                                                                            HARRISBURG          PA   17106‐9112
PA SOUTHWEST REG TAX BUREAU          ACCT OF WILLARD D BAYNE              CENTENNIAL WAY & MULBERRY                                                          SCOTTDALE           PA   19228
PA STATE POLICE TRANSPORTATION DIV   100 N WESTMORELAND AVE                                                                                                  GREENSBURG          PA   15601‐1464
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Name                                 Address1                        Address2                      Address3    Address4                City              State Zip
PA STATE POLICE TRANSPORTATION DIV   NEW CASTLE ROAD                                                                                   BUTLER             PA 16001

PA STATE POLICE TRANSPORTATION DIV   2201 BELMONT AVE                                                                                  PHILADELPHIA      PA 19131‐1612

PA STATE POLICE TRANSPORTATION DIV   20TH & HERR STS                                                                                   HARRISBURG        PA 17103

PA STATE POLICE TRANSPORTATION DIV   KEYSTONE PARK ROAD                                                                                DUNMORE           PA 18512

PA STATE POLICE TRANSPORTATION DIV   475 WYOMING AVE                                                                                   WYOMING           PA 18644‐1823

PA STATE POLICE TRANSPORTATION DIV   2930 AIRPORT RD                                                                                   BETHLEHEM         PA 18017‐2106

PA STATE POLICE TRANSPORTATION DIV   VALMONT INDUSTRIAL PARK                                                                           WEST HAZLETON     PA 18201

PA STATE POLICE TRANSPORTATION DIV   2099 LINCOLN HWY E                                                                                LANCASTER         PA 17602‐3397

PA STATE POLICE TRANSPORTATION DIV   IROQUOIS AVENUE                                                                                   ERIE              PA 16501

PAA, EDMOND D                        1005 CLINTON ST                                                                                   CARROLLTON        TX 75007‐4828
PAAL DENNIS A (439385)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510
                                                                     STREET, SUITE 600
PAAL, DENNIS A                       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510‐2212
                                                                     STREET, SUITE 600
PAALANEN, PATRICIA G                 1601 S DEER LAKE RD                                                                               REED CITY         MI   49677‐8826
PAALANEN, PATRICIA G                 19326 ANTAGO ST                                                                                   LIVONIA           MI   48152‐2512
PAALANEN, WILLIAM C                  19326 ANTAGO ST                                                                                   LIVONIA           MI   48152‐2512
PAANANEN, EDITH H                    2835 AVON AVE                                                                                     CONCORD           CA   94520‐5432
PAAP TONYA                           14 4TH ST                                                                                         YALE              MI   48097‐2814
PAAP, LORI
PAAP, TONYA                          14 4TH ST                                                                                         YALE              MI   48097‐2814
PAAS JR, JAMES N                     6566 LONNEE CT NW                                                                                 COMSTOCK PARK     MI   49321‐9763
PAASCH, JILL D                       1549 52ND ST SW                                                                                   WYOMING           MI   49509‐9737
PAASCH, MARK A                       1549 52ND ST SW                                                                                   WYOMING           MI   49509‐9737
PAATZ VIERNAU GMBH                   HERGESER WEG 1                                                            VIERNAU 98547 GERMANY
PAAUWE, ROBERT J                     3968 MAGNOLIA HILLS DR # D                                                                        EL DORADO HILLS   CA   95762
PAAVO POGUE                          10460 S 100 E                                                                                     FAIRMOUNT         IN   46928‐9544
PAAVOLA, DONNA L                     34633 BRUSH ST                                                                                    WAYNE             MI   48184‐1705
PAAVOLA, DONNA LEE                   34633 BRUSH ST                                                                                    WAYNE             MI   48184‐1705
PAAVOLA, JACK H                      19813 ASKEL RD                                                                                    PELKIE            MI   49958‐9075
PAAVOLA, LEE T                       1401 MARVIN RD NE STE 30716                                                                       LACEY             WA   98516
PAB MECANIQUE                        7745 CHEMIN CHAMBLY                                                       ST‐HUBERT QC J3Y 5K2
                                                                                                               CANADA
PABALIS, DELORES J                   7653 HILLSHIRE                                                                                    SAGINAW           MI   48609‐4266
PABCO/MADISON HGTS                   700 E MANDOLINE AVE                                                                               MADISON HEIGHTS   MI   48071‐1434
PABEN HARLOW DIE CUTTING &           ENG CO                          PO BOX 141048                                                     TOLEDO            OH   43614‐1048
PABERS, OTTO E                       13009 BALLARD DR                                                                                  EXMORE            VA   23350‐2544
PABIAN, BRIAN J                      25623 BAKER ST                                                                                    TAYLOR            MI   48180‐3123
PABIAN, BRIAN JAMES                  25623 BAKER ST                                                                                    TAYLOR            MI   48180‐3123
PABIAN, FRANK J                      C/O ELLEN L PABIAN              16531 ROTUNDA                 APT 209 A                           DEARBORN          MI   48120
PABIAN, JAMES                        25612 STATLER ST                                                                                  TAYLOR            MI   48180‐3215
PABIAN, LYNN C                       25612 STATLER ST                                                                                  TAYLOR            MI   48180‐3215
PABIAN, PATRICIA M.                  22454 MEADOW WOODS CIR                                                                            TAYLOR            MI   48180‐3599
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Name                            Address1                         Address2                     Address3   Address4         City               State Zip
PABICH, ROSEMARY                709 SHOOK CT                                                                              BAY CITY            MI 48708‐6983
PABIN, CHERYL                   3120 MERRIWEATHER ST NW                                                                   WARREN              OH 44485‐2513
PABIN, FRANCIS J                3120 MERRIWEATHER ST NW                                                                   WARREN              OH 44485‐2513
PABIN, PETER T                  9103 SILVER LAKE RD                                                                       LINDEN              MI 48451‐9643
PABIN, THOMAS M                 306 COUNTY ROAD 40                                                                        SULLIVAN            OH 44880‐9725
PABIRZIS, PRANAS A              203 NASSAU CT                                                                             CANTON              MI 48187‐3215
PABIS, ADA J                    105 TAYLOR AVE                                                                            ROSCOMMON           MI 48653‐9528
PABIS, DOUGLAS M                6343 ECHO CT APT 2B                                                                       PORTAGE             MI 49002‐2946
PABISZ MOTORS, INC.             PO BOX 551                                                                                TOPPENISH           WA 98948‐0551
PABISZ, DWAYNE M                PO BOX 2673                                                                               ANN ARBOR           MI 48105‐2673
PABISZ, DWAYNE MICHAEL          PO BOX 2673                                                                               ANN ARBOR           MI 48106‐2573
PABLITO ADRADOS                 13634 BRANFORD ST                                                                         ARLETA              CA 91331‐6209
PABLO AGUIRRE                   G‐14361 N TAYLOR RD                                                                       MILLINGTON          MI 48746
PABLO ALMANZA                   2165 43RD ST SE                  APT D5                                                   GRAND RAPIDS        MI 49508‐3791
PABLO AVILES                    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
PABLO BALDERAS                  12489 HILL RD                                                                             GOODRICH            MI 48438‐9075
PABLO C CRUZ 3D                 207 OKEMAH RD                                                                             WATERFORD           MI 48328‐3130
PABLO C HEARN                   146 WAYWOOD DR                                                                            JACKSON             MS 39212
PABLO CABRAL JR                 464 E COLUMBIA AVE                                                                        PONTIAC             MI 48340‐2039
PABLO CANALES                   URB PQE ESCRL 2501PQE DE LA FL                                                            CAROLINA            PR 00987
PABLO CASTILLO                  28159 AYERS‐PLEASANT BEND RD                                                              DEFIANCE            OH 43512
PABLO CORTEZ                    3293 GOLDNER ST                                                                           DETROIT             MI 48210
PABLO DERIGE                    8385 BLAKE ST                                                                             GREENWOOD           LA 71033‐3324
PABLO DOMINGUEZ                 7812 WHITSETT AVE                                                                         NORTH HOLLYWOOD     CA 91605‐2204
PABLO E BARCELO                 31 REGINA DR                                                                              ROCHESTER           NY 14606
PABLO FLORES                    4340 RICHALVA CT                                                                          WATERFORD           MI 48329‐4034
PABLO GARCIA‐RUIZ               10513 KINLOCH RD                                                                          SILVER SPRING       MD 20903‐1223
PABLO GONZALES                  4411 KETCHAM ST                                                                           SAGINAW             MI 48601‐6772
PABLO GONZALES                  617 S 9TH ST                                                                              SAGINAW             MI 48601‐1967
PABLO HERNANDEZ                 426 NW 57TH AVE                                                                           MIAMI               FL 33126‐4811
PABLO HINOJOSA                  1203 DONS DR                                                                              MISSION             TX 78572‐4323
PABLO JIMENEZ                   9109 SUDBURY RD                                                                           SILVER SPRING       MD 20901‐3525
PABLO LOPEZ                     2509 KANSAS AVE                                                                           FLINT               MI 48506‐3809
PABLO LOSOYA                    490 MAIN ST, BOX 265                                                                      JERRY CITY          OH 43437
PABLO LUGO                      2045 EXCALIBUR DR                                                                         ORLANDO             FL 32822‐8346
PABLO LUGO                      12287 PLEASANT GREEN WAY                                                                  BOYNTON BEACH       FL 33437‐2050
PABLO MARTINEZ                  3050 WESTWIND RD                 C/O RITA MARTINEZ                                        LAS VEGAS           NV 89146‐6859
PABLO MATA                      PO BOX 781                                                                                UNION CITY          CA 94587‐0781
PABLO MORALEZ                   C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
PABLO OSVALDO COPPOLA & MABEL   C/O PABLO O COPPOLA              6286 SEABOURNE DR                                        HUNTINGTON BEACH    CA 92648
ALICIA VALDERREY DE COPPOLA
PABLO PEREZ                     1149 LOUISA ST                                                                            ELIZABETH          NJ   07201‐1241
PABLO R LOPEZ                   2509 KANSAS AVE                                                                           FLINT              MI   48506‐3809
PABLO RAMIREZ                   4803 SHADOW CREST DR                                                                      ARLINGTON          TX   76018‐1092
PABLO ROD                       5320 SW 95TH CT                                                                           MIAMI              FL   33165‐6436
PABLO RODRIQUEZ                 1510 HUBBARD ST                                                                           DETROIT            MI   48209‐3317
PABLO SALAZAR                   754 2ND AVE                                                                               LAKE ODESSA        MI   48849‐1250
PABLO SANCHEZ JR                2669 MOZART AVE                                                                           SAN JOSE           CA   95122‐1314
PABLO SANTOS                    632 N BRANCH CT                                                                           ABINGDON           MD   21009‐3221
PABLO SAUCILLO                  623 LA PALOMA AVE                                                                         ALHAMBRA           CA   91801‐3041
PABLO SEVILLA                   315 S BIRNEY ST                                                                           BAY CITY           MI   48708‐7532
PABLO VALENCIA JR               42048 CRESTVIEW CIR                                                                       NORTHVILLE         MI   48168‐2233
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Name                               Address1                            Address2                        Address3   Address4             City                State Zip
PABLO VEGA                         8613 S KOLIN AVE                                                                                    CHICAGO               IL 60652‐3538
PABLO ZAVATTIERI                   3301 JASPER ST                                                                                      W LAFAYETTE          IN 47906‐1295
PABLO, FRANCES P                   14250 PETERBORO DR                                                                                  STERLING HEIGHTS     MI 48313‐2736
PABLOS, RAUL C                     4007 E BAILEY RD                                                                                    CHATTAROY            WA 99003‐8758
PABOOJIAN, HELEN H                 27 VILLAGE DR                                                                                       MARLBOROUGH          MA 01752‐3672
PABST, DONALD W                    6928 GLENN CT                                                                                       WIND LAKE            WI 53185‐2161
PABST, DOROTHY E                   2392 S. STATE ROAD                                                                                  CORUNNA              MI 48817‐9502
PABST, DOROTHY E                   2392 S STATE RD                                                                                     CORUNNA              MI 48817‐9502
PABST, J A                         13368 HAWK WOODS TRL                                                                                FENTON               MI 48430‐8556
PABST, KENNETH                     2207 OTTELLO AVENUE                                                                                 DAYTON               OH 45414‐5414
PABST, LUCERCIA C                  78 NAPLES DR                                                                                        WAUCONDA              IL 60084‐2483
PABST, ROBERT J                    2752 E CLINTON TRL                                                                                  CHARLOTTE            MI 48813‐9301
PAC                                8824 FALLBROOK DR                                                                                   HOUSTON              TX 77064‐4855
PAC LITE PRODUCTS                  1300 S PARKER ST                                                                                    MARINE CITY          MI 48039‐2334
PAC PROJECT ADVISORS HONKONG LTD   FRMLY SHANGHAI JIAO YUN AUTO        NO 28 XIN JIN QINO RD PUDONG               201206 CHINA CHINA

PAC PROJECT ADVISORS INTERNATI     1957 CROOKS RD                                                                                      TROY                MI   48084‐5504
PAC RIM                            WENDELL PEOPLES                     15 ENTERPRISE STE 400                                           ALISO VIEJO         CA   92656‐2655
PAC SOLUTIONS LLC                  2601 FORTUNE CIRLCE SUITE 200C                                                                      INDIANAPOLIS        IN   46241
PAC SOLUTIONS LLC                  ONE PARK FLETCHER STE 200C          2601 FORTUNE CIRCLE                                             INDIANAPOLIS        IN   46241
PAC, ROBERT P                      4398 COVEY HOLLOW RD                                                                                CULLEOKA            TN   38451‐2186
PAC‐10 PROPERTIES                  PHILO # 55434                                                                                       LOS ANGELES         CA   90074‐5434
PAC‐LITE PROD/MARINE               PO BOX 249                          1300 S. PARKER STREET                                           MARINE CITY         MI   48039‐0249
PAC‐LITE PRODUCTIONS INC.          ROBERT BURNSIDE                     1300 S PARKER ST                                                MARINE CITY         MI   48039‐2334
PAC‐LITE PRODUCTIONS INC.          ROBERT BURNSIDE                     1300 S. PARKER STREET                                           LORDSTOWN           OH   44481
PAC‐VAN INC                        2995 S HARDING ST                                                                                   INDIANAPOLIS        IN   46225‐2228
PAC‐VAN INC                        PO BOX 6069                                                                                         INDIANAPOLIS        IN   46206‐6069
PAC‐VAN INC                        2693 PAYSPHERE CIR                                                                                  CHICAGO             IL   60674‐0026
PACACHA, RICHARD S
PACAITIS, JOHN A                   1946 W RIDGE DR                                                                                     COMMERCE TOWNSHIP   MI 48390‐1581
PACAK EUGENE (491268)              BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD          OH 44067
                                                                       PROFESSIONAL BLDG
PACAK, EDWARD J                    3213 MASON ST                                                                                       FLINT               MI   48505‐4068
PACAK, OLGA                        3213 MASON ST                                                                                       FLINT               MI   48505‐4068
PACALA, THEODORE                   9325 KIEFFABER RD                                                                                   WORTHINGTON         IN   47471‐6236
PACANA, ANTHONY F                  15 LINWOOD AVE                                                                                      N TONAWANDA         NY   14120‐2707
PACANA, ROBERT J                   939 FAIRMONT AVE                                                                                    NORTH TONAWANDA     NY   14120‐1976
PACANOVSKY, ANDREW R               2925 PEARL ST                                                                                       SAGINAW             MI   48604‐2428
PACANOVSKY, JEANETTE M             9352 E FAIRWAY BLVD                                                                                 SUN LAKES           AZ   85248‐6554
PACAOLA BLAZER                     1 NEW SOUTHGATE RD                  LOWER APT. #1                                                   BUFFALO             NY   14215‐1809
PACATTE, PATRICK D                 1416 7TH ST                                                                                         HIGHLAND            IL   62249‐1421
PACC DOMESTIC                      23520 VALENCIA BLVD STE J                                                                           VALENCIA            CA   91355‐1762
PACCAR, INC.                       777 106TH AVE NE                    PACCAR BUILDING                                                 BELLEVUE            WA   98004‐5027
PACCHINI, MURIEL G                 143 HILLTOP LN                                                                                      SLEEPY HOLLOW       IL   60118‐1836
PACCIONE, NICOLO                   1749 MYRTLE AVE                                                                                     PLAINFIELD          NJ   07063‐1037
PACCIONE, THOMAS                   916 REED ST                                                                                         SAGINAW             MI   48602‐5751
PACE AIR FREIGHT INC               3345 E MAIN ST                                                                                      PLAINFIELD          IN   46168‐2712
PACE AUTO CENTER INCORPORATED      JOSEPH PAIS                         239 HAUENSTEIN RD                                               HUNTINGTON          IN   46750‐8803
PACE AUTOMOTIVE                    6305 HIGHWAY 72 W                                                                                   COLBERT             GA   30628‐2451
PACE BILLY D (476927)              KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                   CLEVELAND           OH   44114
                                                                       BOND COURT BUILDING
PACE BRITTANY                      PACE, BRITTANY                      309 WASHINGTON ST                                               PORTSMOUTH          OH 45662‐3913
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PACE CHEVROLET                      239 HAUENSTEIN RD                                                                                 HUNTINGTON           IN 46750‐8803
PACE CONSTANCE                      PACE, CONSTANCE                  TRAVELERS                       P.O. BOX 3022                    FALL RIVER           MA 02722
PACE GLOBAL ENERGY SERVICES LLC     4401 FAIR LAKES COURT                                                                             FAIRFAX              VA 22033
PACE GROUP                          PO BOX 630925                                                                                     BALTIMORE            MD 21263‐0925
PACE GROUP                          31105 GREENING ST                                                                                 FARMINGTON HILLS     MI 48334‐1415
PACE GROUP                          10945 REED HARTMAN HWY STE 215                                                                    CINCINNATI           OH 45242‐2853
PACE HARDEMAN, LILLIE B             18902 DEAN ST                                                                                     DETROIT              MI 48234‐2026
PACE JAMES                          14546 KENTLEY ORCHARD LN                                                                          CYPRESS              TX 77429‐4863
PACE JOHN                           19 BRIDGEFIELD TURN                                                                               HATTIESBURG          MS 39402
PACE JR, ERNIE L                    2 PRESCOTT CT                                                                                     O FALLON             MO 63366‐5545
PACE JR, HAROLD                     1264 ELCON DR                                                                                     MELBOURNE            FL 32904‐8713
PACE JR, MORREL                     848 E THOMPSON RD                                                                                 INDIANAPOLIS         IN 46227‐1670
PACE JR, OTIS D                     PO BOX 7562                                                                                       BLOOMFIELD HILLS     MI 48302‐7562
PACE JR, OWEN                       113 BRIER ROSE LN                                                                                 HARVEST              AL 35749‐5600
PACE JR, PHILIP D                   2491 5TH AVE                                                                                      YOUNGSTOWN           OH 44505‐2227
PACE LARK                           837 WHITMORE AVE                                                                                  DAYTON               OH 45417‐1166
PACE MACHINE TOOL INC               1144 RIG ST                                                                                       COMMERCE TOWNSHIP    MI 48390‐2266
PACE MECHANICAL SERVICES INC        6060 N HIX RD                                                                                     WESTLAND             MI 48185‐1938
PACE MOTOR LINES INC                PO BOX 87                                                                                         BRIDGEPORT           CT 06601‐0087
PACE NICHOLAS A MD                  21 DUSENBERRY RD                                                                                  BRONXVILLE           NY 10708‐2403
PACE NICHOLAS A MD                  767 5TH AVE FL 3                                                                                  NEW YORK             NY 10153‐0029
PACE SATURN                         JAMES PACE                       420 YOUNGSTOWN WARREN RD                                         NILES                OH 44446‐4354
PACE UNIVERSITY                     1 PLAZA                                                                                           NEW YORK             NY 10038
PACE UNIVERSITY                     BURSAR                           78 N BROADWAY                                                    WHITE PLAINS         NY 10603‐3710
PACE UNIVERSITY                     STDNT ACCTS AND REGIST OFFICE    BEDFORD ROAD                                                     PLEASANTVILLE        NY 10570
PACE WILLIAM (ESTATE OF) (495062)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD           OH 44067
                                                                     PROFESSIONAL BLDG
PACE, AGNES M                       54099 MOUND RD                                                                                    SHELBY TWP          MI 48316‐1732
PACE, ALBERT                        1172 E 20TH AVE                                                                                   COLUMBUS            OH 43211‐2508
PACE, ALBERT                        1172 E 20TH                                                                                       COLUMBUS            OH 43211‐2508
PACE, AMANDA
PACE, AUBURN R                      2543 N 81ST WAY                                                                                   SCOTTSDALE          AZ 85257‐2327
PACE, BERNICE                       20067 DEAN ST                                                                                     DETROIT             MI 48234‐2009
PACE, BILLY D                       KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                     CLEVELAND           OH 44114
                                                                     BOND COURT BUILDING
PACE, BONNIE B                      1104 WILISON DR                                                                                   POCAHONTAS          AR   72455‐1431
PACE, BONNIE B                      1104 WILSON DR                                                                                    POCAHONTAS          AR   72455‐1431
PACE, BRADLEY W                     TURO RON                         32 S BEDFORD ST                                                  CARLISLE            PA   17013‐3302
PACE, BRANDT                        THORNTON AND NAUMES LLP          100 SUMMER ST, 30TH FLOOR                                        BOSTON              MA   02110
PACE, BRENDA J                      1712 MEADOWLANE TER                                                                               FORT WORTH          TX   76112‐4326
PACE, BURNELL                       1835 BROOK TERRACE TRL                                                                            DALLAS              TX   75232‐3707
PACE, CARL                          3720 SUGARBROOK DR                                                                                LAWRENCEVILLE       GA   30044‐4874
PACE, CARL L                        6436 BARABOO DR                                                                                   DALLAS              TX   75241‐6105
PACE, CARMEL                        41280 LLEWELYN ST                                                                                 NORTHVILLE          MI   48167‐4675
PACE, CAROL J                       2238 AMHERST AVE                                                                                  SPRING HILL         FL   34609‐3701
PACE, CAROL K                       4330 KELLER RD APT 101                                                                            HOLT                MI   48842‐1237
PACE, CHARLES E                     400 TAYLOR AVE                                                                                    PARK HILLS          MO   63601‐2117
PACE, CHERYL A                      5280 HAVEN RD                                                                                     LEONARD             MI   48367‐1110
PACE, CLIFTON                       1611 MEADOW VALLEY LN                                                                             DALLAS              TX   75232‐2855
PACE, CONSTANCE
PACE, CONSTANCE                     TRAVELERS                        PO BOX 3022                                                      FALL RIVER          MA 02722‐3022
PACE, CRYSTAL L                     2415 MIRA DR                                                                                      GARLAND             TX 75044‐6657
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Name                    Address1                       Address2              Address3       Address4         City               State Zip
PACE, D H CO INC        3924 SHREWSBURY AVE                                                                  SAINT LOUIS         MO 63119‐2112
PACE, DAGMAR            109 PLEASANT VIEW ADDITION                                                           BEDFORD             IN 47421‐8122
PACE, DAISY L           1546 LYON ST                                                                         FLINT               MI 48503‐1152
PACE, DAISY L           1546 LYON STREET                                                                     FLINT               MI 48503‐1152
PACE, DALE W            1603 WRIGHT ST                                                                       WALNUT RIDGE        AR 72476‐1773
PACE, DEBORAH J.        5025 MAYBEE RD                                                                       CLARKSTON           MI 48346‐4334
PACE, DH CO INC         1120 CLAY ST                   PO BOX 12517                                          N KANSAS CITY       MO 64116‐4133
PACE, DON S             4295 HIGHWAY 70 W                                                                    DICKSON             TN 37055‐4239
PACE, DONALD            6140 ANDERSONVILLE RD                                                                WATERFORD           MI 48329‐1404
PACE, DONALD C          10445 BORGMAN AVE                                                                    BELLEVILLE          MI 48111‐1210
PACE, DONALD CHANDLER   10445 BORGMAN AVE                                                                    BELLEVILLE          MI 48111‐1210
PACE, DONNA L           1403 GENOA ST                                                                        CORAL GABLES        FL 33134‐2340
PACE, DOROTHY L         6325 ABRAHAM LINCOLN DR                                                              JACKSON             MS 39213‐3102
PACE, DOUGLAS           PO BOX 67                                                                            STINNETT            KY 40868‐0067
PACE, EDITH             830 N SHORE DR NE APT 6D                                                             SAINT PETERSBURG    FL 33701‐2045
PACE, EDWARD A          220 W MASSEY ST                                                                      MARION              IN 46952‐2275
PACE, EDWARD T          2182 PARKER BLVD                                                                     TONAWANDA           NY 14150‐7212
PACE, EDWARD THOMAS     2182 PARKER BLVD                                                                     TONAWANDA           NY 14150‐7212
PACE, EMMA T            14300 W BELL RD UNIT 135                                                             SURPRISE            AZ 85374‐9767
PACE, EMMA T            14300 WEST BELL RD             UNIT 135                                              SURPRISE            AZ 85374‐9767
PACE, EVELYN B          1080 AL HIGHWAY 101                                                                  TOWN CREEK          AL 35672‐7414
PACE, FREDRICK P        5899 E 950 N                                                                         DENVER              IN 46926‐9265
PACE, GARY A            330 W MAIN ST                                                                        BROWNSBURG          IN 46112‐9785
PACE, GARY A            5025 MAYBEE RD                                                                       CLARKSTON           MI 48346‐4334
PACE, GRACE D           APT 518 PRESTON CREEK DR                                                             MCDONOUGH           GA 30253
PACE, HAZEL             1000 GOLDEN POND DR                                                                  RUSSELLVILLE        AR 72802‐8763
PACE, ISAIAH            12009 S STATE ST                                                                     CHICAGO              IL 60628‐6642
PACE, JACK              204 NIKIRK LN                                                                        OOLITIC             IN 47451‐9715
PACE, JACK D            4994 W 1100 S‐90                                                                     MONTPELIER          IN 47359‐9523
PACE, JAMES B           5324 W WILSON RD                                                                     CLIO                MI 48420‐9489
PACE, JAMES D           7058 N 900 W                                                                         ELWOOD              IN 46036‐9063
PACE, JAMES E           398 BOYD ST                                                                          PONTIAC             MI 48342‐1922
PACE, JAMES H           1035 DEPOT ST                                                                        CULLEOKA            TN 38451‐2139
PACE, JAMES J           PO BOX 317                                                                           HARRISBURG          AR 72432‐0317
PACE, JAMES L           2330 FOREST HILL AVE                                                                 FLINT               MI 48504‐7187
PACE, JAMES L           1815 MANSFIELD ST                                                                    INDIANAPOLIS        IN 46202‐1043
PACE, JAMES M           1220 51ST AVE APT 203                                                                ROCK ISLAND          IL 61201‐6886
PACE, JAMES M           2116 NAVAJO TRL                                                                      PIQUA               OH 45356‐8285
PACE, JAMES M           2116 NAVAJO TRAIL                                                                    PIQUA               OH 45356‐5356
PACE, JERRY E           17160 WIGWAM PL                                                                      THREE RIVERS        MI 49093‐9014
PACE, JIMMIE L          9491 CENTER RD                                                                       FOSTORIA            MI 48435‐9785
PACE, JOE R             2915 CAPITOL AVE                                                                     FORT WAYNE          IN 46806‐3432
PACE, JOE R             2915 CAPITOL ST                                                                      FORT WAYNE          IN 46816
PACE, JOEL A            2426 DELWOOD DR                                                                      CLIO                MI 48420‐9112
PACE, JOHN H            APT 202                        50 STACKPOLE STREET                                   LOWELL              MA 01852‐1216
PACE, JOHNNIE M         11916 MOENART ST                                                                     DETROIT             MI 48212‐2841
PACE, JOHNNIE M         11916 MOENART                                                                        DETROIT             MI 48212‐2841
PACE, JONATHAN          PORTER & MALOUF PA             4670 MCWILLIE DR                                      JACKSON             MS 39206‐5621
PACE, JORDAN C          2329 S HARRISON ST                                                                   FORT WAYNE          IN 46807‐1313
PACE, JUANITA           21429 E CHIPMUNK TRL                                                                 WOODHAVEN           MI 48183‐5211
PACE, KARL A            3740 TAYLOR LANE                                                                     SALINE              MI 48176‐8880
PACE, KARL ALFRED       3740 TAYLOR LANE                                                                     SALINE              MI 48176‐8880
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Name                  Address1                        Address2             Address3        Address4         City                State Zip
PACE, KATHLEEN T      8646 HUNTERS TRL SE                                                                   WARREN               OH 44484‐2411
PACE, KEITH A         17281 REVERE ST                                                                       SOUTHFIELD           MI 48076‐7723
PACE, KYLE JAMES      330 W MAIN ST                                                                         BROWNSBURG           IN 46112‐9785
PACE, LAWRENCE T      103 TOOWEKA CIR                                                                       LOUDON               TN 37774‐2610
PACE, LEE A           3435 FERNWOOD AVE                                                                     ANN ARBOR            MI 48108‐2905
PACE, MARCIE C        9 LAMPLIGHTER RD                                                                      PEARL                MS 39208‐3922
PACE, MARCY JO        77 E LONGFELLOW AVE                                                                   PONTIAC              MI 48340‐2743
PACE, MARK A          11916 MOENART ST                                                                      DETROIT              MI 48212‐2841
PACE, MARVIN E        1275 DORCHESTER AVE                                                                   BLOOMFIELD HILLS     MI 48302‐0020
PACE, MARY
PACE, MARY J          PO BOX 52                                                                             GREEN RIDGE         MO   65332‐0052
PACE, MARY LOU        1140 HEDGES RD                                                                        XENIA               OH   45385‐9214
PACE, MARY LOU        1140 HEDGES ROAD                                                                      XENIA               OH   45385‐9214
PACE, MELVA R         20406 MARYSVILLE RD.                                                                  MARYSVILLE          IN   47141‐9756
PACE, MELVIN B        17175 WESTBROOK ST                                                                    DETROIT             MI   48219‐3933
PACE, MELVIN B        PO BOX 19159                                                                          DETROIT             MI   48219‐0159
PACE, MERRITT E       1000 GOLDEN POND DR                                                                   RUSSELLVILLE        AR   72802‐8763
PACE, MICHAEL         BARTON & WILLIAMS               3007 MAGNOLIA ST                                      PASCAGOULA          MS   39567‐4126
PACE, MICHAEL C       2406 VILLA VERA DR                                                                    ARLINGTON           TX   76017‐2635
PACE, MICHAEL R       14155 LANDINGS WAY                                                                    FENTON              MI   48430‐1315
PACE, MICHAEL W       75 PADDOCK PL                                                                         JACKSON             TN   38305‐7713
PACE, MYRNA F         6578 WEBB RD                                                                          HALE                MI   48739‐8537
PACE, NEHEMIAH        606 E 3RD ST                                                                          LIMA                OH   45804‐2022
PACE, NEIL E          52874 PAINT CREEK DR                                                                  MACOMB              MI   48042‐2961
PACE, NICHOLAS A      21 DUSENBERRY RD                                                                      BRONXVILLE          NY   10708‐2403
PACE, NICHOLAS A MD   21 DUSENBERRY RD                767 5TH AVE 3RD FL                                    YONKERS             NY   10708‐2403
PACE, NINA B          2575 ALEXANDRIA PIKE                                                                  ANDERSON            IN   46012‐9665
PACE, OWEN B          3415 SANTA CLARA CT                                                                   FLINT               MI   48504‐3234
PACE, PATTY A         641 W HOME AVE                                                                        FLINT               MI   48505‐2666
PACE, PAULINE         3600 EDGEWOOD PARK DR                                                                 COMMERCE TOWNSHIP   MI   48382‐4436
PACE, PERCY L         2405 BROOK CREST DR                                                                   MESQUITE            TX   75150‐4979
PACE, RENEE LEE       3740 TAYLOR LN                                                                        SALINE              MI   48176‐8880
PACE, ROBERT C        508 WINDWOOD RD                                                                       BALTIMORE           MD   21212‐2107
PACE, ROBERT C        19 NORRIS DR                                                                          WEST MILTON         OH   45383‐1418
PACE, ROBERT E        7707 SAINT ALBANS AVE                                                                 RICHMOND HEIGHTS    MO   63117‐2006
PACE, ROBERT H        4260 BLAKELY CT                 APT D                                                 FORT CAMPBELL       KY   42223‐1932
PACE, ROBERT W        8783 HIGHWAY Z                                                                        FORTUNA             MO   65034‐2014
PACE, RONALD C        5162 KEDRON RD                                                                        COLUMBIA            TN   38401‐7554
PACE, RUTH E          1140 W 3RD ST                                                                         MARION              IN   46952‐3667
PACE, SAMUEL F        515 PARKSIDE BLVD                                                                     CLEVELAND           OH   44143‐2811
PACE, STEVEN D        3306 S KEARSLEY BLVD                                                                  FLINT               MI   48506‐2045
PACE, STEVEN J        PO BOX 2693                                                                           STOCKBRIDGE         GA   30281‐8928
PACE, STEVEN R        606 JOSH DR                                                                           BRIGHTON            IL   62012‐2153
PACE, STEVIE L        2310 W LAKE RD                                                                        CLIO                MI   48420‐8838
PACE, TERRY M         3 SOUTHBROOK CT                                                                       O FALLON            MO   63366‐2427
PACE, THOMAS J        109 DELAWARE DR                                                                       MILFORD             PA   18337‐7700
PACE, TIMOTHY N       6873 W GORE RD                                                                        MONROVIA            IN   46157‐9236
PACE, TINA M          6401 ST ALBAN CT                                                                      ARLINGTON           TX   76001‐7895
PACE, VICKI LYNN      131 MCKINLEY AVE                                                                      WEST MILTON         OH   45383‐1907
PACE, WENDELL N       516 N. CHURCH ST                                                                      NEW CARLISLE        OH   45344‐1347
PACE, WENDELL N       516 N CHURCH ST                                                                       NEW CARLISLE        OH   45344‐1347
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Name                               Address1                         Address2                         Address3   Address4                City               State Zip
PACE, WILLIAM                      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD          OH 44067
                                                                    PROFESSIONAL BLDG
PACE, WILLIAM J                    809 W CLEARVIEW DR                                                                                   GLEN ROCK          PA   17327‐8224
PACE, WILLIAM J                    124 RIDGEVIEW RD                                                                                     SEVEN VALLEYS      PA   17360‐9211
PACE, WILLIAM JASON                124 RIDGEVIEW RD                                                                                     SEVEN VALLEYS      PA   17360‐9211
PACE, WILLIE S                     8213 BRIDGEWAY CIR APT 1B                                                                            FORT WAYNE         IN   46816
PACE, YOLANDA D                    921 MILLBROOK DR APT G                                                                               FLINT              MI   48503‐6328
PACE,TINA M                        6401 ST ALBAN CT                                                                                     ARLINGTON          TX   76001‐7895
PACEK, JULIA M                     4428 ROUTE 89                                                                                        SENECA FALLS       NY   13148
PACEK, LOUIS                       1436 PERWOOD DR                                                                                      SAGINAW            MI   48638‐6314
PACEK, THEODORE M                  1436 PERWOOD DR                                                                                      SAGINAW            MI   48638‐6314
PACELLA, ALBERT                    118 ROCKY LEDGE DR                                                                                   STRUTHERS          OH   44471‐1466
PACELLA, ANTOINETTE                1815 12TH ST                                                                                         WYANDOTTE          MI   48192‐3607
PACELLA, BRUCE A                   PO BOX 2322                                                                                          FLORISSANT         MO   63032‐2322
PACELLA, EUSEBIO                   4574 LAKE AVE                                                                                        BUFFALO            NY   14219‐1306
PACELLA, ILDA                      40219 VINCENZIA                                                                                      CLINTON TOWNSHIP   MI   48038‐4085
PACELLA, IRENE M                   21081 PASEO TRANQUILO                                                                                LAKE FOREST        CA   92630‐2268
PACELLA, MARIO                     3660 3RD ST                                                                                          BUFFALO            NY   14219
PACELLI MYRTLE                     8545 W TOWNLEY AVE                                                                                   PEORIA             AZ   85345‐2536
PACELLI, CARLO                     VIA GIOIA # 35                   SAN SALVATORE TELSINO                       BENEVENTO 82030 ITALY
PACELLI, GENE A                    1015 MARYLAND AVE                                                                                    NEW CASTLE         PA 16101‐4305
PACELT WILLIAM (626698)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510
                                                                    STREET, SUITE 600
PACELT, WILLIAM                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
PACER DIV                          PACIFIC MOTOR TRANSPORT CO       1229 E PLEASANT RUN RD                                              DESOTO             TX   75115
PACER GLOBAL LOGISTICS INC         6805 PERIMETER DR                PO BOX 8104                                                         DUBLIN             OH   43016‐8690
PACER INTERNATIONAL INC            PO BOX 60485                                                                                         LOS ANGELES        CA   90060‐0485
PACER INVESTIGATION SEVICE, INC.   PO BOX 468                                                                                           EAST AMHERST       NY   14051‐0468
PACER PERFORMANCE PRODUCTS         3901 MEDFORD ST                                                                                      LOS ANGELES        CA   90063‐1608
PACER PERFORMANCE PRODUCTS         NORM WISHOFF                     3901 MEDFORD STREET                                                 BOCA RATON         FL   33487
PACER PERFORMANCE PRODUCTS INC     NORM WISHOFF                     3901 MEDFORD STREET                                                 BOCA RATON         FL   33487
PACER SERVICES OF NEW YORK, INC.   PO BOX 468                                                                                           EAST AMHERST       NY   14051‐0468
PACER TRANSPORT                    1229 E PLEASANT RUN RD STE 300                                                                       DESOTO             TX   75115‐4291
PACER TRANSPORTATION               BYRON DOSS                       1229 EAST PLEASANT RUN ROAD                                         DESOTO             TX   75115
PACER, ARNOLD J                    3663 BIRD RD                                                                                         CLARKSTON          MI   48348‐1009
PACER, BARBARA A                   4510 CLOVER LN                                                                                       TOLEDO             OH   43623‐4146
PACER, BARBARA A                   4510 CLOVER LANE                                                                                     TOLEDO             OH   43623‐4146
PACER, GLENN A                     3169 HARBOR CT                                                                                       WATERFORD          MI   48328‐2594
PACER, GLENN ALLEN                 3169 HARBOR CT                                                                                       WATERFORD          MI   48328‐2594
PACER, MARVIN G                    3401 BIRD RD                                                                                         ORTONVILLE         MI   48462‐9084
PACER, NORMAN L                    3535 BIRD RD                                                                                         ORTONVILLE         MI   48462‐9084
PACER, ROBERT L                    6959 SPRINGVIEW DR                                                                                   MAUMEE             OH   43537‐9049
PACERNO, CARLA
PACERS SPORTS & ENTERTAINMENT      125 S PENNSYLVANIA ST                                                                                INDIANAPOLIS       IN   46204‐3610
PACES FERRY EXXON                  1400 W PACES FERRY RD NW                                                                             ATLANTA            GA   30327‐2428
PACESETTER PROMOTIONS INC          33205 DECKER SCHOOL RD                                                                               MALIBU             CA   90265‐2342
PACESETTER SYSTEMS                 25315 AVENUE STANFORD                                                                                VALENCIA           CA   91355‐1215
PACESKY, JAMES E                   14567 MULBERRY ST                                                                                    SOUTHGATE          MI   48195‐2514
PACETTI ANDREW (306263)            BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG , 233 EAST                                      JACKSONVILLE       FL   32202
                                   MCCLAMMA & YEGELWEL P.A.         BAY STREET
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Name                                  Address1                        Address2                         Address3   Address4             City               State Zip
PACETTI COY A (305900)                BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG , 233 EAST                                   JACKSONVILLE        FL 32202
                                      MCCLAMMA & YEGELWEL P.A.        BAY STREET
PACETTI, ANDREW                       BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG, 233 EAST                                    JACKSONVILLE        FL   32202
                                      MCCLAMMA & YEGELWEL P.A.        BAY STREET
PACETTI, COY                          BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG, 233 EAST                                    JACKSONVILLE        FL   32202
                                      MCCLAMMA & YEGELWEL P.A.        BAY STREET
PACEWICZ, MAXINE M                    4151 SHOAL CREEK DR                                                                              STERLING HTS       MI 48310‐5573
PACEWICZ, TONY                        4151 SHOAL CREEK DR                                                                              STERLING HTS       MI 48310‐5573
PACEX PACKAGE EXPRESS INC             568 BEACH RD UNIT 1                                                         HAMILTON CANADA ON
                                                                                                                  L8H 3K CANADA
PACH, BARTHOLOME                      634 S NELSON AVE                                                                                 KANKAKEE            IL   60901‐5620
PACH, TED                             933 W 33RD PL                                                                                    CHICAGO             IL   60608‐6711
PACHA Z.L.
PACHAL TOMASZ                         PACHAL, TOMASZ                  22206 LAKELAND ST.                                               ST. CLAIR SHORES   MI    48081
PACHE, KEITH                          12123 HAWTHORNE DRIVE                                                                            MONTGOMERY         TX    77356‐8959
PACHE, MICHAEL G                      240 CROWLEY AVE                                                                                  BUFFALO            NY    14207‐1516
PACHE, THOMAS G                       11337 POSTHILL RD                                                                                LAKESIDE           CA    92040‐1334
PACHECK PAINTING                      311 LIND AVE                                                                                     MATTYDALE          NY    13211‐1823
PACHECO ADRIANNE                      6009 LILY ROCK DR                                                                                FONTANA            CA    92336‐4575
PACHECO BLANCA                        PACHECO, BLANCA                 13104 STAFFORD COLONY LN                                         STAFFORD           TX    77477
PACHECO CASSANDRA                     PACHECO, CASSANDRA              1000 SOUTH AVENUE                                                STATEN ISLAND      NY    10314
PACHECO CASSANDRA                     PACHECO, CASSANDRA              113 EAST 37TH ST                                                 NEW YORK           NY    10016
PACHECO JAMES                         3033 POPLAR CT                                                                                   FAIRFIELD          CA    94533‐7015
PACHECO JESUS                         6009 LILY ROCK DR                                                                                FONTANA            CA    92336‐4575
PACHECO JOHN J                        100 BERKSHIRE LN                                                                                 FORT WORTH         TX    76134‐2903
PACHECO JOSEPH                        47 NEEDHAM RD FL 2                                                                               DANVERS            MA    01923
PACHECO JR, FREDERICK                 30724 BEECHNUT ST                                                                                WESTLAND           MI    48186‐5002
PACHECO MAURICIO (660925)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA    23510
                                                                      STREET, SUITE 600
PACHECO OSCAR                         PACHECO, OSCAR                  1915 N DALE MABRY HWY STE 303                                    TAMPA              FL    33607‐2530
PACHECO REVUELTA, ENRIQUE             25206 HAZEL RANCH DR                                                                             KATY               TX    77494‐0470
PACHECO VICTOR (ESTATE OF) (634714)   SIMMONS FIRM                    PO BOX 521                                                       EAST ALTON         IL    62024‐0519

PACHECO, ADRAINNE E                   6009 LILY ROCK DR                                                                                FONTANA            CA    92336‐4575
PACHECO, ALBA                         559 PALISADE AVE                                                                                 TEANECK            NJ    07666‐3108
PACHECO, ALBERT                       3746 BUCKINGHAM DR                                                                               JANESVILLE         WI    53546‐8849
PACHECO, ALEX VELAZQUEZ               DEGRO LEIDA GONZALEZ            1295 AVE MUNOZ RIVERA STE 3                                      PONCE              PR    00717‐0793
PACHECO, ANTONE S                     251 BRIGGS RD                                                                                    WESTPORT           MA    02790‐4022
PACHECO, ANTONIO                      3304 E NOBLE DR                                                                                  EDMOND             OK    73034‐8204
PACHECO, ARISTIDES C                  PO BOX 324                                                                                       BUFFALO            NY    14223‐0324
PACHECO, BENINO R                     1047 CAMINO DEL LLANO                                                                            BELEN              NM    87002‐3229
PACHECO, BLANCA                       13104 STAFFORD COLONY LN                                                                         STAFFORD           TX    77477‐4569
PACHECO, BRIAN                        JAFFE DOUGLAS                   402 W BROADWAY FL 4                                              SAN DIEGO          CA    92101‐3554
PACHECO, CASSANDRA                    AMABILE & ERMAN                 1000 SOUTH AVENUE                                                STATEN ISLAND      NY    10314
PACHECO, CASSANDRA                    RHEINGOLD VALET & RHEINGOLD     113 EAST 37TH ST                                                 NEW YORK           NY    10013
PACHECO, CASSANDRA                    411 ANNADALE RD                                                                                  STATEN ISLAND      NY    10312‐3119
PACHECO, CELESTINO R                  7175 WINDBURY LN                                                                                 FLINT              MI    48507‐0512
PACHECO, CHARLES R                    PO BOX 21                                                                                        AVENEL             NJ    07001‐0021
PACHECO, DARLENE
PACHECO, DAVID J                      809 N PERSIMMON DR                                                                               OLATHE             KS    66061‐5970
PACHECO, DAVID J                      341 N ARROYO ST                                                                                  OLATHE             KS    66061‐6013
PACHECO, DAVID J.JR                   809 N PERSIMMON DR                                                                               OLATHE             KS    66061‐5970
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Name                            Address1                         Address2                      Address3   Address4                     City               State Zip
PACHECO, DEBBIE                 1309 QUAIL RUN                                                                                         SAN MARCOS          TX 78666‐9468
PACHECO, DHAGMAR P              4655 NORWOOD DR                                                                                        WILMINGTON          DE 19803‐4811
PACHECO, DONNA M                6105 RAMSEY ROAD                                                                                       HARRISON            TN 37341‐7630
PACHECO, ELEODORO J             19040 ROSETTA AVE                                                                                      EASTPOINTE          MI 48021‐2655
PACHECO, ELEODORO JR            19040 ROSETTA AVE                                                                                      EASTPOINTE          MI 48021‐2655
PACHECO, ELOISE                 11605 SUMMIT POINT COURT                                                                               BAKERSFIELD         CA 93312‐6469
PACHECO, ENRIQUE                25206 HAZEL RANCH DRIVE                                                                                KATY                TX 77494‐0470
PACHECO, ERNESTINA J            4405 N WILLIS BLVD                                                                                     PORTLAND            OR 97203‐3660
PACHECO, FELIX                  PO BOX 430213                                                                                          PONTIAC             MI 48343‐0213
PACHECO, FERMIN                 714 INGLESIDE AVE                                                                                      FLINT               MI 48507‐2557
PACHECO, GARY L                 67 S CRAGMONT AVE                                                                                      SAN JOSE            CA 95127‐2441
PACHECO, GERARDO DANIEL ARIAS
PACHECO, GILBERT                512 HEWLETT ST                                                                                         BAKERSFIELD        CA   93309‐1439
PACHECO, GLADYS E               PO BOX 174                                                                                             ROXANA             KY   41848‐0174
PACHECO, GLADYS E               BRETT HAVEN                      19101 U S 119 N                                                       CUMBERLAND         KY   40823
PACHECO, GONZALO                505 BRIDLE PATH LN                                                                                     O FALLON           MO   63366‐1389
PACHECO, GUADALUPE              296 MILLAR AVE                                                                                         SAN JOSE           CA   95127‐2937
PACHECO, HAZEL                  678 HARLAN ST                                                                                          PLAINFIELD         IN   46168‐1318
PACHECO, HAZEL                  678 HARLAN STREET                                                                                      PLAINFIELD         IN   46168‐1318
PACHECO, JAMES ANDREW           1803 SOUTH HAMILTON STREET                                                                             LOCKPORT           IL   60441‐4321
PACHECO, JAMES S                PO BOX 342                                                                                             WESTPORT           MA   02790‐0342
PACHECO, JERONIMO O             6105 RAMSEY ROAD                                                                                       HARRISON           TN   37341‐7630
PACHECO, JESUS J                6009 LILY ROCK DR                                                                                      FONTANA            CA   92336‐4575
PACHECO, JO ANN T               539 REGENCY DR                                                                                         EL PASO            TX   79912‐4208
PACHECO, JOE G                  1788 MANITOU RD                                                                                        SPENCERPORT        NY   14559‐9508
PACHECO, JOHN                   100 BERKSHIRE LN                                                                                       FORT WORTH         TX   76134‐2903
PACHECO, JOSE A                 3005 YALE ST                                                                                           FLINT              MI   48503
PACHECO, JOSEPH L               10 GOODRICH ST                                                                                         ALBION             NY   14411‐1106
PACHECO, JOSEPHINE M            4513 OLD CARRIAGE RD                                                                                   FLINT              MI   48507‐5621
PACHECO, JOSEPHINE MARY         4513 OLD CARRIAGE RD                                                                                   FLINT              MI   48507‐5621
PACHECO, JULIO                  8800 BOULEVARD E APT 2D                                                                                NORTH BERGEN       NJ   07047‐6052
PACHECO, LAURA R                1960 SAGO ST.                                                                                          PALM BAY           FL   32905
PACHECO, LEODEGARIA L           535 MOSS ST APT F18                                                                                    CHULA VISTA        CA   91911
PACHECO, LEROY                  11478 ROBINSON LN                                                                                      LYNDONVILLE        NY   14098‐9312
PACHECO, LORETO M               7517 N 40TH ST                   APT N107                                                              TAMPA              FL   33604
PACHECO, LORETO M               R LAGUNA 579                                                              CARIACICA ES BRAZIL 29154‐
                                                                                                          815
PACHECO, LUISA                  91 FOREST ST                                                                                           BELLEVILLE         NJ   07109‐2247
PACHECO, MANUEL                 69 WOODLAND CT                                                                                         MILPITAS           CA   95035‐6243
PACHECO, MANUEL V               333 S MOORE ST                                                                                         LAKEWOOD           CO   80226‐2627
PACHECO, MARCELINO              2449 APPLEGLEN                                                                                         SPRINGDALE         AR   72764‐5959
PACHECO, MARCELINO              2449 APPLE GLEN                                                                                        SPRINGDALE         AR   72764
PACHECO, MARTHA S               9840 FIREBIRD AVE                                                                                      WHITTIER           CA   90605
PACHECO, MARY I                 7951 ETIWANDA AVE APT 2202                                                                             RANCHO CUCAMONGA   CA   91739‐6702
PACHECO, MARY I                 10950 CHURCH ST APT 3514                                                                               RANCHO CUCAMONGA   CA   91730‐9096
PACHECO, MAURICIO               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA   23510‐2212
                                                                 STREET, SUITE 600
PACHECO, MICHAEL J              2733 CARMELLA WAY                                                                                      MODESTO            CA   95355‐9123
PACHECO, NARCISO                1187 SORRENTO LN                                                                                       FLINT              MI   48507‐4027
PACHECO, NARCISO M              4513 OLD CARRIAGE RD                                                                                   FLINT              MI   48507‐5621
PACHECO, RADAMES                DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                      RIVERDALE          NY   10463
PACHECO, RALPH                  3516 TRAVELER CT                                                                                       MODESTO            CA   95355‐3663
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PACHECO, RICHARD           85 RHIANNON CT                                                                       OAKDALE             CA 95361‐3392
PACHECO, RICHARD A         1225 VIENNA DR SPC 288                                                               SUNNYVALE           CA 94089‐1833
PACHECO, ROBERT J          795 N SPRUCE ST                                                                      GARDNER             KS 66030‐1938
PACHECO, ROBERT JOSEPH     795 N SPRUCE ST                                                                      GARDNER             KS 66030‐1938
PACHECO, SEVERIANA P       6402 N GRADY AVE                                                                     TAMPA               FL 33614‐4821
PACHECO, THOMAS E          5800 HINEDALE ST                                                                     STERLING HTS        MI 48314
PACHECO, TRINIDAD S        22 BISHOP ROAD                                                                       CROCKETT            CA 94525‐1514
PACHECO, VICTOR            26 W CLIFF RD                                                                        COLONIA             NJ 07067‐3804
PACHECO, VINCENT           3614 N TERM ST                                                                       FLINT               MI 48506‐2626
PACHECO, WILFRED M         113 CREED CIR                                                                        CAMPBELL            OH 44405‐1204
PACHECO, WILLIAM J         935 HEARST CT                                                                        SANTA MARIA         CA 93454‐2649
PACHELL, JANET C           1815 CANFIELD RD                                                                     YOUNGSTOWN          OH 44511‐3024
PACHELL, ROBERT            1232 VALLEY VIEW DR                                                                  BOARDMAN            OH 44512‐3744
PACHICANO, JILL C          705 S WILMETTE AVE                                                                   WESTMONT             IL 60559‐2099
PACHICANO, JOSE E          5731 S SACRAMENTO AVE                                                                CHICAGO              IL 60629‐2135
PACHLA, RUBY J             PO BOX 1768                                                                          AVA                 MO 65608‐1768
PACHNER, CHRISTINE M       11903 UNITY RD                                                                       NEW SPRINGFIELD     OH 44443‐9721
PACHOLICK, GERMAINE E      13820 S MANDARIN CT                                                                  PLAINFIELD           IL 60544‐9338
PACHOLIK, COLETTA M        1806 TUXEDO AVE                                                                      PARMA               OH 44134‐1742
PACHOLIK, COLETTA M        1806 TUXEDO                                                                          PARMA               OH 44134‐1742
PACHOLKA, BETTY            4239 SHAWNEE TRL                                                                     JAMESTOWN           OH 45335‐1213
PACHOLKA, MICHAEL P        4239 SHAWNEE TRL                                                                     JAMESTOWN           OH 45335‐1213
PACHOLKA, THOMAS J         724 E SEIDLERS RD                                                                    KAWKAWLIN           MI 48631‐9742
PACHOLKA, WILLIAM F        808 S ARBOR ST                                                                       BAY CITY            MI 48706‐5107
PACHOLKE, DOUGLAS A        32552 BARCLAY SQ                                                                     WARREN              MI 48093‐1215
PACHOLKE, LONNIE L         6871 BAY GLADWIN COUNTY LINE RD                                                      BENTLEY             MI 48613‐9710
PACHOLKE, LYLE E           4800 LAWNDALE RD                                                                     SAGINAW             MI 48603‐1018
PACHOLKE, MARCIA A         30517 HAYES RD                                                                       WARREN              MI 48088‐3347
PACHOLKE, MARCIA A         30517 HAYES                                                                          WARREN              MI 48088‐3347
PACHOLKE, PATRICK L        18360 N OAK DR                                                                       CLINTON TOWNSHIP    MI 48038‐4609
PACHOLKE, WILLARD H        PO BOX 204                                                                           TWINING             MI 48766‐0204
PACHOLKE‐DEJONGH, LAURIE   1136 CARTER RD                                                                       MIDLAND             MI 48642‐9615
PACHOLSKI, DANIEL          7311 GREENVIEW AVE                                                                   DETROIT             MI 48228‐3477
PACHOLSKI, GREGORY L       1092 CRESTWOOD CT                                                                    BOLINGBROOK          IL 60440‐1657
PACHOLSKI, THOMAS F        1462 CORONA ST                                                                       INKSTER             MI 48141‐1853
PACHOMSKI, PAULINE D       13147 NORMAN CIRCLE                                                                  HUDSONS             FL 34669‐2439
PACHON, ABIGAIL L          1674 CARR CIR NW                                                                     ATLANTA             GA 30318‐2781
PACHON, ALEX L             17518 SW 139TH CT                                                                    MIAMI               FL 33177‐7725
PACHOTA, JOSEPH L          1231 BARCHESTER ST                                                                   WESTLAND            MI 48186‐3704
PACHOUD, RITA R            802 SHARON DRIVE                                                                     LADY LAKE           FL 32159‐2391
PACHOUD, RITA R            802 SHARON DR                                                                        THE VILLAGES        FL 32159
PACHT, CELESTE T           109 GORHAM ST                                                                        CHELMSFORD          MA 01824‐3209
PACHUCKI, JOHN V           23026 E RYER DR                                                                      FARMINGTON           IL 61531‐9329
PACHUK, JOHN R             5533 LAKEVIEW RD., N.E.                                                              CORTLAND            OH 44410‐9555
PACHUK, MARGARET B         5533 LAKEVIEW RD., N.E.                                                              CORTLAND            OH 44410‐9555
PACHULEC, HELEN S          26937 MERIDETH                                                                       WARREN              MI 48091‐4062
PACHULSKI, ARTHUR A        13840 IRONWOOD DR                                                                    SHELBY TWP          MI 48315‐4299
PACHULSKI, JOHN J          1030 WATSON ST SW                                                                    GRAND RAPIDS        MI 49504‐6148
PACHULSKI, JOSEPHINE C     1971 ROCKLEDGE DR                                                                    ROCKLEDGE           FL 32955‐4910
PACHUTA, BERNARD W         2331 QUAIL HOLLOW LN                                                                 SANDUSKY            OH 44870‐6082
PACHUTA, JOHN D            38066 WESTCHESTER RD                                                                 STERLING HEIGHTS    MI 48310‐3471
PACHUTA, JOHN M            238 FAIRGROUND BLVD                                                                  CANFIELD            OH 44406‐1619
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Name                                 Address1                         Address2                    Address3          Address4                 City             State Zip
PACHUTA, JOSEPH A                    5675 GOLF POINTE DR                                                                                     CLARKSTON         MI 48348‐5148
PACHUTA, MARGORIE                    11343 SW MOUNTAIN ASH CIR                                                                               PORT ST LUCIE     LF 34987‐2491
PACHY JR, JULIUS J                   59 TUSQUITTEE CREEK LN                                                                                  HAYESVILLE        NC 28904‐7652
PACHY, ALEX                          23221 WALTZ RD                                                                                          NEW BOSTON        MI 48164‐9168
PACHY, CHARLES                       6183 WAVERLY                                                                                            DEARBORN HTS      MI 48127‐3228
PACI, EMIL L                         5045 SAFFRON DR                                                                                         TROY              MI 48085‐6706
PACI, JOSEPH                         321 ASCENSION CIR                                                                                       SHREVEPORT        LA 71106‐8535
PACI, LOUIS H                        5116 HOWE RD                                                                                            GRAND BLANC       MI 48439‐7909
PACI, PATRICIA A                     25231 FAIRWAY DUNES CT 101                                                                              BONITA SPRINGS    FL 34135
PACI, SANDRA R                       5045 SAFFRON DR                                                                                         TROY              MI 48085‐6706
PACI, THOMAS E                       7811 CABERFAE TRL                                                                                       CLARKSTON         MI 48348‐3706
PACICCA, FRANK A                     34 WALTERCREST TER                                                                                      WEST SENECA       NY 14224‐3842
PACIERA, MARY H                      5672 ROSEMARY PL                                                                                        NEW ORLEANS       LA 70124‐1844
PACIERO, HELEN C                     8615 COLUMBIA ST                                                                                        DEARBORN HTS      MI 48127‐1007
PACIERO, JOAN S                      35133 LEON ST                                                                                           LIVONIA           MI 48150‐2667
PACIFIC AUTO ELECTRIC INC.           13949 POWAY RD STE C                                                                                    POWAY             CA 92064‐4856
PACIFIC AUTO PRO MEDIA SERVICES
PACIFIC AUTO SERVICE                 6660 MIRAMAR RD STE B                                                                                   SAN DIEGO        CA   92121‐2557
PACIFIC AUTO/GREENVI                 199 INDUSTRIAL PKWY                                                                                     GREENVILLE       AL   36037‐2421
PACIFIC AUTO/IMLAY C                 332 INDUSTRIAL PKWY.                                                                                    IMLAY CITY       MI   48444
PACIFIC AUTOMOTIVE COMP & SYS INTL   332 INDUSTRIAL DR                                                                                       IMLAY CITY       MI   48444

PACIFIC AUTOMOTIVE COMP & SYS INTL   MARTIN FISHER                    332 INDUSTRIAL PKWAY                                                   LIVONIA          MI 48150

PACIFIC AUTOMOTIVE COMPONENTS SYS TRIM X TECHNOLOGIES                 332 INDUSTRIAL PKWY                                                    IMLAY CITY       MI 48444
INTL DBA
PACIFIC AUTOMOTIVE HOLDINGS, INC.   ANTHONY STEVENS                   8450 LAGUNA GROVE DR                                                   ELK GROVE        CA   95757‐8703
PACIFIC BELL                        PAYMENT CENTER                                                                                           VAN NUYS         CA   91388
PACIFIC BELL                        2745 B" CLOVERDALE "                                                                                     CONCORD          CA   94518
PACIFIC BELL DBA SBC                PAYMENT CENTER                                                                                           SACRAMENTO       CA   95887‐0001
PACIFIC BILLING SERV                PO BOX 741865                                                                                            DALLAS           TX   75374‐1865
PACIFIC BILLING SERVICESINC         PO BOX 741865                                                                                            DALLAS           TX   75374‐1865
PACIFIC CLOTHING COMPANY, INC.
PACIFIC COAST INDUSTRIES            4101 HOLLY DR                                                                                            TRACY            CA 95304‐1630
PACIFIC COAST MS INDUSTRIES CO      RICK HENDRICK X323                4101 HOLLY DR                                                          TRACY            CA 95304‐1630
PACIFIC COAST MS INDUSTRIES CO      RICK HENDRICK X323                4101 N. HOLLY DRIVE                                                    MARSHALL         MI
PACIFIC CYCLE, INC.
PACIFIC CYCLE, LLC                  4902 HAMMERSLEY RD                                                                                       MADISON          WI 53711‐2614
PACIFIC DEALERSHIP GROUP INC        550 EL CAMINO REAL                                                                                       MENLO PARK       CA 94025‐5109
PACIFIC DEALERSHIP GROUP, INC. DBA  INTERCOMPANY
CADILLAC‐BUICK‐PONTIAC‐GMC OF MENLO

PACIFIC DUNLOP LIMITED               101 COLLINS ST.                                                                MELBOURNE, VICTORIA
                                                                                                                    3000, AUSTRALIA
PACIFIC DUNLOP LIMITED               101 COLLINS ST., MELBOURNE       VICTORIA 3000, AUSTRALIA                      AUSTRALIA
PACIFIC DUNLOP LTD                   LEVEL 3 678 VICTORIA ST                                                        RICHMOND VI 3000
                                                                                                                    AUSTRALIA
PACIFIC ENGINEERING CORP             A. SHIMIZU                       OGAKI PLANT                 7‐5‐8 KUZEGUAWA   PUEBLA PU 72710 MEXICO
PACIFIC ENTHNOGRAPHY CO              8881 W PICO BLVD STE 5                                                                                  LOS ANGELES      CA   90035‐3336
PACIFIC EXCAVATING                                                    9796 KENT ST                                                                            CA   95624
PACIFIC FIRST PLAZA 6710             C\O NORRIS BEGGS & SIMPSON       777 108TH AVE NE STE 2150                                              BELLEVUE         WA   98004‐5118
PACIFIC FOOTHILL RANCH INC           12821 WESTERN AVE STE D                                                                                 GARDEN GROVE     CA   92841‐4027
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PACIFIC FREIGHT TRANSPORTATIONINC     12751 POWAY RD                        STE 102                                                                         POWAY            CA 92064‐4441

PACIFIC GAS & ELECTRIC                316 L ST                                                                                                              DAVIS           CA   95616‐4231
PACIFIC GAS & ELECTRIC                ALAN PORTER                            245 MARKET ST                                                                  SAN FRANCISCO   CA   94105
PACIFIC GAS & ELECTRIC COMP           PO BOX 997300                                                                                                         SACRAMENTO      CA   95899‐7300
PACIFIC GAS & ELECTRIC COMP CA        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 997300                                                                  SACRAMENTO      CA   95899‐7300

PACIFIC GAS & ELECTRIC COMPANY        1030 DETROIT AVE                                                                                                      CONCORD         CA 94518‐2401
PACIFIC GROUP LTD
PACIFIC GROUP LTD                     10215 CANEEL DR                                                                                                       KNOXVILLE       TN   37931‐3135
PACIFIC GROUP LTD                     1797 ATLANTIC BLVD                                                                                                    AUBURN HILLS    MI   48326‐1505
PACIFIC GROUP LTD                     201 METROPOLITAN DR                                                                                                   WEST COLUMBIA   SC   29170‐2294
PACIFIC GROUP LTD                     BOB FRANKOWIAC                        C/O CROWN PACKAGING        1885 WOODMAN CENTER                                  MONTPELIER      OH   43543
                                                                                                       DRIVE
PACIFIC GROUP LTD                     TODD HERTZLER                         C/O CROWN PACKAGING CORP   1885 WOODMAN CENTER                                  CHICKASHA       OK 73023
                                                                                                       DRIVE
PACIFIC HOSPITAL OF                   2776 PACIFIC AVE                                                                                                      LONG BEACH      CA   90806‐2613
PACIFIC IND/SOUTHFLD                  4000 TOWN CTR STE 1100                                                                                                SOUTHFIELD      MI   48075‐1406
PACIFIC INDUSTRIAL CO LTD             JONATHAN MAURER X201                  PACIFIC INDUSTRIES         8935 SEWARD ROAD                                     BURTON          MI   48529
PACIFIC INDUSTRIES AIR CONTROL        JONATHAN MAURER X201                  PACIFIC INDUSTRIES         8935 SEWARD ROAD                                     BURTON          MI   48529
PACIFIC INDUSTRIES AIR CONTROL INC    8935 SEWARD RD                                                                                                        FAIRFIELD       OH   45011‐9109
PACIFIC INSIGHT ELECTRONICS           DAN COOKE                             1155 INSIGHT DRIVE                                      MISSISSAUGA ON CANADA
PACIFIC INSIGHT ELECTRONICS CORP      DAN COOKE                             1155 INSIGHT DRIVE                                      MISSISSAUGA ON CANADA
PACIFIC INSIGHT ELECTRONICS CORP      1155 INSIGHT DRIVE                    NELSON, BC, V1L5P5                                      CANADA
PACIFIC INSIGHT ELECTRONICS EFCO      624 LAKESIDE DR                                                                               NELSON BC V1L 5S7
                                                                                                                                    CANADA
PACIFIC INSTITUTE INC                 1709 HARBOR AVE SW                                                                                                    SEATTLE         WA 98126‐2049
PACIFIC INTERNATIONAL SERVICE CORP.   1600 KAPIOLANI BLVD. S‐825                                                                                            HONOLULU        HI 96814

PACIFIC MANUFACTURING OHIO INC        8955 SEWARD RD                                                                                                        FAIRFIELD       OH   45011‐9109
PACIFIC MANUFACTURING OHIO INC        JASON JONES                           8955 SEWARD ROAD                                                                SUWANEE         GA   30024
PACIFIC MOTOR SERVICE                 550 E FRANKLIN ST                                                                                                     MONTEREY        CA   93940‐3011
PACIFIC MOTOR TRUCKING CO             2345 GRAND BLVD                                                                                                       KANSAS CITY     MO   64108
PACIFIC NORTHERN RAIL                 455 SILVERCREEK PKW N                                                                         GUELPH ON N1H 8M7
CONTRACTCORPORATION                                                                                                                 CANADA
PACIFIC NORTHERN RAIL CONTRACTORS

PACIFIC NORTHWEST CAMARO CLUB         C/O NANCY HOLMES                      4031 S 345TH ST                                                                 AUBURN          WA 98001‐9544
PACIFIC OCEAN AUTO PARTS CO (PAPCO)   PETER FRANK                           1895 S 10TH ST                                                                  SAN JOSE        CA 95112‐4100

PACIFIC PENSION INSTITUTE             465 CALIFORNIA ST                                                                                                     SAN FRANCISCO   CA   94104‐1801
PACIFIC PROVING LLC                   1702 E HIGHLAND AVE STE 310                                                                                           PHOENIX         AZ   85016‐4666
PACIFIC PULMONARY                     RIFKIN YOUNG                          88 ROWLAND WAY                                                                  NOVATO          CA   94945
PACIFIC RIM CAMPITAL, INC.            ATTN: MARC MILLS                      15 ENTERPRISE, STE 4                                                            ALISO VIEJO     CA   92656
PACIFIC RIM CAPITAL                   ATTN: CORPORATE OFFICER/AUTHORIZED    ONE JENNER, STE 170                                                             IRVINE          CA   92618
                                      AGENT
PACIFIC RIM CAPITAL                   ONE JENNER                            STE 170                                                                         IRVINE          CA   92618
PACIFIC RIM CAPITAL INC               C/O WELLS FARGO BANK NW NA            1 JENNER STE 170                                                                IRVINE          CA   92618
PACIFIC RIM CAPITAL INC               15 ENTERPRISE STE 400                                                                                                 ALISO VIEJO     CA   92656‐2655
PACIFIC RIM CAPITAL INC               ATTN:THOMAS V ASKOUNIS                ASKOUNIS & DARCY PC        401 N MICHIGAN AVE STE 550                           CHICAGO         IL   60611
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PACIFIC RIM CAPITAL INC EFT C/O WELLS   CORP TRUST SVCS                      MAC U1228‐120                 299 S MAIN ST FL 12                                SALT LAKE CITY      UT 84111‐2580
FARGO BANK NW NA
PACIFIC RIM CAPITAL, INC                MARC MILLS                           15 ENTERPRISE                 SUITE 400                                          ALISO VIEJO        CA   92656
PACIFIC RIM CAPITAL, INC                15 ENTERPRISE STE 400                                                                                                 ALISO VIEJO        CA   92656‐2655
PACIFIC RIM CAPITAL, INC                MMILLS@PACRIMCAP.COM                 15 ENTERPRISE STE 400                                                            ALISO VIEJO        CA   92656‐2655
PACIFIC RIM CAPITAL, INC                RELATIONAL TECHNOLOGY SOLUTIONS      ATT: RENEE ROGERS             3701 ALGONQUIN ROAD,                               ROLLING MEADOWS    IL   60008
                                                                                                           SUITE 600
PACIFIC RIM CAPITAL, INC.               ATTN: MARC MILLS                     15 ENTERPRISE                 SUITE 400                                          ALISO VIEJO        CA   92656
PACIFIC RIM CAPITAL, INC.               1 JENNER                             SUITE 170                                                                        IRVINE             CA   92618
PACIFIC RIM CAPITAL, INC.               15 ENTERPRISE STE 400                                                                                                 ALISO VIEJO        CA   92656‐2655
PACIFIC RIM CAPITAL‐SPLR DVSRT          PO BOX 3083                                                                                                           CEDAR RAPIDS       IA   52406‐3083
PACIFIC RIM CAPITAL‐SPLR DVSRT          ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 802585                                                                    CHICAGO            IL   60680‐2585
                                        AGENT
PACIFIC RIM/TOKYO                       2‐39‐102 HIGASHI‐GOTANDA             1‐CHOME SHINAGAWA‐KU                                     TOKYO 141 JAPAN
PACIFIC RO                              3089C CLAIREMONT DR 345                                                                                               SAN DIEGO          CA   92117
PACIFIC RO                              2188 CROWNHILL RD                    PO BOX 91218                                                                     SAN DIEGO          CA   92109‐1422
PACIFIC SEARCH CONSULTANTS              EXECUTIVE RECRUITERS IN SPEECH       555 N EL CAMINO REAL STE A    TECHNOLOGY                                         SAN CLEMENTE       CA   92672‐6745
PACIFIC SELECT MANAGED BOND             C/O PIMCO                            SANDY BENSON VICE PRESIDENT   840 NEWPORT CENTER DRIVE                           NEWPORT BEACH      CA   92660
                                                                             LEGAL & COMPLIANCE
PACIFIC SERVICE & DEVEL CORP                                                 4004 RICE ST                                                                                        HI   96766
PACIFIC TELEMANAGEMENT SERVICE          2175 N CALIFORNIA BLVD STE 400                                                                                        WALNUT CREEK       CA   94596‐7103
PACIFIC TELEMANAGEMENT SERVICE          379 DIABLO RD STE 212                                                                                                 DANVILLE           CA   94526‐3431
PACIFIC TOOL & DIE CO, THE              1035 WESTERN DR                                                                                                       BRUNSWICK          OH   44212‐4331
PACIFIC TOOL & DIE CO, THE              JEFFREY M. SMITH                     1035 WESTERN DRIVE                                                               SAINT JOSEPH       MO   64507
PACIFIC TOOL & DIE CO.                  JEFFREY M. SMITH                     1035 WESTERN DRIVE                                                               SAINT JOSEPH       MO   64507
PACIFIC TOOL & DIE COMPANY INC          1035 WESTERN DR                                                                                                       BRUNSWICK          OH   44212‐4331
PACIFIC TOOL & ENGINEERING LTD          6410 19 MILE RD                                                                                                       STERLING HEIGHTS   MI   48314‐2109
PACIFIC TOXICOLOGY LABORATORIES         9348 DE SOTO AVE                                                                                                      CHATSWORTH         CA   91311‐4926
PACIFIC TRANSDUCER CORP                 2301 FEDERAL AVE                                                                                                      LOS ANGELES        CA   90064‐1405
PACIFIC TRANSFORMER CORP                5399 E HUNTER AVE                                                                                                     ANAHEIM            CA   92807‐2054
PACIFIC TURBINE,
PACIFIC VAN LINES                       18418 S SANTE FE AVE                                                                                                  RANCHO DOMINGUEZ   CA 90221
PACIFIC VEH/OXNARD                      5601 EDISON DR                                                                                                        OXNARD             CA 93033‐8700
PACIFIC VEHICLE PROCESSORS              5601 EDISON DR                                                                                                        OXNARD             CA 93033‐8700
PACIFIC WESTEEL RACKING INC             3191 MAINWAY                                                                                  BURLINGTON ON L7M 1A6
                                                                                                                                      CANADA
PACIFIC WESTERN UNIVERSITY              600 N SEPULVEDA BLVD                                                                                                  LOS ANGELES        CA   90049‐2108
PACIFIC XPRESS LUBE #2                  1700 CALIFORNIA AVE                                                                                                   BAKERSFIELD        CA   93304‐1272
PACIFIC, ANN T                          C/O KATHLEEN MESSIER                 94 PROSPECT STREET                                                               MARLBORO           MA   01752
PACIFIC, ANN T                          94 PROSPECT ST                       C/O KATHLEEN MESSIER                                                             MARLBOROUGH        MA   01752‐4115
PACIFIC, JACQUELINE C                   415 UPLAND AVE                                                                                                        PONTIAC            MI   48340‐1347
PACIFICA 76                             765 ODDSTAD BLVD                                                                                                      PACIFICA           CA   94044‐4427
PACIFICA TIRES & SERVICE CENTER         4455 COAST HWY                                                                                                        PACIFICA           CA   94044‐3027
PACIFICARE NORTHERN CALIFORNIA          ATTN FELISA LARA                     5701 KATELLA AVE              MAIL STOP CY24‐515                                 CYPRESS            CA   90630‐5006
PACIFICARE OF CALIFORNIA                S AGUINALDO MEMBERSHIP ACCTG         5701 KATELLA AVE CY24 515                                                        CYPRESS            CA   90630
PACIFICARE OF NEVADA INC                PO BOX 98528                                                                                                          LAS VEGAS          NV   89195‐0001
PACIFICARE OKLAHOMA                     ATTN ALEJANDRA HAMMER                7666 E 61ST ST                                                                   TULSA              OK   74133
PACIFICI VINCENZO D'ANTONIO ROSA        VIA VINCENZO TIZZANI 94                                                                       151 ROMA RM ITALY
PACIFICI, JOAN A                        4246 GOODSON CT                                                                                                       BELCAMP            MD   21017‐1437
PACIFICO LIMOUSINE SERVICE LLC          6751 NORWITCH DR                                                                                                      PHILADELPHIA       PA   19153‐3402
PACIFICO, HARRY E                       3952 BELLWOOD DR SE                                                                                                   WARREN             OH   44484‐2943
PACIFICO, JOSEPH L                      426 SUPERIOR ST                                                                                                       HERMITAGE          PA   16148‐1218
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Name                       Address1                         Address2                      Address3   Address4         City              State Zip
PACIFICO, KAREN E          3927 BELLWOOD DR SE                                                                        WARREN             OH 44484‐2942
PACIFICO, LOIS             3963 STATE ROUTE 82                                                                        NEWTON FALLS       OH 44444‐9554
PACIFICO, MICHELE M        676 MEADOWBROOK AVE SE                                                                     WARREN             OH 44484‐4552
PACIFICORP                 3133 W 900 S                                                                               SALT LAKE CITY     UT 84104‐4535
PACIFICORP/SERV WRITER     3133 W 900 S                                                                               SALT LAKE CITY     UT 84104‐4535
PACILIO, MARY E            20936 UNIVERSAL                                                                            EAST DETROIT       MI 48021‐2906
PACINFO TECHNOLOGIES INC   411 E CANON PERDIDO ST STE 16                                                              SANTA BARBARA      CA 93101‐7534
PACINI, EZIO               48516 CARDINAL ST                                                                          SHELBY TOWNSHIP    MI 48317‐2213
PACINI, STEVEN P           1613 SHERRY DR                                                                             CHAMBERSBURG       PA 17202‐8037
PACINO, CHRISTINE J        26128 PETTIBONE RD                                                                         OAKWOOD VILLAGE    OH 44146‐6451
PACIOCCO SHANA             42501 WOODBRIDGE DR                                                                        CANTON             MI 48188‐1110
PACIOCCO, ALBERT V         42420 BLACKSTONE CT                                                                        CANTON             MI 48187‐2370
PACIOCCO, PHYLLIS          PO BOX 495                                                                                 HAMBURG            MI 48139
PACIOCCO, RHONDA L         42501 WOODBRIDGE DR                                                                        CANTON             MI 48188‐1110
PACIOCCO, SHANA R          42501 WOODBRIDGE DR                                                                        CANTON             MI 48188‐1110
PACIONE, ANTHONY J         1881 WAGNER RD                                                                             BATAVIA             IL 60510‐9012
PACIONE, ANTHONY J         1881 WAGNER ROAD                                                                           BATAVIA             IL 60510‐9012
PACIOREK, BERTHA E         13287 MCCUMSEY RD                                                                          CLIO               MI 48420‐7914
PACIOREK, CAROL            10043 REESE RD                                                                             BIRCH RUN          MI 48415‐9608
PACIOREK, DELORES J        10062 N LEWIS RD                                                                           CLIO               MI 48420‐7915
PACIOREK, JAMES M          13077 COUNTRY CLUB DR                                                                      CLIO               MI 48420‐8200
PACIOREK, JAMES MICHAEL    13077 COUNTRY CLUB DR                                                                      CLIO               MI 48420‐8200
PACIOREK, JERRY L          PO BOX 246                                                                                 MARYSVILLE         MI 48040‐0246
PACIOREK, MARTHA L         295 CANTON ST.                                                                             TONAWANDA          NY 14150‐5407
PACIOREK, MARTHA L         295 CANTON ST                                                                              TONAWANDA          NY 14150‐5407
PACIOREK, STEVEN J         10043 REESE RD                                                                             BIRCH RUN          MI 48415‐9608
PACIOREK, THOMAS A         13215 MCCUMSEY RD                                                                          CLIO               MI 48420‐7914
PACIOREK, THOMAS ANTHONY   13215 MCCUMSEY RD                                                                          CLIO               MI 48420‐7914
PACIOREK, VIRGINIA         30 LAKESHORE DR LOT 20                                                                     CANANDAIGUA        NY 14424
PACIOTTI, ROBERT N         8182 E HURON CT                                                                            WHITE LAKE         MI 48386‐2507
PACITTO, ADRIANA           16307 QUAIL RIDGE CT                                                                       FENTON             MI 48430‐9137
PACK ACIE H (429574)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                            STREET, SUITE 600
PACK CAPITAL INVESTMENTS   ATTN ANDREW BRISKAR              40 JANET LANE                                             BERKELEY HTS      NJ   07922
PACK IQ                    160 ALLIANCE BLVD                                                                          WILLIAMSTON       SC   29697
PACK JR, ARCHIE D          1547 LAKELAND AVE                                                                          LAKEWOOD          OH   44107‐3816
PACK JR, LEONARD           1271 TUPELO LN                                                                             WEST SALEM        OH   44287‐9633
PACK JR, MILLARD L         3440 SOLLERS POINT RD                                                                      DUNDALK           MD   21222‐6052
PACK JR, ROLAND            1302 BONAPARTE AVE                                                                         BALTIMORE         MD   21218‐6229
PACK LORIN                 4753 N 5TH W                                                                               IDAHO FALLS       ID   83401‐1164
PACK SR, HERMAN A          PO BOX 117                                                                                 ALPHA             OH   45301‐0117
PACK SR., VIRGIL S         905 LIVERMORE LN                                                                           ELYRIA            OH   44035‐3013
PACK, ACIE H               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                            STREET, SUITE 600
PACK, ALICE J              2849 RIVER EDGE CIRCLE                                                                     SPRING VALLEY     OH   45370
PACK, ARTHUR K             20537 FIVE POINTS PIKE                                                                     WILLIAMSPORT      OH   43164‐9708
PACK, BENNY J              51 PLEASANT HILL DR                                                                        ELKTON            MD   21921‐2429
PACK, BEVERLY L            15434 SORRENTO ST                                                                          DETROIT           MI   48227‐4026
PACK, CAROL                8971 CURRY LN                                                                              HUBER HEIGHTS     OH   45424‐7001
PACK, CHRISTINE            5094 WHITE OAK RD                                                                          DUFF              TN   37729‐3247
PACK, CLARENCE             354 EMERALD TRCE                                                                           JONESBORO         GA   30236‐4247
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Name                  Address1                           Address2                        Address3   Address4         City               State Zip
PACK, CLINTON         HORANY JOHN K                      1401 ELM STREET ‐ ELM PLACE ‐                               DALLAS              TX 75202
                                                         SUITE 4579
PACK, CLINTON         TRACY FIRM                         5473 BLAIR RD STE 200                                       DALLAS             TX   75231‐4168
PACK, DARLENE         246 PRESTON EST                                                                                PAINTSVILLE        KY   41240‐8681
PACK, DAVID M         1033 LEVISTA DR                                                                                LOCUST GROVE       GA   30248‐7075
PACK, DELORES S       646 INDIANA AVE                                                                                NILES              OH   44446‐1038
PACK, DONALD H        1082 PACK RD                                                                                   WALNUT COVE        NC   27052‐6026
PACK, EDWARD L        850 FERNSHIRE DR                                                                               CENTERVILLE        OH   45459‐2310
PACK, GARLAND         510 VIRGIL SMITH RD                                                                            CROSSVILLE         TN   38571‐0523
PACK, GEORGE W        224 W THORNRIDGE LN                                                                            MOUNT MORRIS       MI   48458‐9111
PACK, GREGG           5804 BITTERWOOD DR                                                                             AUSTIN             TX   78724‐5246
PACK, GREGORY A       120 LOST RIVER LN                                                                              BOWLING GREEN      KY   42104‐0826
PACK, GREGORY ALAN    120 LOST RIVER LN                                                                              BOWLING GREEN      KY   42104‐0826
PACK, HELEN J         1991 W MOUND ST                                                                                COLUMBUS           OH   43223‐2005
PACK, ILA F           6456 LEDGEBROOK DRIVE                                                                          BROOK PARK         OH   44142‐3746
PACK, J L             5480 COUNTRYSIDE DR APT B                                                                      WINSTON SALEM      NC   27105‐7108
PACK, JAMES C         6509 EDGEHURST DR                                                                              BROOK PARK         OH   44142‐3725
PACK, JAMES E         4174 TAREYTON DRIVE                                                                            BELLBROOK          OH   45305‐1174
PACK, JERRY LYNN      MOODY EDWARD O                     801 W 4TH ST                                                LITTLE ROCK        AR   72201‐2107
PACK, JERRY LYNN      C/O EDWARD O MOODY P A             801 W 4TH ST                                                LITTLE ROCK        AR   72201
PACK, JESSE           12620 GRIMSBY AVE                                                                              CLEVELAND          OH   44135‐4850
PACK, JOE
PACK, JOHN P          41 PAUL REVERE DR                                                                              HANOVER TOWNSHIP   PA   18706‐4174
PACK, JOHN R          3527 TRAIL ON RD                                                                               MORAINE            OH   45439‐1149
PACK, JOHNIE B        125 SHERRFIELD APT X6                                                                          SAGINAW            MI   48603‐6451
PACK, JOHNNIE D       9188 US HIGHWAY 380 W                                                                          JACKSBORO          TX   76458‐3818
PACK, JUDY A          310 POPLAR ST                                                                                  ATHENS             AL   35611‐4634
PACK, KEVIN E         1000 W VIKING CT                                                                               ABINGDON           MD   21009‐1044
PACK, KYMBERLY A      2287 S ARAGON AVE                                                                              KETTERING          OH   45420‐3556
PACK, LARRY J         2181 E NORTH UNION RD                                                                          BAY CITY           MI   48706‐9210
PACK, LARRY T         PO BOX 473                                                                                     CONOWINGO          MD   21918‐0473
PACK, LENA A          PO BOX 5                                                                                       DENNIS             TX   76439‐0005
PACK, LENA A          8090 COUNTY ROAD 293                                                                           HICO               TX   76457‐2001
PACK, LESSLEY L       10876 STATE ROUTE 124                                                                          HILLSBORO          OH   45133‐9291
PACK, LINDA
PACK, LINDA J         314 LINDA LN                                                                                   WENTZVILLE         MO   63385‐1322
PACK, LINDA JEAN      314 LINDA LN                                                                                   WENTZVILLE         MO   63385‐1322
PACK, MABEL R         3781 W ALEX BELL RD                                                                            W CARROLLTON       OH   45449‐1920
PACK, MABEL R         3781 ALEX BELLBROOK                                                                            W CARROLLTON       OH   45449‐1920
PACK, MCKINLEY T      2311 WILLARD ST                                                                                FLATWOODS          KY   41139‐1450
PACK, MILDRED MARIE   1502 KNIGHT AVE                                                                                FLINT              MI   48503‐3229
PACK, PATRICIA JEAN   200 S SULPHER SPRINGS PK                                                                       NEW LEBANON        OH   45345
PACK, PAUL D          120 W SAVANNAH DR                                                                              BEAR               DE   19701‐1639
PACK, PAUL K          4243 LYNDELL DR                                                                                BEAVERCREEK        OH   45432‐1825
PACK, RAFIEL S        307 CREEK POINT LN                                                                             ARLINGTON          TX   76002‐3329
PACK, RALPH W         6745 MIDDLETOWN RD                                                                             NEW MIDDLETWN      OH   44442‐9733
PACK, RICHARD A       5822 EAST DUNCAN STREET                                                                        MESA               AZ   85205‐6644
PACK, ROBERT          4901 APEX ST                                                                                   DAYTON             OH   45424‐1702
PACK, ROBERT
PACK, ROBERT          4901 APEX DRIVE                                                                                DAYTON             OH 45424‐1702
PACK, ROBERT G        5862 N LAKE RD                                                                                 OSCODA             MI 48750‐9704
PACK, ROBERT L        158 GALLUP AVE                                                                                 NORWALK            OH 44857‐2604
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Name                               Address1                            Address2                       Address3   Address4         City              State Zip
PACK, ROBERTA C                    92 NEWBERRY LN                                                                                 HOWELL             MI 48843‐9569
PACK, ROCHELLE D                   8500 WALDRON RD                                                                                JEROME             MI 49249‐9614
PACK, ROCHELLE DELAINE             8500 WALDRON RD                                                                                JEROME             MI 49249‐9614
PACK, RUSSELL                      401 8TH ST                                                                                     LAWRENCEBURG       TN 38464‐2719
PACK, RUTH A.                      3808 W SYLVANIA AVE APT X                                                                      TOLEDO             OH 43623‐4502
PACK, RUTH A.                      3808 W SYLVANVIA AVE                APT X                                                      TOLEDO             OH 43623
PACK, SALLY A                      64 S 87TH ST                                                                                   NIAGARA FALLS      NY 14304‐4451
PACK, SANDRA I                     1347 MOUNT ZION AVENUE                                                                         JANESVILLE         WI 53545‐1107
PACK, SUSAN C                      145 GEORGE ST                                                                                  NILES              OH 44446‐2725
PACK, TERRY W                      4810 INDIAN TRL                                                                                SAGINAW            MI 48638‐5557
PACK, THERESA                      9628 COIN RD                                                                                   LOUISVILLE         KY 40291‐3288
PACK, THOMAS A                     391 VAN BUREN CIRCLE                                                                           DAVISON            MI 48423‐8573
PACK, THOMAS ALEXANDER             391 VAN BUREN CIRCLE                                                                           DAVISON            MI 48423‐8573
PACK, VALERIE C                    917 NW 19TH ST                                                                                 OKLAHOMA CITY      OK 73106‐6420
PACK, VIOLET J                     2030 ABBEYVILLE RD                                                                             VALLEY CITY        OH 44280‐9529
PACK, WAYNE M                      6 MOSIER HILL RD                                                                               CLAYSVILLE         PA 15323‐1020
PACK, WAYNE T                      10832 THORNTON DR                                                                              KNOXVILLE          TN 37934
PACK, WILLIAM C                    6422 E CALLE DE AMIGOS                                                                         TUCSON             AZ 85750
PACKAGE DESIGN & MANUFACTURING     PO BOX 596                          12424 EMERSON DR                                           WHITMORE LAKE      MI 48189‐0596
PACKAGE DESIGN & MANUFACTURING INC DAVE RACZKOWSKI                     PDM                                                                           MI 48189

PACKAGE DESIGN & MANUFACTURINGINC PO BOX 596                                                                                      WHITMORE LAKE     MI 48189‐0596

PACKAGE DESIGN & SUPPLY              1014 NORTHAMPTON ST                                                                          BUFFALO           NY    14211‐1535
PACKAGE DESIGN & SUPPLY              KEITH FREELAND                    1014 NORTHAMPTON                                           DALLAS            TX    75208
PACKAGE DESIGN & SUPPLY INC          1014 NORTHAMPTON ST                                                                          BUFFALO           NY    14211‐1535
PACKAGE DESIGN AND SUPPLY CO         KEITH FREELAND                    1014 NORTHAMPTON                                           DALLAS            TX    75208
PACKAGING CONCEPTS & DESIGN          1307 ALLEN DR STE I               MOVED PER LETTER 10/02/02 JA                               TROY              MI    48083‐4010
PACKAGING CORP OF AMERICA            1900 W FIELD CT                   ADD CHANGE 02/10/04 QZ859Y                                 LAKE FOREST       IL    60045‐4828
PACKAGING CORP OF AMERICA            1900 W FIELD CT                                                                              LAKE FOREST       IL    60045‐4828
PACKAGING CORPORATION OF AMERI       1106 INDUSTRIAL PARK DR           PO BOX 80                                                  EDMORE            MI    48829‐8396
PACKAGING CORPORATION OF AMERI       1900 W FIELD CT                                                                              LAKE FOREST       IL    60045‐4828
PACKAGING CORPORATION OF AMERI       936 N SHELDON RD                                                                             PLYMOUTH          MI    48170‐1016
PACKAGING CORPORATION OF AMERICA     1106 INDUSTRIAL PARK DR           PO BOX 80                                                  EDMORE            MI    48829‐8396

PACKAGING CORPORATION OF AMERICA     1900 W FIELD CT                                                                              LAKE FOREST        IL   60045‐4828

PACKAGING CORPORATION OF AMERICA     936 N SHELDON RD                                                                             PLYMOUTH          MI 48170‐1016

PACKAGING CORPORATION OF AMERICA     RICK WHITEHEAD                    1900 W FIELD CT                                            LAKE FOREST        IL   60045‐4828

PACKAGING CORPORATION OF AMERICA     ATTN: J. WM. WEILEMANN, CREDIT    900 E. DIEHL ROAD, SUITE 131                               NAPERVILLE         IL   60563
                                     MANAGER
PACKAGING CREDIT COMPANY             936 N SHELDON RD                                                                             PLYMOUTH          MI    48170‐1016
PACKALA, WESLEY S                    4207 1/2 WISCONSIN AVE                                                                       STICKNEY          IL    60402‐4249
PACKAN, RAYMOND G                    7 EMERSON RD                                                                                 NORTH BRUNSWICK   NJ    08902‐3420
PACKARD ELEC/TROY                    5725 DELPHI DR                                                                               TROY              MI    48098‐2815
PACKARD ELECTRIC DIVISION ACCOUNTS   31 JUDSON ‐ MAIL CODE 3105‐04                                                                PONTIAC           MI    48343
PAYABLE
PACKARD HUGHES INTERCONNECT          PO BOX 19685                                                                                 IRVINE            CA 92623‐9685
PACKARD I I I, ROGER E               PO BOX 15                                                                                    FENTON            MI 48430‐0015
PACKARD III, ROGER E                 PO BOX 15                                                                                    FENTON            MI 48430‐0015
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Name                       Address1                        Address2                  Address3   Address4                City               State Zip
PACKARD JR, BURTON         10217 COLLAR DR                                                                              SAN ANTONIO         FL 33576‐7816
PACKARD JR, JOHN           APT 2                           5085 PHEASANT RUN DRIVE                                      SAGINAW             MI 48638‐6344
PACKARD JR, ORRIN E        1921 KIMBERLY DR                                                                             CHARLOTTE           MI 48813‐9748
PACKARD JR, RUSSELL J      4389 ALVIN ST                                                                                SAGINAW             MI 48603‐3011
PACKARD KOREA              152‐15 BUSONG‐RI JIKSAN‐EUP     CHEONAN‐SI CHOONGNAM                 CHEONAN 330‐815 KOREA
                                                                                                (REP)
PACKARD KOREA INC          152 15 PUSONG RI CHIKSAN MYON   33081 CHUNGHAM                       KOREA SOUTH KOREA
PACKARD LOGISTICS INC      PO BOX 380                                                                                   CHANNAHON           IL   60410‐0380
PACKARD ROBERT             69 SUGAR CREEK PL                                                                            WOODWAY            TX    76712‐3407
PACKARD SERVICE CENTER     2417 LEBANON PIKE                                                                            NASHVILLE          TN    37214‐2412
PACKARD, ANNONA M          690 MONROE AVE                                                                               PERU               IN    46970‐1325
PACKARD, ARTHUR J          1903 GALKE CT                                                                                BAY CITY           MI    48708‐8162
PACKARD, AUDREY            1906 GALKE CT                                                                                BAY CITY           MI    48708‐8162
PACKARD, AUDREY            1906 GALKE COURT                                                                             BAY CITY           MI    48708‐8162
PACKARD, BARBARA J         7509 LOCOMOTIVE LN                                                                           ROSEVILLE          CA    95747‐8355
PACKARD, BERNICE B         10630 COPPER LAKE DR            C/O DIANE RICHMOND                                           BONITA SPRINGS     FL    34135‐8437
PACKARD, CARL W            708 N CENTRAL AVE                                                                            CRANDON            WI    54520‐1134
PACKARD, CAROL A           2308 NOTTINGHAM DRIVE                                                                        BELLEVIEW          NE    68123
PACKARD, DEBORAH           11114 TORREY RD                                                                              FENTON             MI    48430‐9701
PACKARD, DOROTHY ELEANOR   1111 S 3RD ST                                                                                PARAGOULD          AR    72450‐5229
PACKARD, DREW T            4200 ALLENWOOD DR SE                                                                         WARREN             OH    44484‐2931
PACKARD, EVA K             37012 TINA DR                                                                                FARMINGTON HILLS   MI    48335‐3659
PACKARD, GERALD J          1656 COOLIDGE AVENUE                                                                         SAGINAW            MI    48638‐4726
PACKARD, HARVEY W          7027 WEST N AVENUE                                                                           KALAMAZOO          MI    49009‐9508
PACKARD, JAY R             25 LOGAN AVE APT 10                                                                          KENMORE            NY    14223‐1540
PACKARD, JAY RANDALL       25 LOGAN AVE APT 10                                                                          KENMORE            NY    14223‐1540
PACKARD, JERRY W           311 SOUTH 6TH AVENUE                                                                         BEECH GROVE        IN    46107‐2013
PACKARD, JILL              PO BOX 196                                                                                   BADEN              PA    15005‐0196
PACKARD, JOHN H            1451 SPRUCEBROOK DR                                                                          KALAMAZOO          MI    49048‐5816
PACKARD, JONATHAN P        31297 MAPLE RIDGE LN                                                                         MADISON HTS        MI    48071‐1942
PACKARD, JUDITH            7027 WEST N AVE                                                                              KALAMAZOO          MI    49009
PACKARD, JUDITH            7027 W N AVE                                                                                 KALAMAZOO          MI    49009‐9508
PACKARD, JUDY M            4954 FOXWOOD LAKE DR                                                                         LAKELAND           FL    33810
PACKARD, KENNETH L         1805 W KILGORE RD                                                                            PORTAGE            MI    49024‐5725
PACKARD, LARRIE L          611 S PARK AVE                                                                               SAGINAW            MI    48607
PACKARD, LEDORA            2431 HAMMEL ST                                                                               SAGINAW            MI    48601‐2444
PACKARD, LESLIE H          4402 RED ARROW RD                                                                            FLINT              MI    48507‐5435
PACKARD, MARJORIE A        190 MOODY ST APT 505                                                                         WALTHAM            MA    02453‐5350
PACKARD, MARY JANE B       740 BISHOP RD                                                                                LEAVITTSBURG       OH    44483‐4483
PACKARD, MICHAEL R         15362 RAMBLING DR                                                                            FRASER             MI    48026‐5211
PACKARD, RICHARD V         192 DEBOER DR                                                                                BATTLE CREEK       MI    49017‐7647
PACKARD, ROBERT E          7 SOUTHLAWN CT                                                                               SAGINAW            MI    48602‐1817
PACKARD, ROBERT M          1482 W SALZBURG RD                                                                           AUBURN             MI    48611
PACKARD, RODNEY B          1714 S LAFOUNTAIN ST                                                                         KOKOMO             IN    46902‐2228
PACKARD, ROGER A           10460 BETSIE CREEK DR                                                                        INTERLOCHEN        MI    49643‐9198
PACKARD, ROSEMARY S        182 NORTH HURON ROAD                                                                         AU GRES            MI    48703‐9615
PACKARD, ROSEMARY S        182 N HURON RD                                                                               AU GRES            MI    48703‐9615
PACKARD, SHARON S          521 POPLAR ST                                                                                KOKOMO             IN    46902‐2257
PACKARD, STELLA M          PO BOX 255                                                                                   WEBSTER            NY    14580‐0255
PACKARD, THERON L          6221 WOODLORE DR NW                                                                          ACWORTH            GA    30101‐4693
PACKEL, GARY M             279 N 4197 RD                                                                                HUGO               OK    74743‐1059
PACKER BILL                807 SANDIA RD NW                                                                             ALBUQUERQUE        NM    87107
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Name                               Address1                          Address2                      Address3   Address4                 City               State Zip
PACKER ENGINEERING INC             1116 E BIG BEAVER RD                                                                                TROY                MI 48083‐1934
PACKER JR, CHARLES                 7126 RAVENWOOD LN                                                                                   LITHONIA            GA 30038‐7523
PACKER JR, JOHN                    2157 BOTT ST                                                                                        YOUNGSTOWN          OH 44505‐3806
PACKER WHOLESALE TRUCK & TRAILER                                     280 E PARR BLVD                                                                       NV 89512
PACKER, BERT L                     4188 JANET DR                                                                                       DORR                MI 49323‐9414
PACKER, CHARLES H                  92 BROOK DR                                                                                         BROOKFIELD          OH 44403‐9636
PACKER, ELIZABETH                  4188 JANET DR                                                                                       DORR                MI 49323‐9414
PACKER, EUGENE D                   7 BROMPTON CT                                                                                       CROSSVILLE          TN 38558‐4402
PACKER, KENNETH H                  286 P COUNTY RD 550                                                                                 MARQUETTE           MI 49855
PACKER, LARRY G                    770 LEXINGTON ONTARIO RD                                                                            MANSFIELD           OH 44903‐8791
PACKER, LOUISE L                   1803 SUNNYSIDE DR                                                                                   CADILLAC            MI 49601‐8742
PACKER, NECTAR R                   2157 BOTT ST                                                                                        YOUNGSTOWN          OH 44505‐3806
PACKER, RICHARD M                  9465 KELLY HWY                                                                                      VERMONTVILLE        MI 49096‐8718
PACKER, ROBERTA L                  4618 BURTCH CREEK DR                                                                                LAKEPORT            MI 48059
PACKER, WAYNE D                    1803 SUNNYSIDE DR                                                                                   CADILLAC            MI 49601‐8742
PACKER, WYVANA                     1520 CLAY HILLS DRIVE                                                                               ROCK HILL           SC 29730
PACKER, WYVANA                     1520 CLAY HILL DR                                                                                   ROCK HILL           SC 29730‐7080
PACKER, YVONNE D                   5159 BELLE ISLE DR                                                                                  DAYTON              OH 45439‐3228
PACKERS ENGINEERING & EQUIPMEN     6720 N 16TH ST                                                                                      OMAHA               NE 68112‐3402
PACKERS ENGINEERING & EQUIPMENT    6720 N 16TH ST                                                                                      OMAHA               NE 68112‐3402
PACKETT MARION G (626699)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                                     STREET, SUITE 600
PACKETT, MARION G                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
PACKING MATERIAL CO INC            110 SHUE DR                                                                                         ANNA               OH   45302‐8403
PACKING MATERIAL CO INC            PO BOX 252                                                                                          SOUTHFIELD         MI   48037‐0252
PACKING MATERIAL COMPANY INC       110 SHUE DR                                                                                         ANNA               OH   45302‐8403
PACKING PRODUCTS                   ATTN: TERRY FLOWERS               13101 ECKLES RD                                                   PLYMOUTH           MI   48170‐4245
PACKMAN, CHARLES RICH              2026 SHERMAN ST.                                                                                    SANDUSKY           OH   44870‐4730
PACKMAN, JERRY L                   30 PLUMMER AVE                    P.O. BOX 381                                                      BARGERSVILLE       IN   46106‐8902
PACKMAN, JERRY R                   4054 JEANETTE DR SE                                                                                 WARREN             OH   44484‐2767
PACKMAN, THELMA                    2026 SHERMAN ST                                                                                     SANDUSKY           OH   44870‐4730
PACKNETT, TERRI                    1808 RUTLAND DR                                                                                     DAYTON             OH   45406‐4619
PACKUS, JOANNE                     13451 BROUGHAM DR                                                                                   STERLING HEIGHTS   MI   48312‐4110
PACKUS, ROBERT E                   1161 TIMBERVIEW TRL                                                                                 BLOOMFIELD HILLS   MI   48304‐1551
PACKWELL INC                       10016 PORTER RD                                                                                     LA PORTE           TX   77571
PACKWOOD, AGNES E                  20300 FORT ST.                    APT. 114                                                          RIVERVIEW          MI   48193
PACKWOOD, AGNES E                  20300 FORT ST APT 114                                                                               RIVERVIEW          MI   48193‐4563
PACKWOOD, FREDERICK R              391 E 9TH AVE                                                                                       ROSELLE            NJ   07203‐2103
PACKWOOD, JOSEPH M                 18250 SE 52ND ST                                                                                    OCKLAWAHA          FL   32179‐7201
PACKWOOD, ROBERT L                 1735 ASHWOOD CIR                                                                                    MIDDLEBURG         FL   32068‐7701
PACKWOOD, RONALD E                 PO BOX 325                                                                                          HARRISON           MI   48625‐0325
PACLER, CHERYL L                   11026 LANDES CT LOT 203                                                                             IRA                MI   48023
PACLER, CHERYL LYNN                11026 LANDES CT LOT 203                                                                             IRA                MI   48023
PACLER, JOHN A                     11026 LANDES CT LOT 203                                                                             IRA                MI   48023
PACLEY, CAROLYN                    5340 EASTPORT AVE                                                                                   DAYTON             OH   45427‐2732
PACLEY, LEE A                      5340 EASTPORT AVE                                                                                   DAYTON             OH   45427‐2732
PACLINE CORP                       10 FALCONER DR                                                             MISSISSAUGA ON L5N 3L8
                                                                                                              CANADA
PACO PLASTICS & ENGINEERING INC    8540 DICE RD                                                                                        SANTA FE SPRINGS   CA 90670‐2510
PACOUREK, JOHN R                   530 LAURIE LN APT 16                                                                                THOUSAND OAKS      CA 91360
PACSAI, LIS H                      23287 FOX CRK                                                                                       FARMINGTON HILLS   MI 48335‐2742
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Name                           Address1                                Address2                           Address3   Address4            City               State Zip
PACT                           21 SAMUEL DR                                                                                              IOWA CITY            IA 52245‐5652
PACTEC INC                     12365 HAYNES ST                         PO BOX 8069                                                       CLINTON             LA 70722‐3717
PACTEC INC                     PO BOX 8069                                                                                               CLINTON             LA 70722‐1069
PACTELES, RICHARD A            27536 CHESTER ST                                                                                          GARDEN CITY         MI 48135‐2536
PACTIV CORP                    PO BOX 1586 STATION A                                                                 TORONTO CANADA ON
                                                                                                                     M5W 3N9 CANADA
PACTLES, JOSEPH A              1835 O' CONNOR AVE                                                                                        LINCOLN PARK       MI   48146
PACUIT, DAVID J                1782 MASSILLON RD                                                                                         AKRON              OH   44312‐4207
PACUR, LADISLAV                2215 LYNNWOOD DR                                                                                          STOW               OH   44224‐2738
PACUR, MILKA                   3796 HERON COURT                                                                                          STOW               OH   44224‐6301
PACURA, VICTORIA               55 N BROAD ST                           C/O CHARLENE BURKE                                                CANFIELD           OH   44406‐1137
PACURA, VICTORIA               921 WILKINSON AVE                                                                                         YOUNGSTOWN         OH   44509
PACURAI, STEPHEN J             1342 BYRON AVE                                                                                            YPSILANTI          MI   48198‐3109
PACURAI, STEPHEN J.            1342 BYRON AVE                                                                                            YPSILANTI          MI   48198‐3109
PACURAR, RONALD A              3979 STAATZ DR                                                                                            YOUNGSTOWN         OH   44511‐1933
PACYNA, SOPHIE K               PO BOX 305                              47 CIDER MILL RD                                                  MIDDLEFIELD        CT   06455‐0305
PACYNE, KATHERINE A            3506 SOUTHGATE DR                                                                                         FLINT              MI   48507‐3275
PACYNSKI, GARY A               90 STANLEY DR                                                                                             BAY CITY           MI   48708‐9118
PACYNSKI, LARRY F              906 38TH ST                                                                                               BAY CITY           MI   48708‐8416
PACZAK MICHAEL (506123)        ANGELOS PETER G LAW OFFICES OF          100 N CHARLES STREET , ONE                                        BALTIMORE          MD   21202
                                                                       CHARLES CENTER 22ND FLOOR
PACZAK, MICHAEL                ANGELOS PETER G LAW OFFICES OF          100 N CHARLES STREET, ONE                                         BALTIMORE          MD 21202
                                                                       CHARLES CENTER 22ND FLOOR
PACZAN, KENNETH L              1146 RACE ST                                                                                              MC KEES ROCKS      PA   15136‐2340
PACZAN, KENNETH L.             1146 RACE ST                                                                                              MC KEES ROCKS      PA   15136‐2340
PACZESNIAK, KATHERINE          220 CANAL WAY                                                                                             HACKETTSTOWN       NJ   07840‐1273
PACZESNY, JOSEPH               8661 MOORE RD                                                                                             ALANSON            MI   49706‐9538
PACZKOWSKI, HARRY E            1805 CREEKSTONE DR                                                                                        COLUMBIA           TN   38401‐6719
PACZKOWSKI, MARY E             PO BOX 9022                                                                                               WARREN             MI   48090‐9022
PACZKOWSKI, WALLACE            12407 CONE DR                                                                                             SHELBY TWP         MI   48315‐5705
PADAL, RANDOLPH L              10095 HELENA STREET                                                                                       COMMERCE CITY      CO   80022‐9367
PADALECKI, ALFRED              LAVIN COLEMAN ONEIL RICCI FINARELLI &   10TH FLR, PENN MUTUAL BUILDIN, G                                  PHILADELPHIA       PA   19106
                               GRAY                                    510 WALNUT STREET
PADALINO GUISEPPE              141 PENDRAGON WAY                                                                                         MANTUA             NJ   08051‐2223
PADALINO, GUISEPPE             141 PENDRAGON WAY                                                                                         MANTUA             NJ   08051‐2223
PADAR JR, ALBERT               2663 WINDSOR DR                                                                                           TROY               MI   48085‐3727
PADAVAN, PHYLLIS L             6319 LAHRING RD                                                                                           HOLLY              MI   48442‐9601
PADAVONIA, JANICE A            2918 SUNNYSIDE AVE                                                                                        WESTCHESTER        IL   60154‐5330
PADAY QUINN JR                 765 ROLLING HILLS LN APT 1                                                                                LAPEER             MI   48446‐4760
PADCO FINANCIAL SERVICES INC   ATTN: CORPORATE OFFICER/AUTHORIZED      100 W MONROE ST STE 706                                           CHICAGO            IL   60603‐1960
                               AGENT
PADCO FINANCIAL SERVICES INC   100 W MONROE ST                         STE 706                                                           CHICAGO            IL   60603
PADDACK, DWIGHT S              6639 AMSTERDAM DR                                                                                         LIBERTY TOWNSHIP   OH   45044‐9746
PADDEN, ALICIA S               5415 CARNOUSTIE CIR                                                                                       AVON               IN   46123‐8254
PADDEN, MARSHALL L             1351 MORGAN ST                                                                                            JOLIET             IL   60436‐1463
PADDEN, MEREDITH A             PO BOX 585                                                                                                FOLLY BEACH        SC   29439‐0585
PADDEN, PETER M                46669 HIGH MEADOWS CT                                                                                     MACOMB             MI   48044‐3347
PADDIE, JANICE M               9343 MIDVALE DR                                                                                           SHREVEPORT         LA   71118‐3553
PADDIE, MARCELLA L             11175 RIDGEHAVEN DR                                                                                       KEITHVILLE         LA   71047‐8703
PADDIE, MARCELLA LOUISE        11175 RIDGEHAVEN DR                                                                                       KEITHVILLE         LA   71047‐8703
PADDIE, MARK D                 8408 SOPHIE LN                                                                                            GREENWOOD          LA   71033
PADDIE, MARK P                 11175 RIDGEHAVEN DR                                                                                       KEITHVILLE         LA   71047‐8703
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Name                       Address1                        Address2                      Address3   Address4         City                State Zip
PADDIE, MARK PAUL          11175 RIDGEHAVEN DR                                                                       KEITHVILLE           LA 71047‐8703
PADDIE, MARTHA             716 RICHARDSON RD                                                                         STONEWALL            LA 71078
PADDISON, RICHARD L        1872 SILVER PALM RD                                                                       NORTH PORT           FL 34288‐8625
PADDOCK CHEVROLET, INC.    3232 DELAWARE AVE                                                                         KENMORE              NY 14217‐1721
PADDOCK CHEVROLET, INC.    DUANE PADDOCK                   3232 DELAWARE AVE                                         KENMORE              NY 14217‐1721
PADDOCK CHEVROLET, INC.    ATT: DUANE PADDOCK, PRESIDENT   3232 DELAWARE AVENUE                                      KENMORE              NY 14217
PADDOCK DAVID              PADDOCK, DAVID                  55 PUBLIC SQ STE 650                                      CLEVELAND            OH 44113‐1909
PADDOCK DONALD             1164 CANNON RD                                                                            RIVERSIDE            CA 92506‐5602
PADDOCK PUBLICATIONS       155 E ALGONQUIN RD                                                                        ARLINGTON HEIGHTS     IL 60005‐4617
PADDOCK, AARON J           60 BENNETT ST                   APT 201                                                   HORNELL              NY 14843‐1433
PADDOCK, AARON J           50 BENNETT ST APT 201                                                                     HORNELL              NY 14843‐1433
PADDOCK, ARTHUR F          75 PROVIDENCE ST                                                                          MENDON               MA 01756‐1368
PADDOCK, BETTY             6405 NORTH 100 WEST                                                                       ALEXANDRIA           IN 46001
PADDOCK, BRUCE D           11914 SNELLING ST                                                                         SUN VALLEY           CA 91352‐2436
PADDOCK, CHARLIE E         1004 S WIGHT ST                                                                           SAINT JOHNS          MI 48879‐2344
PADDOCK, CLINTON           6405 N 100 W                                                                              ALEXANDRIA           IN 46001‐8222
PADDOCK, DANIEL J          25425 PINE VIEW AVE                                                                       WARREN               MI 48091‐1566
PADDOCK, DARYL             2477 E 1100 N                                                                             ALEXANDRIA           IN 46001‐9213
PADDOCK, DAVID G           30 S BELLEVUE AVE                                                                         DEPEW                NY 14043‐4304
PADDOCK, DAVID N           1004 S WIGHT ST                                                                           SAINT JOHNS          MI 48879
PADDOCK, DONALD E          2477 E 1100 N                                                                             ALEXANDRIA           IN 46001
PADDOCK, FOSTER W          RD 2, 7794 LAKEPORT RD                                                                    CHITTENANGO          NY 13037‐9528
PADDOCK, FOSTER W          RR BOX 2                                                                                  CHITTENANGO          NY 13037
PADDOCK, FRANCES ETCHISO   5176 N 100 W                                                                              ANDERSON             IN 46011‐9285
PADDOCK, GARY L            2089 E 1100 N                                                                             ALEXANDRIA           IN 46001‐8494
PADDOCK, GEORGE MELVIN     BOONE ALEXANDRA                 205 LINDA DR                                              DAINGERFIELD         TX 75638‐2107
PADDOCK, GERALD T          3025 CURRY TER                                                                            PT CHARLOTTE         FL 33981‐1005
PADDOCK, GILBERT H         34635 BIRCHWOOD ST                                                                        WESTLAND             MI 48186‐4359
PADDOCK, GORDON R          58 CONSTANCE WAY W                                                                        ROCHESTER            NY 14512‐2748
PADDOCK, HARRY W           APT 33                          101 PINE DRIVE                                            ROCKVILLE            IN 47872‐1044
PADDOCK, JAMES F           2091 WALLER ROAD                                                                          EPPS                 LA 71237‐9349
PADDOCK, JAMES M           PO BOX 115                                                                                BRONSTON             KY 42518‐0115
PADDOCK, KATHY H           2822 TAMARACK DR.                                                                         SHARPSVILLE          PA 16150‐6150
PADDOCK, LOWELL C          PO BOX 9022                     ADAM OPEL AG, IPC A4‐01                                   WARREN               MI 48090‐9022
PADDOCK, MARION            12038 BOLDREY DR                                                                          FENTON               MI 48430
PADDOCK, MARY K            141 COUNTESS DR                                                                           W HENRIETTA          NY 14586‐9406
PADDOCK, PATRICIA J        3765 S HERMAN ST                                                                          MILWAUKEE            WI 53207‐3956
PADDOCK, ROBERT N          38801 OVERSEAS HWY MM39                                                                   BIG PINE KEY         FL 33043
PADDOCK, STEPHEN R         21537 VESPER ST                                                                           CREST HILL            IL 60403‐1528
PADDOCK, SUZANNE L         7821 W 159TH CT                                                                           ORLAND PARK           IL 60462‐5070
PADDOCK, TAMI VANGETS      3137 ASH WAY                                                                              LAPEL                IN 46051‐9535
PADDOCK, WARREN W          298 N LENORE LN                                                                           ROCKVILLE            IN 47872‐8135
PADDUBNY, TERRY G          380 W DRAHNER RD                APT C5                                                    OXFORD               MI 48371
PADDUBNY, TERRY G          APT A5                          380 WEST DRAHNER ROAD                                     OXFORD               MI 48371‐5000
PADDY MCGAHEY              2006 S BATAVIA AVE                                                                        MUNCIE               IN 47302‐2045
PADDY'S AUTOWORKS          3841 E STATE HIGHWAY 154                                                                  QUITMAN              TX 75783‐3755
PADEN DONNEL V (494069)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                           STREET, SUITE 600
PADEN, CHARLES E           RT #1 BOX 1C                                                                              RAYVILLE            MO 64084
PADEN, CHARLES E           108 S ST                                                                                  RAYVILLE            MO 64084
PADEN, DONNEL V            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                           STREET, SUITE 600
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Name                       Address1                        Address2                        Address3   Address4         City              State Zip
PADEN, ESTA M              7841 E HIGHVIEW PL                                                                          TUCSON             AZ 85750‐2319
PADEN, MARCUS W            712 MOURNING DOVE LANE                                                                      GOLDEN             CO 80401‐0911
PADEN, MICHAEL K           37 ESCONDIDO LN                                                                             EDWARDS            MO 65326‐2024
PADEN, ROSA N              26110 W 12 MILE RD APT 249                                                                  SOUTHFIELD         MI 48034‐1716
PADEN, SCOTT A             127 HARTZELL AVE                                                                            NILES              OH 44446‐5253
PADEN, SHIRLEY             903A MEADOWBROOK DR                                                                         CLINTON            MO 64735‐1707
PADEN, SHIRLEY             903 MEADOW BROOK DR APT A                                                                   CLINTON            MO 64735‐1898
PADEN, WILLIAM D           10 ELIE COURT                                                                               SPRINGBORO         OH 45066‐1547
PADEREWSKI, NORMAN A       10960 WOOD HOLLOW DR                                                                        CHARDON            OH 44024‐9440
PADERMOS, GEORGE J         5400 J R HAWKINS RD                                                                         KENNEDALE          TX 76060‐6424
PADEWSKI, IRENE            15 SKYTOP GDNS APT 17                                                                       PARLIN             NJ 08859‐2119
PADEWSKI, IRENE            15‐17 SKY TOP GARDENS                                                                       PARLIN             NJ 08859‐2119
PADEZANIN AMIL (358169)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                           STREET, SUITE 600
PADEZANIN, AMIL            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510‐2212
                                                           STREET, SUITE 600
PADFIELD JR, CLARENCE R    1202 S PURDUM ST                                                                            KOKOMO            IN   46902‐1757
PADFIELD, BARBARA J        2015 WESMAR COURT                                                                           KOKOMO            IN   46902
PADFIELD, BARBARA J        2015 WESMAR CT                                                                              KOKOMO            IN   46902‐3844
PADFIELD, EVERETT O        1076 S CALUMET ST                                                                           KOKOMO            IN   46902‐1843
PADFIELD, HARRY R          1062 E STATE ROAD 18            C/O DONNA DENNIS                                            KOKOMO            IN   46901‐7550
PADFIELD, LARRY W          925 NEELEY RD                                                                               BURKESVILLE       KY   42717
PADFIELD, LARRY W          4641 S COUNTY ROAD 200 E                                                                    KOKOMO            IN   46902
PADFIELD, MARILYN J        717 N 300 W                                                                                 KOKOMO            IN   46901‐3987
PADFIELD, NELLA M          PO BOX 162                                                                                  GREENTOWN         IN   46936‐0162
PADFIELD, RANDY C          617 KINGS LYNN RD                                                                           STOUGHTON         WI   53589‐4838
PADFIELD, RODNEY K         PO BOX 162                                                                                  GREENTOWN         IN   46936‐0162
PADFIELD, RORY R           1016 S PAGE ST                                                                              STOUGHTON         WI   53589‐2545
PADGEN, CATHERINE M        140 VALHALLA DR NE                                                                          POPLAR GROVE      IL   61065‐9287
PADGET, CLIFFORD J         5068 GRUBB RD                                                                               ODESSA            MO   64076‐6435
PADGET, DENNIS W           2949 JOYCE DR                                                                               KOKOMO            IN   46902‐4016
PADGET, DORIS              2063 LATHAM RD                                                                              NATIONAL CITY     MI   48748‐9312
PADGET, DOUGLAS M          11407 SILVER LAKE RD                                                                        BYRON             MI   48418‐9051
PADGET, ERNEST V           2063 LATHAM RD                                                                              NATIONAL CITY     MI   48748‐9312
PADGET, HAROLD J           1310 S WARNER ST                                                                            BAY CITY          MI   48706‐5172
PADGETT DOUGLAS            RR 3 BOX 775                                                                                SUMNER            IL   62466‐9371
PADGETT I I, LOWELL T      110 LAKEVIEW DR                                                                             FRANKLIN          OH   45005‐3069
PADGETT II, LOWELL T       1250 WOODCREST DR               APT 1207                                                    DAYTONA BEACH     FL   32114‐5639
PADGETT JAMES R (480775)   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND         OH   44114
                                                           BOND COURT BUILDING
PADGETT JR, WELDON L       1987 UNIVETER RD                                                                            CANTON            GA   30115‐8267
PADGETT JR, WILLIE C       15431 STATE HIGHWAY M                                                                       BLOOMFIELD        MO   63825‐8313
PADGETT SR, JOSEPH M       1111 S RITTER AVE                                                                           INDIANAPOLIS      IN   46203‐2538
PADGETT THOMPSON           PO BOX 4725                                                                                 BUFFALO           NY   14240‐4725
PADGETT THOMPSON           PO BOX 8297                                                                                 SHAWNEE MISSION   KS   66208‐0297
PADGETT, AUDREY            2220 GREAT HALL CT                                                                          CHARLESTON        SC   29414‐5608
PADGETT, AUSTIN H          4670 HIGHWAY 70 N                                                                           CROSSVILLE        TN   38571‐3618
PADGETT, BARBARA R         7636 LINDSAY DR                                                                             INDIANAPOLIS      IN   46214‐2663
PADGETT, BOBBIE J          15560 BELLAIRE AVE                                                                          ALLEN PARK        MI   48101‐1104
PADGETT, BRENDA J          19701 VINING RD                                                                             NEW BOSTON        MI   48164‐9554
PADGETT, BRISTER L         6201 LUCAS RD                                                                               FLINT             MI   48506‐1226
PADGETT, CARLTON           2273 STACEY RD                                                                              CANTONMENT        FL   32533‐8074
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Name                  Address1                        Address2                       Address3   Address4         City               State Zip
PADGETT, CAROL        12004 MAXIM WAY                                                                            CINCINNATI          OH 45249‐2031
PADGETT, CAROLYN      4640 W 147TH ST                                                                            CLEVELAND           OH 44135‐3406
PADGETT, CAROLYN      3799 NORMANDY PARK DRIVE        APT S4                                                     MEDINA              OH 44256
PADGETT, CHARLES F    244 LIBERTY LN                                                                             CANTON              GA 30114‐5364
PADGETT, CLETUS A     206 ANGELICA DR                                                                            EDWARDS             MO 65326‐2401
PADGETT, CONNIE K     1301 NORRIS AVE                                                                            MC COOK             NE 69001‐2613
PADGETT, DAVID        PO BOX 232                      118 E MAIN                                                 MARKLEVILLE         IN 46056‐0232
PADGETT, DAVID G      5 W WOOD ST                                                                                YALE                MI 48097‐3355
PADGETT, DAVID K      118 E MAIN ST                   PO BOX 232                                                 MARKLEVILLE         IN 46056‐9419
PADGETT, DAVID L      12023 EDEN GLEN DR                                                                         CARMEL              IN 46033‐4303
PADGETT, DAVID L      6625 KELLUM DR                                                                             INDIANAPOLIS        IN 46221‐4824
PADGETT, DENISE A     7174 ALGER DR                                                                              DAVISON             MI 48423‐2305
PADGETT, DONN L       609 WYNDHAM CIR                                                                            KELLER              TX 76248‐8281
PADGETT, DOROTHY R    7601 LESTER RD APT 4313                                                                    UNION CITY          GA 30291
PADGETT, DOUGLAS W    142 NELSON CIR                                                                             OLATHE              KS 66061‐7606
PADGETT, ED I
PADGETT, EVELYN R     3560 PLEASANT GROVE RD                                                                     CUMMING            GA   30040‐3747
PADGETT, FLOYD L      111 BLACK OAK TRL                                                                          WOODSTOCK          GA   30189‐5112
PADGETT, FREDIA       6120 MIDDLEBELT RD APT 614                                                                 GARDEN CITY        MI   48135‐2404
PADGETT, GARY W       4401 BRIDGEFIELD WEST DR                                                                   PLAINFIELD         IN   46168‐7016
PADGETT, GREGG A      4230 N COUNTY ROAD 300 W                                                                   PAOLI              IN   47454‐9631
PADGETT, HARRY S      7316 KETTLE LAKE DR SE                                                                     ALTO               MI   49302‐9169
PADGETT, IRENE G      31 SANBORN AVE                                                                             WEST ROXBURY AVE   MA   02132
PADGETT, JAMES M      1554 DALE CT                                                                               GREENFIELD         IN   46140‐7113
PADGETT, JAMES R      KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND          OH   44114
                                                      BOND COURT BUILDING
PADGETT, JANET        155 10 MILE ROAD                                                                           FITZGERALD         GA   31750
PADGETT, JUDITH A     174 MEADOWVIEW LN                                                                          GREENWOOD          IN   46142‐1867
PADGETT, KEITH W      2396 TRENTWOOD DR SE                                                                       WARREN             OH   44484‐3769
PADGETT, KENNETH W    2530 HENN HYDE RD                                                                          CORTLAND           OH   44410‐9447
PADGETT, LARRY W      281 W WASHINGTON ST                                                                        ORLEANS            IN   47452‐1634
PADGETT, LEOTA J      5031 ATLANTA ST                                                                            ANDERSON           IN   46013‐2871
PADGETT, LOWELL T     424 E MARKET ST                                                                            GERMANTOWN         OH   45327‐1424
PADGETT, MARGARET R   PO BOX 12632                                                                               NORWOOD            OH   45212‐0632
PADGETT, MARLIN N     2729 S 52ND CT                                                                             KANSAS CITY        KS   66106
PADGETT, MARY         1537 STUMPHOLE BRIDGE ROAD                                                                 WILLIAMS           IN   47470
PADGETT, MARY A       379 HARRIER DR                                                                             MONROE TOWNSHIP    NJ   08831‐5584
PADGETT, MARY G       2467 S 28TH ST                                                                             KALAMAZOO          MI   49048‐8617
PADGETT, MARY L       5450 LITTLE BLUE CREEK RD                                                                  MC EWEN            TN   37101‐4255
PADGETT, MICHAEL A    11844 N FOREST MANOR DR                                                                    MOORESVILLE        IN   46158‐6734
PADGETT, MICHAEL L    1315 SHADOW LN                                                                             ANDERSON           SC   29625‐6311
PADGETT, PAMELA S     8749 WATKINS LN                                                                            CLAYTON            IN   46118‐8822
PADGETT, PHYLLIS A    4230 N COUNTY ROAD 300 W                                                                   PAOLI              IN   47454‐9631
PADGETT, R T          PO BOX 695                                                                                 COOKEVILLE         TN   38503‐0695
PADGETT, RICHARD E    1280 PLEASANT POINT SCHOOL RD                                                              WAYNESBURG         KY   40489‐8784
PADGETT, RICHARD T    217 S NATIONAL ST APT 6                                                                    HOWELL             MI   48843
PADGETT, RICHARD V    1008 S LANSING ST                                                                          SAINT JOHNS        MI   48879‐2148
PADGETT, ROBERT       93 MAPLE RUN CT                                                                            SPRINGVILLE        IN   47462‐5470
PADGETT, ROBERT D     8001 XENIA DR                                                                              INDIANAPOLIS       IN   46227‐8148
PADGETT, ROBERT E     78655 HIDDEN PALMS DR                                                                      PALM DESERT        CA   92211‐1416
PADGETT, RONALD A     8749 WATKINS LANE                                                                          CLAYTON            IN   46118‐8822
PADGETT, RONALD W     1421 STAFFORD RD                                                                           PLAINFIELD         IN   46168‐2321
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Name                                 Address1                          Address2                      Address3   Address4               City                State Zip
PADGETT, RUSSELL W                   8088 JOHN ED DR                                                                                   MARTINSVILLE         IN 46151‐9342
PADGETT, SAMMY C                     9416 WINDROW PL                                                                                   MOSS POINT           MS 39562‐8033
PADGETT, SANDRA K                    2041 WEST ARBOR RIDGE WAY                                                                         BLOOMINGTON          IN 47403
PADGETT, SANDRA K                    2041 W ARBOR RIDGE WAY                                                                            BLOOMINGTON          IN 47403‐3766
PADGETT, SARAH                       1813 SILVER ST                                                                                    ANDERSON             IN 46012‐2459
PADGETT, STANLEY                     3598 ABEE FARM RD                                                                                 CONNELLYS SPRINGS    NC 28612‐7593
PADGETT, SUSIE R                     11479 CARR RD                                                                                     DAVISON              MI 48423‐9336
PADGETT, SUSIE RAE                   11479 CARR RD                                                                                     DAVISON              MI 48423‐9336
PADGETT, THOMAS B                    316 E MADISON BOX 307                                                                             KIRKLIN              IN 46050
PADGETT, THOMAS M                    683B BETHLEHEM CHURCH RD                                                                          FITZGERALD           GA 31750
PADGETTE, GERI                       110 GREEN ACRES LN                                                                                SPRINGHILL           LA 71075
PADGETTE, GERMAINE                   110 GREEN ACRES LN                                                                                SPRINGHILL           LA 71075‐5030
PADGETTE, JAMES L                    7105 FOX HOLLOW CIR                                                                               SHREVEPORT           LA 71107‐9018
PADGETTE, JOANN P                    7105 FOX HOLLOW CIR                                                                               SHREVEPORT           LA 71107‐9018
PADGITT, REBECCA                     3032 WILLOW RUN CIRCLE                                                                            ENON                 OH 45323‐9789
PADIA RAMON (456604)                 BRAYTON PURCELL                   PO BOX 6169                                                     NOVATO               CA 94948‐6169
PADIA, ANGELA
PADIA, RAMON                         BRAYTON PURCELL                   PO BOX 6169                                                     NOVATO              CA 94948‐6169
PADILLA ANTONIO JR (494070)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                       STREET, SUITE 600
PADILLA EULALIO H (660926)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                       STREET, SUITE 600
PADILLA FELIX (ESTATE OF) (498300)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                       STREET, SUITE 600
PADILLA HERNANDEZ, BLANCA E          3570 BREEZY POINT DR                                                                              OKEMOS              MI   48864‐5966
PADILLA HERNANDEZ, BLANCA ESTELA     3570 BREEZY POINT DR                                                                              OKEMOS              MI   48864‐5966
PADILLA JOSE                         PADILLA, JOSE                     1950 SAWTELLE BLVD STE 245                                      LOS ANGELES         CA   90025‐7017
PADILLA JR, ALFREDO                  1109 PACELLI ST                                                                                   SAGINAW             MI   48603
PADILLA LEE ROY (626700)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA   23510
                                                                       STREET, SUITE 600
PADILLA SANDRA                       1477 PURVIS AVE                                                                                   CLOVIS              CA   93611‐3024
PADILLA SYLVIS J                     946 JAMESON WAY                                                                                   WESTMONT            IL   60559‐2673
PADILLA, ALFREDO H                   817 S APOPKA AVE                                                                                  INVERNESS           FL   34452‐5788
PADILLA, ALICE R                     2024 OTTAWA ST                                                                                    SAGINAW             MI   48602‐2745
PADILLA, ANGEL                       4800 SHELL RIDGE DRIVE                                                                            FORT WORTH          TX   76133‐8340
PADILLA, ANTONIO                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA   23510‐2212
                                                                       STREET, SUITE 600
PADILLA, AUDENCIO A                  934 COAL CT                                                                                       SPARKS              NV   89434‐5817
PADILLA, BERTHA                      1551 CORONEL ST                                                                                   SAN FERNANDO        CA   91340‐3125
PADILLA, CARRIE A                    4060 WEST LOOMIS ROAD                                                                             MILWAUKEE           WI   53221‐2050
PADILLA, CHRISTINA M                 934 COAL CT                                                                                       SPARKS              NV   89434‐5817
PADILLA, CONRADO M                   RITA PEREZ DE MORENO 40           COL MATANCILLAS                          OJUELOS DE JALISCO J
                                                                                                                MEXICO 47540
PADILLA, DAMACIO G                   639 CENTURY DR                                                                                    TROY                MI   48083‐1316
PADILLA, DAMACIO G                   2666 WISCONSIN RD                                                                                 TROY                MI   48083‐4453
PADILLA, DANIEL G                    4112 E WISTERIA AVENUE                                                                            NAMPA               ID   83687‐3687
PADILLA, DIANA                       3101 BRIDGE ST                                                                                    VANCOUVER           WA   98661‐4442
PADILLA, DOROTEO A                   PO BOX 292001                                                                                     PHELAN              CA   92329‐2001
PADILLA, EDWARD L                    1097 BERWICK BLVD                                                                                 PONTIAC             MI   48341‐2321
PADILLA, ELIZABETH E                 2321 E HIGHLAND AVE APT 132                                                                       PHOENIX             AZ   85016
PADILLA, ERNEST                      8750 CRABB RD                                                                                     TEMPERANCE          MI   48182‐9398
PADILLA, ESTELLA M                   2270 N CENTER RD                                                                                  SAGINAW             MI   48603‐3729
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Name                      Address1                          Address2                         Address3   Address4         City               State Zip
PADILLA, EULALIO H        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA 23510‐2212
                                                            STREET, SUITE 600
PADILLA, EVANGELINE M     4217 SCOTTSDALE LN                                                                             WICHITA FALLS      TX 76302‐2522
PADILLA, EVANGELINE M.    4217 SCOTTSDALE LN                                                                             WICHITA FALLS      TX 76302‐2522
PADILLA, FELIX            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
PADILLA, GABRIEL          10200 LEMONA AVE                                                                               MISSION HILLS      CA    91345‐2706
PADILLA, GAVIN D          1303 N MAPLE ST                                                                                ANAHEIM            CA    92801‐1635
PADILLA, GAVIN D          1303 N. MAPLE ST.                                                                              ANAHEIM            CA    92801‐2801
PADILLA, HENRY E          1731 BURNHAM                                                                                   SAGINAW            MI    48602
PADILLA, HENRY E          527 N BOND ST                                                                                  SAGINAW            MI    48602‐4436
PADILLA, JOAQUIN          4938 EGANDALE AVE                                                                              MC COOK            IL    60525
PADILLA, JODI W           1011 W MAPLE RD                                                                                MILFORD            MI    48381‐3827
PADILLA, JOHN ANTONIO     3665 JEFFERSON HWY                                                                             GRAND LEDGE        MI    48837‐9779
PADILLA, JOSE             CONSUMER LEGAL SERVICES           1950 SAWTELLE BLVD STE 245                                   LOS ANGELES        CA    90025‐7017
PADILLA, JOSE E           7404 ASHCREST LN                                                                               DALLAS             TX    75249‐1129
PADILLA, JOSE ERNESTO     7404 ASHCREST LN                                                                               DALLAS             TX    75249‐1129
PADILLA, JOSE G           2422 E DUDLEY ST                                                                               PASADENA           CA    91104‐3419
PADILLA, JOSE L           7404 ASHCREST LN                                                                               DALLAS             TX    75249‐1129
PADILLA, JOSE LUIS        7404 ASHCREST LN                                                                               DALLAS             TX    75249‐1129
PADILLA, JOSE T           WIGOD,FALZON,MCNEELY & UNWIN PC   29500 TELEGRAPH RD SUITE 210                                 SOUTHFIELD         MI    48034
                          GERALD WIGOD (248)356‐3300
PADILLA, JUAN             315 SAGEBRUSH TRL                                                                              MURPHY             TX    75094‐2602
PADILLA, JUAN E           2707 COLE AVE APT 315                                                                          DALLAS             TX    75204‐1047
PADILLA, JUAN E           2707 COLE AVE                     APT 245                                                      DALLAS             TX    75204‐1040
PADILLA, JUANITA          1109 PACELLI ST                                                                                SAGINAW            MI    48638‐6552
PADILLA, LAWRENCE G       10401 N CAVE CREEK RD LOT 336                                                                  PHOENIX            AZ    85020‐1635
PADILLA, LEE ROY          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA    23510‐2212
                                                            STREET, SUITE 600
PADILLA, LEROY W          4217 SCOTTSDALE LN                                                                             WICHITA FALLS      TX    76302‐2522
PADILLA, LUIS             2721 BIRCHWOOD DRIVE                                                                           ORANGE PARK        FL    32073‐6501
PADILLA, LUZ S            600 PARK GLEN LANE                                                                             MANSFIELD          TX    76063‐3503
PADILLA, MAC              3337 PLYMOUTH DR                                                                               CARSON CITY        NV    89705‐7209
PADILLA, MAGALI ROSARIO
PADILLA, MAGDALENO L      333 N MOTT ST                                                                                  LOS ANGELES        CA    90033‐3613
PADILLA, MANUEL E         4804 BAMFORD PL                                                                                LOS ANGELES        CA    90042‐2217
PADILLA, MARIA            APT 315                           2740 DUNCANVILLE ROAD                                        DALLAS             TX    75211‐7437
PADILLA, MARIA            3025 S BELSAY RD                                                                               BURTON             MI    48519‐1617
PADILLA, MARIA A          13204 DEBELL ST                                                                                ARLETA             CA    91331‐4740
PADILLA, MARIA LOURDES
PADILLA, MARIA M          53 MC COORD WOODS DR                                                                           FAIRPORT           NY    14450‐3849
PADILLA, MELANY C         4203 FITCH AVE                                                                                 NOTTINGHAM         MD    21236
PADILLA, MIGUEL A         204 BRAMBURY DR APT B                                                                          ROCHESTER          NY    14621‐1835
PADILLA, ORLANDO T        37690 BURTON DR                                                                                FARMINGTON HILLS   MI    48331‐3062
PADILLA, OSCAR            4580 SKYHAWK DR NE                                                                             ROCKFORD           MI    49341‐9607
PADILLA, PATRICIA
PADILLA, PAUL D           1301 BELLEVUE WAY SE APT 3                                                                     BELLEVUE           WA 98004‐7161
PADILLA, RAMIRO           BURKE & OBRIEN                    33 NORTH LASALLE STREET ‐ 20TH                               CHICAGO            IL 60602
                                                            FLOOR
PADILLA, RAMIRO           STEVENSON & AMMONS ‐ ROBERT E     3700 MONTROSE BLVD                                           HOUSTON             TX   77006‐4624
                          AMMONS
PADILLA, RAMON H          79 CAMEO PL                                                                                    COLONIA             NJ   07067‐1130
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Name                            Address1                           Address2                        Address3         Address4             City                   State Zip
PADILLA, RAUL E                 9682 W RIVER ST                                                                                          SCHILLER PARK            IL 60176
PADILLA, REYNALDO               110 WOODSIDE LN                                                                                          BAY CITY                MI 48708‐5545
PADILLA, RICHARD J              10204 1/2 HELENDALE AVE                                                                                  TUJUNGA                 CA 91042‐2239
PADILLA, ROBERT                 9528 WAVERLY DR                                                                                          EL PASO                 TX 79924‐6220
PADILLA, ROBERT                 846 N WUTHERING HILLS DR                                                                                 JANESVILLE              WI 53546‐2101
PADILLA, ROBERT C               8020 RANCHO DE LA OSA TRL                                                                                MCKINNEY                TX 75070‐6039
PADILLA, RODOLFO                6042 MADRID CT                                                                                           PALMDALE                CA 93552‐4014
PADILLA, ROSEMARY A             160 CAMELOT DR                     BUILDING O APT 9                                                      SAGINAW                 MI 48638
PADILLA, SALLY                  1567 WILD CHERRY LN                                                                                      LAPEER                  MI 48446‐8706
PADILLA, SANTOS H               69 RUTTER ST                                                                                             ROCHESTER               NY 14606
PADILLA, SCOTT A                12791 JULMAR DR                                                                                          BYRON                   MI 48418‐9123
PADILLA, SHIRLEY M              315 SAGEBRUSH TRL                                                                                        MURPHY                  TX 75094‐2602
PADILLA, STEPHEN                8042 LECLAY DR                                                                                           KNOXVILLE               TN 37938‐3031
PADILLA, STEPHEN A              1011 W MAPLE RD                                                                                          MILFORD                 MI 48381‐3827
PADILLA, STEVEN L               PO BOX 181953                                                                                            ARLINGTON               TX 76096‐1953
PADILLA, SYLVIA J               946 JAMESON WAY                                                                                          WESTMONT                 IL 60559‐2673
PADILLA, SYLVIA L               6 OLEANDER DRIVE                                                                                         STAFFORD                VA 22554‐8213
PADILLA, UBALDO S               3061 S BELSAY RD                                                                                         BURTON                  MI 48519‐1617
PADILLA, VICTOR                 221 N ORCHARD AVE                                                                                        FULLERTON               CA 92833‐2737
PADILLA,AURORA                  7404 ASHCREST LN                                                                                         DALLAS                  TX 75249‐1129
PADIN, VICTOR                   UNKNOWN ADDRESS
PADLEY, CAROL A                 3588 WOODBRIDGE LN                                                                                       PORTAGE                MI   49024‐4090
PADLEY, GREGORY J               44281 SATURN DR                                                                                          STERLING HEIGHTS       MI   48314‐3173
PADLO, DONALD V                 225 WESTWOOD RD                                                                                          BRISTOL                CT   06010‐2370
PADLO, STEPHANIE                50 WEST NECK ROAD                                                                                        SOUTHAMPTON            NY   11968‐2229
PADLO, STEPHANIE                50 WEST NECK RD                                                                                          SOUTHAMPTON            NY   11968
PADMA SENGUPTA                  2505 ST CLAIR AVE                                                                   WINDSOR ON N9E4L9
                                                                                                                    CANADA
PADMA SUNDARAM                  5322 POND BLUFF DR                                                                                       W BLOOMFIELD           MI   48323‐2444
PADMANABAN JEYA                 DBA JP RESEARCH                    2570 W EL CAMINO REAL STE 380                                         MOUNTAIN VIEW          CA   94040
PADMANABHAN, JAYANTHI           4310 BIRCH RUN DR                                                                                        TROY                   MI   48098‐4338
PADMANABHAN, RAGHU              1091 CANYON CREEK DR                                                                                     ROCHESTER HILLS        MI   48306‐4283
PADMANABHAN, VENKATESH          4310 BIRCH RUN DR                                                                                        TROY                   MI   48098‐4338
PADMANABHAN,RAGHU               1091 CANYON CREEK DR                                                                                     ROCHESTER HILLS        MI   48306‐4283
PADMARAJ
PADNOS LOUIS IRON AND MET CO    1900 W WILLOW ST                                                                                         LANSING                MI   48917‐1838
PADNOS, LOUIS IRON & METAL CO   185 W 8TH ST                                                                                             HOLLAND                MI   49423‐3107
PADNOS, LOUIS IRON & METAL CO   1900 W WILLOW ST                                                                                         LANSING                MI   48917‐1838
PADO, JULIA T                   PO BOX 511                                                                                               LECANTO                FL   44483
PADOLESKI, BARBARA L            10764 MAPLE RIDGE RD                                                                                     MEDINA                 NY   14103‐9571
PADOLESKI, SONDRA D             PO BOX 1509                                                                                              LOCKPORT               NY   14095‐1509
PADOVA LTD                      C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT           2 RAFFLES LINK   MARINA BAYFRONT
                                LIMITED                                                                             SINGAPORE 039392
PADOVANI, CARMEN M              824 S SOLANDRA DR                                                                                        ORLANDO                FL   32807‐1534
PADOVANI, CELESTE               305 APPLEHILL DR                                                                                         WEST CARROLLTON        OH   45449‐1562
PADOVANI, RONALD J              1363 CLARK STREET                                                                                        NILES                  OH   44446‐3445
PADOVANO SALVATORE & CECILIA    805 HARRISON GDNS                                                                                        HARRISON               NJ   07029‐1615
PADOVANO, MARIANNE L            26 DEDHAM ST                                                                                             BOSTON                 MA   02136‐1604
PADOVANO, THERESA               643 HOPPING RD                                                                                           BELFORD                NJ   07718‐1104
PADOVICH, FLORENCE I            15556 NORTHVILLE FOREST DR APT J112                                                                      PLYMOUTH               MI   48170

PADOVINI, MIMMIO C              64 REGAL PL                                                                                              GROSSE POINTE SHORES   MI 48236‐1460
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Name                                   Address1                         Address2                      Address3   Address4                 City                State Zip
PADRICK CHARLES D SR (429575)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK              VA 23510
                                                                        STREET, SUITE 600
PADRICK, CHARLES D                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510‐2212
                                                                        STREET, SUITE 600
PADRON, HECTOR                         17051 NE 35TH AVE APT 102                                                                          NORTH MIAMI BEACH   FL   33160‐3001
PADRON, VICTOR F                       719 SAINT JAMES PL APT 419                                                                         EAST WINDSOR        NJ   08520‐4634
PADTURE, SUNIL P                       3682 ANNIS CIRCLE                                                                                  PLEASANTON          CA   94588‐2945
PADUANO, LOUIS S                       5740 SUNSET MAPLE DR                                                                               ALPHARETTA          GA   30005‐7274
PADUCAH INTERNATIONAL RACEWAY          4445 SHEMWELL LN                                                                                   PADUCAH             KY   42003‐0796
PADUCHAK, MYRON                        586 MEADOWBRIAR RD                                                                                 ROCHESTER           NY   14616‐1120
PADUCHOWSKI, ANNA                      28053 DIESING DR                                                                                   MADISON HEIGHTS     MI   48071‐4543
PADUCHOWSKI, DELPHINE L                34160 SYCAMORE                                                                                     FRASER              MI   48026‐3595
PADUCHOWSKI, LAURETTA G                2217 EVALINE ST                                                                                    HAMTRAMCK           MI   48212‐3211
PADUK, MILTON                          5923 OAK RD                                                                                        ROSE CITY           MI   48654‐9601
PADULA CEMENT/LVONIA                   29224 RAYBURN ST                                                                                   LIVONIA             MI   48154‐3853
PADULA, BEATRICE K                     8320 ORCHARD AVE                                                                                   PENNSAUKEN          NJ   08109‐3836
PADULA, CARLA                          140 SUSAN CT.                                                                                      NILES               OH   44446‐2733
PADULA, CARLA                          140 SUSAN CT                                                                                       NILES               OH   44446‐2733
PADULA, JOSEPH G                       112 MILL BRIDGE CT                                                                                 SAINT PETERS        MO   63376‐7004
PADULA, JUDITH H                       5898 YORKTOWN LN                                                                                   YOUNGSTOWN          OH   44515‐2209
PADULA, ROSEMARIE                      6028 DANFORD CREEK DR APT 3                                                                        KALAMAZOO           MI   49009‐2057
PADZENSKY, SHARON C                    PO BOX 270016                                                                                      SAN DIEGO           CA   92198‐2016
PAEGE, REINHOLD R                      14430 FOY CREEK CT                                                                                 SHELBY TWP          MI   48315‐4311
PAEHLIG, JAMES V                       6228 WHITE ACRE DR                                                                                 LAKE                MI   48632‐8927
PAELICKE, GARY H                       1690 JUDD RD                                                                                       SALINE              MI   48176‐8820
PAELLA, PASQUAL J                      23 BROADMOOR DR                                                                                    TONAWANDA           NY   14150‐5531
PAELTZ, ROGER A                        20 W CLARK ST                                                                                      RUSSELLVILLE        OH   45168‐9788
PAEME JEAN MARIE                       MEENSESTEENWEG 365                                                        8800 ROESELARE BELGIUM
PAEPKE DEBRORAH                        6333 195TH AVE                                                                                     STANWOOD            MI   49346‐9537
PAEPKE, DEBORAH D                      6333 195TH AVE                                                                                     STANWOOD            MI   49346‐9537
PAEPKE, JOHN R                         6333 195TH AVE                                                                                     STANWOOD            MI   49346‐9537
PAESE, EMANUEL M                       40840 COUNTY RD 25               LOT # 97                                                          LADY LAKE           FL   32159
PAESE, FRANK                           5580 MOTTLAND CT                                                                                   OXFORD              MI   48371‐1081
PAESE, MARY J                          114 WEBER AVE                                                                                      BUFFALO             NY   14215‐3920
PAET, DUKE Y                           1302 MALLARD CIR                                                                                   MANSFIELD           TX   76063‐4076
PAETH, CATHERINE J                     1722 KAISER TOWER RD                                                                               PINCONNING          MI   48650‐7450
PAETH, ELAINE I                        4640 FOX POINTE DR APT 133                                                                         BAY CITY            MI   48706‐2851
PAETH, NORMAN R                        2702 COUNTY LINE RD                                                                                HOLLEY              NY   14470‐9207
PAETH, REED F                          56 FAITH DR                                                                                        HIGHLAND            IL   62249‐2631
PAETH, ROGER W                         2005 TUSCOLA ST                                                                                    FLINT               MI   48503‐2119
PAETOW ROLAND C (ESTATE OF) (442063)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                        BALTIMORE           MD   21202
                                                                        CHARLES CENTER 22ND FLOOR
PAETOW, ROLAND C                       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                         BALTIMORE           MD 21202
                                                                        CHARLES CENTER 22ND FLOOR
PAETSCH, EUGENE C                      861 ROME                                                                                           ROCHESTER HILLS     MI   48307‐2495
PAETSCH, ROSE M                        5200 HUMMER LAKE ROAD                                                                              OXFORD              MI   48371‐2806
PAETZ III, WALDEMAR C                  489 W CAMP RD                                                                                      SANFORD             MI   48657‐9432
PAETZKE, MICHAEL J                     N6516 VALLEY VIEW LN 6516                                                                          IRON RIDGE          WI   53035
PAEVA, ELMAR                           3736 PEACH ST                                                                                      SAGINAW             MI   48601‐5557
PAEY, HELEN A                          6400 TROUBLE CREEK RD            G1                                                                NEW PORT RICHEY     FL   34653‐5248
PAEZ, ALONZO                           503 E OLIVER ST                                                                                    OWOSSO              MI   48867‐2439
PAEZ, CARLOS                           4720 S GRAHAM RD                                                                                   SAINT CHARLES       MI   48655‐8549
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Name                             Address1                            Address2                       Address3   Address4         City               State Zip
PAEZ, EDWARD A                   760 BRIAN DRIVE                                                                                MANTENO              IL 60950‐1686
PAEZ, FRANK A                    PO BOX 477271                                                                                  CHICAGO              IL 60647‐7271
PAEZ, JORGE A                    818 ROBINHOOD LN                                                                               LA GRANGE PARK       IL 60526‐1577
PAEZ, KATHY A                    2805 S AIRPORT RD                                                                              SAGINAW             MI 48601‐6879
PAEZ, NIURKA                     ALTERS BOLDT BROWN RASH & CULMO PA MIAMI DESIGN DISTRICT 4141 NE                               MIAMI               FL 33137
                                                                     2ND AVENUE SUITE 201
PAEZ, RICHARD T                  2724 LONGVIEW AVE                                                                              SAGINAW            MI   48601
PAEZ, SHANNON R                  4720 S GRAHAM RD                                                                               SAINT CHARLES      MI   48655‐8549
PAF TRANSPORTATION               16 JOHNSON RD                                                                                  PORTLAND           ME   04102‐1911
PAFENBERG, GERALD J              12206 W COUNTY ROAD 100 N                                                                      NORMAN             IN   47264‐9754
PAFF, GRANT E                    678 E LOY RD                                                                                   PIQUA              OH   45356‐9219
PAFFEL, NANCY                    1634 KEELER AVE                                                                                BELOIT             WI   53511‐4767
PAFFORD, BETTY S                 10357 WILSON RD                                                                                OTISVILLE          MI   48463‐9732
PAFFORD, JOHN P                  6260 PEARL RD APT 620                                                                          PARMA HEIGHTS      OH   44130‐3040
PAFFORD, MILDRED C               3460 FARMERS CREEK RD                                                                          METAMORA           MI   48455‐9791
PAFFORD, MILDRED L               3460 FARMERS CREEK RD                                                                          METAMORA           MI   48455‐9791
PAFFRATH, DELORES J              55 MAGNOLIA LN                                                                                 WILDWOOD           FL   34785‐9059
PAFFRATH, DIANE B                3936 WINDRIDGE CT                                                                              JACKSONVILLE       FL   32257‐7067
PAFFRATH, EDGAR C                436 PORTLAND AVE APT 15                                                                        SAINT PAUL         MN   55102‐2236
PAFK, MARVIN G                   19 DANITA DR                                                                                   AKRON              NY   14001‐1133
PAFLAS, NICHOLAS W               GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW            MI   48604‐2602
                                                                     260
PAFUNDI, IDA A                   53 GREENBROOK DR                                                                               BLOOMFIELD         NJ   07003‐2882
PAGAC, JOHN                      25845 BERNADINE RD                                                                             NEW BOSTON         MI   48164‐9530
PAGACH, BARBARA L                447 SHILOH CREEK WAY                                                                           INDIANAPOLIS       IN   46234‐9621
PAGACZ, WALTER G                 15660 W AUTUMN SAGE DR                                                                         SURPRISE           AZ   85374‐6108
PAGADUAN, IDA                    3 MICHIGAN ST                                                                                  BEVERLY HILLS      FL   34465‐4360
PAGAN APONTE, JOSE S             VELEZ JOSE MANUEL URRUTIA           MSC 780 WINSTON CHURCHIL AVE ‐                             SAN JUAN           PR   00926
                                                                     #138
PAGAN CARLOS SR (491269)         BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                              NORTHFIELD         OH 44067
                                                                     PROFESSIONAL BLDG
PAGAN CARMEN                     PAGAN, CARMEN                       2001 US HIGHWAY 46 STE 310                                 PARSIPPANY         NJ 07054‐1315
PAGAN CYNTHIA                    PAGAN, CYNTHIA                      3422 W CHICAGO AVE                                         CHICAGO            IL 60651
PAGAN E C (481940) ‐ PAGAN E C   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                                     STREET, SUITE 600
PAGAN III, REO                   APT 10309                           2850 OAK ROAD                                              PEARLAND           TX   77584‐8886
PAGAN JR, BIDELSON               1885 AUGUST DR                                                                                 MANSFIELD          OH   44906‐2251
PAGAN JR, JULIO                  PO BOX 118                                                                                     PUERTO REAL        PR   00740‐0118
PAGAN, AMANDA                    3768 SAN SIMEON CIR                                                                            WESTON             FL   33331‐5052
PAGAN, BIDELSON A                1763 TIFFIN DR                                                                                 DEFIANCE           OH   43512‐3435
PAGAN, CYNTHIA                   3422 W CHICAGO AVE                                                                             CHICAGO            IL   60651‐4030
PAGAN, DIANE L                   9010 S PARKSIDE DR                                                                             OAK CREEK          WI   53154‐3931
PAGAN, DIANE M                   609 AUTUMN DR                                                                                  FLUSHING           MI   48433‐1933
PAGAN, E C                       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510‐2212
                                                                     STREET, SUITE 600
PAGAN, GIL F                     9010 S PARKSIDE DR                                                                             OAK CREEK          WI   53154‐3931
PAGAN, ISABEL                    337 62ND ST                         1ST FLOOR                                                  BROOKLYN           NY   11220
PAGAN, ISABEL                    3645 MEANDER RESERVE CIR                                                                       CANFIELD           OH   44406
PAGAN, JACOB                     737 SW 4TH ST                                                                                  HALLANDALE BEACH   FL   33009‐6214
PAGAN, JACQUELYN M               20315 S GREENWAY ST                                                                            SOUTHFIELD         MI   48076‐5034
PAGAN, JAVIER A                  216 WESTFIELD AVE                                                                              DEFIANCE           OH   43512‐1436
PAGAN, JAVIER AARON              216 WESTFIELD AVE                                                                              DEFIANCE           OH   43512‐1436
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PAGAN, LOUIS                          28945 N OAK DR                                                                                                    WRIGHT CITY      MO 63390‐3099
PAGAN, LOUIS A                        3645 MEANDER RESERVE CIR                                                                                          CANFIELD         OH 44406‐8015
PAGAN, LOUIS A                        522 PINE WAY                                                                                                      OCALA            FL 34472
PAGAN, MARIA DELG ALVARADO
PAGAN, NICOLAS R                      PO BOX 3057                                                                                                       JUNCOS          PR   00777‐6057
PAGAN, PEDRO C                        PO BOX 25042                                                                                                      RALEIGH         NC   27611‐5042
PAGAN, RACHEL I                       111 W 17TH ST                                                                                                     SIOUX FALLS     SD   57104‐4960
PAGAN, RALPH A                        29 E.CHALMERS                                                                                                     YOUNGSTOWN      OH   44507
PAGAN, RICHARD D                      8896 E VALLEY LN                                                                                                  LENNON          MI   48449
PAGAN, RUTH E                         2310 DORIS ST                                                                                                     WICHITA FALLS   TX   76306‐1307
PAGAN, SCOTT A                        1149 PICKWICK PL                                                                                                  FLINT           MI   48507‐3737
PAGAN, SCOTT ALAN                     1149 PICKWICK PL                                                                                                  FLINT           MI   48507‐3737
PAGAN, SHARON J                       1359 LEISURE DRIVE                                                                                                FLINT           MI   48507‐4048
PAGAN‐RIOS, LIZETTE                   35 N BRUCE ST                                                                                                     YOUNGSTOWN      OH   44506‐1301
PAGAN‐SANTIAGO, MAGALI                315 PORTER AVE                                                                                                    CAMPBELL        OH   44405‐1404
PAGANELLI CHERYL                      22 AMESBURY PARKE                                                                                                 MEDFORD         NJ   08055‐3329
PAGANELLI MARCO                       PIAZZA GARIBALDI, 11 A                                                                      LISSONE ITALY         LISSONE
PAGANELLI, ARGENTINA                  1 MARTIN RD                                                                                                       OSSINING        NY 10562‐5602
PAGANI LUIGI                          LA SCALA                             STUDIO LEGALE E TRIBUTARIO        CORSO MAGENTA N 42   20123 MILANO ITALY
PAGANI MARTINA                        LA SCALA STUDIO LEGALE E TRIBUTANO   CORSO MAGENTA N 42                                     20123 MILANO ITALY

PAGANI, JOAN M                        1636 BURNWOOD ROAD                                                                                                BALTIMORE       MD   21239‐3603
PAGANIN, JACQUELINE A                 9214 SUMMIT STREET RD                                                                                             LE ROY          NY   14482‐8949
PAGANINI SR, MANSUETO M               APT G                                119 SUNNY LANE                                                               TORRINGTON      CT   06790‐3538
PAGANO ANGELO (446797)                KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                                CLEVELAND       OH   44114
                                                                           BOND COURT BUILDING
PAGANO GIUSEPPE (482351)              BROOKMAN ROSENBERG BROWN &           17TH FLR, ONE PENN SQUARE WEST,                                              PHILADELPHIA    PA 19102
                                      SANDLER                              30 SOUTH 15TH STREET
PAGANO JOE                            2400 RIVER RD                                                                                                     MIDDLETOWN      PA   17057‐5117
PAGANO JR., ANGELO P                  21 FRONT ST                                                                                                       SILVER CREEK    NY   14136‐1005
PAGANO KELLI                          PAGANO, KELLI                        30 OAK ST STE 401                                                            STAMFORD        CT   06905‐5310
PAGANO RICHARD (493073)               BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD      OH   44067
                                                                           PROFESSIONAL BLDG
PAGANO RICHARD (ESTATE OF) (488191)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD      OH 44067
                                                                           PROFESSIONAL BLDG
PAGANO SR, GIOVANNI                   1753 HESS DR                                                                                                      HOLIDAY         FL   34691‐4691
PAGANO SR., GIOVANNI                  1753 HESS DR                                                                                                      HOLIDAY         FL   34691‐5448
PAGANO, ALFRED A                      1838 JOHNSTON PL                                                                                                  POLAND          OH   44514‐1413
PAGANO, ALFRED P                      24 BAYFIELD RD                                                                                                    WAYLAND         MA   01778‐4206
PAGANO, ANGELO                        223 ASHLYNN CT                                                                                                    NEWTON FALLS    OH   44444‐8768
PAGANO, ANGELO                        KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                                 CLEVELAND       OH   44114
                                                                           BOND COURT BUILDING
PAGANO, CAROL                         184 NORTH ST                                                                                                      EAST AURORA     NY   14052‐1308
PAGANO, CAROL                         184 NORTH ST.                                                                                                     EAST AURORA     NY   14052‐1308
PAGANO, GERALD                        559 STONEWALL DR                                                                                                  GALLOWAY        NJ   08205‐3248
PAGANO, GIUSEPPE                      BROOKMAN ROSENBERG BROWN &           17TH FLR, ONE PENN SQUARE WEST,                                              PHILADELPHIA    PA   19102
                                      SANDLER                              30 SOUTH 15TH STREET
PAGANO, GUY P                         8775 20TH ST LOT 174                                                                                              VERO BEACH      FL   32966‐6907
PAGANO, JOSEPH                        14 MOHAWK DR 14                                                                                                   GIRARD          OH   44420
PAGANO, JOSEPH                        107 LEDYARD AVE                                                                                                   DEPEW           NY   14043
PAGANO, JOSEPH A                      14 MOHAWK DR 14                                                                                                   GIRARD          OH   44420
PAGANO, JOSEPH P                      2884 STONY POINT RD                                                                                               GRAND ISLAND    NY   14072‐1420
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PAGANO, JUDITH                 2884 STONY POINT ROAD                                                                               GRAND ISLAND       NY 14072‐1420
PAGANO, LINDA M                218 HOLMES AVE                                                                                      CLARENDON HILLS     IL 60514‐1418
PAGANO, PRISCILLA              278 S MAIN ST                                                                                       WALLINGFORD        CT 06492‐4601
PAGANO, RICHARD                BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD         OH 44067
                                                                 PROFESSIONAL BLDG
PAGANO, SHARON C               1838 JOHNSTON PL                                                                                    POLAND            OH   44514‐1413
PAGANONI EARL                  13421 TALL PINES LN                                                                                 PLAINFIELD        IL   60544‐7480
PAGANONI, EARL M               13421 TALL PINES LN                                                                                 PLAINFIELD        IL   60544‐7480
PAGANONI, MARY A               13421 TALL PINES LN                                                                                 PLAINFIELD        IL   60544‐7480
PAGE                           1225 NORTH LOOP WEST STE 105                                                                        HOUSTON           TX   77008
PAGE & JONES INC               52 N JACKSON ST                                                                                     MOBILE            AL   36602‐2810
PAGE BILLY W                   C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                               LITTLE ROCK       AR   72201
PAGE BOYD EDMUND (ESTATE OF)   MAZUR & KITTEL PLLC               1490 FIRST NATIONAL BUILDING                                      DETROIT           MI   48226
(662544)
PAGE BROUSSEAU I I I           1381 MARTHA AVE                                                                                     BURTON            MI   48509‐2140
PAGE CHARLES (499366)          LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                           MIAMI             FL   33143‐5163
PAGE CHEVROLET INC             PO BOX 488                        500 W 4TH ST                                                      RED BAY           AL   35582‐0488
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PAGE ETC INC                   2758 TROMBLEY RD                                                                                    WEEDSPORT         NY   13166
PAGE FREDERICK C (429576)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
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PAGE GERALEE                   4921 49TH AVE                                                                                       HYATTSVILLE       MD 20781‐2326
PAGE GORDON A (483555)         EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR ,                                   NEW HAVEN         CT 06510
                                                                 265 CHURCH STREET
PAGE GROUP INC                 5725 VENTURE PARK DR STE B                                                                          KALAMAZOO         MI   49009‐2816
PAGE HENRY EDWARD              C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                               LITTLE ROCK       AR   72201
PAGE II, CHARLES L             5257 FARM RD                                                                                        WATERFORD         MI   48327‐2421
PAGE JR, AUSTIN E              875 COUNTY ROAD 4360                                                                                SCROGGINS         TX   75480‐2121
PAGE JR, CHESTER A             7603 VIRGINIA AVE                                                                                   PARMA             OH   44129‐2545
PAGE JR, CLAUDE S              1002 MEADOWSWEET DRIVE                                                                              CLAYTON           OH   45315‐5315
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PAGE JR, LEONARD E             2175 E SAINT JOE HWY                                                                                GRAND LEDGE       MI   48837‐9773
PAGE JR, OWEN S                1630 INDIANA AVE                                                                                    FLINT             MI   48506
PAGE JR., NEHEMIAH             148 BERT LN                                                                                         INKSTER           MI   48141‐1018
PAGE LEE PORTER                4 FERNWOOD PT SOUTH                                                                                 SUNAPEE           NH   03782
PAGE LITHO/DETROIT             6445 E VERNOR HWY                                                                                   DETROIT           MI   48207‐3438
PAGE MANNINO PERESICH          759 HOWARD AVE                                                                                      BILOXI            MS   39530‐4305
PAGE MCNAGHTEN ASSOC           SUITE 200 ADD CHG 3/11MH                                                                            FAIRWAY           KS   66205
PAGE MCNAGHTEN ASSOCIATES      4330 SHAWNEE MISSION PKWY # 375                                                                     FAIRWAY           KS   66205‐2507
PAGE MCNAGHTEN ASSOCIATES      4350 SHAWNEE MISSION PKY STE 2                                                                      FAIRWAY           KS   66205
PAGE ONE AUTOMOTIVE            211 S HILL DR STE D                                                                                 BRISBANE          CA   94005‐1263
PAGE OREN W JR (429577)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
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PAGE REYNOLDS JR               9419 DAWN DR                                                                                        BALTIMORE         MD 21236‐1513
PAGE RONALD                    812 N TAYLOR AVE                                                                                    OAK PARK          IL 60302‐1456
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PAGE TRAPP                          4022 MORRIS ST                                                                                    SAGINAW               MI 48601‐4238
PAGE TROY JR                        C/O MCKENNA & CHIODO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH            PA 15219
                                                                    SUITE 500
PAGE TROY JR (507043) ‐ PAGE TROY   (NO OPPOSING COUNSEL)
PAGE WHITE AND FARRER               54 DOUGHTY ST                   WC1N 2LS LONDON                            UNITED KINGDOM GREAT
                                                                                                               BRITAIN
PAGE WOLFBERG & WIRTH LLC           5010 E TRINDLE RD STE 202                                                                         MECHANICSBURG        PA   17050‐3631
PAGE'S AUTOMOTIVE                   1 CONTI DR                                                                                        SOUTH HADLEY         MA   01075‐3206
PAGE, ADELLA M                      3112 15TH AVE                                                                                     SOUTH MILWAUKEE      WI   53172
PAGE, AGNES C                       125 WALLEYE CT                                                                                    LAGRANGE             OH   44050‐9649
PAGE, ALBERTA                       1518 EDENBERRY COURT                                                                              DEFIANCE             OH   43512
PAGE, ALBERTA                       15761 ST MARYS                                                                                    DETROIT              MI   48227‐1929
PAGE, ALBERTA                       15761 SAINT MARYS ST                                                                              DETROIT              MI   48227‐1929
PAGE, ALDEN M                       41980 N COYOTE RD                                                                                 QUEEN CREEK          AZ   85240‐9851
PAGE, ALICE                         3265 PREBLE                     CO LINE RD. N.                                                    WEST ALEXANDRIA      OH   45381
PAGE, ALTA K                        200 CANNONBALL #16                                                                                HOLT                 MO   64048
PAGE, ALTON R                       PO BOX 564                                                                                        DEARBORN             MI   48121‐0564
PAGE, ANGELA C                      2528 CEDAR KEY DR                                                                                 LAKE ORION           MI   48360‐1824
PAGE, ANITA L                       9405 SOUTH GREEN ST                                                                               CHICAGO              IL   60620‐2715
PAGE, ANITA L                       9405 S GREEN ST                                                                                   CHICAGO              IL   60620‐2715
PAGE, ANN M                         10163 SHARP RD                                                                                    SWARTZ CREEK         MI   48473‐9155
PAGE, ANNICE                        34 W 37TH ST                                                                                      WILMINGTON           DE   19802‐2202
PAGE, BERNICE L                     3956 HOWE RD                                                                                      WAYNE                MI   48184‐1865
PAGE, BETTY L                       4105 GREENFIELD DRIVE                                                                             ANDERSON             IN   46013‐5032
PAGE, BETTY R                       5001 W FLORIDA AVE SPC 351                                                                        HEMET                CA   92545‐3843
PAGE, BETTY R                       #351 5001 WEST FLORIDIA AVE.                                                                      HEMET                CA   92545‐2545
PAGE, BETTY R                       4924 NE 37TH ST                                                                                   KANSAS CITY          MO   64117‐2723
PAGE, BEVERLY A                     1081 VAUGHN RD                                                                                    LESLIE               MI   49251‐9510
PAGE, BILLY E                       920 N WAVERLY RD                                                                                  LANSING              MI   48917‐2274
PAGE, BILLY W                       MOODY EDWARD O                  801 W 4TH ST                                                      LITTLE ROCK          AR   72201‐2107
PAGE, BOYD EDMUND                   MAZUR & KITTEL PLLC             1490 FIRST NATIONAL BUILDING                                      DETROIT              MI   48226
PAGE, BRANNDON O                    1310 ABERDEEN AVE                                                                                 YOUNGSTOWN           OH   44502
PAGE, BRIAN P                       677 S BRIARVALE DR                                                                                AUBURN HILLS         MI   48326
PAGE, BRYAN L                       PO BOX 127                                                                                        TRAFALGAR            IN   46181‐0127
PAGE, BURNESTINE J                  219 MAYSON AVE NE                                                                                 ATLANTA              GA   30307‐2812
PAGE, CARLOS L                      3336 MAYWOOD DR                                                                                   FLINT                MI   48504‐1813
PAGE, CAROL A                       PO BOX 520                                                                                        CUMBERLAND CENTER    ME   04021
PAGE, CAROL J                       1901 W 16TH AVE                                                                                   SAULT SAINTE MARIE   MI   49783‐1396
PAGE, CAROLYN                       5350 CHURCHMAN AVE APT 331                                                                        INDIANAPOLIS         IN   46203‐6099
PAGE, CAROLYN                       5350 CHURCHMAN AVE              APT # 331                                                         INDIANAPOLIS         IN   46203
PAGE, CAROLYN C                     268 STERLING RD                                                                                   HENDERSONVILLE       TN   37075
PAGE, CECIL L                       1229 WOODBOURNE ST                                                                                WESTLAND             MI   48186‐5329
PAGE, CECILIA A                     12005 SMALLEY AVE                                                                                 GRANDVIEW            MO   64030
PAGE, CHARLES                       22730 CIVIC CENTER DR APT A5                                                                      SOUTHFIELD           MI   48033‐7147
PAGE, CHARLES                       601 CHANDLER DR                                                                                   TROTWOOD             OH   45426‐2507
PAGE, CHARLES                       C/O THE LIPMAN LAW FIRM         5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES         FL   33146
PAGE, CHARLES                       601 CHANDER DR                                                                                    TROTWOOD             OH   45426‐2507
PAGE, CHARLES                       LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                           MIAMI                FL   33143‐5163
PAGE, CHARLES E                     6589 WINDJAMMER DR                                                                                BROWNSBURG           IN   46112‐8305
PAGE, CHARLES E                     7715 S MAY ST                                                                                     CHICAGO              IL   60620‐2938
PAGE, CHERYL M                      8353 OHIO ST                                                                                      DETROIT              MI   48204‐5502
PAGE, CHERYL MARIA                  8353 OHIO ST                                                                                      DETROIT              MI   48204‐5502
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PAGE, CHRISTINE A   6162 PEBBLE BEACH DR                                                                        SHREVEPORT          LA 71129
PAGE, CLARENCE J    6258 ELRO ST                                                                                BURTON              MI 48509‐2446
PAGE, CLAUDE S      2576 MIDDLE URBANA RD.                                                                      SPRINGFIELD         OH 45502‐8215
PAGE, CLAUDETTE     ROUTE 2 BOX 2516                                                                            TOWNSEND            GA 31331‐9694
PAGE, CLAUDETTE     1263 DOODLE HILL RD NE                                                                      TOWNSEND            GA 31331‐7509
PAGE, CLIFFORD A    1307 COASTAL MARSH RD                                                                       MOUNT PLEASANT      SC 29464‐7919
PAGE, CLIFFORD W    923 THAYER RD                                                                               ORTONVILLE          MI 48462
PAGE, CYNTHIA E     9110 ANN MARIA BLVD                                                                         GRAND BLANC         MI 48439‐8015
PAGE, DALE E        11431 MAPLE RD                                                                              BIRCH RUN           MI 48415‐8455
PAGE, DANA B        322 MERRIMACK BLVD APT A                                                                    MONCKS CORNER       SC 29461‐3432
PAGE, DANA C        1104 VAUGHN RD                                                                              LESLIE              MI 49251‐9510
PAGE, DARRELL M     PO BOX 262                                                                                  SAN BERNARDINO      CA 92402‐0262
PAGE, DAVE          8658 COLUMBIA ST                                                                            DEARBORN HEIGHTS    MI 48127‐1059
PAGE, DAVID R       1072 JULIE DR                                                                               DAVISON             MI 48423‐2829
PAGE, DEAUNDRAY R   31093 LAKEVIEW BLVD             APT 4114                                                    WIXOM               MI 48393‐2855
PAGE, DEAUNDRAY R   31093 LAKEVIEW BLVD APT 4114                                                                WIXOM               MI 48393‐2855
PAGE, DEBORAH K     9617 LAWNDALE AVENUE                                                                        KANSAS CITY         MO 64137‐1276
PAGE, DEBORAH K     471 MAPLE LN                                                                                OAKLAND             MI 48363‐1331
PAGE, DEMARCO       3149 OLD FARM RD                                                                            FLINT               MI 48507‐1250
PAGE, DENNIS A      14082 WEIR RD                                                                               CLIO                MI 48420‐8822
PAGE, DENNIS B      30470 LINCOLNSHIRE E                                                                        BEVERLY HILLS       MI 48025‐4750
PAGE, DENNIS M      416 EAGLE ST                                                                                MEDINA              NY 14103‐1117
PAGE, DESMON        1325 27TH ST SE LOT 211                                                                     MINOT               ND 58701‐5210
PAGE, DINA Y        5003 LENOX OVAL DRIVE                                                                       PITTSBURGH          PA 15237
PAGE, DON S         1111 S CLINTON ST                                                                           CHARLOTTE           MI 48813‐2121
PAGE, DONALD B      12698 KINGSGATE WAY                                                                         GRAND LEDGE         MI 48837‐8918
PAGE, DONALD C      2045 PLATTIN RD                                                                             FESTUS              MO 63028‐3965
PAGE, DONALD J      267 QUEENSWAY DR                                                                            AVON                IN 46123‐9660
PAGE, DONALD P      27599 LAHSER RD APT 125                                                                     SOUTHFIELD          MI 48034‐6262
PAGE, DONYA LEE     310 PARSHALL ST                                                                             OAKLEY              MI 48649‐2522
PAGE, DOREEN M      3 RUTHERGLEN DR SEAFIELD AVE    HU9 3PF                              HULL YORKSHIRE GREAT
                                                                                         BRITAIN
PAGE, DOUGLAS R     133 PINKSTON CT                                                                             WINDER             GA   30680‐4173
PAGE, DURITHA       14031 FAUST AVE                                                                             DETROIT            MI   48223‐3539
PAGE, EARL F        3141 PEACHTREE ST                                                                           JANESVILLE         WI   53548‐3279
PAGE, EARLINE       1050 E GRAND BLVD                                                                           FLINT              MI   48505‐1506
PAGE, EDDA D        961 GOLD BEAR DR                                                                            HENDERSON          NV   89052‐3869
PAGE, EDDIE L       PO BOX 3531                                                                                 HIGHLAND PARK      MI   48203‐0531
PAGE, EDDIE LEE     PO BOX 3531                                                                                 HIGHLAND PARK      MI   48203‐0531
PAGE, EDDIE N       365 S MARSHALL ST                                                                           PONTIAC            MI   48342‐3434
PAGE, EDWARD L      313 OLD BABCOCK TRL                                                                         GIBSONIA           PA   15044‐7411
PAGE, EDWARD N      1039 WHALEN ROAD                                                                            PENFIELD           NY   14526‐1225
PAGE, EDWYNN        4785 STURTEVANT ST                                                                          DETROIT            MI   48204‐1463
PAGE, ELAINE        1111 S CLINTON ST                                                                           CHARLOTTE          MI   48813‐2121
PAGE, ELAINE        1111 SOUTH CLINTON ST                                                                       CHARLOTTE          MI   48813
PAGE, ELCANIE       25947 FORBES RD                                                                             OAKWOOD VLG        OH   44146‐5603
PAGE, ELISHA B      PO BOX 56                                                                                   VERMONTVILLE       MI   49096‐0056
PAGE, ELISHA B      11953 SCIPIO HWY‐PO BX 56                                                                   VERMONTVILLE       MI   49096‐0056
PAGE, EMERY J       6502 LEESVILLE RD                                                                           CRESTLINE          OH   44827‐9418
PAGE, ERNEST M      4044 CALDERWOOD DR                                                                          SHREVEPORT         LA   71119‐7621
PAGE, EUGENE A      27117 ELIAS AVE                                                                             SANTA CLARITA      CA   91350‐2132
PAGE, EUGENE V      8122 S BENNETT AVE                                                                          CHICAGO            IL   60617‐1021
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PAGE, EVAN C        1802 N COUNTY ROAD 50 E                                                                        DANVILLE         IN 46122‐9578
PAGE, EVELYN        30 BEECHWOOD LN                                                                                BRISTOL          CT 06010‐2501
PAGE, FLOREEN S     103 MOSHER DR                                                                                  ST HELEN         MI 48656‐9202
PAGE, FLORENCE V    5257 FARM RD                                                                                   WATERFORD        MI 48327‐2421
PAGE, FRANCES C     8980 HIGHWAY 495                                                                               MERIDIAN         MS 39305‐9206
PAGE, FRANKLIN      32931 GLENHURST                                                                                NEW HAVEN        MI 48048‐2925
PAGE, FREDERICK C   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                      STREET, SUITE 600
PAGE, GAIL E        45600 BIRCHCREST ST                                                                            UTICA           MI   48317‐6007
PAGE, GARY B        349 E ORVIS ST                                                                                 MASSENA         NY   13662‐3200
PAGE, GARY BRUCE    349 EAST ORVIS STREET                                                                          MASSENA         NY   13662‐3200
PAGE, GARY L        1093 NW 1651ST RD                                                                              CREIGHTON       MO   64739
PAGE, GARY S        419 LESLIE LN                                                                                  EXCLSOR SPRGS   MO   64024‐1697
PAGE, GEORGE H      17350 REVERE ST                                                                                SOUTHFIELD      MI   48076‐1247
PAGE, GEORGE L      122 CREEKVIEW DR                                                                               CALHOUN         GA   30701‐2514
PAGE, GEORGE W      153 NORTHEAST 300 STREET                                                                       CROSS CITY      FL   32628‐3406
PAGE, GEORGE W      105 HOLLY LN                                                                                   ROSCOMMON       MI   48653‐8116
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PAGE, GERALD        1237 BLACK OAK DR                                                                              CENTERVILLE     OH   45459‐5408
PAGE, GERALDINE J   3625 PLEASANT GROVE RD                                                                         LANSING         MI   48910‐4231
PAGE, GERALDINE V   58792 GALLERY CT                                                                               WASHINGTON      MI   48094
PAGE, GLORIA A      1336 ARTHUR DR NW                                                                              WARREN          OH   44485‐4485
PAGE, GLORIA A      934 LANDSDOWNE AVE NW                                                                          WARREN          OH   44485‐2228
PAGE, GORDON A      EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR,                               NEW HAVEN       CT   06508‐1866
                                                      265 CHURCH STREET
PAGE, GREGORY       PO BOX 141                                                                                     FARMERVILLE     LA   71241‐0141
PAGE, GREGORY O.    PO BOX 141                                                                                     FARMERVILLE     LA   71241‐0141
PAGE, HARRY D       1029 W 1 MILE RD                                                                               BALDWIN         MI   49304‐8528
PAGE, HARVEY L      1348 N LOREL AVE                                                                               CHICAGO         IL   60651‐1366
PAGE, HAZEL D       1120 SW ISAAC LN                                                                               MOUNTAIN HOME   ID   83647
PAGE, HAZEL D       7415 OVERLAND PARK BLVD W                                                                      JACKSONVILLE    FL   32244
PAGE, HORTENSE      P. O. BOX 430518                                                                               PONTIAC         MI   48343
PAGE, ILEAN         1188 DUDLEY AVE                                                                                PONTIAC         MI   48342‐1929
PAGE, IRENE         415 WARREN ST                                                                                  FLINT           MI   48505‐4307
PAGE, IVAN R        159 MCMILLAN ST                                                                                GRAND LEDGE     MI   48837‐1121
PAGE, JACK E        720 W HENRY ST                                                                                 CHARLOTTE       MI   48813‐1710
PAGE, JAMES E       3925 W SOUTHPORT RD                                                                            INDIANAPOLIS    IN   46217‐9319
PAGE, JAMES H       10631 N 24TH ST                                                                                PLAINWELL       MI   49080‐8903
PAGE, JANET E       262 HURONDALE DR                                                                               WHITE LAKE      MI   48386‐2528
PAGE, JEFFREY R     852 CHADS WAY                                                                                  CHARLOTTE       MI   48813‐8757
PAGE, JEFFREY W     2105 N LYNHURST DR                                                                             SPEEDWAY        IN   46224‐5004
PAGE, JESSE L       101 BARTHEL ST APT #2                                                                          BUFFALO         NY   14211
PAGE, JIMMIE D      515 E GREEN ST                                                                                 CLINTON         MO   64735‐1641
PAGE, JOANN         311 DICK AVE                                                                                   PONTIAC         MI   48341‐1805
PAGE, JOHN A        6 KRISTIAN DR                                                                                  SICKLERVILLE    NJ   08081‐4947
PAGE, JOHN B        1927 W 75TH PL                                                                                 INDIANAPOLIS    IN   46260‐3117
PAGE, JOHN H        756 GOLF RD                                                                                    LEXINGTON       MO   64067‐8296
PAGE, JOHN R        15828 CARBREY AVE                                                                              SOUTH BELOIT    IL   61080‐1845
PAGE, JOHN R        6913 RAMSEY RD                                                                                 MIDDLETON       WI   53562‐5121
PAGE, JOLENE        PORTER & MALOUF PA                4670 MCWILLIE DR                                             JACKSON         MS   39206‐5621
PAGE, JOSEPH C      64639 E CATALINA VIEW DR                                                                       TUCSON          AZ   85739‐1253
PAGE, JOSEPH J      2038 PORT AVE                                                                                  ANN ARBOR       MI   48108‐5921
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PAGE, JOSEPH JAMES    2038 PORT AVE                                                                             ANN ARBOR           MI 48108‐5921
PAGE, JOYCE R         16554 MENDOTA ST                                                                          DETROIT             MI 48221‐2820
PAGE, JR, TROY        THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES        FL 33146
PAGE, JULIA           PO BOX 983                                                                                NEWPORT             NC 28570‐0983
PAGE, JUSTIN D        300 PERRY MARTIN ROAD                                                                     WOODBURN            KY 42170‐9720
PAGE, KAREN K         C/O MYERS 2416 OAK LEIGH DR                                                               CHARLOTTE           NC 28262
PAGE, KARL F          27 SPRUCEWOOD DR                                                                          CHEEKTOWAGA         NY 14227‐3223
PAGE, KATHLEEN H      4065 MINNETONKA                                                                           LINDEN              MI 48451‐9470
PAGE, KENNETH R       416 WOODLAWN ST                                                                           SPOONER             WI 54801‐9769
PAGE, KEVIN C         102 COUNTRY CLUB LN                                                                       CANTON              MI 48188‐3036
PAGE, KEVIN D         PO BOX 1414                                                                               GALLATIN            TN 37066‐1414
PAGE, KRISTOPHER A.   412 S 4TH ST APT 7                                                                        GADSDEN             AL 35901‐5263
PAGE, LARRY D         401 OSAGE ST                                                                              HARRISONVILLE       MO 64701‐2915
PAGE, LARRY G         607 W HAIGHT ST                                                                           LUDINGTON           MI 49431‐1627
PAGE, LAWRENCE A      7201 HARDING DR                                                                           FAIRVIEW            TN 37062‐9062
PAGE, LEAH            PO BOX 320201                                                                             FLINT               MI 48532‐0004
PAGE, LEONARD B       6199 HIGHWAY 119                                                                          SALEM               MO 65560
PAGE, LINDA           184 BOYLES ROAD                                                                           HALEYVILLE          AL 35565‐7316
PAGE, LINDA L         1570 W POND DR APT 11                                                                     OKEMOS              MI 48864‐2366
PAGE, LOREN A         305 E 5TH ST                                                                              HOLDEN              MO 64040‐1514
PAGE, LORETTA         6502 LEESVILLE ROAD                                                                       CRESTLINE           OH 44827‐9418
PAGE, LOUIS T         165 PUTNAM AVE                                                                            PONTIAC             MI 48342‐1268
PAGE, LOYD DALE       BOONE ALEXANDRA                 205 LINDA DR                                              DAINGERFIELD        TX 75638‐2107
PAGE, LULA            2083 MAUE RD                                                                              MIAMISBURG          OH 45342‐3981
PAGE, LUTHER J        6162 PEBBLE BEACH DR                                                                      SHREVEPORT          LA 71129‐4128
PAGE, LYLE L          2349 DIXIE HWY                                                                            BEDFORD             IN 47421‐8228
PAGE, LYLE LEWIS      2349 DIXIE HWY                                                                            BEDFORD             IN 47421‐8228
PAGE, MARGARET I      1630 INDIANA AVE                                                                          FLINT               MI 48506
PAGE, MARGIE          3877 SPARTAN DR.                                                                          FORT GRATIOT        MI 48059‐3310
PAGE, MARIAN J        1635 BOYNTON DR                                                                           LANSING             MI 48917‐1758
PAGE, MARIE A         11200 DIAMOND DRIVE                                                                       STERLING HEIGHTS    MI 48314‐2613
PAGE, MARK G          3358 HAMMERBERG RD                                                                        FLINT               MI 48507‐3256
PAGE, MARK GYON       3358 HAMMERBERG RD                                                                        FLINT               MI 48507‐3256
PAGE, MARTHA A        PO BOX 1312                                                                               LEES SUMMIT         MO 64063‐8312
PAGE, MARY A          1916 SAIL FISH DR                                                                         MANSFIELD           TX 76063‐5992
PAGE, MARY AGNES      1916 SAIL FISH DR                                                                         MANSFIELD           TX 76063‐5992
PAGE, MARY E          1208 EDWARD ST                                                                            LANSING             MI 48910‐1225
PAGE, MARY F          6713 CASTLE CREEK DR                                                                      FORT WORTH          TX 76132‐3709
PAGE, MATTIE I        9557 WOODLAND COURT                                                                       BROWNSBURG          IN 46112
PAGE, MERLIN F        BOONE ALEXANDRA                 205 LINDA DR                                              DAINGERFIELD        TX 75638‐2107
PAGE, MICHAEL D       6655 FENWAY ST                                                                            PITTSBORO           IN 46167‐9044
PAGE, MICHAEL S       6527 KINGS POINTE RD                                                                      GRAND BLANC         MI 48439‐8606
PAGE, MONROE G        PO BOX 79                                                                                 SEVERNA PARK        MD 21146‐0079
PAGE, NANCY G         39687 CHART ST                                                                            HARRISON TWP        MI 48045‐1729
PAGE, NANCY R         321 BARRINGTON CIRCLE                                                                     ALEXANDRIA          AL 36250‐7216
PAGE, NINA            7896 SURREY DRIVE                                                                         ROMULUS             MI 48174‐6332
PAGE, NORA H          2171 SOLDIERS HOME ROAD                                                                   DAYTON              OH 45418
PAGE, ORA D           3215 NORMA CT                                                                             FORT WAYNE          IN 46806‐2625
PAGE, ORA DEAN        3215 NORMA CT                                                                             FORT WAYNE          IN 46806‐2625
PAGE, OREN W          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                      STREET, SUITE 600
PAGE, OSCAR           8965 MIAMISBURG SPRINGBORO RD                                                             MIAMISBURG         OH 45342‐3225
                      09-50026-mg            Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                  Address1                       Address2               Address3      Address4         City             State Zip
PAGE, OWILDA          1069 E WARREN ST                                                                     MARTINSVILLE      IN 46151‐2653
PAGE, OWILDA F        1069 E WARREN ST                                                                     MARTINSVILLE      IN 46151‐2653
PAGE, OZIE            WEITZ & LUXENBERG              180 MAIDEN LANE                                       NEW YORK          NY 10038
PAGE, PATRICIA L      852 CHADS WAY                                                                        CHARLOTTE         MI 48813‐8757
PAGE, PETER JACK      WISE & JULIAN                  156 N MAIN ST STOP 1                                  EDWARDSVILLE       IL 62025‐1972
PAGE, QUINCI E        2623 WYOMING ST                                                                      SAINT LOUIS       MO 63118‐2401
PAGE, RANDALL G       15252 RIVER HEIGHTS RD                                                               CONSTANTINE       MI 49042‐9692
PAGE, RANDALL M       9331 E ATHERTON RD                                                                   DAVISON           MI 48423‐8764
PAGE, RANDALL MARK    9331 E ATHERTON RD                                                                   DAVISON           MI 48423‐8764
PAGE, RANDY W         3542 PERCY KING RD                                                                   WATERFORD         MI 48329‐1357
PAGE, RAYMOND P       1415 ESTEY RD                                                                        BEAVERTON         MI 48612‐8855
PAGE, REBA L          45588 ELMWOOD CIR BLDG 9                                                             CANTON            MI 48188
PAGE, REBECCA M       2299 EASTWOOD DR                                                                     SNELLVILLE        GA 30078‐2670
PAGE, RICHARD A       1940 FULHAM STREET             VILLA 110                                             ROSEVILLE         MN 55113
PAGE, RICHARD D       563 E LOULA ST                                                                       OLATHE            KS 66061‐5401
PAGE, RICKY S         184 WESTWAY ST                                                                       PONTIAC           MI 48342‐2568
PAGE, ROBERT          12054 FAUST AVE                                                                      DETROIT           MI 48228‐1144
PAGE, ROBERT          11682 TERRY ST                                                                       DETROIT           MI 48227‐2446
PAGE, ROBERT          3215 NORMA CT                                                                        FORT WAYNE        IN 46806‐2625
PAGE, ROBERT C        11293 NW 11TH CT                                                                     CORAL SPRINGS     FL 33071‐6311
PAGE, ROBERT D        7747 KRISDALE DR                                                                     SAGINAW           MI 48609‐4250
PAGE, ROBERT D        1066 TERRY AVENUE                                                                    MOUNT MORRIS      MI 48458‐2568
PAGE, ROBERT DWIGHT   1066 TERRY AVENUE                                                                    MOUNT MORRIS      MI 48458‐2568
PAGE, ROBERT E        PO BOX 4373                                                                          LAUREL            MS 39441‐4373
PAGE, ROBERT E        4371 WAVERLY DR                                                                      WATERFORD         MI 48329‐3665
PAGE, ROBERT K        4637 BROOKMEADOW DR SE                                                               KENTWOOD          MI 49512‐5429
PAGE, ROBERT L        2183 MILLER GRABER RD                                                                NEWTON FALLS      OH 44444‐9745
PAGE, ROBERT L        7001 COACHMAN LN APT 204                                                             RICHMOND          VA 23228‐4046
PAGE, ROBERT L        1081 VAUGHN RD                                                                       LESLIE            MI 49251‐9510
PAGE, ROBERT L        1923 PEARL ST                                                                        SANDUSKY          OH 44870‐4543
PAGE, ROBERT L        3158 FOSS DR                                                                         SAGINAW           MI 48603‐1714
PAGE, ROBERT L        172 CHARIOT DR                                                                       ANDERSON          IN 46013
PAGE, ROBERT P        4009 93RD AVE N                                                                      BROOKLYN PARK     MN 55443‐1732
PAGE, ROBERT S        1924 FERROL ST                                                                       LANSING           MI 48910‐4312
PAGE, ROMAINE         277 W 127TH ST APT 8H                                                                NEW YORK          NY 10027‐2947
PAGE, RONALD          1146 HEATHERWOODE RD                                                                 FLINT             MI 48532‐2336
PAGE, RONALD A        580 DELLWOOD DR                                                                      ANN ARBOR         MI 48103‐2811
PAGE, RONALD D        617 S. MAPLE AVE. BOX 241                                                            MAPLE RAPIDS      MI 48853
PAGE, RONALD D        2363 SNYDER RD                                                                       BUTLER            OH 44822‐9688
PAGE, RONALD L        812 N TAYLOR AVE                                                                     OAK PARK           IL 60302‐1456
PAGE, RONALD L        1052 HILLVIEW DR                                                                     HENDERSONVILLE    TN 37075‐8526
PAGE, ROSA F          4834 ANSON STREET                                                                    LANSING           MI 48911‐2804
PAGE, ROSLYN D        5548 BLUE TICK DR                                                                    ORLANDO           FL 32810‐3201
PAGE, ROY D           2105 MARY AVE                                                                        LANSING           MI 48910‐6232
PAGE, RUTH V          10670 MAPLE RIDGE RD                                                                 MEDINA            NY 14103‐9599
PAGE, SAMUEL          4156 19TH ST                                                                         ECORSE            MI 48229
PAGE, SANDRA J        448 FRANCISCA AVE                                                                    YOUNGSTOWN        OH 44504
PAGE, SHAWN L         9357 WOODLAWN ST F‐1                                                                 DETROIT           MI 48213
PAGE, SHERI T         929 S 12TH ST                                                                        GADSDEN           AL 35901‐3808
PAGE, SHERYL M        2038 PORT AVE                                                                        ANN ARBOR         MI 48108‐5921
PAGE, SHIRLEY P       2403 VIA MARIPOSA W UNIT 1G                                                          LAGUNA HILLS      CA 92637‐2004
PAGE, SHIRLEY S       1018 SOUTHLAWN                                                                       FLINT             MI 48507‐2827
                         09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                     Address1                         Address2                        Address3   Address4         City               State Zip
PAGE, SIENI              4102 E TAMAYA ST                                                                             PHOENIX             AZ 85044‐1513
PAGE, STELLA R           9280 PICKENS STREET                                                                          SPRINGHILL          FL 34608‐6348
PAGE, STERLING S         14110 NORTHEND AVE                                                                           OAK PARK            MI 48237‐2667
PAGE, STUART T           1804 CHELSEA CIR                                                                             PLEASANT HILL       MO 64080‐1173
PAGE, SUSIE A            137 GREELEY LN                                                                               YOUNGSTOWN          OH 44505‐4821
PAGE, SUSIE A            137 GREELEY LANE                                                                             YOUNGSTOWN          OH 44505‐4505
PAGE, SUZANNE M          145 W YPSILANTI AVE                                                                          PONTIAC             MI 48340‐1874
PAGE, SYLVESTER          245 NORTH ST APT 302                                                                         BUFFALO             NY 14201‐1440
PAGE, SYLVESTER R        1226 OAKWOOD DR                                                                              BOWLING GREEN       KY 42101‐1967
PAGE, TAMARA W           114 WIGGINS RD                                                                               BRUNSWICK           GA 31523‐6047
PAGE, TAMERA M           1338 PAYTON AVE                                                                              INDIANAPOLIS        IN 46219‐3838
PAGE, TANITA             2910 BUFORD DR APT 1009                                                                      BUFORD              GA 30519‐6530
PAGE, THEODORE M         16133 CRYSTAL DOWNS E                                                                        NORTHVILLE          MI 48168‐9637
PAGE, THEOPHILUS         10022 GRANDVILLE AVE                                                                         DETROIT             MI 48228‐1382
PAGE, THOMAS             2171 SOLDERS HOME W. CAR. RD                                                                 DAYTON              OH 45418‐2338
PAGE, THOMAS             2171 SOLDIERS HOME WEST CAR RD                                                               DAYTON              OH 45418‐2338
PAGE, THOMAS A           17675 OLD LOGGING RD                                                                         HERSEY              MI 49639‐8632
PAGE, THOMAS C           4447 LACLAIR RD                                                                              STANDISH            MI 48658‐9747
PAGE, THOMAS E           2077 BROWNS MILL RD SE                                                                       ATLANTA             GA 30315‐6657
PAGE, THOMAS J           9517 STONEHAVEN DR                                                                           SHREVEPORT          LA 71118‐4512
PAGE, TOMMY E            206 S MANNING AVE                                                                            MUNCIE              IN 47303‐4650
PAGE, TOMMY J            102 N WALNUT ST                                                                              RIDGEVILLE          IN 47380‐1214
PAGE, TOSHIKO            8540 GOLD PEAK LN UNIT E                                                                     HIGHLANDS RANCH     CO 80130‐7122
PAGE, TOSHIKO            8540 GOLD PEAK LANE              UNIT E                                                      HIGHLANDS RANCH     CO 80130
PAGE, TROY               MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH          PA 15219
                                                          SUITE 500
PAGE, TROY L             1511 1ST ST APT 314                                                                          DETROIT            MI   48226‐1353
PAGE, TWYLLA L           1440 WESTERRACE DR                                                                           FLINT              MI   48532‐2438
PAGE, VALERIE E          51 W TROTWOOD BLVD                                                                           TROTWOOD           OH   45426‐3351
PAGE, VELMA              172 CHARIOT DRIVE                                                                            ANDERSON           IN   46013‐1082
PAGE, VELMA              172 CHARIOT DR                                                                               ANDERSON           IN   46013‐1082
PAGE, VIRGINIA           PO BOX 586                       10 ARROWHEAD LN                                             SHELL KNOB         MO   65747‐0586
PAGE, W J                4012 KINGS LN                                                                                BURTON             MI   48529‐1194
PAGE, WANDA J            601 CHANDLER DR                                                                              TROTWOOD           OH   45426‐2507
PAGE, WAYNE L            510 FREDS CT                                                                                 KENDALLVILLE       IN   46755‐2876
PAGE, WAYNE L            510 FREDS COURT                                                                              KENDALLVILLE       IN   46755‐2876
PAGE, WILFRED            765 WINONA DR                                                                                YOUNGSTOWN         OH   44511‐1401
PAGE, WILLIAM            37 TOMAHAWK DR                                                                               WHITE PLAINS       NY   10603‐2828
PAGE, WILLIAM D          1630 MUCKLE BRANCH RD                                                                        ETHRIDGE           TN   38456‐7011
PAGE, WILLIE H           11345 ARTESIAN ST                                                                            DETROIT            MI   48228‐1366
PAGE, WILLIE L           213 BONDALE AVE                                                                              PONTIAC            MI   48341‐2719
PAGE, WILLIE R           2432 VALLEYLANE DR.                                                                          GRAND BLANC        MI   48439
PAGE‐COM/DALLAS          11545 PAGEMILL RD                                                                            DALLAS             TX   75243‐5508
PAGE‐HOEKVELD, DAPHINE   32000 RIVERPOINT ST                                                                          CHESTERFIELD       MI   48047‐2256
PAGEAU, GILLES           1484 DALZELL COURT                                                                           THE VILLAGES       FL   32162‐6006
PAGEAU, ROY D            4811 TULLAMORE DR                                                                            BLOOMFIELD HILLS   MI   48304‐3671
PAGEL, ALVIE A           2120 OAK PARK LN APT A                                                                       SANTA BARBARA      CA   93105‐4277
PAGEL, ALVIN L           202 NICKEL ST BOX 64                                                                         ALBANY             WI   53502
PAGEL, DOLLIVER W        6915 STILL WATER LN              APT 7                                                       INDIANAPOLIS       IN   46268‐2646
PAGEL, DOREEN E          5024 HARBOR OAK DR                                                                           WATERFORD          MI   48329‐1724
PAGEL, DOROTHY A         871 BAYOU DR                                                                                 GLADWIN            MI   48624‐9613
PAGEL, DOROTHY A         871 BAYOU ST                                                                                 GLADWIN            MI   48624‐9613
                            09-50026-mg           Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
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Name                        Address1                      Address2                      Address3             Address4             City               State Zip
PAGEL, DUANE A              2110 POINT O WOODS CT                                                                                 SPRING HILL         FL 34606‐3733
PAGEL, DUANE L              43 PAUL RENE DR                                                                                       W MELBOURNE         FL 32904‐1980
PAGEL, JANET E              1316 LAPHAM ST                                                                                        JANESVILLE          WI 53546‐5511
PAGEL, JERRY A              300 S MILL ST                                                                                         ALBANY              WI 53502‐9560
PAGEL, JUDITH A             7362 CREEKBROOK DR                                                                                    INDIANAPOLIS        IN 46227‐5390
PAGEL, LEE A                PO BOX 214                                                                                            NORTH PRAIRIE       WI 53153‐0214
PAGEL, LORETTA L            103 DIAMOND WAY                                                                                       CORTLAND            OH 44410‐1932
PAGEL, LYLE E               3579 CROOKED TREE DR                                                                                  MASON               OH 45040‐7970
PAGEL, OTTO C               224 ARIZONA DR                                                                                        BRICK               NJ 08723‐7157
PAGEL, PATRICIA A           4800 COLE RD                                                                                          SAGINAW             MI 48601‐9335
PAGEL, RONALD A             4279 CHAPPEL DRIVE                                                                                    GLADWIN             MI 48624‐9614
PAGEL, ROY E                1104 LAKE PARK DR                                                                                     GRAND BLANC         MI 48439‐8074
PAGEL, SANDRA L             APT 130                       2136 NE 13TH AVE                                                        GAINESVILLE         FL 32641‐1715
PAGEL, SHIRLEY T            3 TRISTAM PL                                                                                          PINE BROOK          NJ 07058‐9450
PAGEL, WILLIAM T            18785 SUMPTER RD                                                                                      BELLEVILLE          MI 48111‐9140
PAGELS JAMES                PAGELS, HANNAH                410 CALIFORNIA AVE                                                      RENO                NV 89509‐1520
PAGELS JAMES                PAGELS, JAMES                 PO BOX 1987                                                             RENO                NV 89505‐1987
PAGELS JAMES                PAGELS, LYNN                  PO BOX 1987                                                             RENO                NV 89505‐1987
PAGELS JAMES                PAGELS, LYNN                  410 CALIFORNIA AVE                                                      RENO                NV 89509‐1520
PAGELS JAMES                PAGELS, PHILLIP               410 CALIFORNIA AVE                                                      RENO                NV 89509‐1520
PAGELS JAMES                PAGELS, SAM                   410 CALIFORNIA AVE                                                      RENO                NV 89509‐1520
PAGELS JAMES                PAGELS, STEPHANIE             410 CALIFORNIA AVE                                                      RENO                NV 89509‐1520
PAGELS, EDITH C             10611 N STRAHORN RD                                                                                   HAYDEN              ID 83835‐9277
PAGELS, EDWARD J            10070 SPRINKLE RD                                                                                     VICKSBURG           MI 49097‐8454
PAGELS, ETHEL E             ABBEY PARK APT# 328           3221 EAST BALDWIN ROAD                                                  GRAND BLANC         MI 48439
PAGELS, GERALDINE           15819 BLUE SKIES DR                                                                                   NORTH FORT MYERS    FL 33917‐5472
PAGELS, GLORIA J            33 HOMEWOOD AVE                                                                                       CHEEKTOWAGA         NY 14227
PAGELS, HANNAH              WRIGHT RANDOLPH C             410 CALIFORNIA AVE                                                      RENO                NV 89509‐1520
PAGELS, JAMES               BRADLEY DRENDEL & JEANNEY     PO BOX 1987                                                             RENO                NV 89505‐1987
PAGELS, KATHLEEN A          44899 WEYMOUTH DR                                                                                     CANTON              MI 48188
PAGELS, LENORA B            501 SUSAN ST                                                                                          STURGIS             MI 49091‐1243
PAGELS, LYNN                BRADLEY DRENDEL & JEANNEY     PO BOX 1987                                                             RENO                NV 89505‐1987
PAGELS, LYNN                WRIGHT RANDOLPH C             410 CALIFORNIA AVE                                                      RENO                NV 89509‐1520
PAGELS, MICKALINE M         4241 E CATALINA AVE                                                                                   MESA                AZ 85206‐1916
PAGELS, OLIVE E             41150 FOX RUN ROAD            #521 WOOD BRIDGE                                                        NOVI                MI 48377
PAGELS, PHILLIP             WRIGHT RANDOLPH C             410 CALIFORNIA AVE                                                      RENO                NV 89509‐1520
PAGELS, ROBERT G            74 COVENTRY RD                                                                                        KENMORE             NY 14217‐1106
PAGELS, SAM                 WRIGHT RANDOLPH C             410 CALIFORNIA AVE                                                      RENO                NV 89509‐1520
PAGELS, SHARON L            11148 APPLEVIEW DR                                                                                    BROOKSTON           IN 47923‐8319
PAGELS, STEPHANIE           WRIGHT RANDOLPH C             410 CALIFORNIA AVE                                                      RENO                NV 89509‐1520
PAGEN MICHAEL JR (404135)   GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                             NORFOLK             VA 23510
                                                          STREET, SUITE 600
PAGEN, MICHAEL              GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
PAGENKOPF, LUVERNE M        5663 W BIRCHVIEW RD                                                                                   GRASSTON           MN   55030‐2107
PAGERESKI, RONALD           571 TOLEDO STREET                                                                                     DUNDEE             MI   48131‐1214
PAGES, CARLOS A             2535 S CALAVERAS PL                                                                                   ONTARIO            CA   91761‐6208
PAGETT, EDDIE L             614 S BROADWAY ST                                                                                     BLANCHESTER        OH   45107‐1416
PAGETT, LARRY P             1792 WILSHIRE DR                                                                                      XENIA              OH   45385‐1154
PAGGETT, DON E              BOONE ALEXANDRA               205 LINDA DR                                                            DAINGERFIELD       TX   75638‐2107
PAGLIA BENITO               LA SCALA                      STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO ITALY
                                        09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
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Name                                   Address1                           Address2                          Address3                     Address4                 City              State Zip
PAGLIA DANIEL (ESTATE OF) (498301)     ANGELOS PETER G                    100 N CHARLES STREET , ONE                                                              BALTIMORE          MD 21201
                                                                          CHARLES CENTER
PAGLIA LIBERATA                        38250835                           VIA BONCOMPAGNI 6 CAS POS                                      187 ROMA RM ITALY
PAGLIA MAURO                           38161402                           VIA COLLE PUPAZZO 45                                           3025 MONTE S GIOVANNI
                                                                                                                                         CAMPANO FR ITALY
PAGLIA MONIA                           38250362                           V DI ACQUA BULLICANTE 57                                       177 ROMA RM ITALY
PAGLIA RINALDINA                       38250834                           V DI ACQUA BULLICANTE 57                                       177 ROMA RM ITALY
PAGLIA VINCE T                         PAGLIA, KIMM R                     14724 VENTURA BLVD SUITE401                                                             SHERMAN OAKS      CA 91403
PAGLIA VINCE T                         PAGLIA, VINCE T                    14724 VENTURA BLVD SUITE401                                                             SHERMAN OAKS      CA 91403
PAGLIA VINCE T                         STATE FARM MUTUAL AUTOMOBILE       14724 VENTURA BLVD SUITE401                                                             SHERMAN OAKS      CA 91403
                                       INSURANCE COMPANY
PAGLIA, ANNE                           114 VALLEY RD                                                                                                              KATONAH           NY 10536‐1706
PAGLIA, DANIEL                         ANGELOS PETER G                    100 N CHARLES STREET, ONE                                                               BALTIMORE         MD 21201
                                                                          CHARLES CENTER
PAGLIA, DANIEL A                       1020 WOODHAVEN RD                                                                                                          HOWELL            MI   48855‐7303
PAGLIA, JOSEPH J                       614 RIVULETT CT                                                                                                            LAWRENCEVILLE     GA   30043‐8402
PAGLIA, JOSEPH R                       3836 W NORTH TERRITORIAL RD                                                                                                WHITMORE LAKE     MI   48189‐9685
PAGLIA, KIMM R                         PILLEMER & PILLEMER                14724 VENTURA BLVD STE 401                                                              SHERMAN OAKS      CA   91403‐3504
PAGLIA, MARY T                         180 PARADISE BLVD APT 19                                                                                                   INDIALANTIC       FL   32903‐2429
PAGLIA, SHIRLEY M                      9030 CAIN DR NE                                                                                                            WARREN            OH   44484‐1705
PAGLIA, THOMAS J                       9030 CAIN DR NE                                                                                                            WARREN            OH   44484‐1705
PAGLIA, VINCE
PAGLIA, VINCE                          NO ADDRESS IN FILE
PAGLIA, VINCE T AS SUBROGOR TO STATE   STATE FARM MUTUAL AUTO INS CO      C/O PILLEMER & PILLEMER           14724 VENTURA BLVD STE 401                            SHERMAN OAKS      CA 91403‐3504
FARM MUTUAL AUTOMOBILE INS. CO.

PAGLIALUNGA, JOSEPH                    112 SPROUSE FARM WAY                                                                                                       FOUNTAIN INN      SC   29644
PAGLIARINI FRANCESCO (ESTATE OF)       EARLY LUDWICK & SWEENEY L.L.C.     ONE CENTURY TOWER, 11TH FLOOR ,                                                         NEW HAVEN         CT   06510
(449860)                                                                  265 CHURCH STREET
PAGLIARINI, FRANCESCO                  EARLY LUDWICK & SWEENEY L.L.C.     ONE CENTURY TOWER, 11TH FLOOR,                                                          NEW HAVEN         CT   06508‐1866
                                                                          265 CHURCH STREET
PAGLIARINI, PETER L                    29710 SHACKETT AVE                                                                                                         MADISON HTS       MI 48071‐4476
PAGLIARO GIUSEPPA                      VIALE G B BOLDRINI 114                                                                            44100 FERRARA ITALY
PAGLIARO GIUSEPPA                      VIALE G.B. BOLDRINI 114                                                                           44100 FERRARA FE ITALY
PAGLIARO, ANN J                        39 BOWIE DR                                                                                                                WHITING           NJ   08759‐1933
PAGLIARO, GIUSEPPE                     39 WINTER HAZEL CT                                                                                                         ROCHESTER         NY   14606‐4944
PAGLIARO, LUIGI                        1721 ELMWOOD CIR                                                                                                           FARMINGTON        NY   14425‐9731
PAGLIARULO, ANN                        27 VINCENT RD                                                                                                              BRISTOL           CT   06010‐3828
PAGLIARULO, JOHN P                     8604 28TH AVE E                                                                                                            PALMETTO          FL   34221‐8646
PAGLIEI, ANTHONY                       25 BRIGHT ST                                                                                                               LOCKPORT          NY   14094‐4125
PAGLINO, FLORINDA                      3434 GLOUCESTER DR                                                                                                         STERLING HTS      MI   48310‐2967
PAGLINO, VINCENT P                     3434 GLOUCESTER DR                                                                                                         STERLING HTS      MI   48310‐2967
PAGLIOCCA STACY                        162 GAINSBOROUGH RD                                                                                                        HOLBROOK          NY   11741‐2809
PAGLIONE SAMANTHA                      PAGLIONE, SAMANTHA                 614 SUPERIOR AVENUE NW 1350                                                             CLEVELAND         OH   44113
                                                                          ROCKFELLER BLDG
PAGLIUCA, FREDA M                      216 HUNTER AVE,C/O D. DIMARCELLO                                                                                           TRENTON           NJ   08610
PAGLIUCA, JOHN F                       104 BENSON RD                                                                                                              STOUGHTON         MA   02072‐3307
PAGLIUCA, STEPHEN J                    216 STONEBROOK WAY                                                                                                         EDMOND            OK   73003‐2137
PAGNALLO, KATHLEEN R                   32 KENNEDY DR                                                                                                              LACKAWANNA        NY   14218‐3629
PAGNANI, ANTHONY J                     983 BERYL CT                                                                                                               ROCHESTER HILLS   MI   48307‐3202
PAGNANI, CHARLETTE J                   983 BERYL CRT                                                                                                              ROCHESTER HILL    MI   48307
PAGNIER, DAVID E                       5045 ROCKWOOD DR                                                                                                           GRAND BLANC       MI   48439‐4259
                           09-50026-mg               Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                       Address1                          Address2                         Address3   Address4         City               State Zip
PAGNIER, EDWARD J          5314 W MAIN STREET RD                                                                          STERLING            MI 48659‐9775
PAGNIER, GWENDOLYN I       5314 W MAIN STREET RD                                                                          STERLING            MI 48659‐9775
PAGNIER, HAROLD L          240 HEMLOCK ST                                                                                 KINGSFORD           MI 49802‐5304
PAGNILLO, BEATRICE         120 BUCK CT                                                                                    CASSELBERRY         FL 32707‐5139
PAGNINI, CHARLETTE J       983 BERYL CT                                                                                   ROCHESTER HILLS     MI 48307‐3202
PAGNOTTA, PASQUALE A       2866 STOKELY AVE APT A309                                                                      TRENTON             NJ 08611
PAGNOTTI, LINDA A          211 S DEWBERRY ST APT 98                                                                       HARRISBURG          PA 17104‐3531
PAGNUCCO, RINO             14752 WILLIAMSBURG ST                                                                          RIVERVIEW           MI 48193‐7606
PAGNUCCO, SPERANZA N       21070 W. OUTER DRIVE                                                                           DEARBORN            MI 48124‐3028
PAGNUCCO, SPERANZA N       21070 OUTER DR                                                                                 DEARBORN            MI 48124‐3028
PAGO JOSEPH JR             PAGO, EARLINE                     ONE LAKESHORE DRIVE SUITE 1800                               LAKE CHARLES        LA 70629

PAGO JOSEPH JR             PAGO, JOSEPH                      ONE LAKESHORE DRIVE SUITE 1800                               LAKE CHARLES        LA   70629

PAGONAKIS, PASKALI         5026 SPRINGHOUSE CIR                                                                           BALTIMORE          MD    21237‐3356
PAGONAS, STEPHEN W         44263 WHITHORN DR                                                                              STERLING HTS       MI    48313‐1059
PAGONAS, WILLIAM A         6358 WALKER DR                                                                                 TROY               MI    48085‐1349
PAGONIS, DIMITRIOS G       15841 MARLIN PL                                                                                VAN NUYS           CA    91406‐5019
PAGONIS, MARK M            2325 N.W. 119TH                                                                                OKLAHOMA CITY      OK    73120
PAGURA, IRMA M             16681 JOAN ST                                                                                  SOUTHGATE          MI    48195‐2902
PAH, GEORGE                9165 STEEP HOLLOW DR                                                                           UNION LAKE         MI    48386
PAHIGIAN, PHILIP A         WILENTZ GOLDMAN & SPITZER         PO BOX 10                                                    WOODBRIDGE         NJ    07095‐0958
PAHL JOSEPH (446801)       KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                CLEVELAND          OH    44114
                                                             BOND COURT BUILDING
PAHL, BERNARD F            3385 EAST U.S. #223                                                                            ADRIAN             MI    49221
PAHL, CAROL A              128 BOISEDARK CIR                                                                              GILBERTSVILLE      KY    42044‐9321
PAHL, D GEORGE             5600 BELLEZA DR                                                                                HOLIDAY            FL    34690‐2208
PAHL, DANIEL J             RFD 6 28489 BOWMAN RD                                                                          DEFIANCE           OH    43512‐8975
PAHL, DANIEL J             RR 6                                                                                           DEFIANCE           OH    43512
PAHL, GERALD A             1952 WENTWORTH DR                                                                              CANTON             MI    48188‐3132
PAHL, GERALD W             1508 BRIDGEWATER WAY S                                                                         MANSFIELD          OH    44906‐3577
PAHL, JEAN                 514 DIXON SCHOOL RD # 2           C/O JENNIFER J CHANDLER                                      KINGS MOUNTAIN     NC    28086‐8206
PAHL, JEAN A               6681 SHADOWLAWN ST                                                                             DEARBORN HTS       MI    48127‐1973
PAHL, JOSEPH               KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                 CLEVELAND          OH    44114
                                                             BOND COURT BUILDING
PAHL, MELVIN E             6478 W STANLEY RD                                                                              MOUNT MORRIS       MI    48458‐9327
PAHL, PATRICK D            6859 STATE RD                                                                                  MILLINGTON         MI    48746‐9120
PAHL, PHYLLIS M            28020 OLD COLONY ST                                                                            FARMINGTON HILLS   MI    48334‐3245
PAHL, THERESA C            5600 BELLEZA DR                                                                                HOLIDAY            FL    34690‐2208
PAHL, URBAN A              924 WAYNE AVE                                                                                  DEFIANCE           OH    43512‐2829
PAHL, URBAN ANTHONY        924 WAYNE AVE                                                                                  DEFIANCE           OH    43512‐2829
PAHL, WILLIAM A            1158 CREEKSIDE CT                                                                              BURTON             MI    48509‐1460
PAHL, WILLIAM ALLEN        1158 CREEKSIDE CT                                                                              BURTON             MI    48509‐1560
PAHLE, STEVEN G            145 GRADOLPH ST                                                                                TOLEDO             OH    43612‐1419
PAHLER CARL                1681 GLENWOOD DYER RD                                                                          CHICAGO HEIGHTS    IL    60411‐8645
PAHLKE ALBERT S (481941)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA    23510
                                                             STREET, SUITE 600
PAHLKE, ALBERT S           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
PAHMAN, FRED T             34 BROOKS LN                                                                                   SOMERVILLE         AL 35670‐6700
PAHMAN, JANET M            6112 W COLDWATER RD                                                                            FLUSHING           MI 48433‐9007
PAHMAN, JOYCE M            6173 WEST COLDWATER ROAD                                                                       FLUSHING           MI 48433‐9015
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Name                             Address1                        Address2                        Address3     Address4         City               State Zip
PAHMAN, LAWRENCE E               2230 ESSEX DR SW                                                                              DECATUR             AL 35603‐1015
PAHMAN, NATHAN R                 7171 REDLAND RD                                                                               WETUMPKA            AL 36093‐2771
PAHMAN, THOMAS M                 6173 W COLDWATER RD                                                                           FLUSHING            MI 48433‐9015
PAHMIER, BARBARA J               8700 W COUNTY ROAD 600 S                                                                      DALEVILLE           IN 47334‐9734
PAHMIER, HELEN P                 3120 S BROADWAY ST                                                                            YORKTOWN            IN 47396‐9647
PAHMIER, PAULA D                 4944 BRIARWOOD DR                                                                             NASHVILLE           TN 37211‐5102
PAHNGROC OH                      1642 ABIGAIL WAY                                                                              ANN ARBOR           MI 48103‐8948
PAHOLAK I I I, WILLIAM W         PO BOX 61                                                                                     MELROSE             OH 45861‐0061
PAHOLAK I I I, WILLIAM W         36 SQUIRES AVE                                                                                DEFIANCE            OH 43512
PAHOLSKY, MICHAEL D              8902 TIMBERLINE DR                                                                            SHELBY TWP          MI 48316‐4565
PAHOLSKY, RICHARD D              68975 OMO RD                                                                                  RAY                 MI 48096‐1518
PAHOLSKY, WILLIAM D              433 W OMAHA AVE                                                                               CLOVIS              CA 93619‐4802
PAHON, ALEX                      330 VIRGINIA AVE                                                                              SAINT CLOUD         FL 34769‐2438
PAHON, CHARLES A                 568 MORELEY AVE                                                                               AKRON               OH 44320‐2025
PAHON, CHARLES A                 67150 RANGO RD                                                                                CATHEDRAL CITY      CA 92234‐2234
PAHON, DEBRA H                   48317 ST RTE 14                                                                               NEW WATERFORD       OH 44445‐4445
PAHON, DEBRA H                   48317 STATE ROUTE 14                                                                          NEW WATERFORD       OH 44445‐9733
PAHOUNDIS, SHIRLEY               1513 HAWTHORNE ST                                                                             WOOSTER             OH 44691
PAHR, EARL A                     2000 LAKESHORE DR               UNIT K                                                        GLADSTONE           MI 49837
PAHR, EARL A                     2000 LAKE SHORE DR APT K                                                                      GLADSTONE           MI 49837‐1248
PAHR, KEITH L                    11535 PLAZA DR APT 106W                                                                       CLIO                MI 48420
PAHREN DAVID                     815 WESTHAM PKWY                                                                              REGENCY             VA 23229‐6851
PAHRUMP VALLEY AUTO PLAZA, LLC   2060 E CHARLESTON PARK AVE                                                                    PAHRUMP             NV 89048‐4768
PAHRUMP VALLEY AUTO PLAZA, LLC   GREGORY HEINRICH                2060 E CHARLESTON PARK AVE                                    PAHRUMP             NV 89048‐4768
PAHSSEN, BILLIE M.               2165 GERALDINE ST                                                                             PRESCOTT            MI 48756‐9352
PAHSSEN, MARIANNE                1020 CARRICK DRIVE                                                                            ROSECOMMON          MI 48653
PAHUCKI, REBECCA                 342 MAPLE AVE                                                                                 NEW HAMPTON         NY 10958‐2112
PAHULU, STACEY M                 7995 COUNTESS COURT                                                                           DUBLIN              CA 94568‐1428
PAHURA, GARY E                   15704 STATE ROUTE 31                                                                          ALBION              NY 14411‐9749
PAHUTA, JEFFREY P                7636 4TH SECTION RD                                                                           BROCKPORT           NY 14420‐9618
PAI                              JOHN SEVEC                      22343 LA PALMA AVE              SUITE A110                    YORBA LINDA         CA 92887
PAI, HSU LING                    5639 ACORN LN 88                                                                              STERLING HEIGHTS    MI 48314
PAI, VINOD U                     34481 ORSINI DR                                                                               STERLING HEIGHTS    MI 48312‐5774
PAIC, SIMO                       1910 182ND PL                                                                                 LANSING              IL 60438‐2520
PAICK, SUNG H                    2250 RUTHERFORD RD                                                                            CARLSBAD            CA 92008‐8814
PAICK, SUNG HUEM                 2250 RUTHERFORD RD                                                                            CARLSBAO            CA 92008‐8814
PAIDA, HAROLD                    3380 N SQUIRREL RD                                                                            AUBURN HILLS        MI 48326‐3935
PAIDE JAMES                      195 TANGLEWOOD DR                                                                             NEW CASTLE          PA 16105‐5351
PAIGE E GRIMMER                  1108 N MONROE ST                                                                              BAY CITY            MI 48708‐5935
PAIGE ESTATE OF, EARL B
PAIGE GEORGE W (467745)          WEITZ & LUXENBERG               180 MAIDEN LANE                                               NEW YORK           NY   10038
PAIGE HINTON                     1363 LABELLE STREET                                                                           JONESBORO          GA   30238‐6567
PAIGE HITCH                      4820 MEADOW LN                                                                                ATTICA             MI   48412‐9391
PAIGE HUGHES                     3219 STEEPLECHASE CT                                                                          FLINT              MI   48532‐3751
PAIGE JR, ARTHUR B               3341 HAMPSHIRE AVE                                                                            FLINT              MI   48504‐1263
PAIGE JR, ROY L                  2125 OBRIEN RD                                                                                MOUNT MORRIS       MI   48458‐2639
PAIGE JR, RUDOLPH                4877 E 250 N                                                                                  ANDERSON           IN   46012‐9292
PAIGE KERVIN (446802)            KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                 CLEVELAND          OH   44114
                                                                 BOND COURT BUILDING
PAIGE LINDA                      1850 FRANK ST                                                                                 BURLINGTON         CO 80807‐2208
PAIGE LINDA                      PAIGE, LINDA                    105 PRIVATE ROAD, UNIT 13987                                  HOOKS              TX 75561
PAIGE LOUISE                     C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                           LITTLE ROCK        AR 72201
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Name                         Address1                         Address2                       Address3   Address4              City               State Zip
PAIGE RICHARD T              2866 STARSHIRE COVE                                                                              JACKSONVILLE        FL 32257‐5802
PAIGE SUPERVISED COMMUNITY   ATTN: ROSIE WYATT                7036 N BRAY RD                                                  MT MORRIS           MI 48458‐8988
PAIGE WOODARD                3626 AURORA CT                                                                                   FLINT               MI 48504‐6553
PAIGE, ALLIE T               1599 OLD CHATHAM DR                                                                              BLOOMFIELD HILLS    MI 48304‐1041
PAIGE, ALLONZO               179 TROUP ST                                                                                     ROCHESTER           NY 14608
PAIGE, ANTHONY R             3735 ELM RIDGE DR                                                                                HOLLAND             MI 49424‐7747
PAIGE, ANTRENETT L
PAIGE, BETTE                 13834 N 41ST AVE                                                                                 PHOENIX            AZ   85053‐5351
PAIGE, BETTE                 13834 NORTH 41ST AVE                                                                             PHOENIX            AZ   85053‐5351
PAIGE, CATHY A               1510 NEWCASTLE DR                                                                                DAVISON            MI   48423‐8371
PAIGE, CHARLES A             45136 HARRIS RD                                                                                  BELLEVILLE         MI   48111‐8939
PAIGE, CHARLES T             17310 SANTA BARBARA DR                                                                           DETROIT            MI   48221‐2527
PAIGE, D J                   PO BOX 69                                                                                        LA CENTER          WA   98629‐0069
PAIGE, D L                   2825 WIENEKE RD APT 63                                                                           SAGINAW            MI   48603‐2605
PAIGE, DANIEL
PAIGE, DAVID E               15585 SW 14TH AVENUE RD                                                                          OCALA              FL   34473‐8866
PAIGE, DEBORAH K             20091 SHOALS CT                                                                                  CLINTON TOWNSHIP   MI   48038‐4925
PAIGE, DONALD A              5745 HOSPITAL RD                                                                                 FREELAND           MI   48623‐9039
PAIGE, DONALD D              216 FOLK ST                                                                                      POTTERVILLE        MI   48876‐9791
PAIGE, DONALD R              670 70TH ST SE                                                                                   GRAND RAPIDS       MI   49548‐7383
PAIGE, DUANE L               2576 NORTON LAWN                                                                                 ROCHESTER HILLS    MI   48307‐4433
PAIGE, ELAINE                7890 N FOUNTAIN PARK APT 2                                                                       WESTLAND           MI   48185
PAIGE, ENOD                  3920 LIAISON DR                                                                                  SHREVEPORT         LA   71108‐4726
PAIGE, EVERETT R             33908 MORSE ST                                                                                   CLINTON TWP        MI   48035‐4105
PAIGE, FRANK L               8 WATCH HILL DR                                                                                  ROCHESTER          NY   14624‐3649
PAIGE, GEORGE W              WEITZ & LUXENBERG                180 MAIDEN LANE                                                 NEW YORK           NY   10038
PAIGE, HENRY                 MOODY EDWARD O                   801 W 4TH ST                                                    LITTLE ROCK        AR   72201‐2107
PAIGE, JAMES H               14043 FENTON                                                                                     REDFORD            MI   48239‐2807
PAIGE, JIMMY D               2917 W COUNTY ROAD 650 N                                                                         MIDDLETOWN         IN   47356
PAIGE, JOHN W                4970 W COUNTY ROAD 850 N                                                                         MIDDLETOWN         IN   47356‐9462
PAIGE, KATHLEEN A            5745 HOSPITAL RD                                                                                 FREELAND           MI   48623‐9039
PAIGE, KAY                   214 PARIS AVE                                                                                    LANSING            MI   48910‐3062
PAIGE, KEITH L               ISLERENWEG 6                                                               ZUMIKON SWITZERLAND
                                                                                                        8126
PAIGE, KENNETH H             8079 PARISH RD                                                                                   VICTOR             NY 14564‐9174
PAIGE, KERVIN                KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                    CLEVELAND          OH 44114
                                                              BOND COURT BUILDING
PAIGE, LESLIE C              6227 W BUTTERFIELD HWY                                                                           BELLEVUE           MI   49021‐9466
PAIGE, LINDA                 105 PRIVATE ROAD, UNIT 13987                                                                     HOOKS              TX   75561
PAIGE, LISA M                51721 BLUE SPRUCE DR                                                                             MACOMB             MI   48042‐4229
PAIGE, LOIS                  1243 WOODHURST DR                                                                                YOUNGSTOWN         OH   44515‐3718
PAIGE, LOUISE                MOODY EDWARD O                   801 W 4TH ST                                                    LITTLE ROCK        AR   72201‐2107
PAIGE, LOVELL                16700 ASBURY PARK                                                                                DETROIT            MI   48235‐3659
PAIGE, LUCY                  416 NORTH WALNUT STREET                                                                          EAST ORANGE        NJ   07017‐3917
PAIGE, MARGALO A             2854 HOLLIS DR NE                                                                                GRAND RAPIDS       MI   49505‐3411
PAIGE, MARIAN C              8067 BRANDING IRON LN                                                                            RIVERSIDE          CA   92508‐6612
PAIGE, NEAL                  909 ARROW AVE                                                                                    ANDERSON           IN   46016‐2732
PAIGE, NORMAN T              1539 WALKERS RIDGE RD                                                                            POWHATAN           VA   23139‐7835
PAIGE, PATRICIA J            23337 SW 61ST AVE APT A                                                                          BOCA RATON         FL   33428‐7618
PAIGE, PAUL G                PO BOX 304                                                                                       NORFOLK            NY   13667‐0304
PAIGE, RHEA D                906 DRESSER DR                                                                                   ANDERSON           IN   46011
PAIGE, RICHARD L             284 LAKESHORE DR                                                                                 NORWOOD            NY   13668‐3201
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Name                     Address1                       Address2                      Address3   Address4         City               State Zip
PAIGE, RICHARD T         2866 STARSHIRE CV                                                                        JACKSONVILLE        FL 32257‐5802
PAIGE, ROBERT J          4746 LYBA ST                                                                             SHREVEPORT          LA 71109‐6217
PAIGE, ROBERT L          902 ORCHARD GROVE DR                                                                     ROYAL OAK           MI 48067‐1207
PAIGE, ROBERT L          1919 SE 45TH ST                                                                          CAPE CORAL          FL 33904
PAIGE, ROBERT S          419 12TH ST                                                                              ELYRIA              OH 44035‐7040
PAIGE, ROBIN B           2483 SEBASTIAN DR                                                                        GRAND BLANC         MI 48439‐8160
PAIGE, ROBIN BURKS       2483 SEBASTIAN DR                                                                        GRAND BLANC         MI 48439‐8160
PAIGE, RODNEY W          1028 BARRYMORE DR                                                                        BEL AIR             MD 21014‐6915
PAIGE, RONALD M          610 COHASSET DR                                                                          YOUNGSTOWN          OH 44511‐1553
PAIGE, ROY L             945 E ALMA AVE                                                                           FLINT               MI 48505‐2295
PAIGE, RUTH B            8079 PARISH RD                                                                           VICTOR              NY 14564‐9174
PAIGE, SAMUEL D          845 WILSON CIR SW                                                                        MARIETTA            GA 30064‐3006
PAIGE, SHANICE
PAIGE, SUSAN H           2238 PEPPERMILL RD                                                                       LAPEER             MI   48446‐9491
PAIGE, THEOLA            50 HILLCREST DR                                                                          LAUREL             MS   39440
PAIGE, TIFFANY           6319 LAFAYETTE RD                                                                        BRADENTON          FL   34207‐5038
PAIGE, VICKI M           988 CHIP RD                                                                              BAY CITY           MI   48706‐9441
PAIGE, VICTORIA L        4140 TOWNE GREEN CIR                                                                     ADDISON            TX   75001‐4953
PAIGE, VIRGINIA H        102 SHELLY RD                                                                            GLEN BURNIE        MD   21061‐1622
PAIGE, WILLARD           486 E 125TH ST                                                                           CLEVELAND          OH   44108‐1811
PAIGE, WILLIAM B         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                        STREET STE 600
PAIGE, WILLIAM D         3905 W 32ND ST                                                                           ANDERSON           IN   46011‐4575
PAIGE, WILLIAM E         1305 TREVINO DR                                                                          TROY               MI   48085‐3393
PAIGE, WILLIAM H         SHANNON LAW FIRM               100 W GALLATIN ST                                         HAZLEHURST         MS   39083‐3007
PAIGE,MONICA L           4947 OLIVE ST                                                                            KANSAS CITY        MO   64130‐2625
PAIK, NAM C              522 N HAGAR ST                                                                           SAN FERNANDO       CA   91340‐2326
PAIK, SUNG K             3307 MERRILL AVE                                                                         ROYAL OAK          MI   48073‐6816
PAIKAI, JOHN             KEMNITZER ANDERSON BARRON &    445 BUSH STREET 6TH FLOOR,                                SAN FRANCISCO      CA   94108
                         OGILVIE                        PACIFIC STATES BUILDING
PAIKO, STEPHEN A         106 CHERRY CREEK LN                                                                      ROCHESTER          NY   14626‐4204
PAIL, JAMES              5404 FAIRWAY PL                                                                          MIDLAND            MI   48640‐2917
PAILLE JR, EDWARD B      3112 HIGHWAY 49 E                                                                        CHARLOTTE          TN   37036‐5920
PAILLE, EDWARD C         3912 MAIN ST                                                                             ANDERSON           IN   46013‐4720
PAILLE, ROBERT M         1426 ELMHURST WAY                                                                        BOWLING GREEN      KY   42104‐0203
PAILLE, ROBERT MICHAEL   1426 ELMHURST WAY                                                                        BOWLING GREEN      KY   42104‐0203
PAILLE, WILLIAM          702 N IVANHOE DR                                                                         MARION             IN   46952‐2313
PAILLE, WILLIAM S.       702 N IVANHOE DR                                                                         MARION             IN   46952‐2313
PAILLE‐TAYLOR, JOYCE L   912 CHESTNUT ST                                                                          ANDERSON           IN   46012‐4121
PAILLETT, ALFRED W       38721 RODEO DR                                                                           ROMULUS            MI   48174‐5061
PAILTHORP, CHERYL S      1456 COLONY DR                                                                           SALINE             MI   48176‐1095
PAILTHORP, W M           511 SYCAMORE CIR                                                                         SALINE             MI   48176‐1756
PAILTHORPE, GLENN H      14 HIAWATHA TR                                                                           SPENCERPORT        NY   14559‐2008
PAILTHORPE, GLENN H      14 HIAWATHA TRL                                                                          SPENCERPORT        NY   14559‐2008
PAILTHORPE, JESSIE L     14 HIAWATHA TRL                                                                          SPENCERPORT        NY   14559‐2008
PAILTHORPE, JESSIE L     14 HIAWATHA TRAIL                                                                        SPENCERPORT        NY   14559‐2008
PAILTHORPE, WILLIAM L    1120 CYPRESS DR                                                                          WILDWOOD           FL   34785‐9448
PAIMANEE KOOLTHONG       73 E LONGFELLOW AVE                                                                      PONTIAC            MI   48340‐2743
PAIN & REHABILITTIVE     PO BOX 2120                                                                              FARMINGTON HILLS   MI   48333‐2120
PAIN CARE OF NORTH T     1111 RAINTREE CIR STE 190                                                                ALLEN              TX   75013‐4902
PAIN CARE PA             PO BOX 26141                                                                             KANSAS CITY        MO   64196‐6141
PAIN CENTER OF DELAW     PO BOX 398                                                                               NASSAU             DE   19969‐0398
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Name                                 Address1                        Address2               Address3      Address4         City               State Zip
PAIN CLINIC OF MI, P                 860 HIDDEN PINE RD                                                                    BLOOMFIELD HILLS    MI 48304‐2409
PAIN CONSULTANTS OF                  PO BOX 933358                                                                         ATLANTA             GA 31193‐0001
PAIN CONSULTANTS OF                  DEPT CH # 19015                                                                       PALATINE             IL 60055‐0001
PAIN CONSULTANTS OF                  PO BOX 861757                                                                         ORLANDO             FL 32886‐1757
PAIN CONTROL & REHAB                 2784 N DECATUR RD STE 120                                                             DECATUR             GA 30033‐5993
PAIN EVALUATION & MG                 L2433                                                                                 COLUMBUS            OH 43260‐0001
PAIN MANAGEMENT & HE                 338 HARRIS HILL RD STE 207                                                            WILLIAMSVILLE       NY 14221‐7470
PAIN MANAGEMENT AND                  28300 ORCHARD LAKE RD STE 103                                                         FARMINGTON HILLS    MI 48334‐3704
PAIN MANAGEMENT ASSO                 PO BOX 802234                                                                         KANSAS CITY         MO 64180‐0001
PAIN MANAGEMENT CENT                 1701 LAKE LANSING RD                                                                  LANSING             MI 48912
PAIN MANAGEMENT CENT                 DEPT 6096                                                                             CAROL STREAM         IL 60122‐96
PAIN MANAGEMENT CENT                 20944                           SHERMAN WAY, #109                                     CANOGA PARK         CA 91303
PAIN MANAGEMENT CLIN                 PO BOX 8157                                                                           NEW CASTLE          PA 16107‐8157
PAIN MANAGEMENT MEDI                 11155 DUNN RD                                                                         SAINT LOUIS         MO 63136
PAIN MANAGEMENT OF T                 DEPT 147 PO BOX 21228                                                                 TULSA               OK 74121
PAIN MANAGEMENT SERV                 PO BOX 2153                                                                           BIRMINGHAM          AL 35287‐0002
PAIN MED PC                          5000 MCKNIGHT RD                                                                      PITTSBURGH          PA 15237
PAIN MEDICINE ASSOCI                 5901 WARNER AVE 342                                                                   HUNTINGTON BEACH    CA 92649
PAIN MEDICINE INC                    PO BOX 550337                                                                         TAMPA               FL 33655‐0337
PAIN SPECIALISTS OF                  39587 TREASURY CTR                                                                    CHICAGO              IL 60694‐9500
PAIN TREATMENT & REH                 D 71 OMEGA DR                                                                         NEWARK              DE 19713
PAIN TREATMENT CENTE                 PO BOX 7800                                                                           DETROIT             MI 48278‐0001
PAIN TREATMENT CENTERS OFMICHIGAN,   4450 FASHION SQUARE BOULEVARD   SUITE 200                                             SAGINAW             MI 48603
LLC
PAIN TREATMENT CONSU                 908 NIAGARA FALLS BLVD STE                                                            NORTH TONAWANDA    NY   14120
PAIN TREATMENT CTR                   PO BOX 953010                                                                         SAINT LOUIS        MO   63195‐3010
PAINAN CHUANG                        5809 ROSEBROOK DR                                                                     TROY               MI   48085‐3880
PAINCHAUD JR, LOUIS R                4200 W UTICA RD APT 415                                                               UTICA              MI   48317‐4769
PAINCHAUD, ANTHONY F                 4776 SKYLINE RD S                                                                     SALEM              OR   97306‐2401
PAINCHAUD, TED V                     13067 NORRIS AVE                                                                      SYLMAR             CA   91342‐3812
PAINE DAVID                          235 S HOUGHTON ST                                                                     MILFORD            MI   48381‐2413
PAINE JR, DONALD J                   1621 THOMPSON RD                                                                      BAD AXE            MI   48413‐8741
PAINE JULIE                          PAINE, JULIE                    5901 CEDAR LAKE RD S                                  MINNEAPOLIS        MN   55416‐1488
PAINE SHELBY S                       PAINE, SHELBY S                 7400 W STATE ST                                       WAUWATOSA          WI   53213‐2736
PAINE TOM                            3645 W TIENKEN RD                                                                     ROCHESTER HILLS    MI   48306‐3767
PAINE, BARBARA A                     7830 W 82ND PL                                                                        BRIDGEVIEW         IL   60455‐1644
PAINE, CHARLES E                     1200 FOREST DR                                                                        NEW CASTLE         IN   47362‐1911
PAINE, CLEATUS E                     62 JANICE COURT #228                                                                  ESSEXVILLE         MI   48732
PAINE, DAVID E                       235 S HOUGHTON ST                                                                     MILFORD            MI   48381‐2413
PAINE, DAVID EDWARD                  235 S HOUGHTON ST                                                                     MILFORD            MI   48381‐2413
PAINE, DELORIS E                     854 N PINE RD APT 145                                                                 ESSEXVILLE         MI   48732‐2126
PAINE, DIANE L                       4979 DUNBAR CT                                                                        GLADWIN            MI   48624‐8520
PAINE, EARL W                        418 KENILWORTH AVE SE                                                                 WARREN             OH   44483‐4483
PAINE, II,JOHN C                     130 EMERSON DR                                                                        AMHERST            NY   14226‐2122
PAINE, JESSE J                       4178 SILVERLEAF DR                                                                    YPSILANTI          MI   48197‐7482
PAINE, KATHIE P                      6972 DOWNS RD NW                                                                      WARREN             OH   44481‐9413
PAINE, KENNETH                       1235 CARNES RD                                                                        LUMBERTON          MS   39455‐5807
PAINE, KENNETH L                     236 E VERMONT AVE                                                                     SEBRING            OH   44672‐1441
PAINE, LESLEY A                      659 LAURELTON RD                                                                      ROCHESTER          NY   14609‐4511
PAINE, MARIAN E                      2015 MARSAC ST                                                                        BAY CITY           MI   48708‐8527
PAINE, MARTHA A                      300 BAUGHT ST                   APT C4                                                WESTVILLE          IL   61883
PAINE, MARY C                        1450 VERNOR RD                                                                        LAPEER             MI   48446‐8728
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Name                                  Address1                             Address2                          Address3        Address4                City                    State Zip
PAINE, PAULA M                        3645 W TIENKEN RD                                                                                              ROCHESTER HLS            MI 48306‐3767
PAINE, RAYMOND D                      3312 W CENTRAL AVE                                                                                             FRANKLIN                 WI 53132‐9152
PAINE, RICHARD C                      8039 OLD COUNTY RD 54                LOT 85                                                                    NEW PORT RICHEY          FL 34653
PAINE, ROSMARY M                      2470 WINKLEMAN                                                                                                 WATERFORD                MI 48329‐4450
PAINE, RUTH V                         36 GOLF VIEW DR                                                                                                LITTLE EGG HARBOR TWP    NJ 08087‐4222
PAINE, SELLWYN E                      6972 DOWNS RD NW                                                                                               WARREN                   OH 44481‐9413
PAINE, THERESA C                      16 SHELLS WAY                                                                                                  SAGAMORE BCH             MA 02562‐2817
PAINE, THOMAS G                       3645 W TIENKEN RD                                                                                              ROCHESTER HILLS          MI 48306‐3767
PAINE, THOMAS J                       5234 TREETOPS DR                                                                                               NAPLES                   FL 34113‐8501
PAINE, WILLIAM                        187 NORWOOD AVE                                                                                                ROCHESTER                NY 14606‐3745
PAINE, WILLIAM C                      830 W CORUNNA AVE APT 3B                                                                                       CORUNNA                  MI 48817‐1275
PAINE, WILLIAM W                      8735 HEMLOCK AVE                                                                                               FARWELL                  MI 48622‐9780
PAINEPR LLC                           ATTN: CORPORATE OFFICER/AUTHORIZED   19000 MACARTHUR BOULEVARD         8TH FLOOR                               IRVINE                   CA 92612
                                      AGENT
PAINEPR LLC                           19000 MACARTHUR BLVD 8TH FL                                                                                    IRVINE                  CA 92612
PAINEWEBBER PREFERRED YEILD FUND LP   7175 W JEFFERSON AVE                 #3000                                                                     LAKEWOOD                CO 80235

PAINEWEBBER PREFERRED YEILD FUND LP   ATTN: CORPORATE OFFICER/AUTHORIZED   7175 W JEFFERSON AVE STE 3000                                             LAKEWOOD                CO 80235‐2320
                                      AGENT
PAINI, KENNETH C                      7114 WITMER RD                                                                                                 NORTH TONAWANDA         NY   14120‐1016
PAINI, LAWRENCE A                     2912 IROQUOIS DR                                                                                               THOMPSONS STN           TN   37179‐5021
PAINI, WILLIAM P                      4096 SUNSHINE WAY                                                                                              GREENWOOD               IN   46142‐8387
PAINT & ASSEM/ELWOOD                  11700 N STATE ROAD 37                                                                                          ELWOOD                  IN   46036‐9024
PAINT CREEK ELEMENTARY SCHOOL         2800 INDIANWOOD RD                                                                                             LAKE ORION              MI   48362‐1108
PAINT PLAS (1989) INC                 ATTN: CORPORATE OFFICER/AUTHORIZED   1739 ORANGEBROOK COURT                            PICKERING, ON L1W 3G8
                                      AGENT                                                                                  CANADA
PAINT RELATED PRODUCTS INC            5941 BRIGHTON PINES CT                                                                                         HOWELL                  MI   48843‐6453
PAINT RELATED PRODUCTS INC PRP        50210 DENNIS CT                                                                                                WIXOM                   MI   48393‐2023
PAINTER III, STEPHEN V                3813 S MAIN ST                                                                                                 INDEPENDENCE            MO   64055‐3248
PAINTER III, STEPHEN V                716 S KANSAS AVE                                                                                               OLATHE                  KS   66061‐4527
PAINTER JIMMIE                        PAINTER, JIMMIE                      STATE FARM INSURANCE              PO BOX 149273                           AUSTIN                  TX   78714
PAINTER JR, ARTHUR D                  1930 SANDPIPER TRL SE                                                                                          WARREN                  OH   44484‐5712
PAINTER JR, HOYT P                    108 W SUNRISE AVE                                                                                              TROTWOOD                OH   45426‐3528
PAINTER MARCY                         PAINTER, MARCY                       1700 PLEASURE HOUSE RD STE 102A                                           VIRGINIA BEACH          VA   23455‐4062

PAINTER MOTOR COMPANY, INC.            1100 N MAIN ST                                                                                                NEPHI                   UT 84648‐1008
PAINTER MOTOR COMPANY, INC.            JAMES PAINTER                       1100 N MAIN ST                                                            NEPHI                   UT 84648‐1008
PAINTER ROBERT SR (ESTATE OF) (489174) BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD              OH 44067
                                                                           PROFESSIONAL BLDG
PAINTER SR, WILLIAM E                 1345 ESTERO DR                                                                                                 PORTAGE                 MI   49002‐6996
PAINTER TROY                          3895 YAQUINA BAY RD                                                                                            NEWPORT                 OR   97365
PAINTER V, ERSKINE G                  6457 BACH CIR                                                                                                  BUENA PARK              CA   90621‐3104
PAINTER WAYNE L SR (407231)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                               NORFOLK                 VA   23510
                                                                           STREET, SUITE 600
PAINTER, ALVADEANE G                  850 VILLAGE LAKE TER N APT 104                                                                                 ST PETERSBURG           FL   33716‐3050
PAINTER, ANN S                        6225 SARATOGA BLVD APT 808                                                                                     CORPUS CHRISTI          TX   78414
PAINTER, BETTY J                      3620 GARDEN                                                                                                    WAYLAND                 MI   49348‐1033
PAINTER, BETTY J                      3620 GARDEN ST                                                                                                 WAYLAND                 MI   49348‐1033
PAINTER, BETTY J                      22780 VALLEY ST                                                                                                PERRIS                  CA   92570‐9066
PAINTER, BEVERLY
PAINTER, BRENDA L                     7690 TUTTLE HILL RD                                                                                            YPSILANTI               MI 48197‐9439
PAINTER, BRENDA LEE                   7690 TUTTLE HILL RD                                                                                            YPSILANTI               MI 48197‐9439
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Name                      Address1                         Address2                  Address3   Address4         City              State Zip
PAINTER, CELIA J          5095 LITTLE RICHMOND RD                                                                DAYTON             OH 45426‐3207
PAINTER, CERON E          11 DEWEY ST                                                                            WEST ALEXANDRIA    OH 45381‐1237
PAINTER, DANNY R          127 S 5TH ST                                                                           MIDDLETOWN         IN 47356‐1405
PAINTER, DARRYL L         245 RAINBOW DR PMB 14523                                                               LIVINGSTON         TX 77399‐2045
PAINTER, DELLIA DILLARD   JOHNSON FLETCHER M JR            PO BOX 769                                            BLUFFTON           SC 29910‐0769
PAINTER, DON A            LOT 77                           1900 HARPER DRIVE                                     ATCHISON           KS 66002‐1181
PAINTER, DONNA L          8981 W 700 N                                                                           MIDDLETOWN         IN 47356
PAINTER, DONNA M          426 TED WEEMS RD                                                                       GREENVILLE         TN 37745‐8306
PAINTER, DORIS A          213 CHIPPEWA TRL                                                                       PRUDENVILLE        MI 48651‐9645
PAINTER, FRANCIS J        978 W CENTER RD                                                                        ESSEXVILLE         MI 48732‐2006
PAINTER, GERALD J         1715 CLARK DR                                                                          WENATCHEE          WA 98801‐1485
PAINTER, HORACE L         212 JAMES RD                                                                           GAFFNEY            SC 29341‐4013
PAINTER, I. ROSALIE       4811 EAST DAISY LANE                                                                   MOORESVILLE        IN 46158‐7522
PAINTER, JAMES B          7150 BURLAT LN                                                                         NOBLESVILLE        IN 46062‐8489
PAINTER, JAMES F          3359 SHANNON RD                                                                        BURTON             MI 48529‐1830
PAINTER, JAMES F          3359 SHANNON ROAD                                                                      BURTON             MI 48529‐1830
PAINTER, JAMES L          50 W DAYTON ST                                                                         WEST ALEXANDRIA    OH 45381‐1128
PAINTER, JIMMIE           STATE FARM INSURANCE             PO BOX 149273                                         AUSTIN             TX 78714‐9273
PAINTER, JOEL P           18708 BRIAR LN                                                                         HOLT               MO 64048‐8907
PAINTER, JOHN E           2808 OXFORD AVE                                                                        DAYTON             OH 45406‐4338
PAINTER, JOHN R           621 WYOMING AVE                                                                        NILES              OH 44446‐1053
PAINTER, JULIA E          1930 SANDPIPER TRL SE                                                                  WARREN             OH 44484‐5712
PAINTER, KAREN J          1719 ZARTMAN RD                                                                        KOKOMO             IN 46902‐3250
PAINTER, KATHLEEN         583 LAURA LN                                                                           ORTONVILLE         MI 48462‐8517
PAINTER, KENNEY V         12150 S 950 W                                                                          DALEVILLE          IN 47334
PAINTER, LESLIE A         475 TURQUOISE DR                                                                       WHITMORE LAKE      MI 48189‐8277
PAINTER, LINDA M          2224 FAIRGLENN WAY                                                                     WINTER PARK        FL 32792‐6351
PAINTER, MARK E           3646 EGYPT RD                                                                          WILLARD            OH 44890‐9718
PAINTER, MARTHA           3566 EDMINTON TRAIL                                                                    WAYLAND            MI 49348‐1444
PAINTER, MARTHA           3566 EDMONTON TRL                                                                      WAYLAND            MI 49348‐1444
PAINTER, MARY A           6194 SUN VALLEY DR                                                                     GRAND BLANC        MI 48439‐9168
PAINTER, MILDRED M        2815 E PERKINS AVE                                                                     SANDUSKY           OH 44870‐5987
PAINTER, MITCHELL F       7335 LAKEWOOD HAVEN CT                                                                 APPLEGATE          MI 48401‐9642
PAINTER, NANCY L          978 W CENTER RD                                                                        ESSEXVILLE         MI 48732‐2006
PAINTER, NANCY L          978 WEST CENTER ROAD                                                                   ESSEXVILLE         MI 48732‐2006
PAINTER, OLIVE F          220 E 2ND AVE                                                                          ALEXANDRIA         IN 46001‐9012
PAINTER, PAUL W           4129 ROUNDHILL DR                                                                      ANDERSON           IN 46013‐2568
PAINTER, RALPH D          1545 N RIDGE RD                                                                        CANTON             MI 48187‐4646
PAINTER, RICHARD D        APT 808                          6225 SARATOGA BOULEVARD                               CRP CHRISTI        TX 78414‐3446
PAINTER, RICHARD M        3408 IMPERIAL DR                                                                       HIGH POINT         NC 27265‐1826
PAINTER, RICHARD O        1206 SUNSET TRL                                                                        CHEBOYGAN          MI 49721‐9170
PAINTER, ROBERT E         328 ASHLEY DR                    PLANTATION LANDINGS                                   HAINES CITY        FL 33844‐6355
PAINTER, ROBERT E         3023 BOLT DR                                                                           PALM HARBOR        FL 34685‐1802
PAINTER, ROBERT,
PAINTER, RONALD G         734 E 600 S                                                                            ANDERSON          IN 46013‐9504
PAINTER, ROSS T           3646 EGYPT RD                                                                          WILLARD           OH 44890‐9718
PAINTER, ROXANNE
PAINTER, RUBY             4127 E 400S                                                                            MIDDLETOWN        IN   47356
PAINTER, SANDRA K         725 HILE LANE                                                                          ENGLEWOOD         OH   45322‐1742
PAINTER, SANDRA K         725 HILE LN                                                                            ENGLEWOOD         OH   45322‐1742
PAINTER, SHAWN P          3336 BOOKER FARM RD                                                                    MT PLEASANT       TN   38474‐3018
PAINTER, TERESA           3741 VAN HORN RD APT 4                                                                 TRENTON           MI   48183‐4043
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Name                                   Address1                            Address2                         Address3         Address4                 City           State Zip
PAINTER, TERESA                        3741 VAN HORNE ST                   APT#4                                                                      TRENTON         MI 48183
PAINTER, THOMAS A                      725 HILE LANE                                                                                                  ENGLEWOOD       OH 45322‐1742
PAINTER, THOMAS A                      229 W. 53RD STREET                                                                                             ANDERSON        IN 46013
PAINTER, THOMAS A                      725 HILE LN                                                                                                    ENGLEWOOD       OH 45322‐1742
PAINTER, THOMAS B                      3741 VAN HORN RD APT 4                                                                                         TRENTON         MI 48183‐4043
PAINTER, THOMAS R                      8981 W 700 N                                                                                                   MIDDLETOWN      IN 47356
PAINTER, WAYNE                         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                     EDWARDSVILLE     IL 62025
                                       ROWLAND PC
PAINTER, WAYNE L SR,                   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                NORFOLK        VA 23510‐2212
                                                                           STREET, SUITE 600
PAINTER, WILLIAM R                      702 NEBRASKA AVE.                                                                                             NILES          OH    44446‐1050
PAINTER, WILLIAM R                      6194 SUN VALLEY DR                                                                                            GRAND BLANC    MI    48439‐9168
PAINTER, WILLIAM W                      4343 STODDARD RD                                                                                              W BLOOMFIELD   MI    48323‐3260
PAINTER,WILLIAM W                       4343 STODDARD RD                                                                                              W BLOOMFIELD   MI    48323‐3260
PAINTERS SUPPLY                         25195 BREST                                                                                                   TAYLOR         MI    48180‐6849
PAINTERS SUPPLY & EQUIPMENT             ED HEMBREE                         25195 BREST                                                                TAYLOR         MI    48180‐6849
PAINTING & PROCESS ASSOCIATES INC       PO BOX 23126                                                                                                  TOLEDO         OH    43623‐0126
PAINTLESS DENT REPAIR                   1358 W JUANITA AVE                                                                                            MESA           AZ    85202‐5830
PAINTPLAS INC                           650 FINLEY AVE                     HOLD PER LEGAL                                    AJAX ON L1S 6N1 CANADA
PAIR ALVIN CLAYTON (ESTATE OF) (502791) BARON & BUDD                       3102 OAK LANE AVE , SUITE 1100                                             DALLAS          TX   75219

PAIR JOHN R (410768)                   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                NORFOLK        VA 23510
                                                                           STREET, SUITE 600
PAIR, DAVID P                          41554 VANCOUVER DR                                                                                             STERLING HTS   MI    48314‐4160
PAIR, HORACE L                         1080 LOST CT                                                                                                   HAMPTON        GA    30228‐1597
PAIR, JEANETTE B                       5180 FLINT HILL RD                                                                                             AUSTELL        GA    30106‐2706
PAIR, JOHN R                           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                NORFOLK        VA    23510‐2212
                                                                           STREET, SUITE 600
PAIR, MICHAEL E                        2702 PARK PLACE CT                                                                                             ARLINGTON      TX    76016‐5868
PAIS, DONALD A                         3793 DELANO RD                                                                                                 OXFORD         MI    48371
PAISANT SIDNEY                         3700 46TH ST                                                                                                   METAIRIE       LA    70001‐3931
PAISIE, DAVID L                        UNIT 203                            1441 9TH AVENUE                                                            SAN DIEGO      CA    92101‐8939
PAISIE, DAVID L.                       UNIT 203                            1441 9TH AVENUE                                                            SAN DIEGO      CA    92101‐8939
PAISLEY CHILDRESS                      5136 INLAND ST                                                                                                 FLINT          MI    48505‐1713
PAISLEY LEIGHTON                       17407 N LONESOME DOVE TRL                                                                                      SURPRISE       AZ    85374‐3598
PAISLEY REBECCA                        1650 TREASURE LK                                                                                               DU BOIS        PA    15801‐9044
PAISLEY, ANTOINETTE B                  75 RIDGEWOOD WAY                                                                                               BURLINGTON     NJ    08016‐4263
PAISLEY, ELMER D                       43 PARSONS RD                                                                                                  LANDENBERG     PA    19350‐1549
PAISLEY, JACK R                        1034 BRACEVILLE ROBINSON RD                                                                                    SOUTHINGTON    OH    44470‐9532
PAISLEY, JAMES K                       509 E 77TH ST APT 3A                                                                                           NEW YORK       NY    10075‐8870
PAISLEY, PAUL R                        5018 BRIGHT BALDWIN RD                                                                                         NEWTON FALLS   OH    44444‐9460
PAISON, WILLIAM L                      9562 SILVERSIDE                                                                                                SOUTH LYON     MI    48178‐8810
PAITH, DAVID L                         213 PINE AVE                                                                                                   MOUNDSVILLE    WV    26041‐1523
PAITL WILLIAM                          PAITL, WILLIAM                      CITIZENS INSURANCE               P.O. BOX 15149                            WORCESTER      MA    01615‐0149
PAITL, RICHARD M                       6166 N SCOTTSDALE RD STE 708                                                                                   SCOTTSDALE     AZ    85253‐5443
PAITL, WILLIAM                         ADDRESS NOT IN FILE
PAITL, WILLIAM                         CITIZENS INSURANCE                  PO BOX 15149                                                               WORCESTER      MA 01615‐0149
PAITSEL JAMES W (341406)               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                NORFOLK        VA 23510
                                                                           STREET, SUITE 600
PAITSEL, JAMES W                       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                NORFOLK        VA 23510‐2212
                                                                           STREET, SUITE 600
PAIVA JOHN                             219 VILLAGE RD                                                                                                 FREEDOM        NH 03836‐4940
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Name                    Address1                           Address2                        Address3   Address4         City               State Zip
PAIVA, FERNANDO         238 RARITAN BLVD                                                                               KEYPORT             NJ 07735‐6012
PAIVARINTA, LINDA M     3475 LOVEJOY RD                                                                                BYRON               MI 48418‐9620
PAIVARINTA, THERESE A   10380 DODGE RD                                                                                 OTISVILLE           MI 48463‐9636
PAIVARINTA, WILLIAM A   10380 DODGE RD                                                                                 OTISVILLE           MI 48463‐9636
PAIZ, CHARLES E         2272 MUNIZ RD SW                                                                               ALBUQUERQUE         NM 87105‐6573
PAIZ, DELMIRO V         3082 COVENTRY DR                                                                               BAY CITY            MI 48706‐9239
PAIZ, MARIBEL           YARNALL DELORES A LAW OFFICE OF    220 NORTH GLENDALE AVENUE                                   GLENDALE            CA 91206
                                                           SUITE 103
PAIZ, MARIVEL           RUSSELL LEON LAW OFFICE OF         SUITE 1050 , 5430 LBJ FREEWAY                               DALLAS              TX   75240
PAIZ, NATALIE
PAIZ, OSCAR J           5348 TAHOE PINE CT SW                                                                          WYOMING            MI    49519‐9608
PAIZ, ROGER E           7326 WHISTLEVALE DR SW                                                                         BYRON CENTER       MI    49315‐9066
PAJA, FRANK T           40831 NEWPORT DR                                                                               PLYMOUTH           MI    48170‐4741
PAJA, STELLA            40831 NEWPORTE DR                                                                              PLYMOUTH           MI    48170‐4741
PAJAK, ANGELINA M       124 PLEASANT AVE                                                                               ISELIN             NJ    08830
PAJAK, DAVID F          74 JANE DR                                                                                     BUFFALO            NY    14227‐1912
PAJAK, DAVID FRANCIS    74 JANE DR                                                                                     BUFFALO            NY    14227‐1912
PAJAK, GARY A           4306 CLINTON ST                                                                                WEST SENECA        NY    14224‐1647
PAJAK, GERTRUDE         4306 CLINTON STREET                                                                            WEST SENECA        NY    14224‐1647
PAJAK, JACK M           41 ROBERT CT                                                                                   BUFFALO            NY    14225‐2254
PAJAK, LADISLAUS F      12806 HOYNE AVE                                                                                BLUE ISLAND        IL    60406‐2212
PAJAK, MIROSLAW         EB&HR OPERATIONS DEFAULT ADDRESS   3505 MORNING DOVE WOODS                                     FRANKLIN           OH    45005

PAJAK, PAUL J           37 CAMBRIA ST                                                                                  BUFFALO            NY    14206‐2301
PAJAK, RAYMOND J        54 HARRY RD                                                                                    BRIDGEWATER        NJ    08807‐3151
PAJAK, THOMAS F         95 PROSPECT AVE                                                                                BAYONNE            NJ    07002‐4517
PAJAKOWSKI, KIRK J      744 E PONTALUNA RD                                                                             MUSKEGON           MI    49444
PAJAKOWSKI, MARK E      18248 SABINE DR                                                                                MACOMB             MI    48042‐6135
PAJEK JR, CHESTER J     520 N DAVIS RD                                                                                 ELMA               NY    14059‐9513
PAJEWSKI, RUSSELL M     34943 BUNKER HILL DR                                                                           FARMINGTON HILLS   MI    48331‐3285
PAJIC, MILAN            18 BRINKER RD                                                                                  LACKAWANNA         NY    14218‐2822
PAJJURI, BHARGAVI       39744 GOLFVIEW DR                                                                              NORTHVILLE         MI    48167‐3971
PAJKOS, STEPHEN R       100 MEADOWWOOD COURT                                                                           DECATUR            MI    49045‐8711
PAJOLEK CHESTER         3176 BLACK ROCK TPKE                                                                           FAIRFIELD          CT    06825‐7205
PAJONAS, MARY J         129 BALDWIN DR                                                                                 BRISTOL            CT    06010‐3091
PAJOR, TADEUSZ          4714 FIRESTONE ST                                                                              DEARBORN           MI    48126‐3067
PAJOT, ALAN J           1353 7 MILE RD                                                                                 KAWKAWLIN          MI    48631‐9737
PAJOT, BARBARA M        448 ASHFORD AVE                                                                                TONAWANDA          NY    14150‐7002
PAJOT, JAMES H          2432 VENETIAN CT                                                                               FENTON             MI    48430‐1046
PAJROWSKI, GLADYS       223 OXFORD RD                                                                                  OXFORD             PA    19363‐4215
PAJROWSKI, JOSEPH L     4438 NEWARK ROAD                                                                               COCHRANVILLE       PA    19330‐1601
PAJTAS, BERNICE R       6439 DUCHESS CT                                                                                FLUSHING           MI    48433‐3535
PAJTAS, GEORGE R        3254 DUFFIELD RD                                                                               FLUSHING           MI    48433‐9709
PAJTAS, MARK D          6439 DUCHESS COURT                                                                             FLUSHING           MI    48433‐3535
PAJTAS, MARK D          1029 N LINDEN RD                                                                               FLINT              MI    48532‐2340
PAJUNEN, WILLIAM J      33237 SEA SHELL LN                 LAKE GRIFFIN HARBOR                                         LEESBURG           FL    34788‐7573
PAJUR, HEINO G          9513 STELZER RD                                                                                HOWELL             MI    48855‐9388
PAJUR, HEINO GEORGI     9513 STELZER RD                                                                                HOWELL             MI    48855‐9388
PAK, CHANG K            460 RED APPLE LN                                                                               ROCHESTER          NY    14612‐3551
PAK, JON                4301 AMELIA DR                                                                                 FREDERICKSBRG      VA    22408‐2578
PAK, TONG K             612 WADE CT                                                                                    ROCHESTER HILLS    MI    48307‐5067
PAK‐RITE                46915 LIBERTY DR                                                                               WIXOM              MI    48393‐3602
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Name                              Address1                         Address2               Address3      Address4         City            State Zip
PAKAKAWA DELANA                   PAKAKAWA, DELANA                 1984 PRAIRIE MIST DR                                  ROUND LAKE        IL 60073‐8106
PAKAKAWA, DELANA                  1984 PRAIRIE MIST DR                                                                   ROUND LAKE        IL 60073
PAKALNIS, MARGARET K              360 DEER TRAIL AVE                                                                     CANFIELD         OH 44406‐1021
PAKASKI, AUGUST W                 1511 DENTON RD                                                                         ESSEX            MD 21221‐6308
PAKE, BETTY J                     725 HUDSON ST                                                                          MILTON           WI 53563‐1386
PAKE, BETTY J                     725 HUDSON                                                                             MILTON           WI 53563‐1386
PAKE, GENEVIEVE O                 1310 S ERIE ST                                                                         BAY CITY         MI 48706‐5124
PAKE, MARY ANNA                   302 WISE ST                                                                            ESSEXVILLE       MI 48732‐1177
PAKE, MICHAEL L                   472 BIGLEAF COURT                                                                      FLINT            MI 48506‐4587
PAKE, TERRY L                     10292 HOGAN RD                                                                         SWARTZ CREEK     MI 48473‐9119
PAKE, TERRY LYNN                  10292 HOGAN RD                                                                         SWARTZ CREEK     MI 48473‐9119
PAKE, TIMOTHY C                   6355 VILLAGE DR                                                                        ZEELAND          MI 49464‐8374
PAKENAS, ARNOLD T                 36362 CLIFFORD DR                                                                      STERLING HTS     MI 48312‐3116
PAKENHAM JAMES                    CASCINO MICHAEL P                220 S. ASHLAND                                        CHICAGO           IL 60607
PAKES, DANIEL J                   7228 W CONDON RD                                                                       JANESVILLE       WI 53548‐9344
PAKES, EUGENE B                   2305 CENTER AVE                                                                        JANESVILLE       WI 53546‐8959
PAKES, MEGAN S                    7228 W CONDON RD                                                                       JANESVILLE       WI 53548‐9344
PAKES, ROBERT E                   7852 N PINE VIEW DR                                                                    EDGERTON         WI 53534‐9708
PAKETA CYCLES                     504 W LUCERNE DR                                                                       LAFAYETTE        CO 80026‐2607
PAKIEA TULL                       71 CLUBFOO CREEK                                                                       HAVELOCK         NC 28532
PAKIELA, ROBERT L                 708 GROVELAND AVE                                                                      PARCHMENT        MI 49004‐1414
PAKISTAN ASSOCIATION OF AMERICA   20700 CIVIC CENTER DR STE 170                                                          SOUTHFIELD       MI 48076‐4148
PAKITA ASBERRY                    617 NW 118TH ST                                                                        OKLAHOMA CITY    OK 73114‐7968
PAKITSAS, EVANGELIA M             533 SHARON DR                                                                          ROCHESTER        NY 14626‐1946
PAKIZER, HELEN J                  41537 GREENSPIRE DR                                                                    CLINTON TWP      MI 48038‐5864
PAKIZER, RALPH A                  20595 HILLSBORO DR                                                                     MACOMB           MI 48044‐3546
PAKIZER, RICHARD J                17907 SALINAS RIVER WAY                                                                MACOMB           MI 48042‐2373
PAKIZER, RONALD C                 61248 BURNINGWOOD DR                                                                   WASHINGTON       MI 48094‐1742
PAKKA, DARRYL O                   PO BOX 11                                                                              SAINT JOHNS      MI 48879‐0011
PAKKA, DARRYL O                   6838 KREPPS RD R 5                                                                     SAINT JOHNS      MI 48879
PAKKA, JANELL L                   643 CAMEO ST                                                                           LANSING          MI 48911‐5113
PAKKALA JR, JOHN F                1284 SPRINGBORROW DR                                                                   FLINT            MI 48532‐2171
PAKKALA, BERNICE M                2040 PLEASANT VIEW                                                                     LANSING          MI 48910‐0348
PAKKALA, JOHN F                   1438 HICKORY HOLLOW DR                                                                 FLINT            MI 48532‐2053
PAKKALA, JOSEPH M                 1438 HICKORY HOLLOW DR                                                                 FLINT            MI 48532‐2053
PAKKALA, RONALD K                 1220 N BRIARFIELD DR                                                                   LANSING          MI 48910‐5102
PAKLEDINAZ, DOROTHY C             3236 GARRICK AVENUE                                                                    WARREN           MI 48091‐3448
PAKLEDINAZ, JOSEPH P              35721 ALFRED ST APT 5                                                                  NEW BALTIMORE    MI 48047‐2451
PAKLOG INC
PAKNEY, JEAN J                    9562 WOODSIDE CIR                                                                      GRAND BLANC     MI   48439‐8079
PAKNEY, LENA J                    10566 CABERFAE HWY                                                                     MANISTEE        MI   49660‐9562
PAKOLA, MARY C                    612A FAIRWAYS CIR                                                                      OCALA           FL   34472
PAKOS, EMILY                      41130 FOX RUN                    APT 413                                               NOVI            MI   48377‐4875
PAKOSTA, CHARLES O                142 STONEHAVEN DR                                                                      COLUMBIANA      OH   44408‐9588
PAKOSZ, MICHAEL L                 5016 LUCINDA DR                                                                        PRESCOTT        MI   48756‐9650
PAKOSZ, RICHARD J                 4187 W WILKINSON RD                                                                    OWOSSO          MI   48867‐9370
PAKSI JR, ROBERT                  16607 S MERRILL RD                                                                     ELSIE           MI   48831‐9231
PAKSI, DAVID J                    406 W CASS ST                                                                          SAINT JOHNS     MI   48879‐1713
PAKSI, EDWARD                     208 THORPE AVE                   HIGGINS LAKE                                          ROSCOMMON       MI   48653‐9570
PAKSI, KELLY K                    166 S CANFIELD RD                                                                      EATON RAPIDS    MI   48827
PAKSI, KEVIN D                    808 E CASS ST                                                                          SAINT JOHNS     MI   48879‐1946
PAKSI, RODNEY A                   166 S CANFIELD RD                                                                      EATON RAPIDS    MI   48827‐8347
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Name                             Address1                         Address2                         Address3   Address4               City               State Zip
PAKT LTD                         PAUL WRIGHT                      1703 S 1ST ST                                                      LUFKIN              TX 75901‐5601
PAKULA, BEATRICE L               8916 S 84TH CT                                                                                      HICKORY HILLS        IL 60457‐1314
PAKULA, LUCY M                   806 S CLINTON AVE                                                                                   TRENTON             NJ 08611‐1918
PAKULA, ROBERT S                 8916 S 84TH CT                                                                                      HICKORY HILLS        IL 60457‐1314
PAKULNIEWICZ, RONALD S           549 ADELAIDE AVE SE                                                                                 WARREN              OH 44483‐6115
PAKUS, GLORIA Y                  32 HOLLY HILL LANE                                                                                  MARLBORO            MA 01752‐3690
PAKUSCH, JANE                    64 EAST MAIN STREET              APARTMENT 3                                                        DRYDEN              NY 13053‐3053
PAKUSCH, JANE                    64 E MAIN ST APT 3                                                                                  DRYDEN              NY 13053‐9500
PAL, LAWRENCE M                  1863 SALT SPRINGS RD                                                                                WARREN              OH 44481‐9787
PALA INTERSTATE INC              ALBERTO TARAJANO                 1 6347 OLD HAMMOND HWY.                                            BATON ROUGE         LA
PALACE AUTO SUPPLY                                                340 24TH AVE NW                                                                        OK 73069
PALACE AUTO SUPPLY               340 24TH AVE NW                                                                                     NORMAN              OK 73069‐6306
PALACE JR, WILLIAM W             32777 BARRETT DR                                                                                    WESTLAKE VILLAGE    CA 91361‐5529
PALACE MOTORS, INC.              219 E 1ST AVE                                                                                       MITCHELL            SD 57301‐3425
PALACE MOTORS, INC.              JOHN KRANZ                       219 E 1ST AVE                                                      MITCHELL            SD 57301‐3425
PALACE SPORTS & ENTERTAINMENT    2 CHAMPIONSHIP DR                                                                                   AUBURN HILLS        MI 48326‐1753
PALACE, WILLIAM W                3281 WILDWOOD RD                                                                                    HOLLY               MI 48442‐8725
PALACEO, JAMES A                 2907 E 136TH ST                  APT 5                                                              CARMEL              IN 46033
PALACH, ELMER H                  20540 ALEXANDER ST                                                                                  ST CLAIR SHRS       MI 48081‐1783
PALACHE, DAHLIA                  16025 NELADALE RD                                                                                   E CLEVELAND         OH 44112‐2207
PALACIO, CARLOS A                345 W WILDWOOD AVE                                                                                  FORT WAYNE          IN 46807‐1930
PALACIO, FIDENCIO                2001 PATTENGILL AVE                                                                                 LANSING             MI 48910‐2624
PALACIO, FRANCISCO J             2456 LYONS RD.                                                                                      OWOSSO              MI 48867
PALACIO, LINDA LOU               2228 MONACO ST                                                                                      FLINT               MI 48532‐4426
PALACIO, PEDRO O                 11138 COLLETT AVE                                                                                   GRANADA HILLS       CA 91344‐3808
PALACIO, RAFAELA M               36612 LAKEWOOD DRIVE                                                                                NEWARK              CA 94560‐2675
PALACIOS & ASOCIADOS / SERCOMI   5A AVENIDA 5‐55 ZANA 14 EDIFIC   EUROPLAZA TORRE1 15 NIVEL OFFI              GUATEMALA 1501
                                                                                                              GUATEMALA
PALACIOS PATRICIA                APT 7103                         1390 SANTA ALICIA AVENUE                                           CHULA VISTA        CA    91913‐1870
PALACIOS RAYMOND                 BRAVO CADILLAC‐HUMMER            6555 MONTANA AVE                                                   EL PASO            TX    79925‐2128
PALACIOS USVALDO                 PALACIOS, USVALDO                13106 GREENWOOD AVE                                                BLUE ISLAND        IL    60406
PALACIOS, ADRIAN R               442 W 31ST ST                                                                                       CHICAGO            IL    60616‐3136
PALACIOS, ANGEL A                1580 UPLAND AVE                                                                                     PAHRUMP            NV    89048‐2756
PALACIOS, BELEN L                2678 SHADOW BLUFF DR NE                                                                             MARIETTA           GA    30062‐2568
PALACIOS, EDGARDO                CALLE 5 #172                                                                                        FLAMINGO HILLS     PR    00957
PALACIOS, ESTEBAN NERI
PALACIOS, FRANCISCO              224 WHITTEMORE ST                                                                                   PONTIAC            MI 48342‐3070
PALACIOS, FRANCISCO V            PO BOX 515                                                                                          OLIVET             MI 49076‐0515
PALACIOS, GEORGE                 2999 HOSTETTER RD                                                                                   SAN JOSE           CA 95132‐1716
PALACIOS, GREGORIO NERI
PALACIOS, ISABEL                 1316 FULLER AVE                                                                                     JOLIET              IL 60432‐1118
PALACIOS, JEANINE E              908 MAPLE ST                                                                                        EATON RAPIDS        MI 48827‐1838
PALACIOS, JESS                   41706 N CONGRESSIONAL DR                                                                            ANTHEM              AZ 85086‐1900
PALACIOS, LILLIANA
PALACIOS, MAGALY                 RUBENSTEIN ROBERT LAW OFFICES    9350 SOUTH DIXIE HIGHWAY STE                                       MIAMI               FL   33156
                                                                  1110
PALACIOS, MARGARET A             8427 REDBROOK DR                                                                                    HOUSTON            TX    77089‐2389
PALACIOS, MARIA E                1108 CAVALRY ST                                                                                     DETROIT            MI    48209‐2345
PALACIOS, MARIA GLORIA           1419 GARDEN DR                                                                                      MISSION            TX    78572‐6567
PALACIOS, MARIA GLORIA           1419 GARDEN DRIVE                                                                                   MISSION            TX    78572
PALACIOS, MAXIMINO               10670 KINGSLAND HWY                                                                                 EATON RAPIDS       MI    48827‐9325
PALACIOS, USVALDO                14149 S WESTERN STREET LOT 543                                                                      HARVEY             IL    60426
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PALACIOS, VILIA BERNABE
PALACIOS, WILLIAM N                    8506 IRISH RD                                                                              GRAND BLANC        MI 48439‐7423
PALADIN CHEVROLET, INC.                PAUL SANSONE                      680 PFEIFFER BLVD                                        PERTH AMBOY        NJ 08861‐2335
PALADIN CHEVROLET, INC./MOTORS FLEET   680 PFEIFFER BLVD                                                                          PERTH AMBOY        NJ 08861‐2335

PALADIN, DIANE B                       3051 WILLET AVE                                                                            ROCHESTER HLS     MI    48309‐3538
PALADINO JUANITA                       PALADINO, JUANITA                 89 N HADDON AVE                                          HADDONFIELD       NJ    08033‐2423
PALADINO, ANDREW J                     8116 OATKA TRL                                                                             LE ROY            NY    14482‐9103
PALADINO, BART                         7200 HATCHERY RD                                                                           WATERFORD         MI    48327‐1016
PALADINO, DAVID M                      7274 SPY GLASS LN                                                                          YPSILANTI         MI    48197‐6240
PALADINO, DAVID MARC                   7274 SPY GLASS LN                                                                          YPSILANTI         MI    48197‐6240
PALADINO, DEBORAH A                    3117 BRADFORD CT                                                                           MILFORD           MI    48380‐2034
PALADINO, DOMENIC J                    34 EDGEWOOD AVE                                                                            KENMORE           NY    14223‐2802
PALADINO, DONNA M                      465 LEICESTER RD                                                                           CALEDONIA         NY    14423‐9607
PALADINO, FRANCIS L                    1330 RUNNING BROOK DR                                                                      PERRYSBURG        OH    43551‐1888
PALADINO, JAMES J                      50355 W HURON RIVER DR                                                                     BELLEVILLE        MI    48111‐4403
PALADINO, JERRY                        25 ALTO AVE                                                                                PORT CHESTER      NY    10573‐5301
PALADINO, MARTHA                       1330 RUNNING BROOK DR                                                                      PERRYSBURG        OH    43551‐1888
PALADINO, MICHAEL                      2700 W WALTON BLVD                                                                         WATERFORD         MI    48329‐4446
PALADINO, NICOLA                       8130 KENWICK ST                                                                            WHITE LAKE        MI    48386‐4328
PALADUGU, SAILAJA                      24939 BLOOMFIELD CT                                                                        NOVI              MI    48375‐5704
PALAFOX ESMERALDA                      PALAFOX, ESMERALDA                5055 WILSHIRE BLVD STE 300                               LOS ANGELES       CA    90036‐6101
PALAFOX, DANIEL
PALAFOX, ESMERALDA                     KROHN & MOSS ‐ CA,                5055 WILSHIRE BLVD STE 300                               LOS ANGELES       CA    90036‐6101
PALAFOX, VALDEMAR                      148 OPAL AVE                                                                               REDWOOD CITY      CA    94062‐2140
PALAGANAS, ROGELIO                     2478 PARCELLS CIR                                                                          BLOOMFIELD        MI    48302‐0453
PALAGONIA JOSEPH (460746)              WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                          NEW YORK          NY    10038
PALAGONIA, JOSEPH                      WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                          NEW YORK          NY    10038
PALAGYI, BESSIE                        1451 WESTBURY DR                                                                           DAVISON           MI    48423‐8348
PALAIA, ELIZABETH R                    135 LEXINGTON STREET                                                                       BRISTOL           CT    06010‐3649
PALAIAN, ARTHUR                        8101 OLDER LN                                                                              FENTON            MI    48430‐9391
PALAIMA, HUBERTHA J                    8930 W 98TH PL                                                                             PALOS HILLS       IL    60465‐1023
PALALU MIKESELL                        369 SEPTEMBER FALLS DR                                                                     REEDS SPRING      MO    65737‐7426
PALAMA, BERNADETTE R                   3215 NICHOLSON RD                                                                          FRANKSVILLE       WI    53126‐9204
PALAMARCHUK, THEODOSIJA                2432 BOTSFORD                                                                              HAMTRAMCK         MI    48212
PALAMARO, THELMA                       1 SWEET PEA LN                                                                             LANGHORNE         PA    19047‐3417
PALAN, EUGENE R                        469 N GRANT AVE                                                                            JANESVILLE        WI    53548‐3431
PALAN, KYLE M                          3509 W CIRCLE DR‐57                                                                        COLUMBIA CITY     IN    46725‐9422
PALAN, KYLE MICHAEL                    3509 W CIRCLE DR‐57                                                                        COLUMBIA CITY     IN    46725‐9422
PALAN, MATTHEW G                       2211 MINERAL POINT AVE                                                                     JANESVILLE        WI    53548‐2735
PALAN, MICHAEL F                       3509 W CIRCLE DR‐57                                                                        COLUMBIA CITY     IN    46725‐9422
PALAN, RANDALL W                       2211 MINERAL POINT AVE                                                                     JANESVILLE        WI    53548‐2735
PALANCK, RICHARD                       5136 N MENARD AVE                                                                          CHICAGO           IL    60630‐4613
PALANGE, GROWALDA F                    3103 SANDPIPER LN APT D                                                                    KISSIMMEE         FL    34741‐5221
PALANGE, JOSEPH L                      1250 ETHEL AVE                                                                             LAKEWOOD          OH    44107‐2320
PALANIAPPAN, MEENAKSHI                 4101 BALFOUR AVE                                                                           OAKLAND           CA    94610‐1752
PALANIAPPAN, PRABHAKAR                 982 MOUNTAINSIDE DR                                                                        LAKE ORION        MI    48362‐3471
PALANIAPPAN, SWAMI                     3938 FAIRFAX DR                                                                            TROY              MI    48083‐6410
PALANICA, RUTH S                       5940 MARSAILLES CT                                                                         CHARLOTTE         NC    28277‐2595
PALANISAMY, PONNUSAMY                  133 CLAREMONT DR                                                                           LANSDALE          PA    19446‐6357
PALANISWAMY, SURESH K                  4164 COLORADO LN                                                                           WEST BLOOMFIELD   MI    48322‐4421
PALANSKY, VIRGINIA A                   3800 GLENDENNING RD                                                                        DOWNERS GROVE     IL    60515‐1524
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Name                          Address1                       Address2            Address3         Address4         City                 State Zip
PALANZI, LORRAINE E           1525 HIGHLAND ST                                                                     HOLLISTON             MA 01746‐2649
PALARDY, DANA P               2070 COATS BEND CIR                                                                  GADSDEN               AL 35901‐6161
PALARDY, MARGARET E           207 STONEBROOKE CT                                                                   ROYAL OAK             MI 48067‐3279
PALARDY, THOMAS M             369 N POPLAR ST                                                                      PORT CLINTON          OH 43452‐1520
PALASEK, BONNIE B             90 LYNN DR                                                                           MANSFIELD             OH 44906‐2341
PALASEK, BONNIE B             90 LYNN DRIVE                                                                        MANSFIELD             OH 44906‐2341
PALASEK, THOMAS C             7586 PHEASANT RUN DR                                                                 HUDSONVILLE           MI 49426‐9153
PALASEK‐DUNN, JANIS M.        1065 LINWOOD PL                                                                      MANSFIELD             OH 44906‐2924
PALASICK, CHARLES
PALASIK SR, JOHN F            16 BLADEN RD                                                                         BALTIMORE            MD   21221‐3721
PALASIK, DANIEL               30642 QUINKERT ST                                                                    ROSEVILLE            MI   48066‐1646
PALASIO, SILVERIO M           455 E OLIVER ST                                                                      CORUNNA              MI   48817‐1766
PALASOX FELIX, MIGUEL         629 N MESA DR CONDO 32                                                               MESA                 AZ   85201‐5111
PALASOX FELIX, MIGUEL         629 N MESA DR APT 32                                                                 MESA                 AZ   85201‐5118
PALASTA, JOSEPH L             316 TONER ST                                                                         LATROBE              PA   15650‐1151
PALASTY, ILA W                10061 MAPLE RD.                                                                      BIRCH RUN            MI   48415‐8416
PALASTY, ILA W                10061 MAPLE RD                                                                       BIRCH RUN            MI   48415‐8416
PALASTY, JAMES P              28722 SQUIRE DR                                                                      CHESTERFIELD         MI   48047‐3786
PALASZEWSKI, ALFRED H         72 OLDE STONE LN                                                                     LANCASTER            NY   14086‐2664
PALASZEWSKI, CHESTER B        13749 ABBEY CT                                                                       STERLING HEIGHTS     MI   48312‐4101
PALASZEWSKI, DAVID G          9 SHADYSIDE LN                                                                       LANCASTER            NY   14086‐1157
PALASZEWSKI, EDWARD W         21721 YALE ST                                                                        SAINT CLAIR SHORES   MI   48081‐2802
PALASZYNSKI JOHN G (413090)   WEITZ & LUXENBERG              180 MAIDEN LANE                                       NEW YORK             NY   10038
PALASZYNSKI, JOHN G           WEITZ & LUXENBERG              180 MAIDEN LANE                                       NEW YORK             NY   10038
PALATAS, MARIE N              1568 HORTON PLACE                                                                    COLUMBUS             OH   43228‐7079
PALATINE SHELL SERVICE        7 E PALATINE RD                                                                      PALATINE             IL   60067‐5107
PALATKA, KATHERINE M          3675 MASON RD                                                                        HOWELL               MI   48843‐8995
PALATKA, RICHARD              3675 MASON RD                                                                        HOWELL               MI   48843‐8995
PALATKA, RICHARD J            180 ELIZABETH DR                                                                     OWOSSO               MI   48867‐9062
PALATKA, RICHARD J            3675 MASON RD                                                                        HOWELL               MI   48843‐8995
PALATKA, SEAN                 4454 KLAIS DR                                                                        CLARKSTON            MI   48348‐2372
PALAU, MIGUEL                 36‐06 213TH STREET                                                                   BAYSIDE              NY   11361
PALAWSKI, ANNA H              6167 GRACE K                                                                         WATERFORD            MI   48329‐1328
PALAWSKI, ANNA H              6167 GRACE K DR                                                                      WATERFORD            MI   48329‐1328
PALAWSKI, IRENE B             8430 BELLECHASSE COURT                                                               DAVISON              MI   48423‐2109
PALAY, KPAKU S                3402 MICHIGAN AVE                                                                    DALLAS               TX   75216
PALAZEY, CATHERINE            35 COLONIAL LAKE DR                                                                  LAWRENCEVILLE        NJ   08648‐4108
PALAZZO DI BOCCE              4291 S LAPEER RD                                                                     LAKE ORION           MI   48359‐1834
PALAZZO, ARTURO               4418 VAN CORTLANDT PARK E                                                            BRONX                NY   10470‐1868
PALAZZO, CARLO                4920 SIGMOND DR APT 1504                                                             ARLINGTON            TX   76017‐0802
PALAZZO, KATHLEEN S           3410 NORA ST                                                                         CLARK                PA   16113
PALAZZO, TONY                 262 TIMBER TRL                                                                       EAST HARTFORD        CT   06118‐3584
PALAZZOLA, MICHAEL D          PO BOX 478                                                                           MEMPHIS              MI   48041‐0478
PALAZZOLA, MICHAEL D.         PO BOX 478                                                                           MEMPHIS              MI   48041‐0478
PALAZZOLA, REBECCA A          15921 FLANAGAN ST                                                                    ROSEVILLE            MI   48066‐1491
PALAZZOLO TERRY A             6904 RIVERS EDGE LN                                                                  MIDDLEVILLE          MI   49333‐8138
PALAZZOLO, ALFONSA            1135 OAKMONTE BLVD                                                                   WEBSTER              NY   14580‐7208
PALAZZOLO, ANTHONY J          25700 HARMON ST                                                                      ST CLAIR SHRS        MI   48081‐3344
PALAZZOLO, BARBARA L          410 S NORMA ST                                                                       WESTLAND             MI   48186‐3886
PALAZZOLO, CYNTHIA R          4961 PYLES RD                                                                        CHAPEL HILL          TN   37034‐2665
PALAZZOLO, FRANCIS B          1602 8TH ST                                                                          WYANDOTTE            MI   48192‐3316
PALAZZOLO, GIACOMO            12873 S MILL RD                                                                      PALOS PARK           IL   60464‐1648
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PALAZZOLO, HELEN E            4269 SMITHFIELD                                                                               ST LOUIS         MO 63134‐2610
PALAZZOLO, JOHN N             504 S HAWTHORNE ST                                                                            WESTLAND         MI 48186‐4514
PALAZZOLO, JOSEPH A           5810 HAAHEO ST                                                                                KAPAA            HI 96746‐9648
PALAZZOLO, LAURIE A           32040 GRAND RIVER AVE             UNIT 47                                                     FARMINGTON       MI 48336‐4162
PALAZZOLO, MICHAEL            32738 GREENWOOD DR                                                                            CHESTERFIELD     MI 48047‐2734
PALAZZOLO, MICHELE LYNN       5241 BABBIT DR                                                                                TROY             MI 48085‐3463
PALAZZOLO, MINNIE M           22812 COACHLIGHT CIRCLE                                                                       TAYLOR           MI 48180‐6398
PALAZZOLO, NORINE E           20708 DELTA DR                                                                                GAITHERSBURG     MD 20882
PALAZZOLO, SALVATORE          4961 PYLES RD                                                                                 CHAPEL HILL      TN 37034‐2665
PALAZZOLO, SHARON M           3220 N WILSON AVE                                                                             ROYAL OAK        MI 48073‐3581
PALAZZOLO, STEVEN D           25760 LIRA LN                                                                                 WARREN           MI 48089‐6264
PALAZZOLO, TERRY A            6904 RIVERS EDGE LN                                                                           MIDDLEVILLE      MI 49333‐8138
PALAZZOLO, THERESA            529 S SHORE DR                                                                                CALEDONIA        MI 49316‐9614
PALAZZOLO, THERESA P          529 S SHORE DR                                                                                CALEDONIA        MI 49316‐9614
PALCAM                        1300 RINGWELL DRIVE                                                    NEWMARKET CANADA ON
                                                                                                     L3Y 9C7 CANADA
PALCAM TECHNOLOGIES LTD       1303 RINGWELL DR                                                       NEWMARKET ON L3Y 8T9
                                                                                                     CANADA
PALCHANES, THOMAS             209 ODD FELLOWS RD                                                                            PEMBERTON       NJ   08068‐1405
PALCIC, RICHARD F             830 BRUNELLOS AVE                                                                             LAS VEGAS       NV   89123‐5861
PALCICH, ANN C                235 GLASGOW PL                                                                                LANCASTER       OH   43130‐1481
PALCICH, ANN C                235 GLASGOW PLACE                                                                             LANCASTER       OH   43130‐1481
PALCICH, STEVEN A             2243 CLEARVIEW AVE NW                                                                         WARREN          OH   44483‐1335
PALCISCO, GARRY J             5686 OAK HILL DRIVE NORTHWEST                                                                 WARREN          OH   44481‐9020
PALCISKO, ANTHONY A           132 LAWNDALE BOULEVARD                                                                        FRANKFORT       IL   60423‐3123
PALCISKO, JANE C              4199 WEST 144TH                                                                               CLEVELAND       OH   44135‐2053
PALCISKO, JANE C              4199 W 144TH ST                                                                               CLEVELAND       OH   44135‐2053
PALCOVICH JOSEPH E (495064)   EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                     NEW YORK        NY   10017‐6530
PALCOVICH, JOSEPH E           EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                     NEW YORK        NY   10017‐6530
PALCOWSKI, JERRY S            6230 FISHER LN                                                                                GREENDALE       WI   53129‐2126
PALCSAK, BRIAN J              9757 LYDIA DR                                                                                 SAINT HELEN     MI   48656‐9518
PALCZAK, FRANK P              268 HOPKINS RD                                                                                BUFFALO         NY   14221‐3436
PALCZEWSKI, ROBERT J          1768 WOODHURST DR                                                                             DEFIANCE        OH   43512‐3444
PALCZEWSKI, ROBERT JOSEPH     162 LAKEWOODS CT                                                                              BLOOMINGDALE    IL   60108‐1204
PALCZEWSKI, SHEILA J          1768 WOODHURST DR                                                                             DEFIANCE        OH   43512‐3444
PALCZEWSKI, WALTER T          109 ELKHART ST                                                                                LACKAWANNA      NY   14218‐3145
PALCZYK, JOAN E               5 SHANBROOK DR                                                                                ROCHESTER       NY   14612‐3067
PALCZYK, KATHARINA            256 OLDE HARBOUR TRAIL                                                                        ROCHESTER       NY   14612‐2928
PALCZYK, STANISLAW            256 OLDE HARBOUR TRL                                                                          ROCHESTER       NY   14612‐2928
PALE JR, RUDOLPH A            1501 RIVER RD APT 202                                                                         SAINT CLAIR     MI   48079‐3539
PALECEK, CAROL J              6130 TWIN OAK DR                                                                              GREENDALE       WI   53129‐2662
PALECEK, MICHAEL J            4264 HASTINGS DR                                                                              GRAND BLANC     MI   48439‐8087
PALECEK, STEVEN R             8844 S CHICAGO RD                                                                             OAK CREEK       WI   53154‐4214
PALECKI, MARILYN SUSANNE      PO BOX 194                                                                                    EMMETT          MI   48022‐0194
PALEDINO, RAYMOND             5968 STATE ROAD 37                                                                            MITCHELL        IN   47446‐5379
PALEJCZYK JR, HENRY M         870 PROVINCE LINE RD                                                                          ALLENTOWN       NJ   08501‐1209
PALEJCZYK, DOROTHY A          PO BOX 389                                                                                    POCONO SUMMIT   PA   18346‐0389
PALEJCZYK, DOROTHY A          CRESTVIEW APARTMENTS              APT 7 ROUTE 390                                             CRESCO          PA   18026
PALEJCZYK, ELEANOR B          742 INDIANA AVE                                                                               TRENTON         NJ   08638‐3918
PALEK, JERRY R                5401 E RANGER RD                                                                              ASHLEY          MI   48806‐9708
PALEKAR                       436 EAST RIVER STREET                                                                         ELYRIA          OH   44035
PALEKAR,SANJAY                436 E RIVER ST                                                                                ELYRIA          OH   44035
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Name                               Address1                           Address2                           Address3   Address4                 City              State Zip
PALELLA GIUSEPPE                   VIA MODUGNO 28                                                                   70128 PALESE‐BARI (BA)
                                                                                                                    ITALY
PALELLA, BETTIE J                  119W 27TH STREET                                                                                          LORAIN            OH    44052
PALELLA, FRANCIS                   GORI JULIAN & ASSOCIATES PC        156 N MAIN ST                                                          EDWARDSVILLE      IL    62025
PALEMBAS, JOHN T                   6784 S MORRICE RD                                                                                         OWOSSO            MI    48867‐9722
PALEMON MEDINA                     4595 BROCKWAY RD                                                                                          SAGINAW           MI    48638‐4662
PALEMON MEDINA JR                  4595 BROCKWAY RD                                                                                          SAGINAW           MI    48638‐4662
PALEN, RUTH E                      2407 PHILLIPS RD                                                                                          AUBURN HILLS      MI    48326‐2452
PALEN, RUTH E                      2407 PHILLIPS DR                                                                                          AUBURN HILLS      MI    48326‐2505
PALENCSAR IOZSEF ATTILA            2626 N MORELAND BLVD APT 25                                                                               CLEVELAND         OH    44120‐1477
PALENO, ROLAND R                   14741 WICKFORD CT                  SITE 209 B                                                             SHELBY TWP        MI    48315‐3733
PALENSHUS‐TRACHSEL, ARLENE         100 WILLOW BROOK WAY S APT 3018                                                                           DELAWARE          OH    43015‐3248
PALENSKI, RUDOLPH J                411 BENTLEY PL                                                                                            TUCKER            GA    30084‐2180
PALENTYN, GUNTHER H                465 THOMAS CT                                                                                             GRAND BLANC       MI    48439
PALENTYN, HEINZ G                  6091 COLD SPRING TRL                                                                                      GRAND BLANC       MI    48439‐7923
PALENTYN, THOMAS H                 2344 NOLEN DR                                                                                             FLINT             MI    48504
PALERMINO, ANDREW N                5305 RIVER RIDGE DR 123                                                                                   LANSING           MI    48917
PALERMO ANTHONY                    4233 HIGHWAY 27                                                                                           DEQUINCY          LA    70633
PALERMO ANTHONY (428318)           COHAN LAWRENCE R                   1900 DELANCEY PLACE , 1710                                             PHILADELPHIA      PA    19103
                                                                      SPRUCE ST
PALERMO ANTHONY J JR               PALERMO, ANTHONY J                 400 EAST KALISTE SALOOM ROAD ‐                                         LAFAYETTE          LA   70508
                                                                      SUITE 3250 ‐ P O BOX 52110
PALERMO ANTHONY J JR               PALERMO CONSTRUCTION COMPANY INC   400 EAST KALISTE SALOOM ROAD ‐                                         LAFAYETTE          LA   70508
                                                                      SUITE 3250 ‐ P O BOX 52110
PALERMO ANTHONY J JR               PALERMO, DANIELLE S                400 EAST KALISTE SALOOM ROAD ‐                                         LAFAYETTE          LA   70508
                                                                      SUITE 3250 ‐ P O BOX 52110
PALERMO CONSTRUCTION COMPANY INC   DENTON AUBREY E                    400 EAST KALISTE SALOOM ROAD ‐                                         LAFAYETTE          LA   70505‐2110
                                                                      SUITE 3250 ‐ P O BOX 52110
PALERMO JR, THOMAS M               6108 SILVER LAKES DR E                                                                                    LAKELAND          FL 33810‐7412
PALERMO PASQUALE A (ESTATE OF)     THORNTON EARLY & NAUMES            100 SUMMER ST LBBY 3                                                   BOSTON            MA 02110‐2104
(508500)
PALERMO, ALFRED S                  8670 CEDAR HAMMOCK CIR APT 231                                                                            NAPLES             FL 34112‐3335
PALERMO, ANTHONY                   COHAN LAWRENCE R                   1900 DELANCEY PLACE, 1710 SPRUCE                                       PHILADELPHIA       PA 19103
                                                                      ST
PALERMO, ANTHONY                   4233 HIGHWAY 27                                                                                           DEQUINCY           LA   70633‐5306
PALERMO, ANTHONY H                 6 FLAMINGO CIR                                                                                            ROCHESTER          NY   14624‐2206
PALERMO, ANTHONY J                 3632 MELVIN DR S                                                                                          BALDWINSVILLE      NY   13027‐9233
PALERMO, ANTHONY J                 DENTON AUBREY E                    400 EAST KALISTE SALOOM ROAD ‐                                         LAFAYETTE          LA   70505‐2110
                                                                      SUITE 3250 ‐ P O BOX 52110
PALERMO, ANTHONY J                 49 W CREST DR                                                                                             ROCHESTER          NY   14606‐4711
PALERMO, CAROLYN A                 2 FAIRVALE DR                                                                                             PENFIELD           NY   14526‐2831
PALERMO, CHARLOTTE L               2329 SOUTH LAKE DR CONDO 211                                                                              TAMPA              FL   33612
PALERMO, DANIEL M                  7765 LOCKLIN                                                                                              WEST BLOOMFIELD    MI   48324‐3515
PALERMO, DANIELLE S                DENTON AUBREY E                    400 EAST KALISTE SALOOM ROAD ‐                                         LAFAYETTE          LA   70505‐2110
                                                                      SUITE 3250 ‐ P O BOX 52110
PALERMO, ELMA H                    3562 GAZELLA CIR                                                                                          FAYETTEVILLE      NC    28303‐5837
PALERMO, ESTHER H                  8670 CEDAR HAMMOCK CIR APT 231                                                                            NAPLES            FL    34112‐3335
PALERMO, FRANK L                   16291 POWERLINE RD                                                                                        HOLLEY            NY    14470‐9000
PALERMO, GARY S                    214 ANDREWS ST APT 5B                                                                                     ROCHESTER         NY    14604‐1143
PALERMO, GEORGE V                  8 BRIELLE RD                                                                                              NORTH GRAFTON     MA    01536
PALERMO, GLORIA                    151 QUEBEC ST                                                                                             LOWELL            MA    01852‐4539
PALERMO, JOSEPH R                  1335 PHEASANT CT                                                                                          BOARDMAN          OH    44512‐4095
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PALERMO, MARCIA J        145 ROXWOOD DR                                                                         ROCHESTER              NY 14612‐3053
PALERMO, MARGARET C      1026 B GREENLEAF ROAD                                                                  ROCHESTER              NY 14612‐1963
PALERMO, MARGARET C      1026B GREENLEAF RD                                                                     ROCHESTER              NY 14612‐1963
PALERMO, MARIA C         5 SUITE VIEW DRIVE                                                                     FAIRPORT               NY 14550
PALERMO, MARIE           629 SE 19TH AVE APT 204                                                                DEERFIELD BEACH        FL 33441
PALERMO, MARILYN G       3066 TOWN CENTER RD                                                                    BALDWINSVILLE          NY 13027‐9100
PALERMO, MARY C          192 OLDE HARBOUR TRL                                                                   ROCHESTER              NY 14612‐2935
PALERMO, MARY R          37917 POINTE ROSA ST                                                                   HARRISON TOWNSHIP      MI 48045‐2756
PALERMO, MATTHEW         327 WHITTIER RD                                                                        SPENCERPORT            NY 14559‐2257
PALERMO, MICHAEL F       22 ROBBIN CRES                                                                         ROCHESTER              NY 14624‐1038
PALERMO, MICHAEL T       166 JAMESTOWN TER                                                                      ROCHESTER              NY 14615‐1120
PALERMO, MILDRED         33 ARDMORE PLACE                                                                       BUFFALO                NY 14213‐1447
PALERMO, MILDRED         33 ARDMORE PL                                                                          BUFFALO                NY 14213‐1447
PALERMO, PASQUALE A      THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                   BOSTON                 MA 02110‐2104
PALERMO, PATSY           5159 SUNSET TERRACE                                                                    BATAVIA                NY 14020‐1166
PALERMO, PETER M         22447 YATES AVE                                                                        SAUK VILLAGE            IL 60411‐5616
PALERMO, RACHEL O        1229 VERMONT AVE                                                                       CAPE MAY               NJ 08204‐2674
PALERMO, RICHARD L       3124 MILANO APT C                                                                      ONTARIO                CA 91761‐0429
PALERMO, ROBERTA J       3124 MILANO APT C                                                                      ONTARIO                CA 91761‐0429
PALERMO, RONALD M        87 LARKINS XING                                                                        ROCHESTER              NY 14612‐2727
PALERMO, SAM V           19288 LIBERTY RD                                                                       BOCA RATON             FL 33434‐2643
PALERMO, THOMAS F        458 KENWOOD DR                                                                         LEWISTON               NY 14092‐1029
PALERMO, VINCENT A       280 MASCOT DR                                                                          ROCHESTER              NY 14626‐1706
PALERMO, VINCENT G       37 JOHNSON RD                                                                          SUTTON                 MA 01590
PALERMO, VINCENT J       4383 S ROYAL LYTHAM CT                                                                 GREEN VALLEY           AZ 85622‐5636
PALESE, RUSSELL W        2240 S GRACE ST APT 106                                                                LOMBARD                 IL 60148‐5558
PALESE‐PARIS, MARIAN J   20 BRIAN DR                                                                            ROCHESTER              NY 14624‐3620
PALESKY, ALICE           156 HIGH ST                                                                            PISCATAWAY             NJ 08854‐2736
PALESTINE BLACK          1013 NW 166TH ST                                                                       EDMOND                 OK 73012‐6805
PALESTINE HENDERSON      704 EMERSON AVE                                                                        PONTIAC                MI 48340‐3219
PALESTINE TURNER         9806 SNOWSTAR PL                                                                       FORT WAYNE             IN 46835‐9390
PALESTRO LINDA           PALESTRO, LINDA                 3 SUMMIT PARK DR STE 100                               INDEPENDENCE           OH 44131‐2598
PALESTRO, LINDA          KROHN & MOSS                    3 SUMMIT PARK DR STE 100                               INDEPENDENCE           OH 44131‐2598
PALETHORPE, JOY A        12402 W GINGER DR                                                                      SUN CITY WEST          AZ 85375‐4209
PALETTA, ELSIE M         2 VAN RENSSALAER RD                                                                    KATONAH                NY 10536‐3201
PALETTE, LORETTA J       BX. 8484 RT. 193                                                                       FARMDALE               OH 44417
PALETTE, ROBERT D        6175 THOMPSON CLARK ROAD                                                               BRISTOLVILLE           OH 44402‐9787
PALETTE, WILBERT F       4102 WARREN‐SHARON RD.                                                                 VIENNA                 OH 44473‐9524
PALETTE, WILBERT F       4102 WARREN SHARON RD                                                                  VIENNA                 OH 44473‐9524
PALETTI USA              119 KEYSTONE DR                                                                        MONTGOMERYVILLE        PA 18936‐9638
PALETTI USA LLC          119 KEYSTONE DR                                                                        MONTGOMERYVILLE        PA 18936‐9638
PALEWSKI, CRAIG
PALEWSKI, MEGAN
PALFALVI JR, FRANK J     60 W MICKEY MANTLE PATH                                                                HERNANDO              FL   34442‐5187
PALFFY RAOUL J           134 MEADOW LN                                                                          GROSSE POINTE FARMS   MI   48236‐3803
PALFI, DAVID A           8042 KATHRYN DR                                                                        AKRON                 NY   14001‐9620
PALFI, ELIZABETH M       8042 KATHRYN DR                                                                        AKRON                 NY   14001‐9620
PALFI, ELIZABETH MAE     8042 KATHRYN DR                                                                        AKRON                 NY   14001‐9620
PALFREEMAN, WAYNE R      1378 HIGHWAY DD                                                                        DEFIANCE              MO   63341‐1402
PALFREY, LORRAINE D      PO BOX 211                                                                             RUMNEY                NH   03266‐0211
PALFREY, ROBERT C        5857 CELEBRATION WAY                                                                   LEESBURG              FL   34748‐8387
PALFY, JOHN F            9801 SUNRISE BLVD UNIT 36                                                              N ROYALTON            OH   44133‐3461
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Name                      Address1                            Address2                          Address3   Address4                City                  State Zip
PALGUT, JONATHAN P        4506 HILLCREST AVE                                                                                       ROYAL OAK              MI 48073‐1792
PALGUT, TODD A            44809 GOVERNOR BRADFORD RD                                                                               PLYMOUTH               MI 48170‐3711
PALGUTA JOHN (491661)     CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                                CLEVELAND              OH 44113‐1328
                          COONE AND ASSOCIATES
PALIANI, ANGELA           ISIDORO PATRICA                                                                  FROSINONE ITALY 3010
PALIANI, ARTHUR M         4 DARLAP PL                                                                                              ROCHESTER             NY   14616‐4113
PALIANI, JOSEPH L         4340 OAK TREE TRL                                                                                        FENTON                MI   48430‐9162
PALIANI, JOSEPHINE L      ATTN FINANCE OFFICE                 JOSEPHINE L PALIANI                                                  ROCHESTER             NY   14621‐4621
PALIANI, LORETO           33 DREXEL DR                                                                                             ROCHESTER             NY   14606‐5305
PALIANI, PAUL A           3395 BLUETT RD                                                                                           ANN ARBOR             MI   48105‐1555
PALICA, HELEN             3621 MONO PLACE                                                                                          DAVIS                 CA   95618‐6046
PALICH, JOHN M            9015 DELIN THOMAS RD                                                                                     KINSMAN               OH   44428‐9544
PALICH, MARTIN L          3236 YORK ST                                                                                             FARMDALE              OH   44417‐9726
PALICKA JR, JOHN          9331 CLUBVIEW DR                                                                                         N HUNTINGDON          PA   15642‐3146
PALICKI JOHN              PALICKI, JOHN                       10085 CARROLL CANYON RD STE 100                                      SAN DIEGO             CA   92131‐1100

PALICKI, BETTY M.         3525 NAVARRE AVE APT E24                                                                                 OREGON                OH   43616‐3471
PALICKI, BETTY M.         3525 NAVARR AVE                     APT 24E                                                              ORGAN                 OH   43616
PALICKI, DAVID H          1960 N ERIE ST                                                                                           TOLEDO                OH   43611‐3737
PALICKI, JEFFREY A        22815 OLD US 2                                                                                           ASHLAND               WI   54806‐7606
PALICKI, JOHN             ROSNER & MANSFIELD LLP              10085 CARROLL CANYON RD STE 100                                      SAN DIEGO             CA   92131‐1100

PALICKI, KENNETH J        114 PINE ST                                                                                              PERRYSBURG            OH   43551‐1445
PALID, BARBARA            10599 TAMRYN BLVD                                                                                        HOLLY                 MI   48442‐8524
PALIDAR, PATRICIA A       4815 WINDFALL RD                                                                                         MEDINA                OH   44256‐8678
PALIEWICZ, HILDEGARD      4339 ELAINE CT                                                                                           SHELBY TOWNSHIP       MI   48316‐1121
PALIKAVAS JOHN (494071)   CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                                CLEVELAND             OH   44113‐1328
                          COONE AND ASSOCIATES
PALIKAVAS, JOHN           CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                                CLEVELAND             OH 44113‐1328
                          COONE AND ASSOCIATES
PALIN OY                  SATAKUNNANKATU, 38                                                               PORI 13 28130 FINLAND
PALIN OY                  MIKKOLANTIE 1                                                                    PORI 28100 FINLAND
PALIN, CLARENCE R         4307 W BUNKHOUSE RD                                                                                      TUCSON                AZ   85741
PALIN, CLARENCE R         4307 W BUNK HOUSE RD                                                                                     TUCSON                AZ   85741
PALIN, DAVID A            2707 EASTWOOD DR                                                                                         SANDUSKY              OH   44870‐5630
PALIN, NANCY B            2707 EASTWOOD DR                                                                                         SANDUSKY              OH   44870‐5630
PALIN, SYLVESTER D        594 E MANSFIELD AVE                                                                                      PONTIAC               MI   48340‐2942
PALIN, SYLVESTER H        820 HOBERT AVE                                                                                           PLAINFIELD            NJ   07063‐1520
PALIN, WALTER R           935 SHERIDAN AVE                                                                                         ROSELLE               NJ   07203‐2241
PALINCZAR, IRMA           1513 CHESTNUT AVE                                                                                        TRENTON               NJ   08611
PALING, HILDA M           151 S MAPLELEAF RD                                                                                       LAPEER                MI   48446‐3511
PALING, RODNEY R          4292 MARTON RD                                                                                           KINGSTON              MI   48741‐9779
PALING, STEVEN W          1098 LAKE PARK DR                                                                                        GRAND BLANC           MI   48439
PALING, WILLIAM R         G9050 WEBSTER RD                                                                                         CLIO                  MI   48420
PALINKAS, AUDREY J        255 WILLIAMS BR APT 10B                                                                                  WITTENSVILLE          KY   41274‐9033
PALINKO, RICHARD N        2 PALENCIA LN                                                                                            HOT SPRINGS VILLAGE   AR   71909‐3314
PALINSKI, WITOLD J        55238 RHINE AVE                                                                                          MACOMB                MI   48042‐6190
PALINSKY, CURTIS A        8499 N SEYMOUR RD                                                                                        FLUSHING              MI   48433‐9266
PALINSKY, GARY C          2858 E BOOTH RD                                                                                          AU GRES               MI   48703‐9533
PALINSKY, JAMES L         3426 STEELE ST                                                                                           MCKEESPORT            PA   15132‐5511
PALINSKY, JOSEPH          106 SAN REMO DR                                                                                          EDGEWATER             FL   32141‐5848
PALINSKY‐HANSON, MARY P   11304 EASTON RD                                                                                          NEW LOTHROP           MI   48460‐9760
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Name                             Address1                        Address2            Address3         Address4         City               State Zip
PALIOBEIS, IRINI M               35900 JENNIE LN                                                                       WILLOUGHBY HILLS    OH 44094‐9604
PALIOBEIS, JOHN                  12795 GREENBRIER DR                                                                   CHARDON             OH 44024‐9041
PALIOKAS, EDWARD E               11427 DEEP CREEK DR                                                                   SPRING HILL         FL 34609‐4728
PALIPCHAK, JOHN                  326 SUNNYSIDE RD                                                                      NEW CASTLE          PA 16102‐3324
PALIS, KIRK D                    PO BOX 217                                                                            RINCON              GA 31326‐0217
PALIS, SHARON L                  128 LAKEWOOD DR                                                                       GUYTON              GA 31312‐6561
PALISADE RES/SEATTLE             2601 W. MARINA PLACE                                                                  SEATTLE             WA 98199
PALISADES                        334 ROUTE 9W                                                                          PALISADES           NY 10964‐1200
PALISADES COLLECTION             PO BOX 42465                                                                          CINCINNATI          OH 45242‐0465
PALISADES INTERSTATE PARK COMM                                   U.S. ROUTE 9W                                                             NJ 07620
PALISANO, JAMES G                321 FLAMINGO BLVD                                                                     PT CHARLOTTE        FL 33954‐2732
PALISANO, MARGARET A             321 FLAMINGO BLVD                                                                     PORT CHARLOTTE      FL 33954‐2732
PALISCA, MICHAEL A               6017 E MCKELLIPS RD # 101‐115                                                         MESA                AZ 85215
PALISE, BEVERLY J                1426 DIANA AVE                                                                        MADISON HTS         MI 48071‐2987
PALISE, HELEN                    37 MAIN BLVD                                                                          TRENTON             NJ 08618‐1542
PALIUS, SUSAN A                  492 MILLSTONE RIVER RD                                                                BELLE MEAD          NJ 08502‐5612
PALIVEC JR, RICHARD R            279 S FURLONG RD                                                                      LAURA               OH 45337‐9750
PALIWODA, CECELA F               PO BOX 955                      636 VINCENT DR/                                       PINCKNEY            MI 48169‐0955
PALIWODA, DAVID M                29916 BOILEAU DR                                                                      NOVI                MI 48377‐2108
PALIWODA, JOHN                   7323 MAPLEWOOD RD                                                                     PARMA               OH 44130‐3730
PALIZA, VIOLA M                  562 CHERRY                                                                            WESTLAND            MI 48186‐7310
PALK, BORDLEY O                  3021 MILLER RD                                                                        TABOR CITY          NC 28463
PALK, CHARLES E                  111 SITTING BULL DRIVE                                                                SARDINIA            OH 45171‐9220
PALK, DAVID W                    290 FARRINGTON ST                                                                     ALBA                TX 75410‐4005
PALK, DAVID W                    141 COUNTY RD 2290              BOX 9                                                 GOLDEN              TX 75444‐5444
PALK, STANLEY C                  5884 W OAK GROVE RD                                                                   HERNANDO            MS 38632‐8519
PALKA, DOROTHY C                 4422 E COURT ST                                                                       BURTON              MI 48509‐1818
PALKA, DOROTHY C                 4422 E COURT                                                                          BURTON              MI 48509‐1818
PALKA, JAMES B                   666 W FERRY ST # 35                                                                   BUFFALO             NY 14222‐1606
PALKA, ROSE L                    201 E PERRY                                                                           DURAND              MI 48429‐1635
PALKA, ROSE L                    201 E PERRY ST                                                                        DURAND              MI 48429‐1635
PALKA, WILLIAM T                 108 GLENHAVEN DRIVE LEFT UNIT                                                         AMHERST             NY 14228
PALKER, ADAM T                   525 S CONWAY RD APT 123                                                               ORLANDO             FL 32807‐1149
PALKO, EILEEN                    39 FINCHLEY CT                                                                        SOUTHAMPTON         NJ 08088‐1006
PALKO, ELIZABETH A               128 FONTAINE CT                                                                       MONROE              NJ 08831‐5990
PALKO, ELIZABETH A               128 FONTAINE COURT                                                                    MONROE              NJ 08831
PALKO, GARY                      39 FINCHLEY CT                                                                        SOUTHAMPTON         NJ 08088‐1006
PALKO, HELEN                     PO BOX 509                                                                            CHESANING           MI 48616‐0509
PALKO, JOHN E                    21019 N DESERT SANDS DR D                                                             SUN CITY WEST       AZ 85375
PALKOSKI, BARBARA N              8192 WOODS TRL                                                                        WHITMORE LAKE       MI 48189‐9583
PALKOSKI, MITCHELL M             4681 HEMLOCK AVE                                                                      LAKE                MI 48632‐9243
PALKOVICH, VINCENT S             8124 S ALGONQUIAN CIR                                                                 AURORA              CO 80016‐7067
PALKOWITSH BRIAN                 PO BOX 646                                                                            ULYSSES             KS 67880‐0646
PALKOWSKY, DONNA                 2320 WEST 104TH PLACE                                                                 NORTHGLENN          CO 80234‐3642
PALKOWSKY, GLENN L               37 KELLIWOOD COURTS CIRCLE                                                            KATY                TX 77450‐8552
PALL AEROPOWER CORPORATION       5775 RIO VISTA DR                                                                     CLEARWATER          FL 33760‐3137
PALL TRINCOR                     7700 PENNSYLVANIA DR                                                                  EXTON               PA 19341
PALL, DONALD L                   14919 HANNAN RD                                                                       ROMULUS             MI 48174‐4735
PALL, JOHN S                     21928 HALL RD                                                                         WOODHAVEN           MI 48183‐1543
PALL, RACHEL L                   2849 SIKES LN                                                                         TWINSBURG           OH 44087‐2938
PALL, SEAN                       2849 SIKES LN                                                                         TWINSBURG           OH 44087‐2938
PALLA, DOROTHY M                 101 GREENWOOD DR                                                                      HAGERSTOWN          MD 21740‐6729
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Name                        Address1                            Address2                       Address3       Address4               City              State Zip
PALLA, JOHN                 C/GACAMAYO 14B.1‐7                  EL SOBRADILLO TENERIFE                        ISLAS CANARIAS SPAIN
PALLA, ROSALIA              115 HARMONY AVENUE                                                                                       LAWRENCEVILLE     NJ    08648‐4321
PALLACE U HARRELL           5900 BRIDGE RD APT 110                                                                                   YPSILANTI         MI    48197‐7010
PALLACH, RICHARD N          PO BOX 298                                                                                               STORY             WY    82842‐0298
PALLACH‐WOODY, SUSAN M      16089 SECRETARIAT AVE                                                                                    ROSEVILLE         MI    48066‐2338
PALLADA, THEODORE R         525 KENILWORTH LN                                                                                        GALVESTON         IN    46932‐9403
PALLADINO JENINE            PALLADINO, JENINE                   LENORD WEISS                   344 MAIN ST.                          METUCHEN          NJ    08840
PALLADINO SR, DOMINIC       312 BRYANT AVE                                                                                           OAKLYN            NJ    08107‐1104
PALLADINO, BERTHA F         782 N ORANGE ST                                                                                          RIVERSIDE         CA    92501
PALLADINO, DONALD C         323 EAGLETON CT                                                                                          MACEDONIA         OH    44056‐1775
PALLADINO, FRANKLIN M       11803 PERSUAISON STREET                                                                                  SAN ANTONIO       TX    78216
PALLADINO, JENINE           LENORD WEISS                        344 MAIN ST                                                          METUCHEN          NJ    08840‐2432
PALLADINO, JENINE
PALLADINO, JOHN             2965 SE 36TH ST                                                                                          OCALA             FL    34471‐6833
PALLADINO, VINCENT          4 BRIDGEWATER WAY                                                                                        POUGHKEEPSIE      NY    12601‐5962
PALLADINO, WILLIAM V        5 ANTHONY DR                                                                                             POUGHKEEPSIE      NY    12601‐5505
PALLAGI, ALEXANDER G        5377 WARWICK TRAIL DR                                                                                    GRAND BLANC       MI    48439
PALLAGI, DALMA              SO 82 W 13061 ACKER DRIVE                                                                                MUSKEGO           WI    53150
PALLAGI, SHAWN J            8393 MISTY MEADOWS DRIVE                                                                                 GRAND BLANC       MI    48439
PALLAGI, VICTOR Z           S85W30989 STONEGATE DR                                                                                   MUKWONAGO         WI    53149‐8824
PALLAGUT, JOYCE W           2624 ROBIN HOOD DR                                                                                       GREENSBORO        NC    27408‐3914
PALLAN, SANT R              4799 GLENBROOK ST                                                                                        SANTA BARBARA     CA    93110
PALLANTE, ANTHONY N         1411 RED OAK DR                                                                                          GIRARD            OH    44420‐1449
PALLANTE, RAYMOND           1403 RED OAK DR                                                                                          GIRARD            OH    44420‐1449
PALLANTI, FRED              39529 ROWAN CT                                                                                           PALMDALE          CA    93551‐4071
PALLANTI, ONORITA           39529 ROWAN CT                                                                                           PALMDALE          CA    93551‐4071
PALLARD, ROBERT L           36358B TEEGARDEN RD                                                                                      SALEM             OH    44460‐9452
PALLARD, STEPHEN R          36358 TEEGARDEN RD                                                                                       SALEM             OH    44460‐9452
PALLARDY, MICHAEL J         702 DUNCAN PL SE                                                                                         LEESBURG          VA    20175‐8986
PALLARDY, THOMAS J          100 CHAUCER CT                      WEST RIDGE GREEN                                                     ELYRIA            OH    44035‐4722
PALLARES, ERNESTO           10425 VIA APOLINA                                                                                        MORENO VALLEY     CA    92557‐2717
PALLARES, ERNESTO V         10425 VIA APOLINA                                                                                        MORENO VALLEY     CA    92557‐2717
PALLAS STANLEY L (439386)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA    23510
                                                                STREET, SUITE 600
PALLAS, CARL J              692 BRIDGESTONE DR                                                                                       ROCHESTER HILLS    MI   48309‐1614
PALLAS, DAVID J             2045 N MOHAWK ST                                                                                         CHICAGO            IL   60614‐4514
PALLAS, DONALD E            3380 BUTLER RD                                                                                           MARLETTE           MI   48453‐9308
PALLAS, STANLEY L           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
PALLAS, THOMAS W            2495 MANCHESTER RD                                                                                       BIRMINGHAM        MI    48009‐5896
PALLASCH, HARLAN D          7 MONROE AVE                                                                                             DEBARY            FL    32713‐3203
PALLAVI HOTA                677 PANORAMA                                                                                             ROCHESTER HILLS   MI    48306‐3569
PALLAY, DENISE M            41 STONY BROOK RD                                                                                        HOPEWELL          NJ    08525‐2806
PALLAY, DOROTHY L           2190 BRYN MAWR DR                                                                                        STOW              OH    44224‐2723
PALLAY, EDWARD J            41 STONY BROOK RD                                                                                        HOPEWELL          NJ    08525‐2806
PALLAY, GILBERT A           2463 SHERWIN DR                                                                                          TWINSBURG         OH    44087‐1339
PALLAY, JOHN S              GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                         SAGINAW           MI    48604‐2602
                                                                260
PALLAY, MARTHA L            418 N OSBORN AVE                                                                                         YOUNGSTOWN        OH    44509‐1849
PALLE HANSEN                36448 DOWLING ST                                                                                         LIVONIA           MI    48150‐3414
PALLEN, LORRAINE H          1942 S 58TH ST                                                                                           WEST ALLIS        WI    53219‐1536
PALLER I I I, STEPHEN       1691 CRESCENT POINTE DR SE                                                                               CALEDONIA         MI    49316‐7507
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PALLER III, STEPHEN              1691 CRESCENT POINTE DR SE                                                                        CALEDONIA           MI 49316‐7507
PALLER, JOANNE E                 29441 COURTNEY PL                                                                                 TEMECULA            CA 92591‐3775
PALLER, JOHN P                   48318 TELEGRAPH RD                                                                                AMHERST             OH 44001‐9532
PALLESCHI RICK                   148 CRANES CROOK LN                                                                               ANNAPOLIS           MD 21401‐7267
PALLET WORLD INC                 8292 FREMONT PIKE RTE 20                                                                          PERRYSBURG          OH 43551
PALLICK, PAUL J                  6218 MARYWOOD AVE                                                                                 LANSING             MI 48911‐5537
PALLICK, THOMAS J                1001 FAIRWAY LN APT 1                                                                             LANSING             MI 48912‐5054
PALLIN BERGLUND, SIMON           BROWN & ROWLAND               2190 GATEWAY DR                                                     FAIRBORN            OH 45324‐6356
PALLIN GODDARD PERNILLA          BERGLUND, JENS                6909 E GREENWAY                                                     SCOTTSDALE          AZ 85254
PALLIN GODDARD PERNILLA          GODDARD, ALEXANDRIA           2190 GATEWAY DR                                                     FAIRBORN            OH 45324‐6356
PALLIN GODDARD PERNILLA          GODDARD, LAURA                6909 E GREENWAY                                                     SCOTTSDALE          AZ 85254
PALLIN GODDARD PERNILLA          GODDARD, WILLIAM              2190 GATEWAY DR                                                     FAIRBORN            OH 45324‐6356
PALLIN GODDARD PERNILLA          PALLIN, AASHA                 6909 E GREENWAY                                                     SCOTTSDALE          AZ 85254
PALLIN GODDARD PERNILLA          PALLIN, ANDE                  2190 GATEWAY DR                                                     FAIRBORN            OH 45324‐6356
PALLIN GODDARD PERNILLA          PALLIN, ANDE                  6909 E GREENWAY                                                     SCOTTSDALE          AZ 85254
PALLIN GODDARD PERNILLA          PALLIN BERGLUND, SIMON        2190 GATEWAY DR                                                     FAIRBORN            OH 45324‐6356
PALLIN GODDARD PERNILLA          PALLIN GODDARD, PERNILLA      2190 GATEWAY DR                                                     FAIRBORN            OH 45324‐6356
PALLIN GODDARD, PERNILLA         BROWN & ROWLAND               2190 GATEWAY DR                                                     FAIRBORN            OH 45324‐6356
PALLIN, AASHA                    SHUMWAY G LYNN LAW OFFICES    4647 N 32ND ST`                STE 230                              PHOENIX             AZ 85018‐3347
PALLIN, ANDE                     BROWN & ROWLAND               2190 GATEWAY DR                                                     FAIRBORN            OH 45324‐6356
PALLIN, ANDE                     SHUMWAY G LYNN LAW OFFICES    4647 N 32ND ST                 STE 230                              PHOENIX             AZ 85018‐3347
PALLISTER CRAIG                  43521 GERI DR                                                                                     CANTON              MI 48187‐4907
PALLISTER PLAISANCE APARTMENTS   ATTN: CHERRYL HARPER          888 PALLISTER ST                                                    DETROIT             MI 48202‐2628
PALLISTER, CRAIG A               43521 GERI DR                                                                                     CANTON              MI 48187‐4907
PALLISTER, CRAIG ALAN            43521 GERI DR                                                                                     CANTON              MI 48187‐4907
PALLISTER, JOHN E                7382 HARTLAND RD                                                                                  FENTON              MI 48430‐9570
PALLISTER, LARRY M               11129 31 MILE RD                                                                                  WASHINGTON          MI 48095‐1310
PALLMIG, ALFRED J                5810 MARATHON RD                                                                                  OTTER LAKE          MI 48464‐9726
PALLMIG, JANET R                 5810 MARATHON RD                                                                                  OTTER LAKE          MI 48464‐9726
PALLMIG, LOUISE K                11348 GRAND OAKS DR.                                                                              CLIO                MI 48420‐8288
PALLO, ANN M                     680 JEFFERSON DR                                                                                  HIGHLAND HEIGHTS    OH 44143‐2037
PALLO, MIKE J                    2416 S LEES SUMMIT RD                                                                             INDEPENDENCE        MO 64055‐1937
PALLO, T A
PALLONE CARL                     51 WYANDOTTE ST                                                                                   SELDEN             NY   11784‐4026
PALLONE CHEVROLET GEO MIKE       ATHEY, CLIFFORD L             PO BOX 395                     35 N ROYAL AVENUE                    FRONT ROYAL        VA   22630‐0008
PALLONE CHEVROLET LLC MIKE       PALLONE CHEVROLET GEO MIKE    35 N ROYAL AVENUE PO BOX 395                                        FRONT ROYAL        VA   22630
PALLONE, CARL                    6211 JOHNSTON RD 69                                                                               ALBANY             NY   12203
PALLONE, CARL                    9 TIPTON DR                                                                                       ALBANY             NY   12211
PALLONE, KIM M                   3111 DICKERSONVILLE RD                                                                            RANSOMVILLE        NY   14131‐9605
PALLOTTA JR, KENNETH E           3521 GLENCAIRN DR                                                                                 FORT WAYNE         IN   46815‐5992
PALLOTTA, SANFORD P              786 KING ST                                                                                       RYE BROOK          NY   10573‐1800
PALLOTTA, SANFORD P              786 KING STREET                                                                                   PORT CHESTER       NY   10573‐1800
PALLOTTA, VICKIE K               5362 MUIRFIELD DR                                                                                 CANFIELD           OH   44406‐9038
PALLOTTA, VICKIE K               4151 GOLF SHORE BLVD N        UNIT1105                                                            NAPLES             FL   34103‐4103
PALLOTTINI, ALFRED S             2634 W BELLEVUE RD                                                                                LESLIE             MI   49251‐9795
PALLOTTO, STEVEN M               1301 W SEASCAPE DR                                                                                GILBERT            AZ   85233‐5631
PALLOTTO, STEVEN M               APT 2226                      1301 W SEASCAPE DR                                                  GILBERT            AZ   85233‐5631
PALLOZZI, MANDY M                1223 ANDOVER CT                                                                                   WIXOM              MI   48393
PALM BAY CHEVROLET               PO BOX 60099                                                                                      PALM BAY           FL   32906‐0099
PALM BEACH ATLANTIC COLLEGE      901 S FLAGLER DR              P O BOX 24708                                                       WEST PALM BEACH    FL   33401‐6505
PALM BEACH CO FLT MGMT           3700 BELVEDERE/D                                                                                  WEST PALM BEACH    FL   33406
PALM BEACH CO SHERIFF            3228 GUN CLUB RD                                                                                  WEST PALM BEACH    FL   33406‐3001
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PALM BEACH COMMUNITY CHEST/ UNITED PO BOX 1141                                                                                     PALM BEACH          FL 33480‐1141
WAY, INC
PALM BEACH COMMUNITY COLLEGE       4200 S CONGRESS AVE                                                                             LAKE WORTH          FL   33461‐4705
PALM BEACH COUNTY                  CLERK OF THE COURT                PO BOX 863522                                                 ORLANDO             FL   32886‐3522
PALM BEACH COUNTY SHERIFF'S OFFICE                                   3350 GUN CLUB RD                                                                  FL   33406

PALM BEACH COUNTY BOARD OF COUNTY                                    3700 BELVEDERE RD                                                                 FL   33406
COMMISSIONERS
PALM BEACH COUNTY FLEET           3700 BELVEDERE RD                                                                                WEST PALM BEACH     FL   33406
MANAGEMENT
PALM BEACH COUNTY FLORIDA         TAX COLLECTOR                      OCCUPATIONAL LICENSE SECTION   PO BOX 3353                    WEST PALM BEACH     FL   33402

PALM BEACH COUNTY TAX COLLECTOR      PO BOX 3715                                                                                   WEST PALM BEACH    FL    33402‐3715
PALM CHEVROLET OF GAINESVILLE        2600 N MAIN ST                                                                                GAINESVILLE        FL    32609‐3003
PALM CHEVROLET OF GAINESVILLE, LLC   SHANNON DAVIS                   2600 N MAIN ST                                                GAINESVILLE        FL    32609‐3003
PALM CHEVROLET OLDSMOBILE INC        402 OFFICE PLZ STE B                                                                          TALLAHASSEE        FL    32301‐8303
PALM CHEVROLET, INC.                 2300 SW COLLEGE RD                                                                            OCALA              FL    34471‐1614
PALM CHEVROLET, INC.                 CRAIG BACHRODT                  2300 SW COLLEGE RD                                            OCALA              FL    34471‐1614
PALM CHEVROLET‐OLDSMOBILE, INC.      ROBERT HELPHENSTINE*            1901 TAMIAMI TRL                                              PUNTA GORDA        FL    33950‐5917
PALM CHEVROLET‐OLDSMOBILE, INC.      1901 TAMIAMI TRL                                                                              PUNTA GORDA        FL    33950‐5917
PALM COAST AUTO REPAIR               3 INDUSTRY DR STE 2                                                                           PALM COAST         FL    32137
PALM DEVELOPMENT LLC                 DBA CIMQUEST INGEAR             518 KIMBERTON RD STE #325                                     PHOENIXVILLE       PA    19460
PALM ENGINEERING & SALES INC         5225 INDUSTRIAL RD                                                                            FORT WAYNE         IN    46825‐5117
PALM ENGINEERING & SALES INC         5225 INDSTRL RD                                                                               FORT WAYNE         IN    46825
PALM GAINESVILLE CADILLAC/SAAB       2600 N MAIN ST                                                                                GAINESVILLE        FL    32609‐3003
PALM GAINESVILLE CADILLAC/SAAB       DAVIS, SHANNON B.               2600 N MAIN ST                                                GAINESVILLE        FL    32609‐3003
PALM HARBOR FAMILY P                 9 PINE CONE DR SUITE 102                                                                      PALM COAST         FL    32137
PALM HARBOR OLDSMOBILE               ADAMS QUINTON & FULLER P.A.     186 SOUTHWEST 13TH STREET ,                                   MIAMI              FL    33130
                                                                     CORAY WAY
PALM JR, MINOR                       8245 MENDOTA ST                                                                               DETROIT            MI    48204‐3028
PALM PETERBILT‐GMC TRUCKS, INC.      DAVID WEIGER                    2441 S STATE ROAD 7                                           DAVIE              FL    33317‐6910
PALM PETERBILT‐GMC TRUCKS, INC.      2441 S STATE ROAD 7                                                                           DAVIE              FL    33317‐6910
PALM PLASTICS LTD                    PO BOX 66                                                                                     MORENCI            MI    49256‐0066
PALM RESTAURA/NEW YK                 840 SECOND AVE.                                                                               NEW YORK           NY    10017
PALM SERVICE CENTER                  827 S STATE ROAD 7                                                                            NORTH LAUDERDALE   FL    33068
PALM TELEVISION                      1450 SCALP AVENUE                                                                             JOHNSTOWN          PA    15904
PALM TIRE AND AUTOMOTIVE INC.        501 S DUNCAN DR                                                                               TAVARES            FL    32778‐4132
PALM, ADAM J                         2922 GETZ RD                                                                                  FORT WAYNE         IN    46804‐3019
PALM, BARBARA J                      PO BOX 5426                                                                                   FLINT              MI    48505‐0426
PALM, BARBARA J                      700 GREENWAY MANOR DR           APT K                                                         FLORISSANT         MO    63031
PALM, BEVERLY A                      3294 SHANNON RD                                                                               BURTON             MI    48529‐1801
PALM, CARL J                         13015 SANDEHURST CT                                                                           GRAND BLANC        MI    48439‐1557
PALM, DAVID I                        644 N BIRMINGHAM AVE                                                                          PITTSBURGH         PA    15202‐2206
PALM, DELORES M                      57 S VERNON ST                                                                                MIDDLEPORT         NY    14105‐1325
PALM, DENISE                         1588 SHILOH SPRINGS RD APT B                                                                  TROTWOOD           OH    45426‐2045
PALM, DRAKE C                        399 PLEASANTVIEW DR                                                                           GRAND BLANC        MI    48439‐1075
PALM, DRAKE CARL                     399 PLEASANTVIEW DR                                                                           GRAND BLANC        MI    48439‐1075
PALM, ETHEL                          1337 BEVERLY RD                                                                               MC KEESPORT        PA    15133‐3607
PALM, EUGENE J                       3708 CIRCLE DR                                                                                FLINT              MI    48507‐1879
PALM, FREDERICK C                    1595 CLARK LAKE RD                                                                            BRIGHTON           MI    48114‐4908
PALM, GILBERT A                      1337 BEVERLY RD                                                                               MCKEESPORT         PA    15133‐3607
PALM, GREGORY M                      8114 GALE RD                                                                                  GOODRICH           MI    48438‐9259
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Name                             Address1                        Address2                      Address3   Address4         City               State Zip
PALM, INA L                      186 JASMINE STREET                                                                        TAVERNIER           FL 33070
PALM, JORDAN A                   2922 GETZ RD                                                                              FORT WAYNE          IN 46804‐3019
PALM, JORDAN ALEXANDER           2922 GETZ RD                                                                              FORT WAYNE          IN 46804‐3019
PALM, KALISHA T                  20552 CHARLTON SQ APT 106                                                                 SOUTHFIELD          MI 48076‐4063
PALM, KRISTINA                   1717 GREENWICH DR                                                                         TROY                MI 48098‐6619
PALM, MAUREEN A                  996 CREST STREET                                                                          MOUNT CLEMENS       MI 48043‐6422
PALM, PATRICIA A                 20340 PALM MEADOW DR                                                                      CLINTON TOWNSHIP    MI 48036‐1968
PALM, RHONDA                     725 PORTERSVILLE RD                                                                       ELLWOOD CITY        PA 16117‐2720
PALM, RODNEY W                   PO BOX 210651                                                                             SAINT LOUIS         MO 63121‐8651
PALM, RONALD R                   240 HILLCREST LN                                                                          JEFFERSON           WI 53549‐9669
PALM, SCOTT A                    2922 GETZ RD                                                                              FORT WAYNE          IN 46804‐3019
PALM, TERRY E                    186 JASMINE ST                                                                            TAVERNIER           FL 33070‐2215
PALM, THOMAS S                   3294 SHANNON RD                                                                           BURTON              MI 48529‐1801
PALM, TIMOTHY J                  12225 HOGAN RD                                                                            GAINES              MI 48436‐9745
PALM, WAYNE F                    BOONE ALEXANDRA                 205 LINDA DR                                              DAINGERFIELD        TX 75638‐2107
PALMA CLAUDIA                    PO BOX 623                                                                                SUNLAND PARK        NM 88063‐0623
PALMA EDWARD J SR (345784)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                 STREET, SUITE 600
PALMA GAINES                     2255 ABBY CT                                                                              DAVISON            MI   48423‐8387
PALMA J LEE                      28545 THORNAPPLE DR APT 206                                                               SOUTHFIELD         MI   48034‐5447
PALMA J REED                     793 STATE ROUTE 96 E                                                                      SHELBY             OH   44875‐9166
PALMA JOHNSON                    602 RAINBOW LN                                                                            INDIANAPOLIS       IN   46260‐4612
PALMA JONES III                  6345 BROOKINGS DR                                                                         TROY               MI   48098‐1863
PALMA LEE                        28545 THORNAPPLE DR APT 206                                                               SOUTHFIELD         MI   48034‐5447
PALMA MICALIZZI                  205 MOCKINGBIRD WAY                                                                       WHITING            NJ   08759‐3711
PALMA MILLER                     4153 JAMIE DR                                                                             FAIRFIELD          OH   45011‐8624
PALMA OLIVIA                     PALMA, OLIVIA                   348 HUGHLAND RD                                           PITTSBURGH         PA   15235‐3011
PALMA PLATT                      5764 ERNA DR                                                                              LOCKPORT           NY   14094‐6520
PALMA REED                       793 STATE ROUTE 96 E                                                                      SHELBY             OH   44875‐9166
PALMA SAM (482862) ‐ PALMA SAM   BRAYTON PURCELL                 PO BOX 6169                                               NOVATO             CA   94948‐6169
PALMA SARTINI                    102 HENLEY ST                                                                             ROCHESTER          NY   14612‐2006
PALMA SCARLATA                   3439A S BROAD ST                                                                          HAMILTON           NJ   08610‐2715
PALMA SHARP                      329 GEORGE RD                                                                             MEXICO             NY   13114‐3410
PALMA THOMAS E (494072)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                 STREET, SUITE 600
PALMA TOOL & DIE CO INC          40 WARD RD                                                                                LANCASTER          NY   14086‐9779
PALMA, ALBERT M                  13848 GAVINA AVE                                                                          SYLMAR             CA   91342‐2612
PALMA, BARBARA                   17 TALBOT DRIVE                                                                           PENFIELD           NY   14526‐4526
PALMA, BARBARA                   17 TALBOT DR                                                                              PENFIELD           NY   14526‐9507
PALMA, BEATRICE M                1047 LYON NE                                                                              GRAND RAPIDS       MI   49503‐3661
PALMA, BEATRICE M                1047 LYON ST NE                                                                           GRAND RAPIDS       MI   49503‐3661
PALMA, BEVERLY L                 29300 NEW HAMPSHIRE WAY                                                                   HAYWARD            CA   94544‐6460
PALMA, DONALD C                  302 INGLEWOOD DR                                                                          ROCHESTER          NY   14619‐1442
PALMA, EDWARD C                  3809 CRAIG DR                                                                             FLINT              MI   48506‐2681
PALMA, EDWARD J                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                 STREET, SUITE 600
PALMA, EMMA P                    668 LAVETA TERRACE APT 219                                                                LOS ANGELES        CA   90026‐4387
PALMA, EMMA P                    668 LAVETA TER APT 219                                                                    LOS ANGELES        CA   90026‐4387
PALMA, JANETTE S                 6790 MARSHALL ST                C/O WALTER PALMA JR                                       CANTON             MI   48187‐1663
PALMA, JANICE G                  104 WEBBER DR                                                                             ROCHESTER          NY   14626‐4024
PALMA, JOSEPHINE A               134 POLLET PL                                                                             ROCHESTER          NY   14626‐1624
PALMA, LUCY K                    302 INGLEWOOD DR                                                                          ROCHESTER          NY   14619‐1442
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Name                                Address1                         Address2                      Address3   Address4         City              State Zip
PALMA, MARIO                        156 E 184TH ST APT 3G                                                                      BRONX              NY 10468
PALMA, OLIVIA                       348 HIGHLAND RD                                                                            PITTSBURGH         PA 15235‐3011
PALMA, RAUL M                       25524 FOUNTAIN GLEN CT           APT 106                                                   STEVENSON RANCH    CA 91381
PALMA, RAUL M                       25524 FOUNTAIN GLEN CT APT 106                                                             VALENCIA           CA 91381‐1690
PALMA, ROBERT K                     8170 VINTON AVE NW                                                                         SPARTA             MI 49345‐8376
PALMA, SAM                          BRAYTON PURCELL                  PO BOX 6169                                               NOVATO             CA 94948‐6169
PALMA, SAM R                        71 BEECHWOOD DR                                                                            ROCHESTER          NY 14606‐5505
PALMA, STACEY L                     4062 E PIERSON RD                                                                          FLINT              MI 48506‐1438
PALMA, SZYMON                       3745 NW POLK AVE                                                                           CORVALLIS          OR 97330‐6539
PALMA, THERESA L                    4089 N GALE RD                                                                             DAVISON            MI 48423‐8950
PALMA, THERESA M                    1511 WESTBURY DRIVE                                                                        DAVISON            MI 48423‐8351
PALMA, THOMAS E                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
PALMA, TONY M                       PO BOX 1513                                                                                BENSON            AZ   85602‐1513
PALMA, WILLIAM A                    2490 BLUEWATER CT SW                                                                       GRANDVILLE        MI   49418‐1149
PALMA, WILLIAM J                    9 SCHOOL ST                                                                                MOUNT MORRIS      NY   14510‐9650
PALMAKA, CHRISTINA                  1152 MELTON DR SW                                                                          LILBURN           GA   30047‐1964
PALMAKA, WALDEMAR                   PO BOX 20327                     PARK WEST STATION                                         NEW YORK          NY   10025
PALMARCHUK, JAMIE ANN               APT 201                          11900 EAST 13 MILE ROAD                                   WARREN            MI   48093‐3038
PALMARCHUK, JOHN L                  745 ALVIN ST                                                                               WESTLAND          MI   48186‐4802
PALMATEER JR, LESTER G              11801 W CHADWICK RD                                                                        EAGLE             MI   48822‐9751
PALMATEER, BARBARA D                1117 MACDONALD AVE                                                                         FLINT             MI   48507‐2854
PALMATEER, DEBRA A                  2928 CHICAGO BLVD                                                                          FLINT             MI   48503‐3473
PALMATEER, ELIZABETH K              7865 ALLISON DR                                                                            ALMONT            MI   48003‐8757
PALMATEER, ELIZABETH K              3320 MOSS RD                                                                               CAPAC             MI   48014‐4408
PALMATEER, LAURETTA M               1318 UNIVERSITY AVE                                                                        FLINT             MI   48504‐6206
PALMATEER, NELSON F                 5382 E VIENNA RD                                                                           CLIO              MI   48420‐9771
PALMATEER, RICHARD P                PO BOX 263                                                                                 CLIO              MI   48420‐0263
PALMATEER, RONALD F                 60 HOLLYBROOK RD                                                                           ROCHESTER         NY   14623‐4530
PALMATIER JR, JOHN R                6126 FOSTORIA ROAD                                                                         OTTER LAKE        MI   48464‐9783
PALMATIER, GARY L                   PO BOX 154                                                                                 POTTERVILLE       MI   48876‐0154
PALMATIER, JOSEPHINE E              12840 SHAFTSBURG RD              C/O TIMOTHY W PALMATIER                                   PERRY             MI   48872‐8117
PALMATIER, JOSEPHINE E              C/O TIMOTHY W PALMATIER          12840 S SHAFTSBURG RD                                     PERRY             MI   48872
PALMATIER, KAREN                    4705 CRESTBROOK LN                                                                         FLINT             MI   48507‐2285
PALMATIER, LAWRENCE R               7230 BENNETT LAKE RD                                                                       FENTON            MI   48430‐9071
PALMATIER, MARK T                   11079 CABALLO CIR                                                                          AUBURN            CA   95603
PALMATIER, RICHARD C                751 SW DUCKETT CT                                                                          LAKE CITY         FL   32024‐0559
PALMATIER, TODD R                   6126 FOSTORIA RD                                                                           OTTER LAKE        MI   48464‐9783
PALMATTER, RENATA                   1013 RILEY STREET                                                                          LANSING           MI   48910‐3522
PALMEIRO JERRY                      2850 MARLBOROUGH ROAD                                                                      OCEANSIDE         NY   11572‐3317
PALMELLA ANDREWS BROWN              PO BOX 6                                                                                   LYNCHBURG         SC   29080‐0006
PALMEN AUTOMOTIVE GROUP OF RACINE, ANDREW PALMEN                     6001 WASHINGTON AVE                                       RACINE            WI   53406‐4023
INC.
PALMEN PONTIAC BUICK GMC            ANDREW PALMEN                    6001 WASHINGTON AVE                                       RACINE            WI   53406‐4023
PALMEN PONTIAC BUICK GMC            6001 WASHINGTON AVE                                                                        RACINE            WI   53406‐4023
PALMENTERA, BILL V                  16914 WESTDALE AVE                                                                         CLEVELAND         OH   44135‐4260
PALMER                              4721 TRANSIT ROAD                                                                          DEPEW             NY   14043
PALMER RONALD                       C/O HAROWITZ & TIGERMAN LLP      450 SANSOME ST                3RD FL                      SAN FRANCISCO     CA   94111‐3311
PALMER 'S SERVICE                   807 W MAIN ST                                                                              LA HARPE          IL   61450‐4922
PALMER ANITA A (ESTATE OF) (497721) WEITZ & LUXENBERG                180 MAIDEN LANE                                           NEW YORK          NY   10038
PALMER ANTONELLI                    2332 CLEARVIEW AVE NW                                                                      WARREN            OH   44483‐1336
PALMER APRIL                        PALMER, APRIL                    PO BOX 1388                                               CLARKSDALE        MS   38614‐1388
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Name                               Address1                        Address2                         Address3                    Address4                City                State Zip
PALMER APRIL                       PALMER, CLINT                   PO BOX 1388                                                                          CLARKSDALE           MS 38614‐1388
PALMER APRIL                       PALMER, RAINEY                  PO BOX 1388                                                                          CLARKSDALE           MS 38614‐1388
PALMER APRIL                       PALMER, STORME (AGE 5 YRS)      PO BOX 1388                                                                          CLARKSDALE           MS 38614‐1388
PALMER APRIL                       RAIFORD, WILLIAM B              PO BOX 1388                                                                          CLARKSDALE           MS 38614‐1388
PALMER APRIL                       PALMER, STORME (AGE 5 YRS),     MERKEL & COCKE                   30 DELTA AVENUE , P O BOX                           CLARKSDALE           MS 38614
                                                                                                    1388
PALMER AUTOMOTIVE & TRUCK CENTRE   3979 ROUTE 1A RR 2                                                                           SUMMERSIDE PE C1N 4J8
                                                                                                                                CANADA
PALMER AUTOMOTIVE SPECIALITIES     409 E MYRTLE ST                                                                                                      ELIZABETH           IL   61028‐9773
PALMER BENJAMIN                    3024 NEWPORT CT                                                                                                      TROY                MI   48084
PALMER BOWMAN JR                   16031 BEECH DALY RD TRLR 62                                                                                          TAYLOR              MI   48180‐5083
PALMER BUNKER                      3815 RIVER HILLS DRIVE                                                                                               LITTLE RIVER        SC   29566‐8443
PALMER CARL E (456456)             SKAGGS JOHN H                   405 CAPITOL STREET ‐ SUITE 607                                                       CHARLESTON          WV   25301
PALMER COLLINS                     6539 CHERRY AVE APT 1                                                                                                LONG BEACH          CA   90805‐2650
PALMER COLLINS                     13686 THORNTON ST                                                                                                    DETROIT             MI   48227‐3029
PALMER CONTRACTORS INC             PO BOX 996                                                                                                           CAMDEN              TN   38320‐0996
PALMER CRAVEN                      24808 LYNDON                                                                                                         REDFORD             MI   48239‐3310
PALMER DEBORAH LYNN                PALMER, DEBORAH LYNN            27240 TURNBERRY LN STE 200                                                           VALENCIA            CA   91355‐1045
PALMER DONALD E (407244)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                          NORFOLK             VA   23510
                                                                   STREET, SUITE 600
PALMER ENG/LANSING                 3525 CAPITOL CITY BLVD          P.O. BOX 12030                                                                       LANSING             MI   48906‐2101
PALMER ENGINEERING INC             3525 CAPITOL CITY BLVD                                                                                               LANSING             MI   48906‐2101
PALMER ENGINEERING INC             3525 CAPITOL CITY BLVD          P.O. BOX 12030                                                                       LANSING             MI   48906‐2101
PALMER ENGINEERING INC             NATE SOUTHERLING                PO BOX 12030                     3525 CAPITAL CITY BLVD.                             LANSING             MI   48901‐2030
PALMER ENGINEERING INC             TERRY CARROLL X230              4171 E. HOLT RD.                                                                     ELK GROVE VILLAGE   IL
PALMER ENGINEERING INC             TERRY CARROLL X230              4171 HOLT RD                                                                         HOLT                MI   48842‐1754
PALMER ENGINEERING INC.            NATE SOUTHERLING                PO BOX 12030                     3525 CAPITAL CITY BLVD.                             LANSING             MI   48901‐2030
PALMER ENGINEERING INC.            3525 CAPITOL CITY BLVD          P.O. BOX 12030                                                                       LANSING             MI   48906‐2101
PALMER ENGINEERING, INC.           TERRY CARROLL X230              4171 HOLT RD                                                                         HOLT                MI   48842‐1754
PALMER ENGINEERING, INC.           TERRY CARROLL X230              4171 E. HOLT RD.                                                                     ELK GROVE VILLAGE   IL
PALMER ERIC L                      3215 QUICK RD                                                                                                        HOLLY               MI   48442‐1061
PALMER FRALEY                      9126 N ISLAND DR                                                                                                     FLUSHING            MI   48433‐2930
PALMER FRED                        4934 E COUNTY ROAD 100 S                                                                                             AVON                IN   46123‐8334
PALMER FREDERICK                   PO BOX 275192                                                                                                        BOCA RATON          FL   33427
PALMER GEORGE R (411029)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                          NORFOLK             VA   23510
                                                                   STREET, SUITE 600
PALMER HEATHER                     168 SYCAMORE DR                                                                                                      CARMEL              IN   46033‐1956
PALMER HEATING LLC                 ATTN: SCOTT SECOR               265 CENTRAL AVE                                                                      CLARK               NJ   07066‐1107
PALMER HIPPS                       50570 GRAVEL RDG                                                                                                     SHELBY TOWNSHIP     MI   48317‐1124
PALMER HORNSBY JR.                 2144 MINDY LN                                                                                                        CAMDEN              MI   49232‐9600
PALMER III, GEORGE W               3266 BEAGLE BLVD                                                                                                     COLUMBUS            OH   43232‐7508
PALMER J ANTONELLI                 2332 CLEARVIEW STREET                                                                                                WARREN              OH   44483
PALMER JACK                        304 FOREST TRAIL                                                                                                     MOUNT ORAB          OH   45154‐8388
PALMER JAMES                       PALMER, JAMES                   12900 PRESTON RD STE 410                                                             DALLAS              TX   75230‐1334
PALMER JAMES                       PROGRESSIVE INSURANCE COMPANY   12900 PRESTON RD STE 410                                                             DALLAS              TX   75230‐1334
PALMER JAMES (446813)              BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                        NORTHFIELD          OH   44067
                                                                   PROFESSIONAL BLDG
PALMER JARED                       PALMER, JARED                   511 S 660 E                                                                          IVINS               UT 84738
PALMER JOHN E (439387)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                          NORFOLK             VA 23510
                                                                   STREET, SUITE 600
PALMER JOHNSEN                     54539 BUCKHORN RD                                                                                                    THREE RIVERS        MI 49093‐9623
PALMER JOHNSON DISTRIBUTORS LL     1205 W NATIONAL AVE                                                                                                  ADDISON             IL 60101‐3130
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Name                                   Address1                       Address2                          Address3   Address4         City               State Zip
PALMER JOHNSON DISTRIBUTORS LL         1201 W NATIONAL AVE                                                                          ADDISON              IL 60101‐3130
PALMER JOHNSON ENTERPRISES INC         1201 W NATIONAL AVE                                                                          ADDISON              IL 60101‐3130
PALMER JOHNSON POWER SYSTEMS LLC       6392 PAYSPHERE CIR                                                                           CHICAGO              IL 60674‐0063

PALMER JOYCE C (439388)                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                      STREET, SUITE 600
PALMER JR, BERNARD                     3148 LEEDS ST                                                                                BALTIMORE          MD   21229‐3817
PALMER JR, CHARLES                     125 WEST MAIN STREET                                                                         NEW LEBANON        OH   45345‐1419
PALMER JR, CHARLES W                   5401 VAN SLYKE RD                                                                            FLINT              MI   48507‐3951
PALMER JR, CHARLES WAYNE               5401 VAN SLYKE RD                                                                            FLINT              MI   48507‐3951
PALMER JR, FLOYD                       615 PARK LAWN                                                                                CLIO               MI   48420‐1477
PALMER JR, GERALD L                    1613 DUNBARTON WYNDE                                                                         LOUISVILLE         KY   40205‐2745
PALMER JR, JOE O                       PO BOX 771738                                                                                OCALA              FL   34477‐1738
PALMER JR, KEITH A                     3475 CHURCH ST                                                                               SAGINAW            MI   48604‐2166
PALMER JR, RICHARD L                   3548 HIGHWAY 3276                                                                            STONEWALL          LA   71078‐9106
PALMER JR, RICHARD LEO                 3548 HIGHWAY 3276                                                                            STONEWALL          LA   71078‐9106
PALMER JR, SAMUEL                      R 3 BOX 389 SHAKERAG RD                                                                      DANVILLE           IL   61834
PALMER JR, SELDON                      1332 DELIQUIA DR                                                                             CINCINNATI         OH   45230‐1351
PALMER JR, WARREN A                    12104 CHESTER TERRACE CT                                                                     TAMPA              FL   33625‐2598
PALMER JULIE M                         7347 WELLINGTON LN                                                                           YPSILANTI          MI   48197‐1789
PALMER KATHRYN                         526 LAMONT AVE                                                                               SAN ANTONIO        TX   78209
PALMER LANGFORD (ESTATE OF) (640584)   SIMMONS FIRM                   PO BOX 521                                                    EAST ALTON         IL   62024‐0519

PALMER LARSON                          733 NANTUCKET DR                                                                             JANESVILLE         WI 53546‐3302
PALMER LEO (483201)                    WEITZ & LUXENBERG              180 MAIDEN LANE                                               NEW YORK           NY 10038
PALMER M THORSON
PALMER MACK C (492645)                 ANGELOS PETER G                100 N CHARLES STREET , ONE                                    BALTIMORE          MD 21201
                                                                      CHARLES CENTER
PALMER MARYANN                         10722 ELLA LEE LN                                                                            HOUSTON            TX   77042‐3007
PALMER MC KINNEY                       800 S YORK ST APT 2411                                                                       GASTONIA           NC   28052‐5511
PALMER MOTOR COACH                     257 W. MAIN ST                                                                               STAFFORD SPRINGS   CT   06076
PALMER MOVING & STORAGE                24660 DEQUINDRE RD                                                                           WARREN             MI   48091‐3332
PALMER MOVING & STORAGE CO             24660 DEQUINDRE RD                                                                           WARREN             MI   48091‐3332
PALMER NICHOLE                         1502 SOUTHRIDGE DR                                                                           JANESVILLE         WI   53545‐5835
PALMER NICOLE                          PALMER, NICOLE                 30 EAST BUTLER PIKE , SUITE 310                               AMBLER             PA   19002
PALMER PARK SERVICE CENTER             1505 N UNION BLVD                                                                            COLORADO SPRINGS   CO   80909‐2809
PALMER PERFORMANCE ENG INC             BRIAN PALMER                   817 N 470 E                                                   OREM               UT   84097‐3362
PALMER PHYLLIS E                       125 E NORTHRUP ST                                                                            LANSING            MI   48911‐3717
PALMER PRODUCTION GROUP INC            1756 PLYMOUTH RD STE 319                                                                     ANN ARBOR          MI   48105
PALMER R TOWNS                         720 CHANDLER DR                                                                              TROTWOOD           OH   45426‐2510
PALMER RAY                             1666 OLIVE DR                                                                                MANSFIELD          OH   44906‐1756
PALMER REBECCA                         210 LYLBURN RD                                                                               MIDDLETOWN         OH   45044‐5045
PALMER RICHARD                         73433 MARIPOSA DR                                                                            PALM DESERT        CA   92260‐6925
PALMER ROBERT                          PALMER, ROBERT                 17018 MCELOY RD                                               ARLINGTON          WA   98223
PALMER ROBERT H.                       PALMER, ROBERT H.
PALMER SANDRA                          1500 LEMON BAY DR                                                                            ENGLEWOOD          FL   34223‐4254
PALMER SCOTT                           912 LAURIE LN                                                                                GALLATIN           TN   37066‐3849
PALMER SHAWN L                         PALMER, SHAWN L                1950 SAWTELLE BLVD STE 245                                    LOS ANGELES        CA   90025‐7017
PALMER SR, CHARLES W                   9170 COUNTY RD. #527                                                                         SENATH             MO   63876
PALMER STACEY                          217 OAKDALE CIR                                                                              KING               NC   27021‐9397
PALMER STENSON                         2812 SW BRIGHTON WAY                                                                         PALM CITY          FL   34990‐6068
PALMER SUSAN                           PALMER, SUSAN                  3357 W MULLINS LN                                             THATCHER           AZ   85552‐5464
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PALMER TED                   PO BOX 1680                                                                                    NEWPORT             WA 99156‐1680
PALMER TOM                   1104 DREON DR                                                                                  CLAWSON             MI 48017‐1015
PALMER TOOL CO INC           3385 HIGHWAY 70 E                 PO BOX 1017                                                  CAMDEN              TN 38320‐6746
PALMER TOWNS                 720 CHANDLER DR                                                                                TROTWOOD            OH 45426‐2510
PALMER TRACY L               225 CHICAGO ST                                                                                 LAKE ORION          MI 48362‐2833
PALMER WARRICK               4223 LOVELESS DR                                                                               ELLENWOOD           GA 30294‐1625
PALMER WENDY A               26055 E RIVER RD                                                                               GROSSE ILE          MI 48138‐1855
PALMER WILLIAM               PO BOX 29                                                                                      WEST HYANNISPORT    MA 02672‐0029
PALMER WILLIAM (436647)      ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                             PHILADELPHIA        PA 19103‐6612
                             P.C.
PALMER WILLIAM C ESTATE OF   DONNA B PALMER                    1202 E 19TH ST                                               STERLING           IL   61081‐1518
PALMER, ALBERTA C            1048 ROCHESTER ST                                                                              HONEOYE FALLS      NY   14472‐9416
PALMER, ALICE                ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                          NEW YORK           NY   10006‐1638
PALMER, ALTON L              3934 WILDVIEW COURT               LOT 290                                                      NORTH FORT MYERS   FL   33917
PALMER, AMY M                20511 MONICA ST                                                                                DETROIT            MI   48221‐1285
PALMER, AMY M                20511 MONICA                                                                                   DETROIT            MI   48221‐1285
PALMER, AMYE J               533 N 3 RD                                                                                     BANNING            CA   92220‐4676
PALMER, AMYE J               533 N 3RD ST                                                                                   BANNING            CA   92220‐4676
PALMER, ANITA A              WEITZ & LUXENBERG                 180 MAIDEN LANE                                              NEW YORK           NY   10038
PALMER, ANNA COURTNEY        MERRITT & ASSOCIATES PC           PO BOX 1377                                                  OKLAHOMA CITY      OK   73101‐1377
PALMER, ANNAMAY              4684BOWES AVE                                                                                  WEST MIFFLIN       PA   15122
PALMER, APRIL                MERKEL & COCKE                    PO BOX 1388                                                  CLARKSDALE         MS   38614‐1388
PALMER, ARDENA M             148A APARTMENT 2                  SAND CREEK HIGHWAY                                           ADRIAN             MI   49221
PALMER, ARTHUR G             7595 WENTWORTH LN                                                                              MENTOR             OH   44060‐7273
PALMER, ARTHUR W             4318 COLUMBINE AVE                                                                             BURTON             MI   48529‐2117
PALMER, ARTHUR W             5629 ANTONE RD                                                                                 FREMONT            CA   94538‐3901
PALMER, BARBARA              8067 EPPERSON MILL RD                                                                          MILLINGTON         TN   38053‐5813
PALMER, BARBARA A            12836 W SHORE DR                                                                               MOUNTAIN           WI   54149‐9520
PALMER, BARBARA A            11 SPARKS ST                                                                                   TROTWOOD           OH   45426‐3014
PALMER, BARBARA ANN          11 SPARKS ST                                                                                   TROTWOOD           OH   45426‐3014
PALMER, BARBARA FAYE         1706 SHAMROCK LN                                                                               FLINT              MI   48504‐2013
PALMER, BARRY C              11144 S DEWITT RD                                                                              DEWITT             MI   48820‐9132
PALMER, BENJAMIN             3024 NEWPORT CT                                                                                TROY               MI   48084‐1313
PALMER, BENNETT E            630 DEVILS LAKE HWY                                                                            MANITOU BEACH      MI   49253‐9660
PALMER, BERNICE E            260 BUCK HILL RD                                                                               ROCHESTER          NY   14626‐3150
PALMER, BETTY E              944 STATE RD NW                                                                                WARREN             OH   44481‐9134
PALMER, BETTY E              944 STATE RD. NW                                                                               WARREN             OH   44481‐9134
PALMER, BETTY M              6783 SW 113TH PL                                                                               OCALA              FL   34476‐3984
PALMER, BETTY M              6783 SW 113 PLACE                                                                              OCALA              FL   34476
PALMER, BETTY M              4389 W NESTEL RD                                                                               HOUGHTON LAKE      MI   48629‐9288
PALMER, BEVERLY J            1251 NW 36TH PL                                                                                CAPE CORAL         FL   33993‐9324
PALMER, BEVERLY J            8226 W 131ST ST                                                                                PALOS PARK         IL   60464‐2159
PALMER, BILLY J              23213 W 45TH TER                                                                               SHAWNEE            KS   66226‐2427
PALMER, BILLY J              1085 PHILLIPS RD                                                                               SMITHS GROVE       KY   42171‐9337
PALMER, BRADLEY W            2108 DEER RUN TRL                                                                              WATERFORD          MI   48329‐2319
PALMER, BRENT A              348 GWYNN ST                                                                                   GREEN BAY          WI   54301‐1010
PALMER, BRIAN T              1180 CLIFF WHITE RD                                                                            COLUMBIA           TN   38401‐8036
PALMER, BRUCE D              120 MELROSE ST                                                                                 BRISTOL            CT   06010‐6136
PALMER, BRYAN S              6831 MEADOW GLEN DR S                                                                          WESTERVILLE        OH   43082‐7760
PALMER, CARL E               SKAGGS JOHN H                     405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON         WV   25301
PALMER, CARL W               205 SUMMIT AVE                                                                                 NILES              OH   44446‐3633
PALMER, CARLE E              5125 ROCKWELL DR NE               APT 232                                                      CEDAR RAPIDS       IA   52402‐4794
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Name                                Address1                       Address2                 Address3    Address4         City            State Zip
PALMER, CAROL A                     2201 W CARPENTER RD APT 321A                                                         FLINT            MI 48505‐1922
PALMER, CAROL J                     8099 SASHABAW RIDGE DR                                                               CLARKSTON        MI 48348‐2940
PALMER, CAROL J                     APT J1                         307 EAST 8TH STREET                                   MARISSA           IL 62257‐1187
PALMER, CAROL J                     307 E 8TH ST APT J1                                                                  MARISSA           IL 62257‐1187
PALMER, CAROL, LOSS OF CONSORTIUM   C/O HAROWITZ & TIGERMAN LLP    450 SANSOME ST, 3RD FL                                SAN FRANCISCO    CA 94111‐3311

PALMER, CAROLYN                     10077 VIOLETLAWN ST                                                                  DETROIT         MI   48204‐2528
PALMER, CASSEL V                    384 CANOVA LN                                                                        DAYTON          OH   45431‐2222
PALMER, CATHERINE N                 916 MADISON ST                                                                       YPSILANTI       MI   48197‐5294
PALMER, CATHY J                     1315 BROADVIEW WAY                                                                   BOWLING GREEN   KY   42103‐1507
PALMER, CECIL A                     6338 MAPLE LAWN RD                                                                   INDIANAPOLIS    IN   46241‐9230
PALMER, CHARLES                     514 BALDWIN AVE                                                                      NILES           OH   44446
PALMER, CHARLES A                   1373 CONWAY                                                                          FLINT           MI   48532
PALMER, CHARLES A                   1373 CONWAY ST                                                                       FLINT           MI   48532‐4306
PALMER, CHARLES G                   2012 WISCONSIN ST APT 6                                                              MIDLAND         MI   48642‐5765
PALMER, CHARLES R                   6607 WEBSTER AVE                                                                     KANSAS CITY     KS   66104‐1859
PALMER, CHARLES R                   4732 BOKAY DR                                                                        KETTERING       OH   45440‐2025
PALMER, CHARLES R                   4732 BOKAY DRIVE                                                                     KETTERING       OH   45440‐5440
PALMER, CHARLES W                   1152 MONKTON RD                                                                      MONKTON         MD   21111‐1107
PALMER, CHARLES W                   30 RICHMOND ST APT 2                                                                 HAGERSTOWN      MD   21740‐5067
PALMER, CHERIE A                    931 BLANCHARD AVE                                                                    FLINT           MI   48503‐5368
PALMER, CHESTER L                   609 NORTH ST                                                                         MCGEHEE         AR   71654‐1916
PALMER, CHESTER W                   612 2ND AVE NW                                                                       LARGO           FL   33770‐3336
PALMER, CHESTER W                   612 SECOND AVE. N.W.                                                                 LARGO           FL   33770‐3336
PALMER, CHRISTINE                   959 DEWEY AVE                                                                        ROCHESTER       NY   14613‐1640
PALMER, CHRISTOPHER W               536 IMPALA DR                                                                        MANSFIELD       OH   44903‐9513
PALMER, CLAIRE M                    15065 DELAWARE AVE                                                                   REDFORD         MI   48239‐3148
PALMER, CLARENCE D                  9151 MERRIMAC RD                                                                     MANCELONA       MI   49659‐9348
PALMER, CLINT                       MERKEL & COCKE                 PO BOX 1388                                           CLARKSDALE      MS   38614‐1388
PALMER, CONNIE R                    6837 NE CUBITIS AVE            #605                                                  ARCADIA         FL   34266
PALMER, CORA L                      318 WILSON AVE                                                                       MOUNT MORRIS    MI   48458‐1444
PALMER, CRAIG                       5916 TIPSICO LANE                                                                    HOLLY           MI   48442
PALMER, CRAIG A                     11169 LANGDON DR                                                                     CLIO            MI   48420‐1566
PALMER, CRAIG R                     5916 TIPSICO LAKE RD                                                                 HOLLY           MI   48442‐8908
PALMER, DAISY M.                    3513 BEATTY AVENUE                                                                   SANDUSKY        OH   44870‐8002
PALMER, DALE B                      6321 E PIERSON RD                                                                    FLINT           MI   48506‐2255
PALMER, DALE L.                     4825 PYLES RD                                                                        CHAPEL HILL     TN   37034‐2657
PALMER, DALE M                      5095 KENDALL DR                                                                      BURTON          MI   48509‐1907
PALMER, DALE MORRIS                 5095 KENDALL DR                                                                      BURTON          MI   48509‐1907
PALMER, DALE O                      1316 ANTHONY CT                                                                      ADRIAN          MI   49221‐3106
PALMER, DANIEL L                    17270 SUNBIRD LN                                                                     RENO            NV   89508‐6480
PALMER, DANIEL O                    6738 VISTA DEL LAGO AVE                                                              LAND O LAKES    FL   34637‐3293
PALMER, DANIEL R                    9034 SUMMIT VIEW CT                                                                  SPRINGBORO      OH   45066
PALMER, DANNY S                     6858 OAK HILL DR                                                                     W FARMINGTON    OH   44491‐9755
PALMER, DARRELL R                   30408 WACO RD                                                                        MCLOUD          OK   74851‐9379
PALMER, DAVID                       14305 INDIANA ST                                                                     DETROIT         MI   48238‐2376
PALMER, DAVID                       205 SMALLS STREET                                                                    MONCKS CORNER   SC   29461‐2613
PALMER, DAVID                       205 SMALLS ST                                                                        MONCKS CORNER   SC   29461‐2613
PALMER, DAVID A                     863 PRINCEWOOD AVE                                                                   KETTERING       OH   45429‐5623
PALMER, DAVID C                     3630 WEST MICHIGAN STREET                                                            INDIANAPOLIS    IN   46222‐3465
PALMER, DAVID C                     611 MOUNT HOMER RD APT 51                                                            EUSTIS          FL   32726‐6266
PALMER, DAVID C                     3630 W MICHIGAN ST                                                                   INDIANAPOLIS    IN   46222‐3465
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PALMER, DAVID J           118 E MAPLE ST                                                                           SAINT CHARLES        MI 48655‐1302
PALMER, DAVID M           8614 GATEWOOD RD                                                                         HOWARD CITY          MI 49329‐9109
PALMER, DEAN A            3838 SHERMAN ST                                                                          BRIDGEPORT           MI 48722‐9640
PALMER, DEAN L            5327 FARM RD                                                                             WATERFORD            MI 48327‐2423
PALMER, DELMAS E          1150 CARSON ST                                                                           PAHRUMP              NV 89048‐7872
PALMER, DENNIS M          10382 GRAND RIVER RD                                                                     BRIGHTON             MI 48116‐6522
PALMER, DENNIS S          PO BOX 175                                                                               LYNDONVILLE          NY 14098‐0175
PALMER, DENNIS W          PO BOX 277                                                                               BRECKENRIDGE         MI 48615‐0277
PALMER, DERRELL D         7457 96TH ST S                                                                           COTTAGE GROVE        MN 55016‐3866
PALMER, DERRICK E         459 32ND ST SW                                                                           WYOMING              MI 49509‐3001
PALMER, DIANE             PO BOX 567                                                                               YONKERS              NY 10702‐0567
PALMER, DIANE E           6529 TARAWA DR                                                                           SARASOTA             FL 34241‐5645
PALMER, DIANE K           4825 PYLES RD                                                                            CHAPEL HILL          TN 37034‐2657
PALMER, DIANE M           15548 GALEMORE DR                                                                        CLEVELAND            OH 44130‐3535
PALMER, DIANNA J          650 REX BLVD NW                                                                          WARREN               OH 44483‐3132
PALMER, DONALD            1859 MICHIGAN ST               P O BOX 151                                               MCBRIDE              MI 48852‐0151
PALMER, DONALD            PO BOX 151                     1859 MICHIGAN ST                                          MCBRIDES             MI 48852‐0151
PALMER, DONALD E          4505 PITT ST                                                                             ANDERSON             IN 46013‐2447
PALMER, DONALD E          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                         STREET, SUITE 600
PALMER, DONALD F          27428 BEECHWOOD ST                                                                       GARDEN CITY         MI   48135‐2527
PALMER, DONALD K          2301 N 46TH RD                                                                           LELAND              IL   60531‐9720
PALMER, DONALD M          119 S BEVERLY AVE                                                                        YOUNGSTOWN          OH   44515‐3540
PALMER, DONALD P          6152 PAISLEY DR                                                                          NORTH OLMSTED       OH   44070‐4466
PALMER, DORA A            1316 ANTHONY CT                                                                          ADRIAN              MI   49221‐3106
PALMER, DOROTHY ALBERTA   2100 N HINTZ RD LOT 57                                                                   OWOSSO              MI   48867‐9499
PALMER, DOROTHY ALBERTA   309 HICKORY ST                                                                           OWOSSO              MI   48867
PALMER, DOROTHY E         3330 ELMWOOD DR                                                                          CLIO                MI   48420‐1509
PALMER, DOROTHY L         19 KENDALL AVE                                                                           NO TARRYTOWN        NY   10591‐2210
PALMER, DWIGHT D          123 N CHESTNUT ST APT 3                                                                  CLARKSBURG          WV   26301‐2613
PALMER, DWIGHT D          2399 BIRCH TRACE DR                                                                      AUSTINTOWN          OH   44515‐4914
PALMER, EDNA              11242 MORARITY AVE                                                                       COLE CAMP           MO   65325‐2030
PALMER, EDNA              RT 2 BOX 110                                                                             COLECAMP            MO   65325‐9223
PALMER, EDWARD J          5229 LOGAN ARMS DR                                                                       GIRARD              OH   44420‐1633
PALMER, EILEEN M          13138 WHITE LAKE RD                                                                      FENTON              MI   48430‐8421
PALMER, ELAINE E          5582 FIELDSTON CT                                                                        BLOOMFIELD HILLS    MI   48301‐1211
PALMER, ELAINE L          1713 MCCOY ST                                                                            COMMERCE TOWNSHIP   MI   48390‐2259
PALMER, ELIZABETH A       330 N MCKINLEY ST                                                                        TRURO               IA   50257‐1011
PALMER, ELIZABETH A       268 S SHIRLEY ST                                                                         PONTIAC             MI   48342‐3155
PALMER, ELLA R            205 SMALLS ST                                                                            MONCKS CORNER       SC   29461‐2613
PALMER, ELSIE A           7982 CARRIE LN                                                                           SOUTH LYON          MI   48178‐9636
PALMER, ERIC J            3041 HIGH POINTE RIDGE ROAD                                                              LAKE ORION          MI   48359‐1176
PALMER, ERIC L            3215 QUICK RD                                                                            HOLLY               MI   48442‐1061
PALMER, ERIC L            10946 STILLWATER CT                                                                      FISHERS             IN   46037‐8800
PALMER, ERIC L            4131 MIRACLES BLVD                                                                       DETROIT             MI   48201‐1545
PALMER, ERIK D            23859 BROADMOOR PARK LAN                                                                 NOVI                MI   48374
PALMER, ERWIN C           PO BOX 663                                                                               SHAWNEE MISSION     KS   66201‐0663
PALMER, ESTHER L          1929 MILLVILLE RD                                                                        LAPEER              MI   48446‐7646
PALMER, ETHEL LOU
PALMER, EUGENE            11680 ROSEMONT AVE                                                                       DETROIT             MI 48228‐1133
PALMER, FABIAN            3917 NEMO RD                                                                             RANDALLSTOWN        MD 21133‐4040
PALMER, FAYE H            124 4TH ST                                                                               TIPTON              IN 46072‐1851
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Name                  Address1                         Address2                       Address3   Address4         City                 State Zip
PALMER, FAYE H        124 4TH ST.                                                                                 TIPTON                IN 46072‐1851
PALMER, FLORENCE      1159 E LORADO AVE                                                                           FLINT                 MI 48505‐2322
PALMER, FLORENCE M    10133 LAPEER RD APT 315                                                                     DAVISON               MI 48423‐8198
PALMER, FRANK E       208 MUSTANG LN APT 9                                                                        AUBURN                MI 48611‐9340
PALMER, GABRIEL       2245 SW 123RD CT                                                                            MIAMI                 FL 33175‐7725
PALMER, GAIL M        2116 NUREMBERG BLVD                                                                         PUNTA GORDA           FL 33983
PALMER, GARRY O       3604 ROBERTS MEADOWS DR N                                                                   TECUMSEH              MI 49286‐7528
PALMER, GARRY OWEN    3604 ROBERTS MEADOWS DR N                                                                   TECUMSEH              MI 49286‐7528
PALMER, GARY A        PO BOX 101                                                                                  OTISVILLE             MI 48463‐0101
PALMER, GARY C        46850 EDGEWATER DR                                                                          MACOMB                MI 48044‐3596
PALMER, GAYLE Y       9803 DARTMOUTH WAY                                                                          LOVELAND              OH 45140‐4414
PALMER, GENE R        42 BLUEBIRD DR                                                                              MAYLENE               AL 35114‐9701
PALMER, GEORGE A      APT 3                            2728 NORTH ROAD SOUTHEAST                                  WARREN                OH 44484‐3785
PALMER, GEORGE A      2728 NORTH RD.                   TOWNHOUSE #3                                               WARREN                OH 44484
PALMER, GEORGE D      7369 S WOODROW DR                                                                           PENDLETON             IN 46064‐9102
PALMER, GEORGE H      1330 NIGHTINGALE ST                                                                         DEARBORN              MI 48128‐1007
PALMER, GEORGE L      4864 LA CHENE DR                                                                            WARREN                MI 48092‐4936
PALMER, GEORGE R      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA 23510‐2212
                                                       STREET, SUITE 600
PALMER, GEORGIA A     1403 WINDERMERE DR                                                                          COLUMBIA             TN   38401‐5119
PALMER, GERALD J      91 REPUBLIC RD                                                                              GLENWOOD             AR   71943
PALMER, GERALD L      2615 KENSINGTON DR                                                                          SAGINAW              MI   48601‐4566
PALMER, GERALDINE F   19 ARBOR AVE                                                                                TOPSHAM              ME   04086‐1841
PALMER, GERALDINE M   PO BOX 472613                                                                               AURORA               CO   80047‐2613
PALMER, GLADYS M      4574 SCHOULTZ RD RT 1                                                                       N BRANCH             MI   48461‐8110
PALMER, GLENN J       4078 RHEA ST                                                                                BURTON               MI   48509‐1038
PALMER, GREGORY A     7279 WEST VON DETTE CIRCLE                                                                  DAYTON               OH   45459‐5043
PALMER, GROVER C      19940 VAUGHAN ST                                                                            DETROIT              MI   48219‐2062
PALMER, HAROLD        THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD        SUITE 44                    CORAL GABLES         FL   33146
PALMER, HARRY E       5715 N WINDS DR APT 39                                                                      MENTOR ON THE LAKE   OH   44060‐2569
PALMER, HARRY E       7847 W WEIDMAN RD                                                                           WEIDMAN              MI   48893‐8600
PALMER, HARRY W       255 E OLD LIMESTONE RD                                                                      YORK                 SC   29745‐8323
PALMER, HARRY W.      255 E OLD LIMESTONE RD                                                                      YORK                 SC   29745‐8323
PALMER, HEATHER D     168 SYCAMORE DR                                                                             CARMEL               IN   46033‐1956
PALMER, HERMAN E      4124 BUCK MATTHEWS RD                                                                       COLUMBIA             TN   38401‐8541
PALMER, HOWARD D      PO BOX 171                                                                                  WEST CHESTER         OH   45071‐0171
PALMER, HOWARD J      4293 CULVER RD                                                                              ALBION               NY   14411‐9547
PALMER, HUGH T        609 SHIPP CIR                                                                               HIRAM                GA   30141‐4663
PALMER, J M           608 TOURNAMENT CIR 60                                                                       MUSKEGON             MI   49444
PALMER, JACLYN C      2402 MIDDLESEX DR                                                                           TOLEDO               OH   43606‐3114
PALMER, JACQUELINE    3530 CALHOUN ROAD                                                                           BEAVERTON            MI   48612
PALMER, JACQUELINE    3530 CALHOUN RD                                                                             BEAVERTON            MI   48612‐8320
PALMER, JAMES         CARNES TERRY LAW OFFICES         12900 PRESTON RD STE 410                                   DALLAS               TX   75230‐1334
PALMER, JAMES         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD           OH   44067
                                                       PROFESSIONAL BLDG
PALMER, JAMES
PALMER, JAMES         PO BOX 472                                                                                  SAGINAW              MI   48606‐0472
PALMER, JAMES A       554 TWILLA TRL                                                                              AZLE                 TX   76020‐1324
PALMER, JAMES E       9306 HIGHWAY O                                                                              ODESSA               MO   64076‐7402
PALMER, JAMES E       6405 TIMBER LEAF LN                                                                         INDIANAPOLIS         IN   46236‐7730
PALMER, JAMES E       4800 DUVALL RD LOT 219           C/O DAVID STAFFORD                                         ASHVILLE             OH   43103‐9337
PALMER, JAMES E       5621 COTTAGE LN                                                                             CLERMONT             GA   30527‐2236
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Name                  Address1                        Address2                      Address3   Address4         City                State Zip
PALMER, JAMES H       6970 S OCCIDENTAL RD                                                                      TECUMSEH             MI 49286‐9783
PALMER, JAMES J       1703 FITZHUGH ST                                                                          BAY CITY             MI 48708‐7950
PALMER, JAMES M       510 WILLOWLAKES DR                                                                        MONCKS CORNER        SC 29461‐2717
PALMER, JAMES R       3318 HAROLD ST                                                                            FLINT                MI 48503‐4106
PALMER, JAMES R       2033 S HADLEY RD                                                                          SPRINGFIELD          OH 45505‐4412
PALMER, JAMES W       PO BOX 481                                                                                EUFAULA              AL 36072‐0481
PALMER, JAMES W       PO BOX 367                                                                                SAGINAW              MI 48606‐0367
PALMER, JANE BOOMER   2989 ISLAND LAKE DR.                                                                      NATIONAL CITY        MI 48748‐9308
PALMER, JANELLEN A    809 HAWKS NEST ROAD                                                                       MANNINGTON           WV 26582‐6385
PALMER, JANET         1857 MEMORIAL DR                                                                          CLARKSVILLE          TN 37043‐6301
PALMER, JARED         511 S 660 E                                                                               IVINS                UT 84738‐5011
PALMER, JEAN          PO BOX 211                                                                                BEAVER ISLAND        MI 49782‐0211
PALMER, JEAN A        2811 LOCUST CT W                                                                          KOKOMO               IN 46902‐6800
PALMER, JEAN A        21601 N 156TH DR                                                                          SUN CITY WEST        AZ 85375‐6611
PALMER, JEANIE S      5140 SWEET HOME RD                                                                        NIAGARA FALLS        NY 14305‐3601
PALMER, JEANNE Y      6175 HONEYGATE DRIVE                                                                      DAYTON               OH 45424‐1141
PALMER, JEFFREY A     423 NEWVILLE ST                                                                           EDGERTON             WI 53534‐1911
PALMER, JEFFREY D     8613 W 139TH ST                                                                           OVERLAND PARK        KS 66223‐1340
PALMER, JEFFREY D     2352 CROSSINGS CIR                                                                        DAVISON              MI 48423‐8659
PALMER, JENNIFER      809 GILBREATH DR                                                                          LAWRENCEBURG         TN 38464‐2614
PALMER, JEREMIAH J
PALMER, JERRY B       1385 BERINGER DR                                                                          HOSCHTON            GA   30548‐3449
PALMER, JERRY J       3562 CHESTNUT PARK LANE                                                                   CLEBES              OH   45002‐5002
PALMER, JERRY L       1705 BITTERSWEET DR                                                                       ANDERSON            IN   46011‐9202
PALMER, JERRY M       5807 PLANK RD                                                                             ADRIAN              MI   49221‐9470
PALMER, JERRY P       4086 N MANITOU TRL W                                                                      LELAND              MI   49654‐9709
PALMER, JESSIE M      26432 S. RABER RD.              BOX 290                                                   GOETZVILLE          MI   49736
PALMER, JILL R        343 THISTLE LN                                                                            TROY                MI   48098‐4644
PALMER, JOAN E        126 HOOD PARK DR                                                                          JASPER              GA   30143‐8515
PALMER, JOANN         3240 FISHVILLE RD                                                                         GRASS LAKE          MI   49240‐9678
PALMER, JOANNE J      35247 WHISPERING PINES DRIVE                                                              ZEPHYRHILLS         FL   33541‐2690
PALMER, JOE B         3515 CLEAR CREEK BLVD                                                                     MARTINSVILLE        IN   46151‐7379
PALMER, JOE L         12301 S CARPENTER ST                                                                      CALUMET PARK        IL   60827‐6210
PALMER, JOE M         11375 W PARKWAY ST                                                                        DETROIT             MI   48239‐1361
PALMER, JOHN A        6529 TARAWA DR                                                                            SARASOTA            FL   34241‐5645
PALMER, JOHN A        880 KENT RD                                                                               ORTONVILLE          MI   48462‐8657
PALMER, JOHN B        9304 HENDERSON RD                                                                         CORUNNA             MI   48817‐9751
PALMER, JOHN D        30 HOWE ST                                                                                HUDSON              MA   01749‐1531
PALMER, JOHN D        3815 VALENCIA PARK                                                                        SAN ANTONIO         TX   78261
PALMER, JOHN D        790 NW 175TH DR                                                                           NORTH MIAMI BEACH   FL   33169‐4710
PALMER, JOHN DAVID    3815 VALENCIA PEAK                                                                        SAN ANTONIO         TX   78261‐2449
PALMER, JOHN E        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                      STREET, SUITE 600
PALMER, JOHN F        2140 GARDENLAND AVE                                                                       NILES               OH   44446‐4522
PALMER, JOHN K        1574 GREENWICH DR                                                                         TROY                MI   48098‐4389
PALMER, JOHN L        1400 7TH AVE N APT 114                                                                    BIRMINGHAM          AL   35203‐1853
PALMER, JOHN R        641 JONSOL CT                                                                             GAHANNA             OH   43230‐3115
PALMER, JOHN S        12220 FAIRBANKS RD                                                                        LINDEN              MI   48451‐9453
PALMER, JOSEPH        PO BOX 429                                                                                HOLLISTER           FL   32147‐0429
PALMER, JOSEPH        2663 LANTERN LANE,APT 306                                                                 AUBURN HILLS        MI   48236
PALMER, JOSEPH C      126 N KATRIN CIR                                                                          NEW CASTLE          DE   19720‐3583
PALMER, JOSH RYAN     11206 LINDA KAY                                                                           GOODRICH            MI   48438‐8801
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Name                   Address1                        Address2                      Address3   Address4         City              State Zip
PALMER, JOY I.         7708 BRIARSTONE LN                                                                        INDIANAPOLIS       IN 46227‐5428
PALMER, JOYCE C        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                       STREET, SUITE 600
PALMER, JOYCE C        28640 PARK CT                                                                             MADISON HEIGHTS   MI   48071‐3015
PALMER, JUANITA Y      8130 FRANCES RD                                                                           FLUSHING          MI   48433‐8825
PALMER, JUDITH K       2700 SHIMMONS RD LOT 52                                                                   AUBURN HILLS      MI   48326‐2004
PALMER, JUDITH M       4750 TIMBERLINE TRL                                                                       BARTON CITY       MI   48705‐9714
PALMER, JULIE M        7347 WELLINGTON LN                                                                        YPSILANTI         MI   48197‐1789
PALMER, KATHERINE S    4530 N LEAVITT RD NW                                                                      WARREN            OH   44485‐1145
PALMER, KATHERINE S    4530 N.LEAVITT RD.                                                                        WARREN            OH   44485‐1145
PALMER, KATHLEEN       2506 FALMOUTH AVE                                                                         DAYTON            OH   45406‐1705
PALMER, KATHY A        3085 N GENESEE RD APT 201                                                                 FLINT             MI   48506‐2191
PALMER, KATHY ANN      APT 201                         3085 NORTH GENESEE ROAD                                   FLINT             MI   48506‐2191
PALMER, KAY A          6247 MC KINNEY ST                                                                         BRIDGEPORT        MI   48722‐9509
PALMER, KAY A          6247 MCKINLEY ST                                                                          BRIDGEPORT        MI   48722‐9509
PALMER, KELLY J        2189 S GOLDEN LAKE RD                                                                     ANGOLA            IN   46703‐6929
PALMER, KELLY J        1460 S MILLER RD                                                                          SAGINAW           MI   48609‐9588
PALMER, KENNETH D      1929 MILLVILLE RD                                                                         LAPEER            MI   48446‐7646
PALMER, KENNETH D      1422 ARGYLE DR                                                                            ADRIAN            MI   49221‐1898
PALMER, KENNETH DALE   1929 MILLVILLE RD                                                                         LAPEER            MI   48446‐7646
PALMER, KENNETH L      14480 N STATE ROAD 3N                                                                     EATON             IN   47338‐8934
PALMER, KENNETH R      4138 ASH TREE STREET                                                                      SNELLVILLE        GA   30039‐3317
PALMER, KENNETH V      2500 OLSON DR                                                                             KETTERING         OH   45420‐1037
PALMER, KENT I         784 DUCK HOLW                                                                             VICTOR            NY   14564‐9568
PALMER, KEVIN M        1814 SLATER RD                                                                            LAPEER            MI   48446‐8362
PALMER, KIM            133 CHERRY TREE LN                                                                        ELKTON            MD   21921‐5815
PALMER, KIM W          6901 RIDGE RD                                                                             LOCKPORT          NY   14094‐9436
PALMER, LARRY          2420 E BELLERIVE PL                                                                       CHANDLER          AZ   85249‐4141
PALMER, LARRY A        1554 DUFFUS RD NE                                                                         WARREN            OH   44484‐1103
PALMER, LARRY A        1554 DUFFUS DR. NE                                                                        WARREN            OH   44484‐1103
PALMER, LARRY F        3021 LIBERTY HILLS DR                                                                     FRANKLIN          TN   37067‐5633
PALMER, LARRY J        9067 BENNETT LAKE RD                                                                      FENTON            MI   48430‐9053
PALMER, LARRY L        550 BURRITT RD                                                                            HILTON            NY   14468‐9705
PALMER, LARRY S        726 32ND ST SW                                                                            WYOMING           MI   49509‐3007
PALMER, LASCA L        301 EVERGREEN ST                                                                          LONGVIEW          TX   75604
PALMER, LAWRENCE J     4211 KEENE DRIVE                                                                          GRAND BLANC       MI   48439‐7906
PALMER, LEA E          1085 PHILLIPS RD                                                                          SMITHS GROVE      KY   42171‐9337
PALMER, LEA EMMA ANN   1085 PHILLIPS RD                                                                          SMITHS GROVE      KY   42171‐9337
PALMER, LENA M         6693 N. US 31                                                                             SHARPSVILLE       IN   46068
PALMER, LEO            WEITZ & LUXENBERG               180 MAIDEN LANE                                           NEW YORK          NY   10038
PALMER, LEON G         5009 HEGER DR                                                                             CINCINNATI        OH   45217‐1419
PALMER, LEONA          2930 FULLERTON ST                                                                         DETROIT           MI   48238‐3302
PALMER, LEONARD C      8130 FRANCES RD                                                                           FLUSHING          MI   48433‐8825
PALMER, LEROY          PO BOX 631                                                                                NICHOLLS          GA   31554‐0631
PALMER, LEROY          11287 KENNEBEC ST                                                                         DETROIT           MI   48205‐3245
PALMER, LESLIE L       22240 DERBY RD                                                                            WOODHAVEN         MI   48183‐3700
PALMER, LESLIE R       17 DONCASTER RD                                                                           NEW CASTLE        DE   19720‐3004
PALMER, LEWIS J        402 ASH ST                                                                                CONTINENTAL       OH   45831‐9178
PALMER, LILLIAN R      4318 COLUMBINE AVE                                                                        BURTON            MI   48529‐2117
PALMER, LINDA C        1554 DUFFUS DR. N.E.                                                                      WARREN            OH   44484‐1103
PALMER, LINDA C        1554 DUFFUS RD NE                                                                         WARREN            OH   44484‐1103
PALMER, LINDA D        2181 SKINNER HWY                                                                          CLAYTON           MI   49235‐9522
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PALMER, LINDA DARLENE   2181 SKINNER HWY                                                                                              CLAYTON             MI 49235‐9522
PALMER, LINDA L         1357 LEISURE DR                                                                                               FLINT               MI 48507‐4048
PALMER, LORA E          615 BUXTON ST                                                                                                 MARTINSBURG         WV 25401‐2109
PALMER, LOREAN          7835 HELEN                                                                                                    DETROIT             MI 48211‐3703
PALMER, LORENE H        2500 OLSON DR                                                                                                 DAYTON              OH 45420‐1037
PALMER, LORI A          23859 BROADMOOR PARK LN                                                                                       NOVI                MI 48374‐3676
PALMER, LOUIS B         5129 FRANKLIN DR                                                                                              KANSAS CITY         MO 64130‐3144
PALMER, LUCILLE         2323 W TOWNLINE #16                                                                                           PINCONNING          MI 48650‐8968
PALMER, MACK C          ANGELOS PETER G                     100 N CHARLES STREET, ONE                                                 BALTIMORE           MD 21201
                                                            CHARLES CENTER
PALMER, MADOLYN M       2002 ATLAS DR                                                                                                 TROY               MI    48083‐2663
PALMER, MADONNA         105 VILLAGE AVE                                                                                               HOUGHTON LAKE      MI    48629
PALMER, MARCIA R        4293 CULVER RD                                                                                                ALBION             NY    14411‐9547
PALMER, MARGARET        250 LONE TREE RD                                                                                              MILFORD            MI    48380‐2412
PALMER, MARGARET        3581 ARLINGTON DR UNIT 2                                                                                      ROTONDA WEST       FL    33947‐2303
PALMER, MARGARET A      16118 LAPPANS RD                                                                                              WILLIAMSPORT       MD    21795‐4048
PALMER, MARGARET A      30717 SANDALWOOD CIR                                                                                          NOVI               MI    48377‐1590
PALMER, MARGARET E      244 SURREY CT                                                                                                 MARTINSBURG        WV    25401‐2818
PALMER, MARGARET M      11994 PYMBROKE PL                                                                                             FISHERS            IN    46038‐2750
PALMER, MARGARET R      2399 BIRCH TRACE DRIVE                                                                                        YOUNGSTOWN         OH    44515
PALMER, MARGARET W      64 BEELZEBUB ROAD                                                                                             SOUTH WINDSOR      CT    06074‐2223
PALMER, MARGARET W      64 BEELZEBUB RD                                                                                               SOUTH WINDSOR      CT    06074‐2223
PALMER, MARGIE L        514 BALDWIN AVE                                                                                               NILES              OH    44446‐3623
PALMER, MARIAN R        307 HYDE AVE                                                                                                  NILES              OH    44446‐1649
PALMER, MARION          126 VALLEY ST                                                                                                 SLEEPY HOLLOW      NY    10591‐2827
PALMER, MARK O          45962 MEADOW LN                                                                                               MACOMB             MI    48044‐4181
PALMER, MARK S          131 HAMPTON CT                                                                                                LANSING            KS    66043‐1909
PALMER, MARK STEVEN     131 HAMPTON CT                                                                                                LANSING            KS    66043‐1909
PALMER, MARSHA          2615 KENSINGTON DRIVE                                                                                         SAGINAW            MI    48601‐4566
PALMER, MARSHA D        800 MACMILLAN DR                                                                                              TROTWOOD           OH    45426‐2747
PALMER, MARTHA T.       3305 TWIN BRANCHES RD                                                                                         CUMMING            GA    30041‐8262
PALMER, MARY            211 SANDY LN                                                                                                  NEW SMYRNA BEACH   FL    32168‐6027
PALMER, MARY A          206 N GREGG DR                                                                                                MARION             IN    46952‐3108
PALMER, MARY A          10686 NEWGATE LN                                                                                              INDIANAPOLIS       IN    46231‐1815
PALMER, MARY I          200 ASHWOOD DR #238                                                                                           PENDLETON          IN    46064‐0017
PALMER, MARY L          1008 W DOROTHY LN                                                                                             DAYTON             OH    45409
PALMER, MARY L          1446 WALNUT VIEW                    BUILDING 3                                                                FLINT              MI    48532
PALMER, MARY R          4211 KEENE DR                                                                                                 GRAND BLANC        MI    48439‐7906
PALMER, MATTIE L        24617 STANFORD ST                                                                                             DEARBORN HEIGHTS   MI    48125‐1614
PALMER, MAXINE          2206 S WASHINGTON AVE                                                                                         SAGINAW            MI    48601
PALMER, MEGAN J         41863 AMBERLY DR                                                                                              CLINTON TWP        MI    48038‐1914
PALMER, MELVIN          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                              SAGINAW            MI    48604‐2602
                                                            260
PALMER, MELVIN A        151 BISSELL AVENUE APT 1                                                                                      BUFFALO            NY    14211
PALMER, MICHAEL A       1973 HOME PATH CT                                                                                             CENTERVILLE        OH    45459‐5459
PALMER, MICHAEL C       125 WA WEE NORK                     5B                                                                        BATTLE CREEK       MI    49015
PALMER, MICHAEL O       9950 REESE RD                                                                                                 BIRCH RUN          MI    48415‐9445
PALMER, MICHAEL R       1750 E SANILAC RD                                                                                             CARO               MI    48723‐9553
PALMER, MICHELLE M      488 NATURE VIEW CT                                                                                            SAINT PAUL         MN    55118
PALMER, MILDRED E       LEGAL SERVICES OF NORTHERN MICHI    C/O JON PETTIT                 207 WEST GRANDVIEW PKWY                    TRAVERSE CITY      MI    49684
                                                                                           STE 103
PALMER, MILDRED L       1425 PINETREE DRIVE                                                                                           NAPEVILLE           IL   60565‐1276
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Name                     Address1                       Address2                         Address3   Address4         City               State Zip
PALMER, MILDRED M        3666 LENORE ST                                                                              MELVINDALE          MI 48122‐1120
PALMER, MILTON C         501 KING ST APT 120                                                                         EATON RAPIDS        MI 48827
PALMER, MOLLIE FRANCES   APT 411                        2910 BUFORD DRIVE                                            BUFORD              GA 30519‐6521
PALMER, MONICA D         3327 TAYLORWOOD LANE                                                                        SPRING HILL         TN 37174‐7525
PALMER, MORRIS C         4397 STANLEY RD                                                                             GENESEE             MI 48437‐7719
PALMER, MURRAY G         7 SANDDOLLAR DR                                                                             CAROLINA SHORES     NC 28467‐2581
PALMER, NANCY A          9901 FULMER RD                                                                              MILLINGTON          MI 48746‐9704
PALMER, NANCY C          1988 RINIEL RD                                                                              LENNON              MI 48449‐9316
PALMER, NANCY O          2407 RITA CT                                                                                ANDERSON            IN 46012‐9647
PALMER, NATASHA M        2211 RICHLEY DR                                                                             DAYTON              OH 45408‐2514
PALMER, NED W            121 1/2 W. HAMLIN STREET                                                                    EATON RAPIDS        MI 48827
PALMER, NELA M           169 FRANKLIN AVE                                                                            AURORA               IL 60506‐5065
PALMER, NELA M           169 FRANKLIN STREET                                                                         AURORA               IL 60506‐5065
PALMER, NICHOLE L        1502 SOUTHRIDGE DR                                                                          JANESVILLE          WI 53545‐5835
PALMER, NICOLE           KIMMEL & SILVERMAN PC          30 EAST BUTLER PIKE, SUITE 310                               AMBLER              PA 19002
PALMER, NICOLE K         1810 PORTSMOUTH DR                                                                          ARLINGTON           TX 76018‐1884
PALMER, NORA             2915 PURVIS OLOH RD                                                                         SUMRALL             MS 39482‐3751
PALMER, NORA             813 NELSON CIRCLE                                                                           NOBLESVILLE         IN 46060
PALMER, NORMA            503 STATE STREET                                                                            VICKSBURG           MI 49097‐1231
PALMER, NORMA            503 STATE ST                                                                                VICKSBURG           MI 49097‐1231
PALMER, NORMA C          3427 W SHIAWASSEE AVE                                                                       FENTON              MI 48430‐1750
PALMER, NORMAN A         6930 NORTHVIEW DR                                                                           LOCKPORT            NY 14094
PALMER, NORMAN A         3862 LOCKPORT OLCOTT RD                                                                     LOCKPORT            NY 14094‐1129
PALMER, NORMAN G         1401 W LAKE RD                                                                              CLIO                MI 48420‐8882
PALMER, NOVA N           507 SOUTH SWEGLES STREET                                                                    SAINT JOHNS         MI 48879‐2231
PALMER, ODELIA M         316 FOX RD                                                                                  SANDUSKY            OH 44870‐9706
PALMER, OLEN             705 SAINT ANDREWS BLVD                                                                      LADY LAKE           FL 32159‐2261
PALMER, OSBORNE V        516 PAGE ST                                                                                 FLINT               MI 48505‐4734
PALMER, OTIS C           PO BOX 19189                                                                                DETROIT             MI 48219
PALMER, PAMELA I         35750 OAKWOOD LN                                                                            WESTLAND            MI 48186‐4102
PALMER, PAMELA IRENE     35750 OAKWOOD LN                                                                            WESTLAND            MI 48186‐4102
PALMER, PAMELA K         3033 FRANKLIN PARK DR                                                                       STERLING HEIGHTS    MI 48310‐2478
PALMER, PATRICIA         7555 22ND AVE                                                                               JENISON             MI 49428
PALMER, PATRICIA         7547 FAIRVIEW DR                                                                            LOCKPORT            NY 14094‐1609
PALMER, PATRICIA K       14948 FALLING WATERS RD                                                                     WILLIAMSPORT        MD 21795‐2053
PALMER, PATRICIA R       PO BOX 407                                                                                  SAINT HELEN         MI 48656‐0407
PALMER, PATRICK D        6185 NATURES CV                                                                             GRAND BLANC         MI 48439‐9444
PALMER, PATRICK J        4220 CENTER POINTE LN 21                                                                    SARASOTA            FL 34233
PALMER, PATTY M          3346 ROYAL BLVD                                                                             COMMERCE TWP        MI 48382‐4387
PALMER, PAUL A           2211 RICHLEY DR                                                                             DAYTON              OH 45408‐2514
PALMER, PAUL E           322 E MARYKNOLL RD                                                                          ROCHESTER HILLS     MI 48309‐1957
PALMER, PAULINE          907 DAFFODIL DRIVE                                                                          WATERFORD           MI 48327‐1401
PALMER, PAULINE E        2811 LOCUST CT W                                                                            KOKOMO              IN 46902‐5800
PALMER, PEGGY            647 RED OAK WAY                                                                             MOORESVILLE         IN 46158‐2727
PALMER, PETER J          5898 S TRANSIT RD                                                                           LOCKPORT            NY 14094‐6306
PALMER, PHILIP J         4060 VAN WAGNEN RD                                                                          VASSAR              MI 48768‐9702
PALMER, PHILIP L         439 OLD BRIDGE RD                                                                           GRAND BLANC         MI 48439‐1149
PALMER, PHILLIP B        3330 ELMWOOD DR                                                                             CLIO                MI 48420‐1509
PALMER, PHYLLIS F        10 UNION BLVD                                                                               ENGLEWOOD           OH 45322‐1235
PALMER, PHYLLIS F        10 N UNION BLVD                                                                             ENGLEWOOD           OH 45322‐1235
PALMER, PHYLLIS J        3319 TRADWINDS AVENUE                                                                       RIVERSIDE           OH 45424
PALMER, R B              2726 WINDHAM CLB                                                                            COLUMBUS            OH 43219‐3173
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Name                    Address1                      Address2              Address3       Address4         City            State Zip
PALMER, RACHEL E        39482 STATE ROUTE 517                                                               LISBON           OH 44432‐9357
PALMER, RAINEY          1669 S MAIN ST                                                                      GUNTOWN          MS 38849‐5100
PALMER, RAINEY          MERKEL & COCKE                PO BOX 1388                                           CLARKSDALE       MS 38614‐1388
PALMER, RALPH E         111 POINTE VIEW CT                                                                  JACKSON          GA 30233‐6345
PALMER, RANDY G         1573 S 700 E                                                                        ELWOOD           IN 46036‐8434
PALMER, RANDY GEORGE    1573 S 700 E                                                                        ELWOOD           IN 46036‐8434
PALMER, RANDY L         9915 REESE RD                                                                       CLARKSTON        MI 48348‐1855
PALMER, RANEY D         1216 DALE DR                                                                        MONROE           GA 30656‐3525
PALMER, RAYMOND J       495 MORNINGSIDE DR                                                                  GRAND BLANC      MI 48439‐1614
PALMER, RAYMOND M       14134 EDMORE DR                                                                     DETROIT          MI 48205‐1258
PALMER, REBECCA A       210 LYLBURN RD                                                                      MIDDLETOWN       OH 45044‐5045
PALMER, REGINA M.       25 FER DON RD                                                                       DAYTON           OH 45405‐5132
PALMER, RICHARD         23620 CARLINGTON ST                                                                 CLINTON TWP      MI 48036‐3108
PALMER, RICHARD A       4479 MEADOWBROOK DR                                                                 FLINT            MI 48506‐2004
PALMER, RICHARD E       35750 OAKWOOD LN                                                                    WESTLAND         MI 48186
PALMER, RICHARD E       214 MCCARTY DR                                                                      GREENWOOD        IN 46142‐1928
PALMER, RICHARD E       1961 WOLF PEN HOLLOW LN                                                             WRIGHT CITY      MO 63390‐1430
PALMER, RICHARD E       1251 NW 36TH PL                                                                     CAPE CORAL       FL 33993‐9324
PALMER, RICHARD E       73 WESTOVER DR                                                                      WEBSTER          NY 14580‐3809
PALMER, RICHARD F       PO BOX 401                                                                          SENECAVILLE      OH 43780‐0401
PALMER, RICHARD G       5728 HARVEYSBURG RD                                                                 WAYNESVILLE      OH 45068‐9423
PALMER, RICHARD H       PO BOX 1681                                                                         MIAMISBURG       OH 45343‐1681
PALMER, RICHARD L       1004 WOODGLEN AVE                                                                   YPSILANTI        MI 48198‐6216
PALMER, RICHARD L       2261 E DODGE RD                                                                     CLIO             MI 48420‐9747
PALMER, RICHARD LEE     2261 E DODGE RD                                                                     CLIO             MI 48420‐9747
PALMER, RICHARD M       7859 REESE RD                                                                       CLARKSTON        MI 48348‐4337
PALMER, RICHARD P       15 DITMER                     DAYVIEW VILLIAGE                                      NEW CARLISLE     OH 45344‐7555
PALMER, RICK L          3442 SW ROSSER BLVD                                                                 PORT ST LUCIE    FL 34953‐4922
PALMER, RICKY R         6212 BERMUDA LN                                                                     MOUNT MORRIS     MI 48458‐2625
PALMER, ROBERT          311 GODDARD AVE                                                                     BRIDGEPORT       CT 06610‐2047
PALMER, ROBERT          17018 MCELROY RD                                                                    ARLINGTON        WA 98223‐7474
PALMER, ROBERT B        1721 DOUGLAS RD                                                                     WICKLIFFE        OH 44092‐1005
PALMER, ROBERT C        36 LAKEVIEW DR                                                                      MULBERRY         FL 33860‐9393
PALMER, ROBERT D        2929 E MAIN ST LOT 129                                                              MESA             AZ 85213‐9324
PALMER, ROBERT E        PO BOX 73                                                                           DAVISON          MI 48423‐0073
PALMER, ROBERT E        18209 MIDDLEBELT RD                                                                 LIVONIA          MI 48152‐3613
PALMER, ROBERT EDWARD   18209 MIDDLEBELT RD                                                                 LIVONIA          MI 48152‐3613
PALMER, ROBERT J        503 STATE ST                                                                        VICKSBURG        MI 49097‐1231
PALMER, ROBERT J
PALMER, ROBERT L        4018 BOSART ROAD                                                                    SPRINGFIELD     OH   45503‐6514
PALMER, ROBERT L        9028 S WOODLAWN AVE                                                                 CHICAGO         IL   60619‐7929
PALMER, ROBERT L        4018 BOSART RD                                                                      SPRINGFIELD     OH   45503‐6514
PALMER, ROBERT M        871 STONEBROOK BLVD                                                                 NOLENSVILLE     TN   37135‐9778
PALMER, ROBERT N        48195 WARREN RD                                                                     CANTON          MI   48187‐1216
PALMER, ROBERT O        215 E RIVER DR                                                                      ANDERSON        IN   46016‐6807
PALMER, RODGER E        919 GREENHEART DR                                                                   NEW CARLISLE    OH   45344‐1112
PALMER, ROGER H         18 BROADWAY ST                                                                      OXFORD          MI   48371‐4916
PALMER, RONALD          HAROWITZ & TIGERMAN           450 SANSOME ST FL 3                                   SAN FRANCISCO   CA   94111‐3311
PALMER, RONALD J        318 WILSON AVE                                                                      MOUNT MORRIS    MI   48458‐1444
PALMER, RONALD W        4 EDGARTOWN LN                                                                      BARNEGAT        NJ   08005‐3332
PALMER, ROOSEVELT       18235 TRACEY ST                                                                     DETROIT         MI   48235‐2529
PALMER, ROSE ANN        49545 SCHOENHERR                                                                    SHELBY TWP      MI   48315‐3866
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Name                          Address1                              Address2                  Address3   Address4         City               State Zip
PALMER, ROSE E                801 N LINN                                                                                  BAY CITY            MI 48706‐3732
PALMER, ROSE E                801 N LINN ST                                                                               BAY CITY            MI 48706‐3732
PALMER, ROSE L                CO SUSAN EDWARDS 31 STOTTLE RD                                                              CHURCHVILLE         NY 14428‐4428
PALMER, ROSEMARY              1307 HIGHLAND AVENUE                                                                        CHESTER             PA 19013‐1912
PALMER, ROSEMARY C            7868 ROBINSON AVE                                                                           ALLEN PARK          MI 48101‐2287
PALMER, RUSSEL B              1224 W COURT ST                                                                             FLINT               MI 48503‐5006
PALMER, RUSSELL A             225 CHICAGO ST                                                                              LAKE ORION          MI 48362‐2833
PALMER, RUSSELL W             1019 W SUNNY LN                                                                             JANESVILLE          WI 53546‐8939
PALMER, RUTH F                881 STAMBAUGH AVE                                                                           SHARON              PA 16146‐4143
PALMER, RUTH G                2140 GARDENLAND AVE                                                                         NILES               OH 44446‐4522
PALMER, SANDRA                380 BALMORAL DR                                                                             RICHMOND HTS        OH 44143‐1762
PALMER, SANDRA                10473 GERA RD                                                                               BIRCH RUN           MI 48415‐9753
PALMER, SANDRA A              848 FAIRGROVE WAY                                                                           TROTWOOD            OH 45426‐2213
PALMER, SANDRA M
PALMER, SANDRA M              7847 W WEIDMAN RD                                                                           WEIDMAN            MI   48893‐8600
PALMER, SARA                  561 BRIARWOOD DRIVE                                                                         ADRIAN             MI   49221‐8441
PALMER, SCOTT A               4880 S COCHRAN RD                                                                           CHARLOTTE          MI   48813‐9182
PALMER, SHANE L               1237 GUNTLE RD                                                                              NEW LEBANON        OH   45345‐9391
PALMER, SHANE M               APT B302                              9888 EAST VASSAR DRIVE                                DENVER             CO   80231‐5967
PALMER, SHARON                7058 SHENANDOAH TRL                                                                         AUSTELL            GA   30168‐6699
PALMER, SHARON                995 PINE FOREST DR                                                                          MABLETON           GA   30126
PALMER, SHARON A              1197 MONTE SERENO DR                                                                        THOUSAND OAKS      CA   91360‐2408
PALMER, SHARON D              PO BOX 5544                                                                                 MANSFIELD          OH   44901‐5544
PALMER, SHAY
PALMER, SLYVIA                2507 VAN FLEET CIR                                                                          DORAVILLE          GA   30360‐2519
PALMER, STEPHANIE A           7279 W VON DETTE CIR                                                                        CENTERVILLE        OH   45459‐5043
PALMER, STEPHANIE E           APT 2071                              13201 SOUTH WAKIAL LOOP                               PHOENIX            AZ   85044‐5029
PALMER, STEPHEN D             804 DUNDEE CIR                                                                              LEESBURG           FL   34788‐7675
PALMER, STEPHENY D            3708 COLUMBINE DR                                                                           FORT WORTH         TX   76140‐3504
PALMER, STEPHENY DELAYNE      3708 COLUMBINE DR                                                                           FORT WORTH         TX   76140‐3504
PALMER, STEVE M               201 FAIRVIEW DRIVE                                                                          BRANDON            MS   39047‐7062
PALMER, STORME (AGE 5 YRS),   MERKEL & COCKE                        PO BOX 1388                                           CLARKSDALE         MS   38614‐1388
PALMER, SUE A                 12461 NW 3RD ST APT C3                                                                      PLANTATION         FL   33325‐2341
PALMER, SUE ANNE              4810 COTTAGE RD                                                                             LOCKPORT           NY   14094‐1602
PALMER, SUSAN                 3357 W MULLINS LN                                                                           THATCHER           AZ   85552‐5464
PALMER, SUSIE N               275 CHARLES ST                                                                              XENIA              OH   45385‐5017
PALMER, SUZANNE L             5489 WARNER RD                                                                              KINSMAN            OH   44428‐9793
PALMER, SYDNEY R              3240 FISHVILLE RD                                                                           GRASS LAKE         MI   49240‐9678
PALMER, TERESA A              131 HAMPTON CT                                                                              LANSING            KS   66043‐1909
PALMER, TERRANCE L            3423 W 950 S                                                                                PENDLETON          IN   46064‐9526
PALMER, TERRY                 1413 DAGMAR AVE                                                                             PITTSBURGH         PA   15216‐3712
PALMER, TERRY C               5560 SEABREEZE LN                                                                           STERLING HEIGHTS   MI   48310‐7453
PALMER, TERRY L               3204 W BARNES LAKE RD                                                                       COLUMBIAVILLE      MI   48421‐9364
PALMER, TERRY LEE             3204 W BARNES LAKE RD                                                                       COLUMBIAVILLE      MI   48421‐9364
PALMER, TERRY S               3900 GRAPEVINE MILLS PKWY UNIT 3531                                                         GRAPEVINE          TX   76051‐0952

PALMER, THELMA D              PO BOX 401                                                                                  SENECAVILLE        OH   43780‐0401
PALMER, THEODORE              8845 STATE ROUTE 2                                                                          GREENUP            KY   41144‐7878
PALMER, THOMAS A              31044 HATHAWAY ST                                                                           LIVONIA            MI   48150‐2902
PALMER, THOMAS A              1611 HILLCREST ST                                                                           LANSING            MI   48910‐0309
PALMER, THOMAS A              1104 DREON DR                                                                               CLAWSON            MI   48017‐1015
PALMER, THOMAS C              25550 DEI ST                                                                                MADISON HEIGHTS    MI   48071‐4113
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Name                 Address1                          Address2           Address3     Address4         City             State Zip
PALMER, THOMAS C     822 THORNTON ST                                                                    LIBERTY           MO 64068‐2142
PALMER, THOMAS D     1719 MAPLEWOOD ST NE                                                               WARREN            OH 44483‐4169
PALMER, THOMAS E     55 PLEASANT VALLEY RD                                                              MCDONOUGH         GA 30253‐5369
PALMER, THOMAS L     13990 A DR S                                                                       MARSHALL          MI 49068‐9203
PALMER, THOMAS P     55 PLEASANT VALLEY RD                                                              MCDONOUGH         GA 30253‐5369
PALMER, THOMAS P.    55 PLEASANT VALLEY RD                                                              MCDONOUGH         GA 30253‐5369
PALMER, THOMAS R     194 RAINBOW DR # 9407                                                              LIVINGSTON        TX 77399‐1094
PALMER, TIM K        1508 W 250 N                                                                       ANDERSON          IN 46011‐9200
PALMER, TIM R        5040 W CLARK RD                                                                    LANSING           MI 48906‐9367
PALMER, TODD M       254 GRISSOM CT                                                                     FLUSHING          MI 48433‐9289
PALMER, TONYA        85 RIVERDALE AVE APT 333                                                           YONKERS           NY 10701
PALMER, TRACY L      225 CHICAGO ST                                                                     LAKE ORION        MI 48362‐2833
PALMER, VALERIE L    2156 UTLEY RD                                                                      FLINT             MI 48532‐4836
PALMER, VELONIA      3340 HILLVIEW AVE                                                                  FLINT             MI 48504‐1222
PALMER, VERA         2323 WILLIS AVE                                                                    PERRY              IA 50220‐2148
PALMER, VERA P       72 BURGARD PL                                                                      BUFFALO           NY 14211‐2424
PALMER, VICTOR P     HC 71 BOX 98                                                                       KINGSTON          OK 73439‐9707
PALMER, WALTER       PORTER & MALOUF PA                4670 MCWILLIE DR                                 JACKSON           MS 39206‐5621
PALMER, WALTER A     10462 ST JUST RD                                                                   UNIONVILLE        VA 22567‐3502
PALMER, WALTER D     423 SMITH ST                                                                       NILES             OH 44446‐1819
PALMER, WALTER D     1618 W PARK AVE                                                                    NILES             OH 44446‐1129
PALMER, WALTER E     8815 KEEVERS DR                                                                    INDIANAPOLIS      IN 46234‐2826
PALMER, WANDA E      30408 WACO RD                                                                      MCLOUD            OK 74851‐9379
PALMER, WANDA M      PO BOX 151                        1859 MICHIGAN ST                                 MCBRIDES          MI 48852‐0151
PALMER, WAYNE M      14501 ELM AVE                                                                      EAST CLEVELAND    OH 44112‐2605
PALMER, WENDY A      26055 E RIVER RD                                                                   GROSSE ILE        MI 48138‐1855
PALMER, WENDY M      6831 MEADOW GLEN DRIVE SOUTH                                                       WESTERVILLE       OH 43082‐7760
PALMER, WILBER L     3878 9TH ST                                                                        ECORSE            MI 48229‐1611
PALMER, WILLIAM      ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                 PHILADELPHIA      PA 19103‐6612
                     P.C.
PALMER, WILLIAM A    214 N ANDRE ST                                                                     SAGINAW          MI   48602‐4010
PALMER, WILLIAM B    472 BEST ST                                                                        BUFFALO          NY   14208‐2427
PALMER, WILLIAM C    1202 EAST 19TH STREET                                                              STERLING         IL   61081‐1518
PALMER, WILLIAM G    8162 WILLIAMS                                                                      MONTROSE         MI   48457‐8910
PALMER, WILLIAM G    8162 WILLIAMS ST.                                                                  MONTROSE         MI   48457‐8910
PALMER, WILLIAM J    1915 W PEKIN RD                                                                    LEBANON          OH   45036‐9103
PALMER, WILLIAM L    8070 N HILLS DR                                                                    BROADVIEW HTS    OH   44147‐1017
PALMER, WILLIAM M    2447 N HACKER RD                                                                   HOWELL           MI   48855‐9079
PALMER, WILLIAM R    7218 CARRIAGE OAKS                                                                 SAN ANTONIO      TX   78249‐2525
PALMER, WILLIAM R    15235 BLUE SKIES STREET                                                            LIVONIA          MI   48154‐4866
PALMER, WILLIAM R    105 MARION ST                                                                      OWOSSO           MI   48867‐1352
PALMER, WILLIE J     11960 SHEFFIELD DR                                                                 FLORISSANT       MO   63033‐7913
PALMER, WILLIE J     759 ADDISON ST                                                                     FLINT            MI   48505‐3910
PALMER, WILMA J      439 OLD BRIDGE RD                                                                  GRAND BLANC      MI   48439‐1149
PALMER, WILMA M      35858 SCHLEY ST                                                                    WESTLAND         MI   48186‐4245
PALMER, WILTON S     1595 GUNTLE RD                                                                     NEW LEBANON      OH   45345‐9393
PALMER, WILTON S     1595 GUNTLE RD.                                                                    NEW LEBANON      OH   45345‐9393
PALMER, WINONA       139 GLENDALE AVE                                                                   WINSTED          CT   06098‐1840
PALMER, WINONA B     1894 MORGANTON DR                                                                  HENDERSON        NV   89052‐6957
PALMER,BARBARA ANN   11 SPARKS ST                                                                       TROTWOOD         OH   45426‐3014
PALMER,JORGE L       P.O. BOX 860129                                                                    RIDGEWOOD        NY   11386
PALMER,REBECCA A     210 LYLBURN RD                                                                     MIDDLETOWN       OH   45044‐5045
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Name                               Address1                          Address2            Address3         Address4            City                 State Zip
PALMER‐ASHLEY, EVELYN A            29 DEER TRL                                                                                SAGINAW               MI 48638‐7374
PALMER‐BROWN, LILLIE B             PO BOX 241574                                                                              MONTGOMERY            AL 36124‐1574
PALMERI, ANTHONY                   PO BOX 24734                                                                               ROCHESTER             NY 14624‐0734
PALMERI, ANTONINO                  6, W DENE DR.                     N SHIELDS           TYNE AND WEAR    NE30 2TA ENGLAND
PALMERI, AUGUSTA                   452 ELLINWOOD DR                                                                           ROCHESTER            NY   14622‐2375
PALMERI, DOROTHY M                 309 S CLINTON ST                                                                           ALBION               NY   14411‐1507
PALMERI, JAMES T                   1852 LIVE OAK DR                                                                           SHREVEPORT           LA   71118‐2216
PALMERI, JAMES THOMAS              1852 LIVE OAK DR                                                                           SHREVEPORT           LA   71118‐2216
PALMERI, KATIE J                   5155 ROBERTS DR                                                                            FLINT                MI   48506‐1592
PALMERI, KATIE JANE                5155 ROBERTS DR                                                                            FLINT                MI   48506‐1592
PALMERI, LEONARD W                 34705 29 MILE RD                                                                           LENOX                MI   48050‐2500
PALMERI, LOUIS                     105 W 6TH ST                                                                               BAY MINETTE          AL   36507‐4446
PALMERI, NICOLO                    223 LYNN ST                                                                                FLUSHING             MI   48433
PALMERI, RICHARD C                 133 BLUE GRASS LN                                                                          ROCHESTER            NY   14626‐1737
PALMERIE, STEPHEN                  23821 RIPPLE CRK                                                                           NOVI                 MI   48375‐3550
PALMERINO, JEROME T                126 KINSHIP RD APT 1A                                                                      BALTIMORE            MD   21222‐3815
PALMERINO, MARK S                  2002 FOREST SIDE DR                                                                        ABERDEEN             MD   21001
PALMERINO, MARK S                  2202 FORESTSIDE DRIVE                                                                      ABERDEEN             MD   21001‐1522
PALMERLEE, JOHNNETTA               24251 PEMBROKE AVE                                                                         DETROIT              MI   48219‐1049
PALMERTON, ALLAN C                 1418 WILSHIRE RD                                                                           HASLETT              MI   48840‐8412
PALMERTON, ROY C                   2650 SNOVER RD                                                                             MAYVILLE             MI   48744
PALMESE, MICHAEL A                 512 SWORD DANCE PL                                                                         CRANBERRY TOWNSHIP   PA   16066‐2252
PALMESE, NICHOLAS                  PO BOX 397                                                                                 PT PLEASANT          PA   18950‐0397
PALMETER, ROLLIE A                 9333 N DORT HWY                                                                            MOUNT MORRIS         MI   48458‐1222
PALMETTO CHEVROLET CO., INC        1122 4TH AVE                                                                               CONWAY               SC   29526‐5110
PALMETTO CHEVROLET CO., INC        WILLIAM MARSH                     1122 4TH AVE                                             CONWAY               SC   29526‐5110
PALMETTO STATE TRANSPORTATION CO   1050 PARK WEST BLVD                                                                        GREENVILLE           SC   29611‐6124
INC
PALMGREN, IVAR G                   6165 PICKETTS RDG NW                                                                       ACWORTH              GA   30101‐4374
PALMIERE ANTHONY                   445 MERMAID AVE                                                                            BEACHWOOD            NJ   08722‐3707
PALMIERE, ANTHONY                  445 MERMAID AVE                                                                            BEACHWOOD            NJ   08722‐3707
PALMIERE, RUTH J                   99 MAPLE ST                                                                                BEACHWOOD            NJ   08722‐2433
PALMIERE, SALVATORE A              1555 S OCEAN LN APT 175                                                                    FORT LAUDERDALE      FL   33316
PALMIERI CARMINE                   PO BOX 56593                                                                               SHERMAN OAKS         CA   91413‐1593
PALMIERI RONALD                    7728 STEBBINS ST                                                                           SAN ANTONIO          TX   78240‐2615
PALMIERI, ANTHONY L                3075 DIX HWY TRLR C6                                                                       LINCOLN PARK         MI   48146‐2565
PALMIERI, CELIA M                  15581 HANOVER AVE                                                                          ALLEN PARK           MI   48101‐2735
PALMIERI, FRANK A                  10 MEADOW LN                                                                               MONTVALE             NJ   07645‐2517
PALMIERI, GIOVANNI                 40 REGINA DR                                                                               ROCHESTER            NY   14606‐3526
PALMIERI, JAMES E                  17701 HERON LN                                                                             FORT MYERS           FL   33908‐6179
PALMIERI, JAMES E                  1131 W CENTER ST EXT                                                                       SOUTHINGTON          CT   06489‐2144
PALMIERI, JAMES J                  324 HAYES AVE                                                                              HAMILTON             OH   45015
PALMIERI, JESSIE E                 28‐A BRADFORD LANE                                                                         MONROE TOWNSHIP      NJ   08831‐1546
PALMIERI, JESSIE E                 28A BRADFORD LN                                                                            MONROE TOWNSHIP      NJ   08831‐6719
PALMIERI, JULIE A                  1212 HAMPSHIRE DR                                                                          CANTON               MI   48188‐1277
PALMIERI, KELLY A                  4 IVY PL                                                                                   HOWELL               NJ   07731‐2678
PALMIERI, MARK A                   2 RAILROAD AVE                                                                             DOUGLAS              MA   01516
PALMIERI, MICHAELENA A             5 VANCE CT                                                                                 HAMILTON             OH   45015‐1957
PALMIERI, MICHAELENA A             5 VANCE COURT                                                                              HAMILTON             OH   45015‐1957
PALMIERI, RANDY B                  2635 TOURNAMENT DR                                                                         GREENWOOD            IN   46143‐9595
PALMIERI, ROBERT L                 800 FOSTER AVE                                                                             HAMILTON             OH   45015‐2160
PALMIERI, RONALD J                 1 AMHERST CT                                                                               BORDENTOWN           NJ   08505‐3101
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Name                      Address1                       Address2                        Address3   Address4         City            State Zip
PALMIERI, ROSEMARIE       10 PUTNAM GRN APT A                                                                        GREENWICH        CT 06830‐6034
PALMIERI, SANDRA J        10 SEAGRAVE ST                                                                             UXBRIDGE         MA 01569‐2415
PALMIERI, WAYNE J         15 PEABODY ROAD                                                                            PEABODY          MA 01960‐2532
PALMIERO, GIOVANNI A      81 BIRCH RD                                                                                STATEN ISLAND    NY 10303‐1718
PALMIERO, LUIGI           60 OXFORD LN                                                                               ABERDEEN         NJ 07747‐2140
PALMIERO, MAXINE A        10717 CAPTAIN HOOK CIR                                                                     THONOTOSASSA     FL 33592‐8313
PALMIERO, MAXINE A        10717 CAPTIN HOOK CR                                                                       THONOTO SASSA    FL 33592‐8313
PALMIERO, PHILIP A        398 DELAWARE RD                                                                            KENMORE          NY 14217‐1719
PALMINA KISH              147 PROSPECT AVE                                                                           EDISON           NJ 08817‐3135
PALMIOTTO DOMINICK        PALMIOTTO, DOMINICK            1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL      NJ 08003
PALMIRA C MASTERS         ATTN: BUSINESS OFFICE          MONROE COMMUNITY HOSPITAL                                   ROCHESTER        NY 14620
PALMIRA HAYES             3421 E 59TH ST APT 105                                                                     KANSAS CITY      MO 64130‐1009
PALMIRA MASTERS           ATTN: BUSINESS OFFICE          MONROE COMMUNITY HOSPITAL                                   ROCHESTER        NY 14620
PALMISANO CHARLENE M      38910 GARDENSIDE DR                                                                        WILLOUGHBY       OH 44094‐7908
PALMISANO CRAIG           308 N UNION AVE                                                                            MARGATE CITY     NJ 08402‐1232
PALMISANO, ANTHONY J      214 DARLEY AVE                                                                             AUBURN           MI 48611‐9435
PALMISANO, CHRISTINE      273 ROUND HILL RD                                                                          BRISTOL          CT 06010‐2648
PALMISANO, ERMINIO        69 PEACE ST                                                                                EDISON           NJ 08820‐2401
PALMISANO, GRAZIANO M     34 MICHELE DR                                                                              MIDDLETOWN       NJ 07748‐1240
PALMISANO, JOSEPH C       24789 ANTLER DR                                                                            NORTH OLMSTED    OH 44070‐1202
PALMISANO, JOSEPHINE B    11 LECHASE DR APT C                                                                        ROCHESTER        NY 14606‐5125
PALMISON, JOHN C          1908 HULL RD                                                                               SANDUSKY         OH 44870‐7141
PALMISON, MARGARET A      2009 WADE BLVD                                                                             SANDUSKY         OH 44870‐5338
PALMITER, BELINDA K       12651 SCOTT RD                                                                             DAVISBURG        MI 48350‐2926
PALMITER, BELINDA KAY     12651 SCOTT RD                                                                             DAVISBURG        MI 48350‐2926
PALMITER, BILLIE JO       609 EAST SOUTH HOLLY ROAD                                                                  FENTON           MI 48430‐2331
PALMITER, CURTIS G        1218 HUGHES AVE                                                                            FLINT            MI 48503‐3206
PALMITER, DAVID R         706 LINDEN ST                                                                              CHARLOTTE        MI 48813‐1724
PALMITER, EUGENE D        305 W ELM ST                                                                               READING          MI 49274‐9792
PALMITER, JAMES M         16500 TALLMAN RD                                                                           GRAND LEDGE      MI 48837‐9613
PALMITER, LANCE M         2806 W CARSON CITY RD                                                                      SHERIDAN         MI 48884‐9206
PALMITER, RICHARD H       525 N CLEMENS AVE                                                                          LANSING          MI 48912‐3105
PALMITER, STEPHEN C       16920 TALLMAN RD                                                                           GRAND LEDGE      MI 48837‐9613
PALMITER, THOMAS L        1641 MANCHESTER WAY                                                                        GLADWIN          MI 48624‐8516
PALMITER, WANDA E         669 BUENA VISTA ST                                                                         MOUNT MORRIS     MI 48458
PALMKOECK, DENNIS         3671 EUCLID DR                                                                             TROY             MI 48083‐5757
PALMORE I I I, GEORGE L   PO BOX 13643                                                                               DETROIT          MI 48213‐0643
PALMORE, BENNIE E         535 S WARREN AVE APT 607                                                                   SAGINAW          MI 48607‐1693
PALMORE, EDDIE L          1304 CALUMET AVE                                                                           NIAGARA FALLS    NY 14305‐2028
PALMORE, HENRY R          3838 MYSTIC TRL                                                                            SAGINAW          MI 48603‐8505
PALMORE, HENRY R          3838 MYSTIC TRAIL                                                                          SAGINAW          MI 48603‐8505
PALMORE, HERSCHEL L       1078 INDRA CT                                                                              CINCINNATI       OH 45240‐2308
PALMORE, JOANN            318 W 2ND ST APT 206                                                                       FLINT            MI 48502‐1228
PALMORE, MARY A           137 S WALLER AVE APT 1C                                                                    CHICAGO           IL 60644‐3900
PALMORE, MARY A           5430 W. QUINCY                                                                             CHICAGO           IL 60644‐4260
PALMORE, NORITA           766 BARRY KNOLL ST                                                                         DANVILLE         IN 46122
PALMORE, PEGGY            7300 OLEANDER AVE              C/O PORT ST LUCIE NURSING AND                               PORT ST LUCIE    FL 34952‐8221
                                                         RESTORATIVE CARE
PALMORE, RUTH N           APT 511                        2715 SOUTH JEFFERSON AVENUE                                 SAGINAW         MI   48601‐3831
PALMORE, SHELEY G         4107 DILLER DR                                                                             INDIANAPOLIS    IN   46235‐1521
PALMOUR, BILLY C          3140 LAKE VIEW DR                                                                          DULUTH          GA   30096‐3663
PALMOUR, HAROLD           228 BALSAM DR                                                                              CANTON          GA   30114‐4054
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Name                           Address1                          Address2               Address3              Address4                  City            State Zip
PALMOUR, RUTH                  1069 ARBOR LAKE WALK                                                                                     HOSCHTON         GA 30548‐3497
PALMQUIST JR, FRANK R          5705 MIMOSA CT NE                                                                                        ALBUQUERQUE      NM 87111‐6280
PALMQUIST LLOYD (313343)       SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                                        HASTINGS         MN 55033‐2432
PALMQUIST, CARL L              6215 5TH AVE S                                                                                           RICHFIELD        MN 55423‐1638
PALMQUIST, JAMES C             2820 GERMAN RD                                                                                           COLUMBIAVILLE    MI 48421‐8903
PALMQUIST, LLOYD               SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                                        HASTINGS         MN 55033‐2432
PALMQUIST, MARY A              5705 MIMOSA CT NE                                                                                        ALBUQUERQUE      NM 87111‐6280
PALMQUIST, RONALD J            7 DERBY CT                                                                                               FORKED RIVER     NJ 08731‐5658
PALMQUIST, THOMAS A            81 STONEYKIRK DR                                                                                         PINEHURST        NC 28374‐9047
PALMREUTER, GERALD L           2816 LIMINGTON ST NW                                                                                     NORTH CANTON     OH 44720‐8323
PALMREUTER, VERNON R           4729 W CEDAR LAKE RD                                                                                     GREENBUSH        MI 48738‐9717
PALMROSE, HENRY R              3248 E PIERSON RD                                                                                        FLINT            MI 48506‐1479
PALMS, ARMUND W                55 AYRAULT RD APT 137                                                                                    FAIRPORT         NY 14450‐2867
PALMS, BARBARA F               10850 LIME CREEK HWY                                                                                     MORENCI          MI 49256
PALMS, NELSON C                14331 AUBURNDALE ST                                                                                      LIVONIA          MI 48154‐4210
PALMS, TIMOTHY M               10850 LIME CREEK HWY                                                                                     MORENCI          MI 49256
PALMUCCI, ANGELO               410 N BEVERLY DR                                                                                         SANDUSKY         OH 44870‐5472
PALMYRA                        MARK KUZINSKI                     INTERMET CORPORATION   7063 COUNTRY RD 328                             ROMULUS          MI 48174
PALMYRA AUTO SERVICES          130 W MAIN ST                                                                                            PALMYRA          PA 17078‐1629
PALMYRA AUTOMOTIVE INC.        30 TOBY LN                                                                                               PALMYRA          VA 22963
PALMYRA KECK                   29 E RIDGE AVE                                                                                           SHARPSVILLE      PA 16150‐1250
PALMYRA S KECK                 29 RIDGE AVE.                                                                                            SHARPSVILLE      PA 16150
PALNAU, GERHARD                2932 MARFITT RD                                                                                          EAST LANSING     MI 48823‐6355
PALNAU, JUDY                   PO BOX 783                                                                                               EAST LANSING     MI 48826
PALNUT/SOUTHFIELD              152 GLEN ROAD                                                                                            MOUNTAINSIDE     NJ 07092
PALNUT/SOUTHFIELD              17348 W 12 MILE RD STE 102                                                                               SOUTHFIELD       MI 48076‐6325
PALO JR, AUGUST                802 DUVAL DR                                                                                             OPP              AL 36467‐3416
PALO PINTO COUNTY TAX OFFICE   PO BOX 160                                                                                               PALO PINTO       TX 76484‐0160
PALO, CHRISTINE                1216 JEFFERSON AVE                                                                                       WOODLYN          PA 19094‐1711
PALO, GEORGE                   297 WARNER RD SE                                                                                         BROOKFIELD       OH 44403‐9508
PALO, JAMES M                  18229 W MAUI LN                                                                                          SURPRISE         AZ 85388‐7541
PALO, JAMES M                  18229 WEST MAUI LANE                                                                                     SURPRISE         AZ 85388‐5388
PALO, JASON J                  4800 PALMYRA RD SW                                                                                       WARREN           OH 44481
PALO, JOANN M                  9201 PORTLAND AVE S                                                                                      MINNEAPOLIS      MN 55420
PALO, JOHN M                   47 GRENADIER RD E                                                                                        SCOTTSVILLE      NY 14546‐1119
PALO, KURT R                   14388 OAK LEAF TRL                                                                                       LINDEN           MI 48451‐8635
PALO, MABEL H                  3990 N RIVER RD NE APT 248                                                                               WARREN           OH 44484‐6102
PALO, MARK K                   5104 SCHOOL ST                                                                                           SWARTZ CREEK     MI 48473‐1221
PALO, PATRICIA M               708 SHELDON FLATS RD                                                                                     LIBBY            MT 59923‐9456
PALO, STELLA C                 1520 CONGRESSIONAL AVE                                                                                   BRUNSWICK        OH 44212‐3277
PALOCIN, MICHAEL               947 LAKEHURST AVE                                                                                        JACKSON          NJ 08527‐5249
PALOF, JOSEPH C                N7964 MALLARD LN                                                                                         SAINT CLOUD      WI 53079‐1800
PALOMA, DENNIS B               16640 FRENCHTOWN RD                                                                                      BROWNSVILLE      CA 95919‐9767
PALOMA, MIKE M                 2454 LARGUIER LN                                                                                         PORT ALLEN       LA 70767‐3244
PALOMAR MOTORS A CORP.         SCOTT YOUNG                       1515 AUTO PARK WAY                                                     ESCONDIDO        CA 92029‐2003
PALOMARES, ABELIA M            2714 EATON PL                                                                                            FLINT            MI 48506‐1316
PALOMARES, ANDRES              321 SAN BERNARDINO DR                                                                                    ALAMO            TX 78516
PALOMARES, JEANETTE            1656 W LANCASTER BLVD                                                                                    LANCASTER        CA 93534‐2131
PALOMBA, DOMENICO              MR DOMINCO PALOMBA                CSO VEMAN 141H                               TD GRECO‐NA 80559 ITALY
PALOMBA, ESTER B               27106 SUTHERLAND                                                                                         WARREN          MI 48088‐6073
PALOMBA, LUCY                  16217 S KNORPP RD                                                                                        PLEASANT HILL   MO 64080‐8842
PALOMBA, MICHAEL A             16217 S KNORPP RD                                                                                        PLEASANT HILL   MO 64080‐8842
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Name                               Address1                            Address2                        Address3              Address4         City             State Zip
PALOMBA, MICHELE R                 11320 COVERED BRIDGE LN                                                                                    BRUCE TWP         MI 48065‐3825
PALOMBI, GLORIA H                  1857 MORNING STAR DR                                                                                       ROAMING SHORES    OH 44084‐9682
PALOMBI, JOSEPH R                  1857 MORNING STAR DR                                                                                       ROAMING SHORES    OH 44084‐9682
PALOMBI, RICHARD P                 6345 WARREN SHARON RD                                                                                      BROOKFIELD        OH 44403‐9545
PALOMBO HENRY (422242)             BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD        OH 44067
                                                                       PROFESSIONAL BLDG
PALOMBO, RONALD A                  4565 CAHILL DR                                                                                             TROY             MI   48098‐4490
PALOMBO, VALERIO                   14572 FOUR LAKES DR                                                                                        STERLING HTS     MI   48313‐2351
PALOMIN, JUAN B                    544 HAIG ST                                                                                                DEFIANCE         OH   43512‐3014
PALOMINA JOE                       PO BOX 2110                                                                                                RANCHO CORDOVA   CA   95741‐2110
PALOMINO ACEVES, JOSE ANTONIO      8218 BROOKSTONE LN                                                                                         CLARKSTON        MI   48348‐4474
PALOMINO FUND LTD                  C/O CITIGROUP GLOBAL MARKETS INC.   390 GREENWICH ST.               ATTN: CHETAN BANSAL                    NEW YORK         NY   10013
PALOMINO, JESUS P                  28277 ARMOUR ST                                                                                            HAYWARD          CA   94545‐4854
PALOMINO, JOSE ANTONIO             8218 BROOKSTONE LN                                                                                         CLARKSTON        MI   48348‐4474
PALOMINO, JUAN ALVAREZ
PALOMO ROBERTO                     116 VOLUNTEER DR                                                                                           ARLINGTON        TX   76014
PALOMO, ADOLFO R                   1816 MARYWOOD DR                                                                                           ROYAL OAK        MI   48073‐4062
PALOMO, ADOLFO RENO                1816 MARYWOOD DR                                                                                           ROYAL OAK        MI   48073‐4062
PALOMO, ALFREDO                    6619 ALSPAUGH DR                                                                                           CASTALIA         OH   44824‐9751
PALOMO, PETE                       618 N PORTER ST                                                                                            SAGINAW          MI   48602‐4554
PALOMO, ROBERTO                    116 VOLUNTEER DR                                                                                           ARLINGTON        TX   76014‐3147
PALOMO, SOCORRO A                  7258 RUTHERFORD ST                                                                                         DETROIT          MI   48228‐3651
PALONE, RICHARD                    594 MAHAR ST                                                                                               MEDINA           NY   14103‐1612
PALOPOLI, FRANK T                  565 NAIRN CIR                                                                                              HIGHLAND         MI   48357‐4762
PALOPOLI, THOMAS A                 6603 WATERFORD HILL TER                                                                                    CLARKSTON        MI   48346‐3388
PALOS HAIDA                        PALOS, HAIDA                        5055 WILSHIRE BLVD STE 300                                             LOS ANGELES      CA   90036‐6101
PALOS HAIDA                        PALOS, MICHAEL                      5055 WILSHIRE BLVD STE 300                                             LOS ANGELES      CA   90036‐6101
PALOS HEIGHTS PUBLIC WORKS                                             7607 W COLLEGE DR                                                                       IL   60463
PALOS JR, SALVADOR                 1441 W WALNUT ST                                                                                           GARLAND          TX   75042‐5842
PALOS SOFIA                        NO ADVERSE PARTY
PALOS VERDES BUILDING CORP         US BATTERY MFG CO                   1675 SAMPSON AVE                                                       CORONA           CA 92879‐1889
PALOS VERDES BUILDING CORP         BILL GLOVER                         PALOS VERDES BULIDING CORP.     1675 SAMPSON AVE.                      DETROIT          MI
PALOS VERDES CONCOURS D ELEGANCE   1921 S CATALINA AVENUE SUITE 5                                                                             REDONDO BEACH    CA 90277

PALOS, GUADALUPE                   204 CORDOBA CT                                                                                             ARLINGTON        TX   76014‐3122
PALOS, HAIDA                       KROHN & MOSS ‐ CA,                  5055 WILSHIRE BLVD STE 300                                             LOS ANGELES      CA   90036‐6101
PALOS, MICHAEL                     KROHN & MOSS ‐ CA,                  5055 WILSHIRE BLVD STE 300                                             LOS ANGELES      CA   90036‐6101
PALOS, RICHARD A                   PO BOX 180578                                                                                              ARLINGTON        TX   76096‐0578
PALOSAARI, REGINA T                2974‐A SO 11TH ST                                                                                          MILWAUKEE        WI   53215
PALOSCIO PETER                     117 KELVIN AVE                                                                                             STATEN ISLAND    NY   10306
PALOSKI, JOHN J                    4077 ALEESA DR SE                                                                                          WARREN           OH   44484‐2909
PALOVICH, ADELINE M                5589 HICKORY CIR                                                                                           FLUSHING         MI   48433‐2481
PALOVICH, FRANCES A                2173 S CENTER RD APT 203                                                                                   BURTON           MI   48519‐1807
PALOVICH, PAUL V                   2371 ANDREWS DR NE                                                                                         WARREN           OH   44481‐9333
PALOVICK, ARTHUR K                 21 TIARA                                                                                                   IMPERIAL         MO   63052‐2252
PALOWITZ JR, WILLIAM R             7 YOUNGSTOWN DR                                                                                            CONNEAUT         OH   44030‐1158
PALOWODA, YVONNE                   8335 HICKORY DR                                                                                            STERLING HTS     MI   48312‐4709
PALOZZI, CATHY M                   1914 SW 42ND WAY APT E                                                                                     GAINESVILLE      FL   32607
PALOZZI, DOMENIC A                 763 WEGMAN RD                                                                                              ROCHESTER        NY   14624‐1427
PALOZZI, JOSEPHINE                 214 WOODSMOKE LN                                                                                           ROCHESTER        NY   14612‐2257
PALS INTERNATIONAL                 900 WILSHIRE DR STE 105                                                                                    TROY             MI   48084‐1600
PALS INTL                          900 WILSHIRE DR STE 105                                                                                    TROY             MI   48084‐1600
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Name                               Address1                         Address2                         Address3     Address4             City                 State Zip
PALSA, ANDREW T                    3220 BABSON CT                                                                                      INDIANAPOLIS          IN 46268‐1326
PALSA, CHRISTINE M                 5050 BOTTING CT                                                                                     ANTIOCH               CA 94531‐7486
PALSA, EDWARD J                    3536 SWEETWOOD ST                                                                                   SIMI VALLEY           CA 93063‐2516
PALSGROVE, JOHN W                  14066 NORTH RD                                                                                      FENTON                MI 48430
PALSGROVE, MARY J                  297 MILLICAN RD                                                                                     SPARTA                TN 38583
PALSHAN, PAUL E                    9302 GREEN RD                                                                                       GOODRICH              MI 48438‐9437
PALSIS SCHWINGUNGSTECHNIK GMBH     MARTIN MAUS                      PAUL‐EHRILICH‐STR 11             ROEDERMARK                        DETROIT               MI 48223
PALSIS SCHWINGUNGSTECHNIK GMBH &   MARTIN MAUS                      PAUL‐EHRILICH‐STR 11             ROEDERMARK                        DETROIT               MI 48223
CO
PALSO, DANIEL S                    14149 EASTVIEW DR                                                                                   FENTON               MI   48430‐1303
PALSO, JAMES R                     11131 E POTTER RD                                                                                   DAVISON              MI   48423‐8154
PALSON RONALD                      146 JEFFERSON STREET                                                                                MONTICELLO           NY   12701‐1159
PALTE, ANDREW K                    861 EAST FORTH ST                                                                                   LIMA                 OH   45804
PALTE, DORIS E.                    107 W PENDLETON ST                                                                                  COLUMBUS GROVE       OH   45830‐1225
PALTELKY, ATTILA F                 PO BOX 45                                                                                           PRESQUE ISLE         MI   49777‐0045
PALTON, EDMUND J                   7378 S FLORENTINE DR                                                                                SPARKS               NV   89436‐8488
PALUCH, DANIEL J                   58 LA FORCE PL                                                                                      BUFFALO              NY   14207‐2202
PALUCH, DAVID J                    654 MORNINGSIDE DR                                                                                  GRAND BLANC          MI   48439‐2312
PALUCH, DAVID J                    7601 MADELINE ST                                                                                    SAGINAW              MI   48609‐4992
PALUCH, DORIS J                    58 LA FORCE PL                                                                                      BUFFALO              NY   14207‐2202
PALUCH, DORIS J                    58 LA FORCE PLACE                                                                                   BUFFALO              NY   14207‐2202
PALUCH, FRANCES                    63 ORCHARD AVE                                                                                      WEST SENECA          NY   14224‐1416
PALUCH, JAMES R                    40376 FOREST GROVE RIDGE RD                                                                         CALDWELL             OH   43724‐9597
PALUCH, JOHN E                     20162 BALLANTRAE DR                                                                                 MACOMB               MI   48044‐5906
PALUCH, JOSEPH                     1465 HOLLAND ROAD                                                                                   HOLT                 MI   48842‐9607
PALUCH, KENNETH                    PO BOX 47                                                                                           SARDINIA             NY   14134‐0047
PALUCH, KEVIN L                    704 N FOSTER AVE                                                                                    LANSING              MI   48912‐4306
PALUCH, KRISTOFER M                19335 FAULMAN RD                                                                                    CLINTON TOWNSHIP     MI   48035‐1458
PALUCH, LILLIAN R                  21023 W BRAXTON LN                                                                                  PLAINFIELD           IL   60544‐7657
PALUCH, MICHAEL G                  32550 LAKE RD                                                                                       AVON LAKE            OH   44012‐1732
PALUCH, RAYMOND M                  14621 CHEROKEE TRL                                                                                  MIDDLEBURG HEIGHTS   OH   44130‐6648
PALUCH, RICHARD J                  6057 YOUNGER RD                                                                                     BLISS                NY   14024‐9752
PALUCH, ROBERT F                   14804 SHARRARD RD                                                                                   BERLIN               MI   48002‐1306
PALUCH, RONALD J                   1435 CLARKE PL                                                                                      SOUTH HAVEN          MI   49090‐1641
PALUCHNIAK, THOMAS                 4 SEWELL RD                                                                                         ROCHESTER            NH   03868‐8741
PALUDA, GLENN M                    1821 N WRIGHTSTOWN PL                                                                               TUCSON               AZ   85715‐5552
PALUH, EVELYN L                    175 NORTH EAST FIRST                                                                                CARRINGTON           ND   58421‐1756
PALUH, EVELYN L                    175 1ST AVE N                                                                                       CARRINGTON           ND   58421‐1733
PALUHA, CHARLES W                  1421 PEACHTREE ST NE APT 108                                                                        ATLANTA              GA   30309‐3014
PALUK, CATHERINE F                 PO BOX 943                       412 STONE HARBOR AVE                                               OCEAN GATE           NJ   08740‐0943
PALUK, CATHERINE F                 412 STONE HARBOR AVE PO BOX943                                                                      OCEAN GATE           NJ   08740‐0943
PALUMBARO, JAMES J                 17 GUARDIAN DR                                                                                      ROCHESTER            NY   14610‐2327
PALUMBI, SERAFINO S                VIA BOSCO MARTESE NO 9           ROSETO DEGLI ABRUZZI                          TERAMO 64026 ITALY
PALUMBO HEATHER L                  2 WOODMYRE LN                                                                                       ENOLA                PA 17025‐1558
PALUMBO III, JOHN B                986 KEEFER RD                                                                                       GIRARD               OH 44420‐2172
PALUMBO MICHELE                    PALUMBO, MICHELE                 INVERNESS VILLAGE OFFICE SUITE                                     DUBLIN               OH 43016
                                                                    200 7211 SAWMILL ROAD
PALUMBO ROBYN                      429 ALDER CT                                                                                        ATWATER              CA   95301‐2293
PALUMBO, ALFONSO                   27145 WALTZ RD                                                                                      NEW BOSTON           MI   48164‐9323
PALUMBO, ARMELLA K                 9219 N BEDFORD RD                                                                                   MACEDONIA            OH   44056‐1209
PALUMBO, ARMELLA K                 9219 NORTH BEDFORD ROAD                                                                             MACEDONIA            OH   44056‐4056
PALUMBO, ARTHUR R                  200 VERMILLION DR                                                                                   LEVITTOWN            PA   19054‐1316
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PALUMBO, CHARLES A       271 CHIMNEY HILL RD                                                                         ROCHESTER           NY 14612‐1625
PALUMBO, CHARLES R       PO BOX 36                                                                                   LITTLE SILVER       NJ 07739‐0036
PALUMBO, DARLENE L       5735 WILLOW SPRINGS RD                                                                      COUNTRYSIDE          IL 60525‐3478
PALUMBO, DEBORAH A       45573 KENSINGTON ST                                                                         UTICA               MI 48317‐5938
PALUMBO, ESTHER M        1245 KEEFER RD.                                                                             GIRARD              OH 44420‐2173
PALUMBO, ESTHER M        1245 KEEFER RD                                                                              GIRARD              OH 44420‐2173
PALUMBO, FRANK C         1094 HILTON PARMA CORNER R                                                                  HILTON              NY 14468
PALUMBO, FRANK N         1413 STOWELL DR APT 2                                                                       ROCHESTER           NY 14616‐1870
PALUMBO, GENNARO         1600 BLUSHING DR                                                                            ROCHESTER HILLS     MI 48307‐3581
PALUMBO, GENNARO F       1600 BLUSHING DR                                                                            ROCHESTER HILLS     MI 48307‐3581
PALUMBO, GREGORY J       0S441 JEFFERSON ST                                                                          WINFIELD             IL 60190‐1431
PALUMBO, JAMES A         314 REBECCA DR                                                                              ALAMO               TX 78516‐2583
PALUMBO, JEFFREY A       40336 CAPITOL DR                                                                            STERLING HEIGHTS    MI 48313‐5311
PALUMBO, JERALD V        2701 GRAND AVE                                                                              NIAGARA FALLS       NY 14301‐2427
PALUMBO, JOSEPH A        8415 WESLEY DR                                                                              FLUSHING            MI 48433‐1164
PALUMBO, JOSEPH V        10321 NORTHVALLEY CT                                                                        HARTLAND            MI 48353‐2545
PALUMBO, JOSEPH VETO     10321 NORTHVALLEY CT                                                                        HARTLAND            MI 48353‐2545
PALUMBO, MARY E          1972 LYNN AVE                                                                               YOUNGSTOWN          OH 44514‐1121
PALUMBO, MICHAEL A       15 RAMSGATE DR                                                                              ROCHESTER           NY 14624‐2639
PALUMBO, MICHAEL R       431 NATURES COVE CT                                                                         WIXOM               MI 48393‐4575
PALUMBO, MICHELE         C/O CHARLES HESS, ATTORNEY       7211 SAWMILL ROAD, SUITE 200                               DUBLIN              OH 43016
PALUMBO, PHILIP C        16 BAYCREST DR                                                                              ROCHESTER           NY 14622‐3006
PALUMBO, ROBERT P        609 SE 34TH ST                                                                              MOORE               OK 73160‐7609
PALUMBO, SAMUEL          6665 ALBANY WOODS BLVD                                                                      NEW ALBANY          OH 43054‐8660
PALUS, BARBARA T         25060 GLENBROOKE DR                                                                         SOUTHFIELD          MI 48033‐2514
PALUS, HENRY M           4206 NATHAN W                                                                               STERLING HTS        MI 48310‐2651
PALUSCHUK, GARY J        29540 N SEAWAY CT                                                                           HARRISON TWP        MI 48045‐2770
PALUSHAJI, KRISTEN       NO ADDRESS IN FILE
PALUSKI, JULIE A         2005 S BROOKWOOD DR                                                                         SHREVEPORT          LA   71118‐2744
PALUSKI, STANLEY
PALUSO, PATRICIA R       308 JUDE LANE                                                                               SOUTHINGTON        CT    06489‐2226
PALUSO, PATRICIA R       308 JUDE LN                                                                                 SOUTHINGTON        CT    06489‐2226
PALUSO, ROBERT W         2356 CANTERWOOD DR                                                                          SOUTH JORDAN       UT    84095‐2744
PALUSZAK I I, ROBERT M   909 TACEY RD                                                                                ESSEXVILLE         MI    48732‐9709
PALUSZAK II, ROBERT M    909 TACEY RD                                                                                ESSEXVILLE         MI    48732‐9709
PALUSZAK, LOTTIE V       14518 S MARQUETTE AVE                                                                       BURNHAM            IL    60633‐2007
PALUSZAR JOSEPH          1864 CLIFTON BRIDGE DR                                                                      VIRGINIA BEACH     VA    23456‐7819
PALUSZEK, ROBERT J       15877 ROBERT DR                                                                             MACOMB             MI    48044‐2446
PALUSZESKI, CLARA        9633 GALLAGHER                                                                              HAMTRAMCK          MI    48212‐3334
PALUSZKIEWICZ, W
PALUSZYNSKI, EDWARD A    56 W SOBIESKI AVE                                                                           CHEEKTOWAGA        NY    14225‐3531
PALUXY SQUARE PARTNERS   3800 PALUXY DR STE 150                                                                      TYLER              TX    75703‐1640
PALUZZI, RONALD J        53 ASHLEY RD                                                                                WHITING            NJ    08759‐3212
PALY, JOHN               269 MORSEMERE AVENUE                                                                        YONKERS            NY    10703‐2022
PALYA, BERNARD J         PO BOX 3634                                                                                 WARREN             OH    44485‐0634
PALYA, MARGARET C        2606 RIDGE AVE SE                                                                           WARREN             OH    44484‐2823
PALYA, ROBERTA M         PO BOX 702                                                                                  CORTLAND           OH    44410‐0702
PALYA, ROBERTA M         P.O. BOX 702                                                                                CORTLAND           OH    44410‐4410
PALYS, FRANCIS A         1061 WISH CIR                                                                               EAST AURORA        NY    14052‐9655
PALYS, JOSEPH            131 QUEEN ST                                                                                NEW BRITIAN        CT    06053‐3529
PALYWODA, MARIA          2924 MC PHERSON                                                                             DETROIT            MI    48212‐2641
PALZKILL, BRAD J         1820 S HAWTHORNE PARK DR                                                                    JANESVILLE         WI    53545‐2066
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Name                     Address1                      Address2                        Address3   Address4         City            State Zip
PAM
PAM BATES                21275 CAIRO HOLLOW RD                                                                     ATHENS          AL    35614‐4014
PAM CAMPIONE             21981 E CRESTLINE PL                                                                      AURORA          CO    80015‐7521
PAM DEDICATED INC        PO BOX 1000                                                                               MEMPHIS         TN    38148‐0340
PAM DEDICATED SERVICES   JACK CANZONETTA               1450 N BAILEY RD                                            NORTH JACKSON   OH    44451‐9697
PAM DEDICATED SERVICES   DOUG SCHLAGEL                 1450 N BAILEY RD                                            NORTH JACKSON   OH    44451‐9697
PAM DENNI                3523 W MUNGALL DR APT 1                                                                   ANAHEIM         CA    92804
PAM FRANKLIN
PAM GENENDER             124 HOLIDAY LANE                                                                          HAINESVILLE      IL 60073
PAM HOLDINGS INC         JOANNA GRILLO                 209 FERNWOOD AVE.                                           EDISON           NJ 08837
PAM J PRICE              4350 SMOKE TRACE CT                                                                       HOSCHTON         GA 30548‐1757
PAM JOHNSON
PAM KINNEY
PAM L RAMSEY             4749 CONLSON DR                                                                           DAYTON          OH    45418‐1972
PAM LEEVER               14665 STATE ROUTE 111                                                                     DEFIANCE        OH    43512‐8615
PAM M CONRAD             2255 HIGH ST NW                                                                           WARREN          OH    44483‐‐ 12
PAM MADER                2601 W STROOP RD              MC 7026                                                     MORAINE         OH    45439‐1929
PAM MADER                THE DAYTON POWER AND LIGHT    COURTHOUSE PLAZA SOUTHWEST                                  DAYTON          OH    45402
                         COMPANY
PAM MULLINEX             PAM MULLINEX                  575 EDMISTON RD                                             MOUNT ULLA      NC    28125‐8746
PAM O FRANKS             629 W MILWAUKEE ST APT 107                                                                DETROIT         MI    48202‐2935
PAM OIL INC              PO BOX 5200                                                                               SIOUX FALLS     SD    57117‐5200
PAM PRICE                4350 SMOKE TRACE CT                                                                       HOSCHTON        GA    30548‐1757
PAM RAYMOND              1700 S WEST AVE APT H1                                                                    JACKSON         MI    49203‐3951
PAM SORDYL               8758 DEERWOOD RD                                                                          CLARKSTON       MI    48348‐4587
PAM STEPHENS             8725 MEADOW GROVE LN                                                                      GAINESVILLE     GA    30506‐4830
PAM STOMCZEWSKI          PO BOX 264                                                                                SENECA          IL    61360‐0264
PAM TRANSPORT            MIKE MUNTER                   HWY 412 WEST                                                TONTITOWN       AR    72770
PAM TRANSPORT INC        PO BOX 188                                                                                TONTITOWN       AR    72770‐0188
PAM TRANSPORT INC        PO BOX 1000                   SCAC‐PAMT                                                   MEMPHIS         TN    38148‐0340
PAM TRANSPORT INC        JACK CANZONETTA               297 WEST HENRI DE TONTI BLVD.                               TONTITOWN       AR    72770
PAM UNDERWOOD            8183 AMARILLO DR                                                                          INDIANAPOLIS    IN    46237‐8214
PAM'S MOTOR CITY         13395 METRO PKWY                                                                          FORT MYERS      FL    33966‐4704
PAMAL BROADCASTING       6 JOHNSON ROAD                                                                            LATHAM          NY    12110
PAMAL BROADCASTING       6 JOHNSON RD                                                                              LATHAM          NY    12110‐5641
PAMALA ADAMS             2264 KENNETH ST                                                                           BURTON          MI    48529‐1356
PAMALA BURROW‐GLOVER     436 RIFLEMAN TRL                                                                          ARLINGTON       TX    76002‐2840
PAMALA D RAMEY           420 HURON AVE                                                                             DAYTON          OH    45417‐1507
PAMALA DRAKE             704 ROBINDALE DR                                                                          WAYNESVILLE     OH    45068‐8460
PAMALA ELLINGTON         333 N SPRING ST                                                                           WILMINGTON      OH    45177
PAMALA J MCINTYRE        5166 DON SHENK DR                                                                         SWARTZ CREEK    MI    48473‐1208
PAMALA JEFFREY           1325 S SEYMOUR RD                                                                         FLINT           MI    48532‐5518
PAMALA JOHNSON           4540 HARVARD RD                                                                           DETROIT         MI    48224‐2390
PAMALA M ADAMS           2288 KENNETH ST                                                                           BURTON          MI    48529‐1356
PAMALA MCINTYRE          5166 DON SHENK DR                                                                         SWARTZ CREEK    MI    48473‐1208
PAMALA MILLER‐BRONIAK    10128 ABERDEEN DR                                                                         GRAND BLANC     MI    48439‐9574
PAMALA NEIDHARDT         1521 N MIDWEST BLVD APT 4                                                                 OKLAHOMA CITY   OK    73110‐3247
PAMALA R JONES           1220 N LEAVITT RD                                                                         LEAVITTSBURG    OH    44430‐9529
PAMALA R TIBBITTS        192 W RUTGERS AVE                                                                         PONTIAC         MI    48340‐2760
PAMALA RANDOLPH          2013 LAVENDER CT                                                                          SPRING HILL     TN    37174‐4557
PAMALA ROBINSON          3136 DOT AVE                                                                              FLINT           MI    48506‐2148
PAMALA SIMPSON           1622 MCALPINE DR                                                                          MOUNT MORRIS    MI    48458‐2357
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Name                               Address1                        Address2                   Address3   Address4              City               State Zip
PAMALA STEVENS                     3200 CHASE RD                                                                               ADRIAN              MI 49221‐9346
PAMAME, WALTER L                   2449 OAK RD                                                                                 PINCONNING          MI 48650‐9747
PAMANES, JOSE B                    3047 PHILLIPS AVE                                                                           BERKLEY             MI 48072‐3140
PAMARGAN HUTCHINSON                47 MOCHDRE ENTERPRISE PARK                                            NEWTOWN, SY16 GREAT
                                                                                                         BRITAIN
PAMARGAN/NEWTOWN                   47 MOCHDRE ENTERPRISE PARK                                            NEWTOWN SY16 4LE
                                                                                                         ENGLAND
PAMARK INC                         1730 OLSON ST NE STE B                                                                      GRAND RAPIDS       MI   49503‐2034
PAMARK INC                         2700 LITTLEFIELD DR NE                                                                      GRAND RAPIDS       MI   49506‐1231
PAMBIANCO DONALD G (442222)        SIMMONS FIRM                    PO BOX 559                                                  WOOD RIVER         IL   62095‐0559
PAMBIANCO, DONALD G                SIMMONS FIRM                    PO BOX 559                                                  WOOD RIVER         IL   62095‐0559
PAMECO CORP                        651 CORPORATE CIR STE 200                                                                   GOLDEN             CO   80401‐5653
PAMELA                             PAMELA PRICE                    15697 SPYGLASS HILL LOOP                                    GAINESVILLE        VA   20155‐3231
PAMELA A ALLEN                     PO BOX 1154                                                                                 DEARBORN HTS       MI   48127‐7154
PAMELA A BRADDOCK                  1404 S FAYETTE ST                                                                           SAGINAW            MI   48602‐1355
PAMELA A BRENNEMAN                 1467 GAGE RD                                                                                TOLEDO             OH   43612‐4021
PAMELA A CALVIN                    21521 W 65TH ST                                                                             SHAWNEE            KS   66218‐8427
PAMELA A CHARLES                   675 SEWARD ST APT 212                                                                       DETROIT            MI   48202‐4443
PAMELA A DEMENA                    5 PINE HOLLOW DR                                                                            BATAVIA            NY   14020
PAMELA A DUNN                      30 INGLESIDE AVE                                                                            RIVERSIDE          OH   45404‐1367
PAMELA A FARNSWORTH                849 WOODLAND AVE                                                                            PONTIAC            MI   48340‐2567
PAMELA A FAY                       2505 TOM ANDERSON RD                                                                        FRANKLIN           TN   37064‐9630
PAMELA A GOLDMAN                   10232 LOCUST ST                                                                             KANSAS CITY        MO   64131
PAMELA A HABEL                     13330 PEACOCK RD                                                                            LAINGSBURG         MI   48848‐9257
PAMELA A HARTWICK                  1630 STEPHEN RD                                                                             SAINT HELEN        MI   48656‐9421
PAMELA A HELTON                    3825 BENNER RD                                                                              MIAMISBURG         OH   45342
PAMELA A JACKSON                   863 CLOVERLAWN BLVD                                                                         LINCOLN PARK       MI   48146‐4376
PAMELA A KIMBROUGH                 110 HARPER AVE APT 1                                                                        DETROIT            MI   48202‐3570
PAMELA A KITCHENS                  P O BOX 202                                                                                 MOORE              SC   29369‐0202
PAMELA A LINGO                     8475 S PRICETOWN RD                                                                         BERLIN CENTER      OH   44401‐‐ 97
PAMELA A LOESEL                    300 KENNELY RD APT 107                                                                      SAGINAW            MI   48609‐7701
PAMELA A MORLEY                    20525 SYLVANWOOD                                                                            LAKEWOOD           CA   90715‐1257
PAMELA A PUGH‐DUKES                1350 WESTWOOD DR NW                                                                         WARREN             OH   44485‐1980
PAMELA A SEITZ                     4083 SAN MARINO ST                                                                          KETTERING          OH   45440
PAMELA A THOMAS                    728 HONEY CREEK RD                                                                          BELLVILLE          OH   44813‐8930
PAMELA A VANDYKE                   7939 TRINITY RD                                                                             DEFIANCE           OH   43512‐8525
PAMELA A VECCHIOLLO                15 GLEN OAK RD                                                                              FREDERICKSBURG     VA   22405
PAMELA A VOELKL                    817 W. MARTINDALE RD.                                                                       UNION              OH   45322
PAMELA AENIS                       1646 DOVER ST                                                                               FERNDALE           MI   48220‐3105
PAMELA AHRENDT                     3839 BRANCH DR                                                                              TOLEDO             OH   43623‐2208
PAMELA ALEO                        2135 S WAVERLY RD                                                                           EATON RAPIDS       MI   48827‐9717
PAMELA ALLEN                       12415 VIA CATHERINA CT                                                                      GRAND BLANC        MI   48439‐1406
PAMELA ALLEN                       513 IRWIN AVE                                                                               ALBION             MI   49224‐2048
PAMELA ALLEN                       12026 EAGLE CREEK PL                                                                        FORT WAYNE         IN   46814‐3258
PAMELA ALLEN                       PO BOX 1154                                                                                 DEARBORN HEIGHTS   MI   48127‐7154
PAMELA ALLEN                       2613 GLEN OAKS DR                                                                           NORMAN             OK   73071‐4346
PAMELA ALLEN                       1312 ANGIER DR.                                                                             DAYTON             OH   45408‐2413
PAMELA ALLMAN TRUSTEE VIRGINIA S   PAMELA ALLMAN CPA               33 W MISSION STE 101                                        SANTA BARBARA      CA   93101
FORD GST EXEMPT TRUST
PAMELA ALTHEIMER                   PO BOX 634                                                                                  FLUSHING           MI 48433‐0634
PAMELA ANDERSON                    107 ELLIOTT CT                                                                              COLUMBIA           TN 38401‐5500
PAMELA ANDERSON                    1635 COVINGTON WOODS LN                                                                     LAKE ORION         MI 48360‐1216
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Name                  Address1                        Address2            Address3         Address4         City                State Zip
PAMELA ANDREWS        1250 LAWRENCE HWY                                                                     CHARLOTTE            MI 48813‐8842
PAMELA ARMITAGE       7065 ROSEWOOD DR                                                                      FLUSHING             MI 48433‐2280
PAMELA ARNOLD         2012 GREEN APPLE LN                                                                   ARLINGTON            TX 76014‐1634
PAMELA ARQUETTE       420 W ORANGE AVE                                                                      FOLEY                AL 36535‐1910
PAMELA ARTIS          51696 OAK DR                                                                          MATTAWAN             MI 49071‐8804
PAMELA ASHCRAFT       502 TULANE ST                                                                         SAGINAW              MI 48604‐2249
PAMELA ASHER          2067 VIA MARIPOSA E UNIT C                                                            LAGUNA WOODS         CA 92637‐0813
PAMELA AUSTIN         6704 BANCROFT RD                                                                      BANCROFT             MI 48414‐9729
PAMELA B MCLELLAN     34550 W DUBUISSON RD                                                                  SLIDELL              LA 70460‐2932
PAMELA BABCOCK        2449 W WILSON RD                                                                      CLIO                 MI 48420‐1695
PAMELA BAGIENSKI      614 W 10TH ST                                                                         ANDERSON             IN 46016‐1255
PAMELA BAINBRIDGE     PO BOX 1021                                                                           GRAND BLANC          MI 48480‐4021
PAMELA BAKER          19400 N. WESTBROOK PARKWAY      BUILDING 1                                            PEORIA               AZ 85382
PAMELA BAKER          9553 SHELBY DR                                                                        WHITE LAKE           MI 48386‐1859
PAMELA BALDWIN        1138 TWINKLING MEADOWS DR                                                             HENDERSON            NV 89012‐5582
PAMELA BALES          4251 OLD SUWANEE RD                                                                   SUGAR HILL           GA 30518‐4955
PAMELA BALLARD        5482 COMSTOCK AVE                                                                     KALAMAZOO            MI 49048‐3415
PAMELA BANKERT        12580 YANKEE RD                                                                       OTTAWA LAKE          MI 49267‐9316
PAMELA BARBER         13271 ROBSON ST                                                                       DETROIT              MI 48227‐2560
PAMELA BARGER         233 W HERRON DR                                                                       ALBION               IN 46701‐9586
PAMELA BARRETT‐LONG   PO BOX 26516                                                                          DAYTON               OH 45426‐0516
PAMELA BASSETT        1290 W GOVERNMENT ST APT R142                                                         BRANDON              MS 39042‐2445
PAMELA BATSON         5609 MAPLEBROOK LN                                                                    FLINT                MI 48507‐4134
PAMELA BEARD          33120 FOREST PARK DR                                                                  WAYNE                MI 48184‐3312
PAMELA BEARD          1128 BEECHWOOD DR                                                                     ROCKY MOUNT          NC 27803‐2105
PAMELA BEARDSLEY      4452 AMERICAN HERITAGE RD                                                             GRAND BLANC          MI 48439‐7709
PAMELA BEAVER
PAMELA BEER           1827 J F KENNEDY                                                                      PITTSBURG           KS   66762
PAMELA BEHRMANN       425 OTT RD                                                                            BAY CITY            MI   48706‐9429
PAMELA BELILES        PO BOX 302                                                                            SPENCER             IN   47460‐0302
PAMELA BELL           168 MAIN ST                                                                           BUTLER              OH   44822‐9680
PAMELA BELL           2139 WESTCHESTER WAY                                                                  THE VILLAGES        FL   32162‐6713
PAMELA BELL           662 JAMESTOWN PL                                                                      MEDINA              OH   44256‐7142
PAMELA BELL           6 INDEPENDENCE PL                                                                     SOUTH RIVER         NJ   08882‐2710
PAMELA BELL           4005 COACHMAN DR                                                                      LAMBERTVILLE        MI   48144‐9316
PAMELA BELL           4373 EAST 16TH STREET                                                                 WHITE CLOUD         MI   49349‐9311
PAMELA BELL           4012 RAINBOW VIEW DR                                                                  INDIANAPOLIS        IN   46221‐2954
PAMELA BELL           12680 WOODLAND TRL                                                                    DAVISBURG           MI   48350‐3725
PAMELA BENNETT        524 RIDGE VIEW DR                                                                     DAVENPORT           FL   33837‐5577
PAMELA BENNINGFIELD   27425 ACACIA ST                                                                       HARRISON TOWNSHIP   MI   48045‐2505
PAMELA BENTON         APT 15                          29313 HAYES ROAD                                      WARREN              MI   48088‐4037
PAMELA BERETTA        2664 MERIDIAN RD                                                                      MITCHELL            IN   47446‐6946
PAMELA BERGER         8535 BAND DR                                                                          GARFIELD HTS        OH   44125‐2030
PAMELA BERRY          206 E THRUSH AVE                                                                      CRESTLINE           OH   44827‐1172
PAMELA BIESENTHAL     1285 SPRINGWOOD CT                                                                    ROCHESTER HILLS     MI   48309‐2263
PAMELA BILLINGS       17285 LINCOLN DR                                                                      SOUTHFIELD          MI   48076‐7228
PAMELA BINNEY         3684 W 100 N                                                                          KOKOMO              IN   46901‐3847
PAMELA BJERKE         16701 ROSA LN                                                                         SOUTHGATE           MI   48195‐6806
PAMELA BLACK          PO BOX 892                                                                            DEFIANCE            OH   43512‐0892
PAMELA BLACKBURN      8159 TURNER RD                                                                        FENTON              MI   48430‐9051
PAMELA BLALOCK        4010 NARA DR                                                                          FLORISSANT          MO   63033‐3225
PAMELA BLEVINS        APT E4                          1040 SHIVE LANE                                       BOWLING GREEN       KY   42103‐8085
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Name                         Address1                          Address2          Address3         Address4         City              State Zip
PAMELA BLUE                  947 S MYSTIC CT                                                                       GILBERT            AZ 85233‐7743
PAMELA BONK                  5350 JERICHO AVE                                                                      POLK CITY          FL 33868‐9072
PAMELA BOWDEN                3303 GLENGARRY AVE                                                                    KALAMAZOO          MI 49004‐3120
PAMELA BOWEN                 475 SHILOH DR                                                                         DAYTON             OH 45415‐3448
PAMELA BOWMAN                1878 COLONIAL VILLAGE WAY APT 1                                                       WATERFORD          MI 48328‐1961
PAMELA BOWSER                2835 PEBBLE CRK                                                                       CORTLAND           OH 44410‐8811
PAMELA BOYER                 3601 W MYRTLE AVE                                                                     PHOENIX            AZ 85051‐8253
PAMELA BRADLEY               7583 BEEBE DR                                                                         GREENWOOD          LA 71033‐3318
PAMELA BRECKENRIDGE          PO BOX 455                                                                            HOMER              AK 99603‐0455
PAMELA BRENNEMAN             1467 GAGE RD                                                                          TOLEDO             OH 43612‐4021
PAMELA BROOKS                13813 BEACHWOOD AVE                                                                   CLEVELAND          OH 44105‐6443
PAMELA BROWN                 1908 W STATE ROAD 28                                                                  ALEXANDRIA         IN 46001‐8520
PAMELA BROWN                 26 OGEMAW RD                                                                          PONTIAC            MI 48341‐1143
PAMELA BROWN                 11740 W STATE RD                                                                      EAGLE              MI 48822‐9707
PAMELA BROWN                 6803 LOCKWOOD BLVD APT 28                                                             YOUNGSTOWN         OH 44512‐3911
PAMELA BROWN                 1829 EDEN LN                                                                          YOUNGSTOWN         OH 44509‐2109
PAMELA BROWN                 7740 CLYDE RD                                                                         FENTON             MI 48430‐9300
PAMELA BROWN                 5420 ASPEN CIR                                                                        GRAND BLANC        MI 48439‐3510
PAMELA BROWN‐MARTINDALE      6890 FOLLIN RD                                                                        BELLVILLE          OH 44813‐9342
PAMELA BROWNSON              1220 S 53RD ST                                                                        MILWAUKEE          WI 53214‐3553
PAMELA BRUCE                 308 MARION 8075                                                                       FLIPPIN            AR 72634‐9313
PAMELA BRUMFIELD             1601 VALLEYVIEW AVE                                                                   DANVILLE            IL 61832‐1940
PAMELA BRUSKE                1008 MACKINAW ST                                                                      SAGINAW            MI 48602‐2338
PAMELA BRYSON                1800 N 38TH ST                                                                        KANSAS CITY        KS 66102‐2124
PAMELA BUCK                  19051 E FRANKLIN RD                                                                   NEWALLA            OK 74857‐8743
PAMELA BUEHNER               2799 DEBORAH ANN DR                                                                   ARNOLD             MO 63010‐3850
PAMELA BURKE                 207 SW MACLAY WAY                                                                     PORT ST LUCIE      FL 34986‐1915
PAMELA BURKLAND              6604 FOREST PARK DR                                                                   TROY               MI 48098‐1905
PAMELA BURNS                 3377 CRANDON DR                                                                       DAVISON            MI 48423‐8519
PAMELA BURRIS                2698 HIGHWAY 2393                                                                     MONTICELLO         KY 42633‐9165
PAMELA BURSON                331 W 14TH ST                                                                         COLUMBIA           TN 38401‐3662
PAMELA BURTON                10181 GREEN MOSS CV                                                                   CORDOVA            TN 38018‐0115
PAMELA BURTON                4710 SHELLER AVE                                                                      DAYTON             OH 45432‐1624
PAMELA BURTON                6268 BALLARD DR                                                                       FLINT              MI 48505‐4827
PAMELA BURZINSKI             736 CAPMAN ST                                                                         MILTON             WI 53563‐1202
PAMELA BYLICA                1412 LAKE JAMES DR                                                                    PRUDENVILLE        MI 48651‐9418
PAMELA BYRD                  10 ADLON CT                                                                           WEST CARROLLTON    OH 45449‐1504
PAMELA BYRNES                4082 HIGHWAY 19 S                                                                     MERIDIAN           MS 39301‐8531
PAMELA C BRUMFIELD           1601 VALLEYVIEW AVE                                                                   DANVILLE            IL 61832‐1940
PAMELA C HOFFMAN             4265 TOD AVE SW                                                                       WARREN             OH 44481
PAMELA C IVEY                3809 OLD BRANDON RD                                                                   PEARL              MS 39208
PAMELA C JAMES               1113 BROOKSIDE DRIVE                                                                  GADSDEN            AL 35901
PAMELA C ROMERO‐RICHARDSON   21896 MAHON DR                                                                        SOUTHFIELD         MI 48075‐3825
PAMELA C VANDUZEN            6182 ROBERT CIR                                                                       YPSILANTI          MI 48197‐8278
PAMELA CALDWELL              704 SHUE DR TODD ESTATES                                                              NEWARK             DE 19713
PAMELA CALVIN                21521 W 65TH ST                                                                       SHAWNEE            KS 66218‐8427
PAMELA CAMPBELL              240 PENNYSTONE CIR                                                                    FRANKLIN           TN 37067‐5767
PAMELA CAMPBELL              300 THOMAS RD                                                                         GRANBURY           TX 76049‐1922
PAMELA CAMPBELL              3131 SW 127TH ST                                                                      OKLAHOMA CITY      OK 73170‐2058
PAMELA CANDY                 785 DOWDING WAY                                                                       THE VILLAGES       FL 32162‐7426
PAMELA CANTRELL              207 MARENGO DR                                                                        TEMPERANCE         MI 48182‐9334
PAMELA CARPENTER             4031 HIGHWAY 30 E                                                                     JACKSON            KY 41339‐8213
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Name                  Address1                          Address2              Address3   Address4         City             State Zip
PAMELA CARREL         2112 NE 15TH ST                                                                     MOORE             OK 73160‐8625
PAMELA CARSON         43 EAGLE RIDGE RD                                                                   LAKE ORION        MI 48360‐2611
PAMELA CARTER         3773 FOUNTAINBLEAU RD                                                               KEITHVILLE        LA 71047‐6541
PAMELA CARTER         801 SOLDIERS HOME MIAMISBURG RD                                                     MIAMISBURG        OH 45342‐1448
PAMELA CHAMBERLAIN    419 W PICKET POST                                                                   SUPERIOR          AZ 85273‐4537
PAMELA CHANDLER       1092 ATLANTA HWY                                                                    AUBURN            GA 30011‐3203
PAMELA CHIMA          4487 W MAPLE AVE                                                                    FLINT             MI 48507‐3127
PAMELA CHOICE         1014 SUNSET DR                                                                      ENGLEWOOD         OH 45322‐2253
PAMELA CHUNG          ACCT OF TRACY GILMORE             95 SEWARD ST                                      ROCHESTER         NY 14608‐2546
PAMELA CILIAX         3054 W BALDWIN RD                                                                   GRAND BLANC       MI 48439‐9323
PAMELA CLARK          PO BOX 14301                                                                        LANSING           MI 48901‐4301
PAMELA CLARK          730 FOX RD SE                                                                       BOGUE CHITTO      MS 39629‐3009
PAMELA CLARK          1154 HALLOCK YOUNG RD SW                                                            WARREN            OH 44481‐9636
PAMELA CLARK          411 WILSON AVE                                                                      JANESVILLE        WI 53548‐5124
PAMELA CLARK          69 BUD PLEASURE CT APT 701                                                          WALTON            KY 41094‐1180
PAMELA CLASON         1806 E WEBSTER RD LOT 212                                                           FLINT             MI 48505‐5742
PAMELA CLAY           4877 W LAKE RD                                                                      LAPEER            MI 48446‐9039
PAMELA CLAY           32 LAKE ST                                                                          PONTIAC           MI 48341‐2120
PAMELA CLAY           3150 W CLARKSTON RD                                                                 LAKE ORION        MI 48362‐2054
PAMELA CLODFELTER     1941 SE 177TH AVE                                                                   SILVER SPRINGS    FL 34488‐6149
PAMELA COKER TTEE     GEORGE COKER                      929 N PLANTATION DR                               VIRGINIA BEACH    VA 23454‐2936
PAMELA COLBY          10269 SHADY OAK SHORES DR                                                           JEROME            MI 49249‐9881
PAMELA COLES          629 E FLINT PARK BLVD                                                               FLINT             MI 48505‐5345
PAMELA COLLINS        7435 12TH AVE                                                                       JENISON           MI 49428‐8102
PAMELA COLLIS         11257 TEBEAU DR                                                                     SPARTA            MI 49345‐8449
PAMELA CONN           75 CREEK VIEW LN SE                                                                 BROOKHAVEN        MS 39601‐8412
PAMELA COOK           PO BOX 202                                                                          JANESVILLE        WI 53547‐0202
PAMELA COOKUS         407 BLUEBIRD LN                                                                     SAVOY              IL 61874‐9424
PAMELA COOLEY         28917 LEONA ST                                                                      GARDEN CITY       MI 48135‐2759
PAMELA COPES          110 BROOKS LN                                                                       WEST MONROE       LA 71291‐8728
PAMELA CORDNER        4037 PHILLIPS RD                                                                    METAMORA          MI 48455‐9650
PAMELA COUGAR         2629 E PLEASANT RD                                                                  MILTON            WI 53563‐9470
PAMELA CRAIG          3903 DANIELS RD                                                                     RANSOMVILLE       NY 14131‐9614
PAMELA CRIMI          2298 TIMBER RUN                                                                     BURTON            MI 48519‐1710
PAMELA CRONK          890 TYRONE AVE                                                                      WATERFORD         MI 48328‐2667
PAMELA CROY           118 SWEETBRIAR CT                                                                   CANTON            GA 30115‐9171
PAMELA CUMMINS        2729 PROSPECT DR                                                                    FAIRBORN          OH 45324‐2131
PAMELA CUTLIP         512 TYNDRUM                                                                         TEMPERANCE        MI 48182‐2333
PAMELA CZAJKOWSKI     2264 FOREST HILLS DR                                                                LAKE ORION        MI 48359‐1167
PAMELA D CRAWFORD     1011 WHITE PINE ST.                                                                 NEW CARLISLE      OH 45344‐1130
PAMELA D ELLIOTT      7427 UPPER MIAMISBURG RD                                                            MIAMISBURG        OH 45342
PAMELA D FLORENCE     1620 N JAMES H MCGEE #F                                                             DAYTON            OH 45407‐1425
PAMELA D HURLEY       2160 WINDSOR DRIVE                                                                  XENIA             OH 45385‐4732
PAMELA D LOCKLEAR     12266 SILVER LAKE RD                                                                BRIGHTON          MI 48116‐8321
PAMELA D MCCUISTION   636 DELAWARE AVE                                                                    DAYTON            OH 45405‐3927
PAMELA D MINYARD      120 MILL HILL ROAD                                                                  ATTALLA           AL 35954‐8842
PAMELA D WILLIAMS     3013 LAKEWOOD DR                                                                    JACKSON           MS 39212‐4025
PAMELA D WISEBAKER    P O BOX 201                                                                         PHILLIPSBURG      OH 45354‐0201
PAMELA DACH           605 WAVELAND RD                                                                     JANESVILLE        WI 53548‐6718
PAMELA DAIGNEAU       157 BOEHM RD                                                                        WEST BRANCH       MI 48661‐9783
PAMELA DAINS          5380 E FLAMINGO RD SPC 96                                                           LAS VEGAS         NV 89122‐5348
PAMELA DALTON         38 HENRY ST                                                                         BELLEVILLE        MI 48111‐2951
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Name                   Address1                          Address2         Address3              Address4         City            State Zip
PAMELA DAMRON          810 NORDALE AVE                                                                           DAYTON           OH 45420‐2340
PAMELA DANDO           1461 PAYNE ST                                                                             MINERAL RIDGE    OH 44440‐9736
PAMELA DAVIDSON        5900 ROBINDALE AVE                                                                        DEARBORN HTS     MI 48127‐3144
PAMELA DAVIDSON        887 W CENTER RD                                                                           ESSEXVILLE       MI 48732‐2005
PAMELA DAVIS           1204 FERN CT                                                                              KOKOMO           IN 46902‐3239
PAMELA DAVIS           16064 SILVERCREST DR                                                                      FENTON           MI 48430‐9153
PAMELA DAY             3472 N MEADOW GROVE DR SE                                                                 KENTWOOD         MI 49512‐9353
PAMELA DE ANGELA       2730 MILLER RD                                                                            METAMORA         MI 48455‐9363
PAMELA DELABARRE       1824 RIVA RIDGE CT                                                                        YORK             SC 29745‐7750
PAMELA DENNEY          720 W 500 N                                                                               ANDERSON         IN 46011‐9522
PAMELA DENNISON        3806 COLEPORT ST                                                                          ORION            MI 48359‐1602
PAMELA DENO            581 BALDWIN HEIGHTS CIR                                                                   HOWARD           OH 43028‐9699
PAMELA DETIZIO         1012 EQUESTRIAN DR                                                                        SOUTH LYON       MI 48178‐5305
PAMELA DICKINSON       664 E SUB STATION RD                                                                      TEMPERANCE       MI 48182‐9572
PAMELA DIECE           209 LECLERE ST                                                                            LIGONIER         IN 46767‐9757
PAMELA DINSMOORE       6780 HEIDT RD                                                                             UNIONVILLE       MI 48767‐9427
PAMELA DIPPEL          1541 MILLECOQUINS CT                                                                      ROCHESTER        MI 48307‐6032
PAMELA DISBROW         PO BOX 1057                                                                               HERNANDO         FL 34442‐1057
PAMELA DODGE           4716 CLEARVIEW DR                                                                         ANDERSON         IN 46013‐2734
PAMELA DONALDSON       31 EMERALD DR                                                                             CHAMBERSBURG     PA 17202‐8237
PAMELA DOYLE           38151 WABASH ST                                                                           ROMULUS          MI 48174‐1162
PAMELA DRAKE           1648 SPRING VILLAGE LN                                                                    MANSFIELD        OH 44906‐3236
PAMELA DUNCAN          10875 CRABB RD                                                                            TEMPERANCE       MI 48182‐9617
PAMELA DUNLAP          PO BOX 213                                                                                JANESVILLE       WI 53547‐0213
PAMELA DUNN            PO BOX 233                                                                                OLCOTT           NY 14126‐0233
PAMELA DURBIN          1369 TAFT PL APT 1                                                                        HAMILTON         OH 45013‐6388
PAMELA E PANNELL       3476 N PARK AVENUE EXT                                                                    WARREN           OH 44481‐8803
PAMELA E. STERLING
PAMELA EASTERWOOD      7784 W SAND BAR CT                                                                        TUCSON          AZ   85743‐5263
PAMELA EDNEY           2218 MAGNOLIA ST SE                                                                       DECATUR         AL   35601‐4536
PAMELA EDWARDS         1149 RIVER OAKS DR                                                                        DEWITT          MI   48820‐8328
PAMELA EHRHART         3359 S KEARSLEY BLVD                                                                      FLINT           MI   48506‐2044
PAMELA ELLIOTT         2041 PATTERSON CEMETERY RD                                                                CHAPEL HILL     TN   37034‐2042
PAMELA ELLIS           17450 GATEWAY CIR                                                                         SOUTHFIELD      MI   48075‐4714
PAMELA EMERY           13 FAIR CT                                                                                TROY            MO   63379‐1724
PAMELA ENGELHART       9732 STATE RD                                                                             MILLINGTON      MI   48746‐9430
PAMELA ENGLISH         762 GRAHAM LAKE TER                                                                       BATTLE CREEK    MI   49014‐8307
PAMELA EQUITIES CORP   C/O PAN AM EQUITIES INC           FL 10            18 EAST 50TH STREET                    NEW YORK        NY   10022‐9108
PAMELA ERICKSON        410 DARTMOUTH DR                                                                          HAINES CITY     FL   33844‐6235
PAMELA ESTRADA         465 BAYBERRY POINTE DR NW APT F                                                           GRAND RAPIDS    MI   49534‐4686
PAMELA EVANS           PO BOX 396                                                                                NAPOLEON        MI   49261‐0396
PAMELA F BISCEGLIA     210 CHARLES PL                                                                            UNION           OH   45322
PAMELA F FISHER        1214 BELLE ST SE                                                                          WARREN          OH   44484‐4201
PAMELA F HENSON        318 TRAILS WAY                                                                            MIAMISBURG      OH   45342
PAMELA FADLEY          574 N 10TH ST                                                                             MIDDLETOWN      IN   47356‐1204
PAMELA FAULKNER        5852 EWALT RD                                                                             IMLAY CITY      MI   48444‐8927
PAMELA FAY             2505 TOM ANDERSON RD                                                                      FRANKLIN        TN   37064‐9630
PAMELA FEDEWA          3715 LYONS RD                                                                             LYONS           MI   48851‐9774
PAMELA FERGUSON        4207 ADAMS ST                                                                             KANSAS CITY     KS   66103‐3108
PAMELA FERGUSON        15650 HIGHLAND CENTER RD                                                                  DEFIANCE        OH   43512‐8976
PAMELA FINGER          8243 OHIO ST                                                                              DETROIT         MI   48204‐3237
PAMELA FISHER          1214 BELLE ST SE                                                                          WARREN          OH   44484‐4201
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Name                           Address1                       Address2           Address3         Address4         City              State Zip
PAMELA FISHER                  5361 CLAXTON AVE                                                                    SAINT LOUIS        MO 63120‐2536
PAMELA FLETCHER                330 EAST MAPLE RD              #252                                                 BIRMINGHAM         MI 48009
PAMELA FLORES                  2109 POPLAR CT                                                                      GRAND BLANC        MI 48439‐7314
PAMELA FLYNN                   2210 GRAND AVE                                                                      NEW CASTLE         IN 47362‐2450
PAMELA FOLEY                   6631 DEERHURST DR                                                                   WESTLAND           MI 48185‐6960
PAMELA FOSSUM                  1259 CRYSTAL POINTE CIR        CIRCLE                                               FENTON             MI 48430‐2069
PAMELA FOX                     PO BOX 91084                                                                        TUCSON             AZ 85752‐1084
PAMELA FRANCIS                 12556 OAK AVE                                                                       GRANT              MI 49327‐8894
PAMELA FRANCISCO               17640 GLENWOOD BLVD                                                                 LATHRUP VILLAGE    MI 48076‐2733
PAMELA FREE                    4075 DAVIS RD                                                                       KOKOMO             IN 46901‐8285
PAMELA FREELAND                1113 W ATHERTON RD                                                                  FLINT              MI 48507‐5301
PAMELA FRIEND                  213 PINEWOOD DR                                                                     WHITE LAKE         MI 48386‐1961
PAMELA FRITZ                   3221 CRANBROOK DR                                                                   PRESCOTT           MI 48756‐9102
PAMELA FULLER                  2951 ENGLISH RD                                                                     KINGSTON           MI 48741‐9527
PAMELA G D'AMICO TRUSTEE FOR   ROBERT M SUDIMAK BENEFICIARY   PO BOX 296                                           NORTH JACKSON      OH 44451‐0296
PAMELA G GBUR                  3409 JOHNSON FARM DR.                                                               CANFIELD           OH 44406‐9290
PAMELA G JACKSON               415 PADENREICH AVENUE                                                               GADSDEN            AL 35903
PAMELA G MILLER                63 BAYBERRY HILL RD                                                                 RIDGEFIELD         CT 06877
PAMELA G MORROW                P.O. BOX 7411                                                                       DAYTON             OH 45407‐0411
PAMELA G MYERS                 660 GREENLAWN ST APT 1                                                              YPSILANTI          MI 48198‐2995
PAMELA G SCHRUM                6560 OAKRIDGE DR                                                                    WATERFORD          MI 48329‐1243
PAMELA G SMITH                 1740 MAPLEWOOD ST NE                                                                WARREN             OH 44483‐4170
PAMELA G TIDWELL               1717 APPALACHIAN HWY                                                                GADSDEN            AL 35903
PAMELA GAGGIN                  9270 CORIANDER WAY                                                                  BRIGHTON           MI 48116‐8263
PAMELA GARCIA                  964 W GENESEE ST                                                                    FRANKENMUTH        MI 48734‐1346
PAMELA GARNER                  410 W PIERCE ST                                                                     ALEXANDRIA         IN 46001‐1139
PAMELA GASKILL                 50358 BAY CT                                                                        NEW BALTIMORE      MI 48047‐2301
PAMELA GASTLER                 109 MARTIN RD                                                                       WELLSVILLE         MO 63384‐4009
PAMELA GATES                   2249 N CANAL RD                                                                     EATON RAPIDS       MI 48827‐9340
PAMELA GBUR                    3409 JOHNSON FARM DR                                                                CANFIELD           OH 44406‐9290
PAMELA GIBSON                  5477 COUNTRY CLUB LN                                                                GRAND BLANC        MI 48439‐9183
PAMELA GLOVER                  4378 SUNNYMEAD AVE                                                                  BURTON             MI 48519‐1244
PAMELA GMYR                    431 GRANTVILLE RD                                                                   NORFOLK            NY 13667‐3263
PAMELA GODDARD                 12329 QUAIL CT                                                                      SHELBY TOWNSHIP    MI 48315‐3414
PAMELA GOOD                    614 PROSPECT AVE                                                                    JANESVILLE         WI 53545‐3131
PAMELA GOODIN                  2100 KINGS HWY LOT 593                                                              PT CHARLOTTE       FL 33980‐4268
PAMELA GOODWIN                 6902 E 140TH TER                                                                    GRANDVIEW          MO 64030‐3859
PAMELA GOSLER                  1486 HARWOOD DR                                                                     OXFORD             MI 48371‐4430
PAMELA GRAHAM                  7121 KESSLING ST                                                                    DAVISON            MI 48423‐2445
PAMELA GRANT                   2416 S 410 W                                                                        RUSSIAVILLE        IN 46979‐9141
PAMELA GRUNO                   5008 N BELSAY RD                                                                    FLINT              MI 48506‐1670
PAMELA GUENTHER                2020 LAFAYETTE ST                                                                   ANDERSON           IN 46012‐1636
PAMELA GUIDEN                  1211 E 5TH ST                                                                       MUNCIE             IN 47302‐3508
PAMELA GULA                    497 WAYSIDE DR                                                                      BELLEVILLE         MI 48111‐9887
PAMELA GUTIERREZ               2482 W KALAMO HWY                                                                   CHARLOTTE          MI 48813‐9536
PAMELA GUTZMAN                 812 VICTORIA PL                                                                     JANESVILLE         WI 53546‐1705
PAMELA H BILAL                 112 MEADOWWOOD DR.             APT. B                                               CLINTON            MS 39056
PAMELA H MORRIS                14 STAR DUST TRL SE                                                                 CARTERSVILLE       GA 30120‐6842
PAMELA HABEL                   13330 PEACOCK RD                                                                    LAINGSBURG         MI 48848‐9257
PAMELA HADDRILL                668 CASEMER RD                                                                      LAKE ORION         MI 48360‐1300
PAMELA HAGEN                   3337 FIELD RD APT 12                                                                CLIO               MI 48420‐1177
PAMELA HAGMAN                  2484 LASSITER DR                                                                    ROCHESTER HLS      MI 48309‐1521
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Name                              Address1                           Address2            Address3                  Address4         City              State Zip
PAMELA HAISENLEDER                22207 KRAMER ST                                                                                   ST CLAIR SHRS      MI 48080‐1302
PAMELA HALL                       805 RIVERLANE DR                                                                                  OWOSSO             MI 48867‐1507
PAMELA HALL‐LAPPO                 26705 POPLAR DR                                                                                   NEW BOSTON         MI 48164‐9198
PAMELA HANKINS                    3430 WOODHAVEN TRL                                                                                KOKOMO             IN 46902‐5063
PAMELA HANSARD                    23103 THORNRIDGE DR                                                                               GRAND BLANC        MI 48439‐9271
PAMELA HARDEN                     4618 W NESTLE DOWN DR                                                                             BLOOMINGTON        IN 47404‐8972
PAMELA HARDENBURGH                1215 OAKWOOD RD                                                                                   ORTONVILLE         MI 48462‐8666
PAMELA HARLESS                    2332 E 10TH ST                                                                                    ANDERSON           IN 46012‐4315
PAMELA HARPER                     252 YOUNGS RUN DR NW                                                                              WARREN             OH 44483‐7113
PAMELA HARRIS                     2604 ALBRIGHT RD                                                                                  KOKOMO             IN 46902‐3907
PAMELA HART                       5900 N TERESA DR                                                                                  ALEXANDRIA         IN 46001‐8610
PAMELA HART                       3605 FOREST GLEN CT                                                                               ANDERSON           IN 46011‐1660
PAMELA HART                       18605 HILTON DR                                                                                   SOUTHFIELD         MI 48075‐7235
PAMELA HARTE                      9525 STRATFORD CIR                                                                                LAINGSBURG         MI 48848‐9211
PAMELA HARTWICK                   1630 STEPHEN RD                                                                                   SAINT HELEN        MI 48656‐9421
PAMELA HARVEY ET AL               ATTN: E TODD TRACY                 THE TRACY FIRM      5473 BLAIR RD, SUITE200                    DALLAS             TX 75231
PAMELA HASLAR                     3366 EAGLE CREEK RD                                                                               LEAVITTSBURG       OH 44430‐9413
PAMELA HASSELBACH                 9216 N PLATT RD                                                                                   MILAN              MI 48160‐9538
PAMELA HATTEY                     1405 GLENWOOD DR                                                                                  TROY               MI 48083‐5366
PAMELA HAUSER                     3733 LOCH DR                                                                                      HIGHLAND           MI 48357‐2603
PAMELA HAYES                      365 COLUMBIA RD                                                                                   HAMILTON           OH 45013‐3684
PAMELA HAYWOOD                    PO BOX 337                                                                                        GREENWOOD          LA 71033‐0337
PAMELA HEATH                      1700 EDSON RD                                                                                     HARRISON           MI 48625‐9128
PAMELA HELTON                     3825 BENNER RD                                                                                    MIAMISBURG         OH 45342‐4303
PAMELA HENSON                     29210 BATES RD                                                                                    PERRYSBURG         OH 43551‐3807
PAMELA HENSON                     318 TRAILS WAY                                                                                    MIAMISBURG         OH 45342‐2784
PAMELA HERBERT                    48917 MEADOWBROOK CT                                                                              SHELBY TOWNSHIP    MI 48317‐2533
PAMELA HERRING                    6084 FRANCES SLOCUM TRL                                                                           MARION             IN 46952‐9768
PAMELA HICKOK                     1814 GLENDALE AVE                                                                                 FLINT              MI 48503‐5329
PAMELA HICKS                      5962 E 1200 S                                                                                     GALVESTON          IN 46932
PAMELA HILTON                     22445 21 MILE RD                                                                                  MACOMB             MI 48044‐3002
PAMELA HINES                      3002 MELVILLE COURT                                                                               SPRING HILL        TN 37174‐8566
PAMELA HINSON                     12030 BUNTON RD                                                                                   WILLIS             MI 48191‐9724
PAMELA HOCKEMA                    15340 LONG COVE BLVD                                                                              CARMEL             IN 46033‐8105
PAMELA HOCKEY                     142 MILL ST                                                                                       ORTONVILLE         MI 48462‐8606
PAMELA HOEFNER                    378 IMAGINATION DR                                                                                ANDERSON           IN 46013‐1096
PAMELA HOGAN                      95 LIVINGSTONE LN                                                                                 DECATUR            AL 35603‐5752
PAMELA HOLLOWAY                   455 E MCNEIL ST                                                                                   CORUNNA            MI 48817‐1752
PAMELA HOLLOWELL                  155 BOUGHTON DR                                                                                   NEW CONCORD        KY 42076‐9338
PAMELA HORNE                      107 SIDCO DR                                                                                      COLUMBIA           TN 38401‐4598
PAMELA HORNEBER                   1080 STANLEY RD                                                                                   AUBURN             MI 48611‐9426
PAMELA HUCK                       8330 KILLINGER RD                                                                                 FOWLERVILLE        MI 48836‐9397
PAMELA HUDSON                     1413 SILO RD APT 707                                                                              BONHAM             TX 75418‐2886
PAMELA HUGHES                     6285 THURBER RD                                                                                   BLOOMFIELD         MI 48301‐1524
PAMELA HUGILL                     215 N KING RD                                                                                     HOLLAND            OH 43528‐9535
PAMELA HULL, OHIO ENVIRONMENTAL   401 E 5TH ST                                                                                      DAYTON             OH 45402‐2911
PROTECTION AGENCY, SW DISTRICT
PAMELA HUNT                       324 JULES ST                                                                                      WESTVILLE         IL   61883‐1320
PAMELA HURLEY                     2160 WINDSOR DR                                                                                   XENIA             OH   45385‐4732
PAMELA HYLAND                     7040 FALLING TIMBER LANE                                                                          CRAWFORD          TN   38554‐3664
PAMELA I JENSEN                   70 PARKWOOD LN                                                                                    HILTON            NY   14468‐1325
PAMELA INMAN                      6107 IMPERIAL HILLS DR                                                                            DAYTON            OH   45414‐2821
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Name                      Address1                     Address2             Address3        Address4         City             State Zip
PAMELA IVORY              3634 BROOKLINE AVE                                                                 COLUMBUS          OH 43223‐3407
PAMELA J ACITO            6027 HICKORY GROVE LANE                                                            PORT ORANGE       FL 32128
PAMELA J ARNOLD           2012 GREEN APPLE LN                                                                ARLINGTON         TX 76014‐1634
PAMELA J BAKER            1202 S COUNTY ROAD J                                                               JANESVILLE        WI 53546‐9575
PAMELA J BARRETT‐LONG     P O BOX 26516                                                                      DAYTON            OH 45426‐0516
PAMELA J BELL             4012 RAINBOW VIEW DR                                                               INDIANAPOLIS      IN 46221‐2954
PAMELA J BOATWRIGHT       827 OSMOND AVENUE                                                                  DAYTON            OH 45407‐1240
PAMELA J BODNOVICH        113 E BEVERLY AVE                                                                  PONTIAC           MI 48340‐2615
PAMELA J BURKE            2418 WESTPORT DR                                                                   DAYTON            OH 45406
PAMELA J CARTER           801 SOLDIERS/HOME‐MSBG.RD.                                                         MIAMISBURG        OH 45342‐‐ 14
PAMELA J CIBELLA          2250 CLEARVIEW AVE NW                                                              WARREN            OH 44483‐1336
PAMELA J CLARK            1154 HALLOCK YOUNG RD SW                                                           WARREN            OH 44481‐9636
PAMELA J CLODFELTER       1941 SE 177TH AVE                                                                  SILVER SPRINGS    FL 34488‐6149
PAMELA J COX              604 BRENTWOOD ST                                                                   TILTON             IL 61833‐8007
PAMELA J DANDO            1461 PAYNE ST                                                                      MINERAL RIDGE     OH 44440‐9736
PAMELA J DIECE            209 LECLERE ST                                                                     LIGONIER          IN 46767‐9757
PAMELA J EARLEY           921 CATALPA DR                                                                     DAYTON            OH 45407‐1825
PAMELA J FLYNN            91 HILLVIEW DR                                                                     HUBBARD           OH 44425‐1278
PAMELA J FRESE ACF        BRET A CORNELL               1275 MONTEREY BLVD                                    SAN FRANCISCO     CA 94127
PAMELA J GORDON           3393 SUNNYSIDE DR                                                                  DAYTON            OH 45432
PAMELA J HARGIS           512 EVANS AVE                                                                      MIAMISBURG        OH 45342‐3308
PAMELA J HARRIS           217 HUNTERS POINTE DR                                                              JAMESTOWN         OH 45335‐2536
PAMELA J HEATER           6032 LAKE DR                                                                       YPSILANTI         MI 48197‐7013
PAMELA J JAMESON          PO BOX 271‐865                                                                     OKLAHOMA CITY     OK 73137
PAMELA J KELLEY           7510 W FARRAND RD                                                                  CLIO              MI 48420‐2806
PAMELA J KNIGHT           8535 CO. ROAD 6                                                                    PIEDMONT          AL 36272‐5236
PAMELA J KOZAN            10185 S LEWIS RD                                                                   CLIO              MI 48420‐7717
PAMELA J LEONARD          252 WHITTIER RD                                                                    SPENCERPORT       NY 14559‐2219
PAMELA J LOOS             7031 SCRIPPS CRESCENT ST                                                           GOLETA            CA 93117‐2953
PAMELA J MCBRIDE          78 FOLK RD                                                                         FREDONIA          PA 16124‐1418
PAMELA J MCDONALD         1721 UNIVERSITY DR                                                                 COLUMBIA          TN 38401‐6413
PAMELA J MYERS            8303 FREDERICK PIKE                                                                DAYTON            OH 45414
PAMELA J PIERCE‐WALCZAK   6028 WALNUT ST                                                                     MOUNT MORRIS      MI 48458‐8563
PAMELA J RADICK           2236 S FENNER RD                                                                   CARO              MI 48723‐9671
PAMELA J RAYMOND          46 SENTINEL TRL                                                                    PALM COAST        FL 32164‐5414
PAMELA J REESE            7637 MOUNT HOOD                                                                    HUBER HEIGHTS     OH 45424‐6919
PAMELA J RITTER           11515 POLE CAT RD                                                                  MISSOULA          MT 59808‐9786
PAMELA J ROWE             412 KENWOOD AVE                                                                    DAYTON            OH 45406
PAMELA J SADEWASSER       9966 JOAN CIR                                                                      YPSILANTI         MI 48197‐6913
PAMELA J SCHNOBRICH       122 FLORIDA RD S                                                                   SYRACUSE          NY 13211‐1845
PAMELA J SERGEANT         6271 US HIGHWAY 431                                                                ATTALLA           AL 35954‐7837
PAMELA J SINKLER          8211 MORRISH RD                                                                    SWARTZ CREEK      MI 48473‐9163
PAMELA J SOLLITTO         144 COLDWATER ROAD                                                                 ROCHESTER         NY 14624‐2446
PAMELA J STANLEY          3454 MEADOWBROOK DR                                                                LEAVITTSBURG      OH 44430‐9609
PAMELA J SYLVESTER        ACCT OF DANIEL R SYLVESTER   1365 ALESSANDRO DR                                    NEWBURY PARK      CA 91320‐3516
PAMELA J VANDER WEIDE     2675 INGERSOLL ST SW                                                               WYOMING           MI 49519‐4525
PAMELA J WALCZAK          6028 WALNUT ST                                                                     MOUNT MORRIS      MI 48458‐8563
PAMELA J WEISENBERGER     3711 CHESANING RD                                                                  CHESANING         MI 48616‐9772
PAMELA J WOLFE            2300 GRAYSON DR APT 314                                                            GRAPEVINE         TX 76051‐7002
PAMELA J YATES            PO BOX 60177                                                                       DAYTON            OH 45406
PAMELA J. NIEMITS         356 PUGHTOWN ROAD                                                                  SPRING CITY       PA 19475‐3407
PAMELA JACK               1363 N EMERALD DR                                                                  MEARS             MI 49436‐9696
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Name                        Address1                        Address2          Address3         Address4         City                  State Zip
PAMELA JACKSON              863 CLOVERLAWN BLVD                                                                 LINCOLN PARK           MI 48146‐4376
PAMELA JAMES                835 NASH AVE                                                                        YPSILANTI              MI 48198‐6127
PAMELA JAMESON              PO BOX 271865                                                                       OKLAHOMA CITY          OK 73137‐1865
PAMELA JAMIESON             417 MCKINLEY AVE                                                                    GROSSE POINTE FARMS    MI 48236‐3241
PAMELA JANE POWERS          100 GROVE ST                                                                        NEW BRIGHTON           PA 15066
PAMELA JANE RECTOR          2922 REDBUD TRAIL                                                                   KALAMAZOO              MI 49009‐8800
PAMELA JO DARLING           13380 TORREY RD                                                                     FENTON                 MI 48430‐1040
PAMELA JO ROSE              111 WARNER DRIVE                                                                    UNION                  OH 45322
PAMELA JOHNSON              4189 ALEESA DR SE                                                                   WARREN                 OH 44484‐2917
PAMELA JOHNSON              5639 W THURSTON AVE                                                                 MILWAUKEE              WI 53218‐2433
PAMELA JOHNSON              1032 W ATHERTON RD                                                                  FLINT                  MI 48507‐5302
PAMELA JOHNSON              14044 PLACID DR                                                                     HOLLY                  MI 48442‐8308
PAMELA JOHNSON              21 N PADDOCK ST                                                                     PONTIAC                MI 48342‐2618
PAMELA JOHNSON              15292 COUNTY ROAD 149                                                               DEFIANCE               OH 43512‐9313
PAMELA JOHNSON‐SOTO         8766 BUNNELL HILL RD                                                                SPRINGBORO             OH 45066‐9610
PAMELA JOHNSON‐WEEMS        18616 BARLOW ST                                                                     DETROIT                MI 48205‐2647
PAMELA JOHNSTON             4805 APPLETON AVENUE                                                                KANSAS CITY            MO 64133‐2326
PAMELA JONES                4100 S AIRPORT RD                                                                   BRIDGEPORT             MI 48722‐9584
PAMELA JOYNER               6454 KINGS POINTE RD                                                                GRAND BLANC            MI 48439‐8639
PAMELA K BROWN‐MARTINDALE   6890 FOLLIN RD                                                                      BELLVILLE              OH 44813‐9342
PAMELA K BYRD               10 ADLON COURT                                                                      WEST CARROLLTON        OH 45449
PAMELA K CALDWELL           TODD ESTATES 704 SHUE DR                                                            NEWARK                 DE 19713
PAMELA K CALDWELL           704 SHUE DR TODD ESTATES                                                            NEWARK                 DE 19713
PAMELA K CUMMINS            2729 PROSPECT DR                                                                    FAIRBORN               OH 45324
PAMELA K DOTSON             644 DORSEY COURT                                                                    CENTERVILLE            OH 45459
PAMELA K ESTABROOK          190 POLK 160                                                                        MENA                   AR 71953
PAMELA K GILLESPIE          242 PENNSYLVANIA AVE                                                                MC DONALD              OH 44437
PAMELA K LEWELLEN‐HERRON    2894 W ROCK RIVER RIDGE RD                                                          CRAWFORDSVILLE         IN 47933‐5026
PAMELA K LUNDY              1351 FIRETHORNE DR                                                                  MASON                  OH 45040
PAMELA K MOORE              5419 N WAYNE AVE                                                                    KANSAS CITY            MO 64118‐5755
PAMELA K OUSLEY             100 FACTORY ROAD                                                                    SPRINGBORO             OH 45066‐1234
PAMELA K ROSS               137 S COURTENAY PKWY PMB 1287                                                       MERRITT ISLAND         FL 32952‐4843
PAMELA K SCHULTZ            4356 BRISTOLWOOD DR                                                                 FLINT                  MI 48507‐3749
PAMELA K SHILLING           6617 BATTLE CREEK HWY                                                               BELLEVUE               MI 49021‐9414
PAMELA K SNIDER             11522 1/2 DAVIS ST                                                                  GRAND BLANC            MI 48439‐1357
PAMELA K WILLIAMS           2403 E JOLLY RD APT 10                                                              LANSING                MI 48910‐5714
PAMELA K ZOELLER            89 KERLAND DR                                                                       WRIGHT CITY            MO 63390‐1322
PAMELA KAATZ                16435 MARTINSVILLE RD                                                               BELLEVILLE             MI 48111‐3043
PAMELA KALETA               6207 S MERRILL AVE                                                                  CUDAHY                 WI 53110‐2930
PAMELA KAMINSKI             120 BULL RD                                                                         HARWINTON              CT 06791‐2320
PAMELA KAUTZ                5645 GIBBS RD                                                                       PLAINFIELD             IN 46168‐8396
PAMELA KELLEY               2273 SCENIC HOLLOW DR                                                               GRAND BLANC            MI 48439‐2548
PAMELA KELLEY               7510 W FARRAND RD                                                                   CLIO                   MI 48420‐2806
PAMELA KEMPER               52723 KEY BELLAIRE RD                                                               BELLAIRE               OH 43906‐9420
PAMELA KENNEDY              2299 MELODY LN                                                                      BURTON                 MI 48509‐1115
PAMELA KETNER               2240 TIMBERWOOD CT                                                                  DAVISON                MI 48423‐9532
PAMELA KEYS                 5671 COUNTRIE GLEN DR                                                               GALLOWAY               OH 43119‐9068
PAMELA KIDD                 1167 CRANFORD HOLLOW RD                                                             COLUMBIA               TN 38401‐7645
PAMELA KIDD                 1603 PIERCE ST                                                                      SANDUSKY               OH 44870‐4549
PAMELA KILBURN              211 N 6TH ST                                                                        MIAMISBURG             OH 45342‐2358
PAMELA KILLEN               319 S 19TH ST                                                                       SAGINAW                MI 48601‐1522
PAMELA KILMER               1154 CAIN RD                                                                        YOUNGSTOWN             NY 14174‐9768
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Name                      Address1                         Address2         Address3         Address4         City               State Zip
PAMELA KING               220 W 4TH ST                                                                        FAIRMOUNT           IN 46928‐1308
PAMELA KING               701 MICHAEL AVE                                                                     WENTZVILLE          MO 63385‐1013
PAMELA KLEIN              14248 NORTH RD                                                                      FENTON              MI 48430‐1395
PAMELA KLEPACZ            2505 GINGHAMSBURG FREDERICK RD                                                      TIPP CITY           OH 45371‐8991
PAMELA KNEELAND           1922 VALLEY LN                                                                      LAKE ORION          MI 48360‐1870
PAMELA KORVELA            59 HILL TOP LN                                                                      BEDFORD             IN 47421‐6957
PAMELA KOZAN              10185 S LEWIS RD                                                                    CLIO                MI 48420‐7717
PAMELA KRAHN              8200 S EDON RD                                                                      READING             MI 49274‐9839
PAMELA KRAWCZYK           5549 FOLKSTONE DR                                                                   TROY                MI 48085‐3114
PAMELA KRUCKENBERG        10697 N 100 E                                                                       ROANOKE             IN 46783‐8893
PAMELA KRUEGER            8223 W PLYMOUTH CHURCH RD                                                           ORFORDVILLE         WI 53576‐9526
PAMELA KUFTA              6417 BRAY RD                                                                        FLINT               MI 48505‐1812
PAMELA KUMFER             2127 BUTLER RD                                                                      FORT WAYNE          IN 46808‐1369
PAMELA KURTZ              485 CLARERIDGE LANE                                                                 CENTERVILLE         OH 45458
PAMELA KVASNICKA          1055 STURBRIDGE LN                                                                  DAVISON             MI 48423‐9007
PAMELA KYLE               5262 SANDTOWN CENTER BLVD SW                                                        ATLANTA             GA 30331‐8938
PAMELA L ARMSTRONG        6195 PRINCESS ST                                                                    TAYLOR              MI 48180‐1025
PAMELA L BONACCI          210 AUDINO LN APT A                                                                 ROCHESTER           NY 14624‐5617
PAMELA L BROADSTOCK       14107 RODMAN STREET                                                                 HORIZON             TX 79928
PAMELA L BURRIS           93 SEWARD ST APT 709                                                                DETROIT             MI 48202‐4417
PAMELA L CARTER           228 CURRY PL                                                                        YOUNGSTOWN          OH 44504‐1815
PAMELA L CHOICE           1014 SUNSET DR                                                                      ENGLEWOOD           OH 45322‐2253
PAMELA L CLARK            411 WILSON AVE                                                                      JANESVILLE          WI 53548‐5124
PAMELA L CLARK            PO BOX 14301                                                                        LANSING             MI 48901‐4301
PAMELA L FRANCIS          9627 COUNTRY PATH TRAIL                                                             MIAMISBURG          OH 45342
PAMELA L JONES            12 MCNAIR DR                                                                        ROCHESTER           NY 14624‐3506
PAMELA L JONES‐MAVEN      2676 ALVESTON DR                                                                    BLOOMFIELD HILLS    MI 48304‐1802
PAMELA L MONROE           409 STUCKHARDT RD                                                                   TROTWOOD            OH 45426
PAMELA L OSCAR            4631 OLD CANTON RD                                                                  JACKSON             MS 39211
PAMELA L RIDOUT           18287 LINDSAY ST                                                                    DETROIT             MI 48235‐3243
PAMELA L SIMMONS          2033 FERRIS AVE                                                                     FLINT               MI 48503‐4045
PAMELA L SIVAK            526 WOODROW AVE                                                                     LANSING             MI 48910‐3245
PAMELA L SMITH            1114 VERMILYA AVE                                                                   FLINT               MI 48507‐1539
PAMELA L TREADWELL        WELLS FARGO BANK IRA C/F         PO BOX 1687                                        MUSKOGEE            OK 74402
PAMELA L WARZALA          2580 EDGEWATER DR                                                                   CORTLAND            OH 44410
PAMELA L WORKMAN          7326 NORTHVIEW DR                                                                   BROOKFIELD          OH 44403
PAMELA LABUHN             53134 ROBINHOOD DR                                                                  SHELBY TWP          MI 48315‐2070
PAMELA LACKEY             1442 S 500 W                                                                        ANDERSON            IN 46011‐8748
PAMELA LAMBERT            10254 CARMER RD                                                                     FENTON              MI 48430‐2406
PAMELA LANG               3108 CAMARO DR                                                                      CROWLEY             TX 76036‐5738
PAMELA LANGE              PO BOX 51                                                                           GALVESTON           IN 46932‐0051
PAMELA LAREY              15095 KEITHVILLE KEATCHIE RD                                                        KEITHVILLE          LA 71047‐9769
PAMELA LAUWERS            1958 E OYSTER RD                                                                    ROSE CITY           MI 48654‐9790
PAMELA LAVICTOR           PO BOX 445                                                                          ORTONVILLE          MI 48462‐0445
PAMELA LAWRENCE           27975 QUAIL HOLLOW CT                                                               FARMINGTON HILLS    MI 48331‐3355
PAMELA LAWRENCE‐MCCOWEN   253 W BROOKLYN AVE                                                                  PONTIAC             MI 48340‐1127
PAMELA LAWSON             815 STETSON ST                                                                      TECUMSEH            MI 49286‐1180
PAMELA LAWSON             2316 N RURAL ST                                                                     INDIANAPOLIS        IN 46218‐3628
PAMELA LEA SNOOK          468 HENRY SMITH RD                                                                  BERNICE             LA 71222‐5522
PAMELA LEADY              2283 TOPAZ DR                                                                       GROVE CITY          OH 43123‐1458
PAMELA LEE                2303 CRANES CV                                                                      BURTON              MI 48519‐1368
PAMELA LEE DETRICK        PO BOX 245                                                                          TROY                OH 45373‐‐ 02
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Name                     Address1                           Address2        Address3         Address4         City               State Zip
PAMELA LEIBLER           1103 W HIGHLAND RD                                                                   HIGHLAND            MI 48357‐4523
PAMELA LEMONS            3152 S 850 E                                                                         WALTON              IN 46994
PAMELA LEWELLEN‐HERRON   2894 W ROCK RIVER RIDGE RD                                                           CRAWFORDSVLLE       IN 47933‐5026
PAMELA LEWIS             11420 TERRACE RD                                                                     HOLLY               MI 48442‐8620
PAMELA LEWIS             RT 1‐84 ELAINA DR                                                                    TRINIDAD            TX 75163
PAMELA LINDSEY           1614 FLOWERS CREEK DR                                                                MCDONOUGH           GA 30253‐3991
PAMELA LIVELY            24389 NAGEL RD                                                                       DEFIANCE            OH 43512‐8793
PAMELA LOCKHART          3229 WALTON AVE                                                                      FLINT               MI 48504‐4229
PAMELA LOCKLEAR          12266 SILVER LAKE RD                                                                 BRIGHTON            MI 48116‐8321
PAMELA LOESEL            300 KENNELY RD APT 107                                                               SAGINAW             MI 48609‐7701
PAMELA LOOS              7031 SCRIPPS CRESCENT ST                                                             GOLETA              CA 93117‐2953
PAMELA LOVETT            311 E FARRELL ST                                                                     NIOTA               TN 37826‐3608
PAMELA LUNA              4040 MOULTON DR                                                                      FLINT               MI 48507‐5539
PAMELA LYLE CUPP         2057 GREENBRIAR                                                                      HARBOR SPRINGS      MI 49740‐9255
PAMELA LYNCH             6461 E MOUNT MORRIS RD                                                               MOUNT MORRIS        MI 48458‐9731
PAMELA LYONS             3648 ELM CT                                                                          FLOSSMOOR            IL 60422‐2283
PAMELA M BOECKMAN        4719 QUEENS AVE                                                                      DAYTON              OH 45406
PAMELA M CHAFIN          63 ROSELL DR                                                                         DAYTON              OH 45440‐3234
PAMELA M CRAIG           3903 DANIELS RD                                                                      RANSOMVILLE         NY 14131‐9614
PAMELA M DENNIS          201 FOREST AVE                                                                       WEST MILTON         OH 45383
PAMELA M FREE            4075 DAVIS RD                                                                        KOKOMO              IN 46901‐8285
PAMELA M MANOGIN         2325 MARGRET WALKER                                                                  JACKSON             MS 39213
PAMELA M MILLER          35 WILDERNESS LN                                                                     DEFIANCE            MO 63341‐2402
PAMELA M NEAL            12897 HIGHWAY 789                                                                    KEITHVILLE          LA 71047‐8716
PAMELA M SHUTTS          354 CHARLOTTE AVE                                                                    LEBANON             OH 45036
PAMELA M YOUNGER         702 W GENESEE ST                                                                     FLINT               MI 48504‐2608
PAMELA MABERY            405 SHADY OAKS ST                                                                    LAKE ORION          MI 48362‐2569
PAMELA MACDONALD         26145 EXPLORER RD APT F                                                              PORT CHARLOTTE      FL 33983‐6309
PAMELA MACKAY            722 RIVARD BLVD                                                                      GROSSE POINTE       MI 48230‐1252
PAMELA MADDEN            325 PINE VALLEY CT                                                                   LINDEN              MI 48451‐8796
PAMELA MADER             6328 ARNO ROAD                                                                       FRANKLIN            TN 37064‐7900
PAMELA MAKILA            9035 LAMONT ST                                                                       LIVONIA             MI 48150‐3449
PAMELA MARKHAM           413 W SHERWOOD TER                                                                   FORT WAYNE          IN 46807‐2735
PAMELA MARTIN            815 WAVERLY RD                                                                       DIMONDALE           MI 48821‐9645
PAMELA MARTIS            195 CATALPA DR                                                                       BIRMINGHAM          MI 48009‐1712
PAMELA MASON             9890 N POMONA AVE LOT 207                                                            KANSAS CITY         MO 64153‐1989
PAMELA MATER             PO BOX 9022                        C/O GM ZURICH                                     WARREN              MI 48090‐9022
PAMELA MATHIAS           3184 ROBINA AVE                                                                      BERKLEY             MI 48072‐3814
PAMELA MATTHEWS          1044 ROLLING PARK LN                                                                 FORT MILL           SC 29715‐7086
PAMELA MATTHEWS          2628 W 39TH ST                                                                       ANDERSON            IN 46011‐5027
PAMELA MAVEN             2676 ALVESTON DR                                                                     BLOOMFIELD HILLS    MI 48304‐1802
PAMELA MC CANN           5440 LINGER LN                                                                       LAPEER              MI 48446‐8012
PAMELA MCBRIDE           78 FOLK RD                                                                           FREDONIA            PA 16124‐1418
PAMELA MCCLAIN           4280 W 112TH ST                                                                      GRANT               MI 49327‐9755
PAMELA MCCLAIN           3177 CASTLE RD                                                                       NORTH BRANCH        MI 48461‐8762
PAMELA MCCORKLE          107 S KINGSLEY ST                                                                    CORUNNA             MI 48817‐1735
PAMELA MCCULLICK         1603 S WALNUT ST                                                                     JANESVILLE          WI 53546‐5851
PAMELA MCDONALD          1721 UNIVERSITY DR                                                                   COLUMBIA            TN 38401‐6413
PAMELA MCGILL            2107 ARBUTUS ST                                                                      JANESVILLE          WI 53546‐6160
PAMELA MCKINNEY          509 MEADOW DR                                                                        KOKOMO              IN 46902‐3719
PAMELA MEANS             41275 OLD MICHIGAN AVE TRLR 1215                                                     CANTON              MI 48188‐2782
PAMELA MERRITT           9030 E BLUEWATER DR                                                                  CLARKSTON           MI 48348‐4256
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Name                   Address1                          Address2               Address3      Address4         City               State Zip
PAMELA MEYER           34159 WOOD ST                                                                           LIVONIA             MI 48154‐2533
PAMELA MILLER          35 WILDERNESS LN                                                                        DEFIANCE            MO 63341‐2402
PAMELA MILLER          8415 KINGSTON DR                                                                        FRANKLIN            OH 45005‐3943
PAMELA MILLER          125 E MOLER ST APT B                                                                    COLUMBUS            OH 43207‐1124
PAMELA MILLER          2985 FLORENCE DR                                                                        MIDDLEBURG          FL 32068‐7224
PAMELA MILLIGAN        1009 DIANEWOOD DR                                                                       MANSFIELD           OH 44903‐8830
PAMELA MILLS           135 WILSON ROAD                                                                         CENTRAL POINT       OR 97502
PAMELA MILNER          9014 E LITTLE LN                                                                        CLINTON             WI 53525‐8656
PAMELA MITCHELL        3651 ROSEVILLE RD                                                                       GLASGOW             KY 42141‐2266
PAMELA MITCHELL        4532 SE 11TH PL                                                                         CAPE CORAL          FL 33904‐8615
PAMELA MITCHELL        622 CHARWOOD DR                                                                         CINCINNATI          OH 45244‐1315
PAMELA MOJICA          APT 3A                            7497 TROUTWOOD DRIVE                                  GRAND BLANC         MI 48439‐7500
PAMELA MONAGHAN        650 MAPLEVIEW RD                                                                        CHEEKTOWAGA         NY 14225‐1737
PAMELA MONROE          409 STUCKHARDT RD                                                                       TROTWOOD            OH 45426‐2705
PAMELA MONTLER         2480 BRAYTON AVE APT N1                                                                 ALLIANCE            OH 44601‐4997
PAMELA MOORE           5419 N WAYNE AVE                                                                        KANSAS CITY         MO 64118‐5755
PAMELA MORAVCIK        6386 FOREST PARK DR                                                                     N RIDGEVILLE        OH 44039‐1648
PAMELA MORGAN          1059 STEEPLEBUSH DR                                                                     TOLEDO              OH 43615‐9246
PAMELA MORGAN          3214 COLORADO AVE                                                                       FLINT               MI 48506‐2532
PAMELA MORLEY          20525 SYLVANWOOD AVE                                                                    LAKEWOOD            CA 90715‐1257
PAMELA MORRIS          14 STAR DUST TRL SE                                                                     CARTERSVILLE        GA 30120‐6842
PAMELA MORRISON        9115 N VASSAR RD                                                                        MOUNT MORRIS        MI 48458‐9726
PAMELA MOSER           4980 FAIRVIEW AVE                                                                       NEWTON FALLS        OH 44444‐9416
PAMELA MOSS            18890 BLOOM ST                                                                          DETROIT             MI 48234‐2427
PAMELA MUNSON          3636 FORDWAY DR                                                                         LAMBERTVILLE        MI 48144‐9773
PAMELA MUSSELMAN       5727 ARBOR AVE                                                                          FORT WAYNE          IN 46809‐2005
PAMELA MYERS           8540 W DELPHI PIKE                PO BOX 655                                            CONVERSE            IN 46919‐9314
PAMELA MYERS           HC 72 BOX 100                                                                           NEW CREEK           WV 26743‐9603
PAMELA NAGY            6057 TRINITY RD                                                                         DEFIANCE            OH 43512‐9757
PAMELA NEAL            2798 W 1000 N                                                                           KNIGHTSTOWN         IN 46148‐9210
PAMELA NEWMAN          3818 S WEBSTER ST                                                                       KOKOMO              IN 46902‐3668
PAMELA NIELSEN         3920 BEEMAN RD                                                                          WILLIAMSTON         MI 48895‐9350
PAMELA NOLAND          7333 SPRAGUE ST                                                                         ANDERSON            IN 46013‐3940
PAMELA NORTHROP        9205 STATE HIGHWAY 56                                                                   MASSENA             NY 13662‐3437
PAMELA NUMERICK        5230 S MORRICE RD                                                                       OWOSSO              MI 48867‐9753
PAMELA ODOM            1418 HATCHCOVER CIR                                                                     JONESBORO           GA 30238‐6520
PAMELA OLIVER          203 BIRCHWOOD DR                                                                        SAINT PETERS        MO 63376‐7044
PAMELA OLSSON          4107 POMPEY CENTER RD                                                                   MANLIUS             NY 13104‐8758
PAMELA ORR             5493 N SAWGRASS LN                                                                      LEESBURG            IN 46538‐9042
PAMELA OSTRUM          3277 WILSON ST                                                                          MARLETTE            MI 48453‐1415
PAMELA P BURNELL       108 CANTERFIELD PKWY W                                                                  WEST DUNDEE          IL 60118‐9004
PAMELA P HIGHTOWER     1111 IVANHOE AVE.                                                                       YOUNGSTOWN          OH 44502
PAMELA P SCHMOLINSKY   520 FITZOOTH DR                                                                         MIAMISBURG          OH 45342
PAMELA PALMER          3033 FRANKLIN PARK DR                                                                   STERLING HEIGHTS    MI 48310‐2478
PAMELA PALMER          35750 OAKWOOD LN                                                                        WESTLAND            MI 48186‐4102
PAMELA PARENT          2317 E WHEELER ST                                                                       MIDLAND             MI 48642‐7151
PAMELA PARKER          1616 AIRPORT BLVD                                                                       GADSDEN             AL 35904‐4562
PAMELA PASCAL          4413 SUNNYMEAD AVE                                                                      BURTON              MI 48519‐1263
PAMELA PENSE
PAMELA PERKINS         4025 SHAY LAKE RD                                                                       KINGSTON           MI 48741‐9542
PAMELA PERRY           3217 KEMMONS DR APT 3                                                                   LOUISVILLE         KY 40218‐2061
PAMELA PERRY           9268 RIVERSIDE DR                                                                       GRAND LEDGE        MI 48837‐9273
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Name                       Address1                      Address2            Address3         Address4         City              State Zip
PAMELA PETERSON            7020 IDLEWOOD CT                                                                    WATERFORD          WI 53185‐1842
PAMELA PETROWSKE           37726 LILAC LN                                                                      RICHMOND           MI 48062‐5902
PAMELA PETTWAY             14810 SNOWDEN ST                                                                    DETROIT            MI 48227‐3646
PAMELA PFEUFFER            41268 CILANTRO DR                                                                   STERLING HTS       MI 48314‐4008
PAMELA PHILLIPS            1411 E LARNED ST APT 303                                                            DETROIT            MI 48207‐3074
PAMELA PHILLIPS            2400 WIMBLEDON PARK BLVD                                                            TOLEDO             OH 43617‐2238
PAMELA PIERCE              11136 DUDLEY ST                                                                     TAYLOR             MI 48180‐4207
PAMELA POINEAU             PO BOX 122                                                                          ENGLEWOOD          FL 34295‐0122
PAMELA POPPE               7100 MOBERLY PL                                                                     HUBER HEIGHTS      OH 45424‐3159
PAMELA POWELL              67 HOLLY RIBBONS CIR                                                                BLUFFTON           SC 29909‐6193
PAMELA PRATER              1705 MILLERS CT                                                                     NOBLESVILLE        IN 46060‐1666
PAMELA PRATI               VIA CIPATA                                                                          MILANO                  45098
PAMELA PUGH‐DUKES          1350 WESTWOOD DR NW                                                                 WARREN             OH 44485‐1980
PAMELA R BROWN             4337 MEADOWLANE DR.                                                                 JACKSON            MS 39206‐3810
PAMELA R BURAN             3612 NILES‐CORTLAND RD.                                                             CORTLAND           OH 44410‐1761
PAMELA R CZAJKOWSKI        2264 FOREST HILLS DR                                                                LAKE ORION         MI 48359‐1167
PAMELA R LIVELY            24389 NAGEL RD                                                                      DEFIANCE           OH 43512‐8793
PAMELA R LYNCH             6461 E MOUNT MORRIS RD                                                              MOUNT MORRIS       MI 48458‐9731
PAMELA R SAYERS            1166 MCKINLEY ST NE                                                                 WARREN             OH 44483‐5138
PAMELA R SHEPHERD          4630 W HILLCREST AVE                                                                DAYTON             OH 45406‐2313
PAMELA R SHINABERRY        9910 GORDON RD                                                                      BETHANY            LA 71007‐9569
PAMELA R SMITH             PO BOX 9022 UZBEK POUCH                                                             WARREN             MI 48090
PAMELA R TRIPP             2295 SOWER BLVD                                                                     OKEMOS             MI 48864
PAMELA RADICK              2236 S FENNER RD                                                                    CARO               MI 48723‐9671
PAMELA RAEBURN             4813 GROVER DR                                                                      YOUNGSTOWN         OH 44512‐1608
PAMELA RAMSEY              114 CLAIR HILL DR                                                                   ROCHESTER HILLS    MI 48309‐2105
PAMELA RANDOL              2928 N 43RD ST                                                                      KANSAS CITY        KS 66104‐2412
PAMELA RAY                 304 19TH ST                                                                         BEDFORD            IN 47421‐4412
PAMELA RAYCRAFT            10132 MCCABE RD                                                                     BRIGHTON           MI 48116‐8526
PAMELA RAYMOND             46 SENTINEL TRL                                                                     PALM COAST         FL 32164‐5414
PAMELA REED                604 ANNS WAY                                                                        WINDER             GA 30680‐7610
PAMELA REED                2328 WYATT CT                                                                       FORT WORTH         TX 76119‐3104
PAMELA REESE               25130 ROSE ST                                                                       ROSEVILLE          MI 48066‐3624
PAMELA REXIUS              1111 STONE ROWE                                                                     MILFORD            MI 48380‐1529
PAMELA RIBARIC             4800 GREEN HOLLOW DR                                                                ORION              MI 48359‐2061
PAMELA RICH                27010 CARLYSLE ST                                                                   INKSTER            MI 48141‐2554
PAMELA RICHARD             3570 E M43                                                                          HASTINGS           MI 49058
PAMELA RICHWINE            337 HARMONY CT                                                                      ANDERSON           IN 46013‐1053
PAMELA RIDOUT              18287 LINDSAY ST                                                                    DETROIT            MI 48235‐3243
PAMELA RIFFELL             8655 HEILMAN DR                                                                     NEW CARLISLE       OH 45344‐7614
PAMELA RILEY               5660 ROWLEY BLVD                                                                    WATERFORD          MI 48329‐3245
PAMELA RIVAS               930 KINGS MOUNTAIN RD                                                               DELAND             FL 32720‐1407
PAMELA RIVET               27 MCKINLEY ST                                                                      ROCHESTER          NY 14609‐5401
PAMELA ROBERTS             PO BOX 291                                                                          ROSCOE             MO 64781‐0291
PAMELA ROBERTS             2011 N ERIE ST                                                                      TOLEDO             OH 43611‐3740
PAMELA ROBERTS             9511 N GENESEE RD                                                                   MOUNT MORRIS       MI 48458‐9734
PAMELA ROBINSON            5018 AVENUE R 1/2                                                                   GALVESTON          TX 77551‐5632
PAMELA ROBINSON            4213 TRADEWIND CT                                                                   ENGLEWOOD          OH 45322
PAMELA ROBLES              7264 OLYMPIC RD APT 101                                                             JOSHUA TREE        CA 92252‐2787
PAMELA ROGERS              3185 SHIMMONS RD                                                                    AUBURN HILLS       MI 48326‐2069
PAMELA ROMERO‐RICHARDSON   21896 MAHON DR                                                                      SOUTHFIELD         MI 48075‐3825
PAMELA ROSE                4326 GORMAN AVE                                                                     ENGLEWOOD          OH 45322‐2528
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Name                   Address1                             Address2              Address3   Address4         City              State Zip
PAMELA ROSS            9617 WINCHESTER RD                                                                     FORT WAYNE         IN 46819‐2436
PAMELA ROSS            779 E MERRITT ISLAND CSWY PMB 1287                                                     MERRITT ISLAND     FL 32952‐3309
PAMELA ROUSSEY         1922 CHELSEA DR                                                                        MANSFIELD          OH 44904‐1792
PAMELA ROWE            10379 NEWELL LEDGE RD                                                                  GARRETTSVILLE      OH 44231‐9416
PAMELA ROXBOROUGH      45871 KARAM DR                                                                         SHELBY TOWNSHIP    MI 48315‐6059
PAMELA RYALLS          321 MAGNOLIA LN                                                                        CROSSVILLE         TN 38555‐3717
PAMELA S ALEO          2135 S WAVERLY RD                                                                      EATON RAPIDS       MI 48827‐9717
PAMELA S ALLARD        1111 NORMANDY TERRACE DR                                                               FLINT              MI 48532‐3550
PAMELA S BABCOCK       2449 W WILSON RD                                                                       CLIO               MI 48420‐1695
PAMELA S BILBREY       3009 SUTTON AVE                                                                        KETTERING          OH 45429‐3819
PAMELA S BOOS          4550 GLEN MARTIN DR                                                                    DAYTON             OH 45431‐1815
PAMELA S BORS          105 NUTMEG SQ                                                                          SPRINGBORO         OH 45066
PAMELA S BOWSER        2835 PEBBLE CREEK                                                                      CORTLAND           OH 44410
PAMELA S BROWN         11740 W STATE RD                                                                       EAGLE              MI 48822‐9707
PAMELA S BURKHARDT     2900 HOYLAKE CT                                                                        MORAINE            OH 45439‐1403
PAMELA S CONN          75 CREEK VIEW LN SE                                                                    BROOKHAVEN         MS 39601
PAMELA S DAMRON        810 NORDALE AVE                                                                        DAYTON             OH 45420‐2340
PAMELA S GILLUM        7600 HEMPLE RD.                                                                        DAYTON             OH 45418‐1232
PAMELA S HAGMAN        2484 LASSITER DR                                                                       ROCHESTER HILLS    MI 48309‐1521
PAMELA S HARPER        252 YOUNGS RUN DRIVE                                                                   WARREN             OH 44483
PAMELA S HARRIS        2604 ALBRIGHT RD                                                                       KOKOMO             IN 46902‐3907
PAMELA S HEINRICH      412 OAKVIEW DR                                                                         KETTERING          OH 45429‐2820
PAMELA S HILL          2627 VINEYARD LN                                                                       BROOKLYN           MI 49230‐8915
PAMELA S JOYNER        6454 KINGS POINTE RD                                                                   GRAND BLANC        MI 48439‐8639
PAMELA S MAURO         5530 NEVILLE RD                                                                        HUBER HEIGHTS      OH 45424‐‐ 60
PAMELA S MURAN         5267 PEPPER DR.                                                                        HUBER HEIGHTS      OH 45424‐6046
PAMELA S MYERS         1914 ROBERTS LN NE 12                                                                  WARREN             OH 44483‐3626
PAMELA S MYLES         718 OLD PORTER PIKE                                                                    BOWLING GREEN      KY 42103‐9582
PAMELA S OWENS         609 CHANDLER DR.                                                                       TROTWOOD           OH 45426
PAMELA S RARDEN        190 HERITAGE TRL DR                                                                    MIDDLETOWN         OH 45044‐3282
PAMELA S SCHWAB        3390 COZY CAMP RD                                                                      MORAINE            OH 45439‐1124
PAMELA S SEIBENICK     2029 S MISTYWOOD CT                                                                    DEFIANCE           OH 43512‐3481
PAMELA S SIKES         2907 DEARBORN AVE                                                                      FLINT              MI 48507‐1864
PAMELA S STEVENS       PO BOX 10719                                                                           FORT IRWIN         CA 92310‐0719
PAMELA S TOLKKINEN     1724 HILLROSE PLACE                                                                    FAIRBORN           OH 45324‐4019
PAMELA S VANCLEVE      5036 LINDBERGH BLVD                                                                    WEST CAROLLTON     OH 45449‐2700
PAMELA S WEIDEL        3323 S STATE ROUTE 721                                                                 LAURA              OH 45337‐9702
PAMELA S WHITERS       566 FILDEW AVE                                                                         PONTIAC            MI 48341‐2631
PAMELA S WILLIAMS      5007 W MOCKINGBIRD LN                                                                  DALLAS             TX 75209‐5301
PAMELA S WILLIAMS      304 W 5TH ST                                                                           TILTON              IL 61833‐7467
PAMELA S WITHERSPOON   1614 PELL DR                                                                           DAYTON             OH 45410‐3311
PAMELA S YOUNG         312 CORA DRIVE                                                                         CARLISLE           OH 45005‐3269
PAMELA SALTER          2827 REO RD                                                                            LANSING            MI 48911‐2908
PAMELA SANDELIN        6144 BRIGGS LAKE DR                                                                    BRIGHTON           MI 48116‐9563
PAMELA SCHANK          5616 GALLERY PARK DR                                                                   ANN ARBOR          MI 48103‐5062
PAMELA SCHNIPKE        17497 STATE ROUTE 66                                                                   FORT JENNINGS      OH 45844‐9587
PAMELA SCHRUM          6560 OAKRIDGE DR                                                                       WATERFORD          MI 48329‐1243
PAMELA SCHULTZ         4356 BRISTOLWOOD DR                                                                    FLINT              MI 48507‐3749
PAMELA SCHWEITZER      4255 LAKEWOOD DR                                                                       WATERFORD          MI 48329‐3850
PAMELA SCHWILK         PAMELA SCHWILK                       1 PENN PLZ STE 1706                               NEW YORK           NY 10119‐1796
PAMELA SCHWILK         1 PENN PLZ STE 1706                                                                    NEW YORK           NY 10119‐1796
PAMELA SCOTT‐LEES      34506 HIVELEY ST                                                                       WESTLAND           MI 48186‐4323
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Name                  Address1                        Address2          Address3         Address4         City               State Zip
PAMELA SEATON         513 GRANDVIEW AVE                                                                   CARNEGIE            PA 15106
PAMELA SEIBENICK      2029 S MISTYWOOD CT                                                                 DEFIANCE            OH 43512‐3481
PAMELA SEITZ          4083 SAN MARINO ST                                                                  KETTERING           OH 45440‐1315
PAMELA SEWELL         3861 SUNSET BLVD                                                                    ORCHARD LAKE        MI 48324‐2961
PAMELA SEXTON         9029 SOUTHERLAND PL                                                                 BRENTWOOD           TN 37027‐8539
PAMELA SEXTON         11455 HAMMERSTONE DR                                                                SOUTH LYON          MI 48178‐8534
PAMELA SEYER          21104 CUIVRE DR                                                                     LAKE ST LOUIS       MO 63367‐1997
PAMELA SHAHID         4077 STURTEVANT ST                                                                  DETROIT             MI 48204‐1541
PAMELA SHARP          1047 KUHLMAN LN                                                                     WEBSTER GROVES      MO 63119‐2017
PAMELA SHELBY         PO BOX 119                                                                          RUSSIAVILLE         IN 46979‐0119
PAMELA SHEPHERD       1950 CHRISTIAN AVE                                                                  TOLEDO              OH 43613‐2841
PAMELA SHEPPHEARD     1515 TENNYSON AVE                                                                   DAYTON              OH 45406‐4245
PAMELA SHERWOOD       3661 BRADFORD CT                                                                    BLOOMFIELD HILLS    MI 48301‐3352
PAMELA SHETLER        543 FAIROAKS BLVD                                                                   MANSFIELD           OH 44907‐2722
PAMELA SHILLING       6617 BATTLE CREEK HWY                                                               BELLEVUE            MI 49021‐9414
PAMELA SHINABERRY     9910 GORDON RD                                                                      BETHANY             LA 71007‐9569
PAMELA SHORT          PO BOX 1005                                                                         KOKOMO              IN 46903‐1005
PAMELA SHUCK          6749 N 100 E                                                                        WINDFALL            IN 46076‐9384
PAMELA SHURLOW        10826 BROADBENT RD                                                                  LANSING             MI 48917‐8819
PAMELA SIKES          2907 DEARBORN AVE                                                                   FLINT               MI 48507‐1864
PAMELA SIMMONS        2033 FERRIS AVE                                                                     FLINT               MI 48503‐4045
PAMELA SINKLER        8211 MORRISH RD                                                                     SWARTZ CREEK        MI 48473‐9163
PAMELA SINNOTT        54247 VERONA PARK DR                                                                MACOMB              MI 48042‐5799
PAMELA SIVAK          526 WOODROW AVE                                                                     LANSING             MI 48910‐3245
PAMELA SLOAN          3024 BYRNWYCK W                                                                     MAUMEE              OH 43537‐9645
PAMELA SMITH          4508 N PATTEN TER                                                                   MUNCIE              IN 47304‐9527
PAMELA SMITH          103 RITA CV                                                                         COLUMBIA            TN 38401‐5580
PAMELA SMITH          2340 BROOKTREE CT                                                                   YPSILANTI           MI 48198‐6252
PAMELA SMITH          1141 MILLER AVENUE                                                                  KOKOMO              IN 46902‐2661
PAMELA SMITH          PO BOX 9022                                                                         WARREN              MI 48090
PAMELA SNIDER         11522 1/2 DAVIS ST                                                                  GRAND BLANC         MI 48439‐1357
PAMELA SPALL          114 REDBUD CIR                                                                      ANDERSON            IN 46013‐1031
PAMELA SPARKS         4209 BROWN ST                                                                       ANDERSON            IN 46013‐4450
PAMELA SPRINGER       413 BROADWAY ST                                                                     PONTIAC             MI 48342‐1705
PAMELA ST ONGE        2515 TOBY RD                                                                        ORION               MI 48359‐1574
PAMELA STAFFORD       25287 MAPLEBROOKE DR                                                                SOUTHFIELD          MI 48033‐7418
PAMELA STECKOWSKI     618 CASELTON CT                                                                     FRANKLIN            TN 37069‐4309
PAMELA STEELE         304 INDEPENDENCE CREEK LN                                                           GEORGETOWN          TX 78633‐5314
PAMELA STEENBERGH     26183 EUREKA DR                                                                     WARREN              MI 48091‐1179
PAMELA STEPHENSON     52660 COULTER CT                                                                    NEW BALTIMORE       MI 48047‐6503
PAMELA STEVENS        6390 W DODGE RD                                                                     CLIO                MI 48420‐8547
PAMELA STIEVE         3101 MERLE DR                                                                       COLUMBIAVILLE       MI 48421‐8913
PAMELA STIFF          5307 MAPLETREE DR                                                                   FLINT               MI 48532‐3333
PAMELA STOERMER       1228 GLEN KEGLEY DRIVE                                                              XENIA               OH 45385
PAMELA STORK          111 CAROL DR                                                                        COLUMBIA            TN 38401‐2010
PAMELA STOTHERS       2102 EASTERN AVENUE NORTHEAST                                                       GRAND RAPIDS        MI 49505‐4213
PAMELA STOVER         5358 BROOKSTONE LN                                                                  GREENWOOD           IN 46142‐7706
PAMELA SUAREZ         10405 LAKE GROVE DR                                                                 ODESSA              FL 33556‐2508
PAMELA SUE DENNISON   3806 COLEPORT ST                                                                    ORION               MI 48359‐1602
PAMELA T SPRINGER     413 BROADWAY ST                                                                     PONTIAC             MI 48342‐1705
PAMELA T WACHOB       2917 SW 94TH CT                                                                     OKLAHOMA CITY       OK 73159‐6549
PAMELA TALBOTT        6473 CLUB CT E                                                                      GRAND BLANC         MI 48439‐9455
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Name                      Address1                        Address2                     Address3   Address4         City               State Zip
PAMELA TAUBERT            180 ETHELROB CIR                                                                         CARLISLE            OH 45005‐6221
PAMELA TAYLOR             222 BOBO RD                                                                              DALLAS              GA 30132‐3047
PAMELA TAYLOR             BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
PAMELA THOMA              5207 DEXTER TRL                                                                          SAINT JOHNS         MI 48879‐9229
PAMELA THOMAS             728 HONEY CREEK RD                                                                       BELLVILLE           OH 44813‐8930
PAMELA THOMAS             2314 DARWIN LN                                                                           SAGINAW             MI 48603‐3456
PAMELA THOMAS             4022 ANDREA ST                                                                           SHREVEPORT          LA 71109‐5002
PAMELA THOMPSON           509 E MEMORIAL DR                                                                        JANESVILLE          WI 53545‐1623
PAMELA THOMPSON           1924 AZURITE PL                                                                          FORT WAYNE          IN 46804‐5265
PAMELA THREET             5158 LIPPINCOTT BLVD                                                                     BURTON              MI 48519‐1256
PAMELA TISDELL            4894 BERMUDA WAY N                                                                       MYRTLE BEACH        SC 29577‐5431
PAMELA TOLSON             109 W SEXTON RD                                                                          COLUMBIA            MO 65203‐3226
PAMELA TOTH               1827 HENN HYDE RD NE                                                                     WARREN              OH 44484‐1236
PAMELA TOWN               8631 ACREDALE DR                                                                         WEST CHESTER        OH 45069‐2787
PAMELA TRADER             4256 S 50 W                                                                              ALBION              IN 46701‐9631
PAMELA TRENARY            1400 SCOTT ST                                                                            WINCHESTER          VA 22601‐3026
PAMELA TUCKER             1805 E FIRMIN ST                                                                         KOKOMO              IN 46902‐2447
PAMELA TUCKER             2040 W CHOYA ST                                                                          PHOENIX             AZ 85029
PAMELA TUMBARELLA         43073 CHARLEMAGNE AVE                                                                    STERLING HEIGHTS    MI 48314‐2221
PAMELA TURNER             12619 VIA CATHERINA CT                                                                   GRAND BLANC         MI 48439‐1473
PAMELA TYLER              PO BOX 653                                                                               KOKOMO              IN 46903‐0653
PAMELA URBAN              1098 W LLOYD RD                                                                          DUNDEE              MI 48131‐9701
PAMELA UTZ                5090 EASTBROOK CT                                                                        SHELBY TWP          MI 48316‐3141
PAMELA V BURTON           4710 SHELLER AVENUE                                                                      DAYTON              OH 45432‐1624
PAMELA VAN DORPE          7206 S COCHRAN RD                                                                        CHARLOTTE           MI 48813‐9113
PAMELA VAN VLIET          3365 PESHTIGO DR SW                                                                      GRANDVILLE          MI 49418‐3011
PAMELA VANDYKE            7939 TRINITY RD                                                                          DEFIANCE            OH 43512‐8525
PAMELA VANWEY             705 BRANTLY AVE                                                                          DAYTON              OH 45404‐1431
PAMELA VARCONIE           3356 ADAMS SHORE DR                                                                      WATERFORD           MI 48329‐4200
PAMELA VECASEY            PO BOX 264                      28 PRIDE ST                                              HONEOYE FALLS       NY 14472‐0264
PAMELA VECCHIOLLO         15 GLEN OAK RD                                                                           FREDERICKSBURG      VA 22405‐1774
PAMELA VEEDER             11999 CABIN LN                                                                           RAPID CITY          MI 49676‐9655
PAMELA VELASQUEZ          5646 WILLOW HWY                                                                          GRAND LEDGE         MI 48837‐8913
PAMELA VERCELLONE SMITH   109 COUNTY MEADOWS DR                                                                    LANCASTER           PA 17602
PAMELA VOSS               43413 NEBEL TRL                                                                          CLINTON TWP         MI 48038‐2467
PAMELA W BARTON           5226 KENTWOOD RD                                                                         DAYTON              OH 45427‐2219
PAMELA W CLARK            730 FOX RD SE                                                                            BOGUE CHITTO        MS 39629
PAMELA W TOTH             1827 HENN HYDE RD NE                                                                     WARREN              OH 44484
PAMELA WAACK              27910 W 10 MILE RD                                                                       FARMINGTON HILLS    MI 48336‐2204
PAMELA WACHOB             2917 SW 94TH CT                                                                          OKLAHOMA CITY       OK 73159‐6549
PAMELA WALCZAK            6028 WALNUT ST                                                                           MOUNT MORRIS        MI 48458‐8563
PAMELA WALLPE             574 TURTLE DOVE TRAIL                                                                    DANDRIDGE           TN 37725‐5455
PAMELA WARNER             747 GREENHILL WAY                                                                        ANDERSON            IN 46012‐9741
PAMELA WARREN             3804 LEIX DR                                                                             MAYVILLE            MI 48744‐9602
PAMELA WARREN             648 INGLESIDE AVE                                                                        FLINT               MI 48507‐2556
PAMELA WARREN             2946 LOCHMOOR BLVD                                                                       LAKE ORION          MI 48360‐2732
PAMELA WATSON             3123 COBBLESTONE RDG                                                                     TECUMSEH            MI 49286‐7788
PAMELA WATSON             4627 SHEPHARD RD                                                                         BATAVIA             OH 45103‐1034
PAMELA WAYNE              22303 BELL RD                                                                            NEW BOSTON          MI 48164‐9549
PAMELA WEADGE             8432 N HURD RD                                                                           EDGERTON            WI 53534‐9760
PAMELA WEASNER            420 BRINKER ST                                                                           BELLEVUE            OH 44811‐1509
PAMELA WEATHERBEE         620 W PROSPECT ST APT A                                                                  SAINT LOUIS         MI 48880
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Name                      Address1                         Address2              Address3       Address4         City               State Zip
PAMELA WEBB HUNT          C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                   LITTLE ROCK         AR 72201
PAMELA WEHOFER            6410 DENTON HILL RD                                                                    FENTON              MI 48430‐9476
PAMELA WEISENBERGER       3711 CHESANING RD                                                                      CHESANING           MI 48616‐9772
PAMELA WENZEL             6259 AKRON AVE SE                                                                      KENTWOOD            MI 49548‐6800
PAMELA WESOLOWSKI         10300 LINDSEY RD                                                                       CASCO               MI 48064‐2211
PAMELA WEST               189 W 1075 S                                                                           BUNKER HILL         IN 46914‐9804
PAMELA WEST               590 BOULDER DR                                                                         WEST MILTON         OH 45383
PAMELA WHITE              222 E MURPHY ST                                                                        BAY CITY            MI 48706‐3850
PAMELA WHITE              3668 MEADOW VIEW DR                                                                    KOKOMO              IN 46902‐5070
PAMELA WHITERS            566 FILDEW AVE                                                                         PONTIAC             MI 48341‐2631
PAMELA WHITT              2379 EL CID DR                                                                         BEAVERCREEK         OH 45431‐2626
PAMELA WHITTINGTON        2005 PROSPECT ST                                                                       FLINT               MI 48504‐4018
PAMELA WICKWARE           2317 FLAIR DR                                                                          OKLAHOMA CITY       OK 73159‐5817
PAMELA WIDRIG             2064 OLIVER SPRINGS ST                                                                 HENDERSON           NV 89052‐8555
PAMELA WIEBEN             5445 QUAIL WAY                                                                         CARMEL              CA 93923‐7964
PAMELA WIGGINS            4446 ARDMORE DR                                                                        STERLING HEIGHTS    MI 48310‐3101
PAMELA WILKERSON          PO BOX 249                                                                             NEW TRENTON         IN 47035‐0249
PAMELA WILKS              4086 BANDURY DR                                                                        ORION               MI 48359‐1856
PAMELA WILLIAMS           5007 W MOCKINGBIRD LN                                                                  DALLAS              TX 75209‐5301
PAMELA WILLIAMS           1224 LIBERTY AVE                                                                       NATRONA HTS         PA 15065‐1421
PAMELA WILLIAMS           2516 DOUGLAS AVE                                                                       KOKOMO              IN 46902‐3370
PAMELA WILLIAMS           2403 E JOLLY RD APT 10                                                                 LANSING             MI 48910‐5714
PAMELA WILLIAMS           31 PEACH TREE DR                                                                       DAVISON             MI 48423‐9123
PAMELA WILLIAMSON         1409 ROBERT E LEE LN                                                                   BRENTWOOD           TN 37027‐6828
PAMELA WILLIAMSON
PAMELA WILLIFORD          8361 YOLANDA ST                                                                        DETROIT            MI 48234‐3353
PAMELA WILLIFORD          8361 YOLANDA                                                                           DETROIT            MI 48234
PAMELA WILLIS             1930 WINDING RIDGE TRL                                                                 KNOXVILLE          TN 37922‐7112
PAMELA WILSON
PAMELA WITHERSPOON        1614 PELL DR                                                                           DAYTON             OH   45410‐3311
PAMELA WITHERSPOON‐GREE   PO BOX 63                                                                              MILLINGTON         MI   48746‐0063
PAMELA WOLFE              APT 314                          2300 GRAYSON DRIVE                                    GRAPEVINE          TX   76051‐7002
PAMELA WOOLENSACK         1105 NORTH RD SE                                                                       WARREN             OH   44484‐2704
PAMELA WOOLIEVER          9220 KIER RD                                                                           HOLLY              MI   48442‐8843
PAMELA WULBRECHT          22336 HAYES AVE                                                                        EASTPOINTE         MI   48021‐2128
PAMELA WURTH              608 SEQUOIA LN                                                                         MANSFIELD          OH   44904‐1735
PAMELA WYATT              18281 S HIGHWAY 19                                                                     SALEM              MO   65560‐5519
PAMELA Y LEWIS            146 THIRD ST                                                                           ROCHESTER          NY   14605‐2445
PAMELA YATES              PO BOX 60177                                                                           DAYTON             OH   45406‐0177
PAMELA YODER              8950 KIRKRIDGE LN                                                                      LAFAYETTE          IN   47905‐8710
PAMELA YORK               RT 1 BOX 334 C                                                                         BOONEVILLE         KY   41314
PAMELA YOUNGER            702 W GENESEE ST                                                                       FLINT              MI   48504‐2608
PAMELA YOUNGGREN          3344 ELDER RD                                                                          WEST BLOOMFIELD    MI   48324‐2520
PAMELA YOUNGS             2175 STEINER RD                                                                        MONROE             MI   48162‐9491
PAMELA ZEMAN              9915 BURGESS CT                                                                        WHITE LAKE         MI   48386‐2809
PAMELA ZEZULA             3811 DOROTHY LN                                                                        WATERFORD          MI   48329‐1112
PAMELA ZIEBOLD            2800 POTTER RD                                                                         WIXOM              MI   48393‐1835
PAMELA, GOLDEN,           13265 ROBSON ST                                                                        DETROIT            MI   48227‐2560
PAMELLA BARTLEY           9472 TAHOE DR                                                                          CENTERVILLE        OH   45458‐3689
PAMELLA CARLON            1531 BOBWHITE LN                                                                       JANESVILLE         WI   53546‐2951
PAMELLA CRAIG             630 CLUB DR                                                                            LOUDON             TN   37774‐6000
PAMELLA J MASSICOTTE      130 OHIO ST                                                                            YPSILANTI          MI   48198‐7820
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Name                              Address1                               Address2                        Address3   Address4                 City              State Zip
PAMELLA S BOWLING                 94 ALOHA DRIVE                                                                                             MORAINE            OH 45439
PAMELLA SMITH                     300 W 672 S MALFALFA                                                                                       KOKOMO             IN 46902
PAMELLA ZUE                       1879 MILES RD                                                                                              LAPEER             MI 48446‐8042
PAMER, JOSEPH M                   1121 NEELD DR                                                                                              XENIA              OH 45385‐1422
PAMERLEAU, ELIZABETH A            1364 EAGLE ST                                                                                              GRAYLING           MI 49738‐9097
PAMI J SIMPSON                    6107 GEORGE ST                                                                                             MOUNT MORRIS       MI 48458‐2543
PAMIDA PHARMACY                   616 E US HIGHWAY 9                                                                                         FOREST CITY         IA 50436‐1012
PAMIDA PHARMACY                   100 EVERGREEN SQ SW                    PO BOX 138                                                          PINE CITY          MN 55063‐2000
PAMIDA PHARMACY #311              100 EVERGREEN SQ SW                                                                                        PINE CITY          MN 55063‐2000
PAMILA G FUSON                    187 ISLAND BLVD.                                                                                           FOX ISLAND         WA 98333
PAMILA PRICE                      1822 TERRACE CT                                                                                            FLINT              MI 48507‐4330
PAMILA RATHBUN                    2511 CARPENTER BRIDGE RD                                                                                   COLUMBIA           TN 38401‐7808
PAMILLA A CRAWFORD                ROSEVELT HOUSE NO. 1 2920 YALE PLACE                                                                       OWENSBORO          KY 42301
                                  APT. 1502
PAMILLA CRAWFORD                  2920 YALE PL APT 1502                  ROSEVELT HOUSE NO. 1                                                OWENSBORO         KY    42301‐6181
PAMLICO COUNTY TAX COLLECTOR      PO BOX 538                                                                                                 BAYBORO           NC    28515‐0538
PAMMA CHANA                       1207 HARTLAND DR                                                                                           TROY              MI    48083‐5431
PAMPALONA, FRANCES C              PO BOX 6354                                                                                                PAHRUMP           NV    89041‐6354
PAMPALONE, CAROL
PAMPENA ADELIO                    1429 BROWNING RD                                                                                           PITTSBURGH        PA 15206‐1737
PAMPER, GEORGE                    4848 1/2 MCCONNELL AVE                                                                                     LOS ANGELES       CA 90066‐6712
PAMPHILIS ALEXANDER E             PAMPHILIS, ALEXANDER                   2325 GRANT BUILDING 310 GRANT                                       PITTSBURGH        PA 15219
                                                                         STREET
PAMPHILIS, NICHOLAS A             4454 LANCASTER DR                                                                                          CLARKSTON         MI    48348‐3654
PAMROW, PAUL                      100 SCHOOL ST UPPR                                                                                         BUFFALO           NY    14217‐1167
PAMS, RONALD                      1808 BLUE GRASS DR                                                                                         ROCHESTER HILLS   MI    48306‐3223
PAMULA WISDOM                     4280 N FM 51                                                                                               WEATHERFORD       TX    76085‐6790
PAMULA WYZLIC                     5190 PLAINS RD                                                                                             EATON RAPIDS      MI    48827‐9697
PAN AFRICAN ORTHODOX RES HALL     700 SEWARD ST                                                                                              DETROIT           MI    48202‐2427
PAN AISA TECHNICAL AUTOMOTIVE     PRESIDENT                              3999 LONGDONG AVENUE                       PU DONG SHANGHAI
CENTER CO., LTD.                                                                                                    201201 CHINA (PEOPLE'S
                                                                                                                    REP)
PAN AISA TECHNICAL CENTER LTD.    PRESIDENT                              3999 LONGDONG AVENUE                       PU DONG SHANGHAI
                                                                                                                    201201 CHINA (PEOPLE'S
                                                                                                                    REP)
PAN AMERICAN DEVELOPMENT
PAN AMERICAN DEVELOPMENT          ATTN PAUL FISHER                       1889 F STREET NW 2ND FL                                             WASHINGTON        DC 20006
FOUNDATION
PAN AMERICAN ENVIRONMENTAL        950 N RAND RD STE 120                                                                                      WAUCONDA           IL   60084‐1197
PAN AMERICAN EXPRESS INC          SALO VERAZZI                           4848 RIVERSIDE DR                                                   LAREDO             TX   78041‐5682
PAN AMERICAN LABORATORIES, INC.   DAVID ANDERSON                         4099 HIGHWAY 190 EAST SERVICE                                       COVINGTON          LA   70433‐4941
                                                                         RD
PAN ASIA TECHNICAL AUTO CENTER    669 NINGQIAO RD JINQIAO PUDONG         201206 SHANGHAI                            SHANGHAI CHINA
PAN ASIA TECHNICAL AUTOMOTIVE     3999 LONGDONG AVE                                                                 SHANGHAI CN 201204
                                                                                                                    CHINA (PEOPLE'S REP)
PAN ASIA TECHNICAL AUTOMOTIVE     3999 LONGDONG AVENUE                                                              PUDONG, SHANGHAI CHINA
CENTER
PAN ASIA TECHNICAL AUTOMOTIVE     PRESIDENT                              3999 LONGDONG AVENUE                       PU DONG SHANGHAI
CENTER                                                                                                              201201 CHINA (PEOPLE'S
                                                                                                                    REP)
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Name                                Address1                          Address2                         Address3                Address4               City   State Zip
PAN ASIA TECHNICAL AUTOMOTIVE       PRESIDENT                         3999 LONDONG AVENUE                                      PU DONG SHANGHAI
CENTER                                                                                                                         201201 CHINA (PEOPLE'S
                                                                                                                               REP)
PAN ASIA TECHNICAL AUTOMOTIVE       PRESIDENT                         3999 LONGDONG AVENUE                                     PU DONG SHANGHAI
CENTER CO. LTD.                                                                                                                201201 CHINA (PEOPLE'S
                                                                                                                               REP)
PAN ASIA TECHNICAL AUTOMOTIVE       LEGAL STAFF                       3999 LONGDONG AVENUE                                     PU DONG SHANGHAI
CENTER CO. LTD.                                                                                                                201206 CHINA (PEOPLE'S
                                                                                                                               REP)
PAN ASIA TECHNICAL AUTOMOTIVE       PRESIDENT                         3999 LONGDONG AVENUE                                     PU DONG SHANGHAI
CENTER CO., LTD                                                                                                                201201 CHINA (PEOPLE'S
                                                                                                                               REP)
PAN ASIA TECHNICAL AUTOMOTIVE       3999 LONGDONG AVENUE                                                                       PUDONG, SHANGHAI CHINA
CENTER CO., LTD.
PAN ASIA TECHNICAL AUTOMOTIVE       PRESIDENT                         NO. 3999 LONG DONG AVENUE                                PUDONG SHANGHAI
CENTER CO., LTD.                                                                                                               201201 CHINA (PEOPLE'S
PAN ASIA TECHNICAL AUTOMOTIVE       PRESIDENT                         3999 LONDONG AVENUE                                      PU DONG SHANGHAI
CENTER CO., LTD.                                                                                                               201201 CHINA (PEOPLE'S
                                                                                                                               REP)
PAN ASIA TECHNICAL AUTOMOTIVE       MARGARET M. MADDEN                3999 LONDONG AVENUE                                      PU DONG SHANGHAI
CENTER CO., LTD.                                                                                                               201201 CHINA (PEOPLE'S
                                                                                                                               REP)
PAN ASIA TECHNICAL AUTOMOTIVE       JERRY LIN                         3999 LONG DONG BOULEVARD       JINQIAO EXPORT PROCESSING PUDONG SHANGHAI
CENTER COMPANY LIMITED                                                                               ZONE                      201201 CHINA (PEOPLE'S
PAN ASIA TECHNICAL AUTOMOTIVE       GENERAL COUNSEL                   3999 LONG DONG AVENUE, JINQIAO                           SHANGHAI, 201201, CHINA
CENTER COMPANY LIMITED                                                EXPORT PROCESSING ZONE,
                                                                      PUDONG
PAN ASIA TECHNICAL AUTOMOTIVE       3999 LONGDONG AVENUE              PUDONG                                                   SHANGHAI
CENTER COMPANY LIMITED
PAN ASIA TECHNICAL AUTOMOTIVE       3999 LONG DONG AVENUEJINQIAO                                                               PUDONG, SHANGHAI
CENTER COMPANY LIMITED              EXPORT PROCESSING ZONE,                                                                    201206 CHINA (PEOPLE'S
                                                                                                                               REP)
PAN ASIA TECHNICAL AUTOMOTIVE       PRESIDENT                         3999 LONG DONG AVENUE, JINQIAO                           PUDONG, SHANGHAI
CENTER COMPANY LIMITED                                                EXPORT PROCESSING ZONE,                                  201201, CHINA (PEOPLE'S
                                                                                                                               REP)
PAN ASIA TECHNICAL AUTOMOTIVE       3999 LONGDONG AVE                 MARYANN COMBS á                                          PUDONG, SHANGHAI CHINA
CENTER COMPANY LIMITED á                                                                                                       (PEOPLE'S REP)
PAN ASIA TECHNICAL AUTOMOTIVE       NO. 3999 LONG DONG AVE, PUDONG,                                                            CHINA (PEOPLE'S REP)
CENTER COMPANY, LTD                 SHANGHAI 201201 CHINA
PAN ASIA TECHNICAL AUTOMOTIVE       PRESIDENT                         NO. 3999 LONG DONG AVENUE                                PUDONG SHANGHAI
CENTER COMPNAY LIMITED                                                                                                         201201 CHINA (PEOPLE'S
PAN ASIA TECHNICAL AUTOMOTIVE       PRESIDENT                         3999 LONGDONG AVENUE                                     PU DONG SHANGHAI
CENTER CORPORATION                                                                                                             201201 CHINA (PEOPLE'S
                                                                                                                               REP)
PAN ASIA TECHNICAL AUTOMOTIVE       PRESIDENT                         NO. 3999 LONG DONG AVENU                                 PUDONG SHANGHAI
CENTER LTD.                                                                                                                    201206 CHINA (PEOPLE'S
PAN ASIA TECHNICAL AUTOMOTIVE CTR   3999 LONGDONG AVE                                                                          SHANGHAI CN 201204
                                                                                                                               CHINA (PEOPLE'S REP)
PAN ASIA TECHNICAL CENTER LTD.      ATTN: PRESIDENT                   3999 LONG DONG AVE.                                      PUDONG SHANGHAI
                                                                                                                               201201 CHINA (PEOPLE'S
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Name                             Address1                          Address2                Address3     Address4                 City                State Zip
PAN ASIA TECHNICAL CENTER LTD.   PRESIDENT                         3999 LONDONG AVENUE                  PU DONG SHANGHAI
                                                                                                        201201 CHINA (PEOPLE'S
                                                                                                        REP)
PAN ASIA TECHNICAL CENTER, LTD   PRESIDENT                         3999 LONG DONG AVENUE                PU DONG SHANGHAI
                                                                                                        201201 CHINA (PEOPLE'S
                                                                                                        REP)
PAN ASIA TECHNICAL ENGINEERING   PRESIDENT                         3999 LONG DONG AVENUE                PU DONG SHANGHAI
CENTER                                                                                                  201201 CHINA (PEOPLE'S
                                                                                                        REP)
PAN ASIAN TECHNICAL AUTOMOTIVE   3999 LONGDONG AVENUE                                                   PUDONG SHANGHAI
CENTER COMPANY, LTD.                                                                                    201201 CHINA (PEOPLE'S
PAN GUANG                        1142 ROCKY HARBOUR CR                                                  GLOUCESTER CANADA ON
                                                                                                        K1V 1V1 CANADA
PAN OCEANIC, LTD.
PAN, HONG                        PO BOX 9022                       C/O SHANGHAI                                                  WARREN               MI 48090‐9022
PAN, JIANRONG                    2743 SPRINGTIME DR                                                                              TROY                 MI 48083‐6807
PAN, MARY S                      710 DONG FANG ROAD                PUDONG ,SHANGHAI                     PUDONG CHINA
PAN, QI                          PO BOX 9022                       SHANGHAI                                                      WARREN               MI 48090‐9022
PAN, YE‐CHEN                     3869 FAIRFAX DR                                                                                 TROY                 MI 48083‐6411
PAN‐ASIA TECHNICAL AUTOMOTIVE    ATTN: LEGAL DEPARTMENT            1500 SHENGJIANG ROAD                 JIN QIAO, PUDONG
CENTER CO. LIMITED                                                                                      SHAINGHAI 201206 CHINA
                                                                                                        (PEOPLE'S REP)
PAN‐ASIAN TECHNICAL AUTOMOTIVE   ATTN: LEGAL DEPARTMENT            1500 SHENGJIANG ROAD                 JIN QIAO, PUDONG
CENTER COMPANY LIMITED                                                                                  SHAINGHAI 201206 CHINA
                                                                                                        (PEOPLE'S REP)
PAN‐ASIAN TECHNICAL AUTOMOTIVE   ATTN: LEGAL DEPARTMENT            1500 SHENGJIANG ROAD                 JIN QIAO, PUDONG
COMPANY LIMITED                                                                                         SHAINGHAI 201206 CHINA
                                                                                                        (PEOPLE'S REP)
PAN‐ASIATECHNICAL CENTER         PRESIDENT                         3999 LONGDONG AVENUE                 PU DONG SHANGHAI
                                                                                                        201201 CHINA (PEOPLE'S
                                                                                                        REP)
PANABRASIVE INC                  P O BOX 634                       650 RUSHOLME ROAD                    WELLAND ON L3B 5R4
                                                                                                        CANADA
PANACCIONE, GENOEFA              1835 W 6TH ST                                                                                   WILMINGTON          DE    19805‐3005
PANACCIONE, SCOTT                11 HAMPTON RD                                                                                   HOWELL              NJ    07731
PANACEK JR, EDWARD C             92 WILLIS DR                                                                                    EWING               NJ    08628‐2024
PANACEK, WILLIAM                 603 LITTLE WEKIVA RD                                                                            ALTAMONTE SPRINGS   FL    32714
PANAGGIO, ROSE M                 420 STONE RD                                                                                    PITTSFORD           NY    14534‐2854
PANAGGIO, ROSE M                 420 STONE ROAD                                                                                  PITTSFORD           NY    14534‐2854
PANAGIOTIS HARLAFTIS             32328 JUDILANE ST                                                                               ROSEVILLE           MI    48066‐6905
PANAGIOTIS MILIOS                3987 NOWAK DR                                                                                   STERLING HTS        MI    48310‐5326
PANAGIOTIS PHILIPPAKOS           925 SUMMIT ST                                                                                   LINDEN              NJ    07036‐4015
PANAGIOTIS S MILIOS              3987 NOWAK DR                                                                                   STERLING HTS        MI    48310‐5326
PANAGIOTIS VASILIADIS            26946 EASTWOOD LN                                                                               OLMSTED FALLS       OH    44138‐1151
PANAGIOTOU, GEORGE D             450 ARCADIA CT                                                                                  FORT WAYNE          IN    46807‐2004
PANAGON SYSTEMS INC              51375 REGENCY CENTER DR                                                                         MACOMB              MI    48042‐4131
PANAGOPOULOS GUS                 481 BLOSSOM AVE                                                                                 CAMPBELL            OH    44405‐1460
PANAGOPOULOS, FRANCES            1846 LEMONT DR                                                                                  YOUNGSTOWN          OH    44514‐1421
PANAGOPOULOS, GUS                481 BLOSSOM AVE                                                                                 CAMPBELL            OH    44405‐1460
PANAGOS, SHEA D                  5910 RIDGEWOOD LN                                                                               WHITE LAKE          MI    48383‐3287
PANAK, FRANK                     1863 BALDWIN DR                                                                                 DAYTON              OH    45459‐6907
PANALEEIAN J HUMPHREY            307 46TH AVENUE                                                                                 BELLWOOD            IL    60104‐1317
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Name                                 Address1                         Address2                        Address3                  Address4               City                State Zip
PANALPINA INC                        6350 CANTAY RD                                                                             MISSISSAUGA CANADA ON
                                                                                                                                L5R 4E2 CANADA
PANALPINA INC                       1555 NORTH AIRFIELD DR            FT WORTH AIRPORT                                                                 DALLAS               TX   75261
PANALPINA INC                       800 E DEVON AVE                                                                                                    ELK GROVE VILLAGE    IL   60007‐5224
PANALPINA INC                       1776 ON THE GREEN                 67 PARK PLACE                                                                    MORRISTOWN           NJ   07690
PANALPINA INC DPY                   8500 HAGGERTY RD                  # 100                                                                            BELLEVILLE           MI   48111‐1821
PANALPINA TRANSPORTES MUNDIALES S A CARR CIRCUNVALACION TRAMO 6                                                                 PUERTO BARCELONA E‐
                                                                                                                                08040 SPAIN
PANALPINA TRANSPORTES MUNDIALES SA   CALLE UNO NO 129 COLONIA         PANTITALN DELEGACION CP 08100                             IZTACALCO MEXICO
DE CV                                                                                                                           MEXICO
PANALPINA WORLD TRANSPORT N V        NOORDERLAAN 133‐2030                                                                       ANTWERP B‐2030 BELGIUM
PANALPINA/NASHVILLE                  PO BOX 290605                                                                                                     NASHVILLE           TN    37229‐0605
PANALYTICAL INC                      117 FLANDERS RD                                                                                                   WESTBOROUGH         MA    01581
PANAMARCZUK, STEVEN M                UNIT 1110                        701 SALLEYPORT DRIVE                                                             MYRTLE BEACH        SC    29579‐3457
PANAMERICAN EXPRESS INC              PANAMEX                          PO BOX 3317                                                                      LAREDO              TX    78044‐3317
PANAMERICANA NORTE                   KM 3 1/2 Y LOS CEDROS                                                                      ECUADOR
PANAMETRICS/MA                       221 CRESCENT ST                                                                                                   WALTHAM             MA    02453‐3436
PANANEN, RICHARD C                   746 ADELAIDE AVE SE                                                                                               WARREN              OH    44484‐4301
PANARETOS, CLARA                     121 W OAK HILL DR                                                                                                 FLORENCE            AL    35633‐1012
PANARETOS, IRENE                     4433 EAGLE ROCK BLVD APT 115                                                                                      LOS ANGELES         CA    90041
PANARETOS, JAMES A                   1393 FAIRFAX ST                                                                                                   BIRMINGHAM          MI    48009‐1081
PANARETOS, JOHN P                    10311 TOPHILL DR                                                                                                  HARTLAND            MI    48353‐2541
PANARETOS, PETER J                   3160 PIKEWOOD CT                                                                                                  COMMERCE TWP        MI    48382‐1441
PANARO, JOSEPH F                     9 SUMMIT ST                                                                                                       MEYERSDALE          PA    15552‐1375
PANARO, PATRICK M                    289 DUPONT AVE                                                                                                    TONAWANDA           NY    14150‐7816
PANAROTTO LINO                       C/O LA SCALA                     STUDIO LEGALE E TRIBUTARIO      CORSO MAGENTA N 42        20123 MILANO ITALY
PANARRA, JOSE F                      9 BROWN RD                                                                                                        HOWELL              NJ    07731‐2409
PANARS, DENNIS W                     1590 WILD CHERRY LN                                                                                               LAPEER              MI    48446‐8706
PANAS, ROBERT W                      9425 ELAINE DR                                                                                                    SWARTZ CREEK        MI    48473‐8556
PANAS, THEODORE                      9757 SUGARBERRY WAY                                                                                               FORT MYERS          FL    33905‐5141
PANASEWICZ, MARIE J                  6428 WESTMINSTER DR                                                                                               PARMA               OH    44129‐4946
PANASIEWICZ, ANTHONY J               45 WAYNE ST                                                                                                       DEPEW               NY    14043‐3515
PANASIEWICZ, MICHAEL J               10331 S AVENUE H                                                                                                  CHICAGO             IL    60617‐6051
PANASIUK, ANDREW J                   2546 LINCOLN DR                                                                                                   WARREN              MI    48092‐1084
PANASIUK, LUBOMIR M                  25447 CURIE AVE                                                                                                   WARREN              MI    48091‐1548
PANASIUK, MARIA                      C/O LYDIA D WROBLEWSKI           1731 CHATHAM DRIVE                                                               TROY                MI    48084
PANASIUK, MIRON                      1731 CHATHAM DRIVE                                                                                                TROY                MI    48084‐1482
PANASIUK, STEFAN                     28605 WEXFORD DR                                                                                                  WARREN              MI    48092‐2501
PANASONIC                            MATSUSHITA COMMUNICATIONS        776 HIGHWAY 74 S                INDUSTRIAL CORP OF                               PEACHTREE CITY      GA    30269‐3004
                                                                                                      AMERICA
PANASONIC                            26455 AMERICAN DR                                                                                                    SOUTHFIELD        MI 48034‐6114
PANASONIC                            26455 AMERICAN DR                MATSUSHITA ELECTRIC CORP OF                                                         SOUTHFIELD        MI 48034‐6114
                                                                      AMERICA
PANASONIC                            GRAY NELSON                      20 OKASAKI                                                KOSAI SHIZUOKA 431 0422
                                                                                                                                JAPAN
PANASONIC AUTO/GA                    AVE IND'L DEL NORTE LOTE 6       MANZANA 3 PARQUE INDUSTRIAL                               REYNOSA 88500 MEXICO

PANASONIC AUTO/GA                    776 HIGHWAY 74 S                                                                                                     PEACHTREE CITY    GA   30269‐3004
PANASONIC AUTOMOTIVE                 DAVID SULLIVAN                   5705 ENTERPRISE PKWY            C/O UNITED RADIO                                    EAST SYRACUSE     NY   13057‐2905
PANASONIC AUTOMOTIVE                 DAVID SULLIVAN                   C/O UNITED RADIO                5705 ENTERPRISE PARKWAY                             DEL RIO           TX   78840
PANASONIC AUTOMOTIVE                 26455 AMERICAN DR                                                                                                    SOUTHFIELD        MI   48034‐6114
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Name                                Address1                              Address2                        Address3                  Address4                   City             State Zip
PANASONIC AUTOMOTIVE ELECTORNIC

PANASONIC AUTOMOTIVE ELECTORNIC     PAT SCARPACI                          26455 AMERICAN CENTER DRIVE                                                          SOUTHFIELD        MI 48034

PANASONIC AUTOMOTIVE ELECTRONICS    2 PANASONIC WAY                       MAIL STOP 7C4                                                                        SECAUCUS          NJ   07094‐2917
CO
PANASONIC AUTOMOTIVE SYSTEM DA      NO 300 HONGGANG RD                                                                              DALIAN LIAONING CN
                                                                                                                                    116033 CHINA (PEOPLE'S
                                                                                                                                    REP)
PANASONIC AUTOMOTIVE SYSTEM DALIAN 1 PANASONIC WAY                        PANAZIP 1F‐6                                                                         SECAUCUS          NJ   07094‐2917

PANASONIC AUTOMOTIVE SYSTEM DALIAN DAXINZHAIZI GANJINZI DIST                                                                        DALIAN LIAONING CB
                                                                                                                                    116033 CHINA (PEOPLE'S
                                                                                                                                    REP)
PANASONIC AUTOMOTIVE SYSTEM DALIAN NO 300 HONGGANG RD                                                                               DALIAN LIAONING, 11603
                                                                                                                                    CHINA
PANASONIC AUTOMOTIVE SYSTEMS        DAVID SULLIVAN                        776 HIGHWAY 74 S                DIV:MATSUSHITA ELECTRIC                              PEACHTREE CITY    GA 30269‐3004
                                                                                                          CORP.
PANASONIC AUTOMOTIVE SYSTEMS        DAVID SULLIVAN                        DIV:MATSUSHITA ELECTRIC CORP.   776 HWY 74 S                                         SPRINGBORO       OH 45066

PANASONIC AUTOMOTIVE SYSTEMS        26455 AMERICAN DR                                                                                                          SOUTHFIELD        MI 48034‐6114
PANASONIC AUTOMOTIVE SYSTEMS CO     26455 AMERICAN DR                                                                                                          SOUTHFIELD        MI 48034‐6114

PANASONIC AUTOMOTIVE SYSTEMS CZECH U PANASONICU 266                                                                                 PARDUBICE CZ 53006
                                                                                                                                    CZECH (REP)
PANASONIC AUTOMOTIVE SYSTEMS DE     BRECHA E/99 ENTRE CARRETERA A MAT Y                                                             REYNOSA TAMAULIPAS TM
MEX                                                                                                                                 88785 MEXICO
PANASONIC AUTOMOTIVE SYSTEMS DE     BRECHA E/99 ENTRE CARRETERA A MAT Y   COL PARQUE INDUSTRIAL                                     REYNOSA TAMAULIPAS TM
MEX                                                                                                                                 88785 MEXICO
PANASONIC AUTOMOTIVE SYSTEMS        ROBERT BOSCH STR 27                                                                             LANGEN HE 63225
EUROPE                                                                                                                              GERMANY
PANASONIC CORP
PANASONIC CORP                      1 PANASONIC WAY                       PANAZIP 1F‐6                                                                         SECAUCUS          NJ 07094‐2917
PANASONIC CORP                      26455 AMERICAN DR                                                                                                          SOUTHFIELD        MI 48034‐6114
PANASONIC CORP                      776 HIGHWAY 74 S                                                                                                           PEACHTREE CITY    GA 30269‐3004
PANASONIC CORP                      AV INDUSTRIAL DEL NORTE MZ 6 LT 3                                                               REYNOSA TM 88730
                                                                                                                                    MEXICO
PANASONIC CORP                      BRECHA E/99 ENTRE CARRETERA A MAT Y                                                             REYNOSA TAMAULIPAS TM
                                                                                                                                    88785 MEXICO
PANASONIC CORP                      BRECHA E/99 ENTRE CARRETERA A MAT Y   COL PARQUE INDUSTRIAL                                     REYNOSA TAMAULIPAS TM
                                                                                                                                    88785 MEXICO
PANASONIC CORP                      CENTINERA 1729 KM 10.5                                                                          MEXICALI BJ 21600 MEXICO
PANASONIC CORP                      DAVID SULLIVAN                        5705 ENTERPRISE PKWY            C/O UNITED RADIO                                     EAST SYRACUSE     NY 13057‐2905
PANASONIC CORP                      DAVID SULLIVAN                        776 HIGHWAY 74 S                DIV:MATSUSHITA ELECTRIC                              PEACHTREE CITY    GA 30269‐3004
                                                                                                          CORP.
PANASONIC CORP                      DAVID SULLIVAN                        C/O UNITED RADIO                5705 ENTERPRISE PARKWAY                              DEL RIO          TX 78840
PANASONIC CORP                      DAVID SULLIVAN                        DIV:MATSUSHITA ELECTRIC CORP.   776 HWY 74 S                                         SPRINGBORO       OH 45066

PANASONIC CORP                      DAVID SULLIVAN                        PANASONIC DE TAMAULIPAS         LOTE 3 MANZANZ 6 AVE      CHIRYU AICHI JAPAN
                                                                                                          INDUSRTIA
                                     09-50026-mg                Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                                Address1                            Address2                        Address3               Address4                   City             State Zip
PANASONIC CORP                      DAXINZHAIZI GANJINZI DIST                                                                  DALIAN LIAONING CB
                                                                                                                               116033 CHINA (PEOPLE'S
                                                                                                                               REP)
PANASONIC CORP                      HUGH ATKINS                         NO 17 CHUANGXIN RD HULIN DIST                                                     CHESAPEAKE        VA 23320

PANASONIC CORP                      MIRANDA CROSS                       C/O PLASTIKON INDUSTRIES        688 SANDOVAL WAY                                  DEXTER            MI 48130
PANASONIC CORP                      NO 17 CHUANGXIN RD HULIN DISTRICT                                                          XIAMEN FUJIAN CN 361006
                                                                                                                               CHINA (PEOPLE'S REP)
PANASONIC CORP                      NO 300 HONGGANG RD                                                                         DALIAN LIAONING CN
                                                                                                                               116033 CHINA (PEOPLE'S
                                                                                                                               REP)
PANASONIC CORP                      NO 360 HESHAN RD HIGH                                                                      SUZHOU CN 215129 CHINA
                                                                                                                               (PEOPLE'S REP)
PANASONIC CORP                      RACHEL SANTORO                      C/O BROWN CORPORATION           314 S. STEELE STREET   OAKVILLE ON CANADA
PANASONIC CORP                      ROBERT BOSCH STR 27                                                                        LANGEN HE 63225
                                                                                                                               GERMANY
PANASONIC CORP                      TOM MODRELL                         5105 NATIONAL DR                PANASONIC                                         KNOXVILLE         TN 37914‐6518
PANASONIC CORP                      TOM MODRELL                         PANASONIC                       5105 NATIONAL DR.                                 UBLY              MI 48475
PANASONIC CORP                      85 LIVINGSTON AVE                                                                                                     ROSELAND          NJ 07068
PANASONIC CORP                      1006 KADOMA                                                                                KADOMA OSAKA 571‐0050
                                                                                                                               JAPAN
PANASONIC CORP OF NORTH AMERIC      26455 AMERICAN DR                                                                                                     SOUTHFIELD        MI 48034‐6114
PANASONIC CORP OF NORTH AMERICA     26455 AMERICAN DR                                                                                                     SOUTHFIELD        MI 48034‐6114

PANASONIC ELECTRIC WORKS CORP       RASTKO JOVANOVIC                    1777 STERGIOS ROAD STE. 6                                                         LA VERNE          CA 91750
PANASONIC ELECTRIC WORKS CORP OF    629 CENTRAL AVE                                                                                                       NEW PROVIDENCE    NJ 07974
AMERICA
PANASONIC ELECTRIC WORKS            PO BOX 7904                                                                                                           SAN FRANCISCO     CA 94120‐7904
CORPORATION OF AMERICA
PANASONIC ELECTRIC WORKS            629 CENTRAL AVE                     FMLY AROMAT CORPORATION                                                           NEW PROVIDENCE    NJ   07974‐1507
CORPORATION OF AMERICA
PANASONIC ELECTRIC WORKS MEXICANA   CENTINERA 1729 KM 10.5                                                                     MEXICALI BJ 21600 MEXICO

PANASONIC ELECTRIC WORKS MEXICANA   CENTINERA 1729 KM 10.5              PARQUE INDUSTRIAL CACHANILLA                           MEXICALI BJ 21600 MEXICO

PANASONIC ELECTRONIC DEVICES QINGDA NO 49 TOKYO RD QINGDAO FREE                                                                QINGDAO CN 266555
                                                                                                                               CHINA (PEOPLE'S REP)
PANASONIC EV ENERGY CO LTD          20 OKASAKI                                                                                 KOSAI SHIZUOKA JP 431
                                                                                                                               0422 JAPAN
PANASONIC EV ENERGY CO LTD          GARY NELSON                         555 SAKAIJUKU                                                                     INDIANAPOLIS      IN 46204
PANASONIC IND/MI                    26455 AMERICAN DR                                                                                                     SOUTHFIELD        MI 48034‐6114
PANASONIC IND/MI                    44768 HELM ST                                                                                                         PLYMOUTH          MI 48170‐6026
PANASONIC IND/MI                    DAXINZHAIZI GANJINZI DIST                                                                  DALIAN LIAONING CB
                                                                                                                               116033 CHINA
PANASONIC IND/TROY                234 E MAPLE RD                                                                                                          TROY              MI 48083‐2716
PANASONIC MANUFACTURING XIAMEN CO NO 17 CHUANGXIN RD HULIN DISTRICT                                                            XIAMEN FUJIAN CN 361006
                                                                                                                               CHINA (PEOPLE'S REP)
PANASONIC MFG. XIAMEN CO            HUGH ATKINS                         NO 17 CHUANGXIN RD HULIN DIST                                                     CHESAPEAKE        VA 23320

PANASONIC SEMICONDUCTOR (SUZHOU)    NO 360 HESHAN RD HIGH                                                                      SUZHOU CN 215129 CHINA
CO                                                                                                                             (PEOPLE'S REP)
PANASONIC STORAGE BATTERY CO LTD    GARY NELSON                         PANASONIC                       555 SAIKAIJUKU                                    FOSTORIA         OH 44830
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Name                            Address1                            Address2                          Address3             Address4             City               State Zip
PANASONIC STORAGE BATTERY PSB   GARY NELSON                         PANASONIC                         555 SAIKAIJUKU                            FOSTORIA            OH 44830
PANASONIC/ CHINA                26455 AMERICAN DR                                                                                               SOUTHFIELD          MI 48034‐6114
PANASONIC/ TROY                 1050 WILSHIRE DR STE 110                                                                                        TROY                MI 48084‐1568
PANASONIC/KNOXVILLE             5105 S NATIONAL DR                                                                                              KNOXVILLE           TN 37914‐6518
PANASONIC/TROY                  1050 WILSHIRE DR STE 110                                                                                        TROY                MI 48084‐1568
PANASUK, J R                    16450 CYPRIAN CIR                                                                                               WESTFIELD           IN 46074‐8782
PANASUK, PETER S                6112 SATSUMA AVE                                                                                                NORTH HOLLYWOOD     CA 91606‐5025
PANATI, JEROLD S                1108 S WASHINGTON RDG                                                                                           WEST CHESTER        PA 19382‐8051
PANATO ALBERTO                  LA SCALA                            STUDIO LEGALE E TRIBUTARIO        CORSO MAGENTA N 42   20123 MILONO ITALY
PANATO LUIGINO                  C/O LA SCALA                        STUDIO LEGALE E TRIBUTARIO        CORSO MAGENTA N 42   20123 MILANO ITALY
PANATTONI DEVELOPMENT COMPANY   8395 JACKSON RD STE F                                                                                           SACRAMENTO         CA    95826
PANATTONI, GEORGE M             5152 COUNTY ROAD 28                                                                                             HOLLYWOOD          AL    35752‐5300
PANATTONI, JUNE R               2600 BARRACKS                       APT A 219                                                                   CHARLOTTESVILLE    VA    22901
PANAVISE PRODUCTS INC           7540 COLBERT DR                                                                                                 RENO               NV    89511‐1225
PANAYIOTIS KARRAS               2535 HYLAND ST                                                                                                  FERNDALE           MI    48220‐2738
PANAYOTOV, PANAYOT N            33 WEST ST                                                                                                      CAMBRIDGE          MA    02139‐1740
PANCAK, VILIAM                  7900 HAMLET DR                                                                                                  NEW PORT RICHEY    FL    34653‐6353
PANCAKE, ALIN L                 143 GLENWOOD AVENUE                                                                                             YPSILANTI          MI    48198‐5928
PANCAKE, DARRELL J              2500 ACORN DR                                                                                                   KETTERING          OH    45419‐2331
PANCAKE, DONALD J               2801 COMANCHE DR                                                                                                KETTERING          OH    45420‐3830
PANCALDO, JOSEPH                197 BROWN STREET                                                                                                WALTHAM            MA    02453‐5193
PANCALDO, JOSEPH                197 BROWN ST                                                                                                    WALTHAM            MA    02453‐5193
PANCARI PETE                    PANCARI, PETE                       30 EAST BUTLER PIKE , SUITE 310                                             AMBLER             PA    19002
PANCARI, PETE                   KIMMEL & SILVERMAN PC               30 EAST BUTLER PIKE, SUITE 310                                              AMBLER             PA    19002
PANCER, ERNEST G                901 LARCHMONT DR                                                                                                WAUKESHA           WI    53186‐6741
PANCHAK, RANDY G                124 GARVIN AVE                                                                                                  ELYRIA             OH    44035‐4922
PANCHECK, ALBINA C              2377 HARMONY DR                                                                                                 BURTON             MI    48509‐1163
PANCHECK, ALVERSA M             7415 CROSS CREEK DR                                                                                             SWARTZ CREEK       MI    48473‐1701
PANCHECK, J P                   7415 CROSS CREEK DR 151                                                                                         SWARTZ CREEK       MI    48473
PANCHECK, JOHN M                605 S MANFRED ST                                                                                                DURAND             MI    48429‐1615
PANCHENKO, DAVID F              41024 OAK HILL DR                                                                                               CLINTON TWP        MI    48038‐4610
PANCHENKO, MAUREEN A            4001 PONCE DE LEON BLVD                                                                                         SEBRING            FL    33872‐2225
PANCHENKO, PAUL                 5113 KECK RD                                                                                                    LOCKPORT           NY    14094‐9304
PANCHER DANIEL F & ANNETTE M    2690 ROSEMONT RD                                                                                                NORTH JACKSON      OH    44451‐9719
PANCHER EUGENE H (627051)       GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                                  EDWARDSVILLE       IL    62025‐0959
                                ANTOGNOLI
PANCHER JR, H T                 5732 MILL CREEK BLVD                                                                                            BOARDMAN           OH 44512‐2716
PANCHER, DANIEL F               2690 ROSEMONT RD                                                                                                NORTH JACKSON      OH 44451‐9719
PANCHER, EUGENE H               C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                      EDWARDSVILLE       IL 62025
                                ROWLAND PC
PANCHER, EUGENE H               GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                                  EDWARDSVILLE        IL   62025‐0959
                                ANTOGNOLI
PANCHER, HARRY T                170 GLENVIEW RD                                                                                                 CANFIELD           OH    44406‐1152
PANCHER, PAULINE E              1301W 407, 201‐500                                                                                              LEWISVILLE         TX    75077
PANCHERY, JOHN J                3177 PARK AVE                                                                                                   SOUTH PLAINFIELD   NJ    07080‐5232
PANCHETA R CHAPPLE              195 W KENNETT RD APT 107                                                                                        PONTIAC            MI    48340‐2682
PANCHIK JR, FRANK               8786 KNAUF RD                                                                                                   CANFIELD           OH    44406‐9468
PANCHIK, FRANK                  1103 S CANFIELD NILES RD                                                                                        AUSTINTOWN         OH    44515‐4037
PANCHINTOS TAQUERIA             3800 NEW COURT AVE                                                                                              SYRACUSE           NY    13206‐1660
PANCHULA, HELEN L               824 MEADOW DR                                                                                                   DAVISON            MI    48423‐1030
PANCHULA, MARGARET V            15177 RESTWOOD DR                                                                                               LINDEN             MI    48451‐8771
PANCHULA, MARTIN                3218 LARCHMONT ST                                                                                               FLINT              MI    48503‐3427
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Name                             Address1                        Address2                Address3                      Address4         City               State Zip
PANCHULA, PAUL D                 15177 RESTWOOD DR                                                                                      LINDEN              MI 48451‐8771
PANCHULA, RICHARD S              9326 LOCHMOOR DR                                                                                       DAVISON             MI 48423‐8711
PANCHULA, RICHARD SAMUEL         9326 LOCHMOOR DR                                                                                       DAVISON             MI 48423‐8711
PANCHYSHYN, JOSEPHINE C          PO BOX 84                                                                                              ONTARIO             NY 14519‐0084
PANCIATICI, CHERYL M             844 BROOKWOOD LN E                                                                                     ROCHESTER HILLS     MI 48309‐1544
PANCIERA, ROBERT E               601 S CURTIS ST                                                                                        MERIDEN             CT 06450‐6637
PANCIONE, JOSEPHINE              154 KINGS LN                                                                                           ROCHESTER           NY 14617‐5407
PANCIONE, PATRICK D              425 PEMBERTON RD                                                                                       ROCHESTER           NY 14622‐2012
PANCOAST LAURA                   157 BRISSTOL LANE                                                                                      BIRMINGHAM          AL 35242‐6876
PANCOAST STEVEN                  PANCOAST, MARY                  KAHN & ASSOCIATES       55 PUBLIC SQUARE, SUITE 650                    CLEVELAND           OH 44113

PANCOAST STEVEN                  PANCOAST, STEVEN                55 PUBLIC SQ STE 650                                                   CLEVELAND          OH   44113‐1909
PANCOAST, DOROTHY A              26W051 GOLD FINCH CT                                                                                   CAROL STREAM       IL   60188‐4531
PANCOAST, ELEANOR D              146 HARBOUR PSGE                                                                                       HILTON HEAD        SC   29926‐1262
PANCOAST, HELEN M                1471 LONG POND RD APT 101       VILLAGE AT PARK RIDGE                                                  ROCHESTER          NY   14626‐4128
PANCOAST, JAMES R                21589 S EVERSON DR                                                                                     STURGIS            MI   49091‐9214
PANCOAST, JAMIE N                25445 POWERS AVE                                                                                       DEARBORN HTS       MI   48125‐1734
PANCOAST, MELVIN O               21010 POWERS AVE                                                                                       DEARBORN HTS       MI   48125‐2821
PANCOAST, MICHAEL M              17735 MICKEY LN                                                                                        GREGORY            MI   48137‐9570
PANCOAST, RANDY M                PO BOX 1327                                                                                            TAYLOR             MI   48180
PANCOAST, WILLIAM T              358 WILLODELL DR                                                                                       MANSFIELD          OH   44906‐2318
PANCOE, CHARLES J                915 STATE ROUTE 356                                                                                    LEECHBURG          PA   15656‐2027
PANCOE, CHARLES J                915 STATE RT 356                                                                                       LEECHBURG          PA   15656‐2027
PANCOL, ALISON M
PANCOST, HOLLY A                 19257 DAWNSHIRE DR                                                                                     RIVERVIEW          MI   48193‐8511
PANCOST, JOYCE A                 8538 ISLAND BLVD                                                                                       GROSSE ILE         MI   48138‐1348
PANCOST, MARGARET M              200 LEGACY PARK DR APT 3                                                                               CHARLOTTE          MI   48813‐1351
PANCOST, MARGARET M              200 LEGACY PK DR APT 3                                                                                 CHARLOTTE          MI   48813‐1351
PANCOST, WILLIAM J               11844 DOROTHA DR                                                                                       EATON RAPIDS       MI   48827‐8718
PANCURAK, CHAD T                 2871 TROY CENTER DR APT 5015                                                                           TROY               MI   48084‐4711
PANCURAK, JOHN E                 1448 HUBER ST                                                                                          MCKEESPORT         PA   15133‐3410
PANCURAK, JOHN R                 4400 ELIZABETH DR                                                                                      ALIQUIPPA          PA   15001‐5001
PANCZA, MARY ANN                 195 MYRTLE ST                                                                                          JAMESTOWN          NY   14701‐8044
PANCZAR, HELEN J                 247 AMHERST ST                                                                                         BUFFALO            NY   14207
PANCZENKO, MICHAEL               12 MADISON AVE                                                                                         OSSINING           NY   10562‐5704
PANCZYK, MICHELE L               53129 OAK GRV                                                                                          SHELBY TOWNSHIP    MI   48315‐2006
PANCZYSZYN, JERRY B              9631 WAGNER RD                                                                                         HOLLAND            NY   14080‐9767
PANCZYSZYN, JERRY BOGDON         9631 WAGNER RD                                                                                         HOLLAND            NY   14080‐9767
PANDA PRECISION INC              28046 OAKLAND OAKS CT                                                                                  WIXOM              MI   48393‐3348
PANDA PRECISION INC              6909 E 11 MILE RD                                                                                      WARREN             MI   48092‐3907
PANDA PROMOTIONAL PRODUCTS       6321 NORMANDY DR STE 1                                                                                 SAGINAW            MI   48638‐7391
PANDA PROMOTIONAL PRODUCTS INC   2854 BRADFORD DR                PO BOX 6008                                                            SAGINAW            MI   48603‐2910
PANDA SIDDHARTHA SHANKAR         52 SACHEM CIR                                                                                          WEST LEBANON       NH   03784‐1029
PANDA, MANOJ K                   1608 KIRTS BLVD APT 201                                                                                TROY               MI   48084‐4349
PANDA, RONALD J                  SHANNON LAW FIRM                100 W GALLATIN ST                                                      HAZLEHURST         MS   39083‐3007
PANDAK, ZOLTAN I                 16 MORTON CT                                                                                           LAWRENCEVILLE      NJ   08648‐2114
PANDELL, ROBERT W                31924 JEFFERSON AVE                                                                                    ST CLAIR SHRS      MI   48082‐1395
PANDEY, AJAY K                   4926 GREEN MEADOW LN                                                                                   OAKLAND TOWNSHIP   MI   48306‐1756
PANDINA JR, ANTHONY A            49 DILLON POINT RD                                                                                     HAMMOND            NY   13646‐4203
PANDIT                           PO BOX 1123                                                                                            JACKSON            MI   49204‐1123
PANDIT, DINKAR R                 3345 E WINDMERE DR                                                                                     PHOENIX            AZ   85048‐5819
PANDIT, DIVYANG S                10946 FELLOWS HILL DR                                                                                  PLYMOUTH           MI   48170‐6350
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Name                                   Address1                             Address2                     Address3   Address4                 City                State Zip
PANDJIRIS INC                          5151 NORTHRUP AVE                                                                                     SAINT LOUIS          MO 63110‐2031
PANDM FRAZIER                          12500 S WESTERN AVE APT 165                                                                           OKLAHOMA CITY        OK 73170‐5950
PANDO GROZDANOVSKI                     4015 HAYES TOWER RD                                                                                   GAYLORD              MI 49735‐8885
PANDO, HOPE                            14053 REDWOOD DR                                                                                      SHELBY TWP           MI 48315‐6801
PANDO, MICHAEL                         416 OLD TRAIL DR                                                                                      HOUGHTON LAKE        MI 48629‐9586
PANDO, PRISCILLA P                     416 OLD TRAIL DR                                                                                      HOUGHTON LAKE        MI 48629‐9586
PANDOLFI PAOLO                         VIA DIAN CARLO SISMONDI 67                                                   20133 MILANO ITALY
PANDOLFI, GARY G                       8155 LAIRD ST                                                                                         LA MESA             CA    91942‐2605
PANDOLFI, GENE T                       851 GIFFORD ROAD                                                                                      TITUSVILLE          PA    16354‐6835
PANDOLFI, GENE T                       851 GIFFORD RD                                                                                        TITUSVILLE          PA    16354‐6835
PANDOLFINI PAUL (ESTATE OF) (471011)   ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                       BALTIMORE           MD    21202
                                                                            CHARLES CENTER 22ND FLOOR
PANDOLFINI, PAUL                       C/O LAW OFFICES OF PETER G ANGELOS   100 N CHARLES STREET, ONE                                        BALTIMORE           MD 21202
                                                                            CHARLES CENTER, 22ND FL
PANDOLFO, RONALD                       DEARIE & ASSOCS JOHN C               3265 JOHNSON AVE                                                 RIVERDALE           NY    10463
PANDOLPH, CAROL L                      4191 LOCKWOOD BLVD                                                                                    YOUNGSTOWN          OH    44511‐3553
PANDOLPH, DAVID V                      2832 DECAMP RD                                                                                        YOUNGSTOWN          OH    44511‐1240
PANDORA A OTOTE                        80 SEWARD ST APT C1                                                                                   DETROIT             MI    48202‐2459
PANDORA GARRISON                       503 KILDEER DR APT 225                                                                                BOLINGBROOK         IL    60440‐2235
PANDORA MCKEITHEN                      80 SEWARD ST APT C8                                                                                   DETROIT             MI    48202‐2475
PANDORA MEDIA                          JOE KENNEDY                          360 22ND ST STE 440                                              OAKLAND             CA    94612‐3029
PANDORA STANEFF                        424 ROOSEVELT ST                                                                                      CANTON              MI    48188‐6699
PANDORETTA JACKSON                     22339 LA LOIRE ST                    APT 509                                                          SOUTHFIELD          MI    48075‐4054
PANDORF, PETER R                       192 CHRISTIAN AVE                                                                                     STONY BROOK         NY    11790‐1217
PANDORI, LIDO E                        52241 OLD FORGE LN                                                                                    CHESTERFIELD        MI    48051‐3610
PANDOS, WILLIAM                        8718 11TH AVENUE PL NW                                                                                BRADENTON           FL    34209‐9660
PANDOSSI, ELSIE R                      122 DAN CHERI DR                                                                                      CALHOUN             GA    30701‐2629
PANDRAK, PRISCILLA P                   940 GOLF VILLA DRIVE                                                                                  OXFORD              MI    48371‐3698
PANDUIT CORP                           17301 RIDGELAND AVE                                                                                   TINLEY PARK         IL    60477‐3093
PANDUIT CORP                           GEMA CASTRO                          LAZARO CARDENES 2785                    MEXICO DF 11320 MEXICO
PANDUIT CORPORATION                    17301 RIDGELAND AVE                                                                                   TINLEY PARK          IL   60477‐3093
PANDUIT CORPORATION                    TAMMIE SCHWARTZKOPF                  17301 RIDGELAND AVE                                              TINLEY PARK          IL   60477‐3093
PANDUIT MEXICO S ENC DE CV             GEMA CASTRO                          LAZARO CARDENES 2785                    MEXICO DF 11320 MEXICO
PANDUKU, WILLIAM                       24806 SHADOWWOOD LN                                                                                   FLAT ROCK           MI    48134‐9560
PANDULLO, DAVID B                      14170 EASY ST                                                                                         IRWIN               PA    15642
PANDUREN JR, CHARLES P                 45680 BERTHOUD DR                                                                                     MACOMB              MI    48044‐3821
PANDUREN, KENNETH                      3649 MAHLON MOORE RD                                                                                  SPRING HILL         TN    37174‐2131
PANDUREN, VERNETTA G                   46249 CAVALIER ST                    UNIT 57                                                          MCCOMB              MI    48044
PANDZA, LJUBICA                        275 E CENTRAL PKWY APT 723                                                                            ALTAMONTE SPRINGS   FL    32701
PANE ANTHONY (475487)                  PAUL REICH & MYERS P.C.              1608 WALNUT ST STE 500                                           PHILADELPHIA        PA    19103‐5446
PANE GAETANO L (493074)                EARLY LUDWICK SWEENEY & STRAUSS      360 LEXINGTON AVE FL 20                                          NEW YORK            NY    10017‐6530
PANE, ANTHONY                          PAUL REICH & MYERS P.C.              1608 WALNUT ST STE 500                                           PHILADELPHIA        PA    19103‐5446
PANE, GAETANO L                        EARLY LUDWICK SWEENEY & STRAUSS      360 LEXINGTON AVE FL 20                                          NEW YORK            NY    10017‐6530
PANE, ROSEMARY                         PO BOX 8207                                                                                           MCLEAN              VA    22106‐8207
PANECZKO, ROMAN                        2468 DEPOT ST                                                                                         SPRING HILL         TN    37174‐2417
PANEFF, KIRK G                         8645 WHITECLIFF CT                                                                                    SYLVANIA            OH    43560‐9845
PANEITZ, MAUREEN E                     4360 FLINT STONE DR                                                                                   WENTZVILLE          MO    63385‐2203
PANEK, AARON L                         144 SOUTH HAAS STREET                                                                                 FRANKENMUTH         MI    48734‐1720
PANEK, DONALD A                        18800 CHANDLER PARK DR                                                                                DETROIT             MI    48236‐2124
PANEK, FREDERIKA S                     25 SCHUYLER DR                       C/O RONALD O WESCOTT                                             EDISON              NJ    08817‐3550
PANEK, FREDERIKA S                     C/O RONALD O WESCOTT                 25 SCHOYLER DRIVE                                                EDISON              NJ    08817‐3550
PANEK, JOHN E                          1320 VIRGINIA WAY                                                                                     LA JOLLA            CA    92037‐5232
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Name                    Address1                             Address2                      Address3   Address4                City              State Zip
PANEK, KENNETH L        9238 BELSAY RD                                                                                        MILLINGTON         MI 48746‐9543
PANEK, KENNETH LEE      9238 BELSAY RD                                                                                        MILLINGTON         MI 48746‐9543
PANEK, MADELINE G       6371 LANCELOT CT                                                                                      RIVERSIDE          CA 92506‐5122
PANEK, NEAL G           6967 S ROLLING MEADOWS CT                                                                             OAK CREEK          WI 53154‐1677
PANEK, PHYLLIS M        2126 BARRITT                                                                                          LANSING            MI 48912‐3632
PANEK, PHYLLIS M        2126 BARRITT ST                                                                                       LANSING            MI 48912‐3632
PANEK, ROBERT L         3167 W LAKE RD                                                                                        CLIO               MI 48420‐8819
PANEK, STANLEY J        3296 W MOUNT MORRIS RD                                                                                MOUNT MORRIS       MI 48458‐8240
PANEK, STEPHANIE        1420 WEST FARGO                                                                                       CHICAGO             IL 60626‐1811
PANEK, THOMAS L         6146 SHAWNEE RD                                                                                       SANBORN            NY 14132
PANEL CO LTD            C/O MERRILL LYNCH INTERNATIONAL BANK ATTENTION TAU DEPARTMENT                 2 RAFFLES LINK MARINA
                        LIMITED                                                                       BAYFRONT SINGAPORE
                                                                                                      039392
PANELL, CURTIS G        7492 PISCES CIR W                                                                                     JACKSONVILLE      FL   32222‐2137
PANELLA STEVEN          PANELLA, STEVEN                    2001 US HIGHWAY 46 STE 310                                         PARSIPPANY        NJ   07054‐1315
PANELLA, JOSEPH         486 S CURTIS ST                                                                                       MERIDEN           CT   06450‐6607
PANELLA, RALPH A        1242 RUBY AVE                                                                                         ROCHESTER HILLS   MI   48309‐4348
PANELLA, WILLIAM T      4062 CATTAIL CT                                                                                       APPLETON          WI   54913‐9697
PANEPINTO STEPHEN       PO BOX 626                                                                                            PLAQUEMINE        LA   70765‐0626
PANESCON, JAMES V       927 BROOKLYN AVE                                                                                      SALEM             OH   44460‐1841
PANESKY, BETTY          9151 MENTOR AVE E 15                                                                                  MENTOR            OH   44060
PANESSIDI, NICHOLAS L   6337 BALMY LN                                                                                         ZEPHYRHILLS       FL   33542
PANETTA, GERALD D       727 MILL POINTE DR                                                                                    MILFORD           MI   48381‐1880
PANETTA, JOSEPH A       35166 DRAKE HEIGHTS DR                                                                                FARMINGTON        MI   48335‐3304
PANETTA, NANCY          2 RADARICK DR                                                                                         ROCHESTER         NY   14624‐1626
PANETTA, NANCY          2 RADARICK STREET                                                                                     ROCHESTER         NY   14624‐1626
PANETTA, PENNY J        2125 GROESBECK AVE                                                                                    LANSING           MI   48912‐3448
PANETTA, SANDRA K       2658 FRANK ST                                                                                         LANSING           MI   48911‐6401
PANEY, BENJAMIN W       3472 PANDOLA AVENUE                                                                                   JOLIET            IL   60431‐2842
PANFALONE JR, FRANK J   10906 POTTER RD                                                                                       BELLEVUE          OH   44811‐9646
PANFILI GERALD          PANFILI, GERALD                    1930 E MARLTON PIKE SUITE Q29                                      CHERRY HILL       NJ   08003
PANFILI, GERALD         KIMMEL & SILVERMAN PC              1930 E MARLTON PIKE SUITE Q29                                      CHERRY HILL       NJ   08003
PANFILI, SOPHIE J       24 RUNNING BROOK RD                                                                                   EWING             NJ   08638‐2010
PANFILI, SOPHIE J       24 RUNNINGBROOK RD. W                                                                                 EWING             NJ   08638‐2010
PANFILIO, JAMES T       17W465 EARL CT                                                                                        DARIEN            IL   60561‐5107
PANG KOU XIONG          12331 PEABODY DR                                                                                      FENTON            MI   48430‐8445
PANG, JUN               PO BOX 1384                                                                                           TROY              MI   48099‐1384
PANG, SUSAN M           2776 CEDAR KEY DR                                                                                     LAKE ORION        MI   48360‐1828
PANG, TINA MARIE K      1934 LUSITANA ST APT 303                                                                              HONOLULU          HI   96813‐1513
PANGA, PRANEET J        UNIT 301                           1645 WEST OGDEN AVENUE                                             CHICAGO           IL   60612‐4296
PANGALILA, GEERTRUIDA
PANGBORN CORP           4630 COATES DR                                                                                        FAIRBURN          GA   30213‐2975
PANGBORN CORP           4530 COATES DR                                                                                        FAIRBURN          GA   30213‐2975
PANGBORN, SALLY A       PO BOX 306                                                                                            PEAPACK           NJ   07977‐0306
PANGBORN/HAGERSTWN      PO BOX 380                                                                                            HAGERSTOWN        MD   21741‐0380
PANGBURN, BERNITA S     1441 LAKESHORE DR                                                                                     BURNSIDE          KY   42519‐9352
PANGBURN, CARTER A      64 CLEVE HUDDLESTON ROAD                                                                              ALBANY            KY   42602‐2602
PANGBURN, CURTIS W      4526 BUNNELL HILL RD                                                                                  LEBANON           OH   45036‐9789
PANGBURN, ELMA L        302 SOUTHVIEW DRIVE                                                                                   ARCADE            NY   14009
PANGBURN, NOLAN J       800 WESTON ST                                                                                         LANSING           MI   48917‐4172
PANGELIA WEST           1311 BRENDON TRAILS DR                                                                                SPRING            TX   77379‐3057
PANGELLO JR, JOSEPH A   9725 S PRICETOWN RD                                                                                   BERLIN CENTER     OH   44401‐8705
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PANGEMANAN, JANTJE                  HORTON BARBARO & REILLY            200 N MAIN ST ‐ 2ND FL O BOX P                                                    SANTA ANA             CA 92702
PANGEMANAN, PETRONELA CATERINE
PANGEO CABLE IND                    2005 BLACK ACRE DR                                                                            OLD CASTLE CANADA ON
                                                                                                                                  N0R 1L0 CANADA
PANGEO CABLE INDUSTRIES LTD         2005 BLACKACRE DR                                                                             OLDCASTLE ON N0R 1L0
                                                                                                                                  CANADA
PANGEO/CHINA                        MUYUN INDUSTRY PARK                NANHU ST HUNAN                                             CHANGSHA COUNTY CH
                                                                                                                                  410118 CHINA
PANGERL, CARL A                     5404 CALKINS RD                                                                                                      FLINT                MI   48532‐3303
PANGIARELLA ENRICO                  PANGIARELLA, ENRICO                9 APPLEBY WAY                                                                     TOMS RIVER           NJ   08757‐6620
PANGIARELLA, ENRICO                 9 APPLEBY WAY                                                                                                        TOMS RIVER           NJ   08757‐6620
PANGLE, DAVID B                     6443 BUCK ST                                                                                                         TAYLOR               MI   48180‐1627
PANGLE, JAMES C                     129 OBERLIN RD                                                                                                       PENNSVILLE           NJ   08070‐3344
PANGLE, KATHRYN M                   5509 N SEYMOUR RD                                                                                                    FLUSHING             MI   48433‐1036
PANGLE, TIMOTHY J                   9193 MCKINLEY RD                                                                                                     MONTROSE             MI   48457‐9185
PANGLE, TIMOTHY JAMES               9193 MCKINLEY RD                                                                                                     MONTROSE             MI   48457‐9185
PANGLE, VALARIE                     21340 KARL ST                                                                                                        DETROIT              MI   48219
PANGMAN, DANIEL R                   19771 NORBORNE                                                                                                       REDFORD              MI   48240‐1325
PANGMAN, DANIEL ROY                 19771 NORBORNE                                                                                                       REDFORD              MI   48240‐1325
PANGMAN, MARY                       G‐4606 BEECHER RD                  APT#J‐1                                                                           FLINT                MI   48532‐2619
PANGONIS, LEONARD J                 22334 SOCIA ST                                                                                                       SAINT CLAIR SHORES   MI   48082‐2495
PANGOS, WILLIAM                     270 N VILLAGE DR                                                                                                     CENTERVILLE          OH   45459‐2150
PANGRAZIO, SCOTT A                  145 VINE ST                                                                                                          BATAVIA              NY   14020‐2424
PANHANDLE PIPE LINE COMPANY, LP     MARK S. WILKE, MANAGER             5444 WESTHEIMER ROAD                                                                                   TX   77056
PANHANDLE EASTERN PIPE LINE CO      PO BOX 38                                                                                                            ZIONSVILLE           IN   46077‐0038
PANHANDLE EASTERN PIPE LINE CO      PO BOX 201202                                                                                                        HOUSTON              TX   77216‐1202
PANHANDLE EASTERN PIPE LINE COMPANY PO BOX 1348                                                                                                          KANSAS CITY          MO

PANHANDLE EASTERN PIPE LINE         MARK S. WILKE, MANAGER,            5444 WESTHEIMER ROAD                                                              HOUSTON              TX   77056
COMPANY, LP                         ADMINISTRATION
PANHANDLE EASTERN PIPE LINE         ATTN: INSURANCE TRUST AND ESCROW   CORPORATE TRUST                  101 BARCLAY STREET, 8TH                          NEW YORK             NY 10286‐0001
COMPANY, LP                         UNIT                               ADMINISTRATION DIVISION          FLOOR WEST
PANHANDLE EASTERN PIPE LINE         5444 WESTHEIMER ROAD                                                                                                                      TX   77056
COMPANY, LP
PANHANDLE EASTERN PIPE LINE         MARK S. WILKE                      5444 WESTHEIMER RD.                                                                                    TX   77056
COMPANY, LP
PANHANDLE EASTERN PIPE LINE         TRUCKLINE GAS COMPANY, LLC         5444 WESTHEIMER ROAD                                                              HOUSTON              TX   77056
COMPANY, LP
PANHANDLE MEDICAL AS                65 HEALTH CARE LN                                                                                                    MARTINSBURG          WV 25401‐4006
PANHANDLE PRODUCTIONS LTD           4238 37 STREET                                                                                CAMROSE AB T4V 4L6
                                                                                                                                  CANADA
PANIAGUA, ELIAS                     PO BOX 72                                                                                                            BELMORE              OH   45815‐0072
PANIAGUA, GUILLERMO                 PO BOX 28                                                                                                            BELMORE              OH   45815‐0028
PANIAGUA, MARCELINO M               3310 JERREE ST                                                                                                       LANSING              MI   48911‐2627
PANIAGUA, THOMAS                    PO BOX 19                                                                                                            BELMORE              OH   45815‐0019
PANIC, ESTHER A                     691 SALT SPRINGS RD                                                                                                  MINERAL RIDGE        OH   44440‐9316
PANIC, ROSE L                       530 TANGLEWOOD LN APT 207                                                                                            MISHAWAKA            IN   46545‐2654
PANICCIA CARMEN F                   6251 OAKMAN BLVD                                                                                                     DEARBORN             MI   48126‐2311
PANICCIA PATRICIA                   60 HIGHLAND ST                                                                                                       TICONDEROGA          NY   12883‐1519
PANICCIA, CARMINA F                 6251 OAKMAN                                                                                                          DEARBORN             MI   48126‐2311
PANICCIA, CARMINA F                 6251 OAKMAN BLVD                                                                                                     DEARBORN             MI   48126‐2311
PANICCIA, FRANCESCO                 40 COOK AVE                                                                                                          YONKERS              NY   10701‐6319
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Name                        Address1                         Address2                     Address3   Address4         City               State Zip
PANICCIA, GIULIO            4616 CHOVIN ST                                                                            DEARBORN            MI 48126‐4607
PANICCIA, JOSEPH A          2278 S HOLMAN CIR                                                                         LAKEWOOD            CO 80228
PANICCIA, LINDA G           9026 RUTH AVE                                                                             ALLEN PARK          MI 48101‐3904
PANICHELLA, JOSEPH          156 LINWOOD AVE                                                                           NEWTONVILLE         MA 02460‐1417
PANICHELLA, THRESA          571 NEWPORT DRIVE                                                                         PITTSBURGH          PA 15235
PANICHKUL, KORKI            8440 MONTANA AVE                                                                          BUENA PARK          CA 90621‐3630
PANICKER, JOHN V            1701 FLAMINGO AVE                                                                         OKLAHOMA CITY       OK 73127‐1160
PANICO, JOHN W              4 PLOVER CT                                                                               WILMINGTON          DE 19808‐1616
PANICO, NANCY K             812 OTTAWA AVENUE                                                                         DEFIANCE            OH 43512‐3052
PANICO, PATRICIA E          141 16 COOLIDGE AVENUE                                                                    BRIARWOOD           NY 11435
PANICO, ROBERT A            112 W SENECA DR                                                                           NEWARK              DE 19702‐1914
PANIGADA MARCO              VIA NENNI 67
PANIGADA MARCO              VIA P.NENNI N.67                 20085 LOCATE DI TRIULZI MI
PANIGADA, JAMES             SMITH JOHN C JR LAW OFFICES OF   1390 MARKET ST STE 310                                   SAN FRANCISCO      CA   94102‐5405
PANIGAL, CATHERINE B        700 EAGLE DR                                                                              FENTON             MI   48430‐4166
PANIGAL, FRANK B            1105 GREEN ST                                                                             JEANNETTE          PA   15644‐1446
PANIGAY, JEANETTE           49337 SHERIDAN CT                                                                         SHELBY TOWNSHIP    MI   48315‐3977
PANIGAY, WILLIAM E          3964 MILLS RD                                                                             PRESCOTT           MI   48756‐9631
PANIK JR., WILLIAM          94 W 1116 S                                                                               FAIRMOUNT          IN   45928‐9172
PANIK, CHRISTINE            2260 GARDEN CREST DR                                                                      ROCKWALL           TX   75087‐3171
PANIK, DAVID D              693 W BARNES LAKE RD                                                                      COLUMBIAVILLE      MI   48421‐9394
PANIK, DAVID D              693 BARNES LAKE RD                                                                        COLOMBIAVILLE      MI   48421
PANIK, DONALD J             25814 CROCKER RD                                                                          COLUMBIA STA       OH   44028‐9715
PANIK, DONALD J             5984 E CLEVELAND RD                                                                       ASHLEY             MI   48806‐9335
PANIK, DONALD J.            25814 CROCKER RD                                                                          COLUMBIA STA       OH   44028‐9715
PANIK, DORIS L              94 W 1115 S                                                                               FAIRMOUNT          IN   46928‐9172
PANIK, DORIS L              1527 W 31ST ST                                                                            MARION             IN   46953‐3450
PANIK, JAMES J              14541 EUCLID AVE                                                                          ALLEN PARK         MI   48101‐2927
PANIK, JOESPH E             10400 N. STREET HWY                                                                       CHEBOYGAN          MI   49721
PANIK, JOSEPH G             5485 REYNOLDS RD                                                                          CHEBOYGAN          MI   49721‐9549
PANIK, JOSEPH J             865 PELLEY DR                                                                             CLEVELAND          OH   44109‐4574
PANIK, MARIE J              921 COOLIDGE ROAD                                                                         LANSING            MI   48912
PANIK, PAUL R               7427 BISON ST                                                                             WESTLAND           MI   48185‐2369
PANIK, ROBERT               1116 ALVIN ST                                                                             WESTLAND           MI   48186‐4805
PANIK, SHARON A             25814 CROCKER RD                                                                          COLUMBIA STATION   OH   44028‐9715
PANIK, SIMON S              15303 PENNSYLVANIA AVE                                                                    ALLEN PARK         MI   48101‐1381
PANIK, TOMOMI K             1286 FLAMINGO AVE                                                                         HASLETT            MI   48840‐9737
PANIK, WALTER P             35928 WINSLOW ST                                                                          WAYNE              MI   48184‐2038
PANIN STEVAN                PANIN, STEVAN
PANIN, ANNA                 7 GOEKE DRIVE                                                                             TRENTON            NJ   08610‐1107
PANIN, STEVAN               5188 EVERGREEN DR                                                                         NORTH OLMSTED      OH   44070‐3074
PANISSIDI, MARIO M          1753 ROOSEVELT AVE                                                                        NILES              OH   44446‐4109
PANITZKE WILLIAM (491270)   BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PKWY                                  BOSTON HTS         OH   44236
PANIZO, NELLIE              555 SATURN BLVD                  P.O. BOX 430                                             SAN DIEGO          CA   92154
PANKAJ
PANKAJ GUPTA
PANKAJ MITHAL               3240 DUNWOODIE RD                                                                         ANN ARBOR          MI   48105‐4113
PANKAJ VAKHARIA MD          ATTN: PANKAJ VAKHARIA            1116 S LINDEN RD # 9                                     FLINT              MI   48532‐3418
PANKAJKUMAR B JHAVERI       6060 N SAGINAW RD                                                                         MOUNT MORRIS       MI   48458‐2402
PANKE, CYNTHIA J            27613 LARRY ST                                                                            ROSEVILLE          MI   48066‐2723
PANKEY, CLARENCE E          240 W HOPKINS AVE                                                                         PONTIAC            MI   48340‐1824
PANKEY, FRANCES E           9800 AL HIGHWAY 75                                                                        HORTON             AL   35980‐8454
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Name                                Address1                           Address2                        Address3   Address4                  City            State Zip
PANKEY, FREDERICK L                 480 CREEK RD                                                                                            LAKE ALFRED      FL 33850‐7128
PANKEY, GERALD W                    30 E YPSILANTI AVE                                                                                      PONTIAC          MI 48340‐1977
PANKEY, GLENDELL W                  920 SEBEK ST                                                                                            OXFORD           MI 48371‐4455
PANKEY, HARRIET M                   4110 LANETTE                                                                                            WATERFORD        MI 48328‐3436
PANKEY, HARRIET M                   4110 LANETTE DR                                                                                         WATERFORD        MI 48328‐3436
PANKEY, HELEN C                     1042 E REID RD                                                                                          GRAND BLANC      MI 48439‐8905
PANKEY, HERBERT D                   8662 COUNTY ROAD 460                                                                                    MOULTON          AL 35650
PANKEY, LARRY J                     145 SIMMONS LOOP                                                                                        ROSE BUD         AR 72137‐9209
PANKEY, LESLIE C                    5007 RIDGETOP DR                                                                                        WATERFORD        MI 48327‐1344
PANKEY, LINDA J                     2577 LAKESHORE DR LOT 29                                                                                GLADWIN          MI 48624
PANKEY, MARILYN                     7301 SIMSBURY CIR                                                                                       LAS VEGAS        NV 89129‐6214
PANKEY, MARY B                      101 LONG ACRE COURT                                                                                     FREDERICK        MD 21702‐4054
PANKEY, ROBERT D                    8609 E OLD M28                                                                                          KENTON           MI 49967‐9433
PANKEY, ROBERT L                    5362 N VASSAR RD                                                                                        FLINT            MI 48506‐1230
PANKEY, ROBERT LEE                  5362 N VASSAR RD                                                                                        FLINT            MI 48506‐1230
PANKEY, RONALD J                    15564 SIERRA HWY                                                                                        SANTA CLARITA    CA 91390‐4728
PANKEY, SHARON L                    812 DAVENPORT AVENUE                                                                                    SAGINAW          MI 48602‐5619
PANKEY, SHARON L                    4372 LAKE DR                                                                                            BEAVERTON        MI 48612
PANKHURST, GARY W                   7 MOUNT VERNON CT                                                                                       MADISON          WI 53719
PANKIL VYAS                         46388 MEADOWVIEW DR                                                                                     SHELBY TWP       MI 48317‐4147
PANKIW, DANIEL B                    2073 FAIRWAY LN                                                                                         HARRISBURG       PA 17112‐1566
PANKIW, JOSEPH M                    225 HERONS RUN 61 DR                                                                                    SARASOTA         FL 34232
PANKIW, SUSANNA                     APT 3                              8 BLACKWATCH TRAIL                                                   FAIRPORT         NY 14450‐3798
PANKL ENGINE SYSTEMS GMBH           BERND KOEGLER                      KALTSCHMIDSTRASSE 2‐6                                                EMPORIA          KS
PANKL ENGINE SYSTEMS GMBH & CO KG   KALTSCHMIDSTRASSE 2                                                           BRUCK AN DER MUR AT
                                                                                                                  8600 AUSTRIA
PANKL ENGINE SYSTEMS GMBH & CO KG   BERND KOEGLER                      KALTSCHMIDSTRASSE 2‐6                                                EMPORIA          KS

PANKL ENGINE SYSTEMS GMBH AND CO KG KALTSCHMIDSTRASSE 2‐6 8600                                                    BRUCK AN DER MUR A 8600
                                                                                                                  AUSTRIA
PANKL ENGINE SYSTEMS GMBH AND CO KG FRMLY PANKL SYSTEMS GMBH           KALTSCHMIDSTRASSE 2‐6 AT‐8600              BRUCK AD MUR AUSTRIA
                                                                                                                  AUSTRIA
PANKL RACING SYSTEMS AG             INDUSTRIESTRASSE WEST 4                                                       KAPFENBERG STEIERMARK
                                                                                                                  8605 AUSTRIA
PANKL RACING SYSTEMS AG             KALTSCHMIDSTRASSE 2                                                           BRUCK AN DER MUR AT
                                                                                                                  8600 AUSTRIA
PANKL SYSTEMS GMBH                  KALTSCHMIDSTRASE 2                                                            BRUCK AN DER MUR 8600
                                                                                                                  AUSTRIA
PANKO, EDWARD P                     3127 W RIVERVIEW DR                                                                                     BAY CITY        MI    48706‐1351
PANKO, JOHN P                       2965 HANCHETT ST                                                                                        SAGINAW         MI    48604‐2415
PANKO, MARTHA M.                    1611 GREEN BAY ST                                                                                       LA CROSSE       WI    54601‐6572
PANKO, RICHARD J                    5196 WHITE IBIS DR                                                                                      NORTH PORT      FL    34287‐2373
PANKO, ROGER C                      3205 TOWNLINE RD                                                                                        BIRCH RUN       MI    48415‐9074
PANKO, THOMAS T                     7763 W DARBEE RD                   C/O SUSAN VASSALLO                                                   FAIRGROVE       MI    48733‐9707
PANKO, VIVIAN                       2421 GARFIELD                                                                                           BAY CITY        MI    48708‐8641
PANKO, VIVIAN                       2421 GARFIELD AVE                                                                                       BAY CITY        MI    48708‐8641
PANKOFF, MICHAEL G                  4380 LONE TREE RD                                                                                       MILFORD         MI    48380
PANKONIN                            1600 MIDLAND RD                                                                                         SAGINAW         MI    48638‐4338
PANKOTAI, PAULA R                   428 RIVER WOODS DR                                                                                      FLUSHING        MI    48433‐2175
PANKOVA, ELENA                      6 ELY PARK BLVD APT 3                                                                                   BINGHAMTON      NY    13905
PANKOW VOCAT/MT CLMN                24600 F.V. PANKOW BLVD.                                                                                 MOUNT CLEMENS   MI    48043
PANKOW, ARLENE R                    523 RACINE LANE                                                                                         BOLINGBROOK     IL    60440‐2052
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Name                     Address1                        Address2            Address3         Address4         City               State Zip
PANKOW, BETTY J          35160 6 MILE RD                                                                       LIVONIA             MI 48152‐2977
PANKOW, CARRIE           1910 HOBSON DR                                                                        HENDERSON           NV 89074‐1000
PANKOW, JOHN L           10123 STONECROP AVE                                                                   ENGLEWOOD           FL 34224‐8005
PANKOW, JUDY             N30 W 23 861 GREEN RD APT 13                                                          PEWAUKEE            WI 53072
PANKOW, MEDIA M          246 VIRGINIA AVE                                                                      DAYTON              OH 45410‐2318
PANKOW, MEDIA M          246 VIRGINIA                                                                          DAYTON              OH 45410‐2318
PANKOW, MICHAEL E        45352 DIAMOND POND DR                                                                 MACOMB              MI 48044‐3550
PANKOWSKI, ADRIENNE      102 WOODEN CARRIAGE DR                                                                HOCKESSIN           DE 19707‐1429
PANKOWSKI, JOHN C        7283 MAR LN                                                                           CLARKSVILLE         MI 48815‐9664
PANKOWSKI, MELBOURNE A   2127 BONE RD                                                                          HOLLY               MI 48442‐9106
PANKOWSKI, RAYMOND J     102 WOODEN CARRIAGE DR                                                                HOCKESSIN           DE 19707‐1429
PANKS, JAMES G           101 BOXWOOD LN                                                                        WESTMINSTER         SC 29693‐6402
PANKS, JOANN             7160 ELDERWOOD CIR                                                                    CLARKSTON           MI 48346‐1596
PANKS, JOHN D            7160 ELDERWOOD CIR                                                                    CLARKSTON           MI 48346‐1596
PANKS, KENNETH M         4411 CHOWNING WAY                                                                     DUNWOODY            GA 30338‐6503
PANKTI SHAH              2330 GOLFVIEW DR APT 105                                                              TROY                MI 48084‐3855
PANLENER, JOHN J         903 NEWPORT DR                                                                        FENTON              MI 48430‐1801
PANLONE, MARGARET        166 GARNER AVE                                                                        BLOOMFIELD          NJ 07003‐4514
PANLONE, MARGARET        166 GARNER AVE.                                                                       BLOOMFIELD          NJ 07003‐4514
PANNAFINO, PETER J       3826 CONCORD DR                                                                       NORTH TONAWANDA     NY 14120‐3702
PANNECOUK, BRUCE D       2333 CHILSON RD                                                                       HOWELL              MI 48843‐9459
PANNECOUK, GARY L        20072 N PINEWISH CT                                                                   SURPRISE            AZ 85374‐4625
PANNECOUK, MARIA E       13849 TOWERING OAKS DR                                                                SHELBY TOWNSHIP     MI 48315‐1954
PANNELL JR, CHARLES E    408 SANDPIPER DR APT A                                                                FORT PIERCE         FL 34982‐5119
PANNELL JR, CHARLES E    408 A SANDPIPER DR                                                                    FORT PIRECE         FL 34982‐5119
PANNELL, ALICE M         1170 ROCKTOWN RD                                                                      TALBOTT             TN 37877‐3425
PANNELL, BRIAN L         10566 N MERIDIAN RD                                                                   FORTVILLE           IN 46040‐9317
PANNELL, CARL E          102 GRAY FOX LN                                                                       ROCKY HILL          CT 06067‐3258
PANNELL, CATHEY A        35717 N GRANDVIEW CT                                                                  FARMINGTON HILLS    MI 48335‐2414
PANNELL, CHARLES W       519 DAUNER HAUS ST                                                                    FENTON              MI 48430‐1591
PANNELL, CRAIG D         13411 ROLLING HILLS DR                                                                WICHITA             KS 67235
PANNELL, EDWYNA          19001 OAK DR                                                                          DETROIT             MI 48221‐2263
PANNELL, GEORGE W        6508 N 50 E                                                                           FORTVILLE           IN 46040‐9775
PANNELL, HARRIET S       6144 GATSBY GRN                                                                       COLUMBIA            MD 21045‐3815
PANNELL, IDA B           7398 EASTOVER BLVD                                                                    OLIVE BRANCH        MS 38654‐1424
PANNELL, JEROME          2633 BRONCO TRL                                                                       DULUTH              GA 30096‐4494
PANNELL, JOHN            11508 E SURREY LN                                                                     OKLAHOMA CITY       OK 73130‐6809
PANNELL, JUANITA L       708 W PARK AVE                                                                        GREENFIELD          IN 46140‐1747
PANNELL, KENNETH R       1750 SANDHILL RD                                                                      INDIANAPOLIS        IN 46217‐4655
PANNELL, L B             1237 E FARRAND RD                                                                     CLIO                MI 48420‐9137
PANNELL, MICHELE         77 SULLIVAN PL APT 20C                                                                BROOKLYN            NY 11225‐2518
PANNELL, NAOMI N         6100 OVERLOOK                                                                         CLARKSTON           MI 48346‐2055
PANNELL, NELENE S        PO BOX 101                                                                            BOONEVILLE          MS 38829‐0101
PANNELL, PAMELA E        3476 N PARK AVENUE EXT                                                                WARREN              OH 44481‐8803
PANNELL, PAULINE         14919 APPOLINE ST                                                                     DETROIT             MI 48227‐3955
PANNELL, RONNIE E        2971 VALLEY VIEW DR.                                                                  FAIRBORN            OH 45324‐5324
PANNELL, RONNIE E        2971 VALLEYVIEW DR                                                                    FAIRBORN            OH 45324‐2253
PANNELL, ROSETTA M       930 90TH AVENUE                                                                       VERO BEACH          FL 32966‐0231
PANNELL, ROSETTA M       930 90TH AVE                                                                          VERO BEACH          FL 32966‐0231
PANNELL, SHARON L        13355 STONEY BROOK DR                                                                 RENO                NV 89511‐9280
PANNELL, SHIRLEY A       2633 BRONCO TRL                                                                       DULUTH              GA 30096‐4494
PANNELL, TAYANA C        515 GLACIER HEIGHTS RD                                                                YOUNGSTOWN          OH 44509‐1921
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Name                          Address1                            Address2                 Address3   Address4            City                State Zip
PANNELL, THOMAS               2133 WYOMING AVE                                                                            FERNDALE             MI 48220
PANNELL, WILLIE L             3808 BEACH CHANNEL DR APT 11E                                                               FAR ROCKAWAY         NY 11691‐1436
PANNELL, WILLIE L             38‐08 BEACH CHANNEL DRIVE #11E                                                              FAR ROCKAWAY         NY 11691‐1436
PANNENBERG, HEINRICH G        6603 KEITHCREST DR                                                                          TEMPERANCE           MI 48182‐1228
PANNERI, AJ ENTERPRISES INC   2727 BROADWAY ST STE 2                                                                      CHEEKTOWAGA          NY 14227‐1070
PANNES, HERMANN               100 GREENVALE DR                                                                            MANSFIELD            TX 76063‐5556
PANNES, JOHN                  7209 FOSSIL HILL DR                                                                         ARLINGTON            TX 76002‐4448
PANNETT, CHARLES W            10300 SEVEN ST                                                                              OSCODA               MI 48750
PANNETT, JR,CHARLES R         1422 W WILSON RD                                                                            CLIO                 MI 48420‐1644
PANNETT, WAYNE F              11374 BERKSHIRE DR                                                                          CLIO                 MI 48420‐2127
PANNETT, WAYNE FRANCIS        11374 BERKSHIRE DR                                                                          CLIO                 MI 48420‐2127
PANNICK JR, WALTER F          7122 TORREY RD                                                                              SWARTZ CREEK         MI 48473‐8812
PANNICK, JUDITH               7122 TORREY RD                                                                              SWARTZ CREEK         MI 48473‐8812
PANNIER CORP, THE             1130 OLD BUTLER PLANK RD                                                                    GLENSHAW             PA 15116
PANNIER CORP, THE             207 SANDUSKY ST                                                                             PITTSBURGH           PA 15212‐5823
PANNIER CORPORATION           207 SANDUSKY ST                                                                             PITTSBURGH           PA 15212‐5823
PANNING, FRED H               457 E MCPHERSON DR                                                                          MEBANE               NC 27302
PANNING, THOMAS J             P561 ROAD 18                                                                                NAPOLEON             OH 43545
PANNO JOSEPH JR (633052)      BIFFERATO GENTILOTTI & BIDEN        PO BOX 2165                                             WILMINGTON           DE 19899‐2165
PANNO, JOSEPH                 BIFFERATO GENTILOTTI & BIDEN        PO BOX 2165                                             WILMINGTON           DE 19899‐2165
PANNONE FIORE (466149)        WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                         NEW YORK             NY 10038
PANNONE, FIORE                WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                         NEW YORK             NY 10038
PANNONE, GREGORY M            1698 SPRING CREEK DR                                                                        ROCHESTER HILLS      MI 48306‐3254
PANNONE, SAM P                256 WIMBLEDON RD                                                                            ROCHESTER            NY 14617‐4233
PANNOZZO FRANK (491663)       CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                   CLEVELAND            OH 44113‐1328
                              COONE AND ASSOCIATES
PANNU, MANMEET S              2149 ROLLING STONE DR                                                                       STERLING HEIGHTS    MI 48314‐3769
PANNULLO, JOHN                36 BAYVIEW DR                                                                               BRICK               NJ 08723
PANNUNZIO WILLIAM (494073)    CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                   CLEVELAND           OH 44113‐1328
                              COONE AND ASSOCIATES
PANNUNZIO, MARY J             211 KINGS LN                                                                                CANFIELD            OH 44406‐1681
PANNUNZIO, MARY J             211 KINGS LANE                                                                              CANFIELD            OH 44406‐1681
PANNUNZIO, WILLIAM            CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                   CLEVELAND           OH 44113‐1328
                              COONE AND ASSOCIATES
PANO, CYNTHIA D               645 W PULASKI AVE                                                                           FLINT               MI   48505‐6206
PANO, CYNTHIA DIANE           645 W PULASKI AVE                                                                           FLINT               MI   48505‐6206
PANO, GERALD W                645 W PULASKI AVE                                                                           FLINT               MI   48505‐6206
PANO, GERALD WAYNE            645 W PULASKI AVE                                                                           FLINT               MI   48505‐6206
PANOCK, SUSAN L               28 PALADINO DRIVE                                                                           ROMEOVILLE          IL   60446‐4273
PANOLA CNTY DISTRICT CLK      PANOLA CNTY CRTHS RM 224                                                                    CARTHAGE            TX   75633
PANOLA COLLEGE                1109 W PANOLA ST                                                                            CARTHAGE            TX   75633‐2341
PANOLA COUNTY TAX COLLECTOR   110 S SYCAMORE ST STE 211                                                                   CARTHAGE            TX   75633‐2543
PANOLA COUNTY TAX COLLECTOR   PO BOX 130                                                                                  SARDIS              MS   38666‐0130
PANONE, EZIO J                25650 WOHLFEIL ST                                                                           TAYLOR              MI   48180‐2077
PANONE, EZIO JOSEPH           25650 WOHLFEIL ST                                                                           TAYLOR              MI   48180‐2077
PANONE, JOHN E                1613 ELM DR                                                                                 TROY                MI   48098‐1901
PANONE, MARY J                14744 BIDFORD COURT                 SITE 209A                                               SHELBY TWP          MI   48315‐3742
PANORA OIL CO.                418 E MAIN ST                                                                               PANORA              IA   50216‐1123
PANORAMA BUSINESS VIEWS INC   150 JOHN ST STE 600                 MOVED PER LTR 04/16/03              TORONTO CANADA ON
                                                                                                      M5V 3E3 CANADA
PANOS, DORIS                  16486 MARIPOSA CIR N                                                                        SOUTHWEST RANCHES   FL 33331‐4658
PANOS, ELDA R                 G 5201 WOODHAVEN CT #109                                                                    FLINT               MI 48532
                                    09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                                Address1                           Address2                         Address3            Address4         City               State Zip
PANOS, JEAN B                       532 BURNS AVE                                                                                            WYOMING             OH 45215‐2755
PANOS, THOMAS                       4312 BYRNES BLVD                                                                                         FLORENCE            SC 29506‐8309
PANOURGIAS, ANGELO V                13118 HICKORY MILL CT                                                                                    SAINT LOUIS         MO 63146‐1812
PANOVICH, BERNIE C                  4134 INDUSTRY RD                                                                                         ROOTSTOWN           OH 44272‐9543
PANOVICH, JOHN J                    PO BOX 264                                                                                               LAKE MILTON         OH 44429‐0264
PANOZ MOTOR SPORTS GROUP            1394 BROADWAY AVE                                                                                        BRASELTON           GA 30517‐2909
PANOZ MOTORSPORTS GROUP, INC.,      MR. DREW BERGWALL                  1394 BROADWAY AVE, BRASELTON                                          BRASELTON           GA 30517
D/B/A/ THE AMERICAN LEMANS SERIES
PANOZZO ALEX                        2450 W STATE ROUTE 17                                                                                    KANKAKEE            IL   60901‐7832
PANOZZO EDWARD                      19519 BEDFORD 1N                                                                                         MOKENA              IL   60448
PANOZZO ROBERT                      15 W TIMBERLAKE TRL                                                                                      OSWEGO              IL   60543‐9479
PANOZZO VINCENT                     PANOZZO, VINCENT                   120 WEST MADISON STREET , 10TH                                        CHICAGO             IL   60602
                                                                       FLOOR
PANOZZO, BRUNO J                    2560 FOSSIL STONE RD                                                                                     DYER               IN    46311‐1956
PANOZZO, CRAIG V                    1006 TEAL RD                                                                                             PEOTONE            IL    60468
PANOZZO, EDWARD                     19519 BEDFORD LN                                                                                         MOKENA             IL    60448‐7987
PANOZZO, MIRELLI N                  3262 E BRADFORD DRIVE                                                                                    BLOOMFIELD         MI    48301‐4142
PANOZZO, VINCENT                    KROHN & MOSS ‐ IL                  120 WEST MADISON STREET, 10TH                                         CHICAGO            IL    60602
                                                                       FLOOR
PANSA, O R                          5111 5TH ST                                                                                              BOULDER            CO    80304‐4748
PANSANO, THERESE L                  PO BOX 74                                                                                                PEARLINGTON        MS    39572‐0074
PANSING, JACK L                     828 CYPRESS LN                                                                                           EATON              OH    45320‐9373
PANSING, JACK L                     828 CYPRESS LANE                                                                                         EATON              OH    45320‐5320
PANSING, JOANN                      115 COUSINS DR                                                                                           CARLISLE           OH    45005‐6218
PANSING, JOANN                      2976 WESTCOTT DR                                                                                         DAYTON             OH    45420‐1263
PANSING, MARY ELLEN F.              12110 UPPER LEWISBURG SALEM RD                                                                           BROOKVILLE         OH    45309‐9747
PANSING, ONILEE J.                  320 MADRID AVE                                                                                           BROOKVILLE         OH    45309
PANSKI, COLLEEN S                   54268 TIVERTON LN                                                                                        SHELBY TWP         MI    48315‐1188
PANSKI, GERALD J                    7495 CLAREOLA AVE                                                                                        LAKE               MI    48632‐9550
PANSKI, PATIENCE P                  18662 N SUNDRIFT CT                                                                                      SURPRISE           AZ    85374‐2079
PANSTINGEL, HERMAN L                4304 HARBISON ST                                                                                         DAYTON             OH    45439‐2748
PANSY ANDREWS IRA                   512 COUNTY ROAD 563                                                                                      MIDLAND CITY       AL    36350‐3468
PANSY BALLARD                       1934 FLORENCE ST                                                                                         DETROIT            MI    48203‐2656
PANSY BOHANNON                      8353 WICKCLIFF ST                                                                                        VANDALIA           OH    45377‐9628
PANSY DANIELS                       BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.        OH    44236
PANSY GIBBS                         4025 46TH AVE N LOT 25                                                                                   SAINT PETERSBURG   FL    33714‐2908
PANSY GIRDNER                       3348 CARLIN DR                                                                                           DAYTON             OH    45449‐2729
PANSY GODSEY                        3944 CHEYENNE CT                                                                                         OXFORD             MI    48370‐2914
PANSY HENRY                         256 JACQUELINE DR                                                                                        LONDON             OH    43140‐1181
PANSY JORDAN                        2115 PARKTON RD                                                                                          MOUNT MORRIS       MI    48458‐2651
PANSY K SAYLOR                      509 CHESTER AVE                                                                                          SPRING HILL        TN    37174‐2440
PANSY KENDRICK                      446 KINGWOOD ST                                                                                          KINGSTON           TN    37763‐2610
PANSY KIKER                         PO BOX 335                                                                                               WEST ALTON         MO    63386‐0335
PANSY LOCKE                         5908 DEREK ST                                                                                            ARLINGTON          TX    76016‐2775
PANSY MENDEL                        4960 OLDS RD                                                                                             ONONDAGA           MI    49264‐9706
PANSY MICK                          2345 OXFORD RD APT 322                                                                                   BERKLEY            MI    48072‐1756
PANSY MILLER                        103 DOTSON DR                                                                                            MILLWOOD           WV    25262‐9710
PANSY MINTON                        3437 GAINSBORO RD                  EL JOBEAN                                                             PORT CHARLOTTE     FL    33953‐6033
PANSY PORTERFIELD                   1623 CHECOLA DR                                                                                          NAMPA              ID    83686
PANSY S HAWK TTEE                   UAD 4/8/98 PANSY STEPHENSON HAWK   FAMILY TRUST                     4003 SAN NICHOLAS                    TAMPA              FL    33629‐5729

PANSY SANDERS CAUDILL               2384 HIGHWAY 81 S                                                                                        JONESBOROUGH       TN 37659‐6139
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Name                             Address1                         Address2                          Address3    Address4         City                   State Zip
PANSY SAYLOR                     509 CHESTER AVE                                                                                 SPRING HILL             TN 37174‐2440
PANSY SNODGRASS                  35734 CLARKSTON LN                                                                              RICHMOND                MI 48062‐8909
PANSY STURGILL                   1424 WESTWOOD DR                                                                                FLINT                   MI 48532‐2674
PANSY WASHEK                     PO BOX 161                                                                                      MILAN                   OH 44846‐0161
PANSY WILSON                     1107 MCKINLEY BLVD                                                                              FLINT                   MI 48507‐4221
PANT PRADEEP                     301 FOXFIRE PL APT L                                                                            COCKEYSVILLE            MD 21030‐3668
PANT, FRED J                     6609 CANON WREN DRIVE                                                                           AUSTIN                  TX 78746‐3808
PANT, ROBERT H                   2431 SANTA ROSA DR                                                                              DAYTON                  OH 45440
PANTALEO CATHERINE S             136 ROUNDHILL DRIVE                                                                             YONKERS                 NY 10710‐2425
PANTALEO, CARMELLA F             129 MT VERNON                                                                                   WINCHESTER              MA 01890‐2805
PANTALEO, CARMELLA F             129 MOUNT VERNON ST                                                                             WINCHESTER              MA 01890‐2805
PANTALEO, CATHERINE S            136 ROUNDHILL DR                                                                                YONKERS                 NY 10710‐2425
PANTALEO, CATHERINE SUSAN        136 ROUNDHILL DR                                                                                YONKERS                 NY 10710‐2425
PANTALEO, JACK D                 31029 WELLSTON DR                                                                               WARREN                  MI 48093‐1754
PANTALEO, JULIA A                C/O MICHAEL PANTALEO             2979 WATERSTONE PLACE                                          KOKOMO                  IN 46902
PANTALEO, JULIA ANNE             2979 WATERSTONE PL               C/O MICHAEL PANTALEO                                           KOKOMO                  IN 46902‐5086
PANTALEO, MICHAEL                APT 57                           45182 WEST PARK DRIVE                                          NOVI                    MI 48377‐1302
PANTALEO, MICHAEL A              2979 WATERSTONE PL                                                                              KOKOMO                  IN 46902‐5086
PANTALEO, RICHARD L              24307 FAIRWAY HILLS DR                                                                          NOVI                    MI 48374‐3038
PANTALEO, TREVA                  23012 EDGEWATER ST                                                                              SAINT CLAIR SHORES      MI 48082‐1321
PANTALEON GUERRA                 8 TRAMORE CT                                                                                    CARTERSVILLE            GA 30120‐6454
PANTALEON LUNA                   5709 ATLANTIS TER                                                                               ARLINGTON               TX 76016‐2140
PANTALION SUZANNE                2519 W WESTVIEW ST                                                                              SPRINGFIELD             MO 65807‐8604
PANTALONE THOMAS R               EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR 265 CHURCH ST                    NEW HAVEN               CT 06508‐1866

PANTALONE THOMAS R (ESTATE OF)   EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR ,                                NEW HAVEN               CT   06510
(465434)                                                          265 CHURCH STREET
PANTALONE, ARTHUR                5227 HATTRICK RD                                                                                RAVENNA                OH    44266‐8871
PANTALONE, FRANCES               5598 ENGLETON LN                                                                                GIRARD                 OH    44420‐1608
PANTANO, JOSEPH J                686 CINDY LN                                                                                    BUFFALO                NY    14224‐2428
PANTANO, JOSEPH P                15 EAGLE'S POINTE CIR                                                                           BLUFFTON               SC    29909
PANTANO, ROBERT J                PO BOX 9022                      C/O HOLDEN AUSTRALIA                                           WARREN                 MI    48090‐9022
PANTANO, SALVATORE               302 WINTERHAVEN DR                                                                              WILMINGTON             DE    19803‐3551
PANTANO, SUSAN E                 PO BOX 9022                      C/O HOLDEN AUSTRALIA                                           WARREN                 MI    48090‐9022
PANTAZE, IRENE E                 4050 N PROSPECT AVE                                                                             SHOREWOOD              WI    53211‐2116
PANTAZIS, STEVE G                5550 CHESTER LN                                                                                 INDIANAPOLIS           IN    46220‐5506
PANTEA, JAMES L                  5482 W RADIO RD                                                                                 AUSTINTOWN             OH    44515‐1824
PANTEA, ROBERT G                 41 LOXLEY LN                                                                                    CROSSVILLE             TN    38558‐5808
PANTELAKIS                       6615 CLINGAN RD STE A                                                                           POLAND                 OH    44514‐2196
PANTELAKIS, IRENE                35 CREED CIR                                                                                    CAMPBELL               OH    44405‐1249
PANTELAKIS, IRENE                35 CREED CIRCLE                                                                                 CAMPBELL               OH    44405‐1249
PANTELEAKOS, NICHOLAS P          1249 CALYPSO RANCH DR                                                                           PLUMAS LAKE            CA    95961‐9057
PANTELIS ZABOGLOU                7 DREXEL TER                                                                                    MONROE TOWNSHIP        NJ    08831‐8537
PANTELUK, IRENE                  313 SAN JUAN DR                                                                                 WARM MINERAL SPRINGS   FL    34287‐1378
PANTER JAMES (446816)            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD             OH    44067
                                                                  PROFESSIONAL BLDG
PANTER MASTER CONTROLS INC       G‐7430 N DORT HWY                                                                               MOUNT MORRIS           MI    48458
PANTER, ANNABELLE L              501 DANIEL AVE                                                                                  FLUSHING               MI    48433
PANTER, DANIEL B                 4325 PONDVIEW DR                                                                                SWARTZ CREEK           MI    48473
PANTER, EUNICE                   5119 SANDALWOOD CIR                                                                             GRAND BLANC            MI    48439‐4267
PANTER, JAMES P                  4351 W MAPLE AVE                                                                                FLINT                  MI    48507‐3125
PANTER, LEONA M                  18531 JAMESTOWN CIR                                                                             NORTHVILLE             MI    48168‐3526
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Name                                Address1                       Address2            Address3         Address4         City               State Zip
PANTER, MARK R                      4692 WOODLAND HILLS DR                                                               ROCHESTER           MI 48306‐1772
PANTER, RONALD L                    1382 FLUSHING RD                                                                     FLUSHING            MI 48433‐2295
PANTER, RONALD L                    13518 AVISTA DR                                                                      TAMPA               FL 33624‐4348
PANTERA III, CHARLES E              9826 HARTEL RD                                                                       GRAND LEDGE         MI 48837‐8431
PANTERA, MARION M                   37795 GREENWOOD APT R‐14                                                             WESTLAND            MI 48185‐3359
PANTHER AIR                         300 N WILSON AVE                                                                     COCOA               FL 32922‐7293
PANTHER AIRBOAT INC                 300 N. WILSON AVE                                                                    COCOA               FL 32922
PANTHER AIRBOATS                    300 N WILSON AVE                                                                     COCOA               FL 32922‐7293
PANTHER II TRANSPORTATION INC       1114 N COURT ST                                                                      MEDINA              OH 44256‐1579
PANTHER II TRANSPORTATION INC       JEFF SOKOLOWSKI                4015 MEDINA ROAD                                      MEDINA              OH 44256
PANTHER INDUSTRIES INC              2703 S SHOSHONE ST                                                                   ENGLEWOOD           CO 80110
PANTHER LIFTS                       PO BOX 2018                                                                          CLEBURNE            TX 76033‐2018
PANTHER LIFTS & AUTOMOTIVE EQU      PO BOX 2018                    32950 PARAGUAY DR                                     CLEBURNE            TX 76033‐2018
PANTHER LIFTS & AUTOMOTIVE EQUIPMEN PO BOX 2018                    32950 PARAGUAY DR                                     CLEBURNE            TX 76033‐2018

PANTHER SERVICES 31270
PANTHER TR 31270 GRIT              95540 12/11/08
PANTHER, DEBORAH L                 63288 N PLANTATION CT                                                                 WASHINGTN TWP      MI   48095‐2432
PANTHER, LARRY S                   591 S WRENWOOD                                                                        JACKSON            MI   49201‐8459
PANTHER, LARRY STEVEN              591 S WRENWOOD                                                                        JACKSON            MI   49201‐8459
PANTHER, RHONDA G                  990 NASH AVE                                                                          YPSILANTI          MI   48198‐8022
PANTHER, RHONDA GAIL               990 NASH AVE                                                                          YPSILANTI          MI   48198‐8022
PANTHER, TERRY                     591 S WRENWOOD                                                                        JACKSON            MI   49201‐8459
PANTLE, EDWARD J                   432 CEDAR AVE                                                                         LEONARDO           NJ   07737‐1111
PANTLE, LAURA A                    8 KELMAR AVE                                                                          FRAZER             PA   19355‐1560
PANTLONI, DOLORES                  5361 NEW RD                                                                           AUSTINTOWN         OH   44515‐4005
PANTLONI, RICHARD                  242 ELVIRA DR.                                                                        MCDONALD           OH   44437‐1003
PANTLONI, RICHARD                  242 ELVIRA DR                                                                         MC DONALD          OH   44437‐1003
PANTOJA JR, MARTIN                 1304 CLAY ST                                                                          MIDLAND            MI   48642‐5840
PANTOJA, CHERITH B                 2155 CHARTLEY PL                                                                      MARIETTA           GA   30062‐7700
PANTOJA, DELIA                     4468 JENA LN                                                                          FLINT              MI   48507‐6219
PANTOJA, DELIA                     4468 JENA LANE                                                                        FLINT              MI   48507
PANTOJA, ENRIQUE G                 5516 OAK BRANCH DR                                                                    ARLINGTON          TX   76016‐4538
PANTOJA, ERNESTO M                 1640 CORONEL ST                                                                       SAN FERNANDO       CA   91340‐3128
PANTOJA, FELIX R                   2155 CHARTLEY PL                                                                      MARIETTA           GA   30062‐7700
PANTOJA, JANETTE                   5516 OAK BRANCH DR                                                                    ARLINGTON          TX   76016
PANTOJA, JIMMY M                   1539 CORONEL ST                                                                       SAN FERNANDO       CA   91340‐3125
PANTOJA, JR.,EVARISTO              PO BOX 341602                                                                         MILWAUKEE          WI   53234‐1602
PANTOJA, JUANITA                   4913 EMERY AVE                                                                        KANSAS CITY        MO   64136‐1148
PANTOJA, JULIE
PANTOJA, ROBERT                    7550 W MANITOBA DR                                                                    PALOS HEIGHTS      IL   60463‐2020
PANTOJA, WANDA                     4 LAGUNA GARDEN                                                                       CAROLINA           PR   00979
PANTON CURLYN                      12115 NE MIAMI CT                                                                     NORTH MIAMI        FL   33161‐5353
PANTONA ANTHONY M JR               20979 SUNNYDALE ST                                                                    FARMINGTON HILLS   MI   48336‐5256
PANTONA JR, ANTHONY M              20979 SUNNYDALE ST                                                                    FARMINGTN HLS      MI   48336‐5256
PANTONE JR., ANTHONY J             341 CENTER ST                                                                         HUBBARD            OH   44425‐1547
PANTONE, KENNETH D                 1900 E DRYDEN RD                                                                      METAMORA           MI   48455‐9211
PANTONE, KENNETH P                 1900 E DRYDEN RD                                                                      METAMORA           MI   48455‐9211
PANTONE, MARY W                    1027 DORIS DR                                                                         HUBBARD            OH   44425‐1211
PANTONE, PAT A                     655 BURDIE DR                                                                         HUBBARD            OH   44425‐1202
PANTONI, BRUNO                     24001 MUIRLANDS                 SPACE 432                                             ELTORO             CA   92630‐1741
PANTONI, BRUNO                     24001 MUIRLANDS BLVD SPC 432                                                          EL TORO            CA   92630‐1729
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Name                        Address1                          Address2                      Address3             Address4              City                State Zip
PANTONI, HENRY R            70 CHURCHVILLE LN                                                                                          CHURCHVILLE          PA 18966‐1502
PANTONI, HENRY R.           70 CHURCHVILLE LN                                                                                          CHURCHVILLE          PA 18966‐1502
PANTOS, JOHN E              324 LATHROP AVE                                                                                            RIVER FOREST          IL 60305‐2122
PANTTI, SANDRA E            47857 KENT DR                                                                                              MACOMB               MI 48044‐5946
PANTTILA, CHARLES L         953 NORTH LEAVITT RD                                                                                       LEAVITTSBURG         OH 44430‐9620
PANTTILA, CHARLES L         953 N LEAVITT RD                                                                                           LEAVITTSBURG         OH 44430‐9620
PANTUS, ALEX                895 W BENTON AVE                                                                                           NAPERVILLE            IL 60540‐4305
PANTUSO, MARK A             8106G W JEFFERSON AVE APT 304D                                                                             DETROIT              MI 48209
PANULA, JOSEPH M            7167 S FORK DR                                                                                             SWARTZ CREEK         MI 48473‐9738
PANULLA, ANGELINA           50 E PASSAIC AVE                                                                                           BLOOMFIELD           NJ 07003‐3730
PANUMAS KUDNGAONGARM        94/ 76 MOU 9                      BANG KLOY‐SHAI NOI ROAD       BANG LANE BANG YAI                         NONTHABURI 11 140
PANUS, JAMES R              1137 NE DAVIDSON CT                                                                                        KANSAS CITY         MO   64118‐5912
PANYARD, DAVID C            228 SHEFFIELD ST APT 11                                                                                    BELLEVUE            OH   44811‐1577
PANYARD, DAVID C            6687 SEEL RD                                                                                               BELLEVUE            OH   44811‐8931
PANYKO, DOLORES L           3054 RT 534 NW                                                                                             SOUTHINGTON         OH   44470
PANYKO, MARY R              109 TIMBERLODGE CT                C/O GERALDINE R PANYKO                                                   ROSEVILLE           CA   95747‐8714
PANYON JOHN J (439389)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA   23510
                                                              STREET, SUITE 600
PANYON, JOHN J              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA 23510‐2212
                                                              STREET, SUITE 600
PANZA MARY                  35 MACDONALD AVENUE                                                                                        AMITYVILLE          NY   11701‐3711
PANZANI, JOHN V             3436 LOUIS ST                                                                                              FRANKLIN PARK       IL   60131‐1604
PANZAR, RONALD J            9827 PLEASANT LAKE BLVD APT Q33                                                                            PARMA               OH   44130‐7435
PANZARELLA, GREGORY         48 ARCHER RD                                                                                               ROCHESTER           NY   14624‐4624
PANZARIELLO, NAZARIO        84050 SORVARO CASTINATELLI                                                           SALERNO ITALY
PANZARINO, MARK P           260 CHERRY TREE SQ                                                                                         FOREST HILL         MD   21050‐3090
PANZARINO, MARK P.          260 CHERRY TREE SQ                                                                                         FOREST HILL         MD   21050‐3090
PANZAROTTO, MANUEL          8233 N BOUNDARY RD                                                                                         BALTIMORE           MD   21222‐3414
PANZECA, FRANK M            7524 FRUITWOOD DR                                                                                          WEST CHESTER        OH   45069‐3048
PANZECA, TEOTISTA           10160 WEATHERSFIELD DRIVE                                                                                  MENTOR              OH   44060‐6849
PANZEGRAF, BARBARA G        5600 SW 107TH ST                                                                                           OCALA               FL   34476
PANZEL, EDWARD G            1067 DEVONWOOD RD                                                                                          MANSFIELD           OH   44907‐2418
PANZER ANDREW J (461076)    ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                               BALTIMORE           MD   21202
                                                              CHARLES CENTER 22ND FLOOR
PANZER FRANCIS R (626701)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA 23510
                                                              STREET, SUITE 600
PANZER, ANDREW J            ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                                BALTIMORE           MD 21202
                                                              CHARLES CENTER 22ND FLOOR
PANZER, FRANCIS R           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA 23510‐2212
                                                              STREET, SUITE 600
PANZER, GERALD H            1116 FLORENCE ST                                                                                           LEMONT              IL   60439‐3943
PANZICA, CONSTANCE H        6789 JASMINE DR                                                                                            TROY                MI   48098‐6915
PANZICA, REBECCA A          403 BAY ST                                                                                                 BROOKHAVEN          MS   39601
PANZICA, RICHARD J          403 BAY ST                                                                                                 BROOKHAVEN          MS   39601
PANZINO, ANTOINETTE J       1551 DILL AVE APT 314                                                                                      LINDEN              NJ   07036‐1770
PANZINO, JOSEPHINE R        134 WAYNE ST                                                                                               WAYNE               NJ   07470‐7638
PANZINO, JOSEPHINE R        134 WAYNE STREET                                                                                           WAYNE               NJ   07470‐7638
PANZNER, BILLY J            2224 DEL WEBB BLVD W                                                                                       SUN CITY CENTER     FL   33573‐4844
PANZRAM CHRISTINE M         1014 OAK CREEK CIRCLE                                                                                      ROYSE CITY          TX   75189‐7426
PAO CHI PIEN
PAO L LOR                   257 W BEVERLY AVE                                                                                          PONTIAC              MI 48340‐2625
PAO Y LOR                   650 NORTHVIEW CT                                                                                           PONTIAC              MI 48340‐2456
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Name                                  Address1                         Address2                          Address3                    Address4                   City               State Zip
PAOL A SPILAK                         173 LINDLEY RD                                                                                                            CANONSBURG          PA 15317
PAOLA D'ALESSANDRO                    VIA DONATO IAIA 18               70014 CONVERSANO (BA)             ITALY
PAOLA DALESSANDRO/GIOVANNI            VIA DONATO IAIA 18                                                                             70014 CONVERSANO (BA)
FANTASIA                                                                                                                             ITALY
PAOLA FILIE                           RUE DE LA MARLI╚RE 28 B 7        7190 ECAUSSINNES
PAOLA FILIE                           RUE DE LA MARLIERE 28 B 7                                                                      7190 ECAUSSINNES
                                                                                                                                     BELGIUM
PAOLA MUTTON                          MMMM                             NNNNN                             VVVV                        SSS
PAOLA NISONGER                        525 TRACY LN                                                                                                              MILFORD            MI 48381‐1575
PAOLA PAOLA                           VIA                                                                                                                       MILANO             MI 20090
PAOLA UGOLINI                         VIA SAN MAURO 300                                                  CAP 47522 CESENA FC ITALY
PAOLA UGOLINI                         VIA SAN MAURO 300                CAP 47522                         CESENA (FC)
PAOLELLA, ANTONIO                     52246 MAURICE DR                                                                                                          MACOMB             MI   48042‐5634
PAOLELLA, JEAN M                      54161 CAMBRIDGE DR                                                                                                        SHELBY TWP         MI   48315‐1669
PAOLERCIO HARRY F (400743)            ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                                      NEW YORK           NY   10006‐1638
PAOLERCIO, HARRY F                    ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                                      NEW YORK           NY   10006‐1638
PAOLETTA, EDWARD J                    3960 CLEARWATER DR                                                                                                        PARMA              OH   44134‐6382
PAOLETTA, SYLVIA                      3960 CLEARWATER DR                                                                                                        PARMA              OH   44134‐6382
PAOLETTI ‐ THAXTON, LAURA J           3101 H ST                                                                                                                 MCKEESPORT         PA   15133‐2306
PAOLETTI, ALBERT P                    607 BERWICK RD S                                                                                                          SYRACUSE           NY   13208‐3210
PAOLETTI, PAULINE P                   3501 SCIOTANGY DR                                                                                                         COLUMBUS           OH   43221‐1344
PAOLETTI‐THAXTON, LAURA J             3101 H ST                                                                                                                 MCKEESPORT         PA   15133
PAOLI AUTO REPAIR                     7 SPRING ST                                                                                                               PAOLI              PA   19301‐1423
PAOLI JR, DOMINICK A                  515 BLACKSMITH LANE                                                                                                       NEWARK             DE   19702‐5943
PAOLI, MARGARET                       833 MARLIN ST                                                                                                             BAYOU VISTA        TX   77563‐2614
PAOLICCHI, JOSEPH P                   41588 STEINBECK GLN                                                                                                       NOVI               MI   48377‐2868
PAOLILLO VINCENT                      PAOLILLO, JENNIFER               17295 CHESTERFIELD AIRPORT ROAD
                                                                       SUITE 200 CHESTERFIELD, MO

PAOLILLO VINCENT                      PAOLILLO, VINCENT                17295 CHESTERFIELD AIRPORT ROAD
                                                                       SUITE 200 CHESTERFIELD, MO

PAOLILLO, ORLANDO                     38 SUNNYSIDE DRIVE                                                                                                        NORTHFORD          CT   06472‐1433
PAOLINA DRAP/STRL HT                  35460 MOUND RD                                                                                                            STERLING HEIGHTS   MI   48310‐4721
PAOLINELLI, JEAN D                    1106 KELLY DR                                                                                                             NEWARK             DE   19711‐2423
PAOLINELLI, VITTORIO                  3937 FOREST AVE                                                                                                           BROOKFIELD         IL   60513‐2121
PAOLINI JOANNE                        772 CARTER AVE                                                                                                            BELLMAWR           NJ   08031‐1701
PAOLINI, JOHN M                       109 CANTWELL DR                                                                                                           BUFFALO            NY   14220‐2663
PAOLINO PAPERINO                      PAPEROPOLI                       VIA DEI PAPERI, 17                                                                       PAPEROPOLI              00012
PAOLINO, A D                          135 RUTHLAND CHAPEL LN                                                                                                    CHEROKEE           AL   35616‐6733
PAOLINO, THOMAS
PAOLO BELLI                           VIA G. MAZZINI, 10               40123 MILANO (MI)
PAOLO BELLI                           VIA MAZZINI, 7                   10123 MILANO (MI)
PAOLO BETTINSOLI                      VIA MARTIRI DELLA LIBERT└, 81                                                                                             RONCADELLE              25030
PAOLO BORRA                           VIA A. DEPRETIS 28                                                                             VOGHERA (PV) 24058 ITALY
PAOLO CALORI                          VIA SARZANESE NORD 1226/A                                                                                                 MASSAROSA               55054
PAOLO CHICCA ‐ PARDINI MARIA TERESA   VIA DELLO ZILLORO 277                                                                          55040 CORSANICO ‐
                                                                                                                                     MASSAROSA ITALY
PAOLO DE ANGELIS                      VIA NIZZA 53 ROME
PAOLO DE LUCA                         245 MILL RD                                                                                                               ROCHESTER          NY 14626‐1034
PAOLO E GIMELI                        5 RUTH TERRACE                                                                                                            ROCHESTER          NY 14624‐4612
PAOLO FERRI                           CORSO MAZZINI N. 18                                                                                                       ASCOLI PICENO         63100
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Name                                 Address1                            Address2                   Address3                   Address4                  City               State Zip
PAOLO FRANCESCO FULCI                VIA BERNARDINO LUINI 14             22100 COMO
PAOLO FRANCESCO POGGI AND MORCELLI   VIA A FAVA 25                                                                             20125 MILAN ITALY
SILVANA
PAOLO GAETANO GERLI                  VIA CARDANO 8                       20124 MILAN                ITALY
PAOLO GELPI                          VIA CADORNA 6                                                                                                       TREVIOLO               24048
PAOLO GERLI                          VIA CARDANO 8                                                                                                       MILAN                  20124
PAOLO GERLI                          VIA CARDANO 8                       MILAN                      ITALY                                                MILAN               MI 56334
PAOLO GIAROLI                        VIA PICEDI BENETTINI 12
PAOLO GINEVRO                        VIA UMBERTO PACE 2                  20019 SETTIMO MILANESE     MILANO
PAOLO GIUSTO                         108 SEAN AVE                                                                                                        MOUNTAIN HOUSE      CA 95391‐1052
PAOLO GROSSI                         VIA ISONZO 46                       SAN FELICE SUL PANARO      MODENA
PAOLO LEONE                          PO BOX 381104                                                                                                       CLINTON TWP         MI 48038‐0076
PAOLO MASSUCCI                       VIA ALESSANDRO LUZIO 39             00179 ROMA                 ITALY
PAOLO MODESTINI                      PIAZZA DEL COMBATTENTE                                                                    11 GROSSETO ITALY
PAOLO MODESTINI                      C/O SGE                             VIA ANFITEATRO LATERIZIO   NO. 290                                              NOLA (NAPLES)            80035
PAOLO MODESTINI                      C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO   NO. 290                                              NOLA (NAPLES)       AK   80035
PAOLO MODESTINI                      C/O D'ALESSANDRO & PARTNERS         SGE                        VIA ANFITEATRO LATERIZIO   NO. 290                   NOLA (NAPLES)       AK   80035
PAOLO MORSOLETTO                     C/O AVV. PIETRO PAOLO MENNEA        VIA SILLA NO 7                                        00192 ROME ITALY
PAOLO MORSOLETTO                     C/O AVV PIETRO PAOLO MENNEA         VIA SILLA NO 7                                        00192 ROME ITALY
PAOLO NAVACCHIA                      VIA SACILE 3                                                                                                        NEW YORK            NY 15000
PAOLO NOVELLETTO                     490 MICHIGAN AVE                                                                          WINDSOR ON N9J2E6
                                                                                                                               CANADA
PAOLO POZZATO                        RESIDENZA RIPA 611
PAOLO POZZATO                        RESIDENZA RIPA 611                  BASIGLIO 20080 MI
PAOLO ROCCHI                         C/O BANCA CRV CAS16                 VIA CLAUDIA 3621                                      41056 SAVIGNANO S/P
                                                                                                                               (MO) ITALY
PAOLO ROSSI                          14560 HILLSDALE DR                                                                                                  STERLING HEIGHTS    MI 48313‐4334
PAOLO ROSSI                          VIA DELLA POSTA 15
PAOLO ROSSI                          VIA AAAA
PAOLO ROSSI                          VIA VERDI 1
PAOLO SARTI                          5702 CUSICK LAKE DR                                                                                                 WASHINGTON          MI 48095‐1122
PAOLO SCATURRO                       487 JEFFERSON AVE                                                                                                   RAHWAY              NJ 07065‐2501
PAOLO SUAPAIA                        1055 APPLETON RD                                                                                                    SIMI VALLEY         CA 93065‐5118
PAOLO TERENZI                        VIA PER SORIA NO 32                                                                       61121 PESARO (PU) ITALY
PAOLO TERENZI                        VIA: PER SORIA NO 32                                                                      61121 PESARO (PU) ITALY
PAOLO, ANGELO                        3841 KILBOURNE AVE                                                                                                  CINCINNATI         OH 45209‐1814
PAOLOCCI PAOLO                       VIA CIMABUE, 15                                                                           48015 CERVIA (RAVENNA)
                                                                                                                               ITALY
PAOLONE JR, ALBERT                   P.0. BOX 4180                                                                                                       AUSTINTOWN         OH    44515
PAOLONE, LOUIS A                     28 EMMA ST                                                                                                          GIRARD             OH    44420‐3201
PAOLUCCI, ANTHONY                    34 MEADOWBROOK LN                                                                                                   FREEHOLD           NJ    07728‐1521
PAOLUCCI, BENIAMINO A                14020 SW 36TH ST                                                                                                    MIAMI              FL    33175‐6719
PAOLUCCI, BENIAMINO ANTONIO          14020 SW 36TH ST                                                                                                    MIAMI              FL    33175‐6719
PAOLUCCI, CARMINE                    35 TUSCAN DR                                                                                                        FREEHOLD           NJ    07728‐4341
PAOLUCCI, CHARLOTTE A                6201 LUCAS AVE                                                                                                      ASHTABULA          OH    44004‐6319
PAOLUCCI, CHARLOTTE A                6201 LUCAS                                                                                                          SAYBROOK           OH    44004
PAOLUCCI, DANIEL R                   5000 GERBER DR                                                                                                      HAMBURG            NY    14075‐1600
PAOLUCCI, JOSEPH B                   16201 262ND RD                                                                                                      ATCHISON           KS    66002‐9263
PAOLUCCI, KATHLEEN LOUISE            5794 FISK RD                                                                                                        LOCKPORT           NY    14094‐9223
PAOLUCCI, RICHARD D                  3571 HEATHERWOOD DR                                                                                                 HAMBURG            NY    14075‐2104
PAOLUCCI, RICHARD DANIEL             3571 HEATHERWOOD DR                                                                                                 HAMBURG            NY    14075‐2104
PAONE VINCENT M                      708 EVERGREEN AVE                                                                                                   PITTSBURGH         PA    15209‐2204
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Name                             Address1                          Address2                          Address3                  Address4               City               State Zip
PAONE, DOROTHY T                 10 BUGLE CT                                                                                                          TOMS RIVER          NJ 08757‐5657
PAONE, TERRI R                   52618 SAWMILL CREEK DR                                                                                               MACOMB              MI 48042‐5680
PAONE, TERRI RUFFINI             52618 SAWMILL CREEK DR                                                                                               MACOMB              MI 48042‐5680
PAONESSA JR, MICHAEL A           313 WASHINGTON AVE                                                                                                   NEWTON FALLS        OH 44444‐9750
PAONESSA, ALDO                   171 WEST 51ST. ST. REET                                                                                              BAYONNE             NJ 07002
PAONESSA, ANGELO J               29531 DEMBS DR                                                                                                       ROSEVILLE           MI 48066‐1909
PAONESSA, ANTHONY T              32809 BEECHWOOD DR                                                                                                   WARREN              MI 48088‐1559
PAONESSA, ANTONIO                33 VERNON AVE                                                                                                        COLONIA             NJ 07067
PAONESSA, SHARON L               313 WASHINGTON AVE                                                                                                   NEWTON FALLS        OH 44444‐9750
PAONESSA, THOMAS J               42489 DEQUINDRE RD                                                                                                   TROY                MI 48085‐3950
PAONESSA, THOMAS M               14236 MARY GROVE DR                                                                                                  STERLING HEIGHTS    MI 48313‐4350
PAONESSA, THOMAS P               1567 E MI 36                                                                                                         PINCKNEY            MI 48169‐8106
PAPA                             3620 N DUPONT HWY                                                                                                    NEW CASTLE          DE 19720‐6316
PAPA BEATRICE                    24 EAST BLVD                                                                                                         GLOVERSVILLE        NY 12078‐3507
PAPA ROMANO'S                    ATTN: JOHN MCKAY                  3031 W GRAND BLVD # 200                                                            DETROIT             MI 48202‐3008
PAPA VINCENT (510585)            LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                            MIAMI               FL 33143‐5163
PAPA VINO'S ITALIAN KITCHEN      ATTN: JASON MESSER                3900 CENTERPOINT PKWY                                                              PONTIAC             MI 48341‐3117
PAPA, CHRISTOPHER                ATTN: LYNNE KIZIS, ESQ            WILENTZ, GOLDMAN, AND SPITZER     90 WOODBRIDGE CENTER DR                          WOODBRIDGE          NJ 07095

PAPA, JOHN J                     3662 DEVON DR SE                                                                                                     WARREN             OH    44484‐2626
PAPA, JOSEPH G                   1279 JONES SPRING WEST RD                                                                                            HEDGESVILLE        WV    25427‐4118
PAPA, LAURIE H                   31770 CROSS BOW ST                                                                                                   BEVERLY HILLS      MI    48025‐3505
PAPA, PATSY                      2574 STEDMAN PL                                                                                                      BRONX              NY    10469‐5343
PAPA, ROSE A                     5 CALLINGHAM RD                                                                                                      PITTSFORD          NY    14534‐1501
PAPA, THOMAS G                   9613 N LOCUST DR                                                                                                     KANSAS CITY        KS    64155‐2087
PAPA, VINCENT                    THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD           SUITE 44                                         CORAL GABLES       FL    33146
PAPA, VINCENT                    LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                            MIAMI              FL    33143‐5163
PAPA,KIMBERLY M                  237 DAVIS LN                                                                                                         BOLINGBROOK        IL    60440‐2333
PAPACONSTANTINOU HELEN G &       2 COUMBARI ST                                                                                 ATHENS 106 74 GREECE
ASSOCIATES
PAPADAKIS COVARRUBIAS APOLO      AV INDUSTRIA MINERA # 700 COL     ZONA INDUSTRIAL TOLUCA ESTADO                               DE MEXICO CP 50000
                                                                                                                               MEXICO
PAPADAKIS, PETE H                8718 MIDCROWN DR                                                                                                     SAN ANTONIO        TX    78239‐2033
PAPADELIS, MICHAEL               1294 THAMES DR                                                                                                       ROCHESTER HILLS    MI    48307‐5740
PAPADOPOULOS, CONSTANTIN A       511 FOUR SEASONS DR                                                                                                  WAYNE              NJ    07470‐1945
PAPADOPOULOS, TOULA              19267 COACHWOOD RD                                                                                                   RIVERVIEW          MI    48193‐7882
PAPADOR, GEORGIA H               5852 MARSTONE LN                                                                                                     GOLETA             CA    93117‐2120
PAPADOR‐MENDOZA, MARY L          1440 MANITOU RD                                                                                                      SANTA BARBARA      CA    93105‐4615
PAPADOROTHEOU, NICKOLAOS         2156 GLENBURY AVE                                                                                                    LAKEWOOD           OH    44107‐5414
PAPAGANO RAYMOND A (ESTATE OF)   FERRARO & ASSOCIATES              4000 PONCE DE LEON BLVD STE 700                                                    CORAL GABLES       FL    33146‐1434
(655714)
PAPAGANO, RAYMOND A              FERRARO & ASSOCIATES              4000 PONCE DE LEON BLVD STE 700                                                    CORAL GABLES        FL   33146‐1434

PAPAGEORGE, MARY                 14 PEQUOSSETTE ST                                                                                                    WATERTOWN          MA    02472‐2763
PAPAGEORGIOU, JAMIE M            158 SUNSET LN                                                                                                        TENAFLY            NJ    07670‐1613
PAPAGNO, FIORE L                 10910 SE 72ND TER                                                                                                    BELLEVIEW          FL    34420‐6326
PAPAI, DAVID                     1107 KINGSMILL DR                                                                                                    ANDERSON           IN    46012‐2623
PAPAI, ELIZABETH                 4307 SUSQUEHANNA PL                                                                                                  SAN DIEGO          CA    92117‐2027
PAPAI, ELIZABETH                 5311 NORTH 196TH AVE                                                                                                 LITCHFIELD PARK    AZ    85340
PAPAIOANNOU, ARISTIDES G         9063 LENORE                                                                                                          REDFORD            MI    48239‐1282
PAPAJ, ALICE                     161 BANKO DRIVE                                                                                                      DEPEW              NY    14043‐1229
PAPAJ, DONNA                     58 ROYAL AVE                                                                                                         BUFFALO            NY    14207‐1409
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Name                            Address1                              Address2                       Address3   Address4         City               State Zip
PAPAJ, EDWARD W                 56 GROTE ST                                                                                      BUFFALO             NY 14207‐2418
PAPAJ, JOHN S                   5058 HAMLIN CT                                                                                   SOUTH BEND          IN 46637
PAPAJ, JOHNNY M                 5058 HAMLIN CT                                                                                   SOUTH BEND          IN 46637‐5801
PAPAJ, RICHARD J                614 MEADOWBROOK DR                                                                               N TONAWANDA         NY 14120‐1978
PAPAJ, ROBERT D                 35 CORONET DR                                                                                    TONAWANDA           NY 14150‐5436
PAPAJCIK, JOSEPH J              18816 FAIRVILLE AVE                                                                              CLEVELAND           OH 44135‐3920
PAPAKONSTANTINOU, DIMITRIOS V   20466 NICKE ST                                                                                   CLINTON TWP         MI 48035‐4053
PAPAKONSTANTINOU, ISIDORA       20466 NICKE ST                                                                                   CLINTON TOWNSHIP    MI 48035
PAPAKONSTANTINOU, STAMATIOS     4140 VILLAGER DR                                                                                 ORION               MI 48359‐1886
PAPALAZAROU, DAFNE              6916 PINEHURST                                                                                   DEARBORN            MI 48126‐1981
PAPALE STEPHEN                  PAPALE, STEPHEN                       2280 UNION ST                                              SAN FRANCISCO       CA 94123‐3902
PAPALE, DAVID R                 PAPALE LAWRENCE G LAW OFFICES         1308 MAIN ST STE 117                                       SAINT HELENA        CA 94574‐1947
PAPALE, DOMINIC G               GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                               SAGINAW             MI 48604‐2602
                                                                      260
PAPALE, STEPHEN                 PATANE JOSEPH M LAW OFFICES           2280 UNION ST                                              SAN FRANCISCO      CA   94123‐3902
PAPALEO, ALBERT J               42 COURTLAND CIR                                                                                 BEAR               DE   19701‐1201
PAPALEO, M                      1047 SOUTH BELVOIR BLVD                                                                          SOUTH EUCLID       OH   44121
PAPALEO, SHARON M               500 1ST ST                                                                                       REHOBOTH BEACH     DE   19971
PAPALIA, DOMENICO               455 CREIGHTON LN                                                                                 ROCHESTER          NY   14612
PAPALIA, GIROLAMA               51 ALPINE DR                                                                                     WEBSTER            NY   14580‐9344
PAPALIA, JUDY                   106 KENDAL COURT                                                                                 SAVANNAH           GA   31419
PAPALIA, MARIA F                14960 ROOSEVELT HIGHWAY                                                                          KENT               NY   14477‐9779
PAPALIA, ROCCO                  51 ALPINE DR                                                                                     WEBSTER            NY   14580‐9344
PAPALIOS, ALEXIS M              9602 KING GRAVES RD NE                                                                           WARREN             OH   44484‐4129
PAPALIOS, CHERYL D              9602 KING GRAVES RD NE                                                                           WARREN             OH   44484‐4129
PAPALIOS, CHERYL D.             9602 KING GRAVES RD NE                                                                           WARREN             OH   44484‐4129
PAPALIOS, GEORGE M              9602 KING GRAVES RD NE                                                                           WARREN             OH   44484‐4129
PAPAN, PAUL A                   PO BOX 752                                                                                       GRANDVIEW          TX   76050‐0752
PAPAN, PAUL ANTHONY             PO BOX 752                                                                                       GRANDVIEW          TX   76050‐0752
PAPANASTANSOPOULOS, GEPRGE      6001 WOODCREEK                                                                                   YPSILANTI          MI   48197
PAPANASTASIOU, NICK ALEX        38555 CANYON DR                                                                                  WESTLAND           MI   48186‐3806
PAPANDREAS, EMANUEL             8725 STURGEN BAY LN                                                                              INDIANAPOLIS       IN   46236‐9025
PAPANEK, ALBERT V               757 UNION ST                                                                                     OWOSSO             MI   48867‐3959
PAPANEK, JOSEPH F               117 STRATFORD DR                                                                                 OWOSSO             MI   48867‐1756
PAPANIA, JAMES R                593 LAVINA DR                                                                                    BOLINGBROOK        IL   60440‐9033
PAPANTONIO ALFRED L (404427)    DEARIE & ASSOCS JOHN C                3265 JOHNSON AVE                                           BRONX              NY   10463
PAPANTONIO, ALFRED              DEARIE & ASSOCS JOHN C                3265 JOHNSON AVE                                           RIVERDALE          NY   10463
PAPANTONIOU, ANTONIOS           16752 FEATHERSTONE WAY                                                                           MACOMB             MI   48042‐1110
PAPANTONIOU, JORDAN A           54845 CARNATION DR                                                                               MACOMB             MI   48042‐1640
PAPAPETROS, LAZAROS             9431 HAYVENHURST AVE                                                                             SEPULVEDA          CA   91343‐3625
PAPAPIETRO, JOEL T              53 SHERMAN ST                                                                                    BRISTOL            CT   06010‐4950
PAPARAZZO, VITO J               387 BROOK ST                                                                                     BRISTOL            CT   06010‐4504
PAPARELLA, MICHAEL S            24560 JAMESTOWNE RD                                                                              NOVI               MI   48375‐2324
PAPARODIS, BESS                 250 GATEWAY DR APT B                                                                             MILFORD            OH   45150‐8707
PAPARODIS, BESS                 250 B GATEWAY DRIVE                                                                              MILFORD            OH   45150‐8707
PAPARONE, ROSE                  38 KENCREST DR                                                                                   ROCHESTER          NY   14606‐5832
PAPAS, CARIN B                  15176 W GUNSIGHT DR                                                                              SUN CITY WEST      AZ   85375‐2929
PAPAS, CHARLES J                1466 STEPNEY ST                                                                                  NILES              OH   44446‐3736
PAPAS, CHRIS                    196 PINEWOOD RD                                                                                  TOMS RIVER         NJ   08753‐2582
PAPASAVVA, STELLA               3035 SYLVAN DR                                                                                   ROYAL OAK          MI   48073‐3247
PAPASTAMATIS, EMMANUEL K        15351 CRESTWOOD DR                                                                               MACOMB             MI   48044‐1911
PAPASTAVROS ASSOCIAT            PO BOX 6015                                                                                      NEWARK             DE   19714‐6015
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Name                              Address1                          Address2                Address3              Address4         City               State Zip
PAPASTAVROS' ASSOCIATES MEDICAL   1701 AUGUSTINE CUT‐OFF                                                                           WILMINGTON          DE 19803
IMAGING,
PAPATHANASIOU, KOSTAS             5415 FLORIA DR                                                                                   SWARTZ CREEK       MI   48473‐8826
PAPATHEODORE, JEANNE M            2469 CRANE RD                                                                                    FENTON             MI   48430‐1055
PAPATYI, JULIUS G                 3300 FOREST CIR                                                                                  BLAIRSVILLE        GA   30512‐8123
PAPAVASILIOU, DIMITRIOS E         1828 BROWNING AVE                                                                                MADISON HTS        MI   48071‐2039
PAPAVASILIOU, EFSTRATIOS          28226 GROVELAND ST                                                                               MADISON HEIGHTS    MI   48071‐2806
PAPAVASILIOU, SPYRIDOULA E        44666 PINE DR #11‐103                                                                            STERLING HTS       MI   48313‐1260
PAPAVASILIOU, SPYRIDOULA E        44666 PINE DR                     NO 11‐103                                                      STERLING HTS       MI   48313‐1260
PAPAY, BERNARD G                  6873 CARRIAGE HILLS DR                                                                           CANTON             MI   48187‐3045
PAPAY, FRANK S                    6337 NORTH MURRAY RIDGE RO                                                                       ELYRIA             OH   44035
PAPAYIK, F J                      2827 WILD VALLEY DR                                                                              HIGH RIDGE         MO   63049‐1544
PAPAZIAN SR, CHRIS C              607 SUMMERHILL CT APT A                                                                          SAFETY HARBOR      FL   34695‐4357
PAPAZIAN, ARAM H                  2797 STEEPLECHASE                                                                                HIGHLAND           MI   48357‐4251
PAPAZIAN, JACK                    PO BOX 2403                                                                                      TEMECULA           CA   92593‐2403
PAPAZIAN, MARY A                  223 REDWINE DR                                                                                   HOUGHTON LAKE      MI   48629‐9135
PAPAZIAN, MARY A                  223 REDWINE DRIVE                                                                                HOUGHTON LAKE      MI   48629‐9135
PAPAZIAN, THOMAS S                4167 BOSCHER RD                                                                                  HOWELL             MI   48843‐9402
PAPAZOVA, ZORNITSA T              39117 PRENTISS ST APT 303                                                                        HARRISON TWP       MI   48045‐6035
PAPCIAK, EDWARD M                 811 RONLEE LN                                                                                    YOUNGSTOWN         OH   44512‐4136
PAPCIAK, JOHN F                   PO BOX 560343                                                                                    ROCKLEDGE          FL   32956‐0343
PAPCIAK, MARION R                 40831 JELLICO DR                                                                                 STERLING HTS       MI   48313‐4241
PAPCIAK, STANLEY
PAPCIAK, STANLEY                  7623 RING NECK DR                                                                                WATERFORD          MI   48327‐4335
PAPCIAK, STANLEY J                65 DEXTER TER                                                                                    TONAWANDA          NY   14150‐2917
PAPCIAK, WILLIAM D                11824 LUTZ AVE                                                                                   WARREN             MI   48093‐7015
PAPCKE, DARVON L                  N 7137 HWY P                                                                                     WHITEWATER         WI   53190‐4471
PAPCKE, DARVON L                  N7137 COUNTY ROAD P                                                                              WHITEWATER         WI   53190‐4471
PAPCO                             1895 S 10TH ST                                                                                   SAN JOSE           CA   95112‐4100
PAPCUN, CHRISTOPHER M             53485 LUANN DR                                                                                   SHELBY TWP         MI   48316‐2607
PAPCUN, MICHAEL J                 53485 LUANN DR                                                                                   SHELBY TWP         MI   48316‐2607
PAPE CHEVROLET INC                MONAGHAN LEAHY HOCHADEL & LIBBY   PO BOX 7046             95 EXCHANGE STREET,                    PORTLAND           ME   04112‐7046

PAPE CHEVROLET, INC.              FREDERICK PAPE                    425 WESTBROOK ST                                               SOUTH PORTLAND     ME   04106‐1907
PAPE CHEVROLET, INC.              425 WESTBROOK ST                                                                                 SOUTH PORTLAND     ME   04106‐1907
PAPE I I, BURTON D                PO BOX 367                                                                                       GOODRICH           MI   48438‐0367
PAPE MAVIS                        8605 ALTUS CV                                                                                    AUSTIN             TX   78759‐7920
PAPE, CAROL G                     323 PRESTON ST                                                                                   COUNCIL GROVE      KS   66846‐1158
PAPE, DANIEL A                    266 SOUTH HIGH STREET                                                                            CORTLAND           OH   44410‐1447
PAPE, DANIEL A                    266 S HIGH ST                                                                                    CORTLAND           OH   44410‐1447
PAPE, DAWN                        6855 FENTON ST                                                                                   DEARBORN HEIGHTS   MI   48127‐2116
PAPE, GERALD D                    16150 246TH ST BOX 107                                                                           TONGANOXIE         KS   66086
PAPE, HOWARD A                    4631 E WINDMILL DR                                                                               INVERNESS          FL   34453‐1520
PAPE, JACK H                      4323 CONCORD ST                                                                                  SAGINAW            MI   48603‐2014
PAPE, JIMMY A                     11287 ARMSTRONG DR S                                                                             SAGINAW            MI   48609‐9621
PAPE, JOAN D                      3833 FRANKLIN AVE                                                                                WESTERN SPRGS      IL   60558‐1102
PAPE, JOHN W                      1121 N CHALLENGE RD                                                                              MUNCIE             IN   47304‐5013
PAPE, JOHN WILLIAM                1121 N CHALLENGE RD                                                                              MUNCIE             IN   47304‐5013
PAPE, MARCIA A                    APT 8                             2280 ANNABELLE STREET                                          FERNDALE           MI   48220‐3429
PAPE, MARIE J                     826 DAHOON CIR                                                                                   VENICE             FL   34293‐7251
PAPE, MARJORIE J                  321 OAKWOOD RD                                                                                   ROCHESTER          NY   14616‐4544
PAPE, MARY A                      1074 DEVON DR                                                                                    PLAINWELL          MI   49080‐1056
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Name                           Address1                         Address2                         Address3   Address4         City              State Zip
PAPE, MARY A                   1074 DEVON ST                                                                                 PLAINWELL          MI 49080‐1056
PAPE, NANCY                    266 S HIGH ST                                                                                 CORTLAND           OH 44410‐1447
PAPE, RICK L                   11760 CRUM RD                                                                                 PLAINWELL          MI 49080‐9046
PAPEIKA, MARY                  11 CHARLES ST                                                                                 PLAINS             PA 18705‐1909
PAPENBROCK, DUSTIN J           6790 N 900 E                                                                                  CHURUBUSCO         IN 46723‐9345
PAPENBROCK, RUTH D             4855 LODGEVIEW DRIVE                                                                          HUBER HIGHTS       OH 45424‐5424
PAPENDICK, ALLEN               2640 KNOB CREEK RD                                                                            COLUMBIA           TN 38401‐1428
PAPENDICK, GREG J              2476 N GEECK RD                                                                               CORUNNA            MI 48817‐9709
PAPENDICK, PEARL G             3601 CIRCLE DR                                                                                FLINT              MI 48507‐1887
PAPENDICK, ROBERT J            3505 E FRANCES RD                                                                             CLIO               MI 48420‐9761
PAPENDICK, WILLIAM A           305 ONTARIO ST                                                                                HOUGHTON LAKE      MI 48629‐9746
PAPENFUS, NELSON A             1080 16TH ST NE                                                                               NAPLES             FL 34120‐3511
PAPENGUTH, LOREN R             8580 WOODWAY DR APT 1324                                                                      HOUSTON            TX 77063‐2471
PAPENHAGEN, SANDRA S           505 GILES AVE                                                                                 BLISSFIELD         MI 49228
PAPER HOUSE PRODUCTIONS INC.
PAPER PUBLISHING COMPANY       DAVID HERSHKOVITS                15 E 32ND STREET                                             NEW YORK          NY 10016
PAPER THERMOM/GRNFLD           PO BOX 129                                                                                    GREENFIELD        NH 03047‐0129
PAPERI, MAURICE                21613 BROADWAY ST                                                                             ST CLAIR SHRS     MI 48080‐4002
PAPERLINX LTD
PAPERS UNLIMITED               13177 LAKE SHORE DR                                                                           FENTON            MI   48430‐1017
PAPES III, PHILIP E            3012 MONTICELLO DR                                                                            PORT HURON        MI   48060‐1854
PAPES JR, STEPHEN B            5104 DENNIS ST                                                                                FLINT             MI   48506‐1116
PAPES, BERNARD D               5201 RAUBINGER RD                                                                             SWARTZ CREEK      MI   48473‐1620
PAPES, PAUL J                  5240 LEAR NAGLE RD                                                                            N RIDGEVILLE      OH   44039‐2112
PAPESH DEBBIE                  PAPESH, DEBBIE                   120 WEST MADISON STREET , 10TH                               CHICAGO           IL   60602
                                                                FLOOR
PAPESH STEPHEN                 PAPESH, STEPHEN                  3359 S OAKLEY AVE                                            CHICAGO           IL   60608‐6024
PAPESH, ANTHONY R              13835 MILO RD                                                                                 GARFIELD HTS      OH   44125‐5258
PAPESH, ARLYN L                300 PEALE ST                                                                                  JOLIET            IL   60433‐2140
PAPESH, LAWRENCE               6221 S 12TH ST                                                                                PORTAGE           MI   49024‐1001
PAPESH, MARY ANN               806 ROSELLE ST                                                                                LINDEN            NJ   07036‐2521
PAPESH, MARY ANN               806 ROSELLE STREET                                                                            LINDEN            NJ   07036‐2521
PAPESH, STEPHEN                3359 S OAKLEY AVE                                                                             CHICAGO           IL   60608‐6024
PAPESH, WILLIAM E              1812 BANBURY RD                                                                               KALAMAZOO         MI   49001‐5204
PAPI, ANTHONY A                7891 TURRILLIUM LN                                                                            WATERFORD         MI   48327‐4348
PAPIA, FRANCESCA               CALDWELL MICHAEL TRAIN           COURTHOUSE SQUARE 1000                                       SAN RAFAEL        CA   94901
                                                                FOURTH STREET, SUITE 875
PAPIA, PAUL J                  6324 SHIMER DR                                                                                LOCKPORT          NY   14094‐6406
PAPIC, DANIEL R                4186 STAATZ DR                                                                                YOUNGSTOWN        OH   44511‐1852
PAPIC, MARK R                  1914 CREEKS CROSSING CT                                                                       GROVE CITY        OH   43123‐8339
PAPIC, PHILLIP S               701 SHELTON RD                                                                                SALEM             OH   44460‐9756
PAPIERNIAK, EDWARD J           4337 51ST ST                                                                                  DETROIT           MI   48210‐2721
PAPIERSKI, FLORENCE A          34601 ELMWOOD AVENUE             APT#117                                                      WESTLAND          MI   48185
PAPIERSKI, FLORENCE A          34601 ELMWOOD ST APT 117                                                                      WESTLAND          MI   48185‐3077
PAPIERZ, KENNETH E             7005 COLONIAL DR                                                                              NIAGARA FALLS     NY   14305‐1461
PAPIEZ, DONALD R               523 CENTRAL DR                                                                                LAKE ORION        MI   48362‐2308
PAPIEZ, JAMES J                9151 COOLEY LAKE RD                                                                           WHITE LAKE        MI   48386‐4033
PAPIEZ, JAMES JOSEPH           9151 COOLEY LAKE RD                                                                           WHITE LAKE        MI   48386‐4033
PAPIEZ, JANET M                212 N GATES RD                                                                                SANDUSKY          MI   48471‐9778
PAPIEZ, MARION V               4850 PARK MNR E APT 4302                                                                      SHELBY TOWNSHIP   MI   48316‐4933
PAPIK MOTORS, INC.             801 COMMERCE RD                                                                               LUVERNE           MN   56156‐2264
PAPIK MOTORS, INC.             GARY PAPIK                       801 COMMERCE RD                                              LUVERNE           MN   56156‐2264
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Name                       Address1                        Address2                      Address3             Address4                  City               State Zip
PAPILI, LOUISE A           309 S DUPONT RD                                                                                              WILMINGTON          DE 19804‐1327
PAPILI, LOUISE A           309 SOUTH DUPONT ROAD                                                                                        WILMINGTON          DE 19804‐1327
PAPILI, ROBERT             120 CURTIS AVE                                                                                               WILMINGTON          DE 19804‐1911
PAPILLI CARLO              LA SCALA                        STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO ITALY
PAPILLION TIRE INC.        1221 ROYAL DR                                                                                                PAPILLION          NE 68046
PAPILLON SPINKS            39355 DELLA ROSA DR                                                                                          STERLING HEIGHTS   MI 48313‐5225
PAPIN, IRENE T             591 FLOWERDALE ST                                                                                            FERNDALE           MI 48220‐1873
PAPIN, JOHN P              27 RU‐DES GRANDS CHENES                                                            THIONVILLE 57100 FRANCE
PAPIN, RICHARD I           16750 SE 102ND COURT RD                                                                                      SUMMERFIELD        FL   34491‐6661
PAPIN, ROBERT              879 SUN VALLEY DR                                                                                            N TONAWANDA        NY   14120‐1950
PAPIN, SHARON              4234 IDE RD                                                                                                  WILSON             NY   14172‐9802
PAPIN, WANDA J             11401 BLOOMINGTON CT                                                                                         NEW PORT RICHEY    FL   34654‐1652
PAPINCHAK, MICHAEL         223 MELVILLE LN                                                                                              SEWICKLEY          PA   15143‐1821
PAPINEAU, ANN H            621 MCKINLEY AVE                                                                                             FLINT              MI   48507‐2753
PAPINEAU, BETTY E          13018 NICHOLS ROAD                                                                                           MONTROSE           MI   48457‐9771
PAPINEAU, BRUCE D          621 MCKINLEY AVE                                                                                             FLINT              MI   48507‐2753
PAPINEAU, CARRIE E         12093 SCHONBORN PL                                                                                           CLIO               MI   48420
PAPINEAU, CHARLES F        16949 DRIFTWOOD DR                                                                                           MACOMB             MI   48042‐3604
PAPINEAU, CHERYL Y         1110 38TH AVE APT 315                                                                                        MENOMINEE          MI   49858‐1500
PAPINEAU, ELIZABETH L      PO BOX 308                                                                                                   ROOSEVELTOWN       NY   13683‐0308
PAPINEAU, JAMES E          PO BOX 436                                                                                                   NAUBINWAY          MI   49762‐0436
PAPINEAU, JAMES E          LAKE ST BOX 436                                                                                              NAUBINWAY          MI   49762‐0436
PAPINEAU, JANET G          21676 ALDERBROOK                                                                                             MISSION VIEJO      CA   92692‐3012
PAPINEAU, JENNIFER L       12311 SAINT ANDREWS WAY                                                                                      FENTON             MI   48430‐8877
PAPINEAU, JENNIFER LYNN    12311 SAINT ANDREWS WAY                                                                                      FENTON             MI   48430‐8877
PAPINEAU, JOHN P           1012 DUNDEE RD                                                                                               DUNDEE             FL   33838
PAPINEAU, KAREN D          1012 DUNDEE RD 1112                                                                                          DUNDEE             FL   33838
PAPINEAU, ROGER S          8670 DEMERLY RD                                                                                              BENZONIA           MI   49616
PAPINEAU, VIRGINIA L       103 W HENRY ST                                                                                               FLUSHING           MI   48433‐1570
PAPINEAU, WINTON P         1814 MENOHER BLVD                                                                                            JOHNSTOWN          PA   15905‐1725
PAPINENI, KUMAR N          2808 SANTIA DR                                                                                               TROY               MI   48085‐3983
PAPINENI, KUMAR NVS        2808 SANTIA DR                                                                                               TROY               MI   48085‐3983
PAPKA, JEAN                54699 BADGER RD                                                                                              NEW LONDON         MO   63459‐5105
PAPKA, RAYMOND H           2935 HOMEWOOD AVE                                                                                            SAINT CHARLES      MO   63301‐4663
PAPKE CHARLES L (629598)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA   23510
                                                           STREET, SUITE 600
PAPKE, AARON EDWARD        6309 MAYVILLE RD                                                                                             CLIFFORD           MI   48727
PAPKE, ALAN P              1801 MAPLE ST                                                                                                WYANDOTTE          MI   48192‐5415
PAPKE, ALLEN J             950 SHAWMUT CT NW                                                                                            GRAND RAPIDS       MI   49504‐3773
PAPKE, BARBARA J           42600 CHERRY HILL RD APT 145                                                                                 CANTON             MI   48187‐3784
PAPKE, CHARLES L           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA   23510‐2212
                                                           STREET, SUITE 600
PAPKE, ERNEST M            2461 JUDY CONN DR                                                                                            LAPEER             MI   48446‐8332
PAPKE, JOSEPH J            40461 M‐43 W.                                                                                                PAW PAW            MI   49079
PAPKE, KENNETH C           1124 MORELAND CT                                                                                             ROCHESTER HILLS    MI   48307‐3094
PAPKE, LARRY M             3463 LEEWOOD DR                                                                                              LAKE ORION         MI   48360‐1614
PAPKE, MARIE R             PO BOX 144                                                                                                   NORTH STREET       MI   48049‐0144
PAPKE, MARIE R             5521 WILDCAT RD P O BOX 144                                                                                  NORTH STREET       MI   48049‐0144
PAPKE, MARK H              1806 DAKOTA AVE                                                                                              FLINT              MI   48506‐4600
PAPKE, ROBERT C            144 THOROUGHBRED TRL            SADDLEBROOK PARK                                                             CORBIN             KY   40701‐5909
PAPKE, RONALD L            41 N BROCKWAY AVE                                                                                            YOUNGSTOWN         OH   44509‐2314
PAPKE, THOMAS C            1165 ROSSFIELD ST                                                                                            WHITE LAKE         MI   48386‐4337
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Name                               Address1                         Address2                      Address3   Address4             City               State Zip
PAPKE, TONI S                      4973 N AYERS RD                                                                                AKRON               NY 14001‐9533
PAPKE, WILLI                       PO BOX 191                       REASONOVER ROAD                                               CEDAR MOUNTAIN      NC 28718‐0191
PAPKEY, JOYCE L                    12103 E RICHFIELD RD                                                                           DAVISON             MI 48423‐8406
PAPKEY, NORMAN A                   12103 E RICHFIELD RD                                                                           DAVISON             MI 48423‐8406
PAPLANUS, SKIP M                   1272 TRINIDAD LN                                                                               MOSCOW MILLS        MO 63362‐1085
PAPLER, JACQUELINE                 1575 MARION AVE                                                                                LINCOLN PARK        MI 48146‐2117
PAPLIN, RICHARD B                  1370 MORRISON BLVD                                                                             CANTON              MI 48187‐3428
PAPLIN, ROBERT H                   6566 CRONIN DR                                                                                 DEARBORN HTS        MI 48127‐1962
PAPLINSKAS, ALBERT J               6136 SHADY SHRS                                                                                LAKE ANN            MI 49650‐9715
PAPOI, KAREN K                     4355 FIELDVIEW DR                                                                              GRAND LEDGE         MI 48837‐8191
PAPOTTA, MARGARET M                27700 BISHOP PARK DR APT S‐816                                                                 WILLOUGHBY HILLS    OH 44092
PAPOW, ALEXANDER W                 13419 TERRA SANTA DR                                                                           STERLING HEIGHTS    MI 48312‐4166
PAPOY, MARK R                      131 IKERD LN                                                                                   BEDFORD             IN 47421‐8741
PAPP CHRISTINE                     PAPP, KIRSTINE                   PO BOX 1054                                                   WARWICK             NY 10990
PAPP JR, CHARLES M                 2336 CORNWALL DRIVE                                                                            XENIA               OH 45385‐4714
PAPP JR, GEORGE T                  6060 AFTON DR                                                                                  DAYTON              OH 45415‐1826
PAPP JR, JAMES E                   6315 COUNTRY ESTATES DR                                                                        TIPP CITY           OH 45371‐2007
PAPP JR,CHARLES M                  2336 CORNWALL DR                                                                               XENIA               OH 45385‐4714
PAPP OTTO                          317 SIDNEY BAKER ST S STE 400                                                                  KERRVILLE           TX 78028
PAPP PLASTICS                      MIKE PAPP                        6110 MORTON INDUSTRIAL PKWY              KINGSTON ON CANADA
PAPP PLASTICS & DISTRIBUTING L     3780 TECUMSEH RD E                                                        WINDSOR ON N8W 1H9
                                                                                                             CANADA
PAPP PLASTICS & DISTRIBUTING L     6110 MORTON INDUSTRIAL PKY                                                WINDSOR ON N9J 3W3
                                                                                                             CANADA
PAPP PLASTICS & DISTRIBUTING LTD   3780 TECUMSEH RD E                                                        WINDSOR ON N8W 1H9
                                                                                                             CANADA
PAPP PLASTICS & DISTRIBUTING LTD   MIKE PAPP                        6110 MORTON INDUSTRIAL PKWY              WINDSOR ON CANADA
PAPP PLASTICS & DISTRIBUTING LTD   6110 MORTON INDUSTRIAL PKY                                                WINDSOR ON N9J 3W3
                                                                                                             CANADA
PAPP SR, CHARLES M                 2000 WATERSTONE BLVD             UNIT #206                                                     MIAMISBURG         OH   45342‐5342
PAPP SR, CHARLES M                 2000 WATERSTONE BLVD APT 206                                                                   MIAMISBURG         OH   45342‐0524
PAPP SR, CHARLES MICHAEL           APT 206                          2000 WATERSTONE BOULEVARD                                     MIAMISBURG         OH   45342‐0524
PAPP STRAUB ASSOCIATES INC         4517 TAYLOR LN                                                                                 CLEVELAND          OH   44128‐5756
PAPP, BERNADETTE N                 6541 DOWNS RD NW                                                                               WARREN             OH   44481‐9416
PAPP, CLARENCE                     G 3477 W PARKWAY                                                                               FLINT              MI   48504
PAPP, COLMAN L                     PO BOX 289                                                                                     VALLEY CITY        OH   44280‐0289
PAPP, DAVID A                      13043 TOWERING OAKS DR                                                                         SHELBY TWP         MI   48315‐1325
PAPP, DONALD S                     13827 HEARTHSTONE LN                                                                           HARTLAND           MI   48353‐3145
PAPP, DOUGLAS C                    PO BOX 451                                                                                     CAPAC              MI   48014‐0451
PAPP, EDWARD A                     327 MERRITT ST                                                                                 FIFE LAKE          MI   49633‐9300
PAPP, EUGENE A                     13417 CROSSBURN AVE                                                                            CLEVELAND          OH   44135‐5025
PAPP, GEORGE E                     445 EVELYN DR                                                                                  CANON CITY         CO   81212‐9453
PAPP, GLORIA J                     13043 TOWERING OAKS DR                                                                         SHELBY TOWNSHIP    MI   48315‐1325
PAPP, HENRY W                      5801 S 42ND AVE                                                                                PHOENIX            AZ   85041‐4111
PAPP, IMRE                         181 KENNEDY BLVD                                                                               NORTHFIELD         OH   44067‐1208
PAPP, JAMES E                      136 SAVOY AVE                                                                                  DAYTON             OH   45449‐1725
PAPP, JAMES E                      136 SAVOY AVE.                                                                                 W. CARROLLTON      OH   45449‐1725
PAPP, JOSEPH                       4141 WAXWING TRL                                                                               STOW               OH   44224‐2574
PAPP, KIRSTINE                     PO BOX 1054                                                                                    WARWICK            NY   10990‐8054
PAPP, MARIE B                      5887 KEYSTONE DR                                                                               BETHEL PARK        PA   15102‐3359
PAPP, MARIE H                      11 S 474 HILL RD RR2                                                                           LEMONT             IL   60439
PAPP, MARY                         4388 CENTRAL AVE SPC 111                                                                       CAMARILLO          CA   93010‐8508
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Name                       Address1                       Address2              Address3       Address4         City                   State Zip
PAPP, MARY L               5275 E. FRANCES RD                                                                   MT MORRIS               MI 48458‐9751
PAPP, MARY L               5275 E FRANCES RD                                                                    MOUNT MORRIS            MI 48458‐9751
PAPP, MICHAEL              4542 MOUNTAIN VIEW TRL                                                               CLARKSTON               MI 48348‐2345
PAPP, NANCY Z              6729 STEWART SHARON RD                                                               BROOKFIELD              OH 44403‐9788
PAPP, NANCY Z              6729 STEWART‐SHARON RD, S.E                                                          BROOKFIELD              OH 44403‐9788
PAPP, ROBERT L             306 N UNIONVILLE RD                                                                  CARO                    MI 48723‐9679
PAPP, TED                  724 FRANKLIN AVE                                                                     CUYAHOGA FALLS          OH 44221‐1220
PAPPA, DANIEL              2750 WILDWOOD LN                                                                     STEVENSVILLE            MI 49127‐1055
PAPPA, FRANCES T           5460 LAKEVIEW DR                                                                     HUBBARD                 OH 44425‐2701
PAPPA, GEORGE E            3826 W 109TH ST                                                                      CHICAGO                  IL 60655‐3947
PAPPACHRISTOU, SHIRLEY M   203 FIR                                                                              NEW LENOX                IL 60451‐1430
PAPPACHRISTOU, SHIRLEY M   203 FIR ST                                                                           NEW LENOX                IL 60451‐1430
PAPPADA, ALINE V           1725 BELLE TERRE                                                                     NILES                   OH 44446‐4121
PAPPADA, NICHOLAS A        1009 N BENTLEY AVE                                                                   NILES                   OH 44446‐5261
PAPPADAKE, PETER           29 KENDALL AVE                                                                       SLEEPY HOLLOW           NY 10591‐2210
PAPPAGALLO, ANDREW J       1186 CEDARWOOD DRIVE                                                                 MINERAL RIDGE           OH 44440‐4440
PAPPAGALLO, ANDREW J       6793 FOX CROSSING CT                                                                 AUSTINTOWN              OH 44515‐5614
PAPPAGALLO, ANTHONY N      111 EAGLE ST                                                                         WILLIAMSVILLE           NY 14221‐5523
PAPPAGALLO, ELEANOR        1349 GEORGE URBAN BLVD                                                               CHEEKTOWAGA             NY 14225‐3870
PAPPAGALLO, PATRICK J      59 HAMMERSCHMIDT AVE                                                                 BUFFALO                 NY 14210‐2228
PAPPAGALLO, ROSALIE        111 EAGLE ST                                                                         WILLIAMSVILLE           NY 14221‐5523
PAPPAGALLO, ROSALIE        111 EAGLE ST.                                                                        WILLIMASVILLE           NY 14221
PAPPAGEORGE HELEN          3725 95TH ST                                                                         JACKSON HEIGHTS         NY 11372‐8026
PAPPAL, RANDALL L          PO BOX 9022                                                                          WARREN                  MI 48090‐9022
PAPPALARDO JR, FRED J      6069 VERA CRUZ DR                                                                    SAN JOSE                CA 95120‐4802
PAPPALARDO THOMAS          10189 WOODBURY DR                                                                    WEXFORD                 PA 15090‐9581
PAPPALARDO, ANGELO         VIA SALVATORE ROSA NO52                                                              BAGHERI PALERMO
PAPPALARDO, JOSEPH T       5452 W WEBB RD                                                                       AUSTINTOWN             OH   44515‐1135
PAPPALARDO, KATHLEEN A     25091 ARDEN PARK DR                                                                  FARMINGTON HILLS       MI   48336‐1610
PAPPALARDO, MARIAN K       4286 BURKEY RD                                                                       YOUNGSTOWN             OH   44515‐3532
PAPPALARDO, MARISA A       11836 LARKINS RD                                                                     BRIGHTON               MI   48114‐9008
PAPPALARDO, MONA           1883 MARSH LN                                                                        PAINESVILLE            OH   44077‐4779
PAPPALARDO, MONA           1883 MARSH LANE                                                                      PAINESVILLE TOWNSHIP   OH   44077‐4779
PAPPALARDO, THOMAS J       25091 ARDEN PARK DR                                                                  FARMINGTN HLS          MI   48336‐1610
PAPPAS INC                 ATTN: JOHN PAPPAS              575 E MILWAUKEE ST                                    DETROIT                MI   48202‐3237
PAPPAS JEANETTE            846 YORKTOWN CT                                                                      NORTHVILLE             MI   48167‐1008
PAPPAS JR, ANTHONY         12 S LAKEVIEW DR                                                                     JACKSON                NJ   08527‐2703
PAPPAS JR, WILLIAM P       2835 W 97TH PL                                                                       EVERGREEN PK           IL   60805‐2651
PAPPAS MAXINE              34540 GLEN DR                                                                        EASTLAKE               OH   44095‐2614
PAPPAS T                   1360 BABEL LN                                                                        CONCORD                CA   94518‐1655
PAPPAS, ANNE               31230 LAHSER RD                                                                      BEVERLY HILLS          MI   48025‐3631
PAPPAS, CARY F             2343 CLUBSIDE CT APT 1625                                                            PALM HARBOR            FL   34683‐1784
PAPPAS, CARY F             APT 1625                       2343 CLUBSIDE COURT                                   PALM HARBOR            FL   34683‐1784
PAPPAS, CHRIS              2848 WOODLAND ST NE                                                                  WARREN                 OH   44483‐4420
PAPPAS, CLYDE S            7329 WRENBURY ST                                                                     PORTAGE                MI   49024‐4021
PAPPAS, DEANNA M           5970 CHEROKEE ST                                                                     TAYLOR                 MI   48180‐1200
PAPPAS, DEANNA MARIE       5970 CHEROKEE ST                                                                     TAYLOR                 MI   48180‐1200
PAPPAS, DENESE M           5737 BEACH SMITH RD                                                                  KINSMAN                OH   44428‐9749
PAPPAS, DENNIS J           20697 SOMERSET CT                                                                    RIVERVIEW              MI   48193‐7931
PAPPAS, DIANA L            26201 LITTLE MACK AVE                                                                SAINT CLAIR SHORES     MI   48081‐3382
PAPPAS, DONALD L           3257 S OGEMAW TRL                                                                    WEST BRANCH            MI   48661‐9733
PAPPAS, ELEANOR R          1114 WASHINGTON CIR                                                                  NORTHVILLE             MI   48167‐1006
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Name                      Address1                        Address2          Address3         Address4         City               State Zip
PAPPAS, ERNEST T          1025 OHLTOWN RD                                                                     YOUNGSTOWN          OH 44515‐1022
PAPPAS, EVELYN            3917 ESTATES DRIVE                                                                  TROY                MI 48084‐1143
PAPPAS, GEORGE            7906 UNA DR                                                                         SAGINAW             MI 48609‐4994
PAPPAS, GEORGE T          5738 PONITAC LAKE RD                                                                WATERFORD           MI 48327‐2115
PAPPAS, GREGG A           7405 MICHIGAN RD                                                                    BAY CITY            MI 48706‐9313
PAPPAS, GUS               146 BIDDLE AVE                                                                      WYANDOTTE           MI 48192‐2513
PAPPAS, GUS F             2400 BRISBANE ST                                                                    WOLVERINE LAKE      MI 48390‐1830
PAPPAS, HARRY             26441 KINYON ST                                                                     TAYLOR              MI 48180‐3090
PAPPAS, HARRY             15382 PAGE ST                                                                       OMAHA               NE 68154‐1840
PAPPAS, HELEN             3671 BERKSHIRE DR                                                                   BLOOMFIELD HILLS    MI 48301‐4041
PAPPAS, JAMES             603 63RD AVE                    LOT M 2                                             BRADENTON           FL 34207
PAPPAS, JAMES F           1297 SPRINGWOOD CT                                                                  HOWELL              MI 48843‐7032
PAPPAS, JEAN P            2838 MONTGOMERY AVENUE NW                                                           WARREN              OH 44485‐1430
PAPPAS, JEANETTE M        846 YORKTOWN CT                                                                     NORTHVILLE          MI 48167‐1008
PAPPAS, JIM               2113 BOLLEY DR                                                                      LANSING             MI 48912‐5121
PAPPAS, JOHN              1308 AUTUMN DR                                                                      TROY                MI 48098‐5108
PAPPAS, JOHN M            2895 YOUNGSTOWN KINGSVILLE RD                                                       CORTLAND            OH 44410‐9486
PAPPAS, JOSEPH R          1701 MAIN ST                                                                        WELLSVILLE          OH 43968‐1135
PAPPAS, JUDIE E           6201 BAY CLUB DR APT 1                                                              FT LAUDERDALE       FL 33308‐1519
PAPPAS, JUDITH L          1025 OHLTOWN ROAD                                                                   YOUNGSTOWN          OH 44515‐1022
PAPPAS, JUDITH L          1025 OHLTOWN RD                                                                     YOUNGSTOWN          OH 44515‐1022
PAPPAS, LOUIS             209 GLENBRIAR CIR                                                                   DAYTONA BEACH       FL 32114‐7144
PAPPAS, MARY              2882 BARKER ROAD                                                                    WHITMORE LAKE       MI 48189‐9515
PAPPAS, MARY              2882 BARKER RD                                                                      WHITMORE LAKE       MI 48189‐9515
PAPPAS, MATTHEW J         815 W BRECKENRIDGE ST                                                               FERNDALE            MI 48220‐1259
PAPPAS, MAXINE            34540 GLEN DR                                                                       EASTLAKE            OH 44095‐2614
PAPPAS, MELISSA M         11405 WEIMAN DR                                                                     PINCKNEY            MI 48169‐9019
PAPPAS, MICHAEL G         7494 BROOKSIDE DR                                                                   HANOVER PARK         IL 60133‐2603
PAPPAS, MICHAEL S         6434 WILLIAMS LAKE RD                                                               WATERFORD           MI 48329‐3066
PAPPAS, MILTON G          4461 GREGORY RD                                                                     GOODRICH            MI 48438‐9650
PAPPAS, NEOMA K           208 PIGEON ST                                                                       PRUDENVILLE         MI 48651‐9216
PAPPAS, NICOLIA           15521 BLUE SKIES ST                                                                 LIVONIA             MI 48154‐1517
PAPPAS, OLIVE D           423 PATTIE DRIVE                                                                    BEREA               OH 44017‐2432
PAPPAS, OLIVE D           423 PATTIE DR                                                                       BEREA               OH 44017‐2432
PAPPAS, ROBERT G          2832 HIGH RANGE DR                                                                  LAS VEGAS           NV 89134‐7540
PAPPAS, STEPHEN T         3125 JOHNSON RD                                                                     MIDDLEVILLE         MI 49333‐8526
PAPPAS, THOMAS B          5652 SHERMAN RD                                                                     SAGINAW             MI 48604‐1139
PAPPAS, TIMOTHY           21450 MERRIMAN RD                                                                   NEW BOSTON          MI 48164‐9703
PAPPAS, TRACEY L          1055 CLEARVIEW DR                                                                   OXFORD              MI 48371‐5976
PAPPAS, VASILIKI L        23244 MONTCLAIR ST                                                                  FARMINGTON HILLS    MI 48336‐3546
PAPPAS, VOULIS P          17949 RAYMER ST                                                                     NORTHRIDGE          CA 91325‐3156
PAPPAZI, JOHN A           24605 PRINCETON ST                                                                  ST CLAIR SHRS       MI 48080‐3163
PAPPAZI, LISA M           26660 CLANCY ST                                                                     ROSEVILLE           MI 48066‐3151
PAPPENFUSS, GORDON W      47 PRIVATE ROAD A25                                                                 PLEASANTON          TX 78064‐5315
PAPPENHEIMER, DAVID L     15406 BISHOP RD                                                                     CHESANING           MI 48616‐9466
PAPPENHIEMER, CHARLES A   7227 CARPENTER RD                                                                   FLUSHING            MI 48433‐9040
PAPPERT, CATHY            28724 STONEHENGE                                                                    CHESTERFIELD        MI 48047
PAPPERT, DONNA L          4559 KATHY CIR LOT 43                                                               POWDER SPRINGS      GA 30127
PAPPERT, ROBERT J         302 DUNBAR RD                                                                       HILTON              NY 14468‐9106
PAPPIS PAULINE            428 FAIRVIEW RD                                                                     WOODLYN             PA 19094‐1207
PAPPLE, CLIFFORD L        3175 GREENWOOD DR                                                                   ROCHESTER HILLS     MI 48309‐3923
PAPPROTH, LOUIS P         138 UPPER STONE AVE                                                                 BOWLING GREEN       KY 42101‐9139
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Name                       Address1                         Address2                      Address3   Address4         City              State Zip
PAPROCKI, ADAM R           13272 MAPLE RIDGE DR                                                                       ALDEN              NY 14004
PAPROCKI, BRIAN S          46596 WATERSEDGE DR                                                                        MACOMB             MI 48044‐5728
PAPROCKI, CAROL B          6516 W. TONOPAH DRIVE                                                                      GLENDALE           AZ 85308‐6624
PAPROCKI, CAROL B          6516 W TONOPAH DR                                                                          GLENDALE           AZ 85308‐6624
PAPROCKI, CHRISTOPHER M    4013 PRAIRIE AVE                                                                           BERKLEY            MI 48072‐1166
PAPROCKI, DOROTHY M        25 PINE ST                                                                                 DUDLEY             MA 01571‐3225
PAPROCKI, EDITH A          APT 1J                           1 RIVER PLAZA                                             TARRYTOWN          NY 10591‐3647
PAPROCKI, EDWIN J          782 REVERE AVE                                                                             NORTH TONAWANDA    NY 14120‐3417
PAPROCKI, ELEANOR          1301 S PALMETTO AVE                                                                        DAYTONA BEACH      FL 32114‐6125
PAPROCKI, GEORGE S         5429 S 20TH ST                                                                             MILWAUKEE          WI 53221‐4369
PAPROCKI, GERALDINE M      14 MAYBERRY DR. WEST                                                                       CHEEKTOWAGA        NY 14227‐3020
PAPROCKI, GERALDINE M      14 MAYBERRY DR W                                                                           CHEEKTOWAGA        NY 14227‐3020
PAPROCKI, GREGORY J        25701 W LOOMIS RD                                                                          WIND LAKE          WI 53185‐1433
PAPROCKI, PATRICIA A       1759 N ROSEVERE ST                                                                         DEARBORN           MI 48128
PAPROCKI, RITA A           33760 MINA DR                                                                              STERLING HTS       MI 48312‐6654
PAPROCKI, RONALD E         3830 BIRDSONG LN                                                                           SWANTON            OH 43558‐9500
PAPROCKI, RONALD EDWARD    3830 BIRDSONG LN                                                                           SWANTON            OH 43558‐9500
PAPROCKI, SYLIVIA          525 S EDGEMERE DR                                                                          ALLENHURST         NJ 07711‐1413
PAPROCKI, VIENNA G         6091 THORNCREST BLVD                                                                       GREENDALE          WI 53129‐2644
PAPROCKI, WILLIAM J        1301 S PALMETTO AVE                                                                        DAYTONA BEACH      FL 32114‐6125
PAPSCO INC                 9217 MIDWEST AVE                                                                           CLEVELAND          OH 44125‐2415
PAPSCOE, RICHARD J         748 INVERNESS DR                                                                           RANCHO MIRAGE      CA 92270‐1440
PAPSIDERO, MICHAEL V       291 HOMESTEAD DR                                                                           N TONAWANDA        NY 14120‐1644
PAPSON JOHN A (451445)     WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                           NEW YORK           NY 10038
PAPSON, FLORENCE A         5406 ORCHARD AVE                                                                           PARMA              OH 44129‐3015
PAPSON, JOHN A             WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                           NEW YORK           NY 10038
PAPSON, RONALD F           132 W 54TH ST APT 1                                                                        BAYONNE            NJ 07002
PAPST, BEVERLY             3615 MARY LOU LANE                                                                         MANSFIELD          OH 44906
PAPST, BRETT T             APT 102                          18566 ROYALTON ROAD                                       STRONGSVILLE       OH 44136‐5170
PAPST, CLARABELL           10770 SWAN CREEK RD                                                                        SAGINAW            MI 48609‐9118
PAPST, CRAIG A             157 RUDY RD                                                                                MANSFIELD          OH 44903‐8042
PAPSUN, MICHAEL R          24360 SURFSIDE RD                                                                          NOVI               MI 48374‐3072
PAPSUN, MICHAEL RAY        24360 SURFSIDE RD                                                                          NOVI               MI 48374‐3072
PAPUGA THADIUS             1755 CHATHAM DR                                                                            TROY               MI 48084‐1482
PAPULA, JOSEPHINE A        201 HENRY ST                                                                               BUCHANAN           NY 10511‐1427
PAQUET, JOSEPH A           8636 YUKON ST.                                                                             ARVADA             CO 80005
PAQUET, LYNETTE L          1219 CRESCENT DR                                                                           WINDSOR            CO 80550‐5838
PAQUET, MARETHA P          2096 LAKEVIEW LANE                                                                         ALANSON            MI 49706‐9656
PAQUET, MARETHA P          2096 E LAKEVIEW LN                                                                         ALANSON            MI 49706‐9656
PAQUET, MICHAEL H          5550 WOODVILLE RD                                                                          HASLETT            MI 48840‐8411
PAQUETT ARTHUR             PO BOX 2484                                                                                EDMOND             OK 73083‐2484
PAQUETTE JR, ROBERT G      4746 CENTURY DR                                                                            SAGINAW            MI 48638‐5681
PAQUETTE LEON R (629599)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                            STREET, SUITE 600
PAQUETTE, ARTHUR J         8130 GARWOOD DR                                                                            SAGINAW           MI   48609‐5106
PAQUETTE, BARBARA S        9995 BARKLEY RD                                                                            MILLINGTON        MI   48746‐9728
PAQUETTE, CAROL J.         15600 MARKSMAN RD                                                                          LANSE             MI   49946‐8324
PAQUETTE, CYNTHIA A        6120 MARVIN ST                                                                             TAYLOR            MI   48180‐1187
PAQUETTE, DANIEL W         29423 SNAP HOOK DR                                                                         SAN ANTONIO       FL   33576‐4640
PAQUETTE, DEBRA M          10463 PLAINS RD                                                                            EATON RAPIDS      MI   48827‐9730
PAQUETTE, DENNIS E         9072 HUGH ST                                                                               LIVONIA           MI   48150‐4012
PAQUETTE, DOROTHY A        917 TARTAN DR                                                                              VENICE            FL   34293‐4471
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Name                                Address1                         Address2                      Address3   Address4             City                State Zip
PAQUETTE, GARY E                    2285 SETTLERS TRL                                                                              VANDALIA             OH 45377‐3259
PAQUETTE, GERALD J                  97 CHESTER ST                                                                                  WOONSOCKET            RI 02895‐1311
PAQUETTE, GRACE M.                  44598 MARC TRAIL                                                                               PLYMOUTH TWP         MI 48170‐3986
PAQUETTE, GRACE M.                  44598 MARC TRL                                                                                 PLYMOUTH             MI 48170‐3986
PAQUETTE, HAZEL V                   6180 POTTER RD                                                                                 BURTON               MI 48509‐1385
PAQUETTE, JACK R                    7065 RONALD DR                                                                                 SAGINAW              MI 48609‐6922
PAQUETTE, JANET L.                  1224 AMERINE RD D                                                                              MARYVILLE            TN 37804
PAQUETTE, JEAN T                    324 NORTH CASTELL AVENUE                                                                       ROCHESTER            MI 48307‐1818
PAQUETTE, JEANNE                    PO BOX 263                                                                                     BELLINGHAM           MA 02019‐0263
PAQUETTE, JERRY W                   4215 ROSEBERRY CT                                                                              WATERFORD            MI 48329‐4140
PAQUETTE, LEON R                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA 23510‐2212
                                                                     STREET, SUITE 600
PAQUETTE, LUCILLE I                 33 RIDGE ST                                                                                    WOONSOCKET          RI   02895‐3630
PAQUETTE, MARJORIE M                10463 PLAINS HIGHWAY                                                                           EATON RAPIDS        MI   48827‐9730
PAQUETTE, MARJORIE M                10463 PLAINS RD                                                                                EATON RAPIDS        MI   48827‐9730
PAQUETTE, MAURICE A                 210 BRIDGEVIEW PL                                                                              MC CORMICK          SC   29835‐3443
PAQUETTE, MICHAEL L                 10208 MILLIMAN RD                                                                              MILLINGTON          MI   48746‐9748
PAQUETTE, NEIL R                    254 4 MILE RD NW                                                                               COMSTOCK PARK       MI   49321‐8905
PAQUETTE, PEGGY                     155 EVANS AVE                                                                                  PISCATAWAY          NJ   08854‐2901
PAQUETTE, RAYMOND O                 3206 S STERLING AVE                                                                            INDEPENDENCE        MO   64052‐2759
PAQUETTE, RENEE J                   335 S CENTER RD                                                                                SAGINAW             MI   48638‐6114
PAQUETTE, ROBERT JAY                9543 NATHALINE                                                                                 REDFORD             MI   48239‐2206
PAQUETTE, ROY R                     7596 BURGANDY DRIVE                                                                            CANTON              MI   48187
PAQUETTE, STACEY E                  1540 N LOCKWOOD RIDGE RD 220                                                                   SARASOTA            FL   34237‐3248
PAQUETTE, STEPHEN A                 21 SULLIVAN BLVD                                                                               OXFORD              MA   01540‐2047
PAQUETTE, TERRY G                   2409 LINCOLN AVE                                                                               SAGINAW             MI   48601‐3343
PAQUETTE, WAYNE T                   3466 BOBENDICK ST                                                                              SAGINAW             MI   48604‐1704
PAQUETTE, WENDY D                   43 SANTA BARBARA DR                                                                            HAMPTON             VA   23666‐1620
PAQUIN RONALD L (413286)            WEITZ & LUXENBERG                180 MAIDEN LANE                                               NEW YORK            NY   10038
PAQUIN RONALD L (413286) ‐ PAQUIN   WEITZ & LUXENBERG                180 MAIDEN LANE                                               NEW YORK            NY   10038
LAURA
PAQUIN STEFANIE U                   318 MARION AVE APT 1                                                                           BIG RAPIDS          MI   49307‐1346
PAQUIN, DONNA                       1038 PATTON HILL RD                                                                            BEDFORD             IN   47421
PAQUIN, EDWARD J                    4918 WESTPOINT ST                                                                              DEARBORN HTS        MI   48125‐2133
PAQUIN, FERNAND A                   890 N. RACKET RIVERROAD                                                                        MASSENA             NY   13662
PAQUIN, IRENE J                     3201 N LAKE PLEASANT RD                                                                        ATTICA              MI   48412‐9201
PAQUIN, LAURA                       WEITZ & LUXENBERG                180 MAIDEN LANE                                               NEW YORK            NY   10038
PAQUIN, LAURIE D                    38252 LANSE CREUSE ST                                                                          HARRISON TOWNSHIP   MI   48045
PAQUIN, MICHAEL R                   3472 E HAYDEN LAKE RD                                                                          HAYDEN LAKE         ID   83835‐7125
PAQUIN, RONALD L                    WEITZ & LUXENBERG                180 MAIDEN LANE                                               NEW YORK            NY   10038
PAQUIN, SHEILA LYNN                 3472 E HAYDEN LAKE RD                                                                          HAYDEN LAKE         ID   83835‐7125
PAQUITA BAILEY                      30830 STELLAMAR ST                                                                             BEVERLY HILLS       MI   48025‐5058
PAQUITA ITURRINO                    GUZMAN EL BUENO, 95‐30D                                                   28015 MADRID SPAIN
PAQUITA RODRIGUEZ                   BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS          OH   44236
PAR DESIGN/MT CLEMEN                18900 FIFTEEN MILE ROAD                                                                        MOUNT CLEMENS       MI   48043
PAR EQUIP/GOODLETTSV                205 S MAIN ST                                                                                  GOODLETTSVILLE      TN   37072‐1760
PAR FOAM                            KEVIN MCCONNELL X17              239 VAN RENSSELAER ST                                         BUFFALO             NY   14210‐1345
PAR FOAM PRODUCTS INC               PO BOX 1257                                                                                    ORCHARD PARK        NY   14127‐8257
PAR FOAM PRODUCTS INC               KEVIN MCCONNELL X17              PO BOX 1257                                                   ORCHARD PARK        NY   14127‐8257
PAR FOAM/BUFFALO                    PO BOX 1257                                                                                    ORCHARD PARK        NY   14127‐8257
PAR INDUSTRIES INC                  PO BOX 448                                                                                     MEDINA              OH   44258‐0448
PAR TECH INC                        139 PREMIER DR                                                                                 LAKE ORION          MI   48359‐1882
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Name                            Address1                            Address2                          Address3         Address4               City                    State Zip
PAR TECH INC                    DAVID PARKER                        139 PREMIER DR                                                            ORION                    MI 48359‐1882
PAR TOOL & GAGE CO              25754 D'HONDT                                                                                                 CHESTERFIELD TOWNSHIP    MI 48051
PAR TOOL & GAGE CO              25754 DHONDT CT                     REMV FROM GE CAP 05/25/04 AM                                              CHESTERFIELD             MI 48051‐2600

PAR‐CAR SERVICE LTD.            405 KENNEDY RD                                                                         SCARBOROUGH ON M1K
                                                                                                                       2A1 CANADA
PAR‐FOAM PRODUCTS INC           KEVIN MCCONNELL X17                 239 VAN RENSSELAER                                                        NORWALK                 OH   44857
PAR‐FOAM PRODUCTS INC           KEVIN MCCONNELL X17                 PO BOX 1257                                                               ORCHARD PARK            NY   14127‐8257
PARA JR, MICHAEL J              6705 MAIN ST                                                                                                  STANWOOD                MI   49346‐9385
PARA LEE RAMSEY                 8044 MACTAVISH WAY W                                                                                          JACKSONVILLE            FL   32244‐5554
PARA MEDICAL PRODUCTS INC       PO BOX 607                                                                                                    LEES SUMMIT             MO   64063‐0607
PARA O FENNELL                  2112 SANSOM AVENUE                                                                                            GADSDEN                 AL   35904‐1734
PARA REDEEMER                   2981 DELORES ST                                                                                               SAGINAW                 MI   48601‐6132
PARA STAVRESKI                  6563 PAUL REVERE LN                                                                                           CANTON                  MI   48187‐3053
PARA, EUGENE M                  42573 HAMILTON WAY                                                                                            FREMONT                 CA   94538‐5534
PARA, JOANNE C                  15179 DRAKE                                                                                                   SOUTHGATE               MI   48195‐2605
PARA, JOANNE C                  15179 DRAKE ST                                                                                                SOUTHGATE               MI   48195‐2605
PARA, WILLIAM R                 13988 TOWERING OAKS DR                                                                                        SHELBY TOWNSHIP         MI   48315‐1955
PARACON                         PO BOX 890222                                                                                                 CHARLOTTE               NC   28289‐0222
PARACSI JR, DAVID C             4219 W 202ND ST                                                                                               FAIRVIEW PARK           OH   44126‐1522
PARACSI, DAVID C                4543 W 210TH ST                                                                                               CLEVELAND               OH   44126‐2137
PARADA JOE P                    PARADA, JOE P                       16855 WEST BERNARDO DRIVE SUITE                                           SAN DIEGO               CA   92127
                                                                    380
PARADA, ANTHONY J               365 WALNUT ST                                                                                                 LOCKPORT                NY   14094‐3832
PARADA, BARBARA                 11649 N CAROLINA DR                                                                                           BONITA SPRINGS          FL   34135‐6160
PARADA, DANIEL J                9880 MOUNTAIN RD                                                                                              MIDDLEPORT              NY   14105‐9648
PARADA, JOE P                   MCGEE WILLIAM R LAW OFFICES OF      16855 W BERNARDO DR STE 380                                               SAN DIEGO               CA   92127‐1626
PARADA, JOHN W                  106 EASTVIEW DR                                                                                               MEDINA                  NY   14103‐1660
PARADA, MARGARET M              27226 PAULA LN                                                                                                CONROE                  TX   77385‐9052
PARADA, MARGARET M              27226 PAULA LANE                                                                                              CONROE                  TX   77385‐9052
PARADA, MAXINE                  122 ELIZABETH ST                                                                                              MEDINA                  NY   14103‐1304
PARADA, SUSAN S.                3351 SHELLY DR                                                                                                SEVEN HILLS             OH   44131‐6249
PARADE COMPANY THE              MICHIGAN THANKSGIVING PARADE        9500 MOUNT ELLIOTT ST STE A                                               DETROIT                 MI   48211‐1635
PARADEE JUDY                    1615 MAPLE AVE                                                                                                BERWYN                  IL   60402‐1547
PARADEE, KATHERYN L             EDMONDS JOHN P                      PO BOX 278                                                                CHILLICOTHE             IL   61523‐0278
PARADEE, KENNETH                1412 OAK PARK AVE                                                                                             BERWYN                  IL   60402‐1228
PARADEE, RICHARD L              6044 S 174TH PL                                                                                               GILBERT                 AZ   85298‐5820
PARADELA, C                     1208 FAIRMOUNT AVE                                                                                            ELIZABETH               NJ   07208‐3305
PARADICE DECORATING COMPANY     C/O GREYHOUND EXPOSITION SVCS       10002 PIONEER BLVD                                                        SANTA FE SPRINGS        CA   90670
PARADIES SHOPS, THE
PARADIES, DAVID R               591 CLARYVILLE RD                                                                                             CLARYVILLE              NY   12725
PARADIES, RICHARD W             PO BOX 153                                                                                                    MARGARETVILLE           NY   12455‐0153
PARADIGM ACQUISITIONS CO LLC    DBA RJ\TEE JAY INDUSTRIES           34272 DOREKA                      PER BETH 10‐99                          FRASER                  MI   48026‐1659
PARADIGM GROUP                  200 E 11TH STREET                                                                                             ANDERSON                IN   46016
PARADIS SERVICE STATION LTD ‐   1101 BROADWAY AVE                                                                      SASKATOON SK S7H 2A2
BROADWAY SHELL                                                                                                         CANADA
PARADIS, ARTHELINE              2755 PLEASANT HILL CHURCH RD                                                                                  SILER CITY              NC   27344
PARADIS, CLAIRE                 7840 WOODMAN AVE APT 176                                                                                      PANORAMA CITY           CA   91402‐6289
PARADIS, CLAIRE                 7840 WOODMAN AVE                    APT 176                                                                   PANORAMA                CA   91402‐6289
PARADIS, EDMUND                 ICO THE LANIER LAW FIRM PC          6810 FM 1960 WEST                                                         HOUSTON                 TX   77069
PARADIS, JOSEPH C               10 CHURCH ST                                                                                                  HOPKINTON               MA   01748‐1810
PARADIS, JOSEPH G               808‐53 AV ‐EAST 192‐F                                                                                         BRADENTON               FL   34203
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Name                                    Address1                            Address2                     Address3   Address4              City              State Zip
PARADIS, KENNETH E                      3056 VINEYARD LN                                                                                  FLUSHING           MI 48433‐2436
PARADIS, MARIE G                        27359 APPLE BLOSSOM LN                                                                            SOUTHFIELD         MI 48034‐1072
PARADIS, MARY                           3179 MAC AVE                                                                                      FLINT              MI 48506‐2123
PARADIS, RITA H                         57 SUFFOLK PL                                                                                     BRISTOL            CT 06010‐8954
PARADIS, RONALD J                       1 VALLEY STREAM DR                                                                                CUMBERLAND          RI 02864‐5046
PARADISE ASPHALT MAINTENANCE            ATTN: BOB PARADISE                  6817 STADIUM DR                                               KANSAS CITY        MO 64129‐1860
PARADISE AUTO CARE                      15575 SW 74TH AVE                                                                                 TIGARD             OR 97224
PARADISE CHEVROLET                      6350 LELAND ST                                                                                    VENTURA            CA 93003‐8585
PARADISE CHEVROLET                      ROBERT GREGORY                      6350 LELAND ST                                                VENTURA            CA 93003‐8585
PARADISE CHEVROLET                                                          1250 S WILLOW ST                                                                 NH 03103
PARADISE CHEVROLET CADILLAC             TERRY GILMORE                       27360 YNEZ RD                                                 TEMECULA           CA 92591‐4602
PARADISE CHEVROLET CADILLAC                                                                                                               TEMECULA           CA 92591
PARADISE CHEVROLET CADILLAC             27360 YNEZ RD                                                                                     TEMECULA           CA 92591‐4602
PARADISE CHEVROLET, INC.                C/O JW D'ANGELO CO., INC.           27360 YNEZ RD                                                 TEMECULA           CA 92591‐4602
PARADISE CHEVROLET, INC.                27360 YNEZ RD                                                                                     TEMECULA           CA 92591‐4602
PARADISE CHRISTINE                      19 PENNSYLVANIA AVE A                                                                             STEWARTSTOWN       PA 17363
PARADISE PLASTICS ENTERPRISES LIMITED   PLOT NO 26 SECTOR‐6 IMT             MANESAR GURGAON‐PIN‐122050              HARYANA INDIA INDIA

PARADISE, BERNARD R                     1389 STAFFORD AVE APT 306           DIPLOMAT APTS                                                 BRISTOL           CT   06010‐2889
PARADISE, DOUGLAS B                     24415 HOPKINS ST                                                                                  DEARBORN HTS      MI   48125‐1927
PARADISE, DOUGLAS BRUCE                 24415 HOPKINS ST                                                                                  DEARBORN HTS      MI   48125‐1927
PARADISE, GUY J                         3917 SHERWOOD LAKES BLVD                                                                          JACKSON           MI   49201‐9085
PARADISE, JAMES                         2625 W COMMERCE RD                                                                                MILFORD           MI   48380‐3207
PARADISE, JAMES M                       8814 COYTH LN                                                                                     SHREVEPORT        LA   71106‐6306
PARADISE, JERRY L                       436 SHADOW LN                                                                                     MASON             MI   48854‐1157
PARADISE, JERRY L                       6317 SOMMERSET RD                                                                                 LANSING           MI   48911‐5612
PARADISE, JOHN S                        2008 TRANQUIL LANE                                                                                PHENIX CITY       AL   36867‐8507
PARADISE, KAREN M                       9561 S NICHOLSON AVE                                                                              OAK CREEK         WI   53154
PARADISE, LEONA E                       3165 PRIDES CROSSING                                                                              TARPON SPGS       FL   34688‐7279
PARADISE, LOIS M                        2625 W COMMERCE RD                                                                                MILFORD           MI   48380‐3207
PARADISE, MARY E                        2880 BARNES ST                                                                                    SIMI VALLEY       CA   93065‐3902
PARADISE, PATRICK                       436 SHADOW LANE                                                                                   MASON             MI   48854‐1157
PARADISE, RICHARD L                     606 RAINBOW DR                                                                                    EAST TAWAS        MI   48730‐9678
PARADISE, ROBERT A                      93 MEADOW LN                                                                                      ITHACA            MI   48847‐1846
PARADISE, ROBERT A                      70 RIPPLEWOOD DR                                                                                  ROCHESTER         NY   14616
PARADISE, STEVEN T                      6 QUEEN ELEANOR DR                                                                                GALES FERRY       CT   06335‐1315
PARADISE, TIMOTHY M                     1570 N KNIGHT RD                                                                                  ESSEXVILLE        MI   48732‐9648
PARADISE, WICHA S                       1219 ROSEDALE AVE                                                                                 WILMINGTON        DE   19809
PARADISO AUTOMOTIVE SERVICE             84 W SANTA CLARA ST #770                                                                          SAN JOSE          CA   95113
PARADISO AUTOMOTIVE SERVICE             925 I ST                                                                                          LOS BANOS         CA   93635‐0188
PARADISO AUTOMOTIVE SERVICE             1160 I ST                                                                                         LOS BANOS         CA   93635‐4316
PARADISO AUTOMOTIVE SERVICE             LAW OFFICES OF GREENE CHARLES B,    84 W SANTA CLARA ST #770                                      SAN JOSE          CA   95113
PARADISO JAMES                          413 ASPEN LN                                                                                      GRANGEVILLE       ID   83530‐2100
PARADISO, BRYAN J                       43 STRAIGHT LN                                                                                    LEVITTOWN         NY   11756‐5741
PARADISO, JEFFREY S                     273 SCHOLFIELD RD                                                                                 ROCHESTER         NY   14617‐4214
PARADISO, JOSEPH                        32 CRESTWOOD LN                                                                                   LAKE RONKONKOMA   NY   11779‐1912
PARADISO, JOSEPHINE P                   73 LABRADOR DR                                                                                    ROCHESTER         NY   14616‐1677
PARADISO, MARK A                        344 FERNWOOD AVE                                                                                  DAYTON            OH   45405‐2623
PARADISO, MICHELE                       4227 PINE MEADOW TER                                                                              SARASOTA          FL   34233‐3642
PARADISO, ROCCO A                       131 VINEYARD AVE                                                                                  YONKERS           NY   10703‐2811
PARADISO, THOMAS H                      1623 ALLENDALE DR                                                                                 SAGINAW           MI   48638‐4457
PARADOWICZ, BARBARA J                   19534 PIERSON DR                                                                                  NORTHVILLE        MI   48167‐2650
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Name                                Address1                             Address2                     Address3                     Address4                 City              State Zip
PARADOWSKI, COLLEEN E               3460 SALEM DR                                                                                                           ROCHESTER HILLS    MI 48306‐2942
PARADOWSKI, ROBERT A                2409 16TH AVE                                                                                                           VALLEY             AL 36854‐2706
PARADY M ROWLAND                    1449 W. JEFFERSON ST                                                                                                    SPRINGFIELD        OH 45506
PARADY, RAYMOND A                   13340 COPPER AVE                                                                                                        PORT CHARLOTTE     FL 33981‐5557
PARAFIN, CHESTER F                  46467 WINSTON DR                                                                                                        SHELBY TOWNSHIP    MI 48315‐5622
PARAG, MARK L                       325 THOMAS LANDING RD                                                                                                   MIDDLETOWN         DE 19709‐9563
PARAG, MARK LEE                     325 THOMAS LANDING RD                                                                                                   MIDDLETOWN         DE 19709‐9563
PARAGON AUTO SERVICE INC            2‐402 43RD ST E                                                                                SASKATOON SK S7K 0V6
                                                                                                                                   CANADA
PARAGON DIE/GR RAPID                5225 33RD ST SE                                                                                                         GRAND RAPIDS      MI   49512‐2071
PARAGON EXPRESS INC                 PO BOX 5277                                                                                                             LIMA              OH   45802‐5277
PARAGON GROUP INC                   197 1ST AVE STE 150                                                                                                     NEEDHAM           MA   02494‐2831
PARAGON GROUP INC AGENT C/O TEXAS   PO BOX 200380                                                                                                           HOUSTON           TX   77216‐0380
COMMERCE BANK HOUSTON
PARAGON HOLDINGS LLC                3700 OAKES DR                                                                                                           EMPORIA           KS   66801‐5136
PARAGON LAB/LIVONIA                 12649 RICHFIELD CT                                                                                                      LIVONIA           MI   48150‐1062
PARAGON LABORATORIES INC            12649 RICHFIELD CT                                                                                                      LIVONIA           MI   48150‐1062
PARAGON MANUFACTURING CORP          2046 W THOMPSON RD                                                                                                      FENTON            MI   48430‐9798
PARAGON METALS INC                  SUITE 200                            7910 CRESCENT EXECUTIVE DR                                                         CHARLOTTE         NC   28217
PARAGON METALS INC                  13925 BALLANTYNE CORPORATE PL                                                                                           CHARLOTTE         NC   28277
PARAGON METALS INC                  107 HUAN KUNG RD YUNG KANG                                                                     TAINAN TAIWAN TW 71042
                                                                                                                                   TAIWAN
PARAGON METALS INC                  HAROLD DAVIES                        C/O SHANGHAI AUTO FORGING    10 LANE 1059 XIANG YIN RD.   VANNES CEDAX FRANCE

PARAGON METALS INC                  1146 E CHICAGO RD                                                                                                       QUINCY            MI 49082
PARAGON METALS INC                  363‐6 NAMYANG‐DONG                                                                             CHINHAE 11 645‐480
                                                                                                                                   REPUBLIC OF KOREA
PARAGON METALS INC.                 HAROLD DAVIES                        C/O SHANGHAI AUTO FORGING    10 LANE 1059 XIANG YIN RD.   SHANGHAI 2000433 CHINA
                                                                                                                                   (PEOPLE'S REP)
PARAGON MOLDS CORP                  33997 RIVIERA                                                                                                           FRASER            MI   48026‐1614
PARAGON MOLDS CORPORATION           33997 RIVIERA DR.                                                                                                       FRASER            MI   48026
PARAGON MOLDS CORPORATION           33997 RIVIERA                                                                                                           FRASER            MI   48026‐1614
PARAGON MOLDS CORPORATION           ATTN: CORPORATE OFFICER/AUTHORIZED   33997 RIVIERA                                                                      FRASER            MI   48026‐1670
                                    AGENT
PARAGON MOLDS/FRASER                33997 RIVIERA                                                                                                           FRASER            MI   48026‐1614
PARAGON PATTERN & MFG CO            PO BOX 4187                                                                                                             MUSKEGON HTS      MI   49444‐0187
PARAGON PATTERN & MFG. CO           PO BOX 4187                                                                                                             MUSKEGON          MI   49444‐0187
PARAGON PATTERN & MFG. CO           ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 4187                                                                        MUSKEGON          MI   49444‐0187
                                    AGENT
PARAGON PATTERN AND MFG CO          PO BOX 4187                                                                                                             MUSKEGON          MI   49444‐0187
PARAGON REPORDUCTIONS               8040 JENNINGS RD                                                                                                        SWARTZ CREEK      MI   48473‐9147
PARAGON REPRODUCTIONS               RICH                                 8040 JENNINGS RD                                                                   SWARTZ CREEK      MI   48473‐9147
PARAGON REPRODUCTIONS               RICH                                 8040 S. JENNINGS ROAD                                                              WILSON            NC   27893
PARAGON REPRODUCTIONS LTD           RICH                                 8040 JENNINGS RD                                                                   SWARTZ CREEK      MI   48473‐9147
PARAGON REPRODUCTIONS LTD           RICH                                 8040 S. JENNINGS ROAD                                                              WILSON            NC   27893
PARAGON REPRODUCTIONS, INC.         STEVEN CHILDS                        8040 JENNINGS RD                                                                   SWARTZ CREEK      MI   48473‐9147
PARAGON STEEL RULE DIE INC          979 MOUNT READ BLVD                                                                                                     ROCHESTER         NY   14606‐2829
PARAGON STEEL RULE DIES INC         979 MOUNT READ BLVD                                                                                                     ROCHESTER         NY   14606‐2829
PARAGON TECHNOLOGIES INC            5775 E 10 MILE RD                                                                                                       WARREN            MI   48091‐1590
PARAGON TECHNOLOGIES INC            600 KUEBLER RD                                                                                                          EASTON            PA   18040‐9201
PARAGON TECHNOLOGIES, INC.          5775 TEN MILE ROAD                                                                                                      WARREN            MI   48091
PARAHUS, MICHAEL                    379 ROAST MEAT HILL RD                                                                                                  KILLINGWORTH      CT   06419‐2332
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Name                               Address1                            Address2                       Address3              Address4         City           State Zip
PARALEE ADKINS                     702 BROOKFIELD ROAD                                                                                       KETTERING       OH 45429‐3324
PARALEE ADKINS                     702 BROOKFIELD RD                                                                                         KETTERING       OH 45429‐3324
PARALEE BALANTA                    3206 NONETTE DR                                                                                           LANSING         MI 48911‐3364
PARALEE E JACKSON                  4454 CRITTENDEN AVE                                                                                       INDIANAPOLIS    IN 46205‐2232
PARALEE JACKSON                    4454 CRITTENDEN AVE                                                                                       INDIANAPOLIS    IN 46205‐2232
PARALEGAL INSTITUTE                3602 W THOMAS RD STE 9              PO BOX 11408                                                          PHOENIX         AZ 85019‐4442
PARALEGALS PLUS                    202 ARTERIAL RD                                                                                           SYRACUSE        NY 13206‐1598
PARALLAX TECH CORP                 10751 S SAGINAW ST STE L                                                                                  GRAND BLANC     MI 48439‐8169
PARALYZED VETERANS OF AMERICA      801 EIGHTEENTH ST NW                                                                                      WASHINGTON      DC 20006
PARAMANAND TIWARY                  41147 SCARBOROUGH LN                                                                                      NOVI            MI 48375‐2890
PARAMATMUNI VENKATA RAMANA         APT 9                               1054 BOBOLINK WAY                                                     BLOOMINGTON      IL 61704‐6619
PARAMBO, JOSEPH J                  15260 MERION CT                                                                                           NORTHVILLE      MI 48168‐8491
PARAMBO,JOSEPH J                   15260 MERION CT                                                                                           NORTHVILLE      MI 48168‐8491
PARAMED INC                        ACCT OF LOUIS MC CLAIN              4185 HIGHLAND RD                                                      WATERFORD       MI 48328‐2136
PARAMED INC                        517 DIVISION AVENUE SOUTH                                                                                 GRAND RAPIDS    MI 49503‐5116
PARAMED INC                        ACCT OF RONALD BARKER               4185 HIGHLAND RD                                                      WATERFORD       MI 48328‐2136
PARAMED/CHICAGO                    350 N ORLEANS ST                    FL 7                                                                  CHICAGO          IL 60654‐1601
PARAMETRIC TECH/TROY               50 W BIG BEAVER RD STE 300                                                                                TROY            MI 48084‐5290
PARAMETRIC TECHNOLOGY CORP         140 KENDRICK ST                                                                                           NEEDHAM         MA 02494
PARAMJIT SARAO                     20623 BREEZEWAY DR                                                                                        MACOMB          MI 48044‐3519
PARAMO JR, RICHARD J               331 VOORHEIS ST                                                                                           PONTIAC         MI 48341‐1949
PARAMO, DENNIS J                   14510 N FOREST BEACH SHORES RD                                                                            NORTHPORT       MI 49670‐9662
PARAMO, FELICIA YOLANDA            APT 203                             5842 UPLAND DRIVE                                                     CLARKSTON       MI 48346‐4708
PARAMO, HECTOR L                   42 CENTRAL AVE                                                                                            JERSEY CITY     NJ 07306‐2218
PARAMO, JAMES K                    4477 BELSAY RD                                                                                            GRAND BLANC     MI 48439‐9120
PARAMO, MANUEL                     561 TANVIEW DR                                                                                            OXFORD          MI 48371‐4769
PARAMO, OLIVIA C                   14510 N FOREST BEACH SHORES RD                                                                            NORTHPORT       MI 49670‐9662
PARAMO, RICHARD J                  331 VOORHEIS ST                                                                                           PONTIAC         MI 48341‐1949
PARAMO, ROBERT K                   1952 BEVERLY ST                                                                                           SYLVAN LAKE     MI 48320‐1506
PARAMORE JR, RAYMOND A             2875 KINGS CORNER EAST RD                                                                                 LEXINGTON       OH 44904
PARAMORE, EARL W                   115 BASELINE RD W                                                                                         SHILOH          OH 44878‐9707
PARAMORE, GEORGE U                 9116 STOUT STREET                                                                                         DETROIT         MI 48228‐5803
PARAMORE, OTIS                     908 PEARL HARBOR ST                                                                                       BRIDGEPORT      CT 06610‐2327
PARAMOUNT APPAREL INTERNATIONAL,
INC.
PARAMOUNT CONVENTION SERVICES      5016 FYLER AVE                                                                                            SAINT LOUIS    MO   63139‐1104
PARAMOUNT HEALTH CARE              1901 INDIAN WOOD CIR                                                                                      MAUMEE         OH   43537‐4002
PARAMOUNT INC                      PO BOX 1125                                                                                               CONOVER        NC   28613‐1125
PARAMOUNT METAL PRODUCTS CO INC    1200 W 58TH ST                      RELEASE PER CLE                                                       CLEVELAND      OH   44102‐2118

PARAMOUNT PARKS INC                MELLON FINANCIAL SERVICES           1640 PHOENIX BLVD STE 110                                             ATLANTA        GA   30349‐5563
PARAMOUNT PICTURES                                                     5555 MELROSE AVE                                                                     CA   90038
PARAMOUNT PICTURES                 BILL HARDEN                         5555 MELROSE AVENUE                                                   LOS ANGELES    CA   90038
PARAMOUNT PICTURES CORPORATION     5555 MELROSE AVE                                                                                          LOS ANGELES    CA   90038

PARAMOUNT PICTURES CORPORATION     HOME VIDEO REBILL                   MARKETING ADMINISTRATION       5555 MELROSE AVENUE                    LOS ANGELES     CA 90038

PARAMOUNT PRECISION PRODUCTS       15255 W 11 MILE RD                                                                                        OAK PARK       MI   48237‐1041
PARAMOUNT REHABILIAT               714 S. TRUMBULL ST.                                                                                       BAY CITY       MI   48708
PARAMOUNT SATURN                   807 BRAZOS SUITE 1014 PO BOX 1418                                                                         AUSTIN         TX   78767
PARAMOUNT SATURN                   CROCKER, WILLIAM R                  807 BRAZOS SUITE 1014 PO BOX                                          AUSTIN         TX   78767
                                                                       1418
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Name                               Address1                             Address2                Address3                Address4                City            State Zip
PARAMOUNT SATURN                   CROCKER, WILLIAM R                   PO BOX 1418             807 BRAZOS SUITE 1014                           AUSTIN           TX 78767‐1418
PARAMOUNT SATURN LTD.              FERNANDO SOMOZA                      17805 NORTH FWY                                                         HOUSTON          TX 77090‐4907
PARAMOUNT SHOWS INC                700 PAPWORTH AVE STE 104                                                                                     METAIRIE         LA 70005‐3048
PARAMOUNT STAMPING & WELDING       1200 W 58TH ST                                                                                               CLEVELAND        OH 44102‐2118
PARAMOUNT STAMPING & WELDING CO    1200 W 58TH ST                                                                                               CLEVELAND        OH 44102‐2118

PARAMOUNT TOOL & DIE, INC.         13864 EAGLE RIDGE DRIVE                                                                                      KENT CITY       MI 49330
PARAMOUNT TOOL & DIE, INC.         ATTN: CORPORATE OFFICER/AUTHORIZED   13864 EAGLE RIDGE DR                                                    KENT CITY       MI 49330‐9123
                                   AGENT
PARAMOUNT TRANSPORTATION
PARAMOUNT TRANSPORTATION SYSTEMS 1350 GRAND AVE                                                                                                 SAN MARCOS      CA 92078‐2404
INC
PARAMOUNT WINDOWS                                                       550 W SOUTHERN AVE                                                                      AZ    85282
PARAMOUNT/MILWAUKEE                 1445 N 5TH ST                                                                                               MILWAUKEE       WI    53212‐3806
PARAMOUNTS CAROWINDS                14523 CAROWINDS BLVD                                                                                        CHARLOTTE       NC    28273‐6756
PARAMPREET SEKHON                   9100 COREY CT                                                                                               PLYMOUTH        MI    48170‐3888
PARAMUS AUTO MALL CHEVROLET‐GEO, IN 194 N STATE RT 17                                                                                           PARAMUS         NJ    07652‐2902

PARAMUS AUTO MALL CHEVROLET‐GEO,   194 N STATE RT 17                                                                                            PARAMUS          NJ   07652‐2902
INC.
PARAMUS AUTO MALL CHEVROLET‐GEO,   EUGENE MEYERS                        194 N STATE RT 17                                                       PARAMUS          NJ   07652‐2902
INC.
PARANIA DANYLUK                    224 BOSTON ST                                                                                                SYRACUSE        NY 13206‐2528
PARANICK, EUGENE A                 1040 CEDARVIEW LN                                                                                            FRANKLIN        TN 37067‐4068
PARANILAM, FARIDA T                37764 CALKA DR                                                                                               STERLING HTS    MI 48310‐3509
PARANJPE, NITIN V.
PARANJPE, ROHIT S                  PO BOX 9022                                                                                                  WARREN          MI 48090‐9022
PARAS KUMAR
PARAS, HELEN                       633 ROBINSON TER                                                                                             UNION           NJ 07083‐7320
PARAS, JASON S                     200 SHEILA CT APT 407                                                                                        MODESTO         CA 95350‐3232
PARASATI, SHIELA                   28 ELLIOTT LN                                                                                                NEWINGTON       CT 06111‐1717
PARASCHOS FRANGOUDAKIS             FRIEDBERGER LANDSTRASSE 179                                                          60389 FRANKFURT
                                                                                                                        GERMANY
PARASCHOS, ANTHONY S               1121 N 20TH ST                                                                                               ALLENTOWN       PA    18104‐3005
PARASEC                            PO BOX 160568                                                                                                SACRAMENTO      CA    95816‐0568
PARASILITI, MARTIN T               26741 CENTER RIDGE RD LOT 7                                                                                  WESTLAKE        OH    44145‐4040
PARASINK, EDWARD J                 36939 WAGON TRAK                                                                                             MILLSBORO       DE    19966‐5865
PARASKA NOWACZAK                   28596 WALKER AVE                                                                                             WARREN          MI    48092‐4150
PARASKA WYNARCZYK                  108 WOLCOTT TER                                                                                              SYRACUSE        NY    13207‐1150
PARASKEVI HANKE                    3606 VISTA REY UNIT 17                                                                                       OCEANSIDE       CA    92057‐7000
PARASKEVI KOSTO                    10057 PETIT AVE                                                                                              NORTH HILLS     CA    91343‐1013
PARASKEVI V KOSTO                  10057 PETIT AVE                                                                                              NORTH HILLS     CA    91343‐1013
PARASKIEWA KUKIELKA                1064 JEROME AVE                                                                                              BRISTOL         CT    06010‐2409
PARATA SYSTEMS                     ERIN BAILEY                          2810 MERIDIAN PARKWAY                                                   DURHAM          NC    27713
PARATCHEK, RUDOLPH L               2913 SPENCER RD                                                                                              GLENNIE         MI    48737‐9793
PARATHERAS, MARY                   105 ROXBORO RD                                                                                               LAWRENCEVILLE   NJ    08648‐3926
PARATORE JR, MICHAEL J             1468 ANDOVER BLVD                                                                                            HOWELL          MI    48843‐6319
PARAVANO, RENO R                   20740 BALINSKI DR                                                                                            CLINTON TWP     MI    48038‐5611
PARAVILA JACOB                     2214 VILLAGE WOODS DR                                                                                        GRAND BLANC     MI    48439‐2514
PARAVIS INDUSTRIES INC             1597 ATLANTIC BLVD                                                                                           AUBURN HILLS    MI    48326‐1501
PARAWAY, RITA N                    2821 WOODLAND AVE                                                                                            BALTIMORE       MD    21215‐6527
PARAWELL COMPANY LIMITED           C/O 31/F THE CENTER                  99 QUEEN'S ROAD C                               HONG KONG
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PARC CORNICH/ORLANDO          6300 PARC CORNICHE DR                                                                                ORLANDO          FL 32821‐7306
PARC TECHNICAL SERVICES INC   100 WILLIAM PITT WAY                                                                                 PITTSBURGH       PA 15238‐1327
PARCELL, ROBERT C             6839 RIVER RD                                                                                        COTTRELLVILLE    MI 48039‐2257
PARCELL, ROBERT C             3930 RIVER RD UNIT 22                                                                                EAST CHINA       MI 48054‐2921
PARCELS JR, PAUL L            12728 CHAPEL ST                                                                                      DETROIT          MI 48223‐3217
PARCELS, EVELYN C             9210 HALF ACRE DR                                                                                    WHITE LAKE       MI 48386‐3326
PARCESEPE DAVID (446824)      KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                        CLEVELAND        OH 44114
                                                              BOND COURT BUILDING
PARCESEPE, DAVID              KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                         CLEVELAND       OH 44114
                                                              BOND COURT BUILDING
PARCETICH, GLORIA A           309 PERSHING DR.                                                                                     FARRELL         PA   16121‐1520
PARCHAM, GERALD J             32 LEA DR                                                                                            FISHERSVILLE    VA   22939‐2228
PARCHAM, SCOTT M              12212 GRATIOT RD                                                                                     SAGINAW         MI   48609
PARCHCORN, ERNEST             PO BOX 763                                                                                           JAY             OK   74346‐0763
PARCHELL PATTON               2613 MELISSA CT                                                                                      FREDERICKSBRG   VA   22408‐8070
PARCHEM, PAUL F               1003 ADAMS ST                                                                                        MONROE          MI   48161‐4084
PARCHER, FLORENCE M           8095 SPENCER RD                                                                                      SOUTH LYON      MI   48178‐9623
PARCHER, LEONA R.             7278 LANDSDALE                                                                                       BROOKSVILLE     FL   34601‐7706
PARCHER, NANCY S              535 MARC DRIVE                  APARTMENT 2                                                          ST. CHARLES     MI   48655
PARCHER, NANCY S              535 MARC DR APT 2                                                                                    SAINT CHARLES   MI   48655‐1253
PARCHER, ROY                  12801 S DOBBS RD                                                                                     MCLOUD          OK   74851‐8464
PARCHES LEYLON, S.L.          C/ JAUME CANCER, 34                                                        08022 ‐ BARCELONA SPAIN
PARCHETA, WALTER J            82 GREENCASTLE LN                                                                                    WILLIAMSVILLE   NY 14221‐1765
PARCHINSKY, NICK
PARCHMAN, BUSH                12317 OHIO ST                                                                                        DETROIT         MI   48204‐1041
PARCHMAN, PHILLIP M           5814 FOX HUNT DR                                                                                     ARLINGTON       TX   76017‐4560
PARCHMAN‐ALLEN, MARIE         820 PRINCE ST SE                                                                                     GRAND RAPIDS    MI   49507‐1339
PARCHMENT, BERNICE            1933 US HWY 35                  BOX 105‐264                                                          WALL TOWNSHIP   NJ   07719
PARCHOMENKO, GREGORY          5408 ELMER AVE                                                                                       WARREN          MI   48092‐4502
PARCIARELLI, ANDREA F         221 S MELBORN ST                                                                                     DEARBORN        MI   48124‐1457
PARCO INC                     1801 S ARCHIBALD AVE                                                                                 ONTARIO         CA   91761‐7677
PARCO INC                     13130 AUBURN RD                                                                                      FORT WAYNE      IN   46845‐9637
PARCO INC                     2150 S PARCO AVE                                                                                     ONTARIO         CA   91761‐5768
PARCO INC                     ANGIE GARCIA                    1801 S ARCHIBALD AVE                                                 ONTARIO         CA   91761‐7677
PARCO INC                     ANGIE GARCIA                    1801 SOUTH ARCHIBALD AVENUE                                          SAINT PETERS    MO   63376
PARCO, ALAN T                 6527 BARLEY CORN ROW                                                                                 COLUMBIA        MD   21044‐6005
PARCO, INC.                   ANGIE GARCIA                    1801 S ARCHIBALD AVE                                                 ONTARIO         CA   91761‐7677
PARCO, INC.                   ANGIE GARCIA                    1801 SOUTH ARCHIBALD AVENUE                                          SAINT PETERS    MO   63376
PARCZANY, ROSEMARY T          4714 STRONG RD                                                                                       CRYSTAL LAKE    IL   60014‐4570
PARDEE JR, ROBIN D            PO BOX 186                                                                                           REMUS           MI   49340‐0186
PARDEE, ARNOLD R              4245 BROCKTON DR SE             C/O ARLENE R PRATER                                                  GRAND RAPIDS    MI   49512‐4046
PARDEE, BARBARA               31 KENNEALLY BLVD                                                                                    GLADSTONE       MI   49837‐2470
PARDEE, BEVERLY W             1060 BROADWAY S.E.                                                                                   WARREN          OH   44484‐2604
PARDEE, BEVERLY W             1060 BROADWAY AVE SE                                                                                 WARREN          OH   44484‐2604
PARDEE, DARYL L               5625 W EPTON RD                                                                                      HENDERSON       MI   48841‐9734
PARDEE, FRANK L               216 E NORTH ST                                                                                       ITHACA          MI   48847‐1140
PARDEE, GIRTH A               31 KENNEALLY BLVD                                                                                    GLADSTONE       MI   49837‐2470
PARDEE, HAROLD L              7454 S CROSWELL RD                                                                                   ASHLEY          MI   48806‐9732
PARDEE, JACK A                3495 RANDALL RD                                                                                      RANSOMVILLE     NY   14131‐9610
PARDEE, JAMES S               1879 4TH ST                                                                                          SHELBYVILLE     MI   49344‐9722
PARDEE, JAMES W               202 LITTLE FLOWER CT                                                                                 WENTZVILLE      MO   63385
PARDEE, KENNETH R             1814 SCHANZ RD                                                                                       ALLEGAN         MI   49010‐9773
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Name                     Address1                          Address2                            Address3   Address4         City              State Zip
PARDEE, KERRY L          5376 BRIDGEMAN RD                                                                                 SANBORN            NY 14132‐9313
PARDEE, LESLIE C         420 N GRAND AVE                                                                                   FOWLERVILLE        MI 48836‐9731
PARDEE, MAY C            10639 HOWELL MASON RD                                                                             FOWLERVILLE        MI 48836
PARDEE, MICHEAL J        16394 SAN JACINTO ST                                                                              FOUNTAIN VALLEY    CA 92708‐1827
PARDEE, PATRICIA J       6844 E MICHIGAN AVE                                                                               KALAMAZOO          MI 49048‐9532
PARDEE, PATRICIA J       6844 E. MICHIGAN AVE.                                                                             KALAMAZOO          MI 49001
PARDEE, PENNY S          PO BOX 703                                                                                        PERRY              MI 48872‐0703
PARDEE, PENNY SUE        PO BOX 703                                                                                        PERRY              MI 48872‐0703
PARDEE, PETER            525 AMBERJACK DR                                                                                  NORTH PORT         FL 34287‐6509
PARDEE, PHYLLIS J        202 LITTLE FLOWER CT                                                                              WENTZVILLE         MO 63385‐2685
PARDEE, RHONDA           W4348 CHURCH RD                                                                                   WALDO              WI 53093‐1728
PARDEE, ROBERT H         37781 CAPEL RD                                                                                    GRAFTON            OH 44044‐1105
PARDEE, ROGER L          954 CRANFORD HOLLOW RD                                                                            COLUMBIA           TN 38401‐7636
PARDEE, SUZANNE E        5376 BRIDGEMAN RD                                                                                 SANBORN            NY 14132‐9313
PARDEE, THEODORE J       5891 ISLAND HWY                                                                                   CHARLOTTE          MI 48813‐8332
PARDEE, VIOLET M         1549 E ATHERTON RD LOT 142                                                                        FLINT              MI 48507‐9109
PARDEEP KUMAR            3582 BREEZY POINT DR                                                                              OKEMOS             MI 48864‐5966
PARDEEP S SAINI          1927 FAIRMOUNT AVE                                                                                CINCINNATI         OH 45214
PARDEEP SINGH            6900 PRESTON RD APT 2725                                                                          PLANO              TX 75024‐2536
PARDEIK, DENNIS P        7120 N MCKINLEY RD                                                                                FLUSHING           MI 48433‐9045
PARDEL, EDWARD L         1813 KLOHA RD                                                                                     BAY CITY           MI 48706‐9327
PARDEL, STANLEY W        1355 S BADOUR RD                                                                                  MIDLAND            MI 48640‐9502
PARDEL, STANLEY WALTER   1355 S BADOUR RD                                                                                  MIDLAND            MI 48640‐9502
PARDEY, WILLIAM S        5 CHELSEA PL                                                                                      AVON               CT 06001‐5101
PARDI FRANK (459244)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510
                                                           STREET, SUITE 600
PARDI, CARL              165 LOS ROBLES ST                                                                                 WILLIAMSVILLE     NY 14221‐6720
PARDI, FRANK             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510‐2212
                                                           STREET, SUITE 600
PARDIECK, MATTHEW R      4423 231ST CT NW                                                                                  SAINT FRANCIS     MN   55070‐8788
PARDINGTON, ELLEN M      3276 WOODVALLEY DR                                                                                LAPEER            MI   48446‐8794
PARDNER, RONALD J        643 NORTHLIGHT CIR                                                                                WEBSTER           NY   14580‐9409
PARDO JR, APOLONIO       9090 COLDWATER RD                                                                                 FLUSHING          MI   48433‐1202
PARDO JR, JUAN J         8409 S WOODLANDS TRL                                                                              GREENWOOD         LA   71033‐3411
PARDO JR, JUAN JOSE      8409 S WOODLANDS TRL                                                                              GREENWOOD         LA   71033‐3411
PARDO JR, VINCENT        8261 GEDDES RD                                                                                    SAGINAW           MI   48609‐9528
PARDO SOPHIA             PARDO, SOPHIA                     SUITE 270, SKYLIGHT OFFICE TW , R                               CLEVELAND         OH   44113
                                                           1660 WEST SECOND ST
PARDO SOPHIA             SUITE 270 SKYLIGHT OFFICE TOWER   R 1660 WEST SECOND STREET                                       CLEVELAND         OH   44113‐1454
PARDO, AGNES M           4517 MAHAN HWY                                                                                    EATON RAPIDS      MI   48827‐9043
PARDO, ALEJANDRO B       2849 EL ROBLE DR                                                                                  LOS ANGELES       CA   90041‐1803
PARDO, APOLONIO          105 AUKER CT                                                                                      FLUSHING          MI   48433‐1542
PARDO, BERT              682 DOCKERY PLACE                                                                                 HENDERSON         NV   89052‐2802
PARDO, CASILDA R         40 GEORGE RD                                                                                      GLEN ROCK         NJ   07452‐3507
PARDO, CELIA             6571 KELL LANE                                                                                    LAS VEGAS         NV   89156‐7017
PARDO, DAVID K           UNIT 313                          17094 ACAPULCO ROAD                                             PUNTA GORDA       FL   33955‐4410
PARDO, DAVID KIMBERLY    UNIT 313                          17094 ACAPULCO ROAD                                             PUNTA GORDA       FL   33955‐4410
PARDO, DAVID O           12422 W PIERSON RD                                                                                FLUSHING          MI   48433‐9755
PARDO, DAVID O E         12422 W PIERSON RD                                                                                FLUSHING          MI   48433‐9755
PARDO, EDWARD L          3305 CAMPBELL ST                                                                                  DEARBORN          MI   48124‐3713
PARDO, FRANCISCO         5109 N 1ST ST                                                                                     MCALLEN           TX   78504‐2304
PARDO, HECTOR            22096 BRUNSWICK DR                                                                                WOODHAVEN         MI   48183‐1585
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Name                      Address1                          Address2                           Address3   Address4         City               State Zip
PARDO, MARCO A            5133 LATHAM TER                                                                                  PORT CHARLOTTE      FL 33981‐1813
PARDO, MARK W             5000 BISHOP LAKE RD APT A‐2                                                                      BRIGHTON            MI 48116‐5187
PARDO, MARTHA             475 CAMINO LAGUNA VIS                                                                            GOLETA              CA 93117‐1531
PARDO, PATSY A            226 LOCKWOOD STREET                                                                              SAGINAW             MI 48602‐3026
PARDO, RICARDO F          937 PROVANCE AVE                                                                                 SANTA MARIA         CA 93458‐7332
PARDO, ROBERT             2105 KALAMA AVE                                                                                  ROYAL OAK           MI 48067‐4080
PARDO, ROBERT             1431 WASHINGTON BLVD              APT 815                                                        DETROIT             MI 48226‐1721
PARDO, RODOLFO            4387 PARDO HWY                                                                                   EATON RAPIDS        MI 48827‐1164
PARDO, SOPHIA             2705 SNOW RD APT 207                                                                             PARMA               OH 44134‐2983
PARDO, SOPHIA             NOVAK ROBENALT PAVLIK & SCHARF    SUITE 270, SKYLIGHT OFFICE TW, R                               CLEVELAND           OH 44113
                                                            1660 WEST SECOND ST
PARDO, TANYA R            315 MILL ST                                                                                      FLUSHING           MI   48433‐2012
PARDO, VIRGINIA           207 N HAZELTON ST APT 4                                                                          FLUSHING           MI   48433‐1600
PARDO‐DELEON, BEVERLY D   25306 PUERTA DRIVE                                                                               PUNTA GORDA        FL   33955
PARDOE, CHARLOTTE M       1826 RIDGEWICK RD                                                                                GLEN BURNIE        MD   21061‐4342
PARDON, BOBBI L           115 STOLI CT                                                                                     ONSTED             MI   49265‐9642
PARDON, BONNIE L          1121 W 10TH ST                                                                                   LORAIN             OH   44052
PARDON, BRANDIE LYNN      2030 BAUMAN ROAD                                                                                 COLUMBUS           MI   48063‐3600
PARDON, DORIS             140 STOLI CT                                                                                     ONSTED             MI   49265‐9642
PARDON, DORIS             140 STOLI COURT                                                                                  ONSTED             MI   49265‐9642
PARDON, FRANK             14620 FAUST AVE                                                                                  DETROIT            MI   48223‐2305
PARDON, RAY               4141 HAMILTON EATON RD LOT 81                                                                    HAMILTON           OH   45011‐9648
PARDON, THOMAS L          470 ABBEY WOOD DR                                                                                ROCHESTER          MI   48306‐2607
PARDONNET, LYLE L         4520 13TH ST E                                                                                   ELLENTON           FL   34222‐2610
PARDONNET, PEGGY L        2495 VALLEY OAKS CIR                                                                             FLINT              MI   48532‐5405
PARDONNET, PEGGY L        1535 47TH AVE E                                                                                  ELLENTON           FL   34222‐2655
PARDONOFF, MICHAEL A      1517 ROCHESTER RD                                                                                LEONARD            MI   48367‐3552
PARDUE JOHN H (494074)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                            STREET, SUITE 600
PARDUE, A J               BOONE ALEXANDRA                   205 LINDA DR                                                   DAINGERFIELD       TX   75638‐2107
PARDUE, ANN M             7880 54TH AVE N LOT 129                                                                          SAINT PETERSBURG   FL   33709
PARDUE, BETTY L           7676 US 31 S                                                                                     INDIANAPOLIS       IN   46227‐8547
PARDUE, BETTY L           7676 US 31 SOUTH                                                                                 INDIANAPOLIS       IN   46227‐8547
PARDUE, CURTIS A          103 RODEO DR                                                                                     COLUMBIA           TN   38401‐6806
PARDUE, DANNY             7244 HOMESTEAD RD                                                                                MORGANTOWN         IN   46160‐8787
PARDUE, ELBERT A          823 TANGLEWOOD DR                                                                                MADISON HTS        MI   48071‐2209
PARDUE, FLORENCE E        125 SHADY LN                                                                                     SCOTTSVILLE        KY   42164‐9324
PARDUE, FLORENCE E        125 SHADY LANE                                                                                   SCOTTSVILLE        KY   42164‐9324
PARDUE, GRADY A           49 MAPLE AVE                                                                                     RUSSELLVILLE       AL   35653‐4120
PARDUE, JEFFREY A         874 SCORPIO CT                                                                                   FRANKLIN           IN   46131‐7069
PARDUE, JEFFREY ALLEN     874 SCORPIO CT                                                                                   FRANKLIN           IN   46131‐7069
PARDUE, JERRY R           9780 MAD RIVER RD                                                                                NEW VIENNA         OH   45159‐9211
PARDUE, JOHN H            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510‐2212
                                                            STREET, SUITE 600
PARDUE, JOSEPHINE         6032 PEA RIDGE PASS                                                                              HAMPTONVILLE       NC   27020‐8294
PARDUE, RICHARD C         1670 AMANDA LN                                                                                   CANTONMENT         FL   32533‐7715
PARDUE, SUSAN E           8034 SNUG HARBOR LN                                                                              INDIANAPOLIS       IN   46227‐0809
PARDUE, WENDELL T         235 CHIMNEY ROAD                                                                                 RINCON             GA   31326‐5540
PARDUMAN KASSIEDASS
PARDY ANNTONETTE          3480 LAKE GEORGE RD                                                                              LEONARD            MI 48367‐2124
PARDY TONI                3480 LAKE GEORGE RD                                                                              LEONARD            MI 48367‐2124
PARDY, ANNTONETTE M       3480 LAKE GEORGE RD                                                                              LEONARD            MI 48367‐2124
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Name                          Address1                          Address2                        Address3   Address4             City                State Zip
PARDY, STEPHEN C              222 S SHORE DR                                                                                    AMARILLO             TX 79118‐9396
PARE SR, LEO A                284 N MAIN ST APT 419                                                                             BRISTOL              CT 06010‐4983
PARE, CAROL J                 29150 PARKWOOD ST                                                                                 INKSTER              MI 48141‐1672
PARE, DONALD E                9539 MICHAEL DR                                                                                   ROMULUS              MI 48174‐1530
PARE, GARRARD J               25 JOHNNYCAKE MOUNTAIN RD                                                                         BURLINGTON           CT 06013
PARE, MARGARET                27328 MARILYN DR                                                                                  WARREN               MI 48093‐4694
PARE, MARTHA E                2651 QUEEN AVE                                                                                    DEARBORN             MI 48124‐3345
PARE, MARTHA E                2651 QUEEN ST                                                                                     DEARBORN             MI 48124‐3345
PARE, MARY A                  8064 HUNTINGTON RIDGE CT                                                                          WASHINGTON TWP       MI 48094‐2278
PARE, ROBERT D                1427 DARNEL DR                                                                                    BRIGHTON             MI 48116‐3799
PAREDES CHRIS                 PAREDES, CHRIS
PAREDES CHRIS                 SATURN OF SANTA ROSA
PAREDES, JOANNA
PAREDES, JOSE                 9241 SW 11TH ST                                                                                   MIAMI               FL 33174‐3102
PAREDES, NOELIA               YARNALL DELORES A LAW OFFICE OF   220 NORTH GLENDALE AVENUE                                       GLENDALE            CA 91206
                                                                SUITE 103
PAREDEZ, ERNEST M             36656 DUGAN CT                                                                                    NEWARK              CA 94560‐3158
PAREJKO HEATHER M             PAREJKO, HEATHER M                3031 STANFORD RANCH RD #2‐150                                   ROCKLIN             CA 95765

PAREJKO HEATHER M             STOVER, JOSEPH                    3031 STANFORD RANCH RD #2‐150                                   ROCKLIN             CA 95765

PAREJKO, FLORENCE             12642 E BRUMOSO ST                                                                                DEWEY               AZ 86327‐7232
PAREJKO, HEATHER M            JACOBS LAW OFFICES OF JON         3031 STANFORD RANCH RD #2‐150                                   ROCKLIN             CA 95765

PAREJKO, SHEILA D             15 BLUEBILL AVE APT 801                                                                           NAPLES              FL   34108‐1716
PAREKH, DINESH V              38 PRIMROSE LN                                                                                    EAST AMHERST        NY   14051‐1243
PAREKH, KEVAN B               PO BOX 9022                       C/O ZURICH                                                      WARREN              MI   48090‐9022
PARELL, JEFFRY J              5504 HALIFAX LANE                                                                                 MINNEAPOLIS         MN   55424‐1439
PARELLA, GARY R               5369 S SARATOGA AVE                                                                               AUSTINTOWN          OH   44515‐4073
PARELLA, JAMES C              35 RUTLEDGE CT                                                                                    E BRUNSWICK         NJ   08816‐4020
PARELLA, JONATHAN B           5369 S SARATOGA AVE                                                                               YOUNGSTOWN          OH   44515‐4073
PARELLA, JONATHAN B.          5369 S SARATOGA AVE                                                                               YOUNGSTOWN          OH   44515‐4073
PARENT                        5672 BIRCHWOOD DR                                                                                 LAKE VIEW           NY   14085‐9789
PARENT I I, WILLIAM D         210 W AUBURN RD                                                                                   ROCHESTER HLS       MI   48307‐5003
PARENT'S AUTO & TIRE CENTER   3610 LYNDALE AVE S                                                                                MINNEAPOLIS         MN   55409
PARENT, ALBERT R              1529 FIRESIDE ST                                                                                  PORT CHARLOTTE      FL   33952
PARENT, ALMA L                2787 DOLL RD                                                                                      LUPTON              MI   48635‐9700
PARENT, BRIAN J               6510 RIVERSIDE DR                                                            WINDSOR ON N8S 1B9
                                                                                                           CANADA
PARENT, CAROL M               2054 W RESERVE CIR                                                                                AVON                OH   44011‐2824
PARENT, CATHERINE J           39951 HILLARY DRIVE                                                                               CANTON              MI   48187‐4274
PARENT, DANIEL F              25047 5 MILE RD APT A                                                                             REDFORD             MI   48239‐3755
PARENT, DAVID L               1252 EAST SIERRA MADRE AVENUE                                                                     GILBERT             AZ   85296‐1313
PARENT, DAVID R               37812 HURON PTE.                                                                                  HARRISON TWP        MI   48045
PARENT, DONALD T              1745 OLD HILLSBORO RD                                                                             FRANKLIN            TN   37069‐4746
PARENT, DONNA                 3962 CADWALLDER‐SONK RD.NE                                                                        CORTLAND            OH   44410‐9444
PARENT, DONNA                 3962 CADWALLADER SONK RD                                                                          CORTLAND            OH   44410‐9444
PARENT, DOROTHY M.            177 LEWFIELD CIR                                                                                  WINTER PARK         FL   32792‐1124
PARENT, DOUGLAS J             37432 LAKEVILLE ST                                                                                HARRISON TOWNSHIP   MI   48045‐2877
PARENT, EARL A                5184 WATERMAN RD                                                                                  VASSAR              MI   48768‐9727
PARENT, FILOMENA J            13479 ADAMS DR                                                                                    WARREN              MI   48088‐1343
PARENT, FREDERICK G           3216 WEIGL RD                                                                                     SAGINAW             MI   48609‐9792
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Name                     Address1                          Address2               Address3   Address4         City               State Zip
PARENT, HARRY J          5560 RIVERLOOK DR NE                                                                 COMSTOCK PARK       MI 49321‐8213
PARENT, HELEN E          42450 SHELDON                     APT 202                                            CLINTON TOWNSHIP    MI 48038‐5470
PARENT, HELEN E          42450 SHELDON PL APT 202                                                             CLINTON TOWNSHIP    MI 48038‐5470
PARENT, HELEN V          4178 N MICHIGAN AVE                                                                  SAGINAW             MI 48604‐1645
PARENT, HENRY L          3345 CAMINO DEL SOL DR                                                               WILLIAMSTON         MI 48895‐9100
PARENT, IRENE P          1690 LEBLANC ST                                                                      LINCOLN PARK        MI 48146‐3912
PARENT, JANICE M         53 W CHICAGO AVE                                                                     PONTIAC             MI 48340‐1130
PARENT, JANICE M         53 W CHICAGO                                                                         PONTIAC             MI 48340‐1130
PARENT, JEFFREY L        3974 CADWALLADER SONK ROAD                                                           CORTLAND            OH 44410‐9444
PARENT, JENETTE          5184 WATERMAN RD                                                                     VASSAR              MI 48768‐9727
PARENT, JOE A            12440 S EAST ST                                                                      KOKOMO              IN 46901‐7661
PARENT, JOHN H           50169 WEDGEWOOD COURT NORTH                                                          SHELBY TWP          MI 48315‐3279
PARENT, JOHN T           2981 S RUMSEY RD                                                                     AU GRES             MI 48703‐9489
PARENT, JOSEPH F         12 SHENANDOAH DR                                                                     NEWARK              DE 19711‐3700
PARENT, JULES C          10300 ARROW RTE                                                                      RANCHO CUCAMONGA    CA 91730
PARENT, LAWRENCE L       34218 CHESTNUT RIDGE RD                                                              NORTH RIDGEVILLE    OH 44039
PARENT, LEONARD A        2902 SHAWNEE LN                                                                      WATERFORD           MI 48329‐4336
PARENT, LOIS A           PO BOX 5647                                                                          SAGINAW             MI 48603‐0647
PARENT, MARJORIE G       31207 FAIRFIELD DR                                                                   WARREN              MI 48088‐1840
PARENT, MARK C           3364 CHURCH ST                                                                       SAGINAW             MI 48604‐2245
PARENT, MILDRED T        4003 AUBURN DR                                                                       ROYAL OAK           MI 48073‐6338
PARENT, NORMA            2787 DOLL ROAD                                                                       LUPTON              MI 48635
PARENT, NORMAND A        27 PRISCILLA RD                                                                      WOONSOCKET           RI 02895‐3825
PARENT, PAMELA S         2317 E WHEELER ST                                                                    MIDLAND             MI 48642‐7151
PARENT, PAMELA SUE       2317 E WHEELER ST                                                                    MIDLAND             MI 48642‐7151
PARENT, PEGGY S          3974 CADWALLADER SONK ROAD                                                           CORTLAND            OH 44410‐9444
PARENT, PHYLLIS K        12440 S EAST ST                                                                      KOKOMO              IN 46901‐7661
PARENT, RALPH A          4884 HENDERSON LAKE RD                                                               PRESCOTT            MI 48756‐9696
PARENT, RALPH D          78 SIMPKINS DR                                                                       BRISTOL             CT 06010‐2688
PARENT, RANDALL E        15 CYPRUS RUN                     SUN CITY HILTON HEAD                               BLUFFTON            SC 29909
PARENT, RAYMOND B        31420 W CHICAGO ST                                                                   LIVONIA             MI 48150‐2826
PARENT, REBECCA M        #F                                188 TALSMAN DRIVE                                  CANFIELD            OH 44406‐1228
PARENT, RICHARD B        5576 MANGUS RD                                                                       BEAVERTON           MI 48612‐8577
PARENT, ROBERT           2471 W STADIUM BLVD                                                                  ANN ARBOR           MI 48103‐3809
PARENT, SHERI L          13129 VERONICA ST                                                                    SOUTHGATE           MI 48195
PARENT, STEVEN W         363 SEVILLE POINT CT                                                                 PONTIAC             MI 48340‐1066
PARENT, SUSAN            6078 COUNTRY RIDGE DR                                                                TROY                MI 48098‐5368
PARENT, THERESA M        6236 TWIN LAKES DR                                                                   KIMBALL             MI 48074‐1376
PARENT, THOMAS H         4003 AUBURN DR                                                                       ROYAL OAK           MI 48073‐6338
PARENTE LEO NYPDCA INC   404 E 79TH ST APT 26H                                                                NEW YORK            NY 10075‐1404
PARENTE, CLEMENTE J      C\O OMNI MGMT GROUP LTD           40 BEAVER ST                                       ALBANY              NY 12207
PARENTE, FRANCES D       104 COUNTRY PLACE LANE                                                               ROCHESTER           NY 14612‐1444
PARENTE, LOUIS P         20 CUNNIFF AVE                                                                       MILFORD             MA 01757‐2205
PARENTE, NICHOLAS J      610 S BREVARD AVE APT 914                                                            COCOA BEACH         FL 32931‐4453
PARENTE, NICHOLAS J      610 SOUTH BREVARD AVE UNIT #914                                                      COCO BEACH          FL 32931‐4453
PARENTEAU, GREG C        1235 E DECAMP ST                                                                     BURTON              MI 48529‐1107
PARENTEAU, MARK N        4366 MORRISH RD                                                                      SWARTZ CREEK        MI 48473‐1321
PARENTEAU, MARK NOE      4366 MORRISH RD                                                                      SWARTZ CREEK        MI 48473‐1321
PARENTEAU, NORMAND H     10 BENELLI ST                                                                        WOONSOCKET           RI 02895‐1414
PARENTEAU, R S           2280 ROWE RD                                                                         MILFORD             MI 48380‐2332
PARENTEAU, R SCOTT       2280 ROWE RD                                                                         MILFORD             MI 48380‐2332
PARENTEAU, ROBERT R      14033 BROOKRIDGE BLVD                                                                BROOKSVILLE         FL 34613‐5704
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Name                           Address1                        Address2                      Address3             Address4             City               State Zip
PARENTI LUIGI                  C/O LA SCALA                    STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO ITALY
PARENTI, ARMAND                66 MELROSE TER                                                                                          LINDEN              NJ   07036‐3712
PARENTI, CAROL T               65 SOUTH ST EXT                                                                                         BRISTOL             CT   06010‐6416
PARENTI, CAROL T               65 S STREET EXT                                                                                         BRISTOL             CT   06010‐6416
PARENTI, MARY A                12969 E CANAL DR                                                                                        CONNEAUT LAKE       PA   16316‐5703
PARESH
PARET SR, WILLIAM A            32327 CRESTWOOD                                                                                         FRASER              MI 48026‐2116
PARETTI WILLAMENA              PARETTI, WILLAMENA              2200 ENERGY CENTRE ‐ 1100                                               NEW ORLEANS         LA 70163
                                                               POYDRAS STREET
PARETTI, FRANK J               6100 SUNNYS WAY                                                                                         IMLAY CITY         MI    48444‐9699
PAREYT, DENISE A               13954 BADE DR                                                                                           WARREN             MI    48088‐3734
PAREZ, RADOVAN                 1135 BRIGHT GLEN CIR                                                                                    WESTLAKE VLG       CA    91361‐3319
PARFAITE III, PIERRE P         942 FRANKLIN AVE                                                                                        SALEM              OH    44460‐3802
PARFITT, ROBERT D              4323 ETHEL RD                                                                                           OBETZ              OH    43207‐4530
PARFITT, ROBERT E              28944 HUBBARD ST LOT 23                                                                                 LEESBURG           FL    34748‐8372
PARFREY, CHARLES O             2219 MACK BENDERMAN ROAD                                                                                CULLEOKA           TN    38451‐2036
PARGA, JOAQUIN                 11200 SEQUOYA LN                                                                                        INDIAN HEAD PARK   IL    60525‐3715
PARGO, STEVEN W                1170 BANGOR RD                                                                                          WATERFORD          MI    48328‐4722
PARGO, STEVEN WILLIAM          1170 BANGOR RD                                                                                          WATERFORD          MI    48328‐4722
PARHAM GERTRUDE B              DBA BRADLEY GROUP CONSULTING    404 W BURT DR                 AND TRAINING                              COLUMBIA           TN    38401‐2050
PARHAM HELMS HARRIS BLYTHE &   6100 FAIRVIEW RD STE 1200                                                                               CHARLOTTE          NC    28210‐4254
MORTON
PARHAM HERBERT (472134)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                             NORFOLK             VA 23510
                                                               STREET, SUITE 600
PARHAM JR, ERNEST              3685 DUSTINE DR E                                                                                       SAGINAW            MI    48603‐7921
PARHAM JR, MONROE              4735 CARTER AVE                                                                                         SAINT LOUIS        MO    63115‐2240
PARHAM JR, OTIS                3210 VILLAGE COURT DR                                                                                   FORT WAYNE         IN    46806‐2643
PARHAM JR, PERCY L             2520 OAKWOOD AVE                                                                                        SAGINAW            MI    48601‐3947
PARHAM OTIS JR                 PARHAM JR, OTIS                 3210 VILLAGE CT DR                                                      FORT WAYNE         IN    46806
PARHAM OTIS JR                 PARHAM JR, OTIS
PARHAM OTIS JR. 2ND ACTION     PARHAM JR, OTIS
PARHAM OTIS JR. 2ND ACTION     PARHAM JR, OTIS                 3210 VILLAGE CT DR                                                      FORT WAYNE          IN   46806
PARHAM REUBEN J                PARHAM, REUBEN J
PARHAM, ANDREW L               3857 FOX ST                                                                                             INKSTER            MI    48141‐2720
PARHAM, ANNIE L                14000 PEMBROKE                                                                                          DETROIT            MI    48235‐1521
PARHAM, BETTY                  909 S HAYNES AVE                                                                                        FORT WORTH         TX    76103‐3520
PARHAM, BETTY                  909 S HAYNES                                                                                            FT WORTH           TX    76103‐3520
PARHAM, BETTY A                3933 NORTHSTRAND DR                                                                                     DECATUR            GA    30035‐2369
PARHAM, BRENDA                 6232 FLOWERDAY DRIVE                                                                                    MOUNT MORRIS       MI    48458‐8458
PARHAM, CAROLYN H              1220 CHARTER CLUB DR                                                                                    LAWRENCEVILLE      GA    30043‐7518
PARHAM, CHARISSE D             6040 N SHERIDAN RD APT 204                                                                              CHICAGO            IL    60660‐2886
PARHAM, CHARLIE                536 S 9TH ST                                                                                            SAGINAW            MI    48601‐1964
PARHAM, CORNELIA               2018 LISBON DR SW                                                                                       ATLANTA            GA    30310‐4920
PARHAM, CRAIG                  2804 NW 157TH ST                                                                                        EDMOND             OK    73013‐8816
PARHAM, CURTIS B               PO BOX 3535                     C/O BETTY R PARHAM                                                      FARMINGTON HILLS   MI    48333‐3535
PARHAM, CURTIS B               C/O BETTY R PARHAM              P O BOX 3535                                                            FARMINGTON HILLS   MI    48333‐3535
PARHAM, DAVID L                382 FOREST LN                                                                                           DALLAS             TX    75243
PARHAM, DEBORAH A              11137 CREEK HAVEN DR                                                                                    RIVERVIEW          FL    33569‐6207
PARHAM, DEBORAH D              2600 CHANDLER DR APT 1236                                                                               BOWLING GREEN      KY    42104‐6234
PARHAM, DEBRA A                2443 HANFORD DR SW                                                                                      ATLANTA            GA    30315‐7104
PARHAM, DENISE                 81 HUNTERS CREEK TRL                                                                                    TOCCOA             GA    30577‐5199
PARHAM, DEREK M                APT 101                         915 ARDSLEY DRIVE                                                       O FALLON           MO    63366‐7662
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Name                          Address1                      Address2                      Address3   Address4         City            State Zip
PARHAM, DONALD M              809 CRABAPPLE RD                                                                        CLARKESVILLE     GA 30523‐1397
PARHAM, DOROTHY               17015 LINCOLN AVE                                                                       EASTPOINTE       MI 48021‐3031
PARHAM, EDDIE B               PO BOX 42038                                                                            ATLANTA          GA 30311‐9001
PARHAM, GAIL D                180 BELMONT AVE NE                                                                      WARREN           OH 44483‐4937
PARHAM, GARNETTE D            21701 KIPLING ST                                                                        OAK PARK         MI 48237‐3820
PARHAM, GARY D                8566 FREELAND ST                                                                        DETROIT          MI 48228‐2410
PARHAM, GARY DEWAYNE          8566 FREELAND ST                                                                        DETROIT          MI 48228‐2410
PARHAM, GREGORY E             PO BOX 616                                                                              MONROE           GA 30655‐0616
PARHAM, H J                   3920 SOMERLED TRL                                                                       COLLEGE PARK     GA 30349‐2036
PARHAM, HELEN W               7421 BRADFORD CT                                                                        MOBILE           AL 36695‐4423
PARHAM, HERBERT               GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                            STREET, SUITE 600
PARHAM, IDA R                 5017 LINSDALE ST                                                                        DETROIT         MI    48204‐3659
PARHAM, JAMES C               701 BURKE GLEN RD                                                                       TOLEDO          OH    43607‐2505
PARHAM, JAMES D               1317 VICTOR AVE                                                                         LANSING         MI    48910‐2571
PARHAM, JEWEL                 3636 WHITE BIRCH DR                                                                     MEMPHIS         TN    38115‐4916
PARHAM, JOHN A                1431 WADE BROWN RD                                                                      LEWISBURG       TN    37091‐6265
PARHAM, JOHN T                1401 GARY RD                                                                            MONTROSE        MI    48457‐9324
PARHAM, LARRY W               312 N 21ST ST                                                                           SAGINAW         MI    48601‐1311
PARHAM, LEE A                 6515 TAMARACK DR                                                                        TROY            MI    48098‐1903
PARHAM, LEE ANNA              6515 TAMARACK DR                                                                        TROY            MI    48098‐1903
PARHAM, LILLIAN               1450 MAIN STREET              APT# 210                                                  BRIDGEPORT      CT    06604
PARHAM, LILLIAN               1450 MAIN ST APT 210                                                                    BRIDGEPORT      CT    06604‐3647
PARHAM, MAEBELLE B            B0X 41                                                                                  MONROE          GA    30655
PARHAM, MARILYN E             19846 GALLAHAD DR                                                                       MACOMB          MI    48044‐1755
PARHAM, MICHAEL D             2733 AERIAL AVE                                                                         KETTERING       OH    45419‐2243
PARHAM, MILDRED A             1232 VISTA VALLEY DR                                                                    ATLANTA         GA    30329‐3452
PARHAM, OTIS L                PO BOX 18251                                                                            SAN ANTONIO     TX    78218‐0261
PARHAM, RANDY L               1422 DEVONSHIRE COUNTY DR                                                               WENTZVILLE      MO    63385‐4355
PARHAM, RAY                   18227 HEYDEN ST                                                                         DETROIT         MI    48219‐3499
PARHAM, REUBEN J              1220 CHARTER CLUB DR                                                                    LAWRENCEVILLE   GA    30043‐7518
PARHAM, REUBEN JAMES          1220 CHARTER CLUB DR                                                                    LAWRENCEVILLE   GA    30043‐7518
PARHAM, REVA                  51 BURBANK TER                                                                          BUFFALO         NY    14214‐2640
PARHAM, REVA                  51 BURBANK TERR                                                                         BUFFALO         NY    14214‐2640
PARHAM, RICHARD L             10537 GREEN MEADOW LN                                                                   PORT RICHEY     FL    34668‐3019
PARHAM, ROBERT L              5554 ABILENE ST.                                                                        DENVER          CO    80239‐0239
PARHAM, RONALD W              126 CARDINAL DR                                                                         BEECHER         IL    60401‐9501
PARHAM, RUBY M                913 E TAYLOR ST                                                                         KOKOMO          IN    46901‐4787
PARHAM, TERRIE                APT 25                        7732 GREENLAND PLACE                                      CINCINNATI      OH    45237‐1936
PARHAM, THERESA               103 N SANDERSON AVE                                                                     ELSBERRY        MO    63343‐1133
PARHAM, VIRGINIA A            3220 AUTUMN DR                                                                          ANTIOCH         TN    37013‐1208
PARHAM, WILLIAM               415 HARLAN AVE NE APT B                                                                 GRAND RAPIDS    MI    49503
PARHAM, WILLIAM G             3636 WHITE BIRCH DR                                                                     MEMPHIS         TN    38115‐4916
PARHAT, PATRICIA J            6066 BELMONT CT                                                                         GRAND BLANC     MI    48439‐8679
PARHAT, SCOTT H               PO BOX 190091                                                                           BURTON          MI    48519‐0091
PARHIALA PETER (467942)       SIMMONS FIRM                  PO BOX 521                                                EAST ALTON      IL    62024‐0519
PARHIALA, PETER               SIMMONS FIRM                  PO BOX 521                                                EAST ALTON       IL   62024‐0519
PARI KHOSHKISH                4201 CATHEDRAL AVE #317                                                                 WASHINGTON      DC    20016
PARICHAN RENBERG CROSSMAN &   PO BOX 9950                                                                             FRESNO          CA    93794‐0950
HARVEY LC
PARICKA, GAIL                 15517 HIGHWAY 67                                                                        BILOXI          MS 39532
PARIDON, VICTORIA L           1070 GARY AVE                                                                           GIRARD          OH 44420‐1942
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Name                             Address1                            Address2                        Address3   Address4         City               State Zip
PARIKH, AMIT J                   34908 PENNINGTON DR                                                                             FARMINGTON HILLS    MI 48335‐2043
PARIKH, ARJU                     1998 CALAFIA ST                                                                                 GLENDALE            CA 91208
PARIKH, ASHISH G                 1094 BLOOMVIEW CIR                                                                              ROCHESTER           MI 48307‐1728
PARIKH, JAYENDRA S               2087 ROOKERY DR                                                                                 ROCHESTER HILLS     MI 48309‐4519
PARIKH, MAHESH H                 8900 INDEPENDENCE PKWY              APT 6104                                                    PLANO               TX 75025‐5240
PARIKH, MAHESH H                 41531 VANCOUVER DR                                                                              STERLING HEIGHTS    MI 48314‐4161
PARIKH, MIRA V                   3295 FANTAIL DR                                                                                 ROCHESTER HILLS     MI 48309‐4295
PARIKH, NEEL R                   37603 LOIS DR                                                                                   STERLING HTS        MI 48310‐3569
PARIKH, NIRAV                    9495 STONEY RIDGE LN                                                                            ALPHARETTA          GA 30022‐7687
PARIKH, SHAILESH B               4904 RAMBLING DR                                                                                TROY                MI 48098‐6630
PARIKH, USHAKANT J               46461 STRATHMORE CT                                                                             PLYMOUTH            MI 48170‐3488
PARIKH, VIJAY G                  9702 W 56TH ST                                                                                  COUNTRYSIDE          IL 60525‐7221
PARILLO DENNIS                   PARILLO, DENNIS                     7 WILSON AVE                                                JOHNSTON             RI 02919
PARILLO, DENNIS                  7 WILSON AVE                                                                                    JOHNSTON             RI 02919
PARILLO, ELEANOR A               1413 MARLANE DR                                                                                 GIRARD              OH 44420‐1445
PARILLO, JOHN J                  5520 CIDER MILL XING                                                                            AUSTINTOWN          OH 44515‐4272
PARIMUCHA, NICHOLAS              47215 ELLIE DR                                                                                  MACOMB              MI 48044‐2937
PARINA, JOSEPH P                 37 JOELLEN DR                                                                                   ROCHESTER           NY 14626
PARINA, MICHELLE S               75 DEBBY LANE                                                                                   ROCHESTER           NY 14606‐5340
PARINI, ANTHONY S                16 ONTARIO DR                                                                                   CHEEKTOWAGA         NY 14225‐1747
PARINI, CHARLOTTE M              1766 SPRING MEADOW CT SE                                                                        CALEDONIA           MI 49316‐9154
PARINO CHARLES (468735)          KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND           OH 44114
                                                                     BOND COURT BUILDING
PARINO, CHARLES                  KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                CLEVELAND          OH 44114
                                                                     BOND COURT BUILDING
PARIS BAILEY                     PO BOX 295                                                                                      LAGRANGE           OH   44050‐0295
PARIS BANDY                      1304 FOX TRAIL DR W                                                                             NEW PALESTINE      IN   46163‐8957
PARIS CHEVROLET CADILLAC, L.P.   JEFFREY JONES                       1915 N MAIN ST                                              PARIS              TX   75460‐2116
PARIS DANNY W (429578)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510
                                                                     STREET, SUITE 600
PARIS FINANCE DIRECTOR           PO BOX 970                          CITY HALL                                                   PARIS              TN   38242‐0970
PARIS FORTNER                    1351 STERNS RD                                                                                  ERIE               MI   48133‐9608
PARIS GORE                       41 POWHATAN AVE                                                                                 COLUMBUS           OH   43204‐1913
PARIS IRWIN                      225 PERKINS LN                                                                                  JACKSBORO          TN   37757‐2812
PARIS JR, PAUL J                 2098 KNOLLWOOD AVE                                                                              POLAND             OH   44514‐1518
PARIS JUNIOR COLLEGE             2400 CLARKSVILLE ST                                                                             PARIS              TX   75460‐6258
PARIS KATHY FISHER               DBA PARIS CONSULTING                1112 N GALE RD                                              DAVISON            MI   48423
PARIS LOWE                       16995 STATE ROUTE 15                                                                            DEFIANCE           OH   43512‐8955
PARIS REDMOND                    111 W MARENGO AVE                                                                               FLINT              MI   48505‐3260
PARIS RICHARD (494075)           CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                       CLEVELAND          OH   44113‐1328
                                 COONE AND ASSOCIATES
PARIS SPREEMAN                   4468 HOLLY SHORES CT                                                                            HOLLY              MI 48442‐1828
PARIS THOMAS A JR (348361)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                     STREET, SUITE 600
PARIS YANCY                      1598 MARSHBANK DR                                                                               PONTIAC            MI   48340‐1075
PARIS, ANDREW W                  P0 BOX 4121                                                                                     EAST LANSING       MI   48826
PARIS, ANTHONY J                 152 KAYWOOD DR                                                                                  ROCHESTER          NY   14626‐3767
PARIS, APRIL L                   1806 SHADY DR                                                                                   FARRELL            PA   16121‐1343
PARIS, ARTHUR S                  2060 OCEAN RIDGE CIR                                                                            VERO BEACH         FL   32963‐2734
PARIS, DANNY W                   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                                     STREET, SUITE 600
PARIS, DAVID A                   2436 YOST BLVD                                                                                  ANN ARBOR           MI 48104‐5221
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Name                  Address1                            Address2                       Address3   Address4         City                State Zip
PARIS, DORIS A        3419 OLD FARM RD                                                                               KALAMAZOO            MI 49004‐4316
PARIS, GENEVA M       660 N SPRING ST APT 404                                                                        INDEPENDENCE         MO 64050‐2763
PARIS, GENEVA M       660 N SPRING #404                                                                              INDEPENDENCE         MO 64050‐2763
PARIS, HELEN M        ROUTE 1 BOX 16                                                                                 APPLETON CITY        MO 64724
PARIS, HUBERT J       801 W HOUSTON ST                                                                               MARSHALL             TX 75670‐3938
PARIS, IDA E          151 RHEA CRESCENT                                                                              ROCHESTER            NY 14615‐1267
PARIS, IDA E          151 RHEA CRES                                                                                  ROCHESTER            NY 14615‐1267
PARIS, JAMES J        800 PARK AVE                                                                                   RIVER FOREST          IL 60305
PARIS, JEFFREY L      2 A ANCHOR DR.                                                                                 LAKE TAPAWINGO       MO 64015
PARIS, JOHN J         1972 LYNN AVE                                                                                  YOUNGSTOWN           OH 44514‐1121
PARIS, JOSE M         1855 INDUSTRIAL ST APT 406                                                                     LOS ANGELES          CA 90021‐1257
PARIS, JOSEPH         34 W FOREST DR                                                                                 ROCHESTER            NY 14624‐3760
PARIS, JOSEPH M       4284 E COURT ST                                                                                BURTON               MI 48509‐1816
PARIS, JOSEPH P       59 OLD PINE LN                                                                                 ROCHESTER            NY 14615‐1167
PARIS, JOSEPH P       59 OLD PINE LANE                                                                               ROCHESTER            NY 14615‐1167
PARIS, KARIN          2400 AITKEN RD                                                                                 BROWN CITY           MI 48416‐9189
PARIS, KATHY F        1112 N GALE RD                                                                                 DAVISON              MI 48423‐2505
PARIS, KEITH M        1636 HOLLY WAY                                                                                 LANSING              MI 48910‐2587
PARIS, KENNETH A      35 X ST                                                                                        LAKE LOTAWANA        MO 64086‐9763
PARIS, MARIA A        34 W FOREST DR                                                                                 ROCHESTER            NY 14624‐3760
PARIS, MARY E         101 REAGAN CIRCLE                                                                              FRANKLIN             IN 46131‐7286
PARIS, MARY E         101 REAGAN CIR                                                                                 FRANKLIN             IN 46131‐7286
PARIS, MICHAEL G      747 RIDGEFIELD DR                                                                              COOPERSVILLE         MI 49404‐9665
PARIS, MICHAEL J      59 OLD PINE LN                                                                                 ROCHESTER            NY 14615‐1167
PARIS, MICHAEL V.     1327 LEISURE DRIVE                                                                             FLINT                MI 48507‐4013
PARIS, MYRON L        16513 E 53RD STREET CT S                                                                       INDEPENDENCE         MO 64055‐6827
PARIS, NICHOLAS       29291 RIDGEFIELD AVE                                                                           WARREN               MI 48088‐3616
PARIS, PAUL D         9268 LA SPEZIA DR                                                                              DAVISON              MI 48423‐8709
PARIS, RAYMOND F      12018 E SMART AVE                                                                              SUGAR CREEK          MO 64054‐1539
PARIS, RICHARD        CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                      CLEVELAND            OH 44113‐1328
                      COONE AND ASSOCIATES
PARIS, ROBERT E       30536 MANSE ST                                                                                 HARRISON TOWNSHIP   MI   48045‐1876
PARIS, ROBERT M       5304 COTTAGE DR                                                                                CORTLAND            OH   44410‐9521
PARIS, ROSE M         34 W FOREST DR                                                                                 ROCHESTER           NY   14624‐3760
PARIS, SAMUEL F       1723 CHILI AVENUE                                                                              ROCHESTER           NY   14624‐3235
PARIS, THOMAS A       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA   23510‐2212
                                                          STREET, SUITE 600
PARIS, WILLIAM J      450 CAMPUS DR                                                                                  SNYDER              NY 14226‐2537
PARISE, ANGELA M      1567 ELMWOOD AVE APT 4              BRIGHTON IMPERIAL SOUTH APTS                               ROCHESTER           NY 14620‐3616

PARISE, ANGELA M      BRIGHTON IMPERIAL SOUTH APTS        1567 ELMWOOD AVE APT # 4                                   ROCHESTER           NY   14620
PARISE, JAMES A       2685 OAK FOREST DR                                                                             NILES               OH   44446‐4460
PARISE, KATHERINE C   4014 GREENBROOK LN                                                                             FLINT               MI   48507‐2224
PARISE, KENNETH S     121 LAKE ST                                                                                    PERRY               NY   14530
PARISE, MELINDA       44621 MEADOWCREEK LN                                                                           CANTON              MI   48187‐2475
PARISE, NORMAN P      222 SMITHFIELD ST                                                                              STRUTHERS           OH   44471‐1561
PARISE, WILLIAM E     412 DURST DR NW                                                                                WARREN              OH   44483‐1108
PARISEAU, KAREN E     3447 DUFFIELD RD                                                                               FLUSHING            MI   48433‐9709
PARISEAU, LOUIS G     APT 207                             8 GARDEN STREET                                            JUPITER             FL   33469‐2533
PARISEAU, LOUIS G     8 GARDEN STREET                     APT 207‐R                                                  TEQUESTA            FL   33469
PARISEAU, M SHARON    713 GROVEMONT ST                                                                               SANTA ANA           CA   92706‐2041
PARISEAU, ROBERT V    2488 S OAK RD                                                                                  DAVISON             MI   48423‐9144
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Name                                 Address1                               Address2                 Address3    Address4         City               State Zip
PARISEAU, WILLIAM R                  530 JEFFERSON AVE                                                                            FAIRPORT            NY 14450‐2916
PARISEN, JON D                       24 KROTONA ST                                                                                OJAI                CA 93023‐3901
PARISH CHERYL                        6065 ROSWELL RD NE                     STE 109                                               ATLANTA             GA 30328‐4011
PARISH DAVID                         1578 NEW YORK AVE                                                                            LINCOLN PARK        MI 48146‐3810
PARISH DOROTHY                       3460 CARRIAGE XING                                                                           SAINT CHARLES       MO 63301‐3225
PARISH JR, KENNETH J                 215 RIO VISTA AVE                                                                            BROWNSVILLE         TX 78520‐4341
PARISH KENNETH                       PARISH, KENNETH                        6236 BARLEY AVE                                       LOUISVILLE          KY 40218
PARISH OF CALCASIEU                  PO BOX 1450                                                                                  LAKE CHARLES        LA 70602‐1450
PARISH OF CALDWELL                   SALES/USE TAX DEPT                     PO BOX 280                                            VIDALIA             LA 71373‐0280
PARISH OF FRANKLIN                   6556 MAIN ST                                                                                 WINNSBORO           LA 71295‐2701
PARISH OF JEFFERSON DAVIS            PO BOX 863                                                                                   JENNINGS            LA 70546‐0863
PARISH OF LAFOURCHE                  SHERIFF AND EX‐OFFICIO TAX             PO BOX 5608              COLLECTOR                    THIBODAUX           LA 70302‐5608
PARISH OF POINTE COUPEE              PO BOX 248                                                                                   NEW ROADS           LA 70760‐0248
PARISH OF SAINT TAMMANY              ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 808                                            SLIDELL             LA 70459‐0808

PARISH OF SAINT TAMMANY              PO BOX 808                                                                                   SLIDELL             LA   70459‐0808
PARISH OF ST. BERNARD                PO BOX 168                                                                                   CHALMETTE           LA   70044‐0168
PARISH OF ST. BERNARD                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 168                                            CHALMETTE           LA   70044‐0168

PARISH OF ST. MARY                   SALES AND USE TAX DEPARTMENT          P.O. DRAWER 1279                                       MORGAN CITY         LA   70381
PARISH OF ST. TAMMANY                PO BOX 808                                                                                   SLIDELL             LA   70459‐0808
PARISH OF ST.MARY                    PO DRAWER 1279                                                                               MORGAN CITY         LA   70381
PARISH OF TANGIPAHOA TAX COLLECTOR   PO BOX 942                                                                                   AMITE               LA   70422‐0942

PARISH OF TERREBONNE                 SALES AND USE TAX DEPARTMENT           PO BOX 670                                            HOUMA               LA   70361‐0670
PARISH OF TERREBONNE                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 670                                            HOUMA               LA   70361‐0670

PARISH OF TERREBONNE                 PO BOX 670                                                                                   HOUMA               LA   70361‐0670
PARISH TAX COLLECTOR                 PO BOX 95290                                                                                 LAFAYETTE           LA   70509
PARISH TAX COLLECTOR                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 95290                                          LAFAYETTE           LA   70509

PARISH, ALLEN J                      8249 N CORNWELL AVE                                                                          HARRISON           MI    48625‐8854
PARISH, ANNA M                       2254 E BUDER AVE                                                                             BURTON             MI    48529‐1776
PARISH, ARLO G                       246 ROSE BRIER DR                                                                            ROCHESTER HLS      MI    48309‐1125
PARISH, BETTY J                      5215 RIDGE RD                                                                                ANDERSON           IN    46013
PARISH, BETTY L                      3327 SOUTH CREEK DR                   APT 103                                                GRAND RAPIDS       MI    49512
PARISH, BETTY L                      3327 S CREEK DR SE APT 103                                                                   GRAND RAPIDS       MI    49512‐8366
PARISH, CHARLES E                    PO BOX 222                                                                                   MITCHELL           IN    47446‐0222
PARISH, DALE E                       7738 CLIFTON DR                                                                              SOUTH BRANCH       MI    48761‐9622
PARISH, DAVID L                      6937 KIMKRIS CT                                                                              INDIANAPOLIS       IN    46278‐1586
PARISH, DAVID LEE                    6937 KIMKRIS CT                                                                              INDIANAPOLIS       IN    46278‐1586
PARISH, DEBORAH A                    5057 W HARDING RD                                                                            KNIGHTSTOWN        IN    46148‐9631
PARISH, DENNIS A                     G‐6510 VERDUN ST                                                                             MOUNT MORRIS       MI    48458
PARISH, DON W                        18 STEVENS ST                                                                                EAST TAUNTON       MA    02718‐5128
PARISH, DONALD                       144 PARTRIDGE CIR                                                                            TAUNTON            MA    02780‐7258
PARISH, DOUGLAS J                    213 S COMPANY ST                                                                             WHITE PIGEON       MI    49099‐9793
PARISH, EARL                         THE LIPMAN LAW FIRM                   5915 PONCE DE LEON BLVD   SUITE 44                     CORAL GABLES       FL    33146
PARISH, EMILY T                      1041 THORNAPPLE RIVER DR SE           C/O DAVID VANDERJAGT                                   ADA                MI    49301‐7876
PARISH, EVELYN E                     7146 MILLER ROAD                                                                             SWARTZ CREEK       MI    48473
PARISH, GARNET L                     30051 CLUB HOUSE LN                                                                          FARMINGTON HILLS   MI    48334‐2021
PARISH, GARY
PARISH, GARY W                       3595 GALE RD                                                                                 EATON RAPIDS       MI 48827‐9632
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Name                               Address1                        Address2               Address3      Address4             City              State Zip
PARISH, GARY W                     3595 GALE ROAD                                                                            EATON RAPIDS       MI 48827‐9632
PARISH, GEORGE R                   6900 DAVIS HWY                                                                            GRAND LEDGE        MI 48837‐9474
PARISH, GERALD F                   1611 HUBBARD THOMAS RD                                                                    HUBBARD            OH 44425‐3045
PARISH, HARLES L                   4215 MEADOW LN                                                                            GLENNIE            MI 48737‐9764
PARISH, HAROLD T                   55737 LANCEWOOD DR                                                                        SHELBY TOWNSHIP    MI 48316‐5810
PARISH, JACOB                      1300 REED CREEK DR                                                                        HARWOOD            TX 78632‐4773
PARISH, JAKE                       1306 JAN ACRES                                                                            FESTUS             MO 63028‐4248
PARISH, JAMES A                    3437 LAKESIDE DR.                                                                         MINERAL RIDGE      OH 44440‐9738
PARISH, JAMES L                    1829 W HOUSTONIA AVE                                                                      ROYAL OAK          MI 48073
PARISH, JANICE O                   12511 EAST 39TH ST                                                                        INDEPENDENCE       MO 64055
PARISH, JANICE O                   12511 E 39TH ST S                                                                         INDEPENDENCE       MO 64055‐4361
PARISH, JO ANN                     849 NILES VIENNA RD                                                                       VIENNA             OH 44473‐9522
PARISH, JODI                       225 PONDEROSA TRAIL SOUTH                                                                 BELLEVILLE         MI 48111‐5407
PARISH, JOHN D                     294 PERRY RD                                                                              VERMONTVILLE       MI 49096‐9532
PARISH, JUDY A                     9338 E LIPPINCOTT BLVD                                                                    DAVISON            MI 48423
PARISH, KEITH W                    1600 SUNNY ESTATES DR                                                                     NILES              OH 44446‐4104
PARISH, KENNETH                    6236 BARLEY AVE                                                                           LOUISVILLE         KY 40218‐3979
PARISH, L D                        3851 GARRISON RD                                                                          TOLEDO             OH 43613‐4213
PARISH, LELA                       119 NORTHAVEN DR                                                                          JACKSON            MS 39209‐9578
PARISH, LEO G                      3054 PINEHURST AVE                                                                        PITTSBURGH         PA 15216‐2435
PARISH, LOLA P                     17700 MCKINLEY RD                                                                         BIG RAPIDS         MI 49307‐8867
PARISH, MICKEY D                   660 SPANISH OAK TRL                                                                       HARPER             TX 78631‐6342
PARISH, NICOLE M                   1729 W RUNDLE AVE                                                                         LANSING            MI 48910‐2572
PARISH, ONEIL R                    6326 SOUTHCREST DR                                                                        SHREVEPORT         LA 71119‐7244
PARISH, PATRICIA A                 216 ORCHARD LN                                                                            KOKOMO             IN 46901‐5146
PARISH, QUANTRICE L                811 HALLWORTH PL                                                                          TROTWOOD           OH 45426‐2216
PARISH, RALPH
PARISH, RALPH C                    2360 GIBSON RD                                                                            GRAND BLANC       MI   48439‐8548
PARISH, RALPH CARL                 2360 GIBSON RD                                                                            GRAND BLANC       MI   48439‐8548
PARISH, RICHARD A                  1859 STILLWAGON RD SE                                                                     WARREN            OH   44484‐3164
PARISH, ROBERT L                   710 FRANK ST                                                                              ADRIAN            MI   49221‐3072
PARISH, RONALD D                   3596 MERIDIAN RD                                                                          OKEMOS            MI   48864‐4133
PARISH, RONALD L                   2741 W OHIO ST                                                                            APACHE JUNCTION   AZ   85220‐5231
PARISH, WILLIAM E                  6356 N MERRITT RD                                                                         MERRITT           MI   49667‐9754
PARISHO, CHARLES A                 15658 W ECHOWOOD CT                                                                       SURPRISE          AZ   85374‐5648
PARISHO, OTTO F                    4241 RIVERVIEW RD                                                                         FORT MYERS        FL   33905‐2802
PARISI JAMES                       PARISI, JAMES                   100 WEST RD STE 300                                       TOWSON            MD   21204‐2370
PARISI JOHN P (415485)             SIMMONS FIRM                    PO BOX 559                                                WOOD RIVER        IL   62095‐0559
PARISI PAOLO AND PRINZI GIOVANNA   VIA DI MONTE PELLEGRINO 11                                           00060 SACROFANO RM
                                                                                                        ITALY
PARISI, CHARLES R                  275 DEWITT ST                                                                             BUFFALO           NY   14213‐1121
PARISI, DANILO                     3209 BERRY BROW DR                                                                        CHALFONT          PA   18914‐1066
PARISI, JAMES                      KAHN & ASSOCIATES LLC           55 PUBLIC SQ STE 650                                      CLEVELAND         OH   44113‐1909
PARISI, JOHN                       SIMMONS FIRM                    PO BOX 559                                                WOOD RIVER        IL   62095‐0559
PARISI, JOHN                       42729 JASON CT                                                                            STERLING HTS      MI   48313‐2636
PARISI, JOSEPH B                   173 BLOOMFIELD AVE                                                                        BUFFALO           NY   14220‐1922
PARISI, JOSEPH C                   5804 DUMFRIES DRIVE                                                                       RALEIGH           NC   27609‐4008
PARISI, JOSEPH C                   15300 PALM DR SPC 257                                                                     DSRT HOT SPGS     CA   92240‐8154
PARISI, LEONARD                    9225 GARRISON DR                UNIT 118                                                  INDIANAPOLIS      IN   46240
PARISI, LEONARD                    APT 118                         9225 GARRISON DRIVE                                       INDIANAPOLIS      IN   46240‐1375
PARISI, LINDA                      4404 LANNOY LN                                                                            ANDERSON          IN   46017‐9747
PARISI, MARY L                     1675 ROOSEVELT                                                                            NILES             OH   44446‐4107
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Name                               Address1                          Address2                      Address3   Address4                City                   State Zip
PARISI, MICHAEL                    PO BOX 821                                                                                         WEBSTER                 NY 14580‐0821
PARISI, ROSE M                     142 CHARTER CIR                                                                                    OSSINING                NY 10562‐6005
PARISI, RUSSELL C                  129 LAFAYETTE AVE APT 1                                                                            BUFFALO                 NY 14213‐1352
PARISIAN JACK MARVIN (429579)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK                 VA 23510
                                                                     STREET, SUITE 600
PARISIAN, JACK MARVIN              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK                VA 23510‐2212
                                                                     STREET, SUITE 600
PARISIEN, ALBERT A                 5533 MURPHYWOOD CROSSING                                                                           ANTIOCH                TN   37013‐2391
PARISIEN, DANIEL B                 12130 ROHN RD                                                                                      FENTON                 MI   48430‐9460
PARISIEN, GERMAINE A               2753 OTTO CT                                                                                       GREEN BAY              WI   54313‐5827
PARISON, ALBERT J                  5893 CAMP WAHSEGA RD                                                                               DAHLONEGA              GA   30533‐1872
PARISON, DOROTHY G                 5893 CAMP WAHSEGA RD                                                                               DAHLONEGA              GA   30533‐1872
PARISON, JOHN A                    35980 GLENVILLE DR                                                                                 NEW BALTIMORE          MI   48047‐5861
PARISOT, DAVID M                   550 S DENWOOD ST                                                                                   DEARBORN               MI   48124‐1525
PARISSE JEAN ELIE                  RUE CORELLE 7                                                              B‐6724 RULLES BELGIUM
PARISSE, GEORGE                    944 RUIE RD APT 5                                                                                  N TONAWANDA            NY   14120‐1737
PARITEE, MICHAEL S                 30 WINDSOR DR                                                                                      WEST WINDSOR           NJ   08550‐1642
PARIZA, BERNARDA                   7145 N OXSHIRE PL                                                                                  PAINESVILLE            OH   44077‐9586
PARIZEK JAMES R (455121)           SIMMONS FIRM                      PO BOX 559                                                       WOOD RIVER             IL   62095‐0559
PARIZEK, JAMES R                   SIMMONS FIRM                      PO BOX 559                                                       WOOD RIVER             IL   62095‐0559
PARIZEK, ROSALIE E                 5011 W CONCORD DR                                                                                  LA PORTE               IN   46350‐7604
PARIZO, PATRICIA A                 1924 SHILOH SPRINGS RD                                                                             DAYTON                 OH   45426
PARIZO, PATRICIA ANN               7360 CHATLAKE DR                                                                                   HUBER HEIGHTS          OH   45424‐3262
PARIZO, ROLAND J                   27 SHELLEY ST                                                                                      WATERBURY              CT   06705‐1128
PARIZON, JOSEPH R                  23392 PORT ST                                                                                      FLAT ROCK              MI   48134‐1412
PARK 'N FLY INC                    GEORGE CASEY                      2006 MT. PARAN RD                                                ATLANTA                GA   30327
PARK AMERICA INC LAW ENFORCEMENT   PO BOX 1348                                                                                        LONG ISLAND CITY       NY   11101‐0348
SYSTEMS
PARK ANESTH INC                    PO BOX 845706                                                                                      BOSTON                 MA 02284‐5706
PARK AUTO REPAIR INC.              1801 PARK AVE                                                                                      CHESAPEAKE             VA 23324‐3336
PARK AVENUE EAST, LLC              BILL HASSETT                      985 POST RD                                                      FAIRFIELD              CT 06824‐6013
PARK AVENUE PRODUCTIONS PLC        1 HYTHE RD                        NW10 6RR LONDON                          ENGLAND GREAT BRITAIN
PARK AVENUE RADIOLOGISTS PC        525 PARK AVE                                                                                       NEW YORK               NY   10065
PARK AVENUE SECURITIES             ATTN: STEVEN FERRARA              1150 RARITAN RD # 204                                            CRANFORD               NJ   07016‐3369
PARK AVENUE SERVICE                1932 WANTAGH AVE                                                                                   WANTAGH                NY   11793‐3912
PARK B A GROUP LLC                 4 BRITISH AMERICAN BLVD                                                                            LATHAM                 NY   12110
PARK CADILLAC PONTIAC GMC, INC.    149 DANBURY RD                                                                                     NEW MILFORD            CT   06776‐3429
PARK CHANDEOK                      201 GLENWOOD CIR APT 307                                                                           MONTEREY               CA   93940
PARK CITIES SURGERY                6901 SNIDER PLZ STE 300                                                                            DALLAS                 TX   75205‐5650
PARK COLLEGE                       113 W LEXINGTON AVE                                                                                INDEPENDENCE           MO   64050‐3705
PARK COLLEGE                       88 MSSQ DPEEE                     2000 ALLBROOK DR SUITE 3                                         WRIGHT PATTERSON AFB   OH   45433
PARK COLLEGE                       934 WYANDOTTE                                                                                      KANSAS CITY            MO   64105
PARK COLLEGE                       PO BOX 413722                                                                                      KANSAS CITY            MO   64141‐3722
PARK COUNTRY CLUB THE              4949 SHERIDAN DR                                                                                   WILLIAMSVILLE          NY   14221‐4549
PARK COUNTY TREASURER              414 EAST CALLENDER STREET                                                                          LIVINGSTON             MT   59047
PARK COUNTY TREASURER              1002 SHERIDAN AVENUE                                                                               CODY                   WY   82414
PARK CREEK VENTURE                 C\O DUKE REALTY SERVICES LP       PO BOX 66419                                                     INDIANAPOLIS           IN   46266‐6419
PARK DAN                           10002 PACIFIC AVE                                                                                  FRANKLIN PARK          IL   60131‐1831
PARK DEBBIE                        1504 NE 67TH PL                                                                                    GLADSTONE              MO   64118‐3659
PARK DEOKKYU JAMES                 1603 CANYON RUN RD                                                                                 NAPERVILLE             IL   60565‐9211
PARK DJ                            10186 HATHERLEY WAY                                                                                FISHERS                IN   46037‐8490
PARK EAST CARDIOLOGY ASSOC         158 E 84TH ST                                                                                      NEW YORK               NY   10028‐2005
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Name                                  Address1                               Address2                          Address3             Address4               City               State Zip
PARK ELECTRIC COMPANY                 19197 SHERWOOD ST                                                                                                    DETROIT             MI 48234‐2818
PARK EXECUTIVE BLDG                   C\O RAVEL PROPERTY MGMT                925 L ST STE 100                                                              SACRAMENTO          CA 95814‐3773
PARK EXECUTIVE BUIDLING               C/O RAVEL PROPERTY MGMT                925 L ST STE 100                                                              SACRAMENTO          CA 95814‐3773
PARK EYE & SURGI‐CTR                  ATTN: TAMMY BRUENING                   5014 VILLA LINDE PKWY                                                         FLINT               MI 48532‐3411
PARK FLETCHER L P 29 & 30             PO BOX 421607                                                                                                        INDIANAPOLIS        IN 46242‐1607
PARK FRED (446826) ‐ PARK FRED        KELLEY & FERRARO LLP                   1300 EAST NINTH STREET , 1901                                                 CLEVELAND           OH 44114
                                                                             BOND COURT BUILDING
PARK FRED (446827) ‐ PARK FRED        KELLEY & FERRARO LLP                   1300 EAST NINTH STREET , 1901                                                 CLEVELAND          OH 44114
                                                                             BOND COURT BUILDING
PARK GREEN OPERATING ASSOC LP         C\O CORPUS CHRISTI REALTY MGMT         PO BOX 81281                                                                  CORPUS CHRISTI     TX 78468‐1281
PARK HILL SCHOOL DISTRICT                                                    8500 NW RIVER PARK DR                                                                            MO 64152
PARK HILL SCHOOL DISTRICT COMMUNITY   7703 NW BARRY RD                                                                                                     KANSAS CITY        MO 64153‐1731
EDUCATION
PARK HUNDLEY                          1562 WOODHILL CIR NE                                                                                                 WARREN             OH    44484‐3949
PARK HYATT CHICAGO                    800 N MICHIGAN                                                                                                       CHICAGO            IL    60611
PARK HYATT/SAN FRANC                  333 BATTERY STREET                                                                                                   SAN FRANCISCO      CA    94111
PARK IND/ST CLOUD                     PO BOX 188                                                                                                           SAINT CLOUD        MN    56302‐0188
PARK INN MOTEL INC
PARK INN/MINNEAPOLIS                  1313 NICOLLET AVE                                                                                                    MINNEAPOLIS        MN    55403‐2630
PARK JANEY                            1015 W HIDDEN CREEK CT                                                                                               VERNON HILLS       IL    60061‐2567
PARK JENNINGS                         3495 MOCKINGBIRD DR                                                                                                  LAKE HAVASU CITY   AZ    86406‐5751
PARK JOONG S                          PARK, JOONG S                          350 SENTRY PARKWAY BLDG 640 , P                                               BLUE BELL          PA    19422
                                                                             O BOX 3038
PARK JOSEPH A (429580)                GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA 23510
                                                                             STREET, SUITE 600
PARK JR, JOHN H                       380 FOX MEADOW DR                                                                                                    COVINGTON          GA 30016‐4359
PARK JUN YOUNG                        STE 600                                2600 NETWORK BOULEVARD                                                        FRISCO             TX 75034‐6015
PARK LANE CHEVROLET OLDSMOBILE        1290 LONDON RD                                                                                SARINA CANADA ON N7S
                                                                                                                                    1P5 CANADA
PARK LANE CHEVROLET OLDSMOBILE        ATTN: PRESIDENT                        1290 SARNIA RD.                                        SARNIA ON N7S 1PS
CADILLAC LTD.                                                                                                                       CANADA
PARK LANE CHEVROLET OLDSMOBILE        ATTN; PRESIDENT                        1290 LONDON ROAD                                       SARNIA ON N7S 1P5
CADILLAC, LTD.                                                                                                                      CANADA
PARK LAYNE SUNOCO                     2131 S DAYTON LAKEVIEW RD                                                                                            NEW CARLISLE       OH 45344‐2314
PARK METAL PRODUCTS CO                19197 SHERWOOD ST                                                                                                    DETROIT            MI 48234‐2818
PARK MOTEL                            ATTN: PAUL JHAVERI                     6060 N SAGINAW RD                                                             MT MORRIS          MI 48458‐2402
PARK MUFFLER (WOODBRIDGE HOLDINGS     101 SENECA RD                                                                                 SHERWOOD PARK AB T8A
LTD)                                                                                                                                4G6 CANADA
PARK N TICKET TRAVEL AGENCY           3945 CONLEY ST                                                                                                       COLLEGE PARK       GA    30337‐4220
PARK NAMEPLATE                        RICHARD SMILEY                         27 PRODUCTION DR                                                              DOVER              NH    03820
PARK NAMEPLATE CO INC                 RICHARD SMILEY                         27 PRODUCTION DR.                                                             ROCHESTER          NY    14606
PARK NAMEPLATE CO INC                 27 PRODUCTION DR                                                                                                     DOVER              NH    03820‐5917
PARK NATIONAL BANK                    28 W MADISON                                                                                                         OAK PARK           IL    60302
PARK NATIONAL BANK                    3555 PARK PL W STE 100                                                                                               MISHAWAKA          IN    46545‐3587
PARK NATIONAL BANK                    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 28 W MADISON                                                                  OAK PARK           IL    60302

PARK NATIONAL BANK                    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 3555 PARK PL W STE 100                                                        MISHAWAKA           IN   46545‐3587

PARK NATIONAL BANK                    THOMAS V ASKOUNIS                      ASKOUNIS & DARCY PC               401 NORTH MICHIGAN                          CHICAGO             IL   60611
                                                                                                               AVENUE SUITE 550
PARK OH INDUSTRIES                    13663 SHORT RD                                                                                                       WAPAKONETA         OH 45895‐8362
PARK OHIO INDUSTRIES INC              GENEVA RUBBER DIVISION                 5449 BISHOP RD                                                                GENEVA             OH 44041‐9600
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Name                               Address1                           Address2                 Address3    Address4             City               State Zip
PARK OHIO INDUSTRIES INC           103 W MAIN ST                      RMVD 10/20/04 CS                                          HUDSON              MI 49247‐1022
PARK ONE HUNDRED FOODS INC         519 W SPRAKER ST                                                                             KOKOMO              IN 46901‐2134
PARK PAUL                          3883 HOLLY SPRINGS DR                                                                        CORONA              CA 92881‐8207
PARK PLACE/KANSAS CT               1601 UNIVERSAL AVE                                                                           KANSAS CITY         MO 64120‐1316
PARK PLACE/TRAVRS CT               300 E STATE ST                                                                               TRAVERSE CITY       MI 49684‐2517
PARK PLAINES CHEVROLET GEO INC     2142 AUSTIN DR                                                                               TROY                MI 48083‐2238
PARK PLAINES CHEVROLET‐GEO, INC.   INTERCOMPANY
PARK PLAZA RADIOLOGY INC           DEPT CH 17858                                                                                PALATINE           IL   60055‐7858
PARK PLAZA/SAN FRANS               1177 AIRPORT BLVD                                                                            BURLINGAME         CA   94010‐1909
PARK PORTER LTD                    PO BOX 4264                                                                                  WARREN             OH   44482‐4264
PARK RIDGE AUTO REPAIR             316 HIGGINS RD                                                                               PARK RIDGE         IL   60068‐5745
PARK RIDGE TRANSPORT INC           PO BOX 256                                                                                   WILLOW SPRINGS     IL   60480‐0256
PARK RITE/PES WILMINGTON NC        C/O CITATION PROCESSING CENTER     PO BOX 2730                                               HUNTINGTON BEACH   CA   92647‐2730
PARK ROYALE SUPERCENTER            8200 AUTO DRIVE                                                                              RIVERSIDE          CA   92504‐4106
PARK SLOPE FOOD CORP INC PENSION   ATTN: JOSEPH HOLTZ, TRUSTEE        782 UNION ST                                              BROOKLYN           NY   11215
PLAN & TRUST
PARK SO YON                        3716 CHERRY CREEK LN                                                                         STERLING HEIGHTS   MI   48314
PARK SR, GARY L                    15729 LABRADOR ST                                                                            NORTH HILLS        CA   91343‐2024
PARK STEVE YOUNG                   6868 KENNESAW RD                                                                             CANTON             MI   48187‐1283
PARK UNIVERSITY                    8700 NW RIVER PARK DRIVE BOX 25                                                              PARKVILLE          MO   64152
PARK VIEW FEDERAL SAVINGS BANK     C/O CARLYN HUGHES                  25350 ROCKSIDE RD                                         BEDFORD HEIGHTS    OH   44146
PARK YOUNG H                       45283 MOUNTAIN ASH CT                                                                        SHELBY TOWNSHIP    MI   48317‐4998
PARK'S GARBAGE SERVICE INC.                                           11763 SHIRLEY AYR ROAD                                                       PA   17066
PARK'S OLD STYLE BAR‐B‐Q           7444 BEAUBIEN ST                                                                             DETROIT            MI   48202‐3102
PARK, ALLISON                      659 S HUCKLEBERRY AVE                                                                        BEAR               DE   19701‐1340
PARK, ANNA                         2667 MANATEE CT.                                                                             LAPEER             MI   48446‐3294
PARK, ANTHONY S                    6410 CHELTENHAM RD S                                                                         HIXSON             TN   37343‐2563
PARK, BARBARA L                    5823 LEISURE SOUTH DR SE           BLD. 20                                                   KENTWOOD           MI   49548‐6855
PARK, BETTY                        12257 GRAHAM DR                                                                              ORIENT             OH   43146‐9112
PARK, BETTY G                      4580 LYTLE                                                                                   CORUNNA            MI   48817‐9592
PARK, BETTY G                      4580 LYTLE RD                                                                                CORUNNA            MI   48817‐9104
PARK, BRIAN
PARK, BRIAN D                      445 E. NORTH WATER ST.             603E                                                      CHICAGO            IL   60611
PARK, BRIAN S                      1077 RALPH ST                                                                                LANSING            MI   48906‐1446
PARK, BYIUNG K                     300 SAINT ANDREWS RD STE 301                                                                 SAGINAW            MI   48638
PARK, BYUNG M                      22 N HURON ST                                                                                YPSILANTI          MI   48197‐2608
PARK, CARL E                       PO BOX 489                                                                                   BROWN CITY         MI   48416‐0489
PARK, CARLA J                      84 N 9TH ST APT 109                                                                          BROOKLYN           NY   11211‐1962
PARK, CARROLL M                    1851 BRAMBLE DR                                                                              EAST LANSING       MI   48823‐1729
PARK, CATHERINE M                  3142 RICHARDT ST                                                                             INDIANAPOLIS       IN   46226
PARK, CATHERINE M                  3142 N RICHARDT AVE                                                                          INDIANAPOLIS       IN   46226‐6385
PARK, CHAN H                       72 MANCHESTER AVE                                                                            NORTH HALEDON      NJ   07508‐2612
PARK, CHAN H                       105‐1202 KUM‐HO APT JUNG DONG      HAUNDAE‐GU 899                       BUSAN 612010 KOREA
PARK, CHAN HOON                    8525 WESTERN MEADOWS DR                                                                      KELLER             TX   76248‐7908
PARK, CHANGHEE                     7623 DANBURY CIR                                                                             WEST BLOOMFIELD    MI   48322‐3569
PARK, CHARLES E                    2117 PINWOOD CIR                                                                             ARLINGTON          TX   76001‐5652
PARK, CHARLES N                    6320 CHICAGO RD                                                                              FLUSHING           MI   48433‐9004
PARK, CHARLES S                    6650 GREEN MEADOWS LN                                                                        MORROW             GA   30260‐2808
PARK, CHONG I                      1318 WEDGEWOOD CIR                                                                           SALINE             MI   48176‐9276
PARK, CHONG IM                     1318 WEDGEWOOD CIR                                                                           SALINE             MI   48176‐9276
PARK, CHRISTINE L                  616 UVALDE CT                                                                                ALLEN              TX   75013‐5487
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Name              Address1                            Address2                          Address3     Address4         City              State Zip
PARK, CHUL        EB&HR OPERATIONS DEFAULT ADDRESS    200 RENAISSANCE CTR               PO BOX 200                    DETROIT            MI 48265‐2000

PARK, CLYDE W     8621 CRAIGSTON CT                                                                                   DUBLIN            OH   43017‐8535
PARK, CURTIS L    11256 SHERIDAN RD                                                                                   BURT              MI   48417‐9438
PARK, DALTON L    6275 CACTUS DR                                                                                      FORT WORTH        TX   76135‐9675
PARK, DARLENE M   99 S EAGLECREST DR                                                                                  HAMBURG           NY   14075‐1847
PARK, DARREN E    404 E MCARTHUR ST                                                                                   CORUNNA           MI   48817‐1738
PARK, DAVID       6609 CORDOVA CT                                                                                     INDIANAPOLIS      IN   46221‐4700
PARK, DAVID A     252 LAGUNA CT                                                                                       SAINT AUGUSTINE   FL   32086‐7048
PARK, DAVID B     3885 LONE PINE RD APT 100                                                                           WEST BLOOMFIELD   MI   48323‐2935
PARK, DEOKKYU     1603 CANYON RUN RD                                                                                  NAPERVILLE        IL   60565‐9211
PARK, DIANA       6650 GREEN MEADOWS LN                                                                               MORROW            GA   30260‐2808
PARK, DOLORES J   1036 MAIN ST                                                                                        CASTLETON         VT   05735‐7703
PARK, DONA J      17919 DELAWARE ST                                                                                   ROSEVILLE         MI   48066‐4679
PARK, DONALD G    6809 CENTERVILLE RD                                                                                 BLISS             NY   14024‐9619
PARK, DONG H      15019 W 69TH ST                                                                                     SHAWNEE           KS   66216‐2285
PARK, DOROTHY L   2237 N MORELAND                                                                                     INDIANAPOLIS      IN   46222‐4833
PARK, EDWARD T    4190 WILD SONNET TRL                                                                                NORCROSS          GA   30092‐2190
PARK, ELMER D     2235 HAYMAKER RD                                                                                    MONROEVILLE       PA   15146‐4323
PARK, EUGENE M    50 N SEINE DR                                                                                       CHEEKTOWAGA       NY   14227‐2417
PARK, FRED        KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                    CLEVELAND         OH   44114
                                                      BOND COURT BUILDING
PARK, H W         5400 EMERYWOOD DR                                                                                   BUENA PARK        CA   90621‐1635
PARK, HAN S       6250 BALFOUR DR                                                                                     LANSING           MI   48911‐5438
PARK, HAN SOO     6250 BALFOUR DR                                                                                     LANSING           MI   48911‐5438
PARK, HARRY E     2341 1ST ST                                                                                         PLAINFIELD        IN   46168‐1809
PARK, HYUN S      715 LANDRUM CT                                                                                      MARINA            CA   93933‐4734
PARK, IRENE M     6821 18TH AVENUE DR W                                                                               BRADENTON         FL   34209‐4907
PARK, IRENE M     6821 18TH AVE DR WEST                                                                               BRADENTON         FL   34209‐4907
PARK, J A         3351 KELLYNN DR                                                                                     MIDLOTHIAN        VA   23112‐3550
PARK, JADY N      16711 S BAUER RD                                                                                    GRAND LEDGE       MI   48837‐9170
PARK, JAE H       19832 STAFFORD STREET                                                                               CLINTON TWP       MI   48035‐4058
PARK, JAE Y       2210 W PALACE GREEN TER                                                                             FREDERICK         MD   21702‐3105
PARK, JAMES D     2424 RIDGEWIND WAY                                                                                  WINDMERE          FL   34785‐5829
PARK, JAMES L     215 HARRISON AVE                                                                                    BUFFALO           NY   14223‐1608
PARK, JAMES M     9971 E SHADY LN                                                                                     SUTTONS BAY       MI   49682‐9444
PARK, JAN C       2117 PINWOOD CIR                                                                                    ARLINGTON         TX   76001‐5652
PARK, JEAN E      312 ZURBRICK RD                                                                                     DEPEW             NY   14043
PARK, JEANIE      6477 VALLEY RIDGE DR                                                                                FORT WORTH        TX   76140‐9513
PARK, JEFFREY M   6056 HAYRIDGE LN                                                                                    HOWELL            MI   48855‐7362
PARK, JEONG J     3246 KILBURN PK CL                                                                                  ANN ARBOR         MI   48105
PARK, JERRY L     2308 NEW LEWISBURG HWY                                                                              COLUMBIA          TN   38401‐8111
PARK, JOAN        4909 WINCHESTER PIKE                                                                                COLUMBUS          OH   43232‐6202
PARK, JOEL L      5861 SENECA ST                                                                                      ELMA              NY   14059‐9010
PARK, JONG S      4417 DEACON CT                                                                                      TROY              MI   48098‐6600
PARK, JOONG S     WOLF BLOCK SCHORR AND SOLIS‐COHEN   350 SENTRY PARKWAY BLDG 640 , P                                 BLUE BELL         PA   19422‐0757
                                                      O BOX 3038
PARK, JOSEPH      3554 HEATHROW DR                                                                                    WINSTON SALEM     NC 27127‐4673
PARK, JOSEPH A    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510‐2212
                                                      STREET, SUITE 600
PARK, JUANITA D   4336 E LEDGE RD                                                                                     PORT CLINTON      OH 43452‐9760
PARK, JUNYOUNG    5 BOXLEAF CT                                                                                        GREER             SC 29550‐5219
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Name                      Address1                            Address2             Address3        Address4                 City              State Zip
PARK, JUSTIN M            1504 NE 67TH PL                                                                                   GLADSTONE          MO 64118‐3659
PARK, KENNETH S           4515 SPRUCE ST APT 4                                                                              PHILADELPHIA       PA 19139‐4574
PARK, KENNETH W           2028 ANACAPA ST                                                                                   SANTA BARBARA      CA 93105‐3502
PARK, LESTER A            PO BOX 264                          420 S UNION ST                                                PENNVILLE          IN 47369‐0264
PARK, LILY P              210 S BOLTON AVE                                                                                  SYLACAUGA          AL 35150‐2722
PARK, LILY P              210 BOLTON AVE                                                                                    SYLACAUGA          AL 35150‐2722
PARK, LORI A              712 FRANKLIN SQUARE DR                                                                            CHAMBERSBURG       PA 17201‐1473
PARK, LUCILLE             50 NORTH SEINE DR                                                                                 CHEEKTOWAGA        NY 14227‐2417
PARK, LUCILLE             50 N SEINE DR                                                                                     CHEEKTOWAGA        NY 14227‐2417
PARK, MICHAEL A           10429 DANDRIDGE DR                                                                                SAINT LOUIS        MO 63123‐5933
PARK, MILDRED J           678 LORETTA STREET                                                                                TONAWANDA          NY 14150‐8755
PARK, MILDRED J           678 LORETTA ST                                                                                    TONAWANDA          NY 14150‐8755
PARK, MYUNGSOO LEE        205 DORCHESTER WAY                                                                                HARLEYSVILLE       PA 19438‐3600
PARK, NORMA J             113 LEE ANN DR                                                                                    DAYTON             OH 45427‐1116
PARK, NORMA L             1100 N RIVER RD UNIT 1113                                                                         SHOREWOOD           IL 60404‐7704
PARK, NORVAL E            117 LILY LN                                                                                       ROSCOMMON          MI 48653‐8118
PARK, PATRICIA
PARK, PATRICIA M          53080 HEMLOCK LAKE RD                                                                             MARCELLUS         MI   49067‐9509
PARK, RANDY L             8150 BERGIN RD                                                                                    HOWELL            MI   48843‐9052
PARK, ROBERT C            1700 ROBIN LN APT 302                                                                             LISLE             IL   60532‐4196
PARK, ROBERT M            919 CYNTHIA CT APT 1                                                                              NILES             OH   44446‐2708
PARK, RUTH                159 AYLESBORO AVE                                                                                 YOUNGSTOWN        OH   44512‐4517
PARK, RUTH A              165 HUNTSMAN CIR                                                                                  BOWLING GREEN     KY   42103‐7064
PARK, SAEJIN              4149 WENDELL RD                                                                                   WEST BLOOMFIELD   MI   48323‐3146
PARK, SANG W              11458 BURBANK BLVD APT 16                                                                         NORTH HOLLYWOOD   CA   91601‐2305
PARK, SCOTT J             850 EMILY ST                                                                                      MENASHA           WI   54952‐2222
PARK, SEONG W             2723 BARCLAY WAY                                                                                  ANN ARBOR         MI   48105‐9458
PARK, SO YON              5204 PENNSYLVANIA AVE                                                                             LA CRESCENTA      CA   91214‐1338
PARK, SUNG J              5041 DOBSON ST                                                                                    SKOKIE            IL   60077‐2822
PARK, SUSAN K             5201 W ANTLER DR                                                                                  BELOIT            WI   53511‐8502
PARK, THELMA              1530 SEVERN LN                                                                                    WICKLIFFE         OH   44092‐1055
PARK, THOMAS              1245 HARTSFIELD DR                                                                                COLUMBIA          TN   38401‐6707
PARK, THOMAS J            204 EDWARD ST                                                                                     NORTH TONAWANDA   NY   14120‐4024
PARK, TINA
PARK, VICTORIA G          12 TERRY LN                                                                                       CLARK             NJ   07066‐1310
PARK, VICTORIA G          12 TERRY LANE                                                                                     CLARK             NJ   07066‐1310
PARK, WESTON A            M GRUMMER KIRKLAND & ELLIS          655 15TH ST NW                                                WASHINGTON        DC   20005
PARK, WILLIAM E           789 YUNG RD                                                                                       HARPER            TX   78631
PARK, WILLIE J            4926 LITTLE MILL RD                                                                               BUFORD            GA   30518‐2789
PARK, YOUNG S             6180 KIRK ST                                                                                      RIVERSIDE         CA   92506‐4636
PARK‐OHIO HOLDINGS CORP                                       6065 PARKLAND BLVD                                            CLEVELAND         OH   44124
PARK‐OHIO HOLDINGS CORP   1745 OVERLAND AVE NE                                                                              WARREN            OH   44483‐2860
PARK‐OHIO HOLDINGS CORP   30100 STEPHENSON HWY                                                                              MADISON HEIGHTS   MI   48071‐1630
PARK‐OHIO HOLDINGS CORP   500 MADISON ST                                                                                    CONNEAUT          OH   44030‐2212
PARK‐OHIO HOLDINGS CORP   5190 BRADCO BLVD                                                         MISSISSAUGA ON L4W 1G7
                                                                                                   CANADA
PARK‐OHIO HOLDINGS CORP   5440 KEYSTONE DR                                                                                  FORT WAYNE        IN   46825‐5134
PARK‐OHIO HOLDINGS CORP   6065 PARKLAND BLVD                                                                                CLEVELAND         OH   44124‐4186
PARK‐OHIO HOLDINGS CORP   800 MOGADORE RD                                                                                   KENT              OH   44240‐7535
PARK‐OHIO HOLDINGS CORP   8984 MERIDIAN CIR NW                                                                              NORTH CANTON      OH   44720‐8259
PARK‐OHIO HOLDINGS CORP   DAVE BISHOP X312                    5190 BRADCO BLVD.                    TAICANG,JIANGSU CHINA
                                                                                                   (PEOPLE'S REP)
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Name                            Address1                          Address2                         Address3             Address4                City               State Zip
PARK‐OHIO HOLDINGS CORP         GARY BARRIS                       103 W MAIN ST                                                                 HAGERSTOWN          MD 21740
PARK‐OHIO HOLDINGS CORP         JACK EHRETSMAN                    2525 S 50TH AVE                                                               CICERO               IL 60804
PARK‐OHIO HOLDINGS CORP         JIM DANIELS                       13599 MERRIMAN RD.                                                            GREENWICH           OH 44837
PARK‐OHIO HOLDINGS CORP         MIKE BELENKY                      800 MOGADORE RD.                                                              ANTWERP             OH 45813
PARK‐OHIO HOLDINGS CORP         MILISA JOHNSON                    FASTENER HOUSE                   5440 KEYSTONE DR                             DEFIANCE            OH 43512
PARK‐OHIO HOLDINGS CORP         PAT KENSINGER X134                2170 WILLIPIE ST                                                              FLORENCE            KY 41042
PARK‐OHIO HOLDINGS CORP         STEVE HORELY                      5449 BISHOP ROAD                                                              GALESBURG           MI
PARK‐OHIO INDUSTRIES INC.       STEVE HORELY                      5449 BISHOP ROAD                                                              GALESBURG           MI
PARKANZKY, WILLIAM T            21437 TIMBERIDGE ST                                                                                             ST CLAIR SHRS       MI 48082‐2258
PARKARD ELECTRIC
PARKCREST ORTHOPEDICS, L.L.C.   845 N NEW BALLAS CT STE 130                                                                                     SAINT LOUIS        MO   63141‐7169
PARKE BEACH JR                  7433 GLEN TERRA DR 23                                                                                           LANSING            MI   48917
PARKE BEACH JR                  3560 GRAPEFRUIT LANE                                                                                            ESTERO             FL   33928‐2825
PARKE BRENNEMAN                 115 OAK ST                                                                                                      ELYRIA             OH   44035‐3346
PARKE CARLTON H (309747)        BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG , 233 EAST                                                JACKSONVILLE       FL   32202
                                MCCLAMMA & YEGELWEL P.A.          BAY STREET
PARKE COUNTY TREASURER          116 W HIGH ST                     RM 107                                                                        ROCKVILLE          IN 47872‐1789
PARKE JAMES                     APT 7                             502 AVENUE G                                                                  REDONDO BEACH      CA 90277‐6087
PARKE, CARLTON                  BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG, 233 EAST                                                 JACKSONVILLE       FL 32202
                                MCCLAMMA & YEGELWEL P.A.          BAY STREET
PARKE, GAYLENE S                1208 MEADOWOOD DR.                                                                                              DANVILLE           IN   46122‐1554
PARKE, ROBERT D                 11205 CEDAR COVE LN                                                                                             CLARKSTON          MI   48348‐2464
PARKE, ROBERT L                 PO BOX 133                                                                                                      BROHMAN            MI   49312‐0133
PARKE, TIMOTHY J                202 HARLAN AVENUE                                                                                               COVINGTON          IN   47932‐1707
PARKE, VICKIE L                 7438 OAKWOOD DR                                                                                                 BROOKFIELD         OH   44403‐9783
PARKELL I I I, HARRY A          641 QUINTON RD                                                                                                  SALEM              NJ   08079
PARKELL III, HARRY ALBERT       641 QUINTON RD                                                                                                  SALEM              NJ   08079
PARKELL, EDDIE D                36 DENNIS DR                                                                                                    PENNSVILLE         NJ   08070‐1005
PARKER & AMCHEM                 HENKEL COPR                       32100 STEPHENSON HWY                                                          MADISON HEIGHTS    MI   48071‐5514
PARKER & AMCHEM                 HENKEL CORP                       32100 STEPHENSON HWY                                                          MADISON HEIGHTS    MI   48071‐5514
PARKER & COMPANY                4694 COFFEEPORT RD                                                                                              BROWNSVILLE        TX   78521‐5283
PARKER & SONS, INC.                                               3636 E ANNE ST STE A             SUITE A                                                         AZ   85040
PARKER ALICE R                  4190 BERKFORD CIR NE                                                                                            ATLANTA            GA   30319‐1702
PARKER ARIAIL                   1 BERKLINE DR                                                                                                   MORRISTOWN         TN   37813‐5700
PARKER AUTO CARE                891 BELLEVUE AVE                                                                        OTTAWA ON K1Z 5A9
                                                                                                                        CANADA
PARKER AUTOMOTIVE CONNECTORS    ACD DIVISION                      PARQUE INDUSTRIAL MONTERREY      APODACA NUEVO LEON   MEXICO 66634 MEXICO

PARKER AUTOMOTIVE DE MEXICO     KEVIN BROWN                       CALLE 2A AV ORIENTE NO 101                            DELEGACIAN TLHAUAC DF
                                                                                                                        30300 MEXICO
PARKER AUTOMOTIVE INC.          11533 N HIGHWAY 83                                                                                              PARKER             CO   80134‐9952
PARKER BATES                    PO BOX 14498                                                                                                    SAGINAW            MI   48601‐0498
PARKER BENNIE                   PARKER, BENNIE                    15327 SOUTH EVERS                                                             DELTON             IL   60419
PARKER BERNARD                  29981 NORTHBROOK ST                                                                                             FARMINGTON HILLS   MI   48334‐2328
PARKER BETTY                    APT 307                           17701 E 17TH TERRACE CT SOUTH                                                 INDEPENDENCE       MO   64057‐2030
PARKER BILL A (637683)          WATERS & KRAUS                    3219 MCKINNEY AVE ‐ STE 3000                                                  DALLAS             TX   75204
PARKER BOYD (464236)            KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                                 CLEVELAND          OH   44114
                                                                  BOND COURT BUILDING
PARKER BREAVETTE V (439390)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA 23510
                                                                  STREET, SUITE 600
PARKER BRETT                    8807 N CHRISTINE DR                                                                                             BRIGHTON           MI 48114‐4912
PARKER BRIAN                    5 GRASS VALLEY ACRES ST                                                                                         WOODWARD           OK 73801‐9504
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Name                                 Address1                             Address2                          Address3                  Address4            City               State Zip
PARKER BRIAN P                       PARKER, FRANK M                      30700 TELEGRAPH RD STE 1580                                                     BINGHAM FARMS       MI 48025
PARKER BRIAN P & ROY WEBER           30700 TELEGRAPH RD STE 1580                                                                                          BINGHAM FARMS       MI 48025‐5801
PARKER BRITTANY                      PARKER, BRITTANY                     PO BOX 1688                                                                     JASPER              AL 35502‐1688
PARKER BRITTANY                      PARKER, JEFF                         1824 THIRD AVENUE SOUTH P O BOX                                                 JASPER              AL 35501
                                                                          1688
PARKER BRUNSON, DOROTHY J             27585 BRIDLE HILLS DR                                                                                               FARMINGTON HILLS   MI   48336‐3013
PARKER BRYAN (465787)                 BILBREY & HYLIA                     8724 PIN OAK RD                                                                 EDWARDSVILLE       IL   62025‐6822
PARKER CADILLAC                       375 PRIME OUTLETS BLVD                                                                                              SAINT AUGUSTINE    FL   32084‐2597
PARKER CADILLAC, INC.                 1700 N SHACKLEFORD RD                                                                                               LITTLE ROCK        AR   72212‐4012
PARKER CADILLAC, INC.                 RICHARD PARKER                      1700 N SHACKLEFORD RD                                                           LITTLE ROCK        AR   72212‐4012
PARKER CARL                           1019 SOUTH WILLAMETTE STREET                                                                                        NEWBERG            OR   97132‐3600
PARKER CARTER                         1647 SPRINGWINDS DR                                                                                                 ROCK HILL          SC   29730‐6647
PARKER CHARLES                        PARKER, CHARLES                     30 E BUTLER AVE                                                                 AMBLER             PA   19002‐4514
PARKER CHARLES L (651430)             GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                                      EDWARDSVILLE       IL   62025‐0959
                                      ANTOGNOLI
PARKER CHARLES M (ESTATE OF) (636950) ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                                        WILMINGTON         DE 19801‐1813

PARKER CHARLES S & CATHERINE H       960 HALLOCK YOUNG RD SW                                                                                              WARREN             OH 44481‐9636
PARKER CHEVROLET BUICK PONTIAC GMC   517 GORDAY DR                                                                                                        ASHBURN            GA 31714‐5350

PARKER CHEVROLET, INC.               JERRY PARKER                         517 GORDAY DR                                                                   ASHBURN            GA   31714‐5350
PARKER CHEVROLET, INC.               LLOYD CHAVEZ                         19201 E LINCOLN AVE                                                             PARKER             CO   80138‐8806
PARKER CHEVROLET‐OLDS‐PONT, INC.     ROLLA PARKER                         622 RTE 11                                                                      CHAMPLAIN          NY   12919
PARKER CHEVROLET‐OLDS‐PONT, INC.     622 RTE 11                                                                                                           CHAMPLAIN          NY   12919
PARKER CHOMERICS                     77 DRAGON CT                                                                                                         WOBURN             MA   01801‐1039
PARKER COLLEGE OF CHIROPRACTIC       2500 WALNUT HILL LN                                                                                                  DALLAS             TX   75229‐5609
PARKER COUNTY APPRAISAL DISTRICT     1108 SANTA FE DR                                                                                                     WEATHERFORD        TX   76086‐5818
PARKER DANTE                         PARKER, DANTE                        3000 NORTH 62ND ST                                                              MILWAUKEE          WI   53210
PARKER DAVID                         3415 RICHARD ST                                                                                                      ANN ARBOR          MI   48104‐5246
PARKER DAVID                         PARKER, VICKI                        CONSUMER LEGAL SERVICES P.C.      30928 FORD ROAD                               GARDEN CITY        MI   48135
PARKER DAVID                         PARKER, DAVID                        30928 FORD RD                                                                   GARDEN CITY        MI   48135‐1803
PARKER DAVID L SR (467040)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                     NORFOLK            VA   23510
                                                                          STREET, SUITE 600
PARKER DONALD                        3324 JONQUIL LN                                                                                                      GILLETTE           WY   82718‐7619
PARKER DONALD                        PARKER CONSULTANTS INC               15 E PUTNAM AVE PMB 322                                                         GREENWICH          CT   06830‐5424
PARKER DONALD D                      2931 WARNER DR                                                                                                       WEST BLOOMFIELD    MI   48324‐2450
PARKER ENGINEERED SEALS              PARKER HANNIFIN CORPORATION          5087 COLLECTION CENTER DR                                                       CHICAGO            IL   60693‐0050
PARKER ENGINEERED SEALS              6035 PARKLAND BLVD                                                                                                   CLEVELAND          OH   44124‐4186
PARKER ENGINEERED SEALS              3025 W CROFT CIR                                                                                                     SPARTANBURG        SC   29302‐4801
PARKER ESPY L (429581)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                     NORFOLK            VA   23510
                                                                          STREET, SUITE 600
PARKER GARY                          PO BOX 254313                                                                                                        PATRICK AFB        FL 32925
PARKER GEORGE H (472135)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                     NORFOLK            VA 23510
                                                                          STREET, SUITE 600
PARKER GLENN (ESTATE OF) (643089)    BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                   NORTHFIELD         OH 44067
                                                                          PROFESSIONAL BLDG
PARKER GROUP INC                     44810 VIC WERTZ DR                                                                                                   CLINTON TOWNSHIP   MI 48036‐1250
PARKER GROUP LTD                     LOMBARD ODIER DARIER HENTSCH & CIE   ATTN CHRISTIAN WIDMER             RUE DE 10 CORRATERIE 11   1204 GENEVA
                                                                                                                                      SWITZERLAND
PARKER GUY (407188)                  BARON & BUDD                         660 MADISON AVENUE                                                              NEW YORK           NY 10065
PARKER HAN/BOX 1800                  PO BOX 1800                          AUTOMOTIVE CONNECTORS                                                           TROY               MI 48099‐1800
                                                                          DIVISION
                                   09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
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Name                               Address1                         Address2                       Address3                    Address4                  City           State Zip
PARKER HAN/ELGIN                   2565 NORTHWEST PKWY                                                                                                   ELGIN            IL 60124‐7870
PARKER HAN/GOSHEN                  1525 S 10TH ST                                                                                                        GOSHEN          IN 46526‐4505
PARKER HAN/LYNCHBURG               3700 MAYFLOWER DR                                                                                                     LYNCHBURG       VA 24501‐5023
PARKER HAN/SAN DIEGO               CALLE 7NTE Y 1PTE #111           CSS DIVISION                                               TIJUANA BJ 25100 MEXICO
PARKER HAN/SYRACUSE                501 S SYCAMORE ST                                                                                                     SYRACUSE       IN   46567‐1529
PARKER HANN/LYONS                  100 DUNN RD                                                                                                           LYONS          NY   14489‐9767
PARKER HANNIFAN ESD/FUEL SYSTEMS   1525 S 10TH ST                                                                                                        GOSHEN         IN   46526‐4505
PARKER HANNIFIN                    OILDYNE DIV                      5520 HIGHWAY 169 N                                                                   NEW HOPE       MN   55428‐3602
PARKER HANNIFIN                    PHYLLIS ROGERS                   1300 N FREEDOM ST              PARFLEX OPERATIONS                                    RAVENNA        OH   44266‐9137
PARKER HANNIFIN                    PHYLLIS ROGERS                   PARFLEX OPERATIONS             1300 N. FREEDOM STREET                                GRAND RAPIDS   MI   49544
PARKER HANNIFIN                    JAMIE MCCOY                      THERMOPLASTICS DIVISION        985 FALLS CREEK DR          ISSY LES MOULINEAUX
                                                                                                                               FRANCE
PARKER HANNIFIN                    JENNIFER CARLSON                 ENGINEERED SEAL DIVISION       1525 S 10TH ST                                        SYRACUSE       IN   46567
PARKER HANNIFIN                    JEFF SPENCER                     ENGINEERED SEALS DIVISION      501 S. SYCAMORE ST.                                   LOS INDIOS     TX   78567
PARKER HANNIFIN                    BRANDEN TURNER                   3025 W CROFT CIR               JBL DIVISION                                          SPARTANBURG    SC   29302‐4801
PARKER HANNIFIN                    BRANDEN TURNER                   JBL DIVISION                   3025 W. CROFT CR.                                     SKOKIE         IL   60077
PARKER HANNIFIN                    MARGIE RYAN                      BRASS PRODUCTS DIVISION        300 PARKER DR                                         OTSEGO         MI   49078
PARKER HANNIFIN                    FLORINE KING                     PIPER & 2ND STS/BAER FIELD                                                           FORT WAYNE     IN   46899
PARKER HANNIFIN                    JEFF SPENCER                     501 S SYCAMORE ST              ENGINEERED SEALS DIVISION                             SYRACUSE       IN   46567‐1529

PARKER HANNIFIN                    JAMIE MCCOY                      985 FALLS CREEK DR             THERMOPLASTICS DIVISION                               VANDALIA       OH   45377‐9686
PARKER HANNIFIN                    6035 PARKLAND BLVD                                                                                                    CLEVELAND      OH   44124
PARKER HANNIFIN ‐ AC               3957 BUFFALO ST                                                                                                       MARION         NY   14505‐9616
PARKER HANNIFIN ‐ AC               1201 GERBER ST                                                                                                        LIGONIER       IN   46767‐2420
PARKER HANNIFIN ‐ AC               10625 BEAUDIN BLVD                                                                                                    WOODRIDGE      IL   60517‐4949
PARKER HANNIFIN CANADA             160 CHISHOLM DR                                                                             MILTON ON L9T 5E9
                                                                                                                               CANADA
PARKER HANNIFIN CANADA             4625 DURHAM RD S RR3             PO BOX 340 STN MAIN RR3                                    GRIMSBY ON L3M 4H8
                                                                                                                               CANADA
PARKER HANNIFIN CANADA INC         MOTION & CONTROL                 160 CHISHOLM DR                                            MILTON CANADA ON L9T
                                                                                                                               3G9 CANADA
PARKER HANNIFIN CIC LTD            42 3 SAMEUN‐RI JIKSAN‐EUP                                                                   CHONAN 330810 KOREA
                                                                                                                               (REP)
PARKER HANNIFIN CORP               FINITE DIVISION                  500 S GLASPIE ST                                                                     OXFORD         MI   48371‐5132
PARKER HANNIFIN CORP               3385 GATEWAY BLVD                                                                                                     COLUMBUS       OH   43228
PARKER HANNIFIN CORP               PO BOX 75773                                                                                                          CHARLOTTE      NC   28275‐0773
PARKER HANNIFIN CORP               PO BOX 767                       1200 ELY STREET                                                                      KENNETT        MO   63857‐0767
PARKER HANNIFIN CORP               BRASS PRODUCTS DV                7873 COLLECTION CENTER DRIVE                                                         CHICAGO        IL   60693‐0001
PARKER HANNIFIN CORP               PO BOX 75762                                                                                                          CHARLOTTE      NC   28275‐0762
PARKER HANNIFIN CORP               651 ROBBINS DR                   PO BOX 3500                                                                          TROY           MI   48083‐4564
PARKER HANNIFIN CORP               PARKER SEAL O SEAL DIV           7664 PANASONIC WAY                                                                   SAN DIEGO      CA   92154‐8206
PARKER HANNIFIN CORP               CYLINDER DIVISION                900 PLYMOUTH RD                                                                      PLYMOUTH       MI   48170‐1855
PARKER HANNIFIN CORP               HOSE PRODUCTS DIVISION           30240 LAKELAND BLVD                                                                  WICKLIFFE      OH   44092‐1747
PARKER HANNIFIN CORP               COMPUMOTOR DIVISION              2101 N BROADWAY ST                                                                   NEW ULM        MN   56073‐1010
PARKER HANNIFIN CORP               PO BOX 75764                                                                                                          CHARLOTTE      NC   28275‐0764
PARKER HANNIFIN CORP               95 EDGEWOOD AVE                  PO BOX 1450                                                                          NEW BRITAIN    CT   06051‐4151
PARKER HANNIFIN CORP               9225 FORSYTH PARK DR                                                                                                  CHARLOTTE      NC   28273‐3884
PARKER HANNIFIN CORP               500 S GLASPIE ST                                                                                                      OXFORD         MI   48371‐5132
PARKER HANNIFIN CORP               77 DRAGON CT                                                                                                          WOBURN         MA   01801‐1039
PARKER HANNIFIN CORP               1620 HIGHWAY 6 E                                                                                                      BATESVILLE     MS   38606‐9376
PARKER HANNIFIN CORP               30240 LAKELAND BLVD                                                                                                   WICKLIFFE      OH   44092‐2185
PARKER HANNIFIN CORP                                                6035 PARKLAND BLVD                                                                   CLEVELAND      OH   44124‐4186
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Name                   Address1                         Address2                       Address3                 Address4                   City               State Zip
PARKER HANNIFIN CORP   2565 NORTHWEST PKWY                                                                                                 ELGIN                IL 60124‐7870
PARKER HANNIFIN CORP   3700 MAYFLOWER DR                                                                                                   LYNCHBURG           VA 24501‐5023
PARKER HANNIFIN CORP   3400 FINCH RD                                                                                                       MODESTO             CA 95354‐4125
PARKER HANNIFIN CORP   41W195 RAILROAD ST                                                                                                  PINGREE GROVE        IL 60140‐8980
PARKER HANNIFIN CORP   3700 MAYFLOWER DR                PO BOX 11708                                                                       LYNCHBURG           VA 24501‐5023
PARKER HANNIFIN CORP   2365 MARCONI CT STE G                                                                                               SAN DIEGO           CA 92154‐7265
PARKER HANNIFIN CORP   2400 CONGRESS ST                                                                                                    PORTLAND            ME 04102‐1949
PARKER HANNIFIN CORP   104 HARTMAN DR                                                                                                      LEBANON             TN 37087‐2516
PARKER HANNIFIN CORP   10625 BEAUDIN BLVD                                                                                                  WOODRIDGE            IL 60517‐4949
PARKER HANNIFIN CORP   109 INDUSTRIAL PARK DR                                                                                              LIVINGSTON          TN 38570‐6043
PARKER HANNIFIN CORP   1201 GERBER ST                                                                                                      LIGONIER            IN 46767‐2420
PARKER HANNIFIN CORP   42 3 SAMEUN‐RI JIKSAN‐EUP                                                                CHONAN 330810 KOREA
                                                                                                                (REP)
PARKER HANNIFIN CORP   500 S GLASPIE ST                 PO BOX 599                                                                         OXFORD             MI   48371‐5132
PARKER HANNIFIN CORP   501 S SYCAMORE ST                                                                                                   SYRACUSE           IN   46567‐1529
PARKER HANNIFIN CORP   579 LUDWIG AVE                                                                                                      CHEEKTOWAGA        NY   14227
PARKER HANNIFIN CORP   LANE DINGES                      3400 FINCH RD                  CUSTOMER SERVICE                                    MODESTO            CA   95354‐4125
PARKER HANNIFIN CORP   LANE DINGES                      CUSTOMER SERVICE               3400 FINCH RD                                       WALLED LAKE        MI   48390
PARKER HANNIFIN CORP   LISA FILES                       3337 N DIXIE DR                PARKER AUTOMOTIVE                                   DAYTON             OH   45414‐5645
                                                                                       URETHANE SYS
PARKER HANNIFIN CORP   MARGIE RYAN                      BRASS PRODUCTS DIVISION        300 PARKER DRIVE                                    ST CLAIR           MI   48079
PARKER HANNIFIN CORP   MIKE KNAPP                       841 HOLT RD                                                                        WEBSTER            NY   14580‐9103
PARKER HANNIFIN CORP   MIKE KNAPP                       841 HOLT RD.                                                                       LONGVIEW           TX   75602
PARKER HANNIFIN CORP   PATTI HUBRIGHT                   REDMOND PLASTICS DIV           3967 BUFFALO STREET                                 DUBOIS             PA   15801
PARKER HANNIFIN CORP   PHYLLIS ROGERS                   1300 N FREEDOM ST              PARFLEX OPERATIONS                                  RAVENNA            OH   44266‐9137
PARKER HANNIFIN CORP   PHYLLIS ROGERS                   PARFLEX OPERATIONS             1300 N. FREEDOM STREET                              GRAND RAPIDS       MI   49544
PARKER HANNIFIN CORP   RON MESKER                       3737 W. RIVER DRIVE                                     FOREST FARM CARDIFF
                                                                                                                GREAT BRITAIN
PARKER HANNIFIN CORP   SEGUNDA ORIENTE NO 101                                                                   APODACA NL 66600
                                                                                                                MEXICO
PARKER HANNIFIN CORP   SEXTA Y VIZCAYA 95                                                                       MATAMOROS TM 87370
                                                                                                                MEXICO
PARKER HANNIFIN CORP   JEFF SPENCER                     DIAGONAL LORENZO DE LA GARZA 1 CIUDAD INDUSTRIAL DE     MATAMOROS TM 87499
                                                                                                                MEXICO
PARKER HANNIFIN CORP   JEFF SPENCER                     ENGINEERED SEALS DIVISION      501 S. SYCAMORE ST.                                 LOS INDIOS          TX 78567
PARKER HANNIFIN CORP   JEFF SPENCER                     INTEGRATED ELASTOMERIC SYSTEMS 10625 BEAUDIN BLVD                                  GRAND RAPIDS        MI 49548

PARKER HANNIFIN CORP   JEFF SPENCER                     P.O. BOX 29                                             NOBLE PARK 3174
                                                                                                                AUSTRALIA
PARKER HANNIFIN CORP   JEFF SPENCER                     PARKER SEAL CO DIVISION        2360 PALUMBO DR                                     CALDWELL           OH   43724
PARKER HANNIFIN CORP   JENNIFER CARLSON                 ENGINEERED SEAL DIVISION       1525 S 10TH ST                                      SYRACUSE           IN   46567
PARKER HANNIFIN CORP   JIM GAMBOA                       8801 SCIENCE CENTER DR         OILDYNE DIVISION                                    MINNEAPOLIS        MN   55428‐3619
PARKER HANNIFIN CORP   JIM GAMBOA                       OILDYNE DIVISION               8801 SCIENCE CENTER DR                              DOWAGIAC           MI   49047
PARKER HANNIFIN CORP   KELLEY CRANE X5292               3885 GATEWAY BLVD              TUBE FITTING DIVISION                               COLUMBUS           OH   43228‐9747
PARKER HANNIFIN CORP   KELLEY CRANE X5292               TUBE FITTING DIVISION          3885 GATEWAY BLVD.                                  DICKSON            TN   37055
PARKER HANNIFIN CORP   KEVIN BROWN                      AUTOMOTIVE CONNECTORS          HWY 6 WEST                                          CLINTON TOWNSHIP   MI   48035
PARKER HANNIFIN CORP   KEVIN BROWN                      CALLE 2A AV ORIENTE NO 101                              DELEGACIAN TLHAUAC DF
                                                                                                                30300 MEXICO
PARKER HANNIFIN CORP   KEVIN BROWN                      REFRIG & A/C DIV               100 DUNN RD              SAN LUIS POTOSI SL 78395
                                                                                                                MEXICO
PARKER HANNIFIN CORP   7664 PANASONIC WAY                                                                                                  SAN DIEGO          CA 92154‐8206
PARKER HANNIFIN CORP   83 ESTATES DR W                                                                                                     FAIRPORT           NY 14450‐8425
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Name                          Address1                           Address2                       Address3                    Address4                  City               State Zip
PARKER HANNIFIN CORP          748 HIGHWAY 463 S                                                                                                       TRUMANN             AR 72472‐3829
PARKER HANNIFIN CORP          85 PIXLEY INDUSTRIAL PKWY                                                                                               ROCHESTER           NY 14624‐2322
PARKER HANNIFIN CORP          8940 TYLER BLVD                                                                                                         MENTOR              OH 44060‐2185
PARKER HANNIFIN CORP          ATTN: SECRETARY                    6035 PARKLAND BLVD                                                                   CLEVELAND           OH 44124‐4186
PARKER HANNIFIN CORP          BRANDEN TURNER                     3025 W CROFT CIR               JBL DIVISION                                          SPARTANBURG         SC 29302‐4801
PARKER HANNIFIN CORP          BRANDEN TURNER                     JBL DIVISION                   3025 W. CROFT CR.                                     SKOKIE               IL 60077
PARKER HANNIFIN CORP          CALLE 2A AV ORIENTE NO 101                                                                    APODACA NL 66600
                                                                                                                            MEXICO
PARKER HANNIFIN CORP          CALLE 2A AV ORIENTE NO 101         COLONIA PARQUE INDUSTRIAL                                  APODACA NL 66600
                                                                 MONTERREY                                                  MEXICO
PARKER HANNIFIN CORP          CALLE SIETE NORTE NO 111                                                                      TIJUANA BJ 22500 MEXICO
PARKER HANNIFIN CORP          CALLE SIETE NORTE NO 111           COL INDUSTRIAL NUEVA                                       TIJUANA BJ 22500 MEXICO
PARKER HANNIFIN CORP          CLAIR MALINOWSKI                   PARKER POWERTRAIN DIV          3700 MAYFLOWER DR ‐ BOX                               OKLAHOMA CITY      OK 73127
                                                                                                11708
PARKER HANNIFIN CORP          DIAGONAL LORENZO DE LA GARZA 13                                                               MATAMOROS TM 87490
                                                                                                                            MEXICO
PARKER HANNIFIN CORP          DIAGONAL LORENZO DE LA GARZA 13    CIUDAD INDUSTRIAL DE                                       MATAMOROS TM 87490
                                                                                                                            MEXICO
PARKER HANNIFIN CORP          FLORINE KING                       PIPER & 2ND STS/BAER FIELD                                                           FORT WAYNE         IN 46899
PARKER HANNIFIN CORP          GLENN KREGER                       2400 CONGRESS ST               WH NICHOLS                                            PORTLAND           ME 04102‐1949
PARKER HANNIFIN CORP          GLENN KREGER                       WH NICHOLS                     2400 CONGRESS STREET                                  CLEVELAND          OH
PARKER HANNIFIN CORP          HECTOR LISARRAGA                   CALLE SIETE NORTE NO 111                                   TIJUANA BJ 22500 MEXICO
PARKER HANNIFIN CORP          JEFF SPENCER                       104 HARTMANN DRIVE                                                                   LIGONIER           IN 46767
PARKER HANNIFIN CORP          JEFF SPENCER                       1525 SOUTH 10TH ST                                                                   CUYAHOGA FALLS     OH 44221
PARKER HANNIFIN CORP          JEFF SPENCER                       501 S SYCAMORE ST              ENGINEERED SEALS DIVISION                             SYRACUSE           IN 46567‐1529

PARKER HANNIFIN CORP          200 E PARKER DR                                                                                                         BOONEVILLE         MS   38829‐5505
PARKER HANNIFIN CORP          2101 N BROADWAY ST                 PO BOX 69                                                                            NEW ULM            MN   56073‐1010
PARKER HANNIFIN CORP          2360 PALUMBO DR                                                                                                         LEXINGTON          KY   40509‐1048
PARKER HANNIFIN CORP          1300 N FREEDOM ST                                                                                                       RAVENNA            OH   44266‐8405
PARKER HANNIFIN CORP          1525 S 10TH ST                                                                                                          GOSHEN             IN   46526‐4505
PARKER HANNIFIN CORP          300 PARKER DR                                                                                                           OTSEGO             MI   49078‐1431
PARKER HANNIFIN CORP          3885 GATEWAY BLVD                                                                                                       COLUMBUS           OH   43228‐9723
PARKER HANNIFIN CORP          6035 PARKLAND BLVD                                                                                                      CLEVELAND          OH   44124‐4141
PARKER HANNIFIN CORP.         KEVIN BROWN                        AUTOMOTIVE CONNECTORS          HWY 6 WEST                                            CLINTON TOWNSHIP   MI   48035
PARKER HANNIFIN CORPORATION   JEFF SPENCER                       INTEGRATED ELASTOMERIC SYSTEMS 10625 BEAUDIN BLVD                                    GRAND RAPIDS       MI   49548

PARKER HANNIFIN CORPORATION   KELLEY CRANE X5292                 3885 GATEWAY BLVD              TUBE FITTING DIVISION                                 COLUMBUS           OH 43228‐9747
PARKER HANNIFIN CORPORATION   KELLEY CRANE X5292                 TUBE FITTING DIVISION          3885 GATEWAY BLVD.                                    DICKSON            TN 37055
PARKER HANNIFIN CORPORATION   LISA FILES                         3337 N DIXIE DR                PARKER AUTOMOTIVE                                     DAYTON             OH 45414‐5645
                                                                                                URETHANE SYS
PARKER HANNIFIN CORPORATION   CLAIR MALINOWSKI                   PARKER POWERTRAIN DIV          3700 MAYFLOWER DR ‐ BOX                               OKLAHOMA CITY      OK 73127
                                                                                                11708
PARKER HANNIFIN CORPORATION   ATTN: SECRETARY                    6035 PARKLAND BLVD                                                                   CLEVELAND          OH 44124‐4186
PARKER HANNIFIN CORPORATION   SSD DRIVES DIVISION                14052 COLLECTION CENTER DR                                                           CHICAGO            IL 60693‐0140
PARKER HANNIFIN CORPORATION   PROCESS ADVANCED FILTRATION        PROCESS ADVANCED FILTRATION    7943 COLLECTION CENTER                                CHICAGO            IL 60693‐0001
                                                                                                DRIVE
PARKER HANNIFIN CORPORATION   6035 PARKLAND BLVD                                                                                                      CLEVELAND          OH   44124‐4186
PARKER HANNIFIN CORPORATION   TECHSEAL DIVISION                  3025 W CROFT CIR               PO BOX 15009                                          SPARTANBURG        SC   29302‐4801
PARKER HANNIFIN CORPORATION   THERMOPLASTICS DIVISION            985 FALLS CREEK DR                                                                   VANDALIA           OH   45377‐9686
PARKER HANNIFIN CORPORATION   ENGINEERED POLYMER SYSTEMS DIV     2220 S 3600 W                  ATTN MONIKA WHEATON A\R                               SALT LAKE CITY     UT   84119‐1124
                                       09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                  Address1                         Address2                        Address3   Address4                  City           State Zip
PARKER HANNIFIN CORPORATION           FILTRATION & SEPARATION DIV      242 NECK ROAD                                                        HAVERHILL       MA 01835
PARKER HANNIFIN CORPORATION           4625 DURHAM ROAD S                                                          GRIMBSY CANADA ON L3M
                                                                                                                  4H8 CANADA
PARKER HANNIFIN CORPORATION           ATTN: THOMAS L MEYER             6035 PARKLAND BLVD                                                   CLEVELAND      OH 44124
PARKER HANNIFIN CORPORATION           ATTN: T. MEYER                   6035 PARKLAND BLVD                                                   CLEVELAND      OH 44124
PARKER HANNIFIN CORPORATION           ATTN T MEYER                     5035 PARKLAND BLVD                                                   CLEVELAND      OH 44124
PARKER HANNIFIN DE MEXICO SA DE CV    CALLE 2A AV ORIENTE NO 101                                                  APODACA NL 66600
                                                                                                                  MEXICO
PARKER HANNIFIN DE MEXICO SA DE CV    SEXTA Y VIZCAYA 95                                                          MATAMOROS TM 87370
                                                                                                                  MEXICO
PARKER HANNIFIN DE MEXICO SA DE CV    CALLE 2A AV ORIENTE NO 101       COLONIA PARQUE INDUSTRIAL                  APODACA NL 66600
                                                                       MONTERREY                                  MEXICO
PARKER HANNIFIN LIMITED               PO BOX 4467 TACHBROOK PARK DR    TACHBROOK PK WARWICK CV34 98E              UNITED KINGDOM GREAT
                                                                                                                  BRITAIN
PARKER HANNIFIN SA D                  CALLE SIETE NORTE NO                                                        TIJUANA BC 22500 MEXICO
PARKER HANNIFIN SA DE CV              PARKER HANNIFIN CORPORATION      7725 GRANT ST                                                        BURR RIDGE      IL   60527
PARKER HANNIFIN SA DE CV              CALLE SIETE NORTE NO 111                                                    TIJUANA BJ 22500 MEXICO
PARKER HANNIFIN SA DE CV              CALLE SIETE NORTE NO 111         COL INDUSTRIAL NUEVA                       TIJUANA BJ 22500 MEXICO
PARKER HANNIFIN‐POWER TRAIN           PARKER HANNIFIN CORPORATION      3700 MAYFLOWER DR                                                    LYNCHBURG      VA 24501‐5023
PARKER HAROLD (493075)                BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD     OH 44067
                                                                       PROFESSIONAL BLDG
PARKER HERBERT                        5919 ENCORE DR                                                                                        DALLAS         TX 75240‐4759
PARKER HOMER C (429582)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK        VA 23510
                                                                       STREET, SUITE 600
PARKER II, WILLIAM T                  1067 RINN ST                                                                                          BURTON         MI 48509‐2327
PARKER II, WILLIAM T                  1067 RINN STREET                                                                                      BURTON         MI 48509‐2327
PARKER III, CLARENCE L                4769 CANTON ST                                                                                        DETROIT        MI 48207‐1320
PARKER INDUSTRIAL S DE RL DE CV       SEGUNDA ORIENTE NO 101                                                      APODACA NL 66600
                                                                                                                  MEXICO
PARKER INGRID                         PARKER, INGRID                   P.O. BOX 1041                                                        HURLOCK        MD 21643
PARKER INTEGRATED PARTNERS INC        30240 LAKELAND BLVD                                                                                   WICKLIFFE      OH 44092‐1797
PARKER JACK D SR (429583)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK        VA 23510
                                                                       STREET, SUITE 600
PARKER JAMES (ESTATE OF) (489175)     BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD     OH 44067
                                                                       PROFESSIONAL BLDG
PARKER JAMES E (ESTATE OF) (506868)   (NO OPPOSING COUNSEL)
PARKER JAMES T (481262)               KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                        CLEVELAND      OH 44114
                                                                       BOND COURT BUILDING
PARKER JAMES W (ESTATE OF) (501728)   LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                              MIAMI           FL   33143‐5163

PARKER JASPER (492104)                BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD     OH 44067
                                                                       PROFESSIONAL BLDG
PARKER JEFFREY                        PARKER, JEFFREY                  501 BUICK AVE. ROOM 234 H                                            FORT STEWART   GA    31315
PARKER JENNETT O                      PO BOX 98                                                                                             RUTHER GLEN    VA    22546‐0098
PARKER JEREMY                         PARKER, JEREMY                   1950 SAWTELLE BLVD STE 245                                           LOS ANGELES    CA    90025‐7017
PARKER JOEL                           3 RESEARCH PL                                                                                         ROCKVILLE      MD    20850‐3279
PARKER JOHN JR (636592)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK        VA    23510
                                                                       STREET, SUITE 600
PARKER JOHN K MD                      35 TEALWOOD DR                                                                                        CREVE COEUR    MO    63141‐7923
PARKER JOHNSON                        1065 BALD MOUNTAIN RD                                                                                 LAKE ORION     MI    48360‐1401
PARKER JR, ALLEN                      3175 FINNEY CT                                                                                        FLINT          MI    48504‐1760
PARKER JR, ARNOLD L                   19R HUGO TER                                                                                          WEBSTER        MA    01570‐2143
                                      09-50026-mg           Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                                  Address1                             Address2                        Address3   Address4         City               State Zip
PARKER JR, ARTHUR L                   21110 E TWIN ACRES DR                                                                            QUEEN CREEK         AZ 85242‐6540
PARKER JR, BERNARD                    29981 NORTHBROOK ST                                                                              FARMINGTON HILLS    MI 48334‐2328
PARKER JR, BILLIE                     13219 GRAND RIVER AVENUE                                                                         DETROIT             MI 48227‐3507
PARKER JR, CHARLES A                  105 HEMPSTEAD AVE                                                                                BUFFALO             NY 14215‐3401
PARKER JR, CHARLES R                  18330 DOG LEG RD                                                                                 MARYSVILLE          OH 43040‐9273
PARKER JR, CHARLIE                    PO BOX 629                                                                                       BUFFALO             NY 14209‐0629
PARKER JR, CLARENCE D                 3155 SHROYER ROAD                                                                                DAYTON              OH 45429‐2648
PARKER JR, DONALD R                   960 N MERIDIAN RD                                                                                MIDLAND             MI 48640‐8688
PARKER JR, EARL                       99 S HARRIS RD                       BUILDING 2 UNIT 10                                          YPSILANTI           MI 48198‐5933
PARKER JR, EDWARD C                   PO BOX 688                                                                                       TABERNASH           CO 80478‐0688
PARKER JR, EDWARD F                   3177 CHARLWOOD DR                                                                                ROCHESTER HLS       MI 48306‐3612
PARKER JR, ESAW                       16940 CHANDLER PARK DR                                                                           DETROIT             MI 48224‐2079
PARKER JR, EUGENE J                   16852 RYAN RD                                                                                    LIVONIA             MI 48154‐6232
PARKER JR, FOLEY L                    4571 GLENHEATH DR                                                                                KETTERING           OH 45440‐1957
PARKER JR, HAROLD E                   39500 WARREN RD TRLR 387                                                                         CANTON              MI 48187‐4352
PARKER JR, HENRY L                    PO BOX 22371                                                                                     INDIANAPOLIS        IN 46222‐0371
PARKER JR, JAKE                       2039 ROYAL PALM AVE                                                                              DEFIANCE            OH 43512‐3531
PARKER JR, JAMES                      18897 DEAN ST                                                                                    DETROIT             MI 48234‐2025
PARKER JR, JAMES E                    APT 301                              1635 DEXTER LAKE DRIVE                                      CORDOVA             TN 38016‐1329
PARKER JR, JAMES W                    3897 15TH ST                                                                                     ECORSE              MI 48229‐1333
PARKER JR, JAMES W                    173 AMY LN                                                                                       BENTON              LA 71006‐9690
PARKER JR, JOHN F                     908 C AVE                                                                                        WEST COLUMBIA       SC 29169‐6760
PARKER JR, JOHN R                     11309 SOUTHWORTH AVENUE                                                                          PLYMOUTH            MI 48170‐4477
PARKER JR, KENNETH S                  46 LYNN DR                                                                                       MANSFIELD           OH 44906‐2341
PARKER JR, LESLEY                     3249 NORTHWEST BLVD NW                                                                           WARREN              OH 44485‐2239
PARKER JR, LOUIS G                    722 TALON CV                                                                                     BIRMINGHAM          AL 35242‐1904
PARKER JR, MARK                       4100 HICKORY ST                                                                                  INKSTER             MI 48141‐2916
PARKER JR, PAUL A                     179 HARDY RD                                                                                     BROOKS              GA 30205‐2316
PARKER JR, REMBERT C                  PO BOX 431388                                                                                    PONTIAC             MI 48343‐1388
PARKER JR, ROBERT F                   5449 E FARMINGTON RD                                                                             GAS CITY            IN 46933‐9640
PARKER JR, ROBERT W                   247 RAINBOW DR # 14718                                                                           LIVINGSTON          TX 77399‐2047
PARKER JR, ROBY H                     4605 N JANNEY AVE                                                                                MUNCIE              IN 47304‐1147
PARKER JR, ROOSEVELT                  1231 SILVER LN                                                                                   MANSFIELD           OH 44906‐2438
PARKER JR, ROOSEVELT                  15392 MANOR ST                                                                                   DETROIT             MI 48238‐1630
PARKER JR, TOUSSAINI L                3248 OAK TIMBER DR                                                                               FOREST HILL         TX 76119‐7145
PARKER JR, TRESAVON D                 17384 WESTOVER RD                                                                                SOUTHFIELD          MI 48075‐4314
PARKER JR, VICTOR                     38 S BOND ST                                                                                     MOUNT VERNON        NY 10550‐2412
PARKER JR, WILLIAM A                  140 TUCKER LN                                                                                    JOHNSON CITY        TN 37601‐2947
PARKER JR, WILLIAM H                  PO BOX 1322                                                                                      NATCHEZ             MS 39121‐1322
PARKER JR, WILLIAM W                  334 PLEASANT HILL DR                                                                             DAYTON              OH 45459‐4610
PARKER JR, WILLIS                     3510 WINONA ST                                                                                   FLINT               MI 48504‐2157
PARKER JR, WILLIS                     3510 WINONA STREET                                                                               FLINT               MI 48504‐2157
PARKER JR., ROBERT                    863 CLEOPHUS PKWY                                                                                LINCOLN PARK        MI 48146
PARKER KEITH                          8020 QUEENAIR DRIVE                                                                              GAITHERSBURG        MD 20879
PARKER KENNEDY                        PO BOX 4452                                                                                      DETROIT             MI 48204‐0452
PARKER KENNETH (ESTATE OF) (503747)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                           PROFESSIONAL BLDG
PARKER L MORA                         2904 AERIAL AVE                                                                                  KETTERING          OH 45419
PARKER LAKE APARTMENTS                15390 18TH AVE.                                                                                  PLYMOUTH           MN 55447
PARKER LAKE APARTMENTS                ATTN: CORPORATE OFFICER/AUTHORIZED   15390 18TH AVE.                                             PLYMOUTH           MN 55447
                                      AGENT
PARKER LARRY                          1315 LEILANI DR                                                                                  TIKI ISLAND         TX   77554‐6155
                                       09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                                   Address1                          Address2                      Address3                Address4               City           State Zip
PARKER LARRY JAMES (429584)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK         VA 23510
                                                                         STREET, SUITE 600
PARKER LAW OFFICES OF LARRY H INC      RE: ANA BARBOZA                   350 SAN ANTONIO DRIVE                                                        LONG BEACH     CA   90807‐0948
PARKER LAW OFFICES OF LARRY H INC      RE: DAVID BARBOZA                 350 SAN ANTONIO DRIVE                                                        LONG BEACH     CA   90807‐0948
PARKER LEONARD E (352584)              PATTEN WORNOM & WATKINS           12350 JEFFERSON AVE STE 360                                                  NEWPORT NEWS   VA   23602‐6956
PARKER LEVIN                           1302 CRAIN HWY S                                                                                               GLEN BURNIE    MD   21061‐4025
PARKER LINDEN DILLIN                   900 12TH AVE                                                                                                   FORT WORTH     TX   76104‐3919
PARKER LINDEN DILLIN MD                900 12TH AVE                                                                                                   FORT WORTH     TX   76104‐3919
PARKER MACHINERY                       2024 HILLSIDE AVE                                                                                              INDIANAPOLIS   IN   46218‐3543
PARKER MARY A                          DBA PARKER & CROFFORD             1230 2ND AVE S                                                               NASHVILLE      TN   37210‐4110
PARKER MELINDA                         1050 N PISGAH RD                                                                                               HENDERSON      TN   38340‐5315
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101)
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ CALLAWAY ODOM THERESA
JEAN
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ DRIGGERS CURTIS
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ HODGE JACK
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ INGRAM DONNA JOYCE
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ MADLOCK CAROL LYNDIS
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ MATTHEWS JOANN
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ MCCOY DOROTHY MARIE
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ MONTOYA ANTONIO C
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ ONEIL KAREN DENISE
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ PAYNE IDA MAE
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ PAYNE SHIRLEY C
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ PERRY BYZIZILAR
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ PREWITT JOSEPHINE
PARKER MEMORY ANN (ESTATE OF)          COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                      HOUSTON        TX   77002‐1751
(629101) ‐ SIMMONS CELESTINE
PARKER NICOLE                          2208 TOMEDJAN CIRCLE                                                                                           CHARLESTON     SC   29414‐6348
PARKER PAD & PRINTING
PARKER PALMER                          TOM SULTENFUSS                    11500 METRIC BLVD STE 320                                                    AUSTIN         TX   78758‐4102
PARKER PAMELA                          PARKER, PAMELA                    PO BOX 2791                                                                  JACKSON        MS   39207‐2791
PARKER PAUL                            10756 S FOREST AVE                                                                                             CHICAGO        IL   60628‐3627
PARKER PETROLEUM SALES & SERVICE INC   8250 VETERANS MEMORIAL PKWY                                                                                    O FALLON       MO   63366‐3088

PARKER POE ADAMS & BERNSTEIN           201 S COLLEGE ST                  2500 CHARLOTTE PLAZA                                                         CHARLOTTE      NC 28244‐0003
PARKER POE ADAMS & BERNSTEIN LLP       ATTY FOR SONIC AUTOMOTIVE, INC.   ATTN: KIAH T. FORD IV, ESQ.   THREE WACHOVIA CENTER   401 S. TRYON STREET,   CHARLOTTE      NC 28202
                                                                                                                               SUITE 3000
                                        09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
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Name                                   Address1                          Address2                         Address3                  Address4             City               State Zip
PARKER PONTIAC‐BUICK‐GMC, INC.         4813 ARENDELL ST                                                                                                  MOREHEAD CITY       NC 28557‐2792
PARKER PONTIAC‐BUICK‐GMC, INC.         HUGH PARKER                       4813 ARENDELL ST                                                                MOREHEAD CITY       NC 28557‐2792
PARKER PORSCHA                         1047 HUDSON DRIVE                                                                                                 TUSTIN              CA 92782‐1713
PARKER PORT                            7882 DIMARCO CT                                                                                                   SACRAMENTO          CA 95829‐6597
PARKER PORTER                          3 AMANDA'S TEAL DRIVE                                                                                             BRIDGEVILLE         DE 19933
PARKER PORTER                          7 KETCH CAY CT                                                                                                    BALTIMORE           MD 21220‐7513
PARKER PYARD, ELAINE R                 175 E OAK ST                                                                                                      SAND LAKE           MI 49343‐9403
PARKER RAY G (442221)                  SIMMONS FIRM                      PO BOX 559                                                                      WOOD RIVER           IL 62095‐0559
PARKER RAYMOND B (463774)              PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                                          PHILADELPHIA        PA 19103‐5446
PARKER REEVE                           12695 BARFIELD DR                                                                                                 CHESTERLAND         OH 44026‐2682
PARKER RICHARD B
PARKER RICHARD B (096330)              (NO OPPOSING COUNSEL)
PARKER ROBERT (504973)                 (NO OPPOSING COUNSEL)
PARKER ROBERT E (504974)               (NO OPPOSING COUNSEL)
PARKER ROBERT L                        6222 E HADLEY RD                                                                                                  MOORESVILLE         IN   46158‐6625
PARKER ROBERT W (ESTATE OF) (501729)   LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                         MIAMI               FL   33143‐5163

PARKER SANDRA                          3702 NW 59TH AVE                                                                                                  VIRGINIA GARDENS   FL 33166‐5737
PARKER SEALS                           38701 7 MILE RD STE 475                                                                                           LIVONIA            MI 48152‐3967
PARKER SEALS DE MATAMOROS SA D         JEFF SPENCER                      DIAGONAL LORENZO DE LA GARZA 1 CIUDAD INDUSTRIAL DE                             NORTH BALTIMORE    OH 45872

PARKER SEALS DE MATAMOROS SA DE CV     DIAGONAL LORENZO DE LA GARZA 13                                                              MATAMOROS TM 87490
                                                                                                                                    MEXICO
PARKER SEALS DE MATAMOROS SA DE CV     DIAGONAL LORENZO DE LA GARZA 13   CIUDAD INDUSTRIAL DE                                       MATAMOROS TM 87490
                                                                                                                                    MEXICO
PARKER SEALS/FRMNGTN                   GNP OPERATIONS                    PETER BLOM INDUSTRIAL SALES      29226 ORCHARD LAKE ROAD                        FARMINGTN HLS      MI 48334

PARKER SEALS/HAMPSHI                   41W195 RAILROAD ST                GNP OPERATIONS                                                                  PINGREE GROVE      IL    60140‐8980
PARKER SEALS/LEBANON                   104 HARTMAN DR                                                                                                    LEBANON            TN    37087‐2516
PARKER SEALS/NAPLES                    GNP OPERATIONS                    O RING DIVISION                  1429 DON STREET                                NAPLES             FL    33942
PARKER SONIA                           PO BOX 238                                                                                                        MAYO               FL    32055‐0238
PARKER SR, BERNARD W                   7820 MONARDA DR                                                                                                   PORT RICHEY        FL    34668‐3249
PARKER SR, BRUCE L                     1008 WAKEFIELD RD                                                                                                 LEAVITTSBURG       OH    44430‐9640
PARKER STEEL COMPANY                   4239 MONROE ST                                                                                                    TOLEDO             OH    43606‐1943
PARKER SULLIVAN                        466 CHERRY RD                                                                                                     SPARTA             TN    38583‐4703
PARKER TECHSEAL DIVISION               5098 COLLECTION CENTER DR                                                                                         CHICAGO            IL    60693‐0050
PARKER TERRI                           PO BOX 138                                                                                                        GANADO             TX    77962‐0138
PARKER THOMAS                          PARKER, THOMAS                    1790 WILMINGTON PIKE SUITE 200                                                  GLEN MILLS         PA    19342
                                                                         THE SPEAKMAN HOUSE
PARKER TOM                             5122 OLD FRANKLIN RD                                                                                              GRAND BLANC        MI 48439‐8629
PARKER TOOLING & DESIGN                2563 3 MILE RD NW                                                                                                 GRAND RAPIDS       MI 49534‐1313
PARKER VERNON R (408871)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                     NORFOLK            VA 23510
                                                                         STREET, SUITE 600
PARKER WADE                            17878 U S HIGHWAY 61                                                                                              SIKESTON           MO 63801
PARKER WALKER                          1684 S 700 E                                                                                                      MARION             IN 46953‐9598
PARKER WILLIAM (ESTATE OF) (446836)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                   NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
PARKER WILLIAM P JR (494076)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                     NORFOLK            VA 23510
                                                                         STREET, SUITE 600
PARKER WILLIAMS                        1971 SE ERWIN RD                                                                                                  PORT ST LUCIE       FL   34952‐5537
PARKER WINCHESTER                      8608 W ASHFORD LN                                                                                                 MUNCIE              IN   47304‐9435
PARKER YUSUF                           718 23RD AVE                                                                                                      BELLWOOD            IL   60104‐1922
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Name                                  Address1                          Address2            Address3      Address4         City               State Zip
PARKER'S GARAGE                       2827 W 23RD ST                                                                       ERIE                PA 16506‐2928
PARKER'S TIRE SERVICE AND AUTO CARE   3000 NW PINE AVE                                                                     OCALA               FL 34475‐2610
INC.
PARKER, AARON M                       SHANNON LAW FIRM                  100 W GALLATIN ST                                  HAZLEHURST         MS   39083‐3007
PARKER, ALFRED E                      5025 PALENA BLVD                                                                     NORTH PORT         FL   34287‐2459
PARKER, ALFREDA                       1308 HIGHLAND AVE                                                                    DAYTON             OH   45410‐2326
PARKER, ALICE M                       8598 SPIVEY VILLAGE TR                                                               JONESBORO          GA   30236‐3845
PARKER, ALICE R                       4190 BERKFORD CIR NE                                                                 ATLANTA            GA   30319‐1702
PARKER, ALLEN                         38284 CAROLON BLVD                UNIT 15                                            WESTLAND           MI   48185
PARKER, ALLEN L                       308 SOUTH ST                                                                         HURON              OH   44839‐1629
PARKER, ALLEN L                       128 W HOME AVE                                                                       FLINT              MI   48505‐2632
PARKER, ALLEN W                       1519 POST OFFICE RD                                                                  SANFORD            NC   27330‐9635
PARKER, ALLYSON H                     1255 HAMPTON RD                                                                      GROSSE POINTE      MI   48236‐1362
PARKER, ALMA                          6349 RUSTIC RIDGE TRL T                                                              GRAND BLANC        MI   48439
PARKER, ALMA E                        5133 TODD STREET                                                                     GRAND BLANC        MI   48439‐4221
PARKER, ALMA E                        5133 TODD ST                                                                         GRAND BLANC        MI   48439‐4221
PARKER, ALMA M                        56 W JUDSON AVE                                                                      YOUNGSTOWN         OH   44507‐2039
PARKER, ALVADEEN                      3028 W WILSON RD                                                                     CLIO               MI   48420‐1933
PARKER, ALVADEEN                      3028 WEST WILSON RD                                                                  CLIO               MI   48420‐1933
PARKER, ALVIN                         1543 APPLE CREEK TRL                                                                 GRAND BLANC        MI   48439‐4963
PARKER, ALVIN B                       2949 SARDIS RD                                                                       GAINESVILLE        GA   30506‐2230
PARKER, ALVIN E                       59 COUNTY ROAD 271                                                                   TILLATOBA          MS   38961‐2609
PARKER, ALVIN M                       48 NORMAN AVE                                                                        BUFFALO            NY   14210‐2319
PARKER, ALVIN W                       4370 S GRAND CANYON DR APT 1093                                                      LAS VEGAS          NV   89147‐7113
PARKER, AMBER R                       4507 CROSBY RD                                                                       FLINT              MI   48506‐1419
PARKER, AMMIE L                       21515 INDIAN CREEK DRIVE                                                             FARMINGTON         MI   48335
PARKER, AMOS O                        270 PACE DR                                                                          WOODVILLE          AL   35776‐6992
PARKER, AMY                           1200 NE 56TH ST                                                                      PLEASANT HILL      IA   50327‐7092
PARKER, ANDY R                        108 E PARKER ST                                                                      BEULAVILLE         NC   28518‐6917
PARKER, ANNE M                        7778 HILLSIDE LAKES DR                                                               BRIGHTON           MI   48116‐6250
PARKER, ANNETTE                       4923 WAINWRIGHT AVE                                                                  LANSING            MI   48911‐2852
PARKER, ANNIE BELLE                   5045 STANSBURY DRIVE                                                                 SOLON              OH   44139‐1230
PARKER, ANNIE G                       715 BRICE                                                                            LIMA               OH   45801‐3913
PARKER, ANNIE G                       715 BRICE AVE                                                                        LIMA               OH   45801‐3913
PARKER, ANTHONY D                     144 W HUMBOLDT PKWY                                                                  BUFFALO            NY   14214‐2609
PARKER, ANTHONY DARNELL               144 W HUMBOLDT PKWY                                                                  BUFFALO            NY   14214‐2609
PARKER, ANTHONY J                     4120 RIVARD ST APT 610                                                               DETROIT            MI   48207‐4736
PARKER, ANTHONY K                     11907 GLEN RIDGE BLVD                                                                MOUNDVILLE         AL   35474‐6356
PARKER, ANTHONY K.                    11907 GLEN RIDGE BLVD                                                                MOUNDVILLE         AL   35474‐6356
PARKER, ANTHONY L                     208 DEAN DR                                                                          FARMERSVILLE       OH   45325‐1200
PARKER, ANTHONY W                     1132 HARMONY CIR NW                                                                  JANESVILLE         WI   53545‐2008
PARKER, ARCHIE W                      1531 BLUE TOP RD                                                                     TAZEWELL           TN   37879‐6017
PARKER, ARLENE                        2587 TOD AVE NW                                                                      WARREN             OH   44485‐1923
PARKER, ARLENE J                      1650 SMOKETREE AVE S UNIT 154                                                        LAKE HAVASU CITY   AZ   86403‐6581
PARKER, ARLIVIAN                      3230 NELSON AVE                                                                      YOUNGSTOWN         OH   44505‐4333
PARKER, ARNETT D                      15024 LAKEWOOD DR                                                                    PLYMOUTH           MI   48170‐2652
PARKER, ARNOLD R                      2000 HIGHWAY 278 SE                                                                  SOCIAL CIRCLE      GA   30025‐4711
PARKER, AUBREY N                      1916 WESTLAKE DR                                                                     PLANO              TX   75075‐8564
PARKER, AUDREY P.                     5814 STATE                                                                           DESOTO             MO   63020
PARKER, AUDREY P.                     5814 STATE ROAD P                                                                    DESOTO             MO   63020
PARKER, B. C                          2761 GERMANY RD                                                                      CLAYTON            GA   30525‐4003
PARKER, BARBARA                       1572 N EUCLID AVE                                                                    DAYTON             OH   45406‐5921
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Name                  Address1                          Address2                       Address3   Address4         City                State Zip
PARKER, BARBARA E     1413 CORAL CT                                                                                GREEN BAY            WI 54304‐3451
PARKER, BARBARA E     4305 JO DR                                                                                   SAGINAW              MI 48601‐5005
PARKER, BARBARA E     1413 CORAL COURT                                                                             GREEN BAY            WI 54304‐3461
PARKER, BARBARA F     2173 SOUTH CENTER ROAD APRT 427                                                              BURTON               MI 48519
PARKER, BARBARA J     1816 CUMBERLAND AVE SW                                                                       DECATUR              AL 35603‐1011
PARKER, BARBARA R     3215 16 MILE RD                                                                              MARION               MI 49665
PARKER, BARBARA R     1114 ASHLAND AVENUE                                                                          WHITELAND            IN 46184‐1045
PARKER, BARBARA T     3726 N LAKESIDE DR                                                                           MUNCIE               IN 47304‐5266
PARKER, BARON         4480 SHISLER RD                                                                              CLARENCE             NY 14031‐2116
PARKER, BARRY R       3115 LEXHAM LN                                                                               ROCHESTER HLS        MI 48309‐4397
PARKER, BEATRICE      PORTER & MALOUF PA                4670 MCWILLIE DR                                           JACKSON              MS 39206‐5621
PARKER, BELINDA       22 PORTAGE ST                                                                                BUFFALO              NY 14208‐1911
PARKER, BENNIE        15327 EVERS ST                                                                               DOLTON                IL 60419‐2624
PARKER, BENNIE F      225 LEGION RD                                                                                DALLAS               GA 30132‐4316
PARKER, BERLENE M     360 S FROST DR                                                                               SAGINAW              MI 48638‐6079
PARKER, BERNICE T     235 KNECHT DR                                                                                DAYTON               OH 45405‐2631
PARKER, BERNIE D      4185 KIRK RD                                                                                 YOUNGSTOWN           OH 44511‐1837
PARKER, BERTHA R      3455 TURKEY HWY                                                                              CLINTON              NC 28328‐0738
PARKER, BETTY         PORTER & MALOUF PA                4670 MCWILLIE DR                                           JACKSON              MS 39206‐5621
PARKER, BETTY         197 WEST ST                                                                                  BEREA                OH 44017‐2354
PARKER, BETTY         197 WEST STREET                                                                              BEREA                OH 44017‐2354
PARKER, BETTY J       3854 15TH ST                                                                                 ECORSE               MI 48229‐1334
PARKER, BETTY K       PO BOX 26046                                                                                 TROTWOOD             OH 45426‐0046
PARKER, BETTY L       PO BOX 2601                                                                                  ANDERSON             IN 46018‐2601
PARKER, BETTY R       2949 SARDIS RD.                                                                              GAINESVILLE          GA 30506‐2230
PARKER, BEVERLY J     4717 PARKSIDE BLVD                                                                           ALLEN PARK           MI 48101‐3205
PARKER, BEVERLY K     2254 E ELMWOOD ST                                                                            MESA                 AZ 85213‐5908
PARKER, BIFF L        10825 NW 103RD CIR                                                                           YUKON                OK 73099‐9182
PARKER, BILL A        WATERS & KRAUS                    3219 MCKINNEY AVE ‐ STE 3000                               DALLAS               TX 75204
PARKER, BILL A.       C/O WATERS & KRAUS LLP            3219 MCKINNEY AVE                                          DALLAS               TX 75204
PARKER, BILL G        22728 CLINTON ST                                                                             TAYLOR               MI 48180‐4124
PARKER, BILLIE F      2121 GORNO CT                                                                                TRENTON              MI 48183‐1909
PARKER, BILLIE F      4057 MOKENA AVE                                                                              NORTH PORT           FL 34286‐6660
PARKER, BILLIE F      22199 AUGUSTA AVE                                                                            PT CHARLOTTE         FL 33952‐5514
PARKER, BILLY         299 PARKSIDE CT                                                                              SAGINAW              MI 48601‐4769
PARKER, BILLY R       341 GREENLAWN ST                                                                             YPSILANTI            MI 48198‐5931
PARKER, BILLY W       2466 JUNEBERRY CIR                                                                           BULLHEAD CITY        AZ 86442‐4422
PARKER, BLANCHE L     12355 DOLLAR LAKE CT                                                                         FENTON               MI 48430‐9745
PARKER, BOBBY J       PO BOX 5774                                                                                  DECATUR              AL 35601‐0774
PARKER, BONNIE M      PO BOX 5155                                                                                  HOMOSASSA SPRINGS    FL 34447‐5155
PARKER, BOYD          KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND            OH 44114
                                                        BOND COURT BUILDING
PARKER, BRADLEY C     5041 LIBCREST DR                                                                             WATERFORD           MI   48327‐2840
PARKER, BRADLEY D     9427 E POTTER RD                                                                             DAVISON             MI   48423‐8176
PARKER, BRANDI        2121 ROUND BARN RD                                                                           ANDERSON            IN   46017‐9678
PARKER, BREAVETTE V   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA   23510‐2212
                                                        STREET, SUITE 600
PARKER, BRENDA S      1218 E MULBERRY ST                                                                           KOKOMO              IN   46901‐4948
PARKER, BRENT H       8396 N MCKINLEY RD                                                                           FLUSHING            MI   48433‐8844
PARKER, BRENT H       G8354 N MCKINLEY ROAD                                                                        FLUSHING            MI   48433
PARKER, BRETT M       8807 N CHRISTINE DR                                                                          BRIGHTON            MI   48114‐4912
PARKER, BRIAN L       5663 WOODSTOCK DR                                                                            LANSING             MI   48917‐1445
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Name                   Address1                            Address2                   Address3   Address4         City            State Zip
PARKER, BRIAN LEWIS    5663 WOODSTOCK DR                                                                          LANSING          MI 48917‐1445
PARKER, BRIDGET        1200 NE 56TH ST                                                                            PLEASANT HILL     IA 50327‐7092
PARKER, BRITTANY
PARKER, BRITTANY       JAMES KING                          PO BOX 1688                                            JASPER          AL    35502‐1688
PARKER, BRITTANY       C/O JAMES KING                      PO BOX 1688                                            JASPER          AL    35502
PARKER, BRUCE E        6543 E STATE ROAD 42                                                                       CLOVERDALE      IN    46120‐8745
PARKER, BRYAN          BILBREY & HYLIA                     8724 PIN OAK RD                                        EDWARDSVILLE    IL    62025‐6822
PARKER, BUDDY L        524 S WALL ST                                                                              COVINGTON       OH    45318‐1147
PARKER, C J            70 MOORE DR                                                                                FRANKLIN        OH    45005‐2129
PARKER, CALVIN         411 BRONX RIVER RD APT 1F                                                                  YONKERS         NY    10704‐3403
PARKER, CALVIN D       703 BENTLEY ST                                                                             OVIEDO          FL    32765‐8171
PARKER, CALVIN J       4205 HERBERT                                                                               DETROIT         MI    48210
PARKER, CARL E         4310 MAINES ST                                                                             FLINT           MI    48505‐3633
PARKER, CAROL B        1516 ROUNDTREE RD                                                                          HOLIDAY         FL    34690‐6138
PARKER, CAROL J        PO BOX 42                           13 W MAIN ST                                           HAYESVILLE      OH    44838‐0042
PARKER, CAROL J        1753 SADDLECREEK ROAD                                                                      MORGANTON       NC    28655
PARKER, CAROLYN        4464 BURGUNDY DR                                                                           FLINT           MI    48506‐1018
PARKER, CAROLYN        29371 STELLAMAR DR                                                                         SOUTHFIELD      MI    48076‐1632
PARKER, CAROLYN        7073 ROSEWOOD DR                                                                           FLUSHING        MI    48433‐2280
PARKER, CAROLYN D      21110 E TWIN ACRES DR                                                                      QUEEN CREEK     AZ    85242‐6540
PARKER, CAROLYN K      1908 DIXON RD                                                                              CARO            MI    48723‐9231
PARKER, CARRIE C       8691 MINOCK ST                                                                             DETROIT         MI    48228‐3040
PARKER, CARROLL G      101 SETTLEMENT RD                                                                          JASPER          GA    30143‐1115
PARKER, CATHERINE C    2013 W 9TH ST                                                                              MARION          IN    46953‐1232
PARKER, CATHY          59 COUNTY RD. 271                                                                          TILLATOBA       MS    38961‐2609
PARKER, CATHY          59 COUNTY ROAD 271                                                                         TILLATOBA       MS    38961‐2609
PARKER, CECIL C        4231 LOWRY AVE                                                                             NORWOOD         OH    45212‐2815
PARKER, CHARIE' L      4682 HEDGEWOOD DR                                                                          DAYTON          OH    45406‐1339
PARKER, CHARLES B      3815 PAGE BLVD                                                                             SAINT LOUIS     MO    63113‐3811
PARKER, CHARLES D      PO BOX 410                                                                                 HOWELL          MI    48844‐0410
PARKER, CHARLES E      324 W GENESEE ST                                                                           FLINT           MI    48505‐4038
PARKER, CHARLES E      3806 ANDERSON RD                                                                           MORROW          OH    45152‐8125
PARKER, CHARLES E      25630 GRAND CONCOURSE STREET                                                               SOUTHFIELD      MI    48075‐1749
PARKER, CHARLES J      178 MAYFAIR DRIVE                                                                          JACKSON         MS    39212‐5872
PARKER, CHARLES J      178 MAYFAIR DR                                                                             JACKSON         MS    39212‐5872
PARKER, CHARLES J      5164 RIDGE RD                                                                              CORTLAND        OH    44410‐8740
PARKER, CHARLES L      612 CRAWFORD ST                                                                            COLLINSVILLE    IL    62234‐2520
PARKER, CHARLES L      C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                 EDWARDSVILLE    IL    62025
                       ROWLAND PC
PARKER, CHARLES L      GOLDENBERG, MILLER, HELLER &        PO BOX 959                                             EDWARDSVILLE     IL   62025‐0959
                       ANTOGNOLI
PARKER, CHARLES M      ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                               WILMINGTON      DE    19801‐1813
PARKER, CHARLES T      3893 WADHAMS RD                                                                            CHINA           MI    48054‐1809
PARKER, CHARLES W      2013 W 9TH ST                                                                              MARION          IN    46953‐1232
PARKER, CHARLOTTE R    506 TRUDY LN                                                                               O FALLON        MO    63366‐1772
PARKER, CHERE' M       PO BOX 60653                                                                               DAYTON          OH    45406‐0653
PARKER, CHRISTINE      439 GARVER RD                                                                              MANSFIELD       OH    44903‐7553
PARKER, CHRISTINE D    G 9050 E BRISTOL RD                                                                        DAVISON         MI    48423
PARKER, CHRISTOPHER    PO BOX 74778                                                                               ROMULUS         MI    48174‐0778
PARKER, CHRISTY A      615 THUNDERBIRD DR. SO.                                                                    HERNANDO        MS    38632
PARKER, CLARABELLE M   4734 LYTLE ROAD                                                                            CORUNNA         MI    48817‐9593
PARKER, CLARABELLE M   4734 LYTLE RD                                                                              CORUNNA         MI    48817‐9593
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Name                   Address1                           Address2                  Address3   Address4         City                  State Zip
PARKER, CLARE D        9971 ELM RD                                                                              OVID                   MI 48866‐9509
PARKER, CLARENCE       GUY WILLIAM S                      PO BOX 509                                            MCCOMB                 MS 39649‐0509
PARKER, CLAUDE W       4831 GEORGIA DR                                                                          ORION                  MI 48359‐2129
PARKER, CLAYTON R      1010 S YORKCHESTER DR                                                                    YORKTOWN               IN 47396‐9664
PARKER, CLIFF          4702 HINESLEY AVE                                                                        INDIANAPOLIS           IN 46208‐3435
PARKER, CLIFTON L      5418 FLEMING RD                                                                          FLINT                  MI 48504‐7066
PARKER, CONRAD L       2399 SE CYPRESS POINT RD                                                                 KINARD                 FL 32449‐2701
PARKER, COPELAND G     155 JAMES CT                                                                             PALMETTO               GA 30268‐1270
PARKER, COREIN         9715 YOSEMITE                                                                            DETROIT                MI 48204‐4523
PARKER, COREIN         9715 YOSEMITE ST                                                                         DETROIT                MI 48204‐4523
PARKER, CORINNE        602 EAST MADISON AVE               UNIT 14                                               MILTON                 WI 53563
PARKER, CORNEL         5400 SKYLARK PASS                                                                        GRAND BLANC            MI 48439
PARKER, CORWIN L       7345 DOYLE RD                                                                            LAINGSBURG             MI 48848‐8769
PARKER, CORY L
PARKER, COY L          6305 SONORA DR                                                                           GRANBURY              TX   76049‐5245
PARKER, CURT           316 ROCKHILL AVE                                                                         KETTERING             OH   45429‐2626
PARKER, CYNTHIA M      15259 W CAMINO ESTRELLA DR D                                                             SURPRISE              AZ   85374
PARKER, CYRUS C        1644 BEAVER CREEK LN                                                                     SNELLVILLE            GA   30078‐6679
PARKER, DAISY L        9300 WARWICK MDWS                                                                        GRAND BLANC           MI   48439‐9552
PARKER, DAISY M        PO BOX 308                                                                               BUFFALO               NY   14215‐0308
PARKER, DAISY M        P.O. BOX 308                                                                             BUFFALO               NY   14215‐0308
PARKER, DALE A         PO BOX 50                                                                                MANCELONA             MI   49659
PARKER, DALE A         505 HARRISON ST                                                                          MONROE                MI   48161‐2323
PARKER, DALE F         409 S JACK PINE CLR                                                                      FLINT                 MI   48506
PARKER, DANA S         APT R200                           8607 NORTH COSBY AVENUE                               KANSAS CITY           MO   64154‐2645
PARKER, DANIEL A       1646 N 58TH ST                                                                           MESA                  AZ   85205‐3523
PARKER, DANIEL AARON   UNIT 1321                          8290 GATE PARKWAY WEST                                JACKSONVILLE          FL   32216‐3658
PARKER, DANIEL B       3166 SYLER RD                                                                            VARYSBURG             NY   14167‐9725
PARKER, DANIEL J       5046 MURPHY DR                                                                           FLINT                 MI   48506‐2139
PARKER, DANIEL JAMES   5046 MURPHY DR                                                                           FLINT                 MI   48506‐2139
PARKER, DANIEL M       3467 ELLIS PARK DR                                                                       BURTON                MI   48519‐1475
PARKER, DANIEL R       12344 DEL RIO DR                                                                         JACKSONVILLE          FL   32258‐2268
PARKER, DANNY H        8303 LINDEN RD                                                                           SWARTZ CREEK          MI   48473‐9151
PARKER, DANNY L        6103 HWY 392                                                                             CYNTHIANA             KY   41031
PARKER, DANTE          3000 N 62ND ST                                                                           MILWAUKEE             WI   53210‐1424
PARKER, DARIN C        58211 CATHEY                                                                             WASHINGTON TOWNSHIP   MI   48094‐2902
PARKER, DARIUS         223 E LYTLE‐5 PT RD                                                                      CENTERVILLE           OH   45458
PARKER, DARRELL L      9009 GRATIS JACKSONBURG RD                                                               CAMDEN                OH   45311‐9709
PARKER, DARYL A        597 BOWERS RD                                                                            LAPEER                MI   48446‐4207
PARKER, DAVID          4220 WHITBY LN                                                                           BATH                  MI   48808‐9412
PARKER, DAVID          CONSUMER LEGAL SERVICES P.C.       30928 FORD RD                                         GARDEN CITY           MI   48135‐1803
PARKER, DAVID          30 HOMESTEAD AVE                                                                         STRATFORD             CT   06615‐6020
PARKER, DAVID A        155 WEYL STREET                                                                          ROCHESTER             NY   14621‐3617
PARKER, DAVID A        7450 LEMON RD                                                                            BANCROFT              MI   48414‐9430
PARKER, DAVID A        14575 N. E. 21ST. LOT E 7                                                                SILVER SPRINGS        FL   34488
PARKER, DAVID A        76 NORWOOD ST                                                                            EVERETT               MA   02149‐2715
PARKER, DAVID B        37186 THINBARK ST                                                                        WAYNE                 MI   48184‐1170
PARKER, DAVID C        4220 WHITBY LN                                                                           BATH                  MI   48808‐9412
PARKER, DAVID C        CARDELLI, LANFEAR & BUIKEMA, PC    322 WEST LINCOLN AVENUE                               ROYAL OAK             MI   48067
PARKER, DAVID E        432 MORRISH RD                                                                           FLUSHING              MI   48433‐2204
PARKER, DAVID E        111 CHAPEL CLIFF DR                                                                      RAYMOND               MS   39154‐9571
PARKER, DAVID G        9875 COUNTY ROAD 59                                                                      MOULTON               AL   35650‐5735
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Name                Address1                       Address2                      Address3   Address4         City                   State Zip
PARKER, DAVID L     7210 KNOBWOOD DR APT D                                                                   INDIANAPOLIS            IN 46260‐3886
PARKER, DAVID L     PO BOX 206                                                                               WAIALUA                 HI 96791‐0206
PARKER, DAVID L     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK                 VA 23510‐2212
                                                   STREET, SUITE 600
PARKER, DAVID L     4530 PARK FORREST CT           APT B                                                     INDIANAPOLIS           IN   46226
PARKER, DAVID L     131 HUESTON ST                                                                           HAMILTON               OH   45013‐4725
PARKER, DAVID L     240 BLUE GOOSE RD                                                                        TROY                   MO   63379‐5308
PARKER, DAVID L     1168 BERKSHIRE RD                                                                        GROSSE POINTE PARK     MI   48230‐1341
PARKER, DAVID L     8538 ORANGELAWN ST                                                                       DETROIT                MI   48204‐2511
PARKER, DAVID L     3017 LAKESIDE DR                                                                         SHELBY TWP             MI   48316‐2957
PARKER, DAVID M     7105 ROBINHOOD LN                                                                        FORT WORTH             TX   76112‐5719
PARKER, DAVID M     2308 W DAYTON ST                                                                         FLINT                  MI   48504‐7125
PARKER, DAVID M     8071 SHIELDS RD                                                                          LEWISBURG              OH   45338‐8038
PARKER, DAVID O     4105 N STATE RD                                                                          OWOSSO                 MI   48867‐9684
PARKER, DAVID O     810 COVENTRY DR                                                                          WEBSTER                NY   14580‐8422
PARKER, DAVID P     117 REFORMATORY RD                                                                       PENDLETON              IN   46064‐8988
PARKER, DAVID P     100 RIDGEVIEW ST                                                                         HOT SPRINGS NATIONAL   AR   71901
                                                                                                             PARK
PARKER, DAVID S     503 BOND ST                                                                              ELYRIA                 OH   44035‐3312
PARKER, DAVID T     4665 PINE EAGLES DR                                                                      BRIGHTON               MI   48116‐9757
PARKER, DAVID W     25700 RAINBOW DR                                                                         STURGIS                MI   49091‐9388
PARKER, DAWN L      75 CHAROLAIS WAY                                                                         BURLINGTON             CT   06013‐1628
PARKER, DEBORAH     PO BOX 6603                                                                              NAVARRE                FL   32566‐2303
PARKER, DEBORAH A   217 COUL ST                                                                              MANSFIELD              OH   44902‐7622
PARKER, DEBORAH L   PO BOX 37304                                                                             OAK PARK               MI   48237‐0304
PARKER, DEBRA L     617 W NORMAN AVE                                                                         DAYTON                 OH   45406
PARKER, DEJUANA Y   905 ANGEL OAKS CT                                                                        RALEIGH                NC   27610‐6306
PARKER, DELANE H    2225 DEERING AVENUE                                                                      DAYTON                 OH   45406‐5406
PARKER, DELBERT H   1060 SPROTT DR                                                                           MONTGOMERY             AL   36117‐5707
PARKER, DELL L      4016 LAFAYETTE LN                                                                        JONESBORO              AR   72404‐8854
PARKER, DELORES     4414 CAHILL ST                                                                           FREMONT                CA   94538‐2848
PARKER, DELORES J   4120 EMMA AVE SW                                                                         WYOMING                MI   49509‐4344
PARKER, DELORES S   2118 HOOVER DRIVE              BUILDING 6; APT J                                         ARLINGTON              TX   76011
PARKER, DELORES S   741 FILLMORE DR APT B                                                                    ARLINGTON              TX   76011
PARKER, DENELLE C   22809 LAKESHORE DR                                                                       SAINT CLAIR SHORES     MI   48080‐2580
PARKER, DENNIS A    8528 CONTINENTAL AVE                                                                     WARREN                 MI   48089‐1788
PARKER, DENNIS C    11719 N LAKEVIEW RD                                                                      LAKEVIEW               MI   48850‐9701
PARKER, DENNIS C    11719 NORTH LAKEVIEW ROAD                                                                LAKEVIEW               MI   48850‐9701
PARKER, DENNIS D    2954 W STEEL RD                                                                          SAINT JOHNS            MI   48879‐9782
PARKER, DENNIS E    5369 VAN VLEET RD                                                                        SWARTZ CREEK           MI   48473‐8571
PARKER, DENNIS J    613 COLVIN ST                                                                            FORT WORTH             TX   76104‐6418
PARKER, DENNIS L    175 PINE GROVE AVE                                                                       BILOXI                 MS   39531
PARKER, DENNIS R    3310 S KEARSLEY BLVD                                                                     FLINT                  MI   48506‐2045
PARKER, DENNIS R    PO BOX 241                                                                               ALBANY                 WI   53502‐0241
PARKER, DENZIL      BRAYTON PURCELL                PO BOX 6169                                               NOVATO                 CA   94948‐6169
PARKER, DESSIE M    9761 COLUMBIA ROAD 36                                                                    MAGNOLIA               AR   71753‐9646
PARKER, DIANE D     4108 HANWELL RD                                                                          RANDALLSTOWN           MD   21133‐2123
PARKER, DIXIE L     5148 W 33RD ST                                                                           INDIANAPOLIS           IN   46224‐2320
PARKER, DON F       3682 HONEYSUCKLE CIR                                                                     SAGINAW                MI   48603‐8711
PARKER, DONAL G     3174 N 100 W                                                                             ANDERSON               IN   46011‐9511
PARKER, DONALD B    5411 HIBBARD RD                                                                          CORUNNA                MI   48817‐9511
PARKER, DONALD D    2931 WARNER DR                                                                           WEST BLOOMFIELD        MI   48324‐2450
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Name                    Address1                       Address2            Address3         Address4         City               State Zip
PARKER, DONALD E        2515 ARDENWOOD PL                                                                    YOUNGSTOWN          OH 44515‐5119
PARKER, DONALD G        15445 MEADOW BRANCH RD                                                               GRAFTON              IL 62037‐2205
PARKER, DONALD K        5202 E BROADWAY AVE                                                                  ATWATER             CA 95301‐9522
PARKER, DONALD L        4419 LAKEVIEW DR                                                                     HALE                MI 48739‐8925
PARKER, DONALD L        3207 WESTMONT AVE                                                                    LANSING             MI 48906‐2549
PARKER, DONALD M        4680 MCKINLEY RD                                                                     MIO                 MI 48647‐9549
PARKER, DONALD M        258 INVERNESS LN                                                                     TEMPERANCE          MI 48182‐1178
PARKER, DONALD R        932 TEXARKANA DR                                                                     INDIANAPOLIS        IN 46231‐2532
PARKER, DONALD R        121 GAIGE ST                                                                         CROSWELL            MI 48422‐1110
PARKER, DONALD W        6470 W DODGE RD                                                                      CLIO                MI 48420‐8547
PARKER, DONNA J         2050 KINGS VALLEY DRIVE                                                              LAWRENCEVILLE       GA 30043‐2790
PARKER, DONNA L         PO BOX 16                      179 LENTEN AVENUE                                     CLARKSVILLE         OH 45113‐0016
PARKER, DONNA L         179 LENTEN AVENUE              P O BOX 16                                            CLARKSVILLE         OH 45113‐0016
PARKER, DONNA M         3537 N GLADSTONE AVE                                                                 INDIANAPOLIS        IN 46218‐1569
PARKER, DORA J          494 HUGHES RD                                                                        FOREST              MS 39074‐8239
PARKER, DORIS           11911 FAIRWAY DR                                                                     LITTLE ROCK         AR 72212‐3424
PARKER, DORIS           951 NORTHLAND AVE                                                                    BUFFALO             NY 14215
PARKER, DORIS A         9694 S DIVISION AVE                                                                  BYRON CENTER        MI 49315‐9309
PARKER, DORIS ANN       9694 S DIVISION AVE                                                                  BYRON CENTER        MI 49315‐9309
PARKER, DORIS E         6940 SATINLEAF RD N APT 102                                                          NAPLES              FL 34109‐6143
PARKER, DORIS M         1022 RIO DRIVE                                                                       GRAND BLANC         MI 48439
PARKER, DORIS M         1022 RIO DR                                                                          GRAND BLANC         MI 48439‐8381
PARKER, DOROTHEA A      332 N GOLF HARBOR PATH                                                               INVERNESS           FL 34450‐1968
PARKER, DOROTHY         24353 BIG OAK LN                                                                     LONG NECK           DE 19966‐4480
PARKER, DOROTHY L       2114 S K ST                                                                          ELWOOD              IN 46036‐3029
PARKER, DOROTHY LEE     1810 MATE CIR                                                                        CANTONMENT          FL 32533‐8525
PARKER, DOROTHY LEE     1810 MATE CIRCLE                                                                     CANTONMENT          FL 32533‐8525
PARKER, DOROTHY M       956‐E CALLE ARAGON                                                                   LAGUNA WOODS        CA 92637‐3460
PARKER, DOROTHY M       956 CALLE ARAGON UNIT E                                                              LAGUNA WOODS        CA 92637‐3460
PARKER, DOYLE L         7077 ROSEWOOD DR                                                                     FLUSHING            MI 48433‐2280
PARKER, DUKE            BICE PALERMO & VERON           713 KIRBY ST                                          LAKE CHARLES        LA 70601‐5333
PARKER, EARL V          2004 MOUNT CARMEL DR                                                                 GUNTERSVILLE        AL 35976‐6628
PARKER, EARNEST         3700 S WESTPORT AVE PMB 2885                                                         SIOUX FALLS         SD 57106‐6360
PARKER, EDDIE           9364 ROBSON ST                                                                       DETROIT             MI 48228‐2365
PARKER, EDDIE L         339 S 17TH ST                                                                        SAGINAW             MI 48601‐1863
PARKER, EDDIE W         2860 CYPRESS GROVE RD                                                                GRAND RIDGE         FL 32442
PARKER, EDNA A          2217 BUHLMAN DR                                                                      WEST BRANCH         MI 48661‐9581
PARKER, EDSON A         488 WEST HIGHBANKS ROAD                                                              DEBARY              FL 32713‐4646
PARKER, EDWARD A        202 E SOUTH ST                                                                       ARCANUM             OH 45304‐1310
PARKER, EDWARD C        1705 HUNTINGWOOD LN APT B                                                            BLOOMFIELD HILLS    MI 48304‐2390
PARKER, EDWARD F        820 CROTON DR                                                                        NEWAYGO             MI 49337‐9001
PARKER, EDWARD H        6370 TAMARA DR                                                                       FLINT               MI 48506‐1763
PARKER, EDWARD HOWARD   6370 TAMARA DR                                                                       FLINT               MI 48506‐1763
PARKER, EDWARD K        4120 LAURELL LN                                                                      NORTH OLMSTED       OH 44070‐2551
PARKER, EDWIN G         7959 E PARKER RD                                                                     LAINGSBURG          MI 48848‐8620
PARKER, EDWIN J         6026 16TH ST                                                                         DETROIT             MI 48208
PARKER, ELAINE          4197 TURNBRIDGE                                                                      HOLT                MI 48842‐1858
PARKER, ELIJAH          19750 MULSO ST APT 245                                                               ROSEVILLE           MI 48066‐1253
PARKER, ELIZA L         306 JAMISON ST                                                                       TUCKERMAN           AR 72473‐9151
PARKER, ELIZA L         1775 HENBERT RD                                                                      W BLOOMFIELD        MI 48324‐1026
PARKER, ELIZABETH       4594 E 162ND ST                                                                      CLEVELAND           OH 44128‐3261
PARKER, ELIZABETH A     4317 SPRING AVE                                                                      BALTIMORE           MD 21227
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Name                  Address1                       Address2                           Address3   Address4         City               State Zip
PARKER, ELLA          2802 W LAKEVIEW DR                                                                            POPLAR BLUFF        MO 63901
PARKER, ELLIS A       1613 HIGHLAND CT                                                                              RAPID CITY          SD 57701‐3771
PARKER, EMILY E       4233 W HANOVER RD                                                                             JANESVILLE          WI 53548‐9205
PARKER, EMMA C        1402 STACY DR 26                                                                              CANTON              MI 48188
PARKER, ENID A        515 W EVERGREEN AVE                                                                           YOUNGSTOWN          OH 44511‐1538
PARKER, EPPIE J       4238 GLENAYRE DR                                                                              ENGLEWOOD           OH 45322‐2616
PARKER, ERIC L        5726 FERRELL DR                                                                               SHREVEPORT          LA 71129‐5130
PARKER, ERIK P        714 W PARK AVE                                                                                NILES               OH 44446‐1528
PARKER, ERMA N        11 PITCAIRN COURT                                                                             HOMOSASSA           FL 34446‐5109
PARKER, ERNEST E      4132 LONG RD                                                                                  THOMPSONVILLE       MI 49683‐9112
PARKER, ERWIN J       3333 JUDSON RD                                                                                KOKOMO              IN 46901‐1775
PARKER, ESPY L        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510‐2212
                                                     STREET, SUITE 600
PARKER, EUGENE P      1605 MALIBU DR                                                                                CARROLLTON         TX   75006‐4055
PARKER, EUGENE R      1062 GILBERT ST                                                                               FLINT              MI   48532‐3552
PARKER, EVA           101 W 140TH ST APT 52                                                                         NEW YORK           NY   10030‐1732
PARKER, EVA           5251 EDA DR                                                                                   WEST CARROLLTON    OH   45449‐2701
PARKER, EVA           101 W. 140TH ST. APT.52                                                                       NYC                NY   10030‐1732
PARKER, EVA E         33 VETERANS AVENUE                                                                            BOWLING GREEN      KY   42104‐0354
PARKER, EVAN A        2141 W MANOGUE RD                                                                             JANESVILLE         WI   53545‐9661
PARKER, EVELYN M      1207 STILL VALLEY DR                                                                          HOWELL             MI   48855
PARKER, EVELYN M      9301 GALE RD                                                                                  WHITE LAKE         MI   48386‐1419
PARKER, EVELYN T      713 VALLEY VIEW DR                                                                            ARLINGTON          TX   76010‐2826
PARKER, EVERETT       17403 WOODINGHAM DR                                                                           DETROIT            MI   48221‐4505
PARKER, EVERETT D     PO BOX 12                                                                                     MONROE             MI   48161‐0012
PARKER, EZRA J        37324 BOOTH STREET                                                                            WESTLAND           MI   48186‐3923
PARKER, F N           112 BEVERLY DR                                                                                SAN CARLOS         CA   94070‐1625
PARKER, FLORA L       4840 WESTCHESTER DR APT 4                                                                     AUSTINTOWN         OH   44515‐2577
PARKER, FLORENCE      95 FRANKLIN ST RM 1304         C/O ERIE CO DEPT SR SRVCS                                      BUFFALO            NY   14202‐3914
PARKER, FLORENCE      C/O ERIE CO DEPT SR SRVCS      95 FRANKLIN ST ‐ROOM 1304                                      BUFFALO            NY   14202
PARKER, FLOYD B       19 S LON‐JEAN DR                                                                              FRANKTON           IN   46044
PARKER, FOREST E      6251 EVERGREEN DR                                                                             NEWAYGO            MI   49337‐9797
PARKER, FRANCES B     3260 E FAIRVIEW RD SW                                                                         STOCKBRIDGE        GA   30281‐5604
PARKER, FRANCES D     1904 PAISLEY ST.                                                                              YOUNGSTOWN         OH   44511‐1025
PARKER, FRANCES E     5160 CHICAGO RD                                                                               WARREN             MI   48092‐1429
PARKER, FRANCES I     341 GREENLAWN ST                                                                              YPSILANTI          MI   48198‐5931
PARKER, FRANCES M     13899 BROUGHAM DR                                                                             STERLING HEIGHTS   MI   48312‐4301
PARKER, FRANCES S     5124 COUNTY ROAD 434                                                                          TRINITY            AL   35673‐4410
PARKER, FRANCIS A     1447 ORBAN                                                                                    MILFORD            MI   48380‐1725
PARKER, FRANCIS V     38 BINGHAM STREET                                                                             BRISTOL            CT   06010
PARKER, FRANK         1447 ORBAIN ROAD                                                                              MILFORD            MI   48380
PARKER, FRANK M       PARKER BRIAN P                 30800 TELEGRAPH ROAD, SUITE 2985                               BINGHAM FARMS      MI   48025

PARKER, FRED          13233 STOEPEL ST                                                                              DETROIT            MI   48238‐3188
PARKER, FRED F        5406 S KINGSHIGHWAY BLVD                                                                      SAINT LOUIS        MO   63109‐3210
PARKER, FRED T        PO BOX 940                                                                                    CLARKESVILLE       GA   30523‐0016
PARKER, FREDDIE A     17530 MELROSE ST                                                                              SOUTHFIELD         MI   48075‐4228
PARKER, FREDDIE LEE   SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST         MS   39083‐3007
PARKER, FREDERICK A   9570 BURT RD                                                                                  BIRCH RUN          MI   48415‐9451
PARKER, FREDERICK E   250 MANOR RD                                                                                  PLANTSVILLE        CT   06479‐1313
PARKER, GAIL A        414 MIRAGE DR                                                                                 KOKOMO             IN   46901‐7035
PARKER, GAIL L        3136 BERT KOUNS APT 271                                                                       SHREVEPORT         LA   71118
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Name                    Address1                        Address2                       Address3   Address4         City                  State Zip
PARKER, GAIL L          5622 TALL PINES PKWY APT 4                                                                 ROSCOE                  IL 61073‐1120
PARKER, GARFIELD        526 SHERMAN AVE                                                                            SPRINGFIELD            OH 45503‐4132
PARKER, GAROLD E        7908 E PARKER RD                                                                           LAINGSBURG             MI 48848‐9657
PARKER, GARY G          3615 NE 52ND TER                                                                           KANSAS CITY            MO 64119‐2705
PARKER, GARY K          2128 SPRING HILL CIR                                                                       SPRING HILL            TN 37174‐9272
PARKER, GARY L          2115 WISCONSIN AVE                                                                         JOPLIN                 MO 64804‐2257
PARKER, GARY L          2457 BRADLEY ROAD                                                                          BREWTON                AL 36426‐5931
PARKER, GARY L          3374 SANDY SHORE DR                                                                        METAMORA               MI 48455‐8973
PARKER, GARY L          9390 S STATE ROUTE 202 202                                                                 TIPP CITY              OH 45371
PARKER, GENEVA          705 BIRCHWOOD DR                                                                           SANDUSKY               OH 44870‐7324
PARKER, GEORGE          276 DALE AVE                                                                               MANSFIELD              OH 44902‐7717
PARKER, GEORGE B        920 W SPRUCE ST                                                                            HARRISON               MI 48625‐8145
PARKER, GEORGE B        27645 MARILYN DR                                                                           WARREN                 MI 48093‐4605
PARKER, GEORGE H        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK                VA 23510‐2212
                                                        STREET, SUITE 600
PARKER, GEORGE P        6132 NORTHRIDGE HILLS DR                                                                   BRIGHTON              MI   48116‐3754
PARKER, GEORGE R        2446 E 700 N                                                                               ALEXANDRIA            IN   46001
PARKER, GEORGE W        PO BOX 516                                                                                 EASTPORT              MI   49627‐0516
PARKER, GERALD A        5660 W MINNESOTA ST                                                                        INDIANAPOLIS          IN   46241‐3847
PARKER, GERALD L        9780 SAGINAW RD                                                                            MOUNT MORRIS          MI   48458
PARKER, GERALD R        3830 CAUSEWAY DR NE                                                                        LOWELL                MI   49331‐9407
PARKER, GERALD T        5140 SPINNING WHEEL DR                                                                     GRAND BLANC           MI   48439‐4228
PARKER, GERALDINE A     PO BOX 416                                                                                 CHINCOTEAGUE ISLAND   VA   23336
PARKER, GERALDINE B     5876 TODY RD                                                                               GOODRICH              MI   48438‐9620
PARKER, GERARD J        2331 PEALE DR                                                                              SAGINAW               MI   48602‐3466
PARKER, GILLIE S        4538 SEEBALDT ST                                                                           DETROIT               MI   48204‐3755
PARKER, GINGER          516 PERMAN STREET SOUTHWEST                                                                ATTALLA               AL   35954‐3217
PARKER, GINGER D        4588 W AUAILRUN RD                                                                         NEW PALESTINE         IN   46163
PARKER, GLADYS JEWELL   704 GRIFFITH                                                                               PARK HILLS            MO   63601‐4113
PARKER, GLADYS JEWELL   704 GRIFFITH ST                                                                            PARK HILLS            MO   63601‐4113
PARKER, GLADYS O        5546 PAGE RD                                                                               SARANAC               MI   48881‐8713
PARKER, GLEN D          12600 US 77                                                                                LEXINGTON             OK   73051
PARKER, GLENDA M        PO BOX 701                                                                                 INWOOD                WV   25428‐0701
PARKER, GLENN           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD            OH   44067
                                                        PROFESSIONAL BLDG
PARKER, GLENN L         15618 STRATFORD DR                                                                         SOUTHFIELD            MI   48075‐6931
PARKER, GLENN T         1864 S ORTONVILLE RD                                                                       ORTONVILLE            MI   48462‐8874
PARKER, GLORIA C        PO BOX 6298                                                                                PLYMOUTH              MI   48170‐0298
PARKER, GORDON A        1108 W PRINCETON AVE                                                                       FLINT                 MI   48505‐1230
PARKER, GORDON R        8406 TREADWAY ST                                                                           PANAMA CITY BEACH     FL   32413‐9446
PARKER, GRACE           100 HOLLOW TREE LN APT 1082                                                                HOUSTON               TX   77090
PARKER, GRADY B         5426 E HOLLY RD                                                                            HOLLY                 MI   48442‐9610
PARKER, GREER C         1617 GRANDADDY RD                                                                          LAWRENCEBURG          TN   38464‐4311
PARKER, GREG B          1916 WESTLAKE DR                                                                           PLANO                 TX   75075‐8564
PARKER, GREGORY         4457 JOS CAMPAU STREET                                                                     DETROIT               MI   48207
PARKER, GREGORY         4457 JOSEPH CAMPAU STREET                                                                  DETROIT               MI   48207‐1552
PARKER, GREGORY A       485 ROCKCLIFF CIR                                                                          DAYTON                OH   45406‐2125
PARKER, GREGORY L       PO BOX 1285                                                                                MIDLAND               MI   48641‐1285
PARKER, GREGORY S       8575 KING GRAVES RD NE                                                                     WARREN                OH   44484‐1114
PARKER, GUY             BARON & BUDD                    660 MADISON AVENUE                                         NEW YORK              NY   10021
PARKER, GUY             4484 LISA WAY NW                                                                           LILBURN               GA   30047‐3622
PARKER, GUY R           4640 FOX POINTE DR APT 138                                                                 BAY CITY              MI   48706‐2851
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Name                Address1                        Address2                      Address3   Address4         City             State Zip
PARKER, GUY R       4640 FOX POINT DR               APT 138                                                   BAYCITY           MI 48706
PARKER, HANNAH      2132 E 97TH ST                                                                            CHICAGO            IL 60617‐4825
PARKER, HAROLD E    6647 ROYAL PKWY N                                                                         LOCKPORT          NY 14094‐6647
PARKER, HAROLD L    283 SMOCK DR                                                                              GREENWOOD         IN 46143‐2420
PARKER, HAROLD W    701 BOWERS WAY                                                                            WHEATLAND         CA 95692‐9795
PARKER, HARRY S     2173 S CENTER RD APT 427                                                                  BURTON            MI 48519‐1807
PARKER, HATTIE L    4666 N MICHELLE ST                                                                        SAGINAW           MI 48601‐6629
PARKER, HELEN       22419 LAVON ST                                                                            ST CLAIR SHRS     MI 48081‐2016
PARKER, HELEN       22419 LA VON                                                                              ST CLAIR SHRS     MI 48081‐2016
PARKER, HELEN F     1786 STRAWVALLEY RD                                                                       LAWRENCEVILLE     GA 30043‐3244
PARKER, HELEN F     1786 STRAW VALLEY RD                                                                      LAWRENCEVILLE     GA 30043‐3244
PARKER, HELEN H     51 EAST IROQUOIS RD                                                                       PONTIAC           MI 48341‐2016
PARKER, HELEN H     51 E IROQUOIS RD                                                                          PONTIAC           MI 48341‐2016
PARKER, HELEN L     1128 N 8TH STREET                                                                         MITCHELL          IN 47446‐8006
PARKER, HELEN L     1128 N 8TH ST                                                                             MITCHELL          IN 47446‐8006
PARKER, HELEN L     1036 RAWSON PLACE                                                                         FREMONT           OH 43420‐2137
PARKER, HELEN L     2160 PHILLIPS RD                                                                          AUBURN HILLS      MI 48326‐2445
PARKER, HELEN P     19712 STANSBURY ST                                                                        DETROIT           MI 48235‐1525
PARKER, HELEN W     3400 CARPENTER RD APT 801                                                                 YPSILANTI         MI 48197‐9692
PARKER, HENRY J     795 ENDOR CT                                                                              CINCINNATI        OH 45240‐3124
PARKER, HENRY J     795 ENDOR COURT                                                                           CINCINNATI        OH 45240‐3124
PARKER, HENRY J     12810 LAUDER ST                                                                           DETROIT           MI 48227‐2577
PARKER, HERBERT     5919 ENCORE DR                                                                            DALLAS            TX 75240‐4759
PARKER, HERBERT L   3367 SPRINGBROOK AVE                                                                      KALAMAZOO         MI 49004‐9659
PARKER, HERBERT M   602 E MADISON AVE UNIT 14                                                                 MILTON            WI 53563‐1345
PARKER, HERSHAL W   124 CEDAR PARC LN                                                                         TROY              MO 63379‐3542
PARKER, HOMER C     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                    STREET, SUITE 600
PARKER, HOMER L     951 NORTHLAND AVE                                                                         BUFFALO          NY   14215‐3707
PARKER, HORACE L    1559 EDMUNDSON RD                                                                         PROSPECT         TN   38477‐6418
PARKER, HUGH J      7387 BETH CT                                                                              CARLISLE         OH   45005‐4273
PARKER, HUGH M      2901 HILLCREST AVE                                                                        FLINT            MI   48507‐1896
PARKER, HUGH S      115 PFIEFFER AVE                                                                          CLYDE            OH   43410‐1810
PARKER, IBRA E      286 VAN BUREN CIR                                                                         DAVISON          MI   48423‐8569
PARKER, IDA J       775 TOUBY LN                                                                              MANSFIELD        OH   44903‐9133
PARKER, ILA M       1456 ERICA LN                                                                             EAST LANSING     MI   48823‐2257
PARKER, ILONA A.    10161 STATE HWY #56             APT#1                                                     MASSENA          NY   13662‐3258
PARKER, IMOGENE     25 JEFFERSON VLY                                                                          COATESVILLE      IN   46121‐8935
PARKER, INA A       5301 E W AVE                                                                              VICKSBURG        MI   49097‐8301
PARKER, INEZ D      275 W LAKE DR                                                                             CADILLAC         MI   49601‐9684
PARKER, INEZ D      190 LIBERTY RD                                                                            ENGLEWOOD        NJ   07631‐2241
PARKER, INGRID      PO BOX 1041                                                                               HURLOCK          MD   21643‐1041
PARKER, IRENE       7077 ROSEWOOD DR                                                                          FLUSHING         MI   48433‐2280
PARKER, IRENE L     547 S 30TH ST                                                                             SAGINAW          MI   48601‐6432
PARKER, IRENE L     PO BOX 772704                                                                             ORLANDO          FL   32877‐2704
PARKER, J C         RR 4 BOX 30                                                                               GRAFTON          WV   26354‐9303
PARKER, J C         RTE 3 BOX 520                                                                             ASHLAND          AL   36251
PARKER, J D         2395 CYPRESS WAY                                                                          MUSCLE SHOALS    AL   35661‐3150
PARKER, J D         810 CHANDLER AVE                                                                          LINDEN           NJ   07036‐2052
PARKER, J R         9761 COLUMBIA 3 6                                                                         MAGNOLIA         AR   71753
PARKER, JACK        2178 WILSHIRE CIR                                                                         GOSHEN           OH   45122‐9483
PARKER, JACK D      21500 HOPKINS PARK RD                                                                     DAWSON SPRINGS   KY   42408‐9238
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Name                    Address1                        Address2                      Address3   Address4         City               State Zip
PARKER, JACK D          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                        STREET, SUITE 600
PARKER, JACK J          5251 EDA DR                                                                               WEST CARROLLTON    OH   45449‐2701
PARKER, JACKLYN         PO BOX 244                                                                                URIAH              AL   36480‐0244
PARKER, JACQUELIN R     1424 W JUDD RD                                                                            FLINT              MI   48507‐3657
PARKER, JACQUELINE R    6023 DEERING ST                                                                           GARDEN CITY        MI   48135‐2508
PARKER, JACQUELINE S    PO BOX 5722                                                                               PEARL              MS   39288‐5722
PARKER, JACQUELYN L     2112 MADISON ST                                                                           CHESTER            PA   19013‐5428
PARKER, JAMES           742 WESTERN AVE                                                                           ALBANY             NY   12203‐2316
PARKER, JAMES
PARKER, JAMES           THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES       FL   33146
PARKER, JAMES           SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST         MS   39083‐3007
PARKER, JAMES A         1248 AUTUMN HILL LN                                                                       STONE MTN          GA   30083‐5266
PARKER, JAMES B         211 CHAPEL LN                                                                             CANFIELD           OH   44406‐1206
PARKER, JAMES C         7602 PARKER RD                                                                            CASTALIA           OH   44824‐9742
PARKER, JAMES C         3318 N DECATUR BLVD UNIT 1004                                                             LAS VEGAS          NV   89130‐3232
PARKER, JAMES C         3510 HYDE RD                                                                              CARSONVILLE        MI   48419‐9222
PARKER, JAMES C         1543 APPLE CREEK TRL                                                                      GRAND BLANC        MI   48439‐4963
PARKER, JAMES D         #B                              8072 JONES COURT                                          MTN HOME AFB       ID   83648‐1096
PARKER, JAMES D         27160 NEWBERRY BLVD                                                                       BROWNSTOWN         MI   48134‐6020
PARKER, JAMES D         5500 SEYMOUR LAKE RD                                                                      OXFORD             MI   48371‐4143
PARKER, JAMES D         5201 PLEASANT DR                                                                          FLUSHING           MI   48433‐9022
PARKER, JAMES E         551 BOWMAN ST                                                                             MANSFIELD          OH   44903‐1206
PARKER, JAMES E         1209 NORTH HANOVER AVENUE                                                                 INDEPENDENCE       MO   64056‐1400
PARKER, JAMES E         389 N CHARLES AVE                                                                         INVERNESS          FL   34453‐8938
PARKER, JAMES E         181 E MARGARET ST                                                                         DETROIT            MI   48203‐4412
PARKER, JAMES EDWARD    GUY WILLIAM S                   PO BOX 509                                                MCCOMB             MS   39649‐0509
PARKER, JAMES F         5517 EAGLE TRACE DR                                                                       SYLVANIA           OH   43560‐4224
PARKER, JAMES F         12134 SPRING ARBOR RD                                                                     CONCORD            MI   49237‐9722
PARKER, JAMES G         1315 HELENA DR                                                                            LEBANON            IN   46052‐1033
PARKER, JAMES G         PO BOX 1555                                                                               LA FOLLETTE        TN   37766‐1555
PARKER, JAMES H         1417 MAYBERRY LN                                                                          FRANKLIN           TN   37064‐9612
PARKER, JAMES J         3149 JEFFLAND RD                                                                          BALTIMORE          MD   21244‐3420
PARKER, JAMES L         5687 SALEM RD                                                                             LITHONIA           GA   30038‐1632
PARKER, JAMES L         15284 COLLINGHAM DR                                                                       DETROIT            MI   48205‐1343
PARKER, JAMES L         5417 GREY DR                                                                              SYLVANIA           OH   43560‐2411
PARKER, JAMES L         34235 SANDPEBBLE DR                                                                       STERLING HEIGHTS   MI   48310‐5557
PARKER, JAMES LEE       5687 SALEM RD                                                                             LITHONIA           GA   30038‐1632
PARKER, JAMES LESTER    5417 GREY DR                                                                              SYLVANIA           OH   43560‐2411
PARKER, JAMES M         63 SPRINGVIEW DR                                                                          BRANDON            MS   39042‐2308
PARKER, JAMES M         5172 MONTICELLO DR                                                                        SWARTZ CREEK       MI   48473‐8252
PARKER, JAMES M         9117 LAHRING RD                                                                           GAINES             MI   48436‐9769
PARKER, JAMES M         15763 SNOWDEN ST                                                                          DETROIT            MI   48227
PARKER, JAMES MICHAEL   5172 MONTICELLO DR                                                                        SWARTZ CREEK       MI   48473‐8252
PARKER, JAMES N         515 FAIRWAY WALK DR                                                                       LAWRENCEVILLE      GA   30043‐6035
PARKER, JAMES O         1100 E TAYLOR ST                                                                          KOKOMO             IN   46901‐4913
PARKER, JAMES R         110 MCCARTY RD                                                                            JACKSON            MS   39212‐9635
PARKER, JAMES R         278 VANSICKLE DR                                                                          CHARLOTTE          MI   48813‐8159
PARKER, JAMES R         BOX 6767 COUNTY RD. 90                                                                    MOULTON            AL   35650
PARKER, JAMES RICHARD   7984 S 350 W                                                                              SOUTH WHITLEY      IN   46787‐9719
PARKER, JAMES T         16215 BRANDT ST                                                                           ROMULUS            MI   48174‐3212
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Name                    Address1                         Address2                       Address3   Address4         City           State Zip
PARKER, JAMES T         KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND       OH 44114
                                                         BOND COURT BUILDING
PARKER, JAMES V         1303 MEANWELL RD                                                                            DUNDEE         MI   48131‐9717
PARKER, JAMES W         LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                    MIAMI          FL   33143‐5163
PARKER, JAN F           8148 OAK ST                                                                                 IDA            MI   48140‐9766
PARKER, JANE E          244 HEDGES ST                                                                               MANSFIELD      OH   44902‐8612
PARKER, JANE R          9321 WILLIAMS BLVD # B                                                                      ALBANY         GA   31705‐4424
PARKER, JANE ROSEMARY   12051 MCCLINTOCK CT                                                                         ALBANY         GA   31705‐4447
PARKER, JANET K         5191 FLAGLER                                                                                FLINT          MI   48532‐4139
PARKER, JANET K         5191 FLAGLER ST                                                                             FLINT          MI   48532‐4139
PARKER, JANICE          257 LAKE HART                                                                               MOORESVILLE    IN   46158
PARKER, JANICE          8027 FILLY LN                                                                               PLAINFIELD     IN   46168‐8500
PARKER, JANICE          PO BOX 583                                                                                  MOORESVILLE    IN   46158‐0583
PARKER, JANICE M        198 E GLASS RD                                                                              ORTONVILLE     MI   48462‐8876
PARKER, JASPER          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD     OH   44067
                                                         PROFESSIONAL BLDG
PARKER, JEAN E          6572 NORTHVIEW DR                                                                           CLARKSTON      MI   48346‐1528
PARKER, JEANNE I        2190 HASLETT RD                                                                             WILLIAMSTON    MI   48895‐9624
PARKER, JEFF            KING WILEY & WILLIAMS            PO BOX 1688                                                JASPER         AL   35502
PARKER, JEFFREY         501 BUICK AVE. ROOM 234 H                                                                   FORT STEWART   GA   31315
PARKER, JEFFREY A       1373 PARKCREST DR                                                                           WATERFORD      MI   48327‐4803
PARKER, JEFFREY D       4030 TATES CREEK RD APT 2967                                                                LEXINGTON      KY   40517‐3093
PARKER, JEFFREY D       APT 2967                         4030 TATES CREEK ROAD                                      LEXINGTON      KY   40517‐3093
PARKER, JEFFREY F       8310 AUTUMN OAK AVE                                                                         PORT RICHEY    FL   34668‐3354
PARKER, JEFFREY R       4509 MARGARETE DR SW                                                                        DECATUR        AL   35603‐4906
PARKER, JENNETT O       PO BOX 98                                                                                   RUTHER GLEN    VA   22546‐0098
PARKER, JENNIE B        425 W 5TH ST                                                                                MANSFIELD      OH   44903‐1558
PARKER, JENNIFER F      1543 APPLE CREEK TRL                                                                        GRAND BLANC    MI   48439‐4963
PARKER, JENNINGS A      7318 MANHATTAN AVE                                                                          PARMA          OH   44129‐1465
PARKER, JEREL           66 SPRING CREEK DR                                                                          TOWNSEND       DE   19734‐9054
PARKER, JEREMY          CONSUMER LEGAL SERVICES          1950 SAWTELLE BLVD STE 245                                 LOS ANGELES    CA   90025‐7017
PARKER, JEREMY W        6039 SUN VALLEY DR                                                                          GRAND BLANC    MI   48439‐9165
PARKER, JERILYN J       3621 LAKESIDE DR                                                                            SHREVEPORT     LA   71119‐6517
PARKER, JERLINE J       2223 DEWEY ST                                                                               ANDERSON       IN   46016‐3642
PARKER, JERLINE J       2223 DEWY                                                                                   ANDERSON       IN   46016‐3642
PARKER, JEROME A        2024 W TERRACE VIEW ST                                                                      TOLEDO         OH   43607‐1063
PARKER, JERRY           GUY WILLIAM S                    PO BOX 509                                                 MCCOMB         MS   39649‐0509
PARKER, JERRY C         9131 HAZELTON                                                                               REDFORD        MI   48239‐1181
PARKER, JERRY F         45 YARKER AVE                                                                               ROCHESTER      NY   14612‐5129
PARKER, JERRY P         18115 KARA CT                                                                               TAMPA          FL   33647‐3306
PARKER, JERRY R         818 EASTGATE DR                                                                             ANDERSON       IN   46012‐9690
PARKER, JERRY W         1570 EDENDALE RD                                                                            DAYTON         OH   45432‐3644
PARKER, JERRY W         544 N BERWICK AVE                                                                           INDIANAPOLIS   IN   46222‐3412
PARKER, JESSE W         13031 S ELAINE DR                                                                           PLAINFIELD     IL   60585‐9768
PARKER, JESSIE          3656 HIGHWAY 70 W                                                                           KIRBY          AR   71950‐9028
PARKER, JESSIE          3656 HWY 70 W                                                                               KIRBY          AR   71950‐9028
PARKER, JESSIE O        18411 STEEL ST                                                                              DETROIT        MI   48235‐1326
PARKER, JIM B           4479 DYE RD                                                                                 SWARTZ CREEK   MI   48473‐8258
PARKER, JIM N           3450 N COMMERCE ST APT 307                                                                  ARDMORE        OK   73401‐1536
PARKER, JIMMIE M        5202 LOOKOUT TRL                                                                            ARLINGTON      TX   76017‐1920
PARKER, JIMMY           1600 WINICK ST SE                                                                           GRAND RAPIDS   MI   49506‐3942
PARKER, JIMMY           PORTER & MALOUF PA               4670 MCWILLIE DR                                           JACKSON        MS   39206‐5621
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Name                  Address1                        Address2                        Address3   Address4         City                  State Zip
PARKER, JIMMY D       13600 ALICIA SP CT                                                                          OKLAHOMA CITY          OK 73165
PARKER, JIMMY E       1569 BOWIE LN                                                                               FRISCO                 TX 75034‐7333
PARKER, JIMMY J       207 SHADOW WOOD DR                                                                          CLINTON                MS 39056‐5856
PARKER, JIMMY W       91 MITCHELL RD NE APT F                                                                     CULLMAN                AL 35055‐5931
PARKER, JIMMY W       12800 IROQUOIS DR                                                                           BIRCH RUN              MI 48415‐9316
PARKER, JIMMY W       91F MITCHELL RD N EAST                                                                      CULLMEN                AL 35055
PARKER, JO A          5036 IRONHORSE RANCH AVE                                                                    LAS VEGAS              NV 89131‐1988
PARKER, JO ANN        1090 64TH ST APT 7                                                                          LA GRANGE HIGHLANDS     IL 60525‐4543
PARKER, JOAN          13 BARCLAY CT                                                                               MONTGOMERY              IL 60538
PARKER, JOAN D        6618 BLOOMFIELD LN                                                                          W BLOOMFIELD           MI 48322‐3941
PARKER, JOAN E        10362 ALDORA DR.                                                                            MIAMISBURG             OH 45342‐4803
PARKER, JOAN G        7180 LEHRING RD                                                                             BANCROFT               MI 48414‐9769
PARKER, JOANNA        12736 MERCEDES                                                                              REDFORD TOWNSHIP       MI 48239
PARKER, JOANNE A      7622 E SAGINAW HWY                                                                          LANSING                MI 48917‐9707
PARKER, JOE E         4491 HOMINY RIDGE RD                                                                        SPRINGFIELD            OH 45502‐8046
PARKER, JOE L         6427 NORBURN WAY                                                                            LANSING                MI 48911‐6040
PARKER, JOE L         414 ALEXANDER BLVD                                                                          SPRING HILL            TN 37174‐2441
PARKER, JOHN          PORTER & MALOUF PA              4670 MCWILLIE DR                                            JACKSON                MS 39206‐5621
PARKER, JOHN          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK                VA 23510‐2212
                                                      STREET, SUITE 600
PARKER, JOHN B        99 SPRING GARDEN CT                                                                         BOARDMAN              OH   44512‐6526
PARKER, JOHN B        361 SYCAMORE DR                                                                             NAPERVILLE            IL   60540‐7534
PARKER, JOHN B        55 DUNNING KEEP                                                                             COVINGTON             GA   30016‐1743
PARKER, JOHN C        RR 1 BOX 565                                                                                FORT COBB             OK   73038‐9654
PARKER, JOHN C        16948 HOWE RD                                                                               STRONGSVILLE          OH   44136‐6457
PARKER, JOHN D        4238 W 21ST ST                                                                              CHICAGO               IL   60623‐2754
PARKER, JOHN D        72322 SOMMERSET DR                                                                          PALM DESERT           CA   92260‐6242
PARKER, JOHN E        2131 CHAPARRAL ST                                                                           KALAMAZOO             MI   49006‐1382
PARKER, JOHN E        505 ANDERSON ST                                                                             DANVILLE              IL   61832‐4803
PARKER, JOHN E        1695 BOY SCOUT RD                                                                           CARO                  MI   48723‐9491
PARKER, JOHN F        230 WATERWAY CT                                                                             LAPEER                MI   48446‐3298
PARKER, JOHN F        9490 BURT RD                                                                                BIRCH RUN             MI   48415‐9427
PARKER, JOHN H        3211 CANDACE DR SE                                                                          ATLANTA               GA   30316‐4933
PARKER, JOHN J        53 BEACH ST                                                                                 MILFORD               MA   01757‐3409
PARKER, JOHN J        9699 MASON RD                                                                               OVID                  MI   48866‐9590
PARKER, JOHN JOSEPH   9699 MASON RD                                                                               OVID                  MI   48866‐9590
PARKER, JOHN K        659 CRESTVIEW ST                                                                            HOLLAND               MI   49423‐4654
PARKER, JOHN L        2463 S ETHEL ST                                                                             DETROIT               MI   48217‐1656
PARKER, JOHN R        86 E HOPKINS AVE                                                                            PONTIAC               MI   48340‐1931
PARKER, JOHN REID     BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS                TX   75219
PARKER, JOHN W        149 TRACE RD                                                                                LA FOLLETTE           TN   37766‐7323
PARKER, JOHNNIE       5564 BANNOCKBURN DR                                                                         TOLEDO                OH   43623‐1756
PARKER, JOHNNIE L     16095 VERONICA AVENUE                                                                       EASTPOINTE            MI   48021‐2957
PARKER, JOSELYN L     1852 PAISLEY ST                                                                             YOUNGSTOWN            OH   44511‐1024
PARKER, JOSEPH        8310 CARLIN ST                                                                              DETROIT               MI   48228‐2705
PARKER, JOSEPH        3136 SWEET GUM DR                                                                           HARVEY                LA   70058‐1627
PARKER, JOSEPH        383 OLD ARKANSAS RD E                                                                       CALHOUN               LA   71225‐8228
PARKER, JOSEPH C      2402 N LIBERTY ST                                                                           INDEPENDENCE          MO   64050‐1316
PARKER, JOSEPH L      2401 S BULL RUN RD                                                                          FOWLERVILLE           MI   48836‐9266
PARKER, JOSEPH M      383 OLD ARKANSAS RD E                                                                       CALHOUN               LA   71225‐8228
PARKER, JOSEPH S      1015 WHEATFIELD DR                                                                          MILLERSVILLE          MD   21108‐1597
PARKER, JOSHUA A      208 DEAN DR                                                                                 FARMERSVILLE          OH   45325‐1200
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Name                                 Address1                        Address2                       Address3   Address4         City               State Zip
PARKER, JOSHUA A                     18382 MANORWOOD S                                                                          CLINTON TOWNSHIP    MI 48038‐1241
PARKER, JOY A                        166 PARKER LAKE DR                                                                         OXFORD              MI 48371
PARKER, JOYCE                        3167 PERRY COURT                                                                           GRAND BLANC         MI 48439‐8151
PARKER, JOYCE                        310 BRIERWOOD ST                                                                           ANN ARBOR           MI 48103‐3654
PARKER, JOYCE                        31 SIDNEY ST                                                                               ROCHESTER           NY 14609‐7042
PARKER, JOYCE A                      1236 DUNCAN DR                                                                             MILFORD             OH 45150‐9731
PARKER, JOYCE A                      106 PANORAMA DR                                                                            CONROE              TX 77304‐3405
PARKER, JOYCE F                      23000 HARDING ST                                                                           OAK PARK            MI 48237‐2447
PARKER, JOYCE M                      9637 HALYARD DR                                                                            IRA                 MI 48023‐2859
PARKER, JR,WILLIAM H                 2703 OLD COUNTRY CLUB RD                                                                   PEARL               MS 39208‐5821
PARKER, JR.,RICHARD                  120 E 2ND ST                                                                               MANSFIELD           OH 44902
PARKER, JUANITA                      1109 W 93RD ST                                                                             CHICAGO              IL 60620
PARKER, JUDITH A                     2002 S HEMLOCK RD                                                                          MUNCIE              IN 47302‐1959
PARKER, JUDITH K                     11522 W PORCUPINE CT                                                                       SURPRISE            AZ 85374‐2550
PARKER, JUDITH K                     1425 LARAMIE LANE                                                                          JANESVILLE          WI 53546‐1320
PARKER, JUDITH M                     800 EAST FOSTER STREET                                                                     KOKOMO              IN 46902‐1712
PARKER, JUDITH M                     426 VIA ROSA UNIT B                                                                        SANTA BARBARA       CA 93110‐4041
PARKER, JUDY A                       1000 COUNTY ROAD 322                                                                       MOULTON             AL 35650‐7254
PARKER, JUDY A                       3705 BIG DRY CREEK RD                                                                      PULASKI             TN 38478‐8328
PARKER, JUDY E                       111 CHAPEL CLIFF DR                                                                        RAYMOND             MS 39154‐9571
PARKER, JUDY M                       61174 SHOREWOOD DR                                                                         THREE RIVERS        MI 49093
PARKER, JULIA M                      5280 OWEN RD                                                                               LINDEN              MI 48451‐9118
PARKER, JULIE A                      3473 PULASKI HWY                                                                           COLUMBIA            TN 38401‐8524
PARKER, JULIE A                      719 JANICE ST                                                                              HOLLY               MI 48442‐1266
PARKER, JUNE A                       19866 PINE CONE DR                                                                         MACOMB              MI 48042‐6014
PARKER, JUNE L                       55 RICHLAND RD                                                                             CRAWFORDVILLE       FL 32327‐5215
PARKER, KAI W                        1867 BONNIE BRAE AVE NE                                                                    WARREN              OH 44483‐3513
PARKER, KAREN G                      3565 PALMYRA RD SW                                                                         WARREN              OH 44481‐9701
PARKER, KAREN H                      6839 MOUNT VERNON AVE                                                                      SALISBURY           MD 21804‐1857
PARKER, KAREN L                      3131 CLOISTER LANE                                                                         DAYTON              OH 45449‐3505
PARKER, KARL D                       1816 EVERGREEN ST SE                                                                       GRAND RAPIDS        MI 49506‐4142
PARKER, KATHERINE N                  110 MCCARTY RD                                                                             JACKSON             MS 39212‐9635
PARKER, KATHERINE N                  110 MCARTY RD                                                                              JACKSON             MS 39212‐9635
PARKER, KATHLEEN                     657 LOGAN ROAD                                                                             MANSFIELD           OH 44907
PARKER, KATHLEEN                     657 LOGAN RD                                                                               MANSFIELD           OH 44907‐2733
PARKER, KATHY                        501 HIDDEN CREEK TRAIL                                                                     CLIO                MI 48420‐2037
PARKER, KAYE                         1510 WEST ARIANA                LOT 83                                                     LAKELAND            FL 33803
PARKER, KAYE                         1510 ARIANA ST LOT 83                                                                      LAKELAND            FL 33803‐6911
PARKER, KEITH A                      7283 CALKINS RD                                                                            FLINT               MI 48532‐3004
PARKER, KEITH H                      3237 E ROTAMER RD                                                                          JANESVILLE          WI 53546‐9330
PARKER, KELLI S                      835 ROWLINSON LN                                                                           ORTONVILLE          MI 48462‐8559
PARKER, KELLI S                      1860 GLENFIELD RD                                                                          ORTONVILLE          MI 48452‐9030
PARKER, KENNETH                      BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                                     PROFESSIONAL BLDG
PARKER, KENNETH A                    13940 KENNETH CT                                                                           LEAWOOD            KS   66224‐4540
PARKER, KENNETH B                    PO BOX 195                                                                                 HORNTOWN           VA   23395‐0195
PARKER, KENNETH D                    250 ROY HAYNES DR                                                                          BALL GROUND        GA   30107‐2961
PARKER, KENNETH E                    3316 HOLLY AVE                                                                             FLINT              MI   48506‐4714
PARKER, KENNETH H, JR & KATHLEEN H   ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                          HOUSTON            TX   77069
PARKER
PARKER, KENNETH I                    6182 EMERALD DR                                                                            GRAND BLANC        MI 48439‐7809
PARKER, KENNETH L                    2776 PHILLIPS RD                                                                           LEBANON            OH 45036‐8768
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Name                      Address1                          Address2                      Address3   Address4         City              State Zip
PARKER, KENNETH L         6900 HILL ST                                                                                WHITEHALL          MI 49451‐9506
PARKER, KENNETH L         2400 MARKLEY PLACE                                                                          LANSING            MI 48910‐2865
PARKER, KENNETH R         20993 COLLINS BRIDGE RD                                                                     DAWSON SPRINGS     KY 42408‐9223
PARKER, KENNETH R         990 AVERILL AVE                                                                             MANSFIELD          OH 44906‐1606
PARKER, KENNETH R         6451 SUNFLOWER DR SW                                                                        BYRON CENTER       MI 49315‐9435
PARKER, KENNY A           4316 N ELMS RD                                                                              FLUSHING           MI 48433‐1450
PARKER, KEVAN M           105 AVALON DR                                                                               COLUMBIA           TN 38401‐4609
PARKER, KEVIN             ADELMAN GERMAN PLC                5665 NORTH SCOTTSDALE ROAD                                SCOTTSDALE         AZ 85250
                                                            SUITE F105
PARKER, KRIS A            204 HAZY MORN CT                                                                            ORTONVILLE        MI   48462‐9466
PARKER, KURTIS A          2300 STATE ROUTE 179                                                                        LOUDONVILLE       OH   44842‐9598
PARKER, LA'CHELLE R       PO BOX 37304                                                                                OAK PARK          MI   48237‐0304
PARKER, LA'CHELLE RENEE   PO BOX 37304                                                                                OAK PARK          MI   48237‐0304
PARKER, LARRY
PARKER, LARRY D           1537 PETTIBONE AVE                                                                          FLINT             MI   48507‐4814
PARKER, LARRY D           710 MAPLE ST                                                                                SCHOOLCRAFT       MI   49087‐9797
PARKER, LARRY E           3468 MAN O WAR LOOP N                                                                       OWENSBORO         KY   42303‐2455
PARKER, LARRY H           4327 TINCHER RD                                                                             INDIANAPOLIS      IN   46221‐3129
PARKER, LARRY JAMES       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                            STREET, SUITE 600
PARKER, LARRY L           2108 ANGIE LN                                                                               ANDERSON          IN   46017‐9531
PARKER, LARRY L           2544 LAMBETH PARK                                                                           ROCHESTER HILLS   MI   48306‐3040
PARKER, LARRY L           1416 NEW YORK AVE                                                                           LANSING           MI   48906‐4538
PARKER, LARRY LEE         2108 ANGIE LN                                                                               ANDERSON          IN   46017‐9531
PARKER, LARRY R           2351 WILSHIRE RD                                                                            CORTLAND          OH   44410‐9308
PARKER, LARRY R           3260 E FAIRVIEW RD SW                                                                       STOCKBRIDGE       GA   30281‐5604
PARKER, LARRY S           2652 N 350 W                                                                                ANDERSON          IN   46011‐8719
PARKER, LARY E            11672 UNION GROVE RD                                                                        UNION GROVE       AL   35175‐8642
PARKER, LASHONDA          1754 SAWN AVE                                                                               BATON ROUGE       LA   70807‐4960
PARKER, LASHONDA          1754 SWAN AVE                                                                               BATON ROUGE       LA   70807‐4960
PARKER, LAURA H           9571 WEST 1300 NORTH                                                                        ELLWOOD           IN   46036‐8707
PARKER, LAURA H           9571 W 1300 N                                                                               ELWOOD            IN   46036‐8707
PARKER, LAURA J           6598 FAYE RD                                                                                MILLINGTON        MI   48746‐9321
PARKER, LAURA L           4665 PINE EAGLES DR                                                                         BRIGHTON          MI   48116‐9757
PARKER, LAVON E           4515 GRAHAM LOT 140                                                                         HARLINGEN         TX   78552‐2016
PARKER, LAVON E           4515 GRAHAM RD UNIT 140                                                                     HARLINGEN         TX   78552‐2016
PARKER, LAWRENCE          641 EAST FERRY STREET                                                                       BUFFALO           NY   14211‐1138
PARKER, LAWRENCE O        4037 HUHN CIR                                                                               SHELBY TOWNSHIP   MI   48316‐2233
PARKER, LEANORE           41415 JANET CIR                                                                             CLINTON TWP       MI   48038‐2047
PARKER, LEE ANN           6300 W 26TH ST                                                                              SIOUX FALLS       SD   57106‐5323
PARKER, LELAND J          2811 S US HIGHWAY 23                                                                        GREENBUSH         MI   48738‐9657
PARKER, LENAIL            566 W 3RD ST                                                                                MANSFIELD         OH   44906‐2633
PARKER, LEON F            19536 DIXIE DR                                                                              CLINTON TWP       MI   48035‐1502
PARKER, LEON T            7180 LEHRING RD                                                                             BANCROFT          MI   48414‐9769
PARKER, LEONA L           4611 LOWCROFT AVE                                                                           LANSING           MI   48910‐5277
PARKER, LEONA L           4611 LOWCROFT                                                                               LANSING           MI   48910‐5277
PARKER, LEONARD E         PATTEN WORNOM & WATKINS           12350 JEFFERSON AVE STE 360                               NEWPORT NEWS      VA   23602‐6956
PARKER, LEONARD E         439 GRANDVIEW DR                                                                            ALTOONA           AL   35952‐7986
PARKER, LEONARD M         3113 BERWYN WAY                                                                             THE VILLAGES      FL   32162‐7509
PARKER, LEONARD R         PO BOX 12                                                                                   WACO              GA   30182‐0012
PARKER, LEROY D           2605 SWEET HOME RD                                                                          AMHERST           NY   14228‐2129
PARKER, LESTER D          5609 MITCHELL SAXON RD                                                                      FORT WORTH        TX   76140‐8023
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Name                   Address1                      Address2            Address3         Address4         City                   State Zip
PARKER, LETHA R        6479 CRANBERRY DR                                                                   HOLLY                   MI 48442‐8441
PARKER, LETHA RENEE    6479 CRANBERRY DR                                                                   HOLLY                   MI 48442‐8441
PARKER, LEWIS          G 5142 INLAND                                                                       FLINT                   MI 48505
PARKER, LEWIS E        303 MARLOW LN                                                                       ALBANY                  GA 31721‐6334
PARKER, LILLIE M       3799 MONTGOMERY AVENUE                                                              DETROIT                 MI 48206‐2315
PARKER, LILLIS H       17181 BRADFORD ST             C/O KEN PARKER                                        DETROIT                 MI 48205‐3168
PARKER, LINDA          2446 E 700 N                                                                        ALEXANDRIA              IN 46001
PARKER, LINDA          15 EDMOND ST                                                                        PUTNAM                  CT 06260
PARKER, LINDA J        1031 PERKINSWOOD BLVD SE                                                            WARREN                  OH 44484‐4406
PARKER, LINDA M        1660 ELK DR                                                                         GEORGETOWN              TX 78625‐4612
PARKER, LINDA R        4233 W HANOVER RD                                                                   JANESVILLE              WI 53548‐9205
PARKER, LINDBERGH      15318 PREST ST                                                                      DETROIT                 MI 48227‐2321
PARKER, LISA K         6351 KLAM RD                                                                        OTTER LAKE              MI 48464‐9763
PARKER, LISA KAY       6351 KLAM RD                                                                        OTTER LAKE              MI 48464‐9763
PARKER, LLOYD          4099 GRAND OAKS TRL                                                                 BURTON                  MI 48519‐1634
PARKER, LLOYD G        605 LEE WAY                                                                         BEL AIR                 MD 21014‐3329
PARKER, LLOYD R        PO BOX 414                                                                          FELICITY                OH 45120‐0414
PARKER, LLOYD W        605 GEORGETOWN RD                                                                   OVILLA                  TX 75154‐1607
PARKER, LOIS           3909 LOCHRIDGE COURT                                                                NORTH RICHMOND HILLS    TX 76180
PARKER, LOIS J         31197 COUNTRY RIDGE CIR                                                             FARMINGTON HILLS        MI 48331‐1120
PARKER, LORENE         233 MAEDER AVENUE                                                                   DAYTON                  OH 45427‐1936
PARKER, LORENE         233 MAEDER AVE                                                                      DAYTON                  OH 45427‐1936
PARKER, LORETTA B      1107 GRANT AVE                                                                      SALISBURY               MD 21804‐6647
PARKER, LORI K         490 MAPLE DR                                                                        NEWTON FALLS            OH 44444‐9717
PARKER, LORIN W        219 GOODHUE ST                                                                      OWOSSO                  MI 48867‐2321
PARKER, LOUIS B        117 LARKSPUR STREET                                                                 BROOKHAVEN              MS 39601‐2487
PARKER, LOUIS C        6132 TUTTLE HILL RD                                                                 YPSILANTI               MI 48197‐9722
PARKER, LOUIS F        418 QUAKER RD                                                                       LAWNSIDE                NJ 08045‐1044
PARKER, LOWELL T       15 FERN RD                                                                          STOCKBRIDGE             GA 30281‐2120
PARKER, LOWELL V       8915 KY 1304                                                                        BARBOURVILLE            KY 40906‐7150
PARKER, LUCILLE M      5180 CALLA AVE NW                                                                   WARREN                  OH 44483‐1220
PARKER, LUCILLE M      5180 CALLA NW                                                                       WARREN                  OH 44483‐1220
PARKER, LYNN A         1816 IRENE AVE NE                                                                   WARREN                  OH 44483‐4483
PARKER, MACK D         20921 LOCKWOOD ST                                                                   TAYLOR                  MI 48180‐2984
PARKER, MAGDALEN H     9103 LYNNHAVEN ROAD                                                                 PARMA HEIGHTS           OH 44130
PARKER, MAGGIE B       226 REED ST                                                                         BUFFALO                 NY 14211‐3259
PARKER, MALISSA J      17 WAVERLY RD                                                                       WOBURN                  MA 01801‐5854
PARKER, MARGARET       17868 GALLAGHER                                                                     DETROIT                 MI 48212‐1030
PARKER, MARGARET A     PO BOX 4509                                                                         INGLEWOOD               CA 90309‐4509
PARKER, MARGARET C     240 BLUE GOOSE RD                                                                   TROY                    MO 63379‐5308
PARKER, MARGARET D     3618 N NORFOLK ST                                                                   INDIANAPOLIS            IN 46224‐1433
PARKER, MARGARET J     99 WILLOWBROOK ST                                                                   DECATUR                 AL 35603‐6204
PARKER, MARGARET M     4864 N 375 E                                                                        ALEXANDRIA              IN 46001‐8714
PARKER, MARGARETTE     3206 WOODRIDGE DR                                                                   THE VILLAGES            FL 32162‐7500
PARKER, MARGIE L       20308 PARKVILLE ST                                                                  LIVONIA                 MI 48152‐2063
PARKER, MARGOT C       1100 BERKSHIRE RD                                                                   GROSSE POINTE           MI 48230‐1341
PARKER, MARGUERITE L   G 5142 INLAND STREET                                                                FLINT                   MI 48505
PARKER, MARIE          PO BOX 263                                                                          BRONX                   NY 10456‐0263
PARKER, MARIE S        137 LA BELLE ST                                                                     DAYTON                  OH 45403‐2325
PARKER, MARILYN B      6636 ALMOND LANE                                                                    CLARKSTON               MI 48346‐2209
PARKER, MARILYN B      6636 ALMOND LN                                                                      CLARKSTON               MI 48346‐2209
PARKER, MARION F       110 MCCARTY RD                                                                      JACKSON                 MS 39212
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Name                     Address1                           Address2                  Address3   Address4         City                State Zip
PARKER, MARION L         1393 E 94TH ST                                                                           CLEVLAND             OH 44106
PARKER, MARK U           326 E PADRE ST                                                                           SANTA BARBARA        CA 93105‐3610
PARKER, MARK W           12122 HOISINGTON RD                                                                      GAINES               MI 48436‐9608
PARKER, MARK WINDFORD    12122 HOISINGTON RD                                                                      GAINES               MI 48436‐9608
PARKER, MARLENE          4220 WHITBY LN                                                                           BATH                 MI 48808‐9412
PARKER, MARLENE          2708 SALEM CHURCH ROAD             APT 404                                               FREDERICKISBURG      VA 22407
PARKER, MARLO D          462 OAK CIRCLE SOUTHWEST                                                                 WARREN               OH 44485‐3460
PARKER, MARVIN           BRAYTON PURCELL                    PO BOX 6169                                           NOVATO               CA 94948‐6169
PARKER, MARY             16095 VERONICA                                                                           EAST POINT           MI 48021
PARKER, MARY             1717 DELAWARE CT                                                                         DEFIANCE             OH 43512‐3340
PARKER, MARY C           708 DORN DR                                                                              SANDUSKY             OH 44870‐1668
PARKER, MARY C           5329 SUSAN LN                                                                            INDIANAPOLIS         IN 46226‐3258
PARKER, MARY C           1492 WINTER DR                                                                           FREEPORT              IL 61032
PARKER, MARY C           708 DORN DRIVE                                                                           SANDUSKY             OH 44870‐1668
PARKER, MARY E           2706 E 15TH ST                                                                           LEHIGH ACRES         FL 33972‐2572
PARKER, MARY E           2706 15TH ST. EAST                                                                       LEHIGH ACRES         FL 33972‐2572
PARKER, MARY F           1488 GARFIELD AVE                                                                        LINCOLN PARK         MI 48146‐2386
PARKER, MARY F           10035 W ROYAL OAK RD APT 1018                                                            SUN CITY             AZ 85351
PARKER, MARY FRANCIS     1488 GARFIELD                                                                            LINCOLN PARK         MI 48146‐2386
PARKER, MARY H           632 PRIVATE RD. 5881                                                                     YANTIS               TX 75497‐6350
PARKER, MARY H           632 PRIVATE ROAD 5881                                                                    YANTIS               TX 75497‐6350
PARKER, MARY L           208 DEAN DR                                                                              FARMERSVILLE         OH 45325‐1200
PARKER, MARY L           409 PARK ST                                                                              MILLEN               GA 30442‐1757
PARKER, MARY M           8155 WOODSCAPE DR APT E                                                                  CHARLOTTE            NC 28212‐0236
PARKER, MARY PAT         9117 LAHRING RD                                                                          GAINES               MI 48436‐9769
PARKER, MARY R           4773 DAWSON DR                                                                           ANN ARBOR            MI 48103‐9405
PARKER, MARY R           4216 E 188TH ST                                                                          CLEVELAND            OH 44122‐6910
PARKER, MARY R.          4216 E 188TH ST                                                                          CLEVELAND            OH 44122‐6910
PARKER, MARY S           24400 CIVIC CENTER DRIVE APT 315                                                         SOUTHFIELD           MI 48034‐2541
PARKER, MARYBELLE        204 ANDERSON ST                                                                          DANVILLE              IL 61832
PARKER, MARYDEANE        1570 EDENDALE RD                                                                         DAYTON               OH 45432‐3644
PARKER, MASHONDA L       1801 E 21ST ST                                                                           MUNCIE               IN 47302‐5459
PARKER, MATTHEW DAVID    3644 DAVID K DR                                                                          WATERFORD            MI 48329‐1317
PARKER, MATTHEW H        11357 BALFOUR RD                                                                         DETROIT              MI 48224‐1110
PARKER, MATTHEW P        1087 S SEYMOUR RD                                                                        FLINT                MI 48532‐5516
PARKER, MATTHEW PAUL     1087 S SEYMOUR RD                                                                        FLINT                MI 48532‐5516
PARKER, MATTIE B         909 PRINCETON AVE SW                                                                     BIRMINGHAM           AL 35211
PARKER, MAXINE           7283 PARKER RD                                                                           BASOM                NY 14013
PARKER, MELISSA J        10062 QUIRK RD                                                                           BELLEVILLE           MI 48111‐1233
PARKER, MELISSA J        7687 STATE ROAD 54 W                                                                     SPRINGVILLE          IN 47462‐5154
PARKER, MELISSA M        4346 RENDEZVOUS CIR                                                                      ANCHORAGE            AK 99504
PARKER, MELVIN
PARKER, MELVIN           POWER ROGERS & SMITH, P.C.         35 W WACKER DR STE 3700                               CHICAGO             IL   60601‐1694
PARKER, MELVIN J         2850 IROQUOIS DR                                                                         THOMPSONS STATION   TN   37179‐5003
PARKER, MEMORY ANN       COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                               HOUSTON             TX   77002‐1751
PARKER, MICHAEL          454 S 71ST WEST AVE                                                                      TULSA               OK   74127‐5912
PARKER, MICHAEL
PARKER, MICHAEL A        1131 DAVENPORT CT                                                                        BURTON              MI   48529‐1903
PARKER, MICHAEL A        W151N7075 PLAINVIEW DR                                                                   MENOMONEE FLS       WI   53051‐5031
PARKER, MICHAEL ANDREW   1131 DAVENPORT CT                                                                        BURTON              MI   48529‐1903
PARKER, MICHAEL D        8342 E TRUCKEE WAY                                                                       ANAHEIM             CA   92808‐2372
PARKER, MICHAEL D        1828 WEST WENLOCK DRIVE                                                                  MARION              IN   46952‐2432
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Name                     Address1                       Address2                        Address3   Address4         City                State Zip
PARKER, MICHAEL J        1008 HYDE PARK LN                                                                          NAPERVILLE            IL 60565‐1625
PARKER, MICHAEL J        14206 REDWOOD DR                                                                           SHELBY TWP           MI 48315‐6803
PARKER, MICHAEL L        615 BENHAM ST                                                                              DAYTON               KY 41074‐1343
PARKER, MICHAEL L        44 PICADILLY CT                                                                            BROWNSBURG           IN 46112‐1807
PARKER, MICHAEL LANE     LOVELL LOVELL NEWSOM & ISERN   1200 AMARILLO NATIONALS PLAZA                               AMARILLO             TX 79101
                                                        TWO ‐ 500 S TAYLOR ‐ #207
PARKER, MICHAEL R        132 ROCKWELL ST                                                                            JACKSON             MI   49203‐3165
PARKER, MICHAEL W        2812 CASTLE CT                                                                             PERU                IN   46970‐8721
PARKER, MICHAEL WALTER   2812 CASTLE CT                                                                             PERU                IN   46970‐8721
PARKER, MICHELLE         6138 W AIRLINE RD                                                                          WEIDMAN             MI   48893‐9748
PARKER, MICHELLE A       APT E2                         3555 LAWRENCEVILLE HIGHWAY                                  TUCKER              GA   30084‐5821
PARKER, MICHELLE A       9030 HENDERSON RD                                                                          OTISVILLE           MI   48463‐9743
PARKER, MILDRED          BOX 252                                                                                    SMITHFIELD          PA   15478
PARKER, MILDRED F        104 SLOAN AVE E                                                                            TALLADEGA           AL   35160‐1506
PARKER, MOLLIE M         510 BROOKSIDE DR #9                                                                        LITTLE ROCK         AR   72205
PARKER, MONICA M         4600 BRITTON RD LOT 203                                                                    PERRY               MI   48872‐9721
PARKER, MONICA M         434 GRAFTON AVE                                                                            DAYTON              OH   45406
PARKER, MOSE             PORTER & MALOUF PA             4670 MCWILLIE DR                                            JACKSON             MS   39206‐5621
PARKER, MURIEL F         1931 STEWART DR                                                                            WARREN              OH   44485‐4485
PARKER, MURVIN E         214 HARLAN DR                                                                              TROY                MO   63379‐5716
PARKER, MYRTIS           107 VINEYARD AVE                                                                           BATTLE CREEK        MI   49037‐2441
PARKER, MYRTIS           107 VINEYARD                                                                               BATTLE CREEK        MI   49017‐2441
PARKER, N                17108 BILTMORE                                                                             CLEVELAND           OH   44128‐1570
PARKER, NAAMAN U         15791 PARKER RD                                                                            ATHENS              AL   35611‐7943
PARKER, NADINE           355 LOUIS ST                                                                               MANSFIELD           OH   44903
PARKER, NANCY            6244 THORMAN RD.                                                                           PORT CHARLOTTE      FL   33981‐550
PARKER, NANCY C          10398 HILL ROAD                                                                            SWARTZ CREEK        MI   48473
PARKER, NANCY J          4925 SE 130TH PLACE                                                                        BELLEVIEW           FL   34420‐5031
PARKER, NANCY L          625 BLACKBIRD LANDING RD                                                                   TOWNSEND            DE   19734‐9146
PARKER, NANCY SHORT      4708 SOUTHVIEW DR                                                                          ANDERSON            IN   46013‐4757
PARKER, NANNIE B         1554 EARLHAM DRIVE                                                                         DAYTON              OH   45406‐4733
PARKER, NATHAN L         103 MOSS LN                                                                                FRANKLIN            TN   37064‐5242
PARKER, NATHAN T         953 RIVER VALLEY DR                                                                        LAKE ORION          MI   48362‐3488
PARKER, NEIL F           1095 W MCCOY LN SPC 9                                                                      SANTA MARIA         CA   93455‐1139
PARKER, NELL M           6760 W DARTMOOR RD                                                                         WEST BLOOMFIELD     MI   48322‐4319
PARKER, NELLIE G         PO BOX 1381                                                                                JAMESTOWN           TN   38556‐1381
PARKER, NELLIE P         1405 COUNTRY RD 1859                                                                       ARAB                AL   35016
PARKER, NEVA E           623 E TROUGH CAMP RD                                                                       OLIVE HILL          KY   41164‐9374
PARKER, NICHOLAS C       20 ROSALIE DR                                                                              ROCHESTER           NY   14626‐1512
PARKER, NICK A           821 S LAKE PLEASANT RD                                                                     ATTICA              MI   48412‐9768
PARKER, NICOLE L         1005 COMPASS WEST DR                                                                       YOUNGSTOWN          OH   44515
PARKER, NOEL D           775 TOUBY LN                                                                               MANSFIELD           OH   44903‐9133
PARKER, NOREEN E         10262 E 3RD ST                                                                             DAVISON             MI   48423‐1482
PARKER, NORMA S          10324 SE 51ST ST                                                                           OKLAHOMA CITY       OK   73150‐4224
PARKER, NORMAN           1443 CHISSOM TRL                                                                           FLINT               MI   48532‐2311
PARKER, NORMAN J         988 NATHANIEL RD                                                                           CLEVELAND           OH   44110‐3235
PARKER, NORMAN T         1828 WILLOW POINT DR                                                                       SHREVEPORT          LA   71119‐4112
PARKER, NORWOOD          4925 SE 130TH PL                                                                           BELLEVIEW           FL   34420‐5031
PARKER, OPAL B           9971 ELM RD                                                                                OVID                MI   48866‐9509
PARKER, ORLANDO C        638 MAYFLOWER DR                                                                           WENTZVILLE          MO   63385‐3563
PARKER, PAMELA           RUNDLETT J KEVIN               PO BOX 2791                                                 JACKSON             MS   39207‐2791
PARKER, PAMELA M         3364 EDGEWOOD PARK DR                                                                      COMMERCE TOWNSHIP   MI   48382
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Name                    Address1                       Address2                 Address3    Address4         City            State Zip
PARKER, PASCO F         2108 KENOWICK CT                                                                     SPRING HILL      TN 37174‐9278
PARKER, PATRICIA        8055 MCDERMITT DR              APT 47                                                DAVISON          MI 48423‐2968
PARKER, PATRICIA A      2915 CARTER ST                                                                       DETROIT          MI 48206‐2125
PARKER, PATRICIA L      29371 STELLAMAR DR                                                                   SOUTHFIELD       MI 48076‐1632
PARKER, PATRICIA L      302 CALHOUN ST                                                                       MT VERNON        OH 43050
PARKER, PATRICIA L      16716 ALBERT RD                                                                      ATHENS           AL 35611‐6716
PARKER, PATRICIA LYNN
PARKER, PATRICIA P      2351 WILSHIRE RD                                                                     CORTLAND        OH   44410‐9308
PARKER, PATRICK H       14028 N EVEREST AVE                                                                  EDMOND          OK   73013‐4714
PARKER, PATSY R         ROUTE 4 BOX 4377                                                                     JONESVILLE      VA   24263‐9288
PARKER, PATSY R         RR 4 BOX 4377                                                                        JONESVILLE      VA   24263‐9288
PARKER, PAUL            503 1/2 FRANKLIN RD                                                                  PONTIAC         MI   48341
PARKER, PAUL
PARKER, PAUL D          409 N 13TH AVE                                                                       BEECH GROVE     IN   46107
PARKER, PAUL E          12736 MERCEDES                                                                       REDFORD         MI   48239‐3005
PARKER, PAUL R          5517 EAGLE TRACE DRIVE                                                               SYLVANIA        OH   43560‐4224
PARKER, PAUL S          1048 NW HIGH POINT DR                                                                LEES SUMMIT     MO   64081‐1998
PARKER, PAUL T          8622 STARCREST DR APT H1                                                             SAN ANTONIO     TX   78217‐4742
PARKER, PAULA F         1387 HAMMERBERG CT             APT 9B                                                FLINT           MI   48507‐3214
PARKER, PAULINE M       6 JULIET ST                                                                          NEW BRUNSWICK   NJ   08901‐3414
PARKER, PAULINE M       3918 BROWN ST                                                                        FLINT           MI   48532‐5254
PARKER, PAULINE W       2544 S COFFMAN RD                                                                    LIBERTY         IN   47353‐9012
PARKER, PAULINE W       2544 S. COFFMAN                                                                      LIBERTY         IN   47353‐9012
PARKER, PERCY W         494 HUGHES RD                                                                        FOREST          MS   39074‐8239
PARKER, PERRY J         7450 COUNTRY COMMONS LN                                                              SYLVANIA        OH   43560‐2965
PARKER, PERRY JAMES     7450 COUNTRY COMMONS LN                                                              SYLVANIA        OH   43560‐2965
PARKER, PETER L         4233 W HANOVER RD                                                                    JANESVILLE      WI   53548‐9205
PARKER, PETER M         4118 ILLINOIS AVE SW                                                                 WYOMING         MI   49509‐4449
PARKER, PHILLIP A       3737 E 96TH ST                                                                       KANSAS CITY     MO   64137‐1104
PARKER, PHILLIP D       8285 KINCROSS DR                                                                     BOULDER         CO   80301‐4228
PARKER, PHILLIP S       1906 S HIGHGATE CT                                                                   BEAVERCREEK     OH   45432‐1880
PARKER, PHILLIP T       9595 COUNTY ROAD 87                                                                  MOULTON         AL   35650‐5411
PARKER, PHILLIP W       1956 COUNTY ROUTE 2                                                                  RICHLAND        NY   13144‐4425
PARKER, PHYLLIS A       3914 N LANEWOOD                                                                      MUNCIE          IN   47304‐1525
PARKER, POLEVA          743 MARION RD                                                                        CINCINNATI      OH   45215‐1518
PARKER, PRINCESS G      1921 N NOGALES AVE                                                                   TULSA           OK   74127‐2726
PARKER, PRINTICE E      3167 PERRY COURT                                                                     GRAND BLANC     MI   48439‐8151
PARKER, QUANAH L        408 TREELINE CV                                                                      FORT WAYNE      IN   46825‐1129
PARKER, RALPH B         600 CLINGMAN DR                                                                      KNOXVILLE       TN   37922‐3637
PARKER, RALPH L         RR 13                                                                                ANDERSON        IN   46011
PARKER, RANDALL         11614 SO CO RD 175E                                                                  CLOVERDALE      IN   46120
PARKER, RANDALL C       29488 EDWARD DR                                                                      INKSTER         MI   48141‐1033
PARKER, RANDALL G       2816 VERDE VISTA DR                                                                  SANTA BARBARA   CA   93105‐3033
PARKER, RANDI           PO BOX 1723                                                                          IDABEL          OK   74745‐1723
PARKER, RANDOLPH E      294 VIA FELICIA                                                                      THOUSAND OAKS   CA   91320‐6919
PARKER, RAY E           4305 JO DR                                                                           SAGINAW         MI   48601‐5005
PARKER, RAY G           SIMMONS FIRM                   PO BOX 559                                            WOOD RIVER      IL   62095‐0559
PARKER, RAYMOND B       PAUL REICH & MYERS P.C.        1608 WALNUT ST STE 500                                PHILADELPHIA    PA   19103‐5446
PARKER, RAYMOND L       3913 HILLSDALE DR                                                                    AUBURN HILLS    MI   48326‐4301
PARKER, RAYMOND M       422 W CHERRY ST                                                                      POTTERVILLE     MI   48876‐9752
PARKER, REBECCA L       383 BLOOMINGDALE RD APT 1                                                            AKRON           NY   14001‐1130
PARKER, REBECCA L       3451 MAIN ST                                                                         MORAINE         OH   45439‐1323
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Name                       Address1                        Address2                  Address3   Address4         City               State Zip
PARKER, REBECCA L          654 S 10TH ST                                                                         SAGINAW             MI 48601
PARKER, REBECCA M          1501 ROSEMONT BLVD                                                                    DAYTON              OH 45410‐3228
PARKER, REMBERT C          PO BOX 431218                                                                         PONTIAC             MI 48343‐1218
PARKER, RENEE A.           450 SLAYTON AVENUE                                                                    GRAND HAVEN         MI 49417‐1865
PARKER, RHONDA K           7405 N STATE RD                                                                       DAVISON             MI 48423‐9368
PARKER, RHONDA KATHERINE   7405 N STATE RD                                                                       DAVISON             MI 48423‐9368
PARKER, RICHARD            13807 EAGLES ROCK CT                                                                  HUDSON              FL 34667‐6483
PARKER, RICHARD A          719 JANICE ST                                                                         HOLLY               MI 48442‐1266
PARKER, RICHARD C          26342 W HILLS DR                                                                      INKSTER             MI 48141‐1907
PARKER, RICHARD C          514 WITHERELL ST                                                                      SAINT CLAIR         MI 48079‐5354
PARKER, RICHARD C          1343 CROOKED OAK DR                                                                   LENOIR CITY         TN 37771‐8800
PARKER, RICHARD D          10690 MOONLIGHT BAY RD                                                                CHEBOYGAN           MI 49721‐8612
PARKER, RICHARD G          687 ONETA ST                                                                          OXFORD              MI 48371‐5072
PARKER, RICHARD J          1457 LAKE MARION DR                                                                   APOPKA              FL 32712‐2614
PARKER, RICHARD J          3751 E LA SALLE ST APT 21                                                             COLORADO SPRINGS    CO 80909
PARKER, RICHARD J          822 PLANTERS RD                                                                       INDIANAPOLIS        IN 46239‐7833
PARKER, RICHARD L          3580 COUNTY ROAD 44                                                                   AUTAUGAVILLE        AL 36003‐2936
PARKER, RICHARD L          463 COURT LN                                                                          HOWELL              MI 48843‐7572
PARKER, RICHARD M          3612 DELL RD                                                                          HOLT                MI 48842‐9731
PARKER, RICHARD P          804 GREEN ST                                                                          NEW SALEM           PA 15468‐1176
PARKER, RICHARD R          10612 BENTON RD                                                                       GRAND LEDGE         MI 48837‐9727
PARKER, RICHARD S          PO BOX 96                       234 POTTER                                            MULLIKEN            MI 48861‐0096
PARKER, RICHARD S          533 OAK ST                                                                            BURLESON            TX 76028‐5835
PARKER, RICHARD W          1015 MONTERAY RD                                                                      GREENWOOD           IN 46143‐2548
PARKER, RICKIE R           2001 GASPARILLA RD LOT G8                                                             PLACIDA             FL 33946‐2613
PARKER, RICKY A            911 JORDAN RD                                                                         DE PERE             WI 54115‐3208
PARKER, RICKY N            370 LEWIS RD                                                                          MANSFIELD           OH 44903‐8606
PARKER, RITA               868 CO RD 2506 RT 1                                                                   PERRYSVILLE         OH 44864
PARKER, ROBERT             GUY WILLIAM S                   PO BOX 509                                            MCCOMB              MS 39649‐0509
PARKER, ROBERT A           56 CLARK ST                                                                           CLINTON             MA 01510‐2012
PARKER, ROBERT A           PO BOX 272                                                                            FRANKLIN            OH 45005‐0272
PARKER, ROBERT B           4005 GREEN KNOLL RD                                                                   SALIDA              CA 95368‐9749
PARKER, ROBERT C           PO BOX 5263                                                                           FLINT               MI 48505‐0263
PARKER, ROBERT D           463 HICKORY CIR                                                                       UNION GROVE         AL 35175‐9271
PARKER, ROBERT E           PO BOX 1233                                                                           HAMPTON             GA 30228‐0907
PARKER, ROBERT G           1234 142ND AVE                                                                        WAYLAND             MI 49348‐9748
PARKER, ROBERT H           6636 ALMOND LN                                                                        CLARKSTON           MI 48346‐2209
PARKER, ROBERT J           13567 ORCUTT HWY                                                                      MILLERSBURG         MI 49759‐8702
PARKER, ROBERT J           1704 SWEET SPRINGS RD                                                                 WEATHERFORD         TX 76088‐8251
PARKER, ROBERT J           565 GOLDEN DR                                                                         KALAMAZOO           MI 49001‐6500
PARKER, ROBERT J           1120 CHALET DR                                                                        SANDUSKY            OH 44870‐5019
PARKER, ROBERT L           838 E HARRISON ST                                                                     DANVILLE             IL 61832‐5942
PARKER, ROBERT L           212 E FLORENCE AVE                                                                    BANCROFT            MI 48414‐9781
PARKER, ROBERT L           6572 NORTHVIEW DR                                                                     CLARKSTON           MI 48346‐1528
PARKER, ROBERT L           625 CENTENNIAL ST                                                                     WABASH              IN 46992‐1948
PARKER, ROBERT L           18301 E 27TH TER S                                                                    INDEPENDENCE        MO 64057‐1521
PARKER, ROBERT L           7226 HILLMONT DR                                                                      NEW ALBANY          OH 43054‐7026
PARKER, ROBERT L           6222 E HADLEY RD                                                                      MOORESVILLE         IN 46158‐6625
PARKER, ROBERT V           THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES        FL 33146
PARKER, ROBERT W           LIPMAN DAVID M                  5901 SW 74TH ST STE 304                               MIAMI               FL 33143‐5163
PARKER, ROBERT W           7293 BEAR RIDGE RD                                                                    N TONAWANDA         NY 14120‐9596
PARKER, ROBIN D            1087 S SEYMOUR RD                                                                     FLINT               MI 48532‐5516
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Name                  Address1                          Address2            Address3         Address4         City            State Zip
PARKER, ROBYN L       2264 LINCOLN MANOR DR                                                                   FLINT            MI 48507‐4414
PARKER, ROCKO D       9050 E BRISTOL RD                                                                       DAVISON          MI 48423‐8651
PARKER, RODERICK C    212 STONEDALE WAY                                                                       ANTIOCH          TN 37013‐2240
PARKER, ROGER B       PO BOX 5                                                                                MERRILL          MI 48637‐0005
PARKER, ROGER L       10315 1ST ST NE                                                                         ST PETERSBURG    FL 33716‐4714
PARKER, ROLAND F      3900 COLEMAN DR                                                                         CHARLOTTE        NC 28215‐9577
PARKER, ROLAND T      6721 BROOKMONT DR                                                                       BALTIMORE        MD 21207‐5302
PARKER, RON           3094 COUNTY ROAD 121                                                                    SENECA FALLS     NY 13148
PARKER, RONALD A      7820 BROPHY RD                                                                          HOWELL           MI 48855‐9527
PARKER, RONALD A      2108 W ROYERTON RD                                                                      MUNCIE           IN 47303‐9037
PARKER, RONALD E      2175 HIGHVIEW RD SW                                                                     ATLANTA          GA 30311‐2538
PARKER, RONALD F      231 HERSHEY BLVD                                                                        WATERFORD        MI 48327‐2435
PARKER, RONALD L      1055 STANLEY RD                                                                         AUBURN           MI 48611‐9426
PARKER, RONALD L      5143 ROCKPORT RD., RT.5                                                                 JANESVILLE       WI 53548
PARKER, RONALD P      4037 NIAGARA ST                                                                         WAYNE            MI 48184‐1961
PARKER, ROOSEVELT     2820 PAPER MILL RD                                                                      PHOENIX          MD 21131‐1320
PARKER, ROOSEVELT     COLOM LAW FIRM                    605 2ND AVE N                                         COLUMBUS         MS 39701‐4513
PARKER, ROSA L        18695 MT ELLIOTT                                                                        DETROIT          MI 48234‐2707
PARKER, ROSA L        18695 MOUNT ELLIOTT ST                                                                  DETROIT          MI 48234‐2707
PARKER, ROSALYN H     425 HICKORY LN                                                                          GRIFFIN          GA 30223‐1037
PARKER, ROSALYN H     425 HICKORY LANE                                                                        GRIFFIN          GA 30223
PARKER, ROSEMARY E    2889 GRANT ROAD                                                                         ROCHESTER HLS    MI 48309‐3664
PARKER, ROSEMARY T    4474 RYANT DR                                                                           FLINT            MI 48507‐1034
PARKER, ROSETTA M     9899 E. 18 & HALF RD.                                                                   MANTON           MI 49663
PARKER, ROSIE L       2021 BLAINE                       APT 226                                               DETROIT          MI 48206‐2256
PARKER, ROSIE L       2021 BLAINE ST APT 226                                                                  DETROIT          MI 48206‐2256
PARKER, ROYCE A       4308 N NEW YORK AVE                                                                     MUNCIE           IN 47304‐1156
PARKER, ROYCE R       10036 MAPLE ST                                                                          BELLFLOWER       CA 90706‐6002
PARKER, RUFUS A       1688 DRAKE DR                                                                           XENIA            OH 45385‐3908
PARKER, RUSSELL D     5875 ZIMMER RD                                                                          WILLIAMSTON      MI 48895‐9615
PARKER, RUTH          2605 W APPLEGATE                                                                        MARLETTE         MI 48453‐8969
PARKER, RUTH          2785 ANGLE ST #9W                                                                       MARLETTE         MI 48453‐1002
PARKER, RYAN K        1205 PLEASANT VALLEY RD                                                                 MANSFIELD        OH 44903‐8866
PARKER, S A           3216 FAIRMOUNT DR                                                                       SEBRING          FL 33872‐2525
PARKER, SALLY I       1600 ALGONAC DR                                                                         FLINT            MI 48532‐4503
PARKER, SAM B         1810 E 49TH ST                                                                          ANDERSON         IN 46013‐2804
PARKER, SAMUEL B      8171 PICKERING PL                                                                       WESTLAND         MI 48185‐2696
PARKER, SAMUEL BURR   8171 PICKERING PL                                                                       WESTLAND         MI 48185‐2696
PARKER, SAMUEL G      1422 MAIN ST                                                                            ELWOOD           IN 46036‐1917
PARKER, SANDRA G      5310 PRIMROSE LANE                                                                      BOSSIER CITY     LA 71112‐8628
PARKER, SCOTT D       2535 W WALTON BLVD                                                                      WATERFORD        MI 48329‐4437
PARKER, SCOTT O       612 S WAYNE ST                                                                          ALEXANDRIA       IN 46001‐2444
PARKER, SELINA        15318 PREST ST                                                                          DETROIT          MI 48227‐2321
PARKER, SERINA        CARTER MILLER KENT                PO BOX 852                                            PIKEVILLE        KY 41502‐0852
PARKER, SHANE P       2388 EAST BERGIN AVENUE                                                                 BURTON           MI 48529‐2304
PARKER, SHARON        639 HILLTOP RD                                                                          JOPPA            AL 35087
PARKER, SHARON        212 ELDER ST                                                                            ANDERSON         IN 46012‐2419
PARKER, SHARON        804 GREEN ST                                                                            NEW SALEM        PA 15468‐1176
PARKER, SHARON A      2355 N 15TH ST                                                                          MILWAUKEE        WI 53206
PARKER, SHARON A      2231 GLADE                                                                              BURTON           MI 48509‐1026
PARKER, SHARON A      2231 GLADE ST                                                                           BURTON           MI 48509‐1026
PARKER, SHARON L      1710 BEAVER RIDGE DR                                                                    KETTERING        OH 45429‐4010
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Name                    Address1                       Address2               Address3      Address4         City              State Zip
PARKER, SHAWN           6821 N 500 W                                                                         FRANKTON           IN 46044‐9592
PARKER, SHAWN L         18900 BEAVER LAKE RD                                                                 FIELDON             IL 62031‐1224
PARKER, SHAWN S         4464 RYANT DR                                                                        FLINT              MI 48507‐1034
PARKER, SHAWN SUMMERS   4464 RYANT DR                                                                        FLINT              MI 48507‐1034
PARKER, SHELDON B       1664 E MEAD RD R #3                                                                  SAINT JOHNS        MI 48879
PARKER, SHERRI L        3522 S COUNTY ROAD 200 W 200                                                         GREENCASTLE        IN 46135
PARKER, SHERRY A        11105 101ST ST                                                                       LARGO              FL 33773‐4034
PARKER, SHIRLEY         16215 BRANDT ST                                                                      ROMULUS            MI 48174‐3212
PARKER, SHIRLEY A       6251 EVERGREEN DR                                                                    NEWAYGO            MI 49337‐9797
PARKER, SHIRLEY M       6132 TUTTLE HILL RD                                                                  YPSILANTI          MI 48197‐9722
PARKER, SHIRLEY W       921 LAMAR ST SW                                                                      DECATUR            AL 35601‐5734
PARKER, SONNY R         4971 OLD ORR RD                                                                      FLOWERY BR         GA 30542‐3442
PARKER, STANLEY M       1916 JUNIPER LN                                                                      BENSALEM           PA 19020‐4428
PARKER, STANTON E       5180 CALLA AVE NW                                                                    WARREN             OH 44483‐1220
PARKER, STEADMAN A      6330 EDGEWOOD DR                                                                     ANN ARBOR          MI 48108‐2500
PARKER, STEPHEN C       2532 E 700 N                                                                         ALEXANDRIA         IN 46001‐8864
PARKER, STEPHEN D       615 THUNDERBIRD DR S                                                                 HERNANDO           MS 38632‐4337
PARKER, STEPHEN DALE    615 THUNDERBIRD DR S                                                                 HERNANDO           MS 38632‐4337
PARKER, STEPHEN H       PO BOX 972933                                                                        YPSILANTI          MI 48197‐0849
PARKER, STEPHEN H       PO BOX 155311                                                                        FT WORTH           TX 76155‐0311
PARKER, STEPHEN J       1933 ROCK WAY                                                                        LANSING            MI 48910‐2561
PARKER, STEPHEN L       2105 WHITE PINE LN                                                                   MANSFIELD          GA 30055‐2892
PARKER, STEPHEN L       10315 CORTEZ RD W LOT 25F                                                            BRADENTON          FL 34210‐1658
PARKER, STEPHEN P       2709 OMAHA DR                                                                        JANESVILLE         WI 53546‐4403
PARKER, STEVE           PO BOX 22042                                                                         LANSING            MI 48909‐2042
PARKER, STEVEN C        1055 E FLAMINGO RD APT 422                                                           LAS VEGAS          NV 89119‐7444
PARKER, STEVEN R        941 N WHEATON RD                                                                     CHARLOTTE          MI 48813‐8826
PARKER, STEVEN R        647 CLOVERFIELD LN                                                                   GREENWOOD          IN 46143‐7371
PARKER, STEVEN W        5371 DURWOOD DR                                                                      SWARTZ CREEK       MI 48473‐1107
PARKER, STEVEN W        1425 SWINGER DR                                                                      DAYTON             OH 45427‐2126
PARKER, STEWART A       2432 OHIO AVE                                                                        FLINT              MI 48506‐3866
PARKER, SUSAN D         163 EDGEWOOD DRIVE EXT                                                               TRANSFER           PA 16154‐1813
PARKER, SUSAN M         677 DEWEY ST APT 323           SILVER MAPLE VILLAGE                                  LAPEER             MI 48446‐1732
PARKER, SUSAN M         18355 RAINBOW DR                                                                     LATHRUP VILLAGE    MI 48076
PARKER, SUZANNE         4180 EASTPORT DR                                                                     BRIDGEPORT         MI 48722‐9606
PARKER, SUZY L          2308 W DAYTON ST                                                                     FLINT              MI 48504‐7125
PARKER, SYLVIA J        962 WILLOW BROOK CT                                                                  DAYTON             OH 45424‐8022
PARKER, TAM M           12200 LONG LAKE BLVD                                                                 OKLAHOMA CITY      OK 73170‐4744
PARKER, TAYLOR          8622 MARTONY LN                                                                      BERKELEY           MO 63134‐1117
PARKER, TED R           4415 CHAMBERLAIN ST                                                                  WAYNE              MI 48184‐2168
PARKER, TERESA E        56 GLEN EAGLE DR                                                                     BRISTOL            CT 06010‐2470
PARKER, TERESA K        17211 LOVERS LN                                                                      THREE RIVERS       MI 49093‐9079
PARKER, TERRIE R        3720 ARBOR DRIVE                                                                     FENTON             MI 48430‐3120
PARKER, TERROCA         4731 IMPERIAL PARK DR                                                                FORT WAYNE         IN 46835‐4234
PARKER, TERRY G         4360 SUNNYMEAD AVE                                                                   BURTON             MI 48519‐1244
PARKER, TERRY L         PO BOX 155311                                                                        FT WORTH           TX 76155‐0311
PARKER, TERRY L         SHANNON LAW FIRM               100 W GALLATIN ST                                     HAZLEHURST         MS 39083‐3007
PARKER, TERRY R         1343 UNION AVE NE                                                                    GRAND RAPIDS       MI 49505‐5105
PARKER, TESSA L         4900 LYNN PL NW                                                                      WARREN             OH 44483‐1444
PARKER, THELMA          12810 LAUDER                                                                         DETROIT            MI 48227‐2577
PARKER, THELMA          12810 LAUDER ST                                                                      DETROIT            MI 48227‐2577
PARKER, THELMA D        544 N BERWICK AVE                                                                    INDIANAPOLIS       IN 46222‐3412
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Name                    Address1                        Address2                       Address3   Address4         City              State Zip
PARKER, THEODORE        906 S 27TH ST                                                                              SAGINAW            MI 48601‐6542
PARKER, THEODORE B      PO BOX 701                                                                                 INWOOD             WV 25428‐0701
PARKER, THEODORE W      5302 OLD FRANKLIN RD                                                                       GRAND BLANC        MI 48439‐8636
PARKER, THERESA A       7155 GILLETTE RD                                                                           FLUSHING           MI 48433‐9207
PARKER, THOMAS          283 JUDD HI                                                                                MURPHY             NC 28906
PARKER, THOMAS          POWER & ASSOCIATES              1790 WILMINGTON PIKE STE 200                               GLEN MILLS         PA 19342‐8121
PARKER, THOMAS A        5122 OLD FRANKLIN RD                                                                       GRAND BLANC        MI 48439‐8629
PARKER, THOMAS D        4057 MOKENA AVE                                                                            NORTH PORT         FL 34286‐6660
PARKER, THOMAS G        210 EMMA WAY                                                                               NEWARK             DE 19702‐4808
PARKER, THOMAS L        5850 WALMORE RD                                                                            SANBORN            NY 14132‐9337
PARKER, THOMAS L        2307 WESTWIND DR                                                                           SANDUSKY           OH 44870‐7076
PARKER, THOMAS R        625 BLACKBIRD LANDING RD                                                                   TOWNSEND           DE 19734‐9146
PARKER, THOMAS W        116 LOPEZ DR                                                                               UNIONTOWN          PA 15401‐9122
PARKER, TIFFINI L       5133 CHESTERSHIRE CT                                                                       WEST BLOOMFIELD    MI 48322‐1552
PARKER, TIMOTHY A       8051 WINDBREAK RD APT 4                                                                    CORDOVA            TN 38016‐3735
PARKER, TIMOTHY R       3354 HIGHWAY 4 E                                                                           COLUMBIA           LA 71418‐3560
PARKER, TODD C          1016 BROOKSIDE DR                                                                          LEAVITTSBURG       OH 44430‐9634
PARKER, TODD R          2279 TYLER AVE                                                                             BERKLEY            MI 48072‐4027
PARKER, TOMMY           1229 HIGHWAY 577 W                                                                         ANNVILLE           KY 40402‐9758
PARKER, TOMMY H         1308 HIGHLAND AVENUE                                                                       DAYTON             OH 45410‐2326
PARKER, TONIA L         1220 9 MILE RD 17                                                                          FERNDALE           MI 48220
PARKER, TONY            1505 S 4TH AVE                                                                             MAYWOOD             IL 60153‐2112
PARKER, TYRONE          51 E IROQUOIS RD                                                                           PONTIAC            MI 48341‐2016
PARKER, VAL G           10220 S TRUEBLOOD PL                                                                       TERRE HAUTE        IN 47802‐8968
PARKER, VANNETT C       23790 EDINBURGH ST                                                                         SOUTHFIELD         MI 48033‐2946
PARKER, VELIA J         8540 NOTTINGHAM TER                                                                        WILLIAMSVILLE      NY 14221‐7415
PARKER, VELMA N         4239 E M21                                                                                 CORUNNA            MI 48817‐9703
PARKER, VENESSA D       PO BOX 980031                                                                              YPSILANTI          MI 48198‐0031
PARKER, VENESSA DIANE   PO BOX 980031                                                                              YPSILANTI          MI 48198‐0031
PARKER, VERA L          PO BOX 281                                                                                 POLLOCKSVILLE      NC 28573‐0281
PARKER, VERNON R        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                        STREET, SUITE 600
PARKER, VICENTA         137 IDA RED AVE                                                                            SPARTA            MI   49345‐1715
PARKER, VICKI           6543 E STATE ROAD 42                                                                       CLOVERDALE        IN   46120‐8745
PARKER, VICKI           CONSUMER LEGAL SERVICES P.C.    30928 FORD RD                                              GARDEN CITY       MI   48135‐1803
PARKER, VICKI           6543 E ST RD 42                                                                            CLOVERDALE        IN   46120‐8745
PARKER, VICKIE M        2353 VALLEY VISTA DR                                                                       DAVISON           MI   48423‐8337
PARKER, VIOLA E         5540 DUCK CREEK ROAD                                                                       BERLIN CENTER     OH   44401‐9638
PARKER, VIOLETTA L      6332 NE 44TH ST                                                                            KANSAS CITY       MO   64117‐1687
PARKER, VIRGIL W        921 LAMAR ST SW                                                                            DECATUR           AL   35601‐5734
PARKER, VIRGINIA M      203 SOUTH 22ND                                                                             BLUE SPRINGS      MO   64015‐3459
PARKER, VIRGINIA M      203 ROAD 711                                                                               TUPELO            MS   38801‐8660
PARKER, VIRGINIA M      203 SW 22ND ST                                                                             BLUE SPRINGS      MO   64015‐3459
PARKER, VIRGINIA T      2686 NORTH RD., S.E.                                                                       WARREN            OH   44484‐3749
PARKER, VIRGINIA T      2686 NORTH RD SE                                                                           WARREN            OH   44484‐3749
PARKER, VONZELLA P      240 MONROE ST NW                APT 3                                                      WARREN            OH   44483‐4818
PARKER, VOYNE W         415 N CHURCH ST                                                                            NEW LEBANON       OH   45345‐1250
PARKER, W M             11656 BISHOP HWY                                                                           LANSING           MI   48911‐6201
PARKER, W MICHAEL       11656 BISHOP HWY                                                                           LANSING           MI   48911‐6201
PARKER, WADEAN          PO BOX 50091                                                                               SUMMERVILLE       SC   29485‐0091
PARKER, WALLACE L       3574 STATE STREET RD                                                                       BAY CITY          MI   48706‐2133
PARKER, WALTER J        8071 SHIELDS RD                                                                            LEWISBURG         OH   45338‐8038
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Name                     Address1                        Address2                         Address3   Address4         City               State Zip
PARKER, WALTER JUNIOR    8071 SHIELDS RD                                                                              LEWISBURG           OH 45338‐8038
PARKER, WANDA F          100 N 1ST AVE                                                                                JONESBORO           IN 46938‐1002
PARKER, WANDA S          8632 HAW RIVER RD                                                                            OAK RIDGE           NC 27310‐9103
PARKER, WARDELL          1552 COOLSPRING WAY                                                                          VIRGINIA BEACH      VA 23464‐8882
PARKER, WAYNE K          2119 N HURON DR                                                                              JANESVILLE          WI 53545‐0526
PARKER, WAYNE L          4218 REGIS DR                                                                                TOLEDO              OH 43623‐1120
PARKER, WESLEY G         37511 CATHERINE MARIE DR                                                                     STERLING HTS        MI 48312‐2023
PARKER, WESLEY J         1313 ASCOT LN                                                                                FRANKLIN            TN 37064‐6748
PARKER, WESLEY T         159 ERICSON AVE                                                                              BUFFALO             NY 14215‐3301
PARKER, WILBERT E        233 KELLY RIDGE BLVD                                                                         HARVEST             AL 35749‐9631
PARKER, WILBUR D         511 N PEARL ST                                                                               PAOLA               KS 66071‐1243
PARKER, WILLA J          5908 TROY VILLA BLVD                                                                         HUBER HEIGHTS       OH 45424‐2652
PARKER, WILLIAM          4795 PETTIBONE AVE                                                                           SAGINAW             MI 48601‐6666
PARKER, WILLIAM          1109 W 93RD ST                                                                               CHICAGO              IL 60620‐3632
PARKER, WILLIAM          222 VALLEY DR                                                                                COLUMBIA            TN 38401‐4960
PARKER, WILLIAM          308 DODGE ST                                                                                 BUFFALO             NY 14208‐2308
PARKER, WILLIAM          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD          OH 44067
                                                         PROFESSIONAL BLDG
PARKER, WILLIAM          1128 BIRCH ST                                                                                HURST              TX   76053‐4302
PARKER, WILLIAM A        2708 SALEM CHURCH RD APT 404                                                                 FREDERICKSBURG     VA   22407
PARKER, WILLIAM A        501 HOPKINS ST APT 2                                                                         DEFIANCE           OH   43512‐2275
PARKER, WILLIAM B        6925 WALMORE RD                                                                              NIAGARA FALLS      NY   14304‐3046
PARKER, WILLIAM B        5240 THOMAS RD                                                                               METAMORA           MI   48455‐9381
PARKER, WILLIAM C        31197 COUNTRY RIDGE CIR                                                                      FARMINGTON HILLS   MI   48331‐1120
PARKER, WILLIAM E        4509 OAKMONT CT                                                                              SHELBY TOWNSHIP    MI   48317‐4031
PARKER, WILLIAM H        115 BROADWAY                    ST. CABRINI NURSING HOME INC.                                DOBBS FERRY        NY   10522‐2835
PARKER, WILLIAM H        13840 EDMORE DR                                                                              DETROIT            MI   48205‐1223
PARKER, WILLIAM J        9694 S DIVISION AVE                                                                          BYRON CENTER       MI   49315‐9309
PARKER, WILLIAM J        PO BOX 6298                                                                                  PLYMOUTH           MI   48170‐0298
PARKER, WILLIAM J        13316 TAYLOR RD                                                                              MILLINGTON         MI   48746‐9214
PARKER, WILLIAM J        475 MILL CREEK DR                                                                            RUSSELLVILLE       AR   72802‐1113
PARKER, WILLIAM J        1419 SCHAFER DR                                                                              BURTON             MI   48509‐1546
PARKER, WILLIAM J        4013 SECURITY LN                                                                             JARRETTSVILLE      MD   21084‐1228
PARKER, WILLIAM J        2412 ALBERT ST                                                                               ANDERSON           IN   46012‐3207
PARKER, WILLIAM J        COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                               CHICAGO            IL   60602
                                                         FLOOR
PARKER, WILLIAM OLIVER   BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                DALLAS             TX 75219
PARKER, WILLIAM P        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510‐2212
                                                         STREET, SUITE 600
PARKER, WILLIAM S        2687 SUSSEX AVE                                                                              CLOVIS             CA   93611‐5564
PARKER, WILLIAM T        1067 RINN ST                                                                                 BURTON             MI   48509‐2327
PARKER, WILLIAM T        441 PARKVIEW DR                                                                              DETROIT            MI   48214‐4173
PARKER, WILLIAM TODD     1067 RINN ST                                                                                 BURTON             MI   48509‐2327
PARKER, WILLIAM W        632 WAKEFIELD RD                                                                             GOLETA             CA   93117‐2104
PARKER, WILLIE A         1679 DURANGO DR                                                                              DEFIANCE           OH   43512‐4007
PARKER, WILLIE A         PO BOX 541                                                                                   DOLTON             IL   60419‐0541
PARKER, WILLIE A         14315 AVALON AVE                                                                             DOLTON             IL   60419‐1305
PARKER, WILMA            321 WALWORTH DR                                                                              SAINT LOUIS        MO   63125‐3379
PARKER, WILMA            1266 GRAYSTONE AVENUE                                                                        DAYTON             OH   45427‐2141
PARKER, WILMA J          3919 OLD RIVERSIDE DR                                                                        DAYTON             OH   45405‐2325
PARKER, YULAN L          41046 FENMORE                                                                                NOVI               MI   48375
PARKER, YUSUF D          718 23RD AVE                                                                                 BELLWOOD           IL   60104‐1922
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Name                                   Address1                         Address2                    Address3          Address4         City              State Zip
PARKER, YVETTE E                       9449 E MONTEGO LN                                                                               SHREVEPORT         LA 71118‐3607
PARKER, YVONNE                         2244 FARM VIEW CT                                                                               TOLEDO             OH 43615‐2700
PARKER, YVONNE C                       5705 BAYLOR AVE                                                                                 AUSTINTOWN         OH 44515‐4107
PARKER, YVONNE W                       1141 HUS DRIVE                   APT 321                                                        WATERTOWN          WI 53098
PARKER, YVONNE W                       1141 HUS DR APT 321                                                                             WATERTOWN          WI 53098‐3259
PARKER, ZORA L.                        PO BOX 21606                                                                                    BEAUMONT           TX 77720‐1606
PARKER, ZULA M                         1170 US HIGHWAY 60 WEST                                                                         LEDBETTER          KY 42058‐9553
PARKER,ALMA J                          1102B MOSS AVE                                                                                  MUSCLE SHOALS      AL 35661‐1856
PARKER,DARRELL L                       9009 GRATIS JACKSONBURG RD                                                                      CAMDEN             OH 45311‐9709
PARKER‐CARRINGTON, VIOLET              475 MISTLETOE AVE                                                                               YOUNGSTOWN         OH 44511‐3267
PARKER‐HANNIFIN SA DE CV               HECTOR LISARRAGA                 CALLE SIETE NORTE NO 111                                       MCALLEN            TX 78503
PARKER‐SEAL                            JEFF SPENCER                     PARKER SEAL CO DIVISION     2360 PALUMBO DR                    CALDWELL           OH 43724
PARKER‐SPIVEY, ROSALIND E              15400 FRANCISQUITO AVE APT 254                                                                  LA PUENTE          CA 91744‐1174
PARKER‐SULFARO, DAWN E                 5869 W TEMPERANCE RD                                                                            OTTAWA LAKE        MI 49267‐8719
PARKER‐TALTON, GERALDINE               767 PINEHURST DR                                                                                CANTON             MI 48188‐1095
PARKERS AUTO PARTS                     12567 WARWICK BLVD                                                                              NEWPORT NEWS       VA 23606‐2642
PARKERS AUTO PARTS                                                      12567 WARWICK BLVD                                                                VA 23606
PARKERS EXPRESS INC                    PO BOX 1000                                                                                     HOCKESSIN          DE 19707‐5000
PARKERS LAKE BAPTIST CHURCH            JON LAVASSEUR                    1910 OAKVIEW LANE N                                            PLYMOUTH           MN 55441‐3939
PARKERSON LOLA                         234 E 12TH ST                                                                                   HORTON             KS 66439‐1833
PARKES JR, ARDEN S                     PO BOX 158                                                                                      VENUS              TX 76084‐0158
PARKES MATT                            3649 PHEASANT LN APT 2                                                                          WATERLOO            IA 50701‐5238
PARKES, BRYAN A                        8715 BOLLIER AVE                                                                                NIAGARA FALLS      NY 14304‐2509
PARKES, CORNELIUS T                    723 BENDING OAK TRL                                                                             WINTER GARDEN      FL 34787‐2454
PARKES, DONNIE J                       230 SMITHS RD                                                                                   MITCHELL           IN 47446‐6602
PARKES, KEITH D                        PO BOX 22                                                                                       OOLITIC            IN 47451‐0022
PARKES, KEITH D.                       PO BOX 22                                                                                       OOLITIC            IN 47451‐0022
PARKES, KERRY D                        4312 US HIGHWAY 50 W                                                                            MITCHELL           IN 47446‐5421
PARKES, LARRY                          2429 VINEGAR HILL RD                                                                            BEDFORD            IN 47421‐7921
PARKES, STEVE E                        26331 WHISPERING WOODS CIR                                                                      PLAINFIELD          IL 60585‐2585
PARKES, STEVEN MARVIN                  5115 CUTLER RD                                                                                  BATH               MI 48808‐8467
PARKEY, MARY H                         1321 JONES STATION RD 118                                                                       ARNOLD             MD 21012
PARKFIELD MOTORS/AUTO RENTALS          156 RT 17 NORTH                                                                                 ROCHELLE PARK      NJ 07662
PARKFIELD SAAB                         156 RT 17 NORTH                                                                                 ROCHELLE PARK      NJ 07662
PARKFIELD SAAB                         CERRINA, CHRISTOPHER J.          156 RT. 17 NORTH                                               ROCHELLE PARK      NJ
PARKFORD, ANDREA                       953 WHIMBREL CT                                                                                 CARLSBAD           CA 92011‐4859
PARKHAM, TIMOTHY A                     6000 SHORT CUT RD                                                                               COTTRELLVILLE      MI 48039‐2017
PARKHAM, TIMOTHY ALLEN                 6000 SHORT CUT RD                                                                               COTTRELLVILLE      MI 48039‐2017
PARKHAM, WILLIAM J                     23224 LEIGHWOOD DR                                                                              WOODHAVEN          MI 48183‐2776
PARKHILL, CYNTHIA L                    1197 OLYMPIA DR                                                                                 ROCHESTER HILLS    MI 48306‐3732
PARKHILL, THOMAS H                     1197 OLYMPIA DR                                                                                 ROCHESTER HLS      MI 48306‐3732
PARKHOUSE, PHYLLIS J                   733 HIGH ST                                                                                     CHARLOTTE          MI 48813‐1249
PARKHURST ENGINEERING INC              CONSULTING ENGINEERS             2140 S IVANHOE ST STE 208                                      DENVER             CO 80222‐5750
PARKHURST GEORGE R                     3043 HARTSLOCK WOODS DR                                                                         WEST BLOOMFIELD    MI 48322‐1840
PARKHURST JR, HENRY H                  68 ROSE AVE                                                                                     INGLIS             FL 34449‐9771
PARKHURST ROY A (ESTATE OF) (442325)   DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                NORTH OLMSTED      OH 44070

PARKHURST, ANNA J                      1310 RUHL GARDEN CT                                                                             KOKOMO            IN   46902‐9780
PARKHURST, ARNOLD R                    4480 W ROAD 225 N                                                                               BARGERSVILLE      IN   46106‐9529
PARKHURST, BARBARA J                   2661 S 500 E                                                                                    KOKOMO            IN   46902‐9716
PARKHURST, CHARLES N                   335 TABER HILL RD                                                                               VASSALBORO        ME   04989‐3064
PARKHURST, COREY R                     315 W GIER ST                                                                                   LANSING           MI   48906‐2944
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Name                      Address1                           Address2                        Address3   Address4         City              State Zip
PARKHURST, COREY ROBERT   315 W GIER ST                                                                                  LANSING            MI 48906‐2944
PARKHURST, DON A          480 N ROSCOMMON RD                                                                             ROSCOMMON          MI 48653‐9271
PARKHURST, DUANE E        13945 N SUDER RD                                                                               LA SALLE           MI 48145‐9721
PARKHURST, GEORGE R       3043 HARTSLOCK WOODS DR                                                                        W BLOOMFIELD       MI 48322‐1840
PARKHURST, GERALD A       6809A STATE ROUTE 71                                                                           YORKVILLE           IL 60560‐9367
PARKHURST, GLADYS M       4175 GREEN BRIAR BLVD                                                                          BURTON             MI 48529‐2263
PARKHURST, GLENDEL D      6034 W MINERAL PT RD                                                                           JANESVILLE         WI 53545
PARKHURST, JACK G         151 SAINT ANTHONY DR                                                                           CROWLEY            TX 76036‐2006
PARKHURST, JAMES E        624 RIVER AVE                                                                                  ALEXANDRIA         IN 46001‐2225
PARKHURST, JOHN M         12509 HENDERSON RD                                                                             OTISVILLE          MI 48463‐9728
PARKHURST, JUDITH ANN     235 W 55TH ST                                                                                  WESTMONT            IL 60559‐2236
PARKHURST, JUDY L         1726 COUNTY ROAD 268                                                                           VICKERY            OH 43464‐9765
PARKHURST, JUDY L         1726 C.R. 268                                                                                  VICKERY            OH 43464‐9765
PARKHURST, LINDA K        1057 W BUNKERHILL RD                                                                           MOORESVILLE        IN 46158‐6816
PARKHURST, LYNDA M        53309 HUTCHINSON RD                                                                            THREE RIVERS       MI 49093‐9037
PARKHURST, MARINELL       1561 E 236TH ST                                                                                ARCADIA            IN 46030‐9666
PARKHURST, MICHAEL R      7124 AMHERST AVE                                                                               YOUNGSTOWN         OH 44512
PARKHURST, RANDY R        14124 W LANG RD                                                                                ORFORDVILLE        WI 53576‐9774
PARKHURST, RICHARD C      4175 GREEN BRIAR BLVD                                                                          BURTON             MI 48529‐2263
PARKHURST, RICHARD J      10242 REID RD                                                                                  SWARTZ CREEK       MI 48473‐8518
PARKHURST, ROBERT A       26652 KIRKWAY DR                                                                               WOODHAVEN          MI 48183‐1977
PARKHURST, RONALD D       100 NEWBERRY ST                                                                                PONTIAC            MI 48341‐1141
PARKHURST, ROY A          DUFFY & ASSOCS JOHN J              23823 LORAIN RD                                             NORTH OLMSTED      OH 44070
PARKHURST, SADIE M        152 FILLMORE STREET                                                                            ROCHESTER          NY 14611‐2514
PARKHURST, SHARON         137 APOLLO AVE                                                                                 FLUSHING           MI 48433‐9294
PARKHURST, STEPHEN P      1952 PETER SMITH RD                                                                            KENT               NY 14477‐9613
PARKHURST, THOMAS D       11387 S FOREST DR                                                                              PAINESVILLE        OH 44077‐8960
PARKHURST, THOMAS P       2661S 500 E RD                                                                                 KOKOMO             IN 46902
PARKHURST, TONY D         1914 LINDEN AVE                                                                                JANESVILLE         WI 53548‐2329
PARKHURST, WILLIAM D      8263 EAST WEST BRANCH ROAD                                                                     SAINT HELEN        MI 48656‐9577
PARKHURST, WILLIAM J      310 N FARRAGUT ST                                                                              BAY CITY           MI 48708‐6557
PARKHURST‐ONDO, CAROL J   10243 STONEHEDGE DR                                                                            PAINESVILLE        OH 44077‐2148
PARKIE DENNEY             10771 KINA CIR                                                                                 KEITHVILLE         LA 71047‐7019
PARKILA, KEVIN K          4726 GROVELAND AVE                                                                             ROYAL OAK          MI 48073‐1553
PARKILA, MAGDALENA M      4726 GROVELAND AVE                                                                             ROYAL OAK          MI 48073‐1553
PARKIN JR, ROBERT E       981 WEBER RD                                                                                   GLADWIN            MI 48624‐8445
PARKIN, AUSTIN G          5900 FINDLAY RD                                                                                SAINT JOHNS        MI 48879‐8513
PARKIN, CLARENCE T        1773 CONRAD RD                                                                                 STANDISH           MI 48658‐9217
PARKIN, DAVID J           1092 PAMELA LN                                                                                 METAMORA           MI 48455‐8934
PARKIN, DONALD C          3931 E STAGE RD                                                                                IONIA              MI 48846‐9799
PARKIN, DOROTHY H         STE 150                            1715 LANSING AVENUE                                         JACKSON            MI 49202‐2193
PARKIN, DOROTHY H         JACKSON COUNTY GUARDIAN SERVICES   1715 LANSING AVENUE SUITE 150                               JACKSON            MI 49202‐2193

PARKIN, GARY W            21224 FLEETWOOD DR                                                                             CLINTON TWP       MI   48035‐1611
PARKIN, HARRY E           1705 HOPKINS RD                                                                                GETZVILLE         NY   14068‐1106
PARKIN, HARRY EDWARD      1705 HOPKINS RD                                                                                GETZVILLE         NY   14068‐1106
PARKIN, JEFFREY R         1126 COBBLESTONE CT                                                                            WILLIAMSTON       MI   48895‐8726
PARKIN, JOYCE JOAN        7406 LEGRANDE ST SOUTH                                                                         JACKSONVILLE      FL   32244‐1621
PARKIN, LINDA S           226 VIA DE LUNA                                                                                ENGLEWOOD         FL   34224‐5104
PARKIN, LOUISE            846 HOLROYD DR                                                                                 SOUTH OGDEN       UT   84403‐4513
PARKIN, LOUISE            846 E HOLROYD DR.                                                                              SOUTH OGDEN       UT   84403‐4513
PARKIN, MARJORIE G        48588 LAKEVIEW E LOT 60                                                                        SHELBY TOWNSHIP   MI   48317‐2733
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Name                                Address1                          Address2                           Address3   Address4         City               State Zip
PARKIN, NANCY J                     7357 SHARP RD                                                                                    SWARTZ CREEK        MI 48473‐9446
PARKIN, NANCY L                     308 S LEMEN ST                                                                                   FENTON              MI 48430‐2307
PARKIN, RONALD L                    6 VASSAR DR                                                                                      MILFORD             MA 01757‐1219
PARKIN, RONALD L                    907 CHICKASAW ROAD                                                                               PARIS               TN 38242‐4301
PARKIN, VICKI J                     1414 N GENEVIEVE ST                                                                              BURTON              MI 48509‐1620
PARKIN, WILLIAM R                   780 CAMERON AVE                                                                                  PONTIAC             MI 48340‐3206
PARKING COMPANY OF AMERICA          ETHAN SPIEGELBERG                 8120 HOWE INDUSTRIAL PKWY.                                     CANAL WINCHESTER    OH 43110
AIRPORTS
PARKING PRODUCTIONS                 77 CENTRAL AVE # 105                                                                             CLARK              NJ 07066‐1441
PARKING PRODUCTS INC                2517 WYANDOTTE RD                                                                                WILLOW GROVE       PA 19090
PARKING VIOLATIONS BUREAU CITY OF   42 SOUTH AVE                                                                                     ROCHESTER          NY 14604‐1712
ROCHESTER
PARKING VIOLATIONS BUREAU PAYMENT   PO BOX 30420                                                                                     LOS ANGELES        CA 90030‐0420

PARKINS CHARLES A (446838)          CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH 44115
                                    GAROFOLI                          FL
PARKINS, CRAIG W                    6628 BERWYN ST                                                                                   DEARBORN HTS       MI   48127‐2068
PARKINS, CRAIG WILLIAM              6628 BERWYN ST                                                                                   DEARBORN HTS       MI   48127‐2068
PARKINS, GUY                        1216 TWIN MOUNTAIN RD                                                                            CHEYENNE           WY   82009‐8312
PARKINS, HARRY R                    1605 JOHNSON ST                                                                                  SAN LEANDRO        CA   94577‐2410
PARKINS, HENRY                      BOONE ALEXANDRA                   205 LINDA DR                                                   DAINGERFIELD       TX   75638‐2107
PARKINS, MARK W                     PO BOX 95                         884 EAST KNIGHT ST                                             KNIGHTSVILLE       IN   47857‐0095
PARKINS, ROBERT V                   24177 BRENTWOOD CT                                                                               NOVI               MI   48374‐3774
PARKINS, WENDY S                    25754 SKYE CT                                                                                    FARMINGTON HILLS   MI   48336‐1661
PARKINSON DONALD (491664)           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD         OH   44067
                                                                      PROFESSIONAL BLDG
PARKINSON I I I, ALFRED             68 SANDUSKY ST                                                                                   PLYMOUTH           OH   44865‐1169
PARKINSON JAMES H                   2525 OCEAN BL C 6                                                                                CORONA DEL MAR     CA   92625
PARKINSON JR, ARRIE                 11626 COUNTY ROAD 233                                                                            ARP                TX   75750‐9593
PARKINSON OTIS A (170467)           BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG , 233 EAST                                 JACKSONVILLE       FL   32202
                                    MCCLAMMA & YEGELWEL P.A.          BAY STREET
PARKINSON ROBERT H (636593)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                      STREET, SUITE 600
PARKINSON TINA                      3107 MAUREEN DR                                                                                  PHILADELPHIA       PA   19154‐1308
PARKINSON, CATHY M                  139 MORAN RD                                                                                     FLORENCE           MS   39073‐8336
PARKINSON, CHARLES D                7768 NICOLE DR                                                                                   SOUTH BRANCH       MI   48761‐9608
PARKINSON, CHRISTINE M              6214 GUNNELL RD                                                                                  MILLINGTON         MI   48746‐9720
PARKINSON, DALE G                   2906 ARIZONA AVE                                                                                 FLINT              MI   48506‐2440
PARKINSON, DANIEL E                 9255 CAMERON WOOD DR                                                                             CHARLOTTE          NC   28210‐7905
PARKINSON, DAVID E                  N4380 M67                                                                                        CHATHAM            MI   49816‐9719
PARKINSON, DAVID E                  298 REDWOOD WAY                                                                                  GOLETA             CA   93117‐1022
PARKINSON, DON E                    550 FAIRFIELD DR                                                                                 LOUISVILLE         KY   40206‐2932
PARKINSON, DONALD H                 4223 GULL CV                                                                                     NEW SMYRNA BEACH   FL   32169‐4141
PARKINSON, ELAINE M                 1241 N ISABEL ST                                                                                 GLENDALE           CA   91207‐1436
PARKINSON, ERIC R                   28 IRONDALE DR                                                                                   DEPEW              NY   14043‐4428
PARKINSON, GEORGE T                 10445 EVELYN DR                                                                                  CLIO               MI   48420‐7713
PARKINSON, GERALDINE                2906 ARIZONA AVENUE                                                                              FLINT              MI   48506‐2440
PARKINSON, HAROLD C                 P O BOX 306                                                                                      CARUTHERSVLLE      MO   63530‐0306
PARKINSON, HAROLD C                 125 RIDGECREST DR                                                                                TROY               MO   63379‐4880
PARKINSON, JACK T                   14201 W SKY HAWK DR                                                                              SUN CITY WEST      AZ   85375‐5983
PARKINSON, JANICE E                 PO. BOX 4282                                                                                     WARREN             OH   44482‐4482
PARKINSON, JAUNITA M                3375 OLD KAWKAWLIN                                                                               BAY CITY           MI   48706‐1616
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Name                                 Address1                       Address2                        Address3    Address4              City               State Zip
PARKINSON, JEFFREY C                 12081 JEFFERS LN                                                                                 FENTON              MI 48430‐2459
PARKINSON, JEFFREY CARL              12081 JEFFERS LANE                                                                               FENTON              MI 48430‐2459
PARKINSON, JERRY L                   117 N QUARTER                                                                                    WILLIAMSBURG        VA 23185‐5152
PARKINSON, JOHN R                    1727 PINOAK CT                                                                                   TROY                MI 48098‐1967
PARKINSON, JOSEPH R                  3799 LINCOLNSHIRE RD                                                                             WATERFORD           MI 48328‐3540
PARKINSON, KATHLEEN A                12081 JEFFERS LANE                                                                               FENTON              MI 48430‐2459
PARKINSON, KATHLEEN ANN              12081 JEFFERS LANE                                                                               FENTON              MI 48430‐2459
PARKINSON, KEITH M                   1721 BELLE AVE                                                                                   FLINT               MI 48506‐3376
PARKINSON, KEITH MICHAEL             1721 BELLE AVE                                                                                   FLINT               MI 48506‐3376
PARKINSON, KENNETH K                 PO BOX 9022                                                                                      WARREN              MI 48090‐9022
PARKINSON, KRISTINA S                2922 COLORADO AVE                                                                                FLINT               MI 48506‐2442
PARKINSON, LEONARD J                 160 SAINT ANDREWS                                                                                CORTLAND            OH 44410‐8720
PARKINSON, LESTER J                  5099 POTTER RD                                                                                   FLINT               MI 48506‐2153
PARKINSON, MARGARET R                6909 W CALLA RD                                                                                  CANFIELD            OH 44406‐8476
PARKINSON, OTIS                      BROWN TERRELL HOGAN ELLIS      804 BLACKSTONE BLDG, 233 EAST                                     JACKSONVILLE        FL 32202
                                     MCCLAMMA & YEGELWEL P.A.       BAY STREET
PARKINSON, ROBERT H                  GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
PARKINSON, ROBERT L                  PO BOX 283                                                                                       EAST JORDAN        MI   49727‐0283
PARKINSON, ROGER F                   9401 BELSAY RD                                                                                   MILLINGTON         MI   48746‐9587
PARKINSON, RONALD E                  373 BLUFF RD                                                                                     NORTHPORT          ME   04849‐4202
PARKINSON, RUDOLPH M                 8961 NEW HOPE CT                                                                                 ROYAL PALM BEACH   FL   33411‐4511
PARKINSON, SHERRY K                  7109 BIRCHWOOD DR                                                                                MOUNT MORRIS       MI   48458‐8977
PARKINSON, STEPHEN A                 1985 S CAVALIER DR                                                                               CANTON             MI   48188‐1826
PARKINSON, THOMAS D                  10949 SISSON HWY                                                                                 NORTH COLLINS      NY   14111‐9617
PARKINSON, TODD H                    6598 WEALTHY ST                                                                                  CLARKSTON          MI   48346‐2175
PARKINSON, WILLIAM F                 2037 BROOKHAVEN DR APT 4                                                                         NIAGARA FALLS      NY   14304
PARKINSON,KENNETH K                  PO BOX 9022                                                                                      WARREN             MI   48090
PARKINSONS DISEASE FOUNDATION        1359 BROADWAY RM 1509                                                                            NEW YORK           NY   10018‐7867
PARKISON I I, HARRY D                412 CREST PL                                                                                     NORMAN             OK   73071‐3251
PARKISON II, HARRY DEAN              412 CREST PL                                                                                     NORMAN             OK   73071‐3251
PARKISON, BELVA J                    6455 N US 31                                                                                     SHARPSVILLE        IN   46068
PARKISON, DIANE A                    412 CREST PL                                                                                     NORMAN             OK   73071‐3251
PARKISON, JEFFREY A                  6455 N US HIGHWAY 31                                                                             SHARPSVILLE        IN   46068‐9335
PARKISON, JEFFREY ALLEN              6455 N US HIGHWAY 31                                                                             SHARPSVILLE        IN   46068‐9335
PARKKILA JR, JOHN W                  1021 ERSKINE WAY                                                                                 WATERFORD          MI   48328‐4227
PARKKILA, DAVID M                    905 DEL SHER DR                                                                                  BRIGHTON           MI   48114‐8767
PARKKILA, KYLE DAVID                 825 E BARRETT AVE                                                                                MADISON HEIGHTS    MI   48071‐4303
PARKLAND CHEVROLET                   11011 PACIFIC AVE S                                                                              TACOMA             WA   98444‐5737
PARKLAND COLLEGE                     BUSINESS OFFICE                2400 W BRADLEY AVE                                                CHAMPAIGN          IL   61821‐1806
PARKLAND LAW                         ATTN: SARAH HARRIS             998 PARKLAND DRIVE              SUITE 202   HALIFAX, NS B3M 0A6
PARKLAND SCHOOL DISTRICT             PARKLAND S/D TAX OFFICE
PARKMAN JERRY (ESTATE OF) (489176)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH 44067
                                                                    PROFESSIONAL BLDG
PARKMAN, ALICE R                     26 E BOSTON AVE                                                                                  YOUNGSTOWN         OH   44507‐1722
PARKMAN, AUGUSTA                     GUY WILLIAM S                  PO BOX 509                                                        MCCOMB             MS   39649‐0509
PARKMAN, BERNADINE A                 8841 S 13TH ST                 APT 18                                                            OAK CREEK          WI   53154‐3712
PARKMAN, CELIA D                     PO BOX 1583                                                                                      ANDREWS            TX   79714‐1583
PARKMAN, EARL                        GUY WILLIAM S                  PO BOX 509                                                        MCCOMB             MS   39649‐0509
PARKMAN, JUDIE M                     24530 PINE GRV                                                                                   FARMINGTON         MI   48335‐2309
PARKMAN, JUDIE M                     12709 ROSELAWN ST                                                                                DETROIT            MI   48238‐3179
PARKMAN, M L                         312 LAKE OF PINES DR                                                                             JACKSON            MS   39206‐3227
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Name                                  Address1                         Address2                      Address3   Address4         City               State Zip
PARKMAN, REBECCA C                    5200 TUCKAWAY BLVD #15           0                                                         MILWAUKEE           WI 53221
PARKNPOOL CORP                        130 WALKER ST STE B                                                                        LEXINGTON           VA 24450‐2457
PARKO, OLIVER M                       2454 HEARTHSIDE DR                                                                         YPSILANTI           MI 48198‐9215
PARKOLAP, JOHN                        6530 26TH PL                                                                               BERWYN               IL 60402‐2789
PARKOSHON, HELEN                      RR 2 BOX 71‐A                                                                              EL RENO             OK 73036
PARKOSHON, PAUL E                     6 TRAIL RUN                                                                                FLAGLER BEACH       FL 32136‐5205
PARKOT, BRIAN L                       30 SOMERSBY CT                                                                             WILLIAMSVILLE       NY 14221‐4922
PARKOWSKI NOBLE & GUERKE              PO BOX 598                       116 W WATER ST                                            DOVER               DE 19903‐0598
PARKS AT THE LAKE, LLC                DEBORA PARKS                     15235 STATESVILLE RD                                      HUNTERSVILLE        NC 28078‐7120
PARKS AUTO PARTS INC                  5429 RIVERS AVE                                                                            NORTH CHARLESTON    SC 29406‐6128
PARKS AUTOMOTIVE                      625 W NORTH ST                                                                             DE FOREST           WI 53532‐3064
PARKS AUTOMOTIVE                      17 S PARK ST                                                                               CAPE GIRARDEAU      MO 63703‐6133
PARKS AUTOMOTIVE GROUP INC &          SPEIGHTS & RUNYAN                200 JACKSON AVE E                                         HAMPTON             SC 29924‐3516
PARKS CHEVROLET                       6441 N TRYON ST                                                                            CHARLOTTE           NC 28213‐7920
PARKS CHEVROLET                       15235 STATESVILLE RD                                                                       HUNTERSVILLE        NC 28078‐7120
PARKS CHEVROLET                                                                                                                  CHARLOTTE           NC 28213‐7920
PARKS CHEVROLET AUGUSTA, INC.         SARETTA CULVER                   603 W 7TH AVE                                             AUGUSTA             KS 67010‐1313
PARKS CHEVROLET AUGUSTA, INC.         603 W 7TH AVE                                                                              AUGUSTA             KS 67010‐1313
PARKS CHEVROLET COMPANY, INC.         WILLIAM PARKS                    717 CARTER AVE                                            NEW ALBANY          MS 38652‐3310
PARKS CHEVROLET, BUICK, PONTIAC, GM   717 CARTER AVE                                                                             NEW ALBANY          MS 38652‐3310

PARKS CHEVROLET, BUICK, PONTIAC, GMC 717 CARTER AVE                                                                              NEW ALBANY         MS 38652‐3310

PARKS CHEVROLET, INC.                 615 HWY 66 S                                                                               KERNERSVILLE       NC 27284
PARKS CHEVROLET, INC.                 HUBERT PARKS                     615 HWY 66 S                                              KERNERSVILLE       NC 27284
PARKS CHEVROLET‐PONTIAC‐BUICK‐GMC     2811 BOUNDARY ST                                                                           BEAUFORT           SC 29906‐7339

PARKS CHEVROLET/FLEET                 615 HWY 66 S                                                                               KERNERSVILLE       NC   27285
PARKS DAVID                           5970 TOWN AND COUNTRY LN                                                                   HOUSE SPRINGS      MO   63051‐3516
PARKS DERECK                          NEED BETTER ADDRESS 09/27/06     655 OVERLOOK DR                                           LAWRENCEVILLE      GA   30045
PARKS DONALD                          431 WOODFALL DR                                                                            WOODWAY            TX   76712‐7602
PARKS FELIX ALEXANDER (406012)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                       STREET, SUITE 600
PARKS HAROLD                          APT B310                         1209 21ST AVENUE                                          ROCK ISLAND        IL 61201‐7925
PARKS HOWARD M (460897)               SWEENEY ROBERT E CO              1500 ILLUMINATING BLDG , 55                               CLEVELAND          OH 44113
                                                                       PUBLIC SQUARE
PARKS III, JAMES E                    15736 APPOLINE ST                                                                          DETROIT            MI 48227‐4010
PARKS III, JAMES EDWARD               15736 APPOLINE ST                                                                          DETROIT            MI 48227‐4010
PARKS JACK A (467041)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                       STREET, SUITE 600
PARKS JEAN                            PARKS, JEAN                      4325 W DAYBREAK                                           JOPLIN             MO   64801‐7705
PARKS JONES, MARIE E                  PO BOX 484                                                                                 GARDEN CITY        MI   48136‐0484
PARKS JR, DANIEL C                    282 WAGES RD                                                                               AUBURN             GA   30011‐2857
PARKS JR, DONAVON E                   10174 S M 37                                                                               BALDWIN            MI   49304‐8513
PARKS JR, JAMES E                     1600 SHAKER HEIGHTS DR                                                                     BLOOMFIELD         MI   48304‐1148
PARKS JR, JOE E                       230 LEILA CT                                                                               LAWRENCEVILLE      GA   30045‐4782
PARKS JR, KARL J                      8454 E WIND LAKE RD                                                                        WIND LAKE          WI   53185
PARKS JR, MITCHELL                    401 N STATE ST                                                                             MUNCIE             IN   47303‐4372
PARKS JR, NELSON J                    14630 PURITAS AVE APT 203                                                                  CLEVELAND          OH   44135‐2849
PARKS JR, RALPH B                     1405 READY AVE                                                                             BURTON             MI   48529‐2051
PARKS JR, RILEY                       3454 RANGLEY DR APT #5                                                                     FLINT              MI   48503
PARKS JR, ROBERT J                    1201 W BEAVER RD                                                                           AUBURN             MI   48611‐9722
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Name                      Address1                        Address2                        Address3         Address4         City              State Zip
PARKS JR, WILFRED A       3256 MARINA DR                                                                                    PARK CITY           IL 60085‐6999
PARKS JR., RICHARD R      1014 ROBINHOOD LN                                                                                 LA GRANGE PK        IL 60526‐1581
PARKS KEITH               46 W BAYAUD AVE                                                                                   DENVER             CO 80223‐1822
PARKS KNOWLTON            1117 PERIMETER CTR W STE E402                                                                     ATLANTA            GA 30338‐5445
PARKS MAINTENANCE INC     25137 PLYMOUTH RD                                                                                 REDFORD            MI 48239‐2038
PARKS MCKINNEY, CAROL A   701 SUMMIT AVE APT 67                                                                             NILES              OH 44446‐3654
PARKS MOTOR SALES, INC.   919 NASHVILLE HWY                                                                                 COLUMBIA           TN 38401‐2432
PARKS MOTOR SALES, INC.   ROBERT PARKS                    919 NASHVILLE HWY                                                 COLUMBIA           TN 38401‐2432
PARKS MOTOR/COLUMBIA      PO BOX 364                      NEW NASHVILLE HWY.                                                COLUMBIA           TN 38402‐0364
PARKS NICHOLAS R          PARKS, NICHOLAS R               PROGRESSIVE DIRECT INSURANCE    P.O. BOX 31260                    TAMPA              FL 33631

PARKS OWENS               11606 DOUGLAS RD                                                                                  TEMPERANCE        MI   48182‐9694
PARKS SCOTT               1200 E CLARK TRL                                                                                  HERRIN            IL   62948‐4360
PARKS SR, DONALD H        32560 SOMERSET ST                                                                                 WESTLAND          MI   48186‐5260
PARKS SR, JAMES F         #330 5065 STATE ST                                                                                SAGINAW           MI   48603
PARKS SR, VERN O          5637 SLEIGHT RD                                                                                   BATH              MI   48808‐9457
PARKS WAYNE (464238)      KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                     CLEVELAND         OH   44114
                                                          BOND COURT BUILDING
PARKS, A L                3818 SOUTH DR                                                                                     FORT WAYNE        IN   46815‐4728
PARKS, ALBERT R           67 NW 45TH AVE APT 205                                                                            DEERFIELD BEACH   FL   33442‐9395
PARKS, ALMA G             1954 FERRY DR                                                                                     MARIETTA          GA   30066‐6251
PARKS, AMELIA B.          8704 MEADOW DR                                                                                    FORT SMITH        AR   72908‐8534
PARKS, ANNA M             101 TRACE COURT                                                                                   MORAINE           OH   45418‐2987
PARKS, ANNA M             34 REA DR                                                                                         MEDWAY            OH   45341‐9504
PARKS, ANNA M             101 TRACE CT                                                                                      MORAINE           OH   45418‐2987
PARKS, ANNA M             APT I401                        10900 TEMPLE TERRACE                                              SEMINOLE          FL   33772‐7727
PARKS, ANNIE M            113 LAKE VILLAGE BLVD.          APT. 103                                                          DEARBORN          MI   48120
PARKS, ANTHONY W          828 PANTERA DR                                                                                    MURFREESBORO      TN   37128‐5229
PARKS, ARCHASTER          1021 W ROYERTON RD                                                                                MUNCIE            IN   47303‐9425
PARKS, ARCHASTER          1021 WEST ROYERTON                                                                                MUNCIE            IN   47303
PARKS, ARLENE B           6231 WEST CARIBBEAN LANE                                                                          GLENDALE          AZ   85306
PARKS, ARLENE B           6231 W CARIBBEAN LN                                                                               GLENDALE          AZ   85306‐5207
PARKS, ARLIN J            1319 MUSKEGON BANKS RD                                                                            MARION            MI   49665‐9505
PARKS, BARBARA M          8917 APACHE LN                                                                                    SAINT LOUIS       MO   63114‐5440
PARKS, BEATRICE J         3080 CREEKWOOD CIR                                                                                BAY CITY          MI   48706‐5621
PARKS, BERNICE            3878 DENLINGER RD                                                                                 DAYTON            OH   45426‐2328
PARKS, BETTY              PO BOX 980016                                                                                     YPSILANTI         MI   48198‐0016
PARKS, BILL J             6800 RUTHERFORD ST                                                                                DETROIT           MI   48228‐5222
PARKS, BILLY H            2622 N BOGAN RD                                                                                   BUFORD            GA   30519‐3951
PARKS, BLAKE A            7344 LOBDELL RD                                                                                   LINDEN            MI   48451‐8765
PARKS, BOBBY G            288 W COUNTY ROAD 700 N                                                                           ORLEANS           IN   47452‐9508
PARKS, BRENDA J           1500 HAMPSHIRE PIKE APT J2                                                                        COLUMBIA          TN   38401‐5605
PARKS, BRIAN K            17439 NEW HAMPSHIRE DR                                                                            SOUTHFIELD        MI   48075‐2794
PARKS, BRIAN N            640 GRAHAM DR                                                                                     MARTINSVILLE      IN   46151
PARKS, BRUCE D            PO BOX 1238                                                                                       BLUE JAY          CA   92317‐1238
PARKS, BRUCE E            2746 WILSON SHARPSVILLE RD                                                                        CORTLAND          OH   44410‐9460
PARKS, BRYAN K            8925 MINARD ROAD                                                                                  PARMA             MI   49269‐9558
PARKS, BRYAN K            8925 MINARD RD                                                                                    PARMA             MI   49269‐9558
PARKS, BURLEIGH M
PARKS, CARL H             127 ELVA ST                                                                                       ANDERSON          IN 46013‐4660
PARKS, CARMELA M          51 THORN APPLE LN                                                                                 ROCHESTER         NY 14626‐4445
PARKS, CARMELA M          51 THORNAPPLE LANE                                                                                ROCHESTER         NY 14626‐4626
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Name                    Address1                           Address2              Address3   Address4         City            State Zip
PARKS, CAROL L          5637 SLEIGHT RD                                                                      BATH             MI 48808‐9457
PARKS, CATHERINE        G 3248 MAC AVENUE                                                                    FLINT            MI 48506‐2124
PARKS, CHARLES A        3883 SANDHILL RD                                                                     BELLEVUE         OH 44811
PARKS, CHARLES A        4147 MOUNT CARMEL TOBASCO RD APT 1                                                   CINCINNATI       OH 45255

PARKS, CHARLES E        3313 BEDFORD WAY                                                                     THE VILLAGES    FL   32162‐7167
PARKS, CHARLES K        1407 BOUNDARY STREET                                                                 NEWBERRY        SC   29108‐3827
PARKS, CHARLOTTE LYNN   4809 CAMPBELL                                                                        DEARBORN HGTS   MI   48125‐2717
PARKS, CHARLOTTE LYNN   4809 CAMPBELL ST                                                                     DEARBORN HTS    MI   48125‐2717
PARKS, CHERRY L         13208 BRISTOL AVE                                                                    GRANDVIEW       MO   64030‐3312
PARKS, CLARENCE E       5001 TIMBERLINE CT                                                                   RALEIGH         NC   27604‐5898
PARKS, CLEO S           8810 BRADFORD RD                                                                     EATON RAPIDS    MI   48827‐9584
PARKS, CLIFFORD L       554 CAMP WAHSEGA RD                                                                  DAHLONEGA       GA   30533‐3234
PARKS, CLIFFORD N       19533 ALCOY STREET                                                                   DETROIT         MI   48205‐1750
PARKS, CLYDE L          2204 CAPITOL AVE                                                                     SACRAMENTO      CA   95816‐5723
PARKS, CYRIL D          6771 GALAXIE DR                                                                      DAYTON          OH   45415‐1406
PARKS, DALLAS C         11435 DUFFIELD RD                                                                    MONTROSE        MI   48457‐9430
PARKS, DALLAS D         7344 LOBDELL RD                                                                      LINDEN          MI   48451‐8765
PARKS, DAN B            2270 BONNIE MAE RD                                                                   HARRISON        MI   48625‐8118
PARKS, DANIEL A         8130 E STATE ROAD 32                                                                 ZIONSVILLE      IN   46077‐9747
PARKS, DANIELLE         8630 N HICKORY ST APT 601                                                            KANSAS CITY     MO   64155‐4113
PARKS, DANIELLE C       8630 N HICKORY ST APT 601                                                            KANSAS CITY     MO   64155‐4113
PARKS, DANNY L          1735 W 32ND ST                                                                       MARION          IN   46953‐3435
PARKS, DARROL L         226 RUPPERT ST                                                                       COMMERCE TWP    MI   48382‐4059
PARKS, DARRY J          122 BRUNSON AVE                                                                      COLUMBUS        OH   43203‐1758
PARKS, DARRY J          1315 BARNETT RD                                                                      COLUMBUS        OH   43227‐2202
PARKS, DARWIN C         10131 EMMA DR                                                                        GREENVILLE      MI   48838‐9795
PARKS, DARWYN E         17207 WOODINGHAM DR                                                                  DETROIT         MI   48221‐2532
PARKS, DAVID A          5543 34 MILE RD                                                                      BRUCE TWP       MI   48065‐2905
PARKS, DAVID L          138 HICKORY MANOR DRIVE                                                              ROCHESTER       NY   14606‐4512
PARKS, DAVID L          10453 WACOUSTA RD                                                                    DEWITT          MI   48820‐9167
PARKS, DAVID M          673 MILLER RD                                                                        ALLENTON        MI   48002‐3918
PARKS, DAVID W          1261 S ELM ST                                                                        W CARROLLTON    OH   45449‐2360
PARKS, DEAN W           13445 HEIMBERGER RD                                                                  BALTIMORE       OH   43105‐9665
PARKS, DENNIS G         10764 S REED RD                                                                      DURAND          MI   48429‐9455
PARKS, DENNIS N         52158 COUNTY ROAD 25                                                                 BRISTOL         IN   46507‐9727
PARKS, DEONTE           230 WEST PHILADELPHIA BLVD                                                           FLINT           MI   48505‐3265
PARKS, DEONTE           6025 FOUNTAIN POINTE APT B20                                                         GRAND BLANC     MI   48439‐7727
PARKS, DIANE            22192 HESSEL AVE                                                                     DETROIT         MI   48219‐1251
PARKS, DIANNE           2689 LEAFWOOD WAY                                                                    DECATUR         GA   30034‐1083
PARKS, DIXIE J          2121 E RICHMOND ST                 C/O ROSEMARY PORTER                               SPRINGFIELD     MO   65804‐7579
PARKS, DONA Y           6915 TAPPON DR                                                                       CLARKSTON       MI   48346‐2631
PARKS, DONALD E         504 PALM TER                                                                         LADY LAKE       FL   32159‐4608
PARKS, DONALD H         G2496 N MC KINLEY RD                                                                 FLUSHING        MI   48433
PARKS, DONELLA          13205 BIG RIVER DR                                                                   LAKE ST LOUIS   MO   63367‐1983
PARKS, DONELLA K        1109 HENDRICKS ST                                                                    ANDERSON        IN   46016‐1239
PARKS, DONNA M          4666 FREEMAN RD                                                                      BEAVERTON       MI   48612‐9139
PARKS, DONNA M          10131 EMMA DR                                                                        GREENVILLE      MI   48838‐9795
PARKS, DORIS M          PO BOX 54                                                                            MAPLE RAPIDS    MI   48853‐0054
PARKS, DORIS M          P.O.BOX 54                                                                           MAPLE RAPIDS    MI   48853‐0054
PARKS, DOROTHY          4703 WOOD AVE                                                                        PARMA           OH   44134‐2351
PARKS, DOROTHY E        2006 S AVERILL AVE                                                                   FLINT           MI   48503‐4466
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Name                     Address1                           Address2                      Address3   Address4         City               State Zip
PARKS, DOROTHY F         5530 RIVER THAMES RD                                                                         JACKSON             MS 39211‐4142
PARKS, DOROTHY M         4250 STONE RD                                                                                ONONDAGA            MI 49264
PARKS, DOUGLAS           PO BOX 1252                                                                                  LAPEER              MI 48446‐5252
PARKS, DOUGLAS L         9795 BIRCH RUN                                                                               BRIGHTON            MI 48114‐8951
PARKS, DOUGLAS LEE       9795 BIRCH RUN                                                                               BRIGHTON            MI 48114‐8951
PARKS, DOYLE D           3630 FIELDCREST LN                                                                           YPSILANTI           MI 48197‐7465
PARKS, EARL C            499 KENSINGTON DR APT 244                                                                    ROCHESTER HILLS     MI 48307
PARKS, EARLEAN M         383 BRUCE ST                                                                                 SYRACUSE            NY 13224‐1532
PARKS, EDDIE L           22457 REVERE ST                                                                              ST CLAIR SHRS       MI 48080‐1338
PARKS, EDNA              18556 REVERE                                                                                 DETROIT             MI 48234‐1728
PARKS, EDWARD            9100 N SEYMOUR RD                                                                            FLUSHING            MI 48433‐9258
PARKS, EDWARD            38 SHEPPARD AVE                                                                              FLUSHING            MI 48433‐9317
PARKS, ELEANOR L         3085 N. GENESEE RD                 APT #205                                                  FLINT               MI 48506
PARKS, ELEANOR L         3085 N GENESEE RD APT 205                                                                    FLINT               MI 48506‐2191
PARKS, ELLIS             1181 WENDY CT                                                                                ANN ARBOR           MI 48103‐3175
PARKS, ELLIS D           1712 NELMS RD                                                                                ALBANY              GA 31705‐6107
PARKS, ELLIS W           5324 SELMA RD                                                                                SPRINGFIELD         OH 45502‐7415
PARKS, ELLIS W           5324 SELMA PK                                                                                SPRINGFIELD         OH 45502‐7415
PARKS, ELSIE L           PO BOX 715                                                                                   DOVER               FL 33527‐0715
PARKS, ELVERA            720 GORDON BAY                                                                               KINGMEN             AZ 86409‐6409
PARKS, EMERSON           11620 LAIRD RD                                                                               BROOKLYN            MI 49230‐9035
PARKS, ERMA E            816 BROKEN RIDGE DR                                                                          LANSING             MI 48917‐8855
PARKS, ERNESTINE         2286 TOBY BETH DR                                                                            FLINT               MI 48505‐1077
PARKS, ESTELLE K         5895 MARSH RD APT 105              MARSH POINTE APTS                                         HASLETT             MI 48840‐8997
PARKS, EUGENE            6514 THORNTON DR                                                                             PARMA               OH 44129‐4137
PARKS, EUNICE            914 WINSTON RD                                                                               JONESBORO           IN 46938
PARKS, EVA J             PO BOX 66                                                                                    PRESTON             MS 39354‐0066
PARKS, EVELYN A          308 MICHAEL AVE                                                                              DAYTON              OH 45417‐2413
PARKS, EVELYN L          2615 W BENJAMIN DR                                                                           WICHITA             KS 67204‐5523
PARKS, EVERETT A         135 GREGORY DRIVE                                                                            PENDLETON           IN 46064‐9067
PARKS, EVERETT L         2854 SOUTH STATE ROAD 13                                                                     LAPEL               IN 46051‐9660
PARKS, EVIS R            714 MORSE ST                                                                                 DENTON              TX 76205‐7923
PARKS, EZELL             13208 BRISTOL AVE                                                                            GRANDVIEW           MO 64030‐3312
PARKS, FELIX ALEXANDER   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                            STREET, SUITE 600
PARKS, FLORENCE B        3328 PONDVIEW DR                                                                             KALAMAZOO          MI   49009
PARKS, FLOYD A           1490 HELENA AVE                                                                              HARTLAND           MI   48353‐3787
PARKS, FRANCES V         102 AGNES ST                                                                                 CRYSTAL SPRINGS    MS   39059‐2612
PARKS, FRED V            4190 TOWNLINE RD                                                                             BIRCH RUN          MI   48415‐9014
PARKS, FREDERICK R       867 N HURON RD                                                                               LINWOOD            MI   48634‐9413
PARKS, GAIL L            9479 BELL LAKE RD NE                                                                         ADA                MI   49301‐9766
PARKS, GARLAND R         1106 MERIDIAN ST STE 109                                                                     ANDERSON           IN   46016‐1776
PARKS, GARNET E          2496 N MCKINLEY RD                                                                           FLUSHING           MI   48433‐9459
PARKS, GARY C            1801 E WEBB RD R 1                                                                           DEWITT             MI   48820
PARKS, GARY D            2454 E COOK RD                                                                               GRAND BLANC        MI   48439‐8374
PARKS, GARY L            10780 POMELO CT                                                                              NEW PORT RICHEY    FL   34654
PARKS, GARY M            14255 REED RD                                                                                BYRON              MI   48418‐8740
PARKS, GARY MICHAEL      14255 REED RD                                                                                BYRON              MI   48418‐8740
PARKS, GARY P            11609 FALCON DR                                                                              STERLING HEIGHTS   MI   48313‐5137
PARKS, GEORGE L          317 KENWOOD AVE.                                                                             DAYTON             OH   45405‐4013
PARKS, GEORGE S          2135 MURPHY CIR                                                                              HAMILTON           OH   45013‐9019
PARKS, GEORGIA           9160 COBBLECHASE CT                                                                          CINCINNATI         OH   45251‐2908
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Name                         Address1                         Address2                      Address3   Address4         City            State Zip
PARKS, GERALD M              16503 OAKLEY RD                                                                            CHESANING        MI 48616‐9575
PARKS, GINA M                521 DOUGLAS ST NW                                                                          WARREN           OH 44483
PARKS, GLENN M               915 MAPLE GROVE SCHOOL RD                                                                  LONDON           KY 40744‐8931
PARKS, GLORIA J              1322 ASPEN CT                                                                              FLINT            MI 48507‐3201
PARKS, GRACE C               7919 MEADOWLARK LN S                                                                       REYNOLDSBURG     OH 43068‐4926
PARKS, GRACIE L              3141 STARLIGHT DR NW                                                                       WARREN           OH 44485
PARKS, GREG                  7419 RICKETT                                                                               WASHINGTON       MI 48094‐2182
PARKS, GUY J                 1416 WESTBURY DR                                                                           DAVISON          MI 48423‐8308
PARKS, HAROLD A              1860 US ROUTE 127 N                                                                        EATON            OH 45320‐9240
PARKS, HAROLD A              1860 RT 127 NORTH                                                                          EATON            OH 45320‐9240
PARKS, HAROLD E              9806 WOODLAND CT                                                                           YPSILANTI        MI 48197‐9739
PARKS, HAROLD E              6683 WILLOW RD                                                                             W BLOOMFIELD     MI 48324‐2054
PARKS, HAROLD L              14291 N BRAY RD                                                                            CLIO             MI 48420‐7943
PARKS, HAROLD M              1741 CLIFFS LNDG APT 2                                                                     YPSILANTI        MI 48198‐7328
PARKS, HAROLD W              5518 STRATTON DR                                                                           DALLAS           TX 75241‐1142
PARKS, HARRY D               101 TRACE COURT                                                                            MORAINE          OH 45418‐2987
PARKS, HARRY D               101 TRACE CT                                                                               MORAINE          OH 45418‐2987
PARKS, HELEN L               2205 PICCADILLY AVE                                                                        DAYTON           OH 45406‐2624
PARKS, HENRY E               GAVIN WILLIAM P                  23 PUBLIC SQ STE 415                                      BELLEVILLE        IL 62220‐1627
PARKS, HOWARD A              6020 SHORE BLVD S APT 1009                                                                 GULFPORT         FL 33707‐5839
PARKS, HOWARD D              1738 SUNNYMEDE LN                                                                          LANSING          MI 48906‐1353
PARKS, HOWARD M              SWEENEY ROBERT E CO              1500 ILLUMINATING BLDG, 55                                CLEVELAND        OH 44113
                                                              PUBLIC SQUARE
PARKS, HUBERT G              103 THELMAS WAY                                                                            DAWSONVILLE     GA 30534‐2662
PARKS, HUGH M                19645 WILSHIRE BLVD                                                                        BEVERLY HILLS   MI 48025‐5138
PARKS, JACK A                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                              STREET, SUITE 600
PARKS, JACK D                4230 E FROST RD                                                                            WEBBERVILLE     MI   48892‐9313
PARKS, JACK D                11540 TURN STONE CT                                                                        CHARLOTTE       NC   28226‐3985
PARKS, JACK G                2410 WINDMIRE WAY                                                                          ANDERSON        IN   46012‐9464
PARKS, JACK L                7397 MOCKINGBIRD TRL                                                                       RIVERDALE       GA   30274‐3736
PARKS, JACK L                201 FAIRLANE AVENUE                                                                        FAIRMONT        WV   26554‐1225
PARKS, JACK T                2203 MCPHERSON RD                                                                          FORT WORTH      TX   76140‐9539
PARKS, JACQUELINE F          8045 W 82ND ST                                                                             INDIANAPOLIS    IN   46278‐1004
PARKS, JAMES A               4826 TENSHAW DR                                                                            DAYTON          OH   45418‐1932
PARKS, JAMES D               1496 NOBLE RD                                                                              WILLIAMSTON     MI   48895‐9751
PARKS, JAMES D               4005 MAR MOOR DR                                                                           LANSING         MI   48917‐1611
PARKS, JAMES D.              1496 NOBLE RD                                                                              WILLIAMSTON     MI   48895‐9751
PARKS, JAMES E               8127 TEACHOUT RD                                                                           OTISVILLE       MI   48463‐9418
PARKS, JAMES E               99 GRUMMAN AVE                                                                             NEWARK          NJ   07112‐2218
PARKS, JAMES F               610 MORTON AVE APT A                                                                       MARTINSVILLE    IN   46151‐2779
PARKS, JAMES M               404 HICKORY LN                                                                             WATERFORD       MI   48327‐2572
PARKS, JAMES N               160 DOLLAR RD                                                                              DAWSONVILLE     GA   30534‐2000
PARKS, JAMES R               22925 BROOKDALE BLVD                                                                       ST CLAIR SHRS   MI   48082‐2137
PARKS, JAMES S               1019 W MCKAY RD                                                                            SHELBYVILLE     IN   46176‐3204
PARKS, JAMES V               4111 PEMBERTON CT                                                                          ELLICOTT CITY   MD   21043‐6060
PARKS, JASON B               3330 JIM MOORE RD                                                                          DACULA          GA   30019‐1148
PARKS, JASON J               8106 SPRINGDALE DR                                                                         WHITE LAKE      MI   48386‐4543
PARKS, JASON M               1540 LASCASSAS PIKE APT 625                                                                MURFREESBORO    TN   37130‐0634
PARKS, JEAN AND PARKS GARY   4325 W DAYBREAK                                                                            JOPLIN          MO   64801‐7705
PARKS, JEANNE M              5327 LACOMB RD.                                                                            ALPENA          MI   49707
PARKS, JEANNETTA L           11141 DARLING RD                                                                           MILAN           MI   48160‐9115
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Name                     Address1                          Address2             Address3      Address4         City               State Zip
PARKS, JEANNETTA N       15736 APPOLINE ST                                                                     DETROIT             MI 48227‐4010
PARKS, JEFFREY SCOTT     919 NOVI RD                                                                           NORTHVILLE          MI 48167‐1117
PARKS, JERALD            10706 S 600 E                                                                         CARBON              IN 47837‐8528
PARKS, JERRY A           978 RT503 NORTH                                                                       WEST ALEXANDRIA     OH 45381
PARKS, JERRY B           1002 IROQUOIS AVE                                                                     PRUDENVILLE         MI 48651‐9644
PARKS, JERRY B           2976 N BOGAN RD                                                                       BUFORD              GA 30519‐3758
PARKS, JERRY E           2728 CINNAMON RIDGE ROAD                                                              HOWELL              MI 48855‐9069
PARKS, JESSE O           1206 WAGON WHEELS TRL                                                                 DALLAS              TX 75241‐1245
PARKS, JESSIE L          4185 WILLIAMSON RD                                                                    SAGINAW             MI 48601‐5949
PARKS, JESSIE L          2038 TOWNSEND RD                                                                      STARKVILLE          MS 39759‐8961
PARKS, JEWELL D          17OOO CHAMPAGNE AVE.                                                                  ALLEN PARK          MI 48101
PARKS, JOANNE            191 FAIRLAWN AVE                                                                      MANSFIELD           OH 44903‐7025
PARKS, JOE D             5533 VICTORY CIR                                                                      STERLING HEIGHTS    MI 48310‐7700
PARKS, JOE P             302 HOOD DR                                                                           KINGSTON            TN 37763‐6815
PARKS, JOE W             3685 DIAMONDALE DR W                                                                  SAGINAW             MI 48601‐5866
PARKS, JOHN A            3800 SKEET EASON RD                                                                   WACO                TX 76708
PARKS, JOHN E            5029 CLUBVIEW CT E                                                                    BRADENTON           FL 34203‐4078
PARKS, JOHN T            278 DUB WALKER RD                                                                     JACKSON             GA 30233‐5403
PARKS, JOHN W            4741 RIDGEWAY DR APT 109                                                              DEL CITY            OK 73115‐4201
PARKS, JOHN W            4506 SANDRA LAKE RD                                                                   PERRY HALL          MD 21128‐9407
PARKS, JOHNNIE PEARL     306 CENTRAL AVE                                                                       LAPEL               IN 46051
PARKS, JOSEPH A          16668 RYLAND                                                                          REDFORD             MI 48240‐2515
PARKS, JOSEPH B          1038 CLOVERLAWN BLVD                                                                  LINCOLN PARK        MI 48146‐4216
PARKS, JOSEPH BENJAMIN   1038 CLOVERLAWN BLVD                                                                  LINCOLN PARK        MI 48146‐4216
PARKS, JOSEPH D          1954 FERRY DR                                                                         MARIETTA            GA 30066‐6251
PARKS, JOSEPH R          5856 PONTIAC LAKE RD                                                                  WATERFORD           MI 48327‐2117
PARKS, JOYCE A           5775 WOODLAND TRACE BLVD                                                              INDIANAPOLIS        IN 46237‐3182
PARKS, JOYCE M           21309 CARLTON DR                                                                      MACOMB              MI 48044‐1858
PARKS, JR,KARL J         8454 E WIND LAKE RD                                                                   WIND LAKE           WI 53185‐1554
PARKS, JUDITH L          1793 RED WILLOW                                                                       MORRIS               IL 60450‐6866
PARKS, JULIE B           5932 STUMPH RD APT 107                                                                PARMA               OH 44130‐1740
PARKS, JULIE B           5932 STUMPH ROAD                  APT # 107                                           PARMA               OH 44130‐1740
PARKS, JUNE E            8974 LAKE DR                                                                          SPRINGPORT          MI 49284‐9304
PARKS, KAREN L           10764 S REED RD                                                                       DURAND              MI 48429‐9455
PARKS, KATHLEEN B        DEAL ANTHONY                      296 WASHINGTON AVE                                  MEMPHIS             TN 38103‐1912
PARKS, KATHRYN A         2403 COUNTY ROAD 1196                                                                 TUTTLE              OK 73089‐2436
PARKS, KATHRYN ANN       2403 COUNTY ROAD 1196                                                                 TUTTLE              OK 73089‐2436
PARKS, KATHRYN E         5075 W MIDDLETOWN RD                                                                  CANFIELD            OH 44406‐9416
PARKS, KATHY
PARKS, KEITH A           1217 WYNFORD COLONY SW                                                                MARIETTA           GA   30064‐3779
PARKS, KEITH R           9162 OLD CHEMONIE RD                                                                  TALLAHASSEE        FL   32309
PARKS, KENNETH E         126 MARKET ST                                                                         CORTLAND           OH   44410‐1033
PARKS, KENNETH H         27732 BOBRICH ST                                                                      LIVONIA            MI   48152‐3806
PARKS, KENNETH K         2000 NE 67TH ST                                                                       GLADSTONE          MO   64118‐3740
PARKS, KIMBERLY          C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                       EDWARDSVILLE       IL   62025
PARKS, KUNIGUNDA         3237 N WENDOVER CIR                                                                   YOUNGSTOWN         OH   44511‐2137
PARKS, L. D              3448 COUNTY ROAD 4530                                                                 AVERY              TX   75554‐5665
PARKS, LARRY A           78 THORN LN                                                                           NEW CASTLE         DE   19720‐2152
PARKS, LARRY A           3192 GULFSTREAM DR                                                                    SAGINAW            MI   48603‐4808
PARKS, LARRY D           720 BLACKMOAT PL                                                                      MIAMISBURG         OH   45342‐2725
PARKS, LARRY J           5000 N MARINE DR #3D                                                                  CHICAGO            IL   50540‐3225
PARKS, LARRY W           4 PEPPERIDGE RD                                                                       SAINT PETERS       MO   63376‐1502
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Name                  Address1                       Address2                Address3     Address4         City               State Zip
PARKS, LAURA L        5011C CAMELOT DRIVE                                                                  COLUMBIA            TN 38401
PARKS, LAWRENCE       136 QUARTER MILE CT                                                                  SMYRNA              TN 37167‐6243
PARKS, LAWRENCE A     6487 THORNEYCROFT DR                                                                 SHELBY TWP          MI 48316‐3348
PARKS, LEE R          702 COLUMBIA LN                                                                      FLINT               MI 48503‐5200
PARKS, LEE ROY        702 COLUMBIA LN                                                                      FLINT               MI 48503‐5200
PARKS, LEE U          11844 COLLEGE ST                                                                     DETROIT             MI 48205‐3372
PARKS, LEIGH A        916 NYLON ST                                                                         SAGINAW             MI 48604‐2125
PARKS, LENARD M       5525 GULF SPRINGS CT                                                                 LAS VEGAS           NV 89130‐1962
PARKS, LEON           132 EAST MARENGO AVENUE                                                              FLINT               MI 48505‐3304
PARKS, LEONARD D      2050 FERRIS AVE                                                                      FLINT               MI 48503‐4020
PARKS, LILLIAN E      801 W 5TH ST                   C/O GERTRUDE DENNISON                                 PINCONNING          MI 48650‐8709
PARKS, LILLIAN E      C/O GERTRUDE DENNISON          801 WEST 5TH STREET                                   PICONNING           MI 48650
PARKS, LILLIE M       392 GADDY ST                                                                         LAKE CITY           SC 29560‐2339
PARKS, LINDA          1033 NORTH PLEASANT STREET                                                           ROYAL OAK           MI 48067‐1231
PARKS, LINDA          5601 LIZ LN                                                                          ANDERSON            IN 46017‐9671
PARKS, LINDA I        3641 REO TERRA                 #A12                                                  LEAVITTSBURG        OH 44430
PARKS, LINDA J        1002 IROQUOIS AVE                                                                    PRUDENVILLE         MI 48651‐9644
PARKS, LINDA J        5663 W 137TH ST                                                                      SAVAGE              MN 55378
PARKS, LINDA L        978 N RT 503                                                                         WEST ALEXANDRIA     OH 45381
PARKS, LINDA S        9328 N OAK CREEK DR                                                                  MOORESVILLE         IN 46158‐7015
PARKS, LISA MARIE     2667 BUCKINGHAM AVE                                                                  BERKLEY             MI 48072‐1315
PARKS, LLOYD W        3220 N DOUGLAS RD                                                                    RIVERDALE           MI 48877‐9549
PARKS, LOIS           400 BLACKHAWK ST                                                                     JOLIET               IL 60432‐2761
PARKS, LONNIE C       2289 UPPER SWEETWATER TRL SE                                                         WHITE               GA 30184
PARKS, LOREN D        5194 W COLUMBIA RD                                                                   MASON               MI 48854‐9512
PARKS, LORETTA N      29625 PLEASANT TRL                                                                   SOUTHFIELD          MI 48076‐1826
PARKS, LOUIS F        914 WINSTON ROAD                                                                     JONESBORO           IN 46938‐1251
PARKS, LUDIE          236 WALTON AVE                                                                       DAYTON              OH 45417‐1668
PARKS, LULA           8708 E 57TH TER                                                                      KANSAS CITY         MO 64129‐2722
PARKS, LULA           8708 E. 57 TER                                                                       KANSAS CITY         MO 64129‐2722
PARKS, LYNETTE        1600 SHAKER HEIGHTS DR                                                               BLOOMFIELD HILLS    MI 48304‐1148
PARKS, LYNN A         18201 MARSHA ST                                                                      RIVERVIEW           MI 48193‐7475
PARKS, MACK A         405 E FLINT PARK BLVD                                                                FLINT               MI 48505‐3443
PARKS, MACK ARTHUR    405 E FLINT PARK BLVD                                                                FLINT               MI 48505‐3443
PARKS, MAGGIE I       689 FAIRHAVEN DR                                                                     HAMILTON            OH 45013‐2057
PARKS, MAGGIE J       4529 THISTLE DRIVE                                                                   DAYTON              OH 45427‐2837
PARKS, MAMIE P        52 BRASWELL LN                                                                       FITZPATRICK         AL 36029‐3428
PARKS, MANILA C       1061 SUPERIOR AVE                                                                    DAYTON              OH 45402‐5952
PARKS, MARCELLA P     6243 13TH AVE S                                                                      GULFPORT            FL 33707‐3111
PARKS, MARGARET Y     PO BOX 368                                                                           SOUTH SHORE         KY 41175‐0368
PARKS, MARGARET Y     BOX 368                                                                              SOUTH SHORE         KY 41175‐0368
PARKS, MARGUERITE M   113 W WASHINGTON ST                                                                  DEWITT              MI 48820‐8919
PARKS, MARGUERITE R   5153 CHERRY RIDGE DR                                                                 POWDER SPRINGS      GA 30127‐2403
PARKS, MARIE S        1202 N STEWART RD                                                                    ANDERSON            IN 46012‐9804
PARKS, MARJORIE J     3605 FOREST HILL AVE                                                                 FLINT               MI 48504‐3503
PARKS, MARK A         5826 GRANNER DR                                                                      INDIANAPOLIS        IN 46221‐4814
PARKS, MARK W         4666 FREEMAN RD                                                                      BEAVERTON           MI 48612‐9139
PARKS, MARLA          52158 COUNTY ROAD 25                                                                 BRISTOL             IN 46507‐9727
PARKS, MARSHA K       15430 FITZGERALD ST                                                                  LIVONIA             MI 48154‐1804
PARKS, MARSHA KAY     15430 FITZGERALD STREET                                                              LIVONIA             MI 48154‐1804
PARKS, MARTELL C      7944 JEREMY RD                                                                       BELLEVILLE          MI 48111‐5380
PARKS, MARTHA A       2971 THE MEADOWS WAY                                                                 COLLEGE PARK        GA 30349‐3749
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Name                     Address1                          Address2            Address3         Address4         City                 State Zip
PARKS, MARTHA ANN        2971 THE MEADOWS WAY                                                                    COLLEGE PARK          GA 30349‐3749
PARKS, MARTHELLE         10101 E 74TH TERRACE                                                                    RAYTOWN               MO 64133‐6755
PARKS, MARY              302 SO KEELER                                                                           OLATHE                KS 66061‐4720
PARKS, MARY              302 S KEELER ST                                                                         OLATHE                KS 66061‐4720
PARKS, MARY A.           319 WAGES RD                                                                            AUBURN                GA 30011‐2854
PARKS, MARY A.           319 WAGES                                                                               AUBURN                GA 30011‐2854
PARKS, MARY E.           120 HAMPSHIRE CV                                                                        PAINESVILLE           OH 44077‐1380
PARKS, MARY K            1035 S UNION ST                                                                         KOKOMO                IN 46902
PARKS, MARY L            6288 SQUIRE LAKE DR                                                                     FLUSHING              MI 48433‐2377
PARKS, MATTHEW G         8255 PIERSON ST                                                                         DETROIT               MI 48228‐2827
PARKS, MAURICE J         108 ATLANTIC STREET                                                                     MILTON                DE 19968‐1402
PARKS, MAURICE J         C/O GLORIA K MILLER               108 ATLANTIC ST                                       MILTON                DE 19968
PARKS, MAURICE L         105 ANNA ST                                                                             DAYTON                OH 45417‐2213
PARKS, MAURICE M         3195 WOODFIELD BLVD               APT 137                                               SAULT SAINTE MARIE    MI 49783‐9491
PARKS, MAURICE M         3195 S. WOODFIELD BLVD.           137                                                   SAULT SAINTE MARIE    MI 49783
PARKS, MELISSA D         1038 CLOVERLAWN BLVD                                                                    LINCOLN PARK          MI 48146‐4216
PARKS, MERLINE M         PO BOX 12                                                                               COALMONT              IN 47845‐0012
PARKS, MICHAEL C         10590 EAGLE RD                                                                          DAVISBURG             MI 48350‐2126
PARKS, MICHAEL P         18850 DELAWARE AVE                                                                      REDFORD               MI 48240‐1935
PARKS, MICHAEL PATRICK   18850 DELAWARE AVE                                                                      REDFORD               MI 48240‐1935
PARKS, MIKE
PARKS, MILDRED I         7757 S BILOXI WAY                                                                       AURORA               CO   80016‐7101
PARKS, MOLLIE            17357 MARK TWAIN                                                                        DETROIT              MI   48235‐3911
PARKS, MONACA S          10146 CORCORAN ROAD                                                                     HASLETT              MI   48840‐9212
PARKS, NATHAN E          4458 ORKNEY DR                                                                          FLINT                MI   48507‐3446
PARKS, NATHAN EDWARD     4458 ORKNEY DR                                                                          FLINT                MI   48507‐3446
PARKS, NELSON L          4703 WOOD AVE                                                                           PARMA                OH   44134‐2351
PARKS, NICHOLAS R        PROGRESSIVE DIRECT INSURANCE      PO BOX 31260                                          TAMPA                FL   33631‐3260
PARKS, NICHOLAS R
PARKS, OPAL P            2024 MINERAL SPRINGS RD                                                                 HOSCHTON             GA   30548‐1611
PARKS, POLLY A           815 RAVINE DR.                                                                          YOUNGSTOWN           OH   44505‐1611
PARKS, POLLY A           815 RAVINE DR                                                                           YOUNGSTOWN           OH   44505‐1611
PARKS, QUEEN E           6976 NORTH LINCOLNSHIRE CIRCLE                                                          MILWAUKEE            WI   53223‐6341
PARKS, RAYMOND A         16503 DAWNLIGHT DR                                                                      FENTON               MI   48430‐8956
PARKS, RAYMOND E         2112 BUNKER CT                                                                          AUBURN               IN   46706‐9483
PARKS, RAYMOND F         1671 BRADFORD ST NW                                                                     WARREN               OH   44485‐1817
PARKS, RAYMOND W         1414 SULPHUR SPRING RD                                                                  ARBUTUS              MD   21227‐2701
PARKS, REGINALD E        9302 VIRGIL                                                                             REDFORD              MI   48239‐1258
PARKS, RICHARD B         PO BOX 4094                                                                             YOUNGSTOWN           OH   44515‐0094
PARKS, RICHARD E         2 SAINT LUCIAN CT                                                                       CHEEKTOWAGA          NY   14225‐2248
PARKS, RICHARD E         1273 HIGHWAY 139 UNIT 204                                                               DANDRIDGE            TN   37725‐5984
PARKS, RICHARD K         26654 ROSE DR                                                                           FLAT ROCK            MI   48134‐1899
PARKS, RICHARD R         4915 SW HOLLYHOCK CIR                                                                   CORVALLIS            OR   97333‐1773
PARKS, RITA              3179 RICHMOND ROAD                                                                      STATEN ISLAND        NY   10306‐1949
PARKS, ROBERT            1178 REX AVE                                                                            FLINT                MI   48505‐1639
PARKS, ROBERT A          8145 CONDENSARY RD                                                                      CARSON CITY          MI   48811
PARKS, ROBERT E          10729 NE 19TH ST                                                                        OKLAHOMA CITY        OK   73141‐6001
PARKS, ROBERT E          1108 N COUNTY ROAD 475 E                                                                AVON                 IN   46123‐8672
PARKS, ROBERT G          1560 S CLAYTON RD                                                                       NEW LEBANON          OH   45345‐9135
PARKS, ROBERT G          1560 S. CLAYTON RD                                                                      NEW LEBANON          OH   45345‐9135
PARKS, ROBERT L          17801 CREEKWOOD LN                                                                      CHOCTAW              OK   73020‐7404
PARKS, ROBERT L          117 UNIVERSITY PLACE DR                                                                 PONTIAC              MI   48342‐1890
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Name                     Address1                         Address2            Address3         Address4         City            State Zip
PARKS, ROBERT L          2920 RIVERCREST DR                                                                     GAINESVILLE      GA 30507‐8348
PARKS, ROBERT L          1015 CHESANING ST 1                                                                    SAINT CHARLES    MI 48655
PARKS, ROBERT W          9050 MILL STATION ROAD                                                                 SEBASTOPOL       CA 95472‐2549
PARKS, ROBIN W           5075 W MIDDLETOWN RD                                                                   CANFIELD         OH 44406‐9416
PARKS, ROD
PARKS, ROGER A           6670 OAKRIDGE DR                                                                       WATERFORD       MI   48329‐1245
PARKS, ROGER E           1287 DYEMEADOW LN                                                                      FLINT           MI   48532‐2319
PARKS, ROGER EARL        1287 DYEMEADOW LN                                                                      FLINT           MI   48532‐2319
PARKS, ROGER L           4250 STONE ROAD                                                                        ONONDAGA        MI   49264‐9738
PARKS, RONALD G          1322 ASPEN CT                                                                          FLINT           MI   48507‐3201
PARKS, RONALD L          3473 ST RTE 5                                                                          CORTLAND        OH   44410
PARKS, RONALD L          50 REDBAY CT                                                                           NOBLESVILLE     IN   46062‐8995
PARKS, ROOSEVELT         210 DAFF0DIL DRIVE                                                                     MILLBROOK       AL   36054
PARKS, ROSA MAE          814 LOMITA AVE                                                                         FLINT           MI   48505‐3541
PARKS, ROSA MAE          814 LOMITA ST                                                                          FLINT           MI   48505‐3541
PARKS, ROSCOE            2286 TOBY BETH DR                                                                      FLINT           MI   48505‐1077
PARKS, ROSE A            6020 SHORE BLVD., SOUTH, #1009                                                         GULFPORT        FL   33707‐5839
PARKS, ROSE M            1735 W 32ND ST                                                                         MARION          IN   46953‐3435
PARKS, ROSE MARIE        2000 SE 8TH AVE                                                                        OKEECHOBEE      FL   34974‐5382
PARKS, RUSSELL E         3981 E MICHIGAN AVENUE           P O BOX 454                                           AUGRES          MI   48703
PARKS, RUSSELL E         13985 CAPERNALL RD                                                                     CARLETON        MI   48117‐9490
PARKS, RYAN K            4520 CLOVER LN                                                                         TOLEDO          OH   43623‐4146
PARKS, SADIE H           2884 REGAL DR NW                                                                       WARREN          OH   44485‐1244
PARKS, SADIE H           2884 REGAL DR. N.W.                                                                    WARREN          OH   44485‐1244
PARKS, SAMUEL G          4226 DAVIS RD                                                                          BUFORD          GA   30518‐4932
PARKS, SANDRA K          526 S MEADE ST                                                                         FLINT           MI   48503‐2276
PARKS, SANDRA L          4959 E NORTH DOWN RIVER RD                                                             GRAYLING        MI   49738‐7138
PARKS, SANDRA L          17154 BROTHERS BAY ROAD                                                                ALPENA          MI   49707‐9101
PARKS, SANDRA N          2527 S LIDDESDALE ST                                                                   DETROIT         MI   48217‐1195
PARKS, SARA A            4826 TENSHAW DRIVE                                                                     DAYTON          OH   45418‐1932
PARKS, SAUNDRA L         3357 WINDLAND DR                                                                       FLINT           MI   48504‐1764
PARKS, SAUNDRA LEE       3357 WINDLAND DR                                                                       FLINT           MI   48504‐1764
PARKS, SCOTT A           PO BOX 292                                                                             DURAND          MI   48429‐0292
PARKS, SHARON K          2746 WILSON SHARPSVILLE RD                                                             CORTLAND        OH   44410‐9460
PARKS, SHARON L          1573 COURTRIGHT RD                                                                     COLUMBUS        OH   43227
PARKS, SHEILA K          2000 NE 67TH ST                                                                        GLADSTONE       MO   64118‐3740
PARKS, SHEILA KATHLEEN   2000 NE 67TH ST                                                                        GLADSTONE       MO   64118‐3740
PARKS, SHIRLEY M         1181 WENDY CT                                                                          ANN ARBOR       MI   48103‐3175
PARKS, SHIRLEY T         945 EAST MAPLE                                                                         HOLLY           MI   48442‐1723
PARKS, SHIRLEY T         945 E MAPLE ST                                                                         HOLLY           MI   48442‐1723
PARKS, STANLEY D         6261 WELLINGTON ST                                                                     TAYLOR          MI   48180‐1037
PARKS, STEPHEN C         1165 E VERNE RD                                                                        BURT            MI   48417‐9714
PARKS, STEVEN L          601 E BISHOP AVE                                                                       FLINT           MI   48505‐6402
PARKS, STEVEN LEE        601 E BISHOP AVE                                                                       FLINT           MI   48505‐6402
PARKS, SUSAN             621 BEACH RD                                                                           CHEEKTOWAGA     NY   14225
PARKS, TAMARA FAYE       1815 MANORHAVEN ST                                                                     ORTONVILLE      MI   48462‐8524
PARKS, THOMAS A          1840 PILGRIM DR                                                                        IRVING          TX   75061‐2069
PARKS, THOMAS C          111 BOND ST                                                                            ALLEGAN         MI   49010‐1602
PARKS, THOMAS W          4090 S CARMEN RD                                                                       MIDDLEPORT      NY   14105‐9603
PARKS, THOMAS W          116 VICTORIA LN                                                                        ATHENS          GA   30607‐3570
PARKS, TRUMAN D          PO BOX 638                                                                             ELLINGTON       MO   63638‐0638
PARKS, VANESSA A         3811 WINDSOR WAY                                                                       ANDERSON        IN   46011
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Name                                 Address1                           Address2                        Address3   Address4                City              State Zip
PARKS, VERNON R                      409 E RACE ST                                                                                         LESLIE             MI 49251‐9447
PARKS, VICKI L                       1020 BRIDGE ST                                                                                        DAYTON             OH 45402‐5623
PARKS, VIRGINIA R                    289 DEBBIE AVE                                                                                        LAKELAND           FL 33801‐3109
PARKS, WALTER G                      45866 GABLE INN ST                                                                                    SHELBY TOWNSHIP    MI 48317‐4628
PARKS, WANDA W                       9647 HIGHWAY 52 E                                                                                     MURRAYVILLE        GA 30564‐2384
PARKS, WAYNE                         KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                       CLEVELAND          OH 44114
                                                                        BOND COURT BUILDING
PARKS, WAYNE M                       3385 BURNSIDE RD                                                                                      OTTER LAKE        MI   48464‐9789
PARKS, WILL D                        8032 BELLCREEK LN                                                                                     TROTWOOD          OH   45426‐4732
PARKS, WILLIAM E                     7031 MARCO DR                                                                                         WATERFORD         MI   48327‐1537
PARKS, WILLIAM M                     14354 78TH PL N                                                                                       LOXAHATCHEE       FL   33470‐4468
PARKS, WILLIAM R                     4041 CASE DR                                                                                          UNION CITY        MI   49094‐9350
PARKS, WILLIAM THOMAS                BOONE ALEXANDRA                    205 LINDA DR                                                       DAINGERFIELD      TX   75638‐2107
PARKS, WILLIE J                      3878 DENLINGER RD                                                                                     TROTWOOD          OH   45426‐2328
PARKS, WILLIS G                      11408 COLEMAN RD W                                                                                    BENNINGTON        IN   47011‐1950
PARKS, WOODFORD C                    1202 N STEWART RD                                                                                     ANDERSON          IN   46012‐9804
PARKS, WORLEY F                      RR 3 BOX 1687                                                                                         JONESVILLE        VA   24263‐9670
PARKS, ZOLA                          PO BOX 232                                                                                            BROOKLYN          MI   49230‐0232
PARKSIDE MEDICAL ANE                 2121 MAIN STREET                                                                                      BUFFALO           NY   14214
PARKSIDE ORTHOPEDIC                  1599 N HERMITAGE RD                                                                                   HERMITAGE         PA   16148
PARKSMART                            TOLEDO PARKING VIOLATIONS          PO BOX 73060                                                       CLEVELAND         OH   44193‐1052
PARKSON CORP                         PO BOX 236                                                                                            TAMPA             FL   33655‐0001
PARKSON CORP                         PO BOX 408399                      2727 NW 62 ST                                                      FORT LAUDERDALE   FL   33340‐8399
PARKSON CORP                         1401 W CYPRESS CREEK RD            STE 100                                                            FORT LAUDERDALE   FL   33309‐1969
PARKSON CORPORATION                  PO BOX 863098                                                                                         ORLANDO           FL   32886‐3098
PARKSVILLE CAR CLINIC                1458 INDUSTRIAL WAY                                                           PARKSVILLE BC V9P 1W3
                                                                                                                   CANADA
PARKSVILLE SAFETY CENTRE             #10 464 EAST ISLAND HWY                                                       PARKSVILLE BC V9P 2H4
                                                                                                                   CANADA
PARKVIEW AUTOMOTIVE                  4139 S WESTERN BLVD                                                                                   CHICAGO           IL   60609‐2232
PARKVIEW MED GRP                     PO BOX 2253                                                                                           FORT WAYNE        IN   46801‐2253
PARKVIEW OCC HLTH                    PO BOX 10443                                                                                          FORT WAYNE        IN   46852‐0443
PARKWAY CADILLAC GMC PONTIAC BUICK   24075 MAGIC MOUNTAIN PKWY                                                                             VALENCIA          CA   91355‐0950
HUMMER INFINITI HYUNDAI
PARKWAY CAR CARE                     7601 LAKEVIEW PKWY                                                                                    ROWLETT           TX   75088‐4356
PARKWAY CAR CARE CENTER INC.         4053 APALACHEE PKWY                                                                                   TALLAHASSEE       FL   32311‐4137
PARKWAY CAR CARE CENTER INC.         4053 APALACHEE PKWY                                                                                   TALLAHASSEE       FL   32311‐4137
PARKWAY CHEVROLET INC                PARKWAY CHEVROLET                  PO BOX 1418                                                        AUSTIN            TX   78767‐1418
PARKWAY CHEVROLET, INC.              JEAN DURDIN                        25500 SH 249                                                       TOMBALL           TX   77375
PARKWAY CHEVROLET, INC.              MARK SKOCILICH                     1121 S FRONTAGE RD                                                 DEER PARK         WA   99006‐8742
PARKWAY CHEVROLET, INC.              1121 S FRONTAGE RD                                                                                    DEER PARK         WA   99006‐8742
PARKWAY CHEVROLET, INC.              25500 SH 249                                                                                          TOMBALL           TX   77375
PARKWAY CHEVROLET‐OLDSMOBILE         1651 COUNTY ROUTE 25                                                                                  CANTON            NY   13617‐6512
PARKWAY CHEVROLET‐OLDSMOBILE         GERALD MCDONALD                    1651 COUNTY ROUTE 25                                               CANTON            NY   13617‐6512
PARKWAY CORPORATE PLAZA              C/O CB RICHARD ELLIS INC           PO BOX 6056 2LU01                                                  HICKSVILLE        NY   11802
PARKWAY FEDERAL CREDIT UNION         23400 PLYMOUTH RD                                                                                     REDFORD           MI   48239
PARKWAY FEDERAL CREDIT UNION         ACCT OF JAY NORMAN                 20322 CIVIC CENTER DR STE 203                                      SOUTHFIELD        MI   48076
PARKWAY FEDERAL CREDIT UNION         ATTN: HENRY JOHNSON                37451 ECORSE RD                                                    ROMULUS           MI   48174‐1314
PARKWAY FINANCIAL                    1340 PARKWAY AVE                                                                                      EWING             NJ   08628‐3009
PARKWAY GRILLE                       ATTN: ERIN BERCOLLINAI             3600 CENTERPOINT PKWY                                              PONTIAC           MI   48341‐3164
PARKWAY MOTORS INC                   100‐102 FIFTH ST                                                                                      CALUMET           MI   49913
PARKWAY MOTORS, INC.                 100‐102 FIFTH ST                                                                                      CALUMET           MI   49913
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PARKWAY MOTORS, INC.                 GEORGE KINGSTROM                     100‐102 FIFTH ST                                                         CALUMET           MI 49913
PARKWAY OLDSMOBILE CADILLAC GMC      24055 CREEKSIDE RD                                                                                            VALENCIA          CA 91355‐1727
PON
PARKWAY OLDSMOBILE CADILLAC GMC      P. BAKSHI                            24055 CREEKSIDE RD                                                       VALENCIA         CA 91355‐1727
PONT
PARKWAY OLDSMOBILE CADILLAC GMC      24055 CREEKSIDE RD                                                                                            VALENCIA         CA 91355‐1727
PONTIAC BUICK
PARKWAY OLDSMOBILE‐CADILLAC‐GMC      24055 CREEKSIDE RD                                                                                            VALENCIA         CA 91355‐1727
TRUCK, INC.
PARKWAY OLDSMOBILE‐CADILLAC‐GMC      P. BAKSHI                            24055 CREEKSIDE RD                                                       VALENCIA         CA 91355‐1727
TRUCK, INC.
PARKWAY OLDSMOBILE‐CADILLAC‐GMC      PARKWAY OLDSMOBILE CADILLAC GMC      P. BAKSHI                     24055 CREEKSIDE RD                         VALENCIA         CA 91355‐1727
TRUCK, INC.                          PONT
PARKWAY OLDSMOBILE‐CADILLAC‐GMC      P. BAKSHI                            24075 MAGIC MOUNTAIN PKWY                                                VALENCIA         CA 91355‐0950
TRUCK, INC.
PARKWAY PATHOLOGY GR                 PO BOX 500720                                                                                                 SAINT LOUIS      MO   63150‐0720
PARKWAY PL/WEST BRAN                 612 PARKWAY DR                                                                                                WEST BRANCH      MI   48661‐9201
PARKWAY PLASTICS INC                 612 PARKWAY DR                                                                                                WEST BRANCH      MI   48661‐9201
PARKWAY PLASTICS INC                 MIKE RILEY                           612 PARKWAY DRIVE                                                        CLOVER           SC   29710
PARKWAY PONTIAC‐CADILLAC‐GMC, INC.   ALFRED COYLE                         300 KING AVE                                                             MORRISTOWN       TN   37814‐4838

PARKWAY PRODUCTS INC                 10293 BURLINGTON RD                                                                                           CINCINNATI       OH   45231‐1901
PARKWAY PRODUCTS INC                 51 CAVALIER BLVD STE 200                                                                                      FLORENCE         KY   41042‐3967
PARKWAY PROPERTIES LP                ATTN CEDAR RIDGE                      800 S GAY ST STE 1210        501 CHNG 01/10/05 ONEIL                    KNOXVILLE        TN   37929‐9728
PARKWAY PROPERTIES LP                CEDAR RIDGE 00415                     PO BOX 11407                                                            BIRMINGHAM       AL   35246‐0100
PARKWAY SERVICE CENTER               620 ROYAL PKWY                                                                                                NASHVILLE        TN   37214‐3745
PARKWAY SERVICES INC                 41525 TYLER RD                                                                                                BELLEVILLE       MI   48111‐1454
PARKWAY WEST                         1121 S FRONTAGE RD                                                                                            DEER PARK        WA   99006‐8742
PARKWAY/CINCINNATI                   10293 BURLINGTON RD                                                                                           CINCINNATI       OH   45231‐1901
PARLBERG, ELIZABETH                  6 RUPPRECHT CT                                                                                                FRANKENMUTH      MI   48734‐9778
PARLBERG, LENORE S                   245 W JEFFERSON ST                                                                                            FRANKENMUTH      MI   48734‐1805
PARLBERG, LEROY C                    1839 MAITLAND DR                                                                                              SAGINAW          MI   48609‐9544
PARLBERG, LYNNE M                    6 RUPPRECHT CT                                                                                                FRANKENMUTH      MI   48734‐9778
PARLE, CATHERINE MARY                64 CRAWFORD ST APT 5A                                                                                         OXFORD           MI   48371‐4904
PARLE, THOMAS J                      6372 SE WILLOW RD                                                                                             CAMERON          MO   64429‐8860
PARLEC INC                           101 PERINTON PKWY                                                                                             FAIRPORT         NY   14450‐9104
PARLEE GILBERT                       3012 N 11TH ST                                                                                                TERRE HAUTE      IN   47804‐1139
PARLEE, GERALD G                     4421 GAINES ST APT 16                                                                                         CORPUS CHRISTI   TX   78412
PARLER, JANET                        126 OAKRIDGE DR                                                                                               MC CORMICK       SC   29835‐6223
PARLET, DAVID                        89 CHIPPENHAM DR                                                                                              PENFIELD         NY   14526‐2909
PARLETT JOHN                         30071 BUSINESS CENTER DRIVE                                                                                   CHARLOTTE HALL   MD   20622
PARLETTE JR, ROBERT C                1207 WEDGEWOOD DR                                                                                             COLUMBUS         OH   43228‐3112
PARLETTE, CAROLE J                   1840 HAMBLETONIAN CT                                                                                          MIAMISBURG       OH   45342‐6375
PARLEY WORTHEN                       C/O CLAPPER, PATTI, SCHWEIZER & MASON 2330 MARINSHIP WAY STE 140                                              SAUSALITO        CA   94965

PARLIAMENT, CHARLOTTE M              213 SUNVIEW DR                                                                                                SAINT CHARLES    MI 48655‐1013
PARLIAMENT, CHARLOTTE M              213 SUNVIEW DRIVE                                                                                             ST. CHARLES      MI 48655‐1013
PARLIER DONNIE GARLAND (481946)      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                              NORFOLK          VA 23510
                                                                          STREET, SUITE 600
PARLIER, CHARLES W                   138 WILDWOOD ACRES RD                                                                                         FRANKLIN         NC 28734‐7256
PARLIER, DONNIE G                    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                              NORFOLK          VA 23510‐2212
                                                                          STREET, SUITE 600
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Name                                Address1                           Address2              Address3       Address4            City               State Zip
PARLIER, GARY P                     2619 TRANSIT RD                                                                             NEWFANE             NY 14108‐9502
PARLIER, JANICE L                   PO BOX 278                                                                                  OLCOTT              NY 14126‐0278
PARLIER, JUDY M                     6309 DALE RD                                                                                NEWFANE             NY 14108‐9762
PARLIER, LAWRENCE J                 3645 WRUCK RD                                                                               MIDDLEPORT          NY 14105‐9751
PARLIER, RUBY                       1600 ALTHEA ST BOX 386                                                                      OLCOTT              NY 14126‐0386
PARLIER, TROY                       1600 ALTHEA ST BOX 386                                                                      OLCOTT              NY 14126
PARLIMENT, CRAIG W                  20095 CR H 50                                                                               WEST UNITY          OH 43570
PARLING, DOUGLAS W                  9788 N ALGER RD                                                                             ALMA                MI 48801
PARLOR JR, GILBERT                  14890 ARTESIAN ST                                                                           DETROIT             MI 48223‐2229
PARLOR, GILBERT                     20161 COOLEY ST                                                                             DETROIT             MI 48219‐1273
PARLOR, MAURICE L                   6230 BERMUDA LN                                                                             MOUNT MORRIS        MI 48458‐2625
PARLOS, MARTIN J                    1685 COLD SPRINGS DR                                                                        PENDLETON           IN 46064‐5504
PARLOS, MARTIN JOHN                 1685 COLD SPRINGS DR                                                                        PENDLETON           IN 46064‐5504
PARLOS, PAUL G                      155 HUMPHREY LN                                                                             VALLEJO             CA 94591‐7282
PARLOW PETE                         7550 TRUMBLE RD                                                                             COLUMBUS            MI 48063‐3908
PARLOW, JAMES N                     15 JOHNSON CHAPEL RD                                                                        TRENTON             TN 38382‐9718
PARLOW, KATHLEEN M                  7550 TRUMBLE RD                                                                             COLUMBUS            MI 48063‐3908
PARLOW, MARY R                      15450 18 MILE RD                   APT. 110                                                 CLINTON TOWNSHIP    MI 48038
PARLOW, MARY R                      15450 18 MILE RD APT 110                                                                    CLINTON TOWNSHIP    MI 48038‐5877
PARLOW, PETER M                     7550 TRUMBLE RD                                                                             COLUMBUS            MI 48063‐3908
PARM AUTO FEDERAL CR UNION          5700 CHEVROLET BLVD                                                                         PARMA               OH 44130‐1412
PARM, BESSIE M                      2225 N MORSON ST                                                                            SAGINAW             MI 48602
PARM, CATHERINE                     43 WILLOW POND DR E                                                                         SAGINAW             MI 48603‐9640
PARM, JOANN                         4248 MILAN AVE SW                                                                           WYOMING             MI 49509
PARM, SALADIN B                     PO BOX 14332                                                                                SAGINAW             MI 48601
PARMA AREA CHAMBER OF COMMERCE      7908 DAY DR                                                                                 PARMA               OH 44129‐5637

PARMA CITY SCHOOL DISTRICT          C/B/S PARTNERSHIP                  5311 LONGWOOD AVE                                        PARMA              OH   44134‐3800
PARMA CITY SCHOOL DISTRICT          NEW TEACHER BREAKFAST              5311 LONGWOOD AVE                                        PARMA              OH   44134‐3800
PARMA COMM GEN HOSPI                PO BOX 73270N                                                                               CLEVELAND          OH   44193‐0001
PARMA COMMUNITY EDUCATION           6726 RIDGE RD                                                                               PARMA              OH   44129‐5703
PARMA COMPLEX                       5615 CHEVROLET BLVD                                                                         PARMA              OH   44130‐1406
PARMA COMPLEX                       5400 CHEVROLET BLVD                                                                         PARMA              OH   44130‐1451
PARMA COURTS                        5868 STUMPH RD                                                                              CLEVELAND          OH   44130‐1736
PARMA HOSPITAL CARE FOUNDATION      7007 POWERS BLVD                                                                            PARMA              OH   44129‐5437
PARMA INAUGURAL COMMITTEE           7263 MAPLEWOOD RD                                                                           PARMA              OH   44130‐3728
PARMA MOREFIELD                     2102 EDWARDS RD                                                                             GROVE CITY         OH   43123‐2905
PARMA MUNICIPAL COURT               ACCT OF TIMOTHY OBERST             5750 W 54TH ST                                           PARMA              OH   44129
PARMA PARENT TEACHERS ASSOCIATION   9462 ACKLEY RD                                                                              PARMA HEIGHTS      OH   44130‐2327

PARMA SERVICE GARAGE                ATTN: MIKE SHYMSKE                 5680 CHEVROLET BLVD                                      CLEVELAND          OH   44130‐1404
PARMA, GARY M                       110 W WILLIAMSBURG MNR                                                                      ARLINGTON          TX   76014‐1044
PARMA, JACOB                        7425 TWIN PARKS DR                                                                          ARLINGTON          TX   76001‐7309
PARMAN LUBRCNT/NSHVL                7101 COCKRILL BEND BLVD                                                                     NASHVILLE          TN   37209‐1005
PARMAN, LARRY L                     1410 RIDGEMILL TER                                                                          DACULA             GA   30019‐3209
PARMAN, MARGIE E                    631 WOODLAWN AVE APT 309                                                                    HAMILTON           OH   45015
PARMAN, TRAVIS M                    419 N WASHINGTON AVE                                                                        ROYAL OAK          MI   48067‐1754
PARMANAND KUMAR                     8113 AURORA LANE                                                                            WHITTIER           CA   90605
PARMANN, ROBERT A                   9273 MIRAGE LAKE DR 23                                                                      MILAN              MI   48160
PARMAR TAJENDER PAL SINGH           5 BRIDGET WAY                                                                               ATTLEBORO          MA   02703‐1734
PARMAR, DAVINDER                    2380 ST. CLAIR AVE                                                      WINDSOR ON N9E4S7
                                                                                                            CANADA
                                      09-50026-mg            Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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Name                                 Address1                        Address2                        Address3                       Address4               City           State Zip
PARMAR, DAVINDER                     2380 ST CLAIR AVE                                                                              WINDSOR ON CANADA N9E‐
                                                                                                                                    4S7
PARMAR, RAJESH V                     6366 COUNTRY RIDGE DR                                                                                                 TROY           MI 48098‐6549
PARMELA LINDQUIST                    110 6TH ST                      BOX 305                                                                               COVINGTON      IN 47932
PARMELE DOUGLAS J (460095)           KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                                         CLEVELAND      OH 44114
                                                                     BOND COURT BUILDING
PARMELE, DOUGLAS J                   KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                                         CLEVELAND       OH 44114
                                                                     BOND COURT BUILDING
PARMELEE, ANNA                       2981 TREE TOP RD                                                                                                     DACULA          GA    30019
PARMELEE, BARBARA C                  39 WINTEREST WAY                                                                                                     N FT MYERS      FL    33917‐3917
PARMELEE, CHARLES                    2981 TREE TOP RD                                                                                                     DACULA          GA    30019‐1248
PARMELEE, CHARLES O                  3549 EDGAR RD                                                                                                        LESLIE          MI    49251‐9709
PARMELEE, CLIFFORD D                 1725 VICTOR ST                                                                                                       YPSILANTI       MI    48198‐6641
PARMELEE, EARNEST M                  39 E GLASS RD                                                                                                        ORTONVILLE      MI    48462‐8833
PARMELEE, JANICE                     481 SHADE TREE TRL                                                                                                   MASON           MI    48854‐1156
PARMELEE, KEITH A                    PO BOX 16533                                                                                                         ROCHESTER       NY    14616‐0533
PARMELEE, MARJORIE A                 1725 VICTOR ST                                                                                                       YPSILANTI       MI    48198‐6641
PARMELEE, NORMAN F                   BOONE ALEXANDRA                 205 LINDA DR                                                                         DAINGERFIELD    TX    75638‐2107
PARMELEE, SCOTT C                    PO BOX 74                                                                                                            POMPEII         MI    48874‐0074
PARMENSI, CHERYL                     34 PURCHASE ST APT 1                                                                                                 MILFORD         MA    01757
PARMENSI, PASQUALINO N               1640 MEADOWVILLE RD                                                                                                  PIERSON         FL    32180
PARMENTER BUFORD E (467042)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                          NORFOLK         VA    23510
                                                                     STREET, SUITE 600
PARMENTER HALFWAY HOUSE              ATTN: FRANK HOESE               PO BOX 30037                                                                         LANSING          MI 48909‐7537
PARMENTER LAS COLINAS TOWERS LP      1111 BRICKELL AVE STE 2910      C/O PARMENTER REALTY FUND III                                                        MIAMI            FL 33131‐3128
PARMENTER LAS COLINAS TOWERS, L.P.   C/O PARMENTER REALTY PARTNERS   ATTN: ANDREW WEISS              1111 BRICKELL AVENUE, SUITE                          MIAMI            FL 33131
                                                                                                     2910
PARMENTER LAS COLINAS TOWERS, L.P.   C/O PARMENTER REALTY PARTNERS   ATTN: ASSET MANAGER             12750 MERIT DRIVE, SUITE 225                         DALLAS           TX   75251

PARMENTER, ANGELINE M                S77W31517 CENTURY DR                                                                                                 MUKWONAGO        WI 53149‐9219
PARMENTER, BARBARA J                 4719 N 134TH AVE                                                                                                     OMAHA            NE 68164‐6152
PARMENTER, BUFORD E                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                          NORFOLK          VA 23510‐2212
                                                                     STREET, SUITE 600
PARMENTER, CARL E                    4719 N 134TH AVE                                                                                                     OMAHA           NE    68164‐6152
PARMENTER, CHARLES A                 905 LAKESIDE CIR                                                                                                     GREENWOOD       IN    46143‐3026
PARMENTER, CHARLES ALBERT            905 LAKESIDE CIR                                                                                                     GREENWOOD       IN    46143‐3026
PARMENTER, DORIS                     8499 E M 71 APT 17                                                                                                   DURAND          MI    48429
PARMENTER, JAMES H                   10037 E PALISADES RD                                                                                                 SUTTONS BAY     MI    49682‐8402
PARMENTER, JEANNE M                  5779 SHETLAND WAY                                                                                                    WATERFORD       MI    48327‐2046
PARMENTER, MARY E                    140 CALK LN APT 1002                                                                                                 BOERNE          TX    78006‐3247
PARMENTER, PATSY                     7249 RANGER ROAD                                                                                                     WHITTEMORE      MI    48770‐9477
PARMENTER, PATSY                     7249 RANGER RD                                                                                                       WHITTERMORE     MI    48770
PARMENTER, ROBERT B                  150 MEDICAL DR                  APT 5106                                                                             BOERNE          TX    78006‐1877
PARMENTER, SYLVANA A                 777 RICH DR APT 201                                                                                                  DEERFIELD BCH   FL    33441‐7864
PARMENTER, WILLIAM C                 739 FURNACE ST                                                                                                       ELYRIA          OH    44035‐3422
PARMENTER, WILLIAM W                 STE 200                         501 INDIANA AVENUE                                                                   INDIANAPOLIS    IN    46202‐6146
PARMENTIER, DOROTHY E                14118 MEADOW HILL LN                                                                                                 PLYMOUTH        MI    48170‐3172
PARMENTIER, GENE S                   622 HATTERAS CT SW                                                                                                   VERO BEACH      FL    32968‐4024
PARMENTIER, SUZANNE C                33 MISTY FALLS DR                                                                                                    ORMOND BEACH    FL    32174‐9175
PARMENTIER, WILLIAM J                196 ROOSEVELT ST                                                                                                     TONAWANDA       NY    14150‐3503
PARMER JR, JAMES E                   ROUTE 1                                                                                                              BOWDON          GA    30108
PARMER THEODORE                      3002 O AVE NW                                                                                                        CEDAR RAPIDS    IA    52405‐1320
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Name                       Address1                           Address2                        Address3                     Address4         City                State Zip
PARMER, DIANE T            531 CAMBRIDGE AVE                                                                                                BUFFALO              NY 14215‐3123
PARMER, FRANKLIN M         47 PHYLLIS AVE                                                                                                   BUFFALO              NY 14215‐2823
PARMER, HENRY C            1627 MICHIGAN AVE                                                                                                NIAGARA FALLS        NY 14305‐2907
PARMER, HUGHLENE           145 TYUS VEAL RD                                                                                                 BOWDON               GA 30108‐3347
PARMER, INGA MARIE         2039 CANNON ST SW                                                                                                WYOMING              MI 49519‐4210
PARMER, JERNEAL            23 PINE PARK ST                                                                                                  CHEEKTOWAGA          NY 14225
PARMER, LEON               531 CAMBRIDGE AVE                                                                                                BUFFALO              NY 14215‐3123
PARMER, SHARON A           9530 SUMMIT AVE NE                                                                                               ROCKFORD             MI 49341‐9116
PARMER, TROY L             8275 WILSON RD                                                                                                   OTISVILLE            MI 48463‐9478
PARMERLEE, BARRY L         3719 W BRIARWOOD RD                                                                                              MONROVIA             IN 46157‐9290
PARMERLEE, DAVID E         319 FROST PL                                                                                                     CLOVERDALE           IN 46120‐8850
PARMERLEE, JOY B           319 FROST PL                                                                                                     CLOVERDALE           IN 46120‐8850
PARMERLEE, JOY B           319 FROST PLACE                                                                                                  CLOVERDALE           IN 46120‐8850
PARMERLEE, MARK D          13410 N LARGO CT                                                                                                 CAMBY                IN 46113‐8357
PARMERLEE, THEODORE L      6990 BEECH GROVE RD                                                                                              MARTINSVILLE         IN 46151‐8957
PARMERLEE, VERNON L        7971 N HENDERSON FORD RD                                                                                         MOORESVILLE          IN 46158‐6635
PARMETER ERIC              PARMETER, ERIC                     STEWART D. MARKOWITZ            527 JERICHO TURNPIKE SUITE                    JERICHO              NY 11753
                                                                                              210
PARMETER, ERIC             MARKOWITZ STUART D LAW OFFICE OF   575 JERICHO TPKE STE 210                                                      JERICHO             NY 11753‐1847
PARMETER, ERIC
PARMETER, JEAN E           323 GENESEE ST                                                                                                   ONEIDA              NY   13421
PARMETER, RENE L           120 GLENWOOD DR                                                                                                  ELIZABETH           PA   15037‐1619
PARMETER, RONALD J         492 GOLD TREE                                                                                                    PUNTA GORDA         FL   33955‐1018
PARMETER, THOMAS W         120 GLENWOOD DR                                                                                                  ELIZABETH           PA   15037‐1619
PARMILLE CARSON            3043 W STATE ROAD 38                                                                                             PENDLETON           IN   46064‐9315
PARMLEY, DONNA R           6445 HOPE LN                                                                                                     LOCKPORT            NY   14094‐1113
PARMLEY, DONNA R           6445 HOPE LA                                                                                                     LOCKPORT            NY   14094‐1113
PARMLEY, GRACE G           6709 LOMBARDY DR                                                                                                 WEST MIFFLIN        PA   15122‐2832
PARMLEY, JOE C             3109 CASTLEROCK RD                                                                                               OKLAHOMA CITY       OK   73120‐1817
PARMLEY, KENNETH E         208 E WOODYARD AVE                                                                                               RIDGE FARM          IL   61870‐9454
PARMLEY, LUTHER B          2423 BANISTER DR                                                                                                 SAINT LOUIS         MO   63125‐3113
PARMLEY, WILLIAM E         809 EAST 7TH STREET                                                                                              METROPOLIS          IL   62960‐1941
PARNABY, JANET M           16770 BRIDGE RD                                                                                                  MIDDLEFIELD         OH   44062
PARNABY, LOLITA M          2444 PRATT ST APT 233                                                                                            LONGMONT            CO   80501‐1172
PARNAHAY, DEBRA S          28830 S RIVER RD                                                                                                 HARRISON TOWNSHIP   MI   48045‐3019
PARNAHAY, DEBRA S          PO BOX 248                                                                                                       WASHINGTON          MI   48094‐0248
PARNASS, LUIS              1272 BONSAI CIR                                                                                                  CORONA              CA   92882‐8346
PARNCUTT, DOUGLAS M        1202 HARFORD TOWN DR                                                                                             ABINGDON            MD   21009‐4300
PARNCUTT, JACQUELINE S     1202 HARFORD TOWN DR                                                                                             ABINGDON            MD   21009‐4300
PARNCUTT, JACQUELINE S.    1202 HARFORD TOWN DR                                                                                             ABINGDON            MD   21009‐4300
PARNELL & CRUM PA          641 S LAWRENCE ST                                                                                                MONTGOMERY          AL   36104‐5809
PARNELL ALVIN F (355986)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK             VA   23510
                                                              STREET, SUITE 600
PARNELL CORENE             808 S ABILENE AVE                                                                                                VALLEY CENTER       KS   67147‐2155
PARNELL CRAWFORD           1150 WEST DOROTHY LANE                                                                                           KETTERING           OH   45409
PARNELL CRAWFORD           1150 W DOROTHY LN                                                                                                KETTERING           OH   45409‐1305
PARNELL CREECH             4920 CHRISTOFER LN                                                                                               FORT WAYNE          IN   46806‐3414
PARNELL FRED E (473117)    KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                                 CLEVELAND           OH   44114
                                                              BOND COURT BUILDING
PARNELL HIGGINBOTTOM       152 SARATOGA WAY                                                                                                 ANDERSON            IN 46013‐4770
PARNELL HOWARD             2813 S BANTAM RD                                                                                                 BETHEL              OH 45106‐8358
PARNELL JR, DAVID F        PO BOX 8005                                                                                                      EASTPOINTE          MI 48021‐8005
                              09-50026-mg                Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                         Address1                            Address2                       Address3   Address4         City              State Zip
PARNELL JR, JOSEPH N         UNIT 1                              2536 EAGLES CIRCLE                                         YPSILANTI          MI 48197‐1574
PARNELL JR, JOSEPH N         2536 EAGLES CIR UNIT 1                                                                         YPSILANTI          MI 48197‐1574
PARNELL SANDRA               207 VALLEY MILL ROAD                                                                           HUDDLESTON         VA 24104‐2829
PARNELL TOLBERT L (472136)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                                 STREET, SUITE 600
PARNELL, ALVIN F             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510‐2212
                                                                 STREET, SUITE 600
PARNELL, BOBBY R             3227 DARK WOODS DR                                                                             FRANKLIN          TN   37064
PARNELL, BRENDA S            RR 1 BOX 101                                                                                   PINEVILLE         KY   40977‐9715
PARNELL, BRIAN E             11210 RAY RD                                                                                   GAINES            MI   48436‐8918
PARNELL, DONALD J            988 SAND HILL RD                                                                               CALEDONIA         NY   14423‐9502
PARNELL, DOREEN A            4109 YALE ST                                                                                   METAIRIE          LA   70002‐4349
PARNELL, DORIS J             2711 E LAFAYETTE ST APT 3                                                                      DETROIT           MI   48207‐3953
PARNELL, EDWARD V            3868 SHANNON DR. UNIT 6                                                                        WARREN            MI   48091
PARNELL, ELINOR M            5602 EDWARDS DR                                                                                ARLINGTON         TX   76017‐4306
PARNELL, FLORIDA L           3739 BOONE AVE SW                                                                              WYOMING           MI   49519‐3703
PARNELL, FOREST G            516 E CHESTNUT ST                                                                              HARTFORD CITY     IN   47348‐2509
PARNELL, FRED                THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD        SUITE 44                    CORAL GABLES      FL   33146
PARNELL, FRED E              KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                               CLEVELAND         OH   44114
                                                                 BOND COURT BUILDING
PARNELL, FRED G              7517 PRAIRIE LAKE DR                                                                           INDIANAPOLIS      IN   46256‐1959
PARNELL, GENE A              1007 EASTON TRL                                                                                FORT WAYNE        IN   46825‐3514
PARNELL, GENE ALAN           1007 EASTON TRL                                                                                FORT WAYNE        IN   46825‐3514
PARNELL, GERALD G            2138 EMMETT AVE                                                                                SIMI VALLEY       CA   93063‐3520
PARNELL, GRACE A             3868 SHANNON DR. UNIT 6                                                                        WARREN            MI   48091‐6119
PARNELL, GREGORY L           PO BOX 83391                                                                                   COLUMBUS          OH   43203‐0391
PARNELL, JAMES H             310 HEATHERTON RD                                                                              FLORENCE          AL   35633‐1596
PARNELL, JAN K               5602 EDWARDS DR                                                                                ARLINGTON         TX   76017‐4306
PARNELL, KENNETH S           509 CARMEN ST                                                                                  SEBRING           FL   33872‐4362
PARNELL, LACIE K             31 MILTON AVE                                                                                  YOUNGSTOWN        OH   44509‐2843
PARNELL, LOUIS W             804 EUCALYPTUS LN                                                                              FOUNTAIN VALLEY   CA   92708‐5815
PARNELL, MARION E            413 BRIDSON ST                                                                                 FENTON            MI   48430‐1860
PARNELL, ROBERT C            158 SHADY BEACH RD                                                                             NORTH EAST        MD   21901‐4802
PARNELL, ROBERT H            1882 VALLEY LN                                                                                 LAKE ORION        MI   48360‐1852
PARNELL, SCOTTY
PARNELL, SHAWN M             942 ATMORE CT                                                                                  INDIANAPOLIS      IN   46217‐5387
PARNELL, SHERIDAN L          735 DULLES AVE APT 908                                                                         STAFFORD          TX   77477‐5230
PARNELL, SHERIDAN LYNN       735 DULLES AVE APT 908                                                                         STAFFORD          TX   77477
PARNELL, STEVEN J            1453 SHERIDAN AVE NE                                                                           WARREN            OH   44483‐3967
PARNELL, TAMEIKA D           42704 LILLEY POINTE DR                                                                         CANTON            MI   48187‐5321
PARNELL, TOLBERT L           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510‐2212
                                                                 STREET, SUITE 600
PARNELL, TRAVIS E            134 LYNN DRIVE 3                                                                               MONROE            LA   71203‐9221
PARNELL, VIVIAN A            10448 SHARP RD                                                                                 SWARTZ CREEK      MI   48473‐9121
PARNELL‐JURGRAU, SHARON F    705 GRAND PARKE DR                                                                             JACKSONVILLE      FL   32259‐4282
PARNELL‐STURGEON, MARY A     2918 MOORE RD                                                                                  ANDERSON          IN   46011‐4627
PARNESS ANDREW               2569 HUNTERS TRL                                                                               MYRTLE BEACH      SC   29588‐8404
PARNIA B CHRISTINE
PARNIN, RALPH C              11534 E CHRISTMAS CHOLLA DR                                                                    SCOTTSDALE        AZ   85255‐5763
PARNIS, HENRY J              11338 LENORE                                                                                   REDFORD           MI   48239‐1613
PARNITZKE, HELEN A           30 DEER CHASE RD                                                                               W SENECA          NY   14224
PARNITZKE, RICHARD J         12712 S 177TH AVE                                                                              GOODYEAR          AZ   85338‐5794
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Name                                  Address1                          Address2                        Address3   Address4                 City               State Zip
PARNOW, ROGER E                       6216 EAST PIERSON ROAD                                                                                FLINT               MI 48506‐2254
PARNOW, ROSEMARY A                    6216 E PIERSON RD                                                                                     FLINT               MI 48506‐2254
PARO PHYLLIS                          PO BOX 78                                                                                             RICHMOND            VT 05477‐0078
PARO, ROBERT                          206 SUBURBAN PARK DR.             APT 1                                                               MANLUIS             NY 13104
PARO, ROBERT                          206 SUBURBAN PARK DR APT 1                                                                            MANLIUS             NY 13104‐1983
PARO‐SMEBY, KATHY J                   4347 BEECHWOOD AVE                                                                                    BURTON              MI 48509‐1101
PAROCHETTI, DAN
PARODY, ROBERT C                      PO BOX 207                                                                                            SYLVAN BEACH       NY 13157‐0207
PAROL, JOSEPH A                       31850 DIMAS DR                                                                                        WARREN             MI 48092‐1498
PAROLINE, JAMES J                     13 THISTLE LN                                                                                         ESSEX JUNCTION     VT 05452‐2654
PAROLINI PAOLO                        VIA VIVAIO 6                                                                                          MILANO                20122
PARON, CONSTANTINE                    7600 MCCARTY RD                                                                                       SAGINAW            MI 48603‐9678
PAROT, EUGENE H                       704 LIVERPOOL CIR # B                                                                                 MANCHESTER         NJ 08759‐5208
PARPART RAYMOND C                     1913 HAMILTON ST                                                                                      PORTAGE            IN 46368‐1705
PARPART, JOANNE E                     642 S CADILLAC CIR                                                                                    ROMEOVILLE         IL 60446‐5231
PARPART, RAYMOND C                    1913 HAMILTON ST                                                                                      PORTAGE            IN 46368‐1705
PARPAS AMERICA CORP                   791 INDUSTRIAL CT                                                                                     BLOOMFIELD HILLS   MI 48302‐0381
PARPAS AMERICA INC                    791 INDUSTRIAL CT                                                                                     BLOOMFIELD HILLS   MI 48302‐0381
PARQUES INDUSTRIALES INTERNACIONALE   AVE PARQUE IND JUAREZ NO 3551                                                CIUDAD JUAREZ CZ 32696
                                                                                                                   MEXICO
PARQUES INDUSTRIALES INTERNACIONALE CALLE SEGUNDA #4                                                               MEXICO CI 31000 MEXICO

PARQUET, EUNICE L                     22078 ARBOR AVE APT 414                                                                               HAYWARD            CA 94541‐4834
PARR ARTHUR (446844)                  BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH 44067
                                                                        PROFESSIONAL BLDG
PARR ESTATE OF, MATTHEW CORDERO
PARR GREEN MOLD & MACHINE CO          9107 PLEASANTWOOD AVE NW                                                                              CANTON             OH   44720‐4765
PARR INC/DES MOINES                   3001 MCKINLEY AVE                                                                                     DES MOINES         IA   50321‐2809
PARR JR, JACK D                       806 S MASON ST                                                                                        SAGINAW            MI   48602‐2239
PARR JR, RUSSELL L                    307 CAMPBELL DR                                                                                       LIBERTY            MO   64068‐9357
PARR MANUFACTURING INC                505 E MADISON ST                                                                                      WINTERSET          IA   50273‐2404
PARR RICHARD                          20888 CHAUCERWOODS LANE                                                                               MARTHASVILLE       MO   63357‐2652
PARR, ALICE                           1370 S OCEAN BLVD APT 1508                                                                            POMPANO BEACH      FL   33062‐7168
PARR, ANNIE B                         77 S MIDLAND DR                                                                                       PONTIAC            MI   48342‐2961
PARR, ANNIE B                         77 SOUTH MIDLAND                                                                                      PONTIAC            MI   48342‐2961
PARR, ANTHONY M                       6222 MCCANDLISH RD                                                                                    GRAND BLANC        MI   48439‐9555
PARR, BEN C
PARR, BEN C                           16570 E KIOWA RD                                                                                      HEYWORTH           IL   61745‐9035
PARR, BERNADINE E                     1911 BRIARWOOD DR                                                                                     LANSING            MI   48917‐1771
PARR, BILLIE J                        17 S FOOTE AVE                                                                                        BELLEVUE           KY   41073‐1507
PARR, BILLY L                         PO BOX 72                                                                                             HARMONY            IN   47853‐0072
PARR, BRENDA H                        272 DOGWOOD LN                                                                                        LAWRENCEVILLE      GA   30045‐4361
PARR, BRENDA H                        272 DOGWOOD LANE                                                                                      LAWRENCEVILLE      GA   30045‐4361
PARR, BRIAN C                         187 WASHINGTON ST                                                                                     MOUNT CLEMENS      MI   48043‐1603
PARR, CHARLOTTE D                     30 BARBOUR RD                                                                                         HAMPTON            NH   03842‐1301
PARR, CRAIG B                         3605 LAKESHORE DR                                                                                     LAPEER             MI   48446‐2945
PARR, DALE A                          2352 MAPLELAWN DR                                                                                     BURTON             MI   48519‐1338
PARR, DANNY B                         17355 NEW COLUMBUS RD                                                                                 CORINTH            KY   41010‐5034
PARR, DAVID P                         11278 EAST 25TH STREET                                                                                YUMA               AZ   85367‐3642
PARR, DAWN                            10086 GOLFSIDE DR                                                                                     GRAND BLANC        MI   48439‐9408
PARR, DIANNE E                        205 COLFAX ST                                                                                         FENTON             MI   48430‐2029
PARR, DIANNE ELIZABETH                205 COLFAX ST                                                                                         FENTON             MI   48430‐2029
                                     09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                                 Address1                           Address2                         Address3             Address4         City             State Zip
PARR, DONALD L                       5066 W 700 S                                                                                              MORGANTOWN        IN 46160‐8205
PARR, DONNA LEE                      6650 GREEN BRANCH DR APT 4                                                                                CENTERVILLE       OH 45459‐6816
PARR, DONNA M                        12312 WESTPOINT ST                                                                                        TAYLOR            MI 48180‐6830
PARR, DOROTHY T                      3975 BONNETT CREEK LANE                                                                                   HOSCHTON          GA 30548
PARR, DUANE R                        730 BURDICK ST                                                                                            MILTON            WI 53563‐1004
PARR, ELIZABETH C                    420 SUNNYMEDE DR                                                                                          KOKOMO            IN 46901‐5029
PARR, EVA
PARR, FREDA M                        2454 WILLIAMS AVE                                                                                         NORWOOD          OH   45212‐4048
PARR, GRAHAM A                       14184 S LIVONIA CRES                                                                                      LIVONIA          MI   48154‐4332
PARR, GREGORY S                      445 WINTERBERRY DR                                                                                        YORKVILLE        IL   60560‐4101
PARR, JAMES A                        315 DENISE RD                                                                                             ROCHESTER        NY   14612‐4930
PARR, JAMES D                        1201 KURTZ RD                                                                                             HOLLY            MI   48442‐8314
PARR, JAMES H                        787 MOON PLACE RD                                                                                         LAWRENCEVILLE    GA   30044‐5912
PARR, JAMES R                        1607 BLUE RIDGE DR                                                                                        LANSING          MI   48917‐9557
PARR, JOEY V                         16954 STATE HIGHWAY 33                                                                                    ONTARIO          WI   54651‐7014
PARR, JOHN R                         PO BOX 196                                                                                                MOUNT MORRIS     MI   48458‐0196
PARR, LARRY
PARR, LARRY G                        3943 W MAIN RD                                                                                            STANTON          MI   48888‐9156
PARR, LOUISE I                       2057, 3 AURELIUS RD                                                                                       MASON            MI   48854
PARR, MARGARET A                     8511 N LINWOOD LOOP                                                                                       CITRUS SPRINGS   FL   34433‐5045
PARR, MICHAEL C                      19821 VERMANDER AVE                                                                                       CLINTON TWP      MI   48035‐4719
PARR, MICHAEL D                      3701 KINGSWAY DR                                                                                          HIGHLAND         MI   48356‐1847
PARR, MICHAEL T                      8585 BABCOCK RD                                                                                           BELLEVUE         MI   49021‐9406
PARR, NORMAN R                       11312 N 100 E                                                                                             ALEXANDRIA       IN   46001‐8831
PARR, PATSY I                        PO BOX 505                                                                                                GENESEE          MI   48437
PARR, PHILLIP C                      PO BOX 340823                                                                                             COLUMBUS         OH   43234‐0822
PARR, PHILLIP C                      183 N MAIN ST                                                                                             LONDON           OH   43140‐1143
PARR, PRESTON E                      6221 BASELINE RD                                                                                          ONONDAGA         MI   49264‐9617
PARR, R H                            141 CASINO RD                                                                                             NOCONA           TX   76255‐6904
PARR, RAYMOND F                      3366 UTAH RD                                                                                              WELLSVILLE       KS   66092‐8558
PARR, RICHARD A                      800 BEACHLER DR                                                                                           CARLISLE         OH   45005‐3400
PARR, RICHARD A                      1320 ASHLAND AVE                                                                                          DAYTON           OH   45420‐1506
PARR, RICHARD B                      20888 CHAUCERWOODS LN                                                                                     MARTHASVILLE     MO   63357‐2652
PARR, RICHARD J                      11374 KINNEVILLE RD                                                                                       EATON RAPIDS     MI   48827‐9764
PARR, RICHARD K                      272 DOGWOOD LN                                                                                            LAWRENCEVILLE    GA   30045‐4361
PARR, RILEY L                        11933 N MUSTANG RD                                                                                        YUKON            OK   73099
PARR, ROBERT
PARR, ROBERT A                       PO BOX 544                                                                                                OAKWOOD          IL   61858‐0544
PARR, ROBERT C                       903 BROOKS ST                                                                                             BELOIT           WI   53511‐6028
PARR, ROBERT L                       752 CHELSEA PL                                                                                            JANESVILLE       WI   53546‐1853
PARR, ROBY G                         1441 COMPTON DR SW                                                                                        MABLETON         GA   30126‐1227
PARR, RONALD                         CHAPMAN LEWIS & SWAN               PO BOX 428                                                             CLARKSDALE       MS   38614‐0428
PARR, RONALD J                       COUNTY OF ERIE DEPT OF SENIOR SE   ROOM 1304‐ PROTECTIVE SERVICES   95 FRANKLIN STREET                    BUFFALO          NY   14202
                                                                        F
PARR, RUBY W                         6816 HILO ST                                                                                              DIAMONDHEAD      MS   39525‐3534
PARR, SHAWN M                        804 SUNSET DR                                                                                             MILTON           WI   53563‐1042
PARR, WINFORD                        830 LYON                                                                                                  FLINT            MI   48503
PARR, YVETTE M                       1220 CHARTRES ST APT 3                                                                                    NEW ORLEANS      LA   70116‐2539
PARR‐GREEN MOLD & MACHINE CO (       9107 PLEASANTWOOD AVE NW                                                                                  CANTON           OH   44720‐4765
PARR‐GREEN MOLD & MACHINE CO (INC)   9107 PLEASANTWOOD AVE NW                                                                                  CANTON           OH   44720‐4765

PARRA ABEL                           PARRA, ABEL
                           09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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Name                      Address1                           Address2                         Address3                    Address4         City                State Zip
PARRA JR, FIDEL           1226 AYERSVILLE AVE                                                                                              DEFIANCE             OH 43512‐3109
PARRA JR, MIGUEL          505 10TH ST APT 38                                                                                               SACRAMENTO           CA 95814‐0748
PARRA LAZARO              PARRA, LAZARO                      1930 E MARLTON PIKE SUITE Q29                                                 CHERRY HILL          NJ 08003
PARRA LAZARO              PEREZ, BARBARA                     KIMMEL & SILVERMAN PC            1930 E MARLTON PIKE SUITE                    CHERRY HILL          NJ 08003
                                                                                              Q29
PARRA TORRES LUIS         305 STAR ST                                                                                                      HEREFORD            TX   79045‐4525
PARRA, ADAN O             1100 S MAIN ST LOT 12                                                                                            ADRIAN              MI   49221‐4348
PARRA, ALONZO P           1910 BARNABY LAKE RD                                                                                             EUREKA              MT   59917‐9245
PARRA, CHARLES J          719 E NOTTINGHAM DR                                                                                              SAN ANTONIO         TX   78209‐3439
PARRA, CONNIE L           5025 ROE LN                                                                                                      ROELAND PARK        KS   66205‐1299
PARRA, CONNIE L           5025 ROE LANE                                                                                                    ROLAND PARK         KS   66205‐1299
PARRA, DIANE A            2901 EVENING STAR CT                                                                                             NORMAN              OK   73071‐4141
PARRA, DIEGO F            4001 LATTIGO CT                                                                                                  SPRING HILL         TN   37174‐6133
PARRA, ERNEST J           13519 YUKON AVE APT 114                                                                                          HAWTHORNE           CA   90250‐7636
PARRA, HAROLD S           20243 HARTLAND ST                                                                                                CANOGA PARK         CA   91306‐3526
PARRA, INOCENCIA C        29922 LONNIE DR                                                                                                  WESTLAND            MI   48185‐3702
PARRA, JOSE A             3503 OAKSHIRE AVE                                                                                                BERKLEY             MI   48072‐3413
PARRA, JOSEPH M           2413 SE 7TH ST                                                                                                   BLUE SPRINGS        MO   64014‐4703
PARRA, KATHLEEN A         10812 ROSE DR                                                                                                    WHITTIER            CA   90606‐1156
PARRA, LAZARO             KIMMEL & SILVERMAN PC              1930 E MARLTON PIKE SUITE Q29                                                 CHERRY HILL         NJ   08003
PARRA, LOUIS D            19304 FAITH ST                                                                                                   HOLT                MO   64048‐8876
PARRA, PAULA G            8058 S OCTAVIA AVE                                                                                               BRIDGEVIEW          IL   60455‐1513
PARRA, ROBERT             354 PALISADE AVE                                                                                                 YONKERS             NY   10703‐2908
PARRA, ROSIE              37360 27TH ST E                                                                                                  PALMDALE            CA   93550‐6431
PARRA, TONY               4929 ADAGIO CT                                                                                                   FREMONT             CA   94538‐3201
PARRA‐KELLEY, KAYE F      1552 N ARKANSAS TERRANCE                                                                                         HERNANDO            FL   34442
PARRA‐RIVERA, JOSE G      2901 EVENING STAR CT                                                                                             NORMAN              OK   73071‐4141
PARRACK MIRANDA NICOLE    PARRACK, CAROLYN                   PO BOX 2590                                                                   GEORGETOWN          SC   29442‐2590
PARRACK MIRANDA NICOLE    PARRACK, CAROLYN                   1054 MAPLE DR                                                                 MORGANTOWN          WV   26505‐2815
PARRACK MIRANDA NICOLE    PARRACK, CAROLYN                   PO BOX 5301                                                                   CHARLOTTESVILLE     VA   22905‐5301
PARRACK MIRANDA NICOLE    PARRACK, CAROLYN                   4705 SOMERS AVENUE ‐ SUITE 100                                                NORTH LITTLE ROCK   AR   72116

PARRACK MIRANDA NICOLE    PARRACK, MIRANDA NICOLE            4705 SOMERS AVENUE ‐ SUITE 100                                                NORTH LITTLE ROCK   AR 72116

PARRACK MIRANDA NICOLE    TYGART VALLEY MOTOR COMPANY INC    525 WILLIAM PENN PLACE SUITE                                                  PITTSBURGH          PA 15219
                                                             3700
PARRACK, CAROLYN          COLOMBO & STUHR PLLC               1054 MAPLE DR                                                                 MORGANTOWN          WV 26505‐2815
PARRACK, CAROLYN          TURNER & ASSOCIATES                4705 SOMERS AVENUE ‐ SUITE 100                                                NORTH LITTLE ROCK   AR 72116

PARRACK, CAROLYN          BELL J EDWARD III LAW OFFICES OF   PO BOX 2590                                                                   GEORGETOWN          SC 29442‐2590
PARRACK, CAROLYN          HEISKELL EDGAR F III               PO BOX 5301                                                                   CHARLOTTESVILLE     VA 22905‐5301
PARRACK, MIRANDA NICOLE   TURNER & ASSOCIATES                4705 SOMERS AVENUE ‐ SUITE 100                                                NORTH LITTLE ROCK   AR 72116

PARRAM, GLORIA R          130 WEST BAKER ST                                                                                                FLINT               MI   48505
PARRAM, GLORIA R          130 W BAKER ST                                                                                                   FLINT               MI   48505‐4101
PARRAM, HATTIE D          17811 INVERMERE                                                                                                  CLEVELAND           OH   44128‐1665
PARRAMORE ROSS            PARRAMORE, ROSS                    J. SCOTT NOONEY & ASSOCIATES     1680 EMERSON STREET                          JACKSONVILLE        FL   32207
PARRAMORE, ROSS           J. SCOTT NOONEY & ASSOCIATES       1680 EMERSON ST                                                               JACKSONVILLE        FL   32207‐6104
PARRAMORE, ROSS           NO ADDRESS IN FILE
PARRAN, RONALD B          5351 SECOR RD                                                                                                    IDA                 MI 48140‐9721
PARRAN, WALTER            15492 ROXBURY CIR                                                                                                MACOMB              MI 48044‐3866
PARRAS, CHRISTOS G        66 STILLWELL AVE                                                                                                 YONKERS             NY 10704‐2116
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Name                             Address1                            Address2                       Address3   Address4              City              State Zip
PARRAVANO, SHARON E              6248 TWIN OAKS                                                                                      WESTLAND           MI 48185‐9132
PARREIRA, EUSEBIO                28135 PRESTON RD                                                                                    NEWMAN             CA 95360‐9611
PARRELLA, DEBORAH J              7 STALWART DR                                                                                       NEW ARK            DE 19713‐3513
PARRELLA, DUSTIN A               2689 LEXINGTON STEAM CORNERS RD                                                                     LEXINGTON          OH 44904‐8610
PARRELLA, JAMES N                7 STALWART DR                                                                                       NEWARK             DE 19713‐3513
PARRELLA, MARIA L                283 PARK AVE W APT 2                                                                                MANSFIELD          OH 44902‐1611
PARRELLY JOSEPH III              2214 NORTHWOOD PL                                                                                   BRIGHTON           MI 48114‐9228
PARRELLY, TERRY M                36750 ORCHARD LAKE DR                                                                               NEW BALTIMORE      MI 48047‐5552
PARRELLY, THEODORE J             255 FISCHER DR                                                                                      WESTLAND           MI 48186‐3465
PARRENT, CLARA E                 811 E MUNGER RD                                                                                     MUNGER             MI 48747‐9741
PARRENT, PETER A                 5282 TOWNLINE ROAD NORTHWEST                                                                        WILLIAMSBURG       MI 49690‐9610
PARRENT, PETER T                 811 E MUNGER RD                                                                                     MUNGER             MI 48747‐9741
PARRENT, ROSE                    2525 BLOOMER DR                                                                                     ALTON               IL 62002‐5546
PARRETT TRUCKING INC             388 INDUSTRIAL PARK 300                                                                             SCOTTSBORO         AL 35769
PARRETT, ALAN V                  1130 HERMANN CT                                                                                     MILFORD            MI 48380‐3533
PARRETT, CARL P                  6343 SW LURADEL ST                                                                                  PORTLAND           OR 97219‐5741
PARRETT, DANNIE                  PO BOX 225                                                                                          GERMANTOWN         OH 45327‐0225
PARRETT, DENVER J                PO BOX 2071                                                                                         BRENTWOOD          TN 37024‐2071
PARRETT, ERMIL                   3220 DEVONSHIRE DR                                                                                  PLATTE CITY        MO 64079‐7247
PARRETT, FRANCES                 640 LINLAWN DR                                                                                      WABASH             IN 46992‐3705
PARRETT, FRANCES                 640 LINLAW DR                                                                                       WABASH             IN 46992‐3705
PARRETT, JIMMIE R                6027 S 594 W                                                                                        WARREN             IN 46792‐9799
PARRETT, KENNETH D               477 FREDERICK ST                                                                                    HUNTINGTON         IN 46750‐3208
PARRETT, MICHAEL J               1838 HUNTERS COVE CIR                                                                               KOKOMO             IN 46902‐5181
PARRETT, PAULINE R               101 PENNINE PL                                                                                      LEXINGTON          SC 29073‐7008
PARRETT, PAULINE R               101 PENNINE PLACE                                                                                   LEXINGTON          SC 29073
PARRETT, RONNIE E                18 BURGARD PL                                                                                       BUFFALO            NY 14211‐2424
PARRETT, TUCKER W                9321 N 400 W                                                                                        HUNTINGTON         IN 46750‐7902
PARRETTE, CLEO B                 19821 FLORENCE ST                                                                                   DETROIT            MI 48219‐3345
PARRIGAN, LEON                   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                    SAGINAW            MI 48604‐2602
                                                                     260
PARRILL JANICE                   PO BOX 763                                                                                          TOLONO             IL   61880‐0763
PARRILLA, KENNETH
PARRILLA, KENNETH                27 YOSEMITE VALLEY RD                                                                               WESTERLY          RI    02891‐5621
PARRILLA, MANUEL A               333 ORANGE STREET                                                                                   WYANDOTTE         MI    48192‐6223
PARRILLA, MANUEL A               333 ORANGE ST 1E                                                                                    WYANDOTTE         MI    48192
PARRILLA, MANUEL R               1559 BIRCHCREST DR                                                                                  DEARBORN          MI    48124‐4001
PARRILLA, VINCENT J              1825 PALO VERDE DRIVE                                                                               YOUNGSTOWN        OH    44514‐1228
PARRILLO DOMINIC F JR (460744)   WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                 NEW YORK          NY    10038
PARRILLO, DOMINIC F              WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                 NEW YORK          NY    10038
PARRILLO, JOHN C                 85 ELLERY AVE                                                                                       IRVINGTON         NJ    07111‐1518
PARRILLO, RALPH D                18 LAUREL PL                                                                                        FAIRFIELD         NJ    07004‐3219
PARRIMAN, FLORENCE K             6310 DENVER AVENUE                                                                                  PENSACOLA         FL    32526‐1225
PARRIMAN, FLORENCE K             495 GLEN DEAN RD                                                                                    RIVERSIDE         OH    45431‐5431
PARRIMAN, VALDA K                5691 PINNACLE RD                                                                                    MIAMISBURG        OH    45342‐1025
PARRINELLI, MARIA                VIA ST IPPOLITO NO 30               MESSINA 98070                             FRAZZANO FA ITALY
PARRINELLO, CARMELA L            270 LATTA RD UNIT 4                                                                                 ROCHESTER         NY    14612‐4872
PARRINELLO, GASPARE              68176 FRAMPTON CT                                                                                   WASHINGTON        MI    48095‐1229
PARRINELLO, MICHELLE M           49618 DECKER DR                                                                                     SHELBY TOWNSHIP   MI    48317‐1839
PARRINO, BRENT P                 2069 WHITECLIFFE DR                                                                                 ROMEOVILLE        IL    60446‐3838
PARRINO, JOHN P                  18135 PLEASANT VALLEY DR                                                                            MACOMB            MI    48044‐6119
PARRINO, LAURIE                  C/O MARILYN MCMANNING               674 CANTERBURY ROAD                                             CLEARWATER        FL    33764‐327
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Name                         Address1                        Address2                          Address3   Address4         City             State Zip
PARRIS REDNER                19495 HILLSBOROUGH BLVD                                                                       PORT CHARLOTTE    FL 33954‐2006
PARRIS, ANTHONY R            4279 WILLIAMS RD                                                                              RANSOMVILLE       NY 14131‐9751
PARRIS, BARRY P              983 WICKERTON RD                                                                              LANDENBERG        PA 19350‐1528
PARRIS, CARL E               1209 S MEEKER AVE                                                                             MUNCIE            IN 47302‐3823
PARRIS, CHARLES H            1070 INDIANWOOD RD                                                                            LAKE ORION        MI 48362‐1325
PARRIS, CHARLES W            1950 PINE VALLEY DR                                                                           MORROW            GA 30260‐2524
PARRIS, CHARLOTTE A          4100 SPEARS RD                                                                                MADISON           GA 30650
PARRIS, DAVID W              7150 6 MILE RD                                                                                NORTHVILLE        MI 48168‐9411
PARRIS, DAVID WILLIAM        7150 6 MILE RD                                                                                NORTHVILLE        MI 48168‐9411
PARRIS, EDNA S.              750 N ATLANTIC AVE APT 1205                                                                   COCOA BEACH       FL 32931‐5709
PARRIS, GLEN E               104 OSAGE WAY                                                                                 WELDON SPRING     MO 63304‐8104
PARRIS, GLORIA J             35800 E MICHIGAN AVE APT 502                                                                  WAYNE             MI 48184‐1646
PARRIS, HOYT J               7138 BLACKS BLUFF RD SW                                                                       CAVE SPRING       GA 30124‐2110
PARRIS, JOHN R               3220 E FAIRVIEW RD SW                                                                         STOCKBRIDGE       GA 30281‐5604
PARRIS, JOSIE M              86 FROST AVE                                                                                  ROCHESTER         NY 14608‐2519
PARRIS, LEAMON E             1275 MCLENDON DR                                                                              DECATUR           GA 30033‐3919
PARRIS, LESLIE               PO BOX 68                                                                                     HARRISONVILLE     MO 64701‐0068
PARRIS, LESLIE R             45 MANOR PKWY APT A                                                                           ROCHESTER         NY 14620
PARRIS, LESLIE R             8 BARTLETT ST                                                                                 ROCHESTER         NY 14608
PARRIS, LEWIS                PO BOX 71737                                                                                  MADISON HTS       MI 48071‐0737
PARRIS, PAUL H               8109 E 92ND                                                                                   KANSAS CITY       MO 64138
PARRIS, PHILLIP E            193 SCOTT DR                                                                                  ANDERSON          IN 46016‐5840
PARRIS, RALPH L              6107 CATBIRD AVE                                                                              FORT WAYNE        IN 46818‐2538
PARRIS, ROGER A              809 OAK TRL                                                                                   CANTON            MS 39046‐9479
PARRIS, ROGER D              791 CAMPBELL RD                                                                               CEDARTOWN         GA 30125
PARRIS, RONALD L             115 COUNTY ROAD 1431                                                                          VINEMONT          AL 35179‐7985
PARRIS, RUBY O               35225 TALL OAKS DR                                                                            STERLING HTS      MI 48312‐3629
PARRIS, SHERRY E             107 E 26TH ST                                                                                 MUNCIE            IN 47302‐5605
PARRIS, THELMA J             531 SHERWOOD CIR                                                                              CHESTER           SC 29706‐2183
PARRIS, ULYSEES              86 FROST AVE                                                                                  ROCHESTER         NY 14608‐2519
PARRIS, WILLIAM F            4100 SPEARS RD                                                                                MADISON           GA 30650‐5129
PARRISH BROWN                34 PORTAGE ST                                                                                 PONTIAC           MI 48341‐1636
PARRISH DONALD J (347300)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510
                                                             STREET, SUITE 600
PARRISH DOYLE W (355988)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510
                                                             STREET, SUITE 600
PARRISH II, THOMAS W         6976 RYNN RD                                                                                  CLYDE            MI   48049‐4116
PARRISH II, THOMAS WILLIAM   6976 RYNN RD                                                                                  CLYDE            MI   48049‐4116
PARRISH JIM D (634716)       BRAYTON PURCELL                 PO BOX 6169                                                   NOVATO           CA   94948‐6169
PARRISH JOE J (626702)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA   23510
                                                             STREET, SUITE 600
PARRISH JR, CARL L           695 S COURT ST                                                                                MEDINA           OH   44256‐2613
PARRISH JR, JAMES I          4521 LAWRENCEVILLE HWY                                                                        TUCKER           GA   30084‐3706
PARRISH JR, JOHN W           419 N MAIN ST                                                                                 UNION            OH   45322‐9744
PARRISH JR, ROBERT L         8118 PRESCOTT GLEN PKWY                                                                       WAXHAW           NC   28173‐6930
PARRISH JR, THOMAS E         24311 LYNWOOD DR                                                                              NOVI             MI   48374‐2839
PARRISH KRYSTAL              PARRISH, KRYSTAL                PO BOX 2007                                                   CROSS CITY       FL   32628‐2007
PARRISH LOWE (310170)        HOWARD GEORGE W III P.C.        1608 WALNUT STREET , 17TH FLOOR                               PHILADELPHIA     PA   19103

PARRISH MAY, ANNA M          887 N CLINTON TRL                                                                             CHARLOTTE        MI 48813‐9784
PARRISH MCINTYRE             3833 MOGADORE INDUSTRIAL PKWY                                                                 MOGADORE         OH 44260‐1216
PARRISH MCINTYRE             401 S MAIN ST                                                                                 AKRON            OH 44311‐1015
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Name                                  Address1                         Address2                        Address3   Address4         City            State Zip
PARRISH MOTOR CO., INC.               FRANCIS FORD                     205 N FRASER ST                                             GEORGETOWN       SC 29440‐3257
PARRISH MOTOR CO., INC.               205 N FRASER ST                                                                              GEORGETOWN       SC 29440‐3257
PARRISH N BROWN                       34 PORTAGE ST                                                                                PONTIAC          MI 48341‐1636
PARRISH NORMAN B (469522)             ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                  BALTIMORE        MD 21202
                                                                       CHARLES CENTER 22ND FLOOR
PARRISH PAMELA                        1340 BALMORAL DR                                                                             DETROIT         MI 48203‐1779
PARRISH ROBERT E (439391)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                                       STREET, SUITE 600
PARRISH SR, RONALD E                  2502 ALBION AVE                                                                              BALTIMORE       MD 21214‐2525
PARRISH T EARLEY                      3237 GARVIN RD                                                                               DAYTON          OH 45405‐2102
PARRISH THOMAS (ESTATE OF) (492646)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
PARRISH VIRGIL LEROY                  3109 SE 56TH ST                                                                              OKLAHOMA CITY   OK    73135‐1621
PARRISH WILLIAM M (431659)            HAINES BRUCE S                   ONE LOGAN SQUARE                                            PHILADELPHIA    PA    19103
PARRISH, ALBERT B                     PO BOX 858                                                                                   EVART           MI    49631‐0858
PARRISH, ALBERTA E                    4457 LAVISTA RD                                                                              TUCKER          GA    30084‐5429
PARRISH, ALIENE                       3935 11TH ST                                                                                 VERO BEACH      FL    32960‐4031
PARRISH, ALLEN L                      3460 RALSTON AVE                                                                             INDIANAPOLIS    IN    46218‐1053
PARRISH, BARBARA J                    5217 LONGHORN TRL                                                                            GARLAND         TX    75043‐3516
PARRISH, BETTIE J                     12726 EDMONTON                                                                               CLEVELAND       OH    44108‐2518
PARRISH, BETTY J                      14881 MONA AVE                                                                               WARREN          MI    48089‐2118
PARRISH, BETTY J                      270 SCHAEFFER LOOP                                                                           EADS            TN    38028‐3714
PARRISH, BETTY R                      118 N 8TH ST                                                                                 MIDDLETOWN      IN    47356‐1306
PARRISH, BRENDA L                     82 PLYMOUTH AVE                                                                              BUFFALO         NY    14201‐1212
PARRISH, BUDDY J                      6253 SOUTHER FARM DR                                                                         BLAIRSVILLE     GA    30512‐7469
PARRISH, CARL R                       14075 WEST 141ST TERRACE                                                                     OLATHE          KS    66062‐5869
PARRISH, CAROLYN S                    262 KNOB HILL RD                                                                             MERIDEN         CT    06451‐4969
PARRISH, CATHY J                      3407 PINE TREE DR                                                                            EDGEWATER       FL    32141‐6602
PARRISH, CHARLENE                     4617 16TH STREET                                                                             WYANDOTTE       MI    48192‐7020
PARRISH, CHARLENE                     4617 16TH ST                                                                                 WYANDOTTE       MI    48192‐7020
PARRISH, CHARLES D                    2515 S BLACKS CORNERS RD                                                                     IMLAY CITY      MI    48444‐9722
PARRISH, CHARLES H                    3561 OAKMONTE BLVD                                                                           ROCHESTER       MI    48306‐4790
PARRISH, CHARLES M                    9611 SHADOW GLEN CV                                                                          CORDOVA         TN    38016
PARRISH, CONSTANCE M                  4118 MURFIELD DR E                                                                           BRADENTON       FL    34203‐4092
PARRISH, CURTIS                       6994 BROADWAY APT 2A                                                                         MERRILLVILLE    IN    46410‐3896
PARRISH, CYNTHIA A                    234 W. JEFFERSON ST                                                                          TIPTON          IN    46072
PARRISH, DAILEY                       4868 DODGE RD                                                                                CASS CITY       MI    48726‐9481
PARRISH, DALE A                       7651 33 MILE RD                                                                              BRUCE TWP       MI    48065‐3609
PARRISH, DALE ALAN                    7651 33 MILE RD                                                                              BRUCE TWP       MI    48065‐3609
PARRISH, DALE G                       38348 TYLER RD                                                                               ROMULUS         MI    48174‐1387
PARRISH, DALE GREGORY                 38348 TYLER RD                                                                               ROMULUS         MI    48174‐1387
PARRISH, DAREN L                      2778 CLEARBROOK ST                                                                           MEMPHIS         TN    38118‐2406
PARRISH, DAVID E                      4125 ELMWOOD RD                                                                              CASS CITY       MI    48726‐9460
PARRISH, DAVID R                      9137 SOMERSET DR                                                                             BARKER          NY    14012‐9688
PARRISH, DEANNE M                     140 CHARIT WAY                                                                               ROCHESTER       NY    14626‐1116
PARRISH, DONALD D                     1452 CANYON DR                                                                               JANESVILLE      WI    53546‐1343
PARRISH, DONALD E                     3230 DEAN RD                                                                                 LAMBERTVILLE    MI    48144‐9614
PARRISH, DONALD EUGENE                3230 DEAN RD                                                                                 LAMBERTVILLE    MI    48144‐9614
PARRISH, DONALD J                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA    23510‐2212
                                                                       STREET, SUITE 600
PARRISH, DONALD J                     7333 W 500 N                                                                                 FRANKTON         IN   46044‐9539
PARRISH, DONALD K                     602 NORTH 13TH STREET                                                                        MIDDLETOWN       IN   47356
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Name                   Address1                         Address2                      Address3                    Address4         City             State Zip
PARRISH, DONALD K      20100 ZIMMERMAN DR                                                                                          HILLMAN           MI 49746‐7912
PARRISH, DONALD K      602 N 13TH ST                                                                                               MIDDLETOWN        IN 47356‐1273
PARRISH, DONALD S      28 SAPPHIRE ST                                                                                              WEST MELBOURNE    FL 32904‐1990
PARRISH, DONALD W      4221 MYRTLE AVE                                                                                             CINCINNATI        OH 45236‐2409
PARRISH, DOYLE W       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA 23510
                                                        STREET, SUITE 600
PARRISH, EARL M        26019 WEXFORD DR                                                                                            WARREN           MI   48091‐1034
PARRISH, EDDIE         127 DAMON ST                                                                                                FLINT            MI   48505‐3725
PARRISH, ELIZABETH J   241 W GRAND AVE                  APT 406                                                                    BELOIT           WI   53511
PARRISH, ELLA J        4023 ROLLING OAKS DR                                                                                        WINTER HAVEN     FL   33880‐1636
PARRISH, ELMER D       32303 NORWOOD DR                                                                                            WARREN           MI   48092‐3221
PARRISH, ELMER DAVID   32303 NORWOOD DRIVE                                                                                         WARREN           MI   48092‐3221
PARRISH, ERNEST E      32092 CAREY RD                                                                                              SALEM            OH   44460‐9559
PARRISH, ESTEL E       3244 W LYNDON AVE                                                                                           FLINT            MI   48504‐6913
PARRISH, EVERETT E     3805 GARDENVIEW PL                                                                                          DAYTON           OH   45429‐4516
PARRISH, GAIL P        8421 ROBINDALE AVE                                                                                          DEARBORN HTS     MI   48127‐1210
PARRISH, GAROLD M      1725 BEECH DR S                                                                                             PLAINFIELD       IN   46168‐2141
PARRISH, GERALD W      5006 HOLLOW CORNERS ROAD                                                                                    DRYDEN           MI   48428‐9723
PARRISH, GERALDINE     32 KESWICK AVE                                                                                              EWING            NJ   08638‐2834
PARRISH, GERALDINE M   717 WALDSMITH WAY                                                                                           VANDALIA         OH   45377‐8605
PARRISH, IRENE A       900 AQUA ISLES BLVD LOT A40                                                                                 LABELLE          FL   33935‐4383
PARRISH, JACK D        2215 MOCKINGBIRD DR                                                                                         ROUND ROCK       TX   78681‐2709
PARRISH, JACKSON W     3306 N DEQUINCY ST                                                                                          INDIANAPOLIS     IN   46218‐2345
PARRISH, JAMES A       135 W FACTORY RD                                                                                            SPRINGBORO       OH   45066‐1233
PARRISH, JAMES D       463 MCKINLEY AVE                                                                                            MORRISVILLE      PA   19067‐2339
PARRISH, JAMES E       1077 STANWICK DR                                                                                            DAYTON           OH   45430‐1133
PARRISH, JAMES H       4690 GREENLEAF CIR SW                                                                                       ATLANTA          GA   30331‐7142
PARRISH, JAMES K       705 APPLEWOOD DR                                                                                            NEW CARLISLE     OH   45344‐1144
PARRISH, JAMES M       112 WASHINGTON AVE                                                                                          WILMINGTON       DE   19805‐1341
PARRISH, JAMES R       1201 36TH ST                                                                                                EDGEWATER        FL   32141‐6711
PARRISH, JANICE D      913 PARK AVE                                                                                                ANDERSON         IN   46012‐4010
PARRISH, JEANETTE      BRAYTON PURCELL                  PO BOX 6169                                                                NOVATO           CA   94948‐6169
PARRISH, JERRY J       807 W 54TH ST                                                                                               MARION           IN   46953‐5727
PARRISH, JERRY L       29226 WHISPER CT                                                                                            ROMULUS          MI   48174‐3021
PARRISH, JIM D         BRAYTON PURCELL                  PO BOX 6169                                                                NOVATO           CA   94948‐6169
PARRISH, JIMMIE L      35 S ALEXANDER ST                                                                                           DANVILLE         IL   61832‐6401
PARRISH, JOE J         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA   23510
                                                        STREET, SUITE 600
PARRISH, JOHN          6 S COVENTRY DR                                                                                             ANDERSON         IN   46012‐3213
PARRISH, JOHN          500 SPRING LN                                                                                               COLUMBIA         TN   38401‐2252
PARRISH, JOHN D        5011 PRATT RD                                                                                               METAMORA         MI   48455‐9634
PARRISH, JOHN K        670 LA SALLE DR                                                                                             DAYTON           OH   45408‐1521
PARRISH, JOHN V        VILLA MOTEL                      SUITE 31                      1875 ROUTE 9 ‐ N. AUSABLE                    KEESEVILLE       NY   12944
                                                                                      ST.
PARRISH, JOHN W.       6 S COVENTRY DR                                                                                             ANDERSON         IN   46012‐3213
PARRISH, JOHNNY M      34352 CLINTON PLAZA DR                                                                                      CLINTON TWP      MI   48035‐3343
PARRISH, JOSEPH R      6366 CHRISTY RD                                                                                             DEFIANCE         OH   43512‐9611
PARRISH, JOSEPH S      120 CEDAR DR                                                                                                WEST MILTON      OH   45383
PARRISH, JOYCE L       415 STONE CREST AVE                                                                                         BOWLING GREEN    KY   42101‐8868
PARRISH, JR., CARL W   3745 FENNER RD                                                                                              NORTH MUSKEGO    MI   49445
PARRISH, JR.,CARL W    3745 FENNER RD                                                                                              NORTH MUSKEGON   MI   49445‐1831
PARRISH, JULIA         3611 BRADFORD CT APT D                                                                                      KOKOMO           IN   46902‐3497
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Name                  Address1                         Address2                         Address3   Address4         City               State Zip
PARRISH, JUNG S       22 MONTCLAIR                                                                                  IRVINE              CA 92602‐1006
PARRISH, KENNETH I    87 PINE ST                                                                                    DECATUR             AL 35603‐6220
PARRISH, KENNETH R    1028 S WAGGONER RD                                                                            PARAGON             IN 46166‐9582
PARRISH, KRYSTAL      PO BOX 2212                                                                                   CROSS CITY          FL 32628‐2212
PARRISH, KRYSTAL      LANDER JOSEPH                    PO BOX 2007                                                  CROSS CITY          FL 32628‐2007
PARRISH, LAURINDA M   1282 MACKINTOSH PARK NW                                                                       ATLANTA             GA 30318‐4172
PARRISH, LEWIS W      31704 FOLKSTONE CT                                                                            FARMINGTON          MI 48336
PARRISH, LOWE         HOWARD GEORGE W III P.C.         1608 WALNUT STREET, 17TH FLOOR                               PHILADELPHIA        PA 19103

PARRISH, MARGIE       3737 HIGHLAND AVE APT #612                                                                    DOWNERS GROVE      IL   60515
PARRISH, MARILYNDIA   815 KENILWORTH AVE                                                                            PONTIAC            MI   48340‐3103
PARRISH, MARTHA A     14075 W 141 TERRACE                                                                           OLATHE             KS   66062
PARRISH, MARY E       538 UNGER AVE                                                                                 ENGLEWOOD          OH   45322‐2027
PARRISH, MELANIE M    407 NIES AVE                                                                                  ENGLEWOOD          OH   45322‐2009
PARRISH, MINNIE L     164 MILLCREEK DR                                                                              CHESTERFIELD       IN   46017‐1702
PARRISH, MONTE R      RT 1 BOX 1616A                                                                                ODESSA             MO   64076
PARRISH, MORRIS H     PO BOX 114                                                                                    DEFIANCE           OH   43512‐0114
PARRISH, NANCY A      51 DUNLOP AVE                                                                                 TONAWANDA          NY   14150‐7808
PARRISH, NANCY A      51 DUNLOP ST                                                                                  TONAWANDA          NY   14150‐7808
PARRISH, NANCY L      13444 JENNIFER DR                                                                             PERRY              MI   48872‐8113
PARRISH, NORMAN B     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                    BALTIMORE          MD   21202
                                                       CHARLES CENTER 22ND FLOOR
PARRISH, OSCAR        NIX PATTERSON & ROACH            205 LINDA DR                                                 DAINGERFIELD       TX   75638‐2107
PARRISH, PAMELA T     1340 BALMORAL DR                                                                              DETROIT            MI   48203‐1779
PARRISH, PEGGY SUE    3260 N 145 HWY APT 6A                                                                         TUPELO             MS   38804
PARRISH, PHILLIP M    4352 N JENNINGS RD                                                                            FLINT              MI   48504‐1306
PARRISH, RAYMOND E    2204 19 MILE RD                                                                               BARRYTON           MI   49305‐9729
PARRISH, RICHARD A    3154 E 100 S                                                                                  ANDERSON           IN   46017‐9639
PARRISH, ROBERT       5627 MESA VERDE TRL                                                                           WHITE LAKE         MI   48383‐4020
PARRISH, ROBERT A     4232 WHITE OAK DR                                                                             DAYTON             OH   45432‐1850
PARRISH, ROBERT E     750 SPENCER LN                                                                                LINDEN             MI   48451‐8507
PARRISH, ROBERT E     1804 BELLER ROAD                                                                              WOODRIDGE          IL   60517‐4606
PARRISH, ROBERT E     9781 CAMINITO DEL MARFIL                                                                      SAN DIEGO          CA   92124
PARRISH, ROBERT E     939 SPRING ST                                                                                 LANCASTER          OH   43130‐4764
PARRISH, ROBERT E     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                       STREET, SUITE 600
PARRISH, ROBERT H     4830 W KENT RD                                                                                SAINT LOUIS        MI   48880‐9335
PARRISH, ROBERT L     5465 FARMHILL RD                                                                              FLINT              MI   48505
PARRISH, ROBERT L.    PO BOX 402                                                                                    BELDEN             MS   38826‐0402
PARRISH, ROBERT W     98 SOMERVILLE AVE                                                                             TONAWANDA          NY   14150
PARRISH, ROGER EARL
PARRISH, ROSETTA E    PO BOX 142                                                                                    GOSPORT            IN   47433‐0142
PARRISH, ROY D        17624 SE 117TH CIR                                                                            SUMMERFIELD        FL   34491‐7860
PARRISH, ROY L        13651 2ND AVE NE                                                                              BRADENTON          FL   34212‐2726
PARRISH, RUSSELL S    5052 SHARP RD                                                                                 PALMYRA            MI   49268‐9754
PARRISH, RUTH IRENE   368 2ND ST                                                                                    ROMEO              MI   48065‐4800
PARRISH, SAMUEL E     PO BOX 653                                                                                    BRANDON            MS   39043‐0653
PARRISH, SCOTT E      21186 PARKLANE ST                                                                             FARMINGTON HILLS   MI   48335‐4419
PARRISH, SHAMEEKA     903 AUTUMN WOOD CIR                                                                           COLUMBIA           TN   38401‐8319
PARRISH, SHIRLEY J    3163 N CO RD ‐ 300 E                                                                          KOKOMO             IN   46901
PARRISH, STEPHEN M    2519 CENTENNIAL FALCON DR                                                                     VALRICO            FL   33596‐6310
PARRISH, STEPHON      1347 CHIPPENDALE CIR # A                                                                      COLUMBIA           TN   38401‐7206
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Name                       Address1                      Address2                Address3     Address4         City                 State Zip
PARRISH, STEVE L           1001 NORTH 13TH STREET                                                              SAINT JOSEPH          MO 64501‐1421
PARRISH, STEVE L           546 DIPERT CT                                                                       ARLINGTON             TX 76012
PARRISH, STEVEN C          211 VINE ST                                                                         SADIEVILLE            KY 40370‐9732
PARRISH, SYBIL             3105 STATE ROUTE 133                                                                BETHEL                OH 45106‐8323
PARRISH, SYBIL             3105 S R 133                                                                        BETHEL                OH 45106‐8323
PARRISH, TANAE N           2778 CLEARBROOK STREET                                                              MEMPHIS               TN 38118‐2406
PARRISH, TERRI R           5176 RUCKS RD                                                                       DAYTON                OH 45427‐2119
PARRISH, THOMAS D          9475 SPRUCEDALE DR                                                                  FLUSHING              MI 48433‐1033
PARRISH, THOMAS F          1140 LAKEPOINTE ST                                                                  GROSSE POINTE PARK    MI 48230‐1320
PARRISH, THOMAS M          9475 SPRUCEDALE DR                                                                  FLUSHING              MI 48433‐1033
PARRISH, THOMAS W          PO BOX 157                                                                          WALES                 MI 48027‐0157
PARRISH, TOMMIE E          106 BELAIRE CT                                                                      MATAWAN               NJ 07747‐1130
PARRISH, VIRGIL L          3109 SE 56TH ST                                                                     OKLAHOMA CITY         OK 73135‐1621
PARRISH, VIRGIL LEROY      3109 SE 56TH ST                                                                     OKLAHOMA CITY         OK 73135‐1621
PARRISH, VIRGINIA A        3970 E CEDAR LAKE DR                                                                GREENBUSH             MI 48738‐9723
PARRISH, WENDELL L         PO BOX 167                                                                          ALAPAHA               GA 31622‐0167
PARRISH, WILBUR F          308 OAKDALE LN                                                                      SPARTA                TN 38583‐5559
PARRISH, WILLIAM           HAINES BRUCE S                ONE LOGAN SQUARE                                      PHILADELPHIA          PA 19103‐6933
PARRISH, WILLIAM G         415 STONE CREST AVE                                                                 BOWLING GREEN         KY 42101‐8868
PARRISH, WILLIAM GRIFFIE   415 STONE CREST AVE                                                                 BOWLING GREEN         KY 42101‐8868
PARRISH, WILLIELEE         15400 W 7 MILE RD             APT 308                                               DETROIT               MI 48235‐2086
PARRISH, WILLIELEE         15400 W 7 MILE RD APT 308                                                           DETROIT               MI 48235‐2086
PARRISH, WYATT D           1435 NICHOLS RD                                                                     SWARTZ CREEK          MI 48473‐9750
PARRISH, YOKO T            122 CLAREMONT AVE                                                                   ANDERSON              IN 46011‐1302
PARRISH, YOKO T            122 CLAREMONT                                                                       ANDERSON              IN 46011‐1302
PARRISH‐MCINTYRE           1725 E MARKET ST                                                                    AKRON                 OH 44305‐4212
PARRISKI, IRENE            1231 LEMON BAY DR                                                                   VENICE                FL 34293‐6156
PARROCK, EDWIN             1924 OLD FARM TRAIL                                                                 AUSTINTOWN            OH 44515‐4515
PARRON IRELAND             6715 LARKWOOD CT                                                                    INDIANAPOLIS          IN 46241‐1089
PARRONE, GARY P            9195 TWIN LAKES CT                                                                  WHITE LAKE            MI 48386‐4503
PARROT, CHARLOTTE L        4791 BRUNK DR                                                                       OTTER LAKE            MI 48464‐9755
PARROTT ALLEN              2508 N QUEEN ST                                                                     KINSTON               NC 28501‐1631
PARROTT JR, COURTNEY R     # 118                         5216 PINE AIRES DRIVE                                 STERLING HTS          MI 48314‐1346
PARROTT, AUBREY M          1510 S BASCOM AVE APT 106                                                           CAMPBELL              CA 95008‐0622
PARROTT, BARBARA G         2822 N MILL PL                                                                      BOWLING GREEN         KY 42104‐4489
PARROTT, BERNARD J         5292 BEECHER RD                                                                     FLINT                 MI 48532‐2201
PARROTT, BEVERLY           RR 1 BOX 285                                                                        ENDEAVOR              WI 53930
PARROTT, CRYSTAL A         13441 HUISACHE WAY                                                                  HELOTES               TX 78023‐3607
PARROTT, DANA D            PO BOX 421337                                                                       INDIANAPOLIS          IN 46242‐1337
PARROTT, DAVID L           4445 ADAMS CIR                                                                      ACWORTH               GA 30101‐5211
PARROTT, DONALD D          3302 W MOORESVILLE RD                                                               INDIANAPOLIS          IN 46221‐2246
PARROTT, DONALD F          3250 WALTON BLVD APT 212                                                            ROCHESTER HLS         MI 48309‐1280
PARROTT, DONALD R          12919 N CRESCENT CT                                                                 CAMBY                 IN 46113‐8423
PARROTT, DONNA J           2932 CLEARWATER ST NW                                                               WARREN                OH 44485‐2214
PARROTT, EDDIE D           595 BURDICK SCHOOL RD                                                               CAMPBELLSVILLE        KY 42718‐8354
PARROTT, ELEANOR R         3323 COUNTY RD 490                                                                  LUZERNE               MI 48636‐8724
PARROTT, ELEANOR R         3323 COUNTY ROAD 490                                                                LUZERNE               MI 48636‐8724
PARROTT, EVERETT W         14341 SHAFTSBURG RD                                                                 PERRY                 MI 48872‐8162
PARROTT, GLENN L           2228 AILESWOOD CT                                                                   SAINT LOUIS           MO 63129‐3607
PARROTT, GRACE H           1750 CRESTVIEW ST                                                                   KINSTON               NC 28504‐9186
PARROTT, ISABEL            6160 PICKETTS RDG NW                                                                ACWORTH               GA 30101‐4373
PARROTT, JAMES L           PO BOX 99                                                                           CALEDONIA             MO 63631‐0099
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Name                            Address1                          Address2                        Address3   Address4             City                 State Zip
PARROTT, JAMES L                PO BOX 3488                                                                                       CENTER LINE           MI 48015‐0488
PARROTT, JAMES LEE              PO BOX 3488                                                                                       CENTER LINE           MI 48015‐0488
PARROTT, JAMES R                4180 SHELDON RD                                                                                   ROCHESTER             MI 48306‐1841
PARROTT, JAMES W                737 BARNES CRESCENT                                                          WINDSOR ON N9E 3E5
                                                                                                             CANADA
PARROTT, JASON W                23 N CHERRYWOOD AVE                                                                               DAYTON               OH   45403‐1723
PARROTT, JASON W                656 SUNSET BLVD                                                                                   MANSFIELD            OH   44907
PARROTT, JOHN J                 3714 MIDDLE RIVER AVE                                                                             BALTIMORE            MD   21220‐4334
PARROTT, JOHN W                 PO BOX 4417                                                                                       MONROE               LA   71211
PARROTT, JOHN WALTER            DIMOS BROWN ERSKINE BURKETT &     1216 STUBBS AVE                                                 MONROE               LA   71201‐5622
                                GARNER LLP
PARROTT, JOHN WALTER            BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                                   DALLAS               TX   75219
PARROTT, JOHN WALTER            BARON & BUDD PC                   9015 BLUEBONNET BLVD                                            BATON ROUGE          LA   70810‐2812
PARROTT, JOHNNY S               8106 LAKESIDE CT APT 1B                                                                           FORT WAYNE           IN   46816
PARROTT, JULIE ANN              PO BOX 304                                                                                        BALDWIN              MI   49304‐0304
PARROTT, KENNETH A              19901 PARKSIDE ST                                                                                 ST CLAIR SHRS        MI   48080‐3366
PARROTT, KENNETH G              2165 W HEATHER LN                                                                                 CEDAR CITY           UT   84720‐1843
PARROTT, LARRY W                16643 LOG CABIN ST                                                                                DETROIT              MI   48203‐2541
PARROTT, LINDA S                1458 MINCO WAY                                                                                    NEWPORT              TN   37821‐9211
PARROTT, MARVIN C               8343 BELLARINE DR                                                                                 SHELBY TWP           MI   48316‐3609
PARROTT, MITCHELL J             4330 MERRYDALE AVE                                                                                DAYTON               OH   45431‐1819
PARROTT, MYRNA                  10787 WHIPPOORWILL LN                                                                             INDIANAPOLIS         IN   46231
PARROTT, NICHOLAS ANDREW        1314 HIRA ST                                                                                      WATERFORD            MI   48328‐1518
PARROTT, ORVILLE L              9217 E BASELINE RD                                                                                WHITE CLOUD          MI   49349‐9548
PARROTT, PATRICK D              5304 BEECHER RD                                                                                   FLINT                MI   48532‐2201
PARROTT, RICHARD A              8528 THENDARA BLVD                                                                                CLARKSTON            MI   48348
PARROTT, RICHARD C              APT 9                             4224 WEST CENTRAL AVENUE                                        OTTAWA HILLS         OH   43606‐2209
PARROTT, ROBERT                 ICO THE LANIER LAW FIRM PC        6810 FM 1960 WEST                                               HOUSTON              TX   77069
PARROTT, ROBERT D               122 WELCOME WAY BLVD W APT 107D                                                                   INDIANAPOLIS         IN   46214‐3059
PARROTT, RONALD S               2550 CEDAR RUN RD                                                                                 MIO                  MI   48647‐8719
PARROTT, SALLIE C               12919 N CRESCENT CT                                                                               CAMBY                IN   45113‐8423
PARROTT, SALLIE C               2644 WOODROW AVE                                                                                  INDIANAPOLIS         IN   46241‐5628
PARROTT, SANDRA K               8528 THENDARA BLVD                                                                                CLARKSTON            MI   48348‐3356
PARROTT, STANLEY M              19 DOOLITTLE DR                                                                                   DAYTON               OH   45431‐1343
PARROTT, THOMASINE F            12 CATALPA CT                                                                                     BALTIMORE            MD   21209‐4612
PARROTT, TIMOTHY I              8007 KOVACS DR                                                                                    LINDEN               MI   48451‐8760
PARROTT, WALTER J               537 VINE LN                                                                                       AMHERST              NY   14228‐1851
PARROTT, WALTER JAMES           537 VINE LN                                                                                       AMHERST              NY   14228‐1851
PARROTT, WARREN C               6128 ARDEN AVE                                                                                    WARREN               MI   48092‐1204
PARROTT, WILLIAM J              521 PEARL CT                                                                                      HALE                 MI   48739‐9162
PARROTT, WILLIAM J              4791 BRUNK DR                                                                                     OTTER LAKE           MI   48464‐9755
PARROTT, WILLIAM K              5710 DAPPLE TRCE                                                                                  INDIANAPOLIS         IN   46228‐1693
PARROTT, WILLIAM R              246 HIGH CLIFF RD                                                                                 JELLICO              TN   37762‐4649
PARROTTA ANTONIO                VIA T CLAUDIO N 18‐38023 CLES                                                TRENTO ITALY
PARROTTE, CHARLES B             8049 LINCOLN ST                                                                                   TAYLOR               MI   48180‐2460
PARROTTE, DAVID H               2445 OAKLANE ST SW                                                                                WYOMING              MI   49519‐3129
PARROTTINO, ANTHONY M           2740 CORAL DR                                                                                     TROY                 MI   48085‐3908
PARROTTINO, ANTHONY M           3370 BURNING BUSH RD                                                                              BLOOMFIELD VILLAGE   MI   48301‐2166
PARROTTINO, LOUIS A             7992 PURITAN DR APT A                                                                             MENTOR               OH   44060‐9353
PARROW, MICHAEL J               25828 MARITIME CIR S                                                                              HARRISON TOWNSHIP    MI   48045‐3075
PARRY & ROMANI ASSOCIATES INC   517 C ST NE                                                                                       WASHINGTON           DC   20002‐5809
PARRY ANNETTE                   104 WILLOWMERE CIR                                                                                HUNTSVILLE           AL   35806‐4217
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Name                                Address1                          Address2                           Address3   Address4         City               State Zip
PARRY BROWN                         1812 WARNER AVE                                                                                  MINERAL RIDGE       OH 44440‐9564
PARRY C BROWN                       1812 WARNER AVE                                                                                  MINERAL RIDGE       OH 44440‐9564
PARRY DARRIN & SUSAN                3400 NEWTON FALLS RD                                                                             DIAMOND             OH 44412‐9630
PARRY JOHN C (ESTATE OF) (456985)   ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                     BALTIMORE           MD 21202
                                                                      CHARLES CENTER 22ND FLOOR
PARRY PARRY & GLEN                  1516 SE 20TH CT                                                                                  CAPE CORAL          FL   33990‐3824
PARRY STREET ASSOC.
PARRY, BERNARD E                    4 MILES AVE                                                                                      FAIRPORT           NY    14450‐2416
PARRY, CHARLES D                    PO BOX 4                                                                                         ALVERTON           PA    15612‐0004
PARRY, DONALD I                     5502 ROWLEY BLVD                                                                                 WATERFORD          MI    48329‐3243
PARRY, DORA                         3234 SOUTHWAY DR                                                                                 SANBORN            NY    14132
PARRY, EUGENE M                     19620 N 25TH PL                                                                                  PHOENIX            AZ    85050‐1904
PARRY, HOWARD M                     PO BOX 1227                                                                                      DUNDEE             FL    33838‐1227
PARRY, JANICE K                     215 SARATOGA WAY                                                                                 ANDERSON           IN    46013‐4775
PARRY, JEFFREY R                    7056 SHAFFER RD NW                                                                               WARREN             OH    44481‐9408
PARRY, JEFFREY S                    PO BOX 98                                                                                        GRAND BLANC        MI    48480
PARRY, JOHN C                       ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                      BALTIMORE          MD    21202
                                                                      CHARLES CENTER 22ND FLOOR
PARRY, JOHN R                       922 SHERWOOD CT                                                                                  DEPEW              NY    14043‐2121
PARRY, JOSEPH E                     273 BRISCOE BLVD                                                                                 WATERFORD          MI    48327‐2404
PARRY, NORMAN J                     PO BOX 2405                                                                                      YOUNGSTOWN         OH    44509‐0405
PARRY, RICHARD S                    6200 W. WELCOME RD                                                                               HILLSBORO          OH    45133‐6964
PARRY, RICHARD S                    6200 WELCOME RD                                                                                  HILLSBORO          OH    45133‐6964
PARRY, RICHARD W                    1516 SE 20TH CT                                                                                  CAPE CORAL         FL    33990‐3824
PARRY, RICHARD W                    2349 S TERM ST                                                                                   BURTON             MI    48519‐1032
PARRY, RICHARD WILLIAM              2349 S TERM ST                                                                                   BURTON             MI    48519‐1032
PARRY, RYAN
PARRY, STEPHEN                      7347 MARKAL DR                                                                                   MIDDLEBRG HTS      OH    44130‐5360
PARRY, STEPHEN A                    58250 SALEM DR                                                                                   WASHINGTN TWP      MI    48094‐2748
PARRY, TERRY E                      2658 GROVENBURG RD                                                                               LANSING            MI    48911‐6400
PARRY, THOMAS N                     121 WILSON AVE                                                                                   NILES              OH    44446‐1930
PARRY, TIMOTHY J                    1634 STILLWAGON RD                                                                               NILES              OH    44446‐4435
PARRY, WILLIAM T                    234 AMITY RD                                                                                     GLENSHAW           PA    15116‐1043
PARRY‐HILL, JEROME                  PO BOX 203                                                                                       SAND LAKE          NY    12153‐0203
PARS                                1525 YEATMANS STATION RD                                                                         LANDENBERG         PA    19350‐9361
PARS INTERNATIONAL CORP             253 W 35TH ST FL 7                                                                               NEW YORK           NY    10001‐1907
PARSACA, JAMES E                    PO BOX 15704                                                                                     LAS VEGAS          NV    89114‐5704
PARSAGHIAN ROBERT                   5328 PINEWOOD DR                                                                                 FLUSHING           MI    48433‐2440
PARSAGHIAN, ROBERT                  5328 PINEWOOD DR                                                                                 FLUSHING           MI    48433‐2440
PARSCOMP SYSTEMS INC                81 MARYKNOLL RD                                                                                  METUCHEN           NJ    08840‐2849
PARSE ROBERT (446847)               CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH    44115
                                    GAROFOLI                          FL
PARSE, ROBERT                       CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                CLEVELAND          OH 44115
                                    GAROFOLI                          FL
PARSEGHIAN, BERDJOUHI               727 CHESTNUT PL                                                                                  FRANKLIN LKS       NJ    07417‐1724
PARSELL DONALD                      8023 WINCHESTER GRADE RD                                                                         BERKELEY SPRINGS   WV    25411‐3935
PARSELL JR, ROBERT A                6211 COOK RD                                                                                     SWARTZ CREEK       MI    48473‐9164
PARSELL JR, ROBERT ALLEN            6211 COOK RD                                                                                     SWARTZ CREEK       MI    48473‐9164
PARSELL, CSILLA                     8749 OAK GLEN CT                                                                                 CLARKSTON          MI    48348‐2887
PARSELL, DAVID                      9 EASTWOOD DR                                                                                    BRANFORD           CT    06405‐3345
PARSELL, DONALD R                   8023 WINCHESTER GRADE RD                                                                         BERKELEY SPGS      WV    25411‐3935
PARSELL, EUGENE M                   3131 E MILLER RD                                                                                 FAIRVIEW           MI    48621‐9703
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Name                     Address1                         Address2                        Address3   Address4         City                  State Zip
PARSELL, GENE L          2917 N THOMAS RD                                                                             FAIRGROVE              MI 48733‐9605
PARSELL, GERALD M        8749 OAK GLEN CT                                                                             CLARKSTON              MI 48348‐2887
PARSELL, GLENWOOD J      5901 FREDERICK STREET                                                                        ROMULUS                MI 48174‐2318
PARSELL, LINDA           9 EASTWOOD DR                                                                                BRANFORD               CT 06405‐3345
PARSELL, PRISCILLA P     6971 CANYON STREET                                                                           ROMULUS                MI 48174
PARSELL, ROBERT A        4438 GRAND LIN ST                                                                            SWARTZ CREEK           MI 48473‐9113
PARSELL, ROBERT P        1620 W DUTCHER RD                                                                            CARO                   MI 48723‐9765
PARSELL, THOMAS A        6211 COOK RD                                                                                 SWARTZ CREEK           MI 48473‐9164
PARSELL, WILLIAM C       2995 REDWOOD AVE                                                                             ANN ARBOR              MI 48108‐1814
PARSELL, WILLIAM C       16814 WORMER ST                                                                              DETROIT                MI 48219‐3678
PARSELL, WILLIAM J       1176 S WILDER RD                                                                             LAPEER                 MI 48446‐9417
PARSH, STEVEN F          3043 RICHMOND ST NW                                                                          GRAND RAPIDS           MI 49534‐2338
PARSHALL MD, ELEANOR M   9005 KERRY CT                                                                                ONSTED                 MI 49265‐9460
PARSHALL, CATHERINE      1783 CLOISTER DR                                                                             INDIANAPOLIS           IN 46260‐6085
PARSHALL, FLORENCE D     PO BOX 585                                                                                   ONTARIO                NY 14519‐0585
PARSHALL, FRANCIS A      1621 ELBRIDGE RD                                                                             HARRISBURG             PA 17112‐2034
PARSHALL, JAMES H        3540 CAREY GLEN CT                                                                           WESTFIELD              IN 46074‐8793
PARSHALL, JON M          115 WORCESTER RD                                                                             ROCHESTER              NY 14616
PARSHALL, ROBERT A       5085 WILKINS RD                                                                              HASTINGS               MI 49058‐8260
PARSHALL, ROBERT R       2411 S EARLY DAWN LN                                                                         SPOKANE VALLEY         WA 99037‐9407
PARSHLEY, ROBERT E       724 N PARKWAY DR                                                                             ANDERSON               IN 46013‐3245
PARSI, NASSER            502 CHERRY CREEK DR                                                                          NORMAN                 OK 73072‐5127
PARSLEY EMERY            1294 FM 2750 E                                                                               TROUP                  TX 75789‐8212
PARSLEY, ANGELA S        208 N 7TH AVE                                                                                BEECH GROVE            IN 46107‐1204
PARSLEY, BARBARA L       726 HILLCREST LN                                                                             CRYSTAL LAKE            IL 60014‐8257
PARSLEY, CAROL W         57 SUNWATCH                                                                                  HUNTINGTON             WV 25705‐2559
PARSLEY, CLOVIS L        385 ART GALLERY RD                                                                           BEDFORD                IN 47421‐8189
PARSLEY, DAVID R         6355 ZIMMERMAN RD                                                                            SABINA                 OH 45169‐9773
PARSLEY, EDITH           1887 N DAYTON LAKEVIEW RD                                                                    NEW CARLISLE           OH 45344‐9101
PARSLEY, EDITH           1887 NORTH DAYTON LAKEVIEW RD.                                                               NEW CARLISLE           OH 45344‐5344
PARSLEY, EDWIN E         559 N 100 W                                                                                  FRANKLIN               IN 46131‐8457
PARSLEY, ELIOISE         4517 NEVADA DR W                                                                             COLUMBUS               OH 43207‐8716
PARSLEY, IDA A           RR 3 BOX 6                                                                                   OWENSBURG              IN 47453‐9701
PARSLEY, JAY E           26670 ARMSTRONG RD                                                                           LAURELVILLE            OH 43135‐9730
PARSLEY, JERRY R         PO BOX 82                        214 N MAIN                                                  ADVANCE                IN 46102‐0082
PARSLEY, JUNE            C/O THERESA EDMONDS              6 RESPLANDOR PLACE                                          HOT SPRINGS VILLAGE    AR 71909
PARSLEY, KARAN S         1918 S RIALTO                                                                                MESA                   AZ 85209‐7018
PARSLEY, KATHERINE M     275 SEDONA DR                                                                                COLORADO SPRINGS       CO 80921‐2862
PARSLEY, LARRY W         13327 SO 68TH ST                                                                             MIDLAND                OH 45148
PARSLEY, LLOYD C         385 ART GALLERY ROAD                                                                         BEDFORD                IN 47421‐8189
PARSLEY, LORA            5374 MCCORMICK RIDGE RD                                                                      WHITLEYVILLE           TN 38588‐6074
PARSLEY, LORA            6460 MC CORMICK RIDGE RD                                                                     WHITLEYVILLE           TN 38588‐6052
PARSLEY, MARY A          8644 RAHKE RD.                                                                               INDIANAPOLIS           IN 46217‐5083
PARSLEY, MARY A          8644 RAHKE RD                                                                                INDIANAPOLIS           IN 46217‐5083
PARSLEY, MARY L          RR 1 BOX 99                                                                                  WILLIAMSON             WV 25661
PARSLEY, MICHAEL A       1124 MONTEVIDEO DR                                                                           LANSING                MI 48917
PARSLEY, MYRTLE L        5229 DUNEWOOD WAY                                                                            AVON                   IN 46123‐7073
PARSLEY, PAULINE         PO BOX 985                                                                                   ELYRIA                 OH 44036‐0985
PARSLEY, ROBIN E         163 WEST ST                                                                                  PLAINFIELD             IN 46168‐1171
PARSLEY, RONALD E        20969 W ANGLE RD                                                                             WILMINGTON              IL 60481
PARSLEY, ROSIE L         723 WILLIAMS ST                  C/O GEORGE C BUSH CONSERVATOR                               SAGINAW                MI 48602‐1620
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Name                    Address1                               Address2           Address3     Address4         City               State Zip
PARSLEY, ROY D          5229 DUNEWOOD WAY                                                                       AVON                IN 46123‐7073
PARSLEY, SAMUEL B       1041 DIANA DR                                                                           WEBSTER SPRINGS     WV 26288‐9008
PARSLEY, TERREL R       25 RILEY LN                                                                             WELLSVILLE          MO 63384‐4702
PARSLEY, TERRY M        2237 N KREPPS RD                                                                        SAINT JOHNS         MI 48879‐8030
PARSLEY, THELMA         DOUGLAS MOYER & IRK PC ‐ MICHAEL IRK   55 S JACKSON ST                                  FRANKFORT           IN 46041
                        (765) 654‐7321
PARSLEY, TRAVIS M       576 PRATER RD                                                                           SMITHVILLE         TN   37166‐5162
PARSLEY, VIOLA M        1251 KANAWHA TER                                                                        HUNTINGTON         WV   25701‐3537
PARSLEY, WILLIAM        RR 3 BOX 57                                                                             OWENSBURG          IN   47453‐9700
PARSLOW, WILLIAM A      763 E 600 N                                                                             KOKOMO             IN   46901‐9237
PARSLOW‐REED, COLLEEN   119 CARTER ST                                                                           BERLIN             MA   01503
PARSON AMY M            1337 DUPONT ST                                                                          CONWAY             PA   15027‐1325
PARSON CONSULTING       70 E 55TH ST FL S                                                                       NEW YORK           NY   10022‐3394
PARSON JR, JAMES W      436 STAFFORD ST                                                                         WASHINGTON         MO   63090‐1940
PARSON LAURI            C/O SATURN OF OWING MILLS              10 HOLSUM WAY                                    GLEN BURNIE        MD   21060‐6546
PARSON, ANNIE E         125 SILVER CREEK DR                                                                     BEREA              KY   40403‐1752
PARSON, BARBARA A       6 WOOD FOREST CT                                                                        O FALLON           MO   63368‐6803
PARSON, CORIENE B       1227 HEMLOCK DR                                                                         FAIRBORN           OH   45324‐3641
PARSON, CORRELL R       4505 N SHERMAN DR                                                                       INDIANAPOLIS       IN   46226‐3084
PARSON, DAVID W         3885 S 450 E                                                                            ANDERSON           IN   46017‐9401
PARSON, DENSON P        2734 KELLAR AVE                                                                         FLINT              MI   48504‐2780
PARSON, DONALD W        4351 S 50 E                                                                             KOKOMO             IN   46902‐9782
PARSON, FLOYD M         1445 S ANNABELLE ST                                                                     DETROIT            MI   48217‐1201
PARSON, FREEDA M        365 LECHNER AVENUE                                                                      COLUMBUS           OH   43223‐1119
PARSON, GEORGE E        4131 NELSON MOSIER RD                                                                   LEAVITTSBURG       OH   44430‐9425
PARSON, GLORIA          3054 FOOTPOINT DR                                                                       SPRING HILL        TN   37174‐8266
PARSON, GLORIA          3054 FOOT POINT DRIVE                                                                   SPRING HILL        TN   37174‐8266
PARSON, HOWARD D        1153 EDGEMONT BLVD                                                                      PERRYVILLE         MO   63775‐2838
PARSON, HUGH H          1041 WESLEY PARK DR SW                                                                  MARIETTA           GA   30064‐3917
PARSON, JAMAINE T       3469 W COLDWATER RD                                                                     MOUNT MORRIS       MI   48458‐9403
PARSON, JAMES R         413 E CLAY AVE                                                                          BRANDON            FL   33510‐3739
PARSON, JAMES W         1001 W WASHINGTON ST                                                                    EAST PRAIRIE       MO   63845‐1000
PARSON, JOANN           4325 SEEBALDT ST                                                                        DETROIT            MI   48204‐4235
PARSON, JOSEPH H        412 E GARLAND ST                                                                        PARAGOULD          AR   72450‐4425
PARSON, JOSEPH L        114 WINGATE DR                                                                          TROY               MO   63379‐3976
PARSON, MAXINE          20201 PLYMOUTH RD APT 1209                                                              DETROIT            MI   48228‐1261
PARSON, MICHELE S       3885 S 450 E RD                                                                         ANDERSON           IN   46017
PARSON, MONTY T         21 PINEWOOD DR                                                                          WEST MILTON        OH   45383‐1247
PARSON, NELLIE J        2915 IROQUOIS DR                                                                        THOMPSON STATION   TN   37179
PARSON, ORA E           8764 E ALMOND ST                                                                        TUCSON             AZ   85730‐4810
PARSON, PATTI
PARSON, RAY             PORTER & MALOUF PA                     4670 MCWILLIE DR                                 JACKSON            MS   39206‐5621
PARSON, RAYMOND         2558 HACKMAN DRIVE                                                                      SAINT LOUIS        MO   63136‐5837
PARSON, ROSE M          718 BLACKMOAT PLACE                                                                     MIAMISBURG         OH   45342‐2725
PARSON, SHARON          111 EMORY AVE                                                                           TRENTON            NJ   08611‐1607
PARSON, SHELLEY M       1637 OXFORD PL                                                                          SPRINGDALE         AR   72764
PARSON, SHIRLEY         1400 W MARINE DR APT 30                                                                 ASTORIA            OR   97103
PARSON, THOMAS L        3469 W COLDWATER RD                                                                     MOUNT MORRIS       MI   48458‐9403
PARSON, THOMAS O        ROUTE 2, BOX 276B                                                                       ARLINGTON          TX   76016
PARSON, TONY L          1263 HIGHWAY 10A                                                                        PONCE DE LEON      FL   32455
PARSON, VESSA L         4505 N SHERMAN DR                                                                       INDIANAPOLIS       IN   46226‐3084
PARSON, VICKI D         209 REDWOOD DR                                                                          KOKOMO             IN   46902‐3626
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Name                                  Address1                          Address2                         Address3                     Address4         City                State Zip
PARSON, WALTER                        1835 E US HIGHWAY 10                                                                                             CUSTER               MI 49405‐9792
PARSON, WENDELL B                     3885 S 450 E                                                                                                     ANDERSON             IN 46017‐9401
PARSON, WILLIAM                       4325 SEEBALDT ST                                                                                                 DETROIT              MI 48204
PARSON, WILLIAM E                     2915 IROQUOIS DR                                                                                                 THOMPSONS STATION    TN 37179‐5023
PARSON, WILLIAM M                     3433 BEACH RD                                                                                                    TROY                 MI 48084‐1309
PARSON, WILLIE M                      3469 W COLDWATER RD                                                                                              MOUNT MORRIS         MI 48458‐9403
PARSONS & MAXSON INC                  4177 FASHION SQUARE BLVD STE 2                                                                                   SAGINAW              MI 48603‐5216
PARSONS AVELENIA                      KENTUCKY FARM BUREAU MUTUAL       321 EAST MAIN STREET P.O BOX                                                   CAMPBELLSVILLE       KY 42719
                                      INSURANCE COMPANY                 1155
PARSONS AVELENIA                      PARSONS, AVELENIA                 PO BOX 1155                                                                    CAMPBELLSVILLE      KY   42719‐1155
PARSONS BRINCKERHOFF                  PB AMERICAS INC                   895 JOSLYN AVE                   MC 483710‐PBR                                 PONTIAC             MI   48340‐2920
PARSONS BRINCKERHOFF INC              500 GRISWOLD ST STE 2900          GUARDIAN BUILDING                                                              DETROIT             MI   48226‐5001
PARSONS BRINCKERHOFF INC              895 JOSLYN AVE M/C 483‐710‐PBR                                                                                   PONTIAC             MI   48340
PARSONS BRINCKERHOFF MICHIGAN         500 GRISWOLD ST STE 2900          GUARDIAN BUILDING                                                              DETROIT             MI   48226‐5001
PARSONS BUICK OF PLAINVILLE           PARSONS BUICK COMPANY THE         PARSONS BUICK CO OF PLAINVILLE   151 EAST ST                                   PLAINVILLE          CT

PARSONS BUICK OF PLAINVILLE           PARSONS BUICK COMPANY THE
PARSONS CHEVROLET INC                 ATTN RICHARD C PARSONS            132 SCOTT SWAMP RD                                                             FARMINGTON          CT   06032‐2836
PARSONS CHEVROLET‐BUICK, INC.         CURT PARSONS                      515 AMRON AVE                                                                  ANTIGO              WI   54409
PARSONS CHRISTOPHER                   PARSONS, CHRISTOPHER              1140 SARATOGA ST                                                               EAST BOSTON         MA   02128‐1228
PARSONS CITY RECORDER                 PO BOX 128                                                                                                       PARSONS             TN   38363‐0128
PARSONS CONSTRUCTION GROUP            THERESA ANDERSON                  PO BOX 1730                                                                    SUMNER              WA   98390‐0700
PARSONS CORP                          26777 CENTRAL PARK BLVD STE 27                                                                                   SOUTHFIELD          MI   48076
PARSONS CORP, THE                     26777 CENTRAL PARK BLVD STE 27                                                                                   SOUTHFIELD          MI   48076
PARSONS CURTIS                        4 LILLIAN LN                                                                                                     BANGOR              PA   18013‐5301
PARSONS DAVID (661262)                LOCKS LAW FIRM                    170 S INDEPENDENCE MALL W STE                                                  PHILADELPHIA        PA   19106‐3315
                                                                        720
PARSONS DOUGLAS                       8481 EATON RD                                                                                                    DAVISBURG           MI   48350‐1505
PARSONS DRYWALL                                                         2000 HERRING AVE                                                                                   TX   76708
PARSONS ENGINEERING SCIENCE INC       PO BOX 91849                                                                                                     LOS ANGELES         CA   90074‐0001
PARSONS ENGINEERING SCIENCE STE 500   57 EXECUTIVE PARK SOUTH NE                                                                                       ATLANTA             GA   30329

PARSONS JAMES (459245)                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                    NORFOLK             VA 23510
                                                                        STREET, SUITE 600
PARSONS JAMES E (429585)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                    NORFOLK             VA 23510
                                                                        STREET, SUITE 600
PARSONS JOSEPH H (636594)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                    NORFOLK             VA 23510
                                                                        STREET, SUITE 600
PARSONS JR, DONALD J                  16505 MARION CENTER RD                                                                                           DECATUR             IN   46733‐9605
PARSONS JR, DONALD JOHN               16505 MARION CENTER RD                                                                                           DECATUR             IN   46733‐9605
PARSONS JR, JOHN V                    713 BONNYCASTLE AVE                                                                                              ENGLEWOOD           OH   45322‐1808
PARSONS JR, JOHN W.                   2904 LONGSTREET SW                                                                                               WYOMING             MI   49509‐2924
PARSONS JR, RICHARD E                 1248 ARROWWOOD LN                                                                                                GRAND BLANC         MI   48439‐4893
PARSONS JR, ROBERT J                  11115 WOODFIELD PKWY                                                                                             GRAND BLANC         MI   48439‐9453
PARSONS KELLOGG
PARSONS MARYANNE                      1206 NOTTINGHAM LANE                                                                                             CHESTER SPRGS       PA   19425‐1219
PARSONS OF ANTIGO                     515 AMRON AVE                                                                                                    ANTIGO              WI   54409
PARSONS OF EAGLE RIVER, INC.          5353 STATE HIGHWAY 70 W                                                                                          EAGLE RIVER         WI   54521‐9347
PARSONS OF EAGLE RIVER, INC.          WILLIAM WEBER                     5353 STATE HIGHWAY 70 W                                                        EAGLE RIVER         WI   54521‐9347
PARSONS RICHARD (667804)              BELLUCK & FOX LLP                 546 5TH AVE # 4                                                                NEW YORK            NY   10035‐5000
PARSONS ROBERT J                      GLASSER AND GLASSER               CROWN CENTER                     580 EAST MAIN STREET SUITE                    NORFOLK             VA   23510
                                                                                                         600
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Name                    Address1                       Address2                        Address3   Address4         City             State Zip
PARSONS, AARON          2206 N 600 W                                                                               ANDERSON          IN 46011‐9765
PARSONS, AARON R        2206 N 600 W                                                                               ANDERSON          IN 46011‐9765
PARSONS, ALBERTA M      201 W BIRCH ST                                                                             LITCHFIELD        MI 49252‐9637
PARSONS, ANDREA J       2804 BEAR MOUNTAIN BOULEVARD                                                               BAKERSFIELD       CA 93313‐9772
PARSONS, ANGELA MARIE
PARSONS, ANNE M         48 MATTHEWS ROAD BROOKSIDE                                                                 NEWARK           DE 19713
PARSONS, ARLENA F       2012 NE 54TH TERRACE                                                                       KANSAS CITY      MO 64118‐5863
PARSONS, ARLIE D        1818 S WHITNEY RD                                                                          MUNCIE           IN 47302‐9314
PARSONS, AVELENIA
PARSONS, AVELENIA       BERTRAM, COX & MILLER          PO BOX 1155                                                 CAMPBELLSVILLE   KY   42719‐1155
PARSONS, BERNICE A      13965 SEMINOLE RD                                                                          APPLE VALLEY     CA   92307‐7407
PARSONS, BETTY R        123 MEADOWVIEW DR                                                                          CROSSVILLE       TN   38558‐9015
PARSONS, BILLY O        RR 2 BOX 294                                                                               BIG STONE GAP    VA   24219‐9514
PARSONS, BILLY O        ROUTE 2 BOX 294                                                                            BIG STONE GAP    VA   24219‐9514
PARSONS, BONITA B       5604 COLUMBUS AVE                                                                          ANDERSON         IN   46013‐3014
PARSONS, BONNIE L       1119 SPRING MEADOW CT                                                                      FRANKLIN         IN   46131‐7048
PARSONS, BOYD S         1045 HARRIS ST                                                                             HUNTINGTON       IN   46750‐2415
PARSONS, BRIAN L        1900 NORTH GARNET AVENUE                                                                   MUNCIE           IN   47303‐2530
PARSONS, BRIAN LEE      1900 NORTH GARNET AVENUE                                                                   MUNCIE           IN   47303‐2530
PARSONS, BUCK D         347 OAK FOREST CIR                                                                         MILLERS CREEK    NC   28651‐8962
PARSONS, CARISSA A      14200 OHIO ST                                                                              EAGLE            MI   48822‐5116
PARSONS, CARL R         126 PLEASANT ST                                                                            POINT PLEASANT   WV   25550‐2012
PARSONS, CARLTON M      591 WEST AVE                                                                               BROCKPORT        NY   14420‐1123
PARSONS, CAROL F        801 MARINER COVE                                                                           EATON            OH   45320‐2521
PARSONS, CAROL F        801 MARINER CV                                                                             EATON            OH   45320‐2521
PARSONS, CAROLYN E      6068 DELMAR ROAD                                                                           DELMAR           DE   19940‐3149
PARSONS, CARRIE L.      4476 DAY RD                                                                                CINCINNATI       OH   45252‐1804
PARSONS, CHARLES
PARSONS, CHARLES R      2325 THURMOND RD                                                                           THURMOND         NC   28683‐9653
PARSONS, CHARLOTTE      281 LAKE DR                                                                                SIX LAKES        MI   48886‐8741
PARSONS, CHERYL J       8895 YOUNGSTOWN SALEM RD                                                                   CANFIELD         OH   44406‐8428
PARSONS, CHRISTOPHER    BONCORE LAW OFFICE             1140 SARATOGA ST                                            EAST BOSTON      MA   02128‐1228
PARSONS, CLAYTON E      1015 GREENBRIER AVE                                                                        GALION           OH   44833‐1033
PARSONS, DANIEL         BRENNAN LAW OFFICE             3541 45TH AVE S                                             MINNEAPOLIS      MN   55406‐2926
PARSONS, DARLENE        7895 COUNTY FARM RD                                                                        PARMA            MI   49269‐9761
PARSONS, DAVID          LOCKS LAW FIRM                 170 S INDEPENDENCE MALL W STE                               PHILADELPHIA     PA   19106‐3315
                                                       720
PARSONS, DAVID A        808 BALBOA RD                                                                              RANCHO VIEJO     TX   78575‐9644
PARSONS, DAVID A        148 OLD BRUNSWICK RD                                                                       SUGAR GROVE      VA   24375‐3149
PARSONS, DAVID L        3055 GEMSTONE CT                                                                           SIERRA VISTA     AZ   85650‐8707
PARSONS, DAVID L        264 BILLS RD                                                                               MACEDON          NY   14502‐9355
PARSONS, DAVID W        159 WATERMAN ST                                                                            LOCKPORT         NY   14094‐4923
PARSONS, DEBRA A        3908 LOEB RD                                                                               BLAND            MO   65014‐2230
PARSONS, DONALD B       1435 MEADOWLANDS DR                                                                        FAIRBORN         OH   45324‐4371
PARSONS, DONALD C       49 VEREDA CORDILLERA                                                                       GOLETA           CA   93117‐5301
PARSONS, DONALD E       333 HARTFORD RD                                                                            AMHERST          NY   14226‐1733
PARSONS, DORAN          PO BOX 1272                                                                                DANVILLE         IL   61834‐1272
PARSONS, DOUGLAS B      5030 W BURT LAKE RD                                                                        BRUTUS           MI   49716‐9513
PARSONS, DOUGLAS B      4515 PENSACOLA BLVD.                                                                       DAYTON           OH   45439‐2825
PARSONS, DOUGLAS W      104 LEVAN AVE                                                                              LOCKPORT         NY   14094‐3233
PARSONS, DOUGLAS W      8481 EATON RD                                                                              DAVISBURG        MI   48350‐1505
PARSONS, DUANE A        9655 N HASSETOWN RD                                                                        MORGANTOWN       IN   46160‐9464
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Name                     Address1                         Address2                      Address3   Address4         City               State Zip
PARSONS, DUANE C         2326 S ORR RD                                                                              FREELAND            MI 48623‐9428
PARSONS, EARL W          3411 ORANGE RD                                                                             VENICE              FL 34293‐4946
PARSONS, EDITH F         1010 SE LEANDER ST                                                                         HILLSBORO           OR 97123‐4696
PARSONS, ELIZABETH FAY   260 HILLCREST RD                                                                           BOWLING GREEN       KY 42103‐9704
PARSONS, ELSIE J         110 HWY 1479                                                                               MONTICELLO          KY 42633
PARSONS, ELSIE J         209 HAZE ST                                                                                LANSING             MI 48917‐3828
PARSONS, ELSIE J         ROUTE 2 BOX 3882 B                                                                         MONTICELLO          KY 42633
PARSONS, ERICA           221 W 12TH ST                                                                              NITRO               WV 25143
PARSONS, ERNEST D        227 MCARTHUR RIVER DR                                                                      EATON RAPIDS        MI 48827‐1533
PARSONS, ERROL D         5740 E 1050 S                                                                              FAIRMOUNT           IN 46928‐9599
PARSONS, FLOYD M         5160 DEMERLY RD                                                                            BENZONIA            MI 49616‐9718
PARSONS, FRANCIS D       325 BREAKER COVE DR                                                                        BAY CITY            MI 48708‐8813
PARSONS, FRANK E         20811 ATHENIAN LN                                                                          NORTH FORT MYERS    FL 33917‐7776
PARSONS, GAIL M          32 HILLCREST DRIVE                                                                         LOCKPORT            NY 14094
PARSONS, GARY E          1597 LYNCH RD                                                                              DUNDALK             MD 21222‐3328
PARSONS, GARY R          15334 FAYETTE BLVD                                                                         BROOK PARK          OH 44142‐2803
PARSONS, GENE A          123 MEADOWVIEW DR                                                                          CROSSVILLE          TN 38558‐9015
PARSONS, GEORGE R        374 LINCOLN AVE                                                                            LOCKPORT            NY 14094‐5608
PARSONS, GERALD          4126 WHITTEMORE RD                                                                         NATIONAL CITY       MI 48748‐9646
PARSONS, GERALD A        5057 N LAKE RD                                                                             COLUMBIAVILLE       MI 48421‐9104
PARSONS, GERALD D        260 STEEPLECHASE LN                                                                        MONROE              OH 45050‐2441
PARSONS, GERALD L        10457 SHEEP CREEK RD                                                                       PHELAN              CA 92371‐8413
PARSONS, GERALD L        5508 GRAND BLANC RD                                                                        SWARTZ CREEK        MI 48473‐9421
PARSONS, GLORIA A        1851 WICKHAM ST                                                                            ROYAL OAK           MI 48073‐1163
PARSONS, GOLDIE M        148 OLD BRUNSWICK RD                                                                       SUGAR GROVE         VA 24375‐3149
PARSONS, GORDON J        6489 W.11 1/2 ML RD.                                                                       IRONS               MI 49644
PARSONS, GRACE L         15435 ENSTROM RD                                                                           WELLINGTON          FL 33414‐8363
PARSONS, GRETCHEN O      164 JACI DR NE                                                                             BROOKHAVEN          MS 39601‐9637
PARSONS, GROVER G        150 N LIMESTONE ST, STE 219                                                                SPRINGFIELD         OH 45501
PARSONS, GWEEN O         34 MURRAY DR                                                                               CHOCTAW             OK 73020‐2453
PARSONS, GWEN
PARSONS, GWEN S
PARSONS, HOMER R         3551 CLOVERTREE LN                                                                         FLINT              MI   48532‐4708
PARSONS, HOMER W         2420 WAYNE AVE                                                                             DAYTON             OH   45420‐1831
PARSONS, JACK P          7982 N FOX HOLLOW RD                                                                       BLOOMINGTON        IN   47408‐9324
PARSONS, JACKIE C        5921 ANSONVILLE RD                                                                         MARSHVILLE         NC   28103‐8532
PARSONS, JAMES           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
PARSONS, JAMES D         133 CROMWELL LN                                                                            CROSSVILLE         TN 38558‐7146
PARSONS, JAMES E         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
PARSONS, JAMES L         619‐1/2MAPLE STREET                                                                        THREE RIVERS       MI   49093
PARSONS, JAMES M         37299 ROBINDALE CT                                                                         CLINTON TWP        MI   48036‐1640
PARSONS, JAMES O         201 W BIRCH ST                                                                             LITCHFIELD         MI   49252‐9637
PARSONS, JAMES W         3649 REVERE DR                                                                             TOLEDO             OH   43612‐1032
PARSONS, JAMES WAYNE     3649 REVERE DR                                                                             TOLEDO             OH   43612‐1032
PARSONS, JANICE F        119 JADE CIR                                                                               CANFIELD           OH   44406‐9662
PARSONS, JANICE F        119 JADE CIRCLE                                                                            CANFIELD           OH   44406‐9662
PARSONS, JEAN A          7310 W MUSTANG DR                                                                          ELLETTSVILLE       IN   47429‐1277
PARSONS, JEAN A          7310 WEST MUSTANG DRIVE                                                                    ELLETTSVILLE       IN   47429‐1277
PARSONS, JEFFREY M       6833 YORK                                                                                  WATERFORD          MI   48327‐3507
PARSONS, JERRY D         17 PANORAMIC PL                                                                            MOUNTAIN HOME      AR   72653‐5689
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Name                    Address1                      Address2                      Address3   Address4         City              State Zip
PARSONS, JERRY L        34 MURRAY DR                                                                            CHOCTAW            OK 73020‐2453
PARSONS, JESSIE Y       13875 SCHAVEY RD              C/O LINDA SCHELB                                          DEWITT             MI 48820‐9009
PARSONS, JIMMY L        7204 PARSONS WAY                                                                        MOORESVILLE        IN 46158‐7230
PARSONS, JOCK J         1110 W ROSE DR                                                                          TECUMSEH           OK 74873‐1317
PARSONS, JOHNNIE D      1951 FLINT GLENN LN                                                                     CHARLOTTE          NC 28262‐9139
PARSONS, JOSEPH G       5705 BAYOU DR                                                                           BOSSIER CITY       LA 71112‐4975
PARSONS, JOSEPH H       GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                      STREET, SUITE 600
PARSONS, JULIE R        3286 WENDOVER RD                                                                        TROY              MI 48084‐1260
PARSONS, KARL R         721 N MAIN ST                                                                           FAIRMOUNT         IN 46928‐1338
PARSONS, KENNETH
PARSONS, KENNETH P      923 PINE GROVE RD                                                                       MARSHFIELD        MO    65706‐8430
PARSONS, LANCE D        8462 AVALON DR                                                                          HALE              MI    48739‐8734
PARSONS, LARRY E        2809 SWEETBRIAR DR                                                                      SANDUSKY          OH    44870‐5659
PARSONS, LARRY J        8895 YOUNGSTOWN SALEM RD                                                                CANFIELD          OH    44406‐8428
PARSONS, LAURA A        2015 TREBEIN RD                                                                         XENIA             OH    45385
PARSONS, LAWRENCE E     924 CAP STONE TRCE                                                                      SPRINGVILLE       IN    47462
PARSONS, LILLIAN J      181 ALTON RD                                                                            GALLOWAY          OH    43119‐9377
PARSONS, LINDA K        1690 E LANSING RD                                                                       MORRICE           MI    48857‐9625
PARSONS, LOIS M         9655 N HASSETOWN RD                                                                     MORGANTOWN        IN    46160‐9464
PARSONS, LOIS M         3512 LOCKPORT OLCOTT RD                                                                 LOCKPORT          NY    14094‐1147
PARSONS, LOIS M         3512 LOCKPORT‐OLCOTT ROAD                                                               LOCKPORT          NY    14094‐1147
PARSONS, LUCINDA A      925 BRIDGESTONE DR                                                                      ROCHESTER HILLS   MI    48309‐1621
PARSONS, LYNN           16505 MARION CENTER RD                                                                  DECATUR           IN    46733‐9605
PARSONS, MANLEY D       225 W SCOTT ST 1                                                                        GRAND LEDGE       MI    48837
PARSONS, MARCIA A       4615 TOWNLINE RD                                                                        BIRCH RUN         MI    48415‐9080
PARSONS, MARGARET ANN   685 CARDINAL RIDGE RD                                                                   BURLESON          TX    76028‐6206
PARSONS, MARILYN        8173 FOSTORA RD                                                                         FOSTORA           MI    48435‐9504
PARSONS, MARILYN        8173 FOSTORIA RD                                                                        FOSTORIA          MI    48435‐9504
PARSONS, MARILYNN J     2421 TREELANE DR                                                                        TRAVERSE CITY     MI    49686‐4996
PARSONS, MARILYNN J     2421 TREE LANE DR.                                                                      TRAVERSE CITY     MI    49686
PARSONS, MARK C         3849 US ROUTE 422                                                                       SOUTHINGTON       OH    44470
PARSONS, MARK W         7122 OLD ENGLISH RD                                                                     LOCKPORT          NY    14094‐5407
PARSONS, MARVIN E       825 NOTRE DAME DR                                                                       O FALLON          MO    63366‐1785
PARSONS, MARY E         2 KYLE CT                                                                               WILLOWBROOK        IL   60527‐2214
PARSONS, MARY E         2905 LUNA RD SE                                                                         DEMING            NM    88030‐8158
PARSONS, MARY N         4138 COUNTY ROAD 14                                                                     UNION SPRINGS     AL    36089‐4338
PARSONS, MATTHEW S      9731 FOUNTAIN LN                                                                        FOWLERVILLE       MI    48836‐9662
PARSONS, MELVIN O       1536 GENTIAN DR SE                                                                      KENTWOOD          MI    49508‐6208
PARSONS, MELVIN OVELL   1536 GENTIAN DR SE                                                                      KENTWOOD          MI    49508‐6208
PARSONS, MICHAEL P      7027 FAIRGROVE DR                                                                       SWARTZ CREEK      MI    48473‐9408
PARSONS, MICHAEL PAUL   7027 FAIRGROVE DR                                                                       SWARTZ CREEK      MI    48473‐9408
PARSONS, MICHAEL R      5884 MICHAEL ST                                                                         TAYLOR            MI    48180‐1272
PARSONS, MICHAEL R.     5884 MICHAEL ST                                                                         TAYLOR            MI    48180‐1272
PARSONS, MICHELLE       4528 LONGMEADOW BLVD W                                                                  SAGINAW           MI    48603‐1027
PARSONS, MICHELLE M     12945 RAMBLER RD                                                                        DEWITT            MI    48820‐7910
PARSONS, MILTON G       19184 HANNAN RD                                                                         NEW BOSTON        MI    48164‐9371
PARSONS, NINA A         1001 LAKEHURST STREET                                                                   NORTHWOOD         OH    43619‐2105
PARSONS, NORMA D        1429 N COAST HWY #31                                                                    OCEANSIDE         CA    92054‐1009
PARSONS, OLIVE C        205 MEADOW RIDGE N                                                                      BRANSON           MO    65616
PARSONS, PALMER W       63 LEGRANDE AVE                                                                         PONTIAC           MI    48342‐1134
PARSONS, PATRICIA       1801 E WHEELER ST                                                                       MIDLAND           MI    48642‐7126
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Name                      Address1                        Address2           Address3         Address4         City              State Zip
PARSONS, PAUL E           2421 TREELANE DR                                                                     TRAVERSE CITY      MI 49686‐4996
PARSONS, PETER P          636 HAWKSMOORE DRIVE                                                                 CLARKSTON          MI 48348‐3628
PARSONS, PHYLLIS A        6135 N LAKE RD                                                                       OTTER LAKE         MI 48464‐9730
PARSONS, RAYMOND S        11635 PAMPUS DR                                                                      MIRA LOMA          CA 91752‐3042
PARSONS, RICHARD          BELLUCK & FOX LLP               546 5TH AVE #4                                       NEW YORK           NY 10036‐5000
PARSONS, RICHARD E        10471 LINDEN RD                                                                      GRAND BLANC        MI 48439‐9351
PARSONS, RICHARD H        2226 WHITEMORE PL                                                                    SAGINAW            MI 48602‐3527
PARSONS, ROBERT           2 NORTHERN HILLS DR                                                                  BEDFORD            IN 47421‐7498
PARSONS, ROBERT A         12867 GEORGIA AVE                                                                    GRAND LEDGE        MI 48837‐1949
PARSONS, ROBERT J         4374 VARNER RD                                                                       BROWNSBURG         IN 46112‐8559
PARSONS, ROBERT L         7316 GORDON EVANS RD                                                                 NAVARRE            FL 32566‐9771
PARSONS, ROBERT L         1510 FALCON CREST BLVD                                                               CASPER             WY 82601‐5169
PARSONS, ROBERT L         5604 COLUMBUS AVE                                                                    ANDERSON           IN 46013‐3014
PARSONS, ROBERT S         38815 ORANGELAWN ST                                                                  LIVONIA            MI 48150‐2477
PARSONS, ROBIN A          4242 S PINEWOOD DR                                                                   MUNCIE             IN 47302‐6207
PARSONS, RODNEY W         281 LAKE DR                                                                          SIX LAKES          MI 48886‐8741
PARSONS, ROGER O          8051 WALTERS HWY                                                                     EATON RAPIDS       MI 48827‐9070
PARSONS, ROGER W          19721 WOODWORTH                                                                      REDFORD            MI 48240‐1535
PARSONS, ROGER WAYNE      19721 WOODWORTH                                                                      REDFORD            MI 48240‐1535
PARSONS, RONALD D         2185 ZENIA DR                                                                        TROY               MI 48083‐4456
PARSONS, RONALD D         306 POTOMAC DR                                                                       CHOCOWINITY        NC 27817‐8869
PARSONS, RONALD E         10340 W FLORIADE DR                                                                  SUN CITY           AZ 85351‐2231
PARSONS, RONALD K         1975 WILLOWOOD DR N                                                                  MANSFIELD          OH 44906‐1765
PARSONS, RONALD L         14348 INKSTER RD                                                                     REDFORD            MI 48239‐3014
PARSONS, RONALD S         415 S CARMEL ST                                                                      CADILLAC           MI 49601‐2258
PARSONS, RONALD W         1506 THRUSH RD                                                                       CRESTLINE          OH 44827‐9648
PARSONS, RUBY C           23900 ALLEYCAT RD                                                                    ASTOR              FL 32102‐2600
PARSONS, SHIRLEY A        62 E BASELINE LAKE RD                                                                GOBLES             MI 49055
PARSONS, SIMON W          5989 DIALTON RD                                                                      SPRINGFIELD        OH 45502‐9668
PARSONS, STELLA S         374 LINCOLN AVE                                                                      LOCKPORT           NY 14094‐5608
PARSONS, TERRY D          8100 HILL RD                                                                         SWARTZ CREEK       MI 48473‐7615
PARSONS, TERRY DANIEL     8100 HILL RD                                                                         SWARTZ CREEK       MI 48473‐7615
PARSONS, TERRY L          2598 ONONDAGA RD                                                                     EATON RAPIDS       MI 48827‐9649
PARSONS, THEDA J          1960 LEITER RD                                                                       MIAMISBURG         OH 45342‐7628
PARSONS, THEDA J          1960 LEIDER ROAD                                                                     MIAMISBURG         OH 45342‐5342
PARSONS, THOMAS R         1512 SMITH RD                                                                        TEMPERANCE         MI 48182‐1035
PARSONS, THOMAS RAY       1512 SMITH RD                                                                        TEMPERANCE         MI 48182‐1035
PARSONS, THOMAS W         40 N LINDEN RD                                                                       MANSFIELD          OH 44906‐2652
PARSONS, TIMOTHY A        365 AVALON DRIVE                                                                     MANSFIELD          OH 44906‐2727
PARSONS, TIMOTHY A        1711 EAST WHEELER STREET                                                             MIDLAND            MI 48642‐3114
PARSONS, VERA L           146 E LINSEY BLVD                                                                    FLINT              MI 48503‐3910
PARSONS, VIRGINIA A       3258 MARCH TER                                                                       CINCINNATI         OH 45239‐5468
PARSONS, WARREN J         925 BRIDGESTONE DR                                                                   ROCHESTER HILLS    MI 48309‐1621
PARSONS, WILLIAM D        5950 N FOUNTAINS AVE APT 9101                                                        TUCSON             AZ 85704‐7865
PARSONS, WILLIAM E        23900 ALLEYCAT RD                                                                    ASTOR              FL 32102‐2600
PARSONS, WILLIAM H        331 LOU ALICE DR                                                                     COLUMBIAVILLE      MI 48421‐9707
PARSONS, WILLIAM T        9446 APPLE HARVEST DR                                                                MARTINSBURG        WV 25403‐6013
PARSONS, WILTON M         3808 BURCHFIELD DR                                                                   LANSING            MI 48910‐4489
PARSONS‐GATES, DANIA M    4974 EASTERN AVE SE                                                                  KENTWOOD           MI 49508‐4732
PARSONS‐GATES, DANIA M.   4974 EASTERN AVE SE                                                                  KENTWOOD           MI 49508‐4732
PARSONSKELLOGG            310 BOURNE AVE BLDG 75                                                               RUMFORD             RI 02916
PARTA, DONALD L           2817 36TH AVE W                                                                      BRADENTON          FL 34205‐3531
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Name                       Address1                            Address2                Address3   Address4         City               State Zip
PARTAIN I I, DONALD K      715 BUMPUS MILLS RD                                                                     DOVER               TN 37058‐5909
PARTAIN, CARL E            3801 CRAIG DR                                                                           FLINT               MI 48506‐2681
PARTAIN, DONALD W          1570 S BATES ST                                                                         BIRMINGHAM          MI 48009‐1984
PARTAIN, FREDA MAE         8587 HWY 163                                                                            HARRISBURG          AR 72432‐8915
PARTAIN, FREDA MAE         8587 HIGHWAY 163                                                                        HARRISBURG          AR 72432‐8915
PARTAIN, LUCILE M          APT 43                              4519 EAST 82ND STREET                               INDIANAPOLIS        IN 46250‐4215
PARTAIN, M S               23277 BALCOMBE                                                                          NOVI                MI 48375‐4220
PARTAIN, TROY L            843 DENISE CT                                                                           STONE MOUNTAIN      GA 30087‐2928
PARTAKA, RAYMOND E         4812 SHORELINE CT                                                                       WATERFORD           MI 48329‐1689
PARTAKA, WILLIAM J         887 HILBERG ST                                                                          OXFORD              MI 48371‐4532
PARTEE CHARLES (494077)    CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                               CLEVELAND           OH 44113‐1328
                           COONE AND ASSOCIATES
PARTEE, BETTY              16216 CULLEN RD                                                                         DEFIANCE           OH   43512‐8836
PARTEE, BONNIE J           PO BOX 47                                                                               MOUNTAIN VIEW      AR   72560‐0047
PARTEE, C                  1302 WORTHINGTON ST                                                                     MEMPHIS            TN   38114‐2013
PARTEE, CHARLES            CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                               CLEVELAND          OH   44113‐1328
                           COONE AND ASSOCIATES
PARTEE, CLAUDIA A          194 POLLOCK CEMETERY RD                                                                 HOHENWALD          TN   38462‐4623
PARTEE, DARLENE            1114 BOULDER CT                                                                         LANSING            MI   48917‐4033
PARTEE, DONALD K           2950 NEWTON AVE SE                                                                      GRAND RAPIDS       MI   49508‐1537
PARTEE, EUGENE             1114 BOULDER CT                                                                         LANSING            MI   48917‐4033
PARTEE, HELEN J            PO BOX 5782                                                                             ARLINGTON          TX   76005‐5782
PARTEE, LEROYAL            11366 HUBBELL ST                                                                        DETROIT            MI   48227‐2723
PARTEE, MARGARET A         1040 MEADOWLAWN DR                                                                      PONTIAC            MI   48340‐1730
PARTEE, MARGARET ANN       1040 MEADOWLAWN DR                                                                      PONTIAC            MI   48340‐1730
PARTEE, MARK L             16216 CULLEN RD                                                                         DEFIANCE           OH   43512‐8836
PARTEE, MARK LYNN          16216 CULLEN RD                                                                         DEFIANCE           OH   43512‐8836
PARTEE, MICHAEL U          PO BOX 1151                                                                             DEFIANCE           OH   43512‐1151
PARTEE, THOMAS L           8955 WINEGAR RD                                                                         LAINGSBURG         MI   48848‐8722
PARTEE, WILLIAM J          1638 EMMETT DR                                                                          FREMONT            OH   43420‐3604
PARTENHEIMER, DIETER A     1823 E RANCH RD                                                                         TEMPE              AZ   85284‐3462
PARTER, GLENN M            4063 ELMHURST ST                                                                        DETROIT            MI   48204‐1512
PARTER, NANCY D            18001 MEYERS RD                                                                         DETROIT            MI   48235‐1427
PARTER, WILLIAM H          621 ORLEANS ST APT 54                                                                   DETROIT            MI   48207‐3003
PARTH, AMANDA              211 WEST 2ND ST                                                                         DAVISON            MI   48423
PARTH, JACK J              11449 ELMDALE ST                                                                        CLIO               MI   48420‐1720
PARTH, JACK JACOB          11449 ELMDALE ST                                                                        CLIO               MI   48420‐1720
PARTH, JAMES G             PO BOX 263                                                                              FRANKENMUTH        MI   48734‐0263
PARTHA BASU                1336 SHERBORN CT                                                                        ROCHESTER HILLS    MI   48306‐3753
PARTHA DE                  605 SNOWMASS DR                                                                         ROCHESTER HILLS    MI   48309‐1323
PARTHA GOSWAMI             28640 MARC DR                                                                           FARMINGTON HILLS   MI   48336‐3060
PARTHASARATHY PRASKASH     10 KAREN CIR APT 15                                                                     BILLERICA          MA   01821‐4730
PARTHASARATHY, RAVIKUMAR   1058 SOUTH PLUM TREE LAN                                                                PALATINE           IL   60067
PARTHELIA SAMPSON          4219 SCOTT HOLLOW RD                                                                    CULLEOKA           TN   38451‐3109
PARTHEMER, DALE H          3906 BRUCE DR SE                                                                        WARREN             OH   44484‐2716
PARTHEMER, DALE H          3906 BRUCE DRIVE SE                                                                     WARREN             OH   44484‐2716
PARTHEMER, ETHEL           6601 MIRAGRANDE DR                                                                      LAS VEGAS          NV   89108‐5544
PARTHEMORE, WILLIAM B      1209 BROWN RD                                                                           COLUMBUS           OH   43223‐3003
PARTHENA BANKS             5514 COOPER ST                                                                          DETROIT            MI   48213‐3079
PARTHENA SHAW              12440 S BENCK DR APT 105                                                                ALSIP              IL   60803‐1062
PARTHENIA JETER            3000 DONAVAN WAY                                                                        DECATUR            GA   30034‐4324
PARTHENIA KESSEL           25 VAN DUZEN PL                                                                         TUCKAHOE           NY   10707‐3415
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Name                            Address1                         Address2                         Address3     Address4         City                 State Zip
PARTHENIA RALPH                 APT 2                            1107 GRACE STREET                                              GEORGETOWN             IL 61846‐1165
PARTHENIA THOMAS                5223 VISTA VERDE DR                                                                             ARLINGTON             TX 76017‐1772
PARTHENON REALTY, LLC           ATTN: ON‐SITE PROPERTY MANAGER   2211 W MEADOWVIEW RD STE 100                                   GREENSBORO            NC 27407‐3408

PARTHINE P VORCE                1545 N MAIN ST                                                                                  NILES                OH   44446‐1245
PARTHINE VORCE                  1545 N MAIN ST                                                                                  NILES                OH   44446‐1245
PARTHIV MODY                    2154 ALFRED DR                                                                                  TROY                 MI   48085‐1061
PARTHUM JR, DONALD J            769 NOTRE DAME ST                                                                               GROSSE POINTE        MI   48230‐1239
PARTHUM, LAURA M                1018 BALFOUR ST                                                                                 GROSSE POINTE PARK   MI   48230‐1325
PARTIAN, JOANN                  639 SCOTSDALE                                                                                   RICHARDSON           TX   75080‐6112
PARTIAN, JOANN                  639 SCOTTSDALE DR                                                                               RICHARDSON           TX   75080‐6112
PARTICIA BEER                   911 LEXINGTON ONTARIO RD                                                                        MANSFIELD            OH   44903‐8795
PARTICIPANT, NEW                785 WALNUT DR                                                                                   HAMILTON             OH   45011‐3047
PARTICIPANT, NEW
PARTICK MCKEOWN                 ATTN MICHAEL C SHEPARD           THE SHEPARD LAW FIRM PC          10 HIGH ST                    BOSTON               MA   02110
PARTICKA, EUGENE M              3300 VERONA RD                                                                                  FILION               MI   48432‐9708
PARTICKA, GERALD J              18926 BISHOP RD                                                                                 CHESANING            MI   48616‐9717
PARTICLE TECHNOLOGY GROUP LLC   DBA PARTICLE TECHNOLOGY LABS     555 ROGERS STREET                                              DOWNERS GROVE        IL   60515
PARTICLE TECHNOLOGY LABS LTD    555 ROGERS ST                                                                                   DOWNERS GROVE        IL   60515
PARTIDA DEBORAH                 PARTIDA, DEBORAH                 120 WEST MADISON STREET , 10TH                                 CHICAGO              IL   60602
                                                                 FLOOR
PARTIDA, ALBERT J               1803 WILENE DR                                                                                  BEAVERCREEK          OH   45432‐4019
PARTIDA, ALBERT J               1803 WILENE DR.                                                                                 BEAVERCREEK          OH   45432‐5432
PARTIDA, ARTHUR                 15544 DALMATIAN AVE                                                                             LA MIRADA            CA   90638‐5345
PARTIDA, DELORES T.             PO BOX 652                                                                                      COMBES               TX   78535‐0652
PARTIDA, DELORES T.             P O BOX 652                                                                                     COMBES               TX   78535‐0652
PARTIDA, JUDITH W               1803 WILENE DR.                                                                                 BEAVERCREEK          OH   45432‐4019
PARTIDA, JUDITH W               1803 WILENE DR                                                                                  BEAVERCREEK          OH   45432‐4019
PARTIDA, SANDRA                 1201 S OLEANDER AVE                                                                             COMPTON              CA   90220‐4644
PARTIDA, SANDRA                 BISNAR & CHASE                   1301 DOVE ST STE 760                                           NEWPORT BEACH        CA   92660‐2476
PARTIES N MORE INC              4166 LITCHFIELD DR                                                                              DORR                 MI   49323‐9405
PARTIN ALEX R                   1867 CASS BLVD                                                                                  BERKLEY              MI   48072‐3013
PARTIN JR, HAROLD D             8298 SW 79TH CIR                                                                                OCALA                FL   34476‐4714
PARTIN JR, HERMAN               230 MAIN ST APT 2                                                                               NEWPORT              KY   41071
PARTIN MINDI                    229 CHANDLER CROSSING TRL                                                                       ROUND ROCK           TX   78665‐2837
PARTIN, ALFORD                  3271 PLEASANT HILL RD                                                                           MOUNT ORAB           OH   45154‐9177
PARTIN, ANDY L                  PO BOX 103                                                                                      CHRISTIANSBURG       OH   45389‐0103
PARTIN, ANDY L                  4698 S HIGHWAY 25                                                                               LA FOLLETTE          TN   37766‐6015
PARTIN, ANDY L                  P. O. BOX 103                                                                                   CHRISTIANSBURG       OH   45389‐0103
PARTIN, ARNOLD                  913 EDGEHILL RD                                                                                 FLORENCE             KY   41042‐1238
PARTIN, BETSY O                 8446 AUSTIN BOTTOM RD                                                                           BAXTER               TN   38544‐4805
PARTIN, BOBBY G                 6069 COLCHESTER RD                                                                              OREGON               OH   43618‐1155
PARTIN, BRITT                   3351 HOMEACRES AVE                                                                              BEAVERCREEK          OH   45431‐3216
PARTIN, BRUCE J                 9928 COMAN RD                                                                                   HUDSON               MI   49247‐9573
PARTIN, CARLIE                  19 N MASON CT                                                                                   NIAGARA FALLS        NY   14304‐2856
PARTIN, CAROL H                 39175 CHEROKEE DR                                                                               ROMULUS              MI   48174‐4095
PARTIN, CATHERINE J             406 LINCON AV                                                                                   SWANTON              OH   43558
PARTIN, CLYDE F                 114 ROBSON RD                                                                                   MARIETTA             OH   45750
PARTIN, DAVID L                 APT 1                            11694 PLAZA DRIVE                                              CLIO                 MI   48420‐1744
PARTIN, DAVID L                 11694 PLAZA DR APT 1                                                                            CLIO                 MI   48420
PARTIN, DENNIS B                6495 KEATS DR                                                                                   DAYTON               OH   45414‐3346
PARTIN, DENNY V                 981 LEE RD                                                                                      TROY                 OH   45373‐1803
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Name                       Address1                      Address2            Address3         Address4         City               State Zip
PARTIN, DOLPHUS            406 LINCOLN AVE                                                                     SWANTON             OH 43558‐1024
PARTIN, DOROTHY J          3337 FIELD RD APT 16                                                                CLIO                MI 48420‐1178
PARTIN, DOROTHY J          3337 FIELD RD #16                                                                   CLIO                MI 48420‐1178
PARTIN, DOROTHY K          400 KENSINGTON ST                                                                   PORT CHARLOTTE      FL 33954‐3004
PARTIN, DOUGLAS C          400 KENSINGTON ST                                                                   PORT CHARLOTTE      FL 33954‐3004
PARTIN, EARL S             14301 MERCEDES                                                                      DETROIT             MI 48239‐3055
PARTIN, EDMUND L           3625 PARMAN RD                                                                      STOCKBRIDGE         MI 49285‐9512
PARTIN, EDMUND LYNN        3625 PARMAN RD                                                                      STOCKBRIDGE         MI 49285‐9512
PARTIN, EUGENE             5884 ATTUCKS CIRCLE                                                                 PLAINFIELD          IN 46168‐7730
PARTIN, FRED               4365 POSSUM RUN RD                                                                  BELLVILLE           OH 44813‐9427
PARTIN, GARY               31931 CALHOUN CT                                                                    WESTLAND            MI 48186‐4763
PARTIN, HAROLD R           249 MOLLY HOLLOW RD                                                                 NEW TAZEWELL        TN 37825
PARTIN, HERMAN N           116 SYCAMORE CIR                                                                    WARSAW              KY 41095‐9623
PARTIN, HOLLIE             8591 MULBERRY RD                                                                    BAXTER              TN 38544‐4826
PARTIN, JACK               9194 DAUGHERTY MARKS RD                                                             HAMERSVILLE         OH 45130‐9714
PARTIN, JACK B             35649 W CHICAGO ST                                                                  LIVONIA             MI 48150‐2520
PARTIN, JAMES A            329 MAGOTHY BLVD                                                                    PASADENA            MD 21122‐5029
PARTIN, JAMES E            8446 AUSTIN BOTTOM RD                                                               BAXTER              TN 38544‐4805
PARTIN, JAMES E            31 W 6TH ST                                                                         FRANKLIN            OH 45005
PARTIN, JAMES M            39770 LYNN ST                                                                       CANTON              MI 48187‐4220
PARTIN, JAMES O            898 SPRING CREEK RD                                                                 LAFAYETTE           TN 37083‐4202
PARTIN, JANET              325 PARK ST                                                                         CLIO                MI 48420‐1417
PARTIN, JEFFERY C          8893 CROSSVILLE HWY                                                                 SPARTA              TN 38583‐3125
PARTIN, JEFFERY CLARENCE   8893 CROSSVILLE HIGHWAY                                                             SPARTA              TN 38583‐3125
PARTIN, JOHN G             17863 HAZEL                                                                         ROMULUS             MI 48174‐9544
PARTIN, JOHN M             39175 CHEROKEE DR                                                                   ROMULUS             MI 48174‐4095
PARTIN, JOHN MART          39175 CHEROKEE DR                                                                   ROMULUS             MI 48174‐4095
PARTIN, JUANITA F          25430 COLGATE ST                                                                    DEARBORN HTS        MI 48125‐1547
PARTIN, KAREN L            3625 PARMAN RD                                                                      STOCKBRIDGE         MI 49285‐9512
PARTIN, KAREN LOUISE       3625 PARMAN RD                                                                      STOCKBRIDGE         MI 49285‐9512
PARTIN, KAY I              440 CATALPA CT                                                                      FLINT               MI 48506‐4557
PARTIN, KAY I              440 CATALPA COURT                                                                   FLINT               MI 48506‐4557
PARTIN, LARRY G            145 W. STATE ST                                                                     SPRINGBORO          OH 45066‐1237
PARTIN, LARRY G            145 W STATE ST                                                                      SPRINGBORO          OH 45066‐1237
PARTIN, LAWRENCE           227 CAWOOD CT                                                                       RICHMOND            KY 40475‐8206
PARTIN, LOUISE L           PO BOX 7                                                                            WILLIAMSBURG        KY 40769‐0007
PARTIN, LOUISE L           P O BOX 7                                                                           WILLIAMSBURG        KY 40769
PARTIN, LYDIA              1272 LOUIS AVE                                                                      FLINT               MI 48505‐1200
PARTIN, MARGIE             PO BOX 844                                                                          NEW TAZEWELL        TN 37824‐0844
PARTIN, PHILLIP D          PO BOX 417                                                                          OAKWOOD              IL 61858‐0417
PARTIN, RAYMOND C          26600 ANN ARBOR TRAIL         APT 27                                                DEARBORN HEIGHTS    MI 48127
PARTIN, RICHARD D          2385 TWP RD 1097 RT1                                                                PERRYSVILLE         OH 44864
PARTIN, ROBERT P           1916 STAYMAN DR                                                                     KETTERING           OH 45440‐1631
PARTIN, ROSA               321 W 5TH ST                                                                        MANSFIELD           OH 44903‐1555
PARTIN, ROSA               321 W. FIFTH STREET                                                                 MANSFIELD           OH 44903‐1555
PARTIN, ROY                1708 SHERMAN AVE                                                                    NORWOOD             OH 45212‐2514
PARTIN, SHIRLEY A          3042 FIVE SPRINGS RD SE                                                             DALTON              GA 30721‐4929
PARTIN, SHIRLEY ANN        PO BOX 333                                                                          PORTAGEVILLE        MO 63873‐0333
PARTIN, TAMMI M            12355 N ELMS RD                                                                     CLIO                MI 48420‐9486
PARTIN, TAMMI MARIE        12355 NORTH ELMS ROAD                                                               CLIO                MI 48420‐1133
PARTIN, TOMMY              15184 HILLCREST RD                                                                  MOUNT ORAB          OH 45154‐8511
PARTIN, TRUIS              2011 HUDSON AVE                                                                     NORWOOD             OH 45212‐3801
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Name                             Address1                        Address2                         Address3   Address4         City            State Zip
PARTIN, VIRGIL L                 2833 S HORSESHOE TRL                                                                         GRAYLING         MI 49738‐8263
PARTIN, WILLARD H                PO BOX 246                                                                                   WILLIAMSBURG     KY 40769‐0246
PARTIN, WILLARD H                246 BUCK CREEK RD                                                                            WILLIAMSBURG     KY 40769‐9741
PARTIN, WILLIAM B                C/O DOUGLAS R COSKEY            120 NORTH 4 AVE                                              ANN HARBOR       MI 48104
PARTIN, WILLIAM B                IN CARE OF DOUGLAS COSKEY       120 N. FOURTH AVE.                                           ANN ARBOR        MI 48104
PARTIN, WILLIAM D                1282 LOUIS AVE                                                                               FLINT            MI 48505‐1200
PARTINGTON PAUL SR               3403 OLANDWOOD CT STE 202                                                                    OLNEY            MD 20832‐1486
PARTINGTON, ANNE T               1754 S MILL CT                                                                               LAKE ORION       MI 48360‐1568
PARTINGTON, DENNIS K             13724 OLD STATE RD                                                                           JOHANNESBURG     MI 49751‐9785
PARTINGTON, RACHEL L             603 ANN PL                                                                                   SIDNEY           OH 45365‐1127
PARTINGTON, RONALD D             43251 LINDENWOOD ST                                                                          FREMONT          CA 94538‐5954
PARTINGTON, WILLIAM S            6601 SNAPPER CIR                                                                             SHREVEPORT       LA 71119‐3401
PARTINGTON,RACHEL L              603 ANN PL                                                                                   SIDNEY           OH 45365‐1127
PARTIPILO, MICHELE               20382 DOVES POINTE DR                                                                        BROWNSTOWN       MI 48174‐8504
PARTL TOM                        PARTL, TOM                      400 SW LONGVIEW BLVD SUITE 280                               LEES SUMMIT      MO 64081

PARTL TOM                        PARTL, TORI                     400 SW LONGVIEW BLVD SUITE 280                               LEES SUMMIT     MO 64081

PARTLAN LABAD/OAK PK             12901 CLOVERDALE ST                                                                          OAK PARK        MI   48237‐3205
PARTLAN‐LABADIE SHEET METAL CO   12901 CLOVERDALE ST                                                                          OAK PARK        MI   48237‐3205
PARTLAN‐LABADIE SHEETMETAL CO    12901 CLOVERDALE ST                                                                          OAK PARK        MI   48237‐3205
PARTLO, ALAN B                   1145 CHAMBLEE GAP RD                                                                         CUMMING         GA   30040‐7111
PARTLO, ALAN BERNARD             2860 LIBERTY RD                                                                              SAGINAW         MI   48604‐9267
PARTLO, CHARLES C                4602 CATLIN RD                                                                               COLUMBIAVILLE   MI   48421‐8970
PARTLO, DAVID E                  11030 DODGE RD                                                                               OTISVILLE       MI   48463‐9739
PARTLO, DONALD E                 9314 HUBBARD RD                                                                              DAVISON         MI   48423‐9370
PARTLO, LINDA J                  4966 SCHAFER DR APT 6                                                                        SWARTZ CREEK    MI   48473‐1292
PARTLO, RAY A                    1352 ATHLONE ST                                                                              OXFORD          MI   48371‐6000
PARTLOW I I I, JAMES R           3798 LOUISE ST                                                                               MOGADORE        OH   44260‐1452
PARTLOW III, JAMES ROBERT        3798 LOUISE ST                                                                               MOGADORE        OH   44260‐1452
PARTLOW JR, JAMES R              133 NUTWOOD DR                                                                               TALLMADGE       OH   44278‐3016
PARTLOW THOMAS (446853)          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD      OH   44067
                                                                 PROFESSIONAL BLDG
PARTLOW, ALICE M                 206 MARLETTE DR                                                                              NORTH PORT      FL   34287‐1532
PARTLOW, BRENDA                  2150 N JAY                                                                                   KOKOMO          IN   46901‐1620
PARTLOW, BRENDA                  2150 N JAY ST                                                                                KOKOMO          IN   46901‐1620
PARTLOW, DARRELL                 12621 ABINGTON AVE                                                                           DETROIT         MI   48227‐1201
PARTLOW, DONDI L                 609 KENNEDY DR BX 2                                                                          SPRING VALLEY   NY   10977
PARTLOW, FARRELL M               PO BOX 4024                                                                                  DETROIT         MI   48204‐0024
PARTLOW, FREDERICK D             1401 E SIGLER ST                                                                             FRANKTON        IN   46044‐9343
PARTLOW, HELEN N                 224 MCKINLEY ST                                                                              ELBERTON        GA   30635‐2210
PARTLOW, JAMES A                 3485 S 975 W                                                                                 TIPTON          IN   46072‐9042
PARTLOW, JAMES E                 4249 DILLON RD                                                                               FLUSHING        MI   48433‐9745
PARTLOW, JAMES L                 27 E WASHINGTON ST                                                                           JAMESTOWN       OH   45335‐1647
PARTLOW, JUDITH                  97 GERTRUDE AVE                                                                              YOUNGSTOWN      OH   44512‐2905
PARTLOW, JUDY A                  3920 ORLEANS DR                                                                              KOKOMO          IN   46902‐4347
PARTLOW, LOREEN L                211 STATE STREET                                                                             BAY CITY        MI   48706‐8706
PARTLOW, LOREEN L                413 MARTIN LUTHER DR                                                                         FULTON          KY   42041
PARTLOW, LORYE A                 138 CLIFTON BOARDMAN                                                                         YOUNGSTOWN      OH   44512
PARTLOW, NORMA                   1212 PEARL STREET APT.#312                                                                   ANDERSON        IN   46016
PARTLOW, NORMA                   1212 PEARL ST APT 312                                                                        ANDERSON        IN   46016‐2794
PARTLOW, PAUL D                  5375 INDIAN TRL                                                                              CASEVILLE       MI   48725‐9769
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Name                                  Address1                                Address2                       Address3                     Address4              City              State Zip
PARTLOW, RUSSELL T                    510 CATHER AVE                                                                                                            WINCHESTER         VA 22601‐2738
PARTLOW, SHANNON                      17612 PRAIRIE                                                                                                             DETROIT            MI 48221‐2697
PARTLOW, SHANNON                      17612 PRAIRIE ST                                                                                                          DETROIT            MI 48221‐2697
PARTLOW, SHANNON M                    384 SMITH ROAD                                                                                                            COLUMBUS           OH 43228‐6115
PARTLOW, SHARON L                     3713 RED BUD LN                                                                                                           KOKOMO             IN 46902‐4353
PARTLOW, THOMAS                       BEVAN & ASSOCIATES                      10360 NORTHFIELD ROAD, BEVAN                                                      NORTHFIELD         OH 44067
                                                                              PROFESSIONAL BLDG
PARTLOW, VAN                          24111 CIVIC CENTER DR APT 701                                                                                             SOUTHFIELD        MI    48033‐7440
PARTLOW, WALTER D                     768 W 600 N APT D                                                                                                         ALEXANDRIA        IN    46001
PARTLOW‐REDMAN, SHARON L              3713 RED BUD LN                                                                                                           KOKOMO            IN    46902‐4353
PARTNER, ARTHUR L                     C/O GOLDBERG PERSKY & WHITE PC          1030 FIFTH AVENUE                                                                 PITTSBURGH        PA    15219
PARTNERS AUTO SHOP                    367 RIDEAU ST.                                                                                      KINGSTON ON K7K 3B2
                                                                                                                                          CANADA
PARTNERS CHEVROLET BUICK PONTIAC GM 1506 N ESPLANADE ST                                                                                                         CUERO              TX   77954‐3442

PARTNERS CHEVROLET BUICK PONTIAC      1506 N ESPLANADE ST                                                                                                       CUERO              TX   77954‐3442
GMC
PARTNERS FOR CLEAN STREAMS            MAUMEE RAP                              PO BOX 203                                                                        PERRYSBURG        OH 43552‐0203
PARTNERS FOR PROGRESS                 5988 MID RIVERS MALL DR                                                                                                   SAINT PETERS      MO 63304
PARTNERS FUNDING                      ATTN LYNN DAVIS                         48125 VAN DYKE AVE             923 NORTH STATE STREET STE                         SHELBY TOWNSHIP   MI 48317‐3268
                                                                                                             120
PARTNERS IN CONTRACTING CORP          2646 HIGHWAY AVE                                                                                                          HIGHLAND          IN 46322
PARTNERS IN EDUCATION                 ATTN KAREN BARKER                       1701 HOLLAND RD STE B          C/O TOMAHAWK                                       MAUMEE            OH 43537‐1646
                                                                                                             DEVELOPMENT
PARTNERS IN HEALTH SYSTEMS            ATTN: MICHAEL SPURCHISE                 PO BOX 249                                                                        DE WITT           NY 13214‐0249
PARTNERS IN PREVENTION ROCK COUNTY    115 E COURT ST STE 225                                                                                                    JANESVILLE        WI 53545‐3921
INC
PARTNERS LABELS                       101 SHORTING ROAD                                                                                   SCARBOROUGH CANADA
                                                                                                                                          ON M1S 4G5 CANADA
PARTNERS LABELS LTD                   101 SHORTING RD                                                                                     SCARBOROUGH ON M1S
                                                                                                                                          4G5 CANADA
PARTNERS LEGAL SERVICES PSC           209 AVE MUNOZ RIVERA STE 1500 PISO 17                                                                                     HATO REY          PR    00918

PARTNERS PHYSICIAN G                  PO BOX 715146                                                                                                             COLUMBUS          OH    43271‐0001
PARTNERS PONTIAC BUICK GMC LLC        1506 N ESLANDE                                                                                                            CUERO             TX    77954
PARTNERS PONTIAC BUICK GMC, LLC       PAUL HOLCOMB                            1506 N ESPLANADE ST                                                               CUERO             TX    77954‐3442
PARTNERSHIP FOR A DRUG FREE AMERICA   405 LEXINGTON AVE RM 1602                                                                                                 NEW YORK          NY    10174‐1699

PARTNERSHIP FOR ACADEMIC EXCELLENCE 2600 MARY WASHINGTON BLVD                                                                                                   FREDERICKSBURG    VA 22401‐4438

PARTNERSHIP INC THE                   PO BOX 671                              1201 N ORANGE ST STE 200                                                          WILMINGTON        DE    19899‐0671
PARTNEY JR, HARVEY R                  2308 AILESWICK DR                                                                                                         SAINT LOUIS       MO    63129‐3606
PARTNEY, LAURA                        10278 KINGSTON RD                                                                                                         BLACKWELL         MO    63626‐9461
PARTNEY, LEANES S                     10278 KINGSTON RD                                                                                                         BLACKWELL         MO    63626‐9461
PARTNEY, LYDLE E                      4432 E 4 RIDGE RD                                                                                                         IMPERIAL          MO    63052‐2707
PARTOGIAN, ROBERT O                   691 CLIFFSIDE DR                                                                                                          MILFORD           MI    48381‐1660
PARTON ELWOOD (352624)                GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                                       NORFOLK           VA    23510
                                                                              STREET, SUITE 600
PARTON, BARRY N                       35675 ANN ARBOR TRL                                                                                                       LIVONIA           MI 48150‐3598
PARTON, DALLAS D                      720 NORTH INDEPENDENCE STREET                                                                                             TIPTON            IN 46072‐1033
PARTON, EDWARD                        3312 FRANCES LN                                                                                                           KOKOMO            IN 46902‐9709
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Name                      Address1                            Address2                      Address3   Address4         City                 State Zip
PARTON, ELWOOD            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                              STREET, SUITE 600
PARTON, EUGENE L          130 SE 45TH ST                                                                                OKLAHOMA CITY        OK 73129‐3202
PARTON, EVERETT           C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                    EDWARDSVILLE         IL 62025
                          ROWLAND PC
PARTON, GEORGE R          5855 MARKEY RD                                                                                DAYTON               OH   45415‐3039
PARTON, HAZEL L           3312 FRANCES LN                                                                               KOKOMO               IN   46902‐9709
PARTON, HAZEL L           3312 FRANCES LANE                                                                             KOKOMO               IN   46902
PARTON, JAMES             128 CASCADE SPRING RD                                                                         HOHENWALD            TN   38462‐2016
PARTON, JOEL              419 MAIN ST                                                                                   NEW CARLISLE         OH   45344
PARTON, JULIE A
PARTON, LEMUEL L          131 S EAST ST                                                                                 TIPTON               IN   46072‐1937
PARTON, MARILYN T         953 W 500 N                                                                                   WHITELAND            IN   46184‐9514
PARTON, PATTY J           7431 E 100 S                                                                                  GREENTOWN            IN   46936‐9128
PARTON, PAUL W            3631 MOREHEAD AVE 17                                                                          EL PASO              TX   79930
PARTON, RONALD E          PO BOX 6255                                                                                   CINCINNATI           OH   45206‐0255
PARTON, RONALD L          6566 GREEN HAVEN PL APT B                                                                     INDIANAPOLIS         IN   46214‐3888
PARTON, VIVIAN G          6568 MCFALL LN                                                                                KNOXVILLE            TN   37918‐5908
PARTON, WILMA G           309 FULTON DR                                                                                 KINGS MOUNTAIN       NC   28086‐3704
PARTRIDGE EDWARD          PO BOX 263                                                                                    CALVERTON            NY   11933‐0263
PARTRIDGE JR, JIMMY R     23361 PLAYVIEW ST                                                                             SAINT CLAIR SHORES   MI   48082‐1310
PARTRIDGE JR, RICHARD D   1083 HOOK DR                                                                                  SPRING HILL          FL   34608
PARTRIDGE, ALICIA M       425 WESLEY PARK DR                                                                            JONESBORO            GA   30238‐4564
PARTRIDGE, BERTHA         14151 FREELAND ST                                                                             DETROIT              MI   48227
PARTRIDGE, BETTY J        4869 GREENVILLE RD                                                                            FARMDALE             OH   44417‐9771
PARTRIDGE, BEULAH V       7915 HUNTER ST                                                                                RAYTOWN              MO   64138‐1514
PARTRIDGE, BEULAH V       7915 HUNTER                                                                                   RAYTOWN              MO   64138
PARTRIDGE, BRADLEY A      6665 CONCH CT                                                                                 BOYNTON BEACH        FL   33437
PARTRIDGE, CECIL F        2420 SE 177TH AVE                                                                             SILVER SPRINGS       FL   34488‐6297
PARTRIDGE, CHARLES L      1101 LIMIT ST                                                                                 LEAVENWORTH          KS   66048‐4231
PARTRIDGE, CLIFFORD       NOT IN FILE
PARTRIDGE, CONNIE         2577 E FRENCH RD                                                                              SAINT JOHNS          MI   48879‐9074
PARTRIDGE, DANE K         43841 CHALMETTE CT                                                                            CANTON               MI   48188‐1710
PARTRIDGE, DANE K.        43841 CHALMETTE CT                                                                            CANTON               MI   48188‐1710
PARTRIDGE, DARLENE K      8195 BIG TRL                                                                                  WEEKI WACHEE         FL   34613‐4537
PARTRIDGE, DARLENE K      8195 BIG TRAIL                                                                                BROOKSVILLE          FL   34613‐4537
PARTRIDGE, DAVID E        8211 N MCKINLEY RD                                                                            FLUSHING             MI   48433‐8843
PARTRIDGE, DAVID EARL     8211 N MCKINLEY RD                                                                            FLUSHING             MI   48433‐8843
PARTRIDGE, DEBORAH L      14021 DUFFIELD RD                                                                             MONTROSE             MI   48457
PARTRIDGE, DELBERT        2332 THORNHILL RD                                                                             LOUISVILLE           KY   40222‐6231
PARTRIDGE, DONALD L       3125 CHERRY LANE                                                                              EDEN                 NY   14057‐1245
PARTRIDGE, DONALD L       3125 CHERRY LN                                                                                EDEN                 NY   14057‐1245
PARTRIDGE, DONALD W       PO BOX 2103                                                                                   HEDGESVILLE          WV   25427‐2103
PARTRIDGE, DONALD W       2088 DESERT WOODS DR                                                                          HENDERSON            NV   89012‐6134
PARTRIDGE, EARL R         18201 SANDY PINES CIR                                                                         N FORT MYERS         FL   33917‐4736
PARTRIDGE, EUGENE R       14465 NICHOLS RD                                                                              MONTROSE             MI   48457‐9468
PARTRIDGE, FALISADEE M    2168 ISABELL DR                                                                               TROY                 MI   48083‐2308
PARTRIDGE, FLORENCE       32550 AVONDALE                                                                                WESTLAND             MI   48186‐8902
PARTRIDGE, JAMES A        5150 HORSTMAN RD                                                                              WILLIAMSTON          MI   48895‐9558
PARTRIDGE, JAMES K        281 OAK RD                                                                                    HARPER               TX   78631‐8582
PARTRIDGE, JANE N         8463 LINDEN RD                                                                                FENTON               MI   48430‐9357
PARTRIDGE, JOAN T         5380 WALNUT HILLS DR                                                                          BRIGHTON             MI   48116
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Name                                  Address1                          Address2               Address3      Address4         City               State Zip
PARTRIDGE, JOHN A                     2100 MILTON RD                                                                          WILLIAMSTON         MI 48895‐9642
PARTRIDGE, JOHN M                     1116 N OAK ST                                                                           OTTAWA              KS 66067‐1533
PARTRIDGE, JOHNNIE J                  13341 WILD COTTON CT                                                                    NORTH FORT MYERS    FL 33903‐5280
PARTRIDGE, JOHNNIE T                  13341 WILD COTTON CT                                                                    NORTH FORT MYERS    FL 33903‐5280
PARTRIDGE, JUBAL L                    SHANNON LAW FIRM                  100 W GALLATIN ST                                     HAZLEHURST          MS 39083‐3007
PARTRIDGE, L C                        PO BOX 7064                                                                             AKRON               OH 44306‐0064
PARTRIDGE, LOREN D                    8171 N WEBSTER RD                                                                       CLIO                MI 48420‐8520
PARTRIDGE, MARY L                     6963 DAVIS HWY                                                                          GRAND LEDGE         MI 48837‐9474
PARTRIDGE, MICHAEL P                  5380 WALNUT HILLS DR                                                                    BRIGHTON            MI 48116‐8882
PARTRIDGE, NOLEN W                    769 HLAVEK RD                                                                           DECATUR             TX 76234‐4780
PARTRIDGE, PHILLIP B                  3002 ARTESIAN LN                                                                        NORTH FORT MYERS    FL 33917‐1528
PARTRIDGE, RANDY G                    5875 PHILLIPS RICE RD                                                                   CORTLAND            OH 44410‐9630
PARTRIDGE, RICCI J                    463 N YALE                                                                              MESA                AZ 85213
PARTRIDGE, RICCI J                    4138 E BRECKENRIDGE WAY                                                                 GILBERT             AZ 85234‐7511
PARTRIDGE, ROBERT G                   28744 TELEGRAPH RD APT 602                                                              FLAT ROCK           MI 48134‐1577
PARTRIDGE, ROBERT G                   4702 CLEVELAND AVE NW APT 10                                                            CANTON              OH 44709‐1843
PARTRIDGE, ROBIN                      67 BEECHVIEW DRIVE                                                                      BROOKVILLE          OH 45309‐9259
PARTRIDGE, ROGER L                    550 DESOTO AVE                                                                          YPSILANTI           MI 48198‐6116
PARTRIDGE, STANLEY M                  6621 N LICK CREEK RD                                                                    MORGANTOWN          IN 46160‐9440
PARTRIDGE, STANLEY MARK               6621 N LICK CREEK RD                                                                    MORGANTOWN          IN 46160‐9440
PARTRIDGE, SUZANNE L                  5870 WILLS LAKE RD                                                                      CUMMING             GA 30040‐6242
PARTRIDGE, VERNON R                   PO BOX 320348                     C/O IRMA F CLARK                                      FLINT               MI 48532‐0007
PARTRIDGE, VICTORIA C                 2002 S TERRACE LN NE                                                                    GRAND RAPIDS        MI 49505‐5787
PARTRIDGE, WAYNE A                    1563 BRADLEY AVE                                                                        FLINT               MI 48503‐3448
PARTS
PARTS & ELECTRIC MOTORS INC           1400 N CICERO AVE                                                                       CHICAGO            IL    60651
PARTS & SMARTS                        572 N PINE ST                                                                           BURLINGTON         WI    53105‐1419
PARTS CONNECTION                      1644 E STATE HIGHWAY 29                                                                 BERTRAM            TX    78605‐4567
PARTS CONNECTION                                                        1644 E TX HIGHWAY 29                                                     TX    78605
PARTS CONNECTION THE                  700 N PARK CIR                                                                          CEDAR PARK         TX    78613‐2207
PARTS DEPOT INC                       2177 DALE AVE SE                                                                        ROANOKE            VA    24013‐2135
PARTS DISTRIBUTORS INC                10 WILLIAMS AVE                                                                         NORWALK            OH    44857‐1160
PARTS DISTRIBUTORS INC                                                  10 WILLIAMS AVE                                                          OH    44857
PARTS EXPRESS DBA GREG'S AUTOMOTIVE   4737 MINNEHAHA AVE                                                                      MINNEAPOLIS        MN    55406‐3916

PARTS FINISHING GROUP INC             13251 STEPHENS RD                                                                       WARREN             MI 48089‐4377
PARTS FINISHING GROUP INC DBA         13251 STEPHENS RD                                                                       WARREN             MI 48089‐4377
AUTOMATED DEBURRING
PARTS MART                            6335 N 53RD AVE                                                                         GLENDALE           AZ    85301‐4601
PARTS MART                                                              6335 N 53RD AVE                                                          AZ    85301
PARTS PLACE INC., THE                 JOE IMPROTA                       217 PAUL ST                                           ELBURN             IL    60119‐7015
PARTS PROS AUTOMOTIVE WAREHOUSE                                         701 MANATEE AVE E                                                        FL    34208
INC.
PARTS PROS AUTOMOTIVE WAREHOUSE       701 MANATEE AVE E                                                                       BRADENTON           FL   34208‐1241
INC.
PARTSCH, CHARLES R                    29 AMY DR                                                                               TONAWANDA          NY    14150‐6101
PARTSCH, RAYMOND F                    305 WPA RD                                                                              SIDMAN             PA    15955‐4508
PARTSCH, ROBERT R                     295 SUMMIT BLVD                                                                         NORTH TONAWANDA    NY    14120‐2460
PARTSLINE WAREHOUSE INC               18460 BUREN PL                                                                          CASTRO VALLEY      CA    94552‐5276
PARTSPRO AUTOMOTIVE                   29120 ANDERSON RD                                                                       WICKLIFFE          OH    44092‐2311
PARTSPRO AUTOMOTIVE                                                     29120 ANDERSON RD                                                        OH    44092
PARTY CITY                            29350 PLYMOUTH RD                                                                       LIVONIA            MI    48150‐2399
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Name                           Address1                      Address2            Address3         Address4              City                State Zip
PARTY LINE TENT RENTALS        21 VREELAND AVE                                                                          ELMSFORD             NY 10523‐2524
PARTY MAX                      47725 MICHIGAN AVE                                                                       CANTON               MI 48188‐2239
PARTY PLACE LLC                1375 HEIL QUAKER BLVD         UPTD 06/02/06                                              LA VERGNE            TN 37086‐3518
PARTY PLACE RENTAL             19691 29 MILE RD                                                                         RAY                  MI 48096‐2411
PARTY PLACE RENTAL INC         19691 29 MILE RD                                                                         RAY                  MI 49096‐2411
PARTY PLACE/NSHVL              1375 HEIL QUAKER BLVD                                                                    LA VERGNE            TN 37086‐3518
PARTY RENTAL LTD               275 NORTH ST                                                                             TETERBORO            NJ 07608‐1201
PARTY RENTAL PLACE             54993 SHELBY RD                                                                          SHELBY TOWNSHIP      MI 48316‐1448
PARTY STORE QUICK              G4277 S SAGINAW ST                                                                       BURTON               MI 48529‐2003
PARTY TENTS AND SUPPLIES       2861 BUCKNER RD                                                                          LAKE ORION           MI 48362‐2013
PARTY ZONE                     G5390 N SAGINAW ST                                                                       FLINT                MI 48505‐1544
PARTYKA CHEVROLET INC.         200 SKIFF ST                                                                             HAMDEN               CT 06517‐1004
PARTYKA CHEVROLET INC.         LEE PARTYKA                   200 SKIFF ST                                               HAMDEN               CT 06517‐1004
PARTYKA MICHAEL J              5703 HAKEN RD                                                                            ALPENA               MI 49707‐9409
PARTYKA, AMANDA L              10658 N 300 W‐90                                                                         MARKLE               IN 46770‐9745
PARTYKA, DANIEL J              13183 INDEPENDENCE AVE                                                                   SHELBY TOWNSHIP      MI 48315‐4726
PARTYKA, DANIEL JOSEPH         13183 INDEPENDENCE AVE                                                                   SHELBY TOWNSHIP      MI 48315‐4726
PARTYKA, DENNIS L              10658 N 300 W‐90                                                                         MARKLE               IN 46770‐9745
PARTYKA, JAMES M               862 HAWKSMOORE DR                                                                        CLARKSTON            MI 48348‐3632
PARTYKA, JOELLYN K             862 HAWKSMOORE DR                                                                        CLARKSTON            MI 48348‐3632
PARTYKA, JOHN J                465 SABLE CT                                                                             ALPHARETTA           GA 30004‐8013
PARTYKA, JOHN M                77410 OAK CREEK CT                                                                       BRUCE TWP            MI 48065‐2127
PARTYKA, JOSEPH M              4195 MEDIA LN                                                                            HARTLAND             MI 48353‐1328
PARTYKA, JOSEPH S              4100 ROBINSON RD                                                                         PELLSTON             MI 49769‐9329
PARTYKA, KENNETH P             68652 VILLA DR                                                                           WASHINGTON TWP       MI 48095‐2929
PARTYKA, MICHAEL J             5703 HAKEN RD                                                                            ALPENA               MI 49707‐9409
PARTYKA, ROBERT L              112 TUSCARORAS TRL                                                                       PRUDENVILLE          MI 48651
PARTYKA, STEPHANIE             100 MICHAELS WALK                                                                        LANCASTER            NY 14086‐9306
PARTYKULA, THOMAS A            VIA DELLE TOFANE 50                                                40134 BOLOGNA ITALY
PARUCHURI, BHANU               4370 DEVONSHIRE DR                                                                       TROY                MI   48098‐6649
PARUCHURI, VENKATA S           APT B3                        936 AZURE STREET                                           SUNNYVALE           CA   94087‐1401
PARUCKI, JAMES V               3682 WOODHAVEN CIR                                                                       HAMBURG             NY   14075‐2260
PARUOLO, ANTHONY F             485 REDWOOD AVE                                                                          ORANGE CITY         FL   32763‐6872
PARUSKIEWICZ, THERESE M        12319 GLASGOW DR                                                                         BRUCE TWSHP         MI   48065‐4477
PARUSZKIEWICZ, RONALD J        6517 DUFFIELD RD                                                                         SWARTZ CREEK        MI   48473‐8582
PARUSZKIEWICZ, RONALD JOSEPH   6517 DUFFIELD RD                                                                         SWARTZ CREEK        MI   48473‐8582
PARVATANENI, RAI               43405 HOPTREE DR                                                                         STERLING HTS        MI   48314‐4500
PARVATH POLICE                 1941 SHEPHERDS DR                                                                        TROY                MI   48084‐5430
PARVATHANEN R RAMPRASAD        528 FOX HILLS DR S                                                                       BLOOMFIELD          MI   48304‐1316
PARVESSE, ANN M                2618 S CLINTON AVE                                                                       TRENTON             NJ   08610‐5027
PARVESSE, ANN M                2618 SOUTH CLINTON AVENUE                                                                HAMILTON TOWNSHIP   NJ   08610
PARVEY, BEATRICE J             2820 WINCHESTER ST                                                                       BALTIMORE           MD   21216
PARVEY, EINER ALBERT           BOONE ALEXANDRA               205 LINDA DR                                               DAINGERFIELD        TX   75638‐2107
PARVIN, SHARON K               220 LIONS ST                                                                             RUSSIAVILLE         IN   46979
PARVIN, SUSAN M                1505 RUE ROYALE CT                                                                       KOKOMO              IN   46902‐6024
PARVIS, BETTY J                865 WEDGEWOOD DRIVE APT B                                                                COLUMBUS            OH   43228
PARVIS, FLOYD E                5412 LELAND WAY                                                                          ANDERSON            IN   46017‐9661
PARVIZ ASHOORI                 771 GOLDEN EAGLE DR                                                                      CONWAY              SC   29527‐7480
PARVIZ GANDOMANI               14306 PINEHURST LN                                                                       GRAND BLANC         MI   48439‐2640
PARVIZ SOROUR MD               10 DARWIN DR                                                                             NEWARK              DE   19711
PARWULSKI, PAUL P              1187 MEADOW LN                                                                           GRAND ISLAND        NY   14072‐2100
PARYANI, KIOUMARS              5244 FOLKSTONE DR                                                                        TROY                MI   48085‐3270
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Name                             Address1                         Address2                    Address3             Address4              City                State Zip
PARYASKI, ALEXANDER P            1932 N OGEMAW TRL 714                                                                                   WEST BRANCH          MI 48661
PARYASKI, JUDITH H               3016 RIVER DRIVE                                                                                        LINCOLN PK           MI 48146‐3048
PARYASKI, JUDITH H               3016 RIVER DR                                                                                           LINCOLN PARK         MI 48146‐3048
PARYLO, THADDEUS J               52408 WALNUT DR                                                                                         CHESTERFIELD         MI 48047‐4549
PARYS, DENISE                    14061 ROAD H13                                                                                          OTTAWA               OH 45875‐9660
PARYS, LINNETTE E                6042 FREDERICK ST                                                                                       OMAHA                NE 68106‐2941
PARZEN DAVID                     2915 N KNIGHTSBRIDGE CIR                                                                                ANN ARBOR            MI 48105‐9292
PARZIALE PHILIP S (416239)       ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                    NEW YORK             NY 10006‐1638
PARZIALE, JOSEPHINE M            4661 SIERRA MADRE RD                                                                                    SANTA BARBARA        CA 93110‐1322
PARZIALE, PHILIP                 ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                    NEW YORK             NY 10006‐1638
PARZYCH JR, CHARLES W            8906 RUSSELL ST                                                                                         SHELBY TOWNSHIP      MI 48317‐5363
PARZYCH, CHARLOTTE R             1701 DOLLAR LAKE DR              C/O BEVERLY B SURRATT                                                  KENT                 OH 44240‐6360
PARZYCH, DENNIS R                7341 GLENGARY DR                                                                                        SAGAMORE HLS         OH 44067‐4200
PARZYCH, FRANK D                 11242 N MERIDIAN RD                                                                                     PLEASANT LAKE        MI 49272‐9734
PARZYCH, FRANK DAVID             11242 N MERIDIAN RD                                                                                     PLEASANT LAKE        MI 49272‐9734
PARZYNSKI, AURELIA               30860 N RIVER RD                                                                                        HARRISON TOWNSHIP    MI 48045‐1456
PAS MAS                          PIAZZA S. MARIA IN PORTICO, 23                                                                          NAPOLI
PAS OSWEGO INTERIM               MERCANTILE BANK ‐ STEVEN BASON   PO BOX 321 (17‐3)                                                      SAINT LOUIS         MO 63166
GROUNDWATERTRUST
PAS OSWEGO RI\PS TR              C\O MERCANTILE BANK S EASON      PO BOX 321 17 3                                                        SAINT LOUIS         MO 63166
PAS OSWEGO SITE CONSENT DECREE   CUSTODIAL FUND                   ATTN ENVIRONMENTAL ESCROW   4 ALBANY ST 4TH FL                         NEW YORK            NY 10006
                                                                  SVCS
PAS OSWEGO SITE GROUP FUND       C\O DE MAXIMIS INC               PO BOX 387022                                                          NASHVILLE           TN   37230
PAS OSWEGO SITE GROUP FUND       C\O DE MAXIMIS INC               450 MONTBROOK LN                                                       KNOXVILLE           TN   37919‐2705
PASA MODULES LLC                 4015 MICHIGAN AVE                                                                                       DETROIT             MI   48210‐3266
PASADENA ISD TAX OFFICE          PO BOX 1318                                                                                             PASADENA            TX   77501‐1318
PASADENA PAIN MANAGE             PO BOX 5607                                                                                             PASADENA            TX   77508‐5607
PASADENA SURG CTR                PO BOX 3511                                                                                             SOUTH PASADENA      CA   91031‐6511
PASADENA TEXACO                  100 PASADENA AVE S                                                                                      ST PETERSBURG       FL   33707‐1218
PASADYN, ALAN C                  608 GEORGETOWN AVE                                                                                      ELYRIA              OH   44035‐3002
PASADYN, ALBERT L                352 FIELDSTONE CT                                                                                       WELLINGTON          OH   44090‐1191
PASAK, ROSE                      1620 TYRINGHAM RD                                                                                       EUSTIS              FL   32726‐6429
PASALIDES, ANATOLI               P O BOX 43                                                                        PTOLEMAIDA 50200
PASALIDES, NIKOLAOS              608 REVERE AVE                                                                                          LINWOOD             NJ   08221‐1329
PASANELLO JAMES (423912)         ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                    NEW YORK            NY   10006‐1638
PASANELLO, JAMES                 ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                    NEW YORK            NY   10006‐1638
PASANEN, EUGENE E                5888 W IMLAY CITY RD                                                                                    IMLAY CITY          MI   48444‐8501
PASARICH, IRENE T                7374 N MONA LISA RD APT 5103                                                                            TUCSON              AZ   85741‐4572
PASAS, JESSIE                    1445 E ALMERIA RD                                                                                       PHOENIX             AZ   85006‐2246
PASAYE, LUCY M                   4525 S CHRISTIANA AVENUE                                                                                CHICAGO             IL   60632‐2918
PASCADOR, THOMAS G               4758 S KING DR APT 1                                                                                    CHICAGO             IL   60615
PASCAL B TRIOLA                  C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY           STE 600                                    HOUSTON             TX   77007
                                 BOUNDAS LLP
PASCAL ENGINEERING INC           891 BUSSE RD                                                                                            ELK GROVE VILLAGE   IL 60007‐2442
PASCAL J VERHILLE                5968 PARK BLVD                                                                                          SOUTH ROCKWOOD      MI 48179‐9742
PASCAL SCHWINN                   KRAHENWEG 16                     D66740 SAARLOUIS, GERMANY
PASCAL TH╔RY                     [NULL]                           22, RUE JULES LARDI╚RE                           AMIENS FRANCE           AMIENS
PASCAL VAN DEN BOSSCHE           KLEEMPUTTENSTRAAT 3                                                               1770 LIEDEKERKE BELGIUM
PASCAL VERHILLE                  5968 PARK BLVD                                                                                            SOUTH ROCKWOOD    MI   48179‐9742
PASCAL, ALBANIA S                11B VINE ST                                                                                               MILFORD           MA   01757‐3218
PASCAL, BERNICE                  3420 OAKDALE AVE                                                                                          SAINT LOUIS       MO   63121‐5434
PASCAL, J C                      6908 ORANGE LN                                                                                            FLINT             MI   48505‐1905
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Name                                   Address1                            Address2                        Address3   Address4                  City                 State Zip
PASCAL, LEWIS E                        1353 ALCONA DR                                                                                           BURTON                MI 48509‐2040
PASCAL, PAMELA S                       4413 SUNNYMEAD AVE                                                                                       BURTON                MI 48519‐1263
PASCAL, SHARON L                       1505 COLUMBIA DR                                                                                         FLINT                 MI 48503‐5217
PASCAL, SHARON LOUISE                  1505 COLUMBIA DR                                                                                         FLINT                 MI 48503‐5217
PASCALE MICHAEL (ESTATE OF) (642343)   WATERS & KRAUS                      3219 MCKINNEY AVE ‐ STE 3000                                         DALLAS                TX 75204

PASCALE VAN HECKE BERGIERS             KRUISSTRAAT 2                                                                  B 3090 OVERIJSE BELGIUM
PASCALE, ANGELA                        PO BOX 183                          151 3RD ST.                                                          VERPLANCK            NY   10596‐0183
PASCALE, JOHN A                        206 1ST ST                                                                                               BUCHANAN             NY   10511‐1106
PASCALE, JOSEPHINE                     3013 DA VINCI CT                                                                                         MODESTO              CA   95355
PASCALE, MARTIN A                      1113 WASHINGTON ST                                                                                       PEEKSKILL            NY   10566‐5809
PASCALE, MICHAEL                       WATERS & KRAUS                      3219 MCKINNEY AVE ‐ STE 3000                                         DALLAS               TX   75204
PASCALE, PETER G                       5 MAY PL                                                                                                 PORT CHESTER         NY   10573‐1803
PASCALE, PETER G.                      5 MAY PL                                                                                                 PORT CHESTER         NY   10573‐1803
PASCALE, STACIA L                      7464 BROOKWOOD DR                                                                                        BROOKFIELD           OH   44403‐9723
PASCALE, TONY L                        4648 LOGAN GATE RD                                                                                       YOUNGSTOWN           OH   44505‐1714
PASCALINE COBAUX                       RUE DES DEPORTES 27 B                                                          7070 MIGNAULT BELGIUM
PASCALINE COBAUX                       RUE DES D╔PORT╔S 27 B               7070 MIGNAULT
PASCALINE COBAUX                       RUE DES DEPORTES 27 B               7070 MIGNAULT
PASCALOFF, CARL J                      4310 47TH ST S UNIT G                                                                                    FARGO                ND 58104‐4256
PASCANY, FERN                          21515 EDGEWOOD ST                                                                                        SAINT CLAIR SHORES   MI 48080‐1801
PASCARELLA JAMES E (491665)            CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                                CLEVELAND            OH 44113‐1328
                                       COONE AND ASSOCIATES
PASCARELLA RANDY                       610 BECKER XING                                                                                          SCHENECTADY          NY   12306‐5866
PASCARELLA, ALEXANDER J                2012 LADY LAKE ST                                                                                        LAS VEGAS            NV   89128‐8429
PASCARELLA, DOLORES A                  31 LOCH HEATH LN                                                                                         YOUNGSTOWN           OH   44511‐3667
PASCARELLA, GENE M                     31 LOCH HEATH LN                                                                                         YOUNGSTOWN           OH   44511‐3667
PASCARELLA, GINA M                     31 LOCH HEATH LN                                                                                         YOUNGSTOWN           OH   44511‐3667
PASCARELLA, GINO M                     31 LOCH HEATH LN                                                                                         YOUNGSTOWN           OH   44511‐3667
PASCARELLA, MONELL C                   2737 ANDERSON MORRIS RD                                                                                  NILES                OH   44446‐4327
PASCARELLA, MONELL C                   2737 ANDERSON‐MORRIS RD.                                                                                 NILES                OH   44446‐4327
PASCARELLI, NICOLA                     1822 62ND ST                                                                                             BROOKLYN             NY   11204‐2926
PASCARZI, CHRISTINA
PASCAS, HAZEL V                        3625 PERIWINKLE DR                                                                                       WINTER PARK          FL   32792‐3023
PASCAVAGE, BRANDI LEIGH                16614 BOUGAINVILLA LN                                                                                    FRIENDSWOOD          TX   77546‐3412
PASCENTE, ALBERT M                     65 ATWOOD DR                                                                                             ROCHESTER            NY   14606‐4564
PASCENTE, ALBERT M                     65 ATWOOD DRIVE                                                                                          ROCHESTER            NY   14606‐4564
PASCENTE, JOSEPH A                     38 APPIAN DR                                                                                             ROCHESTER            NY   14606‐4721
PASCERI, ANTHONY J                     5673 LOCUST STREET EXT                                                                                   LOCKPORT             NY   14094‐5924
PASCERI, DONALD                        48 REGENT ST                                                                                             LOCKPORT             NY   14094‐5017
PASCERI, NICOLA                        1125 AVENUE C                                                                                            BAYONNE              NJ   07002‐3313
PASCH HARVEY LEWIS (ESTATE OF)         SEEGER WEISS LLP                    ONE WILLIAM STREET 10TH FLOOR                                        NEW YORK             NY   10004
(660521)
PASCH, IRVIN W                         811 BIRCHWOOD ST                                                                                         DEWITT               MI   48820‐9538
PASCH, JEFFREY W                       6337 SLEIGHT RD                                                                                          BATH                 MI   48808‐9486
PASCH, LOWELL D                        8124 N 105TH ST                                                                                          MILWAUKEE            WI   53224
PASCH, ROBERT E                        424 APPLEWOOD LN                                                                                         JANESVILLE           WI   53548‐3207
PASCH, ROGER L                         1513 CONDE ST                                                                                            JANESVILLE           WI   53546‐5855
PASCH, THOMAS W                        300 GALE RD                                                                                              MASON                MI   48854‐9735
PASCHAL BILLY R (651431)               (NO OPPOSING COUNSEL)
PASCHAL JAMES                          PO BOX 126                                                                                               OSHTEMO              MI 49077‐0126
PASCHAL SHEPHERD                       19018 KEMP AVE                                                                                           CARSON               CA 90746‐2835
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Name                           Address1                         Address2                      Address3   Address4         City            State Zip
PASCHAL SHUBERT                6149 W COUNTRY LN                                                                          ANDERSON         IN 46011‐9140
PASCHAL, ANN M                 250 SERAPHIN STREET              APT. 16                                                   STE GENEVIEVE    MO 63670
PASCHAL, ANNA M                1016 RODEO RD                                                                              INEZ             TX 77968
PASCHAL, ARDEN                 PO BOX 310752                                                                              FLINT            MI 48531‐0752
PASCHAL, BILL                  9223 SHADOW LAWN CIR                                                                       CONVERSE         TX 78109‐2025
PASCHAL, BILLY R               C/O BILBREY                      8724 PIN OAK ROAD                                         EDWARDSVILLE      IL 62025
PASCHAL, CARTER M              729 W GRAND AVE APT 102                                                                    DAYTON           OH 45406‐5329
PASCHAL, CHARLES J             1211 WRECKENRIDGE RD                                                                       FLINT            MI 48532‐3232
PASCHAL, CHRISTINE A           25523 W LOOMIS RD                                                                          WIND LAKE        WI 53185‐1429
PASCHAL, DAVID J               474 GLEN TERRACE RD                                                                        AUBURN           GA 30011‐2828
PASCHAL, DELORES E             1503 EARLHAM DR.                                                                           DAYTON           OH 45406‐4734
PASCHAL, DUDLEY                3672 MANDALAY DR                                                                           DAYTON           OH 45416‐1122
PASCHAL, GARAGIOLA             2664 N GETTYSBURG AVE                                                                      DAYTON           OH 45406‐1710
PASCHAL, GARY A                5644 N 975 W                                                                               MIDDLETOWN       IN 47356
PASCHAL, GEORGE W              4363 S 34TH ST                                                                             GREENFIELD       WI 53221‐1805
PASCHAL, HOWARD W              757 N US HIGHWAY 281                                                                       HAMILTON         TX 76531‐3933
PASCHAL, JAMES C               3305 W TORQUAY RD                                                                          MUNCIE           IN 47304‐3238
PASCHAL, JAMES R               116 BOBOLINK DR                                                                            GRIFFIN          GA 30224‐5204
PASCHAL, JANIE L               9297 ESSEX ST                                                                              ROMULUS          MI 48174‐1579
PASCHAL, JEREMY                7562 ISABELLA DR APT K                                                                     PORT RICHEY      FL 34668‐7053
PASCHAL, MARLENE M             4363 S 34TH ST                                                                             GREENFIELD       WI 53221‐1805
PASCHAL, MARTHA A              1404 RAYMONDS RD                 C/O THOMAS STARNES                                        MONROE           GA 30656‐8914
PASCHAL, MAX L                 6794 S 50 W                                                                                PENDLETON        IN 46064‐9074
PASCHAL, MILDRED D             5150 LILBURN STONE MTN RD                                                                  LILBURN          GA 30047‐7320
PASCHAL, PAULINE M.            4016 FOLKS CIRCLE                                                                          BLACKSHEAR       GA 31516
PASCHAL, PAULINE M.            4016 FOLKS CIR                                                                             BLACKSHEAR       GA 31516‐8438
PASCHAL, PRESTON R             4420 BAY AVE                                                                               BEAVERTON        MI 48612‐8707
PASCHAL, RONALD L              308 W CHIPAWAY DR                                                                          ALEXANDRIA       IN 46001‐2840
PASCHAL, SANDRA M              326 COUNTY ROAD 308                                                                        CULLMAN          AL 35057‐2842
PASCHAL, SARAH C               9086 W STATE ROAD 236                                                                      MIDDLETOWN       IN 47356‐9336
PASCHAL, SARAH C               9086 W ST RD. 236                                                                          MIDDLETOWN       IN 47356‐9336
PASCHAL, TIMOTHY L             4072 W 300 N                                                                               PERU             IN 46970‐7504
PASCHAL, WILLIE F              4826 BECKER DR                                                                             DAYTON           OH 45427‐3018
PASCHALL & ASSOCIATES          BILL PASCHALL                    2300 COTTONDALE LN STE 200                                LITTLE ROCK      AR 72202‐2054
PASCHALL ALFRED LEE (429586)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                STREET, SUITE 600
PASCHALL ASSOCIATES            2300 COTTONDALE LN STE 200                                                                 LITTLE ROCK     AR   72202‐2054
PASCHALL JR, KENNETH P         1010 E HARRIS ST                                                                           BROWNSBURG      IN   46112‐1704
PASCHALL TRUCK LINES INC       ROUTE 4 HWY 641 S                                                                          MURRAY          KY   42071
PASCHALL, ALFRED LEE           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                STREET, SUITE 600
PASCHALL, BRUCE M              PO BOX 237                                                                                 HOLLADAY        TN   38341‐0237
PASCHALL, ERNEST D             13310 DIXON RD                                                                             DUNDEE          MI   48131‐9793
PASCHALL, JAMES R              3037 BRIARCHASE CT                                                                         INDIANAPOLIS    IN   46268‐5049
PASCHALL, KEITH N              19280 COUNTY ROAD 1036                                                                     OAKWOOD         OH   45873
PASCHALL, KEITH NATHANIEL      19280 COUNTY ROAD 1036                                                                     OAKWOOD         OH   45873
PASCHALL, LOUISE E.            18564 ROAD 123                                                                             CECIL           OH   45821‐9432
PASCHALL, LOUISE E.            18564 RD 123                                                                               CECIL           OH   45821‐9432
PASCHALL, MARCELLUS            1045 N KENWOOD AVE                                                                         BALTIMORE       MD   21205‐1309
PASCHALL, NELLIE               1012 LOCKWELL DR                                                                           CHAMSBORO       TN   37035‐1833
PASCHALL, NELLIE               1012 LOCKWALL DR                                                                           CHAPMANSBORO    TN   37035‐5410
PASCHALL, PHYLLIS M            13 S ARLINGTON AVE                                                                         BALTIMORE       MD   21223‐2513
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Name                            Address1                              Address2               Address3   Address4              City            State Zip
PASCHALL, RICKY D               826 S MILWAUKEE ST                                                                            JACKSON          MI 49203‐1818
PASCHALL, TERRY L               1148 STILLMAN AVE                                                                             PLAINFIELD       NJ 07060‐2728
PASCHE, JOHN E                  1111 CRESTHAVEN DR                                                                            CEDAR HILL       TX 75104‐5474
PASCHE, ROBERT E                11011 TWOSOME DR                                                                              SAN ANTONIO      FL 33576‐8905
PASCHE, THOMAS W                3113 TURNBERRY DR                                                                             FINDLAY          OH 45840‐7900
PASCHEDAG, HOWARD G             1407 HIGHWAY W                                                                                FORISTELL        MO 63348‐1014
PASCHEL, RUTHA L                117 W PASADENA AVE                                                                            FLINT            MI 48505‐4009
PASCHEN, GEORGE R               4816 PORT DR                                                                                  MAUMEE           OH 43537‐8633
PASCHEN, WILLIAM A              29010 RAYBURN ST                                                                              LIVONIA          MI 48154‐3802
PASCHICK, WALTER L              406 S MAIN ST                                                                                 WAYNESBORO       TN 38485‐2629
PASCHKA, ROBERT C               267 ABBINGTON AVE                                                                             KENMORE          NY 14223‐1660
PASCHKE, ELVERA R               4678 US HWY 160 LOT 27                                                                        W PLAINES        MO 65775‐7662
PASCHKE, ELVERA R               4678 US HIGHWAY 160 LOT 27                                                                    WEST PLAINS      MO 65775‐7662
PASCHKE, JOSEPH F               6979 HATCHERY RD                                                                              WATERFORD        MI 48327‐1133
PASCHKE, SYLVIA                 23606 SORESINA                                                                                LAGUNA HILLS     CA 92653‐1833
PASCHKET RAY                    5237 RAY RD                                                                                   LINDEN           MI 48451‐8460
PASCHKET, RAYMOND J             5237 RAY RD                                                                                   LINDEN           MI 48451‐8460
PASCHKET, RAYMOND JOHN          5237 RAY RD                                                                                   LINDEN           MI 48451‐8460
PASCIAK, BARBARA                8972 RUSHSIDE                                                                                 PINCKNEY         MI 48169‐8215
PASCIAK, BARBARA                8972 RUSHSIDE DR                                                                              PINCKNEY         MI 48169‐8215
PASCIAK, EUGENE S               7218 ERICA LN                                                                                 N TONAWANDA      NY 14120‐4900
PASCIAK, HENRIETTA A            16512 BUCKNER POND WAY                                                                        CREST HILL        IL 60403‐8740
PASCIAK, JAMES A                124 COLONY ST                                                                                 DEPEW            NY 14043‐1710
PASCIAK, KENNETH J              7218 ERICA LANE                                                                               N TONAWANDA      NY 14120‐4900
PASCIAK, KENNETH J              16743 FAIRWAY ST                                                                              LIVONIA          MI 48154‐2115
PASCIAK, LEO                    627 QUEENS WAY                                                                                CANTON           MI 48188‐1154
PASCIAK, RONALD S               8640 KINMORE ST                                                                               DEARBORN HTS     MI 48127‐1269
PASCK, MAURICE                  1610 FISH LAKE RD                                                                             LAPEER           MI 48446‐8369
PASCO COUNTY BO F COUNTY        38053 LIVE OAK AVE                                                                            DADE CITY        FL 33523
COMMISIONERS
PASCO COUNTY SHERIFF'S OFFICE   20101 CENTRAL BLVD                                                                            LAND O LAKES     FL   34637‐7002
PASCO COUNTY SHERIFFS OFFICE    20101 CENTRAL BLVD                                                                            LAND O LAKES     FL   34637‐7002
PASCO COUNTY TAX COLLECTOR      PO BOX 276                                                                                    DADE CITY        FL   33526‐0276
PASCO COUNTY TAX COLLECTOR      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 276                                             DADE CITY        FL   33526‐0276

PASCO MOTORS INC                MYERS FOREHAND & FULLER               402 OFFICE PLZ STE B                                    TALLAHASSEE     FL    32301
PASCO MOTORS, INC.              14341 7TH ST                                                                                  DADE CITY       FL    33523‐3405
PASCO MOTORS, INC.              BARNEY NEWSOME                        14341 7TH ST                                            DADE CITY       FL    33523‐3405
PASCO, DAVID T                  6370 E BRISTOL RD                                                                             BURTON          MI    48519‐1743
PASCO, GORDON E                 PO BOX 462                                                                                    CLARKSTON       MI    48347‐0462
PASCO, JACK R                   14463 SEYMOUR RD                                                                              LINDEN          MI    48451‐9794
PASCO, RICHARD A                861 PROSPECT STREET                                                                           SALEM           OH    44460‐2624
PASCO, ROSE M                   3157 N IRISH RD                                                                               DAVISON         MI    48423‐9582
PASCO, SHARON E                 10250 LAKESIDE DR.                                                                            WHITE LAKE      MI    48386‐2240
PASCOE DONNA L                  976 SUFFIELD AVE                                                                              BIRMINGHAM      MI    48009
PASCOE JR, LOUIS T              1354 DELTONA BLVD                                                                             SPRING HILL     FL    34606‐4411
PASCOE JR, SIDNEY R             3697 LAKE BAYSHORE DRIVE              #H109                                                   BRADENTON       FL    34205
PASCOE, ALFRED G                74 KELLY ST                                                                                   ROCHESTER       NY    14605‐1905
PASCOE, CHRYLE K                465 RIVARD BLVD                                                                               GROSSE POINTE   MI    48230‐1627
PASCOE, CRAIG M                 R JOAQUIM JOSE ESTEVES , 60           APTO 31                           SAO PAULO 04740‐000
                                                                                                        BRAZIL
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PASCOE, CRAIG MARTIN        R JOAQUIM JOSE ESTEVES , 60         APTO 31                                 SAO PAULO SP 04740‐000
                                                                                                        BRAZIL
PASCOE, DALE H              21630 SUNNYSIDE ST                                                                                   ST CLAIR SHRS         MI    48080‐3577
PASCOE, DONALD L            1644 E NEWARK RD                                                                                     LAPEER                MI    48446‐9418
PASCOE, DONNA L             976 SUFFIELD AVE                                                                                     BIRMINGHAM            MI    48009‐1243
PASCOE, DORIS M             17323 E STREET ROAD                                                                                  NEW LOTHROP           MI    48460‐9614
PASCOE, EDWIN J             1315 CRANBROOK CIR                                                                                   AURORA                IL    60502‐1305
PASCOE, FLORENCE L          7301 W COUNTRY CLUB DR:             N #211                                                           SARASOTA              FL    34243
PASCOE, FLORINE H           74 CHESTER STREET                                                                                    LAKE GROVE            NY    11755‐3048
PASCOE, HOWARD E            19575 RICH DR                                                                                        CLINTON TWP           MI    48038‐4701
PASCOE, IVA J               PO BOX 1980                         C/O PRIVATE FINANCIAL SERV                                       FARGO                 ND    58107‐1980
PASCOE, JACK G              2428 TORRANCE AVE                                                                                    FLINT                 MI    48506‐3475
PASCOE, JERRY R             2250 RIDGEMOOR CT                                                                                    BURTON                MI    48509‐1391
PASCOE, KEITH A             317 E JACKSON ST                                                                                     LAKE ORION            MI    48362‐3245
PASCOE, KENNETH L           4715 ALAMO AVE                                                                                       CLARKSTON             MI    48348‐3501
PASCOE, LORI J              31441 BELLVINE TRL                                                                                   BEVERLY HILLS         MI    48025‐3702
PASCOE, LUCILLE A           4903 CLARKSTON RD                                                                                    CLARKSTON             MI    48348‐3800
PASCOE, MARK H              40638 AUBURNDALE DR                                                                                  STERLING HEIGHTS      MI    48313‐4100
PASCOE, MARY KATHLEEN       4 CHYROSE ROAD                      ST DAY REDRUTH                          CORNWALL TR165 GREAT
                                                                                                        BRITAIN
PASCOE, OLGA                1354 DELTONA BLVD                                                                                    SPRING HILL           FL    34606‐4411
PASCOE, RICHARD W           21632 JACKSONVILLE ST                                                                                FARMINGTON HILLS      MI    48336‐5730
PASCOE, RUTHANNE            40638 AUBURNDALE DR                                                                                  STERLING HTS          MI    48313‐4100
PASCOE, VIRGINIA A          503 N HAMPTON DR                                                                                     DURAND                MI    48429‐1419
PASCOE, WALTER R            7301 W COUNTRY CLUB DR N APT 211                                                                     SARASOTA              FL    34243‐4504
PASCOE, WILLIAM H           PO BOX 178                                                                                           NORTH LAKEWOOD        WA    98259‐0178
PASCOE, WILLIAM J           3741 N DURAND RD                                                                                     CORUNNA               MI    48817‐9759
PASCOE, WILLIAM L           53085 MARK DR                                                                                        SHELBY TOWNSHIP       MI    48316‐2325
PASCOLINE, JACK A           699 WOODS LN                                                                                         GROSSE POINTE WOODS   MI    48236‐1162
PASCONE SUSAN               PASCONE, SUSAN                      307 PAMILCO AVE                                                  RONKONKOMA            NY    11779‐5130
PASCONE, SUSAN              307 PAMLICO AVE                                                                                      RONKONKOMA            NY    11779‐5130
PASCUA, JONATHAN C          292 FALLING BROOK DR                                                                                 TROY                  MI    48098‐4694
PASCUAL COMPIAN             435 S 19TH ST                                                                                        SAGINAW               MI    48601‐1524
PASCUAL CORREA              122 E ARRELLAGA ST                                                                                   SANTA BARBARA         CA    93101‐1904
PASCUAL GARCIA              1216 KEBLE LN                                                                                        OXFORD                MI    48371‐5904
PASCUAL MD, FELIX H         25181 NOCTURNE LN                                                                                    PORT CHARLOTTE        FL    33983‐5920
PASCUAL VEGA                32 BRAMBURY DR APT A                                                                                 ROCHESTER             NY    14621‐1843
PASCUAL YBARRA              3804 S HARMON ST                                                                                     MARION                IN    46953‐4965
PASCUCCI CHRIS              NEED BETTER ADDRESS 09/27/06        270 S SERVICE RD                                                 MELVILLE              NY    11747
PASCUCCI MARBLE & GRANITE   31205 CENTURY DR                                                                                     WIXOM                 MI    48393‐2065
PASCUCCI, ALBERT P          623 WILLIAMS ST                                                                                      N TONAWANDA           NY    14120‐1712
PASCUCCI, ALICE E           623 WILLIAMS STREET                                                                                  N TONAWANDA           NY    14120‐1712
PASCUCCI, DOMINICK          223 KARTES DR                       C/O DEBORAH S. EGAN                                              ROCHESTER             NY    14616‐2122
PASCUCCI, JOHN J            1481 JAY ST                                                                                          ROCHESTER             NY    14611‐1027
PASCUCCI, JOSEPH P          18850 ELLIS LN                                                                                       HILLMAN               MI    49746‐8026
PASCUCCI, LOUIS             16 GATEWAY DR                                                                                        BATAVIA               NY    14020‐1028
PASCUCCI, MARY L            1481 JAY ST                                                                                          ROCHESTER             NY    14611‐1027
PASCUCCI, MARY L            1481 JAY STREET                                                                                      ROCHESTER             NY    14611‐1027
PASCUCCI, PATRICK J         10330 W THUNDERBIRD BLVD APT C202                                                                    SUN CITY              AZ    85351‐6012
PASCUTAZZ, CARMEN J         1455 TRIPODI CIR                                                                                     NILES                 OH    44446‐3564
PASCUTE, BETTY R            1444 ELM RD NE                                                                                       WARREN                OH    44483‐4019
PASCUTE, DAVID L            3481 NILES CORTLAND                 APT 18                                                           CORTLAND              OH    44410‐4410
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Name                     Address1                       Address2              Address3       Address4         City                State Zip
PASCUTE, DAVID L         1074 HOUSEL CRAFT RD                                                                 CORTLAND             OH 44410‐9564
PASCUTE, DONALD A        8980 INVERRARY DR SE                                                                 WARREN               OH 44484‐2551
PASCUTE, LINDA J         2314 STEPHENS AVE NW                                                                 WARREN               OH 44485‐2317
PASCUZZI, JOHN A         707 BURNS ST                                                                         ESSEXVILLE           MI 48732‐1205
PASCUZZI, RALPH C        207 HARBOUR WEST DR                                                                  WESTMINSTER          SC 29693‐6455
PASDO, DENNIS J          W6317 TOWER HILL RD                                                                  PESHTIGO             WI 54157‐9421
PASEK JAMES E            MARION T PASEK                 821 STANFORD CIRCLE                                   ROCHESTER HILLS      MI 48309‐2331
PASEK JAMSE E            821 STANFORD CIR                                                                     ROCHESTER HLS        MI 48309‐2331
PASEK, ANNA M            5280 AVENIDA DE DESPACIO                                                             YORBA LINDA          CA 92887‐4000
PASEK, CASIMER F         11704 PAINTED HILLS LN                                                               TAMPA                FL 33624‐6347
PASEK, GERALDINE M       4039 ALLENWOOD DR SE                                                                 WARREN               OH 44484‐2927
PASEK, JACQUELINE        2611 PINE OAK CT                                                                     NILES                OH 44446‐4461
PASEK, JAMES E           821 STANFORD CIR                                                                     ROCHESTER HLS        MI 48309‐2331
PASEK, MARION T          821 STANFORD CIR                                                                     ROCHESTER HLS        MI 48309‐2331
PASEK, PAULETTE          3361 BOOKER FARM RD                                                                  MT PLEASANT          TN 38474‐3024
PASEK, STANISLAWA        26A WOODSVILLE RD.                                                                   HOPEWELL             NJ 08525‐2703
PASEK, STEVEN M          5280 AVENIDA DE DESPACIO                                                             YORBA LINDA          CA 92887‐4000
PASEK, STEVEN M          13006 AUGUST CIR                                                                     RIVERSIDE            CA 92503‐0915
PASEKA, ANNA M           1006 E CASS ST                                                                       SAINT JOHNS          MI 48879‐1950
PASEL, ANGIE L           2005 CRABAPPLE DR                                                                    SHREVEPORT           LA 71118‐3926
PASEL, DON L             385 S ORR RD                                                                         HEMLOCK              MI 48626‐9424
PASEL, DON S             5332 CAVALIER CT                                                                     KEITHVILLE           LA 71047‐6555
PASEL, DON SCOTT         5332 CAVALIER CT                                                                     KEITHVILLE           LA 71047‐6555
PASEL, KATHRYN D         5332 CAVALIER CT                                                                     KEITHVILLE           LA 71047‐6555
PASEL, SCOTT I           2005 CRABAPPLE DR                                                                    SHREVEPORT           LA 71118‐3926
PASEL, SCOTT IAN         2005 CRABAPPLE DR                                                                    SHREVEPORT           LA 71118‐3926
PASELLA, MARK C          38372 MAST ST                                                                        HARRISON TOWNSHIP    MI 48045‐2750
PASENOW, RICHARD H       4477 HOWARD DR                                                                       VERMILION            OH 44089‐3308
PASER, JAN A             889 DOLLAR BAY DR                                                                    LAKE ORION           MI 48362‐2509
PASERBA, LARRY R         3064 KENT RD #310A                                                                   STOW                 OH 44224
PASERO, PAUL G           3465 SUMMERSET WAY                                                                   BOISE                ID 83709‐3826
PASEUR, GENEVA B         159 ADDIE LANE                                                                       WEST MONROE          LA 71291
PASEUR, GENEVA B         159 ADDIE LN                                                                         WEST MONROE          LA 71291‐8295
PASHA AUTOMOTIVE GROUP   DBA\PASHA SERVICES             5725 PARADISE DR                                      CORTE MADERA         CA 94925
PASHA GROUP              ATTN: CHARLENE BRASHER         6817 STADIUM DR                                       KANSAS CITY          MO 64129‐1860
PASHA, ELIJAH            5349 BURNS ST                                                                        DETROIT              MI 48213‐2911
PASHA, HELEN L           928 EASTLAND AVE                                                                     WARREN               OH 44484‐4508
PASHA, LORRAINE          6621 FIRESTONE CRT                                                                   WEST BLOOMFIELD      MI 48322
PASHAK WES               2552 N RUNNING DEER LN                                                               MIDLAND              MI 48642‐8513
PASHAK, CONNIE J         3701 NOTTINGHAM TER                                                                  MIDLAND              MI 48642‐3824
PASHAK, JOHN M           1235 E KITCHEN RD                                                                    PINCONNING           MI 48650‐9467
PASHAK, PAUL P           5403 EASY ST                                                                         BAY CITY             MI 48706‐3052
PASHAK, SHERYL L         1655 E BEAVER RD                                                                     KAWKAWLIN            MI 48631‐9165
PASHAK, WESLEY C         5099 DENWOOD ST                                                                      WATERFORD            MI 48327‐2598
PASHAK, WESLEY CHARLES   5099 DENWOOD ST                                                                      WATERFORD            MI 48327‐2598
PASHAN BELL              2056 WHITTLESEY ST                                                                   FLINT                MI 48503‐4349
PASHBY, HAROLD W         7206 STANLEY AVE                                                                     WARREN               MI 48092‐2718
PASHBY, LAVERNE A        4244 BARNES RD                                                                       MILLINGTON           MI 48746‐9033
PASHBY, LAVERNE AUGUST   4244 BARNES RD                                                                       MILLINGTON           MI 48746‐9033
PASHBY, PHYLLIS J        8151 ROCKWOOD AVE.                                                                   MT MORRIS            MI 48458
PASHEEK SR, MELVIN L     9377 RAYNA DR                                                                        DAVISON              MI 48423‐2853
PASHEILICH, GERALD L     9350 E BAYSHORE RD                                                                   MARBLEHEAD           OH 43440‐2414
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Name                         Address1                          Address2                  Address3   Address4         City             State Zip
PASHEILICH, JACQUELYNN K     9350 E BAYSHORE RD                                                                      MARBLEHEAD        OH 43440‐2414
PASHENEE, DORIS A            6997 N CLARWIN AVE                                                                      GLADWIN           MI 48624‐8810
PASHIA, JOHN M               RT 3 SUNRISE LAKE                                                                       DE SOTO           MO 63020
PASHIA, RAYMON L             3205 KENAI CT                                                                           ARNOLD            MO 63010‐3800
PASHIA, RAYMON LEE           3205 KENAI CT                                                                           ARNOLD            MO 63010‐3800
PASHKEVICH, JOHN             4518 BEAR LAKE CT                                                                       CLEARWATER        FL 33762‐5201
PASHNIK, RICHARD A           1074 CUTLER CIR                                                                         SALINE            MI 48176‐9587
PASHON, ROBERT E             35039 PECO ST                                                                           UNION CITY        CA 94587‐5222
PASHONG‐WALCK, MARY L        127 WALCK LN                                                                            BENEZETT          PA 15821‐2327
PASHUCCO FRANK (421413)      BARON & BUDD                      660 MADISON AVENUE                                    NEW YORK          NY 10065
PASHUCCO, FRANK              BARON & BUDD                      660 MADISON AVENUE                                    NEW YORK          NY 10021
PASIADIS, DRUSILLA           PO BOX 1412                                                                             WILLOUGHBY        OH 44096‐1412
PASICHNYK, ANNE T            1215 GROVENBURG RD                                                                      HOLT              MI 48842‐8612
PASICHNYK, STEPHEN G         505 WOODHAVEN DR                                                                        LANSING           MI 48917‐3546
PASICK, KATHLEEN J           5707 45TH ST E #291                                                                     BRADENTON         FL 34203‐6509
PASIENZA, JOSEPH A           3070 W COON LAKE RD                                                                     HOWELL            MI 48843‐8938
PASIENZA, JOSEPH ANTHONY     3070 W COON LAKE RD                                                                     HOWELL            MI 48843‐8938
PASIEWICZ, RICHARD S         5551 S KEELER AVE                                                                       CHICAGO            IL 60629‐4826
PASIKE, CHERYL J             5600 GARRETSON LN                                                                       OXFORD            MI 48371‐2812
PASILLAS ANTONIO (507575)    COON BRENT W                      PO BOX 4905                                           BEAUMONT          TX 77704‐4905
PASILLAS, ANTONIO            103 ARCADIA AVE                                                                         ROMEOVILLE         IL 60446‐1115
PASILLAS, ANTONIO            COON BRENT W                      PO BOX 4905                                           BEAUMONT          TX 77704‐4905
PASINEAU, HELENA M           4598 GROUND PINE TRL                                                                    TRAVERSE CITY     MI 49686‐3894
PASINSKI, JOSEPH W           301 PARKER AVE                                                                          MERIDEN           CT 06450‐5928
PASINSKI, ROBERT E           1091 FERN WAY                                                                           GLASSPORT         PA 15045
PASION COMMUNICATION INC     955 SW 2ND AVE APT 1101                                                                 MIAMI             FL 33130‐3581
PASION, RAYMOND M
PASIONEK III, JOSEPH J       1980 THUNDERBIRD DR                                                                     SAGINAW          MI   48609‐8526
PASIONEK, CHARLENE A         631 TULANE ST                                                                           SAGINAW          MI   48604‐2250
PASIONEK, HELEN N            2260 SANTA FE ARCH                                                                      VIRGINIA BEACH   VA   23456‐6743
PASIUK, MICHAEL E            167 CHANDLER AVE                                                                        STATEN ISLAND    NY   10314‐2826
PASIUK, RICHARD F            167 CHANDLER AVE                                                                        STATEN ISLAND    NY   10314‐2826
PASK, JAMES D                2849 MARSHALL RD                                                                        MEDINA           NY   14103‐9638
PASK, MAGDALEN A             2849 MARSHALL RD                                                                        MEDINA           NY   14103‐9638
PASKALI PAGONAKIS            5026 SPRINGHOUSE CIR                                                                    BALTIMORE        MD   21237‐3356
PASKAUCHAS, GEORGE V         1622 S LINVILLE ST                                                                      WESTLAND         MI   48186‐4171
PASKAUCHAS, GEORGE VINCENT   1622 S LINVILLE ST                                                                      WESTLAND         MI   48186‐4171
PASKE, NICKELSON J           24766 DWIGHT AVE                                                                        EASTPOINTE       MI   48021‐1234
PASKEL SHELTON               21 BOWHALL RD                                                                           PAINESVILLE      OH   44077‐5214
PASKELL FLORENCE (501730)    LIPMAN DAVID M                    5901 SW 74TH ST STE 304                               MIAMI            FL   33143‐5163
PASKELL JR, CHESTER          14800 W COUNTY ROAD 850 N                                                               GASTON           IN   47342‐9012
PASKELL, ALVERA G            2455 N TAMARACK TRL APT 233                                                             BLOOMINGTON      IN   47408‐1292
PASKELL, FLORENCE            THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES     FL   33146
PASKELL, FLORENCE            LIPMAN DAVID M                    5901 SW 74TH ST STE 304                               MIAMI            FL   33143‐5163
PASKELL, MICHAEL C           14800 W COUNTY ROAD 850 N                                                               GASTON           IN   47342‐9012
PASKELL‐ASHFORD, IRIS        32 DEBRAN DR                                                                            HENRIETTA        NY   14467‐9012
PASKER, REGINA W             307 PORTER AVE                                                                          BUFFALO          NY   14201‐1031
PASKETT, TRISH               6168 W VIEW POINT DR                                                                    MERIDIAN         ID   83642‐6410
PASKIEVITCH, THOMAS E        33 SEDUM                                                                                HOWELL           MI   48843‐9836
PASKIEWICZ, JAMES S          1419 95TH AVE                                                                           KENOSHA          WI   53144‐7721
PASKIN NAGI & BAXTER PC      155 W CONGRESS STE 600                                                                  DETROIT          MI   48226
PASKIN, MARC D               12134 N MEADOW SPRINGS DR APT 2                                                         HOLLAND          MI   49424‐8237
                                    09-50026-mg           Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                Address1                       Address2                        Address3                  Address4         City              State Zip
PASKO EDWARD (ESTATE OF) (641771)   SIMMONS FIRM                   PO BOX 521                                                                 EAST ALTON          IL 62024‐0519
PASKO ROBERT FRANK                  PASKO, ROBERT FRANK            2325 GRANT BUILDING 310 GRANT                                              PITTSBURGH         PA 15219
                                                                   STREET
PASKO ROBERT FRANK                  PASKO, PAMELA A                GORBERG DAVID J & ASSOCIATES    2325 GRANT BUILDING 310                    PITTSBURGH         PA 15219
                                                                                                   GRANT STREET
PASKO, EDWARD                       SIMMONS FIRM                   PO BOX 521                                                                 EAST ALTON         IL   62024‐0519
PASKO, FLORENCE E                   248 WREN DR                                                                                               GREENSBURG        PA    15601‐4741
PASKO, KATIE                        502 N SPRUCE                                                                                              TRAVERSE CITY     MI    49684‐1442
PASKO, KATIE                        502 N SPRUCE ST                                                                                           TRAVERSE CITY     MI    49684‐1442
PASKO, LADISLAUS                    533 CLEOPHUS PKWY                                                                                         LINCOLN PARK      MI    48146‐2654
PASKO, THEODORE F                   1286 KENT DR                                                                                              BRUNSWICK         OH    44212‐3004
PASKO, WALTER J                     2 REMSEN DR                                                                                               HOWELL            NJ    07731‐1959
PASKOW, ROGER F                     303 BEACON HILL DR                                                                                        ALLEN             TX    75013‐3401
PASKOWICZ, IRENE F                  4690 S 114TH ST                                                                                           GREENFIELD        WI    53228‐2535
PASKVAN, JOHN J                     956 DANIELSON CT                                                                                          GURNEE            IL    60031‐4108
PASLARU, GEORGE                     28444 JAMES DR                                                                                            WARREN            MI    48092‐5612
PASLAY, NICHOLAS O                  26451 NANTON ST                                                                                           MADISON HEIGHTS   MI    48071‐4914
PASLEAN, CATHERINE F                3281 W DAVISON LK RD                                                                                      ORTONVILLE        MI    48462
PASLEAN, CATHERINE F                3281 DAVISON LAKE RD                                                                                      ORTONVILLE        MI    48462‐9518
PASLEAN, DAVID E                    1210 N COATS RD                                                                                           OXFORD            MI    48371‐3104
PASLEAN, GERALD O                   3281 DAVISON LAKE RD                                                                                      ORTONVILLE        MI    48462‐9518
PASLEY, BARBARA                     4713 SEATTLE ST                                                                                           SAINT LOUIS       MO    63121‐3033
PASLEY, BARBARA                     4713 SEATTLE                                                                                              NORTHWOODS        MO    63121‐3033
PASLEY, CHARLES                     PO BOX 25014                                                                                              LANSING           MI    48909‐5014
PASLEY, CHARLES E                   1742 LEXINGTON PKWY                                                                                       INKSTER           MI    48141‐1571
PASLEY, CONNIE D                    4925 E 38TH ST                                                                                            INDIANAPOLIS      IN    46218‐1668
PASLEY, DANIEL                      2614 TIFFIN AVE LOT 86                                                                                    SANDUSKY          OH    44870‐5380
PASLEY, DAVID J                     2204 REMINGTON AVE                                                                                        SANDUSKY          OH    44870‐5078
PASLEY, GEORGE T                    44 AFTON ST                                                                                               ROCHESTER         NY    14612‐5102
PASLEY, HELEN P                     1029 S ARMSTRONG ST                                                                                       KOKOMO            IN    46902‐6302
PASLEY, JERELL J                    13421 HAMPSHIRE ST                                                                                        DETROIT           MI    48213‐2014
PASLEY, JOHN E                      4707 VENICE ROAD                                                                                          SANDUSKY          OH    44870
PASLEY, LARRY D                     7277 QUEEN ANNE CT APT F                                                                                  INDIANAPOLIS      IN    46227
PASLEY, LORETTA T                   30 CHERRY ST                                                                                              SPRINGBORO        OH    45066‐1302
PASLEY, MARVIN R                    4713 SEATTLE ST                                                                                           SAINT LOUIS       MO    63121‐3033
PASLEY, RONNELL L                   688 HINES RD                                                                                              MORELAND          GA    30259‐2946
PASLEY, ROSEMARY                    PO BOX 25014                                                                                              LANSING           MI    48909‐5014
PASLEY, SHARON L                    2614 TIFFIN AVE LOT 86                                                                                    SANDUSKY          OH    44870‐5380
PASLEY, STEPHEN F                   2718 W 13 MILE RD                                                                                         ROYAL OAK         MI    48073‐4406
PASLIN CO, THE                      25411 RYAN RD                                                                                             WARREN            MI    48091‐1366
PASLIN CO/WARREN                    25411 RYAN RD                                                                                             WARREN            MI    48091‐1366
PASLIN COMPANY                      25411 RYAN RD                                                                                             WARREN            MI    48091‐1366
PASLIN CORP/FERNDALE                2840 HILTON RD                                                                                            FERNDALE          MI    48220‐1015
PASMORE, BILLY L                    32027 DUNWANDRIN RD                                                                                       GRAVOIS MILLS     MO    65037‐4828
PASNIK, JOHN F                      4267 FREEMAN RD                                                                                           MIDDLEPORT        NY    14105‐9640
PASNIK, JOHN FRANCIS                4267 FREEMAN RD                                                                                           MIDDLEPORT        NY    14105‐9640
PASNIK, JOHN M                      4267 FREEMAN RD                                                                                           MIDDLEPORT        NY    14105‐9640
PASNIK, TERESA G                    4267 FREEMAN RD                                                                                           MIDDLEPORT        NY    14105‐9640
PASNIK, TERESA G                    4267 FREEMAN ROAD                                                                                         MIDDLEPORT        NY    14105‐9640
PASO ROBLES GMC TRUCK, INC.         ANTHONY BORJON                 PO BOX 1108                                                                PASO ROBLES       CA    93447‐1108
PASON SYSTEMS USA                   16100 TABLE MOUNTAIN PARKWAY                                                                              GOLDEN            CO    80403
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Name                            Address1                            Address2                     Address3                    Address4                    City               State Zip
PASON SYSTEMS USA CORPORATION   JEFF IZIENICKI                      16100 TABLE MOUNTAIN PARKWAY                                                         GOLDEN              CO 80403

PASONO, MICHAEL E               1375 BROOKEDGE DR                                                                                                        HAMLIN             NY    14464‐9341
PASOTTI, JOAN O'DONOHUE         745 EVERGREEN ST                                                                                                         MENLO PARK         CA    94025‐5720
PASQUA DANIEL                   45 SILO RIDGE RD E                                                                                                       ORLAND PARK         IL   60467‐7327
PASQUAL G GUILLERMO             2115 S FAIRFIELD DR                                                                                                      MARION             IN    46953‐1274
PASQUAL GUILLERMO               2115 S FAIRFIELD DR                                                                                                      MARION             IN    46953‐1274
PASQUAL PAELLA                  23 BROADMOOR DR                                                                                                          TONAWANDA          NY    14150‐5531
PASQUAL, ROBERT F               3508 SILVER TRAILS DR                                                                                                    FORT COLLINS       CO    80526‐6448
PASQUALE ABBARNO                370 SENECA PL                                                                                                            LANCASTER          NY    14086‐1473
PASQUALE ACCARDO & CONCETTA     C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO 290                          80035 NOLA NAPLES (ITALY)
PELLEGRINO
PASQUALE ACCARDO AND CONCETTA   C/O DIALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZO NO 290                           80035 NOLA NAPLES ITALY
PELLEGRINO
PASQUALE ACCARDO CONCETTA       C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290 NOLA                                                NAPLES                   80035
PELLEGRINO
PASQUALE ACCARDO, CONCETTA      C/O D'ALESSANDRO & PARTNERS ‐ SGE   VIA ANFITEATRO LATERIZIO NO. 290                         80035 NOLA NAPLES ITALY                              80035
PELLEGRINO
PASQUALE AMOROSO                1501 WOODBOURNE RD APT B7                                                                                                LEVITTOWN          PA 19057‐1514
PASQUALE BELLANTONI             307 PUCKETT CREEK CT                                                                                                     CANTON             GA 30114‐4369
PASQUALE CARBONE                MOTLEY RICE LLC                     28 BRIDGESIDE BLVD                 PO BOX 1792                                       MT PLEASANT        SC 29465
PASQUALE CASTALDO               VIA SAN MARCO N░ 13                 80013 CASALNUOVO DI NAPOLI         PROVINCIA DI NAPOLI
PASQUALE CAVALLARO              GROSSWEIDENMUEHLSTR. 24                                                                                                  NUERNBERG          DE    90419
PASQUALE CESARANO               134 S SWAN ST                                                                                                            BATAVIA            NY    14020‐3622
PASQUALE CIOPPA                 85 HILLARY DR                                                                                                            ROCHESTER          NY    14624‐5207
PASQUALE CRISTIANO              321 THRUSTON BLVD E                                                                                                      DAYTON             OH    45419‐3924
PASQUALE CRISTIANO              321 E THRUSTON BLVD                                                                                                      DAYTON             OH    45419‐3924
PASQUALE DEBLASIO               58 KINO BLVD                                                                                                             TRENTON            NJ    08619‐1457
PASQUALE DEGLIUOMINI            1857 MULFORD AVE                                                                                                         BRONX              NY    10461‐4116
PASQUALE DIIELSI                312 GULF DR                                                                                                              VENICE             FL    34285‐3701
PASQUALE DIMEGLIO               49 E BELLAMY DR                                                                                                          NEW CASTLE         DE    19720‐2981
PASQUALE DISARNO                6215 FOX GLEN DR APT 298                                                                                                 SAGINAW            MI    48638‐4313
PASQUALE DOVI                   105 BELMONT ST                      C/O LUCY J DOVI                                                                      ROCHESTER          NY    14620‐1622
PASQUALE F FAVA                 5315 W HENRIETTA RD                                                                                                      HENRIETTA          NY    14467
PASQUALE FALLONE                3389 KINGSWAY DR                                                                                                         HIGHLAND           MI    48356‐1839
PASQUALE FORLETTA               34139 DAVISON ST                                                                                                         STERLING HEIGHTS   MI    48310‐6676
PASQUALE G CANTONE              C/O EMBRY & NEUSNER                 PO BOX 1409                                                                          GROTON             CT    06340
PASQUALE GONZALEZ JR            2023 SAINT LUCIE BLVD LOT 250                                                                                            FORT PIERCE        FL    34946‐8726
PASQUALE GRASSO                 26 WINTER ST                                                                                                             MARLBOROUGH        MA    01752‐4505
PASQUALE GRIECO                 67 BRAKENBURY DR                                                                                                         TOMS RIVER         NJ    08757‐4307
PASQUALE J GUIDICE JR           C/O WEITZ & LUXENBERG PC            700 BROADWAY                                                                         NEW YORK CITY      NY    10003
PASQUALE J REGNA                9 WESTHAVEN DR                                                                                                           ROCHESTER          NY    14624‐2817
PASQUALE LANDSCAPING
PASQUALE LEMME JR               94 PIN OAK CIR                                                                                                           GRAND ISLAND       NY 14072‐1337
PASQUALE LIBERATORE             1008 SOUTHERN BLVD NW                                                                                                    WARREN             OH 44485‐2244
PASQUALE MASCIO                 10031 HARPFER DR                                                                                                         HARRISON           MI 48625‐8700
PASQUALE MASTRICCI              BSI 5A                              VIA MAGATTI 2                                            CH 6901 LUGANO
                                                                                                                             (SWITZERLAND)
PASQUALE MATERA                 21 S MANOR DR                                                                                                            WHITE PLAINS       NY    10603‐1903
PASQUALE MELCHIONNA             54 E GRANT AVE                                                                                                           ROSELLE PARK       NJ    07204‐2218
PASQUALE MELLONE                9510 S KOLMAR AVE APT 410                                                                                                OAK LAWN           IL    60453‐7212
PASQUALE MUCCI                  78 OSSIPEE RD                                                                                                            SOMERVILLE         MA    02144‐1634
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Name                            Address1                            Address2                     Address3             Address4               City                  State Zip
PASQUALE ORSINI                 54 HILLVIEW TER                                                                                              BUFFALO                NY 14224‐2817
PASQUALE P CIOPPA               85 HILLARY DRIVE                                                                                             ROCHESTER              NY 14624
PASQUALE P LIBERATORE           1008 SOUTHERN BLVD. N.W.                                                                                     WARREN                 OH 44485‐2244
PASQUALE PAGNOTTA               2866 STOKELY AVE APT A309                                                                                    TRENTON                NJ 08611
PASQUALE PETRALIA               5 PRINCETON DR                                                                                               MANALAPAN              NJ 07726‐3226
PASQUALE PICA                   334 BLOSSOM AVE                                                                                              CAMPBELL               OH 44405‐1470
PASQUALE REALE                  51 ANGEL PATH                                                                                                WEBSTER                NY 14580
PASQUALE REGNA                  9 WESTHAVEN DR                                                                                               ROCHESTER              NY 14624‐2817
PASQUALE ROSSI                  VAI DELLA TORRICELLA 33             50012 BAGNO A RIPOLI         FIRENZE              ITALIA
PASQUALE ROSSI                  VIA DELLA TORRICELLA 33             50012 BAGNO A RIPOLI         FIRENZE              ITALY
PASQUALE RUGGIERO               9 DRAKE LN                                                                                                   WHITE PLAINS          NY    10607‐2215
PASQUALE SENNA                  271 SUMMIT RD                                                                                                MOUNTAINSIDE          NJ    07092‐2308
PASQUALE SPEZIALE               1450 ATLANTIC SHORES BLVD APT 105                                                                            HALLANDALE BEACH      FL    33009‐3755
PASQUALE SPITALETTO JR          555 ROSEWOOD DR                                                                                              LANOKA HARBOR         NJ    08734‐2133
PASQUALE TESTANI                1523 MARIE ST                                                                                                DEARBORN HTS          MI    48127‐4909
PASQUALE, ANTHONY A             6806 ERRICK RD                                                                                               N TONAWANDA           NY    14120‐1159
PASQUALE, ANTHONY J             170 MOFFETT ST                                                                                               LANCASTER             MA    01523
PASQUALE, CATHERINE             104 COOLIDGE AVE                                                                                             PARLIN                NJ    08859‐1545
PASQUALE, DOUGLAS J             1517 E FULTON ST                                                                                             KOKOMO                IN    46901‐7782
PASQUALE, ELIZABETH L           1413 SE 26TH TER                                                                                             CAPE CORAL            FL    33904‐5733
PASQUALE, JAMES J               146 HENN HYDE RD NE                                                                                          WARREN                OH    44484‐1201
PASQUALE, JOHN F                508 D. DRIVE                                                                                                 WARREN                OH    44484‐2304
PASQUALE, JOHN F                508 D DR NE                                                                                                  WARREN                OH    44484‐2304
PASQUALE, JOSEPH J              1800 KUSER RD APT 12                                                                                         HAMILTON              NJ    08690‐3713
PASQUALE, JOSEPH JOHN           1800 KUSER RD APT 12                                                                                         HAMILTON              NJ    08690‐3713
PASQUALE, JULIUS J              1413 SE 26TH TER                                                                                             CAPE CORAL            FL    33904‐5733
PASQUALE, LINDA K               236 ATLANTIC AVE                                                                                             READING               PA    19608
PASQUALE, PAUL A                4585 ALDERWOOD DR                                                                                            CANFIELD              OH    44406‐9239
PASQUALE, ROBERT V              105 BEECH ST                                                                                                 CLINTON               MA    01510‐2704
PASQUALI GIORGIO                C/O LA SCALA                        STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
PASQUALI JOHN                   20 FREDONIA RD                                                                                               FREDON TOWNSHIP        NJ   07860‐5201
PASQUALI, MARY A                2804 WHITEHOUSE DR                                                                                           KOKOMO                 IN   46902‐3062
PASQUALINA BERNARDO             RUDOWER STR. 99                                                                       BERLIN 12351 GERMANY
PASQUALINA DEROSE               2029 FREESIA AVE                                                                                             SIMI VALLEY           CA 93063‐3534
PASQUALINA DI NUZZO             VICO GIUNONE 6                      12351 BERLIN                 GERMANY
PASQUALINA DI NUZZO             VICO GIUNONE 6                      81023 CERVINO CE             ITALY
PASQUALINA GROSSI               2126 COVERT RD                                                                                               BURTON                MI    48509‐1066
PASQUALINA STANCO               18 AMITY ST                                                                                                  ELIZABETH             NJ    07202‐3936
PASQUALINE, ALEXANDER           1930 W SAN MARCOS BLVD SPC 190                                                                               SAN MARCOS            CA    92078‐3965
PASQUALINI, DAVID M             41068 ANNAPOLIS CR N LOT 151                                                                                 CANTON                MI    48188
PASQUALINI, MICHAEL W           4808 COLUMBUS AVE                                                                                            SANDUSKY              OH    44870‐7129
PASQUALINO CHIAPPONE            28959 SAN RAPHAEL                                                                                            MISSION VIEJO         CA    92692‐4973
PASQUALINO PARMENSI             1640 MEADOWVILLE RD                                                                                          PIERSON               FL    32180‐2794
PASQUALONE, LINO                168 ROUTE 6N                                                                                                 MAHOPAC               NY    10541‐3270
PASQUALONE, RANIERO             43 OLD HAWLEYVILLE RD                                                                                        BETHEL                CT    06801‐3112
PASQUALOTTO, MARIO J            128 59TH ST                                                                                                  NIAGARA FALLS         NY    14304‐3812
PASQUARELL KENNETH L (463166)   WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                          NEW YORK              NY    10038
PASQUARELL, KENNETH L           WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                          NEW YORK              NY    10038
PASQUARELLA, KENNETH            611 JANSEN AVE                                                                                               ESSINGTON             PA    19029‐1109
PASQUARETTE, GALE C             4163 RIDGE RD                                                                                                LOCKPORT              NY    14094‐9729
PASQUARIELLO, NICHOLAS          27627 W HURON RIVER DR                                                                                       FLAT ROCK             MI    48134‐9734
PASQUE, GEORGE B                1122 ANITA AVE                                                                                               GROSSE POINTE WOODS   MI    48236‐1474
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Name                          Address1                         Address2            Address3         Address4                  City               State Zip
PASQUEL, DEBRA L              15814 MOYER RD                                                                                  GERMANTOWN          OH 45327‐9794
PASQUIER PANEL PRODUCTS INC   PO BOX 1170                                                                                     SUMNER              WA 98390‐0230
PASQUIER, JACQUES M           3877 GREENWOOD DR                                                                               ROCHESTER HILLS     MI 48309‐4723
PASQUINA TOCCACELI            1709 LAKE FOREST DRIVE           LOT 40                                                         HURON               OH 44839
PASQUINCE, DANIEL             2338 COOLIDGE ST                                                                                HOLLYWOOD           FL 33020‐2335
PASQUINELLI, VANCE A          4850 GREENCASTLE WAY                                                                            ANTIOCH             CA 94531‐9429
PASQUINI RATENA SIGNORASTRI   VIA GREGORI 01                                                        43043 BORGO VAL DI TARO
PIERGIOVANNI                                                                                        PR ITALY
PASS RENTAL                   3970 N.W. 25TH STREET                                                                           MIAMI              FL   33142
PASS SR, WINFRED O            7305 PEA RIDGE PL                                                                               GAINESVILLE        GA   30506‐7067
PASS, DONALD R                330 ASCOT AVE                                                                                   WATERFORD          MI   48328‐3507
PASS, EARL                    2112 BLACK WOLF DR                                                                              CROSSVILLE         TN   38572‐6722
PASS, EDNA B                  2252 BUFORD DAM ROAD                                                                            BUFORD             GA   30518‐2033
PASS, EVERETT E               110 FORRESTER AVE                                                                               SWANTON            OH   43558‐1420
PASS, GEORGE L                316 FOXBORO DR                                                                                  POWDER SPRINGS     GA   30127
PASS, GLENDA T                1515 BENTON BLVD APT 1221                                                                       POOLER             GA   31322‐1938
PASS, GLENDA T                1515 BENTON BLVD                 APT 1221                                                       POOLER             GA   31322
PASS, HAROLD R                595 CREEK NATION RD                                                                             JEFFERSON          GA   30549‐7632
PASS, HENRY J                 81 MONROE ST                                                                                    MASSAPEQUA PK      NY   11762‐2456
PASS, JAMES S                 165 TARTAN DR                                                                                   ROCHESTER HILLS    MI   48309‐1810
PASS, JOANN                   12778 NW MARINER CT                                                                             PALM CITY          FL   34990‐8033
PASS, JOHN L                  4180 MCBRAYER RD                                                                                OAKWOOD            GA   30566‐3521
PASS, NANCY E                 5900 RIVER RD                                                                                   WATERVILLE         OH   43566‐9740
PASS, RONALD B                1038 ELMDALE RD                                                                                 GLENVIEW           IL   60025‐2500
PASS, RUBY E                  980 WILMINGTON AVE APT 509                                                                      DAYTON             OH   45420‐1621
PASS, SHIRLEY M               4698 ANDALUSIA TRL                                                                              DORAVILLE          GA   30360‐1918
PASS, STEPHEN B               48574 LEAFDALE CT                                                                               SHELBY TOWNSHIP    MI   48317‐2747
PASS, STEPHEN R               116 MIDWAY DR                                                                                   NEW CASTLE         IN   47362‐1228
PASSABET, ROBERT J            3508 W BOGART RD                                                                                SANDUSKY           OH   44870‐9769
PASSAFIUME, I A               3180 STAR DR                                                                                    LAKE HAVASU CITY   AZ   86406
PASSAFIUME, JOSEPH S          538 BERLIN RD                                                                                   HURON              OH   44839‐1904
PASSAGE, DONALD               5926 GREEN RD                                                                                   HASLETT            MI   48840‐9784
PASSAGE, ELLEN K              5926 GREEN RD                                                                                   HASLETT            MI   48840‐9784
PASSAGE, MARTHA L             9524 STOUT ST                                                                                   DETROIT            MI   48228‐1524
PASSAGE, PATRICIA             20 CHRISTOPHER                                                                                  BAY CITY           MI   48706
PASSAGE, RONALD E             9524 STOUT ST                                                                                   DETROIT            MI   48228
PASSAGE, ROSALIE              5972 NORTH GULLEY                                                                               DEARBORN HGTS      MI   48127‐3030
PASSAGE, ROSALIE              5972 N GULLEY RD                                                                                DEARBORN HTS       MI   48127‐3030
PASSAGE, RUSSELL M            1779 MALLARD LAKE RD                                                                            MELBOURNE          FL   32940‐6766
PASSAGE, WILLIAM D            2205 W MIDLAND RD                                                                               AUBURN             MI   48611‐9571
PASSALACQUA, EDWARD P         15 PAYNE CT                                                                                     CLIFTON PARK       NY   12065‐4921
PASSALINQUA, BARBARA P        1729 WOODSIDE DR                                                                                HERMITAGE          PA   16148‐1614
PASSAMANI, DOLORES M          432 E OHIO AVE                                                                                  MILWAUKEE          WI   53207‐2748
PASSAMENT, GUILLERMO          27304 KELLY CT N                                                                                LA FERIA           TX   78559‐4567
PASSANITI, JOSEPH M           PO BOX 503                                                                                      SOPHIA             WV   25921‐0503
PASSANTE, THOMAS M            126 CHAPEL ST                                                                                   CANASTOTA          NY   13032‐1149
PASSANTINO, FRANK             238 SILVERBELLE BLVD                                                                            LONGS              SC   29568
PASSANTINO, JAMES F           5905 QUIVIRA RD                                                                                 SHAWNEE            KS   66216‐2037
PASSANZA, SUSAN               88 CARL SANDBURG DR                                                                             HAMILTON           NJ   08690‐2333
PASSARELL, ADELA K            4001 BENNETTS CORNERS RD                                                                        HOLLEY             NY   14470‐1207
PASSARELLI WILLIAM            CASCINO MICHAEL P                220 S. ASHLAND                                                 CHICAGO            IL   60607
PASSARELLI WILLIAM            CASCINO MICHAEL P                220 S ASHLAND                                                  CHICAGO            IL   60607
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Name                                 Address1                          Address2                       Address3                      Address4         City              State Zip
PASSARELLO, NANCY E                  236 RIVERS EDGE DR                                                                                              HAYESVILLE         NC 28904‐6519
PASSARETTI, EDWARD J                 2936 TRAIL 3                                                                                                    NEW CASTLE         PA 16105‐1337
PASSARIELLO, JOHN A.                 6066 SHERIDAN RD                                                                                                VASSAR             MI 48768‐9526
PASSARIELLO, PHYLLIS                 2111 NORMA JEAN DR                                                                                              SAGINAW            MI 48609‐7018
PASSARINHO NUNO MANUEL SOUSA M       PASSARINHO, TERESA MARQUES        KIMMEL & SILVERMAN PC          10451 MILL RUN CIRCLE SUITE                    OWINGS MILLS       MD 21117
                                                                                                      400
PASSARINHO NUNO MANUEL SOUSA M       PASSARINHO, NUNO MANUEL SOUSA M   10451 MILL RUN CIR STE 400                                                    OWINGS MILLS      MD 21117‐5594

PASSARINHO, NUNO MANUEL SOUSA M      KIMMEL & SILVERMAN PC             10451 MILL RUN CIR STE 400                                                    OWINGS MILLS      MD 21117‐5594

PASSARINHO, TERESA MARQUES           KIMMEL & SILVERMAN PC             10451 MILL RUN CIR STE 400                                                    OWINGS MILLS      MD   21117‐5594
PASSARO JUDITH                       PO BOX 341                                                                                                      LAURYS STATION    PA   18059‐0341
PASSARO, JEAN                        THE DEVONSHIRE OF MT. LEBANON     1050 MCNEILLY ROAD             APT 541                                        PITTSBURGH        PA   15226
PASSE, SUSAN                         233 HENRY CT                                                                                                    N PLAINFIELD      NJ   07060‐3923
PASSEJNA, ROMAN                      2697 JARVIS CIR                                                                                                 PALM HARBOR       FL   34683‐7236
PASSEK, PHYLLIS O                    7515 ST RTE. 46 N.E.                                                                                            CORTLAND          OH   44410‐8607
PASSEK, PHYLLIS O                    7515 STATE ROUTE 46                                                                                             CORTLAND          OH   44410‐8607
PASSEMENT, CARLOS S                  7530 SLOAN ST                                                                                                   TAYLOR            MI   48180‐2412
PASSEMENT, RAUL                      14310 PARKHURST ST                                                                                              SAN ANTONIO       TX   78232‐4736
PASSEMENT‐THOMAS, YOLANDA            901 MOULIN AVE                                                                                                  MADISON HEIGHTS   MI   48071‐2548
PASSEN, JACOB                        402 N HARRISON ST                                                                                               JASONVILLE        IN   47438‐1009
PASSENO, ARLONE M                    9265 JOHN WERNER DR                                                                                             CHEBOYGAN         MI   49721‐9411
PASSENO, KEITH A                     2029 FIVE LAKES RD                                                                                              METAMORA          MI   48455‐9355
PASSENO, RICHARD C                   14488 MAPLETON LN                                                                                               TRAVERSE CITY     MI   49686‐7924
PASSENO, TERRY P                     27604 BRETTONWOODS ST                                                                                           MADISON HTS       MI   48071‐3212
PASSENTI, DOROTHY C                  42 WESTERVELT PL                                                                                                CLIFTON           NJ   07011‐3723
PASSERI, NICHOLAS D                  1523 STOWELL DR                                                                                                 ROCHESTER         NY   14616
PASSERI, NICOLA                      1523 STOWELL DR                                                                                                 ROCHESTER         NY   14616‐1891
PASSETT, LYNNE B                     17558 WESTBROOK DR                                                                                              ORLAND PARK       IL   60467‐8523
PASSETT, LYNNE BERTACCHI             17558 WESTBROOK DR                                                                                              ORLAND PARK       IL   60467‐8523
PASSIAC COUNTY COMMUNITY COLLEGE     1 COLLEGE BLVD                    ACCTS RECEIVABLE                                                              PATERSON          NJ   07505‐1102

PASSIAK, HELEN E                     8336 PENINSULAR DRIVE                                                                                           STANWOOD          MI   49346‐8304
PASSIAK, HELEN E                     8336 PENINSULA DR                                                                                               STANWOOD          MI   49346‐8304
PASSIATORE DIANA (636595)            BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                                   WILMINGTON        DE   19899‐2165
PASSICK, CARA J                      2871 OLD HICKORY LN                                                                                             CHARLOTTE         MI   48813‐8370
PASSICK, DONALD R                    1236 PORTER DR                                                                                                  CHARLOTTE         MI   48813‐3103
PASSICK, KENNETH                     405 W PLAIN ST                                                                                                  EATON RAPIDS      MI   48827‐1441
PASSICK, MARK L                      2871 OLD HICKORY LN                                                                                             CHARLOTTE         MI   49813‐8370
PASSICK, MARK L                      4334 DELL RD APT J                                                                                              LANSING           MI   48911‐8123
PASSIG JR, HAROLD J                  12163 LAHRING RD                                                                                                BYRON             MI   48418‐9074
PASSINAULT, TERRANCE F               2777 W ANDERSON RD                                                                                              LINWOOD           MI   48634‐9741
PASSINI, ROGER                       8338 ELIZABETH LAKE RD                                                                                          WHITE LAKE        MI   48386‐3417
PASSINI, TRISHA L                    207 ASTOR AVE                                                                                                   LANSING           MI   48910‐2901
PASSINO, ANDREW P                    754 LORETTA ST                                                                                                  TONAWANDA         NY   14150‐8718
PASSINO, ELLIOT E                    252 LAKE ELLEN DR                                                                                               CASSELBERRY       FL   32707‐2942
PASSINO, MARTIN                      3132 PRESCOTT DR                                                                                                HOWELL            MI   48843‐6975
PASSINO, VIRGINIA L                  6452 ROYAL CLUB DR                                                                                              FLUSHING          MI   48433‐3536
PASSIONE ALBERT (348029) ‐ LOVERDE   WILENTZ GOLDMAN & SPITZER         88 PINE STREET , WALL STREET                                                  NEW YORK          NY   10005
LAWRENCE                                                               PLAZA
PASSIOTTI, GEORGE                    12 WOODCREST CT                                                                                                 WAPPINGERS FL     NY 12590‐6807
PASSMAN, DENNIS J                    78 CARPENTER AVE                                                                                                BUFFALO           NY 14223‐1707
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Name                            Address1                            Address2                       Address3   Address4         City               State Zip
PASSMORE ZIEHL, BESSIE M        44 HERITAGE EST                                                                                ALBION              NY 14411‐9759
PASSMORE, CHARLENE              190 S BOLDEN HILL RD                                                                           GREENBRIER          AR 72058‐9022
PASSMORE, CHARLENE              190 S. BOLDEN HILL                                                                             GREENBRIER          AR 72058‐9022
PASSMORE, COY D                 PO BOX 15264                                                                                   OKLAHOMA CITY       OK 73155‐5264
PASSMORE, CYNTHIA J             16326 TUCKER RD                                                                                HOLLY               MI 48442‐9743
PASSMORE, DAVID B               102 MAIN ST                                                                                    TOWNSEND            DE 19734‐9701
PASSMORE, DAVID G               16326 TUCKER RD                                                                                HOLLY               MI 48442‐9743
PASSMORE, DAVID GENE            16326 TUCKER RD                                                                                HOLLY               MI 48442‐9743
PASSMORE, DOUGLAS F             1462 FLAT SHOALS RD SE                                                                         CONYERS             GA 30013‐1802
PASSMORE, EDWARD C              3852 CENTENNIAL DR                                                                             HIGHLAND            MI 48356‐3400
PASSMORE, EDWARD H              1846 NOBLE RD                                                                                  LEONARD             MI 48367‐1640
PASSMORE, ELOISE                15330 MARLOWE ST                                                                               DETROIT             MI 48227‐2953
PASSMORE, EMMA AMADA            17271 GREENVIEW AVE                                                                            DETROIT             MI 48219‐3584
PASSMORE, GUY L                 5465 WINELL ST                                                                                 CLARKSTON           MI 48346‐3566
PASSMORE, JOYCE L               3312 SE 54TH ST                                                                                OKLAHOMA CITY       OK 73135‐1446
PASSMORE, JUDY M                1520 SW 62ND ST                                                                                OKLAHOMA CITY       OK 73159‐2122
PASSMORE, KIRK G                6969 TAPPON DR                                                                                 CLARKSTON           MI 48346‐2631
PASSMORE, LEBACCA               1924 HIGHWAY 356                                                                               BEE BRANCH          AR 72013‐9402
PASSMORE, LEWIS R               7087 LOU MAC DR                                                                                SWARTZ CREEK        MI 48473‐9718
PASSMORE, LILLIE                1756 BOWEN DR APT 8                                                                            ORLANDO             FL 32822
PASSMORE, LINDA S               286 CLARK ST APT 12                                                                            MONTROSE            MI 48457‐9461
PASSMORE, LLOYD                 26021 FISHERMANS RD                                                                            PAISLEY             FL 32767‐9273
PASSMORE, LYLE E                2726 N US HIGHWAY 23                                                                           OSCODA              MI 48750‐9583
PASSMORE, MARY                  1494 BEWICK STREET                                                                             DETROIT             MI 48214‐3148
PASSMORE, PAULETTE              1216 MULBERRY LN                                                                               BURTON              MI 48529‐2253
PASSMORE, REID W                430 OHIO ST                                                                                    LOCKPORT            NY 14094‐4222
PASSMORE, ROBERT C              13332 TWIN LAKES RD NE                                                                         KALKASKA            MI 49646‐8969
PASSMORE, ROBERT L              17271 GREENVIEW AVE                                                                            DETROIT             MI 48219‐3584
PASSMORE, RONALD L              232 PRESTON DR                                                                                 FITZGERALD          GA 31750‐8019
PASSMORE, WILLIAM H             10203 TENNESSEE ST                                                                             OSCODA              MI 48750‐1905
PASSMORE, WILLIAM T             GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW             MI 48604‐2602
                                                                    260
PASSON I I, GERALD E            21808 ROYAL ST GEORGES LN                                                                      LEESBURG           FL   34748‐7541
PASSON, CLIFFORD W              3160 36TH ST N APT 116                                                                         SAINT PETERSBURG   FL   33713
PASSON, DIANNA L                4134 SHELDON RD                                                                                ORCHARD PARK       NY   14127‐2110
PASSON, DIANNA L                4134 SHELDON ROAD                                                                              ORCHARD PARK       NY   14127
PASSON, DOROTHY A               10810 PAGELS ROAD                                                                              BIRCH RUN          MI   48415‐9433
PASSON, F C                     904 WEBBER ST                                                                                  SAGINAW            MI   48601‐3310
PASSON, KAREN M                 2221 HUNTERS HOLLOW LN                                                                         LAKE VIEW          NY   14085‐9433
PASSON, LOIS J                  18866 N 93RD AVE                                                                               PEORIA             AZ   85382‐3647
PASSONS, OVERTON                7589 CAMPBELL ST                                                                               TAYLOR             MI   48180‐2566
PASSOS, DIRCEU                  3657 DARSTON ST                                                                                PALM HARBOR        FL   34685‐1183
PASSOW JR., ERWIN               S69W14142 TESS CORNERS DR APT 119                                                              MUSKEGO            WI   53150‐3175
PASSOW, DOROTHY E               1004 N BALL                                                                                    OWOSSO             MI   48867‐1708
PASSOW, DOROTHY E               1004 N BALL ST                                                                                 OWOSSO             MI   48867‐1708
PASSOW, DURWIN D                2845 BRIARCLIFF ST                                                                             ANN ARBOR          MI   48105‐1430
PASSOW, GLEN C                  303 W OLIVER ST                                                                                OWOSSO             MI   48867‐2249
PASSOW, JAMES F                 1309 N 55TH ST                                                                                 MILWAUKEE          WI   53208‐2102
PASSPORT HEALTH OF UPSTATE NY   ATTN: ROBIN DRY                     6493 RIDINGS RD # 125                                      SYRACUSE           NY   13206‐1144
PASSUELLO JR, JOHN R            7239 CRANBROOK DR                                                                              LAMBERTVILLE       MI   48144‐9545
PASSWATER, BETTY J              3628 MADISON AVE                                                                               ANDERSON           IN   46013
PASSWATER, PATRICIA L
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Name                        Address1                          Address2                        Address3   Address4         City              State Zip
PASSWATER, PAUL A           4602 TUDOR RD                                                                                 STILESVILLE        IN 46180‐9440
PASSWATERS COULTER          18450 SOUTH MAIN ST                                                                           BRIDGEVILLE        DE 19933
PASSWATERS, WAYNE G         9034 BUCHANAN DR                                                                              LINCOLN            DE 19960‐2775
PASTA SR., PETER J          125 VAQUERO DR                                                                                MARTINSBURG        WV 25403
PASTA SR., PETER J          125 VAQUERO DR                                                                                MARTINSBURG        WV 25403‐1865
PASTA WILLIAM JR (446857)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                              PROFESSIONAL BLDG
PASTA, WILLIAM              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH 44067
                                                              PROFESSIONAL BLDG
PASTANA JR, ABEL            21801 LYONS BALD MOUNTAIN RD                                                                  SONORA            CA   95370‐8763
PASTEINER, SUSAN M          381 ABBEY WOOD DR                                                                             ROCHESTER         MI   48306‐2605
PASTEL PHOTO LABS INC       1630 EAGLE TRL                                                                                OXFORD            MI   48371‐6064
PASTELOCK, ANDREW           1830 HORIZON DR                                                                               WHITE OAK         PA   15131‐2216
PASTENOCK TERRY             660 SHERMAN ST                                                                                MELROSE PARK      IL   60160‐2341
PASTER DAMON                PASTER, DAMON                     5055 WILSHIRE BLVD STE 300                                  LOS ANGELES       CA   90036‐6101
PASTER L LATHON             2880 EVON RD                                                                                  SAGINAW           MI   48601‐9727
PASTER LATHON               2880 EVON RD                                                                                  SAGINAW           MI   48601‐9727
PASTER, CARRIE              9966 ASHTON AVE                                                                               DETROIT           MI   48228‐1102
PASTER, DAMON               KROHN & MOSS ‐ CA,                5055 WILSHIRE BLVD STE 300                                  LOS ANGELES       CA   90036‐6101
PASTER, MARSHALL J          20401 SOLEDAD CANYON RD SPC 358                                                               CANYON CNTRY      CA   91351‐7056
PASTER, ROBERT E            2734 DENALI PARK DR                                                                           GRAND PRAIRIE     TX   75050‐1309
PASTER, ROBERT E            41065 WYNDCHASE BLVD                                                                          CANTON            MI   48188‐1995
PASTER, ROSLYNN M           4354 VIRGINIA PARK ST                                                                         DETROIT           MI   48204‐2433
PASTER, ROSLYNN M.          4354 VIRGINIA PARK ST                                                                         DETROIT           MI   48204‐2433
PASTERFIELD, JEAN E         6723 DANVILLE AVE                                                                             BALTIMORE         MD   21222‐1030
PASTERNACK, BRENT A         APT 11N                           201 EAST 69TH STREET                                        NEW YORK          NY   10021‐5468
PASTERNACK, CHARLES J       S‐4774 LAKESHORE ROAD                                                                         HAMBURG           NY   14075
PASTERNAK JR, JOHN J        5043 CLINTONVILLE PINES DR                                                                    CLARKSTON         MI   48346‐4170
PASTERNAK, CORA L.          1100 CLAIRE DR                                                                                SPRING HILL       TN   37174‐7349
PASTERNAK, CORA L.          1100 CLAIRE DRIVE                                                                             SPRING HILL       TN   37174‐7349
PASTERNAK, EDWARD P         541 SARA DR                                                                                   TROY              MI   48085‐4723
PASTERNAK, IRENE            150 AMES AVE                      C/O CAROLYN DAMICO                                          TONAWANDA         NY   14150‐8208
PASTERNAK, JOHN             8081 E VAN HOOK ST                                                                            MILAN             TN   38358‐6618
PASTERNAK, JOHN T           613 JONES HILL RD                                                                             WEST HAVEN        CT   06516‐6338
PASTERNAK, RAYMOND F        47334 JUNIPER RD                                                                              MACOMB            MI   48044‐2433
PASTERNAK, RAYMOND S        4143 E HACKAMORE CIR                                                                          MESA              AZ   85205‐4028
PASTERNAK, ROBERT A         3969 FIELDVIEW AVE                                                                            WEST BLOOMFIELD   MI   48324‐2836
PASTERZ JR, MICHAEL A       4782 ASHWOOD DR W                                                                             SAGINAW           MI   48603‐4210
PASTERZ, JACKIE L           7033 FRASER RD                                                                                FREELAND          MI   48623‐8919
PASTERZ, MARGARET A         501 ATLANTA ST                                                                                SAGINAW           MI   48604‐2242
PASTERZ, RAYMOND R          7884 DITCH RD                                                                                 GASPORT           NY   14067‐9482
PASTERZ, ROBERT J           15788 POWER DAM RD                                                                            DEFIANCE          OH   43512‐6811
PASTERZ, SHIRLEY A          3137 S. TOWERLINE RD                                                                          BRIDGEPORT        MI   48722‐9614
PASTERZ, SHIRLEY A          3137 S TOWERLINE RD                                                                           BRIDGEPORT        MI   48722‐9614
PASTEUR JR, ERNEST L        4032 GABLES CT                                                                                BUFORD            GA   30519‐7115
PASTEUR JR, ERNEST L        4032 GABLES COURT                                                                             BUFORD            GA   30519‐7115
PASTILHA, ARMANDO T         PO BOX 17                                                                                     YONKERS           NY   10703‐0017
PASTILHA, ELIAS A           776 MYERSTON CT                                                                               LAWRENCEVILLE     GA   30044‐6075
PASTILHA, EMIDIO            17 LENROC DR                                                                                  WHITE PLAINS      NY   10607‐2421
PASTILHA, JOSE              10 HILLBRIGHT TER                                                                             YONKERS           NY   10703
PASTIRIK, GEORGE J          4559 W 154TH ST                                                                               CLEVELAND         OH   44135‐2757
PASTIVA, CECELIA L          1525 KENT DR                                                                                  DAVISON           MI   48423‐2345
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Name                                  Address1                           Address2                        Address3   Address4         City               State Zip
PASTIVA, JUDITH N                     4441 N VASSAR RD                                                                               FLINT               MI 48506‐1776
PASTIVA, JUDITH N                     4441 N VASSAR                                                                                  FLINT               MI 48506‐1776
PASTIVA, MIKE A                       808 N. THRID ST.                                                                               SAINT CLAIR         MI 48079
PASTO, JOHN P                         24361 HOMESTEAD CT                                                                             NOVI                MI 48374‐3082
PASTOCK, MYRON E                      12 READ AVE BOXWOOD                                                                            WILMINGTON          DE 19804
PASTOE, VERLEE                        BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD          OH 44067
                                                                         PROFESSIONAL BLDG
PASTOR CHEVROLET INC                   69 MONTAUK HWY                                                                                WESTHAMPTON        NY   11977‐1511
PASTOR CHEVROLET INC                   JEFF PASTOR                       69 MONTAUK HWY                                              WESTHAMPTON        NY   11977‐1511
PASTOR PEREZ                           2315 W ARBROOK BLVD                                                                           ARLINGTON          TX   76015‐3810
PASTOR VERLEE (491271) ‐ PASTOE VERLEE BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                         PROFESSIONAL BLDG
PASTOR VERLEE (493076) ‐ PASTOE VERLEE BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
PASTOR'S AUTO SERVICE                 835 HIGHLAND RD E                                                                              MACEDONIA          OH   44056‐2113
PASTOR, ALEX F                        407 E FLINT ST                                                                                 DAVISON            MI   48423‐1220
PASTOR, CARLOS D                      3226 52ND AVE NE                                                                               NAPLES             FL   34120‐4404
PASTOR, CHARLES R                     1720 W MOODY LN                                                                                LAGRANGE           KY   40031‐9439
PASTOR, DENNIS J                      111 FOX RUN DR                                                                                 HAMPSTEAD          NC   28443‐3441
PASTOR, DENNIS J                      1393 BURNSIDE RD                                                                               NORTH BRANCH       MI   48461‐9707
PASTOR, DENNIS M                      1451 BEACH RD UNIT 305                                                                         ENGLEWOOD          FL   34223‐4250
PASTOR, DOLORES                       1391 MCEWEN ST                                                                                 BURTON             MI   48509‐2164
PASTOR, DONALD A                      6312 BLUEJAY DR                                                                                FLINT              MI   48506‐1761
PASTOR, ELMA M                        6813 ROLLING MEADOW DR                                                                         PARMA              OH   44134‐4579
PASTOR, JAMES A                       8895 N ESTON RD                                                                                CLARKSTON          MI   48348‐3519
PASTOR, JEAN R                        2460 HEATHERLAKE PL                                                                            TOLEDO             OH   43614‐3159
PASTOR, KENNETH T                     2197 W FRANCES RD                                                                              MOUNT MORRIS       MI   48458‐8215
PASTOR, LOUIS D                       7292 N CENTER RD                                                                               MOUNT MORRIS       MI   48458‐8809
PASTOR, LOUIS DAVID                   7292 N CENTER RD                                                                               MOUNT MORRIS       MI   48458‐8809
PASTOR, LOUIS R                       5294 E FRANCES RD                                                                              MOUNT MORRIS       MI   48458‐9751
PASTOR, PATSY J                       PO BOX 700                                                                                     GRAND BLANC        MI   48480‐0700
PASTOR, PETAR                         886 HADCOCK RD                                                                                 BRUNSWICK          OH   44212‐2617
PASTOR, PETER J                       1008 NEW TARLETON WAY                                                                          GREER              SC   29650‐3228
PASTOR, ROBERT P                      284 WALTON DR                                                                                  MORRISVILLE        PA   19067‐5918
PASTOR, RONALD                        21347 TEE BOX DR                                                                               MACOMB             MI   48042‐4325
PASTOR, RONALD A                      18885 TALL TIMBERS DR                                                                          HOWARD CITY        MI   49329
PASTOR, STEPHEN L                     1449 KENNEBEC RD                                                                               GRAND BLANC        MI   48439‐4979
PASTOR, STEPHEN R                     28454 GOLF POINTE BLVD                                                                         FARMINGTON HILLS   MI   48331‐2942
PASTOR‐JR, STEPHEN                    216 MORNINGSIDE AVE                                                                            LINDEN             NJ   07036‐3947
PASTORE NANCY                         720 ONEIDA TRL SW                                                                              HARTVILLE          OH   44632‐8701
PASTORE, JOHN P                       356 MACKEY DR                                                                                  VIENNA             OH   44473‐9641
PASTORE, KATHLEEN G                   2987 HOAGLAND BLACKSTUB RD APT A                                                               CORTLAND           OH   44410‐9186
PASTORE, LUIGI                        5 WHITNEY ST                                                                                   WHITE PLAINS       NY   10606‐1802
PASTORE, THOMAS A                     303 DERSAM ST                                                                                  MCKEESPORT         PA   15133‐3509
PASTOREK, JOSEPH R                    1945 OLTESVIG LN                                                                               HIGHLAND           MI   48357‐3317
PASTORELLA, THOMAS                    502 BAY MEADOW DR                                                                              WEBSTER            NY   14580‐4001
PASTORELLI, LEONARD J                 1025 DELAWARE RD                                                                               BUFFALO            NY   14223‐1009
PASTORELLI, LEONARD JOSEPH            1025 DELAWARE RD                                                                               BUFFALO            NY   14223‐1009
PASTORELLI, MARIE A                   404 COURTLY CIR                                                                                ROCHESTER          NY   14615‐1010
PASTORIA, JAMES A                     13186 KINLOCK DR                                                                               STERLING HEIGHTS   MI   48312‐1564
PASTORIC JR, JOSEPH P                 5182 TURNER PINE DR                                                                            PRESCOTT           MI   48756‐9652
PASTORIC, LAURA                       1988 1ST OAK ST 1                                                                              PRESCOTT           MI   48756
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Name                          Address1                         Address2               Address3        Address4                  City            State Zip
PASTORINI LOUIS               PASTORINI, LOUIS                 STATE FARM INSURANCE   P.O. BOX 8022                             BALLSTON SPA     NY 12020
PASTORINI, LOUIS              STATE FARM INSURANCE             PO BOX 8022                                                      BALLSTON SPA     NY 12020‐8022
PASTORINO, DORIS M            9537 W LISBON AVE                                                                                 MILWAUKEE        WI 53222‐2529
PASTORIUS, DAVID W            7255 LONESOME PINE TRL                                                                            MEDINA           OH 44256‐7160
PASTORIZA, FELIPE M           3110 MANITOU AVE                                                                                  LOS ANGELES      CA 90031‐2748
PASTORIZA, MANUEL A           15705 FRANDSCHE RD                                                                                CHESANING        MI 48616‐8445
PASTORIZA, MANUEL ANTONIO     15705 FRANDSCHE RD                                                                                CHESANING        MI 48616‐8445
PASTORKOVICH, MARTIN          8042 DINSDALE ST                                                                                  DOWNEY           CA 90240‐3814
PASTOVICH, CHARLES M          5492 CALLAWAY CIR # 2                                                                             AUSTINTOWN       OH 44515
PASTRANO, MANUEL R            4289 MEADOWBROOK CT                                                                               GRAND BLANC      MI 48439‐7323
PASTRAS, STEPHEN J            1252 TAFT ST                                                                                      LANSING          MI 48906‐4948
PASTRE, VIVIAN L              20440 N 31ST AVE                                                                                  PHOENIX          AZ 85027‐3095
PASTRECK, JERE L              12771 CHARTWELL DRIVE                                                                             FORT MYERS       FL 33912‐4660
PASTUCH, JOSEPH               3544 BOWEN RD                                                                                     LANCASTER        NY 14086‐9649
PASTUE, CHRISTINE L           2208 PLAZA DR W                                                                                   CLIO             MI 48420‐2105
PASTUKHOV, MICHAEL D          2164 TALL OAKS DR                                                                                 DAVISON          MI 48423‐2132
PASTULA, CAROL A              2440 S BRANDON ST                                                                                 WESTLAND         MI 48186‐3935
PASTULA, MICHAEL J            850 DOUGLAS ST                                                                                    GARDEN CITY      MI 48135‐1062
PASTULA, RICHARD D.           22240 OXFORD ST                                                                                   DEARBORN         MI 48124‐3471
PASTULA, VICTOR S             12644 MONAGAN HWY                                                                                 TIPTON           MI 49287‐9757
PASTUSZEK JOSEPH              101 W RIDLEY AVE                                                                                  RIDLEY PARK      PA 19078‐2911
PASTUSZKA, IRENE              3935 DUDLEY ST                                                                                    DEARBORN HTS     MI 48125‐2601
PASTVA, JAMES J               PO BOX 38112                                                                                      OLMSTED FALLS    OH 44138‐0112
PASTWA CONRAD                 3360 REGENCY DR                                                                                   ORION            MI 48359‐1153
PASUKONIS, ANELE              26309 WILSON DR                                                                                   DEARBORN HGTS    MI 48127‐4133
PASZEK, EDWARD W              1884 HOSMER RD                                                                                    APPLETON         NY 14008‐9619
PASZEK, JUDITH A              15348 WINDSONG DR                                                                                 MACOMB           MI 48044‐4727
PASZENSKI, BENJAMIN C         248 BARMONT DR                                                                                    ROCHESTER        NY 14626‐1506
PASZENSKI, JANE               248 BARMONT DR                                                                                    ROCHESTER        NY 14626‐1506
PASZKIEWICZ, ANTHONY B        2054 WEIGL RD                                                                                     SAGINAW          MI 48609‐7053
PASZKIEWICZ, EDMUND           4011 E 107TH TER                                                                                  KANSAS CITY      MO 64137‐1817
PASZKIEWICZ, EMILIA PLUTA     30227 BROOKVIEW DR                                                                                LIVONIA          MI 48152‐3452
PASZKIEWICZ, GENEVIEVE M      6288 BIRCHVIEW DR                                                                                 SAGINAW          MI 48609‐7003
PASZKIEWICZ, JAMES R          13357 ROXBURY DR                                                                                  STERLING HTS     MI 48312‐1539
PASZKIEWICZ, ROSALYN          29752 GREGG DR                                                                                    ROSEVILLE        MI 48066‐1916
PASZKIEWICZ, THOMAS S         612 MILL ST                                                                                       LINCOLN PARK     MI 48146‐2849
PASZKO, DARLENE A             26410 EMERALD LAKES DR                                                                            PERRYSBURG       OH 43551‐6379
PASZKO, EDWARD                24875 JOHNSTON AVE                                                                                EAST DETROIT     MI 48021‐1427
PASZKO, HELEN                 7760 N.W. 11TH PLACE                                                                              PLANTATION       FL 33322‐5139
PASZKO, HELEN                 7760 NW 11TH PL                                                                                   PLANTATION       FL 33322‐5139
PASZKO, THOMAS E              256 REHM RD                                                                                       DEPEW            NY 14043‐1023
PASZKOWSKI, DAVID A           4746 WINDSOR HWY                                                                                  POTTERVILLE      MI 48876‐8782
PASZKOWSKI, DENNIS J          4428 ELIZABETH ST                                                                                 WAYNE            MI 48184
PASZKOWSKI, GERTRUDE C        39 WILLIAMSTOWN CT #5                                                                             CHEEKTOWGA       NY 14227‐2062
PASZKOWSKI, JEFFREY M         629 TOMAHAWK TRL                                                                                  HIGHLAND         MI 48357‐2762
PASZTOR, ANTHONY L            PO BOX 86                                                                                         LINDEN           MI 48451‐0086
PASZTOR, FRANK                1070 RANSOM DR                                                                                    FLINT            MI 48507‐4204
PAT & CEC'S AUTO REPAIR LTD   4403 56 AVE                                                             LEDUC AB T9E 6T7 CANADA
PAT & TED CHAPMAN             865 YENOWINE LN                                                                                   GEORGETOWN       IN   47122
PAT ALLRED
PAT ARCHIBLE
PAT BARD                      6125 SOUTH DR                                                                                     FENTON          MI 48430‐9028
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Name                                Address1                       Address2             Address3        Address4         City             State Zip
PAT BARRIGER                        15770 STAGE STOP RD                                                                  PEYTON            CO 80831‐7418
PAT BEHNKE                          43 N AXFORD ST                                                                       LAKE ORION        MI 48362‐3011
PAT BOGLE                           45 BRAXTON CT                                                                        DECATUR           AL 35603‐3768
PAT BRUDERICK                       180 ANDREWS ST                                                                       MASSENA           NY 13662‐1770
PAT CLARK PONTIAC (GRAND)           2575 E SAHARA AVE                                                                    LAS VEGAS         NV 89104‐4104
PAT CLARK PONTIAC‐GMC‐BUICK         2575 E SAHARA AVE                                                                    LAS VEGAS         NV 89104‐4104
PAT CLEMONS, INC.                   1720 S MARSHALL ST                                                                   BOONE              IA 50036‐5315
PAT CLEMONS, INC.                   PATRICK CLEMONS                1720 S MARSHALL ST                                    BOONE              IA 50036‐5315
PAT COFFMAN                         1072 KOKE MOUNTAIN ROAD                                                              BOONEVILLE        AR 72927‐7042
PAT CREATURO                        16783 STATE ROUTE 644                                                                SALINEVILLE       OH 43945‐8727
PAT CURTIS CHEVROLET‐OLDSMOBILE‐CAD 700 N STATE ST                                                                       CARO              MI 48723‐1546

PAT CURTIS CHEVROLET‐OLDSMOBILE‐   PATRICK CURTIS                  700 N STATE ST                                        CARO              MI 48723‐1546
CADILLAC, INC.
PAT CURTIS CHEVROLET‐OLDSMOBILE‐   700 N STATE ST                                                                        CARO              MI 48723‐1546
CADILLAC, INC.
PAT DANIELS
PAT DAVIS                          26748 TETON LN                                                                        FLAT ROCK        MI   48134‐2825
PAT DAVIS                          12300 S COUNTY ROAD 500 E                                                             SELMA            IN   47383‐9350
PAT DEAN‐WIX                       216 OHLTOWN RD                                                                        AUSTINTOWN       OH   44515‐1928
PAT DEATON                         32174 VENTURE RD                                                                      STOVER           MO   65078‐1709
PAT DIIULLO                        9371 W WESTERN RESERVE RD                                                             CANFIELD         OH   44406‐9425
PAT DOUNIS                         18191 FOX GLEN DR                                                                     RIVERVIEW        MI   48193‐8126
PAT EQUIP/BRIGHTON                 7017 GRAND RIVER RD                                                                   BRIGHTON         MI   48114‐9398
PAT EVERSON                        W4670 WOODRIDGE DR                                                                    MONROE           WI   53566‐9449
PAT FRANCIS                        609 HOLLENDALE DR                                                                     KETTERING        OH   45429‐3127
PAT GARGUS                         652 S BRUNE CT                                                                        NEW PALESTINE    IN   46163‐9183
PAT GAUGE INC                      11048 HI TECH DR                                                                      WHITMORE LAKE    MI   48189‐9133
PAT GAUGE/WHITMORE L               11048 HI TECH DR                                                                      WHITMORE LAKE    MI   48189‐9133
PAT GOBLE                          9344 PARKVIEW CIRCLE                                                                  GRAND BLANC      MI   48439‐8058
PAT GOODIN                         2117 PARK AVE                                                                         BEDFORD          IN   47421‐4044
PAT GOSS CAR WORLD INC.            9421 SMITH AVE                                                                        SEABROOK         MD   20706‐4045
PAT GRAHAM
PAT GRAVES                         5205 FERRIS RD                                                                        EATON RAPIDS     MI   48827‐9666
PAT HAAGENSEN                      803 BROOKSIDE DR                                                                      LONGMONT         CO   80501‐4009
PAT HUDDLESTON‐MAINZ               2430 ADRIANN AVE                                                                      SILVER SPRINGS   NV   89429
PAT IACOBELLI                      C/O WEITZ AND LUXENBERG PC      700 BROADWAY                                          NEW YORK CITY    NY   10003
PAT JOHNSON                        9801 NORTH LAKE RD                                                                    OTTER LAKE       MI   48464
PAT JOHNSON                        312 JEFFREY LN                                                                        PENDLETON        IN   46064‐8806
PAT K SZABO                        12473 BUCKSKIN RD                                                                     SHERWOOD         OH   43556‐9728
PAT KALNAS
PAT KEYS                           100 LIBERTY TERR.               APT#211                                               NEWARK           DE 19702
PAT KING                           8439 BUTTERNUT CREEK DR D                                                             MOUNT MORRIS     MI 48458
PAT LEWIS                          1115 SHERMAN RD                                                                       SAGINAW          MI 48604‐2065
PAT MAGROIN
PAT MANN                           9033 S 250 E                                                                          HAMLET           IN   46532‐9682
PAT MARTELLI                       5596 MONTADALE ST                                                                     FITCHBURG        WI   53711‐5472
PAT MASSARELLI                     1425 ALEXANDER DR                                                                     HAMILTON         OH   45013‐5146
PAT MAY‐ENIX                       24 OVERLOOK ST                                                                        ENGLEWOOD        OH   45322‐1411
PAT MCGRATH CHEVROLET              1616 51ST ST NE                                                                       CEDAR RAPIDS     IA   52402‐2447
PAT MCKEE                          465 MEDFORD STREET, STE 2200                                                          BOSTON           MA   02129
PAT MILLER
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Name                          Address1                         Address2                 Address3    Address4                City               State Zip
PAT MONAGHAN                  338 OAK HAMMOCK LN                                                                            PARROTTSVILLE       TN 37843‐2648
PAT MURPHY MOTORS, INC.       30 PARKER AVE                                                                                 DURANGO             CO 81303‐7978
PAT MUSOLINO                  3776 MERCEDES PL                                                                              CANFIELD            OH 44406‐9190
PAT O'BRIEN CHEVROLET         2810 BISHOP RD                                                                                WILLOUGHBY HILLS    OH 44092‐2604
PAT O'BRIEN CHEVROLET SOUTH   3880 PEARL RD                                                                                 MEDINA              OH 44256‐9001
PAT O'BRIEN CHEVROLET WEST    25100 DETROIT RD                                                                              WESTLAKE            OH 44145‐2533
PAT O'BRIEN CHEVROLET WEST    PATRICK O'BRIEN                  25100 DETROIT RD                                             WESTLAKE            OH 44145‐2533
PAT OBRIEN CHEVROLET          2810 BISHOP RD                                                                                WILLOUGHBY HILLS    OH 44092‐2604
PAT ODONOGHUE
PAT PANTONE                   655 BURDIE DR                                                                                 HUBBARD            OH    44425‐1202
PAT PRESTON                   1709 ABERDEEN DR                                                                              ARLINGTON          TX    76015‐1348
PAT RENTFROW                  340 EMERALD CT E                                                                              WHITMORE LAKE      MI    48189‐8268
PAT ROGERS                    18541 COUNTY ROAD 111                                                                         DEFIANCE           OH    43512‐8300
PAT ROSS                      249 COUNTY ROAD 15600                                                                         PARIS              TX    75462‐4007
PAT ROSS                      PATSTREET                        SWITZERLAND                                                  ZURICH
PAT SACKS                     513 GEORGETOWN PL                                                                             SAFETY HARBOR       FL   34695‐4434
PAT SMITH
PAT STEVENS                   1218 WILLOW DR                                                                                CHOCTAW            OK    73020‐7148
PAT SZABO                     12473 BUCKSKIN RD                                                                             SHERWOOD           OH    43556‐9728
PAT T ROGERS                  3156 FOREST OAKS DR                                                                           PORT NECHES        TX    77651‐5850
PAT THOCKER                   PO BOX 356                                                                                    WILLIAMSTON        MI    48895‐0356
PAT THORPE                    PO BOX 320193                                                                                 FLINT              MI    48532‐0004
PAT THREET                    27139 CRESTWOOD DR                                                                            WARREN             MI    48088‐6023
PAT TOWNSEND                  15850 WHITTEMORE DR                                                                           EAST LANSING       MI    48823‐9411
PAT TUCKER
PAT VOLPE                     4115 KARL RD APT 301                                                                          COLUMBUS           OH 43224‐2072
PAT VORACHEK                  7071 GILLETTE RD                                                                              FLUSHING           MI 48433‐9341
PAT WADE                      1330 SLICKBACK RD                                                                             BENTON             KY 42025‐5466
PAT WORMINGTON
PAT YOUNG SERVICE CO INC      6100 HILLCREST DR                                                                             CLEVELAND          OH    44125‐4622
PAT'S AUTO REPAIR             3548 W 86TH ST                                                                                INDIANAPOLIS       IN    46268‐1992
PAT'S AUTOMOTIVE              931 S BLOSSER RD                                                                              SANTA MARIA        CA    93458‐4919
PAT'S PETS                    ATTN: PAT EAST                   613 LINCOLN AVE                                              BEDFORD            IN    47421‐2115
PAT'S PRECISION AUTO CARE     6386 W BELL RD                                                                                GLENDALE           AZ    85308‐3602
PAT'S RADIATOR SERVICE        1875 JOHN COUNTER BLVD                                                KINGSTON ON K7M 7P5
                                                                                                    CANADA
PAT'S TOWING CO.              173 NEW ZEALAND RD                                                                            SEABROOK           NH 03874
PATA, ANNA                    211 COLONIAL DR                                                                               WEBSTER            NY 14580‐1407
PATA, MARY A                  10208 PARK HEIGHTS AVENUE                                                                     CLEVELAND          OH 44125‐2513
PATAC                         10TH FLOOR, JINMAO TOWER         88 CENTURY AVENUE                    PUDONG SHANGHAI CHINA
                                                                                                    (PEOPLE'S REP)
PATAGONIA CAPITAL SA          GUALTIERO GIRIBALDI              39 AVENUE DES PAPALINS               MC 98000 MONACO
                                                                                                    PRINCIPALITY
PATAK, STEPHEN G              2917 CRONE RD                                                                                 BEAVERCREEK        OH    45434‐6618
PATAKI, BEULAH E              EAST 14TH STREET BOX 1006                                                                     GEORGETOWN         IL    61846
PATAKI, JERRY S               319 S WALNUT                                                                                  WESTVILLE          IL    61883‐1665
PATAKI, RONALD D              BOX 1108 E. 14TH                                                                              GEORGETOWN         IL    61846
PATAKY, PAUL P                5754 CRYSTAL CREEK CT                                                                         WASHINGTON         MI    48094‐2607
PATAKY, RICHARD L             2506 ROSEBURGH RD                                                                             ALGER              MI    48610‐9441
PATALANO, DIANE               819 W 15TH ST APT 4D                                                                          NEWPORT BEACH      CA    92663‐2759
PATALANO, GABRIEL             7 CHELETTE MNR                                                                                LAKE WALES         FL    33898‐5101
PATALON, JANE E               3818 SLEEPY HOLLOW RD                                                                         BRUNSWICK          OH    44212‐4138
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Name                       Address1                            Address2                       Address3   Address4                City            State Zip
PATALON, WILLIAM E         3355 S RACCOON RD                                                                                     CANFIELD         OH 44406‐9370
PATALSKI, JEAN M           527 OGDEN AVE                                                                                         PITTSBURGH       PA 15221‐4351
PATALSKI, JEAN M           527 OGDEN AVENUE                                                                                      PITTSBURGH       PA 15221‐4351
PATAM, ALICE A             7 DUANE                                                                                               IRVINE           CA 92620‐2722
PATANE MARIO C             PATANE, MARIO C                     2280 UNION ST                                                     SAN FRANCISCO    CA 94123‐3902
PATANE PRESS               231 W 135TH ST                      APT 2A                                                            NEW YORK         NY 10030‐2858
PATANE, ANTONINO           728 POND ST                                                                                           SYRACUSE         NY 13208‐2154
PATANE, MARIO C            TRUMP ALIOTO TRUMP & PRESCOTT LLP   2280 UNION ST                                                     SAN FRANCISCO    CA 94123‐3902

PATANELLA, ANTHONY J       APT 123                             3950 SCENIC RIDGE                                                 TRAVERSE CITY   MI   49684‐3905
PATANELLA, ISABELLE E      4020 RETSOF RD                                                                                        WADSWORTH       NY   14533‐9752
PATANIA, ANTHONY J         133 TEXAS                                                                                             BELLEVILLE      MI   48111‐9031
PATANIA, JAMES S           8131 BLACK OAK DR                                                                                     LAMBERTVILLE    MI   48144‐9324
PATANIA, JAMES SEBASTIAN   8131 BLACK OAK DR                                                                                     LAMBERTVILLE    MI   48144‐9324
PATANIA, VINCENT J         1035 HOLMES RD                                                                                        ALLENTON        MI   48002‐2912
PATANIA, WANDA J           PO BOX 30842                                                                                          INDIANAPOLIS    IN   46230‐0842
PATANIA, WANDA J           APT 7E                              3965 NORTH MERIDIAN STREET                                        INDIANAPOLIS    IN   46208‐4075
PATAPOW, DAVID W           RR 2617                                                                                               BALDWINSVILLE   NY   13027
PATAPOW, DAVID W           RFD 2617 CONNORS RD                                                                                   BALDWINSVILLE   NY   13027‐9801
PATARELL, FRANKIE V        1136 OLGA CT                                                                                          VENICE          FL   34293‐2037
PATARINI, CAMILLE C        1204 W CENTRAL ST UNIT B                                                                              MARION          IL   62959‐1022
PATARINO, JOSEPH           244 MACINTOSH DR                                                                                      ROCHESTER       NY   14626‐4409
PATARROYO, CARLOS          18537 OAK WAY DR                                                                                      HUDSON          FL   34667‐5137
PATCASA, SA.               VENTURE FINANZIAS SV., SA.          CL/DR FLEMING 21 ESC B BAJOS              08017 BARCELONA SPAIN
PATCEL FIELDS              285 MYERS AVE                                                                                         MANSFIELD       OH   44902‐1418
PATCH, DONALD J            102 CRABAPPLE DRIVE                                                                                   SWANTON         OH   43558‐8411
PATCH, DONALD J            C/O DARRYL J PATCH                  102 CRABAPPLE DRIVE                                               SWANTON         OH   43558
PATCH, JAMES C             2123 HAMSTEAD RD NW                                                                                   GRAND RAPIDS    MI   49504‐4703
PATCH, M H
PATCH, PATRICIA M          461 S CLAY AVE APT A                                                                                  KIRKWOOD        MO   63122‐5845
PATCH, PATRICIA M.         APT A                               461 SOUTH CLAY AVENUE                                             SAINT LOUIS     MO   63122‐5845
PATCH, ROBERT D            740 LA BUENA TIERRA                                                                                   SANTA BARBARA   CA   93111‐1741
PATCH, SHIRLEY R           3438 DUPONT ST                                                                                        SIOUX CITY      IA   51104‐1734
PATCH, THOMAS L            510 S COATS RD                                                                                        OXFORD          MI   48371‐4215
PATCH, WILLIAM L           121 PATCH LN                                                                                          RUFFS DALE      PA   15679‐1143
PATCHAK ALEXANDER          4141 COLONIAL DR                                                                                      ROYAL OAK       MI   48073‐6473
PATCHAREE NOIBOONTURM      1213 HUNTERS POINT LN                                                                                 SPRING HILL     TN   37174‐2188
PATCHEL, MARGARET C        35911 MADISON ST                                                                                      RICHMOND        MI   48062‐1062
PATCHEL, TERRENCE J        3938 CHURCH RD                                                                                        CASCO           MI   48064‐1805
PATCHEN GERARD             4990 E AVENIDA DEL CAZADOR                                                                            TUCSON          AZ   85718‐7271
PATCHEN, KYLE R            7716 W 94TH TER                                                                                       OVERLAND PARK   KS   66212‐2224
PATCHEN, RICHARD M         14432 PEARLVIEW DR                                                                                    STRONGSVILLE    OH   44136‐5250
PATCHETT, JAMES A          179 RIVER TRAIL DR                                                                                    BAY CITY        MI   48706‐1859
PATCHETT, ROBERT B         2729 ONAGON TRL                                                                                       WATERFORD       MI   48328‐3138
PATCHETT, SANDRA A         7339 W 00 NS                                                                                          KOKOMO          IN   46901‐8812
PATCHETT, THOMAS C         220 KALAMO ST                                                                                         OLIVET          MI   49076‐9618
PATCHIN ALVIN              145 KIRKS MILL LN                                                                                     NORTH EAST      MD   21901‐1705
PATCHIN, COLLEEN M         156 OAK KNOLL AVE SE                                                                                  WARREN          OH   44483‐6035
PATCHIN, DAVID D           11251 ROBSON RD                                                                                       GRAFTON         OH   44044‐9720
PATCHIN, DOROTHY C         238 OLIVE ST                                                                                          ELYRIA          OH   44035‐4018
PATCHIN, DOROTHY C         238 N OLIVE STREET                                                                                    ELYRIA          OH   44035‐4018
PATCHIN, LEE E             PO BOX 46                                                                                             BRISTOLVILLE    OH   44402‐0046
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Name                                 Address1                           Address2                       Address3   Address4               City           State Zip
PATCHIN, REBECCA H                   340 RIDGE RD                       APT C1                                                           NEWTON FALLS    OH 44444‐1243
PATCHKOVSKII SERGUEI                 506‐260 BESSERER STREET                                                      OTTAWA CANADA ON K1N
                                                                                                                  1J3 CANADA
PATCHOFSKY, MARYANN                  912 JOHNSTON AVE                                                                                    TRENTON        NJ   08629‐1142
PATCO AIR TOOLS INC                  260 MCCORMICK DR                                                                                    LAPEER         MI   48446‐2518
PATCO INC/MRFRESBORO                 1130 SAMSONITE BLVD.                                                                                MURFREESBORO   TN   37130
PATCO SALES & SERVICE CO INC         9569 W 40TH ST                                                                                      FREMONT        MI   49412‐8017
PATCO SALES & SERVICE INC            9569 W 40TH ST                                                                                      FREMONT        MI   49412‐8017
PATCO SERV/BALTIMORE                 2515 GLENCOE RD                                                                                     BALTIMORE      MD   21234‐7537
PATCO TRANSPORT SYSTEMS INC          5241 W 161ST ST                                                                                     CLEVELAND      OH   44142‐1606
PATE AUTOMOTIVE INC                  3310 PLEASANT GROVE RD                                                                              TEXARKANA      TX   75503‐0969
PATE C DAVID (663703)                OBRIEN LAW FIRM                    1 METROPOLITAN SQ STE 1500                                       SAINT LOUIS    MO   63102‐2799
PATE EARLS                           1233 VINEYARD RD                                                                                    GRIFFIN        GA   30223‐8759
PATE GREGORY C & WEISBERG & MEYERS   5025 N CENTRAL AVE                                                                                  PHOENIX        AZ   85012‐1520
LLC
PATE JR, DAVID A                     PO BOX 14684                                                                                        RICHMOND       VA   23221‐0684
PATE JR, EMERSON L                   5394 DUNMORE DRIVE                                                                                  DAYTON         OH   45459‐1131
PATE JR, GILBERT                     2550 N SOUTHEAST DR                                                                                 SHELBYVILLE    IN   46176‐9493
PATE JR, HERBERT L                   4307 E COURT ST                                                                                     BURTON         MI   48509‐1815
PATE KENNETH                         33605N ST FRANCIS DRIVE                                                                             AVON           OH   44011
PATE KIM                             PATE, KIM                          155 E MARKET ST STE 450                                          INDIANAPOLIS   IN   46204‐3245
PATE MARY                            2655 FRAZEE RD                                                                                      SOMERVILLE     OH   45064‐9727
PATE MASSEY                          140 KAY CIR                                                                                         COVINGTON      GA   30014‐1694
PATE ROSE                            3211 DARBY LN                                                                                       DENTON         TX   76207
PATE SAMUEL B JR (429587)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK        VA   23510
                                                                        STREET, SUITE 600
PATE SR, JAMES A                     206 YOUNG DR                                                                                        LODI           OH   44254‐1230
PATE STEPHANIE                       PATE, STEPHANIE                    2001 US HIGHWAY 46 STE 310                                       PARSIPPANY     NJ   07054‐1315
PATE ZACKARY                         PATE, BRANDON                      1522 RTE 38                                                      CHERRY HILL    NJ   08002
PATE ZACKARY                         PATE, JESSE L                      1522 RTE 38                                                      CHERRY HILL    NJ   08002
PATE ZACKARY                         PATE, ZACKARY                      1522 RTE 38                                                      CHERRY HILL    NJ   08002
PATE, ALICE M                        64 HAGER ST                        C/O NIAGARA LUTHERAN                                             BUFFALO        NY   14208‐1327
PATE, BARBARA A                      14308 NORMAL AVE                                                                                    HARVEY         IL   60426‐1252
PATE, BARBARA D.                     5901 MOUNTAINWOOD DRIVE                                                                             ARLINGTON      TX   76016‐2104
PATE, BARRY STEVEN                   GREENE BROILLET PANISH & WHEELER   PO BOX 2131                                                      SANTA MONICA   CA   90407‐2131
PATE, BARRY STEVEN                   MCMATH BYRON G                     PO BOX 2445                                                      JASPER         AL   35502‐2445
PATE, BARRY STEVEN                   TATUM CHARLES CLYDE JR             PO BOX 349                                                       JASPER         AL   35502‐0349
PATE, BARRY STEVEN                   LUCAS WASH PETWAY TUCKER &         2 CHASE CORPORATE DR STE 460                                     BIRMINGHAM     AL   35244‐7024
                                     STEPHENS
PATE, BERNICE B                      601 W JEFFERSON                                                                                     ALEXANDRIA     IN   46001‐1730
PATE, C DAVID                        OBRIEN LAW FIRM                    1 METROPOLITAN SQ STE 1500                                       SAINT LOUIS    MO   63102‐2799
PATE, CARRIE B                       198 SQUAREVIEW LN                                                                                   ROCHESTER      NY   14626‐1868
PATE, CATHERINE L                    304 UNION HILL RD                                                                                   LEOMA          TN   38468‐5694
PATE, CHARLES H                      16000 W 153RD TER                                                                                   OLATHE         KS   66062‐3120
PATE, CHARLES T                      4841 WASILLA WAY                                                                                    POWDER SPGS    GA   30127‐3136
PATE, CHRISTINE B                    4630 NORDELL DR                                                                                     JACKSON        MS   39206‐3346
PATE, CORNEL ANTHONY                 21040 GARDNER ST                                                                                    OAK PARK       MI   48237‐3807
PATE, DARYL A                        4 SHADOW CREEK DRIVE                                                                                SAINT PETERS   MO   63376‐2357
PATE, DAVID F                        PO BOX 3                                                                                            MORGANTON      GA   30560‐0003
PATE, DAVID L                        PO BOX 16                                                                                           ORTONVILLE     MI   48462‐0016
PATE, DONALD R                       1907 LORA ST                                                                                        ANDERSON       IN   46013‐2745
PATE, DONALD W                       330 W COLUMBIA AVE                                                                                  PONTIAC        MI   48340‐1712
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Name                   Address1                          Address2                    Address3   Address4         City               State Zip
PATE, DORIS N          677 BRITTON AVE                                                                           DAYTON              OH 45429‐5603
PATE, EDDIE B          2404 APPLE STREET DRIVE                                                                   DAYTON              OH 45426
PATE, EMERSON          5394 DUNMORE DRIVE                                                                        DAYTON              OH 45459‐5459
PATE, EUNICE C         21040 GARDNER ST                                                                          OAK PARK            MI 48237‐3807
PATE, GERALD R         1203 WOODNOLL DR                                                                          FLINT               MI 48507‐4715
PATE, GERALDINE W      2629 COLONIAL DR                                                                          COLLEGE PARK        GA 30337‐4924
PATE, GERTIE F         608 N MAIN ST                                                                             SEARCY              AR 72143‐4318
PATE, GLEN H           1502 S HARRISON ST                                                                        ALEXANDRIA          IN 46001‐2814
PATE, GLENDA           10873 E 700 S                                                                             UPLAND              IN 46989‐9776
PATE, HARRIS B         7521 WILDCAT RD                                                                           HARRELLS            NC 28444‐7741
PATE, ILIS EMOGENE K   APT 204                           2820 SOUTH MEMORIAL DRIVE                               NEW CASTLE          IN 47362‐1164
PATE, JAMES            PORTER & MALOUF PA                4670 MCWILLIE DR                                        JACKSON             MS 39206‐5621
PATE, JAMES D
PATE, JANET L          3223 N LOCKWOOD RIDGE RD          LOT 129‐D                                               SARASOTA           FL   34234
PATE, JAY R            3761 BARBERRY CIR                                                                         WIXOM              MI   48393‐1106
PATE, JERRY J          2603 CANNON ST                                                                            DANVILLE           IL   61832‐4213
PATE, JERRY L          8975 W DEER CREEK WAY                                                                     MIDDLETOWN         IN   47356‐9775
PATE, JIM L            19508 ROSE AVE                                                                            TEHACHAPI          CA   93561‐8938
PATE, JUANITA J        5394 DUNMORE DR.                                                                          DAYTON             OH   45459‐1131
PATE, KATHY R          405 N CROSBY AVE                                                                          JANESVILLE         WI   53548‐3339
PATE, KENT             2237 PRESCOTT DR                                                                          TROY               MI   48083‐2551
PATE, KIMBERLY M       11270 DEBORAH DR                                                                          PARMA              OH   44130‐1324
PATE, LAMARCO J        2179 E 14 MILE RD APT 104                                                                 STERLING HEIGHTS   MI   48310‐5945
PATE, LENORA P         8895 WELDON AVE APT 102                                                                   SAINT LOUIS        MO   63121‐3659
PATE, LONNIE L         32627 WAUKETA DR                                                                          WARREN             MI   48092‐3293
PATE, LONNIE LEE       32627 WAUKETA DR                                                                          WARREN             MI   48092‐3293
PATE, LORETTA          3524 SUMPTER ST                                                                           LANSING            MI   48911‐2619
PATE, LOUIS D          1657 COUNTY ROAD 1118                                                                     ATLANTA            TX   75551‐6687
PATE, MARIE D          G 3503 FLUSHING RD                                                                        FLINT              MI   48504
PATE, MARINDA G        17221 W‐US223                                                                             ADDISON            MI   49220
PATE, MARY J           3401 BEECHWOOD LN                                                                         KOKOMO             IN   46902
PATE, MARY K           48415 AMERICAN ELM DR                                                                     MACOMB             MI   48044‐1429
PATE, MARY R           10723 MCAFEE RD                                                                           DAISY              TN   37379‐5426
PATE, MAYME H          158 BROOKSIDE DR.                                                                         NEW WHITELAND      IN   46184‐1238
PATE, MICHAEL L        34855 SOMERSET ST                                                                         WESTLAND           MI   48186‐4365
PATE, MICHAEL LEE      34717 SOMERSET ST                                                                         WESTLAND           MI   48186‐4340
PATE, MILDRED P.       37641 ARBOR WOODS DR                                                                      LIVONIA            MI   48150‐3492
PATE, NANCY A          190 TOTTY DR                                                                              HOHENWALD          TN   38462‐2312
PATE, NORA J           APT 16                            4901 SOUTH PENNSYLVANIA                                 LANSING            MI   48910‐5669
                                                         AVENUE
PATE, OSCAR            201 RIVERVIEW PLACE                                                                       LILLINGTON         NC   27546‐9530
PATE, PATRICIA G       516 N WALNUT ST                                                                           GUTHRIE            OK   73044‐3644
PATE, PATRICIA L       34717 SOMERSET ST                                                                         WESTLAND           MI   48186‐4340
PATE, PAULINE M        320 E WASHINGTON                  P O BOX 8G                                              IOWA CITY          IA   52240
PATE, PHELMA J         10243 HEMLOCK ST                                                                          RANCHO CUCAMONGA   CA   91730‐3024
PATE, RANDALL R        219 VANCE LN                                                                              DANVILLE           IL   61832‐2836
PATE, RAYMOND K        106 FORESTBERRY ST                                                                        OAK RIDGE          TN   37830‐3008
PATE, RICHARD L        8133 MYERS RD                                                                             MIDDLETOWN         OH   45042‐1133
PATE, RICHARD L        8133 MEYERS RD                                                                            MIDDLETOWN         OH   45042‐1133
PATE, ROBERT E         5167 BLUE SAGE DR                                                                         PALMDALE           CA   93552‐3860
PATE, ROBIN L          7417 LONGVIEW AVE                                                                         MENTOR             OH   44060‐6324
PATE, RONALD R         6940 40TH ST NE                                                                           NAPLES             FL   34120‐2609
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PATE, ROY H                     4478 MERLIN DR                                                                            FLINT                  MI 48507‐3442
PATE, RUBY H                    525 ANDERSON ST                                                                           MORRISTOWN             TN 37814‐4819
PATE, SAMUEL                    2147 W 65TH ST                                                                            INDIANAPOLIS           IN 46260‐4376
PATE, SAMUEL B                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                                STREET, SUITE 600
PATE, SHANEQUA                  1137 AMOS ST                                                                              PONTIAC               MI   48342
PATE, SHERYL K                  8975 W DEER CREEK WAY                                                                     MIDDLETOWN            IN   47356‐9775
PATE, STEPHEN M                 118 HIDEAWAY LN                                                                           HAMPTON               TN   37658‐3069
PATE, SUE                       166 WESTFIELD AVE                                                                         HAMILTON              OH   45013‐2021
PATE, SYBIL M                   445 PINE FOREST DR                                                                        LAWRENCEVILLE         GA   30045‐6000
PATE, SYLVIA G                  9575 WEST 00 NORTH SOUTH                                                                  KOKOMO                IN   46901
PATE, WARREN D                  119 WESTFIELD RD                                                                          LEESBURG              GA   31763‐4513
PATE, WILLIAM F                 467 FOREST ST                                                                             WESTLAND              MI   48186‐9207
PATE, WILLIAM N                 865 CAMP KIRKWOOD RD                                                                      WATHA                 NC   28478‐4441
PATE, WILLIE                    4630 NORDELL DR                                                                           JACKSON               MS   39206‐9206
PATE, YVONNE C                  2606 WOLCOTT ST                                                                           FLINT                 MI   48504‐3378
PATEE, ANGELA M                 11580 ALGIER RD                                                                           CAMDEN POINT          MO   64018‐9064
PATEFIELD, JAMES V              1803 TENEYCK ST                                                                           JACKSON               MI   49203‐2058
PATEFIELD, JAMES VICTOR         1803 TENEYCK ST                                                                           JACKSON               MI   49203‐2058
PATEK RAYMOND                   3234 PINTAIL ST                                                                           KATY                  TX   77493‐4865
PATEK, PATRICIA                 52980 SEQUOIA TRL                                                                         CHESTERFIELD          MI   48047‐1491
PATEK, SUSANNA M                1831 OAK BROOK CIR                                                                        FLINT                 MI   48507‐1447
PATEL BHAVISHA V                10284 CLEAR SKY DR                                                                        AVON                  IN   46123‐9899
PATEL BHAVNESH                  51 RIDGECREST                                                                             ALISO VIEJO           CA   92656‐1907
PATEL DHRUV                     1725 ORRINGTON AVE #301                                                                   EVANSTON              IL   60201
PATEL INTERNAL MEDICINE ASSOC   710 WOODLAND DR                                                                           SALINE                MI   48176‐1620
PATEL JETURIVI                  PATEL, JETURIVI                 89 N HADDON AVE                                           HADDONFIELD           NJ   08033‐2423
PATEL MANISH N                  600 ALFA CT APT 2C                                                                        PORTAGE               MI   49002‐2993
PATEL MARY JO                   4097 HADLEY RD                                                                            METAMORA              MI   48455‐9746
PATEL MD                        1419 WEST 9TH STREET                                                                      CLEVELAND             OH   44113
PATEL MEENA                     18027 ARLINE AVE                                                                          ARTESIA               CA   90701‐4105
PATEL MUKUND D MD               2020 MERIDIAN ST STE 220                                                                  ANDERSON              IN   46016‐4338
PATEL SANDIP R                  3 FERN COURT                                                                              SAYREVILLE            NJ   08872‐2102
PATEL, AJAY                     3008 VIMY RIDGE DR                                                                        JOLIET                IL   60435‐1689
PATEL, ALPA                     24690 BETHANY WAY                                                                         NOVI                  MI   48375
PATEL, ALPESHKUMAR V            134 WALTER DR                                                                             WOODBRIDGE            NJ   07095‐2544
PATEL, ALPESHKUMAR V            2167 N LOVINGTON DR APT 107                                                               TROY                  MI   48083‐5808
PATEL, AMIT J                   1413 BRYS DR                                                                              GROSSE POINTE WOODS   MI   48236‐1016
PATEL, ANISH B                  7366 OAKMONT DR                                                                           CANTON                MI   48187‐1264
PATEL, ARJAV A                  12604 DEVOE ST                                                                            SOUTHGATE             MI   48195‐2346
PATEL, ARTI T                   1198 CANTERBURY CIR                                                                       CANTON                MI   48187‐3810
PATEL, ATUL H                   APT 2306                        12310 SINGLETREE LANE                                     EDEN PRAIRIE          MN   55344‐7975
PATEL, ATUL H                   12310 SINGLETREE LN APT 2306                                                              EDEN PRAIRIE          MN   55344‐7975
PATEL, ATUL N                   4856 HOWARD ST                                                                            SKOKIE                IL   60077‐2803
PATEL, BALKRISHNA R             4277 17 MILE RD                                                                           STERLING HEIGHTS      MI   48310‐6839
PATEL, BHAVESH M                2047 W FRANKLIN DR                                                                        CANTON                MI   48187‐2918
PATEL, BHAVIKA B                6878 BRANDT PIKE APT C                                                                    HUBER HEIGHTS         OH   45424‐3391
PATEL, CHAN U                   370 STAN DR                                                                               MELBOURNE             FL   32904
PATEL, CHAN U                   3183 GALINDO CIR                                                                          MELBOURNE             FL   32940‐5918
PATEL, CHHAYA NEIL              5115 DOBBS DR                                                                             CENTERVILLE           OH   45440‐2254
PATEL, CHHOTU V                 172 ROSE BRIER DR                                                                         ROCHESTER HILLS       MI   48309‐1123
PATEL, CHIMANBHAI M             3239 FANTAIL DR                                                                           ROCHESTER HILLS       MI   48309‐4295
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Name                   Address1                       Address2            Address3         Address4         City               State Zip
PATEL, CHIMANBHAI M    5099 RENSHAW DR                                                                      TROY                MI 48085‐4014
PATEL, DEEPALI M       43727 FALLEN TREE DR                                                                 STERLING HEIGHTS    MI 48314‐2053
PATEL, DEVYANI J       2055 WILLOW LEAF CT N                                                                ROCHESTER HILLS     MI 48309‐3752
PATEL, DILIP           24367 CAVENDISH AVE E                                                                NOVI                MI 48375‐2359
PATEL, DINESH D        4106 FIRETHORN DR                                                                    SAGINAW             MI 48603‐1114
PATEL, DINESH H        4849 HOMESTEAD DR                                                                    STERLING HEIGHTS    MI 48314‐1949
PATEL, DIPAK R         678 MORNINGSIDE DR                                                                   GRAND BLANC         MI 48439‐2312
PATEL, GHANSHYAM A     4979 SOMERTON DR                                                                     TROY                MI 48085‐4739
PATEL, GIRA            3870 REGAL OAKS DR                                                                   SUWANEE             GA 30024‐7073
PATEL, HARIKRISHNA C   6917 SPRITZ LN                                                                       DAYTON              OH 45424‐8134
PATEL, HASU J.         41 COLONNADE DR                                                                      ROCHESTER           NY 14623‐4417
PATEL, HEMANG H        3081 BONITA SPRINGS COURT                                                            DOUGLASVILLE        GA 30135‐9252
PATEL, HINA R          904 BEATRICE PKWY                                                                    EDISON              NJ 08820‐1734
PATEL, HOMI K          4097 HADLEY RD                                                                       METAMORA            MI 48455‐9746
PATEL, ISHVARBHAI      6 ACADIA COURT                                                                       STREAMWOOD           IL 60107‐4509
PATEL, ISHVARBHAI      6 ACADIA CT                                                                          STREAMWOOD           IL 60107‐4509
PATEL, JAGDISH A       13950 S TEAKWOOD DR                                                                  HOMER GLEN           IL 60491‐8652
PATEL, JAGDISH C       59 N HILLVIEW DR                                                                     SAINT PETERS        MO 63376‐2179
PATEL, JALPESH R       221 E 110TH ST APT 2                                                                 NEW YORK            NY 10029
PATEL, JANAKKUMAR R    APT M9                         180 BPW CLUB ROAD                                     CARRBORO            NC 27510‐2560
PATEL, JAYAN B         4579 LILLY CT                                                                        W BLOOMFIELD        MI 48323‐4009
PATEL, JAYAN B         16443 TRES BEAU LN                                                                   EAST LANSING        MI 48823‐9221
PATEL, JAYESH G        7481 OAKMONT                                                                         CANTON              MI 48187
PATEL, JIGNASA         50177 TOTTENHAM CT                                                                   CANTON              MI 48187‐1016
PATEL, JIGNESH N       117 TURNER AVE                                                                       EDISON              NJ 08820‐3809
PATEL, JITENDRA R      6524 SHAMEL DR                                                                       INDIANAPOLIS        IN 46278‐1178
PATEL, KATUL A         1131 REDDING DR                                                                      TROY                MI 48098‐4414
PATEL, KAUSHIK A       4591 HEDGEWOOD DR                                                                    TROY                MI 48098‐4635
PATEL, KESHMA M        110 CAMBRIDGE CT                                                                     CLIFTON             NJ 07014‐1300
PATEL, KRUNAL J        372 HUNTINGTON CT                                                                    ROCHESTER HILLS     MI 48307‐3439
PATEL, KRUNAL P        33201 GLENGARY CT                                                                    STERLING HEIGHTS    MI 48310‐6413
PATEL, MAHENDRA G      2841 TREYBURN LN                                                                     WEST BLOOMFIELD     MI 48324‐4108
PATEL, MAHESH V        39769 TIMBERLANE DR                                                                  STERLING HTS        MI 48310‐2464
PATEL, MANISH N        34770 MAPLEGROVE DR APT D                                                            STERLING HEIGHTS    MI 48312‐4787
PATEL, MARSHA          5115 97TH ST                                                                         LUBBOCK             TX 79424‐4867
PATEL, MEHUL B         85 TICES LN APT 27                                                                   EAST BRUNSWICK      NJ 08816‐2165
PATEL, MINESHKUMAR N   1881 EAST WOODSMAN PLACE                                                             CHANDLER            AZ 85286‐1098
PATEL, MINESHKUMAR N   1881 E WOODSMAN PL                                                                   CHANDLER            AZ 85286
PATEL, MRUNALINY J     839 W PACHECO BLVD                                                                   LOS BANOS           CA 93635‐3940
PATEL, MUKESH
PATEL, MUKLESH C       4171 WOODEDGE DR                                                                     BELLBROOK          OH   45305‐1618
PATEL, MUKUL B         2867 EAGLEVILLE RD                                                                   AUDUBON            PA   19403‐2051
PATEL, NARAYANBHAI M   4111 W CROOKED LN                                                                    GREENWOOD          IN   46143‐8748
PATEL, NATVERLAL P     15711 E CRESTMONT ST                                                                 ROSEVILLE          MI   48066‐2708
PATEL, NAYAN B         713 MONTCLAIRE DR                                                                    MANSFIELD          TX   76063‐9137
PATEL, NAYAN V         707 BAKEWAY CIR                                                                      INDIANAPOLIS       IN   46231‐3116
PATEL, NEEL B          9340 N LINCOLN AVE                                                                   NILES              IL   60714‐5754
PATEL, NEELA A         42127 ADDISON AVE                                                                    CANTON             MI   48187‐3737
PATEL, NIKUNJ          PO BOX 350700                                                                        WESTMINSTER        CO   80035‐0700
PATEL, NITINKUMAR R    8125 ACACIA CIR                                                                      CYPRESS            CA   90630‐2077
PATEL, PRAVINBHAI G    7444 PARK SHR                                                                        AVON               IN   46213‐7248
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Name                         Address1                             Address2          Address3      Address4              City                  State Zip
PATEL, PRUTHVIKA             LOMBARDI & LOMBARDI (732) 906‐1500   PO BOX 2065                                           EDISON                 NJ 08818‐2065

PATEL, PUSHPA V              1265 SHENANDOAH DR                                                                         CLAWSON               MI 48017‐1069
PATEL, RAJESH
PATEL, RAJNI R               PO BOX 8566                                                                                GOLETA                CA   93118‐8566
PATEL, RAMESH N              2941 WESSELS DR                                                                            TROY                  MI   48085‐7018
PATEL, RIPAL C               44515 SAVERY DR                                                                            CANTON                MI   48187‐2930
PATEL, RUPESH A              32942 BROOKSIDE CIR                                                                        LIVONIA               MI   48152‐1419
PATEL, SANDIP R              3 FERN CT                                                                                  SAYREVILLE            NJ   08872‐2102
PATEL, SHAILESH I            2747 PEBBLE BEACH DR                                                                       OAKLAND               MI   48363‐2452
PATEL, SHIRALI               45853 PURPLE SAGE CT                                                                       BELLEVILLE            MI   48111‐6431
PATEL, SHIRISHKUMAR A        5968 BLANDFORD CIR                                                                         BLOOMFIELD HILLS      MI   48302‐4006
PATEL, SIRI M                17 VALLEY DR                                                                               WEST PATERSON         NJ   07424‐2721
PATEL, SUNIL S               11489 SCHEEL LN                                                                            CARMEL                IN   46032‐3470
PATEL, SURENDRA J            112 HALLE DRIVE                                                                            KENNETT SQ            PA   19348‐1878
PATEL, SURESH G              3252 DAVENPORT LN                                                                          ROCHESTER HILLS       MI   48309‐4284
PATEL, SURESH J              1080 RIVER MIST DR                                                                         ROCHESTER             MI   48307‐2263
PATEL, SUSAN M               2 TUTTY CIR                                                                                SAYREVILLE            NJ   08872‐2224
PATEL, TAPAN                 PO BOX 9022                          C/O GM SHANGHAI                                       WARREN                MI   48090‐9022
PATEL, VIKAS                 7208 TAYSIDE TRL                                                                           FORT WAYNE            IN   46814‐7493
PATEL, VIKAS                 10640 VISTA BELLA LN                                                                       RENO                  NV   89521‐4132
PATEL, VIMESH M              24129 ELIZABETH LN                                                                         NOVI                  MI   48374‐3782
PATEL, VINODRAY JIVANJI      4984 BRIGHTON PLACE                                                                        MUKILTEO              WA   98275‐6077
PATEL, VIPUL M               16415 JOHNSON CREEK DR                                                                     NORTHVILLE            MI   48168‐8002
PATEL, VISHVAS P             40053 EATON ST APT 103                                                                     CANTON                MI   48187‐4529
PATEL, VISHVAS P             2550 DUPORTAIL ST APT A103                                                                 RICHLAND              WA   99352‐4070
PATEL, YAGNESH
PATEL, YOGI A                42278 WHITE HART BLVD                                                                      CANTON                MI   48188‐2667
PATEL, ZAHANBAX P            844 BLAIRMOOR CT                                                                           GROSSE POINTE WOODS   MI   48236‐1243
PATEL,HOMI K                 4097 HADLEY RD                                                                             METAMORA              MI   48455‐9746
PATEL,KAUSHIK A              4591 HEDGEWOOD DR                                                                          TROY                  MI   48098‐4635
PATEL,MEHUL H                1100 PARSIPPANY BLVD APT 59                                                                PARSIPPANY            NJ   07054‐1814
PATELLA, ANITA               409 WALDEN AVE                                                                             TILTONSVILLE          OH   43963‐1136
PATELLA, DANIEL J            1785 NOVA LN                                                                               YOUNGSTOWN            OH   44514‐1336
PATELLA, DARYL C             4881 RIDGLEA AVE                                                                           BUENA PARK            CA   90621‐1434
PATELLA, JANET K             4881 RIDGLEA AVE                                                                           BUENA PARK            CA   90621‐1434
PATELLI GIANLUCA             VIA BELLOMOMBRA 9                                                    40136 BOLOGNA ITALY
PATELLI T PASCHAL            9125 RECREATION CIR APT 312                                                                FOUNTAIN VALLEY       CA   92708
PATELSKI, EDNA E             3845 STUDN RD                                                                              SAGINAW               MI   48601
PATEMAN, CHARLES M           255 MOUNTAIN RD                                                                            IRVINGTON             NY   10533‐1400
PATEN AUSTIN                 1932 N TIBBS AVE                                                                           INDIANAPOLIS          IN   46222‐4839
PATEN, SANDRA A              308 N KIESEL ST                                                                            BAY CITY              MI   48706‐4316
PATEN, VERNON D              11310 HEILMAN RD                                                                           LEVERING              MI   49755‐9512
PATEN, WILLIAM J             1990 N GRAHAM RD                                                                           FREELAND              MI   48623‐8874
PATENAUDE, ELEANORE J        14178 DARTS DRIVE                                                                          FENTON                MI   48430‐3614
PATENAUDE, NOEL R            150 33RD ST N                                                                              BATTLE CREEK          MI   49015‐4923
PATENAUDE, PATRICIA A        5956 HUMMINGBIRD LN                                                                        CLARKSTON             MI   48346‐2933
PATENAUDE, RUSSELL A         21359 WAVERLY DR                                                                           MACOMB                MI   48044‐1863
PATENAUDE,RUSSELL A          21359 WAVERLY DR                                                                           MACOMB                MI   48044‐1863
PATENT RESOURCE GROUP        528 E MAIN ST                                                                              CHARLOTTESVILLE       VA   22909‐0001
PATENT RESOURCES GROUP INC   1725 JAMIESON AVENUE                                                                       ALEXANDRIA            VA   22314‐5741
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Name                             Address1                        Address2               Address3     Address4                  City               State Zip
PATENTANWALTE SCHUTZ U PARTNER   SCHOTTENRING 16                 BORSEGEBAUDE                        A1010 WIEN AUSTRIA
                                                                                                     AUSTRIA
PATER KIM                        PATER, KIM                      1060 1ST AVE STE 400                                          KING OF PRUSSIA    PA    19406‐1336
PATER, CECELIA M                 23140 WELLINGTON CRES APT 203                                                                 CLINTON TOWNSHIP   MI    48036‐3576
PATER, DENNIS J                  21864 E SUNSET DR                                                                             MACOMB             MI    48044‐3715
PATER, DONALD R                  202 YOUNG STREET                APARTMENT REAR DOOR                                           TONAWANDA          NY    14150
PATER, JUNE K                    PO BOX 2732                                                                                   DARIEN             IL    60561‐7732
PATER, JUNE K                    7125 CLARENDON HILLS RD                                                                       DARIEN             IL    60561‐4166
PATER, KENNETH W                 17381 EAST SUANNEE TRAIL                                                                      HOWARD CITY        MI    49329
PATER, KIM                       KAHN & ASSOCIATES               55 PUBLIC SQ STE 650                                          CLEVELAND          OH    44113‐1909
PATER, MARCIA                    10883 PALMYRA RD                                                                              N JACKSON          OH    44451‐9724
PATER, MICHEAL J                 1483 FERNDALE AVE SW                                                                          WALKER             MI    49534‐6568
PATER, PATRICIA A                194 WESTBROOK DR APT 14                                                                       HAMILTON           OH    45013‐2357
PATER, PEGGY                     5015 W SCIOTO DR                                                                              FAIRFIELD          OH    45014‐1560
PATER, PEGGY                     5015 WEST SCIOTO DRIVE                                                                        FAIRFIELD          OH    45014‐1560
PATER, RAYMOND C                 522 ARCHER ST                                                                                 MCKEESPORT         PA    15132‐3607
PATER, RUTH M                    PO BOX 830428                                                                                 OCALA              FL    34483‐0428
PATER, TIMOTHY W                 5833 BEAVER CREEK DR                                                                          COOPERSVILLE       MI    49404‐9682
PATER, WILLARD D                 2838 OXFORD MIDDLETOWN RD                                                                     HAMILTON           OH    45013‐9691
PATERA, FRANK                    33960 FAIRFAX DR                                                                              LIVONIA            MI    48152‐1252
PATERA, NANCY                    39500 WARREN RD TRLR 230                                                                      CANTON             MI    48187‐4347
PATERAK, VIOLET ELLEN            V E PATERAK                     411 HELENA ST                       FORT ERIE ON CANADA L2A
                                                                                                     4K1
PATERAS MICHAEL                  7469 INDUSTRIAL PARKWAY DR                                                                    LORAIN             OH    44053‐2064
PATERAS, FAYE                    84 NIGHTFROST LANE                                                                            HENRIETTA          NY    14467‐9164
PATERAS, STEVE G                 250 VALLEY BROOK BLVD                                                                         HINCKLEY           OH    44233‐9686
PATERCHAK, PAUL W                904 CRANBROOK CT                                                                              MIAMISBURG         OH    45342‐6429
PATERCHAK, VIRGINIA L            904 CRANBROOK CT                                                                              MIAMISBURG         OH    45342‐6429
PATEREK, JOSEPHINE M             455 W 6TH AVE                                                                                 ROSELLE            NJ    07203‐2447
PATERICA KLAPKA                  705 50TH ST                                                                                   BALTIMORE          MD    21224‐3121
PATERICK, CAROL A                423 N PINE ST                                                                                 JANESVILLE         WI    53548‐3517
PATERICK, CECELIA B              112 HIDDEN COVE LANE                                                                          PONTEVEDRA BEACH   FL    32082
PATERICK, JOSEPH L               423 N PINE ST                                                                                 JANESVILLE         WI    53548‐3517
PATERIK, MAURICE H               15946 SOUTH PARK AVENUE                                                                       SOUTH HOLLAND      IL    60473‐1507
PATERNEL STEVE                   4668 VAN AMBERG RD                                                                            BRIGHTON           MI    48114‐9201
PATERNEL, STEPHEN F              4668 VAN AMBERG RD                                                                            BRIGHTON           MI    48114‐9201
PATERNITI, DAVID J               9450 WILSON MILLS RD                                                                          CHESTERLAND        OH    44026‐1629
PATERNITI, DOROTHY E             32017 DICKERSON RD.                                                                           WILLOWICK          OH    44095‐3831
PATERNITI, JOSEPH A              4012 RISING FAWN LN                                                                           COLUMBIA           TN    38401‐7357
PATERNOSTER SHERRY               2279 CALLAWAY DRIVE                                                                           THE VILLAGES       FL    32162‐4389
PATERNOSTER, GUIDO J             3901 GRINDLEY PARK ST                                                                         DEARBORN HTS       MI    48125‐2219
PATERNOSTER, MARTHA C            30 AVANTI DR                                                                                  ROCHESTER          NY    14606‐5839
PATERSON I I I, WILLIAM A        PO BOX 686                                                                                    LANHAM             MD    20703‐0686
PATERSON III, WILLIAM A          PO BOX 686                                                                                    LANHAM             MD    20703‐0686
PATERSON JOHN                    PATERSON, JOHN
PATERSON JR, JOHN M              1818 OAK VALLEY DR                                                                            KEMAH               TX   77565‐8110
PATERSON, COLIN                  NOT IN FILE
PATERSON, DAVID A                4260 N WAYSIDE DR                                                                             SAGINAW             MI   48603‐3054
PATERSON, DAVID H                3804 N FOREST LN                                                                              GREENFIELD          IN   46140‐8747
PATERSON, DAVID S                529 N PERRY ST                                                                                PONTIAC             MI   48342‐2452
PATERSON, DONALD A               233 DARTCREST DR                                                                              HENDERSONVILLE      NC   28792‐2965
PATERSON, GEORGE                 28426 UNIVERSAL DR                                                                            WARREN              MI   48092‐2441
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Name                              Address1                             Address2                Address3                 Address4             City               State Zip
PATERSON, GEORGE C                346 KINGSLAKE DR                                                                                           DEBARY              FL 32713‐1903
PATERSON, GRAHAM W                10059 W MOUNT MORRIS RD                                                                                    FLUSHING            MI 48433‐9217
PATERSON, GRAZZIELLA L            609 E CHELSEA CIR                                                                                          DAVISON             MI 48423‐1202
PATERSON, JOHN                    14100 HENRY RUFF ST                                                                                        LIVONIA             MI 48154‐4365
PATERSON, JOHN A                  305 W CARVER ST                                                                                            LAKELAND            FL 33805‐2005
PATERSON, JOHN M                  503 SUDBURY CT                                                                                             INDIANAPOLIS        IN 46234‐2252
PATERSON, JUNE W                  3804 N FOREST LN                                                                                           GREENFIELD          IN 46140‐8747
PATERSON, KAREN K                 PO BOX 291                                                                                                 OLCOTT              NY 14126‐0291
PATERSON, KEITH A                 527 W DUNLAP ST                                                                                            NORTHVILLE          MI 48167‐1408
PATERSON, NANCY                   33254 TALL OAKS CT                                                                                         FARMINGTON          MI 48336‐4548
PATERSON, NELLIE P                24554 PETERSBURG AVE                                                                                       EASTPOINTE          MI 48021‐1404
PATERSON, RHONDA L                254 BLAKE WAY                                                                                              MT STERLING         KY 40353‐7963
PATERSON, RISE C                  727 VINEYARD TER                                                                                           PLEASANTON          CA 94566‐6385
PATERSON, ROBERT C                239 CEDAR CLUB CIR                                                                                         CHAPEL HILL         NC 27517‐7212
PATERSON, ROBERT G                32100 SCHOENHERR RD                                                                                        WARREN              MI 48088‐1485
PATERSON, RUTH ANN                59300 ROYAL OAK CT                                                                                         WASHINGTON          MI 48094‐3729
PATERSON, STEPHEN                 7230 WARD RD                                                                                               NORTH TONAWANDA     NY 14120‐1438
PATERSON, TERRY L                 14030 SHANNON DR                                                                                           CEMENT CITY         MI 49233‐9064
PATERSON, WILLIAM A               3306 CATBIRD LN                                                                                            ENGLEWOOD           FL 34224‐8970
PATERSON‐LAKE, MARY T             429 SADDLE LN                                                                                              GRAND BLANC         MI 48439‐7089
PATERYN, BOHDAN                   43682 PERIGNON DR                                                                                          STERLING HEIGHTS    MI 48314‐1927
PATERYN, WALENTYNE                43682 PERIGNON DR.                                                                                         STERLING HEIGHTS    MI 48314‐1927
PATES, LAKISHA LAEL               1420 POMPTON CIR                                                                                           LANSING             MI 48910‐4321
PATEY, ROBERT A                   9955 SHEPHERD RD LOT G18                                                                                   LOCKBOURNE          OH 43137‐9683
PATEY, RUBY                       9955 SHEPHERD RD LOT G18                                                                                   LOCKBOURNE          OH 43137‐9683
PATH TRUCK LINES                  1 HSBC CTR FL 1W                                                                                           BUFFALO             NY 14203‐2801
PATHAMMAVONG, LYNA S.             PO BOX 6053                                                                                                BEAVERTON           OR 97007‐0053
PATHANA ONELA                     42239 SABLE BLVD                                                                                           STERLING HEIGHTS    MI 48314‐1996
PATHE JR, JOHN J                  7323 HERITAGE CT                                                                                           FRANKFORT            IL 60423
PATHE, HELEN R                    7323 HERITAGE COURT                                                                                        FRANKFORT            IL 60423
PATHERY THOMAS                    2013 BONBRIGHT STREET                                                                                      FLINT               MI 48505‐4658
PATHFINDER CAPITAL LTD            C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT     2 RAFFLES LINK, MARINA   SINGAPORE 039392
                                  LIMITED                                                      BAYFRONT
PATHFINDER SOLUTIONS              33 COMMERCIAL ST STE 2                                                                                     FOXBORO            MA 02035‐5309
PATHMARK TRANSPORTATION MARKETING PO BOX 1000                                                                                                MEMPHIS            TN 38148‐0563
COMPANY
PATHOLOGY ASSOCIATES              PO BOX 77000                                                                                               DETROIT            MI   48277‐2000
PATHOLOGY ASSOCIATES              PO BOX 33321                         DRAWER 129                                                            DETROIT            MI   48232‐5321
PATHOLOGY CONSULTANT              PO BOX 33321                         DRAWER 200                                                            DETROIT            MI   48232‐5321
PATHOLOGY LABORATORIES            ATTN: KAYLA KINDT                    2293 VILLAGE PARK CT                                                  ONTARIO            OH   44906‐1167
PATHON COMPANY                    1856 PEARL RD                                                                                              BRUNSWICK          OH   44212‐3252
PATHUMWAN CHUMSAI                 2136 CLINTON VIEW CIR                                                                                      ROCHESTER HLS      MI   48309‐2986
PATHWAY ENGRAV/SHWNE              5214 LUCILLE LN                                                                                            SHAWNEE            KS   66203‐1453
PATHWAY RESEARCH LLC
PATHWAY SOBER HOUSE               3214 ELM ROAD                                                                                              WARREN             OH   44483
PATHWAYS PR/WARREN                21325 HOOVER RD                                                                                            WARREN             MI   48089‐3156
PATIENCE ANDERSON                 PO BOX 101                                                                                                 PERRY              MI   48872‐0101
PATIENCE EARLY                    482 CAPITOL VIEW DR                                                                                        COLUMBUS           OH   43203‐1036
PATIENCE PRATT                    208 W HOWE AVE                                                                                             LANSING            MI   48906‐3138
PATIENCE ROYSTER                  APT 1116                             125 EAST 156TH STREET                                                 CLEVELAND          OH   44110‐1141
PATIENCE TERRELL                  322 MAIN DR                                                                                                AIKEN              SC   29801‐0213
PATIENCE, LAWRENCE J              9 BROOK TER                                                                                                ASHEVILLE          NC   28805‐1205
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Name                             Address1                        Address2                      Address3   Address4         City             State Zip
PATIL, RAVINDRA P                2875 TROY CENTER DR APT 4027                                                              TROY              MI 48084‐4728
PATIL, SANJAY                    37155 VISTA DR                                                                            WESTLAND          MI 48185‐3752
PATILLA, LISIMBA                 6076 EMERALD LAKES DR                                                                     MEDINA            OH 44256‐7442
PATILLO JR, CHARLES H            117 N 25TH ST                                                                             SAGINAW           MI 48601‐6304
PATILLO SR, LARRY                1161 CURTIS DR                                                                            FOREST PARK       GA 30297‐1570
PATILLO, CHARITA                 19775 STANSBURY ST                                                                        DETROIT           MI 48235‐1526
PATILLO, CHARLES C               2923 PINE KNOLL DR APT 300A                                                               AUBURN HILLS      MI 48326‐3798
PATILLO, EFFIE M                 5087 BURNS                                                                                DETROIT           MI 48213‐2910
PATILLO, EFFIE M                 5087 BURNS ST                                                                             DETROIT           MI 48213‐2910
PATILLO, GENTRE' E               110 GRANT CIR                                                                             HAMILTON          OH 45011‐2978
PATILLO, JOAN                    9151 WHITCOMB ST                                                                          DETROIT           MI 48228‐2215
PATILLO, JOAN                    9151 WHITCOMB                                                                             DETROIT           MI 48228‐2215
PATILLO, KEVIN J                 4246 VITEK DR                                                                             DAYTON            OH 45424
PATILLO, KEVIN J                 3012 FOREST GROVE AVE                                                                     DAYTON            OH 45406‐4041
PATILLO, LARRY M                 5323 SENECA ST                                                                            DETROIT           MI 48213‐2951
PATILLO‐BROWN, NATOSHA C         1421 CYPRESS ST                                                                           SAGINAW           MI 48602‐2827
PATILLO‐BROWN, NATOSHA CHARESE   1421 CYPRESS ST                                                                           SAGINAW           MI 48602‐2827
PATIN, HELEN J                   43865 CANDLEWOOD DR                                                                       CANTON            MI 48187‐2015
PATIN, RICHARD G                 43865 CANDELWOOD RD                                                                       CANTON            MI 48187
PATING, ALFONSO T                1708 HILLCREST ROAD NORTHEAST                                                             CULLMAN           AL 35055‐2125
PATINO LEONELA                   LEDEZMA, CLAUDIA                5473 BLAIR RD STE 200                                     DALLAS            TX 75231‐4168
PATINO LEONELA                   LEDEZMA, MARIA                  5473 BLAIR RD STE 200                                     DALLAS            TX 75231‐4168
PATINO LEONELA                   PATINO, ELVIA                   5473 BLAIR RD STE 200                                     DALLAS            TX 75231‐4168
PATINO LEONELA                   PATINO, LEONELA                 5473 BLAIR RD STE 200                                     DALLAS            TX 75231‐4168
PATINO ZOLA                      PATINO, ZOLA                    49084 MOJAVE DR                                           MORONGO VALLEY    CA 92256‐9746
PATINO, ELVIA                    TRACY FIRM                      5473 BLAIR RD STE 200                                     DALLAS            TX 75231‐4168
PATINO, ERNEST M                 1504 DOWNEY ST                                                                            LANSING           MI 48906‐2817
PATINO, ERNEST MICHAEL           1504 DOWNEY ST                                                                            LANSING           MI 48906‐2817
PATINO, IRMA P                   1711 N STEVENS ST                                                                         EL PASO           TX 79903‐1703
PATINO, JAVIER G                 11957 N 140TH LN                                                                          SURPRISE          AZ 85379
PATINO, LEONELA                  13395 COUNTY ROAD 237                                                                     TERRELL           TX 75160‐5877
PATINO, LEONELA                  TRACY FIRM                      5473 BLAIR RD STE 200                                     DALLAS            TX 75231‐4168
PATINO, LYDIA                    12459 E GRADWELL                                                                          LAKEWOOD          CA 90715‐2314
PATINO, LYDIA                    12459 GRADWELL ST                                                                         LAKEWOOD          CA 90715‐2314
PATINO, MANUEL                   407 STATE ST                                                                              BAY CITY          MI 48706‐3762
PATINO, MARK A                   A137 HENRY COUNTY ROAD 10                                                                 LEIPSIC           OH 45856‐9107
PATINO, MELISSA K                #1                              2450 WEST AUGUSTA BOULEVARD                               CHICAGO            IL 60622‐4639

PATINO, RAMON F                  216 GLEN VIEW TER                                                                         ABINGDON         MD   21009‐3114
PATINO, RAUL A                   17011 LOST CYPRESS DR                                                                     CYPRESS          TX   77429‐1503
PATINO, ROBERTO                  131 LASALLE ST                                                                            MANSFIELD        OH   44906‐2429
PATINO, ROSA J                   131 LASALLE ST                                                                            MANSFIELD        OH   44906‐2429
PATINO, SAMUEL                   131 LASALLE ST                                                                            MANSFIELD        OH   44906‐2429
PATINO, SANDRA M                 513 SOUTH RAILROAD STREET                                                                 MONTGOMERY       IL   60538‐1427
PATINO, SANDRA M                 138 JAMES ST                                                                              MONTGOMERY       IL   60538‐1204
PATINO, SCOTT A                  12120 S BAUER RD                                                                          EAGLE            MI   48822‐9742
PATINO, THEODORE W               11774 STONE BLUFF DR                                                                      GRAND LEDGE      MI   48837‐2403
PATINO, WILLIAM B                2409 DARBY DR                                                                             LANSING          MI   48906‐3634
PATINO, WILLIAM G                1731 ROCKDALE AVE                                                                         LANSING          MI   48917‐1432
PATINO, ZOLA                     49084 MOJAVE DR                                                                           MORONGO VALLEY   CA   92256‐9746
PATINO, ZOLA                     PO BOX 192                                                                                MORONGO VALLEY   CA   92256
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Name                                 Address1                          Address2                    Address3                Address4              City            State Zip
PATINO, ZOLA                         C/O SAFECO INSURANCE COMPANY OF   SUBROGATION DEPARTMENT      PO BOX 461                                    SAINT LOUIS      MO 63166‐0461
                                     AMERICA
PATIRE CHEVROLET‐OLDSMOBILE‐BUICK,   191 MAIN ST                                                                                                 HOOSICK FALLS   NY 12090‐2016

PATIRE CHEVROLET‐OLDSMOBILE‐BUICK,   191 MAIN ST                                                                                                 HOOSICK FALLS   NY 12090‐2016
INC.
PATIRE CHEVROLET‐OLDSMOBILE‐BUICK,   CRUCE PATIRE                      191 MAIN ST                                                               HOOSICK FALLS   NY 12090‐2016
INC.
PATITUCCI, ERNEST L                  4617 PINEGROVE AVE                                                                                          AUSTINTOWN      OH    44515‐4848
PATITUCCI, EUGENE A                  408 HARRIS RD                                                                                               RICHMOND HTS    OH    44143‐1755
PATITUCCI, MARY                      4617 PINEGROVE AVE.                                                                                         AUSTINTOWN      OH    44515‐4848
PATKALITSKY, WALTER P                348 ESSER AVE                                                                                               BUFFALO         NY    14207‐1244
PATKO, IRENE M                       857 E 132ND DR                                                                                              DENVER          CO    80241‐1137
PATKO, IRENE M                       857 E 132ND DRIVE                                                                                           DENVER          CO    80241‐1137
PATKO, STEPHEN D                     118 1/2 LINDEN AVE                                                                                          DAYTON          OH    45403‐1919
PATLA, BARBARA M                     5246 SPRING DR                                                                                              FRANKLIN        OH    45005‐2343
PATLAN CORPORATION                   ATTN KEVIN MERCURE                MC482 B08 # B68             TOWER 200 RENAISSANCE                         DETROIT         MI    48265‐0001
                                                                                                   CENTER
PATLAN, JOSE R                       6640 SPRINGBORO PIKE                                                                                        DAYTON          OH    45449‐3414
PATLEWICZ, ANTHONY P                 17947 REDWOOD DR                                                                                            MACOMB          MI    48042‐3517
PATMAI COMPANY INC                   31425 FRASER DR                                                                                             FRASER          MI    48026‐2584
PATMON, VINCENT L                    21183 8 1/2 MILE RD                                                                                         SOUTHFIELD      MI    48075‐3806
PATMON, VINCENT LAWRENCE             21183 8 1/2 MILE RD                                                                                         SOUTHFIELD      MI    48075‐3806
PATMOR, OWEN E                       223 SARATOGA CT                                                                                             GOLETA          CA    93117‐2404
PATMORE, BONITA J                    1126 N COURTLAND AVE                                                                                        KOKOMO          IN    46901‐2756
PATNAUDE, JOHN J                     5640 TOWERLINE RD                                                                                           HALE            MI    48739‐9058
PATNEAUDE, ALPHONSE L                851 WAYNE AVE                                                                                               DEFIANCE        OH    43512‐2869
PATNEY, AMIT                         36544 JEFFERSON CT APT 10209                                                                                FARMINGTON      MI    48335‐1943
PATNI COMPUTER SYSTEMS LTD           55 SDF‐II SEEPZ ANDHERI EAST                                                          MUMBAI 400096 INDIA
PATNI COMPUTER SYSTEMS LTD           NO 55 SDF‐II SEEPZ ANDHERI (EA                                                        MUMBAI MAHARASHTRA
                                                                                                                           IN 400096 INDIA
PATNI COMPUTER SYSTEMS LTD           B‐43 PHASE II                     ELECTRONICS CITY HOSUR RD                           BANGALORE, 560100
                                                                                                                           INDIA
PATNODE, AUDREY R                    59 MAINE ROAD                                                                                               PLATTSBURGH     NY    12903‐4000
PATNODE, BARBARANN                   25 PLANTATION CIRCLE                                                                                        SAULSBURY       TN    38067
PATNODE, DONALD L                    8110 S TALBOTT CT                                                                                           BLOOMINGTON     IN    47401‐8476
PATNODE, LLOYD W                     3704 MOCKINGBIRD LN                                                                                         MIDWEST CITY    OK    73110‐3822
PATNODE, NANCY R                     17711 EDGEWATER DR                                                                                          LAKE MILTON     OH    44429‐9543
PATNOE, LAWRENCE J                   5603 E L T TOWNLINE RD                                                                                      BELOIT          WI    53511‐8959
PATNOUDE JR, JAMES E                 10955 JORDAN CT                                                                                             ALLENDALE       MI    49401
PATOCKA, FLORENCE L                  1021 CHARING CROSS RD                                                                                       LOMBARD         IL    60148‐3943
PATOCKA, KENNETH F                   2160 CAMEL MESA DR                                                                                          LAUGHLIN        NV    89029‐1129
PATOCKA, ROGER M                     304 FOOTHILLS DR                                                                                            NEWBERG         OR    97132‐9040
PATOCKA, ROGER M.                    304 FOOTHILLS DR                                                                                            NEWBERG         OR    97132‐9040
PATOCKI, STANLEY W                   521 SLUMBER LN                                                                                              ROCHESTER HLS   MI    48307‐2885
PATOCKI, STANLEY W.                  521 SLUMBER LN                                                                                              ROCHESTER HLS   MI    48307‐2885
PATON & PATON                        KIMBERLY PATON, ESQ.              12 N STATE RT 17 STE 115C                                                 PARAMUS         NJ    07652‐2600
PATON ELECTRIC WELDING INSTITUTE,
KIEV, UKRAINE, E. O.
PATON MOTORS                         4 BREADALBANE ST.                                                                     HAMILTON ON L8R 3E9
                                                                                                                           CANADA
PATON, HAROLD E                      2892 N CENTENNIAL ST                                                                                        INDIANAPOLIS     IN   46222‐2235
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Name                    Address1                      Address2              Address3       Address4                City               State Zip
PATON, JAMES F          3405 WATTERSON ST                                                                          KINGSPORT           TN 37660‐1094
PATON, LILLIAN D        55 BENNINGTON DR                                                                           ZIONSVILLE          IN 46077‐1132
PATON, SCOTT A          28460 FOUNTAIN ST                                                                          ROSEVILLE           MI 48066‐4764
PATONYA WORTHEM         3007 FAIRVIEW DRIVE                                                                        GRAND PRAIRIE       TX 75052‐0442
PATOW, LARRY L          5935 NASH RD                                                                               SARANAC             MI 48881‐9632
PATOW, LARRY LYLE       5935 NASH RD                                                                               SARANAC             MI 48881‐9632
PATRA MARION            PO BOX 104                                                                                 EASTWOOD            KY 40018
PATRAFEE AB             BOX 9604 STOCKHOLM                                                 SWEDEN S 11791 SWEDEN
PATRAS, G T             2225 LAKE HAVEN CT                                                                         LIZELLA            GA   31052‐3530
PATRAW, GAY W           224 HIGHLAND RD                                                                            MASSENA            NY   13662‐3209
PATRAW, GLENN R         118 KENSINGTON PL                                                                          COLUMBIA           TN   38401‐8884
PATRAW, JANALYNN M      2411 COLUMBIA GARDEN APT A5   PULASKI HWY                                                  COLUMBIA           TN   38401
PATRAW, NEAL C          9391 STATE HIGHWAY 56 56                                                                   MASSENA            NY   13662
PATRAW, RANDY E         109 LARUE RD                                                                               MASSENA            NY   13662‐3368
PATRAW, RANDY EUGENE    109 LARUE RD                                                                               MASSENA            NY   13662‐3368
PATRAW, WALTRAUT        15 KUALA BEAR PATH            BEAR CREEK                                                   ORMOND BEACH       FL   32174‐2958
PATRAW, WALTRAUT        15 KOALA BEAR PATH            BEAR CREEK                                                   ORMOND BEACH       FL   32174‐2958
PATRAY, RICHARD S       25355 GREENBROOKE DR                                                                       SOUTHFIELD         MI   48033‐5285
PATREECE KIRKLAND       7706 E 111TH TER                                                                           KANSAS CITY        MO   64134‐2835
PATRELL, JOSEPH P       468 SKYLINE DR                                                                             HORTON             MI   49246‐9756
PATRELL, THOMAS A       140 ALDEA DR                                                                               SEBASTIAN          FL   32958‐6949
PATRENE D' AMICO        145 COOPER LANE                                                                            STAFFORD SPRINGS   CT   06076
PATRENETS, MARY E       25113 W LOOMIS RD                                                                          WIND LAKE          WI   53185‐1421
PATRENETS, MARY ELLEN   25113 W LOOMIS RD                                                                          WIND LAKE          WI   53185‐1421
PATREVITA, MARIA        114 BERGEN ST                                                                              ROCHESTER          NY   14606‐2614
PATRIA GARRETT          312 SWEETWATER CT                                                                          BRENTWOOD          TN   37027‐7873
PATRIA S GARRETT        312 SWEETWATER CT                                                                          BRENTWOOD          TN   37027‐7873
PATRIA, RICHARD B       2583 REED RD                                                                               LAPEER             MI   48446‐8314
PATRIARCA, FERNANDO     12A DOVE ST                                                                                MANCHESTER         NJ   08759‐5327
PATRIC KENNY            1687 CONWAY AVE                                                                            YPSILANTI          MI   48198‐6669
PATRIC MC KINLEY        104 APPLEGATE RD                                                                           FAIRFIELD          CT   06825‐2739
PATRICA BAHR            24 PARK DR                                                                                 SAINT CHARLES      MO   63303‐3607
PATRICA BITLER          250 WILLIS DR                                                                              TONGANOXIE         KS   66086‐5442
PATRICA COMPTON         8226 STATE ROUTE 726                                                                       ELDORADO           OH   45321
PATRICA GERHARDT        7421 PHOENIX AVE                                                                           CINCINNATI         OH   45231‐4238
PATRICA GERSTMAN        8765 WESTLAKE DR                                                                           GREENDALE          WI   53129‐1080
PATRICA GIBSON          7422 N WEBSTER RD                                                                          MOUNT MORRIS       MI   48458‐9330
PATRICA HOFFMAN         PO BOX 692                                                                                 ATLANTA            MI   49709‐0692
PATRICA HUMPHREY        5450 SE 24TH ST                                                                            OCALA              FL   34480‐1102
PATRICA JANE            1765 DOROTHY CIRCLE           LOT 1                                                        ESSEXVILLE         MI   48732
PATRICE                 PASTOR.PATRICE ALLEYNE        142‐31 ROCKAWAY BLD                                          JAMAICA            NY   11436
PATRICE A LAPORTE       210 N FAIRVIEW AVE                                                                         LANSING            MI   48912‐3020
PATRICE A WALKER        691 AUGUSTA DRIVE                                                                          ROCHESTER          MI   48309‐1531
PATRICE BEENE           PO BOX 13504                                                                               FLINT              MI   48501‐3504
PATRICE BERRY           NO ADDRESS ON FILE
PATRICE BROWN‐BORDEN    11465 BRUCE NORTH LN                                                                       BRUCE TWP          MI   48065‐1929
PATRICE C LANE          917 ROSEDALE DR                                                                            DAYTON             OH   45407‐1741
PATRICE DULL            245 TAYLOR AVE                                                                             BEAVER             PA   15009‐2821
PATRICE E YOUNG         644 UNDERWOOD AVE                                                                          TOLEDO             OH   43607‐3166
PATRICE EARNSHAW        353 STONES RIVER CV                                                                        NASHVILLE          TN   37214‐4805
PATRICE FIELDS          1960 BLOOMFIELD OAKS DR                                                                    WEST BLOOMFIELD    MI   48324‐1294
PATRICE FINNIE          4920 SHASTA DR                                                                             NASHVILLE          TN   37211‐3906
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Name                       Address1                        Address2                   Address3                    Address4         City              State Zip
PATRICE GROSSKREUTZ        11229 E PIONEER RD                                                                                      WHITEWATER         WI 53190‐3310
PATRICE HALLORAN           3201 ISLAND HWY                                                                                         CHARLOTTE          MI 48813‐9383
PATRICE J BEENE            PO BOX 13504                                                                                            FLINT              MI 48501‐3504
PATRICE J GAINES           PO BOX 13504                                                                                            FLINT              MI 48501‐3504
PATRICE J GUNDRUM          8770 ALEXANDER RD                                                                                       BATAVIA            NY 14020‐9500
PATRICE L HARRIS           3127 GREENFIELD RD # 79                                                                                 PEARL              MS 39208‐8707
PATRICE L LOVE             1421 LINCOLNSHIRE WAY                                                                                   FORT WORTH         TX 76134‐5515
PATRICE L MILLER HANCOCK   3097 EMO ROAD                                                                                           WAYLAND            NY 14572‐9419
PATRICE L MILLER‐HANCOCK   3097 EMO RD                                                                                             WAYLAND            NY 14572‐9419
PATRICE L ROBINSON         PO BOX 40602                                                                                            ROCHESTER          NY 14604
PATRICE LALONDE            734 S HURON RD                                                                                          LINWOOD            MI 48634‐9416
PATRICE LAPORTE            210 N FAIRVIEW AVE                                                                                      LANSING            MI 48912‐3020
PATRICE LAUDERDALE         7520 DELTA COMMERCE DR                                                                                  LANSING            MI 48917‐1000
PATRICE LUCIDORE           1114 EASTBROOK HARLENSBURG RD                                                                           NEW CASTLE         PA 16101
PATRICE M EARNSHAW         353 STONES RIVER CV                                                                                     NASHVILLE          TN 37214‐4805
PATRICE MANNING            6717 ROBINDALE RD                                                                                       FOREST HILL        TX 76140‐1225
PATRICE MILLER‐HANCOCK     3097 EMO RD                                                                                             WAYLAND            NY 14572‐9419
PATRICE MITCHELL           230 WOODVIEW #254                                                                                       ROCHESTER HILLS    MI 48307
PATRICE R LAUDERDALE       7520 DELTA COMMERCE DR                                                                                  LANSING            MI 48917‐1000
PATRICE RAGLIN             200 MEADOWLARK DR                                                                                       GODFREY             IL 62035‐2358
PATRICE SIGNORELLI‐BOBER   1104 TRUMAN AVENUE                                                                                      LEHIGH ACRES       FL 33972
PATRICE THOMAS             1446 BELLEMEADE CT SW                                                                                   MARIETTA           GA 30008‐7179
PATRICE UCHNO LELAND       313 EDMUND AVE                                                                                          ROYAL OAK          MI 48073‐2647
PATRICE WILLIAMS           13204 HERRICK AVE                                                                                       GRANDVIEW          MO 64030‐3551
PATRICE YOUNG              644 UNDERWOOD AVE                                                                                       TOLEDO             OH 43607‐3166
PATRICELLA, THERESA A      PO BOX 326                                                                                              WARETOWN           NJ 08758‐0326
PATRICELLI, CARL           1526 FLYNN RD                                                                                           ROCHESTER          NY 14612‐2879
PATRICI BARAN              7313 CALKINS RD                                                                                         FLINT              MI 48532‐3004
PATRICIA C. PARK           5940 NE ARROWHEAD DRIVE                                                                                 KENMORE            WA 98028
PATRICIA / A W BENNETT     308 WESTWOOD BLVD                                                                                       NAMPA              ID 83686‐2647
PATRICIA A ADAMOWSKI       1212 4TH ST                                                                                             BAY CITY           MI 48708‐6024
PATRICIA A ALEXANDER       PO BOX 190223                                                                                           BURTON             MI 48519‐0223
PATRICIA A ALLEN           18103 THORNRIDGE DR                                                                                     GRAND BLANC        MI 48439‐9223
PATRICIA A ALLEN           640 WESTWOOD AVE                                                                                        DAYTON             OH 45407‐1337
PATRICIA A ARNETT          425 EVERGREEN DR.                                                                                       SPRINGBORO         OH 45066‐9766
PATRICIA A BADLAM          PO BOX 50914                                                                                            BOWLING GREEN      KY 42102‐4214
PATRICIA A BAHNS           580 TALOWOOD DRIVE                                                                                      DAYTON             OH 45430‐1640
PATRICIA A BALDWIN         2736‐C IVY HILL CIRCLE                                                                                  CORTLAND           OH 44410‐9374
PATRICIA A BALTIC          238 E. KLINE                                                                                            GIRARD             OH 44420‐2622
PATRICIA A BANCAS          817 BELEY AVE                                                                                           SYRACUSE           NY 13211‐1305
PATRICIA A BARAN           7313 CALKINS RD                                                                                         FLINT              MI 48532‐3004
PATRICIA A BARBERA         2207 NORWAY RD                                                                                          KENDALL            NY 14476
PATRICIA A BARBOUR‐HOWZE   ATTN: ROBERT W PHILLIPS         SIMMONS BROWDER GIANARIS   707 BERSHIRE BLVD, PO BOX                    EAST ALTON          IL 62024
                                                           ANGELIDES & BARNERD LLC    521
PATRICIA A BARKER          3439 W 61ST ST                                                                                          INDIANAPOLIS      IN   46228‐1010
PATRICIA A BARNETT         108 FLORIDA RD S                                                                                        SYRACUSE          NY   13211‐1845
PATRICIA A BARRON          2601 TORRANCE AVE                                                                                       FLINT             MI   48506‐3424
PATRICIA A BATOR           1381 MAHONING,NW 301A APT.                                                                              WARREN            OH   44483‐2051
PATRICIA A BEAN            215 STRAND AVE                                                                                          DAYTON            OH   45417‐8934
PATRICIA A BELLINGER       4466 RIVERVIEW RD                                                                                       BREWERTON         NY   13029‐9754
PATRICIA A BENDROSS        239 HALLMARK CIRCLE                                                                                     EASLEY            SC   29640
PATRICIA A BENSON          1102 MOUNTAIN MEADOWS DR                                                                                KATY              TX   77450‐3170
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Name                     Address1                       Address2            Address3         Address4         City               State Zip
PATRICIA A BINGAMAN      50078 NOTTAWA RD                                                                     MENDON              MI 49072‐9710
PATRICIA A BLANCHARD     2336 BRECKINRIDGE RD                                                                 JACKSON             MS 39204
PATRICIA A BODDIE        530 GRAMONT AVE                                                                      DAYTON              OH 45407‐1521
PATRICIA A BODDIE        530 GRAMONT AVE                                                                      DAYTON              OH 45402‐5521
PATRICIA A BOHN          8597 DUCK CREEK RD                                                                   BERLIN CENTER       OH 44401
PATRICIA A BOLCHALK      8564 SQUIRES LANE N.E.                                                               WARREN              OH 44484‐1644
PATRICIA A BOLDEN        5390 GARDENDALE AVE                                                                  TROTWOOD            OH 45427
PATRICIA A BOROVITCKY    2721 SAN PEDRO                                                                       YOUNGSTOWN          OH 44511‐2933
PATRICIA A BOWER         1100 RUSH SCOTTSVILLE ROAD                                                           RUSH                NY 14543
PATRICIA A BOYD          P0 BOX 13134                                                                         FLINT               MI 48501
PATRICIA A BRAY          46264 LITCHFIELD DR                                                                  PLYMOUTH            MI 48170‐3547
PATRICIA A BROCKINGTON   1114 STAGHORN DR                                                                     N BRUNSWICK         NJ 08902
PATRICIA A BROWN         2016 CORNELL RIDGE DRIVE                                                             DAYTON              OH 45406‐3709
PATRICIA A BRUCE         1252 EPWORTH AVE                                                                     DAYTON              OH 45410‐2614
PATRICIA A BRYANT        1919 TRILLIUM BEND DRIVE                                                             GALLOWAY            OH 43119
PATRICIA A BUNDY         219 BROOKWOOD DR.                                                                    ENGLEWOOD           OH 45322‐2461
PATRICIA A BURGESS       426 WEST SOUTHERN                                                                    SPRINGFIELD         OH 45506‐2529
PATRICIA A BURKELL       216 DEHOFF DR                                                                        YOUNGSTOWN          OH 44515‐3909
PATRICIA A BURNES        9644 N 35TH LN                                                                       PHOENIX             AZ 85051‐1220
PATRICIA A BURTON        931 CLIFTON RD                                                                       XENIA               OH 45385
PATRICIA A BUTLER        4640 WOODLAKE DR.                                                                    DAYTON              OH 45406‐3351
PATRICIA A BUTLER        6114 BOB DR                                                                          YPSILANTI           MI 48197‐7002
PATRICIA A BUTLER        4640 WOODLAKE DR                                                                     DAYTON              OH 45406‐3351
PATRICIA A CALHOUN       125 E. BEECHWOOD AVE                                                                 DAYTON              OH 45405
PATRICIA A CARUSO        53 GIRARD AVE                                                                        WEST LONG BRANCH    NJ 07764
PATRICIA A CASEY         1749 COTTONWOOD LN                                                                   NEWCASTLE           OK 73065‐5756
PATRICIA A CASTRECHINO   112 MEADOWDALE DR                                                                    ROCHESTER           NY 14624‐2812
PATRICIA A CEBULAK       7059 TAMARACK DR SE                                                                  HUBBARD             OH 44425‐3053
PATRICIA A CHAMBERS      PO BOX 967                                                                           MARIETTA            GA 30061‐0967
PATRICIA A CHRISTIAN     4145 LOVETT ST                                                                       DETROIT             MI 48210‐2686
PATRICIA A CHRISTIAN     5966 CULZEAN DR APT 1606                                                             TROTWOOD            OH 45426
PATRICIA A CLARK         1600 SQUAW CREEK DRIVE                                                               GIRARD              OH 44420‐3636
PATRICIA A COLE          52 MARIO DRIVE                                                                       TROTWOOD            OH 45426‐2915
PATRICIA A COLLINS       1805 BRIARWOOD DR                                                                    FLINT               MI 48507‐1435
PATRICIA A COLONNA       20 HUGHES RD                                                                         HUBBARD             OH 44425‐2635
PATRICIA A COMBINE       P O BOX 678     .                                                                    VIENNA              OH 44473‐0678
PATRICIA A CONAWAY       350 S WEST ST                                                                        RUSSIAVILLE         IN 46979
PATRICIA A CORRIGAN      439 OAK ORCHARD EST                                                                  ALBION              NY 14411
PATRICIA A CROSS         239 ZENGEL DR                                                                        DAYTON              OH 45459
PATRICIA A CROTEAU       3002 TIPTON WAY                                                                      ABINGDON            MD 21009‐2576
PATRICIA A CULKIN        101 MEDFORD RD                                                                       SYRACUSE            NY 13211‐1827
PATRICIA A DAFF          6359 CHESTNUT RIDGE RD.                                                              HUBBARD             OH 44425
PATRICIA A DALZELL       816 CENTER AVE                                                                       BAY CITY            MI 48708‐5951
PATRICIA A DANIELS       29189 EVERETT ST                                                                     SOUTHFIELD          MI 48076‐5809
PATRICIA A DAVIS         6043 LAKE DR                                                                         YPSILANTI           MI 48197‐7017
PATRICIA A DAVIS‐ROSSI   8253 KENYON DR. S.E.                                                                 WARREN              OH 44484‐3022
PATRICIA A DE LOSIER     16735 KYLA DR #28                                                                    CLINTON TOWNSHIP    MI 48038‐1987
PATRICIA A DE MARS       1609 CLOISTER DR.                                                                    SUN CITY CENTER     FL 33573‐5051
PATRICIA A DELAPHIANO    4231 HARMONY DR                                                                      SHELBYVILLE         MI 49344‐9605
PATRICIA A DENEZZAS      2 FRANCONIA DR                                                                       GREENSBURG          PA 15601
PATRICIA A DENNISTON     6165 RAYMOND RD                                                                      LOCKPORT            NY 14094‐7941
PATRICIA A DEURWEARDER   37931 ECORSE RD                                                                      ROMULUS             MI 48174‐1349
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Name                    Address1                       Address2                    Address3   Address4         City              State Zip
PATRICIA A DIBLASI      446 CARLWOOD DR                                                                        MIAMISBURG         OH 45342‐3515
PATRICIA A DIRCKX       120 EVANSTON AVENUE                                                                    DAYTON             OH 45409‐2403
PATRICIA A DODDS        423 E. CHEROKEE ST.                                                                    BROOKHAVEN         MS 39601
PATRICIA A DONALD       9353 HARTWELL ST                                                                       DETROIT            MI 48228‐2535
PATRICIA A DOWD TRUST   PATRICIA A DOWD TRUSTEE        200 VILLAGE DR APT 448                                  DOWNERS GROVE       IL 60516‐3062
PATRICIA A DOZZIE       1625 SHADY GROVE RD                                                                    MURPHY             NC 28906
PATRICIA A DUNSON       1338 HOWELL ST                                                                         JACKSON            MS 39213
PATRICIA A DWYER        5346 WAR ADMIRAL DRIVE                                                                 WESLEY CHAPEL      FL 33544
PATRICIA A EDDY         19 CHRISTIAN AVE                                                                       HUBBARD            OH 44425
PATRICIA A ELKINS       4585 SEVILLE DRIVE                                                                     ENGLEWOOD          OH 45322‐3732
PATRICIA A ELLIS        3404 WILLOWOOD CIR APT 1046                                                            ARLINGTON          TX 76015‐3369
PATRICIA A ELLIS        5333 NICHOLS RD                                                                        SWARTZ CREEK       MI 48473‐8587
PATRICIA A FELDER       160 VIRGINIA PARK ST                                                                   DETROIT            MI 48202‐2010
PATRICIA A FELTON       7777 VALLEY VIEW ST APT C202                                                           LA PALMA           CA 90623‐1879
PATRICIA A FILIPCICH    534 SCOTT AVE                                                                          NILES              OH 44446
PATRICIA A FITZGERALD   10117 ABERDEEN DR                                                                      GRAND BLANC        MI 48439
PATRICIA A FLETCHER     270 E. WILSON STREET                                                                   STRUTHERS          OH 44471
PATRICIA A FLETCHER     PO BOX 206                                                                             HAZEL GREEN        KY 41332
PATRICIA A FLETCHER     1238 PAGENTRY DR                                                                       NORTH LAS VEGAS    NV 89031
PATRICIA A FLOWERS      5569 SAINT ANDREW DR                                                                   CLARKSTON          MI 48348‐4833
PATRICIA A FORDHAM      PO BOX 681                                                                             YOUNGSTOWN         OH 44501‐0681
PATRICIA A FOSTER       2300 CLEMENTS ST                                                                       DETROIT            MI 48238‐3485
PATRICIA A FRALEY       9017 MANDALE ST                                                                        DETROIT            MI 48209‐1475
PATRICIA A FRANCOIS     1575 CAMPUS DR                                                                         DAYTON             OH 45406
PATRICIA A FRIESTAD     1602 LIBERTY LN                                                                        JANESVILLE         WI 53545‐1288
PATRICIA A GARELICK     8618 MORGAN RD                                                                         CLAY               NY 13041‐9665
PATRICIA A GAYTEN       PO BOX 1194                                                                            SYRACUSE           NY 13201‐1194
PATRICIA A GHOLSTON     1404 130TH AVE                                                                         NEW RICHMOND       WI 54017‐6609
PATRICIA A GILES        1222 E. WESTHAVEN DR.                                                                  JACKSON            MS 39209‐4719
PATRICIA A GLASER       6970 SHAFFER RD NW                                                                     WARREN             OH 44481‐9408
PATRICIA A GOMEZ        235 BAKER AVE                                                                          SYRACUSE           NY 13205‐1103
PATRICIA A GRAY         APT 2A                         7456 DRY CREEK DRIVE                                    GRAND BLANC        MI 48439‐6311
PATRICIA A GREENE       1426 ROBBINS AVE.                                                                      NILES              OH 44446‐3753
PATRICIA A GRIM         14362 MOUNTAIN RD                                                                      ORRSTOWN           PA 17244‐9641
PATRICIA A GUNN         5475 CABANNE AVE APT 611                                                               SAINT LOUIS        MO 63112‐3355
PATRICIA A GUSTAFSON    PO BOX 831                                                                             FARIBAULT          MN 55021
PATRICIA A GUTHRIE      414 LINDENWOOD RD                                                                      DAYTON             OH 45417‐1306
PATRICIA A HALL         37 5TH ST                                                                              BONITA SPRINGS     FL 34134
PATRICIA A HAMLIN       2743 WASHINGTON ST                                                                     HOLLYWOOD          FL 33020
PATRICIA A HAMMOCK      5644 N 9 MILE RD                                                                       PINCONNING         MI 48650‐7956
PATRICIA A HANEY        3960 PARLIAMENT PLACE #79                                                              KETTERING          OH 45429
PATRICIA A HARDMAN      1133 GRANT AVE.                                                                        GADSDEN            AL 35903
PATRICIA A HARGROVE     306 E BETHUNE ST                                                                       DETROIT            MI 48202‐2861
PATRICIA A HARM         2139 AUTUMN HAZE TRL                                                                   MIAMISBURG         OH 45342‐4475
PATRICIA A HARMON       1439 ROSEDALE DR.                                                                      DAYTON             OH 45406
PATRICIA A HENDRICKS    1001 E STEWART ST                                                                      DAYTON             OH 45410
PATRICIA A HILTON       PO BOX 45                      28 GREEN MEADOW DRIVE                                   PERRY PARK         KY 40363‐0045
PATRICIA A HINTON       C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                               HOUSTON            TX 77007
                        BOUNDAS LLP
PATRICIA A HOCKADAY     1558 FENIMORE LN                                                                       THE VILLAGES       FL   32162‐2264
PATRICIA A HOCKADAY     1559 FENIMORE LANE                                                                     THE VILLAGES       FL   32162
PATRICIA A HOLUP        106 RUTGERS RD                                                                         PISCATAWAY         NJ   08854‐3438
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Name                      Address1                           Address2              Address3    Address4         City             State Zip
PATRICIA A HOOPER         24 COMNER AVE.                                                                        NEW BRUNSWICK     NJ 08901
PATRICIA A HORRISON       2225 BRITT AVENUE                                                                     LIMA              OH 45806‐1523
PATRICIA A HUNT           TOD MARK H HUNT                    708 PASEO DEL PRADO                                GREEN VALLEY      AZ 85614
PATRICIA A HURST          4723 HARLOU                                                                           RIVERSIDE         OH 45432‐1618
PATRICIA A JACKSON        814 ILLINOIS AVE.                                                                     ST. CLOUD         FL 34769‐3471
PATRICIA A JACKSON        1621 DUPONT ST                                                                        FLINT             MI 48504‐3100
PATRICIA A JANSEN         146 CARRIAGE LN                                                                       GEORGETOWN        KY 40324‐8836
PATRICIA A JENNINGS       4060 NA AH TEE TRL                                                                    SNELLVILLE        GA 30039
PATRICIA A JENNINGS       2823 NORTHWEST BLVD NW                                                                WARREN            OH 44485‐2233
PATRICIA A JERNIGAN       6324 KENWOOD DR                                                                       SHREVEPORT        LA 71119‐6232
PATRICIA A JOHNSON        1831 LAUREL OAK DR                                                                    FLINT             MI 48507‐2253
PATRICIA A JOHNSON        1080 SILVERCREST WAY #201                                                             IOWA CITY          IA 52240
PATRICIA A JOHNSON        199 W CORNELL AVE                                                                     PONTIAC           MI 48340‐2723
PATRICIA A JONES          121 DEVONSHIRE ST                                                                     YPSILANTI         MI 48198‐6325
PATRICIA A JONES          640 DELAWARE ST APT 303                                                               DETROIT           MI 48202‐4404
PATRICIA A JONES          5809 BEECHAM DR                                                                       DAYTON            OH 45424‐4207
PATRICIA A JONES          1882 MOHAWK CLIFF RD.                                                                 OHATCHEE          AL 36271
PATRICIA A JOSEPH         222 W MICHAEL DR                                                                      MIDWEST CITY      OK 73110‐3421
PATRICIA A JOSEPH         1436 W SAGINAW RD 615                                                                 MAYVILLE          MI 48744
PATRICIA A KACEY          169 PINEWOOD DR                                                                       BRIDGEVILLE       PA 15017
PATRICIA A KEITH          2025B S MCRAVEN RD                                                                    JACKSON           MS 39209
PATRICIA A KELLOGG        1201 DOWAGIAC AVE                                                                     MOUNT MORRIS      MI 48458‐2577
PATRICIA A KELLUM         1154 GREENSTONE LN                                                                    FLINT             MI 48532‐3542
PATRICIA A KERR           737 SOREL DR                                                                          CANTON            MI 48188‐1217
PATRICIA A KIRKSEY        2693 MILTON ST SE                                                                     WARREN            OH 44484‐5254
PATRICIA A KORTUM         644 LAKE ST                                                                           ANGOLA            NY 14006‐9633
PATRICIA A KOSCINSKI      131 HILLVIEW DR                                                                       HUBBARD           OH 44425‐1240
PATRICIA A LANDING        RR 1 BOX 116P                                                                         OAK VALE          MS 39656‐9556
PATRICIA A LAUTNER        1100 CENTER AVE APT 103                                                               BAY CITY          MI 48708‐6178
PATRICIA A LAWRENCE       6632 ROYAL PKWY N                                                                     LOCKPORT          NY 14094‐6641
PATRICIA A LEVY           711 JAMES STREET                                                                      CANTON            MS 39046
PATRICIA A LINDLEY        341 HEIRLOOM DR                                                                       FORT WORTH        TX 76134‐3950
PATRICIA A LINK           237 MARSHALLVILLE RD                                                                  TUCKAHOE          NJ 08250
PATRICIA A LLOYD          2717 ONTARIO AVE                                                                      DAYTON            OH 45414
PATRICIA A LOGAN          3125 N BUFFALO DR #1130                                                               LAS VEGAS         NV 89128‐7832
PATRICIA A LOLLEY         2715 SALES LANDING RD                                                                 CAMDEN            TN 38320‐7612
PATRICIA A LORD           130 B NORTH GLEN DR                                                                   ROCHESTER         NY 14626
PATRICIA A LOVETT         8419 PEACHEY RD                                                                       BERGEN            NY 14416‐9502
PATRICIA A LYTLE          4574 W HIGHTOWER LN                                                                   LECANTO           FL 34461‐7966
PATRICIA A MAJESKI        1609 SUE AVE                                                                          MIAMISBURG        OH 45342‐3846
PATRICIA A MANZO          1750 VERNON AVE. N.W.                                                                 WARREN            OH 44483‐3146
PATRICIA A MARTZOLF       1204 KATHRYN RD                                                                       SILVER SPRINGS    MD 20904
PATRICIA A MASSEY         311 HAWK PL SE                                                                        CANTON            OH 44707‐3827
PATRICIA A MAYRER         451 KETCHAM ST                                                                        DAYTON            OH 45431‐2123
PATRICIA A MAYS           PO BOX 2967                                                                           TOLEDO            OH 43606‐0967
PATRICIA A MCDAVITT       4708 VENICE HEIGHTS BLVD APT 207                                                      SANDUSKY          OH 44870‐1582
PATRICIA A MCKNIGHT       6644 PARK LN                                                                          HILLSBORO         OH 45133‐9398
PATRICIA A MCNAIR         14 SPARKS ST                                                                          TROTWOOD          OH 45426‐3015
PATRICIA A MCQUEEN        PO BOX 320932                                                                         FLINT             MI 48532‐0016
PATRICIA A MEDDERS        P O BOX 8592                                                                          JACKSON           MS 39284
PATRICIA A MERRIWEATHER   3327 ROBERTS ST                                                                       SAGINAW           MI 48601‐3165
PATRICIA A MILLER         1385 ADAMSMOOR DR                                                                     WAYNESVILLE       OH 45068
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Name                     Address1                       Address2                   Address3             Address4           City               State Zip
PATRICIA A MITCHELL      3615 HWY 80 EAST #29                                                                              PEARL               MS 39208‐4045
PATRICIA A MONT          1416 PEACEPIPE TRL                                                                                XENIA               OH 45385‐4132
PATRICIA A MORROW        10521 ROSETON CT                                                                                  SAINT LOUIS         MO 63114‐1957
PATRICIA A MOTT          1090 CLOVIS AVE                                                                                   MOUNT MORRIS        MI 48458‐2504
PATRICIA A MOZAK‐BATES   5370 WARNER RD. NE RT#1                                                                           KINSMAN             OH 44428
PATRICIA A MULLER        2107 MEADOWDALE DR NW                                                                             GRAND RAPIDS        MI 49504‐1353
PATRICIA A NASH          1087 LORI ST                                                                                      YPSILANTI           MI 48198‐6267
PATRICIA A O'CONNOR      74430 ZIRCON CIRCLE E                                                                             PALM DESERT         CA 92260
PATRICIA A O'SULLIVAN    8421 WARBLER DRIVE                                                                                KALAMAZOO           MI 49009‐4549
PATRICIA A OBERDING      2101 HIGHLAND AVE                                                                                 NEW CASTLE          PA 16105
PATRICIA A OCONNOR       633 SOUTH C STREET                                                                                HAMILTON            OH 45013‐3328
PATRICIA A ODEN          3012 DODD ROAD                                                                                    GADSDEN             AL 35903‐4022
PATRICIA A OLDHAM        1230 BRENTWOOD DR                                                                                 DAYTON              OH 45406
PATRICIA A OLSZEWSKI     1384 S CUMMINGS RD                                                                                DAVISON             MI 48423‐9100
PATRICIA A OTTARSON      1113 LESLIE ST                                                                                    LANSING             MI 48912‐2509
PATRICIA A PALUMBO       135 LIND AVE                                                                                      SYRACUSE            NY 13211‐1820
PATRICIA A PARKER        2915 CARTER ST                                                                                    DETROIT             MI 48206‐2125
PATRICIA A PEEL          10600 CRONK RD                                                                                    LENNON              MI 48449‐9657
PATRICIA A PENDER        23913 ENTWHISTLE RD E.                                                                            BUCKLEY             WA 98321
PATRICIA A PENNYCUFF     635 SKYVIEW DRIVE                                                                                 DAYTON              OH 45449
PATRICIA A PETITTI       316 WAKEFIELD RUN BLVD                                                                            HINCKLEY            OH 44233‐9253
PATRICIA A PHILLIPS      196 FOX STREET                                                                                    HUBBARD             OH 44425
PATRICIA A PITTMAN       4408 MEADOWOAK DR                                                                                 MIDWEST CITY        OK 73110‐7019
PATRICIA A PIWOWAR       12844 BUFFALO RD                                                                                  SPRINGVILLE         NY 14141‐9663
PATRICIA A POSTON        10328 WELLMAN RD APT 81                                                                           HUDSON              OH 44236
PATRICIA A POWELL        6522 WOODHAVEN DR APT 5                                                                           WATERFORD           MI 48327‐4225
PATRICIA A POWERS        ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON           IL 62024
                                                        ANGELIDES & BARNERD LLC
PATRICIA A PUTNAM        RTE 19                                                                                            PAVILION           NY   14525
PATRICIA A RAHM          3605 UNIVERSITY DR                                                                                FAIRFAX            VA   22030
PATRICIA A REESE         3590 WILSON FARMS BLVD.                                                                           FRANKLIN           OH   45005
PATRICIA A RICHARDSON    16950 WATERLINE RD                                                                                BRADENTON          FL   34212
PATRICIA A RICKMAN       1812 WEAVER ST                                                                                    DAYTON             OH   45408
PATRICIA A ROBINSON      5574 ALLENDALE ST                                                                                 DETROIT            MI   48204‐3704
PATRICIA A ROBINSON      4 BAY HILL DR                                                                                     SAINT PETERS       MO   63366‐3609
PATRICIA A ROBINSON      920 GRANITE LN                                                                                    DESOTO             TX   75115‐5453
PATRICIA A ROTOLO        120 DEERHURST LANE APT.3                                                                          WEBSTER            NY   14580‐2738
PATRICIA A RUDNICK       3401 MAUMEE AVE                                                                                   DAYTON             OH   45414‐5169
PATRICIA A RUEGER        918 CHELSEA AVE                                                                                   DAYTON             OH   45420‐2725
PATRICIA A SANDERS       7712 LAKESIDE ROAD                                                                                ONTARIO            NY   14519
PATRICIA A SAUCEMAN      1549 MADELINE DR. S.E.                                                                            MASURY             OH   44438
PATRICIA A SCASSERRA     41 CALVERT AVE WEST                                                                               EDISON             NJ   08820‐3162
PATRICIA A SCHMIDT       1007 N MCLELLAN ST                                                                                BAY CITY           MI   48708‐6168
PATRICIA A SCHMIDT       2271 PALO DURO BLVD                                                                               NORTH FORT MYERS   FL   33917
PATRICIA A SCHNELL       8466 MURRAY RIDGE RD                                                                              ELYRIA             OH   44035‐4749
PATRICIA A SCHULTZ       123 MCGREGOR ST                                                                                   SAGINAW            MI   48602‐1219
PATRICIA A SCHUPBACK     1115 N LINCOLN ST APT 2                                                                           BAY CITY           MI   48708‐5122
PATRICIA A SCHUSTER      3105 S LOTZ RD                                                                                    CANTON             MI   48188
PATRICIA A SEVIGNY       PO BOX 69                                                                                         WAYLAND            MI   49348‐0069
PATRICIA A SHERMAN       570 S OGDEN ST OLD                                                                                BUFFALO            NY   14206
PATRICIA A SIAS          230 LIVINGSTON RD NE                                                                              BROOKHAVEN         MS   39601‐2251
PATRICIA A SINGER        900 S DOGWOOD DR                                                                                  BEREA              KY   40403
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Name                    Address1                      Address2             Address3                   Address4         City             State Zip
PATRICIA A SINGLETON    2327 WILKES RD                                                                                 LANCASTER         PA 17601‐3235
PATRICIA A SMITH        1330 W ALEXIS RD LOT 113                                                                       TOLEDO            OH 43612‐4266
PATRICIA A SMITH        10531 JACKSON ST                                                                               BELLEVILLE        MI 48111‐3466
PATRICIA A SMITH        2195 VIRGINIA PINE PLACE                                                                       LAS CRUCES        NM 88012‐6090
PATRICIA A SNOW         218 DAVENPORT AVE.                                                                             DAYTON            OH 45427
PATRICIA A STALLWORTH   PO BOX 2402                                                                                    DETROIT           MI 48202‐0402
PATRICIA A STEPHENS     PO BOX 320978                                                                                  FLINT             MI 48532‐0017
PATRICIA A STEPHENS     43915 MARNE CT                                                                                 CANTON            MI 48188‐1721
PATRICIA A STEWART      2405 DAVENPORT AVE                                                                             SAGINAW           MI 48602‐3838
PATRICIA A STEWART      3865 TIMBERLINE DR                                                                             BEAVERCREEK       OH 45432‐2056
PATRICIA A STIFFLER     938 WEINLAND ST                                                                                NEW CARLISLE      OH 45344‐2649
PATRICIA A TARPLEY      30210 WALNUT GROVE RD                                                                          LESTER            AL 35647‐3034
PATRICIA A TAYLOR       1034 DELRAY DR                                                                                 INDIANAPOLIS      IN 46241
PATRICIA A TAYLOR       PO BOX 10408                                                                                   CLEVELAND         OH 44110‐0408
PATRICIA A TERRY        1720 DEER CREEK DR STE 4                                                                       XENIA             OH 45385‐8060
PATRICIA A THAYER       216 S BRADLEYVILLE RD                                                                          REESE             MI 48757‐9569
PATRICIA A THOMAS       515 W GRAND AVE APT 6N                                                                         DAYTON            OH 45405‐4455
PATRICIA A THRELKELD    11616 KINGS COLONY                                                                             GRAND BLANC       MI 48439
PATRICIA A TIEDEMAN     282 NEW YORK BLVD             PO BOX 104                                                       EFFORT            PA 18330
PATRICIA A TILLMON      370 EASTON CIR                                                                                 BOWLING GREEN     KY 42101‐0753
PATRICIA A TODD         229 ORINOCO ST                                                                                 RIVERSIDE         OH 45431‐2071
PATRICIA A TOWNSEND     1755 PLEASANT VALLEY RD.                                                                       GIRARD            OH 44420‐1262
PATRICIA A TURNER       4558 GARDENDALE AVE                                                                            DAYTON            OH 45427‐3515
PATRICIA A TUTOKI       1686 SANDHURST RD.                                                                             COLUMBUS          OH 43229‐2643
PATRICIA A UDERITZ      6452 COUNTY ROAD 37                                                                            SPRINGWATER       NY 14560‐9505
PATRICIA A UHL          804 MILLER RD                                                                                  LAKE ORION        MI 48362‐3662
PATRICIA A UTTER        PATRICIA A UTTER TRUSTEE      UTTER LIVING TRUST   3467 LAKE VANESSA CIRCLE                    SALEM             OR 97304
                                                                           NW
PATRICIA A WALKER       5634 HOOVER AVE                                                                                DAYTON           OH   45427‐2278
PATRICIA A WARDYNSKI    2330 W 76 COUNTRY BLVD                                                                         BRANSON          MO   65616‐2160
PATRICIA A WATCHORN     5115 REBECCA ST.                                                                               FORT WAYNE       IN   46835‐1129
PATRICIA A WEIR         3649 NW 84TH TER                                                                               KANSAS CITY      MO   64154‐1141
PATRICIA A WHEELER      895 BRIDDLE WOOD ST                                                                            DAYTON           OH   45430‐1443
PATRICIA A WHRIGHTER    3613 ELDERBERRY AVE                                                                            DAYTON           OH   45416‐2102
PATRICIA A WILLIAMS     1126 AUDUBON                                                                                   GROSSE PTE PK    MI   48230‐1439
PATRICIA A WILLIAMS     294 SANFORD ST                                                                                 BOAZ             AL   35957‐1306
PATRICIA A WILLIAMS     1105 S WATERVIEW DR                                                                            INVERNESS        FL   34450‐3524
PATRICIA A WILLIAMS     340 PARKVIEW CT APT 201                                                                        AUBURN HILLS     MI   48326‐1187
PATRICIA A WILSON       8669 BAKER RD                                                                                  BLOOMFIELD       NY   14469
PATRICIA A WITT         60 HENDRIX ROAD               APARTMENT 122D                                                   WEST HENRIETTA   NY   14586‐9203
PATRICIA A WOOD         PO BOX 67176                                                                                   ROCHESTER        NY   14617
PATRICIA A WOOD         6812 W 11TH ST                                                                                 INDIANAPOLIS     IN   46214‐3540
PATRICIA A YANCEY       16387 CLARKSON DR                                                                              FRASER           MI   48026‐3598
PATRICIA A YOST         605 STATE ST                                                                                   SHILLINGTON      PA   19607
PATRICIA A. SMITH       1114 EAST LINCOLN HIGHWAY     SECOND FLOOR WEST                                                COATESVILLE      PA   19320
PATRICIA A. WERNER      539 TOWERING VISTA PLACE                                                                       HENDERSON        NV   89012
PATRICIA AAGUAYO        28217 MERRITT DR                                                                               WESTLAND         MI   48185‐1827
PATRICIA ABBOTT         3690 ANDERSON ANTHONY RD                                                                       LEAVITTSBURG     OH   44430‐9786
PATRICIA ABBOTT         1849 CALHOUN ST                                                                                INDIANAPOLIS     IN   46203‐2956
PATRICIA ABRAHAM        24101 CARLETON WEST RD                                                                         BELLEVILLE       MI   48111‐9638
PATRICIA ACKER          5275 MACKINAW RD                                                                               SAGINAW          MI   48603‐1223
PATRICIA ADAIR          30750 FLORENCE ST                                                                              GARDEN CITY      MI   48135
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Name                    Address1                          Address2                   Address3             Address4           City                 State Zip
PATRICIA ADAMS          5375 SUGARLOAF PKWY APT 5109                                                                         LAWRENCEVILLE         GA 30043‐5788
PATRICIA ADAMS          1026 CANTERBURY ST                                                                                   BIRMINGHAM            MI 48009‐3058
PATRICIA ADAMSON        6167 SUGARLOAF DR                                                                                    GRAND BLANC           MI 48439‐9159
PATRICIA ADKINS         12599 BELTON CT                                                                                      PLYMOUTH              MI 48170‐2872
PATRICIA ADLER          4013 ARNST WAY                                                                                       SPRING HILL           TN 37174‐9265
PATRICIA AFFELDT        3123 ROCK VALLEY RD                                                                                  METAMORA              MI 48455‐9322
PATRICIA AGAN           8 LA VILLA WAY                                                                                       FORT PIERCE           FL 34951‐2831
PATRICIA AGNEW          618 HEATHERWOOD CT                                                                                   NOBLESVILLE           IN 46062‐9175
PATRICIA AGNEW          502 LAUREL POINTE CIR                                                                                SALISBURY             NC 28147‐7123
PATRICIA AGUILERA       1219 PARK AVE # A                                                                                    FORT WAYNE            IN 46807‐1021
PATRICIA AKERS          14314 LONGTIN ST                                                                                     SOUTHGATE             MI 48195‐1956
PATRICIA ALCORN         12690 BAUMGARTNER RD                                                                                 SAINT CHARLES         MI 48655‐8630
PATRICIA ALCOTT         4386 OLD CARRIAGE RD                                                                                 FLINT                 MI 48507‐5648
PATRICIA ALDERMAN       3127 W 101ST ST                                                                                      CLEVELAND             OH 44111‐1837
PATRICIA ALDRICH        512 BEACH ST                                                                                         FENTON                MI 48430‐3122
PATRICIA ALEXANDER      7176 BLANKENSHIP CIR                                                                                 DAVISON               MI 48423‐2317
PATRICIA ALEXANDER      7759 DAWSON DR SE                                                                                    WARREN                OH 44484‐3007
PATRICIA ALEXANDER      7 CABOT LN                                                                                           GLOUCESTER            MA 01930‐1578
PATRICIA ALFORD         174 DOGWOOD DR                                                                                       HIGHLAND HEIGHTS      KY 41076‐3791
PATRICIA ALFRED         7044 LILLIAN AVE                                                                                     SAINT LOUIS           MO 63121‐3042
PATRICIA ALIFF          4885 WESTCHESTER DR APT 4                                                                            YOUNGSTOWN            OH 44515‐6519
PATRICIA ALLAN          PO BOX 13040                                                                                         MONROE                LA 71213‐3040
PATRICIA ALLEN          18103 THORNRIDGE DR                                                                                  GRAND BLANC           MI 48439‐9223
PATRICIA ALLEN          101 PICKETT RD                                                                                       COLUMBIA              TN 38401‐6608
PATRICIA ALLEN          18413 PELLETT DR                                                                                     FENTON                MI 48430‐8508
PATRICIA ALLEN          935 BAKERSFIELD CT                                                                                   MIAMISBURG            OH 45342‐4264
PATRICIA ALLEN          818 BROOKDALE DR                                                                                     W JEFFERSON           OH 43162‐1058
PATRICIA ALLEN          2502 HOGAN CIR                                                                                       FENTON                MI 48430‐3457
PATRICIA ALLEY          117 LLANGOLLEN BLVD                                                                                  NEW CASTLE            DE 19720‐4709
PATRICIA ALLI           5184 NASHUA DR                                                                                       YOUNGSTOWN            OH 44515‐5164
PATRICIA ALLISON        612 N WALDEMERE AVE                                                                                  MUNCIE                IN 47303‐4274
PATRICIA ALTENBURG      319 OLD BRIDGE RD                                                                                    GRAND BLANC           MI 48439‐1147
PATRICIA ALVAREZ        1001 CARRIERS DR                                                                                     LAREDO                TX 78045‐9471
PATRICIA AMEND          16599 CEDAR CIRCLE                                                                                   OMAHA                 NE 68130‐1641
PATRICIA ANDERSON       1402 LOMAS VERDES                                                                                    ROCHESTER HILLS       MI 48306‐3955
PATRICIA ANDERSON       2671 JUDAH RD                                                                                        ORION                 MI 48359‐2254
PATRICIA ANDERSON       2720 LOUISE AVE                                                                                      BALTIMORE             MD 21214‐1212
PATRICIA ANDERSON       1512 BELVEDERE DR                                                                                    KOKOMO                IN 46902‐5608
PATRICIA ANDERSON       14018 STAHELIN AVE                                                                                   DETROIT               MI 48223‐2985
PATRICIA ANDERSON       5373 HIGHWAY 17 S                                                                                    GREEN COVE SPRINGS    FL 32043‐8144
PATRICIA ANDRES         2273 SE GRAND DR                                                                                     PORT ST LUCIE         FL 34952‐6529
PATRICIA ANDREWS        4609 WIRE DR                                                                                         DAYTON                OH 45414‐4943
PATRICIA ANDREWS        5026 N S PINE RIVER RD                                                                               HESSEL                MI 49745
PATRICIA ANDRUSKEWICZ   27240 TORTOISE TRL                                                                                   BONITA SPRINGS        FL 34135‐5880
PATRICIA ANN BENJAMIN   347 MT HOPE BLVD                                                                                     HASTINGS ON HUDSON    NY 10706‐2606
PATRICIA ANN CAMPANA    ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON             IL 62024
                                                          ANGELIDES & BARNERD LLC
PATRICIA ANN CHAPMAN    P.O. BOX 283                                                                                         COTTAGEVILLE         WV   25239
PATRICIA ANN WILSON     31 TARRAGON WAY                                                                                      NEW LEBANON          OH   45345‐9402
PATRICIA ANN WILSON     510 HOMEWAY DR                                                                                       NEW LEBANON          OH   45345‐1653
PATRICIA ANTHONY        2844 PEEBLE CREEK COURT                                                                              CORTLAND             OH   44410
PATRICIA ANTILL         3122 SOLAR DR NW                                                                                     WARREN               OH   44485‐1612
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Name                            Address1                               Address2            Address3   Address4         City             State Zip
PATRICIA ANTROBUS               908 E ALTO RD                                                                          KOKOMO            IN 46902‐4315
PATRICIA ARANADA                1305 D STREET                                                                          FLORESVILLE       TX 78114‐2315
PATRICIA ARD                    1507 VINSON RAY RD                                                                     BAKER             FL 32531‐7903
PATRICIA ARENA                  21 BRIAR COURT                                                                         CROSS RIVER       NY 10518‐1308
PATRICIA ARMENTROUT             171 W PEARL ST                                                                         W JEFFERSON       OH 43162‐1168
PATRICIA ARMISTEAD              34 LOVE DR                                                                             STOCKBRIDGE       GA 30281
PATRICIA ARMSTRONG              50 HAYMARKET SQ                                                                        EAST AMHERST      NY 14051‐1702
PATRICIA ARNETT                 425 EVERGREEN DR                                                                       SPRINGBORO        OH 45066‐9766
PATRICIA ARNOLD                 PO BOX 695                                                                             ARLINGTON         TX 76004‐0695
PATRICIA ARNOLD                 2368 GREENWOOD RD                                                                      LAPEER            MI 48446
PATRICIA ARRICK                 533 E MAIN ST                                                                          GREENTOWN         IN 46936‐1304
PATRICIA ARROWOOD               2609 ALLENBY PL                                                                        W CARROLLTON      OH 45449‐3321
PATRICIA ARTIS                  4580 FOUNTAINHEAD DR                                                                   STONE MOUNTAIN    GA 30083‐5112
PATRICIA ASHLEY                 1221 TOPSIDE ROAD                                                                      LOUISVILLE        TN 37777‐5507
PATRICIA ATEN                   826 E 2ND ST                                                                           DEFIANCE          OH 43512‐2326
PATRICIA ATKINSON               12195 LAKEFRONT DR                                                                     HILLSBORO         OH 45133‐8352
PATRICIA AUCHTER ON BEHALF OF   C/O LAW OFFICES OF MICHAEL R BILBREY   8724 PIN OAK ROAD                               EDWARDSVILLE       IL 62025
LAWRENCE J MCTAGGART            PC
PATRICIA AUGILLARD              8711 BERINGER DRIVE                                                                    RICHMOND         TX   77469‐5243
PATRICIA AUGUSTINSKY            7035 DOWNS RD NW                                                                       WARREN           OH   44481‐9412
PATRICIA AUSTIN                 16 RANCH TRL W                                                                         WILLIAMSVILLE    NY   14221‐2213
PATRICIA AUSTIN                 1112 LAKEVIEW DR                                                                       LAKE ODESSA      MI   48849‐1297
PATRICIA AUSTIN                 800 UTOPIA PL                                                                          DAYTON           OH   45431‐2730
PATRICIA AUSTIN                 2702 BLVD RD APT F203                                                                  WILMINGTON       DE   19805
PATRICIA AVAKIAN                2915 CEDAR KEY DR                                                                      LAKE ORION       MI   48360‐1833
PATRICIA AVERY                  12750 RUTLAND ST                                                                       DETROIT          MI   48227‐1231
PATRICIA AVEY                   PO BOX 317083                                                                          DAYTON           OH   45437‐7083
PATRICIA AXDORFF                6545 ECHO DR NE                                                                        ROCKFORD         MI   49341‐9029
PATRICIA AXELROD                PATRICIA AXELROD (LISA)                8033 SUNSET #458                                LOS ANGELES      CA   90046
PATRICIA AYDELOTT               2740 KENNEDY AVE APT A                                                                 DAYTON           OH   45420‐3019
PATRICIA AYERS                  1516 BELLBROOK AVE                                                                     XENIA            OH   45385‐4022
PATRICIA AZELTON                9195 POTTER RD                                                                         FLUSHING         MI   48433‐1912
PATRICIA B BOYLE                2739 OAK FOREST DR                                                                     NILES            OH   44446‐4474
PATRICIA B BURKHART             9 FENNWOOD DR                                                                          CROMWELL         CT   06416
PATRICIA B CLINE                2065 SARATOGA ST SW                                                                    WARREN           OH   44485‐3961
PATRICIA B EDEN                 109 BONNER ST                                                                          DAYTON           OH   45410‐1305
PATRICIA B EUBANK               5026 ORMAND RD                                                                         DAYTON           OH   45449‐2749
PATRICIA B HAFFNER              5534 CALLAWAY CIR                                                                      YOUNGSTOWN       OH   44515‐4166
PATRICIA B HALL                 1045 SADDLECREEK PKWY                                                                  BIRMINGHAM       AL   35242
PATRICIA B HINTON               631 RAVINE DR                                                                          YOUNGSTOWN       OH   44505‐1607
PATRICIA B HITCHYE              1316 E GENESEE AVE                                                                     FLINT            MI   48505‐1736
PATRICIA B INTRIERI             204 ORCHARD RD                                                                         NEW CUMBERLAND   PA   17070
PATRICIA B LEE                  427 CARLOTTA DR                                                                        YOUNGSTOWN       OH   44504‐1319
PATRICIA B LIPKOVICH            160 KLEBER AVE                                                                         YOUNGSTOWN       OH   44515
PATRICIA B MARSCH               1965 INNWOOD                                                                           YOUNGSTOWN       OH   44515‐4841
PATRICIA B MCATEE               5401 GEORGE ST                                                                         FLINT            MI   48505‐1529
PATRICIA B MCDOWELL             122 DRESDEN AVE                                                                        PONTIAC          MI   48340‐2515
PATRICIA B NAYLOR               PO BOX 271                                                                             HORSE SHOE       NC   28742‐0271
PATRICIA B PICKENS              1094 WOODLAND PL                                                                       SHARON           PA   16146
PATRICIA B PRITCHARD            3281 A EAGLES LOFT                                                                     CORTLAND         OH   44410‐‐ 92
PATRICIA B REESE                4194 PAFFORD RD                                                                        DAYTON           OH   45405
PATRICIA B SCHREIBER            6864 BOGEY                                                                             FORT MYERS       FL   33919
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Name                 Address1                      Address2               Address3      Address4         City                State Zip
PATRICIA B WILSON    6837 NE CUBITIS AVE           LOT 2                                                 ARCADIA              FL 34266
PATRICIA B. HALL     1045 SADDLECREEK PKWY                                                               BIRMINGHAM           AL 35242‐6212
PATRICIA BABCOCK     606 MILL ST                                                                         ALMA                 MI 48801‐2249
PATRICIA BABLE       832 CAMERON AVE                                                                     YOUNGSTOWN           OH 44502‐2209
PATRICIA BADER       1190 SILO BEND DR                                                                   WENTZVILLE           MO 63385‐4347
PATRICIA BADGLEY     410 BRAVE CT                                                                        KOKOMO               IN 46902‐5410
PATRICIA BADLAM      PO BOX 50914                                                                        BOWLING GREEN        KY 42102‐4214
PATRICIA BADYNA      2151 PARK PLACE DR                                                                  WALLED LAKE          MI 48390‐2555
PATRICIA BAER        APT 9                         555 WEST MILL STREET                                  MIDDLETOWN           IN 47356‐9101
PATRICIA BAGWELL     3620 KNOX DR                                                                        DULUTH               GA 30096‐3216
PATRICIA BAILEY      1215 N OAK RD                                                                       DAVISON              MI 48423‐9157
PATRICIA BAILEY      530 PERKINSWOOD BLVD NE                                                             WARREN               OH 44483‐4408
PATRICIA BAILEY      3305 DOTY LN                                                                        ARLINGTON            TX 76001‐5335
PATRICIA BAILEY      1929 MOFFITT ST                                                                     LANSING              MI 48911‐3518
PATRICIA BAILEY      8729 QUAILRIDGE CT                                                                  MACEDONIA            OH 44056‐1772
PATRICIA BAILS       8464 SECOR RD                                                                       LAMBERTVILLE         MI 48144‐9791
PATRICIA BAIRD       1907 PATTON CT                                                                      FORT WORTH           TX 76110‐1249
PATRICIA BAKER       740 N LEGGETT CT                                                                    CINCINNATI           OH 45215‐1606
PATRICIA BAKER       7307 NORTHVIEW DR                                                                   BROOKFIELD           OH 44403‐9644
PATRICIA BAKER       9383 KINGS HOLLOW CT                                                                MENTOR               OH 44060‐7300
PATRICIA BAKER       125 E ELGIN CT                                                                      NEWARK               DE 19702‐4004
PATRICIA BAKER       5942 W NORTH DR                                                                     FRANKTON             IN 46044‐9486
PATRICIA BAKER       6171 LAKE DR                                                                        MECOSTA              MI 49332‐9653
PATRICIA BAKER       39054 FAIR OAKS DR                                                                  OAKHURST             CA 93644‐9304
PATRICIA BALDAUF     1612 W WINDEMERE AVE                                                                ROYAL OAK            MI 48073‐5221
PATRICIA BALDWIN     2736 IVY HILL CIR UNIT C                                                            CORTLAND             OH 44410‐9374
PATRICIA BALLARD     471 MOORE ST                                                                        FORSYTH              GA 31029‐3212
PATRICIA BALLMAN     3004 S HOYT AVE                                                                     MUNCIE               IN 47302‐3938
PATRICIA BALTIMORE   2831 OAK GLEN CT                                                                    GRAND PRAIRIE        TX 75052‐0401
PATRICIA BANIC       701 N AZALEA BLVD                                                                   BARBERTON            OH 44203‐4428
PATRICIA BANKO       449 TRACEY LN                                                                       GRAND ISLAND         NY 14072‐1987
PATRICIA BANKS       4061 WHITEGATE DR                                                                   DAYTON               OH 45430‐2114
PATRICIA BARBER      1329 BRISTOL‐CHAMP TWNLINE                                                          BRISTOLVILLE         OH 44402
PATRICIA BARBER      3499 W LYNDON AVE                                                                   FLINT                MI 48504‐6964
PATRICIA BARBER      710 HIATT ST                                                                        INDIANAPOLIS         IN 46221‐1140
PATRICIA BARBER      8639 TOWNSHIP ROAD 50                                                               MANSFIELD            OH 44904‐9615
PATRICIA BARBER      2463 COPE RD #31 MAPLE GR                                                           MARTINSVILLE         IN 46151
PATRICIA BARBERA     1018 BIRCHWOOD DR                                                                   FLUSHING             MI 48433‐1408
PATRICIA BARBOUR     3968 CRESTHAVEN DR                                                                  WATERFORD            MI 48328‐4018
PATRICIA BARFAY      2426 SODOM HUTCHINGS RD NE                                                          VIENNA               OH 44473‐9711
PATRICIA BARKER      3439 W 61ST ST                                                                      INDIANAPOLIS         IN 46228‐1010
PATRICIA BARLOW      4137 OAK AVE                                                                        BROOKFIELD            IL 60513‐2001
PATRICIA BARMAN      39500 WARREN RD TRLR 373                                                            CANTON               MI 48187‐4349
PATRICIA BARNARD     3357 FLINT DR                                                                       SHERIDAN             MI 48884‐9393
PATRICIA BARNES      421 FAIRMOUNT AVE NE                                                                WARREN               OH 44483‐5222
PATRICIA BARNES      5096 PERRYVILLE RD                                                                  HOLLY                MI 48442‐9408
PATRICIA BARNETT     PO BOX 142                                                                          PLYMOUTH             OH 44865‐0142
PATRICIA BARNETT     518 RIVERROCK CIRCLE                                                                ESTES PARK           CO 80517
PATRICIA BARNHARD    307 WINDING BRK                                                                     COMMERCE TOWNSHIP    MI 48390‐3982
PATRICIA BARNHART    775 MAPLE ST                                                                        GERMANTOWN           OH 45327
PATRICIA BARNHART    1006 PEQUENA DR                                                                     LAKE ISABELLA        MI 48893‐9375
PATRICIA BARON       1720 DEER CREEK DR STE 4                                                            XENIA                OH 45385‐8060
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Name                      Address1                      Address2              Address3       Address4         City            State Zip
PATRICIA BARRON           2601 TORRANCE AVE                                                                   FLINT            MI 48506‐3424
PATRICIA BARTH            4918 HELENA DR                                                                      ANDERSON         IN 46013‐2834
PATRICIA BARTO            1524 MARYLAND AVE                                                                   SPRINGFIELD       IL 62702
PATRICIA BASS             2040 SHAGBARK LN                                                                    OKEMOS           MI 48864
PATRICIA BATES            8303 E 189TH TER                                                                    BELTON           MO 64012‐9438
PATRICIA BATIE            5959 SUZANNE DR                                                                     TOLEDO           OH 43612‐4328
PATRICIA BATISTA          108 HOMESTEAD VLG APT 7                                                             FAIRHOPE         AL 36532‐2948
PATRICIA BATOR            1381 MAHONING,NW 301A APT.                                                          WARREN           OH 44483
PATRICIA BAUER            8900 WEST RD 400 N.                                                                 KOKOMO           IN 46901
PATRICIA BAUGESS          110 MILL RD                                                                         W JEFFERSON      OH 43162‐1524
PATRICIA BAUMAN           5742 ALICE DR                                                                       GLADWIN          MI 48624‐9016
PATRICIA BAUR             854 E MAIN ST                                                                       SEBEWAING        MI 48759‐1622
PATRICIA BAYLISS          347 VILLAGE ST                                                                      MILLIS           MA 02054‐1733
PATRICIA BAYUS            665 RIVERVIEW DR                                                                    LEAVITTSBURG     OH 44430‐9535
PATRICIA BEAL             6313 CECIL DR                                                                       FLINT            MI 48505‐2423
PATRICIA BEALE‐MBACKE     5302 DICKSON RD                                                                     INDIANAPOLIS     IN 46226‐2235
PATRICIA BEALL AND        ADRIENNE BEALL JTWROS         221 SW 43RD STREET                                    CAPE CORAL       FL 33914
PATRICIA BEAN             215 STRAND AVE                                                                      DAYTON           OH 45427‐2834
PATRICIA BEATEY           105 BENT TREE LN                                                                    OVILLA           TX 75154‐3317
PATRICIA BEATTIE          3238 ERIE DR                                                                        ORCHARD LAKE     MI 48324‐1514
PATRICIA BEAVERS          125 GILL LN                                                                         STOCKBRIDGE      GA 30281‐4866
PATRICIA BEDRONE          2105 PATRICIA DR                                                                    KETTERING        OH 45429‐4121
PATRICIA BEECH            PO BOX 2428 PMB 7766                                                                PENSACOLA        FL 32513‐2428
PATRICIA BEELER           2115 KERRI LYNN LN                                                                  KOKOMO           IN 46902‐7408
PATRICIA BEER             H76 BAYSHORE DR                                                                     SOUTH AMBOY      NJ 08879‐1851
PATRICIA BEGOVICH         232 ROSEMONT AVE                                                                    KENMORE          NY 14217‐1051
PATRICIA BEHMLANDER       402 MONROE AVE APT A                                                                MUSCLE SHOALS    AL 35661
PATRICIA BEILKE           634 IOLA AVE                                                                        ROMEOVILLE        IL 60446‐1217
PATRICIA BELCHER          1744 BEAR CORBITT RD                                                                BEAR             DE 19701‐1538
PATRICIA BELK             728 WAVELAND RD                                                                     JANESVILLE       WI 53548‐6714
PATRICIA BELL             283 N 500 E                                                                         ANDERSON         IN 46017‐9535
PATRICIA BELL             15075 LINCOLN ST APT 701      LINCOLN TOWERS                                        OAK PARK         MI 48237‐4121
PATRICIA BELL             3250 KAUNA POINT DR           TIKI VILLAGE                                          HOLIDAY          FL 34691‐3224
PATRICIA BELL             5420 MEADLARK LN                                                                    ANDERSON         IN 46011
PATRICIA BELL             676 EAST 131                                                                        CLEVELAND        HI 44108
PATRICIA BELL             676 E.131ST                                                                         CLEVELAND        OH 44108
PATRICIA BELLANT BREIER   41584 WILD TURKEY LN                                                                CANTON           MI 48188‐2079
PATRICIA BELLAVIA         43 WINDSOR RD                                                                       ROCHESTER        NY 14612‐4228
PATRICIA BELLI            42135 MAC RAE DR                                                                    STERLING HTS     MI 48313‐2565
PATRICIA BELLINGER        4466 RIVERVIEW RD                                                                   BREWERTON        NY 13029‐9754
PATRICIA BELLOMO          20879 LANCASTER ST                                                                  HARPER WOODS     MI 48225‐1611
PATRICIA BENEDETTO        PO BOX 144                                                                          N UXBRIDGE       MA 01538‐0144
PATRICIA BENGE            APT 5                         400 ILLINOIS STREET                                   GREENCASTLE      IN 46135‐2073
PATRICIA BENNETT          6423 BISHOP RD                                                                      LANSING          MI 48911‐6214
PATRICIA BENNETT          3621 KENT ST                                                                        FLINT            MI 48503‐4596
PATRICIA BENNETT          6581 BUCKINGHAM AVE                                                                 ALLEN PARK       MI 48101‐2331
PATRICIA BENNETTS         5424 MAURA DR                                                                       FLUSHING         MI 48433‐1058
PATRICIA BENSON           1102 MOUNTAIN MEADOWS DR                                                            KATY             TX 77450‐3170
PATRICIA BENTLEY          67 VERSAILLES CT                                                                    NEWARK           DE 19702‐5541
PATRICIA BERARDI          8676 COLEMAN RD                                                                     BARKER           NY 14012‐9681
PATRICIA BERARDI          25 GEORGE ST                                                                        CEDAR GROVE      NJ 07009‐1154
PATRICIA BERBERICH        1600 BRISTOL AVE                                                                    KANSAS CITY      MO 64126‐2718
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Name                   Address1                       Address2            Address3         Address4         City               State Zip
PATRICIA BERGSTROM     5850 BUFFHAM RD                                                                      SEVILLE             OH 44273‐9110
PATRICIA BERNARD       6018 AUGUSTA CT                                                                      GRAND BLANC         MI 48439‐9475
PATRICIA BERNECKER     3024 WILLARD RD                                                                      BIRCH RUN           MI 48415‐9404
PATRICIA BESSMAN       6615 STATE ROUTE 7                                                                   ANDOVER             OH 44003‐9550
PATRICIA BETHKE        105 PEPPERTREE CIR                                                                   NORTH EAST          MD 21901‐2117
PATRICIA BEUTEL        236 ROCHELLE PARK                                                                    TONAWANDA           NY 14150‐9326
PATRICIA BEVELHYMER    14134 COUNTRY ROAD R.                                                                NAPOLEON            OH 43545
PATRICIA BEZEK         16 CLIFF ST                                                                          TRENTON             NJ 08611‐3406
PATRICIA BIERINGER     311 MONTI DR                                                                         ANDERSON            SC 29625‐3146
PATRICIA BINDAS        PO BOX 2856                                                                          ASHTABULA           OH 44005‐2856
PATRICIA BINGAMAN      50078 NOTTAWA RD                                                                     MENDON              MI 49072‐9710
PATRICIA BINGLEY       3128 RHODA ST                                                                        FLINT               MI 48507‐4555
PATRICIA BINNINGER     415 BUCKEYE DR                                                                       ATTICA              OH 44807‐9491
PATRICIA BIRGE         7592 COWARD RD                                                                       BYRON               NY 14422‐9603
PATRICIA BISHOP        135 N MAIN ST                                                                        OSTRANDER           OH 43061‐9662
PATRICIA BISSELL       10062 STAINES RD                                                                     FENWICK             MI 48834‐9773
PATRICIA BITTERMAN     415 E BROAD ST                                                                       CHESANING           MI 48616‐1505
PATRICIA BLACKBURN     44546 APPLE BLOSSOM DR                                                               STERLING HEIGHTS    MI 48314‐1031
PATRICIA BLACKBURN     151 WILLARD AVE SE                                                                   WARREN              OH 44483‐6233
PATRICIA BLADE         1125 S WATER ST                                                                      BAY CITY            MI 48708‐7069
PATRICIA BLAIR         3115 N 15TH ST                                                                       ORANGE              TX 77630‐2403
PATRICIA BLAIR         645 AUSTIN CREEK DR                                                                  SUGAR HILL          GA 30518‐7211
PATRICIA BLANKENSHIP   930 INTERVALE CT                                                                     HIGHLAND            MI 48357‐2831
PATRICIA BLATT         7520 BROOKS RD                                                                       BROWN CITY          MI 48416‐9028
PATRICIA BLEDSOE       5205 LINDA LN                                                                        ANDERSON            IN 46011‐1421
PATRICIA BLEVINSNS     5012 STATE ROUTE 132                                                                 BATAVIA             OH 45103
PATRICIA BLODGETT      51 MAIN ST                                                                           KEANSBURG           NJ 07734‐1604
PATRICIA BLOHM         881 EDISON RD                                                                        SAGINAW             MI 48604‐1118
PATRICIA BLUME         149 W 500 S                                                                          MARION              IN 46953‐9319
PATRICIA BOBZIEN       287 PINE ST                                                                          LOCKPORT            NY 14094‐4928
PATRICIA BOCCHINO      421 SOUTH WINDS                                                                      TINTON FALLS        NJ 07753
PATRICIA BOCK          701 TANGLEWOOD LN                                                                    FRANKFORT            IL 60423‐1047
PATRICIA BODDIE        530 GRAMONT AVE                                                                      DAYTON              OH 45402‐5521
PATRICIA BOEHNKE       135 TUSCARORA ST APT 6                                                               LEWISTON            NY 14092‐1558
PATRICIA BOGNER        9581 WOODMONT DR                                                                     GRAND BLANC         MI 48439‐9570
PATRICIA BOGOSKI       8161 COLF RD                                                                         CARLETON            MI 48117‐9543
PATRICIA BOGUST        2054 S MARBLE ST                                                                     GILBERT             AZ 85295‐5585
PATRICIA BOHLEY        711 WHEAT FIELD LANE                                                                 WHITELAND           IN 46184‐9215
PATRICIA BOHN          8597 DUCK CREEK RD                                                                   BERLIN CENTER       OH 44401
PATRICIA BOHN          697G PORTAGE EASTERLY RD                                                             CORTLAND            OH 44410
PATRICIA BOLAND        4860 MOONEY RD                                                                       HOMESTEAD           PA 15120‐2972
PATRICIA BOLCHALK      8564 SQUIRES LN NE                                                                   WARREN              OH 44484‐1644
PATRICIA BOLDEN        12590 BAY SHORE DR                                                                   FLORISSANT          MO 63033‐5102
PATRICIA BOLEN         636 CRAWFORD ST                                                                      FLINT               MI 48507‐2459
PATRICIA BOLES         1970 CLOVERBROOK DR                                                                  MINERAL RIDGE       OH 44440‐9519
PATRICIA BOLLING       2335 REDMAN RD                                                                       BROCKPORT           NY 14420‐9634
PATRICIA BOONE         20710 BREEZEWOOD DR                                                                  HAGERSTOWN          MD 21742‐4401
PATRICIA BOOTH         RT 5 BOX 1757 B                                                                      EUFAULA             OK 74432
PATRICIA BORCH         175 TIERNEY RD                                                                       BAY CITY            MI 48708‐9194
PATRICIA BORCHERS      38 HOMER ST                                                                          VERSAILLES          OH 45380‐1513
PATRICIA BORONIEC      15808 ASTER AVE                                                                      ALLEN PARK          MI 48101‐1724
PATRICIA BORROW        7164 S GEECK RD                                                                      DURAND              MI 48429‐9102
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Name                       Address1                           Address2                       Address3   Address4         City           State Zip
PATRICIA BOSTIAN           1541 W RIDGEVIEW DR                                                                           LAPEER          MI 48446‐1473
PATRICIA BOSTIC            PO BOX 1684                                                                                   PARIS           TX 75461‐1684
PATRICIA BOUCK             146 BRISTOL CHAMPION TOWNLINE RD                                                              WARREN          OH 44481‐9457
                           NW
PATRICIA BOULTON           839 LAWRENCE HAZEL RD                                                                         LAWRENCE       MS   39336‐5674
PATRICIA BOURQUIN          9688 STATE ROUTE 368                                                                          HUNTSVILLE     OH   43324‐9639
PATRICIA BOUSHLEY          905 JACOBSEN RD #J                                                                            NEENAH         WI   54956‐1366
PATRICIA BOWDEN            12515 N ADRIAN HWY R2                                                                         CLINTON        MI   49236
PATRICIA BOWEN             2070 N DEXTER ST                                                                              FLINT          MI   48506‐3116
PATRICIA BOWER             825 WHISPERWOOD TRL                                                                           FENTON         MI   48430‐2200
PATRICIA BOWERS            13221/2LAUREL                                                                                 INDIANAPOLIS   IN   46203
PATRICIA BOWLER            820 CREEK RD                                                                                  BALTIMORE      MD   21221‐5806
PATRICIA BOWLING           8564 VERONA RD                                                                                LEWISBURG      OH   45338‐9729
PATRICIA BOX               PO BOX 107                                                                                    BROADLANDS     IL   61816‐0107
PATRICIA BOYD              48751 DENTON RD.                   BUILDING 2 APT 22                                          BELLEVILLE     MI   48111
PATRICIA BOYD              5707 DAPHNE LN                                                                                DAYTON         OH   45415‐2610
PATRICIA BOYD              P0 BOX 13134                                                                                  FLINT          MI   48501
PATRICIA BOYLE             2739 OAK FOREST DR                                                                            NILES          OH   44446‐4474
PATRICIA BRABON            507 E BROAD ST                                                                                LINDEN         MI   48451‐8914
PATRICIA BRACKETT          C/O COONEY AND CONWAY              120 NORTH LASALLE 30TH FLOOR                               CHICAGO        IL   60602
PATRICIA BRADBERRY         116 W ALEXANDER LN                                                                            EULESS         TX   76040‐4640
PATRICIA BRADLEY           2290 MARWOOD DR                                                                               WATERFORD      MI   48328‐1631
PATRICIA BRAGG             1600 SPRUCE STREET                                                                            SAGINAW        MI   48601‐2855
PATRICIA BRAGG             426 N SUNSET DR                                                                               PIQUA          OH   45356‐4434
PATRICIA BRANCH            5812 ERICSSON WAY                                                                             TROTWOOD       OH   45426‐1692
PATRICIA BRANDON           8308 NORTHLAWN ST                                                                             DETROIT        MI   48204‐3287
PATRICIA BRANDON‐BUCKNER   1190 E YORK AVE                                                                               FLINT          MI   48505‐2333
PATRICIA BRANT             3610 E 4TH ST                                                                                 DAYTON         OH   45403‐2830
PATRICIA BRASWELL          24333 DONALD CT                                                                               REDFORD        MI   48239‐3345
PATRICIA BRAUN             3453 LOVEJOY RD                                                                               BYRON          MI   48418‐9620
PATRICIA BRAUN             BOX 275 11038 W. FOURTH                                                                       FOWLER         MI   48835
PATRICIA BRAWDY            161 SUNNY DR                                                                                  PITTSBURGH     PA   15236‐2654
PATRICIA BRAY              46264 LITCHFIELD DR                                                                           PLYMOUTH       MI   48170‐3547
PATRICIA BRAZEAL           3370 HOMEWOOD DRIVE                                                                           BRIDGEPORT     MI   48722‐9526
PATRICIA BRECKENRIDGE      8397 CAPPY LN                                                                                 SWARTZ CREEK   MI   48473‐1255
PATRICIA BREWBAKER         2183 BIG CYPRESS BLVD                                                                         LAKELAND       FL   33810‐2309
PATRICIA BREWER            3307 ZARTMAN RD                                                                               KOKOMO         IN   46902‐6810
PATRICIA BREWER            336 FAIRFIELD AVE                                                                             HOLLY          MI   48442‐1255
PATRICIA BREWER            3942 HIGHWAY 79                                                                               O FALLON       MO   63366‐5233
PATRICIA BREWER            1800 E LYNCHBURG CT N                                                                         INDEPENDENCE   MO   64058‐1415
PATRICIA BRIDGES           220 WELCOME WAY BLVD W APT 201A                                                               INDIANAPOLIS   IN   46214‐2956
PATRICIA BRIEN             15847 BROCKVILLE RD                                                                           ALBION         NY   14411‐9737
PATRICIA BRIGGS            11764 DUCHESS ST                                                                              DETROIT        MI   48224‐1549
PATRICIA BRIGHAM           2621 CREEKWOOD LN                                                                             FORT WORTH     TX   76123‐1102
PATRICIA BRIGHT            APT 1022                           980 WILMINGTON AVENUE                                      DAYTON         OH   45420‐1625
PATRICIA BRIGHTBILL        606 S WILLIAMS ST APT 1009                                                                    ROYAL OAK      MI   48067
PATRICIA BRISSELL          4633 PARK AVE W RT12                                                                          ONTARIO        OH   44903
PATRICIA BRITTON           3576 HADLEY RD                                                                                HADLEY         MI   48440
PATRICIA BRIZENDINE        1301 SCARLETT DR                                                                              ANDERSON       IN   46013‐2859
PATRICIA BROCKINGTON       1114 STAGHORN DR                                                                              N BRUNSWICK    NJ   08902‐1047
PATRICIA BRODEUR           3 PATRICIA AVE                                                                                N SMITHFIELD   RI   02896‐7722
PATRICIA BRODNAX           11345 GRAND OAK DR                                                                            GRAND BLANC    MI   48439‐1280
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Name                                Address1                         Address2                     Address3              Address4         City               State Zip
PATRICIA BROOKER                    400 ELLIOTT CT                                                                                       KOKOMO              IN 46901‐5248
PATRICIA BROOKS                     9070 SOUTH COUNTY RD 1100 W                                                                          LOSANTVILLE         IN 47354
PATRICIA BROOME                     483 BROAD MEADOW BLVD                                                                                OXFORD              MI 48371‐4123
PATRICIA BROUGHTON                  4633 WILCOX RD                                                                                       HOLT                MI 48842‐1649
PATRICIA BROWN                      2424 BONNY LN                                                                                        HERMITAGE           PA 16148‐6008
PATRICIA BROWN                      858 W PRATT ST                                                                                       BALTIMORE           MD 21201‐1049
PATRICIA BROWN                      1024 NIAGARA AVE                                                                                     NIAGARA FALLS       NY 14305‐2640
PATRICIA BROWN                      30276 KIMBERLY CT                                                                                    FARMINGTON HILLS    MI 48336‐5538
PATRICIA BROWN                      PO BOX 183                                                                                           WINDFALL            IN 46076‐0183
PATRICIA BROWN                      4122 ABEND ST                                                                                        NORTH PORT          FL 34286‐2634
PATRICIA BROWN                      2814 WIMBELDOW CT.                                                                                   GARLAND             TX 75041
PATRICIA BROWN                      2411 PULASKI HWY APT T169                                                                            COLUMBIA            TN 38401‐0501
PATRICIA BROWN                      16219 OAKTREE LN                                                                                     ROMULUS             MI 48174‐3015
PATRICIA BROWN                      6740 WEST 52ND PL APT 1 A                                                                            MISSION             KS 66202
PATRICIA BROWN                      8273 HUBBELL ST                                                                                      DETROIT             MI 48228‐2413
PATRICIA BROWN                      PO BOX 202905                                                                                        ARLINGTON           TX 76006‐8905
PATRICIA BROWN                      438 UMATILLA TRL                                                                                     FORT MYERS BEACH    FL 33931‐4849
PATRICIA BROWN PERSONAL             PATRICIA BROWN                   C/O BRAYTON PURCELL          222 RUSH LANDING RD                    NOVATO              CA 94948‐6169
REPRESENTATIVE FOR EMMETT M BROWN
SR
PATRICIA BROWNING                   4730 TENSHAW DRIVE                                                                                   DAYTON             OH   45418
PATRICIA BRUCE                      1252 EPWORTH AVE                                                                                     DAYTON             OH   45410‐2614
PATRICIA BRUMAN                     4207 SLATTERY RD                                                                                     NORTH BRANCH       MI   48461‐8941
PATRICIA BRUMBAUGH                  8588 HORSESHOE BEND RD                                                                               LUDLOW FALLS       OH   45339‐8717
PATRICIA BRUNETT                    155 FRAYNE DR                                                                                        NEW CARLISLE       OH   45344‐2908
PATRICIA BRUNNER                    806 SPRING PINES DR SW                                                                               WARREN             OH   44481‐9684
PATRICIA BRUSKAY                    9700 W. JOLIET RD. 3 WILLOW CT                                                                       COUNTRYSIDE        IL   60525
PATRICIA BRUZEWSKI                  1383 PARISH RD                                                                                       KAWKAWLIN          MI   48631‐9434
PATRICIA BRYANT                     1150 CODY LN                                                                                         SODDY DAISY        TN   37379‐9116
PATRICIA BRYANT                     1919 TRILLIUM BEND DRIVE                                                                             GALLOWAY           OH   43119‐8486
PATRICIA BRYANT                     1933 WHITTLESEY ST                                                                                   FLINT              MI   48503‐4346
PATRICIA BUCHLER                    73383 FULTON ST APT 21                                                                               ARMADA             MI   48005‐4657
PATRICIA BUCK                       2801 CATALINA DR                                                                                     ANDERSON           IN   46012‐4707
PATRICIA BUCKALLEW                  PO BOX 566384                                                                                        ATLANTA            GA   31156‐6384
PATRICIA BUDDE                      142 POKUKALA ST                                                                                      KAPAA              HI   96746‐9550
PATRICIA BUEHNER                    2540 ACORN DR                                                                                        KETTERING          OH   45419‐2331
PATRICIA BUFORD                     6421 VERDUN ST                                                                                       MOUNT MORRIS       MI   48458‐2320
PATRICIA BULICK                     990 CHERRY WAY                                                                                       SHARON             PA   16146‐2427
PATRICIA BULLOCK                    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.        OH   44236
PATRICIA BUNCH                      9 HEATHERTON CT                                                                                      BALTIMORE          MD   21244‐8047
PATRICIA BUNIACK                    1517 S HURDS CORNER RD                                                                               CARO               MI   48723‐9458
PATRICIA BUNKOSKE                   2206 N GREEN BAY RD                                                                                  GRAFTON            WI   53024‐9641
PATRICIA BUNN                       1552 CRESTWOOD RD                                                                                    TOLEDO             OH   43612‐2718
PATRICIA BUNTING                    6556 N TAMARIND AVE                                                                                  HERNANDO           FL   34442‐2280
PATRICIA BURDGICK                   3085 N GENESEE RD                APT 318                                                             FLINT              MI   48506‐2194
PATRICIA BURGESS                    5395 STEWARTSVILLE RD                                                                                WILLIAMSTOWN       KY   41097‐3156
PATRICIA BURKARD                    78 CATHEDRAL LN                                                                                      CHEEKTOWAGA        NY   14225‐4612
PATRICIA BURKE                      1435 WINDWARD WAY                                                                                    NILES              OH   44446‐3546
PATRICIA BURKOWSKI                  7676 CAINE RD                                                                                        MILLINGTON         MI   48746‐9424
PATRICIA BURNETT                    655 SCHOOL HOUSE HILL RD                                                                             UNION              MO   63084‐3879
PATRICIA BURNETTE                   5452 BENTLEY LAKE RD                                                                                 HOWELL             MI   48843‐8922
PATRICIA BURNS                      1494 SABRA RD                                                                                        TOLEDO             OH   43612‐2153
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Name                          Address1                      Address2            Address3         Address4         City            State Zip
PATRICIA BURTON               11459 E PERE MARQUETTE RD                                                           COLEMAN          MI 48618‐9671
PATRICIA BURTON               PO BOX 4183                                                                         FLINT            MI 48504‐0183
PATRICIA BURTON               10801 231ST ST                                                                      BLANCHARD        OK 73010‐9704
PATRICIA BURZYNSKI            4046 PARRAKEET AVE                                                                  TOLEDO           OH 43612‐1623
PATRICIA BUSCH                30109 BARJODE RD                                                                    WILLOWICK        OH 44095‐4944
PATRICIA BUSH                 24 GROVELAND RD APT 3F                                                              GENESEO          NY 14454‐1328
PATRICIA BUSH                 4950 RISHER RD                                                                      LEAVITTSBURG     OH 44430‐9728
PATRICIA BUSHEY               3085 WEST 10TH DRIVE                                                                GRAND MARSH      WI 53936‐9549
PATRICIA BUSHEY               W422 MOCCASIN TR                                                                    MONTELLO         WI 53949
PATRICIA BUSSELL              2007 GREEN ROCK LN                                                                  INDIANAPOLIS     IN 46203‐4916
PATRICIA BUTARA               2692 HATTON RD                                                                      AUBURN HILLS     MI 48326‐1911
PATRICIA BUTCHER              98 WELLINGTON RD                                                                    BUFFALO          NY 14216‐2809
PATRICIA BUTLER               637 PRINCETON AVE                                                                   ELYRIA           OH 44035‐6525
PATRICIA BUTLER               953 HOMEWOOD AVE SE                                                                 WARREN           OH 44484‐4908
PATRICIA BUTLER               5757 LENOX ST                                                                       DETROIT          MI 48213‐3565
PATRICIA BUTLER               4640 WOODLAKE DR                                                                    DAYTON           OH 45406‐3351
PATRICIA BUTLER               13250 HILL HWY                                                                      MANITOU BEACH    MI 49253‐9731
PATRICIA BUVIA                PO BOX 335                                                                          CEMENT CITY      MI 49233‐0335
PATRICIA BUZA                 1460 NEIPSIC RD                                                                     GLASTONBURY      CT 06033‐3415
PATRICIA BYARS                521 E SHARON RD                                                                     CINCINNATI       OH 45246‐4726
PATRICIA BYOMIN               12910 SCHREIBER RD                                                                  VALLEY VIEW      OH 44125‐5432
PATRICIA BYRD                 7719 HICKORY RD                                                                     BROWNSBURG       IN 46112‐8583
PATRICIA C & JOHNNY L MCCOY   C/O JOHNNY L MCCOY            5324 TIGERS TAIL                                      LEESBURG         FL 34748
PATRICIA C ABRAHAM            24101 CARLETON WEST RD                                                              BELLEVILLE       MI 48111‐9638
PATRICIA C COSSIN             141 DIANA LN W                                                                      FAIRBORN         OH 45324
PATRICIA C COSTANZA           705 MANSELL DR.                                                                     YOUNGSTOWN       OH 44505‐2236
PATRICIA C HAYNE              1464 HILLCREST DRIVE          APT 12                                                NILES            OH 44446
PATRICIA C HUGLEY             945 HEMLOCK AVE SW                                                                  WARREN           OH 44485
PATRICIA C KOCOL              42 TRUMPET DRIVE                                                                    W CARROLLTON     OH 45449‐2264
PATRICIA C LAIRD              42836 FANCHON AVE                                                                   LANCASTER        CA 93536‐1160
PATRICIA C LOFTON             1293 ROLLING HILLS AVE NE                                                           BROOKHAVEN       MS 39601
PATRICIA C MCCOY              5324 TIGERS TAIL                                                                    LEESBURG         FL 34748
PATRICIA C MILLER             2234 ELM ST.                                                                        YOUNGSTOWN       OH 44505‐2512
PATRICIA C MOLLICA            260 AVALON DR SE                                                                    WARREN           OH 44484
PATRICIA C NAPIER             P.O.BOX 1599                                                                        MAGGIE VALLEY    NC 28751‐‐ 15
PATRICIA C PARK               5940 NE ARROWHEAD DR                                                                KENMORE          WA 98028‐5806
PATRICIA C PRUETT             26650 PLAYERS CIR APT 6                                                             LUTZ             FL 33559‐8534
PATRICIA C SUGGS              901 PALLISTER ST APT 311                                                            DETROIT          MI 48202‐2679
PATRICIA C URICK              35815 BAL CLAIR ST                                                                  NEW BALTIMORE    MI 48047‐2457
PATRICIA C WEINGART‐DIAZ      2958 SADDLEWOOD DRIVE                                                               BONITA           CA 91902
PATRICIA CABUZ                2136 BEECHWOOD N E                                                                  WARREN           OH 44483‐4206
PATRICIA CAIN                 7415 KINGSBRIDGE RD                                                                 CANTON           MI 48187‐2411
PATRICIA CALDERONI            130 EDGEWOOD CIR                                                                    SOUTHINGTON      CT 06489‐2166
PATRICIA CALL                 1421 E ELZA AVE                                                                     HAZEL PARK       MI 48030‐2329
PATRICIA CALLIEA              46101 TALLY HO DR                                                                   MACOMB           MI 48044‐4630
PATRICIA CALZIA               2677 ARABIAN AVE                                                                    BRIGHTON         CO 80603‐6250
PATRICIA CAMPBELL             431 UPTON AVE                                                                       BATTLE CREEK     MI 49037‐8382
PATRICIA CAMPBELL             4123 SW 18TH AVE                                                                    CAPE CORAL       FL 33914‐5544
PATRICIA CAMPBELL             629 WINTERS EAVE                                                                    FLUSHING         MI 48433‐1946
PATRICIA CAMPBELL             5124 HOGG RIDGE RD                                                                  WILLIAMSTOWN     KY 41097‐9161
PATRICIA CAMPBELL             5313 KIMBERLY DR                                                                    GRAND BLANC      MI 48439‐5163
PATRICIA CAMPBELL             5151 HOAGLAND BLACKSTUB RD                                                          CORTLAND         OH 44410‐9519
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Name                   Address1                       Address2            Address3           Address4         City           State Zip
PATRICIA CAMPBELL      19497 BIRWOOD ST                                                                       DETROIT         MI 48221‐1435
PATRICIA CAMPBELL N    860 ALASKA WAY                                                                         PAHRUMP         NV 89060
PATRICIA CARDENAS      433 E MAIN ST                                                                          IONIA           MI 48846‐2601
PATRICIA CARION        54 BOLD RULER TRL                                                                      CORBIN          KY 40701‐8558
PATRICIA CARLAND       1771 CHAUCER AVE                                                                       MADISON HTS     MI 48071‐2048
PATRICIA CARLTON       5440 LAWNWOOD DR                                                                       BRIGHTON        MI 48114‐9085
PATRICIA CARNEY        790 S MAIN ST                                                                          MARTINSVILLE    IN 46151‐2431
PATRICIA CARPENTER     2570 JANCO AVE                                                                         MORAINE         OH 45439‐2838
PATRICIA CARR          800 EMERSON ST                                                                         KENNETT         MO 63857‐1727
PATRICIA CARR          12 SOTH ASH ALLAN                                                                      MORGANTOWN      KY 42261
PATRICIA CARREKER      7390 DEER FOREST CT                                                                    CLARKSTON       MI 48348‐2731
PATRICIA CARSON        710 N WATER ST                                                                         BUTLER          MO 64730‐1150
PATRICIA CARTER        PO BOX 16                                                                              LISMAN          AL 36912‐0016
PATRICIA CARTER        1306 KELLY GREEN CT                                                                    KELLER          TX 76248‐2017
PATRICIA CARTER        125 TIMBERBROOK DR                                                                     SAINT PETERS    MO 63376‐1248
PATRICIA CARTER        3903 ALMARA CT                                                                         FLORISSANT      MO 63034‐3424
PATRICIA CARTER        ACCT OF MICHAEL CARTER         3 PALOMINO CT       INDEX NO. 830/92                    SPOTSYLVANIA    VA 22551‐8822
PATRICIA CARTER        23771 PARK ISLAND TRL                                                                  ATLANTA         MI 49709
PATRICIA CASERTA       4266 CROWNWOOD AVE                                                                     DAYTON          OH 45415‐1402
PATRICIA CASEY         1305 WEBSTER ST                                                                        BAY CITY        MI 48708‐8357
PATRICIA CASEY         1749 COTTONWOOD LN                                                                     NEWCASTLE       OK 73065‐5756
PATRICIA CASHDOLLAR    200 GRANDVIEW BLVD APT 4                                                               GAYLORD         MI 49735‐2034
PATRICIA CASHION       W8734 TERRITORIAL RD                                                                   WHITEWATER      WI 53190‐4129
PATRICIA CASON         700 4TH ST SW                                                                          CHILDERSBURG    AL 35044‐1620
PATRICIA CASTILLO      7154 MOHAWK TRAIL RD                                                                   DAYTON          OH 45459‐1374
PATRICIA CASTNER       PO BOX 32                                                                              WINDFALL        IN 46076‐0032
PATRICIA CATES         2901 S 200 W                                                                           TIPTON          IN 46072‐9231
PATRICIA CAUDILL       114 CROWE SPRINGS RD NW                                                                CARTERSVILLE    GA 30121‐4527
PATRICIA CAVAGNARO     70 RANSOM ST                                                                           LOCKPORT        NY 14094‐4808
PATRICIA CAWLEY        12462 ISLAND RD                                                                        GRAFTON         OH 44044‐9561
PATRICIA CEBULAK       7059 TAMARACK DR                                                                       HUBBARD         OH 44425‐3053
PATRICIA CHAMBERLIN    4214 CARDINAL DR                                                                       INDIANAPOLIS    IN 46237‐2850
PATRICIA CHAMBERS      PO BOX 967                                                                             MARIETTA        GA 30061‐0967
PATRICIA CHAPIN        563 SMITHFIELD PL                                                                      THE VILLAGES    FL 32162‐3316
PATRICIA CHAPMAN       1153 OUTRIGGER CIRCLE                                                                  BRENTWOOD       CA 94513
PATRICIA CHARLES       172 MARY BALLARD RD                                                                    MONROE          LA 71202‐8569
PATRICIA CHARTRAND     3625 E STERNBERG RD                                                                    FRUITPORT       MI 49415‐9763
PATRICIA CHARYAK       10 BIRCH RUN CT                                                                        EWING           NJ 08628‐2023
PATRICIA CHATMAN       PO BOX 426                                                                             GRAND BLANC     MI 48480‐0426
PATRICIA CHEATHEM      PO BOX 5298                                                                            MANSFIELD       OH 44901‐5298
PATRICIA CHERNOW       17538 DORIS ST                                                                         LIVONIA         MI 48152‐4505
PATRICIA CHILDS        2801 LYNNWOOD AVE                                                                      SAGINAW         MI 48601‐7446
PATRICIA CHITWOOD      7228 HUPP AVE                                                                          WARREN          MI 48091‐4919
PATRICIA CHLUDZINSKI   6736 PRESCOTT DR                                                                       DERBY           NY 14047‐9524
PATRICIA CHRISTENSEN   11014 ELLIS RD                                                                         BELDING         MI 48809‐9410
PATRICIA CHRISTIAN     3735 SHADELAND CT                                                                      MARION          IN 46952‐9633
PATRICIA CHRISTIAN     4145 LOVETT ST                                                                         DETROIT         MI 48210‐2686
PATRICIA CHRISTIE      420 S BIRNEY ST                                                                        BAY CITY        MI 48708‐7582
PATRICIA CHROPOWICKI   2296 STREET DEVILLE NE                                                                 ATLANTA         GA 30345‐3449
PATRICIA CHULSKI       1629 RICHMOND ST NW                                                                    GRAND RAPIDS    MI 49504‐2603
PATRICIA CHUNYO        8930 RT 46                                                                             ORWELL          OH 44076
PATRICIA CHURCH        10241 N CROSWELL RD                                                                    SAINT LOUIS     MI 48880‐9417
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Name                     Address1                               Address2                   Address3   Address4         City            State Zip
PATRICIA CIEPLY          13028 FISH LAKE RD                                                                            HOLLY            MI 48442‐8322
PATRICIA CIRINO          11024 OLMAR DR                                                                                CHARDON          OH 44024‐9706
PATRICIA CLAMPITT        649 NW 1ST ST                                                                                 MOORE            OK 73160‐3925
PATRICIA CLANTON         1440 SHEARIN RD                                                                               WHITAKERS        NC 27891‐9579
PATRICIA CLAPPER         8334 STATE ROUTE 314 # 9                                                                      MANSFIELD        OH 44904
PATRICIA CLARE           35 JUNIPER RD                                                                                 ELDON            MO 65026‐5140
PATRICIA CLARK           167 BETTERIDGE RD                                                                             CHURCHVILLE      NY 14428‐9560
PATRICIA CLARK           501 US HIGHWAY 131 N LOT 78            COLONIAL ESTATES                                       WHITE PIGEON     MI 49099‐9164
PATRICIA CLARK           9525 RIVER RD                                                                                 GREENVILLE       MI 48838‐8759
PATRICIA CLARK           2710 PRESIDENT LN                                                                             KOKOMO           IN 46902‐3025
PATRICIA CLARK           11891 SOUTH AVE APT A                                                                         NORTH LIMA       OH 44452‐8558
PATRICIA CLARK           1600 SQUAW CREEK DR                                                                           GIRARD           OH 44420‐3636
PATRICIA CLARK
PATRICIA CLAYTON         2970 PARMA DR                                                                                 DELTONA         FL   32738‐1031
PATRICIA CLELAND         5897 EAST LAKE DRIVE                                                                          HASLETT         MI   48840
PATRICIA CLERI           393 OHIO ST                                                                                   LOCKPORT        NY   14094‐4219
PATRICIA CLEVENGER       681 WATSON BRANCH DR                                                                          FRANKLIN        TN   37064‐5133
PATRICIA CLINE           2065 SARATOGA AVE SW                                                                          WARREN          OH   44485‐3961
PATRICIA CLINE           2343 OLD POLK CITY RD                                                                         LAKELAND        FL   33809
PATRICIA CLOUSE          1466 HIDDEN CREEK CIRCLE DR NE APT B                                                          GRAND RAPIDS    MI   49505‐5474

PATRICIA CLOUSE          PO BOX 67                                                                                     DOVER           MO   64022‐0067
PATRICIA CLYMER          4421 LANE RD                                                                                  ZEPHYR HILLS    FL   33541
PATRICIA COATES          525 BERBEN AVE, BOX A58                                                                       JERSEY CITY     NJ   07304
PATRICIA COATS JESSAMY   BALTIMORE CITY STATE'S ATTORNEY'S      110 NORTH CALVERT STREET                               BALTIMORE       MD   21202
                         OFFICE
PATRICIA COCHENOUR       688 RED OAK WAY                                                                               MOORESVILLE     IN   46158‐2725
PATRICIA COCHRAN         2282 HYDE RD                                                                                  GROVE CITY      OH   43123‐1467
PATRICIA COFFMAN         107 NITRAM ST                                                                                 JACKSONVILLE    FL   32211‐7628
PATRICIA COHOL           3796 INDIAN RUN DR APT 12                                                                     CANFIELD        OH   44406‐9551
PATRICIA COLE            1032 ARIEBILL ST SW                                                                           WYOMING         MI   49509‐3922
PATRICIA COLE            3181 S STATE RD                                                                               DAVISON         MI   48423‐8705
PATRICIA COLE            PO BOX 194                                                                                    MERIDIAN        TX   76665‐0194
PATRICIA COLE            5960 9TH AVE S                                                                                ST PETERSBURG   FL   33707‐2405
PATRICIA COLE            1475 RENEE DR                                                                                 PLAINFIELD      IN   46168‐9296
PATRICIA COLEMAN         497 GRIDER ST                                                                                 BUFFALO         NY   14215‐3022
PATRICIA COLEMAN         1244 DARDANELLE DR                                                                            JACKSON         MS   39204‐4549
PATRICIA COLEMAN         362 S GREENSBORO PIKE                                                                         NEW CASTLE      IN   47362‐8914
PATRICIA COLEMAN         PO BOX 2813                                                                                   ANDERSON        IN   46018‐2813
PATRICIA COLES           133 AVERY PL                                                                                  CHEEKTOWAGA     NY   14225‐3966
PATRICIA COLLIER         2180 TOWNSHIP ROAD 165                                                                        CARDINGTON      OH   43315‐9708
PATRICIA COLLINS         52 GREENSIDE DR                                                                               GRAND ISLAND    NY   14072‐3330
PATRICIA COLLINS         1805 BRIARWOOD DR                                                                             FLINT           MI   48507‐1435
PATRICIA COLLINS         3268 HIGHWAY 64 E                                                                             WYNNE           AR   72396‐8098
PATRICIA COLLINS         6480 PEYTONSVILLE ARNO RD                                                                     COLLEGE GROVE   TN   37046‐9133
PATRICIA COLONNA         20 HUGHES RD                                                                                  HUBBARD         OH   44425‐2635
PATRICIA COLSTON         5890 MIDDLEBROOK BLVD                                                                         BROOK PARK      OH   44142‐2661
PATRICIA COLVARD         17516 FAIRFIELD ST                                                                            DETROIT         MI   48221
PATRICIA COMBINE         PO BOX 678                                                                                    VIENNA          OH   44473‐0678
PATRICIA COMBS           1517 EVERGREEN DR                                                                             JANESVILLE      WI   53546‐6175
PATRICIA COMPTON         8240 BEATRICE                                                                                 WESTLAND        MI   48185‐1870
PATRICIA CONARD          229 MCARTHUR RIVER DR                                                                         EATON RAPIDS    MI   48827‐1533
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Name                    Address1                          Address2                     Address3                 Address4         City               State Zip
PATRICIA CONAWAY        2180 HAWKINS RD                                                                                          CHATHAM             VA 24531‐3530
PATRICIA CONLEY         1457 FLAMINGO DR                                                                                         MOUNT MORRIS        MI 48458‐2723
PATRICIA CONN           3684 YELLOWSTONE DR                                                                                      CINCINNATI          OH 45251‐1424
PATRICIA COOK           1810 CEDAR CREEK LOOP                                                                                    SALLISAW            OK 74955‐6900
PATRICIA COOK           805 BOSTON DR                                                                                            KOKOMO              IN 46902‐6903
PATRICIA COOK           105 TETER DR                                                                                             TIPTON              IN 46072‐9004
PATRICIA COOK           3374 W 900 N                                                                                             ALEXANDRIA          IN 46001‐8425
PATRICIA COOK           BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.         OH 44236
PATRICIA COOLEY         2718 MANSFIELD AVENUE                                                                                    FLINT               MI 48503‐2320
PATRICIA COOLICH        3424 EASTMAN DR                                                                                          FLUSHING            MI 48433‐2473
PATRICIA COOPER         2950 E SWEDE RD                                                                                          SPRUCE              MI 48762‐9718
PATRICIA COPELAND       1431 WIMBLEDON CIR                                                                                       STOW                OH 44224‐2449
PATRICIA COPEN          5990 YOUNGSTOWN HUBBARD RD                                                                               HUBBARD             OH 44425‐2562
PATRICIA COPUS          555 MOHAWK RD                                                                                            SMITHS GROVE        KY 42171‐7295
PATRICIA CORCORAN       4168 RAINBOW LAKE RD                                                                                     PERRINTON           MI 48871‐9762
PATRICIA CORNELIUS      3305 N JENNINGS RD                                                                                       FLINT               MI 48504‐1768
PATRICIA CORNETT        1498 W SPRING VALLEY PAINTERSVI                                                                          SPRING VALLEY       OH 45370
PATRICIA CORNETTE       130 PONSONBY CT                                                                                          INDIANAPOLIS        IN 46214‐3881
PATRICIA COSGROVE       1230 HILLCREEK RD                                                                                        PASADENA            MD 21122‐2459
PATRICIA COSTANZA       705 MANSELL DR                                                                                           YOUNGSTOWN          OH 44505‐2236
PATRICIA COSTELLO       5904 YORKTOWN LN                                                                                         AUSTINTOWN          OH 44515‐2210
PATRICIA COSTELLO       1018 SW SOUTHCREST DR                                                                                    BLUE SPRINGS        MO 64015‐8747
PATRICIA COSTIGAN       2820 WOODSLEE DR APT 310                                                                                 ROYAL OAK           MI 48073‐2942
PATRICIA COTSMAN        3703 COTTONTAIL LN                                                                                       SHELBY TWP          MI 48316‐3047
PATRICIA COTTER         19057 IOWA ST                                                                                            ROSEVILLE           MI 48066‐1331
PATRICIA COULTER        351 N SQUIRREL RD LOT 278                                                                                AUBURN HILLS        MI 48326‐4060
PATRICIA COUPIE         516 S HENRY ST                                                                                           BAY CITY            MI 48706‐4719
PATRICIA COUTURIER      1193 CARMAN ST                                                                                           BURTON              MI 48529‐1117
PATRICIA COVEY          G3281 HERRICK ST                                                                                         FLINT               MI 48532‐5127
PATRICIA COX            2298 PINE TOP CT                                                                                         AKRON               OH 44319‐1361
PATRICIA COX            2324 W 59TH ST                                                                                           INDIANAPOLIS        IN 46228‐1723
PATRICIA COX‐PHILLIPS   1131 TIENKEN COURT UNIT #15                                                                              ROCHESTER HILLS     MI 48306
PATRICIA CRAFT          134 HOBGOOD RD                                                                                           TYLERTOWN           MS 39667‐5001
PATRICIA CRAFT          6354 STATE ROUTE 546                                                                                     BELLVILLE           OH 44813‐9314
PATRICIA CRAIG          156 RILEY ST                                                                                             BUFFALO             NY 14209‐1936
PATRICIA CRAIG          C/O SAM MORGAN ESQ                GASIOREK MORGAN & GRECO PC   30500 NORTHWESTERN HWY                    FARMINGTON HILLS    MI 48334
                                                                                       SUITE 425
PATRICIA CRAMMER        9567 INDIGO CREEK BLVD                                                                                   MURRELLS INLET     SC   29576‐8626
PATRICIA CRAMPTON       84 DUNSINANE DR                                                                                          NEW CASTLE         DE   19720‐2363
PATRICIA CRANDALL       6300 S EXTENSION RD                                                                                      CHEBOYGAN          MI   49721‐9726
PATRICIA CRAWFORD       401 MONROE ST                                                                                            DESLOGE            MO   63601‐3421
PATRICIA CRIM           3011 AYRE CT                                                                                             FLINT              MI   48506‐5402
PATRICIA CRITTENDEN     8104 THORNRIDGE DR                                                                                       GRAND BLANC        MI   48439‐8951
PATRICIA CRODDY         8339 S STRAWTOWN PIKE             C/O DEBORAH K NEALIS                                                   BUNKER HILL        IN   46914‐9686
PATRICIA CROMPTON       4730 TRIERWOOD PARK DR                                                                                   FORT WAYNE         IN   46815‐6058
PATRICIA CROOKS         21920 BEVERLY ST                                                                                         OAK PARK           MI   48237‐2574
PATRICIA CROPPER        2617 VILILLY CIR W                                                                                       GROVE CITY         OH   43123‐8898
PATRICIA CROSKEY        8292 ANGOLA RD                                                                                           HOLLAND            OH   43528‐9701
PATRICIA CROSS          216 LENTZ ST                                                                                             NASHVILLE          MI   49073‐9238
PATRICIA CROTEAU        3002 TIPTON WAY                                                                                          ABINGDON           MD   21009‐2576
PATRICIA CROUCH         5425 MAYBEE RD                                                                                           CLARKSTON          MI   48346‐3271
PATRICIA CROUCH         98 JEANETTE AVE                                                                                          CENTERVILLE        OH   45458‐2304
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Name                     Address1                        Address2                   Address3   Address4         City               State Zip
PATRICIA CROUSE          4928 DARLINGTON RD                                                                     HOLIDAY             FL 34690‐4018
PATRICIA CROY            3300 ALT. HWY 19N LOT 164                                                              DUNEDIN             FL 34698
PATRICIA CRUME           1727 INVERNESS DR                                                                      MARYVILLE           TN 37801‐7898
PATRICIA CRYAN           4126 GARDEN ESTATES DR                                                                 TOLEDO              OH 43623‐3439
PATRICIA CUCCHI          17844 TENNYSON ST                                                                      ROSEVILLE           MI 48066‐2956
PATRICIA CUFFMAN         6332 COUNTY ROAD 57                                                                    LEXINGTON           OH 44904‐9672
PATRICIA CULVER          8641 LINDEN AVE                                                                        NEWAYGO             MI 49337‐8822
PATRICIA CULYBA          43655 VIA ANTONIO DR                                                                   STERLING HTS        MI 48314‐1806
PATRICIA CUMMINGS        5709 GRIGGS DR                                                                         FLINT               MI 48504‐5005
PATRICIA CUNNINGHAM      6076 WESTVIEW DR                                                                       GRAND BLANC         MI 48439‐9715
PATRICIA CURRAN          526 SELKIRK DR                                                                         MOUNT MORRIS        MI 48458‐8919
PATRICIA CURTIS          241 S HILL DR                                                                          BEDFORD             IN 47421‐7519
PATRICIA CUTTER          6414 SHERMAN DR                                                                        LOCKPORT            NY 14094‐6534
PATRICIA D AUGUSTINSKY   7035 DOWNS ROAD                                                                        WARREN              OH 44481‐9412
PATRICIA D AYERS         1516 BELLBROOK AVE                                                                     XENIA               OH 45385‐4022
PATRICIA D AYERS         1516 BELLBROOK AVE                                                                     XENIA               OH 45385‐4022
PATRICIA D BAYUS         665 RIVERVIEW DR                                                                       LEAVITTSBURG        OH 44430‐9535
PATRICIA D BROWN         2424 BONNY LANE                                                                        HERMITAGE           PA 16148‐6008
PATRICIA D BUCKALLEW     PO BOX 566384                                                                          ATLANTA             GA 31156‐6384
PATRICIA D BUNDY         1973 E COUNTY LINE RD                                                                  MINERAL RIDGE       OH 44440
PATRICIA D CHEATHEM      PO BOX 5298                                                                            MANSFIELD           OH 44901‐5298
PATRICIA D DAWKINS       5165 PHEASANT RUN DR APT 6                                                             SAGINAW             MI 48638‐6347
PATRICIA D ENGEL         13046 BIGGIN CHURCH RD S                                                               JACKSONVILLE        FL 32224
PATRICIA D GORDON        610 HARVARD PL                                                                         AUSTINTOWN          OH 44515‐6102
PATRICIA D HABER IRA     1155 WISTERIA DR                                                                       MALVERN             PA 19355
PATRICIA D HAMLIN        FAMILY SUPPORT FOR ACCOUNT OF   229 PINE HOV CIR APT A‐2                               GREENACRES          FL 33463‐9028
PATRICIA D HARRIS        29191 LANCASTER DR APT 108                                                             SOUTHFIELD          MI 48034‐1461
PATRICIA D JAJUGA        10300 HEROLD HWY                                                                       ADDISON             MI 49220‐9344
PATRICIA D KALOUS        APT 304                         1112 WEST BURBANK AVENUE                               JANESVILLE          WI 53546‐6146
PATRICIA D KILLGORE      211 HOLMAR DR                                                                          BRANDON             MS 39047
PATRICIA D KIRIN         1014 YANKEE COURT                                                                      WARRENTON           MO 63383
PATRICIA D KOVACICH      835 SHADY LN.                                                                          WARREN              OH 44484‐1637
PATRICIA D LEWIS         329 N MAIN ST                                                                          WEST MOUNTAIN       OH 45383
PATRICIA D LIGHTCAP      6104 PHILLIPSBURG RD                                                                   UNION               OH 45322‐9712
PATRICIA D MISLAN        2916 LAKEHURST ST                                                                      MORAINE             OH 45439‐1407
PATRICIA D RODRIGUEZ     200 ORCHARD ST                                                                         GRAND BLANC         MI 48439‐1339
PATRICIA D ROY           3036 CASHEW CT                                                                         DOVER               DE 19901‐7918
PATRICIA D TIMMONS       581 OLD RIVER RD                                                                       PELZER              SC 29669‐9184
PATRICIA D TURVEY        5409 LELAND STREET                                                                     BRIGHTON            MI 48116
PATRICIA D WORTHEN       6185 STOCKSDALE RD                                                                     UNION CITY          OH 45390‐8806
PATRICIA D'ALESSANDRO    16515 KYLA DR                                                                          CLINTON TOWNSHIP    MI 48038‐1986
PATRICIA D. LINDQUIST    275 SUNNY SIDE DR.                                                                     LIBBY               MT 59923
PATRICIA DABLAIN         70 ALLEN ST                                                                            TERRYVILLE          CT 06786‐6305
PATRICIA DACHNOWSKI      5439 KETUKKEE TRL                                                                      TOLEDO              OH 43611‐1630
PATRICIA DAMESWORTH      3728 SYMSONIA HWY                                                                      BENTON              KY 42025‐5004
PATRICIA DANA
PATRICIA DANIEL          8852 ASBURY PARK                                                                       DETROIT            MI   48228‐2006
PATRICIA DANIELS         902 MURIEL ST SW                                                                       WYOMING            MI   49509‐1947
PATRICIA DANIELS         5486 NICHOLS RD                                                                        MASON              MI   48854‐9523
PATRICIA DANIELS         1014 WINFIELD RD                                                                       PRINCETON          LA   71067‐8350
PATRICIA DANIELS         29189 EVERETT ST                                                                       SOUTHFIELD         MI   48076‐5809
PATRICIA DANIELS         4081 MADISON RD                                                                        YOUNGSTOWN         OH   44505‐1730
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Name                              Address1                           Address2                     Address3                Address4               City              State Zip
PATRICIA DANIELS                  BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.        OH 44236
PATRICIA DANILLA                  6110 STATE ROUTE 113 E                                                                                         BERLIN HTS         OH 44814‐9611
PATRICIA DANNER                   194 ELLEN RD                                                                                                   POPLAR BLUFF       MO 63901‐6770
PATRICIA DANNER                   1301 NW DELWOOD DR                                                                                             BLUE SPRINGS       MO 64015‐2490
PATRICIA DARIN                    30454 PINE WAY                                                                                                 BIG PINE KEY       FL 33043‐5133
PATRICIA DAUGHERTY                8019 NE 132ND ST                                                                                               LIBERTY            MO 64068‐8208
PATRICIA DAVIDSON                 1213 FUSELAGE AVE                                                                                              BALTIMORE          MD 21220‐4612
PATRICIA DAVIDSON                 2339 W 4TH ST                                                                                                  MC DONALD          OH 44437‐1408
PATRICIA DAVIDSON                 807 EASTWOOD CIR LOT 27                                                                                        MORRISTOWN         TN 37814‐4941
PATRICIA DAVIDSON                 883 N BENTLEY AVE                                                                                              NILES              OH 44446‐5215
PATRICIA DAVIS                    1226 LIBERTY EXPY SE                                                                                           ALBANY             GA 31705‐5934
PATRICIA DAVIS                    289 CHAPMAN WAY                                                                                                LEXINGTON          OH 44904‐1079
PATRICIA DAVIS                    1602 PINE TREE LN APT 32                                                                                       DAYTON             OH 45449‐2571
PATRICIA DAVIS                    3426 JANET DR                                                                                                  STERLING HTS       MI 48310‐4346
PATRICIA DAVIS                    1725 BONITA DR                                                                                                 MIDDLETOWN         OH 45044‐6518
PATRICIA DAVIS                    2225 ORPINGTON DR                                                                                              TROY               MI 48083‐5673
PATRICIA DAVIS                    11 MERRITT DR                                                                                                  BELLA VISTA        AR 72714‐4807
PATRICIA DAVIS                    1128 INDIAN MOUND DR                                                                                           ANDERSON           IN 46013‐1203
PATRICIA DAVIS‐ROSSI              8253 KENYON DR SE                                                                                              WARREN             OH 44484‐3022
PATRICIA DAWKINS                  5165 PHEASANT RUN DR APT 6                                                                                     SAGINAW            MI 48638‐6347
PATRICIA DAYE                     1621 CARMEL CIR E                                                                                              UPLAND             CA 91784‐1702
PATRICIA DE FREEUW LIVING TRUST   2644 2ND PRIVATE RD                                                                                            FLOSSMOOR           IL 60422
PATRICIA DEAN                     611 W HENRY AVE                                                                                                TAMPA              FL 33604‐6506
PATRICIA DEAN                     8966 DAYTON OXFORD ROAD                                                                                        FRANKLIN           OH 45005‐3059
PATRICIA DEATON                   6432 RADDATZ RD                                                                                                FOWLERVILLE        MI 48836‐9734
PATRICIA DECKER                   2533 MCCOLLUM AVE                                                                                              FLINT              MI 48504‐2315
PATRICIA DEGNER                   426 N IONIA RD                                                                                                 VERMONTVILLE       MI 49096‐9500
PATRICIA DEGNER                   2308 WESTPARK WAY CIR                                                                                          EULESS             TX 76040‐3943
PATRICIA DEGRAFF                  1700 RICHMOND ST NW                                                                                            GRAND RAPIDS       MI 49504‐2658
PATRICIA DEHMEL‐PERKINS           3722 HOGARTH AVE                                                                                               FLINT              MI 48532‐5283
PATRICIA DEL CARMEN ORTIZ ORTIZ   AVENIDA SAN MARTIN 1270 DPTO 601                                                        VINA DEL MAR, CHILE
PATRICIA DELAMATER                522 LINCOLN AVE                                                                                                HURON             OH   44839‐1943
PATRICIA DELAPHIANO               4231 HARMONY DR                                                                                                SHELBYVILLE       MI   49344‐9605
PATRICIA DELAPLANE                3740 STATE ROAD 13 N                                                                                           NOBLESVILLE       IN   46060‐8300
PATRICIA DELEON                   4022 FOREST HILL AVE                                                                                           FLINT             MI   48504‐2247
PATRICIA DELGADO BARREDA          JUAN PARDO OLAZABAL, JUAN PARDO    PATRICIA PARDO DELGADO       MANUEL UGARTECHE #318   AREQUIPA, PERU
                                  DELGADO,                                                        SELVA ALEGRE
PATRICIA DELONG                   431 MILTON AVE                                                                                                 ANDERSON          IN   46012‐3325
PATRICIA DEMBOWSKI                4512 W CORNWALL CIR                                                                                            STERLING HTS      MI   48310‐2028
PATRICIA DEMKO                    7370 CEDAR POST RD                                                                                             LIVERPOOL         NY   13088‐4806
PATRICIA DENARD                   1021 ADAMS ST SE                                                                                               GRAND RAPIDS      MI   49507‐1946
PATRICIA DENNISTON                6165 RAYMOND RD                                                                                                LOCKPORT          NY   14094‐7941
PATRICIA DENT                     28415 N DUCK CREEK AVE                                                                                         ATLANTA           IN   46031‐9747
PATRICIA DENYS                    51396 JOHNS DR                                                                                                 CHESTERFIELD      MI   48047‐1466
PATRICIA DERBACZ                  33462 KRAUTER ST                                                                                               WESTLAND          MI   48185‐3016
PATRICIA DESHAZOR                 2226 NORTH FOLK DR                 APT 203                                                                     ROCHESTER HILLS   MI   48309
PATRICIA DEURWEARDER              37931 ECORSE RD                                                                                                ROMULUS           MI   48174‐1349
PATRICIA DEVEAUX                  4030 N TOWERLINE RD                                                                                            SAGINAW           MI   48601‐9243
PATRICIA DEWEESE                  8236 ANNAPOLIS RD                                                                                              SPRING HILL       FL   34606‐5101
PATRICIA DI LAURO                 4885 SMILEY TER                                                                                                CLARENCE          NY   14031‐1516
PATRICIA DI LELLA                 4422 MISTY COVE CT                                                                                             MARTINEZ          GA   30907‐4280
PATRICIA DIANE WILLIAMS           10404 JULLIS AVENUE                                                                                            KANSAS CITY       MO   64134
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Name                     Address1                           Address2                Address3   Address4         City                State Zip
PATRICIA DIBLASI         446 CARLWOOD DR                                                                        MIAMISBURG           OH 45342‐3515
PATRICIA DICK            1805 PLEASANT DR                                                                       KOKOMO               IN 46902‐5819
PATRICIA DICKEY          4707 E 109TH TER                                                                       KANSAS CITY          MO 64137‐1926
PATRICIA DICOSOLA        6374 SPRINGDALE BLVD                                                                   GRAND BLANC          MI 48439‐8550
PATRICIA DIEFENBACH      3526 KLAM RD                                                                           COLUMBIAVILLE        MI 48421‐9317
PATRICIA DINVERNO        15908 HOWARD DR                                                                        MACOMB               MI 48042‐5720
PATRICIA DIUGUID         49032 ARKONA RD                                                                        BELLEVILLE           MI 48111‐9603
PATRICIA DIXON           255 S MAIN ST                                                                          EOLIA                MO 63344‐1103
PATRICIA DODGE           942 N RACQUETTE RIVER RD                                                               MASSENA              NY 13662‐3247
PATRICIA DONAHOO         RTE 1                              BOX 4488 LYLEWOOD RD.                               INDIAN MOUND         TN 37079
PATRICIA DONELSON        412 N DEERFIELD AVE                                                                    LANSING              MI 48917‐2986
PATRICIA DOOLEY          815 S MARKET ST                                                                        HOOPESTON             IL 60942‐1849
PATRICIA DOORN           2470 AUTUMN ASH DR SE                                                                  KENTWOOD             MI 49512‐9108
PATRICIA DORIAN          612 E PITTSBURGH‐MCKRESPORT BLVD                                                       NORTH VERSAILLES     PA 15137
PATRICIA DOSS            745 WASHINGTON AVE                                                                     GREENVILLE           OH 45331‐1265
PATRICIA DOTSON          5792 LOUISE AVE NW                                                                     WARREN               OH 44483‐1126
PATRICIA DOUBLE          2117 GLENCOE RD                                                                        CULLEOKA             TN 38451‐2150
PATRICIA DOUGHTEN        PO BOX 35                                                                              GIBSON               MO 63847‐0035
PATRICIA DOUGLAS         151 GUY BROWN RD                                                                       SCOTTSVILLE          KY 42164‐8314
PATRICIA DOUGLAS         646 1/2FULTON ST E APT 2                                                               GRAND RAPIDS         MI 49503
PATRICIA DOW             5 OAKVIEW CIR                                                                          MEDWAY               MA 02053‐1317
PATRICIA DOWERS          1200 NE 21ST CT                                                                        MOORE                OK 73160‐6309
PATRICIA DOWNES          7367 FAUSSETT RD                                                                       FENTON               MI 48430‐9055
PATRICIA DOWNEY          501 VERMONT AVE                                                                        FORT WALTON BEACH    FL 32547‐3031
PATRICIA DRAKE           3116 TIMBER VALLEY DR                                                                  KOKOMO               IN 46902‐5061
PATRICIA DRAKE           6054 MEADOW WOOD LN                                                                    COLUMBUS             OH 43228‐9676
PATRICIA DRAVECKY        5324 CANTERBURY LN                                                                     WARREN               MI 48092‐1792
PATRICIA DRESLINSKI      9366 SASHABAW RD                                                                       CLARKSTON            MI 48348‐2024
PATRICIA DREXLER‐JONES   PO BOX 971395                                                                          YPSILANTI            MI 48197‐0824
PATRICIA DRIVER          49075 ARKONA RD                                                                        BELLEVILLE           MI 48111‐9603
PATRICIA DRURY           9835 WEST SAGINAW HIGHWAY                                                              SUNFIELD             MI 48890‐9773
PATRICIA DRURY           813 N SHERIDAN ST                                                                      BAY CITY             MI 48708‐6053
PATRICIA DUBEY           310 HICKORY RDG                                                                        MOUNT MORRIS         MI 48458‐9103
PATRICIA DUBOIS          PO BOX 81                          92 ROUTE 22A                                        ORWELL               VT 05760‐0081
PATRICIA DUBOIS          531 MARVIN ST                                                                          MILAN                MI 48160‐1363
PATRICIA DUBY            5916 BULLARD RD                                                                        FENTON               MI 48430‐9411
PATRICIA DUCHER          522 S HUBBARD ST                                                                       WESTLAND             MI 48186‐5267
PATRICIA DUFF            5754 COUNTY ROAD 302                                                                   NAVASOTA             TX 77868‐6779
PATRICIA DUFFEY          210 CONNOLLY ST                                                                        MARYSVILLE           OH 43040‐1276
PATRICIA DUGDALE         272 PINESHOOT CT                                                                       FLINT                MI 48506‐5327
PATRICIA DULLER          612 COUNTY ROAD 150                                                                    ELIZABETH            AR 72531‐9117
PATRICIA DUNCAN          306 GREENBRIAR ST                                                                      KOKOMO               IN 46901‐5005
PATRICIA DUNCAN          10465 N ATHEY AVE                                                                      HARRISON             MI 48625‐8883
PATRICIA DUNCAN          1543 HAMILTON AVE                                                                      HAMILTON             NJ 08629‐1421
PATRICIA DUNCANSON       11645 CHIPPEWA DR                                                                      BANCROFT             MI 48414‐9778
PATRICIA DUNHAM          35880 SCHLEY ST                                                                        WESTLAND             MI 48186‐4245
PATRICIA DUNLAP          210 S MCLELLAN ST                                                                      BAY CITY             MI 48708‐7568
PATRICIA DUNN            7510 JARNECKE AVE                                                                      HAMMOND              IN 46324‐3027
PATRICIA DUNN            1246 E WALTON BLVD APT 329                                                             PONTIAC              MI 48340‐1582
PATRICIA DUNNIGAN        4330 MAYA LN                                                                           SWARTZ CREEK         MI 48473‐1593
PATRICIA DUNSON          1338 HOWELL ST                                                                         JACKSON              MS 39213‐6114
PATRICIA DUNWOODIE       109 SUNRISE CIR                                                                        EATON                OH 45320‐1643
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Name                              Address1                          Address2               Address3      Address4            City                State Zip
PATRICIA DUTKO                    44239 PINE DR                                                                              STERLING HEIGHTS     MI 48313‐1245
PATRICIA DYCUS                    3789 ORANGE ST                                                                             SAGINAW              MI 48601‐5548
PATRICIA DYER                     1717 VICTORIA ST                                                                           SALEM                VA 24153‐4532
PATRICIA DYER                     5112 GUY YOUNG RD                                                                          BREWERTON            NY 13029‐9805
PATRICIA DZBANSKI                 6323 DUTCH RD                                                                              GOODRICH             MI 48438‐9759
PATRICIA E ARNOLD                 PO BOX 695                                                                                 ARLINGTON            TX 76004‐0695
PATRICIA E ARNOLD                 4554 FAIRWAY ST                                                                            DALLAS               TX 75219
PATRICIA E ARNOLD EXEC            ESTATE ROBERT E ARNOLD            4554 FAIRWAY AVE                                         DALLAS               TX 75219‐1605
PATRICIA E BABLE                  832 CAMERON AVE                                                                            YOUNGSTOWN           OH 44502‐2209
PATRICIA E BREWER                 4592 BRANDES RD. LOT # 4                                                                   MOSCOW MILLS         MO 63362
PATRICIA E CARROLL                5214 FISHBURG RD                                                                           DAYTON               OH 45424
PATRICIA E COMBS                  3285 ROCKY POINT ROAD                                                                      SPRINGFIELD          OH 45502
PATRICIA E DECINA                 6 SUDELY GREEN CT                                                                          CHERRY HILL          NJ 08003
PATRICIA E GRAY                   7709 ASTORIA PL                                                                            RALEIGH              NC 27612
PATRICIA E GRIFFIN                724 ROSELAWN AVE NE                                                                        WARREN               OH 44483‐5329
PATRICIA E GRIGSBY                225 SLAYTON ST.                                                                            NEW CARLISLE         OH 45344‐2923
PATRICIA E HARDY                  148 WESLEY AVE                                                                             YOUNGSTOWN           OH 44509‐2014
PATRICIA E HENDRICKS              80 RICHMOND LA                                                                             AVON                 NY 14414‐1232
PATRICIA E HOKE                   119 N PHILADELPHIA ST                                                                      DAYTON               OH 45403
PATRICIA E HUSTON                 1220 E DOROTHY LANE                                                                        KETTERING            OH 45419‐2140
PATRICIA E ISOM                   214 E LORADO AVE                                                                           FLINT                MI 48505‐2163
PATRICIA E KOPNICK                5380 COLDWATER RD                                                                          COLUMBIAVILLE        MI 48421‐8986
PATRICIA E KUHN                   570 ORRIS RD.                                                                              LEAVITTSBURG         OH 44430‐9653
PATRICIA E MARINO                 12351 M 96                                                                                 AUGUSTA              MI 49012‐8829
PATRICIA E MIDDLEBROOKS           PO BOX 2103                                                                                PONTIAC              MI 48343
PATRICIA E MOORE                  10536 MONARCH DR                                                                           SAINT LOUIS          MO 63136‐5662
PATRICIA E MORRISON               6275 N JENNINGS RD                                                                         MOUNT MORRIS         MI 48458‐9334
PATRICIA E NELSON                 1645 MCMYLER ST NW                                                                         WARREN               OH 44485
PATRICIA E POWELL                 229 TIMBERIDGE DR                                                                          SAINT PETERS         MO 63376‐6751
PATRICIA E PRESHAW FAMILY TRUST   MRS. PATRICIA PRESHAW             1432 S ANDEE DR                                          PALM SPRINGS         CA 92264‐8606
PATRICIA E THOMPSON               7701 LINDBERGH BLVD APT 217                                                                PHILADELPHIA         PA 19153‐2107
PATRICIA E WYCHE                  12031 S SAGINAW ST APT 23                                                                  GRAND BLANC          MI 48439‐1456
PATRICIA E WYNN                   503 ETHEL                                                                                  DAYTON               OH 45408‐1232
PATRICIA E. NORRINGTON
PATRICIA EADDY                    12660 TUTTLEHILL RD                                                                        MILAN               MI   48160‐9171
PATRICIA EAKINS                   PO BOX 108                                                                                 BELL BROOK          OH   45305
PATRICIA EARLE                    5625 WILLIAMS ST                                                                           WAYNE               MI   48184‐2035
PATRICIA EASTHAM                  3404 KNOLLWOOD DR                                                                          DAYTON              OH   45432‐2251
PATRICIA EASTLAND                 17 HILLARY CIR                                                                             NEW CASTLE          DE   19720‐8617
PATRICIA EASTMAN                  5971 E 900 N                                                                               LOGANSPORT          IN   46947‐9333
PATRICIA EASTRIDGE JR.            705 BELL MANOR RD                                                                          CONOWINGO           MD   21918‐1017
PATRICIA EAVES                    7641 MOORISH RD                                                                            BRIDGEPORT          MI   48722‐9769
PATRICIA ECKART                   11275 MORNINGSTAR DR                                                                       SAGINAW             MI   48609‐9479
PATRICIA ECKENRODE                2293 WESTVIEW RD                                                                           CORTLAND            OH   44410‐9467
PATRICIA ECKERT                   2518 ORANGE TREE DRIVE                                                                     EDGEWATER           FL   32141‐5028
PATRICIA EDINGTON                 259 AVALON DR SE                                                                           WARREN              OH   44484
PATRICIA EDMONDSON                359 QUARRY LN NE UNIT D                                                                    WARREN              OH   44483‐4554
PATRICIA EDWARDS‐WILLIAMS         1820 CAYCE SPRINGS RD                                                                      THOMPSONS STATION   TN   37179‐9704
PATRICIA EISENBEISS               CH┬TEAU P╔RIGORD I                6, LACETS SAINT‐L╔ON
PATRICIA EISENBEISS               CHATEAU PERIGORD I                6, LACETS SAINT‐LEON                 9800 MONTE CARLO
                                                                                                         MONACO
PATRICIA EISENLOHR                734 E. MAPLE ST.                  P O BOX 5                                                MASON               MI 48854
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PATRICIA EKINS             APT C2                            634 STATE STREET                                        EATON RAPIDS         MI 48827‐1600
PATRICIA ELBERT            PO BOX 669                                                                                DAYTON               IN 47941‐0669
PATRICIA ELDER             2890 CASCADE SPR DR SE                                                                    GRAND RAPIDS         MI 49546
PATRICIA ELDRIDGE          11614 DAVIS ST                                                                            GRAND BLANC          MI 48439‐1324
PATRICIA ELECTRIC INC      ATTN: DANIEL HIBBARD              407 BROWN AVE                                           SYRACUSE             NY 13208‐1409
PATRICIA ELLEN PATTERSON   FOR ACCT OF M C PATTERSON         CHILD SUPPT‐CIVL CTS BLDG                               FORT WORTH           TX 00000
PATRICIA ELLERHOLZ         18921 BAY WOODS LAKE DR APT 201                                                           FORT MYERS           FL 33908‐4798
PATRICIA ELLERHOLZ         35220 GLOVER STREET                                                                       WAYNE                MI 48184‐2443
PATRICIA ELLINGWOOD        1924 SKYMONT DR                                                                           COOKEVILLE           TN 38506‐6446
PATRICIA ELLIOTT           1230 SUNSET AVE                                                                           JAMESVILLE           NC 27846‐9369
PATRICIA ELLIOTT           215 N CANAL RD LOT 58                                                                     LANSING              MI 48917‐8666
PATRICIA ELLIOTT           1015 BURR OAK ST                                                                          ALBION               MI 49224‐1471
PATRICIA ELLIOTT           2922 RHONDA LN                                                                            ANDERSON             IN 46017‐9756
PATRICIA ELLIOTT           3002 IVY HILL CIR                                                                         CORTLAND             OH 44410
PATRICIA ELLIS             5333 NICHOLS RD                                                                           SWARTZ CREEK         MI 48473‐8587
PATRICIA ELLIS             3404 WILLOWOOD CIR APT 1046                                                               ARLINGTON            TX 76015‐3369
PATRICIA ELLIS             2491 MEADOW LARK DR                                                                       EAST POINT           GA 30344‐4025
PATRICIA ELLISON           PO BOX 10969                                                                              SPRINGFIELD          MO 65808‐0969
PATRICIA ELSCHKER          15333 E LEE RD                                                                            HOLLEY               NY 14470‐9038
PATRICIA EMMENDORFER       425 ODETTE ST                                                                             FLINT                MI 48503‐1079
PATRICIA EMMERT            9125 W U AVE                                                                              SCHOOLCRAFT          MI 49087‐9438
PATRICIA ENNIS             5403 NORCROFT DR                                                                          INDIANAPOLIS         IN 46221‐3126
PATRICIA ERBY              719 WOODSEDGE LN                                                                          WHITE LAKE           MI 48386‐3599
PATRICIA ERKKILA           111 BRITTON LN                                                                            CROSSVILLE           TN 38558‐8638
PATRICIA ESTERLINE         38 LEROY ST                                                                               HILLSDALE            MI 49242‐1917
PATRICIA EVANISH           9198 NICOLE LN                                                                            DAVISON              MI 48423‐2882
PATRICIA EVANS             PO BOX 79                                                                                 BAINBRIDGE           IN 46105‐0079
PATRICIA EVANS             3612 EMBARCADERO ST                                                                       WATERFORD            MI 48329‐2239
PATRICIA EVANS             4920 PHELPS RD                                                                            KANSAS CITY          MO 64136‐1136
PATRICIA EVANS             5040 ROSS RD                                                                              TIPP CITY            OH 45371‐8558
PATRICIA EVANS             136 BELLINGHAM DR                                                                         MADISON              AL 35758‐6826
PATRICIA EVANS             13260 STATE ROUTE 41                                                                      JEFFERSONVILLE       OH 43128‐9737
PATRICIA EVANS             225 CEDAR DR                                                                              WEST MILTON          OH 45383‐1210
PATRICIA EVANS             3055 STOVALL RD                                                                           GREENVILLE           GA 30222‐4011
PATRICIA EVERHART          PO BOX 95                                                                                 MOHAWK               TN 37810‐0095
PATRICIA EYSALDT           4700 LINDEN KNOLL DR APT 411                                                              WILMINGTON           DE 19808‐1730
PATRICIA F BUSH            4950 RISHER ROAD                                                                          LEAVITTSBURG         OH 44430‐9728
PATRICIA F EVANS           5040 ROSS RD                                                                              TIPP CITY            OH 45371‐8558
PATRICIA F HANCOCK         302 S GEORGIA ST                                                                          SHERIDAN             IN 46069‐1111
PATRICIA F HARRIS          1840 MARKET ST APT 510                                                                    YOUNGSTOWN           OH 44507‐1109
PATRICIA F LIMBER          3813 HIGHTREE AVE SE                                                                      WARREN               OH 44484
PATRICIA FAHNDRICH         4450 REX LAKE DR                                                                          AKRON                OH 44319‐3430
PATRICIA FAIRLESS          8129 LOCKLIN LN                                                                           COMMERCE TOWNSHIP    MI 48382‐2226
PATRICIA FALTISCO          10 NOTTINGHAM LN                                                                          LANCASTER            NY 14086‐3341
PATRICIA FANCHER           PO BOX 1285                                                                               CASEVILLE            MI 48725‐1285
PATRICIA FANTOZZI          788 CHERRY HILL CT                                                                        COLUMBIAVILLE        MI 48421‐9704
PATRICIA FARLEY            5061 STATE ROUTE 18                                                                       WAKEMAN              OH 44889‐9344
PATRICIA FARMER            1184 MAPLEKREST DR                                                                        FLINT                MI 48532‐2228
PATRICIA FARQUHARSON       8813 THOMAS DRIVE                 APT 123                                                 SHERWOOD             AR 72120
PATRICIA FARVER            2246 GLADE ST                                                                             BURTON               MI 48509‐1027
PATRICIA FEARON            4276 SPRINGBROOK DR                                                                       SWARTZ CREEK         MI 48473‐1706
PATRICIA FEATHERSTONE      5520 NE 31ST AVE                                                                          FORT LAUDERDALE      FL 33308‐3414
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Name                 Address1                        Address2            Address3         Address4         City               State Zip
PATRICIA FECHER      808 53RD AVE E                  LOT 244 I                                             BRADENTON           FL 34203
PATRICIA FEDOR       2934 JEFFERSON ST                                                                     ANDERSON            IN 46016‐5454
PATRICIA FEIRN       4070 HUNTINGTON AVE                                                                   JANESVILLE          WI 53546‐4437
PATRICIA FENSCH      6254 LAKE DR #318                                                                     YPSILANTI           MI 48197
PATRICIA FENTON      214 LILLY CHAPEL RD                                                                   WEST JEFFERSON      OH 43162‐1422
PATRICIA FERNANDEZ   11888 US HIGHWAY 41 S LOT 31                                                          GIBSONTON           FL 33534‐5510
PATRICIA FERRARO     13366 ANGLER STREET                                                                   SPRING HILL         FL 34609
PATRICIA FESTA       76 PELL TER                                                                           GARDEN CITY         NY 11530‐1929
PATRICIA FIELDS      631 ROSARITA RD                                                                       ARLINGTON           TX 76002‐4205
PATRICIA FIELDS      5671 RAMBLEWOOD DR SE                                                                 KENTWOOD            MI 49508‐6552
PATRICIA FIELDS      3291 S STATE ROAD 13                                                                  LAPEL               IN 46051‐9618
PATRICIA FIELDS      9081 E WALDEN DR                                                                      BELLEVILLE          MI 48111‐3363
PATRICIA FIELDS      988 WINSTON DR                                                                        MONROE              MI 48161‐1816
PATRICIA FIELDS      3552 FARLAND RD                                                                       UNIVERSITY HTS      OH 44118‐3003
PATRICIA FINCHER     4948 HAZEL ST                                                                         DEARBORN HEIGHTS    MI 48125‐1222
PATRICIA FINK        986 MANHATTAN AVE                                                                     DAYTON              OH 45406‐5140
PATRICIA FINNEY      1320 PALM LN                                                                          BOWIE               MD 20716
PATRICIA FINNEY      11180 E LANSING RD                                                                    DURAND              MI 48429‐1804
PATRICIA FISCHER     8179 MILLER RD                                                                        SWARTZ CREEK        MI 48473‐1336
PATRICIA FISHEL      545 FRIEDBERG CHURCH RD                                                               WINSTON SALEM       NC 27127‐7323
PATRICIA FISHER      3715 PAIGE LN                                                                         SHREVEPORT          LA 71119‐9738
PATRICIA FISHER      600 W WALTON BLVD APT 261                                                             PONTIAC             MI 48340‐1099
PATRICIA FISHER      22936 ROSEDALE ST                                                                     ST CLAIR SHRS       MI 48080‐2489
PATRICIA FLAGLER     6390 DALE RD                                                                          NEWFANE             NY 14108
PATRICIA FLANNERY    13475 BARRETT MILL RD                                                                 BAINBRIDGE          OH 45612‐9530
PATRICIA FLAUTER     8 PRESIDENT DR                                                                        O FALLON            MO 63368‐8527
PATRICIA FLEMING     134 CHAMPION AVE W                                                                    WARREN              OH 44483‐1414
PATRICIA FLEMING     7 CONCORD LN                                                                          PONTIAC             MI 48340‐1213
PATRICIA FLETCHER    270 WILSON ST                                                                         STRUTHERS           OH 44471
PATRICIA FLORES      7300 E LINCOLNWAY                                                                     COLUMBIA CITY       IN 46725‐8814
PATRICIA FLORES      1650 NORMANDY RD                                                                      CLAWSON             MI 48017‐1826
PATRICIA FLORES      2909 ALPHA WAY                                                                        FLINT               MI 48506‐1850
PATRICIA FOGLE       13198 STONEGATE DR APT 6                                                              STERLING HEIGHTS    MI 48312‐6442
PATRICIA FORBES      1906 HALL ST                                                                          HOLT                MI 48842‐1714
PATRICIA FORD        PO BOX 315                                                                            SALINE              MI 48176‐0315
PATRICIA FORDHAM     PO BOX 681                                                                            YOUNGSTOWN          OH 44501‐0681
PATRICIA FORKUS      2442 DURAZNITOS RD                                                                    RAMONA              CA 92065‐3607
PATRICIA FORTINE     5172 RAYMOND AVE                                                                      FLINT               MI 48509‐1934
PATRICIA FOSTER      3327 INVERARY DR                                                                      LANSING             MI 48911‐1331
PATRICIA FOSTER      2300 CLEMENTS ST                                                                      DETROIT             MI 48238‐3485
PATRICIA FOSTER      7080 NORTHERN PL APT 43                                                               DORAVILLE           GA 30360‐1800
PATRICIA FOURNIER    8910 W CLUSTER AVE                                                                    TAMPA               FL 33615‐2706
PATRICIA FOWLER      2475 BIG BUCK DR                                                                      LEWISTON            MI 49756‐9252
PATRICIA FOX         11091 W CENTER STREET EXT                                                             MEDINA              NY 14103‐9557
PATRICIA FOX         1618 DANVILLE ST                                                                      WESTVILLE            IL 61883
PATRICIA FRALEY      9017 MANDALE ST                                                                       DETROIT             MI 48209‐1475
PATRICIA FRANCIS     300 BOYCE LN                                                                          SALEM               MO 65560‐2716
PATRICIA FRANK       6056 HOMESTEAD CV                                                                     SANFORD             NC 27332‐8521
PATRICIA FRANKLIN    989 N HILL RD                                                                         BALTIMORE           MD 21218‐1342
PATRICIA FRANKS      3465 RIDGELAWN AVE SE                                                                 WARREN              OH 44484‐3649
PATRICIA FRANTZ      2955 ST CLAIR CT APT 204                                                              HOWELL              MI 48843‐6595
PATRICIA FRAZIER     5029 WISSAHICKON AVE                                                                  PHILADELPHIA        PA 19144‐4811
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Name                        Address1                          Address2                     Address3                   Address4         City               State Zip
PATRICIA FREEMAN            243 ACADEMY LN                                                                                             MIDDLETOWN          DE 19709‐3072
PATRICIA FRIAS              6111 TWINHILL DR                                                                                           ARLINGTON           TX 76016‐3720
PATRICIA FRIDAY             221 COLONY ST                                                                                              EAST TAWAS          MI 48730‐9754
PATRICIA FRIESTAD           1602 LIBERTY LN                                                                                            JANESVILLE          WI 53545‐1288
PATRICIA FRINK
PATRICIA FRITZ              4773 8 MILE RD                                                                                             AUBURN             MI 48611‐9750
PATRICIA FRUTOS             LAW OFFICES OF FEDERICO C SAYRE   C/O JAMES RUMM ATTORNEY AT   900 N BROADWAY 4TH FLOOR                    SANTA ANA          CA 92701
                                                              LAW
PATRICIA FRYE               7505 RIDGE RD                                                                                              HIRAM              GA   30141‐4740
PATRICIA FULLER             1907 CENTRAL VILLA CT                                                                                      ESSEXVILLE         MI   48732‐1829
PATRICIA FUTCH              45 6TH AVE                                                                                                 TRENTON            NJ   08619‐3220
PATRICIA FYHRIE             1900 IMPERIAL AVE                                                                                          DAVIS              CA   95616‐3100
PATRICIA G ANDRUSKEWICZ     27240 TORTOISE TRAIL                                                                                       BONITA SPRNGS      FL   34135
PATRICIA G COKELEY          2823 OTTELLO AVE.                                                                                          DAYTON             OH   45414
PATRICIA G DOLAN            6555 WARREN SHARON RD                                                                                      BROOKFIELD         OH   44403‐9546
PATRICIA G GELET            PMB F297044                       3590 ROUNDBOTTOM RD                                                      CINCINNATI         OH   45244
PATRICIA G GLICK            5817 ROCKINGHAM DR                                                                                         DAYTON             OH   45429‐6129
PATRICIA G HAMMERSLEY       4333 WEBSTER RD                                                                                            FLUSHING           MI   48433‐9054
PATRICIA G HAWVERMALE       34 PENNSYLVANIA AVENUE                                                                                     GERMANTOWN         OH   45327‐1237
PATRICIA G HOOD             9026 DENTVILLE RD                                                                                          UTICA              MS   39175
PATRICIA G HOUSER           9375 ST RT 193                                                                                             FARMDALE           OH   44417‐9784
PATRICIA G JENNINGS DAVIS   P O BOX 187                                                                                                BURGHILL           OH   44404‐‐ 01
PATRICIA G JOHNSON          783 NORTH AVE                                                                                              ATLANTA            GA   30354
PATRICIA G KECK             7733 WINDING WAY SOUTH                                                                                     TIPTON             OH   45371‐9246
PATRICIA G MUNGER           1105 N GRANT ST                                                                                            BAY CITY           MI   48708‐6050
PATRICIA GABLI              PO BOX 268                                                                                                 LAKELAND           MI   48143‐0268
PATRICIA GADSON             249 VOORHEIS ST                                                                                            PONTIAC            MI   48341‐1946
PATRICIA GALAGER            575 BELLA VIS                                                                                              EDGEWATER          FL   32141‐7298
PATRICIA GALAZIN            600 ACKLEY ST                                                                                              PLYMOUTH           PA   18651‐1007
PATRICIA GALDEEN            1461 HAMPSHIRE DR                                                                                          TEMPERANCE         MI   48182‐9236
PATRICIA GALE‐LLOYD         661 W HOUGHTON LAKE RD                                                                                     LAKE CITY          MI   49651‐7925
PATRICIA GALLARDO           1042 DIVISION ST                                                                                           ADRIAN             MI   49221‐4040
PATRICIA GALLARDO           8350 OAK BLVD                                                                                              SOUTH ROCKWOOD     MI   48179‐9780
PATRICIA GALLO              304 FAIRWAY BLVD                                                                                           FROSTPROOF         FL   33843‐8363
PATRICIA GALLOWAY           3082 SATURN CIR                                                                                            NORTH FORT MYERS   FL   33903‐2100
PATRICIA GAMBOA             9408 W PIERSON ST                                                                                          PHOENIX            AZ   85037‐1022
PATRICIA GANGNON
PATRICIA GARBOLSKI          1362 OAK AVE                                                                                               LEMONT             IL   60439‐4504
PATRICIA GARCIA             7764 WEXFORD CT                                                                                            ONSTED             MI   49265‐9594
PATRICIA GARCIA             411 FRASER ST                                                                                              BAY CITY           MI   48708‐7122
PATRICIA GARDNER            20089 KEYSTONE ST                                                                                          DETROIT            MI   48234‐2312
PATRICIA GARDNER            5535 HARVARD RD                                                                                            DETROIT            MI   48224‐2163
PATRICIA GARDNER            APT 111                           1109 BEAMAN LAKE ROAD                                                    KNOXVILLE          TN   37914‐5765
PATRICIA GARNER             PO BOX 122                                                                                                 ORRICK             MO   64077‐0122
PATRICIA GARRETT            330 JOHNSON LOOP RD                                                                                        SCOTTSVILLE        KY   42164
PATRICIA GARRETT            5894 E COUNTY RD 100 N                                                                                     FRANKFORT          IN   46041‐8978
PATRICIA GARRETT            99 W 1400 N                                                                                                ALEXANDRIA         IN   46001‐8938
PATRICIA GARRICK            29561 TERRACE CT                                                                                           WARREN             MI   48093‐6749
PATRICIA GARRISON           2446 CAMERON ST SW                                                                                         DECATUR            AL   35603‐2951
PATRICIA GARVER             53 PENNSYLVANIA AVE                                                                                        LOCKPORT           NY   14094‐5725
PATRICIA GARZA              RT 1 BOX 21 J                                                                                              LAREDO             TX   78046
PATRICIA GAY                3383 GLENVIEW CIR SW                                                                                       ATLANTA            GA   30331‐2407
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Name                   Address1                           Address2         Address3         Address4         City             State Zip
PATRICIA GAYTEN        PO BOX 1194                                                                           SYRACUSE          NY 13201‐1194
PATRICIA GAZIE         1144 STRATTON AVE                                                                     GROVELAND         FL 34736‐8231
PATRICIA GDULA         43580 YORKVILLE DR                                                                    CANTON            MI 48188‐1766
PATRICIA GEHRISCH      6465 CRESTLINE RD                                                                     GALION            OH 44833‐9725
PATRICIA GEIGER        138 IRWIN ST                                                                          BROOKLYN          MI 49230‐9271
PATRICIA GEISENHAVER   485 NORTON GIBBS DR                                                                   ITHACA            MI 48847‐1204
PATRICIA GELDERS       8296 ARNOLD RD                                                                        IRA               MI 48023‐1425
PATRICIA GELET         3590 ROUND BOTTOM RD PMB F297044                                                      CINCINNATI        OH 45244‐3026
PATRICIA GENTILCORE    834 W PARK AVE                                                                        HUBBARD           OH 44425‐1564
PATRICIA GEORGE        PO BOX 456                                                                            LOCKPORT          NY 14095‐0456
PATRICIA GERACI        56 LINWOOD AVE                                                                        TONAWANDA         NY 14150‐4018
PATRICIA GERARD        G‐4105 BROWN                                                                          FLINT             MI 48532
PATRICIA GERDS         4452 CASTLEROCK DR                                                                    BLAINE            WA 98230‐9750
PATRICIA GERKE         PO BOX 215                                                                            TRUFANT           MI 49347‐0215
PATRICIA GERMAIN       5331 ROSA CT                                                                          SWARTZ CREEK      MI 48473‐8833
PATRICIA GHOLSTON      1404 130TH AVE                                                                        NEW RICHMOND      WI 54017‐6609
PATRICIA GIAPAPAS
PATRICIA GIBBONS       9833 BURNS RD                                                                         SIX LAKES        MI   48886‐9505
PATRICIA GIBBS         7418 S 31ST ST                                                                        KALAMAZOO        MI   49048‐9759
PATRICIA GIBBS         620 BALDWIN RD                                                                        MASON            MI   48854‐9309
PATRICIA GIBSON        130 E ARBOR VIEW DR APT A4                                                            SPRING ARBOR     MI   49283‐9608
PATRICIA GIBSON        218 W FOSS AVE                                                                        FLINT            MI   48505‐2085
PATRICIA GIBSON        PO BOX 411                                                                            FALMOUTH         KY   41040‐0411
PATRICIA GIESECKE      318 WHITESTONE RD                                                                     AVONDALE         PA   19311‐1345
PATRICIA GIETZEN       34876 SWAN CREEK BLVD                                                                 RICHMOND         MI   48062‐5518
PATRICIA GILBERT       16508 OAK HILL DR                                                                     FENTON           MI   48430‐8357
PATRICIA GILBERT       302 GRACE ST                                                                          FLINT            MI   48503‐1008
PATRICIA GILL          1424 BELLCREEK DR                                                                     FLINT            MI   48505‐2546
PATRICIA GILLEY        205 S JACKSON AVE                                                                     JOPLIN           MO   64801‐2913
PATRICIA GILMORE       4850 BALES RD                                                                         TOLEDO           OH   43613‐3202
PATRICIA GILYARD       PO BOX 932                                                                            FLINT            MI   48501‐0932
PATRICIA GIRARD        211 TOWNVIEW CT                                                                       WENTZVILLE       MO   63385‐2925
PATRICIA GIULIANO      39 LOYALIST AVE                                                                       ROCHESTER        NY   14624‐4960
PATRICIA GLASER        6970 SHAFFER RD NW                                                                    WARREN           OH   44481‐9408
PATRICIA GLASSBROOK    5060 SUNSET DR                                                                        WEIDMAN          MI   48893‐9779
PATRICIA GLAVENS       501 CHESANING ST                                                                      SAINT CHARLES    MI   48655‐1416
PATRICIA GLENN         555 DUTCH LANE EXT APT 1           SIMCO APT                                          HERMITAGE        PA   16148
PATRICIA GLICK         5817 ROCKINGHAM DR                                                                    DAYTON           OH   45429‐6129
PATRICIA GLIME         1116 KNOB CREEK DR                                                                    ROCHESTER        MI   48306‐1941
PATRICIA GLOVER        930 FOWLER AVE                                                                        DANVILLE         IL   61832‐3618
PATRICIA GOEBEL        70885 SUNNY BROOK LN                                                                  RICHMOND         MI   48062‐5538
PATRICIA GOETTEL       PO BOX 761                                                                            LINDEN           MI   48451‐0761
PATRICIA GOETZ         2117 HIGHBURY DR                                                                      TROY             MI   48085‐3808
PATRICIA GOFF          PO BOX 12172                                                                          TEMPE            AZ   85284‐0037
PATRICIA GOFF          09143 BURDA ST                                                                        GRAND JUNCTION   MI   49056‐9243
PATRICIA GOHM          PO BOX 624                                                                            SAINT HELEN      MI   48656‐0624
PATRICIA GOINS         12309 THORNBRIDGE DR                                                                  GRAND BLANC      MI   48439‐8874
PATRICIA GOLDFUSS      424 W HIGH ST                                                                         DEFIANCE         OH   43512‐1468
PATRICIA GOLDMAN       465 CHESANING ST                                                                      SAINT CHARLES    MI   48655‐1415
PATRICIA GOMEZ         235 BAKER AVE                                                                         SYRACUSE         NY   13205‐1103
PATRICIA GOMOLUCH      1610 CHASE DR                                                                         ROCHESTER        MI   48307‐1796
PATRICIA GONZALES      1015 EDDY ROAD                                                                        BEAVERTON        MI   48612‐8574
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Name                    Address1                           Address2            Address3         Address4         City               State Zip
PATRICIA GOOD           8462 THETFORD LN                                                                         WILLIS              MI 48191‐8511
PATRICIA GOODENOUGH     52 CATLIN RD                                                                             HARWINTON           CT 06791‐1709
PATRICIA GOODIN         PO BOX 212                                                                               LAKEVIEW            NC 28350
PATRICIA GOODMAN        154 BERRY ST                                                                             CAMDEN              TN 38320‐1337
PATRICIA GOODMAN        145 RENWOOD PL                                                                           SPRINGBORO          OH 45066‐1071
PATRICIA GORDON         628 AIKEN ST                                                                             OWOSSO              MI 48867‐3904
PATRICIA GORE           1052 STATE ROUTE 534 NW                                                                  NEWTON FALLS        OH 44444‐9514
PATRICIA GORNEY         10128 OAK RD                                                                             OTISVILLE           MI 48463‐9738
PATRICIA GORZELSKI      1025 PARK DR                                                                             COLUMBIAVILLE       MI 48421‐9738
PATRICIA GOSNELL        6140 MAIN ST                                                                             ANDERSON            IN 46013‐3305
PATRICIA GOTT           3405 LAUREL LN                                                                           ANDERSON            IN 46011‐3030
PATRICIA GOULD‐MURRAY   1030 LEE ST                                                                              FENTON              MI 48430‐1568
PATRICIA GOWARD         18303 W MARION RD                                                                        BRANT               MI 48614‐9744
PATRICIA GRABARCZYK     PO BOX 58                                                                                ARGO                 IL 60501‐0058
PATRICIA GRACE          35 OAKBROOK DR APT B                                                                     AMHERST             NY 14221‐2556
PATRICIA GRADY          2150 MANDI LN                                                                            BELOIT              WI 53511‐7026
PATRICIA GRAEF          8178 S FOREST HILLS CIR                                                                  FRANKLIN            WI 53132‐9605
PATRICIA GRAHAM         14 SOUTH BROAD ST                  APT A204                                              MERIDEN             CT 06450
PATRICIA GRANDYS        63 CAMPUS LN                                                                             JANESVILLE          WI 53545‐2626
PATRICIA GRASKA         329 HAMPTON RD                                                                           LEXINGTON           OH 44904‐1072
PATRICIA GRAVES         24732 ARROWHEAD DR                                                                       MACOMB              MI 48042‐5544
PATRICIA GRAY           7456 DRY CREEK DR APT 2A                                                                 GRAND BLANC         MI 48439‐6311
PATRICIA GRAY           16074 LINCOLN AVE                                                                        EASTPOINTE          MI 48021‐2956
PATRICIA GRAY           11331 LEEKE RD                                                                           GRASS LAKE          MI 49240‐9528
PATRICIA GREEN          8065 HOLLY RD                                                                            GRAND BLANC         MI 48439‐1847
PATRICIA GREEN          600 RAYMOND DR                                                                           HUBBARD             OH 44425‐1251
PATRICIA GREEN          2029 HEMPSTEAD RD                                                                        AUBURN HILLS        MI 48326‐3403
PATRICIA GREENE         394 STEPHENS ST                                                                          YOUNGSTOWN          OH 44509‐1414
PATRICIA GREENE         1426 ROBBINS AVE                                                                         NILES               OH 44446‐3753
PATRICIA GREENFIELD     710 E HIBBARD RD                                                                         OWOSSO              MI 48867‐9752
PATRICIA GRESOCK        43121 EMILY DR                                                                           STERLING HEIGHTS    MI 48314‐6304
PATRICIA GRIDER         1890 W SHORE DR                                                                          MARTINSVILLE        IN 46151‐8704
PATRICIA GRIFFIN        24210 GARDNER ST                                                                         OAK PARK            MI 48237‐1512
PATRICIA GRIFFIN        10370 HADLEY RD                                                                          CLARKSTON           MI 48348‐1920
PATRICIA GRIFFIN        724 ROSELAWN AVE NE                                                                      WARREN              OH 44483‐5329
PATRICIA GRIFFITH       5400 NORTH ELMS ROAD                                                                     FLUSHING            MI 48433‐9057
PATRICIA GRIMM          2805 PEBBLE CRK                                                                          CORTLAND            OH 44410‐8911
PATRICIA GRIMSLEY       7815 BARDSWELL CT                                                                        ELK GROVE           CA 95758‐1008
PATRICIA GRISSOM        43671 N TIMBERVIEW DR                                                                    BELLEVILLE          MI 48111‐3336
PATRICIA GRISWOLD       9229 VIENNA RD                                                                           OTISVILLE           MI 48463‐9783
PATRICIA GROENEVELD     9039 STONEHAUSE CT                                                                       CLARKSTON           MI 48348‐4267
PATRICIA GROFT          19925 GRAVE RUN RD                                                                       HAMPSTEAD           MD 21074‐2727
PATRICIA GROSS SR.      6070 N MCKINLEY RD                                                                       FLUSHING            MI 48433‐1169
PATRICIA GROULX         3284 SHILLELAGH DR                                                                       FLINT               MI 48506‐2245
PATRICIA GRZEGORCZYK    3112 PATTERSON RD                                                                        BAY CITY            MI 48706‐1848
PATRICIA GUERIN         211 THORNTON CIR S                                                                       CAMILLUS            NY 13031‐1401
PATRICIA GUILE          5066 N GALE RD                                                                           DAVISON             MI 48423‐8954
PATRICIA GUILFORD       295 SUNSET DR                                                                            HOLLEY              NY 14470‐9776
PATRICIA GUINN          315 W WASHINGTON ST                                                                      TECUMSEH            OK 74873‐3030
PATRICIA GULLEY         1439 W NORTH DR                                                                          MARION              IN 46952‐1829
PATRICIA GUNN           5626 MAPLE AVE FL 1ST                                                                    SAINT LOUIS         MO 63112
PATRICIA GUTHRIE        414 LINDENWOOD RD                                                                        DAYTON              OH 45417‐1306
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PATRICIA GUY                9066 HENSLEY DR                                                                       STERLING HTS          MI 48314‐2666
PATRICIA GUY                PO BOX 17098                                                                          LANSING               MI 48901‐7098
PATRICIA GUZZO              93 SUNBRIAR DR                                                                        WEST SENECA           NY 14224‐3418
PATRICIA H BEFFEL TTEE      C/O PATRICIA BEFFEL                 2136 KEAST DR                                     CLARKLAKE             MI 49234‐9745
PATRICIA H BOUCK            146 BRISTOL CHAMPION                TOWNLINE RD NW                                    WARREN                OH 44481‐94
PATRICIA H BURKE            1435 WINDWARD WAY                                                                     NILES                 OH 44446‐3546
PATRICIA H DANNER           311 HAWTHORNE AVE                                                                     ANDERSON              IN 46011‐2113
PATRICIA H DONNELLY         730 W ROLLING RD                                                                      SPRINGFIELD           PA 19064
PATRICIA H MALONE           3733 BOSTON AVE.                                                                      WARREN                OH 44484‐3715
PATRICIA H TATAR            1241 LEON DR.                                                                         W. ALEXANDRIA         OH 45381
PATRICIA H WINDHORST TTEE   PATRICIA H WINDHORST REV TR U/T/A   DTD 07/08/1997   2500 INDIGO     UNIT 156         GLENVIEW               IL 60026‐8301
PATRICIA HABERBERGER        604 BRANCH ST                                                                         ELLIS GROVE            IL 62241‐1450
PATRICIA HACK               800 ELM DR APT 106                                                                    EDGERTON              WI 53534‐1235
PATRICIA HACKLEMAN          106 S EDISON ST                                                                       FREEBURG               IL 62243‐1423
PATRICIA HAFFNER            5534 CALLAWAY CIR                                                                     YOUNGSTOWN            OH 44515‐4166
PATRICIA HAGGARD            38869 RODEO DR                                                                        ROMULUS               MI 48174‐5062
PATRICIA HAHN               77490 FISHER RD                                                                       BRUCE TWP             MI 48065‐1709
PATRICIA HAIG               PO BOX 265                                                                            KELLEYS ISLAND        OH 43438
PATRICIA HAIGHT             15463 N ALLIS HWY                                                                     MILLERSBURG           MI 49759‐9396
PATRICIA HAITH              3571 LAKEPOINTE ST                                                                    DETROIT               MI 48224‐3317
PATRICIA HALE               PO BOX 175                                                                            ARCADIA               IN 46030‐0175
PATRICIA HALL               PO BOX 970375                                                                         YPSILANTI             MI 48197‐0807
PATRICIA HALL               21290 WINCHESTER ST                                                                   SOUTHFIELD            MI 48076‐3163
PATRICIA HALL               29913 MAISON ST                                                                       SAINT CLAIR SHORES    MI 48082‐1898
PATRICIA HALL               19640 JEROME ST APT 145                                                               ROSEVILLE             MI 48066‐1240
PATRICIA HALL               1045 SADDLECREEK PKWY                                                                 BIRMINGHAM            AL 35242
PATRICIA HALLENDY           10170 ORCHARD RIDGE CT                                                                HOLLY                 MI 48442‐8233
PATRICIA HAMBLIN            319 LANE RD                                                                           PAINT LICK            KY 40461‐8955
PATRICIA HAMILTON           4185 71ST LN N 16                                                                     SAINT PETERSBURG      FL 33709
PATRICIA HAMILTON           5150 PARK ST APT 11                                                                   KINDE                 MI 48445‐9341
PATRICIA HAMILTON           PO BOX 26128                                                                          TROTWOOD              OH 45426‐0128
PATRICIA HAMILTON           2385 TABLE ROCK RD UNIT S/B‐3                                                         MEDFORD               OR 97501
PATRICIA HAMMITT            307 CHANDLER ST                                                                       BAY CITY              MI 48706‐5001
PATRICIA HAMMOCK            5644 N 9 MILE RD                                                                      PINCONNING            MI 48650‐7956
PATRICIA HAMMONDS           9 OAK RIDGE RD                                                                        ASHEVILLE             NC 28805‐2324
PATRICIA HAN                1318 WEDGEWOOD CIR                                                                    SALINE                MI 48176‐9276
PATRICIA HANCOCK            302 S GEORGIA ST                                                                      SHERIDAN              IN 46069‐1111
PATRICIA HANEY              PO BOX 857                                                                            PRUDENVILLE           MI 48651‐0857
PATRICIA HANEY              2110 S AMOS RD                                                                        SHELBYVILLE           IN 46176‐9327
PATRICIA HANKINS            4735 SHARPES LAKE AVE 28                                                              COCOA                 FL 32926
PATRICIA HANLON             914 SHELLBARK ROAD                                                                    ANDERSON              IN 46011‐2423
PATRICIA HANNA              1960 PLEASANT VALLEY RD                                                               NILES                 OH 44446‐4413
PATRICIA HANNA              4442 SHERMAN RD                                                                       KENT                  OH 44240‐6846
PATRICIA HANNIGAN           343 DAVISON RD APT 6                                                                  LOCKPORT              NY 14094
PATRICIA HANRATTY           1915 FARMBROOK DR                                                                     TROY                  MI 48098‐2533
PATRICIA HANSON             99‐610 PUALAA ST                                                                      AIEA                  HI 96701
PATRICIA HARCZ              8065 LEWIS RD                                                                         MOUNT MORRIS          MI 48458‐1228
PATRICIA HARDER             3934 E ALTA VISTA ST                                                                  TUCSON                AZ 85712‐1802
PATRICIA HARDT              3215 BLUEBIRD DR                                                                      SAGINAW               MI 48601‐5704
PATRICIA HARDY              909 TREEHILLS PARKWAY                                                                 STONE MTN             GA 30088‐3048
PATRICIA HARM               2139 AUTUMN HAZE TRL                                                                  MIAMISBURG            OH 45342‐4475
PATRICIA HARMON             10289 BROSIUS RD                                                                      GARRETTSVILLE         OH 44231‐9008
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Name                  Address1                       Address2            Address3         Address4         City               State Zip
PATRICIA HARMON       2551 IVANHOE ST                                                                      PORT CHARLOTTE      FL 33952‐5636
PATRICIA HARMON       1019 E FOSTER ST                                                                     KOKOMO              IN 46902‐1709
PATRICIA HARMON       1773 SKYLINE DR                                                                      ROCHESTER HILLS     MI 48306‐3251
PATRICIA HARPER       5196 CRAIG AVE NW                                                                    WARREN              OH 44483‐1236
PATRICIA HARRINGTON   713 COTE AZUR DRIVE                                                                  PALM BCH GDNS       FL 33410‐1499
PATRICIA HARRIS       100 CERASI DR APT 412                                                                WEST MIFFLIN        PA 15122‐4205
PATRICIA HARRIS       1238 N 500 W                                                                         KOKOMO              IN 46901‐9601
PATRICIA HARRIS       9516 CAPTIVA DR                                                                      SYLVANIA            OH 43560‐8618
PATRICIA HARRIS       5917 FAIRGROVE WAY                                                                   TROTWOOD            OH 45426‐2111
PATRICIA HARRIS       29191 LANCASTER DR APT 108                                                           SOUTHFIELD          MI 48034‐1461
PATRICIA HARRIS       1840 MARKET ST APT 510                                                               YOUNGSTOWN          OH 44507‐1109
PATRICIA HARRIS       57 ELMVIEW DR                                                                        TONAWANDA           NY 14150
PATRICIA HARRIS
PATRICIA HARRISON     26379 WEST TONOPAH DRIVE                                                             BUCKEYE            AZ   85396‐9293
PATRICIA HARRISON     1537 GRAVEL HILL RD                                                                  COLUMBIA           TN   38401‐1345
PATRICIA HARROLD      6016 PLANTATION DRIVE                                                                GRAND BLANC        MI   48439‐9525
PATRICIA HARSHAW      3973 RAINTREE DR                                                                     TROY               MI   48083‐5349
PATRICIA HART         4245 W JOLLY RD LOT 120                                                              LANSING            MI   48911‐3059
PATRICIA HART         2945 BUCKINGHAM AVE                                                                  BERKLEY            MI   48072‐1317
PATRICIA HART         12352 COLBY LAKE RD            R#4                                                   LAINGSBURG         MI   48848‐9313
PATRICIA HARTLEY      2457 CLARICE AVE                                                                     BURTON             MI   48519‐1010
PATRICIA HARTWICK     2943 N LAKE PLEASANT RD                                                              ATTICA             MI   48412‐9008
PATRICIA HARTWIG      8555 TONAWANDA CREEK RD                                                              EAST AMHERST       NY   14051‐1009
PATRICIA HASSAN       202 OAKCREST CT                                                                      RUSSELLS POINT     OH   43348‐9508
PATRICIA HASTEN       8011 BUSIEK AVE                                                                      SAINT LOUIS        MO   63134‐1803
PATRICIA HATFIELD     9415 LAPEER RD                                                                       DAVISON            MI   48423‐1754
PATRICIA HATFIELD     1464 S SEYMOUR RD                                                                    FLINT              MI   48532‐5513
PATRICIA HATHCOCK     6782 YORKTOWN PL                                                                     TEMPERANCE         MI   48182‐1379
PATRICIA HAUSER       16540 HAULEY RD                                                                      ROCKTON            IL   61072‐9772
PATRICIA HAWKINS      1710 ARTHUR DR NW                                                                    WARREN             OH   44485
PATRICIA HAWKINS      6474 RIVER RD                                                                        FLUSHING           MI   48433‐2510
PATRICIA HAWVERMALE   34 PENNSYLVANIA AVE                                                                  GERMANTOWN         OH   45327‐1237
PATRICIA HAYDEN       451 LEWIS AVE                                                                        BOYNE CITY         MI   49712‐9112
PATRICIA HAYES        5818 WILMINGTON PIKE #456                                                            DAYTON             OH   45459
PATRICIA HAYES        3002 GIPSIE LN                                                                       HOUSTON            TX   77051
PATRICIA HAYES        3940 OAKWOOD RD                                                                      ORTONVILLE         MI   48462‐9758
PATRICIA HAYNE        1464 HILLCREST AVE APT 12                                                            NILES              OH   44446‐3762
PATRICIA HAYNES       3825 BELL STATION RD                                                                 CIRCLEVILLE        OH   43113‐9518
PATRICIA HAYSE        7098 S MOUTAIN SPRINGS DR                                                            BLOOMFIELD         IN   47424‐5603
PATRICIA HAYWOOD      618 S CLAYTON ST                                                                     RECTOR             AR   72461‐2329
PATRICIA HEADD        134 E MUSKEGON ST                                                                    CEDAR SPRINGS      MI   49319‐9503
PATRICIA HEADY        2328 GREEN MEADOW DR                                                                 NEWPORT            MI   48166‐9196
PATRICIA HEATHERLY    35 CATHERINE CT                                                                      GERMANTOWN         OH   45327‐9302
PATRICIA HEATLEY      12515 MCGREGOR BLVD UNIT 10                                                          FORT MYERS         FL   33919
PATRICIA HECHT        136 ROCKVIEW TER                                                                     ROCHESTER          NY   14606‐1915
PATRICIA HEDGECRAFT   4410 PITT ST                                                                         ANDERSON           IN   46013‐2446
PATRICIA HEFLIN       1110 W BOULEVARD                                                                     KOKOMO             IN   46902‐6101
PATRICIA HEICHEL      1874 KARLUK STREET                                                                   NORTH PORT         FL   34287‐3722
PATRICIA HEIDEL       7932 SAINT MONICA DR                                                                 BALTIMORE          MD   21222‐3535
PATRICIA HEISCHBERG   688 SW TREASURE CV                                                                   PORT SAINT LUCIE   FL   34986‐3438
PATRICIA HEISER       1000 WATERVLIET AVE                                                                  DAYTON             OH   45420‐2718
PATRICIA HEISLER      5326 W ERIE AVE                                                                      LORAIN             OH   44053‐1342
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Name                    Address1                          Address2                   Address3                     Address4              City           State Zip
PATRICIA HEISTER        25 BLACK WILLOW CT N                                                                                            HOMOSASSA       FL 34446‐4984
PATRICIA HEJMANOWSKI    90 WEIMAR ST                                                                                                    BUFFALO         NY 14206‐3539
PATRICIA HELEN BLAKE    ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                         EAST ALTON       IL 62024
                                                          ANGELIDES & BARNERD LLC    521
PATRICIA HELGASON       C/O BRAYTON PURCELL               222 RUSH LANDING ROAD                                                         NOVATO         CA   94948‐6169
PATRICIA HELMS          524 VERMILLION CT                                                                                               ANDERSON       IN   46012‐1535
PATRICIA HELSING        PO BOX 43                                                                                                       OJIBWA         WI   54862
PATRICIA HELVEY         1060 HIGHWAY Y                                                                                                  FOLEY          MO   63347‐3125
PATRICIA HENDERSON      5489 GOODWIN ST                                                                                                 INDIANAPOLIS   IN   46234‐9301
PATRICIA HENDERSON      321 E DARTMOUTH ST                                                                                              FLINT          MI   48505‐4956
PATRICIA HENDERSON      515 COELI DR                                                                                                    TOLEDO         OH   43612‐3351
PATRICIA HENDRY         625 E. 5TH ST.                                                                                                  ROYAL OAK      MI   48067
PATRICIA HENN           144 CLIFF ST                                                                                                    DAYTON         OH   45405‐2806
PATRICIA HENRIES        96 BERTIE ST                                                                              FORT ERIE ON L2A1Y3
                                                                                                                  CANADA
PATRICIA HENRY          942 LELAND AVE                                                                                                  DAYTON         OH   45402‐5310
PATRICIA HENRY          1303 W CARPENTER RD APT 334                                                                                     FLINT          MI   48505‐5606
PATRICIA HENRY          2208 ROCKSPRING RD                                                                                              TOLEDO         OH   43614
PATRICIA HENRY          323 W 35TH ST                                                                                                   WILMINGTON     DE   19802‐2638
PATRICIA HENSLEY        4745 PINEDALE AVE                                                                                               CLARKSTON      MI   48346‐3756
PATRICIA HENSON         1951 REGINA DR                                                                                                  LAKE ALFRED    FL   33850‐6303
PATRICIA HERMAN         5125 NORQUEST BLVD                                                                                              AUSTINTOWN     OH   44515‐1713
PATRICIA HERMAN         600 LUGANO CT                                                                                                   SANFORD        FL   32771‐9545
PATRICIA HERNANDEZ      6156 MARTIN ST                                                                                                  DETROIT        MI   48210‐1655
PATRICIA HERRICK        4600 MILLS HWY                                                                                                  EATON RAPIDS   MI   48827‐8010
PATRICIA HERZOG         5356 LAKE RD S                                                                                                  BROCKPORT      NY   14420‐9720
PATRICIA HESTER         6212 NOTTAWAY DR                                                                                                SHREVEPORT     LA   71119‐6217
PATRICIA HETHERINGTON   123 VISTA COURT                                                                                                 DECATUR        TX   76234‐5054
PATRICIA HICKEY         3085 N GENESEE RD APT 204                                                                                       FLINT          MI   48506
PATRICIA HIDOCK         6587 GOLF CLUB RD                                                                                               HOWELL         MI   48843‐9577
PATRICIA HIGGINBOTHAM   1723 POPLAR DR                                                                                                  TROY           MI   48098‐1916
PATRICIA HIGGINS        113 LAKEFRONT CT NE                                                                                             LAKE PLACID    FL   33852‐5873
PATRICIA HIGH           1405 BUSH CREEK DR                                                                                              GRAND BLANC    MI   48439‐2306
PATRICIA HIGHT          2705 N LOCKE ST                                                                                                 KOKOMO         IN   46901‐1513
PATRICIA HIGHTOWER      2205 CHAPEL DOWNS DR                                                                                            ARLINGTON      TX   76017‐4510
PATRICIA HIGLEY         330 SOUTH ST SE                                                                                                 CALEDONIA      MI   49316‐9433
PATRICIA HILKE          1655 INDIAN GARDEN LN                                                                                           MILFORD        MI   48380‐3317
PATRICIA HILL           7916 31ST ST                                                                                                    ROSEDALE       MD   21237‐1402
PATRICIA HILL           1386 E FOREST AVE                                                                                               YPSILANTI      MI   48198‐3984
PATRICIA HILL           2523 VIENNA RD                                                                                                  ERIE           MI   48133‐9356
PATRICIA HILL           1518 RENA AVE                                                                                                   ALBANY         GA   31705‐1458
PATRICIA HILL           656 S INDIAN CREEK DR                                                                                           STONE MTN      GA   30083‐4464
PATRICIA HILL           711 N ASHBURTON ST                                                                                              BALTIMORE      MD   21216‐4704
PATRICIA HILL           415 SHARON DR                                                                                                   FLUSHING       MI   48433‐1507
PATRICIA HILL           482 PLEASANT HILL ROAD                                                                                          BOAZ           AL   35956
PATRICIA HILLIARD       2620 E CAVETT DR                                                                                                SHREVEPORT     LA   71104‐3709
PATRICIA HILTON         PO BOX 45                         28 GREEN MEADOW DRIVE                                                         PERRY PARK     KY   40363‐0045
PATRICIA HILTON         1747 RIDGECREST AV SW                                                                                           AIKEN          SC   29801
PATRICIA HINTON         6 SCOTT LANE                                                                                                    GIRARD         OH   44420‐1334
PATRICIA HITCHCOCK      18193 STATE ROUTE 15                                                                                            CONTINENTAL    OH   45831‐9638
PATRICIA HITCHYE        1316 E GENESEE AVE                                                                                              FLINT          MI   48505‐1736
PATRICIA HJERTOS        30189 MICHIGAN AVE                                                                                              LEONIDAS       MI   49066‐9709
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Name                   Address1                          Address2            Address3      Address4         City              State Zip
PATRICIA HOBBS         5310 MANTEO CT                                                                       WILMINGTON         NC 28412‐7745
PATRICIA HOBLEY        4674 N LAKE DR                                                                       SHREVEPORT         LA 71107‐2944
PATRICIA HOCKADAY      1558 FENIMORE LN                                                                     THE VILLAGES       FL 32162‐2264
PATRICIA HOCKIN        1229B COUNTY ROAD 811                                                                SALTILLO           MS 38866‐5918
PATRICIA HODGE         102 MURRAY GUARD DR APT H61                                                          JACKSON            TN 38305‐3603
PATRICIA HODSON        4500 S 100 E                                                                         ANDERSON           IN 46013
PATRICIA HODSON        8973 WEST COUNTRY RD. 300 NORTH                                                      SHIRLEY            IN 47384
PATRICIA HOEK          7650 PARK LANE AVE                                                                   JENISON            MI 49428‐9113
PATRICIA HOELZLE       100 MCAULEY DR APT 225                                                               ROCHESTER          NY 14610‐2300
PATRICIA HOFFMEISTER   PO BOX 103                                                                           SAINT CLAIR        MO 63077‐0103
PATRICIA HOGAN         9094 E COLDWATER RD                                                                  DAVISON            MI 48423‐8936
PATRICIA HOGAN         17389 COUNTY ROAD 12                                                                 PIONEER            OH 43554‐9710
PATRICIA HOGAN         36483 TOM BROWN CT                                                                   WESTLAND           MI 48185‐2630
PATRICIA HOLDASH       5121 TIPPWOOD CT                                                                     YOUNGSTOWN         OH 44512‐3737
PATRICIA HOLLENBECK    2709 6 MILE RD                                                                       MARYVILLE          TN 37803‐2743
PATRICIA HOLLOWAY      4197 WINDWARD DR                                                                     LANSING            MI 48911‐2507
PATRICIA HOLLY         1372 N ORCHARD BEACH DR                                                              PORT CLINTON       OH 43452‐2833
PATRICIA HOLT          147 VICTORY RD                                                                       HOUGHTON LAKE      MI 48629‐9656
PATRICIA HOLUP         106 RUTGERS RD                                                                       PISCATAWAY         NJ 08854‐3438
PATRICIA HOLZ          8525 TIMBERLINE DR                                                                   SHELBY TOWNSHIP    MI 48316‐4560
PATRICIA HOPKINS       PO BOX 285                                                                           ISLESBORO          ME 04848
PATRICIA HORNING       904 W INDIANA ST                                                                     BAY CITY           MI 48706‐4236
PATRICIA HOSKEY        PO BOX 364                                                                           MANTON             MI 49663‐0364
PATRICIA HOSKINS       50 BIERCE AVE                                                                        DAYTON             OH 45403‐2606
PATRICIA HOSNER        3738 S SHORE DR                                                                      LAPEER             MI 48446‐9607
PATRICIA HOUSER        9375 YOUNGSTOWN KINGSVILLE RD                                                        FARMDALE           OH 44417‐9784
PATRICIA HOUSER
PATRICIA HOUSTINA      2029 RODERICK CIR                                                                    FRANKLIN          TN   37064‐5597
PATRICIA HOUSTON       340 3RD ST APT 9                                                                     ELYRIA            OH   44035‐5605
PATRICIA HOUTTEMAN     46250 HEYDENREICH RD                                                                 MACOMB            MI   48044‐4414
PATRICIA HOWARD        3170 AUTUMN RIDGE CT                                                                 DAYTON            OH   45414‐2311
PATRICIA HOWARD        304 WILLIAMS ST                                                                      EATON RAPIDS      MI   48827‐1940
PATRICIA HOWELL        143 CAMERON RD                                                                       CAIRO             GA   39827‐7310
PATRICIA HOWELL        955 MILLER RD                                                                        FAIRMONT          NC   28340‐6401
PATRICIA HUBBERT       4767 MELROSE ST                                                                      SAGINAW           MI   48601‐6926
PATRICIA HUBERTY       1665 BASSETT DR                                                                      LAKELAND          FL   33810‐3011
PATRICIA HUDGENS       1590 RAVINE LN                                                                       ROCHESTER HILLS   MI   48306‐4245
PATRICIA HUDSON        8539 N NASHVILLE RD                                                                  WILKINSON         IN   46186‐9728
PATRICIA HUDSON        800 CONCORD AVE                                                                      ELYRIA            OH   44035‐6508
PATRICIA HUDSON        APT 210                           51 GRAFTON AVENUE                                  DAYTON            OH   45406‐5555
PATRICIA HUDSON        359 CENTRE ST                                                                        BELOIT            WI   53511‐1513
PATRICIA HUEBEL        16268 PINE RIDGE DR N                                                                FRASER            MI   48026‐3596
PATRICIA HUGHES        795 COUNTY ROAD 1 LOT 191                                                            PALM HARBOR       FL   34683‐6315
PATRICIA HUGHES        14307 CEDAR COVE DR                                                                  FENTON            MI   48430‐1386
PATRICIA HUGHES        4633 MERRY LN                                                                        TOLEDO            OH   43615‐6013
PATRICIA HULL          8162 FOX HOLLOW RD                                                                   GOODRICH          MI   48438‐9236
PATRICIA HULL          1004 9TH AVE SW                                                                      AUSTIN            MN   55912
PATRICIA HUMMEL        119 N GRACE ST                                                                       LANSING           MI   48917‐2947
PATRICIA HUMPHREY      2501 MARYLAND AVE                                                                    FLINT             MI   48506‐2887
PATRICIA HUNSBERGER    2352 W 1400 N                                                                        ALEXANDRIA        IN   46001‐8534
PATRICIA HUNT          6511 CHERI LYNNE DR                                                                  DAYTON            OH   45415‐2114
PATRICIA HUNT          4219 W GLENDALE AVE                                                                  MILWAUKEE         WI   53209‐5843
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Name                       Address1                      Address2            Address3         Address4         City             State Zip
PATRICIA HUNTER            5100 BRUSH ST APT 307                                                               DETROIT           MI 48202‐4150
PATRICIA HUNTER            2723 S EDSEL ST                                                                     DETROIT           MI 48217‐1090
PATRICIA HUNTOON           69 WEST RUTGERS AVENUE                                                              PONTIAC           MI 48340‐2755
PATRICIA HURST             1104 SALEM ST                 APT B                                                 LAFAYETTE         IN 47904‐3904
PATRICIA HURST             4723 HARLOU DR                                                                      KETTERING         OH 45432‐1618
PATRICIA HURST             70 CAMPLAND CIRCLE                                                                  DONEGAL           PA 15628‐4002
PATRICIA HURST             3289 W HOBSON AVE                                                                   FLINT             MI 48504‐1470
PATRICIA HUSCIO            65 MULE DEER CT                                                                     ELKTON            MD 21921‐1558
PATRICIA HUSSION           363 E COUNTY LINE RD                                                                MOORESVILLE       IN 46158‐1809
PATRICIA HUTCHENS          2814 ERNEST HAWKINS RD                                                              SANTA FE          TN 38482‐3139
PATRICIA HUTCHINS          1258 W BORTON RD                                                                    ESSEXVILLE        MI 48732‐1543
PATRICIA HUTCHINSON        7021 CRANWOOD DR                                                                    FLINT             MI 48505‐1907
PATRICIA HUTCHISON         10312 CLIFFORD CT                                                                   BROWNSBURG        IN 46112‐8535
PATRICIA HUTCHISON         PO BOX 157                                                                          INDIAN RIVER      MI 49749‐0157
PATRICIA HUTCHISON         9072 S NORMANDY LN                                                                  CENTERVILLE       OH 45458‐3621
PATRICIA HUTZELL           1493 REDFISH DR SE                                                                  DARIEN            GA 31305‐3347
PATRICIA HYDE              1212 NICHOLSON ST                                                                   JOLIET             IL 60435‐4229
PATRICIA I BOULTON         839 LAWRENCE HAZEL RD                                                               LAWRENCE          MS 39336‐5674
PATRICIA I IMES            523 RAMBLER RD                                                                      MANHEIM           PA 17545
PATRICIA I ROBBINS         PO BOX 1264                                                                         GRAND ISLAND      NY 14072‐8264
PATRICIA I SHERMAN         168 WALKER LAKE ONTARIO RD.                                                         HILTON            NY 14468‐9119
PATRICIA I WILSON          1046 WAUGH DRIVE                                                                    HUBBARD           OH 44425‐1272
PATRICIA IGNASH            6167 SUN VALLEY DR                                                                  GRAND BLANC       MI 48439‐9167
PATRICIA INEZ TRAZO        11863 PENDLETON ST                                                                  SUN VALLEY        CA 91352‐3024
PATRICIA INGALLS           745 CUMMINGS AVE NW                                                                 GRAND RAPIDS      MI 49534‐7904
PATRICIA IPOX              1241 S REISNER ST                                                                   INDIANAPOLIS      IN 46221‐1632
PATRICIA IRELAND           32 JUNE RD                                                                          KENMORE           NY 14217‐1416
PATRICIA IRICK             4500 W BIG CREEK ST                                                                 MERIDIAN          ID 83642‐4271
PATRICIA ISBLE             3288 BOXWOOD DR                                                                     FAIRBORN          OH 45324‐2202
PATRICIA ISOM              2284 SHARP ROAD, #2                                                                 ADRIAN            MI 49221
PATRICIA ISOM              5334 BUTTERNUT TREE CT                                                              FLINT             MI 48532‐3302
PATRICIA ISOM              214 E LORADO AVE                                                                    FLINT             MI 48505‐2163
PATRICIA IVEY              567 MORNINGSIDE DR                                                                  LAWRENCEVILLE     GA 30043‐4556
PATRICIA IVIE              1893 GAITHERS RD                                                                    COVINGTON         GA 30014‐7507
PATRICIA J BARBONE         870 N E RIVER RD                                                                    LAKE MILTON       OH 44429‐9626
PATRICIA J BERNECKER       3024 WILLARD RD                                                                     BIRCH RUN         MI 48415‐9404
PATRICIA J BOLLING         2295 REDMAN ROAD                                                                    BROCKPORT         NY 14420‐9633
PATRICIA J BOOTH           RT 5 BOX 1757 B                                                                     EUFAULA           OK 74432
PATRICIA J BRAZEAL         3370 HOMEWOOD DRIVE                                                                 BRIDGEPORT        MI 48722‐9526
PATRICIA J CLELAND         5897 E LAKE DR                                                                      HASLETT           MI 48840‐8936
PATRICIA J COGAR           579 EUGENE ST                                                                       YPSILANTI         MI 48198‐6172
PATRICIA J COOK            1810 CEDAR CREEK LOOP                                                               SALLISAW          OK 74955‐6900
PATRICIA J DOYLE TRUSTEE   807 GLENN DR                                                                        HARBOR SPRINGS    MI 49740
PATRICIA J EDMONDSON       359 QUARRY LN. N.E. APT D                                                           WARREN            OH 44483‐4554
PATRICIA J FULTZ           1131 NORMANDY TERRACE DR                                                            FLINT             MI 48532‐3550
PATRICIA J GAZOUL          675 SEWARD ST APT 318                                                               DETROIT           MI 48202‐4444
PATRICIA J GORNEY          10128 OAK RD                                                                        OTISVILLE         MI 48463‐9738
PATRICIA J HEISER          1000 WATERVLIET AVE                                                                 DAYTON            OH 45420‐2718
PATRICIA J JAMES           3320 LODWICK N W APT‐4                                                              WARREN            OH 44485‐1570
PATRICIA J JONES           PO BOX 14593                                                                        SAGINAW           MI 48601‐0593
PATRICIA J KIRKINGBURG     19 MILL RUN DR                                                                      ROCHESTER         NY 14626‐1169
PATRICIA J KREMPEL         9145 RUSSELL                                                                        PINCKNEY          MI 48169‐9435
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Name                   Address1                       Address2                      Address3          Address4         City                 State Zip
PATRICIA J KRESS       2809 ACORN DR                                                                                   KETTERING             OH 45419‐2019
PATRICIA J KROHN       1451 GAGE RD                                                                                    TOLEDO                OH 43612‐4021
PATRICIA J LESTER      7810 N 128TH EAST AVE                                                                           OWASSO                OK 74055‐7950
PATRICIA J LONG        714 PASADENA AVE                                                                                NIAGARA FALLS         NY 14304‐3542
PATRICIA J MALEKOVIC   6915 RON PARK PL                                                                                BOARDMAN              OH 44512‐4339
PATRICIA J MARTIN      5063 CALKINS RD                                                                                 FLINT                 MI 48532‐3402
PATRICIA J MC CABE     4298 VIENNA WAY                                                                                 MARIETTA              GA 30062‐5722
PATRICIA J MCCLAIN     E FRANKLIN MCCLAIN             4370 POMARINE CT                                                 NAPLES                FL 34119
PATRICIA J MILLER      39219 AVONDALE ST                                                                               WESTLAND              MI 48186‐3756
PATRICIA J NISBETT     205 OAK HOLLOW CT                                                                               SENECA                SC 29672
PATRICIA J OLNEY       ACCOUNT OF LARRY N ALVARADO    1190 S VICTORIA AVE STE 302                                      VENTURA               CA 93003‐6563
PATRICIA J PADDOCK     3765 S HERMAN ST                                                                                MILWAUKEE             WI 53207
PATRICIA J PELFREY     550 NEW JASPER STATION                                                                          XENIA                 OH 45385‐8445
PATRICIA J PETACCIO    7009 AMHERST AVE                                                                                BOARDMAN              OH 44512‐4535
PATRICIA J ROBERTS     1009 DEERCREEK CIRCLE                                                                           W CARROLLTON          OH 45449‐1651
PATRICIA J ROGERS      457 WOLF RD                                                                                     W ALEXANDRIA          OH 45381‐9347
PATRICIA J SERSICH     121 BELMONT AVE                                                                                 NILES                 OH 44446
PATRICIA J SORRELL     1220 PHILLIPS AVE                                                                               DAYTON                OH 45410‐2635
PATRICIA J SORRELL     1220 PHILLIPS AVE                                                                               DAYTON                OH 45410‐2635
PATRICIA J WHITE       PO BOX 8492                                                                                     JACKSON               MS 39284
PATRICIA J WHITMORE    CHARLES SCHWAB & CO INC CUST   IRA CONTRIBUTORY              1 LOGGERHEAD CT                    HILTON HEAD ISLAND    SC 29926‐1983
PATRICIA J WILLIAMS    1310 HAWTHORNE AVE                                                                              YPSILANTI             MI 48198‐5944
PATRICIA J WITT        3954 AGATE                                                                                      RIVERSIDE             CA 92509
PATRICIA J. TUPPER     280 TOD LANE P. O. BOX 2166                                                                     YOUNGSTOWN            OH 44504‐0166
PATRICIA JACKSON       36564 DEERHURST COURT                                                                           WESTLAND              MI 48185
PATRICIA JACKSON       1292 S WILLIAMS LAKE RD                                                                         WHITE LAKE            MI 48386‐3533
PATRICIA JACKSON       10980 JOHNSON DR                                                                                PARMA                 OH 44130‐7349
PATRICIA JACKSON       20846 BOTSFORD DR                                                                               FARMINGTON HILLS      MI 48336‐5912
PATRICIA JACKSON       2135 CHARLES CT                                                                                 AVON                  OH 44011‐1678
PATRICIA JACKSON       104 W HOWARD ST                                                                                 SIMS                  IN 46986‐9632
PATRICIA JACKSON       808 E KIRBY AVE                                                                                 MUNCIE                IN 47302‐2437
PATRICIA JACKSON       814 ILLINOIS AVE                                                                                SAINT CLOUD           FL 34769‐3471
PATRICIA JACKSON       1621 DUPONT ST                                                                                  FLINT                 MI 48504‐3100
PATRICIA JACOBS        2958 W PARISH RD                                                                                MIDLAND               MI 48642‐9601
PATRICIA JACQUIER      PO BOX 75                                                                                       CICERO                IN 46034‐0075
PATRICIA JAEGER        45412 GLENGARRY RD                                                                              CANTON                MI 48188‐1061
PATRICIA JAKUBISIN     100 CANDLEWOOD CT                                                                               COLUMBIA              TN 38401‐5346
PATRICIA JAMES         3320 LODWICK DR NW APT 4                                                                        WARREN                OH 44485‐1570
PATRICIA JAMES         12100 LAWNVIEW AVE APT 7                                                                        SPRINGDALE            OH 45246‐3032
PATRICIA JAMES         115 ALEXANDRIA BLVD                                                                             MCDONOUGH             GA 30253‐3383
PATRICIA JAMESON       196 AMSDEN DR                                                                                   ROCHESTER             NY 14623‐5320
PATRICIA JANDA         6244 LEIGHLAND DR                                                                               GRAND BLANC           MI 48439‐9044
PATRICIA JANE SACK     15 PEN‐Y BRYN DRIVE                                                                             SCRANTON              PA 18505
PATRICIA JANSEN        146 CARRIAGE LN                                                                                 GEORGETOWN            KY 40324‐8836
PATRICIA JANSEN        75 SANDROCK RD                                                                                  SEDONA                AZ 86351‐8683
PATRICIA JANUSINSKI    102 GREENOCK CT                2169 SEVEN LAKES SOUTH                                           WEST END              NC 27376‐9613
PATRICIA JARUSINSKI    102 GREENOCK COURT             2169 SEVEN LAKES SOUTH                                           WEST END              NC 27376
PATRICIA JARVIS        147 TOWN FARM RD                                                                                FARMINGTON            CT 06032‐1505
PATRICIA JASKIER       4 CROYDON DR                                                                                    DEPEW                 NY 14043‐4417
PATRICIA JEFFERS       414 LYNWOOD DR                                                                                  FRANKLIN              KY 42134‐1511
PATRICIA JEFFREY       2769 CEDAR AVE                                                                                  SAINT HELEN           MI 48656‐9625
PATRICIA JEFFREY       641 3RD AVE                                                                                     PONTIAC               MI 48340‐2009
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Name                      Address1                         Address2                 Address3   Address4         City               State Zip
PATRICIA JENKINS          6105 PAT AVE                                                                          OKLAHOMA CITY       OK 73149‐5034
PATRICIA JENNINGS         4060 NA AH TEE TRL                                                                    SNELLVILLE          GA 30039‐8001
PATRICIA JENNINGS DAVIS   PO BOX 187                                                                            BURGHILL            OH 44404‐0187
PATRICIA JENSEN           1831 E ENROSE ST                                                                      MESA                AZ 85203‐5822
PATRICIA JERDINE          5545 MARYLAND ST                                                                      DETROIT             MI 48224‐3020
PATRICIA JERNIGAN         6324 KENWOOD DR                                                                       SHREVEPORT          LA 71119‐6232
PATRICIA JESELINK         1555 THOMPSON LAKE DR                                                                 SILSBEE             TX 77656‐5544
PATRICIA JESSEN           3460 E ALLERTON AVE                                                                   CUDAHY              WI 53110‐1018
PATRICIA JOBIN            70 STEELE RD                                                                          SAVANNAH            TN 38372‐8333
PATRICIA JOHNS            2410 N PURDUM ST                                                                      KOKOMO              IN 46901‐1439
PATRICIA JOHNS            427 EAST BEAVER STREET                                                                STANDISH            MI 48658‐9192
PATRICIA JOHNSON          PO BOX 2241                                                                           MANSFIELD           OH 44905‐0241
PATRICIA JOHNSON          APT 302                          9 EAST HARRISON STREET                               DANVILLE             IL 61832‐4759
PATRICIA JOHNSON          610 NORRIS DR                                                                         ANDERSON            IN 46013‐3935
PATRICIA JOHNSON          25306 MARY ST                                                                         TAYLOR              MI 48180‐2035
PATRICIA JOHNSON          3490 W BEARD RD                                                                       PERRY               MI 48872‐9155
PATRICIA JOHNSON          40 CROUTTY ST                                                                         WHITE LAKE          MI 48386‐2200
PATRICIA JOHNSON          PO BOX 40904                                                                          EVERMAN             TX 76140‐0904
PATRICIA JOHNSON          1281 REAVIS BARRACKS RD APT 2                                                         SAINT LOUIS         MO 63125‐3261
PATRICIA JOHNSON          2311 FARLEY ST                                                                        CASTRO VALLEY       CA 94546‐6320
PATRICIA JOHNSON          4868 W BURT LAKE RD                                                                   BRUTUS              MI 49716‐9507
PATRICIA JOHNSON          1079 CORBETTS ALY                                                                     JOHNS ISLAND        SC 29455‐4911
PATRICIA JOHNSON          5841 HORNBEAN CT                                                                      CARMEL              IN 46033‐8292
PATRICIA JOHNSON          11645 S OAK RD                                                                        ROSCOMMON           MI 48653‐9401
PATRICIA JOHNSON          130 GRATIOT CT                                                                        SAGINAW             MI 48602‐1836
PATRICIA JOHNSON          65193 WIESBADEN GERMANY          GERMANY
PATRICIA JOHNSON          PO BOX 36226                                                                          RICHMOND           VA   23235
PATRICIA JONES            1618 PEMBERVILLE RD                                                                   NORTHWOOD          OH   43619‐2241
PATRICIA JONES            46367 CANDLEBERRY DR                                                                  CHESTERFIELD       MI   48047‐5265
PATRICIA JONES            33 DOTY CT                                                                            JANESVILLE         WI   53545‐2536
PATRICIA JONES            10 MANHATTAN SQUARE DR APT 13C                                                        ROCHESTER          NY   14607‐3944
PATRICIA JONES            1374 RUPERT RD                                                                        DECATUR            GA   30030‐4630
PATRICIA JONES            25708 BLOSSINGHAM DR                                                                  DEARBORN HEIGHTS   MI   48125‐1016
PATRICIA JONES            520A MCGREGOR ST                                                                      MOUNT MORRIS       MI   48458‐8931
PATRICIA JONES            3566 COUNTY ROAD 25                                                                   CARDINGTON         OH   43315‐9315
PATRICIA JONES            5809 BEECHAM DR                                                                       DAYTON             OH   45424‐4207
PATRICIA JONES            2707 S PARK RD                                                                        KOKOMO             IN   46902‐3212
PATRICIA JONES            1401 CHENE ST APT 1414                                                                DETROIT            MI   48207
PATRICIA JONES            301 WISCONSIN ST                                                                      EXCLSOR SPRGS      MO   64024‐1231
PATRICIA JONES            6712 E 127TH ST                                                                       GRANDVIEW          MO   64030‐2006
PATRICIA JONES            3705 KELLAR AVE                                                                       FLINT              MI   48504‐2149
PATRICIA JONES            PO BOX 14593                                                                          SAGINAW            MI   48601‐0593
PATRICIA JONES            2339 W 8TH ST                                                                         ANDERSON           IN   46016‐2522
PATRICIA JONES            2807 EDGEMOOR LN                                                                      MORAINE            OH   45439‐1652
PATRICIA JONES            1421 CANYON DR APT 9                                                                  JANESVILLE         WI   53546‐1353
PATRICIA JONES            202 FLINT ST                                                                          SAINT CHARLES      MI   48655‐1714
PATRICIA JONES            1220 MILL CREEK CT                                                                    FLINT              MI   48532‐2346
PATRICIA JONES            813 BILLIE RUTH LN                                                                    HURST              TX   76053‐4819
PATRICIA JONILA           APT 3                            6561 STATE ROAD                                      CLEVELAND          OH   44134‐4153
PATRICIA JORDAN           11013 LONGLEAF ST                                                                     COLLINSVILLE       MS   39325‐9058
PATRICIA JOSEPH           1436 W SAGINAW RD 615                                                                 MAYVILLE           MI   48744
PATRICIA JOSEPH           222 W MICHAEL DR                                                                      MIDWEST CITY       OK   73110‐3421
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Name                                   Address1                      Address2                 Address3            Address4         City                 State Zip
PATRICIA JOY                           1241 N. LAGRANGE RD           UN 2R                                                         LA GRANGE PARK         IL 60526
PATRICIA JURY                          PO BOX 312                                                                                  FOWLER                MI 48835‐0312
PATRICIA K ALLEN                       1315 DEVON AVE APT A4                                                                       KETTERING             OH 45429‐‐ 36
PATRICIA K BINDAS                      P.O BOX 2856                                                                                ASHTABULA             OH 44005
PATRICIA K CASSIDY TRUST UAD 7/7/96    C/O PATRICIA K CASSIDY        2434 AUSTRALIA WAY E     #52                                  CLEARWATER            FL 33763
PATRICIA K CLARK                       11891 SOUTH AVE               APT A                                                         NORTH LIMA            OH 44452‐8558
PATRICIA K DAVIDSON                    2339 FOURTH ST                                                                              MCDONALD              OH 44437‐1408
PATRICIA K FISCHER                     144 MAPLE APT.39                                                                            VANDALIA              OH 45377‐2330
PATRICIA K GAMES                       2380 STEWART DR. N.W.                                                                       WARREN                OH 44485‐2347
PATRICIA K KING                        C/O PAMELA VON BERGEN         6882 DOWNS RD                                                 WARREN                OH 44481
PATRICIA K KING                        3817 KELLAR AVE                                                                             FLINT                 MI 48504‐3750
PATRICIA K MARTIN                      12137 SEYMOUR RD                                                                            MONTROSE              MI 48457‐9783
PATRICIA K NANCE                       12947 BULLOCK GREENWAY BLVD                                                                 CHARLOTTE             NC 28277‐8195
PATRICIA K PATTY                       5497 N STATE ROUTE 72                                                                       SABINA                OH 45169
PATRICIA K PISTILLI, PERSONAL          C/O BRAYTON PURCELL           222 RUSH LANDING RD                                           NOVATO                CA 94948‐6169
REPRESENTATIVE FOR ALFRED E PISTILLI

PATRICIA K REED                        4953 LINDBERGH BLVD                                                                         DAYTON               OH   45449
PATRICIA K RINGOLD                     212 BONNIE BRAE AVE NE                                                                      WARREN               OH   44483‐5211
PATRICIA K ROBINSON                    PO BOX 483                                                                                  SAINT JOHNS          MI   48879‐0483
PATRICIA K WADE                        6141 84TH AVE NORTH                                                                         PINELLAS PARK        FL   33781‐1304
PATRICIA K WALDECK                     826 GREENLAWN AVE NW                                                                        WARREN               OH   44483‐2129
PATRICIA KACHENKO                      30714 HIVELEY ST                                                                            WESTLAND             MI   48186‐5099
PATRICIA KACZMARSKI                    187 CLAUDETTE CT                                                                            DEPEW                NY   14043‐1207
PATRICIA KAGEY                         400 DALE ST                                                                                 FLUSHING             MI   48433‐1452
PATRICIA KALISZUK                      14423 SEMINOLE                                                                              REDFORD              MI   48239‐3020
PATRICIA KALLAGE                       1953 WASHINGTON SOUTH DR                                                                    DAYTON               OH   45458‐1799
PATRICIA KALOUSTIAN                    1024 SHIAWASSEE CIR #609                                                                    HOWELL               MI   48843
PATRICIA KANABLE                       PO BOX 187                                                                                  RUSSIAVILLE          IN   46979‐0187
PATRICIA KANOUS                        PO BOX 90365                                                                                BURTON               MI   48509‐0365
PATRICIA KARNJATE                      6232 IRISH RD                                                                               GRAND BLANC          MI   48439‐9703
PATRICIA KARP                          5120 CLYDESDALE LN                                                                          SAGINAW              MI   48603‐2884
PATRICIA KARRICK                       5606 MAPLE PARK DR                                                                          FLINT                MI   48507‐3916
PATRICIA KASPER                        4895 AUSTON ST                                                                              SPRINGFIELD          OH   45502‐9264
PATRICIA KASZA                         717 CLAIRE POINTE DR                                                                        SAINT CLAIR SHORES   MI   48081‐2904
PATRICIA KATHLEEN ALLAN                C/O BARON & BUDD PC           THE CENTRUM SUITE 1100   3102 QAK LAWN AVE                    DALLAS               TX   75219‐4281
PATRICIA KATZ                          66 SIVON DR                                                                                 PAINESVILLE          OH   44077‐4966
PATRICIA KATZER                        3444 EAGLE DR                                                                               TROY                 MI   48083‐5634
PATRICIA KAUFMANN                      238 SE 15TH ST                                                                              CAPE CORAL           FL   33990‐0614
PATRICIA KAVENEY                       1104 BLACK RD                                                                               JOLIET               IL   60435‐3920
PATRICIA KEEHN                         1168 WHEATONA CT                                                                            GLADWIN              MI   48624‐7911
PATRICIA KEEN                          1900 HELLARD RD                                                                             ANNVILLE             KY   40402‐9019
PATRICIA KEENAN                        281 CENTRAL AVE FL 1                                                                        RAHWAY               NJ   07065‐3326
PATRICIA KELLERMANN                    1566 THALIA AVE                                                                             YOUNGSTOWN           OH   44514‐1137
PATRICIA KELLEY                        103 PERRY ST APT 109                                                                        GRAND LEDGE          MI   48837‐1390
PATRICIA KELLEY                        1228 W HAMPTON RD                                                                           ESSEXVILLE           MI   48732‐9703
PATRICIA KELLOGG                       409 WASS ST                                                                                 FENTON               MI   48430‐1581
PATRICIA KELLUM                        1154 GREENSTONE LN                                                                          FLINT                MI   48532‐3542
PATRICIA KELTNER                       4356 W MAPLE AVE                                                                            FLINT                MI   48507‐3126
PATRICIA KELTNER                       1035 WELLMAN STREET                                                                         FLINT                MI   48532‐5083
PATRICIA KENDRICK                      20427 ROGGE ST                                                                              DETROIT              MI   48234‐3034
PATRICIA KENDRICK                      1318 OVERLOOK DR                                                                            CLEARFIELD           PA   16830‐1124
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Name                  Address1                         Address2                    Address3   Address4         City            State Zip
PATRICIA KENNEDY      7200 PINE KNOB RD                                                                        CLARKSTON        MI 48348‐4821
PATRICIA KENNEDY      221 DIEHL SOUTH RD                                                                       LEAVITTSBURG     OH 44430‐9405
PATRICIA KENNEMUTH    3908 COLONIAL DR                                                                         ANDERSON         IN 46012‐9443
PATRICIA KENT         PO BOX 05538                                                                             DETROIT          MI 48205
PATRICIA KERR         1645 THISTLE CT                                                                          CANTON           MI 48188‐3085
PATRICIA KETCHAM      C/O KRISTINE A THOBEN            1707 BETHANY ROAD APT 204                               ANDERSON         IN 46012
PATRICIA KEYSER       2307 ROSEVIEW DR                                                                         TOLEDO           OH 43613‐2152
PATRICIA KIDD         1390 ANDERS RD                                                                           LONDON           KY 40744‐7831
PATRICIA KIDWELL      6028 GOSHEN RD                                                                           GOSHEN           OH 45122‐9449
PATRICIA KIDWELL      3512 WILLIAMS DR                                                                         KOKOMO           IN 46902‐7504
PATRICIA KIENZLE      5190 CREEKMONTE DR                                                                       ROCHESTER        MI 48306‐4793
PATRICIA KIMBROUGH    8511 JEFFRIES AVE                                                                        CLEVELAND        OH 44105‐6557
PATRICIA KIMMEL       101 VILLAGE HILL DR                                                                      SPENCERPORT      NY 14559‐1417
PATRICIA KINCADE      1861 LAKE ST                                                                             BONNE TERRE      MO 63628‐8745
PATRICIA KINDLER      21307 STATE HIGHWAY C                                                                    CASSVILLE        MO 65625‐8633
PATRICIA KING         3817 KELLAR AVE                                                                          FLINT            MI 48504‐3750
PATRICIA KING         6882 DOWNS RD NW                 C/O PAMELA VON BERGEN                                   WARREN           OH 44481‐9413
PATRICIA KING         970 TAYLORSVIEW DR                                                                       VANDALIA         OH 45377‐3230
PATRICIA KING         1712 E 1000 N                                                                            ALEXANDRIA       IN 46001‐8216
PATRICIA KING         4786 DOROTHY ST                                                                          VASSAR           MI 48768‐1564
PATRICIA KING         13286 WHITE PINE DR                                                                      DEWITT           MI 48820‐9200
PATRICIA KING         1919 16TH ST                                                                             PORT HURON       MI 48060‐6132
PATRICIA KINGSLEY     35 W BROWN RD APT 147                                                                    MESA             AZ 85201‐3485
PATRICIA KIOGIMA      30411 SPYBROOK ST                                                                        ROSEVILLE        MI 48066‐1422
PATRICIA KIRBY        8350 BLACKBERRY ROAD                                                                     FORT MYERS       FL 33967‐7407
PATRICIA KIRCHMEIER   1076 N STEWART RD                                                                        CHARLOTTE        MI 48813‐9355
PATRICIA KIRIN        1014 YANKEE CT                                                                           WARRENTON        MO 63383‐7094
PATRICIA KIRKLAND     11115 QUARRY RD                                                                          FORESTVILLE      NY 14062‐9719
PATRICIA KIRVEN       416 BOSS RD                                                                              CHICKAMAUGA      GA 30707‐3810
PATRICIA KISABETH     38602 AVONDALE ST                                                                        WESTLAND         MI 48186
PATRICIA KISOR        605 COMMUNITY ST                                                                         LANSING          MI 48906‐3225
PATRICIA KISZA        PO BOX 421                                                                               BUTLER           NJ 07405‐0421
PATRICIA KLEIN        2810 WEAVER LN                                                                           BATAVIA           IL 60510‐7686
PATRICIA KLEIN        701 KOLEHOUSE RD PVT                                                                     SPARTA           MI 49345
PATRICIA KLIMA        6787 GATES DR                                                                            DERBY            NY 14047‐9534
PATRICIA KLINE        183 B PINNACLE RD W                                                                      HOLTWOOD         PA 17532
PATRICIA KMIECIK      52638 DEERWOOD DR                                                                        MACOMB           MI 48042‐3416
PATRICIA KNAMILLER    100 LYONIA LN                                                                            WILDWOOD         FL 34785‐9215
PATRICIA KNIGHT       255 EDGEMARK ACRES                                                                       MERIDEN          CT 06451‐3658
PATRICIA KNUTH        6605 HALLOWAY LN                                                                         LANSING          MI 48917‐9290
PATRICIA KOCOL        42 TRUMPET DR                                                                            W CARROLLTON     OH 45449‐2264
PATRICIA KOGER        265 SHOREHAM LN                                                                          TOLEDO           OH 43612‐4550
PATRICIA KOLE         PO BOX 246                                                                               COMSTOCK PARK    MI 49321‐0246
PATRICIA KOLESSER     11755 PLAINFIELD RD                                                                      NEW CONCORD      OH 43762‐9780
PATRICIA KOLKA        11704 LONGDEN AVE                                                                        PINCKNEY         MI 48169‐9020
PATRICIA KOMAR        219 S VIRGINIA ST                                                                        ANTIGO           WI 54409‐2564
PATRICIA KOOMEN       192 E WATERLOO ST                                                                        CASNOVIA         MI 49318‐9715
PATRICIA KOONCE       461 SPIRE POINT DR                                                                       REDDING          CA 96003‐5384
PATRICIA KOONTZ       1409 W NORTH ST                                                                          KOKOMO           IN 46901‐1954
PATRICIA KOOS         2278 NARROW LAKE RD                                                                      CHARLOTTE        MI 48813‐9159
PATRICIA KOPIE        C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST            22ND FL                     BALTIMORE        MD 21201
                      ANGELOS
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Name                   Address1                        Address2          Address3         Address4         City              State Zip
PATRICIA KOPNICK       5380 COLDWATER RD                                                                   COLUMBIAVILLE      MI 48421‐8986
PATRICIA KOREIVO       423 CARR ST                                                                         FORKED RIVER       NJ 08731‐1609
PATRICIA KORSOG        352 CHARLES RD                                                                      ROCHESTER          MI 48307‐1607
PATRICIA KORTE         6045 N MAIN ST APT 234                                                              DAYTON             OH 45415‐3197
PATRICIA KORTUM        644 LAKE ST                                                                         ANGOLA             NY 14006‐9633
PATRICIA KOSCINSKI     131 HILLVIEW DR                                                                     HUBBARD            OH 44425‐1240
PATRICIA KOSSAKOWSKI   2332 PLEASANT VIEW DR                                                               ROCHESTER HILLS    MI 48306‐3145
PATRICIA KOTHE         1299 CLEARVIEW                                                                      WATERFORD          MI 48327‐2975
PATRICIA KOVAC         1300 BARNER HILL RD                                                                 N HUNTINGDON       PA 15642‐9572
PATRICIA KOVACICH      835 SHADY LN NE                                                                     WARREN             OH 44484‐1637
PATRICIA KOVAL         4162 CULLEN RD                                                                      FENTON             MI 48430‐9329
PATRICIA KOWALEWSKI    138 ZENNER ST                                                                       BUFFALO            NY 14211‐1731
PATRICIA KOWALEWSKI    33615 ASH RD                                                                        NEW BOSTON         MI 48164‐9539
PATRICIA KOZLOWSKI     311 W SHERIDAN AVE                                                                  NAMPA              ID 83686‐2759
PATRICIA KRAIN         2186 PATERNO AVE                                                                    LAS VEGAS          NV 89123‐3984
PATRICIA KRAMER        1150 SPERLING AVE                                                                   NAPLES             FL 34103‐2301
PATRICIA KRAPP         25265 ROAN AVE                                                                      WARREN             MI 48089‐4573
PATRICIA KRATZ         22700 SOUTH WEST HAMKIN COURT                                                       BLUE SPRINGS       MO 64015
PATRICIA KREBS         2698 N 350 W                                                                        ANDERSON           IN 46011‐8719
PATRICIA KREMPEL       9145 RUSSELL                                                                        PINCKNEY           MI 48169‐9435
PATRICIA KRESS         2809 ACORN DR                                                                       KETTERING          OH 45419‐2019
PATRICIA KRIER         206 KNOLLTON DR                                                                     MILLERSBURG        OH 44654‐1632
PATRICIA KRILEY        5678 JEANMARIE DR                                                                   HILLSBORO          MO 63050‐5432
PATRICIA KROLL         11469 ROOSEVELT RD                                                                  CARSON CITY        MI 48811‐9604
PATRICIA KRUISENGA     6057 8TH AVE #11 A                                                                  GRANDVILLE         MI 49418
PATRICIA KRUPA         PO BOX 90084                                                                        BURTON             MI 48509‐0084
PATRICIA KRZEWSKI      755 STROBEL AVE NW                                                                  GRAND RAPIDS       MI 49504‐4860
PATRICIA KUBEK         26389 TAWAS ST                                                                      MADISON HEIGHTS    MI 48071
PATRICIA KUBICHEK      678 WINDSOR RD                                                                      BRICK              NJ 08723‐6333
PATRICIA KUEFFER       N6831 DONLIN DR                                                                     PARDEEVILLE        WI 53954‐9476
PATRICIA KUERBITZ      232 S VALLEY ST APT 107                                                             WEST BRANCH        MI 48661‐1458
PATRICIA KUHMANN       266 STANTON LN                                                                      ROCHESTER          NY 14617‐5314
PATRICIA KUKUCKA       1004 OAK CREST CT                                                                   PLACERVILLE        CA 95667‐3455
PATRICIA KUNTZ         1605 STONEVIEW DR                                                                   KOKOMO             IN 46902‐5952
PATRICIA L ABBOTT      3690 ANDERSON ANTHONY RD                                                            LEAVITTSBURG       OH 44430‐9786
PATRICIA L ADKINS      12599 BELTON CT                                                                     PLYMOUTH           MI 48170‐2872
PATRICIA L ASHER       246 DEVONSHIRE ST                                                                   YPSILANTI          MI 48198‐6021
PATRICIA L BELLA       22 CHARLES ST                                                                       EDISON             NJ 08820
PATRICIA L BELMONT     328 MOSLEY ROAD                                                                     ROCHESTER          NY 14616
PATRICIA L BELMONT     328 MOSLEY RD                                                                       ROCHESTER          NY 14616‐2948
PATRICIA L BENJAMIN    601 N COLLEGE ST                                                                    GLENCOE            AL 35905‐1212
PATRICIA L BRABON      507 E BROAD ST                                                                      LINDEN             MI 48451‐8914
PATRICIA L BROWN       920 WINDSAIL COURT                                                                  MURRELLS INLET     SC 29576
PATRICIA L BRUNETT     155 FRAYNE DR.                                                                      NEW CARLISLE       OH 45344‐2908
PATRICIA L CARDENAS    433 E MAIN ST                                                                       IONIA              MI 48846‐2601
PATRICIA L CROUCH      98 JEANETTE AVE                                                                     CENTERVILLE        OH 45458‐2304
PATRICIA L CUMMINGS    5709 GRIGGS DR                                                                      FLINT              MI 48504‐5005
PATRICIA L DAVIS       666 W BETHUNE ST APT 405                                                            DETROIT            MI 48202‐2743
PATRICIA L DEAN        8966 DAYTON OXFORD ROAD                                                             FRANKLIN           OH 45005
PATRICIA L EDINGTON    PO BOX 8815                                                                         WARREN             OH 44484
PATRICIA L FENSCH      6254 LAKE DR                                                                        YPSILANTI          MI 48197‐7055
PATRICIA L FENSCH      6254 LAKE DR #318                                                                   YPSILANTI          MI 48197
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Name                    Address1                       Address2            Address3         Address4         City              State Zip
PATRICIA L FLEGE        7867 LOCKPORT BLVD                                                                   DAYTON             OH 45459
PATRICIA L GRAHAM       625 KAMMER AVE                                                                       DAYTON             OH 45417
PATRICIA L HARMON       10289 BROSIUS RD                                                                     GARRETTSVILLE      OH 44231
PATRICIA L HATFIELD     4057 WESTLAKE RD                                                                     CORTLAND           OH 44410‐9224
PATRICIA L HIGLEY       330 SOUTH ST SE                                                                      CALEDONIA          MI 49316‐9433
PATRICIA L HILL         1386 E FOREST AVE                                                                    YPSILANTI          MI 48198‐3984
PATRICIA L HILL         6610 GREEN BRANCH DR APT 4                                                           DAYTON             OH 45459
PATRICIA L HOPE         PO BOX 142                                                                           TUNNEL HILL        GA 30755‐0142
PATRICIA L HORTON       3614 COURTWOOD AVENUE                                                                DAYTON             OH 45407‐1113
PATRICIA L HOUK         5047 LAUDERDALE                                                                      MORAINE            OH 45439‐2926
PATRICIA L HOWARD       3170 AUTUMN RIDGE CT                                                                 DAYTON             OH 45414‐2311
PATRICIA L HULL         338 N HARDESTY AVE                                                                   KANSAS CITY        MO 64123‐1468
PATRICIA L HUTCHISON    6957 EMERALD AVE                                                                     ENON               OH 45323‐1470
PATRICIA L IZOR         4850 MEDLAR RD                                                                       MIAMISBURG         OH 45342
PATRICIA L LAMBERT      4117 NATCHEZ AVE                                                                     DAYTON             OH 45416‐1522
PATRICIA L LORENZO      1080 E LAKE DR                                                                       TRANSFER           PA 16154
PATRICIA L LUNAR        608 PARKMAN RD NW                                                                    WARREN             OH 44485‐2846
PATRICIA L MEDLIN       1207 CASE AVE                                                                        MIAMISBURG         OH 45342‐2541
PATRICIA L NELMAN       1205 NIBLOCK AVE NW                                                                  WARREN             OH 44485
PATRICIA L NEWTON       211 HALL AVENUE                                                                      DAYTON             OH 45404‐1534
PATRICIA L NICHOLS      7720 N DAKOTA ST                                                                     SPOKANE            WA 99208‐5607
PATRICIA L ONEAL        6576 N DORT HWY LOT 12                                                               FLINT              MI 48505‐2365
PATRICIA L PEREZ        3897 BURKEY RD                                                                       YOUNGSTOWN         OH 44515
PATRICIA L PETERS       990 ST RT 121                                                                        NEW PARIS          OH 45347
PATRICIA L PETERS       990 STATE ROUTE 121 N                                                                NEW PARIS          OH 45347‐9129
PATRICIA L RAKESTRAW    1116 WILSON DR                                                                       DAYTON             OH 45402
PATRICIA L RAYLE        1638 S FULS RD                                                                       NEW LEBNON         OH 45345‐9780
PATRICIA L REID         4738 CALHOUN ST                                                                      INDIANAPOLIS       IN 46203‐3509
PATRICIA L RIGGSBY      916 WILSON AVE                                                                       BRISTOL            TN 37620
PATRICIA L ROBINSON     28 MCDERMOTT STREET                                                                  FREEHOLD           NJ 07728‐2419
PATRICIA L SHAFFER      2637 LEXINGTON AVE                                                                   WARREN             OH 44485
PATRICIA L SLONE        1635 PARKWOOD AVE                                                                    YPSILANTI          MI 48198‐6037
PATRICIA L STEVENS      1617 LISCUM DR                                                                       DAYTON             OH 45418
PATRICIA L UPTON        2000 14TH AVE                                                                        PHENIX CITY        AL 36867
PATRICIA L WESTON       4906 ALBERTLY AVE                                                                    PARMA              OH 44134‐3326
PATRICIA L WETHY        11426 HARVARD AVE NE                                                                 ROCKFORD           MI 49341‐9551
PATRICIA L WILSON       251 AIR ST                                                                           DAYTON             OH 45404
PATRICIA L WOGOMAN      108 GLENWOOD DR 177                                                                  GREENVILLE         OH 45331
PATRICIA L WORKMAN      5110 GRAND BLVD                                                                      NEWTON FALLS       OH 44444‐1009
PATRICIA L. SHELTON
PATRICIA LA BARGE       1206 W TOBIAS RD                                                                     CLIO              MI   48420‐1777
PATRICIA LA FRAMBOISE   9099 DUFFIELD RD                                                                     MONTROSE          MI   48457‐9116
PATRICIA LA LONDE       3367 FLAGLER CIRCLE                                                                  MIDLAND           NC   28107
PATRICIA LA MANTIA      439 70TH ST                                                                          NIAGARA FALLS     NY   14304‐3227
PATRICIA LABROSCIANO    11839 SOMERSET RD                                                                    ORLAND PARK       IL   60467‐1424
PATRICIA LACOMBE        2300 W LACOMB RD                                                                     ALPENA            MI   49707‐9312
PATRICIA LADUKE         PO BOX 90674                                                                         BURTON            MI   48509‐0674
PATRICIA LAGROIS        1313 WAGON WHEEL LN                                                                  ROCHESTER HILLS   MI   48306‐4251
PATRICIA LAHRING        4065 COUNTY ROAD 489 489                                                             ONAWAY            MI   49765
PATRICIA LAIRD          1312 S DURAND RD                                                                     LENNON            MI   48449‐9696
PATRICIA LAIRD          42836 FANCHON AVE                                                                    LANCASTER         CA   93536‐1160
PATRICIA LAMAR          1528 EMILY ST                                                                        SAGINAW           MI   48601‐3036
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Name                    Address1                         Address2                     Address3   Address4         City               State Zip
PATRICIA LAMBERT        4117 NATCHEZ AVE                                                                          DAYTON              OH 45416‐1522
PATRICIA LAMBERT        6490 STATE ROAD 39                                                                        MARTINSVILLE        IN 46151‐9185
PATRICIA LANCZAK        3881 TOWNLINE RD                                                                          STANDISH            MI 48658‐9109
PATRICIA LANDES         119 CARDINAL LN                                                                           ALEXANDRIA          IN 46001‐8104
PATRICIA LANDRY         PO BOX 121                                                                                CHATEAUGAY          NY 12920‐0121
PATRICIA LANDSKROENER   204 PROVINCIAL CT UNIT 67                                                                 SAGINAW             MI 48638‐6145
PATRICIA LANE‐WATKINS   PO BOX 310692                                                                             FLINT               MI 48531‐0692
PATRICIA LANEY          145 WARREN ST APT 7                                                                       MADISONVILLE        TN 37354‐1062
PATRICIA LANG           3829 WILLIAM HUME DR                                                                      ZEPHYRHILLS         FL 33541‐2385
PATRICIA LANGDON        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
PATRICIA LANGE          4663 CLEAR LAKE RD                                                                        NORTH BRANCH        MI 48461‐8510
PATRICIA LANGLOIS       13618 BROUGHAM DR                                                                         STERLING HEIGHTS    MI 48312‐4115
PATRICIA LAPINE         630 ATLANTA ST                                                                            SAGINAW             MI 48604‐2230
PATRICIA LAPINSKY       3069 S AIRPORT RD                                                                         BRIDGEPORT          MI 48722‐9627
PATRICIA LAPORTE        53 CHASE ST                                                                               MASSENA             NY 13662‐1320
PATRICIA LAPP           2607 SARGON ST                                                                            HENDERSON           NV 89044‐4425
PATRICIA LAREAU         3879 EAST SHORE DR                                                                        STANTON             MI 48888
PATRICIA LARKIN         343 FILLMORE CT                                                                           DAVISON             MI 48423
PATRICIA LATOUR         8890 CHERRY HILL RD                                                                       YPSILANTI           MI 48198‐9419
PATRICIA LAUER          35522 LUCERNE ST                                                                          CLINTON TWP         MI 48035‐2743
PATRICIA LAWHORN        4545 WOODCROFT CV                                                                         SNELLVILLE          GA 30039‐6500
PATRICIA LAWRENCE       6632 ROYAL PKWY N                                                                         LOCKPORT            NY 14094‐6641
PATRICIA LAWRENCE       1224 S JAY ST                                                                             KOKOMO              IN 46902‐1751
PATRICIA LAWSTON        2887 LAWTON AVENUE               BOX 10465                                                BRONX               NY 10465
PATRICIA LAYNE          2162 MILL ST                                                                              LINCOLN PARK        MI 48146‐2288
PATRICIA LE BEAU        2314 CROSSINGS CIR                                                                        DAVISON             MI 48423‐8659
PATRICIA LEASE          3848 DAVISON RD                                                                           LAPEER              MI 48446‐2805
PATRICIA LEAVITT        4894 TOWERLINE RD                                                                         HALE                MI 48739‐9094
PATRICIA LEBOEUF        14735 PARIS ST                                                                            ALLEN PARK          MI 48101‐3511
PATRICIA LECLAIRE       505 S AVERY ST                                                                            MOORE               OK 73160‐7311
PATRICIA LEE            617 FAIRMOUNT AVE NE                                                                      WARREN              OH 44483‐5244
PATRICIA LEE            607 PINE TRL                                                                              HONEOYE FALLS       NY 14472‐1155
PATRICIA LEE            109 ROCKBRIDGE RD                                                                         STEPHENS CITY       VA 22655
PATRICIA LEETH          14950‐7 E INDIAN HILLS RD                                                                 NEWALLA             OK 74857‐7104
PATRICIA LEFEVRE        235 E SAGINAW HWY APT 3                                                                   GRAND LEDGE         MI 48837‐2139
PATRICIA LEHMAN         327 CATHY DR                                                                              LAKELAND            FL 33815‐3420
PATRICIA LEHMANN        4233 S US HIGHWAY 23                                                                      GREENBUSH           MI 48738‐9744
PATRICIA LEPCZYK        PO BOX 117                                                                                BIRCH RUN           MI 48415‐0117
PATRICIA LESINSKI       177 LOWELL LN                                                                             WEST SENECA         NY 14224‐1546
PATRICIA LESLIE         1488 OAKBROOK E                                                                           ROCHESTER HILLS     MI 48307‐1126
PATRICIA LESTER         7810 N 128TH EAST AVE                                                                     OWASSO              OK 74055‐7950
PATRICIA LEVANDOSKI     10385 ALPINE AVE                                                                          SPARTA              MI 49345‐9355
PATRICIA LEWIS          16270 SPENCER RD                                                                          HEMLOCK             MI 48626‐9760
PATRICIA LEWIS          6392 SMOKE RISE TRL                                                                       GRAND BLANC         MI 48439‐4860
PATRICIA LEWIS          PO BOX 361                                                                                NEWCASTLE           OK 73065‐0361
PATRICIA LEWIS          210 ASTORWOOD ST                                                                          PONTIAC             MI 48341‐2702
PATRICIA LEWIS          18410 N 108TH DR                                                                          SUN CITY            AZ 85373‐1503
PATRICIA LEWIS          69 WAMPLER DR                                                                             ARNOLD              MO 63010‐3863
PATRICIA LEWIS          2939 WINCHESTER PIKE                                                                      COLUMBUS            OH 43232‐4828
PATRICIA LEWIS          1080 BANGOR RD                                                                            WATERFORD           MI 48328‐4718
PATRICIA LIEBROCK       15577 FOWLER RD                                                                           OAKLEY              MI 48649‐9756
PATRICIA LIEPOLD        5160 ALVA AVE NW                                                                          WARREN              OH 44483‐1210
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Name                  Address1                            Address2        Address3         Address4         City              State Zip
PATRICIA LIESTMAN     1801 RALEIGH AVE                    APT 20                                            LAPEER             MI 48445
PATRICIA LIGHTNER     2031 HOLDERNESS DRIVE                                                                 UNION              KY 41091‐8287
PATRICIA LIMARDI      11 LAUREL RUN                                                                         CHEEKTOWAGA        NY 14225‐5518
PATRICIA LIMEBERRY    36 LINCOLN AVE                                                                        BEDFORD            IN 47421‐1611
PATRICIA LINCOLN      11134 BIRCH RUN RD                                                                    BIRCH RUN          MI 48415‐9439
PATRICIA LINDLEY      341 HEIRLOOM DR                                                                       FORT WORTH         TX 76134‐3950
PATRICIA LINDQUIST    275 SUNNY SIDE DR                                                                     LIBBY              MT 59923‐9650
PATRICIA LINDSAY      635 NE 83RD ST                                                                        KANSAS CITY        MO 64118‐1384
PATRICIA LINGO        5122 LAWN AVE                                                                         WESTERN SPRINGS     IL 60558‐1842
PATRICIA LINT         714 W WILLOW ST                                                                       LANSING            MI 48906‐4781
PATRICIA LINTON       357 S FROST DR                                                                        SAGINAW            MI 48638‐6052
PATRICIA LINVILLE     1500 IMPERIAL DR                                                                      KOKOMO             IN 46902‐5619
PATRICIA LIPPINCOTT   245 DOUGLAS AVE                                                                       LANSING            MI 48906‐4032
PATRICIA LITTLE       4333 WEBSTER RD                                                                       FLUSHING           MI 48433‐9054
PATRICIA LITTLE       1736 COUNCIL DR                                                                       SUN CITY CENTER    FL 33573‐5235
PATRICIA LITWILLER    8318 COOK RD                                                                          SWARTZ CREEK       MI 48473‐9130
PATRICIA LIVINGSTON   4193 N PARK AVE                                                                       WARREN             OH 44483‐1529
PATRICIA LLINAS       2610 WYCKHAM DR                                                                       LANSING            MI 48906‐3451
PATRICIA LLOYD        594 N HARRIS RD                                                                       YPSILANTI          MI 48198‐4169
PATRICIA LLOYD        3200 SHAKERTOWN RD                                                                    BEAVERCREEK        OH 45434‐5931
PATRICIA LLOYD        52 NATASHA DR                                                                         NOBLESVILLE        IN 46062‐8429
PATRICIA LOAR         5521 S BUCKHORN AVE                                                                   CUDAHY             WI 53110‐2601
PATRICIA LOFTON       1293 ROLLING HILLS AVE NE                                                             BROOKHAVEN         MS 39601‐8400
PATRICIA LOGAN        4477 MYRTLE AVE                                                                       GASPORT            NY 14067‐9229
PATRICIA LOGAN        1979 BARTHOLOMEW DR                                                                   HERMITAGE          PA 16148‐1536
PATRICIA LOLLEY       2715 SALES LANDING RD                                                                 CAMDEN             TN 38320‐7612
PATRICIA LOMBARDO     5621 HICKOCK ST                                                                       ORCHARD LAKE       MI 48324‐1123
PATRICIA LONG         PO BOX 5444                                                                           PLAINFIELD         NJ 07061‐5444
PATRICIA LONG         15 CENTER ST                                                                          OXFORD             MI 48371‐4616
PATRICIA LONG         2318 MAY LN                                                                           GRAND PRAIRIE      TX 75050‐2921
PATRICIA LONG         714 PASADENA AVE                                                                      NIAGARA FALLS      NY 14304‐3542
PATRICIA LONG         5125 KILBURN RD                                                                       SYLVANIA           OH 43560‐9618
PATRICIA LOREE        1639 PORTAL DR NE                                                                     WARREN             OH 44484‐1134
PATRICIA LOSO         7970 S LONG MEADOW DR                                                                 OAK CREEK          WI 53154‐3148
PATRICIA LOVELAND     591 GARFIELD AVE                                                                      MOUNT MORRIS       MI 48458‐1519
PATRICIA LOVELAND     333 N CAPITAL AVE                                                                     ATHENS             MI 49011‐9733
PATRICIA LOVELL       PO BOX 1235                                                                           MANCHESTER         VT 05254‐1235
PATRICIA LOVERRO      303 CHESTNUT ST                                                                       CLINTON            MA 01510‐2615
PATRICIA LOVETT       8419 PEACHEY RD                                                                       BERGEN             NY 14416‐9502
PATRICIA LOWE         PO BOX 176                          12803 ERIE ST                                     IRVING             NY 14081‐0176
PATRICIA LOWE         1606 S WASHINGTON ST                                                                  KOKOMO             IN 46902‐2009
PATRICIA LOWE         901 COUNTY ROAD 1990                                                                  WILLOW SPRINGS     MO 65793‐3363
PATRICIA LOWERY       27851 MIDDLE POINTE DR UNIT 113Q                                                      HARRISON TWP       MI 48045‐6833
PATRICIA LOWERY       6401 CLOVIS AVE                                                                       FLUSHING           MI 48433‐9043
PATRICIA LOWERY       900 MARKET ST APT 206                                                                 MEADVILLE          PA 16335‐3351
PATRICIA LOWREY       6386 CLUB COURT WEST 29                                                               GRAND BLANC        MI 48439
PATRICIA LUCHSINGER   1713 W AVALON RD                                                                      JANESVILLE         WI 53546‐8955
PATRICIA LUCKETT      3519 EVERGREEN PKWY                                                                   FLINT              MI 48503‐4581
PATRICIA LUCKMANN     3320 N 99TH ST                                                                        MILWAUKEE          WI 53222‐3416
PATRICIA LUKASIK      221 BELMONT CT W                                                                      N TONAWANDA        NY 14120‐4865
PATRICIA LUKES        103 DEVRIES CT                                                                        PIERMONT           NY 10968‐1055
PATRICIA LULL         17701 E 17TH TERRACE CT S APT 306                                                     INDEPENDENCE       MO 64057‐2030
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Name                              Address1                      Address2                  Address3   Address4         City            State Zip
PATRICIA LUNAR                    608 PARKMAN RD NW                                                                   WARREN           OH 44485‐2846
PATRICIA LUNDBERG                 PO BOX 380                                                                          GALVESTON        IN 46932‐0380
PATRICIA LUNDY                    1831 LAUREL OAK DR                                                                  FLINT            MI 48507‐2253
PATRICIA LUNSFORD                 1476 MAPLEGROVE DR                                                                  FAIRBORN         OH 45324‐3545
PATRICIA LUTTMAN                  130 LISTER ST                                                                       SHREVEPORT       LA 71101‐5018
PATRICIA LYKINS                   3508 VENICE RD                                                                      SANDUSKY         OH 44870‐1749
PATRICIA LYLE LEHMANN             2230 MCDONOUGH ST RM A4                                                             JOLIET            IL 60436
PATRICIA LYNCH                    10803 WEST SOUTHERN AVE.                                                            TOLLESON         AZ 85353
PATRICIA LYNCH ASSOCIATES         STE 1105                      677 BROADWAY                                          ALBANY           NY 12207‐2989
PATRICIA LYNCH ASSOCIATES, INC.   CHRIS GRIMALDI                677 BROADWAY STE 1105                                 ALBANY           NY 12207‐2989
PATRICIA LYONS                    2732 SKELTON LN               C/O PATRICK ALAN LYONS                                BLACKLICK        OH 43004‐8741
PATRICIA LYSHER                   507 CERVINA DR N                                                                    VENICE           FL 34285‐4409
PATRICIA LYTLE                    4574 W HIGHTOWER LN                                                                 LECANTO          FL 34461‐7966
PATRICIA M AL‐ALI                 301 WESTWOOD AVE                                                                    SYRACUSE         NY 13211‐1523
PATRICIA M ALFRED                 7044 LILLIAN AVE                                                                    SAINT LOUIS      MO 63121‐3042
PATRICIA M ALLEN                  18413 PELLETT DR                                                                    FENTON           MI 48430‐8508
PATRICIA M AVEY                   PO BOX 317083                                                                       DAYTON           OH 45437
PATRICIA M BOLES                  1970 CLOVERBROOK DR.                                                                MINERAL RIDGE    OH 44440‐9519
PATRICIA M BOONE                  2582 CRESTWELL PL.                                                                  KETTERING        OH 45420‐3733
PATRICIA M CAMPBELL               5151 BAZETTA RD.                                                                    CORTLAND         OH 44410‐9519
PATRICIA M COLASANTI              4916 RIDGE ROAD EAST                                                                WILLIAMSON       NY 14589‐9389
PATRICIA M COOK                   805 BOSTON DR                                                                       KOKOMO           IN 46902‐6903
PATRICIA M CORNETT                1498 W SPRING VALLEY          PAINTERSVILLE RD APT 16                               SPRING VALLEY    OH 45370
PATRICIA M COTTER                 19057 IOWA ST                                                                       ROSEVILLE        MI 48066‐1331
PATRICIA M DANDREA                8938 BRIARBROOK DR NW                                                               WARREN           OH 44484‐1741
PATRICIA M DOSS                   745 WASHINGTON AVE                                                                  GREENVILLE       OH 45331‐1265
PATRICIA M DUKES                  6000 BRUSH ST APT 1                                                                 DETROIT          MI 48202‐3567
PATRICIA M DUNLAP                 180 W RICHTON RD APT 103                                                            CRETE             IL 60417‐1943
PATRICIA M EADDY                  12660 TUTTLEHILL RD                                                                 MILAN            MI 48160‐9171
PATRICIA M ECKENRODE              2293 WESTVIEW DR                                                                    CORTLAND         OH 44410
PATRICIA M FILIPOVICH             716 LAURELWOOD DR SE                                                                WARREN           OH 44484
PATRICIA M FLANAGAN               1777‐4 STONE ROAD                                                                   ROCHESTER        NY 14615‐1664
PATRICIA M FLANNERY               13475 BARNETT MILL RD.                                                              BAINBRIDGE       OH 45612
PATRICIA M FOSTER                 7080 NORTHERN PL APT 43                                                             DORAVILLE        GA 30360‐1800
PATRICIA M GUSCAR                 1212 PIERCE AVE.                                                                    SHARPSVILLE      PA 16150
PATRICIA M HABOWSKI               810H S XENIA DR APT H                                                               ENON             OH 45323
PATRICIA M HARDIN                 514 ALEXANDER                                                                       DAYTON           OH 45403
PATRICIA M IVORY                  1017 DENNISON AVE                                                                   DAYTON           OH 45408
PATRICIA M JACKSON                3911 BIRCHWOOD CT.                                                                  NO. BRUNSWICK    NJ 08902
PATRICIA M JACKSON                808 E KIRBY AVE                                                                     MUNCIE           IN 47302
PATRICIA M KEENAN                 28 GATES MANOR DR.                                                                  ROCHESTER        NY 14606‐‐ 48
PATRICIA M KLINE                  1639 SARASOTA DR                                                                    TOLEDO           OH 43612‐4056
PATRICIA M KNUDSON                3531 GRANGER AVE W                                                                  BILLINGS         MT 59102
PATRICIA M KOLKA                  11704 LONGDEN AVE                                                                   PINCKNEY         MI 48169‐9020
PATRICIA M MC CLINTOCK            PO BOX 70                                                                           CRYSTAL RIVER    FL 34423‐0070
PATRICIA M PAYNE                  3117 RUSHLAND DR                                                                    KETTERING        OH 45419‐2152
PATRICIA M POPOUR                 869 WOODLAND AVE                                                                    PONTIAC          MI 48340‐2567
PATRICIA M REARDON                1677 FALL HAVEN DRIVE                                                               COLUMBUS         OH 43235
PATRICIA M REDMOND                280 DAKOTA AVE                                                                      MC DONALD        OH 44437‐1566
PATRICIA M REESE                  403 WOODLAND VILLAGE                                                                BIRMINGHAM       AL 35216‐1121
PATRICIA M ROWE                   706 WILHELM RD                                                                      HERMITAGE        PA 16148‐3751
PATRICIA M SCHELL                 321 S ANDRE ST # 2                                                                  SAGINAW          MI 48602‐2521
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Name                       Address1                         Address2                       Address3                    Address4         City            State Zip
PATRICIA M SMITH           980 NORTH MAIN ST                                                                                            FRANKLIN         OH 45005‐1651
PATRICIA M SMITH           351 JAYBIRD LN                                                                                               GRAYSON          KY 41143‐8280
PATRICIA M STASHINKO       2644 BLACK OAK DR                                                                                            NILES            OH 44446‐4469
PATRICIA M STEWART         5910 APT. 409 MACDUFF                                                                                        TROTWOOD         OH 45426
PATRICIA M THOMPSON        383 ATWOOD ST.                                                                                               WARREN           OH 44483‐2116
PATRICIA M WALTON          9038 N GENESEE RD                                                                                            MOUNT MORRIS     MI 48458‐9729
PATRICIA M WARD            522 BURWELL ROAD                                                                                             LEAVITTSBURG     OH 44430‐9650
PATRICIA M WATKINS         13342 LAKEWOOD LOOP                                                                                          NORTHPORT        AL 35473‐7046
PATRICIA M WETZL           11326 BASSINGER RD.                                                                                          NORTH LIMA       OH 44452
PATRICIA M ZALLEN          3721 GLENWOOD AVE                                                                                            LANSING          MI 48910‐4709
PATRICIA M ZITNIK          4091 PLEASANT VALLEY LANE                                                                                    CANFIELD         OH 44406‐9308
PATRICIA M. CASEY
PATRICIA M. SKINNER        3689 BRIARWOOD COURT
PATRICIA MAC KINNON        2805 DRIFTWOOD DR                                                                                            NIAGARA FALLS   NY   14304‐4586
PATRICIA MACDONALD         11 EDINBORO PL                                                                                               NEWTONVILLE     MA   02460‐1509
PATRICIA MACFARLAND        2001 COUNTYLINE RD                                                                                           HOLLEY          NY   14470‐9213
PATRICIA MACKIE            13070 W PRAIRIE RD                                                                                           RUDYARD         MI   49780‐9230
PATRICIA MADDOX            911 RENAISSANCE WAY                                                                                          CONYERS         GA   30012‐8018
PATRICIA MADISON           3760 OLD WINCHESTER TRL                                                                                      XENIA           OH   45385‐8739
PATRICIA MADRIGAL          14200 PIERCE ST                                                                                              ARLETA          CA   91331‐5350
PATRICIA MAGEE             1257 E SIENA HEIGHTS DR                                                                                      ADRIAN          MI   49221‐1755
PATRICIA MAGILL            949 FLORIDA AVE                                                                                              MC DONALD       OH   44437‐1611
PATRICIA MAHONEY           1591 WEATHERSTONE DR                                                                                         ANN ARBOR       MI   48108‐3363
PATRICIA MAJADO            172 OREGON ST                                                                                                YPSILANTI       MI   48198‐7822
PATRICIA MAJESKI           1609 SUE AVE                                                                                                 MIAMISBURG      OH   45342‐3846
PATRICIA MAKOKHA           9209 HIDDEN OAKS DR                                                                                          GRAND BLANC     MI   48439‐2507
PATRICIA MALDONADO         37009 7 MILE RD                                                                                              LIVONIA         MI   48152‐1114
PATRICIA MALEKOVIC         6915 RON PARK PL                                                                                             BOARDMAN        OH   44512‐4339
PATRICIA MALES             5721 W STATE ROAD 132                                                                                        PENDLETON       IN   46064‐9098
PATRICIA MALINKY           9201 SE 179TH WESLEY ST                                                                                      THE VILLAGES    FL   32162‐0856
PATRICIA MALLORY           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS      OH   44236
PATRICIA MALONE            3733 BOSTON AVE SE                                                                                           WARREN          OH   44484‐3715
PATRICIA MALONE            15407 MEYERS RD                                                                                              DETROIT         MI   48227‐4097
PATRICIA MANDARINO
PATRICIA MANGOLD           17 6TH AVENUE                                                                                                LANCASTER       NY   14086‐3016
PATRICIA MANKOWSKI         9433 BRISTOL RD                                                                                              SWARTZ CREEK    MI   48473‐8592
PATRICIA MANN              7155 FHANER HWY                                                                                              POTTERVILLE     MI   48876‐9731
PATRICIA MANN              2300 E BRITTON RD                                                                                            MORRICE         MI   48857‐9745
PATRICIA MANOOGIAN         30778 PEAR TREE CT                                                                                           FLAT ROCK       MI   48134‐1591
PATRICIA MANTLE            61746 VALLEY FORGE DR UNIT 3                                                                                 SOUTH LYON      MI   48178‐1917
PATRICIA MANZO             1750 VERNON AVE NW                                                                                           WARREN          OH   44483‐3146
PATRICIA MAPLES            PO BOX 354                                                                                                   SPEEDWELL       TN   37870‐0354
PATRICIA MARBLY            21220 ANDOVER RD                                                                                             SOUTHFIELD      MI   48076‐3131
PATRICIA MARCHAND          3372 PONEMAH DR                                                                                              FENTON          MI   48430‐1349
PATRICIA MARCINCAVAGE      3725 N PARKER RD                                                                                             GOLDEN VALLEY   AZ   86413‐8804
PATRICIA MAREK‐KNETSCH     13071 BULLIS RD                                                                                              EAST AURORA     NY   14052‐9672
PATRICIA MARIE MELLINGER   ATTN ROBERT W PHILLIPS           C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                    EAST ALTON      IL   62024
                                                            ANGELIDES & BARNERD LLC      521

PATRICIA MARINO            12351 M 96                                                                                                   AUGUSTA         MI 49012‐8829
PATRICIA MARKS             5168 WOODCLIFF DR                                                                                            FLINT           MI 48504‐1259
PATRICIA MARLOW            135 VALLEYBROOK AVE                                                                                          BOWLING GREEN   KY 42101‐5030
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Name                   Address1                         Address2        Address3         Address4         City               State Zip
PATRICIA MARQUARDT     PO BOX 61881                                                                       FORT MYERS          FL 33906‐1881
PATRICIA MARSCH        1965 INNWOOD DR                                                                    YOUNGSTOWN          OH 44515‐4841
PATRICIA MARSH         G3367 MACKIN RD                                                                    FLINT               MI 48504‐3280
PATRICIA MARSHALL      600 S SAGINAW ST                                                                   DURAND              MI 48429‐1602
PATRICIA MARSHALL      2451 CUMBERLAND PKWY SOUTHEAST                                                     ATLANTA             GA 30339‐6136
PATRICIA MARSHALL      452 W RIVER PARK DR                                                                WEST BRANCH         MI 48661‐9279
PATRICIA MARTEL        1934 SUNDANCE RDG                                                                  HOWELL              MI 48843‐6911
PATRICIA MARTIN        152 SCHENCK BLVD                                                                   FLORAL PARK         NY 11001‐3737
PATRICIA MARTIN        PO BOX 833                                                                         FENTON              MI 48430‐0833
PATRICIA MARTIN        104 SEQUOIA DR                                                                     NEWTOWN             PA 18940‐9238
PATRICIA MARTIN        12137 SEYMOUR RD                                                                   MONTROSE            MI 48457‐9783
PATRICIA MARTIN        1786 HUNTERS COVE CIRCLE                                                           KOKOMO              IN 46902‐5180
PATRICIA MARTIN        3956 W STATE ROAD 128                                                              FRANKTON            IN 46044‐9305
PATRICIA MARTIN        5783 ODIN RD                                                                       HARTVILLE           MO 65667‐7243
PATRICIA MARTIN        6601 FERDEN RD                                                                     CHESANING           MI 48616‐9733
PATRICIA MARTIN        6109 POINSETTIA DR                                                                 SAGINAW             MI 48603‐1030
PATRICIA MARTINI       4 FULTON STREET                                                                    NANUET              NY 10954‐1107
PATRICIA MARTON        6510 N WILLIAMS RD                                                                 SAINT JOHNS         MI 48879‐8401
PATRICIA MASELLA       15870 CHESTNUT ST                                                                  ROSEVILLE           MI 48066‐2732
PATRICIA MASON         PO BOX 344                                                                         COURTLAND           AL 35618‐0344
PATRICIA MASON         W831 TAYLOR TRL                                                                    BRODHEAD            WI 53520‐9536
PATRICIA MASON         4620 ROYAL COVE DR                                                                 SHELBY TWP          MI 48316‐1500
PATRICIA MASON         1205 S STEWART RD                                                                  CHARLOTTE           MI 48813‐8347
PATRICIA MASOURIDIS    6291 MEISNER RD                                                                    CHINA               MI 48054‐3208
PATRICIA MASTERS       269 N EVERGREEN AVE                                                                ELMHURST             IL 60126‐2649
PATRICIA MATAS         2380 ROBINWOOD BLVD                                                                NEWTON FALLS        OH 44444‐1166
PATRICIA MATEO         6202 FARMSWOOD DR APT 2B                                                           FORT WAYNE          IN 46804‐8319
PATRICIA MATHENY       5041 NELSON CT                                                                     WADSWORTH            IL 60083‐8937
PATRICIA MATHER        1469 STATE HIGHWAY 2                                                               SHENANDOAH           IA 51601‐4555
PATRICIA MATHEWS       123 BELLA VISTA DR APT 18                                                          GRAND BLANC         MI 48439‐1587
PATRICIA MATNEY        102 BUFFALO RD                                                                     LAWRENCEBURG        TN 38464‐3106
PATRICIA MATSON        3506 PIFER ROAD S E #9                                                             OLYMPIA             WA 98501
PATRICIA MATTHEWS      PO BOX 7647                                                                        BLOOMFIELD HILLS    MI 48302‐7647
PATRICIA MAUCK         3273 W 300 N                                                                       ANDERSON            IN 46011‐9256
PATRICIA MAVRICH       370 FRANKLIN WRIGHT BLVD                                                           LAKE ORION          MI 48362‐1590
PATRICIA MAXSON        2881 MIDLAND RD                                                                    BAY CITY            MI 48706‐9266
PATRICIA MAXWELL       1900 S INDIANA AVE                                                                 KOKOMO              IN 46902‐2083
PATRICIA MAY           288 NORMAN DR                                                                      HIGHLAND            MI 48357‐3688
PATRICIA MAY HESTER    5499 RENSSELEAR DR                                                                 LAPEER              MI 48446‐9606
PATRICIA MAYCOCK       4947 LUCINDA DR                                                                    PRESCOTT            MI 48756‐9647
PATRICIA MAYFIELD      959 CHAMPION AVE E                                                                 WARREN              OH 44483‐1513
PATRICIA MAYHEW        11491 W CARSON CITY RD                                                             GREENVILLE          MI 48838‐8138
PATRICIA MAYNARD       22041 SYLVAN AVE                                                                   BROWNSTOWN          MI 48134‐9008
PATRICIA MAYNARD       50844 MIDDLE RIVER DR                                                              MACOMB              MI 48044‐1213
PATRICIA MAYNARD       HC 69 BOX 286                                                                      BEAUTY              KY 41203‐9702
PATRICIA MAYO          1108 LILLEY AVE                                                                    COLUMBUS            OH 43206‐1734
PATRICIA MAYRER        451 KETCHAM ST                                                                     DAYTON              OH 45431‐2123
PATRICIA MAYS          PO BOX 2967                                                                        TOLEDO              OH 43606‐0967
PATRICIA MAYWEATHER    12801 MACK AVE APT 203                                                             DETROIT             MI 48215‐2218
PATRICIA MC CABE       4298 VIENNA WAY                                                                    MARIETTA            GA 30062‐5722
PATRICIA MC CLANAHAN   19955 STRATFORD RD                                                                 DETROIT             MI 48221‐1863
PATRICIA MC CLELLAN    6175 LUCAS RD                                                                      FLINT               MI 48506‐1228
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Name                   Address1                           Address2         Address3         Address4            City               State Zip
PATRICIA MC CLELLAND   1113 VERDANT RD                                                                          TOMS RIVER          NJ 08753‐3577
PATRICIA MC CLINTOCK   PO BOX 70                                                                                CRYSTAL RIVER       FL 34423‐0070
PATRICIA MC CLINTON    PO BOX 3568                                                                              SHAWNEE             KS 66203‐0568
PATRICIA MC CUNE       4480 CLAGUE RD                                                                           NORTH OLMSTED       OH 44070
PATRICIA MC DADE       69 DAWN DR                                                                               CLARK               NJ 07066‐1401
PATRICIA MC DANIEL     546 FOX HILLS DR S                                                                       BLOOMFIELD HILLS    MI 48304‐1316
PATRICIA MC DONALD     601 FITZHUGH DR APT 328                                                                  TRAVERSE CITY       MI 49684‐6649
PATRICIA MC DOWELL     5460 NE JESSUP ST                                                                        PORTLAND            OR 97218‐2466
PATRICIA MC DOWELL     1271 REDLEAF LN                                                                          YPSILANTI           MI 48198‐3168
PATRICIA MC EACHERN    10265 SE 178TH ST                                                                        SUMMERFIELD         FL 34491‐7442
PATRICIA MC ELWAIN     827 EDENRIDGE DR                                                                         BOARDMAN            OH 44512‐3128
PATRICIA MC GURGAN     275 SUNDOWN TRL                                                                          WILLIAMSVILLE       NY 14221‐2243
PATRICIA MC INTOSH     1505 W MAIN ST                                                                           KALAMAZOO           MI 49006‐3103
PATRICIA MC MILLEN     22 PACKET BOAT DR                                                                        FAIRPORT            NY 14450‐1318
PATRICIA MC QUAID      138 SHOREWOOD LN                                                                         HOWELL              MI 48843‐9824
PATRICIA MCAFEE        1531 E PERRY ST                                                                          INDIANAPOLIS        IN 46227‐3154
PATRICIA MCBRIDE       6146 EMERALD DR                                                                          GRAND BLANC         MI 48439‐7809
PATRICIA MCCALE        5022 W WESTERN RESERVE RD                                                                CANFIELD            OH 44406‐9112
PATRICIA MCCARN        9545 DUCK RD                                                                             SAINT HELEN         MI 48656‐9753
PATRICIA MCCARTHY      2921 W DEWEY RD                                                                          OWOSSO              MI 48867‐9107
PATRICIA MCCLELLAN     1002 RIDGE RD                                                                            VIENNA              OH 44473‐9701
PATRICIA MCCLELLAN     8575 SEDONA RIDGE LN APT B                                                               INDIANAPOLIS        IN 46239‐8549
PATRICIA MCCLURE       203 COTTON RD                                                                            COMMERCE            GA 30529‐6309
PATRICIA MCCLUSKY      526 HAREFOOTE ST                                                                         HOLLAND             OH 43528‐9644
PATRICIA MCCONNEHA     29 TAMARAC TRL                                                                           BALTIMORE           MD 21220‐1361
PATRICIA MCCORMICK     419 NW 621ST RD                                                                          CENTERVIEW          MO 64019‐8160
PATRICIA MCCOWN        22912 GLENMOOR HTS                                                                       FARMINGTON HILLS    MI 48336‐3530
PATRICIA MCCOY         6919 GREENSVIEW VILLAGE DR                                                               CANAL WINCHESTER    OH 43110‐8373
PATRICIA MCCULLOUGH    1850 S 300 E                                                                             ANDERSON            IN 46017‐2042
PATRICIA MCCULLOUGH    4596 E 800 S                                                                             MARKLEVILLE         IN 46056‐9739
PATRICIA MCCURRY       6928 STARMOUNT DR                                                                        LAKELAND            FL 33810‐2206
PATRICIA MCDANIEL      49 WARM SPRINGS AVE                                                                      MARTINSBURG         WV 25404‐3888
PATRICIA MCDANIEL      103 N MULBERRY ST                                                                        CORNERSVILLE        TN 37047‐4206
PATRICIA MCDANIEL      3584 S COUNTY ROAD 850 E                                                                 WALTON              IN 46994‐9194
PATRICIA MCDAVITT      4708 VENICE HEIGHTS BLVD APT 207                                                         SANDUSKY            OH 44870‐1582
PATRICIA MCDONALD      1 BURLINGTON PL                                                                          WOODCLIFF LAKE      NJ 07677‐8300
PATRICIA MCDONALD      113 NEWTON ST                                                                            NORWALK             OH 44857‐1245
PATRICIA MCDONALD      2147 SULLIVAN RD                                                                         OXFORD              MI 48371‐3445
PATRICIA MCDOWELL      914 PARKRIDGE ST                                                                         HARRISONVILLE       MO 64701‐1496
PATRICIA MCFARLAND     1079 CLIFF WHITE RD                                                                      COLUMBIA            TN 38401‐6761
PATRICIA MCGAHEE       605 ODETTE ST                                                                            FLINT               MI 48503‐5165
PATRICIA MCGANN        1069 HYDE OAKFIELD RD                                                                    NORTH BLOOMFIELD    OH 44450‐9720
PATRICIA MCGEE         4180 N 210 E                                                                             MARION              IN 46952‐6633
PATRICIA MCGEE         925 FREDERICK ST                                                                         YPSILANTI           MI 48197‐5290
PATRICIA MCGILL        41735 POCATELLO DR                                                                       CANTON              MI 48187‐3827
PATRICIA MCGIVNEY      13184 SAINT GREGORYS RD                                              WINDSOR ON N8N4M4
                                                                                            CANADA
PATRICIA MCGOWAN       PO BOX 215 MCGOWAN                                                                       ABERDEEN           OH   45101
PATRICIA MCGUIRE       338 N HARDESTY AVE                                                                       KANSAS CITY        MO   64123‐1468
PATRICIA MCKAY         145 S SAGINAW ST                                                                         MONTROSE           MI   48457‐7714
PATRICIA MCKIDDIE      10512 W ATKINSON RD                                                                      BRIMLEY            MI   49715‐9091
PATRICIA MCKINLEY      746 N DEQUINCY ST                                                                        INDIANAPOLIS       IN   46201‐2941
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Name                    Address1                        Address2            Address3         Address4             City                State Zip
PATRICIA MCKINNEY       756 SHERWOOD AVE                                                                          YOUNGSTOWN           OH 44511‐1460
PATRICIA MCKINNEY       2894 W COUNTY ROAD 1000 N                                                                 BRAZIL               IN 47834‐7808
PATRICIA MCKINNON       175 SUSAN ST                                                                              FLORENCE             MS 39073‐8745
PATRICIA MCKNIGHT       6644 PARK LN                                                                              HILLSBORO            OH 45133‐9398
PATRICIA MCLEOD         SUITE 2801 120 WEST 2NDST                                            NORTH VANCOUVER BC
                                                                                             V7M‐1C3 CANADA
PATRICIA MCMILLAN       11 ELEANOR DR                                                                             LINCOLN UNIV        PA   19352‐9330
PATRICIA MCNAIR         14 SPARKS ST                                                                              TROTWOOD            OH   45426‐3015
PATRICIA MCNEAL         3027 CLANFIELD DR                                                                         FLORISSANT          MO   63031‐1531
PATRICIA MCVEA          PO BOX 34674                                                                              INDIANAPOLIS        IN   46234‐0674
PATRICIA MEAD           1839 RACCOON WAY                                                                          PENDLETON           IN   46064‐9064
PATRICIA MEDECKE        12201 E COUNTY ROAD 125 S                                                                 SELMA               IN   47383‐9321
PATRICIA MEDICH         745 JOY RD                                                                                BATTLE CREEK        MI   49014‐8450
PATRICIA MEGIER         31 PHEASANT RUN LN                                                                        LANCASTER           NY   14086‐1143
PATRICIA MELAND         8550 CRAWFORD                                                                             SHELBY TWP          MI   48316‐5109
PATRICIA MELITA         7860 ROLLING ACRES                                                                        SUPERIOR TOWNSHIP   MI   48198‐9555
PATRICIA MELTON         9704 S US HIGHWAY 191                                                                     SAFFORD             AZ   85546‐9255
PATRICIA MENNE          414 ADAMS                                                                                 BAY CITY            MI   48708
PATRICIA MENUEY         1338 LAFAYETTE AVE NE                                                                     GRAND RAPIDS        MI   49505‐5044
PATRICIA MERCHAND       1101 CHALEN DR                                                                            SAINT JOHNS         MI   48879‐8254
PATRICIA MERKEL         3916 SE 11TH PL APT 505                                                                   CAPE CORAL          FL   33904‐5130
PATRICIA MERNIN         623 ADMIRAL DR UNIT 202                                                                   ANNAPOLIS           MD   21401‐8736
PATRICIA MERRIWEATHER   3327 ROBERTS ST                                                                           SAGINAW             MI   48601‐3165
PATRICIA MERRIWEATHER   24 LOGAN CT                                                                               SICKLERVILLE        NJ   08081‐1948
PATRICIA MESCHKE        508 N DEAN ST                                                                             BAY CITY            MI   48706‐4621
PATRICIA METZ           1112 KARNES AVE                                                                           DEFIANCE            OH   43512‐3022
PATRICIA MEYER          5741 CHESTNUT HILL DR                                                                     CLARKSTON           MI   48346‐3007
PATRICIA MEYER          2469 WILEY ST                                                                             HOLLYWOOD           FL   33020
PATRICIA MEYER          6829 E 550 S                                                                              ELWOOD              IN   46036‐8525
PATRICIA MEYER          BOX 112                                                                                   WEST OLIVE          MI   49460
PATRICIA MEYERS         550 CLARKS VALLEY ROAD                                                                    DAUPHIN             PA   17018
PATRICIA MEYERS         303 CLINTON ST                                                                            LOCKPORT            NY   14094‐2409
PATRICIA MICHALAK       5683 S 92ND ST                                                                            HALES CORNERS       WI   53130‐2215
PATRICIA MICKENS        1411 RYAN ST                                                                              FLINT               MI   48532‐3746
PATRICIA MIDDLEBROOKS   PO BOX 432103                                                                             PONTIAC             MI   48343‐2103
PATRICIA MILLENDER      5750 BOU AVE UNIT 710                                                                     ROCKVILLE           MD   20852‐5636
PATRICIA MILLER         258 BEECHWOOD DR                                                                          BRYN MAWR           PA   19010‐1203
PATRICIA MILLER         8401 18 MILE #16A                                                                         STERLING HEIGHTS    MI   48313
PATRICIA MILLER         4280 BOYDS CREEK RD.                                                                      SEVIERVILLE         TN   37876
PATRICIA MILLER         2234 ELM ST                                                                               YOUNGSTOWN          OH   44505‐2512
PATRICIA MILLER         8541 LOIRE VALLEY DR                                                                      TECUMSEH            MI   49286‐9610
PATRICIA MILLER         9434 LYLE MEADOW LN                                                                       CLIO                MI   48420‐9725
PATRICIA MILLER         8347 BELLE BLUFF DR                                                                       GRAND BLANC         MI   48439‐8954
PATRICIA MILLER         36509 HAZELWOOD ST                                                                        WESTLAND            MI   48186‐4012
PATRICIA MILLER         39219 AVONDALE ST                                                                         WESTLAND            MI   48186‐3756
PATRICIA MILLER         125 OLD RD                                                                                MONROE TWP          NJ   08831‐1226
PATRICIA MILLER         1320 CAMERON RD                                                                           CARO                MI   48723‐8710
PATRICIA MILLER
PATRICIA MILLONZI       2409 10TH AVE APT 303                                                                     SOUTH MILWAUKEE     WI   53172‐2578
PATRICIA MILLSPAUGH     458 REDBUD BLVD S                                                                         ANDERSON            IN   46013‐1046
PATRICIA MIMS           4071 S ELMS RD                                                                            SWARTZ CREEK        MI   48473‐1504
PATRICIA MINNEKER       10739 ADAUTO CT # A                                                                       EL PASO             TX   79935‐3210
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PATRICIA MINNER        366 3RD ST                                                                                 YOUNGSTOWN            NY 14174‐1046
PATRICIA MINNIE        418 DEVONSHIRE DR                                                                          LAPEER                MI 48446‐4796
PATRICIA MISENCIK      131 BRIGHTWOOD AVE                                                                         STRATFORD             CT 06614‐4111
PATRICIA MISIVICH      5411 CATTELLS BLF                                                                          NORTH CHARLESTON      SC 29420‐6846
PATRICIA MITCHELL      1114 17TH ST APT B                                                                         BEDFORD               IN 47421‐4229
PATRICIA MITCHELL      13301 S GRANGE RD                                                                          EAGLE                 MI 48822‐9776
PATRICIA MITCHELL      4244 MELLEN DR                                                                             ANDERSON              IN 46013‐5049
PATRICIA MITCHELL      194 W 500 N                                                                                ANDERSON              IN 46012‐9500
PATRICIA MITCHELL      717 BIRCH HILL DR                                                                          YOUNGSTOWN            OH 44509‐3015
PATRICIA MLYNARCZYK    PO BOX 118                                                                                 LYONS                 MI 48851‐0118
PATRICIA MOCK          1906 MAPLE DR NW                                                                           KENNESAW              GA 30144‐1827
PATRICIA MOFFATT       298 WOODS LN                                                                               MITCHELL              IN 47446‐6329
PATRICIA MOJET         702 WOODLAKE LN                                                                            PONTIAC               MI 48340‐1191
PATRICIA MOLISANI      6281 AUTUMNVIEW STA                                                                        NEWFANE               NY 14108‐9789
PATRICIA MOLLOY        706 KILDUFF CT                                                                             CHADDS FORD           PA 19317‐9294
PATRICIA MOLLOY        25211 FOXCHASE DR                                                                          CHESTERTOWN           MD 21620‐3409
PATRICIA MONSON        7862 WALLACE RD                                                                            PAVILION              NY 14525‐9321
PATRICIA MONTGOMERY    2204 N TURNER ST                                                                           MUNCIE                IN 47303‐2360
PATRICIA MOODY         822 NEW FRANKLIN RD LOT 3                                                                  LAGRANGE              GA 30240‐1862
PATRICIA MOORE         217 ROGERS AVE                                                                             REHOBOTH BEACH        DE 19971‐1912
PATRICIA MOORE         10536 MONARCH DR                                                                           SAINT LOUIS           MO 63136‐5662
PATRICIA MOORE         191 CHEROKEE RD                                                                            PONTIAC               MI 48341‐2000
PATRICIA MOORE         1687 CIMMARON LN                                                                           DEFIANCE              OH 43512‐4010
PATRICIA MOORE         1516 WATERFORD PKWY                                                                        SAINT JOHNS           MI 48879‐9630
PATRICIA MOORE         16132 HARTWELL ST                                                                          DETROIT               MI 48235‐4236
PATRICIA MOORE         7729 WOODWARD AVE                                                                          DETROIT               MI 48202‐2819
PATRICIA MOREAU        501 KEYSTONE ST                                                                            BAY CITY              MI 48706‐4072
PATRICIA MOREFIELD     1717 N LLANO ST APT 2                                                                      JUNCTION              TX 76849‐3465
PATRICIA MORGA         APT A                           1033 NORTH PARK FOREST DRIVE                               MARION                IN 46952‐1745
PATRICIA MORRIS        365 TIBBETTS WICK RD                                                                       GIRARD                OH 44420‐1145
PATRICIA MORRIS        5104 N LISTER AVE                                                                          KANSAS CITY           MO 64119‐3762
PATRICIA MORRIS        1229 BEACH DR                                                                              LAKE ORION            MI 48360‐1205
PATRICIA MORRISON      23321 JOY ST                                                                               SAINT CLAIR SHORES    MI 48082‐2526
PATRICIA MORRISON      6275 N JENNINGS RD                                                                         MOUNT MORRIS          MI 48458‐9334
PATRICIA MORROW        10521 ROSETON CT                                                                           SAINT LOUIS           MO 63114‐1957
PATRICIA MORSE         8586 HAVEN ST                                                                              MOUNT MORRIS          MI 48458‐1328
PATRICIA MOSHIER       826 66TH ST                                                                                TUSCALOOSA            AL 35405‐5524
PATRICIA MOSS          11060 N JENNINGS RD                                                                        CLIO                  MI 48420‐1571
PATRICIA MOSS          PO BOX 532265                                                                              LIVONIA               MI 48153‐2265
PATRICIA MOSS          PO BOX 2234                                                                                SN BERNRDNO           CA 92406‐2234
PATRICIA MOTTOR        10475 TOMKINSON DR                                                                         SCOTTS                MI 49088‐8765
PATRICIA MOULIN        16020 PLATTSBURG RD                                                                        KEARNEY               MO 64060‐8150
PATRICIA MOXEI         3821 SW 27TH STREET                                                                        HOLLYWOOD             FL 33403‐1629
PATRICIA MOYER         118 N 3RD ST                                                                               JEANNETTE             PA 15644‐3330
PATRICIA MOZAK‐BATES   5370 WARNER RD. NE RT#1                                                                    KINSMAN               OH 44428
PATRICIA MRACZKOWSKI   55 MAPLE STREET                 APT 1                                                      ALDEN                 PA 18634
PATRICIA MUDGE         5550 CHICKADEE LN                                                                          CLARKSTON             MI 48346‐2901
PATRICIA MUHAMMAD      3880 PRIEST LAKE DR APT 83                                                                 NASHVILLE             TN 37217‐4648
PATRICIA MULAWA        16095 VISTA WOODS CT                                                                       CLINTON TWP           MI 48038‐4538
PATRICIA MULLER        2107 MEADOWDALE DR NW                                                                      GRAND RAPIDS          MI 49504‐1353
PATRICIA MULLINS       4257 TERRACE DR                                                                            CINCINNATI            OH 45245‐1419
PATRICIA MUNAFO        19973 GREAT OAK CIRCLE SH                                                                  CLINTON TWP           MI 48036
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PATRICIA MUNDELL      1827 S UNION ST                                                                     KOKOMO              IN 46902‐2118
PATRICIA MUNIZ        1811 MOUNT EVEREST LN                                                               TOMS RIVER          NJ 08753‐1550
PATRICIA MURPHY       1248 WELLS ST                                                                       BURTON              MI 48529‐1114
PATRICIA MURPHY       8994 HILL DR                                                                        IRWIN               PA 15642‐3148
PATRICIA MURRAY       101 SHARON CIR.                                                                     DENISON             TX 75020
PATRICIA MUSGROVE     900 S CAROLYN DR                                                                    CHOCTAW             OK 73020‐6928
PATRICIA MYERS        3551 HAMPTON COVE CT                                                                JACKSONVILLE        FL 32225‐4344
PATRICIA MYERS        PO BOX 1632                                                                         BLUE SPRINGS        MO 64013‐1632
PATRICIA MYNATT       13201 SAYBROOK AVE                                                                  GARFIELD HTS        OH 44105‐7013
PATRICIA N FAGAN      1600 SILVER LN                                                                      SPRING HILL         TN 37174‐7579
PATRICIA N GUILFORD   295 SUNSET DR                                                                       HOLLEY              NY 14470‐9776
PATRICIA N RAMM       5725 JOHN SMITH LOOP                                                                NORTH FORT MYERS    FL 33917
PATRICIA NAJT         PO BOX 33041                                                                        BLOOMFIELD HILLS    MI 48303‐3041
PATRICIA NANCE        12947 BULLOCK GREENWAY BLVD                                                         CHARLOTTE           NC 28277‐8195
PATRICIA NAPIER       PO BOX 1599                                                                         MAGGIE VALLEY       NC 28751‐1599
PATRICIA NASH         1106 S WATER ST                                                                     JONESBORO           IN 46938‐1650
PATRICIA NASH         7675 HIGHWAY 134                                                                    LAKE PROVIDENCE     LA 71254
PATRICIA NAWROCKI     19216 GEORGIA ST                                                                    ROSEVILLE           MI 48066‐4108
PATRICIA NAYLOR       PO BOX 271                                                                          HORSE SHOE          NC 28742‐0271
PATRICIA NEAL         9414 WILLOWBRIDGE PARK BLVD                                                         HOUSTON             TX 77064‐7458
PATRICIA NEAL         1810 E BROWNSTONE CT SW                                                             DECATUR             AL 35603‐2801
PATRICIA NEAL         38896 WINDMILL POINTE E                                                             CLINTON TWP         MI 48038‐5107
PATRICIA NEAL         9401 W MCCREERY RD                                                                  GASTON              IN 47342‐9714
PATRICIA NEHLS        10102 S NELSON RD                                                                   BRODHEAD            WI 53520‐8943
PATRICIA NEITZKE      1110 LAKE SHORE CIR                                                                 GRAND BLANC         MI 48439‐8043
PATRICIA NELESEN      4416 MEDFORD HILL DRIVE                                                             METAMORA            MI 48455‐9118
PATRICIA NELMAN       1205 NIBLOCK AVE NW                                                                 WARREN              OH 44485‐2138
PATRICIA NELSON       5309 GLENN AVE                                                                      FLINT               MI 48505‐5132
PATRICIA NENDZE       4008 E MILWAUKEE ST                                                                 JANESVILLE          WI 53546‐1450
PATRICIA NESBITT      18661 KENTUCKY ST                                                                   DETROIT             MI 48221‐2005
PATRICIA NEU          90 FAIRWAY CT                                                                       SANDUSKY            MI 48471‐1068
PATRICIA NEVAREZ      1914 W CURTIS RD                                                                    SAGINAW             MI 48601‐9777
PATRICIA NEWBOLD      8821 BURNSIDE AVE                                                                   HALE                MI 48739‐9183
PATRICIA NEWMAN       10458 CAMPBELL RD                                                                   WHITMORE LAKE       MI 48189‐9371
PATRICIA NEWMAN       1309 S FOUNTAIN AVE                                                                 SPRINGFIELD         OH 45506‐2713
PATRICIA NEWSOM       4812 PECAN AVE                                                                      BUNNELL             FL 32110‐7201
PATRICIA NEWSON       4602 LENNOX CT                                                                      JOLIET               IL 60431‐7512
PATRICIA NICHOLS      1648 S 255TH PL                                                                     DES MOINES          WA 98198‐9010
PATRICIA NICHOLS      2218 W ALGONQUIN TRL                                                                SHREVEPORT          LA 71107‐5410
PATRICIA NICHOLSON    82 BRISTOL AVENUE                                                                   ROCHESTER           NY 14617‐2702
PATRICIA NICKLES      14033 STRATFORD ST                                                                  RIVERVIEW           MI 48193‐7544
PATRICIA NICOLA       332 ALGOMA DR                                                                       PITTSBURGH          PA 15236
PATRICIA NIEMER       1971 E WESTCHESTER DR                                                               CHANDLER            AZ 85249‐8677
PATRICIA NIVENS       12279 OAKLAWN RD                                                                    BILOXI              MS 39532‐8332
PATRICIA NIX          P O BOX 23                                                                          LIZTON              IN 46149‐0023
PATRICIA NIXON        10068 VAN VLEET RD                                                                  GAINES              MI 48436‐9754
PATRICIA NOBLE        1304 STATE ROAD 128 E                                                               FRANKTON            IN 46044‐9797
PATRICIA NOBLE        2001 MEADOWVIEW DRIVE                                                               GARLAND             TX 75043‐1008
PATRICIA NOEL         126 MAIN ST.                                                                        SOUTH GRAFTON       MA 01560
PATRICIA NOGA         153 AINTREE RD                                                                      ROCHESTER           MI 48306‐2706
PATRICIA NORRIS       PO BOX 1395                                                                         FLINT               MI 48501‐1395
PATRICIA NORRIS       1521 VICTOR AVE                                                                     LANSING             MI 48910‐2564
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Name                      Address1                       Address2            Address3         Address4         City              State Zip
PATRICIA NORTHRUP         15 WILLOW CRK                                                                        TOLEDO             OH 43612‐5241
PATRICIA NORTON           2115 HEATHERTON RD                                                                   DACULA             GA 30019‐6649
PATRICIA NORVELL‐TEACHY   4222 OKALONA RD                                                                      SOUTH EUCLID       OH 44121‐3149
PATRICIA NOVAK            500 HONEY BEE LN                                                                     STANTON            KY 40380‐9101
PATRICIA NUERMINGER       7305 BLACKMAR RD                                                                     BIRCH RUN          MI 48415‐9015
PATRICIA NUTTING          29759 ROBERT DR                                                                      LIVONIA            MI 48150‐3082
PATRICIA O DONNELL        7 FRANCINE DR                                                                        ROCHESTER          NY 14606‐3342
PATRICIA O HAYES          3940 OAKWOOD RD                                                                      ORTONVILLE         MI 48462‐9758
PATRICIA O TAKACS         1870 CARDINAL CT.                                                                    NILES              OH 44446‐4102
PATRICIA O'BERRY          8310 PARKSIDE DR                                                                     GRAND BLANC        MI 48439‐7436
PATRICIA O'DONNELL        22200 RIVERGATE DR                                                                   ROCKY RIVER        OH 44116‐3718
PATRICIA O'NEIL           PO BOX 9022                    C/O ADAM OPEL                                         WARREN             MI 48090‐9022
PATRICIA OACHS            620 AVON ST                                                                          WISONSIN RAPIDS    WI 54494
PATRICIA OAKLEY           8676 RIVERDALE ST                                                                    DEARBORN HTS       MI 48127‐1516
PATRICIA OBERDORF         4244 N JUNIPER DR                                                                    JANESVILLE         WI 53545‐8915
PATRICIA OCONNELL         4041 NORTH CONNER DRIVE                                                              MARION             IN 46952‐8605
PATRICIA OKON             PO BOX 536                                                                           HIGGINS LAKE       MI 48627‐0536
PATRICIA OLIVAREZ         504 HARMONY DR                                                                       BLISSFIELD         MI 49228‐1075
PATRICIA OLSON            329 ROSELAND DR                                                                      CANTON             MI 48187‐3952
PATRICIA OLSZEWSKI        1384 S CUMMINGS RD                                                                   DAVISON            MI 48423‐9100
PATRICIA ONEAL            6576 N DORT HWY LOT 12                                                               FLINT              MI 48505‐2365
PATRICIA ORBIK            41 EMS B40 F LANE                                                                    LEESBURG           IN 46538
PATRICIA ORR              1200 S TRUMBULL ST                                                                   BAY CITY           MI 48708‐7671
PATRICIA ORTIZ            1439 F ST                                                                            UNION CITY         CA 94587‐2227
PATRICIA ORTIZ            202 NORTH HAMPTON ROAD                                                               DALLAS             TX 75208
PATRICIA OSBORN           20255 N RIVERHILL DR                                                                 CLINTON TWP        MI 48036‐1865
PATRICIA OSBORNE          5761 RUDY RD                                                                         TIPP CITY          OH 45371‐8400
PATRICIA OSTOSH           22700 BAYVIEW                                                                        ST CLAIR SHORES    MI 48081
PATRICIA OSTRANDER        6413 TORREY RD                                                                       FLINT              MI 48507‐3849
PATRICIA OTTARSON         1113 LESLIE ST                                                                       LANSING            MI 48912‐2509
PATRICIA OWEN             10466 M‐52                                                                           SAINT CHARLES      MI 48655
PATRICIA OWENBY           2143 STILLHOUSE RD                                                                   DANDRIDGE          TN 37725‐6736
PATRICIA OWENS            PO BOX 289                                                                           ELWOOD             IN 46036‐0289
PATRICIA P DAVIS          1602 PINE TREE LN #32                                                                W. CARROLLTON      OH 45449‐2571
PATRICIA P DEASON         P O BOX 1094                                                                         CLINTON            MS 39060
PATRICIA P ELDRIDGE       RT.1 BOX 370                                                                         BURKEVILLE         TX 75932‐9733
PATRICIA P HEADD          134 E MUSKEGON ST                                                                    CEDAR SPRINGS      MI 49319‐9503
PATRICIA P KISER          491 NILES VIENNA RD                                                                  VIENNA             OH 44473
PATRICIA P PARKER         2351 WILSHIRE RD                                                                     CORTLAND           OH 44410‐9308
PATRICIA P TURNER         IRA STANDARD/SEP               10135 NORWOOD RD                                      WINGINA            VA 24599‐3016
PATRICIA PACK             200 S SULPHER SPRINGS PK                                                             NEW LEBANON        OH 45345
PATRICIA PADDOCK          3765 S HERMAN ST                                                                     MILWAUKEE          WI 53207‐3956
PATRICIA PAGEL            4800 COLE RD                                                                         SAGINAW            MI 48601‐9335
PATRICIA PALIDAR          4815 WINDFALL RD                                                                     MEDINA             OH 44256‐8678
PATRICIA PALMER           14948 FALLING WATERS RD                                                              WILLIAMSPORT       MD 21795‐2053
PATRICIA PALUSO           308 JUDE LN                                                                          SOUTHINGTON        CT 06489‐2226
PATRICIA PAPROCKI         1759 N ROSEVERE AVE                                                                  DEARBORN           MI 48128‐1242
PATRICIA PARDEE           6844 E MICHIGAN AVE                                                                  KALAMAZOO          MI 49048‐9532
PATRICIA PARISH           216 ORCHARD LN                                                                       KOKOMO             IN 46901‐5146
PATRICIA PARIZO           7360 CHATLAKE DR                                                                     HUBER HEIGHTS      OH 45424‐3262
PATRICIA PARK             53080 HEMLOCK LAKE RD                                                                MARCELLUS          MI 49067‐9509
PATRICIA PARK             5940 NE ARROWHEAD DRIVE                                                              KENMORE            WA 98028
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Name                                 Address1                          Address2                Address3     Address4         City               State Zip
PATRICIA PARKER                      2351 WILSHIRE RD                                                                        CORTLAND            OH 44410‐9308
PATRICIA PARKER                      2915 CARTER ST                                                                          DETROIT             MI 48206‐2125
PATRICIA PARKER                      8055 MCDERMITT DR                 APT 47                                                DAVISON             MI 48423
PATRICIA PARKER                      302 CALHOUN ST                                                                          MOUNT VERNON        OH 43050‐2012
PATRICIA PASCALE, PERSONAL           C/O BRAYTON PURCELL               222 RUSH LANDING RD                                   NOVATO              CA 94948‐6169
REPRESENTATIVE FOR MICHAEL PASCALE

PATRICIA PASSAGE                     20 CHRISTOPHER CT                                                                       BAY CITY           MI 48706‐3406
PATRICIA PATCH                       461 S CLAY AVE APT A                                                                    KIRKWOOD           MO 63122‐5845
PATRICIA PATER                       194 WESTBROOK DR APT 14                                                                 HAMILTON           OH 45013‐2357
PATRICIA PATH
PATRICIA PATTERSON                   7313 CARMELITA DR                                                                       DAYTON             OH   45424‐3244
PATRICIA PATTERSON                   PO BOX 3182                                                                             ANDERSON           IN   46018‐3182
PATRICIA PAUL                        2008 MCDOWELL RIDGE DR                                                                  COLUMBUS           OH   43223‐6231
PATRICIA PAVENTI                     12225 HUFFMAN RD APT.405B                                                               PARMA HEIGHTS      OH   44130
PATRICIA PAVLICH                     6110 COUNTRY WAY N                                                                      SAGINAW            MI   48603‐1083
PATRICIA PAYER                       2800 S COUNTY ROAD 600 E                                                                SELMA              IN   47383‐9660
PATRICIA PAYNE                       4427 BRESSER CT                                                                         FT WRIGHT          KY   41017‐9238
PATRICIA PEARSON                     19376 BANKERS HOUSE DRIVE                                                               KATY               TX   77449‐2683
PATRICIA PEARSON                     3192 W 922 N                                                                            HUNTINGTON         IN   46750‐9789
PATRICIA PEARSON                     8290 N MCKINLEY RD                                                                      FLUSHING           MI   48433‐8843
PATRICIA PECKHAM                     21 SCHOOL ST                                                                            EVANSVILLE         WI   53536‐1327
PATRICIA PEEBLES                     15 BURCHWOOD ST                                                                         TROTWOOD           OH   45426‐3003
PATRICIA PEEL                        10600 CRONK RD                                                                          LENNON             MI   48449‐9657
PATRICIA PEER                        17161 SUMNER                                                                            REDFORD            MI   48240‐2143
PATRICIA PEERY                       11800 IVYWOOD PL                                                                        NEW PORT RICHEY    FL   34654‐1724
PATRICIA PEGG                        30910 STATE HIGHWAY 100 LOT 165                                                         SAN BENITO         TX   78586‐8502
PATRICIA PEICH                       1530 KILLDEER LN                                                                        JANESVILLE         WI   53546‐2953
PATRICIA PELESKE                     9044 CHELMSFORD DRIVE                                                                   SWARTZ CREEK       MI   48473‐1170
PATRICIA PELIZZONI                   1035 BUCKINGTON DRIVE                                                                   ALLENTOWN          PA   18103
PATRICIA PELL                        755 S COUNTY ROAD 400 E                                                                 AVON               IN   46123‐8429
PATRICIA PENNER                      31626 SLUMBER LN                                                                        FRASER             MI   48026‐2461
PATRICIA PENNYCUFF                   635 SKYVIEW DR                                                                          DAYTON             OH   45449‐1632
PATRICIA PEOPLES                     5715 ALVISO AVE                   C/O TONYA Y. THOMPSON                                 LOS ANGELES        CA   90043‐2209
PATRICIA PEPITONE                    703 BAGLEY ST                                                                           GAYLORD            MI   49735‐9553
PATRICIA PERDUE                      2060 TRAILWOOD DR W                                                                     BURLESON           TX   76028‐1708
PATRICIA PERKINS                     4126 RIDGEFIELD TER                                                                     HAMBURG            NY   14075
PATRICIA PERKINS                     764 ANDERSON FERRY RD                                                                   CINCINNATI         OH   45238‐4742
PATRICIA PERRIN                      1154 RAYMOND ST NW                                                                      WARREN             OH   44485‐2432
PATRICIA PERROTTA                    1480 LEISURE DR                                                                         FLINT              MI   48507‐4057
PATRICIA PERRY                       301 ROME DR                                                                             YOUNGSTOWN         OH   44515‐4160
PATRICIA PERRY                       2889 GREENWOOD RD                                                                       LAPEER             MI   48446‐9488
PATRICIA PERRY                       9190 S PUGSLEY RD                                                                       DALEVILLE          IN   47334‐8980
PATRICIA PERSECHINI                  743 VIRGINIA ST.                                                                        PLYMOUTH           MI   48170
PATRICIA PESIK                       4257 CHANNEL RD                                                                         HALE               MI   48739‐9037
PATRICIA PETACCIO                    7009 AMHERST AVE                                                                        BOARDMAN           OH   44512‐4535
PATRICIA PETERMAN                    400 LOCHMOOR                                                                            TEMPERANCE         MI   48182‐1192
PATRICIA PETERS                      1069 OAK TREE LN                                                                        BLOOMFIELD HILLS   MI   48304‐1177
PATRICIA PETERSON                    9432 WOODSIDE TRL                                                                       SWARTZ CREEK       MI   48473‐8589
PATRICIA PETERSON                    3824 SANDY HOOK RD                                                                      RANDALLSTOWN       MD   21133‐2200
PATRICIA PETITTI                     316 WAKEFIELD RUN BLVD                                                                  HINCKLEY           OH   44233‐9253
PATRICIA PETTIGREW                   6619 SPINNER DR                                                                         LAKE WALES         FL   33898‐9276
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Name                        Address1                            Address2                   Address3   Address4         City               State Zip
PATRICIA PETTIS             3032 AYRE CT                                                                               FLINT               MI 48506‐5402
PATRICIA PETTRONE           8311 CARR CT                                                                               LYONS                IL 60534‐1781
PATRICIA PEVIA              PO BOX 963                                                                                 RAEFORD             NC 28376‐0963
PATRICIA PHELPS             515 5TH ST                                                                                 FENTON              MI 48430‐1930
PATRICIA PHILIPAK           515 HIGHWAY V                                                                              TROY                MO 63379‐5083
PATRICIA PHILLIPS           2728 RIVER TRACE CIR                                                                       BRADENTON           FL 34208‐7446
PATRICIA PHILLIPS           22727 RENFORD ST                                                                           NOVI                MI 48375‐4527
PATRICIA PHILLIPS           146 COMANCHE TRL                                                                           WEST MONROE         LA 71291‐8106
PATRICIA PHILLIPS           5706 KELSEY DR                                                                             COLUMBIA            MO 65202‐5542
PATRICIA PHILLIPS           1250 GWINN ST                                                                              MEDINA              NY 14103‐1806
PATRICIA PHILLIPS           2950 RUSSELL CHAPEL LN                                                                     SAVANNAH            TN 38372‐3755
PATRICIA PHILLIPS           5374 GRAND BLANC RD                                                                        SWARTZ CREEK        MI 48473‐9449
PATRICIA PHILLIPS P         157 SUMMIT LORE                                                                            BATAVIA             NY 14020
PATRICIA PHISTRY            5811 LAREINA ST.                                                                           LAS CRUCES          NM 88012
PATRICIA PIATKOWSKI         123 WABASH AVE                                                                             CHEEKTOWAGA         NY 14206‐2638
PATRICIA PICCOLO            3521 JUTE LN SE                                                                            PALM BAY            FL 32909
PATRICIA PICKETT            8039 BLISS ST                                                                              DETROIT             MI 48234‐3329
PATRICIA PIKE               10500 W ANTHONY DR                                                                         TUCSON              AZ 85743‐8749
PATRICIA PINK               11410 ROSE RD                                                                              EMMETT              MI 48022‐1409
PATRICIA PINNIX             459 RED CEDAR BLVD                                                                         WILLIAMSTON         MI 48895‐9585
PATRICIA PIPKENS            15603 HELEN ST                                                                             SOUTHGATE           MI 48195‐2018
PATRICIA PISARSKY           2823 PEASE LN                                                                              SANDUSKY            OH 44870‐5926
PATRICIA PISZCZEK           12420 S BENCK DR APT 106                                                                   ALSIP                IL 60803‐1059
PATRICIA PITTMAN            4408 MEADOWOAK DR                                                                          MIDWEST CITY        OK 73110‐7019
PATRICIA PITTMAN            828 N WASHINGTON ST                                                                        BRAZIL              IN 47834‐1260
PATRICIA PITTS              2447 CUDABACK AVE                                                                          NIAGARA FALLS       NY 14303‐1909
PATRICIA PIWOWAR            12844 BUFFALO RD                                                                           SPRINGVILLE         NY 14141‐9663
PATRICIA PLACE APARTMENTS   ACCT OF MARY ANN KUBITZKEY          44511 NORTH GRATIOT AVE.                               CLINTON TOWNSHIP    MI 48036
PATRICIA PLATT              4570 LUCERNE LAKES BLVD E APT 202                                                          LAKE WORTH          FL 33467‐3997
PATRICIA PLAYTER            4107 MACKINAC DR                                                                           JANESVILLE          WI 53546‐1448
PATRICIA PLEW               387 LAMARCK DR                                                                             CHEEKTOWAGA         NY 14225‐1105
PATRICIA PLOUCHA            39598 DUN ROVIN DR 66                                                                      NORTHVILLE          MI 48168
PATRICIA PODOLSKI           17980 SE 100TH TER                                                                         SUMMERFIELD         FL 34491‐7405
PATRICIA PODZIUS            28744 TELEGRAPH RD APT 405                                                                 FLAT ROCK           MI 48134‐1576
PATRICIA POE                0‐10776 12TH AVENUE NW                                                                     GRAND RAPIDS        MI 49534
PATRICIA POGACNIK           471 MEADOWBROOK AVE                                                                        YOUNGSTOWN          OH 44512‐3042
PATRICIA POLING             361 DEVONSHIRE DR                                                                          LAPEER              MI 48446‐4794
PATRICIA POLSON             135 ROLLINGWOOD DR                                                                         STANLEY             NC 28164‐6736
PATRICIA POMORSKI           9467 DUDLEY STREET                                                                         TAYLOR              MI 48180‐3744
PATRICIA POOL               1403 HAYES ST                                                                              SAGINAW             MI 48602‐4568
PATRICIA POOLE              1252 EAGLE RIDGE RD                                                                        MILFORD             OH 45150‐9613
PATRICIA POORE              2175 STEINER RD                                                                            MONROE              MI 48162‐9491
PATRICIA POPE               RT 9, 7545 TOWNSHIP RD 235                                                                 MANSFIELD           OH 44904
PATRICIA POPLAR             2302 SANTA BARBARA DR                                                                      FLINT               MI 48504‐2020
PATRICIA POPP               698 PINE TRL                                                                               BEAVERTON           MI 48612
PATRICIA POSLUSZNY          4188 HOPPE ROAD                                                                            GAGETOWN            MI 48735‐9754
PATRICIA POTTER             2700 N HARRIS RD                                                                           YPSILANTI           MI 48198‐9608
PATRICIA POTTER             4593 MILL POND DR                                                                          TROY                MI 48085‐3719
PATRICIA POUNCEY            PATRICIA POUNCEY                    53 PERIMETER CENTER EAST   UK                          ATLANTA             GA 30346
PATRICIA POWELL             12092 DALHART DR                                                                           FENTON              MI 48430‐8859
PATRICIA POWELL             4533 NANTUCKET DR                                                                          AUSTINTOWN          OH 44515‐4444
PATRICIA POWELL             6522 WOODHAVEN DR APT 5                                                                    WATERFORD           MI 48327‐4225
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Name                   Address1                           Address2             Address3        Address4         City              State Zip
PATRICIA POWELL        229 TIMBERIDGE DR                                                                        SAINT PETERS       MO 63376‐6751
PATRICIA POYDRAS       8691 STOUT ST                                                                            DETROIT            MI 48228‐2860
PATRICIA POYSER        1801 AZALEA BAY                                                                          HUDSON             WI 54016‐7272
PATRICIA PRAGER        508 NEBOBISH ST                                                                          ESSEXVILLE         MI 48732‐1128
PATRICIA PREMO         1668 W KNOX RD                                                                           BEAVERTON          MI 48612‐8634
PATRICIA PRESCOTT      2664 LARRY TIM DR                                                                        SAGINAW            MI 48601‐5667
PATRICIA PRESLEY       1608 SW 62ND ST                                                                          OKLAHOMA CITY      OK 73159‐2124
PATRICIA PRESSLEY      241 CHESSON HILL DR                                                                      FITZPATRICK        AL 36029‐2608
PATRICIA PRESTLEY      15 A HOLLY DRIVE APT. 58                                                                 GIRARD             OH 44420
PATRICIA PRESTON       3751 COVERT RD                                                                           LESLIE             MI 49251‐9711
PATRICIA PREZIOSO      4157 BROCKWAY SHARON RD                                                                  BURGHILL           OH 44404‐9733
PATRICIA PRICE         4057 CRESCENT DR APT 132                                                                 N TONAWANDA        NY 14120‐3715
PATRICIA PRICE         12179 DAVID ALLEN DR                                                                     MEDWAY             OH 45341‐9625
PATRICIA PRICE         1058 S UNION ST                                                                          KOKOMO             IN 46902‐1631
PATRICIA PRIEST        1519 W 14TH ST                                                                           WILMINGTON         DE 19806‐4216
PATRICIA PRIEUR        505 ASHWOOD DR                                                                           FLUSHING           MI 48433‐1328
PATRICIA PRINCE        200 N GRACE ST                                                                           LANSING            MI 48917‐4908
PATRICIA PRITCHARD     3281 EAGLES LOFT UNIT A                                                                  CORTLAND           OH 44410‐9284
PATRICIA PROSSER       233 CREEKWOOD DR                                                                         WESTFIELD          IN 46074‐9424
PATRICIA PRUETT        26650 PLAYERS CIR APT 6                                                                  LUTZ               FL 33559‐8534
PATRICIA PRUNTY        5911 COUNCIL RING BLVD                                                                   KOKOMO             IN 46902‐5515
PATRICIA PUGH          548 PHILLIPS DR SW                                                                       WARREN             OH 44485‐3363
PATRICIA PULLEN        2603 E 600 S                                                                             CUTLER             IN 46920‐9321
PATRICIA PULLEN        3265 HOLLANDS BRANCH RD                                                                  BARBOURSVILLE      WV 25504‐9479
PATRICIA PURDY         124 CIRCLE DR                                                                            ALPENA             MI 49707‐9763
PATRICIA PURSLEY       4127 SILVER BIRCH DR                                                                     WATERFORD          MI 48329‐3868
PATRICIA PUTNAM        10831 LAKE ST                                                                            PAVILION           NY 14525‐9703
PATRICIA PUTNEY        2344 BOHNBURG AVE                                                                        GROVE CITY         OH 43123‐4711
PATRICIA PYATT         21977 STATE HIGHWAY U                                                                    IRONDALE           MO 63648‐9630
PATRICIA PYLES         PO BOX 617                                                                               ABERDEEN           OH 45101‐0617
PATRICIA Q CASERTA     4266 CROWNWOOD AVE                                                                       DAYTON             OH 45415‐1402
PATRICIA QUASS         614 S FRANKLIN ST                                                                        WHITEWATER         WI 53190‐2203
PATRICIA QUINN         6068 E DODGE RD                                                                          MOUNT MORRIS       MI 48458‐9720
PATRICIA QUINNIE       PO BOX 15                                                                                CHEEKTOWAGA        NY 14225‐0015
PATRICIA QUINTERO      17 SW 98TH ST                                                                            OKLAHOMA CITY      OK 73139‐8803
PATRICIA R BLACK       397 WOODIES RD                                                                           WAYNESBURG         PA 15370
PATRICIA R BOLLING     2335 REDMAN ROAD                                                                         BROCKPORT          NY 14420‐9634
PATRICIA R BRIGHAM     ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD   PO BOX 521                       EAST ALTON          IL 62024
                       GIANARI ANGELIDES & BERNARD LLC

PATRICIA R COLEMAN     1244 DARDANELLE DR                                                                       JACKSON           MS 39204
PATRICIA R DOTO        12 OLD SALEM CT                                                                          CHERRY HILL       NJ 08034
PATRICIA R GLENN       555 DUTCH LANE EXT APT 1           SIMCO APT                                             HERMITAGE         PA 16148‐2701
PATRICIA R HARVEY
PATRICIA R HEATHERLY   35 CATHERINE CT                                                                          GERMANTOWN        OH   45327‐9302
PATRICIA R HJERTOS     30189 MICHIGAN AVE                                                                       LEONIDAS          MI   49066‐9709
PATRICIA R HOLDASH     5121 TIPPWOOD CT.                                                                        YOUNGSTOWN        OH   44512
PATRICIA R HOPSON      534 PURVIS RD                                                                            FLORA             MS   39071
PATRICIA R ISAACSON    6809 E LAKE BLUFFS DRIVE                                                                 TRAVERSE CITY     MI   49684
PATRICIA R JEFFERSON   4718 PRESCOTT                                                                            DAYTON            OH   45406
PATRICIA R JONES       3382 CURTIS AVE S.E.                                                                     WARREN            OH   44484‐3654
PATRICIA R LANKER      583 SNOWMASS DR                                                                          ROCHESTER HILLS   MI   48309‐1378
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Name                   Address1                      Address2                       Address3   Address4         City                State Zip
PATRICIA R MADISON     3760 OLD WINCHESTER TRAIL                                                                XENIA                OH 45385‐8739
PATRICIA R MCCLELLAN   1002 RIDGE RD                                                                            VIENNA               OH 44473‐9701
PATRICIA R MCKINNON    175 SUSAN STREET                                                                         FLORENCE             MS 39073‐8745
PATRICIA R MORGAN      6574 HIGHBURY RD                                                                         HUBER HEIGHTS        OH 45424‐3017
PATRICIA R MORRIS      365 TIBBETTS‐WICK RD.                                                                    GIRARD               OH 44420‐1145
PATRICIA R PEGG        30910 ST. HWY. 100            LOT 165                                                    SAN BENITO           TX 78586
PATRICIA R PERRIN      1154 RAYMOND ST NW                                                                       WARREN               OH 44485‐2432
PATRICIA R POLLOCK     1891 TAHOE DR                                                                            XENIA                OH 45385
PATRICIA R PRIESTLEY   3514 BROCKPORT SPENCERPORT                                                               SPENCERPORT          NY 14559‐9709
PATRICIA R RODGERS     550 OAK CIR SW                                                                           WARREN               OH 44485
PATRICIA R SCOTT       120 SEWARD ST APT 112                                                                    DETROIT              MI 48202‐4448
PATRICIA R STEWART     4914 CAPRICE DRIVE                                                                       MIDDLETOWN           OH 45044‐7158
PATRICIA R TOMPKINS    2190 CLEARVIEW AVE NW                                                                    WARREN               OH 44483‐1334
PATRICIA R VIROSTEK    3925 NEWTON FALLS RD                                                                     DIAMOND              OH 44412
PATRICIA R WANDS       38524 TYLER RD                                                                           ROMULUS              MI 48174‐1301
PATRICIA R WARIS       302 BROWN AVE                                                                            SYRACUSE             NY 13211‐1724
PATRICIA RACHECK       1838 LEXINGTON AVE NW         NW                                                         WARREN               OH 44485‐1725
PATRICIA RADFORD       4620 BELMONT CT                                                                          HUBER HEIGHTS        OH 45424‐3672
PATRICIA RADTKE        108 PATRICE TER                                                                          WILLIAMSVILLE        NY 14221‐4704
PATRICIA RADULSKI      47037 SUGARBUSH RD                                                                       CHESTERFIELD         MI 48047‐5001
PATRICIA RADY          118 FREDERICK RD                                                                         NICHOLASVILLE        KY 40356‐8157
PATRICIA RAFFONE       PO BOX 16632                                                                             FERNANDINA BEACH     FL 32035‐3128
PATRICIA RAICHERT      C/O COONEY AND CONWAY         120 NORTH LASALLE 30TH FLOOR                               CHICAGO               IL 60602
PATRICIA RAINER        3336 HESSEL AVE                                                                          ROCHESTER HILLS      MI 48307‐4842
PATRICIA RALSTON       PO BOX 502                                                                               SCOTTSVILLE          KY 42164‐0502
PATRICIA RAMM          14 CAPTAIN JOHN SMITH LOOP                                                               NORTH FORT MYERS     FL 33917
PATRICIA RAMSEY        91 COTTAGE ST                                                                            WHITINSVILLE         MA 01588‐1454
PATRICIA RAMSEY        615 THOMAS PL                                                                            BOUND BROOK          NJ 08805‐1114
PATRICIA RANDALL       1305 RED BIRD CT                                                                         KOKOMO               IN 46902‐5825
PATRICIA RANGER        10108 WYNDHAM CREST BOULVD.                                                              SANFORD              FL 32773
PATRICIA RANNARD       154 SIMPSON DR                                                                           PULASKI              PA 16143‐4538
PATRICIA RAST          5938 THORNTON RD                                                                         OSCODA               MI 48750‐9276
PATRICIA RAU           11150 ROLSTON RD                                                                         BYRON                MI 48418‐9018
PATRICIA RAU           607 BEACH ST                                                                             MOUNT MORRIS         MI 48458‐1907
PATRICIA RAWLINSON     3117 JANE LN                                                                             HALTOM CITY          TX 76117‐4025
PATRICIA RAY           703 BEERY BOULEVARD                                                                      ENGLEWOOD            OH 45322‐2903
PATRICIA RAY           2402 KEYSTONE RD                                                                         PARMA                OH 44134‐3025
PATRICIA READ          344 HEIGLE RD                                                                            TUMBLING SHOALS      AR 72581‐9234
PATRICIA REDBURN       15761 PRETTY LAKE DR                                                                     MECOSTA              MI 49332‐9492
PATRICIA REDDELL       102 NW AMANDA CT                                                                         GRAIN VALLEY         MO 64029‐9356
PATRICIA REDMAN        1043 MCKENNA DR                                                                          THOMPSONS STATION    TN 37179‐5382
PATRICIA REDMOND       280 DAKOTA AVE                                                                           MC DONALD            OH 44437‐1566
PATRICIA REED          3954 CLARIDGE DR                                                                         YOUNGSTOWN           OH 44511‐1166
PATRICIA REED          20530 TUCKER RD                                                                          ATHENS               AL 35614‐4229
PATRICIA REED          11289 SUMMERFIELD RD                                                                     PETERSBURG           MI 49270‐9310
PATRICIA REED          22245 PETOSKEY                                                                           STANWOOD             MI 49346‐9002
PATRICIA REEDY         3214 ECKINGER ST                                                                         FLINT                MI 48506‐2040
PATRICIA REESE         3590 WILSON FARMS BLVD                                                                   FRANKLIN             OH 45005‐9006
PATRICIA REESE         403 WOODLAND VLG                                                                         BIRMINGHAM           AL 35216‐1121
PATRICIA REEVES        C/O SCHWARZ                   WALZELSTR. 6A                                              BERLIN                    13581
PATRICIA REIBER        9092 CHESANING RD                                                                        CHESANING            MI 48616‐9485
PATRICIA REID          4738 CALHOUN ST                                                                          INDIANAPOLIS         IN 46203‐3509
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Name                              Address1                         Address2            Address3         Address4              City              State Zip
PATRICIA REID                     2830 NEW CUT RD                                                                             ALVATON            KY 42122‐8644
PATRICIA REIDER                   1 LIONEL ST                                                                                 CLARK              NJ 07066‐2521
PATRICIA REILLEY                  2344 S PENNSYLVANIA AVE                                                                     LANSING            MI 48910‐3370
PATRICIA REINOSO                  610 INDIAN TRAIL CT                                                                         SMITHVILLE         MO 64089‐9405
PATRICIA REMENAR                  446 PAUL NORMAN DR                                                                          MURFREESBORO       TN 37127
PATRICIA RENNAKER                 20338 180TH TRCE                                                                            LIVE OAK           FL 32060‐5236
PATRICIA RENO                     3325 SAGATOO RD                                                                             STANDISH           MI 48658‐9475
PATRICIA REYES                    102 W CARLISLE RD                                                                           THOUSAND OAKS      CA 91361‐5308
PATRICIA REYNOLDS                 9973 E BROOKS RD                                                                            LENNON             MI 48449‐9679
PATRICIA RHEAVES                  423 SAINT CLAIR DR                                                                          CONYERS            GA 30094‐4970
PATRICIA RIBBLE                   11493 ARMSTRONG DR N                                                                        SAGINAW            MI 48609‐9686
PATRICIA RIBBLE EXEMPTION TRUST   RONNIE RIBBLE, TRUSTEE           1154 MT RIANTE RD                                          HOT SPRINGS        AR 71913‐9375
PATRICIA RICHARDS                 7640 WEDDEL ST                                                                              TAYLOR             MI 48180‐2663
PATRICIA RICHARDSON               532 LEISURE ACRES ST                                                                        SPARTA             MI 49345‐1556
PATRICIA RICHARDSON               13202 OTTAWA PL                                                                             VICTORVILLE        CA 92395‐9147
PATRICIA RICHFIELD                3101 DISSTON ST                                                                             PHILADELPHIA       PA 19149‐2019
PATRICIA RICHWINE                 5110 14TH ST W APT 14                                                                       BRADENTON          FL 34207
PATRICIA RICUMSTRICT              2481 LAMOTHE ST                                                                             DETROIT            MI 48206‐2539
PATRICIA RICZU                    287 CRESTWOOD DR                                                                            MILLTOWN           NJ 08850‐1805
PATRICIA RIDDELL                  469 HAHNTOWN WENDEL RD                                                                      IRWIN              PA 15642‐4336
PATRICIA RIDDLE                   4301 SOUTH 50 WEST                                                                          ANDERSON           IN 46013‐3529
PATRICIA RIFFLE                   5121 KELLIE TRL                                                                             MESICK             MI 49668‐9518
PATRICIA RIGGIN‐COLLINS           18330 STAHELIN AVE                                                                          DETROIT            MI 48219‐2840
PATRICIA RILEY                    22357 RIVER VIEW DR                                                                         COTTONWOOD         CA 96022‐7776
PATRICIA RILEY                    2472 GREEN ACRES DR                                                                         GRAND BLANC        MI 48439‐8150
PATRICIA RILLY                    25732 ISLAND LAKE DR                                                                        NOVI               MI 48374‐2174
PATRICIA RISE                     412 W CANEEL DR                                                                             TECUMSEH           MI 49286‐7514
PATRICIA RISON                    2962 BARTH ST                                                                               FLINT              MI 48504‐3052
PATRICIA RITCHISON                1308 S HARRISON ST                                                                          ALEXANDRIA         IN 46001‐2644
PATRICIA RIVARD                   55302 LEONARD CT                                                                            SHELBY TOWNSHIP    MI 48316‐5321
PATRICIA RIVERA                   507 MAPLE ST                                                                                LESLIE             MI 49251‐9451
PATRICIA ROACH                    PO BOX 190235                                                                               BURTON             MI 48519‐0235
PATRICIA ROBBINS                  PO BOX 1264                                                                                 GRAND ISLAND       NY 14072‐8264
PATRICIA ROBBINS                  6191 N CANAL RD                                                                             DIMONDALE          MI 48821‐9543
PATRICIA ROBBINS                  39272 WADE RD                                                                               ROMULUS            MI 48174‐1038
PATRICIA ROBBINS                  2197 HOWE RD                                                                                BURTON             MI 48519‐1148
PATRICIA ROBERT                   6024 METEOR AVE                                                                             TOLEDO             OH 43623‐1154
PATRICIA ROBERTS                  1735 FOREST DR                                                                              PORTAGE            MI 49002‐6435
PATRICIA ROBERTS                  9812 STARK RD                                                                               LIVONIA            MI 48150‐2616
PATRICIA ROBERTS                  6572 TAMARACK CT                                                                            TROY               MI 48098‐1929
PATRICIA ROBERTS TRUST            432 CARRERA DR                                                                              LADY LAKE          FL 32159
PATRICIA ROBERTSON                17030 SMITH AVE                                                                             PORT CHARLOTTE     FL 33954‐2721
PATRICIA ROBERTSON                4 LARKHILL CLOSE                 SWANWICK                             ALFRETON DERBYSHIRE
                                                                                                        GREAT BRITAIN
PATRICIA ROBERTSON                23867 KAMMEYER RD                                                                           DEFIANCE          OH   43512‐8735
PATRICIA ROBINETTE                250 E LAS PALMAS AVE SPC 40                                                                 PATTERSON         CA   95363‐2812
PATRICIA ROBINSON                 108 LOCUST DR                                                                               GAS CITY          IN   46933‐1133
PATRICIA ROBINSON                 937 HAPPY TRAILS DR SE                                                                      BYRON CENTER      MI   49315‐8116
PATRICIA ROBINSON                 121 GRATIOT ST                                                                              SAINT LOUIS       MI   48880‐1808
PATRICIA ROBINSON                 5574 ALLENDALE ST                                                                           DETROIT           MI   48204‐3704
PATRICIA ROBINSON                 PO BOX 483                                                                                  SAINT JOHNS       MI   48879‐0483
PATRICIA ROBINSON                 5906 HEREFORD ST                                                                            DETROIT           MI   48224‐2056
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Name                  Address1                        Address2               Address3      Address4         City              State Zip
PATRICIA ROBINSON     4 BAY HILL DR                                                                         SAINT PETERS       MO 63366‐3609
PATRICIA ROBINSON     920 GRANITE LN                                                                        DESOTO             TX 75115‐5453
PATRICIA ROCHEFORT    86 TRANSIT ST                                                                         WOONSOCKET          RI 02895‐5875
PATRICIA ROCKINGHAM   908 E ATHERTON RD                                                                     FLINT              MI 48507‐2815
PATRICIA RODERICK     2941 E MALLORY ST                                                                     MESA               AZ 85213‐1667
PATRICIA RODGERS      123 WEAVER ST                                                                         CLEARFIELD         PA 16830‐1646
PATRICIA RODGERS      550 OAK CIR SW                                                                        WARREN             OH 44485‐3462
PATRICIA RODRIGUEZ    7297 LINDEN RD                                                                        SWARTZ CREEK       MI 48473‐9455
PATRICIA ROED         5104 86TH STREET CT W                                                                 BRADENTON          FL 34210‐2345
PATRICIA ROEHRIG      5360 SANILAC RD                                                                       KINGSTON           MI 48741‐9544
PATRICIA ROGERS       255 HAMMOCK RD                                                                        DRESDEN            TN 38225‐2074
PATRICIA ROGERS       2309 S WASHINGTON ST                                                                  MARION             IN 46953‐3154
PATRICIA ROGERS       472 RIVIERA TER                                                                       WATERFORD          MI 48328‐3472
PATRICIA ROGERS       #1                              4 LIBERTY STREET                                      PONTIAC            MI 48341‐1333
PATRICIA ROGERS       12208 BERMUDA DR                                                                      MARION              IL 62959‐8676
PATRICIA ROGERS       1232 LONGVIEW DR                                                                      CENTERVILLE        TN 37033‐9619
PATRICIA ROHN         3827 KLAM RD                                                                          COLUMBIAVILLE      MI 48421‐9374
PATRICIA ROMAN        21151 GARDNER ST                                                                      OAK PARK           MI 48237‐3810
PATRICIA ROMANOWSKI   77 STUDLEY ST                                                                         ROCHESTER          NY 14616‐4701
PATRICIA ROMINE       228 THE WOODS                                                                         BEDFORD            IN 47421‐9376
PATRICIA ROOKS        6820 RALARIC DR                                                                       DEXTER             MI 48130‐9689
PATRICIA ROOT         PO BOX 525                                                                            DURAND             MI 48429‐0525
PATRICIA ROOT         111 PARK MEADOWS DR                                                                   LANSING            MI 48917‐3409
PATRICIA ROSALES      1424 BEACH DR                                                                         LAKE ORION         MI 48360‐1208
PATRICIA ROSE         5118 MIDFIELD DR                                                                      PORTAGE            MI 49002‐0550
PATRICIA ROSEBOOM     APT 109                         11447 PARK BOULEVARD                                  SEMINOLE           FL 33772‐4667
PATRICIA ROSEBROCK    6521 BELL RD                                                                          BIRCH RUN          MI 48415‐9048
PATRICIA ROSONE       2834 PLANK RD                                                                         LIMA               NY 14485‐9401
PATRICIA ROSS         2891 W W AVE                                                                          SCHOOLCRAFT        MI 49087‐9749
PATRICIA ROSS         1478 PEBBLE BEACH DR                                                                  PONTIAC            MI 48340‐1366
PATRICIA ROSSIGNOL    5187 LAKE GROVE DR                                                                    WHITE LAKE         MI 48383‐1454
PATRICIA ROTH         1034 E 25TH ST                                                                        ERIE               PA 16503‐2309
PATRICIA ROTH         230 ELIZABETH ST                                                                      GRAND LEDGE        MI 48837‐1610
PATRICIA ROTOLO       120 DEERHURST LN APT 3                                                                WEBSTER            NY 14580‐2738
PATRICIA ROUNDTREE    228 AVALON LN                                                                         CHESTERFIELD       IN 46017‐1306
PATRICIA ROUPE        4257 TOWNLEY HWY                                                                      MANITOU BEACH      MI 49253‐9725
PATRICIA ROUSER       6930 S PARADISE RD              BLDG 10                                               LAS VEGAS          NV 89119
PATRICIA ROUSEY       PO BOX 38                                                                             BOWERSVILLE        GA 30516‐0038
PATRICIA ROWDEN       1892 GARDNER DR                                                                       LAPEER             MI 48446‐7725
PATRICIA ROWE         706 WILHELM RD                                                                        HERMITAGE          PA 16148‐3751
PATRICIA ROWLAND      2033 OTTAWA RD                                                                        BRODHEAD           KY 40409‐9070
PATRICIA ROWLETT      27108 THORNRIDGE RD                                                                   GRAND BLANC        MI 48439‐9283
PATRICIA ROXBURY      4131 STRATFORD DR                                                                     NEW PORT RICHEY    FL 34652‐5231
PATRICIA ROZOF        4359 CARRIAGE HILL CT                                                                 ROCHESTER          MI 48306‐4672
PATRICIA ROZYCKI      364 ROSEBROCK ST                                                                      N TONAWANDA        NY 14120‐4154
PATRICIA RUDD         1918 EDISON ST                                                                        DANVILLE            IL 61832‐1829
PATRICIA RUDNICK      3401 MAUMEE AVE                                                                       DAYTON             OH 45414‐5169
PATRICIA RUEGER       918 CHELSEA AVE                                                                       DAYTON             OH 45420‐2725
PATRICIA RUELLE       1465 BLOOMINGDALE DR                                                                  TROY               MI 48085‐5050
PATRICIA RUMORA       216 BRIARWOOD LN                                                                      SCOTTSVILLE        NY 14546‐1243
PATRICIA RUNYON       4843 RATTEK RD                                                                        CLARKSTON          MI 48346‐4072
PATRICIA RUSSELL      3737 ATLANTIC AVE APT 604                                                             LONG BEACH         CA 90807‐6400
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Name                                  Address1                            Address2                     Address3    Address4         City                 State Zip
PATRICIA RUSSELL                      420 OLD TOWNE DR                                                                              BRENTWOOD             TN 37027‐4452
PATRICIA RUSSELL                      2692 HILLANDALE DR NW                                                                         GRAND RAPIDS          MI 49534‐1348
PATRICIA RUSSELL                      9248 SOUTHWEST COUNTY ROAD 143                                                                JASPER                FL 32052‐5242
PATRICIA RUSSELL                      1202 CINCINNATI AVE                                                                           ANDERSON              IN 46016‐1907
PATRICIA RUTHERFORD                   LOT 6                               704 WEST MAIN STREET                                      LOUDONVILLE           OH 44842‐1117
PATRICIA RUTLEDGE                     22 LYNAH WAY                                                                                  BLUFFTON              SC 29909‐4404
PATRICIA RUTTI                        13640 DALEBROOK AVE                                                                           BROOK PARK            OH 44142‐3148
PATRICIA RYE                          55 W RITCHIE RD                                                                               LINCOLN               MI 48742‐9224
PATRICIA RYERSON                      7183 LEWIS RD                                                                                 MOUNT MORRIS          MI 48458‐2229
PATRICIA RYMALOWSKI                   21630 ARROWHEAD ST                                                                            SAINT CLAIR SHORES    MI 48082‐1219
PATRICIA S BAILEY                     530 PERKINSWOOD BLVD NE                                                                       WARREN                OH 44483‐4408
PATRICIA S BOURQUIN                   9688 ST. RT. 368                                                                              HUNTSVILLE            OH 43324‐9639
PATRICIA S BRUNER                     955 RUSTIC CT                                                                                 MONROE                OH 45050
PATRICIA S BULICK                     990 CHERRY WAY                                                                                SHARON                PA 16146‐2427
PATRICIA S CARR                       1856 BOGEY WAY                                                                                HENDERSON             NV 89074‐1728
PATRICIA S COSTELLO                   5904 YORKTOWN LANE                                                                            AUSTINTOWN            OH 44515‐2210
PATRICIA S DALLAL                     C/O MERRILL LYNCH, PRIVATE CLIENT   2200 N RODNEY PARHAM RD      SUITE 300                    LITTLE ROCK           AR 72212
                                      GROUP
PATRICIA S DOWNING                    508 N THIRD ST.                                                                               DECATUR              IN   46733
PATRICIA S EVANS                      225 CEDAR DRIVE                                                                               W. MILTON            OH   45383‐1210
PATRICIA S FISHEL                     545 FRIEDBERG CH RD                                                                           WINSTON‐SALEM        NC   27127
PATRICIA S GRIMM                      2805 PEBBLE CRK                                                                               CORTLAND             OH   44410‐8911
PATRICIA S GRIMM                      2805 PEBBLE CREEK COURT                                                                       CORTLAND             OH   44410
PATRICIA S HANNA                      1960 PLEASANT VALLEY ROAD                                                                     NILES                OH   44446‐4413
PATRICIA S HENDERSON                  330 WARREN AVE                                                                                NILES                OH   44446
PATRICIA S JONES                      2465 RISHER RD SW                                                                             WARREN               OH   44485
PATRICIA S MCELWEE                    731 E WEDGE WOOD DR                                                                           MUSKEGON             MI   49445
PATRICIA S MCGANN                     1069 HYDE‐OAKFIELD RD.                                                                        N. BLOOMFIELD        OH   44450‐9720
PATRICIA S MILLER AND GEORGE S MILLER PATRICIA S AND GEORGE S MILLER      1608 CITATION DR                                          SOUTH PARK           PA   15129
JT
PATRICIA S MOLEK                      228 E BROADWAY AVE                                                                            GIRARD               OH   44420
PATRICIA S QUINN                      6068 E DODGE RD                                                                               MOUNT MORRIS         MI   48458‐9720
PATRICIA S REED                       3954 CLARIDGE DR.                                                                             YOUNGSTOWN           OH   44511‐1166
PATRICIA S SCHERER                    2700 FIELDBROOK COURT                                                                         TROY                 OH   45373‐6504
PATRICIA S SIRA                       4202 BERYL DRIVE                                                                              BELLBROOK            OH   45305‐1354
PATRICIA S SYPERT                     3831 NORTH WOODS CT NE. #5                                                                    WARREN               OH   44483‐4584
PATRICIA S THOMPSON                   150 RAYMOND AVE NW                                                                            WARREN               OH   44483‐1152
PATRICIA S TREAT                      319 WHISPER LN                                                                                XENIA                OH   45385
PATRICIA S VANBENTHUYSEN              205 MITCHELL AVE                                                                              MATTYDALE            NY   13211‐1739
PATRICIA S WEBSTER                    210 WICK AVE                                                                                  HERMITAGE            PA   16148
PATRICIA S WEITZEL                    15912 CREED RD.                                                                               DIAMOND              OH   44412‐9600
PATRICIA S WOOLF                      3683 DEVON DR                                                                                 SOUTHEAST WARREN     OH   44484
PATRICIA SABO                         31756 WIXSON DR                                                                               WARREN               MI   48092‐1421
PATRICIA SACKETT                      2200 HUMBOLDT AVE SOUTH                                                                       MINNEAPOLIS          MN   55405
PATRICIA SAGSTETTER                   BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS           OH   44236
PATRICIA SAINSBURY                    7296 E 1000 N                                                                                 N MANCHESTER         IN   46962‐8572
PATRICIA SALINAS                      1110 N LINCOLN ST                                                                             BAY CITY             MI   48708‐6161
PATRICIA SALLEY                       8460 WEHRLE DR                                                                                WILLIAMSVILLE        NY   14221‐7329
PATRICIA SALVAGGIO                    611 PARCHMOUNT AVE                                                                            PARCHMENT            MI   49004‐1736
PATRICIA SAMPSON                      42857 SAVAGE RD                                                                               BELLEVILLE           MI   48111‐3094
PATRICIA SANDERS                      1719 SHEFFIELD DR                                                                             YPSILANTI            MI   48198‐3633
PATRICIA SANDERS                      3 EUFALA TRL                                                                                  CHEROKEE VILLAGE     AR   72529‐2120
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Name                               Address1                          Address2                        Address3                   Address4         City                 State Zip
PATRICIA SANDERS                   2114 NW 10TH ST                                                                                               BLANCHARD             OK 73010‐3149
PATRICIA SANDERS                   63 SANDELWOOD ST                                                                                              SPRINGBORO            OH 45066‐5208
PATRICIA SANSPREE                  PO BOX 27                                                                                                     MAGNOLIA SPRINGS      AL 36555
PATRICIA SANTAMOUR                 31461 BLOCK ST APT 205                                                                                        GARDEN CITY           MI 48135‐1962
PATRICIA SAPIENZA                  15960 E VIEW DR                                                                                               MACOMB                MI 48044‐3925
PATRICIA SAPUTO                    5449 MOHAWK DR                                                                                                HARRISON              MI 48625‐9021
PATRICIA SARIANO                   506 KENBURY RD                                                                                                BRANCHBURG            NJ 08876‐3797
PATRICIA SARTOR                    602 HALF W ADAM ST                                                                                            SANDUSKY              OH 44870
PATRICIA SAUCEMAN                  1549 MADELINE ST                                                                                              MASURY                OH 44438‐1535
PATRICIA SAVAGE                    2833 EMERALD WAY                                                                                              WAYNESVILLE           OH 45068‐9591
PATRICIA SAVITSKIE                 6549 SCENIC DR                                                                                                SAULT SAINTE MARIE    MI 49783‐9026
PATRICIA SAWINSKI                  3235 BAXTER DR                                                                                                CURRAN                MI 48728‐9507
PATRICIA SAYLOR                    PO BOX 245                                                                                                    CLEVES                OH 45002‐0245
PATRICIA SCALES                    3 SHERIN DR                                                                                                   NEWARK                DE 19702‐6831
PATRICIA SCANLAN                   110 GEYA CIR                                                                                                  LOUDON                TN 37774‐2560
PATRICIA SCARPENA                  28 MALDINER AVE                                                                                               TONAWANDA             NY 14150‐4022
PATRICIA SCHACK
PATRICIA SCHAEFER                  34110 FONVILLE CT                                                                                             LIVONIA              MI   48152‐1218
PATRICIA SCHAFER                   13985 S.400W                                                                                                  KOKOMO               IN   46901
PATRICIA SCHERER                   2700 FIELDBROOK CT                                                                                            TROY                 OH   45373‐6504
PATRICIA SCHIRMER                  1720 S RIDGEWOOD PT                                                                                           INVERNESS            FL   34452‐3691
PATRICIA SCHLATER                  1690 HUNTERS TRACE DR             APT 101                                                                     MEMPHIS              TN   38120‐4475
PATRICIA SCHLENKERT                5338 W DOHERTY ST                                                                                             W BLOOMFIELD         MI   48323‐2708
PATRICIA SCHLORMAN                 12464 CHICKENBRISTLE RD                                                                                       FARMERSVILLE         OH   45325‐9259
PATRICIA SCHMIDT IRA               FCC AS CUSTODIAN                  4003 2ND AVE E                                                              BRADENTON            FL   34208‐8409
PATRICIA SCHMITTER                 9624 HIGHGATE CIR N                                                                                           INDIANAPOLIS         IN   46250‐3104
PATRICIA SCHMUCK                   3855 FILKINS DR NE                                                                                            GRAND RAPIDS         MI   49525‐2165
PATRICIA SCHNEIDER                 5932 GROVELINE DR                                                                                             ORLANDO              FL   32810‐5024
PATRICIA SCHNEIDER                 19681 SUMMERLIN RD J199                                                                                       FORT MYERS           FL   33908
PATRICIA SCHNEIDER                 284 E MAIN ST                                                                                                 EVANSVILLE           WI   53536‐1155
PATRICIA SCHOETTMER                5178 W ROWLAND LN                                                                                             SILVER LAKE          IN   46982‐9109
PATRICIA SCHOMAKER                 2803 1/2 STATE ST                                                                                             SAGINAW              MI   48602
PATRICIA SCHREIBER                 6864 BOGEY DR                                                                                                 FORT MYERS           FL   33919‐6335
PATRICIA SCHUCH                    4561 OAK POINTE DRIVE                                                                                         BRIGHTON             MI   48116
PATRICIA SCHUETT                   5433 S 73RD AVE                                                                                               SUMMIT               IL   60501‐1114
PATRICIA SCHULTZ                   PO BOX 294                                                                                                    GASPORT              NY   14067‐0294
PATRICIA SCHULTZ                   4771 SQUIRREL HILL DR                                                                                         TROY                 MI   48098‐6610
PATRICIA SCHUSTER                  3105 S LOTZ RD                                                                                                CANTON               MI   48188‐2812
PATRICIA SCHWAB                    PO BOX 338                                                                                                    LYNDON STATION       WI   53944‐0338
PATRICIA SCHWARZE                  42 SEAFOAM AVE # B                                                                                            WINFIELD PARK        NJ   07036
PATRICIA SCOTT                     3114 CHERRY ST                                                                                                SAGINAW              MI   48601‐6350
PATRICIA SCOTT                     8275 KONCZAL ST                   BLDG D APT 12                                                               CENTER LINE          MI   48015
PATRICIA SCOTT                     2005 ELIZABETH AVE                                                                                            SHELBY               NC   28150‐9633
PATRICIA SCOTT                     901 SANDRALEE DR                                                                                              TOLEDO               OH   43612‐3130
PATRICIA SCOTT                     6451 SOUTHAMPTON DR                                                                                           CLARKSTON            MI   48346‐3059
PATRICIA SEALS AS WRONGFUL DEATH   DECEDENT KAREN BETH SEALS ET AL   C/O CHAD D POINTS AT DENENA &   1776 YORKTOWN, SUITE 340                    HOUSTON              TX   77056
BENEFICIARY OF                                                       POINTS PC
PATRICIA SEARS                     614 E TENNYSON AVE                                                                                            PONTIAC              MI   48340‐2956
PATRICIA SEARS                     8640 E KEATING PARK ST LOT 205                                                                                FLORAL CITY          FL   34436‐2879
PATRICIA SECEN                     49517 KEYCOVE ST                                                                                              CHESTERFIELD         MI   48047‐2360
PATRICIA SEIBERS                   PO BOX 62                                                                                                     MORENCI              MI   49256‐0062
PATRICIA SEITZ                     6387 SPRINGDALE BLVD                                                                                          GRAND BLANC          MI   48439‐8550
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Name                           Address1                         Address2            Address3         Address4         City             State Zip
PATRICIA SELLS                 4312 BROWN ST                                                                          ANDERSON          IN 46013‐4451
PATRICIA SEMOS                 5908 SW 112TH PLACE RD                                                                 OCALA             FL 34476‐3816
PATRICIA SEPIC                 8929 OAK LEAF DR                                                                       STRONGSVILLE      OH 44136‐1858
PATRICIA SERATI                7610 SLOAN ST                                                                          TAYLOR            MI 48180‐2466
PATRICIA SERICH                235 W ELDER RD                                                                         HARRISON          MI 48625‐8502
PATRICIA SERMENO               2093 DELANEY ST                                                                        BURTON            MI 48509‐1022
PATRICIA SESCO                 1185 KNORR RD                                                                          GALION            OH 44833‐1448
PATRICIA SEVIGNY               PO BOX 69                                                                              WAYLAND           MI 49348‐0069
PATRICIA SEXTON                6062 BARKER DR                                                                         WATERFORD         MI 48329‐3100
PATRICIA SHACKELFORD           PO BOX 158                                                                             PICKWICK DAM      TN 38365‐0158
PATRICIA SHAFER                5517 SUGARLOAF DR                                                                      GRAND BLANC       MI 48439‐9155
PATRICIA SHAFFER               2151 SHERER AVE                                                                        DAYTON            OH 45414‐4633
PATRICIA SHAFFER               3128 W 12TH ST                                                                         ANDERSON          IN 46011‐2475
PATRICIA SHAMPO                913 STATE ROUTE 95                                                                     MOIRA             NY 12957‐1810
PATRICIA SHANKS                595 ROLFE RD                                                                           MASON             MI 48854‐9618
PATRICIA SHARP                 8929 NE SAMMY LN                                                                       KANSAS CITY       MO 64155‐2526
PATRICIA SHARPE                505 S LEAVITT RD                                                                       LEAVITTSBURG      OH 44430‐9793
PATRICIA SHAW                  1908 MIMOSA LN                                                                         ANDERSON          IN 46011‐1139
PATRICIA SHAW                  490 US HIGHWAY 42                                                                      ASHLAND           OH 44805‐9501
PATRICIA SHAW                  3333 E STATE ROAD 38                                                                   MARKLEVILLE       IN 46056‐9700
PATRICIA SHAW                  9035 WALTON ST                                                                         INDIANAPOLIS      IN 46231‐1163
PATRICIA SHAW                  10070 WHIPPLE TREE LN                                                                  CLARKSTON         MI 48348‐2054
PATRICIA SHAWLEY               1413 S JACKSON AVE                                                                     DEFIANCE          OH 43512‐3208
PATRICIA SHELBY                4200 N OAKWOOD AVE                                                                     MUNCIE            IN 47304‐1415
PATRICIA SHELDON               6475 MARINA DR                                                                         ALGONAC           MI 48001‐4218
PATRICIA SHELL                 4122 BURTON PLACE CT                                                                   ANDERSON          IN 46013‐5600
PATRICIA SHELNUTT              1160 YOUTH JERSEY RD                                                                   LOGANVILLE        GA 30052‐4551
PATRICIA SHEPHERD              PO BOX 13                                                                              CATLIN             IL 61817‐0013
PATRICIA SHEPHERD              150 HILLTOP RD                                                                         MANSFIELD         OH 44906‐1350
PATRICIA SHERILL ROGERS LEIB   30 STEVENSON DR                                                                        GREAT NECK        NY 11023
PATRICIA SHERWOOD‐CASWELL      51 APPIAN DR                                                                           ROCHESTER         NY 14606‐4718
PATRICIA SHETTERLY             1003 E CLYDE ST                                                                        FRANKTON          IN 46044‐9379
PATRICIA SHICK                 9180 W 800 S #35                                                                       LA FONTAINE       IN 46940
PATRICIA SHIER                 6795 LINGOR APT 4                                                                      CLARKSTON         MI 48346‐2777
PATRICIA SHINABARGER           3349 BURROUGHS AVE                                                                     BURTON            MI 48529‐1063
PATRICIA SHIPMAN               710 JACKSON AVE                                                                        LINDEN            NJ 07036‐2106
PATRICIA SHOALES               5256 FEDORA DR                                                                         TROY              MI 48085‐4044
PATRICIA SHRADER               9222 E 100 N                                                                           GREENTOWN         IN 46936‐8869
PATRICIA SHROYER               1256 N 400 W                                                                           MARION            IN 46952‐9236
PATRICIA SHUBERT               47 SPRUCE DR                                                                           ANDOVER           OH 44003‐9484
PATRICIA SHULER                19087 W BRANT RD                                                                       BRANT             MI 48614‐9757
PATRICIA SHUSTOCK              1738 JANE AVE                                                                          FLINT             MI 48506‐3371
PATRICIA SIANNI                1011 MCDOWELL ST                                                                       WILMINGTON        DE 19805‐2735
PATRICIA SIAS                  230 LIVINGSTON RD NE                                                                   BROOKHAVEN        MS 39601‐2251
PATRICIA SIDEBOTTOM            30431 IROQUOIS DR                                                                      WARREN            MI 48088‐5039
PATRICIA SIELSKI               832 RADCLIFF ST                                                                        GARDEN CITY       MI 48135‐1051
PATRICIA SILER                 17483 ELLEN DR                                                                         LIVONIA           MI 48152‐2988
PATRICIA SILLS                 8544 SAINT CLAIR RD                                                                    LAINGSBURG        MI 48848‐9427
PATRICIA SIMCOE                2936 CUNNINGHAM DR                                                                     FORT WAYNE        IN 46804‐2423
PATRICIA SIMMONS               819 TRUMBULL DR                                                                        NILES             OH 44446‐2125
PATRICIA SIMMONS               138 SUGARMAN RD                                                                        COATESVILLE       PA 19320‐1717
PATRICIA SIMMONS               27594 LOS AMIGOS LN                                                                    BONITA SPRINGS    FL 34135‐3550
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Name                    Address1                         Address2                     Address3   Address4         City            State Zip
PATRICIA SIMS           15344 MANOR ST                                                                            DETROIT          MI 48238‐1630
PATRICIA SINCLAIR       9028 DEER CREEK RD                                                                        GREENTOWN        IN 46936‐9620
PATRICIA SINKO          8180 DEERWOOD RD                                                                          CLARKSTON        MI 48348‐4531
PATRICIA SKAPYAK        21345 DALTON CT                                                                           MACOMB           MI 48044‐1871
PATRICIA SKELTON        15422 SORRENTO ST                                                                         DETROIT          MI 48227‐4026
PATRICIA SKELTON        1232 HEYDEN AVE                                                                           WATERFORD        MI 48328‐1218
PATRICIA SKEOCH         13902 RIVER BIRCH WAY                                                                     CARMEL           IN 46033‐9566
PATRICIA SLAGLE         6274E‐100N                                                                                KOKOMO           IN 46901
PATRICIA SLATTERY       1110 LUCHARLES AVE                                                                        MOUNT MORRIS     MI 48458‐2135
PATRICIA SLEIMAN        4208 MERRIMAN LOOP                                                                        HOWELL           MI 48843‐5212
PATRICIA SLIDER         313 MEADOWHILL DR                                                                         BENBROOK         TX 76126‐4014
PATRICIA SLOMBA         158 PANAMA ST                                                                             PITTSTON         PA 18640
PATRICIA SMETANA        374 EVANGELINE DR                                                                         ELM GROVE        LA 71051‐9580
PATRICIA SMITH          22 W ESTATE ST                                                                            ANDERSON         IN 46013‐3815
PATRICIA SMITH          301 JEFFREY LN                                                                            PENDLETON        IN 46064‐8806
PATRICIA SMITH          351 STROEBEL DR                                                                           FRANKENMUTH      MI 48734‐9319
PATRICIA SMITH          351 JAYBIRD LN                                                                            GRAYSON          KY 41143‐8280
PATRICIA SMITH          1864 HIGHWAY 36 W                                                                         JACKSON          GA 30233‐5552
PATRICIA SMITH          35883 NORWICH RD                                                                          ONTONAGON        MI 49953‐9021
PATRICIA SMITH          10531 JACKSON ST                                                                          BELLEVILLE       MI 48111‐3466
PATRICIA SMITH          5101 DIVISION AVE N                                                                       COMSTOCK PARK    MI 49321‐8224
PATRICIA SMITH          2136 CRESCENT LAKE RD                                                                     WATERFORD        MI 48329‐3730
PATRICIA SMITH          78 POPE DRIVE RD                                                                          SCOTTSVILLE      KY 42164‐8859
PATRICIA SMITH          PO BOX 290                                                                                ATHENS           AL 35612‐0290
PATRICIA SMITH          2195 VIRGINIA PINE PL                                                                     LAS CRUCES       NM 88012‐6090
PATRICIA SMITH          1139 BRIGHTWELL DR                                                                        HOLIDAY          FL 34690‐5710
PATRICIA SMITH          822 BEECHWOOD AVE                                                                         LADY LAKE        FL 32159‐2308
PATRICIA SMITH          6609 MAJESTIC ST                                                                          DETROIT          MI 48210‐1170
PATRICIA SMITH          105 S MAIN ST                                                                             ENGLEWOOD        OH 45322‐1345
PATRICIA SMITH          PO BOX 103                                                                                BRONSON           IA 51007‐0103
PATRICIA SMITH          18685 GLENHURST ST                                                                        DETROIT          MI 48219‐2216
PATRICIA SMITH          21 W BROOKLYN AVE                                                                         PONTIAC          MI 48340‐1119
PATRICIA SMITH          28820 PARK CT                                                                             MADISON HTS      MI 48071‐3019
PATRICIA SMITH          309 PLUM CREEK RD                                                                         LAPEER           MI 48446‐7732
PATRICIA SMITH          12090 WILSHIRE DR                                                                         DETROIT          MI 48213‐1728
PATRICIA SMITH          568 N COUNTY ROAD 500 E                                                                   AVON             IN 46123‐9056
PATRICIA SMITH          19 ABBINGTON DR NW                                                                        WARREN           OH 44481‐9002
PATRICIA SMITH          10554 JO ANN LN                                                                           PLYMOUTH         MI 48170‐3852
PATRICIA SMITH          C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
PATRICIA SMOLEN         9010 STONEGATE DR                                                                         CLARKSTON        MI 48348‐2582
PATRICIA SMRDEL         1007 MEADOWLARK LN                                                                        MEDINA           OH 44256‐1665
PATRICIA SNELLING       105 CHATEAU TER APT 1                                                                     ATHENS           GA 30606‐5424
PATRICIA SNIECIKOWSKI   19825 KEMP ST                                                                             CLINTON TWP      MI 48035‐3483
PATRICIA SNIPES         969 HARDESTY BLVD                                                                         AKRON            OH 44320‐2743
PATRICIA SNODGRASS      4922 SOUTHERN AVE                                                                         ANDERSON         IN 46013‐4845
PATRICIA SNOVER         20 SOUTHBRIDGE RD                PORTER SQUARE                                            BEAR             DE 19701‐1611
PATRICIA SNYDER         3063 KERRY ST                                                                             MOUNT MORRIS     MI 48458‐8210
PATRICIA SOBLO          11776 N ADRIAN HWY                                                                        CLINTON          MI 49236‐9723
PATRICIA SOFRANKO       600 BROAD ST                                                                              MT PLEASANT      PA 15666‐1202
PATRICIA SOLAK          19620 SWITZER RD                                                                          DEFIANCE         OH 43512‐9730
PATRICIA SOLBERG        517 FEATHER TRL                                                                           NEKOOSA          WI 54457‐7915
PATRICIA SOPER          329 1ST ST                       UPSTAIRS                                                 LIVERPOOL        NY 13088‐5111
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Name                   Address1                        Address2                     Address3   Address4         City            State Zip
PATRICIA SORRELL       1220 PHILLIPS AVE                                                                        DAYTON           OH 45410‐2635
PATRICIA SOULIA        PO BOX 957                                                                               ROOSEVELTOWN     NY 13683‐0957
PATRICIA SOUTHALL      1102 VINTAGE POINTE DR                                                                   LAWRENCEVILLE    GA 30044‐3278
PATRICIA SOUTHALL      21030 S KING PL                                                                          FERNDALE         MI 48220‐2112
PATRICIA SOUTHERLAND   4997 SPRING HILL DR                                                                      SUGAR HILL       GA 30518‐4665
PATRICIA SPAULDING     5900 WEST 750 NORTH                                                                      SHIPSHEWANA      IN 46565‐8560
PATRICIA SPIKER        133 NORTHWEST RIO ST                                                                     TOPEKA           KS 66617
PATRICIA SPILLERS      7205 RIVERVIEW DR                                                                        FLINT            MI 48532‐2275
PATRICIA SPITZLEY      6748 HIGHLAND DR                                                                         LAINGSBURG       MI 48848‐9203
PATRICIA SPRAGUE       8 CRANE LAKE DR                                                                          LINDEN           MI 48451‐9427
PATRICIA SPRINGER      3755 WILLIAMS ST                                                                         INKSTER          MI 48141‐3049
PATRICIA ST CHARLES    1484 CAIRN CT                                                                            PALM HARBOR      FL 34683‐6365
PATRICIA ST CLAIR      406 E DUTCHESS                                                                           WALTON           IN 46994‐4140
PATRICIA STACY         2033 BEAR RIDGE RD APT 103                                                               BALTIMORE        MD 21222‐5787
PATRICIA STALLINGS     635 E FERRY ST                                                                           BUFFALO          NY 14211‐1138
PATRICIA STANEK        2361 N NICKLAUS DR                                                                       MESA             AZ 85215‐2663
PATRICIA STANFORD      697 BEVERLY HILLS DR                                                                     YOUNGSTOWN       OH 44505‐1117
PATRICIA STANIFER      4846 PROSPECT AVE                                                                        CINCINNATI       OH 45242‐6235
PATRICIA STANLEY       14 MOUND MANOR DR.                                                                       SAINT MARYS      WV 26170
PATRICIA STANLEY       4322 N 700 W                                                                             MARION           IN 46952‐9346
PATRICIA STANTON       10105 S 200TH EAST AVE                                                                   BROKEN ARROW     OK 74014‐3540
PATRICIA STARK         22320 HEATHERBRAE WAY S                                                                  NOVI             MI 48375‐4930
PATRICIA STARR         3918 DEVEREAUX DR                                                                        JANESVILLE       WI 53546‐4006
PATRICIA STASHINKO     2644 BLACK OAK DR                                                                        NILES            OH 44446‐4469
PATRICIA STEBBINS      6048 SUN VALLEY DR                                                                       GRAND BLANC      MI 48439‐9165
PATRICIA STEFFANS      2579 STONY POINT ROAD                                                                    GRAND ISLAND     NY 14072‐1828
PATRICIA STEFFEY       6652 S NEW JERSEY ST                                                                     INDIANAPOLIS     IN 46227‐7325
PATRICIA STEMPER       5919 WYNKOOP RD                                                                          LOCKPORT         NY 14094‐9370
PATRICIA STEPANICK     6220 MOCKINGBIRD LN                                                                      FLINT            MI 48506‐1606
PATRICIA STEPHEN       4018 PARDEE AVE                                                                          DEARBORN HTS     MI 48125‐2408
PATRICIA STEPHENS      43915 MARNE CT                                                                           CANTON           MI 48188‐1721
PATRICIA STEPHENS      423 SHERWOOD FOREST CT                                                                   ARLINGTON        TX 76012‐5913
PATRICIA STEVENS       166 IRENE CT                                                                             COLONIA          NJ 07067‐1717
PATRICIA STEWART       72 BREUNIG AVE                                                                           TRENTON          NJ 08638‐3402
PATRICIA STEWART       241 E NEWBERRY ST                                                                        ROMEO            MI 48065‐4771
PATRICIA STEWART       2919 GLENBROOK DR                                                                        LANSING          MI 48911‐2340
PATRICIA STEWART       2406 DAVENPORT AVE                                                                       SAGINAW          MI 48602‐3838
PATRICIA STEWART       65 MARK AVE                                                                              PONTIAC          MI 48341‐1347
PATRICIA STEWART       4914 CAPRICE DR                                                                          MIDDLETOWN       OH 45044‐7158
PATRICIA STEWART       261 SWEET ALYSSUM DR                                                                     LADSON           SC 29456‐3897
PATRICIA STILWILL      1422 WALTER AVE                                                                          LOUISVILLE       KY 40215‐1054
PATRICIA STIMAC        11232 N BRAY RD                                                                          CLIO             MI 48420‐7955
PATRICIA STINZIANO     121 JOHN ST                                                                              SYRACUSE         NY 13208‐2741
PATRICIA STOAKES       PO BOX 212                                                                               IONIA            MI 48846‐0212
PATRICIA STOCKMAN      21646 MONTMORENCY S                                                                      MACOMB           MI 48044‐6012
PATRICIA STODGELL      508 BRIAR CT                                                                             KOKOMO           IN 46901‐5023
PATRICIA STOKES        3509 KEYES ST                                                                            FLINT            MI 48504‐2205
PATRICIA STOKES        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
PATRICIA STOLLING      804 N EPPINGTON DR                                                                       TROTWOOD         OH 45426‐2522
PATRICIA STONE         621 RIDGE RD S                                                                           MARTINSBURG      WV 25403‐0833
PATRICIA STONE         3740 DAKOTA AVE                                                                          FLINT            MI 48506‐3169
PATRICIA STONE         1824 S CO RD ‐ 600 W                                                                     RUSSIAVILLE      IN 46979
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Name                    Address1                            Address2           Address3      Address4         City                State Zip
PATRICIA STONE          45695 HANFORD RD                                                                      CANTON               MI 48187‐4780
PATRICIA STONE          2822 BRANDON ST                                                                       FLINT                MI 48503‐3451
PATRICIA STONER         180 HELEN AVE                                                                         NILES                OH 44446‐1907
PATRICIA STOUT          16810 KIRKPATRICK RD                                                                  UTICA                OH 43080‐9546
PATRICIA STOVER         223 MELROSE ST                                                                        NEW HAVEN            MO 63068‐1230
PATRICIA STOW           220 E STATE ST                                                                        NEW ROSS             IN 47968‐8086
PATRICIA STRANGE        354 W 43RD CT                                                                         GRIFFITH             IN 46319‐1585
PATRICIA STRATTON       1054 LAPORT AVE                                                                       MOUNT MORRIS         MI 48458‐2522
PATRICIA STREET         16919 LAUDERDALE AVE                                                                  BEVERLY HILLS        MI 48025‐5550
PATRICIA STREETER       PO BOX 1906                         1122 LYDEN AVE                                    YOUNGSTOWN           OH 44506‐0006
PATRICIA STROUGHTER     244 CRITTENDEN WAY APT 3                                                              ROCHESTER            NY 14623‐2214
PATRICIA STROUP         PO BOX 21                                                                             WASHINGTON COURT     OH 43160‐0021
                                                                                                              HOUSE
PATRICIA STROUP         1532 INVERNESS DR                                                                     MECHANICSBURG       PA   17050‐8328
PATRICIA STUBBLEFIELD   1301 SHEPPARD RD                                                                      BURKBURNETT         TX   76354‐3317
PATRICIA STUCK          849 COMMONWEALTH ST                                                                   SAGINAW             MI   48604‐1105
PATRICIA STUHLDREHER    32 N ROANOKE AVE                                                                      AUSTINTOWN          OH   44515‐2931
PATRICIA STULLER        311 N COLONY DR APT 2B                                                                SAGINAW             MI   48638‐7111
PATRICIA STUMPNER       4238 COUNTY HWY A                                                                     STETSONVILLE        WI   54480
PATRICIA SUITER         5409 SUNSET AVE                                                                       PANAMA CITY BEACH   FL   32408‐6630
PATRICIA SULLIVAN       14424 GRENWICH CT 1526‐5                                                              SHELBY TOWNSHIP     MI   48315
PATRICIA SULLIVAN       16857 OLE GRIST RUN                 OVERBROOK SHORES                                  MILTON              DE   19968‐3442
PATRICIA SUMMERS        146 SUMMERSVILLE CIR                                                                  SUNRISE BEACH       MO   65079‐6717
PATRICIA SUMMERS        1805 S COURTLAND AVE                                                                  KOKOMO              IN   46902‐2051
PATRICIA SUMMERS        16609 HAMPTON LN                                                                      ATHENS              AL   35611‐8201
PATRICIA SUNDIN         46803 RIVERWOODS DR                                                                   MACOMB              MI   48044‐5704
PATRICIA SUSKI          4410 ASHLAWN DR                                                                       FLINT               MI   48507‐5656
PATRICIA SUTHERBY       1674 20TH ST                                                                          WYANDOTTE           MI   48192‐3514
PATRICIA SUTTLES        705 JACOBS RD                                                                         YOUNGSTOWN          OH   44505‐4238
PATRICIA SUTTON         405 CAROL RENEE CT                                                                    O FALLON            MO   63366‐3358
PATRICIA SVERCAUSKI     159 W 24TH ST                                                                         BAYONNE             NJ   07002‐1741
PATRICIA SWANINGER      15235 PINEWOOD TRL                                                                    LINDEN              MI   48451‐9015
PATRICIA SWARTZ         315 BELLEVIEW DR                                                                      FORT MEADE          FL   33841‐2301
PATRICIA SWEET          4246 PORT ROYAL RD                                                                    SPRING HILL         TN   37174‐2136
PATRICIA SWIASTYN       4403 WINDIATE PARK DR                                                                 WATERFORD           MI   48329‐1268
PATRICIA SWINDELL       2877 SWAILES RD                                                                       TROY                OH   45373‐9255
PATRICIA SWISTON        2168 VIOLET CIR APT 1                                                                 NIAGARA FALLS       NY   14304‐6502
PATRICIA SYDOW          2677 PORCUPINE TRL                                                                    LAPEER              MI   48446‐8324
PATRICIA SYMMES         11199 RIDDLES RUN ROAD                                                                UNION               KY   41091‐9716
PATRICIA SYMONS         4945 SHERIDAN RD                                                                      SAGINAW             MI   48601‐9303
PATRICIA SYPERT         3831 NORTHWOODS CT NE UNIT 5                                                          WARREN              OH   44483‐4584
PATRICIA SZWED          830 SCHUYLER DR                                                                       WHITE LAKE          MI   48383‐3063
PATRICIA T KENNEDY      221 DIEHL SOUTH RD                                                                    LEAVITTSBURG        OH   44430
PATRICIA T SHUBERT      47 SPRUCE DRIVE                                                                       ANDOVER             OH   44003
PATRICIA T VANCISE      82 CARTER CIRCLE APT 3                                                                BOARDMAN            OH   44512‐6626
PATRICIA TACKETT        10029 PLEASANT LAKE BLVD APT P‐14                                                     PARMA               OH   44130‐7549
PATRICIA TAKACS         1870 CARDINAL CT                                                                      NILES               OH   44446‐4102
PATRICIA TALTON         22352 W 12 MILE RD                                                                    SOUTHFIELD          MI   48034‐4675
PATRICIA TARTER         5308 OLD SMITH VALLEY RD                                                              GREENWOOD           IN   46143‐8894
PATRICIA TATA           15212 TROY ST                                                                         TAYLOR              MI   48180‐7701
PATRICIA TATAR          1241 LEON DR                                                                          WEST ALEXANDRIA     OH   45381‐9351
PATRICIA TATU
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Name                                     Address1                         Address2                     Address3   Address4         City            State Zip
PATRICIA TAYLOR                          12225 MAGNOLIA CIR                                                                        ALPHARETTA       GA 30005‐7233
PATRICIA TAYLOR                          1034 DELRAY DR                                                                            INDIANAPOLIS     IN 46241‐1772
PATRICIA TAYLOR                          PO BOX 10408                                                                              CLEVELAND        OH 44110‐0408
PATRICIA TAYLOR                          427 HILLWOOD DR                                                                           AKRON            OH 44320‐2338
PATRICIA TAYLOR                          402 S PARK ST                                                                             FRANKTON         IN 46044‐9662
PATRICIA TAYLOR                          37 ALYSSA CT                                                                              CORTLAND         OH 44410‐1679
PATRICIA TAYLOR                          1313 PALMER AVE                                                                           OWOSSO           MI 48867‐8923
PATRICIA TAYLOR                          3406 FIELD RD                                                                             CLIO             MI 48420‐1165
PATRICIA TAYLOR                          601 STOCKDALE ST                                                                          FLINT            MI 48503‐5162
PATRICIA TAYLOR                          2450 KROUSE RD LOT 319                                                                    OWOSSO           MI 48867‐9314
PATRICIA TAYLOR                          9615 SHERIDAN RD                                                                          MILLINGTON       MI 48746‐9304
PATRICIA TAYLOR                          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
PATRICIA TAYLOR EX OF THE EST OF FLOYD   THE SUTTER LAW FIRM PLLC         1598 KANAWHA BLVD E                                      CHARLESTON       WV 25311
TAYLOR
PATRICIA TEDDER                          1522 BETTS CREEK DR                                                                       AUBURN          GA   30011‐3263
PATRICIA TERA BASSIE                     30 ABBY LN                                                                                ROCHESTER       NY   14606‐4900
PATRICIA TERHAAR                         4906 BLACKMAN RD                                                                          LOCKPORT        NY   14094‐9740
PATRICIA TESSIER                         22059 LE FEVER AVE                                                                        WARREN          MI   48091‐5231
PATRICIA TESTER                          PO BOX 93                                                                                 WHEELER         MI   48662‐0093
PATRICIA TEWS                            919 WESTON ST                                                                             LANSING         MI   48917‐4175
PATRICIA THAYER                          216 S BRADLEYVILLE RD                                                                     REESE           MI   48757‐9569
PATRICIA THERMAN                         811 61ST ST                                                                               OAKLAND         CA   94608‐1411
PATRICIA THIEL                           8410 W 87TH ST                                                                            HICKORY HILLS   IL   60457‐1135
PATRICIA THOMAS                          3595 KING RD                                                                              SAGINAW         MI   48601‐7141
PATRICIA THOMAS                          938 SMILEY AVE                                                                            CINCINNATI      OH   45240‐1834
PATRICIA THOMAS                          6445 WEBB DR                                                                              FLINT           MI   48506‐1744
PATRICIA THOMAS                          131 TOWLER SHOALS DR                                                                      LOGANVILLE      GA   30052‐7366
PATRICIA THOMAS‐JACKSON                  2147 HOLLANDALE CIR                                                                       COLUMBIA        TN   38401‐5692
PATRICIA THOMPSON                        40 MEADOW LN                                                                              NEWARK          DE   19713‐2545
PATRICIA THOMPSON                        406 W MARENGO AVE                                                                         FLINT           MI   48505‐3297
PATRICIA THOMPSON                        7701 LINDBERGH BLVD APT 217                                                               PHILADELPHIA    PA   19153‐2107
PATRICIA THOMPSON                        150 RAYMOND AVE NW                                                                        WARREN          OH   44483‐1152
PATRICIA THOMPSON                        383 ATWOOD ST NW                                                                          WARREN          OH   44483‐2116
PATRICIA THOMPSON                        2668 LIDO LN                                                                              SAINT LOUIS     MO   63129‐5422
PATRICIA THOMPSON                        5530 WILSON AVE                                                                           SCIOTOVILLE     OH   45662‐5221
PATRICIA THOMPSON                        5105 MARK DAVID DR                                                                        SWARTZ CREEK    MI   48473‐8557
PATRICIA THORNBURG                       5323 MICK AVE SE                                                                          KENTWOOD        MI   49548‐5815
PATRICIA THORNTON                        1991 STREAMWOOD LN                                                                        STERLING HTS    MI   48310‐7817
PATRICIA THORSBY                         14103 N CLIO RD                                                                           CLIO            MI   48420‐8804
PATRICIA THRELKELD                       11616 KINGS COLONY                                                                        GRAND BLANC     MI   48439
PATRICIA TICHVON                         1147 W KALAMO HWY                                                                         CHARLOTTE       MI   48813‐9535
PATRICIA TICNOR                          40 BEE JAY DR                                                                             LANSING         MI   48906‐2313
PATRICIA TIDD                            3002 S WAVERLY RD                                                                         EATON RAPIDS    MI   48827‐9738
PATRICIA TIERNEY                         419 W MAIN ST                                                                             EVANSVILLE      WI   53536‐1022
PATRICIA TILLMON                         370 EASTON CIR                                                                            BOWLING GREEN   KY   42101‐0753
PATRICIA TIMMONS                         581 OLD RIVER RD                                                                          PELZER          SC   29669‐9184
PATRICIA TINERRIN TTEE THOMAS            PATRICIA TINERRIN                1049 PINE RIDGE DR                                       SHOW LOW        AZ   85901
TINERRIN DECEDENTS TR
PATRICIA TINERVIN                        1049 PINE RIDGE DR                                                                        SHOW LOW        AZ   85901
PATRICIA TINERVIN                        1889 N CAMINO ALICANTE                                                                    TUCSON          AZ   85715
PATRICIA TINGLE                          3631 RIDGECLIFFE DR                                                                       FLINT           MI   48532‐3765
PATRICIA TISLAND                         2611 SPRINGFIELD AVE                                                                      FORT WAYNE      IN   46805‐1549
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Name                        Address1                       Address2              Address3              Address4         City            State Zip
PATRICIA TODARO             8 WINDSOR FALLS DR                                                                          ORMOND BEACH     FL 32174‐8291
PATRICIA TODD               22501 TODD RD                                                                               TONGANOXIE       KS 66086‐4356
PATRICIA TOMASI             23 FORTUNE LN APT A                                                                         ROCHESTER        NY 14626‐1854
PATRICIA TOMASZEWSKI        2017 E DAYTON RD                                                                            CARO             MI 48723‐9476
PATRICIA TOMPKINS           2190 CLEARVIEW AVE NW                                                                       WARREN           OH 44483‐1334
PATRICIA TOPPS              211 HAYES AVE                                                                               LA GRANGE         IL 60525‐2531
PATRICIA TORNER             3922 NW 85TH TER APT C                                                                      KANSAS CITY      MO 64154‐5805
PATRICIA TOSCAS             19146 HUNTINGTON AVE                                                                        HARPER WOODS     MI 48225‐2088
PATRICIA TOURNEY            37650 JUNIPER DR                                                                            STERLING HTS     MI 48310‐3948
PATRICIA TOWNSEND           1755 PLEASANT VALLEY RD                                                                     GIRARD           OH 44420‐1262
PATRICIA TRAIL              8622 N BELTON AVE                                                                           KANSAS CITY      MO 64154‐3905
PATRICIA TRAYLOR            4903 WESTCHESTER DR UNIT 2                                                                  YOUNGSTOWN       OH 44515‐6523
PATRICIA TREADWAY           8008 NW 19TH ST                                                                             OKLAHOMA CITY    OK 73127‐1128
PATRICIA TREVINO            8605 NW 81ST TER                                                                            KANSAS CITY      MO 64152‐4128
PATRICIA TRIPODI            415 EAST ELM STREET                                                                         LINDEN           NJ 07036
PATRICIA TRONDSON           10553 PARDEE RD                                                                             TAYLOR           MI 48180‐3533
PATRICIA TROOPAN PERSONAL   FOR NICOLAC TROOPAN            C/O BRAYTON PURCELL   222 RUSH LANDING RD                    NOVATO           CA 94948‐6169
REPRESENTATIVE
PATRICIA TROTTER            6028 VERNON ST                                                                              BELLEVILLE      MI   48111‐5010
PATRICIA TROUT              958 E NORTHFIELD AVE                                                                        PONTIAC         MI   48340‐1455
PATRICIA TRURAN             7452 COFFIN STATION RD                                                                      SPRINGFIELD     OH   45502‐8908
PATRICIA TRUSTY             6904 VERDE DR                                                                               KANSAS CITY     KS   66109‐2525
PATRICIA TRYCHEL            9408 SUMMERFIELD RD                                                                         TEMPERANCE      MI   48182‐9760
PATRICIA TUCKER             4600 BRITTON RD LOT 35                                                                      PERRY           MI   48872‐8753
PATRICIA TUCKER             7540 NIANTIC AVE 7                                                                          SEBASTIAN       FL   32976
PATRICIA TUR                231 LOSSON RD                                                                               CHEEKTOWAGA     NY   14227
PATRICIA TURCHECK           1585 MCKINLEY AVE                                                                           BRUNSWICK       OH   44212‐3356
PATRICIA TURNER             7019 EL MATADOR STREET                                                                      ZEPHYRHILLS     FL   33541‐1382
PATRICIA TURNER             3661 ASHTON CT                                                                              GULF SHORES     AL   36542‐9095
PATRICIA TURNER             6910 SYRACUSE ST                                                                            TAYLOR          MI   48180‐1716
PATRICIA TUTOKI             1686 SANDHURST RD                                                                           COLUMBUS        OH   43229‐2643
PATRICIA TUTTEROW           3833 SAN MIGUEL LN                                                                          ROCKLEDGE       FL   32955‐5377
PATRICIA TWEED              PO BOX 215                                                                                  BEAVERTON       MI   48612‐0215
PATRICIA TYLER              7930 S DURAND RD                                                                            DURAND          MI   48429‐9456
PATRICIA U'REN              1429 OGDEN DR                                                                               TROY            MI   48083‐5392
PATRICIA UHL                804 MILLER RD                                                                               LAKE ORION      MI   48362‐3662
PATRICIA ULLRICH            1920 DENBURY DR                                                                             BALTIMORE       MD   21222‐4601
PATRICIA UNDERWOOD          167 WELLINGTON DR                                                                           LAGRANGE        GA   30241‐7729
PATRICIA URICK              35815 BAL CLAIR ST                                                                          NEW BALTIMORE   MI   48047‐2457
PATRICIA V BROWN            52 JOYCE KILMER AVENUE                                                                      NEW BRUNSWICK   NJ   08901‐2442
PATRICIA V LYNCH            2630 ROXANNE DR.                                                                            PEARL           MS   39208
PATRICIA V SUTTLES          705 JACOBS ROAD                                                                             YOUNGSTOWN      OH   44505‐4238
PATRICIA V SUTTLES          705 JACOBS RD                                                                               YOUNGSTOWN      OH   44505‐4238
PATRICIA VALANTAS           30430 BROWN ST                                                                              GARDEN CITY     MI   48135‐1425
PATRICIA VALLANCE           39865 GREENVIEW PL APT 6                                                                    PLYMOUTH        MI   48170‐4571
PATRICIA VALLIN             4733 W LOWE RD                                                                              SAINT JOHNS     MI   48879‐9474
PATRICIA VANCE              7326 BIRCH ST                                                                               TAYLOR          MI   48180‐2391
PATRICIA VANCISE            82 CARTER CIR APT 3                                                                         BOARDMAN        OH   44512‐6626
PATRICIA VANCLEVE           116 AR VANCLEVE RD                                                                          CAMPTON         KY   41301‐9601
PATRICIA VANDER MAAS        331 NETHERFIELD ST NW                                                                       COMSTOCK PARK   MI   49321‐9371
PATRICIA VANDERPOOL         5021 DRAYTON RD                                                                             CLARKSTON       MI   48346‐3705
PATRICIA VANHAAREN          3382 LAURIA RD                                                                              BAY CITY        MI   48706‐8101
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Name                     Address1                       Address2              Address3       Address4         City              State Zip
PATRICIA VANLEERSUM      5464 CARLSBAD BLVD                                                                   CARLSBAD           CA 92008‐4416
PATRICIA VANSTEENHOUSE   529 BURWICK                                                                          TEMPERANCE         MI 48182‐2331
PATRICIA VARDAMAN        22353 HAMPTON CT                                                                     SOUTHFIELD         MI 48034‐2123
PATRICIA VARDY           24704 HOPKINS ST                                                                     DEARBORN HTS       MI 48125‐1619
PATRICIA VARGO           4375 W 66TH ST                                                                       CLEVELAND          OH 44144‐2841
PATRICIA VARGO           216 CLAREMONT AVE                                                                    BUFFALO            NY 14223‐2921
PATRICIA VARNER          1709 CRANBERRY LANE NE         APT 154                                               WARREN             OH 44483
PATRICIA VASSAR          9960 SCAIFE RD                                                                       MOORINGSPORT       LA 71060‐8767
PATRICIA VAUGHN          118 PINE GROVE RD                                                                    MOUNT JULIET       TN 37122‐8200
PATRICIA VELA            9297 W HERBISON RD                                                                   EAGLE              MI 48822‐9785
PATRICIA VELIA           120 IRVING ST                                                                        LOCKPORT           NY 14094‐2542
PATRICIA VENTIMIGLIA     845 N MACKINAW RD                                                                    AU GRES            MI 48703‐9781
PATRICIA VERBICKAS       39 ROBIN WAY                                                                         WESTERLY            RI 02891‐4910
PATRICIA VERMETTE        17154 ROBERT ST                                                                      MELVINDALE         MI 48122‐1015
PATRICIA VESPERMAN       PO BOX 726                                                                           ATLANTA            MI 49709‐0726
PATRICIA VESPIE          5813 DEEPWOOD CT                                                                     CLARKSTON          MI 48346‐3165
PATRICIA VIS             18015 ELAINE AVE                                                                     ARTESIA            CA 90701‐4209
PATRICIA VOGT            1180 BOWEN DR W                                                                      NORTH TONAWANDA    NY 14120‐2861
PATRICIA VOWELL          6517 HELEN ST                                                                        GARDEN CITY        MI 48135‐2285
PATRICIA VUCKOVICH       3358 HERITAGE BLVD                                                                   SWARTZ CREEK       MI 48473‐7956
PATRICIA W DANIELS       4081 MADISON RD                                                                      YOUNGSTOWN         OH 44505
PATRICIA W DOTSON        5792 LOUISE N.W.                                                                     WARREN             OH 44483‐1126
PATRICIA W FLEMING       134 CHAMPION AVE W                                                                   WARREN             OH 44483‐1414
PATRICIA W GORE          1052 STATE ROUTE 534 N W                                                             NEWTON FALLS       OH 44444‐9514
PATRICIA W HOEKSTRA      PO BOX 190                                                                           GLEN ARBOR         MI 49536‐0190
PATRICIA W OSBORNE       1927 CARDIGAN STREET                                                                 NILES              OH 44446‐‐ 39
PATRICIA W PATTERSON     7313 CARMELITA DR                                                                    DAYTON             OH 45424‐3244
PATRICIA W PUGH          548 PHILLIPS DR. S.W.                                                                WARREN             OH 44485‐3363
PATRICIA WADE            6141 84TH AVE                                                                        PINELLAS PARK      FL 33781‐1304
PATRICIA WAFFORD         4519 CARROLL ST                                                                      COVINGTON          KY 41015‐1825
PATRICIA WAGNER          4651 ASHWOOD DR W                                                                    SAGINAW            MI 48603‐1005
PATRICIA WAHL            5846 FRIEDLY DR                                                                      TOLEDO             OH 43623‐1208
PATRICIA WAITS           1403 REID AVE                                                                        XENIA              OH 45385‐2747
PATRICIA WALDECK         826 GREENLAWN AVE NW                                                                 WARREN             OH 44483‐2129
PATRICIA WALDRON         5105 COUNCIL RING BLVD                                                               KOKOMO             IN 46902‐5328
PATRICIA WALDRON         982 RIVERVIEW ST NW                                                                  WARREN             OH 44485‐2434
PATRICIA WALKER          3801 WHITTIER AVE                                                                    FLINT              MI 48506‐3160
PATRICIA WALKER          13601 WISCONSIN ST                                                                   DETROIT            MI 48238‐2356
PATRICIA WALKER          127 WESTMORELAND DR                                                                  FLINT              MI 48505‐2603
PATRICIA WALKER          PO BOX 184                     1564 FRANKLIN ST                                      OLCOTT             NY 14126‐0184
PATRICIA WALLACE         8350 INGALLS WAY                                                                     CAMBY              IN 46113‐8119
PATRICIA WALLACE         16113 SE 28TH ST                                                                     CHOCTAW            OK 73020‐6412
PATRICIA WALLACE         4920 LAKE POINT DR                                                                   WATERFORD          MI 48329‐1741
PATRICIA WALLACE         881 MEMORIAL DR SE UNIT 105                                                          ATLANTA            GA 30316‐1271
PATRICIA WALLPE          1722 JOHN D DR                                                                       KOKOMO             IN 46902‐4477
PATRICIA WALSH           16843 KINGS FAIRWAY LN                                                               GRAND BLANC        MI 48439‐3503
PATRICIA WALTER          300 MELODY LN                                                                        DEFIANCE           OH 43512‐3032
PATRICIA WALTER          LONG SURVIVOR'S TRUST          26630 N. 45TH PLACE                                   CAVE CREEK         AZ 85331
PATRICIA WALTER          WALTER FAMILY TRUST            26630 N. 45TH PLACE                                   CAVE CREEK         AZ 85331
PATRICIA WANDS           38524 TYLER RD                                                                       ROMULUS            MI 48174‐1301
PATRICIA WARD            522 BURWELL RD                                                                       LEAVITTSBURG       OH 44430‐9650
PATRICIA WARD            4330 TREAT HWY                                                                       ADRIAN             MI 49221‐8622
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Name                     Address1                       Address2              Address3      Address4         City             State Zip
PATRICIA WARD            281 SERVICE RD                                                                      LAUREL            MS 39443‐9047
PATRICIA WARDRIP         8786 E VALLEY LN                                                                    LENNON            MI 48449‐9630
PATRICIA WARE            1910 DELMAR ORCHARD RD                                                              MARTINSBURG       WV 25403‐1175
PATRICIA WARRIAN         2968 ASHBURY DR                                                                     TROY              MI 48083‐5799
PATRICIA WARRIOR         1536 CHESTERFIELD DR                                                                ANDERSON          IN 46012‐4438
PATRICIA WASH            19934 PIERSON ST                                                                    DETROIT           MI 48219‐1309
PATRICIA WASHINGTON      20335 SUSSEX HWY                                                                    BRIDGEVILLE       DE 19933‐4611
PATRICIA WASHINGTON      3080 DORCHEAT RD                                                                    MINDEN            LA 71055
PATRICIA WATCHORN        5115 REBECCA ST.                                                                    FORT WAYNE        IN 46835‐1129
PATRICIA WATKINS         13342 LAKEWOOD LOOP                                                                 NORTHPORT         AL 35473‐7046
PATRICIA WATKINS         376 CATES RD                   C/O ANGELA C HEATOR                                  HALLS             TN 38040‐6772
PATRICIA WATKINS         644 FILDEW AVE                                                                      PONTIAC           MI 48341‐2634
PATRICIA WATKINS         367 URBAN ST                                                                        BUFFALO           NY 14211‐1508
PATRICIA WATSON          2938 N 67TH ST                                                                      KANSAS CITY       KS 66104‐1846
PATRICIA WATSON          1629 RANGEWOOD DR SW                                                                LILBURN           GA 30047‐4516
PATRICIA WAUGH           5605 FLEET AVE #6P                                                                  CLEVELAND         OH 44105
PATRICIA WAWRA           G 7073 CLIO ROAD                                                                    MOUNT MORRIS      MI 48458
PATRICIA WAYLAND         475 WENDEMERE DR                                                                    HUBBARD           OH 44425‐2621
PATRICIA WEATHERHOLT     35520 RONALD ST                                                                     ROMULUS           MI 48174‐3363
PATRICIA WEBB            432 LAKE ESTATE DR                                                                  CHAPIN            SC 29036
PATRICIA WEBER           285 N KIMBERLY DR                                                                   CASA GRANDE       AZ 85222‐4739
PATRICIA WEBSTER         1488 LINCOLN AVE                                                                    MOUNT MORRIS      MI 48458‐1326
PATRICIA WEIDENHAMMER    121 PARKWAY DR                                                                      DAVISON           MI 48423‐9138
PATRICIA WEIR            3649 NW 84TH TER                                                                    KANSAS CITY       MO 64154‐1141
PATRICIA WEITZEL         15912 CREED RD                                                                      DIAMOND           OH 44412‐9600
PATRICIA WEITZEL         15912 CREED RD.                                                                     DIAMOND           OH 44412‐9600
PATRICIA WELCH‐FINNELL   3 SANDRA LEE CT                                                                     WICHITA FALLS     TX 76308‐5433
PATRICIA WELCHER         13075 E 281ST ST                                                                    ATLANTA           IN 46031‐9719
PATRICIA WELDON          38745 PARKVIEW DR                                                                   WAYNE             MI 48184‐2811
PATRICIA WELDON          14180 W GRAND RIVER HWY                                                             EAGLE             MI 48822‐9612
PATRICIA WELLINGTON      1123 N EDMONDSON AVE APT B20                                                        INDIANAPOLIS      IN 46219‐8617
PATRICIA WELLS           6411 COLUMBINE DR                                                                   INDIANAPOLIS      IN 46224‐2025
PATRICIA WELLS           218 AMANDA CT                                                                       SHEPHERDSVILLE    KY 40165‐8979
PATRICIA WELLS           2535 STEVENS HWY                                                                    CHARLOTTE         MI 48813‐9130
PATRICIA WELSCH          3628 S COUNTY ROAD D                                                                JANESVILLE        WI 53548‐9216
PATRICIA WESSELING       PO BOX 147                                                                          GOBLES            MI 49055‐0147
PATRICIA WEST            233 BROOKVIEW DR                                                                    ANDERSON          IN 46016‐6816
PATRICIA WEST            3260 SALTY WAY                                                                      GREENBACKVILLE    VA 23356‐2822
PATRICIA WESTERHOUSE     4641 MADISON AVENUE                                                                 ZEPHYRHILLS       FL 33541‐2116
PATRICIA WESTNESS        709 SOUTH MAIN STREET                                                               EDGERTON          WI 53534‐2037
PATRICIA WESTON          4906 ALBERTLY AVE                                                                   PARMA             OH 44134‐3326
PATRICIA WETHY           11426 HARVARD AVE NE                                                                ROCKFORD          MI 49341‐9551
PATRICIA WETZL           11326 BASINGER RD                                                                   NORTH LIMA        OH 44452‐9736
PATRICIA WHEELER         204 NICKLESS APT B2                                                                 FRANKENMUTH       MI 48734
PATRICIA WHEELER         895 BRIDDLEWOOD ST                                                                  DAYTON            OH 45430‐1443
PATRICIA WHIPPLE         2418 SOUTH M18                                                                      BEAVERTON         MI 48612
PATRICIA WHITCRAFT       4678 ROBINWOOD CIR APT B                                                            BOYNTON BEACH     FL 33436‐0825
PATRICIA WHITE           10160 W OUTER DR                                                                    DETROIT           MI 48223‐2237
PATRICIA WHITE           2083 REDWATER DR                                                                    DECATUR           GA 30035‐2209
PATRICIA WHITE           2702 WINTHROP DR SW                                                                 DECATUR           AL 35603‐1154
PATRICIA WHITE           919 PEACH BLVD                                                                      WILLOUGHBY        OH 44094‐7100
PATRICIA WHITE           9191 N LIMA RD APT 6B                                                               POLAND            OH 44514‐5236
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Name                         Address1                           Address2        Address3         Address4         City                State Zip
PATRICIA WHITE               624 HIGHLAND DR                                                                      OXFORD               MI 48371‐4779
PATRICIA WHITE               4967 CLOVER RD                                                                       CUMBERLAND           OH 43732‐9332
PATRICIA WHITE               1904 S HOWELL ST                                                                     MUNCIE               IN 47302‐1961
PATRICIA WHITE               8 BEMAN ST                                                                           MALONE               NY 12953‐1609
PATRICIA WHITEHEAD           1717 LINDY DR                                                                        LANSING              MI 48917‐8636
PATRICIA WHITESELL           3024 CROOKED STICK DR                                                                KOKOMO               IN 46902‐5076
PATRICIA WHITFIELD           199 WINTERBURY PL                                                                    YODER                IN 46798‐9328
PATRICIA WHITNEY             15483 W LACEY RD                                                                     POCATELLO            ID 83202‐5034
PATRICIA WHITTAKER           1421 ESSLING ST                                                                      SAGINAW              MI 48601‐1384
PATRICIA WHITTINGTON         14 POINTFIELD DR                                                                     HARPERS FERRY        WV 25425‐5173
PATRICIA WHRIGHTER           3613 ELDERBERRY AVE                                                                  DAYTON               OH 45416‐2102
PATRICIA WIATER              11872 LEXINGTON DR                                                                   SOUTH LYON           MI 48178‐9191
PATRICIA WICKE               20190 W BRADY RD                                                                     ELSIE                MI 48831‐9266
PATRICIA WIDUCH              3650A S 15TH ST                                                                      MILWAUKEE            WI 53221‐1604
PATRICIA WIEGAND             5638 BIGGERT ROAD RT 4                                                               LONDON               OH 43140
PATRICIA WIEGELE             1189 LAKESHORE DR                                                                    COLUMBIAVILLE        MI 48421‐9770
PATRICIA WIESZCZECINSKI      1612 MICHIGAN AVE                                                                    BAY CITY             MI 48708‐8455
PATRICIA WILBER              4310 EAST M‐72                                                                       HARRISVILLE          MI 48740
PATRICIA WILCHER             8005 ACTON RD                                                                        INDIANAPOLIS         IN 46259‐1548
PATRICIA WILCOX‐ WABSCHALL   3147 N 159TH AVE                                                                     GOODYEAR             AZ 85395‐8188
PATRICIA WILDER‐STOUT        2904 IROQUOIS DR                                                                     THOMPSONS STATION    TN 37179‐5021
PATRICIA WILEY               3101 VALERIE ARMS DR APT 3C                                                          DAYTON               OH 45405‐2064
PATRICIA WILGA               119 MAIN                                                                             OMER                 MI 48749
PATRICIA WILINSKI            2971 S FOXRIDGE CT                                                                   ANN ARBOR            MI 48105‐9200
PATRICIA WILLIAMS            340 PARKVIEW CT APT 201                                                              AUBURN HILLS         MI 48326‐1187
PATRICIA WILLIAMS            9816 W 79TH PL APT 1208                                                              OVERLAND PARK        KS 66204‐1486
PATRICIA WILLIAMS            728 ROBINHOOD CIR                                                                    BLOOMFIELD           MI 48304‐3756
PATRICIA WILLIAMS            17224 MELROSE ST                                                                     SOUTHFIELD           MI 48075‐4227
PATRICIA WILLIAMS            34291 RICHARD ST                                                                     WAYNE                MI 48184‐2428
PATRICIA WILLIAMS            41557 WESTMEATH CIR                                                                  CLINTON TWP          MI 48038‐5814
PATRICIA WILLIAMS            11619 MEADOWS CIR                                                                    BELLEVILLE           MI 48111‐3182
PATRICIA WILLIAMS            608 MILL CREEK CT                                                                    CLIO                 MI 48420‐2019
PATRICIA WILLIAMS            5303 E BRISTOL RD                                                                    BURTON               MI 48519‐1507
PATRICIA WILLIAMS            1038 WINDSOR ST                                                                      FLINT                MI 48507‐4239
PATRICIA WILLIAMS            29 KEMP ST                                                                           PONTIAC              MI 48342‐1443
PATRICIA WILLIAMS            2117 SMITHS GROVE SCOTTSVILLE RD                                                     SMITHS GROVE         KY 42171‐8147
PATRICIA WILLIAMS            PO BOX 19056                                                                         CLEVELAND            OH 44119‐0056
PATRICIA WILLIAMS            1105 S WATERVIEW DR                                                                  INVERNESS            FL 34450‐3524
PATRICIA WILLIAMS            4741 MEADOW RUE DR                                                                   TOLEDO               OH 43614‐1954
PATRICIA WILLIAMS            30450 FLORENCE ST                                                                    GARDEN CITY          MI 48135‐1305
PATRICIA WILLIAMS            8111 RIVERVIEW DR                                                                    FLINT                MI 48532‐2273
PATRICIA WILLIAMS            PO BOX 96                                                                            WESTVILLE             IL 61883‐0096
PATRICIA WILLIAMS            3509 MANOR RD                                                                        ANDERSON             IN 46011‐2226
PATRICIA WILLIAMS            PO BOX 434                                                                           FRISCO               TX 75034‐0008
PATRICIA WILLIAMS            2322 PAULS PATH RD                                                                   KINSTON              NC 28504‐9033
PATRICIA WILLIAMSON          2149 CHERI CT                                                                        FORT WAYNE           IN 46804‐7301
PATRICIA WILSON              PO BOX 1194                                                                          GREENWOOD            IN 46142‐0355
PATRICIA WILSON              5221 SKILES AVE                                                                      KANSAS CITY          MO 64129‐3305
PATRICIA WILSON              1501 NEBOBISH AVE                                                                    ESSEXVILLE           MI 48732‐1609
PATRICIA WILSON              1046 WAUGH DR                                                                        HUBBARD              OH 44425‐1272
PATRICIA WILSON              6837 NE CUBITIS AVE                LOT 2                                             ARCADIA              FL 34266
PATRICIA WILSON              5613 EASTWOOD DR                                                                     LOCKPORT             NY 14094‐6145
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Name                   Address1                       Address2               Address3      Address4         City            State Zip
PATRICIA WILSON        6021 KETCHUM AVE TRLR 6                                                              NEWFANE          NY 14108‐1050
PATRICIA WILSON        9231 CARTERSVILLE HWY                                                                DALLAS           GA 30132‐1391
PATRICIA WILSON        30162 APPLE GROVE WAY                                                                FLAT ROCK        MI 48134‐2750
PATRICIA WILSON        29150 LANCASTER ST APT 122                                                           LIVONIA          MI 48154‐3847
PATRICIA WILSON        2440 FREEDOMS WAY                                                                    WARRINGTON       PA 18976‐1722
PATRICIA WILSON        2219 PLEASANT GROVE RD                                                               LANSING          MI 48910‐2439
PATRICIA WINCHESTER    5715 SENECA TRL                                                                      KOKOMO           IN 46902‐5546
PATRICIA WING          5856 ELK DR                                                                          POTTERVILLE      MI 48876‐8788
PATRICIA WINKLEMAN     4449 FOX LK RD.RR#1                                                                  GOODRICH         MI 48438
PATRICIA WINKLER       1509 TERRAWENDA DR                                                                   DEFIANCE         OH 43512‐3244
PATRICIA WINOWISKI     464 INDIANWOOD RD                                                                    LAKE ORION       MI 48362‐1515
PATRICIA WITBRODT      1302 W THOMAS ST                                                                     BAY CITY         MI 48706‐3238
PATRICIA WITHAM        403 S MAIN ST                                                                        SHARPSVILLE      IN 46068‐9429
PATRICIA WITTER        29204 JACQUELYN DR                                                                   LIVONIA          MI 48154‐4516
PATRICIA WOGGERMAN     10291 N LEWIS RD                                                                     CLIO             MI 48420‐7938
PATRICIA WOLF          7635 RATHBUN RD                                                                      BIRCH RUN        MI 48415‐8417
PATRICIA WOLFE         5458 WOODLAND ST                                                                     STEVENS POINT    WI 54481‐8612
PATRICIA WOMBWELL      5189 GREEN MEADOWS RD                                                                GRAND BLANC      MI 48439‐9503
PATRICIA WOOD          7250 GIBSON CEMETERY RD                                                              MANSFIELD        TX 76063‐6100
PATRICIA WOOD          1018 E MERIDIAN ST                                                                   SHARPSVILLE      IN 46068‐9294
PATRICIA WOOD          76 HIGHLAND AVE                                                                      PENNSVILLE       NJ 08070‐2209
PATRICIA WOOD          9365 E 191ST ST                                                                      NOBLESVILLE      IN 46060‐1511
PATRICIA WOOD          6812 W 11TH ST                                                                       INDIANAPOLIS     IN 46214‐3540
PATRICIA WOODARD       908 W ELM ST                                                                         OLNEY             IL 62450‐1127
PATRICIA WOODHAMS      15257 80TH AVE                                                                       MECOSTA          MI 49332‐9619
PATRICIA WOODS         186 S 1ST ST                   C/O PATRICIA G WOODS                                  KANKAKEE          IL 60901‐7946
PATRICIA WOODSIDE      2105 ANTRIM DR                                                                       DAVISON          MI 48423‐8438
PATRICIA WOODWARD      7180 COHASSET DR                                                                     DAYTON           OH 45424‐2946
PATRICIA WOODY         1848 BROWNSTONE BLVD APT E30                                                         TOLEDO           OH 43614‐1455
PATRICIA WOOLEVER      598 E 1400 S                                                                         KOKOMO           IN 46901‐8847
PATRICIA WOOLF         3683 DEVON DR SE                                                                     WARREN           OH 44484‐2627
PATRICIA WOOLLETT      123 MAPLEWOOD                                                                        SAN ANTONIO      TX 78216
PATRICIA WOOLWORTH     4141 IMOGENE ST NE                                                                   COMSTOCK PARK    MI 49321‐9118
PATRICIA WORDEN        8801 W SCHAFFNER RD                                                                  JANESVILLE       WI 53548‐8407
PATRICIA WORKMAN       5110 GRAND BLVD                                                                      NEWTON FALLS     OH 44444‐1009
PATRICIA WORTHEN       6185 STOCKSDALE RD                                                                   UNION CITY       OH 45390‐8806
PATRICIA WRIGHT        8499 E M‐71 APT E                                                                    DURAND           MI 48429
PATRICIA WRIGHT        47 MASSACHUSETTS AVE                                                                 LOCKPORT         NY 14094‐3235
PATRICIA WRIGHT        15601 CAMERON ST                                                                     SOUTHGATE        MI 48195‐3245
PATRICIA WYCHE         12031 S SAGINAW ST APT 23                                                            GRAND BLANC      MI 48439‐1456
PATRICIA WYLIE         104 S COB ST                                                                         ELWOOD           IN 46036‐8419
PATRICIA WYNN          14505 SMITH GOVER RD                                                                 ATHENS           AL 35614‐5023
PATRICIA WYSE          821 LAURALEE DR                                                                      O FALLON         MO 63366‐2152
PATRICIA WYSS          2517 BLACK BRIDGE RD                                                                 JANESVILLE       WI 53545‐0607
PATRICIA Y BLACKWELL   901 PALLISTER ST APT 312                                                             DETROIT          MI 48202‐2679
PATRICIA Y CROZIER     PATRICIA Y CROZIER TTEE        CROZIER LIVING TRUST   2602 2ND ST                    MOLINE            IL 61265
PATRICIA Y LIEPOLD     5160 ALVA AVE NW                                                                     WARREN           OH 44483‐1210
PATRICIA Y MATAS       2380 ROBINWOOD BLVD                                                                  NEWTON FALLS     OH 44444‐1166
PATRICIA YANCEY        16387 CLARKSON DR                                                                    FRASER           MI 48026‐3598
PATRICIA YOUNG         133 PASSAIC AVENUE                                                                   LOCKPORT         NY 14094‐2038
PATRICIA YOUNG         309 6TH AVE N                                                                        SAFETY HARBOR    FL 34695‐3536
PATRICIA YOUNG         2825 RAND LANE                                                                       ANDERSON         IN 46013‐9593
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Name                                Address1                       Address2                    Address3   Address4         City               State Zip
PATRICIA YOUNG                      600 MOUNT HOOD DR                                                                      ANTIOCH             TN 37013‐1787
PATRICIA YOUNT                      125 DELAWARE CT                                                                        FARMINGTON          MO 63640‐3433
PATRICIA YUNGMANN                   29 WEATHERVANE DRIVE APT 12                                                            WASHINGTONVILLE     NY 10992
PATRICIA ZAJDEL                     15555 FREDERICK DR                                                                     CLINTON TWP         MI 48038‐1869
PATRICIA ZALLEN                     3721 GLENWOOD AVE                                                                      LANSING             MI 48910‐4709
PATRICIA ZAMMIT                     APT 102                        7670 NORTH MERRIMAN ROAD                                WESTLAND            MI 48185‐2451
PATRICIA ZANDER                     9 ROBERT ST                                                                            VIENNA              OH 44473‐9744
PATRICIA ZAUNER                     2409 MARJORIE LN                                                                       CLIO                MI 48420‐9152
PATRICIA ZAVODA                     PO BOX 394                                                                             GRAND BLANC         MI 48480‐0394
PATRICIA ZEMLA                      100 LOOKOUT DR                                                                         COLUMBIA            TN 38401‐6130
PATRICIA ZETTLEMOYER                8169 COLLEEN CT                                                                        ANGOLA              NY 14006‐8810
PATRICIA ZEUTZIUS                   APT 12                         731 OAK STREET                                          PESHTIGO            WI 54157‐1721
PATRICIA ZEWEKE                     56100 SUMMIT DR                                                                        SHELBY TOWNSHIP     MI 48316‐5882
PATRICIA ZITNIK                     4091 PLEASANT VALLEY LN                                                                CANFIELD            OH 44406‐9308
PATRICIA, WENDELL,                  221 BLYTHE AVE                                                                         LINDEN              MI 48451‐9648
PATRICIO ACOSTA                     2422 W. BERWYN                                                                         CHICAGO              IL 60625
PATRICIO ADAME                      2007 S ALLPORT ST                                                                      CHICAGO              IL 60608‐3209
PATRICIO BOYLE                      1508 BAY RD                    APT 965                                                 MIAMI BEACH         FL 33139
PATRICIO BOYLE                      1408 NW 154TH LANE                                                                     PEMBROKE PINES      FL 33028
PATRICIO BOYLE                      1508 BAY ROAD                  APT. 965                                                MIAMI BEACH         FL 33139
PATRICIO CLAVERIA                   PO BOX 223573                                                                          DALLAS              TX 75222‐3573
PATRICIO GARCIA                     1435 E. WILLOU DRIVE                                                                   OLATHE              KS 66061
PATRICIO GONZALEZ                   1110 PERSONS CT                                                                        LANSING             MI 48906‐5417
PATRICIO HENRIQUEZ                  427 MURRAY ST                                                                          MILPITAS            CA 95035‐2648
PATRICIO LORCA                      17921 PINE STREET                                                                      OMAHA               NE 68130‐2646
PATRICIO S BALUYOT AND HERMENEGILDA 425 TIMBER BAY CT                                                                      AZLE                TX 76020‐4133
G BALUYOT
PATRICIO SANDOVAL                   159 NEWTOWN AVE                                                                        BATTLE CREEK       MI 49015‐9605
PATRICK                             317 MALONE DR                                                                          GALLATIN           TN 37066‐2572
PATRICK
PATRICK WIEPRETCH                   19376 STATE ROUTE M                                                                    EDGAR SPRINGS      MO   65462‐8315
PATRICK ( SMITH                     349 E. WYOMING ST                                                                      FAIRFIELD          CA   94533‐5205
PATRICK A ADAMS                     5230 E STATE ROUTE 571                                                                 TIPP CITY          OH   45371
PATRICK A CASSIDY                   6801 MT. HOLLY ROAD                                                                    WAYNESVILLE        OH   45068‐9185
PATRICK A CONKLIN                   112 DEVONSHIRE ST                                                                      YPSILANTI          MI   48198‐7815
PATRICK A DOUGHERTY                 50 FILER ST STE 224                                                                    MANISTEE           MI   49660‐2787
PATRICK A DUGGAN                    140 BARRON RD                                                                          HOLLY              MI   48442‐8824
PATRICK A HALL                      C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                               HOUSTON            TX   77007
                                    BOUNDAS LLP
PATRICK A JONES                     61 STEWART LN                                                                          GERMANTOWN         OH   45327‐9377
PATRICK A MCDONALD                  135 VILLAGE DR                                                                         SPRINGBORO         OH   45066
PATRICK A NICOLUCCI                 57 LISA ANN DR                                                                         ROCHESTER          NY   14606‐5643
PATRICK A RACE                      1004 N SHERIDAN ST                                                                     BAY CITY           MI   48708‐6057
PATRICK A SKIDMORE                  1408 TEXAS DR                                                                          XENIA              OH   45385‐4832
PATRICK A STCLAIR                   1437 VIENNA RD                                                                         NILES              OH   44446‐3597
PATRICK A THORNTON                  3685 CARO RD                                                                           CASS CITY          MI   48726‐9717
PATRICK A WILKES                    477 KENILWORTH AVE SE                                                                  WARREN             OH   44483‐6017
PATRICK A. ROSE
PATRICK ABBOTT                      6254 LEONARD ST                                                                        COOPERSVILLE       MI   49404‐9716
PATRICK ADAMS                       16451 PROSPECT RD                                                                      STRONGSVILLE       OH   44149‐5543
PATRICK ADAMSKI                     25730 SURREY CT                                                                        FARMINGTON HILLS   MI   48335‐1166
PATRICK ADLER                       3144 GARDENIA DR                                                                       DAYTON             OH   45449‐2912
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Name                  Address1                         Address2                     Address3   Address4            City              State Zip
PATRICK ADOLPH        6559 BIRDIE CIR                                                                              GRAYLING           MI 49738‐7397
PATRICK AGEE          7617 E STATE ROUTE 41                                                                        TROY               OH 45373‐9030
PATRICK AGUIAR        7154 SAPPHIRE POINTE BLVD                                                                    CASTLE ROCK        CO 80108‐7754
PATRICK ALLEN         13482 N ALLISON DR                                                                           CAMBY              IN 46113‐8402
PATRICK ALLEN         41 FAY ST                                                                                    CLARKSTON          MI 48346‐4115
PATRICK ALLEN         2309 RIVER BLUFF PARKWAY # 253                                                               SARASOTA           FL 34231
PATRICK ALLEN         1239 SEIDLERS RD                                                                             AUBURN             MI 48611‐9764
PATRICK ALLEN         1670 W BURT RD                                                                               MONTROSE           MI 48457‐9311
PATRICK ALVEY JR      3774 ABERDEEN LN                                                                             BRIGHTON           MI 48114‐9258
PATRICK AMORE         9927 ESTEP DR                                                                                INDIANAPOLIS       IN 46280‐1587
PATRICK ANDERSON      1195 POPPY HILL DRIVE                                                                        OXFORD             MI 48371‐6092
PATRICK APOSTOL       4020 ZIMMER RD                                                                               WILLIAMSTON        MI 48895‐9367
PATRICK ARBLE         1507 SUTTON RD                                                                               ADRIAN             MI 49221‐9380
PATRICK ARGIRO        1767 ALVERNE DR                                                                              POLAND             OH 44514‐1404
PATRICK ARNET         OBERWANNERN                                                              CH‐6142 GETTNAU
                                                                                               SWITZERLAND
PATRICK ARNOLD JR     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.       OH   44236
PATRICK ASHLEY        43 RYAN RD                                                                                   BRASHER FALLS     NY   13613‐3134
PATRICK ATKINSON JR   212 MAPLE DR                                                                                 LINDEN            MI   48451‐8948
PATRICK AUGELLO       54 VICTORIA BLVD                                                                             KENMORE           NY   14217‐2314
PATRICK B BRESNAHAN   1639 SUNNY ESTATES DR                                                                        NILES             OH   44446
PATRICK B DUBE        12 HICKORY WAY                                                                               BROCKPORT         NY   14420‐2558
PATRICK B KEESEE      1040 UMBREIT CT                                                                              MIAMISBURG        OH   45342‐4260
PATRICK B MCGINNIS    7885 EAST CARLTON RD                                                                         WEST ALEXANDRIA   OH   45381
PATRICK B MUSSO       3583 COUNTY ROUTE 6                                                                          HAMMOND           NY   13646‐4136
PATRICK BABCOCK       38 FULTON ST                                                                                 NILES             OH   44446‐3024
PATRICK BACK          1380 SHADY LN                    APT 1302                                                    BEDFORD           TX   75021‐6455
PATRICK BAIRD         4134 S CENTER RD                                                                             BURTON            MI   48519‐1452
PATRICK BAKER         4104 ANTHONY CT                                                                              DORR              MI   49323‐9022
PATRICK BAKER         1712 EAST AVENUE                 P. O. BOX 148                                               BARKER            NY   14012
PATRICK BANKSTON      4547 DUNCAN DR                                                                               SUGAR HILL        GA   30518‐4834
PATRICK BANYAS        12084 FRANCES RD                                                                             OTISVILLE         MI   48463‐9764
PATRICK BARASA        348 LARKSPUR STREET                                                                          ANN ARBOR         MI   48105‐1125
PATRICK BARDY         7210 COMBS RD                                                                                INDIANAPOLIS      IN   46237‐9629
PATRICK BARNES        3621 WILTON AVE                                                                              DORAVILLE         GA   30340‐2735
PATRICK BARNES
PATRICK BARR          36802 COUNTY ROAD 673                                                                        BANGOR            MI   49013‐9736
PATRICK BARRETT       7486 LAKE RD                                                                                 MONTROSE          MI   48457‐9776
PATRICK BARRICK       2111 KING RD                                                                                 LAPEER            MI   48446‐8326
PATRICK BARRIS        8719 S.V.L. BOX                                                                              VICTORVILLE       CA   92395
PATRICK BARRY         PO BOX 9                                                                                     FOSTORIA          MI   48435‐0009
PATRICK BARRY         300 THOMPSON ST                                                                              NORTH TONAWANDA   NY   14120‐5531
PATRICK BASS          4001 SANTA BARBARA BLVD.         #388                                                        NAPLES            FL   34104
PATRICK BEACH         1951 JEANE AVE                                                                               PAHRUMP           NV   89048‐1419
PATRICK BEAN          300 ENGLENOOK DR                                                                             DEBARY            FL   32713‐3239
PATRICK BEARD         5003 S LEFHOLZ RD                                                                            OAK GROVE         MO   64075‐9789
PATRICK BEATTY        3315 HERRINGTON DR                                                                           SAGINAW           MI   48603‐2037
PATRICK BECK          2262 MORRISH ST                                                                              BURTON            MI   48519‐1056
PATRICK BECKER        21502 SHERIDAN RUN                                                                           ESTERO            FL   33928‐6215
PATRICK BEECHER       776 N. ST. JOSEPH ST.                                                                        SUTTONS BAY       MI   49682
PATRICK BEGGS         15437 W FRANCIS RD                                                                           EVANSVILLE        WI   53536‐9712
PATRICK BEGIEN        1933 MARGIE DR                                                                               WHITE LAKE        MI   48386‐1833
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Name                    Address1                          Address2                      Address3                 Address4               City              State Zip
PATRICK BEISLEY         RATHCROGHAN BALLINAGARE                                                                  CASTLEREA, CO.ROSCOM
                                                                                                                 IRELAND
PATRICK BELL            229 W YPSILANTI AVE                                                                                             PONTIAC           MI    48340‐1878
PATRICK BENNETT         4126 CUSTER AVE                                                                                                 FLINT             MI    48507‐2726
PATRICK BENSON          23005 WHITBY AVE                                                                                                FLAT ROCK         MI    48134‐1419
PATRICK BENSON          465 S ALMONT AVE                                                                                                IMLAY CITY        MI    48444‐1457
PATRICK BERDEN          355 PINE HILL AVE                                                                                               CHEBOYGAN         MI    49721‐8845
PATRICK BERNWANGER      5243 SCHEUNERS WAY                                                                                              HOWELL            MI    48843‐7873
PATRICK BERRY           1260 CLEAR CREEK RD                                                                                             NICHOLASVILLE     KY    40356‐9756
PATRICK BIERY           1135 HENN HYDE RD NE                                                                                            WARREN            OH    44484‐1222
PATRICK BILBEY          460 BOULDER LAKE DR                                                                                             OXFORD            MI    48371‐3651
PATRICK BIRD            10033 HUNTERS RETREAT                                                                                           FORT WAYNE        IN    46804‐2414
PATRICK BIRKMEIER       5400 N RIDGE RD                                                                                                 CHESANING         MI    48616‐9607
PATRICK BLOOM           8040 E HOLLY RD                                                                                                 HOLLY             MI    48442‐8875
PATRICK BLOOMFIELD      2090 WILLOW BAY DR                                                                                              DEFIANCE          OH    43512‐3714
PATRICK BLOW            1040 ALLGOOD CT                                                                                                 STONE MOUNTAIN    GA    30083‐5013
PATRICK BLUBAUGH        509 BRAZOS HARBOR DR                                                                                            GRANBURY          TX    76048‐2262
PATRICK BLUNK           3636 INWOOD DR                                                                                                  FORT WAYNE        IN    46815‐5918
PATRICK BOAN            PO BOX 748                                                                                                      ACTON             CA    93510‐0748
PATRICK BOEGNER         10153 S LEWIS RD                                                                                                CLIO              MI    48420‐7717
PATRICK BOETTCHER       12944 OPALOCKA DR                                                                                               CHESTERLAND       OH    44026‐2616
PATRICK BOEVERS         14425 BRIARCLIFF CIR                                                                                            OKLAHOMA CITY     OK    73170‐7285
PATRICK BOGAN           7651 N 100 E                                                                                                    HUNTINGTON        IN    46750‐8326
PATRICK BOGGS           4342 E MOUNT MORRIS RD                                                                                          MOUNT MORRIS      MI    48458‐8978
PATRICK BOLITHO         3979 FOUR SEASONS DR                                                                                            GLADWIN           MI    48624‐9734
PATRICK BOONE           3868 COUNTRY LN                                                                                                 FORT WORTH        TX    76123‐2580
PATRICK BOTSFORD        545 GRASS VALLEY ST                                                                                             SIMI VALLEY       CA    93065‐0618
PATRICK BOUCHARD        224 ECKFORD DR                                                                                                  TROY              MI    48085‐4745
PATRICK BOUGHNER        1203 S CEDAR ST                                                                                                 OWOSSO            MI    48867‐4225
PATRICK BOURASSA        301 MCEWAN ST                                                                                                   BAY CITY          MI    48708‐5435
PATRICK BOVEN           2926 N FRANKLIN AVE                                                                                             FLINT             MI    48506‐2882
PATRICK BOWERS          13546 NORTH RD                                                                                                  FENTON            MI    48430‐3002
PATRICK BOWLS           4032 E SUNLAND AVE                                                                                              PHOENIX           AZ    85040‐3937
PATRICK BOYD            850 PERKINS JONES RD NE                                                                                         WARREN            OH    44483‐1850
PATRICK BOYER           1182 SPRINGBROOK DR                                                                                             MANSFIELD         OH    44906‐3545
PATRICK BOYER           THE MADEKSHO LAW FIRM             8866 GULF FREEWAY STE 440                                                     HOUSTON           TX    77017
PATRICK BOYLE           4426 RICHLAND AVE                                                                                               DAYTON            OH    45432‐1420
PATRICK BOZZI           13158 BURGUNDY AVE                                                                                              WARREN            MI    48089‐1397
PATRICK BRACEY          349 RAISIN ST                                                                                                   DEERFIELD         MI    49238‐9706
PATRICK BRACEY          5115 IRWIN DR                                                                                                   HOLLY             MI    48442‐9626
PATRICK BRADLEY         3829 E GARDEN PL                                                                                                OAK CREEK         WI    53154‐5415
PATRICK BRADY           2065 PONDEROSA PL                                                                                               MANDEVILLE        LA    70448‐7525
PATRICK BRAUN           UNIVERSITY AT BUFFALO                                                                                           BUFFALO           NY    14226
PATRICK BRENNEMAN       2189 VALLEY VISTA DR                                                                                            DAVISON           MI    48423‐8317
PATRICK BRIAN WILLIAM   PATRICK, BRIAN WILLIAM            30700 TELEGRAPH RD STE 1580                                                   BINGHAM FARMS     MI    48025‐5801
PATRICK BRIAN WILLIAM   SCHMIDT, CATHERINE A              PARKER BRIAN P                30700 TELEGRAPH ROAD ‐                          BINGHAM FARMS     MI    48025
                                                                                        SUITE 1580
PATRICK BROWN           640 SUNLIGHT DR                                                                                                 ROCHESTER HILLS    MI   48309‐1384
PATRICK BROWN           42000 NORTH DR                                                                                                  CANTON             MI   48188‐2608
PATRICK BROWNE          106 SPRINGHOUSE DR                                                                                              JEFFERSON HLS      PA   15025‐3364
PATRICK BRUBAKER        2530 SIERRA DR                                                                                                  SAGINAW            MI   48609‐7021
PATRICK BRUCE           925 HENDERSON AVE                                                                                               WATERFORD          MI   48328‐2513
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Name                        Address1                         Address2                     Address3   Address4                City               State Zip
PATRICK BRUFF               6056 CROWN PT                                                                                    FLINT               MI 48506‐1647
PATRICK BRYANT              9481 GRAND BLANC RD                                                                              GAINES              MI 48436‐9793
PATRICK BRYL                16352 WHITEHEAD DR                                                                               LINDEN              MI 48451‐8775
PATRICK BUBLITZ             245 N JONES RD                                                                                   BAY CITY            MI 48708‐9109
PATRICK BUCHELI             5692 MARTELL DR                                                                                  TROY                MI 48085‐3159
PATRICK BUCHOLTZ            10966 N GLADYS DR E                                                                              EDGERTON            WI 53534‐9098
PATRICK BUICK PONTIAC GMC   4700 W HENRIETTA RD                                                                              HENRIETTA           NY 14467‐9357
PATRICK BULLARD             4848 COLUMBIAVILLE RD                                                                            COLUMBIAVILLE       MI 48421‐9646
PATRICK BULMER              7125 E HIGH ST                                                                                   LOCKPORT            NY 14094‐9302
PATRICK BUNN                4408 STAFFORD AVE                                                                                LANSING             MI 48910‐7420
PATRICK BURCH               3240 S WISE RD                                                                                   MT PLEASANT         MI 48858‐9125
PATRICK BUREK               3050 NEW RD                                                                                      RANSOMVILLE         NY 14131‐9513
PATRICK BURKE               3109 ASH DR                                                                                      DICKINSON           TX 77539‐4702
PATRICK BURKE               438 SHAKER MILL BEND RD                                                                          BOWLING GREEN       KY 42103‐9012
PATRICK BURNS               16 EAGLE POINTE DR                                                                               CORTLAND            OH 44410‐1922
PATRICK BUSSEY              9309 NEWBURGH RD                                                                                 LIVONIA             MI 48150‐3428
PATRICK BUTZ                ISENBUTTELER WEG 32                                                      38518 GIFHORN GERMANY
PATRICK BYRNE               6520 N 100 E                                                                                     OSSIAN             IN   46777‐9668
PATRICK BYRNES              4082 HIGHWAY 19 S                                                                                MERIDIAN           MS   39301‐8531
PATRICK C BROGAN            230 BARDWELL RD                                                                                  FACTORYVILLE       PA   18419
PATRICK C BIERY             1135 HENN HYDE RD                                                                                WARREN             OH   44484‐1222
PATRICK C BRINDLEY          1984 CELESTIAL DR NE                                                                             WARREN             OH   44484‐3981
PATRICK C BROWN             2454B STAR RD                                                                                    FLORENCE           MS   39073‐8973
PATRICK C DEVERICH          509 KENNEDY AVE                                                                                  YPSILANTI          MI   48198‐8006
PATRICK C LIEBERT           237 BROOKWOOD DRIVE                                                                              ENGLEWOOD          OH   45322‐2461
PATRICK C MC GLYNN          10 MANHATTAN SQ DR APT 3B                                                                        ROCHESTER          NY   14607‐3947
PATRICK C REAMS             DAVINA L REAMS                   6708 CHELAN CT                                                  BAKERSFIELD        CA   93309‐5403
PATRICK C WHITE             1880 CHIP DR                                                                                     LAKE HAVASU CITY   AZ   86406‐7513
PATRICK CADILLAC COMPANY    526 MALL DR                                                                                      SCHAUMBURG         IL   60173‐5104
PATRICK CADILLAC COMPANY    HANLEY DAWSON                    526 MALL DR                                                     SCHAUMBURG         IL   60173‐5104
PATRICK CADRY               11471 DELMAR DR                                                                                  FENTON             MI   48430‐9018
PATRICK CAIN                5815 CORTINA TRL                                                                                 LANSING            MI   48917‐3097
PATRICK CAIN                8588 WOODRUFF DR SW                                                                              BYRON CENTER       MI   49315‐9365
PATRICK CALAUTTI            54 PIEDMONT DR                                                                                   OLD BRIDGE         NJ   08857‐2216
PATRICK CALLAHAN            60 HYACINTH DR                                                                                   COVINGTON          LA   70433‐9171
PATRICK CAMARATI            490 GLOUCESTER CIR                                                                               BRUNSWICK          OH   44212‐1878
PATRICK CAMPBELL            1268 BLUE HERON DR                                                                               SAGINAW            MI   48609‐8910
PATRICK CAMPBELL            2385 30TH AVE                                                                                    SEARS              MI   49679‐8115
PATRICK CAMPBELL            5720 BENZIE HWY                                                                                  BENZONIA           MI   49616‐9766
PATRICK CAMPBELL
PATRICK CAMPION SR          135 DIXON LN                                                                                     SYKESVILLE         MD   21784‐9208
PATRICK CAPPOLA             542 VERACRUZ BLVD                                                                                INDIALANTIC        FL   32903‐4728
PATRICK CAPUSON             262 SUMMIT AVE                                                                                   BUFFALO            NY   14214‐1936
PATRICK CARGILL             10020 WILDWOOD DR                                                                                OTISVILLE          MI   48463‐9710
PATRICK CARLON              1303 HUNTERS GLN                                                                                 BOARDMAN           OH   44512‐4090
PATRICK CARLOS (643382)     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                      BALTIMORE          MD   21202
                                                             CHARLES CENTER 22ND FLOOR
PATRICK CARNEY              32807 VALLEY DR                                                                                  WARREN             MI   48093‐1233
PATRICK CARNEY              1798 LYNN MAR AVE                                                                                YOUNGSTOWN         OH   44514‐1449
PATRICK CARROLL             200 S COLUMBIAN ST                                                                               BAY CITY           MI   48706‐2904
PATRICK CARROLL             4265 W M179 HWY                                                                                  HASTINGS           MI   49058
PATRICK CARROLL             11106 WARNER RD                                                                                  DARIEN CENTER      NY   14040‐9508
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Name                       Address1                           Address2                      Address3   Address4         City              State Zip
PATRICK CASSIDY            2410 KENNEDY RD                                                                              JANESVILLE         WI 53545‐0464
PATRICK CATON              100 PROSPECT PL                                                                              NEW BERLIN         NY 13411‐4726
PATRICK CAUDILLO           5516 S FENTON ST                                                                             LITTLETON          CO 80123‐0680
PATRICK CAVALIERE          7807 PONDEROSA STREET                                                                        PANAMA CITY        FL 32409‐1712
PATRICK CAVANAUGH          6950 TWIN CREEK DR                                                                           MILLINGTON         MI 48746‐9058
PATRICK CECIL E (429588)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                              STREET, SUITE 600
PATRICK CERONE             320 SANNITA DR                                                                               ROCHESTER         NY   14626‐3600
PATRICK CERRONE            PO BOX 274                                                                                   MORRICE           MI   48857‐0274
PATRICK CHAGNON            792 6 MILE RD                                                                                WHITMORE LAKE     MI   48189‐9561
PATRICK CHALKER            1859 CENTER RD                                                                               SEBEWAING         MI   48759‐9776
PATRICK CHARETTE           1105 EASTOAK ST                                                                              FENTON            MI   48430‐1573
PATRICK CHENOWETH          916 W WISCONSIN AVE                                                                          DELAND            FL   32720‐4083
PATRICK CHEVERS            4029 SCOTWOOD DR                                                                             NASHVILLE         TN   37211‐3519
PATRICK CHEVROLET, INC.    WILLIAM PATRICK                    4810 NINE MILE RD                                         RICHMOND          VA   23223‐5730
PATRICK CHEVROLET, INC.    4810 NINE MILE RD                                                                            RICHMOND          VA   23223‐5730
PATRICK CHMURA             24652 VALLEY AVE                                                                             EASTPOINTE        MI   48021
PATRICK CHRISTLE           2300 LANGE LN                                                                                LAPEER            MI   48446‐9034
PATRICK CICCONE            PO BOX 116                                                                                   BERLIN CENTER     OH   44401‐0116
PATRICK CICHON             592 E DANSVILLE RD                                                                           DANSVILLE         MI   48819‐9613
PATRICK CIRELLI
PATRICK CLAREY             41801 RIVERWOOD CT                                                                           CANTON            MI   48187‐2489
PATRICK CLARK              4756 BUTLER DR                                                                               TROY              MI   48085‐3525
PATRICK CLARNO             9356 UTE POINTE DR                                                                           CLARKSTON         MI   48346‐1859
PATRICK CLAYTOR            2305 PINEHURST LN                                                                            KOKOMO            IN   46902‐3197
PATRICK CLEMENS            15116 ANGELIQUE AVE                                                                          ALLEN PARK        MI   48101‐1847
PATRICK CLOR               216 W SUNNYBROOK DR                                                                          ROYAL OAK         MI   48073‐5124
PATRICK CLOSSEY            427 PATTEN CIR                                                                               ALBRIGHTSVILLE    PA   18210‐3745
PATRICK COCHRANE           C/O LAW OFFICE OF G LYNN SHUMWAY   4647 N 32ND ST, #230                                      PHOENIX           AZ   85018

PATRICK COGGINS            5083 TREEHILL RD                                                                             GRAND BLANC       MI   48439‐2051
PATRICK COGHLAN            3674 E DRYDEN RD                                                                             METAMORA          MI   48455‐9373
PATRICK COLE               3228 MYSYLVIA DR                                                                             SAGINAW           MI   48601‐6931
PATRICK COLEMAN            720 SHENANDOAH DR                                                                            COLUMBIA          TN   38401‐6120
PATRICK COLEMAN            6025 WADSWORTH RD                                                                            SAGINAW           MI   48601‐9616
PATRICK COLLINS            10322 SAGE COURT                                                                             NOBLESVILLE       IN   46060‐8395
PATRICK COLLINS            8671 KATELIN DR                                                                              EATON RAPIDS      MI   48827‐8939
PATRICK COMPTON            123 DOCKSIDE DOWNS DR                                                                        WOODSTOCK         GA   30189‐1433
PATRICK CONLEY             1461 ORLANDO BLVD                                                                            PORT CHARLOTTE    FL   33952‐4739
PATRICK CONNELL            10483 PAVILLION CT                                                                           SHELBY TOWNSHIP   MI   48315‐6648
PATRICK CONNELLAN          7631 MAPLE MEADOW ST                                                                         LAS VEGAS         NV   89131
PATRICK CONNELLY           906 E 27TH ST                                                                                ANDERSON          IN   46016‐5406
PATRICK CONNOLLY           8745 RACHAEL DR                                                                              DAVISBURG         MI   48350‐1724
PATRICK CONNOLLY           3819 ELMWOOD AVE                                                                             AUSTINTOWN        OH   44515‐3118
PATRICK CONNORS            PO BOX 106                         10915 GOODALL ROAD                                        DURAND            MI   48429‐0106
PATRICK CONROY             16175 MOCK RD                                                                                BERLIN CENTER     OH   44401‐9795
PATRICK COOK               1350 S WOOD AVE APT 18‐C                                                                     LINDEN            NJ   07036
PATRICK COOPER             3016 CEDAR KEY DR                                                                            LAKE ORION        MI   48360‐1510
PATRICK CORBETT            184 MILLTOWN RD                                                                              SPRINGFIELD       NJ   07081‐2314
PATRICK CORNELL            6256 S WHITE OAKS DR                                                                         ANDERSON          IN   46013‐9767
PATRICK CORRIGAN           110 COUNTRY CLUB CIR                                                                         WINCHESTER        VA   22602‐6002
PATRICK COTTER             47953 JAMESTOWN DR                                                                           MACOMB            MI   48044‐5928
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Name                  Address1                        Address2                 Address3    Address4         City             State Zip
PATRICK COUGHLIN      32 DELANEY DR                                                                         WEST HENRIETTA    NY 14586‐9450
PATRICK COUGHLIN      8915 BURT RD                                                                          BIRCH RUN         MI 48415‐8794
PATRICK COUTURE       PO BOX 376                                                                            AU GRES           MI 48703‐0376
PATRICK COUTURE       3107 ADDINGTON DR                                                                     COMMERCE TWP      MI 48390‐4004
PATRICK COX           2005 POWDERMILL BRANCH RD                                                             SUMMERTOWN        TN 38483‐6017
PATRICK COX           5155 ROBERTS DR                                                                       FLINT             MI 48506‐1592
PATRICK COX           202 W LAFEVER ST                                                                      OSSIAN            IN 46777‐1106
PATRICK COYLE         10635 E 1100 S                                                                        UPLAND            IN 46989‐9741
PATRICK CRAIK         6594 DELANO DR                                                                        SHELBY TWP        MI 48316‐4329
PATRICK CRAWFORD      6650 WAREHAM CT APT 2                                                                 CENTERVILLE       OH 45459‐6934
PATRICK CRENSHAW      14340 N LINDEN RD                                                                     CLIO              MI 48420‐8876
PATRICK CUDNEY        31013 BEECHNUT ST                                                                     WESTLAND          MI 48186‐5094
PATRICK CUMMINGS      2501 PORTMAN AV                                                      44109            CLEVELAND         OH 44109
PATRICK CUNNINGHAM    5504 S CROTON HARDY DR                                                                NEWAYGO           MI 49337
PATRICK CUNNINGHAM    115 S ROCKY RIVER DR APT 504                                                          BEREA             OH 44017‐2551
PATRICK CURRAN        8901 AUTUMNGLO DR                                                                     CLARKSTON         MI 48348‐1603
PATRICK CURRY         3819 SAN MATEO RD                                                                     WATERFORD         MI 48329‐2460
PATRICK CURTIN        25938 ARCADIA DR                                                                      NOVI              MI 48374‐2448
PATRICK CUTHBERT      6466 N MAPLE RIVER RD                                                                 ELSIE             MI 48831‐8708
PATRICK CZARNOWSKI    1209 HOVEY ST SW                                                                      GRAND RAPIDS      MI 49504‐6109
PATRICK D BILLS       2764 SALT SPRINGS RD                                                                  WARREN            OH 44481‐9231
PATRICK D BUNN        4408 STAFFORD AVE                                                                     LANSING           MI 48910‐7420
PATRICK D CRAWFORD    637 CRESTMONT DRIVE                                                                   DAYTON            OH 45431
PATRICK D CRAWFORD    355                             6650 WAREHAM COURT # 2                                CENTERVILLE       OH 45459
PATRICK D GRISE       9109 GETTYSBURG S. EASTERN                                                            BRADFORD          OH 45308‐9530
PATRICK D GUFFEY      517 FLORIDA RD                                                                        SYRACUSE          NY 13211‐1220
PATRICK D HARRIS      11669 CABOOSE CIR                                                                     WARSAW            MO 65355‐4629
PATRICK D INGRAM      47 PERINTON STREET                                                                    ROCHESTER         NY 14615‐3158
PATRICK D JAMES       8276 KENYON DR SE                                                                     WARREN            OH 44484‐3021
PATRICK D LEHART      2250 COACH DR APT B                                                                   KETTERING         OH 45440‐2738
PATRICK D MCCOY       1571 WENONAH LANE                                                                     SAGINAW           MI 48638‐4448
PATRICK D MCKENZIE    1307 LAKESHORE BLVD.                                                                  ST CLOUD          FL 34769
PATRICK D PANCIONE    425 PEMBERTON RD                                                                      ROCHESTER         NY 14622‐2012
PATRICK D PARROTT     5304 BEECHER RD                                                                       FLINT             MI 48532‐2201
PATRICK D PAULEY      137 BROOKLYN AVE                                                                      DAYTON            OH 45417‐2236
PATRICK D PRICE       3883 GLORIA ST                                                                        WAYNE             MI 48184‐1986
PATRICK D RICHARDS    9803 N OAK TRFY                                                                       KANSAS CITY       MO 64155‐2065
PATRICK D ROWLEY      1053 NORMANDY TERRACE DR                                                              FLINT             MI 48532‐3547
PATRICK D STECK       100 HUFFMAN PLACE               APT. 326                                              DAYTON            OH 45403‐1969
PATRICK D STOVALL     156 GERALD DR                                                                         MARSHALL          NC 28753‐6608
PATRICK D TANNER      3921 MIDWAY AVE                                                                       DAYTON            OH 45417
PATRICK D THOMPSON    244 GRANADA                                                                           YOUNGSTOWN        OH 44504‐‐ 18
PATRICK D TORRES      50152 BRONTE DR W                                                                     UTICA             MI 48315‐3219
PATRICK D WHITTAKER   2174 ENTRADA DRIVE                                                                    BEAVERCREEK       OH 45431
PATRICK D WILSON      PO BOX 3026                                                                           DETROIT           MI 48202‐4326
PATRICK D WINN        336 ALICIA ST.                                                                        DAYTON            OH 45417
PATRICK D'ANDREA      7980 CHIANTI CRK                                                                      POLAND            OH 44514‐5339
PATRICK DAILEY        4863 MAPLE LN                                                                         N ROYALTON        OH 44133‐3205
PATRICK DALEY         637 KINGSTON DR                                                                       ROMEOVILLE         IL 60446‐1222
PATRICK DALY          5540 PILGRIM DR                                                                       SAGINAW           MI 48638‐5760
PATRICK DAMMER        25 N TRUMBULL RD                                                                      BAY CITY          MI 48708‐9114
PATRICK DANIELEWICZ   8765 LOWER LAKE RD                                                                    BARKER            NY 14012‐9650
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Name                  Address1                         Address2                 Address3   Address4              City              State Zip
PATRICK DARBY         7273 FRASER RD                                                                             FREELAND           MI 48623‐8905
PATRICK DARGA         13861 LAZY LN                                                                              FORT MYERS         FL 33905‐1817
PATRICK DAUGHERTY     8901 BALCOM AVE                                                                            NORTHRIDGE         CA 91325‐2807
PATRICK DAVIDSON      5549 CAROLINE DR                                                                           LAKEVIEW           MI 48850‐9750
PATRICK DAVIES        601 S CROSBY AVE                                                                           JANESVILLE         WI 53548‐4428
PATRICK DAVIS         1104 BARBARA ST                                                                            GRAND BLANC        MI 48439‐8933
PATRICK DAVIS         8 ROSELAWN AVE                                                                             BROWNSBURG         IN 46112‐1926
PATRICK DAWSON        3811 PATTON RD                                                                             MOSCOW MILLS       MO 63362‐2311
PATRICK DAY           3533 W VERMONTVILLE HWY                                                                    CHARLOTTE          MI 48813‐8815
PATRICK DE GARMO      16750 136TH AVE                                                                            NUNICA             MI 49448‐9732
PATRICK DE RYCK       POPULIERENLAAN 56                                                    9470 DENDERLEEUW ‐
                                                                                           BELGIUM
PATRICK DE WITTE      PO BOX 46606                                                                               MOUNT CLEMENS     MI   48046‐6606
PATRICK DEAN          1674 FARNBOROUGH DR                                                                        ROCHESTER HLS     MI   48307‐3548
PATRICK DEAN          19592 GARFIELD                                                                             REDFORD           MI   48240‐1300
PATRICK DEARTH        178 WESTHAFER RD                                                                           VANDALIA          OH   45377‐2837
PATRICK DEBODA        421 SUFFOLK DR                                                                             BEAR              DE   19701‐2208
PATRICK DELL          11559 E FLECK RD                                                                           RIVERDALE         MI   48877‐9513
PATRICK DEMERS        7122 AV SOMERLED                                                     MONTREAL QC H4V 1W1
                                                                                           CANADA
PATRICK DEMPSEY       5048 SILVER CHARM TER                                                                      WESLEY CHAPEL     FL   33544‐1582
PATRICK DERCHER       45 N 61ST TER                                                                              KANSAS CITY       KS   66102‐3213
PATRICK DESCHAINE     1219 HEYDED AVE                                                                            WATERFORD         MI   48382
PATRICK DEVERICH      509 KENNEDY AVE                                                                            YPSILANTI         MI   48198‐8006
PATRICK DEVINE        6007 INDIAN TRACE DR                                                                       HAMILTON          OH   45011‐7140
PATRICK DEVOTA        4750 CHESANING RD                                                                          CHESANING         MI   48616‐8423
PATRICK DEVOTA        7191 GRANGE HALL RD                                                                        HOLLY             MI   48442‐9737
PATRICK DHAESE        JEAN FOBELAAN 8                  B‐9031 GENT
PATRICK DHAESE        JEAN FOBELAAN 8                                                      B‐9031 GENT BELGIUM
PATRICK DIBENEDETTO   4828 SOUTH COLLEGE AVENUE                                                                  FORT COLLINS      CO   80525
PATRICK DIBENEDETTO   METIER LAW FIRM, LLC             4828 S. COLLEGE AVENUE                                    FORT COLLINS      CO   80525
PATRICK DICK          6640 W LOWE RD                                                                             SAINT JOHNS       MI   48879‐9790
PATRICK DIES          354 S SHELDON ST                                                                           CHARLOTTE         MI   48813‐1842
PATRICK DILLARD       5008 E 41ST TER                                                                            KANSAS CITY       MO   64130‐1641
PATRICK DILLON        7001 WHISPER CREEK DR                                                                      WENTZVILLE        MO   63385‐6814
PATRICK DINEEN        74 RIDGEMONT RD                                                                            OXFORD            MI   48370‐3036
PATRICK DION          718 N HAYFORD AVE                                                                          LANSING           MI   48912‐4320
PATRICK DISHINGER     2620 TIFFIN DR                                                                             NEW PORT RICHEY   FL   34655‐2226
PATRICK DISKIN        2529 W PERDIDO WAY                                                                         PHOENIX           AZ   85086‐6638
PATRICK DLUGE         70550 ELDRED RD                                                                            BRUCE TWP         MI   48065‐4230
PATRICK DODGE         3749 HOLLY AVE                                                                             FLINT             MI   48506‐3125
PATRICK DOERR         1122 DEERBROOK TRL                                                                         GREENWOOD         IN   46142‐5685
PATRICK DOLAN         4961 BLACKBERRY RD                                                                         GLADWIN           MI   48624‐9494
PATRICK DOLAN SR      3260 OUR RD                                                                                PAHRUMP           NV   89060‐3663
PATRICK DONAHUE       202 69TH ST                                                                                NIAGARA FALLS     NY   14304‐3920
PATRICK DONETH        1104 WALLOON WAY                                                                           LAKE ORION        MI   48360‐1320
PATRICK DONOHUE       12829 SILVER RIDGE DR                                                                      GRAND LEDGE       MI   48837‐8906
PATRICK DONOHUE       PO BOX 556                                                                                 VALLEY COTTAGE    NY   10989‐0556
PATRICK DONOVAN       N2436 SHORE LINE DR                                                                        BIRCHWOOD         WI   54817‐9120
PATRICK DONOVAN       5510 NE ANTIOCH RD # 171                                                                   KANSAS CITY       MO   64119‐2301
PATRICK DOPIERALSKI   10120 0ZGA                                                                                 ROMULUS           MI   48174
PATRICK DORSEY C      DBA DORSEY PATRICK PHOTOGRAPHY   66 TIMBERIDGE DR                                          LAKE WYLIE        SC   29710‐9009
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Name                   Address1                          Address2                      Address3   Address4         City              State Zip
PATRICK DOST           1991 SOUTH CLINTON STREET                                                                   DEFIANCE           OH 43512‐3289
PATRICK DOUGHERTY      THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                               HOUSTON            TX 77017
PATRICK DOWNEY         283 PLACID CT                                                                               ANDERSON           IN 46013‐1051
PATRICK DOYLE          2247 CENTER TERRECE               #4                                                        GRAND ISLAND       NY 14072
PATRICK DRAGONE        9407 CORNELL ST                                                                             TAYLOR             MI 48180‐3474
PATRICK DREW           3648 LITTLE STEEL BRIDGE RD                                                                 ECLECTIC           AL 36024‐2920
PATRICK DUBAY          38 WALLING ST                                                                               VICTOR             NY 14564‐1357
PATRICK DUCKETT        516 EAST ST                                                                                 CLINTON            WI 53525‐9000
PATRICK DUDEK          54185 SCARBORO WAY                                                                          SHELBY TWP         MI 48316‐1285
PATRICK DUFFY          25349 DONALD                                                                                REDFORD            MI 48239‐3333
PATRICK DUGAN          14789 STATE ROUTE 111                                                                       DEFIANCE           OH 43512‐8615
PATRICK DUGGAN         140 BARRON RD                                                                               HOLLY              MI 48442‐8824
PATRICK DUMOULIN       3172 E 100 N                                                                                KOKOMO             IN 46901‐3600
PATRICK DUNCAN         2711 E SALZBURG RD                                                                          BAY CITY           MI 48706‐9788
PATRICK DUNLEVY        2681 DANZ AVE                                                                               KETTERING          OH 45420‐3405
PATRICK DUNMIRE        7495 RED DAY RD                                                                             MARTINSVILLE       IN 46151‐6618
PATRICK DUNN           3516 PARK MEADOW DR                                                                         LAKE ORION         MI 48362‐2063
PATRICK DUNNE          33505 RAYBURN ST                                                                            LIVONIA            MI 48154‐2829
PATRICK DUNNIGAN       2681 E NEUMAN RD                                                                            PINCONNING         MI 48650‐9737
PATRICK DUNNING        3706 HORDYK ST NE                                                                           GRAND RAPIDS       MI 49525‐9719
PATRICK DUPONT         26414 NORDIC RIDGE DR                                                                       WIND LAKE          WI 53185‐5523
PATRICK DUVENDECK      197 COUTANT ST                                                                              FLUSHING           MI 48433‐1547
PATRICK E COLVIN       5370 S DIAMOND MILL RD                                                                      GERMANTOWN         OH 45327‐9513
PATRICK E GRANDSTAFF   5927 HAAG RD                                                                                LANSING            MI 48911‐4746
PATRICK E HILL         530 HARRIET                                                                                 DAYTON             OH 45408
PATRICK E HUGHES       1600 RADBURN RD                                                                             BENSALEM           PA 19020
PATRICK E KLINE        1156 OSTRICH LN                                                                             VANDERGRIFT        PA 15690
PATRICK E MANN         4949 DINSMORE ROAD                                                                          W CARROLLTON       OH 45449
PATRICK E MIRE JR      17255 S GOLDEN SUNRISE PL                                                                   VAIL               AZ 85641
PATRICK E MUSCHELL     617 MORNING GLORY LN.                                                                       UNION              OH 45322
PATRICK E NABORS       232 W 7TH ST                                                                                DANVILLE            IL 61833‐7808
PATRICK E NAGY         11976 HAGGERMAN RD                                                                          SOUTH ROCKWOOD     MI 48179‐9504
PATRICK E SILCOX       1209 KING RICHARD PKWY                                                                      WEST CARROLLTON    OH 45449
PATRICK E. JONES
PATRICK EARLEY         513 CHERRYVALE RD                                                                           EDMOND            OK   73003‐3117
PATRICK EARLY          4939 OAK TREE CT                                                                            BRIGHTON          MI   48116‐9775
PATRICK EATHORNE       30110 LAMPLIGHTER CT                                                                        NEW HUDSON        MI   48165‐9679
PATRICK EDING          6390 LOUNSBURY RD                                                                           WILLIAMSTON       MI   48895‐9479
PATRICK ELEY           PO BOX 266                                                                                  SELMA             IN   47383‐0266
PATRICK ELGAS          300 DONAHUE BEACH DR                                                                        BAY CITY          MI   48706‐1856
PATRICK ELLENBERGER    2929 E US #224                                                                              DECATUR           IN   46733
PATRICK ELLER          PO BOX 683                                                                                  BEDFORD           IN   47421‐0683
PATRICK ELLINGER       7450 LINCOLN AVENUE EXT                                                                     LOCKPORT          NY   14094‐9306
PATRICK ELLSWORTH      206 FERRY ST                                                                                CORUNNA           MI   48817‐1015
PATRICK EMERSON        7818 N GARFIELD AVE                                                                         KANSAS CITY       MO   64118‐2029
PATRICK EMIGH          2599 CORNELL DR                                                                             LAPEER            MI   48446‐3415
PATRICK ENGLANT        9427 BENTWOOD DR                                                                            SHREVEPORT        LA   71129‐4833
PATRICK ENNIS          5474 S VERNON RD                                                                            DURAND            MI   48429‐9724
PATRICK ENOS           PO BOX 231                                                                                  FAIRGROVE         MI   48733‐0231
PATRICK F CASTANIA     82 ST ANDREWS BLVD                                                                          FAIRPORT          NY   14450
PATRICK F KINGSLEY     346 BONNIEBROOK RD                                                                          BUTLER            PA   16002
PATRICK F SHAY         18 WOODLAND                                                                                 DAYTON            OH   45409‐2852
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Name                  Address1                             Address2                        Address3                     Address4         City                  State Zip
PATRICK F VITORI      2111 PERSHING BLVD                                                                                                 DAYTON                 OH 45420‐2432
PATRICK FABIAN        7241 IDA TER                                                                                                       WATERFORD              MI 48329‐2833
PATRICK FALLON        1644 COVINA DR                                                                                                     COLUMBUS               OH 43228‐6529
PATRICK FANIS         2603 OMAHA DR                                                                                                      JANESVILLE             WI 53546‐4401
PATRICK FAUBERT       997 N RENAUD RD                                                                                                    GROSSE POINTE WOODS    MI 48236‐1725
PATRICK FAULKNER      MARIN COUNTY COUNSEL                 3501 CIVIC CENTER DR RM 303 #                                                 SAN RAFAEL             CA 94903‐5222
                                                           DRIVE
PATRICK FEELY         50763 BROMLEY DR                                                                                                   GRANGER               IN   46530‐8215
PATRICK FELDPAUSCH    PO BOX 28                            13403 GRAND RIVER AVE.                                                        EAGLE                 MI   48822‐0028
PATRICK FENNESSEY     25161 MYLER ST                                                                                                     TAYLOR                MI   48180‐2030
PATRICK FERGUSON      142 MASON RUN BLVD                                                                                                 MONROE                MI   48162‐6711
PATRICK FERGUSON      1489 COUNTY ROAD 1684                                                                                              HOLLY POND            AL   35083‐5609
PATRICK FERRON        16416 US HIGHWAY 19 N LOT 1708                                                                                     CLEARWATER            FL   33764‐6735
PATRICK FETTIG        2610 HOSPITAL RD                                                                                                   SAGINAW               MI   48603‐2607
PATRICK FETZ          2810 S A ST                                                                                                        ELWOOD                IN   46036‐2221
PATRICK FINCH         6482 BARRIE CIR                                                                                                    BRIGHTON              MI   48114‐7430
PATRICK FINN          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET        22ND FLOOR                                    BALTIMORE             MD   21201

PATRICK FINSTER       PO BOX 1033                                                                                                        JANESVILLE            WI   53547‐1033
PATRICK FIORICA       149 TWILIGHT DR                                                                                                    ROCHESTER             NY   14617‐5250
PATRICK FITZGERALD    6715 DALE CT                                                                                                       CLARKSTON             MI   48348‐4525
PATRICK FITZGERALD    905 WEST M113                                                                                                      KINGSLEY              MI   49649
PATRICK FITZGERALD    5947 ORMOND RD                                                                                                     WHITE LAKE            MI   48383‐1030
PATRICK FLANAGAN      19 SAGAMORE CIR                                                                                                    ROCHESTER             NY   14617‐2333
PATRICK FLANNER       9293 KINLEY RD                                                                                                     OVID                  MI   48866‐8665
PATRICK FLANNERY      18000 WAYNE RD                                                                                                     LIVONIA               MI   48152‐2922
PATRICK FLANNIGAN     3605 RUTHERFORD DR                                                                                                 SPRING HILL           TN   37174‐2176
PATRICK FLATTERY      21384 ROOSEVELT RD                                                                                                 MERRILL               MI   48637‐9771
PATRICK FLEIG         3687 HIDDEN FOREST DR                                                                                              LAKE ORION            MI   48359‐1473
PATRICK FLETCHER      270 WILSON ST                                                                                                      STRUTHERS             OH   44471
PATRICK FLICK         220 N WYNN RD                                                                                                      OREGON                OH   43616‐1542
PATRICK FLYNN         31270 W JEFFERSON AVE                                                                                              BROWNSTOWN            MI   48173‐9401
PATRICK FOLEY         NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPT              205 LINDA DR                                  DAINGERFIELD          TX   75638
PATRICK FOOT          5030 GENERAL SQUIER RD                                                                                             DRYDEN                MI   48428‐9217
PATRICK FOUGEROUSSE   2215 19TH ST                                                                                                       WYANDOTTE             MI   48192‐4125
PATRICK FOURNIER      5203 N GALE RD                                                                                                     DAVISON               MI   48423‐8956
PATRICK FOUTCH        8267 CORUNNA RD                                                                                                    FLINT                 MI   48532‐5506
PATRICK FOX           103 ROCHELLE PARK                                                                                                  TONAWANDA             NY   14150‐9313
PATRICK FOX           208 QUINN AVE                                                                                                      CARO                  MI   48723‐1527
PATRICK FOX           3808 NW 85TH TER APT C                                                                                             KANSAS CITY           MO   64154‐2895
PATRICK FRANCE JR     2659 BLACKHAWK RD                                                                                                  KETTERING             OH   45420‐3824
PATRICK FRANCIS       3440 ALMERINDA DR                                                                                                  CANFIELD              OH   44406‐9203
PATRICK FRANKLIN      GLASSER AND GLASSER                  CROWN CENTER                    580 EAST MAIN STREET SUITE                    NORFOLK               VA   23510
                                                                                           600
PATRICK FRANKS        125 LINWOOD RD                                                                                                     STERRETT              AL   35147‐7009
PATRICK FRARY         4162 JOAN DR                                                                                                       DORR                  MI   49323‐9413
PATRICK FRAZEE        21744 BROOKSIDE CT                                                                                                 MACOMB                MI   48044‐5411
PATRICK FREEMAN       16212 MERCURY WAY                                                                                                  FORT MYERS            FL   33908‐6424
PATRICK FREEMAN       140 EASTSIDE ACRES                                                                                                 TROY                  MO   63379‐5331
PATRICK FRENCH        102 WILLIAMS AVE                     APT A                                                                         HAMILTON              OH   45015
PATRICK FROST         38158 LINCOLNDALE DR                                                                                               STERLING HTS          MI   48310‐3413
PATRICK FRYE          764 1ST AVE N                                                                                                      NASHVILLE             TN   37201‐1070
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Name                               Address1                          Address2                         Address3   Address4         City             State Zip
PATRICK FUNCH                      2463 APRIL DR                                                                                  MOUNT MORRIS      MI 48458‐8205
PATRICK FUREY                      109 TURNAGAIN PL                                                                               SEQUIM            WA 98382‐9306
PATRICK FUREY                      109 TURNAGAIN PL.                                                                              SEQUIM            WA 98382
PATRICK FUREY                      109 TURNAGAIN PL>                                                                              SEQUIM            WA 98382
PATRICK FURLO                      6759 SUN VALLEY DR                                                                             CLARKSTON         MI 48348‐4943
PATRICK G CASSIDY                  2621 BLACK OAK DR                                                                              NILES             OH 44446
PATRICK G PATTERSON                20732 VERMANDER                                                                                MT CLEMENS        MI 48035‐3569
PATRICK G RYAN                     9003 GUTHRIE AVE                                                                               SAINT LOUIS       MO 63134‐3425
PATRICK GAGNON                     111 S MAIN ST                                                                                  ALLENTOWN         NJ 08501‐1620
PATRICK GALLAGHER                  20711 LAKE SHORE BLVD                                                                          EUCLID            OH 44123‐1818
PATRICK GALLAGHER                  1176 BANBURY DR                                                                                NEW LENOX          IL 60451‐1002
PATRICK GALLAGHER                  38213 STEEDE DRIVE                                                                             STERLING HTS      MI 48310‐3070
PATRICK GALLAGHER                  3574 TREMONTE CIR S 280                                                                        ROCHESTER         MI 48306
PATRICK GALLAGHER                  6600 SECOR RD                                                                                  PETERSBURG        MI 49270‐8701
PATRICK GALLATY                    1121 MICHAEL SEAN DR                                                                           BEDFORD           TX 76021‐2333
PATRICK GALVIN                     918 S CATHERINE AVE                                                                            LA GRANGE          IL 60525‐2831
PATRICK GARDNER                    5013 S WILLIS AVE                                                                              INDEPENDENCE      MO 64055‐5675
PATRICK GARDNER                    2442 GRAYSTONE DR                                                                              OKEMOS            MI 48864‐3275
PATRICK GAREIS                     407 SOUTH 3RD STREET              SUITE 200                                                    GENEVA             IL 60134
PATRICK GARRETT                    PO BOX 1065                                                                                    FENTON            MI 48430‐5065
PATRICK GATTON                     5005 LINDEN ST                                                                                 ANDERSON          IN 46017‐9745
PATRICK GAVIN                      11A PARKWAY VLG                                                                                CRANFORD          NJ 07016‐2545
PATRICK GEORG                      50 RUE DE STERPENICH                                                                           KLEINBETTINGEN         8379
PATRICK GEORGE                     P.O.BOX 166807                    BEIRUT                           LEBANON                     BEIRUT
PATRICK GEORGE                     P.O.                                                                                           BEIRUT
PATRICK GEORGE                     6443 DALTON DR                                                                                 FLUSHING         MI   48433‐2332
PATRICK GERALD CHEYENNE (442126)   BARON & BUDD                      3102 OAK LANE AVE , SUITE 1100                               DALLAS           TX   75219
PATRICK GIBBONS                    1344 E ROBINSON ST                                                                             N TONAWANDA      NY   14120‐4867
PATRICK GIBBONS                    43781 CANDLEWOOD DR                                                                            CANTON           MI   48187‐2013
PATRICK GIBSON                     2887 CHANEYSVILLE RD                                                                           CLEARVILLE       PA   15535‐8828
PATRICK GIBSON                     2410 LONDONDERRY RD                                                                            ANN ARBOR        MI   48104‐4016
PATRICK GIERSCHKE                  176 LADNER AVE                                                                                 BUFFALO          NY   14220‐2140
PATRICK GILBERT
PATRICK GILLESPIE                  136 W 55TH ST                                                                                  BAYONNE          NJ   07002‐2225
PATRICK GILTROP                    4360 CURTIS RD                                                                                 BIRCH RUN        MI   48415‐9016
PATRICK GIOFFREDO                  4814 TIFFIN AVE                                                                                CASTALIA         OH   44824‐9430
PATRICK GODER                      7606 3 MILE RD                                                                                 FRANKSVILLE      WI   53126‐9611
PATRICK GOLBA                      2950 BRIDGE ST                                                                                 TRENTON          MI   48183‐3509
PATRICK GOLSON                     1103 SHADY LN                                                                                  FILLMORE         CA   93015‐1038
PATRICK GONZALEZ                   4747 ENGLISH RD                                                                                SILVERWOOD       MI   48760‐9723
PATRICK GOOD                       PO BOX 47                                                                                      O FALLON         IL   62269‐0047
PATRICK GORDON                     73 GARVEY AVE                                                                                  BUFFALO          NY   14220‐1407
PATRICK GORMAN                     318 FIRST AVE                                                                                  MANISTEE         MI   49660
PATRICK GORSKI                     8418 W 50TH ST                                                                                 MC COOK          IL   60525‐3194
PATRICK GOSSELIN                   3652 N SHIMMONS CIR                                                                            AUBURN HILLS     MI   48326‐3912
PATRICK GRABOWSKI                  1772 MERIDIAN ST                                                                               REESE            MI   48757‐9409
PATRICK GRANCHELLI                 376 OHIO ST                                                                                    LOCKPORT         NY   14094‐4251
PATRICK GRANDSTAFF                 5927 HAAG RD                                                                                   LANSING          MI   48911‐4746
PATRICK GRAPES
PATRICK GRAY                       126 JEFF SCOTT LN                                                                              HAMILTON         OH 45013‐9603
PATRICK GREEN                      16004 APRIL DR                                                                                 NEWALLA          OK 74857‐8634
PATRICK GREEN                      5436 TAYLOR LN                                                                                 CLARKSTON        MI 48346‐1747
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Name                        Address1                         Address2                   Address3          Address4         City               State Zip
PATRICK GREGG               2948 E BLACKBERRY LN                                                                           HERNANDO            FL 34442‐3036
PATRICK GUINTHER            7023 CONSERVANCY RD                                                                            GERMANTOWN          OH 45327‐9449
PATRICK GUINTO              144 TERRACE WAY                                                                                CAMILLUS            NY 13031‐1318
PATRICK GULVAS              2027 PINE RIVER RD                                                                             STANDISH            MI 48658‐9651
PATRICK H AGEE              7617 E ST RT 41                                                                                TROY                OH 45373‐9030
PATRICK H AND JANE DALLET   C/O PATRICK DALLET               2513 NOBLE DR                                                 TALLAHASSEE         FL 32308
PATRICK H COLEMAN           C/O NIX PATTERSON & ROACH LLP    GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD        TX 75638
PATRICK H DUNLEVY           2681 DANZ AVE                                                                                  KETTERING           OH 45420‐3405
PATRICK H LAVEY             9312 FENTON RD                                                                                 GRAND BLANC         MI 48439
PATRICK H MCGUIRE           4699 CONTINENTAL DR., LOT 532                                                                  HOLIDAY             FL 34690‐5616
PATRICK H NELSON            5912 HARVARD ST                                                                                FLINT               MI 48505‐2857
PATRICK HAEUPTLE            5705 HAYES AVE                                                                                 SANDUSKY            OH 44870‐9348
PATRICK HAGERTY             23155 MEADOW LN                                                                                MATTAWAN            MI 49071‐9396
PATRICK HAGGERTY            5478 E STANLEY RD                                                                              FLINT               MI 48506‐1107
PATRICK HAGGERTY            9423 NICHOLS RD                                                                                MONTROSE            MI 48457‐9041
PATRICK HAJEC               10296 ASPEN VALLEY DRIVE                                                                       FENTON              MI 48430‐2554
PATRICK HALEY               10211 HART HWY                                                                                 DIMONDALE           MI 48821‐9519
PATRICK HALL                731 FERNDALE AVE NW                                                                            GRAND RAPIDS        MI 49534‐3533
PATRICK HALLET              2321 FEEDMILL RD                                                                               CHAPEL HILL         TN 37034‐2505
PATRICK HALLORAN            10811 S KEATING                                                                                OAK LAWN             IL 60453
PATRICK HAMILTON            220 SE 21ST ST                                                                                 CAPE CORAL          FL 33990‐4359
PATRICK HANKERD             4662 HERMAN CIR                                                                                PORT CHARLOTTE      FL 33948‐9636
PATRICK HANLEY              1440 MANDERFORD RD                                                                             BLOOMFIELD HILLS    MI 48304‐2031
PATRICK HANLEY              5068 ANNUNCIATION CIR UNIT 206                                                                 AVE MARIA           FL 34142‐9670
PATRICK HANLEY              381 SUSSEX FAIR                                                                                ROCHESTER HILLS     MI 48309‐2065
PATRICK HANNA               1229 LIMIT AVE                                                                                 BALTIMORE           MD 21239‐1748
PATRICK HARCOURT            8453 FARRAND RD                                                                                MONTROSE            MI 48457‐9779
PATRICK HARLEY              9401 S HEMLOCK RD                                                                              SAINT CHARLES       MI 48655‐9780
PATRICK HARRINGTON          151 CLEBURNE PKWY APT 119                                                                      HIRAM               GA 30141‐2850
PATRICK HARRIS              11669 CABOOSE CIR                                                                              WARSAW              MO 65355‐4629
PATRICK HARRIS              5784 LONGEST DR                                                                                SOUTH BELOIT         IL 61080‐9256
PATRICK HARRISON            828 OAK CLUSTER CT                                                                             HOWELL              MI 48855‐7759
PATRICK HARRISON            905 SHILOH CIR                                                                                 NAPERVILLE           IL 60540‐7113
PATRICK HARRISON            26250 HIGHWAY 64A                                                                              LEBANON             MO 65536‐6797
PATRICK HART                2246 COMPTON ST                                                                                SAGINAW             MI 48602‐3534
PATRICK HARTFORD            3699 TRIANON TRL                                                                               HOLT                MI 48842‐9779
PATRICK HARTIGAN            219 WASHINGTON ST                                                                              MORRISVILLE         PA 19067‐7112
PATRICK HARVEY              2610 REYNOLDS CIR                                                                              COLUMBIAVILLE       MI 48421‐8701
PATRICK HARWOOD             321 SE SARATOGA DR                                                                             BLUE SPRINGS        MO 64014‐5529
PATRICK HAUCK               RR 1 BOX 235A                                                                                  WELLSBURG           WV 26070
PATRICK HAZEL               PO BOX 328                                                                                     BROWN CITY          MI 48416‐0328
PATRICK HEALY               37 COOLIDGE ST                                                                                 HAVERSTRAW          NY 10927‐1035
PATRICK HEENAN              8161 TROTTERS CHASE                                                                            CINCINNATI          OH 45249‐1588
PATRICK HEJKA               49443 AU LAC DR E                                                                              CHESTERFIELD        MI 48051‐3817
PATRICK HENDERSON           8395 MAIN ST                                                                                   MARTINSVILLE        IN 46151‐7694
PATRICK HENDERSON           PO B0X 15                                                                                      HASLETT             MI 48840
PATRICK HENDERSON           19503 BISHOP RD                                                                                NEW LOTHROP         MI 48460‐9630
PATRICK HENRY               5036 1ST ST                                                                                    SWARTZ CREEK        MI 48473‐1408
PATRICK HENRY COLLEGE       STUDENT ACCOUNTS                 1 PATRICK HENRY CIR                                           PURCELLVILLE        VA 20132‐3197
PATRICK HENRY HIGH SCHOOL   6‐900 S R 18                                                                                   HAMLER              OH 43524
PATRICK HENYON              1250 OLD MILFORD FARMS                                                                         MILFORD             MI 48381‐3367
PATRICK HERRIMAN            44946 GOVERNOR BRADFORD RD                                                                     PLYMOUTH            MI 48170‐3712
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Name                     Address1                        Address2                Address3             Address4             City              State Zip
PATRICK HEWITT           548 HARDING ST                                                                                    PLYMOUTH           MI 48170‐1938
PATRICK HICKEY           4700 LOWCROFT AVE                                                                                 LANSING            MI 48910‐5329
PATRICK HICKS            276 PINE ST                                                                                       LOCKPORT           NY 14094‐4927
PATRICK HIGGINS          14401 BURT RD                                                                                     CHESANING          MI 48616‐9546
PATRICK HILBER           1052 EAGLE NEST DR                                                                                ROCHESTER          MI 48306‐1212
PATRICK HILL             3674 BROOKVIEW CT                                                                                 CANFIELD           OH 44406‐9205
PATRICK HILLA            2430 CENTRAL AVE SW                                                                               WYOMING            MI 49519‐2248
PATRICK HILLEY JR        807 RANDY LN                                                                                      SAINT JOHNS        MI 48879‐8737
PATRICK HILLMAN          834 BAIRD ST                                                                                      HOLLY              MI 48442‐1705
PATRICK HINES            11641 MCCREARYS RDG                                                                               FLORENCE           IN 47020‐8527
PATRICK HLADIK           608 WARREN AVE                                                                                    FLUSHING           MI 48433‐1459
PATRICK HOGAN            10091 SONORA DR                                                                                   FENTON             MI 48430‐9361
PATRICK HOGAN            4516 HOLLOPETER RD                                                                                LEO                IN 46765‐9780
PATRICK HOGUE            3006 INDUSTRY RD                                                                                  ROOTSTOWN          OH 44272‐9513
PATRICK HOLBROOK         5571 N SHORE RD                                                                                   PINCONNING         MI 48650‐8408
PATRICK HOLCOMB          5681 N NEW LOTHROP RD                                                                             CORUNNA            MI 48817‐9750
PATRICK HOLDINGS, INC.   ROBERT PATRICK                  128 SOUTH MAIN STREET                                             HAMLER             OH 43524
PATRICK HOLKA            1241 NE PARVIN RD APT 307                                                                         KANSAS CITY        MO 64116‐5033
PATRICK HOLLAND          3711 KEMMAN AVE                                                                                   BROOKFIELD          IL 60513‐1520
PATRICK HOOSE            W18708 CORD H42                                                                                   GERMFASK           MI 49836
PATRICK HOOVER           34257 LA MOYNE ST                                                                                 LIVONIA            MI 48154‐2621
PATRICK HOPPES           6269 PECK LAKE RD                                                                                 PORTLAND           MI 48875‐9628
PATRICK HORNING          45096 PRESTBURY RD                                                                                CANTON             MI 48187‐2992
PATRICK HOSKINS          801 LINDA DR                                                                                      TOLEDO             OH 43612‐3119
PATRICK HOWARD           454 CEDAR LN                                                                                      WENTZVILLE         MO 63385‐5935
PATRICK HOWLEY           1883 HEMMETER RD                                                                                  SAGINAW            MI 48638‐4672
PATRICK HOYLE            197 SKYLINE DR                                                                                    MILFORD            MI 48380‐3962
PATRICK HUBEL            9424 SHERIDAN RD                                                                                  MILLINGTON         MI 48746‐9655
PATRICK HUGHES           317 E NEWBERG RD                                                                                  PINCONNING         MI 48650‐9436
PATRICK HUMMEL           778 PRAIRIE CREEK RD                                                                              IONIA              MI 48846‐8717
PATRICK HUMPHREY         PO BOX 201                      6617 SYCAMORE                                                     JOHANNESBURG       MI 49751‐0201
PATRICK HUMPHREYS        7048 MAPLECREST DR SE                                                                             GRAND RAPIDS       MI 49546‐9241
PATRICK HUND             4177 BRADYLEIGH BLVD                                                                              ROCHESTER HILLS    MI 48306‐4710
PATRICK HUNZIKER         DORFSTRASSE 41                                                               5054 KIRCHLEERAU
                                                                                                      SWITZERLAND
PATRICK HURLEY           HURLEY & WILLIAMS LLP           112 FRONT ST            BELLEVILLE ONTARIO   K8N 2Y7
PATRICK HURLEY I I       422 N MAIN ST                                                                                     FORTVILLE         IN   46040‐1026
PATRICK HUTCHINSON       81 VINCA ST                                                                                       HOMOSASSA         FL   34446‐5518
PATRICK HYLAND           481 FLETCHER ST                                                                                   TONAWANDA         NY   14150‐1837
PATRICK I FLETCHER       270 WILSON ST                                                                                     STRUTHERS         OH   44471
PATRICK I OKPALA         601 GILL ST                                                                                       YPSILANTI         MI   48198‐6115
PATRICK INGRAHAM         627 N MAIN ST                                                                                     ADRIAN            MI   49221‐2149
PATRICK INGRAM           38279 FARWELL DR                                                                                  FREMONT           CA   94536‐7013
PATRICK INMAN            7762 CAENEN ST                                                                                    LENEXA            KS   66216‐3324
PATRICK IPPOLITO         287 ABERDEEN ST                                                                                   ROCHESTER         NY   14619‐1240
PATRICK IVES             10610 OAKFORD ST                                                                                  WHITE LAKE        MI   48386‐3760
PATRICK J BOTWRIGHT      1704 4TH ST                                                                                       BAY CITY          MI   48708‐6219
PATRICK J BOYLE          164 EILEEN DR                                                                                     ROCHESTER         NY   14616‐2236
PATRICK J BOZZI          13158 BURGUNDY AVE                                                                                WARREN            MI   48089‐1397
PATRICK J BULLARD        4848 COLUMBIAVILLE RD                                                                             COLUMBIAVILLE     MI   48421‐9646
PATRICK J BUTLER         5836 YORKTOWN CT.                                                                                 DAYTON            OH   45431‐2948
PATRICK J CHALKER        1859 CENTER ROAD                                                                                  SEBEWAING         MI   48759‐9776
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Name                                Address1                        Address2                        Address3                 Address4          City               State Zip
PATRICK J CLAWSON                   935 POND CT                                                                                                LEBANON             OH 45036
PATRICK J COMSTOCK                  972 SENORE AVE                                                                                             BILLINGS            MT 59105
PATRICK J COUTURE                   PO BOX 376                                                                                                 AU GRES             MI 48703‐0376
PATRICK J CROAK                     S103W20975 HEATHER LN                                                                                      MUSKEGO             WI 53150
PATRICK J DANIELEWICZ               8765 LOWER LAKE RD                                                                                         BARKER              NY 14012‐9650
PATRICK J DELIBERTO                 3123 W. 53RD PLACE                                                                                         CHICAGO              IL 60632‐2603
PATRICK J DONAHUE                   202 69TH ST                                                                                                NIAGARA FALLS       NY 14304‐3920
PATRICK J DONOGHUE                  4919 KILLINGTON DR                                                                                         HARRISBURG          PA 17112
PATRICK J FILICSKY                  109 S L ST                                                                                                 TILTON               IL 61833‐7830
PATRICK J FLANAGAN                  19 SAGAMORE CIRCLE                                                                                         ROCHESTER           NY 14617‐2333
PATRICK J GERBIC                    306 STONEMILL                                                                                              DAYTON              OH 45409‐2543
PATRICK J GILCHRIST                 WEITZ & LUXENBERG PC            700 BROADWAY                                                               NEW YORK CITY       NY 10003
PATRICK J GRAY                      126 JEFF SCOTT LN                                                                                          HAMILTON            OH 45013‐9603
PATRICK J HICKS                     276 PINE ST                                                                                                LOCKPORT            NY 14094‐4927
PATRICK J HOGAN                     C/O WEITZ & LUXEMBERG P C       700 BROADWAY                                                               NEW YORK            NY 10003
PATRICK J HOLDRIETH                 PO DRAWER 50025                                                                                            DALLAS              TX 75250
PATRICK J HOWARD                    454 CEDAR LN                                                                                               WENTZVILLE          MO 63385‐5935
PATRICK J KAVANAGH                  19901 GALLAHAD DR                                                                                          MACOMB              MI 48044
PATRICK J KUKLQ                     CLARK HILL, PLC                 CARSON FISCHER, PLC             4111 ANDOVER ROAD WEST   2ND FLOOR         BLOOMFIELD HILLS    MI 48302
PATRICK J LAAKE                     2120 HEWITT AVE APT B                                                                                      KETTERING           OH 45440‐4247
PATRICK J LEAHY                     7104 WHALEY PL                                                                                             SAINT LOUIS         MO 63116‐2717
PATRICK J MALONE                    47 MAPLE ST                                                                                                CANFIELD            OH 44406‐1325
PATRICK J MCDONOUGH JR
PATRICK J MURPHY TRUSTEE            C/O PATRICK J MURPHY            4702 SW 89 CT                                                              MIAMI              FL   33165
PATRICK J PALMER                    4220 CENTER POINTE LN 21                                                                                   SARASOTA           FL   34233
PATRICK J PLATTE                    14370 CUTLER RD                                                                                            PORTLAND           MI   48875‐9353
PATRICK J PULVER                    2321 MICHIGAN STREET                                                                                       WAYLAND            NY   14572‐9588
PATRICK J RILEY                     2849 ANDERSON ANTHONY RD NW                                                                                WARREN             OH   44481
PATRICK J SARVER                    3344 E MOUNT MORRIS RD                                                                                     MOUNT MORRIS       MI   48458‐8958
PATRICK J SHEPPARD                  PINE TRAILS #J‐1                                                                                           CLINTON            MS   39056‐5633
PATRICK J STRANEY                   13916 N STEPROCK CANYON PL                                                                                 ORO VALLEY         AZ   85755
PATRICK J SWEET                     113 FLORIDA RD S                                                                                           SYRACUSE           NY   13211‐1812
PATRICK J THEISEN                   6450 S CLARK RD                                                                                            NASHVILLE          MI   49073‐9433
PATRICK J WARDROP                   705 BEACH BUGGY LN                                                                                         LINDEN             MI   48451‐9663
PATRICK J WHITAKER                  2301 CADIE AVE                                                                                             DAYTON             OH   45414
PATRICK J WILLIAMS                  256 BENNINGTON DR                                                                                          TROY               MO   63379‐4467
PATRICK J. DALY
PATRICK J. DECUIR                   1 RAYMOND BLVD                                                                                             WASHINGTON          PA 15301‐2979
PATRICK J. FLYNN
PATRICK J. O'CALLAGHAN              G‐6258 W. PIERSON RD.                                                                                      FLUSHING           MI   48433
PATRICK JACOBS                      2111 GARSIDE DR                                                                                            ESSEXVILLE         MI   48732‐1595
PATRICK JAHN                        11725 M 33                                                                                                 ATLANTA            MI   49709‐9733
PATRICK JAMES JR                    105 S VINE ST                                                                                              NEW CASTLE         PA   16101‐3334
PATRICK JARECKI                     2313 BROWNLEE RD                                                                                           BOSSIER CITY       LA   71111‐2007
PATRICK JEAN (ESTATE OF) (489177)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD         OH   44067
                                                                    PROFESSIONAL BLDG
PATRICK JESTER                      1307 AUTUMN HILL PL                                                                                        STONE MTN          GA   30083‐5265
PATRICK JOHNSON                     805 COREY CT                                                                                               WENTZVILLE         MO   63385‐1141
PATRICK JOHNSON                     5493 SHALE DR                                                                                              TROY               MI   48085‐3973
PATRICK JOHNSON JR                  270 HATTON CREEK RD                                                                                        STANTON            KY   40380‐9610
PATRICK JOHNSTON                    571 WOODLAWN AVE                                                                                           YPSILANTI          MI   48198‐8015
PATRICK JONES                       6111 MIDDLE LAKE RD                                                                                        CLARKSTON          MI   48346‐2048
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Name                          Address1                             Address2                         Address3     Address4                City              State Zip
PATRICK JONES                 1390 LEON DR                                                                                               W ALEXANDRIA       OH 45381‐8334
PATRICK JONES                 6633 BRUSH ST                                                                                              NORTH BRANCH       MI 48461‐6146
PATRICK JONES                 PO BOX 19394                                                                                               SHREVEPORT         LA 71149‐0394
PATRICK JORDAN                318 PARSHALL ST                                                                                            OAKLEY             MI 48649‐2522
PATRICK JOZWIAK               4984 SOUTHVIEW DR                                                                                          SHELBY TOWNSHIP    MI 48317‐1169
PATRICK JR, DAVID L           1520 TRAVER RD                                                                                             ANN ARBOR          MI 48105‐1769
PATRICK JR, EDWIN L           9333 BENTON RD                                                                                             GRAND LEDGE        MI 48837‐9433
PATRICK JR, HENRY             3415 ROYCE AVE                                                                                             BALTIMORE          MD 21215‐6306
PATRICK JR, PERCY             11850 WOODROW WILSON ST                                                                                    DETROIT            MI 48206
PATRICK JR, ROBERT            1622 E 18TH ST                                                                                             ANDERSON           IN 46016‐2123
PATRICK JR, ROBERT J          2032 EVERGREEN DR SE                                                                                       CONYERS            GA 30013‐6417
PATRICK JR, SAMUEL            110 WHISPERING PINES ST                                                                                    SPRINGBORO         OH 45066‐9758
PATRICK JR, TITUS J           3888 DORSET DR                                                                                             DAYTON             OH 45405‐1939
PATRICK JR, WILLIAM           1704 OAK ST                                                                                                GIRARD             OH 44420‐1020
PATRICK JR, WILLIAM R         PO BOX 1961                                                                                                SAGINAW            MI 48605‐1961
PATRICK JULIAN                5918 HERONS BLVD                                                                                           AUSTINTOWN         OH 44515‐5814
PATRICK JULIAN DAMM           WILHELM‐KALLE‐STRASSE 2              65203 WIESBADEN                  GERMANY
PATRICK JULIAN DAMM           WILHELM KALLE STRASSE 2                                                            65203 WIESBADEN
                                                                                                                 GERMANY
PATRICK K GROVES JR           6072 CURSON DR                                                                                             TOLEDO            OH    43612‐4013
PATRICK K GROVES SR           6059 CURSON DR                                                                                             TOLEDO            OH    43612‐4012
PATRICK K HARELLSON           405 E BRUCE AVE APT 4                                                                                      DAYTON            OH    45405‐2510
PATRICK K HOLT                110 SHEEP RD                                                                                               NEW LEBANON       OH    45345‐9216
PATRICK K RILEY               6208 SONORA DR                                                                                             GRANBURY          TX    76049
PATRICK K SHELEY              26270 BARBARA ST                                                                                           ROSEVILLE         MI    48066‐4972
PATRICK KACIR                 2272 PARKWOOD DR NW                                                                                        WARREN            OH    44485‐2329
PATRICK KAVANAGH              150 RIMINI WAY                                                                                             NORTH VENICE      FL    34275‐6623
PATRICK KAYNER                1198 S PINE RD                                                                                             BAY CITY          MI    48708‐9629
PATRICK KEARNS                THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES                22ND FLOOR                           BALTIMORE         MD    21201

PATRICK KEE                   2478 LONG LAKE RD                                                                                          LAPEER            MI    48446‐8343
PATRICK KEEFE                 338 WYOMING AVE                                                                                            BROOKLYN          MI    49230‐9222
PATRICK KEELER                1001 1/2 S MADISON AVE                                                                                     BAY CITY          MI    48708‐7260
PATRICK KEENA                 47402 WOODBERRY ESTATES DR                                                                                 MACOMB            MI    48044‐3043
PATRICK KEENER                5497 TIPPERARY LN                                                                                          FLINT             MI    48506‐2264
PATRICK KEERS                 708 CAESAR CT                                                                                              AVON              IN    46123‐6337
PATRICK KEHOE                 1506 JEWELL DR                                                                                             COLUMBIA          TN    38401‐5212
PATRICK KELLEY                BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.       OH    44236
PATRICK KELLY                 2513 VALLEY VIEW RD                                                                                        DANDRIDGE         TN    37725‐6941
PATRICK KELLY                 516 WARWICK PL                                                                                             BAYVILLE          NJ    08721‐3416
PATRICK KELLY                 1255 COURTNEY ST NW                                                                                        GRAND RAPIDS      MI    49504‐2909
PATRICK KELLY                 12475 MARGARET DR                                                                                          FENTON            MI    48430‐8856
PATRICK KELLY                 PO BOX 1305                                                                        BELLE RIVER ON CANADA
                                                                                                                 N0R‐1A0
PATRICK KELLY                 34348 VIRGIL ST                                                                                            HARRISON TWP      MI    48045‐3386
PATRICK KELLY                 6210 MOCKINGBIRD LN                                                                                        FLINT             MI    48506‐1606
PATRICK KELLY                 5896 WEST HENRIETTA RD                                                                                     WEST HENRIETT     NY    14586‐9658
PATRICK KELLY E (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.      ONE CENTRY TOWER, 11TH FLOOR,                                         NEW HAVEN         CT    06510
                                                                   265 CHURCH
PATRICK KELLY E (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.      ONE CENTURY TOWER, 11TH FL 265                                        NEW HAVEN          CT   06510
                                                                   CHURCH ST
PATRICK KEMEN                 1634 HIDDEN VALLEY DR                                                                                      MILFORD           MI 48380‐3329
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Name                              Address1                              Address2            Address3     Address4         City            State Zip
PATRICK KEMP                      8461 ELKRUN DR                                                                          CLARKSTON        MI 48348‐2856
PATRICK KENEY                     PO BOX 171                                                                              NORTH JACKSON    OH 44451‐0171
PATRICK KENNEDY                   700 RALSTON AVE                       APT 15                                            DEFIANCE         OH 43512‐1562
PATRICK KENNEDY                   6758 MILLIGAN CREEK TRL                                                                 ONAWAY           MI 49765‐8512
PATRICK KENNEY                    1208 JUDITH STREET                                                                      WESTLAND         MI 48186‐4043
PATRICK KENNY                     PO BOX 517                                                                              KEEGO HARBOR     MI 48320‐0517
PATRICK KERBLESKI                 2763 SEMINOLE CT                                                                        BAY CITY         MI 48708‐8465
PATRICK KERBY                     2836 BUDS LN                                                                            CHARLOTTE        MI 48813‐7840
PATRICK KERNS                     6142 STUMPH RD APT 110                                                                  PARMA            OH 44130‐1861
PATRICK KERRIGAN                  19458 OSMUS ST                                                                          LIVONIA          MI 48152‐1573
PATRICK KIDD                      11S323 OAKWOOD AVE                                                                      LEMONT            IL 60439‐8881
PATRICK KIDDER                    9407 BEECHER RD                                                                         FLUSHING         MI 48433‐9769
PATRICK KIERNAN                   52 VERPLANCK AVE                                                                        HOPEWELL JCT     NY 12533‐5156
PATRICK KILBANE JR                4326 W 143RD ST                                                                         CLEVELAND        OH 44135‐2002
PATRICK KIM                       2705 GATEWATER CT                                                                       CUMMING          GA 30040‐0522
PATRICK KING                      6537 S BLOSSOM LN                                                                       INDIANAPOLIS     IN 46278‐1312
PATRICK KINSER                    1440 N MAPLE AVE                                                                        LA GRANGE PK      IL 60526‐1341
PATRICK KIRKENDOLL                6818 SNOWMASS ST                                                                        SHREVEPORT       LA 71119‐7522
PATRICK KIRKENDOLL JR             6128 MODELLI DR                                                                         GRAND PRAIRIE    TX 75052‐8726
PATRICK KIRKWOOD                  822 VAN BUREN AVE NW                                                                    GRAND RAPIDS     MI 49504‐4083
PATRICK KKEARNS                   THE LAW OFFICES OF PETER G ANGELOS    100 NORTH CHARLES   22ND FLOOR                    BALTIMORE        MD 21201

PATRICK KLEIN                     327 S TRUHN RD                                                                          FOWLERVILLE     MI   48836‐8998
PATRICK KLEIN                     516 HERMAN AVE                                                                          BOWLING GREEN   KY   42104‐8577
PATRICK KLEIN                     1156 E FRENCH RD                                                                        SAINT JOHNS     MI   48879‐9407
PATRICK KLING                     1236 PIPER RD                                                                           SPRING HILL     FL   34606‐4146
PATRICK KLINGMAN                  SHEPHERD, FINKELMAN, MILLER & SHAH,   65 MAIN STREET                                    CHESTER         CT   06412
                                  LLP
PATRICK KNOWLES                   437 BRECKENRIDGE ST                                                                     BUFFALO         NY   14213‐1633
PATRICK KOCZENASZ                 4576 SE LEWIS DR                                                                        BAY CITY        MI   48706
PATRICK KOENIGSKNECHT             10990 RIDGE VIEW TRL                                                                    FENTON          MI   48430‐4030
PATRICK KOEPLIN                   17714 176TH AVE NE                                                                      WOODINVILLE     WA   98072
PATRICK KOEPLIN                   17716TH AVE NE                                                                          WOODINVILLE     WA   98072
PATRICK KOERBER                   14180 E STREET RD                                                                       MONTROSE        MI   48457‐9369
PATRICK KOLB                      3791 WOODLAND DR                                                                        HIGHLAND        MI   48356‐2364
PATRICK KOLONGOWSKI               812 STEINER RD                                                                          MONROE          MI   48162‐9476
PATRICK KOWAL AND ANITA E KOWAL   74 WILDWOOD LANE                                                                        LINN CREEK      MO   65052‐1916
PATRICK KRALL                     5996 HARRISON ST                                                                        MENTOR          OH   44060
PATRICK KRASINSKI                 PO BOX 821                                                                              ROSCOMMON       MI   48653‐0821
PATRICK KRISER                    7336 CRYSTAL LAKE DR APT 5                                                              SWARTZ CREEK    MI   48473‐8953
PATRICK KROL                      3120 HOLBROOK ST                                                                        HAMTRAMCK       MI   48212‐3516
PATRICK KRUSKIE                   4131 SWINSON NEUMAN RD                                                                  RHODES          MI   48652‐9540
PATRICK KUELZ                     153 WAVELAND RD                                                                         JANESVILLE      WI   53548‐3273
PATRICK L BOETTCHER               12944 OPALOCKA DR                                                                       CHESTERLAND     OH   44026‐2616
PATRICK L BOYLE                   4426 RICHLAND AVE                                                                       DAYTON          OH   45432‐1420
PATRICK L CALTON                  1421 LINCOLN ST                                                                         DANVILLE        IL   61832‐7570
PATRICK L CLARK                   4944 LITTLE RICHMOND RD                                                                 DAYTON          OH   45426
PATRICK L COLE                    3228 MYSYLVIA DR                                                                        SAGINAW         MI   48601‐6931
PATRICK L GLEASON                 30 WALNUT PL                                                                            SPRINGBORO      OH   45066
PATRICK L GOOD                    PO BOX 47                             911 BLACKHILLS DR                                 O FALLON        IL   62269‐0047
PATRICK L GUINTHER                7023 CONSERVANCY RD                                                                     GERMANTOWN      OH   45327
PATRICK L HAMILTON                220 SE 21ST ST                                                                          CAPE CORAL      FL   33990
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Name                         Address1                          Address2                      Address3   Address4         City              State Zip
PATRICK L HUNTOON            69 W RUTGERS AVE                                                                            PONTIAC            MI 48340‐2755
PATRICK L MCDORMAN           13333 RIDGE RD APT 601                                                                      LARGO              FL 33778‐1866
PATRICK L MCDUFFEY           8010 ARCADIAN SHORES DR                                                                     SHREVEPORT         LA 71129‐4106
PATRICK L MCNICHOLAS         436 SECRIST LANE                                                                            GIRARD             OH 44420‐1113
PATRICK L O'SHEA             4101 CURUNDU AVE                                                                            DAYTON             OH 45416‐1445
PATRICK L PAYNE              2080 NOBLE AVE                                                                              FLINT              MI 48532‐3914
PATRICK L PERRY              5442 CHIMNEY CIRCLE                                                                         KETTERING          OH 45440‐2957
PATRICK L WANZER             4823 MAYS AVE                                                                               MORAINE            OH 45439‐2817
PATRICK L WILLIAMS           913 W GENESEE ST                                                                            FLINT              MI 48504‐2609
PATRICK L WILSON
PATRICK LA FONTSEE           5112 PARKLANE DR                                                                            HARRISON          MI   48625‐9393
PATRICK LA JOICE             8061 WALTERS HWY                                                                            EATON RAPIDS      MI   48827‐9070
PATRICK LACASSE              3409 GATOR BAY CREEK BLVD                                                                   SAINT CLOUD       FL   34772‐7344
PATRICK LADISKY              1496 S DEWITT RD                                                                            SAINT JOHNS       MI   48879‐9503
PATRICK LAFLEUR              8079 LINDSAY LN                                                                             EDMOND            OK   73025‐2569
PATRICK LAGLE                7088 TUMBLEWEED TRL                                                                         SHOW LOW          AZ   85901‐8308
PATRICK LAHART               2889 CARSON HWY                                                                             ADRIAN            MI   49221‐1112
PATRICK LALOR                4610 PLANTERS HILL DR                                                                       POWDER SPRINGS    GA   30127‐6429
PATRICK LANDRIE              652 BRIARWOOD DR                                                                            ADRIAN            MI   49221‐8444
PATRICK LANE                 PO BOX 26                         111 E FULTON ST                                           POMPEII           MI   48874‐0026
PATRICK LANGLOIS             528 SIR BARTON ST                                                                           HENDERSON         NV   89015‐2970
PATRICK LARSEN               5590 EDGAR RD                                                                               CLARKSTON         MI   48346‐1931
PATRICK LAVEAN               53 NIGHTENGALE AVE                                                                          MASSENA           NY   13662‐1719
PATRICK LAVELLE              911 ELSINORE PL                                                                             CHESTER           PA   19013‐6313
PATRICK LAVIN                712 W WHITE FANG ST                                                                         KUNA              ID   83634‐2902
PATRICK LAW                  325 WATCHGATE WAY                 ODESSA NATIONAL                                           TOWNSEND          DE   19734‐2878
PATRICK LAW FIRM, PC         CRAIG M. PATRICK                  3333 LEE PARKWAY, SUITE 600                               DALLAZ            TX   75219
PATRICK LE PAGE              2029 PEAR TREE LN                                                                           OAKLAND           MI   48363‐2934
PATRICK LEAHY                4438 MAPLE LEAF DR                                                                          GRAND BLANC       MI   48439‐9017
PATRICK LEAL                 544 LOCKWOOD RD                                                                             ORTONVILLE        MI   48462‐9143
PATRICK LEHART               2250 COACH DR APT B                                                                         KETTERING         OH   45440‐2738
PATRICK LEHNERT              5300 HARPER RD                                                                              HOLT              MI   48842‐8622
PATRICK LEIGHTON             WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                           NEW YORK          NY   10038
PATRICK LEIGHTON             WEITZ & LUXENBERG PC              700 BROADWAY                                              NEW YORK          NY   10003
PATRICK LENCIONI             1623 DEVONWOOD DR                                                                           ROCHESTER HILLS   MI   48306‐3107
PATRICK LENGYEL              2222 RIDGEMOOR CT                                                                           BURTON            MI   48509‐1391
PATRICK LENNARD              7112 MANDERSON TER                                                                          WEST BLOOMFIELD   MI   48323‐1152
PATRICK LEONARD              8205 US HIGHWAY 150 E                                                                       STANFORD          KY   40484
PATRICK LEONARD L (406769)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                               STREET, SUITE 600
PATRICK LETOURNEAU           2832 NW RIVER DR                                                                            JANESVILLE        WI 53548‐8929
PATRICK LEVANDER (355953)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                               STREET, SUITE 600
PATRICK LEVEQUE              1557 W PRICE RD                                                                             SAINT JOHNS       MI   48879‐9273
PATRICK LEWIS                APT 11                            1545 MOUNT HOPE AVENUE                                    ROCHESTER         NY   14620‐4226
PATRICK LEWIS‐JONES          465 OCEAN DR APT 809                                                                        MIAMI BEACH       FL   33139‐6626
PATRICK LIBERTY              APT 401                           700 HILL TRAIL DRIVE                                      EULESS            TX   76039‐5690
PATRICK LICKFELDT            1508 BENTBROOK CIR                                                                          LANSING           MI   48917‐1402
PATRICK LILLARD              596 4TH AVENUE                                                                              PONTIAC           MI   48340‐2020
PATRICK LINCK                2893 IROQUOIS DR                                                                            THOMPSONS STN     TN   37179‐5011
PATRICK LINEBACK             4621 LIVE OAK BLVD                                                                          FORT WAYNE        IN   46804‐4042
PATRICK LIPHARD              3153 N COUNTY ROAD 200 W                                                                    DANVILLE          IN   46122‐8843
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Name                   Address1                         Address2           Address3         Address4         City                 State Zip
PATRICK LOCKREY        70 W BURNSIDE RD                                                                      FOSTORIA              MI 48435‐9644
PATRICK L╓HR           IM GARTENHOF 2                   31655 STADTHAGEN
PATRICK LOKAJTYS       2024 CASS                                                                             BAY CITY             MI   48708
PATRICK LOMBARDO       4619 WARWICK DRIVE SOUTH                                                              CANFIELD             OH   44406‐9271
PATRICK LONG           4 LEVAN AVE                                                                           LOCKPORT             NY   14094‐3114
PATRICK LONG           5399 LANSING RD                                                                       PERRY                MI   48872‐9725
PATRICK LONGHI         6550 LOUISVILLE RD APT 13                                                             BOWLING GREEN        KY   42101‐8459
PATRICK LONNIE         778 W MOORE TOWER RD                                                                  PULASKI              MS   39152‐9520
PATRICK LORELLI        80 SAVANNAH CT                                                                        CANFIELD             OH   44406‐7617
PATRICK LOUCKS         505 S TRAVER ST                                                                       SAINT JOHNS          MI   48879‐2041
PATRICK LOVETTE        506 E SHEPHERD ST                                                                     CHARLOTTE            MI   48813‐2224
PATRICK LUCY           15365 MARLOWE ST                                                                      DETROIT              MI   48227‐2952
PATRICK LUMLEY         1207 STILL VALLEY DR                                                                  HOWELL               MI   48855‐9502
PATRICK LYONS          4940 NEOSHO DR                                                                        CLARKSTON            MI   48348‐3334
PATRICK LYONS          3087 LANNING DR                                                                       FLINT                MI   48506‐2050
PATRICK M ARDIS        5810 SHELBY OAKS DR                                                                   MEMPHIS              TN   38134
PATRICK M BENNETT      4126 CUSTER AVE                                                                       FLINT                MI   48507‐2726
PATRICK M BURNS        16 EAGLE POINTE DR                                                                    CORTLAND             OH   44410
PATRICK M BURNS        16 EAGLE POINT                                                                        CORTLAND             OH   44410‐‐ 19
PATRICK M CARROLL      C/O WELTZ & LUXENBERG PC         700 BROADWAY                                         NEW YORK             NY   10003
PATRICK M CARROLL      WEITZ & LUXENBERG PC             700 BROADWAY                                         NEW YORK CITY        NY   10003
PATRICK M CHICHESTER   6111 DACOLA SHORES ROAD                                                               CONESUS              NY   14435‐9756
PATRICK M COOK         3424 SAGAMON AVE                                                                      KETTERING            OH   45429
PATRICK M DAILEY       314 FOREST AVE                                                                        LAKE MILTON          OH   44429
PATRICK M FERRON       16416 US HIGHWAY 19 N LOT 1708                                                        CLEARWATER           FL   33764‐6735
PATRICK M FERRON SR    16416 US HIGHWAY 19 N LOT 1708                                                        CLEARWATER           FL   33764‐6735
PATRICK M FRANCE JR    2659 BLACKHAWK ROAD                                                                   KETTERING            OH   45420‐3824
PATRICK M HARM         7825 CROOKED RD                                                                       SEAMAN               OH   45679
PATRICK M IPPOLITO     287 ABERDEEN ST                                                                       ROCHESTER            NY   14619‐1240
PATRICK M MCGINN       20 BERGEN MILLS RD                                                                    MILLSTONE TOWNSHIP   NJ   08535
PATRICK M MORRIS       204 BELEY AVE                                                                         MATTYDALE            NY   13211‐1528
PATRICK M OLAUGHLIN    3213 MAIN ST                                                                          MORAINE              OH   45439‐1319
PATRICK M PHILLIPS     2801 NILES CORTLAND RD NE                                                             CORTLAND             OH   44410
PATRICK M PICKARD      801 MATTY AVE                                                                         SYRACUSE             NY   13211‐1311
PATRICK M SMITH        5784 MARVIN ROAD                                                                      ANDOVER              OH   44003‐9755
PATRICK M SWEENEY      9944 LANCASTER DR                                                                     BELLEVILLE           MI   48111‐1691
PATRICK M WILSON       8810 N 100 W                                                                          HUNTINGTON           IN   46750‐9773
PATRICK M WOOLUM       6671 SPOKANE DR                                                                       HUBER HEIGHTS        OH   45424‐2243
PATRICK M YOUNG        1747 LYNN MAR AVE                                                                     YOUNGSTOWN           OH   44514‐1450
PATRICK M. FALLANDY    1720 BALLARD ST                                                                       SIMI VALLEY          CA   93065
PATRICK MAAG           1759 S AGNER ST                                                                       OTTAWA               OH   45875‐1613
PATRICK MAC DOUGALL    28333 BONANZA ST                                                                      ROMULUS              MI   48174‐2311
PATRICK MACALUSO       4875 PINCKNEY RD                                                                      HOWELL               MI   48843‐7807
PATRICK MACCOMBS       7418 HILL RD                                                                          SWARTZ CREEK         MI   48473‐7602
PATRICK MACK           953 E STATE ROAD 28                                                                   ALEXANDRIA           IN   46001‐8912
PATRICK MADZIAR        2670 CADILLAC CT                                                                      TECUMSEH             MI   49286‐9566
PATRICK MAFFIORE       1744 FORGE POND RD                                                                    BRICK                NJ   08724‐2950
PATRICK MAHAN          352 CANVASBACK RD                                                                     MIDDLETOWN           DE   19709‐9147
PATRICK MAHONEY        5455 S ROYSTON RD                                                                     EATON RAPIDS         MI   48827‐9036
PATRICK MAHONEY        1117 HONEY CREEK AVE NE                                                               ADA                  MI   49301‐9579
PATRICK MAKIDON        11324 N SAGINAW RD                                                                    CLIO                 MI   48420‐1622
PATRICK MALINGER       8976 GOLF COURSE RD                                                                   SURING               WI   54174‐9602
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Name                      Address1                        Address2                     Address3   Address4         City                   State Zip
PATRICK MALLOY            12157 ONEIDA RD                                                                          GRAND LEDGE             MI 48837‐8432
PATRICK MALONE            4110 NW 79TH ST APT 1                                                                    KANSAS CITY             MO 64151‐4207
PATRICK MALONE            93 HILLTOP DR                                                                            COLUMBIA                TN 38401‐4774
PATRICK MALONE            2178 AARONSWAY CT NE                                                                     BELMONT                 MI 49306‐9450
PATRICK MANGHUM           3690 WEBB ROAD                                                                           WOLVERINE               MI 49799‐9784
PATRICK MANNING           1431 WOODVIEW LN                                                                         COMMERCE TWP            MI 48382‐4823
PATRICK MANNION           4623 W SMITHFIELD ST                                                                     ELIZABETH               PA 15037‐3009
PATRICK MANNO             190 WORTH ST                                                                             ISELIN                  NJ 08830‐2440
PATRICK MARANO            14509 FAIRWAY ST                                                                         LIVONIA                 MI 48154‐5103
PATRICK MARCEAU           48170 FURGOT CT                                                                          SHELBY TWP              MI 48315‐4130
PATRICK MARCIANO          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS          OH 44236
PATRICK MARK              5460 MARINA DR                                                                           TROY                    MI 48085‐3986
PATRICK MARO              2623 REXFORD RD                                                                          YOUNGSTOWN              OH 44511‐2129
PATRICK MARTIN            4350 S VERNON RD                                                                         DURAND                  MI 48429‐9766
PATRICK MARTIN            5471 SHAMROCK LN                                                                         FLINT                   MI 48506‐2248
PATRICK MARTINEZ          543 WOODBRIDGE CIR                                                                       WATERFORD               MI 48327‐2876
PATRICK MARTYKA           11906 HALL RD                                                                            WHITMORE LAKE           MI 48189‐9765
PATRICK MATTICE           68445 KNOLLSIDE CT                                                                       WASHINGTON TWP          MI 48095‐1394
PATRICK MATTICE           7602 S PATTON RD                                                                         BLOOMINGTON             IN 47401‐9333
PATRICK MAUL              7443 SOUTHWICK DR                                                                        DAVISON                 MI 48423‐9564
PATRICK MAURICE           112 N WALNUT ST                                                                          SHARPSVILLE             PA 16150‐2305
PATRICK MAXWELL           5150 TERRITORIAL RD                                                                      GRAND BLANC             MI 48439‐2049
PATRICK MAZZIE            2025 GLENWOOD AVE                                                                        TOLEDO                  OH 43620‐1508
PATRICK MC ALLISTER, JR   1116 MCKIMMY DR                                                                          BEAVERTON               MI 48612‐8620
PATRICK MC CULLOUGH       59 MARINERO WAY                                                                          HOT SPRINGS VILLAGE     AR 71909‐6718
PATRICK MC ELROY          3600 ISLAND CLUB DR APT 4                                                                NORTH PORT              FL 34288‐6610
PATRICK MC GLYNN          10 MANHATTAN SQUARE DR APT 3B                                                            ROCHESTER               NY 14607‐3947
PATRICK MC GUIRE          6319 S STATE HWY 213                                                                     BELOIT                  WI 53511
PATRICK MC KEE            502 E BLOOMFIELD AVE                                                                     ROYAL OAK               MI 48073‐3562
PATRICK MC KERVEY         6155 KING ARTHUR DR                                                                      SWARTZ CREEK            MI 48473‐8808
PATRICK MC MAHON          1612 HIGHVIEW ST                                                                         DEARBORN                MI 48128‐1060
PATRICK MC QUEEN          120 WHITE ROAD                                                                           BROCKPORT               NY 14420‐9749
PATRICK MC TIGUE          18642 NEGAUNEE                                                                           REDFORD                 MI 48240‐2025
PATRICK MCCAFFREY         7998 ONEIDA RD                                                                           GRAND LEDGE             MI 48837‐9479
PATRICK MCCALL            14047 LANDINGS WAY                                                                       FENTON                  MI 48430‐1313
PATRICK MCCARROLL         40 CLAIRVIEW RD                                                                          GROSSE POINTE SHORES    MI 48236‐2644
PATRICK MCCART            251 CAROLINE BLVD                                                                        MADISON                 MS 39110‐4702
PATRICK MCCARTHY          24323 CURRIER ST                                                                         DEARBORN HTS            MI 48125‐1845
PATRICK MCCARTHY          2201 W AVALON RD                                                                         JANESVILLE              WI 53546‐8987
PATRICK MCCARTHY JR       2581 SHEHAN RD                                                                           PINCKNEY                MI 48169‐8434
PATRICK MCCARTY           38 DOLPHIN CIR                                                                           NAPLES                  FL 34113‐4016
PATRICK MCCARTY           2255 COMPTON ST                                                                          SAGINAW                 MI 48602‐3535
PATRICK MCCARTY           PO BOX 9022                                                                              WARREN                  MI 48090‐9022
PATRICK MCCLAIN           308 ANNAPOLIS CT                                                                         POTTERVILLE             MI 48876‐9502
PATRICK MCCLEAN           1024 COLLETON WAY                                                                        NEW BERN                NC 28562‐7257
PATRICK MCCLURE           5513 PATTERSON LN                                                                        ANDERSON                IN 46017‐9755
PATRICK MCCONNELL         PO BOX 186                                                                               PLEASANT LAKE           MI 49272‐0186
PATRICK MCCOOEY           7755 MILESTRIP RD                                                                        ORCHARD PARK            NY 14127‐1412
PATRICK MCCOY             1571 WENONAH LN                                                                          SAGINAW                 MI 48638‐4448
PATRICK MCCOY             1946 MERLE RD                                                                            SALEM                   OH 44460‐4037
PATRICK MCCUSKER          6107 ROCKING CHAIR RD                                                                    GRAND BLANC             MI 48439‐7919
PATRICK MCDONALD          2976 N LAKE ANGELUS RD W                                                                 WATERFORD               MI 48329‐2539
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Name                      Address1                            Address2                   Address3             Address4             City               State Zip
PATRICK MCDONNELL         608 STADIUM DR                                                                                           FORT WAYNE          IN 46805‐2505
PATRICK MCDORMAN          13333 RIDGE RD APT 601                                                                                   LARGO               FL 33778‐1866
PATRICK MCDOUGALL         412 CHANDLER ST                                                                                          FLINT               MI 48503‐2142
PATRICK MCDOWELL          634 7TH ST NW                                                                                            GRAND RAPIDS        MI 49504‐5271
PATRICK MCDUFFEY          8010 ARCADIAN SHORES DR                                                                                  SHREVEPORT          LA 71129‐4106
PATRICK MCFARLAND         3166 PORT AUSTIN RD                                                                                      PORT AUSTIN         MI 48467‐9621
PATRICK MCFARLANE         525 SADDLE LAKE DR                                                                                       ROSWELL             GA 30076‐1085
PATRICK MCGEE             4524 ELMHURST AVE                                                                                        ROYAL OAK           MI 48073‐1778
PATRICK MCGINNIS          7885 E CARLTON RD                                                                                        WEST ALEXANDRIA     OH 45381‐9543
PATRICK MCGLOTHIN         3333 N RANGELINE RD                                                                                      HUNTINGTON          IN 46750‐9023
PATRICK MCGUIRE           4699 CONTINENTAL DR LOT 532                                                                              HOLIDAY             FL 34690‐5616
PATRICK MCGURK            PO BOX 749                                                                                               SHRUB OAK           NY 10588‐0749
PATRICK MCINERNEY         2730 N MARTIN LUTHER KING JR BLVD                                                                        LANSING             MI 48906‐2925
PATRICK MCKAY             397 AMBLESIDE WAY                                                                                        AMHERST             OH 44001‐3411
PATRICK MCKEARN           2850 RIVERSIDE DR                                                                                        BELOIT              WI 53511‐1506
PATRICK MCKEOWN SR        1226 MCKENNANS CHURCH RD                                                                                 WILMINGTON          DE 19808‐2149
PATRICK MCKERNAN          4198 DORAL CT                                                                                            HOWELL              MI 48843‐9476
PATRICK MCLEAN            2210 TYRRELL RD                                                                                          BANCROFT            MI 48414‐9706
PATRICK MCLEOD            8285 WHITNEY RD                                                                                          GAINES              MI 48436‐9723
PATRICK MCMAHON           7125 WINSLET BLVD APT 1C                                                                                 INDIANAPOLIS        IN 46217‐9473
PATRICK MCMAHON JR        35309 EDEN PARK DR                                                                                       STERLING HEIGHTS    MI 48312‐3834
PATRICK MCMANAMAN         809 GARDENIA BLVD                                                                                        DAVISON             MI 48423‐1250
PATRICK MCMORROW          21 VERO DR                                                                                               POUGHKEEPSIE        NY 12603‐6618
PATRICK MCNABB            200 ADAMS ST                                                                                             DANVILLE            IN 46122‐1107
PATRICK MCNAMARA          169 DOREMUS AVE                                                                                          WATERFORD           MI 48328‐2818
PATRICK MCNAMARA          3677 HI LURE DR                                                                                          LAKE ORION          MI 48360‐2448
PATRICK MCNICHOLAS        436 SECRIST LN                                                                                           GIRARD              OH 44420‐1113
PATRICK MCQUAID           22‐67 CRESCENT STREET                                                                                    ASTORIA             NY 11105
PATRICK MCQUEEN           650 W SHORE DR                                                                                           STANTON             MI 48888‐9230
PATRICK MCQUISTON         500 S GLEANER RD                                                                                         SAGINAW             MI 48609‐9604
PATRICK MCTAGGART         2425 WATERMAN RD                                                                                         VASSAR              MI 48768‐8922
PATRICK MCTEVIA           3027 COURTESY DR                                                                                         FLINT               MI 48506‐2076
PATRICK MEEHAN            6292 VINEYARD AVE                                                                                        ANN ARBOR           MI 48108‐5919
PATRICK MENTEN            PFARRER‐EGEN‐WEG 18                                                                 72169 HORB‐MUEHLEN
                                                                                                              GERMANY
PATRICK MENTEN            PFARRER EGEN‐WEG 18                                                                                      M▄HLEN             DE   72180
PATRICK MESITE            822 MARION RD                                                                                            CHESHIRE           CT   06410‐3812
PATRICK MEYER             4506 OLD KENNEDY RD                                                                                      MILTON             WI   53563‐8978
PATRICK MICHAEL           7069 PAMELA DR                                                                                           YPSILANTI          MI   48197‐1775
PATRICK MICHAEL MCGRATH   ROBERT W PHILLIPS                   SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521           EAST ALTON         IL   62024
                                                              ANGELIDES & BARNERD LLC
PATRICK MICHEL            4321 KENTWOOD AVE                                                                                        FLINT              MI   48507‐3520
PATRICK MIDDLETON         16 BOBCAT TRL                                                                                            WILDWOOD           FL   34785‐9050
PATRICK MILLEN            1973 SHERWOOD DR                                                                                         DEFIANCE           OH   43512‐3431
PATRICK MILLER            5026 E WESTON RD                                                                                         BLISSFIELD         MI   49228‐9630
PATRICK MILLER            5129 SHERETON PL                                                                                         TOLEDO             OH   43615‐2950
PATRICK MILLER            426 EPARD LN                                                                                             WOODSTOCK          VA   22664‐1342
PATRICK MINER             413 ENCHANTED DR                                                                                         ANDERSON           IN   46013‐1074
PATRICK MINO              145 HOLIDAY PARK DR                                                                                      PITTSBURGH         PA   15239‐2360
PATRICK MISCHKE           RAIFFEISENSTR. 30 A                 63773 GOLDBACH
PATRICK MITCHELL          804 BOULEVARD ST                                                                                         SYRACUSE           NY 13211‐1805
PATRICK MITCHELL          1015 MICHIGAN AVE                                                                                        BAY CITY           MI 48708‐8764
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Name                   Address1                         Address2            Address3      Address4         City             State Zip
PATRICK MITTISON       20537 WOODBURN DR                                                                   SOUTHFIELD        MI 48075‐7580
PATRICK MOEHLE         3059 HERBELL DR                                                                     WATERFORD         MI 48328‐3118
PATRICK MOHAN          3417 SELKIRK BUSH RD SW                                                             WARREN            OH 44481‐9720
PATRICK MONAHAN        7738 SW 112TH LN                                                                    OCALA             FL 34476‐9162
PATRICK MONAHAN        51968 MONACO DR                                                                     MACOMB            MI 48042‐6022
PATRICK MONNIN         310 SYCAMORE SPRINGS DR                                                             SPRINGBORO        OH 45066‐8951
PATRICK MONSERE        1165 CRAVEN DR                                                                      HIGHLAND          MI 48356‐1130
PATRICK MONTGOMERY     2704 CASTILLO DR                                                                    LADY LAKE         FL 32162‐0225
PATRICK MONTGOMERY     2228 LANDMARK DR                                                                    LAPEER            MI 48446‐9022
PATRICK MOONEY         123 N ELIZABETH ST                                                                  BELLEVUE          MI 49021‐1005
PATRICK MOONEY         4560 ROYALTON CENTER RD                                                             GASPORT           NY 14067‐9340
PATRICK MOORE          305 S VAL VISTA DR APT 134                                                          MESA              AZ 85204
PATRICK MOORE          PO BOX 176                                                                          BRIDGEPORT        MI 48722‐0176
PATRICK MORAN          25383 FAWN DR                                                                       NORTH OLMSTED     OH 44070‐1262
PATRICK MORAND         711 E NORTH BOUTELL RD                                                              KAWKAWLIN         MI 48631‐9744
PATRICK MORGAN JR      4825 OLD JULIAN RD                                                                  JULIAN            NC 27283‐9237
PATRICK MORRISSEY      43781 RIVIERA DR                                                                    NORTHVILLE        MI 48168‐8485
PATRICK MORROW         PO BOX 506                                                                          ROACH             MO 65787‐0506
PATRICK MOSCATELLO     2740 CALLE #8                    COMUNIDAD STELLA                                   RINCON            PR 00677
PATRICK MOTLEY         W8262 430TH AVE                                                                     ELLSWORTH         WI 54011‐4837
PATRICK MOTORS         519 WASHINGTON STREET ROUTE 20                                                      AUBURN            MA 01501
PATRICK MOTORS         PATRICK, JAMES                   519 WASHINGTON ST                                  AUBURN            MA 01501‐2703
PATRICK MOUNT          3823 NANTUCKET DR                                                                   FORT WAYNE        IN 46815‐5633
PATRICK MOYLAN         42970 TOMLINSON DR                                                                  CLINTON TWP       MI 48038‐2498
PATRICK MROFCHAK       10328 BENT BROOK PL                                                                 LAS VEGAS         NV 89134‐5147
PATRICK MROZEK         153 CHAPEL GLEN DR                                                                  HAMBURG           NY 14075‐4607
PATRICK MULHOLLAND     PO BOX 528/19                                                                       SHENOROCK         NY 10587
PATRICK MULLALLY       PO BOX 352                                                                          CLIO              MI 48420‐0352
PATRICK MULLANEY       359 DAVISON RD APT 1                                                                LOCKPORT          NY 14094‐4779
PATRICK MULLIGAN       28 FALLON PASS                                                                      O FALLON          MO 63366‐4417
PATRICK MUNCH          9284 N LATSON RD                                                                    HOWELL            MI 48855‐8206
PATRICK MURPHY         805 SE 46TH LN APT 101                                                              CAPE CORAL        FL 33904‐8813
PATRICK MURPHY         1397 RAMSEY RD                                                                      STOUGHTON         WI 53589‐3637
PATRICK MURPHY         1140 HARMONY CIR NE                                                                 JANESVILLE        WI 53545‐2005
PATRICK MURPHY         11291 NIXON RD                                                                      GRAND LEDGE       MI 48837‐9403
PATRICK MURPHY         PO BOX 623                                                                          OGDENSBURG        NY 13669‐0623
PATRICK MURPHY         2708 VALPARAISO TRL                                                                 ARLINGTON         TX 76017‐4315
PATRICK MURPHY         1707 WILTSHIRE RD                                                                   BERKLEY           MI 48072‐2119
PATRICK MURPHY         1125 BROOKLINE ST                                                                   CANTON            MI 48187‐3233
PATRICK MURPHY         4391 WICKFIELD DRIVE                                                                FLINT             MI 48507‐3756
PATRICK MURPHY         1348 WILTSHIRE RD                                                                   BERKLEY           MI 48072‐2150
PATRICK MURRAY         97773 N BANK CHETCO RIVER RD                                                        BROOKINGS         OR 97415‐9233
PATRICK MYERS          C/O WEITZ & LUXENBERG PC         700 BROADWAY                                       NEW YORK CITY     NY 10003
PATRICK N FAGNANI      WEITZ & LUXENBERG PC             700 BROADWAY                                       NEW YORK CITY     NY 10003
PATRICK N KNOWLES      437 BRECKENRIDGE ST                                                                 BUFFALO           NY 14213‐1633
PATRICK N KRIEGER      1374 GAGE RD                                                                        TOLEDO            OH 43612‐4020
PATRICK N OLINGER      5642 CANAL BLVD                                                                     NEW ORLEANS       LA 70124
PATRICK N WATSON JR.   524 W FEDERAL ST                                                                    NILES             OH 44446
PATRICK NAGY           444 PARK AVE                                                                        POLAND            OH 44514‐3329
PATRICK NAGY           11976 HAGGERMAN RD                                                                  SOUTH ROCKWOOD    MI 48179‐9504
PATRICK NALLY          1818 RING NECK DR                                                                   ROCHESTER         MI 48307‐6009
PATRICK NAPOLITANO     4409 GRAND LIN STREET                                                               SWARTZ CREEK      MI 48473‐9133
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Name                                      Address1                             Address2             Address3      Address4         City                 State Zip
PATRICK NAUGHTON                          6842 MOHICAN LN                                                                          WESTLAND              MI 48185‐2811
PATRICK NELSON                            1317 S RIVER RD                                                                          SAGINAW               MI 48609‐5208
PATRICK NELSON                            5912 HARVARD ST                                                                          FLINT                 MI 48505‐2857
PATRICK NELSON                            402 CENTENNIAL AVE                                                                       LEWISBURG             TN 37091‐3659
PATRICK NEMINSKI                          9290 VIENNA RD                                                                           OTISVILLE             MI 48463‐9783
PATRICK NEWTON                            573 S GARFIELD RD                                                                        LINWOOD               MI 48634‐9716
PATRICK NGUYEN                            8705 N BELTON AVE                                                                        KANSAS CITY           MO 64154‐3908
PATRICK NICKLOW                           5811 WINTERBERRY PARK DR                                                                 OXFORD                MI 48371‐4180
PATRICK NOHEL                             145 W CHURCH ST                      PO BOX 326                                          MERRILL               MI 48637‐2504
PATRICK NOLAN                             2711 GARY AVE                                                                            BRIGHTON              MI 48114‐9359
PATRICK NOLPH                             118 W CLARK ST                                                                           DAVISON               MI 48423‐1506
PATRICK NORRIS                            3817 SHADOW CREEK DR                                                                     SHREVEPORT            LA 71119‐7120
PATRICK NURENBERG                         10010 ELLIS RD                                                                           CLARKSTON             MI 48348‐1110
PATRICK O BRIEN                           119 RIVERVIEW DR                                                                         LACHINE               MI 49753‐9788
PATRICK O CONNELL                         6 WELLESLEY DR                                                                           PLEASANT RIDGE        MI 48069‐1240
PATRICK O CONNOR                          637 PELTON AVE                                                                           STATEN ISLAND         NY 10310‐3009
PATRICK O KEEFE                           25720 SOMERSET RD                                                                        PAOLA                 KS 66071‐8413
PATRICK O LANDY                           127 SEWARD ST APT B2                                                                     DETROIT               MI 48202‐2435
PATRICK O MARTIN                          1082 DOWAGIAC AVE                                                                        MOUNT MORRIS          MI 48458‐2558
PATRICK O TOOLE                           7349 PLAYERS CLUB DR                                                                     LANSING               MI 48917‐9656
PATRICK O WILSON                          C/O MOTLEY RICE LLC                  28 BRIDGESIDE BLVD   PO BOX 1792                    MOUNT PLEASANT        SC 29645
PATRICK O'BRIEN                           1101 4TH ST E                                                                            SOUTH POINT           OH 45680‐9519
PATRICK O'BRIEN                           9309 W WESTERN RESERVE RD                                                                CANFIELD              OH 44406‐9425
PATRICK O'BRIEN                           4379 PONTIFF ST                                                                          WATERFORD             MI 48329‐1554
PATRICK O'BRIEN JR. CHEVROLET III, INC.   PATRICK O'BRIEN                      3880 PEARL RD                                       MEDINA                OH 44256‐9001

PATRICK O'BRIEN, JR. CHEVROLET II, INC.   PATRICK O'BRIEN                      25100 DETROIT RD                                    WESTLAKE             OH 44145‐2533

PATRICK O'BRIEN,JR. CHEVROLET, INC.       PATRICK O'BRIEN                      2810 BISHOP RD                                      WILLOUGHBY HILLS     OH 44092‐2604
PATRICK O'CONNELL                         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES    22ND FLOOR                     BALTIMORE            MD 21201

PATRICK O'CONNOR                          11305 SARLE ST                                                                           FREELAND             MI   48623
PATRICK O'DOHERTY                         152 LAKESHORE VIS                                                                        HOWELL               MI   48843‐7561
PATRICK O'DONOGHUE                        1352 BISHOP RD                                                                           GROSSE POINTE PARK   MI   48230‐1146
PATRICK O'GRADY                           3411 SOUTHAMPTON DR                                                                      JEFFERSONTON         VA   22724‐1751
PATRICK O'HARA                            4465 WILLOW CREEK DR SE                                                                  WARREN               OH   44484‐2963
PATRICK O'HERN                            10139 WOODLAWN ST                                                                        TAYLOR               MI   48180‐3291
PATRICK O'LEARY                           19405 APPLE CREEK DR                                                                     CLINTON TOWNSHIP     MI   48038‐1404
PATRICK O'LEARY                           3248 E 900 N                                                                             ROANOKE              IN   46783‐9142
PATRICK O'MORROW                          9488 GALE RD                                                                             GOODRICH             MI   48438‐9457
PATRICK O'NEIL JR                         PO BOX 243                                                                               CLARKDALE            GA   30111‐0243
PATRICK O'QUINN                           1557 BOGUE CHITTO RD SE                                                                  MEADVILLE            MS   39553‐8100
PATRICK O'SHEA                            4101 CURUNDU AVE                                                                         DAYTON               OH   45416‐1445
PATRICK OBRIEN                            210 SOUTH ST                                                                             DUNDEE               MI   48131‐1039
PATRICK OBRIEN                            11103 BISMARK HWY                                                                        VERMONTVILLE         MI   49096‐9757
PATRICK OBRIEN                            2313 MORRISH RD                                                                          SWARTZ CREEK         MI   48473‐9723
PATRICK OBRIEN                            3804 BRYN MAWR DR                                                                        JANESVILLE           WI   53546‐2045
PATRICK OCONNOR                           11305 SARLE RD                                                                           FREELAND             MI   48623‐9702
PATRICK ODDI                              307 ZOERB AVE                                                                            CHEEKTOWAGA          NY   14225‐4837
PATRICK ODONNELL                          1018 MOORE ST                                                                            BELOIT               WI   53511‐5042
PATRICK OGLE                              504 E MAPLE ST                                                                           HOLLY                MI   48442‐1650
PATRICK OGLESBY
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Name                             Address1                         Address2               Address3      Address4         City            State Zip
PATRICK OHLERT                   3721 SHOEMAKER RD                                                                      ALMONT           MI 48003‐7946
PATRICK OKOPNY                   5262 COPLEY SQUARE                                                                     GRAND BLANC      MI 48439
PATRICK OLEKSIAK                 18233 HENRY ST                                                                         MELVINDALE       MI 48122‐1428
PATRICK OLIVER                   6086 N CROWN ST                                                                        WESTLAND         MI 48185‐2247
PATRICK OLK                      5501 VOLKMER RD                                                                        CHESANING        MI 48616‐9477
PATRICK OLSOWY                   30508 PALMER ST                                                                        MADISON HTS      MI 48071‐5117
PATRICK OMALLEY                  2128 E WILLIAMSON ST                                                                   BURTON           MI 48529‐2444
PATRICK ONEILL                   5413 FORTUNE DR                                                                        TOLEDO           OH 43611‐1517
PATRICK OSANTOWSKI               1591 S VAN BUREN RD                                                                    REESE            MI 48757‐9207
PATRICK OSEI BONSU
PATRICK OSTROWSKI                1035 OAKWOOD LN UNIT A                                                                 BROOKFIELD      WI   53045‐2828
PATRICK OVERLAND                 816 15TH AVE                                                                           UNION GROVE     WI   53182‐1426
PATRICK OWENS                    29681 ARMADA RIDGE RD                                                                  RICHMOND        MI   48062‐4524
PATRICK P ROMBALSKI              1400 BRIARSON DR                                                                       SAGINAW         MI   48638‐5473
PATRICK P SALISBURY              512 BREMAN AVE                                                                         SYRACUSE        NY   13211‐1230
PATRICK PACATTE                  1416 7TH ST                                                                            HIGHLAND        IL   62249‐1421
PATRICK PAHL                     6859 STATE RD                                                                          MILLINGTON      MI   48746‐9120
PATRICK PAOLERA
PATRICK PARKER                   14028 N EVEREST AVE                                                                    EDMOND          OK 73013‐4714
PATRICK PARROTT                  5304 BEECHER RD                                                                        FLINT           MI 48532‐2201
PATRICK PATTERSON                3950 N SADLIER DR                                                                      INDIANAPOLIS    IN 46226‐5212
PATRICK PATTERSON
PATRICK PATTERSON                209 HAVENWOOD LN                                                                       GRAND ISLAND    NY   14072‐1368
PATRICK PATTERSON                225 CAVALRY RD                                                                         CARLISLE        PA   17013
PATRICK PATTISON                 14055 ARCHWOOD ST                                                                      VAN NUYS        CA   91405‐4822
PATRICK PATTON                   PO BOX 42                                                                              MULLIKEN        MI   48861‐0042
PATRICK PAVLICA                  1353 MERLE AVE                                                                         BURTON          MI   48509‐2130
PATRICK PAWLOSKE                 7251 IDA TER                                                                           WATERFORD       MI   48329‐2833
PATRICK PAYNE                    1201 KEBLE LN                                                                          OXFORD          MI   48371‐5905
PATRICK PAYNE                    2080 NOBLE AVE                                                                         FLINT           MI   48532‐3914
PATRICK PEABODY                  5707 DIVINE HWY                                                                        PORTLAND        MI   48875‐9614
PATRICK PECORELLI                101 VICEROY DR                                                                         SATSUMA         FL   32189‐3025
PATRICK PEDDICORD                4351 CLOVER DR                                                                         RAVENNA         OH   44266‐9354
PATRICK PELLOW                   82 PHILIP DR                                                                           AMHERST         NY   14228‐1325
PATRICK PEREZ                    15013 JONAS AVE                                                                        ALLEN PARK      MI   48101‐1852
PATRICK PERNICE                  1781 ROBERTS LN NE                                                                     WARREN          OH   44483‐3621
PATRICK PERUGINO                 82 ALLEN ST                                                                            TERRYVILLE      CT   06786‐6402
PATRICK PHELPS                   3333 SPRUCE APT 3304                                                                   ORION           MI   48359‐1099
PATRICK PIETRYKOWSKI             2220 ALBON RD                                                                          HOLLAND         OH   43528‐8690
PATRICK PLATTE                   14370 CUTLER RD                                                                        PORTLAND        MI   48875‐9353
PATRICK PLOOR                    PO BOX 454                                                                             LEAD HILL       AR   72644‐0454
PATRICK PLUNKETT                 420 E PEARL ST                                                                         POTTERVILLE     MI   48876‐8704
PATRICK POLEON                   698 HARLEM RD                                                                          WEST SENECA     NY   14224‐1153
PATRICK PONTIAC, INC.            PATRICK MULVIHILL                4700 W HENRIETTA RD                                   HENRIETTA       NY   14467‐9357
PATRICK PONTIAC‐BUICK‐GMC INC.   MICHAEL PATRICK                  405 S WASHINGTON HWY                                  ASHLAND         VA   23005‐2312
PATRICK PONTIAC‐BUICK‐GMC INC.   405 S WASHINGTON HWY                                                                   ASHLAND         VA   23005‐2312
PATRICK POOLE                    APT A                            8457 ETIWANDA AVENUE                                  RCH CUCAMONGA   CA   91739‐9643
PATRICK POPP                     5355 COLLINS AVE                 APT 2110                                              MIAMI BEACH     FL   33141‐9618
PATRICK PORTELL                  8758 DEERWOOD RD                                                                       CLARKSTON       MI   48348‐4587
PATRICK POSEY
PATRICK POTES                    319 CEDARWOOD DR                                                                       FLUSHING        MI 48433‐1803
PATRICK POWERS                   65303 CAMPGROUND RD                                                                    WASHINGTON      MI 48095‐1810
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Name                             Address1                          Address2                      Address3                     Address4               City              State Zip
PATRICK POWERS                   129 NASHBORO GRNS                                                                                                   NASHVILLE          TN 37217‐3924
PATRICK PRECOPIO                 37 PEACH TREE RD                                                                                                    CHEEKTOWAGA        NY 14225‐2901
PATRICK PREGER                   4031 SPRING HUE LN                                                                                                  DAVISON            MI 48423‐8900
PATRICK PREVO                    13767 JACKPINE TRL                                                                                                  ONAWAY             MI 49765‐8558
PATRICK PRIEST                   246 RISCH RD                                                                                                        WEBBERVILLE        MI 48892‐9797
PATRICK PRIHODA                  56 ASHBOURNE CIR                                                                                                    NOBLESVILLE        IN 46060‐4260
PATRICK PRITCHETT                2280 MAUL RIDGE RD                                                                                                  BEDFORD            IN 47421‐8525
PATRICK PROCTOR
PATRICK PUDELKO                  8246 SCHREPFER RD                                                                                                   HOWELL            MI 48855‐9323
PATRICK PUGH                     8 CONGAREE CT                                                                                                       BALTIMORE         MD 21236‐3104
PATRICK PUHANI                   FR‐PIETZSCH‐STR 12                                                                           D‐67159 FRIEDELSHEIM
                                                                                                                              GERMANY
PATRICK PUPKIEWICZ               610 N BLOCKI CT                                                                                                     LAKE ORION        MI   48362‐2974
PATRICK PURTON                   3382 STARWICK DR                                                                                                    CANFIELD          OH   44406‐9279
PATRICK PUTMAN                   1839 MORIN DR                                                                                                       BAY CITY          MI   48708‐6955
PATRICK QUINLAN                  11351 BIG LAKE RD                                                                                                   DAVISBURG         MI   48350‐3501
PATRICK QUINLAN                  8400 THORNTREE DR                                                                                                   GROSSE ILE        MI   48138‐1516
PATRICK QUINN                    8083 WINTERS LN                                                                                                     WHITMORE LAKE     MI   48189‐9555
PATRICK QUINN                    781 ENGLEWOOD DR                                                                                                    ROCHESTER HILLS   MI   48309‐1066
PATRICK QUINTANA                 602 RAFORD WILSON RD                                                                                                COMMERCE          GA   30529‐4091
PATRICK QUIRK                    2304 W BRYDEN RD                                                                                                    MUNCIE            IN   47304‐1707
PATRICK R CALLIGAN               3715 RANCHFOLD CT.                                                                                                  CONCORD           CA   94520‐1314
PATRICK R CATHEY                 1600 MONROE AVE APT 12                                                                                              ROCHESTER         NY   14618
PATRICK R CHMURA                 24652 VALLEY AVE                                                                                                    EASTPOINTE        MI   48021‐1089
PATRICK R DUGAN                  GLASSER AND GLASSER               CROWN CENTER                  580 EAST MAIN STREET SUITE                          NORFOLK           VA   23510
                                                                                                 600
PATRICK R FLATTERY               21384 ROOSEVELT RD                                                                                                  MERRILL           MI   48637‐9771
PATRICK R PERNICE                1781 ROBERT LANE NE                                                                                                 WARREN            OH   44483
PATRICK R SMITH                  1615 MEADOWBROOK CT                                                                                                 SYCAMORE          IL   60178‐2764
PATRICK R TRIMBACH               804 ELBERON AVE                                                                                                     DAYTON            OH   45403‐3322
PATRICK RADECKI                  14401 ROBBE RD                                                                                                      BELLEVILLE        MI   48111‐3087
PATRICK RAFFERTY                 BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS        OH   44236
PATRICK RAILEY                   402 CUNNINGHAM ST                                                                                                   RICHMOND          MO   64085‐2156
PATRICK RAMTHUN                  7322 WINNEBAGO DR                                                                                                   FORT WAYNE        IN   46815‐6427
PATRICK RASMUSSEN                3462 BLUE LAKE DR                                                                                                   FLINT             MI   48506‐2063
PATRICK RAY                      5799 Z. HWY                                                                                                         BATES CITY        MO   64011
PATRICK RAY M (355548)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                       NORFOLK           VA   23510
                                                                   STREET, SUITE 600
PATRICK REDDINGTON               326 35TH ST                                                                                                         MCKEESPORT        PA   15132‐7223
PATRICK REDDY                    409 EASTLAND DR                                                                                                     LINCOLN           AL   35096‐4045
PATRICK REILLY                   31574 RIVERBEND DR                                                                                                  CHESTERFIELD      MI   48047‐5944
PATRICK RESTER                   683 BANKSHIRE DR                                                                                                    SUWANEE           GA   30024‐2605
PATRICK REYES                    700 DUNEDIN DR                                                                                                      ROCHESTER HILLS   MI   48309‐1057
PATRICK REYNOLDS                 5262 OLEKSYN RD                                                                                                     FLINT             MI   48504‐1000
PATRICK RICE                     101 E TERRELL LN                                                                                                    SALEM             IN   47167‐6933
PATRICK RICHARD                  10118 BATH RD                                                                                                       LAINGSBURG        MI   48848‐9324
PATRICK RICHARDS                 9803 N OAK TRFY                                                                                                     KANSAS CITY       MO   64155‐2065
PATRICK RICHARDS M (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR 265 CHURCH STREET                                   NEW HAVEN         CT   06510

PATRICK RICHER                   928 IOWA ST SW                                                                                                      WYOMING           MI 49509‐3932
PATRICK RIDER                    515 CHAMBERLAIN ST                                                                                                  FLUSHING          MI 48433‐1619
PATRICK RILEY                    10744 U.S. 27 SOUTH LOT 236                                                                                         FT WAYNE          IN 46816
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Name                        Address1                        Address2                      Address3   Address4         City              State Zip
PATRICK RILEY               9840 W COLONY RD                                                                          FOWLER             MI 48835‐9717
PATRICK RILEY               6208 SONORA DR.                                                                           GRANBURY           TX 76049
PATRICK RIPLEY              874 PERRY RD                                                                              VERMONTVILLE       MI 49096‐9532
PATRICK RISNER              PO BOX 137                      1345 E MASON ST                                           DANSVILLE          MI 48819‐0137
PATRICK RISSE               1512 WOODHURST CT                                                                         HOWELL             MI 48843‐6313
PATRICK RIVETTE             9130 CROSBY LAKE RD                                                                       CLARKSTON          MI 48346‐2567
PATRICK ROACH               7485 WILFRED DR                                                                           TEMPERANCE         MI 48182‐1550
PATRICK ROBERT W (410875)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                            STREET, SUITE 600
PATRICK ROBERTS             3726 EDINBOROUGH DR                                                                       ROCHESTER HILLS   MI   48306‐3684
PATRICK ROBINSON            645 APPOLINE CT                                                                           ROCHESTER         MI   48307‐6035
PATRICK ROBINSON            11 TATLOW LN                                                                              NEW CASTLE        DE   19720‐3339
PATRICK ROBINSON            9596 DOLORES                                                                              CLARKSTON         MI   48348‐2400
PATRICK ROCHE               201 TERRACE CT                                                                            GRAND BLANC       MI   48439‐1136
PATRICK ROHLOFF             12364 ITHACA RD                                                                           SAINT CHARLES     MI   48655‐8516
PATRICK ROMANELLI
PATRICK ROMBALSKI           1400 BRIARSON DR                                                                          SAGINAW           MI   48638‐5473
PATRICK ROMER JR            5860 SUMMERWOOD DR                                                                        GRAND PRAIRIE     TX   75052‐0435
PATRICK RONDO               7052 GALE RD                                                                              GRAND BLANC       MI   48439‐7415
PATRICK ROSA                7130 WHITE TAIL DR                                                                        GRAND BLANC       MI   48439‐9641
PATRICK ROSE                2147 CHAPIN ST                                                                            GRAND BLANC       MI   48439‐4201
PATRICK ROSE                6709 WAGONET RD                                                                           FOREST HILL       TX   76140‐1343
PATRICK ROSS                1829 WYNNEWOOD LANE                                                                       AVON              IN   46123‐5300
PATRICK ROSS                101 CHOCTAW TRL                                                                           PRUDENVILLE       MI   48651‐9725
PATRICK ROURKE              334 MAPLE LN                                                                              WHITE LAKE        MI   48383‐2644
PATRICK ROURKE              6493 S SHERIDAN AVE                                                                       DURAND            MI   48429‐9312
PATRICK ROY                 PO BOX 332                                                                                EAGLE LAKE        ME   04739‐0332
PATRICK ROY                 15130 KEITHVILLE KEATCHIE RD    RD                                                        KEITHVILLE        LA   71047‐7694
PATRICK RUDDY               44622 KALI CT                                                                             NOVI              MI   48375‐1571
PATRICK RUNKEL              5795 E STATE ROAD 124                                                                     BLUFFTON          IN   46714‐9340
PATRICK RUPP                11423 DELMAR DR                                                                           FENTON            MI   48430‐9018
PATRICK RYALS               2018 CANNIFF ST                                                                           FLINT             MI   48504‐5414
PATRICK RYAN                11480 HACK RD                                                                             REESE             MI   48757‐9706
PATRICK RYAN                1402 39TH ST                                                                              BAY CITY          MI   48708‐4906
PATRICK RYAN                9003 GUTHRIE AVE                                                                          SAINT LOUIS       MO   63134‐3425
PATRICK RYAN                401 COUNTRY CLUB DR                                                                       BENTON            LA   71006‐9220
PATRICK RYAN                48385 COMMONVIEW DR                                                                       SHELBY TOWNSHIP   MI   48317‐2772
PATRICK RYERSON             1729 BRANDENBERRY DR                                                                      SURFSIDE BCH      SC   29575‐5478
PATRICK S GEISEL            1345 KAPOK ST                                                                             FAIRBORN          OH   45324‐3510
PATRICK S LANCASTER         4116 LOCUSTWOOD DR.                                                                       KETTERING         OH   45429
PATRICK S LOMBARDO          4619 WARWICK DR S                                                                         CANFIELD          OH   44406‐9271
PATRICK S O'QUINN           1557 BOGUC CHITTO RD SE                                                                   MEADVILLE         MS   39653‐8100
PATRICK S VAN DELDEN        1437 SE HENKLE RD                                                                         CORBETT           OR   97019
PATRICK S WORLEY            8428 MAURICE DR                                                                           INDIANAPOLIS      IN   46234‐1758
PATRICK SAAB                526 MALL DR                                                                               SCHAUMBURG        IL   60173‐5104
PATRICK SAAB                DAWSON, III, HANLEY             526 MALL DR                                               SCHAUMBURG        IL   60173‐5104
PATRICK SAMPSON             9895 E BROOKS RD                                                                          LENNON            MI   48449‐9678
PATRICK SARVER              3344 E MOUNT MORRIS RD                                                                    MOUNT MORRIS      MI   48458‐8958
PATRICK SARVER              10218 MCGREGOR RD                                                                         PINCKNEY          MI   48169‐8867
PATRICK SAUCERMAN           6419 N FISK CT                                                                            KANSAS CITY       MO   64151‐1380
PATRICK SAULINE             6222 DIANA DR                                                                             POLAND            OH   44514‐1830
PATRICK SCANLON             7740 LUCERNE DR APT P56                                                                   MIDDLEBRG HTS     OH   44130‐6542
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Name                Address1                         Address2           Address3         Address4                  City              State Zip
PATRICK SCARINGE    6767 FORREST COMMONS BLVD                                                                      INDIANAPOLIS       IN 46227‐2396
PATRICK SCHAEFER    39284 SUNDERLAND DR                                                                            CLINTON TWP        MI 48038‐2679
PATRICK SCHARTZ
PATRICK SCHMIDT     HUMMELSBERG 3                                                        36151 BURGHAUN,
                                                                                         GERMANY
PATRICK SCHNAPP     4073 CANEY CREEK IN                                                                            CHAPEL HILL       TN   37034
PATRICK SCHOENING   15818 TRANQUIL DR                                                                              MACOMB            MI   48042‐6157
PATRICK SCHULTZ     PO BOX 246                                                                                     CORNERSVILLE      TN   37047‐0246
PATRICK SCHULTZ     1144 S TUSCOLA RD                                                                              BAY CITY          MI   48708‐9633
PATRICK SCOTT       119 DENNIS DR                                                                                  BRICK             NJ   08724‐3705
PATRICK SCROGGIN    521 NE TOPAZ PL                                                                                LEES SUMMIT       MO   64086‐7021
PATRICK SCROGIN     C/O RICHARD E. GENTER, ESQUIRE   610 YORK ROAD      SUITE 200                                  JENKINTOWN        PA   19046
PATRICK SCULLIN     1705 PETERSON AVE                                                                              JANESVILLE        WI   53548‐1540
PATRICK SEEBERG     1164 WAKEFIELD ST                                                                              BIRMINGHAM        MI   48009‐3088
PATRICK SEEGER
PATRICK SEELEY      5205 W FARRAND RD                                                                              CLIO              MI   48420‐8234
PATRICK SEELEY      156 BEAVER CREEK RD                                                                            LACHINE           MI   49753‐9400
PATRICK SELLERS     2188 W WOODVIEW DR                                                                             MARION            IN   46952‐1569
PATRICK SEXTON      2661 WOODBOURNE DR                                                                             WATERFORD         MI   48329‐2479
PATRICK SEXTON      30165 APPLE GROVE WAY                                                                          FLAT ROCK         MI   48134‐2736
PATRICK SHAFFER     747 KENTUCKY DR                                                                                ROCHESTER HILLS   MI   48307‐3739
PATRICK SHANAHAN    7100 CHERRY VALLEY AVE SE                                                                      CALEDONIA         MI   49316‐8223
PATRICK SHANAHAN    4053 MANNER DR                                                                                 FLINT             MI   48506‐2064
PATRICK SHANAHAN    2929 WOODSIDE DR                                                                               PLAINFIELD        IN   46168‐3003
PATRICK SHANKLAND   7264 PINE VISTA DR                                                                             BRIGHTON          MI   48116‐4737
PATRICK SHAW        450 WAVELAND RD                                                                                JANESVILLE        WI   53548‐3262
PATRICK SHEARMAN    LAURA SECORD PLACE APTS          5611 VALLEY WAY                     NIAGARA FALLS ON L2E7A9
                                                                                         CANADA
PATRICK SHEEHAN     1722 SYCAMORE AVE                                                                              ROYAL OAK         MI   48073‐3976
PATRICK SHELEY      26270 BARBARA ST                                                                               ROSEVILLE         MI   48066‐4972
PATRICK SHELTON     4139 LAKE KNOLLS DR                                                                            OXFORD            MI   48371‐5412
PATRICK SHICK       6978 FAIRWAY VISTA DR SE 52                                                                    CALEDONIA         MI   49316
PATRICK SHORETTE    3032 BELL WICK RD                                                                              HUBBARD           OH   44425‐3133
PATRICK SHUART      5400 N CENTER RD                                                                               FLINT             MI   48506‐1046
PATRICK SICKAFUSE   4237 NEW CASTLE RD                                                                             PULASKI           PA   16143‐1323
PATRICK SIERRA      1567 SUMMITRIDGE DR                                                                            DIAMOND BAR       CA   91765‐4334
PATRICK SILCOX      1209 KING RICHARD PKWY                                                                         WEST CARROLLTON   OH   45449‐2223
PATRICK SIMMONS     28625 RODDAU DR                                                                                WRIGHT CITY       MO   63390‐3978
PATRICK SIMONS      PO BOX 354                                                                                     BUTLER            MO   64730‐0354
PATRICK SINKE       10424 TASKER RD                                                                                LAKE ODESSA       MI   48849‐9748
PATRICK SIPPOS      411 BERKSHIRE RD                                                                               FAIRLESS HILLS    PA   19030‐2303
PATRICK SKIDMORE    1408 TEXAS DR                                                                                  XENIA             OH   45385‐4832
PATRICK SLED        17567 SANTA BARBARA DR                                                                         DETROIT           MI   48221‐2528
PATRICK SLEE        1023 MAPLE ST                                                                                  PERRYSBURG        OH   43551‐2427
PATRICK SLEIGHT     5155 WOODGATE WAY                                                                              MARIANNA          FL   32446‐6874
PATRICK SLEVIN      PO BOX 4154                                                                                    CAVE CREEK        AZ   85327‐4154
PATRICK SLOMINSKI   1107 W TOWNLINE RD                                                                             AUBURN            MI   48611‐9714
PATRICK SLY         6434 MAPLEBROOK LN                                                                             FLINT             MI   48507‐4179
PATRICK SMITH       8788 RIVER RUN DR                                                                              WHITE LAKE        MI   48386‐4611
PATRICK SMITH       3689 MINTON RD                                                                                 ORION             MI   48359‐1552
PATRICK SMITH       22 KENT ST                                                                                     MASSENA           NY   13662‐2119
PATRICK SMITH       6226 SEMINOLE DR                                                                               PANAMA CITY       FL   32404‐7950
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Name                    Address1                          Address2                      Address3               Address4         City              State Zip
PATRICK SMITH           13542 VINE ST                                                                                           BATH               MI 48808‐9466
PATRICK SMITH           4671 CASEY RD                                                                                           DRYDEN             MI 48428‐9346
PATRICK SNYDER
PATRICK SOLANO          6051 WINGSPAN WAY                                                                                       BRADENTON         FL    34203‐7128
PATRICK SPEARS          2526 CHATEAU DR                                                                                         MUNCIE            IN    47303‐1998
PATRICK SR, BILL T      5920 DIANNE ST                                                                                          SHREVEPORT        LA    71119‐5331
PATRICK SR, KENNETH J   8217 ANALEE AVENUE                                                                                      ROSEDALE          MD    21237‐1611
PATRICK ST JOHN         7599 E BUCHANAN RD                                                                                      ASHLEY            MI    48806‐9345
PATRICK STARK           2296 E WILLARD RD                                                                                       CLIO              MI    48420‐7963
PATRICK STARK           5920 SUMMER PLACE DR                                                                                    SYLVANIA          OH    43560‐4247
PATRICK STEBBINS        6951 MANCHESTER DR                                                                                      WHITE LAKE        MI    48383‐2371
PATRICK STECK           100 HUFFMAN AVE APT 326                                                                                 DAYTON            OH    45403‐1969
PATRICK STEPHENS        2011 SPARROW ST                                                                                         SPRING HILL       TN    37174‐2688
PATRICK STEPHENSON      801 LONSVALE DR                                                                                         ANDERSON          IN    46013‐3220
PATRICK STEVENS         2322 LANGE LN                                                                                           LAPEER            MI    48446‐9034
PATRICK STEVENS         3951 E KIRKLIN BRICK RD                                                                                 FRANKFORT         IN    46041‐8633
PATRICK STEVENSON       202 W HILL ST                                                                                           DAVISON           MI    48423‐1125
PATRICK STEWART         524 CLARION ST                                                                                          CLIO              MI    48420‐1260
PATRICK STICKLE         6162 HERBERT RD                                                                                         CANFIELD          OH    44406‐9779
PATRICK STIFF           3809 OLD SCOTTSVILLE RD                                                                                 ALVATON           KY    42122‐9712
PATRICK STOVER          7286 SURFWOOD DR                                                                                        FENTON            MI    48430‐9353
PATRICK STRENG          PO BOX 282                                                                                              NEW LOTHROP       MI    48460‐0282
PATRICK SUHY JR         379 BUTTERCUP DR                                                                                        ROCHESTER HILLS   MI    48307‐5210
PATRICK SULLIVAN        40 FARM VIEW LN                                                                                         FORISTELL         MO    63348‐1074
PATRICK SULLIVAN        472 N SPITE AVE                                                                                         GRAYLING          MI    49738‐7174
PATRICK SULLIVAN        10230 SIMMS STATION RD                                                                                  DAYTON            OH    45458‐9401
PATRICK SULLIVAN        10011 A DAMS                                                                                            LIVONIA           MI    48150
PATRICK SUMAN           1648 S CLINTON ST                                                                                       DEFIANCE          OH    43512‐3704
PATRICK SUPERNOIS       30160 HAZELWOOD ST                                                                                      INKSTER           MI    48141‐1548
PATRICK SWEENEY         4495 HERD RD                                                                                            METAMORA          MI    48455‐9793
PATRICK SWEENEY         12101 PEBBLEPOINTE PASS                                                                                 CARMEL            IN    46033‐9679
PATRICK SWEENEY         10 DEVONSHIRE CT                                                                                        GREENVILLE        DE    19807‐2572
PATRICK SWEENEY         9944 LANCASTER DR                                                                                       BELLEVILLE        MI    48111‐1691
PATRICK SWEENEY         4847 NORQUEST BLVD                                                                                      AUSTINTOWN        OH    44515‐1636
PATRICK SWEENEY         940 MARY DR                                                                                             LAPEER            MI    48446‐3441
PATRICK SZUBIELAK       57425 9TH ST                                                                                            CALUMET           MI    49913‐1039
PATRICK SZYMKOWICZ      14140 MIDDLEBURY                                                                                        SHELBY TOWNSHIP   MI    48315‐2837
PATRICK T DEVINE        6007 INDIAN TRACE DR                                                                                    HAMILTON          OH    45011
PATRICK T FASCIANO      14 VENETIA VIEW CIRCLE                                                                                  ROCHESTER         NY    14626
PATRICK T FULMER        12 MICAELA CT                                                                                           WEST MILTON       OH    45383‐1381
PATRICK T HERGENROED    34 W WASHINGTON ST                                                                                      CHAGRIN FALLS     OH    44022‐3026
PATRICK T MCLEAN        2210 TYRRELL RD                                                                                         BANCROFT          MI    48414‐9706
PATRICK T MORAN         C/O LYNNE KIZIS ESQ               WILENTZ GOLDMAN AND SPITZER   90 WOODBRIDGE CENTER                    WOODBRIDGE        NJ    07095
                                                                                        DRIVE
PATRICK T OMALLEY       C/O LYNNE KIZIS ESQ               WILENTZ GOLDMAN AND SPITZER   90 WOODBRIDGE CENTER                    WOODBRIDGE         NJ   07095
                                                                                        DRIVE
PATRICK T SINGER        113 LIND AVE                                                                                            SYRACUSE          NY    13211‐1820
PATRICK T SIPIALA       5531 KATHERINE CT                                                                                       SAGINAW           MI    48603‐3624
PATRICK T. KEARNS       24 GROVE AVE.                                                                                           LOCPORT           NY    14094
PATRICK TAGGART         5026 PARKWOOD CT                                                                                        FLUSHING          MI    48433‐1390
PATRICK TALBOTT         23300 S HICKORY CT                                                                                      SPRING HILL       KS    66083‐6104
PATRICK TAPPER          960 SURREY HTS                                                                                          WESTLAND          MI    48186‐3733
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Name                        Address1                       Address2                   Address3   Address4             City                State Zip
PATRICK TARRANT             2581 NOTTINGHAM                                                                           WATERFORD            MI 48329‐4706
PATRICK TAYLOR              1315 HEATHER GLENS CT                                                                     HOWELL               MI 48843‐6794
PATRICK TEJKL               1485 COOK RD                                                                              OWOSSO               MI 48867‐8959
PATRICK TERRIAN             6525 TOWNLINE RD                                                                          BIRCH RUN            MI 48415‐9071
PATRICK THEISEN             6450 S CLARK RD                                                                           NASHVILLE            MI 49073‐9433
PATRICK THOMAS              16266 MURRAY RD                                                                           BYRON                MI 48418‐9084
PATRICK THOMPSON            247 E OYSTER RD                                                                           ROSE CITY            MI 48654‐9732
PATRICK THOMPSON            APT 120                        1804 FIJI DRIVE                                            ARLINGTON            TX 76015‐3905
PATRICK THOMPSON            86 CAROLINA AVE                                                                           LOCKPORT             NY 14094‐5744
PATRICK THOMPSON            8129 TOMA RD                                                                              PINCKNEY             MI 48169‐9403
PATRICK THORNTON            3685 CARO RD                                                                              CASS CITY            MI 48726‐9717
PATRICK THRAIN              2621 THOMPSON STATION RD E                                                                THOMPSONS STATION    TN 37179‐9250
PATRICK THROOP              1445 GRISSOM CT                                                                           SAGINAW              MI 48609‐4216
PATRICK TIBBETTS            1125 FROST ST                                                                             FLINT                MI 48504‐4004
PATRICK TIDWELL             341 KENLEE CIR APT A6                                                                     BOWLING GREEN        KY 42101‐7206
PATRICK TILLEY              6630 TRANSPARENT AVE                                                                      CLARKSTON            MI 48346‐2166
PATRICK TIMULAK             8810 SASHABAW RD                                                                          CLARKSTON            MI 48348‐2922
PATRICK TINAJERO            515 JENSEN AVE                                                                            RAHWAY               NJ 07065‐2313
PATRICK TOMINEY             530 BONNIE BRAE AVE                                                                       NILES                OH 44446‐3804
PATRICK TONAK               36810 ENGLESIDE DR                                                                        STERLING HEIGHTS     MI 48310‐4550
PATRICK TOOHEY              4540 LOWER MOUNTAIN RD                                                                    LOCKPORT             NY 14094‐9736
PATRICK TOOMEY              2198 W M‐59                                                                               HOWELL               MI 48843
PATRICK TOPPER              304 GROVETHORN RD                                                                         MIDDLE RIVER         MD 21220‐4827
PATRICK TORRES              50152 BRONTE DR W                                                                         UTICA ME             MI 48315‐3219
PATRICK TOTH                17116 EDDON ST                                                                            MELVINDALE           MI 48122‐1222
PATRICK TOTTEN              425 E HEMPHILL RD APT B                                                                   FLINT                MI 48507‐2628
PATRICK TOULON              24 TYLER CT                                                                               WENTZVILLE           MO 63385‐4665
PATRICK TOW                 1315 GETTYSBURG CT                                                                        ROCHESTER HILLS      MI 48306‐3821
PATRICK TRACY               4699 CURTIS CT N                                                                          LEWISTON             NY 14092‐1154
PATRICK TREML               3801 AVON LN                                                                              ANN ARBOR            MI 48105‐9367
PATRICK TRIMMER             PO BOX 62                      116 N. LAKE STREET                                         HARRISVILLE          MI 48740‐0062
PATRICK TROIANO             1577 NAZOR RD                                                                             GALION               OH 44833‐8919
PATRICK TRUDELL             5440 LORRAINE CT                                                                          BAY CITY             MI 48706‐9738
PATRICK TUCCI JR.           1108 HAMILTON AVE                                                                         HAMILTON             OH 45011‐3931
PATRICK TUCKER              9900 MILLIMAN RD                                                                          MILLINGTON           MI 48746‐9746
PATRICK TYUS                8400 CROSSBOW CT                                                                          GRAND BLANC          MI 48439‐2551
PATRICK UHLMEYER            4394 TOMMY ARMOUR DR                                                                      FLINT                MI 48506‐1408
PATRICK UMINSKI JR          718 BEAUMONT DR NW                                                                        GRAND RAPIDS         MI 49504‐4886
PATRICK UND SYBILLE ARNET   OBERWANNERN                    6142 GETTNAU               SCHWEIZ
PATRICK UND SYBILLE ARNET   OBERWANNERN                                                          GETTNAU 6142
                                                                                                 SWITZERLAND
PATRICK URBAN               3943 INLAND DR                                                                            BAY CITY            MI   48706‐2008
PATRICK URBIN               10445 HARTLAND RD                                                                         FENTON              MI   48430‐8771
PATRICK USORO               6748 PINE WAY DR                                                                          TROY                MI   48098‐2094
PATRICK V DESIATO           59 MARKIE DRIVE EAST                                                                      ROCHESTER           NY   14606‐4508
PATRICK VAN SKIVER          1413 ISTED RD                                                                             GLEN BURNIE         MD   21060‐7406
PATRICK VAN SUMEREN         122 ERIN CT                                                                               AUBURN              MI   48611‐9201
PATRICK VANCURA             PATRICK VANCURA                3367 N. UNIVERSITY DRIVE                                   HOLLYWOOD           FL   33024
PATRICK VANDERHOYDONCK      KASTANJESTRAAT 6               3530 HOUTHALEN
PATRICK VANMARTER           PO BOX 312                                                                                SYRACUSE            NY 13211‐0312
PATRICK VANRYCKEGHEM        113 CHURCHILL PL                                                                          FRANKLIN            TN 37067‐4436
PATRICK VANWORMER           441 VIKKI LN                                                                              MOUNT MORRIS        MI 48458‐2439
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Name                  Address1                          Address2                      Address3   Address4             City                State Zip
PATRICK VERDOUX       10388 MEDICINE LODGE LN                                                                         STANWOOD             MI 49346‐8854
PATRICK VERHELLE      11492 RAY RD                                                                                    GAINES               MI 48436‐8919
PATRICK VILLAUME
PATRICK VINCENT       2196 MARDI CT                                                                                   GROVE CITY          OH 43123‐4004
PATRICK VITORI        2111 PERSHING BLVD                                                                              DAYTON              OH 45420‐2432
PATRICK VOGEL         MARKT 21                          KREISSPARKASSE MITTWEIDA                 D‐09306 ROCHLITZ
                                                                                                 GERMANY
PATRICK VROMAN        9799 WILLIAM ST                                                                                 TAYLOR              MI   48180‐3745
PATRICK VRONTOS       4473 CLOVER LN NW                                                                               WARREN              OH   44483
PATRICK W BARNES      46 GLADYS ST                                                                                    LUCASVILLE          OH   45648‐8908
PATRICK W BLACK       1024 TIMBER GLEN LN                                                                             WILMINGTON          OH   45177‐2630
PATRICK W FURAY       109 TURNAGAIN PL                                                                                SEQUIM              WA   98382
PATRICK W HORN        1713 FARRINGTON DR                                                                              KETTRING            OH   45420
PATRICK W KLEIS       5511 DETRICK JORDAN PIKE                                                                        SPRINGFIELD         OH   45502‐9655
PATRICK W KURDZIEL    1150 BABE JACKSON DR.                                                                           RAINBOW CITY        AL   35906
PATRICK W LIANG       8712 W 73RD ST                                                                                  OVERLAND PARK       KS   66204‐2701
PATRICK W STORER      1218 S W 152ND                                                                                  SEATTLE             WA   98166‐1759
PATRICK WALENTOWSKI   5936 DOUGLAS AVE APT 4                                                                          RACIINE             WI   53402‐5502
PATRICK WALLACE       350 ADAMS LN                                                                                    HARRODSBURG         KY   40330‐8505
PATRICK WALMSLEY      4537 CAHILL DR                                                                                  TROY                MI   48098‐4490
PATRICK WALSH         39104 DEVONSHIRE CT                                                                             HARRISON TOWNSHIP   MI   48045‐6021
PATRICK WALSH         281 SHORESIDE NORTH DR SE                                                                       GRAND RAPIDS        MI   49548‐7010
PATRICK WALSH         2205 WHITECHAPEL DR                                                                             TOLEDO              OH   43614‐1109
PATRICK WALTERS       PO BOX 553                                                                                      LAINGSBURG          MI   48848‐0553
PATRICK WANK          MENDELSSOHNSTR. 11                                                         59075 HAMM GERMANY
PATRICK WARD          2817 GALPIN AVE                                                                                 ROYAL OAK           MI   48073‐3165
PATRICK WARD          4940 NINE MILE CREEK PKWY                                                                       BLOOMINGTON         MN   55437‐1329
PATRICK WARD          6954 AEROVIEW ST                                                                                W BLOOMFIELD        MI   48324‐2608
PATRICK WARDROP       705 BEACH BUGGY LN                                                                              LINDEN              MI   48451‐9663
PATRICK WARKEN        2985 W COMMERCE RD                                                                              MILFORD             MI   48380‐3231
PATRICK WARNER        BEVAN & ASSOCIATES, LPA, INC      6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS          OH   44236
PATRICK WATERS JR     14041 E JACKSON ST                                                                              PARKER CITY         IN   47368‐9431
PATRICK WATSON        5582 E 1000 N                                                                                   WILKINSON           IN   46186‐9734
PATRICK WATSON        1879 DIFFORD DR                                                                                 NILES               OH   44446‐2802
PATRICK WEBSTER       42467 ELDON AVE                                                                                 CLINTON TWP         MI   48038‐1719
PATRICK WELCH         3631 STONELEIGH DR                                                                              LANSING             MI   48910‐4819
PATRICK WELCH         3584 LEVALLEY RD                                                                                COLUMBIAVILLE       MI   48421‐9756
PATRICK WELCH         THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                   HOUSTON             TX   77017
PATRICK WELLING       2156 PACKARD HWY                                                                                CHARLOTTE           MI   48813‐8718
PATRICK WELLINSKI     811 CROYDON RD                                                                                  ROCHESTER HILLS     MI   48309‐2521
PATRICK WELLS         2741 WELLS RD                                                                                   LITTLE ROCK         MS   39337‐9672
PATRICK WELLS         23099 LAUREL VALLEY CT                                                                          SOUTHFIELD          MI   48034‐2085
PATRICK WELSH         427 RICE ST                                                                                     IONIA               MI   48846‐1416
PATRICK WENDLAND      2476 VOORHEIS RD                                                                                WATERFORD           MI   48328‐3947
PATRICK WEST          64 S WILLIAMS DR                                                                                WEST MILTON         OH   45383‐1231
PATRICK WESTON        1346 E HOWE RD                                                                                  DEWITT              MI   48820‐7949
PATRICK WESTPHAL      4622 FLECK DR                                                                                   FENTON              MI   48430‐9335
PATRICK WHALEY        2394 DELWOOD DR                                                                                 CLIO                MI   48420‐9182
PATRICK WHEELER       750 N STATE RD                                                                                  OWOSSO              MI   48867‐9033
PATRICK WHIRL         7268 CRAWFORD‐MORROW LINE RD                                                                    GALION              OH   44833
PATRICK WHITE         1880 CHIP DRIVE                                                                                 LK HAVASU CTY       AZ   86406‐7513
PATRICK WHITTAKER     2174 ENTRADA DR                                                                                 BEAVERCREEK         OH   45431‐3019
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PATRICK WICKENHEISER   11520 EXETER RD                                                                           CARLETON            MI 48117‐9575
PATRICK WIGGINS        3824 S MILTON DR                                                                          INDEPENDENCE        MO 64055‐6795
PATRICK WILCOX         6220 ATKINS DR                                                                            TROY                MI 48085‐1442
PATRICK WILK           6909 S BLAIR RD                                                                           ASHLEY              MI 48806‐9340
PATRICK WILKINS        1284 ASH ST                                                                               NATIONAL CITY       MI 48748‐9663
PATRICK WILL           19481 ROAD 22                                                                             FORT JENNINGS       OH 45844‐8903
PATRICK WILLEY         1011 N SULLIVAN ST                                                                        ALEXANDRIA          IN 46001‐1235
PATRICK WILLIAMS       159 IDLEWOOD RD                                                                           YOUNGSTOWN          OH 44515‐2829
PATRICK WILLIAMS       PO BOX 148                                                                                NEWALLA             OK 74857‐0148
PATRICK WILLIAMS       11706 METEOR DR                                                                           STERLING HEIGHTS    MI 48313‐5151
PATRICK WILLIAMS       256 BENNINGTON DR                                                                         TROY                MO 63379‐4467
PATRICK WILLIAMS       913 W GENESEE ST                                                                          FLINT               MI 48504‐2609
PATRICK WILLIAMSON     1250 NE TUDOR RD                                                                          LEES SUMMIT         MO 64086‐6734
PATRICK WILSON         PO BOX 412                                                                                GENESEO              IL 61254‐0412
PATRICK WILSON         8810 N 100 W                                                                              HUNTINGTON          IN 46750‐9773
PATRICK WILSON         12385 HOPKINS FOREST DR                                                                   BEAR LAKE           MI 49614
PATRICK WILT           C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
PATRICK WILUSH         596 PORTER AVE                                                                            CAMPBELL            OH 44405‐1448
PATRICK WITTBRODT      5463 TERRITORIAL RD                                                                       GRAND BLANC         MI 48439‐1956
PATRICK WOJTYNA        1820 MILL ST                                                                              LINCOLN PARK        MI 48146‐2231
PATRICK WOLFE          5400 W BURT RD                                                                            MONTROSE            MI 48457‐9343
PATRICK WONCH          3136 E LAKE RD                                                                            CLIO                MI 48420‐7966
PATRICK WOODY          1608 TOZER RD                                                                             NORTH BRANCH        MI 48461‐9721
PATRICK WORLEY         8428 MAURICE DR                                                                           INDIANAPOLIS        IN 46234‐1758
PATRICK WRIGHT         2219 MAPLEVIEW CT                                                                         DAVISON             MI 48423‐7803
PATRICK WRIGHT         9141 LAWNCREST RD                                                                         CLIO                MI 48420‐9762
PATRICK YAMBRICK       6209 KING ARTHUR DR                                                                       SWARTZ CREEK        MI 48473‐8808
PATRICK YARBROUGH      3525 JASPER DR                                                                            STERLING HEIGHTS    MI 48310‐2587
PATRICK YOUNG          23111 GUINEA ST                                                                           LAKE FOREST         CA 92630‐3829
PATRICK YOUNG          PO BOX 93                                                                                 TWINING             MI 48766‐0093
PATRICK YOUNG          1747 LYNN MAR AVE                                                                         YOUNGSTOWN          OH 44514‐1450
PATRICK ZARATE         2683 CARPENTER RD                                                                         LAPEER              MI 48446‐9008
PATRICK ZELINSKI       10765 BIGELOW RD                                                                          DAVISBURG           MI 48350‐1826
PATRICK ZUHORSKI       9862 TIOGA TRL                                                                            PINCKNEY            MI 48169‐8158
PATRICK ZUNIGA         10265 SHERIDAN RD                                                                         BURT                MI 48417‐2172
PATRICK'S SERVICE      58 N MERIDIAN RD                                                                          YOUNGSTOWN          OH 44509‐2034
PATRICK, ALAN H        6133 MAHONING AVE.                                                                        WARREN              OH 44481‐9401
PATRICK, ALBERT J      2972 JOHNS DR                                                                             SAGINAW             MI 48603‐3319
PATRICK, ALTON         P.O. BOX 187                                                                              RICKMAN             TN 38580‐0187
PATRICK, ALTON         PO BOX 187                                                                                RICKMAN             TN 38580‐0187
PATRICK, ANITA J       663 N MAIN ST                                                                             MARINE CITY         MI 48039‐3440
PATRICK, ANN MARIE     17202 HOLMES AVE                                                                          HAZEL CREST          IL 60429‐1709
PATRICK, ANN MARIE     17202 HOLMES                                                                              HAZEL CREST          IL 60429‐1709
PATRICK, ARDELL        108 MAIN ST                                                                               ESSEXVILLE          MI 48732‐1620
PATRICK, ARLIE         880 SUNSET DRIVE                                                                          ENGLEWOOD           OH 45322‐5322
PATRICK, ARLIE         880 SUNSET DR                                                                             ENGLEWOOD           OH 45322
PATRICK, AUDREY J      2711 FIRESTONE CT                                                                         SAINT CHARLES       MO 63303‐3863
PATRICK, BEATRICE M    6529 ROSEDALE ROAD                                                                        LANSING             MI 48911‐5618
PATRICK, BEATRIZ       901 WHITE PINE ST                                                                         NEW CARLISLE        OH 45344‐1128
PATRICK, BELINDA E     6053 LOCUST TRL                                                                           GRAND BLANC         MI 48439
PATRICK, BERNARD       3917 MILBOURNE AVE                                                                        FLINT               MI 48504‐3541
PATRICK, BERNIDEAN T   3712 RIVERSIDE DR                                                                         CANTON              MI 48188‐2329
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Name                      Address1                         Address2                      Address3   Address4         City                State Zip
PATRICK, BESSIE           25590 PROSPECT AVE APT 5B                                                                  LOMA LINDA           CA 92354
PATRICK, BETTIE S         16605 BRANDT ST                                                                            ROMULUS              MI 48174
PATRICK, BETTY M          3123 GATESVILLE RD                                                                         CRYSTAL SPRINGS      MS 39059‐8910
PATRICK, BETTYE L         PO BOX 312162                                                                              ATLANTA              GA 31131‐2162
PATRICK, BILLIE D         PO BOX 521                                                                                 CANAL WINCHESTER     OH 43110‐0521
PATRICK, BILLY J          4244 PLYMOUTH AVE SE                                                                       GRAND RAPIDS         MI 49508‐3755
PATRICK, BILLY W          PO BOX 165                                                                                 GOOD HOPE            GA 30641‐0165
PATRICK, BOYD R           620 WILLOWICK DR                                                                           NEW CARLISLE         OH 45344‐1131
PATRICK, BRIAN WILLIAM    PARKER BRIAN P                   30700 TELEGRAPH RD STE 1580                               BINGHAM FARMS        MI 48025‐5801
PATRICK, BRUCE A          535 DISCOVERY DR 37                                                                        WAYLAND              MI 49348
PATRICK, BRYAN T          3703 SOUTHRIDGE BLVD                                                                       MURFREESBORO         TN 37128‐6883
PATRICK, BURGESS G        1123 RIDGEVIEW DR                                                                          HEWITT               TX 76643‐4057
PATRICK, C JOANN          236 N. FRANKLIN ST                                                                         PARKER CITY          IN 47368‐9625
PATRICK, C W              487 TECCA CT                                                                               DACULA               GA 30019‐2303
PATRICK, CALVIN L         2322 N 7TH ST                                                                              MILWAUKEE            WI 53212‐3135
PATRICK, CARLOS           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE            MD 21202
                                                           CHARLES CENTER 22ND FLOOR
PATRICK, CATHY L          2751 NEW PORT ROYAL RD                                                                     THOMPSONS STATION   TN 37179‐5295
PATRICK, CECIL E          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                           STREET, SUITE 600
PATRICK, CECILE A         1600 S 30TH ST TRLR 118                                                                    ESCANABA            MI   49829‐1076
PATRICK, CELESTINE J      236 N FRANKLIN ST                                                                          PARKER CITY         IN   47368‐9625
PATRICK, CHARLES          2547 DELAWARE BLVD                                                                         SAGINAW             MI   48602
PATRICK, CHARLOTTE G      2436 OVIDIA CIRCLE SOUTHWEST                                                               ATLANTA             GA   30311‐3232
PATRICK, CHERYL           3335 LEXINGTON                                                                             WATERFORD           MI   48328
PATRICK, CHESTER B        8663 E COUNTY ROAD 300 S                                                                   PLAINFIELD          IN   46168‐8564
PATRICK, CHRIS W          2416 WESTBURY RD                                                                           LANSING             MI   48906‐3731
PATRICK, CHRISTINE L      632 LUTHER AVE                                                                             PONTIAC             MI   48341‐2531
PATRICK, CHRISTINE M
PATRICK, CLARE F          2938 N BRANCH RD                                                                           NORTH BRANCH        MI   48461‐8060
PATRICK, CLARENCE E       91 DOBBS FERRY RD                                                                          WHITE PLAINS        NY   10607‐2058
PATRICK, CRAIG A          4346 NOTTINGHAM AVE                                                                        YOUNGSTOWN          OH   44511‐1022
PATRICK, CYNTHIA L        406 KOCH AVE                                                                               ANN ARBOR           MI   48103‐5424
PATRICK, DAN              928 S 12TH ST                                                                              SAGINAW             MI   48601‐2203
PATRICK, DANIEL R         137 WINNET DR                                                                              DAYTON              OH   45415‐2933
PATRICK, DANIEL RICHARD   137 WINNET DR                                                                              DAYTON              OH   45415‐2933
PATRICK, DAVID A          9306 THOMPSON RD                                                                           LAKE ODESSA         MI   48849‐9713
PATRICK, DAVID D          429 GREENSPRINGS DR                                                                        WHITELAND           IN   46184‐1716
PATRICK, DAVID E          1649 BATTLE CREEK RD                                                                       CHARLOTTE           MI   48813‐8509
PATRICK, DAVID L          1289 SCHAFER DR                                                                            BURTON              MI   48509‐1534
PATRICK, DAVID LAMONT     1289 SCHAFER DR                                                                            BURTON              MI   48509‐1534
PATRICK, DAVID R          2371 STEWART RD                                                                            LOWELLVILLE         OH   44436‐9537
PATRICK, DEBORAH          1261 HOUSEMAN AVE NE                                                                       GRAND RAPIDS        MI   49505‐5231
PATRICK, DEBORAH K        160 MAPLE DR                                                                               SPRINGBORO          OH   45066‐1251
PATRICK, DOLORES C        30720 NEWPORT DR                                                                           WARREN              MI   48088‐3164
PATRICK, DONALD           433 OWEN RD                                                                                IONIA               MI   48846‐8650
PATRICK, DONALD E         102 DEETER DRIVE                                                                           CLAYTON             OH   45315‐8828
PATRICK, DONALD O         1660 VISTA DR                                                                              WICKENBURG          AZ   85390‐1149
PATRICK, DORIS A          250 E BOSTON BLVD                                                                          DETROIT             MI   48202‐1321
PATRICK, DORIS H          1002 PATRICK LN                                                                            HAZLEHURST          MS   39083‐9794
PATRICK, DOROTHY A        274 CAMPBELL STREET                                                                        LAWRENCEVILLE       GA   30045‐6053
PATRICK, DOROTHY C        P O BOX 350733                                                                             PALM COAST          FL   32135‐0733
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Name                       Address1                        Address2                        Address3   Address4         City                State Zip
PATRICK, DOROTHY C         PO BOX 350733                                                                               PALM COAST           FL 32135‐0733
PATRICK, DOROTHY J         473 ALLEN ST                                                                                IONIA                MI 48846‐1372
PATRICK, DOROTHY J         726 CURTIN ST                                                                               OSCEOLA MILLS        PA 16666‐1210
PATRICK, DOROTHY J         726 CURTIN STREET                                                                           OSCEOLA MILLS        PA 16666‐1210
PATRICK, DOROTHY L         28944 HUBBARD LOT 117                                                                       LEESBURG             FL 34748‐8900
PATRICK, DOROTHY L         28944 HUBBARD ST LOT 117                                                                    LEESBURG             FL 34748‐8900
PATRICK, DOUGLAS E         11314 COOLIDGE RD                                                                           GOODRICH             MI 48438
PATRICK, DOUGLAS J         3541 11 MILE RD NE                                                                          ROCKFORD             MI 49341‐9115
PATRICK, DOUGLAS R         4375 CLARK RD                                                                               BATH                 MI 48808‐9785
PATRICK, DWIGHT            2751 NEW PORT ROYAL RD                                                                      THOMPSONS STATION    TN 37179‐5295
PATRICK, EARNEST           207 ROSEHILL ACRES                                                                          SCOTT DEPOT          WV 25560‐9423
PATRICK, EDDIE L           7042 W WINDSOR BLVD                                                                         GLENDALE             AZ 85303‐6227
PATRICK, EDNA M            525 N TREMONT ST                                                                            INDIANAPOLIS         IN 46222‐3734
PATRICK, ELIZABETH R       26460 EMERALD DOVE DRIVE                                                                    VALENCIA             CA 91355‐3514
PATRICK, ELOISE K          800 MARSHALL ST                                                                             PORTLAND             MI 48875‐1374
PATRICK, ELVIS L           5100 BRIAR RIDGE CT                                                                         GRAND BLANC          MI 48439‐2055
PATRICK, EVELYN L          5679 WESTCREEK DRIVE                                                                        DAYTON               OH 45426‐1314
PATRICK, EVERETT           421 MARJORIE AVE                                                                            DAYTON               OH 45404‐2349
PATRICK, EVERETT L         5784 WILLIAMS RD                                                                            BEDFORD              IN 47421‐8357
PATRICK, FRANK J           7366 SIERRA MADRE TRAIL                                                                     BOARDMAN             OH 44512‐5531
PATRICK, FRANK L           14500 DELANO STEELE RD                                                                      ELBA                 NY 14058‐9604
PATRICK, FREDA             455 4TH AVE                                                                                 PONTIAC              MI 48340‐2016
PATRICK, FREDA R           455 4TH AVE                                                                                 PONTIAC              MI 48340‐2016
PATRICK, GARY D            421 E MORGAN ST                                                                             KNIGHTSTOWN          IN 46148‐1038
PATRICK, GARY W            14820 SE 147TH                                                                              NEWALLA              OK 74857‐7921
PATRICK, GENEVIEVE E       7017 PINE GROVE DR                                                                          HUBBARD              OH 44425‐3025
PATRICK, GEORGE F          PO BOX 320156                                                                               FLINT                MI 48532‐0003
PATRICK, GEORGE FRANKLIN   PO BOX 320156                                                                               FLINT                MI 48532‐0003
PATRICK, GERALD CHEYENE    BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS               TX 75219
PATRICK, GERALD L          51808 MOUND RD                                                                              SHELBY TWP           MI 48316‐4128
PATRICK, GERD              426 LAFAYETTE AVE.                                                                          KENILWORTH           NJ 07033‐1017
PATRICK, GINA D            4522 S ROBERTS DR                                                                           SUGAR HILL           GA 30518‐4775
PATRICK, GINA D            PO BOX 204                      / 129 SOUTH ST                                              BUFORD               GA 30515‐0204
PATRICK, GLENN H           1693 N. LONGVIEW ST                                                                         DAYTON               OH 45432‐3951
PATRICK, GLENN H           1693 N LONGVIEW ST                                                                          DAYTON               OH 45432‐3951
PATRICK, GLORIA A          2105 BURT ST                                                                                SAGINAW              MI 48601‐2024
PATRICK, GRAYDON R         8479 W US HIGHWAY 40                                                                        KNIGHTSTOWN          IN 46148‐9501
PATRICK, GREGORY W         2416 WESTBURY RD                                                                            LANSING              MI 48906‐3731
PATRICK, GRETA G           319 CHESTNUT MEADOWS RD                                                                     MARTINSVILLE         VA 24112‐8706
PATRICK, GUS F             811 PLEASANT ST                                                                             CHARLOTTE            MI 48813‐2209
PATRICK, GWENDOLYN C       2701 STURTEVANT                                                                             DETROIT              MI 48206‐3413
PATRICK, HAGER             1592 LEMCKE RD                                                                              BEAVERCREEK          OH 45434‐6661
PATRICK, HAROLD R          15825 GROVE RD                                                                              LANSING              MI 48906‐9355
PATRICK, HARRY G           5496 BROADWAY ST LOWR                                                                       LANCASTER            NY 14085‐2220
PATRICK, HAZEL L           6219 S US HIGHWAY 51 LOT 224                                                                JANESVILLE           WI 53546‐9524
PATRICK, HAZEL M           6511 BRILLIANT WAY                                                                          DAYTON               OH 45459‐1918
PATRICK, ISAAC E           718 SPRING RIDGE PL                                                                         CENTERVILLE          OH 45458‐2612
PATRICK, JAMES             325 BRIDGES RD                                                                              DOWNSVILLE           LA 71234‐4909
PATRICK, JAMES             85 PARK ST                                                                                  MENDON               MA 01756‐1214
PATRICK, JAMES E           313 HAMILTON ST                                                                             FORTVILLE            IN 46040‐1012
PATRICK, JAMES E           4514 WARRINGTON DR                                                                          FLINT                MI 48504‐5416
PATRICK, JAMES E           6527 HILLIARD RD                                                                            LANSING              MI 48911‐5627
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Name                     Address1                           Address2                 Address3   Address4         City           State Zip
PATRICK, JAMES E         4241 BARTH LN                                                                           KETTERING       OH 45429‐1306
PATRICK, JAMES EDWARD    4514 WARRINGTON DR                                                                      FLINT           MI 48504‐5416
PATRICK, JAMES L         619 N CHESTNUT ST                                                                       OLATHE          KS 66061‐2605
PATRICK, JAMES M         208 W 3RD ST                                                                            CHARLOTTE       MI 48813‐2174
PATRICK, JAMES M         325 BRIDGES RD                                                                          DOWNSVILLE      LA 71234‐4909
PATRICK, JAMES M         45 WOODLAND TERRACE                                                                     CHEEKTOWAGA     NY 14225
PATRICK, JAMES R         6485 N STATE RD                                                                         ORLEANS         MI 48865‐9623
PATRICK, JAMES W         PO BOX 171                                                                              STOCKBRIDGE     MI 49285‐0171
PATRICK, JAMES WILLIAM   PO BOX 171                                                                              STOCKBRIDGE     MI 49285‐0171
PATRICK, JANICE J        3390 TANYA, N.W.                                                                        WARREN          OH 44485‐1321
PATRICK, JANICE J        3390 TANYA AVE NW                                                                       WARREN          OH 44485‐1321
PATRICK, JEAN            400 NORTH DRIVE                                                                         ROCHESTER       NY 14612‐1210
PATRICK, JEAN            400 NORTH DR                                                                            ROCHESTER       NY 14612‐1210
PATRICK, JEFF R          49757 LEYLAND CIR                                                                       NOVI            MI 48374‐2144
PATRICK, JEFFREY D       118 STADIA DR                                                                           FRANKLIN        OH 45005‐1502
PATRICK, JEFFREY D       901 WHITE PINE STREET                                                                   NEW CARLISLE    OH 45344‐1128
PATRICK, JERRI D         5975 SHERIDAN ST                                                                        DETROIT         MI 48213‐2466
PATRICK, JERRI D         5975 SHERIDAN AVE                                                                       DETROIT         MI 48213‐2466
PATRICK, JERRY           MCNERNEY, PAGE, VANDERLIN & HALL   PO BOX 7                                             WILLIAMSPORT    PA 17703‐0007
PATRICK, JERRY K         16590 WINTHROP ST                                                                       DETROIT         MI 48235‐3620
PATRICK, JERRY L         12075 9 MILE RD                                                                         PLAINWELL       MI 49080‐8831
PATRICK, JESSIE J        5713 DUPONT ST                                                                          FLINT           MI 48505‐2686
PATRICK, JIMMIE R        5343 KELLENBURGER RD                                                                    DAYTON          OH 45424‐1011
PATRICK, JIMMY           14540 SHERRY LN                                                                         BATTLE CREEK    MI 49014‐8247
PATRICK, JOCELYN K       897 CANNONBALL RD                                                                       EOLIA           MO 63344‐2232
PATRICK, JOE N           804 DONALD RD                                                                           MORTON          MS 39117‐8072
PATRICK, JOHN            4005 W FORT ST                     MOTOR CITY EXPRESS                                   DETROIT         MI 48209‐3223
PATRICK, JOHN            VARAS & MORGAN                     PO BOX 886                                           HAZLEHURST      MS 39083‐0886
PATRICK, JOHN            640 LETA AVE                                                                            FLINT           MI 48507‐2795
PATRICK, JOHN A          863 PERU OLENA RD E LOT 5                                                               NORWALK         OH 44857‐9330
PATRICK, JOHN B          10007 8TH ST                                                                            OSCODA          MI 48750‐1924
PATRICK, JOHN BAIRD      10007 8TH ST                                                                            OSCODA          MI 48750‐1924
PATRICK, JOHN C          310 SOUTHVIEW                                                                           CANFIELD        OH 44406‐4406
PATRICK, JOHN D          75111 MORNING GLEN CT                                                                   YULEE           FL 32097‐0638
PATRICK, JOHN E          407 BAYBERRY DR                                                                         WIXOM           MI 48393‐3915
PATRICK, JOHN H          TOWNHOUSE C6                       MAPLE HOLLOW TOWNHOUSE                               DUNCANSVILLE    PA 16635
PATRICK, JOHN H          247 CAMPBELL DR                                                                         DUNCANSVILLE    PA 16636
PATRICK, JOHN J          1114 NORTHAMPTON RD                                                                     KALAMAZOO       MI 49006‐2778
PATRICK, JOHN J          27701 YVETTE DR                                                                         WARREN          MI 48088‐4753
PATRICK, JOHN L          455 4TH AVE                                                                             PONTIAC         MI 48340‐2016
PATRICK, JOHN R          400 NORTH DR                                                                            ROCHESTER       NY 14612‐1210
PATRICK, JOSEPH D        4536 AUDREY CT                                                                          MIDDLETOWN      OH 45042‐2778
PATRICK, JOSEPH L        35510 STEPHANIE ST # MM202                                                              ROMULUS         MI 48174
PATRICK, JR,ARLIE        115 WOLF AVE                                                                            ENGLEWOOD       OH 45322‐1636
PATRICK, JUANITA         8404 OVERLOOK DR                                                                        CLARKSBURG      WV 26301‐9683
PATRICK, KATHERINE F     510 W COMANCHE ST                                                                       NORMAN          OK 73069‐5617
PATRICK, KATHLEEN A      5444 CARLETON LAKE DR                                                                   LOCKPORT        NY 14094‐5373
PATRICK, KATHRYN E       636 FREDERICKBURG DR                                                                    DAYTON          OH 45415‐2649
PATRICK, KATHRYN E       636 FREDERICKSBURG DR                                                                   DAYTON          OH 45415‐2649
PATRICK, KENNETH B       272 JACLYN BLVD                                                                         WHITE LAKE      MI 48386
PATRICK, KENNETH E       PO BOX 5154                                                                             MABANK          TX 75147‐5003
PATRICK, KENNETH M       205 SE 30TH ST                                                                          MOORE           OK 73160‐7501
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Name                     Address1                        Address2                      Address3   Address4         City                  State Zip
PATRICK, KERRY B         SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST             MS 39083‐3007
PATRICK, KIRBY D         3703 SOUTHRIDGE BLVD                                                                      MURFREESBORO           TN 37128‐6883
PATRICK, LARRY J         901 WHITE PINE STREET                                                                     NEW CARLISLE           OH 45344‐1128
PATRICK, LAWRENCE G      10249 BELL RD                                                                             CLARKSVILLE            MI 48815‐9766
PATRICK, LENA H          1592 LEMCKE RD                                                                            BEAVERCREEK            OH 45434‐6661
PATRICK, LEON            133 E BISHOP AVE                                                                          FLINT                  MI 48505‐3323
PATRICK, LEONARD L       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                         STREET, SUITE 600
PATRICK, LESLIE J        880 SUNSET DR                                                                             ENGLEWOOD             OH   45322‐2219
PATRICK, LESTER          GUY WILLIAM S                   PO BOX 509                                                MCCOMB                MS   39649‐0509
PATRICK, LESTER J        1710 ROSELAWN DR                                                                          FLINT                 MI   48504‐2052
PATRICK, LEVANDER        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510
                                                         STREET, SUITE 600
PATRICK, LINDA C         13280 BRADSHAW ST                                                                         GOWEN                 MI   49326‐9745
PATRICK, LINDA C.        6 BOXWOOD LN                                                                              PALM COAST            FL   32137‐8503
PATRICK, LISA M          4104 HOLSTON DR.                                                                          KNOXVILLE             TN   37914
PATRICK, LISA Y          1711 FLORENCE ST                                                                          MIDDLETOWN            OH   45044‐6334
PATRICK, LONNIE          PO BOX 1140                                                                               FOREST                MS   39074‐1140
PATRICK, LONZIE          1592 JIMMIE DR                                                                            FOREST                MS   39074
PATRICK, LORI EWING      1440 TORREY RD                                                                            GROSSE POINTE WOODS   MI   48236‐2327
PATRICK, LOYCE           437 WHRISPERHILLS DR                                                                      LEXINGTON             KY   40517
PATRICK, LYNN C          85 PARK ST                                                                                MENDON                MA   01756‐1214
PATRICK, MARCUS L        454 EDGEBROOK AVE                                                                         BROOKVILLE            OH   45309‐1335
PATRICK, MARGARET L      4314 ALLENWOOD DRIVE SE                                                                   WARREN                OH   44484‐2933
PATRICK, MARINA          22 BONHAM DR                                                                              EDISON                NJ   08837‐3412
PATRICK, MARINA          22 BONHAN DR                                                                              EDDISON               NJ   08837‐3412
PATRICK, MARK D          5460 MARINA DR                                                                            TROY                  MI   48085‐3986
PATRICK, MARK H          419 TAMPA DR                                                                              NASHVILLE             TN   37211‐3521
PATRICK, MARTHA B        300 W BOGGESS ST                                                                          SAINT JO              TX   76265‐2200
PATRICK, MARTHA J.       843 MAXWELTON LANE                                                                        CENTERVILLE           OH   45459‐5459
PATRICK, MARTHA M        PO BOX 204                                                                                BUFORD                GA   30515‐0204
PATRICK, MARTHA M        BOX 204                                                                                   BUFORD                GA   30515‐0204
PATRICK, MARTIN A        2727 SUGARTREE RD                                                                         BETHEL                OH   45106‐9511
PATRICK, MARY A          1 BILLY CIR                                                                               FAIRFIELD             OH   45014‐2037
PATRICK, MARY A          1 BILLY CIRCLE                                                                            FAIRFIELD             OH   45014‐2037
PATRICK, MARY A          G6286 CALKINS RD                                                                          FLINT                 MI   48532‐3241
PATRICK, MARY C          251 NORFOLK DR                                                                            HAMPTON               GA   30228‐1912
PATRICK, MARY M          276 ROLLING MEADOWS DR                                                                    ANN ARBOR             MI   48103
PATRICK, MARY M          34950 HIDDEN PINE DR APT 126                                                              FRASER                MI   48026‐2051
PATRICK, MELANIE J       6532 N WINDWOOD DR                                                                        WEST CHESTER          OH   45069‐4326
PATRICK, MELINDA L       785 NORTHEDGE DR                                                                          VANDALIA              OH   45377‐1627
PATRICK, MELISSA K       710 ELWOOD ST                                                                             MIDDLETOWN            OH   45042‐2218
PATRICK, MELVIN G        3374 SOUTH ELMS ROAD                                                                      SWARTZ CREEK          MI   48473‐7929
PATRICK, MICHAEL D       PO BOX 3182                                                                               LEBANON               TN   37088‐3182
PATRICK, MICHAEL E       10352 SPRINGPOINTE CIR APT L                                                              MIAMISBURG            OH   45342
PATRICK, MICHAEL R       1537 DALMATIA DR                                                                          SAN PEDRO             CA   90732
PATRICK, MIKE            7020 LEAF CIRCLE BOX 61                                                                   MOUNT MORRIS          MI   48458
PATRICK, MITCHELL H      828 GARDNER TRL                                                                           SALYERSVILLE          KY   41465‐9787
PATRICK, NANETTE A.      8219 WESCOTT AVE                                                                          FAIRBORN              OH   45324‐1838
PATRICK, NICKY G         PO BOX 1966                                                                               BUFORD                GA   30515‐8966
PATRICK, NICKY GARRETT   PO BOX 1966                                                                               BUFORD                GA   30515‐8966
PATRICK, NORMA J         321 LAMSON ST                                                                             GRAND LEDGE           MI   48837‐1711
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Name                      Address1                        Address2                      Address3   Address4         City              State Zip
PATRICK, NORMAN E         227 CARTER LN                                                                             TAZEWELL           TN 37879‐5002
PATRICK, OLLEN L          6801 S LAGRANDE RD UNIT E20                                                               HODGKINS            IL 60525
PATRICK, ORA              1942 HOLLYWOOD AVE                                                                        SHREVEPORT         LA 71108
PATRICK, PATRICIA A       182 WILLIE CLARK RD                                                                       DE KALB            MS 39328‐6011
PATRICK, PATRICIA C       4826 SULLIVAN WAY                                                                         SANTA ROSA         CA 95409‐4226
PATRICK, PAUL             1436 VILLAGE LN APT 101                                                                   YPSILANTI          MI 48198‐6572
PATRICK, PAUL G           2893 N LEAVITT RD NW                                                                      WARREN             OH 44485‐1135
PATRICK, PAUL T           24446 BUTTERNUT DR                                                                        STURGIS            MI 49091‐8312
PATRICK, PEGGY S          1304 MCCONNELL LN                                                                         MOUNT OLIVE        AL 35117‐3622
PATRICK, PETER L          2396 BELLE MEADE DR                                                                       DAVISON            MI 48423‐2054
PATRICK, PETER P          140 LAKE SHORE DR                                                                         HILTON             NY 14468‐9558
PATRICK, PHILLIP A        2312 S HOLLISTER RD                                                                       OVID               MI 48866‐8617
PATRICK, PHILLIP P        23615 AUDREY AVE                                                                          WARREN             MI 48091‐3149
PATRICK, PHILLIP P.D.     23615 AUDREY AVE                                                                          WARREN             MI 48091‐3149
PATRICK, PHILLIP R        4946 ARABIAN DR                                                                           FAIRBORN           OH 45324‐9733
PATRICK, RAY M            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
PATRICK, RAYMOND S        17202 HOLMES AVE                                                                          HAZEL CREST       IL   60429‐1709
PATRICK, REBECCA J        PO BOX 70099                                                                              ROSEDALE          MD   21237‐6099
PATRICK, REGIS F          4314 ALLENWOOD DRIVE S.E.                                                                 WARREN            OH   44484‐2933
PATRICK, RICHARD A        5444 CARLETON LAKE DR                                                                     LOCKPORT          NY   14094‐5373
PATRICK, RICHARD A        1427 COTTINGHAM CT W                                                                      COLUMBUS          OH   43209
PATRICK, RITA L           137 WINNET DR                                                                             DAYTON            OH   45415‐2933
PATRICK, RITA LAVONNE     137 WINNET DR                                                                             DAYTON            OH   45415‐2933
PATRICK, ROBERT D         2024 E MOHAWK DR                                                                          OLATHE            KS   66062‐2482
PATRICK, ROBERT D         1332 INVERNESS AVE.                                                                       YOUNGSTOWN        OH   44502‐2822
PATRICK, ROBERT E         368 OASIS PARK RD                                                                         FORT MYERS        FL   33905‐3316
PATRICK, ROBERT J         6532 N WINDWOOD DR                                                                        WEST CHESTER      OH   45069‐4326
PATRICK, ROBERT J         5196 HILLCREST DR NW                                                                      COVINGTON         GA   30014‐1326
PATRICK, ROBERT L         1207 SPRINGBORROW DRIVE                                                                   FLINT             MI   48532‐2142
PATRICK, ROBERT L         2910 TAUSEND                                                                              SAGINAW           MI   48601
PATRICK, ROBERT M         164 UNIT 3 MALLARD GLENN DR                                                               CENTERVILLE       OH   45458
PATRICK, ROBERT M         359 CLINTON AVE                                                                           AKRON             OH   44301‐3115
PATRICK, ROBERT W         560 MALOY RD                                                                              GRIFFIN           GA   30224‐7198
PATRICK, ROBERT W         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                          STREET, SUITE 600
PATRICK, ROGER V          1524 AVENUE A 2                                                                           FLINT             MI 48503
PATRICK, RONALD P         3075 E MUSGROVE HWY                                                                       LAKE ODESSA       MI 48849‐9528
PATRICK, RONDA M
PATRICK, RONNIE J         10709 SE 177TH ST                                                                         NORMAN            OK   73026‐2755
PATRICK, ROSE             6805 NOEL RD                                                                              PANAMA CITY       FL   32404
PATRICK, RUSSELL A        7194 WITMER RD                                                                            NORTH TONAWANDA   NY   14120‐1016
PATRICK, RUTH H           PO BOX 320026                                                                             FLINT             MI   48532‐0001
PATRICK, SCOTT R          98 APPLE CREEK LN                                                                         ROCHESTER         NY   14612‐3444
PATRICK, SHANE L          3772 SHAWNEE TRL                                                                          JAMESTOWN         OH   45335
PATRICK, SHANNON M FITZ   674 SAUL DR                                                                               HUBBARD           OH   44425‐1253
PATRICK, SHAYLA D         1289 SCHAFER DR                                                                           BURTON            MI   48509‐1534
PATRICK, STANLEY          RT #2 BLUE RD                                                                             FIFE LAKE         MI   49633‐9802
PATRICK, STEPHEN D        6421 BARNETT CIR                                                                          GRAND LEDGE       MI   48837‐9323
PATRICK, STEPHEN R        1444 W SILVERBELL RD                                                                      LAKE ORION        MI   48359‐1330
PATRICK, STEVEN L         9449 CLINTONIA RD                                                                         PORTLAND          MI   48875‐9671
PATRICK, SUE E            689 E LASALLE ST                                                                          HERNANDO          FL   34442‐9640
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Name                                 Address1                        Address2                    Address3                 Address4         City             State Zip
PATRICK, TAMMY
PATRICK, THOMAS H                    6516 JESSY CT                                                                                         LAKE WORTH       FL    33467‐8700
PATRICK, THOMAS H                    11641 N 120TH ST                                                                                      SCOTTSDALE       AZ    85259‐3241
PATRICK, TILDA C                     375 PLEASANTVIEW BLVD                                                                                 GREENWOOD        IN    46142
PATRICK, TIMOTHY C                   530 WEST MAIN STREET                                                                                  IONIA            MI    48846‐1536
PATRICK, TIMOTHY G                   61575 CRESTLANE DR                                                                                    STURGIS          MI    49091‐9654
PATRICK, TIMOTHY M                   7461 INDIANWOOD TRL                                                                                   W BLOOMFIELD     MI    48322‐1093
PATRICK, TIMOTHY N                   17205 E WESLEY AVE                                                                                    AURORA           CO    80013‐1568
PATRICK, TRACY A                     61575 CRESTLANE DR                                                                                    STURGIS          MI    49091‐9654
PATRICK, TYLER G                     2486 S COUNTY ROAD 925 E                                                                              FILLMORE         IN    46128‐9474
PATRICK, VERDIS R                    PO BOX 504                                                                                            WAYNESVILLE      OH    45068‐0504
PATRICK, VERDIS R                    P.O. BOX 504                                                                                          WAYNESVILLE      OH    45068‐0504
PATRICK, VERNITA Y                   18180 RAINBOW DR                                                                                      LATHRUP VLG      MI    48076‐4518
PATRICK, VIRGIL L                    3025 WOOLARD DRIVE                                                                                    HOPE MILLS       NC    28348‐9661
PATRICK, WALTER L                    423 W MCKIBBEN ST                                                                                     LIMA             OH    45801‐4208
PATRICK, WALTER P                    PO BOX 702                                                                                            OSCODA           MI    48750‐0702
PATRICK, WANDA E                     2893 N LEAVITT RD NW                                                                                  WARREN           OH    44485‐1135
PATRICK, WILLIAM A                   5149 ANTHONY ST                                                                                       CLEVELAND        OH    44137‐1313
PATRICK, WILLIAM E                   689 E LASALLE ST                                                                                      HERNANDO         FL    34442‐9640
PATRICK, WILLIAM J                   1115 EAGLE DR APT 205                                                                                 WAYLAND          MI    49348‐1727
PATRICK, WILLIAM K                   1688 CONWAY AVE                                                                                       YPSILANTI        MI    48198‐6670
PATRICK, WILLIE F                    8205 S DANTE AVE                                                                                      CHICAGO          IL    60619‐4623
PATRICK, WILLIE N                    10556 HALLER ST                                                                                       DEFIANCE         OH    43512‐1263
PATRICK, WILMA J                     18180 RAINBOW DR                                                                                      LATHRUP VLG      MI    48076‐4518
PATRICK, WILMER                      190 AUTUMN RD                                                                                         CADILLAC         MI    49601‐9191
PATRIDGE, DOUGLAS A                  10904 O AVE                                                                                           MATTAWAN         MI    49071‐9357
PATRIDGE, JO ANNE A.                 2748 130TH ST                                                                                         TOLEDO           OH    43611‐2205
PATRIDGE, RICHARD O                  1620 BAINBRIDGE ST                                                                                    LA CROSSE        WI    54603‐1410
PATRIDGE, TINA M                     827 FARMINGTON RD                                                                                     MACEDON          NY    14502‐9721
PATRIGNANI, ERNEST D                 677 LAVA WAY                                                                                          SAN JOSE         CA    95133‐1806
PATRIGNANI, GERARDO M                23519 ANN'S CHOICE WAY                                                                                WARMINSTER       PA    18974
PATRIK DE SABBATA                    VIA F. FABRIS 26                33044 MANZANO (UD)          ITALY                                     MANZANO          CA    33044
PATRIK, HELEN S                      C/O GAIL PATRIK                 8717 S FRANCISCO AVE                                                  EVERGREEN PARK   IL    60805
PATRINA L RUFFIN                     1301 KENTUCKY AVE                                                                                     GADSDEN          AL    35903‐3109
PATRINA L WILLIAMS                   174 BARTON STREET                                                                                     ROCHESTER        NY    14611‐3814
PATRINA LAVERDURE                    2500 MANN RD LOT 135                                                                                  CLARKSTON        MI    48346‐4249
PATRINA ZANGARO                      4082 HIGHWAY EE                                                                                       OWENSVILLE       MO    65066‐3109
PATRIO TISMO
PATRIOT ADVISORS LLC                 DBA THE PATRIOT GROUP           919 CONGRESS AVE STE 1140                                             AUSTIN            TX   78701‐2158
PATRIOT BUICK PONTIAC GMC            PO BOX 545                      933 E PHILADELPHIA AVE                                                BOYERTOWN         PA   19512‐0545
PATRIOT BUICK PONTIAC GMC            CHAD HELMER                     PO BOX 545                  933 E PHILADELPHIA AVE                    BOYERTOWN         PA   19512‐0545
PATRIOT BUICK PONTIAC GMC CORP.      DAVID HINES                     212 SECOND ST                                                         WILLIAMSBURG      VA   23185‐4526
PATRIOT BUICK PONTIAC GMC CORP.      212 SECOND ST                                                                                         WILLIAMSBURG      VA   23185‐4526
PATRIOT BUICK PONTIAC GMC, INC.      CHAD HELMER                     PO BOX 545                  933 E PHILADELPHIA AVE                    BOYERTOWN         PA   19512‐0545
PATRIOT BUILDING CORPORATION         C/O PROPERTY ONE INC            4565 LASALLE ST STE 200     DEPT 310250                               MANDEVILLE        LA   70471‐6494
PATRIOT CHEVROLET BUICK GMC          PO BOX 1384                                                                                           HOPKINSVILLE      KY   42241‐1384
PATRIOT CHEVROLET BUICK GMC          4401 FT CAMPBELL BLVD                                                                                 HOPKINSVILLE      KY
PATRIOT CHEVROLET, BUICK, PONTIAC,   PO BOX 367                                                                                            PRINCETON         IN   47670‐0367

PATRIOT CHEVROLET, BUICK, PONTIAC,   PO BOX 367                                                                                            PRINCETON         IN   47670‐0367
GMC
PATRIOT CHEVROLET, INC.              DANNY RENSHAW                   PO BOX 1384                                                           HOPKINSVILLE      KY   42241‐1384
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Name                              Address1                           Address2                       Address3                     Address4         City              State Zip
PATRIOT COAL CORPORATION          ED RHEIN                           12312 OLIVE BLVD                                                             SAINT LOUIS        MO 63141
PATRIOT LIMITED PARTNERSHIP       WILLIAM KLIEWER                    4600 E CENTRAL TEXAS EXPY                                                    KILLEEN            TX 76543‐5290
PATRIOT MOTORS                    1422 W 9TH ST                                                                                                   MOUNT CARMEL        IL 62863‐2907
PATRIOT PONTIAC BUICK GMC, INC.   104 STURBRIDGE RD                                                                                               CHARLTON           MA 01507‐5323
PATRIOT PONTIAC BUICK GMC, INC.   CARLA COSENZI                      104 STURBRIDGE RD                                                            CHARLTON           MA 01507‐5323
PATRIOT PONTIAC GMC BUICK         WILLIAM KLIEWER                    4600 E CENTRAL TEXAS EXPY                                                    KILLEEN            TX 76543‐5290
PATRIOT PONTIAC GMC BUICK         4600 E CENTRAL TEXAS EXPY                                                                                       KILLEEN            TX 76543‐5290
PATRIOT SURPLUS                   ATTN: JIM CLARK                    1444 LOWELL ST                                                               ELYRIA             OH 44035‐4867
PATRIOTIC FESTIVAL LLC            WHISPER CONCERTS INC               3212 STAPLEFORD CHASE                                                        VIRGINIA BEACH     VA 23452‐6168
PATRIQUIN WILLIAM                 26 CENTERVIEW RD                                                                                                ATKINSON           NH 03811‐2457
PATRIQUIN, GARY D                 1202 ANDANTE CT                                                                                                 OXFORD             MI 48370‐2525
PATRIQUIN, JUDY
PATRIQUIN, KAREN                  LABORDE LAW FIRM                   PO BOX 80098                                                                 LAFAYETTE         LA 70598‐0098
PATRIQUIN, KAREN                  PATRIQUIN ROBERT                   4076 GOURRIER AVE APT 6                                                      BATON ROUGE       LA 70808‐4441
PATRIQUIN, MARK D                 5400 THIRTY SEVEN MILE RD                                                                                       ROMEO             MI 48065
PATRIQUIN, WILLIAM
PATRISHKOFF, DARYL L              1739 SPRING CREEK DR                                                                                            ROCHESTER HILLS   MI   48306‐3257
PATRISHKOFF, LAWRENCE             29372 GERALDINE DR                                                                                              WARREN            MI   48093‐5241
PATRISHKOFF, PETER                5432 ELMGROVE AVE                                                                                               WARREN            MI   48092‐3408
PATRISHKOFF, STEVE                29139 CAMPBELL DR                                                                                               WARREN            MI   48093‐2465
PATRISIA L. AGNOR                 541 ELM DRIVE                                                                                                   CARLISLE          OH   45005‐3341
PATRIX, KENNETH C                 6284 ANDERSONVILLE RD                                                                                           WATERFORD         MI   48329‐1406
PATRIX, LINDA D                   7201 BLUEBILL ST                                                                                                CLAY              MI   48001‐4105
PATRIX, MICHAEL C                 7201 BLUEBILL ST                                                                                                CLAY              MI   48001‐4105
PATRIZE, CHRISTINE A              204 MEADOW VISTA WAY                                                                                            ENCINITAS         CA   92024‐4320
PATRIZI, FRANCES S                1848 CRAIN DR                                                                                                   NILES             OH   44446‐4342
PATRIZI, FRANCES S                1848 CRAIN DR.                                                                                                  NILES             OH   44446‐4342
PATRIZIA FARINA                   14 FAITH LANE                                                                                                   DANBURY           CT   06810
PATRIZIA MONTI                    VIA SCIR╚ 28                                                                                                    ROME                   00199
PATRIZIA OTTAVIANI                VIA TURATI 29
PATRIZIA RICCHIUTI                184 STAHL AVE.                                                                                                  CORTLAND          OH 44410
PATRIZIO CAVALIERI                VIA EPOMEO, 72                                                                                                  NAPOLI (NAPLES)      80126
PATRIZIO MAGNAGHI                 VIA LISBONA 12                                                                                                  ROMA                 00198
PATRIZIO SPAGGIARI                VIA GUARESCHI 32                                                                                                FIDENZA (PR)         43036
PATRIZIO, ELIZABETH T             3405 W CHESTER PIKE APT A203                                                                                    NEWTOWN SQUARE    PA 19073‐4246
PATRNCHAK, MICHAEL E              1638 STATE RD NW                                                                                                WARREN            OH 44481‐9476
PATRO, GEORGE A                   10 WHITE SAIL CIR                                                                                               BERLIN            MD 21811‐1514
PATROCINIO G RAMOS                5112 WINSFORD BY WAY                                                                                            FLINT             MI 48506‐1373
PATROCINIO JR, FRED               410 KENNEDY DR                                                                                                  LINDEN            NJ 07036‐4420
PATROCINIO RAMOS                  5112 WINSFORD BY WAY                                                                                            FLINT             MI 48506‐1373
PATROCINIO, FRED                  410 KENNEDY DR                                                                                                  LINDEN            NJ 07036‐4420
PATROCINIO, GERTRUD               59 WOODBURY RD                                                                                                  EDISON            NJ 08820‐2961
PATROCINIO, J J                   18 HARDING TER                                                                                                  KEARNY            NJ 07032‐1632
PATROCINIO, MICHAEL               60 WOODBURY RD                                                                                                  EDISON            NJ 08820‐2959
PATROCINIO, RALPH                 35 JEANINE CT 6                                                                                                 MANALAPAN         NJ 07726
PATROCINIO, SILVIO J              20 KINGSLEY ST FL 2                                                                                             WEST ORANGE       NJ 07052‐5202
PATROHAY, RICHARD S               414 ROCKWOOD PATH                                                                                               NEW HOPE          PA 18938‐1104
PATRON TAXI LLC                   CHARLES E DORKEY III ESQ, ALAN I    MCKENNA LONG & ALDRIDGE LLP   230 PARK AVENUE SUITE 1700                    NEW YORK          NY 10169
                                  KAUFMAN ESQ, TIMOTHY I PLUNKETT ESQ

PATRON TAXI LLC                   HERRICK FEINSTEIN LLP              2 PARK AVENUE                                                                NEW YORK          NY 10016
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Name                              Address1                           Address2                         Address3   Address4         City              State Zip
PATRONAS, CARY Q                  O'BRIEN ANDERSON BURGY GARBOWICZ   PO BOX 639                                                   EAGLE RIVER        WI 54521‐0639
                                  AND BROWN
PATRONE WENDY                     PATRONE, WENDY                     3 SUMMIT PARK DR STE 100                                     INDEPENDENCE      OH   44131‐2598
PATRONE, ANN C                    7000 BAYTON PL                                                                                  NEW ALBANY        OH   43054‐8119
PATRONE, ANN C                    7000 BAYTON PLACE                                                                               NEW ALBANY        OH   43054‐3054
PATRONE, JOAN R                   1963 E. COUNTY LINE RD.                                                                         MINERAL RIDGE     OH   44440‐9555
PATRONE, JOAN R                   1963 E COUNTY LINE RD                                                                           MINERAL RIDGE     OH   44440‐9555
PATRONE, MICHAEL A                240 LAKE POINTE CIR                                                                             CANFIELD          OH   44406‐8773
PATRONE, THOMAS R                 1638 ROOSEVELT AVE                                                                              NILES             OH   44446‐4108
PATRONE, WENDY                    KROHN & MOSS                       3 SUMMIT PARK DR STE 100                                     INDEPENDENCE      OH   44131‐2598
PATRONIK, MICHAEL L               8800 S HARLEM AVE TRLR 2382                                                                     BRIDGEVIEW        IL   60455‐1940
PATRONIK, NANCY J                 1068 HAMPDEN ROAD                                                                               MUSKEGON          MI   49441
PATRONSKI, ANN R.                 462 26TH ST                                                                                     NIAGARA FALLS     NY   14303‐1931
PATROS, JOHN J                    8188 KENYON DR SE                                                                               WARREN            OH   44484‐3020
PATROSSO, GLADYS E                13012 E 12 MILE RD                                                                              WARREN            MI   48088‐3667
PATROSSO, GLADYS E                13012 12 MILE                                                                                   WARREN            MI   48088‐3667
PATROSSO, KENNETH C               1456 W ANN ARBOR TRL                                                                            PLYMOUTH          MI   48170‐1505
PATROSSO, TERRI A                 1015 PARKVIEW ST                                                                                FENTON            MI   48430
PATRUCCO ALESSANDRO               VIA ORTI DI ACILIA, 29/9 00126                                                                  ROME
PATRUS, DAVID                     15543 GOLFVIEW ST                                                                               LIVONIA           MI   48154‐2306
PATRYJAK, FRANCES A               2751 KENTWOOD DRIVE                                                                             SHELBY TOWNSHIP   MI   48316
PATRYJAK, IRENE                   505 SOUTH CHILLICOTHE ROAD         APT 161                                                      AURORA            OH   44202
PATRYJAK, IRENE                   505 S CHILLICOTHE RD APT 161       INDEPENDENCE VILLAGE OF AURORA                               AURORA            OH   44202‐6532

PATRZIK, ADOLPH G                 PO BOX 248                         3618 SADLER DRIVE                                            SANFORD           MI   48657‐0248
PATRZIK, JAMES H                  4856 E LECKIE LN                                                                                SAGINAW           MI   48603‐9630
PATRZIK, RUTH E                   19 THORNAPPLE CT                                                                                SAGINAW           MI   48603‐4802
PATS TIRE & AUTO SERVICE CENTER   5009 CAROLINA BEACH RD                                                                          WILMINGTON        NC   28412‐7841
PATSALOS, PETER                   646 SHORE RD                                                                                    LINDENHURST       NY   11757‐5730
PATSCHKE ELYSE                    8819 E FM 40                                                                                    LUBBOCK           TX   79403‐7905
PATSEY, JERRY L                   3250 E LANSING RD                                                                               BANCROFT          MI   48414‐9793
PATSEY, MARGARET R                3250 E LANSING RD                                                                               BANCROFT          MI   48414‐9793
PATSI ELLIOTT                     4500 N BALL AVE                                                                                 MUNCIE            IN   47304‐1118
PATSON, WILLIAM E                 4467 REGENCY RD                                                                                 SWARTZ CREEK      MI   48473‐8807
PATSON, WILLIAM EDWARD            4467 REGENCY RD                                                                                 SWARTZ CREEK      MI   48473‐8807
PATSY A BLANKENSHIP               1759 ARLIN PL APT G                                                                             FAIRBORN          OH   45324‐2953
PATSY A BURRELL                   50 VINWAY CT APT 3                                                                              DAYTON            OH   45415‐2352
PATSY A DOUGLAS                   934 GATEWOOD CT NE                                                                              PALM BAY          FL   32905‐‐ 44
PATSY A DVORAK                    163 GOLFVIEW LN                                                                                 CARPENTERSVILLE   IL   60110‐2346
PATSY A HELLARD                   4721 REAN MEADOW DR                                                                             DAYTON            OH   45440‐2028
PATSY A HUGHES                    PO BOX 453                                                                                      KILBOURNE         LA   71253‐0453
PATSY A JOHNSON                   6617 BELLTREE LN                                                                                FLINT             MI   48504‐1649
PATSY A LUPELLO                   660 W BONITA AVE APT 30B                                                                        CKARENIBT         CA   91711‐4569
PATSY A LUPELLO                   660 WEST BONITA AVE                APT 30 ‐ B                                                   CLAREMONT         CA   91711
PATSY A WALLER                    404 EXCALIBUR BLVD                                                                              TROY              MO   63379‐2329
PATSY A WHITE                     5462 ADA DR SOUTH EAST                                                                          ADA               MI   49301
PATSY A WILSON                    4314 NATCHEZ AVENUE                                                                             DAYTON            OH   45416‐1525
PATSY A WILSON                    4314 NATCHEZ AVE                                                                                DAYTON            OH   45416‐1525
PATSY A. APPLEBERRY               1360 CATALPA DRIVE                                                                              DAYTON            OH   45406‐4701
PATSY ADONA                       810 BALTIMORE AVE                                                                               ROSELLE           NJ   07203‐2310
PATSY ALFORD                      176 SHORT END RD                                                                                COLUMBIA          LA   71418‐9102
PATSY ALLEN                       1195 HAYS LODGE RD                                                                              SMITHS GROVE      KY   42171‐9143
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Name                   Address1                        Address2                     Address3   Address4         City             State Zip
PATSY ANDERSON         RR 1 BOX 1668                                                                            SPRINGVILLE       IN 47462‐9628
PATSY BAKER            3750 OMEGA PARK RD                                                                       SOMERSET          KY 42501‐5777
PATSY BALLAM           2180 GOLF ISLE DR APT 1105                                                               MELBOURNE         FL 32935‐3589
PATSY BARBER           11660 N BAY DR                                                                           FENTON            MI 48430‐8608
PATSY BARKER           10408 LA MIRAGE CT                                                                       TAMPA             FL 33615‐4211
PATSY BEMISH           9252 N 400 E                                                                             ALEXANDRIA        IN 46001‐8185
PATSY BENEVENTI        1522 HILLCREST DR                                                                        LADY LAKE         FL 32159‐2221
PATSY BENSON           2089 E 200 S                                                                             KOKOMO            IN 46902‐4156
PATSY BEVERLY          5600 COUNTRY DR APT 132                                                                  NASHVILLE         TN 37211‐6466
PATSY BINDER           2243 S 1050 E                                                                            GREENTOWN         IN 46936‐8987
PATSY BLEVINS          990 NASH AVE                                                                             YPSILANTI         MI 48198‐8022
PATSY BLORE            1600 TURKEY CREEK RD                                                                     NEWNAN            GA 30263‐5287
PATSY BOBO             5900 BONITA BEACH RD APT 1703                                                            BONITA SPRINGS    FL 34134‐8963
PATSY BORUFF           2816 ROCKFORD LN                                                                         KOKOMO            IN 46902‐3202
PATSY BOTTOM           5655 N 00 EW                                                                             KOKOMO            IN 46901‐5939
PATSY BRADEN           1504 HUTCHINS DR                                                                         KOKOMO            IN 46901‐1922
PATSY BRANSON          2701 S ROENA ST                                                                          INDIANAPOLIS      IN 46241‐5723
PATSY BRANTON          730 LITTLE CREEK DR                                                                      DUNCANVILLE       TX 75116‐3174
PATSY BRAZIER          118 MADONNA AVE                                                                          JOLIET             IL 60436‐1149
PATSY BRIGGS           802 NE 28TH ST                                                                           GRAND PRAIRIE     TX 75050‐4304
PATSY BRUMFIELD        9935 HADLEY RD                                                                           CLARKSTON         MI 48348‐1913
PATSY BUCCINO DO INC   24 S STATE ST                                                                            GIRARD            OH 44420‐2907
PATSY BUFFI            103 OLD TY TY RD                                                                         TY TY             GA 31795‐3150
PATSY BUONO            2067 RIVER HILL RD                                                                       MONONGAHELA       PA 15063‐4138
PATSY BURCHNELL        4808 E JACKSON ST                                                                        MUNCIE            IN 47303‐4432
PATSY BURLESON         5258 WADE ST SE                                                                          CALEDONIA         MI 49316‐8980
PATSY BURRELL          50 VINWAY CT APT 3                                                                       DAYTON            OH 45415‐2352
PATSY C RUF            22333 MONTEREY DR                                                                        ATHENS            AL 35613‐2420
PATSY CAMMILLERI       8 DAISY LN                                                                               NORTH CHILI       NY 14514‐1403
PATSY CAMPBELL         2800 W MEMORIAL DR LOT 197                                                               MUNCIE            IN 47302‐6439
PATSY CAMPBELL         10115 COUNTY LINE RD                                                                     ORTONVILLE        MI 48462‐8901
PATSY CARROLL          501 N A ST                                                                               ELWOOD            IN 46036‐1452
PATSY CHANDLER         PO BOX 66                                                                                WOODBURN          KY 42170‐0066
PATSY CLARK            13923 W SPRAGUE RD                                                                       STRONGSVILLE      OH 44136‐1840
PATSY CLARK            1106 4TH ST                                                                              TAWAS CITY        MI 48763‐9528
PATSY COMBINE          2724 MOREFIELD RD                                                                        HERMITAGE         PA 16148‐2426
PATSY COPELAND         9463 NEW BUFFALO RD                                                                      CANFIELD          OH 44406‐8185
PATSY COTTON           218 EARLY RD                                                                             YOUNGSTOWN        OH 44505‐3947
PATSY COX              6323 N 50 E                                                                              SHARPSVILLE       IN 46068‐9057
PATSY CRANE            2844 W BRITTON RD APT 3                                                                  PERRY             MI 48872‐9610
PATSY CROCKETT         482 CELESTIA DR                                                                          RICHMOND HTS      OH 44143‐2742
PATSY CUA              PO BOX 36                                                                                BERLIN CENTER     OH 44401‐0036
PATSY CURLER           9002 W HIGHLAND PARK AVE                                                                 FRANKLIN          WI 53132‐8009
PATSY DANGELO          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS    OH 44236
PATSY DAVIS            2120 CLAY ST                                                                             PIGGOTT           AR 72454‐2439
PATSY DE LUCA          APT 1                           483 STOWELL DRIVE                                        ROCHESTER         NY 14616‐1812
PATSY DE RIENZO        69 LOVER JONESTOWN RD                                                                    CHARLEROI         PA 15022‐3008
PATSY DEGLER           612 LEONARD ST                                                                           NAPOLEON          OH 43545‐1406
PATSY DENNY            2297 N 300 E                                                                             ANDERSON          IN 46012‐9404
PATSY DIGIACOMO        582 COMO ST                                                                              STRUTHERS         OH 44471‐1208
PATSY DINUNZIO         1143 MONARCH RD                                                                          SOUTH EUCLID      OH 44121‐3579
PATSY DOCKINS          7021 W TIMBER DR                                                                         NEW PALESTINE     IN 46163‐9139
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Name                                  Address1                         Address2              Address3              Address4         City           State Zip
PATSY DOLAN                           1501 W MADISON ST                                                                             KOKOMO          IN 46901‐3213
PATSY DONICA                          2000 TAHOE DR                                                                                 FLORISSANT      MO 63031‐7502
PATSY DOTY                            6146 SANDY LN                                                                                 BURTON          MI 48519‐1310
PATSY DOUGLAS                         934 GATEWOOD CT NE                                                                            PALM BAY        FL 32905‐4420
PATSY DOWNING                         2864 CHERYL AVE                                                                               SOUTHINGTON     OH 44470‐9547
PATSY DOWNS                           914 MEADOW LN                                                                                 JENISON         MI 49428‐9334
PATSY DURROH                          6370 ROBIN RUN W                                                                              INDIANAPOLIS    IN 46268‐4051
PATSY DYMANSKI                        PO BOX 125                       12075 AMELIA                                                 BIRCH RUN       MI 48415‐0125
PATSY ERWIN                           216 MANOR PLACE DRIVE                                                                         CORNELIA        GA 30531‐4244
PATSY ESBAUGH                         13214 NIELSEN DR                                                                              TRUFANT         MI 49347‐9518
PATSY ETHRIDGE                        5387 WHEAT WAY AVE                                                                            SWARTZ CREEK    MI 48473‐8232
PATSY EVANS                           370 FORDER RD                                                                                 SAINT LOUIS     MO 63129‐2605
PATSY F ROOD, PERSONAL                FOR NORMAN W ROOD                C/O BRAYTON PURCELL   222 RUSH LANDING RD                    NOVATO          CA 94948‐6169
REPRESENTATIVE
PATSY FAZZALARE                       1106 KELLY DR                                                                                 NEWARK         DE   19711‐2423
PATSY FISCHER                         107 PLYMOUTH ST                                                                               LEXINGTON      OH   44904‐1139
PATSY FORD                            5853 KATHERINE ST                                                                             TAYLOR         MI   48180‐1303
PATSY FORSHAW                         PO BOX 396                                                                                    GRAHAM         TX   76450‐0396
PATSY FOWLER                          419 HOPE HOLLOW RD                                                                            LOGANVILLE     GA   30052‐2223
PATSY FRANCIS, PERSONAL               PATSY FRANCIS                    C/O BRAYTON PURCELL   222 RUSH LANDING RD                    NOVATO         CA   94948‐6169
REPRESENTATIVE FOR ROBERT L FRANCIS

PATSY FRAZIER                         3110 NOLENSVILLE PIKE APT 304                                                                 NASHVILLE      TN   37211‐2945
PATSY FRYE                            4695 BIRCHWOOD DR                                                                             BAY CITY       MI   48706‐2604
PATSY G AVERY                         428 S PENNSYLVANIA AVE                                                                        MANGUM         OK   73554‐4840
PATSY GAGNON                          3094 LUDWIG ST                                                                                BURTON         MI   48529‐1034
PATSY GARRETT                         112 HIGHWAY 146                                                                               CHOUDRANT      LA   71227‐3155
PATSY GARRISON                        71548 E. 26TH. ST.APT 151                                                                     LAWTON         MI   49065
PATSY GIBBS                           5236 HONEY COMB LN                                                                            INDIANAPOLIS   IN   46221‐3900
PATSY GILLILAND                       2904 TED JONES DR APT E                                                                       BEDFORD        IN   47421‐5655
PATSY GILLMAN                         18850 HARL WEILLER RD                                                                         CALDWELL       OH   43724‐9151
PATSY GRAY                            235 HOLIDAY LN                                                                                GREENTOWN      IN   46936‐1644
PATSY GRAZIANI                        24165 ELLIOTT RD                                                                              DEFIANCE       OH   43512‐6827
PATSY GRIFFITH                        6118 ROSECREST DR                                                                             DAYTON         OH   45414‐2831
PATSY GWINN                           2166 HOWE RD                                                                                  BURTON         MI   48519‐1128
PATSY HALL                            1604 MCKINSTRY ST                                                                             DETROIT        MI   48209‐2176
PATSY HALLMARK                        1520 E BOCOCK RD                                                                              MARION         IN   46952‐8756
PATSY HAMMONDS                        1300 DELLA DR                                                                                 BELLEVILLE     IL   62226‐7212
PATSY HANNAHS                         8312 WEBSTER RD                                                                               STRONGSVILLE   OH   44136‐1710
PATSY HARDEN                          423 S HARVEY DR                                                                               GREENTOWN      IN   46936‐1620
PATSY HARRIS                          1430 LINDLEY AVE                                                                              INDIANAPOLIS   IN   46241‐3216
PATSY HASLETT                         211 HIGH BOX 104                                                                              MAYVILLE       MI   48744
PATSY HEISTAND                        20401 CONTINENTAL DR                                                                          LAGO VISTA     TX   78645‐7504
PATSY HELLARD                         4721 REAN MEADOW DR                                                                           DAYTON         OH   45440‐2028
PATSY HENSLEY                         2117 NAPOLEON ST                                                                              INDIANAPOLIS   IN   46203‐3910
PATSY HICKS                           2339 ULA DR                                                                                   CLIO           MI   48420‐1065
PATSY HILL                            1503 SOUTH MARION AVENUE                                                                      JANESVILLE     WI   53546‐5422
PATSY HIPPS                           36 ADAIR DR                                                                                   MARIETTA       GA   30066‐6002
PATSY HODGINS                         5156 HOMESTEAD LN                                                                             CLIO           MI   48420‐8286
PATSY HOEKSTRA                        3646 JASON RIDGE LN SW                                                                        GRAND RAPIDS   MI   49534‐5812
PATSY HOGAN                           PO BOX 6045                                                                                   KOKOMO         IN   46904‐6045
PATSY HUDDLESTON                      2599 WENDELL ST                                                                               DETROIT        MI   48209‐1039
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Name                             Address1                         Address2            Address3         Address4         City             State Zip
PATSY HUGHES                     PO BOX 453                                                                             KILBOURNE         LA 71253‐0453
PATSY HURD                       2713 HARBORSIDE DR                                                                     GRANBURY          TX 76048‐2694
PATSY INNOCENZI                  1640 ROSALYN CIR                                                                       MINERAL RIDGE     OH 44440‐9514
PATSY J FITCH                    1116 MORRIS HILLS PKWY                                                                 MOUNT MORRIS      MI 48458‐2526
PATSY J KESSELL                  3159 COIN ST                                                                           BURTON            MI 48519‐1537
PATSY J MOORE                    12436 NEWTON RD                                                                        CROSSVILLE        TN 38572‐1283
PATSY J NAPIER                   3511 VILLAGE DR APT G                                                                  FRANKLIN          OH 45005‐5648
PATSY J PEACE                    PO BOX 2858                                                                            SHOW LOW          AZ 85902
PATSY J ROGERS                   P.O. BOX 3196                                                                          BROOKHAVEN        MS 39603‐7196
PATSY J YOUNG                    8482 STATE ROUTE 201                                                                   TIPP CITY         OH 45371
PATSY JACKSON                    PO BOX 1003                                                                            LAKE CITY         TN 37769‐1003
PATSY JACKSON                    1368 OZRO RD                                                                           VENUS             TX 76084‐4870
PATSY JACKSON                    131 LAVERDE DR                                                                         WEST MONROE       LA 71291
PATSY JAMIESON                   1370 ORIOLE CT SW                                                                      WYOMING           MI 49509‐4339
PATSY JARVIS                     1434 PEPPERMILL RD                                                                     LAPEER            MI 48446‐3240
PATSY JARVIS                     4324 VAN SLYKE RD                                                                      FLINT             MI 48507
PATSY JENKINS                    4774 HENLEY AVE                                                                        COLUMBUS          OH 43228‐1807
PATSY JENNER                     3081 E IL 250                                                                          OLNEY              IL 62450‐4503
PATSY JOHNSON                    6617 BELLTREE LN                                                                       FLINT             MI 48504‐1649
PATSY JONES                      4895 LAKESIDE BOX 277                                                                  HALE              MI 48739
PATSY JONES                      610 MITCHELL LN                                                                        WEST MONROE       LA 71292‐3533
PATSY KALFAYAN                   9693 WASHINGTON ST                                                                     ROMULUS           MI 48174‐1552
PATSY KELLEM                     1304 W 8TH ST APT H                                                                    ANDERSON          IN 46016‐2664
PATSY KELLY                      3680 N THOMAS RD                                                                       FREELAND          MI 48623‐8868
PATSY KESSELL                    3159 COIN ST                                                                           BURTON            MI 48519‐1537
PATSY KIMBLE                     10178 MALCOLM DR                                                                       COVINGTON         GA 30014‐3990
PATSY KLAUS                      932 N FARRA DR                                                                         OKLAHOMA CITY     OK 73107‐6045
PATSY L DE LUCA                  483 STOWELL DR APT 1                                                                   ROCHESTER         NY 14616‐1812
PATSY L DE LUCA                  483 STOWELL DR                   APT 1                                                 ROCHESTER         NY 14616‐1812
PATSY L JARVIS                   1434 PEPPERMILL RD                                                                     LAPEER            MI 48446‐3240
PATSY L LANDSIEDEL               903 W LAKE AVE                                                                         NEW CARLISLE      OH 45344
PATSY L REITER                   810 FOLEY DR                                                                           VANDALIA          OH 45377‐2829
PATSY L WOROSZ                   134 WOODLAND TRACE                                                                     CORTLAND          OH 44410‐1915
PATSY LA CHAPPELLE               9338 BRAY RD                                                                           MILLINGTON        MI 48746‐9559
PATSY LA VERNE                   316 NASON ST                                                                           CHESANING         MI 48616‐1141
PATSY LAGONI                     3770 E V AVE                                                                           VICKSBURG         MI 49097‐1064
PATSY LANTRIP                    1691 HILLCURVE                                                                         HASLETT           MI 48840‐8218
PATSY LEE THOMPSON TRUST         1817 COVENTRY LANE                                                                     NICHOLS HILLS     OK 73120‐4703
PATSY LEMANOWICZ                 103 NORTHCREEK DR                                                                      LEWISBURG         OH 45338‐8082
PATSY LITTLE                     10200 VAN BUREN ST                                                                     BELLEVILLE        MI 48111‐1446
PATSY LIZETTE                    3212 ROSEGATE CT                                                                       VIRGINIA BEACH    VA 23452‐5660
PATSY LOU BUICK GMC              5111 CORUNNA RD                                                                        FLINT             MI 48532‐4106
PATSY LOU BUICK GMC, INC./AVIS   6 SYLVAN WAY                                                                           PARSIPPANY        NJ 07054
PATSY LOU BUICK‐GMC, INC.        G5111 CORUNNA RD                                                                       FLINT             MI 48532
PATSY LOU BUICK‐GMC, INC.        PATSY WILLIAMSON                 G5111 CORUNNA RD                                      FLINT             MI 48532
PATSY LOU CHEVROLET, INC.        PATSY WILLIAMSON                 5135 CORUNNA RD                                       FLINT             MI 48532‐4106
PATSY LOU CHEVROLET, INC.                                                                                               FLINT             MI 48532
PATSY LOU CHEVROLET, INC.        5135 CORUNNA RD                                                                        FLINT             MI 48532‐4106
PATSY LOU CHEVROLET/AVIS         5135 CORUNNA RD                                                                        FLINT             MI 48532‐4106
PATSY LOU CHEVROLET/VANGUARD     5135 CORUNNA RD                                                                        FLINT             MI 48532‐4106
PATSY LOU PONTIAC INC            G‐7401 CLIO RD                                                                         MOUNT MORRIS      MI 48458
PATSY LOU PONTIAC, INC.          G‐7401 CLIO ROAD                                                                       MOUNT MORRIS      MI 48458
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Name                           Address1                       Address2            Address3         Address4         City             State Zip
PATSY LOU PONTIAC, INC./AVIS   6 SYLVAN WAY                                                                         PARSIPPANY        NJ 07054
PATSY LOVENS                   1183 E 360 N                                                                         ANDERSON          IN 46012‐9212
PATSY LOY                      PO BOX 104                                                                           BRYANT            IN 47326‐0104
PATSY LUPELLO                  660 W BONITA AVE APT 30B                                                             CLAREMONT         CA 91711‐4569
PATSY M MIKEL                  212 W 7TH ST                                                                         TILTON             IL 61833‐7808
PATSY M PAWLEY                 628 CLIFTON DR HICKORY WOODS                                                         BEAR              DE 19701
PATSY M STEVENS                7440 JAMICA ROAD                                                                     MIAMISBURG        OH 45342‐2110
PATSY M WILLIAMS               1645 SYLVAN GLN                                                                      KEEGO HARBOR      MI 48320‐1116
PATSY MACKENZIE                1850 HALLUM AVE                                                                      TITUSVILLE        FL 32796‐1751
PATSY MACKEY                   14980 SPRUCEVALE RD LOT 204                                                          EAST LIVERPOOL    OH 43920‐9085
PATSY MAKAREWICZ               162 BARRINGTON CIR                                                                   LAKE ORION        MI 48360‐1329
PATSY MALONEY                  8885 MCCAIN RD                                                                       PARMA             MI 49269‐9701
PATSY MANIFOLD                 7884 S 100 E                                                                         PENDLETON         IN 46064‐9398
PATSY MANNING                  3417 HEDRICK ST                                                                      FORT WORTH        TX 76111‐6323
PATSY MARSHALL                 2722 DELL RD                                                                         HARRISON          MI 48625‐8809
PATSY MAXSON                   19324 KLINGER ST                                                                     DETROIT           MI 48234‐1738
PATSY MCCUMONS                 4190 MARTON RD                                                                       KINGSTON          MI 48741‐9779
PATSY MCFARLAND                17410 PARK ST                                                                        MELVINDALE        MI 48122‐1213
PATSY MCGUIRE                  424 SOUTHLANE DR                                                                     NEW WHITELAND     IN 46184‐1152
PATSY MIKEL                    212 W 7TH ST ‐ TILTON                                                                DANVILLE           IL 61833
PATSY MILLER                   875 PARKSIDE PL UNIT D202                                                            OSAGE BEACH       MO 65065‐2997
PATSY MILLER                   318 DRINA AVE                                                                        NEW LEBANON       OH 45345‐1122
PATSY MOORE                    443 ROSS RD                                                                          WINNSBORO         LA 71295‐7668
PATSY MOORE                    5305 NBU                                                                             PRAGUE            OK 74864‐3024
PATSY MOORE                    12436 NEWTON RD                                                                      CROSSVILLE        TN 38572‐1283
PATSY MOORE                    9585 WILLIAM FRANCIS DR                                                              FRANKLIN          OH 45005
PATSY MORGAN                   3224 SW 85TH ST                                                                      OKLAHOMA CITY     OK 73159‐6459
PATSY MORGAN                   2310 UPPER BELLBROOK RD                                                              XENIA             OH 45385‐9300
PATSY MORROW                   2145 E BUDER AVE                                                                     BURTON            MI 48529‐1733
PATSY MOSER                    329 COTTONWOOD LN                                                                    HURST             TX 76054‐2252
PATSY MULLINS                  5 E AZTEC ST                                                                         ABERDEEN          MD 21001‐2003
PATSY NIGRO                    17 MADISON HILL RD             CO/ JOAN WEZEL                                        AIRMONT           NY 10901‐7144
PATSY NOLEN                    6112 NE 71ST ST                                                                      OKLAHOMA CITY     OK 73141‐9349
PATSY OREBO                    19470 MAGNOLIA PKWY                                                                  SOUTHFIELD        MI 48075‐7131
PATSY OSTRANDER                8406 FARRAND RD                                                                      MONTROSE          MI 48457‐9779
PATSY P DOWNING                2864 CHERYL AVENUE                                                                   SOUTHINGTON       OH 44470‐9547
PATSY P LEWELLYN               271 STONEHAVEN COVE                                                                  JACKSON           TN 38305
PATSY P WARD                   5720 LORIMER ST.                                                                     DAYTON            OH 45427‐2356
PATSY PALERMO                  5159 SUNSET TERRACE                                                                  BATAVIA           NY 14020‐1166
PATSY PALERMO                  5159 SUNSET TER                                                                      BATAVIA           NY 14020‐1166
PATSY PAPA                     2574 STEDMAN PL                                                                      BRONX             NY 10469‐5343
PATSY PARKER                   RR 4 BOX 4377                                                                        JONESVILLE        VA 24263‐9288
PATSY PARMENTER                7249 RANGER ROAD                                                                     WHITTEMORE        MI 48770‐9477
PATSY PARR                     PO BOX 505                                                                           GENESEE           MI 48437‐0505
PATSY PATTERSON                921 HEATHER KNOLL DR                                                                 DESOTO            TX 75115‐4708
PATSY PATTON                   1344 LAFAYETTE DR                                                                    OKLAHOMA CITY     OK 73119‐5033
PATSY PAWLEY                   628 CLIFTON DR                                                                       BEAR              DE 19701‐2149
PATSY PAYNE                    11813 COPPER TRAILS LN                                                               OKLAHOMA CITY     OK 73170‐4465
PATSY PAYTON                   4126 STERLING ST                                                                     FLINT             MI 48504‐2290
PATSY PEDERSON                 1104 ROBIN DR                                                                        ANDERSON          IN 46013‐1336
PATSY PETERS                   1557 N WEAVER RD                                                                     FAIRVIEW          MI 48621‐9710
PATSY PICKETT                  5229 COUNCIL RING BLVD                                                               KOKOMO            IN 46902‐5427
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Name                                      Address1                       Address2               Address3            Address4         City              State Zip
PATSY PINER                               146 POSSUM TROT RD                                                                         BARNESVILLE        GA 30204‐3026
PATSY PINION                              5875 N GLOBE ST                                                                            WESTLAND           MI 48185‐2250
PATSY PINSON                              1182 SWEETWATER LN APT 7                                                                   NAPLES             FL 34110‐4174
PATSY PORTER                              11400 AUSTIN RD                                                                            BROOKLYN           MI 49230‐9524
PATSY PRICE                               117 126TH ST APT B                                                                         CHARLESTON         WV 25315‐1211
PATSY PRICE, SANDRA RAVIS, RICKY PRICE,   1200 MCLANE DR                                                                             FAIRMONT           WV 26554
BEVERLY ENGLE
PATSY PRIESTLEY                           1701 E ROSE CENTER RD                                                                      HOLLY             MI   48442‐8541
PATSY R GRAY                              507 WARREN ROAD                                                                            COCKEYSVILLE      MD   21030
PATSY R GRIFFITH                          6118 ROSECREST DR                                                                          DAYTON            OH   45414‐2831
PATSY R MOORE                             24 SHOEMAKER CIRCLE                                                                        BATESVILLE        AR   72501
PATSY R PARKER                            ROUTE 4 BOX 4377                                                                           JONESVILLE        VA   24263‐9288
PATSY R SEARS                             4901 PENNSWOOD DR                                                                          DAYTON            OH   45424‐5417
PATSY R SHIVELY                           PO BOX 101                                                                                 VANDALIA          OH   45377‐0101
PATSY RAFFORD                             1649 RIVER RD                                                                              ASTOR             FL   32102‐7934
PATSY RATLIFF                             7428 OCEOLA FARMS COURT                                                                    HOWELL            MI   48855‐5702
PATSY RAYBURN                             555 LOGGER HEAD LN                                                                         MANY              LA   71449‐7913
PATSY REAVES                              1705 LYRIC CT                                                                              ROCHESTER HILLS   MI   48307‐2928
PATSY REDICK                              2661 PARKWAY PL                                                                            HARTLAND          MI   48353‐3231
PATSY REECE                               8464 SAN GABRIEL AVE                                                                       SOUTH GATE        CA   90280‐2444
PATSY REED                                4240 CHILDERS DR                                                                           CABOOL            MO   65689‐8912
PATSY ROACH                               PO BOX 523                                                                                 GREENVILLE        MO   63944‐0523
PATSY ROBERTS                             1806 SUNRISE DRIVE                                                                         SMITHVILLE        MO   64089‐8978
PATSY ROGERS                              PO BOX 3196                                                                                BROOKHAVEN        MS   39603‐7196
PATSY ROGERS                              4485 OLD CARRIAGE RD                                                                       FLINT             MI   48507‐3519
PATSY ROLAND                              LON MORRIS COURT                                                                           FORT WORTH        TX   76135
PATSY ROSE                                2015 E WATERBERRY DR 2015                                                                  HURON             OH   44839
PATSY ROSE                                1710 LOST CROSSING TRL                                                                     ARLINGTON         TX   76002‐3632
PATSY ROSIO                               7 JIMS DR                                                                                  SWANSEA           IL   62226‐3008
PATSY RUF                                 22333 MONTEREY DR                                                                          ATHENS            AL   35613‐2420
PATSY RUSSELL                             4401 NORTHRIDGE LN                                                                         NOBLE             OK   73068‐8107
PATSY S BUFFI                             103 OLD TY TY RD                                                                           TY TY             GA   31795‐3150
PATSY S BURKHARDT                         2900 HOYLAKE CT                                                                            MORAINE           OH   45439
PATSY S BURKHARDT                         2900 HOYLAKE CT                                                                            MORAINE           OH   45439
PATSY S GWINN                             2166 HOWE RD                                                                               BURTON            MI   48519‐1128
PATSY S MOORE                             BARON & BUDDS PC               THE CENTRUM STE 1100   3102 OAK LAWN AVE                    DALLAS            TX   75219‐4281
PATSY S NIGHTINGALE                       10734 DEERWOOD TRL                                                                         ROSCOMMON         MI   48653‐8837
PATSY S SHIVELY                           PO BOX 101                                                                                 VANDALIA          OH   45377‐0101
PATSY S STAINBROOK                        11 PENN AVE                                                                                GREENVILLE        PA   16125
PATSY S TROZZO                            BETTY N TROZZO                 308 GEORGETOWN LN                                           EXPORT            PA   15632
PATSY S WEEMS                             18256 MARLOWE ST                                                                           DETROIT           MI   48235‐2762
PATSY SCHLEICHER                          10553 CORCORAN RD                                                                          HASLETT           MI   48840‐9227
PATSY SCOTT                               PO BOX 317                                                                                 WHITE BLUFF       TN   37187‐0317
PATSY SEARS                               4901 PENNSWOOD DR                                                                          DAYTON            OH   45424‐5417
PATSY SERAFINI                            2683 CLIME RD                                                                              COLUMBUS          OH   43223‐3625
PATSY SERLS                               3186 CAROLINE ST                                                                           AUBURN HILLS      MI   48326‐3615
PATSY SEWELL                              5010 N 100 W                                                                               KOKOMO            IN   46901‐8534
PATSY SHELTON                             555 HIDDEN HOLLOW DR                                                                       MERRITT ISLAND    FL   32952‐4065
PATSY SHIPLEY                             5101 SEYMOUR RD                                                                            SWARTZ CREEK      MI   48473‐1050
PATSY SHIVELY                             PO BOX 101                                                                                 VANDALIA          OH   45377‐0101
PATSY SIMMONS                             1333 WINDAGE CT SW                                                                         MARIETTA          GA   30008‐8153
PATSY SMALLWOOD                           902 KELLER AVE                                                                             BENBROOK          TX   76126‐3617
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Name               Address1                        Address2                     Address3   Address4         City               State Zip
PATSY SMITH        3817 ORLEANS DR                                                                          KOKOMO              IN 46902
PATSY SMITH        840 FOLTZ ST                                                                             INDIANAPOLIS        IN 46241‐2635
PATSY SMITH        8607 BLUFF POINT DR                                                                      CAMBY               IN 46113‐8242
PATSY SMITH        7150 DITCH RD                                                                            CHESANING           MI 48616‐9736
PATSY SMITH        29 HICKORY RIDGED                                                                        DAVISON             MI 48423
PATSY SMITH        255 E EDSEL FORD FWY                                                                     DETROIT             MI 48202‐3705
PATSY SPEROFF      4408 N PARKWAY                                                                           KOKOMO              IN 46901‐3948
PATSY SPICER       4693 PRESTIGE LN                                                                         HILLIARD            OH 43026‐7487
PATSY SPICER       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
PATSY SPIEER       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIA PARKWAY                                BOSTON HTS          OH 44236
PATSY STAINBROOK   11 N PENN AVE                                                                            GREENVILLE          PA 16125‐2008
PATSY STANDEFER    56 FREDONIA LOOP                                                                         DUNLAP              TN 37327‐3458
PATSY STEPHENSON   1070 E 700 N                                                                             FORTVILLE           IN 46040‐9723
PATSY STEVENS      277 FARMTREE DR                                                                          FLINT               MI 48506‐5329
PATSY STEVENS      4020 COLUSA CIR                                                                          LAS VEGAS           NV 89110‐4402
PATSY STEVENS      637 EAST CARTER VALLEY                                                                   GATE CITY           VA 24251
PATSY STOFFEL      3477 E 750 N                                                                             HUNTINGTON          IN 46750‐8309
PATSY STRONG       726 N ROSS ST                                                                            SAPULPA             OK 74066‐3139
PATSY STROZIER     3293 WINWOOD DR                                                                          FLINT               MI 48504‐1252
PATSY SWEENEY      2951 WESTERN STREET                                                                      DETROIT             MI 48209‐1018
PATSY SYKES        806 E MANSFIELD ST                                                                       BUCYRUS             OH 44820‐1935
PATSY TAKISH       2024 CRYSTAL WOOD TRL                                                                    FLUSHING            MI 48433‐3512
PATSY TATE         4308 SUNNYLANE CIR                                                                       DEL CITY            OK 73115‐3736
PATSY TAYLOR       200 TIMBER LN                                                                            MONROE              LA 71203‐6639
PATSY THICK        327 STONEWALL DR                                                                         COLUMBIA            TN 38401‐6508
PATSY THOMAS       34 BROWN RIDGE DR                                                                        NEWNAN              GA 30263‐1851
PATSY TORRENCE     6610 LEAR NAGLE RD LOT 208                                                               NORTH RIDGEVILLE    OH 44039‐3280
PATSY TOWE         2024 W SANTEE HWY                                                                        CHARLOTTE           MI 48813‐8652
PATSY TRENT        3345 QUAKER RD                                                                           COLUMBUS            OH 43207‐3337
PATSY VARGAS       4223 CALDERWOOD DR                                                                       SHREVEPORT          LA 71119‐8315
PATSY VARNER       812 HILLENDALE DRIVE                                                                     HATTIESBURG         MS 39402‐2621
PATSY VAWTER       PO BOX 20                                                                                KEMPTON             IN 46049‐0020
PATSY VIA          96 E VAN LAKE DR                                                                         VANDALIA            OH 45377‐3256
PATSY VINSON       PO BOX 1361                                                                              MONROE              GA 30655‐1361
PATSY WALCOTT      1813 HERRICK AVE NE                                                                      GRAND RAPIDS        MI 49505‐4866
PATSY WALKER       5061 NAILS CREEK RD                                                                      ROCKFORD            TN 37853‐3715
PATSY WALLER       404 EXCALIBUR BLVD                                                                       TROY                MO 63379‐2329
PATSY WASH         4470 STONEY RIDGE RD                                                                     FLINT               MI 48507‐5623
PATSY WASSON       4806 SOUTH 28TH STREET                                                                   PARAGOULD           AR 72450‐5294
PATSY WATTERSON    199 HONEYVIEW ACRES                                                                      SPEEDWELL           TN 37870‐7781
PATSY WEEMS        18256 MARLOWE ST                                                                         DETROIT             MI 48235‐2762
PATSY WELLMAN      2211 36TH ST                                                                             BEDFORD             IN 47421‐5629
PATSY WILLIAMS     4434 CLAREWOOD DR                                                                        TOLEDO              OH 43623‐3409
PATSY WILLIAMS     427 MINER RD                                                                             CLEVELAND           OH 44143‐1538
PATSY WILLIAMS     1645 SYLVAN GLN                                                                          KEEGO HARBOR        MI 48320‐1116
PATSY WILSON       4314 NATCHEZ AVE                                                                         DAYTON              OH 45416‐1525
PATSY WILSON       521 HOMESTEAD RD                                                                         LA GRANGE PK         IL 60526‐5709
PATSY WOLFGANG     3535 SCHUST RD                                                                           SAGINAW             MI 48603‐1233
PATSY WORNICK      P.O BOX 415                                                                              VILLAGE MILLS       TX 77663
PATSY WOROSZ       134 WOODLAND TRCE                                                                        CORTLAND            OH 44410‐1915
PATSY YATES        RR 1 BOX 493                                                                             ADRIAN              MO 64720‐9762
PATSY YOST         1010 DIANE ST SE                                                                         GRAND RAPIDS        MI 49508‐6245
                                       09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                                   Address1                         Address2                      Address3                  Address4         City             State Zip
PATSY YOUNG                            14271 WEIR RD                                                                                             CLIO              MI 48420‐8853
PATSY, BETTY J                         7275 RIVER RD                                                                                             FLUSHING          MI 48433‐2251
PATSY, DONALD J                        4459 REID RD                                                                                              SWARTZ CREEK      MI 48473‐8858
PATSY, JOYCE M                         4459 REID RD                                                                                              SWARTZ CREEK      MI 48473‐8858
PATSY, RANDY M                         1903 SENECA STREET                                                                                        LEAVENWORTH       KS 66048‐1621
PATSY, RANDY MICHAEL                   1903 SENECA ST                                                                                            LEAVENWORTH       KS 68048‐1621
PATT CHRISTOPHER                       PATT, CHRISTOPHER                PO BOX 480                                                               CORPUS CHRISTI    TX 78403‐0480
PATT CHRISTOPHER                       PATT, DOREEN                     1001 TEXAS ST STE 1400                                                   HOUSTON           TX 77002‐3194
PATT CHRISTOPHER                       PATT, DOREEN                     1580 LL&E TOWER 909 POYDRAS                                              NEW ORLEANS       LA 70112
                                                                        STREET
PATT CHRISTOPHER                       PATT, DOREEN                     PO BOX 480                                                               CORPUS CHRISTI    TX   78403‐0480
PATT CHRISTOPHER                       SAM, GLEN                        PO BOX 480                                                               CORPUS CHRISTI    TX   78403‐0480
PATT, CHRISTOPHER                      EDWARDS LAW FIRM                 PO BOX 480                                                               CORPUS CHRISTI    TX   78403‐0480
PATT, DOREEN                           EDWARDS LAW FIRM                 PO BOX 480                                                               CORPUS CHRISTI    TX   78403‐0480
PATT, DOREEN                           COCHRAN FIRM HOUSTON             1001 TEXAS ST STE 1400                                                   HOUSTON           TX   77002‐3194
PATT, DOREEN                           COCHRAN FIRM LOUISIANA           1580 LL&E TOWER 909 POYDRAS                                              NEW ORLEANS       LA   70112
                                                                        STREET
PATT, MERCEDES M.                      1975 LAKE RD                                                                                              HAMLIN           NY    14464‐9513
PATT, MERCEDES M.                      1975 LAKE ROAD                                                                                            HAMLIN           NY    14464‐9513
PATT, PRACHAK                          6002 BRIDGEGATE WAY                                                                                       LITHIA           FL    33547‐4843
PATT, ROBERT L                         SHANNON LAW FIRM                 100 W GALLATIN ST                                                        HAZLEHURST       MS    39083‐3007
PATTABHI SITARAM                       45132 HANFORD RD                                                                                          CANTON           MI    48187‐2688
PATTAKOS, KATHLEEN                     603 RIVER RIDGE RD                                                                                        LIBERTY BORO     PA    15133‐2407
PATTAN DANIEL & LAW OFFICE OF DEAN T   611 W COURT ST                                                                                            FLINT            MI    48503
YEOTIS
PATTAN JR, DOUGLAS C                   33431 TOWNLINE RD                                                                                         MACKINAW         IL    61755‐8940
PATTAN, CHARLES W                      11057 HOGAN RD                                                                                            GAINES           MI    48436‐9729
PATTAN, DANIEL W                       6431 BENNETT LAKE RD                                                                                      FENTON           MI    48430‐9093
PATTAN, HAROLD J                       5110 THORNRIDGE DR                                                                                        GRAND BLANC      MI    48439‐8982
PATTAN, MARY E                         130 N MELITA RD                                                                                           STERLING         MI    48659‐9758
PATTE F ROBINSON                       PO BOX 604                                                                                                WARREN           OH    44482
PATTE ROBINSON                         PO BOX 604                                                                                                WARREN           OH    44482‐0604
PATTEE DANIEL T                        PATTEE, DANIEL T                 71650 SAHARA RD STE 2                                                    RANCHO MIRAGE    CA    92270‐4336
PATTEE MELVIN                          PO BOX 217                                                                                                CONDON           OR    97823‐0217
PATTEE, AUDREY J                       1221 N WILLIAMS ST                                                                                        BAY CITY         MI    48706‐3666
PATTEE, DALE M                         3474 S HENDERSON RD                                                                                       DAVISON          MI    48423‐9113
PATTEE, GERALD K                       1206 MARKHAM ST                                                                                           FLINT            MI    48507‐2308
PATTEE, GERALD KENNETH                 1206 MARKHAM ST                                                                                           FLINT            MI    48507‐2308
PATTEE, JOYCE E                        5009 W STATE ROAD 38                                                                                      NEW CASTLE       IN    47362‐8924
PATTEE, RICHARD J                      6044 W FRANCES RD                                                                                         CLIO             MI    48420‐8512
PATTEEN, ROBERT S                      3164 LAURIA RD                                                                                            BAY CITY         MI    48706‐1192
PATTEEUW, JULIE M                      23799 DONALD AVE                                                                                          EASTPOINTE       MI    48021
PATTEN ADRIEN                          PATTEN, ADRIEN                   STATE FARM                    147 WASHINGTON POINT DR                    INDIANAPOLIS     IN    46229‐2636

PATTEN DUANE H (355992)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK          VA 23510
                                                                        STREET, SUITE 600
PATTEN JOSEPH F (349501)               EARLY & STRAUSS                  420 LEXINGTON AVE RM 840                                                 NEW YORK         NY    10170‐0840
PATTEN JR, JACK D                      2735 HERMITAGE DR                                                                                         CUMMING          GA    30041‐6340
PATTEN NORMAN J                        PATTEN, NORMAN J                 30 E BUTLER AVE                                                          AMBLER           PA    19002‐4514
PATTEN THOMA J (407243)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK          VA    23510
                                                                        STREET, SUITE 600
PATTEN WILLIAM (667177)                DELUCA AARON J PLLC              21021 SPRING BROOK PLAZA DR                                              SPRING            TX   77379‐5229
                          09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                      Address1                        Address2                          Address3   Address4         City             State Zip
PATTEN, ADREIN
PATTEN, ADRIEN            STATE FARM                      147 WASHINGTON POINTE DR                                      INDIANAPOLIS     IN    46229‐2636
PATTEN, DAVID H           21 PATTEN RD                                                                                  NORTH LAWRENCE   NY    12967‐9528
PATTEN, DIANA E.          1888 LAKESIDE DR                                                                              TIPTON           MI    49287‐9610
PATTEN, DONALD W          3825 IVORY RD                                                                                 GLENELG          MD    21737‐9712
PATTEN, DUANE H           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA    23510‐2212
                                                          STREET, SUITE 600
PATTEN, EARNEST RAY
PATTEN, EUGENE F          8084 MILLER RD                                                                                SWARTZ CREEK     MI    48473‐1311
PATTEN, EVELYN            2017 BURT ST                                                                                  SAGINAW          MI    48601‐2022
PATTEN, GEORGE R          1504 CONCORD PL                                                                               LAPEER           MI    48446‐3136
PATTEN, JACKIE D          2604 MAPLE TREE DR                                                                            SAINT CHARLES    MO    63303‐4458
PATTEN, JAMES B           3525 SOUTH CENTURY OAK CIRCLE                                                                 OAKLAND          MI    48363‐2642
PATTEN, JOHN              3005 WATKINS RD APT # A110                                                                    HORSEHEADS       NY    14845
PATTEN, JOHN M            124 MONROE CRES                                                                               LEBANON          IN    46052‐1268
PATTEN, JOHN R            9761 INNISBROOK BLVD                                                                          CARMEL           IN    46032‐9387
PATTEN, JOSEPH F          EARLY & STRAUSS                 GRAYBAR BUILDING SUITE 840, 420                               NEW YORK         NY    10170
                                                          LEXINGTON AVENUE
PATTEN, KATHLEEN B        3404 OAKMONT DRIVE                                                                            HUBBARD          OH    44425‐1303
PATTEN, KEITH J           5876 ANNANHILL CT                                                                             AVON             IN    46123
PATTEN, LARRY G           3606 GENESEE RD                                                                               LAPEER           MI    48446‐2916
PATTEN, LAWRENCE          1776 HOGUE AVE                                                                                APOPKA           FL    32712‐1446
PATTEN, LOYD              BOONE ALEXANDRA                 205 LINDA DR                                                  DAINGERFIELD     TX    75638‐2107
PATTEN, MELISSA           364 CHINKAPIN TRL                                                                             LAPEER           MI    48446‐4173
PATTEN, ORA L             5912 SUSAN ST                                                                                 FLINT            MI    48505‐2576
PATTEN, RAMON
PATTEN, RANDAL
PATTEN, RANDOL
PATTEN, RAYMOND
PATTEN, ROBERT R          1097 PRINCETON DR                                                                             WATERFORD         MI   48327‐4087
PATTEN, ROBERT RANDALL    1097 PRINCETON DR                                                                             WATERFORD         MI   48327‐4087
PATTEN, RUTH S            655 LANE                        275 JIMMERSON LK                                              ANGOLA            IN   46703‐9478
PATTEN, TERRY P           40817 EXECUTIVE DR                                                                            STERLING HTS      MI   48313‐4432
PATTEN, THOMAS J          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510‐2212
                                                          STREET, SUITE 600
PATTEN, WILLIAM           DELUCA AND NEMEROFF, LLP        21021 SPRINGBROOK PLAZA DRIVE                                 SPRING            TX   77379‐5299
                                                          SUITE 150
PATTENAUDE, CONSTANCE M   18070 VALADE                                                                                  RIVERVIEW        MI    48193‐7419
PATTENAUDE, CONSTANCE M   18070 VALADE ST                                                                               RIVERVIEW        MI    48193‐7419
PATTENAUDE, LOU E         24392 CHAMPAIGN ST                                                                            TAYLOR           MI    48180
PATTENGALE, BRUCE T       BRIARWOOD COTTAGES              1412 EVERGREEN DR # 8                                         WATERTOWN        WI    53098‐4290
PATTENGALE, BRUCE T       1412 EVERGREEN DR APT 8         BRIARWOOD COTTAGES                                            WATERTOWN        WI    53098‐4290
PATTENGALE, DAVID A       PO BOX 93                                                                                     ROCHESTER        WI    53167‐0093
PATTENGALE, FREDRIC A     N8228 STONEY POINT RD                                                                         BEAVER DAM       WI    53916‐9544
PATTENGALE, ROCHELLE M    PO BOX 93                       504 RYAN AVE                                                  ROCHESTER        WI    53167‐0093
PATTENGILL, DAN E         8365 S M 52                                                                                   OWOSSO           MI    48867‐9271
PATTENGILL, LAWRENCE      3719 HIRONDELLE LN                                                                            FLORISSANT       MO    63034‐2305
PATTERN GUILD/OXFORD      465 S GLASPIE ST STE H                                                                        OXFORD           MI    48371‐5175
PATTERN MAKERS PML 2808   3515 PROSPECT AVE E STE 203                                                                   CLEVELAND        OH    44115‐2661
PATTERN SHOP/CHARLOT      815 WEST SHEPHERD ST.           P.O. BOX 151                                                  CHARLOTTE        MI    48813
PATTERSON JR, BEN         462 LISBON AVE                                                                                BUFFALO          NY    14215
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Name                                  Address1                         Address2                        Address3                     Address4         City            State Zip
PATTERSON & HANSFORD, P.C             ATTN MITCHELL M. MCKINNEY        327 DAHLONEGA STREET STE 1703‐A                                               CUMMING          GA 30040

PATTERSON ADAM                        PATTERSON, ADAM                  30928 FORD RD                                                                 GARDEN CITY     MI    48135‐1803
PATTERSON ANGELA                      207 VOLUNTEER DRIVE                                                                                            ARLINGTON       TX    76014‐3150
PATTERSON ARNOLD & ELLA               4504 EASY ST                                                                                                   HALTOM CITY     TX    76117‐1105
PATTERSON AUTO CENTER                 315 CENTRAL FWY E                                                                                              WICHITA FALLS   TX    76301‐6400
PATTERSON AUTO CENTER, INC.           HARRY PATTERSON                  PO BOX 5160                                                                   WICHITA FALLS   TX    76307‐5168
PATTERSON BOB TRUSTEE                 PO BOX 2751                                                                                                    MEMPHIS         TN    38101‐2751
PATTERSON BRADFORD                    PATTERSON, BRADFORD              22 TUDOR ROAD                                                                 FARMINGDALE     NY    11735‐3320
PATTERSON BRADLEY BUCHANAN            PATTERSON, BRADLEY BUCHANAN      907 W PEACE ST                                                                CANTON          MS    39046‐4126
PATTERSON BRADLEY BUCHANAN            PATTERSON, BRADLEY BUCHANAN      1900 CHERRY STREET SUITE B                                                    VICKSBURG       MS    39180
PATTERSON BRADLEY BUCHANAN            PATTERSON, TANYA S               907 W PEACE ST                                                                CANTON          MS    39046‐4126
PATTERSON CHARLES VICTOR (476181)     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                    BALTIMORE       MD    21202
                                                                       CHARLES CENTER 22ND FLOOR
PATTERSON CHARLES W                   PATTERSON, CHARLES W             PO BOX 227                                                                    DAYTON          TN 37321‐0227
PATTERSON CHARLIE W (429589)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                   NORFOLK         VA 23510
                                                                       STREET, SUITE 600
PATTERSON CHEVROLET                   PO BOX 3397                                                                                                    MERCERVILLE     NJ    08619‐0397
PATTERSON CHEVROLET ‐ BUICK           664 SPRING ST                                                                                                  WINCHENDON      MA    01475‐2119
PATTERSON CHEVROLET‐BUICK             664 SPRING ST                                                                                                  WINCHENDON      MA    01475‐2119
PATTERSON CHRISTINE                   PATTERSON, CHRISTINE             7825 FAY AVE STE 200                                                          LA JOLLA        CA    92037‐4270
PATTERSON CHRISTINE                   WRIGHT, RODERICK                 7825 FAY AVE STE 200                                                          LA JOLLA        CA    92037‐4270
PATTERSON CHRISTINE AND WRIGHT        PATTERSON, CHRISTINE             BICKEL LAW FIRM INC              7825 FAY AVENUE SUITE 200                    LA JOLLA        CA    92037
RODRICK
PATTERSON CHRISTINE AND WRIGHT        WRIGHT, RODERICK                 BICKEL LAW FIRM INC              7825 FAY AVENUE SUITE 200                    LA JOLLA        CA 92037
RODRICK
PATTERSON CLAUDE HENDERSON JR         3984 SUMNER ST                                                                                                 SHREVEPORT      LA    71109‐4432
PATTERSON CLAUSSEN SANTOS & HUME      18TH FL COURTHOUSE TOWER         44 W FLAGLER ST                                                               MIAMI           FL    33130

PATTERSON CLIFFORD R (476929)         KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                                 CLEVELAND       OH 44114
                                                                       BOND COURT BUILDING
PATTERSON COLLINS CHEVROLET BUICK P   2300 ROCKFORD ST                                                                                               MOUNT AIRY      NC 27030‐5396

PATTERSON DANIEL L (631286)           COON BRENT & ASSOCIATES          2010 S BIG BEND BLVD                                                          SAINT LOUIS     MO 63117‐2404
PATTERSON DANNY (641083)              BRAYTON PURCELL                  PO BOX 6169                                                                   NOVATO          CA 94948‐6169
PATTERSON DEBRA ANN                   PATTERSON, DEBRA ANN             1626 NORTH WILCOX AVENUE P O                                                  HOLLYWOOD       CA 90028
                                                                       BOX 445
PATTERSON DEBRA ANN                   SANDERS, HILL                    1626 NORTH WILCOX AVENUE P O                                                  HOLLYWOOD       CA 90028
                                                                       BOX 445
PATTERSON DENTAL SUPPLY               2930 WATERS RD                                                                                                 EAGAN           MN    55121
PATTERSON DENTAL SUPPLY, INC.         DICK ABEL                        2930 WATERS ROAD                                                              EAGAN           MN    55121
PATTERSON DOLLY J                     1709 VILLAGE RIDGE PL                                                                                          COLLIERVILLE    TN    38017‐8700
PATTERSON DON                         548 DUNNBRIDGE DR                                                                                              WEBSTER         NY    14580‐1573
PATTERSON EDWARD V (439392)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                   NORFOLK         VA    23510
                                                                       STREET, SUITE 600
PATTERSON ESTHER MAE                  PATTERSON, DEAN E                E J BALL PLAZA SIXTH FLOOR 112                                                FAYETTEVILLE    AR 72702
                                                                       WEST CENTER STREET
PATTERSON ESTHER MAE                  PATTERSON, ESTHER MAE            EJ BALL PLAZA ‐ 6TH FLOOR‐ 112                                                FAYETTEVILLE    AR 72702
                                                                       WEST CENTER ST ‐ PO BOX 3457
PATTERSON ESTHER MAE                  PATTERSON, ROBERT L              EJ BALL PLAZA ‐ 6TH FLOOR‐ 112                                                FAYETTEVILLE    AR 72702
                                                                       WEST CENTER ST ‐ PO BOX 3457
PATTERSON FREDERICK                   PATTERSON, FREDERICK             5975 W SUNRISE BLVD STE 215                                                   PLANTATION       FL   33313‐6813
                                          09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                                     Address1                            Address2                        Address3   Address4         City             State Zip
PATTERSON GAIL                           218 EDISON ST                                                                                   PONTIAC           MI 48342
PATTERSON GORDON (459246)                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                                             STREET, SUITE 600
PATTERSON HARLEY G (429590)              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                             STREET, SUITE 600
PATTERSON HELTON                         PO BOX 69                                                                                       PATHFORK         KY   40863‐0069
PATTERSON II, RICHARD                    15670 MAPLERIDGE ST                                                                             DETROIT          MI   48205‐3031
PATTERSON III, FRED E                    1904 BEAL RD                                                                                    MANSFIELD        OH   44903‐8219
PATTERSON III, JIMMIE L                  1254 SELMA ST                                                                                   WESTLAND         MI   48186‐4031
PATTERSON INCORPORATED                   538 N ANDY GRIFFITH PKWY                                                                        MOUNT AIRY       NC   27030‐2521
PATTERSON JAMES (464239)                 BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH   44067
                                                                             PROFESSIONAL BLDG
PATTERSON JOHN D (494078)                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                             STREET, SUITE 600
PATTERSON JOHN JR                        117 LEE ROAD 2084                                                                               SMITHS STATION   AL   36877‐2537
PATTERSON JON                            50313 BROCKTON CT                                                                               MACOMB           MI   48044‐6108
PATTERSON JR, AZELL L                    3613 STERLING ST                                                                                FLINT            MI   48504‐3532
PATTERSON JR, BEN                        462 LISBON AVE                                                                                  BUFFALO          NY   14215‐1116
PATTERSON JR, BENNIE J                   610 PINE GLEN DR                                                                                ALBANY           GA   31705‐5347
PATTERSON JR, CHARLES                    559 SKODBORG DR                                                                                 EATON            OH   45320‐2659
PATTERSON JR, CLARENCE T                 188 HARRIET CT                                                                                  NEWARK           DE   19711‐8519
PATTERSON JR, CLAUDE H                   3984 SUMNER ST                                                                                  SHREVEPORT       LA   71109‐4432
PATTERSON JR, CLAUDE HENDERSON           3984 SUMNER ST                                                                                  SHREVEPORT       LA   71109‐4432
PATTERSON JR, DAVID L                    2825 GIBSON ST                                                                                  FLINT            MI   48503‐3071
PATTERSON JR, FRANK P                    4685 MERITAGE CT                                                                                GILROY           CA   95020‐8852
PATTERSON JR, GEORGE                     4725 FISCHER ST                                                                                 DETROIT          MI   48214‐1265
PATTERSON JR, JAMES R                    3112 S OPECHEE DR                                                                               MUNCIE           IN   47302‐5528
PATTERSON JR, JEROME R                   424 JENNINGS ST                                                                                 BEVERLY          NJ   08010‐3540
PATTERSON JR, JOE F                      7014 STRATFORD AVE                                                                              SAINT LOUIS      MO   63121‐3253
PATTERSON JR, LEANDER                    1687 UPPER MOUNTAIN RD                                                                          LEWISTON         NY   14092‐9740
PATTERSON JR, MACEO                      421 OLD HICKORY DR                                                                              PITTSBURGH       PA   15235‐2623
PATTERSON JR, MELVIN J                   1319 CONGRESS AVE                                                                               SAGINAW          MI   48602‐5123
PATTERSON JR, NORMAN R                   3893 HILL RD                                                                                    N TONAWANDA      NY   14120‐1360
PATTERSON JR, RICHARD H                  11024 N 10TH ST                                                                                 PHOENIX          AZ   85020‐5820
PATTERSON JR, STEPHEN W                  875 W RIVER RD                                                                                  GRAND ISLAND     NY   14072‐2424
PATTERSON JR., EARL E                    18628 ORLEANS ST                                                                                DETROIT          MI   48203‐2150
PATTERSON KIMBERLY                       PATTERSON, KIMBERLY                 911 BILLS LN                                                SAINTJOHNS       MI   48879‐1101
PATTERSON LEROY & IDA                    11 ELTON ST                                                                                     BROOKLYN         NY   11208‐1018
PATTERSON MICHAEL                        2915 LOVERS LN                                                                                  DALLAS           TX   75225‐7810
PATTERSON MOTORS                         1611 US HIGHWAY 259 N                                                                           KILGORE          TX   75662‐5503
PATTERSON MOTORS OF KILGORE, INC         WILLIAM PATTERSON                   1611 US HIGHWAY 259 N                                       KILGORE          TX   75662‐5503
PATTERSON PAUL DOUGLAS                   C/O EDWARD O MOODY PA               801 WEST 4TH STREET                                         LITTLE ROCK      AR   72201
PATTERSON PHYLLIS (ESTATE OF) (493077)   CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                       CLEVELAND        OH   44113‐1328
                                         COONE AND ASSOCIATES
PATTERSON RELFORD E                      700 NOTLEY RD                                                                                   SILVER SPRING    MD 20904‐6222
PATTERSON RICHARD                        124 RIVERSIDE DR                                                                                DEERFIELD        IL 60015‐4868
PATTERSON RICHARD D (476930)             KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND        OH 44114
                                                                             BOND COURT BUILDING
PATTERSON ROBERT                         5405 EMMYS MILL COURT                                                                           HAYMARKET        VA 20169‐4515
PATTERSON ROBERT E (466091)              ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET , ONE                                  BALTIMORE        MD 21202
                                                                             CHARLES CENTER 22ND FLOOR
                                  09-50026-mg             Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                              Address1                              Address2                        Address3   Address4         City              State Zip
PATTERSON ROBERT L (660927)       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                        STREET, SUITE 600
PATTERSON RODERICK                PATTERSON, RODERICK                   3 SUMMIT PARK DR STE 100                                    INDEPENDENCE      OH 44131‐2598
PATTERSON ROLVIX                  109 HILLCREST RD                                                                                  TRENT WOODS       NC 28562‐7637
PATTERSON RONALD B (346261)       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                                        STREET, SUITE 600
PATTERSON RONALD E                12343 FAIRWAY POINTE ROW                                                                          SAN DIEGO         CA   92128‐3233
PATTERSON SIBONEY                 PATTERSON, SIBONEY                    1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL       NJ   08003
PATTERSON SR, WILLIE              7114 52ND ST                                                                                      TUSCALOOSA        AL   35401‐9602
PATTERSON STEVE                   1110 YALE DR                                                                                      OXFORD            MI   48371‐5974
PATTERSON STEVEN R (625063)       DONALDSON & BLACK                     208 W WENDOVER AVE                                          GREENSBORO        NC   27401‐1307
PATTERSON STEVENS INC             400 SAWYER AVE                        PO BOX 117                                                  TONAWANDA         NY   14150‐7755
PATTERSON THOMAS                  5268 MAGNOLIA ST                                                                                  JAY               FL   32565‐3123
PATTERSON TOM                     PATTERSON, TOM                        1801 E 9TH ST STE 1710                                      CLEVELAND         OH   44114‐3198
PATTERSON TRUCKING & EXPEDITING   1553 N US HIGHWAY 231                                                                             GREENCASTLE       IN   46135‐8864
SERVICES
PATTERSON TWEED                   3036 CLESCENT DR                                                                                  N TONAWANDA       NY 14120‐1487
PATTERSON WILLIAM R (477792)      GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                PITTSBURGH        PA 15219

PATTERSON, A S                    417 LYNCH AVE                                                                                     PONTIAC           MI   48342‐1954
PATTERSON, ADAM                   CONSUMER LEGAL SERVICES P.C.          30928 FORD RD                                               GARDEN CITY       MI   48135‐1803
PATTERSON, ADOLPH                 3031 E HOLLAND RD                                                                                 SAGINAW           MI   48601‐6604
PATTERSON, ALICE A                PO BOX 53                                                                                         MINERAL POINT     MO   63660‐0053
PATTERSON, ALICE A                BOX 53                                                                                            MINERAL POINT     MO   63660‐0053
PATTERSON, ALICE D                4510 EGALE ESTATES DR                                                                             FLORISSANT        MO   63034‐1605
PATTERSON, ALICE D                4510 EAGLE ESTATES DR                                                                             FLORISSANT        MO   63034‐1605
PATTERSON, ALICE D                139 CHAIN AVE                                                                                     DAYTON            OH   45427‐2622
PATTERSON, ALICE F                PO BOX 1913                                                                                       DUNNELLON         FL   34430‐1913
PATTERSON, ALLEN H                115 ACRES RD N                                                                                    GREENWOOD         SC   29649‐9502
PATTERSON, ALLEN L                5301 LITTLE JAMES LN APT 1601                                                                     FORT WORTH        TX   76119‐8838
PATTERSON, ALTA                   1160 BLUE RIDGE RD                                                                                LINEVILLE         AL   36266‐5615
PATTERSON, ALVIN                  PO BOX 395                                                                                        SCOTTSVILLE       TX   75688‐0395
PATTERSON, AMBER K                18100 CORAL GABLES AVE                                                                            LATHRUP VILLAGE   MI   48076‐4502
PATTERSON, ANDRAE D               5213 BROMWICK DR                                                                                  DAYTON            OH   45426‐1909
PATTERSON, ANDRAE DEE             5213 BROMWICK DR                                                                                  DAYTON            OH   45426‐1909
PATTERSON, ANDREW                 SHANNON LAW FIRM                      100 W GALLATIN ST                                           HAZLEHURST        MS   39083‐3007
PATTERSON, ANNETTE M              2645 E SOUTHERN AVE APT A202                                                                      TEMPE             AZ   85282
PATTERSON, ANNIE L                1015 ALEXANDER ST SE                                                                              GRAND RAPIDS      MI   49507
PATTERSON, ANNIE L.               1245 S KOMENSKY                                                                                   CHICAGO           IL   60623‐1229
PATTERSON, ANTHONY                5113 WELL FLEET DR                                                                                TROTWOOD          OH   45426‐1419
PATTERSON, ANTHONY J              7553 BURGOYNE LN                                                                                  SACRAMENTO        CA   95823
PATTERSON, ANTHONY J              230W VILLA DR.                                                                                    BOWLING GREEN     KY   42101
PATTERSON, ARCHIE L               1913 MCKIBBEN ST                                                                                  WABASH            IN   46992‐3916
PATTERSON, ARDEN D                7470 SLAYTON SETTLEMENT RD                                                                        GASPORT           NY   14067‐9378
PATTERSON, ARLIN V                4745 18TH ST SW                                                                                   BYRON CENTER      MI   49315‐9104
PATTERSON, ARTHUR                 9574 MARLOWE ST                                                                                   DETROIT           MI   48227‐2710
PATTERSON, AUBREY J               1304 GATEWOOD LN                                                                                  KNOXVILLE         TN   37919‐8145
PATTERSON, B A TRUCKING INC       8125 W 10TH ST                                                                                    INDIANAPOLIS      IN   46214‐2431
PATTERSON, BARBARA A              7300 SALTGRASS WAY                                                                                ELK GROVE         CA   95758‐4975
PATTERSON, BARBARA C              15561 ANNIE STREET                    APT 4201                                                    OLATHE            KS   66062‐7080
PATTERSON, BARBARA C              15561 ANNIE ST APT 4201                                                                           OLATHE            KS   66062‐7080
PATTERSON, BARBARA E              6107 HOAGLAND HWY                                                                                 BRITTON           MI   49229‐9775
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Name                          Address1                       Address2                     Address3   Address4         City             State Zip
PATTERSON, BARBARA E          6147 WILDERNESS DR                                                                      MANCELONA         MI 49659
PATTERSON, BARBARA J          5927 CROOKED CREEK DR                                                                   INDIANAPOLIS      IN 46228‐1235
PATTERSON, BARBARA L          PO BOX 304                                                                              DAYTON            IN 47941‐0304
PATTERSON, BARRY L            824 COUNTY ROAD 246                                                                     MOULTON           AL 35650‐9410
PATTERSON, BATHSHEBA S        11600 MCPHERSON LANDING RD R                                                            TUSCALOOSA        AL 35405
PATTERSON, BEATRICE E         8398 DODGE ROAD                                                                         OTISVILLE         MI 48463
PATTERSON, BENJAMIN F         1483 KILMUIR WAY                                                                        STONE MOUNTAIN    GA 30083‐1986
PATTERSON, BENNIE R           1202 LOUISE STREET                                                                      ANDERSON          IN 46016‐3046
PATTERSON, BERNICE            3450 NORTHLAKE DR NE                                                                    GRAND RAPIDS      MI 49525‐2709
PATTERSON, BETTE J            1913 6TH ST                                                                             BAY CITY          MI 48708‐6796
PATTERSON, BETTY              1775 DIAMOND ST,               UNIT 1‐109                                               SAN DIEGO         CA 92109
PATTERSON, BETTY              1775 DIAMOND ST UNIT 1‐109                                                              SAN DIEGO         CA 92109‐3309
PATTERSON, BETTY D            9926 LARRY LN                                                                           GREENWOOD         LA 71033‐2339
PATTERSON, BETTY T            3121 HICKORY AVE                                                                        GROVES            TX 77619‐6107
PATTERSON, BEVERLY A          28 COUNTRY LN                                                                           RAINBOW CITY      AL 35906‐6712
PATTERSON, BOB E              1351 N COUNTY ROAD 600 E                                                                TUSCOLA            IL 61953‐7081
PATTERSON, BOBBIE M           PO BOX 2893                                                                             ANDERSON          IN 46018‐2893
PATTERSON, BOBBY J            497 CAMBRIDGE AVE                                                                       BUFFALO           NY 14215‐3123
PATTERSON, BOBBY N            125 N 1000 EAST ST                                                                      ZIONSVILLE        IN 46077
PATTERSON, BONNIE M           2325 N CLINTON ST                                                                       SAGINAW           MI 48602‐5070
PATTERSON, BRADFORD           22 TUDOR RD                                                                             FARMINGDALE       NY 11735‐3320
PATTERSON, BRADLEY B
PATTERSON, BRADLEY BUCHANAN   WINFIELD PAUL E ESQ            1900 CHERRY STREET SUITE B                               VICKSBURG        MS   39180
PATTERSON, BRADLEY BUCHANAN   BLACKMON BLACKMON & EVANS      907 W PEACE ST                                           CANTON           MS   39046‐4126
PATTERSON, BRENDA             543 JULIUS DR                                                                           STONE MTN        GA   30087‐5904
PATTERSON, BRENDA L           5318 GLENN AVE                                                                          FLINT            MI   48505‐5133
PATTERSON, BRIAN              1032 ABBEY CT                                                                           NORTHVILLE       MI   48167‐1057
PATTERSON, BRIAN K            2024 CHARLES ST                                                                         ANDERSON         IN   46013‐2728
PATTERSON, BRIAN K            8417 W ASHFORD LN                                                                       MUNCIE           IN   47304‐9005
PATTERSON, BRUCE A            10078 E BRISTOL RD                                                                      DAVISON          MI   48423‐8769
PATTERSON, BRUCE A            2719 26TH AVENUE DR W                                                                   BRADENTON        FL   34205‐3704
PATTERSON, BRUCE D            3079 HAINES RD                                                                          ATTICA           MI   48412‐9343
PATTERSON, BRUCE J            11482 NORA DR                                                                           FENTON           MI   48430‐8702
PATTERSON, BRUCE JOHN         11482 NORA DR                                                                           FENTON           MI   48430‐8702
PATTERSON, BRYAN L            1230 W MARKET ST                                                                        ATHENS           AL   35611‐4779
PATTERSON, BUDDY E            203 MILLCREEK DR                                                                        CHESTERFIELD     IN   46017‐1731
PATTERSON, CALVIN T           5925 N UTTER RD                                                                         IRONS            MI   49644‐8843
PATTERSON, CARL D             HC 64 BOX 1826                                                                          EUFAULA          OK   74432‐5515
PATTERSON, CAROLE             5365 OAKCREST AVE                                                                       AUSTINTOWN       OH   44515‐4515
PATTERSON, CAROLYN B          809 FOLEY DR                                                                            VANDALIA         OH   45377‐2828
PATTERSON, CASSANDRA          305 W 2ND ST                                                                            ELK RAPIDS       MI   49629‐9529
PATTERSON, CECIL              1504 CASHES VALLEY RD                                                                   CHERRY LOG       GA   30522‐2005
PATTERSON, CECIL D            367 BROWN DR                                                                            LA FOLLETTE      TN   37766‐5008
PATTERSON, CHADD E            9247 MORRISH RD                                                                         MONTROSE         MI   48457‐9134
PATTERSON, CHADD EDWIN        9247 MORRISH RD                                                                         MONTROSE         MI   48457‐9134
PATTERSON, CHARLENE K         2510 HENN HYDE RD NE                                                                    WARREN           OH   44484‐1248
PATTERSON, CHARLES            200 DOGWOOD RD                                                                          EDGEWATER PRK    NJ   08010‐2602
PATTERSON, CHARLES            3513 NORTH GIRARD RD                                                                    MEDINA           NY   14103
PATTERSON, CHARLES E          194 DOVE DR                                                                             CROSSVILLE       TN   38555‐8038
PATTERSON, CHARLES E          1562 W 111TH ST                                                                         LOS ANGELES      CA   90047‐4923
PATTERSON, CHARLES Q          305 WAVERLY DR                                                                          NORMAL           IL   61761‐1825
PATTERSON, CHARLES R          140 RIVER BIRCH DR                                                                      OXFORD           GA   30054‐3859
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Name                        Address1                         Address2                         Address3   Address4         City               State Zip
PATTERSON, CHARLES R        14323 MARTY ST                   C/O ROBERT D PATTERSON                                       OVERLAND PARK       KS 66223‐2290
PATTERSON, CHARLES R        11418 RUNNELLS DR                                                                             CLIO                MI 48420‐8265
PATTERSON, CHARLES R        4950 84TH AVE NE                                                                              NORMAN              OK 73026‐2908
PATTERSON, CHARLES VICTOR   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                    BALTIMORE           MD 21202
                                                             CHARLES CENTER 22ND FLOOR
PATTERSON, CHARLES W        FITZGERALD J ARNOLD              PO BOX 227                                                   DAYTON             TN 37321‐0227
PATTERSON, CHARLIE W        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
PATTERSON, CHATO D          4470 CENTRAL AVE                                                                              INDIANAPOLIS       IN   46205‐1823
PATTERSON, CHRISTINE        BICKEL LAW FIRM INC              7825 FAY AVE STE 200                                         LA JOLLA           CA   92037‐4270
PATTERSON, CHRISTOPHER L    PO BOX 584                                                                                    GALLOWAY           OH   43119‐0584
PATTERSON, CHRISTOPHER L    1686 CLAIRMOUNT ST                                                                            DETROIT            MI   48206‐2015
PATTERSON, CHRISTOPHER R    1308 LAUREL ST                                                                                ANDERSON           IN   46016‐3345
PATTERSON, CINSERIA         2722 W CARTER ST                                                                              KOKOMO             IN   46901‐4064
PATTERSON, CLARENCE T       51 WATERSIDE DR APT F                                                                         WILDWOOD           MO   63040‐2205
PATTERSON, CLARINE          4610 GLENN AVE                                                                                FLINT              MI   48505‐3100
PATTERSON, CLAUDE H         3984 SUMNER ST                                                                                SHREVEPORT         LA   71109‐4432
PATTERSON, CLAUDETTE I      706 FAWN RIDGE CT                                                                             SULLIVAN           MO   63080‐1284
PATTERSON, CLAY             4922 WOODLAND HILLS BLVD                                                                      DAYTON             OH   45414‐4756
PATTERSON, CLIFFORD R       KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                 CLEVELAND          OH   44114
                                                             BOND COURT BUILDING
PATTERSON, COLIN
PATTERSON, CORTIS R         370 WALPER AVE                                                                                CLAWSON            MI   48017‐2076
PATTERSON, COURTNEY A       5200 ROBERTS DR                                                                               FLINT              MI   48506‐1554
PATTERSON, CRAIG S          9212 MINTCREEK CT                                                                             WASHINGTO TWP      OH   45458‐9445
PATTERSON, CYNTHIA A        5342 TIMBER RIDGE TRL                                                                         CLARKSTON          MI   48346‐3859
PATTERSON, DAISY R          2324 HALFORD                                                                                  ANDERSON           IN   46016‐3735
PATTERSON, DANIEL           100 ELGAR PL APT 28B                                                                          BRONX              NY   10475‐5042
PATTERSON, DANIEL L         COON BRENT & ASSOCIATES          2010 S BIG BEND BLVD                                         SAINT LOUIS        MO   63117‐2404
PATTERSON, DANIEL S         27665 PIERCE ST                                                                               SOUTHFIELD         MI   48076‐3567
PATTERSON, DANNY            BRAYTON PURCELL                  PO BOX 6169                                                  NOVATO             CA   94948‐6169
PATTERSON, DANNY E          9951 N GIRDLE RD                                                                              MIDDLEFIELD        OH   44062
PATTERSON, DANNY H          1321 S BUCKEYE ST                                                                             KOKOMO             IN   46902‐6318
PATTERSON, DARLENE J        570 BIRD AVE                                                                                  BIRMINGHAM         MI   48009‐2066
PATTERSON, DARON L          PO BOX 5962                                                                                   ARLINGTON          TX   76005‐5962
PATTERSON, DARRELL L        339 OAK ST                                                                                    MOUNT MORRIS       MI   48458‐1928
PATTERSON, DARRELL W        46597 POLO DR                                                                                 CANTON             MI   48187‐1686
PATTERSON, DAVID            APT B                            22 RUTHER GLEN COURT                                         COLUMBIA           SC   29210‐5145
PATTERSON, DAVID            113 S PARK AVE                                                                                ALEXANDRIA         IN   46001‐2060
PATTERSON, DAVID A          10371 CLIFFORD CT                                                                             BROWNSBURG         IN   46112‐8535
PATTERSON, DAVID A          5600 ROUNDHILL CT                                                                             BLOOMFIELD HILLS   MI   48301‐2042
PATTERSON, DAVID C          4118 S SHORE ST                                                                               WATERFORD          MI   48328‐1274
PATTERSON, DAVID L          3301 KISSNER AVE                                                                              FLINT              MI   48504‐4415
PATTERSON, DAVID L          5921 W MICHIGAN                                                                               SAGINAW            MI   48638
PATTERSON, DAVID L          175 BROOKSIDE AVE                                                                             MOUNT VERNON       NY   10553‐1347
PATTERSON, DAVID L.         113 S PARK AVE                                                                                ALEXANDRIA         IN   46001‐2060
PATTERSON, DAVID W          RM 3‐220 GM BLDG                 (BASCHARGE, LUXEMBOURG)                                      DETROIT            MI   48202
PATTERSON, DAVID W          9 KILBRANNON DR                                                                               COLUMBIA           SC   29210
PATTERSON, DAWN             G PATTERSON KEAHEY PC            ONE INDEPENDENCE PLAZA STE 612                               BIRMINGHAM         AL   35209

PATTERSON, DEAN             502 MCKNIGHT AVE                                                                              WEST FORK          AR 72774
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Name                         Address1                       Address2                         Address3   Address4         City              State Zip
PATTERSON, DEAN E            TIMOTHY BROOKS                 E J BALL PLAZA SIXTH FLOOR 112                               FAYETTEVILLE       AR 72702
                                                            WEST CENTER STREET
PATTERSON, DELORES           2974 AMHERST ST                                                                             INDIANAPOLIS      IN   46268‐3293
PATTERSON, DELORES E         426 FIRST ST. S.W                                                                           WARREN            OH   44485‐3824
PATTERSON, DELORES E         426 1ST ST SW                                                                               WARREN            OH   44485‐3824
PATTERSON, DELORES J         7259 FRANCES RD                                                                             FLUSHING          MI   48433‐8834
PATTERSON, DELPHIA VIRGINI   6050 SURREY LN                                                                              BURTON            MI   48519‐1314
PATTERSON, DELPHIA VIRGINI   6050 SURREY LANE                                                                            BURTON            MI   48519‐1314
PATTERSON, DELTA             1420 SWAFFORD RD SW                                                                         CULLMAN           AL   35055‐5212
PATTERSON, DENNIE M          4946 LOUISE SHARP DR                                                                        MERIDIAN          MS   39301‐8145
PATTERSON, DENNIS            6011 GREENLEAF AVE                                                                          WHITTIER          CA   90601‐3522
PATTERSON, DENNIS L          1106 E JAMIE LN                                                                             BLOOMINGTON       IN   47401‐9739
PATTERSON, DENVER D          PO BOX 4315                                                                                 PRESCOTT          MI   48756‐4315
PATTERSON, DEREK L           55549 PARKVIEW DR                                                                           SHELBY TOWNSHIP   MI   48316‐1031
PATTERSON, DERRICK D         816 PLAZAVIEW CT APT G                                                                      YOUNGSTOWN        OH   44505‐3374
PATTERSON, DIA S             1823 HANDLEY ST                                                                             SAGINAW           MI   48602‐3611
PATTERSON, DIA SIMONE        1823 HANDLEY ST                                                                             SAGINAW           MI   48602‐3611
PATTERSON, DIANE L           5040 2 MILE RD                                                                              BAY CITY          MI   48706‐3040
PATTERSON, DIANE N           2924 W 12TH ST                                                                              ANDERSON          IN   46011‐2435
PATTERSON, DOLLY J           1709 VILLAGE RIDGE PL                                                                       COLLIERVILLE      TN   38017‐8700
PATTERSON, DOLORES           1476 N CUSTER AVE                                                                           CLAWSON           MI   48017‐1105
PATTERSON, DOLORES L         5224 COUNCIL RING BLVD                                                                      KOKOMO            IN   46902‐5423
PATTERSON, DOLORES S         1627 W 11TH ST                                                                              ANDERSON          IN   46016‐2816
PATTERSON, DONALD            259 BELMORE WAY                                                                             ROCHESTER         NY   14612‐2372
PATTERSON, DONALD R          PO BOX 186                                                                                  MAYVILLE          MI   48744‐0186
PATTERSON, DONALD R          5617 LYNDALE AVE S                                                                          MINNEAPOLIS       MN   55419
PATTERSON, DONALD R          11734 PLEASANT VIEW DR                                                                      PINCKNEY          MI   48169‐9559
PATTERSON, DONALD ROSS       11734 PLEASANT VIEW DR                                                                      PINCKNEY          MI   48169‐9559
PATTERSON, DONN D            840 RAVENWOOD DR                                                                            GREENWOOD         IN   46142‐1892
PATTERSON, DONNA             4080 JOHNSON RD APT 201                                                                     LOCKPORT          NY   14094‐1253
PATTERSON, DONNA A           10136 LOCKSLEY DR                                                                           BENBROOK          TX   76126‐4011
PATTERSON, DONNA M           196 PARK AVE                                                                                LOCKPORT          NY   14094‐2615
PATTERSON, DORIS C           3185 LAVISTA RD                                                                             DECATUR           GA   30033‐1434
PATTERSON, DORIS E           55 MULLICA WAY                                                                              EGG HARBOR CY     NJ   08215‐4225
PATTERSON, DOROTHY           2527 30TH STREET                                                                            TUSCALOOSA        AL   35401
PATTERSON, DOROTHY           6461 ELMWOOD                                                                                DRAYTON PLAINS    MI   48329‐2929
PATTERSON, DOROTHY           3929 FLORMAN                                                                                WATERFORD         MI   48329‐1021
PATTERSON, DOROTHY H         1210 SW 2ND AVE                                                                             CAPE CORAL        FL   33991‐2809
PATTERSON, DOROTHY J         20002 ARCHDALE ST                                                                           DETROIT           MI   48235‐2233
PATTERSON, DOROTHY J         1008 CORNELL RD                                                                             KOKOMO            IN   46901‐1570
PATTERSON, DOROTHY M         620 W COURTOIS                                                                              ST. LOUIS         MO   63111
PATTERSON, DOUGLAS B         2433 WILLIAMS RD                                                                            CORTLAND          OH   44410
PATTERSON, DOUGLAS P         3835 EWINGS RD                                                                              LOCKPORT          NY   14094‐1035
PATTERSON, DOUGLAS W         8739 RAMSBURY WAY                                                                           WILMINGTON        NC   28411‐7765
PATTERSON, DWAYNE            2457 TARPON BAY DR                                                                          MIAMISBURG        OH   45342‐7852
PATTERSON, E B               PO BOX 411673                                                                               CHARLOTTE         NC   28241‐1673
PATTERSON, EARL R            23435 HOLIDAY DR                                                                            HERSEY            MI   49639‐8657
PATTERSON, EARNESTINE        907 ATHENS ST                                                                               SAGINAW           MI   48601‐1469
PATTERSON, EASTHER           502 MCKNIGHT AVE                                                                            WEST FORK         AR   72774
PATTERSON, EDDIE             GORI JULIAN & ASSOCIATES P C   156 N MAIN ST                                                EDWARDSVILLE      IL   62025
PATTERSON, EDDIE L           41450 E ARCHWOOD DR APT B234                                                                BELLEVILLE        MI   48111‐1593
PATTERSON, EDDIE M           19651 SPENCER ST                                                                            DETROIT           MI   48234‐3133
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Name                         Address1                          Address2                         Address3   Address4         City              State Zip
PATTERSON, EDITH H           7800 HUFF ST                                                                                   INDIANAPOLIS       IN 46259‐1610
PATTERSON, EDRISS J          11 WOODED HEIGHTS DR                                                                           CROMWELL           CT 06416‐2504
PATTERSON, EDWARD A          3880 LOCKPORT‐OLCOTT RD           H12 RIDGEVIEW HOMES N LOT 12                                 LOCKPORT           NY 14094
PATTERSON, EDWARD A          2767 KLAM RD                                                                                   LAPEER             MI 48446‐9116
PATTERSON, EDWARD R          1322 OLD MILL RD                                                                               MOUNTAIN HOME      AR 72653‐2614
PATTERSON, EDWARD V          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510‐2212
                                                               STREET, SUITE 600
PATTERSON, EDWIN L           9232 LAKE RD                                                                                   MONTROSE          MI   48457‐9715
PATTERSON, EDWIN O           925 YOUNGSTOWN WARREN RD          L ‐ 75                                                       NILES             OH   44446‐4627
PATTERSON, EDWIN R           6291 N UNION DR                                                                                PRESCOTT VALLEY   AZ   86314‐3344
PATTERSON, EDWINA M          6992 OAKHURST RIDGE RD                                                                         CLARKSTON         MI   48348‐5054
PATTERSON, EDWINA MITCHELL   6992 OAKHURST RIDGE RD                                                                         CLARKSTON         MI   48348‐5054
PATTERSON, ELAINE            2624 ELMHURST DR                                                                               FAYETTEVILLE      NC   28304‐5335
PATTERSON, ELIZABETH         77 BEATTY PL                                                                                   NEWBURY PARK      CA   91320‐4504
PATTERSON, ELIZABETH J       5 OBAN CT                                                                                      SHALLOTTE         NC   28470‐4524
PATTERSON, ELIZABETH J       5 OBAN COURT                                                                                   SHALLOTTE         NC   28470‐4524
PATTERSON, ELLA M            15007 HIAWATHA ST                                                                              MISSION HILLS     CA   91345‐2512
PATTERSON, ELLEN A           1824 KNOLLWOOD BND                                                                             YPSILANTI         MI   48198‐9532
PATTERSON, ELLEN ANNETTE     1824 KNOLLWOOD BND                                                                             YPSILANTI         MI   48198‐9532
PATTERSON, ELLEN E           10900 COUNTY ROAD 236                                                                          MOULTON           AL   35650‐8830
PATTERSON, ELMER L           609 CUMBERLAND DR                                                                              COLUMBIA          TN   38401‐6123
PATTERSON, ELVIS L           2018 PLEASANT DR                                                                               PORTAGE           MI   49002‐5608
PATTERSON, ELVY              SHANNON LAW FIRM                  100 W GALLATIN ST                                            HAZLEHURST        MS   39083‐3007
PATTERSON, ELWOOD            44375 HARSDALE DR                                                                              CANTON            MI   48187‐3258
PATTERSON, ELWYN J           15124 VILLAGE 15                                                                               CAMARILLO         CA   93012‐7051
PATTERSON, EMMA C            1007 E TAYLOR ST                                                                               KOKOMO            IN   46901‐4789
PATTERSON, EMMA G            PO BOX 6247                                                                                    SYRACUSE          NY   13217‐6247
PATTERSON, EMMA R            3512 OAKCLIFF DR                                                                               OKLAHOMA CITY     OK   73135‐1320
PATTERSON, ERIC L            6274 SALEM CIR APT 507                                                                         FT WORTH          TX   76132‐3072
PATTERSON, ERIC T            439 S 1ST ST                                                                                   EVANSVILLE        WI   53536
PATTERSON, ERNEST            72 S MAIN ST                                                                                   MIDDLEPORT        NY   14105‐1312
PATTERSON, ERWIN C           4300 APACHE DR                                                                                 BURTON            MI   48509‐1414
PATTERSON, ESTHER M          908 BAKER BLVD                                                                                 GASTONIA          NC   28052‐1502
PATTERSON, ESTHER MAE        TAYLOR LAW FIRM                   EJ BALL PLAZA ‐ 6TH FLOOR‐ 112                               FAYETTEVILLE      AR   72702
                                                               WEST CENTER ST ‐ PO BOX 3457
PATTERSON, ETHEL A           772 LAUREATE DR                                                                                PEWAUKEE          WI   53072‐2681
PATTERSON, EUGENE            11955 ROSEVIEW LN                                                                              SAINT LOUIS       MO   63138‐1242
PATTERSON, EUGENE F          6519 S GOVE CT                                                                                 TECUMSEH          MI   49286‐9500
PATTERSON, EVELYN L          5410 BRIGHT CREEK COURT                                                                        FLINT             MI   48532‐2254
PATTERSON, FLOYD             G PATTERSON KEAHEY PC             ONE INDEPENDENCE PLAZA STE 612                               BIRMINGHAM        AL   35209

PATTERSON, FLOYD L           303 CHURCH ST                                                                                  BROOKLYN          WI   53521‐9471
PATTERSON, FRANCES JOANNE    9593 THREE SPRINGS RAOD                                                                        BOWLING GREEN     KY   42104
PATTERSON, FRANCES M         5130 W BIG HURRICANE RD                                                                        MARTINSVILLE      IN   46151‐6422
PATTERSON, FRANCINE          23411 STRATFORD CT APT. 921                                                                    SOUTHFIELD        MI   48033
PATTERSON, FRANK E           11231 DODGE RD                                                                                 MONTROSE          MI   48457‐9170
PATTERSON, FRANKLIN D        326 PAYNE AVE                                                                                  PONTIAC           MI   48341‐1051
PATTERSON, FRANKLIN D        907 CANAL ST                                                                                   ANDERSON          IN   46012‐9219
PATTERSON, FRED E            3441 WININGS AVE                                                                               INDIANAPOLIS      IN   46221‐2277
PATTERSON, FRED G            8158 LEONARD DR                                                                                HOLLY             MI   48442‐9136
PATTERSON, FRED T            3472 MONTCLAIR ST                                                                              DETROIT           MI   48214‐2149
PATTERSON, FREDDIE L         1041 DESOTO AVE                                                                                YPSILANTI         MI   48198‐6279
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Name                      Address1                         Address2                      Address3   Address4         City                  State Zip
PATTERSON, FREDERICK L    3612 GAVIOTA DR                                                                            RUSKIN                 FL 33573‐6701
PATTERSON, GAIL B         9212 MINTCREEK CT                                                                          WASHINGTON TOWNSHIP    OH 45458‐9445
PATTERSON, GAIL E         409 WILCOX RD APT 3                                                                        YOUNGSTOWN             OH 44515
PATTERSON, GAIL L         1015 NORTH ROSE STREET                                                                     KALAMAZOO              MI 49007‐4400
PATTERSON, GAIL L         1015 N ROSE ST                                                                             KALAMAZOO              MI 49007‐4400
PATTERSON, GAIL L         17206 BLACKBERRY CREEK DR.                                                                 BURTON                 MI 48519
PATTERSON, GAIL LENETTE   17206 BLACKBERRY CREEK DR.                                                                 BURTON                 MI 48519
PATTERSON, GARETT W       1002 ARLINGTON DR                                                                          SAINT CHARLES          MO 63303‐6606
PATTERSON, GARY           PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON                MS 39206‐5621
PATTERSON, GARY J         61060 PREAKNESS BLVD                                                                       SOUTH LYON             MI 48178‐8215
PATTERSON, GARY L         528 IRVINGTON AVE                                                                          LANSING                MI 48910‐4619
PATTERSON, GARY R         6147 WILDERNESS DR                                                                         MANCELONA              MI 49659‐9487
PATTERSON, GARY RAY       6107 HOAGLAND HWY                                                                          BRITTON                MI 49229‐9775
PATTERSON, GARY W         1660 WARNER AVE                                                                            MINERAL RIDGE          OH 44440‐9526
PATTERSON, GENE C         4100 N 100 W                                                                               ANDERSON               IN 46011‐9512
PATTERSON, GEORGE B       687 E DARTMOOR AVE                                                                         SEVEN HILLS            OH 44131‐2429
PATTERSON, GEORGE P       3706 ANDREWS LAKE RD                                                                       FREDERICA              DE 19946‐2003
PATTERSON, GEORGE P       24510 HAYES ST                                                                             TAYLOR                 MI 48180‐2180
PATTERSON, GEORGE W       1635 BRADLEY DR                                                                            COLUMBIA               SC 29204‐3177
PATTERSON, GEORGIA        405 COMET AVE                    APT 5                                                     CLEARWATER             FL 33765‐3765
PATTERSON, GEORGIA        405 S COMET AVE APT A                                                                      CLEARWATER             FL 33765‐3559
PATTERSON, GERALD D       5573 DVORAK ST                                                                             CLARKSTON              MI 48346‐3211
PATTERSON, GERALD L       4817 AUBURN RD                                                                             SHELBY TWP             MI 48317‐4108
PATTERSON, GERALD R       8430 SETTLERS PSGE                                                                         BRECKSVILLE            OH 44141‐1732
PATTERSON, GERALD W       303 HOME PARK AVE                                                                          JANESVILLE             WI 53545‐4845
PATTERSON, GLADYS C       7 KILLARNEY CIR                                                                            BROWNSBURG             IN 46112‐8252
PATTERSON, GLADYS V       4908 COPELAND AVE                                                                          DAYTON                 OH 45406‐1209
PATTERSON, GLEN A         121 LOS CEDROS LOOP                                                                        KERRVILLE              TX 78028‐2910
PATTERSON, GLENA L        118 MAGNOLIA LANE                                                                          HAINES CITY            FL 33844
PATTERSON, GLENA L        118 MAGNOLIA LN                                                                            HAINES CITY            FL 33844‐9277
PATTERSON, GLENN A        630 PONDER RD                                                                              SMITHVILLE             TN 37166
PATTERSON, GLENN A        110 US HIGHWAY 12                                                                          BROOKLYN               MI 49230‐9257
PATTERSON, GLENN ALLEN    110 US HIGHWAY 12                                                                          BROOKLYN               MI 49230‐9257
PATTERSON, GLORIA J       6410 OAK HILL RD                                                                           ORTONVILLE             MI 48462‐9247
PATTERSON, GORDON         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510
                                                           STREET, SUITE 600
PATTERSON, GORDON E       2592 PRINGLE RD                                                                            UBLY                  MI   48475‐8732
PATTERSON, GRACE M        19 ROUNDS AVE                                                                              BUFFALO               NY   14215‐1119
PATTERSON, GREGG W        925 BLAINE AVE                                                                             JANESVILLE            WI   53545‐1735
PATTERSON, GREGORY        3863 STUDOR RD                                                                             SAGINAW               MI   48601‐5768
PATTERSON, GREGORY        THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES          FL   33146
PATTERSON, GREGORY L      21013 REIMANVILLE AVE                                                                      FERNDALE              MI   48220‐2229
PATTERSON, GREGORY L      8024 LYTLE TRAILS RD                                                                       WAYNESVILLE           OH   45068
PATTERSON, GREGORY N      G‐1433 W. BRISTOL ROAD                                                                     FLINT                 MI   48507
PATTERSON, GROVER M       2920 W HOLMES RD                                                                           LANSING               MI   48911‐2354
PATTERSON, GUY D          3234 W HOBSON AVE                                                                          FLINT                 MI   48504‐1410
PATTERSON, HARLEY G       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                           STREET, SUITE 600
PATTERSON, HAROLD D       1283 MAPLE ST SE                                                                           CONYERS               GA   30013‐1651
PATTERSON, HAROLD R       10392 S COUNTY ROAD 400 W                                                                  STILESVILLE           IN   46180‐9706
PATTERSON, HARRY L        PO BOX 1438                                                                                JESUP                 GA   31598‐6438
PATTERSON, HATTIE PEARL   PO BOX 1654                                                                                GRAND RAPIDS          MI   49501‐1654
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Name                      Address1                            Address2                     Address3   Address4         City              State Zip
PATTERSON, HATTIE PEARL   P O BOX 1654                                                                                 GRAND RAPIDS       MI 49501‐1654
PATTERSON, HAYWOOD C      1251 CURWOOD CT SE                                                                           KENTWOOD           MI 49508‐4620
PATTERSON, HEBERT         GUY WILLIAM S                       PO BOX 509                                               MCCOMB             MS 39649‐0509
PATTERSON, HELEN L        3658 E STATE ROAD 236                                                                        ANDERSON           IN 46017‐9713
PATTERSON, HELEN M        8400 SAINT FRANCIS DR APT 241                                                                CENTERVILLE        OH 45458‐2791
PATTERSON, HELEN M        8400 ST FRANCIS DR APT 241                                                                   CENTERVILLE        OH 45458‐5458
PATTERSON, HELEN M        20351 RAMBLEWOOD DR                                                                          MACOMB             MI 48044‐5912
PATTERSON, HENRY B        90 KENDRICKS CORNER RD                                                                       PERKINSVILLE       VT 05151‐9637
PATTERSON, HENRY H        333 FAIRVIEW RD SW                                                                           CAMDEN             AR 71701‐6568
PATTERSON, HENRY T        3015 DELAWARE AVE APT 211                                                                    BUFFALO            NY 14217‐2347
PATTERSON, HUGH B         561 OAKHILL CT                                                                               ROCHESTER HILLS    MI 48309‐1737
PATTERSON, IONER L        65 BRUNSWICK BLVD                                                                            BUFFALO            NY 14208‐1542
PATTERSON, IRENE          4457 BRUNSWICK AVE.                                                                          DAYTON             OH 45416‐1534
PATTERSON, ISAAC          4312 EDGEWOOD BLVD                                                                           SAINT LOUIS        MO 63121‐3225
PATTERSON, ISREAL L       453 LEXINGTON AVENUE                                                                         MANSFIELD          OH 44907‐1501
PATTERSON, JACK M         7548 WILLOWBROOK CIR                                                                         MANCELONA          MI 49659‐9369
PATTERSON, JAMES          GUY WILLIAM S                       PO BOX 509                                               MCCOMB             MS 39649‐0509
PATTERSON, JAMES          PORTER & MALOUF PA                  4670 MCWILLIE DR                                         JACKSON            MS 39206‐5621
PATTERSON, JAMES A        2759 SHELBURNE LN                                                                            DAYTON             OH 45430
PATTERSON, JAMES A        1565 E 250 N                                                                                 KOKOMO             IN 46901‐8359
PATTERSON, JAMES A        3067 ELK CREEK DR                                                                            SWARTZ CREEK       MI 48473‐8629
PATTERSON, JAMES A        6992 OAKHURST RIDGE RD                                                                       CLARKSTON          MI 48348‐5054
PATTERSON, JAMES A        4020 LEFEVRE DR                                                                              KETTERING          OH 45429‐3218
PATTERSON, JAMES A        23411 STRATFORD CT APT 921                                                                   SOUTHFIELD         MI 48033‐3338
PATTERSON, JAMES A.       3067 ELK CREEK DR                                                                            SWARTZ CREEK       MI 48473‐8629
PATTERSON, JAMES B        12609 NORTHERN AVE                                                                           LIBERTY            MO 64068‐8160
PATTERSON, JAMES C        2138 EAGLE STICKS DRIVE                                                                      HENDERSON          NV 89012‐2575
PATTERSON, JAMES D        493 HIGHVIEW RD                                                                              BAYFIELD           CO 81122‐9321
PATTERSON, JAMES E        308 EAST WALKER STREET                                                                       SAINT JOHNS        MI 48879‐1542
PATTERSON, JAMES E        5529 WALNUT CIR W                                                                            W BLOOMFIELD       MI 48322‐1269
PATTERSON, JAMES F        532 KOERNER AVE                                                                              ENGLEWOOD          OH 45322‐2005
PATTERSON, JAMES HAROLD   BARON & BUDD                        THE CENTRUM, 3102 OAK LAWN                               DALLAS             TX 75219
                                                              AVE, STE 1100
PATTERSON, JAMES J        513 PORSHA TER                                                                               CAMP HILL         PA   17011‐1267
PATTERSON, JAMES L        2601 JOHN B DENNIS HIGHWAY          APT 1203                                                 KINGSPORT         TN   37660
PATTERSON, JAMES L        131 LAUREL HILLS LN                                                                          CANFIELD          OH   44406‐7620
PATTERSON, JAMES L        2501 N JOHN B DENNIS HWY APT 1203                                                            KINGSPORT         TN   37660‐4792
PATTERSON, JAMES M        PO BOX 269                                                                                   SHIRLEY           IN   47384‐0269
PATTERSON, JAMES M        1341 CARVER PL                                                                               HAMILTON          OH   45011‐3303
PATTERSON, JAMES O        728 DENNISON AVE                                                                             DAYTON            OH   45408‐1221
PATTERSON, JAMES R        2317 N VASSAR RD                                                                             BURTON            MI   48509‐1382
PATTERSON, JAMES R        56 GAIN LN                                                                                   NORMAN            AR   71960‐8668
PATTERSON, JAMES S        101 HEATHERWOOD CV                                                                           JACKSON           TN   38305‐8846
PATTERSON, JAMES T        2287 BELMONT AVE                                                                             LONG BEACH        CA   90815‐2502
PATTERSON, JAMES W        1649 E DOROTHY LANE APT 19                                                                   DAYTON            OH   45429‐3834
PATTERSON, JANET          6740 SARA CT                                                                                 PLAINFIELD        IN   46168
PATTERSON, JANICE M       4828 CEDAR DRIVE                                                                             GLADWIN           MI   48624
PATTERSON, JANICE M       4828 CEDAR DR                                                                                GLADWIN           MI   48624‐9500
PATTERSON, JANNIE P       3402 SANTA CRUZ DRIVE                                                                        FLINT             MI   48504‐3236
PATTERSON, JAUAN N        3671 BRAMBLEVINE CIRCLE                                                                      LITHONIA          GA   30038‐2915
PATTERSON, JEANNETTE T    2633 PENDERS RIDGE TRAIL                                                                     ELLENWOOD         GA   30294
PATTERSON, JEANNIE K      7751 JIB LN                                                                                  NAPLES            FL   34109‐7619
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Name                         Address1                           Address2                      Address3   Address4         City             State Zip
PATTERSON, JEFFREY L         2231 DUNKELBERG RD                                                                           FORT WAYNE        IN 46819‐2128
PATTERSON, JEFFREY L.        2231 DUNKELBERG RD                                                                           FORT WAYNE        IN 46819‐2128
PATTERSON, JEFFREY W         PO BOX 55                                                                                    COLON             MI 49040‐0055
PATTERSON, JEFFREY WILLIAM   PO BOX 55                                                                                    COLON             MI 49040‐0055
PATTERSON, JENECIA           1412 QUEENS BROOK LN                                                                         FORT WORTH        TX 76140‐5747
PATTERSON, JENNIE W          100 E 5TH AVE RIVER OAKS APT #31                                                             LENOIR CITY       TN 37771
PATTERSON, JERRY F           894A JACKSON FURNACE RD                                                                      SOUTH WEBSTER     OH 45682‐9100
PATTERSON, JERRY G           3177 PRESCOTT DR                                                                             HOWELL            MI 48843‐6975
PATTERSON, JERRY L           22 TROTTERS RUN                                                                              BROWNSBURG        IN 46112‐8485
PATTERSON, JERRY L           13912 DEANNA DR                                                                              BELLEVILLE        MI 48111‐1077
PATTERSON, JERRY W           PO BOX 890896                                                                                OKLAHOMA CITY     OK 73189‐0896
PATTERSON, JERRY W           22056 COMPTON RD                                                                             ATHENS            AL 35613
PATTERSON, JESSE             GUY WILLIAM S                      PO BOX 509                                                MCCOMB            MS 39649‐0509
PATTERSON, JESSIE L          2013 CONCORD ST                                                                              FLINT             MI 48504‐3183
PATTERSON, JESSIE SUE        4725 W 165TH ST                                                                              LAWNDALE          CA 90260‐2826
PATTERSON, JESSIE SUE        4725 W 165 STREET                                                                            LAWNDALE          CA 90260‐2826
PATTERSON, JETT E            PO BOX 153113                                                                                ARLINGTON         TX 76015‐9113
PATTERSON, JIMMY F           9926 LARRY LN                                                                                GREENWOOD         LA 71033‐2339
PATTERSON, JOAN              7284 DEERHILL DR                                                                             CLARKSTON         MI 48346‐1232
PATTERSON, JOE F             4116 W COUNTY ROAD 200 N                                                                     KOKOMO            IN 46901
PATTERSON, JOE H             4740 BELLINGHAM DR                                                                           INDIANAPOLIS      IN 46221‐3700
PATTERSON, JOE T             325 JENNIFER LN                                                                              ARLINGTON         TX 76002‐5402
PATTERSON, JOHN A            PO BOX 353                                                                                   FARMLAND          IN 47340‐0353
PATTERSON, JOHN A            10 JILL DR                         P.O. BOX 306                                              PRINCETON JCT     NJ 08550‐5105
PATTERSON, JOHN D            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
PATTERSON, JOHN F            GUY WILLIAM S                      PO BOX 509                                                MCCOMB           MS   39649‐0509
PATTERSON, JOHN F            333 W EDDY RD                                                                                SANDUSKY         MI   48471‐8736
PATTERSON, JOHN K            5365 OAKCREST AVE                                                                            AUSTINTOWN       OH   44515‐4045
PATTERSON, JOHN L            GUY WILLIAM S                      PO BOX 509                                                MCCOMB           MS   39649‐0509
PATTERSON, JOHN M            2203 HAMPTON RD                                                                              GROSSE POINTE    MI   48236‐1378
PATTERSON, JOHN P            7535 ANTIETAM LN                                                                             MURFREESBORO     TN   37130‐8801
PATTERSON, JOHN R            8674 MILLER RD                                                                               CLARKSTON        MI   48348‐2542
PATTERSON, JOHN R            3361 S VASSAR RD                                                                             DAVISON          MI   48423‐2425
PATTERSON, JOHN R            28505 CHIANTI TER                                                                            BONITA SPRINGS   FL   34135‐8096
PATTERSON, JOSEPH            8004 MARK DR                                                                                 VERONA           PA   15147‐1648
PATTERSON, JOSEPH E          16650 ANTHONY ST                                                                             MAPLE HEIGHTS    OH   44137‐1347
PATTERSON, JOSEPH F          1311 E TAYLOR ST                                                                             KOKOMO           IN   46901‐4909
PATTERSON, JOSEPH H          6830 SANDY LN                                                                                WATERFORD        WI   53185‐1872
PATTERSON, JOSEPH L          519 STATE ST                                                                                 HAMMOND          IN   46320‐1533
PATTERSON, JOSEPH P          2613 NW 60TH ST                                                                              OKLAHOMA CITY    OK   73112‐7114
PATTERSON, JOSEPH R          1392 EAST POWELL WAY                                                                         CHANDLER         AZ   85249‐4732
PATTERSON, JOSHUA M          9212 MINTCREEK CT                                                                            DAYTON           OH   45458‐9445
PATTERSON, JOY M             520 S PENDLETON AVE                                                                          PENDLETON        IN   46064‐1330
PATTERSON, JOY MICHELE       520 S PENDLETON AVE                                                                          PENDLETON        IN   46064‐1330
PATTERSON, JOYCE             3915 TWIN CIRCLE WAY WA                                                                      HALETHORPE       MD   21227
PATTERSON, JUANITA           546 W SHORE BLVD                                                                             SHEFFIELD LAKE   OH   44054‐1345
PATTERSON, JUANITA           546 WEST SHORE BOULEVARD                                                                     SHEFFIELD LAKE   OH   44054‐1345
PATTERSON, JUANITA M         404 ROCKPORT RD                                                                              JANESVILLE       WI   53548‐5123
PATTERSON, JUDITH            PO BOX 187                                                                                   SPRINGVILLE      UT   84663‐0187
PATTERSON, JUDY G            17946 HWY 99                                                                                 ATHENS           AL   35611
PATTERSON, JULIE             6901 HELMAN BLVD                                                                             LANSING          MI   48911‐7038
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Name                         Address1                         Address2                         Address3   Address4         City                State Zip
PATTERSON, KAMARI A          4920 CHRISTOFER LN                                                                            FORT WAYNE           IN 46806‐3414
PATTERSON, KAMISHA           1400 FLAT SHOALS RD APT F2                                                                    COLLEGE PARK         GA 30349‐6191
PATTERSON, KAREN M           241 HERBERT ST                                                                                DOWNERS GROVE         IL 60515‐2206
PATTERSON, KAREN S           14850 MOCK RD                                                                                 BERLIN CENTER        OH 44401‐8731
PATTERSON, KATHLEEN A        3841 NORTHWOODS CT NE APT 5                                                                   WARREN               OH 44483‐4483
PATTERSON, KATHRYN F         311 WILDHAVEN DRIVE                                                                           MONROE               MI 48161‐5792
PATTERSON, KATHRYN F         311 WILDHAVEN                                                                                 MONROE               MI 48161‐5792
PATTERSON, KAY F             13 GREENBRIAR DR                                                                              ROCHESTER            NY 14624‐2834
PATTERSON, KENDALL C         497 GOODMAN BRANCH RD                                                                         HOHENWALD            TN 38462‐5345
PATTERSON, KENNETH A         3028 BERTHA AVE                                                                               FLINT                MI 48504‐1704
PATTERSON, KENNETH C         715 SPRING VALLEY DR                                                                          CUMMING              GA 30041‐6798
PATTERSON, KENNETH P         91 IRVIN RD                                                                                   BOAZ                 AL 35957‐4039
PATTERSON, KENT A            9527 NORTHERN OAKS CT                                                                         NOBLESVILLE          IN 46060‐1195
PATTERSON, KENT ALAN         9527 NORTHERN OAKS CT                                                                         NOBLESVILLE          IN 46060‐1195
PATTERSON, KERRY D           55549 PARKVIEW DR                                                                             SHELBY TOWNSHIP      MI 48316‐1031
PATTERSON, KEVIN A           254 E BRIDLESPUR DR                                                                           KANSAS CITY          MO 64114‐4719
PATTERSON, KEVIN W           15035 S BEACH FRONT DR                                                                        EXCELSIOR SPRINGS    MO 64024‐7269
PATTERSON, KEVIN W           5800 PLAINS RD                                                                                EATON RAPIDS         MI 48827‐9653
PATTERSON, KIMBERLY          911 BILLS LN                                                                                  SAINTJOHNS           MI 48879‐1101
PATTERSON, KIRBY G           2206 VARELMAN AVE                                                                             CINCINNATI           OH 45212‐1133
PATTERSON, KIRK L            2205 EASTWOOD AVE                                                                             JANESVILLE           WI 53545‐2100
PATTERSON, KIRK P            523 KRISTEN CIR                                                                               MONROE               NC 28110‐7602
PATTERSON, KRISTINE M        116 N PARK DR                                                                                 ALGONAC              MI 48001‐1130
PATTERSON, KYLE W            5021 CHIPPEWA CT                                                                              FORT WAYNE           IN 46804‐4917
PATTERSON, L C               14650 FRANKFORT ST                                                                            DETROIT              MI 48224‐2917
PATTERSON, LADONNA J         1 SARATOGA DR                                                                                 BUCKHANNON           WV 26201‐9361
PATTERSON, LAGAYE            APT H                            7807 NORTHWEST ROANRIDGE                                     KANSAS CITY          MO 64151‐1393
                                                              ROAD
PATTERSON, LAGAYE L          7807 NW ROANRIDGE RD APT H                                                                    KANSAS CITY         MO 64151‐1393
PATTERSON, LAKEYA M          4917 GULL RD                                                                                  LANSING             MI 48917‐4032
PATTERSON, LAKEYA MARKESHE   4917 GULL RD                                                                                  LANSING             MI 48917‐4032
PATTERSON, LAKISHA
PATTERSON, LANE              1710 BROADWAY AVENUE                                                                          BEDFORD             VA    24523‐2302
PATTERSON, LARRY A           1150 W MEAD RD                                                                                SAINT JOHNS         MI    48879‐9411
PATTERSON, LARRY E           92 ROCKLEDGE AVE                                                                              MOUNT VERNON        NY    10550‐4949
PATTERSON, LARRY E           PO BOX 61                                                                                     BLAIRSVILLE         GA    30514‐0061
PATTERSON, LARRY J           493 GEORGETOWN ST                                                                             SHARPSVILLE         PA    16150
PATTERSON, LARRY L           1515 LEYTON DR                                                                                YOUNGSTOWN          OH    44509‐1916
PATTERSON, LARRY R           1550 OLD US HIGHWAY 27 LOT 283                                                                CLEWISTON           FL    33440‐5344
PATTERSON, LARRY R           135 DUNDEE DRIVE                                                                              KANNAPOLIS          NC    28083‐6464
PATTERSON, LARRY T           350 MAXWELL RD                                                                                INDIANAPOLIS        IN    46217‐3438
PATTERSON, LAURENCE          4935 MONTGOMERY DR                                                                            SHELBY TWP          MI    48316‐4117
PATTERSON, LAVENIA L         2910 E MAIN ST                                                                                BATESVILLE          AR    72501‐9408
PATTERSON, LAVENIA L         2910 E. MAIN ST.                                                                              BATESVILLE          AR    72501‐9408
PATTERSON, LAVONNA J         715 INDUSTRIAL PARK DR APT 4                                                                  GREENVILLE          MI    48838‐8780
PATTERSON, LAWRENCE W        G PATTERSON KEAHEY PC            ONE INDEPENDENCE PLAZA STE 612                               BIRMINGHAM          AL    35209

PATTERSON, LAWRENCE W        1322 WAHINI ST                   RT 2                                                         GALVESTON            TX   77554‐6197
PATTERSON, LEBURN M          1218 FALL RIVER RD                                                                            YPSILANTI            MI   48198‐3154
PATTERSON, LEDORA            629 N CLEMENS AVE                                                                             LANSING              MI   48912‐3107
PATTERSON, LEDORA            COON BRENT W                     PO BOX 4905                                                  BEAUMONT             TX   77704‐4905
PATTERSON, LEE E             2803 RIVERSIDE PKWY              APT 4408                                                     GRAND PRAIRIE        TX   75050‐8771
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Name                     Address1                        Address2                      Address3   Address4         City               State Zip
PATTERSON, LEE ELLIS     2803 RIVERSIDE PKWY APT 4408                                                              GRAND PRAIRIE       TX 75050‐8771
PATTERSON, LENA          4831 PENNSYLVANIA                                                                         DETROIT             MI 48214‐1490
PATTERSON, LENORA J      115 SHELTER ST                                                                            ROCHESTER           NY 14611‐3715
PATTERSON, LEON L        9801 EDMONDSON DR                                                                         DENTON              TX 76207‐6714
PATTERSON, LEONARD       2117 ATWOOD DR                                                                            ANDERSON            IN 46016‐2738
PATTERSON, LEONARD C     661 EAST MEETING ST.                                                                      DANDRIDGE           TN 37725‐5004
PATTERSON, LEONARD C     661 E MEETING ST                                                                          DANDRIDGE           TN 37725‐5004
PATTERSON, LESHAWN D     1697 BOXWOOD DR                                                                           LEWIS CENTER        OH 43035‐7192
PATTERSON, LESLIE J      4194 AUGUSTINE DR                                                                         STERLING HTS        MI 48310‐5007
PATTERSON, LESLIE L      1 NARCISSUS LN LOT 1                                                                      BELTON              MO 64012
PATTERSON, LESLIE T      13300 ATLANTIC BLVD APT 2011                                                              JACKSONVILLE        FL 32225‐6148
PATTERSON, LILLIE K      PO BOX 2241                                                                               ANDERSON            IN 46018‐2241
PATTERSON, LIMUL M       1265 NANCE FORD RD SW                                                                     HARTSELLE           AL 35640‐6337
PATTERSON, LINDA F       114 WACKER DR                                                                             JACKSON             MS 39206‐3951
PATTERSON, LINDA F       1322 WAHINI ST                                                                            TIKI ISLAND         TX 77554‐6197
PATTERSON, LINDA J       13710 HILLINGDALE LN                                                                      HOUSTON             TX 77070
PATTERSON, LINDA M       1031 EMERSON ST APT D                                                                     ROCHESTER           NY 14606
PATTERSON, LISA M        3856 RED ROOT RD                                                                          LAKE ORION          MI 48360‐2624
PATTERSON, LISA R        309 ELVA ST                                                                               ANDERSON            IN 46013
PATTERSON, LOIS M        PO BOX 4315                                                                               PRESCOTT            MI 48756‐4315
PATTERSON, LORENZO       403 GILES AVE                                                                             BLISSFIELD          MI 49228‐1224
PATTERSON, LORETTA H     4935 ITA CT                     APT 210                                                   SWARTZ CREEK        MI 48473‐1369
PATTERSON, LORETTA H     4935 ITA CT APT 210                                                                       SWARTZ CREEK        MI 48473‐1369
PATTERSON, LORRAINE C    481 DALGREEN PL                                                                           HENDERSON           NV 89012‐4525
PATTERSON, LOUISE MANZ   600 EDGEHILL PL                                                                           APOPKA              FL 32703‐8809
PATTERSON, LOUISE MANZ   1010 VINDALE RD                                                                           TAVARES             FL 32778
PATTERSON, LOUISE T      1918 E RIDGE RD                                                                           JACKSON             MS 39272‐9354
PATTERSON, LUCILLE G     PO BOX 6112                                                                               PANAMA CITY         FL 32404‐0112
PATTERSON, LUCILLE J     219 BROOKSIDE DR                                                                          HIDEAWAY            TX 75771‐5047
PATTERSON, LUDIE J       9612 S EUCLID AVE                                                                         CHICAGO              IL 60617‐4726
PATTERSON, LUDIE J       9612 EUCLID ST                                                                            CHICAGO              IL 60617‐4726
PATTERSON, LUERENDA W    2315 W 12TH ST                                                                            ANDERSON            IN 46016‐3016
PATTERSON, LYNN N        637 COLOMA                                                                                COMMERCE TWP        MI 48382‐2733
PATTERSON, M J           1565 E 250 N                                                                              KOKOMO              IN 46901‐8359
PATTERSON, MABEL         19 STANTON                                                                                OXFORD              MI 48371‐4970
PATTERSON, MAGGIE P      801 TWYCKINGHAM LN                                                                        KOKOMO              IN 46901‐1886
PATTERSON, MARCELLOUS    16776 GLASTONBURY RD                                                                      DETROIT             MI 48219‐4136
PATTERSON, MARGARET      PO BOX 26133                                                                              LANSING             MI 48909‐6133
PATTERSON, MARGARET B    MARY SCOTT NURSING CENTRE       3109 CAMPUS DR.                                           DAYTON              OH 45406‐5406
PATTERSON, MARGARET B    3109 CAMPUS DR                  MARY SCOTT NURSING CENTRE                                 DAYTON              OH 45406‐4122
PATTERSON, MARGARET E    36492 RUTHERFORD CT                                                                       FARMINGTON HILLS    MI 48335‐2199
PATTERSON, MARGARET J    2130 W 59TH ST                                                                            INDIANAPOLIS        IN 46228‐1718
PATTERSON, MARGOT L      310 E LYNDON AVE                                                                          FLINT               MI 48505‐5204
PATTERSON, MARIA S       353 INDIANA AVE                                                                           MC DONALD           OH 44437‐1921
PATTERSON, MARIE L       UNIT 209                        18425 NORTHEAST 95TH STREET                               REDMOND             WA 98052‐2945
PATTERSON, MARILYN J     1024 STONE HILL CT                                                                        DANVILLE            KY 40422‐9280
PATTERSON, MARIO L       317 E MAPLE AVE                                                                           ADRIAN              MI 49221‐2247
PATTERSON, MARION L      HC 64 BOX 35                                                                              THAYER              MO 65791‐9504
PATTERSON, MARION L      RT 4 BOX 97                                                                               WATERLOO             IL 62298
PATTERSON, MARJORIE      443 MADISON ST                                                                            BUFFALO             NY 14212‐1043
PATTERSON, MARJORIE      443 MADISON                                                                               BUFFALO             NY 14212‐1043
PATTERSON, MARJORIE H    12399 MEDALIST PKWY                                                                       CARMEL              IN 46033‐8932
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Name                     Address1                         Address2          Address3         Address4         City            State Zip
PATTERSON, MARJORIE J    127 DES MOINES AVE                                                                   ROSCOMMON        MI 48653‐9557
PATTERSON, MARJORIE W    907 CANAL ST                                                                         ANDERSON         IN 46012‐9219
PATTERSON, MARK E
PATTERSON, MARK THOMAS   1256 KRAMERIA STREET                                                                 DENVER          CO   80220‐2715
PATTERSON, MARLENE Y     3177 PRESCOTT DR                                                                     HOWELL          MI   48843‐6975
PATTERSON, MARSHALL L    6589 DALE RD                                                                         NEWFANE         NY   14108‐9737
PATTERSON, MARTHA        1044 NAST CHAPEL RD                                                                  MARTINSVILLE    IN   46151‐9046
PATTERSON, MARTHA J      13364 ELK RIVER MILLS RD                                                             ATHENS          AL   35614‐4625
PATTERSON, MARTHA P      PO BOX 2517                                                                          YOUNGSTOWN      OH   44507‐0517
PATTERSON, MARTIN W      301 N HOLLAND ST                                                                     MUNCIE          IN   47303‐5162
PATTERSON, MARY          92 ROCKLEDGE AVE                                                                     MOUNT VERNON    NY   10550‐4949
PATTERSON, MARY          566 CYNTHIA LN                                                                       FOREST PARK     GA   30297‐2626
PATTERSON, MARY          484 VALENCIA DR                                                                      PONTIAC         MI   48342‐1769
PATTERSON, MARY D        PO BOX 29161                                                                         SHREVEPORT      LA   71149‐9161
PATTERSON, MARY DURDEN   PO BOX 29161                                                                         SHREVEPORT      LA   71149‐9161
PATTERSON, MARY F        2011 E NORTH AVE                                                                     BALTIMORE       MD   21213‐1536
PATTERSON, MARY H        982 CUMBERLAND HEIGHTS RD                                                            CLARKSVILLE     TN   37040‐6901
PATTERSON, MARY R        27877 J B MAGNUSSON DR                                                               TONEY           AL   35773‐8370
PATTERSON, MARY R        3601 GLENCAIRN LN                                                                    INDIANAPOLIS    IN   46205‐2533
PATTERSON, MARY T        7806 ANDOVER WOODS DR APT 304                                                        CHARLOTTE       NC   28210‐6641
PATTERSON, MARY V        23 DRUID CIR                                                                         CROSSVILLE      TN   38558‐7999
PATTERSON, MATTHEW       1501 STATE ST                                                                        CALUMET CITY    IL   60409
PATTERSON, MATTHEW       103 SOUTH DR                                                                         ANDERSON        IN   46013‐4143
PATTERSON, MATTHEW C     28691 PALM BEACH DR                                                                  WARREN          MI   48093‐2629
PATTERSON, MATTHEW L     PO BOX 2184                                                                          ANDERSON        IN   46018‐2184
PATTERSON, MAUREEN       1308 PATTERSON ST                                                                    MC KEESPORT     PA   15132‐5503
PATTERSON, MELANIE K     1700 FOXCROFT DR                                                                     ATHENS          AL   35613
PATTERSON, MELVIN L      303 HIGHLAND DR                                                                      ENGLEWOOD       OH   45322‐2332
PATTERSON, MIA L         462 LISBON AVE                                                                       BUFFALO         NY   14215‐1116
PATTERSON, MIA LADONNA   462 LISBON AVE                                                                       BUFFALO         NY   14215‐1116
PATTERSON, MICHAEL       3732 BEN CREEK CT                                                                    ALEDO           TX   76008‐3607
PATTERSON, MICHAEL C     3717 HAZELHURST DR                                                                   FORT WAYNE      IN   46804‐6215
PATTERSON, MICHAEL C     3732 BEN CREEK CT                                                                    ALEDO           TX   76008‐3607
PATTERSON, MICHAEL D     620 N STONEGATE DR                                                                   ANTIOCH         TN   37013‐1650
PATTERSON, MICHAEL E     818 PIPER RD                                                                         MANSFIELD       OH   44905‐1353
PATTERSON, MICHAEL E     36B VISTA DEL LAGO GRND LK DR.                                                       PORT CLINTON    OH   43452
PATTERSON, MICHAEL E     13905 W COLONIAL DR              # 154                                               WINTER GARDEN   FL   34787
PATTERSON, MICHAEL I     8271 WOODWORTH RD                                                                    OVID            MI   48866‐9408
PATTERSON, MICHAEL L     13840 RATTALEE LAKE RD                                                               DAVISBURG       MI   48350‐1242
PATTERSON, MICHAEL L     414 AUTUMNWOOD DR SW                                                                 DECATUR         AL   35601‐5600
PATTERSON, MICHAEL L     2114 SCRUBGRASS RD                                                                   GROVE CITY      PA   16127‐6620
PATTERSON, MICHAEL R     3221 DAVID DR                                                                        HURST           TX   76054‐2040
PATTERSON, MICHELLE      PO BOX 1523                                                                          SAGINAW         MI   48605‐1523
PATTERSON, MICHIEL W     2702 LOTELA PL                                                                       HOLIDAY         FL   34691‐3234
PATTERSON, MIDDIE        17749 PARKLANE ST                                                                    LIVONIA         MI   48152‐2726
PATTERSON, MIDDIE        17749 PARK LN.                                                                       LIVONIA         MI   48152‐2726
PATTERSON, MONTE O       5402 E CICERO ST                                                                     MESA            AZ   85205‐7332
PATTERSON, MYRTLE M      2885 W CREEK RD                                                                      NEWFANE         NY   14108‐9754
PATTERSON, NANCY         6830 SANDY LN                                                                        WATERFORD       WI   53185‐1872
PATTERSON, NANCY B       1218 GEORGIAN DR                                                                     KETTERING       OH   45429‐5525
PATTERSON, NANCY F       248 RAWSON                                                                           DUNDEE          MI   48131‐1024
PATTERSON, NANCY F       248 RAWSON ST                                                                        DUNDEE          MI   48131‐1024
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Name                      Address1                            Address2                     Address3   Address4         City               State Zip
PATTERSON, NANCY L        729 BAY RD                                                                                   BAY CITY            MI 48706‐1931
PATTERSON, NANCY L        1000 E ASH LN                                                                                EULESS              TX 76039‐4774
PATTERSON, NATHANIEL      534 RAMONA ST                                                                                ROCHESTER           NY 14615‐3232
PATTERSON, NELLIE H       1713 CONTI LN                                                                                KOKOMO              IN 46902‐6172
PATTERSON, NETTIE E       1806 LAWRENCEVILLE HWY                                                                       LAWRENCEVILLE       GA 30044‐4612
PATTERSON, NORMAN R       127 WESTWIND LN                                                                              BUFFALO             NY 14228‐1890
PATTERSON, ODESSA         8535 S DANTE AVE                                                                             CHICAGO              IL 60619‐6513
PATTERSON, ODESSA         8535 SO DANTE AVE                                                                            CHICAGO              IL 60619‐6513
PATTERSON, PAMELA A       267 CALOOSA ESTATES DR                                                                       LABELLE             FL 33935‐9613
PATTERSON, PAMELA J       1913 MCKIBBEN ST                                                                             WABASH              IN 46992
PATTERSON, PAMELA K       9 KILBRANNAN DR                                                                              COLUMBIA            SC 29073
PATTERSON, PATRICIA       PO BOX 3182                                                                                  ANDERSON            IN 46018‐3182
PATTERSON, PATRICIA A     4312 EDGEWOOD BLVD                                                                           SAINT LOUIS         MO 63121‐3225
PATTERSON, PATRICIA A     23059 OLYMPIA DR.                                                                            CLINTON TOWNSHIP    MI 48036
PATTERSON, PATRICIA A.    PO BOX 3182                                                                                  ANDERSON            IN 46018‐3182
PATTERSON, PATRICIA E     5325 CEDAR LAKE RD                                                                           OSCODA              MI 48750‐1522
PATTERSON, PATRICIA W     7313 CARMELITA DR                                                                            DAYTON              OH 45424‐3244
PATTERSON, PATRICK        LUXENBURG & LEVIN LLC               23240 CHAGRIN BLVD STE 601                               BEACHWOOD           OH 44122‐5452
PATTERSON, PATRICK E
PATTERSON, PATRICK J      3950 N SADLIER DR                                                                            INDIANAPOLIS       IN   46226‐5212
PATTERSON, PATRICK M      209 HAVENWOOD LN                                                                             GRAND ISLAND       NY   14072‐1368
PATTERSON, PATSY R        921 HEATHER KNOLL DR                                                                         DESOTO             TX   75115‐4708
PATTERSON, PATTI H        1824 FOREST BEND LN                                                                          KELLER             TX   76248‐5393
PATTERSON, PAUL           869 SUNNYCREEK DR.                                                                           CENTERVILLE        OH   45458‐5458
PATTERSON, PAUL D         1656 SHEFFIELD DR                                                                            YPSILANTI          MI   48198‐3669
PATTERSON, PAUL DOUGLAS   C/O MOODY                           801 WEST FOURTH ST                                       LITTLE ROCK        AR   72201
PATTERSON, PAUL DOUGLAS   1656 SHEFFIELD DR                                                                            YPSILANTI          MI   48198‐3669
PATTERSON, PAUL E         142 W PALMETTO DR                                                                            HARLINGEN          TX   78550‐3890
PATTERSON, PAUL L         1078 YALE AVE                                                                                BOURBONNAIS        IL   60914‐1155
PATTERSON, PAUL V         10741 SE 51ST AVE                                                                            BELLEVIEW          FL   34420‐8301
PATTERSON, PAUL W         PO BOX 35                                                                                    NEWFANE            NY   14108‐0035
PATTERSON, PAULA J        2031 HEMINGWAY LANE                                                                          DAVISON            MI   48423
PATTERSON, PAULINE L      4602 TALBOT PLACE                                                                            SARASOTA           FL   34241‐6147
PATTERSON, PAULINE L      4602 TALBOT PL                                                                               SARASOTA           FL   34241‐6147
PATTERSON, PEARL M        6023 WHITEFIELD                                                                              DEARBORN HEIGHTS   MI   48127‐4814
PATTERSON, PEARL R        6260 GREENWOOD RD APT 308                                                                    SHREVEPORT         LA   71119‐8411
PATTERSON, PEGGY S        702 GARY DRIVE                                                                               JACKSON            MS   39272‐9272
PATTERSON, PEGGY S        702 GARY DR                                                                                  JACKSON            MS   39272‐9731
PATTERSON, PETER G        9480 SPRUCE RUN                                                                              BRIGHTON           MI   48114‐7540
PATTERSON, PHYLLIS        CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                    CLEVELAND          OH   44113‐1328
                          COONE AND ASSOCIATES
PATTERSON, PRATHEL P      1545 MABEL AVE                                                                               FLINT              MI   48506‐3368
PATTERSON, PRESTON T      3856 RED ROOT RD                                                                             LAKE ORION         MI   48360‐2624
PATTERSON, QUENTIN C      1472 SAGE DR                                                                                 BOLINGBROOK        IL   60490‐3217
PATTERSON, RALPH C        144 LUDEN AVE                                                                                MUNROE FALLS       OH   44262‐1408
PATTERSON, RALPH C        623 W JEFFERSON ST                                                                           ALEXANDRIA         IN   46001‐1730
PATTERSON, RALPH E        241 W BURNS LINE RD                                                                          MELVIN             MI   48454‐9751
PATTERSON, RANDALL K      568 LAURELWOOD DRIVE SOUTHEAST                                                               WARREN             OH   44484‐2417
PATTERSON, RAYMOND L      N9406 KRAUSE RD                                                                              ENGADINE           MI   49827‐9558
PATTERSON, RAYMOND M      9460 DAWN CT                                                                                 SAINT LOUIS        MO   63136‐5137
PATTERSON, RELFORD E MD   700 NOTLEY RD                                                                                SILVER SPRING      MD   20904‐6222
PATTERSON, RETA A         8467 HAMBURG RD                                                                              BRIGHTON           MI   48116‐5224
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Name                          Address1                         Address2                         Address3   Address4         City                  State Zip
PATTERSON, RHONDA C           ALVIS & WILLINGHAM               1400 URBAN CENTER DR ‐ STE 475                               BIRMINGHAM             AL 35242
PATTERSON, RICHARD A          103 ROHN RD                                                                                   MOORESVILLE            IN 46158‐8073
PATTERSON, RICHARD C          4923 CENTRAL AVE                                                                              ANDERSON               IN 46013‐4838
PATTERSON, RICHARD D          KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                 CLEVELAND              OH 44114
                                                               BOND COURT BUILDING
PATTERSON, RICHARD D          1304 S 5TH ST                                                                                 SAINT PETER           MN   56082‐1504
PATTERSON, RICHARD L          1009 N HICKORY LN                                                                             KOKOMO                IN   46901‐6420
PATTERSON, RICHARD L          34580 ARDMORE RIDGE RD                                                                        ARDMORE               TN   38449‐3142
PATTERSON, RICHARD L          110 COVINGTON PL                                                                              NEW CASTLE            DE   19720‐8861
PATTERSON, RICHARD L          514 BUCKINGHAM DR                                                                             ANDERSON              IN   46013‐4470
PATTERSON, RICHARD M          7255 DUNBAR RD                                                                                TEMPERANCE            MI   48182‐1418
PATTERSON, RICHARD MCCAULEY   7255 DUNBAR RD                                                                                TEMPERANCE            MI   48182‐1418
PATTERSON, RICHARD T          1627 W 11TH ST                                                                                ANDERSON              IN   46016‐2816
PATTERSON, RICHARD W          6730 EDGEWOOD RD                                                                              CANTON                MI   48187‐1611
PATTERSON, RICHARD W          1900 COOK MILL RD                                                                             NEW MARKET            TN   37820‐5422
PATTERSON, RICKY              34483 PHYLLIS ST                                                                              WAYNE                 MI   48184‐2459
PATTERSON, RITA J             11099 E BUCK RUN RD                                                                           ROCKBRIDGE            OH   43149‐9788
PATTERSON, ROBERT             944 GREYSTONE CT                                                                              MACON                 GA   31204‐1095
PATTERSON, ROBERT             136 CHAMPIONSHIP CT                                                                           FAYETTEVILLE          GA   30215‐8009
PATTERSON, ROBERT             1707 E DOROTHY LANE APT 7                                                                     KETTERING             OH   45429‐3836
PATTERSON, ROBERT A           3119 N PROSPECT RD                                                                            YPSILANTI             MI   48198‐9426
PATTERSON, ROBERT A           1064 VERNIER RD                                                                               GROSSE POINTE WOODS   MI   48236‐1535
PATTERSON, ROBERT B           503 HOLLY STREAM CT                                                                           BREWSTER              NY   10509‐2642
PATTERSON, ROBERT C           3670 SOCORRO DR SW                                                                            GRANDVILLE            MI   49418‐1953
PATTERSON, ROBERT D           1711 S HEMLOCK RD                                                                             MUNCIE                IN   47302‐1958
PATTERSON, ROBERT D           3920 S BRYANT DR                                                                              INDEPENDENCE          MO   64055‐4036
PATTERSON, ROBERT D           1100 PROVIDENCE CT                                                                            ARLINGTON             TX   76015‐3537
PATTERSON, ROBERT E           1485 UPPER MOUNTAIN RD                                                                        LEWISTON              NY   14092‐9738
PATTERSON, ROBERT E           1708 N ROCHESTER AVE                                                                          INDIANAPOLIS          IN   46222‐2536
PATTERSON, ROBERT E           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                    BALTIMORE             MD   21202
                                                               CHARLES CENTER 22ND FLOOR
PATTERSON, ROBERT G           1333 FREEPORT DR                                                                              MEDINA                OH   44256‐4378
PATTERSON, ROBERT H           PO BOX 165                                                                                    SURING                WI   54174‐0165
PATTERSON, ROBERT J           3143 W MEADOW DR                                                                              PHOENIX               AZ   85053‐1847
PATTERSON, ROBERT L           20 BIRCHWOOD DRIVE                                                                            CHEEKTOWAGA           NY   14227‐3206
PATTERSON, ROBERT L           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK               VA   23510‐2212
                                                               STREET, SUITE 600
PATTERSON, ROBERT L           TAYLOR LAW FIRM                  EJ BALL PLAZA ‐ 6TH FLOOR‐ 112                               FAYETTEVILLE          AR 72702
                                                               WEST CENTER ST ‐ PO BOX 3457
PATTERSON, ROBERT P           20740 30 MILE RD                                                                              RAY                   MI   48096‐1900
PATTERSON, ROBERT S           3621 FLEETWOOD DR                                                                             PORTAGE               MI   49024‐5521
PATTERSON, ROBERT T           3674 W 950 S                                                                                  PENDLETON             IN   46064‐9526
PATTERSON, ROBERT T           3052 EAGLE PASS TRL                                                                           DELAND                FL   32724‐8298
PATTERSON, ROBERT W           PO BOX 2125                                                                                   COOKEVILLE            TN   38502‐2125
PATTERSON, ROBIN R            7527 S 400 E                                                                                  MARKLEVILLE           IN   46056‐9752
PATTERSON, RODERICK           KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                     INDEPENDENCE          OH   44131‐2598
PATTERSON, RONALD B           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK               VA   23510‐2212
                                                               STREET, SUITE 600
PATTERSON, RONALD G           89 IMPERIAL DR                                                                                LAKELAND              FL   33815‐3483
PATTERSON, RONALD H           463 BOERNER RD                                                                                MIO                   MI   48647‐9502
PATTERSON, RONALD L           18023 EGO AVE                                                                                 EASTPOINTE            MI   48021‐3203
PATTERSON, RONALD L           3658 E STATE ROAD 236                                                                         ANDERSON              IN   46017‐9713
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Name                     Address1                       Address2                        Address3   Address4         City               State Zip
PATTERSON, RONALD W      362 CREST DR                                                                               GREENWOOD           IN 46142‐7419
PATTERSON, RONALD W      8467 HAMBURG RD                                                                            BRIGHTON            MI 48116‐5224
PATTERSON, RONNIE H      2543 CREEK STATION DR                                                                      BUFORD              GA 30519‐4189
PATTERSON, ROOSEVELT     325 S JENISON AVE                                                                          LANSING             MI 48915‐1129
PATTERSON, ROSA V        PO BOX 151                                                                                 LOCKPORT            NY 14095‐0151
PATTERSON, ROSCOE A      5 ALASKA MOUNTAIN RD                                                                       MEADOW BRIDGE       WV 25976‐9645
PATTERSON, ROSEMARIE F   9060 S CHICAGO CT                                                                          OAK CREEK           WI 53154‐4243
PATTERSON, ROSEMARY M    107 79TH STREET                                                                            HOLMES BEACH        FL 34217‐1051
PATTERSON, ROWENA        525 1/2 RUDDLE AVE                                                                         ANDERSON            IN 46012‐3345
PATTERSON, ROY L         6104 CANTERBURY CT                                                                         PITTSBORO           IN 46167‐9572
PATTERSON, ROY L         301 WOODRUFF LAKE RD                                                                       HIGHLAND            MI 48357‐3566
PATTERSON, ROYAL         107 ELMER AVE                                                                              BUFFALO             NY 14215‐2219
PATTERSON, ROYAL L       3865 CHEVIOT PL                                                                            INDIANAPOLIS        IN 46226‐3026
PATTERSON, RT CO INC     230 3RD AVE                                                                                PITTSBURGH          PA 15222
PATTERSON, RT CO INC     6500 INTERCHANGE RD S                                                                      EVANSVILLE          IN 47715‐8210
PATTERSON, RUBY L        646 LAKESHORE DR                                                                           JACKSON             GA 30233‐6533
PATTERSON, RUBY M        40 BERLIN ST                                                                               ROCHESTER           NY 14621‐4708
PATTERSON, RUBY R        3027 S CENTRAL WAY                                                                         ANDERSON            IN 46011‐4530
PATTERSON, RUDOLPH       1823 HANDLEY ST                                                                            SAGINAW             MI 48602‐3611
PATTERSON, RUDOLPHUS     314 S ANDRE ST APT 4                                                                       SAGINAW             MI 48602‐2563
PATTERSON, RUSSELL G     815 SCENIC LAKE DR                                                                         LAWRENCEVILLE       GA 30045‐8670
PATTERSON, RUTH A        289 ALICE AVE                                                                              BLOOMFIELD          MI 48302‐0505
PATTERSON, RYAN J        2312 MONROE DR                                                                             MCKINNEY            TX 75070‐3030
PATTERSON, RYAN J        3202 S LEATHERWOOD RD                                                                      BEDFORD             IN 47421‐8872
PATTERSON, SADIO         1018 HAZEL PL                                                                              RAHWAY              NJ 07065‐4912
PATTERSON, SAMUEL C      45 HONEYCOMB RD                                                                            BALTIMORE           MD 21220‐3440
PATTERSON, SAMUEL E      145 OAK HILL DR                                                                            MARYVILLE            IL 62062‐6481
PATTERSON, SANDRA        PO BOX 2125                                                                                COOKEVILLE          TN 38502‐2125
PATTERSON, SANDRA        720 N 62D ST. APT. D                                                                       KANSAS CITY         KS 66102
PATTERSON, SANDRA K      4156 HACKBERRY RD                                                                          BRIDGEPORT          MI 48722‐9504
PATTERSON, SANDRA K      9902 HOOVERWOOD RD                                                                         GALENA              OH 43021‐3021
PATTERSON, SANDRA K      121 N WASHINGTON ST APT 516                                                                MARION              IN 46952‐2865
PATTERSON, SANDRA K      9902 HOOVER WOODS RD                                                                       GALENA              OH 43021‐9482
PATTERSON, SANDRA R      1386 CHARLESTON LN                                                                         COLUMBIA            TN 38401‐7344
PATTERSON, SARAH E       817 HOLIDAY DR                                                                             GREENTOWN           IN 46936‐1642
PATTERSON, SARAH J       848 ECHO LN                                                                                KOKOMO              IN 46902‐2601
PATTERSON, SCOTT L       607 GIOTTI CT                                                                              WENTZVILLE          MO 63385‐3837
PATTERSON, SHARON P      2200 JEFFERSON AVE APT 3                                                                   CINCINNATI          OH 45212
PATTERSON, SHAWN P       2811 BRADWAY BLVD                                                                          BLOOMFIELD HILLS    MI 48301‐2709
PATTERSON, SHAWN T       20 GRAY FOX RDG                                                                            NEWARK              DE 19711‐4376
PATTERSON, SHAWNE A      PO BOX 4861                                                                                AUSTINTOWN          OH 44515‐0861
PATTERSON, SHEILA
PATTERSON, SHEILA K      PO BOX 980693                                                                              YPSILANTI          MI   48198‐0693
PATTERSON, SHERRY I      364 CHESTNUT STREET                                                                        DANVILLE           IN   46122‐1780
PATTERSON, SIBONEY       KIMMEL & SILVERMAN PC          1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL        NJ   08003
PATTERSON, STEPHEN L     33224 PALMER RD                                                                            WESTLAND           MI   48186‐4788
PATTERSON, STEVE A       1110 YALE DR                                                                               OXFORD             MI   48371‐5974
PATTERSON, STEVEN        39938 BARBARA ST                                                                           FREMONT            CA   94538‐2902
PATTERSON, STEVEN C      711 HENRY ST                                                                               ANDERSON           IN   46016‐2641
PATTERSON, STEVEN L      SIEGEL MORENO & STETTLER       39938 BARBARA ST                                            FREMONT            CA   94538‐2902
PATTERSON, STEVEN R      DONALDSON & BLACK              208 W WENDOVER AVE                                          GREENSBORO         NC   27401‐1307
PATTERSON, STUART N      197 GRAND VIEW DR                                                                          MAYNARDVILLE       TN   37807‐4216
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Name                        Address1                        Address2                         Address3   Address4         City            State Zip
PATTERSON, SUE A            2122 COATS CV                                                                                AUSTIN           TX 78748‐3407
PATTERSON, SUE A            8101 FOXHOUND TRL                                                                            AUSTIN           TX 78729
PATTERSON, SUSIE            830 MOONPLACE RD                                                                             LAWRENCEVILLE    GA 30244
PATTERSON, SUZANNE I        472 E 600 N                                                                                  ALEXANDRIA       IN 46001
PATTERSON, SUZANNE K        6229 LISMORE CIR                                                                             GRAND BLANC      MI 48439‐2321
PATTERSON, SUZANNE KAY      6229 LISMORE CIR                                                                             GRAND BLANC      MI 48439‐2321
PATTERSON, SYLVESTER        2527 30TH ST                                                                                 TUSCALOOSA       AL 35401‐6536
PATTERSON, SYLVESTER B      9220 MANOR ST                                                                                DETROIT          MI 48204‐2695
PATTERSON, TANYA S          BLACKMON BLACKMON & EVANS       907 W PEACE ST                                               CANTON           MS 39046‐4126
PATTERSON, TEDDY R          2440 OAK DR                                                                                  CLAYTON          IN 46118‐9402
PATTERSON, TEDDY R          37 MOREL COURT                                                                               DANVILLE         IN 46122‐2411
PATTERSON, TERIA L          380 LITTLETON RD                                                                             ATTALLA          AL 35954‐6373
PATTERSON, TERRI            LUXENBURG & LEVIN LLC           23240 CHAGRIN BLVD STE 601                                   BEACHWOOD        OH 44122‐5452
PATTERSON, TERRY C          513 NE SUMMIT DR                                                                             BLUE SPRINGS     MO 64014‐2943
PATTERSON, TERRY L          5021 CHIPPEWA CT                                                                             FORT WAYNE       IN 46804‐4917
PATTERSON, TERRY L          8708 TIMKEN AVE                                                                              WARREN           MI 48089‐1779
PATTERSON, TERRY L          5685 HALL ROAD                                                                               PLAINFIELD       IN 46168‐7606
PATTERSON, TERRY LEE        5021 CHIPPEWA CT                                                                             FORT WAYNE       IN 46804‐4917
PATTERSON, TERRY M          18780 NORWICH RD                                                                             LIVONIA          MI 48152‐3059
PATTERSON, TERRY MATTHEW    18780 NORWICH RD                                                                             LIVONIA          MI 48152‐3059
PATTERSON, TERRY N          4212 SE LEE BLVD                                                                             LAWTON           OK 73501‐6546
PATTERSON, THELMA           5884 HORRELL RD                                                                              TROTWOOD         OH 45426‐2148
PATTERSON, THEODORE         1170 ROBERT T LONGWAY BLVD      C/O FAMILY SERVICE AGENCY                                    FLINT            MI 48503‐1851
PATTERSON, THERESA M        1236 W. NORTHRUP ST                                                                          LANSING          MI 48911‐3645
PATTERSON, THERESA M        1236 W NORTHRUP ST                                                                           LANSING          MI 48911‐3645
PATTERSON, THOMAS           7284 DEERHILL DR                                                                             CLARKSTON        MI 48346‐1232
PATTERSON, THOMAS A         524 BECKHAM ST                                                                               NAPOLEON         OH 43545‐2010
PATTERSON, THOMAS C         24559 VALLEY AVE                                                                             EASTPOINTE       MI 48021‐1051
PATTERSON, THOMAS C         1405 W TAYLOR ST                                                                             KOKOMO           IN 46901‐4291
PATTERSON, THOMAS R         303 HUNTERS HILL RD                                                                          SIMPSONVILLE     SC 29680‐6724
PATTERSON, THOMAS R         25 DEEPWOOD DR                                                                               ROCHESTER        NY 14606‐3660
PATTERSON, TIMOTHY D        9337 STONES FERRY WAY                                                                        INDIANAPOLIS     IN 46278
PATTERSON, TIMOTHY D        9779 BUNCOMB RD                                                                              BETHANY          LA 71007‐9541
PATTERSON, TIMOTHY DWIGHT   9779 BUNCOMB RD                                                                              BETHANY          LA 71007‐9541
PATTERSON, TINA R           118 MERIT CIR                                                                                GADSDEN          AL 35901‐5726
PATTERSON, TONI
PATTERSON, TONI MARIE
PATTERSON, TONI MARIE       ALVIS & WILLINGHAM              1400 URBAN CENTER DR ‐ STE 475                               BIRMINGHAM      AL   35242
PATTERSON, TONIA M          422 S ADAMS ST                                                                               YPSILANTI       MI   48197‐5462
PATTERSON, TRENT M          PO BOX 29237                                                                                 SHREVEPORT      LA   71149‐9237
PATTERSON, TRESSA           1000 BOYNTON DR                                                                              LANSING         MI   48917‐1760
PATTERSON, TRINA D          9337 STONES FERRY WAY                                                                        INDIANAPOLIS    IN   46278
PATTERSON, TROY E           2795 ARROWWOOD TRL                                                                           ANN ARBOR       MI   48105‐1215
PATTERSON, TRUETT H         4520 CHERRY LN                                                                               INDIANAPOLIS    IN   46228‐3038
PATTERSON, TRULEY           2110 E 152ND TER                                                                             OLATHE          KS   66062‐2923
PATTERSON, ULYSSES          PO BOX 151                                                                                   LOCKPORT        NY   14095‐0151
PATTERSON, VALDEOSO         2311 TOD AVE NW                                                                              WARREN          OH   44485‐1919
PATTERSON, VANESSA L        9232 LAKE RD                                                                                 MONTROSE        MI   48457‐9715
PATTERSON, VARNESSA         PO BOX 981021                                                                                YPSILANTI       MI   48198‐1021
PATTERSON, VAUGHN Z         6030 MAPLEVIEW LN                                                                            YPSILANTI       MI   48197‐9479
PATTERSON, VELMA            GUY WILLIAM S                   PO BOX 509                                                   MCCOMB          MS   39649‐0509
PATTERSON, VERNARD          644 VILLA DR 2                                                                               YPSILANTI       MI   48198
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Name                                 Address1                              Address2                       Address3   Address4         City            State Zip
PATTERSON, VERNELL                   12458 S PERRY AVE                                                                                CHICAGO           IL 60628‐7321
PATTERSON, VERNON                    53 GANYARD ST                                                                                    RITTMAN          OH 44270‐1609
PATTERSON, VIOLA M                   3914 MICHIGAN CIR                                                                                SHREVEPORT       LA 71109‐1913
PATTERSON, VIOLA M                   500 PICHFORD RIDGE RD                                                                            SCOTTSVILLE      KY 42614
PATTERSON, VIOLA MARIE               3914 MICHIGAN CIR                                                                                SHREVEPORT       LA 71109‐1913
PATTERSON, VIRGIL L                  1171 DERBY CT                                                                                    GREENWOOD        IN 46143‐7559
PATTERSON, WALTER                    3455 GREEN GABLE RD                                                                              TERRY            MS 39170‐9170
PATTERSON, WALTER                    6030 NW 60TH CT                                                                                  PARKLAND         FL 33067‐4410
PATTERSON, WALTER L                  2119 IRISH RD                                                                                    DUNDEE           MI 48131‐9712
PATTERSON, WAYNE A                   3797 PAYNE RD                                                                                    ATTICA           MI 48412‐9679
PATTERSON, WENDY A                   233 CRANE CIR                                                                                    PIEDMONT         AL 36272‐8045
PATTERSON, WILFORD
PATTERSON, WILLA D                   4025 PINERIDGE DR                                                                                LILBURN         GA    30247‐2324
PATTERSON, WILLIAM                   126 ELAM DR                                                                                      MC CORMICK      SC    29835‐3335
PATTERSON, WILLIAM                   1212 GREENBRIAR DR                                                                               ANDERSON        IN    46012‐4530
PATTERSON, WILLIAM D                 126 ELAM DR                                                                                      MC CORMICK      SC    29835‐3335
PATTERSON, WILLIAM D                 4385 E LAKE RD                                                                                   WILSON          NY    14172‐9753
PATTERSON, WILLIAM E                 1553 CHANDLER AVE                                                                                LINCOLN PARK    MI    48146‐2105
PATTERSON, WILLIAM F                 900 TURNBERRY DRIVE                                                                              RICHMOND        KY    40475‐7880
PATTERSON, WILLIAM F                 1023 N LINCOLN ST                                                                                BAY CITY        MI    48708‐6158
PATTERSON, WILLIAM F                 115 NORTHLAKE DR APT 317B                                                                        ORANGE CITY     FL    32763‐9010
PATTERSON, WILLIAM J                 706 FAWN RIDGE COURT                                                                             SULLIVAN        MO    63080‐1284
PATTERSON, WILLIAM J                 5921 OSAGE AVE                                                                                   DOWNERS GROVE   IL    60516‐2056
PATTERSON, WILLIAM R                 GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH      PA    15219

PATTERSON, WILLIAM R                 7211 PARKRIDGE PKWY                                                                              SWARTZ CREEK    MI    48473‐1583
PATTERSON, WILLIAM R                 PO BOX 408                                                                                       TALKEETNA       AK    99676‐0408
PATTERSON, WILLIAM W                 5205 HIDEAWAY CT                                                                                 ARLINGTON       TX    76017‐3331
PATTERSON, WILLIE                    103 MCDANIEL LN                                                                                  LONDON          KY    40744‐9147
PATTERSON, WILLIE                    103 MCDANIEL LANE                                                                                LONDON          KY    40744‐9147
PATTERSON, WILLIE M                  9100 BESSEMER AVE                                                                                CLEVELAND       OH    44104
PATTERSON, WILLIE M                  4511 WAINWRIGHT AVE                                                                              LANSING         MI    48911‐2663
PATTERSON, WILLIE MAE                4511 WAINWRIGHT AVE                                                                              LANSING         MI    48911‐2663
PATTERSON, WILMA J                   2252 BASELINE RD APT 6                                                                           GRAND ISLAND    NY    14072‐1713
PATTERSON, WILSON D                  P.O. BOX 481                                                                                     LANGLEY         OK    74350‐4350
PATTERSON, WILSON D                  PO BOX 481                                                                                       LANGLEY         OK    74350‐0481
PATTERSON, WINIFRED B                16889 N 200 E                                                                                    SUMMITVILLE     IN    46070‐9140
PATTERSON, WINSTON MARQUES           921 HEATHER KNOLL DR                                                                             DESOTO          TX    75115‐4708
PATTERSON, WON S                     PO BOX 8524                                                                                      WARREN          OH    44484‐0524
PATTERSON, WYNEALIOUS                3889 YORKLAND DR NW APT 10                                                                       COMSTOCK PARK   MI    49321
PATTERSON, WYNEALIOUS                3889 YORKLAND DR                      APT 10                                                     CONSTOCK PARK   MI    49321
PATTERSON, YOSHIE O                  1182 S VENOY RD                                                                                  WESTLAND        MI    48186‐4836
PATTERSON,BRIAN                      1032 ABBEY CT                                                                                    NORTHVILLE      MI    48167‐1057
PATTERSON,CRAIG S                    9212 MINTCREEK CT                                                                                WASHINGTO TWP   OH    45458‐9445
PATTERSON,DWAYNE                     2457 TARPON BAY DR                                                                               MIAMISBURG      OH    45342‐7852
PATTERSON,JAMES O                    728 DENNISON AVE                                                                                 DAYTON          OH    45417‐3221
PATTERSON‐BLAIR, ANGELA M            PO BOX 201791                                                                                    ARLINGTON       TX    76006‐1791
PATTERSON‐BUCK HARDWOOD DIV          BLACKWELL‐CONWAY CO                   14311 W WARREN AVE                                         DEARBORN        MI    48126‐1458
PATTERSON‐CASEY, SILVA A             610 S OUTER DR                                                                                   SAGINAW         MI    48601‐6573
PATTERSON‐UTI DRILLING COMPANY LLC   DAVID CAIN                            4510 LAMESA HIGHWAY                                        SNYDER          TX

PATTERSONS AUTOMOTIVE INC            1605 CIRCLE AVE STE 2                                                                            BLOOMINGTON      IL   61701‐3798
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Name                          Address1                         Address2                      Address3   Address4         City                   State Zip
PATTESON GANT                 302 W SPRING GROVE AVE                                                                     NORTH AUGUSTA           SC 29841‐3739
PATTESON JOHN B JR (429591)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                 VA 23510
                                                               STREET, SUITE 600
PATTESON, DIANA M             240 FRANKLIN AVE                                                                           FRANKFORT              IL 60423‐1223
PATTESON, JOHN B              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                               STREET, SUITE 600
PATTHANACHAROENPHON, OUTHAI   3245 BENDING BROOK DR                                                                      FLUSHING               MI   48433‐3013
PATTI A EAGLIN                1621 PENN RD                                                                               TOLEDO                 OH   43615‐4011
PATTI A HYLAND                279 CHEVY LANE                                                                             CENTERVILLE            OH   45458‐2533
PATTI A LUOMA                 525 SUMMIT AVE APT 2                                                                       NILES                  OH   44446
PATTI AMSHAY                  3384 SHADDICK RD                                                                           WATERFORD              MI   48328‐2559
PATTI BAKKE                   4411 N POLARIS PKWY                                                                        JANESVILLE             WI   53546‐9612
PATTI BLUHM                   16400 BAK RD                                                                               BELLEVILLE             MI   48111‐3521
PATTI BREIDENSTEIN            3428 LONA DR                                                                               FORT WAYNE             IN   46806‐2699
PATTI COLLINS                 2120 LEHIGH PL                                                                             MORAINE                OH   45439‐3014
PATTI COOK                    95 HEIGHTS LN APT 86                                                                       FEASTERVILLE TREVOSE   PA   19053‐7670
PATTI D MOUSSEAU              600 WHARTON ST                                                                             YPSILANTI              MI   48198‐6111
PATTI ENGINEERING SERVICE     2110 E WALTON BLVD STE A                                                                   AUBURN HILLS           MI   48326‐1969
PATTI ESTES                   2308 W 11TH ST                                                                             MUNCIE                 IN   47302‐1651
PATTI GALLAGHER               2006 S VICTORIA DR                                                                         MUNCIE                 IN   47302‐2031
PATTI HOOD                    21404 LOONEY RD                                                                            ATHENS                 AL   35613‐4042
PATTI HUMPHREY                17655 LAKEWOOD AVE                                                                         LAKE MILTON            OH   44429‐9762
PATTI J COLLINS               2120 LEHIGH PL                                                                             DAYTON                 OH   45439
PATTI K ROGERS                991 SOMERSET DR APT 5                                                                      MIAMISBURG             OH   45342‐3296
PATTI K SAVOIE                2025 LORI LN                                                                               HAVRE DE GRACE         MD   21078‐3402
PATTI KLEEVES                 3260 HILLCROFT AVE SW                                                                      WYOMING                MI   49548‐2146
PATTI LAMB                    426 CEDAR CREEK DR                                                                         WHITE LAKE             MI   48383‐2603
PATTI M AMSHAY                3384 SHADDICK RD                                                                           WATERFORD              MI   48328‐2559
PATTI MEADE                   1071 SYLVAN SHORES DR                                                                      SOUTH VIENNA           OH   45369‐8516
PATTI MURPHY                  1766 7 MILE RD                                                                             KAWKAWLIN              MI   48631‐9735
PATTI PATTERSON               1824 FOREST BEND LN                                                                        KELLER                 TX   76248‐5393
PATTI POHLABEL                11141 PUTNAM RD                                                                            ENGLEWOOD              OH   45322‐9765
PATTI POINDEXTER              15315 GRANDVILLE AVE                                                                       DETROIT                MI   48223‐1708
PATTI R BEERCK                1242 CHISOLM TRL                                                                           DAYTON                 OH   45458‐9454
PATTI RICE                    450 GRACE ST                                                                               LAKE ODESSA            MI   48849‐9312
PATTI RICHEY                  2103 ROCKY BRANCH CT                                                                       ARLINGTON              TX   76013‐5244
PATTI RIDNER                  1128 W WALNUT ST                                                                           SAINT CHARLES          MI   48655‐8749
PATTI ROEDEL                  409 BURNS ST                                                                               ESSEXVILLE             MI   48732‐1664
PATTI SADLER                  3504 N WEST RIVER RD                                                                       SANFORD                MI   48657‐9448
PATTI SKOGEN                  10460 N JENNINGS RD                                                                        CLIO                   MI   48420‐1939
PATTI SOWASH
PATTI STANYARD                175 CURTIS DR                                                                              BEAVER FALLS           PA   15010‐1056
PATTI STRONG                  39532 VILLAGE RUN DR                                                                       NORTHVILLE             MI   48168‐3480
PATTI T BERRY                 905 PEPPERWOOD DRIVE                                                                       NEW CARLISLE           OH   45344‐1234
PATTI TAYLOR                  34047 BROOKSHIRE DR                                                                        STERLING HEIGHTS       MI   48312‐5609
PATTI WONTKOWSKI              6318 WESTWOOD ST                                                                           DETROIT                MI   48228‐3929
PATTI, ANGELINE F             614 MONTROSE AVE                                                                           TN. TONAWANDA          NY   14223‐2208
PATTI, ANNMARIE               145 APPLEWOOD DR                                                                           ROCHESTER              NY   14612‐3545
PATTI, CHARLES A              1243 STOWELL DR                                                                            ROCHESTER              NY   14616‐1866
PATTI, JOSEPHINE A            67 WILLET ST                                                                               BLOOMFIELD             NJ   07003‐5129
PATTI, TINO J                 602 STEINHAGEN RD                                                                          WARRENTON              MO   63383‐1113
PATTI, VINCENT                609 MOUNTAIN RD                                                                            FALLSTON               MD   21047‐2831
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Name                           Address1                             Address2                        Address3   Address4             City             State Zip
PATTIE ANDREWS                 12707 BIRWOOD ST                                                                                     DETROIT           MI 48238‐3045
PATTIE B LAYSER                500 TARGHEE TOWNE                                                                                    ALTA              WY 83414
PATTIE BOYD                    14901 PIEDMONT ST                                                                                    DETROIT           MI 48223‐2290
PATTIE BURNS                   18974 CHERRYLAWN ST                                                                                  DETROIT           MI 48221‐2048
PATTIE CLARK                   214 W YORK AVE                                                                                       FLINT             MI 48505‐2095
PATTIE COBBIN                  3914 BROWNELL BLVD                                                                                   FLINT             MI 48504‐3713
PATTIE FLORES                  9210 HIGHCREST DR                                                                                    SHREVEPORT        LA 71118‐2843
PATTIE HARTLEY                 208 SERENITY CIR                                                                                     ANDERSON          IN 46013‐1092
PATTIE HORNE                   1962 SKY FARM AVE                                                                                    VICKSBURG         MS 39183‐2047
PATTIE LAURIE S                PATTIE, JAMES A                      2325 GRANT BUILDING 310 GRANT                                   PITTSBURGH        PA 15219
                                                                    STREET
PATTIE M COBBIN                3914 BROWNELL BLVD                                                                                   FLINT            MI   48504‐3713
PATTIE MURRAY                  819 RALEIGH RD                                                                                       ANDERSON         IN   46012‐2643
PATTIE S STIVER                4250 SODOM HUTCHINGS RD                                                                              CORTLAND         OH   44410‐9790
PATTIE STANLEY                 8474 THETFORD LN                                                                                     WILLIS           MI   48191‐8511
PATTIE STIVER                  4250 SODOM HUTCHINGS RD                                                                              CORTLAND         OH   44410‐9790
PATTIE T HORNE                 1962 SKY FARM AVE                                                                                    VICKSBURG        MS   39180
PATTIE THOMPSON                473 DOWNING DRIVE                                                                                    GREENWOOD        IN   46143‐8435
PATTILLO, EFFIE M              PO BOX 9                                                                                             LAWRENCEVILLE    GA   30046‐0009
PATTILLO, EUEL V               6283 KELLY RD                                                                                        FLUSHING         MI   48433‐9029
PATTILLO, EUEL VINCENT         6283 KELLY RD                                                                                        FLUSHING         MI   48433‐9029
PATTILLO, FRANK E              2676 ELDORADO PL                                                                                     SNELLVILLE       GA   30078‐3306
PATTILLO, JAMES E              2467 RAY RD                                                                                          FENTON           MI   48430‐9761
PATTILLO, JOHN T               2948 LENORA RD                                                                                       SNELLVILLE       GA   30039‐5417
PATTILLO, JOHN W               5971 WARPATH RD                                                                                      FLOWERY BRANCH   GA   30542‐3154
PATTILLO, MARIE R              8606 GALLANT FOX TR.                                                                                 FLUSHING         MI   48433‐8804
PATTINSON I I, FREDRICK C      13044 N JENNINGS RD                                                                                  CLIO             MI   48420‐8884
PATTINSON II, FREDRICK C       13044 N JENNINGS RD                                                                                  CLIO             MI   48420‐8884
PATTINSON, BARBARA A           41703 KIRKWOOD DR                                                                                    NOVI             MI   48377‐1542
PATTINSON, ELSIE               79 HENRY AVE                                                                                         WORMISTER        PA   18974
PATTINSON, JOHN B              313 MIDDLE ST                        APT A                                                           NEW BERN         NC   28560‐4970
PATTINSON, MARY                313 MIDDLE ST                        APT A                                                           NEW BERN         NC   28560‐4970
PATTINSON, THOMAS A            5244 CRAIG AVE NW                                                                                    WARREN           OH   44483‐1238
PATTINSON, VIRGINIA R          5244 CRAIG AVE NW                                                                                    WARREN           OH   44483‐1238
PATTISHALL MCAULIFFE NEWBURY   HILLIARD & GERALDSON                 311 S WACKER DR STE 5000                                        CHICAGO          IL   60606‐6631
PATTISON                       ROBERT CORSETTI                      555 ELLESMERE ROAD                         TORONTO, ON CANADA
PATTISON JIM INDUSTRIES LTD    555 ELLESMERE RD                                                                SCARBOROUGH ON M1R
                                                                                                               4E8 CANADA
PATTISON JIM LEASING           ATT WAYNE PERRY                      1235 73RD AVE S E                          CALGARY AB T2H 2X1
                                                                                                               CANADA
PATTISON SIGN GROUP            DIV OF JIM PATTISON INDUSTRS         555 ELLESMERE RD                           TORONTO CANADA ON
                                                                                                               M1R 4E8 CANADA
PATTISON SIGN GROUP            ATTN: GENERAL COUNSEL                555 ELLESMERE RD                           TORONTO ON M1R 4E8
                                                                                                               CANADA
PATTISON SIGN GROUP
PATTISON SIGN GROUP            410 NORTH CEDAR BLUFF RD,SUITE 101                                                                   KNOXVILLE        TN 37923
PATTISON SIGN GROUP INC
PATTISON, BEATRICE             530 W. BEEECH STREET                 C/O EATON CNTY MED CARE                                         CHERLOTTE        MI   48813
PATTISON, BEATRICE             530 BEECH ST                         C/O EATON CNTY MED CARE                                         CHARLOTTE        MI   48813‐1016
PATTISON, DELBERTA E           2266 PONDBROOKE DRIVE                                                                                HILLSDALE        MI   49242‐9419
PATTISON, DELBERTA E           2266 PONDBROOK DR                                                                                    HILLSDALE        MI   49242‐9419
PATTISON, DONALD R             8474 E ISLAND RD                                                                                     ELSIE            MI   48831‐9714
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Name                       Address1                            Address2                        Address3             Address4             City               State Zip
PATTISON, GREGG A          7774 171ST ST W                                                                                               LAKEVILLE           MN 55044
PATTISON, IRENE            31743 SANKUER DR                                                                                              WARREN              MI 48093‐1709
PATTISON, JAMES L
PATTISON, JIM LTD          555 ELLESMERE RD                                                                         SCARBOROUGH ON M1R
                                                                                                                    4E8 CANADA
PATTISON, JUDITH A         5137 PRINCESS ST                                                                                              DEARBORN HEIGHTS   MI   48125‐1205
PATTISON, MARTY R          6609 S 150 E                                                                                                  JONESBORO          IN   46938‐9630
PATTISON, MARTY RAY        6609 S 150 E                                                                                                  JONESBORO          IN   46938‐9630
PATTISON, MAX E            733 EASTMONT DR                                                                                               GAS CITY           IN   46933‐1537
PATTISON, MICHAEL A        1869 SOMERVILLE DR                                                                                            OXFORD             MI   48371‐5930
PATTISON, MICHAEL ALLEN    1869 SOMERVILLE DR                                                                                            OXFORD             MI   48371‐5930
PATTISON, NEIL B           4495 N COUNTY ROAD 1000 E                                                                                     BROWNSBURG         IN   46112‐9376
PATTISON, PATRICK B        14055 ARCHWOOD ST                                                                                             VAN NUYS           CA   91405‐4822
PATTISON, ROBERT J         G 1163 W BRISTOL RD                                                                                           FLINT              MI   48507
PATTISON, ROBERT JAMES     G 1163 W BRISTOL RD                                                                                           FLINT              MI   48507
PATTISON, ROBERT L         3399 VERA LN                                                                                                  PERRY              FL   32347‐1106
PATTISON, ROBERT W         3166 CORNER OAK DR                                                                                            NORCROSS           GA   30071‐1511
PATTISON, ROBERT WILLIAM   3166 CORNER OAK DR                                                                                            NORCROSS           GA   30071‐1511
PATTITONI, ANTHONY P       54714 DARBY ST                                                                                                CHESTERFIELD       MI   48051‐3917
PATTITONI, ANTHONY PAUL    54714 DARBY ST                                                                                                CHESTERFIELD       MI   48051‐3917
PATTMAN, ARTHUR L          PO BOX 721                                                                                                    COMMERCE           GA   30529‐0014
PATTMAN, BARBARA JEAN      APT 2314                            555 BRUSH STREET                                                          DETROIT            MI   48226‐4356
PATTMAN, BETTY J           6 RUDDER CT                                                                                                   LAKE SAINT LOUIS   MO   63367
PATTMAN, HARRISON          429 CLOVER MILL DR                                                                                            JEFFERSON          GA   30549‐7618
PATTMAN, JAMES T           3210 SOUTHRIDGE                                                                                               STOCKBRIDGE        GA   30281‐5665
PATTMAN, KERRY G           53 WOODBINE ST                                                                                                COMMERCE           GA   30529‐1429
PATTMAN, VIRGIL T          15015 GLASTONBURY AVE                                                                                         DETROIT            MI   48223‐2208
PATTOK, ERIC D             12400 E TUSCOLA RD                                                                                            FRANKENMUTH        MI   48734‐9588
PATTOK, IRENE              4000 REDBUSH DR SW                                                                                            GRANDVILLE         MI   49418‐3041
PATTOK, KATHRYN L          12400 E TUSCOLA RD                                                                                            FRANKENMUTH        MI   48734‐9588
PATTON & COMPANY LLC       818 CONNECTICUT AVE NW STE 1100                                                                               WASHINGTON         DC   20006‐2702
PATTON ANDREW              3216 REDBUD RD                                                                                                MEMPHIS            TN   38109‐2822
PATTON BARRY L             MICHIGAN CORVETTE RECYCLERS         11995 US 223                                                              RIGA               MI   49276
PATTON BOBBY SR (490914)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD         OH   44067
                                                               PROFESSIONAL BLDG
PATTON BOGGS LLP           ONE RIVERFRONT PLAZA                                                                                          NEWARK             NJ 07102
PATTON BOGGS LLP           2550 M ST NW                                                                                                  WASHINGTON         DC 20037‐1309
PATTON BOGGS LLP           ATTY FOR UNOFFICIAL COMMITTEE OF    ATTN: JAMES C. CHADWICK         1185 AVENUE OF THE   30TH FLOOR           NEW YORK           NY 10036
                           FAMILY & DISSIDENT GM BONDHOLDERS                                   AMERICAS

PATTON CAKE ERNAL          PATTON CAKE, ERNAL                  4006 FLEMING RD                                                           FLINT              MI   48504‐2183
PATTON CAKE, ERNAL         4006 FLEMING RD                                                                                               FLINT              MI   48504‐2183
PATTON CHRIS               PO BOX 29                                                                                                     EUTAW              AL   35462‐0029
PATTON CONNIE              PATTON, CONNIE                      93 MATILDA BR                                                             HUEYSVILLE         KY   41640‐6649
PATTON DANNY               PATTON, DANNY                       1023 WAMPLER BR                                                           GREENUP            KY   41144‐8890
PATTON DARRYL              2894 SANTIAGO DR                                                                                              FLORISSANT         MO   63033
PATTON DICK                5025 NOCHE BELLA LOOP                                                                                         LAS CRUCES         NM   88011‐2505
PATTON DUANA               5440 STATE ROUTE 19                                                                                           GALION             OH   44833‐8901
PATTON HALTOM ROBERTS      MCWILLIAMS & GREER                  PO BOX 1928                                                               TEXARKANA          TX   75504‐1928
PATTON I I I, JOHN K       PO BOX 61                                                                                                     SWARTZ CREEK       MI   48473‐0061
PATTON III, JOHN KENNETH   PO BOX 61                                                                                                     SWARTZ CREEK       MI   48473‐0061
PATTON JACKIE J (644871)   OBRIEN LAW FIRM                     1 METROPOLITAN SQ STE 1500                                                SAINT LOUIS        MO   63102‐2799
                              09-50026-mg              Doc 7123-30 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                          Address1                          Address2                        Address3   Address4         City                 State Zip
PATTON JENNIFER               13793 WHISPERING PINES DR                                                                     OLIVE BRANCH          MS 38654‐8655
PATTON JR, ALTHA H            15048 FREELAND ST                                                                             DETROIT               MI 48227‐2909
PATTON JR, B T                2920 MOORE AVE                                                                                TUPELO                MS 38801‐9065
PATTON JR, G T                4211 MISTY MORNING WAY APT 2513                                                               GAINESVILLE           GA 30506‐4356
PATTON JR, JESSE F            24652 TEMPLAR AVE                                                                             SOUTHFIELD            MI 48075‐6935
PATTON JR, JOHN K             641 E BALTIMORE BLVD                                                                          FLINT                 MI 48505‐6404
PATTON JR, JOHN S             1808 E 22ND ST                                                                                MUNCIE                IN 47302‐5464
PATTON JR, SAM                147 MARINE DR APT 3D                                                                          BUFFALO               NY 14202‐4211
PATTON JR, WILLIAM B          3523 BROWN ST                                                                                 ANDERSON              IN 46013‐4223
PATTON JR, WILLIE             929 POST ST                                                                                   SAGINAW               MI 48602‐2900
PATTON MARY T (626703)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510
                                                                STREET, SUITE 600
PATTON MICHAEL                PATTON, BRENDA                    102 WOODMONT BLVD STE 200                                   NASHVILLE            TN   37205‐2216
PATTON MICHAEL                PATTON, MICHAEL                   102 WOODMONT BLVD STE 200                                   NASHVILLE            TN   37205‐2216
PATTON MICHAEL SR & JANET     4325 HOLLOW TREE CT                                                                           YORBA LINDA          CA   92886‐2790
PATTON ORLEN (491272)         BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH   44067
                                                                PROFESSIONAL BLDG
PATTON RALPH D (439393)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510
                                                                STREET, SUITE 600
PATTON RENEE                  19433 ELM DR                                                                                  COUNTRY CLUB HILLS   IL 60478‐5855
PATTON RICHARD                2222 NORTH 23RD STREET                                                                        LAFAYETTE            IN 47904‐1513
PATTON RICHARD LEE (429592)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510
                                                                STREET, SUITE 600
PATTON VIRGIL (459247)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510
                                                                STREET, SUITE 600
PATTON'S AUTO & TIRE          10200 CHESTER RD                                                                              CHESTER              VA   23831‐1109
PATTON, ALICE A               4656 E BEND LN                                                                                NEWAYGO              MI   49337‐7027
PATTON, ALICIA C              633 NE 15TH ST                                                                                OKLAHOMA CITY        OK   73104‐4624
PATTON, ALONZO                5020 ROCKLAND DR                                                                              DAYTON               OH   45406‐1239
PATTON, ANNIE M               108 SHORT TARVIN ST.                                                                          CLINTON              MS   39056‐3338
PATTON, ANTOINETTE C          40 JAMES AVE                                                                                  OLD BRIDGE           NJ   08857‐1241
PATTON, ASA                   PO BOX 774                                                                                    CLAY CITY            KY   40312‐0774
PATTON, AUGUSTINE O           806 W INDIANOLA AVE                                                                           YOUNGSTOWN           OH   44511‐2309
PATTON, B                     RT 2 BOX 34                                                                                   TELLICO PLAIN        TN   37385
PATTON, BARBARA A             APT A                             547 JUANA AVENUE                                            SAN LEANDRO          CA   94577‐5049
PATTON, BARRY D               600 AUBUCHON RD                                                                               TROY                 MO   63379‐4312
PATTON, BETTY J               1910 DEERWOOD DR                                                                              DANVILLE             IL   61832‐3509
PATTON, BETTY R               860 ROBERTS CT                                                                                CARLISLE             OH   45005‐3721
PATTON, BETTY R               860 ROBERTS COURT                                                                             CARLISLE             OH   45005‐5005
PATTON, BETTYE R              1934 KENSINGTON DR                                                                            DAYTON               OH   45406‐3801
PATTON, BEVERLY A             P.O BOX 152                                                                                   PRESCOTT             MI   48756‐0152
PATTON, BEVERLY A             PO BOX 152                                                                                    PRESCOTT             MI   48756‐0152
PATTON, BILLY J               2215 E 68TH TERR                                                                              KANSAS CITY          MO   64132‐2923
PATTON, BILLY JOE             LEVY RAM & OLSON                  555 MONTGOMERY ST STE 820                                   SAN FRANCISCO        CA   94111‐2560
PATTON, BILLY R               4031 CLEVELAND RD                                                                             OAKDALE              IL   62268‐2109
PATTON, BRENDA                KAHN & ASSOCIATES LLC             55 PUBLIC SQ STE 650                                        CLEVELAND            OH   44113‐1909
PATTON, BRENDA                25255 S CHICAGO RD                                                                            ELWOOD               IL   60421
PATTON, BRYAN R               270 NUTMEG DR                                                                                 DIMONDALE            MI   48821‐9554
PATTON, BRYAN W               2800 MARTIN LUTHER KING BLVD E                                                                SAGINAW              MI   48601‐7448
PATTON, CARL L                815 RIVERBANK ST                                                                              WYANDOTTE            MI   48192‐2673
PATTON, CARLIN J              11310 MINDEN ST                                                                               DETROIT              MI   48205‐4719
PATTON, CAROLYN               2500 WATERSIDE DRIVE              UNITE#113                                                   FREDERICK            MD   21701
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Name                  Address1                        Address2                   Address3   Address4         City               State Zip
PATTON, CAROLYN A     1175 MONROE AVE.                ARBOR HILL LIVING CENTER                               ROCHESTER           NY 14620‐1613
PATTON, CHARLES A     707 TRAVERS AVE                                                                        CHICAGO HTS          IL 60411‐1920
PATTON, CHARLES E     3464 COOK RD                                                                           MEMPHIS             TN 38109‐3403
PATTON, CHARLES E     1180 MILLER COUNTY 30                                                                  DODDRIDGE           AR 71834‐1485
PATTON, CHARLES J     4766 BRAMBLEWOOD CT                                                                    COLUMBUS            OH 43228‐3367
PATTON, CHARLES L     18525 HARVARD AVE                                                                      CLEVELAND           OH 44122‐6841
PATTON, CHARLES N     5683 S BECK RD                                                                         CANTON              MI 48188‐2200
PATTON, CHERYL A      16894 COYLE ST                                                                         DETROIT             MI 48235‐3713
PATTON, CHRISTOPHER
PATTON, CONNIE        86 MATILDA BR                                                                          HUEYSVILLE         KY   41640
PATTON, CONNIE R      14 MORGAN DR                                                                           EDISON             NJ   08817‐3520
PATTON, CONNIE R      14 MORGAN DRIVE                                                                        EDISON             NJ   08817‐3520
PATTON, CORRIE D      23290 HALSTED RD APT 210                                                               FARMINGTON HILLS   MI   48335‐3769
PATTON, CRAIG S       1 TERRY CT                                                                             FLORISSANT         MO   63031‐6340
PATTON, CURTIS E      385 SHADY PINES ST                                                                     MEMPHIS            TN   38120‐1548
PATTON, DANNIE G      1125 NADINE LN                                                                         GRAND PRAIRIE      TX   75052‐2340
PATTON, DANNY         1023 WAMPLER BR                                                                        GREENUP            KY   41144‐8890
PATTON, DAVID A       2406 DEER RUN                                                                          RAVENNA            OH   44266‐8237
PATTON, DAVID R       1571 GURNEYVILLE RD APT D                                                              WILMINGTON         OH   45177‐9033
PATTON, DAVID W       PO BOX 50643                                                                           BOWLING GREEN      KY   42102‐3843
PATTON, DEBRA E       1015 BECKINGHAM DR                                                                     ST AUGUSTINE       FL   32092‐5046
PATTON, DENNIS A      4880 W GALE RD                                                                         SMITHVILLE         MO   64089‐8322
PATTON, DENNIS L      602 TREES DR                                                                           CEDAR HILL         TX   75104‐5081
PATTON, DENNIS L.     602 TREES DR                                                                           CEDAR HILL         TX   75104‐5081
PATTON, DOROTHY L     1426 DUNFRIES ST                                                                       FLOSSMOOR          IL   60422
PATTON, DOROTHY M     22546 LONGACRE APT D                                                                   FARMINGTON HILLS   MI   48335
PATTON, DWIGHT        10304 FAWN MEADOW CT                                                                   FORT WORTH         TX   76140‐5594
PATTON, DWIGHT L      7687 STATE ROAD 54 W                                                                   SPRINGVILLE        IN   47462‐5154
PATTON, DWIGHT LEE    7687 STATE ROAD 54 W                                                                   SPRINGVILLE        IN   47462‐5154
PATTON, EDNA M        3305 SHEFFIELD RD                                                                      DAYTON             OH   45449‐2754
PATTON, EDNA P        37 RHODE ISLAND STREET                                                                 HIGHLAND PARK      MI   48203
PATTON, EDWARD L      722 FAUROT AVE                                                                         LIMA               OH   45801‐4626
PATTON, EDWARD L      9900 ROOSTER RD                                                                        OKLAHOMA CITY      OK   73165‐9222
PATTON, EDWARD L.     APT C104                        10857 SHARONDALE ROAD                                  CINCINNATI         OH   45241‐2858
PATTON, ELLA J        514 E 12TH ST                                                                          FLINT              MI   48503‐4089
PATTON, ELSIE M       7779 W 3RD ST                                                                          DAYTON             OH   45427‐1441
PATTON, ELSIE M       7779 W THIRD STREET                                                                    DAYTON             OH   45427‐1441
PATTON, EMMA L        93 BARBARA PL                                                                          CHEEKTOWAGA        NY   14225‐2830
PATTON, EMMETT L      25098 US HIGHWAY 431                                                                   FIVE POINTS        AL   36855‐2126
PATTON, EMMIT L       1645 BONEYVILLE RD                                                                     STANFORD           KY   40484‐9479
PATTON, ESTELLE       15900 MOYER RD                                                                         GERMANTOWN         OH   45327‐9745
PATTON, ESTELLE       15900 MOYER RD.                                                                        GERMANTOWN         OH   45327‐9745
PATTON, ESTHER L      8004 STILLWELL RD                                                                      CINCINNATI         OH   45237‐1116
PATTON, ETHEL M       929 POST ST                                                                            SAGINAW            MI   48602
PATTON, EVA           515 WEST PROSPECT AVE                                                                  HARRISON           AR   72601
PATTON, FLOSSIE       345 N UPLAND AVE                                                                       DAYTON             OH   45417‐1661
PATTON, FLOSSIE       345 NORTH UPLAND AVE                                                                   DAYTON             OH   45417‐1661
PATTON, FRANCES O     48610 WILLIS RD                                                                        BELLEVILLE         MI   48111‐9388
PATTON, FRANK         6875 COCONUT GROVE CIR                                                                 ELLENTON           FL   34222‐4340
PATTON, FRANK R       17 GINA DR                                                                             WASHINGTON         PA   15301‐9534
PATTON, FRED N        PO BOX 762                                                                             BEDFORD            IN   47421‐0762
PATTON, G. L          7706 DAYTON GERMANTOWN PIKE                                                            GERMANTOWN         OH   45327‐9501
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Name                   Address1                        Address2                       Address3   Address4         City                State Zip
PATTON, GARTHA L       5114 UNDERWOOD ST                                                                          DETROIT              MI 48204‐4808
PATTON, GARY M         1865 ALOIS AVE                                                                             O FALLON             MO 63366‐1043
PATTON, GAVEN J        198 DOE DR                                                                                 TEMPLE               GA 30179‐4555
PATTON, GEORGE B       19636 AVENUE OF THE OAKS                                                                   SANTA CLARITA        CA 91321‐1309
PATTON, GEORGE K       109 WYKOFF BLVD                                                                            HOUGHTON LAKE        MI 48629‐9334
PATTON, GERALD L       3837 TIDEWATER RD                                                                          NEW PORT RICHEY      FL 34655‐2927
PATTON, GERALDINE M    11 TERRY LN                                                                                E BRUNSWICK          NJ 08816‐3744
PATTON, GILBERT P      178 MILL RUN RD                 LOT 1                                                      WAVERLY              OH 45690‐8970
PATTON, GLENN R        900 S BUCKINGHAM RD                                                                        YORKTOWN             IN 47396‐9356
PATTON, GUY F          5111 GALAXY DR                                                                             SHELBY TOWNSHIP      MI 48316‐2317
PATTON, HAROLD W       709 TRUMBULL DR.                                                                           NILES                OH 44446‐2123
PATTON, HARRY E        4450 TURNER AVE                                                                            OAKLAND              CA 94605‐5543
PATTON, HARRY P        1012 CIRCLE DR                                                                             JAMESTOWN            TN 38556‐5512
PATTON, HAZEL          744 CLAIR                                                                                  INKSTER              MI 48141‐1002
PATTON, HEBER RENO     12501 ELMS ROAD                                                                            BIRCH RUN            MI 48415‐8768
PATTON, HELEN          900 S BUCKINGHAM RD                                                                        YORKTOWN             IN 47396
PATTON, HELEN L        8430 WHITEHORN ST                                                                          ROMULUS              MI 48174‐4108
PATTON, HOWARD F       PO BOX 191                                                                                 DAYTON               OH 45417
PATTON, IRMA A         13390 TREE DRIVE NORTHWEST                                                                 PALMYRA              IN 47164‐8029
PATTON, IRMA A         13390 TREE DR NW                                                                           PALMYRA              IN 47164‐8029
PATTON, J. B           1506 BRIARWOOD BLVD                                                                        ARLINGTON            TX 76013‐3411
PATTON, JACKOLYN J     4351 FARNUM ST                                                                             INKSTER              MI 48141‐2765
PATTON, JACQUELINE     5109 FLAME WAY                                                                             INDIANAPOLIS         IN 46254‐5962
PATTON, JAMES          POWER & ASSOCIATES              1790 WILMINGTON PIKE STE 200                               GLEN MILLS           PA 19342‐8121
PATTON, JAMES A        10446 CANFIELD DR                                                                          SAINT LOUIS          MO 63136‐5736
PATTON, JAMES E        725 S WOLFE ST                                                                             MUNCIE               IN 47302‐2639
PATTON, JAMES E        1430 TENNYSON AVE                                                                          DAYTON               OH 45406‐4259
PATTON, JAMES EDDIE    725 S WOLFE ST                                                                             MUNCIE               IN 47302‐2639
PATTON, JAMES N        PO BOX 68                                                                                  TOWNLEY              AL 35587‐0068
PATTON, JAMES O        9350 S 82ND AVE                                                                            HICKORY HILLS         IL 60457‐1912
PATTON, JAMES P        7276 CREEKSIDE CT                                                                          RAVENNA              OH 44266‐8942
PATTON, JAMES R        510 KENMORE AVE                                                                            YOUNGSTOWN           OH 44511‐1520
PATTON, JAMES R        681 HILLSIDE DR                                                                            GRAYSON              GA 30017‐1024
PATTON, JAMES R        105 HELTONVILLE RD W                                                                       BEDFORD              IN 47421‐9384
PATTON, JAMES T        1370 BELLEVIEW DR                                                                          IONIA                MI 48846
PATTON, JEFFERY D
PATTON, JERRY D        5508 BARTON LN                                                                             SHAWNEE             KS   66203‐2246
PATTON, JESSIE         PO BOX 1183                                                                                NEW BRUNSWICK       NJ   08903‐1183
PATTON, JIM E          129 PEONY CT                                                                               FREMONT             CA   94538‐2425
PATTON, JIMMIE W       921 WAMPLER BRANCH RD                                                                      GREENUP             KY   41144
PATTON, JO A           3509 LLANO TRL                                                                             ARLINGTON           TX   76015‐3686
PATTON, JO ANN         3509 LLANO TRL                                                                             ARLINGTON           TX   76015‐3686
PATTON, JOE P          1500 SW 11TH ST                                                                            BLUE SPRINGS        MO   64015‐5463
PATTON, JOHN A         2791 FAIRFAX LN                                                                            LAKE IN THE HILLS   IL   60156
PATTON, JOHN L         2473 WARM SPRINGS DR            DR                                                         HILLIARD            OH   43026‐6912
PATTON, JOHN S         1801 E 22ND ST                                                                             MUNCIE              IN   47302‐5465
PATTON, JOHN S         3257 HAMPSHIRE PIKE                                                                        MT PLEASANT         TN   38474‐3039
PATTON, JOHN S         RR1                                                                                        WAVELAND            IN   47989
PATTON, JOHN STANTON   1801 E 22ND ST                                                                             MUNCIE              IN   47302‐5465
PATTON, JOHNATHAN D    1423 S FRANKLIN ST                                                                         MUNCIE              IN   47302
PATTON, JOHNNIE        PORTER & MALOUF PA              4670 MCWILLIE DR                                           JACKSON             MS   39206‐5621
PATTON, JORETHA S      140 PATTON DR                                                                              CLINTON             MS   39056‐3060
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Name                  Address1                              Address2                       Address3   Address4         City            State Zip
PATTON, JOSEPH        120 VAN LIEU ST                                                                                  CHARLOTTE        MI 48813‐1322
PATTON, JOSEPH F      1847 BRENTWOOD POINTE                                                                            FRANKLIN         TN 37067‐6419
PATTON, JUDY          PO BOX 113                                                                                       WARREN           MI 48090‐0113
PATTON, KATHERINE B   388 PUCKETT TERRACE                   SW                                                         LILBURN          GA 30047‐4051
PATTON, KATHERINE K   2416 COUNTRY CLUB LN                                                                             KOKOMO           IN 46902
PATTON, KATHLEEN Y    1645 BONNEYVILLE RD                                                                              STANFORD         KY 40484‐9479
PATTON, KATHLEEN Y    1645 BONEYVILLE RD                                                                               STANFORD         KY 40484‐9479
PATTON, KENNETH J     324 E BROOKS ST                                                                                  HOWELL           MI 48843‐2310
PATTON, KEVIN B       2111 WYANDOTTE AVE                                                                               LAKEWOOD         OH 44107‐6148
PATTON, KEVIN B.      2111 WYANDOTTE AVE                                                                               LAKEWOOD         OH 44107‐6148
PATTON, KEVIN E       346 GLENSFORD CT                                                                                 CINCINNATI       OH 45246‐2376
PATTON, KYRA D        6525 SANTA ANA LN                                                                                INDIANAPOLIS     IN 46214‐3389
PATTON, KYRA DENCE    6525 SANTA ANA LN                                                                                INDIANAPOLIS     IN 46214‐3389
PATTON, LARRY G       547 JUANA AVE APT A                                                                              SAN LEANDRO      CA 94577‐5049
PATTON, LEMUEL T      2806 CAPEHART DR                                                                                 SAGINAW          MI 48601‐4560
PATTON, LEROY         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH       PA 15219

PATTON, LEWIS H       2113 CASTLE LN                                                                                   FLINT           MI   48504‐2026
PATTON, LINCOLN       8021 S MANISTEE AVE                                                                              CHICAGO         IL   60617‐1330
PATTON, LINDA F       2109 E 4TH ST                                                                                    ROYAL OAK       MI   48067‐3921
PATTON, LONA A        1115 BIRDWELL LN                                                                                 WASKOM          TX   75692‐9407
PATTON, LORETTA G     2668 GROVENBURG RD                                                                               LANSING         MI   48911‐6400
PATTON, MARJORY J     1515 FOLEY AVE                                                                                   YPSILANTI       MI   48198‐6500
PATTON, MARK L        1009 PERKINS LN                                                                                  FRANKLIN        TN   37069‐4735
PATTON, MARY          PO BOX 237                                                                                       CAMPTON         KY   41301‐0237
PATTON, MARY E        223 S EDITH ST                                                                                   PONTIAC         MI   48342‐3228
PATTON, MARY T        1437 E 16TH ST                                                                                   WHITE CLOUD     MI   49349
PATTON, MARY T        GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
PATTON, MAVERICK T    4723 S MIDDLEBELT RD D                                                                           WESTLAND        MI   48186
PATTON, MELVIN T      19335 SAINT MARYS ST                                                                             DETROIT         MI   48235‐2324
PATTON, MERRIL W      5016 ANGELITA AVE.                                                                               HUBER HEIGHTS   OH   45424‐2705
PATTON, MICHAEL       KAHN & ASSOCIATES LLC                 55 PUBLIC SQ STE 650                                       CLEVELAND       OH   44113‐1909
PATTON, MICHAEL J     4105 PLEASANTVIEW DR                                                                             SAGINAW         MI   48603‐9659
PATTON, MILDRED       118 HALLER AVE                                                                                   BUFFALO         NY   14211‐2704
PATTON, MILDRED J     1012 CIRCLE DRIVE                                                                                JAMESTOWN       TN   38556‐5512
PATTON, MISTY J       1313 WILSON DR                                                                                   GADSDEN         AL   35904‐1257
PATTON, MONROE        20621 HAZELWOOD AVE                                                                              STRONGSVILLE    OH   44149‐2308
PATTON, NORMA W       109 WYKOFF DRIVE                                                                                 HOUGHTON LAKE   MI   48629‐9334
PATTON, NORMAN E      4895 FILER ST                                                                                    WATERFORD       MI   48328‐2844
PATTON, NORMAN G      9329 E BEECH CIR                                                                                 INVERNESS       FL   34450‐2807
PATTON, ORLEN A       41978 ADELBERT ST                                                                                ELYRIA          OH   44035‐2510
PATTON, PATRICK K     PO BOX 42                                                                                        MULLIKEN        MI   48861‐0042
PATTON, PATSY         1344 LAFAYETTE DR                                                                                OKLAHOMA CITY   OK   73119‐5033
PATTON, PAUL A        PO BOX 126                                                                                       TROY            MO   63379‐0126
PATTON, PAUL L        7125 CAPRI ST                                                                                    PORTAGE         MI   49002‐9414
PATTON, PAUL R        1612 HUNTCLIFFE CT                                                                               TEMPERANCE      MI   48182‐9228
PATTON, PAUL RONNIE   1612 HUNTCLIFFE CT                                                                               TEMPERANCE      MI   48182‐9228
PATTON, RALPH D       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
PATTON, RAY M         413 14TH ST APT 5                                                                                HUNTINGTON      WV 25701‐2446
PATTON, REX A         PO BOX 3                              11 BROADWAY                                                ORESTES         IN 46063‐0003
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Name                            Address1                         Address2                      Address3   Address4         City            State Zip
PATTON, REX ALLAN               PO BOX 3                         11 BROADWAY                                               ORESTES          IN 46063‐0003
PATTON, RICHARD A               PO BOX 958266                                                                              DULUTH           GA 30095‐9539
PATTON, RICHARD LEE             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                 STREET, SUITE 600
PATTON, ROBBIN R                2520 THORN CREEK ST SE                                                                     GRAND RAPIDS    MI   49508‐5218
PATTON, ROBERT F                287 OAK RIDGE DR                                                                           PONTIAC         MI   48341‐3611
PATTON, ROBERT G                2220 MAIN ST                                                                               ANDERSON        IN   46016‐4371
PATTON, ROBERT W                2416 COUNTRY CLUB LN                                                                       KOKOMO          IN   46902
PATTON, ROBERTA J.              3160 SW 95TH PLACE                                                                         OCALA           FL   34476‐7456
PATTON, RODGER L                31316 LYONS CIR E                                                                          WARREN          MI   48092‐4410
PATTON, ROHMA                   4031 CLEVELAND RD                                                                          OAKDALE         IL   62268
PATTON, RONALD                  2118 VOLNEY RD                                                                             YOUNGSTOWN      OH   44511‐1435
PATTON, RONALD E                1028 CEDAR GLEN SOUTH DR                                                                   PLAINFIELD      IN   46168‐9203
PATTON, RONALD K                1852 CLARION AVE                                                                           CINCINNATI      OH   45207
PATTON, RONNIE L                1112 TEPEE DR                                                                              KOKOMO          IN   46902‐5459
PATTON, ROOSEVELT               27805 ARLINGTON DR                                                                         SOUTHFIELD      MI   48076‐5606
PATTON, RUTH                    11 E GAYLORD AVE                                                                           SHELBY          OH   44875‐1603
PATTON, RUTH                    11 GAYLORD EAST                                                                            SHELBY          OH   44875‐1603
PATTON, SAMUEL B                7380 RORY ST                                                                               GRAND BLANC     MI   48439‐9349
PATTON, SANDRA S                1219 N WITTFIELD ST                                                                        INDIANAPOLIS    IN   46229‐2338
PATTON, SARAH E                 9725 MEDFORD DR                                                                            SAINT LOUIS     MO   63136‐1941
PATTON, SHANIKA D               664 FOX PLAINS DRIVE                                                                       FLORISSANT      MO   63034‐2124
PATTON, SHARON D                6359 CATTLEMAN CT                                                                          JACKSONVILLE    FL   32218‐7370
PATTON, SHARON DENISE           6359 CATTLEMAN CT                                                                          JACKSONVILLE    FL   32218‐7370
PATTON, SHARON J                3338 WEATHERED ROCK CIR                                                                    KOKOMO          IN   46902‐6066
PATTON, SHERITHA A              3204 N LINDA LAYNE                                                                         MUNCIE          IN   47303‐2056
PATTON, SHERITHA ANETT          3204 N LINDA LAYNE                                                                         MUNCIE          IN   47303‐2056
PATTON, SHIRLEY A               312 L ST                                                                                   BEDFORD         IN   47421‐1810
PATTON, SHIRLEY A               312 L STREET                                                                               BEDFORD         IN   47421‐1810
PATTON, STEPHANIE               1121 LOCHHEAD AVE                                                                          FLINT           MI   48507‐2803
PATTON, STEVE B                 3415 WILLET AVE                                                                            ROCHESTER HLS   MI   48309‐3545
PATTON, SUSAN                   3522 CASSANDRA DR.                                                                         TIPP CITY       OH   45371‐9362
PATTON, SUZANNE M               627 LAKEFIELD DR                                                                           COLUMBIA        IL   62236‐2704
PATTON, THOMAS F                8670 NE 61ST PL                                                                            BRONSON         FL   32621‐5544
PATTON, THOMAS J                117 CASTLETOWN RD UNIT 301                                                                 TIMONIUM        MD   21093‐6796
PATTON, TIFFANY N
PATTON, TINA M                  2510 ROSY BILLED DR APT 116                                                                CHARLOTTE       NC   28262‐1468
PATTON, TINA MARIA              APT 116                          2510 ROSY BILLED DRIVE                                    CHARLOTTE       NC   28262‐1468
PATTON, TOSHRAYA SHAMIAL RENA   1124 LONDONERRY LN                                                                         GREENWOOD       IN   46142‐1632
PATTON, TOY R                   5550 BEDFORD ST                                                                            DETROIT         MI   48224‐2657
PATTON, VELMA L                 139 N ELMS RD                                                                              FLUSHING        MI   48433‐1828
PATTON, VERNON E                1020 MERRYWOOD DRIVE                                                                       ENGLEWOOD       OH   45322‐5322
PATTON, VERNON E                2352 ONEKA AVE 2                                                                           MIDDLETOWN      OH   45044
PATTON, VIRGIL                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                 STREET, SUITE 600
PATTON, VIRGIL G                1515 FOLEY AVE                                                                             YPSILANTI       MI   48198‐6500
PATTON, VIRGINIA M              PO BOX 226                                                                                 AMBOY           IN   46911‐0226
PATTON, VIRGINIA M              P.O. BOX 226                                                                               AMBOY           IN   46911‐0226
PATTON, VIRGINIA O              2531 HANSFORD PL                 2ND FLOOR SIDE                                            CINCINNATI      OH   45214‐1111
PATTON, WALTER D                45 SAWRIE RD                                                                               GREENBRIER      AR   72058‐9017
PATTON, WANDA S                 7687 STATE ROAD 54 W                                                                       SPRINGVILLE     IN   47462‐5154
PATTON, WANDA S                 7687 STATE RD 54 W                                                                         SPRINGVILLE     IN   47462
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Name                                  Address1                          Address2              Address3              Address4         City             State Zip
PATTON, WARREN R                      955 BROAD BLVD.                                                                                KETTERING         OH 45419‐5419
PATTON, WARREN R                      955 BROAD BLVD                                                                                 KETTERING         OH 45419‐2029
PATTON, WARREN T                      4931 GORDON THOMAS RD                                                                          BLAIRSVILLE       GA 30512‐0325
PATTON, WESLEY G                      615 BRIARWOOD LN                                                                               BEDFORD           IN 47421‐7247
PATTON, WILLIAM A                     2843 MANLOVE AVE                                                                               INDIANAPOLIS      IN 46218‐2613
PATTON, WILLIAM L                     527 HICKORY HOLLOW DR                                                                          CANFIELD          OH 44406‐1052
PATTON, WILLIAM M                     20 ALDON LN                                                                                    CINCINNATI        OH 45236‐3933
PATTON, WILMA R                       13736 HIGHWAY 62 EAST                                                                          ASH FLAT          AR 72513‐9708
PATTON, ZELPHA M                      PO BOX 841                                                                                     STANTON           KY 40380‐0841
PATTON, ZELPHA M                      P.O. BOX 841                                                                                   STANTON           KY 40380‐0380
PATTON‐WILLIAMS, VALINDA L            4087 ROCHDALE DR                                                                               FLINT             MI 48504‐1131
PATTRICK CAREY                        1671‐C CASS LAKE RD                                                                            KEEGO HARBOR      MI 48320‐1041
PATTS JR, THOMAS J                    6019 MADELINE DR                                                                               WILMINGTON        DE 19808‐4826
PATTU, RAVI K                         4084 PENROSE DR                                                                                TROY              MI 48098‐6318
PATTWELL, JOHN F                      4 WHITMAN DR                                                                                   RED BANK          NJ 07701‐5528
PATTWELL, JOHN F.                     4 WHITMAN DR                                                                                   RED BANK          NJ 07701‐5528
PATTWELL, MARGARET A                  31437 MERRIWOOD PARK DR                                                                        LIVONIA           MI 48152‐1398
PATTWELL, MARY R                      31437 MERRIWOOD PARK DR                                                                        LIVONIA           MI 48152‐1398
PATTY A AGEE                          913 CREIGHTON AVE                                                                              DAYTON            OH 45410‐2922
PATTY A CRANDELL                      PO BOX 112                                                                                     DIBBLE            OK 73031‐0112
PATTY A FERRELL                       90 BALTIMORE ST.                                                                               DAYTON            OH 45404‐1951
PATTY A FRENCH                        6137 LAKE DR                                                                                   YPSILANTI         MI 48197‐7053
PATTY A HUMPHREY                      913 CREIGHTON AVE                                                                              DAYTON            OH 45410‐2922
PATTY A MIDDLETON                     4 FOREST GLEN DRIVE                                                                            ROCHESTER         NY 14612‐2276
PATTY A SHOPE                         7329 COSNER DR                                                                                 HUBER HEIGHTS     OH 45424‐3340
PATTY A SULCS                         3109 E T AVE                                                                                   PORTAGE           MI 49002‐7573
PATTY ANDERSON                        3303 W KECK RD                                                                                 COLUMBIA CITY     IN 46725‐9558
PATTY ARTHUR                          611 OAK ST                                                                                     BICKNELL          IN 47512‐2409
PATTY BAKER                           1025 CREDE WAY                                                                                 WAYNESVILLE       OH 45058‐9224
PATTY BARDEN                          2500 DAMMAN DR APT 102                                                                         MIDLAND           MI 48640‐4539
PATTY BARKER                          1123 S STATE HIGHWAY 16 APT 411                                                                FREDERICKSBURG    TX 78624‐9434
PATTY BENGE                           2325 N DELPHOS ST                                                                              KOKOMO            IN 46901‐1627
PATTY BODINE
PATTY BOLEN                           36113 LODGEPOLE PINE DR                                                                        DADE CITY        FL   33525‐9013
PATTY BOWMAN                          PO BOX 17                                                                                      KEMPTON          IN   46049‐0017
PATTY BURLESON                        5756 W COLUMBIA RD                                                                             MASON            MI   48854‐9515
PATTY C ISOLDI                        335 EDGEWATER PINES DR SW                                                                      WARREN           OH   44481
PATTY C LEONARD                       321 YORK STREET N.W.                                                                           N. BLOOMFIELD    OH   44450‐9521
PATTY CAMP                            2569 POPLAR ST                                                                                 SNELLVILLE       GA   30078‐3328
PATTY CERVENKA PERSONAL               PATTY CERVENKA                    C/O BRAYTON PURCELL   222 RUSH LANDING RD                    NOVATO           CA   94948‐6169
REPRESENTATIVE FOR PERRY J CERVENKA

PATTY CHAMBERLAIN                     225 BELEY AVE                                                                                  SYRACUSE         NY   13211‐1527
PATTY COCHRAN                         1643 WARREN RD                                                                                 LAKEWOOD         OH   44107‐4015
PATTY COLLINS                         791 ASPEN RD                                                                                   NEW CARLISLE     OH   45344‐3001
PATTY COOKSEY                         1611 S HONEY CREEK RD                                                                          GREENWOOD        IN   46143‐9514
PATTY CRANDELL                        PO BOX 112                                                                                     DIBBLE           OK   73031‐0112
PATTY D DALGLEISH                     PO BOX 3535                                                                                    BROOKHAVEN       MS   39603
PATTY D SAGRAVES                      812 EMMETT DRIVE                                                                               XENIA            OH   45385‐2436
PATTY DAHMEN                          27200 PARKVIEW BLVD APT 705                                                                    WARREN           MI   48092‐2819
PATTY DENNING                         115 EAGAN CIR                                                                                  MADISON          TN   37115
PATTY DICKERSON                       607 N 11TH ST                                                                                  MIDDLETOWN       IN   47356‐1259
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Name                                  Address1                        Address2               Address3    Address4         City               State Zip
PATTY DOWNEY                          283 PLACID CT                                                                       ANDERSON            IN 46013‐1051
PATTY EDRINGTON                       10383 ELMS RD                                                                       MONTROSE            MI 48457‐9195
PATTY ELSER                           4420 YOUNGSTOWN RD SE APT 317                                                       WARREN              OH 44484‐3352
PATTY EVANS                           2727 SUANN AVE                                                                      GROVE CITY          OH 43123‐3552
PATTY F MCGUIRE                       4985 TALL OAKS DR                                                                   DAYTON              OH 45432
PATTY F WYATT                         4434 WOODBANK DR                                                                    DAYTON              OH 45440‐4084
PATTY FERRELL                         90 BALTIMORE ST                                                                     DAYTON              OH 45404‐1951
PATTY FISK                            17501 W CANNONSVILLE RD                                                             PIERSON             MI 49339‐9706
PATTY FUQUA                           141 E LANE AVE                                                                      LIMA                OH 45801‐2954
PATTY G WELLS                         6889 TRENTON FRANKLIN RD                                                            MIDDLETOWN          OH 45042
PATTY GELMAN
PATTY GILLESPIE                       1644 DENISON AVE NW                                                                 WARREN             OH   44485‐1715
PATTY GILPATRICK                      407 RACHEL LN                                                                       MIDDLETOWN         OH   45042‐3978
PATTY GREENFIELD                      961 MCDONALD AVE                                                                    MC DONALD          OH   44437‐1324
PATTY HAIS                            5677 REEMELIN RD                                                                    CINCINNATI         OH   45248‐1626
PATTY HAMILTON                        545 SWAN DR                                                                         FORTVILLE          IN   46040‐1460
PATTY HARLAN                          2527 SASSAFRAS DR                                                                   ANDERSON           IN   46012‐4460
PATTY HARPER                          1610 S COUNTY ROAD 25A                                                              TROY               OH   45373‐4248
PATTY HUMPHREY                        913 CREIGHTON AVE                                                                   DAYTON             OH   45410‐2922
PATTY J BOZIN                         613 GARLAND DR.                                                                     NILES              OH   44446
PATTY J COLLINS                       791 ASPEN RD                                                                        NEW CARLISLE       OH   45344‐3001
PATTY J DOVE                          5091 WASHBURN RD                                                                    HILLSBORO          OH   45133‐8141
PATTY J MOORE                         421 I ST                                                                            BEDFORD            IN   47421‐2215
PATTY J SEAL                          1055 E GENESEE AVE                                                                  FLINT              MI   48505‐1612
PATTY JO DAHMEN                       27200 PARKVIEW BLVD APT 705                                                         WARREN             MI   48092‐2819
PATTY JONES                           503 23RD AVE W APT B                                                                BRADENTON          FL   34205
PATTY KAY                             3221 28TH AVE                                                                       MERIDIAN           MS   39305‐4664
PATTY KENDRICK                        APT 401                         7401 WOODLAND AVENUE                                CLEVELAND          OH   44104‐3079
PATTY KEPHART                         PO BOX 115                                                                          OSCEOLA MILLS      PA   16666‐0115
PATTY KISNER                          5298 LEAR NAGLE RD                                                                  N RIDGEVILLE       OH   44039‐2112
PATTY KLEIN                           1487 COLLEEN LN B‐3                                                                 DAVISON            MI   48423
PATTY L BAKER                         1026 CREDE WAY                                                                      WAYNESVILLE        OH   45058‐9224
PATTY L COPE, PERSONAL REPRESENTATIVE C/O BRAYTON PURCELL             222 RUSH LANDING RD                                 NOVATO             CA   94948‐6169
FOR FLOYD S GREENWAY

PATTY L FUQUA                        141 E LANE AVE                                                                       LIMA               OH   45801‐2954
PATTY LEACH                          121 YALE AVE                                                                         CELINA             TN   38551‐4148
PATTY LEONARD                        321 YORK ST                                                                          NORTH BLOOMFIELD   OH   44450‐9521
PATTY LONG                           2725 MILLER GRABER RD                                                                NEWTON FALLS       OH   44444‐8721
PATTY LYKINS                         4655 PORTOFINO WAY APT 305                                                           WEST PALM BEACH    FL   33409‐8164
PATTY M DAVIS                        457 W ALKALINE SPRINGS RD                                                            VANDALIA           OH   45377‐1855
PATTY M SHAMROCK                     812 COLERIDGE AVE. N.W.                                                              WARREN             OH   44483‐2121
PATTY MAHAFFY                        1465 TIMOTHY ST                                                                      SAGINAW            MI   48638‐6503
PATTY MANES                          8425 DURST COLEBROOK RD                                                              NORTH BLOOMFIELD   OH   44450‐9749
PATTY MARTIN                         2267 HOWE RD                                                                         BURTON             MI   48519‐1129
PATTY MCGINNIS                       118 RIVERSIDE DR                                                                     HACKBERRY          LA   70645‐4115
PATTY MOORE                          421 I ST                                                                             BEDFORD            IN   47421‐2215
PATTY NEWBY                          158 CHARIOT DRIVE                                                                    ANDERSON           IN   46013‐1081
PATTY P GREENFIELD                   961 MCDONALD AVE                                                                     MC DONALD          OH   44437‐1324
PATTY P STIFFLER                     2618 NORTH RD SE                                                                     WARREN             OH   44484‐3749
PATTY PACE                           641 W HOME AVE                                                                       FLINT              MI   48505‐2666
PATTY PALMER                         3346 ROYAL BLVD                                                                      COMMERCE TWP       MI   48382‐4387
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Name                  Address1                      Address2                      Address3   Address4         City              State Zip
PATTY PARTON          7431 E 100 S                                                                            GREENTOWN          IN 46936‐9128
PATTY POPLAR          1375 DYE KREST CIR                                                                      FLINT              MI 48532‐2224
PATTY PORTER          31334 SHERIDAN ST                                                                       GARDEN CITY        MI 48135‐3304
PATTY R. MANES        8425 DURST‐COLEBROOK RD.NE                                                              N.BLOOMFIELD       OH 44450
PATTY REPPENHAGEN     PO BOX 316                                                                              GRAND BLANC        MI 48480‐0316
PATTY S LYKINS        4655 PORTOFINO WAY            APT 305                                                   WEST PALM BEACH    FL 33409
PATTY S STEGALL       540 WILLARD AVE SE                                                                      WARREN             OH 44483
PATTY SCHAEFER        7141 S.W. 99 STREET                                                                     MIAMI              DE 33157
PATTY SCRITCHFIELD    410 CLEVELAND AVE APT 316                                                               FAIRMONT           WV 26554‐1608
PATTY SEAL            1055 E GENESEE AVE                                                                      FLINT              MI 48505‐1612
PATTY SHAMROCK        812 COLERIDGE AVE NW                                                                    WARREN             OH 44483‐2121
PATTY SHOPE           7329 COSNER DR                                                                          HUBER HEIGHTS      OH 45424‐3340
PATTY SPANGLER        253 QUITMAN ST                                                                          DAYTON             OH 45410‐1521
PATTY SQUIRES         521 CHEROKEE ST APT 212                                                                 KALAMAZOO          MI 49006‐2852
PATTY STACY           565 OVERLOOK TRL                                                                        PLAINFIELD         IN 46168‐1083
PATTY STEVENS         419 LABIAN DR                                                                           FLUSHING           MI 48433‐1745
PATTY STIFFLER        2618 NORTH RD SE                                                                        WARREN             OH 44484‐3749
PATTY STREET          138 CENTER ST                                                                           LEBANON            VA 24266‐7172
PATTY SULCS           3109 E T AVE                                                                            PORTAGE            MI 49002‐7573
PATTY T ELSER         4420 YOUNGSTOWN RD SE         APT 317                                                   WARREN             OH 44484‐3352
PATTY TALBOTT         APT 107                       10407 FALCON PARC BOULEVARD                               ORLANDO            FL 32832‐5560
PATTY THAYER          4022 S PINE DELL DR                                                                     LANSING            MI 48911‐6127
PATTY THOMAS          258 NORTH RD                                                                            NILES              OH 44446‐2015
PATTY THOMPSON        10505 E HAYES RD                                                                        ASHLEY             MI 48806‐9317
PATTY VARNEY          1422 GARFIELD AVE                                                                       BRUNSWICK          OH 44212‐3314
PATTY W GILLESPIE     1644 DENISON DR. N.W.                                                                   WARREN             OH 44485‐1715
PATTY W MINOTTI       8637 HUNTERS TRL SE                                                                     WARREN             OH 44484
PATTY WADSWORTH       6113 BYRAM LAKE DR                                                                      LINDEN             MI 48451‐8741
PATTY WATSON
PATTY WELLMAN         14833 SHENDOAH DR                                                                       RIVERVIEW         MI   48192
PATTY WELLS           6889 TRENTON FRANKLIN RD                                                                MIDDLETOWN        OH   45042‐1333
PATTY WHITED          97 STEWART AVE S                                                                        MANSFIELD         OH   44906‐3233
PATTY WIKLE           4126 BURTON PLACE CT                                                                    ANDERSON          IN   46013‐5600
PATTY WOLF            108 ACADEMY DR                                                                          PICKENS           SC   29671‐8439
PATTY WOODARD         32 LAKE ST                                                                              MANISTEE          MI   49660‐1430
PATTY WYATT           4434 WOODBANK DR                                                                        DAYTON            OH   45440‐4084
PATTY, DAYLE E        1374 W BUSH ST                                                                          LEMOORE           CA   93245
PATTY, DONALD C       5497 N STATE ROUTE 72                                                                   SABINA            OH   45169‐9799
PATTY, EVELYN J       1332 S 36TH ST                                                                          KANSAS CITY       KS   66106‐2024
PATTY, HAROLD K       4356 BRAYAN DR                                                                          SWARTZ CREEK      MI   48473
PATTY, HAROLD T       5144 MORRISH RD                                                                         SWARTZ CREEK      MI   48473‐1327
PATTY, HOWARD W       11543 W 400 S                                                                           PARKER CITY       IN   47368‐9273
PATTY, HOWARD W       11543 WEST 400 SOUTH                                                                    PARKER CITY       IN   47368‐9273
PATTY, PATRICIA K     5497 N STATE ROUTE 72                                                                   SABINA            OH   45169‐9799
PATTY, TERRY L        6100 N COUNTY ROAD 600 W                                                                GASTON            IN   47342
PATTYN GARY A         200 W STERNE PKWAY #721                                                                 LITTLETON         CO   80122
PATTYN, JOHN M        244 COROTTOMAN CT                                                                       AVON              IN   46123‐4051
PATTYN, KATHRYN D     28915 LINCOLN RD                                                                        BAY VILLAGE       OH   44140‐1940
PATTYN, MORRIS L      3020 N OLYMPIC                                                                          MESA              AZ   85215‐1545
PATTYN, WILLIAM A     25642 BRUMAR ST                                                                         CHESTERFIELD      MI   48051‐1913
PATUANO, VINCENT D    17649 WAKENDEN                                                                          REDFORD           MI   48240‐2250
PATULA, JOSEPHINE A   644 S GEARY ST                                                                          MT PLEASANT       PA   15666‐1220
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Name                           Address1                            Address2                  Address3   Address4         City            State Zip
PATULA, JOSEPHINE A            644 S. GEARY                                                                              MT PLEASANT      PA 15666‐1220
PATULAK, RICHARD J             3086 S OAKLAND FOREST DR APT 1201                                                         OAKLAND PARK     FL 33309‐5631
PATURALSKI, DENNIS G           830 LEET RD                                                                               NILES            MI 49120‐9463
PATURZO, BARBARA H             9030 HAWTHORN DR                                                                          HICKORY HILLS     IL 60457‐3206
PATURZO, BARBARA HELENA        9030 HAWTHORN DR                                                                          HICKORY HILLS     IL 60457‐3206
PATURZO, JUAN C                9030 HAWTHORN DR                                                                          HICKORY HILLS     IL 60457‐3206
PATY, JEANNETTE                2915 NORTHWAY DR                                                                          FORT WAYNE       IN 46845‐1658
PATY, JEANNETTE L              2915 NORTHWAY                                                                             FORT WAYNE       IN 46845
PATYI, ELIZABETH A             254 FARRINGTON AVE                                                                        SLEEPY HOLLOW    NY 10591‐1307
PATYI, FRANK                   254 FARRINGTON AVE                                                                        SLEEPY HOLLOW    NY 10591‐1307
PATYK, GREGORY L               3566 N STATE RD 1                                                                         FARMLAND         IN 47340‐9480
PATYK, GREGORY L               1501 LAYTON RD                                                                            FOWLERVILLE      MI 48836‐8981
PATYK, SYLVESTER               3596 RICKSHIRE DR                   C/O PATRICIA F ANDERSON                               CINCINNATI       OH 45248‐2988
PATYKIEWICZ, MARY J            24 SAHARA DR                                                                              ROCHESTER        NY 14624‐2254
PATYNEN, AUNE K                22 W MISTY MORNING TRCE                                                                   THE WOODLANDS    TX 77381‐3836
PATYNEN, AUNE K                22 W. MISTY MORNING TRACE                                                                 THE WOODLANDS    TX 77381‐3836
PATZ, CHARLES S                903 S HARRISON ST                                                                         ALEXANDRIA       IN 46001‐2620
PATZ, EMILY                    16231 BUCKINGHAM AVE                                                                      BEVERLY HILLS    MI 48025‐3315
PATZ, IRENE                    3830 SWENSON STREET APT 709                                                               LAS VEGAS        NV 89119‐7475
PATZ, JEAN K                   6009 GLENEAGLES DR                                                                        AIKEN            SC 29803‐8779
PATZ, WARREN A                 40 MARTIN LN                                                                              EIGHTY FOUR      PA 15330‐2532
PATZACK, ALICE                 4000 S CEMETERY RD                                                                        YUKON            OK 73099‐7243
PATZACK, GEORGE R              4000 S CEMETERY RD                                                                        YUKON            OK 73099‐7243
PATZEK, JOSEPH                 2020 ALPWOODS LANE                                                                        DAYTON           OH 45459‐1204
PATZER, JAMES W                4937 SPRING MEADOW DR                                                                     CLARKSTON        MI 48348‐5157
PATZER, THOMAS D               3786 KINGS MILL RD                                                                        NORTH BRANCH     MI 48461‐8953
PATZETTA TRICE                 1513 N ALABAMA ST                                                                         INDIANAPOLIS     IN 46202‐2534
PATZKE, JANE W                 35 DEL TER                                                                                MERIDEN          CT 06450‐4420
PATZWALDT, JEFFREY D           8605 N RIVER RD                                                                           FREELAND         MI 48623‐8716
PATZWELL, PAUL D               11459 BANCROFT CT                                                                         FENTON           MI 48430‐2479
PAUDA, JOE J                   114 80TH ST                                                                               LUBBOCK          TX 79404‐6302
PAUGA, KATHLEEN M              PO BOX 6357                                                                               VILLA PARK        IL 60181‐5318
PAUGH, CHARLES H               PO BOX 57                                                                                 MOUNT STORM      WV 26739‐0057
PAUGH, CHARLOTTE M             722 MILL RIDGE CIR                                                                        UNION            OH 45322‐8784
PAUGH, CRAIG M                 467 TRUMBULL AVE SE                                                                       WARREN           OH 44483‐6338
PAUGH, DAVID G                 1021 CHERYLN RD.                                                                          BALTIMORE        MD 21221
PAUGH, ERNEST R                84 CABRIOLET COURT                                                                        HARPERS FERRY    WV 25425‐3120
PAUGH, JOHN W                  30 SPRING CREEK DR                                                                        CORTLAND         OH 44410‐1674
PAUGH, LARRY W                 1012 CHERLYN AVE                                                                          BALTIMORE        MD 21221‐3305
PAUGH, LARRY WAYNE             1012 CHERLYN AVE                                                                          BALTIMORE        MD 21221‐3305
PAUGH, LINDA V                 30 SPRING CREEK DR                                                                        CORTLAND         OH 44410‐1674
PAUGH, MARGARET L              225 OAK DR                                                                                PASADENA         MD 21122‐4931
PAUGH, MARGARET L              225 OAK DRIVE                                                                             PASADENA         MD 21122‐4931
PAUGH, ROBERT                  53 TULIP DR                                                                               CONOWINGO        MD 21918‐1928
PAUGH, SUSAN A                 30951 DOGWOOD DR                                                                          LAUREL           DE 19956
PAUKERT, DONALD R              PO BOX 361309                                                                             STRONGSVILLE     OH 44136‐0022
PAUKOVICH, MARY B              1263 HOWLAND WILSON RD                                                                    WARREN           OH 44484‐1656
PAUKSTIS, CAROL                6035 LANCASTER DR                                                                         FLINT            MI 48532‐3214
PAUKSTIS, HELEN A              340 WASHINGTON AVENUE                                                                     ELIZABETH        NJ 07202‐3317
PAUL
PAUL & BARBARA ARNAUD          C/O THE ARNAUD FAMILY TRUST         915 MUIRFIELD RD                                      LOS ANGELES     CA 90019‐1824
PAUL & BILL'S SERVICE CENTER   300 W GALENA BLVD                                                                         AURORA          IL 60506‐4028
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Name                         Address1                              Address2        Address3      Address4             City                 State Zip
PAUL & DEANNA EDMUNDS        15 HORIZON DR                         PO BOX 106                                         ELYSBURG              PA 17824
PAUL & HELEN MOON            4206 LITTLE STAR CT SW                                                                   GRANDVILLE            MI 49418‐3046
PAUL & MARIANNE MICHAELIS    C/O PAUL MICHAELIS & MARIA MARIANNE   EIFELSTR 12                   50677 KOLN GERMANY
                             MICHAELIS
PAUL & MIKE'S TRANSMISSION   232 COLLINS ST                                                                           JOLIET               IL   60432‐2919
PAUL & ROSEMARIE COLEMAN     5850 MERIDIAN RD APT 8303                                                                GIBSONIA             PA   15044
PAUL ‐ RICHARD, INC.         769 W MAIN ST                                                                            PERU                 IN   46970‐1744
PAUL ‐ RICHARD, INC.         PAUL RAVESLOOT                        769 W MAIN ST                                      PERU                 IN   46970‐1744
PAUL A ANDERSON              3891 BLACKHAWK DR SW                                                                     GRANDVILLE           MI   49418‐2423
PAUL A BAKER                 3032 REVLON DR.                                                                          KETTERING            OH   45420
PAUL A BEAM                  3520 FORT DR                                                                             WATERFORD            MI   48328‐1329
PAUL A BECKER                5326 OAKWOOD DR                                                                          N TONAWANDA          NY   14120‐9619
PAUL A BENSON                66 WASHINGTON BLVD #5                                                                    BOARDMAN             OH   44512‐6345
PAUL A BERGERON              6006 ANDREWS RD                                                                          MENTOR ON THE LAKE   OH   44060‐2822
PAUL A BLOSSOM               PO BOX 14                                                                                OAKFIELD             NY   14125‐0014
PAUL A CASCHETTA             767 N PLYMOUTH AVE                                                                       ROCHESTER            NY   14608‐1240
PAUL A CHAMPLIN              918 LAFAYETTE AVE                                                                        NILES                OH   44446‐3160
PAUL A CHAPMAN               16815 ARMADA CENTER RD                                                                   ARMADA               MI   48005‐2305
PAUL A COMBS                 2737 PETERS CORNERS RD                                                                   ALDEN                NY   14004‐9756
PAUL A COOPER                7072 GLEASON HILL RD                  LOT 2                                              BELFAST              NY   14711‐9902
PAUL A DALE                  1538 CUMBERLAND AVENUE                                                                   SIDNEY               OH   45365
PAUL A DANIEL                190 BATTLE DR                                                                            EATON                OH   45320‐2850
PAUL A DANKOVICH             9763 E CENTER ST                                                                         WINDHAM              OH   44288‐1043
PAUL A DEJULIA               2726 HUNTER ST                                                                           SHARPSVILLE          PA   16150‐8513
PAUL A EATON                 14 RIO GRANDE DR                                                                         TROTWOOD             OH   45426‐2919
PAUL A EDWARDS               837 DISSA STREET                                                                         BROOKHAVEN           MS   39601‐3523
PAUL A ERGOTT                904 ONSLOW DR                                                                            GREENSBORO           NC   27408‐7710
PAUL A FISHER                1672 HEMMINGWAY CT                                                                       JANESVILLE           WI   53545‐8845
PAUL A FRAZIER               3816 GORDON HILL DR                                                                      SPRINGFIELD          OH   45502
PAUL A FREY                  205 FIVE POINTS RD                                                                       RUSH                 NY   14543‐9420
PAUL A GARGANO               15 MILE COMMON                                                                           EASTON               CT   06612‐1509
PAUL A GARVER                P.O. BOX 489                                                                             NORTH JACKSON        OH   44451
PAUL A GAYTAN SR             1502 W ALEXIS RD                                                                         TOLEDO               OH   43612‐4047
PAUL A GOLUBIC               P O BOX 108                                                                              COOKSBURG            PA   16217
PAUL A GREGGS                32 S. SECOND ST.                                                                         SHARPSVILLE          PA   16150‐1202
PAUL A GROSS                 142 CHARTLEY CT                                                                          DAYTON               OH   45440‐3600
PAUL A HUNTER                PO BOX 751565                                                                            DAYTON               OH   45475
PAUL A HUTSELL               4035 HANEY ROAD                                                                          DAYTON               OH   45416
PAUL A JENSEN                6655 BOULDER HWY APT 2082                                                                LAS VEGAS            NV   89122
PAUL A JETER                 467 HARRISON                                                                             SPRINGFIELD          OH   45505
PAUL A KLEMM                 5154 BRONCO DR                                                                           CLARKSTON            MI   48346‐2601
PAUL A LENHART               6164 THORNCLIFF DR                                                                       SWARTZ CREEK         MI   48473‐8820
PAUL A LONNEN                11 MARC MAR CIR                                                                          ROCHESTER            NY   14606
PAUL A LUCHTEL               1022 COBBLERS RD                                                                         WATERFORD            MI   48327‐3011
PAUL A LUCUS                 2149 STEGMAN AVE.                                                                        DAYTON               OH   45404‐2260
PAUL A MCCLOUD               309 E. UNION ST.                                                                         LIBERTY              IN   47353
PAUL A MEZERA                3312 THORNTON DR                                                                         JANESVILLE           WI   53548‐9186
PAUL A MILLER SR             4220 BREEZEWOOD AVE                                                                      DAYTON               OH   45406‐1312
PAUL A MIX                   PO BOX 357                                                                               JONES                OK   73049‐0357
PAUL A MOODY                 2709 PRINCETON DR                                                                        DAYTON               OH   45406
PAUL A MYERS                 500 HARVEST CT                                                                           FAIRBORN             OH   45324‐2694
PAUL A NESE                  317 EDSTAN WAY                                                                           PARAMUS              NJ   07652
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Name                   Address1                               Address2                     Address3                   Address4         City               State Zip
PAUL A PALMER          2211 RICHLEY DR                                                                                                 DAYTON              OH 45408
PAUL A PASQUALE        4585 ALDERWOOD DR                                                                                               CANFIELD            OH 44406‐9239
PAUL A PUGLIA          729 VERNON DR                                                                                                   BELLE VERNON        PA 15012‐3603
PAUL A ROSS            1504 COLLAR PRICE RD                                                                                            HUBBARD             OH 44425
PAUL A SANDERSON       3233 SHEFFIELD RD                                                                                               DAYTON              OH 45449‐2752
PAUL A SMITH           3510 N HUNTINGTON RD                                                                                            MARION              IN 46952‐1230
PAUL A SNELL JR        242 PARMA CENTER RD                                                                                             HILTON              NY 14468‐9351
PAUL A STANLEY         116 KRUG DR                                                                                                     UNION               OH 45322
PAUL A TAKACS          105 BEECHWOOD DR                                                                                                CORTLAND            OH 44410
PAUL A TIEDE           102 OAKWOOD DR                                                                                                  WILLIAMSVILLE       NY 14221‐7014
PAUL A TORTORELLA      204 CRESCENT PARKWAY                                                                                            SEA GIRT            NJ 08750
PAUL A TURNER          9172 OAKES ROAD                                                                                                 ARCANUM             OH 45304‐8918
PAUL A VARGA           171 ROBINS WAY                                                                                                  MANTUA              NJ 08051‐1389
PAUL A WRIGHT          441 APPLE DR                                                                                                    EATON               OH 45320
PAUL A WYSONG          4371 O NEALL RD                                                                                                 WAYNESVILLE         OH 45068
PAUL AARDAL JR         250 PINE NEEDLE DR                                                                                              SEVILLE             OH 44273‐8803
PAUL AARON             6113 ROBERTA ST                                                                                                 BURTON              MI 48509‐2431
PAUL ABBOTT            294 W BENNETT ST                                                                                                SALINE              MI 48176‐1156
PAUL ABBOTT            523 W 38TH ST                                                                                                   MARION              IN 46953‐4863
PAUL ABERNATHY         BEVAN & ASSOCIATES, LPA, INC.          6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.         OH 44236
PAUL ABRAHAM           4933 GRINSTEIN DR                                                                                               KELLER              TX 76248‐1200
PAUL ACHENBACH         PO BOX 175                                                                                                      CICERO              IN 46034‐0175
PAUL ADAM              561 N GARNER RD                                                                                                 MILFORD             MI 48380‐3632
PAUL ADAMISEN          22222 FAIRFAX ST                                                                                                TAYLOR              MI 48180‐2772
PAUL ADAMS             584 MARTIN LUTHER KING JR BLVD N                                                                                PONTIAC             MI 48342‐1622
PAUL ADAMS             238 BONNIE BROOK DR                                                                                             CHARLOTTE           MI 48813‐1335
PAUL ADAMS             1533 10TH ST                                                                                                    DANVILLE            IN 46122‐9163
PAUL ADAMS             2504 N RESERVE ST                                                                                               MUNCIE              IN 47303‐5315
PAUL ADAMS             2951 BAY VIEW DR                                                                                                SAFETY HARBOR       FL 34695‐4702
PAUL ADAMS             26760 JOHNS RD                                                                                                  SOUTH LYON          MI 48178‐8936
PAUL ADASEK            179 NOTTINGHAM DR                                                                                               TROY                MI 48085‐3236
PAUL ADDESA            81 CAMNER AVE                                                                                                   LANCASTER           NY 14086‐2905
PAUL ADKINS            30727 GRANDVIEW AVE                                                                                             WESTLAND            MI 48186‐5060
PAUL ADKINS            5659 S DIXIE HWY                                                                                                FRANKLIN            OH 45005‐4364
PAUL ADKINS            6362 SHAKER RD                                                                                                  FRANKLIN            OH 45005
PAUL ADLETA            4827 EDWARDSVILLE RD                                                                                            CLARKSVILLE         OH 45113‐8620
PAUL AFTON             114 BROOKMEADOW CT SW APT 11                                                                                    GRANDVILLE          MI 49418‐2176
PAUL AGNEW             28694 PARK CT                                                                                                   MADISON HTS         MI 48071‐3015
PAUL AGUAYO            5654 HOLLOW CORNERS RD                                                                                          DRYDEN              MI 48428‐9643
PAUL AHN               28349 LACOSTA CT                                                                                                FARMINGTON HILLS    MI 48331‐2994
PAUL ALBERT            8616 W 10TH ST APT 416                                                                                          INDIANAPOLIS        IN 46234‐2171
PAUL ALBERT BAESKENS   C/O LEVIN SIMES KAISER AND GORNICK LLP ATTN JEFFREY KAISER          44 MONTGOMERY ST 36TH FL                    SAN FRANCISCO       CA 94104

PAUL ALBERTI           51 BRAMBLEWOOD LN W                                                                                             ROCHESTER          NY   14624‐1401
PAUL ALBERTSON         1400 ZILLOCK RD LOT L045                                                                                        SAN BENITO         TX   78586‐9780
PAUL ALBERTSON         7296 10TH AVE                                                                                                   SEARS              MI   49679‐8205
PAUL ALBRECHT          58 NINA TER                                                                                                     WEST SENECA        NY   14224‐4469
PAUL ALDRIDGE          141 WOODLAND TER                                                                                                MOULTON            AL   35650‐1423
PAUL ALEXANDER         1398 KETTERING ST                                                                                               BURTON             MI   48509‐2406
PAUL ALEXANDER         314 OAK ST                                                                                                      YPSILANTI          MI   48198‐3066
PAUL ALEXANDER         N5706 FRANCES CIR                                                                                               ALBANY             WI   53502‐9320
PAUL ALLEN             926 W MADISON ST                                                                                                SANDUSKY           OH   44870‐2353
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Name                          Address1                       Address2                      Address3   Address4             City              State Zip
PAUL ALLEN                    1378 WICHITA DR SW                                                                           ATLANTA            GA 30311‐3526
PAUL ALLEN                    1247 NOKOMIS DR                                                                              GLADWIN            MI 48624‐8385
PAUL ALLEN                    10413 PIONEER AVE                                                                            OAKDALE            CA 95361‐9719
PAUL ALLEN                    C/O THE MADEKSHO LAW FIRM      8866 GULF FREEWAY SUITE 440                                   HOUSTON            TX 77017
PAUL ALLISON                  PO BOX 92                                                                                    SOUTH SHORE        SD 57263‐0092
PAUL ALLISON                  941 COVINGTON ST                                                                             BOWLING GREEN      KY 42103‐4913
PAUL ALLMAND                  11223 GERMANY RD                                                                             FENTON             MI 48430‐9467
PAUL ALSUP                    3300 S ADAMS AVE                                                                             INDEPENDENCE       MO 64055‐2653
PAUL ALVERS                   3724 YOUNGSTOWN RD                                                                           WILSON             NY 14172‐9724
PAUL AMALFITANO               4438 AUGUSTA DR                                                                              HARRISBURG         PA 17112‐1500
PAUL AMBURGEY                 9698 BRADFD CHILDRENS HOME                                                                   BRADFORD           OH 45308
PAUL AMBURGEY                 12380 WOOD RD                                                                                DEWITT             MI 48820‐9341
PAUL ANADELL                  1151 ALFRED PL                                                                               NEW RICHMOND       WI 54017‐2509
PAUL AND HAZEL RIGGS          991 LANCASTER PIKE                                                                           QUARRYVILLE        PA 17566
PAUL AND MARIETTA SCHNEIDER   NIBELUNGENSTR. 8                                                        14109 BERLIN
PAUL AND ROSE STUDNICKA       207 JEFFERSON STREET                                                                         MOUNT HOREB       WI 53572
PAUL ANDERSON
PAUL ANDERSON                 6620 W RYAN DR                                                                               ANDERSON          IN   46011‐9751
PAUL ANDERSON                 3891 BLACKHAWK DR SW                                                                         GRANDVILLE        MI   49418‐2423
PAUL ANDERSON                 1110 CAMDEN DR                                                                               LANSING           MI   48917‐4854
PAUL ANDERSON                 1382 BUFFING CIR SE                                                                          PALM BAY          FL   32909‐6523
PAUL ANDERSON                 2541 MASON ST                                                                                BAY CITY          MI   48708‐9184
PAUL ANDERSON                 18031 MOTT AVE                                                                               EASTPOINTE        MI   48021‐2715
PAUL ANDERSON                 9228 YORKRIDGE DR                                                                            CINCINNATI        OH   45231‐3606
PAUL ANDERSON                 1442 S BELMONT AVE                                                                           INDIANAPOLIS      IN   46221‐1547
PAUL ANDREAS                  733 S WEBSTER ST                                                                             KOKOMO            IN   46901‐5303
PAUL ANDREOLI
PAUL ANDREWS                  4517 WIRE DR                                                                                 DAYTON            OH   45414‐4941
PAUL ANDREWS                  206 TUDOR DR                                                                                 LANSING           MI   48906‐1664
PAUL ANDREWS JR               10562 COUNTY ROAD 24                                                                         DALTON            NY   14836‐9652
PAUL ANDRIEKUS                735 EASTCIRCLE DR                                                                            LANSING           MI   48917‐9205
PAUL ANDRUS                   2061 S TUSCOLA RD                                                                            MUNGER            MI   48747‐9775
PAUL ANDRUS                   727 S MADISON AVE                                                                            AURORA            MO   65605‐2223
PAUL ANGLIN                   3824 E 1000 S                                                                                LADOGA            IN   47954‐7222
PAUL ANTILL                   18940 ANKNEYTOWN RD                                                                          FREDERICKTOWN     OH   43019‐9063
PAUL ANTONCHAK                2731 NILES VIENNA RD                                                                         NILES             OH   44446‐4404
PAUL APOSTOLAKIS              3000 W 14TH ST                 APT 1 DOWN                                                    CLEVELAND         OH   44113‐5221
PAUL AQUILA                   569 BEACH RD                                                                                 CHEEKTOWAGA       NY   14225‐2232
PAUL ARAHOOD                  916 ALEXANDER RD                                                                             EATON             OH   45320‐9254
PAUL ARATA                    4617 CAPE CHARLES DR                                                                         PLANO             TX   75024‐6824
PAUL ARCEO                    15119 BLUFFTON RD                                                                            FORT WAYNE        IN   46819‐9521
PAUL ARDNER                   19150 RAINBOW DR                                                                             LATHRUP VILLAGE   MI   48076‐3310
PAUL ARDOUNIS                 5512 FOREST HILL RD                                                                          LOCKPORT          NY   14094‐6222
PAUL AREGOOD                  9840 N DIXIE HWY                                                                             FRANKLIN          OH   45005‐1112
PAUL ARIDA                    801 SHREWSBURY DR                                                                            CLARKSTON         MI   48348‐3680
PAUL ARMSTRONG                1309 HOLLY BEND CIR                                                                          KETTERING         OH   45429‐5715
PAUL ARMSTRONG                3149 BONNIE VILLA LN                                                                         DAYTON            OH   45431‐3304
PAUL ARNELL                   1531 DIANE DR                                                                                FLUSHING          MI   48433‐1826
PAUL ARNEY                    PO BOX 232                                                                                   ICARD             NC   28666‐0232
PAUL ARNN                     756 TAYLOR ST                                                                                CHELSEA           MI   48118‐1363
PAUL ARNO                     10420 NEW OREGON RD                                                                          EDEN              NY   14057‐9782
PAUL ARNOLD                   9609 E MADISON RD                                                                            SAINT HELEN       MI   48656‐9623
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Name                Address1                          Address2                     Address3   Address4         City              State Zip
PAUL ARNONE         15668 GRAINGER DR                                                                          CLINTON TWP        MI 48038‐2636
PAUL ARNONE         4435 ELMWOOD AVE                                                                           ROYAL OAK          MI 48073‐1519
PAUL ARNOTT         1516 BELFORD RD                                                                            HOLLY              MI 48442‐9413
PAUL ARRAS          5 CORONATION DRIVE                                                                         MILLSTADT           IL 62260‐1809
PAUL ARREDONDO      10550 DUNLAP CROSSING RD SPC 76                                                            WHITTIER           CA 90606‐3644
PAUL ARRINGTON      7289 TOWNSHIP LINE RD                                                                      WAYNESVILLE        OH 45068‐8052
PAUL ARTHUR JR      1819 S OSBORNE AVE                                                                         JANESVILLE         WI 53546‐5940
PAUL ARTISON        18100 OHIO ST                                                                              DETROIT            MI 48221‐2591
PAUL ASBURY         RR 1 BOX 107                                                                               GAY                WV 25244‐9720
PAUL ASHE           440 LORENZ AVE                                                                             DAYTON             OH 45417‐2340
PAUL ASHER          1259 BOOKWALTER DR                                                                         NEW CARLISLE       OH 45344‐2709
PAUL ASHLEY         250 N MAIN ST                                                                              MASSENA            NY 13662‐1117
PAUL ASHLEY         BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
PAUL ASPERGER       5201 WOODHAVEN CT APT 503                                                                  FLINT              MI 48532‐4173
PAUL ATALLAH        1829 WESLEY PL                                                                             LANSING            MI 48906‐3841
PAUL ATHANS         94 GASPE DR                                                                                BUFFALO            NY 14228‐1955
PAUL ATHERTON       9098 E 27TH STREET                                                                         TULSA              OK 74129
PAUL ATKINS         1611 W DIVISION RD                                                                         PETERSBURG         IN 47567‐8029
PAUL ATWOOD         3496 S 350 E                                                                               KOKOMO             IN 46902‐9530
PAUL AUDET          3083 BESSIE ST                                                                             AUBURN HILLS       MI 48326‐3601
PAUL AUERNHAMER     PO BOX 154                                                                                 VASSAR             MI 48768‐0154
PAUL AUSMAN         3774 E 550 N                                                                               MARION             IN 46952‐9124
PAUL AUSTIN         PO BOX 301                                                                                 RANSOMVILLE        NY 14131‐0301
PAUL AVERY          5317 NORTHERN TRL                                                                          BEAVERTON          MI 48612‐8913
PAUL AYERS          205 GREGG ST                                                                               GRAIN VALLEY       MO 64029‐9715
PAUL AYLSWORTH      8929 SCHOOL RD                                                                             HOUGHTON LAKE      MI 48629‐9677
PAUL B BANKS        2910 MCGUFFEE RD                                                                           CLINTON            MS 39056‐9563
PAUL B BONIFACE     1346 SWEETBRIAR LN                                                                         BEL AIR            MD 21014‐2253
PAUL B BRINEGAR     151 CORINTH HINTON RD                                                                      SADIEVILLE         KY 40370
PAUL B DANDURAND    2745 TALLAHASSEE DR                                                                        ROCHESTER HILLS    MI 48306‐3859
PAUL B DUNN         8944 BUNNELL HILL RD                                                                       SPRINGBORO         OH 45066‐9610
PAUL B FISHER       7360 SWEET POTATO RIDGE RD                                                                 BROOKVILLE         OH 45309‐8204
PAUL B FRASHER      6220 N WARREN AVE                                                                          OKLAHOMA CITY      OK 73112‐1263
PAUL B GLISSEN      1661 CR 410                                                                                RIPLEY             MS 38663
PAUL B HARRIS       4032 N STATE RT 123                                                                        FRANKLIN           OH 45005‐9423
PAUL B LIGHT        PO BOX 346                                                                                 MONTVILLE          OH 44064‐0346
PAUL B NAPIER       PO BOX 1599                                                                                MAGGIE VALLEY      NC 28751‐1599
PAUL B SAUCEDO      705 W AZURE AVE                                                                            N LAS VEGAS        NV 89031‐1737
PAUL B SCOTT        1315 PARTRIDGE RUN CIRCLE                                                                  KETTERING          OH 45429‐5730
PAUL B TEMELKOFF    11 REDFERN DRIVE                                                                           YOUNGSTOWN         OH 44505‐1651
PAUL B WALTER       5541 ILA CT                                                                                DAYTON             OH 45432‐1705
PAUL B WOLF         9947 CARRIAGE WALK DR                                                                      TIPP CITY          OH 45371
PAUL B. MACCREADY
PAUL BABBINI        303 W 8TH ST                                                                               SANTA ROSA        CA   95401‐5419
PAUL BABCOCK        PO BOX 904                                                                                 BLANCHARD         LA   71009‐0904
PAUL BABCOCK        6623 HIGHWAY 63                                                                            SPEEDWELL         TN   37870‐7215
PAUL BABINCHAK      1325 EDINBURGH PL NE                                                                       OWATONNA          MN   55060‐2173
PAUL BACHELOR       5859 KINYON DR                                                                             BRIGHTON          MI   48116‐9578
PAUL BACK           6191 FORESTDALE AVE                                                                        DAYTON            OH   45427‐1812
PAUL BACKUS         8400 E PEARSON                                                                             SHELBY TOWNSHIP   MI   48316‐5115
PAUL BACON          2415 BETA LN                                                                               FLINT             MI   48506‐1838
PAUL BACSA          59686 GLACIER POINTE                                                                       WASHINGTN TWP     MI   48094‐2228
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Name               Address1                          Address2                  Address3   Address4         City             State Zip
PAUL BADER         5396 DUQUESNE AVE                                                                       DAYTON            OH 45431‐2878
PAUL BADKE         52778 WEATHERVANE DR                                                                    CHESTERFIELD      MI 48047‐3137
PAUL BAER          2610 MCCLINTOCKSBURG RD                                                                 DEERFIELD         OH 44411‐8756
PAUL BAETEN        1367 TWAIN CT                                                                           TROY              MI 48083‐5355
PAUL BAGGETT JR    249 RICHMOND DR                                                                         SOCIAL CIRCLE     GA 30025‐4352
PAUL BAILES        9712 RIDGE RD                                                                           KINSMAN           OH 44428‐9552
PAUL BAILEY        533 ARMAND DR                                                                           TROY              OH 45373‐2788
PAUL BAILEY        6572 KINGS CT                                                                           AVON              IN 46123‐9075
PAUL BAILEY        7187 SYCAMORE DR                                                                        AVON              IN 46123‐9761
PAUL BAILEY        105 W LONG LAKE RD                                                                      HARRISON          MI 48625‐8515
PAUL BAILEY        PO BOX 68                                                                               STOCKBRIDGE       MI 49285‐0068
PAUL BAILEY        682 N LAKEVIEW DR                                                                       HALE              MI 48739‐9224
PAUL BAILEY        5050 CREEKSIDE DR                                                                       MURFREESBORO      TN 37128‐3809
PAUL BAILIE        4114 HUNTER RD                                                                          FLINT             MI 48504‐6911
PAUL BAILOR        5536 JIMSON DR                                                                          DIMONDALE         MI 48821‐9722
PAUL BAKAYSA       36 FRANTZEN TER                                                                         CHEEKTOWAGA       NY 14227‐3204
PAUL BAKE          124 THUNDER DR                                                                          EATON             OH 45320‐2729
PAUL BAKER         4025 NICHOLSON RD                                                                       CLARKSVILLE       OH 45113‐7616
PAUL BAKER         333 SHRUB LN S                                                                          NORTH FT MYERS    FL 33917‐7419
PAUL BAKER         1033 COUNTY LINE RD                                                                     COLQUITT          GA 39837‐2223
PAUL BAKER         250 NORTHFIELD DR #141                                                                  BROWNSBURG        IN 46112
PAUL BAKER         3565 N RUSSELL RD                                                                       BLOOMINGTON       IN 47408‐9216
PAUL BAKER         9035 PINECREEK CT                                                                       INDIANAPOLIS      IN 46256‐1199
PAUL BAKER         PO BOX 81                                                                               FLAT LICK         KY 40935‐0081
PAUL BAKER         117 S SMITHVILLE RD                                                                     DAYTON            OH 45431‐1834
PAUL BAKER         1020 W COLDWATER RD                                                                     FLINT             MI 48505‐4831
PAUL BAKER JR      7190 TERRY RD                                                                           SAGINAW           MI 48609‐5262
PAUL BALCIAR       656 N HARTFORD AVE                                                                      YOUNGSTOWN        OH 44509‐1725
PAUL BALDWIN       2660 VINELAND TRL                                                                       BEAVERCREEK       OH 45430‐1819
PAUL BALDWIN       9193 MCKINLEY RD                  C/O CONSTANCE E. PANGLE                               MONTROSE          MI 48457‐9185
PAUL BALDWIN       7076 REID RD                                                                            SWARTZ CREEK      MI 48473‐9422
PAUL BALIUS        1213 STURDEVANT RD                                                                      KIMBALL           MI 48074‐2914
PAUL BALKO         2868 VALLEY VIEW RD                                                                     SHARPSVILLE       PA 16150‐9010
PAUL BALKO         1700 WINNER RD                                                                          HERMITAGE         PA 16148‐6587
PAUL BALL          1688 BLUE ASH PL                                                                        COLUMBUS          OH 43229‐3629
PAUL BALL          63 OMAR ST                                                                              PONTIAC           MI 48342‐2427
PAUL BALLENTINE    RR 1 BOX 1637                                                                           SPRINGVILLE       IN 47462‐9627
PAUL BALLEW        32 COUNTRY CLUB TER                                                                     LEXINGTON         MO 64067‐2210
PAUL BALTZER III   1511 LAFAYETTE ST                                                                       JANESVILLE        WI 53546‐2407
PAUL BAMBERGER     1127 SOUTH LAKE DR UNIT 115                                                             NOVI              MI 48377‐1816
PAUL BANCEL        1115 KUEHNLE ST                                                                         ANN ARBOR         MI 48103‐2618
PAUL BANCZEK       920 GRANT ST                                                                            IRWIN             PA 15642‐3775
PAUL BANDY         725 ISABELLE DR                                                                         ANDERSON          IN 46013‐1637
PAUL BANEY         17 E AVON DR                                                                            CLAYMONT          DE 19703‐1440
PAUL BANIK
PAUL BANKS         12189 HOGAN RD                                                                          GAINES           MI   48436‐9745
PAUL BAPST         325 ACKERSON LAKE DR                                                                    JACKSON          MI   49201‐8756
PAUL BARANOWSKI    957 SCHEURMANN                                                                          ESSEXVILLE       MI   48732
PAUL BARKER        6383 BISHOP RD                                                                          LANSING          MI   48911‐6212
PAUL BARKER
PAUL BARKO         30344 LORAIN RD APT 231                                                                 NORTH OLMSTED    OH 44070‐3971
PAUL BARKSDALE     852 BURLINGAME ST                                                                       DETROIT          MI 48202‐1007
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Name                                  Address1                          Address2            Address3         Address4         City               State Zip
PAUL BARNES                           365 MELANIE LN                                                                          VICKSBURG           MS 39183‐7215
PAUL BARNES                           1218 HUNT CLUB LN                                                                       CHEBOYGAN           MI 49721‐9147
PAUL BARNETT                          984 EMMETT DR                                                                           XENIA               OH 45385‐2438
PAUL BARNETTE                         210 RHODE ISLAND DR                                                                     ELYRIA              OH 44035‐7854
PAUL BARNHILL                         8855 N CITRUS SPRINGS BLVD                                                              CITRUS SPRINGS      FL 34433‐4202
PAUL BARNOWSKI                        15134 MARSH CREEK CT                                                                    STERLING HTS        MI 48313‐1420
PAUL BARNUM                           PO BOX 88                         3718D RONALD DR                                       CASTALIA            OH 44824‐0088
PAUL BARON                            1241 HARTSFIELD DR                                                                      COLUMBIA            TN 38401‐6707
PAUL BARONE                           180 JOSEPH DR                                                                           TONAWANDA           NY 14150‐6224
PAUL BARR                             614 MISTLETOE ST                                                                        GAHANNA             OH 43230
PAUL BARRETT                          6290 RIVER CORNERS RD                                                                   SPENCER             OH 44275‐9326
PAUL BARRETT                          4388 ARDONNA LN                                                                         DAYTON              OH 45432‐1808
PAUL BARRETT                          1741 S 300 E                                                                            ANDERSON            IN 46017‐2039
PAUL BARRIGER                         10445 MCWAIN RD                                                                         GRAND BLANC         MI 48439‐8321
PAUL BARTELS
PAUL BARTH                            304 WINDSOR CT                                                                          SPEARFISH          SD 57783‐3244
PAUL BARTH, MARIE BARTH, GARY BARTH   PAUL BARTH                        4100 TAYLOR AVE                                       BALTIMORE          MD 21236

PAUL BARTLETT                         8583 STARLING CIR                                                                       FRANKLIN           OH   45005‐4133
PAUL BARTLEY                          218 CHAMPIONS BLVD                                                                      BOWLING GREEN      KY   42104‐5535
PAUL BARTLEY                          554 CHADFORD RD                                                                         IRMO               SC   29063‐2269
PAUL BARTOLD                          14878 LIRI DR                                                                           STERLING HEIGHTS   MI   48312‐5772
PAUL BARTON                           315 E COTTAGE AVE                                                                       WEST CARROLLTON    OH   45449‐1347
PAUL BARTOS                           1304 CLAYTON AVE                                                                        LEHIGH ACRES       FL   33972‐7306
PAUL BARTUS                           6123 90TH AVENUE CIR E                                                                  PARRISH            FL   34219‐5416
PAUL BASALA                           43065 AVON RD                                                                           CANTON             MI   48187‐3301
PAUL BASALA                           12644 RIVERDALE AVE                                                                     DETROIT            MI   48223‐3043
PAUL BASFORD                          5493 GOANS PL                                                                           PARMA              OH   44134‐2102
PAUL BASTIEN                          2223 KERSHAW RD                                                                         THE VILLAGES       FL   32162‐7767
PAUL BATCHELOR                        7550 ROBINS RD                                                                          HILLSDALE          MI   49242‐9717
PAUL BATHISH                          2723 GRIFFITH AVE                                                                       BERKLEY            MI   48072‐1381
PAUL BATTISTON                        39452 SCHROEDER DR                                                                      CLINTON TWP        MI   48038‐2864
PAUL BAUER                            5645 W 16TH ST                                                                          SPEEDWAY           IN   46224‐6301
PAUL BAUER                            5403 THORNRIDGE PL                                                                      INDIANAPOLIS       IN   46237‐4228
PAUL BAUERLE                          4949 STELLA DR                                                                          FENTON             MI   48430‐4905
PAUL BAUMGARTNER                      1520 N HURD RD                                                                          ORTONVILLE         MI   48462‐9426
PAUL BAUN                             5765 SUSAN DR E                                                                         INDIANAPOLIS       IN   46250‐1759
PAUL BAXENDALE                        4278 MONTGOMERY ST                                                                      BROOKSVILLE        FL   34601‐8380
PAUL BAXTER                           513 S WESTERVELT RD                                                                     SAGINAW            MI   48604‐1423
PAUL BAXTER                           9366 STATE HIGHWAY 56                                                                   MASSENA            NY   13662‐3433
PAUL BAYLOR                           45 EARLMOOR BLVD                                                                        PONTIAC            MI   48341‐2817
PAUL BAYS                             15480 W. CO. RD 100 N.                                                                  ANDERSON           IN   46012
PAUL BAZIN                            33 DARIN RD                                                                             WARWICK            NY   10990‐4009
PAUL BAZZELLE                         32219 BRUCE ST                                                                          ROMULUS            MI   48174‐4320
PAUL BEAKER                           3401 PLEASANT VALLEY RD                                                                 BRIGHTON           MI   48114‐8116
PAUL BEAM                             3520 FORT DR                                                                            WATERFORD          MI   48328‐1329
PAUL BEAN                             6931 CRESCENT AVE                                                                       BUENA PARK         CA   90620‐3757
PAUL BEARD                            2474 WHITNEY AVE                                                                        MANSFIELD          OH   44906‐1199
PAUL BEAUVAIS                         4634 FOXCROFT DR                                                                        BAY CITY           MI   48706‐2707
PAUL BECK                             11089 S CROSWELL,R#1                                                                    SAINT JOHNS        MI   48879
PAUL BECKER                           5326 OAKWOOD DR                                                                         N TONAWANDA        NY   14120‐9619
PAUL BECKER                           2550 STIEGLER RD                                                                        VALLEY CITY        OH   44280‐9583
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Name                            Address1                        Address2                   Address3   Address4         City               State Zip
PAUL BECKER                     311 LAKESIDE DR                                                                        BEL AIR             MD 21015‐4724
PAUL BECKER                     446 N STATE HWY 149                                                                    COOKS               MI 49817
PAUL BECKER                     BOX 876, 204 WEBSTER                                                                   CATLIN               IL 61817
PAUL BECKER                     523 E 38TH ST                                                                          ANDERSON            IN 46013‐4901
PAUL BECKETT                    720 PIPER RD                                                                           HASLETT             MI 48840‐9793
PAUL BECKOWITZ                  57301 BEDFORD BLVD                                                                     WASHINGTON          MI 48094‐3016
PAUL BEDENBAUGH                 120 S 21ST ST                                                                          SAGINAW             MI 48601‐1445
PAUL BEEBE                      663 BIRMINGHAM LN                                                                      IDAHO FALLS         ID 83402‐4753
PAUL BEGGS                      6070 BROBECK ST                                                                        FLINT               MI 48532‐4006
PAUL BEGRES                     6249 DRAW LN                                                                           SARASOTA            FL 34238‐5135
PAUL BEHM JR                    19639 STATE HIGHWAY M123                                                               NEWBERRY            MI 49868‐7318
PAUL BEHRENS                    9233 TUSCARORA DR                                                                      CLARKSTON           MI 48348‐3152
PAUL BEHRENS                    526 KINLOCH ST                                                                         DEARBORN HEIGHTS    MI 48127‐3752
PAUL BEITER                     2398 PARKER BLVD                                                                       TONAWANDA           NY 14150‐4504
PAUL BEITER SR                  5861 GOODRICH RD APT 4D                                                                CLARENCE CENTER     NY 14032‐9770
PAUL BELDING                    1680 WILDWOOD TRL                                                                      WEATHERFORD         TX 76085‐5712
PAUL BELL                       1420 GADDYS MILL RD                                                                    ROWLAND             NC 28383‐6762
PAUL BELLEMARE                  29 ELLWOOD AVE                                                                         BUFFALO             NY 14223‐2803
PAUL BELLINGAR                  6509 E CANNONSVILLE RD                                                                 EDMORE              MI 48829‐9318
PAUL BELLIVEAU                  53 ROBERT PITT DR APT H                                                                MONSEY              NY 10952‐3113
PAUL BELLON                     30335 OVERLOOK DR                                                                      WICKLIFFE           OH 44092‐1146
PAUL BELLUCCI                   4008 NUTHATCH RD                                                                       SPRING HILL         TN 37174‐8609
PAUL BELOKONNY                  7310 FOREST BROOK BLVD                                                                 DAYTON              OH 45459‐4933
PAUL BELSCHAK JR                304 KAREN AVE                                                                          ROMEOVILLE           IL 60446‐1738
PAUL BEMMAN                     2075 E RATTALEE LAKE RD                                                                HOLLY               MI 48442‐8653
PAUL BENASSI                    961 DEER FIELD CT                                                                      GREENCASTLE         IN 46135‐1489
PAUL BENCIVENGO AUTO REPAIR     149 WOLFS LN                                                                           PELHAM              NY 10803‐1814
PAUL BENJAMIN                   178 EAST 80TH ST.               21 E                                                   NEW YORK            NY 10075
PAUL BENJAMIN                   6510 E CARPENTER RD                                                                    FLINT               MI 48506‐1256
PAUL BENNETT                    10773 E 800 S                                                                          CONVERSE            IN 46919‐9232
PAUL BENNETT                    17065 SE 93RD TELLFIER TER                                                             THE VILLAGES        FL 32162‐1858
PAUL BENNETT                    500 SAWYER RD                                                                          LANSING             MI 48911‐5608
PAUL BENNETT                    27376 TERRELL ST                                                                       DEARBORN HTS        MI 48127‐2883
PAUL BENNETT                    6848 N SILVERY LN                                                                      DEARBORN HEIGHTS    MI 48127‐2141
PAUL BENNETT                    1881 W PRATT RD                                                                        DEWITT              MI 48820‐8492
PAUL BENNETT'S GARAGE           21 INDUSTRIAL PARK BLVD                                                                ELMIRA              NY 14901‐1723
PAUL BENTLEY                    11206 HARRISON AVE                                                                     FARWELL             MI 48622‐9439
PAUL BENTON                     20753 ALDO CT                                                                          CLINTON TWP         MI 48038‐2402
PAUL BENTON                     181 MAIN STREET                                                                        BILOXI              MS 39533
PAUL BENTON BUICK‐PONTIAC‐GMC   795‐799 OAK RIDGE TPKE                                                                 OAK RIDGE           TN 37830
PAUL BENTON CHEVROLET           795‐799 OAK RIDGE TPKE                                                                 OAK RIDGE           TN 37830
PAUL BENTON MOTORS OF NORTH     PAUL BENTON                     3300 US HIGHWAY 70 BYP E                               GOLDSBORO           NC 27534‐8379
CAROLINA, LLC
PAUL BEREC                      PO BOX 138                                                                             NEW BOSTON         MI   48164‐0138
PAUL BERGDOLT                   11170 ROEDEL RD                                                                        FRANKENMUTH        MI   48734‐9702
PAUL BERGER                     1045 WARWICK PL                                                                        DAYTON             OH   45419‐3726
PAUL BERGER JR                  2534 WOLCOTT ST                                                                        FLINT              MI   48504‐3355
PAUL BERGERON                   247 HAVERHILL ST                                                                       METHUEN            MA   01844‐3457
PAUL BERKENPAS                  112 100TH ST SW                                                                        BYRON CENTER       MI   49315‐6908
PAUL BERLIN                     8524 WASHBURN RD                                                                       COLUMBIAVILLE      MI   40421‐9357
PAUL BERMUDEZ                   20909 MENLO AVE                                                                        TORRANCE           CA   90502‐1722
PAUL BERNER JR                  65 DOROTHY ST                                                                          BETHPAGE           NY   11714‐2926
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Name                            Address1                        Address2                      Address3                   Address4               City              State Zip
PAUL BERNIER                    31720 WIXSON DR                                                                                                 WARREN             MI 48092‐1421
PAUL BERNIER                    2863 HARTLAND RD                                                                                                GASPORT            NY 14067‐9421
PAUL BERRY                      115 E WALKER ST                                                                                                 SAINT JOHNS        MI 48879‐1537
PAUL BERTINI                    42046 GREENWOOD DR                                                                                              CANTON             MI 48187‐3615
PAUL BERTRAM                    69 SAINT NICHOLAS PL                                                                                            FORT THOMAS        KY 41075‐1939
PAUL BERTRAND JR                55 FIVAZ POND DR                                                                                                FULTON             NY 13069‐4887
PAUL BESAW                      10 WAINWRIGHT RD                                                                                                CHEEKTOWAGA        NY 14215‐1421
PAUL BESAW                      25017 BOWMAN RD                                                                                                 DEFIANCE           OH 43512‐8401
PAUL BESKI                      6168 WASHBURN RD                                                                                                GOODRICH           MI 48438‐9735
PAUL BESTOR                     44 STATE HIGHWAY 37C                                                                                            MASSENA            NY 13662‐3242
PAUL BETANZOS                   10555 DEWEY LAKE BEACH RD                                                                                       BROOKLYN           MI 49230‐9280
PAUL BETTENCOURT                PO BOX 4622                     HARRIS COUNTY TAX ASSESSOR‐                                                     HOUSTON            TX 77210‐4622
                                                                COLLECTOR
PAUL BETTENCOURT TAX ASSESSOR   HARRIS COUNTY                   PO BOX 4576                   TAX ASSESSOR ‐ COLLECTOR                          HOUSTON            TX   77210‐4576

PAUL BETTIS                     240 ADAMS RD                                                                                                    SEAGROVE          NC 27341‐7474
PAUL BETZ                       431 LAKESIDE RANCH CIRCLE                                                                                       WINTER HAVEN      FL 33881
PAUL BIBAUW                     RUE BASSE 6                     1640 RHODE‐ST‐GENESE          BELGIUM
PAUL BIBAUW                     RUE BASSE 6                                                                              1640 RHODE‐ST‐GENESE
                                                                                                                         BELGIUM
PAUL BICKFORD                   2211 SPRAGUE AVE                                                                                                ROYAL OAK         MI    48067‐2321
PAUL BIEBER                     13766 LANCASTER DR                                                                                              SHELBY TOWNSHIP   MI    48315‐3832
PAUL BIELECKI                   2590 GEMINI DR                                                                                                  LAKE ORION        MI    48360‐1927
PAUL BIERDEMAN                  12 ROTAN CT                                                                                                     BRANDON           MS    39042‐1997
PAUL BIERSTETEL                 14600 W PARKS RD                                                                                                FOWLER            MI    48835‐8211
PAUL BIESZKI                    50403 RIVERSIDE DR                                                                                              MACOMB            MI    48044‐1239
PAUL BIGBY                      21033 W 9 MILE RD                                                                                               SOUTHFIELD        MI    48075‐3204
PAUL BILLHEIMER                 5470 RAINBOW DR                                                                                                 BOKEELIA          FL    33922‐3421
PAUL BILLINGSLY                 2163 SHANCEY LN                                                                                                 COLLEGE PARK      GA    30349‐3427
PAUL BINDER                     8500 WILLOW OAK RD                                                                                              BALTIMORE         MD    21234‐3713
PAUL BIRDSALL SR                APT 129                         12500 SOUTH WESTERN AVENUE                                                      OKLAHOMA CITY     OK    73170‐5947
PAUL BIRECKI                    52365 SAWMILL CREEK DR                                                                                          MACOMB            MI    48042‐5674
PAUL BIRNIE                     327 SAINT LAWRENCE AVE                                                                                          BUFFALO           NY    14216‐1456
PAUL BISHOP                     1665 RICHMOND AVE                                                                                               LINCOLN PARK      MI    48146‐3545
PAUL BISSELL                    33327 BROADMOOR CT                                                                                              LIVONIA           MI    48154‐2903
PAUL BITTERMAN                  4271 E CRONK RD                                                                                                 OWOSSO            MI    48867‐9619
PAUL BJORNSON                   C/O THE MADEKSHO LAW FIRM       8866 GULF FREEWAY SUITE 440                                                     HOUSTON           TX    77017
PAUL BLACK                      1185 ELLSWORTH BAILEY RD SW                                                                                     WARREN            OH    44481‐9778
PAUL BLACKBURN                  5203 KATHIE CT                                                                                                  GREENWOOD         IN    46143‐8905
PAUL BLACKBURN                  3309 FRANKLIN AVE                                                                                               HUBBARD           OH    44425‐2328
PAUL BLACKBURN                  111 N KING ST                                                                                                   BROOKLYN          MI    49230‐9780
PAUL BLACKWELL                  115 AIRFLOAT DR                                                                                                 HENDERSONVILLE    TN    37075‐5405
PAUL BLAIR JR                   10261 N STATE ROAD 37                                                                                           ELWOOD            IN    46036‐9000
PAUL BLAKE                      3380 SILVERSPRING DR                                                                                            DEWITT            MI    48820‐8723
PAUL BLAKELEY                   3677 E DRYDEN RD                                                                                                METAMORA          MI    48455‐9373
PAUL BLANCHFIELD                5010 OAK PARK DR                                                                                                CLARKSTON         MI    48346‐3938
PAUL BLANCO CHEVROLET           3815 FLORIN RD                                                                                                  SACRAMENTO        CA    95823‐1801
PAUL BLANTON                    92 KINSEY RD                                                                                                    XENIA             OH    45385‐1537
PAUL BLANTON JR                 4111 HILAND ST                                                                                                  SAGINAW           MI    48601‐4164
PAUL BLASETTI                   536 BIRR ST                                                                                                     ROCHESTER         NY    14613‐1341
PAUL BLOSIC                     3031 FIVE POINTS RD                                                                                             FOWLER            OH    44418
PAUL BLOSSOM                    PO BOX 14                                                                                                       OAKFIELD          NY    14125‐0014
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Name                     Address1                            Address2                     Address3   Address4             City              State Zip
PAUL BLUST               6221 WALDON RD                                                                                   CLARKSTON          MI 48346‐2241
PAUL BOCHENICK           8000 DOGWOOD RD TRLR 21                                                                          BALTIMORE          MD 21219‐2344
PAUL BOECKER             PO BOX 313                                                                                       OTTOVILLE          OH 45876‐0313
PAUL BOEGER              4625 E STATE ROAD 236                                                                            MIDDLETOWN         IN 47356‐9207
PAUL BOEHME
PAUL BOES                4831 ELM PL                                                                                      TOLEDO            OH   43613‐3032
PAUL BOES                5573 BLOOD RD                                                                                    METAMORA          MI   48455‐9338
PAUL BOGER               3514 NW 88TH TER                                                                                 GAINESVILLE       FL   32606‐5695
PAUL BOGGS               1667 N RANGELINE RD                                                                              PLEASANT HILL     OH   45359‐9703
PAUL BOILEAU             35 LINCOLN RD                                                                                    N SYRACUSE        NY   13212‐3612
PAUL BOLANOWISKI         5483 OLEKSYN RD                                                                                  FLINT             MI   48504‐1041
PAUL BOLEAU              140 HANDLEY ST                                                                                   IMLAY CITY        MI   48444‐1051
PAUL BOLING JR           2609 E 14TH ST                                                                                   MUNCIE            IN   47302‐4704
PAUL BOLOGNESE           1951 E CIRCLE SOUTH DR                                                                           INVERNESS         FL   34453‐0558
PAUL BONACQUISTI         22079 HACKNEY CIR                                                                                LINCOLN           DE   19960‐2524
PAUL BONAQUEST           6493 LAKESIDE DR                                                                                 SHARPSVILLE       PA   16150‐9669
PAUL BONDREAU            C/O EMBRY & NEUSNER                 PO BOX 1409                                                  GROTON            CT   06340
PAUL BONE                6393 MOCKINGBIRD LN                                                                              CLARKSTON         MI   48346‐3042
PAUL BONE                2833 W 4 MILE RD                                                                                 GRAYLING          MI   49738‐9770
PAUL BONECUTTER          2555 LA PLATA DR                                                                                 KETTERING         OH   45420‐1153
PAUL BONENBERGER         1572 PEBBLE CREEK DR                                                                             ROCHESTER         MI   48307‐1765
PAUL BONIFACE            1346 SWEETBRIAR LN                                                                               BEL AIR           MD   21014‐2253
PAUL BONIFIELD           14917 COTTAGE GROVE AVE                                                                          DOLTON            IL   60419‐2131
PAUL BONIFIELD           331 APPLECROSS DR                                                                                FRANKLIN          TN   37064‐6769
PAUL BONKOSKI            9464 FORESTVIEW CIR                                                                              GRAND BLANC       MI   48439‐8057
PAUL BONNER              8174 N PORT                                                                                      GRAND BLANC       MI   48439‐8062
PAUL BOOKER              7307 GRAYDON DR                                                                                  NORTH TONAWANDA   NY   14120‐1494
PAUL BOONE               3629 HOLLENSHADE DR                                                                              ROCHESTER HILLS   MI   48306‐3725
PAUL BOOR                54767 WAUBAY DR                                                                                  MACOMB            MI   48042‐6142
PAUL BOOTH               311 PINE DR                                                                                      NEW STANTON       PA   15672‐9743
PAUL BOSTIC              2176 MCCLENDON RIDGE RD                                                                          RUSSELL SPRINGS   KY   42642‐8825
PAUL BOSTIC              4713 YOUPON ST                                                                                   FLOWER MOUND      TX   75028‐3962
PAUL BOSWORTH            G6395 W COURT ST                                                                                 FLINT             MI   48532
PAUL BOTKA               1948 S RINGLE RD                                                                                 CARO              MI   48723‐9642
PAUL BOTOS               10307 REID RD                                                                                    SWARTZ CREEK      MI   48473‐8518
PAUL BOTTIGLIERI         15 ROCKY RD                                                                                      BROOKFIELD        CT   06804‐2310
PAUL BOUDREAU            C/O EMBRY & NEUSNER                 PO BOX 1409                                                  GROTON            CT   06340
PAUL BOUDREAU MECHANIC   2651 AIRPORT RD RR 2                                                        TIMMINS ON P4N 7C3
                                                                                                     CANADA
PAUL BOULANGER           2495 CORAL DR                                                                                    TROY              MI   48085‐3905
PAUL BOWERS              17933 REIFF CHURCH RD                                                                            HAGERSTOWN        MD   21740‐2435
PAUL BOWKER              1657 MISSOURI AVE                                                                                FLINT             MI   48506‐3506
PAUL BOWLING             1033 IDYLWILD DR                                                                                 RICHMOND          KY   40475‐3612
PAUL BOWMAN              1211 MELODY LN                                                                                   GREENFIELD        IN   46140‐1110
PAUL BOWSER              812 N WRIGHT RD                                                                                  JANESVILLE        WI   53546‐1805
PAUL BOWSER              1005 ELLSWORTH BAILEY RD SW                                                                      WARREN            OH   44481‐9777
PAUL BOWSER JR           540 AIRPORT RD # 1                                                                               WORTHINGTON       PA   16262‐3504
PAUL BOYD                10500 NOGGLES RD                                                                                 MANCHESTER        MI   48158‐9658
PAUL BOYER               164 S WALNUT ST                                                                                  GERMANTOWN        OH   45327‐1251
PAUL BOYKIN              495 CABALLO CT                                                                                   HOLLISTER         CA   95023‐9055
PAUL BOYLAN              C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.       OH   44236
PAUL BOYNTON             APT 428                             930 TAMIAMI TRAIL SOUTH                                      VENICE            FL   34285‐3639
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Name                 Address1                             Address2                     Address3     Address4         City             State Zip
PAUL BOZZO           1611 LORAINE AVE                                                                                LANSING           MI 48910‐2581
PAUL BRACE           PO BOX 215                                                                                      CHAPEL HILL       TN 37034‐0215
PAUL BRACKLEY        BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                 BOSTON HEIGHTS    OH 44236
PAUL BRADFORD        930 SANDLE WOOD DR                                                                              PORT ORANGE       FL 32127‐4864
PAUL BRADLEY         1165 HIGHGATE DR                                                                                FLINT             MI 48507‐3741
PAUL BRADLEY         10201 W OUTER DR                                                                                DETROIT           MI 48223‐2278
PAUL BRADLEY         1440 HOUSE ST NE                                                                                BELMONT           MI 49306‐9266
PAUL BRADLEY         118 BARBARA LN                                                                                  SHERWOOD          OH 43556‐9795
PAUL BRADY           217 BLACK MAPLE CT                                                                              GREENWOOD         IN 46143‐1523
PAUL BRADY           THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                    BALTIMORE         MD 21201

PAUL BRANHAM         611 JADINE DR                                                                                   DEFIANCE         OH   43512‐1326
PAUL BRASPENNINCKX   2644 W AVALON RD                                                                                JANESVILLE       WI   53546‐8979
PAUL BRAUCHER        9513 TROON LN                                                                                   LAKELAND         FL   33810‐2351
PAUL BREAULT         803 E MIDLAND ST APT 2                                                                          BAY CITY         MI   48706
PAUL BRECHTING       1321 SCOTT CREEK DR NE                                                                          BELMONT          MI   49306‐9467
PAUL BREECE          1858 KRISTEN ERIN CT                                                                            INDIANAPOLIS     IN   46234‐9515
PAUL BREIG           609 MELBOURNE RD                                                                                HURST            TX   76053‐5318
PAUL BREMMER         1800 FEDERAL AVE SW                                                                             WYOMING          MI   49509‐1345
PAUL BREWER          PO BOX 326                                                                                      WEBBERVILLE      MI   48892‐0326
PAUL BRIAN           181 STRATTON BROOK RD                                                                           SIMSBURY         CT   06070‐2333
PAUL BRICKMAN        5570 SAVOY DR                                                                                   WATERFORD        MI   48327‐2771
PAUL BRIDGENS        4890 PALMYRA RD SW                                                                              WARREN           OH   44481‐9784
PAUL BRIERE          1605 BRUNSON CT                                                                                 ARLINGTON        TX   76012‐4041
PAUL BRIGGS          4229 NANDINA ST                                                                                 LAKE WALES       FL   33898‐9611
PAUL BRIGGS JR       27885 FLANDERS AVE                                                                              WARREN           MI   48088‐4803
PAUL BRIGHT          1125 RIVER FPRKS ROAD                                                                           SANFORD          NC   27330
PAUL BRINCAT         54422 VERONA PARK DR                                                                            MACOMB           MI   48042‐5812
PAUL BRINEGAR        151 CORINTH HINTON RD                                                                           SADIEVILLE       KY   40370‐9706
PAUL BRINKER         1660 BEARANGER RD                                                                               ATTICA           MI   48412‐9284
PAUL BRISENO         176 BETHEL DR                                                                                   DALLAS           GA   30157
PAUL BRISENO         PO BOX 156                                                                                      CLARKSVILLE      MI   48815‐0156
PAUL BRITT           149 E FLINT PARK BLVD                                                                           FLINT            MI   48505‐3439
PAUL BRITT JR        609 GRACE ST                                                                                    FLINT            MI   48503‐5156
PAUL BRITTAIN        2248 RUGBY AVE                                                                                  COLLEGE PARK     GA   30337‐1019
PAUL BRITTINGHAM     24 MARK DR                                                                                      NEW CASTLE       DE   19720‐1756
PAUL BROADWATER JR   9017 N STATE ROAD 109                                                                           WILKINSON        IN   46186‐9782
PAUL BROADWATER SR   896 FAIRFIELD DR                                                                                GREENFIELD       IN   46140‐7900
PAUL BROBST          1391 BRAINARD RD                                                                                LYNDHURST        OH   44124‐1456
PAUL BROCK           218 WOODLAND WAY                                                                                GRAYSON          KY   41143‐8137
PAUL BROCK           1003 E MONTPELIER PIKE                                                                          MARION           IN   46952‐4260
PAUL BROCKWAY        434 CENTRAL AVE                                                                                 CARLISLE         OH   45005‐3326
PAUL BRODBECK        5695 JORDON RD., RT 1                                                                           WOODLAND         MI   48897
PAUL BROECKER        4804 MAYVILLE ROAD                   BOX 15                                                     SILVERWOOD       MI   48760
PAUL BRONNENBERG     2737 E 550 S                                                                                    ANDERSON         IN   46017‐9503
PAUL BROOKS          9712 STALEY RD                                                                                  FRANKLIN         OH   45005‐1134
PAUL BROOKS          415 PADENREICH AVE                                                                              GADSDEN          AL   35903‐2201
PAUL BROPHY          5 HONEYWOOD LN                                                                                  EWING            NJ   08638‐1220
PAUL BROWER          7136 CRESTWOOD AVE                                                                              JENISON          MI   49428‐8933
PAUL BROWN           2677 PINE TREE RD                                                                               HOLT             MI   48842‐9716
PAUL BROWN           3473 W 52ND ST                                                                                  CLEVELAND        OH   44102‐5862
PAUL BROWN           3533 CHALMERS RD                                                                                SAGINAW          MI   48601‐7125
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Name                Address1                           Address2                     Address3   Address4         City               State Zip
PAUL BROWN          4401 ELMDALE AVE                                                                            CLARKSTON           MI 48346‐3812
PAUL BROWN          1179 HARRIET ST                                                                             MOUNT MORRIS        MI 48458‐1604
PAUL BROWN          639 GUERNSEY LAKE RD                                                                        KALKASKA            MI 49646‐8301
PAUL BROWN          500 LISA ST                                                                                 SAGINAW             MI 48609‐4903
PAUL BROWN          6075 ROCKING CHAIR RD                                                                       GRAND BLANC         MI 48439‐7919
PAUL BROWN          9158 W PINECREST LN                                                                         HOMOSASSA           FL 34448‐8120
PAUL BROWN          4003 RIDGE RD                                                                               CORTLAND            OH 44410‐9780
PAUL BROWN          1450 N STATE HIGHWAY 360 APT 166                                                            GRAND PRAIRIE       TX 75050‐2589
PAUL BROWN          510 I ST                                                                                    BEDFORD             IN 47421‐2218
PAUL BROWN          1220 ENCLAVE CIR APT 409                                                                    ARLINGTON           TX 76011‐6195
PAUL BROWN          3298 E ALLEN RD                                                                             HOWELL              MI 48855‐8281
PAUL BROWN          7834 TROUT HAVEN DR                                                                         EVART               MI 49631‐7933
PAUL BROWN          2211 5TH AVE                                                                                YOUNGSTOWN          OH 44504‐1841
PAUL BROWN          3475 N GALE RD                                                                              DAVISON             MI 48423‐8520
PAUL BROWN          BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
PAUL BROWN JR       BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
PAUL BROWN SR       6178 ANAVISTA DR                                                                            FLINT               MI 48507‐3815
PAUL BROWNE         163 MONROE MILL RD                                                                          BUCHANAN            GA 30113‐2552
PAUL BROWNRIDGE     7192 MARSHALL RD                                                                            OLIVET              MI 49076‐9476
PAUL BROYLES        261 LANCE LN                                                                                LA FOLLETTE         TN 37766‐7421
PAUL BROZ           2137 H E JOHNSON RD                                                                         BOWLING GREEN       KY 42103‐8449
PAUL BRUINING JR.   1947 BELDEN AVE SW                                                                          WYOMING             MI 49509‐1322
PAUL BRUMMETT       1376 W EMERALD DR                                                                           NEW CASTLE          IN 47362‐9121
PAUL BRUMMETT       35436 STEVENS BLVD                                                                          EASTLAKE            OH 44095‐2340
PAUL BRUMMETT       1500 WHITNAUER DR                                                                           LEXINGTON           OH 44904‐1432
PAUL BRUNER         5149 RAY RD                                                                                 LINDEN              MI 48451‐8459
PAUL BRUNNER        2620 BROADWAY ST                                                                            BAY CITY            MI 48708‐8402
PAUL BRUZEWSKI      1905 MADISON CT                                                                             BAY CITY            MI 48708‐8705
PAUL BRYANT         730 CHRIS WAY                                                                               SEVIERVILLE         TN 37876‐0900
PAUL BRYANT         182 RHODE ISLAND ST                                                                         HIGHLAND PARK       MI 48203‐3361
PAUL BRYANT JR      941 HURON AVE                                                                               DAYTON              OH 45402‐5327
PAUL BRYCE          1112 W HILL AVE                                                                             FULLERTON           CA 92833‐4105
PAUL BUCCILLI       3120 DUCE RD                                                                                KENOCKEE            MI 48006‐4507
PAUL BUCHANAN       1129 HUGHES AVE                                                                             FLINT               MI 48503
PAUL BUCHHOLZ       509 MEADOWLAWN ST                                                                           SAGINAW             MI 48604‐2216
PAUL BUCK SR        528 DANBERRY ST                                                                             TOLEDO              OH 43609‐1930
PAUL BUCKNER        5105 BEAUREGARD LN                                                                          BRENTWOOD           TN 37027‐6523
PAUL BUDDENHAGEN    6557 LINCOLN AVE                                                                            LOCKPORT            NY 14094
PAUL BUDNIK         6900 WORMWOOD LN                                                                            HARBOR SPRINGS      MI 49740‐9621
PAUL BUEHLER        2506 15TH AVE W                                                                             BRADENTON           FL 34205‐3964
PAUL BUETOW         7120 CROSSCUT COURT                                                                         FORT WAYNE          IN 46804‐8301
PAUL BUFORD         4949 SHORELINE BLVD                                                                         WATERFORD           MI 48329‐1663
PAUL BUI            8111 GAGE CRES                                                                              STERLING HEIGHTS    MI 48314‐3306
PAUL BULL           1332 S BATES ST                                                                             BIRMINGHAM          MI 48009‐1987
PAUL BUNCH          10486 VORDERMAN AVENUE                                                                      NORTHFIELD          OH 44067‐1242
PAUL BURCHFIELD     5312 CLAIRIDGE RD                                                                           KNOXVILLE           TN 37918‐3515
PAUL BURDIS         2095 GLYNMOORE DR                                                                           LAWRENCEVILLE       GA 30043‐5631
PAUL BURDUE         133 E MOHEGAN TRL                                                                           SANDUSKY            OH 44870‐6201
PAUL BURK           103 SPRINGHILL CT                                                                           MOSCOW MILLS        MO 63362‐1623
PAUL BURKE          4675 WOODRIDGE DR                                                                           AUSTINTOWN          OH 44515‐5108
PAUL BURKE          40942 CALLE CLARO                                                                           INDIO               CA 92203‐7579
PAUL BURKE          2330 DUTTON RD                                                                              ROCHESTER HILLS     MI 48306‐2334
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Name                           Address1                     Address2              Address3       Address4         City               State Zip
PAUL BURKE                     3450 ESSEX DR                                                                      TROY                MI 48084‐2739
PAUL BURKE                     14029 SANDSTONE DR                                                                 FORT WAYNE          IN 46814‐6827
PAUL BURKEL                    2290 W DECKERVILLE RD                                                              CARO                MI 48723‐9710
PAUL BURKETT                   739 NAPLES DR                                                                      HAGERSTOWN          MD 21740‐5711
PAUL BURKETT JR                9067 JAMES ST                                                                      PICAYUNE            MS 39466‐9713
PAUL BURKHOLDER                2500 ROCKPORT RD                                                                   JANESVILLE          WI 53548‐4448
PAUL BURKS                     3309 INNSDALE DR                                                                   NEW CASTLE          IN 47362‐1717
PAUL BURLAGA                   3306 SCHOOL RD                                                                     KINTNERSVILLE       PA 18930‐9520
PAUL BURNETT                   1361 N 2550 E                                                                      LAYTON              UT 84040‐2733
PAUL BURNS                     14400 W MEADOW CREEK DR                                                            BOISE               ID 83713‐2034
PAUL BURNS                     2 N MAIN ST                                                                        FRANKLIN            OH 45005‐1626
PAUL BURRIS                    13 JEFFREY DR                                                                      COLUMBIA CITY       IN 46725‐1430
PAUL BURT                      1522 BRAMBLEWOOD DR                                                                HOLLY               MI 48442‐8311
PAUL BURT                      87 LOWER RD                                                                        COCHRANTON          PA 16314‐3017
PAUL BURTON                    1776 NW 200TH RD                                                                   KINGSVILLE          MO 64061‐9261
PAUL BURTON                    135 WEST LOCUST STREET                                                             MORENCI             MI 49256‐1319
PAUL BURTON                    2704 AUTUMN LEAVES DR                                                              PORT ORANGE         FL 32128‐7153
PAUL BURTON                    72495 FISHER RD                                                                    BRUCE TWP           MI 48065‐3512
PAUL BUSCH AUTO CENTER, INC.   148 MAIN ST E                                                                      WABASHA             MN 55981‐1421
PAUL BUSCH AUTO CENTER, INC.   PAUL BUSCH                   148 MAIN ST E                                         WABASHA             MN 55981‐1421
PAUL BUSHI                     8197 BRIARWOOD DR                                                                  BROADVIEW HTS       OH 44147‐1010
PAUL BUSSELL JR                1022 CARLISLE CIR            C/O BETTY J BUSSELL                                   NORMAN              OK 73069‐7439
PAUL BUSUTTIL                  1162 CHERRYLAWN DR                                                                 PONTIAC             MI 48340‐1704
PAUL BUTCHER                   12538 COMMERCE RD                                                                  MILFORD             MI 48380‐1210
PAUL BUTLER                    2055 CLERMONT AVE NE                                                               WARREN              OH 44483‐3525
PAUL BUTLER                    PO BOX 546                                                                         MANOR               PA 15665‐0546
PAUL BUTLER                    5005 BRIRE PATCH LN                                                                BURLESON            TX 76028
PAUL BUTTRAM                   PO BOX 864                                                                         LEES SUMMIT         MO 64063‐0864
PAUL BYRAM                     15 KILLARNEY CIR                                                                   BROWNSBURG          IN 46112‐8252
PAUL BYRD                      267 S GRANT AVE                                                                    INDIANAPOLIS        IN 46201‐4552
PAUL BYRNE                     6252 NORMANDY TER                                                                  OAK PARK            CA 91377‐5818
PAUL C ADKINS                  1823 MONTGOMERY AVE.                                                               FAIRBORN            OH 45324‐3119
PAUL C AHN                     28349 LACOSTA CT                                                                   FARMINGTON HILLS    MI 48331‐2994
PAUL C ALARCON                 2779 38TH AVE                                                                      SAN FRANCISCO       CA 94116
PAUL C ARMSTRONG               1309 HOLLY BEND CIRCLE                                                             KETTERING           OH 45429
PAUL C BROOKS                  2254 CHAPEL DRIVE                                                                  FAIRBORN            OH 45324‐2722
PAUL C CARDINALI               1905 BIRCHWOOD LOOP                                                                LAKELAND            FL 33811‐2927
PAUL C EVANS                   P O BOX 151                                                                        VANDALIA            OH 45377‐0151
PAUL C GEHRES                  3019 WELLINGTON DRIVE                                                              DAYTON              OH 45410‐3135
PAUL C HAGERMAN                4536 COMANCHEE TRL                                                                 JAMESTOWN           OH 45335
PAUL C HESS                    169                          BROOKSIDE TER W                                       TONAWANDA           NY 14150‐5932
PAUL C JENKINS                 7098 FAIRVIEW DR.N.E.                                                              BROOKFIELD          OH 44403
PAUL C JOHNSON                 310 WOODLAWN AVE                                                                   YPSILANTI           MI 48198‐5916
PAUL C KESLER                  1500 N M‐66 HWY                                                                    WOODLAND            MI 48897
PAUL C MARTIN                  1301 W 32ND ST                                                                     INDIANAPOLIS        IN 46208‐4538
PAUL C MONROE                  2800 MULBERRY DR                                                                   CLARKSTON           MI 48348‐5304
PAUL C NICKELL                 6716 WINTERGREEN PL                                                                HUBER HEIGHTS       OH 45424‐3980
PAUL C PADEN                   704 TIMBERLINE DR                                                                  COLUMBIANA          OH 44408‐8440
PAUL C PALISTRANT JR           62 DUPONT AVE                                                                      TONAWANDA           NY 14150‐7723
PAUL C SCHNEIDER               418 W EAGLEWOOD DR                                                                 ERIE                PA 16511
PAUL C UTZ                     2017 HOMESITE DRIVE                                                                DAYTON              OH 45414
PAUL C VALERIO                 3036 RIDGEMORE AVE.                                                                KETTERING           OH 45429
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Name                          Address1                          Address2                     Address3   Address4               City                State Zip
PAUL C WHITE                  2313 E WHIPP RD                                                                                  KETTERING            OH 45440‐2661
PAUL C YOUNG                  5312 SABRA AVE                                                                                   DAYTON               OH 45424‐4343
PAUL C. REED, SR.             735 CENTAURI CT                                                                                  GRAND JUNCTION       CO 81506
PAUL CABANAW                  13955 VILLAGE LN                                                                                 RIVERVIEW            MI 48193‐7650
PAUL CAHN                     97 ARDEN ST APT 4A                                                                               NEW YORK             NY 10040‐1187
PAUL CAINES                   3845 QUEEN OAKS DR                                                                               CHELSEA              MI 48118‐9703
PAUL CALAWAY                  RT #2                             311 S SAND LAKE RD                                             READING              MI 49274
PAUL CALCAGNO                 1481 S GENEVIEVE ST                                                                              BURTON               MI 48509‐2401
PAUL CALIP JR                 15744 FM 16 W                                                                                    LINDALE              TX 75771‐6207
PAUL CALLAHAN                 10666 W OAK RIDGE RD                                                                             EVANSVILLE           WI 53536‐8306
PAUL CALLAN                   170 ARGYLE RD                                                                                    LANGHORNE            PA 19047‐8127
PAUL CALLAS                   36996 S RIDGEVIEW CT                                                                             TUCSON               AZ 85739‐1272
PAUL CAMERON                  4293 KNOLLWOOD DR                                                                                GRAND BLANC          MI 48439‐2026
PAUL CAMPBELL                 9775 FOOTHILL PL                                                                                 LAKE VIEW TER        CA 91342‐7022
PAUL CAMPBELL                 845 PINEWOOD DR APT B                                                                            PLAINFIELD           IN 46168‐2426
PAUL CAMPBELL                 3 ISLAND AVE APT 6                                                                               KITTERY              ME 03904‐1680
PAUL CANADA                   174 DAWSON CT                                                                                    WESTLAND             MI 48186‐8636
PAUL CANADY                   1025 CRYSTAL BEAR TRL                                                                            MURFREESBORO         TN 37128‐8211
PAUL CANSLER                  9607 CREEK VIEW COURT                                                                            DAVISON              MI 48423‐3501
PAUL CAPEN                    3276 LOCKPORT OLCOTT RD                                                                          NEWFANE              NY 14108‐9604
PAUL CARCONE'S AUTO SERVICE   59 NEWKIRK RD.                                                            RICHMOND HILL ON L4C
                                                                                                        3G4 CANADA
PAUL CARDY                    5680 KECK RD                                                                                     LOCKPORT            NY   14094‐9307
PAUL CARLSON                  BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH   44236
PAUL CAROLYN                  809 S 24TH AVE                                                                                   YAKIMA              WA   98902‐4105
PAUL CARON                    2757 BRISBANE ST                                                                                 COMMERCE TOWNSHIP   MI   48390‐1111
PAUL CARPENTER                6288 CROSBY RD                                                                                   LOCKPORT            NY   14094‐7950
PAUL CARPENTER                10232 EAST AIRPORT ROAD                                                                          SAINT HELEN         MI   48656‐9429
PAUL CARPENTER                5820 HIGHWAY 1693                                                                                WELLINGTON          KY   40387‐8384
PAUL CARPER                   618 TANGLEWOOD DR                                                                                NOBLEVILLE          IN   46060‐9609
PAUL CARR                     4875 W STATE ROUTE 571                                                                           WEST MILTON         OH   45383‐9781
PAUL CARR                     3432 ANDOVER RD                                                                                  ANDERSON            IN   46013‐4215
PAUL CARR                     8970 W U S 136                                                                                   JAMESTOWN           IN   46147
PAUL CARR                     6921 PEBBLECREEK WOODS DR 14                                                                     WEST BLOOMFIELD     MI   48322
PAUL CARR                     6380 N TERRITORIAL RD                                                                            PLYMOUTH            MI   48170‐5040
PAUL CARR                     BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH   44236
PAUL CARRADINE                303 MCEWAN ST                                                                                    BAY CITY            MI   48708‐5435
PAUL CARRICO                  2123 GOLFSIDE VILLAGE DR 107                                                                     LEHIGH ACRES        FL   33936
PAUL CARRITZ                  4741 FAIRGROUNDS RD                                                                              ATWATER             OH   44201‐9392
PAUL CARRIVEAU                5011 N HUBBARD LAKE RD                                                                           SPRUCE              MI   48762‐9564
PAUL CARROLL III              7750 WESTBOURNE CT                                                                               SYLVANIA            OH   43560‐3752
PAUL CARRY                    1927 S NURSERY RD TRLR 8                                                                         IRVING              TX   75060‐7042
PAUL CARSTEN                  11435 HASKELL LAKE RD                                                                            MARION              MI   49665‐9537
PAUL CARTER                   65 MULLIGAN DR                                                                                   MOUNT CLEMENS       MI   48043‐2432
PAUL CARTER                   2514 NTH EAST 46TH                                                                               KANSAS CITY         MO   64116
PAUL CARTER                   2256 INDIANAPOLIS AVE                                                                            INDIANAPOLIS        IN   46208‐5533
PAUL CARTER                   2055 SEYMOUR AVE                                                                                 FLINT               MI   48503‐4342
PAUL CARTER                   3520 BREWER DR                                                                                   INDIANAPOLIS        IN   46222‐1023
PAUL CARTER JR                23826 27 MILE RD                                                                                 SPRINGPORT          MI   49284‐9469
PAUL CARUANA                  54297 STILLWATER DR                                                                              MACOMB              MI   48042‐6100
PAUL CASPERS                  1359 W YOUNGS DITCH RD                                                                           BAY CITY            MI   48708‐9171
PAUL CASSAR                   38587 TUSCANY CT                                                                                 LIVONIA             MI   48154‐4824
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Name                                Address1                         Address2                     Address3   Address4         City            State Zip
PAUL CASSIDY                        1401 SUNNINGDALE LN                                                                       ORMOND BEACH     FL 32174‐2498
PAUL CASTILLO                       12651 SEMINOLE BLVD LOT 42                                                                LARGO            FL 33778‐2207
PAUL CASTO                          PO BOX 340                                                                                SOMERVILLE       AL 35670‐0340
PAUL CATICCHIO                      25630 DRAKEFIELD AVE                                                                      EUCLID           OH 44132‐1846
PAUL CATINELLA                      416 MOORE CREEK RD                                                                        HURST            TX 76053‐6447
PAUL CAUDILL                        5920 BANNER ST                                                                            TAYLOR           MI 48180‐1255
PAUL CAVAGNARO                      851 WILLOW ST                                                                             LOCKPORT         NY 14094‐5125
PAUL CAVANAUGH                      11993 SPENS LN                                                                            LACHINE          MI 49753‐9501
PAUL CAVANAUGH                      5796 PATTERSON DR                                                                         TROY             MI 48085‐3925
PAUL CAVANAUGH                      516 LIBERTY CIR                                                                           WEST GROVE       PA 19390‐1386
PAUL CAVINS                         APT F                            23611 WILLIAMSBURG CIRCLE                                WOODHAVEN        MI 48183‐3324
PAUL CAVUCCI                        14631 ROBINSON RD                                                                         NEWTON FALLS     OH 44444‐9614
PAUL CEBULAK                        7059 TAMARACK DR                                                                          HUBBARD          OH 44425‐3053
PAUL CEH                            10705 CEDAR CREEK AVE                                                                     LAS VEGAS        NV 89134‐5314
PAUL CELLA                          1606 NW GARRETT DR                                                                        BLUE SPRINGS     MO 64015‐6426
PAUL CERDA                          15121 PADDOCK ST                                                                          SYLMAR           CA 91342‐5013
PAUL CERNEKA                        3795 KELLY ST                                                                             MINERAL RIDGE    OH 44440‐9706
PAUL CERNICH                        1604 HIRAM AVE                                                                            NILES            OH 44446‐4017
PAUL CERQUA                         4 CARRIAGE HOUSE LN                                                                       ROCHESTER        NY 14624‐5807
PAUL CERVENKA                       14210 S 84TH AVE                                                                          ORLAND PARK       IL 60462‐2318
PAUL CHALABIAN                      14169 WEDGEWOOD RD                                                                        STERLING HTS     MI 48312‐5533
PAUL CHAMBERLAIN                    6296 W BOGGSTOWN RD                                                                       BOGGSTOWN        IN 46110‐9731
PAUL CHAMBERLAIN                    1919 NICHOL AVE                                                                           ANDERSON         IN 46016‐3058
PAUL CHAMBERLIN SR.                 4824 AIRSTRIP DR                                                                          BARRYTON         MI 49305‐9502
PAUL CHAMBERS                       104 E 16TH ST                                                                             SAN JUAN         TX 78589‐2512
PAUL CHAMBERS I I                   3308 MONO GENE DR                                                                         FORT WAYNE       IN 46806‐3534
PAUL CHAMPION                       1480 VERVILLA RD                                                                          MC MINNVILLE     TN 37110‐6017
PAUL CHANDLER                       PO BOX 720                                                                                PLAINFIELD       IN 46168‐0720
PAUL CHANDLER                       6964 CLAUDE PARKS RD                                                                      MURRAYVILLE      GA 30564‐1342
PAUL CHANDLER                       2209 DUNKELBERG RD                                                                        FORT WAYNE       IN 46819‐2128
PAUL CHANEL                         13075 APPLE TREE LN                                                                       DEWITT           MI 48820‐8173
PAUL CHAPEL                         5720 E 1125 S                                                                             FAIRMOUNT        IN 46928‐9130
PAUL CHAPIN                         3100 LEATHERWOOD RD                                                                       WILLIAMSPORT     TN 38487‐2826
PAUL CHAPMAN                        3445 OTTWAY DR                                                                            HOLIDAY          FL 34691‐1524
PAUL CHAPMAN                        1207 CLOPTON BRIDGE DR                                                                    ROCHESTER HLS    MI 48306‐3917
PAUL CHAPMAN                        16815 ARMADA CENTER RD                                                                    ARMADA           MI 48005‐2305
PAUL CHARBENEAU                     7400 GRATIOT AVE                                                                          SAINT CLAIR      MI 48079‐2208
PAUL CHARLES                        16601 GARFIELD AVE SPC 313                                                                PARAMOUNT        CA 90723‐6462
PAUL CHARPENTIER                    GENERAL DELIVERY                                                                          FRENCHBORO       ME 04635‐9999
PAUL CHARVAT                        10531 W HILLTOP DR                                                                        CASA GRANDE      AZ 85293‐9097
PAUL CHEATWOOD                      928 WOODBROOK DR                                                                          PURCELL          OK 73080‐2109
PAUL CHECKOWSKY                     8870 DEERWOOD RD                                                                          CLARKSTON        MI 48348‐2828
PAUL CHEMA                          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
PAUL CHEPONIS                       19 MAKO CT                                                                                SOUTH RIVER      NJ 08882‐1107
PAUL CHERNOW                        17576 ROOSEVELT RD                                                                        HEMLOCK          MI 48626‐9765
PAUL CHERRY                         11084 IRVINGTON DR                                                                        WARREN           MI 48093‐4903
PAUL CHESLEY                        3121 GLASGOW DR                                                                           LANSING          MI 48911‐1317
PAUL CHESTNUT                       113 KAWATUSKA WAY                                                                         LOUDON           TN 37774‐2639
PAUL CHEVROLET PONTIAC BUICK        NO ADVERSE PARTY
PAUL CHEVROLET‐OLDS‐PONTIAC‐BUICK   PO BOX 56                                                                                 LEHIGHTON        PA 18235‐0056
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Name                                Address1                        Address2                     Address3   Address4         City            State Zip
PAUL CHEVROLET‐OLDS‐PONTIAC‐BUICK   PAUL ORKIN                      PO BOX 56                                                LEHIGHTON        PA 18235‐0056

PAUL CHEVROLET‐OLDS‐PONTIAC‐BUICK   PAUL ORKIN                      321 S HOFFMAN BLVD                                       ASHLAND         PA 17921‐1909

PAUL CHEVROLET‐OLDS‐PONTIAC‐BUICK   ATT: PAUL ORKIN                 321 HOFFMAN BLVD                                         ASHLAND         PA 17921

PAUL CHIAMIS                        5537 OAK CHASE DR                                                                        ANTIOCH         TN   37013‐4269
PAUL CHIAU ONG                      24180 WESTMONT DR                                                                        NOVI            MI   48374‐3660
PAUL CHICWAK                        7318 IRA AVE                                                                             BROOKLYN        OH   44144‐3228
PAUL CHILDRESS                      11285 BROWNELL AVE                                                                       PLYMOUTH        MI   48170‐4424
PAUL CHISHOLM                       1559 BENJAMIN DR                                                                         NIAGARA FALLS   NY   14304‐2722
PAUL CHISMARK                       432 SECRIST LN                                                                           GIRARD          OH   44420‐1113
PAUL CHITTY                         222 AMANDA DR                                                                            BELL BUCKLE     TN   37020‐4346
PAUL CHMIEL                         3275 MOORESVILLE HWY                                                                     LEWISBURG       TN   37091‐6818
PAUL CHMIKO                         3988 W GRAND RIVER R#5                                                                   OWOSSO          MI   48867
PAUL CHOLASINSKI                    98 OAKGROVE CT                                                                           ELMA            NY   14059‐9650
PAUL CHRENKA                        3229 MERIETT CT                                                                          SHELBY TWP      MI   48316‐1362
PAUL CHRISTE                        1100 MARSAC ST                                                                           BAY CITY        MI   48708‐8548
PAUL CHRISTENSEN                    17712 AIRPORT                                                                            FRASER          MI   48026‐3107
PAUL CHRISTIAN                      18205 DOTY RD                                                                            WOODBURN        IN   46797‐9752
PAUL CHRISTOPHER                    8890 BISHOP RD                                                                           BRIGHTON        MI   48116‐8311
PAUL CHRISTY                        PO BOX 313                                                                               SARDIS          GA   30456‐0313
PAUL CHURA                          98 W BASS CIR                                                                            MARBLEHEAD      OH   43440‐9506
PAUL CIBLEY                         PO BOX 574                                                                               LACONIA         NH   03247‐0574
PAUL CIBLEY                         P.O. BOX 574                                                                             LACONIA         NH   03247‐0574
PAUL CIEGOTURA                      32100 KENNY DR                                                                           CHESTERFIELD    MI   48047‐2752
PAUL CIELUSZAK                      851 BEAR CREEK CHURCH RD                                                                 MT PLEASANT     NC   28124‐7707
PAUL CIMEOT SR                      30461 E POINTE DR                                                                        GIBRALTAR       MI   48173‐9586
PAUL CIMPRICH                       5273 COCO DR                                                                             HUBER HEIGHTS   OH   45424‐5701
PAUL CIOLEK                         8081 WEBSTER RD                                                                          FREELAND        MI   48623‐9026
PAUL CIPOLLONE                      4047 PAXTON AVE                                                                          CINCINNATI      OH   45209‐1802
PAUL CISCO                          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.     OH   44236
PAUL CLARE                          5070 STRAWBERRY PINES AVE NW                                                             COMSTOCK PARK   MI   49321‐9612
PAUL CLARK                          2221 W GARRISON RD                                                                       OWOSSO          MI   48867‐9736
PAUL CLARK                          235 HUNTER AVE                                                                           NILES           OH   44446‐1620
PAUL CLARK                          378 CAREY STREET, BOX 113                                                                DEERFIELD       MI   49238
PAUL CLARK                          1187 NORTH ST                                                                            NOBLESVILLE     IN   46060‐1829
PAUL CLARK                          4951 E. ROUTE 70                                                                         DRAKESBORO      KY   42337
PAUL CLARK                          4 YALE CT                                                                                SAINT CHARLES   MO   63301‐1347
PAUL CLARK                          PO BOX 5094                                                                              COVINA          CA   91723‐5094
PAUL CLARK                          2721 FAIRBROOK COURT                                                                     FORT WAYNE      IN   46809‐2221
PAUL CLARK JR                       5227 MAPLE AVE                                                                           SWARTZ CREEK    MI   48473‐8271
PAUL CLARK SR                       4317 MARTINSBURG PIKE                                                                    CLEAR BROOK     VA   22624‐1531
PAUL CLARKE                         5449 FLORIA DR                                                                           SWARTZ CREEK    MI   48473‐8826
PAUL CLASPER                        11454 MOFFETT CT                                                                         FENTON          MI   48430‐8810
PAUL CLATTERBUCK JR                 5128 SOMERSET DR                                                                         PRAIRIE VLG     KS   66207‐2234
PAUL CLAYPOOL                       3451 S HIGHWAY 13                                                                        POLO            MO   64671‐8701
PAUL CLENDANIEL                     357 OAK POINT SCHOOL RD                                                                  WYOMING         DE   19934‐3753
PAUL CLEVENGER                      312 COLUMBIA ST                                                                          WEST UNION      WV   26456‐1108
PAUL CLICK                          5167 STATE ROUTE 5                                                                       NEWTON FALLS    OH   44444‐9574
PAUL CLINE SR                       10 THUNDERBIRD RD                                                                        OAKWOOD         IL   61858‐6153
PAUL CLINKHAMMER                    337 LAURIE LN                                                                            GRAND ISLAND    NY   14072‐1961
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Name                         Address1                        Address2            Address3         Address4         City               State Zip
PAUL CLOER                   3701 W CARSON CITY RD                                                                 SHERIDAN            MI 48884‐9207
PAUL CLOSSON                 2164 W WILLARD RD                                                                     CLIO                MI 48420‐7814
PAUL CLOVER                  5086 ONA LAKE DR                                                                      WHITE LAKE          MI 48383‐3252
PAUL COALSON                 664 E MILLINGTON RD                                                                   MAYVILLE            MI 48744‐9392
PAUL COAN                    21252 WINDSOR LAKE LN                                                                 CREST HILL           IL 60403‐8704
PAUL COBBLE                  300 STATE ST                                                                          OXFORD              MI 48371‐6323
PAUL COCO                    410 CENTERVILLE RD                                                                    WILMINGTON          DE 19808‐4716
PAUL COE JR                  2001 MONTCLAIR AVE                                                                    FLINT               MI 48503‐5345
PAUL COFFELT                 26267 GREYTHORNE TRL                                                                  FARMINGTON HILLS    MI 48334‐4817
PAUL COHEE                   3307 MILLS ACRES ST                                                                   FLINT               MI 48506‐2132
PAUL COINTIN                 12438 DAWN HILL DR                                                                    MARYLAND HTS        MO 63043‐3638
PAUL COKER                   33546 AVONDALE ST                                                                     WESTLAND            MI 48186‐7838
PAUL COLE                    6121 S MISSION RD                                                                     MT PLEASANT         MI 48858‐9138
PAUL COLE                    1404 MELANIE CT                                                                       KOKOMO              IN 46902‐9704
PAUL COLE JR                 16 MARKER DR                                                                          WILMINGTON          DE 19810‐2259
PAUL COLEGROVE               909 RATTLESNAKE RDG                                                                   GRAYSON             KY 41143‐7621
PAUL COLEMAN                 224 SE WESTMINISTER RD                                                                BLUE SPRINGS        MO 64014‐3747
PAUL COLEMAN                 1859 BAYVIEW                                                                          BONNE TERRE         MO 63628‐3895
PAUL COLEMAN                 2487 ROAD 22                                                                          CONTINENTAL         OH 45831‐9473
PAUL COLIADIS                114 EASTWIND DR NE                                                                    WARREN              OH 44484‐6017
PAUL COLLIER                 7091 SPRING LAKE TRL                                                                  SAGINAW             MI 48603‐1671
PAUL COLLIER                 BOX 559K ROUTE 2                                                                      PENNINGTON GAP      VA 24277
PAUL COLLINS                 1453 WOODVILLE PIKE                                                                   LOVELAND            OH 45140‐9592
PAUL COLLINS                 13405 W COUNTY ROAD 850 N                                                             GASTON              IN 47342‐9010
PAUL COLLINS                 16396 E 34TH ST S                                                                     INDEPENDENCE        MO 64055‐2904
PAUL COLLINS                 2225 WASHINGTON BLVD                                                                  KANSAS CITY         KS 66102‐2609
PAUL COLLINS
PAUL COLLIS                  6905 FAIRVIEW ST                                                                      ANDERSON           IN   46013‐3603
PAUL COLLIVER                1890 OLD FRANKLIN TURN PIKE                                                           ROCKY MOUNT        VA   24151
PAUL COLMO                   2005 HACKMANN ESTATES DR                                                              SAINT CHARLES      MO   63303‐4463
PAUL COLONIS                 880 KILBY RD                                                                          CLARKRANGE         TN   38553‐5437
PAUL COLONNA                 200 MYSTIC CT                                                                         ORTONVILLE         MI   48462‐8920
PAUL COLURSO                 916 BROADWAY                                                                          PITCAIRN           PA   15140‐1602
PAUL COMBS                   2737 PETERS CORNERS RD                                                                ALDEN              NY   14004‐9756
PAUL COMBS                   755 ALBERT RD                                                                         BROOKVILLE         OH   45309‐9202
PAUL COMBS                   229 ZACK BRANCH RD                                                                    TALCUM             KY   41722‐8754
PAUL COMPTON                 PO BOX 556                      OLD SCHOOL RD                                         FRANKTON           IN   46044‐0556
PAUL COMPTON                 3209 WILLIAMS CREEK RD                                                                ONEIDA             TN   37841‐5640
PAUL CONARTY                 21303 METROVIEW RD                                                                    FARMINGTON HILLS   MI   48335‐4848
PAUL CONDON                  767 BAY CROSSING DR                                                                   WATERFORD          MI   48327‐4603
PAUL CONFORTO                20626 OLD HOMESTEAD DR                                                                HARPER WOODS       MI   48225‐2039
PAUL CONLEY                  3577 PARALLEL RD                                                                      MORAINE            OH   45439‐1213
PAUL CONLEY                  3861 FERDEN RD                                                                        NEW LOTHROP        MI   48460‐9606
PAUL CONN                    165 WESTHAFER RD                                                                      VANDALIA           OH   45377‐2836
PAUL CONNER                  19026 HENRY ST                                                                        MELVINDALE         MI   48122‐1625
PAUL CONNER                  3501 MELODY LN W                                                                      KOKOMO             IN   46902‐7515
PAUL CONRAD                  28780 APPLE BLOSSOM DR                                                                FLAT ROCK          MI   48134‐3327
PAUL CONRAD                  2191 GRAND RIVER RD                                                                   BANCROFT           MI   48414‐9731
PAUL CONTE CADILLAC, INC.    PAUL CONTE                      169 W SUNRISE HWY                                     FREEPORT           NY   11520‐3442
PAUL CONTE CADILLAC, INC.    169 W SUNRISE HWY                                                                     FREEPORT           NY   11520‐3442
PAUL CONTE CHEVROLET, INC.   68 E SUNRISE HWY                                                                      FREEPORT           NY   11520‐3923
PAUL CONTE CHEVROLET, INC.   PAUL CONTE                      68 E SUNRISE HWY                                      FREEPORT           NY   11520‐3923
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Name                         Address1                         Address2                     Address3   Address4         City                  State Zip
PAUL CONTE CHEVROLET, INC.   42 E SUNRISE HWY                                                                          FREEPORT               NY 11520‐3923
PAUL CONWAY                  38630 N BAY DR                                                                            WILLOUGHBY             OH 44094‐8011
PAUL COOK                    3828 AMIGO AVE                                                                            INDIANAPOLIS           IN 46237‐3216
PAUL COOK                    2612 E WILLARD ST                                                                         MUNCIE                 IN 47302‐2753
PAUL COOK                    3755 S SHERMAN AVE                                                                        FREMONT                MI 49412‐8707
PAUL COOK                    2481 S SHORE DR                                                                           CRYSTAL                MI 48818‐9691
PAUL COOK                    9175 VALETTA DR                                                                           TEMPERANCE             MI 48182‐3312
PAUL COOK                    1944 DAKOTA AVE                                                                           ARKDALE                WI 54613‐9514
PAUL COOK                    1719 BEECH DR N                                                                           PLAINFIELD             IN 46168‐2137
PAUL COOK                    17 PALACE DR                                                                              ROANOKE                IN 46783‐9177
PAUL COOK                    6428 E PIERSON RD                                                                         FLINT                  MI 48506‐2258
PAUL COOKSEY                 22948 E SCHAFER ST                                                                        CLINTON TWP            MI 48035‐1874
PAUL COONAN                  244 SYCAMORE RD                                                                           AUBURN                 MI 48611‐9419
PAUL COOPER                  7072 GLEASON HILL RD. LOT# 2                                                              BELFAST                NY 14711
PAUL COOPER                  1310 LILLIAN DR                                                                           FLINT                  MI 48505‐2580
PAUL COOPER                  97 GRAND VALLEY CT                                                                        HOWARD                 OH 43028
PAUL COOPER                  PO BOX 102                                                                                EATON RAPIDS           MI 48827‐0102
PAUL COOPER                  26284 CARRONADE DR                                                                        PERRYSBURG             OH 43551‐6374
PAUL COOPER & LAURA COOPER   3306 JAMES ST                                                                             PARKERSBURG            WV 26104
PAUL COPELAND SR             3060 OLD HERITAGE WAY                                                                     DAYTON                 OH 45432‐2608
PAUL COPPLER                 1461 E M‐55                                                                               WEST BRANCH            MI 48661
PAUL COPSES                  1025 TIMBERLAKE DR                                                                        BLOOMFIELD TOWNSHIP    MI 48302‐2848
PAUL COPSEY                  PO BOX 84                                                                                 PAULDING               OH 45879‐0084
PAUL CORDLE                  9699 W COUNTY ROAD 100 S                                                                  SHIRLEY                IN 47384‐9670
PAUL CORKINS                 2381 S WHITNEY BEACH RD                                                                   BEAVERTON              MI 48612‐9496
PAUL CORNELIUS               501 FORSYTHE CT                                                                           SHREVEPORT             LA 71115‐3649
PAUL CORNELL                 9880 INDIANA AVE STE 10                                                                   RIVERSIDE              CA 92503‐5522
PAUL CORRIGAN                2020 JASPER RD                                                                            XENIA                  OH 45385‐7828
PAUL CORRION                 200 BURNS RD                                                                              MUNGER                 MI 48747‐9718
PAUL CORSTANGE               6062 N 14TH ST                                                                            KALAMAZOO              MI 49009‐5447
PAUL CORVINO                 76 OAK TREE RD                                                                            TAPPAN                 NY 10983‐2416
PAUL COSTANZA                30321 ROAN DR                                                                             WARREN                 MI 48093‐5616
PAUL COTE                    PO BOX 293                                                                                HARTLY                 DE 19953‐0293
PAUL COUCH                   PO BOX 519                                                                                COLLINSVILLE           OH 45004‐0519
PAUL COUCH JR.               171 CHATEAU DR                                                                            PENDLETON              IN 46064‐9480
PAUL COULTER                 9023 ERIE AVENUE                                                                          SAINT HELEN            MI 48656‐9713
PAUL COURTNEY                20498 DOUGLAS RD                                                                          TONGANOXIE             KS 66086‐5103
PAUL COUTURE                 6321 HATCHERY RD                                                                          WATERFORD              MI 48329‐3148
PAUL COUTURE                 1950 TRAVIS ST                                                                            SAINT HELEN            MI 48656‐9481
PAUL COUTURE                 1613 SINGER RD                                                                            JOPPA                  MD 21085‐2001
PAUL COUWLIER                1374 NANCYWOOD DR                                                                         WATERFORD              MI 48327‐2041
PAUL COVELL                  44 MORROW AVE                                                                             LOCKPORT               NY 14094‐5015
PAUL COVINGTON               218 CHAMPION DR.                                                                          BERRYVILLE             AR 72616
PAUL COWAN                   3721 W HIAWATHA DR                                                                        OKEMOS                 MI 48864‐4011
PAUL COWLES                  22310 STEPHENS ST                                                                         SAINT CLAIR SHORES     MI 48080‐1422
PAUL COX                     11464 RIDGE HWY                                                                           TECUMSEH               MI 49286‐9640
PAUL COX                     2291 GULF TO BAY BLVD LOT 235                                                             CLEARWATER             FL 33765‐4028
PAUL COX                     3050 SHIMMONS RD                                                                          AUBURN HILLS           MI 48326‐2063
PAUL COZAT                   3 E DOGWOOD DR                                                                            MUNCIE                 IN 47303‐6110
PAUL CRABTREE
PAUL CRAFTON                 BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.           OH 44236
PAUL CRAMER                  13434 N STATE ROAD 59                                                                     CARBON                IN 47837‐8005
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Name                         Address1                        Address2                     Address3   Address4         City               State Zip
PAUL CRAMER                  330 APPLECROSS DR                                                                        FRANKLIN            TN 37064‐6107
PAUL CRANDALL                41375 IVYWOOD LN                                                                         PLYMOUTH            MI 48170‐2628
PAUL CRAWFORD                43 W TOULON DR                                                                           BUFFALO             NY 14227‐2409
PAUL CRAWFORD                540 SE 1131ST RD                                                                         CLINTON             MO 64735‐9567
PAUL CRAWFORD                904 N KENILWORTH AVE                                                                     OAK PARK             IL 60302
PAUL CRAWSHAW
PAUL CRENSHAW                2730 WARDLE AVE                                                                          YOUNGSTOWN         OH 44505‐4067
PAUL CREPEAU                 1330 SOUTH ST                                                                            MOUNT MORRIS       MI 48458‐2930
PAUL CREPEAU                 1418 KENILWORTH PL                                                                       CLAWSON            MI 48017‐2908
PAUL CRESCIMANNO
PAUL CREST                   3775 ST LOUIS CLUB RD                                                                    PETOSKEY           MI   49770‐8521
PAUL CRISSMAN                4128 HALLOCK YOUNG RD                                                                    NEWTON FALLS       OH   44444‐9716
PAUL CRITTENDEN              3403 METAMORA RD                                                                         METAMORA           MI   48455‐9303
PAUL CROCIATA                52142 PEBBLE CREEK DR                                                                    CHESTERFIELD       MI   48047‐5971
PAUL CROOK                   8141 E HURON CT                                                                          WHITE LAKE         MI   48386‐2510
PAUL CROSWELL                2923 WALNUT RUN                                                                          FORT WAYNE         IN   46814‐9056
PAUL CROWDER                 155 W SEVENTH AVE                                                                        LOBELVILLE         TN   37097‐3205
PAUL CROWDER                 172 S PADDOCK ST                                                                         PONTIAC            MI   48342‐3048
PAUL CRUM                    1337 OAKDALE DR NW                                                                       WARREN             OH   44485‐1975
PAUL CRUTCHFIELD             175 KATY LN                                                                              ENGLEWOOD          OH   45322‐2432
PAUL CUBELLIS                4986 E RADIO RD                                                                          AUSTINTOWN         OH   44515‐1737
PAUL CUBELLIS                4986 EAST RADIO ROAD                                                                     YOUNGSTOWN         OH   44515
PAUL CULLER                  526 COLSTON DR                                                                           FALLING WTRS       WV   25419‐7034
PAUL CULTON                  618 LOUISE ST                                                                            FARMINGTON         MO   63640‐2712
PAUL CUMMINGS CANADA
PAUL CUMMONS                 91 DELLENBERGER AVE                                                                      AKRON              OH   44312‐1127
PAUL CUNNINGHAM              1504 LEXINGTON DR                                                                        BOSSIER CITY       LA   71111‐2086
PAUL CURLEY                  3329 FERRY ROAD                                                                          BELLBROOK          OH   45305‐8925
PAUL CURLEY                  BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH   44236
PAUL CURRY                   1911 RAYMOND PL                                                                          BLOOMFIELD HILLS   MI   48302‐2265
PAUL CURTIS                  409 E 12TH ST                                                                            LIMA               OH   45804‐2415
PAUL CURTIS                  PO BOX 73                                                                                MARK CENTER        OH   43536‐0073
PAUL CURTIS JR               3040 PINEGATE DR                                                                         FLUSHING           MI   48433‐2471
PAUL CUTRONA                 2200 HENLOPEN AVENUE                                                                     WILMINGTON         DE   19804‐3622
PAUL CVELBAR                 9921 W PINEHURST DR                                                                      SUN CITY           AZ   85351‐4235
PAUL CWIKLINSKI              2850 S SWENSON RD                                                                        AU GRES            MI   48703‐9514
PAUL CZELUSTA                2191 LOCKPORT OLCOTT RD                                                                  BURT               NY   14028‐9788
PAUL CZYZEWSKI               3512 CEDARDALE CT                                                                        TOLEDO             OH   43623‐1826
PAUL D & DORTHY J HOEFLING   5412 CALEB AVE                                                                           SACRAMENTO         CA   95819
PAUL D AMBURGEY              9698 BRADFD CHILDRENS HOME                                                               BRADFORD           OH   45308
PAUL D ANDREWS               1308 MISTY CT                                                                            CLARKSVILLE        TN   37042
PAUL D ARRINGTON             7289 TOWNSHIP LINE ROAD                                                                  WAYNESVILLE        OH   45068
PAUL D BARNES                365 MELANIE LANE                                                                         VICKSBURG          MS   39183‐7215
PAUL D BARRIGER              10445 MCWAIN RD                                                                          GRAND BLANC        MI   48439‐8321
PAUL D BARTEE                26 URBANA                                                                                DAYTON             OH   45404‐2263
PAUL D BARTLETT              8583 STARLING CIR                                                                        FRANKLIN           OH   45005‐4133
PAUL D BEAUCHESNE            75 CRIMSON HTS 431                                                                       ALBION             NY   14411
PAUL D BERNARD               685 S RIVERVIEW                                                                          MIAMISBURG         OH   45342‐3029
PAUL D BROWN                 3410 W MESA AVE                                                                          FRESNO             CA   93711
PAUL D BUTLER                2055 CLERMONT AVE NE                                                                     WARREN             OH   44483‐3525
PAUL D CARMACK               2877 US ROUTE 40                                                                         TIPP CITY          OH   45371‐9280
PAUL D CHAFFINS              229 CATO                                                                                 XENIA              OH   45385‐3815
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Name                   Address1                       Address2                    Address3                     Address4           City               State Zip
PAUL D CHRISTIAN       52 JUNE PL                                                                                                 BROOKVILLE          OH 45309
PAUL D COLLINS         1453 WOODVILLE PIKE                                                                                        LOVELAND            OH 45140
PAUL D DAVIDSON        5628 ENRIGHT AVE.                                                                                          RIVERSIDE           OH 45431
PAUL D DAVIS           2414 QUAKER TRACE ROAD                                                                                     W. ALEXANDRIA       OH 45381
PAUL D ESTES           5956 TROY FREDERICK RD                                                                                     TIPP CITY           OH 45371
PAUL D FARLOW          PO BOX 238135                                                                                              PORT ORANGE         FL 32123
PAUL D FINLEY          8215 KEAVY RD                                                                                              LONDON              KY 40744‐8820
PAUL D FREEL           1724 CRESTLINE DR                                                                                          TROY                MI 48083
PAUL D GENT            411 9TH ST                                                                                                 FENTON              MI 48430‐1505
PAUL D GOODMAN         14041 RAUCHOLZ RD                                                                                          CHESANING           MI 48616‐9556
PAUL D GRAHAM          2060 ALLERTON RD                                                                                           AUBURN HILLS        MI 48326‐2500
PAUL D GRANT           PO BOX 1059                                                                                                INDIAN RIVER        MI 49749‐1059
PAUL D HAMANN          42 WARR CT                                                                                                 HAMILTON            OH 45013‐2109
PAUL D HANKENSON DO    1501 KYLE ST                                                                                               EATON RAPIDS        MI 48827
PAUL D HATHORNE        PO BOX 1171                                                                                                RAYMOND             MS 39154
PAUL D HAWVERMALE JR   12151 LITTLE RICHMOND RD                                                                                   BROOKVILLE          OH 45309‐9378
PAUL D HOLLAND         C/O GLASSER AND GLASSER        CROWN CENTER                580 EAST MAIN STREET SUITE                      NORFOLK             VA 23510
                                                                                  600
PAUL D HOPPER          4229 FULTON AVENUE                                                                                         DAYTON             OH   45439‐2123
PAUL D HURST           4723 HARLOU DR                                                                                             RIVERSIDE          OH   45432
PAUL D ISAACS          710 VAN EATON RD                                                                                           XENIA              OH   45385‐7344
PAUL D JEFFREY JR      6197 DELHI ST                                                                                              CLARKSTON          MI   48348‐4725
PAUL D KLEPI           2010 CUMINGS AVE                                                                                           FLINT              MI   48503‐3511
PAUL D KOENIG          6460 EAST STUDEBAKER RD                                                                                    TIPP CITY          OH   45371‐8505
PAUL D KRAFT, JR.      3290 SEXTON RD                                                                                             HOWELL             MI   48843‐8931
PAUL D KROK            1003 AVALON CREEK BLVD                                                                                     VIENNA             OH   44473
PAUL D MAPLES          5007 COVEVIEW DR                                                                                           SAINT CLOUD        FL   34771‐7966
PAUL D MCKIMMY         9660 STATE RT. #7 N.E.BOX 64                                                                               KINSMAN            OH   44428‐0064
PAUL D MCLAUGHLIN      176 PINE LAKES DR W                                                                                        LAPEER             MI   48446‐4502
PAUL D MEINTEL         6652 LIBERTY PARK DR                                                                                       LIBERTY TOWNSHIP   OH   45044
PAUL D MILLER          561 E ORANGE GROVE AVE         APT C                                                                       BURBANK            CA   91501‐2020
PAUL D MILLER          3549 LAKEVIEW DR                                                                                           HIGHLAND           MI   48356‐2378
PAUL D MIRTS           1710 BYRON                                                                                                 ODESSA             TX   79761
PAUL D MITCHELL        1556 STOCKTON AVE                                                                                          KETTERING          OH   45409
PAUL D MOMAN JR        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                   HOUSTON            TX   77007
                       BOUNDAS LLP
PAUL D MOOMEY          539 DUBIE RD                                                                                               YPSILANTI          MI   48198‐6195
PAUL D MORGAN          2371 LITTLE YORK ROAD                                                                                      DAYTON             OH   45414‐1625
PAUL D MYERS           915 TEMPLE DR                                                                                              TITUSVILLE         FL   32780‐‐ 39
PAUL D OSBORNE         6185 GREENFIELD WAY                                                                                        DAYTON             OH   45424‐1318
PAUL D OSTRANDER       301 E MOLLOY RD                                                                                            SYRACUSE           NY   13211‐1639
PAUL D PARKER          4590 BATTERY STREET                                                                                        BROOKVILLE         OH   45309‐9711
PAUL D PARKER          409 N 13TH AVE                                                                                             BEECH GROVE        IN   46107
PAUL D PEASE           11245 ELMS RD                                                                                              BIRCH RUN          MI   48415‐8402
PAUL D PIEPKOW         ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS    707 BERKSHIRE BLVD           PO BOX 521         EAST ALTON         IL   62052
                                                      ANGELIDES & BARNERD LLC
PAUL D POLLITT, II     1597 HAVANA DR                                                                                             CLEARWATER         FL   33764‐‐ 27
PAUL D POTVIN          1502 W YALE AVE                                                                                            FLINT              MI   48505‐1122
PAUL D QUILLEN SR      3205 CLEARVIEW AVE                                                                                         MORAINE            OH   45439‐1107
PAUL D RANDLES         2763 WOODMONT DR W                                                                                         CANTON             MI   48188‐1628
PAUL D RAUSCH          PO BOX 668                                                                                                 VIENNA             OH   44473
PAUL D RAY             5343 W FARRAND RD                                                                                          CLIO               MI   48420‐8249
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Name                           Address1                       Address2                   Address3          Address4         City            State Zip
PAUL D REED                    107 PALM DR                                                                                  GREENVILLE       OH 45331‐2925
PAUL D RICKELS                 7853 TIMBERHILL DRIVE                                                                        HUBER HEIGHTS    OH 45424‐1933
PAUL D RINE                    1108 60TH AVE. W.                                                                            BRADENTON        FL 33505
PAUL D RINE JR.                180 N RIVER RD NW LOT 27                                                                     WARREN           OH 44483‐2260
PAUL D SALMONS                 42 WATERVLIET AVE                                                                            DAYTON           OH 45420
PAUL D SCAPPECHIO              PO BOX 492602                                                                                KEAAU            HI 96749‐2602
PAUL D SCHRADER                7001 BRISCOE LANE                                                                            LOUISVILLE       KY 40228‐1653
PAUL D SOWARDS                 1463 RUSSELL ST                                                                              YPSILANTI        MI 48198‐5991
PAUL D STAMM                   2319 SOUTHLEA DR                                                                             DAYTON           OH 45459‐3642
PAUL D STAMM                   2319 SOUTHLEA DR                                                                             DAYTON           OH 45459‐3642
PAUL D STEPHENS                3029 E. DOROTHY LN.                                                                          KETTERING        OH 45420‐3817
PAUL D STEWART                 NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD     TX 75638
PAUL D SUTHERLAND              350 JENNY LANE                                                                               DAYTON           OH 45459‐1737
PAUL D TAYLOR                  111 CALMONT FARM CIRCLE                                                                      UNION            OH 45322‐2909
PAUL D TOPOLINSKI              4429 LENROSE AVE                                                                             FLINT            MI 48532‐4336
PAUL D TRIMBLE                 P. O. BOX 243                                                                                WAYNESVILLE      OH 45068‐0243
PAUL D TRIMBLE                 PO BOX 243                                                                                   WAYNESVILLE      OH 45068‐0243
PAUL D WILLIS                  944 SUNSET ‐ APT. A                                                                          SPRINGFIELD      OH 45505
PAUL D WILSON                  611 WOODLAWN AVE                                                                             YPSILANTI        MI 48198‐8019
PAUL D ZICKEFOOSE              5132 DURWOOD ST                                                                              DAYTON           OH 45429‐5612
PAUL D'AMICO JR
PAUL D. PENDER
PAUL D. SCHRADER IRA ACCOUNT   7001 BRISCOE LANE                                                                            LOUISVILLE      KY   40228‐1653
PAUL D. SCHRADER ROTH‐IRA      7001 BRISCOE LANE                                                                            LOUISVILLE      KY   40228‐1653
PAUL DAIGLER                   70 EDEN AVE                                                                                  TONAWANDA       NY   14150‐6106
PAUL DAILEY                    11448 OREGON CIR                                                                             FENTON          MI   48430‐2496
PAUL DALE                      1538 CUMBERLAND AVE                                                                          SIDNEY          OH   45365‐7910
PAUL DALE                      1900 ANTIETAM CIR                                                                            COLUMBIA        TN   38401‐6807
PAUL DALEY                     96 LORD HILL RD                                                                              RINDGE          NH   03461‐5765
PAUL DALLAS                    1205 W OAKWOOD RD                                                                            OXFORD          MI   48371‐2222
PAUL DALY                      4037 QUEBEC STREET                                                                           AUBURN HILLS    MI   48326‐1166
PAUL DAMICO                    3381 ROSE ST                                                                                 SARASOTA        FL   34239‐5706
PAUL DANEK
PAUL DANIEL                    190 BATTLE DR                                                                                EATON           OH   45320‐2850
PAUL DANIEL                    173 LYNDALE AVE                                                                              BUFFALO         NY   14223‐3023
PAUL DANIEL                    77 MEASE RD                                                                                  HOUTZDALE       PA   16651‐8740
PAUL DANIELS                   7190 NEFF RD                                                                                 MOUNT MORRIS    MI   48458‐1839
PAUL DANIELSKI                 11674 SORRENTO BLVD                                                                          STERLING HTS    MI   48312‐1354
PAUL DANKOVICH                 9763 E CENTER ST                                                                             WINDHAM         OH   44288‐1043
PAUL DAOUST                    6306 S HAYRAKE HOLW                                                                          CHELSEA         MI   48118‐9552
PAUL DAPRAI                    2831 WAREING PL                                                                              LAKE ORION      MI   48360‐1674
PAUL DARBY JR                  679 HIGHWAY 78 NW                                                                            MONROE          GA   30655‐4482
PAUL DARU JR                   15507 SANDBURG ST                                                                            ROMULUS         MI   48174‐3142
PAUL DASSANCE                  4025 ASH HWY                                                                                 CHARLOTTE       MI   48813‐8655
PAUL DAUGHERTY                 8019 NE 132ND ST                                                                             LIBERTY         MO   64068‐8208
PAUL DAUGHERTY                 517 LONDON‐GROVEPORT RD                                                                      LOCKBOURNE      OH   43137
PAUL DAUPERT                   4914 W MARKWOOD AVE                                                                          INDIANAPOLIS    IN   46221‐2948
PAUL DAUTERMAN                 115 E PERRY ST                                                                               WALBRIDGE       OH   43465‐1114
PAUL DAVENPORT                 4609 BETHUME DR                                                                              SHREVEPORT      LA   71109‐6633
PAUL DAVID                     190 E CROSS ST                                                                               CLARKSVILLE     MI   48815‐9625
PAUL DAVID JR                  19505 WEYBURNE AVE                                                                           CLEVELAND       OH   44135‐2367
PAUL DAVIDSON TRUSTEE          ACCT OF MARILYN J HUGHEY       PO BOX 32                                                     SHREVEPORT      LA   71161‐0032
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Name                                 Address1                         Address2                      Address3                 Address4         City                 State Zip
PAUL DAVIDSON TRUSTEE                ACCOUNT OF LINDA F WILLIAMS      PO BOX 32                                                               SHREVEPORT            LA 71161‐0032
PAUL DAVIDSON, TRUSTEE               ACCT OF WILLIAM G BRELAND        PO BOX 32                                                               SHREVEPORT            LA 71161‐0032
PAUL DAVIDSON, TRUSTEE               ACCT OF ROBERT R HUDSON          PO BOX 32                                                               SHREVEPORT            LA 71161‐0032
PAUL DAVIS                           1367 SHAWVIEW AVE                                                                                        E CLEVELAND           OH 44112‐2719
PAUL DAVIS                           223 N 3RD ST                                                                                             DE SOTO               MO 63020‐1727
PAUL DAVIS                           578 TOWNCREEK RD                                                                                         SPEEDWELL             TN 37870‐6046
PAUL DAVIS                           1086 LIBERTY RD                                                                                          DANVILLE              AL 35619‐6061
PAUL DAVIS                           100 ALICE LN                                                                                             ATHENS                AL 35611‐4677
PAUL DAVIS                           4431 COURTFIELD DR                                                                                       INDIANAPOLIS          IN 46254‐2076
PAUL DAVIS                           208 W BENNINGTON RD                                                                                      OWOSSO                MI 48867‐9750
PAUL DAVIS                           10354 SARAH JEAN DR                                                                                      PINCKNEY              MI 48169‐8886
PAUL DAVIS                           1601 NW AMESBURY RD                                                                                      BLUE SPRINGS          MO 64015‐2415
PAUL DAVIS                           22651 MADISON ST                                                                                         SAINT CLAIR SHORES    MI 48081‐2334
PAUL DAVIS RESTORATION & FRANCHISEES ROBB KING III                    ONE INDEPENDANT DRIVE                                                   JACKSONVILLE          FL 32202

PAUL DAVISON                         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.          OH   44236
PAUL DAVISSON                        16441 MAHONING AVE                                                                                       LAKE MILTON          OH   44429‐9611
PAUL DAVISSON JR                     3660 PRITCHARD OHLTOWN RD                                                                                NEWTON FALLS         OH   44444‐9605
PAUL DAWSON                          3612 MOUNTAIN LAUREL CT                                                                                  OAKLAND              MI   48363‐2652
PAUL DAY                             9094 HALF RD                                                                                             BROOKVILLE           IN   47012‐9524
PAUL DAY                             7922 JENNIFER LANE                                                                                       BROWNSBURG           IN   46112
PAUL DAYWALT                         19120 TIMOTHY LN                                                                                         NOBLESVILLE          IN   46060‐6759
PAUL DE ANGELO                       100 DALY BLVD APT 806                                                                                    OCEANSIDE            NY   11572‐6008
PAUL DE BRUCE WOLFF TRUSTEE          ACCT OF DEBORAH M BRYSON         PO BOX 4007                                                             ALAMEDA              CA   94501‐0407
PAUL DE NEVE                         1122 HILTON PARMA RD                                                                                     HILTON               NY   14468‐9341
PAUL DE PRIEST                       6645 CAMPBELL BLVD                                                                                       LOCKPORT             NY   14094‐9284
PAUL DE ROCHE                        1104 N HICKORY ST                                                                                        OWOSSO               MI   48867‐1812
PAUL DE ROSIA SR                     309 W BOSLEY ST                                                                                          ALPENA               MI   49707‐2125
PAUL DEAK                            1847 ELM TRACE ST                                                                                        YOUNGSTOWN           OH   44515‐4805
PAUL DEAMON                          180 COUNTRYSIDE DR                                                                                       BROADVIEW HEIGHTS    OH   44147‐3400
PAUL DEAN                            8267 REDONDO DR                                                                                          INDIANAPOLIS         IN   46236‐8844
PAUL DEAN JR                         6273 SWALLOW DR                                                                                          HARRISON             MI   48625‐9053
PAUL DEAN KAPLAN                     MORGAN STANLEY SMITH BARNEY      ATTN FELDMAN/DOYLE FBO PAUL   1775 EYE ST NW STE 200                    WASHINGTON           DC   20006
                                                                      KAPLAN
PAUL DEARINGER                       4900 SCHNEIDER ST                                                                                        SAGINAW              MI   48638‐4513
PAUL DECIECHI                        121 W CORNELL AVE                                                                                        PONTIAC              MI   48340‐2721
PAUL DECRUYDT                        27582 WOODMONT ST                                                                                        ROSEVILLE            MI   48066‐2748
PAUL DEE                             45244 RUDGATE RD                                                                                         CANTON               MI   48188‐1657
PAUL DEFALCO                         30372 QUINKERT ST                                                                                        ROSEVILLE            MI   48066‐4642
PAUL DEGN                            24267 VALLEY AVE                                                                                         EASTPOINTE           MI   48021‐1049
PAUL DEJULIA                         2726 HUNTER ST                                                                                           SHARPSVILLE          PA   16150‐8513
PAUL DELACRUZ                        4016 SOUTHERN CHARM CT                                                                                   ARLINGTON            TX   76016‐4225
PAUL DELADURANTAYE                   12642 ELAINE DR                                                                                          SOUTHGATE            MI   48195‐2341
PAUL DELANEY                         900 DRIFTWOOD AVE                                                                                        ROCHESTER HLS        MI   48307‐2333
PAUL DELECKI                         3244 S BELSAY RD                                                                                         BURTON               MI   48519‐1622
PAUL DELGADO                         9100 WALKER RD APT M20                                                                                   SHREVEPORT           LA   71118‐2914
PAUL DELGIUDICE                      PO BOX 2807                                                                                              SAN GABRIEL          CA   91778‐2807
PAUL DELONG                          7511 CO RD 37 RT#8                                                                                       MANSFIELD            OH   44904
PAUL DELOREAN                        2779 AMBERLY RD                                                                                          BLOOMFIELD HILLS     MI   48301‐2658
PAUL DELUCIA                         PO BOX 203                                                                                               WARRIOR              AL   35180
PAUL DEMANCZYK                       134 STATURE CT                                                                                           NEWARK               DE   19713‐3575
PAUL DEMERS                          1070 REMINGTON DR                                                                                        N TONAWANDA          NY   14120‐2977
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Name                 Address1                             Address2                      Address3                   Address4            City            State Zip
PAUL DEMPSEY BOWEN   ROBERT W PHILLIPS                    SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD         PO BOX 521          EAST ALTON        IL 62024
                                                          ANGELIDES & BARNERD LLC
PAUL DENELSBECK JR   680 FORTELFSBORG RD                                                                                               SALEM           NJ   08079
PAUL DENNING         523 N HAYFORD AVE                                                                                                 LANSING         MI   48912‐4227
PAUL DENNIS          9316 VAN VLEET RD                                                                                                 GAINES          MI   48436‐9710
PAUL DENNISON        1890 FRANKLIN RD                                                                                                  BERKLEY         MI   48072‐1812
PAUL DENNISTON       13465 US HIGHWAY 68                                                                                               MOUNT ORAB      OH   45154‐8304
PAUL DENNY           3525 S COUNTY ROAD 25 W                                                                                           GREENCASTLE     IN   46135‐8766
PAUL DENNY           215 UNION ST                                                                                                      COLUMBIANA      OH   44408‐1255
PAUL DENNY           PO BOX 192                                                                                                        SARANAC         MI   48881‐0192
PAUL DENSLOW         9271 OLD STATE RD                                                                                                 STANWOOD        MI   49346‐9518
PAUL DENSMORE        3470 WILLIAMSON RD                                                                                                SAGINAW         MI   48601‐5663
PAUL DENSON          1149 CHARLES AVE                                                                                                  FLINT           MI   48505‐1641
PAUL DENT            7080 W 300 N                                                                                                      ANDERSON        IN   46011‐9129
PAUL DENVER          9205 BOWLINE RD                                                                                                   NOTTINGHAM      MD   21236‐2041
PAUL DEPEW
PAUL DERIDDER        5885 SAND OAK DR                                                                                                  FORT MYERS      FL   33919‐3431
PAUL DERKOVITZ       8174 GRISWOLD RD                                                                                                  CASSADAGA       NY   14718‐9657
PAUL DEROUCHIE       62 ARBUCKLE LANE                                                                                                  COLTON          NY   13625‐3214
PAUL DEROUIN         22430 CUNNINGHAM AVE                                                                                              WARREN          MI   48091‐3634
PAUL DERRINGER       407 S MAIN ST                                                                                                     ENGLEWOOD       OH   45322‐1323
PAUL DERRYBERRY      14944 RANDOLPH DR                                                                                                 FORT MYERS      FL   33905‐4720
PAUL DERSCHA         2890 CLEVELAND AVE APT 120                                                                                        SAINT JOSEPH    MI   49085‐2249
PAUL DESANDER        2142 MADSEN RD                                                                                                    SAGINAW         MI   48601‐9321
PAUL DESCHESNE       141 GARDEN TER                                                                                                    EDISON          NJ   08817‐4555
PAUL DESHANO         8537 PINE POINT DRIVE                                                                                             NEWAYGO         MI   49337‐9207
PAUL DESHAZER        206 S FOREST AVE                                                                                                  SUGAR CREEK     MO   64054‐1423
PAUL DESPAW          62 HIGHLAND RD APT 5                                                                                              MASSENA         NY   13662‐4230
PAUL DESROCHERS      4212 LAKE KNOLLS DR                                                                                               OXFORD          MI   48371‐5411
PAUL DEVINE          5903 S WASHINGTON                                                                                                 MARSHALL        TX   75672‐4401
PAUL DEVONSHIRE      451 WALCK RD                                                                                                      N TONAWANDA     NY   14120‐3339
PAUL DEVRIES         1759 SHERWOOD DR SE                                                                                               GRAND RAPIDS    MI   49506‐5038
PAUL DEWITT          8827 JUSTONIAN WAY                                                                                                DIMONDALE       MI   48821‐9581
PAUL DEWITT          3156 VINEYARD LN                                                                                                  FLUSHING        MI   48433‐2483
PAUL DEXTER          PO BOX 312                           5031 KINNEVILLE RD                                                           ONONDAGA        MI   49264‐0312
PAUL DI DEO          210 VALLEY LN                                                                                                     HOCKESSIN       DE   19707‐9710
PAUL DI PAOLA        131 STEIN WAY AVE                                                                                                 STATEN ISLAND   NY   10314
PAUL DIAZ            5430 HILLSBORO RD                                                                                                 DAVISBURG       MI   48350‐3612
PAUL DICKERSON       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET      22ND FLOOR                                     BALTIMORE       MD   21201

PAUL DICKEY          996 CANARY CREEK DR                                                                                               FRANKLIN        IN   46131‐7410
PAUL DICKSON         PO BOX 1761                                                                                                       BRANDON         MS   39043‐1761
PAUL DIEDRICH        3341 LUDWIG RD                                                                                                    OXFORD          MI   48371‐1410
PAUL DIEGEL          5464 PLYMOUTH ST                                                                                                  STERLING HTS    MI   48310‐6638
PAUL DIEGELMAN       157 RANCH TRAIL DRIVE                                                                                             WILLIAMSVILLE   NY   14221
PAUL DIEHLS          5507 E CLAYSHIRE DR                                                                                               MILTON          WI   53563‐8456
PAUL DIEKEMPER       243 N MAIN ST                                                                                                     WATERLOO        IL   62298‐1245
PAUL DIEMERT         7116 AKRON RD                                                                                                     LOCKPORT        NY   14094‐6239
PAUL DILLER          12772 GERA RD                                                                                                     BIRCH RUN       MI   48415‐9476
PAUL DILLEY          C/O WORDEN THANE P.C.                ATT: PATRICK G. FRANK, ESQ.   111 NORTH HIGGINS, SUITE   PO BOX 4747         MISSOULA        MT   59806‐4747
                                                                                        600
PAUL DILLEY          C/O SMITH LAW FIRM, P.C.             ATT: CRAIG CHARLTON, ESQ.     26 WEST SIXTH AVENUE       PO BOX 1691         HELENA          MT 59624‐1691
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Name                  Address1                        Address2            Address3         Address4         City                State Zip
PAUL DILLON
PAUL DILLON           46 GEORGE ST                                                                          TANEYTOWN           MD    21787‐2141
PAUL DILLON           PO BOX 22                                                                             BRANCHLAND          WV    25506‐0022
PAUL DILLON           4315 SEAHORSE LN                                                                      GROVEPORT           OH    43125‐8930
PAUL DINGER           3863 NORTHWOOD DR SE                                                                  WARREN              OH    44484‐2643
PAUL DINSMORE         956 SHADY BEACH RD                                                                    NORTH EAST          MD    21901‐4902
PAUL DIPIETRANTONIO   8873 MONTGOMERY RD                                                                    CINCINNATI          OH    45236‐2127
PAUL DIPUCCIO         2330 SATINWOOD DR                                                                     MANSFIELD           OH    44903‐9636
PAUL DISHNER          8512 COUNTY ROAD 2584                                                                 ROYSE CITY          TX    75189‐3013
PAUL DITKOWSKI        4925 KECK RD                                                                          LOCKPORT            NY    14094‐3521
PAUL DITTLOFF         PO BOX 172                                                                            OAK CREEK           WI    53154‐0172
PAUL DITZEL           2758 BIRCH VIEW DR                                                                    KEWADIN             MI    49548‐9207
PAUL DIXON            17 RIVERVIEW DR                                                                       ANDERSON            IN    46012‐9461
PAUL DOAN             1209 FACTORY ST                                                                       FRANKTON            IN    46044‐9632
PAUL DOANE            6415 6 MILE RD                                                                        EVART               MI    49631‐8306
PAUL DOBBS            3592 S SWAN AVE                                                                       SPRINGFIELD         MO    65807‐8745
PAUL DOBECK           308 TOWNES RD                                                                         COLUMBIA            SC    29210‐3735
PAUL DOBOS            127 MARTA DR                                                                          NEWARK              DE    19711‐6722
PAUL DOGGETT          16576 MARLOWE ST                                                                      DETROIT             MI    48235‐4040
PAUL DOGGETT          8715 MALTBIE RD                                                                       CENTERVILLE         OH    45458‐2630
PAUL DOGGETT          PO BOX 283                                                                            RIDGE FARM          IL    61870‐0283
PAUL DOLAN            292 COUTANT ST                                                                        FLUSHING            MI    48433‐1548
PAUL DONAHUE          171 MANNING ST                                                                        HUDSON              MA    01749‐1043
PAUL DONAR            11683 ORCHARDVIEW DR                                                                  FENTON              MI    48430‐3508
PAUL DONELSON         1310 STATE ST                                                                         OWOSSO              MI    48867‐4208
PAUL DONLEY           1923 E COUNTY LINE RD                                                                 MINERAL RIDGE       OH    44440‐9555
PAUL DORAN            905 DRAVIS ST                                                                         GIRARD              OH    44420‐2021
PAUL DORE             2423 E BEAVER RD                                                                      KAWKAWLIN           MI    48631‐9440
PAUL DORICH           PO BOX 395                                                                            LAKE ORION          MI    48361‐0395
PAUL DORLAND          4448 ELEANOR DR                                                                       FENTON              MI    48430‐9141
PAUL DORNER           4451 5TH ST                                                                           COLUMBIAVILLE       MI    48421‐9368
PAUL DORNER II        P O BOX 13                                                                            OTISVILLE           MI    48463‐0013
PAUL DORSTEN          1145 CLUB VIEW DR                                                                     CENTERVILLE         OH    45458‐6079
PAUL DOTSON           2771 OLDSMOBILE AVE                                                                   WATERFORD           MI    48328‐2643
PAUL DOUBLE           4202 WILLOW RUN DR                                                                    DAYTON              OH    45430‐1555
PAUL DOUGHERTY        5440 PINEHURST DR                                                                     WILMINGTON          DE    19808‐2619
PAUL DOUGLAS SLOCUM   59514 NESLO RD                                                                        SLIDELL             LA    70460
PAUL DOUPONCE         3556 3 MILE RD                                                                        BAY CITY            MI    48706‐9218
PAUL DOWELL           9230 BRAMBLE RD                                                                       TECUMSEH            MI    49286‐8712
PAUL DOWNES           11883 E MAPLE RD                                                                      WESTPHALIA          MI    48894‐9652
PAUL DOWNEY           302 ELIZABETH ST                                                                      MONTROSE            MI    48457‐9158
PAUL DOYLE            2503 SUE ANN LN                                                                       FLINT               MI    48507‐3570
PAUL DRAKE            3960 NORWAY PINE DR                                                                   DEWITT              MI    48820‐9261
PAUL DRASUTIS         6487 CRESTVIEW DR                                                                     HOLLY               MI    48442‐8437
PAUL DREES            429 CANAL CT                                                                          WATERVILLE          OH    43566‐1349
PAUL DRENNEN JR       3090 HOUSLEY RD                                                                       MARIETTA            GA    30066‐3872
PAUL DRENOVSKY        PO BOX 314                                                                            BANCROFT            MI    48414‐0314
PAUL DRENTH           5137 ALEXANDRIA DR SW                                                                 WYOMING             MI    49418‐9772
PAUL DRESCH           1252 S 601 RD                                                                         EL DORADO SPRINGS   MO    64744‐6260
PAUL DRETTMANN        124 VIEW POINT DR                                                                     SOMERSET            KY    42503‐9705
PAUL DREVON           1470 COUNTRY VIEW LN                                                                  FLINT               MI    48532‐2210
PAUL DREW             RR 2 RD C20 BOX 21108                                                                 CONTINENTAL         OH    45831
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Name                    Address1                       Address2                       Address3                     Address4         City               State Zip
PAUL DREWEK             17460 SE 290TH AVE                                                                                          UMATILLA            FL 32784‐7725
PAUL DRISKEL            555 WITMER RD                                                                                               N TONAWANDA         NY 14120‐1638
PAUL DRISKELL           13153 TONIKAN DR                                                                                            MORENO VALLEY       CA 92553‐7818
PAUL DROTAR             15 PINEVIEW DR                                                                                              AUSTINTOWN          OH 44515‐1000
PAUL DROTAR             41141 SAVAGE RD                                                                                             BELLEVILLE          MI 48111‐3026
PAUL DROTAR
PAUL DRUMM              270 COUNTY ROUTE 8                                                                                          BRUSHTON           NY   12916‐4502
PAUL DRY                RR 1 BOX 1807                                                                                               GLENALLEN          MO   63751‐9725
PAUL DUBY               7622 HAYWARD RD                                                                                             SAGINAW            MI   48601‐9637
PAUL DUCAS              5668 CLIFFSIDE DR                                                                                           TROY               MI   48085‐3845
PAUL DUDLEY             7830 RICH RD                                                                                                FOSTORIA           MI   48435‐9413
PAUL DUEWIGER           15 MARQUETTE AVE                                                                                            KENMORE            NY   14217‐2926
PAUL DUFFEY             891 HILLSIDE LN                                                                                             LENOIR CITY        TN   37771‐8481
PAUL DUHAMEL
PAUL DUKA               518 BIRD ST                                                                                                 WADSWORTH          OH   44281‐1339
PAUL DUKE               290 MIRAGE AVENUE SOUTHEAST                                                                                 PALM BAY           FL   32909‐3405
PAUL DULEY              1215 N OAKHILL AVE                                                                                          JANESVILLE         WI   53548‐1450
PAUL DULMAN III         36722 BRIDGEWATER CT                                                                                        CLINTON TWP        MI   48035‐1110
PAUL DUMPERT            4866 LEMA CT                                                                                                NORTH FORT MYERS   FL   33903‐4635
PAUL DUNATCHIK          9613 MISSOURI APT A                                                                                         OSCODA             MI   48750
PAUL DUNBAR JR          2266 OCTAVIA CT                                                                                             TRACY              CA   95377‐7922
PAUL DUNHAM             3627 W GILFORD RD                                                                                           CARO               MI   48723‐9657
PAUL DUNNING            152 MEADOWLARK TRL                                                                                          BOWLING GREEN      KY   42101‐9427
PAUL DUPIRE             19167 SANDPIPER DR                                                                                          MACOMB             MI   48044‐1228
PAUL DURALIA            607 WYNDCLIFT CIR                                                                                           AUSTINTOWN         OH   44515‐4368
PAUL DURANSO            5454 LORRAINE CT                                                                                            BAY CITY           MI   48706‐9738
PAUL DURANT             501 HUNTER BEND DR                                                                                          MANSFIELD          TX   76063‐7508
PAUL DURLING            8576 S VERNON RD                                                                                            DURAND             MI   48429‐9167
PAUL DURRENBERG         43452 BROOKS DR                                                                                             CLINTON TOWNSHIP   MI   48038‐5319
PAUL DUSZA              184 CLAUDE DR                                                                                               CHEEKTOWAGA        NY   14206‐2459
PAUL DUVAL              PO BOX 339                                                                                                  LAKEVILLE          MI   48366‐0339
PAUL DWAINE NOFIELD     MOTLEY RICE LLC                28 BRIDGESIDE BLVD             PO BOX 1792                                   MT PLEASANT        SC   29465
PAUL DWAYNE DICKERSON   ATTN: ROBERT W PHILLIPS        SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD, PO BOX                    EAST ALTON         IL   62024
                                                       ANGELIDES & BARNERD LLC        521
PAUL DWIGGINS           9237 E 850 N                                                                                                SHERIDAN           IN 46069‐8959
PAUL DYE                5349 SABRINA LN NW                                                                                          WARREN             OH 44483‐7202
PAUL DYER               2311 E 40TH ST                                                                                              ANDERSON           IN 46013‐2607
PAUL DYER
PAUL DYGA               6985 SARANAC STREET                                                                                         SAN DIEGO          CA   92115‐1747
PAUL DYNES              1231 NORTHOVER DR                                                                                           BLOOMFIELD HILLS   MI   48304‐2038
PAUL DZATKO             135 HIGHGROVE LN                                                                                            CHESTERFIELD       MO   63005‐7113
PAUL DZIEJMAN           223 TIDEWATER DR                                                                                            HAVRE DE GRACE     MD   21078‐4141
PAUL E ADAMS            238 BONNIE BROOK DR                                                                                         CHARLOTTE          MI   48813‐1335
PAUL E ARTHUR           311 WHITTINGTON DR.                                                                                         CENTERVILLE        OH   45459
PAUL E BADER            5396 DUQUESNE AVE                                                                                           DAYTON             OH   45431‐2878
PAUL E BAKER JR         6308 BURKWOOD DR                                                                                            CLAYTON            OH   45315
PAUL E BALDWIN          2660 VINELAND TRAIL                                                                                         BEAVERCREEK        OH   45430‐1819
PAUL E BARCUS           51 CLEARVIEW LN                                                                                             FRANKLIN           OH   45005
PAUL E BARKER           C/O MCKENNA & ASSOCIATES PC    438 BOULEVARD OF THE ALLIES‐                                                 PITTSBURG          PA   15219‐1331
                                                       SUITE 500
PAUL E BARNETT          984 EMMET DR                                                                                                XENIA              OH 45385‐2438
PAUL E BERGER           1045 WARWICK PL                                                                                             DAYTON             OH 45419‐3726
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Name                                Address1                         Address2                         Address3                    Address4         City             State Zip
PAUL E BLANTON                      92 KINSEY RD                                                                                                   XENIA             OH 45385‐1537
PAUL E BOGGS                        1667 N RANGE LINE RD                                                                                           PLEASANT HILL     OH 45359‐9703
PAUL E BOTOS                        10307 REID RD                                                                                                  SWARTZ CREEK      MI 48473‐8518
PAUL E BRACE                        6429 W 443 N                                                                                                   HUNTINGTON        IN 46750
PAUL E BROYLES                      261 LANCE LANE                                                                                                 LAFOLLETTE        TN 37766‐7421
PAUL E BRYANT                       730 CHRIS DR                                                                                                   SEVIERVILLE       TN 37876‐‐ 09
PAUL E CALVERT                      302 DELLWOOD ST                                                                                                TILTON             IL 61833‐7552
PAUL E CARTER                       2055 SEYMOUR AVE                                                                                               FLINT             MI 48503‐4342
PAUL E CASTO                        PO BOX 340                                                                                                     SOMERVILLE        AL 35670‐0340
PAUL E CHANDLER                     PO BOX 720                                                                                                     PLAINFIELD        IN 46168‐0720
PAUL E CHISM                        P O BOX 531301                                                                                                 BIRMINGHAM        AL 35253
PAUL E CHISMARK                     432 SECREST LANE                                                                                               GIRARD            OH 44420‐1113
PAUL E COPPLER                      1461 EAST M‐55                                                                                                 WEST BRANCH       MI 48661
PAUL E CULLERS JR                   736 OAKLEAF DR                                                                                                 DAYTON            OH 45408
PAUL E DAUGHERTY                    2285 N ARAGON AVE                                                                                              DAYTON            OH 45420
PAUL E DE ROSIA                     309 W BOSLEY ST                                                                                                ALPENA            MI 49707‐2125
PAUL E DRAKE                        1068 S MEDWAY‐NEW CARLISLE                                                                                     NEW CARLISLE      OH 45344
PAUL E EDENBURN                     4454 WARREN RD.                                                                                                NEWTON FALLS      OH 44444
PAUL E FANNON                       140 RIDGEVIEW DR.                                                                                              GREENVILLE        OH 45331‐2526
PAUL E GEARING                      273 BLANCHARD DR                                                                                               DEFIANCE          OH 43512‐3463
PAUL E GEIER                        9 MASONIC DRIVE                  APT 9217                                                                      SPRINGFIELD       OH 45504
PAUL E GILREATH                     832 S MAIN ST                                                                                                  CENTERVILLE       OH 45458‐‐ 58
PAUL E GOEHRING                     3511 C IVY HILL DR                                                                                             CORTLAND          OH 44410‐9239
PAUL E GRONDIN                      4071 SAM SNEAD DR                                                                                              FLINT             MI 48506‐1425
PAUL E GROSS                        255 WEST MILL STREET             PO BOX 248                                                                    ELDORADO          OH 45321
PAUL E HAMILTON                     5015 CALKINS RD                                                                                                FLINT             MI 48532‐3402
PAUL E HAMPTON                      3856 ST RT 42                                                                                                  WAYNESVILLE       OH 45068
PAUL E HARNITCHEK DC CHIROPRACTIC   DBA: HOSPITALITY HEALTH CENTER   295 E CAROLINE STREET SUITE D1                                                SAN BERNARDINO    CA 92408
CORPORATION
PAUL E HARPER                       2260 CENTER ROAD                                                                                               KENDALL          NY   14476‐9740
PAUL E HARTLEY                      PO BOX 66                                                                                                      WILBERFORCE      OH   45384
PAUL E HEDIGER                      1821 MIAMI BLVD                                                                                                FAIRBORN         OH   45324‐3013
PAUL E HESS                         P. O. BOX 490594                                                                                               W. CARROLLTON    OH   45449
PAUL E HICKMAN                      1916 WASHINGTON MILL RD                                                                                        XENIA            OH   45385
PAUL E HILL                         1680 VALLEY HEIGHTS ROAD                                                                                       XENIA            OH   45385
PAUL E HONEYCUTT                    1682 NORTH DALE ROAD                                                                                           DAYTON           OH   45432‐3510
PAUL E HOWELL ADM OF ESTATE OF      ATTN MICHAEL B LEH ESQ           LOCKS LAW FIRM                   601 WALNUT STREET STE 920                    PHILADELPHIA     PA   19106
WILLIAM BRAUN DEC'D                                                                                   EAST
PAUL E HUTCHINSON                   302 FALCON DR.                                                                                                 NEW CARLISLE     OH   45344
PAUL E KINDER                       605 LEWIS RD.                                                                                                  WILMINGTON       OH   45177‐9475
PAUL E KINSER                       1709 CRYSTAL SPRINGS LANE                                                                                      KETTERING        OH   45429‐3717
PAUL E KLOUDA                       5355 GIRDLE RD                                                                                                 W FARMINGTON     OH   44491
PAUL E LABENNE                      121 LAKEVIEW RD                                                                                                NILES            OH   44446‐2103
PAUL E LEACH                        236 W PARK AVE                                                                                                 HUBBARD          OH   44425‐1526
PAUL E LENNINGTON                   5002 YOUNGSTOWN KINGSVILLE                                                                                     CORTLAND         OH   44410‐9718
PAUL E LINSMAYER                    2075 HAMLET DR                                                                                                 KETTERING        OH   45440‐1624
PAUL E LUNDY                        6327 PHILLIPS‐RICE RD., NE                                                                                     CORTLAND         OH   44410‐9605
PAUL E LUOMA                        3270 RIDGE RD                                                                                                  CORTLAND         OH   44410‐9420
PAUL E MARCUM                       2242 POLO PARK DR                                                                                              DAYTON           OH   45439‐3267
PAUL E MARSHALL                     210 WILLOW BROOK DR.                                                                                           CLINTON          MS   39056‐5860
PAUL E MASON JR                     5711 HEMPLE RD.                                                                                                MIAMISBURG       OH   45342
PAUL E MCCOY                        2875 LIBERTY RD                                                                                                NEW CARLISLE     OH   45344
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Name                                  Address1                           Address2             Address3        Address4         City              State Zip
PAUL E MCDONALD                       13450 DECHANT RD                                                                         FARMERSVILLE       OH 45325‐9292
PAUL E MCGREW                         5147 DEARTH ROAD                                                                         SPRINGBORO         OH 45066
PAUL E MCGUIRE                        65 WOODSHIRE LANE                                                                        ROCHESTER          NY 14606‐4660
PAUL E MECHLING/PATRICIA S MECHLING   890 TAYLOR BLAIR RD                                                                      W JEFFERSON        OH 43162

PAUL E MEDLEY                         5225 SPRINGVIEW CIRCLE                                                                   TROTWOOD          OH   45426‐2356
PAUL E MEYER                          6070 HACKAMORE TRAIL                                                                     CENTERVILLE       OH   45459‐2411
PAUL E MEYER                          1487 N LEXINGTON RD                                                                      MARION            IN   46952‐9350
PAUL E MORROW                         717 WURLITZER DR                                                                         N TONAWANDA       NY   14120‐1948
PAUL E MURE                           43 KELSEY DR                                                                             WEST SENECA       NY   14224‐1917
PAUL E NELSON                         979 BOULDER DR.                                                                          W ALEXANDRIA      OH   45381
PAUL E ODONNELL                       9212 CAIN DR NE                                                                          WARREN            OH   44484
PAUL E OREBAUGH                       290 KIMBARY DR                                                                           DATON             OH   45458
PAUL E PRICE                          2439 HARMONY DR                                                                          XENIA             OH   45385
PAUL E PROFFITT                       98 SAWMILL LANE                                                                          NEW LEBANON       OH   45345‐9703
PAUL E PROFFITT JR                    10867 AMITY RD                                                                           BROOKVILLE        OH   45309
PAUL E PROVENCHER                     14‐16 SOUTH MAIN ST.                                                                     DERRY             NH   03038‐2104
PAUL E RANGER JR                      4026 WEATHERWOOD DR                                                                      TRAVERSE CITY     MI   49684‐9791
PAUL E REDER                          1115 N BIRNEY ST                                                                         BAY CITY          MI   48708‐6151
PAUL E REEDER                         5000 FIFTH AVE.                                                                          YOUNGSTOWN        OH   44505‐1213
PAUL E RICE                           3726 FULLER AVE                                                                          KANSAS CITY       MO   64129‐1801
PAUL E RUMPLE                         111 GREENFIELD OVAL NW                                                                   WARREN            OH   44483
PAUL E RUMPLE                         1686 DEN JEAN DR NE                                                                      WARREN            OH   44483
PAUL E RYAN                           3701 REDOAK CT                                                                           BEAVERCREEK       OH   45430
PAUL E SCHEIDEMANTLE                  616 DEVILLEN AVE                                                                         ROYAL OAK         MI   48073‐3654
PAUL E SCWAB
PAUL E SMITH                          50 WHITE PLAINS DR                                                                       CHESTERFIELD      MO   63017
PAUL E SMITH                          17 LAKERIDGE DR                                                                          ADRIAN            MI   49221
PAUL E SNOWDEN                        280 JANET AVE                                                                            CARLISLE          OH   45005
PAUL E SNYDER                         C/O MOTLEY RICE LLC                28 BRIDGESIDE BLVD   PO BOX 1792                      MT PLEASANT       SC   29465
PAUL E SPARKS                         1211 BEARGRASS WAY                                                                       MAINEVILLE        OH   45039
PAUL E STALTER                        WEITZ & LUXENBERG PC               700 BROADWAY                                          NEW YORK CITY     NY   10003
PAUL E STONE                          3879 W. STATE ROUTE 73                                                                   WILLIMINGTON      OH   45177‐‐ 92
PAUL E SWAIN                          3106 MEADOW RUN DR                                                                       VENICE            FL   34293‐1445
PAUL E TAYLOR                         7076 TWINVIEW DRIVE                                                                      FRANKLIN          OH   45005‐3962
PAUL E THOMAS                         814 W PEARL ST                                                                           BATESVILLE        IN   47006‐1135
PAUL E THOMAS                         720 W VERMILION ST                                                                       CATLIN            IL   61817‐9645
PAUL E TOLLE                          737 LAKERIDGE DR.                                                                        LIMA              OH   45804
PAUL E VANZANT                        8770 POST TOWN RD                                                                        TROTWOOD          OH   45426‐4458
PAUL E WALLER                         66 W THIRD                                                                               WEST ALEXANDRIA   OH   45381‐1123
PAUL E WASHINGTON                     888 PALLISTER ST APT 313                                                                 DETROIT           MI   48202‐2671
PAUL E WENZLOFF                       903 N JACKSON ST                                                                         BAY CITY          MI   48708‐5953
PAUL E WILKINS                        8849 US RTE 62                                                                           HILLSBORO         OH   45133‐9407
PAUL E WILLIAMS                       7128 SALEM RD                                                                            LEWISBURG         OH   45388
PAUL E WILLIAMS                       2389 GATSBY LN.                                                                          THE VILLAGES      FL   32162
PAUL E WOGOMAN                        16 WHISPER WAY                                                                           EATON             OH   45320‐9597
PAUL E WONG                           7701 REMMICK LANE                                                                        DAYTON            OH   45424‐2156
PAUL E ZIMMERMAN                      137 NORTH 11TH ST                                                                        MIAMISBURG        OH   45342‐2503
PAUL E. COTHRAN
PAUL E. STAGER
PAUL E. THOMAS                        814 PEARL STREET                                                                         BATESVILLE        IN 47006
PAUL EAGLESON                         PO BOX 54                                                                                MONTROSE          MO 64770‐0054
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Name                                 Address1                       Address2                 Address3                  Address4             City             State Zip
PAUL EAST                            745 WESTRIDGE CT.                                                                                      LAKE ORION        MI 48362
PAUL EASTER                          1424 COUNTRY VIEW LN                                                                                   FLINT             MI 48532‐2210
PAUL EASTERLE                        6855 HIAWATHA DR                                                                                       FREDERIC          MI 49733‐9546
PAUL EATON                           14 RIO GRANDE AVE                                                                                      TROTWOOD          OH 45426‐2919
PAUL EBERT                           12339 LINDA FLORA DR                                                                                   OJAI              CA 93023‐9723
PAUL EDENBURN                        4454 WARREN RD.                                                                                        NEWTON FALLS      OH 44444
PAUL EDENFIELD                       10281 COTTON BLOSSOM DR                                                                                FISHERS           IN 46038‐6557
PAUL EDENFIELD                       5161 CURTICE RD                                                                                        MASON             MI 48854‐9771
PAUL EDGAR                           21858 EDGAR RD                                                                                         HILLMAN           MI 49746‐9562
PAUL EDIE                            1819 M55                                                                                               PRESCOTT          MI 48756
PAUL EDMISTEN                        926 CARSON FARM RD                                                                                     CARNESVILLE       GA 30521‐3799
PAUL EDMUNDS                         PO BOX 26                                                                                              BEREA             OH 44017‐0026
PAUL EDWARD HIVES ESTATE OF SHARON   STEPHANIE DANIELLE HIVES       ATTN R GRAHAM ESDALE     BEASLEY, ALLEN, CROW,      PO BOX 4160         MONTGOMERY        AL 36103‐4160
DENISE HIVES DECEASED,                                                                       METHVIN, PORTIS & MILES PC

PAUL EDWARD HURST                    BARON & BUDD PC                THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                              DALLAS           TX   75219‐4281
PAUL EDWARD STAUFFER                 BARON & BUDD PC                THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                              DALLAS           TX   75219‐4281
PAUL EDWARDS                         114 COURTNEY CIR                                                                                       CUMBERLAND GAP   TN   37724‐4262
PAUL EDWARDS                         48 L MITCHELL RD                                                                                       KELSO            TN   37348‐6082
PAUL EDWARDS                         915 SCOTT CT                                                                                           NORTHVILLE       MI   48167‐1370
PAUL EDWARDS                         1251 KINGSTON AVE                                                                                      FLINT            MI   48507‐4786
PAUL EGELKRAUT                       480 SYLVAN DR                                                                                          BATTLE CREEK     MI   49017‐9444
PAUL EGLIN                           1169 SW KILEY WAY APT 22                                                                               BEAVERTON        OR   97006‐5091
PAUL EHLKE                           2364 KNOLLRIDGE LN                                                                                     WILLIAMSTON      MI   48895‐9123
PAUL EHMS                            595 WYNGATE DR                                                                                         ROCHESTER        MI   48307‐6014
PAUL EHRSAM                          2927 MCGAHA AVE                                                                                        WICHITA FALLS    TX   76308‐4107
PAUL EICHBRECHT                      6605 GLENDALE DR                                                                                       TROY             MI   48098‐1764
PAUL EIFERT                          832 SAINT NICHOLAS AVE                                                                                 DAYTON           OH   45410‐2522
PAUL EISENBEIS                       202 AUGUSTA CIR                                                                                        BENTON           LA   71006‐9302
PAUL EISENBRAUN                      24420 72ND ST                                                                                          SALEM            WI   53168‐9135
PAUL EISENHARDT                      7992 GREENFIELD SHORES DR                                                                              SCOTTS           MI   49088‐8724
PAUL ELDER                           PO BOX 204                                                                                             CHIPPEWA LAKE    MI   49320‐0204
PAUL ELKINS                          1597 SILVER CREEK ST                                                                                   ALGER            MI   48610‐9303
PAUL ELKINS                          4926 ALLINGHAM DR                                                                                      WHITE LAKE       MI   48383‐1505
PAUL ELLINGSON                       909 W SHIAWASSEE AVE                                                                                   FENTON           MI   48430‐1736
PAUL ELLINGSWORTH                    515 SHOWERS RD                                                                                         DUBOIS           PA   15801‐6671
PAUL ELLIOTT                         115 HANDSHAKER CT                                                                                      FAYETTEVILLE     GA   30215‐7404
PAUL ELLIOTT                         5017 N CANYON LOOP                                                                                     MONTICELLO       IN   47960‐7053
PAUL ELLIOTT                         7404 N LIBERTY ST                                                                                      KANSAS CITY      MO   64118‐6496
PAUL ELLIOTT JR                      156 DUNLAP RD                                                                                          PASADENA         MD   21122‐3063
PAUL ELLIS                           10237 REESE RD                                                                                         BIRCH RUN        MI   48415‐9608
PAUL ELLYSON PERSONAL                PAUL ELLYSON                   C/O BRAYTON PURCELL      222 RUSH LANDING RD                            NOVATO           CA   94948‐6169
REPRESENTATIVE FOR JOHN ELLYSON
PAUL ELSWORTH BROWN                  MOTLEY RICE LLC                28 BRIDGESTONE BLVD      PO BOX 1792                                    MT PLEASANT      SC   29465
PAUL ELZY                            1717 DOVE LOOP RD APT 2705                                                                             GRAPEVINE        TX   76051‐4939
PAUL EMIG                            2404 BROWNING DR                                                                                       LAKE ORION       MI   48360‐1811
PAUL EMMETT                          6661 APACHE RUN                                                                                        THEODORE         AL   36582‐6134
PAUL EMOND JR                        1040 GABRIEL'S TURN                                                                                    SHREVEPORT       LA   71106
PAUL EMORY                           9366 MCAFEE RD                                                                                         MONTROSE         MI   48457‐9024
PAUL ENERSON                         2403 RIVERVIEW DR                                                                                      JANESVILLE       WI   53546‐5391
PAUL ENGLE                           4331 TOMMY ARMOUR DR                                                                                   FLINT            MI   48506‐1466
PAUL ENGLE                           4050 STATE ROUTE 47                                                                                    FORT LORAMIE     OH   45845‐8749
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Name                   Address1                             Address2                    Address3     Address4         City              State Zip
PAUL ENGLE             20054 REYNOLDS LOT 201                                                                         RIO HONDO          TX 78583‐3238
PAUL ENGLE             6052 TUTTLE HILL RD                                                                            YPSILANTI          MI 48197‐9722
PAUL ENLOE
PAUL ENSIGN            8533 MARCREST DR                                                                               SHELBY TOWNSHIP   MI   48316‐3627
PAUL ENTRY JR          4811 WESTCHESTER DR APT 118                                                                    YOUNGSTOWN        OH   44515‐2504
PAUL EPKE JR           723 E RIVER RD                                                                                 FLUSHING          MI   48433‐2142
PAUL EREMUS            THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET    22ND FLOOR                    BALTIMORE         MD   21201

PAUL ERICKSON          5622 HEATHLAND CIR                                                                             CLARKSTON         MI   48346‐3114
PAUL ERICKSON          4896 RIOVIEW DR                                                                                CLARKSTON         MI   48346‐3673
PAUL ERICKSON          1719 MOLLEE CT                                                                                 KOKOMO            IN   46902‐4484
PAUL ERICKSON          PO BOX 303                                                                                     MOUNT CLEMENS     MI   48046‐0303
PAUL ERLE              122 NORTH TRANSIT ROAD                                                                         LOCKPORT          NY   14094‐1416
PAUL ESCH              2781 N WRIGHT RD                                                                               FOWLER            MI   48835‐9713
PAUL ESHBAUGH          2430 PORTAGE PATH                                                                              BELLBROOK         OH   45305‐1737
PAUL ESTLE             35977 SQUIRRELS RUN CIR                                                                        OCEAN VIEW        DE   19970‐3514
PAUL ESTRELLA          74 CHARITY RD                                                                                  CALIENTE          CA   93518‐4837
PAUL ETHIER            514 MOUNT PLEASANT RD                                                                          HARRISVILLE       RI   02830‐1751
PAUL EUGENE HOFACKER   11265 SWEETPOTATO RIDGE RD                                                                     BROOKVILLE        OH   45309‐9669
PAUL EVANS             PO BOX 151                                                                                     VANDALIA          OH   45377‐0151
PAUL EVANS             1530 MEADOWCREST CT                                                                            ABERDEEN          MD   21001‐4213
PAUL EVANS             101 HARBOR VIEW DR                                                                             LAKE ST LOUIS     MO   63367‐1333
PAUL EVANS             201 E 26TH ST                                                                                  MUNCIE            IN   47302‐5606
PAUL EVANS             4839 CASS ELIZABETH RD                                                                         WATERFORD         MI   48327‐3211
PAUL EVERDING          2108 CANNON CIR                                                                                PERU              IN   46970‐8710
PAUL EVEREST           PO BOX 525                           403 NORTH 8TH                                             FRANKTON          IN   46044‐0525
PAUL EVERSGERD         7042 BRISTOL RD                                                                                SWARTZ CREEK      MI   48473‐7905
PAUL EWAZEN            1505 GRANBY AVE                                                                                CLEVELAND         OH   44109‐3411
PAUL EWING             9506 HOLLISTER RD                                                                              LAINGSBURG        MI   48848‐9234
PAUL F BEACH           2841 ORIOLE DR                                                                                 BEAVERCREEK       OH   45434‐6516
PAUL F BLASETTI        536 BIRR ST                                                                                    ROCHESTER         NY   14613‐1341
PAUL F BOYER           164 S WALNUT ST                                                                                GERMANTOWN        OH   45327‐1251
PAUL F CARR            6921 PEBBLECREEK WOODS DR 14                                                                   WEST BLOOMFIELD   MI   48322
PAUL F CONLEY          3577 PARALLEL RD.                                                                              DAYTON            OH   45439‐1213
PAUL F COUPLAND        C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                 HOUSTON           TX   77007
                       BOUNDAS LLP
PAUL F CSIKY           6747 KINSMAN ORANGEVILLE R                                                                     KINSMAN           OH   44428
PAUL F FICHTINGER      1105 MEADOWSWEET DR                                                                            SAINT PETERS      MO   63376‐7872
PAUL F GATES           2942 N PARK EXT                                                                                WARREN            OH   44483
PAUL F GEYER           PO BOX 749                                                                                     ROYAL OAK         MI   48068
PAUL F GIBBS           3644 ALLENDALE DR                                                                              RALEIGH           NC   27604‐2506
PAUL F JOYCE           16 CHEYENNE DR                                                                                 MONTVILLE         NJ   07045
PAUL F KEENAN          2715 MOHAWK ST                                                                                 MCKEESPORT        PA   15131‐3136
PAUL F LANGER          8891 SOUTH WEST ROAD                                                                           OCALA             FL   34476
PAUL F LUTZ            2639 CEVENNES TERRACE                                                                          BEAVERCREEK       OH   45434‐6411
PAUL F METZENDORF      8630 CARRIAGE HILL DR NE                                                                       WARREN            OH   44484‐1662
PAUL F MEYERS          897 HERITAGE DR                                                                                GETTYSBURG        PA   17325
PAUL F NIGHSWANDER     1704 S MICHIGAN                                                                                BAY CITY          MI   48708
PAUL F NOSBISCH JR     31 NEWELL AVE                                                                                  LANCASTER         NY   14086‐1919
PAUL F ONEMA JR        111 WINDWARD COURT                                                                             JACKSON           MS   39212‐2054
PAUL F OSTERTAG        4039 WATTERS LANE                                                                              GIBSONIA          PA   15044
PAUL F PHIPPS          1076 WAYCROSS RD                                                                               CINCINNATI        OH   45240‐3024
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Name               Address1                            Address2                     Address3   Address4         City            State Zip
PAUL F RACINE      PO BOX 233                                                                                   VERMONTVILLE     MI 49096‐0233
PAUL F REIN        251 SHELLBANK DRIVE                                                                          LONGS            SC 29568
PAUL F SHOFF       231 MATTY AVE                                                                                MATTYDALE        NY 13211‐1632
PAUL F SKERTIC     775 LYNITA DR NE                                                                             BROOKFIELD       OH 44403‐9605
PAUL F SMITH       1409 KING ST                                                                                 SAGINAW          MI 48602‐1321
PAUL F SMITH       1634 12TH ST                                                                                 BETHLEHEM        PA 18020‐6545
PAUL F WHEELER     ANNAMARIE WHELLER                   10165 WOODBURY DR                                        WEXFORD          PA 15090
PAUL F ZOFCHAK     6464 W WILSON RD                                                                             CLIO             MI 48420‐9463
PAUL FABBRO        695 LAKES EDGE DR                                                                            OXFORD           MI 48371‐5230
PAUL FABRY         C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
PAUL FAFRAK        3012 VALLEY LANE DR                                                                          N ROYALTON       OH 44133‐2301
PAUL FAIRCLOTH     20333 N COUNTY ROAD 900 W                                                                    GASTON           IN 47342‐9051
PAUL FANNIN        286 ORCHARD ST                                                                               MONTROSE         MI 48457‐9615
PAUL FANNON        140 RIDGEVIEW ST                                                                             GREENVILLE       OH 45331‐2526
PAUL FANNON JR     6248 JORDAN RD                                                                               LEWISBURG        OH 45338
PAUL FARLEY        8800 DOE CT                                                                                  LA PLATA         MD 20646‐4483
PAUL FARLOW        PO BOX 238135                                                                                PORT ORANGE      FL 32123‐8135
PAUL FARR          4311 N 14TH ST                                                                               MILWAUKEE        WI 53209‐‐ 69
PAUL FARR JR.      366 E 700 S                                                                                  JONESBORO        IN 46938‐9613
PAUL FARVER        2137 HOLLY TREE DR                                                                           DAVISON          MI 48423‐2066
PAUL FATH          3739 LAURIA RD                                                                               BAY CITY         MI 48706‐8113
PAUL FATIGUSO      BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
PAUL FAULKNER      7009 COUNTY ROAD 8200                                                                        WEST PLAINS      MO 65775‐6171
PAUL FAUSETT       707 MAUMEE DR                                                                                KOKOMO           IN 46902‐5524
PAUL FAY           705 STARLET DR                                                                               FLORISSANT       MO 63031‐2249
PAUL FAZZONE       1012 RICHVIEW DR                                                                             NEW CASTLE       PA 16101‐1561
PAUL FEDDON        3625 SOCHA WAY                                                                               PORT ORANGE      FL 32129‐4260
PAUL FEDERSPIEL    13110 CAMPBELLSVILLE RD                                                                      ETHRIDGE         TN 38456‐7033
PAUL FELCYN        53543 CHRISTY DR                                                                             CHESTERFIELD     MI 48051‐1540
PAUL FENNELL       21204 HILLCREST ST                                                                           CLINTON TWP      MI 48036‐1587
PAUL FENSTEMAKER   8843 W HOWE RD                                                                               EAGLE            MI 48822‐9792
PAUL FENTON        20268 TAMARCH DR                                                                             HOWARD CITY      MI 49329
PAUL FERMAN        1229 PAUL BLVD                                                                               LAKE ORION       MI 48362‐3738
PAUL FERRANTE      400 WOODSIDE LN                                                                              BAY CITY         MI 48708‐5551
PAUL FERRIES       1490 EATON RD                                                                                BERKLEY          MI 48072‐2063
PAUL FERRINI       33 WYNDEMERE CT                                                                              PLYMOUTH         MA 02360‐3622
PAUL FERSZT        3943 SUNFLOWER CT                                                                            MURRYSVILLE      PA 15668‐8013
PAUL FETZER        202 HOLLAND AVE LOT 47                                                                       DELPHOS          OH 45833‐3304
PAUL FETZER        5427 E FRANCES RD                                                                            MOUNT MORRIS     MI 48458‐9753
PAUL FICHTINGER    1105 MEADOWSWEET DR                                                                          SAINT PETERS     MO 63376‐7872
PAUL FIEGL         808 53RD AVE E UNIT 279A                                                                     BRADENTON        FL 34203
PAUL FIELDS        3954 E 900 N                                                                                 ALEXANDRIA       IN 46001‐8273
PAUL FIELDS        9584 S BLACKMER RD                                                                           CARSON CITY      MI 48811‐9717
PAUL FIELDS        10394 MARSHALL LANE                                                                          TRAVERSE CITY    MI 49684‐8005
PAUL FIGIOLI JR    9220 RUNYAN LAKE RD                                                                          FENTON           MI 48430‐9340
PAUL FIKE          578 S LAKE PLEASANT RD                                                                       ATTICA           MI 48412‐9676
PAUL FILKA JR      2637 NORWALK ST                                                                              TOLEDO           OH 43605‐1120
PAUL FINCH         620 N STATE ROAD 45                                                                          BLOOMFIELD       IN 47424‐5921
PAUL FINCH         2728 S NORWOOD AVE                                                                           INDEPENDENCE     MO 64052‐3101
PAUL FINLEY        1206 YORKSHIRE DRIVE                                                                         LONDON           KY 40744
PAUL FINNEGAN      123 CLEVELAND AVE                                                                            DEFIANCE         OH 43512‐3469
PAUL FINNER        44221 KINGTREE AVE APT 120                                                                   LANCASTER        CA 93534‐4129
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Name                               Address1                         Address2                      Address3          Address4              City            State Zip
PAUL FINNER JR                     44221 KINGTREE AVE APT 120                                                                             LANCASTER        CA 93534‐4129
PAUL FIRMENT                       41887 EARLENE CT                                                                                       ELYRIA           OH 44035‐2137
PAUL FISCHER                       1311 KEYSTOVER TRL                                                                                     CENTERVILLE      OH 45459‐2414
PAUL FISHER                        1672 HEMMINGWAY CT                                                                                     JANESVILLE       WI 53545‐8845
PAUL FISHER                        50008 HELFER BLVD                                                                                      WIXOM            MI 48393‐3225
PAUL FISHER                        293 W SEYMOUR LAKE RD                                                                                  ORTONVILLE       MI 48462‐8587
PAUL FISHER                        7360 SWEET POTATO RIDGE RD                                                                             BROOKVILLE       OH 45309‐8204
PAUL FISHER JR                     4273 S PITTSFORD RD                                                                                    PITTSFORD        MI 49271‐9726
PAUL FISHER JR                     7340 E 6 MILE RD                                                                                       LUTHER           MI 49656‐9702
PAUL FISHINGHAWK                   NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                         DAINGERFIELD     TX 75638
PAUL FITHEN                        7259 W CHESTER RD                                                                                      WEST CHESTER     OH 45069‐4108
PAUL FITZGERALD                    APT 2                            111 MAIN STREET                                                       WAYLAND          MA 01778‐4945
PAUL FITZGERALD                    113 WOODCREST WAY                                                                                      CONKLIN          NY 13748‐1258
PAUL FLANAGAN                      603 63RD AVE W LOT C6                                                                                  BRADENTON        FL 34207‐4934
PAUL FLANERY                       3575 JACOBS CORNER                                                                                     ROCKFORD         MI 49341
PAUL FLECKENSTEIN                  11841 S 34TH ST                                                                                        VICKSBURG        MI 49097‐7502
PAUL FLEENER                       1845 MACARTHUR LN                                                                                      SPEEDWAY         IN 46224‐5350
PAUL FLEMING                       3400 MILLS ACRES ST                                                                                    FLINT            MI 48506‐2172
PAUL FLEMING                       12189 ROSELAWN ST                                                                                      DETROIT          MI 48204‐1989
PAUL FLEMING                       7827 INVERNESS LAKES TRL                                                                               FORT WAYNE       IN 46804‐3841
PAUL FLODER                        14146 MIKE RD                                                                                          N HUNTINGDON     PA 15642‐4903
PAUL FLORENCE M (355007)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA 23510
                                                                    STREET, SUITE 600
PAUL FLOWERS                       806 E BUNDY AVE                                                                                        FLINT           MI   48505‐2204
PAUL FLOWERS JR                    906 EDMUND ST                                                                                          FLINT           MI   48505‐5515
PAUL FLOYD JR                      2006 W 12TH ST                                                                                         ANDERSON        IN   46016‐3008
PAUL FLUENT                        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.     OH   44236
PAUL FLYNN                         6175 FALKENBURY RD                                                                                     NORTH BRANCH    MI   48461‐9658
PAUL FLYNN JR                      3230 ARIZONA AVE                                                                                       FLINT           MI   48506‐2551
PAUL FOLAND                        8355 CHADSWORTH DR S                                                                                   MOUNT MORRIS    MI   48458‐8841
PAUL FOLKES                        17074 GLAZE RD                                                                                         ATHENS          AL   35611‐7576
PAUL FORBES HAULAGE & EXCAVATING   31 NOTTAWA RD                                                                    WASAGA BEACH CANADA
LTD                                                                                                                 ON L0L 2P0 CANADA
PAUL FORCIER                       8043 TYRRELL RD                                                                                        LAINGSBURG      MI   48848‐8779
PAUL FORCIER                       25 SUMMITCREST DR                                                                                      KANSAS CITY     KS   66101‐1146
PAUL FORD                          7501 CLOVER LN                                                                                         WATAUGA         TX   76148‐1706
PAUL FORD                          PO BOX 504                                                                                             HELTONVILLE     IN   47436‐0504
PAUL FORD                          5794 COUNTY 343                                                                                        FORESTBURG      TX   76239
PAUL FORDREE                       1391 W TIENKEN RD                                                                                      ROCHESTER HLS   MI   48306‐4168
PAUL FORDYCE                       793 SHEPHERDS WAY                                                                                      GREENWOOD       IN   46143‐7256
PAUL FOREN                         PO BOX 218                                                                                             SUNFIELD        MI   48890‐0218
PAUL FORMAN                        9033 BRISTOL RD                                                                                        SWARTZ CREEK    MI   48473‐8502
PAUL FORRESTER                     287 SWEETWATER RDG                                                                                     HOSCHTON        GA   30548‐1259
PAUL FORTIER                       31 FOX DEN RD                                                                                          BRISTOL         CT   06010‐2665
PAUL FORTMAN                       1210 TILLMAN RD                                                                                        FARMINGTON      MO   63640‐6502
PAUL FOSTER                        130 FIFTH ST                                                                                           VERMONTVILLE    MI   49096‐9405
PAUL FOSTER                        PO BOX 114                                                                                             CRAGSMOOR       NY   12420‐0114
PAUL FOSTER                        47455 HANFORD RD                                                                                       CANTON          MI   48187‐4713
PAUL FOSTER                        3809 S HARRISON ST                                                                                     FORT WAYNE      IN   46807‐2029
PAUL FOSTER                        3521 DARBYSHIRE DR                                                                                     CANFIELD        OH   44406‐9233
PAUL FOUSHEE                       6497 DEEP RIVER RD                                                                                     SANFORD         NC   27330‐8417
PAUL FOUTZ                         5192 N GEORGETOWN RD                                                                                   GRAND BLANC     MI   48439‐8775
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Name               Address1                          Address2               Address3               Address4                City               State Zip
PAUL FOWLER        201 PRAIRIE FIRE PL                                                                                     ALEXANDRIA          IN 46001‐8076
PAUL FRAAS         13713 MEADOW GREEN LN                                                                                   HUDSON              FL 34669‐2459
PAUL FRACASSI      C/O LANDY MARR KATS LLP           ATTN: SAMUEL S. MARR   900‐2 SHEPPARD AVE E   TORONTO, ONTARIO M2N
                                                                                                   5Y7
PAUL FRAELICH      1509 124TH ST                                                                                           KANSAS CITY        MO   64165‐1088
PAUL FRALEY        9516 HILL RD                                                                                            SWARTZ CREEK       MI   48473‐1065
PAUL FRAME         RT. 2 BOX 12 B                                                                                          DUCK               WV   25063
PAUL FRAMPTTON     5322 STEPHEN WAY                                                                                        CROSS LANES        WV   25313‐1159
PAUL FRANCE        1863 SMART RD                                                                                           LUCAS              OH   44843‐9709
PAUL FRANCE        3875 HIGHWAY 0                                                                                          FARMINGTON         MO   63640
PAUL FRANCIS       4394 E 200 N                                                                                            URBANA             IN   46990‐9497
PAUL FRANKEN       1871 LANCASTER DR                                                                                       YOUNGSTOWN         OH   44511‐1068
PAUL FRANKFURTH    11141 MASONIC BLVD                                                                                      WARREN             MI   48093‐1152
PAUL FRANKLIN      3139 BLACK FOREST LN                                                                                    INDIANAPOLIS       IN   46239‐7941
PAUL FRANKLIN      561 STANTON AVE                                                                                         NILES              OH   44446‐1461
PAUL FRANKLIN      174 ARNOLD LN                                                                                           CYNTHIANA          KY   41031‐7746
PAUL FRANKO        4134 TIPPECANOE RD                                                                                      YOUNGSTOWN         OH   44511‐3316
PAUL FRANZECA JR   30954 BRAMLEY CIR                                                                                       NEW HUDSON         MI   48165‐9645
PAUL FRASHER       6220 N WARREN AVE                                                                                       OKLAHOMA CITY      OK   73112‐1263
PAUL FRAYNE        25226 FARMINGTON RD                                                                                     FARMINGTN HLS      MI   48336‐1026
PAUL FRAZIER       4069 E CO RD 400 S                                                                                      KOKOMO             IN   46902
PAUL FRAZIER       4541 N 200 E                                                                                            ANDERSON           IN   46012‐9515
PAUL FREDERICK     33554 MELDRUM ST                                                                                        CHESTERFIELD       MI   48047‐3407
PAUL FREDERICK     6320 KINSEY TER                                                                                         LANHAM             MD   20706
PAUL FREEMAN       5145 ROBERTS DR                                                                                         FLINT              MI   48506‐1592
PAUL FREIHOFER     D‐46282                           DORSTEN                STAMITZWEG 10
PAUL FREIHOFER     STAMITZWEG 10                                                                   D‐46282 DORSTEN
                                                                                                   GERMANY
PAUL FRENCH        3558 LOBELIA DR                                                                                         CINCINNATI         OH   45241‐3333
PAUL FRENZEL       1227 2ND STREET NORTH                                                                                   MONROE             WI   53566‐9298
PAUL FREUND        20145 BALLANTRAE DR                                                                                     MACOMB             MI   48044‐5906
PAUL FREY          1715 ROCKY RILL CT                                                                                      MANSFIELD          OH   44904‐1835
PAUL FREY          205 FIVE POINTS RD                                                                                      RUSH               NY   14543‐9420
PAUL FRICK         3965 WINTERBOTTOM RD                                                                                    MORRIS             IL   60450‐9444
PAUL FRIDLEY       1 E APRICOT DR SW                                                                                       WARREN             OH   44485‐4265
PAUL FRIEBEL       19210 SOUTHAMPTON DR                                                                                    LIVONIA            MI   48152‐4106
PAUL FRIEDRICH     37148 TRICIA DR                                                                                         STERLING HTS       MI   48310‐3658
PAUL FRIEDRICH     4324 BROOKRIDGE DR                                                                                      LEXINGTON          KY   40515‐6063
PAUL FRIEND        7038 STROUT RD                                                                                          MORROW             OH   45152‐9673
PAUL FRIES         172 W SHOREWAY DR                                                                                       SANDUSKY           OH   44870‐4481
PAUL FRIGAULT      281 S HOLLOW LN                                                                                         ROCHESTER          VT   05767‐9789
PAUL FRIIS         13201 PINEHURST LANE                                                                                    GRAND BLANC        MI   48439
PAUL FRITZ I I     9136 OLD STAGE RD                                                                                       WAYNESVILLE        OH   45068‐9735
PAUL FRY SR        289 WOODEDGE DR                                                                                         BLOOMFIELD HILLS   MI   48304‐1782
PAUL FRYSKE JR     5737 WAGON WHEEL DR                                                                                     SALINE             MI   48176‐9588
PAUL FRYZEL        321 E MUNGER RD                                                                                         MUNGER             MI   48747‐9799
PAUL FUGATE        830 ARCOLA ST                                                                                           GARDEN CITY        MI   48135‐3190
PAUL FUHST         1108 S CORNELL AVE                                                                                      FLINT              MI   48505‐1349
PAUL FUNK          10909 CANANDAIGUA RD                                                                                    CLAYTON            MI   49235‐9716
PAUL FURGIUELE     CMR 427 BOX 2995                                                                                        APO                AE   09630
PAUL FUSCO         2297 SENECA ST                                                                                          BUFFALO            NY   14210‐2517
PAUL G BRIGHT      43 WESTFIELD ST                                                                                         PITTSBORO          NC   27312‐4136
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Name                                 Address1                             Address2                     Address3     Address4         City              State Zip
PAUL G CAMPBELL II                   4913 HAWAIIAN TERRACE                                                                           CINCINNATI         OH 45223‐1159
PAUL G CARTER                        2256 INDIANAPOLIS AVE                                                                           INDIANAPOLIS       IN 46208‐5533
PAUL G ENGELHARDT                    609 3RD ST                                                                                      BAY CITY           MI 48708‐5905
PAUL G GEFELL                        3782 RTE 14 A                                                                                   PENN YAN           NY 14527‐9541
PAUL G HALL                          201 MADISON STREET                                                                              FAIRBORN           OH 45324‐3315
PAUL G HUELSKAMP                     1220 COLWICK DR.                                                                                DAYTON             OH 45420
PAUL G KIRBY                         32126 WELLSTON DR                                                                               WARREN             MI 48093
PAUL G KLINK                         11257 EUPHEMIA VERONA RD                                                                        LEWISBURG          OH 45338
PAUL G LOEBER                        721 SILVERTHORN CT                                                                              BAREFOOT BAY       FL 32976‐7349
PAUL G LUNDY                         19 HUDSON AVE                                                                                   FRANKLIN           OH 45005
PAUL G MOSMILLER                     1705 GLEN CURTIS RD                                                                             BALTIMORE          MD 21221‐2112
PAUL G PATRICK                       2893 N LEAVITT RD NW                                                                            WARREN             OH 44485
PAUL G PECHURA                       16156 SHEDD RD #3                                                                               MIDDLEFIELD        OH 44062‐8265
PAUL G PEREZ                         1119 E PRINCETON AVE                                                                            FLINT              MI 48505‐1515
PAUL G PRICE                         4543 HWY 581                                                                                    ULYSSES            KY 41264‐9075
PAUL G RATHBUN                       9852 BERND RD                                                                                   PAVILION           NY 14525‐9717
PAUL G RYTLEWSKI                     1213 5TH ST                                                                                     BAY CITY           MI 48708‐6033
PAUL G SLAUGHTER                     1434 JOHN WESLEY CIRCLE                                                                         BIRMINGHAM         AL 35210
PAUL G SMALLEY                       503 CENTRAL AVE                                                                                 TILTON              IL 61833‐7905
PAUL G SMITH                         7968 SACKETT RD                                                                                 BERGEN             NY 14416‐9522
PAUL G SPEELMAN                      319 OLD STATE RD                                                                                CLARKSVILLE        OH 45113
PAUL G STURGILL                      74 EISENHOWER DRIVE                                                                             DAYTON             OH 45431‐1308
PAUL G TAYNOR                        740 SPARTAN AVE                                                                                 VANDALIA           OH 45377
PAUL G TRUMAN                        25335 MACKINAC                                                                                  ROSEVILLE          MI 48066‐5755
PAUL G TRUNCALI                      57 MCCONKEY DR                                                                                  KENMORE            NY 14223‐1029
PAUL G VICKERS                       2124 HIGH ST N W                                                                                WARREN             OH 44483‐1202
PAUL G WATKINS                       1080 DRY BRANCH RD                                                                              IRVINE             KY 40336
PAUL G. MCCUSTER, MCCUSTER, ANSELMI, C/O QUANTA RESOURCES SITE ‐ LIC      210 PARK AVE                 #3                            FLORHAM PARK       NJ 07932‐1012
ROSEN & CARVELLI, PC
PAUL G. SMITH
PAUL GABRIEL                         7063 NIGHTINGALE DR                                                                             HOLLAND           OH   43528‐7821
PAUL GABRIEL                         4898 WEST CHEASTER DR                APT 2                                                      YOUNGSTOWN        OH   44515
PAUL GADBURY                         403 GRANTS PKWY                                                                                 ARLINGTON         TX   76014‐1120
PAUL GAGNEPAIN JR                    5801 BRECONSHIRE DR                                                                             FORT WAYNE        IN   46804‐1605
PAUL GAINES                          9500 N WHEELING AVE LOT 18                                                                      MUNCIE            IN   47304‐9100
PAUL GALBRAITH                       74 MADISON AVE                                                                                  PERU              IN   46970‐1046
PAUL GALBRAITH                       5064 LINDA ST                                                                                   WARREN            MI   48092‐3418
PAUL GALEA                           23803 MCCORT DR                                                                                 BROWNSTOWN        MI   48134‐9093
PAUL GALINDO                         2170 IMPERIAL DR                                                                                LOS BANOS         CA   93635‐5435
PAUL GALLAGHER                       BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS.       OH   44236
PAUL GALLES                          CASCINO MICHAEL P                    220 SOUTH ASHLAND AVE                                      CHICAGO           IL   60607
PAUL GALLITE                         2801 PITTSBURGH AVE                                                                             MC DONALD         OH   44437‐1438
PAUL GALLO                           3760 ARCADIA DR                                                                                 ORCHARD LAKE      MI   48324‐2902
PAUL GALLOWAY                        5593 HALLENDALE RD                                                                              HASLETT           MI   48840‐9732
PAUL GAMBER                          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                    BALTIMORE         MD   21201

PAUL GAMEL                           3802 HOGARTH AVE                                                                                FLINT             MI   48532‐5234
PAUL GAMEZ                           2600 BOSTON BLVD                                                                                LANSING           MI   48910‐8736
PAUL GANSKE                          116 EAST LINE ROAD                                                                              OELWEIN           IA   50662‐9506
PAUL GARD/POMPANO BE                 316 NE 1ST ST                        GARDNER BUILDINGS                                          POMPANO BEACH     FL   33060‐6608
PAUL GARDETTE                        806 NASH AVE                                                                                    YPSILANTI         MI   48198‐8021
PAUL GARDNER JR                      110 MANOR WAY                                                                                   ROCHESTER HILLS   MI   48309‐2015
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Name                        Address1                            Address2                         Address3      Address4         City              State Zip
PAUL GARDNER SR             12720 E US HIGHWAY 92 LOT 2003                                                                      DOVER              FL 33527‐4100
PAUL GARGOL                 1484 SPINNAKER CT                                                                                   HIGHLAND           MI 48356‐2261
PAUL GARIETY                1344 MILLER RD                                                                                      RUSSIA             OH 45363‐9603
PAUL GARKO                  10033 CREEKWOOD TRL                                                                                 DAVISBURG          MI 48350‐2058
PAUL GARLAND                125 MICHELLE DR                                                                                     ROMEO              MI 48065‐5036
PAUL GARLOCK                1914 ADRIAN CIR                                                                                     SANDUSKY           OH 44870‐5027
PAUL GARNO                  4344 TOWNLINE RD                                                                                    BIRCH RUN          MI 48415‐8932
PAUL GARRARD JR             1487 E DECAMP ST                                                                                    BURTON             MI 48529‐1266
PAUL GARRISON JR            6238 W LORETTA DR                                                                                   INDIANAPOLIS       IN 46221‐4738
PAUL GARSTECKI              6300 MIELKE RD                                                                                      FREELAND           MI 48623‐9245
PAUL GARTEN                 1110 WEBER DR                                                                                       INDIANAPOLIS       IN 46227‐5373
PAUL GARTH                  18692 CAMINITO CANTILENA UNIT 215                                                                   SAN DIEGO          CA 92128‐6103
PAUL GARZA                  13200 BUECHE RD                                                                                     MONTROSE           MI 48457‐9358
PAUL GARZA                  PO BOX 339                                                                                          PECK               MI 48466‐0339
PAUL GARZA                  4466 MARTIN RD                                                                                      MUSSEY             MI 48014‐2911
PAUL GASPARINI              106 PRIMERO TRL                                                                                     MONROEVILLE        IN 46773‐9358
PAUL GASSER                 5701 N RIDGE VIEW DR                                                                                JANESVILLE         WI 53548‐8676
PAUL GASTER                 4210 N 109TH ST                                                                                     KANSAS CITY        KS 66109‐4108
PAUL GATES                  2942 N PARK EXT                                                                                     WARREN             OH 44483
PAUL GATES                  2343 GALAXIE DR                                                                                     MANSFIELD          OH 44903‐8765
PAUL GATES                  57 RED PINE LN                                                                                      CROSWELL           MI 48422‐1448
PAUL GATES                  1033 N BLAIR AVE                                                                                    ROYAL OAK          MI 48067‐1421
PAUL GATIAN                 3974 KLEIN AVE                                                                                      STOW               OH 44224‐3422
PAUL GATZY                  RR BOX 1                                                                                            EDGEWATER          FL 32141
PAUL GAUCI                  13877 PALMER RD                                                                                     WILLIS             MI 48191‐9612
PAUL GAUTHIER I I           6171 SOUTH DR                                                                                       FENTON             MI 48430‐9028
PAUL GAWLOWICZ              150 ALASKA ST                                                                                       CHEEKTOWAGA        NY 14206‐2531
PAUL GAYDOS                 EARLY LUDWICK & SWEENEY, L.L.C.     ONE CENTURY TOWER, 11TH FLOOR,                                  NEW HAVEN          CT 06510
                                                                265 CHURCH STREET
PAUL GAYER                  5347 W GULCH DR                                                                                     ELOY              AZ   85231‐3030
PAUL GEARHART               1016 COOPER AVE                                                                                     LANSING           MI   48910‐2716
PAUL GEARING                273 BLANCHARD DR                                                                                    DEFIANCE          OH   43512‐3463
PAUL GEBERT SR              11431 MIRAMAR CV                                                                                    ROANOKE           IN   46783‐8917
PAUL GEHRES                 3019 WELLINGTON DR                                                                                  DAYTON            OH   45410‐3135
PAUL GEHRKE                 14651 BORGMAN ST                                                                                    OAK PARK          MI   48237‐1155
PAUL GEIER                  9 MASONIC DR APT 9217                                                                               SPRINGFIELD       OH   45504‐5610
PAUL GELAZIN                2629 WOODBOURNE DR                                                                                  WATERFORD         MI   48329‐2479
PAUL GENELLA                4325 GULL RD                                                                                        LANSING           MI   48917‐4135
PAUL GENT                   411 9TH ST                                                                                          FENTON            MI   48430‐1505
PAUL GENUISE                22120 LINWOOD AVE                                                                                   EASTPOINTE        MI   48021‐3801
PAUL GEORGE BEARD           MOTLEY RICE LLC                     28 BRIDGESIDE BLVD               PO BOX 1792                    MT PLEASANT       SC   29465
PAUL GEORGE P (ESTATE OF)   LANIER LAW FIRM                     6810 FM 1960 WEST SUITE 1550                                    HOUSTON           TX   77069
PAUL GEORGIADIS             5101 SW 111 TERRACE                                                                                 FORT LAUDERDALE   FL   33328
PAUL GERACE                 1519 FLORIDA LN                                                                                     CHINO VALLEY      AZ   86323‐5415
PAUL GERCHES                13740 S ARCHER AVE                                                                                  LEMONT            IL   60439‐4726
PAUL GERHART                124 N MADISON ST                                                                                    ADRIAN            MI   49221‐1921
PAUL GERKE                  148 CHURCHILL RD                                                                                    GIRARD            OH   44420‐1865
PAUL GERKE                  5398 W WILSON RD                                                                                    CLIO              MI   48420‐9489
PAUL GERLACHE               201 LA GARDINIA                                                                                     EDGEWATER         FL   32141‐7641
PAUL GERRITY                17513 FERNSHAW AVE                                                                                  CLEVELAND         OH   44111‐4144
PAUL GERSTNER               114 WOODBRIDGE XING                                                                                 CHARDON           OH   44024‐1464
PAUL GERTHUNG               472 PARKVIEW DR                                                                                     GIRARD            OH   44420‐2709
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Name                   Address1                         Address2                     Address3   Address4         City               State Zip
PAUL GERULSKI          1791 IRONWOOD DR                                                                          ESSEXVILLE          MI 48732‐9401
PAUL GERWIN            9529 SEAGREEN DR                                                                          SAGINAW             MI 48609‐9523
PAUL GESSLER           2738 E THOMPSON RD                                                                        INDIANAPOLIS        IN 46227‐4453
PAUL GHANAM            17380 CONTESTI DR                                                                         CLINTON TWP         MI 48035‐2333
PAUL GHILONI           5810 73RD ST S                                                                            WISCONSIN RAPIDS    WI 54494‐9028
PAUL GIANNI            872 HERITAGE VLG # A                                                                      SOUTHBURY           CT 06488‐1343
PAUL GIBA              3464 BRIARWOOD LN                                                                         YOUNGSTOWN          OH 44511‐2509
PAUL GIBBY             344 NO 1115TH ST APT 3E                                                                   POCATELLO           ID 83201
PAUL GIBSON            CHAIRMAN                         3402 CLOVERDALE DR                                       GREENSBORO          NC 27408‐2902
PAUL GIDDINGS          1293 MERTZ RD                                                                             CARO                MI 48723‐9515
PAUL GIESING           7129 MCGEE ST                                                                             KANSAS CITY         MO 64114‐1434
PAUL GILBERT           7392 WYANDOT LN                                                                           LIBERTY TOWNSHIP    OH 45044‐9237
PAUL GILL              1322 S J ST                                                                               ELWOOD              IN 46036‐2722
PAUL GILLESPIE         2141 COBB RD                                                                              LEWISTON            MI 49756‐8669
PAUL GILLIN            106 HONEYSUCKLE LN                                                                        GREENEVILLE         TN 37743‐5777
PAUL GILLRIE           4612 GREENWOOD CIR                                                                        CLARKSTON           MI 48346‐4024
PAUL GIOVANNETTI       2607 185TH ST                                                                             REDONDO BEACH       CA 90278
PAUL GIPSON            5665 VINCENT TRL                                                                          SHELBY TWP          MI 48316‐5263
PAUL GIRTMAN           449 TEGGERDINE TRL                                                                        WHITE LAKE          MI 48386‐2174
PAUL GIVEN             971 ST 534 SW                                                                             NEWTON FALLS        OH 44444
PAUL GLANDON           546 SELKIRK DR                                                                            MOUNT MORRIS        MI 48458‐8920
PAUL GLAUSER           7249 N LINDEN RD                                                                          MOUNT MORRIS        MI 48458‐9343
PAUL GLAZEWSKI         406 CAVALIER DR                                                                           MIDDLETOWN          DE 19709‐1366
PAUL GLEN A (460098)   DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                          NORTH OLMSTED       OH 44070
PAUL GLENN             1644 WOOD ST                                                                              MUSKEGON            MI 49442‐5758
PAUL GLINSKI           8201 W RAMBLING RD                                                                        PRESCOTT            AZ 86305‐8410
PAUL GOBERT            2048 ASILOMAR DR                                                                          ANTIOCH             CA 94509‐8929
PAUL GOBLE             1291 SHIRLEY DR                                                                           YPSILANTI           MI 48198‐6446
PAUL GODERRE           513 LINDEN WAY DR                                                                         SANDUSKY            OH 44870‐6302
PAUL GOEHRING          3511 IVY HILL CIR UNIT C                                                                  CORTLAND            OH 44410‐9239
PAUL GOERGE            4758 SKYLINE DR                                                                           PERRINTON           MI 48871‐9757
PAUL GOGUEN            92 ROSARY LN STE 6                                                                        HYANNIS             MA 02601‐2075
PAUL GOHLKE            6212 BRANFORD DR                                                                          WEST BLOOMFIELD     MI 48322‐1088
PAUL GOIK              2205 S SHERIDAN ST                                                                        BAY CITY            MI 48708‐8178
PAUL GOLDENER          28610 HERSHEY CT                                                                          SUN CITY            CA 92586‐2603
PAUL GOLDMAN           828 GLEN EAGLE BLVD                                                                       NAPLES              FL 34104
PAUL GOLIGHTLY         1314 SOUTH MAIN AVENUE                                                                    PORTALES            NM 88130‐6925
PAUL GOLSTON           RR 1 BOX 838                                                                              IDABEL              OK 74745‐9714
PAUL GOLUBSKI          11221 WHISPERING LN                                                                       KANSAS CITY         KS 66109‐4259
PAUL GONIEA            103 MAPLEWOOD DR                                                                          EAST LANSING        MI 48823‐4712
PAUL GONZALES          1721 OLD HOMESTEAD DR                                                                     ROCHESTER HILLS     MI 48306‐3651
PAUL GONZALEZ          151 CHERRY DR                                                                             TROY                MI 48083‐1608
PAUL GONZALEZ          8181 ROBALO DR                                                                            ORLANDO             FL 32825‐3513
PAUL GONZALEZ          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
PAUL GOOCH             6153 N MCCAFFREY RD                                                                       OWOSSO              MI 48867‐9461
PAUL GOOD              520 MERRITT ST                                                                            CHARLOTTE           MI 48813‐1985
PAUL GOOD JR           27170 COOK RD                                                                             OLMSTED FALLS       OH 44138‐1035
PAUL GOODELL           706 OLD TRAIL DR                                                                          HOUGHTON LAKE       MI 48629‐9376
PAUL GOODMAN           14041 RAUCHOLZ RD                                                                         CHESANING           MI 48616‐9556
PAUL GOODSELL          7 STABLE GATE CT                                                                          PERRY HALL          MD 21128‐9685
PAUL GORDON            3129 HAROLD DR                                                                            COLUMBIAVILLE       MI 48421‐8962
PAUL GORMAN            4777 BIGGER RD                                                                            KETTERING           OH 45440‐1829
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Name                  Address1                             Address2                       Address3     Address4         City              State Zip
PAUL GORODENSKI       507 WRIGHT ST                                                                                     INVERNESS          FL 34452‐5972
PAUL GOTTEMOLLER      12209 S 93RD AVE                                                                                  PALOS PARK          IL 60464‐1122
PAUL GRABEL JR        322 N NORTON ST                                                                                   MARION             IN 46952‐3223
PAUL GRABER           10774 CRANE DR                                                                                    INDIANAPOLIS       IN 46231‐1056
PAUL GRABER           W5262 ALLISON RD                                                                                  MONROE             WI 53566‐8760
PAUL GRABOWSKI        54561 LAUREL DR                                                                                   MACOMB             MI 48042‐2220
PAUL GRABSKI          32837 HOLDEN DR                                                                                   WARREN             MI 48092‐3184
PAUL GRADY JR         733 WAYNE STREET                                                                                  FORT WAYNE         IN 46802
PAUL GRAF             59120 TRELAWNY DR                                                                                 NEW HUDSON         MI 48165‐9739
PAUL GRAHAM           503 AUTUMNSTONE LN                                                                                BOWLING GREEN      KY 42103‐6005
PAUL GRAHAM           5913 GEORGEDALE RD                                                                                TOLEDO             OH 43613‐1135
PAUL GRAHAM           9306 ORCHID CT                                                                                    DAVISON            MI 48423
PAUL GRAHAM           7991 FENNER RD                                                                                    LAINGSBURG         MI 48848‐8701
PAUL GRAHAM           2060 ALLERTON RD                                                                                  AUBURN HILLS       MI 48326‐2500
PAUL GRAHAM JR        2940 WILLOW CREEK DR SW                                                                           GRANDVILLE         MI 49418‐2056
PAUL GRANGER          1615 AVENUE EAST ST                                                                               ELWOOD             IN 46036‐3211
PAUL GRANLUND         35747 SOMERSET ST                                                                                 WESTLAND           MI 48186‐4112
PAUL GRANT            669 ROLLING HILLS LN APT 1                                                                        LAPEER             MI 48446‐4728
PAUL GRANT            7565 MAGEE ST                                                                                     PAULDING           OH 45879‐9550
PAUL GRANUS III       573 CONRAD AVE                                                                                    N CHARLEROI        PA 15022‐2227
PAUL GRASTY           C/O COONEY AND CONWAY                120 NORTH LASALLE 30TH FLOOR                                 CHICAGO             IL 60602
PAUL GRATTENDICK      14139 COUNTY HIGHWAY 27                                                                           NASHVILLE           IL 62263‐2121
PAUL GRATZER          1107 18TH ST                                                                                      BEDFORD            IN 47421‐4232
PAUL GRAVES           10839 THORNBERRY WAY                                                                              ZEELAND            MI 49464‐8686
PAUL GRAVES           1102 N FULTON LUCAS RD                                                                            SWANTON            OH 43558‐9652
PAUL GRAY             3800 S 200 E                                                                                      ANDERSON           IN 46017‐9764
PAUL GRAY             2507 TIMWOOD DR                                                                                   NASHVILLE          TN 37214‐1423
PAUL GRAYS            PO BOX 37368                                                                                      OAK PARK           MI 48237‐0368
PAUL GREEN            2235 RIVIERA DR                                                                                   ANDERSON           IN 46012‐4720
PAUL GREEN            3223 HENRYDALE ST                                                                                 AUBURN HILLS       MI 48326‐3626
PAUL GREEN JR         1525 W GRAND AVE                                                                                  DAYTON             OH 45402‐5837
PAUL GREENE           6146 BLACK RD                                                                                     WEST ALEXANDRIA    OH 45381‐9545
PAUL GREENLAND        506 EAGLES NEST CT                                                                                WILDWOOD           MO 63011‐1774
PAUL GREENLEE         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET       22ND FLOOR                    BALTIMORE          MD 21201

PAUL GREENMAN         185 COUNTY ROAD 81                                                                                FAYETTE           AL   35555‐6858
PAUL GREENWALT        PO BOX 411                                                                                        GASTON            IN   47342‐0411
PAUL GREER            3305 MALLERY ST                                                                                   FLINT             MI   48504‐2929
PAUL GREGG            1285 OLD WILMINGTON RD                                                                            HOCKESSIN         DE   19707‐9672
PAUL GREGGS           32 S 2ND ST                                                                                       SHARPSVILLE       PA   16150‐1202
PAUL GREGORY          14733 EMANUEL RD                                                                                  HOAGLAND          IN   46745‐9589
PAUL GREGORY YARGER   GREGORY                              7113E‐450N                                                   VAN BUREN         IN   46991
PAUL GRELLE           713 HIGH POINT DR                                                                                 LAKE ST LOUIS     MO   63367‐2034
PAUL GRESKOWIAK       2690 N RIVER RD                                                                                   SAGINAW           MI   48609‐9606
PAUL GRICE            36 STATE ROUTE 33                                                                                 HOLT              MO   64048‐2511
PAUL GRICE            5400 CORWIN RD                                                                                    WAYNESVILLE       OH   45068‐9457
PAUL GRIDLEY          13153 N GENESEE RD                                                                                CLIO              MI   48420‐9164
PAUL GRIER JR         2999 KINGS GLEN TRL                                                                               DECATUR           GA   30034‐6790
PAUL GRIFFITH         BRENT COON & ASSOCIATES              215 ORLEANS                                                  BEAUMONT          TX   77701
PAUL GRIFFUS          811 GERMANIA ST                                                                                   BAY CITY          MI   48706‐5130
PAUL GRILLE           1320 WALTER S HALL DR                                                                             LAKE ORION        MI   48362‐1889
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Name                      Address1                             Address2                    Address3   Address4         City                 State Zip
PAUL GRIMMETT             BRUCE N COOK C/O COOK YSURSA ET AL   12 W LINCOLN STREET                                     BELLEVILLE             IL 62220

PAUL GROLL                9‐290 ROAD P3                                                                                NAPOLEON             OH   43545
PAUL GRONDIN              4071 SAM SNEAD DR                                                                            FLINT                MI   48506‐1425
PAUL GROSCHKE             24501 LAUREL ST                                                                              FLAT ROCK            MI   48134‐2704
PAUL GROSHEK              50970 PARK PLACE DR                                                                          NORTHVILLE           MI   48167‐9167
PAUL GROSS                5317 N CLEVELAND AVE                                                                         KANSAS CITY          MO   64119‐2748
PAUL GROSS                255 W MILL ST                        PO BOX 248                                              ELDORADO             OH   45321‐9723
PAUL GROSS                142 CHARTLEY CT                                                                              DAYTON               OH   45440‐3600
PAUL GROSS                7268 TOWNSHIP LINE RD.                                                                       WAYNESVILLE          OH   45068‐8054
PAUL GROSSMAN             467 DAVIDSON ST                                                                              MANSFIELD            OH   44907‐1423
PAUL GROSSMANN            4174 THOMPSON RD                                                                             LINDEN               MI   48451‐9425
PAUL GROUGAN              45455 KIMBERLY CT                                                                            NOVI                 MI   48374‐3768
PAUL GRUBBS JR            5613 N 775 W                                                                                 MUNCIE               IN   47304
PAUL GRUBE                21413 HIGGS DR                                                                               PORT CHARLOTTE       FL   33952‐9038
PAUL GRUBER               3421 WAYSIDE DR                                                                              YOUNGSTOWN           OH   44502‐3060
PAUL GRUNDEN              10390 US HIGHWAY 271 S                                                                       GLADEWATER           TX   75647‐3498
PAUL GRUZS                7078 E SAN CRISTOBAL WAY                                                                     GOLD CANYON          AZ   85218‐1838
PAUL GRZEGORCZYK          1107 9 MILE RD                                                                               KAWKAWLIN            MI   48631‐9791
PAUL GUADAGNA             44 CHOSEN SPOT APARTMENTS                                                                    CANANDAIGUA          NY   14424‐1096
PAUL GUARINO              154 GETTYSBURG AVE                                                                           BUFFALO              NY   14223‐1658
PAUL GUBACI               45735 WILLIS RD                                                                              BELLEVILLE           MI   48111‐8925
PAUL GUENIN               841 PIONEER WOODS DR                                                                         INDIANAPOLIS         IN   46224‐6157
PAUL GULLETT              11306 WEST ST                                                                                GRAND BLANC          MI   48439‐1237
PAUL GUNNELS              PO BOX 153                                                                                   GREENBUSH            MI   48738‐0153
PAUL GUNTHER              3144 CHRISTINE LN                                                                            OREGON               OH   43616‐3353
PAUL GUNTHER JR           7438 NORDIC WAY CT                                                                           MAUMEE               OH   43537‐9485
PAUL GUNYA                22691 REVERE ST                                                                              SAINT CLAIR SHORES   MI   48080‐2883
PAUL GURCZYNSKI           7411 BRIARGATE DR                                                                            CANTON               MI   48187‐1425
PAUL GUST                 6056 WILLARD RD                                                                              BIRCH RUN            MI   48415‐8547
PAUL GUSTOVICH            529 WARREN AVE                                                                               NILES                OH   44446‐1638
PAUL GUTHRIE              983 BAILEY SCALES RD                                                                         BEDFORD              IN   47421‐7570
PAUL GUTIERREZ            296 MULLINS MILL RD                                                                          SHELBYVILLE          TN   37160‐7223
PAUL GUTIERREZ JR         2733 FLINT ROCK DR                                                                           FORT WORTH           TX   76131‐2056
PAUL GUY                  1815 N PURDUM ST                                                                             KOKOMO               IN   46901‐2476
PAUL GUY                  78 S ARDMORE ST                                                                              PONTIAC              MI   48342‐2800
PAUL GUZAN                509 CLUBVIEW DR                                                                              MC MURRAY            PA   15317‐3024
PAUL GUZDEK               8483 INDEPENDENCE DR                                                                         STERLING HEIGHTS     MI   48313‐3937
PAUL GUZDZIAL             3318 NORTHWAY DR                                                                             BAY CITY             MI   48706‐3335
PAUL H ADKINS             5659 S. DIXIE HIGHWAY                                                                        FRANKLIN             OH   45005‐4364
PAUL H BRYANT             182 RHODE ISLAND ST                                                                          HIGHLAND PARK        MI   48203‐3361
PAUL H CEBULAK            7059 TAMARACK DR SE                                                                          HUBBARD              OH   44425‐3053
PAUL H COMBS              755 ALBERT RD                                                                                BROOKVILLE           OH   45309‐9202
PAUL H CRIBBS JR          C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                               HOUSTON              TX   77007
                          BOUNDAS LLP
PAUL H CROOK              8141 E HURON CT                                                                              WHITE LAKE           MI   48386‐2510
PAUL H DAVIDSON TRUSTEE   PO BOX 647                                                                                   MEMPHIS              TN   38101‐0647
PAUL H DELACRUZ           4016 SOUTHERN CHARM CT                                                                       ARLINGTON            TX   76016‐4225
PAUL H FRITZ I I          9136 OLD STAGE RD                                                                            WAYNESVILLE          OH   45068‐9735
PAUL H KNIGHT             10293 CHAUTAUQUA RD                                                                          MIAMISBURG           OH   45342‐4117
PAUL H MARSHALL           10288 ATCHISON RD                                                                            CENTERVILLE          OH   45458‐9212
PAUL H MERTZMAN           2811 ARGELLA AVENUE                                                                          DAYTON               OH   45410‐3106
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Name               Address1                        Address2              Address3       Address4         City              State Zip
PAUL H MYERS       21 E OAK ST                                                                           WEST ALEXANDRIA    OH 45381‐1251
PAUL H PATTERSON   1528 BAUER AVE                                                                        KETTERING          OH 45420‐3219
PAUL H POSCHEL     9721 HARBOUR COVE CT                                                                  YPSILANTI          MI 48197‐6902
PAUL H PRATT       C/O BRAYTON PURCELL             222 RUSH LANDING RD                                   NOVATO             CA 94948‐6169
PAUL H SCHOCKMAN   1804 E COMMENWEALTH             APT 101                                               FULLERTON          CA 92831‐4828
PAUL H TAYLOR      842 TERRY AVE                                                                         PONTIAC            MI 48340‐2564
PAUL H. FOULDS     132 CHELSEA TERRACE                                                                   SOUDERTON          PA 18964
PAUL H. OZMENT     36880 ECORSE RD                 MC 481‐760‐318                                        ROMULUS            MI 48174‐1395
PAUL HAAG          4430 TITTABAWASSEE RD                                                                 SAGINAW            MI 48604‐9464
PAUL HAAS          11320 FAWN VALLEY TRL                                                                 FENTON             MI 48430‐4007
PAUL HAAS          2623 S 12TH ST                                                                        IRONTON            OH 45638
PAUL HABEL         11204 BATELLO DR                                                                      VENICE             FL 34292‐4682
PAUL HACKER        5858 SUNDROPS AVE                                                                     GALLOWAY           OH 43119‐9356
PAUL HACKETT       80 CHEROKEE ST                                                                        SEBRING            FL 33875‐5402
PAUL HADDEN        4825 MURPHY LAKE RD                                                                   MILLINGTON         MI 48746‐9403
PAUL HADSALL       49 FLORENCE DR                                                                        CLARK              NJ 07066‐1235
PAUL HAESKE        5701 SUNSET RIDGE RD                                                                  NEWALLA            OK 74857‐9240
PAUL HAGERMAN      PO BOX 215                                                                            PROCIOUS           WV 25164‐0215
PAUL HAGERT        102 SPRY ISLAND RD                                                                    JOPPA              MD 21085‐5439
PAUL HAGERTY       111 BEETHOVEN AVE                                                                     WABAN              MA 02468‐1731
PAUL HAGGERTY      266 LANCELOT LN                                                                       ORTONVILLE         MI 48462‐8946
PAUL HAHN          1703 ARBORVIEW BLVD                                                                   ANN ARBOR          MI 48103‐3651
PAUL HAHN          4853 BYRD LN                                                                          COLLEGE GROVE      TN 37046‐9263
PAUL HAIDERER      568 S PINE ST                                                                         HEMLOCK            MI 48626‐9411
PAUL HAINES        7101 S MANHATTAN AVE                                                                  TAMPA              FL 33616‐2122
PAUL HAINES JR     8355 SHADY LN                                                                         PIQUA              OH 45356‐9242
PAUL HALE          802 HARBOR DR                                                                         LEBANON            OH 45036‐2708
PAUL HALFMANN      341 CONOVER CT                                                                        HOWELL             MI 48843‐6533
PAUL HALIK         14113 ELLEN DR                                                                        LIVONIA            MI 48154‐5341
PAUL HALL          2291 COVERT RD                                                                        BURTON             MI 48509‐1014
PAUL HALL          201 MADISON AVE                                                                       FAIRBORN           OH 45324‐3315
PAUL HALLEMEIER    2928 WESTERLAND CT                                                                    SAINT CHARLES      MO 63301‐4211
PAUL HALSTEAD      4254 S AIRPORT RD                                                                     SAINT JOHNS        MI 48879‐9579
PAUL HAM JR        1406 SE16TH ST. PLACE                                                                 OAK GROVE          MO 64075
PAUL HAM SR        12207 S BROWN RD                                                                      LONE JACK          MO 64070‐9563
PAUL HAMANN        42 WARR CT                                                                            HAMILTON           OH 45013‐2109
PAUL HAMBLEN       3366 EVERSON AVE                                                                      CINCINNATI         OH 45209‐1813
PAUL HAMBLIN       2716 HIGHWAY 215                                                                      EVARTS             KY 40828‐6448
PAUL HAMILTON      5703 STATE ROUTE 13                                                                   BELLVILLE          OH 44813‐9057
PAUL HAMMACHER     2509 MCCOMAS AVE                                                                      DUNDALK            MD 21222‐2312
PAUL HAMMER        1836 PROMENADE LN                                                                     XENIA              OH 45385‐1181
PAUL HAMMERLE      7731 E STATE ROAD 32                                                                  WHITESTOWN         IN 46075‐9440
PAUL HAMMON JR     15152 MCGUIRE ST                                                                      TAYLOR             MI 48180‐5005
PAUL HAMMONDS      44169 DYLAN                                                                           STERLING HTS       MI 48314‐1980
PAUL HAMMONS       861 KENNARD ST                                                                        DONNA              TX 78537‐5421
PAUL HAMPTON       1520 BECK ST                                                                          LEBANON            IN 46052‐2909
PAUL HAMPTON       3856 N STATE ROUTE 42                                                                 WAYNESVILLE        OH 45068‐9390
PAUL HAMPTON       798 ABRI LN                                                                           MANSFIELD          OH 44905‐2864
PAUL HAMRICK       45 RANGER RD SE                                                                       CARTERSVILLE       GA 30121‐5296
PAUL HANCOCK       2120 SPRING ST LOT 19                                                                 NEW CASTLE         IN 47362‐3841
PAUL HANCY         50 RICHMOND LN                                                                        AVON               NY 14414‐1232
PAUL HANDWORK      11674 GREEN BEAVER RD                                                                 CANFIELD           OH 44406‐9409
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Name                                  Address1                          Address2                     Address3   Address4         City             State Zip
PAUL HANDY                            SIMMONS FIRM                      PO BOX 521                                               EAST ALTON         IL 62024‐0519
PAUL HANN                             PO BOX 162                                                                                 EAST SMETHPORT    PA 16730‐0162
PAUL HANNAN                           8448 CASTLE GARDEN RD                                                                      PALMETTO          FL 34221‐9558
PAUL HANNON JR                        2151 RAVINE WOODS DR                                                                       GROVE CITY        OH 43123‐8583
PAUL HANOVER                          PO BOX 417                                                                                 SUMMERTOWN        TN 38483‐0417
PAUL HANSEL                           626 27TH ST NE                                                                             CEDAR RAPIDS       IA 52402‐4336
PAUL HANSEN                           8980 ASHWOOD COURT                                                                         OLMSTED FALLS     OH 44138
PAUL HARDEN                           5324 SECOR RD                                                                              TOLEDO            OH 43623‐2404
PAUL HARDIN                           23300 MIDDLEBELT RD                                                                        NEW BOSTON        MI 48164‐9488
PAUL HARDING                          1265 ELKHORN LAKE RD                                                                       LAKE ORION        MI 48362
PAUL HARDMAN                          PO BOX 901                                                                                 VAN WERT          OH 45891‐0901
PAUL HARDY I I I                      16820 BLIND LAKE TRL SE                                                                    PRIOR LAKE        MN 55372‐2902
PAUL HARM                             818 N YOUNGS RD                                                                            ATTICA            MI 48412‐9602
PAUL HARMER                           3019 TIMBER DR                                                                             LANSING           MI 48917
PAUL HARMON                           14709 ABOITE CENTER RD                                                                     FORT WAYNE        IN 46814‐9749
PAUL HARMON                           1110 DANBURY DR                                                                            KOKOMO            IN 46901‐1562
PAUL HARMS                            11121 LECLUYSE DR                                                                          SHAWNEE           KS 66203‐1567
PAUL HARNEY                           108 LONE OAK CT                                                                            FORNEY            TX 75126‐6889
PAUL HARNISH                          13677 WHITE CREEK AVE NE                                                                   CEDAR SPRINGS     MI 49319‐9450
PAUL HAROLD                           2635 DAWSON RD                                                                             SWEETWATER        TN 37874‐3514
PAUL HAROLD
PAUL HARPER                           910 OAK ST                                                                                 MOAB             UT   84532‐2814
PAUL HARRIET & AMANDA                 424 N 32ND ST                                                                              HARRISBURG       PA   17111‐1705
PAUL HARRINGTON                       578 PARKS RD                                                                               BENTON           LA   71006‐9641
PAUL HARRINGTON                       414 E MOUNTAIN VIEW RD APT 604                                                             JOHNSON CITY     TN   37601‐1278
PAUL HARRIS                           1607 WALLACE THOMPSON RD                                                                   LEWISBURG        TN   37091‐6217
PAUL HARRIS                           4032 STATE ROUTE 123                                                                       FRANKLIN         OH   45005‐9423
PAUL HARRIS                           7191 KNIGHTBRIDGE CT                                                                       AVON             IN   46123‐8403
PAUL HARRIS                           637 RIVERSIDE ST                                                                           PONTIAC          MI   48342‐2552
PAUL HARRIS                           BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH   44236
PAUL HART                             4353 PORT SHELDON ST                                                                       HUDSONVILLE      MI   49426‐7907
PAUL HART                             PO BOX 525                                                                                 VICHY            MO   65580‐0525
PAUL HARTKE                           6154 CLEMATIS DR                                                                           DAYTON           OH   45449‐3006
PAUL HARTLEY                          PO BOX 66                                                                                  WILBERFORCE      OH   45384‐0066
PAUL HARTMAN                          2302 W FINLEY RD                                                                           BELOIT           WI   53511‐8724
PAUL HARTMAN                          PO BOX 183                                                                                 BOKEELIA         FL   33922‐0183
PAUL HARTMANN                         150 SANDPIPER CRES                                                                         MILFORD          CT   06460‐7943
PAUL HARTMEISTER                      1397 SPRINGMILL PONDS BLVD        BLVD.                                                    CARMEL           IN   46032‐8349
PAUL HARVATH                          129 E SILVERBELL RD                                                                        LAKE ORION       MI   48360‐2487
PAUL HARVATH                          8245 S M 52                                                                                OWOSSO           MI   48867‐9270
PAUL HARVEY                           519 MCDONOUGH ST                                                                           SAINT CHARLES    MO   63301‐2934
PAUL HARVEY                           BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH   44236
PAUL HARVEY
PAUL HASSE                            1420 W WEBB RD                                                                             DEWITT           MI 48820‐8331
PAUL HASTINGS JANOFSKY & WALKER LLP   515 S FLOWER ST 25TH FL                                                                    LOS ANGELES      CA 90071

PAUL HASTINGS JANOFSKY & WALKER LLP   600 PEACHTREE ST NE STE 2400                                                               ATLANTA          GA 30308‐2259

PAUL HASTINGS JANOFSKY & WALKER LLP   10TH FLOOR                        1299 PENNSYLVANIA AVE NW                                 WASHINGTON       DC 20004

PAUL HATCH                            404 AVENUE A                                                                               DANVILLE         IL 61832‐5502
PAUL HATCH SR                         1720 FARM LN                                                                               REESE            MI 48757‐9545
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Name                  Address1                       Address2            Address3         Address4              City               State Zip
PAUL HATCHER          1616 LAKESIDE DR                                                                          MISSION             TX 78572
PAUL HATHORNE         PO BOX 1171                                                                               RAYMOND             MS 39154‐1171
PAUL HAUBENSTRICKER   4995 S BEYER RD                                                                           FRANKENMUTH         MI 48734‐9105
PAUL HAUKE            902 MARKET ST                                                                             HERMANN             MO 65041‐1321
PAUL HAULTER          7775 MAXWELTON ST                                                                         MOORESVILLE         IN 46158‐7440
PAUL HAWVERMALE JR    12151 LITTLE RICHMOND RD                                                                  BROOKVILLE          OH 45309‐9378
PAUL HAYES            582 CLIFTON RD                                                                            FRENCHBURG          KY 40322‐8219
PAUL HAYES            6801 S CALHOUN ST                                                                         FORT WAYNE          IN 46807‐3708
PAUL HAYES            124 APRIL DR                                                                              MULVANE             KS 67110‐1002
PAUL HAYNES           318 OAKWOOD LN                                                                            PERRY               MI 48872‐9186
PAUL HAYSLIP          503 ELK RUN                                                                               SHELTON             CT 06484‐2844
PAUL HAZEN            3610 FARMERS CREEK RD                                                                     METAMORA            MI 48455‐9103
PAUL HEAVENER         35235 LEON ST                                                                             LIVONIA             MI 48150‐5625
PAUL HEAVIN           7834 E COUNTY ROAD 200 N                                                                  COATESVILLE         IN 46121‐8992
PAUL HEBEL            1257 18TH ST                                                                              DETROIT             MI 48216‐1765
PAUL HECKMAN          6591 PIED PIPER PKWY                                                                      HILLSBORO           OH 45133‐9376
PAUL HEDIN            10703 ROUND LAKE DR                                                                       MECOSTA             MI 49332‐9794
PAUL HEFFELFINGER     2933 S SCHENLEY AVE                                                                       YOUNGSTOWN          OH 44511‐2103
PAUL HEGER            2639 S ELIZABETH AVE                                                                      WICHITA             KS 67217
PAUL HEIDERMAN        13649 CARNEY RD                                                                           AKRON               NY 14001‐9648
PAUL HEILIG           11450 DUNN RD                                                                             RILEY               MI 48041‐1404
PAUL HEINE            64 COUNTRY FIELD DR                                                                       CAMDEN              DE 19934‐1772
PAUL HEINEMAN         3443 RICHMOND ST                                                                          WATERFORD           MI 48328‐1421
PAUL HEINOLD          206 FORBES AVE                                                                            TONAWANDA           NY 14150‐4704
PAUL HEINRICH         11491 VINSON LN                                                                           EMMETT              MI 48022‐2512
PAUL HEISE            2107 WOLCOTT ST                                                                           JANESVILLE          WI 53546‐5456
PAUL HEITJAN          826 N WASHINGTON ST                                                                       LAPEER              MI 48446‐1958
PAUL HELLER           11447 KENT                                                                                WASHINGTON          MI 48094‐3650
PAUL HELMREICH SR     3744 VASSAR RD M‐15                                                                       REESE               MI 48757
PAUL HELMS            PO BOX 121                                                                                PERRINTON           MI 48871‐0121
PAUL HELTON           7326 FLAMINGO ST                                                                          CLAY                MI 48001‐4132
PAUL HELZER           7702 CLIFTON DR                                                                           SOUTH BRANCH        MI 48761‐9622
PAUL HENDERSON        8143 FLORA AVE                                                                            KANSAS CITY         MO 64131‐2313
PAUL HENDERSON        3329 BALDWIN WOODS DR                                                                     LAKE ORION          MI 48359‐2360
PAUL HENDERSON        506 E MILLER RD                                                                           LANSING             MI 48911‐5703
PAUL HENDLEY          5136 S SENATE AVE                                                                         INDIANAPOLIS        IN 46217‐3550
PAUL HENDON JR        2933 SW 124TH CT                                                                          OKLAHOMA CITY       OK 73170‐2066
PAUL HENDRICKS        117 GROVE ST                                                                              BRANDON             FL 33510‐3256
PAUL HENDRICKSON      2309 NE 53RD ST                                                                           KANSAS CITY         MO 64118‐5815
PAUL HENGESBAUGH      37736 W MEADOWHILL DR                                                                     NORTHVILLE          MI 48167‐9017
PAUL HENLEY           2795 HUNTERS BLF                                                                          BLOOMFIELD HILLS    MI 48304‐1826
PAUL HENNINGER        3844 STONE RD                                                                             MIDDLEPORT          NY 14105‐9712
PAUL HENRY            42223 BRENTWOOD DR                                                                        PLYMOUTH            MI 48170‐2534
PAUL HENRY            1229 COLUMBIANA‐LISBON RD.     BOX D6, LOT 54                                             COLUMBIANA          OH 44408
PAUL HENSEL           9165 N ISLAND DR                                                                          FLUSHING            MI 48433‐2930
PAUL HENSON           6301 MILLER RD                                                                            WHITTEMORE          MI 48770‐9737
PAUL HENSON           1240 SALT SPRINGS RD                                                                      WARREN              OH 44481‐8624
PAUL HERBER SR        PO BOX 392                                                                                PINCONNING          MI 48650‐0392
PAUL HERBERT I I      27085 W 199TH ST                                                                          GARDNER             KS 66030‐9380
PAUL HERMANNS         ERNST‐LUDWIG‐KIRCHNER‐STR 56                                        51375 LEVERKUSEN ‐
                                                                                          GERMANY
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Name                       Address1                       Address2                     Address3   Address4             City              State Zip
PAUL HERMANNS              E‐LUDWIG‐KIRCHNER‐STR. 56                                              51375 LEVERKUSEN
                                                                                                  GERMANY
PAUL HERNANDEZ
PAUL HERNANDEZ             2511 RICHELIEU AVE                                                                          LOS ANGELES       CA    90032‐3240
PAUL HERNANDEZ             2249 W WILSON RD               WEST WILSON ROAD                                             CLIO              MI    48420‐1645
PAUL HERRERA               3878 SCAMMAN CT                                                                             FREMONT           CA    94538‐4927
PAUL HERRERA               11555 W STATE RD                                                                            EAGLE             MI    48822‐9707
PAUL HERSHBERGER           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                   BOSTON HEIGHTS    OH    44236
PAUL HERZOG                935 W ALAURA DR                                                                             ALDEN             NY    14004‐9521
PAUL HESTER                17210 CEDARCROFT PL                                                                         SOUTHFIELD        MI    48076‐4779
PAUL HEYMES                46091 EDGEWATER ST                                                                          CHESTERFIELD      MI    48047‐5326
PAUL HIBBARD               5311 BARNES RD                                                                              MILLINGTON        MI    48746‐8709
PAUL HIBEN                 PO BOX 84                                                                                   LUPTON            MI    48635‐0084
PAUL HICKEY                2601 N ARAGON AVE                                                                           DAYTON            OH    45420‐3715
PAUL HICKEY                2247 BLACKMORE ST                                                                           SAGINAW           MI    48602‐3510
PAUL HICKLE                15393 DAHL RD                                                                               HINCKLEY          MN    55037‐4773
PAUL HICKS                 1194 CARTER DR                                                                              FLINT             MI    48532‐2705
PAUL HICKS                 4663 E 100 S                                                                                ANDERSON          IN    46017‐9370
PAUL HICKSON JR            3901 GROVELAND AVE                                                                          BALTIMORE         MD    21215
PAUL HIGGINS               118 HOLLISTON ST                                                                            MEDWAY            MA    02053‐1911
PAUL HILBERT               26813 CROSS BILL CT                                                                         HEBRON            MD    21830‐1096
PAUL HILL                  1136 WILD TURKEY LN                                                                         LANSING           MI    48906‐1038
PAUL HILL                  1105 INDIANAPOLIS AVE                                                                       LEBANON           IN    46052‐2930
PAUL HILL JR               954 WOODLYNN RD                                                                             BALTIMORE         MD    21221‐5238
PAUL HILLER                PO BOX 182505                                                                               SHELBY TOWNSHIP   MI    48318‐2505
PAUL HINDSON               50386 BAYTOWN                                                                               CHESTERFIELD      MI    48047‐2011
PAUL HINE                  4814 SAGO PALM DR                                                                           SEBRING           FL    33870‐5363
PAUL HINKLE                PO BOX 238                                                                                  SOUTHINGTON       OH    44470‐0238
PAUL HINKLE                3264 LAFAYETTE ST NE                                                                        WARREN            OH    44483‐2357
PAUL HINKLEY               106 HARDING ST                                                                              MEDFIELD          MA    02052‐1020
PAUL HINMAN                7216 RAPIDS RD                                                                              LOCKPORT          NY    14094‐9355
PAUL HINSHAW               4078 W HINSHAW RD                                                                           MONROVIA          IN    46157‐9305
PAUL HOANG                 12600 WAGON WHEEL RD                                                                        OKLAHOMA CITY     OK    73173‐8625
PAUL HOARD                 112 JANE                                                                                    MIDDLETON         MI    48856‐5145
PAUL HOCHEISER             PAUL HOCHEISER                 5749 GEMSTONE CT.                                            BOYNTON BEACH     FL    33437
PAUL HOCHEISER,PRESIDENT   PAUL HOCHEISER,PRES.           5749 GEMSTONE ,CT.                                           BOYNTON BEACH     FL    33437
PAUL HOCHSTETLER           2360 MARION AVE NORTH RD                                                                    MANSFIELD         OH    44903
PAUL HODDINOTT             5928 DAVIDA DR                                                                              TOLEDO            OH    43612‐4419
PAUL HODGDON               7770 S US HIGHWAY 23                                                                        GREENBUSH         MI    48738‐9205
PAUL HODGES                250 N WALNUT ST                                                                             MOUNT CLEMENS     MI    48043‐5814
PAUL HODGES                5135 BAYFIELD DR                                                                            WATERFORD         WI    53185‐3378
PAUL HOEGLER               18010 NW JADE CT                                                                            PARKVILLE         MO    64152‐1171
PAUL HOERST                945 E 85TH ST                                                                               INDIANAPOLIS      IN    46240‐2324
PAUL HOEY                  2509 BEHLING RD                                                                             BOYNE CITY        MI    49712‐9659
PAUL HOFACKER              11265 SWEET POTATO RIDGE RD                                                                 BROOKVILLE        OH    45309‐9669
PAUL HOFFMAN               6016 ELM ST                    PO BOX 318                                                   CLARENCE CTR      NY    14032‐9750
PAUL HOFFMAN               1980 E PREVO RD                                                                             LINWOOD           MI    48634‐9495
PAUL HOFFMAN               2388 CHURCH RD                                                                              MOUNTAIN TOP      PA    18707‐9031
PAUL HOFFMAN               2020 KANSAS AVE                                                                             FLINT             MI    48506‐3714
PAUL HOFFMAN               1155 EDGEWOOD DR                                                                            ORTONVILLE        MI    48462‐9301
PAUL HOFFMAN               4725 CALEDONIA MUD PIKE                                                                     CALEDONIA         OH    43314‐9787
PAUL HOFFMANN
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Name               Address1                          Address2                    Address3   Address4         City               State Zip
PAUL HOFFMASTER    233 RAINBOW DR                                                                            NORTH FORT MYERS    FL 33903‐5657
PAUL HOGAN         14051 IROQUOIS WOODS DR                                                                   FENTON              MI 48430‐1639
PAUL HOGAN         340 SHERIDAN AVE                                                                          SATELLITE BEACH     FL 32937‐3046
PAUL HOGG          985 E RAHN RD                                                                             DAYTON              OH 45429‐5927
PAUL HOHN          634 CLINTON ST                                                                            FLINT               MI 48507‐2539
PAUL HOKE          482 ALLISON AVE                                                                           MANSFIELD           OH 44903‐1002
PAUL HOKE JR       418 OTTAWA LN                                                                             PRUDENVILLE         MI 48651‐9713
PAUL HOLBROOK      1000 E GRAND RIVER AVE                                                                    FOWLERVILLE         MI 48836‐9531
PAUL HOLBROOK      6905 W 52ND PL APT 2A                                                                     MISSION             KS 66202‐1538
PAUL HOLCOMB       PO BOX 218                                                                                TAYLOR              MI 48180‐0218
PAUL HOLCOMB       5645 GOLFRIDGE RD                                                                         ALMA                MI 48801‐9636
PAUL HOLCOMB SR    12A HUNTERS WOODS BLVD                                                                    CANFIELD            OH 44406‐8764
PAUL HOLDEN        7411 GLASGOW RD                                                                           WEEKI WACHEE        FL 34613‐7465
PAUL HOLDER        604 HIGHWAY 224 E                                                                         SWIFTON             AR 72471‐9100
PAUL HOLDER        7240 COLDWATER RD                                                                         FLUSHING            MI 48433‐9060
PAUL HOLDINSKI     8652 SOUTHRIDGE DR                                                                        HOWELL              MI 48843‐8084
PAUL HOLLAND       8195 W MOUNT HOPE HWY                                                                     VERMONTVILLE        MI 49096‐8746
PAUL HOLLARS       3482 S 700 E                                                                              MARION              IN 46953‐9555
PAUL HOLLENBECK    1630 S BYRON RD                                                                           LENNON              MI 48449‐9669
PAUL HOLLOWELL     1743 SW 155TH PLACE RD                                                                    OCALA               FL 34473‐8879
PAUL HOLT          21440 ROOSEVELT AVE                                                                       FARMINGTON HILLS    MI 48336‐5644
PAUL HOLTEL        421 NW 56TH ST                                                                            NEWPORT             OR 97365‐1029
PAUL HOLTON        105 ESTATES DR                                                                            WEST MONROE         LA 71292‐2176
PAUL HOLTON JR     27567 MARTIN FARM RD                                                                      MILTON              DE 19968‐3208
PAUL HOLZHAUER     PO BOX 258                                                                                ATTICA              OH 44807‐0258
PAUL HOMA          656 YOUNGSTOWN KINGSVILLE RD SE                                                           VIENNA              OH 44473‐9605
PAUL HOMER         3001 VIA ESPERANZA                                                                        EDMOND              OK 73013‐8890
PAUL HONEYCUTT     1682 NORTHDALE RD                                                                         DAYTON              OH 45432‐3510
PAUL HOOD          11520 W 200 S                                                                             PARKER CITY         IN 47368‐9292
PAUL HOOD          1834 MCPHAIL ST                                                                           FLINT               MI 48503‐4367
PAUL HOOD          9822 W MAIN ST                                                                            LAPEL               IN 46051‐9760
PAUL HOPPE         514 ELM ST                                                                                MOUNT MORRIS        MI 48458‐1916
PAUL HORECNY       1336 EAST AVE                                                                             BERWYN               IL 60402‐1208
PAUL HORN          THE MADEKSHO LAW FIRM             8866 GULF FREEWAY STE 440                               HOUSTON             TX 77017
PAUL HORNE         6379 GREEN VALLEY LN                                                                      LOCKPORT            NY 14094‐8839
PAUL HORNE         133 W DAKOTA                                                                              DETROIT             MI 48203‐5238
PAUL HORTEN        254 E LAKE DR                                                                             LAGRANGE            OH 44050‐9608
PAUL HORTON        PO BOX 205                                                                                FORT MC COY         FL 32134‐0205
PAUL HORTON        3725 CAMINO RD                                                                            HARRISON            MI 48625‐8002
PAUL HORVATH       316 ADAMS AVE                                                                             BROWNSVILLE         PA 15417‐2416
PAUL HORVATH       2920 FOSTER DR NE                                                                         WARREN              OH 44483‐5642
PAUL HORWATT       331 BOZMAN RD                                                                             STONEWALL           LA 71078‐9218
PAUL HOSKEY        7099 TIMBERWOOD DR                                                                        DAVISON             MI 48423‐9580
PAUL HOSKINS       117 E YPSILANTI AVE                                                                       PONTIAC             MI 48340‐1982
PAUL HOSKINS       2105 S 350 W                                                                              RUSSIAVILLE         IN 46979‐9451
PAUL HOSKINS       3121 BUCKNER RD                                                                           LAKE ORION          MI 48362‐2019
PAUL HOTALING      7167 BROADFIELD RD                                                                        JAMESVILLE          NY 13078‐9623
PAUL HOUSEHOLDER   PO BOX 156                                                                                MORLEY              MO 63767‐0156
PAUL HOWARD        4401 289TH ST                                                                             TOLEDO              OH 43611‐1925
PAUL HOWARD        3304 NE 69TH ST                                                                           GLADSTONE           MO 64119‐5222
PAUL HOWARD        324 HAMLIN ST                                                                             CORBIN              KY 40701‐1159
PAUL HOWARD        9210 TIMBERLINE CT                                                                        GRAND BLANC         MI 48439‐8343
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Name              Address1                         Address2                     Address3   Address4         City               State Zip
PAUL HOWARD       735 WILCOX ST                                                                             ROCHESTER           MI 48307‐1445
PAUL HOWLEY       624 NW JAYELLEN AVE                                                                       BURLESON            TX 76028‐4402
PAUL HOY          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
PAUL HOYT         448 6TH ST                                                                                NIAGARA FALLS       NY 14301‐1606
PAUL HOZAK        1287 PLOVER DR                                                                            HIGHLAND            MI 48357‐3949
PAUL HRICAK JR    PO BOX 362                                                                                RANSOMVILLE         NY 14131‐0362
PAUL HRICIK       176 FOREST AVE                                                                            LYNDHURST           NJ 07071‐2339
PAUL HRIPKO       2450 SKYWAE DR                                                                            YOUNGSTOWN          OH 44511‐2253
PAUL HSIEH        6066 RIDGEWOOD CT                                                                         FLINT               MI 48532‐3220
PAUL HUBA         3862 AYRSHIRE DR                                                                          YOUNGSTOWN          OH 44511‐1122
PAUL HUBBARD      44875 THORNAPPLE LN                                                                       NORTHVILLE          MI 48168‐8824
PAUL HUBBARD      7335 DANFORTH RD                                                                          TEMPERANCE          MI 48182‐1352
PAUL HUBER        7977 N 1750 EAST RD                                                                       GEORGETOWN           IL 61846‐6016
PAUL HUBER SR     7836 E 21ST ST                                                                            INDIANAPOLIS        IN 46219‐2409
PAUL HUBLER       1902 RUGER AVE                                                                            JANESVILLE          WI 53545‐2655
PAUL HUCUL        5753 YORKTOWN LN                                                                          AUSTINTOWN          OH 44515‐2207
PAUL HUDDLESTON   1801 DUPONT ST                                                                            FLINT               MI 48504‐7257
PAUL HUDSON       3090 WINTERGREEN DR W                                                                     SAGINAW             MI 48603‐1950
PAUL HUDSON JR    46650 S LAKESHORE DR                                                                      LAWRENCE            MI 49064‐9727
PAUL HUDY         8387 BEERS RD                                                                             SWARTZ CREEK        MI 48473‐9101
PAUL HUFF         1237 IVANHOE AVE                                                                          YOUNGSTOWN          OH 44502‐2825
PAUL HUFF         610 S MARION ST                                                                           MARTINSVILLE        IN 46151‐2114
PAUL HUFFMAN      302 WESLEY AVE                                                                            FERGUSON            MO 63135‐2632
PAUL HUFFMAN      404 N 1ST ST                                                                              LEWISVILLE          IN 47352‐9749
PAUL HUGGINS      12263 SILVER LAKE RD                                                                      BRIGHTON            MI 48116‐8321
PAUL HUGGINS      922 S HAZELWOOD AVE                                                                       YOUNGSTOWN          OH 44509‐2236
PAUL HUGHES       7299 E COLDWATER RD                                                                       DAVISON             MI 48423‐8944
PAUL HUGHES       1300 W US 36                                                                              PENDLETON           IN 46064
PAUL HUGHES       7416 LES HUGHES RD                                                                        FAIRVIEW            TN 37062‐9703
PAUL HULL JR      12197 US ROUTE 24                                                                         CECIL               OH 45821‐9609
PAUL HULT         1406 N PACKARD AVE                                                                        BURTON              MI 48509‐1645
PAUL HUMPHREY     409 BLOOMFIELD AVE                                                                        PONTIAC             MI 48341‐2803
PAUL HUMPHREYS    8468 DEER FIELD DR                                                                        DAVISON             MI 48423‐2129
PAUL HUNT         10225 GENESEE RD                                                                          MILLINGTON          MI 48746‐9724
PAUL HUNT         10655 WIMPLE RD                                                                           ONSTED              MI 49265‐9790
PAUL HUNT         4385 GAULT RD                                                                             NORTH JACKSON       OH 44451‐8728
PAUL HUNT         20753 PARKLANE DR                                                                         PARKER              CO 80138‐3137
PAUL HUNT
PAUL HUNT         3761 SHAKERTOWN RD.                                                                       BEAVER CREEK       OH   45430
PAUL HUNT I I     G6443 RICHFIELD RD                                                                        FLINT              MI   48506
PAUL HUNTER       4581 STATE ST                                                                             GAGETOWN           MI   48735‐9725
PAUL HUNTOON      3775 SMITH CROSSING RD                                                                    FREELAND           MI   48623‐9442
PAUL HURLBURT     1523 S MAIN ST                                                                            MANSFIELD          OH   44907‐2820
PAUL HURST        709 S CHURCH ST                                                                           SAINT JOHNS        MI   48879‐2129
PAUL HURST        4723 HARLOU DR                                                                            KETTERING          OH   45432‐1618
PAUL HURT         3307 W 29TH ST                                                                            MUNCIE             IN   47302‐4936
PAUL HURTGAM      2222 BALMER RD                                                                            RANSOMVILLE        NY   14131‐9786
PAUL HUSKEY       3231 E LANSING RD                                                                         BANCROFT           MI   48414‐9793
PAUL HUSSEY       475 LEHIGH RD                                                                             ROCHESTER HILLS    MI   48307‐3746
PAUL HUSZA        6342 RESTWOOD DR                                                                          LINDEN             MI   48451‐8708
PAUL HUTCHINS     6547 N HIGHLAND ST                                                                        DEARBORN HEIGHTS   MI   48127‐2202
PAUL HUTCHINS     418 KNOX COVE RD                                                                          WESTMINSTER        SC   29693‐5019
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Name                                  Address1                         Address2                     Address3           Address4         City                 State Zip
PAUL HUTCHINSON                       6550 BUSCH RD                                                                                     BIRCH RUN             MI 48415‐8764
PAUL HUTSELL                          4035 HANEY RD                                                                                     DAYTON                OH 45416‐2035
PAUL HUTTON                           3159 DOUGLAS RD                                                                                   TOLEDO                OH 43606‐1804
PAUL HYATT JR                         335 S NANAGOSA TRL                                                                                SUTTONS BAY           MI 49682‐9557
PAUL HYDE                             2899 CHESTERFIELD DR                                                                              TROY                  MI 48083‐2622
PAUL HYLTON                           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.           OH 44236
PAUL I MISHCHENKO                     359 MOUNT MILLS RD                                                                                MONROE TWP.           NJ 08831‐9801
PAUL IATOMASI                         37 LONG PARK DR                                                                                   ROCHESTER             NY 14612
PAUL III, WEST                        PO BOX 430866                                                                                     PONTIAC               MI 48343‐0866
PAUL ILLG JEANNE SCHOENBAUER          334 CEDARDALE DR SE                                                                               OWATONNA              MN 55060
PAUL ILONCAI                          3198 UTAH ST                                                                                      NATIONAL CITY         MI 48748‐9502
PAUL IMBURGIA                         1840 CROMPOND RD                 BUILDING 9, APT B‐4                                              PEEKSKILL             NY 10566
PAUL IMHOFF                           1210 GULICK RD                                                                                    HASLETT               MI 48840‐9108
PAUL INGBER ACCT OF C JACKSON         GCE97533                         3000 TOWN CTR STE 2390                                           SOUTHFIELD            MI 48075‐1122
PAUL INGBER ACCT OF H T VU 98C02905GC 3000 TOWN CTR STE 2390                                                                            SOUTHFIELD            MI 48075‐1122

PAUL INGBER ACCT OF V S REED          3000 TOWN CTR STE 2390                                                                            SOUTHFIELD           MI   48075‐1122
PAUL INGRAM JR                        PO BOX 5571                                                                                       WILMINGTON           DE   19808‐8571
PAUL IONATA                           10 BENT TWIG LN                                                                                   EWING                NJ   08638‐2002
PAUL IRLA                             701 S EDGEWORTH AVE                                                                               ROYAL OAK            MI   48067‐4061
PAUL IRWIN                            180 E MCKINLEY ST                                                                                 BUNKER HILL          IN   46914‐9770
PAUL ISAAC                            6165 SURREY LN                                                                                    BURTON               MI   48519‐1315
PAUL ISAACS                           710 VAN EATON RD                                                                                  XENIA                OH   45385‐7344
PAUL ISCO                             4816 COAL RD #A1                                                                                  VIENNA               OH   44473
PAUL ISENEGGER                        28843 BALMORAL ST                                                                                 GARDEN CITY          MI   48135‐2159
PAUL ISER                             7989 YORK RD                                                                                      SAULT SAINTE MARIE   MI   49783‐9544
PAUL ISH                              3995 AQUARINA ST                                                                                  WATERFORD            MI   48329‐2115
PAUL ISHAM                            3190 APPLE CT                                                                                     NIAGARA FALLS        NY   14304‐1494
PAUL ISON                             212 ALBERS AVE                                                                                    DAYTON               OH   45427
PAUL J & LANA R HELFNER               36 ALTON PT                                                                                       BERLIN               MD   21811
PAUL J ALVES                          2469 WESTSIDE DRIVE                                                                               N CHILI              NY   14514‐1034
PAUL J AND ALMA G HALLER TTEE         U/A/D 10/18/85                   PAUL J HALLER REVOCABLE TR   8220 NATURES WAY   APT# 119         LAKEWOOD RCH         FL   34202
PAUL J ARNOTT                         1516 BELFORD RD                                                                                   HOLLY                MI   48442‐9413
PAUL J BEITER, SR                     5861 GOODRICH RD APT 4D                                                                           CLARENCE CTR         NY   14032‐9770
PAUL J BLOSIC                         3031 FIVE POINTS RD                                                                               FOWLER               OH   44418
PAUL J BLOSIC                         3031 FIVE POINTS RD                                                                               FOWLER               OH   44418‐‐ 97
PAUL J BOVENZI                        203 YOUNGS AVENUE                                                                                 ROCHESTER            NY   14606‐3847
PAUL J BRACCI                         3107 LATTA RD                                                                                     ROCHESTER            NY   14612
PAUL J BRYLINSKI III                  102 NO. EDWARD ST                                                                                 SAYREVILLE           NJ   08872
PAUL J CAIN                           232 ORINOCO DR                                                                                    BRIGHTWATERS         NY   11718
PAUL J CATINELLA                      416 MOORE CREEK RD                                                                                HURST                TX   76053‐6447
PAUL J CHESLEY                        3121 GLASGOW DR                                                                                   LANSING              MI   48911‐1317
PAUL J CHRISTE                        1100 MARSAC ST                                                                                    BAY CITY             MI   48708‐8548
PAUL J CLINE                          10708 PREBLE COUNTY LINE RD                                                                       BROOKVILLE           OH   45309‐7717
PAUL J CZOKA                          2116 ROBBINS AVE                                                                                  NILES                OH   44446
PAUL J DANKO                          WEITZ & LUXENBERG P C            700 BROADWAY                                                     NEW YORK CITY        NY   10003
PAUL J DICKSON                        2405 DOGLEG DR                                                                                    WARRINGTON           PA   18976
PAUL J DURGEY JR                      119 MITCHELL AVE                                                                                  MATTYDALE            NY   13211‐1737
PAUL J FLUENT                         7448 CHESTNUT RIDGE RD                                                                            HUBBARD              OH   44425
PAUL J GABRIELSON                     6099 COREY HUNT RD                                                                                BRISTOLVILLE         OH   44402
PAUL J GALLITE                        2801 PITTSBURG AVE.                                                                               MCDONALD             OH   44437‐1438
PAUL J GATZY                          RD. #1 275 ADAMS RD.                                                                              EDGEWATER            FL   32141‐7101
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Name                                Address1                         Address2                     Address3   Address4         City            State Zip
PAUL J GLEASON                      1776 HEDON CIR                                                                            CAMARILLO        CA 93010
PAUL J GREGSON                      358 MILL RD                                                                               ROCHESTER        NY 14626‐1065
PAUL J GUNTER                       956 CONTINENTAL CT APT 3                                                                  VANDALIA         OH 45377
PAUL J GUST                         6056 WILLARD RD                                                                           BIRCH RUN        MI 48415‐8547
PAUL J HATALA                       8121 STATE ROUTE 45                                                                       N BLOOMFIELD     OH 44450
PAUL J HIBBENS                      6142 BOB DR                                                                               YPSILANTI        MI 48197‐7004
PAUL J HICKEY                       2601 N. ARAGON AVE                                                                        DAYTON           OH 45420‐3715
PAUL J HOARD                        112 S. JANE ST BOX 213                                                                    MIDDLETON        MI 48856
PAUL J HODDINOTT                    5928 DAVIDA DR                                                                            TOLEDO           OH 43612‐4419
PAUL J IRETON                       4401 SKYLARK DR                                                                           ENGLEWOOD        OH 45322
PAUL J JANKOWSKI                    501 E LIBERTY ST                                                                          GIRARD           OH 44420
PAUL J KING                         5438 COUNTRY ROAD 579                                                                     SEFFNER          FL 33584
PAUL J KLINGLER                     304 OGDEN PARMA TOWN LINE ROAD                                                            SPENCERPORT      NY 14559
PAUL J KLOCKENKEMPER AND JOAN C     JT WROS                          5311 RIVERAIRE DR                                        GODFREY           IL 62035‐1440
KLOCKENKEMPER
PAUL J KOEPKE                       223 N 62ND ST                                                                             MILWAUKEE       WI   53213‐4128
PAUL J KOLODZIE                     707 BOULEVARD ST                                                                          SYRACUSE        NY   13211‐1839
PAUL J KORZENKO                     3400 CHESTNUT RD                                                                          SEVEN HILLS     OH   44131‐3654
PAUL J KRAMER                       2517 ROSE DR                                                                              GLENSHAW        PA   15116
PAUL J KUDYBA                       8944 ALTURA DR NE                                                                         WARREN          OH   44484‐1730
PAUL J LEE                          3801 LEITH ST                                                                             FLINT           MI   48506‐3104
PAUL J LIPTAY                       101 GLENSTONE RD                                                                          DICKSON CITY    PA   18519‐1148
PAUL J LOCKETT                      313 GRAFTON                                                                               DAYTON          OH   45406
PAUL J MAINS                        7024 FAR HILLS AVE                                                                        CENTERVILLE     OH   45459‐4204
PAUL J MASNY                        2940 S UNION ST                                                                           ROCHESTER       NY   14624‐1926
PAUL J MCGOWAN                      1566 DREXEL AVE NW                                                                        WARREN          OH   44485‐2116
PAUL J MILLER                       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS      OH   44236
PAUL J MOHR ACCT OF C M             PO BOX 338                                                                                WICHITA         KS   67201‐0338
OLDHAM95C7015
PAUL J NENNO                        WEITZ & LUXENBERG PC             700 BROADWAY                                             NEW YORK CITY   NY   10003
PAUL J NOWAK                        170 DESMOND DR                                                                            TONAWANDA       NY   14150‐7725
PAUL J OSBORNE                      2276 HALES WAY APT 133                                                                    WILLIAMSBURG    OH   45176
PAUL J PAPP                         322 BROWN STONE DR                                                                        ENGLEWOOD       OH   45322‐1712
PAUL J PAVLICA                      3069 S EDGAR RD                                                                           MASON           MI   48854‐9217
PAUL J PENICK                       634 WELLMEIER AVE                                                                         DAYTON          OH   45410
PAUL J PERSONETTE                   2911 STATE ROUTE 725 W                                                                    CAMDEN          OH   45311‐9691
PAUL J REIS                         514 E HURON RD                                                                            OMER            MI   48749‐9774
PAUL J RICHTER                      133 ORHARD PL APT 257                                                                     LACKAWANNA      NY   14218‐1763
PAUL J ROSENOW                      404 BREMAN AVE                                                                            SYRACUSE        NY   13211‐1535
PAUL J RUGGERI                      6382 E AVON LIMA RD                                                                       AVON            NY   14414‐9414
PAUL J RYDER                        4330 PRAIRIE FOX DR                                                                       JANESVILLE      WI   53546‐3481
PAUL J SANDACZ AND MARY T SANDACZ   JT TEN                           2920 EVENING DEW DR                                      WOODSTROCK      MD   21163‐1498

PAUL J SAUER                        18 LAWSON AVE                                                                             NEW LEBANON     OH   45345‐1416
PAUL J SCEHOVIC                     PO BOX 626                                                                                NEW LENOX       IL   60451
PAUL J SCHILLER                     7062 ST RT 609 NE                                                                         BURGHILL        OH   44404
PAUL J SCHROEDER                    13200 COWPATH RD                                                                          NEW CARLISLE    OH   45344
PAUL J SHAEFFER                     1024 LEWISBURG WESTERN RD                                                                 LEWISBURG       OH   45338
PAUL J SIMONTON                     4605 HOLLY AVE.                                                                           MIDDLETOWN      OH   45044‐5246
PAUL J SMITH JR                     121 W SOUTH C ST                                                                          GAS CITY        IN   46933‐1740
PAUL J STOLOWSKI                    426 E OVERLOOK DR                                                                         EASTLAKE        OH   44095‐1212
PAUL J TAYLOR                       2433 STATE ROUTE 534                                                                      SOUTHINGTON     OH   44470
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Name                             Address1                        Address2                        Address3   Address4         City                  State Zip
PAUL J THOMPSON                  713 FIFTH ST                                                                                WARREN                 OH 44485‐3816
PAUL J THURMAN                   474 GINGER PL                                                                               TROTWOOD               OH 45426‐3034
PAUL J VADOVSKI                  53341 LYNNHAM LN                                                                            SHELBY TWP             MI 48316‐2138
PAUL J WARGO                     1658 HOLLYWOOD                                                                              GROSSE POINTE WOODS    MI 48236
PAUL J WILLIAMS                  1216 CARMEN AVE.                                                                            NEW CARLISLE           OH 45344‐2717
PAUL J WISNOWSKI                 2536 LEESBURG GROVE CITY RD                                                                 VOLANT                 PA 16156
PAUL J YOCUM                     2229 CLEARVIEW NW                                                                           WARREN                 OH 44483‐1335
PAUL J YODICE
PAUL J ZIOLKOWSKI                7353 WINBERT DR                                                                             N TONAWANDA           NY 14120‐1492
PAUL J. HOOK, TTEE               1126 WEST CYPRESS DR.                                                                       POMPANO BEACH         FL 33069‐4107
PAUL J. KING
PAUL J. O'MARA
PAUL J. TREMONT
PAUL JACK (480776) ‐ PAUL JACK   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND             OH 44114
                                                                 BOND COURT BUILDING
PAUL JACKSON                     5503 NOTTINGHAM RD                                                                          DETROIT               MI   48224‐3134
PAUL JACKSON                     37656 PALMER RD                                                                             WESTLAND              MI   48186‐3926
PAUL JACKSON                     5775 GRIFFIN ST                                                                             SANBORN               NY   14132‐9203
PAUL JACKSON                     PO BOX 236                                                                                  NOBLETON              FL   34661‐0236
PAUL JACKSON                     6285 GUNNELL RD                                                                             MILLINGTON            MI   48746‐9720
PAUL JACKSON                     7262 LINDEN RD                                                                              SWARTZ CREEK          MI   48473‐9455
PAUL JACKSON                     6275 GUNNELL RD                                                                             MILLINGTON            MI   48746‐9720
PAUL JACKSON                     1275 BRIDLESPUR DR                                                                          WENTZVILLE            MO   63385‐2731
PAUL JACKSON                     14125 W HEATHER LN                                                                          DALEVILLE             IN   47334‐9664
PAUL JACKSON                     9221 BRAY RD                                                                                MILLINGTON            MI   48746‐9521
PAUL JACKSON                     1705 E 56TH ST                                                                              ANDERSON              IN   46013‐3004
PAUL JACKSON                     111 GRAFTON AVE APT 406                                                                     DAYTON                OH   45406‐5462
PAUL JACOBS                      7296 TUOLUMNE DR                                                                            GOLETA                CA   93117
PAUL JACOBSON                    756 VINE ST                                                                                 BELOIT                WI   53511‐5306
PAUL JACOVITCH                   545 ST. MARY`S ST                                                                           HEMLOCK               MI   48626
PAUL JAHN                        42282 OAKLAND DR                                                                            CANTON                MI   48188‐5216
PAUL JAKLEVICH                   306 S HARRISON ST                                                                           SPRING HILL           KS   66083‐9130
PAUL JAKUBCANIN                  3288 GREEN RD                                                                               SAINT JOHNS           MI   48879‐9121
PAUL JAMES                       928 ROLLING MEADOW DR                                                                       BURLESON              TX   76028‐7476
PAUL JAMES NEIMAN                3700 SE 52ND ST                                                                             OCALA                 FL   34480
PAUL JAMES PRATT                 WEITZ & LUXENBERG PC            700 BROADWAY                                                NEW YORK CITY         NY   10003
PAUL JAMESON                     19246 MACKAY ST                                                                             DETROIT               MI   48234‐1486
PAUL JANASIK                     3100 CANTERBURY DR                                                                          BAY CITY              MI   48706‐9252
PAUL JANDO                       12193 N STATE RD                                                                            OTISVILLE             MI   48463‐9794
PAUL JANES                       126 PERRY ST                                                                                GRAND LEDGE           MI   48837‐1341
PAUL JANETZKE                    215 N CANAL RD LOT 34                                                                       LANSING               MI   48917‐8665
PAUL JANIS                       54 WHEELOCK ST                                                                              BUFFALO               NY   14206‐3333
PAUL JANKOWIAK                   54421 JACK DR                                                                               MACOMB                MI   48042‐2247
PAUL JANKOWSKI                   1826 S RIVERSIDE DR                                                                         AU GRES               MI   48703‐9796
PAUL JANKOWSKI                   1431 CEDARWOOD DR                                                                           FLUSHING              MI   48433‐1875
PAUL JANOS                       212 WILLOWGROVE S                                                                           TONAWANDA             NY   14150‐4517
PAUL JANOWIECKI                  11722 BRINT RD                                                                              BERKEY                OH   43504‐9739
PAUL JARRELL                     1402 CATHERINE DR APT B                                                                     PHENIX CITY           AL   36867‐1598
PAUL JASINKIEWICZ                41200 ALDEA DR                                                                              NORTHVILLE            MI   48168‐3219
PAUL JASKOLSKI                   724 W MAPLE RD                                                                              MILFORD               MI   48381‐3814
PAUL JEAKLE                      109 SUGAR PINE RD                                                                           ROCHESTER HLS         MI   48309‐2233
PAUL JEFFERS                     5964 N CARROLL RD                                                                           INDIANAPOLIS          IN   46235‐7993
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Name                Address1                           Address2            Address3         Address4             City               State Zip
PAUL JEFFERS JR     12008 N PAR CT                                                                               SUN CITY            AZ 85351‐3733
PAUL JEFFERSON      205 PATTERSON ST                                                                             NEW CASTLE          PA 16101‐1906
PAUL JEFFREY JR     6197 DELHI ST                                                                                CLARKSTON           MI 48348‐4725
PAUL JEFFRIES       1222 N ELM ST                                                                                FAIRMOUNT           IN 46928‐1137
PAUL JENKINS        4 BUNKER HILL RD                                                                             NEW CASTLE          DE 19720‐4221
PAUL JENKINS        7098 FAIRVIEW AVE                                                                            BROOKFIELD          OH 44403‐9754
PAUL JENKINS        7264 EDGERTON RD                                                                             N ROYALTON          OH 44133‐5749
PAUL JENNINGS       3113 SW ROBERTS DR                                                                           LEES SUMMIT         MO 64082‐4132
PAUL JENNINGS       1859 S CT RD 450 EAST                                                                        AVON                IN 46123
PAUL JENSEN         1910 CARSON ST                                                                               LANSING             MI 48911‐7117
PAUL JESCHONNEK
PAUL JESTER         1513 OSCEOLA ST                                                                              JOHNSON CITY       TN   37604‐7115
PAUL JETER          467 HARRISON ST                                                                              SPRINGFIELD        OH   45505‐2051
PAUL JEWETT         7510 BUCKHORN LAKE RD                                                                        HOLLY              MI   48442‐9183
PAUL JOHANNEMAN     13420 SCIOTO DARBY RD                                                                        ORIENT             OH   43146‐9736
PAUL JOHNSON        40625 COLONY DR                                                                              STERLING HTS       MI   48313‐3811
PAUL JOHNSON        8303 STATE ROUTE 380                                                                         WILMINGTON         OH   45177‐9055
PAUL JOHNSON        401 E. BOWEN AVE.705B                                                                        CHICAGO            IL   60653
PAUL JOHNSON        3910 SEWELL AVE                                                                              KANSAS CITY        KS   66104‐3754
PAUL JOHNSON        10085 FUNNEL RD                                                                              CAMP DOUGLAS       WI   54618‐8024
PAUL JOHNSON        311 W GLEN                                                                                   ELYRIA             OH   44035‐3747
PAUL JOHNSON        1043 MADISON ST                                                                              YPSILANTI          MI   48197‐5216
PAUL JOHNSON        1304 S BILTMORE AVE                                                                          INDIANAPOLIS       IN   46241‐3404
PAUL JOHNSON        4221 BUCKINGHAM DR                                                                           WARREN             MI   48092‐3008
PAUL JOHNSON        550 S LITTLE BEAR TRL                                                                        SIERRA VISTA       AZ   85635‐8537
PAUL JOHNSON        3608 W WOODSTOCK LN                                                                          MUNCIE             IN   47302‐9481
PAUL JOHNSON        814 BROWNING AVE                                                                             ENGLEWOOD          OH   45322‐2035
PAUL JOHNSON        109 TOOWEKA CIR                                                                              LOUDON             TN   37774‐2610
PAUL JOHNSON        48 W ISELIN PKWY                                                                             ISELIN             NJ   08830‐1155
PAUL JOHNSON        39 SHIPPS WAY                                                                                DELANCO            NJ   08075‐5231
PAUL JOHNSON        133 MELLINGERTOWN RD                                                                         MT PLEASANT        PA   15666‐3418
PAUL JOHNSON        1214 GIEL AVE                                                                                LAKEWOOD           OH   44107‐2718
PAUL JOHNSON        2629 ASPEN LN                                                                                BLOOMFIELD HILLS   MI   48302‐1010
PAUL JOHNSON        1595 PETROLIA                                                                                WEST BLOOMFIELD    MI   48324‐3958
PAUL JOHNSON        9405 RIVERSIDE DR                                                                            GRAND LEDGE        MI   48837‐9294
PAUL JOHNSON        334 N GLENHURST DR                                                                           BLOOMFIELD HILLS   MI   48301‐2635
PAUL JOHNSON        14306 LAKEWOOD HEIGHTS BLVD                                                                  LAKEWOOD           OH   44107‐6057
PAUL JOHNSON
PAUL JOHNSON        223 OHIO ST                                                                                  YPSILANTI          MI   48198‐6031
PAUL JOHNSONBAUGH   1614 S JOANE WAY                                                                             SANTA ANA          CA   92704‐4225
PAUL JOHNSTON       14400 FAIRLAWN AVE                                                                           CLEVELAND          OH   44111‐4334
PAUL JOHNSTON       174 JOHNSTON RD                                                                              IRVONA             PA   16656‐8029
PAUL JOINVILLE      3726 WOODLAND DR                                                                             METAMORA           MI   48455‐9627
PAUL JOKERST        16410 HIGHWAY 32                                                                             STE GENEVIEVE      MO   63670‐8847
PAUL JOKIEL         BITZIWEG 9                                                              CH‐9466 MONTLINGEN
PAUL JONES          11341 GATEWOOD PL                                                                            DALLAS             TX   75218‐1900
PAUL JONES          217 EXECUTIVE DR STE 203                                                                     CRANBERRY TWP      PA   16066
PAUL JONES          1081 CREEKWOOD CIR                                                                           MADISON            GA   30650‐5077
PAUL JONES          RR 1 BOX 328                                                                                 ELK GARDEN         WV   26717‐9734
PAUL JONES          3890 BURNT BRIDGE RD                                                                         CUMMING            GA   30028‐8169
PAUL JONES          312 DOGWOOD TRCE                                                                             MCDONOUGH          GA   30252
PAUL JONES          441 OAKWOOD RD                                                                               BALTIMORE          MD   21222‐2218
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Name                 Address1                         Address2                      Address3             Address4           City              State Zip
PAUL JONES           20168 BRAMFORD ST                                                                                      DETROIT            MI 48234‐3202
PAUL JONES           8360 FAIRLANE DR                                                                                       BIRCH RUN          MI 48415
PAUL JONES           40 HEATHER VALLEY CIR                                                                                  SAINT PETERS       MO 63376‐2406
PAUL JONES           14961 LITTLEFIELD ST                                                                                   DETROIT            MI 48227‐3683
PAUL JONES           337 REBECCA LN                                                                                         STANFORD           KY 40484‐8838
PAUL JONES           1813 WINDSOR LN                                                                                        FLINT              MI 48507‐2235
PAUL JONES           5043 PETERSON ST                                                                                       SAGINAW            MI 48601‐6840
PAUL JONES           4013 HORIZON DR                                                                                        DAVISON            MI 48423‐8445
PAUL JONES           4069 E CRONK RD                                                                                        OWOSSO             MI 48867‐9619
PAUL JONES           78 ST ROAD 314 S                                                                                       MANSFIELD          OH 44903
PAUL JONES           10518 N 400 E                                                                                          PENDLETON          IN 46064‐9417
PAUL JONES           1360 SHELTON RD                                                                                        MARTINSVILLE       IN 46151‐7590
PAUL JONES           1727 PLEASANT WAY                                                                                      BOWLING GREEN      KY 42104‐6326
PAUL JONES           453 SUGAR MILL RD                                                                                      CEDAR HILL         TX 75104‐5417
PAUL JONES           1082 JAMES ST                                                                                          VASSAR             MI 48768‐1544
PAUL JONES           175 WOODRIDGE DR                                                                                       ELYRIA             OH 44035‐1717
PAUL JONES JR        9130 NW 57TH ST                                                                                        KANSAS CITY        MO 64152‐4014
PAUL JORDAN          17959 E 2820 NORTH RD                                                                                  ALVIN               IL 61811‐3067
PAUL JORDAN          1152 PARKMAN RD NW                                                                                     WARREN             OH 44485‐2467
PAUL JORDAN          5290 CHIPPENDALE LN                                                                                    IMPERIAL           MO 63052‐3051
PAUL JORDAN          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS     OH 44236
PAUL JORDAN          361 ANGELA LN                                                                                          MARY ESTHER        FL 32569
PAUL JORGENSEN       7401 W 55TH ST                                                                                         OVERLAND PARK      KS 66202
PAUL JOSEPH          C/O THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                                           HOUSTON            TX 77017
PAUL JOSEPH          548 S 17TH ST                                                                                          SAGINAW            MI 48601‐2060
PAUL JOSEPH BUTZEN   ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON          IL 62024
                                                      ANGELIDES & BARNERD LLC
PAUL JR, DAVID G     125 E 156 ST                     APT 725                                                               CLEVELAND         OH   44110‐1943
PAUL JR, DAVID G     125 E 156TH ST APT 725                                                                                 CLEVELAND         OH   44110‐1137
PAUL JR, JOHN M      14845 ANGELIQUE AVE                                                                                    ALLEN PARK        MI   48101‐1844
PAUL JR, LEE         5910 THREE MILE DR                                                                                     DETROIT           MI   48224‐2647
PAUL JR, ROBERT C    4246 BRISTOL DR                                                                                        TROY              MI   48085‐4810
PAUL JR, ROBERT R    5267 S FRANCIS RD                                                                                      SAINT JOHNS       MI   48879‐9223
PAUL JR, WILLIAM J   5319 NOTTINGHAM DR N                                                                                   SAGINAW           MI   48603‐2851
PAUL JR, WILLIAM L   2540 JORDAN RD                                                                                         MARTINSVILLE      IN   46151‐7489
PAUL JUAREZ          4145 S WAYSIDE DR                                                                                      SAGINAW           MI   48603‐3078
PAUL JUENEMANN
PAUL JUNE            1767 E ALWARD RD                                                                                       DEWITT            MI   48820‐8435
PAUL JURUSZ          371 PROSPECT AVE                                                                                       DUNELLEN          NJ   08812‐1527
PAUL JUSTICE         14602 S 135TH AVE                                                                                      LOCKPORT          IL   60441‐2320
PAUL K BURKE         4675 WOODRIDGE DR                                                                                      AUSTINTOWN        OH   44515‐5108
PAUL K CLINGERMAN    101 N RIVER RD 1                                                                                       WARREN            OH   44483
PAUL K EGELSTON      6950 CASTLEBROOK DR                                                                                    FRANKLIN          OH   45005
PAUL K FLEMING       12189 ROSELAWN ST                                                                                      DETROIT           MI   48204
PAUL K GAWRONSKI     125 BROOKLAWN                                                                                          DALY CITY         CA   94015‐3528
PAUL K HARSHMAN      240 A AUDINO LANE                                                                                      ROCHESTER         NY   14624‐5621
PAUL K HARTKE        6154 CLEMATIS DR                                                                                       DAYTON            OH   45449
PAUL K JORDAN        1048 GROSBECK RD APT #9                                                                                CINCINNATI        OH   45224‐2753
PAUL K KING, JR      1310 N 500 W                                                                                           MUNCIE            IN   47304
PAUL K LATHAM        531 BELMONTE PARK N.             APT. 301                                                              DAYTON            OH   45405
PAUL K MARANIAN      3092 GRANGE RD                                                                                         TRENTON           MI   48183‐3470
PAUL K MARKLE        7531 THOMAS                                                                                            SHELBY TOWNSHIP   MI   48317‐6351
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Name               Address1                        Address2            Address3         Address4         City                 State Zip
PAUL K MUNSON      810 MATTY AVE                                                                         MATTYDALE             NY 13211‐1312
PAUL K PACK        4243 LYNDELL AVE                                                                      BEAVERCREEK           OH 45432
PAUL K REDMAN      562 TERRYVILLE AVE                                                                    BRISTOL               CT 06010‐4031
PAUL K SCHAKE      4216 SETTLER HEIGHTS                                                                  FORT MILL             SC 29708‐6402
PAUL K THACKER     P O BOXDRAWER G                                                                       HINDMAN               KY 41822
PAUL K WRIGHT      2829 HAMILTON RD                                                                      LEBANON               OH 45036
PAUL KACHMARIK     8901 ASPEN CIR                                                                        PARMA                 OH 44129‐6408
PAUL KACZOROWSKI   24 SARATOGA DR                                                                        NEW CASTLE            DE 19720‐4231
PAUL KACZYNSKI     6816 HATTER RD                                                                        NEWFANE               NY 14108‐9768
PAUL KADAS         13820 AQUILLA RD                                                                      BURTON                OH 44021‐9517
PAUL KALIS         6953 N VERNON ST                                                                      DEARBORN HTS          MI 48127‐2227
PAUL KALVELAGE     7872 BARRYMORE LN                                                                     WOODBURY              MN 55125‐4364
PAUL KAMALSKI      PO BOX 877                                                                            HOCKESSIN             DE 19707‐0877
PAUL KAMINSKI      30316 MCGRATH DRIVE                                                                   WARREN                MI 48093‐3007
PAUL KAMINSKI      5259 LINDA ST                                                                         WARREN                MI 48092‐3485
PAUL KAMINSKI      46858 MEADOWVIEW DR                                                                   SHELBY TOWNSHIP       MI 48317‐4157
PAUL KAMINSKI      29316 TAYLOR ST                                                                       SAINT CLAIR SHORES    MI 48081‐3054
PAUL KAMYSZEK      3671 STONEY CREEK RD                                                                  OAKLAND               MI 48363‐1852
PAUL KANDRA        32 JAY ST                                                                             SUCCASUNNA            NJ 07876‐1849
PAUL KANE          5 BRENDANS DR                                                                         EAST AMHERST          NY 14051‐2483
PAUL KANE          380 WALNUT DR                                                                         SOUTH LYON            MI 48178‐9042
PAUL KANE          346 HILLCREST BLVD                                                                    YPSILANTI             MI 48197‐4339
PAUL KANG          1012 ROCHELLE PARK DR                                                                 ROCHESTER HILLS       MI 48309‐3702
PAUL KAPA          733 BUCKHORN DR                                                                       LAKE ORION            MI 48362‐2823
PAUL KAPLAN        8 PRAIRIE LN                                                                          PALM COAST            FL 32164‐7434
PAUL KAPTUR        29236 CREEK BEND DR                                                                   FARMINGTON HILLS      MI 48331‐2608
PAUL KARAS         14004 12TH AVE                                                                        MARNE                 MI 49435‐9647
PAUL KARASIEWICZ   201 ENCHANTED FRST S                                                                  DEPEW                 NY 14043‐5017
PAUL KARKAU        2514 CINNAMON LN                                                                      LESLIE                MI 49251‐2101
PAUL KARLAN        511 CENTER AVE                                                                        MAMARONECK            NY 10543
PAUL KARPIK        5149 OVERLOOK PT                                                                      HAMBURG               NY 14075‐3427
PAUL KASTNER       12928 PARKWOOD ST                                                                     HUDSON                FL 34669‐3844
PAUL KAUFELD       13229 FAGAN RD                                                                        HOLLY                 MI 48442‐9710
PAUL KEABLES       3490 FOX WOOD DR                                                                      TITUSVILLE            FL 32780‐2523
PAUL KEELER        7251 MAPLEWOOD DR                                                                     TEMPERANCE            MI 48182‐1332
PAUL KEEN          5453 WOODGATE DR                                                                      DAYTON                OH 45424‐2703
PAUL KEENE         PO BOX 1218                                                                           KALAMA                WA 98625‐1100
PAUL KEIRSEY       8311 COUNTY ROAD 4                                                                    SWANTON               OH 43558‐9784
PAUL KEIRSEY       1682 CROSS CREEK LN                                                                   DEFIANCE              OH 43512‐4005
PAUL KEITH         18636 E KARSTEN DR                                                                    QUEEN CREEK           AZ 85242‐5240
PAUL KEITH         342 PORTER MILL SPRING DR                                                             SUNRISE BEACH         MO 65079‐6653
PAUL KELLAR        1718 BENNETT ST                                                                       KOKOMO                IN 46901‐5118
PAUL KELLER        359 TAYLOR RD                                                                         GALION                OH 44833‐9317
PAUL KELLER        12220 PACKARD RD                                                                      HUDSON                MI 49247‐9558
PAUL KELLEY        7351 MENDENHALL RD                                                                    CAMBY                 IN 46113‐9209
PAUL KELLEY        624 BERRIDGE CIR                                                                      LAKE ORION            MI 48360‐1219
PAUL KELLY         832 HARDWOODS DR                                                                      BOWLING GREEN         KY 42104‐7228
PAUL KELLY         52346 CREEK LN                                                                        CHESTERFIELD          MI 48047‐4545
PAUL KELLY         1026 S AMERICA RD                                                                     LAGRO                 IN 46941‐9400
PAUL KELLY         1019 ELM ST                                                                           INDIANAPOLIS          IN 46203‐1003
PAUL KELLY         36008 LADYWOOD ST                                                                     LIVONIA               MI 48154‐2024
PAUL KEMMER        312 W VINYARD ST                                                                      ANDERSON              IN 46011‐3414
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Name                Address1                            Address2                     Address3   Address4         City            State Zip
PAUL KEMP           7385 EAST 700 NORTH                                                                          BROWNSBURG       IN 46112
PAUL KEMPER         PO BOX 433                                                                                   FRANKTON         IN 46044‐0433
PAUL KEMPER         736 W 600 N                                                                                  ALEXANDRIA       IN 46001‐8212
PAUL KEMPPAINEN     2800 N RIDGE RD                                                                              CHESANING        MI 48616‐9600
PAUL KENDALL        1109 CONGRESS ST                                                                             MIDDLETOWN       IN 47356‐1712
PAUL KENDALL        1701 STATE ROUTE 303                                                                         STREETSBORO      OH 44241‐5647
PAUL KENDLEHART     42 W BROADWAY                                                                                GETTYSBURG       PA 17325
PAUL KENNEDY        1958 DUNHAM DR                                                                               ROCHESTER        MI 48306‐4808
PAUL KENNEDY        40242 BIGGS RD                                                                               LAGRANGE         OH 44050‐9790
PAUL KENNEDY        BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
PAUL KENNETT        3800 W MICHIGAN ST APT 1808                                                                  INDIANAPOLIS     IN 46222‐3368
PAUL KENNEY         40 GOLF CLUB CIR                                                                             STATESBORO       GA 30458‐9160
PAUL KENNEY         218 TAMARACK AVE                                                                             WILMINGTON       DE 19805‐5029
PAUL KERLEY         7526 CASTLETON FARMS NORTH DR                                                                INDIANAPOLIS     IN 46256‐1950
PAUL KERMIS
PAUL KERN           978 KING JAMES CT                                                                            VASSAR          MI   48768‐1574
PAUL KERN           8277 HIDDEN CREEK DR                                                                         FLUSHING        MI   48433‐9417
PAUL KERNS          12029 STERN DR                                                                               INDIANAPOLIS    IN   46256‐9442
PAUL KERR           17970 FERRELLS CREEK RD                                                                      BELCHER         KY   41513‐8405
PAUL KERSTOFF       5413 PINE FOREST RD                                                                          GAINESVILLE     GA   30504‐5153
PAUL KESKE          1215 QUAKER SQ                                                                               ASHLAND         OH   44805‐4423
PAUL KESLER         5354 MAIER RD                                                                                MAYVILLE        MI   48744‐9659
PAUL KESTNER        90 TOM KAT LN                                                                                LINDEN          TN   37096‐5056
PAUL KETTERER       139 ROBIN HILL DR                                                                            WILLIAMSVILLE   NY   14221‐1515
PAUL KETTERER       3060 WOODFIELD WAY                                                                           CUMMING         GA   30040‐7191
PAUL KEY            1038 BRANTLEY AVE                                                                            BALTIMORE       MD   21217‐2405
PAUL KEYS           5800 CENTRAL AVENUE PIKE APT 4607                                                            KNOXVILLE       TN   37912‐2641
PAUL KEYS           29511 CALAHAN RD                                                                             ROSEVILLE       MI   48066‐1855
PAUL KIETZMAN       2477 CEDAR RUN RD                                                                            MIO             MI   48647‐9721
PAUL KILGORE        325 SHADOWLAWN ST                                                                            INKSTER         MI   48141‐1318
PAUL KILMER JR      PO BOX 309                                                                                   DAMASCUS        OH   44619‐0309
PAUL KIMBALL        196 SPAULDING ST                                                                             N TONAWANDA     NY   14120‐4018
PAUL KIMBIRAUSKAS   1751 NOBLE RD                                                                                WILLIAMSTON     MI   48895‐9749
PAUL KIMBLE         407 N MULBERRY ST                                                                            FARMLAND        IN   47340‐9504
PAUL KIMSEL         3110 S DUFFIELD RD                                                                           LENNON          MI   48449‐9407
PAUL KINCAID        11440 130TH AVE                                                                              LARGO           FL   33778‐1907
PAUL KINDER         605 LEWIS RD                                                                                 WILMINGTON      OH   45177‐9475
PAUL KING           21680 BEST RD                                                                                ALLIANCE        OH   44601‐9216
PAUL KING           5438 COUNTY ROAD 579                                                                         SEFFNER         FL   33584‐7304
PAUL KING           409 SPRINGWATER LOOP                                                                         MYRTLE BEACH    SC   29588‐2930
PAUL KING           35401 E PINK HILL RD                                                                         OAK GROVE       MO   64075‐7194
PAUL KING           PO BOX 19101                                                                                 OAKLAND         CA   94619‐0101
PAUL KING           1112 ROBINS RD                                                                               LANSING         MI   48917‐2025
PAUL KING           1190 OTTO RD                                                                                 CHARLOTTE       MI   48813‐9765
PAUL KING           10210 KELLY HWY                                                                              VERMONTVILLE    MI   49096‐9711
PAUL KING JR        1310 N 500 W                                                                                 MUNCIE          IN   47304
PAUL KING JR        612 NEUBERT AVE                                                                              FLINT           MI   48507‐1717
PAUL KING JR        1056 FINCH RD                                                                                WINDER          GA   30680‐3200
PAUL KINNEY         21665 W BURT RD                                                                              BRANT           MI   48614‐8711
PAUL KINSER         1709 CRYSTAL SPRINGS LN                                                                      KETTERING       OH   45429‐3717
PAUL KIRKBRIDE      124 E HOME RD                                                                                SPRINGFIELD     OH   45504‐1014
PAUL KIRKLEY        3 RIVERSIDE DR                                                                               WILMINGTON      DE   19809‐2656
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Name                 Address1                            Address2                     Address3   Address4            City             State Zip
PAUL KIRKPATRICK     521 LINDEN LN                                                                                   CHESTERFIELD      IN 46017‐1537
PAUL KIRKWOOD        21300 BRINSON AVE                   APT 214                                                     PORT CHARLOTTE    FL 33952‐5007
PAUL KIRKWOOD        O‐358 LEONARD ST NW                                                                             GRAND RAPIDS      MI 49534‐6854
PAUL KLACIK          2172 INNWOOD DR                                                                                 YOUNGSTOWN        OH 44515‐4845
PAUL KLACIK          6131 KIRK RD                                                                                    CANFIELD          OH 44406‐8615
PAUL KLAIN           23971 WOODHAM                                                                                   NOVI              MI 48374‐3440
PAUL KLANN           2008 RICHMOND AVE                                                                               LINCOLN PARK      MI 48146‐3482
PAUL KLEIN           110 TALSMAN DR UNIT 15                                                                          CANFIELD          OH 44406‐1973
PAUL KLEIN           8154 LAHRING RD                                                                                 GAINES            MI 48436‐9736
PAUL KLEIN           127 BUDLONG ST                                                                                  ADRIAN            MI 49221‐1941
PAUL KLEIN           6699 COUNTY ROAD 417                                                                            MC MILLAN         MI 49853‐9240
PAUL KLEIN           2698 OAKLAND DR                                                                                 EDEN              NY 14057‐9527
PAUL KLEIN           4230 W TOWNSEND RD                                                                              SAINT JOHNS       MI 48879‐9551
PAUL KLEIN           BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.       OH 44236
PAUL KLEINSCHMIDT    601 SPARLING DR                                                                                 SAGINAW           MI 48609‐5124
PAUL KLEMCZAK        6472 CHICKADEE CT                                                                               CLARKSTON         MI 48346‐2977
PAUL KLEMM           5154 BRONCO DR                                                                                  CLARKSTON         MI 48346‐2601
PAUL KLEPI           1439 S SHERIDAN RD                                                                              LENNON            MI 48449‐9724
PAUL KLINE           3217 BOOKER FARM RD                                                                             MT PLEASANT       TN 38474‐3032
PAUL KLINER          C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.       OH 44236
PAUL KLINK JR.       5070 MUD PIKE RD                                                                                CELINA            OH 45822‐8206
PAUL KLUCZYNSKI      8265 WATERFORD DR                                                                               LAMBERTVILLE      MI 48144‐8618
PAUL KMOCH           13640 SE 90TH TER                                                                               SUMMERFIELD       FL 34491‐7993
PAUL KNAPP           107 HILLSIDE DR                                                                                 BALDWIN CITY      KS 66006‐7003
PAUL KNEDLER JR      331 GIBBONS RD                                                                                  W CARROLLTON      OH 45449‐2011
PAUL KNIGGE          3255 S 4TH ST                                                                                   DEKALB             IL 60115‐8762
PAUL KNIGHT          10293 CHAUTAUQUA RD                                                                             MIAMISBURG        OH 45342‐4117
PAUL KNIGHT          2334 N 81ST CT                                                                                  KANSAS CITY       KS 66109‐2102
PAUL KNISS           11196 CENTERVILLE ST                                                                            WHITEHOUSE        OH 43571‐9793
PAUL KNOBLAUCH       651 COVERT RD                                                                                   LESLIE            MI 49251‐9417
PAUL KNOSE           2729 GREY FOX DR                                                                                MARTINSVILLE      IN 46151‐8421
PAUL KNOTT           237 DEVELLE RD                                                                                  BOLIGEE           AL 35443‐3601
PAUL KNUTH           2546 N 59TH ST                                                                                  MILWAUKEE         WI 53210‐2217
PAUL KOCH            48693 HUNTER DR                                                                                 MACOMB            MI 48044‐5568
PAUL KOCHERSPERGER   272 E MAIN ST                                                                                   GETTYSBURG        OH 45328
PAUL KOCK            2130 GRASS LAKE AVE                                                                             LAKE              MI 48632‐8963
PAUL KOCSIS          3075 ALCOTT AVE                                                                                 FLINT             MI 48506‐2145
PAUL KOENIG          6460 STUDEBAKER RD                                                                              TIPP CITY         OH 45371‐8505
PAUL KOEPKE          223 N 62ND ST                                                                                   MILWAUKEE         WI 53213‐4128
PAUL KOEPKE          BUCKOWER DAMM 100                                                                               BERLIN
PAUL KOESTER GMBH    KOLPINGSTASSE 1                                                             MEDEBACH NW 59964
                                                                                                 GERMANY
PAUL KOHLER          BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.      OH 44236
PAUL KOHLER          4420 CLAGUE RD                                                                                  NORTH OLMSTED    OH 44070‐2318
PAUL KOLB
PAUL KONANOS         2349 ROSEMONT RD                                                                                BERKLEY          MI   48072‐1849
PAUL KONCZAK         598 N ROCK RD                                                                                   MANSFIELD        OH   44903‐8239
PAUL KOOGLER         BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.      OH   44236
PAUL KOPACZ          1475 TWIN BRIDGE LN                                                                             LAWRENCEVILLE    GA   30043‐5252
PAUL KOPYLEC         3448 ABINGTON CT                                                                                BRUNSWICK        OH   44212‐4603
PAUL KORMAN          7701 SUNBLEST BLVD                                                                              FISHERS          IN   46038‐1171
PAUL KORNBACHER      5185 OLD OLIVE RD                                                                               HARDIN           KY   42048‐9551
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Name              Address1                       Address2            Address3         Address4         City             State Zip
PAUL KORZENKO     3400 CHESTNUT RD                                                                     SEVEN HILLS       OH 44131‐3654
PAUL KOSHA        4125 GENESEE RD                                                                      LAPEER            MI 48446‐3648
PAUL KOSLOSKY     17166 MAPLE HILL DR                                                                  NORTHVILLE        MI 48168‐3215
PAUL KOTARSKI     679 JOHNSON PLANK RD NE                                                              WARREN            OH 44481‐9326
PAUL KOVAC        114 N CHELSEA AVE APT 1                                                              ATLANTIC CITY     NJ 08401‐3793
PAUL KOVACH       5281 E CALLA RD                                                                      NEW MIDDLETOWN    OH 44442‐8755
PAUL KOVACS       5204 DOGWOOD DR                                                                      NEW HOLLAND       PA 17557‐9411
PAUL KOVACS       6233 CORNELL BLVD                                                                    N RIDGEVILLE      OH 44039‐1921
PAUL KOVACS       6233 CORNELL                                                                         N RIDGEVILLE      OH 44039‐1921
PAUL KOVACS JR    1652 HARTLEY AVE                                                    AURAUR           HENDERSON         NV 89052‐6899
PAUL KOVINCHICK   484 CONNOR DR                                                                        MANSFIELD         OH 44905‐2025
PAUL KOWAL        3959 ECKHARDT RD                                                                     HAMBURG           NY 14075‐6707
PAUL KOWALEWSKI   14235 LANDINGS WAY                                                                   FENTON            MI 48430‐1317
PAUL KOWALSKI     322 DIAMOND RD                                                                       JACKSON           NJ 08527‐3137
PAUL KOWROSKI     2478 PARKVIEW ST SW                                                                  WYOMING           MI 49519‐4535
PAUL KOZACKI      8144 REED HILL RD                                                                    CATTARAUGUS       NY 14719‐9470
PAUL KRAFT JR     3290 SEXTON RD                                                                       HOWELL            MI 48843‐8931
PAUL KRAJEWSKI    3232 WENDE RD                                                                        ALDEN             NY 14004‐9795
PAUL KRAJEWSKI    5351 CAPRI DR                                                                        TROY              MI 48098‐2415
PAUL KRAMER       RR 1 BOX 20600                                                                       FT JENNINGS       OH 45844
PAUL KRAPANZA     41130 NICKI LYNN DR                                                                  BELMONT           OH 43718‐9682
PAUL KRAUSENECK   47240 BLOSSOM LN                                                                     MACOMB            MI 48044‐2727
PAUL KREBS        5183 GIBBS RD                                                                        PLAINFIELD        IN 46168‐8391
PAUL KREFFT       5133 WASHINGTON ST APT 3B                                                            DOWNERS GROVE      IL 60515‐4747
PAUL KRENITSKY    10047 EQUITY AVE                                                                     DADE CITY         FL 33525‐0701
PAUL KREST        573 BIRCHWOOD DR                                                                     LOCKPORT          NY 14094‐9161
PAUL KRETSCHMAR   10882 N CHIPPEWA RD                                                                  COLEMAN           MI 48618‐9202
PAUL KREUTZ       72 S BELLEVUE AVE                                                                    DEPEW             NY 14043‐4304
PAUL KRITZ        3352 CARSON SALTSPRINGS RD.                                                          WARREN            OH 44481
PAUL KROETSCH     418 HOMESTEAD DR                                                                     N TONAWANDA       NY 14120‐1649
PAUL KROK         1938 BIANCO AVE                                                                      NILES             OH 44446‐4502
PAUL KROTZ        75 RANDWOOD DR                                                                       GETZVILLE         NY 14068‐1336
PAUL KRUEGER
PAUL KRUMANAKER   9341 W 300 N                                                                         ANDREWS          IN   46702‐9514
PAUL KRUMNOW      1421 N NISSEN RD                                                                     MARTIN           OH   43445‐9714
PAUL KRUPP        14040 SEYMOUR RD                                                                     MONTROSE         MI   48457‐9773
PAUL KRUSE        12020 CHEROKEE CIR                                                                   SHELBY TWP       MI   48315‐1117
PAUL KRUSE        424 SEQUOIA DR                                                                       DAVISON          MI   48423‐1902
PAUL KRUSE        PO BOX 34                                                                            CECIL            OH   45821‐0034
PAUL KUBERNUK     618 HANOVER DR                                                                       WRIGHTSTOWN      NJ   08562‐2007
PAUL KUBICK       2509 N 74TH CT                                                                       ELMWOOD PARK     IL   60707‐1932
PAUL KUBIK        66 ROSEMARY ST                                                                       LAPEER           MI   48446‐2675
PAUL KUCHARSKI    120 ALVIL RD                                                                         WILMINGTON       DE   19805‐2032
PAUL KUCK         1871 PORTVIEW DR                                                                     SPRING HILL      TN   37174‐8201
PAUL KUCZYNSKI    3471 EVALINE ST                                                                      HAMTRAMCK        MI   48212‐3340
PAUL KUDLA        5794 ARLYNE LN                                                                       MEDINA           OH   44256‐6805
PAUL KUDYBA       8944 ALTURA DR NE                                                                    WARREN           OH   44484‐1730
PAUL KUEHN        1440 MCGREW LN                                                                       WHITE LAKE       MI   48383‐2763
PAUL KUEPER       1211 CLINTON ST                                                                      CARLYLE          IL   62231‐1301
PAUL KUKLA        614 S FARRAGUT ST                                                                    BAY CITY         MI   48708
PAUL KULAWCZYK    33639 NEWPORT DR                                                                     STERLING HTS     MI   48310‐5860
PAUL KULIG        6362 CLEARBROOK DR                                                                   SAINT HELEN      MI   48656‐9547
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Name                   Address1                           Address2                Address3   Address4         City              State Zip
PAUL KULPA             28339 BOHN ST                                                                          ROSEVILLE          MI 48066‐2406
PAUL KUMMEROW          N2265 COUNTY ROAD T                                                                    BRODHEAD           WI 53520‐9103
PAUL KUMPELIS          18554 GASPER RD                                                                        CHESANING          MI 48616‐9780
PAUL KURTZ             PO BOX 197                                                                             NEW WILMINGTON     PA 16142‐0197
PAUL KURTZ             10215 ABERDEEN DR                                                                      GRAND BLANC        MI 48439‐9574
PAUL KVALO             PO BOX 553                         613 E WASHINGTON ST                                 PARKER CITY        IN 47368‐0553
PAUL KVARTEK           61 HILLCREST AVENUE                                                                    EDISON             NJ 08817‐3729
PAUL KYTTA             5 LEISURE LN                                                                           MEDINA             OH 44256‐1280
PAUL L ADAMS           584 MARTIN LUTHER KING JR BLVD N                                                       PONTIAC            MI 48342‐1622
PAUL L ARAHOOD         916 ALEXANDER RD                                                                       EATON              OH 45320
PAUL L BANGE           9143 KIPTON DR                                                                         FRANKLIN           OH 45005
PAUL L BERGER JR       2534 WOLCOTT ST                                                                        FLINT              MI 48504‐3355
PAUL L BESTOR          44 STATE HIGHWAY 37C                                                                   MASSENA            NY 13662‐3242
PAUL L BLASETTI JR     536 BIRR ST                                                                            ROCHESTER          NY 14613‐1341
PAUL L CUNNINGHAM      4805 HASSAN CIR APT 15                                                                 DAYTON             OH 45432‐‐ 13
PAUL L CUPAN           1259 WILL O WOOD DR                                                                    HUBBARD            OH 44425‐3339
PAUL L DECOCQ          ACCT OF GERALD R WEIMER            408 W GRAND RIVER AVE                               HOWELL             MI 48843‐2148
PAUL L DOUBLE          4202 WILLOW RUN DR                                                                     BEAVERCREEK        OH 45430
PAUL L FIELDS          931 N 12TH ST                                                                          MIAMISBURG         OH 45342‐1967
PAUL L FIELDS          9584 S BLACKMER RD                                                                     CARSON CITY        MI 48811‐9717
PAUL L GIZZI           28 WINDING BROOK DR                                                                    FAIRPORT           NY 14450
PAUL L HAMMER          1836 PROMENADE LN                                                                      XENIA              OH 45385‐1181
PAUL L HANCY           50 RICHMOND LANE                                                                       AVON               NY 14414‐1232
PAUL L HECKMAN         6591 PIED PIPER PRKWY                                                                  HILLSBORO          OH 45133
PAUL L ISAACS          1087 LOWER BELLBROOK RD                                                                XENIA              OH 45385
PAUL L JONES           6900 OAK HILL DR                                                                       WEST FARMINGTON    OH 44491‐9755
PAUL L KOCHERSPERGER   272 E MAIN ST                                                                          GETTYSBURG         OH 45328
PAUL L MCCORMACK       5944 MEREDITH ST                                                                       PORTAGE            MI 49002‐2242
PAUL L MULNIX          4490 NICHOLS RD                                                                        SWARTZ CREEK       MI 48473‐8511
PAUL L NASH            9153 DISCHINGER CT                                                                     SAINT LOUIS        MO 63137‐1007
PAUL L NODZO           204 GORDON AVE                                                                         MATTYDALE          NY 13211‐1818
PAUL L O'BRIAN         336 GARDEN RD                                                                          LEXINGTON          KY 40502
PAUL L OSBORNE         369 KENYON DR                                                                          HAMILTON           OH 45015‐1935
PAUL L PARCELS JR      12728 CHAPEL ST                                                                        DETROIT            MI 48223‐3217
PAUL L PICHETTE        12 BERGEN PL                                                                           EDISON             NJ 08817
PAUL L PIERSON         3525 CRESTVIEW AVE                                                                     LEBANON            OH 45036‐1005
PAUL L REICHARD        111 BRIXTON WOODS EAST DR                                                              PITTSBORO          IN 46167‐8919
PAUL L RIKE            535 WESTBROOK RD                                                                       DAYTON             OH 45415‐2248
PAUL L ROSE            198 LAKESIDE ST                                                                        PONTIAC            MI 48340‐2527
PAUL L SHAMROCK        2615 GRIFFITH DR                                                                       CORTLAND           OH 44410‐9658
PAUL L SNIDER          7240 WILSON RD                                                                         MONTROSE           MI 48457‐9196
PAUL L STEINBRUGGE     4211 PLEASANT VIEW AVE                                                                 DAYTON             OH 45420
PAUL L THURMAN SR      443 GRAFTON AVE.                                                                       DAYTON             OH 45406
PAUL L VINSON          150 WEST MARKET ST                                                                     SPRINGBORO         OH 45066‐1268
PAUL L WALKER, III     324 CARTHAGE PL                                                                        DAYTON             OH 45426‐2727
PAUL L WILCOX, JR.     1144 SENECA DR                                                                         DAYTON             OH 45407‐1616
PAUL L WILKENS, JR     215 E. FRANKLIN ST.                                                                    CENTERVILLE        OH 45459
PAUL LA FENE           PO BOX 2411                                                                            SANDUSKY           OH 44871‐2411
PAUL LA MACCHIA        1462 W CLARK RD                                                                        DEWITT             MI 48820‐9629
PAUL LABADIE           9081 WESTLAKE DR                                                                       GREENDALE          WI 53129‐1083
PAUL LABELLE           9871 MOUNT PLEASANT CEMETERY RD                                                        PRIMM SPRINGS      TN 38476‐1831
PAUL LABOYTEAUX        33530 BORDMAN RD                                                                       RICHMOND           MI 48062‐2307
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Name              Address1                      Address2                       Address3   Address4         City             State Zip
PAUL LABRIE       405 E HAGUE RD                                                                           EL PASO           TX 79902‐3301
PAUL LACEY        3224 S SASHABAW RD                                                                       OXFORD            MI 48371‐4010
PAUL LACH         C/O COONEY AND CONWAY         120 NORTH LASALLE 30TH FLOOR                               CHICAGO            IL 60602
PAUL LACKNEY      5481 CHURCHILL RD                                                                        PORT CHARLOTTE    FL 33981‐5008
PAUL LADISKY      6672 DIVINE HWY                                                                          PORTLAND          MI 48875
PAUL LAFEVOR      1034 CLAREMONT DR                                                                        COLUMBIA          TN 38401‐6207
PAUL LAFFEY       1741 UNIVERSITY DR                                                                       COLUMBIA          TN 38401‐6413
PAUL LAFLAMME     210 LAUREL LEAH                                                                          OXFORD            MI 48371‐6342
PAUL LAGORIN      18‐561 HENRY COUNTY RD.Y                                                                 HOLGATE           OH 43527
PAUL LAGOWSKI     9019 GREINER RD                                                                          CLARENCE          NY 14031‐1104
PAUL LAIBLE       C/O BRAYTON PURCELL           222 RUSH LANDING RD                                        NOVATO            CA 94948‐6169
PAUL LAIDLER      7228 LINDEN RD                                                                           FENTON            MI 48430‐9397
PAUL LAKES        1460 CHEYENNE DR                                                                         XENIA             OH 45385‐4302
PAUL LALAMA       308 N ASHLAND AVE                                                                        NEW CASTLE        PA 16102‐1806
PAUL LALKO        3370 RIVER ST                                                                            KINGSTON          MI 48741‐9702
PAUL LALLY        13712 GLENRIO DR                                                                         STERLING HTS      MI 48313‐4200
PAUL LALONDE      2010 WALKER LAKE RD                                                                      MANSFIELD         OH 44906‐1413
PAUL LAMACCHIA    838 WEBSTER HOLLOW RD                                                                    BELLE VERNON      PA 15012‐4905
PAUL LAMB         1645 RIVERSIDE DR                                                                        GLADWIN           MI 48624‐8347
PAUL LAMB         2723 AURORA DR                                                                           LANSING           MI 48910‐3708
PAUL LAMBERT      220 GEORGE WASHINGTON HWY N                                                              CHESAPEAKE        VA 23323‐1804
PAUL LAMMERS      PO BOX 52                     191 RANDALL                                                BECKEMEYER         IL 62219‐0052
PAUL LANDIN       5026 SETTLEMENT EAST RD                                                                  SHELBY            OH 44875‐8900
PAUL LANE         1935 N B ST                                                                              ELWOOD            IN 46036‐1745
PAUL LANE         1399 BELCHER RD S LOT 32                                                                 LARGO             FL 33771‐5252
PAUL LANEY        406 W MAIN ST                                                                            LIZTON            IN 46149‐9222
PAUL LANG         2552 FARMDALE DR                                                                         STERLING HTS      MI 48314‐3866
PAUL LANG         6565 W M‐78                                                                              PERRY             MI 48872
PAUL LANGER       8891 SW 57TH COURT RD                                                                    OCALA             FL 34476‐9471
PAUL LANIAUSKAS   551 E WILSON AVE                                                                         LOMBARD            IL 60148‐4059
PAUL LANINGHAM    1929 W MILLER RD                                                                         LANSING           MI 48911‐4639
PAUL LANZONE      5952 GAZELLE DR                                                                          FORT MOHAVE       AZ 85426‐9107
PAUL LAPLANTE     177 COLONIAL AVE                                                                         CUMBERLAND         RI 02864‐5818
PAUL LARMONIE     661 ABBINGTON DR              APT K5                                                     EAST WINDSOR      NJ 08520‐5828
PAUL LAROSA       15878 HUMMEL RD                                                                          BROOK PARK        OH 44142‐1955
PAUL LARSEN       8065 S MONA DR                                                                           OAK CREEK         WI 53154‐3033
PAUL LARSEN       161 VANDERBILT RD                                                                        BRISTOL           CT 06010‐3662
PAUL LARSON       P.O 104 O'DONNELL RD.                                                                    BARTON CITY       MI 48705
PAUL LARUE        821 LARUE LN                                                                             ELIZABETHTOWN     KY 42701‐5646
PAUL LASSMAN      4533 CHESTER AVE                                                                         NIAGARA FALLS     NY 14305‐1301
PAUL LATARTE      7022 NORTH AVE                                                                           MIDDLETON         WI 53562‐2739
PAUL LATHAM       531 BELMONTE PARK N APT 301                                                              DAYTON            OH 45405‐4709
PAUL LATORRE      1222 PLAYER DR                                                                           TROY              MI 48085‐3370
PAUL LAUBHAN      1922 WHITMORE AVE NW                                                                     WALKER            MI 49534‐2355
PAUL LAUGHLIN     1645 SHANE DR                                                                            IMPERIAL          MO 63052‐4031
PAUL LAURSEN      38530 N HILLTOP AVE                                                                      ANTIOCH            IL 60002‐9722
PAUL LAUZON       94 BIRCHWOOD DR APT E                                                                    BRISTOL           CT 06010‐2877
PAUL LAVACS       165 CHAMBERLAIN AVE                                                                      ROSCOMMON         MI 48653‐8310
PAUL LAVOIE       216 BURRINGTON ST                                                                        WOONSOCKET         RI 02895‐6636
PAUL LAWRENCE     15139 HANFOR AVE                                                                         ALLEN PARK        MI 48101‐3011
PAUL LAWSON       PO BOX 384                                                                               BARNHART          MO 63012‐0384
PAUL LAWSON       1728 MABEL AVE                                                                           FLINT             MI 48506‐3365
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Name                       Address1                           Address2                   Address3          Address4                City              State Zip
PAUL LAYMAN                5179 S 1000 W                                                                                           SWAYZEE            IN 46986‐9604
PAUL LAZZERI               2690 GOODRICH RD                                                                                        OTTER LAKE         MI 48464‐9420
PAUL LE COMPT              54 PRIMROSE LANE                                                                                        WILLINGBORO        NJ 08046‐2750
PAUL LE HOUX               5482 SHAMROCK LN                                                                                        FLINT              MI 48506‐2261
PAUL LEACH                 236 W PARK AVE                                                                                          HUBBARD            OH 44425‐1526
PAUL LEADER                6118 CORWIN AVE                                                                                         NEWFANE            NY 14108‐1119
PAUL LEAVITT               26198 WOODRIDGE DR                                                                                      WARRENTON          MO 63383‐6526
PAUL LEBLANC               12802 WICKER DR                                                                                         LA MIRADA          CA 90638‐2151
PAUL LEBLANC               9452 OWEN ST                                                                                            GROSSE ILE         MI 48138‐1014
PAUL LEBLOND
PAUL LECLAIR               743 EAST ST                                                                                             DEDHAM            MA   02026‐3037
PAUL LECLAIRE              9206 DAVISON RD                                                                                         DAVISON           MI   48423‐1042
PAUL LEDDICK               12994 CROFTSHIRE CT                                                                                     GRAND BLANC       MI   48439‐1542
PAUL LEE                   11140 LAPEER RD                                                                                         DAVISON           MI   48423‐8118
PAUL LEE                   4402 BERWICK AVE                                                                                        TOLEDO            OH   43612‐1506
PAUL LEE                   3023 W MORRIS ST TRLR 42                                                                                INDIANAPOLIS      IN   46241‐2744
PAUL LEE                   3801 LEITH ST                                                                                           FLINT             MI   48506‐3104
PAUL LEE & ASSOCIATES      ATTN: PAUL LEE                     20 MAITLAND ST                               TORONTO ONTARIO M4Y
                                                                                                           1C5
PAUL LEE JR                3271 LEHMAN ST                                                                                          HAMTRAMCK         MI   48212‐3583
PAUL LEEVER                10351 S STATE ROAD 9                                                                                    PENDLETON         IN   46064‐9572
PAUL LEFFINGWELL           313 AINSWORTH ST                                                                                        LINDEN            NJ   07036‐5037
PAUL LEHR                  5063 MARILYN DR                                                                                         FLINT             MI   48506‐1578
PAUL LEISTNER              252 KIRKWOOD DR                                                                                         WEST SENECA       NY   14224‐1874
PAUL LELLI                 1411 RIDGEVIEW CIR                                                                                      LAKE ORION        MI   48362‐3462
PAUL LEMAY                 257 BATES ROCK RD                                                                                       SOUTHBURY         CT   06488‐1228
PAUL LEMLEY                35120 STE ROUTE 54                 C/0 JIM'S RV                                                         ZEPHYRHILLS       FL   33541
PAUL LENGEL                12430 AGNES ST                                                                                          SOUTHGATE         MI   48195‐3501
PAUL LENHART               6164 THORNCLIFF DR                                                                                      SWARTZ CREEK      MI   48473‐8820
PAUL LENKER                9094 WOODRIDGE DR                                                                                       DAVISON           MI   48423‐8373
PAUL LENNARTZ              BESSENBACHER WEG 76C               D 63739 ASCHAFFENBURG
PAUL LENNARTZ              BESSENBACHER WEG 76C                                                            D‐63739 ASCHAFFENBURG
                                                                                                           GERMANY
PAUL LENNINGTON            5002 YOUNGSTOWN KINGSVILLE RD                                                                           CORTLAND          OH   44410‐9718
PAUL LENNON                403 MANSION ROAD                                                                                        WILMINGTON        DE   19804
PAUL LENNOX                9041 APPLE ORCHARD DR                                                                                   FENTON            MI   48430‐8907
PAUL LEON LAZANIS          NIX, PATTERSON & ROACH, LLP        GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                           DAINGERFIELD      TX   75638
PAUL LEONARD               4390 LONGFELLOW AVE                                                                                     DAYTON            OH   45424‐5949
PAUL LEONARD               1015 PARAGOULD DR                                                                                       JONESBORO         AR   72401‐8419
PAUL LEONARD               827 E DAVIS RD                                                                                          HOWELL            MI   48843‐7850
PAUL LEONARD               4390 LONGFELLOW                                                                                         DAYTON            OH   45424‐5949
PAUL LEONARD STEINBRUGGE   3033 WAYLAND AVE                                                                                        DAYTON            OH   45420‐2142
PAUL LESKIW                1660 LINCOLNSHIRE DR                                                                                    ROCHESTER HILLS   MI   48309‐4527
PAUL LESSIS                1433 PERSHING BLVD                                                                                      DAYTON            OH   45410‐3114
PAUL LESTER                PO BOX                                                                                                  REEDY             WV   25270
PAUL LETWEN                3120 HOAGLAND BLACKSTUB RD                                                                              CORTLAND          OH   44410‐9228
PAUL LEUCI                 6366 SHORE ACRES DR                                                                                     HILTON            NY   14468‐9120
PAUL LEVASSEUR             171 C E JONES DR                                                                                        WAYNESBORO        TN   38485‐4529
PAUL LEWIS                 3691 E RIVER RD                                                                                         OSCODA            MI   48750‐9000
PAUL LEWIS                 11571 WILLOW WOOD LANE                                                                                  PLYMOUTH          MI   48170‐3593
PAUL LEWIS                 4140 N CONNER DR                                                                                        MARION            IN   46952‐9305
PAUL LEWIS                 1747 RODMAN ST APT 210                                                                                  HOLLYWOOD         FL   33020‐6404
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Name                        Address1                          Address2                 Address3          Address4         City               State Zip
PAUL LEWIS                  17218 DICKENSON LN                                                                            FAIRPLAY            MD 21733‐1164
PAUL LEWIS                  3369 LEWIS SEIFERT RD                                                                         HUBBARD             OH 44425‐1034
PAUL LEWOC                  17 OAK ST                                                                                     MERIDEN             CT 06450‐5817
PAUL LIA                    16532 JESSICA DR                                                                              MACOMB              MI 48042‐2843
PAUL LIEBERMAN              43603 GERI DR                                                                                 CANTON              MI 48187‐4907
PAUL LIEBERMAN IN PRO PER   4102 WINTERSET LN                                                                             WEST BLOOMFIELD     MI 48323‐3157
PAUL LIERMAN                2612 E MARKLE RD                                                                              HUNTINGTON          IN 46750‐9387
PAUL LIGAS                  818 38TH ST                                                                                   NORTHERN CAMBRIA    PA 15714‐2009
PAUL LIGHT                  PO BOX 346                                                                                    MONTVILLE           OH 44064‐0346
PAUL LIGHT TRUST            MICHAEL MONATLIK TTEE             MICHAEL MONATLIK         19647 MAYALL ST                    NORTHRIDGE          CA 91324‐1017
PAUL LIGHTFOOT              12690 WARD ST                                                                                 DETROIT             MI 48227‐3568
PAUL LIGHTFOOT              653 BROOKSIDE AVE                                                                             GALION              OH 44833‐3105
PAUL LILLY                  PO BOX 1136                                                                                   CRAB ORCHARD        WV 25827‐1136
PAUL LINDENMUTH             9148 CABLE LINE RD                                                                            DIAMOND             OH 44412‐9797
PAUL LINDON                 1531 BARCHESTER ST                                                                            WESTLAND            MI 48186‐3798
PAUL LINDSEY                312 ANTIETAM DR                                                                               BOSSIER CITY        LA 71112‐4793
PAUL LINSENMAN              7936 CEDAR ST                                                                                 BEULAH              MI 49617‐9779
PAUL LINSMAYER              2075 HAMLET DR                                                                                KETTERING           OH 45440‐1624
PAUL LINTON JR              2883 N 125 W                                                                                  GREENFIELD          IN 46140‐8619
PAUL LIOTTA                 5476 SOUTH BLVD                                                                               MAPLE HEIGHTS       OH 44137‐3568
PAUL LIPINSKI               626 MIDLAND BLVD                                                                              ROYAL OAK           MI 48073‐2883
PAUL LIPKE                  4457 1ST ST                                                                                   WAYNE               MI 48184‐2178
PAUL LIPSITZ &              A JEANNE LIPSITZ                  22411 ANN'S CHOICE WAY                                      WARMINSTER          PA 18974
PAUL LLOYD                  23209 RANCH HILL DR E                                                                         SOUTHFIELD          MI 48033‐3184
PAUL LOBODZINSKI            1706 SE BOUTELL RD                                                                            ESSEXVILLE          MI 48732‐1576
PAUL LOCKE                  3439 S SADLIER DR                                                                             INDIANAPOLIS        IN 46239‐1221
PAUL LOEBER                 721 SILVERTHORN CT                                                                            BAREFOOT BAY        FL 32976‐7349
PAUL LOEWER                 759 FEATHER CT                                                                                SOUTH LYON          MI 48178‐1281
PAUL LOKUTA                 3625 MILDRED ST                                                                               WAYNE               MI 48184‐1908
PAUL LOMBARDO               48238 LAKE VALLEY DR                                                                          SHELBY TOWNSHIP     MI 48317‐2123
PAUL LONDECK                18211 DEVONSHIRE ST                                                                           BEVERLY HILLS       MI 48025‐4019
PAUL LONG                   PO BOX 116                                                                                    NEY                 OH 43549‐0116
PAUL LONGBRAKE              312 PARK MEADOWS DR                                                                           LANSING             MI 48917‐3413
PAUL LONGJOHN               9010 W "Q" AVE R2                                                                             MATTAWAN            MI 49071
PAUL LONGLOTT               3250 MAPLEWOOD AVE                                                                            LAMBERTVILLE        MI 48144‐9669
PAUL LOO                    8441 MAPLEVIEW DR                                                                             DAVISON             MI 48423‐7805
PAUL LOPEZ                  837 INYO AVE                                                                                  MODESTO             CA 95358‐6029
PAUL LOPEZ                  2350 ALPINE HEIGHTS WAY                                                                       ALPINE              CA 91901‐2862
PAUL LOPEZ JR               10305 N CENTRAL ST                                                                            KANSAS CITY         MO 64155‐3526
PAUL LORENC                 35 ACADEMY ST                                                                                 PISCATAWAY          NJ 08854‐2643
PAUL LOSO
PAUL LOTZ                   1714 MAGNOLIA AVE                                                                             LIBERTY            MO   64068‐9175
PAUL LOUDEN                 710 VERMILYA AVE                                                                              FLINT              MI   48507‐1725
PAUL LOUKES                 10115 GREENTREE DR                                                                            CLARKSTON          MI   48348‐1615
PAUL LOVE                   609 ELM ST                                                                                    KALAMAZOO          MI   49007‐3249
PAUL LOVE                   201 WALLACE RD                                                                                NORFOLK            NY   13667‐3277
PAUL LOWERY                 132 GIMBEL DR                                                                                 MANSFIELD          OH   44903‐9656
PAUL LOWMAN                 4440 DAY RD                                                                                   LOCKPORT           NY   14094‐9403
PAUL LOWRY                  4296 LAKE KNOLLS DR                                                                           OXFORD             MI   48371‐5416
PAUL LUBA                   290 W COLLEGE ST APTA7                                                                        CANONSBURG         PA   15317
PAUL LUCERO                 1451 NANA PLACE                                                                               MANTECA            CA   95336‐6423
PAUL LUCHETSKY              9 BANNER LN                                                                                   PALM COAST         FL   32137‐8845
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Name                                  Address1                            Address2                 Address3   Address4         City              State Zip
PAUL LUCHTEL                          1022 COBBLERS RD                                                                         WATERFORD          MI 48327‐3011
PAUL LUCUS                            2149 STEGMAN AVE                                                                         DAYTON             OH 45404‐2260
PAUL LUKAC                            524 SHORT ST                                                                             PORT CLINTON       OH 43452‐2048
PAUL LUKASAVITZ                       7184 POPPLEWOOD DR                                                                       DAVISON            MI 48423‐9545
PAUL LUKASIK                          3151 SMUGGLERS RIDGE DR                                                                  COMMERCE TWP       MI 48390‐1286
PAUL LUKATHER
PAUL LUKEFAHR                         2946 HIGHWAY K                                                                           PERRYVILLE        MO   63775‐8213
PAUL LUKSH                            232 LEE PARK AVE                                                                         HANOVER TWP       PA   18706
PAUL LUNA                             1840 FABULOUS TEXAN WAY                                                                  SEDONA            AZ   86336‐3909
PAUL LUND                             4060 ROSEMOUND AVE                                                                       WATERFORD         MI   48329‐4141
PAUL LUNDY                            6327 PHILLIPS RICE RD                                                                    CORTLAND          OH   44410‐9605
PAUL LUOMA                            3270 RIDGE RD                                                                            CORTLAND          OH   44410‐9420
PAUL LUTES                            10643 KAREN DR                                                                           INDIANAPOLIS      IN   46234‐9077
PAUL LUTTIG                           813 W CASS ST                                                                            SAINT JOHNS       MI   48879‐1720
PAUL LUTZ                             20 N ELM GROVE RD                                                                        LAPEER            MI   48446‐3534
PAUL LUTZ                             2639 CEVENNES TER                                                                        BEAVERCREEK       OH   45434‐6411
PAUL LUTZI                            5200 KING ARTHUR CIR                                                                     BALTIMORE         MD   21237‐4026
PAUL LUYBER                           47 W 5TH ST                                                                              FLORENCE          NJ   08518‐2311
PAUL LUZAR JR                         209 WESTFIELD AVE                                                                        DEFIANCE          OH   43512‐1435
PAUL LYES                             5052 BANTRY DR                                                                           WEST BLOOMFIELD   MI   48322‐1530
PAUL LYFORD                           72 CLEVELAND DR                                                                          KENMORE           NY   14223‐1026
PAUL LYNCH                            11625 STATE HIGHWAY K                                                                    PUXICO            MO   63960‐8109
PAUL LYNCH                            PO BOX 120                                                                               UNION LAKE        MI   48387‐0120
PAUL LYNCH                            449 W MILL ST                                                                            DANVILLE          IN   46122‐1649
PAUL LYONS                            7051 E HOLLY RD                                                                          HOLLY             MI   48442‐9786
PAUL M BACK                           6191 FORESTDALE AVENUE                                                                   DAYTON            OH   45427‐1812
PAUL M BROOKS                         9712 STALEY RD                                                                           FRANKLIN          OH   45005‐1134
PAUL M CALKINS                        8640 SPRING MILL RD                                                                      INDIANAPOLIS      IN   46260
PAUL M COLLIER                        BOX 559K ROUTE 2                                                                         PENNINGTON GAP    VA   24277‐9687
PAUL M COPELAND SR                    3060 OLD HERITAGE WAY                                                                    DAYTON            OH   45432‐2608
PAUL M CRAMBLIT                       3968 TIMBERLINE DR                                                                       DAYTON            OH   45432
PAUL M CRUM                           1337 OAKDALE                                                                             WARREN            OH   44485‐1975
PAUL M DALESANDRO                     7 TWIN OAK DR                                                                            ROCHESTER         NY   14606‐4405
PAUL M DAVENPORT & PAUL K             DRIVE 122 RIDGEDALE DR                                                                   WARNER ROBINS     GA   31088
DAVENPORT
PAUL M DAVIS                          44 HARTZELL AVE                                                                          NILES             OH   44446
PAUL M DELECKI                        3244 S BELSAY RD                                                                         BURTON            MI   48519‐1622
PAUL M EBLACKER                       67 HARVINGTON DR                                                                         ROCHESTER         NY   14617‐2323
PAUL M FEIGHTNER                      203 ALPINE DR                                                                            LAKE ZURICH       IL   60047
PAUL M FUMICH MD INC PROFIT SHARING   ATTN: WILLIAM M FUMICH JR TRUSTEE   24461 DETROIT RD #210                                WESTLAKE          OH   44145
PLAN
PAUL M HOFFMAN                        2020 KANSAS AVE                                                                          FLINT             MI   48506‐3714
PAUL M INGBER                         ACCT OF MARY A WINDHAM              3000 TOWN CTR STE 2390                               SOUTHFIELD        MI   48075‐1122
PAUL M INGBER                         ACCT OF AARON JONES                 3000 TOWN CTR STE 2390                               SOUTHFIELD        MI   48075‐1122
PAUL M INGBER                         ACT OF N L MOILANEN 97C02943        3000 TOWN CTR STE 2390                               SOUTHFIELD        MI   48075‐1122
PAUL M INGBER                         ACCT OF LEONARD E SNIPE             3000 TOWN CTR STE 2390                               SOUTHFIELD        MI   48075‐1122
PAUL M INGBER                         ACCT OF ANTHONY L THOMAS            3000 TOWN CTR STE 2390                               SOUTHFIELD        MI   48075‐1122
PAUL M INGBER                         ACCT OF MICHAEL ABNER               3000 TOWN CTR STE 2390                               SOUTHFIELD        MI   48075‐1122
PAUL M INGBER                         ACCT OF SAMUEL TESTER               3000 TOWN CTR STE 2390                               SOUTHFIELD        MI   48075‐1122
PAUL M INGBER                         ACCT OF JOSEPHINE ANDERSON          3000 TOWN CTR STE 2390                               SOUTHFIELD        MI   48075‐1122
PAUL M INGBER                         ACCT OF MARLENE WEAVER              3000 TOWN CTR STE 2390                               SOUTHFIELD        MI   48075‐1122
PAUL M INGBER                         ACCT OF EUGENE NWOSU                3000 TOWN CTR STE 2390                               SOUTHFIELD        MI   48075‐1122
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Name                          Address1                       Address2                    Address3   Address4         City             State Zip
PAUL M INGBER                 ACCT OF GRAYLIN ETHERLY        3000 TOWN CTR STE 2390                                  SOUTHFIELD        MI 48075‐1122
PAUL M INGBER                 ACCT OF A S JOHNSON            3000 TOWN CTR STE 2390                                  SOUTHFIELD        MI 48075‐1122
PAUL M INGBER                 ACCT OF L WILLIAM BOYER        3000 TOWN CTR STE 2390                                  SOUTHFIELD        MI 48075‐1122
PAUL M INGBER                 ACCT OF RICHARD WILKINS        3000 TOWN CTR STE 2390                                  SOUTHFIELD        MI 48075‐1122
PAUL M INGBER                 ACCT OF CAROLYN ANN LOVE       3000 TOWN CTR STE 2390                                  SOUTHFIELD        MI 48075‐1122
PAUL M INGBER                 ACCT OF JAMES J CHERNESKI      3000 TOWN CTR STE 2390                                  SOUTHFIELD        MI 48075‐1122
PAUL M INGBER                 ACCT OF RONALD PICKENS         3000 TOWN CTR STE 2390                                  SOUTHFIELD        MI 48075‐1122
PAUL M INGBER                 ACCT OF TOM MURPHY             3000 TOWN CTR STE 2390                                  SOUTHFIELD        MI 48075‐1122
PAUL M INGBER                 ACCT OF GLORIA P PRUETT        3000 TOWN CTR STE 2390                                  SOUTHFIELD        MI 48075‐1122
PAUL M INGER ACCT OF H T VU   3000 TOWN CTR STE 2390                                                                 SOUTHFIELD        MI 48075‐1122
98C02905GC
PAUL M JANICKE IRA            C/O PAUL M JANICKE             2409 MCCLENDON ST                                       HOUSTON          TX   77030
PAUL M JOLIVETTE              39 NORTHGATE DR                                                                        MONROE           LA   71201‐2214
PAUL M KIEFFER                114 PARKEDGE AVE                                                                       TONAWANDA        NY   14150‐7730
PAUL M KLACIK                 6131 KIRK ROAD                                                                         CANFIELD         OH   44406‐8615
PAUL M KLINE                  3217 BOOKER FARM RD                                                                    MOUNT PLEASANT   TN   38474‐3032
PAUL M LIERMAN                2612 E MARKLE RD                                                                       HUNTINGTON       IN   46750‐9387
PAUL M LINDENMUTH             9148 CABLE LINE RD                                                                     DIAMOND          OH   44412
PAUL M MANTEGNA               280 MCKINNEYTOWN RD                                                                    NORTH EAST       MD   21901‐5507
PAUL M MCBRIDE                382 PERKINSWOOD NE                                                                     WARREN           OH   44483‐4404
PAUL M MCCALL                 C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                               HOUSTON          TX   77007
                              BOUNDAS LLP
PAUL M MINTER                 3700 E 4TH STREET                                                                      DAYTON           OH   45403‐2832
PAUL M ROSS                   1180 W TOWNLINE 16 RD                                                                  PINCONNING       MI   48650
PAUL M SCHULTZ                913 N LINCOLN ST                                                                       BAY CITY         MI   48708‐6156
PAUL M SCHWARTZ               8209 BROOKINGTON DR                                                                    SHREVEPORT       LA   71107‐8604
PAUL M SCHWEITZER             8330 BLANK                                                                             PHILLIPSBURG     OH   45354
PAUL M TRIETLEY               208 DUNLOP AVE                                                                         TONAWANDA        NY   14150‐7840
PAUL M VERDUN                 PO BOX 1344                                                                            FLINT            MI   48501‐1344
PAUL M WALKER                 2352 SLACK RD                                                                          ST PARIS         OH   43072‐9621
PAUL M WILBUR                 160 N MARION ST                                                                        DAYTON           OH   45417‐2208
PAUL M WRISLEY                268 BURNT MILL RD                                                                      CHURCHVILLE      NY   14428‐9405
PAUL M YOAKAM                 803 EUGENE ST                                                                          YPSILANTI        MI   48198‐6168
PAUL M YOUNG                  10320 LAKEPOINTE ST                                                                    DETROIT          MI   48224‐2407
PAUL MAAG                     14120 W GRAND RIVER HWY                                                                EAGLE            MI   48822‐9612
PAUL MAAS                     592 SUNRISE DR                                                                         CLARKSTON        MI   48348‐1495
PAUL MACE                     302 VAUGHT ST                                                                          SOMERSET         KY   42501‐1970
PAUL MACHER                   5326 TAMWORTH ST                                                                       PORTAGE          MI   49024‐5536
PAUL MACHLOWSKI               50 WILLIAMSTOWNE CT APT 1                                                              CHEEKTOWAGA      NY   14227‐2040
PAUL MACIAG                   12360 NW 82ND CT                                                                       CHIEFLAND        FL   32626‐7999
PAUL MACKLIN                  842 GRADY AVE NW                                                                       WARREN           OH   44483‐2127
PAUL MADARA                   6195 S 800 W                                                                           PENDLETON        IN   46064‐9783
PAUL MADDOCK                  3091 DELAND RD                                                                         WATERFORD        MI   48329‐3425
PAUL MADEJEK                  6 WILTSE CT                                                                            SAGINAW          MI   48603‐3270
PAUL MAESER                   C/O BRAYTON PURCELL            222 RUSH LANDING RD                                     NOVATO           CA   94948‐6169
PAUL MAGER                    3406 MCKINLEY PKWY APT C‐11                                                            BLASDELL         NY   14219
PAUL MAGGARD                  786 MILLER STATION RD                                                                  CARLISLE         KY   40311‐9685
PAUL MAGGARD                  1111 N ELM ST                                                                          FAIRMOUNT        IN   46928‐1136
PAUL MAGNAN                   7212 BLUEBILL ST                                                                       CLAY             MI   48001‐4104
PAUL MAGURAN                  114 SHERRFIELD DR APT V7                                                               SAGINAW          MI   48638‐6449
PAUL MAHAFFIE                 609 W OAK ST                                                                           OLATHE           KS   66061‐4327
PAUL MAHAFFY                  1315 PARADISE DR                                                                       THE VILLAGES     FL   32159‐2334
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Name              Address1                          Address2                        Address3   Address4             City               State Zip
PAUL MAHLER       1206 GOLDENROD DR                                                                                 GALION              OH 44833‐2361
PAUL MAILHOT      3016 SHIRLEY DR                                                                                   NEWBURY PARK        CA 91320‐3041
PAUL MAINS        7024 FAR HILLS AVE                                                                                CENTERVILLE         OH 45459‐4204
PAUL MAJCHRZAK    APT 5                             910 CENTER AVENUE                                               BAY CITY            MI 48708‐5121
PAUL MAJZNERSKI   1678 CASS AVE                                                                                     BAY CITY            MI 48708‐8187
PAUL MAKELA MD    ATTN: PAUL MAKELA                 3011 W GRAND BLVD # 550                                         DETROIT             MI 48202‐3043
PAUL MALESZYK     8929 HAYMARKET ST                                                                                 WHITE LAKE          MI 48386‐3393
PAUL MALEY        709 AMBERWOOD CT                                                                                  TROY                MI 48085‐1608
PAUL MALICOAT     1209 N CANAL ST                                                                                   ALEXANDRIA          IN 46001‐1107
PAUL MALKIEWICZ   183 ARNOLD ST                                                                                     HOLBROOK            NY 11741‐4601
PAUL MALLY        9422 HUNGERFORD LAKE DR                                                                           BIG RAPIDS          MI 49307‐9151
PAUL MALM         THE FERRARO LAW FIRM P A          4000 PONCE DE LEON BLVD SUITE                                   MIAMI               FL 33146
                                                    700
PAUL MALONE       4124 GREENFIELD DR                                                                                ANDERSON           IN   46013‐5031
PAUL MALONE       3900 LUKENS RD                                                                                    GROVE CITY         OH   43123‐8806
PAUL MALOTT       49 MEADOWBROOK BLVD                                                                               LEBANON            OH   45036‐9744
PAUL MANCHESTER   3515 RANDALL RD                                                                                   RANSOMVILLE        NY   14131‐9679
PAUL MANGIONE     47 SPICEWOOD LN                                                                                   ROCHESTER          NY   14624‐3749
PAUL MANN         1202 OAKLEIGH VALLEY DR                                                                           POWDER SPRINGS     GA   30127
PAUL MANN         15455 COUNTY RD 10‐3                                                                              LYONS              OH   43533
PAUL MANSFIELD    7738 MILL RUN RD                                                                                  FORT WAYNE         IN   46819‐1869
PAUL MANTEGNA     280 MCKINNEYTOWN RD                                                                               NORTH EAST         MD   21901‐5507
PAUL MANVILLE     2725 MOHAWK TRCE                  C/O MARGARET MANVILLE                                           INTERLOCHEN        MI   49643‐9289
PAUL MANYCH       1148 W KURTZ AVE                                                                                  FLINT              MI   48505‐1206
PAUL MARANIAN     3092 GRANGE RD                                                                                    TRENTON            MI   48183‐3470
PAUL MARCELLA
PAUL MARCOUX      534 N 5TH ST                                                                                      SAINT CLAIR        MI   48079‐4824
PAUL MARGARITIS   7015 EUCLID AVE                                                                                   CINCINNATI         OH   45243
PAUL MARIETTA     227 BROOK ST                                                                                      EATON RAPIDS       MI   48827‐1109
PAUL MARION       3872 S LAUREL CT                                                                                  BLOOMINGTON        IN   47401‐9625
PAUL MARISSA      4194 VERA CT                                                                                      STERLING HEIGHTS   MI   48310‐6300
PAUL MARKELL      1105 MEADOWLAWN DR                                                                                PONTIAC            MI   48340‐1733
PAUL MARKHAM      7844 JONAGOLD DR SE                                                                               GRAND RAPIDS       MI   49508‐7605
PAUL MARKLE       7531 THOMAS                                                                                       SHELBY TOWNSHIP    MI   48317‐6351
PAUL MARKO        315 HOMECREST DR                                                                                  EGGERTSVILLE       NY   14226‐1215
PAUL MARQUIS      26585 RIDGETRAIL DRIVE                                                                            WARRENTON          MO   63383‐6534
PAUL MARR         3 C ST                                                                                            LAKE LOTAWANA      MO   64086‐9727
PAUL MARRONE      280 DIVINITY ST # 6                                                                               BRISTOL            CT   06010‐6017
PAUL MARSH        117 OLD NICHOLS CIR                                                                               AUBURNDALE         FL   33823‐9276
PAUL MARSH        11285 LAKELAND CIRCLE                                                                             FORT MYERS         FL   33913‐6923
PAUL MARSHALL     10288 ATCHISON RD                                                                                 CENTERVILLE        OH   45458‐9212
PAUL MARTIN       30064 TRAIL CREEK DR                                                                              NEW BOSTON         MI   48164‐7803
PAUL MARTIN       3644 BRUNSWICK AVE                                                           RIDGEWAY ON L0S1N0
                                                                                               CANADA
PAUL MARTIN       10860 WYSCARVER RD                                                                                CINCINNATI         OH   45241‐3064
PAUL MARTIN       3021 MURPHY LAKE RD                                                                               MILLINGTON         MI   48746‐9621
PAUL MARTIN       PO BOX 166                        108 W MAIN STREET                                               VERNON             MI   48476‐0166
PAUL MARTIN       3956 W STATE ROAD 128                                                                             FRANKTON           IN   46044‐9305
PAUL MARTIN       1301 W 32ND ST                                                                                    INDIANAPOLIS       IN   46208‐4538
PAUL MARTIN       20275 STARR KING DR                                                                               SOULSBYVILLE       CA   95372‐9601
PAUL MARTIN       1803 N VERMONT AVE                                                                                ROYAL OAK          MI   48073‐1922
PAUL MARTIN       2693 ZEHRING RD.                                                                                  FARMERSVILLE       OH   45325‐9287
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Name                                  Address1                          Address2                  Address3   Address4         City            State Zip
PAUL MARTINEZ                         PO BOX 642                                                                              SEIAD VALLEY     CA 96086‐0642
PAUL MARTINEZ                         1905 BURLINGTON CIR                                                                     COLUMBIA         TN 38401‐6809
PAUL MARTINI                          1051 N MCKINLEY RD                                                                      FLUSHING         MI 48433‐9450
PAUL MARTON                           6203 NELWOOD RD                                                                         CLEVELAND        OH 44130‐2333
PAUL MARTZ                            2153 WINDSOR RD                                                                         MANSFIELD        OH 44905‐1762
PAUL MASICH                           39 HYLAND AVE                                                                           N TONAWANDA      NY 14120‐4611
PAUL MASKER                           548 FRANCONIAN DR E                                                                     FRANKENMUTH      MI 48734‐1004
PAUL MASSE CHEVROLET SOUTH, INC.      399 MAIN ST                                                                             WAKEFIELD         RI 02879‐7403
PAUL MASSE CHEVROLET SOUTH, INC.      PAUL MASSE                        399 MAIN ST                                           WAKEFIELD         RI 02879‐7403
PAUL MASSE CHEVROLET‐GEO INC          PAUL MASSE                        1111 TAUNTON AVE RTE 44                               E PROVIDENCE      RI 02914
PAUL MASSE CHEVROLET‐GEO, INC.        PAUL MASSE                        1111 TAUNTON AVE RTE 44                               E PROVIDENCE      RI 02914
PAUL MASSE CHEVROLET‐GEO, INC.        1111 TAUNTON AVE RTE 44                                                                 E PROVIDENCE      RI 02914
PAUL MASSE PONTIAC CADILLAC GM        55 FORTIN DR                                                                            WOONSOCKET        RI 02895‐6116
PAUL MASSE PONTIAC‐BUICK‐CADILLAC‐G   55 FORTIN DR                                                                            WOONSOCKET        RI 02895‐6116

PAUL MASSE PONTIAC‐BUICK‐CADILLAC‐    55 FORTIN DR                                                                            WOONSOCKET       RI   02895‐6116
GMC TRUCK, INC.
PAUL MASSE PONTIAC‐BUICK‐CADILLAC‐    PAUL MASSE                        55 FORTIN DR                                          WOONSOCKET       RI   02895‐6116
GMC TRUCK, INC.
PAUL MASTERS                          9343 NEFF RD                                                                            CLIO            MI    48420‐1660
PAUL MASTOS                           6283 RAPIDFALL DR NE                                                                    BELMONT         MI    49306‐9751
PAUL MATHERLY                         1612 MOCKINGBIRD LN                                                                     ANDERSON        IN    46013‐9644
PAUL MATHEWS                          1542 POPE RD                                                                            IVANHOE         VA    24350‐3617
PAUL MATHIS                           8271 WEST V‐W AVENUE                                                                    SCHOOLCRAFT     MI    49087
PAUL MATHIS                           42416 BROWNSTONE DR                                                                     NOVI            MI    48377‐2885
PAUL MATHIS                           2204 FAIRPORT AVE                                                                       DAYTON          OH    45406‐2536
PAUL MATNEY                           8375 DODGE RD                                                                           MONTROSE        MI    48457‐9133
PAUL MATRANGA SR.                     147 BRIAN DR                                                                            EPHRATA         PA    17522‐9416
PAUL MATSOS                           26 KINTORE CT                                                                           BALTIMORE       MD    21234‐3456
PAUL MATTES                           RR 4 BOX 541                                                                            KEYSER          WV    26726‐9442
PAUL MATTHEW JR                       6286 193RD PL                                                                           LIVE OAK        FL    32060‐7851
PAUL MATTHEWS                         2957 BELDING RD                                                                         ORLEANS         MI    48865‐9732
PAUL MATTHEWS                         1212 IVYWOOD CT                                                                         NEW CASTLE      IN    47362‐1660
PAUL MATTHIEU                         7538 RANGELINE RD R 1                                                                   UNION           OH    45322
PAUL MATTIS                           3655 EDGEMONT DR                                                                        TROY            MI    48084‐1447
PAUL MATUREN                          1370 JOSEPH ST                                                                          SAGINAW         MI    48638‐6531
PAUL MATUSKA                          128 WOODLAND ST                                                                         TRENTON         NJ    08611‐1450
PAUL MATYSIAK                         4748 SPRINGWOOD DR                                                                      BROOKLYN        OH    44144‐3141
PAUL MAUL                             7306 MILLER RD                                                                          SWARTZ CREEK    MI    48473‐1557
PAUL MAUNUS JR                        925 S MICHIGAN RD                                                                       EATON RAPIDS    MI    48827‐8242
PAUL MAUTHE                           25 DOLPHIN DR                                                                           NEWARK          DE    19702‐4768
PAUL MAXWELL                          6740 E 275 N                                                                            LEBANON         IN    46052‐9287
PAUL MAXWELL                          411 SANTA CLARA CIR                                                                     LADY LAKE       FL    32159‐8614
PAUL MAXWELL                          5850 CHICKADEE LN                                                                       CLARKSTON       MI    48346‐2909
PAUL MAYER                            6061 GODFREY RD                                                                         BURT            NY    14028‐9722
PAUL MAYES                            531 WINNARD DR                                                                          COLUMBUS        OH    43213‐6303
PAUL MAYFIELD                         2821 RETREAD RD                                                                         PAHRUMP         NV    89048‐2838
PAUL MAYNARD                          6225 HOLLOW LN                                                                          MEDINA          OH    44256‐7867
PAUL MAYS                             722 LAKE RIDGE RD                                                                       ROCHESTER HLS   MI    48307‐4497
PAUL MAYWORM                          290 REDMAPLE LN                                                                         BRIGHTON        MI    48116‐2313
PAUL MAYZES                           PO BOX 276                                                                              IRONS           MI    49644‐0276
PAUL MAZGAJEWSKI                      15 SANDRA DR                                                                            CHEEKTOWAGA     NY    14225‐2333
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Name              Address1                        Address2                     Address3   Address4         City             State Zip
PAUL MAZUREK      7633 CHASE RD                                                                            DEARBORN          MI 48126‐1001
PAUL MC BROOM     2475 W PECOS RD APT 1046                                                                 CHANDLER          AZ 85224‐4811
PAUL MC CARTHY    6132 MCMILLAN ST                                                                         DETROIT           MI 48209‐1633
PAUL MC CLOUD     5400 GERTRUDE ST                                                                         DEARBORN HTS      MI 48125‐2810
PAUL MC COMB      2328 UTLEY RD                                                                            FLINT             MI 48532‐4900
PAUL MC CONNELL   1740 DUMONT DR                                                                           MINERAL RIDGE     OH 44440‐9508
PAUL MC DOWELL    6619 NW SIOUX DR                                                                         KANSAS CITY       MO 64152‐1291
PAUL MC FARLAND   14326 MARSHALL RD                                                                        MONTROSE          MI 48457‐9717
PAUL MC GILL      8490 W POLK RD                                                                           SUMNER            MI 48889‐9754
PAUL MC KINNEY    2894 PETTIS AVE NE                                                                       ADA               MI 49301‐9289
PAUL MC LENIGAN   19 DUTCHMILL DR                                                                          WILLIAMSVILLE     NY 14221‐1747
PAUL MC VICAR     481 SERENITY CT                                                                          TROY              MI 48098‐1776
PAUL MCALLISTER   5365 SAMPSON DR                                                                          GIRARD            OH 44420‐3504
PAUL MCBRIDE      382 PERKINSWOOD BLVD NE                                                                  WARREN            OH 44483‐4404
PAUL MCBRIDE      3311 S KEARSLEY BLVD                                                                     FLINT             MI 48506‐2044
PAUL MCCABE       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH 44236
PAUL MCCARTHY     4333 E LAKE RD                                                                           WILSON            NY 14172‐9753
PAUL MCCARTY      5376 CREEK RD                                                                            HANCOCK           MD 21750‐1806
PAUL MCCARTY
PAUL MCCLAINE     6355 PEACHWOOD TRL                                                                       SAINT LOUIS      MO   63129‐4610
PAUL MCCLAY JR    307 E 5TH ST                                                                             SHERIDAN         IN   46069‐1321
PAUL MCCLOSKEY    6899 HAZELDELL DR                                                                        TEMPERANCE       MI   48182‐1224
PAUL MCCLOUD      309 E UNION ST                                                                           LIBERTY          IN   47353‐1212
PAUL MCCLOUD      101 FOUNTAIN CV                                                                          LEESBURG         FL   34748‐8638
PAUL MCCLURE      5502 LIGUSTRUM LOOP                                                                      OVIEDO           FL   32765
PAUL MCCORD       268 FRIENDSHIP CT                                                                        ANDERSON         IN   46013‐1047
PAUL MCCORD       9212 E SWEETWATER DR                                                                     INVERNESS        FL   34450‐7378
PAUL MCCORMACK    5944 MEREDITH ST                                                                         PORTAGE          MI   49002‐2242
PAUL MCCORMICK    2328 LINCOLN AVE                                                                         PARMA            OH   44134‐1523
PAUL MCCORMICK    8535 S 500 E                                                                             JONESBORO        IN   46938‐9620
PAUL MCCOWAN      4657 S SELBY ST                                                                          MARION           IN   46953‐5330
PAUL MCCOWN       182 CHARLIE SHAW RD                                                                      LEWISBURG        TN   37091‐4902
PAUL MCCOY        2875 LIBERTY RD                                                                          NEW CARLISLE     OH   45344‐8511
PAUL MCCOY JR     9081 STILLWATER TRL                                                                      FORT WORTH       TX   76118‐7392
PAUL MCCUMBER     2226 W GLENMOOR LN                                                                       JANESVILLE       WI   53545‐9640
PAUL MCCURLEY     411 COLEMAN HILL RD                                                                      ROCKVALE         TN   37153‐4404
PAUL MCDANIEL     PO BOX 14285                                                                             LANSING          MI   48901‐4285
PAUL MCDANIELS    3913 ANNALANE DR                                                                         NORMAN           OK   73072‐2244
PAUL MCDONALD     5 COBB LN                                                                                DEDHAM           MA   02026‐2120
PAUL MCDONALD     13450 DECHANT RD                                                                         FARMERSVILLE     OH   45325‐9292
PAUL MCFADDEN
PAUL MCFALL       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS   OH   44236
PAUL MCFARLAND    2797 8 MILE RD                                                                           AUBURN           MI   48611‐9736
PAUL MCFARLAND    9736 HEMPHILL DR                                                                         FORT WAYNE       IN   46819‐2621
PAUL MCGINNIS     1408 FERDINAND ST                                                                        DETROIT          MI   48209‐2410
PAUL MCGRAW JR    3PT 630777 8 6 99 SOVA                                                                   CINCINNATI       OH   45263
PAUL MCGUCKIN     1019 E HAYES AVE                                                                         HAZEL PARK       MI   48030‐2652
PAUL MCHANEY JR   261 NORTH FRANKLIN AVENUE                                                                HENDERSON        TN   38340‐1400
PAUL MCINTOSH     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH   44236
PAUL MCKAY        G3158 CARR ST                                                                            FLINT            MI   48506
PAUL MCKAY        1930 WATSON CIR                                                                          ROCHESTER        MI   48306‐4806
PAUL MCKEE        2618 CASON CT                                                                            MURFREESBORO     TN   37128‐6709
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Name                              Address1                         Address2                     Address3   Address4         City               State Zip
PAUL MCKEE                        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
PAUL MCKEEHAN                     10625 ROBINDALE DR                                                                        CINCINNATI          OH 45241‐3023
PAUL MCKIMMY                      9660 STATE RT. #7 N.E.BOX 64                                                              KINSMAN             OH 44428
PAUL MCKINNEY                     3515 FLORETTA ST                                                                          CLARKSTON           MI 48346‐4017
PAUL MCLAIN                       605 N BRADNER AVE                                                                         MARION              IN 46952‐2446
PAUL MCLAUGHLIN                   176 PINE LAKES DR W                                                                       LAPEER              MI 48446‐4502
PAUL MCLEAN                       65780 NORTH AVE                                                                           RAY                 MI 48096‐2117
PAUL MCLEOD                       2881 VICTORIA LN                                                                          CHARLOTTE           MI 48813‐8552
PAUL MCMILLEN                     1501 HAZEL AVE                                                                            LIMA                OH 45805‐1919
PAUL MCMULLEN                     362 PONDEROSA DR                                                                          WIRTZ               VA 24184‐4433
PAUL MCMURRAY JR                  600 E 900 S                                                                               FAIRMOUNT           IN 46928‐9384
PAUL MCNAIR                       6510 ALLISON DR                                                                           FLINT               MI 48504‐1643
PAUL MCNAIR                       13040 BRADFORD LN                                                                         PLAINFIELD           IL 60585‐2105
PAUL MCNOUGHER                    PO BOX 9022                      ATTN: GLATTBRUGG (ZURICH)                                WARREN              MI 48090‐9022
PAUL MCQUIRTER                    1265 CREEK POINTE DR                                                                      ROCHESTER           MI 48307‐1726
PAUL MD                           18370 BURBANK BLVD STE 614                                                                TARZANA             CA 91356‐2832
PAUL MEADE                        11823 RIDGEWAY DR                                                                         MONROVIA            MD 21770‐9450
PAUL MEDLEY                       5225 SPRINGVIEW CIR                                                                       TROTWOOD            OH 45426‐2356
PAUL MEERNIK                      26061 DOW                                                                                 REDFORD             MI 48239‐3211
PAUL MEERS                        1531 BOONE CT                                                                             SAINT CHARLES       MO 63303‐3929
PAUL MEFFERD                      603 SHERRY DR                                                                             COLUMBIA            TN 38401‐6118
PAUL MEGYESI                      1503 MORAN AVE                                                                            LINCOLN PARK        MI 48146‐3851
PAUL MEIER                        3017 E 300 N                                                                              ANDERSON            IN 46012‐9783
PAUL MEJAK                        2776 CREEKRIDGE DR                                                                        EAST AURORA         NY 14052‐9502
PAUL MELCHER                      2263 FOREST TRAIL DR                                                                      TROY                MI 48085‐3607
PAUL MELHUISH                     PO BOX 42284                                                                              BROOK PARK          OH 44142‐0284
PAUL MELLAND                      26530 TRUMBLE RD                                                                          SUN CITY            CA 92585‐9239
PAUL MELLOTT                      13266 W PINE LAKE RD                                                                      SALEM               OH 44460‐9120
PAUL MENARD                       33 RUGGLES ST                                                                             FRANKLIN            MA 02038‐1744
PAUL MENARD                       6550 TONAWANDA CREEK RD                                                                   LOCKPORT            NY 14094‐7955
PAUL MENCHEN                      2529 MINTON RD                                                                            HAMILTON            OH 45013‐4335
PAUL MENIFEE                      3230 BROOKWOOD                                                                            MONTGOMERY          AL 36116‐3012
PAUL MENKE                        1728 CAXTON LN                                                                            TOLEDO              OH 43613‐2314
PAUL MENTUS                       63 NORY LN                                                                                ROCHESTER           NY 14606‐3505
PAUL MERCIECA                     13185 S WRIGHT RD                                                                         EAGLE               MI 48822‐9712
PAUL MEREDITH                     266 BULLFINCH RD                                                                          MOORESVILLE         NC 28117‐5407
PAUL MERLE (ESTATE OF) (629820)   STE 163W                         1 RICHMOND SQUARE                                        PROVIDENCE           RI 02906‐5172
PAUL MERLOTTI                     4708 KINGBIRD LN                                                                          SAINT LOUIS         MO 63128‐2313
PAUL MERRILL JR                   4144 ROYALTON RD                                                                          BRECKSVILLE         OH 44141‐2574
PAUL MERROW                       9285 LAHRING RD                                                                           GAINES              MI 48436‐9746
PAUL MERTZMAN                     2811 ARGELLA AVE                                                                          DAYTON              OH 45410‐3106
PAUL MESHYOCK                     PO BOX 275                                                                                THOMPSONTOWN        PA 17094‐0275
PAUL MESSINA                      4194 FIELDBROOK RD                                                                        WEST BLOOMFIELD     MI 48323‐3204
PAUL MESSING                      14529 ELROND DR                                                                           STERLING HEIGHTS    MI 48313‐5622
PAUL MESZAROS                     2657 HAVENWOOD DR                                                                         WHITE LAKE          MI 48383‐3915
PAUL METCALF                      2143 MONACO ST                                                                            FLINT               MI 48532‐4423
PAUL METEVIER                     4101 S SHERIDAN RD LOT 568                                                                LENNON              MI 48449‐9431
PAUL METEYER                      31398 TWIN OAKS DR                                                                        CHESTERFIELD        MI 48047‐3072
PAUL METTS                        3539 W 69TH ST                                                                            CLEVELAND           OH 44102‐5419
PAUL METZENDORF                   8630 CARRIAGE HILL DR NE                                                                  WARREN              OH 44484‐1662
PAUL MEYER                        148 BEAVER CREEK RD                                                                       LACHINE             MI 49753‐9400
PAUL MEYER                        2008 SUNSET DR. D‐2                                                                       ZAPATA              TX 78076
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Name                    Address1                         Address2                       Address3   Address4            City              State Zip
PAUL MEYER              13509 INDIAN BOW CIR                                                                           GARFIELD           AR 72732‐9654
PAUL MEYER              821 COLUMBIA DR                                                                                JANESVILLE         WI 53546‐1723
PAUL MEYER              1487 N LEXINGTON RD                                                                            MARION             IN 46952‐9350
PAUL MEYERS             C/O COONEY AND CONWAY            120 NORTH LASALLE 30TH FLOOR                                  CHICAGO             IL 60602
PAUL MEZERA             3312 THORNTON DR                                                                               JANESVILLE         WI 53548‐9186
PAUL MIAL               2201 E 70TH PL APT 1                                                                           CHICAGO             IL 60649
PAUL MICHAEL            5741 WATERFORD PL                                                                              TOLEDO             OH 43623‐1567
PAUL MICHAEL            2840 WOLCOTT ST                                                                                FLINT              MI 48504‐7514
PAUL MICHAEL            PAUL, MICHAEL                    9495 JOSLY STREET                                             BEAUMONT           TX 77707
PAUL MICHAEL KAUFMANN   IN DEN BURGG─RTEN 20                                                       72622 N▄RTINGEN
                                                                                                   GERMANY
PAUL MICHAEL OWENS
PAUL MICHAELIS          EIFELSTRASSE 12                                                                                KOELN
PAUL MICHALAK           PO BOX 83                                                                                      MACKINAW CITY     MI   49701‐0083
PAUL MICHALEC           1120 GEORGE ST                                                                                 OWOSSO            MI   48867‐4118
PAUL MICHALSKI          439 DEER WATCH CIR                                                                             LONGS             SC   29568‐8921
PAUL MICHALSKI          2140 ANDERSON RD                                                                               SAGINAW           MI   48603‐7807
PAUL MICHELLE           PAUL, MICHELLE                   2734 ROSARITA ST                                              SAN BERNANDINO    CA   92407
PAUL MIDDLETON          1800 DELWOOD AVE SW                                                                            WYOMING           MI   49509‐1337
PAUL MIERKIEWICZ        30 MCCURLEY DR                                                                                 NEW FREEDOM       PA   17349‐9489
PAUL MIERKIEWICZ        2933 CRAIGSTON LN                                                                              ABINGDON          MD   21009‐1826
PAUL MIGLIOZZI          1103 RIPLEY AVE                                                                                WESTFIELD         NJ   07090‐1663
PAUL MIKASHUS           14918 S HAWTHORN CIR                                                                           PLAINFIELD        IL   60544‐2106
PAUL MIKKELSEN          901 BROAD STREET                                                                               FLORENCE          NJ   08518‐2813
PAUL MIKKOLA            99 POWDER HILL RD                                                                              BEDFORD           NH   03110‐4845
PAUL MIKOLEIT           35 LA FLECHA LN                                                                                SANTA BARBARA     CA   93105‐2529
PAUL MILCIK             525 SOPHEE LN                                                                                  LAKEWOOD          NJ   08701‐6245
PAUL MILES              3805 EGBERT RD                                                                                 MARTINSVILLE      IN   46151‐8477
PAUL MILES JR           3733 PALISADES BLVD                                                                            YPSILANTI         MI   48197‐7502
PAUL MILKA              4146 LAPEER ST                                                                                 COLUMBIAVILLE     MI   48421‐9348
PAUL MILLARD            5190 THOMAS RD                                                                                 METAMORA          MI   48455‐9381
PAUL MILLER             2615 OAK HILL RD                                                                               ALVARADO          TX   76009‐7168
PAUL MILLER             PO BOX 515                                                                                     KALIDA            OH   45853‐0515
PAUL MILLER             4038 N BERKEY SOUTHERN RD                                                                      BERKEY            OH   43504‐9619
PAUL MILLER             5438 FOREST RIDGE CIR                                                                          MILFORD           OH   45150‐2821
PAUL MILLER             4109 E EPLER AVE                                                                               INDIANAPOLIS      IN   46237‐2422
PAUL MILLER             695 GALA RD                                                                                    INWOOD            WV   25428‐4199
PAUL MILLER             310 LARSON RD                                                                                  ATTICA            MI   48412‐9691
PAUL MILLER             698 S 400 E                                                                                    KOKOMO            IN   46902‐9321
PAUL MILLER             8071 ELLIS CREEK DR                                                                            CLARKSTON         MI   48348‐2617
PAUL MILLER             3117 N DEXTER ST                                                                               FLINT             MI   48506‐2668
PAUL MILLER             PO BOX 96                                                                                      DRUMMOND ISLAND   MI   49726‐0096
PAUL MILLER             3631 LAKEVIEW DR                                                                               HIGHLAND          MI   48356‐2379
PAUL MILLER             2835 S 103RD ST                                                                                WEST ALLIS        WI   53227‐3217
PAUL MILLER             47220 LAUREN CT                                                                                BELLEVILLE        MI   48111‐4295
PAUL MILLER             44 SADDLE CREEK DR                                                                             ATTICA            MI   48412‐9103
PAUL MILLER             5280 MAGNOLIA DR                                                                               GRAND BLANC       MI   48439‐8664
PAUL MILLER             PO BOX 9022                      C/O KOREA                                                     WARREN            MI   48090‐9022
PAUL MILLER             BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                    BOSTON HEIGHTS    OH   44236
PAUL MILLER             C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST               22ND FL                        BALTIMORE         MD   21201
                        ANGELOS
PAUL MILLER             43 HILLSIDE DR                                                                                 PONTIAC           MI 48342‐1124
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Name                                Address1                         Address2                     Address3   Address4         City            State Zip
PAUL MILLER JR                      103 OSAGE LN                                                                              LOUDON           TN 37774‐3240
PAUL MILLER PERFORMANCE CARS OF     179 US HIGHWAY 46                                                                         PARSIPPANY       NJ 07054‐2345
EDISON LLC
PAUL MILLER SR                      4220 BREEZEWOOD AVE                                                                       DAYTON          OH   45406‐1312
PAUL MILLS                          233 SYCAMORE ST                                                                           CHESTERFIELD    IN   46017‐1551
PAUL MILLS                          1035 HEATHWOOD WEST DRIVE                                                                 COOKEVILLE      TN   38506‐6633
PAUL MILONE                         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS      OH   44236
PAUL MINARIK                        4264 S. GROVE, R#2                                                                        SAINT JOHNS     MI   48879
PAUL MINICK                         157 CADMAN DR                                                                             WILLIAMSVILLE   NY   14221‐6963
PAUL MINKEY                         13606 HAMMERHILL WAY                                                                      FORT WAYNE      IN   46845‐9049
PAUL MINTER                         3700 E 4TH ST                                                                             DAYTON          OH   45403‐2832
PAUL MISENER                        6082 LAKE RD                                                                              MILLINGTON      MI   48746‐9209
PAUL MISHCHENKO                     359 MOUNTS MILLS RD                                                                       MONROE TWP      NJ   08831‐2933
PAUL MISKO                          50 TALSMAN DR UNIT 1                                                                      CANFIELD        OH   44406‐1297
PAUL MITCHELL                       PO BOX 71                                                                                 MIDDLETOWN      VA   22645‐0071
PAUL MITCHELL                       602 HIGHVILLA RD                                                                          BALTIMORE       MD   21221‐3201
PAUL MITCHELL                       3035 PINEGATE DR                                                                          FLUSHING        MI   48433‐2472
PAUL MITCHELL                       713 MCLISH ST                                                                             ARDMORE         OK   73401‐4623
PAUL MITCHELL                       5266 HIGHWAY 135 N                                                                        PARAGOULD       AR   72450‐9385
PAUL MITCHELL                       9169 PINE WALK PASS                                                                       LINDEN          MI   48451‐8578
PAUL MITCHELL                       310 CONANT ST                                                                             COLUMBIA        TN   38401‐2930
PAUL MITCHELL                       322 ROSEWOOD AVENUE                                                                       SPRINGFIELD     OH   45506‐2732
PAUL MITCHELL JR                    7096 BANKS                                                                                WATERFORD       MI   48327‐3700
PAUL MITCHELL THE SCHOOL‐COSTA      1534 ADAMS AVE                                                                            COSTA MESA      CA   92626‐3804
PAUL MITRIK                         102 MIDDLEBORO CIR                                                                        FRANKLIN        TN   37064‐4931
PAUL MIX                            PO BOX 357                                                                                JONES           OK   73049‐0357
PAUL MOAK OF RIDGELAND, INC.        450 STEED RD                                                                              RIDGELAND       MS   39157
PAUL MOAK OF RIDGELAND, INC.        PAUL MOAK                        450 STEED RD                                             RIDGELAND       MS   39157
PAUL MOAK OF RIDGELAND/ALAMO        450 STEED ROAD                                                                            RIDGELAND       MS   39157
PAUL MOAK OF RIDGELAND/ALAMO RENT   450 STEED RD                                                                              RIDGELAND       MS   39157
A CAR, INC/FORT LAUDERDALE/FL

PAUL MOHLER                         188 WAGON TRL N                                                                           POWELL          OH   43065‐7981
PAUL MOLENDA                        12743 W ALBAIN RD                                                                         PETERSBURG      MI   49270‐9528
PAUL MOLNAR                         27103 BENNETT                                                                             REDFORD         MI   48240‐2363
PAUL MONAHAN                        6358 DILLON HWY                                                                           HUDSON          MI   49247‐9505
PAUL MONDAY                         3107 GREEN GATE WAY SE                                                                    CONYERS         GA   30013‐6420
PAUL MONDEAU                        4033 HASLER RD                                                                            DAVISON         MI   48423‐9160
PAUL MONNETTE
PAUL MONROE                         1213 W HAVENS ST                                                                          KOKOMO          IN   46901‐2631
PAUL MONROE                         2800 MULBERRY DR                                                                          CLARKSTON       MI   48348‐5304
PAUL MONTANA                        PO BOX 3195                                                                               MONTROSE        MI   48457‐0895
PAUL MONTGOMERY                     1315 W PINE LAKE RD                                                                       SALEM           OH   44460‐9321
PAUL MONVILLE                       3991 KAWKAWLIN RIVER DR                                                                   BAY CITY        MI   48706‐1733
PAUL MONYA & DOUGLAS                11822 PARKRIDGE AVE                                                                       BATON ROUGE     LA   70816‐4631
PAUL MOONEY JR                      183 FOX RIDGE DR                                                                          MURFREESBORO    TN   37128‐4531
PAUL MOORE                          5493 GENESEE ST                                                                           LANCASTER       NY   14086‐9744
PAUL MOORE                          55 BANE AVE                                                                               NEWTON FALLS    OH   44444‐1602
PAUL MOORE                          6326 WOLFFORK RD                                                                          RABUN GAP       GA   30568‐2616
PAUL MOORE                          387 ARGYLE AVE                                                                            YOUNGSTOWN      OH   44512‐2321
PAUL MOORE                          1964 IDAHO RD                                                                             WILLIAMSBURG    KS   66095‐8087
PAUL MOORE                          434 MOORE RD                                                                              BRANTLEY        AL   36009‐5143
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Name                   Address1                          Address2                    Address3                Address4                 City               State Zip
PAUL MOORE             10298 HENDERSON RD                                                                                             CORUNNA             MI 48817‐9790
PAUL MOORMAN           P.O. BOX 917 #110                                                                                              BELLVILLE           TX 77418
PAUL MORALES           6442 GRANDMONT AVE                                                                                             DETROIT             MI 48228‐4720
PAUL MORAND            PO BOX 196                                                                                                     HARTLAND            MI 48353‐0196
PAUL MOREIRA           140 7TH AVE APT 5B                                                                                             NEW YORK            NY 10011‐1836
PAUL MOREL             471 MENDON RD                                                                                                  WOONSOCKET           RI 02895‐2404
PAUL MORGAN            1209 BIRCHWOOD DR                                                                                              FLUSHING            MI 48433‐1487
PAUL MORGAN            275 BOWEN ST                                                                                                   DANVILLE            IN 46122‐1901
PAUL MORGAN            53 VALENCIA DR                                                                                                 NILES               OH 44446‐1064
PAUL MORGAN            11336 CEDAR ISLAND RD                                                                                          WHITE LAKE          MI 48386‐2616
PAUL MORGAN            1720 UNIVERSITY DR                                                                                             COLUMBIA            TN 38401‐6412
PAUL MORGAN            C/O O'BRIEN, BALKA & ELRICK       ATTN: ANDREW M. ELRICK      219 KING ST E           OSHAWA ONTARIO L1H 1C5
PAUL MORGERSON         1031 LAUREL WOODS DR                                                                                           JAMESTOWN          TN    38556‐2109
PAUL MORGERSON         1031 LAURELWOOD DR                                                                                             JAMESTOWN          TN    38556‐2109
PAUL MORIN             550 S BROADWAY ST                                                                                              LAKE PARK          GA    31636‐6610
PAUL MOROVITS          203 JONATHON DR                                                                                                JANESVILLE         WI    53548‐5807
PAUL MORRIS            2305 EBURY CT                                                                                                  BENSALEM           PA    19020
PAUL MORRIS            107 TURKEY HOLLOW RD                                                                                           WAYNESBURG         PA    15370‐3813
PAUL MORRIS            180 WESTWAY ST                                                                                                 PONTIAC            MI    48342‐2568
PAUL MORRIS            7878 GOLFVIEW CIR                                                                                              OSCODA             MI    48750‐9453
PAUL MORRIS            3093 E BIRCH DR                                                                                                BAY CITY           MI    48706‐1201
PAUL MORRIS            PO BOX 253                                                                                                     SYLVANIA           OH    43560‐0253
PAUL MORRISON          MCCARTHY TETRAULT LLP             SUITE 5300, TD BANK TOWER   TORONTO DOMINION CENTRE TORONTO, ONTARIO M5K
                                                                                                             1E6, CANADA
PAUL MORROW            717 WURLITZER DR                                                                                               N TONAWANDA        NY 14120‐1948
PAUL MORTON            8241 ELIZABETH ANN ST                                                                                          SHELBY TOWNSHIP    MI 48317‐4321
PAUL MORTORFF          PO BOX 273                                                                                                     ASTOR              FL 32102‐0273
PAUL MOSES
PAUL MOSIER            10209 RED SCHOOL RD                                                                                            SHOALS             IN    47581‐7271
PAUL MOSMILLER         1705 GLEN CURTIS RD                                                                                            BALTIMORE          MD    21221‐2112
PAUL MOSS              3168 PYRITE CIR SW                                                                                             ATLANTA            GA    30331‐2808
PAUL MOSURE            6094 KETCHUM AVE                                                                                               NEWFANE            NY    14108‐1113
PAUL MOUNT             26 TRINITY PL                                                                                                  BARRINGTON         NJ    08007‐1448
PAUL MOUNT             848 ACORN LANE                                                                                                 FORT WAYNE         IN    46835
PAUL MOWERY            2907 N GRAHAM RD                                                                                               FRANKLIN           IN    46131‐9652
PAUL MROSZ             PO BOX 80903                                                                                                   ROCHESTER          MI    48308‐0903
PAUL MROZEK            36687 MAAS DR                                                                                                  STERLING HEIGHTS   MI    48312‐2836
PAUL MROZINSKI         5575 CHRISTYWAY CT                                                                                             BAY CITY           MI    48706‐3104
PAUL MUEHLENBECK JR.   7252 MEADOW AVE                                                                                                WARREN             MI    48091‐4935
PAUL MUEHLHAUSEN       BERLINER STRASSE 40               30966 HEMMINGEN             GERMANY
PAUL MUEHLHAUSEN       BERLINER STRASSE 40                                                                                            HEMMINGEN                30966
PAUL MUELLER           PO BOX 9022                                                                                                    WARREN             MI    48090‐9022
PAUL MUELLER           1009 S BROADWAY ST                                                                                             PENDLETON          IN    46064‐9560
PAUL MULDERS           1400 N JONES RD                                                                                                ESSEXVILLE         MI    48732‐1553
PAUL MULFORD           194 COOPER RD                                                                                                  ROCHESTER          NY    14617‐3027
PAUL MULLEN            520 N MULBERRY ST                                                                                              HARTFORD CITY      IN    47348‐2133
PAUL MULLEN            4354 CRYSTAL RIDGE DR E                                                                                        MAUMEE             OH    43537‐9268
PAUL MULLENIX          3225 S 500 E                                                                                                   MARION             IN    46953‐9535
PAUL MULLER            2810 DAKOTA DR                                                                                                 ANDERSON           IN    46012‐1414
PAUL M▄LLER            SCHAALSTR 3                                                                           72351 GEISLINGEN
                                                                                                             GERMANY
PAUL MULLINS           3451 CARTWRIGHT CT                                                                                             BONITA SPGS         FL   34134‐7575
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Name                      Address1                         Address2                     Address3   Address4         City               State Zip
PAUL MULLINS              2100 KINGS HWY LOT 442                                                                    PORT CHARLOTTE      FL 33980‐4264
PAUL MULLINS              2771 CHEROKEE DR                                                                          MANSFIELD           OH 44903‐9398
PAUL MULNIX               4490 NICHOLS RD                                                                           SWARTZ CREEK        MI 48473‐8511
PAUL MUNOZ                14931 HANSBERRY RD                                                                        ROCKTON              IL 61072‐9752
PAUL MURCKO JR            220 BURKE ST                                                                              ARCHBOLD            OH 43502‐1647
PAUL MURE                 43 KELSEY DR                                                                              WEST SENECA         NY 14224‐1917
PAUL MURGU                7720 SPRING PARK DR                                                                       YOUNGSTOWN          OH 44512‐5344
PAUL MURPHY               508 LINCOLN RD                                                                            GROSSE POINTE       MI 48230‐1609
PAUL MURPHY PLASTICS CO   JOHN X118                        15301 ELEVEN MILE RD.                                    WARREN              MI 48089
PAUL MURRAY               403 S LEMEN ST                                                                            FENTON              MI 48430‐2311
PAUL MURRAY               2044 W 83RD ST                                                                            CHICAGO              IL 60620‐6049
PAUL MUSARRA              925 VAN BUREN WAY                                                                         MEDINA              OH 44256‐4607
PAUL MUSIELAK             1275 SWEENEY ST                                                                           NORTH TONAWANDA     NY 14120‐4842
PAUL MUYLLE               12655 SPENCER RD                                                                          SAGINAW             MI 48609‐9798
PAUL MYERS                915 TEMPLE DR                                                                             TITUSVILLE          FL 32780‐3999
PAUL MYERS                21 E OAK ST                                                                               WEST ALEXANDRIA     OH 45381‐1251
PAUL MYERS                500 HARVEST CT                                                                            FAIRBORN            OH 45324‐2694
PAUL MYERS                49 HUNT AVE                                                                               BUFFALO             NY 14207‐2142
PAUL MYERS                243 CYPRESS CREEK RD                                                                      SEVERNA PARK        MD 21146‐4043
PAUL MYERS                10442 SPRING ST                                                                           FENTON              MI 48430‐2464
PAUL MYERS                11748 DUNLAVY LN                                                                          WHITMORE LAKE       MI 48189‐9375
PAUL MYLES                2 BIRCH CREST DR                                                                          FLINT               MI 48504‐1043
PAUL MYNORS
PAUL N ANGELOT            4459 TURTLE LN APT 2C                                                                     LITTLE RIVER       SC   29566
PAUL N DYE                5349 SABRINA LANE                                                                         WARREN             OH   44483‐7202
PAUL N FIQUETTE JR        207 HAMILTON DRIVE                                                                        WEST POINT         GA   31833
PAUL N GARDNER CO INC     316 NE 1ST ST                                                                             POMPANO BEACH      FL   33060‐6608
PAUL N KRUMNOW            1421 N NISSEN RD                                                                          MARTIN             OH   43445‐9714
PAUL N SMITH              3111 SLATTERY RD                                                                          ATTICA             MI   48412
PAUL N WARGACKI           8326 HERBERT RD                                                                           CANFIELD           OH   44406‐9782
PAUL NADEAU               101 HIDDEN SPRINGS LN                                                                     PEACHTREE CITY     GA   30269‐4071
PAUL NAGEL                19298 LLOYD ST                                                                            CLINTON TWP        MI   48038‐3050
PAUL NAGY                 126 REED RD                                                                               SUMMERTOWN         TN   38483‐7345
PAUL NAHRA                49582 DECKER DR                                                                           SHELBY TOWNSHIP    MI   48317‐1839
PAUL NAJT                 PO BOX 722                                                                                BLOOMFIELD HILLS   MI   48303‐0722
PAUL NALAZEK              2009 S FARRAGUT ST                                                                        BAY CITY           MI   48708‐3807
PAUL NALAZEK              7214 ALGER DR                                                                             DAVISON            MI   48423‐2378
PAUL NAPIER               PO BOX 1599                                                                               MAGGIE VALLEY      NC   28751‐1599
PAUL NASH                 9153 DISCHINGER CT                                                                        SAINT LOUIS        MO   63137‐1007
PAUL NASH                 4317 STRATHDON DR                                                                         FORT WAYNE         IN   46816‐4148
PAUL NAWRAT               321 BEAVER SHORES DR                                                                      LACHINE            MI   49753‐9678
PAUL NAWROCKI             2900 BULLARD RD                                                                           HARTLAND           MI   48353‐3010
PAUL NAYMAN               78 N HARTLAND ST                                                                          MIDDLEPORT         NY   14105‐9702
PAUL NAZARIAN             515 SHOREVIEW DR                                                                          WATERFORD          MI   48328‐3923
PAUL NEAL                 343 N LIBERTY LN                                                                          GREENFIELD         IN   46140‐2741
PAUL NEGLIA               96 MACFARLANE RD                                                                          WAPPINGERS FL      NY   12590‐4915
PAUL NEHLEN               BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH   44236
PAUL NEISLER              PO BOX 726                                                                                WHITE CLOUD        MI   49349‐0726
PAUL NELLER               N5876 MOUNT PLEASANT RD                                                                   COLUMBUS           WI   53925‐8991
PAUL NELSON               9560 N COUNTY ROAD 300 E                                                                  BRAZIL             IN   47834‐7640
PAUL NELSON               1401 BAKER LN                                                                             HAWESVILLE         KY   42348‐5333
PAUL NELSON               1915 LYNNWOOD DR                                                                          COLUMBIA           TN   38401‐3915
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Name               Address1                        Address2                     Address3   Address4            City              State Zip
PAUL NEMIER        222 SUNSTRUCK DR                                                                            SYRACUSE           NY 13206‐3449
PAUL NESTLE        381 CLOVERVIEW LN                                                                           HOWELL             MI 48843‐7598
PAUL NESTOR        3182 AMSTERDAM DR                                                                           CLIO               MI 48420‐1495
PAUL NEUMAYER      9801 TRACY TRL                                                                              PARMA              OH 44130‐5264
PAUL NEVELS        2455 US HIGHWAY 17 S LOT 93                                                                 BARTOW             FL 33830‐9514
PAUL NEVINS        1275 104TH ST SW                                                                            BYRON CENTER       MI 49315‐9208
PAUL NEWBOLD       3363 ELLIS PARK DR                                                                          BURTON             MI 48519‐1413
PAUL NEWCOMB       9628 LAURA LN                                                                               FOSTORIA           MI 48435‐9524
PAUL NEWCOMER      32610 SANDRA LN                                                                             WESTLAND           MI 48185‐1562
PAUL NEWELL        189 FREMONT AVE                                                                             AKRON              OH 44312‐1019
PAUL NEWMAN        3350 RAY RD                                                                                 OXFORD             MI 48370‐1820
PAUL NEWMAN        57 E REAMER AVE                                                                             WILMINGTON         DE 19804‐1306
PAUL NEWMAN I I    5452 ASPEN CIR                                                                              GRAND BLANC        MI 48439‐3510
PAUL NEWPORT       5571 STATE ROUTE 503 N                                                                      LEWISBURG          OH 45338‐8771
PAUL NEWSAD        4847 DAWNWOOD DR                                                                            DAYTON             OH 45415‐1302
PAUL NEWSOM        4122 JENSOME LN                                                                             FRANKLIN           TN 37064‐1162
PAUL NEWTON        27315 HARVARD RD                                                                            SOUTHFIELD         MI 48076‐3145
PAUL NICHOLS       6042 MAPLE FORGE CIR                                                                        INDIANAPOLIS       IN 46254‐1266
PAUL NICHOLS       183 FORBES AVE                                                                              TONAWANDA          NY 14150‐4703
PAUL NICKEL        3486 COUNTY ROAD 170                                                                        FREMONT            OH 43420‐8907
PAUL NICKELL       6716 WINTERGREEN PL                                                                         HUBER HEIGHTS      OH 45424‐3980
PAUL NICOLETTI     111 HULL ST                                                                                 BRISTOL            CT 06010‐6853
PAUL NICOTERA      245 EAST ST APT 705             OLDE FALLS VILLAGE                                          HONEOYE FALLS      NY 14472‐1241
PAUL NIEMCZYK      28 MILK ST                                                                                  BLACKSTONE         MA 01504‐1105
PAUL NIEMELA JR    29524 GARDEN ST                                                                             ROSEVILLE          MI 48066‐2262
PAUL NIEMIEC       13110 10 MILE ROAD NORTHEAST                                                                GREENVILLE         MI 48838‐9305
PAUL NIESSEN       AM STEG 20                      41849 WASSENBERG             GERMANY
PAUL NIESSEN       ELSUMER WEG 23                                                          41849 WASSENBERG
                                                                                           GERMANY
PAUL NIEZGODA      1517 WINTON AVE                                                                             LAKEWOOD          OH   44107‐3613
PAUL NIGHSWANDER   1704 MICHIGAN AVE                                                                           BAY CITY          MI   48708‐4914
PAUL NIMS          4772 BIG DRAW DR                                                                            NORTH LAS VEGAS   NV   89031‐2897
PAUL NIQUETTE      29 BIRCH HILL RD                                                                            BROOKLINE         NH   03033‐2451
PAUL NIXON         1564 STUCKEY RD                                                                             DUBBERLY          LA   71024‐2823
PAUL NIZIOL        1802 SABINE DR                                                                              MIDLOTHIAN        TX   76065‐3827
PAUL NOBLE         225 ROCK MILL TRL                                                                           SENOIA            GA   30276‐4805
PAUL NOBLE         2018 WAGON WHEEL CT                                                                         ANDERSON          IN   46017‐9695
PAUL NOE           664 MAPLE ST                                                                                MOUNT MORRIS      MI   48458‐1927
PAUL NOEYACK       4974 MARIGOLD RD                                                                            MENTOR            OH   44060‐1250
PAUL NOFFKE        13473 VERGENNES ST                                                                          LOWELL            MI   49331‐9600
PAUL NOLAN         PO BOX 50                                                                                   SPRINGVILLE       IN   47462‐0050
PAUL NOLEN         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS        OH   44236
PAUL NORDHEIM      5610 NEW VIENNA RD                                                                          NEW VIENNA        OH   45159‐9611
PAUL NORMAN        4271 BOBWHITE DR                                                                            FLINT             MI   48506‐1704
PAUL NORMAN        PO BOX 5042                                                                                 MABANK            TX   75147‐5001
PAUL NORRIS        3401 S DYNAMITE AVE                                                                         TUCSON            AZ   85735‐9025
PAUL NORRIS        727 CLOVERDALE AVE                                                                          CRESTLINE         OH   44827‐1944
PAUL NORRIS        1310 E VIRGINIA AVE                                                                         KOKOMO            IN   46902‐1819
PAUL NORRIS JR     769 S HAGUE AVE                                                                             COLUMBUS          OH   43204‐2301
PAUL NORTHEY       10667 OAK LN APT 18316                                                                      BELLEVILLE        MI   48111‐4746
PAUL NORTHUP       32241 BIRCHWOOD ST                                                                          WESTLAND          MI   48186‐5249
PAUL NORWOOD       217 SPENCE LN                                                                               FRANKLIN          KY   42134‐9542
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Name                        Address1                       Address2                       Address3   Address4         City             State Zip
PAUL NOSBISCH JR            31 NEWELL AVE                                                                             LANCASTER         NY 14086‐1919
PAUL NOSSER                 412 CHERRY LN                                                                             WARRENTON         MO 63383‐1606
PAUL NOVAK                  18224 153RD ST                                                                            BONNER SPRINGS    KS 66012‐7391
PAUL NOWAK                  35500 GLEN ST                                                                             WESTLAND          MI 48186‐4196
PAUL NOWAK                  170 DESMOND DR                                                                            TONAWANDA         NY 14150‐7725
PAUL NOWLIN                 APT C                          1883 TAMARACK CIRCLE SOUTH                                 COLUMBUS          OH 43229‐4575
PAUL NUCHOLS                3015 GREENTREE DR                                                                         JAMESTOWN         OH 45335‐2512
PAUL O HONAKER JR           2722 LINDALE AVE                                                                          DAYTON            OH 45414
PAUL O JOHNSON              14306 LAKEWOOD HEIGHTS BLVD                                                               LAKEWOOD          OH 44107‐6057
PAUL O JONES                3893 BEATTY DR                                                                            DAYTON            OH 45416‐2201
PAUL O LESSIS               1433 PERSHING BLVD                                                                        DAYTON            OH 45410‐3114
PAUL O'DRISCOLL
PAUL O. AND SHANDA SPEARS   MCKENNA & ASSOCIATES PC        436 BOULEVARD OF THE ALLIES,                               PITTSBURGH       PA 15219‐1331
                                                           SUITE 500
PAUL OAKS                   2927 MACKIN RD                                                                            FLINT            MI   48504‐3262
PAUL OAKS                   875 STAHLHEBER RD                                                                         HAMILTON         OH   45013‐1963
PAUL OBERLANDER             2605 MAIN RD                                                                              E PEMBROKE       NY   14056
PAUL OBERSKI                20023 WASHINGTON ST                                                                       ROSEVILLE        MI   48066‐2295
PAUL OCELNIK                3086 SIMSBURY DR                                                                          PINCKNEY         MI   48169‐8454
PAUL OESTERLE               1803 WALLINE RD                                                                           MASON            MI   48854‐9450
PAUL OESTERLE               555 NORTH SEARLS RD#1                                                                     WEBBERVILLE      MI   48892
PAUL OGINSKY                G‐9026 CALKINS ROAD                                                                       FLINT            MI   48532
PAUL OGLES                  5859 LOCHLEVEN DR                                                                         WATERFORD        MI   48327‐1845
PAUL OGLESBY                78 AVON ST                                                                                TOCCOA           GA   30577‐3465
PAUL OHARRA                 6681 JOHNSON RD                                                                           GALLOWAY         OH   43119‐8890
PAUL OHMES                  1111 W HIGHWAY N                                                                          WENTZVILLE       MO   63385‐5201
PAUL OILA                   29477 JAMES ST                                                                            GARDEN CITY      MI   48135‐2047
PAUL OKAL                   47 NANLYN TER                                                                             TOMS RIVER       NJ   08753‐4233
PAUL OKONIEWSKI             71970 LASSIER RD                                                                          BRUCE TWP        MI   48065‐3521
PAUL OKONIEWSKI             32 BRADDOCK PT                                                                            COLUMBIA         SC   29209
PAUL OLIVER                 2304 MADALINE DR                                                                          AVENEL           NJ   07001‐1371
PAUL OLIVER                 48 SCOTT LAKE RD                                                                          WATERFORD        MI   48328‐3144
PAUL OLIVER                 13700 COURTSIDE WAY APT 201                                                               SOUTHGATE        MI   48195‐3402
PAUL OLIVER JR              814 S 20TH ST                                                                             NEWARK           NJ   07108‐1127
PAUL OLLVER                 BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS       OH   44236
PAUL OLSEN                  205 DICKSON ST                                                                            ORFORDVILLE      WI   53576‐9405
PAUL OLSHAVSKY              1239 MEADOWBROOK BLVD                                                                     BRUNSWICK        OH   44212‐2828
PAUL OLSON                  616 S WEST ST                                                                             ROYAL OAK        MI   48067‐2541
PAUL ONEY                   2612 ST RT #430                                                                           MANSFIELD        OH   44903
PAUL ONG                    THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD        SUITE 44                    CORAL GABLES     FL   33146
PAUL OPAVSKY                2515 KOPER DR                                                                             STERLING HTS     MI   48310‐5238
PAUL OREBAUGH               290 KIMBARY DR                                                                            DAYTON           OH   45458‐4133
PAUL ORICK                  533 NW 1501ST RD                                                                          HOLDEN           MO   64040
PAUL ORNDORFF               509 PRINCETON AVE                                                                         ELYRIA           OH   44035‐6445
PAUL ORTA                   PO BOX 5154                                                                               UVALDE           TX   78802‐5154
PAUL ORTEGA                 6601 BLUEWATER RD                                                                         OKLAHOMA CITY    OK   73165‐9651
PAUL ORTEL JR               8209 OLD PHILADELPHIA RD                                                                  BALTIMORE        MD   21237‐2830
PAUL ORTOLF JR              3563 PLEASANT AVE                                                                         HAMILTON         OH   45015‐1746
PAUL ORZECH                 1515 RIDGE RD LOT 100                                                                     YPSILANTI        MI   48198‐4259
PAUL OSBORN                 15 AIRDRIE DR                                                                             BEAR             DE   19701‐2361
PAUL OSBORNE                369 KENYON DR                                                                             HAMILTON         OH   45015‐1935
PAUL OSBORNE                APT 133                        2276 HALES WAY                                             WILLIAMSBURG     OH   45176‐8710
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Name               Address1                       Address2                  Address3           Address4         City              State Zip
PAUL OSBORNE       814 WOODVILLE AVE                                                                            MONROE             MI 48161‐1818
PAUL OSBURN        33233 GREEN WING LN                                                                          BROWNSTOWN         MI 48173‐8641
PAUL OSHIRAK       94 KOENIG RD                                                                                 TONAWANDA          NY 14150‐7402
PAUL OSINSKI       4146 SCHINTZIUS RD                                                                           EDEN               NY 14057‐9769
PAUL OSTUNI        11207 NW 68TH PL                                                                             PARKLAND           FL 33076‐3841
PAUL OSWALD        7802 WENDY LN                                                                                PORTAGE            MI 49024‐4964
PAUL OTANEZ        2871 TROY CENTER DR. P12                                                                     TROY               MI 48084
PAUL OTT III       13 CLEOME CT                                                                                 HOMOSASSA          FL 34446
PAUL OWEN          2539 ISLAND DR                                                                               HARRISON           MI 48625‐9235
PAUL OWENS         123 WABASH AVE                                                                               DEFIANCE           OH 43512‐1633
PAUL OWENS         1045 W ROWLAND ST                                                                            FLINT              MI 48507‐4046
PAUL OZMENT        30130 BRISTOL LN                                                                             BINGHAM FARMS      MI 48025‐4603
PAUL P BANYI       423 ROESCH AVE                                                                               BUFFALO            NY 14207
PAUL P MORIN       MONEY PURCHASE KEOGH           PPM SERVICES KEOGH PLAN   PO BOX 040093                       BROOKLYN           NY 11204‐0093
PAUL P MORIN       PROFIT SHARING KEOGH           PPM SERVICES KEOGH PLAN   PO BOX 040093                       BROOKLYN           NY 11204‐0093
PAUL P PECORELLI   2828 CLEARWATER                                                                              WARREN             OH 44485‐2212
PAUL P ROONEY      ACCT OF VINCENT E ALEXANDER    PO BOX 2306               222 DELAWARE AVE                    WILMINGTON         DE 19899‐2306
PAUL PACK          120 W SAVANNAH DR                                                                            BEAR               DE 19701‐1639
PAUL PAISLEY       5018 BRIGHT BALDWIN RD                                                                       NEWTON FALLS       OH 44444‐9460
PAUL PAJAK         37 CAMBRIA ST                                                                                BUFFALO            NY 14206‐2301
PAUL PALLICK       6218 MARYWOOD AVE                                                                            LANSING            MI 48911‐5537
PAUL PALMER        2211 RICHLEY DR                                                                              DAYTON             OH 45408‐2514
PAUL PALMER        322 E MARYKNOLL RD                                                                           ROCHESTER HILLS    MI 48309‐1957
PAUL PALSHAN       9302 GREEN RD                                                                                GOODRICH           MI 48438‐9437
PAUL PAMROW        6798 PINE RIDGE RD                                                                           AUBURN             NY 13021‐8788
PAUL PANCHENKO     5113 KECK RD                                                                                 LOCKPORT           NY 14094‐9304
PAUL PANCHULA      15177 RESTWOOD DR                                                                            LINDEN             MI 48451‐8771
PAUL PAPAN         PO BOX 752                                                                                   GRANDVIEW          TX 76050‐0752
PAUL PAPES         5240 LEAR NAGLE RD                                                                           N RIDGEVILLE       OH 44039‐2112
PAUL PAPIA         6324 SHIMER DR                                                                               LOCKPORT           NY 14094‐6406
PAUL PARCELS JR    12728 CHAPEL ST                                                                              DETROIT            MI 48223‐3217
PAUL PARCHEM       1003 ADAMS ST                                                                                MONROE             MI 48161‐4084
PAUL PARIS JR      2098 KNOLLWOOD AVE                                                                           POLAND             OH 44514‐1518
PAUL PARKER        1048 NW HIGH POINT DR                                                                        LEES SUMMIT        MO 64081‐1998
PAUL PARKER        12736 MERCEDES                                                                               REDFORD            MI 48239‐3005
PAUL PARKER        409 N 13TH AVE                                                                               BEECH GROVE        IN 46107
PAUL PARKOSHON     6 TRAIL RUN                                                                                  FLAGLER BEACH      FL 32136‐5205
PAUL PARRIS        8109 E 92ND                                                                                  KANSAS CITY        MO 64138
PAUL PARSONS       2421 TREELANE DR                                                                             TRAVERSE CITY      MI 49686‐4996
PAUL PARTLOW       5375 INDIAN TRL                                                                              CASEVILLE          MI 48725‐9769
PAUL PARWULSKI     1187 MEADOW LN                                                                               GRAND ISLAND       NY 14072‐2100
PAUL PASHAK        5403 EASY ST                                                                                 BAY CITY           MI 48706‐3052
PAUL PASQUALE      4585 ALDERWOOD DR                                                                            CANFIELD           OH 44406‐9239
PAUL PATRICK       1436 VILLAGE LN APT 101                                                                      YPSILANTI          MI 48198‐6572
PAUL PATRICK       24446 BUTTERNUT DR                                                                           STURGIS            MI 49091‐8312
PAUL PATTERSON     PO BOX 35                                                                                    NEWFANE            NY 14108‐0035
PAUL PATTERSON     10741 SE 51ST AVE                                                                            BELLEVIEW          FL 34420‐8301
PAUL PATTERSON     142 W PALMETTO DR                                                                            HARLINGEN          TX 78550‐3890
PAUL PATTERSON     1078 YALE AVE                                                                                BOURBONNAIS         IL 60914‐1155
PAUL PATTERSON     1656 SHEFFIELD DR                                                                            YPSILANTI          MI 48198‐3669
PAUL PATTERSON     869 SUNNYCREEK DR.                                                                           CENTERVILLE        OH 45458
PAUL PATTON        7125 CAPRI ST                                                                                PORTAGE            MI 49002‐9414
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Name             Address1                       Address2            Address3         Address4         City              State Zip
PAUL PATTON      1612 HUNTCLIFFE CT                                                                   TEMPERANCE         MI 48182‐9228
PAUL PATZWELL    11459 BANCROFT COURT                                                                 FENTON             MI 48430‐2479
PAUL PAULEY      33552 VISTA WAY                                                                      FRASER             MI 48026‐4325
PAUL PAVLICA     3069 S EDGAR RD                                                                      MASON              MI 48854‐9217
PAUL PAVLICH     1023 SOUTH ST                                                                        NILES              OH 44446‐3322
PAUL PAVLO       548 5TH AVE                                                                          E MCKEESPORT       PA 15035‐1034
PAUL PAWLIK      63 KEATS AVE                                                                         TONAWANDA          NY 14150‐8539
PAUL PAWLOSKY    9084 LAKE RD                                                                         OTISVILLE          MI 48463‐9781
PAUL PAWLOWSKI   3113 COURTFIELD DR                                                                   ROCHESTER HILLS    MI 48309‐4804
PAUL PAXTON      1952 W RANCH RD                                                                      NIXA               MO 65714‐7190
PAUL PEAKE       4089 PLEASANTVIEW DR                                                                 SAGINAW            MI 48603‐9658
PAUL PEARCE SR   34345 ROSSLYN ST                                                                     WESTLAND           MI 48185‐3661
PAUL PEARMAN     CASCINO MICHAEL P              220 S ASHLAND AVE                                     CHICAGO             IL 60607
PAUL PEARSON     28 IRIS LN                                                                           BELTON             MO 64012‐2138
PAUL PEARSON     107 N LYONS ST                                                                       MARION             IN 46952‐2653
PAUL PEASE       11245 ELMS RD                                                                        BIRCH RUN          MI 48415‐8402
PAUL PEBBLES     50908 CHESAPEAKE DR                                                                  NOVI               MI 48374‐2552
PAUL PECHURA     16156 SHEDD RD #3                                                                    MIDDLEFIELD        OH 44062
PAUL PECORELLI   2828 CLEARWATER ST NW                                                                WARREN             OH 44485‐2212
PAUL PEJZA       47870 PAVILLON RD                                                                    CANTON             MI 48188‐6294
PAUL PELFREY     3656 E SAGINAW HWY                                                                   GRAND LEDGE        MI 48837‐8434
PAUL PELLETIER   46 BUCKTOWN RD                                                                       MASSENA            NY 13662‐3202
PAUL PEMBERTON   5724 DEEP LAKE ROAD                                                                  OVIEDO             FL 32765‐5236
PAUL PENDLETON   5581 FOREST GLEN DR                                                                  GROVE CITY         OH 43123‐9258
PAUL PENDLEY     412 LYNDA LN                                                                         ARLINGTON          TX 76010‐4353
PAUL PENKALA     1215 PRICE AVE                                                                       CALUMET CITY        IL 60409‐5809
PAUL PEOPLES     382 JENNY LYNN RD                                                                    CHATHAM            LA 71226‐9701
PAUL PEPLINSKI   313 S SHERMAN ST                                                                     BAY CITY           MI 48708‐7477
PAUL PERDUE      1200 W HIGH ST                                                                       DEFIANCE           OH 43512‐1321
PAUL PEREZ       1119 E PRINCETON AVE                                                                 FLINT              MI 48505‐1515
PAUL PERKINS     PO BOX 2669                                                                          COLUMBIA           MD 21045
PAUL PERKINS     2485 WAGONWHEEL ST                                                                   JENISON            MI 49428‐9103
PAUL PERKINS     655 FOREST ST                                                                        CHARLOTTE          MI 48813‐1237
PAUL PERKS       715 WATER ST                                                                         WARSAW             MO 65355‐3029
PAUL PERRON      1390 GAGE RD                                                                         HOLLY              MI 48442‐8338
PAUL PERRON      5733 WEST LAKE STREET                                                                ST. LOUIS PARK     MN 55416
PAUL PERRY       13630 MORTENVIEW DR                                                                  TAYLOR             MI 48180‐4705
PAUL PERRY       25200 ROCKSIDE RD APT 321                                                            BEDFORD HTS        OH 44146‐1909
PAUL PERRY       2115 WAYNE ST                                                                        LANSING            MI 48910‐8485
PAUL PERSON      16175 SUSSEX ST                                                                      DETROIT            MI 48235‐3853
PAUL PERZYK      14583 ALPENA DR                                                                      STERLING HTS       MI 48313‐4309
PAUL PERZYK      5760 FLAMINGO DR                                                                     CAPE CORAL         FL 33904‐5929
PAUL PESTI       12191 W MOUNT MORRIS RD                                                              FLUSHING           MI 48433‐9338
PAUL PETER       XYC
PAUL PETERMANN   604 N JUNE DR                                                                        MEARS             MI   49436‐9647
PAUL PETERS      28671 HAAS RD                                                                        WIXOM             MI   48393‐3019
PAUL PETERS      49637 DUNHILL DR                                                                     MACOMB            MI   48044‐1740
PAUL PETERSON    3925 CHURCHILL RD                                                                    IMLAY CITY        MI   48444‐8944
PAUL PETERSON    4471 ARLINE DR                                                                       ORCHARD LAKE      MI   48323‐2501
PAUL PETERSON    2681 PATTERSON LAKE RD                                                               PINCKNEY          MI   48169‐8722
PAUL PETERSON    11111 E CARPENTER RD                                                                 DAVISON           MI   48423‐9303
PAUL PETERSON    2030 WHITTLESEY ST                                                                   FLINT             MI   48503‐4349
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Name                Address1                         Address2             Address3        Address4         City             State Zip
PAUL PETERSON JR    2559 GRANADA CAMINO              BAYOU GRANDE VILLA                                    PENSACOLA         FL 32507‐2607
PAUL PETHEL         11243 US HIGHWAY 129 N                                                                 TALMO             GA 30575‐1458
PAUL PETRARCA       121 LARCHMONT DR                                                                       HENDERSONVILLE    NC 28791‐9711
PAUL PETRO          700 REHOBOTH DR NE                                                                     GRAND RAPIDS      MI 49505‐5184
PAUL PETROLINE      26356 MORNINGVIEW DR                                                                   BROWNSTOWN        MI 48174‐5920
PAUL PETRUSEK
PAUL PETTY          148 MAYHEW WAY                                                                         WALNUT CREEK     CA   94597‐2031
PAUL PETZOLD        8151 MURPHY LAKE RD                                                                    MILLINGTON       MI   48746‐9551
PAUL PEZO           2915 W SAGINAW RD                                                                      MAYVILLE         MI   48744‐9424
PAUL PFISTER        20950 W STATE ROUTE 105                                                                WOODVILLE        OH   43469‐9402
PAUL PHELPS         30273 SHIAWASSEE RD                                                                    FARMINGTN HLS    MI   48336‐3557
PAUL PHELPS         1490 W DRAHNER RD                                                                      OXFORD           MI   48371‐4820
PAUL PHELPS         5511 SYCAMORE ST                                                                       FRANKLIN         TN   37064‐9531
PAUL PHILLABAUM     7467 KEISTER RD                                                                        MIDDLETOWN       OH   45042‐1018
PAUL PHILLIPS       5193 W COLDWATER RD                                                                    FLINT            MI   48504‐1034
PAUL PHILLIPS       11704 S HELMIG RD                                                                      LONE JACK        MO   64070‐9557
PAUL PHILLIPS       412 W ADAMS AVE APT C                                                                  KIRKWOOD         MO   63122‐4052
PAUL PHILLIPS       8057 CRABB RD                                                                          TEMPERANCE       MI   48182‐9553
PAUL PHILLIPS JR.   5627 LAGRANT RD                                                                        STERLING         MI   48659‐9637
PAUL PHIPPS         1076 WAYCROSS RD                                                                       CINCINNATI       OH   45240‐3024
PAUL PIATEK         448 EGRET DR                                                                           SUNSET BEACH     NC   28468‐4414
PAUL PIATT          8590 NORWALK RD                                                                        LITCHFIELD       OH   44253‐9769
PAUL PIDCOCK        5955 E HIGGINS LAKE DR                                                                 ROSCOMMON        MI   48653‐9349
PAUL PIECZYNSKI     7995 ASHWOOD DR                                                                        NIAGARA FALLS    NY   14304‐1475
PAUL PIERCE         5197 SHIMERVILLE RD                                                                    CLARENCE         NY   14031‐1427
PAUL PIERCE         804 W 4TH ST                                                                           ALEXANDRIA       IN   46001‐2210
PAUL PIERCE         325 E RANKIN ST                                                                        FLINT            MI   48505‐4933
PAUL PIERCY         3490 S COUNTY ROAD 500 E                                                               LOGANSPORT       IN   46947‐8172
PAUL PIERSON        3525 CRESTVIEW AVE                                                                     LEBANON          OH   45036‐1005
PAUL PIGG           PO BOX 48                                                                              MARBLE HILL      MO   63764‐0048
PAUL PIKMAN         780 SUNSET AVE APT 6                                                                   SUISUN CITY      CA   94585
PAUL PINKNEY JR     4933 SNOWY REACH                                                                       COLUMBIA         MD   21044‐1515
PAUL PINKSTON       3012 E DOROTHY LN                                                                      KETTERING        OH   45420‐3818
PAUL PIORKOWSKI     41555 RIGGS RD                                                                         BELLEVILLE       MI   48111‐3018
PAUL PIOTROWICZ     319 VINEWOOD CT                                                                        YPSILANTI        MI   48198‐4019
PAUL PISKORZ        3475 LAKE SHORE DR E                                                                   DUNKIRK          NY   14048‐9716
PAUL PITNEY         15919 HICKORY CREST DR                                                                 BALLWIN          MO   63011‐5505
PAUL PITTMAN        PO BOX 17725                                                                           DENVER           CO   80217‐0725
PAUL PITTMAN JR     4855 AIRLINE DR APT 40E                                                                BOSSIER CITY     LA   71111‐6656
PAUL PITZER         12615 J RENDON RD                                                                      BURLESON         TX   76028‐3151
PAUL PIZZO          2708 W LIBBIE DR                                                                       LANSING          MI   48917‐4421
PAUL PLANTE         230 RESERVOIR ST                                                                       MARLBOROUGH      MA   01752‐4221
PAUL PLAVETZKI      7842 W SOMERSET RD                                                                     APPLETON         NY   14008‐9687
PAUL PLEACE         1854 BAYWOOD DR                                                                        WIXOM            MI   48393‐1110
PAUL PLUMMER        102 CARDINAL LN                                                                        ALEXANDRIA       IN   46001‐8105
PAUL PODCLAK        2525 WEST FOURTH ST.             ROOM 134                                              ONTARIO          OH   44906
PAUL PODRAZA        51 JOHN ST                                                                             SPOTSWOOD        NJ   08884‐1626
PAUL POE            225 CLEARWATER RD                                                                      SATSUMA          FL   32189‐2108
PAUL POE            PO BOX 313                                                                             COMSTOCK         MI   49041‐0313
PAUL POE            PO BOX 36                                                                              LOGAN            IL   62856‐0036
PAUL POE            3395 HARTLEY DR                                                                        ADRIAN           MI   49221‐9200
PAUL POE JR         6295 PAYNE ST                                                                          OTTER LAKE       MI   48464‐9547
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Name                   Address1                         Address2                 Address3            Address4         City               State Zip
PAUL POGORZELSKI       1390 BULLIS RD                                                                                 ELMA                NY 14059‐9654
PAUL POHL              2339 OAK RIVER CT                                                                              TROY                MI 48098‐5413
PAUL POLAND            5551 SW 18TH TER                                                                               BUSHNELL            FL 33513‐4459
PAUL POLASKY           4552 GREENCOVE CIR                                                                             BALTIMORE           MD 21219‐2354
PAUL POLEN             10747 MOSHIE LN                                                                                SAN ANTONIO         FL 33576‐7951
PAUL POLGLAZE          515 HEIGHTS RD                                                                                 LAKE ORION          MI 48362‐2697
PAUL POLKINGHORNE      9339 MELROSE ST                                                                                LIVONIA             MI 48150‐3842
PAUL POLLACK           4144 CURTIS RD                                                                                 LEONARD             MI 48367‐1601
PAUL POLLARD           492 MORGAN DR                                                                                  MOUNT MORRIS        MI 48458‐1162
PAUL POMPILI           6 HARNEDS LNDG                                                                                 CORTLAND            OH 44410‐1276
PAUL PONDER            1300 ALMA AVE                                                                                  PERRYVILLE          MO 63775‐2804
PAUL POOLE             3391 VALLEY PARK AVE                                                                           COLUMBUS            OH 43231‐6123
PAUL POPE              14789 STOLTZ RD                                                                                DIAMOND             OH 44412‐9611
PAUL POPIELSKI         74 MOLNAR DR                                                                                   WEST SENECA         NY 14224‐4710
PAUL POPLICEAN         10790 E 79TH ST                                                                                INDIANAPOLIS        IN 46236‐8450
PAUL POPOVICH          883 BEBOUT RD                                                                                  VENETIA             PA 15367‐1215
PAUL PORCASE           6075 MCMULLEN ALLEN RD                                                                         NEWTON FALLS        OH 44444‐9209
PAUL PORTER            5632 STATE ROAD 158                                                                            BEDFORD             IN 47421‐8571
PAUL PORTER            10792 SWEETSEN RD                                                                              CAMBY               IN 46113‐9197
PAUL PORTERFIELD       616 GARFIELD AVE                                                                               SCOTTDALE           PA 15683‐2141
PAUL PORTERFIELD       2060 LOVELAND DR                                                                               FLORISSANT          MO 63031‐2624
PAUL POSLAIKO          9215 MATTHEWS HWY                                                                              TECUMSEH            MI 49286‐8708
PAUL POTRYKUS          4300 SPENCER LEE DR                                                                            MILFORD             MI 48380‐1457
PAUL POTTENGER         1813 COLONIAL DR                                                                               ROCHESTER           IN 46975‐8958
PAUL POTTS             2100 NORTON LN                                                                                 BEDFORD             IN 47421‐4523
PAUL POTTS             2637 17 MILE RD                                                                                KENT CITY           MI 49330‐9745
PAUL POTTS             9224 S LITCHFORD RD                                                                            GRAIN VALLEY        MO 64029‐9790
PAUL POTVIN            1502 W YALE AVE                                                                                FLINT               MI 48505‐1122
PAUL POWELL            136 RUPERT DR                                                                                  DANDRIDGE           TN 37725‐6869
PAUL POWELL            3423 MT MORRIS ROAD                                                                            MOUNT MORRIS        MI 48458
PAUL POWERS            4442 FAIRLANE DR                                                                               ADRIAN              MI 49221‐8412
PAUL PREISZ            38120 CIRCLE DR                                                                                HARRISON TWP        MI 48045‐2815
PAUL PRESEAU           2251 MONTROYAL AVE                                                                             WATERFORD           MI 48328‐1727
PAUL PRESTON           227 THOMAS RD                                                                                  LISBON              OH 44432‐1153
PAUL PRESTON HILLARD   BARON & BUDD PC                  THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                    DALLAS              TX 75219‐4281
PAUL PREWETT           181 FAIRWAY CIR                                                                                LORETTO             TN 38469‐3252
PAUL PRICE             12459 JENNINGS RD                                                                              LINDEN              MI 48451‐9433
PAUL PRICE             4543 HIGHWAY 581                                                                               ULYSSES             KY 41264‐9075
PAUL PRICE             257 CAMERTON LN                                                                                TOWNSEND            DE 19734‐2873
PAUL PRICE             348 SEAVY ST                                                                                   SENOIA              GA 30275‐1801
PAUL PRIDE             2205 REMYNSE DRIVE                                                                             ARLINGTON           TX 76010
PAUL PRINCE            16 FAIRLANE CIR LOT D                                                                          WARRENTON           MO 63383‐4464
PAUL PRINGLE           291 ESTELLE CT                                                                                 HEMLOCK             MI 48626‐9305
PAUL PROCTOR           3200 SHERPHARD RD                                                                              MARLETTE            MI 48453
PAUL PROFFITT          98 SAWMILL LN                                                                                  NEW LEBANON         OH 45345‐9703
PAUL PROFT
PAUL PROSSER           6247 DORCHESTER RD                                                                             LOCKPORT           NY 14094‐5903
PAUL PROTASIEWICZ SR   2161 N CARTER RD                                                                               LINWOOD            MI 48634‐9749
PAUL PROULX            951 N COURT ST                                                                                 AU GRES            MI 48703‐9407
PAUL PROVORSE
PAUL PRUDE             1808 GAY AVE                                                                                   EAST SAINT LOUIS   IL 62207‐2001
PAUL PRUENTE           500 ROLLING ACRES DR                                                                           ORTONVILLE         MI 48462‐9228
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Name                        Address1                       Address2            Address3                Address4              City           State Zip
PAUL PRUETT                 2325 DOC HUGHES RD                                                                               BUFORD          GA 30519‐4242
PAUL PRYBYLSKI              6325 FAUST                                                                                       DETROIT         MI 48228
PAUL PRZESPO                38 CONSTANCE LN                                                                                  CHEEKTOWAGA     NY 14227‐1360
PAUL PRZYBYSZ               54 WILDY AVE                                                                                     BUFFALO         NY 14211‐2743
PAUL PUBLISKI               8127 STONEHAM DR                                                                                 YPSILANTI       MI 48197‐9326
PAUL PUGLIA                 729 VERNON DR                                                                                    BELLE VERNON    PA 15012‐3603
PAUL PUHR                   6500 N BROADWAY ST                                                                               GLADSTONE       MO 64118‐3262
PAUL PULEO                  HC‐1 BOX 101C                                                                                    THORNHURST      PA 18424‐9308
PAUL PUNCHES                740 PERRY ST                                                                                     DEFIANCE        OH 43512‐2737
PAUL PUNG                   14165 W FRENCH RD                                                                                PEWAMO          MI 48873‐9622
PAUL PUNZEL                 6717 LUDINGTON DR                                                                                FORT WAYNE      IN 46816‐4107
PAUL PURDY JR               1934 GARDNER AVE                                                                                 BERKLEY         MI 48072‐1272
PAUL PUZIO                  30400 RIDGEFIELD AVE                                                                             WARREN          MI 48088‐3155
PAUL PYSZNIAK               229 JACOBS RD                                                                                    HUBBARD         OH 44425‐1942
PAUL QUAGGIOTTO             1096 BONADONNA CRT                                                         WINDSOR ON N9E4Y4
                                                                                                       CANADA
PAUL QUEEN                  PO BOX 164                                                                                       MORGANTON      GA   30560‐0164
PAUL QUICK                  995 N CASS LAKE RD APT 226                                                                       WATERFORD      MI   48328‐2381
PAUL QUINN                  528 BRADFORD RD                                                                                  JASPER         AL   35503
PAUL QUINT                  3231 BADGER AVE SW                                                                               WYOMING        MI   49509‐3054
PAUL QUIRE                  14627 ELROND DR                                                                                  STERLING HTS   MI   48313‐5624
PAUL R & PATSY R ROBINSON   PAUL ROBINSON                  PO BO 2298                                                        CULLMAN        AL   35056
PAUL R ALEXANDRUNAS         632 SANDY HILL RD                                                                                VALENCIA       PA   16059
PAUL R BONECUTTER           2555 LA PLATA DR                                                                                 KETTERING      OH   45420‐1153
PAUL R BORITS               114 OAK DR                                                                                       LEHIGHTON      PA   18235
PAUL R BOULANGER            2495 CORAL DR                                                                                    TROY           MI   48085‐3905
PAUL R BROCK                11334 E V AVE                                                                                    VICKSBURG      MI   49097‐9516
PAUL R CARSTEN              11435 HASKELL LAKE RD                                                                            MARION         MI   49665‐9537
PAUL R CORRIGAN             2020 JASPER RD                                                                                   XENIA          OH   45385‐7828
PAUL R DOSECK               8310 MURRAY RIDGE RD                                                                             ELYRIA         OH   44035‐4747
PAUL R ELDRED               45‐B NORTHGATE MANOR                                                                             ROCHESTER      NY   14616‐2620
PAUL R ELLIOTT              PO BOX 422                                                                                       NEW VIENNA     OH   45159
PAUL R ENTRY, JR            4811 WESTCHESTER DR APT 118                                                                      YOUNGSTOWN     OH   44515‐2504
PAUL R EVERSON              1613 5TH ST                                                                                      BAY CITY       MI   48708‐6143
PAUL R FARROW SR            110 W 3RD ST                                                                                     TILTON         IL   61833‐7411
PAUL R FORKELL              8285 LONG LAKE RD                                                                                HALE           MI   48739
PAUL R FRANK CO ‐ TTEE      MARY FRANK CO ‐ TTEE           U/A/D 07‐13‐2007    FBO PAUL FRANK & MARY   226 W LASALLE         ROYAL OAK      MI   48073‐2587
                                                                               FRANK TR
PAUL R GAEBEL               1782 AIRPORT RD                                                                                  BELLEFONTE     PA   16823
PAUL R GORMAN               4777 BIGGER RD                                                                                   KETTERING      OH   45440‐1829
PAUL R GUZMAN               8533 CATARINA PLACE                                                                              POLAND         OH   44514
PAUL R HAYES                582 CLIFTON RD.                                                                                  FRENCHBURG     KY   40322‐8219
PAUL R HAYNES               318 OAKWOOD LN                                                                                   PERRY          MI   48872‐9186
PAUL R HERRERA              11555 W STATE RD                                                                                 EAGLE          MI   48822‐9707
PAUL R HOLLEY               303 BROWN AVENUE                                                                                 ATTALLA        AL   35954‐3612
PAUL R KENDT                176 DUPONT AVE                                                                                   TONAWANDA      NY   14150‐7815
PAUL R KIRKBRIDE            124 E HOME RD                                                                                    SPRINGFIELD    OH   45504‐1014
PAUL R LEIS                 4421 CANYON RD                                                                                   DAYTON         OH   45414‐4901
PAUL R LINDBERG             152 CROSS GATE DRIVE                                                                             MARIETTA       GA   30068
PAUL R LONG                 3907 DANDRIDGE AVENUE                                                                            DAYTON         OH   45407‐1119
PAUL R MAKELA               3011 W GRAND BLVD STE 550                                                                        DETROIT        MI   48202‐3043
PAUL R MARCUM               1007 MILTON BLVD.                                                                                NEWTON FALLS   OH   44444
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Name                              Address1                          Address2                      Address3      Address4         City                State Zip
PAUL R MATULA                     6041 HERONS CIRCLE                                                                             AUSTINTOWN           OH 44515
PAUL R MCCLOUD                    101 FOUNTAIN COVE                                                                              LEESBURG             FL 34748‐8638
PAUL R MEYER                      PMB 327                           40 COURT ST                                                  MIDDLEBURY           VT 05753‐4449
PAUL R OCA                        495 HOLLYWOOD BLVD                                                                             WEBSTER              NY 14580
PAUL R PORTER                     5800 PRINCE EDWARD WAY                                                                         DAYTON               OH 45424‐5436
PAUL R RICKARD                    112 PLACID PLACE                                                                               ROCHESTER            NY 14617‐3025
PAUL R RICKMAN                    4109 CARONDELET DR                                                                             DAYTON               OH 45440
PAUL R SALTERS                    P O BOX 59281                                                                                  JACKSON              MS 39284
PAUL R SCHULZ                     153 CLARK ST                                                                                   BUFFALO              NY 14223‐1301
PAUL R SEABAUGH                   MOTLEY RICE LLC                   28 BRIDGESIDE BLVD            PO BOX 1792                    MT PLEASANT          SC 29465
PAUL R SINGH                      909 5TH ST # 2                                                                                 BAY CITY             MI 48708‐6027
PAUL R SPENGLER                   187 LADNER AVENUE                                                                              BUFFALO              NY 14220
PAUL R SUMMERS                    980 STREAM VIEW LN                                                                             YORK                 PA 17403
PAUL R SWEET                      1063 DOWAGIAC AVE                                                                              MOUNT MORRIS         MI 48458‐2513
PAUL R WALKER                     11344 RUNNELLS DR                                                                              CLIO                 MI 48420‐8225
PAUL R WALTHER & JEAN F WALTHER   3111 PHEASANT BRANCH RD APT 212                                                                MIDDLETON            WI 53562‐1197
PAUL R WHITE                      12445 FOLEY RD                                                                                 FENTON               MI 48430‐9502
PAUL R WINTER JR                  GLORIA J WINTER                   189 YOE DR                                                   RED LION             PA 17356‐9089
PAUL R. EBERHART                  2107 ASHCRAFT LANE                                                                             LOUISVILLE           KY 40242
PAUL R. FRIED
PAUL RABICH JR                    2766 E WIRBLE RD                                                                               PINCONNING          MI   48650‐9601
PAUL RACH                         1119 WILLOW ST                                                                                 GRAND LEDGE         MI   48837‐2132
PAUL RACINE                       PO BOX 233                                                                                     VERMONTVILLE        MI   49096‐0233
PAUL RADATZ                       32546 GARFIELD RD                                                                              FRASER              MI   48026‐3853
PAUL RAGSDEL                      83 BENT TREE ESTATE LN                                                                         BENTON              KY   42025‐6377
PAUL RAINEY                       9046 WESTFIELD DR                                                                              FLUSHING            MI   48433‐8812
PAUL RAJEWSKI                     28348 GROBBEL AVE                                                                              WARREN              MI   48092‐3416
PAUL RAMEY                        1029 W BUDER AVE                                                                               FLINT               MI   48507‐3609
PAUL RAMIREZ                      6 DELAWARE ST                                                                                  PONTIAC             MI   48341‐1102
PAUL RAMSEY                       1538 GLORIA ST                                                                                 WESTLAND            MI   48186‐8924
PAUL RAMSEY                       10910 CHANDLER RD                                                                              DEWITT              MI   48820‐9787
PAUL RAMSEY                       1897 STATE ROUTE 981                                                                           SCOTTDALE           PA   15683‐2724
PAUL RAMSEY                       16244 BAK RD                                                                                   BELLEVILLE          MI   48111‐3514
PAUL RANC                         2415 WOOD LENHART RD                                                                           LEAVITTSBURG        OH   44430‐9736
PAUL RANDLES                      2763 WOODMONT DR W                                                                             CANTON              MI   48188‐1628
PAUL RANGEL JR                    16449 FESTIAN DR                                                                               CLINTON TWP         MI   48035‐2228
PAUL RANGER JR                    4026 WEATHERWOOD DR                                                                            TRAVERSE CITY       MI   49684‐9791
PAUL RANKIN                       14119 W ALEPPO DR                                                                              SUN CITY WEST       AZ   85375‐5215
PAUL RAPACH                       8008 FARM CROSSING CIR                                                                         POWELL              OH   43065‐7121
PAUL RAPER                        3585 SPRING DR                                                                                 DORAVILLE           GA   30360‐2426
PAUL RASMUSSEN                    2440 PLEASANT VIEW DR                                                                          ROCHESTER HILLS     MI   48306‐3148
PAUL RASMUSSEN                    5500 CAREY RD                                                                                  COMMERCE TOWNSHIP   MI   48382‐1203
PAUL RATHBUN                      9852 BERND RD                                                                                  PAVILION            NY   14525‐9717
PAUL RATHER                       1717 W 15TH LN                                                                                 APACHE JCT          AZ   85220‐6900
PAUL RATLIFF                      320 DAVID LN                                                                                   MARYVILLE           TN   37803‐6304
PAUL RAY                          2273 E HIBBARD RD                                                                              OWOSSO              MI   48867‐9709
PAUL RAY                          10706 N 675 E                                                                                  PENDLETON           IN   46064‐9203
PAUL RAY                          5343 W FARRAND RD                                                                              CLIO                MI   48420‐8249
PAUL RAYMOND                      1152 NORMANDY TERRACE DR                                                                       FLINT               MI   48532‐3550
PAUL RAYMOND                      11712 TEACHERS DR                                                                              EL PASO             TX   79936‐4358
PAUL RAYMOND W (494079)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA   23510
                                                                    STREET, SUITE 600
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Name                               Address1                             Address2         Address3      Address4               City               State Zip
PAUL READING                       7961 E CAMINO REAL                                                                         SCOTTSDALE          AZ 85255‐6135
PAUL REAGAN                        21672 WASHINGTON DR                                                                        BROWNSTOWN          MI 48193‐7583
PAUL REAGOR                        13110 W 90TH TER                                                                           LENEXA              KS 66215‐3412
PAUL REAUME                        9660 HUNTLEY CV                                                                            PINCKNEY            MI 48169‐9473
PAUL REBMAN                        114 E STATE ST                                                                             JANESVILLE          WI 53546‐2607
PAUL REDER                         4675 MACKINAW RD                                                                           BAY CITY            MI 48706‐9431
PAUL REDMAN                        562 TERRYVILLE AVE                                                                         BRISTOL             CT 06010‐4031
PAUL REDMON                        10626 HARRISON RD                                                                          LOVELAND            OH 45140‐9678
PAUL REDMOND                       3333 N 49TH DR                                                                             KANSAS CITY         KS 66104‐1702
PAUL REED                          107 PALM DR                                                                                GREENVILLE          OH 45331‐2925
PAUL REED                          2024 S 720 W                                                                               RUSSIAVILLE         IN 46979‐9427
PAUL REED                          1316 SW SKYLINE DR                                                                         BLUE SPRINGS        MO 64015‐4946
PAUL REED SMITH GUITARS, LIMITED   D/B/A PRS GUITARS AND/OR PAUL REED
PARTNERSHIP,                       SMITH GUITARS
PAUL REEDER                        5000 5TH AVE                                                                               YOUNGSTOWN         OH 44505‐1213
PAUL REEVE
PAUL REGOORD                       245 WINFIELD RD                                                                            ROCHESTER          NY   14622‐2216
PAUL REICHARD                      111 BRIXTON WOODS EAST DR                                                                  PITTSBORO          IN   46167‐8919
PAUL REICHERT                      5897 WILLIAMS LAKE RD                                                                      WATERFORD          MI   48329‐3278
PAUL REICHNER                      5900 SPRINGBORN RD                                                                         CHINA              MI   48054‐3908
PAUL REIGLE                        584 BRADFORD DR                                                                            GALLATIN           TN   37066‐6172
PAUL REIGLE                        PO BOX 84                                                                                  NEW LOTHROP        MI   48460‐0084
PAUL REILLY JR                     1688 CHICAGO AVE                                                                           ARKDALE            WI   54613‐9719
PAUL REIMER                        13437 BROADWAY ST                                                                          ALDEN              NY   14004‐1401
PAUL REIN                          251 SHELLBANK DR                                                                           LONGS              SC   29568‐8863
PAUL REINBOLT                      513 S WHEELER ST                                                                           SAGINAW            MI   48602‐1751
PAUL REINECKE                      1018 WILDERNESS RD                                                                         MAMMOTH CAVE       KY   42259‐8180
PAUL REINHARDT                     5190 S NORTH COUNTRY DR                                                                    LAKE CITY          MI   49651‐9600
PAUL REINHARDT                     196 UNION ST                                                                               NORFOLK            MA   02056‐1702
PAUL REINHART                      3102 STARKWEATHER ST                                                                       FLINT              MI   48506‐2620
PAUL REINHOLD                      AM STADTRANDE 6                      31515 WUNSTORF
PAUL REINHOLD                      AM STADTRANDE 6                                                     31515 WUNSTORF
                                                                                                       GERMANY
PAUL REINKE                        1133 SPRINGWOOD LN                                                                         ROCHESTER HILLS    MI   48309‐2602
PAUL REIS                          514 E HURON RD                                                                             OMER               MI   48749‐9774
PAUL REITMULDER                    2535 FERCHEN ST                                                                            NIAGARA FALLS      NY   14304‐4609
PAUL RELLA                         1683 TANGLEWOOD DR                                                                         YOUNGSTOWN         OH   44505‐1365
PAUL RENALDI                       3059 BRYSONS COVE DR                                                                       WARREN             MI   48092‐5700
PAUL RENIUS                        3446 ROCK VALLEY RD                                                                        METAMORA           MI   48455‐9322
PAUL RENTZ                         7699 DE GAULLE CT                                                                          YOUNGSTOWN         OH   44512‐5731
PAUL REPSHINSKA                    PO BOX 125                                                                                 GAGETOWN           MI   48735‐0125
PAUL RESENDEZ                      5614 MAPLE PARK DR                                                                         FLINT              MI   48507‐3916
PAUL RESZKA                        3530 N GALE RD                                                                             DAVISON            MI   48423‐8444
PAUL RETHERFORD                    5305 LINDA LN                                                                              ANDERSON           IN   46011‐1423
PAUL RETTIG                        69 CO RT. 23A                                                                              CONSTANTIA         NY   13044
PAUL REUTER                        5430 LIMESTONE DR                                                                          FAIRFIELD          OH   45014‐2410
PAUL REXFORD                       37677 GLENGROVE DR                                                                         FARMINGTON HILLS   MI   48331‐1191
PAUL REYES                         3448 WILLOW CREST LN                                                                       DALLAS             TX   75233‐3827
PAUL REYNOLDS                      HC 2 BOX 114                                                                               WILLIAMSVILLE      MO   63967‐9416
PAUL REYNOLDS JR                   22425 DRY FORK RD                                                                          WARRENTON          MO   63383‐6438
PAUL RHODES                        4197 E VIENNA RD                                                                           CLIO               MI   48420‐9706
PAUL RHODY                         7865 HITCHCOCK RD                                                                          YOUNGSTOWN         OH   44512‐5843
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Name                                 Address1                        Address2                     Address3          Address4         City               State Zip
PAUL RIBAI                           3323 MCCORMICK RD                                                                               LAPEER              MI 48446‐8764
PAUL RICE                            8492 DARNELL AVE                                                                                CINCINNATI          OH 45236
PAUL RICE                            5382 BECKIE CT SW                                                                               WYOMING             MI 49418‐9765
PAUL RICE                            3410 SCHEID RD                                                                                  HURON               OH 44839‐9625
PAUL RICHARDS                        4141 S 700 E                                                                                    MARION              IN 46953‐9556
PAUL RICHARDS                        4969 W SHORE DR                                                                                 BARRYTON            MI 49305‐9317
PAUL RICHARDS                        11091 N IONIA RD                                                                                VERMONTVILLE        MI 49096‐9764
PAUL RICHARDS                        18470 MILLAR RD                                                                                 CLINTON TOWNSHIP    MI 48036‐2091
PAUL RICHARDSON                      11761 N 200 E                                                                                   ALEXANDRIA          IN 46001‐9056
PAUL RICHARDSON                      APT 147                         3375 NORTH LINDEN ROAD                                          FLINT               MI 48504‐5722
PAUL RICHENBURG                      1000 N VALLEY VIEW DR                                                                           OKLAHOMA CITY       OK 73127‐7119
PAUL RICHEY                          6270 JANICE RD                                                                                  MILLINGTON          MI 48746‐9544
PAUL RICHMOND                        4145 W. 54TH ST. LT 173                                                                         MOUNT MORRIS        MI 48458
PAUL RICHMOND                        1905 ROGER COLE RD                                                                              BOWLING GREEN       KY 42101‐9386
PAUL RICHMOND                        6117 FLOWERDAY DR                                                                               MOUNT MORRIS        MI 48458‐2811
PAUL RICHTER                         183 ORCHARD PL APT 257                                                                          LACKAWANNA          NY 14218‐1763
PAUL RICKELS                         7853 TIMBER HILL DR                                                                             HUBER HEIGHTS       OH 45424‐1933
PAUL RICKERT                         5171 POTOMAC DRIVE                                                                              FAIRFIELD           OH 45014‐2423
PAUL RIDDLE                          116 TANGLEWOOD DR                                                                               ANDERSON            IN 46012‐1023
PAUL RIDER                           817 ALBION PL                                                                                   BEL AIR             MD 21014‐6843
PAUL RIDER JR.                       156 NORTHWOODS BLVD                                                                             NORTH EAST          MD 21901‐2658
PAUL RIES                            28961 BOSTON ST                                                                                 ST CLAIR SHRS       MI 48081‐1027
PAUL RIFE                            PO BOX 45                                                                                       LAKETON             IN 46943‐0045
PAUL RIGSBY                          2420 W 8TH ST                                                                                   MUNCIE              IN 47302‐1676
PAUL RIGSBY                          2732 CARTERS CREEK STATION RD                                                                   COLUMBIA            TN 38401‐7304
PAUL RIGSBY                          3778 LIDO                                                                                       HIGHLAND            MI 48356‐1743
PAUL RIKE                            535 WESTBROOK RD                                                                                DAYTON              OH 45415‐2248
PAUL RIKER                           4526 AVA LN                                                                                     CLARKSTON           MI 48348‐5174
PAUL RILEY                           148 ARKANSAS RD                                                                                 TEWKSBURY           MA 01876‐4164
PAUL RIPPLINGER                      AMERICAN FAMILY INSURANCE       CLAIM 181‐495315             PO BOX 3328                        ENGLEWOOD           CO 80155
PAUL RIPPLINGER                      PO BOX 3328                                                                                     ENGLEWOOD           CO 80155
PAUL RIPPLINGER                      AMERICAN FAMILY INSURANCE       PO BOX 3328                                                     ENGLEWOOD           CO 80155
PAUL RISHEL JR                       56486 NORTH AVE                                                                                 MACOMB              MI 48042‐1545
PAUL RISK                            201 ORCHARD LN                                                                                  GREENWOOD           IN 46142‐3019
PAUL RISKIN                          1327 PALMS BLVD                                                                                 VENICE              CA 90291
PAUL RISTOW                          8784 S GOLDEN CT                                                                                FRANKLIN            WI 53132‐8528
PAUL RITSCHEL                        PO BOX 3846                     C/O HENRY RITSCHEL                                              SYRACUSE            NY 13220‐3846
PAUL RIVAS                           PO BOX 126                                                                                      WINDOM              KS 67491‐0126
PAUL RIVERA                          13316 MONTEGO TER                                                                               OKLAHOMA CITY       OK 73170‐6840
PAUL RIVIERA                         229 PEPPER TREE LN                                                                              ROCHESTER HILLS     MI 48309‐1132
PAUL ROACH                           414 MAIN ST.                                                                                    LINDSEY             OH 43442
PAUL ROBARGE                         6035 PEBBLE STONE RD                                                                            SYLVANIA            OH 43560‐1579
PAUL ROBBINS                         5629 E STATE ROAD 62                                                                            CANAAN              IN 47224‐9774
PAUL ROBBINS                         28 MAPLE HILL RD                                                                                CLEVELAND           AL 35049‐3646
PAUL ROBBINS                         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS      OH 44236
PAUL ROBERSON                        1037 N JOSSMAN RD                                                                               ORTONVILLE          MI 48462‐9014
PAUL ROBERT I (ESTATE OF) (461078)   WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                 NEW YORK            NY 10038
PAUL ROBERTS                         3485 VANCE RD                                                                                   TRAVERSE CITY       MI 49684‐7829
PAUL ROBERTS SR                      NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD        TX 75638
PAUL ROBERTSON                       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS          OH 44236
PAUL ROBERTSON                       887 COTACO FLORETTE RD                                                                          SOMERVILLE          AL 35670‐5416
PAUL ROBINETT SR                     PO BOX 38                                                                                       COMMERCIAL POINT    OH 43116‐0038
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Name                 Address1                          Address2                   Address3             Address4           City              State Zip
PAUL ROBINETTE       808 S DAYTON ST                                                                                      DAVISON            MI 48423
PAUL ROBINSON        110 BLUE SPRUCE DR                                                                                   PENDLETON          IN 46064‐8817
PAUL ROBINSON        PO BOX 31                                                                                            SPICELAND          IN 47385‐0031
PAUL ROBINSON        30 BRIGHTWOOD RD                                                                                     BRISTOL            CT 06010‐4935
PAUL ROBINSON        88 CHERRYHILL DR                                                                                     DAVISON            MI 48423‐9128
PAUL ROBINSON        1847 RINIEL RD                                                                                       LENNON             MI 48449‐9322
PAUL ROBINSON        6232 WHITESTONE RD                                                                                   JACKSON            MS 39206‐2311
PAUL ROBINSON        16517 WHITCOMB ST                                                                                    DETROIT            MI 48235‐3858
PAUL ROBINSON        3380 KINGSWOOD FOREST LN                                                                             DAYTON             OH 45440‐3648
PAUL ROCHA           12870 SEYMOUR RD                                                                                     BURT               MI 48417‐9623
PAUL ROCHELEAU       2339 S FORK PASS                                                                                     SWARTZ CREEK       MI 48473‐9739
PAUL ROCHELLE        32417 MACKENZIE DR                                                                                   WESTLAND           MI 48185‐1548
PAUL ROCKWELL        1396 E MOUNT MORRIS RD                                                                               MOUNT MORRIS       MI 48458‐2912
PAUL ROCKWOOD        7635 CHESTNUT RIDGE RD                                                                               LOCKPORT           NY 14094‐3507
PAUL RODARMER        PO BOX 670                        1025 HART LANE                                                     TIOGA              TX 76271‐0670
PAUL RODRIGUEZ
PAUL ROGALA          3177 N VERNON RD                                                                                     CORUNNA           MI   48817‐9762
PAUL ROGERS          2524 NORTH 100 WEST                                                                                  ANDERSON          IN   46011‐9504
PAUL ROGERS          702 E MAIN ST                                                                                        JASONVILLE        IN   47438‐1614
PAUL ROGERS          ONE GILBERT RD                                                                                       GREAT NECK        NY   11024
PAUL ROGERS          59 ORCHARD ST                                                                                        BROOKVILLE        OH   45309‐1437
PAUL ROGGEMAN        5529 POINTE TREMBLE RD                                                                               ALGONAC           MI   48001‐4372
PAUL ROGGENBUCK      1927 MANORHAVEN ST                                                                                   ORTONVILLE        MI   48462‐8562
PAUL ROLLINS         1000 NE DEER CREEK DR                                                                                GRAIN VALLEY      MO   64029‐9125
PAUL ROMANACK        13125 TORREY RD                                                                                      FENTON            MI   48430‐9757
PAUL RONAN           149 ALEWA DR NW                                                                                      GRAND RAPIDS      MI   49504‐5801
PAUL RONCALLO
PAUL ROOT            23828 E LE BOST                                                                                      NOVI              MI   48375‐3530
PAUL ROSCZEWSKI      206 3RD ST                                                                                           METAMORA          MI   48455‐9784
PAUL ROSE            1826 CAPITAL AVE SW                                                                                  BATTLE CREEK      MI   49015‐3972
PAUL ROSELLI         4601 TALL TREE LN                                                                                    WHITE LAKE        MI   48383‐1673
PAUL ROSENBERGER     6896 CROSSBROOK DR                                                                                   CENTERVILLE       OH   45459‐6990
PAUL ROSENGARTEN     4232 STATE ROUTE 108                                                                                 LEIPSIC           OH   45856‐9472
PAUL ROSENOW         2040 FOX CHASE                                                                                       AUSTINTOWN        OH   44515‐5601
PAUL ROSIE           2146 S WAVERLY RD                                                                                    EATON RAPIDS      MI   48827‐9737
PAUL ROSOLOWSKI      4292 OAKWOOD AVE                                                                                     BLASDELL          NY   14219‐1223
PAUL ROSS            PO BOX 9                                                                                             HELENA            NY   13649‐0009
PAUL ROSS            1840 COLONIAL VILLAGE WAY APT 1                                                                      WATERFORD         MI   48328‐1942
PAUL ROSS            107 PLANTATION RD                                                                                    WINDER            GA   30680‐3870
PAUL ROSS            1180 W TOWNLINE 16 RD                                                                                PINCONNING        MI   48650‐7992
PAUL ROSS            1504 COLLAR PRICE RD                                                                                 HUBBARD           OH   44425‐2917
PAUL ROSS JR         5245 WASHTENAW ST                                                                                    BURTON            MI   48509‐2031
PAUL ROSS JR         50 CHEROKEE RD                                                                                       PONTIAC           MI   48341‐1500
PAUL ROSS PHILLIPS   ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON        IL   62024
                                                       ANGELIDES & BARNERD LLC
PAUL ROSSLER         5847 GRISELL RD                                                                                      OREGON            OH   43618‐1213
PAUL ROSSMAN         4371 CREEK RD                                                                                        LEWISTON          NY   14092‐1122
PAUL ROTH            995 FOXFIRE RD                                                                                       ASHEBORO          NC   27205‐8248
PAUL ROTHGERY        2170 ELBUR AVE                                                                                       LAKEWOOD          OH   44107‐6143
PAUL ROTOLI          221 BRAM HALL DR                                                                                     ROCHESTER         NY   14626‐5238
PAUL ROTTIERS        10110 RATHBUN WAY                                                                                    BIRCH RUN         MI   48415‐8466
PAUL ROWE            32A GIBBONS CT                                                                                       NORTH TONAWANDA   NY   14120‐2763
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Name                         Address1                         Address2                     Address3      Address4         City              State Zip
PAUL ROWE                    3494 RAY RD                                                                                  HOLLY              MI 48442‐9417
PAUL ROWLEY                  5934 ROBINSON AVE                                                                            ALLEN PARK         MI 48101‐2860
PAUL ROWLEY                  606 E TUSCOLA ST                                                                             DURAND             MI 48429‐1375
PAUL ROY                     10 LUCIEN RD                                                                                 BRISTOL            CT 06010‐7824
PAUL RUBISH SR               766 BITNER RD                                                                                DUNBAR             PA 15431‐2260
PAUL RUDD                    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS         OH 44236
PAUL RUDOLPH JR              1129 RANSOM DR                                                                               FLINT              MI 48507‐4217
PAUL RUEHS                   4150 NICKLEPLATE RD                                                                          IONIA              MI 48846‐8706
PAUL RUGGLES                 584 JUDY LN                                                                                  BRUNSWICK          OH 44212‐2148
PAUL RUMMELL                 4011 LOCERBIE CIR                                                                            SPRING HILL        TN 37174‐2680
PAUL RUPER
PAUL RUPERT                  10720 S 400 E‐92                                                                             ROANOKE           IN   46783‐9219
PAUL RUPERT JR               500 SHELLBOURNE DR                                                                           ROCHESTER HILLS   MI   48309‐1027
PAUL RUSAKI                  42118 TONQUISH CT                                                                            CANTON            MI   48187‐2492
PAUL RUSHING                 250 MT SINAI RD                                                                              PURYEAR           TN   38251‐4113
PAUL RUSNAK                  90 MORVALE RD                                                                                EASTON            PA   18042
PAUL RUSSELL                 2948 LOURDES DR                                                                              SAINT LOUIS       MO   63125‐4656
PAUL RUSSO                   35447 CHESTNUT ST                                                                            WAYNE             MI   48184‐1256
PAUL RUSSO                   825 CANTERBURY ST SW                                                                         WYOMING           MI   49509‐2834
PAUL RUTHIG                  15069 ARDLEY HALL CT                                                                         SHELBY TOWNSHIP   MI   48315‐4963
PAUL RUTKOWSKI               198 ROBIN HILL DR                                                                            WILLIAMSVILLE     NY   14221‐1516
PAUL RUTOSKI                 28767 GRAHAM DR                                                                              CHESTERFIELD      MI   48047‐4828
PAUL RYAN                    3701 RED OAK CT                                                                              BEAVERCREEK       OH   45430‐2403
PAUL RYAN                    24 SABA CT                                                                                   SAN RAMON         CA   94583‐2224
PAUL RYAN                    110 PINE ST                                                                                  ROCKVILLE CTR     NY   11570‐2517
PAUL RYBICKI                 399 SKILLEN ST                                                                               BUFFALO           NY   14207‐1321
PAUL RYDER                   4330 PRAIRIE FOX DR                                                                          JANESVILLE        WI   53546‐3481
PAUL RYDZIK                  29216 RIVERVIEW LN                                                                           WATERFORD         WI   53185‐1734
PAUL RYERSE                  380 CHURCH ST APT 1                                                                          SAINT IGNACE      MI   49781‐1600
PAUL RYSZKIEWICZ             67 BOSSE LN                                                                                  WEST SENECA       NY   14224‐1625
PAUL RYTLEWSKI               1213 5TH ST                                                                                  BAY CITY          MI   48708‐6033
PAUL S AND A MARIE BAARSON   13797 FAIRLAWN AVE                                                                           APPLE VALLEY      MN   55124‐7926
PAUL S BILOUS SR             283 CIRCLE DR                                                                                CATASAUQUA        PA   18032
PAUL S BOONE                 ACCT OF GAIL N MAYO              233 E BAY ST STE 901                                        JACKSONVILLE      FL   32202
PAUL S BUSSELL JR            1022 CARLISLE CIR                                                                            NORMAN            OK   73069‐7439
PAUL S DAY                   2144 MOUNTVIEW CIRCLE                                                                        DAYTON            OH   45414‐5218
PAUL S FANN                  4936 LAUDERDALE DR                                                                           MORAINE           OH   45439‐2804
PAUL S GIPSON                109 RICHLAND STREET                                                                          RICHLAND          MS   39218‐9613
PAUL S GREENE                6146 BLACK ROAD                                                                              W. ALEXANDRIA     OH   45381‐9545
PAUL S GRICE                 5400 CORWIN RD                                                                               WAYNESVILLE       OH   45068‐‐ 94
PAUL S HOGG                  985 E. RAHN RD                                                                               DAYTON            OH   45429‐5927
PAUL S JENKINS               212 N BARRON ST                                                                              EATON             OH   45320‐1704
PAUL S LABOSSIERE            MOTLEY RICE LLC                  28 BRIDGESIDE BLVD           PO BOX 1792                    ME PLEASANT       SC   29465
PAUL S LEWIS
PAUL S MILLER                5493 CRAINS RUN RD                                                                           MIAMISBURG        OH   45342
PAUL S PERRON                1390 GAGE RD                                                                                 HOLLY             MI   48442‐8338
PAUL S PHILLIPS              PO BOX 13069                                                                                 TOLEDO            OH   43613
PAUL S RESZKA                3530 N GALE RD                                                                               DAVISON           MI   48423‐8444
PAUL S SENSENBAUGH           7300 WHITETAIL TRAIL                                                                         CENTERVILLE       OH   45459‐4880
PAUL S WILLIS                2035 CRAVER MEADOWS DR                                                                       WINSTON SALEM     NC   27127
PAUL S WYNNE                 499 SPRNGRIDGE RD LOT E25                                                                    CLINTON           MS   39056‐5636
PAUL SABAN                   115 FAIRLAWN AVE                                                                             NILES             OH   44446‐2041
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Name                Address1                         Address2                      Address3       Address4         City              State Zip
PAUL SABO           942 EXPRESSVIEW DR                                                                             MANSFIELD          OH 44905‐1538
PAUL SABO           BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS         OH 44236
PAUL SACHSE         55 SUGAR CREEK LN                                                                              MURRAY             KY 42071‐4805
PAUL SADLER         6580 MARSHALL RD                                                                               OLIVET             MI 49076‐9445
PAUL SAENZ          203 PEMBERLY BLVD                                                                              SUMMERVILLE        SC 29483‐7780
PAUL SAGE           1125 S LEROY ST                                                                                FENTON             MI 48430‐2936
PAUL SAGER          237 ROLLING HILLS RD                                                                           RUFFS DALE         PA 15679‐1191
PAUL SAHUALLA       THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                   HOUSTON            TX 77017
PAUL SAIDOO         9081 E QUAIL RUN DR                                                                            BYRON              MI 48418‐8738
PAUL SALAMIE        1773 SKYLINE DR                                                                                ROCHESTER HILLS    MI 48306‐3251
PAUL SALAZAR        2668 PARADISE DR                                                                               SPRING HILL        TN 37174‐7156
PAUL SALICE         5017 BIRKDALE DR                                                                               COMMERCE TWP       MI 48382‐1581
PAUL SALISBURY      1325 TWINSBURG RD E                                                                            MACEDONIA          OH 44056‐2212
PAUL SALLEE         5005 E HINES ST                                                                                MUNCIE             IN 47303‐2673
PAUL SALMINEN       NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPT            205 LINDA DR                    DAINGERFIELD       TX 75638
PAUL SALVINO JR     14168 SALEM ALLIANCE RD                                                                        SALEM              OH 44460‐7615
PAUL SAMORA         1237 W COUNTY LINE RD                                                                          MINERAL RIDGE      OH 44440‐9759
PAUL SAMP           801 W 8TH ST                                                                                   ANDERSON           IN 46016‐1207
PAUL SAMPLE         49081 DUNHILL DR                                                                               MACOMB             MI 48044‐1738
PAUL SANDEFUR       1572 E US 36                                                                                   MARKLEVILLE        IN 46056
PAUL SANDERS        26693 DARIA CIR W                C/O GREGORY SANDERS                                           SOUTH LYON         MI 48178‐8093
PAUL SANDERS        PO BOX 5‐135                                                                                   DETROIT            MI 48205
PAUL SANDERS        PO BOX 364                                                                                     TANNER             AL 35671‐0364
PAUL SANDERS        6908 MAC AUTHOR BLVD                                                                           OAKLAND            CA 94605
PAUL SANDERS        26433 RIALTO ST                                                                                MADISON HEIGHTS    MI 48071‐3766
PAUL SANDOVAL       C/O BRAYTON PURCELL              222 RUSH LANDING RD                                           NOVATO             CA 94948‐6169
PAUL SANDS          20213 N IBIS CT                                                                                SUN CITY WEST      AZ 85375‐6009
PAUL SANFRANCISCO   103 DUNDEE MEWS                                                                                MEDIA              PA 19063
PAUL SANTIAGO       11 BURNING TREE DRIVE                                                                          HILTON             NY 14468‐1001
PAUL SAPIENZA       5379 MASON RD                                                                                  OWOSSO             MI 48867‐9358
PAUL SARDAGNOLA     21 DILLON ST APT 1002                                                                          WORCESTER          MA 01604‐4507
PAUL SARGENT        PO BOX 131                                                                                     GAS CITY           IN 46933‐0131
PAUL SAUCIER        221 MARION DR                    B‐101                                                         ROCKPORT           TX 78382
PAUL SAUERWALD      7243 DEERHILL CT                                                                               CLARKSTON          MI 48346‐1277
PAUL SAUNDERS       7907 WALKER AVE                                                                                KANSAS CITY        KS 66112‐2045
PAUL SAUNDERS       414 W MAPLE ST                                                                                 DESHLER            OH 43516‐1012
PAUL SAUNDERS JR    302 POPLAR ST                                                                                  PECULIAR           MO 64078‐6100
PAUL SAVAGE         3276 E LAKE RD                                                                                 CLIO               MI 48420‐7967
PAUL SAVICKAS       14118 WOODSIDE ST                                                                              LIVONIA            MI 48154‐5206
PAUL SAVKO
PAUL SAWADE         10835 E PICKARD RD                                                                             MT PLEASANT       MI   48858‐9470
PAUL SAWYER         178 BONNIE DR                                                                                  AUBURNDALE        FL   33823‐2702
PAUL SAWYER         5392 BANGOR AVE                                                                                FLUSHING          MI   48433‐9005
PAUL SAYA           840 ONONDAGA ST                                                                                LEWISTON          NY   14092‐1445
PAUL SCAFFIDI       BEVAN & ASSOCIATES, LPA, INC     6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS        OH   44236
PAUL SCANLON        6811 BIRDIE CIR                                                                                GRAYLING          MI   49738‐7789
PAUL SCARCELLO      PO BOX 9022                                                                                    WARREN            MI   48090‐9022
PAUL SCHABERG       2895 HAGADORN RD                                                                               MASON             MI   48854‐9457
PAUL SCHAEFER       7041 W HOWE RD                                                                                 DE WITT           MI   48820‐9204
PAUL SCHAEFFER      1428 SE 31ST ST                                                                                CAPE CORAL        FL   33904‐3983
PAUL SCHAFER        11918 BISHOP HWY                                                                               LANSING           MI   48911‐6215
PAUL SCHAFER        PO BOX 12                                                                                      PEWAMO            MI   48873‐0012
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Name                                   Address1                            Address2                     Address3   Address4                  City               State Zip
PAUL SCHALTZ                           3555 W DRAHNER RD                                                                                     OXFORD              MI 48371‐5713
PAUL SCHATZ                            316 W HAMMEL ST                                                                                       MONTEREY PARK       CA 91754‐7130
PAUL SCHECHTER                         73A FRANKLIN LN                                                                                       WHITING             NJ 08759‐6341
PAUL SCHEETZ                           230 LAKE POINTE CIR                                                                                   CANFIELD            OH 44406‐8773
PAUL SCHEFFLER                         11400 WILSON ST                                                                                       DEWITT              MI 48820‐9269
PAUL SCHEIBNER                         631 NIXON BLVD                                                                                        ROSCOMMON           MI 48653‐8760
PAUL SCHEIDEMANTLE                     616 DEVILLEN AVE                                                                                      ROYAL OAK           MI 48073‐3654
PAUL SCHENK                            11722 NIEMI RD                                                                                        KALEVA              MI 49645‐9746
PAUL SCHEPER                           2000 WATERSTONE BLVD APT 104                                                                          MIAMISBURG          OH 45342‐0524
PAUL SCHERER                           1802 WALLSTREET CIR                                                                                   INDIANAPOLIS        IN 46234‐9527
PAUL SCHERMERHORN                      4309 W CASTLETON CT                                                                                   MUNCIE              IN 47304‐2476
PAUL SCHERRER INSTITUTE, SWITZERLAND

PAUL SCHIEFELBEIN                      2803 RUTLEDGE AVE                                                                                     JANESVILLE         WI 53545‐1397
PAUL SCHLACHTER                        3318 WELLINGTON AVE                                                                                   PARMA              OH 44134‐3650
PAUL SCHLICKLIN                        13895 S DELANEY RD                                                                                    PERRY              MI 48872‐9559
PAUL SCHLUNEK                          OBERE BERGSTR 30                                                            90607 RUECKERSDORF
                                                                                                                   GERMANY
PAUL SCHMEICHEL                        NONNENSTROMBERGSTR. 21                                                      D‐53757 SANKT AUGUSTIN,
                                                                                                                   GERMANY
PAUL SCHMERSAL                         11572 ROAD 16                                                                                         OTTAWA             OH   45875‐9480
PAUL SCHMIDT                           13 SCARBOROUGH FARE                                                                                   STEWARTSTOWN       PA   17363‐9188
PAUL SCHMIDT                           2026 CRESCENT DR                                                                                      BAY CITY           MI   48706‐9406
PAUL SCHMIDT                           204 IROQUOIS LN                                                                                       WAXAHACHIE         TX   75165‐1507
PAUL SCHMIDT                           2416 THISTLE POINTE                                                                                   BLOOMFIELD HILLS   MI   48304‐1402
PAUL SCHMIDT, SR                       C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH   44236
PAUL SCHMITT                           2314 ARTHUR ST                                                                                        MARNE              MI   49435‐9740
PAUL SCHMITT                           25 OLDE PRESTWICK WAY                                                                                 PENFIELD           NY   14526‐2857
PAUL SCHNEIDER                         NIBELUNGENSTR. 8                    14109 BERLIN
PAUL SCHNEIDER                         1703 LAGONDA AVENUE                                                                                   SPRINGFIELD        OH 45503‐3915
PAUL SCHNEIDER                         8537 PEET RD                                                                                          CHESANING          MI 48616‐9757
PAUL SCHNELL                           7404 CRAIGMERE DRIVE                                                                                  CLEVELAND          OH 44130‐5347
PAUL SCHNIEWIND AND EVANGELINE         ALTE KIRCHSTR 4                                                             79282 BALLRECHTEN‐
SCHNIEWIND‐SECRETAN                                                                                                DOTTINGEN GERMANY
PAUL SCHNOBRICK                        3492 MEMBERS CLUB BLVD SE                                                                             SOUTHPORT          NC   28461‐8029
PAUL SCHOBEL                           5082 NORQUEST BLVD                                                                                    YOUNGSTOWN         OH   44515‐1710
PAUL SCHOCH                            5711 SUTHERLAND AVE                                                                                   SAINT LOUIS        MO   63109‐1559
PAUL SCHOCKMAN                         1804 E COMMONWEALTH AVE UNIT 101                                                                      FULLERTON          CA   92831‐4828

PAUL SCHOENDORFF                       1316 ASPEN CT                                                                                         FLINT              MI   48507‐3201
PAUL SCHOENRADE                        6601 SHUTTLE WAY APT C                                                                                CAPE CANAVERAL     FL   32920‐6070
PAUL SCHOFIELD                         4070 OLDE TOWNE WAY                                                                                   DULUTH             GA   30097‐7645
PAUL SCHONFELD                         9275 S GENEVA RD                                                                                      FLAT ROCK          IN   47234‐9720
PAUL SCHONSCHACK                       34169 STATE ST                                                                                        FARMINGTON         MI   48335‐4169
PAUL SCHREINER                         5176 SHAWNEE RD                                                                                       SANBORN            NY   14132‐9116
PAUL SCHRIBER                          411 W DECKERVILLE RD                                                                                  CARO               MI   48723‐9702
PAUL SCHROEDER                         A‐832 ST RT 108‐1                                                                                     NEW BAVARIA        OH   43548
PAUL SCHROEDER                         553 N PALM ST                                                                                         JANESVILLE         WI   53548‐2844
PAUL SCHROEDER                         2549 S STATE ROAD 213                                                                                 ORFORDVILLE        WI   53576‐9547
PAUL SCHROEDER                         10621 DICE RD                                                                                         FREELAND           MI   48623‐9208
PAUL SCHROTH                           56 TYLER COURT                                                                                        EVINGTON           VA   24550‐3718
PAUL SCHUBRING                         2615 CUMBERLAND RD                                                                                    BERKLEY            MI   48072‐1510
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Name                      Address1                         Address2                     Address3   Address4             City             State Zip
PAUL SCHULDEN JR          609‐2 GARDNER RD                                                                              BELLEVUE          OH 44811
PAUL SCHULTES             29467 TROPEA DR                                                                               WARREN            MI 48092‐3322
PAUL SCHULTZ              2721 21ST ST                                                                                  WYANDOTTE         MI 48192‐4812
PAUL SCHULTZ              1228 KELLOGG AVE                                                                              JANESVILLE        WI 53546‐6020
PAUL SCHULZ               153 CLARK ST                                                                                  BUFFALO           NY 14223‐1301
PAUL SCHUMACHER           609 ONANDAGO ST                                                                               YPSILANTI         MI 48198‐6128
PAUL SCHUSTER             8779 ANCHOR BAY DR                                                                            CLAY              MI 48001‐3511
PAUL SCHWAIGER            448 STEWART RD                                                                                CULLMAN           AL 35055‐0230
PAUL SCHWARTZ             8209 BROOKINGTON DR                                                                           SHREVEPORT        LA 71107‐8604
PAUL SCHWARZ              OSCAR‐ WILDE‐STRABE 5                                                    D‐ 50858 KOLN WEST
                                                                                                   GERMANY
PAUL SCHWEIER             2575 MARCHAR DR                                                                               WOLVERINE LAKE   MI   48390‐2036
PAUL SCHWEINHAGEN         PO BOX 64                                                                                     RDGVILLE CORS    OH   43555‐0064
PAUL SCICLUNA             13298 EAGLE NEST TRL                                                                          SHELBY TWP       MI   48315‐2322
PAUL SCIORTINO            792 FERNWOOD DR                                                                               LOCKPORT         NY   14094‐9138
PAUL SCOTT                PO BOX 551                                                                                    WOODBINE         KY   40771‐0551
PAUL SCOTT                371 SOUTH ST                                                                                  AUBURN           MA   01501‐2751
PAUL SCOTT                8183 DETROIT ST                                                                               MOUNT MORRIS     MI   48458‐1303
PAUL SCOTT                8885 MOORISH RD                                                                               BIRCH RUN        MI   48415
PAUL SCOTT                6028 MADISON ST                                                                               TAYLOR           MI   48180‐1238
PAUL SCOTT                244 W BORTON RD                                                                               ESSEXVILLE       MI   48732‐8726
PAUL SCOTT                14093 MYSTIC SEAPORT WAY 616                                                                  FORT MYERS       FL   33919
PAUL SCOTT JR             1001 ISLAND DRIVE CT APT 106                                                                  ANN ARBOR        MI   48105‐2022
PAUL SCOTT JR.            3620 HI DALE DR                                                                               LAKE ORION       MI   48360‐2419
PAUL SCOTT, ROSEMARIE B   2896 HERITAGE DR                                                                              KOKOMO           IN   46901‐5957
PAUL SCREWS               1663 HILLMAN DR                                                                               TROY             MI   48083‐6902
PAUL SCRIBNER             UNIT 12B                         3924 ROLLING ROAD                                            PIKESVILLE       MD   21208‐2281
PAUL SCRIVENER            1801 TENDOY DR                                                                                BOISE            ID   83705‐4232
PAUL SCUDDER              5812 AUSTRALIAN PINE DR                                                                       TAMARAC          FL   33319‐3002
PAUL SEABERG              160 FORSYTHIA DR S                                                                            LEVITTOWN        PA   19056‐1824
PAUL SEAGRAVES            143 PR 3733                                                                                   BRIDGEPORT       TX   76426
PAUL SEARS                1359 BURTON CEMETERY RD                                                                       MITCHELL         IN   47446‐7634
PAUL SEDAR                143 VINEYARD RD                                                                               AVON LAKE        OH   44012‐1725
PAUL SEELEY JR            10731 LOVE HWY                                                                                BELLEVUE         MI   49021‐9300
PAUL SEGASSER             3881 S WOODFIELD DR                                                                           NEW PALESTINE    IN   46163‐9167
PAUL SEHY                 886 SHELBY ONTARIO RD                                                                         MANSFIELD        OH   44906‐1038
PAUL SEIB                 5698 AARON DR                                                                                 LOCKPORT         NY   14094‐6002
PAUL SEITZER              4037 SMITH ST LOT 7                                                                           BLOOMSBURG       PA   17815‐3435
PAUL SEJPNER              BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS       OH   44236
PAUL SELF                 203 JULIA ST                                                                                  COLLINSVILLE     IL   62234‐3618
PAUL SELLARS              PO BOX 236                                                                                    NEBO             IL   62355‐0236
PAUL SELLS                ROUTE 2                                                                                       MONROE           TN   38573
PAUL SELVERA JR           9372 VARODELL DR                                                                              DAVISON          MI   48423‐8608
PAUL SEMAN                2102 DEINDORFER ST                                                                            SAGINAW          MI   48602‐5021
PAUL SEMON                7095 ELMWOOD DR.                                                                              GRAND BLANC      MI   48439
PAUL SENCINDIVER          1654 LOST RD                                                                                  MARTINSBURG      WV   25403‐0818
PAUL SENSENBAUGH          7300 WHITETAIL TRL                                                                            CENTERVILLE      OH   45459‐4880
PAUL SEPPALA              8232 W MOUNT HOPE HWY                                                                         GRAND LEDGE      MI   48837‐9409
PAUL SEPULVADO            8969 TURNER DR                                                                                SHREVEPORT       LA   71118‐2728
PAUL SEPULVEDO            4792 CADILLAC PL                                                                              SAGINAW          MI   48604‐1002
PAUL SEQUIN               1533 FLAJOLE RD                                                                               RHODES           MI   48652‐9503
PAUL SESTILL              C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS       OH   44236
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Name                   Address1                         Address2                     Address3   Address4                  City                 State Zip
PAUL SETLIFF           15002 WHEELER RD                                                                                   LAGRANGE              OH 44050‐9571
PAUL SETTLE JR         3352 MORNING GLORY RD                                                                              DAYTON                OH 45449‐3031
PAUL SETTLEMYER        3214 6TH AVE                                                                                       ALTOONA               PA 16602‐1809
PAUL SEVERN            141 PINEWOOD DR                                                                                    BASTROP               TX 78602‐2608
PAUL SEVERN            141 PINE WOOD DRIVE                                                                                DASTROP               TX 78602‐7440
PAUL SEWELL            544 EMERSON AVE                                                                                    PONTIAC               MI 48342‐1826
PAUL SEYMOUR           441 CONVENT AVE APT 2B                                                                             NEW YORK              NY 10031‐3626
PAUL SHABOWSKI         384 BUNDRICK MOORE RD                                                                              WARWICK               GA 31796‐5614
PAUL SHACKELFORD       1727 SOMERS GRATIS RD                                                                              CAMDEN                OH 45311‐8844
PAUL SHACKELFORD       1727 SOMERS‐GRATIS ROAD                                                                            CAMDEN                OH 45311‐8844
PAUL SHAFFER           20565 VINING RD                                                                                    NEW BOSTON            MI 48164‐9433
PAUL SHALLING          30303 ROSENBUSCH DR                                                                                WARREN                MI 48088‐5953
PAUL SHAMROCK          2615 GRIFFITH DR                                                                                   CORTLAND              OH 44410‐9658
PAUL SHANHOLTZ JR      13397 COVE LANDING RD                                                                              BISHOPVILLE           MD 21813‐1103
PAUL SHAPIRO           595 SHENANDOAH DR                                                                                  CLAWSON               MI 48017‐1345
PAUL SHARP             195 OSCAR TAYLOR RD                                                                                JAMESTOWN             TN 38556‐5468
PAUL SHARP             2021 DARON PL                                                                                      FLINT                 MI 48505‐1050
PAUL SHARP             4425 THOMPSON RD                                                                                   LINDEN                MI 48451‐9412
PAUL SHAUB             1685 CHICAGO BLVD                                                                                  DETROIT               MI 48206‐1734
PAUL SHAUCK            2810 DUDLEY DR                                                                                     THOMPSONS STN         TN 37179‐5236
PAUL SHAW              742 W BROAD ST                                                                                     EUFAULA               AL 36027‐1914
PAUL SHAW AUTOMOTIVE   1‐2009 SACKVILLE DR                                                      MIDDLE SACKVILLE NS B4E
                                                                                                3B5 CANADA
PAUL SHAW JR           1300 S SAGE LAKE RD                                                                                HALE                 MI   48739‐9113
PAUL SHEEDY            CASCINO MICHAEL P                220 SOUTH ASHLAND AVE                                             CHICAGO              IL   60607
PAUL SHEEHE            943 LEXDALE LN                                                                                     MANSFIELD            OH   44907‐2611
PAUL SHEETS            9208 COWENTON AVE                                                                                  PERRY HALL           MD   21128‐9606
PAUL SHELBURNE         2135 BLANEY DR                                                                                     ANN ARBOR            MI   48103‐6004
PAUL SHELEY            245 CARL ST                                                                                        MC CLURE             OH   43534‐8501
PAUL SHELTON           7430 WATERFALL DR                                                                                  GRAND BLANC          MI   48439‐7102
PAUL SHEPARD           347 N WILEY ST                                                                                     CRESTLINE            OH   44827‐1354
PAUL SHEPHERD          2014 JASMINE DR                                                                                    INDIANAPOLIS         IN   46219‐2857
PAUL SHERIDAN          1658 S CHATHAM ST                                                                                  JANESVILLE           WI   53546‐5866
PAUL SHERLOCK          518 W 26TH ST                                                                                      INDIANAPOLIS         IN   46208‐5518
PAUL SHERRER           5082 DERBY RD                                                                                      DAYTON               OH   45418‐2227
PAUL SHERRY            6140 BOROWY DR                                                                                     COMMERCE TWP         MI   48382‐3611
PAUL SHIPMAN           4432 FAIRMOUNT AVE                                                                                 KANSAS CITY          MO   64111‐4354
PAUL SHOCK             21113 WINKEL ST                                                                                    SAINT CLAIR SHORES   MI   48081‐3063
PAUL SHOCK             1971 FIELDING CT                                                                                   DEFIANCE             OH   43512‐3483
PAUL SHOFF JR          3279 DURST CLAGG RD NE                                                                             WARREN               OH   44481‐9325
PAUL SHOMIN            43 BRIDGE ST                                                                                       PETOSKEY             MI   49770‐2961
PAUL SHOOK             PO BOX 226                                                                                         GREENTOWN            OH   44630‐0226
PAUL SHOOSHANIAN       45448 INDIAN CREEK DR                                                                              CANTON               MI   48187‐5265
PAUL SHORT             C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS           OH   44236
PAUL SHOUN             455 W NORTHFIELD AVE                                                                               PONTIAC              MI   48340‐1324
PAUL SHOYTUSH          1185 HUNTERS RUN                                                                                   VICTOR               NY   14564‐9178
PAUL SHRADER           3826 HAZEL AVE                                                                                     NORWOOD              OH   45212‐3826
PAUL SHREWSBURY        478 MACY WAY                                                                                       GREENWOOD            IN   46142‐7483
PAUL SHULOCK           3637 N GRAND AVE                                                                                   KANSAS CITY          MO   64116‐2742
PAUL SHUMAN            1140 TROTWOOD LN                                                                                   FLINT                MI   48507‐3711
PAUL SHUMAN            9357 BLIND PASS ROAD             CONDO# 202                                                        ST PETE BEACH        FL   33706
PAUL SHURTZ JR         7826 TIMBERS EDGE                                                                                  WATERVILLE           OH   43566‐9457
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Name                    Address1                             Address2                     Address3                Address4              City               State Zip
PAUL SIAS               922 WHITETHORNE AVE                                                                                             COLUMBUS            OH 43223‐2725
PAUL SICA               9228 HYACINTH WAY                                                                                               BRIGHTON            MI 48116‐8270
PAUL SICKLE             3628 ROCK DR SW                                                                                                 WARREN              OH 44481‐9209
PAUL SIEJAK             6259 HAMM RD                                                                                                    LOCKPORT            NY 14094‐6403
PAUL SIEMIERACKI        12871 IDA WEST RD                                                                                               PETERSBURG          MI 49270‐9580
PAUL SIERADSKI          27 BISHOP AVE                                                                                                   MASSENA             NY 13662‐1531
PAUL SIESSER            5752 VINTAGE OAKS CIR                                                                                           DELRAY BEACH        FL 33484
PAUL SIFFERMAN          12068 RIVERBEND DR                                                                                              GRAND BLANC         MI 48439‐1724
PAUL SIKORSKI           109 SANIALS LN                                                                                                  WEST MIFFLIN        PA 15122‐3036
PAUL SILBERMAN          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                                    BALTIMORE           MD 21201

PAUL SILLERY            204 BUCKINGHAM RD                                                                                               CANTON             MI   48188‐1515
PAUL SILVERS            8101 NORTH OAK FLAT ROAD                                                                                        MUNCIE             IN   47303‐9310
PAUL SIMA               5610 S COUNTY LINE RD                                                                                           HINSDALE           IL   60521‐5009
PAUL SIMCOX             300 WEBSTER ST                                                                                                  ITHACA             MI   48847‐1816
PAUL SIMISON            9 PINE ST                                                                                                       HOMOSASSA          FL   34446‐4611
PAUL SIMMONS            RR 1 BOX 166                                                                                                    MONTROSE           WV   26283‐9502
PAUL SIMMONS            19 LINDEN DR                                                                                                    CEDAR HILL         MO   63016‐2924
PAUL SIMON              16720 WACOUSTA RD                                                                                               GRAND LEDGE        MI   48837‐8228
PAUL SIMON              2102 HAMILTON ST                                                                                                HOLT               MI   48842‐1339
PAUL SIMON JR           2963 N LAPEER RD                                                                                                LAPEER             MI   48446‐8774
PAUL SIMONTON           4605 HOLLY AVE                                                                                                  MIDDLETOWN         OH   45044‐5246
PAUL SIMOSKO            19928 BOTHELL EVERETT HWY APT 113                                                                               BOTHELL            WA   98012
PAUL SIMPSON            3655 CHEVRON DR                                                                                                 HIGHLAND           MI   48356‐1715
PAUL SIMPSON            BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS         OH   44236
PAUL SIMPSON            47 BRITANNIA ST                                                                           STRATFORD ON N5A5Y8
                                                                                                                  CANADA
PAUL SIMS               3779 WALNUT CREEK WAY                                                                                           LITHONIA           GA   30038‐4885
PAUL SIMS               255 LAUREL RIDGE RD                                                                                             MARIANNA           PA   15345‐1134
PAUL SIMS               636 WILLIAM ST                                                                                                  DACULA             GA   30019‐1407
PAUL SIMS               3015 SCHOOL RD                                                                                                  WEST HARRISON      IN   47060‐9625
PAUL SIMS JR            15750 PREVOST ST                                                                                                DETROIT            MI   48227‐1965
PAUL SINCHAK            6650 VERNETTE AVE                                                                                               YOUNGSTOWN         OH   44515‐2100
PAUL SINELLI            25890 ABBEY DR                                                                                                  NOVI               MI   48374‐2374
PAUL SISAMIS            TRUSTEE                              THE SISAMIS FAMILY TRUST     633 EMERALD BAY DRIVE                         DESTIN             FL   32541
PAUL SISAMIS            633 EMERALD BAY DRIVE                                                                                           DESTIN             FL   32541
PAUL SISAMIS, TRUSTEE   633 EMERALD BAY DRIVE                                                                                           DESTIN             FL   32541
PAUL SISKAR             49 GLENCOVE RD                                                                                                  BUFFALO            NY   14223‐1334
PAUL SIZELOVE           11445 E 200 S                                                                                                   LAOTTO             IN   46763‐9748
PAUL SKEEN              356 FRANCES BLVD                                                                                                ELYRIA             OH   44035‐4163
PAUL SKERTIC            775 LYNITA DR NE                                                                                                BROOKFIELD         OH   44403‐9605
PAUL SKIBICKI           205 JAMES PL                                                                                                    NEW CASTLE         DE   19720‐3311
PAUL SKINNER            36491 BUTTERNUT RIDGE RD                                                                                        NORTH RIDGEVILLE   OH   44039‐8527
PAUL SKINNER            3570 E 100 S                                                                                                    ANDERSON           IN   46017‐9644
PAUL SKOROPA            10891 LADERA LN APT B                                                                                           BOCA RATON         FL   33498‐1583
PAUL SKRUCK             334 ILLINOIS AVE                                                                                                MC DONALD          OH   44437‐1916
PAUL SKUPINSKI          2976 PLEASANT VALLEY RD                                                                                         BRIGHTON           MI   48114‐9217
PAUL SKVAREK            124 DUFF RD                                                                                                     MC CLELLANDTOWN    PA   15458‐1228
PAUL SLACK              21373 MAPLEWOOD ST                                                                                              WOODHAVEN          MI   48183‐5228
PAUL SLADE              5298 S STATE RD                                                                                                 GOODRICH           MI   48438‐9766
PAUL SLAHOR             HC 1 BOX 53A                                                                                                    SWIFTWATER         PA   18370‐9712
PAUL SLEZIAK            38124 MORAVIAN DR                                                                                               CLINTON TWP        MI   48036‐2171
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Name                              Address1                         Address2                     Address3   Address4                 City              State Zip
PAUL SLIGER                       47378 STEPHANIE DR                                                                                MACOMB             MI 48044‐4831
PAUL SLOMBA                       82 WOODLAWN AVE                                                                                   LOCKPORT           NY 14094‐2523
PAUL SLONE                        2058 SNYDER RD                                                                                    BUTLER             OH 44822‐9624
PAUL SMANS & EMA VAN DEN ELSKEN   DEUTSCHE BANK SA/NV              AVENUE MARNIX 13‐15                     1000 BRUXELLES BELGIUM
PAUL SMITH                        C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                     NEW YORK CITY     NY   10003
PAUL SMITH                        C/O WEITZ LUXENBERG PC           700 WEST BROADWAY                                                NEW YORK          NY   10003
PAUL SMITH                        203 COUNTY ROAD 2174                                                                              SULPHUR SPRINGS   TX   75482‐7731
PAUL SMITH                        3 TUDOR LN APT 3                                                                                  LOCKPORT          NY   14094‐3989
PAUL SMITH                        4811 CANADA RD                                                                                    BIRCH RUN         MI   48415‐8925
PAUL SMITH                        1711 WEYMOUTH ST                                                                                  W BLOOMFIELD      MI   48324‐3861
PAUL SMITH                        1035 HUMMINGBIRD LN                                                                               SPRING HILL       TN   37174‐8604
PAUL SMITH                        1832 LARKSPUR DR                                                                                  ARLINGTON         TX   76013‐3433
PAUL SMITH                        2501 PETERS ST                                                                                    ORION             MI   48359‐1148
PAUL SMITH                        15860 HWY 27                                                                                      LAKE WALES        FL   33859‐2536
PAUL SMITH                        12374 FM 2812                                                                                     MONTE ALTO        TX   78538‐3129
PAUL SMITH                        2105 S FENNER RD                                                                                  CARO              MI   48723‐9620
PAUL SMITH                        3111 SLATTERY RD                                                                                  ATTICA            MI   48412‐9333
PAUL SMITH                        PO BOX 684                                                                                        LINDEN            MI   48451‐0684
PAUL SMITH                        801 N 8 MILE RD                                                                                   LINWOOD           MI   48634‐9776
PAUL SMITH                        4410 KILLARNEY PARK DR                                                                            BURTON            MI   48529‐1823
PAUL SMITH                        12924 CASTLE ST                                                                                   SOUTHGATE         MI   48195‐1127
PAUL SMITH                        3510 N HUNTINGTON RD                                                                              MARION            IN   46952‐1230
PAUL SMITH                        1804 ORIOLE DR                                                                                    ELIZABETHTOWN     KY   42701‐5519
PAUL SMITH                        107 HANNING DR                                                                                    CROSSVILLE        TN   38558‐2893
PAUL SMITH                        5038 W REGENT ST                                                                                  INDIANAPOLIS      IN   46241‐4748
PAUL SMITH                        13540 COMMONWEALTH ST                                                                             SOUTHGATE         MI   48195‐1288
PAUL SMITH                        4846 HIRAM AVE NW                                                                                 WARREN            OH   44483‐1302
PAUL SMITH                        409 W SHERWOOD TER                                                                                FORT WAYNE        IN   46807‐2735
PAUL SMITH                        7821 SALEM RD                                                                                     LEWISBURG         OH   45338‐7705
PAUL SMITH                        1302 MOHAWK AVE                                                                                   FLINT             MI   48507‐1920
PAUL SMITH                        98 E TELEGRAPH RD                                                                                 AIRVILLE          PA   17302‐9231
PAUL SMITH                        3493 NOTTINGHAM DR                                                                                NORTHVILLE        MI   48167‐8696
PAUL SMITH                        4029 FOREST MANOR AVE                                                                             INDIANAPOLIS      IN   46226‐4437
PAUL SMITH                        929 WAMPLER RD                                                                                    BALTIMORE         MD   21220‐1814
PAUL SMITH                        5040 WESTVIEW ST                                                                                  CLARKSTON         MI   48346‐4158
PAUL SMITH                        18 MUSKET LN                                                                                      PITTSFORD         NY   14534‐3608
PAUL SMITH                        1634 12TH ST                                                                                      BETHLEHEM         PA   18020‐6545
PAUL SMITH                        4937 NW GATEWAY AVE APT 11                                                                        RIVERSIDE         MO   64150‐3659
PAUL SMITH                        PO BOX 401                                                                                        DEWITT            MI   48820‐0401
PAUL SMITH                        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS        OH   44236
PAUL SMITH                        11112 DILL DR                                                                                     STERLING HTS      MI   48312‐1241
PAUL SMITH                        1209 HANOVER ST                                                                                   OWOSSO            MI   48867‐4908
PAUL SMITH JR                     9203 STATE ROUTE 725 E                                                                            GERMANTOWN        OH   45327‐9438
PAUL SMITH JR                     121 W SOUTH C ST                                                                                  GAS CITY          IN   46933‐1740
PAUL SNAPP                        PO BOX 214                                                                                        CIRCLEVILLE       UT   84723‐0214
PAUL SNIDER                       7240 WILSON RD                                                                                    MONTROSE          MI   48457‐9196
PAUL SNIDOW                       505 BARRINGTON CT                                                                                 JOPPA             MD   21085‐4308
PAUL SNITKO                       4141 N LINDEN RD                                                                                  FLINT             MI   48504‐1351
PAUL SNITKO                       8350 COLDWATER RD                                                                                 FLUSHING          MI   48433‐1191
PAUL SNOBLEN                      785 ROLLING HILLS LN APT 1                                                                        LAPEER            MI   48446‐4763
PAUL SNYDER                       64 BRANTWOOD DR                                                                                   ELKTON            MD   21921‐8341
PAUL SNYDER                       5 FOSTER AVE                                                                                      NORTH IRWIN       PA   15642‐3310
